Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 1 of 683 PageID: 848




                               EXHIBIT 2
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 2 of 683 PageID: 849
                                             Exhibit 2
                                     New Jersey Computations


  Week                                                      State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
 Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
  Date                                                      Wage  Rate Due     Due       Wages Due

  1/5/2020 Abel Estevez                     $11.50   47.85   $   11.00         $    45.14   $     45.14
 1/19/2020 Abel Estevez                     $11.50   55.78   $   11.00         $    90.75   $     90.75
 11/4/2018 Abel Flores                      $10.00   56.88   $    8.60         $    84.42   $     84.42
11/11/2018 Abel Flores                      $10.00   64.18   $    8.60         $   120.92   $    120.92
11/18/2018 Abel Flores                      $10.00   72.75   $    8.60         $   163.75   $    163.75
 12/9/2018 Abel Flores                      $10.00   80.13   $    8.60         $   200.67   $    200.67
12/16/2018 Abel Flores                      $10.00   76.37   $    8.60         $   181.83   $    181.83
12/23/2018 Abel Flores                      $10.00   61.45   $    8.60         $   107.25   $    107.25
 1/13/2019 Abel Flores                      $10.00   75.53   $    8.85         $   177.67   $    177.67
 1/20/2019 Abel Flores                      $10.00   63.63   $    8.85         $   118.17   $    118.17
 1/27/2019 Abel Flores                      $10.00   74.90   $    8.85         $   174.50   $    174.50
  2/3/2019 Abel Flores                      $10.00   73.77   $    8.85         $   168.83   $    168.83
 2/10/2019 Abel Flores                      $10.00   67.55   $    8.85         $   137.75   $    137.75
 2/17/2019 Abel Flores                      $10.00   74.35   $    8.85         $   171.75   $    171.75
 2/24/2019 Abel Flores                      $10.00   76.60   $    8.85         $   183.00   $    183.00
 5/19/2019 Abel Flores                      $10.00   46.45   $    8.85         $    32.25   $     32.25
 5/26/2019 Abel Flores                      $10.00   69.52   $    8.85         $   147.58   $    147.58
  6/2/2019 Abel Flores                      $10.00   63.82   $    8.85         $   119.08   $    119.08
  6/9/2019 Abel Flores                      $10.00   65.00   $    8.85         $   125.00   $    125.00
 6/16/2019 Abel Flores                      $10.00   72.03   $    8.85         $   160.17   $    160.17
 6/23/2019 Abel Flores                      $10.00   63.87   $    8.85         $   119.33   $    119.33
 6/30/2019 Abel Flores                      $10.00   60.32   $   10.00         $   101.58   $    101.58
  9/1/2019 Abel Flores                      $10.00   70.52   $   10.00         $   152.58   $    152.58
  9/8/2019 Abel Flores                      $10.00   71.32   $   10.00         $   156.58   $    156.58
 9/15/2019 Abel Flores                      $10.00   73.73   $   10.00         $   168.67   $    168.67
 9/22/2019 Abel Flores                      $10.00   71.23   $   10.00         $   156.17   $    156.17
 9/29/2019 Abel Flores                      $10.00   70.70   $   10.00         $   153.50   $    153.50
 10/6/2019 Abel Flores                      $10.00   52.53   $   10.00         $    62.67   $     62.67
  2/5/2017 Abelino Alvarado                 $11.00   70.12   $    8.44         $   165.64   $    165.64
 2/12/2017 Abelino Alvarado                 $11.00   57.83   $    8.44         $    98.08   $     98.08
 2/19/2017 Abelino Alvarado                 $11.00   70.12   $    8.44         $   165.64   $    165.64
 2/26/2017 Abelino Alvarado                 $11.00   70.25   $    8.44         $   166.38   $    166.38
  3/5/2017 Abelino Alvarado                 $11.00   69.87   $    8.44         $   164.27   $    164.27
 3/12/2017 Abelino Alvarado                 $11.00   69.95   $    8.44         $   164.73   $    164.73
 3/19/2017 Abelino Alvarado                 $11.00   61.82   $    8.44         $   119.99   $    119.99
 3/26/2017 Abelino Alvarado                 $11.00   70.05   $    8.44         $   165.28   $    165.28
  4/2/2017 Abelino Alvarado                 $11.00   73.57   $    8.44         $   184.62   $    184.62
  4/9/2017 Abelino Alvarado                 $11.00   69.20   $    8.44         $   160.60   $    160.60
 4/16/2017 Abelino Alvarado                 $11.00   70.22   $    8.44         $   166.19   $    166.19
 4/23/2017 Abelino Alvarado                 $11.00   69.85   $    8.44         $   164.18   $    164.18
 4/30/2017 Abelino Alvarado                 $11.00   70.67   $    8.44         $   168.67   $    168.67
  5/7/2017 Abelino Alvarado                 $11.00   57.80   $    8.44         $    97.90   $     97.90
 5/14/2017 Abelino Alvarado                 $11.00   67.63   $    8.44         $   151.98   $    151.98
 5/21/2017 Abelino Alvarado                 $11.00   70.92   $    8.44         $   170.04   $    170.04
 5/28/2017 Abelino Alvarado                 $11.00   68.85   $    8.44         $   158.68   $    158.68
  6/4/2017 Abelino Alvarado                 $11.00   63.68   $    8.44         $   130.26   $    130.26
 6/11/2017 Abelino Alvarado                 $11.00   82.17   $    8.44         $   231.92   $    231.92
 6/18/2017 Abelino Alvarado                 $11.00   70.02   $    8.44         $   165.09   $    165.09
 6/25/2017 Abelino Alvarado                 $11.00   77.87   $    8.44         $   208.27   $    208.27
  7/2/2017 Abelino Alvarado                 $11.00   70.22   $    8.44         $   166.19   $    166.19



                                               1
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 3 of 683 PageID: 850
                                             Exhibit 2
                                     New Jersey Computations


  Week                                                      State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
 Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
  Date                                                      Wage  Rate Due     Due       Wages Due

  7/9/2017 Abelino Alvarado                 $11.00   69.80   $   8.44          $   163.90   $    163.90
 7/16/2017 Abelino Alvarado                 $11.00   70.15   $   8.44          $   165.83   $    165.83
 7/23/2017 Abelino Alvarado                 $11.00   77.78   $   8.44          $   207.81   $    207.81
 7/30/2017 Abelino Alvarado                 $11.00   70.00   $   8.44          $   165.00   $    165.00
  8/6/2017 Abelino Alvarado                 $11.00   76.93   $   8.44          $   203.13   $    203.13
 8/13/2017 Abelino Alvarado                 $11.00   59.75   $   8.44          $   108.63   $    108.63
 8/20/2017 Abelino Alvarado                 $11.00   77.60   $   8.44          $   206.80   $    206.80
 8/27/2017 Abelino Alvarado                 $11.00   69.70   $   8.44          $   163.35   $    163.35
  9/3/2017 Abelino Alvarado                 $11.00   68.02   $   8.44          $   154.09   $    154.09
 9/10/2017 Abelino Alvarado                 $11.00   49.82   $   8.44          $    53.99   $     53.99
 9/17/2017 Abelino Alvarado                 $11.00   77.33   $   8.44          $   205.33   $    205.33
 9/24/2017 Abelino Alvarado                 $11.00   68.93   $   8.44          $   159.13   $    159.13
 10/1/2017 Abelino Alvarado                 $11.00   57.42   $   8.44          $    95.79   $     95.79
 10/8/2017 Abelino Alvarado                 $11.00   68.27   $   8.44          $   155.47   $    155.47
10/15/2017 Abelino Alvarado                 $11.00   76.17   $   8.44          $   198.92   $    198.92
10/22/2017 Abelino Alvarado                 $11.00   68.20   $   8.44          $   155.10   $    155.10
10/29/2017 Abelino Alvarado                 $11.00   75.80   $   8.44          $   196.90   $    196.90
 11/5/2017 Abelino Alvarado                 $11.00   67.40   $   8.44          $   150.70   $    150.70
11/12/2017 Abelino Alvarado                 $11.00   69.43   $   8.44          $   161.88   $    161.88
11/19/2017 Abelino Alvarado                 $11.00   62.83   $   8.44          $   125.58   $    125.58
11/26/2017 Abelino Alvarado                 $11.00   53.22   $   8.44          $    72.69   $     72.69
 12/3/2017 Abelino Alvarado                 $11.00   58.47   $   8.44          $   101.57   $    101.57
12/10/2017 Abelino Alvarado                 $11.00   62.62   $   8.44          $   124.39   $    124.39
12/17/2017 Abelino Alvarado                 $11.00   68.80   $   8.44          $   158.40   $    158.40
12/24/2017 Abelino Alvarado                 $11.00   68.47   $   8.44          $   156.57   $    156.57
12/31/2017 Abelino Alvarado                 $11.00   57.53   $   8.44          $    96.43   $     96.43
  1/7/2018 Abelino Alvarado                 $11.00   53.23   $   8.60          $    72.78   $     72.78
 1/14/2018 Abelino Alvarado                 $11.00   68.88   $   8.60          $   158.86   $    158.86
 1/21/2018 Abelino Alvarado                 $11.00   77.48   $   8.60          $   206.16   $    206.16
 1/28/2018 Abelino Alvarado                 $11.00   58.13   $   8.60          $    99.73   $     99.73
  2/4/2018 Abelino Alvarado                 $11.00   76.27   $   8.60          $   199.47   $    199.47
 2/11/2018 Abelino Alvarado                 $11.00   68.62   $   8.60          $   157.39   $    157.39
 2/18/2018 Abelino Alvarado                 $11.00   60.92   $   8.60          $   115.04   $    115.04
 2/25/2018 Abelino Alvarado                 $11.00   69.75   $   8.60          $   163.63   $    163.63
  3/4/2018 Abelino Alvarado                 $11.00   76.97   $   8.60          $   203.32   $    203.32
  4/1/2018 Abelino Alvarado                 $11.00   57.97   $   8.60          $    98.82   $     98.82
  4/8/2018 Abelino Alvarado                 $11.00   69.65   $   8.60          $   163.08   $    163.08
 4/15/2018 Abelino Alvarado                 $11.00   77.65   $   8.60          $   207.08   $    207.08
 4/22/2018 Abelino Alvarado                 $11.00   66.48   $   8.60          $   145.66   $    145.66
 4/29/2018 Abelino Alvarado                 $11.00   73.13   $   8.60          $   182.23   $    182.23
  5/6/2018 Abelino Alvarado                 $11.00   69.67   $   8.60          $   163.17   $    163.17
 5/13/2018 Abelino Alvarado                 $11.00   76.93   $   8.60          $   203.13   $    203.13
 5/20/2018 Abelino Alvarado                 $11.00   68.37   $   8.60          $   156.02   $    156.02
 5/27/2018 Abelino Alvarado                 $11.00   76.22   $   8.60          $   199.19   $    199.19
  6/3/2018 Abelino Alvarado                 $11.00   52.60   $   8.60          $    69.30   $     69.30
 6/10/2018 Abelino Alvarado                 $11.00   77.15   $   8.60          $   204.33   $    204.33
 6/17/2018 Abelino Alvarado                 $11.00   68.80   $   8.60          $   158.40   $    158.40
 6/24/2018 Abelino Alvarado                 $11.00   76.87   $   8.60          $   202.77   $    202.77
  7/1/2018 Abelino Alvarado                 $11.00   67.73   $   8.60          $   152.53   $    152.53
  7/8/2018 Abelino Alvarado                 $11.00   52.92   $   8.60          $    71.04   $     71.04



                                               2
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 4 of 683 PageID: 851
                                             Exhibit 2
                                     New Jersey Computations


  Week                                                      State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
 Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
  Date                                                      Wage  Rate Due     Due       Wages Due

 7/15/2018 Abelino Alvarado                 $11.00   57.50   $   8.60          $    96.25   $     96.25
 7/22/2018 Abelino Alvarado                 $11.00   79.03   $   8.60          $   214.68   $    214.68
 7/29/2018 Abelino Alvarado                 $11.00   67.33   $   8.60          $   150.33   $    150.33
  8/5/2018 Abelino Alvarado                 $11.00   77.45   $   8.60          $   205.98   $    205.98
 8/12/2018 Abelino Alvarado                 $11.00   68.88   $   8.60          $   158.86   $    158.86
 8/19/2018 Abelino Alvarado                 $11.00   72.60   $   8.60          $   179.30   $    179.30
 8/26/2018 Abelino Alvarado                 $11.00   69.42   $   8.60          $   161.79   $    161.79
  9/2/2018 Abelino Alvarado                 $11.00   73.82   $   8.60          $   185.99   $    185.99
  9/9/2018 Abelino Alvarado                 $11.00   62.42   $   8.60          $   123.29   $    123.29
 9/16/2018 Abelino Alvarado                 $11.00   76.65   $   8.60          $   201.58   $    201.58
 9/23/2018 Abelino Alvarado                 $11.00   68.32   $   8.60          $   155.74   $    155.74
 9/30/2018 Abelino Alvarado                 $11.00   71.40   $   8.60          $   172.70   $    172.70
 10/7/2018 Abelino Alvarado                 $11.00   56.63   $   8.60          $    91.48   $     91.48
10/14/2018 Abelino Alvarado                 $11.00   76.57   $   8.60          $   201.12   $    201.12
10/21/2018 Abelino Alvarado                 $11.00   67.90   $   8.60          $   153.45   $    153.45
10/28/2018 Abelino Alvarado                 $11.00   69.95   $   8.60          $   164.73   $    164.73
 11/4/2018 Abelino Alvarado                 $11.00   68.30   $   8.60          $   155.65   $    155.65
11/11/2018 Abelino Alvarado                 $11.00   76.63   $   8.60          $   201.48   $    201.48
11/18/2018 Abelino Alvarado                 $11.00   64.35   $   8.60          $   133.93   $    133.93
11/25/2018 Abelino Alvarado                 $11.00   65.47   $   8.60          $   140.07   $    140.07
 12/2/2018 Abelino Alvarado                 $11.00   64.50   $   8.60          $   134.75   $    134.75
 12/9/2018 Abelino Alvarado                 $11.00   76.90   $   8.60          $   202.95   $    202.95
12/16/2018 Abelino Alvarado                 $11.00   67.83   $   8.60          $   153.08   $    153.08
12/23/2018 Abelino Alvarado                 $11.00   77.63   $   8.60          $   206.98   $    206.98
12/30/2018 Abelino Alvarado                 $11.00   48.48   $   8.60          $    46.66   $     46.66
  1/6/2019 Abelino Alvarado                 $11.00   53.48   $   8.85          $    74.16   $     74.16
 1/13/2019 Abelino Alvarado                 $11.00   68.15   $   8.85          $   154.83   $    154.83
 1/20/2019 Abelino Alvarado                 $11.00   67.92   $   8.85          $   153.54   $    153.54
 1/27/2019 Abelino Alvarado                 $11.00   67.58   $   8.85          $   151.71   $    151.71
  2/3/2019 Abelino Alvarado                 $11.00   77.12   $   8.85          $   204.14   $    204.14
 2/10/2019 Abelino Alvarado                 $11.00   56.32   $   8.85          $    89.74   $     89.74
 2/17/2019 Abelino Alvarado                 $11.00   71.28   $   8.85          $   172.06   $    172.06
 2/24/2019 Abelino Alvarado                 $11.00   56.85   $   8.85          $    92.68   $     92.68
  3/3/2019 Abelino Alvarado                 $11.00   76.13   $   8.85          $   198.73   $    198.73
 3/10/2019 Abelino Alvarado                 $11.00   68.10   $   8.85          $   154.55   $    154.55
 3/17/2019 Abelino Alvarado                 $11.00   77.12   $   8.85          $   204.14   $    204.14
 3/24/2019 Abelino Alvarado                 $11.00   66.52   $   8.85          $   145.84   $    145.84
 3/31/2019 Abelino Alvarado                 $11.00   77.00   $   8.85          $   203.50   $    203.50
  4/7/2019 Abelino Alvarado                 $11.00   55.45   $   8.85          $    84.98   $     84.98
 4/14/2019 Abelino Alvarado                 $11.00   75.43   $   8.85          $   194.88   $    194.88
 4/21/2019 Abelino Alvarado                 $11.00   70.08   $   8.85          $   165.46   $    165.46
 4/28/2019 Abelino Alvarado                 $11.00   68.10   $   8.85          $   154.55   $    154.55
  5/5/2019 Abelino Alvarado                 $11.00   69.85   $   8.85          $   164.18   $    164.18
 5/12/2019 Abelino Alvarado                 $11.00   76.53   $   8.85          $   200.93   $    200.93
 5/19/2019 Abelino Alvarado                 $11.00   69.77   $   8.85          $   163.72   $    163.72
 5/26/2019 Abelino Alvarado                 $11.00   57.93   $   8.85          $    98.63   $     98.63
  6/2/2019 Abelino Alvarado                 $11.00   62.82   $   8.85          $   125.49   $    125.49
  6/9/2019 Abelino Alvarado                 $11.00   77.70   $   8.85          $   207.35   $    207.35
 6/16/2019 Abelino Alvarado                 $11.00   68.93   $   8.85          $   159.13   $    159.13
 6/23/2019 Abelino Alvarado                 $11.00   65.02   $   8.85          $   137.59   $    137.59



                                               3
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 5 of 683 PageID: 852
                                             Exhibit 2
                                     New Jersey Computations


  Week                                                      State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
 Ending                      Name                         Minumum Regular    Half-Time Overtime Back
                                             Rate Week
  Date                                                      Wage  Rate Due     Due       Wages Due

 6/30/2019 Abelino Alvarado                 $11.00   69.23   $   10.00         $   160.78   $    160.78
  7/7/2019 Abelino Alvarado                 $12.00   63.18   $   10.00         $   139.10   $    139.10
 7/14/2019 Abelino Alvarado                 $12.00   69.50   $   10.00         $   177.00   $    177.00
 7/21/2019 Abelino Alvarado                 $12.00   59.13   $   10.00         $   114.80   $    114.80
 7/28/2019 Abelino Alvarado                 $12.00   70.13   $   10.00         $   180.80   $    180.80
  8/4/2019 Abelino Alvarado                 $12.00   70.43   $   10.00         $   182.60   $    182.60
 8/11/2019 Abelino Alvarado                 $12.00   47.90   $   10.00         $    47.40   $     47.40
 8/18/2019 Abelino Alvarado                 $12.00   65.77   $   10.00         $   154.60   $    154.60
 8/25/2019 Abelino Alvarado                 $12.00   70.48   $   10.00         $   182.90   $    182.90
  9/1/2019 Abelino Alvarado                 $12.00   66.38   $   10.00         $   158.30   $    158.30
  9/8/2019 Abelino Alvarado                 $12.00   62.95   $   10.00         $   137.70   $    137.70
 9/15/2019 Abelino Alvarado                 $12.00   68.03   $   10.00         $   168.20   $    168.20
 9/22/2019 Abelino Alvarado                 $12.00   65.25   $   10.00         $   151.50   $    151.50
 9/29/2019 Abelino Alvarado                 $12.00   69.58   $   10.00         $   177.50   $    177.50
 10/6/2019 Abelino Alvarado                 $12.00   68.65   $   10.00         $   171.90   $    171.90
10/13/2019 Abelino Alvarado                 $12.00   65.17   $   10.00         $   151.00   $    151.00
10/20/2019 Abelino Alvarado                 $12.00   70.03   $   10.00         $   180.20   $    180.20
10/27/2019 Abelino Alvarado                 $12.00   70.18   $   10.00         $   181.10   $    181.10
 11/3/2019 Abelino Alvarado                 $12.00   59.72   $   10.00         $   118.30   $    118.30
11/10/2019 Abelino Alvarado                 $12.00   57.50   $   10.00         $   105.00   $    105.00
11/17/2019 Abelino Alvarado                 $12.00   69.42   $   10.00         $   176.50   $    176.50
11/24/2019 Abelino Alvarado                 $12.00   70.33   $   10.00         $   182.00   $    182.00
 12/1/2019 Abelino Alvarado                 $12.00   57.58   $   10.00         $   105.50   $    105.50
 12/8/2019 Abelino Alvarado                 $12.00   66.35   $   10.00         $   158.10   $    158.10
12/15/2019 Abelino Alvarado                 $12.00   69.50   $   10.00         $   177.00   $    177.00
12/22/2019 Abelino Alvarado                 $12.00   69.63   $   10.00         $   177.80   $    177.80
12/29/2019 Abelino Alvarado                 $12.00   53.78   $   10.00         $    82.70   $     82.70
  1/5/2020 Abelino Alvarado                 $12.00   53.13   $   11.00         $    78.80   $     78.80
 1/12/2020 Abelino Alvarado                 $12.00   70.18   $   11.00         $   181.10   $    181.10
 1/19/2020 Abelino Alvarado                 $12.00   69.58   $   11.00         $   177.50   $    177.50
 1/26/2020 Abelino Alvarado                 $12.00   57.78   $   11.00         $   106.70   $    106.70
  2/5/2017 Adan Maquin - PM Worker          $10.00   67.33   $    8.44         $   136.67   $    136.67
 2/12/2017 Adan Maquin - PM Worker          $10.00   51.83   $    8.44         $    59.17   $     59.17
 2/19/2017 Adan Maquin - PM Worker          $10.00   59.92   $    8.44         $    99.58   $     99.58
  3/5/2017 Adan Maquin - PM Worker          $10.00   59.95   $    8.44         $    99.75   $     99.75
 3/12/2017 Adan Maquin - PM Worker          $10.00   47.98   $    8.44         $    39.92   $     39.92
  4/2/2017 Adan Maquin - PM Worker          $10.00   42.18   $    8.44         $    10.92   $     10.92
 6/11/2017 Adelso Chom                       $9.25   70.05   $    8.44         $   138.98   $    138.98
 6/18/2017 Adelso Chom                       $9.25   47.70   $    8.44         $    35.61   $     35.61
  9/8/2019 Adrian Ventura                   $12.00   62.20   $   10.00         $   133.20   $    133.20
 9/15/2019 Adrian Ventura                   $12.00   59.72   $   10.00         $   118.30   $    118.30
 9/22/2019 Adrian Ventura                   $12.00   60.22   $   10.00         $   121.30   $    121.30
 9/29/2019 Adrian Ventura                   $12.00   64.20   $   10.00         $   145.20   $    145.20
 10/6/2019 Adrian Ventura                   $12.00   62.70   $   10.00         $   136.20   $    136.20
10/13/2019 Adrian Ventura                   $12.00   47.43   $   10.00         $    44.60   $     44.60
10/20/2019 Adrian Ventura                   $12.00   50.28   $   10.00         $    61.70   $     61.70
 11/3/2019 Adrian Ventura                   $12.00   52.77   $   10.00         $    76.60   $     76.60
11/10/2019 Adrian Ventura                   $12.00   50.40   $   10.00         $    62.40   $     62.40
11/17/2019 Adrian Ventura                   $12.00   48.40   $   10.00         $    50.40   $     50.40
 12/8/2019 Adrian Ventura                   $12.00   62.75   $   10.00         $   136.50   $    136.50



                                               4
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 6 of 683 PageID: 853
                                              Exhibit 2
                                      New Jersey Computations


  Week                                                       State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
 Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
  Date                                                       Wage  Rate Due     Due       Wages Due

12/15/2019 Adrian Ventura                    $12.00   59.12   $   10.00         $   114.70   $    114.70
12/22/2019 Adrian Ventura                    $12.00   53.10   $   10.00         $    78.60   $     78.60
12/29/2019 Adrian Ventura                    $12.00   50.37   $   10.00         $    62.20   $     62.20
  1/5/2020 Adrian Ventura                    $12.00   62.02   $   11.00         $   132.10   $    132.10
 1/12/2020 Adrian Ventura                    $12.00   60.90   $   11.00         $   125.40   $    125.40
 1/19/2020 Adrian Ventura                    $12.00   57.27   $   11.00         $   103.60   $    103.60
 1/26/2020 Adrian Ventura                    $12.00   62.40   $   11.00         $   134.40   $    134.40
  6/4/2017 Agustin Zacarias Lorenzo           $9.50   42.00   $    8.44         $     9.50   $      9.50
 6/11/2017 Agustin Zacarias Lorenzo           $9.50   56.50   $    8.44         $    78.38   $     78.38
 6/18/2017 Agustin Zacarias Lorenzo           $9.50   56.07   $    8.44         $    76.32   $     76.32
 6/25/2017 Agustin Zacarias Lorenzo           $9.50   57.78   $    8.44         $    84.47   $     84.47
  7/2/2017 Agustin Zacarias Lorenzo           $9.50   57.08   $    8.44         $    81.15   $     81.15
  7/9/2017 Agustin Zacarias Lorenzo           $9.50   47.30   $    8.44         $    34.68   $     34.68
 7/16/2017 Agustin Zacarias Lorenzo           $9.50   55.02   $    8.44         $    71.33   $     71.33
 7/23/2017 Agustin Zacarias Lorenzo           $9.50   57.03   $    8.44         $    80.91   $     80.91
 7/30/2017 Agustin Zacarias Lorenzo           $9.50   56.25   $    8.44         $    77.19   $     77.19
  8/6/2017 Agustin Zacarias Lorenzo           $9.50   56.22   $    8.44         $    77.03   $     77.03
 8/13/2017 Agustin Zacarias Lorenzo           $9.50   55.85   $    8.44         $    75.29   $     75.29
 8/20/2017 Agustin Zacarias Lorenzo           $9.50   57.13   $    8.44         $    81.38   $     81.38
 8/27/2017 Agustin Zacarias Lorenzo           $9.50   54.77   $    8.44         $    70.14   $     70.14
  9/3/2017 Agustin Zacarias Lorenzo           $9.50   57.08   $    8.44         $    81.15   $     81.15
 9/10/2017 Agustin Zacarias Lorenzo           $9.50   51.00   $    8.44         $    52.25   $     52.25
 9/17/2017 Agustin Zacarias Lorenzo           $9.50   56.17   $    8.44         $    76.79   $     76.79
 9/24/2017 Agustin Zacarias Lorenzo           $9.50   55.85   $    8.44         $    75.29   $     75.29
 10/1/2017 Agustin Zacarias Lorenzo           $9.50   56.50   $    8.44         $    78.38   $     78.38
 10/8/2017 Agustin Zacarias Lorenzo           $9.50   55.78   $    8.44         $    74.97   $     74.97
10/15/2017 Agustin Zacarias Lorenzo           $9.50   56.13   $    8.44         $    76.63   $     76.63
10/22/2017 Agustin Zacarias Lorenzo           $9.50   56.40   $    8.44         $    77.90   $     77.90
10/29/2017 Agustin Zacarias Lorenzo           $9.50   56.18   $    8.44         $    76.87   $     76.87
 11/5/2017 Agustin Zacarias Lorenzo           $9.50   57.40   $    8.44         $    82.65   $     82.65
11/12/2017 Agustin Zacarias Lorenzo           $9.50   57.65   $    8.44         $    83.84   $     83.84
11/19/2017 Agustin Zacarias Lorenzo           $9.50   57.55   $    8.44         $    83.36   $     83.36
11/26/2017 Agustin Zacarias Lorenzo           $9.50   47.07   $    8.44         $    33.57   $     33.57
 12/3/2017 Agustin Zacarias Lorenzo           $9.50   59.28   $    8.44         $    91.60   $     91.60
12/10/2017 Agustin Zacarias Lorenzo           $9.50   56.82   $    8.44         $    79.88   $     79.88
12/17/2017 Agustin Zacarias Lorenzo           $9.50   57.25   $    8.44         $    81.94   $     81.94
12/24/2017 Agustin Zacarias Lorenzo           $9.50   48.33   $    8.44         $    39.58   $     39.58
12/31/2017 Agustin Zacarias Lorenzo           $9.50   47.72   $    8.44         $    36.65   $     36.65
  1/7/2018 Agustin Zacarias Lorenzo           $9.50   44.25   $    8.60         $    20.19   $     20.19
 1/14/2018 Agustin Zacarias Lorenzo           $9.50   57.57   $    8.60         $    83.44   $     83.44
 1/21/2018 Agustin Zacarias Lorenzo           $9.50   56.28   $    8.60         $    77.35   $     77.35
 1/28/2018 Agustin Zacarias Lorenzo           $9.50   56.48   $    8.60         $    78.30   $     78.30
  2/4/2018 Agustin Zacarias Lorenzo           $9.50   56.23   $    8.60         $    77.11   $     77.11
 2/11/2018 Agustin Zacarias Lorenzo           $9.50   56.17   $    8.60         $    76.79   $     76.79
 2/18/2018 Agustin Zacarias Lorenzo           $9.50   57.43   $    8.60         $    82.81   $     82.81
 2/25/2018 Agustin Zacarias Lorenzo           $9.50   56.63   $    8.60         $    79.01   $     79.01
  3/4/2018 Agustin Zacarias Lorenzo           $9.50   55.55   $    8.60         $    73.86   $     73.86
 3/25/2018 Agustin Zacarias Lorenzo           $9.50   54.13   $    8.60         $    67.13   $     67.13
  4/1/2018 Agustin Zacarias Lorenzo           $9.50   55.40   $    8.60         $    73.15   $     73.15
  4/8/2018 Agustin Zacarias Lorenzo           $9.50   55.02   $    8.60         $    71.33   $     71.33



                                                5
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 7 of 683 PageID: 854
                                              Exhibit 2
                                      New Jersey Computations


  Week                                                       State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
 Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
  Date                                                       Wage  Rate Due     Due       Wages Due

 4/15/2018 Agustin Zacarias Lorenzo           $9.50   55.65   $   8.60          $    74.34   $     74.34
 4/22/2018 Agustin Zacarias Lorenzo           $9.50   55.62   $   8.60          $    74.18   $     74.18
 4/29/2018 Agustin Zacarias Lorenzo           $9.50   55.87   $   8.60          $    75.37   $     75.37
  5/6/2018 Agustin Zacarias Lorenzo           $9.50   55.65   $   8.60          $    74.34   $     74.34
 5/13/2018 Agustin Zacarias Lorenzo           $9.50   56.27   $   8.60          $    77.27   $     77.27
 5/20/2018 Agustin Zacarias Lorenzo           $9.50   55.25   $   8.60          $    72.44   $     72.44
 5/27/2018 Agustin Zacarias Lorenzo           $9.50   59.05   $   8.60          $    90.49   $     90.49
  6/3/2018 Agustin Zacarias Lorenzo           $9.50   51.17   $   8.60          $    53.04   $     53.04
 6/10/2018 Agustin Zacarias Lorenzo           $9.50   56.70   $   8.60          $    79.33   $     79.33
 6/17/2018 Agustin Zacarias Lorenzo           $9.50   56.35   $   8.60          $    77.66   $     77.66
  2/4/2018 Alber Eduardo Cuellar              $9.00   58.40   $   8.60          $    82.80   $     82.80
 2/11/2018 Alber Eduardo Cuellar              $9.00   63.52   $   8.60          $   105.83   $    105.83
 2/18/2018 Alber Eduardo Cuellar              $9.00   48.88   $   8.60          $    39.98   $     39.98
 2/25/2018 Alber Eduardo Cuellar              $9.00   54.42   $   8.60          $    64.88   $     64.88
  3/4/2018 Alber Eduardo Cuellar              $9.00   62.65   $   8.60          $   101.93   $    101.93
 3/25/2018 Alber Eduardo Cuellar             $11.00   59.75   $   8.60          $   108.63   $    108.63
  4/1/2018 Alber Eduardo Cuellar             $11.00   74.97   $   8.60          $   192.32   $    192.32
  4/8/2018 Alber Eduardo Cuellar             $11.00   68.35   $   8.60          $   155.93   $    155.93
 4/15/2018 Alber Eduardo Cuellar             $11.00   73.82   $   8.60          $   185.99   $    185.99
 4/22/2018 Alber Eduardo Cuellar             $11.00   72.78   $   8.60          $   180.31   $    180.31
 4/29/2018 Alber Eduardo Cuellar             $11.00   75.22   $   8.60          $   193.69   $    193.69
  5/6/2018 Alber Eduardo Cuellar             $11.00   72.75   $   8.60          $   180.13   $    180.13
 5/13/2018 Alber Eduardo Cuellar             $11.00   77.03   $   8.60          $   203.68   $    203.68
 5/20/2018 Alber Eduardo Cuellar             $11.00   76.28   $   8.60          $   199.56   $    199.56
 5/27/2018 Alber Eduardo Cuellar             $11.00   76.70   $   8.60          $   201.85   $    201.85
  6/3/2018 Alber Eduardo Cuellar             $11.00   71.98   $   8.60          $   175.91   $    175.91
 6/10/2018 Alber Eduardo Cuellar             $11.00   41.83   $   8.60          $    10.08   $     10.08
 6/17/2018 Alber Eduardo Cuellar             $11.00   53.95   $   8.60          $    76.73   $     76.73
 6/24/2018 Alber Eduardo Cuellar             $11.00   66.08   $   8.60          $   143.46   $    143.46
  7/1/2018 Alber Eduardo Cuellar             $11.00   43.83   $   8.60          $    21.08   $     21.08
 7/15/2018 Alber Eduardo Cuellar             $11.00   65.20   $   8.60          $   138.60   $    138.60
 7/22/2018 Alber Eduardo Cuellar             $11.00   48.28   $   8.60          $    45.56   $     45.56
 8/12/2018 Alber Eduardo Cuellar             $11.00   50.78   $   8.60          $    59.31   $     59.31
 8/19/2018 Alber Eduardo Cuellar             $11.00   78.12   $   8.60          $   209.64   $    209.64
 8/26/2018 Alber Eduardo Cuellar             $11.00   76.57   $   8.60          $   201.12   $    201.12
  9/2/2018 Alber Eduardo Cuellar             $12.00   69.20   $   8.60          $   175.20   $    175.20
  9/9/2018 Alber Eduardo Cuellar             $12.00   69.77   $   8.60          $   178.60   $    178.60
 9/16/2018 Alber Eduardo Cuellar             $12.00   78.10   $   8.60          $   228.60   $    228.60
 9/23/2018 Alber Eduardo Cuellar             $12.00   62.30   $   8.60          $   133.80   $    133.80
 9/30/2018 Alber Eduardo Cuellar             $12.00   65.97   $   8.60          $   155.80   $    155.80
 10/7/2018 Alber Eduardo Cuellar             $12.00   80.07   $   8.60          $   240.40   $    240.40
10/14/2018 Alber Eduardo Cuellar             $12.00   79.63   $   8.60          $   237.80   $    237.80
10/21/2018 Alber Eduardo Cuellar             $12.00   80.05   $   8.60          $   240.30   $    240.30
 11/4/2018 Alber Eduardo Cuellar             $12.00   79.90   $   8.60          $   239.40   $    239.40
11/11/2018 Alber Eduardo Cuellar             $12.00   79.28   $   8.60          $   235.70   $    235.70
11/18/2018 Alber Eduardo Cuellar             $12.00   80.10   $   8.60          $   240.60   $    240.60
11/25/2018 Alber Eduardo Cuellar             $12.00   65.77   $   8.60          $   154.60   $    154.60
 12/2/2018 Alber Eduardo Cuellar             $12.00   79.87   $   8.60          $   239.20   $    239.20
 12/9/2018 Alber Eduardo Cuellar             $12.00   79.87   $   8.60          $   239.20   $    239.20
12/16/2018 Alber Eduardo Cuellar             $12.00   79.48   $   8.60          $   236.90   $    236.90



                                                6
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 8 of 683 PageID: 855
                                              Exhibit 2
                                      New Jersey Computations


  Week                                                       State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
 Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
  Date                                                       Wage  Rate Due     Due       Wages Due

12/23/2018 Alber Eduardo Cuellar             $12.00   77.90   $    8.60         $   227.40   $    227.40
12/30/2018 Alber Eduardo Cuellar             $12.00   53.05   $    8.60         $    78.30   $     78.30
  1/6/2019 Alber Eduardo Cuellar             $12.00   62.05   $    8.85         $   132.30   $    132.30
 1/13/2019 Alber Eduardo Cuellar             $12.00   62.75   $    8.85         $   136.50   $    136.50
 1/20/2019 Alber Eduardo Cuellar             $12.00   80.18   $    8.85         $   241.10   $    241.10
 1/27/2019 Alber Eduardo Cuellar             $12.00   76.08   $    8.85         $   216.50   $    216.50
  2/3/2019 Alber Eduardo Cuellar             $12.00   78.00   $    8.85         $   228.00   $    228.00
 2/10/2019 Alber Eduardo Cuellar             $12.00   72.03   $    8.85         $   192.20   $    192.20
 2/17/2019 Alber Eduardo Cuellar             $12.00   80.25   $    8.85         $   241.50   $    241.50
 2/24/2019 Alber Eduardo Cuellar             $12.00   80.18   $    8.85         $   241.10   $    241.10
  3/3/2019 Alber Eduardo Cuellar             $12.00   80.38   $    8.85         $   242.30   $    242.30
 3/10/2019 Alber Eduardo Cuellar             $12.00   75.52   $    8.85         $   213.10   $    213.10
 3/17/2019 Alber Eduardo Cuellar             $12.00   74.03   $    8.85         $   204.20   $    204.20
 3/24/2019 Alber Eduardo Cuellar             $12.00   72.88   $    8.85         $   197.30   $    197.30
 3/31/2019 Alber Eduardo Cuellar             $12.00   74.63   $    8.85         $   207.80   $    207.80
  4/7/2019 Alber Eduardo Cuellar             $12.00   72.48   $    8.85         $   194.90   $    194.90
 4/14/2019 Alber Eduardo Cuellar             $12.00   75.83   $    8.85         $   215.00   $    215.00
 4/21/2019 Alber Eduardo Cuellar             $12.00   73.93   $    8.85         $   203.60   $    203.60
 4/28/2019 Alber Eduardo Cuellar             $12.00   75.38   $    8.85         $   212.30   $    212.30
  5/5/2019 Alber Eduardo Cuellar             $12.00   76.13   $    8.85         $   216.80   $    216.80
 5/12/2019 Alber Eduardo Cuellar             $12.00   75.90   $    8.85         $   215.40   $    215.40
 5/19/2019 Alber Eduardo Cuellar             $12.00   63.48   $    8.85         $   140.90   $    140.90
 5/26/2019 Alber Eduardo Cuellar             $12.00   78.37   $    8.85         $   230.20   $    230.20
  6/2/2019 Alber Eduardo Cuellar             $12.00   65.07   $    8.85         $   150.40   $    150.40
  6/9/2019 Alber Eduardo Cuellar             $12.00   65.58   $    8.85         $   153.50   $    153.50
 6/16/2019 Alber Eduardo Cuellar             $12.00   78.52   $    8.85         $   231.10   $    231.10
 6/23/2019 Alber Eduardo Cuellar             $12.00   79.12   $    8.85         $   234.70   $    234.70
  7/7/2019 Alber Eduardo Cuellar             $12.00   46.27   $   10.00         $    37.60   $     37.60
 7/14/2019 Alber Eduardo Cuellar             $12.00   74.25   $   10.00         $   205.50   $    205.50
 7/21/2019 Alber Eduardo Cuellar             $12.00   48.18   $   10.00         $    49.10   $     49.10
 9/29/2019 Alber Eduardo Cuellar             $12.00   40.55   $   10.00         $     3.30   $      3.30
  2/5/2017 Alberth Barrientos-7893           $10.00   70.90   $    8.44         $   154.50   $    154.50
 2/12/2017 Alberth Barrientos-7893           $10.00   47.87   $    8.44         $    39.33   $     39.33
 2/19/2017 Alberth Barrientos-7893           $10.00   68.87   $    8.44         $   144.33   $    144.33
 2/26/2017 Alberth Barrientos-7893           $10.00   53.85   $    8.44         $    69.25   $     69.25
  3/5/2017 Alberth Barrientos-7893           $10.00   69.40   $    8.44         $   147.00   $    147.00
 3/12/2017 Alberth Barrientos-7893           $10.00   71.02   $    8.44         $   155.08   $    155.08
 3/19/2017 Alberth Barrientos-7893           $10.00   56.75   $    8.44         $    83.75   $     83.75
 3/26/2017 Alberth Barrientos-7893           $10.00   55.95   $    8.44         $    79.75   $     79.75
  4/2/2017 Alberth Barrientos-7893           $10.00   68.77   $    8.44         $   143.83   $    143.83
  4/9/2017 Alberth Barrientos-7893           $10.00   67.42   $    8.44         $   137.08   $    137.08
 4/16/2017 Alberth Barrientos-7893           $10.00   70.62   $    8.44         $   153.08   $    153.08
 4/23/2017 Alberth Barrientos-7893           $10.00   70.13   $    8.44         $   150.67   $    150.67
 4/30/2017 Alberth Barrientos-7893           $10.00   56.17   $    8.44         $    80.83   $     80.83
  5/7/2017 Alberth Barrientos-7893           $10.00   70.28   $    8.44         $   151.42   $    151.42
 5/14/2017 Alberth Barrientos-7893           $10.00   67.47   $    8.44         $   137.33   $    137.33
 5/21/2017 Alberth Barrientos-7893           $10.00   60.67   $    8.44         $   103.33   $    103.33
 5/28/2017 Alberth Barrientos-7893           $10.00   69.53   $    8.44         $   147.67   $    147.67
  6/4/2017 Alberth Barrientos-7893           $10.00   63.40   $    8.44         $   117.00   $    117.00
 6/11/2017 Alberth Barrientos-7893           $10.00   69.50   $    8.44         $   147.50   $    147.50



                                                7
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 9 of 683 PageID: 856
                                                           Exhibit 2
                                                   New Jersey Computations


  Week                                                                    State Section 7: Section 7: Total Section 7
                                                          Hourly Hours/
 Ending                        Name                                     Minumum Regular    Half-Time Overtime Back
                                                           Rate Week
  Date                                                                    Wage  Rate Due     Due       Wages Due

 6/18/2017 Alberth Barrientos-7893                        $10.00   48.28   $   8.44          $    41.42   $     41.42
 6/25/2017 Alberth Barrientos-7893                        $10.00   70.85   $   8.44          $   154.25   $    154.25
  7/2/2017 Alberth Barrientos-7893                        $10.00   70.92   $   8.44          $   154.58   $    154.58
  7/9/2017 Alberth Barrientos-7893                        $10.00   59.15   $   8.44          $    95.75   $     95.75
 7/16/2017 Alberth Barrientos-7893                        $10.00   57.87   $   8.44          $    89.33   $     89.33
 7/23/2017 Alberth Barrientos-7893                        $10.00   71.00   $   8.44          $   155.00   $    155.00
 7/30/2017 Alberth Barrientos-7893                        $10.00   58.27   $   8.44          $    91.33   $     91.33
  8/6/2017 Alberth Barrientos-7893                        $10.00   69.93   $   8.44          $   149.67   $    149.67
 8/13/2017 Alberth Barrientos-7893                        $10.00   53.68   $   8.44          $    68.42   $     68.42
 8/20/2017 Alberth Barrientos-7893                        $10.00   48.85   $   8.44          $    44.25   $     44.25
 8/27/2017 Alberth Barrientos-7893                        $10.00   70.58   $   8.44          $   152.92   $    152.92
  9/3/2017 Alberth Barrientos-7893                        $10.00   58.53   $   8.44          $    92.67   $     92.67
 9/10/2017 Alberth Barrientos-7893                        $10.00   48.52   $   8.44          $    42.58   $     42.58
 9/17/2017 Alberth Barrientos-7893                        $10.00   49.97   $   8.44          $    49.83   $     49.83
 9/24/2017 Alberth Barrientos-7893                        $10.00   40.60   $   8.44          $     3.00   $      3.00
 10/1/2017 Alberth Barrientos-7893                        $10.00   40.68   $   8.44          $     3.42   $      3.42
 10/8/2017 Alberth Barrientos-7893                        $10.00   51.03   $   8.44          $    55.17   $     55.17
11/19/2017 Alberth Edenilson Gonzales Barrientos          $11.00   62.30   $   8.44          $   122.65   $    122.65
11/26/2017 Alberth Edenilson Gonzales Barrientos          $11.00   56.83   $   8.44          $    92.58   $     92.58
 12/3/2017 Alberth Edenilson Gonzales Barrientos          $11.00   59.43   $   8.44          $   106.88   $    106.88
12/10/2017 Alberth Edenilson Gonzales Barrientos          $11.00   57.75   $   8.44          $    97.63   $     97.63
12/17/2017 Alberth Edenilson Gonzales Barrientos          $11.00   56.17   $   8.44          $    88.92   $     88.92
 1/28/2018 Alberth Edenilson Gonzales Barrientos          $11.00   59.48   $   8.60          $   107.16   $    107.16
  2/4/2018 Alberth Edenilson Gonzales Barrientos          $11.00   67.85   $   8.60          $   153.18   $    153.18
 2/11/2018 Alberth Edenilson Gonzales Barrientos          $11.00   52.15   $   8.60          $    66.83   $     66.83
 2/18/2018 Alberth Edenilson Gonzales Barrientos          $11.00   51.90   $   8.60          $    65.45   $     65.45
 2/25/2018 Alberth Edenilson Gonzales Barrientos          $11.00   52.12   $   8.60          $    66.64   $     66.64
  3/4/2018 Alberth Edenilson Gonzales Barrientos          $11.00   52.85   $   8.60          $    70.68   $     70.68
 3/25/2018 Alberth Edenilson Gonzales Barrientos          $11.00   53.18   $   8.60          $    72.51   $     72.51
  4/1/2018 Alberth Edenilson Gonzales Barrientos          $11.00   63.85   $   8.60          $   131.18   $    131.18
  4/8/2018 Alberth Edenilson Gonzales Barrientos          $11.00   51.52   $   8.60          $    63.34   $     63.34
 4/15/2018 Alberth Edenilson Gonzales Barrientos          $11.00   40.07   $   8.60          $     0.37   $      0.37
 4/22/2018 Alberth Edenilson Gonzales Barrientos          $11.00   51.25   $   8.60          $    61.88   $     61.88
 4/29/2018 Alberth Edenilson Gonzales Barrientos          $11.00   63.65   $   8.60          $   130.08   $    130.08
  5/6/2018 Alberth Edenilson Gonzales Barrientos          $11.00   52.12   $   8.60          $    66.64   $     66.64
 5/13/2018 Alberth Edenilson Gonzales Barrientos          $11.00   50.40   $   8.60          $    57.20   $     57.20
 5/20/2018 Alberth Edenilson Gonzales Barrientos          $11.00   60.32   $   8.60          $   111.74   $    111.74
 5/27/2018 Alberth Edenilson Gonzales Barrientos          $11.00   54.12   $   8.60          $    77.64   $     77.64
 10/7/2018 Alberth Edenilson Gonzales Barrientos          $11.00   61.20   $   8.60          $   116.60   $    116.60
10/14/2018 Alberth Edenilson Gonzales Barrientos          $11.00   59.97   $   8.60          $   109.82   $    109.82
10/21/2018 Alberth Edenilson Gonzales Barrientos          $11.00   42.37   $   8.60          $    13.02   $     13.02
10/28/2018 Alberth Edenilson Gonzales Barrientos          $11.00   60.95   $   8.60          $   115.23   $    115.23
 11/4/2018 Alberth Edenilson Gonzales Barrientos          $11.00   57.93   $   8.60          $    98.63   $     98.63
11/11/2018 Alberth Edenilson Gonzales Barrientos          $11.00   59.43   $   8.60          $   106.88   $    106.88
11/18/2018 Alberth Edenilson Gonzales Barrientos          $11.00   53.08   $   8.60          $    71.96   $     71.96
11/25/2018 Alberth Edenilson Gonzales Barrientos          $11.00   52.28   $   8.60          $    67.56   $     67.56
 12/2/2018 Alberth Edenilson Gonzales Barrientos          $11.00   52.35   $   8.60          $    67.93   $     67.93
 12/9/2018 Alberth Edenilson Gonzales Barrientos          $11.00   53.47   $   8.60          $    74.07   $     74.07
12/16/2018 Alberth Edenilson Gonzales Barrientos          $11.00   63.07   $   8.60          $   126.87   $    126.87
  1/6/2019 Alberth Edenilson Gonzales Barrientos          $11.00   50.23   $   8.85          $    56.28   $     56.28



                                                             8
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 10 of 683 PageID: 857
                                                           Exhibit 2
                                                   New Jersey Computations


  Week                                                                    State Section 7: Section 7: Total Section 7
                                                          Hourly Hours/
 Ending                        Name                                     Minumum Regular    Half-Time Overtime Back
                                                           Rate Week
  Date                                                                    Wage  Rate Due     Due       Wages Due

 1/13/2019 Alberth Edenilson Gonzales Barrientos          $11.00   63.78   $    8.85         $   130.81   $    130.81
 1/20/2019 Alberth Edenilson Gonzales Barrientos          $11.00   64.82   $    8.85         $   136.49   $    136.49
 1/27/2019 Alberth Edenilson Gonzales Barrientos          $11.00   41.30   $    8.85         $     7.15   $      7.15
  2/3/2019 Alberth Edenilson Gonzales Barrientos          $11.00   53.12   $    8.85         $    72.14   $     72.14
 2/10/2019 Alberth Edenilson Gonzales Barrientos          $11.00   62.00   $    8.85         $   121.00   $    121.00
 2/17/2019 Alberth Edenilson Gonzales Barrientos          $11.00   44.25   $    8.85         $    23.38   $     23.38
 2/24/2019 Alberth Edenilson Gonzales Barrientos          $11.00   54.15   $    8.85         $    77.83   $     77.83
 3/10/2019 Alberth Edenilson Gonzales Barrientos          $11.00   54.60   $    8.85         $    80.30   $     80.30
 3/17/2019 Alberth Edenilson Gonzales Barrientos          $11.00   51.35   $    8.85         $    62.43   $     62.43
 3/24/2019 Alberth Edenilson Gonzales Barrientos          $11.00   67.32   $    8.85         $   150.24   $    150.24
 3/31/2019 Alberth Edenilson Gonzales Barrientos          $11.00   68.53   $    8.85         $   156.93   $    156.93
  4/7/2019 Alberth Edenilson Gonzales Barrientos          $11.00   58.48   $    8.85         $   101.66   $    101.66
 4/14/2019 Alberth Edenilson Gonzales Barrientos          $11.00   68.65   $    8.85         $   157.58   $    157.58
 4/21/2019 Alberth Edenilson Gonzales Barrientos          $11.00   44.75   $    8.85         $    26.13   $     26.13
 4/28/2019 Alberth Edenilson Gonzales Barrientos          $11.00   67.58   $    8.85         $   151.71   $    151.71
  5/5/2019 Alberth Edenilson Gonzales Barrientos          $11.00   44.50   $    8.85         $    24.75   $     24.75
 5/12/2019 Alberth Edenilson Gonzales Barrientos          $11.00   61.80   $    8.85         $   119.90   $    119.90
 5/26/2019 Alberth Edenilson Gonzales Barrientos          $11.00   52.17   $    8.85         $    66.92   $     66.92
  6/2/2019 Alberth Edenilson Gonzales Barrientos          $11.00   43.15   $    8.85         $    17.33   $     17.33
  6/9/2019 Alberth Edenilson Gonzales Barrientos          $11.00   60.48   $    8.85         $   112.66   $    112.66
 6/16/2019 Alberth Edenilson Gonzales Barrientos          $11.00   53.90   $    8.85         $    76.45   $     76.45
 6/23/2019 Alberth Edenilson Gonzales Barrientos          $11.00   53.43   $    8.85         $    73.88   $     73.88
 6/30/2019 Alberth Edenilson Gonzales Barrientos          $11.00   65.75   $   10.00         $   141.63   $    141.63
  5/7/2017 Alberto Alegria                                $10.50   59.80   $    8.44         $   103.95   $    103.95
 5/14/2017 Alberto Alegria                                $10.50   58.63   $    8.44         $    97.83   $     97.83
 5/21/2017 Alberto Alegria                                $10.50   57.03   $    8.44         $    89.43   $     89.43
 5/28/2017 Alberto Alegria                                $10.50   66.03   $    8.44         $   136.68   $    136.68
  6/4/2017 Alberto Alegria                                $10.50   70.33   $    8.44         $   159.25   $    159.25
 6/11/2017 Alberto Alegria                                $10.50   63.42   $    8.44         $   122.94   $    122.94
 6/18/2017 Alberto Alegria                                $10.50   64.82   $    8.44         $   130.29   $    130.29
 6/25/2017 Alberto Alegria                                $10.50   68.25   $    8.44         $   148.31   $    148.31
  7/2/2017 Alberto Alegria                                $10.50   70.70   $    8.44         $   161.18   $    161.18
  7/9/2017 Alberto Alegria                                $10.50   56.67   $    8.44         $    87.50   $     87.50
 7/16/2017 Alberto Alegria                                $10.50   67.33   $    8.44         $   143.50   $    143.50
 7/23/2017 Alberto Alegria                                $10.50   68.55   $    8.44         $   149.89   $    149.89
 7/30/2017 Alberto Alegria                                $10.50   64.17   $    8.44         $   126.88   $    126.88
  8/6/2017 Alberto Alegria                                $10.50   67.58   $    8.44         $   144.81   $    144.81
 8/13/2017 Alberto Alegria                                $10.50   63.55   $    8.44         $   123.64   $    123.64
 8/20/2017 Alberto Alegria                                $10.50   66.47   $    8.44         $   138.95   $    138.95
 8/27/2017 Alberto Alegria                                $10.50   70.30   $    8.44         $   159.08   $    159.08
  9/3/2017 Alberto Alegria                                $10.50   72.63   $    8.44         $   171.33   $    171.33
 9/10/2017 Alberto Alegria                                $10.50   64.40   $    8.44         $   128.10   $    128.10
 9/17/2017 Alberto Alegria                                $10.50   71.20   $    8.44         $   163.80   $    163.80
 9/24/2017 Alberto Alegria                                $10.50   66.80   $    8.44         $   140.70   $    140.70
 10/1/2017 Alberto Alegria                                $10.50   70.28   $    8.44         $   158.99   $    158.99
 10/8/2017 Alberto Alegria                                $10.50   74.17   $    8.44         $   179.38   $    179.38
10/15/2017 Alberto Alegria                                $10.50   69.65   $    8.44         $   155.66   $    155.66
10/22/2017 Alberto Alegria                                $10.50   73.67   $    8.44         $   176.75   $    176.75
10/29/2017 Alberto Alegria                                $10.50   72.40   $    8.44         $   170.10   $    170.10
 11/5/2017 Alberto Alegria                                $10.50   72.43   $    8.44         $   170.28   $    170.28



                                                             9
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 11 of 683 PageID: 858
                                            Exhibit 2
                                    New Jersey Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
  Date                                                     Wage  Rate Due     Due       Wages Due

11/12/2017 Alberto Alegria                 $10.50   74.83   $   8.44          $   182.88   $    182.88
11/19/2017 Alberto Alegria                 $10.50   76.13   $   8.44          $   189.70   $    189.70
11/26/2017 Alberto Alegria                 $10.50   56.83   $   8.44          $    88.38   $     88.38
 12/3/2017 Alberto Alegria                 $10.50   70.88   $   8.44          $   162.14   $    162.14
12/10/2017 Alberto Alegria                 $10.50   71.25   $   8.44          $   164.06   $    164.06
12/17/2017 Alberto Alegria                 $10.50   71.82   $   8.44          $   167.04   $    167.04
12/24/2017 Alberto Alegria                 $10.50   75.12   $   8.44          $   184.36   $    184.36
12/31/2017 Alberto Alegria                 $10.50   62.20   $   8.44          $   116.55   $    116.55
  1/7/2018 Alberto Alegria                 $10.50   56.38   $   8.60          $    86.01   $     86.01
 1/14/2018 Alberto Alegria                 $10.50   70.95   $   8.60          $   162.49   $    162.49
 1/21/2018 Alberto Alegria                 $10.50   69.32   $   8.60          $   153.91   $    153.91
 1/28/2018 Alberto Alegria                 $10.50   66.48   $   8.60          $   139.04   $    139.04
  2/4/2018 Alberto Alegria                 $10.50   71.72   $   8.60          $   166.51   $    166.51
 2/11/2018 Alberto Alegria                 $10.50   70.15   $   8.60          $   158.29   $    158.29
 2/18/2018 Alberto Alegria                 $10.50   74.60   $   8.60          $   181.65   $    181.65
 2/25/2018 Alberto Alegria                 $10.50   71.12   $   8.60          $   163.36   $    163.36
  3/4/2018 Alberto Alegria                 $10.50   68.42   $   8.60          $   149.19   $    149.19
 3/25/2018 Alberto Alegria                 $10.50   69.00   $   8.60          $   152.25   $    152.25
  4/1/2018 Alberto Alegria                 $10.50   73.27   $   8.60          $   174.65   $    174.65
  4/8/2018 Alberto Alegria                 $10.50   73.53   $   8.60          $   176.05   $    176.05
 4/15/2018 Alberto Alegria                 $10.50   77.82   $   8.60          $   198.54   $    198.54
 4/22/2018 Alberto Alegria                 $10.50   83.08   $   8.60          $   226.19   $    226.19
 4/29/2018 Alberto Alegria                 $10.50   83.00   $   8.60          $   225.75   $    225.75
  5/6/2018 Alberto Alegria                 $10.50   84.43   $   8.60          $   233.28   $    233.28
 5/13/2018 Alberto Alegria                 $10.50   84.08   $   8.60          $   231.44   $    231.44
 5/20/2018 Alberto Alegria                 $10.50   85.15   $   8.60          $   237.04   $    237.04
 5/27/2018 Alberto Alegria                 $10.50   85.37   $   8.60          $   238.18   $    238.18
  6/3/2018 Alberto Alegria                 $10.50   86.80   $   8.60          $   245.70   $    245.70
 6/10/2018 Alberto Alegria                 $10.50   84.38   $   8.60          $   233.01   $    233.01
 6/17/2018 Alberto Alegria                 $10.50   83.68   $   8.60          $   229.34   $    229.34
 6/24/2018 Alberto Alegria                 $10.50   83.73   $   8.60          $   229.60   $    229.60
  7/1/2018 Alberto Alegria                 $10.50   85.38   $   8.60          $   238.26   $    238.26
  7/8/2018 Alberto Alegria                 $10.50   71.02   $   8.60          $   162.84   $    162.84
 7/15/2018 Alberto Alegria                 $10.50   82.40   $   8.60          $   222.60   $    222.60
 7/22/2018 Alberto Alegria                 $10.50   84.95   $   8.60          $   235.99   $    235.99
 7/29/2018 Alberto Alegria                 $10.50   83.78   $   8.60          $   229.86   $    229.86
  8/5/2018 Alberto Alegria                 $10.50   87.68   $   8.60          $   250.34   $    250.34
 8/12/2018 Alberto Alegria                 $10.50   85.32   $   8.60          $   237.91   $    237.91
 8/19/2018 Alberto Alegria                 $10.50   83.58   $   8.60          $   228.81   $    228.81
 8/26/2018 Alberto Alegria                 $10.50   83.38   $   8.60          $   227.76   $    227.76
  9/2/2018 Alberto Alegria                 $10.50   83.15   $   8.60          $   226.54   $    226.54
  9/9/2018 Alberto Alegria                 $10.50   76.50   $   8.60          $   191.63   $    191.63
 9/16/2018 Alberto Alegria                 $10.50   78.02   $   8.60          $   199.59   $    199.59
 9/23/2018 Alberto Alegria                 $10.50   78.70   $   8.60          $   203.18   $    203.18
 9/30/2018 Alberto Alegria                 $10.50   83.00   $   8.60          $   225.75   $    225.75
 10/7/2018 Alberto Alegria                 $10.50   79.92   $   8.60          $   209.56   $    209.56
10/14/2018 Alberto Alegria                 $10.50   78.40   $   8.60          $   201.60   $    201.60
10/21/2018 Alberto Alegria                 $10.50   77.13   $   8.60          $   194.95   $    194.95
10/28/2018 Alberto Alegria                 $10.50   77.82   $   8.60          $   198.54   $    198.54
 11/4/2018 Alberto Alegria                 $10.50   80.02   $   8.60          $   210.09   $    210.09



                                              10
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 12 of 683 PageID: 859
                                            Exhibit 2
                                    New Jersey Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
  Date                                                     Wage  Rate Due     Due       Wages Due

11/11/2018 Alberto Alegria                 $10.50   79.58   $    8.60         $   207.81   $    207.81
11/18/2018 Alberto Alegria                 $10.50   78.05   $    8.60         $   199.76   $    199.76
11/25/2018 Alberto Alegria                 $10.50   64.52   $    8.60         $   128.71   $    128.71
 12/2/2018 Alberto Alegria                 $10.50   80.87   $    8.60         $   214.55   $    214.55
 12/9/2018 Alberto Alegria                 $10.50   80.10   $    8.60         $   210.53   $    210.53
12/16/2018 Alberto Alegria                 $10.50   81.80   $    8.60         $   219.45   $    219.45
12/23/2018 Alberto Alegria                 $10.50   76.82   $    8.60         $   193.29   $    193.29
12/30/2018 Alberto Alegria                 $10.50   54.83   $    8.60         $    77.88   $     77.88
  1/6/2019 Alberto Alegria                 $10.50   65.65   $    8.85         $   134.66   $    134.66
 1/13/2019 Alberto Alegria                 $10.50   78.92   $    8.85         $   204.31   $    204.31
 1/20/2019 Alberto Alegria                 $10.50   77.93   $    8.85         $   199.15   $    199.15
 1/27/2019 Alberto Alegria                 $10.50   78.47   $    8.85         $   201.95   $    201.95
  2/3/2019 Alberto Alegria                 $10.50   82.20   $    8.85         $   221.55   $    221.55
 2/10/2019 Alberto Alegria                 $10.50   78.75   $    8.85         $   203.44   $    203.44
 2/17/2019 Alberto Alegria                 $10.50   81.53   $    8.85         $   218.05   $    218.05
 2/24/2019 Alberto Alegria                 $10.50   79.63   $    8.85         $   208.08   $    208.08
  3/3/2019 Alberto Alegria                 $10.50   79.77   $    8.85         $   208.78   $    208.78
 3/10/2019 Alberto Alegria                 $10.50   76.00   $    8.85         $   189.00   $    189.00
 3/17/2019 Alberto Alegria                 $10.50   83.68   $    8.85         $   229.34   $    229.34
 3/24/2019 Alberto Alegria                 $10.50   80.92   $    8.85         $   214.81   $    214.81
 3/31/2019 Alberto Alegria                 $10.50   85.37   $    8.85         $   238.18   $    238.18
  4/7/2019 Alberto Alegria                 $10.50   81.73   $    8.85         $   219.10   $    219.10
 4/14/2019 Alberto Alegria                 $10.50   82.43   $    8.85         $   222.78   $    222.78
 4/21/2019 Alberto Alegria                 $10.50   79.10   $    8.85         $   205.28   $    205.28
 4/28/2019 Alberto Alegria                 $10.50   76.87   $    8.85         $   193.55   $    193.55
  5/5/2019 Alberto Alegria                 $10.50   81.55   $    8.85         $   218.14   $    218.14
 5/12/2019 Alberto Alegria                 $10.50   82.48   $    8.85         $   223.04   $    223.04
 5/19/2019 Alberto Alegria                 $10.50   81.12   $    8.85         $   215.86   $    215.86
 5/26/2019 Alberto Alegria                 $10.50   84.15   $    8.85         $   231.79   $    231.79
  6/2/2019 Alberto Alegria                 $10.50   76.67   $    8.85         $   192.50   $    192.50
  6/9/2019 Alberto Alegria                 $10.50   82.53   $    8.85         $   223.30   $    223.30
 6/16/2019 Alberto Alegria                 $10.50   82.62   $    8.85         $   223.74   $    223.74
 6/23/2019 Alberto Alegria                 $10.50   82.60   $    8.85         $   223.65   $    223.65
 6/30/2019 Alberto Alegria                 $10.50   85.38   $   10.00         $   238.26   $    238.26
  7/7/2019 Alberto Alegria                 $10.50   51.38   $   10.00         $    59.76   $     59.76
 7/14/2019 Alberto Alegria                 $10.50   79.25   $   10.00         $   206.06   $    206.06
 7/21/2019 Alberto Alegria                 $10.50   80.68   $   10.00         $   213.59   $    213.59
 7/28/2019 Alberto Alegria                 $10.50   80.10   $   10.00         $   210.53   $    210.53
  8/4/2019 Alberto Alegria                 $10.50   83.35   $   10.00         $   227.59   $    227.59
 8/11/2019 Alberto Alegria                 $10.50   81.42   $   10.00         $   217.44   $    217.44
 8/18/2019 Alberto Alegria                 $10.50   82.13   $   10.00         $   221.20   $    221.20
 8/25/2019 Alberto Alegria                 $10.50   81.17   $   10.00         $   216.13   $    216.13
  9/1/2019 Alberto Alegria                 $10.50   71.08   $   10.00         $   163.19   $    163.19
  9/8/2019 Alberto Alegria                 $10.50   78.88   $   10.00         $   204.14   $    204.14
 9/15/2019 Alberto Alegria                 $10.50   80.87   $   10.00         $   214.55   $    214.55
 9/22/2019 Alberto Alegria                 $10.50   82.42   $   10.00         $   222.69   $    222.69
 9/29/2019 Alberto Alegria                 $10.50   82.92   $   10.00         $   225.31   $    225.31
 10/6/2019 Alberto Alegria                 $10.50   82.10   $   10.00         $   221.03   $    221.03
10/13/2019 Alberto Alegria                 $10.50   81.82   $   10.00         $   219.54   $    219.54
10/20/2019 Alberto Alegria                 $10.50   79.67   $   10.00         $   208.25   $    208.25



                                              11
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 13 of 683 PageID: 860
                                                 Exhibit 2
                                         New Jersey Computations


  Week                                                          State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
 Ending                        Name                           Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
  Date                                                          Wage  Rate Due     Due       Wages Due

10/27/2019 Alberto Alegria                      $10.50   82.60   $   10.00               $   223.65   $   223.65
 11/3/2019 Alberto Alegria                      $10.50   82.57   $   10.00               $   223.48   $   223.48
11/10/2019 Alberto Alegria                      $10.50   84.62   $   10.00               $   234.24   $   234.24
11/17/2019 Alberto Alegria                      $10.50   81.45   $   10.00               $   217.61   $   217.61
11/24/2019 Alberto Alegria                      $10.50   85.05   $   10.00               $   236.51   $   236.51
 12/1/2019 Alberto Alegria                      $10.50   69.87   $   10.00               $   156.80   $   156.80
 12/8/2019 Alberto Alegria                      $10.50   82.02   $   10.00               $   220.59   $   220.59
12/15/2019 Alberto Alegria                      $10.50   81.75   $   10.00               $   219.19   $   219.19
12/22/2019 Alberto Alegria                      $10.50   78.90   $   10.00               $   204.23   $   204.23
12/29/2019 Alberto Alegria                      $10.50   52.47   $   10.00               $    65.45   $    65.45
  1/5/2020 Alberto Alegria                      $10.50   65.93   $   11.00   $   32.97   $   142.63   $   175.60
 1/12/2020 Alberto Alegria                      $10.50   79.82   $   11.00   $   39.91   $   218.99   $   258.90
 1/19/2020 Alberto Alegria                      $10.50   79.75   $   11.00   $   39.88   $   218.63   $   258.50
 1/26/2020 Alberto Alegria                      $10.50   78.33   $   11.00   $   39.17   $   210.83   $   250.00
 3/24/2019 Alberto Rosario - Used Cars          $11.50   44.50   $    8.85               $    25.88   $    25.88
 3/31/2019 Alberto Rosario - Used Cars          $11.50   65.62   $    8.85               $   147.30   $   147.30
  4/7/2019 Alberto Rosario - Used Cars          $11.50   62.37   $    8.85               $   128.61   $   128.61
 4/14/2019 Alberto Rosario - Used Cars          $11.50   67.90   $    8.85               $   160.43   $   160.43
 4/21/2019 Alberto Rosario - Used Cars          $11.50   58.35   $    8.85               $   105.51   $   105.51
 4/28/2019 Alberto Rosario - Used Cars          $11.50   59.98   $    8.85               $   114.90   $   114.90
  5/5/2019 Alberto Rosario - Used Cars          $11.50   63.12   $    8.85               $   132.92   $   132.92
 5/12/2019 Alberto Rosario - Used Cars          $11.50   61.60   $    8.85               $   124.20   $   124.20
 5/19/2019 Alberto Rosario - Used Cars          $11.50   65.67   $    8.85               $   147.58   $   147.58
 5/26/2019 Alberto Rosario - Used Cars          $11.50   70.83   $    8.85               $   177.29   $   177.29
  6/2/2019 Alberto Rosario - Used Cars          $11.50   53.97   $    8.85               $    80.31   $    80.31
  6/9/2019 Alberto Rosario - Used Cars          $11.50   64.67   $    8.85               $   141.83   $   141.83
 6/16/2019 Alberto Rosario - Used Cars          $11.50   61.05   $    8.85               $   121.04   $   121.04
 6/23/2019 Alberto Rosario - Used Cars          $11.50   61.53   $    8.85               $   123.82   $   123.82
 6/30/2019 Alberto Rosario - Used Cars          $11.50   54.45   $   10.00               $    83.09   $    83.09
  7/7/2019 Alberto Rosario - Used Cars          $11.50   62.18   $   10.00               $   127.55   $   127.55
 7/14/2019 Alberto Rosario - Used Cars          $11.50   64.32   $   10.00               $   139.82   $   139.82
 7/21/2019 Alberto Rosario - Used Cars          $11.50   63.05   $   10.00               $   132.54   $   132.54
 7/28/2019 Alberto Rosario - Used Cars          $11.50   54.57   $   10.00               $    83.76   $    83.76
  8/4/2019 Alberto Rosario - Used Cars          $11.50   64.10   $   10.00               $   138.58   $   138.58
 8/11/2019 Alberto Rosario - Used Cars          $11.50   65.00   $   10.00               $   143.75   $   143.75
 8/18/2019 Alberto Rosario - Used Cars          $11.50   60.28   $   10.00               $   116.63   $   116.63
 8/25/2019 Alberto Rosario - Used Cars          $11.50   61.35   $   10.00               $   122.76   $   122.76
  9/1/2019 Alberto Rosario - Used Cars          $11.50   64.33   $   10.00               $   139.92   $   139.92
  9/8/2019 Alberto Rosario - Used Cars          $11.50   43.53   $   10.00               $    20.32   $    20.32
 9/15/2019 Alberto Rosario - Used Cars          $11.50   62.55   $   10.00               $   129.66   $   129.66
 9/29/2019 Alberto Rosario - Used Cars          $11.50   59.72   $   10.00               $   113.37   $   113.37
 10/6/2019 Alberto Rosario - Used Cars          $11.50   60.32   $   10.00               $   116.82   $   116.82
10/13/2019 Alberto Rosario - Used Cars          $11.50   57.87   $   10.00               $   102.73   $   102.73
10/20/2019 Alberto Rosario - Used Cars          $11.50   57.35   $   10.00               $    99.76   $    99.76
10/27/2019 Alberto Rosario - Used Cars          $11.50   52.48   $   10.00               $    71.78   $    71.78
 11/3/2019 Alberto Rosario - Used Cars          $11.50   54.52   $   10.00               $    83.47   $    83.47
11/10/2019 Alberto Rosario - Used Cars          $11.50   58.53   $   10.00               $   106.57   $   106.57
11/17/2019 Alberto Rosario - Used Cars          $11.50   62.95   $   10.00               $   131.96   $   131.96
11/24/2019 Alberto Rosario - Used Cars          $11.50   63.17   $   10.00               $   133.21   $   133.21
 12/1/2019 Alberto Rosario - Used Cars          $11.50   54.22   $   10.00               $    81.75   $    81.75



                                                   12
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 14 of 683 PageID: 861
                                                 Exhibit 2
                                         New Jersey Computations


  Week                                                          State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
 Ending                        Name                           Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
  Date                                                          Wage  Rate Due     Due       Wages Due

 12/8/2019 Alberto Rosario - Used Cars          $11.50   61.62   $   10.00               $   124.30   $   124.30
12/15/2019 Alberto Rosario - Used Cars          $11.50   68.48   $   10.00               $   163.78   $   163.78
12/22/2019 Alberto Rosario - Used Cars          $11.50   48.63   $   10.00               $    49.64   $    49.64
12/29/2019 Alberto Rosario - Used Cars          $11.50   47.80   $   10.00               $    44.85   $    44.85
  1/5/2020 Alberto Rosario - Used Cars          $11.50   41.97   $   11.00               $    11.31   $    11.31
 1/12/2020 Alberto Rosario - Used Cars          $11.50   62.37   $   11.00               $   128.61   $   128.61
 1/19/2020 Alberto Rosario - Used Cars          $11.50   65.07   $   11.00               $   144.13   $   144.13
 1/26/2020 Alberto Rosario - Used Cars          $11.50   65.65   $   11.00               $   147.49   $   147.49
  1/5/2020 Aldemar Franco                       $10.00   61.50   $   11.00   $   61.50   $   118.25   $   179.75
 1/12/2020 Aldemar Franco                       $10.00   56.00   $   11.00   $   56.00   $    88.00   $   144.00
 1/19/2020 Aldemar Franco                       $10.00   57.55   $   11.00   $   57.55   $    96.53   $   154.08
 1/26/2020 Aldemar Franco                       $10.00   55.13   $   11.00   $   55.13   $    83.23   $   138.37
  7/1/2018 Aldrich Perez Manzueta               $11.00   58.78   $    8.60               $   103.31   $   103.31
  7/8/2018 Aldrich Perez Manzueta               $11.00   52.55   $    8.60               $    69.03   $    69.03
 7/15/2018 Aldrich Perez Manzueta               $11.00   62.68   $    8.60               $   124.76   $   124.76
 7/22/2018 Aldrich Perez Manzueta               $11.00   47.17   $    8.60               $    39.42   $    39.42
  8/5/2018 Aldrich Perez Manzueta               $11.00   60.77   $    8.60               $   114.22   $   114.22
 8/12/2018 Aldrich Perez Manzueta               $11.00   53.02   $    8.60               $    71.59   $    71.59
 8/19/2018 Aldrich Perez Manzueta               $11.00   67.03   $    8.60               $   148.68   $   148.68
 8/26/2018 Aldrich Perez Manzueta               $11.00   43.90   $    8.60               $    21.45   $    21.45
  9/2/2018 Aldrich Perez Manzueta               $11.00   65.37   $    8.60               $   139.52   $   139.52
  9/9/2018 Aldrich Perez Manzueta               $11.00   48.58   $    8.60               $    47.21   $    47.21
 9/16/2018 Aldrich Perez Manzueta               $11.00   52.42   $    8.60               $    68.29   $    68.29
 9/23/2018 Aldrich Perez Manzueta               $11.00   64.90   $    8.60               $   136.95   $   136.95
 9/30/2018 Aldrich Perez Manzueta               $11.00   61.47   $    8.60               $   118.07   $   118.07
 10/7/2018 Aldrich Perez Manzueta               $11.00   62.67   $    8.60               $   124.67   $   124.67
10/14/2018 Aldrich Perez Manzueta               $11.00   56.43   $    8.60               $    90.38   $    90.38
10/21/2018 Aldrich Perez Manzueta               $11.00   61.45   $    8.60               $   117.98   $   117.98
10/28/2018 Aldrich Perez Manzueta               $11.00   61.68   $    8.60               $   119.26   $   119.26
 11/4/2018 Aldrich Perez Manzueta               $11.00   58.10   $    8.60               $    99.55   $    99.55
11/11/2018 Aldrich Perez Manzueta               $11.00   63.65   $    8.60               $   130.08   $   130.08
11/18/2018 Aldrich Perez Manzueta               $11.00   65.23   $    8.60               $   138.78   $   138.78
11/25/2018 Aldrich Perez Manzueta               $11.00   40.15   $    8.60               $     0.82   $     0.82
 12/2/2018 Aldrich Perez Manzueta               $11.00   64.90   $    8.60               $   136.95   $   136.95
 12/9/2018 Aldrich Perez Manzueta               $11.00   66.25   $    8.60               $   144.38   $   144.38
12/16/2018 Aldrich Perez Manzueta               $11.00   65.32   $    8.60               $   139.24   $   139.24
12/23/2018 Aldrich Perez Manzueta               $11.00   63.93   $    8.60               $   131.63   $   131.63
12/30/2018 Aldrich Perez Manzueta               $11.00   52.48   $    8.60               $    68.66   $    68.66
 1/13/2019 Aldrich Perez Manzueta               $11.00   61.92   $    8.85               $   120.54   $   120.54
 1/20/2019 Aldrich Perez Manzueta               $11.00   59.38   $    8.85               $   106.61   $   106.61
 1/27/2019 Aldrich Perez Manzueta               $11.00   53.22   $    8.85               $    72.69   $    72.69
  2/3/2019 Aldrich Perez Manzueta               $11.00   45.05   $    8.85               $    27.78   $    27.78
 2/10/2019 Aldrich Perez Manzueta               $11.00   47.82   $    8.85               $    42.99   $    42.99
 2/17/2019 Aldrich Perez Manzueta               $11.00   52.23   $    8.85               $    67.28   $    67.28
 2/24/2019 Aldrich Perez Manzueta               $11.00   54.55   $    8.85               $    80.03   $    80.03
  3/3/2019 Aldrich Perez Manzueta               $11.00   60.68   $    8.85               $   113.76   $   113.76
 3/10/2019 Aldrich Perez Manzueta               $11.00   59.78   $    8.85               $   108.81   $   108.81
 3/17/2019 Aldrich Perez Manzueta               $11.00   56.33   $    8.85               $    89.83   $    89.83
 3/24/2019 Aldrich Perez Manzueta               $11.00   60.25   $    8.85               $   111.38   $   111.38
 3/31/2019 Aldrich Perez Manzueta               $11.00   69.63   $    8.85               $   162.98   $   162.98



                                                   13
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 15 of 683 PageID: 862
                                               Exhibit 2
                                       New Jersey Computations


  Week                                                        State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
 Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
  Date                                                        Wage  Rate Due     Due       Wages Due

 4/21/2019 Alejandro Alvarado                 $10.00   54.23   $    8.85               $    71.17   $    71.17
 4/28/2019 Alejandro Alvarado                 $10.00   52.48   $    8.85               $    62.42   $    62.42
  5/5/2019 Alejandro Alvarado                 $10.00   52.45   $    8.85               $    62.25   $    62.25
 8/19/2018 Alejandro Balvin                   $10.00   60.40   $    8.60               $   102.00   $   102.00
 8/26/2018 Alejandro Balvin                   $10.00   52.50   $    8.60               $    62.50   $    62.50
  9/2/2018 Alejandro Balvin                   $10.00   58.75   $    8.60               $    93.75   $    93.75
  9/9/2018 Alejandro Balvin                   $10.00   49.82   $    8.60               $    49.08   $    49.08
 9/16/2018 Alejandro Balvin                   $10.00   59.37   $    8.60               $    96.83   $    96.83
 9/23/2018 Alejandro Balvin                   $10.00   60.03   $    8.60               $   100.17   $   100.17
 9/30/2018 Alejandro Balvin                   $10.00   61.00   $    8.60               $   105.00   $   105.00
 10/7/2018 Alejandro Balvin                   $10.00   51.08   $    8.60               $    55.42   $    55.42
10/14/2018 Alejandro Balvin                   $10.00   62.43   $    8.60               $   112.17   $   112.17
10/21/2018 Alejandro Balvin                   $10.00   58.55   $    8.60               $    92.75   $    92.75
10/28/2018 Alejandro Balvin                   $10.00   64.05   $    8.60               $   120.25   $   120.25
 11/4/2018 Alejandro Balvin                   $10.00   65.20   $    8.60               $   126.00   $   126.00
11/11/2018 Alejandro Balvin                   $10.00   63.93   $    8.60               $   119.67   $   119.67
11/18/2018 Alejandro Balvin                   $10.00   65.57   $    8.60               $   127.83   $   127.83
11/25/2018 Alejandro Balvin                   $10.00   54.45   $    8.60               $    72.25   $    72.25
 12/2/2018 Alejandro Balvin                   $10.00   68.62   $    8.60               $   143.08   $   143.08
 12/9/2018 Alejandro Balvin                   $10.00   68.13   $    8.60               $   140.67   $   140.67
12/16/2018 Alejandro Balvin                   $10.00   67.15   $    8.60               $   135.75   $   135.75
12/23/2018 Alejandro Balvin                   $10.00   67.35   $    8.60               $   136.75   $   136.75
12/30/2018 Alejandro Balvin                   $10.00   43.13   $    8.60               $    15.67   $    15.67
  1/6/2019 Alejandro Balvin                   $10.00   52.35   $    8.85               $    61.75   $    61.75
 1/13/2019 Alejandro Balvin                   $10.00   57.03   $    8.85               $    85.17   $    85.17
 2/24/2019 Alejandro Lopez                     $9.50   47.63   $    8.85               $    36.26   $    36.26
  3/3/2019 Alejandro Lopez                     $9.50   50.65   $    8.85               $    50.59   $    50.59
 3/10/2019 Alejandro Lopez                     $9.50   56.25   $    8.85               $    77.19   $    77.19
 3/17/2019 Alejandro Lopez                     $9.50   67.73   $    8.85               $   131.73   $   131.73
 3/24/2019 Alejandro Lopez                     $9.50   56.70   $    8.85               $    79.33   $    79.33
 3/31/2019 Alejandro Lopez                     $9.50   60.45   $    8.85               $    97.14   $    97.14
  4/7/2019 Alejandro Lopez                     $9.50   66.55   $    8.85               $   126.11   $   126.11
 4/14/2019 Alejandro Lopez                     $9.50   70.20   $    8.85               $   143.45   $   143.45
 4/21/2019 Alejandro Lopez                     $9.50   65.47   $    8.85               $   120.97   $   120.97
 4/28/2019 Alejandro Lopez                     $9.50   65.05   $    8.85               $   118.99   $   118.99
  5/5/2019 Alejandro Lopez                     $9.50   52.20   $    8.85               $    57.95   $    57.95
 5/12/2019 Alejandro Lopez                     $9.50   40.73   $    8.85               $     3.48   $     3.48
 5/19/2019 Alejandro Lopez                     $9.50   58.78   $    8.85               $    89.22   $    89.22
 6/16/2019 Alejandro Lopez                     $9.50   53.88   $    8.85               $    65.95   $    65.95
 6/23/2019 Alejandro Lopez                     $9.50   48.80   $    8.85               $    41.80   $    41.80
 6/30/2019 Alejandro Lopez                     $9.50   45.33   $   10.00   $   22.67   $    26.67   $    49.33
 7/14/2019 Alejandro Lopez                    $11.00   55.87   $   10.00               $    87.27   $    87.27
 7/21/2019 Alejandro Lopez                    $11.00   48.98   $   10.00               $    49.41   $    49.41
  8/4/2019 Alejandro Lopez                    $11.00   52.03   $   10.00               $    66.18   $    66.18
 8/18/2019 Alejandro Lopez                    $11.00   43.18   $   10.00               $    17.51   $    17.51
 8/25/2019 Alejandro Lopez                    $11.00   40.58   $   10.00               $     3.21   $     3.21
  9/1/2019 Alejandro Lopez                    $11.00   42.42   $   10.00               $    13.29   $    13.29
 9/22/2019 Alejandro Lopez                    $11.00   51.65   $   10.00               $    64.08   $    64.08
 9/29/2019 Alejandro Lopez                    $11.00   43.22   $   10.00               $    17.69   $    17.69
 10/6/2019 Alejandro Lopez                    $11.00   44.38   $   10.00               $    24.11   $    24.11



                                                 14
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 16 of 683 PageID: 863
                                              Exhibit 2
                                      New Jersey Computations


  Week                                                       State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
 Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
  Date                                                       Wage  Rate Due     Due       Wages Due

10/13/2019 Alejandro Lopez                   $11.00   41.60   $   10.00               $     8.80   $     8.80
10/20/2019 Alejandro Lopez                   $11.00   40.78   $   10.00               $     4.31   $     4.31
 11/3/2019 Alejandro Lopez                   $11.00   51.87   $   10.00               $    65.27   $    65.27
11/17/2019 Alejandro Lopez                   $11.00   46.07   $   10.00               $    33.37   $    33.37
11/24/2019 Alejandro Lopez                   $11.00   57.12   $   10.00               $    94.14   $    94.14
 12/8/2019 Alejandro Lopez                   $11.00   48.98   $   10.00               $    49.41   $    49.41
 7/21/2019 Alejandro Munguia                  $9.00   72.27   $   10.00   $   72.27   $   161.33   $   233.60
 7/28/2019 Alejandro Munguia                  $9.00   73.67   $   10.00   $   73.67   $   168.33   $   242.00
  8/4/2019 Alejandro Munguia                  $9.00   75.08   $   10.00   $   75.08   $   175.42   $   250.50
 8/11/2019 Alejandro Munguia                  $9.00   74.55   $   10.00   $   74.55   $   172.75   $   247.30
 8/18/2019 Alejandro Munguia                  $9.00   73.95   $   10.00   $   73.95   $   169.75   $   243.70
 8/25/2019 Alejandro Munguia                  $9.00   72.60   $   10.00   $   72.60   $   163.00   $   235.60
  9/1/2019 Alejandro Munguia                  $9.00   73.45   $   10.00   $   73.45   $   167.25   $   240.70
  9/8/2019 Alejandro Munguia                  $9.00   64.87   $   10.00   $   64.87   $   124.33   $   189.20
 9/15/2019 Alejandro Munguia                  $9.00   77.58   $   10.00   $   77.58   $   187.92   $   265.50
 9/22/2019 Alejandro Munguia                  $9.00   75.60   $   10.00   $   75.60   $   178.00   $   253.60
 9/29/2019 Alejandro Munguia                  $9.00   71.65   $   10.00   $   71.65   $   158.25   $   229.90
 10/6/2019 Alejandro Munguia                  $9.00   69.62   $   10.00   $   69.62   $   148.08   $   217.70
10/13/2019 Alejandro Munguia                  $9.00   60.47   $   10.00   $   60.47   $   102.33   $   162.80
10/20/2019 Alejandro Munguia                  $9.00   71.32   $   10.00   $   71.32   $   156.58   $   227.90
10/27/2019 Alejandro Munguia                  $9.00   71.90   $   10.00   $   71.90   $   159.50   $   231.40
 11/3/2019 Alejandro Munguia                  $9.00   68.80   $   10.00   $   68.80   $   144.00   $   212.80
11/10/2019 Alejandro Munguia                  $9.00   71.13   $   10.00   $   71.13   $   155.67   $   226.80
11/17/2019 Alejandro Munguia                  $9.00   69.82   $   10.00   $   69.82   $   149.08   $   218.90
11/24/2019 Alejandro Munguia                  $9.00   70.82   $   10.00   $   70.82   $   154.08   $   224.90
 12/1/2019 Alejandro Munguia                  $9.00   58.35   $   10.00   $   58.35   $    91.75   $   150.10
 12/8/2019 Alejandro Munguia                  $9.00   61.48   $   10.00   $   61.48   $   107.42   $   168.90
12/15/2019 Alejandro Munguia                  $9.00   70.15   $   10.00   $   70.15   $   150.75   $   220.90
12/22/2019 Alejandro Munguia                  $9.00   70.85   $   10.00   $   70.85   $   154.25   $   225.10
12/29/2019 Alejandro Munguia                 $10.00   58.27   $   10.00               $    91.33   $    91.33
  1/5/2020 Alejandro Munguia                 $10.00   61.80   $   11.00   $   61.80   $   119.90   $   181.70
 1/12/2020 Alejandro Munguia                 $10.00   71.83   $   11.00   $   71.83   $   175.08   $   246.92
 1/19/2020 Alejandro Munguia                 $10.00   70.50   $   11.00   $   70.50   $   167.75   $   238.25
 1/26/2020 Alejandro Munguia                 $10.00   72.37   $   11.00   $   72.37   $   178.02   $   250.38
  2/5/2017 Alejandro Oquendo                 $10.50   46.75   $    8.44               $    35.44   $    35.44
 2/26/2017 Alejandro Oquendo                 $10.50   52.27   $    8.44               $    64.40   $    64.40
  3/5/2017 Alejandro Oquendo                 $10.50   53.75   $    8.44               $    72.19   $    72.19
 3/12/2017 Alejandro Oquendo                 $10.50   50.93   $    8.44               $    57.40   $    57.40
 3/26/2017 Alejandro Oquendo                 $10.50   47.15   $    8.44               $    37.54   $    37.54
  4/2/2017 Alejandro Oquendo                 $10.50   53.43   $    8.44               $    70.53   $    70.53
  4/9/2017 Alejandro Oquendo                 $10.50   55.05   $    8.44               $    79.01   $    79.01
 4/16/2017 Alejandro Oquendo                 $10.50   51.48   $    8.44               $    60.29   $    60.29
 4/23/2017 Alejandro Oquendo                 $10.50   49.60   $    8.44               $    50.40   $    50.40
 4/30/2017 Alejandro Oquendo                 $10.50   48.93   $    8.44               $    46.90   $    46.90
  5/7/2017 Alejandro Oquendo                 $10.50   47.80   $    8.44               $    40.95   $    40.95
 5/14/2017 Alejandro Oquendo                 $10.50   42.70   $    8.44               $    14.18   $    14.18
 5/21/2017 Alejandro Oquendo                 $10.50   51.42   $    8.44               $    59.94   $    59.94
 5/28/2017 Alejandro Oquendo                 $10.50   48.47   $    8.44               $    44.45   $    44.45
  6/4/2017 Alejandro Oquendo                 $10.50   40.72   $    8.44               $     3.76   $     3.76
 6/11/2017 Alejandro Oquendo                 $10.50   52.75   $    8.44               $    66.94   $    66.94



                                                15
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 17 of 683 PageID: 864
                                              Exhibit 2
                                      New Jersey Computations


  Week                                                       State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
 Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
  Date                                                       Wage  Rate Due     Due       Wages Due

 6/18/2017 Alejandro Oquendo                 $10.50   47.63   $   8.44          $   40.08   $      40.08
 6/25/2017 Alejandro Oquendo                 $10.50   51.28   $   8.44          $   59.24   $      59.24
  7/2/2017 Alejandro Oquendo                 $10.50   45.80   $   8.44          $   30.45   $      30.45
  7/9/2017 Alejandro Oquendo                 $10.50   41.27   $   8.44          $    6.65   $       6.65
 7/16/2017 Alejandro Oquendo                 $10.50   50.50   $   8.44          $   55.13   $      55.13
 7/23/2017 Alejandro Oquendo                 $10.50   51.25   $   8.44          $   59.06   $      59.06
 7/30/2017 Alejandro Oquendo                 $10.50   43.55   $   8.44          $   18.64   $      18.64
  8/6/2017 Alejandro Oquendo                 $10.50   48.92   $   8.44          $   46.81   $      46.81
 8/13/2017 Alejandro Oquendo                 $10.50   49.30   $   8.44          $   48.83   $      48.83
 8/20/2017 Alejandro Oquendo                 $10.50   40.80   $   8.44          $    4.20   $       4.20
  9/3/2017 Alejandro Oquendo                 $10.50   56.62   $   8.44          $   87.24   $      87.24
 9/10/2017 Alejandro Oquendo                 $10.50   45.30   $   8.44          $   27.83   $      27.83
 9/17/2017 Alejandro Oquendo                 $10.50   55.18   $   8.44          $   79.71   $      79.71
 9/24/2017 Alejandro Oquendo                 $10.50   55.97   $   8.44          $   83.83   $      83.83
 10/1/2017 Alejandro Oquendo                 $10.50   47.12   $   8.44          $   37.36   $      37.36
 10/8/2017 Alejandro Oquendo                 $10.50   53.02   $   8.44          $   68.34   $      68.34
10/15/2017 Alejandro Oquendo                 $10.50   55.75   $   8.44          $   82.69   $      82.69
10/22/2017 Alejandro Oquendo                 $10.50   43.23   $   8.44          $   16.98   $      16.98
10/29/2017 Alejandro Oquendo                 $11.00   52.08   $   8.44          $   66.46   $      66.46
 11/5/2017 Alejandro Oquendo                 $11.00   50.58   $   8.44          $   58.21   $      58.21
11/12/2017 Alejandro Oquendo                 $11.00   52.62   $   8.44          $   69.39   $      69.39
11/19/2017 Alejandro Oquendo                 $11.00   51.27   $   8.44          $   61.97   $      61.97
11/26/2017 Alejandro Oquendo                 $11.00   41.33   $   8.44          $    7.33   $       7.33
 12/3/2017 Alejandro Oquendo                 $11.00   49.82   $   8.44          $   53.99   $      53.99
12/10/2017 Alejandro Oquendo                 $11.00   51.35   $   8.44          $   62.43   $      62.43
12/17/2017 Alejandro Oquendo                 $11.00   47.17   $   8.44          $   39.42   $      39.42
12/24/2017 Alejandro Oquendo                 $11.00   50.38   $   8.44          $   57.11   $      57.11
  1/7/2018 Alejandro Oquendo                 $11.00   43.55   $   8.60          $   19.53   $      19.53
 1/14/2018 Alejandro Oquendo                 $11.00   56.73   $   8.60          $   92.03   $      92.03
 1/21/2018 Alejandro Oquendo                 $11.00   55.70   $   8.60          $   86.35   $      86.35
 1/28/2018 Alejandro Oquendo                 $11.00   55.98   $   8.60          $   87.91   $      87.91
  2/4/2018 Alejandro Oquendo                 $10.50   41.48   $   8.60          $    7.79   $       7.79
 2/11/2018 Alejandro Oquendo                 $10.50   54.10   $   8.60          $   74.03   $      74.03
 2/18/2018 Alejandro Oquendo                 $10.50   53.78   $   8.60          $   72.36   $      72.36
 2/25/2018 Alejandro Oquendo                 $11.00   54.48   $   8.60          $   79.66   $      79.66
  3/4/2018 Alejandro Oquendo                 $11.00   54.07   $   8.60          $   77.37   $      77.37
 3/25/2018 Alejandro Oquendo                 $11.00   55.65   $   8.60          $   86.08   $      86.08
  4/1/2018 Alejandro Oquendo                 $11.00   54.85   $   8.60          $   81.68   $      81.68
  4/8/2018 Alejandro Oquendo                 $11.00   53.33   $   8.60          $   73.33   $      73.33
 4/15/2018 Alejandro Oquendo                 $11.00   54.97   $   8.60          $   82.32   $      82.32
 4/22/2018 Alejandro Oquendo                 $11.00   54.55   $   8.60          $   80.03   $      80.03
 4/29/2018 Alejandro Oquendo                 $11.00   54.77   $   8.60          $   81.22   $      81.22
  5/6/2018 Alejandro Oquendo                 $11.00   54.98   $   8.60          $   82.41   $      82.41
 5/13/2018 Alejandro Oquendo                 $11.00   44.57   $   8.60          $   25.12   $      25.12
 5/20/2018 Alejandro Oquendo                 $11.00   51.60   $   8.60          $   63.80   $      63.80
 5/27/2018 Alejandro Oquendo                 $11.00   53.40   $   8.60          $   73.70   $      73.70
  6/3/2018 Alejandro Oquendo                 $11.00   46.77   $   8.60          $   37.22   $      37.22
 6/10/2018 Alejandro Oquendo                 $11.00   52.65   $   8.60          $   69.58   $      69.58
 6/17/2018 Alejandro Oquendo                 $11.00   55.00   $   8.60          $   82.50   $      82.50
 6/24/2018 Alejandro Oquendo                 $11.00   43.62   $   8.60          $   19.89   $      19.89



                                                16
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 18 of 683 PageID: 865
                                              Exhibit 2
                                      New Jersey Computations


  Week                                                       State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
 Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
  Date                                                       Wage  Rate Due     Due       Wages Due

  7/1/2018 Alejandro Oquendo                 $11.00   53.52   $    8.60         $   74.34   $      74.34
  7/8/2018 Alejandro Oquendo                 $11.00   43.40   $    8.60         $   18.70   $      18.70
 7/15/2018 Alejandro Oquendo                 $11.00   51.67   $    8.60         $   64.17   $      64.17
 7/22/2018 Alejandro Oquendo                 $11.00   56.67   $    8.60         $   91.67   $      91.67
 7/29/2018 Alejandro Oquendo                 $11.00   56.42   $    8.60         $   90.29   $      90.29
  8/5/2018 Alejandro Oquendo                 $11.00   46.72   $    8.60         $   36.94   $      36.94
 8/12/2018 Alejandro Oquendo                 $11.00   52.37   $    8.60         $   68.02   $      68.02
 8/19/2018 Alejandro Oquendo                 $11.00   42.78   $    8.60         $   15.31   $      15.31
 8/26/2018 Alejandro Oquendo                 $11.00   44.43   $    8.60         $   24.38   $      24.38
 9/16/2018 Alejandro Oquendo                 $11.00   49.47   $    8.60         $   52.07   $      52.07
 9/30/2018 Alejandro Oquendo                 $11.00   50.97   $    8.60         $   60.32   $      60.32
 10/7/2018 Alejandro Oquendo                 $11.00   51.75   $    8.60         $   64.63   $      64.63
10/14/2018 Alejandro Oquendo                 $11.00   41.52   $    8.60         $    8.34   $       8.34
10/21/2018 Alejandro Oquendo                 $11.00   49.83   $    8.60         $   54.08   $      54.08
10/28/2018 Alejandro Oquendo                 $12.00   40.77   $    8.60         $    4.60   $       4.60
 11/4/2018 Alejandro Oquendo                 $12.00   52.08   $    8.60         $   72.50   $      72.50
11/18/2018 Alejandro Oquendo                 $12.00   41.63   $    8.60         $    9.80   $       9.80
 12/9/2018 Alejandro Oquendo                 $12.00   45.17   $    8.60         $   31.00   $      31.00
12/16/2018 Alejandro Oquendo                 $12.00   42.20   $    8.60         $   13.20   $      13.20
12/23/2018 Alejandro Oquendo                 $12.00   41.18   $    8.60         $    7.10   $       7.10
  1/6/2019 Alejandro Oquendo                 $12.00   41.10   $    8.85         $    6.60   $       6.60
 1/13/2019 Alejandro Oquendo                 $12.00   50.87   $    8.85         $   65.20   $      65.20
 1/27/2019 Alejandro Oquendo                 $12.00   40.08   $    8.85         $    0.50   $       0.50
  2/3/2019 Alejandro Oquendo                 $12.00   49.05   $    8.85         $   54.30   $      54.30
 2/17/2019 Alejandro Oquendo                 $12.00   49.43   $    8.85         $   56.60   $      56.60
 2/24/2019 Alejandro Oquendo                 $12.00   50.47   $    8.85         $   62.80   $      62.80
  3/3/2019 Alejandro Oquendo                 $12.00   48.80   $    8.85         $   52.80   $      52.80
 3/10/2019 Alejandro Oquendo                 $12.00   48.95   $    8.85         $   53.70   $      53.70
 3/17/2019 Alejandro Oquendo                 $12.00   48.72   $    8.85         $   52.30   $      52.30
 3/24/2019 Alejandro Oquendo                 $12.00   40.73   $    8.85         $    4.40   $       4.40
 3/31/2019 Alejandro Oquendo                 $12.00   41.48   $    8.85         $    8.90   $       8.90
  4/7/2019 Alejandro Oquendo                 $12.00   48.85   $    8.85         $   53.10   $      53.10
 4/14/2019 Alejandro Oquendo                 $12.00   48.25   $    8.85         $   49.50   $      49.50
 4/21/2019 Alejandro Oquendo                 $12.00   48.82   $    8.85         $   52.90   $      52.90
 4/28/2019 Alejandro Oquendo                 $12.00   51.18   $    8.85         $   67.10   $      67.10
  5/5/2019 Alejandro Oquendo                 $12.00   48.38   $    8.85         $   50.30   $      50.30
 5/12/2019 Alejandro Oquendo                 $12.00   49.67   $    8.85         $   58.00   $      58.00
 5/19/2019 Alejandro Oquendo                 $12.00   55.37   $    8.85         $   92.20   $      92.20
 5/26/2019 Alejandro Oquendo                 $12.00   52.18   $    8.85         $   73.10   $      73.10
  6/9/2019 Alejandro Oquendo                 $12.00   48.57   $    8.85         $   51.40   $      51.40
 6/23/2019 Alejandro Oquendo                 $12.00   48.78   $    8.85         $   52.70   $      52.70
 6/30/2019 Alejandro Oquendo                 $12.00   50.47   $   10.00         $   62.80   $      62.80
  7/7/2019 Alejandro Oquendo                 $12.00   43.05   $   10.00         $   18.30   $      18.30
 7/14/2019 Alejandro Oquendo                 $12.00   50.70   $   10.00         $   64.20   $      64.20
 7/21/2019 Alejandro Oquendo                 $12.00   50.98   $   10.00         $   65.90   $      65.90
 7/28/2019 Alejandro Oquendo                 $12.00   50.45   $   10.00         $   62.70   $      62.70
  8/4/2019 Alejandro Oquendo                 $12.00   51.62   $   10.00         $   69.70   $      69.70
 8/11/2019 Alejandro Oquendo                 $12.00   42.40   $   10.00         $   14.40   $      14.40
 8/18/2019 Alejandro Oquendo                 $12.00   51.68   $   10.00         $   70.10   $      70.10
  9/1/2019 Alejandro Oquendo                 $12.00   49.78   $   10.00         $   58.70   $      58.70



                                                17
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 19 of 683 PageID: 866
                                              Exhibit 2
                                      New Jersey Computations


  Week                                                       State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
 Ending                       Name                         Minumum Regular    Half-Time Overtime Back
                                              Rate Week
  Date                                                       Wage  Rate Due     Due       Wages Due

  9/8/2019 Alejandro Oquendo                 $12.00   43.10   $   10.00         $    18.60   $     18.60
 9/15/2019 Alejandro Oquendo                 $12.00   42.77   $   10.00         $    16.60   $     16.60
 9/22/2019 Alejandro Oquendo                 $12.00   41.58   $   10.00         $     9.50   $      9.50
 9/29/2019 Alejandro Oquendo                 $12.00   51.25   $   10.00         $    67.50   $     67.50
 10/6/2019 Alejandro Oquendo                 $12.00   51.52   $   10.00         $    69.10   $     69.10
10/13/2019 Alejandro Oquendo                 $12.00   52.60   $   10.00         $    75.60   $     75.60
10/20/2019 Alejandro Oquendo                 $12.00   42.50   $   10.00         $    15.00   $     15.00
10/27/2019 Alejandro Oquendo                 $12.00   52.10   $   10.00         $    72.60   $     72.60
 11/3/2019 Alejandro Oquendo                 $12.00   52.95   $   10.00         $    77.70   $     77.70
11/10/2019 Alejandro Oquendo                 $12.00   53.62   $   10.00         $    81.70   $     81.70
11/17/2019 Alejandro Oquendo                 $12.00   51.98   $   10.00         $    71.90   $     71.90
11/24/2019 Alejandro Oquendo                 $12.00   52.40   $   10.00         $    74.40   $     74.40
 12/1/2019 Alejandro Oquendo                 $12.00   41.35   $   10.00         $     8.10   $      8.10
 12/8/2019 Alejandro Oquendo                 $12.00   52.02   $   10.00         $    72.10   $     72.10
12/15/2019 Alejandro Oquendo                 $12.00   55.55   $   10.00         $    93.30   $     93.30
12/22/2019 Alejandro Oquendo                 $12.00   52.02   $   10.00         $    72.10   $     72.10
  1/5/2020 Alejandro Oquendo                 $12.00   41.92   $   11.00         $    11.50   $     11.50
 1/12/2020 Alejandro Oquendo                 $12.00   43.63   $   11.00         $    21.80   $     21.80
 1/26/2020 Alejandro Oquendo                 $12.00   42.32   $   11.00         $    13.90   $     13.90
  4/8/2018 Alejandro Sanchez Torres           $9.50   57.68   $    8.60         $    84.00   $     84.00
  7/7/2019 Alex Mejia                        $10.00   56.12   $   10.00         $    80.58   $     80.58
 7/14/2019 Alex Mejia                        $10.00   59.92   $   10.00         $    99.58   $     99.58
 1/20/2019 Alexander Aldana                   $9.00   58.60   $    8.85         $    83.70   $     83.70
 1/27/2019 Alexander Aldana                   $9.00   50.00   $    8.85         $    45.00   $     45.00
  2/3/2019 Alexander Aldana                   $9.00   69.68   $    8.85         $   133.58   $    133.58
 2/10/2019 Alexander Aldana                   $9.00   55.83   $    8.85         $    71.25   $     71.25
 2/17/2019 Alexander Aldana                   $9.00   53.92   $    8.85         $    62.63   $     62.63
 2/24/2019 Alexander Aldana                   $9.00   70.00   $    8.85         $   135.00   $    135.00
  3/3/2019 Alexander Aldana                   $9.00   70.63   $    8.85         $   137.85   $    137.85
 3/10/2019 Alexander Aldana                   $9.00   69.82   $    8.85         $   134.18   $    134.18
 3/17/2019 Alexander Aldana                   $9.00   69.18   $    8.85         $   131.33   $    131.33
 3/24/2019 Alexander Aldana                   $9.00   73.38   $    8.85         $   150.23   $    150.23
 3/31/2019 Alexander Aldana                   $9.00   76.05   $    8.85         $   162.23   $    162.23
  4/7/2019 Alexander Aldana                   $9.00   68.38   $    8.85         $   127.73   $    127.73
 4/14/2019 Alexander Aldana                   $9.00   66.32   $    8.85         $   118.43   $    118.43
 4/21/2019 Alexander Aldana                   $9.00   77.35   $    8.85         $   168.08   $    168.08
 4/28/2019 Alexander Aldana                   $9.00   81.13   $    8.85         $   185.10   $    185.10
  5/5/2019 Alexander Aldana                   $9.00   61.90   $    8.85         $    98.55   $     98.55
 8/11/2019 Alexander Azt                     $10.00   47.37   $   10.00         $    36.83   $     36.83
 8/18/2019 Alexander Azt                     $10.00   57.43   $   10.00         $    87.17   $     87.17
 8/25/2019 Alexander Azt                     $10.00   55.52   $   10.00         $    77.58   $     77.58
  9/1/2019 Alexander Azt                     $10.00   57.90   $   10.00         $    89.50   $     89.50
  9/8/2019 Alexander Azt                     $10.00   59.00   $   10.00         $    95.00   $     95.00
 9/15/2019 Alexander Azt                     $10.00   59.43   $   10.00         $    97.17   $     97.17
 12/8/2019 Alexander Leal Rodriguez          $10.50   43.28   $   10.00         $    17.24   $     17.24
12/15/2019 Alexander Leal Rodriguez          $10.50   43.12   $   10.00         $    16.36   $     16.36
12/22/2019 Alexander Leal Rodriguez          $10.50   42.93   $   10.00         $    15.40   $     15.40
12/29/2019 Alexander Leal Rodriguez          $10.50   40.70   $   10.00         $     3.68   $      3.68
12/24/2017 Alexander Ojeda                   $10.00   69.22   $    8.44         $   146.08   $    146.08
12/31/2017 Alexander Ojeda                   $10.00   60.55   $    8.44         $   102.75   $    102.75



                                                18
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 20 of 683 PageID: 867
                                            Exhibit 2
                                    New Jersey Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
  Date                                                     Wage  Rate Due     Due       Wages Due

  1/7/2018 Alexander Ojeda                 $10.00   55.55   $   8.60          $    77.75   $     77.75
 1/14/2018 Alexander Ojeda                 $10.00   68.27   $   8.60          $   141.33   $    141.33
 1/21/2018 Alexander Ojeda                 $10.00   64.42   $   8.60          $   122.08   $    122.08
 1/28/2018 Alexander Ojeda                 $10.00   56.33   $   8.60          $    81.67   $     81.67
  2/4/2018 Alexander Ojeda                 $10.00   64.90   $   8.60          $   124.50   $    124.50
 2/11/2018 Alexander Ojeda                 $10.00   59.52   $   8.60          $    97.58   $     97.58
 2/18/2018 Alexander Ojeda                 $10.00   48.10   $   8.60          $    40.50   $     40.50
 2/25/2018 Alexander Ojeda                 $10.00   50.43   $   8.60          $    52.17   $     52.17
  3/4/2018 Alexander Ojeda                 $10.00   53.13   $   8.60          $    65.67   $     65.67
 3/25/2018 Alexander Ojeda                 $10.00   52.72   $   8.60          $    63.58   $     63.58
  4/1/2018 Alexander Ojeda                 $10.00   44.02   $   8.60          $    20.08   $     20.08
  4/8/2018 Alexander Ojeda                 $10.00   56.58   $   8.60          $    82.92   $     82.92
 4/15/2018 Alexander Ojeda                 $10.00   47.92   $   8.60          $    39.58   $     39.58
 4/22/2018 Alexander Ojeda                 $10.00   57.68   $   8.60          $    88.42   $     88.42
 4/29/2018 Alexander Ojeda                 $10.00   57.85   $   8.60          $    89.25   $     89.25
  5/6/2018 Alexander Ojeda                 $10.00   57.55   $   8.60          $    87.75   $     87.75
 5/13/2018 Alexander Ojeda                 $10.00   49.23   $   8.60          $    46.17   $     46.17
 5/20/2018 Alexander Ojeda                 $10.00   49.97   $   8.60          $    49.83   $     49.83
 5/27/2018 Alexander Ojeda                 $10.00   57.18   $   8.60          $    85.92   $     85.92
  6/3/2018 Alexander Ojeda                 $10.00   46.52   $   8.60          $    32.58   $     32.58
 6/10/2018 Alexander Ojeda                 $10.00   56.68   $   8.60          $    83.42   $     83.42
 6/17/2018 Alexander Ojeda                 $10.00   47.77   $   8.60          $    38.83   $     38.83
 6/24/2018 Alexander Ojeda                 $10.00   57.33   $   8.60          $    86.67   $     86.67
  7/1/2018 Alexander Ojeda                 $10.00   54.63   $   8.60          $    73.17   $     73.17
 7/15/2018 Alexander Ojeda                 $10.00   57.62   $   8.60          $    88.08   $     88.08
  8/5/2018 Alexander Ojeda                 $10.00   46.12   $   8.60          $    30.58   $     30.58
 8/12/2018 Alexander Ojeda                 $10.00   49.62   $   8.60          $    48.08   $     48.08
 8/26/2018 Alexander Ojeda                 $10.00   47.93   $   8.60          $    39.67   $     39.67
  9/2/2018 Alexander Ojeda                 $10.00   53.00   $   8.60          $    65.00   $     65.00
  9/9/2018 Alexander Ojeda                 $10.00   48.03   $   8.60          $    40.17   $     40.17
 9/16/2018 Alexander Ojeda                 $10.00   47.22   $   8.60          $    36.08   $     36.08
 9/23/2018 Alexander Ojeda                 $10.00   47.87   $   8.60          $    39.33   $     39.33
 9/30/2018 Alexander Ojeda                 $10.00   54.87   $   8.60          $    74.33   $     74.33
 10/7/2018 Alexander Ojeda                 $10.00   44.32   $   8.60          $    21.58   $     21.58
10/14/2018 Alexander Ojeda                 $10.00   56.25   $   8.60          $    81.25   $     81.25
10/21/2018 Alexander Ojeda                 $10.00   44.73   $   8.60          $    23.67   $     23.67
10/28/2018 Alexander Ojeda                 $10.00   46.17   $   8.60          $    30.83   $     30.83
11/11/2018 Alexander Ojeda                 $10.00   44.80   $   8.60          $    24.00   $     24.00
 12/2/2018 Alexander Ojeda                 $10.00   81.62   $   8.60          $   208.08   $    208.08
 12/9/2018 Alexander Ojeda                 $10.00   72.80   $   8.60          $   164.00   $    164.00
12/16/2018 Alexander Ojeda                 $10.00   74.63   $   8.60          $   173.17   $    173.17
12/23/2018 Alexander Ojeda                 $10.00   72.80   $   8.60          $   164.00   $    164.00
12/30/2018 Alexander Ojeda                 $10.00   60.12   $   8.60          $   100.58   $    100.58
  1/6/2019 Alexander Ojeda                 $10.00   69.80   $   8.85          $   149.00   $    149.00
 1/13/2019 Alexander Ojeda                 $10.00   76.08   $   8.85          $   180.42   $    180.42
 1/20/2019 Alexander Ojeda                 $10.00   47.78   $   8.85          $    38.92   $     38.92
 1/27/2019 Alexander Ojeda                 $10.00   69.57   $   8.85          $   147.83   $    147.83
  2/3/2019 Alexander Ojeda                 $10.00   81.13   $   8.85          $   205.67   $    205.67
 2/10/2019 Alexander Ojeda                 $10.00   73.70   $   8.85          $   168.50   $    168.50
 2/17/2019 Alexander Ojeda                 $10.00   71.95   $   8.85          $   159.75   $    159.75



                                              19
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 21 of 683 PageID: 868
                                            Exhibit 2
                                    New Jersey Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
  Date                                                     Wage  Rate Due     Due       Wages Due

 2/24/2019 Alexander Ojeda                 $10.00   61.62   $    8.85         $   108.08   $    108.08
  3/3/2019 Alexander Ojeda                 $10.00   75.07   $    8.85         $   175.33   $    175.33
 3/10/2019 Alexander Ojeda                 $10.00   50.28   $    8.85         $    51.42   $     51.42
 3/17/2019 Alexander Ojeda                 $10.00   76.62   $    8.85         $   183.08   $    183.08
 3/24/2019 Alexander Ojeda                 $10.00   70.45   $    8.85         $   152.25   $    152.25
 3/31/2019 Alexander Ojeda                 $10.00   43.73   $    8.85         $    18.67   $     18.67
  4/7/2019 Alexander Ojeda                 $10.00   76.02   $    8.85         $   180.08   $    180.08
 4/14/2019 Alexander Ojeda                 $10.00   76.92   $    8.85         $   184.58   $    184.58
 4/21/2019 Alexander Ojeda                 $10.00   79.42   $    8.85         $   197.08   $    197.08
 4/28/2019 Alexander Ojeda                 $10.00   77.93   $    8.85         $   189.67   $    189.67
  5/5/2019 Alexander Ojeda                 $10.00   59.22   $    8.85         $    96.08   $     96.08
 5/12/2019 Alexander Ojeda                 $10.00   67.75   $    8.85         $   138.75   $    138.75
 5/19/2019 Alexander Ojeda                 $10.00   56.93   $    8.85         $    84.67   $     84.67
 5/26/2019 Alexander Ojeda                 $10.00   44.65   $    8.85         $    23.25   $     23.25
  6/2/2019 Alexander Ojeda                 $10.00   70.97   $    8.85         $   154.83   $    154.83
  6/9/2019 Alexander Ojeda                 $10.00   58.97   $    8.85         $    94.83   $     94.83
 6/16/2019 Alexander Ojeda                 $10.00   65.45   $    8.85         $   127.25   $    127.25
 6/23/2019 Alexander Ojeda                 $10.00   62.20   $    8.85         $   111.00   $    111.00
 6/30/2019 Alexander Ojeda                 $10.00   53.53   $   10.00         $    67.67   $     67.67
  7/7/2019 Alexander Ojeda                 $10.00   75.85   $   10.00         $   179.25   $    179.25
 7/14/2019 Alexander Ojeda                 $10.00   56.95   $   10.00         $    84.75   $     84.75
 7/21/2019 Alexander Ojeda                 $10.00   62.97   $   10.00         $   114.83   $    114.83
 7/28/2019 Alexander Ojeda                 $10.00   55.42   $   10.00         $    77.08   $     77.08
  8/4/2019 Alexander Ojeda                 $10.00   50.25   $   10.00         $    51.25   $     51.25
 8/11/2019 Alexander Ojeda                 $10.00   69.82   $   10.00         $   149.08   $    149.08
 8/25/2019 Alexander Ojeda                 $10.00   75.47   $   10.00         $   177.33   $    177.33
  9/1/2019 Alexander Ojeda                 $10.00   58.15   $   10.00         $    90.75   $     90.75
 9/15/2019 Alexander Ojeda                 $10.00   67.72   $   10.00         $   138.58   $    138.58
 9/29/2019 Alexander Ojeda                 $10.00   53.67   $   10.00         $    68.33   $     68.33
 10/6/2019 Alexander Ojeda                 $10.00   71.95   $   10.00         $   159.75   $    159.75
10/13/2019 Alexander Ojeda                 $10.00   57.67   $   10.00         $    88.33   $     88.33
10/20/2019 Alexander Ojeda                 $10.00   58.65   $   10.00         $    93.25   $     93.25
10/27/2019 Alexander Ojeda                 $10.00   67.10   $   10.00         $   135.50   $    135.50
 11/3/2019 Alexander Ojeda                 $10.00   53.88   $   10.00         $    69.42   $     69.42
 2/11/2018 Alexander Smith                 $11.50   60.25   $    8.60         $   116.44   $    116.44
 2/18/2018 Alexander Smith                 $11.50   59.80   $    8.60         $   113.85   $    113.85
 2/25/2018 Alexander Smith                 $11.50   57.50   $    8.60         $   100.63   $    100.63
  3/4/2018 Alexander Smith                 $11.50   59.30   $    8.60         $   110.98   $    110.98
 3/25/2018 Alexander Smith                 $11.50   57.08   $    8.60         $    98.23   $     98.23
  4/1/2018 Alexander Smith                 $11.50   60.27   $    8.60         $   116.53   $    116.53
  4/8/2018 Alexander Smith                 $11.50   60.17   $    8.60         $   115.96   $    115.96
 4/15/2018 Alexander Smith                 $11.50   59.83   $    8.60         $   114.04   $    114.04
 4/22/2018 Alexander Smith                 $11.50   52.23   $    8.60         $    70.34   $     70.34
 4/29/2018 Alexander Smith                 $11.50   59.50   $    8.60         $   112.13   $    112.13
  5/6/2018 Alexander Smith                 $11.50   60.22   $    8.60         $   116.25   $    116.25
 5/13/2018 Alexander Smith                 $11.50   48.25   $    8.60         $    47.44   $     47.44
 5/20/2018 Alexander Smith                 $11.50   58.00   $    8.60         $   103.50   $    103.50
 5/27/2018 Alexander Smith                 $11.50   57.83   $    8.60         $   102.54   $    102.54
  6/3/2018 Alexander Smith                 $11.50   56.35   $    8.60         $    94.01   $     94.01
 6/10/2018 Alexander Smith                 $11.50   57.57   $    8.60         $   101.01   $    101.01



                                              20
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 22 of 683 PageID: 869
                                            Exhibit 2
                                    New Jersey Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
  Date                                                     Wage  Rate Due     Due       Wages Due

 6/24/2018 Alexander Smith                 $11.50   57.80   $    8.60         $   102.35   $    102.35
  7/1/2018 Alexander Smith                 $11.50   59.87   $    8.60         $   114.23   $    114.23
  7/8/2018 Alexander Smith                 $11.50   54.98   $    8.60         $    86.15   $     86.15
 7/15/2018 Alexander Smith                 $11.50   48.68   $    8.60         $    49.93   $     49.93
 7/22/2018 Alexander Smith                 $11.50   57.92   $    8.60         $   103.02   $    103.02
 7/29/2018 Alexander Smith                 $11.50   59.20   $    8.60         $   110.40   $    110.40
  8/5/2018 Alexander Smith                 $11.50   58.10   $    8.60         $   104.08   $    104.08
 8/12/2018 Alexander Smith                 $11.50   44.73   $    8.60         $    27.22   $     27.22
 8/19/2018 Alexander Smith                 $11.50   40.80   $    8.60         $     4.60   $      4.60
 9/23/2018 Alexander Smith                 $11.50   50.22   $    8.60         $    58.75   $     58.75
 9/30/2018 Alexander Smith                 $11.50   40.85   $    8.60         $     4.89   $      4.89
 10/7/2018 Alexander Smith                 $11.50   49.23   $    8.60         $    53.09   $     53.09
10/14/2018 Alexander Smith                 $11.50   41.00   $    8.60         $     5.75   $      5.75
 12/9/2018 Alexander Smith                 $11.50   56.78   $    8.60         $    96.50   $     96.50
12/16/2018 Alexander Smith                 $11.50   57.42   $    8.60         $   100.15   $    100.15
12/23/2018 Alexander Smith                 $11.50   40.20   $    8.60         $     1.15   $      1.15
12/30/2018 Alexander Smith                 $11.50   46.27   $    8.60         $    36.03   $     36.03
  1/6/2019 Alexander Smith                 $11.50   56.83   $    8.85         $    96.79   $     96.79
 1/13/2019 Alexander Smith                 $11.50   62.23   $    8.85         $   127.84   $    127.84
 1/20/2019 Alexander Smith                 $11.50   62.18   $    8.85         $   127.55   $    127.55
 1/27/2019 Alexander Smith                 $11.50   51.03   $    8.85         $    63.44   $     63.44
 2/10/2019 Alexander Smith                 $11.50   60.00   $    8.85         $   115.00   $    115.00
 2/17/2019 Alexander Smith                 $11.50   60.25   $    8.85         $   116.44   $    116.44
 2/24/2019 Alexander Smith                 $11.50   59.10   $    8.85         $   109.83   $    109.83
  3/3/2019 Alexander Smith                 $11.50   58.35   $    8.85         $   105.51   $    105.51
 3/10/2019 Alexander Smith                 $11.50   61.40   $    8.85         $   123.05   $    123.05
 3/17/2019 Alexander Smith                 $11.50   60.23   $    8.85         $   116.34   $    116.34
 3/31/2019 Alexander Smith                 $11.50   50.37   $    8.85         $    59.61   $     59.61
  4/7/2019 Alexander Smith                 $11.50   50.22   $    8.85         $    58.75   $     58.75
 4/14/2019 Alexander Smith                 $11.50   62.85   $    8.85         $   131.39   $    131.39
 4/21/2019 Alexander Smith                 $11.50   61.07   $    8.85         $   121.13   $    121.13
 4/28/2019 Alexander Smith                 $11.50   50.78   $    8.85         $    62.00   $     62.00
  5/5/2019 Alexander Smith                 $11.50   45.28   $    8.85         $    30.38   $     30.38
 5/12/2019 Alexander Smith                 $11.50   50.68   $    8.85         $    61.43   $     61.43
 5/19/2019 Alexander Smith                 $11.50   60.68   $    8.85         $   118.93   $    118.93
 5/26/2019 Alexander Smith                 $11.50   60.70   $    8.85         $   119.03   $    119.03
  6/2/2019 Alexander Smith                 $11.50   62.88   $    8.85         $   131.58   $    131.58
  6/9/2019 Alexander Smith                 $11.50   75.53   $    8.85         $   204.32   $    204.32
 6/16/2019 Alexander Smith                 $11.50   74.53   $    8.85         $   198.57   $    198.57
 6/23/2019 Alexander Smith                 $11.50   58.33   $    8.85         $   105.42   $    105.42
 6/30/2019 Alexander Smith                 $11.50   72.05   $   10.00         $   184.29   $    184.29
  7/7/2019 Alexander Smith                 $12.00   61.58   $   10.00         $   129.50   $    129.50
 7/14/2019 Alexander Smith                 $12.00   75.15   $   10.00         $   210.90   $    210.90
 7/21/2019 Alexander Smith                 $12.00   74.78   $   10.00         $   208.70   $    208.70
 7/28/2019 Alexander Smith                 $12.00   74.83   $   10.00         $   209.00   $    209.00
  8/4/2019 Alexander Smith                 $12.00   74.92   $   10.00         $   209.50   $    209.50
 8/11/2019 Alexander Smith                 $12.00   65.25   $   10.00         $   151.50   $    151.50
 8/18/2019 Alexander Smith                 $12.00   69.17   $   10.00         $   175.00   $    175.00
 8/25/2019 Alexander Smith                 $12.00   64.68   $   10.00         $   148.10   $    148.10
  9/1/2019 Alexander Smith                 $12.00   53.85   $   10.00         $    83.10   $     83.10



                                              21
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 23 of 683 PageID: 870
                                             Exhibit 2
                                     New Jersey Computations


  Week                                                      State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
 Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
  Date                                                      Wage  Rate Due     Due       Wages Due

 9/15/2019 Alexander Smith                  $12.00   74.73   $   10.00         $   208.40   $    208.40
 9/22/2019 Alexander Smith                  $12.00   75.27   $   10.00         $   211.60   $    211.60
 9/29/2019 Alexander Smith                  $12.00   74.90   $   10.00         $   209.40   $    209.40
 10/6/2019 Alexander Smith                  $12.00   68.52   $   10.00         $   171.10   $    171.10
10/13/2019 Alexander Smith                  $12.00   74.90   $   10.00         $   209.40   $    209.40
10/20/2019 Alexander Smith                  $12.00   63.22   $   10.00         $   139.30   $    139.30
10/27/2019 Alexander Smith                  $12.00   52.63   $   10.00         $    75.80   $     75.80
 11/3/2019 Alexander Smith                  $12.00   63.70   $   10.00         $   142.20   $    142.20
11/10/2019 Alexander Smith                  $12.00   63.37   $   10.00         $   140.20   $    140.20
11/17/2019 Alexander Smith                  $12.00   63.65   $   10.00         $   141.90   $    141.90
11/24/2019 Alexander Smith                  $12.00   63.63   $   10.00         $   141.80   $    141.80
 12/1/2019 Alexander Smith                  $12.00   51.57   $   10.00         $    69.40   $     69.40
 12/8/2019 Alexander Smith                  $12.00   63.45   $   10.00         $   140.70   $    140.70
12/15/2019 Alexander Smith                  $12.00   74.18   $   10.00         $   205.10   $    205.10
12/22/2019 Alexander Smith                  $12.00   63.20   $   10.00         $   139.20   $    139.20
12/29/2019 Alexander Smith                  $12.00   46.08   $   10.00         $    36.50   $     36.50
  1/5/2020 Alexander Smith                  $12.00   66.68   $   11.00         $   160.10   $    160.10
 1/12/2020 Alexander Smith                  $12.00   74.38   $   11.00         $   206.30   $    206.30
 1/19/2020 Alexander Smith                  $12.00   61.40   $   11.00         $   128.40   $    128.40
 1/26/2020 Alexander Smith                  $12.00   74.22   $   11.00         $   205.30   $    205.30
  5/7/2017 Alexandra Ortega                 $11.00   52.13   $    8.44         $    66.73   $     66.73
 5/14/2017 Alexandra Ortega                 $11.00   44.10   $    8.44         $    22.55   $     22.55
 5/21/2017 Alexandra Ortega                 $11.00   53.72   $    8.44         $    75.44   $     75.44
 5/28/2017 Alexandra Ortega                 $11.00   46.85   $    8.44         $    37.68   $     37.68
  6/4/2017 Alexandra Ortega                 $11.00   43.72   $    8.44         $    20.44   $     20.44
 6/11/2017 Alexandra Ortega                 $11.00   45.83   $    8.44         $    32.08   $     32.08
 6/18/2017 Alexandra Ortega                 $11.00   49.17   $    8.44         $    50.42   $     50.42
 6/25/2017 Alexandra Ortega                 $11.00   48.55   $    8.44         $    47.03   $     47.03
  7/2/2017 Alexandra Ortega                 $11.00   47.32   $    8.44         $    40.24   $     40.24
  7/9/2017 Alexandra Ortega                 $11.00   46.45   $    8.44         $    35.48   $     35.48
 7/16/2017 Alexandra Ortega                 $11.00   53.92   $    8.44         $    76.54   $     76.54
 7/23/2017 Alexandra Ortega                 $11.00   47.37   $    8.44         $    40.52   $     40.52
 7/30/2017 Alexandra Ortega                 $11.00   54.50   $    8.44         $    79.75   $     79.75
  8/6/2017 Alexandra Ortega                 $11.00   47.15   $    8.44         $    39.33   $     39.33
 8/20/2017 Alexandra Ortega                 $11.00   56.60   $    8.44         $    91.30   $     91.30
 8/27/2017 Alexandra Ortega                 $11.00   52.98   $    8.44         $    71.41   $     71.41
 9/17/2017 Alexandra Ortega                 $11.00   53.13   $    8.44         $    72.23   $     72.23
 9/24/2017 Alexandra Ortega                 $11.00   56.70   $    8.44         $    91.85   $     91.85
 10/1/2017 Alexandra Ortega                 $11.00   51.60   $    8.44         $    63.80   $     63.80
 10/8/2017 Alexandra Ortega                 $11.00   43.78   $    8.44         $    20.81   $     20.81
10/15/2017 Alexandra Ortega                 $11.00   46.68   $    8.44         $    36.76   $     36.76
10/22/2017 Alexandra Ortega                 $11.00   51.53   $    8.44         $    63.43   $     63.43
 11/5/2017 Alexandra Ortega                 $11.00   49.52   $    8.44         $    52.34   $     52.34
11/12/2017 Alexandra Ortega                 $11.00   47.37   $    8.44         $    40.52   $     40.52
11/19/2017 Alexandra Ortega                 $11.00   48.32   $    8.44         $    45.74   $     45.74
11/26/2017 Alexandra Ortega                 $11.00   49.90   $    8.44         $    54.45   $     54.45
 12/3/2017 Alexandra Ortega                 $11.00   50.08   $    8.44         $    55.46   $     55.46
12/10/2017 Alexandra Ortega                 $11.00   57.73   $    8.44         $    97.53   $     97.53
12/31/2017 Alexandra Ortega                 $11.00   48.97   $    8.44         $    49.32   $     49.32
  1/7/2018 Alexandra Ortega                 $11.00   44.25   $    8.60         $    23.38   $     23.38



                                               22
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 24 of 683 PageID: 871
                                             Exhibit 2
                                     New Jersey Computations


  Week                                                      State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
 Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
  Date                                                      Wage  Rate Due     Due       Wages Due

 1/14/2018 Alexandra Ortega                 $11.00   57.15   $   8.60          $    94.33   $     94.33
 1/21/2018 Alexandra Ortega                 $11.00   57.60   $   8.60          $    96.80   $     96.80
 1/28/2018 Alexandra Ortega                 $11.00   49.53   $   8.60          $    52.43   $     52.43
  2/4/2018 Alexandra Ortega                 $11.00   51.98   $   8.60          $    65.91   $     65.91
 2/11/2018 Alexandra Ortega                 $11.00   55.52   $   8.60          $    85.34   $     85.34
 2/18/2018 Alexandra Ortega                 $11.00   48.23   $   8.60          $    45.28   $     45.28
 2/25/2018 Alexandra Ortega                 $11.00   57.80   $   8.60          $    97.90   $     97.90
  3/4/2018 Alexandra Ortega                 $11.00   60.02   $   8.60          $   110.09   $    110.09
 3/25/2018 Alexandra Ortega                 $11.00   57.95   $   8.60          $    98.73   $     98.73
  4/1/2018 Alexandra Ortega                 $11.00   50.17   $   8.60          $    55.92   $     55.92
  4/8/2018 Alexandra Ortega                 $11.00   57.25   $   8.60          $    94.88   $     94.88
 4/15/2018 Alexandra Ortega                 $11.00   55.28   $   8.60          $    84.06   $     84.06
 4/22/2018 Alexandra Ortega                 $11.00   58.43   $   8.60          $   101.38   $    101.38
 4/29/2018 Alexandra Ortega                 $11.00   59.05   $   8.60          $   104.78   $    104.78
  5/6/2018 Alexandra Ortega                 $11.00   59.52   $   8.60          $   107.34   $    107.34
 5/13/2018 Alexandra Ortega                 $11.00   54.25   $   8.60          $    78.38   $     78.38
 5/20/2018 Alexandra Ortega                 $11.00   60.48   $   8.60          $   112.66   $    112.66
 5/27/2018 Alexandra Ortega                 $11.00   58.65   $   8.60          $   102.58   $    102.58
  6/3/2018 Alexandra Ortega                 $11.00   48.87   $   8.60          $    48.77   $     48.77
 6/10/2018 Alexandra Ortega                 $11.00   49.02   $   8.60          $    49.59   $     49.59
 6/17/2018 Alexandra Ortega                 $11.00   40.13   $   8.60          $     0.73   $      0.73
 6/24/2018 Alexandra Ortega                 $11.00   60.33   $   8.60          $   111.83   $    111.83
  7/1/2018 Alexandra Ortega                 $11.00   60.45   $   8.60          $   112.48   $    112.48
  7/8/2018 Alexandra Ortega                 $11.00   43.77   $   8.60          $    20.72   $     20.72
 7/15/2018 Alexandra Ortega                 $11.00   59.65   $   8.60          $   108.08   $    108.08
 7/22/2018 Alexandra Ortega                 $11.00   58.97   $   8.60          $   104.32   $    104.32
 7/29/2018 Alexandra Ortega                 $11.00   50.07   $   8.60          $    55.37   $     55.37
  8/5/2018 Alexandra Ortega                 $11.00   50.28   $   8.60          $    56.56   $     56.56
 8/12/2018 Alexandra Ortega                 $11.00   58.95   $   8.60          $   104.23   $    104.23
 8/19/2018 Alexandra Ortega                 $11.00   49.35   $   8.60          $    51.43   $     51.43
 8/26/2018 Alexandra Ortega                 $11.00   57.48   $   8.60          $    96.16   $     96.16
  9/2/2018 Alexandra Ortega                 $11.00   63.55   $   8.60          $   129.53   $    129.53
  9/9/2018 Alexandra Ortega                 $11.00   51.28   $   8.60          $    62.06   $     62.06
 9/16/2018 Alexandra Ortega                 $11.00   58.62   $   8.60          $   102.39   $    102.39
 9/23/2018 Alexandra Ortega                 $11.00   60.17   $   8.60          $   110.92   $    110.92
 9/30/2018 Alexandra Ortega                 $11.00   61.35   $   8.60          $   117.43   $    117.43
 10/7/2018 Alexandra Ortega                 $11.00   51.65   $   8.60          $    64.08   $     64.08
10/14/2018 Alexandra Ortega                 $11.00   59.75   $   8.60          $   108.63   $    108.63
10/21/2018 Alexandra Ortega                 $11.00   51.77   $   8.60          $    64.72   $     64.72
10/28/2018 Alexandra Ortega                 $11.00   58.08   $   8.60          $    99.46   $     99.46
 11/4/2018 Alexandra Ortega                 $11.00   61.87   $   8.60          $   120.27   $    120.27
11/11/2018 Alexandra Ortega                 $11.00   53.30   $   8.60          $    73.15   $     73.15
11/18/2018 Alexandra Ortega                 $11.00   56.90   $   8.60          $    92.95   $     92.95
 12/2/2018 Alexandra Ortega                 $11.00   58.62   $   8.60          $   102.39   $    102.39
 12/9/2018 Alexandra Ortega                 $11.00   60.82   $   8.60          $   114.49   $    114.49
12/16/2018 Alexandra Ortega                 $11.00   56.18   $   8.60          $    89.01   $     89.01
12/23/2018 Alexandra Ortega                 $11.00   53.75   $   8.60          $    75.63   $     75.63
  1/6/2019 Alexandra Ortega                 $11.00   50.30   $   8.85          $    56.65   $     56.65
 1/13/2019 Alexandra Ortega                 $11.00   50.37   $   8.85          $    57.02   $     57.02
 1/20/2019 Alexandra Ortega                 $11.00   59.52   $   8.85          $   107.34   $    107.34



                                               23
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 25 of 683 PageID: 872
                                             Exhibit 2
                                     New Jersey Computations


  Week                                                      State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
 Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
  Date                                                      Wage  Rate Due     Due       Wages Due

 1/27/2019 Alexandra Ortega                 $11.00   58.22   $    8.85         $   100.19   $    100.19
  2/3/2019 Alexandra Ortega                 $11.00   51.48   $    8.85         $    63.16   $     63.16
 2/10/2019 Alexandra Ortega                 $11.00   59.55   $    8.85         $   107.53   $    107.53
 2/17/2019 Alexandra Ortega                 $11.00   56.22   $    8.85         $    89.19   $     89.19
 2/24/2019 Alexandra Ortega                 $11.00   58.50   $    8.85         $   101.75   $    101.75
  3/3/2019 Alexandra Ortega                 $11.00   51.75   $    8.85         $    64.63   $     64.63
 3/10/2019 Alexandra Ortega                 $11.00   57.52   $    8.85         $    96.34   $     96.34
 3/17/2019 Alexandra Ortega                 $11.00   60.00   $    8.85         $   110.00   $    110.00
 3/24/2019 Alexandra Ortega                 $11.00   59.55   $    8.85         $   107.53   $    107.53
 3/31/2019 Alexandra Ortega                 $11.00   50.15   $    8.85         $    55.83   $     55.83
  4/7/2019 Alexandra Ortega                 $11.00   62.95   $    8.85         $   126.23   $    126.23
 4/14/2019 Alexandra Ortega                 $11.00   55.52   $    8.85         $    85.34   $     85.34
 4/21/2019 Alexandra Ortega                 $11.00   63.08   $    8.85         $   126.96   $    126.96
 4/28/2019 Alexandra Ortega                 $11.00   50.83   $    8.85         $    59.58   $     59.58
  5/5/2019 Alexandra Ortega                 $11.00   44.58   $    8.85         $    25.21   $     25.21
 5/12/2019 Alexandra Ortega                 $11.00   66.78   $    8.85         $   147.31   $    147.31
 5/19/2019 Alexandra Ortega                 $11.00   63.65   $    8.85         $   130.08   $    130.08
 5/26/2019 Alexandra Ortega                 $11.00   65.78   $    8.85         $   141.81   $    141.81
  6/2/2019 Alexandra Ortega                 $11.00   54.23   $    8.85         $    78.28   $     78.28
  6/9/2019 Alexandra Ortega                 $11.00   63.68   $    8.85         $   130.26   $    130.26
 6/16/2019 Alexandra Ortega                 $11.00   66.75   $    8.85         $   147.13   $    147.13
 6/23/2019 Alexandra Ortega                 $11.00   65.72   $    8.85         $   141.44   $    141.44
 6/30/2019 Alexandra Ortega                 $11.00   63.32   $   10.00         $   128.24   $    128.24
  7/7/2019 Alexandra Ortega                 $11.00   42.25   $   10.00         $    12.38   $     12.38
 7/14/2019 Alexandra Ortega                 $11.00   66.12   $   10.00         $   143.64   $    143.64
 7/21/2019 Alexandra Ortega                 $11.00   64.55   $   10.00         $   135.03   $    135.03
 7/28/2019 Alexandra Ortega                 $11.00   54.70   $   10.00         $    80.85   $     80.85
 8/18/2019 Alexandra Ortega                 $11.00   54.53   $   10.00         $    79.93   $     79.93
 8/25/2019 Alexandra Ortega                 $11.00   54.62   $   10.00         $    80.39   $     80.39
  9/1/2019 Alexandra Ortega                 $11.00   54.20   $   10.00         $    78.10   $     78.10
  9/8/2019 Alexandra Ortega                 $11.00   53.50   $   10.00         $    74.25   $     74.25
 9/15/2019 Alexandra Ortega                 $11.00   56.55   $   10.00         $    91.03   $     91.03
 9/22/2019 Alexandra Ortega                 $11.00   43.03   $   10.00         $    16.68   $     16.68
 9/29/2019 Alexandra Ortega                 $11.00   53.97   $   10.00         $    76.82   $     76.82
 10/6/2019 Alexandra Ortega                 $11.00   61.37   $   10.00         $   117.52   $    117.52
10/13/2019 Alexandra Ortega                 $11.00   58.77   $   10.00         $   103.22   $    103.22
10/20/2019 Alexandra Ortega                 $11.00   53.73   $   10.00         $    75.53   $     75.53
10/27/2019 Alexandra Ortega                 $11.00   63.10   $   10.00         $   127.05   $    127.05
 11/3/2019 Alexandra Ortega                 $11.00   52.93   $   10.00         $    71.13   $     71.13
11/10/2019 Alexandra Ortega                 $11.00   44.95   $   10.00         $    27.23   $     27.23
11/17/2019 Alexandra Ortega                 $11.00   63.02   $   10.00         $   126.59   $    126.59
11/24/2019 Alexandra Ortega                 $11.00   42.35   $   10.00         $    12.93   $     12.93
 12/1/2019 Alexandra Ortega                 $11.00   54.62   $   10.00         $    80.39   $     80.39
 12/8/2019 Alexandra Ortega                 $11.00   59.20   $   10.00         $   105.60   $    105.60
12/15/2019 Alexandra Ortega                 $11.00   53.52   $   10.00         $    74.34   $     74.34
12/22/2019 Alexandra Ortega                 $11.00   55.53   $   10.00         $    85.43   $     85.43
12/29/2019 Alexandra Ortega                 $11.00   51.27   $   10.00         $    61.97   $     61.97
  1/5/2020 Alexandra Ortega                 $11.00   53.45   $   11.00         $    73.98   $     73.98
 1/12/2020 Alexandra Ortega                 $11.00   53.18   $   11.00         $    72.51   $     72.51
 1/19/2020 Alexandra Ortega                 $11.00   63.93   $   11.00         $   131.63   $    131.63



                                               24
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 26 of 683 PageID: 873
                                             Exhibit 2
                                     New Jersey Computations


  Week                                                      State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
 Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
  Date                                                      Wage  Rate Due     Due       Wages Due

 1/26/2020 Alexandra Ortega                 $11.00   64.03   $   11.00               $   132.18   $   132.18
 7/21/2019 Alexis Frias                     $10.50   61.78   $   10.00               $   114.36   $   114.36
 7/28/2019 Alexis Frias                     $10.50   61.30   $   10.00               $   111.83   $   111.83
  8/4/2019 Alexis Frias                     $10.50   74.88   $   10.00               $   183.14   $   183.14
 8/11/2019 Alexis Frias                     $10.50   51.15   $   10.00               $    58.54   $    58.54
 8/18/2019 Alexis Frias                     $10.50   75.20   $   10.00               $   184.80   $   184.80
 8/25/2019 Alexis Frias                     $10.50   49.52   $   10.00               $    49.96   $    49.96
  9/1/2019 Alexis Frias                     $10.50   74.30   $   10.00               $   180.08   $   180.08
  9/8/2019 Alexis Frias                     $10.50   73.07   $   10.00               $   173.60   $   173.60
 9/15/2019 Alexis Frias                     $10.50   74.90   $   10.00               $   183.23   $   183.23
 9/22/2019 Alexis Frias                     $10.50   50.72   $   10.00               $    56.26   $    56.26
 9/29/2019 Alexis Frias                     $10.50   67.23   $   10.00               $   142.98   $   142.98
 10/6/2019 Alexis Frias                     $10.50   73.17   $   10.00               $   174.13   $   174.13
10/13/2019 Alexis Frias                     $10.50   75.15   $   10.00               $   184.54   $   184.54
10/20/2019 Alexis Frias                     $11.00   67.22   $   10.00               $   149.69   $   149.69
10/27/2019 Alexis Frias                     $11.00   56.98   $   10.00               $    93.41   $    93.41
 11/3/2019 Alexis Frias                     $10.50   71.75   $   10.00               $   166.69   $   166.69
11/10/2019 Alexis Frias                     $10.50   61.87   $   10.00               $   114.80   $   114.80
11/17/2019 Alexis Frias                     $10.50   72.10   $   10.00               $   168.53   $   168.53
11/24/2019 Alexis Frias                     $10.50   77.35   $   10.00               $   196.09   $   196.09
 12/1/2019 Alexis Frias                     $10.50   61.05   $   10.00               $   110.51   $   110.51
 12/8/2019 Alexis Frias                     $10.50   80.50   $   10.00               $   212.63   $   212.63
12/15/2019 Alexis Frias                     $10.50   69.40   $   10.00               $   154.35   $   154.35
12/22/2019 Alexis Frias                     $10.50   59.83   $   10.00               $   104.13   $   104.13
12/29/2019 Alexis Frias                     $10.50   47.35   $   10.00               $    38.59   $    38.59
  1/5/2020 Alexis Frias                     $10.50   57.60   $   11.00   $   28.80   $    96.80   $   125.60
 1/12/2020 Alexis Frias                     $10.50   58.45   $   11.00   $   29.23   $   101.48   $   130.70
 1/19/2020 Alexis Frias                     $10.50   48.97   $   11.00   $   24.48   $    49.32   $    73.80
 1/26/2020 Alexis Frias                     $10.50   59.47   $   11.00   $   29.73   $   107.07   $   136.80
 8/11/2019 Alexis Garcia                     $9.00   46.05   $   10.00   $   46.05   $    30.25   $    76.30
 8/18/2019 Alexis Garcia                     $9.00   54.52   $   10.00   $   54.52   $    72.58   $   127.10
 8/25/2019 Alexis Garcia                     $9.00   46.93   $   10.00   $   46.93   $    34.67   $    81.60
  9/1/2019 Alexis Garcia                     $9.00   58.58   $   10.00   $   58.58   $    92.92   $   151.50
  9/8/2019 Alexis Garcia                     $9.00   45.45   $   10.00   $   45.45   $    27.25   $    72.70
 9/15/2019 Alexis Garcia                     $9.00   61.23   $   10.00   $   61.23   $   106.17   $   167.40
 9/22/2019 Alexis Garcia                     $9.00   59.50   $   10.00   $   59.50   $    97.50   $   157.00
 9/29/2019 Alexis Garcia                     $9.00   57.55   $   10.00   $   57.55   $    87.75   $   145.30
 10/6/2019 Alexis Garcia                     $9.00   59.28   $   10.00   $   59.28   $    96.42   $   155.70
10/13/2019 Alexis Garcia                     $9.00   62.45   $   10.00   $   62.45   $   112.25   $   174.70
10/20/2019 Alexis Garcia                     $9.00   62.35   $   10.00   $   62.35   $   111.75   $   174.10
10/27/2019 Alexis Garcia                     $9.00   60.23   $   10.00   $   60.23   $   101.17   $   161.40
 11/3/2019 Alexis Garcia                     $9.00   57.40   $   10.00   $   57.40   $    87.00   $   144.40
11/10/2019 Alexis Garcia                     $9.00   52.07   $   10.00   $   52.07   $    60.33   $   112.40
11/17/2019 Alexis Garcia                     $9.00   59.10   $   10.00   $   59.10   $    95.50   $   154.60
11/24/2019 Alexis Garcia                     $9.00   58.88   $   10.00   $   58.88   $    94.42   $   153.30
 12/1/2019 Alexis Garcia                     $9.00   50.42   $   10.00   $   50.42   $    52.08   $   102.50
12/15/2019 Alexis Garcia                     $9.00   56.35   $   10.00   $   56.35   $    81.75   $   138.10
12/22/2019 Alexis Garcia                     $9.00   61.28   $   10.00   $   61.28   $   106.42   $   167.70
  1/5/2020 Alexis Garcia                    $10.00   53.03   $   11.00   $   53.03   $    71.68   $   124.72
 1/12/2020 Alexis Garcia                    $10.00   60.05   $   11.00   $   60.05   $   110.28   $   170.33



                                               25
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 27 of 683 PageID: 874
                                            Exhibit 2
                                    New Jersey Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
  Date                                                     Wage  Rate Due     Due       Wages Due

 1/19/2020 Alexis Garcia                   $10.00   61.60   $   11.00   $   61.60   $   118.80   $   180.40
 1/26/2020 Alexis Garcia                   $10.00   57.83   $   11.00   $   57.83   $    98.08   $   155.92
 9/24/2017 Alexis Ortiz                     $9.50   53.48   $    8.44               $    64.05   $    64.05
 10/6/2019 Alfredo Flameco                  $9.50   41.78   $   10.00   $   20.89   $     8.92   $    29.81
10/13/2019 Alfredo Flameco                  $9.50   43.45   $   10.00   $   21.73   $    17.25   $    38.98
10/20/2019 Alfredo Flameco                  $9.50   41.67   $   10.00   $   20.83   $     8.33   $    29.17
10/27/2019 Alfredo Flameco                  $9.50   42.02   $   10.00   $   21.01   $    10.08   $    31.09
 11/3/2019 Alfredo Flameco                  $9.50   41.95   $   10.00   $   20.98   $     9.75   $    30.73
11/10/2019 Alfredo Flameco                  $9.50   44.50   $   10.00   $   22.25   $    22.50   $    44.75
11/17/2019 Alfredo Flameco                  $9.50   41.92   $   10.00   $   20.96   $     9.58   $    30.54
11/24/2019 Alfredo Flameco                  $9.50   42.88   $   10.00   $   21.44   $    14.42   $    35.86
 12/8/2019 Alfredo Flameco                  $9.50   42.30   $   10.00   $   21.15   $    11.50   $    32.65
12/15/2019 Alfredo Flameco                  $9.50   42.93   $   10.00   $   21.47   $    14.67   $    36.13
12/22/2019 Alfredo Flameco                  $9.50   42.22   $   10.00   $   21.11   $    11.08   $    32.19
 9/10/2017 Alfredo Pena                     $8.50   54.50   $    8.44               $    61.63   $    61.63
 9/17/2017 Alfredo Pena                     $8.50   65.90   $    8.44               $   110.08   $   110.08
 9/24/2017 Alfredo Pena                     $8.50   66.15   $    8.44               $   111.14   $   111.14
 10/1/2017 Alfredo Pena                     $8.50   68.07   $    8.44               $   119.28   $   119.28
 10/8/2017 Alfredo Pena                     $8.50   48.68   $    8.44               $    36.90   $    36.90
 11/3/2019 Alma Natareno                   $10.00   43.65   $   10.00               $    18.25   $    18.25
11/10/2019 Alma Natareno                   $10.00   51.98   $   10.00               $    59.92   $    59.92
 12/8/2019 Alma Natareno                   $10.00   42.72   $   10.00               $    13.58   $    13.58
12/15/2019 Alma Natareno                   $10.00   45.17   $   10.00               $    25.83   $    25.83
  1/5/2020 Alma Natareno                   $10.00   52.63   $   11.00   $   52.63   $    69.48   $   122.12
  7/1/2018 Alvan Perdomo                    $8.60   45.75   $    8.60               $    24.73   $    24.73
  7/8/2018 Alvan Perdomo                    $8.60   45.73   $    8.60               $    24.65   $    24.65
 7/22/2018 Alvan Perdomo                    $9.50   69.63   $    8.60               $   140.76   $   140.76
 7/29/2018 Alvan Perdomo                    $9.50   68.92   $    8.60               $   137.35   $   137.35
  8/5/2018 Alvan Perdomo                    $9.50   59.30   $    8.60               $    91.68   $    91.68
 8/12/2018 Alvan Perdomo                    $9.50   47.07   $    8.60               $    33.57   $    33.57
 8/19/2018 Alvan Perdomo                    $9.50   68.85   $    8.60               $   137.04   $   137.04
 8/26/2018 Alvan Perdomo                    $9.50   66.23   $    8.60               $   124.61   $   124.61
  2/5/2017 Alvaro Cuellar                  $10.00   72.10   $    8.44               $   160.50   $   160.50
 2/12/2017 Alvaro Cuellar                  $10.00   68.32   $    8.44               $   141.58   $   141.58
 2/19/2017 Alvaro Cuellar                  $10.00   72.87   $    8.44               $   164.33   $   164.33
 2/26/2017 Alvaro Cuellar                  $10.00   74.27   $    8.44               $   171.33   $   171.33
  3/5/2017 Alvaro Cuellar                  $10.00   72.92   $    8.44               $   164.58   $   164.58
 3/12/2017 Alvaro Cuellar                  $10.00   70.52   $    8.44               $   152.58   $   152.58
 3/19/2017 Alvaro Cuellar                  $10.00   60.32   $    8.44               $   101.58   $   101.58
 3/26/2017 Alvaro Cuellar                  $10.00   73.45   $    8.44               $   167.25   $   167.25
  4/2/2017 Alvaro Cuellar                  $10.00   74.10   $    8.44               $   170.50   $   170.50
  4/9/2017 Alvaro Cuellar                  $10.00   73.30   $    8.44               $   166.50   $   166.50
 4/16/2017 Alvaro Cuellar                  $10.00   60.05   $    8.44               $   100.25   $   100.25
 4/23/2017 Alvaro Cuellar                  $10.00   59.83   $    8.44               $    99.17   $    99.17
 4/30/2017 Alvaro Cuellar                  $10.00   72.65   $    8.44               $   163.25   $   163.25
  5/7/2017 Alvaro Cuellar                  $10.00   72.98   $    8.44               $   164.92   $   164.92
 5/14/2017 Alvaro Cuellar                  $10.00   73.20   $    8.44               $   166.00   $   166.00
 5/21/2017 Alvaro Cuellar                  $10.00   73.00   $    8.44               $   165.00   $   165.00
 5/28/2017 Alvaro Cuellar                  $10.00   72.83   $    8.44               $   164.17   $   164.17
  6/4/2017 Alvaro Cuellar                  $10.00   60.02   $    8.44               $   100.08   $   100.08



                                              26
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 28 of 683 PageID: 875
                                           Exhibit 2
                                   New Jersey Computations


  Week                                                    State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
 Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
  Date                                                    Wage  Rate Due     Due       Wages Due

 6/11/2017 Alvaro Cuellar                 $10.00   73.95   $   8.44          $   169.75   $    169.75
 6/18/2017 Alvaro Cuellar                 $10.00   73.70   $   8.44          $   168.50   $    168.50
 6/25/2017 Alvaro Cuellar                 $10.00   73.73   $   8.44          $   168.67   $    168.67
  7/2/2017 Alvaro Cuellar                 $10.00   73.92   $   8.44          $   169.58   $    169.58
  7/9/2017 Alvaro Cuellar                 $10.00   61.77   $   8.44          $   108.83   $    108.83
 7/16/2017 Alvaro Cuellar                 $10.00   73.62   $   8.44          $   168.08   $    168.08
 7/23/2017 Alvaro Cuellar                 $10.00   73.73   $   8.44          $   168.67   $    168.67
 7/30/2017 Alvaro Cuellar                 $10.00   73.50   $   8.44          $   167.50   $    167.50
  8/6/2017 Alvaro Cuellar                 $10.00   73.60   $   8.44          $   168.00   $    168.00
 8/13/2017 Alvaro Cuellar                 $10.00   73.43   $   8.44          $   167.17   $    167.17
 8/20/2017 Alvaro Cuellar                 $10.00   73.52   $   8.44          $   167.58   $    167.58
 8/27/2017 Alvaro Cuellar                 $10.00   72.63   $   8.44          $   163.17   $    163.17
  9/3/2017 Alvaro Cuellar                 $10.00   74.22   $   8.44          $   171.08   $    171.08
 9/10/2017 Alvaro Cuellar                 $10.00   61.07   $   8.44          $   105.33   $    105.33
 9/17/2017 Alvaro Cuellar                 $10.00   74.22   $   8.44          $   171.08   $    171.08
 9/24/2017 Alvaro Cuellar                 $10.00   76.12   $   8.44          $   180.58   $    180.58
 10/1/2017 Alvaro Cuellar                 $10.00   75.15   $   8.44          $   175.75   $    175.75
 10/8/2017 Alvaro Cuellar                 $10.00   74.57   $   8.44          $   172.83   $    172.83
10/15/2017 Alvaro Cuellar                 $10.00   74.53   $   8.44          $   172.67   $    172.67
10/22/2017 Alvaro Cuellar                 $10.00   74.77   $   8.44          $   173.83   $    173.83
10/29/2017 Alvaro Cuellar                 $10.00   74.63   $   8.44          $   173.17   $    173.17
 11/5/2017 Alvaro Cuellar                 $10.00   74.28   $   8.44          $   171.42   $    171.42
11/12/2017 Alvaro Cuellar                 $10.00   74.45   $   8.44          $   172.25   $    172.25
11/19/2017 Alvaro Cuellar                 $10.00   73.92   $   8.44          $   169.58   $    169.58
11/26/2017 Alvaro Cuellar                 $10.00   60.58   $   8.44          $   102.92   $    102.92
 12/3/2017 Alvaro Cuellar                 $10.00   74.48   $   8.44          $   172.42   $    172.42
12/10/2017 Alvaro Cuellar                 $10.00   74.75   $   8.44          $   173.75   $    173.75
12/17/2017 Alvaro Cuellar                 $10.00   74.65   $   8.44          $   173.25   $    173.25
12/24/2017 Alvaro Cuellar                 $10.00   75.50   $   8.44          $   177.50   $    177.50
12/31/2017 Alvaro Cuellar                 $10.00   60.37   $   8.44          $   101.83   $    101.83
  1/7/2018 Alvaro Cuellar                 $10.00   48.35   $   8.60          $    41.75   $     41.75
 1/14/2018 Alvaro Cuellar                 $10.00   75.65   $   8.60          $   178.25   $    178.25
 1/21/2018 Alvaro Cuellar                 $10.00   75.80   $   8.60          $   179.00   $    179.00
 1/28/2018 Alvaro Cuellar                 $10.00   72.07   $   8.60          $   160.33   $    160.33
  2/4/2018 Alvaro Cuellar                 $10.00   75.27   $   8.60          $   176.33   $    176.33
 2/11/2018 Alvaro Cuellar                 $10.00   74.38   $   8.60          $   171.92   $    171.92
 2/18/2018 Alvaro Cuellar                 $10.00   74.78   $   8.60          $   173.92   $    173.92
 2/25/2018 Alvaro Cuellar                 $10.00   74.37   $   8.60          $   171.83   $    171.83
  3/4/2018 Alvaro Cuellar                 $10.00   74.30   $   8.60          $   171.50   $    171.50
 3/25/2018 Alvaro Cuellar                 $10.00   67.32   $   8.60          $   136.58   $    136.58
  4/1/2018 Alvaro Cuellar                 $10.00   74.15   $   8.60          $   170.75   $    170.75
  4/8/2018 Alvaro Cuellar                 $10.00   74.07   $   8.60          $   170.33   $    170.33
 4/15/2018 Alvaro Cuellar                 $10.00   74.58   $   8.60          $   172.92   $    172.92
 4/22/2018 Alvaro Cuellar                 $10.00   73.58   $   8.60          $   167.92   $    167.92
 4/29/2018 Alvaro Cuellar                 $10.00   76.30   $   8.60          $   181.50   $    181.50
  5/6/2018 Alvaro Cuellar                 $10.00   75.77   $   8.60          $   178.83   $    178.83
 5/13/2018 Alvaro Cuellar                 $10.00   75.23   $   8.60          $   176.17   $    176.17
 5/20/2018 Alvaro Cuellar                 $10.00   73.03   $   8.60          $   165.17   $    165.17
 5/27/2018 Alvaro Cuellar                 $10.00   75.03   $   8.60          $   175.17   $    175.17
  6/3/2018 Alvaro Cuellar                 $10.00   62.45   $   8.60          $   112.25   $    112.25



                                             27
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 29 of 683 PageID: 876
                                           Exhibit 2
                                   New Jersey Computations


  Week                                                    State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
 Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
  Date                                                    Wage  Rate Due     Due       Wages Due

 6/10/2018 Alvaro Cuellar                 $10.00   74.60   $   8.60          $   173.00   $    173.00
 6/17/2018 Alvaro Cuellar                 $10.50   74.90   $   8.60          $   183.23   $    183.23
 6/24/2018 Alvaro Cuellar                 $10.50   74.88   $   8.60          $   183.14   $    183.14
  7/1/2018 Alvaro Cuellar                 $10.50   74.52   $   8.60          $   181.21   $    181.21
  7/8/2018 Alvaro Cuellar                 $10.50   68.28   $   8.60          $   148.49   $    148.49
 7/15/2018 Alvaro Cuellar                 $10.50   75.32   $   8.60          $   185.41   $    185.41
 7/22/2018 Alvaro Cuellar                 $10.50   74.95   $   8.60          $   183.49   $    183.49
 7/29/2018 Alvaro Cuellar                 $10.50   74.65   $   8.60          $   181.91   $    181.91
  8/5/2018 Alvaro Cuellar                 $10.50   76.32   $   8.60          $   190.66   $    190.66
 8/12/2018 Alvaro Cuellar                 $10.50   74.98   $   8.60          $   183.66   $    183.66
 8/19/2018 Alvaro Cuellar                 $10.50   75.08   $   8.60          $   184.19   $    184.19
 8/26/2018 Alvaro Cuellar                 $10.50   74.27   $   8.60          $   179.90   $    179.90
  9/2/2018 Alvaro Cuellar                 $10.50   75.08   $   8.60          $   184.19   $    184.19
  9/9/2018 Alvaro Cuellar                 $10.50   69.75   $   8.60          $   156.19   $    156.19
 9/16/2018 Alvaro Cuellar                 $10.50   75.00   $   8.60          $   183.75   $    183.75
 9/23/2018 Alvaro Cuellar                 $10.50   75.33   $   8.60          $   185.50   $    185.50
 9/30/2018 Alvaro Cuellar                 $10.50   74.60   $   8.60          $   181.65   $    181.65
 10/7/2018 Alvaro Cuellar                 $10.50   75.18   $   8.60          $   184.71   $    184.71
10/14/2018 Alvaro Cuellar                 $10.50   74.27   $   8.60          $   179.90   $    179.90
10/21/2018 Alvaro Cuellar                 $10.50   74.60   $   8.60          $   181.65   $    181.65
10/28/2018 Alvaro Cuellar                 $10.50   75.03   $   8.60          $   183.93   $    183.93
 11/4/2018 Alvaro Cuellar                 $10.50   74.55   $   8.60          $   181.39   $    181.39
11/11/2018 Alvaro Cuellar                 $10.50   75.40   $   8.60          $   185.85   $    185.85
11/18/2018 Alvaro Cuellar                 $10.50   71.17   $   8.60          $   163.63   $    163.63
11/25/2018 Alvaro Cuellar                 $10.50   57.62   $   8.60          $    92.49   $     92.49
 12/2/2018 Alvaro Cuellar                 $10.50   70.00   $   8.60          $   157.50   $    157.50
 12/9/2018 Alvaro Cuellar                 $10.50   70.07   $   8.60          $   157.85   $    157.85
12/16/2018 Alvaro Cuellar                 $10.50   59.98   $   8.60          $   104.91   $    104.91
12/23/2018 Alvaro Cuellar                 $10.50   69.92   $   8.60          $   157.06   $    157.06
12/30/2018 Alvaro Cuellar                 $10.50   50.82   $   8.60          $    56.79   $     56.79
  1/6/2019 Alvaro Cuellar                 $10.50   43.58   $   8.85          $    18.81   $     18.81
 1/13/2019 Alvaro Cuellar                 $10.50   70.17   $   8.85          $   158.38   $    158.38
 1/20/2019 Alvaro Cuellar                 $10.50   68.30   $   8.85          $   148.58   $    148.58
 1/27/2019 Alvaro Cuellar                 $10.50   62.07   $   8.85          $   115.85   $    115.85
  2/3/2019 Alvaro Cuellar                 $10.50   69.22   $   8.85          $   153.39   $    153.39
 2/10/2019 Alvaro Cuellar                 $10.50   69.95   $   8.85          $   157.24   $    157.24
 2/17/2019 Alvaro Cuellar                 $10.50   70.13   $   8.85          $   158.20   $    158.20
 2/24/2019 Alvaro Cuellar                 $10.50   70.25   $   8.85          $   158.81   $    158.81
  3/3/2019 Alvaro Cuellar                 $10.50   70.30   $   8.85          $   159.08   $    159.08
 3/10/2019 Alvaro Cuellar                 $10.50   69.15   $   8.85          $   153.04   $    153.04
 3/17/2019 Alvaro Cuellar                 $10.50   70.62   $   8.85          $   160.74   $    160.74
 3/24/2019 Alvaro Cuellar                 $10.50   63.42   $   8.85          $   122.94   $    122.94
 3/31/2019 Alvaro Cuellar                 $10.50   71.33   $   8.85          $   164.50   $    164.50
  4/7/2019 Alvaro Cuellar                 $10.50   71.20   $   8.85          $   163.80   $    163.80
 4/14/2019 Alvaro Cuellar                 $10.50   71.48   $   8.85          $   165.29   $    165.29
 4/21/2019 Alvaro Cuellar                 $10.50   70.52   $   8.85          $   160.21   $    160.21
 4/28/2019 Alvaro Cuellar                 $10.50   69.12   $   8.85          $   152.86   $    152.86
  5/5/2019 Alvaro Cuellar                 $10.50   71.22   $   8.85          $   163.89   $    163.89
 5/12/2019 Alvaro Cuellar                 $10.50   70.68   $   8.85          $   161.09   $    161.09
 5/19/2019 Alvaro Cuellar                 $10.50   69.83   $   8.85          $   156.63   $    156.63



                                             28
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 30 of 683 PageID: 877
                                           Exhibit 2
                                   New Jersey Computations


  Week                                                    State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
 Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
  Date                                                    Wage  Rate Due     Due       Wages Due

 5/26/2019 Alvaro Cuellar                 $10.50   71.15   $    8.85         $   163.54   $    163.54
  6/2/2019 Alvaro Cuellar                 $10.50   66.90   $    8.85         $   141.23   $    141.23
  6/9/2019 Alvaro Cuellar                 $10.50   70.88   $    8.85         $   162.14   $    162.14
 6/16/2019 Alvaro Cuellar                 $10.50   71.52   $    8.85         $   165.46   $    165.46
 6/23/2019 Alvaro Cuellar                 $10.50   68.90   $    8.85         $   151.73   $    151.73
 6/30/2019 Alvaro Cuellar                 $10.50   69.40   $   10.00         $   154.35   $    154.35
 7/14/2019 Alvaro Cuellar                 $10.50   69.80   $   10.00         $   156.45   $    156.45
 7/21/2019 Alvaro Cuellar                 $10.50   68.95   $   10.00         $   151.99   $    151.99
 7/28/2019 Alvaro Cuellar                 $10.50   67.48   $   10.00         $   144.29   $    144.29
  8/4/2019 Alvaro Cuellar                 $11.50   67.68   $   10.00         $   159.18   $    159.18
 8/11/2019 Alvaro Cuellar                 $11.50   66.23   $   10.00         $   150.84   $    150.84
 8/18/2019 Alvaro Cuellar                 $11.50   65.88   $   10.00         $   148.83   $    148.83
 8/25/2019 Alvaro Cuellar                 $11.50   65.53   $   10.00         $   146.82   $    146.82
  9/1/2019 Alvaro Cuellar                 $11.50   66.47   $   10.00         $   152.18   $    152.18
  9/8/2019 Alvaro Cuellar                 $11.50   54.87   $   10.00         $    85.48   $     85.48
 9/15/2019 Alvaro Cuellar                 $11.50   68.28   $   10.00         $   162.63   $    162.63
 9/22/2019 Alvaro Cuellar                 $11.50   68.85   $   10.00         $   165.89   $    165.89
 9/29/2019 Alvaro Cuellar                 $11.50   68.32   $   10.00         $   162.82   $    162.82
 10/6/2019 Alvaro Cuellar                 $11.50   58.30   $   10.00         $   105.23   $    105.23
10/13/2019 Alvaro Cuellar                 $11.50   68.60   $   10.00         $   164.45   $    164.45
10/20/2019 Alvaro Cuellar                 $11.50   68.22   $   10.00         $   162.25   $    162.25
10/27/2019 Alvaro Cuellar                 $11.50   68.20   $   10.00         $   162.15   $    162.15
 11/3/2019 Alvaro Cuellar                 $11.50   68.33   $   10.00         $   162.92   $    162.92
11/10/2019 Alvaro Cuellar                 $11.50   67.98   $   10.00         $   160.90   $    160.90
11/17/2019 Alvaro Cuellar                 $11.50   68.82   $   10.00         $   165.70   $    165.70
11/24/2019 Alvaro Cuellar                 $11.50   68.70   $   10.00         $   165.03   $    165.03
 12/1/2019 Alvaro Cuellar                 $11.50   56.57   $   10.00         $    95.26   $     95.26
 12/8/2019 Alvaro Cuellar                 $11.50   57.72   $   10.00         $   101.87   $    101.87
12/15/2019 Alvaro Cuellar                 $11.50   69.12   $   10.00         $   167.42   $    167.42
12/22/2019 Alvaro Cuellar                 $11.50   69.47   $   10.00         $   169.43   $    169.43
  1/5/2020 Alvaro Cuellar                 $11.50   56.73   $   11.00         $    96.22   $     96.22
 1/12/2020 Alvaro Cuellar                 $11.50   69.10   $   11.00         $   167.33   $    167.33
 1/19/2020 Alvaro Cuellar                 $11.50   69.70   $   11.00         $   170.78   $    170.78
 1/26/2020 Alvaro Cuellar                 $11.50   69.15   $   11.00         $   167.61   $    167.61
  2/5/2017 Alvin Sutton                   $14.00   45.92   $    8.44         $    41.42   $     41.42
 2/19/2017 Alvin Sutton                   $14.00   44.27   $    8.44         $    29.87   $     29.87
 2/26/2017 Alvin Sutton                   $14.00   42.37   $    8.44         $    16.57   $     16.57
  3/5/2017 Alvin Sutton                   $14.00   44.40   $    8.44         $    30.80   $     30.80
 3/26/2017 Alvin Sutton                   $14.00   46.62   $    8.44         $    46.32   $     46.32
  4/2/2017 Alvin Sutton                   $14.00   46.17   $    8.44         $    43.17   $     43.17
  4/9/2017 Alvin Sutton                   $14.00   45.73   $    8.44         $    40.13   $     40.13
 4/16/2017 Alvin Sutton                   $14.00   46.00   $    8.44         $    42.00   $     42.00
 4/23/2017 Alvin Sutton                   $14.00   45.73   $    8.44         $    40.13   $     40.13
 4/30/2017 Alvin Sutton                   $14.00   45.73   $    8.44         $    40.13   $     40.13
 5/14/2017 Alvin Sutton                   $14.00   46.42   $    8.44         $    44.92   $     44.92
 5/21/2017 Alvin Sutton                   $14.00   45.97   $    8.44         $    41.77   $     41.77
 5/28/2017 Alvin Sutton                   $14.00   46.52   $    8.44         $    45.62   $     45.62
 6/11/2017 Alvin Sutton                   $14.00   47.78   $    8.44         $    54.48   $     54.48
 6/18/2017 Alvin Sutton                   $14.00   42.77   $    8.44         $    19.37   $     19.37
 6/25/2017 Alvin Sutton                   $14.00   46.85   $    8.44         $    47.95   $     47.95



                                             29
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 31 of 683 PageID: 878
                                         Exhibit 2
                                 New Jersey Computations


  Week                                                  State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
 Ending                   Name                        Minumum Regular    Half-Time Overtime Back
                                         Rate Week
  Date                                                  Wage  Rate Due     Due       Wages Due

 7/16/2017 Alvin Sutton                 $14.00   44.50   $   8.44          $    31.50   $     31.50
 7/23/2017 Alvin Sutton                 $14.00   45.80   $   8.44          $    40.60   $     40.60
 7/30/2017 Alvin Sutton                 $14.00   46.22   $   8.44          $    43.52   $     43.52
  8/6/2017 Alvin Sutton                 $14.00   45.52   $   8.44          $    38.62   $     38.62
 8/13/2017 Alvin Sutton                 $14.00   46.47   $   8.44          $    45.27   $     45.27
 8/27/2017 Alvin Sutton                 $14.00   46.43   $   8.44          $    45.03   $     45.03
  9/3/2017 Alvin Sutton                 $14.00   46.45   $   8.44          $    45.15   $     45.15
 9/24/2017 Alvin Sutton                 $14.00   45.82   $   8.44          $    40.72   $     40.72
10/15/2017 Alvin Sutton                 $14.00   46.02   $   8.44          $    42.12   $     42.12
10/22/2017 Alvin Sutton                 $14.00   45.78   $   8.44          $    40.48   $     40.48
11/12/2017 Alvin Sutton                 $14.00   45.62   $   8.44          $    39.32   $     39.32
12/10/2017 Alvin Sutton                 $14.00   44.72   $   8.44          $    33.02   $     33.02
12/17/2017 Alvin Sutton                 $14.00   45.22   $   8.44          $    36.52   $     36.52
12/24/2017 Alvin Sutton                 $14.00   42.62   $   8.44          $    18.32   $     18.32
 2/11/2018 Alvin Sutton                 $14.00   41.47   $   8.60          $    10.27   $     10.27
 2/18/2018 Alvin Sutton                 $14.00   45.75   $   8.60          $    40.25   $     40.25
  3/4/2018 Alvin Sutton                 $14.00   44.63   $   8.60          $    32.43   $     32.43
  4/1/2018 Alvin Sutton                 $14.00   43.50   $   8.60          $    24.50   $     24.50
 4/15/2018 Alvin Sutton                 $14.00   45.78   $   8.60          $    40.48   $     40.48
 4/22/2018 Alvin Sutton                 $14.00   45.30   $   8.60          $    37.10   $     37.10
 4/29/2018 Alvin Sutton                 $14.00   44.67   $   8.60          $    32.67   $     32.67
  5/6/2018 Alvin Sutton                 $14.00   45.23   $   8.60          $    36.63   $     36.63
10/28/2018 Alvin Sutton                 $14.00   45.15   $   8.60          $    36.05   $     36.05
 11/4/2018 Alvin Sutton                 $14.00   63.87   $   8.60          $   167.07   $    167.07
11/11/2018 Alvin Sutton                 $14.00   41.70   $   8.60          $    11.90   $     11.90
11/18/2018 Alvin Sutton                 $14.00   64.90   $   8.60          $   174.30   $    174.30
11/25/2018 Alvin Sutton                 $14.00   45.35   $   8.60          $    37.45   $     37.45
 12/2/2018 Alvin Sutton                 $14.00   51.40   $   8.60          $    79.80   $     79.80
 12/9/2018 Alvin Sutton                 $14.00   48.48   $   8.60          $    59.38   $     59.38
12/16/2018 Alvin Sutton                 $14.00   47.52   $   8.60          $    52.62   $     52.62
12/23/2018 Alvin Sutton                 $14.00   57.70   $   8.60          $   123.90   $    123.90
  1/6/2019 Alvin Sutton                 $14.00   41.27   $   8.85          $     8.87   $      8.87
 1/13/2019 Alvin Sutton                 $14.00   49.05   $   8.85          $    63.35   $     63.35
 1/20/2019 Alvin Sutton                 $14.00   55.90   $   8.85          $   111.30   $    111.30
 1/27/2019 Alvin Sutton                 $14.00   40.37   $   8.85          $     2.57   $      2.57
  2/3/2019 Alvin Sutton                 $14.00   54.52   $   8.85          $   101.62   $    101.62
 2/10/2019 Alvin Sutton                 $14.00   50.98   $   8.85          $    76.88   $     76.88
 2/17/2019 Alvin Sutton                 $14.00   57.80   $   8.85          $   124.60   $    124.60
  3/3/2019 Alvin Sutton                 $14.00   50.82   $   8.85          $    75.72   $     75.72
 3/10/2019 Alvin Sutton                 $14.00   58.50   $   8.85          $   129.50   $    129.50
 3/17/2019 Alvin Sutton                 $14.00   57.80   $   8.85          $   124.60   $    124.60
 3/24/2019 Alvin Sutton                 $14.00   49.40   $   8.85          $    65.80   $     65.80
 3/31/2019 Alvin Sutton                 $14.00   58.53   $   8.85          $   129.73   $    129.73
  4/7/2019 Alvin Sutton                 $14.00   50.95   $   8.85          $    76.65   $     76.65
 4/28/2019 Alvin Sutton                 $14.00   61.27   $   8.85          $   148.87   $    148.87
  5/5/2019 Alvin Sutton                 $14.00   60.68   $   8.85          $   144.78   $    144.78
 5/12/2019 Alvin Sutton                 $14.00   47.67   $   8.85          $    53.67   $     53.67
 5/19/2019 Alvin Sutton                 $14.00   63.28   $   8.85          $   162.98   $    162.98
  6/2/2019 Alvin Sutton                 $14.00   41.30   $   8.85          $     9.10   $      9.10
  6/9/2019 Alvin Sutton                 $14.00   61.52   $   8.85          $   150.62   $    150.62



                                           30
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 32 of 683 PageID: 879
                                             Exhibit 2
                                     New Jersey Computations


  Week                                                      State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
 Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
  Date                                                      Wage  Rate Due     Due       Wages Due

 6/16/2019 Alvin Sutton                     $14.00   50.50   $    8.85         $    73.50   $     73.50
 6/23/2019 Alvin Sutton                     $14.00   56.03   $    8.85         $   112.23   $    112.23
 6/30/2019 Alvin Sutton                     $14.00   44.47   $   10.00         $    31.27   $     31.27
  7/7/2019 Alvin Sutton                     $14.00   46.05   $   10.00         $    42.35   $     42.35
 7/14/2019 Alvin Sutton                     $14.00   48.90   $   10.00         $    62.30   $     62.30
 7/21/2019 Alvin Sutton                     $14.00   45.40   $   10.00         $    37.80   $     37.80
 7/28/2019 Alvin Sutton                     $14.00   48.48   $   10.00         $    59.38   $     59.38
  8/4/2019 Alvin Sutton                     $14.00   52.10   $   10.00         $    84.70   $     84.70
 8/11/2019 Alvin Sutton                     $14.00   47.35   $   10.00         $    51.45   $     51.45
 8/18/2019 Alvin Sutton                     $14.00   57.20   $   10.00         $   120.40   $    120.40
  9/1/2019 Alvin Sutton                     $14.00   55.87   $   10.00         $   111.07   $    111.07
  9/8/2019 Alvin Sutton                     $14.00   41.37   $   10.00         $     9.57   $      9.57
 9/15/2019 Alvin Sutton                     $14.00   53.33   $   10.00         $    93.33   $     93.33
 9/29/2019 Alvin Sutton                     $14.00   45.75   $   10.00         $    40.25   $     40.25
 10/6/2019 Alvin Sutton                     $14.00   52.08   $   10.00         $    84.58   $     84.58
10/27/2019 Alvin Sutton                     $14.00   46.10   $   10.00         $    42.70   $     42.70
11/10/2019 Alvin Sutton                     $14.00   43.98   $   10.00         $    27.88   $     27.88
11/17/2019 Alvin Sutton                     $14.00   48.82   $   10.00         $    61.72   $     61.72
11/24/2019 Alvin Sutton                     $14.00   41.30   $   10.00         $     9.10   $      9.10
 12/1/2019 Alvin Sutton                     $14.00   40.63   $   10.00         $     4.43   $      4.43
 12/8/2019 Alvin Sutton                     $14.00   42.00   $   10.00         $    14.00   $     14.00
12/15/2019 Alvin Sutton                     $14.00   42.35   $   10.00         $    16.45   $     16.45
12/22/2019 Alvin Sutton                     $14.00   43.68   $   10.00         $    25.78   $     25.78
 1/12/2020 Alvin Sutton                     $14.00   53.12   $   11.00         $    91.82   $     91.82
 1/19/2020 Alvin Sutton                     $14.00   52.40   $   11.00         $    86.80   $     86.80
 1/26/2020 Alvin Sutton                     $14.00   40.85   $   11.00         $     5.95   $      5.95
 6/16/2019 Amado Baltazar Zeferino          $10.00   59.70   $    8.85         $    98.50   $     98.50
 6/23/2019 Amado Baltazar Zeferino          $10.00   71.25   $    8.85         $   156.25   $    156.25
 6/30/2019 Amado Baltazar Zeferino          $10.00   73.73   $   10.00         $   168.67   $    168.67
  7/7/2019 Amado Baltazar Zeferino          $10.00   67.83   $   10.00         $   139.17   $    139.17
 7/14/2019 Amado Baltazar Zeferino          $10.00   73.08   $   10.00         $   165.42   $    165.42
 7/21/2019 Amado Baltazar Zeferino          $10.00   67.12   $   10.00         $   135.58   $    135.58
 7/28/2019 Amado Baltazar Zeferino          $10.00   72.53   $   10.00         $   162.67   $    162.67
  8/4/2019 Amado Baltazar Zeferino          $10.00   72.28   $   10.00         $   161.42   $    161.42
 8/11/2019 Amado Baltazar Zeferino          $10.00   72.10   $   10.00         $   160.50   $    160.50
 8/18/2019 Amado Baltazar Zeferino          $10.00   71.48   $   10.00         $   157.42   $    157.42
 8/25/2019 Amado Baltazar Zeferino          $10.00   71.05   $   10.00         $   155.25   $    155.25
  9/1/2019 Amado Baltazar Zeferino          $10.00   72.13   $   10.00         $   160.67   $    160.67
  9/8/2019 Amado Baltazar Zeferino          $10.00   74.00   $   10.00         $   170.00   $    170.00
 9/15/2019 Amado Baltazar Zeferino          $10.00   76.88   $   10.00         $   184.42   $    184.42
 9/22/2019 Amado Baltazar Zeferino          $10.00   77.48   $   10.00         $   187.42   $    187.42
 9/29/2019 Amado Baltazar Zeferino          $10.00   72.68   $   10.00         $   163.42   $    163.42
 10/6/2019 Amado Baltazar Zeferino          $10.00   58.83   $   10.00         $    94.17   $     94.17
10/13/2019 Amado Baltazar Zeferino          $10.00   65.68   $   10.00         $   128.42   $    128.42
10/20/2019 Amado Baltazar Zeferino          $11.00   73.72   $   10.00         $   185.44   $    185.44
10/27/2019 Amado Baltazar Zeferino          $11.00   68.05   $   10.00         $   154.28   $    154.28
 11/3/2019 Amado Baltazar Zeferino          $11.00   71.35   $   10.00         $   172.43   $    172.43
11/10/2019 Amado Baltazar Zeferino          $11.00   72.20   $   10.00         $   177.10   $    177.10
11/17/2019 Amado Baltazar Zeferino          $11.00   67.90   $   10.00         $   153.45   $    153.45
11/24/2019 Amado Baltazar Zeferino          $11.00   67.53   $   10.00         $   151.43   $    151.43



                                               31
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 33 of 683 PageID: 880
                                             Exhibit 2
                                     New Jersey Computations


  Week                                                      State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
 Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
  Date                                                      Wage  Rate Due     Due       Wages Due

 12/1/2019 Amado Baltazar Zeferino          $11.00   55.25   $   10.00         $    83.88   $     83.88
 12/8/2019 Amado Baltazar Zeferino          $11.00   60.57   $   10.00         $   113.12   $    113.12
12/15/2019 Amado Baltazar Zeferino          $10.00   66.20   $   10.00         $   131.00   $    131.00
12/22/2019 Amado Baltazar Zeferino          $10.00   57.25   $   10.00         $    86.25   $     86.25
 3/12/2017 Amado Lugo                       $11.00   52.58   $    8.44         $    69.21   $     69.21
 3/26/2017 Amado Lugo                       $11.00   46.75   $    8.44         $    37.13   $     37.13
  4/2/2017 Amado Lugo                       $11.00   46.38   $    8.44         $    35.11   $     35.11
  4/9/2017 Amado Lugo                       $11.00   45.40   $    8.44         $    29.70   $     29.70
 4/16/2017 Amado Lugo                       $11.00   46.57   $    8.44         $    36.12   $     36.12
 4/30/2017 Amado Lugo                       $11.00   44.82   $    8.44         $    26.49   $     26.49
  5/7/2017 Amado Lugo                       $11.00   45.98   $    8.44         $    32.91   $     32.91
 5/14/2017 Amado Lugo                       $11.00   42.58   $    8.44         $    14.21   $     14.21
 5/21/2017 Amado Lugo                       $11.00   45.27   $    8.44         $    28.97   $     28.97
 6/11/2017 Amado Lugo                       $11.00   45.60   $    8.44         $    30.80   $     30.80
 6/18/2017 Amado Lugo                       $11.00   45.80   $    8.44         $    31.90   $     31.90
 6/25/2017 Amado Lugo                       $11.00   43.10   $    8.44         $    17.05   $     17.05
  7/2/2017 Amado Lugo                       $11.00   45.73   $    8.44         $    31.53   $     31.53
 7/16/2017 Amado Lugo                       $11.00   45.95   $    8.44         $    32.73   $     32.73
 7/23/2017 Amado Lugo                       $11.00   45.68   $    8.44         $    31.26   $     31.26
 7/30/2017 Amado Lugo                       $11.00   45.33   $    8.44         $    29.33   $     29.33
  8/6/2017 Amado Lugo                       $11.00   46.30   $    8.44         $    34.65   $     34.65
 8/20/2017 Amado Lugo                       $11.00   45.90   $    8.44         $    32.45   $     32.45
 8/27/2017 Amado Lugo                       $11.00   49.12   $    8.44         $    50.14   $     50.14
  9/3/2017 Amado Lugo                       $11.00   40.08   $    8.44         $     0.46   $      0.46
 9/17/2017 Amado Lugo                       $11.00   46.73   $    8.44         $    37.03   $     37.03
 9/24/2017 Amado Lugo                       $11.00   46.55   $    8.44         $    36.03   $     36.03
 10/1/2017 Amado Lugo                       $11.00   46.63   $    8.44         $    36.48   $     36.48
 10/8/2017 Amado Lugo                       $11.00   47.00   $    8.44         $    38.50   $     38.50
10/15/2017 Amado Lugo                       $11.00   42.88   $    8.44         $    15.86   $     15.86
10/29/2017 Amado Lugo                       $11.00   46.22   $    8.44         $    34.19   $     34.19
 11/5/2017 Amado Lugo                       $11.00   46.38   $    8.44         $    35.11   $     35.11
11/12/2017 Amado Lugo                       $11.00   46.98   $    8.44         $    38.41   $     38.41
11/19/2017 Amado Lugo                       $11.00   46.35   $    8.44         $    34.93   $     34.93
 12/3/2017 Amado Lugo                       $11.00   52.43   $    8.44         $    68.38   $     68.38
12/10/2017 Amado Lugo                       $11.00   50.72   $    8.44         $    58.94   $     58.94
12/17/2017 Amado Lugo                       $11.00   48.47   $    8.44         $    46.57   $     46.57
12/24/2017 Amado Lugo                       $11.00   45.38   $    8.44         $    29.61   $     29.61
12/31/2017 Amado Lugo                       $11.00   42.30   $    8.44         $    12.65   $     12.65
 1/28/2018 Amado Lugo                       $11.00   51.97   $    8.60         $    65.82   $     65.82
  2/4/2018 Amado Lugo                       $11.00   56.38   $    8.60         $    90.11   $     90.11
 2/18/2018 Amado Lugo                       $11.00   48.12   $    8.60         $    44.64   $     44.64
 2/25/2018 Amado Lugo                       $11.00   49.23   $    8.60         $    50.78   $     50.78
  3/4/2018 Amado Lugo                       $11.00   46.92   $    8.60         $    38.04   $     38.04
 3/25/2018 Amado Lugo                       $11.00   45.05   $    8.60         $    27.78   $     27.78
  4/1/2018 Amado Lugo                       $11.00   49.88   $    8.60         $    54.36   $     54.36
  4/8/2018 Amado Lugo                       $11.00   48.10   $    8.60         $    44.55   $     44.55
 4/15/2018 Amado Lugo                       $11.00   48.70   $    8.60         $    47.85   $     47.85
 4/22/2018 Amado Lugo                       $11.00   49.58   $    8.60         $    52.71   $     52.71
 4/29/2018 Amado Lugo                       $11.00   57.35   $    8.60         $    95.43   $     95.43
  5/6/2018 Amado Lugo                       $11.00   47.80   $    8.60         $    42.90   $     42.90



                                               32
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 34 of 683 PageID: 881
                                        Exhibit 2
                                New Jersey Computations


  Week                                                 State Section 7: Section 7: Total Section 7
                                       Hourly Hours/
 Ending                 Name                         Minumum Regular    Half-Time Overtime Back
                                        Rate Week
  Date                                                 Wage  Rate Due     Due       Wages Due

 5/13/2018 Amado Lugo                  $11.00   45.32   $    8.60         $    29.24   $     29.24
 5/20/2018 Amado Lugo                  $11.00   48.60   $    8.60         $    47.30   $     47.30
 5/27/2018 Amado Lugo                  $11.00   50.43   $    8.60         $    57.38   $     57.38
 6/10/2018 Amado Lugo                  $11.00   48.82   $    8.60         $    48.49   $     48.49
 6/24/2018 Amado Lugo                  $11.00   47.87   $    8.60         $    43.27   $     43.27
 8/12/2018 Amado Lugo                  $11.00   45.00   $    8.60         $    27.50   $     27.50
 8/19/2018 Amado Lugo                  $11.00   48.73   $    8.60         $    48.03   $     48.03
 8/26/2018 Amado Lugo                  $11.00   51.17   $    8.60         $    61.42   $     61.42
  9/9/2018 Amado Lugo                  $11.00   40.93   $    8.60         $     5.13   $      5.13
 9/16/2018 Amado Lugo                  $11.00   49.60   $    8.60         $    52.80   $     52.80
 9/23/2018 Amado Lugo                  $11.00   48.13   $    8.60         $    44.73   $     44.73
 9/30/2018 Amado Lugo                  $11.00   50.43   $    8.60         $    57.38   $     57.38
 10/7/2018 Amado Lugo                  $11.00   47.88   $    8.60         $    43.36   $     43.36
10/14/2018 Amado Lugo                  $11.00   46.50   $    8.60         $    35.75   $     35.75
10/21/2018 Amado Lugo                  $11.00   46.48   $    8.60         $    35.66   $     35.66
10/28/2018 Amado Lugo                  $11.00   49.15   $    8.60         $    50.33   $     50.33
 11/4/2018 Amado Lugo                  $11.00   48.07   $    8.60         $    44.37   $     44.37
11/11/2018 Amado Lugo                  $11.00   46.25   $    8.60         $    34.38   $     34.38
11/18/2018 Amado Lugo                  $11.00   62.60   $    8.60         $   124.30   $    124.30
11/25/2018 Amado Lugo                  $11.00   48.75   $    8.60         $    48.13   $     48.13
 12/2/2018 Amado Lugo                  $11.00   58.73   $    8.60         $   103.03   $    103.03
 12/9/2018 Amado Lugo                  $11.00   48.90   $    8.60         $    48.95   $     48.95
12/16/2018 Amado Lugo                  $11.00   61.33   $    8.60         $   117.33   $    117.33
12/23/2018 Amado Lugo                  $11.00   60.72   $    8.60         $   113.94   $    113.94
12/30/2018 Amado Lugo                  $11.00   42.58   $    8.60         $    14.21   $     14.21
 1/13/2019 Amado Lugo                  $11.00   58.98   $    8.85         $   104.41   $    104.41
 1/20/2019 Amado Lugo                  $11.00   50.45   $    8.85         $    57.48   $     57.48
 1/27/2019 Amado Lugo                  $11.00   48.63   $    8.85         $    47.48   $     47.48
  2/3/2019 Amado Lugo                  $11.00   48.90   $    8.85         $    48.95   $     48.95
 2/10/2019 Amado Lugo                  $11.00   51.27   $    8.85         $    61.97   $     61.97
 2/17/2019 Amado Lugo                  $11.00   44.77   $    8.85         $    26.22   $     26.22
 2/24/2019 Amado Lugo                  $11.00   45.77   $    8.85         $    31.72   $     31.72
  3/3/2019 Amado Lugo                  $11.00   49.23   $    8.85         $    50.78   $     50.78
 3/10/2019 Amado Lugo                  $11.00   49.57   $    8.85         $    52.62   $     52.62
 3/17/2019 Amado Lugo                  $11.00   50.27   $    8.85         $    56.47   $     56.47
 3/24/2019 Amado Lugo                  $11.00   50.53   $    8.85         $    57.93   $     57.93
 3/31/2019 Amado Lugo                  $11.00   51.33   $    8.85         $    62.33   $     62.33
  4/7/2019 Amado Lugo                  $11.00   40.60   $    8.85         $     3.30   $      3.30
 4/14/2019 Amado Lugo                  $11.00   50.83   $    8.85         $    59.58   $     59.58
 4/21/2019 Amado Lugo                  $11.00   50.20   $    8.85         $    56.10   $     56.10
 4/28/2019 Amado Lugo                  $11.00   51.43   $    8.85         $    62.88   $     62.88
  5/5/2019 Amado Lugo                  $11.00   49.62   $    8.85         $    52.89   $     52.89
 5/12/2019 Amado Lugo                  $11.00   50.65   $    8.85         $    58.58   $     58.58
 5/19/2019 Amado Lugo                  $11.00   50.37   $    8.85         $    57.02   $     57.02
 5/26/2019 Amado Lugo                  $11.00   52.38   $    8.85         $    68.11   $     68.11
  6/9/2019 Amado Lugo                  $11.00   51.50   $    8.85         $    63.25   $     63.25
 6/16/2019 Amado Lugo                  $11.00   51.15   $    8.85         $    61.33   $     61.33
 6/23/2019 Amado Lugo                  $11.00   51.00   $    8.85         $    60.50   $     60.50
 6/30/2019 Amado Lugo                  $11.00   50.60   $   10.00         $    58.30   $     58.30
  7/7/2019 Amado Lugo                  $12.00   40.58   $   10.00         $     3.50   $      3.50



                                          33
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 35 of 683 PageID: 882
                                                  Exhibit 2
                                          New Jersey Computations


  Week                                                           State Section 7: Section 7: Total Section 7
                                                 Hourly Hours/
 Ending                      Name                              Minumum Regular    Half-Time Overtime Back
                                                  Rate Week
  Date                                                           Wage  Rate Due     Due       Wages Due

 7/14/2019 Amado Lugo                            $12.00   54.20   $   10.00               $    85.20   $    85.20
 7/21/2019 Amado Lugo                            $12.00   50.68   $   10.00               $    64.10   $    64.10
 7/28/2019 Amado Lugo                            $12.00   52.05   $   10.00               $    72.30   $    72.30
  8/4/2019 Amado Lugo                            $12.00   48.00   $   10.00               $    48.00   $    48.00
 8/11/2019 Amado Lugo                            $12.00   53.67   $   10.00               $    82.00   $    82.00
 8/18/2019 Amado Lugo                            $12.00   51.87   $   10.00               $    71.20   $    71.20
 8/25/2019 Amado Lugo                            $12.00   50.95   $   10.00               $    65.70   $    65.70
  9/8/2019 Amado Lugo                            $12.00   40.13   $   10.00               $     0.80   $     0.80
 9/15/2019 Amado Lugo                            $12.00   50.68   $   10.00               $    64.10   $    64.10
 9/22/2019 Amado Lugo                            $12.00   50.42   $   10.00               $    62.50   $    62.50
 9/29/2019 Amado Lugo                            $12.00   50.70   $   10.00               $    64.20   $    64.20
 10/6/2019 Amado Lugo                            $12.00   41.02   $   10.00               $     6.10   $     6.10
10/13/2019 Amado Lugo                            $12.00   49.92   $   10.00               $    59.50   $    59.50
10/20/2019 Amado Lugo                            $12.00   51.40   $   10.00               $    68.40   $    68.40
10/27/2019 Amado Lugo                            $12.00   45.87   $   10.00               $    35.20   $    35.20
 11/3/2019 Amado Lugo                            $12.00   45.97   $   10.00               $    35.80   $    35.80
11/10/2019 Amado Lugo                            $12.00   46.83   $   10.00               $    41.00   $    41.00
11/17/2019 Amado Lugo                            $12.00   45.85   $   10.00               $    35.10   $    35.10
11/24/2019 Amado Lugo                            $12.00   47.45   $   10.00               $    44.70   $    44.70
 12/8/2019 Amado Lugo                            $12.00   46.88   $   10.00               $    41.30   $    41.30
12/15/2019 Amado Lugo                            $12.00   51.83   $   10.00               $    71.00   $    71.00
12/22/2019 Amado Lugo                            $12.00   52.07   $   10.00               $    72.40   $    72.40
12/29/2019 Amado Lugo                            $12.00   41.37   $   10.00               $     8.20   $     8.20
 1/12/2020 Amado Lugo                            $12.00   51.78   $   11.00               $    70.70   $    70.70
 1/19/2020 Amado Lugo                            $12.00   51.28   $   11.00               $    67.70   $    67.70
 1/26/2020 Amado Lugo                            $12.00   51.30   $   11.00               $    67.80   $    67.80
11/24/2019 Amalvi Mercedez Mota Ramirez           $9.50   58.98   $   10.00   $   29.49   $    94.92   $   124.41
 12/8/2019 Amalvi Mercedez Mota Ramirez           $9.50   45.98   $   10.00   $   22.99   $    29.92   $    52.91
12/15/2019 Amalvi Mercedez Mota Ramirez           $9.50   53.67   $   10.00   $   26.83   $    68.33   $    95.17
12/22/2019 Amalvi Mercedez Mota Ramirez           $9.50   55.78   $   10.00   $   27.89   $    78.92   $   106.81
12/29/2019 Amalvi Mercedez Mota Ramirez           $9.50   47.23   $   10.00   $   23.62   $    36.17   $    59.78
  1/5/2020 Amalvi Mercedez Mota Ramirez          $10.00   49.02   $   11.00   $   49.02   $    49.59   $    98.61
 1/12/2020 Amalvi Mercedez Mota Ramirez          $10.00   65.60   $   11.00   $   65.60   $   140.80   $   206.40
 1/19/2020 Amalvi Mercedez Mota Ramirez          $10.00   56.62   $   11.00   $   56.62   $    91.39   $   148.01
 1/26/2020 Amalvi Mercedez Mota Ramirez          $10.00   66.70   $   11.00   $   66.70   $   146.85   $   213.55
 8/11/2019 Americo Romero Soto                    $9.50   45.23   $   10.00   $   22.62   $    26.17   $    48.78
 8/18/2019 Americo Romero Soto                    $9.50   52.98   $   10.00   $   26.49   $    64.92   $    91.41
 8/25/2019 Americo Romero Soto                    $9.50   50.83   $   10.00   $   25.42   $    54.17   $    79.58
  9/1/2019 Americo Romero Soto                    $9.50   42.23   $   10.00   $   21.12   $    11.17   $    32.28
 9/15/2019 Americo Romero Soto                    $9.50   41.48   $   10.00   $   20.74   $     7.42   $    28.16
 9/22/2019 Americo Romero Soto                    $9.50   50.87   $   10.00   $   25.43   $    54.33   $    79.77
 9/29/2019 Americo Romero Soto                    $9.50   41.13   $   10.00   $   20.57   $     5.67   $    26.23
 10/6/2019 Americo Romero Soto                    $9.50   52.17   $   10.00   $   26.08   $    60.83   $    86.92
 12/8/2019 Ana Mariela Luna                      $10.00   63.47   $   10.00               $   117.33   $   117.33
12/15/2019 Ana Mariela Luna                      $10.00   63.12   $   10.00               $   115.58   $   115.58
12/22/2019 Ana Mariela Luna                      $10.00   43.23   $   10.00               $    16.17   $    16.17
 1/12/2020 Ana Mariela Luna                      $10.00   50.57   $   11.00   $   50.57   $    58.12   $   108.68
 1/19/2020 Ana Mariela Luna                      $10.00   52.73   $   11.00   $   52.73   $    70.03   $   122.77
 1/26/2020 Ana Mariela Luna                      $10.00   62.47   $   11.00   $   62.47   $   123.57   $   186.03
  6/9/2019 Anastasio Gonzales                     $8.85   61.58   $    8.85               $    95.51   $    95.51



                                                    34
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 36 of 683 PageID: 883
                                                  Exhibit 2
                                          New Jersey Computations


  Week                                                           State Section 7: Section 7: Total Section 7
                                                 Hourly Hours/
 Ending                      Name                              Minumum Regular    Half-Time Overtime Back
                                                  Rate Week
  Date                                                           Wage  Rate Due     Due       Wages Due

 6/16/2019 Anastasio Gonzales                     $8.85   71.23   $    8.85               $   138.21   $   138.21
 6/23/2019 Anastasio Gonzales                     $8.85   57.82   $    8.85               $    78.84   $    78.84
 6/30/2019 Anastasio Gonzales                     $8.85   69.77   $   10.00   $   80.23   $   148.83   $   229.07
  7/7/2019 Anastasio Gonzales                    $10.00   55.03   $   10.00               $    75.17   $    75.17
 7/14/2019 Anastasio Gonzales                    $10.00   67.20   $   10.00               $   136.00   $   136.00
 7/21/2019 Anastasio Gonzales                    $10.00   65.88   $   10.00               $   129.42   $   129.42
 7/28/2019 Anastasio Gonzales                    $10.00   68.18   $   10.00               $   140.92   $   140.92
  8/4/2019 Anastasio Gonzales                    $10.00   52.22   $   10.00               $    61.08   $    61.08
 8/11/2019 Anastasio Gonzales                    $10.00   62.90   $   10.00               $   114.50   $   114.50
 8/18/2019 Anastasio Gonzales                    $10.00   41.70   $   10.00               $     8.50   $     8.50
 8/25/2019 Anastasio Gonzales                    $10.00   49.78   $   10.00               $    48.92   $    48.92
  9/1/2019 Anastasio Gonzales                    $10.00   40.80   $   10.00               $     4.00   $     4.00
 9/15/2019 Anastasio Gonzales                    $10.00   42.72   $   10.00               $    13.58   $    13.58
 9/29/2019 Anastasio Gonzales                    $10.00   50.38   $   10.00               $    51.92   $    51.92
 10/6/2019 Anastasio Gonzales                    $10.00   61.58   $   10.00               $   107.92   $   107.92
10/20/2019 Anastasio Gonzales                    $10.00   48.55   $   10.00               $    42.75   $    42.75
10/27/2019 Anastasio Gonzales                    $10.00   71.67   $   10.00               $   158.33   $   158.33
 11/3/2019 Anastasio Gonzales                    $10.00   48.65   $   10.00               $    43.25   $    43.25
11/10/2019 Anastasio Gonzales                    $10.00   48.98   $   10.00               $    44.92   $    44.92
11/17/2019 Anastasio Gonzales                    $10.00   50.37   $   10.00               $    51.83   $    51.83
11/24/2019 Anastasio Gonzales                    $10.00   48.18   $   10.00               $    40.92   $    40.92
 12/8/2019 Anastasio Gonzales                    $10.00   46.72   $   10.00               $    33.58   $    33.58
12/15/2019 Anastasio Gonzales                    $10.00   57.17   $   10.00               $    85.83   $    85.83
12/22/2019 Anastasio Gonzales                    $10.00   59.48   $   10.00               $    97.42   $    97.42
  1/5/2020 Anastasio Gonzales                    $10.00   46.70   $   11.00   $   46.70   $    36.85   $    83.55
 1/12/2020 Anastasio Gonzales                    $10.00   56.77   $   11.00   $   56.77   $    92.22   $   148.98
 1/19/2020 Anastasio Gonzales                    $10.00   44.30   $   11.00   $   44.30   $    23.65   $    67.95
 1/26/2020 Anastasio Gonzales                    $10.00   44.28   $   11.00   $   44.28   $    23.56   $    67.84
 5/19/2019 Anderson Alonso Ruano Mancia          $10.00   47.00   $    8.85               $    35.00   $    35.00
 5/26/2019 Anderson Alonso Ruano Mancia          $10.00   42.78   $    8.85               $    13.92   $    13.92
  6/2/2019 Anderson Alonso Ruano Mancia          $10.00   52.80   $    8.85               $    64.00   $    64.00
  6/9/2019 Anderson Alonso Ruano Mancia          $10.00   46.93   $    8.85               $    34.67   $    34.67
 6/23/2019 Anderson Alonso Ruano Mancia          $10.00   57.82   $    8.85               $    89.08   $    89.08
 6/30/2019 Anderson Alonso Ruano Mancia          $10.00   85.98   $   10.00               $   229.92   $   229.92
 7/14/2019 Anderson Alonso Ruano Mancia          $10.00   56.88   $   10.00               $    84.42   $    84.42
 7/21/2019 Anderson Alonso Ruano Mancia          $10.00   68.93   $   10.00               $   144.67   $   144.67
 7/28/2019 Anderson Alonso Ruano Mancia          $10.00   68.20   $   10.00               $   141.00   $   141.00
  8/4/2019 Anderson Alonso Ruano Mancia          $10.00   67.73   $   10.00               $   138.67   $   138.67
 8/11/2019 Anderson Alonso Ruano Mancia          $10.00   71.23   $   10.00               $   156.17   $   156.17
 8/18/2019 Anderson Alonso Ruano Mancia          $10.00   86.12   $   10.00               $   230.58   $   230.58
 8/25/2019 Anderson Alonso Ruano Mancia          $10.00   71.35   $   10.00               $   156.75   $   156.75
  9/1/2019 Anderson Alonso Ruano Mancia          $10.00   85.23   $   10.00               $   226.17   $   226.17
 9/15/2019 Anderson Alonso Ruano Mancia          $10.00   48.47   $   10.00               $    42.33   $    42.33
 9/22/2019 Anderson Alonso Ruano Mancia          $10.00   41.70   $   10.00               $     8.50   $     8.50
 9/29/2019 Anderson Alonso Ruano Mancia          $10.00   40.28   $   10.00               $     1.42   $     1.42
 10/6/2019 Anderson Alonso Ruano Mancia          $10.00   48.10   $   10.00               $    40.50   $    40.50
10/13/2019 Anderson Alonso Ruano Mancia          $10.00   46.80   $   10.00               $    34.00   $    34.00
 11/3/2019 Anderson Alonso Ruano Mancia          $10.00   43.72   $   10.00               $    18.58   $    18.58
11/10/2019 Anderson Alonso Ruano Mancia          $11.00   43.37   $   10.00               $    18.52   $    18.52
12/15/2019 Anderson Alonso Ruano Mancia          $10.00   44.03   $   10.00               $    20.17   $    20.17



                                                    35
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 37 of 683 PageID: 884
                                                  Exhibit 2
                                          New Jersey Computations


  Week                                                           State Section 7: Section 7: Total Section 7
                                                 Hourly Hours/
 Ending                      Name                              Minumum Regular    Half-Time Overtime Back
                                                  Rate Week
  Date                                                           Wage  Rate Due     Due       Wages Due

  1/5/2020 Anderson Alonso Ruano Mancia          $10.00   46.30   $   11.00   $   46.30   $    34.65   $    80.95
 1/19/2020 Anderson Alonso Ruano Mancia          $10.00   44.27   $   11.00   $   44.27   $    23.47   $    67.73
 1/26/2020 Anderson Alonso Ruano Mancia          $10.00   43.23   $   11.00   $   43.23   $    17.78   $    61.02
 3/31/2019 Andre Vallejos                         $9.50   50.65   $    8.85               $    50.59   $    50.59
 7/28/2019 Andres G. Hernandez                   $12.00   75.48   $   10.00               $   212.90   $   212.90
  8/4/2019 Andres G. Hernandez                   $12.00   68.53   $   10.00               $   171.20   $   171.20
 8/11/2019 Andres G. Hernandez                   $12.00   69.83   $   10.00               $   179.00   $   179.00
 8/18/2019 Andres G. Hernandez                   $12.00   70.95   $   10.00               $   185.70   $   185.70
 8/25/2019 Andres G. Hernandez                   $12.00   75.03   $   10.00               $   210.20   $   210.20
  9/1/2019 Andres G. Hernandez                   $12.00   74.38   $   10.00               $   206.30   $   206.30
  9/8/2019 Andres G. Hernandez                   $12.00   73.70   $   10.00               $   202.20   $   202.20
 9/15/2019 Andres G. Hernandez                   $12.00   69.88   $   10.00               $   179.30   $   179.30
 9/22/2019 Andres G. Hernandez                   $12.00   72.32   $   10.00               $   193.90   $   193.90
 9/29/2019 Andres G. Hernandez                   $12.00   73.13   $   10.00               $   198.80   $   198.80
 10/6/2019 Andres G. Hernandez                   $12.00   72.10   $   10.00               $   192.60   $   192.60
10/13/2019 Andres G. Hernandez                   $12.00   60.50   $   10.00               $   123.00   $   123.00
10/20/2019 Andres G. Hernandez                   $12.00   66.02   $   10.00               $   156.10   $   156.10
10/27/2019 Andres G. Hernandez                   $12.00   63.75   $   10.00               $   142.50   $   142.50
 11/3/2019 Andres G. Hernandez                   $12.00   69.33   $   10.00               $   176.00   $   176.00
11/10/2019 Andres G. Hernandez                   $12.00   71.85   $   10.00               $   191.10   $   191.10
11/17/2019 Andres G. Hernandez                   $12.00   61.43   $   10.00               $   128.60   $   128.60
11/24/2019 Andres G. Hernandez                   $12.00   82.12   $   10.00               $   252.70   $   252.70
 12/1/2019 Andres G. Hernandez                   $12.00   62.80   $   10.00               $   136.80   $   136.80
 12/8/2019 Andres G. Hernandez                   $12.00   72.03   $   10.00               $   192.20   $   192.20
12/15/2019 Andres G. Hernandez                   $12.00   59.07   $   10.00               $   114.40   $   114.40
12/22/2019 Andres G. Hernandez                   $12.00   71.72   $   10.00               $   190.30   $   190.30
12/29/2019 Andres G. Hernandez                   $12.00   53.50   $   10.00               $    81.00   $    81.00
  1/5/2020 Andres G. Hernandez                   $12.00   48.35   $   11.00               $    50.10   $    50.10
 1/12/2020 Andres G. Hernandez                   $12.00   67.12   $   11.00               $   162.70   $   162.70
 1/19/2020 Andres G. Hernandez                   $12.00   66.67   $   11.00               $   160.00   $   160.00
 1/26/2020 Andres G. Hernandez                   $12.00   76.53   $   11.00               $   219.20   $   219.20
 11/4/2018 Andrweus M. Ramos Gomez                $9.75   55.32   $    8.60               $    74.67   $    74.67
11/11/2018 Andrweus M. Ramos Gomez                $9.75   57.57   $    8.60               $    85.64   $    85.64
11/18/2018 Andrweus M. Ramos Gomez                $9.75   57.08   $    8.60               $    83.28   $    83.28
11/25/2018 Andrweus M. Ramos Gomez                $9.75   42.95   $    8.60               $    14.38   $    14.38
 12/2/2018 Andrweus M. Ramos Gomez                $9.75   69.58   $    8.60               $   144.22   $   144.22
 12/9/2018 Andrweus M. Ramos Gomez                $9.75   64.12   $    8.60               $   117.57   $   117.57
12/16/2018 Andrweus M. Ramos Gomez                $9.75   60.13   $    8.60               $    98.15   $    98.15
12/23/2018 Andrweus M. Ramos Gomez                $9.75   60.55   $    8.60               $   100.18   $   100.18
12/30/2018 Andrweus M. Ramos Gomez                $9.75   40.25   $    8.60               $     1.22   $     1.22
  1/6/2019 Andrweus M. Ramos Gomez                $9.75   54.42   $    8.85               $    70.28   $    70.28
 1/13/2019 Andrweus M. Ramos Gomez                $9.75   70.47   $    8.85               $   148.53   $   148.53
 1/20/2019 Andrweus M. Ramos Gomez                $9.75   66.95   $    8.85               $   131.38   $   131.38
 1/27/2019 Andrweus M. Ramos Gomez                $9.75   59.75   $    8.85               $    96.28   $    96.28
  2/3/2019 Andrweus M. Ramos Gomez                $9.75   62.67   $    8.85               $   110.50   $   110.50
 2/10/2019 Andrweus M. Ramos Gomez                $9.75   64.58   $    8.85               $   119.84   $   119.84
 2/17/2019 Andrweus M. Ramos Gomez                $9.75   65.23   $    8.85               $   123.01   $   123.01
 2/24/2019 Andrweus M. Ramos Gomez                $9.75   60.57   $    8.85               $   100.26   $   100.26
  3/3/2019 Andrweus M. Ramos Gomez                $9.75   62.90   $    8.85               $   111.64   $   111.64
 3/10/2019 Andrweus M. Ramos Gomez                $9.75   50.25   $    8.85               $    49.97   $    49.97



                                                    36
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 38 of 683 PageID: 885
                                             Exhibit 2
                                     New Jersey Computations


  Week                                                      State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
 Ending                    Name                           Minumum Regular    Half-Time Overtime Back
                                             Rate Week
  Date                                                      Wage  Rate Due     Due       Wages Due

 3/17/2019 Andrweus M. Ramos Gomez           $9.75   64.28   $    8.85               $   118.38   $   118.38
 3/24/2019 Andrweus M. Ramos Gomez           $9.75   63.23   $    8.85               $   113.26   $   113.26
 3/31/2019 Andrweus M. Ramos Gomez           $9.75   74.45   $    8.85               $   167.94   $   167.94
  4/7/2019 Andrweus M. Ramos Gomez           $9.75   51.30   $    8.85               $    55.09   $    55.09
 4/14/2019 Andrweus M. Ramos Gomez           $9.75   55.93   $    8.85               $    77.68   $    77.68
 4/21/2019 Andrweus M. Ramos Gomez           $9.75   52.40   $    8.85               $    60.45   $    60.45
 4/28/2019 Andrweus M. Ramos Gomez           $9.75   43.65   $    8.85               $    17.79   $    17.79
  5/5/2019 Andrweus M. Ramos Gomez           $9.75   59.85   $    8.85               $    96.77   $    96.77
 5/12/2019 Andrweus M. Ramos Gomez           $9.75   52.12   $    8.85               $    59.07   $    59.07
 5/19/2019 Andrweus M. Ramos Gomez           $9.75   57.37   $    8.85               $    84.66   $    84.66
 5/26/2019 Andrweus M. Ramos Gomez           $9.75   59.35   $    8.85               $    94.33   $    94.33
  6/2/2019 Andrweus M. Ramos Gomez           $9.75   56.17   $    8.85               $    78.81   $    78.81
  6/9/2019 Andrweus M. Ramos Gomez           $9.75   57.82   $    8.85               $    86.86   $    86.86
 6/16/2019 Andrweus M. Ramos Gomez           $9.75   56.32   $    8.85               $    79.54   $    79.54
 6/23/2019 Andrweus M. Ramos Gomez           $9.75   60.83   $    8.85               $   101.56   $   101.56
 6/30/2019 Andrweus M. Ramos Gomez           $9.75   58.78   $   10.00   $   14.70   $    93.92   $   108.61
  7/7/2019 Andrweus M. Ramos Gomez          $10.75   47.03   $   10.00               $    37.80   $    37.80
 7/14/2019 Andrweus M. Ramos Gomez          $10.75   60.72   $   10.00               $   111.35   $   111.35
 7/21/2019 Andrweus M. Ramos Gomez          $10.75   55.05   $   10.00               $    80.89   $    80.89
 7/28/2019 Andrweus M. Ramos Gomez          $10.75   58.60   $   10.00               $    99.98   $    99.98
  8/4/2019 Andrweus M. Ramos Gomez          $10.75   49.33   $   10.00               $    50.17   $    50.17
 8/11/2019 Andrweus M. Ramos Gomez          $10.75   70.38   $   10.00               $   163.31   $   163.31
 8/18/2019 Andrweus M. Ramos Gomez          $10.75   50.98   $   10.00               $    59.04   $    59.04
 8/25/2019 Andrweus M. Ramos Gomez          $10.75   51.20   $   10.00               $    60.20   $    60.20
  9/1/2019 Andrweus M. Ramos Gomez          $10.75   56.65   $   10.00               $    89.49   $    89.49
  9/8/2019 Andrweus M. Ramos Gomez          $10.75   58.00   $   10.00               $    96.75   $    96.75
 9/15/2019 Andrweus M. Ramos Gomez          $10.75   55.62   $   10.00               $    83.94   $    83.94
 9/22/2019 Andrweus M. Ramos Gomez          $10.75   45.28   $   10.00               $    28.40   $    28.40
 9/29/2019 Andrweus M. Ramos Gomez          $10.75   56.13   $   10.00               $    86.72   $    86.72
 10/6/2019 Andrweus M. Ramos Gomez          $10.75   54.48   $   10.00               $    77.85   $    77.85
10/13/2019 Andrweus M. Ramos Gomez          $10.75   52.22   $   10.00               $    65.66   $    65.66
10/20/2019 Andrweus M. Ramos Gomez          $10.75   50.85   $   10.00               $    58.32   $    58.32
10/27/2019 Andrweus M. Ramos Gomez          $10.75   51.73   $   10.00               $    63.07   $    63.07
 11/3/2019 Andrweus M. Ramos Gomez          $10.75   50.22   $   10.00               $    54.91   $    54.91
11/10/2019 Andrweus M. Ramos Gomez          $10.75   51.68   $   10.00               $    62.80   $    62.80
11/17/2019 Andrweus M. Ramos Gomez          $10.75   58.67   $   10.00               $   100.33   $   100.33
11/24/2019 Andrweus M. Ramos Gomez          $10.75   60.10   $   10.00               $   108.04   $   108.04
 12/1/2019 Andrweus M. Ramos Gomez          $10.75   42.08   $   10.00               $    11.20   $    11.20
 12/8/2019 Andrweus M. Ramos Gomez          $10.75   61.08   $   10.00               $   113.32   $   113.32
12/15/2019 Andrweus M. Ramos Gomez          $10.75   47.90   $   10.00               $    42.46   $    42.46
12/22/2019 Andrweus M. Ramos Gomez          $10.75   48.30   $   10.00               $    44.61   $    44.61
 1/12/2020 Andrweus M. Ramos Gomez          $10.75   51.07   $   11.00   $   12.77   $    60.87   $    73.63
 1/19/2020 Andrweus M. Ramos Gomez          $10.75   58.00   $   11.00   $   14.50   $    99.00   $   113.50
 1/26/2020 Andrweus M. Ramos Gomez          $10.75   69.38   $   11.00   $   17.35   $   161.61   $   178.95
 11/4/2018 Aneudy Mateo                     $10.00   63.18   $    8.60               $   115.92   $   115.92
11/11/2018 Aneudy Mateo                     $10.00   45.08   $    8.60               $    25.42   $    25.42
11/18/2018 Aneudy Mateo                     $10.00   62.82   $    8.60               $   114.08   $   114.08
11/25/2018 Aneudy Mateo                     $10.00   49.78   $    8.60               $    48.92   $    48.92
 12/2/2018 Aneudy Mateo                     $10.00   41.60   $    8.60               $     8.00   $     8.00
  6/3/2018 Aneudy Perdomojerez              $10.00   60.32   $    8.60               $   101.58   $   101.58



                                               37
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 39 of 683 PageID: 886
                                            Exhibit 2
                                    New Jersey Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
  Date                                                     Wage  Rate Due     Due       Wages Due

 6/10/2018 Aneudy Perdomojerez             $10.00   59.52   $    8.60               $    97.58   $    97.58
 6/17/2018 Aneudy Perdomojerez             $10.00   42.90   $    8.60               $    14.50   $    14.50
 6/24/2018 Aneudy Perdomojerez             $10.00   59.45   $    8.60               $    97.25   $    97.25
 7/22/2018 Aneudy Perdomojerez             $10.50   60.82   $    8.60               $   109.29   $   109.29
 7/29/2018 Aneudy Perdomojerez             $10.50   54.32   $    8.60               $    75.16   $    75.16
  8/5/2018 Aneudy Perdomojerez             $10.50   64.07   $    8.60               $   126.35   $   126.35
 8/12/2018 Aneudy Perdomojerez             $10.50   58.28   $    8.60               $    95.99   $    95.99
 8/19/2018 Aneudy Perdomojerez             $10.50   56.80   $    8.60               $    88.20   $    88.20
 8/26/2018 Aneudy Perdomojerez             $10.50   48.52   $    8.60               $    44.71   $    44.71
  9/2/2018 Aneudy Perdomojerez             $10.50   49.12   $    8.60               $    47.86   $    47.86
  9/9/2018 Aneudy Perdomojerez             $10.50   47.48   $    8.60               $    39.29   $    39.29
 9/16/2018 Aneudy Perdomojerez             $10.50   67.32   $    8.60               $   143.41   $   143.41
 9/23/2018 Aneudy Perdomojerez             $10.50   45.73   $    8.60               $    30.10   $    30.10
 9/30/2018 Aneudy Perdomojerez             $10.50   66.20   $    8.60               $   137.55   $   137.55
10/14/2018 Aneudy Perdomojerez             $10.50   55.73   $    8.60               $    82.60   $    82.60
10/21/2018 Aneudy Perdomojerez             $10.50   65.00   $    8.60               $   131.25   $   131.25
 11/4/2018 Aneudy Perdomojerez             $10.50   66.80   $    8.60               $   140.70   $   140.70
11/11/2018 Aneudy Perdomojerez             $10.50   62.02   $    8.60               $   115.59   $   115.59
  9/8/2019 Aneudy Perdomojerez             $11.00   64.93   $   10.00               $   137.13   $   137.13
 9/22/2019 Aneudy Perdomojerez             $11.00   71.45   $   10.00               $   172.98   $   172.98
 9/29/2019 Aneudy Perdomojerez             $11.00   62.02   $   10.00               $   121.09   $   121.09
  8/4/2019 Aneudy R. Coco                  $10.50   57.18   $   10.00               $    90.21   $    90.21
 8/11/2019 Aneudy R. Coco                  $10.50   63.63   $   10.00               $   124.08   $   124.08
 8/18/2019 Aneudy R. Coco                  $10.50   49.03   $   10.00               $    47.43   $    47.43
 8/25/2019 Aneudy R. Coco                  $10.50   50.38   $   10.00               $    54.51   $    54.51
  9/1/2019 Aneudy R. Coco                  $10.50   60.30   $   10.00               $   106.58   $   106.58
  9/8/2019 Aneudy R. Coco                  $10.50   53.35   $   10.00               $    70.09   $    70.09
 9/15/2019 Aneudy R. Coco                  $10.50   55.28   $   10.00               $    80.24   $    80.24
 9/22/2019 Aneudy R. Coco                  $10.50   49.92   $   10.00               $    52.06   $    52.06
 9/29/2019 Aneudy R. Coco                  $10.50   42.37   $   10.00               $    12.43   $    12.43
 7/21/2019 Angel Ageniel Arias              $9.50   64.03   $   10.00   $   32.02   $   120.17   $   152.18
 7/28/2019 Angel Ageniel Arias              $9.50   57.22   $   10.00   $   28.61   $    86.08   $   114.69
  8/4/2019 Angel Ageniel Arias              $9.50   66.57   $   10.00   $   33.28   $   132.83   $   166.12
 8/11/2019 Angel Ageniel Arias              $9.50   57.55   $   10.00   $   28.78   $    87.75   $   116.53
 8/18/2019 Angel Almodovar                 $10.00   72.33   $   10.00               $   161.67   $   161.67
 8/25/2019 Angel Almodovar                 $10.00   59.50   $   10.00               $    97.50   $    97.50
  9/1/2019 Angel Almodovar                 $10.00   48.48   $   10.00               $    42.42   $    42.42
  9/8/2019 Angel Almodovar                 $10.00   45.55   $   10.00               $    27.75   $    27.75
 9/15/2019 Angel Almodovar                 $10.00   49.12   $   10.00               $    45.58   $    45.58
 9/22/2019 Angel Almodovar                 $10.00   74.17   $   10.00               $   170.83   $   170.83
 9/29/2019 Angel Almodovar                 $10.00   58.22   $   10.00               $    91.08   $    91.08
10/13/2019 Angel Almodovar                 $10.00   70.48   $   10.00               $   152.42   $   152.42
10/20/2019 Angel Almodovar                 $10.00   49.62   $   10.00               $    48.08   $    48.08
10/27/2019 Angel Almodovar                 $10.00   51.02   $   10.00               $    55.08   $    55.08
 11/3/2019 Angel Almodovar                 $10.00   51.60   $   10.00               $    58.00   $    58.00
11/17/2019 Angel Almodovar                 $10.00   53.47   $   10.00               $    67.33   $    67.33
11/24/2019 Angel Almodovar                 $10.00   44.87   $   10.00               $    24.33   $    24.33
 12/1/2019 Angel Almodovar                 $10.00   43.90   $   10.00               $    19.50   $    19.50
 12/8/2019 Angel Almodovar                 $10.00   62.48   $   10.00               $   112.42   $   112.42
12/15/2019 Angel Almodovar                 $10.00   51.05   $   10.00               $    55.25   $    55.25



                                              38
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 40 of 683 PageID: 887
                                            Exhibit 2
                                    New Jersey Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
  Date                                                     Wage  Rate Due     Due       Wages Due

12/22/2019 Angel Almodovar                 $10.00   56.32   $   10.00               $    81.58   $    81.58
12/29/2019 Angel Almodovar                 $10.00   47.45   $   10.00               $    37.25   $    37.25
  1/5/2020 Angel Almodovar                 $10.00   44.98   $   11.00   $   44.98   $    27.41   $    72.39
 1/12/2020 Angel Almodovar                 $10.00   69.10   $   11.00   $   69.10   $   160.05   $   229.15
 1/19/2020 Angel Almodovar                 $10.00   57.70   $   11.00   $   57.70   $    97.35   $   155.05
 1/26/2020 Angel Almodovar                 $10.00   50.00   $   11.00   $   50.00   $    55.00   $   105.00
 8/27/2017 Angel Garcia                    $13.00   42.80   $    8.44               $    18.20   $    18.20
  9/3/2017 Angel Garcia                    $13.00   42.70   $    8.44               $    17.55   $    17.55
 9/17/2017 Angel Garcia                    $13.00   42.27   $    8.44               $    14.73   $    14.73
 10/1/2017 Angel Garcia                    $13.00   42.87   $    8.44               $    18.63   $    18.63
 10/8/2017 Angel Garcia                    $13.00   42.62   $    8.44               $    17.01   $    17.01
10/15/2017 Angel Garcia                    $13.00   42.50   $    8.44               $    16.25   $    16.25
10/22/2017 Angel Garcia                    $13.00   48.62   $    8.44               $    56.01   $    56.01
11/19/2017 Angel Garcia                    $13.00   43.08   $    8.44               $    20.04   $    20.04
 12/3/2017 Angel Garcia                    $13.00   42.63   $    8.44               $    17.12   $    17.12
 5/13/2018 Angel Garcia                    $13.00   43.80   $    8.60               $    24.70   $    24.70
 5/27/2018 Angel Garcia                    $13.00   41.03   $    8.60               $     6.72   $     6.72
 6/17/2018 Angel Garcia                    $13.00   41.22   $    8.60               $     7.91   $     7.91
  7/1/2018 Angel Garcia                    $13.00   40.08   $    8.60               $     0.54   $     0.54
 4/15/2018 Angel Gomez                      $9.00   57.58   $    8.60               $    79.13   $    79.13
 4/22/2018 Angel Gomez                      $9.00   57.02   $    8.60               $    76.58   $    76.58
 4/29/2018 Angel Gomez                      $9.00   57.53   $    8.60               $    78.90   $    78.90
  5/6/2018 Angel Gomez                      $9.00   57.15   $    8.60               $    77.18   $    77.18
 5/13/2018 Angel Gomez                      $9.00   57.37   $    8.60               $    78.15   $    78.15
 5/20/2018 Angel Gomez                      $9.00   57.72   $    8.60               $    79.73   $    79.73
 5/27/2018 Angel Gomez                      $9.00   57.97   $    8.60               $    80.85   $    80.85
  6/3/2018 Angel Gomez                      $9.00   47.88   $    8.60               $    35.48   $    35.48
 6/10/2018 Angel Gomez                      $9.00   61.07   $    8.60               $    94.80   $    94.80
 6/17/2018 Angel Gomez                      $9.00   69.27   $    8.60               $   131.70   $   131.70
 6/24/2018 Angel Gomez                      $9.00   64.33   $    8.60               $   109.50   $   109.50
  7/1/2018 Angel Gomez                      $9.00   64.13   $    8.60               $   108.60   $   108.60
  7/8/2018 Angel Gomez                      $9.00   55.35   $    8.60               $    69.08   $    69.08
 7/15/2018 Angel Gomez                      $9.00   68.53   $    8.60               $   128.40   $   128.40
 7/22/2018 Angel Gomez                      $9.00   69.02   $    8.60               $   130.58   $   130.58
 7/29/2018 Angel Gomez                      $9.00   72.85   $    8.60               $   147.83   $   147.83
  8/5/2018 Angel Gomez                      $9.00   70.65   $    8.60               $   137.93   $   137.93
 8/12/2018 Angel Gomez                      $9.00   69.35   $    8.60               $   132.08   $   132.08
 8/19/2018 Angel Gomez                      $9.00   68.27   $    8.60               $   127.20   $   127.20
 8/26/2018 Angel Gomez                      $9.00   73.58   $    8.60               $   151.13   $   151.13
  9/2/2018 Angel Gomez                      $9.00   74.18   $    8.60               $   153.83   $   153.83
  9/9/2018 Angel Gomez                      $9.00   67.85   $    8.60               $   125.33   $   125.33
 9/16/2018 Angel Gomez                      $9.00   71.32   $    8.60               $   140.93   $   140.93
 9/23/2018 Angel Gomez                      $9.00   57.20   $    8.60               $    77.40   $    77.40
 9/30/2018 Angel Gomez                      $9.50   70.97   $    8.60               $   147.09   $   147.09
 10/7/2018 Angel Gomez                      $9.50   75.70   $    8.60               $   169.58   $   169.58
10/14/2018 Angel Gomez                      $9.50   73.27   $    8.60               $   158.02   $   158.02
10/21/2018 Angel Gomez                      $9.50   58.45   $    8.60               $    87.64   $    87.64
10/28/2018 Angel Gomez                      $9.50   71.63   $    8.60               $   150.26   $   150.26
 11/4/2018 Angel Gomez                      $9.50   65.13   $    8.60               $   119.38   $   119.38
11/11/2018 Angel Gomez                      $9.50   54.28   $    8.60               $    67.85   $    67.85



                                              39
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 41 of 683 PageID: 888
                                        Exhibit 2
                                New Jersey Computations


  Week                                                 State Section 7: Section 7: Total Section 7
                                       Hourly Hours/
 Ending                  Name                        Minumum Regular    Half-Time Overtime Back
                                        Rate Week
  Date                                                 Wage  Rate Due     Due       Wages Due

11/18/2018 Angel Gomez                  $9.50   66.43   $    8.60               $   125.56   $   125.56
11/25/2018 Angel Gomez                  $9.50   53.52   $    8.60               $    64.20   $    64.20
 12/2/2018 Angel Gomez                  $9.50   63.67   $    8.60               $   112.42   $   112.42
 12/9/2018 Angel Gomez                  $9.50   67.65   $    8.60               $   131.34   $   131.34
12/16/2018 Angel Gomez                  $9.50   54.20   $    8.60               $    67.45   $    67.45
12/23/2018 Angel Gomez                  $9.50   63.85   $    8.60               $   113.29   $   113.29
12/30/2018 Angel Gomez                  $9.50   41.75   $    8.60               $     8.31   $     8.31
  1/6/2019 Angel Gomez                  $9.50   61.88   $    8.85               $   103.95   $   103.95
 1/13/2019 Angel Gomez                  $9.50   66.28   $    8.85               $   124.85   $   124.85
 1/20/2019 Angel Gomez                  $9.50   55.92   $    8.85               $    75.60   $    75.60
 1/27/2019 Angel Gomez                  $9.50   67.32   $    8.85               $   129.75   $   129.75
  2/3/2019 Angel Gomez                  $9.50   70.40   $    8.85               $   144.40   $   144.40
 2/10/2019 Angel Gomez                  $9.50   71.28   $    8.85               $   148.60   $   148.60
 2/17/2019 Angel Gomez                  $9.50   66.50   $    8.85               $   125.88   $   125.88
 2/24/2019 Angel Gomez                  $9.50   71.98   $    8.85               $   151.92   $   151.92
  3/3/2019 Angel Gomez                  $9.50   74.18   $    8.85               $   162.37   $   162.37
 3/10/2019 Angel Gomez                  $9.50   73.23   $    8.85               $   157.86   $   157.86
 3/17/2019 Angel Gomez                  $9.50   74.55   $    8.85               $   164.11   $   164.11
 3/24/2019 Angel Gomez                  $9.50   75.97   $    8.85               $   170.84   $   170.84
 3/31/2019 Angel Gomez                  $9.50   72.62   $    8.85               $   154.93   $   154.93
  4/7/2019 Angel Gomez                  $9.50   72.60   $    8.85               $   154.85   $   154.85
 4/14/2019 Angel Gomez                  $9.50   70.48   $    8.85               $   144.80   $   144.80
 4/28/2019 Angel Gomez                  $9.50   72.68   $    8.85               $   155.25   $   155.25
  5/5/2019 Angel Gomez                  $9.50   72.82   $    8.85               $   155.88   $   155.88
 5/12/2019 Angel Gomez                  $9.50   77.18   $    8.85               $   176.62   $   176.62
 5/19/2019 Angel Gomez                  $9.50   73.45   $    8.85               $   158.89   $   158.89
 5/26/2019 Angel Gomez                  $9.50   70.45   $    8.85               $   144.64   $   144.64
  6/2/2019 Angel Gomez                  $9.50   68.95   $    8.85               $   137.51   $   137.51
  6/9/2019 Angel Gomez                  $9.50   61.23   $    8.85               $   100.86   $   100.86
 6/16/2019 Angel Gomez                  $9.50   74.20   $    8.85               $   162.45   $   162.45
 6/23/2019 Angel Gomez                  $9.50   71.22   $    8.85               $   148.28   $   148.28
 6/30/2019 Angel Gomez                  $9.50   75.67   $   10.00   $   37.83   $   178.33   $   216.17
  7/7/2019 Angel Gomez                 $10.00   70.27   $   10.00               $   151.33   $   151.33
 7/14/2019 Angel Gomez                 $10.00   70.57   $   10.00               $   152.83   $   152.83
 7/21/2019 Angel Gomez                 $10.00   59.70   $   10.00               $    98.50   $    98.50
 7/28/2019 Angel Gomez                 $10.00   72.07   $   10.00               $   160.33   $   160.33
  8/4/2019 Angel Gomez                 $10.00   69.47   $   10.00               $   147.33   $   147.33
 8/11/2019 Angel Gomez                 $10.00   74.47   $   10.00               $   172.33   $   172.33
 8/18/2019 Angel Gomez                 $10.00   73.27   $   10.00               $   166.33   $   166.33
 8/25/2019 Angel Gomez                 $10.00   73.92   $   10.00               $   169.58   $   169.58
  9/1/2019 Angel Gomez                 $10.00   75.50   $   10.00               $   177.50   $   177.50
  9/8/2019 Angel Gomez                 $10.00   68.32   $   10.00               $   141.58   $   141.58
 9/15/2019 Angel Gomez                 $10.00   73.57   $   10.00               $   167.83   $   167.83
 9/22/2019 Angel Gomez                 $10.00   72.52   $   10.00               $   162.58   $   162.58
 9/29/2019 Angel Gomez                 $10.00   66.43   $   10.00               $   132.17   $   132.17
 10/6/2019 Angel Gomez                 $10.00   66.77   $   10.00               $   133.83   $   133.83
10/13/2019 Angel Gomez                 $10.00   58.77   $   10.00               $    93.83   $    93.83
10/20/2019 Angel Gomez                 $11.00   66.62   $   10.00               $   146.39   $   146.39
10/27/2019 Angel Gomez                 $11.00   68.23   $   10.00               $   155.28   $   155.28
 11/3/2019 Angel Gomez                 $11.00   70.75   $   10.00               $   169.13   $   169.13



                                          40
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 42 of 683 PageID: 889
                                                   Exhibit 2
                                           New Jersey Computations


  Week                                                            State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
 Ending                        Name                             Minumum Regular    Half-Time Overtime Back
                                                   Rate Week
  Date                                                            Wage  Rate Due     Due       Wages Due

11/10/2019 Angel Gomez                            $11.00   70.95   $   10.00               $   170.23   $   170.23
11/17/2019 Angel Gomez                            $11.00   58.82   $   10.00               $   103.49   $   103.49
11/24/2019 Angel Gomez                            $11.00   72.40   $   10.00               $   178.20   $   178.20
 12/1/2019 Angel Gomez                            $11.00   57.87   $   10.00               $    98.27   $    98.27
 12/8/2019 Angel Gomez                            $11.00   68.18   $   10.00               $   155.01   $   155.01
12/15/2019 Angel Gomez                            $10.00   67.95   $   10.00               $   139.75   $   139.75
12/22/2019 Angel Gomez                            $10.00   57.93   $   10.00               $    89.67   $    89.67
12/29/2019 Angel Gomez                            $10.00   44.70   $   10.00               $    23.50   $    23.50
  1/5/2020 Angel Gomez                            $10.00   51.40   $   11.00   $   51.40   $    62.70   $   114.10
 1/12/2020 Angel Gomez                            $10.00   66.08   $   11.00   $   66.08   $   143.46   $   209.54
 1/19/2020 Angel Gomez                            $10.00   65.12   $   11.00   $   65.12   $   138.14   $   203.26
 1/26/2020 Angel Gomez                            $10.00   65.62   $   11.00   $   65.62   $   140.89   $   206.51
 7/22/2018 Angel Junior Decena Tolentino           $9.50   48.77   $    8.60               $    41.64   $    41.64
 7/29/2018 Angel Junior Decena Tolentino           $9.50   58.97   $    8.60               $    90.09   $    90.09
  8/5/2018 Angel Junior Decena Tolentino           $9.50   56.27   $    8.60               $    77.27   $    77.27
 8/12/2018 Angel Junior Decena Tolentino           $9.50   70.78   $    8.60               $   146.22   $   146.22
 8/19/2018 Angel Junior Decena Tolentino           $9.50   69.50   $    8.60               $   140.13   $   140.13
 8/26/2018 Angel Junior Decena Tolentino           $9.50   58.17   $    8.60               $    86.29   $    86.29
 4/21/2019 Angel Junior Decena Tolentino           $9.50   71.02   $    8.85               $   147.33   $   147.33
 4/28/2019 Angel Junior Decena Tolentino           $9.50   58.68   $    8.85               $    88.75   $    88.75
  5/5/2019 Angel Junior Decena Tolentino           $9.50   56.98   $    8.85               $    80.67   $    80.67
 5/12/2019 Angel Junior Decena Tolentino           $9.50   56.83   $    8.85               $    79.96   $    79.96
 5/19/2019 Angel Junior Decena Tolentino           $9.50   59.97   $    8.85               $    94.84   $    94.84
  8/5/2018 Angel M. Nunez Rivera                   $9.50   47.10   $    8.60               $    33.73   $    33.73
 8/12/2018 Angel M. Nunez Rivera                   $9.50   59.33   $    8.60               $    91.83   $    91.83
  9/3/2017 Angel Mizar Nogueira                   $10.00   49.47   $    8.44               $    47.33   $    47.33
 9/10/2017 Angel Mizar Nogueira                   $10.00   52.55   $    8.44               $    62.75   $    62.75
 9/17/2017 Angel Mizar Nogueira                   $10.00   62.23   $    8.44               $   111.17   $   111.17
 9/24/2017 Angel Mizar Nogueira                   $10.00   63.73   $    8.44               $   118.67   $   118.67
 10/1/2017 Angel Mizar Nogueira                   $10.00   63.87   $    8.44               $   119.33   $   119.33
 10/8/2017 Angel Mizar Nogueira                   $10.00   63.17   $    8.44               $   115.83   $   115.83
10/15/2017 Angel Mizar Nogueira                   $10.00   62.65   $    8.44               $   113.25   $   113.25
10/22/2017 Angel Mizar Nogueira                   $10.00   63.08   $    8.44               $   115.42   $   115.42
10/29/2017 Angel Mizar Nogueira                   $10.00   62.12   $    8.44               $   110.58   $   110.58
 11/5/2017 Angel Mizar Nogueira                   $10.00   62.47   $    8.44               $   112.33   $   112.33
11/12/2017 Angel Mizar Nogueira                   $10.00   61.73   $    8.44               $   108.67   $   108.67
11/19/2017 Angel Mizar Nogueira                   $10.00   63.32   $    8.44               $   116.58   $   116.58
11/26/2017 Angel Mizar Nogueira                   $10.00   51.70   $    8.44               $    58.50   $    58.50
 12/3/2017 Angel Mizar Nogueira                   $10.00   62.58   $    8.44               $   112.92   $   112.92
12/10/2017 Angel Mizar Nogueira                   $10.00   62.20   $    8.44               $   111.00   $   111.00
12/17/2017 Angel Mizar Nogueira                   $10.00   62.50   $    8.44               $   112.50   $   112.50
12/24/2017 Angel Mizar Nogueira                   $10.00   62.63   $    8.44               $   113.17   $   113.17
12/31/2017 Angel Mizar Nogueira                   $10.00   52.53   $    8.44               $    62.67   $    62.67
  1/7/2018 Angel Mizar Nogueira                   $10.00   44.12   $    8.60               $    20.58   $    20.58
 1/14/2018 Angel Mizar Nogueira                   $10.00   62.82   $    8.60               $   114.08   $   114.08
 1/21/2018 Angel Mizar Nogueira                   $10.00   53.60   $    8.60               $    68.00   $    68.00
 1/28/2018 Angel Mizar Nogueira                   $10.00   59.43   $    8.60               $    97.17   $    97.17
  2/4/2018 Angel Mizar Nogueira                   $10.00   60.55   $    8.60               $   102.75   $   102.75
 2/11/2018 Angel Mizar Nogueira                   $10.00   59.33   $    8.60               $    96.67   $    96.67
 2/18/2018 Angel Mizar Nogueira                   $10.00   61.30   $    8.60               $   106.50   $   106.50



                                                     41
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 43 of 683 PageID: 890
                                             Exhibit 2
                                     New Jersey Computations


  Week                                                      State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
 Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
  Date                                                      Wage  Rate Due     Due       Wages Due

 2/25/2018 Angel Mizar Nogueira             $10.00   61.22   $   8.60          $   106.08   $    106.08
 3/25/2018 Angel Mizar Nogueira             $10.00   66.03   $   8.60          $   130.17   $    130.17
  4/1/2018 Angel Mizar Nogueira             $10.00   85.55   $   8.60          $   227.75   $    227.75
  4/8/2018 Angel Mizar Nogueira             $10.00   68.32   $   8.60          $   141.58   $    141.58
 4/15/2018 Angel Mizar Nogueira             $10.00   86.58   $   8.60          $   232.92   $    232.92
 4/22/2018 Angel Mizar Nogueira             $10.00   72.82   $   8.60          $   164.08   $    164.08
 4/29/2018 Angel Mizar Nogueira             $10.00   75.00   $   8.60          $   175.00   $    175.00
  5/6/2018 Angel Mizar Nogueira             $10.00   74.22   $   8.60          $   171.08   $    171.08
 5/13/2018 Angel Mizar Nogueira             $10.00   78.30   $   8.60          $   191.50   $    191.50
 5/20/2018 Angel Mizar Nogueira             $10.00   75.87   $   8.60          $   179.33   $    179.33
 5/27/2018 Angel Mizar Nogueira             $10.00   62.50   $   8.60          $   112.50   $    112.50
  6/3/2018 Angel Mizar Nogueira             $10.00   64.08   $   8.60          $   120.42   $    120.42
 6/10/2018 Angel Mizar Nogueira             $10.00   75.55   $   8.60          $   177.75   $    177.75
 6/17/2018 Angel Mizar Nogueira             $10.00   71.53   $   8.60          $   157.67   $    157.67
 6/24/2018 Angel Mizar Nogueira             $10.00   70.27   $   8.60          $   151.33   $    151.33
  7/1/2018 Angel Mizar Nogueira             $10.00   71.82   $   8.60          $   159.08   $    159.08
  7/8/2018 Angel Mizar Nogueira             $10.00   62.03   $   8.60          $   110.17   $    110.17
 7/15/2018 Angel Mizar Nogueira             $10.00   65.25   $   8.60          $   126.25   $    126.25
 7/22/2018 Angel Mizar Nogueira             $10.00   72.78   $   8.60          $   163.92   $    163.92
 7/29/2018 Angel Mizar Nogueira             $10.00   70.33   $   8.60          $   151.67   $    151.67
  8/5/2018 Angel Mizar Nogueira             $10.00   40.90   $   8.60          $     4.50   $      4.50
 8/12/2018 Angel Mizar Nogueira             $10.00   49.37   $   8.60          $    46.83   $     46.83
 8/19/2018 Angel Mizar Nogueira             $10.00   54.00   $   8.60          $    70.00   $     70.00
 8/26/2018 Angel Mizar Nogueira             $11.00   63.35   $   8.60          $   128.43   $    128.43
  9/2/2018 Angel Mizar Nogueira             $11.00   61.37   $   8.60          $   117.52   $    117.52
  9/9/2018 Angel Mizar Nogueira             $11.00   52.05   $   8.60          $    66.28   $     66.28
 9/16/2018 Angel Mizar Nogueira             $11.00   69.55   $   8.60          $   162.53   $    162.53
 9/23/2018 Angel Mizar Nogueira             $11.00   75.82   $   8.60          $   196.99   $    196.99
 9/30/2018 Angel Mizar Nogueira             $11.00   64.02   $   8.60          $   132.09   $    132.09
 10/7/2018 Angel Mizar Nogueira             $11.00   72.27   $   8.60          $   177.47   $    177.47
10/14/2018 Angel Mizar Nogueira             $11.00   64.03   $   8.60          $   132.18   $    132.18
10/28/2018 Angel Mizar Nogueira             $12.00   78.98   $   8.60          $   233.90   $    233.90
 11/4/2018 Angel Mizar Nogueira             $12.00   77.32   $   8.60          $   223.90   $    223.90
11/11/2018 Angel Mizar Nogueira             $12.00   64.23   $   8.60          $   145.40   $    145.40
11/18/2018 Angel Mizar Nogueira             $12.00   75.52   $   8.60          $   213.10   $    213.10
11/25/2018 Angel Mizar Nogueira             $12.00   64.25   $   8.60          $   145.50   $    145.50
 12/2/2018 Angel Mizar Nogueira             $12.00   63.53   $   8.60          $   141.20   $    141.20
 12/9/2018 Angel Mizar Nogueira             $12.00   75.95   $   8.60          $   215.70   $    215.70
12/16/2018 Angel Mizar Nogueira             $12.00   66.92   $   8.60          $   161.50   $    161.50
12/23/2018 Angel Mizar Nogueira             $12.00   77.35   $   8.60          $   224.10   $    224.10
12/30/2018 Angel Mizar Nogueira             $12.00   59.50   $   8.60          $   117.00   $    117.00
  1/6/2019 Angel Mizar Nogueira             $12.00   67.47   $   8.85          $   164.80   $    164.80
 1/13/2019 Angel Mizar Nogueira             $12.00   76.57   $   8.85          $   219.40   $    219.40
 1/20/2019 Angel Mizar Nogueira             $12.00   77.33   $   8.85          $   224.00   $    224.00
 1/27/2019 Angel Mizar Nogueira             $12.00   77.22   $   8.85          $   223.30   $    223.30
  2/3/2019 Angel Mizar Nogueira             $12.00   77.68   $   8.85          $   226.10   $    226.10
 2/10/2019 Angel Mizar Nogueira             $12.00   78.38   $   8.85          $   230.30   $    230.30
 2/17/2019 Angel Mizar Nogueira             $12.00   77.73   $   8.85          $   226.40   $    226.40
 2/24/2019 Angel Mizar Nogueira             $12.00   79.73   $   8.85          $   238.40   $    238.40
  3/3/2019 Angel Mizar Nogueira             $12.00   75.62   $   8.85          $   213.70   $    213.70



                                               42
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 44 of 683 PageID: 891
                                             Exhibit 2
                                     New Jersey Computations


  Week                                                      State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
 Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
  Date                                                      Wage  Rate Due     Due       Wages Due

  4/7/2019 Angel Mizar Nogueira             $12.00   67.02   $    8.85         $   162.10   $    162.10
 4/14/2019 Angel Mizar Nogueira             $12.00   66.12   $    8.85         $   156.70   $    156.70
 4/21/2019 Angel Mizar Nogueira             $12.00   66.13   $    8.85         $   156.80   $    156.80
 4/28/2019 Angel Mizar Nogueira             $12.00   66.30   $    8.85         $   157.80   $    157.80
  5/5/2019 Angel Mizar Nogueira             $12.00   63.35   $    8.85         $   140.10   $    140.10
 5/12/2019 Angel Mizar Nogueira             $12.00   68.48   $    8.85         $   170.90   $    170.90
 5/19/2019 Angel Mizar Nogueira             $12.00   68.92   $    8.85         $   173.50   $    173.50
 5/26/2019 Angel Mizar Nogueira             $12.00   79.95   $    8.85         $   239.70   $    239.70
  6/2/2019 Angel Mizar Nogueira             $12.00   80.53   $    8.85         $   243.20   $    243.20
  6/9/2019 Angel Mizar Nogueira             $12.00   82.77   $    8.85         $   256.60   $    256.60
 6/16/2019 Angel Mizar Nogueira             $12.00   80.47   $    8.85         $   242.80   $    242.80
 6/23/2019 Angel Mizar Nogueira             $12.00   79.85   $    8.85         $   239.10   $    239.10
 6/30/2019 Angel Mizar Nogueira             $12.00   69.70   $   10.00         $   178.20   $    178.20
  7/7/2019 Angel Mizar Nogueira             $12.00   69.75   $   10.00         $   178.50   $    178.50
  8/4/2019 Angel Mizar Nogueira             $12.00   52.88   $   10.00         $    77.30   $     77.30
  9/1/2019 Angel Mizar Nogueira             $12.00   84.87   $   10.00         $   269.20   $    269.20
  9/8/2019 Angel Mizar Nogueira             $12.00   80.88   $   10.00         $   245.30   $    245.30
 9/15/2019 Angel Mizar Nogueira             $12.00   79.78   $   10.00         $   238.70   $    238.70
 9/22/2019 Angel Mizar Nogueira             $12.00   68.37   $   10.00         $   170.20   $    170.20
 9/29/2019 Angel Mizar Nogueira             $12.00   80.87   $   10.00         $   245.20   $    245.20
 10/6/2019 Angel Mizar Nogueira             $12.00   68.95   $   10.00         $   173.70   $    173.70
10/20/2019 Angel Mizar Nogueira             $12.00   82.68   $   10.00         $   256.10   $    256.10
10/27/2019 Angel Mizar Nogueira             $12.00   62.77   $   10.00         $   136.60   $    136.60
 11/3/2019 Angel Mizar Nogueira             $12.00   74.83   $   10.00         $   209.00   $    209.00
11/10/2019 Angel Mizar Nogueira             $12.00   78.52   $   10.00         $   231.10   $    231.10
11/17/2019 Angel Mizar Nogueira             $12.00   81.25   $   10.00         $   247.50   $    247.50
11/24/2019 Angel Mizar Nogueira             $12.00   80.05   $   10.00         $   240.30   $    240.30
 12/1/2019 Angel Mizar Nogueira             $12.00   65.62   $   10.00         $   153.70   $    153.70
 12/8/2019 Angel Mizar Nogueira             $12.00   80.00   $   10.00         $   240.00   $    240.00
12/15/2019 Angel Mizar Nogueira             $12.00   66.52   $   10.00         $   159.10   $    159.10
12/22/2019 Angel Mizar Nogueira             $12.00   78.75   $   10.00         $   232.50   $    232.50
12/29/2019 Angel Mizar Nogueira             $12.00   58.42   $   10.00         $   110.50   $    110.50
  1/5/2020 Angel Mizar Nogueira             $12.00   68.27   $   11.00         $   169.60   $    169.60
 1/12/2020 Angel Mizar Nogueira             $12.00   74.95   $   11.00         $   209.70   $    209.70
 1/19/2020 Angel Mizar Nogueira             $12.00   62.20   $   11.00         $   133.20   $    133.20
 1/26/2020 Angel Mizar Nogueira             $12.00   73.50   $   11.00         $   201.00   $    201.00
 8/19/2018 Angel Perdomo                    $10.00   54.52   $    8.60         $    72.58   $     72.58
  9/2/2018 Angel Perdomo                    $10.00   54.42   $    8.60         $    72.08   $     72.08
  9/9/2018 Angel Perdomo                    $10.00   47.63   $    8.60         $    38.17   $     38.17
 9/16/2018 Angel Perdomo                    $10.00   49.52   $    8.60         $    47.58   $     47.58
 9/23/2018 Angel Perdomo                    $10.00   49.30   $    8.60         $    46.50   $     46.50
 10/7/2018 Angel Perdomo                    $10.00   44.47   $    8.60         $    22.33   $     22.33
10/28/2018 Angel Perdomo                    $10.00   40.68   $    8.60         $     3.42   $      3.42
 11/4/2018 Angel Perdomo                    $10.00   45.38   $    8.60         $    26.92   $     26.92
 2/17/2019 Angel Perdomo                    $11.00   51.35   $    8.85         $    62.43   $     62.43
 2/24/2019 Angel Perdomo                    $11.00   51.53   $    8.85         $    63.43   $     63.43
  3/3/2019 Angel Perdomo                    $11.00   67.83   $    8.85         $   153.08   $    153.08
 3/10/2019 Angel Perdomo                    $11.00   68.92   $    8.85         $   159.04   $    159.04
 3/17/2019 Angel Perdomo                    $11.00   57.82   $    8.85         $    97.99   $     97.99
 3/24/2019 Angel Perdomo                    $11.00   67.73   $    8.85         $   152.53   $    152.53



                                               43
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 45 of 683 PageID: 892
                                            Exhibit 2
                                    New Jersey Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
  Date                                                     Wage  Rate Due     Due       Wages Due

 3/31/2019 Angel Perdomo                   $11.00   66.75   $    8.85         $   147.13   $    147.13
  4/7/2019 Angel Perdomo                   $11.00   68.62   $    8.85         $   157.39   $    157.39
 4/14/2019 Angel Perdomo                   $11.00   69.87   $    8.85         $   164.27   $    164.27
 4/21/2019 Angel Perdomo                   $11.00   69.40   $    8.85         $   161.70   $    161.70
 4/28/2019 Angel Perdomo                   $11.00   56.92   $    8.85         $    93.04   $     93.04
  5/5/2019 Angel Perdomo                   $11.00   65.02   $    8.85         $   137.59   $    137.59
 5/12/2019 Angel Perdomo                   $11.00   69.92   $    8.85         $   164.54   $    164.54
 5/19/2019 Angel Perdomo                   $11.00   66.25   $    8.85         $   144.38   $    144.38
 5/26/2019 Angel Perdomo                   $11.00   59.85   $    8.85         $   109.18   $    109.18
  6/2/2019 Angel Perdomo                   $11.00   64.65   $    8.85         $   135.58   $    135.58
  6/9/2019 Angel Perdomo                   $11.00   61.25   $    8.85         $   116.88   $    116.88
 6/16/2019 Angel Perdomo                   $11.00   47.43   $    8.85         $    40.88   $     40.88
 6/30/2019 Angel Perdomo                   $11.00   57.83   $   10.00         $    98.08   $     98.08
 7/14/2019 Angel Perdomo                   $11.00   66.85   $   10.00         $   147.68   $    147.68
 7/21/2019 Angel Perdomo                   $11.00   70.23   $   10.00         $   166.28   $    166.28
 7/28/2019 Angel Perdomo                   $11.00   49.18   $   10.00         $    50.51   $     50.51
  8/4/2019 Angel Perdomo                   $11.00   58.65   $   10.00         $   102.58   $    102.58
 8/11/2019 Angel Perdomo                   $11.00   61.33   $   10.00         $   117.33   $    117.33
 8/18/2019 Angel Perdomo                   $11.00   48.00   $   10.00         $    44.00   $     44.00
 8/25/2019 Angel Perdomo                   $11.00   70.47   $   10.00         $   167.57   $    167.57
  9/1/2019 Angel Perdomo                   $11.00   67.28   $   10.00         $   150.06   $    150.06
 9/15/2019 Angel Perdomo                   $11.00   53.58   $   10.00         $    74.71   $     74.71
 9/22/2019 Angel Perdomo                   $11.00   58.42   $   10.00         $   101.29   $    101.29
 9/29/2019 Angel Perdomo                   $11.00   61.55   $   10.00         $   118.53   $    118.53
 10/6/2019 Angel Perdomo                   $11.00   67.08   $   10.00         $   148.96   $    148.96
10/13/2019 Angel Perdomo                   $11.00   79.33   $   10.00         $   216.33   $    216.33
10/20/2019 Angel Perdomo                   $11.00   61.73   $   10.00         $   119.53   $    119.53
11/17/2019 Angel Perdomo                   $11.00   53.22   $   10.00         $    72.69   $     72.69
11/24/2019 Angel Perdomo                   $11.00   49.93   $   10.00         $    54.63   $     54.63
 12/1/2019 Angel Perdomo                   $11.00   40.75   $   10.00         $     4.13   $      4.13
 12/8/2019 Angel Perdomo                   $11.00   61.50   $   10.00         $   118.25   $    118.25
12/15/2019 Angel Perdomo                   $11.00   67.55   $   10.00         $   151.53   $    151.53
12/22/2019 Angel Perdomo                   $11.00   62.40   $   10.00         $   123.20   $    123.20
  1/5/2020 Angel Perdomo                   $11.00   47.70   $   11.00         $    42.35   $     42.35
 1/12/2020 Angel Perdomo                   $11.00   60.33   $   11.00         $   111.83   $    111.83
 1/19/2020 Angel Perdomo                   $11.00   72.80   $   11.00         $   180.40   $    180.40
 1/26/2020 Angel Perdomo                   $11.00   73.48   $   11.00         $   184.16   $    184.16
  4/1/2018 Angel Ramos                      $9.50   72.15   $    8.60         $   152.71   $    152.71
10/29/2017 Angel Rodriguez                 $11.50   60.35   $    8.44         $   117.01   $    117.01
 11/5/2017 Angel Rodriguez                 $11.50   61.42   $    8.44         $   123.15   $    123.15
11/12/2017 Angel Rodriguez                 $11.50   61.43   $    8.44         $   123.24   $    123.24
11/19/2017 Angel Rodriguez                 $11.50   62.35   $    8.44         $   128.51   $    128.51
11/26/2017 Angel Rodriguez                 $11.50   50.75   $    8.44         $    61.81   $     61.81
 12/3/2017 Angel Rodriguez                 $11.50   62.62   $    8.44         $   130.05   $    130.05
12/10/2017 Angel Rodriguez                 $11.50   62.55   $    8.44         $   129.66   $    129.66
12/17/2017 Angel Rodriguez                 $11.50   61.32   $    8.44         $   122.57   $    122.57
12/24/2017 Angel Rodriguez                 $11.50   65.22   $    8.44         $   145.00   $    145.00
12/31/2017 Angel Rodriguez                 $11.50   53.48   $    8.44         $    77.53   $     77.53
  1/7/2018 Angel Rodriguez                 $11.50   42.27   $    8.60         $    13.03   $     13.03
 1/14/2018 Angel Rodriguez                 $11.50   62.95   $    8.60         $   131.96   $    131.96



                                              44
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 46 of 683 PageID: 893
                                            Exhibit 2
                                    New Jersey Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
  Date                                                     Wage  Rate Due     Due       Wages Due

 1/21/2018 Angel Rodriguez                 $11.50   64.00   $   8.60          $   138.00   $    138.00
 1/28/2018 Angel Rodriguez                 $11.50   56.05   $   8.60          $    92.29   $     92.29
  2/4/2018 Angel Rodriguez                 $11.50   63.05   $   8.60          $   132.54   $    132.54
 2/11/2018 Angel Rodriguez                 $11.50   63.05   $   8.60          $   132.54   $    132.54
 2/18/2018 Angel Rodriguez                 $11.50   64.87   $   8.60          $   142.98   $    142.98
 2/25/2018 Angel Rodriguez                 $11.50   60.37   $   8.60          $   117.11   $    117.11
  3/4/2018 Angel Rodriguez                 $11.50   63.63   $   8.60          $   135.89   $    135.89
 3/25/2018 Angel Rodriguez                 $11.50   61.17   $   8.60          $   121.71   $    121.71
  4/1/2018 Angel Rodriguez                 $11.50   65.00   $   8.60          $   143.75   $    143.75
  4/8/2018 Angel Rodriguez                 $11.50   64.05   $   8.60          $   138.29   $    138.29
 4/15/2018 Angel Rodriguez                 $11.50   64.08   $   8.60          $   138.48   $    138.48
 4/22/2018 Angel Rodriguez                 $11.50   64.20   $   8.60          $   139.15   $    139.15
 4/29/2018 Angel Rodriguez                 $11.50   64.28   $   8.60          $   139.63   $    139.63
  5/6/2018 Angel Rodriguez                 $11.50   64.37   $   8.60          $   140.11   $    140.11
 5/13/2018 Angel Rodriguez                 $11.50   64.08   $   8.60          $   138.48   $    138.48
 5/20/2018 Angel Rodriguez                 $11.50   64.55   $   8.60          $   141.16   $    141.16
 5/27/2018 Angel Rodriguez                 $11.50   65.47   $   8.60          $   146.43   $    146.43
  6/3/2018 Angel Rodriguez                 $11.50   53.12   $   8.60          $    75.42   $     75.42
 6/10/2018 Angel Rodriguez                 $11.50   64.30   $   8.60          $   139.73   $    139.73
 6/17/2018 Angel Rodriguez                 $11.50   64.75   $   8.60          $   142.31   $    142.31
 6/24/2018 Angel Rodriguez                 $11.50   64.22   $   8.60          $   139.25   $    139.25
  7/1/2018 Angel Rodriguez                 $11.50   64.70   $   8.60          $   142.03   $    142.03
  7/8/2018 Angel Rodriguez                 $11.50   54.88   $   8.60          $    85.58   $     85.58
 7/15/2018 Angel Rodriguez                 $11.50   62.80   $   8.60          $   131.10   $    131.10
 7/22/2018 Angel Rodriguez                 $11.50   64.42   $   8.60          $   140.40   $    140.40
 7/29/2018 Angel Rodriguez                 $11.50   68.18   $   8.60          $   162.05   $    162.05
  8/5/2018 Angel Rodriguez                 $11.50   64.12   $   8.60          $   138.67   $    138.67
 8/12/2018 Angel Rodriguez                 $11.50   64.02   $   8.60          $   138.10   $    138.10
 8/19/2018 Angel Rodriguez                 $11.50   63.95   $   8.60          $   137.71   $    137.71
 8/26/2018 Angel Rodriguez                 $11.50   67.68   $   8.60          $   159.18   $    159.18
  9/2/2018 Angel Rodriguez                 $11.50   68.62   $   8.60          $   164.55   $    164.55
  9/9/2018 Angel Rodriguez                 $11.50   53.12   $   8.60          $    75.42   $     75.42
 9/16/2018 Angel Rodriguez                 $11.50   63.13   $   8.60          $   133.02   $    133.02
 9/23/2018 Angel Rodriguez                 $11.50   63.93   $   8.60          $   137.62   $    137.62
 9/30/2018 Angel Rodriguez                 $11.50   64.57   $   8.60          $   141.26   $    141.26
 10/7/2018 Angel Rodriguez                 $11.50   63.83   $   8.60          $   137.04   $    137.04
10/14/2018 Angel Rodriguez                 $11.50   63.93   $   8.60          $   137.62   $    137.62
10/21/2018 Angel Rodriguez                 $11.50   64.37   $   8.60          $   140.11   $    140.11
10/28/2018 Angel Rodriguez                 $11.50   64.57   $   8.60          $   141.26   $    141.26
 11/4/2018 Angel Rodriguez                 $11.50   65.28   $   8.60          $   145.38   $    145.38
11/11/2018 Angel Rodriguez                 $11.50   64.10   $   8.60          $   138.58   $    138.58
11/18/2018 Angel Rodriguez                 $11.50   64.03   $   8.60          $   138.19   $    138.19
11/25/2018 Angel Rodriguez                 $11.50   53.35   $   8.60          $    76.76   $     76.76
 12/2/2018 Angel Rodriguez                 $11.50   64.22   $   8.60          $   139.25   $    139.25
 12/9/2018 Angel Rodriguez                 $11.50   66.43   $   8.60          $   151.99   $    151.99
12/16/2018 Angel Rodriguez                 $11.50   64.07   $   8.60          $   138.38   $    138.38
12/23/2018 Angel Rodriguez                 $11.50   64.07   $   8.60          $   138.38   $    138.38
12/30/2018 Angel Rodriguez                 $11.50   48.98   $   8.60          $    51.65   $     51.65
  1/6/2019 Angel Rodriguez                 $11.50   51.58   $   8.85          $    66.60   $     66.60
 1/13/2019 Angel Rodriguez                 $11.50   64.22   $   8.85          $   139.25   $    139.25



                                              45
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 47 of 683 PageID: 894
                                            Exhibit 2
                                    New Jersey Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
  Date                                                     Wage  Rate Due     Due       Wages Due

 1/20/2019 Angel Rodriguez                 $11.50   63.73   $    8.85         $   136.47   $    136.47
 1/27/2019 Angel Rodriguez                 $11.50   64.08   $    8.85         $   138.48   $    138.48
  2/3/2019 Angel Rodriguez                 $11.50   64.40   $    8.85         $   140.30   $    140.30
 2/10/2019 Angel Rodriguez                 $11.50   64.08   $    8.85         $   138.48   $    138.48
 2/17/2019 Angel Rodriguez                 $11.50   63.88   $    8.85         $   137.33   $    137.33
 2/24/2019 Angel Rodriguez                 $11.50   64.45   $    8.85         $   140.59   $    140.59
  3/3/2019 Angel Rodriguez                 $11.50   64.25   $    8.85         $   139.44   $    139.44
 3/10/2019 Angel Rodriguez                 $11.50   53.45   $    8.85         $    77.34   $     77.34
 3/17/2019 Angel Rodriguez                 $11.50   66.87   $    8.85         $   154.48   $    154.48
 3/24/2019 Angel Rodriguez                 $11.50   64.85   $    8.85         $   142.89   $    142.89
 3/31/2019 Angel Rodriguez                 $11.50   64.12   $    8.85         $   138.67   $    138.67
  4/7/2019 Angel Rodriguez                 $11.50   64.12   $    8.85         $   138.67   $    138.67
 4/14/2019 Angel Rodriguez                 $11.50   55.13   $    8.85         $    87.02   $     87.02
 4/21/2019 Angel Rodriguez                 $11.50   67.83   $    8.85         $   160.04   $    160.04
 4/28/2019 Angel Rodriguez                 $11.50   64.62   $    8.85         $   141.55   $    141.55
  5/5/2019 Angel Rodriguez                 $11.50   67.73   $    8.85         $   159.47   $    159.47
 5/12/2019 Angel Rodriguez                 $11.50   67.93   $    8.85         $   160.62   $    160.62
 5/19/2019 Angel Rodriguez                 $11.50   67.90   $    8.85         $   160.43   $    160.43
 5/26/2019 Angel Rodriguez                 $11.50   68.03   $    8.85         $   161.19   $    161.19
  6/2/2019 Angel Rodriguez                 $11.50   53.58   $    8.85         $    78.10   $     78.10
  6/9/2019 Angel Rodriguez                 $11.50   65.30   $    8.85         $   145.48   $    145.48
 6/16/2019 Angel Rodriguez                 $11.50   64.13   $    8.85         $   138.77   $    138.77
 6/23/2019 Angel Rodriguez                 $11.50   65.18   $    8.85         $   144.80   $    144.80
 6/30/2019 Angel Rodriguez                 $11.50   64.27   $   10.00         $   139.53   $    139.53
  7/7/2019 Angel Rodriguez                 $12.00   53.07   $   10.00         $    78.40   $     78.40
 7/14/2019 Angel Rodriguez                 $12.00   64.10   $   10.00         $   144.60   $    144.60
 7/21/2019 Angel Rodriguez                 $12.00   61.72   $   10.00         $   130.30   $    130.30
 7/28/2019 Angel Rodriguez                 $12.00   64.12   $   10.00         $   144.70   $    144.70
  8/4/2019 Angel Rodriguez                 $12.00   64.67   $   10.00         $   148.00   $    148.00
 8/11/2019 Angel Rodriguez                 $12.00   64.43   $   10.00         $   146.60   $    146.60
 8/18/2019 Angel Rodriguez                 $12.00   64.07   $   10.00         $   144.40   $    144.40
 8/25/2019 Angel Rodriguez                 $12.00   64.07   $   10.00         $   144.40   $    144.40
  9/1/2019 Angel Rodriguez                 $12.00   64.13   $   10.00         $   144.80   $    144.80
  9/8/2019 Angel Rodriguez                 $12.00   53.37   $   10.00         $    80.20   $     80.20
 9/15/2019 Angel Rodriguez                 $12.00   64.08   $   10.00         $   144.50   $    144.50
 9/22/2019 Angel Rodriguez                 $12.00   64.20   $   10.00         $   145.20   $    145.20
 9/29/2019 Angel Rodriguez                 $12.00   64.48   $   10.00         $   146.90   $    146.90
 10/6/2019 Angel Rodriguez                 $12.00   65.33   $   10.00         $   152.00   $    152.00
10/13/2019 Angel Rodriguez                 $12.00   64.38   $   10.00         $   146.30   $    146.30
10/20/2019 Angel Rodriguez                 $12.00   64.03   $   10.00         $   144.20   $    144.20
10/27/2019 Angel Rodriguez                 $12.00   64.18   $   10.00         $   145.10   $    145.10
 11/3/2019 Angel Rodriguez                 $12.00   63.82   $   10.00         $   142.90   $    142.90
11/10/2019 Angel Rodriguez                 $12.00   63.93   $   10.00         $   143.60   $    143.60
11/17/2019 Angel Rodriguez                 $12.00   64.20   $   10.00         $   145.20   $    145.20
11/24/2019 Angel Rodriguez                 $12.00   64.03   $   10.00         $   144.20   $    144.20
 12/1/2019 Angel Rodriguez                 $12.00   53.27   $   10.00         $    79.60   $     79.60
 12/8/2019 Angel Rodriguez                 $12.00   63.98   $   10.00         $   143.90   $    143.90
12/15/2019 Angel Rodriguez                 $12.00   63.92   $   10.00         $   143.50   $    143.50
12/22/2019 Angel Rodriguez                 $12.00   64.18   $   10.00         $   145.10   $    145.10
12/29/2019 Angel Rodriguez                 $12.00   50.35   $   10.00         $    62.10   $     62.10



                                              46
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 48 of 683 PageID: 895
                                             Exhibit 2
                                     New Jersey Computations


  Week                                                      State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
 Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
  Date                                                      Wage  Rate Due     Due       Wages Due

  1/5/2020 Angel Rodriguez                  $12.00   53.03   $   11.00               $    78.20   $    78.20
 1/12/2020 Angel Rodriguez                  $12.00   66.05   $   11.00               $   156.30   $   156.30
 1/19/2020 Angel Rodriguez                  $12.00   66.17   $   11.00               $   157.00   $   157.00
 1/26/2020 Angel Rodriguez                  $12.00   65.48   $   11.00               $   152.90   $   152.90
10/27/2019 Angel Roman                      $11.00   42.60   $   10.00               $    14.30   $    14.30
11/10/2019 Angel Roman                      $11.00   40.23   $   10.00               $     1.28   $     1.28
12/15/2019 Angel Roman                      $10.00   41.92   $   10.00               $     9.58   $     9.58
 1/12/2020 Angel Roman                      $10.00   53.08   $   11.00   $   53.08   $    71.96   $   125.04
 1/19/2020 Angel Roman                      $10.00   55.40   $   11.00   $   55.40   $    84.70   $   140.10
  6/9/2019 Angelica Santo                   $16.50   40.97   $    8.85               $     7.98   $     7.98
 6/30/2019 Angelica Santo                   $16.50   44.22   $   10.00               $    34.79   $    34.79
 7/14/2019 Angelica Santo                   $16.50   40.57   $   10.00               $     4.67   $     4.67
 7/28/2019 Angelica Santo                   $16.50   40.18   $   10.00               $     1.51   $     1.51
  8/4/2019 Angelica Santo                   $16.50   40.05   $   10.00               $     0.41   $     0.41
 8/11/2019 Angelica Santo                   $16.50   40.15   $   10.00               $     1.24   $     1.24
 9/15/2019 Angelica Santo                   $16.50   40.37   $   10.00               $     3.02   $     3.02
10/13/2019 Angelica Santo                   $16.50   40.52   $   10.00               $     4.26   $     4.26
10/20/2019 Angelica Santo                   $16.50   40.10   $   10.00               $     0.82   $     0.82
10/27/2019 Angelica Santo                   $16.50   40.68   $   10.00               $     5.64   $     5.64
 1/19/2020 Angelica Santo                   $16.50   43.43   $   11.00               $    28.33   $    28.33
 8/12/2018 Angely Decena Tolentino          $10.50   65.93   $    8.60               $   136.15   $   136.15
 8/19/2018 Angely Decena Tolentino          $10.50   61.93   $    8.60               $   115.15   $   115.15
 8/26/2018 Angely Decena Tolentino          $10.50   57.75   $    8.60               $    93.19   $    93.19
  9/2/2018 Angely Decena Tolentino          $10.50   66.63   $    8.60               $   139.83   $   139.83
  9/9/2018 Angely Decena Tolentino          $10.50   56.05   $    8.60               $    84.26   $    84.26
 9/16/2018 Angely Decena Tolentino          $10.50   62.58   $    8.60               $   118.56   $   118.56
 9/23/2018 Angely Decena Tolentino          $10.50   59.93   $    8.60               $   104.65   $   104.65
 9/30/2018 Angely Decena Tolentino          $10.50   67.77   $    8.60               $   145.78   $   145.78
 10/7/2018 Angely Decena Tolentino          $10.50   60.67   $    8.60               $   108.50   $   108.50
10/14/2018 Angely Decena Tolentino          $10.50   69.25   $    8.60               $   153.56   $   153.56
10/21/2018 Angely Decena Tolentino          $10.50   65.38   $    8.60               $   133.26   $   133.26
10/28/2018 Angely Decena Tolentino          $10.50   62.20   $    8.60               $   116.55   $   116.55
 11/4/2018 Angely Decena Tolentino          $10.50   64.28   $    8.60               $   127.49   $   127.49
11/11/2018 Angely Decena Tolentino          $10.50   58.37   $    8.60               $    96.43   $    96.43
11/18/2018 Angely Decena Tolentino          $10.50   63.22   $    8.60               $   121.89   $   121.89
 2/10/2019 Angely Decena Tolentino          $10.50   43.58   $    8.85               $    18.81   $    18.81
 2/17/2019 Angely Decena Tolentino          $11.50   60.67   $    8.85               $   118.83   $   118.83
 2/24/2019 Angely Decena Tolentino          $11.50   59.80   $    8.85               $   113.85   $   113.85
  3/3/2019 Angely Decena Tolentino          $11.50   59.25   $    8.85               $   110.69   $   110.69
 3/10/2019 Angely Decena Tolentino          $11.50   59.12   $    8.85               $   109.92   $   109.92
 3/17/2019 Angely Decena Tolentino          $11.50   61.60   $    8.85               $   124.20   $   124.20
 3/24/2019 Angely Decena Tolentino          $11.50   62.32   $    8.85               $   128.32   $   128.32
 3/31/2019 Angely Decena Tolentino          $11.50   61.03   $    8.85               $   120.94   $   120.94
  4/7/2019 Angely Decena Tolentino          $11.50   66.35   $    8.85               $   151.51   $   151.51
 4/14/2019 Angely Decena Tolentino          $11.50   68.75   $    8.85               $   165.31   $   165.31
 4/21/2019 Angely Decena Tolentino          $11.50   64.68   $    8.85               $   141.93   $   141.93
 4/28/2019 Angely Decena Tolentino          $11.50   58.68   $    8.85               $   107.43   $   107.43
  5/5/2019 Angely Decena Tolentino          $11.50   60.68   $    8.85               $   118.93   $   118.93
 5/12/2019 Angely Decena Tolentino          $11.50   69.38   $    8.85               $   168.95   $   168.95
 5/19/2019 Angely Decena Tolentino          $11.50   60.20   $    8.85               $   116.15   $   116.15



                                               47
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 49 of 683 PageID: 896
                                             Exhibit 2
                                     New Jersey Computations


  Week                                                      State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
 Ending                      Name                         Minumum Regular    Half-Time Overtime Back
                                             Rate Week
  Date                                                      Wage  Rate Due     Due       Wages Due

 5/26/2019 Angely Decena Tolentino          $11.50   67.47   $    8.85         $   157.93   $    157.93
 8/11/2019 Angely Decena Tolentino          $11.50   63.18   $   10.00         $   133.30   $    133.30
 8/18/2019 Angely Decena Tolentino          $11.50   70.85   $   10.00         $   177.39   $    177.39
 8/25/2019 Angely Decena Tolentino          $11.50   60.47   $   10.00         $   117.68   $    117.68
  9/1/2019 Angely Decena Tolentino          $11.50   67.45   $   10.00         $   157.84   $    157.84
  9/8/2019 Angely Decena Tolentino          $11.50   64.85   $   10.00         $   142.89   $    142.89
 9/15/2019 Angely Decena Tolentino          $11.50   71.25   $   10.00         $   179.69   $    179.69
 9/22/2019 Angely Decena Tolentino          $11.50   71.33   $   10.00         $   180.17   $    180.17
 9/29/2019 Angely Decena Tolentino          $11.50   67.63   $   10.00         $   158.89   $    158.89
 10/6/2019 Angely Decena Tolentino          $11.50   72.52   $   10.00         $   186.97   $    186.97
10/13/2019 Angely Decena Tolentino          $11.50   61.42   $   10.00         $   123.15   $    123.15
10/20/2019 Angely Decena Tolentino          $11.00   62.62   $   10.00         $   124.39   $    124.39
10/27/2019 Angely Decena Tolentino          $11.00   60.00   $   10.00         $   110.00   $    110.00
 11/3/2019 Angely Decena Tolentino          $11.00   61.88   $   10.00         $   120.36   $    120.36
11/10/2019 Angely Decena Tolentino          $11.00   59.23   $   10.00         $   105.78   $    105.78
11/17/2019 Angely Decena Tolentino          $11.00   57.53   $   10.00         $    96.43   $     96.43
11/24/2019 Angely Decena Tolentino          $11.00   48.65   $   10.00         $    47.58   $     47.58
 8/11/2019 Anibal Gavarrete                 $11.50   53.38   $   10.00         $    76.95   $     76.95
 8/18/2019 Anibal Gavarrete                 $11.50   62.47   $   10.00         $   129.18   $    129.18
 8/25/2019 Anibal Gavarrete                 $11.50   63.42   $   10.00         $   134.65   $    134.65
  9/1/2019 Anibal Gavarrete                 $11.50   63.22   $   10.00         $   133.50   $    133.50
  9/8/2019 Anibal Gavarrete                 $11.50   63.85   $   10.00         $   137.14   $    137.14
 9/15/2019 Anibal Gavarrete                 $11.50   63.97   $   10.00         $   137.81   $    137.81
 9/22/2019 Anibal Gavarrete                 $11.50   64.05   $   10.00         $   138.29   $    138.29
 9/29/2019 Anibal Gavarrete                 $11.50   62.53   $   10.00         $   129.57   $    129.57
 10/6/2019 Anibal Gavarrete                 $11.50   44.28   $   10.00         $    24.63   $     24.63
10/13/2019 Anibal Gavarrete                 $11.50   63.55   $   10.00         $   135.41   $    135.41
10/20/2019 Anibal Gavarrete                 $11.50   63.52   $   10.00         $   135.22   $    135.22
10/27/2019 Anibal Gavarrete                 $11.50   63.77   $   10.00         $   136.66   $    136.66
 11/3/2019 Anibal Gavarrete                 $11.50   63.62   $   10.00         $   135.80   $    135.80
11/10/2019 Anibal Gavarrete                 $11.50   62.57   $   10.00         $   129.76   $    129.76
11/17/2019 Anibal Gavarrete                 $11.50   46.53   $   10.00         $    37.57   $     37.57
 9/22/2019 Anthony Cullins                  $12.00   49.17   $   10.00         $    55.00   $     55.00
 9/29/2019 Anthony Cullins                  $12.00   45.98   $   10.00         $    35.90   $     35.90
 10/6/2019 Anthony Cullins                  $12.00   53.92   $   10.00         $    83.50   $     83.50
10/13/2019 Anthony Cullins                  $12.00   50.88   $   10.00         $    65.30   $     65.30
10/20/2019 Anthony Cullins                  $12.00   52.52   $   10.00         $    75.10   $     75.10
10/27/2019 Anthony Cullins                  $12.00   50.65   $   10.00         $    63.90   $     63.90
11/10/2019 Anthony Cullins                  $12.00   51.97   $   10.00         $    71.80   $     71.80
11/17/2019 Anthony Cullins                  $12.00   49.77   $   10.00         $    58.60   $     58.60
 12/8/2019 Anthony Cullins                  $12.00   43.85   $   10.00         $    23.10   $     23.10
12/15/2019 Anthony Cullins                  $12.00   45.17   $   10.00         $    31.00   $     31.00
12/22/2019 Anthony Cullins                  $12.00   45.73   $   10.00         $    34.40   $     34.40
 1/12/2020 Anthony Cullins                  $12.00   47.25   $   11.00         $    43.50   $     43.50
 1/19/2020 Anthony Cullins                  $12.00   54.68   $   11.00         $    88.10   $     88.10
 9/10/2017 Anthony Lantigua Adames           $9.00   53.85   $    8.44         $    62.33   $     62.33
 9/17/2017 Anthony Lantigua Adames           $9.00   54.27   $    8.44         $    64.20   $     64.20
 9/24/2017 Anthony Lantigua Adames           $9.00   57.25   $    8.44         $    77.63   $     77.63
 10/1/2017 Anthony Lantigua Adames           $9.00   57.62   $    8.44         $    79.28   $     79.28
 10/8/2017 Anthony Lantigua Adames           $9.00   57.12   $    8.44         $    77.03   $     77.03



                                               48
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 50 of 683 PageID: 897
                                                  Exhibit 2
                                          New Jersey Computations


  Week                                                           State Section 7: Section 7: Total Section 7
                                                 Hourly Hours/
 Ending                       Name                             Minumum Regular    Half-Time Overtime Back
                                                  Rate Week
  Date                                                           Wage  Rate Due     Due       Wages Due

10/15/2017 Anthony Lantigua Adames                $9.00   57.17   $    8.44               $    77.25   $    77.25
10/22/2017 Anthony Lantigua Adames                $9.00   57.08   $    8.44               $    76.88   $    76.88
10/29/2017 Anthony Lantigua Adames                $9.00   57.05   $    8.44               $    76.73   $    76.73
 11/5/2017 Anthony Lantigua Adames                $9.00   57.27   $    8.44               $    77.70   $    77.70
11/12/2017 Anthony Lantigua Adames                $9.00   51.07   $    8.44               $    49.80   $    49.80
11/19/2017 Anthony Lantigua Adames                $9.00   56.05   $    8.44               $    72.23   $    72.23
  4/7/2019 Anthony Negron                         $9.50   66.40   $    8.85               $   125.40   $   125.40
 4/14/2019 Anthony Negron                         $9.50   73.40   $    8.85               $   158.65   $   158.65
 4/21/2019 Anthony Negron                         $9.50   49.20   $    8.85               $    43.70   $    43.70
 4/28/2019 Anthony Negron                         $9.50   54.87   $    8.85               $    70.62   $    70.62
  5/5/2019 Anthony Negron                         $9.50   43.55   $    8.85               $    16.86   $    16.86
 5/12/2019 Anthony Negron                         $9.50   57.53   $    8.85               $    83.28   $    83.28
 5/19/2019 Anthony Negron                         $9.50   48.80   $    8.85               $    41.80   $    41.80
 5/26/2019 Anthony Negron                         $9.50   68.42   $    8.85               $   134.98   $   134.98
  6/9/2019 Anthony Negron                         $9.50   64.85   $    8.85               $   118.04   $   118.04
 6/16/2019 Anthony Negron                         $9.50   65.58   $    8.85               $   121.52   $   121.52
 6/23/2019 Anthony Negron                         $9.50   43.00   $    8.85               $    14.25   $    14.25
 6/30/2019 Anthony Negron                         $9.50   62.22   $   10.00   $   31.11   $   111.08   $   142.19
  7/7/2019 Anthony Negron                        $10.00   55.30   $   10.00               $    76.50   $    76.50
 7/14/2019 Anthony Negron                        $10.00   54.77   $   10.00               $    73.83   $    73.83
 7/21/2019 Anthony Negron                        $10.00   51.83   $   10.00               $    59.17   $    59.17
  7/7/2019 Anthony Nunez                         $11.00   57.72   $   10.00               $    97.44   $    97.44
 7/14/2019 Anthony Nunez                         $11.00   68.63   $   10.00               $   157.48   $   157.48
 8/11/2019 Anthony Nunez                         $11.00   44.75   $   10.00               $    26.13   $    26.13
 8/18/2019 Anthony Nunez                         $11.00   56.00   $   10.00               $    88.00   $    88.00
 8/25/2019 Anthony Nunez                         $11.00   68.40   $   10.00               $   156.20   $   156.20
  9/1/2019 Anthony Nunez                         $11.00   67.60   $   10.00               $   151.80   $   151.80
  9/8/2019 Anthony Nunez                         $11.00   61.40   $   10.00               $   117.70   $   117.70
 9/15/2019 Anthony Nunez                         $11.00   64.85   $   10.00               $   136.68   $   136.68
 9/22/2019 Anthony Nunez                         $11.00   67.15   $   10.00               $   149.33   $   149.33
 9/29/2019 Anthony Nunez                         $11.00   63.67   $   10.00               $   130.17   $   130.17
 10/6/2019 Anthony Nunez                         $11.00   68.42   $   10.00               $   156.29   $   156.29
10/13/2019 Anthony Nunez                         $11.00   53.07   $   10.00               $    71.87   $    71.87
10/20/2019 Anthony Nunez                         $11.00   45.47   $   10.00               $    30.07   $    30.07
10/27/2019 Anthony Nunez                         $11.00   59.52   $   10.00               $   107.34   $   107.34
 11/3/2019 Anthony Nunez                         $11.00   56.55   $   10.00               $    91.03   $    91.03
11/10/2019 Anthony Nunez                         $11.00   56.35   $   10.00               $    89.93   $    89.93
11/17/2019 Anthony Nunez                         $11.00   59.92   $   10.00               $   109.54   $   109.54
11/24/2019 Anthony Nunez                         $11.00   56.65   $   10.00               $    91.58   $    91.58
 12/1/2019 Anthony Nunez                         $11.00   51.22   $   10.00               $    61.69   $    61.69
 12/8/2019 Anthony Nunez                         $11.00   61.67   $   10.00               $   119.17   $   119.17
12/15/2019 Anthony Nunez                         $11.00   72.58   $   10.00               $   179.21   $   179.21
12/22/2019 Anthony Nunez                         $11.00   69.28   $   10.00               $   161.06   $   161.06
  1/5/2020 Anthony Nunez                         $11.00   50.83   $   11.00               $    59.58   $    59.58
 1/12/2020 Anthony Nunez                         $11.00   65.28   $   11.00               $   139.06   $   139.06
 1/19/2020 Anthony Nunez                         $11.00   72.13   $   11.00               $   176.73   $   176.73
 1/26/2020 Anthony Nunez                         $11.00   71.17   $   11.00               $   171.42   $   171.42
  7/7/2019 Anthony Toribio Roque Ortega          $10.00   67.52   $   10.00               $   137.58   $   137.58
 7/14/2019 Anthony Toribio Roque Ortega          $10.00   67.00   $   10.00               $   135.00   $   135.00
 7/21/2019 Anthony Toribio Roque Ortega          $10.00   72.68   $   10.00               $   163.42   $   163.42



                                                    49
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 51 of 683 PageID: 898
                                                  Exhibit 2
                                          New Jersey Computations


  Week                                                           State Section 7: Section 7: Total Section 7
                                                 Hourly Hours/
 Ending                       Name                             Minumum Regular    Half-Time Overtime Back
                                                  Rate Week
  Date                                                           Wage  Rate Due     Due       Wages Due

 7/28/2019 Anthony Toribio Roque Ortega          $10.00   71.65   $   10.00               $   158.25   $   158.25
  8/4/2019 Anthony Toribio Roque Ortega          $10.00   74.22   $   10.00               $   171.08   $   171.08
 8/11/2019 Anthony Toribio Roque Ortega          $10.00   68.93   $   10.00               $   144.67   $   144.67
 8/18/2019 Anthony Toribio Roque Ortega          $10.00   50.20   $   10.00               $    51.00   $    51.00
 8/25/2019 Anthony Toribio Roque Ortega          $10.00   65.45   $   10.00               $   127.25   $   127.25
  9/1/2019 Anthony Toribio Roque Ortega          $10.00   70.38   $   10.00               $   151.92   $   151.92
  9/8/2019 Anthony Toribio Roque Ortega          $10.00   69.63   $   10.00               $   148.17   $   148.17
 9/15/2019 Anthony Toribio Roque Ortega          $10.00   68.72   $   10.00               $   143.58   $   143.58
 9/22/2019 Anthony Toribio Roque Ortega          $10.00   67.17   $   10.00               $   135.83   $   135.83
 9/29/2019 Anthony Toribio Roque Ortega          $10.00   64.60   $   10.00               $   123.00   $   123.00
 10/6/2019 Anthony Toribio Roque Ortega          $10.00   65.25   $   10.00               $   126.25   $   126.25
10/13/2019 Anthony Toribio Roque Ortega          $10.00   64.13   $   10.00               $   120.67   $   120.67
10/20/2019 Anthony Toribio Roque Ortega          $11.00   58.62   $   10.00               $   102.39   $   102.39
10/27/2019 Anthony Toribio Roque Ortega          $11.00   66.82   $   10.00               $   147.49   $   147.49
 11/3/2019 Anthony Toribio Roque Ortega          $11.00   69.13   $   10.00               $   160.23   $   160.23
11/10/2019 Anthony Toribio Roque Ortega          $11.00   67.77   $   10.00               $   152.72   $   152.72
11/17/2019 Anthony Toribio Roque Ortega          $11.00   56.57   $   10.00               $    91.12   $    91.12
11/24/2019 Anthony Toribio Roque Ortega          $11.00   68.58   $   10.00               $   157.21   $   157.21
 12/1/2019 Anthony Toribio Roque Ortega          $11.00   56.97   $   10.00               $    93.32   $    93.32
 12/8/2019 Anthony Toribio Roque Ortega          $11.00   66.95   $   10.00               $   148.23   $   148.23
12/15/2019 Anthony Toribio Roque Ortega          $10.00   68.57   $   10.00               $   142.83   $   142.83
12/22/2019 Anthony Toribio Roque Ortega          $10.00   59.93   $   10.00               $    99.67   $    99.67
12/29/2019 Anthony Toribio Roque Ortega          $10.00   57.88   $   10.00               $    89.42   $    89.42
  1/5/2020 Anthony Toribio Roque Ortega          $10.00   57.25   $   11.00   $   57.25   $    94.88   $   152.13
 1/12/2020 Anthony Toribio Roque Ortega          $10.00   68.33   $   11.00   $   68.33   $   155.83   $   224.17
 1/19/2020 Anthony Toribio Roque Ortega          $10.00   67.78   $   11.00   $   67.78   $   152.81   $   220.59
 1/26/2020 Anthony Toribio Roque Ortega          $10.00   68.98   $   11.00   $   68.98   $   159.41   $   228.39
 8/13/2017 Antonio Caban                          $9.50   58.47   $    8.44               $    87.72   $    87.72
 8/20/2017 Antonio Caban                          $9.50   40.38   $    8.44               $     1.82   $     1.82
  2/5/2017 Antonio Manuel Pena                   $10.50   53.95   $    8.44               $    73.24   $    73.24
 3/12/2017 Antonio Manuel Pena                   $10.50   69.65   $    8.44               $   155.66   $   155.66
 3/19/2017 Antonio Manuel Pena                   $10.50   45.03   $    8.44               $    26.43   $    26.43
 3/26/2017 Antonio Manuel Pena                   $10.50   74.05   $    8.44               $   178.76   $   178.76
  4/2/2017 Antonio Manuel Pena                   $10.50   72.83   $    8.44               $   172.38   $   172.38
  4/9/2017 Antonio Manuel Pena                   $10.50   50.17   $    8.44               $    53.38   $    53.38
 4/16/2017 Antonio Manuel Pena                   $10.50   47.85   $    8.44               $    41.21   $    41.21
 4/23/2017 Antonio Manuel Pena                   $10.50   49.37   $    8.44               $    49.18   $    49.18
  5/7/2017 Antonio Manuel Pena                   $10.50   49.38   $    8.44               $    49.26   $    49.26
 5/14/2017 Antonio Manuel Pena                   $10.50   40.72   $    8.44               $     3.76   $     3.76
 5/21/2017 Antonio Manuel Pena                   $10.50   51.63   $    8.44               $    61.08   $    61.08
 5/28/2017 Antonio Manuel Pena                   $10.50   49.13   $    8.44               $    47.95   $    47.95
  6/4/2017 Antonio Manuel Pena                   $10.50   62.65   $    8.44               $   118.91   $   118.91
 6/11/2017 Antonio Manuel Pena                   $10.50   70.88   $    8.44               $   162.14   $   162.14
 6/18/2017 Antonio Manuel Pena                   $10.50   68.43   $    8.44               $   149.28   $   149.28
 6/25/2017 Antonio Manuel Pena                   $10.50   77.32   $    8.44               $   195.91   $   195.91
  7/2/2017 Antonio Manuel Pena                   $10.50   74.32   $    8.44               $   180.16   $   180.16
  7/9/2017 Antonio Manuel Pena                   $10.50   45.73   $    8.44               $    30.10   $    30.10
 7/16/2017 Antonio Manuel Pena                   $10.50   71.65   $    8.44               $   166.16   $   166.16
 7/23/2017 Antonio Manuel Pena                   $10.50   48.53   $    8.44               $    44.80   $    44.80
 7/30/2017 Antonio Manuel Pena                   $10.50   59.67   $    8.44               $   103.25   $   103.25



                                                    50
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 52 of 683 PageID: 899
                                            Exhibit 2
                                    New Jersey Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
  Date                                                     Wage  Rate Due     Due       Wages Due

  8/6/2017 Antonio Manuel Pena             $10.50   68.68   $   8.44          $   150.59   $    150.59
 8/13/2017 Antonio Manuel Pena             $10.50   61.50   $   8.44          $   112.88   $    112.88
 8/20/2017 Antonio Manuel Pena             $10.50   68.20   $   8.44          $   148.05   $    148.05
 8/27/2017 Antonio Manuel Pena             $10.50   73.13   $   8.44          $   173.95   $    173.95
  9/3/2017 Antonio Manuel Pena             $10.50   73.90   $   8.44          $   177.98   $    177.98
 9/10/2017 Antonio Manuel Pena             $10.50   62.67   $   8.44          $   119.00   $    119.00
 9/17/2017 Antonio Manuel Pena             $10.50   71.93   $   8.44          $   167.65   $    167.65
 9/24/2017 Antonio Manuel Pena             $10.50   61.20   $   8.44          $   111.30   $    111.30
 10/1/2017 Antonio Manuel Pena             $10.50   66.97   $   8.44          $   141.58   $    141.58
 10/8/2017 Antonio Manuel Pena             $10.50   62.20   $   8.44          $   116.55   $    116.55
10/29/2017 Antonio Manuel Pena             $10.50   66.85   $   8.44          $   140.96   $    140.96
 11/5/2017 Antonio Manuel Pena             $10.50   66.62   $   8.44          $   139.74   $    139.74
11/12/2017 Antonio Manuel Pena             $10.50   63.07   $   8.44          $   121.10   $    121.10
11/19/2017 Antonio Manuel Pena             $10.50   70.52   $   8.44          $   160.21   $    160.21
11/26/2017 Antonio Manuel Pena             $10.50   46.55   $   8.44          $    34.39   $     34.39
 12/3/2017 Antonio Manuel Pena             $10.50   70.42   $   8.44          $   159.69   $    159.69
12/10/2017 Antonio Manuel Pena             $10.50   66.18   $   8.44          $   137.46   $    137.46
12/17/2017 Antonio Manuel Pena             $10.50   55.72   $   8.44          $    82.51   $     82.51
12/24/2017 Antonio Manuel Pena             $10.50   62.73   $   8.44          $   119.35   $    119.35
12/31/2017 Antonio Manuel Pena             $10.50   49.95   $   8.44          $    52.24   $     52.24
 1/14/2018 Antonio Manuel Pena             $10.50   51.72   $   8.60          $    61.51   $     61.51
 1/21/2018 Antonio Manuel Pena             $10.50   53.58   $   8.60          $    71.31   $     71.31
 1/28/2018 Antonio Manuel Pena             $10.50   54.53   $   8.60          $    76.30   $     76.30
  2/4/2018 Antonio Manuel Pena             $10.50   41.80   $   8.60          $     9.45   $      9.45
 2/11/2018 Antonio Manuel Pena             $10.50   52.90   $   8.60          $    67.73   $     67.73
 2/18/2018 Antonio Manuel Pena             $10.50   52.02   $   8.60          $    63.09   $     63.09
 2/25/2018 Antonio Manuel Pena             $10.50   52.10   $   8.60          $    63.53   $     63.53
  3/4/2018 Antonio Manuel Pena             $10.50   54.57   $   8.60          $    76.48   $     76.48
 3/25/2018 Antonio Manuel Pena             $10.50   51.37   $   8.60          $    59.68   $     59.68
  4/1/2018 Antonio Manuel Pena             $10.50   55.58   $   8.60          $    81.81   $     81.81
  4/8/2018 Antonio Manuel Pena             $10.50   53.73   $   8.60          $    72.10   $     72.10
 4/15/2018 Antonio Manuel Pena             $10.50   52.32   $   8.60          $    64.66   $     64.66
 4/22/2018 Antonio Manuel Pena             $10.50   44.57   $   8.60          $    23.98   $     23.98
 4/29/2018 Antonio Manuel Pena             $10.50   55.80   $   8.60          $    82.95   $     82.95
  5/6/2018 Antonio Manuel Pena             $10.50   43.10   $   8.60          $    16.28   $     16.28
 5/13/2018 Antonio Manuel Pena             $10.50   52.43   $   8.60          $    65.28   $     65.28
 5/20/2018 Antonio Manuel Pena             $10.50   58.43   $   8.60          $    96.78   $     96.78
 5/27/2018 Antonio Manuel Pena             $10.50   65.77   $   8.60          $   135.28   $    135.28
  6/3/2018 Antonio Manuel Pena             $10.50   48.68   $   8.60          $    45.59   $     45.59
 6/10/2018 Antonio Manuel Pena             $10.50   53.15   $   8.60          $    69.04   $     69.04
 6/17/2018 Antonio Manuel Pena             $10.50   58.72   $   8.60          $    98.26   $     98.26
 6/24/2018 Antonio Manuel Pena             $10.50   53.60   $   8.60          $    71.40   $     71.40
  7/1/2018 Antonio Manuel Pena             $10.50   57.52   $   8.60          $    91.96   $     91.96
  7/8/2018 Antonio Manuel Pena             $10.50   45.53   $   8.60          $    29.05   $     29.05
 7/15/2018 Antonio Manuel Pena             $10.50   58.37   $   8.60          $    96.43   $     96.43
 7/22/2018 Antonio Manuel Pena             $10.50   56.80   $   8.60          $    88.20   $     88.20
 7/29/2018 Antonio Manuel Pena             $10.50   59.75   $   8.60          $   103.69   $    103.69
  8/5/2018 Antonio Manuel Pena             $10.50   59.07   $   8.60          $   100.10   $    100.10
 8/12/2018 Antonio Manuel Pena             $10.50   56.53   $   8.60          $    86.80   $     86.80
 8/19/2018 Antonio Manuel Pena             $10.50   58.68   $   8.60          $    98.09   $     98.09



                                              51
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 53 of 683 PageID: 900
                                             Exhibit 2
                                     New Jersey Computations


  Week                                                      State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
 Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
  Date                                                      Wage  Rate Due     Due       Wages Due

 8/26/2018 Antonio Manuel Pena              $10.50   58.58   $   8.60          $    97.56   $     97.56
  9/2/2018 Antonio Manuel Pena              $10.50   59.68   $   8.60          $   103.34   $    103.34
 1/28/2018 Antonio Monge                    $10.00   57.60   $   8.60          $    88.00   $     88.00
  2/4/2018 Antonio Monge                    $10.00   58.05   $   8.60          $    90.25   $     90.25
 2/11/2018 Antonio Monge                    $10.00   58.18   $   8.60          $    90.92   $     90.92
 2/18/2018 Antonio Monge                    $10.00   58.00   $   8.60          $    90.00   $     90.00
 2/25/2018 Antonio Monge                    $10.00   58.13   $   8.60          $    90.67   $     90.67
  3/4/2018 Antonio Monge                    $10.00   58.18   $   8.60          $    90.92   $     90.92
 3/25/2018 Antonio Monge                    $10.00   40.15   $   8.60          $     0.75   $      0.75
  4/1/2018 Antonio Monge                    $10.00   58.12   $   8.60          $    90.58   $     90.58
  4/8/2018 Antonio Monge                    $10.00   58.27   $   8.60          $    91.33   $     91.33
 4/15/2018 Antonio Monge                    $10.00   49.23   $   8.60          $    46.17   $     46.17
 4/22/2018 Antonio Monge                    $10.00   58.13   $   8.60          $    90.67   $     90.67
 4/29/2018 Antonio Monge                    $10.00   58.05   $   8.60          $    90.25   $     90.25
  5/6/2018 Antonio Monge                    $10.00   58.07   $   8.60          $    90.33   $     90.33
 5/13/2018 Antonio Monge                    $10.00   58.07   $   8.60          $    90.33   $     90.33
 5/20/2018 Antonio Monge                    $10.00   58.07   $   8.60          $    90.33   $     90.33
 5/27/2018 Antonio Monge                    $10.00   58.10   $   8.60          $    90.50   $     90.50
  6/3/2018 Antonio Monge                    $10.00   48.05   $   8.60          $    40.25   $     40.25
 6/10/2018 Antonio Monge                    $10.00   58.12   $   8.60          $    90.58   $     90.58
 6/17/2018 Antonio Monge                    $10.00   58.08   $   8.60          $    90.42   $     90.42
 6/24/2018 Antonio Monge                    $10.00   58.13   $   8.60          $    90.67   $     90.67
  7/1/2018 Antonio Monge                    $10.00   58.05   $   8.60          $    90.25   $     90.25
  7/8/2018 Antonio Monge                    $10.00   48.07   $   8.60          $    40.33   $     40.33
 7/15/2018 Antonio Monge                    $10.00   58.03   $   8.60          $    90.17   $     90.17
 7/22/2018 Antonio Monge                    $10.00   58.08   $   8.60          $    90.42   $     90.42
 7/29/2018 Antonio Monge                    $10.00   58.07   $   8.60          $    90.33   $     90.33
  8/5/2018 Antonio Monge                    $10.00   58.02   $   8.60          $    90.08   $     90.08
 8/12/2018 Antonio Monge                    $10.00   50.03   $   8.60          $    50.17   $     50.17
 8/19/2018 Antonio Monge                    $10.00   48.03   $   8.60          $    40.17   $     40.17
 8/26/2018 Antonio Monge                    $10.00   58.00   $   8.60          $    90.00   $     90.00
  9/2/2018 Antonio Monge                    $10.00   58.03   $   8.60          $    90.17   $     90.17
  9/9/2018 Antonio Monge                    $10.00   49.18   $   8.60          $    45.92   $     45.92
 9/16/2018 Antonio Monge                    $10.00   58.05   $   8.60          $    90.25   $     90.25
 9/23/2018 Antonio Monge                    $10.00   58.13   $   8.60          $    90.67   $     90.67
 9/30/2018 Antonio Monge                    $10.00   58.10   $   8.60          $    90.50   $     90.50
 10/7/2018 Antonio Monge                    $10.00   58.12   $   8.60          $    90.58   $     90.58
 11/4/2018 Antonio Rosario Rojas             $9.50   55.48   $   8.60          $    73.55   $     73.55
11/11/2018 Antonio Rosario Rojas             $9.50   66.60   $   8.60          $   126.35   $    126.35
11/18/2018 Antonio Rosario Rojas             $9.50   71.15   $   8.60          $   147.96   $    147.96
11/25/2018 Antonio Rosario Rojas             $9.50   58.33   $   8.60          $    87.08   $     87.08
 12/2/2018 Antonio Rosario Rojas             $9.50   65.42   $   8.60          $   120.73   $    120.73
 12/9/2018 Antonio Rosario Rojas             $9.50   70.77   $   8.60          $   146.14   $    146.14
12/16/2018 Antonio Rosario Rojas             $9.50   68.97   $   8.60          $   137.59   $    137.59
12/23/2018 Antonio Rosario Rojas             $9.50   71.40   $   8.60          $   149.15   $    149.15
12/30/2018 Antonio Rosario Rojas             $9.50   54.12   $   8.60          $    67.05   $     67.05
  1/6/2019 Antonio Rosario Rojas             $9.50   50.10   $   8.85          $    47.98   $     47.98
 1/13/2019 Antonio Rosario Rojas             $9.50   70.45   $   8.85          $   144.64   $    144.64
 1/20/2019 Antonio Rosario Rojas            $11.00   70.70   $   8.85          $   168.85   $    168.85
 1/27/2019 Antonio Rosario Rojas            $11.00   42.85   $   8.85          $    15.68   $     15.68



                                               52
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 54 of 683 PageID: 901
                                             Exhibit 2
                                     New Jersey Computations


  Week                                                      State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
 Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
  Date                                                      Wage  Rate Due     Due       Wages Due

  2/3/2019 Antonio Rosario Rojas            $11.00   68.78   $    8.85         $   158.31   $    158.31
 2/10/2019 Antonio Rosario Rojas            $11.00   66.90   $    8.85         $   147.95   $    147.95
 2/17/2019 Antonio Rosario Rojas            $11.00   70.52   $    8.85         $   167.84   $    167.84
 2/24/2019 Antonio Rosario Rojas            $11.00   70.47   $    8.85         $   167.57   $    167.57
  3/3/2019 Antonio Rosario Rojas            $11.00   72.53   $    8.85         $   178.93   $    178.93
 3/10/2019 Antonio Rosario Rojas            $11.00   57.50   $    8.85         $    96.25   $     96.25
 3/17/2019 Antonio Rosario Rojas            $11.00   69.92   $    8.85         $   164.54   $    164.54
 3/24/2019 Antonio Rosario Rojas            $11.00   70.05   $    8.85         $   165.28   $    165.28
 3/31/2019 Antonio Rosario Rojas            $11.00   73.45   $    8.85         $   183.98   $    183.98
  4/7/2019 Antonio Rosario Rojas            $11.00   67.42   $    8.85         $   150.79   $    150.79
 4/14/2019 Antonio Rosario Rojas            $11.00   73.47   $    8.85         $   184.07   $    184.07
 4/21/2019 Antonio Rosario Rojas            $11.00   72.22   $    8.85         $   177.19   $    177.19
 4/28/2019 Antonio Rosario Rojas            $11.00   59.15   $    8.85         $   105.33   $    105.33
  5/5/2019 Antonio Rosario Rojas            $11.00   72.82   $    8.85         $   180.49   $    180.49
 5/12/2019 Antonio Rosario Rojas            $11.00   73.45   $    8.85         $   183.98   $    183.98
 5/19/2019 Antonio Rosario Rojas            $11.00   72.37   $    8.85         $   178.02   $    178.02
 5/26/2019 Antonio Rosario Rojas            $11.00   40.20   $    8.85         $     1.10   $      1.10
  6/2/2019 Antonio Rosario Rojas            $11.00   63.43   $    8.85         $   128.88   $    128.88
  6/9/2019 Antonio Rosario Rojas            $11.00   67.07   $    8.85         $   148.87   $    148.87
 6/16/2019 Antonio Rosario Rojas            $11.00   48.88   $    8.85         $    48.86   $     48.86
 6/23/2019 Antonio Rosario Rojas            $11.00   59.02   $    8.85         $   104.59   $    104.59
 6/30/2019 Antonio Rosario Rojas            $11.00   67.57   $   10.00         $   151.62   $    151.62
  7/7/2019 Antonio Rosario Rojas            $11.00   43.82   $   10.00         $    20.99   $     20.99
 7/14/2019 Antonio Rosario Rojas            $11.00   56.98   $   10.00         $    93.41   $     93.41
 7/21/2019 Antonio Rosario Rojas            $11.00   67.23   $   10.00         $   149.78   $    149.78
 7/28/2019 Antonio Rosario Rojas            $11.00   69.30   $   10.00         $   161.15   $    161.15
  8/4/2019 Antonio Rosario Rojas            $11.00   45.47   $   10.00         $    30.07   $     30.07
 8/11/2019 Antonio Rosario Rojas            $11.00   68.25   $   10.00         $   155.38   $    155.38
 8/18/2019 Antonio Rosario Rojas            $11.00   57.55   $   10.00         $    96.52   $     96.52
  9/1/2019 Antonio Rosario Rojas            $11.00   57.90   $   10.00         $    98.45   $     98.45
  9/8/2019 Antonio Rosario Rojas            $11.00   58.12   $   10.00         $    99.64   $     99.64
 9/22/2019 Antonio Rosario Rojas            $11.00   50.63   $   10.00         $    58.48   $     58.48
 9/29/2019 Antonio Rosario Rojas            $11.00   70.22   $   10.00         $   166.19   $    166.19
 10/6/2019 Antonio Rosario Rojas            $11.00   69.23   $   10.00         $   160.78   $    160.78
10/13/2019 Antonio Rosario Rojas            $11.00   70.48   $   10.00         $   167.66   $    167.66
10/20/2019 Antonio Rosario Rojas            $11.00   47.73   $   10.00         $    42.53   $     42.53
 1/26/2020 Antonio Rosario Rojas            $11.00   52.47   $   11.00         $    68.57   $     68.57
 4/14/2019 Antonio Sical                    $16.50   54.50   $    8.85         $   119.63   $    119.63
 4/21/2019 Antonio Sical                    $16.50   51.00   $    8.85         $    90.75   $     90.75
 4/28/2019 Antonio Sical                    $16.50   53.00   $    8.85         $   107.25   $    107.25
 5/12/2019 Antonio Sical                    $16.50   46.55   $    8.85         $    54.04   $     54.04
 5/19/2019 Antonio Sical                    $16.50   46.63   $    8.85         $    54.73   $     54.73
 5/26/2019 Antonio Sical                    $16.50   49.45   $    8.85         $    77.96   $     77.96
  6/9/2019 Antonio Sical                    $16.50   51.88   $    8.85         $    98.04   $     98.04
 6/16/2019 Antonio Sical                    $16.50   52.30   $    8.85         $   101.48   $    101.48
 6/23/2019 Antonio Sical                    $16.50   52.37   $    8.85         $   102.03   $    102.03
 6/30/2019 Antonio Sical                    $16.50   59.53   $   10.00         $   161.15   $    161.15
  7/7/2019 Antonio Sical                    $16.50   51.95   $   10.00         $    98.59   $     98.59
 7/14/2019 Antonio Sical                    $16.50   60.67   $   10.00         $   170.50   $    170.50
 7/21/2019 Antonio Sical                    $16.50   45.92   $   10.00         $    48.81   $     48.81



                                               53
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 55 of 683 PageID: 902
                                                 Exhibit 2
                                         New Jersey Computations


  Week                                                          State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
 Ending                       Name                            Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
  Date                                                          Wage  Rate Due     Due       Wages Due

  8/4/2019 Antonio Sical                        $16.50   40.75   $   10.00         $     6.19   $      6.19
 8/11/2019 Antonio Sical                        $16.50   40.10   $   10.00         $     0.82   $      0.82
 8/25/2019 Antonio Sical                        $16.50   41.43   $   10.00         $    11.83   $     11.83
 9/15/2019 Antonio Sical                        $16.50   42.98   $   10.00         $    24.61   $     24.61
 9/22/2019 Antonio Sical                        $16.50   51.97   $   10.00         $    98.73   $     98.73
 9/29/2019 Antonio Sical                        $16.50   52.80   $   10.00         $   105.60   $    105.60
 10/6/2019 Antonio Sical                        $16.50   49.37   $   10.00         $    77.28   $     77.28
10/13/2019 Antonio Sical                        $16.50   54.45   $   10.00         $   119.21   $    119.21
10/27/2019 Antonio Sical                        $16.50   41.65   $   10.00         $    13.61   $     13.61
 11/3/2019 Antonio Sical                        $16.50   41.18   $   10.00         $     9.76   $      9.76
11/10/2019 Antonio Sical                        $16.50   41.38   $   10.00         $    11.41   $     11.41
11/24/2019 Antonio Sical                        $16.50   41.78   $   10.00         $    14.71   $     14.71
 12/8/2019 Antonio Sical                        $16.50   42.80   $   10.00         $    23.10   $     23.10
12/15/2019 Antonio Sical                        $16.50   41.93   $   10.00         $    15.95   $     15.95
12/22/2019 Antonio Sical                        $16.50   41.55   $   10.00         $    12.79   $     12.79
 1/12/2020 Antonio Sical                        $16.50   41.67   $   11.00         $    13.75   $     13.75
 1/19/2020 Antonio Sical                        $16.50   41.65   $   11.00         $    13.61   $     13.61
12/31/2017 Antony Toribio Roque Ortega          $10.00   54.37   $    8.44         $    71.83   $     71.83
  1/7/2018 Antony Toribio Roque Ortega          $10.00   48.07   $    8.60         $    40.33   $     40.33
 1/14/2018 Antony Toribio Roque Ortega          $10.00   62.88   $    8.60         $   114.42   $    114.42
 1/21/2018 Antony Toribio Roque Ortega          $10.00   61.70   $    8.60         $   108.50   $    108.50
 1/28/2018 Antony Toribio Roque Ortega          $10.00   63.33   $    8.60         $   116.67   $    116.67
  2/4/2018 Antony Toribio Roque Ortega          $10.00   62.47   $    8.60         $   112.33   $    112.33
 2/11/2018 Antony Toribio Roque Ortega          $10.00   60.23   $    8.60         $   101.17   $    101.17
 2/18/2018 Antony Toribio Roque Ortega          $10.00   62.12   $    8.60         $   110.58   $    110.58
 2/25/2018 Antony Toribio Roque Ortega          $10.00   62.72   $    8.60         $   113.58   $    113.58
  3/4/2018 Antony Toribio Roque Ortega          $10.00   62.23   $    8.60         $   111.17   $    111.17
 3/25/2018 Antony Toribio Roque Ortega          $10.00   49.18   $    8.60         $    45.92   $     45.92
  4/1/2018 Antony Toribio Roque Ortega          $10.00   65.77   $    8.60         $   128.83   $    128.83
  4/8/2018 Antony Toribio Roque Ortega          $10.00   67.33   $    8.60         $   136.67   $    136.67
 4/15/2018 Antony Toribio Roque Ortega          $10.00   66.15   $    8.60         $   130.75   $    130.75
 4/22/2018 Antony Toribio Roque Ortega          $10.00   66.08   $    8.60         $   130.42   $    130.42
 4/29/2018 Antony Toribio Roque Ortega          $10.00   75.97   $    8.60         $   179.83   $    179.83
  5/6/2018 Antony Toribio Roque Ortega          $10.00   77.22   $    8.60         $   186.08   $    186.08
 5/13/2018 Antony Toribio Roque Ortega          $10.00   74.55   $    8.60         $   172.75   $    172.75
 5/20/2018 Antony Toribio Roque Ortega          $10.00   68.97   $    8.60         $   144.83   $    144.83
 5/27/2018 Antony Toribio Roque Ortega          $10.00   72.33   $    8.60         $   161.67   $    161.67
  6/3/2018 Antony Toribio Roque Ortega          $10.00   71.65   $    8.60         $   158.25   $    158.25
 6/10/2018 Antony Toribio Roque Ortega          $10.00   77.02   $    8.60         $   185.08   $    185.08
 6/17/2018 Antony Toribio Roque Ortega          $10.00   68.85   $    8.60         $   144.25   $    144.25
 6/24/2018 Antony Toribio Roque Ortega          $10.00   72.15   $    8.60         $   160.75   $    160.75
  7/1/2018 Antony Toribio Roque Ortega          $10.00   73.37   $    8.60         $   166.83   $    166.83
  7/8/2018 Antony Toribio Roque Ortega          $10.00   65.58   $    8.60         $   127.92   $    127.92
 7/15/2018 Antony Toribio Roque Ortega          $10.00   77.12   $    8.60         $   185.58   $    185.58
 7/22/2018 Antony Toribio Roque Ortega          $10.00   70.32   $    8.60         $   151.58   $    151.58
 7/29/2018 Antony Toribio Roque Ortega          $10.00   74.27   $    8.60         $   171.33   $    171.33
  8/5/2018 Antony Toribio Roque Ortega          $10.00   70.60   $    8.60         $   153.00   $    153.00
 8/12/2018 Antony Toribio Roque Ortega          $10.00   67.55   $    8.60         $   137.75   $    137.75
 8/19/2018 Antony Toribio Roque Ortega          $10.00   73.37   $    8.60         $   166.83   $    166.83
 8/26/2018 Antony Toribio Roque Ortega          $10.00   65.98   $    8.60         $   129.92   $    129.92



                                                   54
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 56 of 683 PageID: 903
                                                 Exhibit 2
                                         New Jersey Computations


  Week                                                          State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
 Ending                       Name                            Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
  Date                                                          Wage  Rate Due     Due       Wages Due

  9/2/2018 Antony Toribio Roque Ortega          $10.00   71.75   $    8.60         $   158.75   $    158.75
  9/9/2018 Antony Toribio Roque Ortega          $10.00   63.30   $    8.60         $   116.50   $    116.50
 9/16/2018 Antony Toribio Roque Ortega          $10.00   62.83   $    8.60         $   114.17   $    114.17
 9/23/2018 Antony Toribio Roque Ortega          $10.00   62.00   $    8.60         $   110.00   $    110.00
 9/30/2018 Antony Toribio Roque Ortega          $10.00   45.23   $    8.60         $    26.17   $     26.17
 10/7/2018 Antony Toribio Roque Ortega          $10.00   67.73   $    8.60         $   138.67   $    138.67
10/14/2018 Antony Toribio Roque Ortega          $10.00   67.63   $    8.60         $   138.17   $    138.17
10/21/2018 Antony Toribio Roque Ortega          $10.00   64.67   $    8.60         $   123.33   $    123.33
10/28/2018 Antony Toribio Roque Ortega          $10.00   67.15   $    8.60         $   135.75   $    135.75
 11/4/2018 Antony Toribio Roque Ortega          $10.00   58.27   $    8.60         $    91.33   $     91.33
11/11/2018 Antony Toribio Roque Ortega          $10.00   65.75   $    8.60         $   128.75   $    128.75
11/18/2018 Antony Toribio Roque Ortega          $10.00   61.37   $    8.60         $   106.83   $    106.83
11/25/2018 Antony Toribio Roque Ortega          $10.00   54.85   $    8.60         $    74.25   $     74.25
 12/2/2018 Antony Toribio Roque Ortega          $10.00   69.70   $    8.60         $   148.50   $    148.50
 12/9/2018 Antony Toribio Roque Ortega          $10.00   63.40   $    8.60         $   117.00   $    117.00
12/16/2018 Antony Toribio Roque Ortega          $10.00   61.53   $    8.60         $   107.67   $    107.67
12/23/2018 Antony Toribio Roque Ortega          $10.00   69.32   $    8.60         $   146.58   $    146.58
12/30/2018 Antony Toribio Roque Ortega          $10.00   55.08   $    8.60         $    75.42   $     75.42
  1/6/2019 Antony Toribio Roque Ortega          $10.00   64.98   $    8.85         $   124.92   $    124.92
 1/13/2019 Antony Toribio Roque Ortega          $10.00   66.17   $    8.85         $   130.83   $    130.83
 1/20/2019 Antony Toribio Roque Ortega          $10.00   66.33   $    8.85         $   131.67   $    131.67
 1/27/2019 Antony Toribio Roque Ortega          $10.00   64.63   $    8.85         $   123.17   $    123.17
  2/3/2019 Antony Toribio Roque Ortega          $10.00   70.48   $    8.85         $   152.42   $    152.42
 2/10/2019 Antony Toribio Roque Ortega          $10.00   67.98   $    8.85         $   139.92   $    139.92
 2/17/2019 Antony Toribio Roque Ortega          $10.00   61.82   $    8.85         $   109.08   $    109.08
 2/24/2019 Antony Toribio Roque Ortega          $10.00   63.80   $    8.85         $   119.00   $    119.00
  3/3/2019 Antony Toribio Roque Ortega          $10.00   72.40   $    8.85         $   162.00   $    162.00
 3/10/2019 Antony Toribio Roque Ortega          $10.00   67.83   $    8.85         $   139.17   $    139.17
 3/17/2019 Antony Toribio Roque Ortega          $10.00   68.13   $    8.85         $   140.67   $    140.67
 3/24/2019 Antony Toribio Roque Ortega          $10.00   78.05   $    8.85         $   190.25   $    190.25
 3/31/2019 Antony Toribio Roque Ortega          $10.00   67.70   $    8.85         $   138.50   $    138.50
  4/7/2019 Antony Toribio Roque Ortega          $10.00   60.45   $    8.85         $   102.25   $    102.25
 4/14/2019 Antony Toribio Roque Ortega          $10.00   68.92   $    8.85         $   144.58   $    144.58
 4/21/2019 Antony Toribio Roque Ortega          $10.00   67.75   $    8.85         $   138.75   $    138.75
 4/28/2019 Antony Toribio Roque Ortega          $10.00   69.23   $    8.85         $   146.17   $    146.17
  5/5/2019 Antony Toribio Roque Ortega          $10.00   70.22   $    8.85         $   151.08   $    151.08
 5/12/2019 Antony Toribio Roque Ortega          $10.00   70.15   $    8.85         $   150.75   $    150.75
 5/19/2019 Antony Toribio Roque Ortega          $10.00   61.70   $    8.85         $   108.50   $    108.50
 5/26/2019 Antony Toribio Roque Ortega          $10.00   71.32   $    8.85         $   156.58   $    156.58
  6/2/2019 Antony Toribio Roque Ortega          $10.00   51.07   $    8.85         $    55.33   $     55.33
  6/9/2019 Antony Toribio Roque Ortega          $10.00   70.08   $    8.85         $   150.42   $    150.42
 6/16/2019 Antony Toribio Roque Ortega          $10.00   43.30   $    8.85         $    16.50   $     16.50
 6/23/2019 Antony Toribio Roque Ortega          $10.00   68.90   $    8.85         $   144.50   $    144.50
 6/30/2019 Antony Toribio Roque Ortega          $10.00   69.77   $   10.00         $   148.83   $    148.83
 5/20/2018 Araceli Miranda                      $10.00   59.00   $    8.60         $    95.00   $     95.00
  6/3/2018 Araceli Miranda                      $10.00   71.72   $    8.60         $   158.58   $    158.58
 6/10/2018 Araceli Miranda                      $10.00   77.62   $    8.60         $   188.08   $    188.08
 6/17/2018 Araceli Miranda                      $10.00   61.93   $    8.60         $   109.67   $    109.67
 6/24/2018 Araceli Miranda                      $10.00   60.45   $    8.60         $   102.25   $    102.25
  7/1/2018 Araceli Miranda                      $10.00   67.87   $    8.60         $   139.33   $    139.33



                                                   55
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 57 of 683 PageID: 904
                                            Exhibit 2
                                    New Jersey Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
  Date                                                     Wage  Rate Due     Due       Wages Due

  7/8/2018 Araceli Miranda                 $10.00   59.40   $   8.60          $    97.00   $     97.00
 7/15/2018 Araceli Miranda                 $10.00   75.05   $   8.60          $   175.25   $    175.25
 7/22/2018 Araceli Miranda                 $10.00   61.73   $   8.60          $   108.67   $    108.67
 7/29/2018 Araceli Miranda                 $10.00   62.18   $   8.60          $   110.92   $    110.92
  8/5/2018 Araceli Miranda                 $10.00   74.12   $   8.60          $   170.58   $    170.58
 8/12/2018 Araceli Miranda                 $10.00   74.27   $   8.60          $   171.33   $    171.33
 8/19/2018 Araceli Miranda                 $10.00   67.78   $   8.60          $   138.92   $    138.92
 8/26/2018 Araceli Miranda                 $10.00   80.08   $   8.60          $   200.42   $    200.42
  9/2/2018 Araceli Miranda                 $10.00   82.33   $   8.60          $   211.67   $    211.67
  9/9/2018 Araceli Miranda                 $10.00   78.83   $   8.60          $   194.17   $    194.17
 9/16/2018 Araceli Miranda                 $10.00   78.48   $   8.60          $   192.42   $    192.42
 9/23/2018 Araceli Miranda                 $10.00   76.23   $   8.60          $   181.17   $    181.17
 9/30/2018 Araceli Miranda                 $10.00   77.83   $   8.60          $   189.17   $    189.17
 10/7/2018 Araceli Miranda                 $10.00   62.13   $   8.60          $   110.67   $    110.67
10/14/2018 Araceli Miranda                 $10.00   73.70   $   8.60          $   168.50   $    168.50
10/21/2018 Araceli Miranda                 $10.00   73.43   $   8.60          $   167.17   $    167.17
10/28/2018 Araceli Miranda                 $10.00   74.28   $   8.60          $   171.42   $    171.42
 11/4/2018 Araceli Miranda                 $10.00   73.57   $   8.60          $   167.83   $    167.83
11/11/2018 Araceli Miranda                 $10.00   75.45   $   8.60          $   177.25   $    177.25
11/18/2018 Araceli Miranda                 $10.00   70.02   $   8.60          $   150.08   $    150.08
11/25/2018 Araceli Miranda                 $10.00   55.72   $   8.60          $    78.58   $     78.58
 12/2/2018 Araceli Miranda                 $10.00   67.68   $   8.60          $   138.42   $    138.42
 12/9/2018 Araceli Miranda                 $10.00   70.22   $   8.60          $   151.08   $    151.08
12/16/2018 Araceli Miranda                 $10.00   69.92   $   8.60          $   149.58   $    149.58
12/23/2018 Araceli Miranda                 $10.00   71.08   $   8.60          $   155.42   $    155.42
12/30/2018 Araceli Miranda                 $10.00   57.02   $   8.60          $    85.08   $     85.08
  1/6/2019 Araceli Miranda                 $10.00   60.15   $   8.85          $   100.75   $    100.75
 1/13/2019 Araceli Miranda                 $10.00   70.55   $   8.85          $   152.75   $    152.75
 1/20/2019 Araceli Miranda                 $10.00   72.48   $   8.85          $   162.42   $    162.42
 1/27/2019 Araceli Miranda                 $10.00   70.92   $   8.85          $   154.58   $    154.58
  2/3/2019 Araceli Miranda                 $10.00   70.15   $   8.85          $   150.75   $    150.75
 2/10/2019 Araceli Miranda                 $10.00   68.68   $   8.85          $   143.42   $    143.42
 2/17/2019 Araceli Miranda                 $10.00   64.73   $   8.85          $   123.67   $    123.67
 2/24/2019 Araceli Miranda                 $10.00   66.23   $   8.85          $   131.17   $    131.17
  3/3/2019 Araceli Miranda                 $10.00   69.03   $   8.85          $   145.17   $    145.17
 3/10/2019 Araceli Miranda                 $10.00   72.12   $   8.85          $   160.58   $    160.58
 3/17/2019 Araceli Miranda                 $10.00   70.40   $   8.85          $   152.00   $    152.00
 3/24/2019 Araceli Miranda                 $10.00   72.25   $   8.85          $   161.25   $    161.25
 3/31/2019 Araceli Miranda                 $10.00   72.43   $   8.85          $   162.17   $    162.17
  4/7/2019 Araceli Miranda                 $10.00   60.97   $   8.85          $   104.83   $    104.83
 4/14/2019 Araceli Miranda                 $10.00   70.23   $   8.85          $   151.17   $    151.17
 4/21/2019 Araceli Miranda                 $10.00   59.07   $   8.85          $    95.33   $     95.33
 4/28/2019 Araceli Miranda                 $10.00   69.58   $   8.85          $   147.92   $    147.92
  5/5/2019 Araceli Miranda                 $10.00   74.48   $   8.85          $   172.42   $    172.42
 5/12/2019 Araceli Miranda                 $10.00   71.25   $   8.85          $   156.25   $    156.25
 5/19/2019 Araceli Miranda                 $10.00   70.80   $   8.85          $   154.00   $    154.00
 5/26/2019 Araceli Miranda                 $10.00   77.25   $   8.85          $   186.25   $    186.25
  6/2/2019 Araceli Miranda                 $10.00   70.40   $   8.85          $   152.00   $    152.00
  6/9/2019 Araceli Miranda                 $10.00   73.00   $   8.85          $   165.00   $    165.00
 6/16/2019 Araceli Miranda                 $10.00   72.25   $   8.85          $   161.25   $    161.25



                                              56
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 58 of 683 PageID: 905
                                             Exhibit 2
                                     New Jersey Computations


  Week                                                      State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
 Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
  Date                                                      Wage  Rate Due     Due       Wages Due

 6/23/2019 Araceli Miranda                  $10.00   70.83   $    8.85         $   154.17   $    154.17
 6/30/2019 Araceli Miranda                  $10.00   73.13   $   10.00         $   165.67   $    165.67
  7/7/2019 Araceli Miranda                  $11.00   71.60   $   10.00         $   173.80   $    173.80
 7/14/2019 Araceli Miranda                  $11.00   72.18   $   10.00         $   177.01   $    177.01
 7/21/2019 Araceli Miranda                  $11.00   73.47   $   10.00         $   184.07   $    184.07
 7/28/2019 Araceli Miranda                  $11.00   63.05   $   10.00         $   126.78   $    126.78
  8/4/2019 Araceli Miranda                  $11.00   59.38   $   10.00         $   106.61   $    106.61
 8/11/2019 Araceli Miranda                  $11.00   74.03   $   10.00         $   187.18   $    187.18
 8/18/2019 Araceli Miranda                  $11.00   72.98   $   10.00         $   181.41   $    181.41
 8/25/2019 Araceli Miranda                  $11.00   72.85   $   10.00         $   180.68   $    180.68
  9/1/2019 Araceli Miranda                  $11.00   75.85   $   10.00         $   197.18   $    197.18
  9/8/2019 Araceli Miranda                  $11.00   71.98   $   10.00         $   175.91   $    175.91
 9/15/2019 Araceli Miranda                  $11.00   74.07   $   10.00         $   187.37   $    187.37
 9/22/2019 Araceli Miranda                  $11.00   74.03   $   10.00         $   187.18   $    187.18
 9/29/2019 Araceli Miranda                  $11.00   71.02   $   10.00         $   170.59   $    170.59
 10/6/2019 Araceli Miranda                  $11.00   72.55   $   10.00         $   179.03   $    179.03
10/13/2019 Araceli Miranda                  $11.00   73.03   $   10.00         $   181.68   $    181.68
10/20/2019 Araceli Miranda                  $11.00   71.37   $   10.00         $   172.52   $    172.52
10/27/2019 Araceli Miranda                  $11.00   70.10   $   10.00         $   165.55   $    165.55
 11/3/2019 Araceli Miranda                  $11.00   70.23   $   10.00         $   166.28   $    166.28
11/10/2019 Araceli Miranda                  $11.00   70.32   $   10.00         $   166.74   $    166.74
11/17/2019 Araceli Miranda                  $11.00   69.83   $   10.00         $   164.08   $    164.08
11/24/2019 Araceli Miranda                  $11.00   69.63   $   10.00         $   162.98   $    162.98
 12/1/2019 Araceli Miranda                  $11.00   58.48   $   10.00         $   101.66   $    101.66
 12/8/2019 Araceli Miranda                  $11.00   68.82   $   10.00         $   158.49   $    158.49
12/15/2019 Araceli Miranda                  $11.00   69.72   $   10.00         $   163.44   $    163.44
12/22/2019 Araceli Miranda                  $11.00   69.65   $   10.00         $   163.08   $    163.08
12/29/2019 Araceli Miranda                  $11.00   53.47   $   10.00         $    74.07   $     74.07
  1/5/2020 Araceli Miranda                  $11.00   62.95   $   11.00         $   126.23   $    126.23
 1/12/2020 Araceli Miranda                  $11.00   71.98   $   11.00         $   175.91   $    175.91
 1/19/2020 Araceli Miranda                  $11.00   70.85   $   11.00         $   169.68   $    169.68
 1/26/2020 Araceli Miranda                  $11.00   72.45   $   11.00         $   178.48   $    178.48
  2/5/2017 Arcenio Santana                   $8.50   63.43   $    8.44         $    99.59   $     99.59
 2/12/2017 Arcenio Santana                   $8.50   53.03   $    8.44         $    55.39   $     55.39
 2/19/2017 Arcenio Santana                   $8.50   54.32   $    8.44         $    60.85   $     60.85
 2/26/2017 Arcenio Santana                   $8.50   50.32   $    8.44         $    43.85   $     43.85
  3/5/2017 Arcenio Santana                   $8.50   55.08   $    8.44         $    64.10   $     64.10
 3/12/2017 Arcenio Santana                   $8.50   42.03   $    8.44         $     8.64   $      8.64
  2/5/2017 Aridio Tolentino                 $10.50   58.92   $    8.44         $    99.31   $     99.31
 2/12/2017 Aridio Tolentino                 $10.50   40.50   $    8.44         $     2.62   $      2.62
 2/26/2017 Aridio Tolentino                 $10.50   41.35   $    8.44         $     7.09   $      7.09
  3/5/2017 Aridio Tolentino                 $10.50   60.05   $    8.44         $   105.26   $    105.26
 3/12/2017 Aridio Tolentino                 $10.50   55.32   $    8.44         $    80.41   $     80.41
  4/2/2017 Aridio Tolentino                 $10.50   59.28   $    8.44         $   101.24   $    101.24
  4/9/2017 Aridio Tolentino                 $10.50   57.25   $    8.44         $    90.56   $     90.56
 4/16/2017 Aridio Tolentino                 $10.50   55.03   $    8.44         $    78.93   $     78.93
 4/23/2017 Aridio Tolentino                 $10.50   51.65   $    8.44         $    61.16   $     61.16
 4/30/2017 Aridio Tolentino                 $10.50   53.10   $    8.44         $    68.78   $     68.78
  5/7/2017 Aridio Tolentino                 $10.50   52.28   $    8.44         $    64.49   $     64.49
 5/14/2017 Aridio Tolentino                 $10.50   50.72   $    8.44         $    56.26   $     56.26



                                               57
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 59 of 683 PageID: 906
                                             Exhibit 2
                                     New Jersey Computations


  Week                                                      State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
 Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
  Date                                                      Wage  Rate Due     Due       Wages Due

 5/21/2017 Aridio Tolentino                 $10.50   52.50   $   8.44          $    65.63   $     65.63
 5/28/2017 Aridio Tolentino                 $10.50   50.95   $   8.44          $    57.49   $     57.49
  6/4/2017 Aridio Tolentino                 $10.50   55.38   $   8.44          $    80.76   $     80.76
 6/11/2017 Aridio Tolentino                 $10.50   57.27   $   8.44          $    90.65   $     90.65
 6/18/2017 Aridio Tolentino                 $10.50   54.82   $   8.44          $    77.79   $     77.79
 7/16/2017 Aridio Tolentino                 $10.50   46.45   $   8.44          $    33.86   $     33.86
 7/23/2017 Aridio Tolentino                 $10.50   58.78   $   8.44          $    98.61   $     98.61
 7/30/2017 Aridio Tolentino                 $10.50   67.87   $   8.44          $   146.30   $    146.30
  8/6/2017 Aridio Tolentino                 $10.50   59.65   $   8.44          $   103.16   $    103.16
 8/13/2017 Aridio Tolentino                 $10.50   56.92   $   8.44          $    88.81   $     88.81
 8/20/2017 Aridio Tolentino                 $11.00   57.28   $   8.44          $    95.06   $     95.06
 8/27/2017 Aridio Tolentino                 $11.00   56.15   $   8.44          $    88.83   $     88.83
  9/3/2017 Aridio Tolentino                 $11.00   57.42   $   8.44          $    95.79   $     95.79
 9/10/2017 Aridio Tolentino                 $11.00   53.82   $   8.44          $    75.99   $     75.99
 9/17/2017 Aridio Tolentino                 $11.00   56.33   $   8.44          $    89.83   $     89.83
 9/24/2017 Aridio Tolentino                 $11.00   57.28   $   8.44          $    95.06   $     95.06
 10/1/2017 Aridio Tolentino                 $11.00   51.75   $   8.44          $    64.63   $     64.63
 10/8/2017 Aridio Tolentino                 $11.00   60.17   $   8.44          $   110.92   $    110.92
10/15/2017 Aridio Tolentino                 $11.00   57.08   $   8.44          $    93.96   $     93.96
10/22/2017 Aridio Tolentino                 $11.00   51.90   $   8.44          $    65.45   $     65.45
10/29/2017 Aridio Tolentino                 $11.00   47.12   $   8.44          $    39.14   $     39.14
11/12/2017 Aridio Tolentino                 $11.00   51.32   $   8.44          $    62.24   $     62.24
11/19/2017 Aridio Tolentino                 $11.00   57.22   $   8.44          $    94.69   $     94.69
11/26/2017 Aridio Tolentino                 $11.00   47.48   $   8.44          $    41.16   $     41.16
 12/3/2017 Aridio Tolentino                 $11.00   47.23   $   8.44          $    39.78   $     39.78
12/10/2017 Aridio Tolentino                 $11.00   57.42   $   8.44          $    95.79   $     95.79
12/17/2017 Aridio Tolentino                 $11.00   57.05   $   8.44          $    93.78   $     93.78
12/24/2017 Aridio Tolentino                 $11.00   57.03   $   8.44          $    93.68   $     93.68
12/31/2017 Aridio Tolentino                 $11.00   47.23   $   8.44          $    39.78   $     39.78
  1/7/2018 Aridio Tolentino                 $11.00   48.10   $   8.60          $    44.55   $     44.55
 1/14/2018 Aridio Tolentino                 $11.00   57.08   $   8.60          $    93.96   $     93.96
 1/21/2018 Aridio Tolentino                 $11.00   57.97   $   8.60          $    98.82   $     98.82
 1/28/2018 Aridio Tolentino                 $11.00   55.28   $   8.60          $    84.06   $     84.06
  2/4/2018 Aridio Tolentino                 $11.00   57.20   $   8.60          $    94.60   $     94.60
 2/11/2018 Aridio Tolentino                 $11.00   50.03   $   8.60          $    55.18   $     55.18
 2/18/2018 Aridio Tolentino                 $11.00   56.87   $   8.60          $    92.77   $     92.77
 2/25/2018 Aridio Tolentino                 $11.00   56.77   $   8.60          $    92.22   $     92.22
  3/4/2018 Aridio Tolentino                 $11.00   57.65   $   8.60          $    97.08   $     97.08
 3/25/2018 Aridio Tolentino                 $11.00   57.08   $   8.60          $    93.96   $     93.96
  4/1/2018 Aridio Tolentino                 $11.00   46.85   $   8.60          $    37.68   $     37.68
  4/8/2018 Aridio Tolentino                 $11.00   56.68   $   8.60          $    91.76   $     91.76
 4/15/2018 Aridio Tolentino                 $11.00   57.65   $   8.60          $    97.08   $     97.08
 4/22/2018 Aridio Tolentino                 $11.00   56.97   $   8.60          $    93.32   $     93.32
 4/29/2018 Aridio Tolentino                 $11.00   57.73   $   8.60          $    97.53   $     97.53
  5/6/2018 Aridio Tolentino                 $11.00   57.10   $   8.60          $    94.05   $     94.05
 5/13/2018 Aridio Tolentino                 $11.00   60.03   $   8.60          $   110.18   $    110.18
 5/20/2018 Aridio Tolentino                 $11.00   58.73   $   8.60          $   103.03   $    103.03
 5/27/2018 Aridio Tolentino                 $11.00   61.65   $   8.60          $   119.08   $    119.08
  6/3/2018 Aridio Tolentino                 $11.00   58.55   $   8.60          $   102.03   $    102.03
 6/10/2018 Aridio Tolentino                 $11.00   57.48   $   8.60          $    96.16   $     96.16



                                               58
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 60 of 683 PageID: 907
                                             Exhibit 2
                                     New Jersey Computations


  Week                                                      State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
 Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
  Date                                                      Wage  Rate Due     Due       Wages Due

 6/17/2018 Aridio Tolentino                 $11.00   58.07   $    8.60         $    99.37   $     99.37
 7/22/2018 Aridio Tolentino                 $11.00   57.45   $    8.60         $    95.98   $     95.98
 7/29/2018 Aridio Tolentino                 $11.00   57.87   $    8.60         $    98.27   $     98.27
  8/5/2018 Aridio Tolentino                 $11.00   57.63   $    8.60         $    96.98   $     96.98
 8/12/2018 Aridio Tolentino                 $11.00   57.97   $    8.60         $    98.82   $     98.82
 8/19/2018 Aridio Tolentino                 $11.00   55.85   $    8.60         $    87.18   $     87.18
 8/26/2018 Aridio Tolentino                 $11.00   61.00   $    8.60         $   115.50   $    115.50
  9/2/2018 Aridio Tolentino                 $11.00   59.47   $    8.60         $   107.07   $    107.07
 9/16/2018 Aridio Tolentino                 $11.00   56.48   $    8.60         $    90.66   $     90.66
 9/23/2018 Aridio Tolentino                 $11.00   53.20   $    8.60         $    72.60   $     72.60
 9/30/2018 Aridio Tolentino                 $11.00   60.02   $    8.60         $   110.09   $    110.09
 10/7/2018 Aridio Tolentino                 $11.00   58.55   $    8.60         $   102.03   $    102.03
10/14/2018 Aridio Tolentino                 $11.00   55.70   $    8.60         $    86.35   $     86.35
10/21/2018 Aridio Tolentino                 $11.00   54.02   $    8.60         $    77.09   $     77.09
10/28/2018 Aridio Tolentino                 $11.00   55.58   $    8.60         $    85.71   $     85.71
 11/4/2018 Aridio Tolentino                 $11.00   59.18   $    8.60         $   105.51   $    105.51
11/11/2018 Aridio Tolentino                 $11.00   57.45   $    8.60         $    95.98   $     95.98
11/18/2018 Aridio Tolentino                 $11.00   56.35   $    8.60         $    89.93   $     89.93
11/25/2018 Aridio Tolentino                 $11.00   47.90   $    8.60         $    43.45   $     43.45
 12/2/2018 Aridio Tolentino                 $11.00   56.23   $    8.60         $    89.28   $     89.28
 12/9/2018 Aridio Tolentino                 $11.00   57.40   $    8.60         $    95.70   $     95.70
12/16/2018 Aridio Tolentino                 $11.00   57.47   $    8.60         $    96.07   $     96.07
12/23/2018 Aridio Tolentino                 $11.00   59.27   $    8.60         $   105.97   $    105.97
12/30/2018 Aridio Tolentino                 $11.00   45.53   $    8.60         $    30.43   $     30.43
  1/6/2019 Aridio Tolentino                 $11.00   66.65   $    8.85         $   146.58   $    146.58
 1/13/2019 Aridio Tolentino                 $11.00   74.72   $    8.85         $   190.94   $    190.94
 1/20/2019 Aridio Tolentino                 $11.00   74.78   $    8.85         $   191.31   $    191.31
 1/27/2019 Aridio Tolentino                 $11.00   73.62   $    8.85         $   184.89   $    184.89
  2/3/2019 Aridio Tolentino                 $11.00   73.73   $    8.85         $   185.53   $    185.53
 2/10/2019 Aridio Tolentino                 $11.00   73.77   $    8.85         $   185.72   $    185.72
 2/17/2019 Aridio Tolentino                 $11.00   73.37   $    8.85         $   183.52   $    183.52
 2/24/2019 Aridio Tolentino                 $11.00   73.28   $    8.85         $   183.06   $    183.06
  3/3/2019 Aridio Tolentino                 $11.00   74.33   $    8.85         $   188.83   $    188.83
 3/10/2019 Aridio Tolentino                 $11.00   73.37   $    8.85         $   183.52   $    183.52
 3/17/2019 Aridio Tolentino                 $11.00   74.57   $    8.85         $   190.12   $    190.12
 3/24/2019 Aridio Tolentino                 $11.00   74.25   $    8.85         $   188.38   $    188.38
 3/31/2019 Aridio Tolentino                 $11.00   72.88   $    8.85         $   180.86   $    180.86
  4/7/2019 Aridio Tolentino                 $11.00   73.58   $    8.85         $   184.71   $    184.71
 4/14/2019 Aridio Tolentino                 $11.00   72.02   $    8.85         $   176.09   $    176.09
 4/21/2019 Aridio Tolentino                 $11.00   57.72   $    8.85         $    97.44   $     97.44
 4/28/2019 Aridio Tolentino                 $11.00   58.60   $    8.85         $   102.30   $    102.30
  5/5/2019 Aridio Tolentino                 $11.00   66.13   $    8.85         $   143.73   $    143.73
 5/12/2019 Aridio Tolentino                 $11.00   63.07   $    8.85         $   126.87   $    126.87
 5/19/2019 Aridio Tolentino                 $11.00   60.30   $    8.85         $   111.65   $    111.65
 5/26/2019 Aridio Tolentino                 $11.00   61.08   $    8.85         $   115.96   $    115.96
  6/2/2019 Aridio Tolentino                 $11.00   58.75   $    8.85         $   103.13   $    103.13
  6/9/2019 Aridio Tolentino                 $11.00   60.47   $    8.85         $   112.57   $    112.57
 6/16/2019 Aridio Tolentino                 $11.00   55.00   $    8.85         $    82.50   $     82.50
 6/23/2019 Aridio Tolentino                 $11.00   52.95   $    8.85         $    71.23   $     71.23
  8/4/2019 Aridio Tolentino                 $11.50   59.20   $   10.00         $   110.40   $    110.40



                                               59
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 61 of 683 PageID: 908
                                              Exhibit 2
                                      New Jersey Computations


  Week                                                       State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
 Ending                       Name                         Minumum Regular    Half-Time Overtime Back
                                              Rate Week
  Date                                                       Wage  Rate Due     Due       Wages Due

 8/11/2019 Aridio Tolentino                  $11.50   59.67   $   10.00         $   113.08   $    113.08
 8/18/2019 Aridio Tolentino                  $11.50   59.35   $   10.00         $   111.26   $    111.26
 8/25/2019 Aridio Tolentino                  $11.50   59.68   $   10.00         $   113.18   $    113.18
  9/1/2019 Aridio Tolentino                  $11.50   59.48   $   10.00         $   112.03   $    112.03
  9/8/2019 Aridio Tolentino                  $11.50   56.43   $   10.00         $    94.49   $     94.49
 9/15/2019 Aridio Tolentino                  $11.50   58.95   $   10.00         $   108.96   $    108.96
 9/22/2019 Aridio Tolentino                  $11.50   60.03   $   10.00         $   115.19   $    115.19
 9/29/2019 Aridio Tolentino                  $11.50   54.43   $   10.00         $    82.99   $     82.99
 10/6/2019 Aridio Tolentino                  $11.50   49.77   $   10.00         $    56.16   $     56.16
10/13/2019 Aridio Tolentino                  $11.50   57.78   $   10.00         $   102.25   $    102.25
10/20/2019 Aridio Tolentino                  $11.50   53.75   $   10.00         $    79.06   $     79.06
10/27/2019 Aridio Tolentino                  $11.50   53.80   $   10.00         $    79.35   $     79.35
 11/3/2019 Aridio Tolentino                  $11.50   53.68   $   10.00         $    78.68   $     78.68
11/10/2019 Aridio Tolentino                  $11.50   53.52   $   10.00         $    77.72   $     77.72
11/17/2019 Aridio Tolentino                  $11.50   53.28   $   10.00         $    76.38   $     76.38
11/24/2019 Aridio Tolentino                  $11.50   53.87   $   10.00         $    79.73   $     79.73
 12/1/2019 Aridio Tolentino                  $11.50   44.77   $   10.00         $    27.41   $     27.41
 12/8/2019 Aridio Tolentino                  $11.50   50.85   $   10.00         $    62.39   $     62.39
12/15/2019 Aridio Tolentino                  $11.50   55.53   $   10.00         $    89.32   $     89.32
12/22/2019 Aridio Tolentino                  $11.50   63.52   $   10.00         $   135.22   $    135.22
12/29/2019 Aridio Tolentino                  $11.50   54.25   $   10.00         $    81.94   $     81.94
  1/5/2020 Aridio Tolentino                  $11.50   44.38   $   11.00         $    25.20   $     25.20
 1/12/2020 Aridio Tolentino                  $11.50   65.05   $   11.00         $   144.04   $    144.04
 1/19/2020 Aridio Tolentino                  $11.50   63.48   $   11.00         $   135.03   $    135.03
 1/26/2020 Aridio Tolentino                  $11.50   62.10   $   11.00         $   127.08   $    127.08
  6/9/2019 Aristides Velasquez Mesa          $10.00   66.45   $    8.85         $   132.25   $    132.25
  2/5/2017 Armando Gomez                     $11.00   61.00   $    8.44         $   115.50   $    115.50
 2/12/2017 Armando Gomez                     $11.00   51.02   $    8.44         $    60.59   $     60.59
 2/19/2017 Armando Gomez                     $11.00   61.57   $    8.44         $   118.62   $    118.62
 2/26/2017 Armando Gomez                     $11.00   52.03   $    8.44         $    66.18   $     66.18
  3/5/2017 Armando Gomez                     $11.00   57.75   $    8.44         $    97.63   $     97.63
 3/12/2017 Armando Gomez                     $11.00   61.22   $    8.44         $   116.69   $    116.69
 3/19/2017 Armando Gomez                     $11.00   40.97   $    8.44         $     5.32   $      5.32
 3/26/2017 Armando Gomez                     $11.00   50.22   $    8.44         $    56.19   $     56.19
  4/2/2017 Armando Gomez                     $11.00   57.70   $    8.44         $    97.35   $     97.35
 4/30/2017 Armando Gomez                     $11.00   45.45   $    8.44         $    29.98   $     29.98
  5/7/2017 Armando Gomez                     $11.00   52.72   $    8.44         $    69.94   $     69.94
 5/14/2017 Armando Gomez                     $11.00   54.18   $    8.44         $    78.01   $     78.01
 5/21/2017 Armando Gomez                     $11.00   56.05   $    8.44         $    88.28   $     88.28
 5/28/2017 Armando Gomez                     $11.00   54.35   $    8.44         $    78.93   $     78.93
 6/11/2017 Armando Gomez                     $11.00   54.32   $    8.44         $    78.74   $     78.74
 6/18/2017 Armando Gomez                     $11.00   53.78   $    8.44         $    75.81   $     75.81
 6/25/2017 Armando Gomez                     $11.00   45.17   $    8.44         $    28.42   $     28.42
  7/2/2017 Armando Gomez                     $11.00   45.80   $    8.44         $    31.90   $     31.90
  7/9/2017 Armando Gomez                     $11.00   50.67   $    8.44         $    58.67   $     58.67
 7/16/2017 Armando Gomez                     $11.00   50.42   $    8.44         $    57.29   $     57.29
 7/23/2017 Armando Gomez                     $11.00   46.47   $    8.44         $    35.57   $     35.57
 7/30/2017 Armando Gomez                     $11.00   59.42   $    8.44         $   106.79   $    106.79
  8/6/2017 Armando Gomez                     $11.00   57.13   $    8.44         $    94.23   $     94.23
 8/13/2017 Armando Gomez                     $11.00   59.67   $    8.44         $   108.17   $    108.17



                                                60
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 62 of 683 PageID: 909
                                           Exhibit 2
                                   New Jersey Computations


  Week                                                    State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
 Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
  Date                                                    Wage  Rate Due     Due       Wages Due

  9/3/2017 Armando Gomez                  $11.00   61.17   $   8.44          $   116.42   $    116.42
 9/17/2017 Armando Gomez                  $11.00   56.73   $   8.44          $    92.03   $     92.03
 9/24/2017 Armando Gomez                  $11.00   59.58   $   8.44          $   107.71   $    107.71
 10/1/2017 Armando Gomez                  $11.00   40.77   $   8.44          $     4.22   $      4.22
 10/8/2017 Armando Gomez                  $11.00   40.68   $   8.44          $     3.76   $      3.76
10/15/2017 Armando Gomez                  $11.00   47.45   $   8.44          $    40.98   $     40.98
10/22/2017 Armando Gomez                  $11.00   60.70   $   8.44          $   113.85   $    113.85
10/29/2017 Armando Gomez                  $11.00   60.83   $   8.44          $   114.58   $    114.58
 11/5/2017 Armando Gomez                  $11.00   61.10   $   8.44          $   116.05   $    116.05
11/12/2017 Armando Gomez                  $11.00   61.17   $   8.44          $   116.42   $    116.42
11/19/2017 Armando Gomez                  $11.00   59.33   $   8.44          $   106.33   $    106.33
11/26/2017 Armando Gomez                  $11.00   49.83   $   8.44          $    54.08   $     54.08
 12/3/2017 Armando Gomez                  $11.00   53.28   $   8.44          $    73.06   $     73.06
12/10/2017 Armando Gomez                  $11.00   57.33   $   8.44          $    95.33   $     95.33
12/17/2017 Armando Gomez                  $11.00   58.83   $   8.44          $   103.58   $    103.58
12/24/2017 Armando Gomez                  $11.00   57.98   $   8.44          $    98.91   $     98.91
12/31/2017 Armando Gomez                  $11.00   49.65   $   8.44          $    53.08   $     53.08
  1/7/2018 Armando Gomez                  $11.00   42.55   $   8.60          $    14.03   $     14.03
 1/14/2018 Armando Gomez                  $11.00   58.70   $   8.60          $   102.85   $    102.85
 1/21/2018 Armando Gomez                  $11.00   61.72   $   8.60          $   119.44   $    119.44
 1/28/2018 Armando Gomez                  $11.00   61.37   $   8.60          $   117.52   $    117.52
  2/4/2018 Armando Gomez                  $11.00   59.53   $   8.60          $   107.43   $    107.43
 2/11/2018 Armando Gomez                  $11.00   47.20   $   8.60          $    39.60   $     39.60
 2/18/2018 Armando Gomez                  $11.00   62.30   $   8.60          $   122.65   $    122.65
 2/25/2018 Armando Gomez                  $11.00   61.03   $   8.60          $   115.68   $    115.68
  3/4/2018 Armando Gomez                  $11.00   61.75   $   8.60          $   119.63   $    119.63
 3/25/2018 Armando Gomez                  $11.00   60.37   $   8.60          $   112.02   $    112.02
  4/1/2018 Armando Gomez                  $11.00   61.93   $   8.60          $   120.63   $    120.63
  4/8/2018 Armando Gomez                  $11.00   61.15   $   8.60          $   116.33   $    116.33
 4/15/2018 Armando Gomez                  $11.00   63.80   $   8.60          $   130.90   $    130.90
 4/22/2018 Armando Gomez                  $11.00   59.13   $   8.60          $   105.23   $    105.23
 4/29/2018 Armando Gomez                  $11.00   62.38   $   8.60          $   123.11   $    123.11
  5/6/2018 Armando Gomez                  $11.00   64.52   $   8.60          $   134.84   $    134.84
 5/13/2018 Armando Gomez                  $11.00   61.45   $   8.60          $   117.98   $    117.98
 5/20/2018 Armando Gomez                  $11.00   53.92   $   8.60          $    76.54   $     76.54
 5/27/2018 Armando Gomez                  $11.00   67.15   $   8.60          $   149.33   $    149.33
  6/3/2018 Armando Gomez                  $11.00   58.70   $   8.60          $   102.85   $    102.85
 6/10/2018 Armando Gomez                  $11.00   56.72   $   8.60          $    91.94   $     91.94
 6/17/2018 Armando Gomez                  $11.00   59.88   $   8.60          $   109.36   $    109.36
 6/24/2018 Armando Gomez                  $11.00   58.53   $   8.60          $   101.93   $    101.93
  7/1/2018 Armando Gomez                  $11.00   53.42   $   8.60          $    73.79   $     73.79
  7/8/2018 Armando Gomez                  $11.00   43.67   $   8.60          $    20.17   $     20.17
 7/22/2018 Armando Gomez                  $11.00   56.83   $   8.60          $    92.58   $     92.58
 1/13/2019 Armando Gomez                  $11.00   50.08   $   8.85          $    55.46   $     55.46
 1/20/2019 Armando Gomez                  $11.00   43.50   $   8.85          $    19.25   $     19.25
 1/27/2019 Armando Gomez                  $11.00   49.27   $   8.85          $    50.97   $     50.97
  2/3/2019 Armando Gomez                  $11.00   49.65   $   8.85          $    53.08   $     53.08
 2/10/2019 Armando Gomez                  $11.00   45.32   $   8.85          $    29.24   $     29.24
 2/24/2019 Armando Gomez                  $11.00   44.62   $   8.85          $    25.39   $     25.39
  2/5/2017 Arsenio Decena                 $20.00   45.75   $   8.44          $    57.50   $     57.50



                                             61
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 63 of 683 PageID: 910
                                           Exhibit 2
                                   New Jersey Computations


  Week                                                    State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
 Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
  Date                                                    Wage  Rate Due     Due       Wages Due

 2/12/2017 Arsenio Decena                 $20.00   46.00   $   8.44          $    60.00   $     60.00
 2/19/2017 Arsenio Decena                 $20.00   51.87   $   8.44          $   118.67   $    118.67
 2/26/2017 Arsenio Decena                 $20.00   52.57   $   8.44          $   125.67   $    125.67
  3/5/2017 Arsenio Decena                 $20.00   45.53   $   8.44          $    55.33   $     55.33
 3/12/2017 Arsenio Decena                 $20.00   50.28   $   8.44          $   102.83   $    102.83
 3/19/2017 Arsenio Decena                 $20.00   40.23   $   8.44          $     2.33   $      2.33
 3/26/2017 Arsenio Decena                 $20.00   52.02   $   8.44          $   120.17   $    120.17
  4/2/2017 Arsenio Decena                 $20.00   54.38   $   8.44          $   143.83   $    143.83
  4/9/2017 Arsenio Decena                 $20.00   42.07   $   8.44          $    20.67   $     20.67
 4/16/2017 Arsenio Decena                 $20.00   48.48   $   8.44          $    84.83   $     84.83
 4/23/2017 Arsenio Decena                 $20.00   50.95   $   8.44          $   109.50   $    109.50
 4/30/2017 Arsenio Decena                 $20.00   51.57   $   8.44          $   115.67   $    115.67
  5/7/2017 Arsenio Decena                 $20.00   44.82   $   8.44          $    48.17   $     48.17
 5/14/2017 Arsenio Decena                 $20.00   49.82   $   8.44          $    98.17   $     98.17
 5/21/2017 Arsenio Decena                 $20.00   45.90   $   8.44          $    59.00   $     59.00
 5/28/2017 Arsenio Decena                 $20.00   50.28   $   8.44          $   102.83   $    102.83
 6/11/2017 Arsenio Decena                 $20.00   51.50   $   8.44          $   115.00   $    115.00
 6/18/2017 Arsenio Decena                 $20.00   46.35   $   8.44          $    63.50   $     63.50
 6/25/2017 Arsenio Decena                 $20.00   50.23   $   8.44          $   102.33   $    102.33
  7/2/2017 Arsenio Decena                 $20.00   52.07   $   8.44          $   120.67   $    120.67
  7/9/2017 Arsenio Decena                 $20.00   45.98   $   8.44          $    59.83   $     59.83
 7/16/2017 Arsenio Decena                 $20.00   49.43   $   8.44          $    94.33   $     94.33
 7/23/2017 Arsenio Decena                 $20.00   49.83   $   8.44          $    98.33   $     98.33
 7/30/2017 Arsenio Decena                 $20.00   51.40   $   8.44          $   114.00   $    114.00
  8/6/2017 Arsenio Decena                 $20.00   41.93   $   8.44          $    19.33   $     19.33
 8/20/2017 Arsenio Decena                 $20.00   48.40   $   8.44          $    84.00   $     84.00
 8/27/2017 Arsenio Decena                 $20.00   45.25   $   8.44          $    52.50   $     52.50
  9/3/2017 Arsenio Decena                 $20.00   49.07   $   8.44          $    90.67   $     90.67
 9/10/2017 Arsenio Decena                 $20.00   40.68   $   8.44          $     6.83   $      6.83
 9/17/2017 Arsenio Decena                 $20.00   44.38   $   8.44          $    43.83   $     43.83
 9/24/2017 Arsenio Decena                 $20.00   47.38   $   8.44          $    73.83   $     73.83
 10/1/2017 Arsenio Decena                 $20.00   48.72   $   8.44          $    87.17   $     87.17
 10/8/2017 Arsenio Decena                 $20.00   46.63   $   8.44          $    66.33   $     66.33
 11/5/2017 Arsenio Decena                 $20.00   44.52   $   8.44          $    45.17   $     45.17
11/12/2017 Arsenio Decena                 $20.00   49.20   $   8.44          $    92.00   $     92.00
11/19/2017 Arsenio Decena                 $20.00   47.75   $   8.44          $    77.50   $     77.50
11/26/2017 Arsenio Decena                 $20.00   43.10   $   8.44          $    31.00   $     31.00
 12/3/2017 Arsenio Decena                 $20.00   50.12   $   8.44          $   101.17   $    101.17
12/10/2017 Arsenio Decena                 $20.00   47.65   $   8.44          $    76.50   $     76.50
12/17/2017 Arsenio Decena                 $20.00   45.75   $   8.44          $    57.50   $     57.50
12/24/2017 Arsenio Decena                 $20.00   49.22   $   8.44          $    92.17   $     92.17
12/31/2017 Arsenio Decena                 $20.00   44.73   $   8.44          $    47.33   $     47.33
  1/7/2018 Arsenio Decena                 $20.00   42.25   $   8.60          $    22.50   $     22.50
 1/14/2018 Arsenio Decena                 $20.00   48.75   $   8.60          $    87.50   $     87.50
 1/21/2018 Arsenio Decena                 $20.00   49.70   $   8.60          $    97.00   $     97.00
 1/28/2018 Arsenio Decena                 $20.00   50.95   $   8.60          $   109.50   $    109.50
  2/4/2018 Arsenio Decena                 $20.00   53.38   $   8.60          $   133.83   $    133.83
 2/11/2018 Arsenio Decena                 $20.00   53.55   $   8.60          $   135.50   $    135.50
 2/18/2018 Arsenio Decena                 $20.00   46.12   $   8.60          $    61.17   $     61.17
 2/25/2018 Arsenio Decena                 $20.00   51.48   $   8.60          $   114.83   $    114.83



                                             62
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 64 of 683 PageID: 911
                                           Exhibit 2
                                   New Jersey Computations


  Week                                                    State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
 Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
  Date                                                    Wage  Rate Due     Due       Wages Due

  3/4/2018 Arsenio Decena                 $20.00   49.55   $   8.60          $    95.50   $     95.50
 3/25/2018 Arsenio Decena                 $20.00   47.52   $   8.60          $    75.17   $     75.17
  4/1/2018 Arsenio Decena                 $20.00   50.50   $   8.60          $   105.00   $    105.00
  4/8/2018 Arsenio Decena                 $20.00   50.42   $   8.60          $   104.17   $    104.17
 4/22/2018 Arsenio Decena                 $20.00   41.57   $   8.60          $    15.67   $     15.67
 4/29/2018 Arsenio Decena                 $20.00   51.98   $   8.60          $   119.83   $    119.83
  5/6/2018 Arsenio Decena                 $20.00   49.65   $   8.60          $    96.50   $     96.50
 5/13/2018 Arsenio Decena                 $20.00   42.28   $   8.60          $    22.83   $     22.83
 5/20/2018 Arsenio Decena                 $20.00   49.50   $   8.60          $    95.00   $     95.00
 5/27/2018 Arsenio Decena                 $20.00   45.57   $   8.60          $    55.67   $     55.67
  6/3/2018 Arsenio Decena                 $20.00   43.60   $   8.60          $    36.00   $     36.00
 6/10/2018 Arsenio Decena                 $20.00   45.72   $   8.60          $    57.17   $     57.17
 6/17/2018 Arsenio Decena                 $20.00   43.23   $   8.60          $    32.33   $     32.33
 6/24/2018 Arsenio Decena                 $20.00   53.35   $   8.60          $   133.50   $    133.50
  7/1/2018 Arsenio Decena                 $20.00   42.10   $   8.60          $    21.00   $     21.00
 7/15/2018 Arsenio Decena                 $20.00   47.03   $   8.60          $    70.33   $     70.33
 7/22/2018 Arsenio Decena                 $20.00   49.95   $   8.60          $    99.50   $     99.50
 7/29/2018 Arsenio Decena                 $20.00   49.50   $   8.60          $    95.00   $     95.00
  8/5/2018 Arsenio Decena                 $20.00   49.02   $   8.60          $    90.17   $     90.17
 8/12/2018 Arsenio Decena                 $20.00   47.65   $   8.60          $    76.50   $     76.50
 8/19/2018 Arsenio Decena                 $20.00   44.82   $   8.60          $    48.17   $     48.17
 8/26/2018 Arsenio Decena                 $20.00   49.88   $   8.60          $    98.83   $     98.83
  9/2/2018 Arsenio Decena                 $20.00   51.95   $   8.60          $   119.50   $    119.50
  9/9/2018 Arsenio Decena                 $20.00   41.70   $   8.60          $    17.00   $     17.00
 9/16/2018 Arsenio Decena                 $20.00   48.88   $   8.60          $    88.83   $     88.83
 9/23/2018 Arsenio Decena                 $20.00   45.48   $   8.60          $    54.83   $     54.83
 9/30/2018 Arsenio Decena                 $20.00   49.97   $   8.60          $    99.67   $     99.67
 10/7/2018 Arsenio Decena                 $20.00   42.85   $   8.60          $    28.50   $     28.50
 11/4/2018 Arsenio Decena                 $20.00   42.32   $   8.60          $    23.17   $     23.17
11/11/2018 Arsenio Decena                 $20.00   45.97   $   8.60          $    59.67   $     59.67
11/18/2018 Arsenio Decena                 $20.00   51.12   $   8.60          $   111.17   $    111.17
11/25/2018 Arsenio Decena                 $20.00   41.13   $   8.60          $    11.33   $     11.33
 12/2/2018 Arsenio Decena                 $20.00   49.18   $   8.60          $    91.83   $     91.83
 12/9/2018 Arsenio Decena                 $20.00   49.67   $   8.60          $    96.67   $     96.67
12/23/2018 Arsenio Decena                 $20.00   49.83   $   8.60          $    98.33   $     98.33
  1/6/2019 Arsenio Decena                 $20.00   41.80   $   8.85          $    18.00   $     18.00
 1/13/2019 Arsenio Decena                 $20.00   48.70   $   8.85          $    87.00   $     87.00
 1/20/2019 Arsenio Decena                 $20.00   48.63   $   8.85          $    86.33   $     86.33
 1/27/2019 Arsenio Decena                 $20.00   50.32   $   8.85          $   103.17   $    103.17
  2/3/2019 Arsenio Decena                 $20.00   50.15   $   8.85          $   101.50   $    101.50
 2/10/2019 Arsenio Decena                 $20.00   49.30   $   8.85          $    93.00   $     93.00
 2/17/2019 Arsenio Decena                 $20.00   40.93   $   8.85          $     9.33   $      9.33
 2/24/2019 Arsenio Decena                 $20.00   48.05   $   8.85          $    80.50   $     80.50
  3/3/2019 Arsenio Decena                 $20.00   43.78   $   8.85          $    37.83   $     37.83
 3/10/2019 Arsenio Decena                 $20.00   47.92   $   8.85          $    79.17   $     79.17
 3/17/2019 Arsenio Decena                 $20.00   43.57   $   8.85          $    35.67   $     35.67
 3/24/2019 Arsenio Decena                 $20.00   50.82   $   8.85          $   108.17   $    108.17
 3/31/2019 Arsenio Decena                 $20.00   49.23   $   8.85          $    92.33   $     92.33
  4/7/2019 Arsenio Decena                 $20.00   56.30   $   8.85          $   163.00   $    163.00
 4/14/2019 Arsenio Decena                 $20.00   57.57   $   8.85          $   175.67   $    175.67



                                             63
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 65 of 683 PageID: 912
                                           Exhibit 2
                                   New Jersey Computations


  Week                                                    State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
 Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
  Date                                                    Wage  Rate Due     Due       Wages Due

 4/21/2019 Arsenio Decena                 $20.00   56.15   $    8.85         $   161.50   $    161.50
 4/28/2019 Arsenio Decena                 $20.00   55.42   $    8.85         $   154.17   $    154.17
  5/5/2019 Arsenio Decena                 $20.00   56.50   $    8.85         $   165.00   $    165.00
 5/12/2019 Arsenio Decena                 $20.00   56.63   $    8.85         $   166.33   $    166.33
 5/19/2019 Arsenio Decena                 $20.00   56.70   $    8.85         $   167.00   $    167.00
 5/26/2019 Arsenio Decena                 $20.00   47.75   $    8.85         $    77.50   $     77.50
  6/2/2019 Arsenio Decena                 $20.00   47.47   $    8.85         $    74.67   $     74.67
  6/9/2019 Arsenio Decena                 $20.00   53.87   $    8.85         $   138.67   $    138.67
 6/16/2019 Arsenio Decena                 $20.00   56.12   $    8.85         $   161.17   $    161.17
 6/23/2019 Arsenio Decena                 $20.00   55.88   $    8.85         $   158.83   $    158.83
 6/30/2019 Arsenio Decena                 $20.00   57.05   $   10.00         $   170.50   $    170.50
 7/14/2019 Arsenio Decena                 $20.00   55.63   $   10.00         $   156.33   $    156.33
 7/21/2019 Arsenio Decena                 $20.00   43.72   $   10.00         $    37.17   $     37.17
 7/28/2019 Arsenio Decena                 $20.00   53.98   $   10.00         $   139.83   $    139.83
  8/4/2019 Arsenio Decena                 $20.00   50.85   $   10.00         $   108.50   $    108.50
 8/11/2019 Arsenio Decena                 $20.00   52.43   $   10.00         $   124.33   $    124.33
 8/18/2019 Arsenio Decena                 $20.00   52.75   $   10.00         $   127.50   $    127.50
 8/25/2019 Arsenio Decena                 $20.00   47.57   $   10.00         $    75.67   $     75.67
  9/1/2019 Arsenio Decena                 $20.00   45.35   $   10.00         $    53.50   $     53.50
  9/8/2019 Arsenio Decena                 $20.00   44.10   $   10.00         $    41.00   $     41.00
 9/22/2019 Arsenio Decena                 $20.00   54.20   $   10.00         $   142.00   $    142.00
 9/29/2019 Arsenio Decena                 $20.00   54.03   $   10.00         $   140.33   $    140.33
 10/6/2019 Arsenio Decena                 $20.00   53.72   $   10.00         $   137.17   $    137.17
 11/3/2019 Arsenio Decena                 $20.00   52.90   $   10.00         $   129.00   $    129.00
11/10/2019 Arsenio Decena                 $20.00   55.17   $   10.00         $   151.67   $    151.67
11/17/2019 Arsenio Decena                 $20.00   55.42   $   10.00         $   154.17   $    154.17
 12/1/2019 Arsenio Decena                 $20.00   45.00   $   10.00         $    50.00   $     50.00
 12/8/2019 Arsenio Decena                 $20.00   41.95   $   10.00         $    19.50   $     19.50
12/15/2019 Arsenio Decena                 $20.00   44.72   $   10.00         $    47.17   $     47.17
12/29/2019 Arsenio Decena                 $20.00   41.08   $   10.00         $    10.83   $     10.83
 1/12/2020 Arsenio Decena                 $20.00   45.98   $   11.00         $    59.83   $     59.83
 1/19/2020 Arsenio Decena                 $20.00   53.42   $   11.00         $   134.17   $    134.17
 1/26/2020 Arsenio Decena                 $20.00   45.28   $   11.00         $    52.83   $     52.83
  2/5/2017 Arturo Huz                     $11.50   73.85   $    8.44         $   194.64   $    194.64
 2/12/2017 Arturo Huz                     $11.50   60.42   $    8.44         $   117.40   $    117.40
 2/19/2017 Arturo Huz                     $11.50   70.15   $    8.44         $   173.36   $    173.36
 2/26/2017 Arturo Huz                     $11.50   70.23   $    8.44         $   173.84   $    173.84
  3/5/2017 Arturo Huz                     $11.50   69.92   $    8.44         $   172.02   $    172.02
 3/12/2017 Arturo Huz                     $11.50   69.93   $    8.44         $   172.12   $    172.12
 3/19/2017 Arturo Huz                     $11.50   61.87   $    8.44         $   125.73   $    125.73
 3/26/2017 Arturo Huz                     $11.50   70.08   $    8.44         $   172.98   $    172.98
  4/2/2017 Arturo Huz                     $11.50   73.58   $    8.44         $   193.10   $    193.10
  4/9/2017 Arturo Huz                     $11.50   69.23   $    8.44         $   168.09   $    168.09
 4/16/2017 Arturo Huz                     $11.50   70.23   $    8.44         $   173.84   $    173.84
 4/23/2017 Arturo Huz                     $11.50   69.87   $    8.44         $   171.73   $    171.73
 4/30/2017 Arturo Huz                     $11.50   71.88   $    8.44         $   183.33   $    183.33
  5/7/2017 Arturo Huz                     $11.50   63.98   $    8.44         $   137.90   $    137.90
 5/14/2017 Arturo Huz                     $11.50   54.63   $    8.44         $    84.14   $     84.14
 5/21/2017 Arturo Huz                     $11.50   69.75   $    8.44         $   171.06   $    171.06
 5/28/2017 Arturo Huz                     $11.50   70.90   $    8.44         $   177.68   $    177.68



                                             64
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 66 of 683 PageID: 913
                                        Exhibit 2
                                New Jersey Computations


  Week                                                 State Section 7: Section 7: Total Section 7
                                       Hourly Hours/
 Ending                 Name                         Minumum Regular    Half-Time Overtime Back
                                        Rate Week
  Date                                                 Wage  Rate Due     Due       Wages Due

  6/4/2017 Arturo Huz                  $11.50   58.32   $   8.44          $   105.32   $    105.32
 6/11/2017 Arturo Huz                  $11.50   82.17   $   8.44          $   242.46   $    242.46
 6/18/2017 Arturo Huz                  $11.50   70.02   $   8.44          $   172.60   $    172.60
 6/25/2017 Arturo Huz                  $11.50   66.03   $   8.44          $   149.69   $    149.69
  7/2/2017 Arturo Huz                  $11.50   70.37   $   8.44          $   174.61   $    174.61
  7/9/2017 Arturo Huz                  $11.50   70.42   $   8.44          $   174.90   $    174.90
 7/16/2017 Arturo Huz                  $11.50   46.47   $   8.44          $    37.18   $     37.18
 7/23/2017 Arturo Huz                  $11.50   77.82   $   8.44          $   217.45   $    217.45
 7/30/2017 Arturo Huz                  $11.50   59.92   $   8.44          $   114.52   $    114.52
  8/6/2017 Arturo Huz                  $11.50   76.90   $   8.44          $   212.18   $    212.18
 8/13/2017 Arturo Huz                  $11.50   69.78   $   8.44          $   171.25   $    171.25
 8/20/2017 Arturo Huz                  $11.50   77.58   $   8.44          $   216.10   $    216.10
 8/27/2017 Arturo Huz                  $11.50   69.68   $   8.44          $   170.68   $    170.68
  9/3/2017 Arturo Huz                  $11.50   58.57   $   8.44          $   106.76   $    106.76
 9/10/2017 Arturo Huz                  $11.50   61.62   $   8.44          $   124.30   $    124.30
 9/17/2017 Arturo Huz                  $11.50   77.25   $   8.44          $   214.19   $    214.19
 9/24/2017 Arturo Huz                  $11.50   68.95   $   8.44          $   166.46   $    166.46
 10/1/2017 Arturo Huz                  $11.50   76.53   $   8.44          $   210.07   $    210.07
 10/8/2017 Arturo Huz                  $11.50   68.25   $   8.44          $   162.44   $    162.44
10/15/2017 Arturo Huz                  $11.50   66.32   $   8.44          $   151.32   $    151.32
10/22/2017 Arturo Huz                  $11.50   68.22   $   8.44          $   162.25   $    162.25
10/29/2017 Arturo Huz                  $11.50   75.83   $   8.44          $   206.04   $    206.04
 11/5/2017 Arturo Huz                  $11.50   67.37   $   8.44          $   157.36   $    157.36
11/12/2017 Arturo Huz                  $11.50   64.83   $   8.44          $   142.79   $    142.79
11/19/2017 Arturo Huz                  $11.50   62.95   $   8.44          $   131.96   $    131.96
11/26/2017 Arturo Huz                  $11.50   57.35   $   8.44          $    99.76   $     99.76
 12/3/2017 Arturo Huz                  $11.50   66.38   $   8.44          $   151.70   $    151.70
12/10/2017 Arturo Huz                  $11.50   75.95   $   8.44          $   206.71   $    206.71
12/17/2017 Arturo Huz                  $11.50   68.82   $   8.44          $   165.70   $    165.70
12/24/2017 Arturo Huz                  $11.50   68.52   $   8.44          $   163.97   $    163.97
12/31/2017 Arturo Huz                  $11.50   57.53   $   8.44          $   100.82   $    100.82
  1/7/2018 Arturo Huz                  $11.50   58.60   $   8.60          $   106.95   $    106.95
 1/14/2018 Arturo Huz                  $11.50   68.88   $   8.60          $   166.08   $    166.08
 1/21/2018 Arturo Huz                  $11.50   77.50   $   8.60          $   215.63   $    215.63
 1/28/2018 Arturo Huz                  $11.50   69.07   $   8.60          $   167.13   $    167.13
  2/4/2018 Arturo Huz                  $11.50   64.25   $   8.60          $   139.44   $    139.44
 2/11/2018 Arturo Huz                  $11.50   68.63   $   8.60          $   164.64   $    164.64
 2/18/2018 Arturo Huz                  $11.50   52.22   $   8.60          $    70.25   $     70.25
 2/25/2018 Arturo Huz                  $11.50   69.73   $   8.60          $   170.97   $    170.97
  3/4/2018 Arturo Huz                  $11.50   76.97   $   8.60          $   212.56   $    212.56
  4/1/2018 Arturo Huz                  $11.50   55.98   $   8.60          $    91.90   $     91.90
  4/8/2018 Arturo Huz                  $11.50   69.65   $   8.60          $   170.49   $    170.49
 4/15/2018 Arturo Huz                  $11.50   65.95   $   8.60          $   149.21   $    149.21
 4/22/2018 Arturo Huz                  $11.50   56.45   $   8.60          $    94.59   $     94.59
 4/29/2018 Arturo Huz                  $11.50   74.80   $   8.60          $   200.10   $    200.10
  5/6/2018 Arturo Huz                  $11.50   57.75   $   8.60          $   102.06   $    102.06
 5/13/2018 Arturo Huz                  $11.50   76.93   $   8.60          $   212.37   $    212.37
 5/20/2018 Arturo Huz                  $11.50   68.37   $   8.60          $   163.11   $    163.11
 5/27/2018 Arturo Huz                  $11.50   74.97   $   8.60          $   201.06   $    201.06
  6/3/2018 Arturo Huz                  $11.50   62.47   $   8.60          $   129.18   $    129.18



                                          65
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 67 of 683 PageID: 914
                                               Exhibit 2
                                       New Jersey Computations


  Week                                                        State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
 Ending                       Name                          Minumum Regular    Half-Time Overtime Back
                                               Rate Week
  Date                                                        Wage  Rate Due     Due       Wages Due

 6/10/2018 Arturo Huz                         $11.50   77.17   $    8.60         $   213.71   $    213.71
 6/17/2018 Arturo Huz                         $11.50   58.95   $    8.60         $   108.96   $    108.96
 6/24/2018 Arturo Huz                         $11.50   68.98   $    8.60         $   166.65   $    166.65
  7/8/2018 Arturo Huz                         $11.50   50.55   $    8.60         $    60.66   $     60.66
 7/15/2018 Arturo Huz                         $11.50   69.83   $    8.60         $   171.54   $    171.54
 7/22/2018 Arturo Huz                         $11.50   79.33   $    8.60         $   226.17   $    226.17
 7/29/2018 Arturo Huz                         $11.50   69.30   $    8.60         $   168.48   $    168.48
  8/5/2018 Arturo Huz                         $11.50   77.43   $    8.60         $   215.24   $    215.24
 8/12/2018 Arturo Huz                         $11.50   68.90   $    8.60         $   166.18   $    166.18
 8/19/2018 Arturo Huz                         $11.50   65.15   $    8.60         $   144.61   $    144.61
 8/26/2018 Arturo Huz                         $11.50   69.47   $    8.60         $   169.43   $    169.43
  9/2/2018 Arturo Huz                         $11.50   77.85   $    8.60         $   217.64   $    217.64
  9/9/2018 Arturo Huz                         $11.50   56.98   $    8.60         $    97.65   $     97.65
 9/16/2018 Arturo Huz                         $11.50   76.67   $    8.60         $   210.83   $    210.83
 9/23/2018 Arturo Huz                         $11.50   68.33   $    8.60         $   162.92   $    162.92
 9/30/2018 Arturo Huz                         $11.50   64.48   $    8.60         $   140.78   $    140.78
 10/7/2018 Arturo Huz                         $11.50   64.20   $    8.60         $   139.15   $    139.15
10/14/2018 Arturo Huz                         $11.50   76.60   $    8.60         $   210.45   $    210.45
10/21/2018 Arturo Huz                         $11.50   67.97   $    8.60         $   160.81   $    160.81
10/28/2018 Arturo Huz                         $11.50   75.72   $    8.60         $   205.37   $    205.37
 11/4/2018 Arturo Huz                         $11.50   67.28   $    8.60         $   156.88   $    156.88
11/11/2018 Arturo Huz                         $11.50   75.58   $    8.60         $   204.60   $    204.60
11/18/2018 Arturo Huz                         $11.50   64.37   $    8.60         $   140.11   $    140.11
 12/2/2018 Arturo Huz                         $11.50   69.28   $    8.60         $   168.38   $    168.38
 12/9/2018 Arturo Huz                         $11.50   68.95   $    8.60         $   166.46   $    166.46
12/16/2018 Arturo Huz                         $11.50   70.12   $    8.60         $   173.17   $    173.17
12/23/2018 Arturo Huz                         $11.50   77.70   $    8.60         $   216.78   $    216.78
12/30/2018 Arturo Huz                         $11.50   53.40   $    8.60         $    77.05   $     77.05
  1/6/2019 Arturo Huz                         $11.50   41.95   $    8.85         $    11.21   $     11.21
 1/13/2019 Arturo Huz                         $11.50   68.10   $    8.85         $   161.58   $    161.58
 1/20/2019 Arturo Huz                         $11.50   67.93   $    8.85         $   160.62   $    160.62
 1/27/2019 Arturo Huz                         $11.50   48.23   $    8.85         $    47.34   $     47.34
 3/24/2019 Arturo Huz                         $11.50   46.42   $    8.85         $    36.90   $     36.90
 3/31/2019 Arturo Huz                         $11.50   64.37   $    8.85         $   140.11   $    140.11
  4/7/2019 Arturo Huz                         $11.50   67.38   $    8.85         $   157.45   $    157.45
 4/14/2019 Arturo Huz                         $11.50   73.48   $    8.85         $   192.53   $    192.53
 4/21/2019 Arturo Huz                         $11.50   46.20   $    8.85         $    35.65   $     35.65
 4/28/2019 Arturo Huz                         $11.50   72.03   $    8.85         $   184.19   $    184.19
  5/5/2019 Arturo Huz                         $11.50   69.87   $    8.85         $   171.73   $    171.73
 5/12/2019 Arturo Huz                         $11.50   70.60   $    8.85         $   175.95   $    175.95
 5/19/2019 Arturo Huz                         $11.50   68.80   $    8.85         $   165.60   $    165.60
 5/26/2019 Arturo Huz                         $11.50   65.55   $    8.85         $   146.91   $    146.91
  6/2/2019 Arturo Huz                         $11.50   57.78   $    8.85         $   102.25   $    102.25
  6/9/2019 Arturo Huz                         $11.50   72.78   $    8.85         $   188.50   $    188.50
 6/16/2019 Arturo Huz                         $11.50   68.95   $    8.85         $   166.46   $    166.46
 6/23/2019 Arturo Huz                         $11.50   73.62   $    8.85         $   193.30   $    193.30
 6/30/2019 Arturo Huz                         $11.50   57.35   $   10.00         $    99.76   $     99.76
  7/7/2019 Arturo Huz                         $11.50   46.35   $   10.00         $    36.51   $     36.51
 7/14/2019 Arturo Huz                         $11.50   69.52   $   10.00         $   169.72   $    169.72
 1/13/2019 Augustin Zacarias Lorenzo           $9.50   56.88   $    8.85         $    80.20   $     80.20



                                                 66
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 68 of 683 PageID: 915
                                               Exhibit 2
                                       New Jersey Computations


  Week                                                        State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
 Ending                       Name                          Minumum Regular    Half-Time Overtime Back
                                               Rate Week
  Date                                                        Wage  Rate Due     Due       Wages Due

 1/20/2019 Augustin Zacarias Lorenzo           $9.50   55.18   $    8.85               $    72.12   $    72.12
 1/27/2019 Augustin Zacarias Lorenzo           $9.50   56.52   $    8.85               $    78.45   $    78.45
  2/3/2019 Augustin Zacarias Lorenzo           $9.50   56.73   $    8.85               $    79.48   $    79.48
 2/10/2019 Augustin Zacarias Lorenzo           $9.50   56.03   $    8.85               $    76.16   $    76.16
 2/17/2019 Augustin Zacarias Lorenzo           $9.50   57.35   $    8.85               $    82.41   $    82.41
 2/24/2019 Augustin Zacarias Lorenzo           $9.50   55.88   $    8.85               $    75.45   $    75.45
  3/3/2019 Augustin Zacarias Lorenzo           $9.50   59.35   $    8.85               $    91.91   $    91.91
 3/10/2019 Augustin Zacarias Lorenzo           $9.50   57.82   $    8.85               $    84.63   $    84.63
 3/17/2019 Augustin Zacarias Lorenzo           $9.50   57.92   $    8.85               $    85.10   $    85.10
 3/24/2019 Augustin Zacarias Lorenzo           $9.50   56.97   $    8.85               $    80.59   $    80.59
 3/31/2019 Augustin Zacarias Lorenzo           $9.50   56.73   $    8.85               $    79.48   $    79.48
  4/7/2019 Augustin Zacarias Lorenzo           $9.50   49.98   $    8.85               $    47.42   $    47.42
 4/14/2019 Augustin Zacarias Lorenzo           $9.50   57.18   $    8.85               $    81.62   $    81.62
 4/21/2019 Augustin Zacarias Lorenzo           $9.50   56.70   $    8.85               $    79.33   $    79.33
 4/28/2019 Augustin Zacarias Lorenzo           $9.50   49.78   $    8.85               $    46.47   $    46.47
  5/5/2019 Augustin Zacarias Lorenzo           $9.50   58.55   $    8.85               $    88.11   $    88.11
 5/12/2019 Augustin Zacarias Lorenzo           $9.50   58.45   $    8.85               $    87.64   $    87.64
 5/19/2019 Augustin Zacarias Lorenzo           $9.50   59.48   $    8.85               $    92.55   $    92.55
 5/26/2019 Augustin Zacarias Lorenzo           $9.50   62.45   $    8.85               $   106.64   $   106.64
  6/2/2019 Augustin Zacarias Lorenzo           $9.50   46.97   $    8.85               $    33.09   $    33.09
  6/9/2019 Augustin Zacarias Lorenzo           $9.50   57.97   $    8.85               $    85.34   $    85.34
 6/16/2019 Augustin Zacarias Lorenzo           $9.50   48.52   $    8.85               $    40.45   $    40.45
 6/23/2019 Augustin Zacarias Lorenzo           $9.50   56.47   $    8.85               $    78.22   $    78.22
 6/30/2019 Augustin Zacarias Lorenzo           $9.50   58.30   $   10.00   $   29.15   $    91.50   $   120.65
  7/7/2019 Augustin Zacarias Lorenzo          $10.50   49.52   $   10.00               $    49.96   $    49.96
 7/14/2019 Augustin Zacarias Lorenzo          $10.50   58.83   $   10.00               $    98.88   $    98.88
 7/21/2019 Augustin Zacarias Lorenzo          $10.50   57.42   $   10.00               $    91.44   $    91.44
 7/28/2019 Augustin Zacarias Lorenzo          $10.50   58.12   $   10.00               $    95.11   $    95.11
  8/4/2019 Augustin Zacarias Lorenzo          $10.50   58.43   $   10.00               $    96.78   $    96.78
 8/11/2019 Augustin Zacarias Lorenzo          $10.50   57.37   $   10.00               $    91.18   $    91.18
 8/18/2019 Augustin Zacarias Lorenzo          $10.50   58.10   $   10.00               $    95.03   $    95.03
 8/25/2019 Augustin Zacarias Lorenzo          $10.50   57.48   $   10.00               $    91.79   $    91.79
  9/1/2019 Augustin Zacarias Lorenzo          $10.50   57.25   $   10.00               $    90.56   $    90.56
 9/15/2019 Augustin Zacarias Lorenzo          $10.50   60.23   $   10.00               $   106.23   $   106.23
 9/22/2019 Augustin Zacarias Lorenzo          $10.50   58.40   $   10.00               $    96.60   $    96.60
 9/29/2019 Augustin Zacarias Lorenzo          $10.50   59.03   $   10.00               $    99.93   $    99.93
 10/6/2019 Augustin Zacarias Lorenzo          $10.50   58.80   $   10.00               $    98.70   $    98.70
10/13/2019 Augustin Zacarias Lorenzo          $10.50   57.53   $   10.00               $    92.05   $    92.05
10/20/2019 Augustin Zacarias Lorenzo          $11.00   57.62   $   10.00               $    96.89   $    96.89
10/27/2019 Augustin Zacarias Lorenzo          $11.00   60.70   $   10.00               $   113.85   $   113.85
 11/3/2019 Augustin Zacarias Lorenzo          $11.00   56.70   $   10.00               $    91.85   $    91.85
11/10/2019 Augustin Zacarias Lorenzo          $11.00   59.47   $   10.00               $   107.07   $   107.07
11/17/2019 Augustin Zacarias Lorenzo          $11.00   56.53   $   10.00               $    90.93   $    90.93
11/24/2019 Augustin Zacarias Lorenzo          $11.00   60.62   $   10.00               $   113.39   $   113.39
 12/1/2019 Augustin Zacarias Lorenzo          $11.00   48.63   $   10.00               $    47.48   $    47.48
 12/8/2019 Augustin Zacarias Lorenzo          $11.00   57.53   $   10.00               $    96.43   $    96.43
12/15/2019 Augustin Zacarias Lorenzo          $10.50   56.60   $   10.00               $    87.15   $    87.15
12/22/2019 Augustin Zacarias Lorenzo          $10.50   47.02   $   10.00               $    36.84   $    36.84
12/29/2019 Augustin Zacarias Lorenzo          $10.50   41.35   $   10.00               $     7.09   $     7.09
  1/5/2020 Augustin Zacarias Lorenzo          $10.50   42.18   $   11.00   $   21.09   $    12.01   $    33.10



                                                 67
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 69 of 683 PageID: 916
                                               Exhibit 2
                                       New Jersey Computations


  Week                                                        State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
 Ending                       Name                          Minumum Regular    Half-Time Overtime Back
                                               Rate Week
  Date                                                        Wage  Rate Due     Due       Wages Due

 1/12/2020 Augustin Zacarias Lorenzo          $10.50   54.13   $   11.00   $   27.07   $    77.73   $   104.80
 1/19/2020 Augustin Zacarias Lorenzo          $10.50   55.28   $   11.00   $   27.64   $    84.06   $   111.70
 1/26/2020 Augustin Zacarias Lorenzo          $10.50   55.83   $   11.00   $   27.92   $    87.08   $   115.00
 4/21/2019 Avimael Gracida                    $10.00   63.68   $    8.85               $   118.42   $   118.42
 4/28/2019 Avimael Gracida                    $10.00   56.73   $    8.85               $    83.67   $    83.67
  5/5/2019 Avimael Gracida                    $10.00   61.00   $    8.85               $   105.00   $   105.00
 5/12/2019 Avimael Gracida                    $10.00   60.55   $    8.85               $   102.75   $   102.75
 5/19/2019 Avimael Gracida                    $10.00   60.92   $    8.85               $   104.58   $   104.58
 5/26/2019 Avimael Gracida                    $10.00   65.67   $    8.85               $   128.33   $   128.33
  6/2/2019 Avimael Gracida                    $10.00   48.65   $    8.85               $    43.25   $    43.25
  6/9/2019 Avimael Gracida                    $10.00   64.93   $    8.85               $   124.67   $   124.67
 6/16/2019 Avimael Gracida                    $10.00   68.83   $    8.85               $   144.17   $   144.17
 6/23/2019 Avimael Gracida                    $10.00   63.80   $    8.85               $   119.00   $   119.00
 6/30/2019 Avimael Gracida                    $10.00   50.77   $   10.00               $    53.83   $    53.83
 9/22/2019 Avimael Gracida                    $10.50   61.25   $   10.00               $   111.56   $   111.56
 9/29/2019 Avimael Gracida                    $10.50   70.70   $   10.00               $   161.18   $   161.18
 10/6/2019 Avimael Gracida                    $10.50   64.50   $   10.00               $   128.63   $   128.63
10/13/2019 Avimael Gracida                    $10.50   71.82   $   10.00               $   167.04   $   167.04
10/20/2019 Avimael Gracida                    $10.50   66.70   $   10.00               $   140.18   $   140.18
10/27/2019 Avimael Gracida                    $10.50   74.32   $   10.00               $   180.16   $   180.16
 11/3/2019 Avimael Gracida                    $10.50   73.72   $   10.00               $   177.01   $   177.01
11/10/2019 Avimael Gracida                    $10.50   71.77   $   10.00               $   166.78   $   166.78
11/17/2019 Avimael Gracida                    $10.50   66.73   $   10.00               $   140.35   $   140.35
11/24/2019 Avimael Gracida                    $10.50   71.42   $   10.00               $   164.94   $   164.94
 12/1/2019 Avimael Gracida                    $10.50   62.90   $   10.00               $   120.23   $   120.23
 12/8/2019 Avimael Gracida                    $10.50   73.65   $   10.00               $   176.66   $   176.66
12/15/2019 Avimael Gracida                    $10.50   71.02   $   10.00               $   162.84   $   162.84
12/22/2019 Avimael Gracida                    $10.50   66.37   $   10.00               $   138.43   $   138.43
12/29/2019 Avimael Gracida                    $10.50   44.22   $   10.00               $    22.14   $    22.14
  1/5/2020 Avimael Gracida                    $10.50   52.63   $   11.00   $   26.32   $    69.48   $    95.80
 1/12/2020 Avimael Gracida                    $10.50   68.20   $   11.00   $   34.10   $   155.10   $   189.20
 1/19/2020 Avimael Gracida                    $10.50   63.67   $   11.00   $   31.83   $   130.17   $   162.00
 1/26/2020 Avimael Gracida                    $10.50   54.87   $   11.00   $   27.43   $    81.77   $   109.20
 5/12/2019 Bayardo McNally                    $10.00   47.55   $    8.85               $    37.75   $    37.75
 5/19/2019 Bayardo McNally                    $10.00   70.12   $    8.85               $   150.58   $   150.58
  6/2/2019 Bayardo McNally                    $10.00   62.78   $    8.85               $   113.92   $   113.92
  6/9/2019 Bayardo McNally                    $10.00   67.30   $    8.85               $   136.50   $   136.50
 6/16/2019 Bayardo McNally                    $10.00   69.82   $    8.85               $   149.08   $   149.08
 6/23/2019 Bayardo McNally                    $10.00   47.87   $    8.85               $    39.33   $    39.33
  7/7/2019 Bayardo McNally                    $10.00   42.55   $   10.00               $    12.75   $    12.75
 7/14/2019 Bayardo McNally                    $10.00   64.57   $   10.00               $   122.83   $   122.83
 7/21/2019 Bayardo McNally                    $10.00   58.72   $   10.00               $    93.58   $    93.58
 7/28/2019 Bayardo McNally                    $10.00   58.30   $   10.00               $    91.50   $    91.50
 1/26/2020 Bayardo McNally                    $10.00   43.97   $   11.00   $   43.97   $    21.82   $    65.78
  2/5/2017 Benito Carchi                      $14.00   65.02   $    8.44               $   175.12   $   175.12
 2/12/2017 Benito Carchi                      $14.00   66.03   $    8.44               $   182.23   $   182.23
 2/19/2017 Benito Carchi                      $14.00   70.27   $    8.44               $   211.87   $   211.87
 2/26/2017 Benito Carchi                      $14.00   70.82   $    8.44               $   215.72   $   215.72
  3/5/2017 Benito Carchi                      $14.00   70.13   $    8.44               $   210.93   $   210.93
 3/12/2017 Benito Carchi                      $14.00   69.63   $    8.44               $   207.43   $   207.43



                                                 68
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 70 of 683 PageID: 917
                                          Exhibit 2
                                  New Jersey Computations


  Week                                                   State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
 Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                          Rate Week
  Date                                                   Wage  Rate Due     Due       Wages Due

 3/19/2017 Benito Carchi                 $14.00   57.95   $   8.44          $   125.65   $    125.65
 3/26/2017 Benito Carchi                 $14.00   65.32   $   8.44          $   177.22   $    177.22
  4/2/2017 Benito Carchi                 $14.00   68.50   $   8.44          $   199.50   $    199.50
  4/9/2017 Benito Carchi                 $14.00   69.83   $   8.44          $   208.83   $    208.83
 4/16/2017 Benito Carchi                 $14.00   65.18   $   8.44          $   176.28   $    176.28
 4/23/2017 Benito Carchi                 $14.00   59.78   $   8.44          $   138.48   $    138.48
 4/30/2017 Benito Carchi                 $14.00   70.15   $   8.44          $   211.05   $    211.05
  5/7/2017 Benito Carchi                 $14.00   70.40   $   8.44          $   212.80   $    212.80
 5/14/2017 Benito Carchi                 $14.00   69.67   $   8.44          $   207.67   $    207.67
 5/21/2017 Benito Carchi                 $14.00   56.65   $   8.44          $   116.55   $    116.55
 5/28/2017 Benito Carchi                 $14.00   61.55   $   8.44          $   150.85   $    150.85
  6/4/2017 Benito Carchi                 $14.00   70.72   $   8.44          $   215.02   $    215.02
 6/11/2017 Benito Carchi                 $14.00   66.22   $   8.44          $   183.52   $    183.52
 6/18/2017 Benito Carchi                 $14.00   69.18   $   8.44          $   204.28   $    204.28
 6/25/2017 Benito Carchi                 $14.00   69.30   $   8.44          $   205.10   $    205.10
  7/2/2017 Benito Carchi                 $14.00   69.32   $   8.44          $   205.22   $    205.22
  7/9/2017 Benito Carchi                 $14.00   65.35   $   8.44          $   177.45   $    177.45
 7/16/2017 Benito Carchi                 $14.00   69.07   $   8.44          $   203.47   $    203.47
 7/23/2017 Benito Carchi                 $14.00   69.82   $   8.44          $   208.72   $    208.72
 7/30/2017 Benito Carchi                 $14.00   69.83   $   8.44          $   208.83   $    208.83
  8/6/2017 Benito Carchi                 $14.00   71.93   $   8.44          $   223.53   $    223.53
 8/13/2017 Benito Carchi                 $14.00   70.03   $   8.44          $   210.23   $    210.23
 8/20/2017 Benito Carchi                 $14.00   70.03   $   8.44          $   210.23   $    210.23
 8/27/2017 Benito Carchi                 $14.00   71.32   $   8.44          $   219.22   $    219.22
  9/3/2017 Benito Carchi                 $14.00   70.72   $   8.44          $   215.02   $    215.02
 9/10/2017 Benito Carchi                 $14.00   67.92   $   8.44          $   195.42   $    195.42
 9/17/2017 Benito Carchi                 $14.00   67.53   $   8.44          $   192.73   $    192.73
 9/24/2017 Benito Carchi                 $14.00   71.08   $   8.44          $   217.58   $    217.58
 10/1/2017 Benito Carchi                 $14.00   66.08   $   8.44          $   182.58   $    182.58
 10/8/2017 Benito Carchi                 $14.00   69.68   $   8.44          $   207.78   $    207.78
10/15/2017 Benito Carchi                 $14.00   70.98   $   8.44          $   216.88   $    216.88
10/22/2017 Benito Carchi                 $14.00   71.45   $   8.44          $   220.15   $    220.15
10/29/2017 Benito Carchi                 $14.00   67.57   $   8.44          $   192.97   $    192.97
 11/5/2017 Benito Carchi                 $14.00   70.48   $   8.44          $   213.38   $    213.38
11/12/2017 Benito Carchi                 $14.00   67.93   $   8.44          $   195.53   $    195.53
11/19/2017 Benito Carchi                 $14.00   66.87   $   8.44          $   188.07   $    188.07
11/26/2017 Benito Carchi                 $14.00   54.28   $   8.44          $    99.98   $     99.98
 12/3/2017 Benito Carchi                 $14.00   68.55   $   8.44          $   199.85   $    199.85
12/10/2017 Benito Carchi                 $14.00   69.03   $   8.44          $   203.23   $    203.23
12/17/2017 Benito Carchi                 $14.00   67.42   $   8.44          $   191.92   $    191.92
12/24/2017 Benito Carchi                 $14.00   65.62   $   8.44          $   179.32   $    179.32
12/31/2017 Benito Carchi                 $14.00   59.32   $   8.44          $   135.22   $    135.22
  1/7/2018 Benito Carchi                 $14.00   66.12   $   8.60          $   182.82   $    182.82
 1/14/2018 Benito Carchi                 $14.00   64.27   $   8.60          $   169.87   $    169.87
 1/21/2018 Benito Carchi                 $14.00   65.55   $   8.60          $   178.85   $    178.85
 1/28/2018 Benito Carchi                 $14.00   65.27   $   8.60          $   176.87   $    176.87
  2/4/2018 Benito Carchi                 $14.00   69.65   $   8.60          $   207.55   $    207.55
 2/11/2018 Benito Carchi                 $14.00   54.22   $   8.60          $    99.52   $     99.52
 2/18/2018 Benito Carchi                 $14.00   68.22   $   8.60          $   197.52   $    197.52
 2/25/2018 Benito Carchi                 $14.00   69.27   $   8.60          $   204.87   $    204.87



                                            69
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 71 of 683 PageID: 918
                                          Exhibit 2
                                  New Jersey Computations


  Week                                                   State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
 Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                          Rate Week
  Date                                                   Wage  Rate Due     Due       Wages Due

  3/4/2018 Benito Carchi                 $14.00   69.48   $   8.60          $   206.38   $    206.38
 3/25/2018 Benito Carchi                 $14.00   57.65   $   8.60          $   123.55   $    123.55
  4/1/2018 Benito Carchi                 $14.00   70.40   $   8.60          $   212.80   $    212.80
  4/8/2018 Benito Carchi                 $14.00   64.03   $   8.60          $   168.23   $    168.23
 4/15/2018 Benito Carchi                 $14.00   71.65   $   8.60          $   221.55   $    221.55
 4/22/2018 Benito Carchi                 $14.00   68.95   $   8.60          $   202.65   $    202.65
 4/29/2018 Benito Carchi                 $14.00   70.57   $   8.60          $   213.97   $    213.97
  5/6/2018 Benito Carchi                 $14.00   70.22   $   8.60          $   211.52   $    211.52
 5/13/2018 Benito Carchi                 $14.00   68.30   $   8.60          $   198.10   $    198.10
 5/20/2018 Benito Carchi                 $14.00   72.78   $   8.60          $   229.48   $    229.48
 5/27/2018 Benito Carchi                 $14.00   73.10   $   8.60          $   231.70   $    231.70
  6/3/2018 Benito Carchi                 $14.00   68.50   $   8.60          $   199.50   $    199.50
 6/10/2018 Benito Carchi                 $14.00   72.82   $   8.60          $   229.72   $    229.72
 6/17/2018 Benito Carchi                 $14.00   71.75   $   8.60          $   222.25   $    222.25
 6/24/2018 Benito Carchi                 $14.00   60.17   $   8.60          $   141.17   $    141.17
  7/1/2018 Benito Carchi                 $14.00   71.52   $   8.60          $   220.62   $    220.62
  7/8/2018 Benito Carchi                 $14.00   67.40   $   8.60          $   191.80   $    191.80
 7/15/2018 Benito Carchi                 $14.00   70.57   $   8.60          $   213.97   $    213.97
 7/22/2018 Benito Carchi                 $14.00   55.62   $   8.60          $   109.32   $    109.32
 7/29/2018 Benito Carchi                 $14.00   70.30   $   8.60          $   212.10   $    212.10
  8/5/2018 Benito Carchi                 $14.00   70.82   $   8.60          $   215.72   $    215.72
 8/12/2018 Benito Carchi                 $14.00   66.55   $   8.60          $   185.85   $    185.85
 8/19/2018 Benito Carchi                 $14.00   70.83   $   8.60          $   215.83   $    215.83
 8/26/2018 Benito Carchi                 $14.00   61.00   $   8.60          $   147.00   $    147.00
  9/2/2018 Benito Carchi                 $14.00   69.40   $   8.60          $   205.80   $    205.80
  9/9/2018 Benito Carchi                 $14.00   71.22   $   8.60          $   218.52   $    218.52
 9/16/2018 Benito Carchi                 $14.00   69.70   $   8.60          $   207.90   $    207.90
 9/23/2018 Benito Carchi                 $14.00   70.45   $   8.60          $   213.15   $    213.15
 9/30/2018 Benito Carchi                 $14.00   67.02   $   8.60          $   189.12   $    189.12
 10/7/2018 Benito Carchi                 $14.00   55.58   $   8.60          $   109.08   $    109.08
10/14/2018 Benito Carchi                 $14.00   71.18   $   8.60          $   218.28   $    218.28
10/21/2018 Benito Carchi                 $14.00   72.05   $   8.60          $   224.35   $    224.35
10/28/2018 Benito Carchi                 $14.00   70.15   $   8.60          $   211.05   $    211.05
 11/4/2018 Benito Carchi                 $14.00   74.72   $   8.60          $   243.02   $    243.02
11/11/2018 Benito Carchi                 $14.00   71.23   $   8.60          $   218.63   $    218.63
11/18/2018 Benito Carchi                 $14.00   70.42   $   8.60          $   212.92   $    212.92
11/25/2018 Benito Carchi                 $14.00   63.77   $   8.60          $   166.37   $    166.37
 12/2/2018 Benito Carchi                 $14.00   77.05   $   8.60          $   259.35   $    259.35
 12/9/2018 Benito Carchi                 $14.00   74.68   $   8.60          $   242.78   $    242.78
12/16/2018 Benito Carchi                 $14.00   72.42   $   8.60          $   226.92   $    226.92
12/23/2018 Benito Carchi                 $14.00   75.17   $   8.60          $   246.17   $    246.17
12/30/2018 Benito Carchi                 $14.00   60.90   $   8.60          $   146.30   $    146.30
  1/6/2019 Benito Carchi                 $14.00   72.75   $   8.85          $   229.25   $    229.25
 1/13/2019 Benito Carchi                 $14.00   66.18   $   8.85          $   183.28   $    183.28
 1/20/2019 Benito Carchi                 $14.00   74.60   $   8.85          $   242.20   $    242.20
 1/27/2019 Benito Carchi                 $14.00   71.83   $   8.85          $   222.83   $    222.83
  2/3/2019 Benito Carchi                 $14.00   72.57   $   8.85          $   227.97   $    227.97
 2/10/2019 Benito Carchi                 $14.00   72.57   $   8.85          $   227.97   $    227.97
 2/17/2019 Benito Carchi                 $14.00   75.82   $   8.85          $   250.72   $    250.72
 2/24/2019 Benito Carchi                 $14.00   73.15   $   8.85          $   232.05   $    232.05



                                            70
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 72 of 683 PageID: 919
                                             Exhibit 2
                                     New Jersey Computations


  Week                                                      State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
 Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
  Date                                                      Wage  Rate Due     Due       Wages Due

  3/3/2019 Benito Carchi                    $14.00   74.87   $    8.85         $   244.07   $    244.07
 3/10/2019 Benito Carchi                    $14.00   74.63   $    8.85         $   242.43   $    242.43
 3/17/2019 Benito Carchi                    $14.00   75.68   $    8.85         $   249.78   $    249.78
 3/24/2019 Benito Carchi                    $14.00   63.62   $    8.85         $   165.32   $    165.32
 3/31/2019 Benito Carchi                    $14.00   74.23   $    8.85         $   239.63   $    239.63
  4/7/2019 Benito Carchi                    $14.00   76.63   $    8.85         $   256.43   $    256.43
 4/14/2019 Benito Carchi                    $14.00   75.75   $    8.85         $   250.25   $    250.25
 4/21/2019 Benito Carchi                    $14.00   75.43   $    8.85         $   248.03   $    248.03
 4/28/2019 Benito Carchi                    $14.00   77.08   $    8.85         $   259.58   $    259.58
  5/5/2019 Benito Carchi                    $14.00   78.13   $    8.85         $   266.93   $    266.93
 5/12/2019 Benito Carchi                    $14.00   77.77   $    8.85         $   264.37   $    264.37
 5/19/2019 Benito Carchi                    $14.00   76.58   $    8.85         $   256.08   $    256.08
 5/26/2019 Benito Carchi                    $14.00   77.50   $    8.85         $   262.50   $    262.50
  6/2/2019 Benito Carchi                    $14.00   77.12   $    8.85         $   259.82   $    259.82
  6/9/2019 Benito Carchi                    $14.00   78.25   $    8.85         $   267.75   $    267.75
 6/16/2019 Benito Carchi                    $14.00   77.13   $    8.85         $   259.93   $    259.93
 6/23/2019 Benito Carchi                    $14.00   74.10   $    8.85         $   238.70   $    238.70
 6/30/2019 Benito Carchi                    $14.00   77.95   $   10.00         $   265.65   $    265.65
  7/7/2019 Benito Carchi                    $14.00   75.40   $   10.00         $   247.80   $    247.80
 7/14/2019 Benito Carchi                    $14.00   78.37   $   10.00         $   268.57   $    268.57
 7/21/2019 Benito Carchi                    $14.00   77.67   $   10.00         $   263.67   $    263.67
 7/28/2019 Benito Carchi                    $14.00   78.08   $   10.00         $   266.58   $    266.58
  8/4/2019 Benito Carchi                    $14.00   79.37   $   10.00         $   275.57   $    275.57
 8/11/2019 Benito Carchi                    $14.00   77.22   $   10.00         $   260.52   $    260.52
 8/18/2019 Benito Carchi                    $14.00   78.00   $   10.00         $   266.00   $    266.00
 8/25/2019 Benito Carchi                    $14.00   77.15   $   10.00         $   260.05   $    260.05
  9/1/2019 Benito Carchi                    $14.00   77.33   $   10.00         $   261.33   $    261.33
  9/8/2019 Benito Carchi                    $14.00   76.58   $   10.00         $   256.08   $    256.08
 9/15/2019 Benito Carchi                    $14.00   77.60   $   10.00         $   263.20   $    263.20
 9/22/2019 Benito Carchi                    $14.00   76.65   $   10.00         $   256.55   $    256.55
 9/29/2019 Benito Carchi                    $14.00   72.85   $   10.00         $   229.95   $    229.95
 10/6/2019 Benito Carchi                    $14.00   76.93   $   10.00         $   258.53   $    258.53
10/13/2019 Benito Carchi                    $14.00   75.98   $   10.00         $   251.88   $    251.88
10/20/2019 Benito Carchi                    $14.00   66.00   $   10.00         $   182.00   $    182.00
10/27/2019 Benito Carchi                    $14.00   75.88   $   10.00         $   251.18   $    251.18
 11/3/2019 Benito Carchi                    $14.00   78.15   $   10.00         $   267.05   $    267.05
11/10/2019 Benito Carchi                    $14.00   76.70   $   10.00         $   256.90   $    256.90
11/17/2019 Benito Carchi                    $14.00   77.15   $   10.00         $   260.05   $    260.05
11/24/2019 Benito Carchi                    $14.00   76.35   $   10.00         $   254.45   $    254.45
 12/1/2019 Benito Carchi                    $14.00   61.70   $   10.00         $   151.90   $    151.90
 12/8/2019 Benito Carchi                    $14.00   75.13   $   10.00         $   245.93   $    245.93
12/15/2019 Benito Carchi                    $14.00   74.62   $   10.00         $   242.32   $    242.32
12/22/2019 Benito Carchi                    $14.00   77.03   $   10.00         $   259.23   $    259.23
12/29/2019 Benito Carchi                    $14.00   58.17   $   10.00         $   127.17   $    127.17
  1/5/2020 Benito Carchi                    $14.00   70.97   $   11.00         $   216.77   $    216.77
 1/12/2020 Benito Carchi                    $14.00   77.65   $   11.00         $   263.55   $    263.55
 1/19/2020 Benito Carchi                    $14.00   75.45   $   11.00         $   248.15   $    248.15
 1/26/2020 Benito Carchi                    $14.00   77.33   $   11.00         $   261.33   $    261.33
 3/25/2018 Benny Elisaul Miranda             $9.00   52.22   $    8.60         $    54.98   $     54.98
  4/1/2018 Benny Elisaul Miranda             $9.00   46.62   $    8.60         $    29.78   $     29.78



                                               71
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 73 of 683 PageID: 920
                                             Exhibit 2
                                     New Jersey Computations


  Week                                                      State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
 Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
  Date                                                      Wage  Rate Due     Due       Wages Due

  4/8/2018 Benny Elisaul Miranda             $9.00   44.03   $    8.60         $    18.15   $     18.15
 4/15/2018 Benny Elisaul Miranda             $9.00   44.13   $    8.60         $    18.60   $     18.60
 4/22/2018 Benny Elisaul Miranda             $9.00   44.23   $    8.60         $    19.05   $     19.05
 4/29/2018 Benny Elisaul Miranda             $9.00   44.68   $    8.60         $    21.08   $     21.08
  5/6/2018 Benny Elisaul Miranda             $9.00   53.53   $    8.60         $    60.90   $     60.90
 5/13/2018 Benny Elisaul Miranda             $9.00   44.53   $    8.60         $    20.40   $     20.40
 5/20/2018 Benny Elisaul Miranda             $9.00   53.27   $    8.60         $    59.70   $     59.70
 5/27/2018 Benny Elisaul Miranda             $9.00   53.62   $    8.60         $    61.28   $     61.28
  6/3/2018 Benny Elisaul Miranda             $9.00   51.78   $    8.60         $    53.03   $     53.03
 6/10/2018 Benny Elisaul Miranda             $9.00   51.52   $    8.60         $    51.83   $     51.83
 6/16/2019 Bernabe Aristides                $10.00   69.70   $    8.85         $   148.50   $    148.50
 6/23/2019 Bernabe Aristides                $10.00   45.03   $    8.85         $    25.17   $     25.17
  4/7/2019 Berto Polanco                     $9.50   47.42   $    8.85         $    35.23   $     35.23
 4/14/2019 Berto Polanco                     $9.50   40.83   $    8.85         $     3.96   $      3.96
 5/26/2019 Bianca Fermin                    $10.00   58.68   $    8.85         $    93.42   $     93.42
  6/2/2019 Bianca Fermin                    $10.00   48.72   $    8.85         $    43.58   $     43.58
  6/9/2019 Bianca Fermin                    $10.00   50.78   $    8.85         $    53.92   $     53.92
 6/16/2019 Bianca Fermin                    $10.00   58.77   $    8.85         $    93.83   $     93.83
 6/23/2019 Bianca Fermin                    $10.00   59.02   $    8.85         $    95.08   $     95.08
 6/30/2019 Bianca Fermin                    $10.00   58.95   $   10.00         $    94.75   $     94.75
  7/7/2019 Bianca Fermin                    $11.00   49.07   $   10.00         $    49.87   $     49.87
 7/14/2019 Bianca Fermin                    $11.00   53.27   $   10.00         $    72.97   $     72.97
 7/21/2019 Bianca Fermin                    $11.00   59.17   $   10.00         $   105.42   $    105.42
 7/28/2019 Bianca Fermin                    $11.00   60.25   $   10.00         $   111.38   $    111.38
  8/4/2019 Bianca Fermin                    $11.00   51.63   $   10.00         $    63.98   $     63.98
 8/11/2019 Bianca Fermin                    $11.00   59.78   $   10.00         $   108.81   $    108.81
 8/18/2019 Bianca Fermin                    $11.00   59.18   $   10.00         $   105.51   $    105.51
 8/25/2019 Bianca Fermin                    $11.00   50.98   $   10.00         $    60.41   $     60.41
  9/1/2019 Bianca Fermin                    $11.00   50.83   $   10.00         $    59.58   $     59.58
  9/8/2019 Bianca Fermin                    $11.00   48.53   $   10.00         $    46.93   $     46.93
 9/15/2019 Bianca Fermin                    $11.00   58.78   $   10.00         $   103.31   $    103.31
 9/22/2019 Bianca Fermin                    $11.00   58.62   $   10.00         $   102.39   $    102.39
 9/29/2019 Bianca Fermin                    $11.00   56.35   $   10.00         $    89.93   $     89.93
 10/6/2019 Bianca Fermin                    $11.00   58.93   $   10.00         $   104.13   $    104.13
10/13/2019 Bianca Fermin                    $11.00   59.38   $   10.00         $   106.61   $    106.61
10/20/2019 Bianca Fermin                    $11.00   54.35   $   10.00         $    78.93   $     78.93
10/27/2019 Bianca Fermin                    $11.00   58.90   $   10.00         $   103.95   $    103.95
 11/3/2019 Bianca Fermin                    $11.00   59.12   $   10.00         $   105.14   $    105.14
11/10/2019 Bianca Fermin                    $11.00   49.15   $   10.00         $    50.33   $     50.33
11/17/2019 Bianca Fermin                    $11.00   58.82   $   10.00         $   103.49   $    103.49
11/24/2019 Bianca Fermin                    $11.00   59.25   $   10.00         $   105.88   $    105.88
 12/1/2019 Bianca Fermin                    $11.00   49.13   $   10.00         $    50.23   $     50.23
 12/8/2019 Bianca Fermin                    $11.00   59.25   $   10.00         $   105.88   $    105.88
12/15/2019 Bianca Fermin                    $11.00   59.32   $   10.00         $   106.24   $    106.24
12/22/2019 Bianca Fermin                    $11.00   59.05   $   10.00         $   104.78   $    104.78
12/29/2019 Bianca Fermin                    $11.00   49.00   $   10.00         $    49.50   $     49.50
  1/5/2020 Bianca Fermin                    $11.00   49.32   $   11.00         $    51.24   $     51.24
 1/12/2020 Bianca Fermin                    $11.00   55.38   $   11.00         $    84.61   $     84.61
 1/19/2020 Bianca Fermin                    $11.00   55.97   $   11.00         $    87.82   $     87.82
 1/26/2020 Bianca Fermin                    $11.00   58.00   $   11.00         $    99.00   $     99.00



                                               72
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 74 of 683 PageID: 921
                                             Exhibit 2
                                     New Jersey Computations


  Week                                                      State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
 Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
  Date                                                      Wage  Rate Due     Due       Wages Due

 12/8/2019 Bismark Capellan                 $11.00   66.48   $   10.00              $   145.66   $   145.66
12/15/2019 Bismark Capellan                 $11.00   66.63   $   10.00              $   146.48   $   146.48
  1/5/2020 Bismark Capellan                 $11.00   48.37   $   11.00              $    46.02   $    46.02
 1/12/2020 Bismark Capellan                 $11.00   67.02   $   11.00              $   148.59   $   148.59
 1/19/2020 Bismark Capellan                 $11.00   65.03   $   11.00              $   137.68   $   137.68
 1/26/2020 Bismark Capellan                 $11.00   65.03   $   11.00              $   137.68   $   137.68
11/24/2019 Bralin Rojas Melendez             $9.50   55.17   $   10.00   $ 27.58    $    75.83   $   103.42
 12/1/2019 Bralin Rojas Melendez             $9.50   47.87   $   10.00   $ 23.93    $    39.33   $    63.27
 12/8/2019 Bralin Rojas Melendez             $9.50   57.70   $   10.00   $ 28.85    $    88.50   $   117.35
12/15/2019 Bralin Rojas Melendez             $9.50   68.75   $   10.00   $ 34.38    $   143.75   $   178.13
12/22/2019 Bralin Rojas Melendez             $9.50   59.37   $   10.00   $ 29.68    $    96.83   $   126.52
  1/5/2020 Bralin Rojas Melendez             $9.50   48.33   $   11.00   $ 72.50    $    45.83   $   118.33
 1/12/2020 Bralin Rojas Melendez             $9.50   53.98   $   11.00   $ 80.98    $    76.91   $   157.88
 1/19/2020 Bralin Rojas Melendez             $9.50   70.70   $   11.00   $ 106.05   $   168.85   $   274.90
 1/26/2020 Bralin Rojas Melendez             $9.50   69.33   $   11.00   $ 104.00   $   161.33   $   265.33
10/20/2019 Brandon Campos                   $12.00   58.18   $   10.00              $   109.10   $   109.10
10/27/2019 Brandon Campos                   $12.00   57.80   $   10.00              $   106.80   $   106.80
 11/3/2019 Brandon Campos                   $12.00   49.75   $   10.00              $    58.50   $    58.50
11/26/2017 Brandon Cruz                     $10.00   44.63   $    8.44              $    23.17   $    23.17
 12/3/2017 Brandon Cruz                     $10.00   54.80   $    8.44              $    74.00   $    74.00
12/10/2017 Brandon Cruz                     $10.00   56.12   $    8.44              $    80.58   $    80.58
12/17/2017 Brandon Cruz                     $10.00   45.03   $    8.44              $    25.17   $    25.17
12/24/2017 Brandon Cruz                     $10.00   54.57   $    8.44              $    72.83   $    72.83
12/31/2017 Brandon Cruz                     $10.00   44.00   $    8.44              $    20.00   $    20.00
 1/14/2018 Brandon Cruz                     $10.00   55.00   $    8.60              $    75.00   $    75.00
 1/21/2018 Brandon Cruz                     $10.00   55.58   $    8.60              $    77.92   $    77.92
 1/28/2018 Brandon Cruz                     $10.00   53.63   $    8.60              $    68.17   $    68.17
  2/4/2018 Brandon Cruz                     $10.00   53.52   $    8.60              $    67.58   $    67.58
 2/11/2018 Brandon Cruz                     $10.00   52.75   $    8.60              $    63.75   $    63.75
 2/18/2018 Brandon Cruz                     $10.00   53.43   $    8.60              $    67.17   $    67.17
 2/25/2018 Brandon Cruz                     $10.00   54.35   $    8.60              $    71.75   $    71.75
  3/4/2018 Brandon Cruz                     $10.00   48.57   $    8.60              $    42.83   $    42.83
 3/25/2018 Brandon Cruz                     $10.00   40.48   $    8.60              $     2.42   $     2.42
  4/1/2018 Brandon Cruz                     $10.00   42.72   $    8.60              $    13.58   $    13.58
  4/8/2018 Brandon Cruz                     $10.00   54.08   $    8.60              $    70.42   $    70.42
 4/15/2018 Brandon Cruz                     $10.00   55.13   $    8.60              $    75.67   $    75.67
 4/22/2018 Brandon Cruz                     $10.00   46.80   $    8.60              $    34.00   $    34.00
 4/29/2018 Brandon Cruz                     $10.00   58.25   $    8.60              $    91.25   $    91.25
  5/6/2018 Brandon Cruz                     $10.00   57.62   $    8.60              $    88.08   $    88.08
 5/13/2018 Brandon Cruz                     $10.00   55.17   $    8.60              $    75.83   $    75.83
 5/20/2018 Brandon Cruz                     $10.00   58.43   $    8.60              $    92.17   $    92.17
 5/27/2018 Brandon Cruz                     $10.00   61.02   $    8.60              $   105.08   $   105.08
  6/3/2018 Brandon Cruz                     $10.00   48.58   $    8.60              $    42.92   $    42.92
 6/10/2018 Brandon Cruz                     $10.00   43.23   $    8.60              $    16.17   $    16.17
  7/1/2018 Brandon Cruz                     $10.00   54.83   $    8.60              $    74.17   $    74.17
  7/8/2018 Brandon Cruz                     $10.00   44.45   $    8.60              $    22.25   $    22.25
 7/15/2018 Brandon Cruz                     $10.00   55.73   $    8.60              $    78.67   $    78.67
 7/22/2018 Brandon Cruz                     $10.00   51.35   $    8.60              $    56.75   $    56.75
 7/29/2018 Brandon Cruz                     $10.00   59.25   $    8.60              $    96.25   $    96.25
  8/5/2018 Brandon Cruz                     $10.00   54.28   $    8.60              $    71.42   $    71.42



                                               73
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 75 of 683 PageID: 922
                                         Exhibit 2
                                 New Jersey Computations


  Week                                                  State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
 Ending                   Name                        Minumum Regular    Half-Time Overtime Back
                                         Rate Week
  Date                                                  Wage  Rate Due     Due       Wages Due

 8/12/2018 Brandon Cruz                 $10.00   57.73   $    8.60         $    88.67   $     88.67
 8/19/2018 Brandon Cruz                 $10.00   56.82   $    8.60         $    84.08   $     84.08
 8/26/2018 Brandon Cruz                 $10.00   55.90   $    8.60         $    79.50   $     79.50
  9/2/2018 Brandon Cruz                 $10.00   54.47   $    8.60         $    72.33   $     72.33
  9/9/2018 Brandon Cruz                 $10.00   44.83   $    8.60         $    24.17   $     24.17
 9/16/2018 Brandon Cruz                 $10.00   55.78   $    8.60         $    78.92   $     78.92
 9/23/2018 Brandon Cruz                 $10.00   56.50   $    8.60         $    82.50   $     82.50
 9/30/2018 Brandon Cruz                 $10.00   55.88   $    8.60         $    79.42   $     79.42
 10/7/2018 Brandon Cruz                 $10.00   57.57   $    8.60         $    87.83   $     87.83
10/14/2018 Brandon Cruz                 $10.00   56.08   $    8.60         $    80.42   $     80.42
10/21/2018 Brandon Cruz                 $10.00   56.83   $    8.60         $    84.17   $     84.17
10/28/2018 Brandon Cruz                 $10.00   46.82   $    8.60         $    34.08   $     34.08
 11/4/2018 Brandon Cruz                 $10.00   55.03   $    8.60         $    75.17   $     75.17
11/11/2018 Brandon Cruz                 $10.00   55.75   $    8.60         $    78.75   $     78.75
11/18/2018 Brandon Cruz                 $10.00   53.20   $    8.60         $    66.00   $     66.00
11/25/2018 Brandon Cruz                 $10.00   46.72   $    8.60         $    33.58   $     33.58
 12/2/2018 Brandon Cruz                 $10.00   57.60   $    8.60         $    88.00   $     88.00
 12/9/2018 Brandon Cruz                 $10.00   57.50   $    8.60         $    87.50   $     87.50
12/16/2018 Brandon Cruz                 $10.00   57.78   $    8.60         $    88.92   $     88.92
12/23/2018 Brandon Cruz                 $10.00   63.98   $    8.60         $   119.92   $    119.92
12/30/2018 Brandon Cruz                 $10.00   44.30   $    8.60         $    21.50   $     21.50
  1/6/2019 Brandon Cruz                 $10.00   43.65   $    8.85         $    18.25   $     18.25
 1/13/2019 Brandon Cruz                 $10.00   50.27   $    8.85         $    51.33   $     51.33
 1/27/2019 Brandon Cruz                 $10.00   54.73   $    8.85         $    73.67   $     73.67
 2/10/2019 Brandon Cruz                 $10.00   54.82   $    8.85         $    74.08   $     74.08
 2/17/2019 Brandon Cruz                 $10.00   44.98   $    8.85         $    24.92   $     24.92
 2/24/2019 Brandon Cruz                 $10.00   44.82   $    8.85         $    24.08   $     24.08
  3/3/2019 Brandon Cruz                 $10.00   45.20   $    8.85         $    26.00   $     26.00
 3/10/2019 Brandon Cruz                 $10.00   55.67   $    8.85         $    78.33   $     78.33
 3/17/2019 Brandon Cruz                 $10.00   47.53   $    8.85         $    37.67   $     37.67
 3/24/2019 Brandon Cruz                 $10.00   54.08   $    8.85         $    70.42   $     70.42
 3/31/2019 Brandon Cruz                 $10.00   65.25   $    8.85         $   126.25   $    126.25
  4/7/2019 Brandon Cruz                 $10.00   59.82   $    8.85         $    99.08   $     99.08
 4/14/2019 Brandon Cruz                 $10.00   53.33   $    8.85         $    66.67   $     66.67
 4/21/2019 Brandon Cruz                 $10.00   58.75   $    8.85         $    93.75   $     93.75
 4/28/2019 Brandon Cruz                 $10.00   54.85   $    8.85         $    74.25   $     74.25
  5/5/2019 Brandon Cruz                 $10.00   66.40   $    8.85         $   132.00   $    132.00
 5/12/2019 Brandon Cruz                 $10.00   66.90   $    8.85         $   134.50   $    134.50
 5/19/2019 Brandon Cruz                 $10.00   57.55   $    8.85         $    87.75   $     87.75
 5/26/2019 Brandon Cruz                 $10.00   66.47   $    8.85         $   132.33   $    132.33
  6/2/2019 Brandon Cruz                 $10.00   53.57   $    8.85         $    67.83   $     67.83
  6/9/2019 Brandon Cruz                 $10.00   59.65   $    8.85         $    98.25   $     98.25
 6/16/2019 Brandon Cruz                 $10.00   56.03   $    8.85         $    80.17   $     80.17
 6/23/2019 Brandon Cruz                 $10.00   46.55   $    8.85         $    32.75   $     32.75
 6/30/2019 Brandon Cruz                 $10.00   51.88   $   10.00         $    59.42   $     59.42
  7/7/2019 Brandon Cruz                 $10.00   44.50   $   10.00         $    22.50   $     22.50
 7/14/2019 Brandon Cruz                 $10.00   51.70   $   10.00         $    58.50   $     58.50
 7/21/2019 Brandon Cruz                 $10.00   61.17   $   10.00         $   105.83   $    105.83
 7/28/2019 Brandon Cruz                 $10.00   57.28   $   10.00         $    86.42   $     86.42
  8/4/2019 Brandon Cruz                 $10.00   51.07   $   10.00         $    55.33   $     55.33



                                           74
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 76 of 683 PageID: 923
                                           Exhibit 2
                                   New Jersey Computations


  Week                                                    State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
 Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
  Date                                                    Wage  Rate Due     Due       Wages Due

 8/11/2019 Brandon Cruz                   $10.00   55.85   $   10.00         $    79.25   $     79.25
 8/18/2019 Brandon Cruz                   $10.00   57.55   $   10.00         $    87.75   $     87.75
 8/25/2019 Brandon Cruz                   $10.00   55.92   $   10.00         $    79.58   $     79.58
  9/1/2019 Brandon Cruz                   $10.00   56.70   $   10.00         $    83.50   $     83.50
  9/8/2019 Brandon Cruz                   $10.00   47.87   $   10.00         $    39.33   $     39.33
 9/15/2019 Brandon Cruz                   $10.00   60.18   $   10.00         $   100.92   $    100.92
 9/22/2019 Brandon Cruz                   $10.00   58.45   $   10.00         $    92.25   $     92.25
 9/29/2019 Brandon Cruz                   $10.00   59.33   $   10.00         $    96.67   $     96.67
 10/6/2019 Brandon Cruz                   $10.00   52.92   $   10.00         $    64.58   $     64.58
10/13/2019 Brandon Cruz                   $10.00   59.58   $   10.00         $    97.92   $     97.92
10/20/2019 Brandon Cruz                   $11.00   57.17   $   10.00         $    94.42   $     94.42
10/27/2019 Brandon Cruz                   $11.00   57.63   $   10.00         $    96.98   $     96.98
 11/3/2019 Brandon Cruz                   $11.00   54.18   $   10.00         $    78.01   $     78.01
11/10/2019 Brandon Cruz                   $11.00   54.72   $   10.00         $    80.94   $     80.94
11/17/2019 Brandon Cruz                   $11.00   58.77   $   10.00         $   103.22   $    103.22
11/24/2019 Brandon Cruz                   $11.00   50.73   $   10.00         $    59.03   $     59.03
 12/1/2019 Brandon Cruz                   $11.00   48.93   $   10.00         $    49.13   $     49.13
 12/8/2019 Brandon Cruz                   $11.00   59.22   $   10.00         $   105.69   $    105.69
12/15/2019 Brandon Cruz                   $10.00   57.27   $   10.00         $    86.33   $     86.33
12/22/2019 Brandon Cruz                   $10.00   47.53   $   10.00         $    37.67   $     37.67
 5/21/2017 Brandon Decena                 $10.00   59.17   $    8.44         $    95.83   $     95.83
 5/28/2017 Brandon Decena                 $10.00   52.67   $    8.44         $    63.33   $     63.33
  6/4/2017 Brandon Decena                 $10.00   49.10   $    8.44         $    45.50   $     45.50
 6/18/2017 Brandon Decena                 $10.00   40.45   $    8.44         $     2.25   $      2.25
 6/25/2017 Brandon Decena                 $10.00   48.23   $    8.44         $    41.17   $     41.17
  7/2/2017 Brandon Decena                 $10.00   41.97   $    8.44         $     9.83   $      9.83
 7/30/2017 Brandon Decena                 $10.00   49.63   $    8.44         $    48.17   $     48.17
  8/6/2017 Brandon Decena                 $10.00   45.78   $    8.44         $    28.92   $     28.92
 8/27/2017 Brandon Decena                 $10.00   43.70   $    8.44         $    18.50   $     18.50
  4/1/2018 Brandon Decena                 $10.00   47.78   $    8.60         $    38.92   $     38.92
  4/8/2018 Brandon Decena                 $10.00   46.03   $    8.60         $    30.17   $     30.17
 4/22/2018 Brandon Decena                 $10.00   42.27   $    8.60         $    11.33   $     11.33
  6/3/2018 Brandon Decena                 $10.00   49.47   $    8.60         $    47.33   $     47.33
 6/17/2018 Brandon Decena                 $10.00   43.77   $    8.60         $    18.83   $     18.83
 6/24/2018 Brandon Decena                 $10.00   43.73   $    8.60         $    18.67   $     18.67
 7/29/2018 Brandon Decena                 $10.00   49.58   $    8.60         $    47.92   $     47.92
  8/5/2018 Brandon Decena                 $10.00   56.50   $    8.60         $    82.50   $     82.50
 8/12/2018 Brandon Decena                 $10.00   42.35   $    8.60         $    11.75   $     11.75
 8/19/2018 Brandon Decena                 $10.00   56.97   $    8.60         $    84.83   $     84.83
  9/2/2018 Brandon Decena                 $10.00   50.55   $    8.60         $    52.75   $     52.75
 9/30/2018 Brandon Decena                 $10.00   41.85   $    8.60         $     9.25   $      9.25
10/21/2018 Brandon Decena                 $10.00   50.42   $    8.60         $    52.08   $     52.08
12/30/2018 Brandon Decena                 $10.00   46.92   $    8.60         $    34.58   $     34.58
 3/17/2019 Brandon Decena                 $10.00   59.27   $    8.85         $    96.33   $     96.33
 5/26/2019 Brandon Decena                 $10.00   46.38   $    8.85         $    31.92   $     31.92
  6/2/2019 Brandon Decena                 $10.00   57.65   $    8.85         $    88.25   $     88.25
  6/9/2019 Brandon Decena                 $10.00   49.52   $    8.85         $    47.58   $     47.58
 6/30/2019 Brandon Decena                 $10.00   60.73   $   10.00         $   103.67   $    103.67
 7/14/2019 Brandon Decena                 $10.00   58.30   $   10.00         $    91.50   $     91.50
 7/21/2019 Brandon Decena                 $10.00   59.15   $   10.00         $    95.75   $     95.75



                                             75
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 77 of 683 PageID: 924
                                              Exhibit 2
                                      New Jersey Computations


  Week                                                       State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
 Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
  Date                                                       Wage  Rate Due     Due       Wages Due

 7/28/2019 Brandon Decena                    $10.00   65.12   $   10.00         $   125.58   $    125.58
  8/4/2019 Brandon Decena                    $10.00   56.05   $   10.00         $    80.25   $     80.25
 8/11/2019 Brandon Decena                    $10.00   52.42   $   10.00         $    62.08   $     62.08
 8/18/2019 Brandon Decena                    $10.00   46.30   $   10.00         $    31.50   $     31.50
12/29/2019 Brandon Decena                    $10.00   40.62   $   10.00         $     3.08   $      3.08
  2/5/2017 Braulio Hernandez                 $14.50   58.17   $    8.44         $   131.71   $    131.71
 2/12/2017 Braulio Hernandez                 $14.50   46.62   $    8.44         $    47.97   $     47.97
 2/19/2017 Braulio Hernandez                 $14.50   58.10   $    8.44         $   131.23   $    131.23
 2/26/2017 Braulio Hernandez                 $14.50   58.03   $    8.44         $   130.74   $    130.74
  3/5/2017 Braulio Hernandez                 $14.50   58.07   $    8.44         $   130.98   $    130.98
 3/12/2017 Braulio Hernandez                 $14.50   58.10   $    8.44         $   131.23   $    131.23
 3/19/2017 Braulio Hernandez                 $14.50   46.58   $    8.44         $    47.73   $     47.73
 3/26/2017 Braulio Hernandez                 $14.50   58.05   $    8.44         $   130.86   $    130.86
  4/2/2017 Braulio Hernandez                 $14.50   58.15   $    8.44         $   131.59   $    131.59
  4/9/2017 Braulio Hernandez                 $14.50   58.13   $    8.44         $   131.47   $    131.47
 4/16/2017 Braulio Hernandez                 $14.50   50.08   $    8.44         $    73.10   $     73.10
 4/23/2017 Braulio Hernandez                 $14.50   57.97   $    8.44         $   130.26   $    130.26
 4/30/2017 Braulio Hernandez                 $14.50   58.02   $    8.44         $   130.62   $    130.62
  5/7/2017 Braulio Hernandez                 $14.50   57.93   $    8.44         $   130.02   $    130.02
 5/14/2017 Braulio Hernandez                 $14.50   58.13   $    8.44         $   131.47   $    131.47
 5/21/2017 Braulio Hernandez                 $14.50   58.17   $    8.44         $   131.71   $    131.71
 5/28/2017 Braulio Hernandez                 $14.50   58.12   $    8.44         $   131.35   $    131.35
  6/4/2017 Braulio Hernandez                 $14.50   60.07   $    8.44         $   145.48   $    145.48
 6/11/2017 Braulio Hernandez                 $14.50   57.95   $    8.44         $   130.14   $    130.14
 6/18/2017 Braulio Hernandez                 $14.50   58.05   $    8.44         $   130.86   $    130.86
 6/25/2017 Braulio Hernandez                 $14.50   57.98   $    8.44         $   130.38   $    130.38
  7/2/2017 Braulio Hernandez                 $14.50   50.08   $    8.44         $    73.10   $     73.10
  7/9/2017 Braulio Hernandez                 $14.50   40.07   $    8.44         $     0.48   $      0.48
 7/16/2017 Braulio Hernandez                 $14.50   58.12   $    8.44         $   131.35   $    131.35
 7/23/2017 Braulio Hernandez                 $14.50   50.07   $    8.44         $    72.98   $     72.98
 7/30/2017 Braulio Hernandez                 $14.50   57.12   $    8.44         $   124.10   $    124.10
  8/6/2017 Braulio Hernandez                 $14.50   60.17   $    8.44         $   146.21   $    146.21
 8/13/2017 Braulio Hernandez                 $14.50   49.15   $    8.44         $    66.34   $     66.34
 8/20/2017 Braulio Hernandez                 $14.50   50.07   $    8.44         $    72.98   $     72.98
 8/27/2017 Braulio Hernandez                 $14.50   49.15   $    8.44         $    66.34   $     66.34
  9/3/2017 Braulio Hernandez                 $14.50   57.92   $    8.44         $   129.90   $    129.90
 9/10/2017 Braulio Hernandez                 $14.50   48.05   $    8.44         $    58.36   $     58.36
 9/17/2017 Braulio Hernandez                 $14.50   58.08   $    8.44         $   131.10   $    131.10
 9/24/2017 Braulio Hernandez                 $14.50   57.10   $    8.44         $   123.98   $    123.98
 10/1/2017 Braulio Hernandez                 $14.50   58.05   $    8.44         $   130.86   $    130.86
 10/8/2017 Braulio Hernandez                 $14.50   58.23   $    8.44         $   132.19   $    132.19
10/15/2017 Braulio Hernandez                 $14.50   58.07   $    8.44         $   130.98   $    130.98
10/22/2017 Braulio Hernandez                 $14.50   57.45   $    8.44         $   126.51   $    126.51
10/29/2017 Braulio Hernandez                 $14.50   55.20   $    8.44         $   110.20   $    110.20
 11/5/2017 Braulio Hernandez                 $14.50   48.12   $    8.44         $    58.85   $     58.85
11/12/2017 Braulio Hernandez                 $14.50   54.38   $    8.44         $   104.28   $    104.28
11/19/2017 Braulio Hernandez                 $14.50   58.03   $    8.44         $   130.74   $    130.74
11/26/2017 Braulio Hernandez                 $14.50   58.17   $    8.44         $   131.71   $    131.71
 12/3/2017 Braulio Hernandez                 $14.50   58.20   $    8.44         $   131.95   $    131.95
12/10/2017 Braulio Hernandez                 $14.50   58.12   $    8.44         $   131.35   $    131.35



                                                76
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 78 of 683 PageID: 925
                                              Exhibit 2
                                      New Jersey Computations


  Week                                                       State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
 Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
  Date                                                       Wage  Rate Due     Due       Wages Due

12/17/2017 Braulio Hernandez                 $14.50   58.15   $   8.44          $   131.59   $    131.59
12/24/2017 Braulio Hernandez                 $14.50   58.03   $   8.44          $   130.74   $    130.74
12/31/2017 Braulio Hernandez                 $14.50   48.08   $   8.44          $    58.60   $     58.60
 1/14/2018 Braulio Hernandez                 $14.50   57.85   $   8.60          $   129.41   $    129.41
 1/21/2018 Braulio Hernandez                 $14.50   57.98   $   8.60          $   130.38   $    130.38
 1/28/2018 Braulio Hernandez                 $14.50   57.95   $   8.60          $   130.14   $    130.14
  2/4/2018 Braulio Hernandez                 $14.50   57.87   $   8.60          $   129.53   $    129.53
 2/11/2018 Braulio Hernandez                 $14.50   58.37   $   8.60          $   133.16   $    133.16
 2/18/2018 Braulio Hernandez                 $14.50   57.95   $   8.60          $   130.14   $    130.14
 2/25/2018 Braulio Hernandez                 $14.50   58.15   $   8.60          $   131.59   $    131.59
  3/4/2018 Braulio Hernandez                 $14.50   58.35   $   8.60          $   133.04   $    133.04
 3/25/2018 Braulio Hernandez                 $14.50   50.17   $   8.60          $    73.71   $     73.71
  4/1/2018 Braulio Hernandez                 $14.50   58.15   $   8.60          $   131.59   $    131.59
  4/8/2018 Braulio Hernandez                 $14.50   58.28   $   8.60          $   132.55   $    132.55
 4/15/2018 Braulio Hernandez                 $14.50   49.28   $   8.60          $    67.30   $     67.30
 4/22/2018 Braulio Hernandez                 $14.50   58.20   $   8.60          $   131.95   $    131.95
 4/29/2018 Braulio Hernandez                 $14.50   58.07   $   8.60          $   130.98   $    130.98
  5/6/2018 Braulio Hernandez                 $14.50   58.13   $   8.60          $   131.47   $    131.47
 5/13/2018 Braulio Hernandez                 $14.50   58.05   $   8.60          $   130.86   $    130.86
 5/20/2018 Braulio Hernandez                 $14.50   58.12   $   8.60          $   131.35   $    131.35
 5/27/2018 Braulio Hernandez                 $14.50   58.10   $   8.60          $   131.23   $    131.23
  6/3/2018 Braulio Hernandez                 $14.50   48.10   $   8.60          $    58.73   $     58.73
 6/10/2018 Braulio Hernandez                 $14.50   58.12   $   8.60          $   131.35   $    131.35
 6/17/2018 Braulio Hernandez                 $14.50   58.07   $   8.60          $   130.98   $    130.98
 6/24/2018 Braulio Hernandez                 $14.50   58.15   $   8.60          $   131.59   $    131.59
  7/1/2018 Braulio Hernandez                 $14.50   58.03   $   8.60          $   130.74   $    130.74
  7/8/2018 Braulio Hernandez                 $14.50   58.03   $   8.60          $   130.74   $    130.74
 7/15/2018 Braulio Hernandez                 $14.50   57.88   $   8.60          $   129.65   $    129.65
 7/22/2018 Braulio Hernandez                 $14.50   58.07   $   8.60          $   130.98   $    130.98
 7/29/2018 Braulio Hernandez                 $14.50   58.08   $   8.60          $   131.10   $    131.10
  8/5/2018 Braulio Hernandez                 $14.50   57.98   $   8.60          $   130.38   $    130.38
 8/12/2018 Braulio Hernandez                 $14.50   49.92   $   8.60          $    71.90   $     71.90
 8/19/2018 Braulio Hernandez                 $14.50   48.07   $   8.60          $    58.48   $     58.48
 8/26/2018 Braulio Hernandez                 $14.50   58.05   $   8.60          $   130.86   $    130.86
  9/2/2018 Braulio Hernandez                 $14.50   58.10   $   8.60          $   131.23   $    131.23
  9/9/2018 Braulio Hernandez                 $14.50   48.10   $   8.60          $    58.73   $     58.73
 9/16/2018 Braulio Hernandez                 $14.50   58.18   $   8.60          $   131.83   $    131.83
 9/23/2018 Braulio Hernandez                 $14.50   58.13   $   8.60          $   131.47   $    131.47
 9/30/2018 Braulio Hernandez                 $14.50   58.12   $   8.60          $   131.35   $    131.35
 10/7/2018 Braulio Hernandez                 $14.50   58.12   $   8.60          $   131.35   $    131.35
10/14/2018 Braulio Hernandez                 $14.50   57.50   $   8.60          $   126.88   $    126.88
10/21/2018 Braulio Hernandez                 $14.50   58.07   $   8.60          $   130.98   $    130.98
10/28/2018 Braulio Hernandez                 $14.50   57.38   $   8.60          $   126.03   $    126.03
 11/4/2018 Braulio Hernandez                 $14.50   49.75   $   8.60          $    70.69   $     70.69
11/11/2018 Braulio Hernandez                 $14.50   49.80   $   8.60          $    71.05   $     71.05
11/18/2018 Braulio Hernandez                 $14.50   50.08   $   8.60          $    73.10   $     73.10
 12/2/2018 Braulio Hernandez                 $14.50   48.40   $   8.60          $    60.90   $     60.90
 12/9/2018 Braulio Hernandez                 $14.50   57.82   $   8.60          $   129.17   $    129.17
12/16/2018 Braulio Hernandez                 $14.50   58.05   $   8.60          $   130.86   $    130.86
12/23/2018 Braulio Hernandez                 $14.50   58.68   $   8.60          $   135.45   $    135.45



                                                77
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 79 of 683 PageID: 926
                                              Exhibit 2
                                      New Jersey Computations


  Week                                                       State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
 Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
  Date                                                       Wage  Rate Due     Due       Wages Due

12/30/2018 Braulio Hernandez                 $14.50   48.67   $    8.60         $    62.83   $     62.83
  1/6/2019 Braulio Hernandez                 $14.50   47.62   $    8.85         $    55.22   $     55.22
 1/13/2019 Braulio Hernandez                 $14.50   58.80   $    8.85         $   136.30   $    136.30
 1/20/2019 Braulio Hernandez                 $14.50   57.88   $    8.85         $   129.65   $    129.65
 1/27/2019 Braulio Hernandez                 $14.50   58.02   $    8.85         $   130.62   $    130.62
  2/3/2019 Braulio Hernandez                 $14.50   58.73   $    8.85         $   135.82   $    135.82
 2/10/2019 Braulio Hernandez                 $14.50   58.82   $    8.85         $   136.42   $    136.42
 2/17/2019 Braulio Hernandez                 $14.50   59.17   $    8.85         $   138.96   $    138.96
 2/24/2019 Braulio Hernandez                 $14.50   59.82   $    8.85         $   143.67   $    143.67
  3/3/2019 Braulio Hernandez                 $14.50   58.82   $    8.85         $   136.42   $    136.42
 3/10/2019 Braulio Hernandez                 $14.50   59.18   $    8.85         $   139.08   $    139.08
 3/17/2019 Braulio Hernandez                 $14.50   59.20   $    8.85         $   139.20   $    139.20
 3/24/2019 Braulio Hernandez                 $14.50   58.82   $    8.85         $   136.42   $    136.42
 3/31/2019 Braulio Hernandez                 $14.50   50.62   $    8.85         $    76.97   $     76.97
  4/7/2019 Braulio Hernandez                 $14.50   58.82   $    8.85         $   136.42   $    136.42
 4/14/2019 Braulio Hernandez                 $14.50   59.32   $    8.85         $   140.05   $    140.05
 4/21/2019 Braulio Hernandez                 $14.50   59.03   $    8.85         $   137.99   $    137.99
 4/28/2019 Braulio Hernandez                 $14.50   58.98   $    8.85         $   137.63   $    137.63
  5/5/2019 Braulio Hernandez                 $14.50   58.65   $    8.85         $   135.21   $    135.21
 5/12/2019 Braulio Hernandez                 $14.50   58.72   $    8.85         $   135.70   $    135.70
 5/19/2019 Braulio Hernandez                 $14.50   58.70   $    8.85         $   135.58   $    135.58
 5/26/2019 Braulio Hernandez                 $14.50   58.73   $    8.85         $   135.82   $    135.82
  6/9/2019 Braulio Hernandez                 $14.50   58.88   $    8.85         $   136.90   $    136.90
 6/16/2019 Braulio Hernandez                 $14.50   58.72   $    8.85         $   135.70   $    135.70
 6/23/2019 Braulio Hernandez                 $14.50   58.98   $    8.85         $   137.63   $    137.63
 6/30/2019 Braulio Hernandez                 $14.50   58.93   $   10.00         $   137.27   $    137.27
  7/7/2019 Braulio Hernandez                 $15.50   48.85   $   10.00         $    68.59   $     68.59
 7/14/2019 Braulio Hernandez                 $15.50   58.98   $   10.00         $   147.12   $    147.12
 7/21/2019 Braulio Hernandez                 $15.50   59.20   $   10.00         $   148.80   $    148.80
 7/28/2019 Braulio Hernandez                 $15.50   60.27   $   10.00         $   157.07   $    157.07
  8/4/2019 Braulio Hernandez                 $15.50   57.07   $   10.00         $   132.27   $    132.27
 8/11/2019 Braulio Hernandez                 $15.50   49.65   $   10.00         $    74.79   $     74.79
 8/18/2019 Braulio Hernandez                 $15.50   59.65   $   10.00         $   152.29   $    152.29
 8/25/2019 Braulio Hernandez                 $15.50   51.02   $   10.00         $    85.38   $     85.38
  9/1/2019 Braulio Hernandez                 $15.50   60.85   $   10.00         $   161.59   $    161.59
  9/8/2019 Braulio Hernandez                 $15.50   48.63   $   10.00         $    66.91   $     66.91
 9/15/2019 Braulio Hernandez                 $15.50   58.75   $   10.00         $   145.31   $    145.31
 9/22/2019 Braulio Hernandez                 $15.50   58.55   $   10.00         $   143.76   $    143.76
 9/29/2019 Braulio Hernandez                 $15.50   50.57   $   10.00         $    81.89   $     81.89
 10/6/2019 Braulio Hernandez                 $15.50   59.00   $   10.00         $   147.25   $    147.25
10/13/2019 Braulio Hernandez                 $15.50   59.45   $   10.00         $   150.74   $    150.74
10/20/2019 Braulio Hernandez                 $15.50   59.27   $   10.00         $   149.32   $    149.32
10/27/2019 Braulio Hernandez                 $15.50   50.98   $   10.00         $    85.12   $     85.12
 11/3/2019 Braulio Hernandez                 $15.50   59.22   $   10.00         $   148.93   $    148.93
11/10/2019 Braulio Hernandez                 $15.50   59.40   $   10.00         $   150.35   $    150.35
11/17/2019 Braulio Hernandez                 $15.50   58.87   $   10.00         $   146.22   $    146.22
11/24/2019 Braulio Hernandez                 $15.50   59.37   $   10.00         $   150.09   $    150.09
 12/8/2019 Braulio Hernandez                 $15.50   59.42   $   10.00         $   150.48   $    150.48
12/15/2019 Braulio Hernandez                 $15.50   59.52   $   10.00         $   151.25   $    151.25
12/22/2019 Braulio Hernandez                 $15.50   59.15   $   10.00         $   148.41   $    148.41



                                                78
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 80 of 683 PageID: 927
                                               Exhibit 2
                                       New Jersey Computations


  Week                                                        State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
 Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
  Date                                                        Wage  Rate Due     Due       Wages Due

12/29/2019 Braulio Hernandez                  $15.50   49.07   $   10.00         $    70.27   $     70.27
  1/5/2020 Braulio Hernandez                  $15.50   49.57   $   11.00         $    74.14   $     74.14
 1/12/2020 Braulio Hernandez                  $15.50   59.00   $   11.00         $   147.25   $    147.25
 1/19/2020 Braulio Hernandez                  $15.50   59.93   $   11.00         $   154.48   $    154.48
 1/26/2020 Braulio Hernandez                  $15.50   59.17   $   11.00         $   148.54   $    148.54
 6/17/2018 Brayan Alvarado                    $11.00   40.43   $    8.60         $     2.38   $      2.38
 6/24/2018 Brayan Alvarado                    $11.00   59.88   $    8.60         $   109.36   $    109.36
  7/1/2018 Brayan Alvarado                    $11.00   68.33   $    8.60         $   155.83   $    155.83
  7/8/2018 Brayan Alvarado                    $11.00   40.33   $    8.60         $     1.83   $      1.83
 7/15/2018 Brayan Alvarado                    $11.00   63.72   $    8.60         $   130.44   $    130.44
 7/22/2018 Brayan Alvarado                    $11.00   52.38   $    8.60         $    68.11   $     68.11
 7/29/2018 Brayan Alvarado                    $11.00   47.63   $    8.60         $    41.98   $     41.98
  8/5/2018 Brayan Alvarado                    $11.00   53.98   $    8.60         $    76.91   $     76.91
 8/12/2018 Brayan Alvarado                    $11.00   62.28   $    8.60         $   122.56   $    122.56
 8/19/2018 Brayan Alvarado                    $11.00   56.47   $    8.60         $    90.57   $     90.57
 8/26/2018 Brayan Alvarado                    $11.00   65.98   $    8.60         $   142.91   $    142.91
  9/2/2018 Brayan Alvarado                    $11.00   55.02   $    8.60         $    82.59   $     82.59
  9/9/2018 Brayan Alvarado                    $11.00   41.88   $    8.60         $    10.36   $     10.36
 9/23/2018 Brayan Alvarado                    $11.00   58.28   $    8.60         $   100.56   $    100.56
12/15/2019 Brayan Alvarado                    $12.00   55.98   $   10.00         $    95.90   $     95.90
12/22/2019 Brayan Alvarado                    $12.00   48.22   $   10.00         $    49.30   $     49.30
12/29/2019 Brayan Alvarado                    $12.00   48.25   $   10.00         $    49.50   $     49.50
 1/12/2020 Brayan Alvarado                    $12.00   57.75   $   11.00         $   106.50   $    106.50
 1/19/2020 Brayan Alvarado                    $12.00   58.35   $   11.00         $   110.10   $    110.10
 1/26/2020 Brayan Alvarado                    $12.00   49.52   $   11.00         $    57.10   $     57.10
 2/19/2017 Brayan Mayorga                      $9.00   57.73   $    8.44         $    79.80   $     79.80
 2/26/2017 Brayan Mayorga                      $9.00   58.53   $    8.44         $    83.40   $     83.40
  3/5/2017 Brayan Mayorga                      $9.00   49.87   $    8.44         $    44.40   $     44.40
 3/12/2017 Brayan Mayorga                      $9.00   61.08   $    8.44         $    94.88   $     94.88
 3/19/2017 Brayan Mayorga                      $9.00   47.13   $    8.44         $    32.10   $     32.10
 2/12/2017 Brian Badia Merejo                  $9.00   43.38   $    8.44         $    15.23   $     15.23
 2/19/2017 Brian Badia Merejo                  $9.00   53.27   $    8.44         $    59.70   $     59.70
 2/26/2017 Brian Badia Merejo                  $9.00   41.35   $    8.44         $     6.08   $      6.08
  3/5/2017 Brian Badia Merejo                  $9.00   41.37   $    8.44         $     6.15   $      6.15
 3/12/2017 Brian Badia Merejo                  $9.00   43.48   $    8.44         $    15.68   $     15.68
  4/2/2017 Brian Badia Merejo                  $9.00   54.95   $    8.44         $    67.28   $     67.28
  4/9/2017 Brian Badia Merejo                  $9.00   49.03   $    8.44         $    40.65   $     40.65
 4/23/2017 Brian Badia Merejo                  $9.00   56.75   $    8.44         $    75.38   $     75.38
 4/30/2017 Brian Badia Merejo                  $9.00   49.82   $    8.44         $    44.18   $     44.18
  5/7/2017 Brian Badia Merejo                  $9.00   43.75   $    8.44         $    16.88   $     16.88
 5/14/2017 Brian Badia Merejo                  $9.00   52.73   $    8.44         $    57.30   $     57.30
 5/21/2017 Brian Badia Merejo                  $9.00   44.48   $    8.44         $    20.18   $     20.18
 5/28/2017 Brian Badia Merejo                  $9.00   40.83   $    8.44         $     3.75   $      3.75
 6/11/2017 Brian Badia Merejo                  $9.00   49.18   $    8.44         $    41.33   $     41.33
  7/2/2017 Brian Badia Merejo                  $9.00   57.50   $    8.44         $    78.75   $     78.75
 7/23/2017 Brian Badia Merejo                  $9.00   57.70   $    8.44         $    79.65   $     79.65
 7/30/2017 Brian Badia Merejo                  $9.00   49.33   $    8.44         $    42.00   $     42.00
  8/6/2017 Brian Badia Merejo                  $9.00   56.73   $    8.44         $    75.30   $     75.30
 8/20/2017 Brian Badia Merejo                  $9.00   60.77   $    8.44         $    93.45   $     93.45
 8/27/2017 Brian Badia Merejo                  $9.00   58.65   $    8.44         $    83.93   $     83.93



                                                 79
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 81 of 683 PageID: 928
                                               Exhibit 2
                                       New Jersey Computations


  Week                                                        State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
 Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
  Date                                                        Wage  Rate Due     Due       Wages Due

  9/3/2017 Brian Badia Merejo                  $9.00   50.20   $   8.44          $    45.90   $     45.90
 9/10/2017 Brian Badia Merejo                  $9.00   48.32   $   8.44          $    37.43   $     37.43
 9/17/2017 Brian Badia Merejo                  $9.00   50.65   $   8.44          $    47.93   $     47.93
 9/24/2017 Brian Badia Merejo                  $9.00   58.65   $   8.44          $    83.93   $     83.93
 10/1/2017 Brian Badia Merejo                  $9.00   47.68   $   8.44          $    34.58   $     34.58
 10/8/2017 Brian Badia Merejo                  $9.00   54.30   $   8.44          $    64.35   $     64.35
10/15/2017 Brian Badia Merejo                  $9.00   44.87   $   8.44          $    21.90   $     21.90
10/22/2017 Brian Badia Merejo                  $9.00   57.20   $   8.44          $    77.40   $     77.40
11/12/2017 Brian Badia Merejo                  $9.00   55.22   $   8.44          $    68.48   $     68.48
11/19/2017 Brian Badia Merejo                  $9.00   53.22   $   8.44          $    59.48   $     59.48
 12/3/2017 Brian Badia Merejo                  $9.00   56.57   $   8.44          $    74.55   $     74.55
12/10/2017 Brian Badia Merejo                  $9.00   47.02   $   8.44          $    31.58   $     31.58
12/31/2017 Brian Badia Merejo                  $9.00   42.73   $   8.44          $    12.30   $     12.30
  1/7/2018 Brian Badia Merejo                  $9.00   42.68   $   8.60          $    12.08   $     12.08
 1/14/2018 Brian Badia Merejo                  $9.00   55.85   $   8.60          $    71.33   $     71.33
 1/21/2018 Brian Badia Merejo                  $9.00   41.27   $   8.60          $     5.70   $      5.70
  2/4/2018 Brian Badia Merejo                  $9.00   52.43   $   8.60          $    55.95   $     55.95
 2/11/2018 Brian Badia Merejo                  $9.00   43.68   $   8.60          $    16.58   $     16.58
 2/18/2018 Brian Badia Merejo                  $9.00   48.65   $   8.60          $    38.93   $     38.93
 2/25/2018 Brian Badia Merejo                  $9.00   45.93   $   8.60          $    26.70   $     26.70
  3/4/2018 Brian Badia Merejo                  $9.00   50.05   $   8.60          $    45.23   $     45.23
  7/9/2017 Brian Vasquez                       $9.00   52.38   $   8.44          $    55.73   $     55.73
 7/16/2017 Brian Vasquez                       $9.00   59.35   $   8.44          $    87.08   $     87.08
  2/5/2017 Brinaldy Genao                     $10.00   51.82   $   8.44          $    59.08   $     59.08
 2/19/2017 Brinaldy Genao                     $10.00   49.22   $   8.44          $    46.08   $     46.08
 2/26/2017 Brinaldy Genao                     $10.00   42.28   $   8.44          $    11.42   $     11.42
  3/5/2017 Brinaldy Genao                     $10.00   56.90   $   8.44          $    84.50   $     84.50
 3/12/2017 Brinaldy Genao                     $10.50   51.37   $   8.44          $    59.68   $     59.68
 3/26/2017 Brinaldy Genao                     $10.50   41.43   $   8.44          $     7.53   $      7.53
  4/2/2017 Brinaldy Genao                     $10.50   52.73   $   8.44          $    66.85   $     66.85
  4/9/2017 Brinaldy Genao                     $10.50   53.77   $   8.44          $    72.28   $     72.28
 4/23/2017 Brinaldy Genao                     $10.50   51.87   $   8.44          $    62.30   $     62.30
 4/30/2017 Brinaldy Genao                     $10.50   51.93   $   8.44          $    62.65   $     62.65
  5/7/2017 Brinaldy Genao                     $10.50   47.27   $   8.44          $    38.15   $     38.15
 5/14/2017 Brinaldy Genao                     $10.50   51.10   $   8.44          $    58.28   $     58.28
 5/21/2017 Brinaldy Genao                     $10.50   50.88   $   8.44          $    57.14   $     57.14
 5/28/2017 Brinaldy Genao                     $10.50   51.07   $   8.44          $    58.10   $     58.10
  6/4/2017 Brinaldy Genao                     $10.50   51.00   $   8.44          $    57.75   $     57.75
 6/11/2017 Brinaldy Genao                     $10.50   54.52   $   8.44          $    76.21   $     76.21
 6/18/2017 Brinaldy Genao                     $10.50   50.10   $   8.44          $    53.03   $     53.03
 6/25/2017 Brinaldy Genao                     $10.50   52.80   $   8.44          $    67.20   $     67.20
  7/2/2017 Brinaldy Genao                     $10.50   45.47   $   8.44          $    28.70   $     28.70
  7/9/2017 Brinaldy Genao                     $10.50   41.12   $   8.44          $     5.86   $      5.86
 7/16/2017 Brinaldy Genao                     $10.50   50.37   $   8.44          $    54.43   $     54.43
 7/23/2017 Brinaldy Genao                     $10.50   51.88   $   8.44          $    62.39   $     62.39
  8/6/2017 Brinaldy Genao                     $10.50   47.95   $   8.44          $    41.74   $     41.74
 8/13/2017 Brinaldy Genao                     $10.50   49.10   $   8.44          $    47.78   $     47.78
  4/1/2018 Brinaldy Genao                     $11.50   70.27   $   8.60          $   174.03   $    174.03
  4/8/2018 Brinaldy Genao                     $11.50   69.82   $   8.60          $   171.45   $    171.45
 4/15/2018 Brinaldy Genao                     $11.50   70.23   $   8.60          $   173.84   $    173.84



                                                 80
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 82 of 683 PageID: 929
                                           Exhibit 2
                                   New Jersey Computations


  Week                                                    State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
 Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
  Date                                                    Wage  Rate Due     Due       Wages Due

 4/22/2018 Brinaldy Genao                 $11.50   69.53   $   8.60          $   169.82   $    169.82
 4/29/2018 Brinaldy Genao                 $11.50   70.63   $   8.60          $   176.14   $    176.14
  5/6/2018 Brinaldy Genao                 $11.50   71.93   $   8.60          $   183.62   $    183.62
 5/13/2018 Brinaldy Genao                 $11.50   58.72   $   8.60          $   107.62   $    107.62
 5/20/2018 Brinaldy Genao                 $11.50   72.48   $   8.60          $   186.78   $    186.78
 5/27/2018 Brinaldy Genao                 $11.50   73.30   $   8.60          $   191.48   $    191.48
  6/3/2018 Brinaldy Genao                 $11.50   72.02   $   8.60          $   184.10   $    184.10
 6/10/2018 Brinaldy Genao                 $11.50   70.50   $   8.60          $   175.38   $    175.38
 6/17/2018 Brinaldy Genao                 $11.50   60.70   $   8.60          $   119.03   $    119.03
 6/24/2018 Brinaldy Genao                 $11.50   70.28   $   8.60          $   174.13   $    174.13
  7/1/2018 Brinaldy Genao                 $11.50   73.00   $   8.60          $   189.75   $    189.75
  7/8/2018 Brinaldy Genao                 $11.50   46.95   $   8.60          $    39.96   $     39.96
 7/15/2018 Brinaldy Genao                 $11.50   68.38   $   8.60          $   163.20   $    163.20
 7/22/2018 Brinaldy Genao                 $11.50   73.23   $   8.60          $   191.09   $    191.09
 7/29/2018 Brinaldy Genao                 $11.50   74.02   $   8.60          $   195.60   $    195.60
  8/5/2018 Brinaldy Genao                 $11.50   60.78   $   8.60          $   119.50   $    119.50
 8/12/2018 Brinaldy Genao                 $11.50   46.43   $   8.60          $    36.99   $     36.99
 8/19/2018 Brinaldy Genao                 $11.50   57.78   $   8.60          $   102.25   $    102.25
 8/26/2018 Brinaldy Genao                 $11.50   69.22   $   8.60          $   168.00   $    168.00
  9/2/2018 Brinaldy Genao                 $11.50   56.17   $   8.60          $    92.96   $     92.96
  9/9/2018 Brinaldy Genao                 $11.50   63.70   $   8.60          $   136.28   $    136.28
 9/16/2018 Brinaldy Genao                 $11.50   68.08   $   8.60          $   161.48   $    161.48
 9/23/2018 Brinaldy Genao                 $11.50   72.50   $   8.60          $   186.88   $    186.88
 9/30/2018 Brinaldy Genao                 $11.50   70.53   $   8.60          $   175.57   $    175.57
 10/7/2018 Brinaldy Genao                 $11.50   72.58   $   8.60          $   187.35   $    187.35
10/14/2018 Brinaldy Genao                 $11.50   68.75   $   8.60          $   165.31   $    165.31
10/21/2018 Brinaldy Genao                 $11.50   59.40   $   8.60          $   111.55   $    111.55
10/28/2018 Brinaldy Genao                 $11.50   73.82   $   8.60          $   194.45   $    194.45
 11/4/2018 Brinaldy Genao                 $11.50   73.18   $   8.60          $   190.80   $    190.80
11/11/2018 Brinaldy Genao                 $11.50   63.57   $   8.60          $   135.51   $    135.51
11/18/2018 Brinaldy Genao                 $11.50   75.77   $   8.60          $   205.66   $    205.66
11/25/2018 Brinaldy Genao                 $11.50   63.87   $   8.60          $   137.23   $    137.23
 12/2/2018 Brinaldy Genao                 $11.50   74.12   $   8.60          $   196.17   $    196.17
 12/9/2018 Brinaldy Genao                 $11.50   74.28   $   8.60          $   197.13   $    197.13
12/16/2018 Brinaldy Genao                 $11.50   62.30   $   8.60          $   128.23   $    128.23
12/23/2018 Brinaldy Genao                 $11.50   71.40   $   8.60          $   180.55   $    180.55
12/30/2018 Brinaldy Genao                 $11.50   56.18   $   8.60          $    93.05   $     93.05
  1/6/2019 Brinaldy Genao                 $11.50   59.83   $   8.85          $   114.04   $    114.04
 1/13/2019 Brinaldy Genao                 $11.50   75.02   $   8.85          $   201.35   $    201.35
 1/20/2019 Brinaldy Genao                 $11.50   76.23   $   8.85          $   208.34   $    208.34
 1/27/2019 Brinaldy Genao                 $11.50   62.15   $   8.85          $   127.36   $    127.36
  2/3/2019 Brinaldy Genao                 $11.50   63.08   $   8.85          $   132.73   $    132.73
 2/10/2019 Brinaldy Genao                 $11.50   73.50   $   8.85          $   192.63   $    192.63
 2/17/2019 Brinaldy Genao                 $11.50   48.70   $   8.85          $    50.02   $     50.02
 2/24/2019 Brinaldy Genao                 $11.50   76.23   $   8.85          $   208.34   $    208.34
  3/3/2019 Brinaldy Genao                 $11.50   63.10   $   8.85          $   132.83   $    132.83
 3/10/2019 Brinaldy Genao                 $11.50   74.65   $   8.85          $   199.24   $    199.24
 3/17/2019 Brinaldy Genao                 $11.50   74.40   $   8.85          $   197.80   $    197.80
 3/24/2019 Brinaldy Genao                 $11.50   75.20   $   8.85          $   202.40   $    202.40
 3/31/2019 Brinaldy Genao                 $11.50   76.00   $   8.85          $   207.00   $    207.00



                                             81
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 83 of 683 PageID: 930
                                             Exhibit 2
                                     New Jersey Computations


  Week                                                      State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
 Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
  Date                                                      Wage  Rate Due     Due       Wages Due

  4/7/2019 Brinaldy Genao                   $11.50   44.65   $    8.85         $    26.74   $     26.74
 5/12/2019 Brinaldy Genao                   $11.50   50.55   $    8.85         $    60.66   $     60.66
 5/19/2019 Brinaldy Genao                   $11.50   61.20   $    8.85         $   121.90   $    121.90
 5/26/2019 Brinaldy Genao                   $11.50   58.92   $    8.85         $   108.77   $    108.77
  6/2/2019 Brinaldy Genao                   $11.50   49.73   $    8.85         $    55.97   $     55.97
  6/9/2019 Brinaldy Genao                   $11.50   60.93   $    8.85         $   120.37   $    120.37
 6/16/2019 Brinaldy Genao                   $11.50   58.42   $    8.85         $   105.90   $    105.90
 6/23/2019 Brinaldy Genao                   $11.50   60.53   $    8.85         $   118.07   $    118.07
 6/30/2019 Brinaldy Genao                   $11.50   62.00   $   10.00         $   126.50   $    126.50
  7/7/2019 Brinaldy Genao                   $11.50   51.13   $   10.00         $    64.02   $     64.02
 7/14/2019 Brinaldy Genao                   $11.50   58.95   $   10.00         $   108.96   $    108.96
 7/28/2019 Brinaldy Genao                   $11.50   62.37   $   10.00         $   128.61   $    128.61
  8/4/2019 Brinaldy Genao                   $11.50   58.03   $   10.00         $   103.69   $    103.69
 8/25/2019 Brinaldy Genao                   $11.50   48.97   $   10.00         $    51.56   $     51.56
10/13/2019 Brinaldy Genao                   $11.50   47.40   $   10.00         $    42.55   $     42.55
 11/3/2019 Brinaldy Genao                   $11.50   48.10   $   10.00         $    46.58   $     46.58
11/10/2019 Brinaldy Genao                   $11.50   49.38   $   10.00         $    53.95   $     53.95
11/24/2019 Brinaldy Genao                   $11.50   44.68   $   10.00         $    26.93   $     26.93
12/15/2019 Brinaldy Genao                   $11.50   64.48   $   10.00         $   140.78   $    140.78
12/22/2019 Brinaldy Genao                   $11.50   68.53   $   10.00         $   164.07   $    164.07
12/29/2019 Brinaldy Genao                   $11.50   47.47   $   10.00         $    42.93   $     42.93
  1/5/2020 Brinaldy Genao                   $11.50   54.88   $   11.00         $    85.58   $     85.58
 1/26/2020 Brinaldy Genao                   $11.50   64.30   $   11.00         $   139.73   $    139.73
 7/16/2017 Bryan Amarante Pierrot            $9.00   60.88   $    8.44         $    93.98   $     93.98
 7/23/2017 Bryan Amarante Pierrot            $9.00   56.82   $    8.44         $    75.68   $     75.68
 7/30/2017 Bryan Amarante Pierrot            $9.00   61.92   $    8.44         $    98.63   $     98.63
  8/6/2017 Bryan Amarante Pierrot            $9.00   59.20   $    8.44         $    86.40   $     86.40
 8/13/2017 Bryan Amarante Pierrot            $9.00   54.67   $    8.44         $    66.00   $     66.00
 8/20/2017 Bryan Amarante Pierrot            $9.00   59.28   $    8.44         $    86.78   $     86.78
 7/15/2018 Bryan Amarante Pierrot            $9.00   54.38   $    8.60         $    64.73   $     64.73
 7/22/2018 Bryan Amarante Pierrot            $9.00   56.38   $    8.60         $    73.73   $     73.73
 7/29/2018 Bryan Amarante Pierrot            $9.00   60.70   $    8.60         $    93.15   $     93.15
  8/5/2018 Bryan Amarante Pierrot            $9.00   69.35   $    8.60         $   132.08   $    132.08
 8/12/2018 Bryan Amarante Pierrot            $9.00   64.68   $    8.60         $   111.08   $    111.08
 8/19/2018 Bryan Amarante Pierrot            $9.00   46.03   $    8.60         $    27.15   $     27.15
 8/26/2018 Bryan Amarante Pierrot            $9.00   52.15   $    8.60         $    54.68   $     54.68
  9/2/2018 Bryan Amarante Pierrot            $9.00   54.35   $    8.60         $    64.58   $     64.58
  9/9/2018 Bryan Amarante Pierrot            $9.00   46.18   $    8.60         $    27.83   $     27.83
 9/16/2018 Bryan Amarante Pierrot            $9.00   53.95   $    8.60         $    62.78   $     62.78
 9/23/2018 Bryan Amarante Pierrot            $9.00   54.37   $    8.60         $    64.65   $     64.65
 9/30/2018 Bryan Amarante Pierrot            $9.00   51.28   $    8.60         $    50.78   $     50.78
 10/7/2018 Bryan Amarante Pierrot            $9.00   56.38   $    8.60         $    73.73   $     73.73
10/14/2018 Bryan Amarante Pierrot            $9.00   48.35   $    8.60         $    37.58   $     37.58
10/21/2018 Bryan Amarante Pierrot            $9.00   42.50   $    8.60         $    11.25   $     11.25
10/28/2018 Bryan Amarante Pierrot            $9.00   51.67   $    8.60         $    52.50   $     52.50
 11/4/2018 Bryan Amarante Pierrot            $9.00   52.85   $    8.60         $    57.83   $     57.83
 8/13/2017 Bryan Montoya                     $9.50   41.37   $    8.44         $     6.49   $      6.49
 8/20/2017 Bryan Montoya                     $9.50   68.38   $    8.44         $   134.82   $    134.82
 8/27/2017 Bryan Montoya                     $9.50   81.22   $    8.44         $   195.78   $    195.78
  9/3/2017 Bryan Montoya                     $9.50   68.05   $    8.44         $   133.24   $    133.24



                                               82
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 84 of 683 PageID: 931
                                          Exhibit 2
                                  New Jersey Computations


  Week                                                   State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
 Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                          Rate Week
  Date                                                   Wage  Rate Due     Due       Wages Due

 9/10/2017 Bryan Montoya                  $9.50   65.28   $    8.44               $   120.10   $   120.10
 9/17/2017 Bryan Montoya                  $9.50   68.88   $    8.44               $   137.20   $   137.20
 9/24/2017 Bryan Montoya                  $9.50   74.30   $    8.44               $   162.93   $   162.93
 10/1/2017 Bryan Montoya                  $9.50   68.17   $    8.44               $   133.79   $   133.79
 10/8/2017 Bryan Montoya                  $9.50   74.90   $    8.44               $   165.78   $   165.78
10/15/2017 Bryan Montoya                  $9.50   67.52   $    8.44               $   130.70   $   130.70
10/22/2017 Bryan Montoya                  $9.50   76.70   $    8.44               $   174.33   $   174.33
10/29/2017 Bryan Montoya                  $9.50   68.00   $    8.44               $   133.00   $   133.00
 11/5/2017 Bryan Montoya                  $9.50   64.22   $    8.44               $   115.03   $   115.03
11/12/2017 Bryan Montoya                  $9.50   68.17   $    8.44               $   133.79   $   133.79
11/19/2017 Bryan Montoya                  $9.50   74.18   $    8.44               $   162.37   $   162.37
11/26/2017 Bryan Montoya                  $9.50   43.03   $    8.44               $    14.41   $    14.41
 12/3/2017 Bryan Montoya                  $9.50   46.15   $    8.44               $    29.21   $    29.21
12/10/2017 Bryan Montoya                  $9.50   50.48   $    8.44               $    49.80   $    49.80
  4/7/2019 Bryan Montoya                  $9.50   76.85   $    8.85               $   175.04   $   175.04
 4/14/2019 Bryan Montoya                  $9.50   67.68   $    8.85               $   131.50   $   131.50
 4/21/2019 Bryan Montoya                  $9.50   70.08   $    8.85               $   142.90   $   142.90
 4/28/2019 Bryan Montoya                  $9.50   72.18   $    8.85               $   152.87   $   152.87
  5/5/2019 Bryan Montoya                  $9.50   73.38   $    8.85               $   158.57   $   158.57
 5/12/2019 Bryan Montoya                  $9.50   65.45   $    8.85               $   120.89   $   120.89
 5/19/2019 Bryan Montoya                  $9.50   73.72   $    8.85               $   160.15   $   160.15
 5/26/2019 Bryan Montoya                  $9.50   64.22   $    8.85               $   115.03   $   115.03
10/20/2019 Bryan Montoya                  $9.50   65.17   $   10.00   $   32.58   $   125.83   $   158.42
10/27/2019 Bryan Montoya                  $9.50   66.52   $   10.00   $   33.26   $   132.58   $   165.84
 11/3/2019 Bryan Montoya                  $9.50   60.37   $   10.00   $   30.18   $   101.83   $   132.02
11/10/2019 Bryan Montoya                  $9.50   60.15   $   10.00   $   30.08   $   100.75   $   130.83
11/17/2019 Bryan Montoya                  $9.50   60.60   $   10.00   $   30.30   $   103.00   $   133.30
11/24/2019 Bryan Montoya                  $9.50   60.27   $   10.00   $   30.13   $   101.33   $   131.47
 12/1/2019 Bryan Montoya                  $9.50   41.32   $   10.00   $   20.66   $     6.58   $    27.24
 12/8/2019 Bryan Montoya                  $9.50   57.95   $   10.00   $   28.98   $    89.75   $   118.73
  3/5/2017 Bryan Nin                     $10.00   61.50   $    8.44               $   107.50   $   107.50
 3/12/2017 Bryan Nin                     $10.00   61.70   $    8.44               $   108.50   $   108.50
 3/19/2017 Bryan Nin                     $10.00   46.72   $    8.44               $    33.58   $    33.58
 3/26/2017 Bryan Nin                     $10.00   61.48   $    8.44               $   107.42   $   107.42
  4/2/2017 Bryan Nin                     $10.00   54.12   $    8.44               $    70.58   $    70.58
  4/9/2017 Bryan Nin                     $10.00   58.40   $    8.44               $    92.00   $    92.00
 4/16/2017 Bryan Nin                     $10.00   57.55   $    8.44               $    87.75   $    87.75
 10/8/2017 Bryan Nin                     $11.50   63.02   $    8.44               $   132.35   $   132.35
10/15/2017 Bryan Nin                     $11.50   58.00   $    8.44               $   103.50   $   103.50
10/22/2017 Bryan Nin                     $11.50   57.88   $    8.44               $   102.83   $   102.83
10/29/2017 Bryan Nin                     $11.50   57.60   $    8.44               $   101.20   $   101.20
 11/5/2017 Bryan Nin                     $11.50   46.28   $    8.44               $    36.13   $    36.13
 3/24/2019 Bryan Nin                     $11.50   49.83   $    8.85               $    56.54   $    56.54
 3/31/2019 Bryan Nin                     $11.50   41.57   $    8.85               $     9.01   $     9.01
  4/7/2019 Bryan Nin                     $11.50   45.93   $    8.85               $    34.12   $    34.12
 4/14/2019 Bryan Nin                     $11.50   50.68   $    8.85               $    61.43   $    61.43
 4/21/2019 Bryan Nin                     $11.50   64.17   $    8.85               $   138.96   $   138.96
 4/28/2019 Bryan Nin                     $11.50   63.65   $    8.85               $   135.99   $   135.99
  5/5/2019 Bryan Nin                     $11.50   64.92   $    8.85               $   143.27   $   143.27
 5/12/2019 Bryan Nin                     $11.50   61.27   $    8.85               $   122.28   $   122.28



                                            83
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 85 of 683 PageID: 932
                                                            Exhibit 2
                                                    New Jersey Computations


  Week                                                                     State Section 7: Section 7: Total Section 7
                                                           Hourly Hours/
 Ending                        Name                                      Minumum Regular    Half-Time Overtime Back
                                                            Rate Week
  Date                                                                     Wage  Rate Due     Due       Wages Due

 5/19/2019 Bryan Nin                                       $11.50   61.75   $    8.85               $   125.06   $   125.06
 5/26/2019 Bryan Nin                                       $11.50   62.53   $    8.85               $   129.57   $   129.57
12/22/2019 Bryan Nin                                       $12.00   56.35   $   10.00               $    98.10   $    98.10
12/29/2019 Bryan Nin                                       $12.00   48.58   $   10.00               $    51.50   $    51.50
  1/5/2020 Bryan Nin                                       $12.00   41.85   $   11.00               $    11.10   $    11.10
 1/12/2020 Bryan Nin                                       $12.00   54.63   $   11.00               $    87.80   $    87.80
 1/19/2020 Bryan Nin                                       $12.00   58.92   $   11.00               $   113.50   $   113.50
 1/26/2020 Bryan Nin                                       $12.00   48.92   $   11.00               $    53.50   $    53.50
10/27/2019 Bryan Velasques-Calles                          $16.50   44.62   $   10.00               $    38.09   $    38.09
 11/3/2019 Bryan Velasques-Calles                          $16.50   41.27   $   10.00               $    10.45   $    10.45
 9/22/2019 Carlos Alberto Junior Rodriguez Rivera           $9.50   43.72   $   10.00   $   21.86   $    18.58   $    40.44
 9/29/2019 Carlos Alberto Junior Rodriguez Rivera           $9.50   56.93   $   10.00   $   28.47   $    84.67   $   113.13
 10/6/2019 Carlos Alberto Junior Rodriguez Rivera           $9.50   45.40   $   10.00   $   22.70   $    27.00   $    49.70
10/13/2019 Carlos Alberto Junior Rodriguez Rivera           $9.50   53.55   $   10.00   $   26.78   $    67.75   $    94.53
10/20/2019 Carlos Alberto Junior Rodriguez Rivera           $9.50   49.53   $   10.00   $   24.77   $    47.67   $    72.43
11/10/2019 Carlos Alberto Junior Rodriguez Rivera           $9.50   51.13   $   10.00   $   25.57   $    55.67   $    81.23
11/17/2019 Carlos Alberto Junior Rodriguez Rivera           $9.50   49.85   $   10.00   $   24.93   $    49.25   $    74.18
11/24/2019 Carlos Alberto Junior Rodriguez Rivera           $9.50   48.12   $   10.00   $   24.06   $    40.58   $    64.64
 12/8/2019 Carlos Alberto Junior Rodriguez Rivera           $9.50   50.87   $   10.00   $   25.43   $    54.33   $    79.77
12/15/2019 Carlos Alberto Junior Rodriguez Rivera           $9.50   52.40   $   10.00   $   26.20   $    62.00   $    88.20
 2/19/2017 Carlos Alcantara                                $10.00   55.08   $    8.44               $    75.42   $    75.42
 2/26/2017 Carlos Alcantara                                $10.00   56.93   $    8.44               $    84.67   $    84.67
  3/5/2017 Carlos Alcantara                                $10.00   58.05   $    8.44               $    90.25   $    90.25
 3/12/2017 Carlos Alcantara                                $10.00   58.05   $    8.44               $    90.25   $    90.25
 3/19/2017 Carlos Alcantara                                $10.00   40.62   $    8.44               $     3.08   $     3.08
 3/26/2017 Carlos Alcantara                                $10.00   59.42   $    8.44               $    97.08   $    97.08
 1/13/2019 Carlos Alvarenga Zavala                         $16.50   45.45   $    8.85               $    44.96   $    44.96
 1/20/2019 Carlos Alvarenga Zavala                         $16.50   45.50   $    8.85               $    45.38   $    45.38
 1/27/2019 Carlos Alvarenga Zavala                         $16.50   45.58   $    8.85               $    46.06   $    46.06
 2/24/2019 Carlos Alvarenga Zavala                         $16.50   42.13   $    8.85               $    17.60   $    17.60
  3/3/2019 Carlos Alvarenga Zavala                         $16.50   45.52   $    8.85               $    45.51   $    45.51
 3/10/2019 Carlos Alvarenga Zavala                         $16.50   45.55   $    8.85               $    45.79   $    45.79
 3/17/2019 Carlos Alvarenga Zavala                         $16.50   45.83   $    8.85               $    48.13   $    48.13
 3/24/2019 Carlos Alvarenga Zavala                         $16.50   68.90   $    8.85               $   238.43   $   238.43
 3/31/2019 Carlos Alvarenga Zavala                         $16.50   69.17   $    8.85               $   240.63   $   240.63
  4/7/2019 Carlos Alvarenga Zavala                         $16.50   69.12   $    8.85               $   240.21   $   240.21
 4/14/2019 Carlos Alvarenga Zavala                         $16.50   69.12   $    8.85               $   240.21   $   240.21
 4/21/2019 Carlos Alvarenga Zavala                         $16.50   69.05   $    8.85               $   239.66   $   239.66
 4/28/2019 Carlos Alvarenga Zavala                         $16.50   69.27   $    8.85               $   241.45   $   241.45
  5/5/2019 Carlos Alvarenga Zavala                         $16.50   64.98   $    8.85               $   206.11   $   206.11
 5/12/2019 Carlos Alvarenga Zavala                         $16.50   55.82   $    8.85               $   130.49   $   130.49
 5/19/2019 Carlos Alvarenga Zavala                         $16.50   55.68   $    8.85               $   129.39   $   129.39
 5/26/2019 Carlos Alvarenga Zavala                         $16.50   59.30   $    8.85               $   159.23   $   159.23
  6/2/2019 Carlos Alvarenga Zavala                         $16.50   50.18   $    8.85               $    84.01   $    84.01
  6/9/2019 Carlos Alvarenga Zavala                         $16.50   62.18   $    8.85               $   183.01   $   183.01
 6/16/2019 Carlos Alvarenga Zavala                         $16.50   62.68   $    8.85               $   187.14   $   187.14
 6/23/2019 Carlos Alvarenga Zavala                         $16.50   63.82   $    8.85               $   196.49   $   196.49
 6/30/2019 Carlos Alvarenga Zavala                         $16.50   65.50   $   10.00               $   210.38   $   210.38
  7/7/2019 Carlos Alvarenga Zavala                         $16.50   53.78   $   10.00               $   113.71   $   113.71
 7/14/2019 Carlos Alvarenga Zavala                         $16.50   65.72   $   10.00               $   212.16   $   212.16



                                                              84
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 86 of 683 PageID: 933
                                             Exhibit 2
                                     New Jersey Computations


  Week                                                      State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
 Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
  Date                                                      Wage  Rate Due     Due       Wages Due

 7/21/2019 Carlos Alvarenga Zavala          $16.50   58.85   $   10.00         $   155.51   $    155.51
 7/28/2019 Carlos Alvarenga Zavala          $16.50   48.72   $   10.00         $    71.91   $     71.91
  8/4/2019 Carlos Alvarenga Zavala          $16.50   59.98   $   10.00         $   164.86   $    164.86
 8/11/2019 Carlos Alvarenga Zavala          $16.50   63.50   $   10.00         $   193.88   $    193.88
 8/18/2019 Carlos Alvarenga Zavala          $16.50   59.70   $   10.00         $   162.53   $    162.53
 8/25/2019 Carlos Alvarenga Zavala          $16.50   59.82   $   10.00         $   163.49   $    163.49
  9/1/2019 Carlos Alvarenga Zavala          $16.50   59.90   $   10.00         $   164.18   $    164.18
  9/8/2019 Carlos Alvarenga Zavala          $16.50   50.28   $   10.00         $    84.84   $     84.84
 9/15/2019 Carlos Alvarenga Zavala          $16.50   60.70   $   10.00         $   170.78   $    170.78
 9/22/2019 Carlos Alvarenga Zavala          $16.50   59.83   $   10.00         $   163.63   $    163.63
 9/29/2019 Carlos Alvarenga Zavala          $16.50   59.78   $   10.00         $   163.21   $    163.21
 10/6/2019 Carlos Alvarenga Zavala          $16.50   59.72   $   10.00         $   162.66   $    162.66
10/13/2019 Carlos Alvarenga Zavala          $16.50   59.92   $   10.00         $   164.31   $    164.31
10/20/2019 Carlos Alvarenga Zavala          $16.50   60.37   $   10.00         $   168.03   $    168.03
10/27/2019 Carlos Alvarenga Zavala          $16.50   61.20   $   10.00         $   174.90   $    174.90
 11/3/2019 Carlos Alvarenga Zavala          $16.50   60.25   $   10.00         $   167.06   $    167.06
11/10/2019 Carlos Alvarenga Zavala          $16.50   61.45   $   10.00         $   176.96   $    176.96
11/17/2019 Carlos Alvarenga Zavala          $16.50   60.33   $   10.00         $   167.75   $    167.75
11/24/2019 Carlos Alvarenga Zavala          $16.50   60.67   $   10.00         $   170.50   $    170.50
 12/1/2019 Carlos Alvarenga Zavala          $16.50   50.38   $   10.00         $    85.66   $     85.66
 12/8/2019 Carlos Alvarenga Zavala          $16.50   60.48   $   10.00         $   168.99   $    168.99
12/15/2019 Carlos Alvarenga Zavala          $16.50   60.77   $   10.00         $   171.33   $    171.33
12/22/2019 Carlos Alvarenga Zavala          $16.50   60.65   $   10.00         $   170.36   $    170.36
12/29/2019 Carlos Alvarenga Zavala          $16.50   47.00   $   10.00         $    57.75   $     57.75
  1/5/2020 Carlos Alvarenga Zavala          $16.50   50.03   $   11.00         $    82.78   $     82.78
 1/12/2020 Carlos Alvarenga Zavala          $16.50   60.30   $   11.00         $   167.48   $    167.48
 1/19/2020 Carlos Alvarenga Zavala          $16.50   60.33   $   11.00         $   167.75   $    167.75
 1/26/2020 Carlos Alvarenga Zavala          $16.50   60.45   $   11.00         $   168.71   $    168.71
  2/5/2017 Carlos Balan                     $11.00   58.97   $    8.44         $   104.32   $    104.32
 2/12/2017 Carlos Balan                     $11.00   49.62   $    8.44         $    52.89   $     52.89
 2/19/2017 Carlos Balan                     $11.00   59.77   $    8.44         $   108.72   $    108.72
 2/26/2017 Carlos Balan                     $11.00   59.18   $    8.44         $   105.51   $    105.51
  3/5/2017 Carlos Balan                     $11.00   61.03   $    8.44         $   115.68   $    115.68
 3/12/2017 Carlos Balan                     $11.00   59.38   $    8.44         $   106.61   $    106.61
 3/19/2017 Carlos Balan                     $11.00   48.93   $    8.44         $    49.13   $     49.13
 3/26/2017 Carlos Balan                     $11.00   59.97   $    8.44         $   109.82   $    109.82
  4/2/2017 Carlos Balan                     $11.00   58.62   $    8.44         $   102.39   $    102.39
  4/9/2017 Carlos Balan                     $11.00   60.00   $    8.44         $   110.00   $    110.00
 4/16/2017 Carlos Balan                     $11.00   60.07   $    8.44         $   110.37   $    110.37
 4/23/2017 Carlos Balan                     $11.00   60.00   $    8.44         $   110.00   $    110.00
 4/30/2017 Carlos Balan                     $11.00   58.20   $    8.44         $   100.10   $    100.10
  5/7/2017 Carlos Balan                     $11.00   59.07   $    8.44         $   104.87   $    104.87
 5/14/2017 Carlos Balan                     $11.00   50.13   $    8.44         $    55.73   $     55.73
 5/21/2017 Carlos Balan                     $11.00   60.18   $    8.44         $   111.01   $    111.01
 5/28/2017 Carlos Balan                     $11.00   60.08   $    8.44         $   110.46   $    110.46
  6/4/2017 Carlos Balan                     $11.00   60.37   $    8.44         $   112.02   $    112.02
 6/11/2017 Carlos Balan                     $11.00   60.12   $    8.44         $   110.64   $    110.64
 6/18/2017 Carlos Balan                     $11.00   60.28   $    8.44         $   111.56   $    111.56
 6/25/2017 Carlos Balan                     $11.00   50.28   $    8.44         $    56.56   $     56.56
  7/2/2017 Carlos Balan                     $11.00   60.32   $    8.44         $   111.74   $    111.74



                                               85
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 87 of 683 PageID: 934
                                         Exhibit 2
                                 New Jersey Computations


  Week                                                  State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
 Ending                   Name                        Minumum Regular    Half-Time Overtime Back
                                         Rate Week
  Date                                                  Wage  Rate Due     Due       Wages Due

  7/9/2017 Carlos Balan                 $11.00   60.48   $   8.44          $   112.66   $    112.66
 7/16/2017 Carlos Balan                 $11.00   60.35   $   8.44          $   111.93   $    111.93
 7/23/2017 Carlos Balan                 $11.00   60.10   $   8.44          $   110.55   $    110.55
 7/30/2017 Carlos Balan                 $11.00   59.90   $   8.44          $   109.45   $    109.45
  8/6/2017 Carlos Balan                 $11.00   59.57   $   8.44          $   107.62   $    107.62
 8/13/2017 Carlos Balan                 $11.00   60.08   $   8.44          $   110.46   $    110.46
 8/20/2017 Carlos Balan                 $11.00   59.73   $   8.44          $   108.53   $    108.53
 8/27/2017 Carlos Balan                 $11.00   60.22   $   8.44          $   111.19   $    111.19
  9/3/2017 Carlos Balan                 $11.00   60.12   $   8.44          $   110.64   $    110.64
 9/10/2017 Carlos Balan                 $11.00   49.78   $   8.44          $    53.81   $     53.81
 9/17/2017 Carlos Balan                 $11.00   62.93   $   8.44          $   126.13   $    126.13
 9/24/2017 Carlos Balan                 $11.00   59.73   $   8.44          $   108.53   $    108.53
 10/1/2017 Carlos Balan                 $11.00   60.03   $   8.44          $   110.18   $    110.18
 10/8/2017 Carlos Balan                 $11.00   60.05   $   8.44          $   110.28   $    110.28
10/15/2017 Carlos Balan                 $11.00   59.87   $   8.44          $   109.27   $    109.27
10/22/2017 Carlos Balan                 $11.00   59.98   $   8.44          $   109.91   $    109.91
10/29/2017 Carlos Balan                 $11.00   49.73   $   8.44          $    53.53   $     53.53
 11/5/2017 Carlos Balan                 $11.00   59.98   $   8.44          $   109.91   $    109.91
11/12/2017 Carlos Balan                 $11.00   48.90   $   8.44          $    48.95   $     48.95
11/19/2017 Carlos Balan                 $11.00   59.83   $   8.44          $   109.08   $    109.08
11/26/2017 Carlos Balan                 $11.00   50.28   $   8.44          $    56.56   $     56.56
 12/3/2017 Carlos Balan                 $11.00   59.30   $   8.44          $   106.15   $    106.15
12/10/2017 Carlos Balan                 $11.00   58.68   $   8.44          $   102.76   $    102.76
12/17/2017 Carlos Balan                 $11.00   59.85   $   8.44          $   109.18   $    109.18
12/24/2017 Carlos Balan                 $11.00   55.02   $   8.44          $    82.59   $     82.59
12/31/2017 Carlos Balan                 $11.00   49.13   $   8.44          $    50.23   $     50.23
  1/7/2018 Carlos Balan                 $11.00   47.83   $   8.60          $    43.08   $     43.08
 1/14/2018 Carlos Balan                 $11.00   57.95   $   8.60          $    98.72   $     98.72
 1/21/2018 Carlos Balan                 $11.00   59.13   $   8.60          $   105.23   $    105.23
 1/28/2018 Carlos Balan                 $11.00   60.08   $   8.60          $   110.46   $    110.46
  2/4/2018 Carlos Balan                 $11.00   59.53   $   8.60          $   107.43   $    107.43
 2/11/2018 Carlos Balan                 $11.00   59.10   $   8.60          $   105.05   $    105.05
 2/18/2018 Carlos Balan                 $11.00   60.03   $   8.60          $   110.18   $    110.18
 2/25/2018 Carlos Balan                 $11.00   60.02   $   8.60          $   110.09   $    110.09
  3/4/2018 Carlos Balan                 $11.00   59.38   $   8.60          $   106.61   $    106.61
 3/25/2018 Carlos Balan                 $11.00   58.45   $   8.60          $   101.48   $    101.48
  4/1/2018 Carlos Balan                 $11.00   60.23   $   8.60          $   111.28   $    111.28
  4/8/2018 Carlos Balan                 $11.00   59.32   $   8.60          $   106.24   $    106.24
 4/15/2018 Carlos Balan                 $11.00   46.08   $   8.60          $    33.46   $     33.46
 4/22/2018 Carlos Balan                 $11.00   59.83   $   8.60          $   109.08   $    109.08
 4/29/2018 Carlos Balan                 $11.00   60.18   $   8.60          $   111.01   $    111.01
  5/6/2018 Carlos Balan                 $11.00   60.22   $   8.60          $   111.19   $    111.19
 5/13/2018 Carlos Balan                 $11.00   60.17   $   8.60          $   110.92   $    110.92
 5/20/2018 Carlos Balan                 $11.00   60.03   $   8.60          $   110.18   $    110.18
 5/27/2018 Carlos Balan                 $11.00   49.52   $   8.60          $    52.34   $     52.34
  6/3/2018 Carlos Balan                 $11.00   60.10   $   8.60          $   110.55   $    110.55
 6/10/2018 Carlos Balan                 $11.00   59.12   $   8.60          $   105.14   $    105.14
 6/17/2018 Carlos Balan                 $11.00   60.15   $   8.60          $   110.83   $    110.83
 6/24/2018 Carlos Balan                 $11.00   60.13   $   8.60          $   110.73   $    110.73
  7/1/2018 Carlos Balan                 $11.00   50.13   $   8.60          $    55.73   $     55.73



                                           86
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 88 of 683 PageID: 935
                                         Exhibit 2
                                 New Jersey Computations


  Week                                                  State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
 Ending                   Name                        Minumum Regular    Half-Time Overtime Back
                                         Rate Week
  Date                                                  Wage  Rate Due     Due       Wages Due

  7/8/2018 Carlos Balan                 $11.00   60.08   $   8.60          $   110.46   $    110.46
 7/15/2018 Carlos Balan                 $11.00   60.03   $   8.60          $   110.18   $    110.18
 7/22/2018 Carlos Balan                 $11.00   58.13   $   8.60          $    99.73   $     99.73
 7/29/2018 Carlos Balan                 $11.00   50.00   $   8.60          $    55.00   $     55.00
  8/5/2018 Carlos Balan                 $11.00   50.05   $   8.60          $    55.28   $     55.28
 8/12/2018 Carlos Balan                 $11.00   59.17   $   8.60          $   105.42   $    105.42
 8/19/2018 Carlos Balan                 $11.00   50.23   $   8.60          $    56.28   $     56.28
 8/26/2018 Carlos Balan                 $11.00   60.02   $   8.60          $   110.09   $    110.09
  9/2/2018 Carlos Balan                 $11.00   60.02   $   8.60          $   110.09   $    110.09
  9/9/2018 Carlos Balan                 $11.00   60.00   $   8.60          $   110.00   $    110.00
 9/16/2018 Carlos Balan                 $11.00   56.47   $   8.60          $    90.57   $     90.57
 9/23/2018 Carlos Balan                 $11.00   59.98   $   8.60          $   109.91   $    109.91
 9/30/2018 Carlos Balan                 $11.00   59.17   $   8.60          $   105.42   $    105.42
 10/7/2018 Carlos Balan                 $11.00   60.13   $   8.60          $   110.73   $    110.73
10/14/2018 Carlos Balan                 $11.00   47.98   $   8.60          $    43.91   $     43.91
10/21/2018 Carlos Balan                 $11.00   58.98   $   8.60          $   104.41   $    104.41
10/28/2018 Carlos Balan                 $11.00   44.23   $   8.60          $    23.28   $     23.28
 11/4/2018 Carlos Balan                 $11.00   60.05   $   8.60          $   110.28   $    110.28
11/11/2018 Carlos Balan                 $11.00   49.07   $   8.60          $    49.87   $     49.87
11/18/2018 Carlos Balan                 $11.00   61.82   $   8.60          $   119.99   $    119.99
11/25/2018 Carlos Balan                 $11.00   51.05   $   8.60          $    60.78   $     60.78
 12/2/2018 Carlos Balan                 $11.00   60.83   $   8.60          $   114.58   $    114.58
 12/9/2018 Carlos Balan                 $11.00   60.00   $   8.60          $   110.00   $    110.00
12/16/2018 Carlos Balan                 $11.00   50.07   $   8.60          $    55.37   $     55.37
12/23/2018 Carlos Balan                 $11.00   47.25   $   8.60          $    39.88   $     39.88
12/30/2018 Carlos Balan                 $11.00   50.20   $   8.60          $    56.10   $     56.10
  1/6/2019 Carlos Balan                 $11.00   59.37   $   8.85          $   106.52   $    106.52
 1/13/2019 Carlos Balan                 $11.00   40.55   $   8.85          $     3.03   $      3.03
 1/20/2019 Carlos Balan                 $11.00   59.38   $   8.85          $   106.61   $    106.61
 1/27/2019 Carlos Balan                 $11.00   59.52   $   8.85          $   107.34   $    107.34
  2/3/2019 Carlos Balan                 $11.00   46.07   $   8.85          $    33.37   $     33.37
 2/10/2019 Carlos Balan                 $11.00   59.55   $   8.85          $   107.53   $    107.53
 2/17/2019 Carlos Balan                 $11.00   58.57   $   8.85          $   102.12   $    102.12
 2/24/2019 Carlos Balan                 $11.00   58.27   $   8.85          $   100.47   $    100.47
  3/3/2019 Carlos Balan                 $11.00   59.85   $   8.85          $   109.18   $    109.18
 3/10/2019 Carlos Balan                 $11.00   58.58   $   8.85          $   102.21   $    102.21
 3/17/2019 Carlos Balan                 $11.00   60.37   $   8.85          $   112.02   $    112.02
 3/24/2019 Carlos Balan                 $11.00   59.25   $   8.85          $   105.88   $    105.88
 3/31/2019 Carlos Balan                 $11.00   60.32   $   8.85          $   111.74   $    111.74
  4/7/2019 Carlos Balan                 $11.00   59.28   $   8.85          $   106.06   $    106.06
 4/14/2019 Carlos Balan                 $11.00   58.95   $   8.85          $   104.23   $    104.23
 4/21/2019 Carlos Balan                 $11.00   60.30   $   8.85          $   111.65   $    111.65
 4/28/2019 Carlos Balan                 $11.00   59.07   $   8.85          $   104.87   $    104.87
  5/5/2019 Carlos Balan                 $11.00   59.53   $   8.85          $   107.43   $    107.43
 5/12/2019 Carlos Balan                 $11.00   60.17   $   8.85          $   110.92   $    110.92
 5/19/2019 Carlos Balan                 $11.00   57.93   $   8.85          $    98.63   $     98.63
 5/26/2019 Carlos Balan                 $11.00   59.07   $   8.85          $   104.87   $    104.87
  6/2/2019 Carlos Balan                 $11.00   60.72   $   8.85          $   113.94   $    113.94
  6/9/2019 Carlos Balan                 $11.00   60.17   $   8.85          $   110.92   $    110.92
 6/16/2019 Carlos Balan                 $11.00   59.73   $   8.85          $   108.53   $    108.53



                                           87
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 89 of 683 PageID: 936
                                            Exhibit 2
                                    New Jersey Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
  Date                                                     Wage  Rate Due     Due       Wages Due

 6/23/2019 Carlos Balan                    $11.00   57.78   $    8.85         $    97.81   $     97.81
 6/30/2019 Carlos Balan                    $11.00   59.70   $   10.00         $   108.35   $    108.35
  7/7/2019 Carlos Balan                    $11.00   55.97   $   10.00         $    87.82   $     87.82
 7/14/2019 Carlos Balan                    $11.00   59.28   $   10.00         $   106.06   $    106.06
 7/21/2019 Carlos Balan                    $11.00   60.12   $   10.00         $   110.64   $    110.64
 7/28/2019 Carlos Balan                    $11.00   59.42   $   10.00         $   106.79   $    106.79
  8/4/2019 Carlos Balan                    $11.00   59.38   $   10.00         $   106.61   $    106.61
 8/11/2019 Carlos Balan                    $11.00   57.45   $   10.00         $    95.98   $     95.98
 8/18/2019 Carlos Balan                    $11.00   59.17   $   10.00         $   105.42   $    105.42
 8/25/2019 Carlos Balan                    $11.00   58.15   $   10.00         $    99.83   $     99.83
  9/1/2019 Carlos Balan                    $11.00   59.20   $   10.00         $   105.60   $    105.60
  9/8/2019 Carlos Balan                    $11.00   58.13   $   10.00         $    99.73   $     99.73
 9/15/2019 Carlos Balan                    $11.00   52.33   $   10.00         $    67.83   $     67.83
 9/22/2019 Carlos Balan                    $11.00   59.60   $   10.00         $   107.80   $    107.80
 9/29/2019 Carlos Balan                    $11.00   59.60   $   10.00         $   107.80   $    107.80
 10/6/2019 Carlos Balan                    $11.00   58.87   $   10.00         $   103.77   $    103.77
10/13/2019 Carlos Balan                    $11.00   57.80   $   10.00         $    97.90   $     97.90
10/20/2019 Carlos Balan                    $11.00   59.77   $   10.00         $   108.72   $    108.72
10/27/2019 Carlos Balan                    $11.00   58.15   $   10.00         $    99.83   $     99.83
 11/3/2019 Carlos Balan                    $11.00   57.27   $   10.00         $    94.97   $     94.97
11/10/2019 Carlos Balan                    $11.00   59.13   $   10.00         $   105.23   $    105.23
11/17/2019 Carlos Balan                    $11.00   58.90   $   10.00         $   103.95   $    103.95
11/24/2019 Carlos Balan                    $11.00   59.83   $   10.00         $   109.08   $    109.08
 12/1/2019 Carlos Balan                    $11.00   49.68   $   10.00         $    53.26   $     53.26
 12/8/2019 Carlos Balan                    $11.00   58.27   $   10.00         $   100.47   $    100.47
12/15/2019 Carlos Balan                    $11.00   57.90   $   10.00         $    98.45   $     98.45
12/22/2019 Carlos Balan                    $11.00   59.43   $   10.00         $   106.88   $    106.88
12/29/2019 Carlos Balan                    $11.00   48.73   $   10.00         $    48.03   $     48.03
  1/5/2020 Carlos Balan                    $11.00   58.27   $   11.00         $   100.47   $    100.47
 1/12/2020 Carlos Balan                    $11.00   55.22   $   11.00         $    83.69   $     83.69
 1/19/2020 Carlos Balan                    $11.00   57.50   $   11.00         $    96.25   $     96.25
 1/26/2020 Carlos Balan                    $11.00   56.65   $   11.00         $    91.58   $     91.58
  2/5/2017 Carlos Cigarran                 $10.50   53.02   $    8.44         $    68.34   $     68.34
 2/19/2017 Carlos Cigarran                 $10.50   60.12   $    8.44         $   105.61   $    105.61
 2/26/2017 Carlos Cigarran                 $10.50   60.02   $    8.44         $   105.09   $    105.09
  3/5/2017 Carlos Cigarran                 $10.50   60.00   $    8.44         $   105.00   $    105.00
 3/12/2017 Carlos Cigarran                 $10.50   60.25   $    8.44         $   106.31   $    106.31
 3/19/2017 Carlos Cigarran                 $10.50   50.07   $    8.44         $    52.85   $     52.85
 3/26/2017 Carlos Cigarran                 $10.50   51.03   $    8.44         $    57.93   $     57.93
  4/2/2017 Carlos Cigarran                 $10.50   47.83   $    8.44         $    41.13   $     41.13
  4/9/2017 Carlos Cigarran                 $10.50   60.30   $    8.44         $   106.58   $    106.58
 4/16/2017 Carlos Cigarran                 $10.50   60.17   $    8.44         $   105.88   $    105.88
 4/23/2017 Carlos Cigarran                 $10.50   62.67   $    8.44         $   119.00   $    119.00
 4/30/2017 Carlos Cigarran                 $10.50   60.05   $    8.44         $   105.26   $    105.26
  5/7/2017 Carlos Cigarran                 $10.50   60.30   $    8.44         $   106.58   $    106.58
 5/14/2017 Carlos Cigarran                 $10.50   60.12   $    8.44         $   105.61   $    105.61
 5/21/2017 Carlos Cigarran                 $10.50   63.85   $    8.44         $   125.21   $    125.21
 5/28/2017 Carlos Cigarran                 $10.50   63.22   $    8.44         $   121.89   $    121.89
  6/4/2017 Carlos Cigarran                 $10.50   45.72   $    8.44         $    30.01   $     30.01
 6/11/2017 Carlos Cigarran                 $10.50   60.50   $    8.44         $   107.63   $    107.63



                                              88
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 90 of 683 PageID: 937
                                                   Exhibit 2
                                           New Jersey Computations


  Week                                                            State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
 Ending                         Name                            Minumum Regular    Half-Time Overtime Back
                                                   Rate Week
  Date                                                            Wage  Rate Due     Due       Wages Due

 6/18/2017 Carlos Cigarran                        $10.50   60.33   $    8.44         $   106.75   $    106.75
 6/25/2017 Carlos Cigarran                        $10.50   63.38   $    8.44         $   122.76   $    122.76
  7/2/2017 Carlos Cigarran                        $10.50   65.45   $    8.44         $   133.61   $    133.61
  7/9/2017 Carlos Cigarran                        $10.50   58.28   $    8.44         $    95.99   $     95.99
 7/16/2017 Carlos Cigarran                        $10.50   60.75   $    8.44         $   108.94   $    108.94
 7/23/2017 Carlos Cigarran                        $10.50   60.47   $    8.44         $   107.45   $    107.45
 7/30/2017 Carlos Cigarran                        $10.50   60.68   $    8.44         $   108.59   $    108.59
  8/6/2017 Carlos Cigarran                        $10.50   63.07   $    8.44         $   121.10   $    121.10
 8/13/2017 Carlos Cigarran                        $10.50   60.95   $    8.44         $   109.99   $    109.99
 8/20/2017 Carlos Cigarran                        $10.50   63.40   $    8.44         $   122.85   $    122.85
 8/27/2017 Carlos Cigarran                        $10.50   43.30   $    8.44         $    17.33   $     17.33
 10/8/2017 Carlos Cigarran                        $10.50   50.13   $    8.44         $    53.20   $     53.20
10/15/2017 Carlos Cigarran                        $10.50   40.57   $    8.44         $     2.97   $      2.97
10/22/2017 Carlos Cigarran                        $10.50   60.77   $    8.44         $   109.03   $    109.03
10/29/2017 Carlos Cigarran                        $10.50   63.40   $    8.44         $   122.85   $    122.85
 11/5/2017 Carlos Cigarran                        $10.50   65.07   $    8.44         $   131.60   $    131.60
11/12/2017 Carlos Cigarran                        $10.50   60.77   $    8.44         $   109.03   $    109.03
11/19/2017 Carlos Cigarran                        $10.50   60.30   $    8.44         $   106.58   $    106.58
11/26/2017 Carlos Cigarran                        $10.50   50.28   $    8.44         $    53.99   $     53.99
 12/3/2017 Carlos Cigarran                        $10.50   65.27   $    8.44         $   132.65   $    132.65
12/10/2017 Carlos Cigarran                        $10.50   64.50   $    8.44         $   128.63   $    128.63
12/17/2017 Carlos Cigarran                        $10.50   60.47   $    8.44         $   107.45   $    107.45
12/24/2017 Carlos Cigarran                        $10.50   55.62   $    8.44         $    81.99   $     81.99
12/31/2017 Carlos Cigarran                        $10.50   52.98   $    8.44         $    68.16   $     68.16
  1/7/2018 Carlos Cigarran                        $10.50   47.20   $    8.60         $    37.80   $     37.80
 1/14/2018 Carlos Cigarran                        $10.50   63.00   $    8.60         $   120.75   $    120.75
 1/21/2018 Carlos Cigarran                        $10.50   62.95   $    8.60         $   120.49   $    120.49
 1/28/2018 Carlos Cigarran                        $10.50   59.93   $    8.60         $   104.65   $    104.65
  2/4/2018 Carlos Cigarran                        $10.50   40.20   $    8.60         $     1.05   $      1.05
 2/18/2018 Carlos Cigarran                        $10.50   60.35   $    8.60         $   106.84   $    106.84
 2/25/2018 Carlos Cigarran                        $10.50   64.55   $    8.60         $   128.89   $    128.89
  3/4/2018 Carlos Cigarran                        $10.50   62.13   $    8.60         $   116.20   $    116.20
 3/25/2018 Carlos Cigarran                        $10.50   50.90   $    8.60         $    57.23   $     57.23
10/20/2019 Carlos Da Silva                        $11.00   75.65   $   10.00         $   196.08   $    196.08
10/27/2019 Carlos Da Silva                        $11.00   75.68   $   10.00         $   196.26   $    196.26
 11/3/2019 Carlos Da Silva                        $11.00   74.98   $   10.00         $   192.41   $    192.41
11/10/2019 Carlos Da Silva                        $11.00   74.65   $   10.00         $   190.58   $    190.58
11/17/2019 Carlos Da Silva                        $11.00   74.08   $   10.00         $   187.46   $    187.46
11/24/2019 Carlos Da Silva                        $11.00   72.42   $   10.00         $   178.29   $    178.29
 12/1/2019 Carlos Da Silva                        $11.00   48.67   $   10.00         $    47.67   $     47.67
 2/10/2019 Carlos Daniel Flores Castillo           $9.50   48.85   $    8.85         $    42.04   $     42.04
 2/17/2019 Carlos Daniel Flores Castillo           $9.50   62.35   $    8.85         $   106.16   $    106.16
 2/24/2019 Carlos Daniel Flores Castillo           $9.50   56.73   $    8.85         $    79.48   $     79.48
  3/3/2019 Carlos Daniel Flores Castillo           $9.50   59.88   $    8.85         $    94.45   $     94.45
 3/10/2019 Carlos Daniel Flores Castillo           $9.50   52.62   $    8.85         $    59.93   $     59.93
 3/17/2019 Carlos Daniel Flores Castillo           $9.50   52.72   $    8.85         $    60.40   $     60.40
 3/24/2019 Carlos Henry Ortiz                     $10.00   65.97   $    8.85         $   129.83   $    129.83
  2/5/2017 Carlos Isuiza                           $9.50   62.45   $    8.44         $   106.64   $    106.64
 2/12/2017 Carlos Isuiza                           $9.50   60.92   $    8.44         $    99.35   $     99.35
 2/19/2017 Carlos Isuiza                           $9.50   61.85   $    8.44         $   103.79   $    103.79



                                                     89
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 91 of 683 PageID: 938
                                                Exhibit 2
                                        New Jersey Computations


  Week                                                         State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
 Ending                       Name                           Minumum Regular    Half-Time Overtime Back
                                                Rate Week
  Date                                                         Wage  Rate Due     Due       Wages Due

 2/26/2017 Carlos Isuiza                        $9.50   64.68   $   8.44          $   117.25   $    117.25
 3/26/2017 Carlos Isuiza                        $9.50   55.47   $   8.44          $    73.47   $     73.47
  4/2/2017 Carlos Isuiza                        $9.50   57.30   $   8.44          $    82.18   $     82.18
  4/9/2017 Carlos Isuiza                        $9.50   57.67   $   8.44          $    83.92   $     83.92
 4/16/2017 Carlos Isuiza                        $9.50   50.03   $   8.44          $    47.66   $     47.66
 4/23/2017 Carlos Isuiza                        $9.50   48.05   $   8.44          $    38.24   $     38.24
 4/30/2017 Carlos Isuiza                        $9.50   57.37   $   8.44          $    82.49   $     82.49
 5/14/2017 Carlos Isuiza                        $9.50   57.87   $   8.44          $    84.87   $     84.87
 5/21/2017 Carlos Isuiza                        $9.50   58.02   $   8.44          $    85.58   $     85.58
 5/28/2017 Carlos Isuiza                        $9.50   47.47   $   8.44          $    35.47   $     35.47
  6/4/2017 Carlos Isuiza                        $9.50   50.07   $   8.44          $    47.82   $     47.82
 6/11/2017 Carlos Isuiza                        $9.50   57.88   $   8.44          $    84.95   $     84.95
 6/18/2017 Carlos Isuiza                        $9.50   57.87   $   8.44          $    84.87   $     84.87
 6/25/2017 Carlos Isuiza                        $9.50   57.67   $   8.44          $    83.92   $     83.92
  7/2/2017 Carlos Isuiza                        $9.50   49.82   $   8.44          $    46.63   $     46.63
 7/16/2017 Carlos Isuiza                        $9.50   56.63   $   8.44          $    79.01   $     79.01
 7/23/2017 Carlos Isuiza                        $9.50   50.07   $   8.44          $    47.82   $     47.82
 7/30/2017 Carlos Isuiza                        $9.50   57.12   $   8.44          $    81.30   $     81.30
  8/6/2017 Carlos Isuiza                        $9.50   48.13   $   8.44          $    38.63   $     38.63
 8/13/2017 Carlos Isuiza                        $9.50   49.18   $   8.44          $    43.62   $     43.62
 8/20/2017 Carlos Isuiza                        $9.50   50.08   $   8.44          $    47.90   $     47.90
 8/27/2017 Carlos Isuiza                        $9.50   49.13   $   8.44          $    43.38   $     43.38
  9/3/2017 Carlos Isuiza                        $9.50   58.17   $   8.44          $    86.29   $     86.29
 2/24/2019 Carlos Isuiza                       $10.50   43.50   $   8.85          $    18.38   $     18.38
 4/16/2017 Carlos Ivan Palomo Ventura          $13.00   61.70   $   8.44          $   141.05   $    141.05
 4/23/2017 Carlos Ivan Palomo Ventura          $13.00   58.95   $   8.44          $   123.18   $    123.18
  5/7/2017 Carlos Ivan Palomo Ventura          $13.00   57.52   $   8.44          $   113.86   $    113.86
 5/14/2017 Carlos Ivan Palomo Ventura          $13.00   56.98   $   8.44          $   110.39   $    110.39
 5/21/2017 Carlos Ivan Palomo Ventura          $13.00   48.55   $   8.44          $    55.58   $     55.58
 5/28/2017 Carlos Ivan Palomo Ventura          $13.00   63.02   $   8.44          $   149.61   $    149.61
  6/4/2017 Carlos Ivan Palomo Ventura          $13.00   51.77   $   8.44          $    76.48   $     76.48
 6/11/2017 Carlos Ivan Palomo Ventura          $13.00   55.10   $   8.44          $    98.15   $     98.15
 6/18/2017 Carlos Ivan Palomo Ventura          $13.00   64.35   $   8.44          $   158.28   $    158.28
 6/25/2017 Carlos Ivan Palomo Ventura          $13.00   60.53   $   8.44          $   133.47   $    133.47
  7/2/2017 Carlos Ivan Palomo Ventura          $13.00   67.48   $   8.44          $   178.64   $    178.64
  7/9/2017 Carlos Ivan Palomo Ventura          $13.00   50.12   $   8.44          $    65.76   $     65.76
 7/16/2017 Carlos Ivan Palomo Ventura          $13.00   66.42   $   8.44          $   171.71   $    171.71
 7/23/2017 Carlos Ivan Palomo Ventura          $13.00   69.28   $   8.44          $   190.34   $    190.34
 7/30/2017 Carlos Ivan Palomo Ventura          $13.00   71.52   $   8.44          $   204.86   $    204.86
  8/6/2017 Carlos Ivan Palomo Ventura          $13.00   68.20   $   8.44          $   183.30   $    183.30
 8/13/2017 Carlos Ivan Palomo Ventura          $13.00   65.08   $   8.44          $   163.04   $    163.04
 8/20/2017 Carlos Ivan Palomo Ventura          $13.00   64.97   $   8.44          $   162.28   $    162.28
 8/27/2017 Carlos Ivan Palomo Ventura          $13.00   60.92   $   8.44          $   135.96   $    135.96
  9/3/2017 Carlos Ivan Palomo Ventura          $13.00   67.12   $   8.44          $   176.26   $    176.26
 9/10/2017 Carlos Ivan Palomo Ventura          $13.00   52.28   $   8.44          $    79.84   $     79.84
 9/17/2017 Carlos Ivan Palomo Ventura          $13.00   64.48   $   8.44          $   159.14   $    159.14
 9/24/2017 Carlos Ivan Palomo Ventura          $13.00   55.90   $   8.44          $   103.35   $    103.35
 10/1/2017 Carlos Ivan Palomo Ventura          $13.00   68.05   $   8.44          $   182.33   $    182.33
 10/8/2017 Carlos Ivan Palomo Ventura          $13.00   63.33   $   8.44          $   151.67   $    151.67
10/15/2017 Carlos Ivan Palomo Ventura          $13.00   69.73   $   8.44          $   193.27   $    193.27



                                                  90
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 92 of 683 PageID: 939
                                                Exhibit 2
                                        New Jersey Computations


  Week                                                         State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
 Ending                       Name                           Minumum Regular    Half-Time Overtime Back
                                                Rate Week
  Date                                                         Wage  Rate Due     Due       Wages Due

10/22/2017 Carlos Ivan Palomo Ventura          $13.00   69.22   $   8.44          $   189.91   $    189.91
10/29/2017 Carlos Ivan Palomo Ventura          $13.00   66.38   $   8.44          $   171.49   $    171.49
 11/5/2017 Carlos Ivan Palomo Ventura          $13.00   67.92   $   8.44          $   181.46   $    181.46
11/12/2017 Carlos Ivan Palomo Ventura          $13.00   65.78   $   8.44          $   167.59   $    167.59
11/19/2017 Carlos Ivan Palomo Ventura          $13.00   64.12   $   8.44          $   156.76   $    156.76
11/26/2017 Carlos Ivan Palomo Ventura          $13.00   56.13   $   8.44          $   104.87   $    104.87
 12/3/2017 Carlos Ivan Palomo Ventura          $13.00   67.20   $   8.44          $   176.80   $    176.80
12/10/2017 Carlos Ivan Palomo Ventura          $13.00   69.22   $   8.44          $   189.91   $    189.91
12/17/2017 Carlos Ivan Palomo Ventura          $13.00   64.32   $   8.44          $   158.06   $    158.06
12/24/2017 Carlos Ivan Palomo Ventura          $13.00   66.78   $   8.44          $   174.09   $    174.09
12/31/2017 Carlos Ivan Palomo Ventura          $13.00   59.40   $   8.44          $   126.10   $    126.10
  1/7/2018 Carlos Ivan Palomo Ventura          $13.00   52.10   $   8.60          $    78.65   $     78.65
 1/14/2018 Carlos Ivan Palomo Ventura          $13.00   60.67   $   8.60          $   134.33   $    134.33
 1/21/2018 Carlos Ivan Palomo Ventura          $13.00   57.98   $   8.60          $   116.89   $    116.89
 1/28/2018 Carlos Ivan Palomo Ventura          $13.00   47.37   $   8.60          $    47.88   $     47.88
  2/4/2018 Carlos Ivan Palomo Ventura          $13.00   47.23   $   8.60          $    47.02   $     47.02
 2/11/2018 Carlos Ivan Palomo Ventura          $13.00   47.45   $   8.60          $    48.43   $     48.43
 2/18/2018 Carlos Ivan Palomo Ventura          $13.00   58.05   $   8.60          $   117.33   $    117.33
 2/25/2018 Carlos Ivan Palomo Ventura          $13.00   46.43   $   8.60          $    41.82   $     41.82
  3/4/2018 Carlos Ivan Palomo Ventura          $13.00   51.60   $   8.60          $    75.40   $     75.40
 3/25/2018 Carlos Ivan Palomo Ventura          $13.00   52.98   $   8.60          $    84.39   $     84.39
  4/1/2018 Carlos Ivan Palomo Ventura          $13.00   53.97   $   8.60          $    90.78   $     90.78
  4/8/2018 Carlos Ivan Palomo Ventura          $13.00   63.22   $   8.60          $   150.91   $    150.91
 4/15/2018 Carlos Ivan Palomo Ventura          $13.00   68.75   $   8.60          $   186.88   $    186.88
 4/22/2018 Carlos Ivan Palomo Ventura          $13.00   67.33   $   8.60          $   177.67   $    177.67
 4/29/2018 Carlos Ivan Palomo Ventura          $13.00   66.18   $   8.60          $   170.19   $    170.19
  5/6/2018 Carlos Ivan Palomo Ventura          $13.00   55.68   $   8.60          $   101.94   $    101.94
 5/13/2018 Carlos Ivan Palomo Ventura          $13.00   66.00   $   8.60          $   169.00   $    169.00
 5/20/2018 Carlos Ivan Palomo Ventura          $13.00   44.18   $   8.60          $    27.19   $     27.19
 5/27/2018 Carlos Ivan Palomo Ventura          $13.00   65.50   $   8.60          $   165.75   $    165.75
  6/3/2018 Carlos Ivan Palomo Ventura          $13.00   44.32   $   8.60          $    28.06   $     28.06
 6/10/2018 Carlos Ivan Palomo Ventura          $13.00   63.10   $   8.60          $   150.15   $    150.15
 6/17/2018 Carlos Ivan Palomo Ventura          $13.00   67.95   $   8.60          $   181.68   $    181.68
 6/24/2018 Carlos Ivan Palomo Ventura          $13.00   68.20   $   8.60          $   183.30   $    183.30
  7/1/2018 Carlos Ivan Palomo Ventura          $13.00   57.23   $   8.60          $   112.02   $    112.02
  7/8/2018 Carlos Ivan Palomo Ventura          $13.00   56.28   $   8.60          $   105.84   $    105.84
 7/15/2018 Carlos Ivan Palomo Ventura          $13.00   65.57   $   8.60          $   166.18   $    166.18
 7/22/2018 Carlos Ivan Palomo Ventura          $13.00   68.42   $   8.60          $   184.71   $    184.71
 7/29/2018 Carlos Ivan Palomo Ventura          $13.00   65.73   $   8.60          $   167.27   $    167.27
  8/5/2018 Carlos Ivan Palomo Ventura          $13.00   67.05   $   8.60          $   175.83   $    175.83
 8/12/2018 Carlos Ivan Palomo Ventura          $13.00   67.55   $   8.60          $   179.08   $    179.08
 8/19/2018 Carlos Ivan Palomo Ventura          $13.00   65.97   $   8.60          $   168.78   $    168.78
 8/26/2018 Carlos Ivan Palomo Ventura          $13.00   66.55   $   8.60          $   172.58   $    172.58
  9/2/2018 Carlos Ivan Palomo Ventura          $13.00   56.13   $   8.60          $   104.87   $    104.87
  9/9/2018 Carlos Ivan Palomo Ventura          $13.00   52.70   $   8.60          $    82.55   $     82.55
 9/16/2018 Carlos Ivan Palomo Ventura          $13.00   67.52   $   8.60          $   178.86   $    178.86
 9/23/2018 Carlos Ivan Palomo Ventura          $13.00   68.25   $   8.60          $   183.63   $    183.63
 9/30/2018 Carlos Ivan Palomo Ventura          $13.00   70.18   $   8.60          $   196.19   $    196.19
 10/7/2018 Carlos Ivan Palomo Ventura          $13.00   68.92   $   8.60          $   187.96   $    187.96
10/14/2018 Carlos Ivan Palomo Ventura          $13.00   68.25   $   8.60          $   183.63   $    183.63



                                                  91
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 93 of 683 PageID: 940
                                                Exhibit 2
                                        New Jersey Computations


  Week                                                         State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
 Ending                       Name                           Minumum Regular    Half-Time Overtime Back
                                                Rate Week
  Date                                                         Wage  Rate Due     Due       Wages Due

10/21/2018 Carlos Ivan Palomo Ventura          $13.00   69.77   $    8.60         $   193.48   $    193.48
10/28/2018 Carlos Ivan Palomo Ventura          $13.00   69.33   $    8.60         $   190.67   $    190.67
 11/4/2018 Carlos Ivan Palomo Ventura          $13.00   70.93   $    8.60         $   201.07   $    201.07
11/11/2018 Carlos Ivan Palomo Ventura          $13.00   68.58   $    8.60         $   185.79   $    185.79
11/18/2018 Carlos Ivan Palomo Ventura          $13.00   67.27   $    8.60         $   177.23   $    177.23
11/25/2018 Carlos Ivan Palomo Ventura          $13.00   57.28   $    8.60         $   112.34   $    112.34
 12/2/2018 Carlos Ivan Palomo Ventura          $13.00   69.47   $    8.60         $   191.53   $    191.53
 12/9/2018 Carlos Ivan Palomo Ventura          $13.00   69.60   $    8.60         $   192.40   $    192.40
12/16/2018 Carlos Ivan Palomo Ventura          $13.00   70.23   $    8.60         $   196.52   $    196.52
12/23/2018 Carlos Ivan Palomo Ventura          $13.00   69.55   $    8.60         $   192.08   $    192.08
12/30/2018 Carlos Ivan Palomo Ventura          $13.00   54.53   $    8.60         $    94.47   $     94.47
 2/17/2019 Carlos Ivan Palomo Ventura          $13.00   67.43   $    8.85         $   178.32   $    178.32
 2/24/2019 Carlos Ivan Palomo Ventura          $13.00   68.50   $    8.85         $   185.25   $    185.25
  3/3/2019 Carlos Ivan Palomo Ventura          $13.00   68.70   $    8.85         $   186.55   $    186.55
 3/10/2019 Carlos Ivan Palomo Ventura          $13.00   69.53   $    8.85         $   191.97   $    191.97
 3/17/2019 Carlos Ivan Palomo Ventura          $13.00   68.73   $    8.85         $   186.77   $    186.77
 3/24/2019 Carlos Ivan Palomo Ventura          $13.00   69.45   $    8.85         $   191.43   $    191.43
 3/31/2019 Carlos Ivan Palomo Ventura          $13.00   68.90   $    8.85         $   187.85   $    187.85
  4/7/2019 Carlos Ivan Palomo Ventura          $13.00   58.02   $    8.85         $   117.11   $    117.11
 4/14/2019 Carlos Ivan Palomo Ventura          $13.00   69.52   $    8.85         $   191.86   $    191.86
 4/21/2019 Carlos Ivan Palomo Ventura          $13.00   67.40   $    8.85         $   178.10   $    178.10
 4/28/2019 Carlos Ivan Palomo Ventura          $13.00   69.65   $    8.85         $   192.73   $    192.73
  5/5/2019 Carlos Ivan Palomo Ventura          $13.00   71.95   $    8.85         $   207.68   $    207.68
 5/12/2019 Carlos Ivan Palomo Ventura          $13.00   58.95   $    8.85         $   123.18   $    123.18
 5/19/2019 Carlos Ivan Palomo Ventura          $13.00   74.15   $    8.85         $   221.98   $    221.98
 5/26/2019 Carlos Ivan Palomo Ventura          $13.00   74.23   $    8.85         $   222.52   $    222.52
  6/2/2019 Carlos Ivan Palomo Ventura          $13.00   73.32   $    8.85         $   216.56   $    216.56
  6/9/2019 Carlos Ivan Palomo Ventura          $13.00   74.15   $    8.85         $   221.98   $    221.98
 6/16/2019 Carlos Ivan Palomo Ventura          $13.00   73.82   $    8.85         $   219.81   $    219.81
 6/23/2019 Carlos Ivan Palomo Ventura          $13.00   70.53   $    8.85         $   198.47   $    198.47
 6/30/2019 Carlos Ivan Palomo Ventura          $13.00   75.17   $   10.00         $   228.58   $    228.58
  7/7/2019 Carlos Ivan Palomo Ventura          $13.00   70.00   $   10.00         $   195.00   $    195.00
 7/14/2019 Carlos Ivan Palomo Ventura          $13.00   72.08   $   10.00         $   208.54   $    208.54
 7/21/2019 Carlos Ivan Palomo Ventura          $13.00   72.32   $   10.00         $   210.06   $    210.06
 7/28/2019 Carlos Ivan Palomo Ventura          $13.00   62.48   $   10.00         $   146.14   $    146.14
  8/4/2019 Carlos Ivan Palomo Ventura          $13.00   76.77   $   10.00         $   238.98   $    238.98
 8/11/2019 Carlos Ivan Palomo Ventura          $13.00   72.20   $   10.00         $   209.30   $    209.30
 8/18/2019 Carlos Ivan Palomo Ventura          $13.00   74.70   $   10.00         $   225.55   $    225.55
 8/25/2019 Carlos Ivan Palomo Ventura          $13.00   73.80   $   10.00         $   219.70   $    219.70
  9/1/2019 Carlos Ivan Palomo Ventura          $13.00   70.27   $   10.00         $   196.73   $    196.73
  9/8/2019 Carlos Ivan Palomo Ventura          $13.00   72.67   $   10.00         $   212.33   $    212.33
 9/15/2019 Carlos Ivan Palomo Ventura          $13.00   72.47   $   10.00         $   211.03   $    211.03
 9/22/2019 Carlos Ivan Palomo Ventura          $13.00   75.57   $   10.00         $   231.18   $    231.18
 9/29/2019 Carlos Ivan Palomo Ventura          $13.00   67.10   $   10.00         $   176.15   $    176.15
 10/6/2019 Carlos Ivan Palomo Ventura          $13.00   73.52   $   10.00         $   217.86   $    217.86
10/13/2019 Carlos Ivan Palomo Ventura          $13.00   76.02   $   10.00         $   234.11   $    234.11
10/20/2019 Carlos Ivan Palomo Ventura          $13.00   73.55   $   10.00         $   218.08   $    218.08
10/27/2019 Carlos Ivan Palomo Ventura          $13.00   74.93   $   10.00         $   227.07   $    227.07
 11/3/2019 Carlos Ivan Palomo Ventura          $13.00   76.58   $   10.00         $   237.79   $    237.79
11/10/2019 Carlos Ivan Palomo Ventura          $13.00   72.92   $   10.00         $   213.96   $    213.96



                                                  92
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 94 of 683 PageID: 941
                                                Exhibit 2
                                        New Jersey Computations


  Week                                                         State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
 Ending                       Name                           Minumum Regular    Half-Time Overtime Back
                                                Rate Week
  Date                                                         Wage  Rate Due     Due       Wages Due

11/17/2019 Carlos Ivan Palomo Ventura          $13.00   72.35   $   10.00               $   210.28   $   210.28
11/24/2019 Carlos Ivan Palomo Ventura          $13.00   76.08   $   10.00               $   234.54   $   234.54
 12/1/2019 Carlos Ivan Palomo Ventura          $13.00   62.12   $   10.00               $   143.76   $   143.76
 12/8/2019 Carlos Ivan Palomo Ventura          $13.00   72.65   $   10.00               $   212.23   $   212.23
12/15/2019 Carlos Ivan Palomo Ventura          $13.00   72.08   $   10.00               $   208.54   $   208.54
12/22/2019 Carlos Ivan Palomo Ventura          $13.00   75.20   $   10.00               $   228.80   $   228.80
12/29/2019 Carlos Ivan Palomo Ventura          $13.00   57.93   $   10.00               $   116.57   $   116.57
  1/5/2020 Carlos Ivan Palomo Ventura          $13.00   68.57   $   11.00               $   185.68   $   185.68
 1/12/2020 Carlos Ivan Palomo Ventura          $13.00   72.17   $   11.00               $   209.08   $   209.08
 1/19/2020 Carlos Ivan Palomo Ventura          $13.00   71.37   $   11.00               $   203.88   $   203.88
 1/26/2020 Carlos Ivan Palomo Ventura          $13.00   73.03   $   11.00               $   214.72   $   214.72
  6/3/2018 Carlos Lopez-0401                    $9.50   49.77   $    8.60               $    46.39   $    46.39
 6/10/2018 Carlos Lopez-0401                    $9.50   50.85   $    8.60               $    51.54   $    51.54
 6/17/2018 Carlos Lopez-0401                    $9.50   66.77   $    8.60               $   127.14   $   127.14
 6/24/2018 Carlos Lopez-0401                    $9.50   47.83   $    8.60               $    37.21   $    37.21
  7/1/2018 Carlos Lopez-0401                    $9.50   54.23   $    8.60               $    67.61   $    67.61
  7/8/2018 Carlos Lopez-0401                    $9.50   45.03   $    8.60               $    23.91   $    23.91
 7/15/2018 Carlos Lopez-0401                    $9.50   48.80   $    8.60               $    41.80   $    41.80
 7/22/2018 Carlos Lopez-0401                    $9.50   43.88   $    8.60               $    18.45   $    18.45
 7/29/2018 Carlos Lopez-0401                    $9.50   49.98   $    8.60               $    47.42   $    47.42
  8/5/2018 Carlos Lopez-0401                    $9.50   59.83   $    8.60               $    94.21   $    94.21
 8/12/2018 Carlos Lopez-0401                    $9.50   42.77   $    8.60               $    13.14   $    13.14
  9/2/2018 Carlos Lopez-0401                    $9.50   41.85   $    8.60               $     8.79   $     8.79
 9/16/2018 Carlos Lopez-0401                   $10.50   44.83   $    8.60               $    25.38   $    25.38
 12/9/2018 Carlos Lopez-0401                   $10.50   45.60   $    8.60               $    29.40   $    29.40
12/16/2018 Carlos Lopez-0401                   $10.50   47.95   $    8.60               $    41.74   $    41.74
12/23/2018 Carlos Lopez-0401                   $10.50   52.27   $    8.60               $    64.40   $    64.40
 9/16/2018 Carlos Mauricio Corea Lima           $9.50   56.88   $    8.60               $    80.20   $    80.20
 9/23/2018 Carlos Mauricio Corea Lima           $9.50   45.23   $    8.60               $    24.86   $    24.86
 9/30/2018 Carlos Mauricio Corea Lima           $9.50   51.02   $    8.60               $    52.33   $    52.33
 10/7/2018 Carlos Mauricio Corea Lima           $9.50   51.23   $    8.60               $    53.36   $    53.36
 1/12/2020 Carlos Navedo                       $10.00   41.15   $   11.00   $   41.15   $     6.32   $    47.48
 1/19/2020 Carlos Navedo                       $10.00   53.65   $   11.00   $   53.65   $    75.08   $   128.73
 1/26/2020 Carlos Navedo                       $10.00   43.03   $   11.00   $   43.03   $    16.68   $    59.72
  5/7/2017 Carlos Oritz                         $9.50   53.83   $    8.44               $    65.71   $    65.71
 5/21/2017 Carlos Oritz                         $9.50   65.27   $    8.44               $   120.02   $   120.02
 5/28/2017 Carlos Oritz                         $9.50   65.07   $    8.44               $   119.07   $   119.07
  6/4/2017 Carlos Oritz                         $9.50   57.45   $    8.44               $    82.89   $    82.89
 6/11/2017 Carlos Oritz                         $9.50   63.53   $    8.44               $   111.78   $   111.78
 6/18/2017 Carlos Oritz                         $9.50   64.78   $    8.44               $   117.72   $   117.72
 6/25/2017 Carlos Oritz                         $9.50   56.45   $    8.44               $    78.14   $    78.14
  7/2/2017 Carlos Oritz                         $9.50   78.85   $    8.44               $   184.54   $   184.54
  7/9/2017 Carlos Oritz                         $9.50   57.85   $    8.44               $    84.79   $    84.79
 7/23/2017 Carlos Oritz                         $9.50   68.00   $    8.44               $   133.00   $   133.00
 7/30/2017 Carlos Oritz                         $9.50   70.20   $    8.44               $   143.45   $   143.45
 8/20/2017 Carlos Oritz                         $9.50   65.27   $    8.44               $   120.02   $   120.02
 8/27/2017 Carlos Oritz                         $9.50   63.50   $    8.44               $   111.63   $   111.63
  9/3/2017 Carlos Oritz                         $9.50   72.42   $    8.44               $   153.98   $   153.98
 9/10/2017 Carlos Oritz                         $9.50   66.73   $    8.44               $   126.98   $   126.98
 2/19/2017 Carlos Pichinte                      $9.50   50.42   $    8.44               $    49.48   $    49.48



                                                  93
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 95 of 683 PageID: 942
                                            Exhibit 2
                                    New Jersey Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
  Date                                                     Wage  Rate Due     Due       Wages Due

 2/26/2017 Carlos Pichinte                  $9.50   48.60   $   8.44          $    40.85   $     40.85
  3/5/2017 Carlos Pichinte                  $9.50   50.28   $   8.44          $    48.85   $     48.85
 3/12/2017 Carlos Pichinte                  $9.50   60.72   $   8.44          $    98.40   $     98.40
 3/19/2017 Carlos Pichinte                  $9.50   50.53   $   8.44          $    50.03   $     50.03
 3/26/2017 Carlos Pichinte                  $9.50   50.52   $   8.44          $    49.95   $     49.95
 5/26/2019 Carlos Polanco                   $8.85   44.80   $   8.85          $    21.24   $     21.24
  6/2/2019 Carlos Polanco                   $8.85   44.60   $   8.85          $    20.36   $     20.36
10/29/2017 Carlos Roca                     $12.00   61.18   $   8.44          $   127.10   $    127.10
 11/5/2017 Carlos Roca                     $12.00   59.40   $   8.44          $   116.40   $    116.40
11/12/2017 Carlos Roca                     $12.00   60.27   $   8.44          $   121.60   $    121.60
11/19/2017 Carlos Roca                     $12.00   61.27   $   8.44          $   127.60   $    127.60
11/26/2017 Carlos Roca                     $12.00   50.75   $   8.44          $    64.50   $     64.50
 12/3/2017 Carlos Roca                     $12.00   61.25   $   8.44          $   127.50   $    127.50
12/10/2017 Carlos Roca                     $12.00   62.53   $   8.44          $   135.20   $    135.20
12/17/2017 Carlos Roca                     $12.00   61.53   $   8.44          $   129.20   $    129.20
12/24/2017 Carlos Roca                     $12.00   64.68   $   8.44          $   148.10   $    148.10
12/31/2017 Carlos Roca                     $12.00   53.73   $   8.44          $    82.40   $     82.40
 1/14/2018 Carlos Roca                     $12.00   52.92   $   8.60          $    77.50   $     77.50
 1/21/2018 Carlos Roca                     $12.00   63.87   $   8.60          $   143.20   $    143.20
 1/28/2018 Carlos Roca                     $12.00   56.00   $   8.60          $    96.00   $     96.00
  2/4/2018 Carlos Roca                     $12.00   63.03   $   8.60          $   138.20   $    138.20
 2/11/2018 Carlos Roca                     $12.00   63.07   $   8.60          $   138.40   $    138.40
 2/18/2018 Carlos Roca                     $12.00   58.77   $   8.60          $   112.60   $    112.60
 2/25/2018 Carlos Roca                     $12.00   64.03   $   8.60          $   144.20   $    144.20
  3/4/2018 Carlos Roca                     $12.00   63.55   $   8.60          $   141.30   $    141.30
 3/25/2018 Carlos Roca                     $12.00   49.48   $   8.60          $    56.90   $     56.90
  4/1/2018 Carlos Roca                     $12.00   64.98   $   8.60          $   149.90   $    149.90
  4/8/2018 Carlos Roca                     $12.00   63.98   $   8.60          $   143.90   $    143.90
 4/15/2018 Carlos Roca                     $12.00   61.33   $   8.60          $   128.00   $    128.00
 4/22/2018 Carlos Roca                     $12.00   64.10   $   8.60          $   144.60   $    144.60
 4/29/2018 Carlos Roca                     $12.00   60.75   $   8.60          $   124.50   $    124.50
  5/6/2018 Carlos Roca                     $12.00   64.28   $   8.60          $   145.70   $    145.70
 5/13/2018 Carlos Roca                     $12.00   64.07   $   8.60          $   144.40   $    144.40
 5/20/2018 Carlos Roca                     $12.00   64.48   $   8.60          $   146.90   $    146.90
 5/27/2018 Carlos Roca                     $12.00   65.62   $   8.60          $   153.70   $    153.70
  6/3/2018 Carlos Roca                     $12.00   53.25   $   8.60          $    79.50   $     79.50
 6/10/2018 Carlos Roca                     $12.00   64.13   $   8.60          $   144.80   $    144.80
 6/17/2018 Carlos Roca                     $12.00   64.75   $   8.60          $   148.50   $    148.50
 6/24/2018 Carlos Roca                     $12.00   64.02   $   8.60          $   144.10   $    144.10
  7/1/2018 Carlos Roca                     $12.00   64.67   $   8.60          $   148.00   $    148.00
  7/8/2018 Carlos Roca                     $12.00   54.43   $   8.60          $    86.60   $     86.60
 7/15/2018 Carlos Roca                     $12.00   64.25   $   8.60          $   145.50   $    145.50
 7/22/2018 Carlos Roca                     $12.00   64.42   $   8.60          $   146.50   $    146.50
 7/29/2018 Carlos Roca                     $12.00   65.30   $   8.60          $   151.80   $    151.80
  8/5/2018 Carlos Roca                     $12.00   63.95   $   8.60          $   143.70   $    143.70
 8/12/2018 Carlos Roca                     $12.00   64.03   $   8.60          $   144.20   $    144.20
 8/19/2018 Carlos Roca                     $12.00   63.93   $   8.60          $   143.60   $    143.60
 8/26/2018 Carlos Roca                     $12.00   65.53   $   8.60          $   153.20   $    153.20
  9/2/2018 Carlos Roca                     $12.00   66.70   $   8.60          $   160.20   $    160.20
  9/9/2018 Carlos Roca                     $12.00   53.10   $   8.60          $    78.60   $     78.60



                                              94
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 96 of 683 PageID: 943
                                        Exhibit 2
                                New Jersey Computations


  Week                                                 State Section 7: Section 7: Total Section 7
                                       Hourly Hours/
 Ending                  Name                        Minumum Regular    Half-Time Overtime Back
                                        Rate Week
  Date                                                 Wage  Rate Due     Due       Wages Due

 9/16/2018 Carlos Roca                 $12.00   64.13   $    8.60         $   144.80   $    144.80
 9/23/2018 Carlos Roca                 $12.00   63.98   $    8.60         $   143.90   $    143.90
 9/30/2018 Carlos Roca                 $12.00   64.67   $    8.60         $   148.00   $    148.00
 10/7/2018 Carlos Roca                 $12.00   63.87   $    8.60         $   143.20   $    143.20
10/14/2018 Carlos Roca                 $12.00   64.15   $    8.60         $   144.90   $    144.90
10/21/2018 Carlos Roca                 $12.00   64.40   $    8.60         $   146.40   $    146.40
10/28/2018 Carlos Roca                 $12.00   64.65   $    8.60         $   147.90   $    147.90
 11/4/2018 Carlos Roca                 $12.00   65.38   $    8.60         $   152.30   $    152.30
11/11/2018 Carlos Roca                 $12.00   64.02   $    8.60         $   144.10   $    144.10
11/18/2018 Carlos Roca                 $12.00   64.27   $    8.60         $   145.60   $    145.60
11/25/2018 Carlos Roca                 $12.00   53.33   $    8.60         $    80.00   $     80.00
 12/2/2018 Carlos Roca                 $12.00   64.32   $    8.60         $   145.90   $    145.90
 12/9/2018 Carlos Roca                 $12.00   66.02   $    8.60         $   156.10   $    156.10
12/16/2018 Carlos Roca                 $12.00   64.05   $    8.60         $   144.30   $    144.30
12/23/2018 Carlos Roca                 $12.00   64.03   $    8.60         $   144.20   $    144.20
12/30/2018 Carlos Roca                 $12.00   48.97   $    8.60         $    53.80   $     53.80
  1/6/2019 Carlos Roca                 $12.00   51.62   $    8.85         $    69.70   $     69.70
 1/13/2019 Carlos Roca                 $12.00   64.23   $    8.85         $   145.40   $    145.40
 1/20/2019 Carlos Roca                 $12.00   60.80   $    8.85         $   124.80   $    124.80
 1/27/2019 Carlos Roca                 $12.00   64.12   $    8.85         $   144.70   $    144.70
  2/3/2019 Carlos Roca                 $12.00   64.42   $    8.85         $   146.50   $    146.50
 2/10/2019 Carlos Roca                 $12.00   64.03   $    8.85         $   144.20   $    144.20
 2/17/2019 Carlos Roca                 $12.00   63.95   $    8.85         $   143.70   $    143.70
 2/24/2019 Carlos Roca                 $12.00   64.45   $    8.85         $   146.70   $    146.70
  3/3/2019 Carlos Roca                 $12.00   64.28   $    8.85         $   145.70   $    145.70
 3/10/2019 Carlos Roca                 $12.00   64.48   $    8.85         $   146.90   $    146.90
 3/17/2019 Carlos Roca                 $12.00   66.52   $    8.85         $   159.10   $    159.10
 3/24/2019 Carlos Roca                 $12.00   64.88   $    8.85         $   149.30   $    149.30
 3/31/2019 Carlos Roca                 $12.00   64.15   $    8.85         $   144.90   $    144.90
  4/7/2019 Carlos Roca                 $12.00   64.10   $    8.85         $   144.60   $    144.60
 4/14/2019 Carlos Roca                 $12.00   64.18   $    8.85         $   145.10   $    145.10
 4/21/2019 Carlos Roca                 $12.00   66.58   $    8.85         $   159.50   $    159.50
 4/28/2019 Carlos Roca                 $12.00   64.58   $    8.85         $   147.50   $    147.50
  5/5/2019 Carlos Roca                 $12.00   66.23   $    8.85         $   157.40   $    157.40
 5/12/2019 Carlos Roca                 $12.00   67.62   $    8.85         $   165.70   $    165.70
 5/19/2019 Carlos Roca                 $12.00   67.18   $    8.85         $   163.10   $    163.10
 5/26/2019 Carlos Roca                 $12.00   67.18   $    8.85         $   163.10   $    163.10
  6/2/2019 Carlos Roca                 $12.00   53.30   $    8.85         $    79.80   $     79.80
  6/9/2019 Carlos Roca                 $12.00   65.28   $    8.85         $   151.70   $    151.70
 6/16/2019 Carlos Roca                 $12.00   64.10   $    8.85         $   144.60   $    144.60
 6/23/2019 Carlos Roca                 $12.00   65.18   $    8.85         $   151.10   $    151.10
 6/30/2019 Carlos Roca                 $12.00   64.28   $   10.00         $   145.70   $    145.70
  7/7/2019 Carlos Roca                 $12.00   53.05   $   10.00         $    78.30   $     78.30
 7/14/2019 Carlos Roca                 $12.00   64.08   $   10.00         $   144.50   $    144.50
 7/21/2019 Carlos Roca                 $12.00   63.98   $   10.00         $   143.90   $    143.90
 7/28/2019 Carlos Roca                 $12.00   64.08   $   10.00         $   144.50   $    144.50
  8/4/2019 Carlos Roca                 $12.00   64.60   $   10.00         $   147.60   $    147.60
 8/11/2019 Carlos Roca                 $12.00   64.43   $   10.00         $   146.60   $    146.60
 8/18/2019 Carlos Roca                 $12.00   64.03   $   10.00         $   144.20   $    144.20
 8/25/2019 Carlos Roca                 $12.00   64.10   $   10.00         $   144.60   $    144.60



                                          95
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 97 of 683 PageID: 944
                                          Exhibit 2
                                  New Jersey Computations


  Week                                                   State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
 Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                          Rate Week
  Date                                                   Wage  Rate Due     Due       Wages Due

  9/1/2019 Carlos Roca                   $12.00   64.15   $   10.00         $   144.90   $    144.90
  9/8/2019 Carlos Roca                   $12.00   53.33   $   10.00         $    80.00   $     80.00
 9/15/2019 Carlos Roca                   $12.00   64.08   $   10.00         $   144.50   $    144.50
 9/22/2019 Carlos Roca                   $12.00   64.17   $   10.00         $   145.00   $    145.00
 9/29/2019 Carlos Roca                   $12.00   64.48   $   10.00         $   146.90   $    146.90
 10/6/2019 Carlos Roca                   $12.00   65.33   $   10.00         $   152.00   $    152.00
10/13/2019 Carlos Roca                   $12.00   64.35   $   10.00         $   146.10   $    146.10
10/20/2019 Carlos Roca                   $12.00   64.05   $   10.00         $   144.30   $    144.30
10/27/2019 Carlos Roca                   $12.00   64.20   $   10.00         $   145.20   $    145.20
 11/3/2019 Carlos Roca                   $12.00   63.82   $   10.00         $   142.90   $    142.90
11/10/2019 Carlos Roca                   $12.00   63.95   $   10.00         $   143.70   $    143.70
11/17/2019 Carlos Roca                   $12.00   64.20   $   10.00         $   145.20   $    145.20
11/24/2019 Carlos Roca                   $12.00   60.10   $   10.00         $   120.60   $    120.60
 12/1/2019 Carlos Roca                   $12.00   53.08   $   10.00         $    78.50   $     78.50
 12/8/2019 Carlos Roca                   $12.00   53.17   $   10.00         $    79.00   $     79.00
12/15/2019 Carlos Roca                   $12.00   63.90   $   10.00         $   143.40   $    143.40
12/22/2019 Carlos Roca                   $12.00   64.13   $   10.00         $   144.80   $    144.80
12/29/2019 Carlos Roca                   $12.00   49.65   $   10.00         $    57.90   $     57.90
  1/5/2020 Carlos Roca                   $12.00   52.88   $   11.00         $    77.30   $     77.30
 1/12/2020 Carlos Roca                   $12.00   66.07   $   11.00         $   156.40   $    156.40
 1/19/2020 Carlos Roca                   $12.00   65.55   $   11.00         $   153.30   $    153.30
 1/26/2020 Carlos Roca                   $12.00   65.30   $   11.00         $   151.80   $    151.80
  2/5/2017 Carlos Rodas                  $10.00   64.08   $    8.44         $   120.42   $    120.42
 2/12/2017 Carlos Rodas                  $10.00   52.88   $    8.44         $    64.42   $     64.42
 2/19/2017 Carlos Rodas                  $10.00   64.35   $    8.44         $   121.75   $    121.75
 2/26/2017 Carlos Rodas                  $10.00   61.52   $    8.44         $   107.58   $    107.58
  3/5/2017 Carlos Rodas                  $10.00   62.88   $    8.44         $   114.42   $    114.42
 3/12/2017 Carlos Rodas                  $10.00   60.25   $    8.44         $   101.25   $    101.25
 3/19/2017 Carlos Rodas                  $10.00   41.10   $    8.44         $     5.50   $      5.50
 3/26/2017 Carlos Rodas                  $10.00   62.87   $    8.44         $   114.33   $    114.33
  4/2/2017 Carlos Rodas                  $10.00   56.57   $    8.44         $    82.83   $     82.83
  4/9/2017 Carlos Rodas                  $10.00   62.23   $    8.44         $   111.17   $    111.17
 4/16/2017 Carlos Rodas                  $10.00   63.40   $    8.44         $   117.00   $    117.00
 4/23/2017 Carlos Rodas                  $10.00   65.65   $    8.44         $   128.25   $    128.25
 4/30/2017 Carlos Rodas                  $10.00   65.48   $    8.44         $   127.42   $    127.42
  2/5/2017 Carlos Romero                 $10.00   68.70   $    8.44         $   143.50   $    143.50
 2/12/2017 Carlos Romero                 $10.00   49.48   $    8.44         $    47.42   $     47.42
 2/19/2017 Carlos Romero                 $10.00   71.60   $    8.44         $   158.00   $    158.00
 2/26/2017 Carlos Romero                 $10.00   69.43   $    8.44         $   147.17   $    147.17
  3/5/2017 Carlos Romero                 $10.00   68.00   $    8.44         $   140.00   $    140.00
 3/12/2017 Carlos Romero                 $10.00   72.05   $    8.44         $   160.25   $    160.25
 3/19/2017 Carlos Romero                 $10.00   56.97   $    8.44         $    84.83   $     84.83
 3/26/2017 Carlos Romero                 $10.00   67.18   $    8.44         $   135.92   $    135.92
  4/2/2017 Carlos Romero                 $10.00   63.73   $    8.44         $   118.67   $    118.67
  4/9/2017 Carlos Romero                 $10.00   65.18   $    8.44         $   125.92   $    125.92
 4/16/2017 Carlos Romero                 $10.00   68.98   $    8.44         $   144.92   $    144.92
 4/23/2017 Carlos Romero                 $10.00   68.82   $    8.44         $   144.08   $    144.08
 4/30/2017 Carlos Romero                 $10.00   68.93   $    8.44         $   144.67   $    144.67
  5/7/2017 Carlos Romero                 $10.00   66.60   $    8.44         $   133.00   $    133.00
 5/14/2017 Carlos Romero                 $10.00   66.65   $    8.44         $   133.25   $    133.25



                                            96
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 98 of 683 PageID: 945
                                          Exhibit 2
                                  New Jersey Computations


  Week                                                   State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
 Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                          Rate Week
  Date                                                   Wage  Rate Due     Due       Wages Due

 5/21/2017 Carlos Romero                 $10.00   70.28   $   8.44          $   151.42   $    151.42
 5/28/2017 Carlos Romero                 $10.00   69.87   $   8.44          $   149.33   $    149.33
  6/4/2017 Carlos Romero                 $10.00   58.17   $   8.44          $    90.83   $     90.83
 6/11/2017 Carlos Romero                 $10.00   70.03   $   8.44          $   150.17   $    150.17
 6/18/2017 Carlos Romero                 $10.00   58.63   $   8.44          $    93.17   $     93.17
 6/25/2017 Carlos Romero                 $10.00   70.35   $   8.44          $   151.75   $    151.75
  7/2/2017 Carlos Romero                 $10.00   69.60   $   8.44          $   148.00   $    148.00
  7/9/2017 Carlos Romero                 $10.00   56.03   $   8.44          $    80.17   $     80.17
 7/16/2017 Carlos Romero                 $10.00   43.75   $   8.44          $    18.75   $     18.75
 7/23/2017 Carlos Romero                 $10.00   58.07   $   8.44          $    90.33   $     90.33
 7/30/2017 Carlos Romero                 $10.00   67.98   $   8.44          $   139.92   $    139.92
  8/6/2017 Carlos Romero                 $10.00   64.30   $   8.44          $   121.50   $    121.50
 8/13/2017 Carlos Romero                 $10.00   67.47   $   8.44          $   137.33   $    137.33
 8/20/2017 Carlos Romero                 $10.00   54.42   $   8.44          $    72.08   $     72.08
 8/27/2017 Carlos Romero                 $10.00   68.13   $   8.44          $   140.67   $    140.67
  9/3/2017 Carlos Romero                 $10.00   68.27   $   8.44          $   141.33   $    141.33
 9/10/2017 Carlos Romero                 $10.00   55.73   $   8.44          $    78.67   $     78.67
 9/17/2017 Carlos Romero                 $10.00   63.35   $   8.44          $   116.75   $    116.75
 9/24/2017 Carlos Romero                 $10.00   64.52   $   8.44          $   122.58   $    122.58
 10/1/2017 Carlos Romero                 $10.00   55.33   $   8.44          $    76.67   $     76.67
 10/8/2017 Carlos Romero                 $10.00   63.98   $   8.44          $   119.92   $    119.92
10/15/2017 Carlos Romero                 $10.00   66.15   $   8.44          $   130.75   $    130.75
10/22/2017 Carlos Romero                 $10.00   66.93   $   8.44          $   134.67   $    134.67
10/29/2017 Carlos Romero                 $10.00   66.33   $   8.44          $   131.67   $    131.67
 11/5/2017 Carlos Romero                 $10.00   64.27   $   8.44          $   121.33   $    121.33
11/12/2017 Carlos Romero                 $10.00   63.73   $   8.44          $   118.67   $    118.67
11/19/2017 Carlos Romero                 $10.00   52.57   $   8.44          $    62.83   $     62.83
11/26/2017 Carlos Romero                 $10.00   42.90   $   8.44          $    14.50   $     14.50
 12/3/2017 Carlos Romero                 $10.00   66.00   $   8.44          $   130.00   $    130.00
12/10/2017 Carlos Romero                 $10.00   64.40   $   8.44          $   122.00   $    122.00
12/17/2017 Carlos Romero                 $10.00   64.65   $   8.44          $   123.25   $    123.25
12/24/2017 Carlos Romero                 $10.00   66.02   $   8.44          $   130.08   $    130.08
12/31/2017 Carlos Romero                 $10.00   55.50   $   8.44          $    77.50   $     77.50
  1/7/2018 Carlos Romero                 $10.00   41.90   $   8.60          $     9.50   $      9.50
 1/14/2018 Carlos Romero                 $10.00   63.85   $   8.60          $   119.25   $    119.25
 1/21/2018 Carlos Romero                 $10.00   43.92   $   8.60          $    19.58   $     19.58
 1/28/2018 Carlos Romero                 $10.00   66.25   $   8.60          $   131.25   $    131.25
  2/4/2018 Carlos Romero                 $10.00   66.67   $   8.60          $   133.33   $    133.33
 2/11/2018 Carlos Romero                 $10.00   55.20   $   8.60          $    76.00   $     76.00
 2/18/2018 Carlos Romero                 $10.00   67.38   $   8.60          $   136.92   $    136.92
 2/25/2018 Carlos Romero                 $10.00   66.30   $   8.60          $   131.50   $    131.50
  3/4/2018 Carlos Romero                 $10.00   65.27   $   8.60          $   126.33   $    126.33
  4/1/2018 Carlos Romero                 $10.00   56.38   $   8.60          $    81.92   $     81.92
  4/8/2018 Carlos Romero                 $10.00   66.88   $   8.60          $   134.42   $    134.42
 4/15/2018 Carlos Romero                 $10.00   67.77   $   8.60          $   138.83   $    138.83
 4/22/2018 Carlos Romero                 $10.00   61.63   $   8.60          $   108.17   $    108.17
 4/29/2018 Carlos Romero                 $10.00   66.18   $   8.60          $   130.92   $    130.92
  5/6/2018 Carlos Romero                 $10.00   66.68   $   8.60          $   133.42   $    133.42
 5/13/2018 Carlos Romero                 $10.00   67.95   $   8.60          $   139.75   $    139.75
 5/20/2018 Carlos Romero                 $10.00   61.88   $   8.60          $   109.42   $    109.42



                                            97
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 99 of 683 PageID: 946
                                          Exhibit 2
                                  New Jersey Computations


  Week                                                   State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
 Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                          Rate Week
  Date                                                   Wage  Rate Due     Due       Wages Due

 5/27/2018 Carlos Romero                 $10.00   75.90   $    8.60               $   179.50   $   179.50
  6/3/2018 Carlos Romero                 $10.00   56.30   $    8.60               $    81.50   $    81.50
 6/10/2018 Carlos Romero                 $10.00   67.75   $    8.60               $   138.75   $   138.75
 6/17/2018 Carlos Romero                 $10.00   66.00   $    8.60               $   130.00   $   130.00
 6/24/2018 Carlos Romero                 $10.00   52.90   $    8.60               $    64.50   $    64.50
  7/1/2018 Carlos Romero                 $10.00   62.17   $    8.60               $   110.83   $   110.83
  7/8/2018 Carlos Romero                 $10.00   56.72   $    8.60               $    83.58   $    83.58
 7/15/2018 Carlos Romero                 $10.00   66.77   $    8.60               $   133.83   $   133.83
 7/22/2018 Carlos Romero                 $10.00   71.52   $    8.60               $   157.58   $   157.58
 7/29/2018 Carlos Romero                 $10.00   56.33   $    8.60               $    81.67   $    81.67
  8/5/2018 Carlos Romero                 $10.00   68.02   $    8.60               $   140.08   $   140.08
 8/12/2018 Carlos Romero                 $10.00   60.25   $    8.60               $   101.25   $   101.25
 8/19/2018 Carlos Romero                 $10.00   67.22   $    8.60               $   136.08   $   136.08
 8/26/2018 Carlos Romero                 $10.00   67.83   $    8.60               $   139.17   $   139.17
  9/2/2018 Carlos Romero                 $10.00   66.30   $    8.60               $   131.50   $   131.50
  9/9/2018 Carlos Romero                 $10.00   54.53   $    8.60               $    72.67   $    72.67
 9/16/2018 Carlos Romero                 $10.00   67.03   $    8.60               $   135.17   $   135.17
 9/23/2018 Carlos Romero                 $10.00   61.48   $    8.60               $   107.42   $   107.42
 9/30/2018 Carlos Romero                 $10.00   56.37   $    8.60               $    81.83   $    81.83
 10/7/2018 Carlos Romero                 $10.00   67.18   $    8.60               $   135.92   $   135.92
10/14/2018 Carlos Romero                 $10.00   43.43   $    8.60               $    17.17   $    17.17
10/21/2018 Carlos Romero                 $10.00   50.97   $    8.60               $    54.83   $    54.83
10/28/2018 Carlos Romero                 $10.00   66.75   $    8.60               $   133.75   $   133.75
 11/4/2018 Carlos Romero                 $10.00   67.52   $    8.60               $   137.58   $   137.58
11/11/2018 Carlos Romero                 $10.00   67.73   $    8.60               $   138.67   $   138.67
11/18/2018 Carlos Romero                 $10.00   61.22   $    8.60               $   106.08   $   106.08
11/25/2018 Carlos Romero                 $10.00   56.12   $    8.60               $    80.58   $    80.58
 12/2/2018 Carlos Romero                 $10.00   67.80   $    8.60               $   139.00   $   139.00
 12/9/2018 Carlos Romero                 $10.00   68.20   $    8.60               $   141.00   $   141.00
12/16/2018 Carlos Romero                 $10.00   67.57   $    8.60               $   137.83   $   137.83
12/23/2018 Carlos Romero                 $10.00   67.23   $    8.60               $   136.17   $   136.17
12/30/2018 Carlos Romero                 $10.00   52.52   $    8.60               $    62.58   $    62.58
  1/6/2019 Carlos Romero                 $10.00   55.02   $    8.85               $    75.08   $    75.08
 1/13/2019 Carlos Romero                 $10.00   67.20   $    8.85               $   136.00   $   136.00
 1/20/2019 Carlos Romero                 $10.00   68.67   $    8.85               $   143.33   $   143.33
 1/27/2019 Carlos Romero                 $10.00   49.18   $    8.85               $    45.92   $    45.92
  2/3/2019 Carlos Romero                 $10.00   67.07   $    8.85               $   135.33   $   135.33
 2/10/2019 Carlos Romero                 $10.00   66.75   $    8.85               $   133.75   $   133.75
 2/17/2019 Carlos Romero                 $10.00   66.58   $    8.85               $   132.92   $   132.92
 2/24/2019 Carlos Romero                 $10.00   67.40   $    8.85               $   137.00   $   137.00
  3/3/2019 Carlos Romero                 $10.00   55.87   $    8.85               $    79.33   $    79.33
 3/10/2019 Carlos Romero                 $10.00   56.78   $    8.85               $    83.92   $    83.92
11/24/2019 Carlos Romero                 $10.00   60.00   $   10.00               $   100.00   $   100.00
 12/1/2019 Carlos Romero                 $10.00   52.43   $   10.00               $    62.17   $    62.17
 12/8/2019 Carlos Romero                 $10.00   57.02   $   10.00               $    85.08   $    85.08
12/15/2019 Carlos Romero                 $10.00   59.90   $   10.00               $    99.50   $    99.50
12/22/2019 Carlos Romero                 $10.00   60.02   $   10.00               $   100.08   $   100.08
12/29/2019 Carlos Romero                 $10.00   44.00   $   10.00               $    20.00   $    20.00
  1/5/2020 Carlos Romero                 $10.00   53.90   $   11.00   $   53.90   $    76.45   $   130.35
 1/12/2020 Carlos Romero                 $10.00   59.97   $   11.00   $   59.97   $   109.82   $   169.78



                                            98
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 100 of 683 PageID: 947
                                          Exhibit 2
                                  New Jersey Computations


  Week                                                   State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
 Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                          Rate Week
  Date                                                   Wage  Rate Due     Due       Wages Due

 1/19/2020 Carlos Romero                 $10.00   59.52   $   11.00   $   59.52   $   107.34   $   166.86
 1/26/2020 Carlos Romero                 $10.00   62.10   $   11.00   $   62.10   $   121.55   $   183.65
 4/29/2018 Carlos Suarez                 $11.50   53.18   $    8.60               $    75.80   $    75.80
  5/6/2018 Carlos Suarez                 $11.50   53.25   $    8.60               $    76.19   $    76.19
 5/20/2018 Carlos Suarez                 $11.50   62.40   $    8.60               $   128.80   $   128.80
 5/27/2018 Carlos Suarez                 $11.50   45.95   $    8.60               $    34.21   $    34.21
  6/3/2018 Carlos Suarez                 $11.50   53.58   $    8.60               $    78.10   $    78.10
 6/10/2018 Carlos Suarez                 $11.50   60.58   $    8.60               $   118.35   $   118.35
12/23/2018 Carlos Suero                  $11.00   54.10   $    8.60               $    77.55   $    77.55
12/30/2018 Carlos Suero                  $11.00   44.25   $    8.60               $    23.38   $    23.38
  1/6/2019 Carlos Suero                  $11.00   46.33   $    8.85               $    34.83   $    34.83
 1/13/2019 Carlos Suero                  $11.00   58.62   $    8.85               $   102.39   $   102.39
 1/20/2019 Carlos Suero                  $11.00   57.45   $    8.85               $    95.98   $    95.98
 1/27/2019 Carlos Suero                  $11.00   47.92   $    8.85               $    43.54   $    43.54
  2/3/2019 Carlos Suero                  $11.00   58.40   $    8.85               $   101.20   $   101.20
 2/10/2019 Carlos Suero                  $11.00   58.42   $    8.85               $   101.29   $   101.29
 2/17/2019 Carlos Suero                  $11.00   58.68   $    8.85               $   102.76   $   102.76
 2/24/2019 Carlos Suero                  $11.00   48.40   $    8.85               $    46.20   $    46.20
  3/3/2019 Carlos Suero                  $11.00   58.35   $    8.85               $   100.93   $   100.93
 3/10/2019 Carlos Suero                  $11.00   55.80   $    8.85               $    86.90   $    86.90
 3/17/2019 Carlos Suero                  $11.00   57.93   $    8.85               $    98.63   $    98.63
 3/24/2019 Carlos Suero                  $11.00   57.82   $    8.85               $    97.99   $    97.99
 3/31/2019 Carlos Suero                  $11.00   50.22   $    8.85               $    56.19   $    56.19
  4/7/2019 Carlos Suero                  $11.00   57.80   $    8.85               $    97.90   $    97.90
 4/14/2019 Carlos Suero                  $11.00   53.00   $    8.85               $    71.50   $    71.50
 4/21/2019 Carlos Suero                  $11.00   54.33   $    8.85               $    78.83   $    78.83
 4/28/2019 Carlos Suero                  $11.00   48.97   $    8.85               $    49.32   $    49.32
  5/5/2019 Carlos Suero                  $11.00   58.77   $    8.85               $   103.22   $   103.22
 5/12/2019 Carlos Suero                  $11.00   50.68   $    8.85               $    58.76   $    58.76
 5/19/2019 Carlos Suero                  $11.00   48.72   $    8.85               $    47.94   $    47.94
 5/26/2019 Carlos Suero                  $11.00   58.53   $    8.85               $   101.93   $   101.93
  6/2/2019 Carlos Suero                  $11.00   43.70   $    8.85               $    20.35   $    20.35
  6/9/2019 Carlos Suero                  $11.00   58.48   $    8.85               $   101.66   $   101.66
 6/23/2019 Carlos Suero                  $11.00   56.92   $    8.85               $    93.04   $    93.04
 6/30/2019 Carlos Suero                  $11.00   50.52   $   10.00               $    57.84   $    57.84
  7/7/2019 Carlos Suero                  $11.00   47.62   $   10.00               $    41.89   $    41.89
 7/14/2019 Carlos Suero                  $11.00   45.00   $   10.00               $    27.50   $    27.50
 7/21/2019 Carlos Suero                  $11.00   47.65   $   10.00               $    42.08   $    42.08
 7/28/2019 Carlos Suero                  $11.00   58.60   $   10.00               $   102.30   $   102.30
 8/11/2019 Carlos Suero                  $11.00   48.42   $   10.00               $    46.29   $    46.29
 8/18/2019 Carlos Suero                  $11.00   46.47   $   10.00               $    35.57   $    35.57
  9/1/2019 Carlos Suero                  $11.00   49.02   $   10.00               $    49.59   $    49.59
  9/8/2019 Carlos Suero                  $11.00   47.95   $   10.00               $    43.72   $    43.72
 9/15/2019 Carlos Suero                  $11.00   56.20   $   10.00               $    89.10   $    89.10
 9/22/2019 Carlos Suero                  $11.00   47.57   $   10.00               $    41.62   $    41.62
 9/29/2019 Carlos Suero                  $11.00   56.55   $   10.00               $    91.03   $    91.03
 10/6/2019 Carlos Suero                  $11.00   46.48   $   10.00               $    35.66   $    35.66
10/13/2019 Carlos Suero                  $11.00   54.78   $   10.00               $    81.31   $    81.31
10/20/2019 Carlos Suero                  $11.00   45.25   $   10.00               $    28.88   $    28.88
10/27/2019 Carlos Suero                  $11.00   60.47   $   10.00               $   112.57   $   112.57



                                            99
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 101 of 683 PageID: 948
                                                Exhibit 2
                                        New Jersey Computations


  Week                                                         State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
 Ending                       Name                           Minumum Regular    Half-Time Overtime Back
                                                Rate Week
  Date                                                         Wage  Rate Due     Due       Wages Due

11/10/2019 Carlos Suero                        $11.00   58.07   $   10.00               $    99.37   $    99.37
11/17/2019 Carlos Suero                        $11.00   47.48   $   10.00               $    41.16   $    41.16
11/24/2019 Carlos Suero                        $11.00   54.95   $   10.00               $    82.23   $    82.23
 12/8/2019 Carlos Suero                        $11.00   58.27   $   10.00               $   100.47   $   100.47
12/15/2019 Carlos Suero                        $11.00   57.12   $   10.00               $    94.14   $    94.14
12/22/2019 Carlos Suero                        $11.00   59.27   $   10.00               $   105.97   $   105.97
12/29/2019 Carlos Suero                        $11.00   44.25   $   10.00               $    23.38   $    23.38
  1/5/2020 Carlos Suero                        $11.00   49.13   $   11.00               $    50.23   $    50.23
 1/12/2020 Carlos Suero                        $11.00   56.60   $   11.00               $    91.30   $    91.30
 1/19/2020 Carlos Suero                        $11.00   48.32   $   11.00               $    45.74   $    45.74
 1/26/2020 Carlos Suero                        $11.00   58.33   $   11.00               $   100.83   $   100.83
12/29/2019 Carlos Tlacotia Chico               $10.00   47.43   $   10.00               $    37.17   $    37.17
  1/5/2020 Carlos Tlacotia Chico               $10.00   51.22   $   11.00   $   51.22   $    61.69   $   112.91
 1/12/2020 Carlos Tlacotia Chico               $10.00   61.38   $   11.00   $   61.38   $   117.61   $   178.99
 1/19/2020 Carlos Tlacotia Chico               $10.00   61.67   $   11.00   $   61.67   $   119.17   $   180.83
 1/26/2020 Carlos Tlacotia Chico               $10.00   61.67   $   11.00   $   61.67   $   119.17   $   180.83
  2/5/2017 Carlos Yaurimo                      $10.00   65.70   $    8.44               $   128.50   $   128.50
 2/12/2017 Carlos Yaurimo                      $10.00   52.72   $    8.44               $    63.58   $    63.58
 2/19/2017 Carlos Yaurimo                      $10.00   60.75   $    8.44               $   103.75   $   103.75
 2/26/2017 Carlos Yaurimo                      $10.00   66.88   $    8.44               $   134.42   $   134.42
  3/5/2017 Carlos Yaurimo                      $10.00   67.13   $    8.44               $   135.67   $   135.67
 3/12/2017 Carlos Yaurimo                      $10.00   64.97   $    8.44               $   124.83   $   124.83
 3/19/2017 Carlos Yaurimo                      $10.00   53.38   $    8.44               $    66.92   $    66.92
 3/26/2017 Carlos Yaurimo                      $10.00   67.47   $    8.44               $   137.33   $   137.33
  4/2/2017 Carlos Yaurimo                      $10.00   61.25   $    8.44               $   106.25   $   106.25
  4/9/2017 Carlos Yaurimo                      $10.00   52.08   $    8.44               $    60.42   $    60.42
 4/16/2017 Carlos Yaurimo                      $10.00   64.93   $    8.44               $   124.67   $   124.67
 4/23/2017 Carlos Yaurimo                      $10.00   64.67   $    8.44               $   123.33   $   123.33
 4/30/2017 Carlos Yaurimo                      $10.00   66.17   $    8.44               $   130.83   $   130.83
  5/7/2017 Carlos Yaurimo                      $10.00   64.45   $    8.44               $   122.25   $   122.25
 5/14/2017 Carlos Yaurimo                      $10.00   53.42   $    8.44               $    67.08   $    67.08
 5/21/2017 Carlos Yaurimo                      $10.00   66.50   $    8.44               $   132.50   $   132.50
 5/28/2017 Carlos Yaurimo                      $10.00   67.27   $    8.44               $   136.33   $   136.33
  6/4/2017 Carlos Yaurimo                      $10.00   65.40   $    8.44               $   127.00   $   127.00
 6/11/2017 Carlos Yaurimo                      $10.00   64.05   $    8.44               $   120.25   $   120.25
10/27/2019 Cesar Ariel Holguin Diaz             $9.50   70.47   $   10.00   $   35.23   $   152.33   $   187.57
 11/3/2019 Cesar Ariel Holguin Diaz             $9.50   70.67   $   10.00   $   35.33   $   153.33   $   188.67
11/10/2019 Cesar Ariel Holguin Diaz             $9.50   66.73   $   10.00   $   33.37   $   133.67   $   167.03
11/17/2019 Cesar Ariel Holguin Diaz             $9.50   48.53   $   10.00   $   24.27   $    42.67   $    66.93
 12/3/2017 Cesar Ceballos- Car Washer          $11.00   66.45   $    8.44               $   145.48   $   145.48
 12/1/2019 Cesar Contreras Colin               $11.00   46.65   $   10.00               $    36.58   $    36.58
 12/8/2019 Cesar Contreras Colin               $11.00   58.48   $   10.00               $   101.66   $   101.66
12/15/2019 Cesar Contreras Colin               $11.00   60.35   $   10.00               $   111.93   $   111.93
12/22/2019 Cesar Contreras Colin               $11.00   59.98   $   10.00               $   109.91   $   109.91
12/29/2019 Cesar Contreras Colin               $11.00   51.73   $   10.00               $    64.53   $    64.53
  1/5/2020 Cesar Contreras Colin               $11.00   49.98   $   11.00               $    54.91   $    54.91
 1/12/2020 Cesar Contreras Colin               $11.00   57.63   $   11.00               $    96.98   $    96.98
 1/19/2020 Cesar Contreras Colin               $11.00   59.92   $   11.00               $   109.54   $   109.54
 1/26/2020 Cesar Contreras Colin               $11.00   59.60   $   11.00               $   107.80   $   107.80
 9/16/2018 Cesar Perdomo                        $9.50   51.70   $    8.60               $    55.58   $    55.58



                                                 100
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 102 of 683 PageID: 949
                                                         Exhibit 2
                                                 New Jersey Computations


  Week                                                                  State Section 7: Section 7: Total Section 7
                                                        Hourly Hours/
 Ending                      Name                                     Minumum Regular    Half-Time Overtime Back
                                                         Rate Week
  Date                                                                  Wage  Rate Due     Due       Wages Due

 9/23/2018 Cesar Perdomo                                 $9.50   40.22   $   8.60          $     1.03   $      1.03
 2/26/2017 Charles Rivera                               $10.50   46.90   $   8.44          $    36.23   $     36.23
  3/5/2017 Charles Rivera                               $10.50   43.58   $   8.44          $    18.81   $     18.81
 3/12/2017 Charles Rivera                               $10.50   48.08   $   8.44          $    42.44   $     42.44
 3/26/2017 Charles Rivera                               $10.50   47.40   $   8.44          $    38.85   $     38.85
  4/2/2017 Charles Rivera                               $10.50   48.58   $   8.44          $    45.06   $     45.06
  4/9/2017 Charles Rivera                               $10.50   49.82   $   8.44          $    51.54   $     51.54
 4/16/2017 Charles Rivera                               $10.50   47.93   $   8.44          $    41.65   $     41.65
 4/23/2017 Charles Rivera                               $10.50   46.50   $   8.44          $    34.13   $     34.13
 4/30/2017 Charles Rivera                               $10.50   47.47   $   8.44          $    39.20   $     39.20
  5/7/2017 Charles Rivera                               $10.50   45.25   $   8.44          $    27.56   $     27.56
 5/14/2017 Charles Rivera                               $10.50   51.33   $   8.44          $    59.50   $     59.50
 5/21/2017 Charles Rivera                               $10.50   42.58   $   8.44          $    13.56   $     13.56
 5/28/2017 Charles Rivera                               $10.50   50.67   $   8.44          $    56.00   $     56.00
  6/4/2017 Charles Rivera                               $10.50   49.62   $   8.44          $    50.49   $     50.49
 6/11/2017 Charles Rivera                               $10.50   49.70   $   8.44          $    50.93   $     50.93
 6/18/2017 Charles Rivera                               $10.50   57.85   $   8.44          $    93.71   $     93.71
 6/25/2017 Charles Rivera                               $10.50   41.98   $   8.44          $    10.41   $     10.41
  7/2/2017 Charles Rivera                               $10.50   46.47   $   8.44          $    33.95   $     33.95
  8/6/2017 Charles Rivera                               $10.50   45.10   $   8.44          $    26.78   $     26.78
 8/27/2017 Charles Rivera                               $10.50   42.78   $   8.44          $    14.61   $     14.61
  9/3/2017 Charles Rivera                               $10.50   45.15   $   8.44          $    27.04   $     27.04
 9/17/2017 Charles Rivera                               $10.50   46.27   $   8.44          $    32.90   $     32.90
 9/24/2017 Charles Rivera                               $10.50   42.68   $   8.44          $    14.09   $     14.09
 10/1/2017 Charles Rivera                               $10.50   44.68   $   8.44          $    24.59   $     24.59
 10/8/2017 Charles Rivera                               $10.50   40.33   $   8.44          $     1.75   $      1.75
10/15/2017 Charles Rivera                               $10.50   40.65   $   8.44          $     3.41   $      3.41
10/29/2017 Charles Rivera                               $10.50   44.15   $   8.44          $    21.79   $     21.79
 11/5/2017 Charles Rivera                               $10.50   43.68   $   8.44          $    19.34   $     19.34
11/12/2017 Charles Rivera                               $10.50   44.92   $   8.44          $    25.81   $     25.81
12/10/2017 Charles Rivera                               $10.50   44.47   $   8.44          $    23.45   $     23.45
12/17/2017 Charles Rivera                               $10.50   44.73   $   8.44          $    24.85   $     24.85
12/24/2017 Charles Rivera                               $10.50   48.43   $   8.44          $    44.27   $     44.27
 1/14/2018 Charles Rivera                               $10.50   45.00   $   8.60          $    26.25   $     26.25
 1/21/2018 Charles Rivera                               $10.50   50.20   $   8.60          $    53.55   $     53.55
 1/28/2018 Charles Rivera                               $10.50   44.82   $   8.60          $    25.29   $     25.29
  2/4/2018 Charles Rivera                               $10.50   40.30   $   8.60          $     1.57   $      1.57
 2/11/2018 Charles Rivera                               $10.50   45.50   $   8.60          $    28.88   $     28.88
 8/13/2017 Chris James                                  $10.00   49.63   $   8.44          $    48.17   $     48.17
 8/20/2017 Chris James                                  $10.00   42.70   $   8.44          $    13.50   $     13.50
 9/17/2017 Chris James                                  $10.00   40.97   $   8.44          $     4.83   $      4.83
 9/24/2017 Chris James                                  $10.00   43.03   $   8.44          $    15.17   $     15.17
 10/1/2017 Chris James                                  $10.00   43.18   $   8.44          $    15.92   $     15.92
 10/8/2017 Chris James                                  $10.00   42.00   $   8.44          $    10.00   $     10.00
10/15/2017 Chris James                                  $10.00   42.02   $   8.44          $    10.08   $     10.08
10/22/2017 Chris James                                  $10.00   42.35   $   8.44          $    11.75   $     11.75
  7/1/2018 Christian Cespedes                            $9.00   76.43   $   8.60          $   163.95   $    163.95
  7/8/2018 Christian De Jesus Cespedes Germoso          $10.00   55.68   $   8.60          $    78.42   $     78.42
 7/15/2018 Christian De Jesus Cespedes Germoso          $10.00   66.68   $   8.60          $   133.42   $    133.42
 7/22/2018 Christian De Jesus Cespedes Germoso          $10.00   67.15   $   8.60          $   135.75   $    135.75



                                                          101
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 103 of 683 PageID: 950
                                                         Exhibit 2
                                                 New Jersey Computations


  Week                                                                  State Section 7: Section 7: Total Section 7
                                                        Hourly Hours/
 Ending                      Name                                     Minumum Regular    Half-Time Overtime Back
                                                         Rate Week
  Date                                                                  Wage  Rate Due     Due       Wages Due

 7/29/2018 Christian De Jesus Cespedes Germoso          $10.00   67.13   $    8.60         $   135.67   $    135.67
  8/5/2018 Christian De Jesus Cespedes Germoso          $10.00   66.40   $    8.60         $   132.00   $    132.00
 8/12/2018 Christian De Jesus Cespedes Germoso          $10.00   53.22   $    8.60         $    66.08   $     66.08
 8/19/2018 Christian De Jesus Cespedes Germoso          $10.00   76.73   $    8.60         $   183.67   $    183.67
 8/26/2018 Christian De Jesus Cespedes Germoso          $10.00   65.55   $    8.60         $   127.75   $    127.75
  9/2/2018 Christian De Jesus Cespedes Germoso          $10.00   67.78   $    8.60         $   138.92   $    138.92
  9/9/2018 Christian De Jesus Cespedes Germoso          $10.00   55.85   $    8.60         $    79.25   $     79.25
 9/16/2018 Christian De Jesus Cespedes Germoso          $10.00   70.88   $    8.60         $   154.42   $    154.42
 9/23/2018 Christian De Jesus Cespedes Germoso          $10.00   71.12   $    8.60         $   155.58   $    155.58
 9/30/2018 Christian De Jesus Cespedes Germoso          $10.00   69.37   $    8.60         $   146.83   $    146.83
 10/7/2018 Christian De Jesus Cespedes Germoso          $10.00   75.53   $    8.60         $   177.67   $    177.67
10/14/2018 Christian De Jesus Cespedes Germoso          $10.00   62.87   $    8.60         $   114.33   $    114.33
10/21/2018 Christian De Jesus Cespedes Germoso          $10.00   69.72   $    8.60         $   148.58   $    148.58
10/28/2018 Christian De Jesus Cespedes Germoso          $10.00   73.85   $    8.60         $   169.25   $    169.25
 11/4/2018 Christian De Jesus Cespedes Germoso          $10.00   60.43   $    8.60         $   102.17   $    102.17
11/11/2018 Christian De Jesus Cespedes Germoso          $10.00   72.67   $    8.60         $   163.33   $    163.33
11/18/2018 Christian De Jesus Cespedes Germoso          $10.00   72.98   $    8.60         $   164.92   $    164.92
11/25/2018 Christian De Jesus Cespedes Germoso          $10.00   58.62   $    8.60         $    93.08   $     93.08
 12/2/2018 Christian De Jesus Cespedes Germoso          $10.00   53.87   $    8.60         $    69.33   $     69.33
 12/9/2018 Christian De Jesus Cespedes Germoso          $10.00   72.18   $    8.60         $   160.92   $    160.92
12/16/2018 Christian De Jesus Cespedes Germoso          $10.00   74.38   $    8.60         $   171.92   $    171.92
12/23/2018 Christian De Jesus Cespedes Germoso          $10.00   60.12   $    8.60         $   100.58   $    100.58
12/30/2018 Christian De Jesus Cespedes Germoso          $10.00   54.15   $    8.60         $    70.75   $     70.75
  1/6/2019 Christian De Jesus Cespedes Germoso          $10.00   52.00   $    8.85         $    60.00   $     60.00
 1/13/2019 Christian De Jesus Cespedes Germoso          $10.00   73.78   $    8.85         $   168.92   $    168.92
 1/20/2019 Christian De Jesus Cespedes Germoso          $10.00   72.25   $    8.85         $   161.25   $    161.25
 1/27/2019 Christian De Jesus Cespedes Germoso          $10.00   69.85   $    8.85         $   149.25   $    149.25
  2/3/2019 Christian De Jesus Cespedes Germoso          $10.00   62.15   $    8.85         $   110.75   $    110.75
 2/10/2019 Christian De Jesus Cespedes Germoso          $10.00   63.78   $    8.85         $   118.92   $    118.92
 2/17/2019 Christian De Jesus Cespedes Germoso          $10.00   77.42   $    8.85         $   187.08   $    187.08
 2/24/2019 Christian De Jesus Cespedes Germoso          $10.00   74.12   $    8.85         $   170.58   $    170.58
  3/3/2019 Christian De Jesus Cespedes Germoso          $10.00   78.57   $    8.85         $   192.83   $    192.83
 3/10/2019 Christian De Jesus Cespedes Germoso          $10.00   77.05   $    8.85         $   185.25   $    185.25
 3/17/2019 Christian De Jesus Cespedes Germoso          $10.00   75.55   $    8.85         $   177.75   $    177.75
 3/24/2019 Christian De Jesus Cespedes Germoso          $10.00   73.30   $    8.85         $   166.50   $    166.50
 3/31/2019 Christian De Jesus Cespedes Germoso          $10.00   80.32   $    8.85         $   201.58   $    201.58
  4/7/2019 Christian De Jesus Cespedes Germoso          $10.00   74.80   $    8.85         $   174.00   $    174.00
 4/14/2019 Christian De Jesus Cespedes Germoso          $10.00   61.28   $    8.85         $   106.42   $    106.42
 4/21/2019 Christian De Jesus Cespedes Germoso          $10.00   75.23   $    8.85         $   176.17   $    176.17
 4/28/2019 Christian De Jesus Cespedes Germoso          $10.00   76.18   $    8.85         $   180.92   $    180.92
  5/5/2019 Christian De Jesus Cespedes Germoso          $10.00   66.22   $    8.85         $   131.08   $    131.08
 5/12/2019 Christian De Jesus Cespedes Germoso          $10.00   72.70   $    8.85         $   163.50   $    163.50
 5/19/2019 Christian De Jesus Cespedes Germoso          $10.00   70.33   $    8.85         $   151.67   $    151.67
 5/26/2019 Christian De Jesus Cespedes Germoso          $10.00   75.83   $    8.85         $   179.17   $    179.17
  6/2/2019 Christian De Jesus Cespedes Germoso          $10.00   61.25   $    8.85         $   106.25   $    106.25
  6/9/2019 Christian De Jesus Cespedes Germoso          $10.00   72.30   $    8.85         $   161.50   $    161.50
 6/16/2019 Christian De Jesus Cespedes Germoso          $10.00   70.38   $    8.85         $   151.92   $    151.92
 6/23/2019 Christian De Jesus Cespedes Germoso          $10.00   73.33   $    8.85         $   166.67   $    166.67
 6/30/2019 Christian De Jesus Cespedes Germoso          $10.00   70.90   $   10.00         $   154.50   $    154.50
  7/7/2019 Christian De Jesus Cespedes Germoso          $10.00   52.43   $   10.00         $    62.17   $     62.17



                                                          102
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 104 of 683 PageID: 951
                                                         Exhibit 2
                                                 New Jersey Computations


  Week                                                                  State Section 7: Section 7: Total Section 7
                                                        Hourly Hours/
 Ending                      Name                                     Minumum Regular    Half-Time Overtime Back
                                                         Rate Week
  Date                                                                  Wage  Rate Due     Due       Wages Due

 7/14/2019 Christian De Jesus Cespedes Germoso          $10.00   65.03   $   10.00               $   125.17   $   125.17
 7/21/2019 Christian De Jesus Cespedes Germoso          $10.00   65.65   $   10.00               $   128.25   $   128.25
 7/28/2019 Christian De Jesus Cespedes Germoso          $10.00   71.50   $   10.00               $   157.50   $   157.50
  8/4/2019 Christian De Jesus Cespedes Germoso          $10.00   65.52   $   10.00               $   127.58   $   127.58
 8/11/2019 Christian De Jesus Cespedes Germoso          $10.00   66.22   $   10.00               $   131.08   $   131.08
 8/18/2019 Christian De Jesus Cespedes Germoso          $10.00   64.50   $   10.00               $   122.50   $   122.50
 8/25/2019 Christian De Jesus Cespedes Germoso          $10.00   67.38   $   10.00               $   136.92   $   136.92
  9/1/2019 Christian De Jesus Cespedes Germoso          $10.00   69.93   $   10.00               $   149.67   $   149.67
  9/8/2019 Christian De Jesus Cespedes Germoso          $10.00   55.18   $   10.00               $    75.92   $    75.92
 9/15/2019 Christian De Jesus Cespedes Germoso          $10.00   58.93   $   10.00               $    94.67   $    94.67
 9/22/2019 Christian De Jesus Cespedes Germoso          $10.00   64.38   $   10.00               $   121.92   $   121.92
 9/29/2019 Christian De Jesus Cespedes Germoso          $10.00   66.27   $   10.00               $   131.33   $   131.33
 10/6/2019 Christian De Jesus Cespedes Germoso          $10.00   64.55   $   10.00               $   122.75   $   122.75
10/13/2019 Christian De Jesus Cespedes Germoso          $10.00   59.87   $   10.00               $    99.33   $    99.33
10/20/2019 Christian De Jesus Cespedes Germoso          $10.00   65.27   $   10.00               $   126.33   $   126.33
10/27/2019 Christian De Jesus Cespedes Germoso          $10.00   63.18   $   10.00               $   115.92   $   115.92
 11/3/2019 Christian De Jesus Cespedes Germoso          $10.00   61.63   $   10.00               $   108.17   $   108.17
11/10/2019 Christian De Jesus Cespedes Germoso          $10.00   66.72   $   10.00               $   133.58   $   133.58
11/17/2019 Christian De Jesus Cespedes Germoso          $10.00   67.37   $   10.00               $   136.83   $   136.83
11/24/2019 Christian De Jesus Cespedes Germoso          $10.00   63.40   $   10.00               $   117.00   $   117.00
 12/8/2019 Christian De Jesus Cespedes Germoso          $10.00   66.47   $   10.00               $   132.33   $   132.33
12/15/2019 Christian De Jesus Cespedes Germoso          $10.00   66.28   $   10.00               $   131.42   $   131.42
12/22/2019 Christian De Jesus Cespedes Germoso          $10.00   64.27   $   10.00               $   121.33   $   121.33
12/29/2019 Christian De Jesus Cespedes Germoso          $10.00   46.98   $   10.00               $    34.92   $    34.92
  1/5/2020 Christian De Jesus Cespedes Germoso          $10.00   44.37   $   11.00   $   44.37   $    24.02   $    68.38
 1/12/2020 Christian De Jesus Cespedes Germoso          $10.00   51.95   $   11.00   $   51.95   $    65.73   $   117.68
 1/19/2020 Christian De Jesus Cespedes Germoso          $10.00   49.73   $   11.00   $   49.73   $    53.53   $   103.27
 1/26/2020 Christian De Jesus Cespedes Germoso          $10.00   54.97   $   11.00   $   54.97   $    82.32   $   137.28
 9/29/2019 Christian Garcia                             $10.50   49.73   $   10.00               $    51.10   $    51.10
 9/23/2018 Christian Perez-Service Valet                $10.00   58.47   $    8.60               $    92.33   $    92.33
 9/16/2018 Christina Drada                              $11.00   49.92   $    8.60               $    54.54   $    54.54
 9/23/2018 Christina Drada                              $11.00   62.40   $    8.60               $   123.20   $   123.20
 9/30/2018 Christina Drada                              $11.00   52.18   $    8.60               $    67.01   $    67.01
 10/7/2018 Christina Drada                              $11.00   41.33   $    8.60               $     7.33   $     7.33
10/14/2018 Christina Drada                              $11.00   41.48   $    8.60               $     8.16   $     8.16
10/21/2018 Christina Drada                              $11.00   54.15   $    8.60               $    77.83   $    77.83
10/28/2018 Christina Drada                              $11.00   50.42   $    8.60               $    57.29   $    57.29
 11/4/2018 Christina Drada                              $11.00   66.50   $    8.60               $   145.75   $   145.75
11/11/2018 Christina Drada                              $11.00   49.73   $    8.60               $    53.53   $    53.53
 12/2/2018 Christina Drada                              $11.00   50.82   $    8.60               $    59.49   $    59.49
 12/9/2018 Christina Drada                              $11.00   41.25   $    8.60               $     6.87   $     6.87
  7/7/2019 Christopher Batista                           $9.00   44.75   $   10.00   $   44.75   $    23.75   $    68.50
 7/14/2019 Christopher Batista                           $9.00   65.82   $   10.00   $   65.82   $   129.08   $   194.90
 7/28/2019 Christopher Batista                           $9.00   64.50   $   10.00   $   64.50   $   122.50   $   187.00
  8/4/2019 Christopher Batista                           $9.00   64.33   $   10.00   $   64.33   $   121.67   $   186.00
 2/25/2018 Christopher Camacho                          $12.00   47.30   $    8.60               $    43.80   $    43.80
  3/4/2018 Christopher Camacho                          $12.00   57.57   $    8.60               $   105.40   $   105.40
 3/25/2018 Christopher Camacho                          $12.00   48.10   $    8.60               $    48.60   $    48.60
  4/1/2018 Christopher Camacho                          $12.00   48.83   $    8.60               $    53.00   $    53.00
  4/8/2018 Christopher Camacho                          $12.00   56.83   $    8.60               $   101.00   $   101.00



                                                          103
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 105 of 683 PageID: 952
                                            Exhibit 2
                                    New Jersey Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
  Date                                                     Wage  Rate Due     Due       Wages Due

 4/15/2018 Christopher Camacho             $12.00   46.98   $   8.60          $    41.90   $     41.90
 4/22/2018 Christopher Camacho             $12.00   57.65   $   8.60          $   105.90   $    105.90
 4/29/2018 Christopher Camacho             $12.00   57.85   $   8.60          $   107.10   $    107.10
  5/6/2018 Christopher Camacho             $12.00   57.53   $   8.60          $   105.20   $    105.20
 5/13/2018 Christopher Camacho             $12.00   48.70   $   8.60          $    52.20   $     52.20
 5/20/2018 Christopher Camacho             $12.00   56.85   $   8.60          $   101.10   $    101.10
 5/27/2018 Christopher Camacho             $12.00   57.13   $   8.60          $   102.80   $    102.80
  6/3/2018 Christopher Camacho             $12.00   46.50   $   8.60          $    39.00   $     39.00
 6/10/2018 Christopher Camacho             $12.00   56.70   $   8.60          $   100.20   $    100.20
 6/17/2018 Christopher Camacho             $12.00   47.50   $   8.60          $    45.00   $     45.00
 6/24/2018 Christopher Camacho             $12.00   57.33   $   8.60          $   104.00   $    104.00
  7/1/2018 Christopher Camacho             $12.00   55.55   $   8.60          $    93.30   $     93.30
 7/15/2018 Christopher Camacho             $12.00   54.02   $   8.60          $    84.10   $     84.10
 7/22/2018 Christopher Camacho             $12.00   54.38   $   8.60          $    86.30   $     86.30
 7/29/2018 Christopher Camacho             $12.00   55.78   $   8.60          $    94.70   $     94.70
  8/5/2018 Christopher Camacho             $12.00   45.80   $   8.60          $    34.80   $     34.80
 8/12/2018 Christopher Camacho             $12.00   46.33   $   8.60          $    38.00   $     38.00
 8/26/2018 Christopher Camacho             $12.00   53.30   $   8.60          $    79.80   $     79.80
  9/2/2018 Christopher Camacho             $12.00   55.35   $   8.60          $    92.10   $     92.10
 9/16/2018 Christopher Camacho             $12.00   55.00   $   8.60          $    90.00   $     90.00
 9/30/2018 Christopher Camacho             $12.00   56.07   $   8.60          $    96.40   $     96.40
 10/7/2018 Christopher Camacho             $12.00   55.43   $   8.60          $    92.60   $     92.60
10/14/2018 Christopher Camacho             $12.00   54.88   $   8.60          $    89.30   $     89.30
10/21/2018 Christopher Camacho             $12.00   54.33   $   8.60          $    86.00   $     86.00
10/28/2018 Christopher Camacho             $12.00   53.83   $   8.60          $    83.00   $     83.00
 11/4/2018 Christopher Camacho             $12.00   45.18   $   8.60          $    31.10   $     31.10
11/11/2018 Christopher Camacho             $12.00   44.83   $   8.60          $    29.00   $     29.00
11/18/2018 Christopher Camacho             $12.00   42.20   $   8.60          $    13.20   $     13.20
 12/2/2018 Christopher Camacho             $12.00   50.90   $   8.60          $    65.40   $     65.40
 12/9/2018 Christopher Camacho             $12.00   42.15   $   8.60          $    12.90   $     12.90
12/23/2018 Christopher Camacho             $12.00   41.68   $   8.60          $    10.10   $     10.10
12/30/2018 Christopher Camacho             $12.00   45.83   $   8.60          $    35.00   $     35.00
  1/6/2019 Christopher Camacho             $12.00   48.58   $   8.85          $    51.50   $     51.50
 1/13/2019 Christopher Camacho             $12.00   53.45   $   8.85          $    80.70   $     80.70
 1/20/2019 Christopher Camacho             $12.00   48.80   $   8.85          $    52.80   $     52.80
 1/27/2019 Christopher Camacho             $12.00   48.78   $   8.85          $    52.70   $     52.70
  2/3/2019 Christopher Camacho             $12.00   55.90   $   8.85          $    95.40   $     95.40
 2/10/2019 Christopher Camacho             $12.00   42.32   $   8.85          $    13.90   $     13.90
 2/17/2019 Christopher Camacho             $12.00   64.73   $   8.85          $   148.40   $    148.40
 2/24/2019 Christopher Camacho             $12.00   61.68   $   8.85          $   130.10   $    130.10
  3/3/2019 Christopher Camacho             $12.00   62.17   $   8.85          $   133.00   $    133.00
 3/10/2019 Christopher Camacho             $12.00   58.15   $   8.85          $   108.90   $    108.90
 3/17/2019 Christopher Camacho             $12.00   63.30   $   8.85          $   139.80   $    139.80
 3/24/2019 Christopher Camacho             $12.00   55.22   $   8.85          $    91.30   $     91.30
 3/31/2019 Christopher Camacho             $12.00   61.90   $   8.85          $   131.40   $    131.40
  4/7/2019 Christopher Camacho             $12.00   55.53   $   8.85          $    93.20   $     93.20
 4/14/2019 Christopher Camacho             $12.00   49.23   $   8.85          $    55.40   $     55.40
 4/21/2019 Christopher Camacho             $12.00   51.82   $   8.85          $    70.90   $     70.90
  5/5/2019 Christopher Camacho             $12.00   41.37   $   8.85          $     8.20   $      8.20
 5/12/2019 Christopher Camacho             $12.00   46.22   $   8.85          $    37.30   $     37.30



                                             104
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 106 of 683 PageID: 953
                                                Exhibit 2
                                        New Jersey Computations


  Week                                                         State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
 Ending                        Name                          Minumum Regular    Half-Time Overtime Back
                                                Rate Week
  Date                                                         Wage  Rate Due     Due       Wages Due

 5/19/2019 Christopher Camacho                 $12.00   46.58   $    8.85         $    39.50   $     39.50
 5/26/2019 Christopher Camacho                 $12.00   49.77   $    8.85         $    58.60   $     58.60
  6/2/2019 Christopher Camacho                 $12.00   45.45   $    8.85         $    32.70   $     32.70
  6/9/2019 Christopher Camacho                 $12.00   49.18   $    8.85         $    55.10   $     55.10
 6/16/2019 Christopher Camacho                 $12.00   50.57   $    8.85         $    63.40   $     63.40
 6/23/2019 Christopher Camacho                 $12.00   40.18   $    8.85         $     1.10   $      1.10
 6/30/2019 Christopher Camacho                 $12.00   60.18   $   10.00         $   121.10   $    121.10
  7/7/2019 Christopher Camacho                 $12.00   51.58   $   10.00         $    69.50   $     69.50
 7/14/2019 Christopher Camacho                 $12.00   51.87   $   10.00         $    71.20   $     71.20
 7/21/2019 Christopher Camacho                 $12.00   54.62   $   10.00         $    87.70   $     87.70
 7/28/2019 Christopher Camacho                 $12.00   49.78   $   10.00         $    58.70   $     58.70
  8/4/2019 Christopher Camacho                 $12.00   49.27   $   10.00         $    55.60   $     55.60
 8/11/2019 Christopher Camacho                 $12.00   47.88   $   10.00         $    47.30   $     47.30
 8/18/2019 Christopher Camacho                 $12.00   55.40   $   10.00         $    92.40   $     92.40
 8/25/2019 Christopher Camacho                 $12.00   49.18   $   10.00         $    55.10   $     55.10
  9/1/2019 Christopher Camacho                 $12.00   52.78   $   10.00         $    76.70   $     76.70
  9/8/2019 Christopher Camacho                 $12.00   47.17   $   10.00         $    43.00   $     43.00
 9/15/2019 Christopher Camacho                 $12.00   54.93   $   10.00         $    89.60   $     89.60
 9/22/2019 Christopher Camacho                 $12.00   48.15   $   10.00         $    48.90   $     48.90
 9/29/2019 Christopher Camacho                 $12.00   44.87   $   10.00         $    29.20   $     29.20
 10/6/2019 Christopher Camacho                 $12.00   47.60   $   10.00         $    45.60   $     45.60
10/13/2019 Christopher Camacho                 $12.00   55.10   $   10.00         $    90.60   $     90.60
10/20/2019 Christopher Camacho                 $12.00   47.72   $   10.00         $    46.30   $     46.30
10/27/2019 Christopher Camacho                 $12.00   44.97   $   10.00         $    29.80   $     29.80
 11/3/2019 Christopher Camacho                 $12.00   44.28   $   10.00         $    25.70   $     25.70
11/10/2019 Christopher Camacho                 $12.00   44.22   $   10.00         $    25.30   $     25.30
11/17/2019 Christopher Camacho                 $12.00   51.20   $   10.00         $    67.20   $     67.20
11/24/2019 Christopher Camacho                 $12.00   46.25   $   10.00         $    37.50   $     37.50
 12/1/2019 Christopher Camacho                 $12.00   55.42   $   10.00         $    92.50   $     92.50
 12/8/2019 Christopher Camacho                 $12.00   55.80   $   10.00         $    94.80   $     94.80
12/15/2019 Christopher Camacho                 $12.00   46.73   $   10.00         $    40.40   $     40.40
12/22/2019 Christopher Camacho                 $12.00   43.63   $   10.00         $    21.80   $     21.80
 1/12/2020 Christopher Camacho                 $12.00   50.47   $   11.00         $    62.80   $     62.80
 1/26/2020 Christopher Camacho                 $12.00   56.28   $   11.00         $    97.70   $     97.70
  4/1/2018 Christopher Javier Jimenez          $10.00   45.12   $    8.60         $    25.58   $     25.58
  4/8/2018 Christopher Javier Jimenez          $10.00   48.03   $    8.60         $    40.17   $     40.17
 4/22/2018 Christopher Javier Jimenez          $10.00   43.78   $    8.60         $    18.92   $     18.92
 4/29/2018 Christopher Javier Jimenez          $10.00   43.63   $    8.60         $    18.17   $     18.17
 5/13/2018 Christopher Javier Jimenez          $10.00   40.17   $    8.60         $     0.83   $      0.83
 5/20/2018 Christopher Javier Jimenez          $10.00   44.33   $    8.60         $    21.67   $     21.67
 5/27/2018 Christopher Javier Jimenez          $10.00   44.50   $    8.60         $    22.50   $     22.50
 6/24/2018 Christopher Javier Jimenez          $10.00   46.07   $    8.60         $    30.33   $     30.33
 7/15/2018 Christopher Javier Jimenez          $10.00   41.43   $    8.60         $     7.17   $      7.17
 5/13/2018 Christopher Negron                   $9.50   52.70   $    8.60         $    60.33   $     60.33
 6/10/2018 Christopher Negron                   $9.50   51.93   $    8.60         $    56.68   $     56.68
 6/17/2018 Christopher Negron                   $9.50   43.72   $    8.60         $    17.65   $     17.65
 6/24/2018 Christopher Negron                   $9.50   49.50   $    8.60         $    45.13   $     45.13
 3/31/2019 Claudio E. Garcia - Cabral           $9.50   50.67   $    8.85         $    50.67   $     50.67
 4/21/2019 Claudio E. Garcia - Cabral           $9.50   53.48   $    8.85         $    64.05   $     64.05
 4/28/2019 Claudio E. Garcia - Cabral           $9.50   49.07   $    8.85         $    43.07   $     43.07



                                                 105
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 107 of 683 PageID: 954
                                                   Exhibit 2
                                           New Jersey Computations


  Week                                                            State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
 Ending                        Name                             Minumum Regular    Half-Time Overtime Back
                                                   Rate Week
  Date                                                            Wage  Rate Due     Due       Wages Due

  5/5/2019 Claudio E. Garcia - Cabral              $9.50   43.85   $    8.85               $    18.29   $    18.29
 5/12/2019 Claudio E. Garcia - Cabral              $9.50   50.88   $    8.85               $    51.70   $    51.70
 5/19/2019 Claudio E. Garcia - Cabral              $9.50   48.40   $    8.85               $    39.90   $    39.90
 5/26/2019 Claudio E. Garcia - Cabral              $9.50   47.98   $    8.85               $    37.92   $    37.92
  6/2/2019 Claudio E. Garcia - Cabral              $9.50   44.02   $    8.85               $    19.08   $    19.08
  6/9/2019 Claudio E. Garcia - Cabral              $9.50   51.65   $    8.85               $    55.34   $    55.34
 6/16/2019 Claudio E. Garcia - Cabral              $9.50   49.90   $    8.85               $    47.03   $    47.03
 6/23/2019 Claudio E. Garcia - Cabral              $9.50   50.85   $    8.85               $    51.54   $    51.54
 6/30/2019 Claudio E. Garcia - Cabral              $9.50   52.35   $   10.00   $   26.18   $    61.75   $    87.93
 7/14/2019 Claudio E. Garcia - Cabral              $9.50   52.23   $   10.00   $   26.12   $    61.17   $    87.28
 7/21/2019 Claudio E. Garcia - Cabral              $9.50   50.52   $   10.00   $   25.26   $    52.58   $    77.84
 7/28/2019 Claudio E. Garcia - Cabral              $9.50   52.17   $   10.00   $   26.08   $    60.83   $    86.92
  8/4/2019 Claudio E. Garcia - Cabral              $9.50   50.72   $   10.00   $   25.36   $    53.58   $    78.94
 8/11/2019 Claudio E. Garcia - Cabral              $9.50   51.38   $   10.00   $   25.69   $    56.92   $    82.61
 8/18/2019 Claudio E. Garcia - Cabral              $9.50   50.08   $   10.00   $   25.04   $    50.42   $    75.46
 8/25/2019 Claudio E. Garcia - Cabral              $9.50   47.82   $   10.00   $   23.91   $    39.08   $    62.99
  9/1/2019 Claudio E. Garcia - Cabral              $9.50   51.03   $   10.00   $   25.52   $    55.17   $    80.68
  9/8/2019 Claudio E. Garcia - Cabral              $9.50   46.98   $   10.00   $   23.49   $    34.92   $    58.41
 9/15/2019 Claudio E. Garcia - Cabral              $9.50   45.48   $   10.00   $   22.74   $    27.42   $    50.16
 9/22/2019 Claudio E. Garcia - Cabral              $9.50   50.50   $   10.00   $   25.25   $    52.50   $    77.75
 9/29/2019 Claudio E. Garcia - Cabral              $9.50   50.30   $   10.00   $   25.15   $    51.50   $    76.65
 10/6/2019 Claudio E. Garcia - Cabral              $9.50   57.42   $   10.00   $   28.71   $    87.08   $   115.79
10/13/2019 Claudio E. Garcia - Cabral              $9.50   52.67   $   10.00   $   26.33   $    63.33   $    89.67
10/20/2019 Claudio E. Garcia - Cabral             $11.00   45.90   $   10.00               $    32.45   $    32.45
10/27/2019 Claudio E. Garcia - Cabral             $11.00   44.58   $   10.00               $    25.21   $    25.21
11/10/2019 Claudio E. Garcia - Cabral             $11.00   40.78   $   10.00               $     4.31   $     4.31
11/17/2019 Claudio E. Garcia - Cabral             $11.00   43.92   $   10.00               $    21.54   $    21.54
11/24/2019 Claudio E. Garcia - Cabral             $11.00   43.98   $   10.00               $    21.91   $    21.91
 12/8/2019 Claudio E. Garcia - Cabral             $11.00   40.75   $   10.00               $     4.13   $     4.13
12/15/2019 Claudio E. Garcia - Cabral              $9.50   48.68   $   10.00   $   24.34   $    43.42   $    67.76
12/22/2019 Claudio E. Garcia - Cabral              $9.50   49.00   $   10.00   $   24.50   $    45.00   $    69.50
 1/12/2020 Claudio E. Garcia - Cabral              $9.50   44.57   $   11.00   $   66.85   $    25.12   $    91.97
 1/19/2020 Claudio E. Garcia - Cabral              $9.50   42.00   $   11.00   $   63.00   $    11.00   $    74.00
 1/26/2020 Claudio E. Garcia - Cabral              $9.50   50.97   $   11.00   $   76.45   $    60.32   $   136.77
 10/6/2019 Claudio Isidro Guerrero Lopez          $10.00   68.05   $   10.00               $   140.25   $   140.25
10/13/2019 Claudio Isidro Guerrero Lopez          $10.00   55.52   $   10.00               $    77.58   $    77.58
10/27/2019 Claudio Isidro Guerrero Lopez          $10.00   43.07   $   10.00               $    15.33   $    15.33
 11/3/2019 Claudio Isidro Guerrero Lopez          $10.00   53.52   $   10.00               $    67.58   $    67.58
11/10/2019 Claudio Isidro Guerrero Lopez          $10.00   52.40   $   10.00               $    62.00   $    62.00
11/24/2019 Claudio Isidro Guerrero Lopez          $10.00   59.38   $   10.00               $    96.92   $    96.92
12/15/2019 Claudio Isidro Guerrero Lopez          $10.00   61.08   $   10.00               $   105.42   $   105.42
12/22/2019 Claudio Isidro Guerrero Lopez          $10.00   60.55   $   10.00               $   102.75   $   102.75
12/29/2019 Claudio Isidro Guerrero Lopez          $10.00   54.98   $   10.00               $    74.92   $    74.92
  1/5/2020 Claudio Isidro Guerrero Lopez          $10.00   65.27   $   11.00   $   65.27   $   138.97   $   204.23
 1/12/2020 Claudio Isidro Guerrero Lopez          $10.00   66.78   $   11.00   $   66.78   $   147.31   $   214.09
 1/19/2020 Claudio Isidro Guerrero Lopez          $10.00   60.78   $   11.00   $   60.78   $   114.31   $   175.09
 1/26/2020 Claudio Isidro Guerrero Lopez          $10.00   67.13   $   11.00   $   67.13   $   149.23   $   216.37
  4/2/2017 Confesor Feliz                         $12.00   50.42   $    8.44               $    62.50   $    62.50
  4/9/2017 Confesor Feliz                         $12.00   57.58   $    8.44               $   105.50   $   105.50
 4/16/2017 Confesor Feliz                         $12.00   58.92   $    8.44               $   113.50   $   113.50



                                                    106
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 108 of 683 PageID: 955
                                           Exhibit 2
                                   New Jersey Computations


  Week                                                    State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
 Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
  Date                                                    Wage  Rate Due     Due       Wages Due

 4/23/2017 Confesor Feliz                 $12.00   59.00   $   8.44          $   114.00   $    114.00
 4/30/2017 Confesor Feliz                 $12.00   53.40   $   8.44          $    80.40   $     80.40
  5/7/2017 Confesor Feliz                 $12.00   57.37   $   8.44          $   104.20   $    104.20
 5/14/2017 Confesor Feliz                 $12.00   59.78   $   8.44          $   118.70   $    118.70
 5/21/2017 Confesor Feliz                 $12.00   47.52   $   8.44          $    45.10   $     45.10
 5/28/2017 Confesor Feliz                 $12.00   61.88   $   8.44          $   131.30   $    131.30
  6/4/2017 Confesor Feliz                 $12.00   49.55   $   8.44          $    57.30   $     57.30
 6/11/2017 Confesor Feliz                 $12.00   50.32   $   8.44          $    61.90   $     61.90
 6/18/2017 Confesor Feliz                 $12.00   55.07   $   8.44          $    90.40   $     90.40
 6/25/2017 Confesor Feliz                 $12.00   66.07   $   8.44          $   156.40   $    156.40
  7/2/2017 Confesor Feliz                 $12.00   55.75   $   8.44          $    94.50   $     94.50
  7/9/2017 Confesor Feliz                 $12.00   59.80   $   8.44          $   118.80   $    118.80
 7/16/2017 Confesor Feliz                 $12.00   65.97   $   8.44          $   155.80   $    155.80
 7/23/2017 Confesor Feliz                 $12.00   56.73   $   8.44          $   100.40   $    100.40
 7/30/2017 Confesor Feliz                 $12.00   65.63   $   8.44          $   153.80   $    153.80
  8/6/2017 Confesor Feliz                 $12.00   62.32   $   8.44          $   133.90   $    133.90
 8/13/2017 Confesor Feliz                 $12.00   61.95   $   8.44          $   131.70   $    131.70
 8/20/2017 Confesor Feliz                 $12.00   66.13   $   8.44          $   156.80   $    156.80
 8/27/2017 Confesor Feliz                 $12.00   65.08   $   8.44          $   150.50   $    150.50
  9/3/2017 Confesor Feliz                 $12.00   72.80   $   8.44          $   196.80   $    196.80
 9/10/2017 Confesor Feliz                 $12.00   63.67   $   8.44          $   142.00   $    142.00
 9/17/2017 Confesor Feliz                 $12.00   52.85   $   8.44          $    77.10   $     77.10
 9/24/2017 Confesor Feliz                 $12.00   67.52   $   8.44          $   165.10   $    165.10
 10/1/2017 Confesor Feliz                 $12.00   70.67   $   8.44          $   184.00   $    184.00
 10/8/2017 Confesor Feliz                 $12.00   68.32   $   8.44          $   169.90   $    169.90
10/22/2017 Confesor Feliz                 $12.00   46.87   $   8.44          $    41.20   $     41.20
10/29/2017 Confesor Feliz                 $12.00   65.77   $   8.44          $   154.60   $    154.60
 11/5/2017 Confesor Feliz                 $12.00   65.23   $   8.44          $   151.40   $    151.40
11/12/2017 Confesor Feliz                 $12.00   66.48   $   8.44          $   158.90   $    158.90
11/19/2017 Confesor Feliz                 $12.00   63.00   $   8.44          $   138.00   $    138.00
11/26/2017 Confesor Feliz                 $12.00   55.90   $   8.44          $    95.40   $     95.40
 12/3/2017 Confesor Feliz                 $12.00   64.28   $   8.44          $   145.70   $    145.70
12/10/2017 Confesor Feliz                 $12.00   59.93   $   8.44          $   119.60   $    119.60
12/17/2017 Confesor Feliz                 $12.00   63.62   $   8.44          $   141.70   $    141.70
12/24/2017 Confesor Feliz                 $12.00   66.48   $   8.44          $   158.90   $    158.90
12/31/2017 Confesor Feliz                 $12.00   49.93   $   8.44          $    59.60   $     59.60
  1/7/2018 Confesor Feliz                 $12.00   43.48   $   8.60          $    20.90   $     20.90
 1/14/2018 Confesor Feliz                 $12.00   55.25   $   8.60          $    91.50   $     91.50
 1/21/2018 Confesor Feliz                 $12.00   51.42   $   8.60          $    68.50   $     68.50
 1/28/2018 Confesor Feliz                 $12.00   59.42   $   8.60          $   116.50   $    116.50
  2/4/2018 Confesor Feliz                 $12.00   65.43   $   8.60          $   152.60   $    152.60
 2/11/2018 Confesor Feliz                 $12.00   60.55   $   8.60          $   123.30   $    123.30
 2/18/2018 Confesor Feliz                 $12.00   43.00   $   8.60          $    18.00   $     18.00
  3/4/2018 Confesor Feliz                 $12.00   64.78   $   8.60          $   148.70   $    148.70
 3/25/2018 Confesor Feliz                 $12.00   45.80   $   8.60          $    34.80   $     34.80
  4/1/2018 Confesor Feliz                 $12.00   61.75   $   8.60          $   130.50   $    130.50
  4/8/2018 Confesor Feliz                 $12.00   62.73   $   8.60          $   136.40   $    136.40
 4/15/2018 Confesor Feliz                 $12.00   63.73   $   8.60          $   142.40   $    142.40
 4/22/2018 Confesor Feliz                 $12.00   63.97   $   8.60          $   143.80   $    143.80
 4/29/2018 Confesor Feliz                 $12.00   61.12   $   8.60          $   126.70   $    126.70



                                            107
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 109 of 683 PageID: 956
                                           Exhibit 2
                                   New Jersey Computations


  Week                                                    State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
 Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
  Date                                                    Wage  Rate Due     Due       Wages Due

  5/6/2018 Confesor Feliz                 $12.00   61.63   $   8.60          $   129.80   $    129.80
 5/13/2018 Confesor Feliz                 $12.00   65.93   $   8.60          $   155.60   $    155.60
 5/20/2018 Confesor Feliz                 $12.00   61.17   $   8.60          $   127.00   $    127.00
 5/27/2018 Confesor Feliz                 $12.00   64.85   $   8.60          $   149.10   $    149.10
  6/3/2018 Confesor Feliz                 $12.00   52.35   $   8.60          $    74.10   $     74.10
 6/10/2018 Confesor Feliz                 $12.00   59.75   $   8.60          $   118.50   $    118.50
 6/17/2018 Confesor Feliz                 $12.00   52.83   $   8.60          $    77.00   $     77.00
 6/24/2018 Confesor Feliz                 $12.00   65.55   $   8.60          $   153.30   $    153.30
  7/1/2018 Confesor Feliz                 $12.00   63.98   $   8.60          $   143.90   $    143.90
  7/8/2018 Confesor Feliz                 $12.00   54.62   $   8.60          $    87.70   $     87.70
 7/15/2018 Confesor Feliz                 $12.00   65.57   $   8.60          $   153.40   $    153.40
 7/22/2018 Confesor Feliz                 $12.00   66.02   $   8.60          $   156.10   $    156.10
 7/29/2018 Confesor Feliz                 $12.00   65.72   $   8.60          $   154.30   $    154.30
  8/5/2018 Confesor Feliz                 $12.00   65.65   $   8.60          $   153.90   $    153.90
 8/12/2018 Confesor Feliz                 $12.00   65.53   $   8.60          $   153.20   $    153.20
 8/19/2018 Confesor Feliz                 $12.00   64.67   $   8.60          $   148.00   $    148.00
  9/2/2018 Confesor Feliz                 $12.00   45.37   $   8.60          $    32.20   $     32.20
  9/9/2018 Confesor Feliz                 $12.00   54.67   $   8.60          $    88.00   $     88.00
 9/16/2018 Confesor Feliz                 $12.00   55.48   $   8.60          $    92.90   $     92.90
 9/23/2018 Confesor Feliz                 $12.00   51.62   $   8.60          $    69.70   $     69.70
 9/30/2018 Confesor Feliz                 $12.00   58.90   $   8.60          $   113.40   $    113.40
 10/7/2018 Confesor Feliz                 $12.00   63.22   $   8.60          $   139.30   $    139.30
10/14/2018 Confesor Feliz                 $12.00   68.10   $   8.60          $   168.60   $    168.60
10/21/2018 Confesor Feliz                 $12.00   67.08   $   8.60          $   162.50   $    162.50
10/28/2018 Confesor Feliz                 $12.00   67.57   $   8.60          $   165.40   $    165.40
 11/4/2018 Confesor Feliz                 $12.00   66.05   $   8.60          $   156.30   $    156.30
11/11/2018 Confesor Feliz                 $12.00   56.03   $   8.60          $    96.20   $     96.20
11/18/2018 Confesor Feliz                 $12.00   61.42   $   8.60          $   128.50   $    128.50
11/25/2018 Confesor Feliz                 $12.00   55.45   $   8.60          $    92.70   $     92.70
 12/2/2018 Confesor Feliz                 $12.00   65.47   $   8.60          $   152.80   $    152.80
 12/9/2018 Confesor Feliz                 $12.00   67.60   $   8.60          $   165.60   $    165.60
12/16/2018 Confesor Feliz                 $12.00   62.15   $   8.60          $   132.90   $    132.90
12/23/2018 Confesor Feliz                 $12.00   64.95   $   8.60          $   149.70   $    149.70
12/30/2018 Confesor Feliz                 $12.00   43.67   $   8.60          $    22.00   $     22.00
  1/6/2019 Confesor Feliz                 $12.00   51.50   $   8.85          $    69.00   $     69.00
 1/13/2019 Confesor Feliz                 $12.00   64.83   $   8.85          $   149.00   $    149.00
 1/20/2019 Confesor Feliz                 $12.00   59.72   $   8.85          $   118.30   $    118.30
 1/27/2019 Confesor Feliz                 $12.00   49.88   $   8.85          $    59.30   $     59.30
  2/3/2019 Confesor Feliz                 $12.00   61.47   $   8.85          $   128.80   $    128.80
 2/10/2019 Confesor Feliz                 $12.00   63.92   $   8.85          $   143.50   $    143.50
 2/17/2019 Confesor Feliz                 $12.00   59.78   $   8.85          $   118.70   $    118.70
 2/24/2019 Confesor Feliz                 $12.00   61.30   $   8.85          $   127.80   $    127.80
  3/3/2019 Confesor Feliz                 $12.00   49.25   $   8.85          $    55.50   $     55.50
 3/10/2019 Confesor Feliz                 $12.00   66.38   $   8.85          $   158.30   $    158.30
 3/17/2019 Confesor Feliz                 $12.00   65.47   $   8.85          $   152.80   $    152.80
 3/24/2019 Confesor Feliz                 $12.00   64.20   $   8.85          $   145.20   $    145.20
 3/31/2019 Confesor Feliz                 $12.00   65.90   $   8.85          $   155.40   $    155.40
  4/7/2019 Confesor Feliz                 $12.00   63.33   $   8.85          $   140.00   $    140.00
 4/14/2019 Confesor Feliz                 $12.00   62.87   $   8.85          $   137.20   $    137.20
 4/21/2019 Confesor Feliz                 $12.00   63.38   $   8.85          $   140.30   $    140.30



                                            108
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 110 of 683 PageID: 957
                                               Exhibit 2
                                       New Jersey Computations


  Week                                                        State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
 Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
  Date                                                        Wage  Rate Due     Due       Wages Due

 4/28/2019 Confesor Feliz                     $12.00   67.45   $    8.85         $   164.70   $    164.70
  5/5/2019 Confesor Feliz                     $12.00   52.32   $    8.85         $    73.90   $     73.90
 5/12/2019 Confesor Feliz                     $12.00   41.65   $    8.85         $     9.90   $      9.90
 5/19/2019 Confesor Feliz                     $12.00   64.33   $    8.85         $   146.00   $    146.00
 5/26/2019 Confesor Feliz                     $12.00   64.90   $    8.85         $   149.40   $    149.40
  6/2/2019 Confesor Feliz                     $12.00   53.93   $    8.85         $    83.60   $     83.60
  6/9/2019 Confesor Feliz                     $12.00   64.62   $    8.85         $   147.70   $    147.70
 6/16/2019 Confesor Feliz                     $12.00   63.83   $    8.85         $   143.00   $    143.00
 6/23/2019 Confesor Feliz                     $12.00   58.67   $    8.85         $   112.00   $    112.00
 6/30/2019 Confesor Feliz                     $12.00   63.67   $   10.00         $   142.00   $    142.00
  7/7/2019 Confesor Feliz                     $12.00   50.48   $   10.00         $    62.90   $     62.90
 7/21/2019 Confesor Feliz                     $12.00   52.98   $   10.00         $    77.90   $     77.90
 7/28/2019 Confesor Feliz                     $12.00   64.37   $   10.00         $   146.20   $    146.20
  8/4/2019 Confesor Feliz                     $12.00   64.58   $   10.00         $   147.50   $    147.50
 8/25/2019 Confesor Feliz                     $12.00   52.28   $   10.00         $    73.70   $     73.70
  9/1/2019 Confesor Feliz                     $12.00   61.03   $   10.00         $   126.20   $    126.20
  9/8/2019 Confesor Feliz                     $12.00   59.18   $   10.00         $   115.10   $    115.10
 9/15/2019 Confesor Feliz                     $12.00   61.77   $   10.00         $   130.60   $    130.60
 9/22/2019 Confesor Feliz                     $12.00   60.20   $   10.00         $   121.20   $    121.20
 9/29/2019 Confesor Feliz                     $12.00   60.10   $   10.00         $   120.60   $    120.60
 10/6/2019 Confesor Feliz                     $12.00   54.67   $   10.00         $    88.00   $     88.00
10/13/2019 Confesor Feliz                     $12.00   58.98   $   10.00         $   113.90   $    113.90
10/20/2019 Confesor Feliz                     $12.00   59.37   $   10.00         $   116.20   $    116.20
10/27/2019 Confesor Feliz                     $12.00   46.52   $   10.00         $    39.10   $     39.10
 11/3/2019 Confesor Feliz                     $12.00   61.30   $   10.00         $   127.80   $    127.80
11/10/2019 Confesor Feliz                     $12.00   61.48   $   10.00         $   128.90   $    128.90
11/17/2019 Confesor Feliz                     $12.00   57.32   $   10.00         $   103.90   $    103.90
11/24/2019 Confesor Feliz                     $12.00   63.37   $   10.00         $   140.20   $    140.20
 12/1/2019 Confesor Feliz                     $12.00   53.25   $   10.00         $    79.50   $     79.50
 12/8/2019 Confesor Feliz                     $12.00   57.25   $   10.00         $   103.50   $    103.50
12/15/2019 Confesor Feliz                     $12.00   59.03   $   10.00         $   114.20   $    114.20
12/22/2019 Confesor Feliz                     $12.00   57.88   $   10.00         $   107.30   $    107.30
  1/5/2020 Confesor Feliz                     $12.00   48.52   $   11.00         $    51.10   $     51.10
 1/12/2020 Confesor Feliz                     $12.00   56.17   $   11.00         $    97.00   $     97.00
 1/19/2020 Confesor Feliz                     $12.00   48.68   $   11.00         $    52.10   $     52.10
 1/26/2020 Confesor Feliz                     $12.00   65.70   $   11.00         $   154.20   $    154.20
  2/5/2017 Cresencio Bautista                 $11.00   57.75   $    8.44         $    97.63   $     97.63
 2/19/2017 Cresencio Bautista                 $11.00   55.00   $    8.44         $    82.50   $     82.50
 2/26/2017 Cresencio Bautista                 $11.00   55.88   $    8.44         $    87.36   $     87.36
  3/5/2017 Cresencio Bautista                 $11.00   56.22   $    8.44         $    89.19   $     89.19
 3/12/2017 Cresencio Bautista                 $11.00   56.87   $    8.44         $    92.77   $     92.77
 3/19/2017 Cresencio Bautista                 $11.00   47.98   $    8.44         $    43.91   $     43.91
 3/26/2017 Cresencio Bautista                 $11.00   56.32   $    8.44         $    89.74   $     89.74
  4/2/2017 Cresencio Bautista                 $11.00   55.22   $    8.44         $    83.69   $     83.69
  4/9/2017 Cresencio Bautista                 $11.00   53.87   $    8.44         $    76.27   $     76.27
 4/16/2017 Cresencio Bautista                 $11.00   56.67   $    8.44         $    91.67   $     91.67
 4/23/2017 Cresencio Bautista                 $11.00   54.98   $    8.44         $    82.41   $     82.41
 4/30/2017 Cresencio Bautista                 $11.00   57.98   $    8.44         $    98.91   $     98.91
  5/7/2017 Cresencio Bautista                 $11.00   49.73   $    8.44         $    53.53   $     53.53
 5/14/2017 Cresencio Bautista                 $11.00   56.07   $    8.44         $    88.37   $     88.37



                                                109
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 111 of 683 PageID: 958
                                                 Exhibit 2
                                         New Jersey Computations


  Week                                                          State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
 Ending                       Name                            Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
  Date                                                          Wage  Rate Due     Due       Wages Due

 5/21/2017 Cresencio Bautista                   $11.00   62.55   $   8.44          $   124.03   $    124.03
 5/28/2017 Cresencio Bautista                   $11.00   61.50   $   8.44          $   118.25   $    118.25
 6/11/2017 Cresencio Bautista                   $11.00   48.75   $   8.44          $    48.13   $     48.13
 6/18/2017 Cresencio Bautista                   $11.00   61.03   $   8.44          $   115.68   $    115.68
 6/25/2017 Cresencio Bautista                   $11.00   40.38   $   8.44          $     2.11   $      2.11
  7/2/2017 Cresencio Bautista                   $11.00   41.73   $   8.44          $     9.53   $      9.53
  6/4/2017 Cristian De Jesus Fernandez          $10.00   45.15   $   8.44          $    25.75   $     25.75
 6/11/2017 Cristian De Jesus Fernandez          $10.00   50.45   $   8.44          $    52.25   $     52.25
 6/18/2017 Cristian De Jesus Fernandez          $10.00   51.68   $   8.44          $    58.42   $     58.42
 6/25/2017 Cristian De Jesus Fernandez          $10.00   49.98   $   8.44          $    49.92   $     49.92
  7/2/2017 Cristian De Jesus Fernandez          $10.00   53.37   $   8.44          $    66.83   $     66.83
 7/16/2017 Cristian De Jesus Fernandez          $10.00   48.85   $   8.44          $    44.25   $     44.25
 7/23/2017 Cristian De Jesus Fernandez          $10.00   43.05   $   8.44          $    15.25   $     15.25
 1/21/2018 Cristian Mena                        $12.00   43.55   $   8.60          $    21.30   $     21.30
 1/28/2018 Cristian Mena                        $12.00   53.78   $   8.60          $    82.70   $     82.70
  2/4/2018 Cristian Mena                        $12.00   55.07   $   8.60          $    90.40   $     90.40
 2/11/2018 Cristian Mena                        $12.00   52.97   $   8.60          $    77.80   $     77.80
 2/18/2018 Cristian Mena                        $12.00   57.35   $   8.60          $   104.10   $    104.10
 2/25/2018 Cristian Mena                        $12.00   58.42   $   8.60          $   110.50   $    110.50
  3/4/2018 Cristian Mena                        $12.00   57.92   $   8.60          $   107.50   $    107.50
  2/5/2017 Cristian Santos                      $11.50   67.05   $   8.44          $   155.54   $    155.54
 2/12/2017 Cristian Santos                      $11.50   65.13   $   8.44          $   144.52   $    144.52
 2/19/2017 Cristian Santos                      $11.50   62.45   $   8.44          $   129.09   $    129.09
 2/26/2017 Cristian Santos                      $11.50   66.17   $   8.44          $   150.46   $    150.46
  3/5/2017 Cristian Santos                      $11.50   66.13   $   8.44          $   150.27   $    150.27
 3/12/2017 Cristian Santos                      $11.50   70.05   $   8.44          $   172.79   $    172.79
 3/19/2017 Cristian Santos                      $11.50   66.17   $   8.44          $   150.46   $    150.46
 3/26/2017 Cristian Santos                      $11.50   56.10   $   8.44          $    92.58   $     92.58
  4/2/2017 Cristian Santos                      $11.50   68.15   $   8.44          $   161.86   $    161.86
  4/9/2017 Cristian Santos                      $11.50   66.38   $   8.44          $   151.70   $    151.70
 4/16/2017 Cristian Santos                      $11.50   67.55   $   8.44          $   158.41   $    158.41
 4/23/2017 Cristian Santos                      $11.50   65.63   $   8.44          $   147.39   $    147.39
 4/30/2017 Cristian Santos                      $11.50   65.22   $   8.44          $   145.00   $    145.00
  5/7/2017 Cristian Santos                      $11.50   65.97   $   8.44          $   149.31   $    149.31
 5/14/2017 Cristian Santos                      $11.50   48.23   $   8.44          $    47.34   $     47.34
 5/21/2017 Cristian Santos                      $11.50   64.98   $   8.44          $   143.65   $    143.65
 5/28/2017 Cristian Santos                      $11.50   61.75   $   8.44          $   125.06   $    125.06
  6/4/2017 Cristian Santos                      $11.50   42.73   $   8.44          $    15.72   $     15.72
 6/11/2017 Cristian Santos                      $11.50   64.83   $   8.44          $   142.79   $    142.79
 6/18/2017 Cristian Santos                      $11.50   64.98   $   8.44          $   143.65   $    143.65
 6/25/2017 Cristian Santos                      $11.50   56.88   $   8.44          $    97.08   $     97.08
  7/2/2017 Cristian Santos                      $11.50   66.73   $   8.44          $   153.72   $    153.72
  7/9/2017 Cristian Santos                      $11.50   47.48   $   8.44          $    43.03   $     43.03
 7/16/2017 Cristian Santos                      $11.50   66.43   $   8.44          $   151.99   $    151.99
 7/23/2017 Cristian Santos                      $11.50   64.45   $   8.44          $   140.59   $    140.59
 7/30/2017 Cristian Santos                      $11.50   55.35   $   8.44          $    88.26   $     88.26
  8/6/2017 Cristian Santos                      $11.50   65.20   $   8.44          $   144.90   $    144.90
 8/13/2017 Cristian Santos                      $11.50   65.92   $   8.44          $   149.02   $    149.02
 8/20/2017 Cristian Santos                      $11.50   64.28   $   8.44          $   139.63   $    139.63
 8/27/2017 Cristian Santos                      $11.50   65.53   $   8.44          $   146.82   $    146.82



                                                  110
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 112 of 683 PageID: 959
                                            Exhibit 2
                                    New Jersey Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
  Date                                                     Wage  Rate Due     Due       Wages Due

  9/3/2017 Cristian Santos                 $11.50   56.03   $   8.44          $    92.19   $     92.19
 9/10/2017 Cristian Santos                 $11.50   61.87   $   8.44          $   125.73   $    125.73
 9/17/2017 Cristian Santos                 $11.50   56.10   $   8.44          $    92.58   $     92.58
 9/24/2017 Cristian Santos                 $11.50   65.48   $   8.44          $   146.53   $    146.53
 10/1/2017 Cristian Santos                 $11.50   54.57   $   8.44          $    83.76   $     83.76
 10/8/2017 Cristian Santos                 $11.50   65.57   $   8.44          $   147.01   $    147.01
10/15/2017 Cristian Santos                 $11.50   64.88   $   8.44          $   143.08   $    143.08
10/22/2017 Cristian Santos                 $11.50   65.70   $   8.44          $   147.78   $    147.78
10/29/2017 Cristian Santos                 $11.50   57.35   $   8.44          $    99.76   $     99.76
 11/5/2017 Cristian Santos                 $11.50   67.63   $   8.44          $   158.89   $    158.89
11/12/2017 Cristian Santos                 $11.50   62.93   $   8.44          $   131.87   $    131.87
11/19/2017 Cristian Santos                 $11.50   67.37   $   8.44          $   157.36   $    157.36
11/26/2017 Cristian Santos                 $11.50   53.12   $   8.44          $    75.42   $     75.42
 12/3/2017 Cristian Santos                 $11.50   66.13   $   8.44          $   150.27   $    150.27
12/10/2017 Cristian Santos                 $11.50   62.02   $   8.44          $   126.60   $    126.60
12/17/2017 Cristian Santos                 $11.50   64.57   $   8.44          $   141.26   $    141.26
12/24/2017 Cristian Santos                 $11.50   64.00   $   8.44          $   138.00   $    138.00
12/31/2017 Cristian Santos                 $11.50   53.50   $   8.44          $    77.63   $     77.63
 1/14/2018 Cristian Santos                 $11.50   63.73   $   8.60          $   136.47   $    136.47
 1/21/2018 Cristian Santos                 $11.50   62.38   $   8.60          $   128.70   $    128.70
 1/28/2018 Cristian Santos                 $11.50   64.87   $   8.60          $   142.98   $    142.98
  2/4/2018 Cristian Santos                 $11.50   50.65   $   8.60          $    61.24   $     61.24
 2/11/2018 Cristian Santos                 $11.50   61.47   $   8.60          $   123.43   $    123.43
 2/18/2018 Cristian Santos                 $11.50   62.82   $   8.60          $   131.20   $    131.20
 2/25/2018 Cristian Santos                 $11.50   65.78   $   8.60          $   148.25   $    148.25
  3/4/2018 Cristian Santos                 $11.50   63.62   $   8.60          $   135.80   $    135.80
 3/25/2018 Cristian Santos                 $11.50   65.00   $   8.60          $   143.75   $    143.75
  4/8/2018 Cristian Santos                 $11.50   66.48   $   8.60          $   152.28   $    152.28
 4/15/2018 Cristian Santos                 $11.50   61.32   $   8.60          $   122.57   $    122.57
 4/22/2018 Cristian Santos                 $11.50   64.88   $   8.60          $   143.08   $    143.08
 4/29/2018 Cristian Santos                 $11.50   63.35   $   8.60          $   134.26   $    134.26
  5/6/2018 Cristian Santos                 $11.50   65.40   $   8.60          $   146.05   $    146.05
 5/13/2018 Cristian Santos                 $11.50   56.12   $   8.60          $    92.67   $     92.67
 5/20/2018 Cristian Santos                 $11.50   65.43   $   8.60          $   146.24   $    146.24
 5/27/2018 Cristian Santos                 $11.50   63.37   $   8.60          $   134.36   $    134.36
  6/3/2018 Cristian Santos                 $11.50   54.55   $   8.60          $    83.66   $     83.66
 6/10/2018 Cristian Santos                 $11.50   63.42   $   8.60          $   134.65   $    134.65
 6/17/2018 Cristian Santos                 $11.50   62.38   $   8.60          $   128.70   $    128.70
 6/24/2018 Cristian Santos                 $11.50   54.87   $   8.60          $    85.48   $     85.48
  7/1/2018 Cristian Santos                 $11.50   51.63   $   8.60          $    66.89   $     66.89
  7/8/2018 Cristian Santos                 $11.50   46.72   $   8.60          $    38.62   $     38.62
 7/15/2018 Cristian Santos                 $11.50   63.60   $   8.60          $   135.70   $    135.70
 7/22/2018 Cristian Santos                 $11.50   53.98   $   8.60          $    80.40   $     80.40
 7/29/2018 Cristian Santos                 $11.50   66.02   $   8.60          $   149.60   $    149.60
  8/5/2018 Cristian Santos                 $11.50   54.38   $   8.60          $    82.70   $     82.70
 8/12/2018 Cristian Santos                 $11.50   64.72   $   8.60          $   142.12   $    142.12
 8/19/2018 Cristian Santos                 $11.50   61.93   $   8.60          $   126.12   $    126.12
 8/26/2018 Cristian Santos                 $11.50   62.72   $   8.60          $   130.62   $    130.62
  9/2/2018 Cristian Santos                 $11.50   53.68   $   8.60          $    78.68   $     78.68
  9/9/2018 Cristian Santos                 $11.50   59.03   $   8.60          $   109.44   $    109.44



                                             111
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 113 of 683 PageID: 960
                                            Exhibit 2
                                    New Jersey Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
  Date                                                     Wage  Rate Due     Due       Wages Due

 9/16/2018 Cristian Santos                 $11.50   53.53   $    8.60         $    77.82   $     77.82
 9/23/2018 Cristian Santos                 $11.50   64.62   $    8.60         $   141.55   $    141.55
 9/30/2018 Cristian Santos                 $11.50   54.50   $    8.60         $    83.38   $     83.38
 10/7/2018 Cristian Santos                 $11.50   64.33   $    8.60         $   139.92   $    139.92
10/14/2018 Cristian Santos                 $11.50   52.63   $    8.60         $    72.64   $     72.64
10/21/2018 Cristian Santos                 $11.50   53.23   $    8.60         $    76.09   $     76.09
10/28/2018 Cristian Santos                 $11.50   54.47   $    8.60         $    83.18   $     83.18
 11/4/2018 Cristian Santos                 $11.50   64.03   $    8.60         $   138.19   $    138.19
11/11/2018 Cristian Santos                 $11.50   53.87   $    8.60         $    79.73   $     79.73
11/18/2018 Cristian Santos                 $11.50   62.92   $    8.60         $   131.77   $    131.77
11/25/2018 Cristian Santos                 $11.50   40.78   $    8.60         $     4.50   $      4.50
 12/2/2018 Cristian Santos                 $11.50   65.03   $    8.60         $   143.94   $    143.94
 12/9/2018 Cristian Santos                 $11.50   53.90   $    8.60         $    79.93   $     79.93
12/16/2018 Cristian Santos                 $11.50   62.15   $    8.60         $   127.36   $    127.36
12/23/2018 Cristian Santos                 $11.50   54.83   $    8.60         $    85.29   $     85.29
12/30/2018 Cristian Santos                 $11.50   40.48   $    8.60         $     2.78   $      2.78
  1/6/2019 Cristian Santos                 $11.50   46.92   $    8.85         $    39.77   $     39.77
 1/13/2019 Cristian Santos                 $11.50   62.98   $    8.85         $   132.15   $    132.15
 1/20/2019 Cristian Santos                 $11.50   53.20   $    8.85         $    75.90   $     75.90
 1/27/2019 Cristian Santos                 $11.50   61.25   $    8.85         $   122.19   $    122.19
  2/3/2019 Cristian Santos                 $11.50   53.45   $    8.85         $    77.34   $     77.34
 2/10/2019 Cristian Santos                 $11.50   65.60   $    8.85         $   147.20   $    147.20
 2/17/2019 Cristian Santos                 $11.50   53.57   $    8.85         $    78.01   $     78.01
 2/24/2019 Cristian Santos                 $11.50   65.38   $    8.85         $   145.95   $    145.95
  3/3/2019 Cristian Santos                 $11.50   54.63   $    8.85         $    84.14   $     84.14
 3/10/2019 Cristian Santos                 $11.50   46.05   $    8.85         $    34.79   $     34.79
 3/17/2019 Cristian Santos                 $11.50   52.98   $    8.85         $    74.65   $     74.65
 3/24/2019 Cristian Santos                 $11.50   63.97   $    8.85         $   137.81   $    137.81
 3/31/2019 Cristian Santos                 $11.50   55.98   $    8.85         $    91.90   $     91.90
  4/7/2019 Cristian Santos                 $11.50   63.43   $    8.85         $   134.74   $    134.74
 4/14/2019 Cristian Santos                 $11.50   55.15   $    8.85         $    87.11   $     87.11
 4/21/2019 Cristian Santos                 $11.50   66.62   $    8.85         $   153.05   $    153.05
 4/28/2019 Cristian Santos                 $11.50   54.22   $    8.85         $    81.75   $     81.75
  5/5/2019 Cristian Santos                 $11.50   62.10   $    8.85         $   127.08   $    127.08
 5/12/2019 Cristian Santos                 $11.50   53.87   $    8.85         $    79.73   $     79.73
 5/19/2019 Cristian Santos                 $11.50   63.88   $    8.85         $   137.33   $    137.33
 5/26/2019 Cristian Santos                 $11.50   54.22   $    8.85         $    81.75   $     81.75
  6/2/2019 Cristian Santos                 $11.50   51.98   $    8.85         $    68.90   $     68.90
  6/9/2019 Cristian Santos                 $11.50   43.35   $    8.85         $    19.26   $     19.26
 6/16/2019 Cristian Santos                 $11.50   62.68   $    8.85         $   130.43   $    130.43
 6/23/2019 Cristian Santos                 $11.50   53.68   $    8.85         $    78.68   $     78.68
 6/30/2019 Cristian Santos                 $11.50   63.97   $   10.00         $   137.81   $    137.81
  7/7/2019 Cristian Santos                 $12.50   44.28   $   10.00         $    26.77   $     26.77
 7/14/2019 Cristian Santos                 $12.50   65.97   $   10.00         $   162.29   $    162.29
 7/21/2019 Cristian Santos                 $12.50   55.72   $   10.00         $    98.23   $     98.23
 7/28/2019 Cristian Santos                 $12.50   65.82   $   10.00         $   161.35   $    161.35
  8/4/2019 Cristian Santos                 $12.50   54.15   $   10.00         $    88.44   $     88.44
 8/11/2019 Cristian Santos                 $12.50   65.63   $   10.00         $   160.21   $    160.21
 8/18/2019 Cristian Santos                 $12.50   54.93   $   10.00         $    93.33   $     93.33
 8/25/2019 Cristian Santos                 $12.50   65.35   $   10.00         $   158.44   $    158.44



                                             112
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 114 of 683 PageID: 961
                                            Exhibit 2
                                    New Jersey Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
  Date                                                     Wage  Rate Due     Due       Wages Due

  9/1/2019 Cristian Santos                 $12.50   53.43   $   10.00         $    83.96   $     83.96
  9/8/2019 Cristian Santos                 $12.50   63.48   $   10.00         $   146.77   $    146.77
 9/15/2019 Cristian Santos                 $12.50   60.85   $   10.00         $   130.31   $    130.31
 9/22/2019 Cristian Santos                 $12.50   65.80   $   10.00         $   161.25   $    161.25
 9/29/2019 Cristian Santos                 $12.50   53.82   $   10.00         $    86.35   $     86.35
 10/6/2019 Cristian Santos                 $12.50   62.77   $   10.00         $   142.29   $    142.29
10/13/2019 Cristian Santos                 $12.50   61.88   $   10.00         $   136.77   $    136.77
10/20/2019 Cristian Santos                 $12.50   64.45   $   10.00         $   152.81   $    152.81
10/27/2019 Cristian Santos                 $12.50   62.57   $   10.00         $   141.04   $    141.04
 11/3/2019 Cristian Santos                 $12.50   61.30   $   10.00         $   133.13   $    133.13
11/10/2019 Cristian Santos                 $12.50   54.20   $   10.00         $    88.75   $     88.75
11/17/2019 Cristian Santos                 $12.50   62.37   $   10.00         $   139.79   $    139.79
11/24/2019 Cristian Santos                 $12.50   52.50   $   10.00         $    78.13   $     78.13
 12/1/2019 Cristian Santos                 $12.50   52.10   $   10.00         $    75.63   $     75.63
 12/8/2019 Cristian Santos                 $12.50   59.07   $   10.00         $   119.17   $    119.17
12/15/2019 Cristian Santos                 $12.50   64.20   $   10.00         $   151.25   $    151.25
12/22/2019 Cristian Santos                 $12.50   43.05   $   10.00         $    19.06   $     19.06
12/29/2019 Cristian Santos                 $12.50   42.87   $   10.00         $    17.92   $     17.92
  1/5/2020 Cristian Santos                 $12.50   49.63   $   11.00         $    60.21   $     60.21
 1/12/2020 Cristian Santos                 $12.50   64.70   $   11.00         $   154.38   $    154.38
 1/19/2020 Cristian Santos                 $12.50   63.60   $   11.00         $   147.50   $    147.50
 1/26/2020 Cristian Santos                 $12.50   64.55   $   11.00         $   153.44   $    153.44
 9/23/2018 Cristobal Pirir                 $10.00   79.30   $    8.60         $   196.50   $    196.50
 9/30/2018 Cristobal Pirir                 $10.00   78.68   $    8.60         $   193.42   $    193.42
 10/7/2018 Cristobal Pirir                 $10.00   75.10   $    8.60         $   175.50   $    175.50
10/14/2018 Cristobal Pirir                 $10.00   75.35   $    8.60         $   176.75   $    176.75
10/21/2018 Cristobal Pirir                 $10.00   76.73   $    8.60         $   183.67   $    183.67
10/28/2018 Cristobal Pirir                 $10.00   74.97   $    8.60         $   174.83   $    174.83
 11/4/2018 Cristobal Pirir                 $10.00   76.87   $    8.60         $   184.33   $    184.33
11/11/2018 Cristobal Pirir                 $10.00   77.27   $    8.60         $   186.33   $    186.33
11/18/2018 Cristobal Pirir                 $10.00   76.22   $    8.60         $   181.08   $    181.08
11/25/2018 Cristobal Pirir                 $10.00   66.30   $    8.60         $   131.50   $    131.50
 12/2/2018 Cristobal Pirir                 $10.00   75.73   $    8.60         $   178.67   $    178.67
 12/9/2018 Cristobal Pirir                 $10.00   71.65   $    8.60         $   158.25   $    158.25
12/16/2018 Cristobal Pirir                 $10.00   69.30   $    8.60         $   146.50   $    146.50
12/23/2018 Cristobal Pirir                 $10.00   82.50   $    8.60         $   212.50   $    212.50
12/30/2018 Cristobal Pirir                 $10.00   57.60   $    8.60         $    88.00   $     88.00
  1/6/2019 Cristobal Pirir                 $10.00   69.35   $    8.85         $   146.75   $    146.75
 1/13/2019 Cristobal Pirir                 $10.00   74.55   $    8.85         $   172.75   $    172.75
 1/20/2019 Cristobal Pirir                 $10.00   75.03   $    8.85         $   175.17   $    175.17
 1/27/2019 Cristobal Pirir                 $10.00   75.27   $    8.85         $   176.33   $    176.33
  2/3/2019 Cristobal Pirir                 $10.00   74.85   $    8.85         $   174.25   $    174.25
 2/10/2019 Cristobal Pirir                 $10.00   77.18   $    8.85         $   185.92   $    185.92
 2/17/2019 Cristobal Pirir                 $10.00   76.48   $    8.85         $   182.42   $    182.42
 2/24/2019 Cristobal Pirir                 $10.00   81.07   $    8.85         $   205.33   $    205.33
  3/3/2019 Cristobal Pirir                 $10.00   79.13   $    8.85         $   195.67   $    195.67
 3/10/2019 Cristobal Pirir                 $10.00   77.38   $    8.85         $   186.92   $    186.92
 3/17/2019 Cristobal Pirir                 $10.00   78.50   $    8.85         $   192.50   $    192.50
 3/24/2019 Cristobal Pirir                 $10.00   80.33   $    8.85         $   201.67   $    201.67
 3/31/2019 Cristobal Pirir                 $10.00   75.58   $    8.85         $   177.92   $    177.92



                                             113
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 115 of 683 PageID: 962
                                                Exhibit 2
                                        New Jersey Computations


  Week                                                         State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
 Ending                        Name                          Minumum Regular    Half-Time Overtime Back
                                                Rate Week
  Date                                                         Wage  Rate Due     Due       Wages Due

  4/7/2019 Cristobal Pirir                     $10.00   78.02   $    8.85               $   190.08   $   190.08
 4/14/2019 Cristobal Pirir                     $10.00   72.10   $    8.85               $   160.50   $   160.50
 4/21/2019 Cristobal Pirir                     $10.00   76.57   $    8.85               $   182.83   $   182.83
 4/28/2019 Cristobal Pirir                     $10.00   76.33   $    8.85               $   181.67   $   181.67
  5/5/2019 Cristobal Pirir                     $10.00   81.10   $    8.85               $   205.50   $   205.50
 5/12/2019 Cristobal Pirir                     $10.00   66.77   $    8.85               $   133.83   $   133.83
 5/19/2019 Cristobal Pirir                     $10.00   79.70   $    8.85               $   198.50   $   198.50
 5/26/2019 Cristobal Pirir                     $10.00   85.38   $    8.85               $   226.92   $   226.92
  6/2/2019 Cristobal Pirir                     $10.00   79.72   $    8.85               $   198.58   $   198.58
  6/9/2019 Cristobal Pirir                     $10.00   82.65   $    8.85               $   213.25   $   213.25
 6/16/2019 Cristobal Pirir                     $10.00   80.02   $    8.85               $   200.08   $   200.08
 6/23/2019 Cristobal Pirir                     $10.00   78.52   $    8.85               $   192.58   $   192.58
 6/30/2019 Cristobal Pirir                     $10.00   86.07   $   10.00               $   230.33   $   230.33
  7/7/2019 Cristobal Pirir                     $10.00   68.42   $   10.00               $   142.08   $   142.08
 7/14/2019 Cristobal Pirir                     $10.00   76.60   $   10.00               $   183.00   $   183.00
 7/21/2019 Cristobal Pirir                     $10.00   75.65   $   10.00               $   178.25   $   178.25
 7/28/2019 Cristobal Pirir                     $10.00   78.38   $   10.00               $   191.92   $   191.92
  8/4/2019 Cristobal Pirir                     $10.00   77.18   $   10.00               $   185.92   $   185.92
 8/11/2019 Cristobal Pirir                     $10.00   75.57   $   10.00               $   177.83   $   177.83
 8/18/2019 Cristobal Pirir                     $10.00   78.45   $   10.00               $   192.25   $   192.25
 8/25/2019 Cristobal Pirir                     $10.00   77.57   $   10.00               $   187.83   $   187.83
  9/1/2019 Cristobal Pirir                     $10.00   82.27   $   10.00               $   211.33   $   211.33
  9/8/2019 Cristobal Pirir                     $10.00   73.00   $   10.00               $   165.00   $   165.00
 9/15/2019 Cristobal Pirir                     $10.00   75.22   $   10.00               $   176.08   $   176.08
 9/22/2019 Cristobal Pirir                     $10.00   77.73   $   10.00               $   188.67   $   188.67
 9/29/2019 Cristobal Pirir                     $10.00   79.55   $   10.00               $   197.75   $   197.75
 10/6/2019 Cristobal Pirir                     $10.00   80.12   $   10.00               $   200.58   $   200.58
10/13/2019 Cristobal Pirir                     $10.00   77.15   $   10.00               $   185.75   $   185.75
10/20/2019 Cristobal Pirir                     $11.00   74.78   $   10.00               $   191.31   $   191.31
10/27/2019 Cristobal Pirir                     $11.00   51.00   $   10.00               $    60.50   $    60.50
 11/3/2019 Cristobal Pirir                     $11.00   66.97   $   10.00               $   148.32   $   148.32
11/10/2019 Cristobal Pirir                     $11.00   60.98   $   10.00               $   115.41   $   115.41
11/24/2019 Cristobal Pirir                     $11.00   78.90   $   10.00               $   213.95   $   213.95
 12/1/2019 Cristobal Pirir                     $11.00   53.33   $   10.00               $    73.33   $    73.33
 12/8/2019 Cristobal Pirir                     $11.00   64.00   $   10.00               $   132.00   $   132.00
12/15/2019 Cristobal Pirir                     $10.00   74.48   $   10.00               $   172.42   $   172.42
12/22/2019 Cristobal Pirir                     $10.00   76.97   $   10.00               $   184.83   $   184.83
12/29/2019 Cristobal Pirir                     $10.00   63.23   $   10.00               $   116.17   $   116.17
  1/5/2020 Cristobal Pirir                     $10.00   78.67   $   11.00   $   78.67   $   212.67   $   291.33
 1/12/2020 Cristobal Pirir                     $10.00   78.58   $   11.00   $   78.58   $   212.21   $   290.79
 1/19/2020 Cristobal Pirir                     $10.00   77.28   $   11.00   $   77.28   $   205.06   $   282.34
 1/26/2020 Cristobal Pirir                     $10.00   78.85   $   11.00   $   78.85   $   213.68   $   292.53
 8/26/2018 Cristobal Williamn Bernabe          $10.25   66.13   $    8.60               $   133.93   $   133.93
  9/2/2018 Cristobal Williamn Bernabe          $10.25   70.13   $    8.60               $   154.43   $   154.43
  9/9/2018 Cristobal Williamn Bernabe          $10.25   64.35   $    8.60               $   124.79   $   124.79
 9/16/2018 Cristobal Williamn Bernabe          $10.25   70.55   $    8.60               $   156.57   $   156.57
 9/23/2018 Cristobal Williamn Bernabe          $10.25   69.73   $    8.60               $   152.38   $   152.38
 9/30/2018 Cristobal Williamn Bernabe          $10.25   69.88   $    8.60               $   153.15   $   153.15
 10/7/2018 Cristobal Williamn Bernabe          $10.25   70.73   $    8.60               $   157.51   $   157.51
10/14/2018 Cristobal Williamn Bernabe          $10.25   68.10   $    8.60               $   144.01   $   144.01



                                                 114
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 116 of 683 PageID: 963
                                                Exhibit 2
                                        New Jersey Computations


  Week                                                         State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
 Ending                        Name                          Minumum Regular    Half-Time Overtime Back
                                                Rate Week
  Date                                                         Wage  Rate Due     Due       Wages Due

10/21/2018 Cristobal Williamn Bernabe          $10.25   67.52   $    8.60               $   141.02   $   141.02
10/28/2018 Cristobal Williamn Bernabe          $10.25   66.00   $    8.60               $   133.25   $   133.25
 11/4/2018 Cristobal Williamn Bernabe          $10.25   66.22   $    8.60               $   134.36   $   134.36
11/11/2018 Cristobal Williamn Bernabe          $10.25   57.17   $    8.60               $    87.98   $    87.98
11/18/2018 Cristobal Williamn Bernabe          $10.25   61.62   $    8.60               $   110.79   $   110.79
11/25/2018 Cristobal Williamn Bernabe          $10.25   53.40   $    8.60               $    68.68   $    68.68
 12/2/2018 Cristobal Williamn Bernabe          $10.25   64.93   $    8.60               $   127.78   $   127.78
 12/9/2018 Cristobal Williamn Bernabe          $10.25   67.12   $    8.60               $   138.97   $   138.97
12/16/2018 Cristobal Williamn Bernabe          $10.25   62.48   $    8.60               $   115.23   $   115.23
12/23/2018 Cristobal Williamn Bernabe          $10.25   61.45   $    8.60               $   109.93   $   109.93
  1/6/2019 Cristobal Williamn Bernabe          $10.25   60.33   $    8.85               $   104.21   $   104.21
 1/13/2019 Cristobal Williamn Bernabe          $10.25   70.93   $    8.85               $   158.53   $   158.53
 1/20/2019 Cristobal Williamn Bernabe          $10.25   63.57   $    8.85               $   120.78   $   120.78
 1/27/2019 Cristobal Williamn Bernabe          $10.25   68.55   $    8.85               $   146.32   $   146.32
  2/3/2019 Cristobal Williamn Bernabe          $10.25   69.33   $    8.85               $   150.33   $   150.33
 2/10/2019 Cristobal Williamn Bernabe          $10.25   63.83   $    8.85               $   122.15   $   122.15
 2/17/2019 Cristobal Williamn Bernabe          $10.25   66.55   $    8.85               $   136.07   $   136.07
 2/24/2019 Cristobal Williamn Bernabe          $10.25   65.28   $    8.85               $   129.58   $   129.58
  3/3/2019 Cristobal Williamn Bernabe          $10.25   71.03   $    8.85               $   159.05   $   159.05
 3/10/2019 Cristobal Williamn Bernabe          $10.25   64.82   $    8.85               $   127.19   $   127.19
 3/17/2019 Cristobal Williamn Bernabe          $10.25   64.17   $    8.85               $   123.85   $   123.85
 3/24/2019 Cristobal Williamn Bernabe          $10.25   68.78   $    8.85               $   147.51   $   147.51
 3/31/2019 Cristobal Williamn Bernabe          $10.25   68.35   $    8.85               $   145.29   $   145.29
  4/7/2019 Cristobal Williamn Bernabe          $10.25   65.20   $    8.85               $   129.15   $   129.15
 4/14/2019 Cristobal Williamn Bernabe          $10.25   63.50   $    8.85               $   120.44   $   120.44
 4/21/2019 Cristobal Williamn Bernabe          $10.25   63.67   $    8.85               $   121.29   $   121.29
 4/28/2019 Cristobal Williamn Bernabe          $10.25   63.12   $    8.85               $   118.47   $   118.47
  5/5/2019 Cristobal Williamn Bernabe          $10.25   64.32   $    8.85               $   124.62   $   124.62
 5/12/2019 Cristobal Williamn Bernabe          $10.25   60.55   $    8.85               $   105.32   $   105.32
 5/19/2019 Cristobal Williamn Bernabe          $10.25   60.92   $    8.85               $   107.20   $   107.20
 5/26/2019 Cristobal Williamn Bernabe          $10.25   65.67   $    8.85               $   131.54   $   131.54
  6/2/2019 Cristobal Williamn Bernabe          $10.25   61.40   $    8.85               $   109.68   $   109.68
  6/9/2019 Cristobal Williamn Bernabe          $10.25   64.92   $    8.85               $   127.70   $   127.70
 6/16/2019 Cristobal Williamn Bernabe          $10.25   68.78   $    8.85               $   147.51   $   147.51
  4/7/2019 Cristopher Cabreja                   $9.50   67.40   $    8.85               $   130.15   $   130.15
 4/14/2019 Cristopher Cabreja                   $9.50   67.47   $    8.85               $   130.47   $   130.47
 4/21/2019 Cristopher Cabreja                   $9.50   71.08   $    8.85               $   147.65   $   147.65
 4/28/2019 Cristopher Cabreja                   $9.50   55.10   $    8.85               $    71.73   $    71.73
  5/5/2019 Cristopher Cabreja                   $9.50   71.63   $    8.85               $   150.26   $   150.26
 5/12/2019 Cristopher Cabreja                   $9.50   69.57   $    8.85               $   140.44   $   140.44
 5/19/2019 Cristopher Cabreja                   $9.50   70.93   $    8.85               $   146.93   $   146.93
 5/26/2019 Cristopher Cabreja                   $9.50   68.98   $    8.85               $   137.67   $   137.67
  6/2/2019 Cristopher Cabreja                   $9.50   49.67   $    8.85               $    45.92   $    45.92
  6/9/2019 Cristopher Cabreja                   $9.50   59.88   $    8.85               $    94.45   $    94.45
 6/16/2019 Cristopher Cabreja                   $9.50   48.42   $    8.85               $    39.98   $    39.98
 6/30/2019 Cristopher Cabreja                   $9.50   53.75   $   10.00   $   26.88   $    68.75   $    95.63
 7/14/2019 Cristopher Cabreja                   $9.50   51.02   $   10.00   $   25.51   $    55.08   $    80.59
 7/28/2019 Cristopher Cabreja                   $9.50   58.55   $   10.00   $   29.28   $    92.75   $   122.03
 8/11/2019 Cristopher Cabreja                   $9.50   59.32   $   10.00   $   29.66   $    96.58   $   126.24
12/23/2018 Damian Rojas-7216                   $10.00   60.13   $    8.60               $   100.67   $   100.67



                                                 115
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 117 of 683 PageID: 964
                                              Exhibit 2
                                      New Jersey Computations


  Week                                                       State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
 Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
  Date                                                       Wage  Rate Due     Due       Wages Due

  1/6/2019 Damian Rojas-7216                 $10.00   51.03   $    8.85              $    55.17   $    55.17
 1/13/2019 Damian Rojas-7216                 $10.00   54.23   $    8.85              $    71.17   $    71.17
 1/20/2019 Damian Rojas-7216                 $10.00   60.58   $    8.85              $   102.92   $   102.92
 1/27/2019 Damian Rojas-7216                 $10.00   62.32   $    8.85              $   111.58   $   111.58
  2/3/2019 Damian Rojas-7216                 $10.00   52.73   $    8.85              $    63.67   $    63.67
 2/10/2019 Damian Rojas-7216                 $10.00   64.03   $    8.85              $   120.17   $   120.17
 2/17/2019 Damian Rojas-7216                 $10.00   51.53   $    8.85              $    57.67   $    57.67
 2/24/2019 Damian Rojas-7216                 $10.00   48.02   $    8.85              $    40.08   $    40.08
 8/13/2017 Damian Rosario                    $10.00   49.42   $    8.44              $    47.08   $    47.08
  8/5/2018 Damian Rosario                     $9.50   62.00   $    8.60              $   104.50   $   104.50
 8/12/2018 Damian Rosario                     $9.50   48.20   $    8.60              $    38.95   $    38.95
 8/19/2018 Damian Rosario                     $9.50   53.22   $    8.60              $    62.78   $    62.78
 8/26/2018 Damian Rosario                     $9.50   55.47   $    8.60              $    73.47   $    73.47
 4/21/2019 Daneuris Peralta                  $10.00   67.58   $    8.85              $   137.92   $   137.92
 7/14/2019 Daniel Baez                        $9.50   63.62   $   10.00   $ 31.81    $   118.08   $   149.89
 7/21/2019 Daniel Baez                        $9.50   57.32   $   10.00   $ 28.66    $    86.58   $   115.24
 7/28/2019 Daniel Baez                        $9.50   58.58   $   10.00   $ 29.29    $    92.92   $   122.21
  8/4/2019 Daniel Baez                        $9.50   52.45   $   10.00   $ 26.23    $    62.25   $    88.48
 8/11/2019 Daniel Baez                        $9.50   53.27   $   10.00   $ 26.63    $    66.33   $    92.97
 8/18/2019 Daniel Baez                        $9.50   52.55   $   10.00   $ 26.28    $    62.75   $    89.03
 8/25/2019 Daniel Baez                        $9.50   58.58   $   10.00   $ 29.29    $    92.92   $   122.21
  9/1/2019 Daniel Baez                        $9.50   41.10   $   10.00   $ 20.55    $     5.50   $    26.05
  9/8/2019 Daniel Baez                        $9.50   40.02   $   10.00   $ 20.01    $     0.08   $    20.09
 9/15/2019 Daniel Baez                        $9.50   50.22   $   10.00   $ 25.11    $    51.08   $    76.19
 9/22/2019 Daniel Baez                        $9.50   63.87   $   10.00   $ 31.93    $   119.33   $   151.27
 9/29/2019 Daniel Baez                        $9.50   64.18   $   10.00   $ 32.09    $   120.92   $   153.01
 10/6/2019 Daniel Baez                        $9.50   53.13   $   10.00   $ 26.57    $    65.67   $    92.23
10/13/2019 Daniel Baez                        $9.50   65.57   $   10.00   $ 32.78    $   127.83   $   160.62
10/20/2019 Daniel Baez                        $9.50   49.62   $   10.00   $ 24.81    $    48.08   $    72.89
10/27/2019 Daniel Baez                        $9.50   48.98   $   10.00   $ 24.49    $    44.92   $    69.41
 11/3/2019 Daniel Baez                        $9.50   57.63   $   10.00   $ 28.82    $    88.17   $   116.98
11/10/2019 Daniel Baez                        $9.50   45.10   $   10.00   $ 22.55    $    25.50   $    48.05
11/17/2019 Daniel Baez                        $9.50   45.07   $   10.00   $ 22.53    $    25.33   $    47.87
11/24/2019 Daniel Baez                        $9.50   48.60   $   10.00   $ 24.30    $    43.00   $    67.30
 12/8/2019 Daniel Baez                        $9.50   46.85   $   10.00   $ 23.43    $    34.25   $    57.68
12/15/2019 Daniel Baez                        $9.50   55.43   $   10.00   $ 27.72    $    77.17   $   104.88
12/22/2019 Daniel Baez                        $9.50   53.85   $   10.00   $ 26.93    $    69.25   $    96.18
12/29/2019 Daniel Baez                        $9.50   50.38   $   10.00   $ 25.19    $    51.92   $    77.11
  1/5/2020 Daniel Baez                        $9.50   57.82   $   11.00   $ 86.73    $    97.99   $   184.72
 1/12/2020 Daniel Baez                        $9.50   70.12   $   11.00   $ 105.18   $   165.64   $   270.82
 1/19/2020 Daniel Baez                        $9.50   70.88   $   11.00   $ 106.33   $   169.86   $   276.18
 1/26/2020 Daniel Baez                        $9.50   57.37   $   11.00   $ 86.05    $    95.52   $   181.57
  2/5/2017 Daniel Cuellar                    $10.50   72.13   $    8.44              $   168.70   $   168.70
 2/12/2017 Daniel Cuellar                    $10.50   69.50   $    8.44              $   154.88   $   154.88
 2/19/2017 Daniel Cuellar                    $10.50   72.53   $    8.44              $   170.80   $   170.80
 2/26/2017 Daniel Cuellar                    $10.50   74.28   $    8.44              $   179.99   $   179.99
  3/5/2017 Daniel Cuellar                    $10.50   72.95   $    8.44              $   172.99   $   172.99
 3/12/2017 Daniel Cuellar                    $10.50   73.12   $    8.44              $   173.86   $   173.86
 3/19/2017 Daniel Cuellar                    $10.50   60.22   $    8.44              $   106.14   $   106.14
 3/26/2017 Daniel Cuellar                    $10.50   73.43   $    8.44              $   175.53   $   175.53



                                               116
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 118 of 683 PageID: 965
                                           Exhibit 2
                                   New Jersey Computations


  Week                                                    State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
 Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
  Date                                                    Wage  Rate Due     Due       Wages Due

  4/2/2017 Daniel Cuellar                 $10.50   74.08   $   8.44          $   178.94   $    178.94
  4/9/2017 Daniel Cuellar                 $10.50   73.28   $   8.44          $   174.74   $    174.74
 4/16/2017 Daniel Cuellar                 $10.50   60.02   $   8.44          $   105.09   $    105.09
 4/23/2017 Daniel Cuellar                 $10.50   59.85   $   8.44          $   104.21   $    104.21
 4/30/2017 Daniel Cuellar                 $10.50   72.65   $   8.44          $   171.41   $    171.41
  5/7/2017 Daniel Cuellar                 $10.50   72.97   $   8.44          $   173.08   $    173.08
 5/14/2017 Daniel Cuellar                 $10.50   73.20   $   8.44          $   174.30   $    174.30
 5/21/2017 Daniel Cuellar                 $10.50   73.00   $   8.44          $   173.25   $    173.25
 5/28/2017 Daniel Cuellar                 $10.50   72.82   $   8.44          $   172.29   $    172.29
  6/4/2017 Daniel Cuellar                 $10.50   60.02   $   8.44          $   105.09   $    105.09
 6/11/2017 Daniel Cuellar                 $10.50   73.95   $   8.44          $   178.24   $    178.24
 6/18/2017 Daniel Cuellar                 $10.50   73.67   $   8.44          $   176.75   $    176.75
 6/25/2017 Daniel Cuellar                 $10.50   73.73   $   8.44          $   177.10   $    177.10
  7/2/2017 Daniel Cuellar                 $10.50   73.90   $   8.44          $   177.98   $    177.98
  7/9/2017 Daniel Cuellar                 $10.50   61.75   $   8.44          $   114.19   $    114.19
 7/16/2017 Daniel Cuellar                 $10.50   73.62   $   8.44          $   176.49   $    176.49
 7/23/2017 Daniel Cuellar                 $10.50   73.72   $   8.44          $   177.01   $    177.01
 7/30/2017 Daniel Cuellar                 $10.50   73.50   $   8.44          $   175.88   $    175.88
  8/6/2017 Daniel Cuellar                 $10.50   73.57   $   8.44          $   176.23   $    176.23
 8/13/2017 Daniel Cuellar                 $10.50   73.43   $   8.44          $   175.53   $    175.53
 8/20/2017 Daniel Cuellar                 $10.50   73.50   $   8.44          $   175.88   $    175.88
 8/27/2017 Daniel Cuellar                 $10.50   72.63   $   8.44          $   171.33   $    171.33
  9/3/2017 Daniel Cuellar                 $10.50   74.20   $   8.44          $   179.55   $    179.55
 9/10/2017 Daniel Cuellar                 $10.50   61.05   $   8.44          $   110.51   $    110.51
 9/17/2017 Daniel Cuellar                 $10.50   74.20   $   8.44          $   179.55   $    179.55
 9/24/2017 Daniel Cuellar                 $10.50   76.10   $   8.44          $   189.53   $    189.53
 10/1/2017 Daniel Cuellar                 $10.50   71.15   $   8.44          $   163.54   $    163.54
 10/8/2017 Daniel Cuellar                 $10.50   74.57   $   8.44          $   181.48   $    181.48
10/15/2017 Daniel Cuellar                 $10.50   74.50   $   8.44          $   181.13   $    181.13
10/22/2017 Daniel Cuellar                 $10.50   74.77   $   8.44          $   182.53   $    182.53
10/29/2017 Daniel Cuellar                 $10.50   74.63   $   8.44          $   181.83   $    181.83
 11/5/2017 Daniel Cuellar                 $10.50   74.27   $   8.44          $   179.90   $    179.90
11/12/2017 Daniel Cuellar                 $10.50   74.45   $   8.44          $   180.86   $    180.86
11/19/2017 Daniel Cuellar                 $10.50   73.92   $   8.44          $   178.06   $    178.06
11/26/2017 Daniel Cuellar                 $10.50   60.58   $   8.44          $   108.06   $    108.06
 12/3/2017 Daniel Cuellar                 $10.50   74.48   $   8.44          $   181.04   $    181.04
12/10/2017 Daniel Cuellar                 $10.50   74.77   $   8.44          $   182.53   $    182.53
12/17/2017 Daniel Cuellar                 $10.50   74.65   $   8.44          $   181.91   $    181.91
12/24/2017 Daniel Cuellar                 $10.50   76.08   $   8.44          $   189.44   $    189.44
12/31/2017 Daniel Cuellar                 $10.50   60.37   $   8.44          $   106.93   $    106.93
  1/7/2018 Daniel Cuellar                 $10.50   48.35   $   8.60          $    43.84   $     43.84
 1/14/2018 Daniel Cuellar                 $10.50   75.65   $   8.60          $   187.16   $    187.16
 1/21/2018 Daniel Cuellar                 $10.50   75.80   $   8.60          $   187.95   $    187.95
 1/28/2018 Daniel Cuellar                 $10.50   72.07   $   8.60          $   168.35   $    168.35
  2/4/2018 Daniel Cuellar                 $10.50   75.27   $   8.60          $   185.15   $    185.15
 2/11/2018 Daniel Cuellar                 $10.50   74.40   $   8.60          $   180.60   $    180.60
 2/18/2018 Daniel Cuellar                 $10.50   74.80   $   8.60          $   182.70   $    182.70
 2/25/2018 Daniel Cuellar                 $10.50   75.33   $   8.60          $   185.50   $    185.50
  3/4/2018 Daniel Cuellar                 $10.50   74.30   $   8.60          $   180.08   $    180.08
 3/25/2018 Daniel Cuellar                 $10.50   79.28   $   8.60          $   206.24   $    206.24



                                            117
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 119 of 683 PageID: 966
                                           Exhibit 2
                                   New Jersey Computations


  Week                                                    State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
 Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
  Date                                                    Wage  Rate Due     Due       Wages Due

  4/1/2018 Daniel Cuellar                 $10.50   81.35   $   8.60          $   217.09   $    217.09
  4/8/2018 Daniel Cuellar                 $10.50   82.98   $   8.60          $   225.66   $    225.66
 4/15/2018 Daniel Cuellar                 $10.50   83.03   $   8.60          $   225.93   $    225.93
 4/22/2018 Daniel Cuellar                 $10.50   82.70   $   8.60          $   224.18   $    224.18
 4/29/2018 Daniel Cuellar                 $10.50   83.72   $   8.60          $   229.51   $    229.51
  5/6/2018 Daniel Cuellar                 $10.50   84.38   $   8.60          $   233.01   $    233.01
 5/13/2018 Daniel Cuellar                 $10.50   81.88   $   8.60          $   219.89   $    219.89
 5/20/2018 Daniel Cuellar                 $10.50   86.03   $   8.60          $   241.68   $    241.68
 5/27/2018 Daniel Cuellar                 $10.50   83.73   $   8.60          $   229.60   $    229.60
  6/3/2018 Daniel Cuellar                 $10.50   85.95   $   8.60          $   241.24   $    241.24
 6/10/2018 Daniel Cuellar                 $10.50   86.82   $   8.60          $   245.79   $    245.79
 6/17/2018 Daniel Cuellar                 $10.50   91.05   $   8.60          $   268.01   $    268.01
 6/24/2018 Daniel Cuellar                 $10.50   77.17   $   8.60          $   195.13   $    195.13
  7/1/2018 Daniel Cuellar                 $10.50   87.53   $   8.60          $   249.55   $    249.55
  7/8/2018 Daniel Cuellar                 $10.50   87.78   $   8.60          $   250.86   $    250.86
 7/15/2018 Daniel Cuellar                 $10.50   89.07   $   8.60          $   257.60   $    257.60
 7/22/2018 Daniel Cuellar                 $10.50   61.27   $   8.60          $   111.65   $    111.65
 7/29/2018 Daniel Cuellar                 $10.50   73.22   $   8.60          $   174.39   $    174.39
  8/5/2018 Daniel Cuellar                 $10.50   91.42   $   8.60          $   269.94   $    269.94
 8/12/2018 Daniel Cuellar                 $10.50   91.17   $   8.60          $   268.63   $    268.63
 8/19/2018 Daniel Cuellar                 $10.50   92.37   $   8.60          $   274.93   $    274.93
 8/26/2018 Daniel Cuellar                 $10.50   92.00   $   8.60          $   273.00   $    273.00
  9/2/2018 Daniel Cuellar                 $10.50   92.65   $   8.60          $   276.41   $    276.41
  9/9/2018 Daniel Cuellar                 $10.50   88.13   $   8.60          $   252.70   $    252.70
 9/16/2018 Daniel Cuellar                 $10.50   89.58   $   8.60          $   260.31   $    260.31
 9/23/2018 Daniel Cuellar                 $10.50   86.22   $   8.60          $   242.64   $    242.64
 9/30/2018 Daniel Cuellar                 $10.50   84.07   $   8.60          $   231.35   $    231.35
 10/7/2018 Daniel Cuellar                 $10.50   84.87   $   8.60          $   235.55   $    235.55
10/14/2018 Daniel Cuellar                 $10.50   83.92   $   8.60          $   230.56   $    230.56
10/21/2018 Daniel Cuellar                 $10.50   81.47   $   8.60          $   217.70   $    217.70
10/28/2018 Daniel Cuellar                 $10.50   82.38   $   8.60          $   222.51   $    222.51
 11/4/2018 Daniel Cuellar                 $10.50   82.20   $   8.60          $   221.55   $    221.55
11/11/2018 Daniel Cuellar                 $10.50   82.22   $   8.60          $   221.64   $    221.64
11/18/2018 Daniel Cuellar                 $10.50   80.37   $   8.60          $   211.93   $    211.93
11/25/2018 Daniel Cuellar                 $10.50   68.95   $   8.60          $   151.99   $    151.99
 12/2/2018 Daniel Cuellar                 $10.50   77.80   $   8.60          $   198.45   $    198.45
 12/9/2018 Daniel Cuellar                 $10.50   81.33   $   8.60          $   217.00   $    217.00
12/16/2018 Daniel Cuellar                 $10.50   80.95   $   8.60          $   214.99   $    214.99
12/23/2018 Daniel Cuellar                 $10.50   80.45   $   8.60          $   212.36   $    212.36
12/30/2018 Daniel Cuellar                 $10.50   63.45   $   8.60          $   123.11   $    123.11
  1/6/2019 Daniel Cuellar                 $10.50   78.07   $   8.85          $   199.85   $    199.85
 1/13/2019 Daniel Cuellar                 $10.50   81.17   $   8.85          $   216.13   $    216.13
 1/20/2019 Daniel Cuellar                 $10.50   82.12   $   8.85          $   221.11   $    221.11
 1/27/2019 Daniel Cuellar                 $10.50   81.67   $   8.85          $   218.75   $    218.75
  2/3/2019 Daniel Cuellar                 $10.50   81.62   $   8.85          $   218.49   $    218.49
 2/10/2019 Daniel Cuellar                 $10.50   80.02   $   8.85          $   210.09   $    210.09
 2/17/2019 Daniel Cuellar                 $10.50   82.43   $   8.85          $   222.78   $    222.78
 2/24/2019 Daniel Cuellar                 $10.50   81.65   $   8.85          $   218.66   $    218.66
  3/3/2019 Daniel Cuellar                 $10.50   83.05   $   8.85          $   226.01   $    226.01
 3/10/2019 Daniel Cuellar                 $10.50   83.00   $   8.85          $   225.75   $    225.75



                                            118
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 120 of 683 PageID: 967
                                              Exhibit 2
                                      New Jersey Computations


  Week                                                       State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
 Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
  Date                                                       Wage  Rate Due     Due       Wages Due

 3/17/2019 Daniel Cuellar                    $10.50   84.10   $    8.85               $   231.53   $   231.53
 3/24/2019 Daniel Cuellar                    $10.50   83.63   $    8.85               $   229.08   $   229.08
 3/31/2019 Daniel Cuellar                    $10.50   84.57   $    8.85               $   233.98   $   233.98
  4/7/2019 Daniel Cuellar                    $10.50   84.45   $    8.85               $   233.36   $   233.36
 4/14/2019 Daniel Cuellar                    $10.50   84.88   $    8.85               $   235.64   $   235.64
 4/21/2019 Daniel Cuellar                    $10.50   84.72   $    8.85               $   234.76   $   234.76
 4/28/2019 Daniel Cuellar                    $10.50   83.53   $    8.85               $   228.55   $   228.55
  5/5/2019 Daniel Cuellar                    $10.50   84.65   $    8.85               $   234.41   $   234.41
 5/12/2019 Daniel Cuellar                    $10.50   69.58   $    8.85               $   155.31   $   155.31
 5/19/2019 Daniel Cuellar                    $10.50   85.37   $    8.85               $   238.18   $   238.18
 5/26/2019 Daniel Cuellar                    $10.50   86.18   $    8.85               $   242.46   $   242.46
  6/2/2019 Daniel Cuellar                    $10.50   83.32   $    8.85               $   227.41   $   227.41
  6/9/2019 Daniel Cuellar                    $10.50   85.35   $    8.85               $   238.09   $   238.09
 6/16/2019 Daniel Cuellar                    $10.50   84.37   $    8.85               $   232.93   $   232.93
 6/23/2019 Daniel Cuellar                    $10.50   85.75   $    8.85               $   240.19   $   240.19
 6/30/2019 Daniel Cuellar                    $10.50   85.98   $   10.00               $   241.41   $   241.41
  7/7/2019 Daniel Cuellar                    $10.50   84.03   $   10.00               $   231.18   $   231.18
 7/14/2019 Daniel Cuellar                    $10.50   86.85   $   10.00               $   245.96   $   245.96
 7/21/2019 Daniel Cuellar                    $10.50   86.02   $   10.00               $   241.59   $   241.59
 7/28/2019 Daniel Cuellar                    $10.50   85.90   $   10.00               $   240.98   $   240.98
  8/4/2019 Daniel Cuellar                    $10.50   87.10   $   10.00               $   247.28   $   247.28
 8/11/2019 Daniel Cuellar                    $10.50   44.13   $   10.00               $    21.70   $    21.70
  9/1/2019 Daniel Cuellar                    $10.50   54.53   $   10.00               $    76.30   $    76.30
  9/8/2019 Daniel Cuellar                    $10.50   82.55   $   10.00               $   223.39   $   223.39
 9/15/2019 Daniel Cuellar                    $10.50   84.68   $   10.00               $   234.59   $   234.59
 9/22/2019 Daniel Cuellar                    $10.50   85.45   $   10.00               $   238.61   $   238.61
 9/29/2019 Daniel Cuellar                    $10.50   82.53   $   10.00               $   223.30   $   223.30
 10/6/2019 Daniel Cuellar                    $10.50   84.57   $   10.00               $   233.98   $   233.98
10/13/2019 Daniel Cuellar                    $10.50   84.92   $   10.00               $   235.81   $   235.81
10/20/2019 Daniel Cuellar                    $10.50   83.35   $   10.00               $   227.59   $   227.59
10/27/2019 Daniel Cuellar                    $10.50   83.50   $   10.00               $   228.38   $   228.38
 11/3/2019 Daniel Cuellar                    $10.50   83.35   $   10.00               $   227.59   $   227.59
11/10/2019 Daniel Cuellar                    $10.50   83.53   $   10.00               $   228.55   $   228.55
11/17/2019 Daniel Cuellar                    $10.50   83.35   $   10.00               $   227.59   $   227.59
11/24/2019 Daniel Cuellar                    $10.50   83.88   $   10.00               $   230.39   $   230.39
 12/1/2019 Daniel Cuellar                    $10.50   69.33   $   10.00               $   154.00   $   154.00
 12/8/2019 Daniel Cuellar                    $10.50   81.90   $   10.00               $   219.98   $   219.98
12/15/2019 Daniel Cuellar                    $10.50   83.68   $   10.00               $   229.34   $   229.34
12/22/2019 Daniel Cuellar                    $10.50   82.95   $   10.00               $   225.49   $   225.49
12/29/2019 Daniel Cuellar                    $10.50   65.28   $   10.00               $   132.74   $   132.74
  1/5/2020 Daniel Cuellar                    $10.50   82.17   $   11.00   $   41.08   $   231.92   $   273.00
 1/12/2020 Daniel Cuellar                    $10.50   84.73   $   11.00   $   42.37   $   246.03   $   288.40
 1/19/2020 Daniel Cuellar                    $10.50   84.12   $   11.00   $   42.06   $   242.64   $   284.70
 1/26/2020 Daniel Cuellar                    $10.50   72.97   $   11.00   $   36.48   $   181.32   $   217.80
 12/8/2019 Daniel Echevarria                 $10.00   44.90   $   10.00               $    24.50   $    24.50
11/11/2018 Daniel Fernando Gaviria           $11.00   75.53   $    8.60               $   195.43   $   195.43
11/18/2018 Daniel Fernando Gaviria           $11.00   77.60   $    8.60               $   206.80   $   206.80
11/25/2018 Daniel Fernando Gaviria           $11.00   64.65   $    8.60               $   135.58   $   135.58
 12/2/2018 Daniel Fernando Gaviria           $11.00   76.83   $    8.60               $   202.58   $   202.58
 12/9/2018 Daniel Fernando Gaviria           $11.00   74.38   $    8.60               $   189.11   $   189.11



                                               119
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 121 of 683 PageID: 968
                                              Exhibit 2
                                      New Jersey Computations


  Week                                                       State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
 Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
  Date                                                       Wage  Rate Due     Due       Wages Due

12/16/2018 Daniel Fernando Gaviria           $11.00   65.62   $    8.60         $   140.89   $    140.89
12/23/2018 Daniel Fernando Gaviria           $11.00   76.75   $    8.60         $   202.13   $    202.13
12/30/2018 Daniel Fernando Gaviria           $11.00   59.55   $    8.60         $   107.53   $    107.53
  1/6/2019 Daniel Fernando Gaviria           $11.00   69.68   $    8.85         $   163.26   $    163.26
 1/13/2019 Daniel Fernando Gaviria           $11.00   71.08   $    8.85         $   170.96   $    170.96
 1/20/2019 Daniel Fernando Gaviria           $11.00   77.17   $    8.85         $   204.42   $    204.42
 1/27/2019 Daniel Fernando Gaviria           $11.00   77.30   $    8.85         $   205.15   $    205.15
  2/3/2019 Daniel Fernando Gaviria           $11.00   78.47   $    8.85         $   211.57   $    211.57
 2/10/2019 Daniel Fernando Gaviria           $11.00   64.70   $    8.85         $   135.85   $    135.85
 2/17/2019 Daniel Fernando Gaviria           $11.00   78.30   $    8.85         $   210.65   $    210.65
 2/24/2019 Daniel Fernando Gaviria           $11.00   79.93   $    8.85         $   219.63   $    219.63
  3/3/2019 Daniel Fernando Gaviria           $11.00   78.92   $    8.85         $   214.04   $    214.04
 3/10/2019 Daniel Fernando Gaviria           $11.00   80.12   $    8.85         $   220.64   $    220.64
 3/17/2019 Daniel Fernando Gaviria           $11.00   81.57   $    8.85         $   228.62   $    228.62
 3/24/2019 Daniel Fernando Gaviria           $11.00   80.20   $    8.85         $   221.10   $    221.10
 3/31/2019 Daniel Fernando Gaviria           $11.00   84.67   $    8.85         $   245.67   $    245.67
  4/7/2019 Daniel Fernando Gaviria           $11.00   82.28   $    8.85         $   232.56   $    232.56
 4/14/2019 Daniel Fernando Gaviria           $11.00   80.22   $    8.85         $   221.19   $    221.19
 4/21/2019 Daniel Fernando Gaviria           $11.00   78.13   $    8.85         $   209.73   $    209.73
 4/28/2019 Daniel Fernando Gaviria           $11.00   80.18   $    8.85         $   221.01   $    221.01
  5/5/2019 Daniel Fernando Gaviria           $11.00   54.43   $    8.85         $    79.38   $     79.38
 5/12/2019 Daniel Fernando Gaviria           $11.00   74.38   $    8.85         $   189.11   $    189.11
 5/19/2019 Daniel Fernando Gaviria           $11.00   78.53   $    8.85         $   211.93   $    211.93
 5/26/2019 Daniel Fernando Gaviria           $11.00   79.38   $    8.85         $   216.61   $    216.61
  6/2/2019 Daniel Fernando Gaviria           $11.00   77.07   $    8.85         $   203.87   $    203.87
  6/9/2019 Daniel Fernando Gaviria           $11.00   88.68   $    8.85         $   267.76   $    267.76
 6/16/2019 Daniel Fernando Gaviria           $11.00   84.73   $    8.85         $   246.03   $    246.03
 6/23/2019 Daniel Fernando Gaviria           $11.00   87.15   $    8.85         $   259.33   $    259.33
 6/30/2019 Daniel Fernando Gaviria           $11.00   88.15   $   10.00         $   264.83   $    264.83
  7/7/2019 Daniel Fernando Gaviria           $11.00   45.20   $   10.00         $    28.60   $     28.60
 7/14/2019 Daniel Fernando Gaviria           $11.00   51.02   $   10.00         $    60.59   $     60.59
 7/21/2019 Daniel Fernando Gaviria           $11.00   65.98   $   10.00         $   142.91   $    142.91
 7/28/2019 Daniel Fernando Gaviria           $11.00   64.95   $   10.00         $   137.23   $    137.23
  8/4/2019 Daniel Fernando Gaviria           $11.00   68.38   $   10.00         $   156.11   $    156.11
 8/11/2019 Daniel Fernando Gaviria           $11.00   69.07   $   10.00         $   159.87   $    159.87
 8/18/2019 Daniel Fernando Gaviria           $11.00   67.35   $   10.00         $   150.43   $    150.43
 8/25/2019 Daniel Fernando Gaviria           $11.00   69.67   $   10.00         $   163.17   $    163.17
  9/1/2019 Daniel Fernando Gaviria           $11.00   70.42   $   10.00         $   167.29   $    167.29
  9/8/2019 Daniel Fernando Gaviria           $11.00   47.38   $   10.00         $    40.61   $     40.61
 9/15/2019 Daniel Fernando Gaviria           $11.00   68.55   $   10.00         $   157.03   $    157.03
 9/22/2019 Daniel Fernando Gaviria           $11.00   68.67   $   10.00         $   157.67   $    157.67
 9/29/2019 Daniel Fernando Gaviria           $11.00   69.97   $   10.00         $   164.82   $    164.82
 10/6/2019 Daniel Fernando Gaviria           $11.00   70.87   $   10.00         $   169.77   $    169.77
10/13/2019 Daniel Fernando Gaviria           $11.00   57.17   $   10.00         $    94.42   $     94.42
10/20/2019 Daniel Fernando Gaviria           $11.00   67.45   $   10.00         $   150.98   $    150.98
10/27/2019 Daniel Fernando Gaviria           $11.00   68.17   $   10.00         $   154.92   $    154.92
 11/3/2019 Daniel Fernando Gaviria           $11.00   69.63   $   10.00         $   162.98   $    162.98
11/10/2019 Daniel Fernando Gaviria           $11.00   67.40   $   10.00         $   150.70   $    150.70
11/17/2019 Daniel Fernando Gaviria           $11.00   67.97   $   10.00         $   153.82   $    153.82
11/24/2019 Daniel Fernando Gaviria           $11.00   70.33   $   10.00         $   166.83   $    166.83



                                               120
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 122 of 683 PageID: 969
                                              Exhibit 2
                                      New Jersey Computations


  Week                                                       State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
 Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
  Date                                                       Wage  Rate Due     Due       Wages Due

 12/1/2019 Daniel Fernando Gaviria           $11.00   58.47   $   10.00         $   101.57   $    101.57
 12/8/2019 Daniel Fernando Gaviria           $11.00   71.27   $   10.00         $   171.97   $    171.97
12/15/2019 Daniel Fernando Gaviria           $11.00   71.63   $   10.00         $   173.98   $    173.98
12/22/2019 Daniel Fernando Gaviria           $11.00   74.83   $   10.00         $   191.58   $    191.58
12/29/2019 Daniel Fernando Gaviria           $11.00   41.70   $   10.00         $     9.35   $      9.35
  1/5/2020 Daniel Fernando Gaviria           $11.00   59.48   $   11.00         $   107.16   $    107.16
 1/12/2020 Daniel Fernando Gaviria           $11.00   70.48   $   11.00         $   167.66   $    167.66
 1/19/2020 Daniel Fernando Gaviria           $11.00   75.87   $   11.00         $   197.27   $    197.27
 1/26/2020 Daniel Fernando Gaviria           $11.00   78.73   $   11.00         $   213.03   $    213.03
  2/5/2017 Daniel Mendez                      $9.50   50.43   $    8.44         $    49.56   $     49.56
 2/12/2017 Daniel Mendez                      $9.50   48.78   $    8.44         $    41.72   $     41.72
 2/19/2017 Daniel Mendez                      $9.50   50.80   $    8.44         $    51.30   $     51.30
 2/26/2017 Daniel Mendez                      $9.50   49.10   $    8.44         $    43.23   $     43.23
  3/5/2017 Daniel Mendez                      $9.50   48.72   $    8.44         $    41.40   $     41.40
10/21/2018 Daniel Rivera                     $11.00   61.10   $    8.60         $   116.05   $    116.05
10/28/2018 Daniel Rivera                     $11.00   60.33   $    8.60         $   111.83   $    111.83
 11/4/2018 Daniel Rivera                     $11.00   63.00   $    8.60         $   126.50   $    126.50
11/11/2018 Daniel Rivera                     $11.00   60.40   $    8.60         $   112.20   $    112.20
11/18/2018 Daniel Rivera                     $11.00   56.33   $    8.60         $    89.83   $     89.83
11/25/2018 Daniel Rivera                     $11.00   50.32   $    8.60         $    56.74   $     56.74
 12/2/2018 Daniel Rivera                     $11.00   60.13   $    8.60         $   110.73   $    110.73
 12/9/2018 Daniel Rivera                     $11.00   61.30   $    8.60         $   117.15   $    117.15
12/16/2018 Daniel Rivera                     $11.00   68.38   $    8.60         $   156.11   $    156.11
12/23/2018 Daniel Rivera                     $11.00   69.08   $    8.60         $   159.96   $    159.96
12/30/2018 Daniel Rivera                     $11.00   45.20   $    8.60         $    28.60   $     28.60
  1/6/2019 Daniel Rivera                     $11.00   64.25   $    8.85         $   133.38   $    133.38
 1/13/2019 Daniel Rivera                     $11.00   68.92   $    8.85         $   159.04   $    159.04
 1/20/2019 Daniel Rivera                     $11.00   68.83   $    8.85         $   158.58   $    158.58
 1/27/2019 Daniel Rivera                     $11.00   68.68   $    8.85         $   157.76   $    157.76
  2/3/2019 Daniel Rivera                     $11.00   69.42   $    8.85         $   161.79   $    161.79
 2/10/2019 Daniel Rivera                     $11.00   70.45   $    8.85         $   167.48   $    167.48
 2/17/2019 Daniel Rivera                     $11.00   53.57   $    8.85         $    74.62   $     74.62
 2/24/2019 Daniel Rivera                     $11.00   66.88   $    8.85         $   147.86   $    147.86
  3/3/2019 Daniel Rivera                     $11.00   71.68   $    8.85         $   174.26   $    174.26
 3/10/2019 Daniel Rivera                     $11.00   78.82   $    8.85         $   213.49   $    213.49
 3/17/2019 Daniel Rivera                     $11.00   69.48   $    8.85         $   162.16   $    162.16
 3/24/2019 Daniel Rivera                     $11.00   71.12   $    8.85         $   171.14   $    171.14
 3/31/2019 Daniel Rivera                     $11.00   73.00   $    8.85         $   181.50   $    181.50
  4/7/2019 Daniel Rivera                     $11.00   67.17   $    8.85         $   149.42   $    149.42
 4/14/2019 Daniel Rivera                     $11.00   69.35   $    8.85         $   161.43   $    161.43
 4/21/2019 Daniel Rivera                     $11.00   69.35   $    8.85         $   161.43   $    161.43
 4/28/2019 Daniel Rivera                     $11.00   70.00   $    8.85         $   165.00   $    165.00
  5/5/2019 Daniel Rivera                     $11.00   73.13   $    8.85         $   182.23   $    182.23
 5/12/2019 Daniel Rivera                     $11.00   70.87   $    8.85         $   169.77   $    169.77
 5/19/2019 Daniel Rivera                     $11.00   68.70   $    8.85         $   157.85   $    157.85
 5/26/2019 Daniel Rivera                     $11.00   68.13   $    8.85         $   154.73   $    154.73
  6/2/2019 Daniel Rivera                     $11.00   66.77   $    8.85         $   147.22   $    147.22
  6/9/2019 Daniel Rivera                     $11.00   73.30   $    8.85         $   183.15   $    183.15
 6/16/2019 Daniel Rivera                     $11.00   73.13   $    8.85         $   182.23   $    182.23
 6/23/2019 Daniel Rivera                     $11.00   75.23   $    8.85         $   193.78   $    193.78



                                               121
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 123 of 683 PageID: 970
                                             Exhibit 2
                                     New Jersey Computations


  Week                                                      State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
 Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
  Date                                                      Wage  Rate Due     Due       Wages Due

 6/30/2019 Daniel Rivera                    $11.00   73.53   $   10.00         $   184.43   $    184.43
  7/7/2019 Daniel Rivera                    $11.00   65.63   $   10.00         $   140.98   $    140.98
 7/14/2019 Daniel Rivera                    $11.00   71.68   $   10.00         $   174.26   $    174.26
 7/21/2019 Daniel Rivera                    $11.00   72.77   $   10.00         $   180.22   $    180.22
 7/28/2019 Daniel Rivera                    $11.00   73.98   $   10.00         $   186.91   $    186.91
  8/4/2019 Daniel Rivera                    $11.00   75.12   $   10.00         $   193.14   $    193.14
 8/11/2019 Daniel Rivera                    $11.00   74.90   $   10.00         $   191.95   $    191.95
 8/18/2019 Daniel Rivera                    $11.00   74.52   $   10.00         $   189.84   $    189.84
 8/25/2019 Daniel Rivera                    $11.00   73.03   $   10.00         $   181.68   $    181.68
  9/1/2019 Daniel Rivera                    $11.00   75.55   $   10.00         $   195.53   $    195.53
  9/8/2019 Daniel Rivera                    $11.00   66.10   $   10.00         $   143.55   $    143.55
 9/15/2019 Daniel Rivera                    $11.00   77.75   $   10.00         $   207.63   $    207.63
 9/22/2019 Daniel Rivera                    $11.00   75.78   $   10.00         $   196.81   $    196.81
 9/29/2019 Daniel Rivera                    $11.00   73.38   $   10.00         $   183.61   $    183.61
 10/6/2019 Daniel Rivera                    $11.00   71.28   $   10.00         $   172.06   $    172.06
10/13/2019 Daniel Rivera                    $11.00   72.48   $   10.00         $   178.66   $    178.66
10/20/2019 Daniel Rivera                    $11.00   73.40   $   10.00         $   183.70   $    183.70
10/27/2019 Daniel Rivera                    $11.00   75.03   $   10.00         $   192.68   $    192.68
 11/3/2019 Daniel Rivera                    $11.00   72.27   $   10.00         $   177.47   $    177.47
11/10/2019 Daniel Rivera                    $11.00   72.55   $   10.00         $   179.03   $    179.03
11/17/2019 Daniel Rivera                    $11.00   69.83   $   10.00         $   164.08   $    164.08
11/24/2019 Daniel Rivera                    $11.00   71.42   $   10.00         $   172.79   $    172.79
 12/1/2019 Daniel Rivera                    $11.00   58.37   $   10.00         $   101.02   $    101.02
 12/8/2019 Daniel Rivera                    $11.00   61.45   $   10.00         $   117.98   $    117.98
12/15/2019 Daniel Rivera                    $11.00   70.47   $   10.00         $   167.57   $    167.57
12/22/2019 Daniel Rivera                    $11.00   70.92   $   10.00         $   170.04   $    170.04
12/29/2019 Daniel Rivera                    $12.50   58.27   $   10.00         $   114.17   $    114.17
  1/5/2020 Daniel Rivera                    $12.50   61.87   $   11.00         $   136.67   $    136.67
 1/12/2020 Daniel Rivera                    $12.50   71.83   $   11.00         $   198.96   $    198.96
 1/19/2020 Daniel Rivera                    $12.50   70.45   $   11.00         $   190.31   $    190.31
 1/26/2020 Daniel Rivera                    $12.50   72.37   $   11.00         $   202.29   $    202.29
 4/15/2018 Daniel Rodriguez                 $10.00   47.28   $    8.60         $    36.42   $     36.42
 4/29/2018 Daniel Rodriguez                 $10.00   46.13   $    8.60         $    30.67   $     30.67
 5/27/2018 Daniel Rodriguez                 $10.00   45.13   $    8.60         $    25.67   $     25.67
  2/5/2017 Daniel Saca                      $12.00   53.47   $    8.44         $    80.80   $     80.80
 2/12/2017 Daniel Saca                      $12.00   50.43   $    8.44         $    62.60   $     62.60
 2/19/2017 Daniel Saca                      $12.00   56.08   $    8.44         $    96.50   $     96.50
 2/26/2017 Daniel Saca                      $12.00   54.80   $    8.44         $    88.80   $     88.80
  3/5/2017 Daniel Saca                      $12.00   44.33   $    8.44         $    26.00   $     26.00
 3/12/2017 Daniel Saca                      $12.00   43.85   $    8.44         $    23.10   $     23.10
 3/19/2017 Daniel Saca                      $12.00   40.32   $    8.44         $     1.90   $      1.90
 3/26/2017 Daniel Saca                      $12.00   54.98   $    8.44         $    89.90   $     89.90
  4/2/2017 Daniel Saca                      $12.00   53.78   $    8.44         $    82.70   $     82.70
  4/9/2017 Daniel Saca                      $12.00   54.52   $    8.44         $    87.10   $     87.10
 4/16/2017 Daniel Saca                      $12.00   42.47   $    8.44         $    14.80   $     14.80
 4/23/2017 Daniel Saca                      $12.00   50.83   $    8.44         $    65.00   $     65.00
 4/30/2017 Daniel Saca                      $12.00   47.70   $    8.44         $    46.20   $     46.20
 5/14/2017 Daniel Saca                      $12.00   41.33   $    8.44         $     8.00   $      8.00
 6/18/2017 Daniel Saca                      $12.00   50.27   $    8.44         $    61.60   $     61.60
 6/25/2017 Daniel Saca                      $12.00   40.35   $    8.44         $     2.10   $      2.10



                                              122
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 124 of 683 PageID: 971
                                              Exhibit 2
                                      New Jersey Computations


  Week                                                       State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
 Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
  Date                                                       Wage  Rate Due     Due       Wages Due

  7/2/2017 Daniel Saca                       $12.00   41.72   $    8.44               $    10.30   $    10.30
11/11/2018 Daniel Sierra                     $10.50   50.50   $    8.60               $    55.13   $    55.13
12/22/2019 Daniel Sierra                     $11.00   41.97   $   10.00               $    10.82   $    10.82
12/29/2019 Daniel Sierra                     $11.00   55.70   $   10.00               $    86.35   $    86.35
  1/5/2020 Daniel Sierra                     $11.00   49.07   $   11.00               $    49.87   $    49.87
 1/12/2020 Daniel Sierra                     $11.00   51.58   $   11.00               $    63.71   $    63.71
 1/19/2020 Daniel Sierra                     $11.00   48.83   $   11.00               $    48.58   $    48.58
 1/26/2020 Daniel Sierra                     $11.00   49.82   $   11.00               $    53.99   $    53.99
 3/10/2019 Daniel Trujillo                   $10.35   60.75   $    8.85               $   107.38   $   107.38
 3/17/2019 Daniel Trujillo                   $10.35   61.28   $    8.85               $   110.14   $   110.14
 3/24/2019 Daniel Trujillo                   $10.35   61.42   $    8.85               $   110.83   $   110.83
 3/31/2019 Daniel Trujillo                   $10.35   63.43   $    8.85               $   121.27   $   121.27
  4/7/2019 Daniel Trujillo                   $10.35   60.88   $    8.85               $   108.07   $   108.07
 4/14/2019 Daniel Trujillo                   $10.35   51.08   $    8.85               $    57.36   $    57.36
 4/21/2019 Daniel Trujillo                   $10.35   61.25   $    8.85               $   109.97   $   109.97
 4/28/2019 Daniel Trujillo                   $10.35   50.02   $    8.85               $    51.84   $    51.84
  5/5/2019 Daniel Trujillo                   $10.35   59.88   $    8.85               $   102.90   $   102.90
 5/12/2019 Daniel Trujillo                   $10.35   62.55   $    8.85               $   116.70   $   116.70
 5/19/2019 Daniel Trujillo                   $10.35   55.47   $    8.85               $    80.04   $    80.04
 5/26/2019 Daniel Trujillo                   $10.35   50.57   $    8.85               $    54.68   $    54.68
  6/2/2019 Daniel Trujillo                   $10.35   48.52   $    8.85               $    44.07   $    44.07
  6/9/2019 Daniel Trujillo                   $10.35   61.22   $    8.85               $   109.80   $   109.80
 6/16/2019 Daniel Trujillo                   $10.35   60.60   $    8.85               $   106.61   $   106.61
 6/23/2019 Daniel Trujillo                   $10.35   60.32   $    8.85               $   105.14   $   105.14
 6/30/2019 Daniel Trujillo                   $10.35   59.53   $   10.00               $   101.09   $   101.09
  7/7/2019 Daniel Trujillo                   $10.35   41.42   $   10.00               $     7.33   $     7.33
 7/14/2019 Daniel Trujillo                   $10.35   60.32   $   10.00               $   105.14   $   105.14
 7/21/2019 Daniel Trujillo                   $10.35   60.68   $   10.00               $   107.04   $   107.04
 7/28/2019 Daniel Trujillo                   $10.35   60.58   $   10.00               $   106.52   $   106.52
  8/4/2019 Daniel Trujillo                   $10.35   61.15   $   10.00               $   109.45   $   109.45
 8/18/2019 Daniel Trujillo                   $10.35   62.17   $   10.00               $   114.71   $   114.71
 1/19/2020 Danilo Gonzalez Peralta           $10.00   52.38   $   11.00   $   52.38   $    68.11   $   120.49
 1/26/2020 Danilo Gonzalez Peralta           $10.00   52.65   $   11.00   $   52.65   $    69.58   $   122.23
  2/5/2017 Danilo Santana                    $11.50   90.07   $    8.44               $   287.88   $   287.88
 2/12/2017 Danilo Santana                    $11.50   78.25   $    8.44               $   219.94   $   219.94
 2/19/2017 Danilo Santana                    $11.50   78.28   $    8.44               $   220.13   $   220.13
 2/26/2017 Danilo Santana                    $11.50   80.15   $    8.44               $   230.86   $   230.86
  3/5/2017 Danilo Santana                    $11.50   86.17   $    8.44               $   265.46   $   265.46
 3/12/2017 Danilo Santana                    $11.50   75.97   $    8.44               $   206.81   $   206.81
 3/19/2017 Danilo Santana                    $11.50   72.05   $    8.44               $   184.29   $   184.29
 3/26/2017 Danilo Santana                    $11.50   63.27   $    8.44               $   133.78   $   133.78
  4/2/2017 Danilo Santana                    $11.50   69.43   $    8.44               $   169.24   $   169.24
  4/9/2017 Danilo Santana                    $11.50   75.73   $    8.44               $   205.47   $   205.47
 4/16/2017 Danilo Santana                    $11.50   76.93   $    8.44               $   212.37   $   212.37
 4/23/2017 Danilo Santana                    $11.50   77.30   $    8.44               $   214.48   $   214.48
 4/30/2017 Danilo Santana                    $11.50   82.30   $    8.44               $   243.23   $   243.23
  5/7/2017 Danilo Santana                    $11.50   79.23   $    8.44               $   225.59   $   225.59
 5/14/2017 Danilo Santana                    $11.50   75.42   $    8.44               $   203.65   $   203.65
  6/4/2017 Danilo Santana                    $11.50   59.27   $    8.44               $   110.78   $   110.78
 6/11/2017 Danilo Santana                    $11.50   71.40   $    8.44               $   180.55   $   180.55



                                               123
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 125 of 683 PageID: 972
                                           Exhibit 2
                                   New Jersey Computations


  Week                                                    State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
 Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
  Date                                                    Wage  Rate Due     Due       Wages Due

 6/18/2017 Danilo Santana                 $11.50   59.47   $   8.44          $   111.93   $    111.93
 6/25/2017 Danilo Santana                 $11.50   62.38   $   8.44          $   128.70   $    128.70
  7/2/2017 Danilo Santana                 $11.50   67.52   $   8.44          $   158.22   $    158.22
  7/9/2017 Danilo Santana                 $11.50   74.58   $   8.44          $   198.85   $    198.85
 7/23/2017 Danilo Santana                 $11.50   62.25   $   8.44          $   127.94   $    127.94
 7/30/2017 Danilo Santana                 $11.50   74.83   $   8.44          $   200.29   $    200.29
  8/6/2017 Danilo Santana                 $11.50   84.38   $   8.44          $   255.20   $    255.20
 8/13/2017 Danilo Santana                 $11.50   63.35   $   8.44          $   134.26   $    134.26
 8/20/2017 Danilo Santana                 $11.50   83.37   $   8.44          $   249.36   $    249.36
 8/27/2017 Danilo Santana                 $11.50   86.77   $   8.44          $   268.91   $    268.91
  9/3/2017 Danilo Santana                 $11.50   82.87   $   8.44          $   246.48   $    246.48
 9/10/2017 Danilo Santana                 $11.50   75.20   $   8.44          $   202.40   $    202.40
 9/17/2017 Danilo Santana                 $11.50   89.92   $   8.44          $   287.02   $    287.02
 9/24/2017 Danilo Santana                 $11.50   81.22   $   8.44          $   237.00   $    237.00
 10/1/2017 Danilo Santana                 $11.50   82.83   $   8.44          $   246.29   $    246.29
 10/8/2017 Danilo Santana                 $11.50   52.12   $   8.44          $    69.67   $     69.67
10/15/2017 Danilo Santana                 $11.50   81.77   $   8.44          $   240.16   $    240.16
10/22/2017 Danilo Santana                 $11.50   87.82   $   8.44          $   274.95   $    274.95
10/29/2017 Danilo Santana                 $11.50   82.95   $   8.44          $   246.96   $    246.96
 11/5/2017 Danilo Santana                 $11.50   82.88   $   8.44          $   246.58   $    246.58
11/12/2017 Danilo Santana                 $11.50   82.23   $   8.44          $   242.84   $    242.84
11/19/2017 Danilo Santana                 $11.50   88.27   $   8.44          $   277.53   $    277.53
11/26/2017 Danilo Santana                 $11.50   73.53   $   8.44          $   192.82   $    192.82
 12/3/2017 Danilo Santana                 $11.50   89.30   $   8.44          $   283.48   $    283.48
12/10/2017 Danilo Santana                 $11.50   78.73   $   8.44          $   222.72   $    222.72
12/17/2017 Danilo Santana                 $11.50   87.78   $   8.44          $   274.75   $    274.75
12/24/2017 Danilo Santana                 $11.50   89.23   $   8.44          $   283.09   $    283.09
12/31/2017 Danilo Santana                 $11.50   69.75   $   8.44          $   171.06   $    171.06
  1/7/2018 Danilo Santana                 $11.50   67.28   $   8.60          $   156.88   $    156.88
 1/14/2018 Danilo Santana                 $11.50   74.10   $   8.60          $   196.08   $    196.08
 1/21/2018 Danilo Santana                 $11.50   89.00   $   8.60          $   281.75   $    281.75
 1/28/2018 Danilo Santana                 $11.50   81.55   $   8.60          $   238.91   $    238.91
  2/4/2018 Danilo Santana                 $11.50   82.55   $   8.60          $   244.66   $    244.66
 2/11/2018 Danilo Santana                 $11.50   56.40   $   8.60          $    94.30   $     94.30
  3/4/2018 Danilo Santana                 $11.50   62.15   $   8.60          $   127.36   $    127.36
 3/25/2018 Danilo Santana                 $11.50   63.68   $   8.60          $   136.18   $    136.18
  4/1/2018 Danilo Santana                 $11.50   67.25   $   8.60          $   156.69   $    156.69
  4/8/2018 Danilo Santana                 $11.50   51.18   $   8.60          $    64.30   $     64.30
  5/6/2018 Danilo Santana                 $11.50   71.75   $   8.60          $   182.56   $    182.56
 5/13/2018 Danilo Santana                 $11.50   70.12   $   8.60          $   173.17   $    173.17
 5/20/2018 Danilo Santana                 $11.50   77.03   $   8.60          $   212.94   $    212.94
 5/27/2018 Danilo Santana                 $11.50   79.80   $   8.60          $   228.85   $    228.85
  6/3/2018 Danilo Santana                 $11.50   82.23   $   8.60          $   242.84   $    242.84
 6/10/2018 Danilo Santana                 $11.50   72.42   $   8.60          $   186.40   $    186.40
 6/17/2018 Danilo Santana                 $11.50   70.02   $   8.60          $   172.60   $    172.60
 6/24/2018 Danilo Santana                 $11.50   68.75   $   8.60          $   165.31   $    165.31
  7/1/2018 Danilo Santana                 $11.50   83.57   $   8.60          $   250.51   $    250.51
  7/8/2018 Danilo Santana                 $11.50   61.12   $   8.60          $   121.42   $    121.42
 7/15/2018 Danilo Santana                 $11.50   80.52   $   8.60          $   232.97   $    232.97
 7/22/2018 Danilo Santana                 $11.50   74.53   $   8.60          $   198.57   $    198.57



                                            124
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 126 of 683 PageID: 973
                                            Exhibit 2
                                    New Jersey Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
  Date                                                     Wage  Rate Due     Due       Wages Due

 7/29/2018 Danilo Santana                  $11.50   78.50   $    8.60         $   221.38   $    221.38
  8/5/2018 Danilo Santana                  $11.50   75.97   $    8.60         $   206.81   $    206.81
 8/12/2018 Danilo Santana                  $11.50   72.82   $    8.60         $   188.70   $    188.70
 8/19/2018 Danilo Santana                  $11.50   69.58   $    8.60         $   170.10   $    170.10
 8/26/2018 Danilo Santana                  $11.50   60.63   $    8.60         $   118.64   $    118.64
  9/2/2018 Danilo Santana                  $11.50   90.58   $    8.60         $   290.85   $    290.85
  9/9/2018 Danilo Santana                  $11.50   71.90   $    8.60         $   183.43   $    183.43
 9/16/2018 Danilo Santana                  $11.50   70.80   $    8.60         $   177.10   $    177.10
 1/13/2019 Danilo Santana                  $11.50   54.00   $    8.85         $    80.50   $     80.50
 1/20/2019 Danilo Santana                  $11.50   42.35   $    8.85         $    13.51   $     13.51
 1/27/2019 Danilo Santana                  $11.50   61.25   $    8.85         $   122.19   $    122.19
  2/3/2019 Danilo Santana                  $11.50   54.63   $    8.85         $    84.14   $     84.14
 2/10/2019 Danilo Santana                  $11.50   56.95   $    8.85         $    97.46   $     97.46
 2/17/2019 Danilo Santana                  $11.50   52.17   $    8.85         $    69.96   $     69.96
 2/24/2019 Danilo Santana                  $11.50   65.48   $    8.85         $   146.53   $    146.53
  2/3/2019 Dante A. Sosa Delgado           $10.50   70.73   $    8.85         $   161.35   $    161.35
 2/10/2019 Dante A. Sosa Delgado           $10.50   69.90   $    8.85         $   156.98   $    156.98
 2/17/2019 Dante A. Sosa Delgado           $11.00   77.48   $    8.85         $   206.16   $    206.16
 2/24/2019 Dante A. Sosa Delgado           $11.00   79.67   $    8.85         $   218.17   $    218.17
  3/3/2019 Dante A. Sosa Delgado           $11.00   78.58   $    8.85         $   212.21   $    212.21
 3/10/2019 Dante A. Sosa Delgado           $11.00   79.72   $    8.85         $   218.44   $    218.44
 3/17/2019 Dante A. Sosa Delgado           $11.00   81.27   $    8.85         $   226.97   $    226.97
 3/24/2019 Dante A. Sosa Delgado           $11.00   79.92   $    8.85         $   219.54   $    219.54
 3/31/2019 Dante A. Sosa Delgado           $11.00   83.67   $    8.85         $   240.17   $    240.17
  4/7/2019 Dante A. Sosa Delgado           $11.00   81.65   $    8.85         $   229.08   $    229.08
 4/14/2019 Dante A. Sosa Delgado           $11.00   79.72   $    8.85         $   218.44   $    218.44
 4/21/2019 Dante A. Sosa Delgado           $11.00   77.98   $    8.85         $   208.91   $    208.91
 4/28/2019 Dante A. Sosa Delgado           $11.00   80.12   $    8.85         $   220.64   $    220.64
  5/5/2019 Dante A. Sosa Delgado           $11.00   78.00   $    8.85         $   209.00   $    209.00
 5/12/2019 Dante A. Sosa Delgado           $11.00   77.85   $    8.85         $   208.18   $    208.18
 5/19/2019 Dante A. Sosa Delgado           $11.00   78.48   $    8.85         $   211.66   $    211.66
 5/26/2019 Dante A. Sosa Delgado           $11.00   75.75   $    8.85         $   196.63   $    196.63
  6/2/2019 Dante A. Sosa Delgado           $11.00   76.42   $    8.85         $   200.29   $    200.29
  6/9/2019 Dante A. Sosa Delgado           $11.00   79.28   $    8.85         $   216.06   $    216.06
 6/16/2019 Dante A. Sosa Delgado           $11.00   79.23   $    8.85         $   215.78   $    215.78
 6/23/2019 Dante A. Sosa Delgado           $11.00   78.27   $    8.85         $   210.47   $    210.47
 6/30/2019 Dante A. Sosa Delgado           $11.00   82.70   $   10.00         $   234.85   $    234.85
  7/7/2019 Dante A. Sosa Delgado           $11.00   75.88   $   10.00         $   197.36   $    197.36
 7/14/2019 Dante A. Sosa Delgado           $11.00   80.13   $   10.00         $   220.73   $    220.73
 7/21/2019 Dante A. Sosa Delgado           $11.00   88.38   $   10.00         $   266.11   $    266.11
 7/28/2019 Dante A. Sosa Delgado           $11.00   83.63   $   10.00         $   239.98   $    239.98
  8/4/2019 Dante A. Sosa Delgado           $11.00   85.55   $   10.00         $   250.53   $    250.53
  9/1/2019 Dante A. Sosa Delgado           $11.00   57.77   $   10.00         $    97.72   $     97.72
  9/8/2019 Dante A. Sosa Delgado           $11.00   64.25   $   10.00         $   133.38   $    133.38
 9/15/2019 Dante A. Sosa Delgado           $11.00   80.88   $   10.00         $   224.86   $    224.86
 9/22/2019 Dante A. Sosa Delgado           $11.00   55.02   $   10.00         $    82.59   $     82.59
 9/29/2019 Dante A. Sosa Delgado           $11.00   78.37   $   10.00         $   211.02   $    211.02
 10/6/2019 Dante A. Sosa Delgado           $11.00   80.30   $   10.00         $   221.65   $    221.65
10/13/2019 Dante A. Sosa Delgado           $11.00   77.13   $   10.00         $   204.23   $    204.23
10/20/2019 Dante A. Sosa Delgado           $11.00   79.92   $   10.00         $   219.54   $    219.54



                                             125
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 127 of 683 PageID: 974
                                            Exhibit 2
                                    New Jersey Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
  Date                                                     Wage  Rate Due     Due       Wages Due

10/27/2019 Dante A. Sosa Delgado           $11.00   76.57   $   10.00         $   201.12   $    201.12
 11/3/2019 Dante A. Sosa Delgado           $11.00   76.40   $   10.00         $   200.20   $    200.20
11/10/2019 Dante A. Sosa Delgado           $11.00   76.70   $   10.00         $   201.85   $    201.85
11/17/2019 Dante A. Sosa Delgado           $11.00   77.18   $   10.00         $   204.51   $    204.51
11/24/2019 Dante A. Sosa Delgado           $11.00   79.40   $   10.00         $   216.70   $    216.70
 12/1/2019 Dante A. Sosa Delgado           $11.00   65.60   $   10.00         $   140.80   $    140.80
 12/8/2019 Dante A. Sosa Delgado           $11.00   78.52   $   10.00         $   211.84   $    211.84
12/15/2019 Dante A. Sosa Delgado           $11.00   79.92   $   10.00         $   219.54   $    219.54
12/22/2019 Dante A. Sosa Delgado           $11.00   79.03   $   10.00         $   214.68   $    214.68
12/29/2019 Dante A. Sosa Delgado           $11.00   59.42   $   10.00         $   106.79   $    106.79
  1/5/2020 Dante A. Sosa Delgado           $11.00   71.60   $   11.00         $   173.80   $    173.80
 1/12/2020 Dante A. Sosa Delgado           $11.00   74.90   $   11.00         $   191.95   $    191.95
 1/19/2020 Dante A. Sosa Delgado           $11.00   72.60   $   11.00         $   179.30   $    179.30
 1/26/2020 Dante A. Sosa Delgado           $11.00   68.98   $   11.00         $   159.41   $    159.41
  2/5/2017 Dante Calderon                  $10.00   57.58   $    8.44         $    87.92   $     87.92
 2/12/2017 Dante Calderon                  $10.00   51.13   $    8.44         $    55.67   $     55.67
 2/19/2017 Dante Calderon                  $10.00   61.80   $    8.44         $   109.00   $    109.00
 2/26/2017 Dante Calderon                  $10.00   63.90   $    8.44         $   119.50   $    119.50
  3/5/2017 Dante Calderon                  $10.00   64.58   $    8.44         $   122.92   $    122.92
 3/12/2017 Dante Calderon                  $10.00   50.45   $    8.44         $    52.25   $     52.25
 3/19/2017 Dante Calderon                  $10.00   46.15   $    8.44         $    30.75   $     30.75
 3/26/2017 Dante Calderon                  $10.00   67.22   $    8.44         $   136.08   $    136.08
  4/2/2017 Dante Calderon                  $10.00   65.07   $    8.44         $   125.33   $    125.33
  4/9/2017 Dante Calderon                  $10.00   64.57   $    8.44         $   122.83   $    122.83
 4/16/2017 Dante Calderon                  $10.00   45.72   $    8.44         $    28.58   $     28.58
 4/23/2017 Dante Calderon                  $10.00   55.10   $    8.44         $    75.50   $     75.50
 4/30/2017 Dante Calderon                  $10.00   65.82   $    8.44         $   129.08   $    129.08
  5/7/2017 Dante Calderon                  $10.00   64.50   $    8.44         $   122.50   $    122.50
 5/14/2017 Dante Calderon                  $10.00   61.90   $    8.44         $   109.50   $    109.50
 5/21/2017 Dante Calderon                  $10.00   65.27   $    8.44         $   126.33   $    126.33
 5/28/2017 Dante Calderon                  $10.00   66.38   $    8.44         $   131.92   $    131.92
  6/4/2017 Dante Calderon                  $10.00   62.35   $    8.44         $   111.75   $    111.75
 6/11/2017 Dante Calderon                  $10.00   60.73   $    8.44         $   103.67   $    103.67
 6/18/2017 Dante Calderon                  $10.00   61.47   $    8.44         $   107.33   $    107.33
 6/25/2017 Dante Calderon                  $10.00   60.02   $    8.44         $   100.08   $    100.08
  7/2/2017 Dante Calderon                  $10.00   62.53   $    8.44         $   112.67   $    112.67
  7/9/2017 Dante Calderon                  $10.00   60.15   $    8.44         $   100.75   $    100.75
 7/16/2017 Dante Calderon                  $10.00   62.37   $    8.44         $   111.83   $    111.83
 7/23/2017 Dante Calderon                  $10.00   64.23   $    8.44         $   121.17   $    121.17
 7/30/2017 Dante Calderon                  $10.00   60.85   $    8.44         $   104.25   $    104.25
  8/6/2017 Dante Calderon                  $10.00   48.62   $    8.44         $    43.08   $     43.08
 8/13/2017 Dante Calderon                  $10.00   47.27   $    8.44         $    36.33   $     36.33
 8/27/2017 Dante Calderon                  $10.00   52.67   $    8.44         $    63.33   $     63.33
  4/1/2018 Daris Morales                    $9.00   49.20   $    8.60         $    41.40   $     41.40
  4/8/2018 Daris Morales                    $9.00   55.70   $    8.60         $    70.65   $     70.65
 4/15/2018 Daris Morales                    $9.00   55.83   $    8.60         $    71.25   $     71.25
 4/22/2018 Daris Morales                    $9.00   49.72   $    8.60         $    43.73   $     43.73
 4/29/2018 Daris Morales                    $9.00   58.32   $    8.60         $    82.43   $     82.43
  5/6/2018 Daris Morales                    $9.00   56.82   $    8.60         $    75.68   $     75.68
 5/13/2018 Daris Morales                    $9.00   46.42   $    8.60         $    28.88   $     28.88



                                             126
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 128 of 683 PageID: 975
                                           Exhibit 2
                                   New Jersey Computations


  Week                                                    State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
 Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
  Date                                                    Wage  Rate Due     Due       Wages Due

 5/20/2018 Daris Morales                   $9.00   46.37   $    8.60               $    28.65   $    28.65
 5/27/2018 Daris Morales                   $9.00   47.67   $    8.60               $    34.50   $    34.50
 6/10/2018 Daris Morales                   $9.00   46.12   $    8.60               $    27.53   $    27.53
  7/1/2018 Daris Morales                   $9.00   45.57   $    8.60               $    25.05   $    25.05
  7/8/2018 Daris Morales                   $9.00   40.30   $    8.60               $     1.35   $     1.35
 7/15/2018 Daris Morales                   $9.00   44.48   $    8.60               $    20.18   $    20.18
 7/29/2018 Daris Morales                   $9.00   50.55   $    8.60               $    47.48   $    47.48
 8/26/2018 Daris Morales                   $9.00   49.07   $    8.60               $    40.80   $    40.80
  9/2/2018 Daris Morales                   $9.00   45.87   $    8.60               $    26.40   $    26.40
 9/30/2018 Daris Morales                   $9.00   59.53   $    8.60               $    87.90   $    87.90
 10/7/2018 Daris Morales                   $9.00   56.68   $    8.60               $    75.08   $    75.08
10/14/2018 Daris Morales                   $9.00   44.12   $    8.60               $    18.53   $    18.53
10/21/2018 Daris Morales                   $9.00   62.65   $    8.60               $   101.93   $   101.93
10/28/2018 Daris Morales                   $9.00   54.88   $    8.60               $    66.98   $    66.98
 11/4/2018 Daris Morales                   $9.00   55.75   $    8.60               $    70.88   $    70.88
11/11/2018 Daris Morales                   $9.00   67.47   $    8.60               $   123.60   $   123.60
11/18/2018 Daris Morales                   $9.00   48.30   $    8.60               $    37.35   $    37.35
 3/10/2019 Daris Morales                  $10.00   70.22   $    8.85               $   151.08   $   151.08
 3/17/2019 Daris Morales                  $10.00   66.58   $    8.85               $   132.92   $   132.92
 3/24/2019 Daris Morales                  $10.00   60.23   $    8.85               $   101.17   $   101.17
 3/31/2019 Daris Morales                  $10.00   61.67   $    8.85               $   108.33   $   108.33
  4/7/2019 Daris Morales                  $10.00   62.45   $    8.85               $   112.25   $   112.25
 4/14/2019 Daris Morales                  $10.00   70.45   $    8.85               $   152.25   $   152.25
 4/21/2019 Daris Morales                  $10.00   66.57   $    8.85               $   132.83   $   132.83
 4/28/2019 Daris Morales                  $10.00   57.20   $    8.85               $    86.00   $    86.00
  5/5/2019 Daris Morales                  $10.00   56.13   $    8.85               $    80.67   $    80.67
 5/12/2019 Daris Morales                  $10.00   51.63   $    8.85               $    58.17   $    58.17
 5/19/2019 Daris Morales                  $10.00   46.55   $    8.85               $    32.75   $    32.75
 5/26/2019 Daris Morales                  $10.00   59.73   $    8.85               $    98.67   $    98.67
  6/2/2019 Daris Morales                  $10.00   58.57   $    8.85               $    92.83   $    92.83
  6/9/2019 Daris Morales                  $10.00   58.85   $    8.85               $    94.25   $    94.25
 6/16/2019 Daris Morales                  $10.00   48.07   $    8.85               $    40.33   $    40.33
 6/23/2019 Daris Morales                  $10.00   47.68   $    8.85               $    38.42   $    38.42
 6/30/2019 Daris Morales                  $10.00   62.57   $   10.00               $   112.83   $   112.83
  7/7/2019 Daris Morales                  $10.00   41.05   $   10.00               $     5.25   $     5.25
 7/14/2019 Daris Morales                  $10.00   42.65   $   10.00               $    13.25   $    13.25
 7/21/2019 Daris Morales                  $10.00   40.27   $   10.00               $     1.33   $     1.33
 7/28/2019 Daris Morales                  $10.00   43.47   $   10.00               $    17.33   $    17.33
  8/4/2019 Daris Morales                  $10.00   53.85   $   10.00               $    69.25   $    69.25
 8/11/2019 Daris Morales                  $10.00   52.32   $   10.00               $    61.58   $    61.58
 8/18/2019 Daris Morales                  $10.00   63.82   $   10.00               $   119.08   $   119.08
 8/25/2019 Daris Morales                  $10.00   53.98   $   10.00               $    69.92   $    69.92
  9/1/2019 Daris Morales                  $10.00   55.50   $   10.00               $    77.50   $    77.50
 11/3/2019 Daris Morales                  $10.00   46.40   $   10.00               $    32.00   $    32.00
12/15/2019 Daris Morales                  $10.00   62.72   $   10.00               $   113.58   $   113.58
12/22/2019 Daris Morales                  $10.00   75.95   $   10.00               $   179.75   $   179.75
12/29/2019 Daris Morales                  $10.00   53.70   $   10.00               $    68.50   $    68.50
 1/12/2020 Daris Morales                  $10.00   46.25   $   11.00   $   46.25   $    34.38   $    80.63
 1/19/2020 Daris Morales                  $10.00   62.17   $   11.00   $   62.17   $   121.92   $   184.08
 9/10/2017 Darrel Wheeler                  $9.50   45.57   $    8.44               $    26.44   $    26.44



                                            127
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 129 of 683 PageID: 976
                                            Exhibit 2
                                    New Jersey Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
  Date                                                     Wage  Rate Due     Due       Wages Due

 9/17/2017 Darrel Wheeler                   $9.50   40.42   $    8.44               $     1.98   $     1.98
 9/24/2017 Darrel Wheeler                   $9.50   41.68   $    8.44               $     8.00   $     8.00
 7/21/2019 Darvi Cabrera                    $9.50   64.75   $   10.00   $   32.38   $   123.75   $   156.13
 7/28/2019 Darvi Cabrera                    $9.50   65.53   $   10.00   $   32.77   $   127.67   $   160.43
  8/4/2019 Darvi Cabrera                    $9.50   68.67   $   10.00   $   34.33   $   143.33   $   177.67
 11/4/2018 Darvi Florentino                 $9.50   42.65   $    8.60               $    12.59   $    12.59
11/11/2018 Darvi Florentino                 $9.50   47.83   $    8.60               $    37.21   $    37.21
11/18/2018 Darvi Florentino                 $9.50   65.50   $    8.60               $   121.13   $   121.13
11/25/2018 Darvi Florentino                 $9.50   57.60   $    8.60               $    83.60   $    83.60
 12/2/2018 Darvi Florentino                 $9.50   60.12   $    8.60               $    95.55   $    95.55
 1/26/2020 Darvi Florentino                 $9.50   64.88   $   11.00   $   97.33   $   136.86   $   234.18
10/29/2017 Darwin Ardon Mancias            $10.66   48.80   $    8.44               $    46.90   $    46.90
 11/5/2017 Darwin Ardon Mancias            $10.66   57.58   $    8.44               $    93.72   $    93.72
11/12/2017 Darwin Ardon Mancias            $10.66   48.68   $    8.44               $    46.28   $    46.28
11/19/2017 Darwin Ardon Mancias            $10.66   59.12   $    8.44               $   101.89   $   101.89
 12/3/2017 Darwin Ardon Mancias            $10.66   57.50   $    8.44               $    93.28   $    93.28
12/10/2017 Darwin Ardon Mancias            $10.66   49.37   $    8.44               $    49.92   $    49.92
12/17/2017 Darwin Ardon Mancias            $10.66   59.70   $    8.44               $   105.00   $   105.00
12/24/2017 Darwin Ardon Mancias            $10.66   64.15   $    8.44               $   128.72   $   128.72
12/31/2017 Darwin Ardon Mancias            $10.66   52.67   $    8.44               $    67.51   $    67.51
  1/7/2018 Darwin Ardon Mancias            $10.66   41.77   $    8.60               $     9.42   $     9.42
 1/14/2018 Darwin Ardon Mancias            $10.66   51.60   $    8.60               $    61.83   $    61.83
 1/21/2018 Darwin Ardon Mancias            $10.66   59.42   $    8.60               $   103.49   $   103.49
 1/28/2018 Darwin Ardon Mancias            $10.66   50.92   $    8.60               $    58.19   $    58.19
  2/4/2018 Darwin Ardon Mancias            $10.66   55.78   $    8.60               $    84.13   $    84.13
 2/11/2018 Darwin Ardon Mancias            $10.66   57.30   $    8.60               $    92.21   $    92.21
 2/18/2018 Darwin Ardon Mancias            $10.66   48.38   $    8.60               $    44.68   $    44.68
 2/25/2018 Darwin Ardon Mancias            $10.66   62.42   $    8.60               $   119.48   $   119.48
  3/4/2018 Darwin Ardon Mancias            $10.66   57.90   $    8.60               $    95.41   $    95.41
 3/25/2018 Darwin Ardon Mancias            $10.66   46.75   $    8.60               $    35.98   $    35.98
  4/1/2018 Darwin Ardon Mancias            $10.66   59.62   $    8.60               $   104.56   $   104.56
  4/8/2018 Darwin Ardon Mancias            $10.66   59.07   $    8.60               $   101.63   $   101.63
 4/15/2018 Darwin Ardon Mancias            $10.66   58.08   $    8.60               $    96.38   $    96.38
 4/22/2018 Darwin Ardon Mancias            $10.66   57.30   $    8.60               $    92.21   $    92.21
 4/29/2018 Darwin Ardon Mancias            $10.66   52.00   $    8.60               $    63.96   $    63.96
  5/6/2018 Darwin Ardon Mancias            $10.66   56.32   $    8.60               $    86.97   $    86.97
 5/13/2018 Darwin Ardon Mancias            $10.66   55.10   $    8.60               $    80.48   $    80.48
 5/20/2018 Darwin Ardon Mancias            $10.66   57.80   $    8.60               $    94.87   $    94.87
 5/27/2018 Darwin Ardon Mancias            $10.66   58.75   $    8.60               $    99.94   $    99.94
  6/3/2018 Darwin Ardon Mancias            $10.66   48.07   $    8.60               $    43.00   $    43.00
 6/10/2018 Darwin Ardon Mancias            $10.66   57.20   $    8.60               $    91.68   $    91.68
 6/17/2018 Darwin Ardon Mancias            $10.66   56.78   $    8.60               $    89.46   $    89.46
 6/24/2018 Darwin Ardon Mancias            $10.66   56.92   $    8.60               $    90.17   $    90.17
  7/1/2018 Darwin Ardon Mancias            $10.66   60.03   $    8.60               $   106.78   $   106.78
  7/8/2018 Darwin Ardon Mancias            $10.66   53.03   $    8.60               $    69.47   $    69.47
 7/15/2018 Darwin Ardon Mancias            $10.66   56.85   $    8.60               $    89.81   $    89.81
 7/22/2018 Darwin Ardon Mancias            $10.66   55.90   $    8.60               $    84.75   $    84.75
 7/29/2018 Darwin Ardon Mancias            $10.66   47.47   $    8.60               $    39.80   $    39.80
  8/5/2018 Darwin Ardon Mancias            $10.66   56.82   $    8.60               $    89.63   $    89.63
 11/3/2019 Davian Duran                    $11.00   40.35   $   10.00               $     1.92   $     1.92



                                             128
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 130 of 683 PageID: 977
                                                 Exhibit 2
                                         New Jersey Computations


  Week                                                          State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
 Ending                      Name                             Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
  Date                                                          Wage  Rate Due     Due       Wages Due

11/10/2019 Davian Duran                         $11.00   40.07   $   10.00               $     0.37   $     0.37
11/17/2019 Davian Duran                         $11.00   42.52   $   10.00               $    13.84   $    13.84
11/24/2019 Davian Duran                         $11.00   43.45   $   10.00               $    18.98   $    18.98
 12/8/2019 Davian Duran                         $11.00   47.73   $   10.00               $    42.53   $    42.53
12/15/2019 Davian Duran                         $10.00   46.73   $   10.00               $    33.67   $    33.67
12/22/2019 Davian Duran                         $10.00   43.00   $   10.00               $    15.00   $    15.00
  1/5/2020 Davian Duran                         $10.00   43.08   $   11.00   $   43.08   $    16.96   $    60.04
 1/12/2020 Davian Duran                         $10.00   53.85   $   11.00   $   53.85   $    76.18   $   130.03
 1/19/2020 Davian Duran                         $10.00   47.35   $   11.00   $   47.35   $    40.43   $    87.78
 1/26/2020 Davian Duran                         $10.00   51.52   $   11.00   $   51.52   $    63.34   $   114.86
 8/12/2018 David Colon                          $11.00   48.47   $    8.60               $    46.57   $    46.57
  5/6/2018 David Daniel Mendez Santana          $10.50   58.98   $    8.60               $    99.66   $    99.66
 5/13/2018 David Daniel Mendez Santana          $10.50   51.93   $    8.60               $    62.65   $    62.65
 5/27/2018 David Daniel Mendez Santana          $10.50   55.30   $    8.60               $    80.33   $    80.33
  6/3/2018 David Daniel Mendez Santana          $10.50   48.95   $    8.60               $    46.99   $    46.99
 6/10/2018 David Daniel Mendez Santana          $10.50   59.27   $    8.60               $   101.15   $   101.15
 6/17/2018 David Daniel Mendez Santana          $10.50   59.12   $    8.60               $   100.36   $   100.36
 6/24/2018 David Daniel Mendez Santana          $10.50   48.80   $    8.60               $    46.20   $    46.20
  7/1/2018 David Daniel Mendez Santana          $10.50   58.57   $    8.60               $    97.48   $    97.48
  7/8/2018 David Daniel Mendez Santana          $10.50   48.92   $    8.60               $    46.81   $    46.81
 7/15/2018 David Daniel Mendez Santana          $10.50   59.02   $    8.60               $    99.84   $    99.84
 7/22/2018 David Daniel Mendez Santana          $10.50   58.60   $    8.60               $    97.65   $    97.65
 7/29/2018 David Daniel Mendez Santana          $10.50   58.85   $    8.60               $    98.96   $    98.96
  8/5/2018 David Daniel Mendez Santana          $10.50   56.08   $    8.60               $    84.44   $    84.44
 8/12/2018 David Daniel Mendez Santana          $10.50   58.17   $    8.60               $    95.38   $    95.38
 8/19/2018 David Daniel Mendez Santana          $10.50   48.88   $    8.60               $    46.64   $    46.64
 8/26/2018 David Daniel Mendez Santana          $10.50   58.95   $    8.60               $    99.49   $    99.49
  9/2/2018 David Daniel Mendez Santana          $10.50   59.55   $    8.60               $   102.64   $   102.64
  9/9/2018 David Daniel Mendez Santana          $10.50   47.02   $    8.60               $    36.84   $    36.84
 9/16/2018 David Daniel Mendez Santana          $10.50   60.50   $    8.60               $   107.63   $   107.63
 9/23/2018 David Daniel Mendez Santana          $10.50   58.13   $    8.60               $    95.20   $    95.20
 9/30/2018 David Daniel Mendez Santana          $10.50   49.95   $    8.60               $    52.24   $    52.24
 10/7/2018 David Daniel Mendez Santana          $10.50   57.87   $    8.60               $    93.80   $    93.80
10/14/2018 David Daniel Mendez Santana          $10.50   51.68   $    8.60               $    61.34   $    61.34
10/21/2018 David Daniel Mendez Santana          $10.50   48.10   $    8.60               $    42.53   $    42.53
10/28/2018 David Daniel Mendez Santana          $10.50   58.02   $    8.60               $    94.59   $    94.59
 11/4/2018 David Daniel Mendez Santana          $10.50   59.77   $    8.60               $   103.78   $   103.78
11/18/2018 David Daniel Mendez Santana          $10.50   56.67   $    8.60               $    87.50   $    87.50
 12/2/2018 David Daniel Mendez Santana          $10.50   47.27   $    8.60               $    38.15   $    38.15
 12/9/2018 David Daniel Mendez Santana          $10.50   56.73   $    8.60               $    87.85   $    87.85
12/16/2018 David Daniel Mendez Santana          $10.50   51.77   $    8.60               $    61.78   $    61.78
12/23/2018 David Daniel Mendez Santana          $10.50   43.98   $    8.60               $    20.91   $    20.91
12/30/2018 David Daniel Mendez Santana          $10.50   49.57   $    8.60               $    50.23   $    50.23
 1/13/2019 David Daniel Mendez Santana          $10.50   47.68   $    8.85               $    40.34   $    40.34
 1/20/2019 David Daniel Mendez Santana          $10.50   59.33   $    8.85               $   101.50   $   101.50
 1/27/2019 David Daniel Mendez Santana          $10.50   45.38   $    8.85               $    28.26   $    28.26
  2/3/2019 David Daniel Mendez Santana          $10.50   65.73   $    8.85               $   135.10   $   135.10
 2/10/2019 David Daniel Mendez Santana          $16.50   50.22   $    8.85               $    84.29   $    84.29
 2/17/2019 David Daniel Mendez Santana          $16.50   50.17   $    8.85               $    83.88   $    83.88
 2/24/2019 David Daniel Mendez Santana          $16.50   56.20   $    8.85               $   133.65   $   133.65



                                                  129
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 131 of 683 PageID: 978
                                                 Exhibit 2
                                         New Jersey Computations


  Week                                                          State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
 Ending                      Name                             Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
  Date                                                          Wage  Rate Due     Due       Wages Due

  3/3/2019 David Daniel Mendez Santana          $16.50   56.00   $    8.85               $   132.00   $   132.00
 3/10/2019 David Daniel Mendez Santana          $16.50   56.00   $    8.85               $   132.00   $   132.00
 3/17/2019 David Daniel Mendez Santana          $16.50   55.67   $    8.85               $   129.25   $   129.25
 3/24/2019 David Daniel Mendez Santana          $16.50   52.93   $    8.85               $   106.70   $   106.70
 3/31/2019 David Daniel Mendez Santana          $16.50   56.23   $    8.85               $   133.93   $   133.93
  4/7/2019 David Daniel Mendez Santana          $16.50   52.35   $    8.85               $   101.89   $   101.89
 4/14/2019 David Daniel Mendez Santana          $16.50   57.40   $    8.85               $   143.55   $   143.55
 4/21/2019 David Daniel Mendez Santana          $16.50   54.27   $    8.85               $   117.70   $   117.70
 4/28/2019 David Daniel Mendez Santana          $16.50   54.17   $    8.85               $   116.88   $   116.88
  5/5/2019 David Daniel Mendez Santana          $16.50   55.28   $    8.85               $   126.09   $   126.09
 5/12/2019 David Daniel Mendez Santana          $16.50   55.48   $    8.85               $   127.74   $   127.74
 5/19/2019 David Daniel Mendez Santana          $16.50   57.80   $    8.85               $   146.85   $   146.85
 5/26/2019 David Daniel Mendez Santana          $16.50   57.50   $    8.85               $   144.38   $   144.38
  6/9/2019 David Daniel Mendez Santana          $16.50   47.10   $    8.85               $    58.58   $    58.58
 6/16/2019 David Daniel Mendez Santana          $16.50   46.40   $    8.85               $    52.80   $    52.80
 6/23/2019 David Daniel Mendez Santana          $16.50   43.75   $    8.85               $    30.94   $    30.94
  3/5/2017 David Martinez                        $9.50   64.72   $    8.44               $   117.40   $   117.40
 3/12/2017 David Martinez                        $9.50   64.18   $    8.44               $   114.87   $   114.87
 3/26/2017 David Martinez                        $9.50   64.80   $    8.44               $   117.80   $   117.80
 12/8/2019 David Missael Rojas                  $10.00   55.35   $   10.00               $    76.75   $    76.75
12/15/2019 David Missael Rojas                  $10.00   60.27   $   10.00               $   101.33   $   101.33
12/29/2019 David Missael Rojas                  $10.00   43.73   $   10.00               $    18.67   $    18.67
  1/5/2020 David Missael Rojas                  $10.00   46.87   $   11.00   $   46.87   $    37.77   $    84.63
 1/12/2020 David Missael Rojas                  $10.00   59.23   $   11.00   $   59.23   $   105.78   $   165.02
 1/19/2020 David Missael Rojas                  $10.00   56.45   $   11.00   $   56.45   $    90.48   $   146.93
 1/26/2020 David Missael Rojas                  $10.00   59.57   $   11.00   $   59.57   $   107.62   $   167.18
 12/8/2019 David Morel Gonzalez                 $10.00   50.82   $   10.00               $    54.08   $    54.08
12/15/2019 David Morel Gonzalez                 $10.00   63.73   $   10.00               $   118.67   $   118.67
12/22/2019 David Morel Gonzalez                 $10.00   64.03   $   10.00               $   120.17   $   120.17
12/29/2019 David Morel Gonzalez                 $10.00   62.22   $   10.00               $   111.08   $   111.08
  1/5/2020 David Morel Gonzalez                 $10.00   65.40   $   11.00   $   65.40   $   139.70   $   205.10
 1/12/2020 David Morel Gonzalez                 $10.00   78.68   $   11.00   $   78.68   $   212.76   $   291.44
 1/19/2020 David Morel Gonzalez                 $10.00   68.45   $   11.00   $   68.45   $   156.48   $   224.93
 1/26/2020 David Morel Gonzalez                 $10.00   65.70   $   11.00   $   65.70   $   141.35   $   207.05
  6/9/2019 David Sundeberg                      $10.50   56.40   $    8.85               $    86.10   $    86.10
 6/16/2019 David Sundeberg                      $10.50   54.42   $    8.85               $    75.69   $    75.69
  3/4/2018 David Villalbos                       $8.60   41.42   $    8.60               $     6.09   $     6.09
 3/25/2018 David Villalbos                       $8.60   53.08   $    8.60               $    56.26   $    56.26
  4/8/2018 David Villalbos                      $10.00   61.85   $    8.60               $   109.25   $   109.25
 1/26/2020 Dayron Marquez                       $10.00   66.03   $   11.00   $   66.03   $   143.18   $   209.22
  2/5/2017 Deini Reynoso                        $10.50   60.97   $    8.44               $   110.08   $   110.08
 2/12/2017 Deini Reynoso                        $10.50   46.52   $    8.44               $    34.21   $    34.21
 2/19/2017 Deini Reynoso                        $10.50   60.62   $    8.44               $   108.24   $   108.24
 2/26/2017 Deini Reynoso                        $10.50   60.23   $    8.44               $   106.23   $   106.23
  3/5/2017 Deini Reynoso                        $10.50   61.48   $    8.44               $   112.79   $   112.79
 3/12/2017 Deini Reynoso                        $10.50   62.83   $    8.44               $   119.88   $   119.88
 3/19/2017 Deini Reynoso                        $10.50   50.55   $    8.44               $    55.39   $    55.39
 3/26/2017 Deini Reynoso                        $10.50   61.20   $    8.44               $   111.30   $   111.30
  4/2/2017 Deini Reynoso                        $10.50   61.27   $    8.44               $   111.65   $   111.65
  4/9/2017 Deini Reynoso                        $10.50   62.15   $    8.44               $   116.29   $   116.29



                                                  130
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 132 of 683 PageID: 979
                                              Exhibit 2
                                      New Jersey Computations


  Week                                                       State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
 Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
  Date                                                       Wage  Rate Due     Due       Wages Due

 4/16/2017 Deini Reynoso                     $10.50   62.80   $   8.44          $   119.70   $    119.70
 4/23/2017 Deini Reynoso                     $10.50   60.50   $   8.44          $   107.63   $    107.63
 4/30/2017 Deini Reynoso                     $10.50   61.90   $   8.44          $   114.98   $    114.98
  5/7/2017 Deini Reynoso                     $10.50   60.15   $   8.44          $   105.79   $    105.79
 5/14/2017 Deini Reynoso                     $10.50   60.98   $   8.44          $   110.16   $    110.16
 5/21/2017 Deini Reynoso                     $10.50   49.68   $   8.44          $    50.84   $     50.84
 5/28/2017 Deini Reynoso                     $10.50   61.07   $   8.44          $   110.60   $    110.60
  6/4/2017 Deini Reynoso                     $10.50   58.62   $   8.44          $    97.74   $     97.74
 6/11/2017 Deini Reynoso                     $10.50   60.22   $   8.44          $   106.14   $    106.14
 6/18/2017 Deini Reynoso                     $10.50   60.42   $   8.44          $   107.19   $    107.19
 6/25/2017 Deini Reynoso                     $10.50   50.87   $   8.44          $    57.05   $     57.05
  7/2/2017 Deini Reynoso                     $10.50   60.20   $   8.44          $   106.05   $    106.05
  7/9/2017 Deini Reynoso                     $10.50   51.10   $   8.44          $    58.28   $     58.28
 7/16/2017 Deini Reynoso                     $10.50   59.22   $   8.44          $   100.89   $    100.89
 7/23/2017 Deini Reynoso                     $10.50   50.05   $   8.44          $    52.76   $     52.76
 7/30/2017 Deini Reynoso                     $10.50   60.32   $   8.44          $   106.66   $    106.66
  8/6/2017 Deini Reynoso                     $10.50   60.10   $   8.44          $   105.53   $    105.53
 8/13/2017 Deini Reynoso                     $10.50   66.75   $   8.44          $   140.44   $    140.44
 8/20/2017 Deini Reynoso                     $10.50   66.85   $   8.44          $   140.96   $    140.96
 8/27/2017 Deini Reynoso                     $10.50   50.45   $   8.44          $    54.86   $     54.86
  9/3/2017 Deini Reynoso                     $10.50   60.50   $   8.44          $   107.63   $    107.63
 9/10/2017 Deini Reynoso                     $10.50   56.08   $   8.44          $    84.44   $     84.44
 9/17/2017 Deini Reynoso                     $10.50   60.30   $   8.44          $   106.58   $    106.58
 9/24/2017 Deini Reynoso                     $10.50   60.05   $   8.44          $   105.26   $    105.26
 10/1/2017 Deini Reynoso                     $10.50   61.27   $   8.44          $   111.65   $    111.65
 10/8/2017 Deini Reynoso                     $10.50   59.88   $   8.44          $   104.39   $    104.39
10/15/2017 Deini Reynoso                     $10.50   50.75   $   8.44          $    56.44   $     56.44
10/22/2017 Deini Reynoso                     $10.50   57.25   $   8.44          $    90.56   $     90.56
10/29/2017 Deini Reynoso                     $10.50   47.28   $   8.44          $    38.24   $     38.24
 11/5/2017 Deini Reynoso                     $10.50   62.87   $   8.44          $   120.05   $    120.05
11/12/2017 Deini Reynoso                     $10.50   51.47   $   8.44          $    60.20   $     60.20
11/19/2017 Deini Reynoso                     $10.50   59.13   $   8.44          $   100.45   $    100.45
11/26/2017 Deini Reynoso                     $10.50   50.38   $   8.44          $    54.51   $     54.51
 12/3/2017 Deini Reynoso                     $10.50   56.23   $   8.44          $    85.23   $     85.23
12/10/2017 Deini Reynoso                     $10.50   60.68   $   8.44          $   108.59   $    108.59
12/17/2017 Deini Reynoso                     $10.50   61.00   $   8.44          $   110.25   $    110.25
12/24/2017 Deini Reynoso                     $10.50   50.35   $   8.44          $    54.34   $     54.34
12/31/2017 Deini Reynoso                     $10.50   51.53   $   8.44          $    60.55   $     60.55
 1/14/2018 Deini Reynoso                     $10.50   59.93   $   8.60          $   104.65   $    104.65
 1/21/2018 Deini Reynoso                     $10.50   58.93   $   8.60          $    99.40   $     99.40
  4/2/2017 Deivis De La Cruz                 $10.50   51.17   $   8.44          $    58.63   $     58.63
  4/9/2017 Deivis De La Cruz                 $10.50   53.70   $   8.44          $    71.93   $     71.93
 4/16/2017 Deivis De La Cruz                 $10.50   48.47   $   8.44          $    44.45   $     44.45
 4/23/2017 Deivis De La Cruz                 $10.50   51.63   $   8.44          $    61.08   $     61.08
 4/30/2017 Deivis De La Cruz                 $10.50   56.22   $   8.44          $    85.14   $     85.14
  5/7/2017 Deivis De La Cruz                 $10.50   49.77   $   8.44          $    51.28   $     51.28
 5/14/2017 Deivis De La Cruz                 $10.50   43.72   $   8.44          $    19.51   $     19.51
 5/21/2017 Deivis De La Cruz                 $10.50   56.45   $   8.44          $    86.36   $     86.36
 5/28/2017 Deivis De La Cruz                 $10.50   45.73   $   8.44          $    30.10   $     30.10
  7/9/2017 Deivis De La Cruz                 $10.50   42.38   $   8.44          $    12.51   $     12.51



                                               131
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 133 of 683 PageID: 980
                                              Exhibit 2
                                      New Jersey Computations


  Week                                                       State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
 Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
  Date                                                       Wage  Rate Due     Due       Wages Due

 7/16/2017 Deivis De La Cruz                 $10.50   57.92   $   8.44          $    94.06   $     94.06
 7/23/2017 Deivis De La Cruz                 $10.50   56.32   $   8.44          $    85.66   $     85.66
 7/30/2017 Deivis De La Cruz                 $10.50   57.33   $   8.44          $    91.00   $     91.00
  8/6/2017 Deivis De La Cruz                 $10.50   56.77   $   8.44          $    88.03   $     88.03
 8/13/2017 Deivis De La Cruz                 $10.50   48.32   $   8.44          $    43.66   $     43.66
 3/17/2019 Delio Rodriguez                   $10.00   59.12   $   8.85          $    95.58   $     95.58
 3/24/2019 Delio Rodriguez                   $10.00   59.02   $   8.85          $    95.08   $     95.08
  8/6/2017 Delvinson Ledesma                  $9.00   40.12   $   8.44          $     0.53   $      0.53
 8/13/2017 Delvinson Ledesma                  $9.00   49.15   $   8.44          $    41.18   $     41.18
 8/20/2017 Delvinson Ledesma                  $9.00   60.02   $   8.44          $    90.08   $     90.08
 8/27/2017 Delvinson Ledesma                  $9.00   49.15   $   8.44          $    41.18   $     41.18
 9/24/2017 Delvinson Ledesma                  $9.00   54.40   $   8.44          $    64.80   $     64.80
 10/1/2017 Delvinson Ledesma                  $9.00   56.67   $   8.44          $    75.00   $     75.00
 10/8/2017 Delvinson Ledesma                  $9.00   56.78   $   8.44          $    75.53   $     75.53
10/15/2017 Delvinson Ledesma                  $9.00   47.22   $   8.44          $    32.48   $     32.48
10/22/2017 Delvinson Ledesma                  $9.00   56.10   $   8.44          $    72.45   $     72.45
11/12/2017 Delvinson Ledesma                  $9.00   47.48   $   8.44          $    33.68   $     33.68
11/19/2017 Delvinson Ledesma                  $9.00   58.08   $   8.44          $    81.38   $     81.38
12/10/2017 Delvinson Ledesma                  $9.00   48.40   $   8.44          $    37.80   $     37.80
12/17/2017 Delvinson Ledesma                  $9.00   53.23   $   8.44          $    59.55   $     59.55
12/31/2017 Delvinson Ledesma                  $9.00   40.50   $   8.44          $     2.25   $      2.25
 1/14/2018 Delvinson Ledesma                  $9.00   57.97   $   8.60          $    80.85   $     80.85
 1/28/2018 Delvinson Ledesma                  $9.00   40.03   $   8.60          $     0.15   $      0.15
  2/5/2017 Demetrio Teyul                    $10.00   50.98   $   8.44          $    54.92   $     54.92
 2/12/2017 Demetrio Teyul                    $10.00   51.98   $   8.44          $    59.92   $     59.92
 2/19/2017 Demetrio Teyul                    $10.00   49.93   $   8.44          $    49.67   $     49.67
 2/26/2017 Demetrio Teyul                    $10.00   60.27   $   8.44          $   101.33   $    101.33
  3/5/2017 Demetrio Teyul                    $10.00   58.17   $   8.44          $    90.83   $     90.83
 3/12/2017 Demetrio Teyul                    $10.00   60.08   $   8.44          $   100.42   $    100.42
 3/19/2017 Demetrio Teyul                    $10.00   49.03   $   8.44          $    45.17   $     45.17
 3/26/2017 Demetrio Teyul                    $10.00   60.03   $   8.44          $   100.17   $    100.17
  4/2/2017 Demetrio Teyul                    $10.00   59.48   $   8.44          $    97.42   $     97.42
  4/9/2017 Demetrio Teyul                    $10.00   58.98   $   8.44          $    94.92   $     94.92
 4/16/2017 Demetrio Teyul                    $10.00   59.83   $   8.44          $    99.17   $     99.17
 4/23/2017 Demetrio Teyul                    $10.00   59.97   $   8.44          $    99.83   $     99.83
 4/30/2017 Demetrio Teyul                    $10.00   49.55   $   8.44          $    47.75   $     47.75
  5/7/2017 Demetrio Teyul                    $10.00   58.50   $   8.44          $    92.50   $     92.50
 5/14/2017 Demetrio Teyul                    $10.00   59.82   $   8.44          $    99.08   $     99.08
 5/21/2017 Demetrio Teyul                    $10.00   58.70   $   8.44          $    93.50   $     93.50
 5/28/2017 Demetrio Teyul                    $10.00   54.90   $   8.44          $    74.50   $     74.50
  6/4/2017 Demetrio Teyul                    $10.00   59.90   $   8.44          $    99.50   $     99.50
 6/11/2017 Demetrio Teyul                    $10.00   60.13   $   8.44          $   100.67   $    100.67
 6/18/2017 Demetrio Teyul                    $10.00   60.08   $   8.44          $   100.42   $    100.42
 6/25/2017 Demetrio Teyul                    $10.00   65.63   $   8.44          $   128.17   $    128.17
  7/2/2017 Demetrio Teyul                    $10.00   65.45   $   8.44          $   127.25   $    127.25
  7/9/2017 Demetrio Teyul                    $10.00   61.68   $   8.44          $   108.42   $    108.42
 7/16/2017 Demetrio Teyul                    $10.00   65.17   $   8.44          $   125.83   $    125.83
 7/23/2017 Demetrio Teyul                    $10.00   54.65   $   8.44          $    73.25   $     73.25
  8/6/2017 Demetrio Teyul                    $10.00   64.97   $   8.44          $   124.83   $    124.83
 8/13/2017 Demetrio Teyul                    $10.00   59.93   $   8.44          $    99.67   $     99.67



                                               132
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 134 of 683 PageID: 981
                                           Exhibit 2
                                   New Jersey Computations


  Week                                                    State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
 Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
  Date                                                    Wage  Rate Due     Due       Wages Due

 8/20/2017 Demetrio Teyul                 $10.00   59.93   $   8.44          $    99.67   $     99.67
 8/27/2017 Demetrio Teyul                 $10.00   60.03   $   8.44          $   100.17   $    100.17
  9/3/2017 Demetrio Teyul                 $10.00   61.85   $   8.44          $   109.25   $    109.25
 9/10/2017 Demetrio Teyul                 $10.00   57.48   $   8.44          $    87.42   $     87.42
 9/17/2017 Demetrio Teyul                 $10.00   59.92   $   8.44          $    99.58   $     99.58
 9/24/2017 Demetrio Teyul                 $10.00   58.60   $   8.44          $    93.00   $     93.00
 10/1/2017 Demetrio Teyul                 $10.00   58.73   $   8.44          $    93.67   $     93.67
 10/8/2017 Demetrio Teyul                 $10.00   60.22   $   8.44          $   101.08   $    101.08
10/15/2017 Demetrio Teyul                 $10.00   59.93   $   8.44          $    99.67   $     99.67
10/22/2017 Demetrio Teyul                 $10.00   58.08   $   8.44          $    90.42   $     90.42
10/29/2017 Demetrio Teyul                 $10.00   61.27   $   8.44          $   106.33   $    106.33
 11/5/2017 Demetrio Teyul                 $10.00   60.17   $   8.44          $   100.83   $    100.83
11/12/2017 Demetrio Teyul                 $10.00   58.85   $   8.44          $    94.25   $     94.25
11/19/2017 Demetrio Teyul                 $10.00   60.47   $   8.44          $   102.33   $    102.33
11/26/2017 Demetrio Teyul                 $10.00   53.22   $   8.44          $    66.08   $     66.08
 12/3/2017 Demetrio Teyul                 $10.00   73.07   $   8.44          $   165.33   $    165.33
12/10/2017 Demetrio Teyul                 $10.00   69.75   $   8.44          $   148.75   $    148.75
12/17/2017 Demetrio Teyul                 $10.00   73.35   $   8.44          $   166.75   $    166.75
12/24/2017 Demetrio Teyul                 $10.00   69.33   $   8.44          $   146.67   $    146.67
12/31/2017 Demetrio Teyul                 $10.00   61.50   $   8.44          $   107.50   $    107.50
  1/7/2018 Demetrio Teyul                 $10.00   54.68   $   8.60          $    73.42   $     73.42
 1/14/2018 Demetrio Teyul                 $10.00   70.43   $   8.60          $   152.17   $    152.17
 1/21/2018 Demetrio Teyul                 $10.00   73.62   $   8.60          $   168.08   $    168.08
 1/28/2018 Demetrio Teyul                 $10.00   73.55   $   8.60          $   167.75   $    167.75
  2/4/2018 Demetrio Teyul                 $10.00   61.73   $   8.60          $   108.67   $    108.67
 2/11/2018 Demetrio Teyul                 $10.00   74.28   $   8.60          $   171.42   $    171.42
 2/18/2018 Demetrio Teyul                 $10.00   74.17   $   8.60          $   170.83   $    170.83
 2/25/2018 Demetrio Teyul                 $10.00   67.93   $   8.60          $   139.67   $    139.67
  3/4/2018 Demetrio Teyul                 $10.00   71.53   $   8.60          $   157.67   $    157.67
 3/25/2018 Demetrio Teyul                 $10.00   45.17   $   8.60          $    25.83   $     25.83
  4/1/2018 Demetrio Teyul                 $10.00   59.95   $   8.60          $    99.75   $     99.75
  4/8/2018 Demetrio Teyul                 $10.00   66.05   $   8.60          $   130.25   $    130.25
 4/15/2018 Demetrio Teyul                 $10.00   67.87   $   8.60          $   139.33   $    139.33
 4/22/2018 Demetrio Teyul                 $10.00   72.23   $   8.60          $   161.17   $    161.17
 4/29/2018 Demetrio Teyul                 $10.00   74.23   $   8.60          $   171.17   $    171.17
  5/6/2018 Demetrio Teyul                 $10.00   69.18   $   8.60          $   145.92   $    145.92
 5/13/2018 Demetrio Teyul                 $10.00   73.37   $   8.60          $   166.83   $    166.83
 5/20/2018 Demetrio Teyul                 $10.00   61.48   $   8.60          $   107.42   $    107.42
 5/27/2018 Demetrio Teyul                 $10.00   74.48   $   8.60          $   172.42   $    172.42
  6/3/2018 Demetrio Teyul                 $10.00   67.65   $   8.60          $   138.25   $    138.25
 6/10/2018 Demetrio Teyul                 $10.00   72.93   $   8.60          $   164.67   $    164.67
 6/17/2018 Demetrio Teyul                 $10.00   68.55   $   8.60          $   142.75   $    142.75
 6/24/2018 Demetrio Teyul                 $10.00   73.32   $   8.60          $   166.58   $    166.58
  7/1/2018 Demetrio Teyul                 $10.00   72.82   $   8.60          $   164.08   $    164.08
  7/8/2018 Demetrio Teyul                 $10.00   69.68   $   8.60          $   148.42   $    148.42
 7/15/2018 Demetrio Teyul                 $10.00   73.57   $   8.60          $   167.83   $    167.83
 7/22/2018 Demetrio Teyul                 $10.00   66.67   $   8.60          $   133.33   $    133.33
 7/29/2018 Demetrio Teyul                 $10.00   65.10   $   8.60          $   125.50   $    125.50
  8/5/2018 Demetrio Teyul                 $10.00   72.87   $   8.60          $   164.33   $    164.33
 8/12/2018 Demetrio Teyul                 $10.00   60.45   $   8.60          $   102.25   $    102.25



                                            133
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 135 of 683 PageID: 982
                                           Exhibit 2
                                   New Jersey Computations


  Week                                                    State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
 Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
  Date                                                    Wage  Rate Due     Due       Wages Due

 8/19/2018 Demetrio Teyul                 $10.00   61.18   $    8.60         $   105.92   $    105.92
 8/26/2018 Demetrio Teyul                 $10.00   71.92   $    8.60         $   159.58   $    159.58
  9/2/2018 Demetrio Teyul                 $10.00   73.25   $    8.60         $   166.25   $    166.25
  9/9/2018 Demetrio Teyul                 $10.00   68.32   $    8.60         $   141.58   $    141.58
 9/16/2018 Demetrio Teyul                 $10.00   65.80   $    8.60         $   129.00   $    129.00
 9/23/2018 Demetrio Teyul                 $10.00   61.38   $    8.60         $   106.92   $    106.92
 9/30/2018 Demetrio Teyul                 $10.00   71.18   $    8.60         $   155.92   $    155.92
 10/7/2018 Demetrio Teyul                 $10.00   62.02   $    8.60         $   110.08   $    110.08
10/14/2018 Demetrio Teyul                 $10.00   74.22   $    8.60         $   171.08   $    171.08
10/21/2018 Demetrio Teyul                 $10.00   64.33   $    8.60         $   121.67   $    121.67
10/28/2018 Demetrio Teyul                 $10.00   72.53   $    8.60         $   162.67   $    162.67
 11/4/2018 Demetrio Teyul                 $10.00   67.08   $    8.60         $   135.42   $    135.42
11/11/2018 Demetrio Teyul                 $10.00   73.02   $    8.60         $   165.08   $    165.08
11/18/2018 Demetrio Teyul                 $10.00   59.02   $    8.60         $    95.08   $     95.08
11/25/2018 Demetrio Teyul                 $10.00   59.23   $    8.60         $    96.17   $     96.17
 12/2/2018 Demetrio Teyul                 $10.00   73.22   $    8.60         $   166.08   $    166.08
 12/9/2018 Demetrio Teyul                 $10.00   73.03   $    8.60         $   165.17   $    165.17
12/16/2018 Demetrio Teyul                 $10.00   71.13   $    8.60         $   155.67   $    155.67
12/23/2018 Demetrio Teyul                 $10.00   73.17   $    8.60         $   165.83   $    165.83
12/30/2018 Demetrio Teyul                 $10.00   47.15   $    8.60         $    35.75   $     35.75
  1/6/2019 Demetrio Teyul                 $10.00   58.02   $    8.85         $    90.08   $     90.08
 1/13/2019 Demetrio Teyul                 $10.00   72.52   $    8.85         $   162.58   $    162.58
 1/20/2019 Demetrio Teyul                 $10.00   71.80   $    8.85         $   159.00   $    159.00
 1/27/2019 Demetrio Teyul                 $10.00   70.97   $    8.85         $   154.83   $    154.83
  2/3/2019 Demetrio Teyul                 $10.00   71.55   $    8.85         $   157.75   $    157.75
 2/10/2019 Demetrio Teyul                 $10.00   71.60   $    8.85         $   158.00   $    158.00
 2/17/2019 Demetrio Teyul                 $10.00   68.22   $    8.85         $   141.08   $    141.08
 2/24/2019 Demetrio Teyul                 $10.00   70.70   $    8.85         $   153.50   $    153.50
  3/3/2019 Demetrio Teyul                 $10.00   73.08   $    8.85         $   165.42   $    165.42
 3/10/2019 Demetrio Teyul                 $10.00   72.00   $    8.85         $   160.00   $    160.00
 3/17/2019 Demetrio Teyul                 $10.00   70.10   $    8.85         $   150.50   $    150.50
 3/24/2019 Demetrio Teyul                 $10.00   71.82   $    8.85         $   159.08   $    159.08
 3/31/2019 Demetrio Teyul                 $10.00   72.22   $    8.85         $   161.08   $    161.08
  4/7/2019 Demetrio Teyul                 $10.00   72.93   $    8.85         $   164.67   $    164.67
 4/14/2019 Demetrio Teyul                 $10.00   69.63   $    8.85         $   148.17   $    148.17
 4/21/2019 Demetrio Teyul                 $10.00   74.37   $    8.85         $   171.83   $    171.83
 4/28/2019 Demetrio Teyul                 $10.00   69.82   $    8.85         $   149.08   $    149.08
  5/5/2019 Demetrio Teyul                 $10.00   74.15   $    8.85         $   170.75   $    170.75
 5/12/2019 Demetrio Teyul                 $10.00   73.73   $    8.85         $   168.67   $    168.67
 5/19/2019 Demetrio Teyul                 $10.00   74.62   $    8.85         $   173.08   $    173.08
 5/26/2019 Demetrio Teyul                 $10.00   78.55   $    8.85         $   192.75   $    192.75
 6/16/2019 Demetrio Teyul                 $10.00   73.60   $    8.85         $   168.00   $    168.00
 6/23/2019 Demetrio Teyul                 $10.00   70.85   $    8.85         $   154.25   $    154.25
 6/30/2019 Demetrio Teyul                 $10.00   73.78   $   10.00         $   168.92   $    168.92
  7/7/2019 Demetrio Teyul                 $11.00   68.22   $   10.00         $   155.19   $    155.19
 7/14/2019 Demetrio Teyul                 $11.00   70.42   $   10.00         $   167.29   $    167.29
 7/21/2019 Demetrio Teyul                 $11.00   73.90   $   10.00         $   186.45   $    186.45
 7/28/2019 Demetrio Teyul                 $11.00   74.05   $   10.00         $   187.28   $    187.28
  8/4/2019 Demetrio Teyul                 $11.00   73.43   $   10.00         $   183.88   $    183.88
 8/11/2019 Demetrio Teyul                 $11.00   74.52   $   10.00         $   189.84   $    189.84



                                            134
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 136 of 683 PageID: 983
                                               Exhibit 2
                                       New Jersey Computations


  Week                                                        State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
 Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
  Date                                                        Wage  Rate Due     Due       Wages Due

 8/18/2019 Demetrio Teyul                     $11.00   73.07   $   10.00         $   181.87   $    181.87
 8/25/2019 Demetrio Teyul                     $11.00   74.47   $   10.00         $   189.57   $    189.57
  9/1/2019 Demetrio Teyul                     $11.00   66.22   $   10.00         $   144.19   $    144.19
  9/8/2019 Demetrio Teyul                     $11.00   70.10   $   10.00         $   165.55   $    165.55
 9/15/2019 Demetrio Teyul                     $11.00   73.17   $   10.00         $   182.42   $    182.42
 9/22/2019 Demetrio Teyul                     $11.00   60.75   $   10.00         $   114.13   $    114.13
 9/29/2019 Demetrio Teyul                     $11.00   64.17   $   10.00         $   132.92   $    132.92
 10/6/2019 Demetrio Teyul                     $11.00   74.37   $   10.00         $   189.02   $    189.02
10/13/2019 Demetrio Teyul                     $11.00   74.05   $   10.00         $   187.28   $    187.28
10/20/2019 Demetrio Teyul                     $11.00   73.23   $   10.00         $   182.78   $    182.78
10/27/2019 Demetrio Teyul                     $11.00   73.57   $   10.00         $   184.62   $    184.62
 11/3/2019 Demetrio Teyul                     $11.00   71.20   $   10.00         $   171.60   $    171.60
11/10/2019 Demetrio Teyul                     $11.00   73.38   $   10.00         $   183.61   $    183.61
11/17/2019 Demetrio Teyul                     $11.00   70.43   $   10.00         $   167.38   $    167.38
11/24/2019 Demetrio Teyul                     $11.00   71.73   $   10.00         $   174.53   $    174.53
 12/1/2019 Demetrio Teyul                     $11.00   61.57   $   10.00         $   118.62   $    118.62
 12/8/2019 Demetrio Teyul                     $11.00   67.77   $   10.00         $   152.72   $    152.72
12/15/2019 Demetrio Teyul                     $11.00   67.47   $   10.00         $   151.07   $    151.07
12/22/2019 Demetrio Teyul                     $11.00   67.73   $   10.00         $   152.53   $    152.53
12/29/2019 Demetrio Teyul                     $11.00   43.73   $   10.00         $    20.53   $     20.53
  1/5/2020 Demetrio Teyul                     $11.00   52.87   $   11.00         $    70.77   $     70.77
 1/12/2020 Demetrio Teyul                     $11.00   67.67   $   11.00         $   152.17   $    152.17
 1/19/2020 Demetrio Teyul                     $11.00   67.45   $   11.00         $   150.98   $    150.98
 1/26/2020 Demetrio Teyul                     $11.00   64.10   $   11.00         $   132.55   $    132.55
 8/13/2017 Denis Alexander Portillo            $9.50   49.58   $    8.44         $    45.52   $     45.52
 8/20/2017 Denis Alexander Portillo            $9.50   64.23   $    8.44         $   115.11   $    115.11
 8/27/2017 Denis Alexander Portillo            $9.50   64.92   $    8.44         $   118.35   $    118.35
  9/3/2017 Denis Alexander Portillo            $9.50   54.25   $    8.44         $    67.69   $     67.69
 9/10/2017 Denis Alexander Portillo            $9.50   60.75   $    8.44         $    98.56   $     98.56
 9/17/2017 Denis Alexander Portillo            $9.50   65.05   $    8.44         $   118.99   $    118.99
 9/24/2017 Denis Alexander Portillo            $9.50   73.78   $    8.44         $   160.47   $    160.47
 10/1/2017 Denis Alexander Portillo            $9.50   64.15   $    8.44         $   114.71   $    114.71
 10/8/2017 Denis Alexander Portillo            $9.50   70.78   $    8.44         $   146.22   $    146.22
10/15/2017 Denis Alexander Portillo            $9.50   64.82   $    8.44         $   117.88   $    117.88
10/22/2017 Denis Alexander Portillo            $9.50   71.98   $    8.44         $   151.92   $    151.92
10/29/2017 Denis Alexander Portillo            $9.50   61.73   $    8.44         $   103.23   $    103.23
 11/5/2017 Denis Alexander Portillo            $9.50   71.68   $    8.44         $   150.50   $    150.50
11/12/2017 Denis Alexander Portillo            $9.50   65.05   $    8.44         $   118.99   $    118.99
11/19/2017 Denis Alexander Portillo            $9.50   70.38   $    8.44         $   144.32   $    144.32
11/26/2017 Denis Alexander Portillo            $9.50   54.90   $    8.44         $    70.78   $     70.78
 12/3/2017 Denis Alexander Portillo            $9.50   74.20   $    8.44         $   162.45   $    162.45
12/10/2017 Denis Alexander Portillo            $9.50   66.93   $    8.44         $   127.93   $    127.93
12/17/2017 Denis Alexander Portillo            $9.50   64.35   $    8.44         $   115.66   $    115.66
12/24/2017 Denis Alexander Portillo            $9.50   66.75   $    8.44         $   127.06   $    127.06
12/31/2017 Denis Alexander Portillo            $9.50   62.13   $    8.44         $   105.13   $    105.13
  1/7/2018 Denis Alexander Portillo            $9.50   42.32   $    8.60         $    11.00   $     11.00
 1/14/2018 Denis Alexander Portillo            $9.50   77.32   $    8.60         $   177.25   $    177.25
 1/21/2018 Denis Alexander Portillo            $9.50   67.60   $    8.60         $   131.10   $    131.10
 1/28/2018 Denis Alexander Portillo            $9.50   60.75   $    8.60         $    98.56   $     98.56
  2/4/2018 Denis Alexander Portillo            $9.50   66.23   $    8.60         $   124.61   $    124.61



                                                135
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 137 of 683 PageID: 984
                                               Exhibit 2
                                       New Jersey Computations


  Week                                                        State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
 Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
  Date                                                        Wage  Rate Due     Due       Wages Due

 2/11/2018 Denis Alexander Portillo            $9.50   77.95   $   8.60          $   180.26   $    180.26
 2/18/2018 Denis Alexander Portillo            $9.50   68.45   $   8.60          $   135.14   $    135.14
 2/25/2018 Denis Alexander Portillo            $9.50   65.65   $   8.60          $   121.84   $    121.84
  3/4/2018 Denis Alexander Portillo            $9.50   70.47   $   8.60          $   144.72   $    144.72
  4/1/2018 Denis Alexander Portillo            $9.50   56.28   $   8.60          $    77.35   $     77.35
  4/8/2018 Denis Alexander Portillo            $9.50   62.25   $   8.60          $   105.69   $    105.69
 4/15/2018 Denis Alexander Portillo            $9.50   67.03   $   8.60          $   128.41   $    128.41
 4/22/2018 Denis Alexander Portillo            $9.50   73.57   $   8.60          $   159.44   $    159.44
 4/29/2018 Denis Alexander Portillo            $9.50   69.20   $   8.60          $   138.70   $    138.70
  5/6/2018 Denis Alexander Portillo            $9.50   73.25   $   8.60          $   157.94   $    157.94
 5/13/2018 Denis Alexander Portillo            $9.50   67.18   $   8.60          $   129.12   $    129.12
 5/20/2018 Denis Alexander Portillo            $9.50   77.73   $   8.60          $   179.23   $    179.23
 5/27/2018 Denis Alexander Portillo            $9.50   69.58   $   8.60          $   140.52   $    140.52
  6/3/2018 Denis Alexander Portillo            $9.50   72.38   $   8.60          $   153.82   $    153.82
 6/10/2018 Denis Alexander Portillo            $9.50   71.67   $   8.60          $   150.42   $    150.42
 6/17/2018 Denis Alexander Portillo            $9.50   71.27   $   8.60          $   148.52   $    148.52
 6/24/2018 Denis Alexander Portillo            $9.50   69.63   $   8.60          $   140.76   $    140.76
  7/1/2018 Denis Alexander Portillo            $9.50   79.90   $   8.60          $   189.53   $    189.53
  7/8/2018 Denis Alexander Portillo            $9.50   58.12   $   8.60          $    86.05   $     86.05
 7/15/2018 Denis Alexander Portillo            $9.50   77.62   $   8.60          $   178.68   $    178.68
 7/22/2018 Denis Alexander Portillo            $9.50   70.93   $   8.60          $   146.93   $    146.93
 7/29/2018 Denis Alexander Portillo            $9.50   78.67   $   8.60          $   183.67   $    183.67
  8/5/2018 Denis Alexander Portillo            $9.50   69.90   $   8.60          $   142.03   $    142.03
 8/12/2018 Denis Alexander Portillo            $9.50   79.13   $   8.60          $   185.88   $    185.88
 8/19/2018 Denis Alexander Portillo            $9.50   69.62   $   8.60          $   140.68   $    140.68
 8/26/2018 Denis Alexander Portillo            $9.50   79.15   $   8.60          $   185.96   $    185.96
  9/2/2018 Denis Alexander Portillo            $9.50   70.03   $   8.60          $   142.66   $    142.66
  9/9/2018 Denis Alexander Portillo            $9.50   64.57   $   8.60          $   116.69   $    116.69
 9/16/2018 Denis Alexander Portillo            $9.50   70.73   $   8.60          $   145.98   $    145.98
 9/23/2018 Denis Alexander Portillo            $9.50   78.42   $   8.60          $   182.48   $    182.48
 9/30/2018 Denis Alexander Portillo            $9.50   70.05   $   8.60          $   142.74   $    142.74
 10/7/2018 Denis Alexander Portillo            $9.50   78.05   $   8.60          $   180.74   $    180.74
10/14/2018 Denis Alexander Portillo            $9.50   69.85   $   8.60          $   141.79   $    141.79
10/21/2018 Denis Alexander Portillo            $9.50   65.75   $   8.60          $   122.31   $    122.31
10/28/2018 Denis Alexander Portillo            $9.50   69.13   $   8.60          $   138.38   $    138.38
 11/4/2018 Denis Alexander Portillo            $9.50   78.03   $   8.60          $   180.66   $    180.66
11/11/2018 Denis Alexander Portillo            $9.50   66.07   $   8.60          $   123.82   $    123.82
11/18/2018 Denis Alexander Portillo            $9.50   64.65   $   8.60          $   117.09   $    117.09
11/25/2018 Denis Alexander Portillo            $9.50   55.65   $   8.60          $    74.34   $     74.34
 12/2/2018 Denis Alexander Portillo            $9.50   63.63   $   8.60          $   112.26   $    112.26
 12/9/2018 Denis Alexander Portillo            $9.50   67.43   $   8.60          $   130.31   $    130.31
12/16/2018 Denis Alexander Portillo            $9.50   73.68   $   8.60          $   160.00   $    160.00
12/23/2018 Denis Alexander Portillo            $9.50   67.68   $   8.60          $   131.50   $    131.50
12/30/2018 Denis Alexander Portillo            $9.50   60.18   $   8.60          $    95.87   $     95.87
  1/6/2019 Denis Alexander Portillo            $9.50   55.37   $   8.85          $    72.99   $     72.99
 1/13/2019 Denis Alexander Portillo            $9.50   76.63   $   8.85          $   174.01   $    174.01
 1/20/2019 Denis Alexander Portillo            $9.50   67.93   $   8.85          $   132.68   $    132.68
 1/27/2019 Denis Alexander Portillo            $9.50   55.68   $   8.85          $    74.50   $     74.50
  2/3/2019 Denis Alexander Portillo            $9.50   67.02   $   8.85          $   128.33   $    128.33
 2/10/2019 Denis Alexander Portillo            $9.50   77.33   $   8.85          $   177.33   $    177.33



                                                136
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 138 of 683 PageID: 985
                                               Exhibit 2
                                       New Jersey Computations


  Week                                                        State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
 Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
  Date                                                        Wage  Rate Due     Due       Wages Due

 2/17/2019 Denis Alexander Portillo            $9.50   68.25   $    8.85               $   134.19   $   134.19
 2/24/2019 Denis Alexander Portillo            $9.50   74.72   $    8.85               $   164.90   $   164.90
  3/3/2019 Denis Alexander Portillo            $9.50   66.58   $    8.85               $   126.27   $   126.27
 3/10/2019 Denis Alexander Portillo            $9.50   75.20   $    8.85               $   167.20   $   167.20
 3/17/2019 Denis Alexander Portillo            $9.50   66.15   $    8.85               $   124.21   $   124.21
 3/24/2019 Denis Alexander Portillo            $9.50   76.25   $    8.85               $   172.19   $   172.19
 3/31/2019 Denis Alexander Portillo            $9.50   67.77   $    8.85               $   131.89   $   131.89
  4/7/2019 Denis Alexander Portillo            $9.50   72.70   $    8.85               $   155.33   $   155.33
 4/14/2019 Denis Alexander Portillo            $9.50   69.88   $    8.85               $   141.95   $   141.95
 4/21/2019 Denis Alexander Portillo            $9.50   68.55   $    8.85               $   135.61   $   135.61
 4/28/2019 Denis Alexander Portillo            $9.50   57.40   $    8.85               $    82.65   $    82.65
  5/5/2019 Denis Alexander Portillo            $9.50   76.27   $    8.85               $   172.27   $   172.27
 5/12/2019 Denis Alexander Portillo            $9.50   68.30   $    8.85               $   134.43   $   134.43
 5/19/2019 Denis Alexander Portillo            $9.50   72.85   $    8.85               $   156.04   $   156.04
 5/26/2019 Denis Alexander Portillo            $9.50   67.23   $    8.85               $   129.36   $   129.36
  6/2/2019 Denis Alexander Portillo            $9.50   61.82   $    8.85               $   103.63   $   103.63
  6/9/2019 Denis Alexander Portillo            $9.50   49.02   $    8.85               $    42.83   $    42.83
  8/4/2019 Denis Alexander Portillo           $10.50   64.93   $   10.00               $   130.90   $   130.90
 8/11/2019 Denis Alexander Portillo           $10.50   65.72   $   10.00               $   135.01   $   135.01
 8/18/2019 Denis Alexander Portillo           $10.50   64.80   $   10.00               $   130.20   $   130.20
 8/25/2019 Denis Alexander Portillo           $10.50   64.97   $   10.00               $   131.08   $   131.08
  9/1/2019 Denis Alexander Portillo           $10.50   65.10   $   10.00               $   131.78   $   131.78
  9/8/2019 Denis Alexander Portillo           $10.50   52.33   $   10.00               $    64.75   $    64.75
 9/15/2019 Denis Alexander Portillo           $10.50   40.73   $   10.00               $     3.85   $     3.85
 9/22/2019 Denis Alexander Portillo           $10.50   54.00   $   10.00               $    73.50   $    73.50
 9/29/2019 Denis Alexander Portillo           $10.50   65.12   $   10.00               $   131.86   $   131.86
 10/6/2019 Denis Alexander Portillo           $10.50   64.12   $   10.00               $   126.61   $   126.61
10/13/2019 Denis Alexander Portillo           $10.50   62.60   $   10.00               $   118.65   $   118.65
10/20/2019 Denis Alexander Portillo           $10.50   55.00   $   10.00               $    78.75   $    78.75
10/27/2019 Denis Alexander Portillo           $10.50   63.23   $   10.00               $   121.98   $   121.98
 11/3/2019 Denis Alexander Portillo           $10.50   63.40   $   10.00               $   122.85   $   122.85
11/10/2019 Denis Alexander Portillo           $10.50   63.00   $   10.00               $   120.75   $   120.75
11/17/2019 Denis Alexander Portillo           $10.50   64.62   $   10.00               $   129.24   $   129.24
11/24/2019 Denis Alexander Portillo           $10.50   60.10   $   10.00               $   105.53   $   105.53
 12/1/2019 Denis Alexander Portillo           $10.50   40.40   $   10.00               $     2.10   $     2.10
 12/8/2019 Denis Alexander Portillo           $10.50   54.08   $   10.00               $    73.94   $    73.94
12/15/2019 Denis Alexander Portillo           $10.50   57.55   $   10.00               $    92.14   $    92.14
12/22/2019 Denis Alexander Portillo           $10.50   59.97   $   10.00               $   104.83   $   104.83
12/29/2019 Denis Alexander Portillo           $10.50   41.72   $   10.00               $     9.01   $     9.01
  1/5/2020 Denis Alexander Portillo           $10.50   54.50   $   11.00   $   27.25   $    79.75   $   107.00
 1/19/2020 Denis Alexander Portillo           $10.50   60.20   $   11.00   $   30.10   $   111.10   $   141.20
 1/26/2020 Denis Alexander Portillo           $10.50   49.50   $   11.00   $   24.75   $    52.25   $    77.00
 5/27/2018 Derek Avallone                     $12.00   49.85   $    8.60               $    59.10   $    59.10
  6/3/2018 Derek Avallone                     $12.00   48.60   $    8.60               $    51.60   $    51.60
 6/10/2018 Derek Avallone                     $12.00   55.35   $    8.60               $    92.10   $    92.10
 6/17/2018 Derek Avallone                     $12.00   45.77   $    8.60               $    34.60   $    34.60
 6/24/2018 Derek Avallone                     $12.00   42.22   $    8.60               $    13.30   $    13.30
 7/15/2018 Derek Avallone                     $15.00   58.50   $    8.60               $   138.75   $   138.75
 7/22/2018 Derek Avallone                     $15.00   70.95   $    8.60               $   232.13   $   232.13
 7/29/2018 Derek Avallone                     $15.00   70.62   $    8.60               $   229.63   $   229.63



                                                137
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 139 of 683 PageID: 986
                                            Exhibit 2
                                    New Jersey Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
  Date                                                     Wage  Rate Due     Due       Wages Due

  8/5/2018 Derek Avallone                  $15.00   68.03   $   8.60          $   210.25   $    210.25
 8/12/2018 Derek Avallone                  $15.00   61.12   $   8.60          $   158.38   $    158.38
 8/19/2018 Derek Avallone                  $15.00   70.95   $   8.60          $   232.13   $    232.13
 8/26/2018 Derek Avallone                  $15.00   69.73   $   8.60          $   223.00   $    223.00
  9/9/2018 Derek Avallone                  $15.00   60.02   $   8.60          $   150.13   $    150.13
 9/16/2018 Derek Avallone                  $15.00   65.63   $   8.60          $   192.25   $    192.25
 9/23/2018 Derek Avallone                  $15.00   62.97   $   8.60          $   172.25   $    172.25
 9/30/2018 Derek Avallone                  $15.00   54.75   $   8.60          $   110.63   $    110.63
 10/7/2018 Derek Avallone                  $15.00   62.65   $   8.60          $   169.88   $    169.88
10/14/2018 Derek Avallone                  $15.00   66.32   $   8.60          $   197.38   $    197.38
10/21/2018 Derek Avallone                  $15.00   64.07   $   8.60          $   180.50   $    180.50
10/28/2018 Derek Avallone                  $15.00   54.20   $   8.60          $   106.50   $    106.50
 11/4/2018 Derek Avallone                  $15.00   64.03   $   8.60          $   180.25   $    180.25
11/11/2018 Derek Avallone                  $15.00   59.63   $   8.60          $   147.25   $    147.25
11/18/2018 Derek Avallone                  $15.00   60.15   $   8.60          $   151.13   $    151.13
11/25/2018 Derek Avallone                  $15.00   50.77   $   8.60          $    80.75   $     80.75
 12/2/2018 Derek Avallone                  $15.00   60.88   $   8.60          $   156.63   $    156.63
 12/9/2018 Derek Avallone                  $15.00   61.03   $   8.60          $   157.75   $    157.75
12/16/2018 Derek Avallone                  $15.00   59.52   $   8.60          $   146.38   $    146.38
12/23/2018 Derek Avallone                  $15.00   60.80   $   8.60          $   156.00   $    156.00
  1/6/2019 Derek Avallone                  $15.00   41.92   $   8.85          $    14.38   $     14.38
 1/13/2019 Derek Avallone                  $15.00   58.85   $   8.85          $   141.38   $    141.38
 1/20/2019 Derek Avallone                  $15.00   56.70   $   8.85          $   125.25   $    125.25
 1/27/2019 Derek Avallone                  $15.00   59.20   $   8.85          $   144.00   $    144.00
  2/3/2019 Derek Avallone                  $15.00   59.65   $   8.85          $   147.38   $    147.38
 2/10/2019 Derek Avallone                  $15.00   60.48   $   8.85          $   153.63   $    153.63
 2/17/2019 Derek Avallone                  $15.00   56.78   $   8.85          $   125.88   $    125.88
 2/24/2019 Derek Avallone                  $15.00   52.85   $   8.85          $    96.38   $     96.38
  3/3/2019 Derek Avallone                  $15.00   55.20   $   8.85          $   114.00   $    114.00
 3/10/2019 Derek Avallone                  $15.00   47.00   $   8.85          $    52.50   $     52.50
  2/5/2017 Derlin Silverio                  $9.00   61.15   $   8.44          $    95.18   $     95.18
 2/12/2017 Derlin Silverio                  $9.00   44.22   $   8.44          $    18.98   $     18.98
 3/12/2017 Derlin Silverio                  $9.00   60.30   $   8.44          $    91.35   $     91.35
 3/19/2017 Derlin Silverio                 $10.00   47.82   $   8.44          $    39.08   $     39.08
 3/26/2017 Derlin Silverio                 $10.00   60.20   $   8.44          $   101.00   $    101.00
  4/2/2017 Derlin Silverio                 $10.00   62.75   $   8.44          $   113.75   $    113.75
  4/9/2017 Derlin Silverio                 $10.00   62.50   $   8.44          $   112.50   $    112.50
 4/16/2017 Derlin Silverio                 $10.00   61.37   $   8.44          $   106.83   $    106.83
 4/23/2017 Derlin Silverio                 $10.00   46.70   $   8.44          $    33.50   $     33.50
 4/30/2017 Derlin Silverio                 $10.00   44.57   $   8.44          $    22.83   $     22.83
  5/7/2017 Derlin Silverio                 $10.00   45.87   $   8.44          $    29.33   $     29.33
 5/14/2017 Derlin Silverio                 $10.00   43.27   $   8.44          $    16.33   $     16.33
 5/21/2017 Derlin Silverio                 $10.00   47.17   $   8.44          $    35.83   $     35.83
 5/28/2017 Derlin Silverio                 $10.00   45.57   $   8.44          $    27.83   $     27.83
  6/4/2017 Derlin Silverio                 $10.00   46.30   $   8.44          $    31.50   $     31.50
 6/11/2017 Derlin Silverio                 $10.00   44.02   $   8.44          $    20.08   $     20.08
 6/18/2017 Derlin Silverio                 $10.00   46.13   $   8.44          $    30.67   $     30.67
 6/25/2017 Derlin Silverio                 $10.00   42.68   $   8.44          $    13.42   $     13.42
  7/2/2017 Derlin Silverio                 $10.00   45.90   $   8.44          $    29.50   $     29.50
 7/30/2017 Derlin Silverio                 $10.00   46.00   $   8.44          $    30.00   $     30.00



                                             138
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 140 of 683 PageID: 987
                                            Exhibit 2
                                    New Jersey Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
  Date                                                     Wage  Rate Due     Due       Wages Due

  8/6/2017 Derlin Silverio                 $10.00   44.75   $    8.44         $    23.75   $     23.75
 8/13/2017 Derlin Silverio                 $10.00   45.28   $    8.44         $    26.42   $     26.42
 8/20/2017 Derlin Silverio                 $10.00   43.33   $    8.44         $    16.67   $     16.67
 8/27/2017 Derlin Silverio                 $10.00   45.03   $    8.44         $    25.17   $     25.17
  9/3/2017 Derlin Silverio                 $10.00   53.67   $    8.44         $    68.33   $     68.33
 9/17/2017 Derlin Silverio                 $10.00   44.32   $    8.44         $    21.58   $     21.58
 9/24/2017 Derlin Silverio                 $10.00   45.07   $    8.44         $    25.33   $     25.33
 10/1/2017 Derlin Silverio                 $10.00   44.13   $    8.44         $    20.67   $     20.67
10/15/2017 Derlin Silverio                 $10.00   59.02   $    8.44         $    95.08   $     95.08
10/22/2017 Derlin Silverio                 $10.00   57.65   $    8.44         $    88.25   $     88.25
10/29/2017 Derlin Silverio                 $10.00   56.43   $    8.44         $    82.17   $     82.17
 11/5/2017 Derlin Silverio                 $10.00   58.63   $    8.44         $    93.17   $     93.17
11/12/2017 Derlin Silverio                 $10.00   57.13   $    8.44         $    85.67   $     85.67
11/19/2017 Derlin Silverio                 $10.00   56.87   $    8.44         $    84.33   $     84.33
11/26/2017 Derlin Silverio                 $10.00   45.73   $    8.44         $    28.67   $     28.67
 12/3/2017 Derlin Silverio                 $10.00   54.42   $    8.44         $    72.08   $     72.08
12/10/2017 Derlin Silverio                 $10.00   54.65   $    8.44         $    73.25   $     73.25
12/17/2017 Derlin Silverio                 $10.00   52.93   $    8.44         $    64.67   $     64.67
12/24/2017 Derlin Silverio                 $10.00   57.98   $    8.44         $    89.92   $     89.92
12/31/2017 Derlin Silverio                 $10.00   48.43   $    8.44         $    42.17   $     42.17
  1/7/2018 Derlin Silverio                 $10.00   49.15   $    8.60         $    45.75   $     45.75
 1/14/2018 Derlin Silverio                 $10.00   54.58   $    8.60         $    72.92   $     72.92
 1/21/2018 Derlin Silverio                 $10.00   56.85   $    8.60         $    84.25   $     84.25
 1/28/2018 Derlin Silverio                 $10.00   57.77   $    8.60         $    88.83   $     88.83
  2/4/2018 Derlin Silverio                 $10.00   54.75   $    8.60         $    73.75   $     73.75
 7/29/2018 Deyvi Baez-0544                 $10.00   60.90   $    8.60         $   104.50   $    104.50
  8/5/2018 Deyvi Baez-0544                 $10.00   58.78   $    8.60         $    93.92   $     93.92
 8/12/2018 Deyvi Baez-0544                 $10.00   60.47   $    8.60         $   102.33   $    102.33
 8/19/2018 Deyvi Baez-0544                 $10.00   58.62   $    8.60         $    93.08   $     93.08
 8/26/2018 Deyvi Baez-0544                 $10.00   60.50   $    8.60         $   102.50   $    102.50
  9/2/2018 Deyvi Baez-0544                 $10.00   61.10   $    8.60         $   105.50   $    105.50
  9/9/2018 Deyvi Baez-0544                 $10.00   49.80   $    8.60         $    49.00   $     49.00
 9/16/2018 Deyvi Baez-0544                 $10.00   59.70   $    8.60         $    98.50   $     98.50
 9/23/2018 Deyvi Baez-0544                 $10.00   58.68   $    8.60         $    93.42   $     93.42
 9/30/2018 Deyvi Baez-0544                 $10.00   58.45   $    8.60         $    92.25   $     92.25
 10/7/2018 Deyvi Baez-0544                 $10.00   57.50   $    8.60         $    87.50   $     87.50
10/14/2018 Deyvi Baez-0544                 $10.00   58.47   $    8.60         $    92.33   $     92.33
10/21/2018 Deyvi Baez-0544                 $10.00   49.05   $    8.60         $    45.25   $     45.25
10/28/2018 Deyvi Baez-0544                 $10.00   58.93   $    8.60         $    94.67   $     94.67
 11/4/2018 Deyvi Baez-0544                 $10.00   60.63   $    8.60         $   103.17   $    103.17
11/11/2018 Deyvi Baez-0544                 $10.00   58.68   $    8.60         $    93.42   $     93.42
11/18/2018 Deyvi Baez-0544                 $10.00   59.00   $    8.60         $    95.00   $     95.00
11/25/2018 Deyvi Baez-0544                 $10.00   50.53   $    8.60         $    52.67   $     52.67
 12/2/2018 Deyvi Baez-0544                 $10.00   58.82   $    8.60         $    94.08   $     94.08
 12/9/2018 Deyvi Baez-0544                 $10.00   60.77   $    8.60         $   103.83   $    103.83
12/16/2018 Deyvi Baez-0544                 $10.00   58.43   $    8.60         $    92.17   $     92.17
12/23/2018 Deyvi Baez-0544                 $10.00   58.60   $    8.60         $    93.00   $     93.00
  6/9/2019 Diego Perez                     $10.00   40.07   $    8.85         $     0.33   $      0.33
 6/16/2019 Diego Perez                     $10.00   40.48   $    8.85         $     2.42   $      2.42
 6/30/2019 Diego Perez                     $10.00   40.30   $   10.00         $     1.50   $      1.50



                                             139
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 141 of 683 PageID: 988
                                                       Exhibit 2
                                               New Jersey Computations


  Week                                                                State Section 7: Section 7: Total Section 7
                                                      Hourly Hours/
 Ending                        Name                                 Minumum Regular    Half-Time Overtime Back
                                                       Rate Week
  Date                                                                Wage  Rate Due     Due       Wages Due

 7/14/2019 Diego Perez                                $10.00   40.43   $   10.00         $     2.17   $      2.17
  8/4/2019 Diego Perez                                $10.00   41.12   $   10.00         $     5.58   $      5.58
 8/11/2019 Diego Perez                                $10.00   42.17   $   10.00         $    10.83   $     10.83
 8/18/2019 Diego Perez                                $10.00   40.38   $   10.00         $     1.92   $      1.92
 8/25/2019 Diego Perez                                $10.00   48.53   $   10.00         $    42.67   $     42.67
  9/1/2019 Diego Perez                                $10.00   48.28   $   10.00         $    41.42   $     41.42
  9/8/2019 Diego Perez                                $10.00   41.57   $   10.00         $     7.83   $      7.83
 9/15/2019 Diego Perez                                $10.00   41.37   $   10.00         $     6.83   $      6.83
 9/22/2019 Diego Perez                                $10.00   45.30   $   10.00         $    26.50   $     26.50
 9/29/2019 Diego Perez                                $10.00   47.55   $   10.00         $    37.75   $     37.75
 10/6/2019 Diego Perez                                $10.00   44.17   $   10.00         $    20.83   $     20.83
10/13/2019 Diego Perez                                $10.00   47.50   $   10.00         $    37.50   $     37.50
10/27/2019 Diego Perez                                $10.00   48.25   $   10.00         $    41.25   $     41.25
11/10/2019 Diego Perez                                $10.00   40.22   $   10.00         $     1.08   $      1.08
11/17/2019 Diego Perez                                $10.00   48.07   $   10.00         $    40.33   $     40.33
11/24/2019 Diego Perez                                $10.00   48.37   $   10.00         $    41.83   $     41.83
 12/8/2019 Diego Perez                                $10.00   46.40   $   10.00         $    32.00   $     32.00
12/15/2019 Diego Perez                                $10.00   40.35   $   10.00         $     1.75   $      1.75
 5/20/2018 Dilmer Alexander Nicolas Martinez          $10.00   60.53   $    8.60         $   102.67   $    102.67
 5/27/2018 Dilmer Alexander Nicolas Martinez          $10.00   57.52   $    8.60         $    87.58   $     87.58
  6/3/2018 Dilmer Alexander Nicolas Martinez          $10.00   56.10   $    8.60         $    80.50   $     80.50
 6/10/2018 Dilmer Alexander Nicolas Martinez          $10.00   59.98   $    8.60         $    99.92   $     99.92
 6/17/2018 Dilmer Alexander Nicolas Martinez          $10.00   60.32   $    8.60         $   101.58   $    101.58
 6/24/2018 Dilmer Alexander Nicolas Martinez          $10.00   60.78   $    8.60         $   103.92   $    103.92
  7/1/2018 Dilmer Alexander Nicolas Martinez          $10.00   64.78   $    8.60         $   123.92   $    123.92
  7/8/2018 Dilmer Alexander Nicolas Martinez          $10.00   55.55   $    8.60         $    77.75   $     77.75
 7/15/2018 Dilmer Alexander Nicolas Martinez          $10.00   60.23   $    8.60         $   101.17   $    101.17
 7/22/2018 Dilmer Alexander Nicolas Martinez          $10.00   60.52   $    8.60         $   102.58   $    102.58
 7/29/2018 Dilmer Alexander Nicolas Martinez          $10.00   61.32   $    8.60         $   106.58   $    106.58
  8/5/2018 Dilmer Alexander Nicolas Martinez          $10.00   64.33   $    8.60         $   121.67   $    121.67
 8/12/2018 Dilmer Alexander Nicolas Martinez          $10.00   50.77   $    8.60         $    53.83   $     53.83
 8/19/2018 Dilmer Alexander Nicolas Martinez          $10.00   60.45   $    8.60         $   102.25   $    102.25
 8/26/2018 Dilmer Alexander Nicolas Martinez          $10.00   60.87   $    8.60         $   104.33   $    104.33
  9/2/2018 Dilmer Alexander Nicolas Martinez          $10.00   64.43   $    8.60         $   122.17   $    122.17
  9/9/2018 Dilmer Alexander Nicolas Martinez          $10.00   57.50   $    8.60         $    87.50   $     87.50
 9/16/2018 Dilmer Alexander Nicolas Martinez          $10.00   60.55   $    8.60         $   102.75   $    102.75
 9/23/2018 Dilmer Alexander Nicolas Martinez          $10.00   60.65   $    8.60         $   103.25   $    103.25
 9/30/2018 Dilmer Alexander Nicolas Martinez          $10.00   51.20   $    8.60         $    56.00   $     56.00
 10/7/2018 Dilmer Alexander Nicolas Martinez          $10.00   61.70   $    8.60         $   108.50   $    108.50
10/14/2018 Dilmer Alexander Nicolas Martinez          $10.00   60.42   $    8.60         $   102.08   $    102.08
10/21/2018 Dilmer Alexander Nicolas Martinez          $10.00   60.40   $    8.60         $   102.00   $    102.00
10/28/2018 Dilmer Alexander Nicolas Martinez          $10.00   63.32   $    8.60         $   116.58   $    116.58
 11/4/2018 Dilmer Alexander Nicolas Martinez          $10.00   61.00   $    8.60         $   105.00   $    105.00
11/11/2018 Dilmer Alexander Nicolas Martinez          $10.00   60.85   $    8.60         $   104.25   $    104.25
11/18/2018 Dilmer Alexander Nicolas Martinez          $10.00   69.32   $    8.60         $   146.58   $    146.58
11/25/2018 Dilmer Alexander Nicolas Martinez          $10.00   50.73   $    8.60         $    53.67   $     53.67
 12/2/2018 Dilmer Alexander Nicolas Martinez          $10.00   68.13   $    8.60         $   140.67   $    140.67
 12/9/2018 Dilmer Alexander Nicolas Martinez          $10.00   60.77   $    8.60         $   103.83   $    103.83
12/16/2018 Dilmer Alexander Nicolas Martinez          $10.00   50.17   $    8.60         $    50.83   $     50.83
12/23/2018 Dilmer Alexander Nicolas Martinez          $10.00   62.20   $    8.60         $   111.00   $    111.00



                                                        140
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 142 of 683 PageID: 989
                                                       Exhibit 2
                                               New Jersey Computations


  Week                                                                State Section 7: Section 7: Total Section 7
                                                      Hourly Hours/
 Ending                        Name                                 Minumum Regular    Half-Time Overtime Back
                                                       Rate Week
  Date                                                                Wage  Rate Due     Due       Wages Due

12/30/2018 Dilmer Alexander Nicolas Martinez          $10.00   56.17   $    8.60         $    80.83   $     80.83
  1/6/2019 Dilmer Alexander Nicolas Martinez          $10.00   43.12   $    8.85         $    15.58   $     15.58
 1/13/2019 Dilmer Alexander Nicolas Martinez          $10.00   68.83   $    8.85         $   144.17   $    144.17
 1/20/2019 Dilmer Alexander Nicolas Martinez          $10.00   60.18   $    8.85         $   100.92   $    100.92
 1/27/2019 Dilmer Alexander Nicolas Martinez          $10.00   71.53   $    8.85         $   157.67   $    157.67
  2/3/2019 Dilmer Alexander Nicolas Martinez          $10.00   57.70   $    8.85         $    88.50   $     88.50
 2/10/2019 Dilmer Alexander Nicolas Martinez          $10.00   75.12   $    8.85         $   175.58   $    175.58
 2/17/2019 Dilmer Alexander Nicolas Martinez          $10.00   67.88   $    8.85         $   139.42   $    139.42
 2/24/2019 Dilmer Alexander Nicolas Martinez          $10.00   77.53   $    8.85         $   187.67   $    187.67
  3/3/2019 Dilmer Alexander Nicolas Martinez          $10.00   69.78   $    8.85         $   148.92   $    148.92
 3/10/2019 Dilmer Alexander Nicolas Martinez          $10.00   76.68   $    8.85         $   183.42   $    183.42
 3/17/2019 Dilmer Alexander Nicolas Martinez          $10.00   69.23   $    8.85         $   146.17   $    146.17
 3/24/2019 Dilmer Alexander Nicolas Martinez          $10.00   77.85   $    8.85         $   189.25   $    189.25
 3/31/2019 Dilmer Alexander Nicolas Martinez          $10.00   70.02   $    8.85         $   150.08   $    150.08
  4/7/2019 Dilmer Alexander Nicolas Martinez          $10.00   76.95   $    8.85         $   184.75   $    184.75
 4/14/2019 Dilmer Alexander Nicolas Martinez          $10.00   65.82   $    8.85         $   129.08   $    129.08
 4/21/2019 Dilmer Alexander Nicolas Martinez          $10.00   69.78   $    8.85         $   148.92   $    148.92
 4/28/2019 Dilmer Alexander Nicolas Martinez          $10.00   66.08   $    8.85         $   130.42   $    130.42
  5/5/2019 Dilmer Alexander Nicolas Martinez          $10.00   68.70   $    8.85         $   143.50   $    143.50
 5/12/2019 Dilmer Alexander Nicolas Martinez          $10.00   67.70   $    8.85         $   138.50   $    138.50
 5/19/2019 Dilmer Alexander Nicolas Martinez          $10.00   67.35   $    8.85         $   136.75   $    136.75
 5/26/2019 Dilmer Alexander Nicolas Martinez          $10.00   68.65   $    8.85         $   143.25   $    143.25
  6/2/2019 Dilmer Alexander Nicolas Martinez          $10.00   69.57   $    8.85         $   147.83   $    147.83
  6/9/2019 Dilmer Alexander Nicolas Martinez          $10.00   67.10   $    8.85         $   135.50   $    135.50
 6/16/2019 Dilmer Alexander Nicolas Martinez          $10.00   77.52   $    8.85         $   187.58   $    187.58
 6/23/2019 Dilmer Alexander Nicolas Martinez          $10.00   62.10   $    8.85         $   110.50   $    110.50
 6/30/2019 Dilmer Alexander Nicolas Martinez          $10.00   66.12   $   10.00         $   130.58   $    130.58
  7/7/2019 Dilmer Alexander Nicolas Martinez          $10.00   63.35   $   10.00         $   116.75   $    116.75
 7/14/2019 Dilmer Alexander Nicolas Martinez          $10.00   67.93   $   10.00         $   139.67   $    139.67
 7/21/2019 Dilmer Alexander Nicolas Martinez          $10.00   67.45   $   10.00         $   137.25   $    137.25
 7/28/2019 Dilmer Alexander Nicolas Martinez          $10.00   69.90   $   10.00         $   149.50   $    149.50
  8/4/2019 Dilmer Alexander Nicolas Martinez          $10.00   69.30   $   10.00         $   146.50   $    146.50
 8/11/2019 Dilmer Alexander Nicolas Martinez          $10.00   70.37   $   10.00         $   151.83   $    151.83
 8/18/2019 Dilmer Alexander Nicolas Martinez          $10.00   70.08   $   10.00         $   150.42   $    150.42
 8/25/2019 Dilmer Alexander Nicolas Martinez          $10.00   66.27   $   10.00         $   131.33   $    131.33
  9/1/2019 Dilmer Alexander Nicolas Martinez          $10.00   62.87   $   10.00         $   114.33   $    114.33
  9/8/2019 Dilmer Alexander Nicolas Martinez          $10.00   57.80   $   10.00         $    89.00   $     89.00
 9/15/2019 Dilmer Alexander Nicolas Martinez          $10.00   50.17   $   10.00         $    50.83   $     50.83
 9/22/2019 Dilmer Alexander Nicolas Martinez          $10.00   69.78   $   10.00         $   148.92   $    148.92
 9/29/2019 Dilmer Alexander Nicolas Martinez          $10.00   59.77   $   10.00         $    98.83   $     98.83
 10/6/2019 Dilmer Alexander Nicolas Martinez          $10.00   66.92   $   10.00         $   134.58   $    134.58
10/13/2019 Dilmer Alexander Nicolas Martinez          $10.00   59.33   $   10.00         $    96.67   $     96.67
10/20/2019 Dilmer Alexander Nicolas Martinez          $10.00   60.52   $   10.00         $   102.58   $    102.58
10/27/2019 Dilmer Alexander Nicolas Martinez          $10.00   65.73   $   10.00         $   128.67   $    128.67
 11/3/2019 Dilmer Alexander Nicolas Martinez          $10.00   59.67   $   10.00         $    98.33   $     98.33
11/10/2019 Dilmer Alexander Nicolas Martinez          $10.00   68.58   $   10.00         $   142.92   $    142.92
11/17/2019 Dilmer Alexander Nicolas Martinez          $10.00   60.38   $   10.00         $   101.92   $    101.92
11/24/2019 Dilmer Alexander Nicolas Martinez          $10.00   49.52   $   10.00         $    47.58   $     47.58
 12/1/2019 Dilmer Alexander Nicolas Martinez          $10.00   49.73   $   10.00         $    48.67   $     48.67
 12/8/2019 Dilmer Alexander Nicolas Martinez          $10.00   61.45   $   10.00         $   107.25   $    107.25



                                                        141
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 143 of 683 PageID: 990
                                                       Exhibit 2
                                               New Jersey Computations


  Week                                                                State Section 7: Section 7: Total Section 7
                                                      Hourly Hours/
 Ending                        Name                                 Minumum Regular    Half-Time Overtime Back
                                                       Rate Week
  Date                                                                Wage  Rate Due     Due       Wages Due

12/15/2019 Dilmer Alexander Nicolas Martinez          $10.00   59.13   $   10.00               $    95.67   $    95.67
12/22/2019 Dilmer Alexander Nicolas Martinez          $10.00   66.67   $   10.00               $   133.33   $   133.33
12/29/2019 Dilmer Alexander Nicolas Martinez          $10.00   48.18   $   10.00               $    40.92   $    40.92
  1/5/2020 Dilmer Alexander Nicolas Martinez          $10.00   56.63   $   11.00   $   56.63   $    91.48   $   148.12
 1/12/2020 Dilmer Alexander Nicolas Martinez          $10.00   61.98   $   11.00   $   61.98   $   120.91   $   182.89
 1/19/2020 Dilmer Alexander Nicolas Martinez          $10.00   70.88   $   11.00   $   70.88   $   169.86   $   240.74
 1/26/2020 Dilmer Alexander Nicolas Martinez          $10.00   65.87   $   11.00   $   65.87   $   142.27   $   208.13
12/16/2018 Dilver Tejada                              $10.00   61.08   $    8.60               $   105.42   $   105.42
12/23/2018 Dilver Tejada                              $10.00   62.67   $    8.60               $   113.33   $   113.33
  1/6/2019 Dilver Tejada                              $10.00   59.13   $    8.85               $    95.67   $    95.67
 1/13/2019 Dilver Tejada                              $10.00   69.88   $    8.85               $   149.42   $   149.42
 1/20/2019 Dilver Tejada                              $11.00   72.73   $    8.85               $   180.03   $   180.03
 1/27/2019 Dilver Tejada                              $11.00   74.08   $    8.85               $   187.46   $   187.46
  2/3/2019 Dilver Tejada                              $11.00   73.28   $    8.85               $   183.06   $   183.06
 2/10/2019 Dilver Tejada                              $11.00   72.97   $    8.85               $   181.32   $   181.32
 2/17/2019 Dilver Tejada                              $11.00   72.35   $    8.85               $   177.93   $   177.93
 2/24/2019 Dilver Tejada                              $11.00   73.33   $    8.85               $   183.33   $   183.33
  3/3/2019 Dilver Tejada                              $11.00   72.87   $    8.85               $   180.77   $   180.77
 3/10/2019 Dilver Tejada                              $11.00   72.35   $    8.85               $   177.93   $   177.93
 3/17/2019 Dilver Tejada                              $11.00   72.60   $    8.85               $   179.30   $   179.30
 3/24/2019 Dilver Tejada                              $11.00   72.68   $    8.85               $   179.76   $   179.76
 3/31/2019 Dilver Tejada                              $11.00   72.92   $    8.85               $   181.04   $   181.04
  4/7/2019 Dilver Tejada                              $11.00   73.02   $    8.85               $   181.59   $   181.59
 4/14/2019 Dilver Tejada                              $11.00   73.52   $    8.85               $   184.34   $   184.34
 4/21/2019 Dilver Tejada                              $11.00   73.33   $    8.85               $   183.33   $   183.33
 4/28/2019 Dilver Tejada                              $11.00   73.68   $    8.85               $   185.26   $   185.26
  5/5/2019 Dilver Tejada                              $11.00   73.97   $    8.85               $   186.82   $   186.82
 5/12/2019 Dilver Tejada                              $11.00   73.97   $    8.85               $   186.82   $   186.82
 5/19/2019 Dilver Tejada                              $11.00   74.62   $    8.85               $   190.39   $   190.39
 5/26/2019 Dilver Tejada                              $11.00   72.83   $    8.85               $   180.58   $   180.58
  6/2/2019 Dilver Tejada                              $11.00   71.15   $    8.85               $   171.33   $   171.33
  6/9/2019 Dilver Tejada                              $11.00   72.83   $    8.85               $   180.58   $   180.58
 6/16/2019 Dilver Tejada                              $11.00   72.55   $    8.85               $   179.03   $   179.03
 6/23/2019 Dilver Tejada                              $11.00   74.00   $    8.85               $   187.00   $   187.00
 6/30/2019 Dilver Tejada                              $11.00   73.75   $   10.00               $   185.63   $   185.63
  7/7/2019 Dilver Tejada                              $11.00   60.82   $   10.00               $   114.49   $   114.49
 7/14/2019 Dilver Tejada                              $11.00   73.23   $   10.00               $   182.78   $   182.78
 7/21/2019 Dilver Tejada                              $11.00   73.87   $   10.00               $   186.27   $   186.27
 7/28/2019 Dilver Tejada                              $11.00   73.50   $   10.00               $   184.25   $   184.25
  8/4/2019 Dilver Tejada                              $11.00   73.18   $   10.00               $   182.51   $   182.51
 8/11/2019 Dilver Tejada                              $11.00   72.78   $   10.00               $   180.31   $   180.31
 8/18/2019 Dilver Tejada                              $11.00   73.13   $   10.00               $   182.23   $   182.23
 8/25/2019 Dilver Tejada                              $11.00   72.98   $   10.00               $   181.41   $   181.41
  9/1/2019 Dilver Tejada                              $11.00   73.92   $   10.00               $   186.54   $   186.54
  9/8/2019 Dilver Tejada                              $11.00   68.75   $   10.00               $   158.13   $   158.13
 9/15/2019 Dilver Tejada                              $11.00   72.08   $   10.00               $   176.46   $   176.46
 9/22/2019 Dilver Tejada                              $11.00   66.30   $   10.00               $   144.65   $   144.65
 9/29/2019 Dilver Tejada                              $11.00   68.07   $   10.00               $   154.37   $   154.37
 10/6/2019 Dilver Tejada                              $11.00   72.25   $   10.00               $   177.38   $   177.38
10/13/2019 Dilver Tejada                              $11.00   69.83   $   10.00               $   164.08   $   164.08



                                                        142
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 144 of 683 PageID: 991
                                             Exhibit 2
                                     New Jersey Computations


  Week                                                      State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
 Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
  Date                                                      Wage  Rate Due     Due       Wages Due

10/20/2019 Dilver Tejada                    $11.00   73.93   $   10.00               $   186.63   $   186.63
10/27/2019 Dilver Tejada                    $11.00   73.43   $   10.00               $   183.88   $   183.88
 11/3/2019 Dilver Tejada                    $11.00   73.55   $   10.00               $   184.53   $   184.53
11/10/2019 Dilver Tejada                    $11.00   73.98   $   10.00               $   186.91   $   186.91
11/17/2019 Dilver Tejada                    $11.00   72.82   $   10.00               $   180.49   $   180.49
11/24/2019 Dilver Tejada                    $11.00   73.60   $   10.00               $   184.80   $   184.80
 12/1/2019 Dilver Tejada                    $11.00   61.13   $   10.00               $   116.23   $   116.23
 12/8/2019 Dilver Tejada                    $11.00   73.27   $   10.00               $   182.97   $   182.97
12/15/2019 Dilver Tejada                    $11.00   73.77   $   10.00               $   185.72   $   185.72
12/22/2019 Dilver Tejada                    $11.00   74.72   $   10.00               $   190.94   $   190.94
12/29/2019 Dilver Tejada                    $11.00   59.63   $   10.00               $   107.98   $   107.98
  1/5/2020 Dilver Tejada                    $11.00   61.37   $   11.00               $   117.52   $   117.52
 1/12/2020 Dilver Tejada                    $11.00   72.73   $   11.00               $   180.03   $   180.03
 1/19/2020 Dilver Tejada                    $11.00   73.42   $   11.00               $   183.79   $   183.79
 1/26/2020 Dilver Tejada                    $11.00   73.75   $   11.00               $   185.63   $   185.63
 10/6/2019 Diony Algenis Rodriguez           $9.50   63.57   $   10.00   $   31.78   $   117.83   $   149.62
10/13/2019 Diony Algenis Rodriguez           $9.50   78.52   $   10.00   $   39.26   $   192.58   $   231.84
10/20/2019 Diony Algenis Rodriguez          $11.00   61.73   $   10.00               $   119.53   $   119.53
10/27/2019 Diony Algenis Rodriguez          $11.00   60.17   $   10.00               $   110.92   $   110.92
 11/3/2019 Diony Algenis Rodriguez          $11.00   51.07   $   10.00               $    60.87   $    60.87
11/10/2019 Diony Algenis Rodriguez          $11.00   50.13   $   10.00               $    55.73   $    55.73
11/17/2019 Diony Algenis Rodriguez          $11.00   53.25   $   10.00               $    72.87   $    72.87
11/24/2019 Diony Algenis Rodriguez          $11.00   60.12   $   10.00               $   110.64   $   110.64
 12/1/2019 Diony Algenis Rodriguez          $11.00   46.10   $   10.00               $    33.55   $    33.55
 12/8/2019 Diony Algenis Rodriguez          $11.00   61.42   $   10.00               $   117.79   $   117.79
12/15/2019 Diony Algenis Rodriguez           $9.50   68.62   $   10.00   $ 34.31     $   143.08   $   177.39
  1/5/2020 Diony Algenis Rodriguez           $9.50   47.07   $   11.00   $ 70.60     $    38.87   $   109.47
 1/12/2020 Diony Algenis Rodriguez           $9.50   59.72   $   11.00   $ 89.58     $   108.44   $   198.02
 1/19/2020 Diony Algenis Rodriguez           $9.50   57.45   $   11.00   $ 86.18     $    95.98   $   182.15
 1/26/2020 Diony Algenis Rodriguez           $9.50   71.38   $   11.00   $ 107.08    $   172.61   $   279.68
 8/18/2019 Divan Ernesto Tejeda              $9.00   43.73   $   10.00   $ 43.73     $    18.67   $    62.40
 8/25/2019 Divan Ernesto Tejeda              $9.00   40.15   $   10.00   $ 40.15     $     0.75   $    40.90
  9/1/2019 Divan Ernesto Tejeda              $9.00   55.25   $   10.00   $ 55.25     $    76.25   $   131.50
  9/8/2019 Divan Ernesto Tejeda              $9.00   40.27   $   10.00   $ 40.27     $     1.33   $    41.60
 9/15/2019 Divan Ernesto Tejeda              $9.00   51.00   $   10.00   $ 51.00     $    55.00   $   106.00
 9/22/2019 Divan Ernesto Tejeda              $9.00   49.38   $   10.00   $ 49.38     $    46.92   $    96.30
 9/29/2019 Divan Ernesto Tejeda              $9.00   53.70   $   10.00   $ 53.70     $    68.50   $   122.20
 10/6/2019 Divan Ernesto Tejeda              $9.00   40.15   $   10.00   $ 40.15     $     0.75   $    40.90
10/20/2019 Divan Ernesto Tejeda              $9.00   46.38   $   10.00   $ 46.38     $    31.92   $    78.30
10/27/2019 Divan Ernesto Tejeda              $9.00   54.00   $   10.00   $ 54.00     $    70.00   $   124.00
11/10/2019 Divan Ernesto Tejeda              $9.00   43.82   $   10.00   $ 43.82     $    19.08   $    62.90
11/24/2019 Divan Ernesto Tejeda              $9.00   47.10   $   10.00   $ 47.10     $    35.50   $    82.60
 12/1/2019 Divan Ernesto Tejeda              $9.00   48.55   $   10.00   $ 48.55     $    42.75   $    91.30
12/15/2019 Divan Ernesto Tejeda              $9.00   41.33   $   10.00   $ 41.33     $     6.67   $    48.00
12/22/2019 Divan Ernesto Tejeda              $9.00   56.32   $   10.00   $ 56.32     $    81.58   $   137.90
 9/22/2019 Dominique Barnes                 $13.00   55.17   $   10.00               $    98.58   $    98.58
 9/29/2019 Dominique Barnes                 $13.00   54.77   $   10.00               $    95.98   $    95.98
10/13/2019 Dominique Barnes                 $13.00   40.68   $   10.00               $     4.44   $     4.44
 7/21/2019 Donald Ruano                     $10.00   56.68   $   10.00               $    83.42   $    83.42
 7/28/2019 Donald Ruano                     $10.00   67.37   $   10.00               $   136.83   $   136.83



                                              143
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 145 of 683 PageID: 992
                                             Exhibit 2
                                     New Jersey Computations


  Week                                                      State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
 Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
  Date                                                      Wage  Rate Due     Due       Wages Due

  8/4/2019 Donald Ruano                     $10.00   67.72   $   10.00               $   138.58   $   138.58
 8/11/2019 Donald Ruano                     $10.00   66.25   $   10.00               $   131.25   $   131.25
 8/18/2019 Donald Ruano                     $10.00   65.90   $   10.00               $   129.50   $   129.50
 8/25/2019 Donald Ruano                     $10.00   53.78   $   10.00               $    68.92   $    68.92
  9/1/2019 Donald Ruano                     $10.00   66.45   $   10.00               $   132.25   $   132.25
12/23/2018 Douglas Segovia Castro           $12.50   49.33   $    8.60               $    58.33   $    58.33
12/30/2018 Douglas Segovia Castro           $12.50   46.00   $    8.60               $    37.50   $    37.50
  1/6/2019 Douglas Segovia Castro           $12.50   45.37   $    8.85               $    33.54   $    33.54
 1/13/2019 Douglas Segovia Castro           $12.50   58.48   $    8.85               $   115.52   $   115.52
 1/20/2019 Douglas Segovia Castro           $12.50   45.38   $    8.85               $    33.65   $    33.65
 1/27/2019 Douglas Segovia Castro           $12.50   53.35   $    8.85               $    83.44   $    83.44
  2/3/2019 Douglas Segovia Castro           $12.50   54.00   $    8.85               $    87.50   $    87.50
 2/10/2019 Douglas Segovia Castro           $12.50   50.75   $    8.85               $    67.19   $    67.19
 2/17/2019 Douglas Segovia Castro           $12.50   48.27   $    8.85               $    51.67   $    51.67
 2/24/2019 Douglas Segovia Castro           $12.50   60.22   $    8.85               $   126.35   $   126.35
  3/3/2019 Douglas Segovia Castro           $12.50   52.42   $    8.85               $    77.60   $    77.60
 3/10/2019 Douglas Segovia Castro           $12.50   54.10   $    8.85               $    88.13   $    88.13
 3/17/2019 Douglas Segovia Castro           $12.50   42.77   $    8.85               $    17.29   $    17.29
  4/7/2019 Douglas Segovia Castro           $12.50   55.77   $    8.85               $    98.54   $    98.54
 4/14/2019 Douglas Segovia Castro           $13.00   60.77   $    8.85               $   134.98   $   134.98
 4/21/2019 Douglas Segovia Castro           $13.00   66.68   $    8.85               $   173.44   $   173.44
 4/28/2019 Douglas Segovia Castro           $13.00   66.30   $    8.85               $   170.95   $   170.95
  5/5/2019 Douglas Segovia Castro           $13.00   66.12   $    8.85               $   169.76   $   169.76
 5/12/2019 Douglas Segovia Castro           $13.00   64.30   $    8.85               $   157.95   $   157.95
 5/19/2019 Douglas Segovia Castro           $13.00   66.80   $    8.85               $   174.20   $   174.20
 5/26/2019 Douglas Segovia Castro           $13.00   64.78   $    8.85               $   161.09   $   161.09
  6/2/2019 Douglas Segovia Castro           $13.00   64.20   $    8.85               $   157.30   $   157.30
  6/9/2019 Douglas Segovia Castro           $13.00   66.53   $    8.85               $   172.47   $   172.47
 6/16/2019 Douglas Segovia Castro           $13.00   67.40   $    8.85               $   178.10   $   178.10
 6/23/2019 Douglas Segovia Castro           $13.00   66.75   $    8.85               $   173.88   $   173.88
 6/30/2019 Douglas Segovia Castro           $13.00   67.45   $   10.00               $   178.43   $   178.43
  7/7/2019 Douglas Segovia Castro           $13.00   62.52   $   10.00               $   146.36   $   146.36
 7/14/2019 Douglas Segovia Castro           $13.00   66.53   $   10.00               $   172.47   $   172.47
 7/21/2019 Douglas Segovia Castro           $13.00   64.52   $   10.00               $   159.36   $   159.36
 7/28/2019 Douglas Segovia Castro           $13.00   65.73   $   10.00               $   167.27   $   167.27
  8/4/2019 Douglas Segovia Castro           $13.00   64.72   $   10.00               $   160.66   $   160.66
 8/11/2019 Douglas Segovia Castro           $13.00   67.05   $   10.00               $   175.83   $   175.83
 8/18/2019 Douglas Segovia Castro           $13.00   65.63   $   10.00               $   166.62   $   166.62
 8/25/2019 Douglas Segovia Castro           $13.00   62.87   $   10.00               $   148.63   $   148.63
  9/1/2019 Douglas Segovia Castro           $13.00   68.15   $   10.00               $   182.98   $   182.98
  9/8/2019 Douglas Segovia Castro           $13.00   62.55   $   10.00               $   146.58   $   146.58
 9/15/2019 Douglas Segovia Castro           $13.00   65.03   $   10.00               $   162.72   $   162.72
 9/22/2019 Douglas Segovia Castro           $13.00   64.18   $   10.00               $   157.19   $   157.19
 10/6/2019 Douglas Segovia Castro           $13.00   52.58   $   10.00               $    81.79   $    81.79
10/13/2019 Douglas Segovia Castro           $13.00   66.02   $   10.00               $   169.11   $   169.11
10/20/2019 Douglas Segovia Castro           $13.00   64.73   $   10.00               $   160.77   $   160.77
 6/23/2019 Duly Rivera                       $9.00   54.35   $    8.85               $    64.58   $    64.58
 6/30/2019 Duly Rivera                       $9.00   52.98   $   10.00   $   52.98   $    64.92   $   117.90
  7/7/2019 Duly Rivera                       $9.00   45.07   $   10.00   $   45.07   $    25.33   $    70.40
 7/14/2019 Duly Rivera                       $9.00   50.62   $   10.00   $   50.62   $    53.08   $   103.70



                                              144
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 146 of 683 PageID: 993
                                           Exhibit 2
                                   New Jersey Computations


  Week                                                    State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
 Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
  Date                                                    Wage  Rate Due     Due       Wages Due

 7/21/2019 Duly Rivera                     $9.00   63.63   $   10.00   $   63.63   $   118.17   $   181.80
 7/28/2019 Duly Rivera                     $9.00   55.82   $   10.00   $   55.82   $    79.08   $   134.90
  8/4/2019 Duly Rivera                     $9.00   58.82   $   10.00   $   58.82   $    94.08   $   152.90
 8/11/2019 Duly Rivera                     $9.00   53.78   $   10.00   $   53.78   $    68.92   $   122.70
 8/18/2019 Duly Rivera                     $9.00   54.43   $   10.00   $   54.43   $    72.17   $   126.60
 8/25/2019 Duly Rivera                     $9.00   63.83   $   10.00   $   63.83   $   119.17   $   183.00
  9/1/2019 Duly Rivera                     $9.00   58.77   $   10.00   $   58.77   $    93.83   $   152.60
  9/8/2019 Duly Rivera                     $9.00   51.47   $   10.00   $   51.47   $    57.33   $   108.80
 9/15/2019 Duly Rivera                     $9.00   66.73   $   10.00   $   66.73   $   133.67   $   200.40
 9/22/2019 Duly Rivera                     $9.00   74.82   $   10.00   $   74.82   $   174.08   $   248.90
 9/29/2019 Duly Rivera                     $9.00   68.13   $   10.00   $   68.13   $   140.67   $   208.80
 10/6/2019 Duly Rivera                     $9.00   65.12   $   10.00   $   65.12   $   125.58   $   190.70
10/13/2019 Duly Rivera                     $9.00   67.87   $   10.00   $   67.87   $   139.33   $   207.20
10/20/2019 Duly Rivera                     $9.00   65.33   $   10.00   $   65.33   $   126.67   $   192.00
10/27/2019 Duly Rivera                     $9.00   68.83   $   10.00   $   68.83   $   144.17   $   213.00
 11/3/2019 Duly Rivera                     $9.00   68.30   $   10.00   $   68.30   $   141.50   $   209.80
11/10/2019 Duly Rivera                     $9.00   68.43   $   10.00   $   68.43   $   142.17   $   210.60
11/17/2019 Duly Rivera                     $9.00   66.90   $   10.00   $   66.90   $   134.50   $   201.40
11/24/2019 Duly Rivera                     $9.00   65.92   $   10.00   $   65.92   $   129.58   $   195.50
 12/1/2019 Duly Rivera                     $9.00   56.30   $   10.00   $   56.30   $    81.50   $   137.80
 12/8/2019 Duly Rivera                     $9.00   73.32   $   10.00   $   73.32   $   166.58   $   239.90
12/15/2019 Duly Rivera                     $9.00   66.60   $   10.00   $   66.60   $   133.00   $   199.60
12/22/2019 Duly Rivera                     $9.00   71.12   $   10.00   $   71.12   $   155.58   $   226.70
12/29/2019 Duly Rivera                     $9.00   51.68   $   10.00   $   51.68   $    58.42   $   110.10
  1/5/2020 Duly Rivera                    $10.50   55.02   $   11.00   $   27.51   $    82.59   $   110.10
 1/12/2020 Duly Rivera                    $10.50   67.27   $   11.00   $   33.63   $   149.97   $   183.60
 1/19/2020 Duly Rivera                    $10.50   70.17   $   11.00   $   35.08   $   165.92   $   201.00
 1/26/2020 Duly Rivera                    $10.50   69.22   $   11.00   $   34.61   $   160.69   $   195.30
 4/29/2018 Dyquan William                  $9.50   53.03   $    8.60               $    61.91   $    61.91
  5/6/2018 Dyquan William                  $9.50   42.05   $    8.60               $     9.74   $     9.74
 5/20/2018 Dyquan William                  $9.50   54.32   $    8.60               $    68.00   $    68.00
  2/5/2017 Eder Tosta                     $10.50   56.25   $    8.44               $    85.31   $    85.31
 2/19/2017 Eder Tosta                     $10.50   51.70   $    8.44               $    61.43   $    61.43
 2/26/2017 Eder Tosta                     $10.50   53.68   $    8.44               $    71.84   $    71.84
  3/5/2017 Eder Tosta                     $10.50   53.03   $    8.44               $    68.43   $    68.43
 3/12/2017 Eder Tosta                     $10.50   49.03   $    8.44               $    47.43   $    47.43
 3/19/2017 Eder Tosta                     $10.50   42.38   $    8.44               $    12.51   $    12.51
 3/26/2017 Eder Tosta                     $10.50   53.23   $    8.44               $    69.48   $    69.48
  4/2/2017 Eder Tosta                     $10.50   58.72   $    8.44               $    98.26   $    98.26
  4/9/2017 Eder Tosta                     $10.50   51.35   $    8.44               $    59.59   $    59.59
 4/16/2017 Eder Tosta                     $10.50   55.08   $    8.44               $    79.19   $    79.19
 4/23/2017 Eder Tosta                     $10.50   46.37   $    8.44               $    33.43   $    33.43
 4/30/2017 Eder Tosta                     $10.50   50.78   $    8.44               $    56.61   $    56.61
  5/7/2017 Eder Tosta                     $10.50   51.93   $    8.44               $    62.65   $    62.65
 5/14/2017 Eder Tosta                     $10.50   51.53   $    8.44               $    60.55   $    60.55
 5/21/2017 Eder Tosta                     $10.50   51.13   $    8.44               $    58.45   $    58.45
 5/28/2017 Eder Tosta                     $10.50   56.72   $    8.44               $    87.76   $    87.76
  6/4/2017 Eder Tosta                     $10.50   56.15   $    8.44               $    84.79   $    84.79
 6/11/2017 Eder Tosta                     $10.50   56.55   $    8.44               $    86.89   $    86.89
 6/18/2017 Eder Tosta                     $10.50   50.23   $    8.44               $    53.73   $    53.73



                                            145
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 147 of 683 PageID: 994
                                        Exhibit 2
                                New Jersey Computations


  Week                                                 State Section 7: Section 7: Total Section 7
                                       Hourly Hours/
 Ending                 Name                         Minumum Regular    Half-Time Overtime Back
                                        Rate Week
  Date                                                 Wage  Rate Due     Due       Wages Due

 6/25/2017 Eder Tosta                  $10.50   58.82   $   8.44          $    98.79   $     98.79
  7/2/2017 Eder Tosta                  $10.50   54.22   $   8.44          $    74.64   $     74.64
  7/9/2017 Eder Tosta                  $10.50   62.42   $   8.44          $   117.69   $    117.69
 7/16/2017 Eder Tosta                  $10.50   51.67   $   8.44          $    61.25   $     61.25
 7/23/2017 Eder Tosta                  $10.50   52.57   $   8.44          $    65.98   $     65.98
 7/30/2017 Eder Tosta                  $10.50   53.22   $   8.44          $    69.39   $     69.39
  8/6/2017 Eder Tosta                  $10.50   50.60   $   8.44          $    55.65   $     55.65
 8/13/2017 Eder Tosta                  $10.50   57.02   $   8.44          $    89.34   $     89.34
 8/20/2017 Eder Tosta                  $10.50   56.48   $   8.44          $    86.54   $     86.54
 8/27/2017 Eder Tosta                  $10.50   59.30   $   8.44          $   101.33   $    101.33
  9/3/2017 Eder Tosta                  $10.50   55.75   $   8.44          $    82.69   $     82.69
 9/10/2017 Eder Tosta                  $10.50   53.45   $   8.44          $    70.61   $     70.61
 9/17/2017 Eder Tosta                  $10.50   52.13   $   8.44          $    63.70   $     63.70
 9/24/2017 Eder Tosta                  $10.50   49.30   $   8.44          $    48.82   $     48.82
 10/1/2017 Eder Tosta                  $10.50   55.58   $   8.44          $    81.81   $     81.81
 10/8/2017 Eder Tosta                  $10.50   49.12   $   8.44          $    47.86   $     47.86
10/15/2017 Eder Tosta                  $10.50   54.98   $   8.44          $    78.66   $     78.66
10/22/2017 Eder Tosta                  $10.50   55.82   $   8.44          $    83.04   $     83.04
10/29/2017 Eder Tosta                  $10.50   48.55   $   8.44          $    44.89   $     44.89
 11/5/2017 Eder Tosta                  $10.50   53.18   $   8.44          $    69.21   $     69.21
11/12/2017 Eder Tosta                  $10.50   46.30   $   8.44          $    33.08   $     33.08
11/19/2017 Eder Tosta                  $10.50   52.20   $   8.44          $    64.05   $     64.05
11/26/2017 Eder Tosta                  $10.50   45.92   $   8.44          $    31.06   $     31.06
  2/5/2017 Edgar Atz                   $10.50   60.68   $   8.44          $   108.59   $    108.59
 2/12/2017 Edgar Atz                   $10.50   59.65   $   8.44          $   103.16   $    103.16
 2/19/2017 Edgar Atz                   $10.50   73.05   $   8.44          $   173.51   $    173.51
 2/26/2017 Edgar Atz                   $10.50   69.40   $   8.44          $   154.35   $    154.35
  3/5/2017 Edgar Atz                   $10.50   74.18   $   8.44          $   179.46   $    179.46
 3/12/2017 Edgar Atz                   $10.50   69.95   $   8.44          $   157.24   $    157.24
 3/19/2017 Edgar Atz                   $10.50   60.43   $   8.44          $   107.28   $    107.28
 3/26/2017 Edgar Atz                   $10.50   66.28   $   8.44          $   137.99   $    137.99
  4/2/2017 Edgar Atz                   $10.50   70.22   $   8.44          $   158.64   $    158.64
  4/9/2017 Edgar Atz                   $10.50   67.08   $   8.44          $   142.19   $    142.19
 6/18/2017 Edgar Atz                   $10.50   42.28   $   8.44          $    11.99   $     11.99
 6/25/2017 Edgar Atz                   $10.50   71.05   $   8.44          $   163.01   $    163.01
  7/2/2017 Edgar Atz                   $10.50   69.63   $   8.44          $   155.58   $    155.58
  7/9/2017 Edgar Atz                   $10.50   60.98   $   8.44          $   110.16   $    110.16
 7/16/2017 Edgar Atz                   $10.50   58.72   $   8.44          $    98.26   $     98.26
 7/23/2017 Edgar Atz                   $10.50   54.40   $   8.44          $    75.60   $     75.60
 7/30/2017 Edgar Atz                   $10.50   67.93   $   8.44          $   146.65   $    146.65
  8/6/2017 Edgar Atz                   $10.50   64.33   $   8.44          $   127.75   $    127.75
 8/13/2017 Edgar Atz                   $10.50   56.00   $   8.44          $    84.00   $     84.00
 8/20/2017 Edgar Atz                   $10.50   56.52   $   8.44          $    86.71   $     86.71
 8/27/2017 Edgar Atz                   $10.50   57.52   $   8.44          $    91.96   $     91.96
  9/3/2017 Edgar Atz                   $10.50   67.75   $   8.44          $   145.69   $    145.69
 9/10/2017 Edgar Atz                   $10.50   60.72   $   8.44          $   108.76   $    108.76
 9/17/2017 Edgar Atz                   $10.50   74.63   $   8.44          $   181.83   $    181.83
 9/24/2017 Edgar Atz                   $10.50   64.52   $   8.44          $   128.71   $    128.71
 10/1/2017 Edgar Atz                   $10.50   72.72   $   8.44          $   171.76   $    171.76
 10/8/2017 Edgar Atz                   $10.50   63.97   $   8.44          $   125.83   $    125.83



                                         146
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 148 of 683 PageID: 995
                                        Exhibit 2
                                New Jersey Computations


  Week                                                 State Section 7: Section 7: Total Section 7
                                       Hourly Hours/
 Ending                Name                          Minumum Regular    Half-Time Overtime Back
                                        Rate Week
  Date                                                 Wage  Rate Due     Due       Wages Due

10/15/2017 Edgar Atz                   $10.50   75.03   $   8.44          $   183.93   $    183.93
10/22/2017 Edgar Atz                   $10.50   66.92   $   8.44          $   141.31   $    141.31
10/29/2017 Edgar Atz                   $10.50   74.08   $   8.44          $   178.94   $    178.94
 11/5/2017 Edgar Atz                   $10.50   65.95   $   8.44          $   136.24   $    136.24
11/12/2017 Edgar Atz                   $10.50   75.78   $   8.44          $   187.86   $    187.86
11/19/2017 Edgar Atz                   $10.50   66.72   $   8.44          $   140.26   $    140.26
11/26/2017 Edgar Atz                   $10.50   62.12   $   8.44          $   116.11   $    116.11
 12/3/2017 Edgar Atz                   $10.50   65.93   $   8.44          $   136.15   $    136.15
12/10/2017 Edgar Atz                   $10.50   63.85   $   8.44          $   125.21   $    125.21
12/17/2017 Edgar Atz                   $10.50   66.63   $   8.44          $   139.83   $    139.83
12/24/2017 Edgar Atz                   $10.50   69.08   $   8.44          $   152.69   $    152.69
12/31/2017 Edgar Atz                   $10.50   55.57   $   8.44          $    81.73   $     81.73
  1/7/2018 Edgar Atz                   $10.50   57.43   $   8.60          $    91.53   $     91.53
 1/14/2018 Edgar Atz                   $10.50   67.38   $   8.60          $   143.76   $    143.76
 1/21/2018 Edgar Atz                   $10.50   73.93   $   8.60          $   178.15   $    178.15
 1/28/2018 Edgar Atz                   $10.50   66.25   $   8.60          $   137.81   $    137.81
  2/4/2018 Edgar Atz                   $10.50   74.28   $   8.60          $   179.99   $    179.99
 2/11/2018 Edgar Atz                   $10.50   67.73   $   8.60          $   145.60   $    145.60
 2/18/2018 Edgar Atz                   $10.50   74.50   $   8.60          $   181.13   $    181.13
 2/25/2018 Edgar Atz                   $10.50   66.35   $   8.60          $   138.34   $    138.34
  3/4/2018 Edgar Atz                   $10.50   73.22   $   8.60          $   174.39   $    174.39
  4/1/2018 Edgar Atz                   $10.50   44.82   $   8.60          $    25.29   $     25.29
  4/8/2018 Edgar Atz                   $10.50   66.43   $   8.60          $   138.78   $    138.78
 4/15/2018 Edgar Atz                   $10.50   75.60   $   8.60          $   186.90   $    186.90
 4/22/2018 Edgar Atz                   $10.50   67.97   $   8.60          $   146.83   $    146.83
 4/29/2018 Edgar Atz                   $10.50   71.08   $   8.60          $   163.19   $    163.19
  5/6/2018 Edgar Atz                   $10.50   57.07   $   8.60          $    89.60   $     89.60
 5/13/2018 Edgar Atz                   $10.50   63.27   $   8.60          $   122.15   $    122.15
 5/20/2018 Edgar Atz                   $10.50   68.10   $   8.60          $   147.53   $    147.53
 5/27/2018 Edgar Atz                   $10.50   75.85   $   8.60          $   188.21   $    188.21
  6/3/2018 Edgar Atz                   $10.50   60.97   $   8.60          $   110.08   $    110.08
 6/10/2018 Edgar Atz                   $10.50   75.72   $   8.60          $   187.51   $    187.51
 6/17/2018 Edgar Atz                   $10.50   66.05   $   8.60          $   136.76   $    136.76
 6/24/2018 Edgar Atz                   $10.50   75.25   $   8.60          $   185.06   $    185.06
  7/1/2018 Edgar Atz                   $10.50   68.12   $   8.60          $   147.61   $    147.61
  7/8/2018 Edgar Atz                   $10.50   61.73   $   8.60          $   114.10   $    114.10
 7/15/2018 Edgar Atz                   $10.50   66.83   $   8.60          $   140.88   $    140.88
 7/22/2018 Edgar Atz                   $10.50   79.33   $   8.60          $   206.50   $    206.50
 7/29/2018 Edgar Atz                   $10.50   68.03   $   8.60          $   147.18   $    147.18
  8/5/2018 Edgar Atz                   $10.50   75.88   $   8.60          $   188.39   $    188.39
 8/12/2018 Edgar Atz                   $10.50   68.70   $   8.60          $   150.68   $    150.68
 8/19/2018 Edgar Atz                   $10.50   63.75   $   8.60          $   124.69   $    124.69
 8/26/2018 Edgar Atz                   $10.50   68.90   $   8.60          $   151.73   $    151.73
  9/2/2018 Edgar Atz                   $10.50   74.40   $   8.60          $   180.60   $    180.60
  9/9/2018 Edgar Atz                   $10.50   59.93   $   8.60          $   104.65   $    104.65
 9/16/2018 Edgar Atz                   $10.50   75.07   $   8.60          $   184.10   $    184.10
 9/23/2018 Edgar Atz                   $10.50   65.43   $   8.60          $   133.53   $    133.53
 9/30/2018 Edgar Atz                   $10.50   75.17   $   8.60          $   184.63   $    184.63
 10/7/2018 Edgar Atz                   $10.50   67.20   $   8.60          $   142.80   $    142.80
10/14/2018 Edgar Atz                   $10.50   75.13   $   8.60          $   184.45   $    184.45



                                         147
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 149 of 683 PageID: 996
                                              Exhibit 2
                                      New Jersey Computations


  Week                                                       State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
 Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
  Date                                                       Wage  Rate Due     Due       Wages Due

10/21/2018 Edgar Atz                         $10.50   66.05   $    8.60         $   136.76   $    136.76
10/28/2018 Edgar Atz                         $10.50   63.05   $    8.60         $   121.01   $    121.01
 11/4/2018 Edgar Atz                         $10.50   67.82   $    8.60         $   146.04   $    146.04
11/11/2018 Edgar Atz                         $10.50   76.95   $    8.60         $   193.99   $    193.99
11/18/2018 Edgar Atz                         $10.50   65.90   $    8.60         $   135.98   $    135.98
11/25/2018 Edgar Atz                         $10.50   63.57   $    8.60         $   123.73   $    123.73
 12/2/2018 Edgar Atz                         $10.50   67.83   $    8.60         $   146.13   $    146.13
 12/9/2018 Edgar Atz                         $10.50   75.42   $    8.60         $   185.94   $    185.94
12/16/2018 Edgar Atz                         $10.50   67.48   $    8.60         $   144.29   $    144.29
12/23/2018 Edgar Atz                         $10.50   75.38   $    8.60         $   185.76   $    185.76
12/30/2018 Edgar Atz                         $10.50   52.42   $    8.60         $    65.19   $     65.19
  1/6/2019 Edgar Atz                         $10.50   67.38   $    8.85         $   143.76   $    143.76
 1/13/2019 Edgar Atz                         $10.50   67.13   $    8.85         $   142.45   $    142.45
 1/20/2019 Edgar Atz                         $10.50   67.83   $    8.85         $   146.13   $    146.13
 1/27/2019 Edgar Atz                         $10.50   67.72   $    8.85         $   145.51   $    145.51
  2/3/2019 Edgar Atz                         $10.50   64.30   $    8.85         $   127.58   $    127.58
 2/10/2019 Edgar Atz                         $10.50   66.70   $    8.85         $   140.18   $    140.18
 2/17/2019 Edgar Atz                         $10.50   70.95   $    8.85         $   162.49   $    162.49
 2/24/2019 Edgar Atz                         $10.50   67.37   $    8.85         $   143.68   $    143.68
  3/3/2019 Edgar Atz                         $10.50   75.15   $    8.85         $   184.54   $    184.54
 3/10/2019 Edgar Atz                         $10.50   66.13   $    8.85         $   137.20   $    137.20
 3/17/2019 Edgar Atz                         $10.50   74.90   $    8.85         $   183.23   $    183.23
 3/24/2019 Edgar Atz                         $10.50   66.20   $    8.85         $   137.55   $    137.55
 3/31/2019 Edgar Atz                         $10.50   73.88   $    8.85         $   177.89   $    177.89
  4/7/2019 Edgar Atz                         $10.50   65.05   $    8.85         $   131.51   $    131.51
 4/14/2019 Edgar Atz                         $10.50   73.82   $    8.85         $   177.54   $    177.54
 4/21/2019 Edgar Atz                         $10.50   64.88   $    8.85         $   130.64   $    130.64
 4/28/2019 Edgar Atz                         $10.50   73.40   $    8.85         $   175.35   $    175.35
  5/5/2019 Edgar Atz                         $10.50   67.85   $    8.85         $   146.21   $    146.21
 5/12/2019 Edgar Atz                         $10.50   72.32   $    8.85         $   169.66   $    169.66
 5/19/2019 Edgar Atz                         $10.50   67.20   $    8.85         $   142.80   $    142.80
 5/26/2019 Edgar Atz                         $10.50   67.20   $    8.85         $   142.80   $    142.80
  6/2/2019 Edgar Atz                         $10.50   55.33   $    8.85         $    80.50   $     80.50
  6/9/2019 Edgar Atz                         $10.50   72.13   $    8.85         $   168.70   $    168.70
 6/16/2019 Edgar Atz                         $10.50   65.83   $    8.85         $   135.63   $    135.63
 6/23/2019 Edgar Atz                         $10.50   73.65   $    8.85         $   176.66   $    176.66
12/15/2019 Edgar Bartolo Atz Mejia           $11.00   48.03   $   10.00         $    44.18   $     44.18
12/22/2019 Edgar Bartolo Atz Mejia           $11.00   59.45   $   10.00         $   106.98   $    106.98
12/29/2019 Edgar Bartolo Atz Mejia           $11.00   48.70   $   10.00         $    47.85   $     47.85
  1/5/2020 Edgar Bartolo Atz Mejia           $11.00   58.32   $   11.00         $   100.74   $    100.74
 1/12/2020 Edgar Bartolo Atz Mejia           $11.00   55.18   $   11.00         $    83.51   $     83.51
 1/19/2020 Edgar Bartolo Atz Mejia           $11.00   57.48   $   11.00         $    96.16   $     96.16
 1/26/2020 Edgar Bartolo Atz Mejia           $11.00   56.73   $   11.00         $    92.03   $     92.03
 4/14/2019 Edgar Eduardo Coroy                $9.00   62.20   $    8.85         $    99.90   $     99.90
 4/21/2019 Edgar Eduardo Coroy                $9.00   60.62   $    8.85         $    92.78   $     92.78
 4/28/2019 Edgar Eduardo Coroy                $9.00   62.42   $    8.85         $   100.88   $    100.88
  5/5/2019 Edgar Eduardo Coroy                $9.00   57.98   $    8.85         $    80.93   $     80.93
 5/12/2019 Edgar Eduardo Coroy                $9.00   59.05   $    8.85         $    85.73   $     85.73
 5/19/2019 Edgar Eduardo Coroy                $9.00   60.92   $    8.85         $    94.13   $     94.13
 5/26/2019 Edgar Eduardo Coroy                $9.50   59.62   $    8.85         $    93.18   $     93.18



                                               148
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 150 of 683 PageID: 997
                                               Exhibit 2
                                       New Jersey Computations


  Week                                                        State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
 Ending                       Name                          Minumum Regular    Half-Time Overtime Back
                                               Rate Week
  Date                                                        Wage  Rate Due     Due       Wages Due

  6/2/2019 Edgar Eduardo Coroy                 $9.50   58.92   $    8.85               $    89.85   $    89.85
  6/9/2019 Edgar Eduardo Coroy                 $9.50   59.57   $    8.85               $    92.94   $    92.94
 6/16/2019 Edgar Eduardo Coroy                 $9.50   61.17   $    8.85               $   100.54   $   100.54
 6/23/2019 Edgar Eduardo Coroy                 $9.50   59.30   $    8.85               $    91.68   $    91.68
 6/30/2019 Edgar Eduardo Coroy                 $9.50   59.05   $   10.00   $   29.53   $    95.25   $   124.78
  7/7/2019 Edgar Eduardo Coroy                 $9.50   55.13   $   10.00   $   27.57   $    75.67   $   103.23
 7/14/2019 Edgar Eduardo Coroy                 $9.50   60.27   $   10.00   $   30.13   $   101.33   $   131.47
 7/21/2019 Edgar Eduardo Coroy                 $9.50   60.37   $   10.00   $   30.18   $   101.83   $   132.02
 7/28/2019 Edgar Eduardo Coroy                 $9.50   62.77   $   10.00   $   31.38   $   113.83   $   145.22
  8/4/2019 Edgar Eduardo Coroy                 $9.50   62.65   $   10.00   $   31.33   $   113.25   $   144.58
 8/11/2019 Edgar Eduardo Coroy                 $9.50   60.08   $   10.00   $   30.04   $   100.42   $   130.46
 8/18/2019 Edgar Eduardo Coroy                 $9.50   60.48   $   10.00   $   30.24   $   102.42   $   132.66
 8/25/2019 Edgar Eduardo Coroy                 $9.50   60.08   $   10.00   $   30.04   $   100.42   $   130.46
  9/1/2019 Edgar Eduardo Coroy                 $9.50   59.87   $   10.00   $   29.93   $    99.33   $   129.27
  9/8/2019 Edgar Eduardo Coroy                 $9.50   57.90   $   10.00   $   28.95   $    89.50   $   118.45
 9/15/2019 Edgar Eduardo Coroy                 $9.50   60.18   $   10.00   $   30.09   $   100.92   $   131.01
 9/22/2019 Edgar Eduardo Coroy                 $9.50   60.10   $   10.00   $   30.05   $   100.50   $   130.55
 9/29/2019 Edgar Eduardo Coroy                 $9.50   60.33   $   10.00   $   30.17   $   101.67   $   131.83
 10/6/2019 Edgar Eduardo Coroy                 $9.50   59.90   $   10.00   $   29.95   $    99.50   $   129.45
10/13/2019 Edgar Eduardo Coroy                 $9.50   59.92   $   10.00   $   29.96   $    99.58   $   129.54
10/20/2019 Edgar Eduardo Coroy                 $9.50   59.82   $   10.00   $   29.91   $    99.08   $   128.99
10/27/2019 Edgar Eduardo Coroy                 $9.50   59.52   $   10.00   $   29.76   $    97.58   $   127.34
 11/3/2019 Edgar Eduardo Coroy                 $9.50   59.73   $   10.00   $   29.87   $    98.67   $   128.53
11/10/2019 Edgar Eduardo Coroy                 $9.50   59.92   $   10.00   $   29.96   $    99.58   $   129.54
11/17/2019 Edgar Eduardo Coroy                 $9.50   59.90   $   10.00   $   29.95   $    99.50   $   129.45
11/24/2019 Edgar Eduardo Coroy                 $9.50   59.60   $   10.00   $   29.80   $    98.00   $   127.80
 12/1/2019 Edgar Eduardo Coroy                 $9.50   49.97   $   10.00   $   24.98   $    49.83   $    74.82
 12/8/2019 Edgar Eduardo Coroy                 $9.50   57.57   $   10.00   $   28.78   $    87.83   $   116.62
12/15/2019 Edgar Eduardo Coroy                 $9.50   60.53   $   10.00   $   30.27   $   102.67   $   132.93
12/22/2019 Edgar Eduardo Coroy                 $9.50   53.72   $   10.00   $   26.86   $    68.58   $    95.44
12/29/2019 Edgar Eduardo Coroy                 $9.50   45.13   $   10.00   $   22.57   $    25.67   $    48.23
  1/5/2020 Edgar Eduardo Coroy                 $9.50   49.73   $   11.00   $   74.60   $    53.53   $   128.13
 1/12/2020 Edgar Eduardo Coroy                 $9.50   60.40   $   11.00   $   90.60   $   112.20   $   202.80
 1/19/2020 Edgar Eduardo Coroy                 $9.50   60.13   $   11.00   $   90.20   $   110.73   $   200.93
 1/26/2020 Edgar Eduardo Coroy                 $9.50   60.03   $   11.00   $   90.05   $   110.18   $   200.23
 8/18/2019 Edgar Zuniga - Car Washer          $12.50   58.43   $   10.00               $   115.21   $   115.21
 8/25/2019 Edgar Zuniga - Car Washer          $12.50   55.90   $   10.00               $    99.38   $    99.38
  9/1/2019 Edgar Zuniga - Car Washer          $12.50   57.92   $   10.00               $   111.98   $   111.98
  9/8/2019 Edgar Zuniga - Car Washer          $12.50   47.78   $   10.00               $    48.65   $    48.65
 9/15/2019 Edgar Zuniga - Car Washer          $12.50   58.17   $   10.00               $   113.54   $   113.54
 9/22/2019 Edgar Zuniga - Car Washer          $12.50   59.33   $   10.00               $   120.83   $   120.83
 9/29/2019 Edgar Zuniga - Car Washer          $12.50   48.12   $   10.00               $    50.73   $    50.73
 10/6/2019 Edgar Zuniga - Car Washer          $12.50   47.77   $   10.00               $    48.54   $    48.54
10/13/2019 Edgar Zuniga - Car Washer          $12.50   57.73   $   10.00               $   110.83   $   110.83
10/20/2019 Edgar Zuniga - Car Washer          $12.50   56.62   $   10.00               $   103.85   $   103.85
10/27/2019 Edgar Zuniga - Car Washer          $12.50   47.67   $   10.00               $    47.92   $    47.92
 11/3/2019 Edgar Zuniga - Car Washer          $12.50   56.35   $   10.00               $   102.19   $   102.19
11/10/2019 Edgar Zuniga - Car Washer          $12.50   56.85   $   10.00               $   105.31   $   105.31
 12/8/2019 Edgar Zuniga - Car Washer          $12.50   47.00   $   10.00               $    43.75   $    43.75
12/15/2019 Edgar Zuniga - Car Washer          $12.50   48.78   $   10.00               $    54.90   $    54.90



                                                149
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 151 of 683 PageID: 998
                                               Exhibit 2
                                       New Jersey Computations


  Week                                                        State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
 Ending                       Name                          Minumum Regular    Half-Time Overtime Back
                                               Rate Week
  Date                                                        Wage  Rate Due     Due       Wages Due

12/22/2019 Edgar Zuniga - Car Washer          $12.50   58.92   $   10.00               $   118.23   $   118.23
12/29/2019 Edgar Zuniga - Car Washer          $12.50   44.63   $   10.00               $    28.96   $    28.96
  1/5/2020 Edgar Zuniga - Car Washer          $12.50   48.08   $   11.00               $    50.52   $    50.52
 1/12/2020 Edgar Zuniga - Car Washer          $12.50   58.98   $   11.00               $   118.65   $   118.65
 1/19/2020 Edgar Zuniga - Car Washer          $12.50   58.97   $   11.00               $   118.54   $   118.54
 1/26/2020 Edgar Zuniga - Car Washer          $12.50   48.60   $   11.00               $    53.75   $    53.75
 10/6/2019 Edgardo Bordonada                  $10.00   47.65   $   10.00               $    38.25   $    38.25
10/13/2019 Edgardo Bordonada                  $10.00   61.35   $   10.00               $   106.75   $   106.75
10/20/2019 Edgardo Bordonada                  $10.00   60.97   $   10.00               $   104.83   $   104.83
10/27/2019 Edgardo Bordonada                  $10.00   51.57   $   10.00               $    57.83   $    57.83
 11/3/2019 Edgardo Bordonada                  $10.00   45.25   $   10.00               $    26.25   $    26.25
11/17/2019 Edgardo Bordonada                  $10.00   49.28   $   10.00               $    46.42   $    46.42
11/24/2019 Edgardo Bordonada                  $10.00   49.73   $   10.00               $    48.67   $    48.67
 12/1/2019 Edgardo Bordonada                  $10.00   45.65   $   10.00               $    28.25   $    28.25
 12/8/2019 Edgardo Bordonada                  $10.00   60.83   $   10.00               $   104.17   $   104.17
12/15/2019 Edgardo Bordonada                  $10.00   56.67   $   10.00               $    83.33   $    83.33
12/29/2019 Edgardo Bordonada                  $10.00   46.42   $   10.00               $    32.08   $    32.08
 1/12/2020 Edgardo Bordonada                  $10.00   45.80   $   11.00   $   45.80   $    31.90   $    77.70
 1/19/2020 Edgardo Bordonada                  $10.00   43.18   $   11.00   $   43.18   $    17.51   $    60.69
 9/15/2019 Edgardo Damian Levia                $9.00   60.15   $   10.00   $   60.15   $   100.75   $   160.90
 9/22/2019 Edgardo Damian Levia                $9.00   75.57   $   10.00   $   75.57   $   177.83   $   253.40
 9/29/2019 Edgardo Damian Levia                $9.00   69.70   $   10.00   $   69.70   $   148.50   $   218.20
 10/6/2019 Edgardo Damian Levia                $9.00   73.78   $   10.00   $   73.78   $   168.92   $   242.70
10/20/2019 Edgardo Damian Levia                $9.00   73.55   $   10.00   $   73.55   $   167.75   $   241.30
10/27/2019 Edgardo Damian Levia                $9.00   74.88   $   10.00   $   74.88   $   174.42   $   249.30
 11/3/2019 Edgardo Damian Levia                $9.00   76.55   $   10.00   $   76.55   $   182.75   $   259.30
11/10/2019 Edgardo Damian Levia                $9.00   72.88   $   10.00   $   72.88   $   164.42   $   237.30
11/17/2019 Edgardo Damian Levia                $9.00   72.33   $   10.00   $   72.33   $   161.67   $   234.00
11/24/2019 Edgardo Damian Levia                $9.00   76.02   $   10.00   $   76.02   $   180.08   $   256.10
 12/1/2019 Edgardo Damian Levia                $9.00   62.10   $   10.00   $   62.10   $   110.50   $   172.60
 12/8/2019 Edgardo Damian Levia                $9.00   47.63   $   10.00   $   47.63   $    38.17   $    85.80
12/15/2019 Edgardo Damian Levia                $9.00   72.08   $   10.00   $   72.08   $   160.42   $   232.50
12/22/2019 Edgardo Damian Levia                $9.00   75.20   $   10.00   $   75.20   $   176.00   $   251.20
12/29/2019 Edgardo Damian Levia                $9.00   57.92   $   10.00   $   57.92   $    89.58   $   147.50
  1/5/2020 Edgardo Damian Levia               $10.50   68.53   $   11.00   $   34.27   $   156.93   $   191.20
 1/12/2020 Edgardo Damian Levia               $10.50   68.03   $   11.00   $   34.02   $   154.18   $   188.20
 1/19/2020 Edgardo Damian Levia               $10.50   70.05   $   11.00   $   35.03   $   165.28   $   200.30
 1/26/2020 Edgardo Damian Levia               $10.50   73.08   $   11.00   $   36.54   $   181.96   $   218.50
 4/30/2017 Edgardo Espinoza                   $10.00   60.40   $    8.44               $   102.00   $   102.00
  5/7/2017 Edgardo Espinoza                   $10.00   50.52   $    8.44               $    52.58   $    52.58
 5/14/2017 Edgardo Espinoza                   $10.00   57.02   $    8.44               $    85.08   $    85.08
  2/5/2017 Eduardo Duverge                    $12.00   60.20   $    8.44               $   121.20   $   121.20
 2/12/2017 Eduardo Duverge                    $12.00   42.53   $    8.44               $    15.20   $    15.20
 2/19/2017 Eduardo Duverge                    $12.00   59.48   $    8.44               $   116.90   $   116.90
 2/26/2017 Eduardo Duverge                    $12.00   62.63   $    8.44               $   135.80   $   135.80
  3/5/2017 Eduardo Duverge                    $12.00   50.97   $    8.44               $    65.80   $    65.80
 3/12/2017 Eduardo Duverge                    $12.00   61.68   $    8.44               $   130.10   $   130.10
 3/19/2017 Eduardo Duverge                    $12.00   46.97   $    8.44               $    41.80   $    41.80
 3/26/2017 Eduardo Duverge                    $12.00   61.45   $    8.44               $   128.70   $   128.70
  4/2/2017 Eduardo Duverge                    $12.00   63.17   $    8.44               $   139.00   $   139.00



                                                150
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 152 of 683 PageID: 999
                                            Exhibit 2
                                    New Jersey Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
  Date                                                     Wage  Rate Due     Due       Wages Due

  4/9/2017 Eduardo Duverge                 $12.00   58.57   $   8.44          $   111.40   $    111.40
 4/16/2017 Eduardo Duverge                 $12.00   58.97   $   8.44          $   113.80   $    113.80
 4/23/2017 Eduardo Duverge                 $12.00   56.73   $   8.44          $   100.40   $    100.40
 4/30/2017 Eduardo Duverge                 $12.00   62.75   $   8.44          $   136.50   $    136.50
  5/7/2017 Eduardo Duverge                 $12.00   55.03   $   8.44          $    90.20   $     90.20
 5/14/2017 Eduardo Duverge                 $12.00   47.33   $   8.44          $    44.00   $     44.00
 5/21/2017 Eduardo Duverge                 $12.00   58.08   $   8.44          $   108.50   $    108.50
 5/28/2017 Eduardo Duverge                 $12.00   57.17   $   8.44          $   103.00   $    103.00
  6/4/2017 Eduardo Duverge                 $12.00   52.62   $   8.44          $    75.70   $     75.70
  8/6/2017 Eduardo Duverge                 $12.00   57.12   $   8.44          $   102.70   $    102.70
 8/13/2017 Eduardo Duverge                 $12.00   50.38   $   8.44          $    62.30   $     62.30
 8/20/2017 Eduardo Duverge                 $12.50   59.63   $   8.44          $   122.71   $    122.71
 8/27/2017 Eduardo Duverge                 $12.50   49.23   $   8.44          $    57.71   $     57.71
 2/19/2017 Eduardo Guzman                  $10.50   51.25   $   8.44          $    59.06   $     59.06
 2/26/2017 Eduardo Guzman                  $10.50   41.15   $   8.44          $     6.04   $      6.04
  3/5/2017 Eduardo Guzman                  $10.50   42.85   $   8.44          $    14.96   $     14.96
 3/12/2017 Eduardo Guzman                  $10.50   43.02   $   8.44          $    15.84   $     15.84
 4/16/2017 Eduardo Guzman                  $10.50   44.70   $   8.44          $    24.68   $     24.68
 4/23/2017 Eduardo Guzman                  $10.50   46.88   $   8.44          $    36.14   $     36.14
  5/7/2017 Eduardo Guzman                  $10.50   40.77   $   8.44          $     4.03   $      4.03
 5/14/2017 Eduardo Guzman                  $10.50   62.22   $   8.44          $   116.64   $    116.64
  6/4/2017 Eduardo Guzman                  $10.50   60.82   $   8.44          $   109.29   $    109.29
 6/11/2017 Eduardo Guzman                  $10.50   60.52   $   8.44          $   107.71   $    107.71
 6/18/2017 Eduardo Guzman                  $10.50   55.30   $   8.44          $    80.33   $     80.33
 6/25/2017 Eduardo Guzman                  $10.50   58.73   $   8.44          $    98.35   $     98.35
  7/2/2017 Eduardo Guzman                  $10.50   59.42   $   8.44          $   101.94   $    101.94
  7/9/2017 Eduardo Guzman                  $10.50   57.98   $   8.44          $    94.41   $     94.41
 7/16/2017 Eduardo Guzman                  $10.50   58.53   $   8.44          $    97.30   $     97.30
 7/23/2017 Eduardo Guzman                  $10.50   59.43   $   8.44          $   102.03   $    102.03
 7/30/2017 Eduardo Guzman                  $10.50   52.53   $   8.44          $    65.80   $     65.80
 8/13/2017 Eduardo Guzman                  $11.50   59.63   $   8.44          $   112.89   $    112.89
 8/20/2017 Eduardo Guzman                  $11.50   60.13   $   8.44          $   115.77   $    115.77
 8/27/2017 Eduardo Guzman                  $11.50   59.52   $   8.44          $   112.22   $    112.22
  9/3/2017 Eduardo Guzman                  $11.50   59.78   $   8.44          $   113.75   $    113.75
 9/10/2017 Eduardo Guzman                  $11.50   56.98   $   8.44          $    97.65   $     97.65
 9/17/2017 Eduardo Guzman                  $11.50   61.12   $   8.44          $   121.42   $    121.42
 9/24/2017 Eduardo Guzman                  $11.50   59.55   $   8.44          $   112.41   $    112.41
 10/1/2017 Eduardo Guzman                  $11.50   57.97   $   8.44          $   103.31   $    103.31
 10/8/2017 Eduardo Guzman                  $11.50   57.95   $   8.44          $   103.21   $    103.21
10/15/2017 Eduardo Guzman                  $11.50   55.65   $   8.44          $    89.99   $     89.99
10/22/2017 Eduardo Guzman                  $11.50   61.42   $   8.44          $   123.15   $    123.15
10/29/2017 Eduardo Guzman                  $11.50   44.62   $   8.44          $    26.55   $     26.55
 11/5/2017 Eduardo Guzman                  $11.50   56.53   $   8.44          $    95.07   $     95.07
11/12/2017 Eduardo Guzman                  $11.50   54.50   $   8.44          $    83.38   $     83.38
11/19/2017 Eduardo Guzman                  $11.50   57.55   $   8.44          $   100.91   $    100.91
11/26/2017 Eduardo Guzman                  $11.50   46.98   $   8.44          $    40.15   $     40.15
 12/3/2017 Eduardo Guzman                  $11.50   54.62   $   8.44          $    84.05   $     84.05
12/10/2017 Eduardo Guzman                  $11.50   60.32   $   8.44          $   116.82   $    116.82
12/17/2017 Eduardo Guzman                  $11.50   49.12   $   8.44          $    52.42   $     52.42
12/24/2017 Eduardo Guzman                  $11.50   57.92   $   8.44          $   103.02   $    103.02



                                             151
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 153 of 683 PageID: 1000
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

 12/31/2017 Eduardo Guzman                    $11.50   46.17   $   8.44          $    35.46   $     35.46
   1/7/2018 Eduardo Guzman                    $11.50   54.50   $   8.60          $    83.38   $     83.38
  1/14/2018 Eduardo Guzman                    $11.50   48.82   $   8.60          $    50.70   $     50.70
  1/21/2018 Eduardo Guzman                    $11.50   43.17   $   8.60          $    18.21   $     18.21
  1/28/2018 Eduardo Guzman                    $11.50   60.02   $   8.60          $   115.10   $    115.10
   2/4/2018 Eduardo Guzman                    $11.50   58.22   $   8.60          $   104.75   $    104.75
  3/12/2017 Eduardo Hernandez                 $10.50   49.53   $   8.44          $    50.05   $     50.05
   4/2/2017 Eduardo Hernandez                 $10.50   43.57   $   8.44          $    18.73   $     18.73
  4/23/2017 Eduardo Hernandez                 $10.50   52.48   $   8.44          $    65.54   $     65.54
  4/30/2017 Eduardo Hernandez                 $10.50   47.27   $   8.44          $    38.15   $     38.15
   5/7/2017 Eduardo Hernandez                 $10.50   55.12   $   8.44          $    79.36   $     79.36
  5/14/2017 Eduardo Hernandez                 $10.50   49.05   $   8.44          $    47.51   $     47.51
  5/21/2017 Eduardo Hernandez                 $10.50   55.05   $   8.44          $    79.01   $     79.01
  5/28/2017 Eduardo Hernandez                 $10.50   56.42   $   8.44          $    86.19   $     86.19
   6/4/2017 Eduardo Hernandez                 $10.50   51.55   $   8.44          $    60.64   $     60.64
  6/11/2017 Eduardo Hernandez                 $10.50   53.08   $   8.44          $    68.69   $     68.69
  6/18/2017 Eduardo Hernandez                 $10.50   53.88   $   8.44          $    72.89   $     72.89
  6/25/2017 Eduardo Hernandez                 $10.50   58.40   $   8.44          $    96.60   $     96.60
   7/2/2017 Eduardo Hernandez                 $10.50   51.27   $   8.44          $    59.15   $     59.15
   7/9/2017 Eduardo Hernandez                 $10.50   49.87   $   8.44          $    51.80   $     51.80
  7/16/2017 Eduardo Hernandez                 $10.50   57.47   $   8.44          $    91.70   $     91.70
  7/23/2017 Eduardo Hernandez                 $10.50   45.02   $   8.44          $    26.34   $     26.34
  7/30/2017 Eduardo Hernandez                 $10.50   46.33   $   8.44          $    33.25   $     33.25
   8/6/2017 Eduardo Hernandez                 $10.50   53.37   $   8.44          $    70.18   $     70.18
  8/27/2017 Eduardo Hernandez                 $10.50   44.98   $   8.44          $    26.16   $     26.16
  9/10/2017 Eduardo Hernandez                 $10.50   53.80   $   8.44          $    72.45   $     72.45
  10/1/2017 Eduardo Hernandez                 $10.50   50.82   $   8.44          $    56.79   $     56.79
 10/15/2017 Eduardo Hernandez                 $10.50   41.70   $   8.44          $     8.92   $      8.92
 10/22/2017 Eduardo Hernandez                 $10.50   50.42   $   8.44          $    54.69   $     54.69
 10/29/2017 Eduardo Hernandez                 $10.50   40.88   $   8.44          $     4.64   $      4.64
   2/5/2017 Eduardo Marin                     $10.00   71.93   $   8.44          $   159.67   $    159.67
  2/12/2017 Eduardo Marin                     $10.00   71.98   $   8.44          $   159.92   $    159.92
  2/19/2017 Eduardo Marin                     $10.00   69.22   $   8.44          $   146.08   $    146.08
  2/26/2017 Eduardo Marin                     $10.00   74.33   $   8.44          $   171.67   $    171.67
   3/5/2017 Eduardo Marin                     $10.00   71.75   $   8.44          $   158.75   $    158.75
  3/12/2017 Eduardo Marin                     $10.00   76.57   $   8.44          $   182.83   $    182.83
  3/19/2017 Eduardo Marin                     $10.00   52.88   $   8.44          $    64.42   $     64.42
  3/26/2017 Eduardo Marin                     $10.00   59.43   $   8.44          $    97.17   $     97.17
   4/2/2017 Eduardo Marin                     $10.00   63.68   $   8.44          $   118.42   $    118.42
   4/9/2017 Eduardo Marin                     $10.00   60.55   $   8.44          $   102.75   $    102.75
  4/16/2017 Eduardo Marin                     $10.00   62.55   $   8.44          $   112.75   $    112.75
  4/23/2017 Eduardo Marin                     $10.00   59.40   $   8.44          $    97.00   $     97.00
  4/30/2017 Eduardo Marin                     $10.00   60.52   $   8.44          $   102.58   $    102.58
   5/7/2017 Eduardo Marin                     $10.00   66.98   $   8.44          $   134.92   $    134.92
  5/14/2017 Eduardo Marin                     $10.00   67.62   $   8.44          $   138.08   $    138.08
  5/21/2017 Eduardo Marin                     $10.00   66.10   $   8.44          $   130.50   $    130.50
  5/28/2017 Eduardo Marin                     $10.00   66.37   $   8.44          $   131.83   $    131.83
   6/4/2017 Eduardo Marin                     $10.00   65.15   $   8.44          $   125.75   $    125.75
  6/11/2017 Eduardo Marin                     $10.00   66.37   $   8.44          $   131.83   $    131.83
  6/18/2017 Eduardo Marin                     $10.00   68.57   $   8.44          $   142.83   $    142.83



                                                152
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 154 of 683 PageID: 1001
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                      Name                            Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

  6/25/2017 Eduardo Marin                       $10.00   69.15   $    8.44               $   145.75   $   145.75
   7/2/2017 Eduardo Marin                       $10.00   66.58   $    8.44               $   132.92   $   132.92
   7/9/2017 Eduardo Marin                       $10.00   62.72   $    8.44               $   113.58   $   113.58
  7/16/2017 Eduardo Marin                       $10.00   72.55   $    8.44               $   162.75   $   162.75
  7/23/2017 Eduardo Marin                       $10.00   70.50   $    8.44               $   152.50   $   152.50
  7/30/2017 Eduardo Marin                       $10.00   67.30   $    8.44               $   136.50   $   136.50
 12/23/2018 Eduardo Marin                        $8.60   51.35   $    8.60               $    48.81   $    48.81
 12/30/2018 Eduardo Marin                        $8.60   45.65   $    8.60               $    24.30   $    24.30
 11/10/2019 Edward Orlando Colon Lopez          $10.00   61.40   $   10.00               $   107.00   $   107.00
 11/17/2019 Edward Orlando Colon Lopez          $10.00   52.42   $   10.00               $    62.08   $    62.08
 11/24/2019 Edward Orlando Colon Lopez          $10.00   50.38   $   10.00               $    51.92   $    51.92
  12/1/2019 Edward Orlando Colon Lopez          $10.00   54.08   $   10.00               $    70.42   $    70.42
  12/8/2019 Edward Orlando Colon Lopez          $10.00   67.98   $   10.00               $   139.92   $   139.92
 12/15/2019 Edward Orlando Colon Lopez          $10.00   56.82   $   10.00               $    84.08   $    84.08
  3/25/2018 Edwin Alfonso Ocamp                 $10.00   54.30   $    8.60               $    71.50   $    71.50
  8/18/2019 Edwin Clemente                      $10.00   59.18   $   10.00               $    95.92   $    95.92
  5/27/2018 Edwin De La Rosa                    $10.00   61.90   $    8.60               $   109.50   $   109.50
 12/30/2018 Edwin De La Rosa                    $10.00   45.58   $    8.60               $    27.92   $    27.92
  5/14/2017 Edwin Estuardo Cusanero              $8.50   60.15   $    8.44               $    85.64   $    85.64
  5/21/2017 Edwin Estuardo Cusanero              $8.50   61.57   $    8.44               $    91.66   $    91.66
  5/28/2017 Edwin Estuardo Cusanero              $8.50   60.28   $    8.44               $    86.20   $    86.20
   6/4/2017 Edwin Estuardo Cusanero              $8.50   62.37   $    8.44               $    95.06   $    95.06
  6/11/2017 Edwin Estuardo Cusanero              $8.50   63.12   $    8.44               $    98.25   $    98.25
  6/18/2017 Edwin Estuardo Cusanero              $8.50   71.85   $    8.44               $   135.36   $   135.36
  6/16/2019 Edwin Gonzalez                      $10.00   71.22   $    8.85               $   156.08   $   156.08
  6/23/2019 Edwin Gonzalez                      $10.00   46.58   $    8.85               $    32.92   $    32.92
  6/30/2019 Edwin Gonzalez                      $10.00   71.25   $   10.00               $   156.25   $   156.25
   7/7/2019 Edwin Gonzalez                      $10.00   55.03   $   10.00               $    75.17   $    75.17
  7/14/2019 Edwin Gonzalez                      $10.00   63.33   $   10.00               $   116.67   $   116.67
  7/28/2019 Edwin Gonzalez                      $10.00   48.80   $   10.00               $    44.00   $    44.00
   8/4/2019 Edwin Gonzalez                      $10.00   44.78   $   10.00               $    23.92   $    23.92
  9/15/2019 Edwin Gonzalez                      $10.00   46.40   $   10.00               $    32.00   $    32.00
  9/29/2019 Edwin Gonzalez                      $10.00   69.07   $   10.00               $   145.33   $   145.33
  10/6/2019 Edwin Gonzalez                      $10.00   68.98   $   10.00               $   144.92   $   144.92
 10/13/2019 Edwin Gonzalez                      $10.00   73.17   $   10.00               $   165.83   $   165.83
 10/20/2019 Edwin Gonzalez                      $10.00   57.07   $   10.00               $    85.33   $    85.33
 10/27/2019 Edwin Gonzalez                      $10.00   75.35   $   10.00               $   176.75   $   176.75
  11/3/2019 Edwin Gonzalez                      $10.00   65.55   $   10.00               $   127.75   $   127.75
 11/10/2019 Edwin Gonzalez                      $10.00   58.02   $   10.00               $    90.08   $    90.08
 11/17/2019 Edwin Gonzalez                      $10.00   63.48   $   10.00               $   117.42   $   117.42
 11/24/2019 Edwin Gonzalez                      $10.00   69.68   $   10.00               $   148.42   $   148.42
  12/1/2019 Edwin Gonzalez                      $10.00   59.30   $   10.00               $    96.50   $    96.50
  12/8/2019 Edwin Gonzalez                      $10.00   69.52   $   10.00               $   147.58   $   147.58
 12/15/2019 Edwin Gonzalez                      $10.00   69.22   $   10.00               $   146.08   $   146.08
 12/22/2019 Edwin Gonzalez                      $10.00   68.02   $   10.00               $   140.08   $   140.08
 12/29/2019 Edwin Gonzalez                      $10.00   54.18   $   10.00               $    70.92   $    70.92
   1/5/2020 Edwin Gonzalez                      $10.00   53.27   $   11.00   $   53.27   $    72.97   $   126.23
  1/12/2020 Edwin Gonzalez                      $10.00   59.70   $   11.00   $   59.70   $   108.35   $   168.05
  1/19/2020 Edwin Gonzalez                      $10.00   64.47   $   11.00   $   64.47   $   134.57   $   199.03
  1/26/2020 Edwin Gonzalez                      $10.00   50.18   $   11.00   $   50.18   $    56.01   $   106.19



                                                  153
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 155 of 683 PageID: 1002
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                       Name                         Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

   9/2/2018 Edwin Ore                         $11.50   48.82   $    8.60         $    50.70   $     50.70
  11/4/2018 Edwin Ore                         $11.50   41.47   $    8.60         $     8.43   $      8.43
  12/2/2018 Edwin Ore                         $11.50   41.18   $    8.60         $     6.80   $      6.80
  5/19/2019 Edwin Orlando Peraza              $10.00   59.60   $    8.85         $    98.00   $     98.00
  5/26/2019 Edwin Orlando Peraza              $10.00   74.43   $    8.85         $   172.17   $    172.17
   6/2/2019 Edwin Orlando Peraza              $10.00   74.85   $    8.85         $   174.25   $    174.25
   6/9/2019 Edwin Orlando Peraza              $10.00   73.98   $    8.85         $   169.92   $    169.92
  6/16/2019 Edwin Orlando Peraza              $10.00   72.78   $    8.85         $   163.92   $    163.92
  6/23/2019 Edwin Orlando Peraza              $10.00   75.05   $    8.85         $   175.25   $    175.25
  6/30/2019 Edwin Orlando Peraza              $10.00   75.42   $   10.00         $   177.08   $    177.08
   7/7/2019 Edwin Orlando Peraza              $10.00   73.95   $   10.00         $   169.75   $    169.75
  7/14/2019 Edwin Orlando Peraza              $10.00   76.25   $   10.00         $   181.25   $    181.25
  7/21/2019 Edwin Orlando Peraza              $10.00   74.80   $   10.00         $   174.00   $    174.00
  7/28/2019 Edwin Orlando Peraza              $10.00   75.12   $   10.00         $   175.58   $    175.58
   8/4/2019 Edwin Orlando Peraza              $10.00   77.47   $   10.00         $   187.33   $    187.33
  8/11/2019 Edwin Orlando Peraza              $10.00   74.70   $   10.00         $   173.50   $    173.50
  8/18/2019 Edwin Orlando Peraza              $10.00   74.68   $   10.00         $   173.42   $    173.42
  8/25/2019 Edwin Orlando Peraza              $10.00   74.42   $   10.00         $   172.08   $    172.08
   9/1/2019 Edwin Orlando Peraza              $10.00   75.30   $   10.00         $   176.50   $    176.50
   9/8/2019 Edwin Orlando Peraza              $10.00   64.63   $   10.00         $   123.17   $    123.17
  9/15/2019 Edwin Orlando Peraza              $10.00   75.32   $   10.00         $   176.58   $    176.58
  9/22/2019 Edwin Orlando Peraza              $10.00   74.05   $   10.00         $   170.25   $    170.25
  9/29/2019 Edwin Orlando Peraza              $10.00   70.18   $   10.00         $   150.92   $    150.92
  10/6/2019 Edwin Orlando Peraza              $10.00   66.18   $   10.00         $   130.92   $    130.92
 10/13/2019 Edwin Orlando Peraza              $10.00   55.30   $   10.00         $    76.50   $     76.50
  8/18/2019 Edwin Rafael Arias Lopez          $10.00   48.38   $   10.00         $    41.92   $     41.92
  8/25/2019 Edwin Rafael Arias Lopez          $10.00   51.42   $   10.00         $    57.08   $     57.08
   9/1/2019 Edwin Rafael Arias Lopez          $10.00   43.30   $   10.00         $    16.50   $     16.50
   9/8/2019 Edwin Rafael Arias Lopez          $10.00   40.50   $   10.00         $     2.50   $      2.50
  9/15/2019 Edwin Rafael Arias Lopez          $10.00   64.37   $   10.00         $   121.83   $    121.83
  9/22/2019 Edwin Rafael Arias Lopez          $10.00   60.70   $   10.00         $   103.50   $    103.50
  9/29/2019 Edwin Rafael Arias Lopez          $10.00   48.95   $   10.00         $    44.75   $     44.75
  10/6/2019 Edwin Rafael Arias Lopez          $10.00   59.42   $   10.00         $    97.08   $     97.08
 10/13/2019 Edwin Rafael Arias Lopez          $10.00   59.67   $   10.00         $    98.33   $     98.33
 10/20/2019 Edwin Rafael Arias Lopez          $10.00   50.62   $   10.00         $    53.08   $     53.08
 10/27/2019 Edwin Rafael Arias Lopez          $10.00   48.50   $   10.00         $    42.50   $     42.50
  11/3/2019 Edwin Rafael Arias Lopez          $10.00   61.13   $   10.00         $   105.67   $    105.67
 11/10/2019 Edwin Rafael Arias Lopez          $10.00   57.28   $   10.00         $    86.42   $     86.42
 11/17/2019 Edwin Rafael Arias Lopez          $10.00   54.32   $   10.00         $    71.58   $     71.58
 11/24/2019 Edwin Rafael Arias Lopez          $10.00   42.78   $   10.00         $    13.92   $     13.92
  9/15/2019 Eladio Mateo                      $11.00   60.13   $   10.00         $   110.73   $    110.73
  9/22/2019 Eladio Mateo                      $11.00   60.68   $   10.00         $   113.76   $    113.76
  9/29/2019 Eladio Mateo                      $11.00   50.02   $   10.00         $    55.09   $     55.09
  10/6/2019 Eladio Mateo                      $11.00   41.03   $   10.00         $     5.68   $      5.68
 10/13/2019 Eladio Mateo                      $11.00   59.97   $   10.00         $   109.82   $    109.82
 10/20/2019 Eladio Mateo                      $11.00   60.88   $   10.00         $   114.86   $    114.86
 10/27/2019 Eladio Mateo                      $11.00   51.08   $   10.00         $    60.96   $     60.96
  11/3/2019 Eladio Mateo                      $11.00   60.37   $   10.00         $   112.02   $    112.02
 11/10/2019 Eladio Mateo                      $11.00   49.78   $   10.00         $    53.81   $     53.81
 11/17/2019 Eladio Mateo                      $11.00   60.65   $   10.00         $   113.58   $    113.58



                                                154
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 156 of 683 PageID: 1003
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

  12/1/2019 Eladio Mateo                   $11.00   54.03   $   10.00         $    77.18   $     77.18
  12/8/2019 Eladio Mateo                   $11.00   60.73   $   10.00         $   114.03   $    114.03
 12/15/2019 Eladio Mateo                   $11.00   59.55   $   10.00         $   107.53   $    107.53
 12/22/2019 Eladio Mateo                   $11.00   59.40   $   10.00         $   106.70   $    106.70
 12/29/2019 Eladio Mateo                   $11.00   52.85   $   10.00         $    70.68   $     70.68
   1/5/2020 Eladio Mateo                   $11.00   52.05   $   11.00         $    66.28   $     66.28
  1/12/2020 Eladio Mateo                   $11.00   61.52   $   11.00         $   118.34   $    118.34
  1/19/2020 Eladio Mateo                   $11.00   61.00   $   11.00         $   115.50   $    115.50
  1/26/2020 Eladio Mateo                   $11.00   62.07   $   11.00         $   121.37   $    121.37
 11/10/2019 Elian Figueroa                 $12.00   46.42   $   10.00         $    38.50   $     38.50
 11/17/2019 Elian Figueroa                 $12.00   50.75   $   10.00         $    64.50   $     64.50
 11/24/2019 Elian Figueroa                 $12.00   50.75   $   10.00         $    64.50   $     64.50
  12/8/2019 Elian Figueroa                 $12.00   49.92   $   10.00         $    59.50   $     59.50
 12/15/2019 Elian Figueroa                 $12.00   58.43   $   10.00         $   110.60   $    110.60
 12/22/2019 Elian Figueroa                 $12.00   58.90   $   10.00         $   113.40   $    113.40
   1/5/2020 Elian Figueroa                 $12.00   48.08   $   11.00         $    48.50   $     48.50
  1/12/2020 Elian Figueroa                 $12.00   58.05   $   11.00         $   108.30   $    108.30
  1/19/2020 Elian Figueroa                 $12.00   58.97   $   11.00         $   113.80   $    113.80
  1/26/2020 Elian Figueroa                 $12.00   58.70   $   11.00         $   112.20   $    112.20
  11/5/2017 Elias Aquino                   $13.00   55.83   $    8.44         $   102.92   $    102.92
 11/12/2017 Elias Aquino                   $13.00   53.02   $    8.44         $    84.61   $     84.61
 11/19/2017 Elias Aquino                   $13.00   55.92   $    8.44         $   103.46   $    103.46
  12/3/2017 Elias Aquino                   $13.00   56.33   $    8.44         $   106.17   $    106.17
  1/14/2018 Elias Aquino                   $10.50   57.55   $    8.60         $    92.14   $     92.14
  1/21/2018 Elias Aquino                   $10.50   60.00   $    8.60         $   105.00   $    105.00
  1/28/2018 Elias Aquino                   $10.50   65.85   $    8.60         $   135.71   $    135.71
   2/4/2018 Elias Aquino                   $13.00   61.23   $    8.60         $   138.02   $    138.02
  2/11/2018 Elias Aquino                   $13.00   58.25   $    8.60         $   118.63   $    118.63
  2/18/2018 Elias Aquino                   $13.00   53.60   $    8.60         $    88.40   $     88.40
  2/25/2018 Elias Aquino                   $13.00   50.30   $    8.60         $    66.95   $     66.95
   3/4/2018 Elias Aquino                   $13.00   58.28   $    8.60         $   118.84   $    118.84
  3/25/2018 Elias Aquino                   $13.00   55.98   $    8.60         $   103.89   $    103.89
   4/1/2018 Elias Aquino                   $13.00   56.45   $    8.60         $   106.93   $    106.93
   4/8/2018 Elias Aquino                   $13.00   55.28   $    8.60         $    99.34   $     99.34
  4/15/2018 Elias Aquino                   $13.00   64.25   $    8.60         $   157.63   $    157.63
  4/22/2018 Elias Aquino                   $13.00   59.00   $    8.60         $   123.50   $    123.50
  4/29/2018 Elias Aquino                   $13.00   57.72   $    8.60         $   115.16   $    115.16
   5/6/2018 Elias Aquino                   $13.00   59.32   $    8.60         $   125.56   $    125.56
  5/13/2018 Elias Aquino                   $13.00   58.77   $    8.60         $   121.98   $    121.98
  5/20/2018 Elias Aquino                   $13.00   59.75   $    8.60         $   128.38   $    128.38
  5/27/2018 Elias Aquino                   $13.00   66.30   $    8.60         $   170.95   $    170.95
   6/3/2018 Elias Aquino                   $13.00   65.92   $    8.60         $   168.46   $    168.46
  6/10/2018 Elias Aquino                   $13.00   64.33   $    8.60         $   158.17   $    158.17
  6/17/2018 Elias Aquino                   $13.00   63.73   $    8.60         $   154.27   $    154.27
  6/24/2018 Elias Aquino                   $13.00   65.62   $    8.60         $   166.51   $    166.51
   7/1/2018 Elias Aquino                   $13.00   66.55   $    8.60         $   172.58   $    172.58
   7/8/2018 Elias Aquino                   $13.00   65.43   $    8.60         $   165.32   $    165.32
  7/15/2018 Elias Aquino                   $13.00   62.60   $    8.60         $   146.90   $    146.90
  7/22/2018 Elias Aquino                   $13.00   62.20   $    8.60         $   144.30   $    144.30
  7/29/2018 Elias Aquino                   $13.00   68.17   $    8.60         $   183.08   $    183.08



                                             155
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 157 of 683 PageID: 1004
                                          Exhibit 2
                                  New Jersey Computations


   Week                                                  State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
  Ending                   Name                        Minumum Regular    Half-Time Overtime Back
                                          Rate Week
   Date                                                  Wage  Rate Due     Due       Wages Due

   8/5/2018 Elias Aquino                 $13.00   53.23   $    8.60         $    86.02   $     86.02
  8/12/2018 Elias Aquino                 $13.00   63.03   $    8.60         $   149.72   $    149.72
  8/19/2018 Elias Aquino                 $13.00   58.35   $    8.60         $   119.28   $    119.28
  8/26/2018 Elias Aquino                 $13.00   62.50   $    8.60         $   146.25   $    146.25
   9/2/2018 Elias Aquino                 $13.00   64.22   $    8.60         $   157.41   $    157.41
   9/9/2018 Elias Aquino                 $13.00   50.30   $    8.60         $    66.95   $     66.95
  9/16/2018 Elias Aquino                 $13.00   56.98   $    8.60         $   110.39   $    110.39
  9/23/2018 Elias Aquino                 $13.00   56.70   $    8.60         $   108.55   $    108.55
  9/30/2018 Elias Aquino                 $13.00   57.05   $    8.60         $   110.83   $    110.83
  10/7/2018 Elias Aquino                 $13.00   69.77   $    8.60         $   193.48   $    193.48
 10/14/2018 Elias Aquino                 $12.00   70.83   $    8.60         $   185.00   $    185.00
 10/21/2018 Elias Aquino                 $12.00   67.57   $    8.60         $   165.40   $    165.40
 10/28/2018 Elias Aquino                 $12.00   65.40   $    8.60         $   152.40   $    152.40
  11/4/2018 Elias Aquino                 $12.00   67.72   $    8.60         $   166.30   $    166.30
 11/11/2018 Elias Aquino                 $12.00   64.35   $    8.60         $   146.10   $    146.10
 11/18/2018 Elias Aquino                 $12.00   63.35   $    8.60         $   140.10   $    140.10
 11/25/2018 Elias Aquino                 $12.00   43.63   $    8.60         $    21.80   $     21.80
  12/2/2018 Elias Aquino                 $13.00   59.57   $    8.60         $   127.18   $    127.18
  12/9/2018 Elias Aquino                 $13.00   51.88   $    8.60         $    77.24   $     77.24
 12/16/2018 Elias Aquino                 $13.00   44.12   $    8.60         $    26.76   $     26.76
   1/6/2019 Elias Aquino                 $13.00   40.72   $    8.85         $     4.66   $      4.66
  1/13/2019 Elias Aquino                 $13.00   67.20   $    8.85         $   176.80   $    176.80
  1/20/2019 Elias Aquino                 $13.00   65.12   $    8.85         $   163.26   $    163.26
  1/27/2019 Elias Aquino                 $13.00   58.08   $    8.85         $   117.54   $    117.54
   2/3/2019 Elias Aquino                 $13.00   82.68   $    8.85         $   277.44   $    277.44
  2/10/2019 Elias Aquino                 $13.00   82.13   $    8.85         $   273.87   $    273.87
  2/17/2019 Elias Aquino                 $13.00   67.37   $    8.85         $   177.88   $    177.88
  2/24/2019 Elias Aquino                 $13.00   67.90   $    8.85         $   181.35   $    181.35
   3/3/2019 Elias Aquino                 $13.00   88.55   $    8.85         $   315.58   $    315.58
  3/10/2019 Elias Aquino                 $13.00   81.52   $    8.85         $   269.86   $    269.86
  3/17/2019 Elias Aquino                 $13.00   86.33   $    8.85         $   301.17   $    301.17
  3/24/2019 Elias Aquino                 $13.00   70.98   $    8.85         $   201.39   $    201.39
  3/31/2019 Elias Aquino                 $13.00   78.20   $    8.85         $   248.30   $    248.30
   4/7/2019 Elias Aquino                 $13.00   77.92   $    8.85         $   246.46   $    246.46
  4/14/2019 Elias Aquino                 $13.00   65.60   $    8.85         $   166.40   $    166.40
  4/21/2019 Elias Aquino                 $13.00   78.88   $    8.85         $   252.74   $    252.74
  4/28/2019 Elias Aquino                 $13.00   65.85   $    8.85         $   168.03   $    168.03
   5/5/2019 Elias Aquino                 $13.00   80.65   $    8.85         $   264.23   $    264.23
  5/12/2019 Elias Aquino                 $13.00   77.38   $    8.85         $   242.99   $    242.99
  5/19/2019 Elias Aquino                 $13.00   78.33   $    8.85         $   249.17   $    249.17
  5/26/2019 Elias Aquino                 $13.00   79.20   $    8.85         $   254.80   $    254.80
   6/2/2019 Elias Aquino                 $13.00   79.65   $    8.85         $   257.73   $    257.73
   6/9/2019 Elias Aquino                 $13.00   78.50   $    8.85         $   250.25   $    250.25
  6/16/2019 Elias Aquino                 $13.00   79.95   $    8.85         $   259.68   $    259.68
  6/23/2019 Elias Aquino                 $13.00   79.67   $    8.85         $   257.83   $    257.83
  6/30/2019 Elias Aquino                 $13.00   79.80   $   10.00         $   258.70   $    258.70
   7/7/2019 Elias Aquino                 $13.00   78.52   $   10.00         $   250.36   $    250.36
  7/14/2019 Elias Aquino                 $13.00   79.42   $   10.00         $   256.21   $    256.21
  7/21/2019 Elias Aquino                 $13.00   79.45   $   10.00         $   256.43   $    256.43
  7/28/2019 Elias Aquino                 $13.00   79.28   $   10.00         $   255.34   $    255.34



                                           156
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 158 of 683 PageID: 1005
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

   8/4/2019 Elias Aquino                      $13.00   81.68   $   10.00         $   270.94   $    270.94
  8/11/2019 Elias Aquino                      $13.00   79.32   $   10.00         $   255.56   $    255.56
  8/18/2019 Elias Aquino                      $13.00   79.35   $   10.00         $   255.78   $    255.78
  8/25/2019 Elias Aquino                      $13.00   79.48   $   10.00         $   256.64   $    256.64
   9/1/2019 Elias Aquino                      $13.00   79.25   $   10.00         $   255.13   $    255.13
   9/8/2019 Elias Aquino                      $13.00   79.93   $   10.00         $   259.57   $    259.57
  9/15/2019 Elias Aquino                      $13.00   79.82   $   10.00         $   258.81   $    258.81
  9/22/2019 Elias Aquino                      $13.00   78.77   $   10.00         $   251.98   $    251.98
  9/29/2019 Elias Aquino                      $13.00   74.67   $   10.00         $   225.33   $    225.33
  10/6/2019 Elias Aquino                      $13.00   70.93   $   10.00         $   201.07   $    201.07
 10/13/2019 Elias Aquino                      $13.00   71.33   $   10.00         $   203.67   $    203.67
 10/20/2019 Elias Aquino                      $13.00   46.98   $   10.00         $    45.39   $     45.39
  11/3/2019 Elias Aquino                      $13.00   46.25   $   10.00         $    40.63   $     40.63
 11/10/2019 Elias Aquino                      $13.00   70.38   $   10.00         $   197.49   $    197.49
  12/1/2019 Elias Aquino                      $13.00   53.13   $   10.00         $    85.37   $     85.37
  12/8/2019 Elias Aquino                      $13.00   51.80   $   10.00         $    76.70   $     76.70
  1/12/2020 Elias Aquino                      $13.00   80.23   $   11.00         $   261.52   $    261.52
  1/19/2020 Elias Aquino                      $13.00   78.63   $   11.00         $   251.12   $    251.12
  1/26/2020 Elias Aquino                      $13.00   78.88   $   11.00         $   252.74   $    252.74
  12/9/2018 Elias Mejia Flores-0555           $10.00   43.37   $    8.60         $    16.83   $     16.83
 12/16/2018 Elias Mejia Flores-0555           $10.00   50.58   $    8.60         $    52.92   $     52.92
 12/23/2018 Elias Mejia Flores-0555           $10.00   53.27   $    8.60         $    66.33   $     66.33
   2/5/2017 Eliezer Guzman                    $10.00   40.93   $    8.44         $     4.67   $      4.67
  2/19/2017 Eliezer Guzman                    $10.00   46.45   $    8.44         $    32.25   $     32.25
  2/26/2017 Eliezer Guzman                    $10.00   47.08   $    8.44         $    35.42   $     35.42
   3/5/2017 Eliezer Guzman                    $10.00   50.00   $    8.44         $    50.00   $     50.00
   4/2/2017 Eliezer Guzman                    $10.00   40.38   $    8.44         $     1.92   $      1.92
  4/16/2017 Eliezer Guzman                    $10.00   49.17   $    8.44         $    45.83   $     45.83
  4/23/2017 Eliezer Guzman                    $10.00   51.67   $    8.44         $    58.33   $     58.33
  4/30/2017 Eliezer Guzman                    $10.00   50.55   $    8.44         $    52.75   $     52.75
   5/7/2017 Eliezer Guzman                    $10.00   50.45   $    8.44         $    52.25   $     52.25
  5/14/2017 Eliezer Guzman                    $10.00   50.93   $    8.44         $    54.67   $     54.67
  5/21/2017 Eliezer Guzman                    $10.00   53.13   $    8.44         $    65.67   $     65.67
  5/28/2017 Eliezer Guzman                    $10.00   52.58   $    8.44         $    62.92   $     62.92
   6/4/2017 Eliezer Guzman                    $10.00   47.47   $    8.44         $    37.33   $     37.33
  6/11/2017 Eliezer Guzman                    $10.00   46.68   $    8.44         $    33.42   $     33.42
  6/18/2017 Eliezer Guzman                    $10.00   44.38   $    8.44         $    21.92   $     21.92
  6/25/2017 Eliezer Guzman                    $10.00   45.58   $    8.44         $    27.92   $     27.92
  7/23/2017 Eliezer Guzman                    $10.00   43.70   $    8.44         $    18.50   $     18.50
   8/6/2017 Eliezer Guzman                    $10.00   55.73   $    8.44         $    78.67   $     78.67
  8/20/2017 Eliezer Guzman                    $10.00   48.10   $    8.44         $    40.50   $     40.50
  8/27/2017 Eliezer Guzman                    $10.00   57.33   $    8.44         $    86.67   $     86.67
   9/3/2017 Eliezer Guzman                    $10.00   48.23   $    8.44         $    41.17   $     41.17
  9/10/2017 Eliezer Guzman                    $10.00   47.47   $    8.44         $    37.33   $     37.33
  9/17/2017 Eliezer Guzman                    $10.00   44.83   $    8.44         $    24.17   $     24.17
  9/24/2017 Eliezer Guzman                    $10.00   56.62   $    8.44         $    83.08   $     83.08
  10/8/2017 Eliezer Guzman                    $10.00   51.18   $    8.44         $    55.92   $     55.92
 10/22/2017 Eliezer Guzman                    $10.00   42.40   $    8.44         $    12.00   $     12.00
 10/29/2017 Eliezer Guzman                    $10.00   44.33   $    8.44         $    21.67   $     21.67
  11/3/2019 Eligah Peavy                      $12.00   46.43   $   10.00         $    38.60   $     38.60



                                                157
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 159 of 683 PageID: 1006
                                                  Exhibit 2
                                          New Jersey Computations


   Week                                                          State Section 7: Section 7: Total Section 7
                                                 Hourly Hours/
  Ending                       Name                            Minumum Regular    Half-Time Overtime Back
                                                  Rate Week
   Date                                                          Wage  Rate Due     Due       Wages Due

 11/24/2019 Eligah Peavy                         $12.00   40.23   $   10.00         $     1.40   $      1.40
  12/8/2019 Eligah Peavy                         $12.00   44.85   $   10.00         $    29.10   $     29.10
  5/27/2018 Elijah Jackson                       $10.00   57.98   $    8.60         $    89.92   $     89.92
  6/10/2018 Elijah Jackson                       $10.00   55.33   $    8.60         $    76.67   $     76.67
  6/17/2018 Elijah Jackson                       $10.00   55.07   $    8.60         $    75.33   $     75.33
   7/1/2018 Elijah Jackson                       $10.00   59.52   $    8.60         $    97.58   $     97.58
  7/15/2018 Elijah Jackson                       $10.00   71.80   $    8.60         $   159.00   $    159.00
   7/2/2017 Eliud Hernandez - Used Cars          $10.00   45.13   $    8.44         $    25.67   $     25.67
   7/9/2017 Eliud Hernandez - Used Cars          $10.00   59.95   $    8.44         $    99.75   $     99.75
  7/16/2017 Eliud Hernandez - Used Cars          $10.00   57.17   $    8.44         $    85.83   $     85.83
  7/23/2017 Eliud Hernandez - Used Cars          $10.00   66.28   $    8.44         $   131.42   $    131.42
  7/30/2017 Eliud Hernandez - Used Cars          $10.00   61.92   $    8.44         $   109.58   $    109.58
   8/6/2017 Eliud Hernandez - Used Cars          $10.00   49.00   $    8.44         $    45.00   $     45.00
  8/13/2017 Eliud Hernandez - Used Cars          $10.00   63.27   $    8.44         $   116.33   $    116.33
  8/20/2017 Eliud Hernandez - Used Cars          $10.00   70.98   $    8.44         $   154.92   $    154.92
  8/27/2017 Eliud Hernandez - Used Cars          $10.00   60.48   $    8.44         $   102.42   $    102.42
   9/3/2017 Eliud Hernandez - Used Cars          $10.00   62.32   $    8.44         $   111.58   $    111.58
  9/10/2017 Eliud Hernandez - Used Cars          $10.00   53.10   $    8.44         $    65.50   $     65.50
  9/17/2017 Eliud Hernandez - Used Cars          $10.00   66.77   $    8.44         $   133.83   $    133.83
  9/24/2017 Eliud Hernandez - Used Cars          $10.00   40.37   $    8.44         $     1.83   $      1.83
  10/1/2017 Eliud Hernandez - Used Cars          $10.00   49.23   $    8.44         $    46.17   $     46.17
  10/8/2017 Eliud Hernandez - Used Cars          $10.00   51.53   $    8.44         $    57.67   $     57.67
 10/22/2017 Eliud Hernandez - Used Cars          $10.00   48.97   $    8.44         $    44.83   $     44.83
 10/29/2017 Eliud Hernandez - Used Cars          $10.00   60.70   $    8.44         $   103.50   $    103.50
  11/5/2017 Eliud Hernandez - Used Cars          $10.00   49.78   $    8.44         $    48.92   $     48.92
 11/12/2017 Eliud Hernandez - Used Cars          $10.00   48.72   $    8.44         $    43.58   $     43.58
 11/19/2017 Eliud Hernandez - Used Cars          $10.00   50.73   $    8.44         $    53.67   $     53.67
 11/26/2017 Eliud Hernandez - Used Cars          $10.00   50.72   $    8.44         $    53.58   $     53.58
  12/3/2017 Eliud Hernandez - Used Cars          $10.00   60.88   $    8.44         $   104.42   $    104.42
 12/10/2017 Eliud Hernandez - Used Cars          $10.00   57.78   $    8.44         $    88.92   $     88.92
 12/17/2017 Eliud Hernandez - Used Cars          $10.00   51.43   $    8.44         $    57.17   $     57.17
 12/24/2017 Eliud Hernandez - Used Cars          $10.00   51.67   $    8.44         $    58.33   $     58.33
 12/31/2017 Eliud Hernandez - Used Cars          $10.00   45.65   $    8.44         $    28.25   $     28.25
   1/7/2018 Eliud Hernandez - Used Cars          $10.00   41.20   $    8.60         $     6.00   $      6.00
  1/14/2018 Eliud Hernandez - Used Cars          $10.00   63.53   $    8.60         $   117.67   $    117.67
  1/21/2018 Eliud Hernandez - Used Cars          $10.00   56.63   $    8.60         $    83.17   $     83.17
  1/28/2018 Eliud Hernandez - Used Cars          $10.00   63.30   $    8.60         $   116.50   $    116.50
   2/4/2018 Eliud Hernandez - Used Cars          $10.00   40.30   $    8.60         $     1.50   $      1.50
  2/11/2018 Eliud Hernandez - Used Cars          $10.00   59.15   $    8.60         $    95.75   $     95.75
  2/25/2018 Eliud Hernandez - Used Cars          $10.00   58.33   $    8.60         $    91.67   $     91.67
  3/25/2018 Eliud Hernandez - Used Cars          $10.00   59.07   $    8.60         $    95.33   $     95.33
   4/1/2018 Eliud Hernandez - Used Cars          $10.00   59.22   $    8.60         $    96.08   $     96.08
   4/8/2018 Eliud Hernandez - Used Cars          $10.00   59.97   $    8.60         $    99.83   $     99.83
  4/15/2018 Eliud Hernandez - Used Cars          $10.00   61.83   $    8.60         $   109.17   $    109.17
  4/22/2018 Eliud Hernandez - Used Cars          $10.00   48.28   $    8.60         $    41.42   $     41.42
  4/29/2018 Eliud Hernandez - Used Cars          $10.00   71.80   $    8.60         $   159.00   $    159.00
   5/6/2018 Eliud Hernandez - Used Cars          $10.00   48.05   $    8.60         $    40.25   $     40.25
  5/13/2018 Eliud Hernandez - Used Cars          $10.00   44.37   $    8.60         $    21.83   $     21.83
  5/20/2018 Eliud Hernandez - Used Cars          $10.00   51.05   $    8.60         $    55.25   $     55.25
  5/27/2018 Eliud Hernandez - Used Cars          $10.00   67.07   $    8.60         $   135.33   $    135.33



                                                   158
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 160 of 683 PageID: 1007
                                                  Exhibit 2
                                          New Jersey Computations


   Week                                                          State Section 7: Section 7: Total Section 7
                                                 Hourly Hours/
  Ending                       Name                            Minumum Regular    Half-Time Overtime Back
                                                  Rate Week
   Date                                                          Wage  Rate Due     Due       Wages Due

   6/3/2018 Eliud Hernandez - Used Cars          $10.00   66.88   $   8.60          $   134.42   $    134.42
  6/10/2018 Eliud Hernandez - Used Cars          $10.00   58.55   $   8.60          $    92.75   $     92.75
  6/17/2018 Eliud Hernandez - Used Cars          $10.00   62.37   $   8.60          $   111.83   $    111.83
  6/24/2018 Eliud Hernandez - Used Cars          $10.00   65.12   $   8.60          $   125.58   $    125.58
   7/1/2018 Eliud Hernandez - Used Cars          $11.00   70.33   $   8.60          $   166.83   $    166.83
   7/8/2018 Eliud Hernandez - Used Cars          $11.00   54.10   $   8.60          $    77.55   $     77.55
  7/15/2018 Eliud Hernandez - Used Cars          $11.00   60.45   $   8.60          $   112.48   $    112.48
  7/22/2018 Eliud Hernandez - Used Cars          $11.00   62.40   $   8.60          $   123.20   $    123.20
  7/29/2018 Eliud Hernandez - Used Cars          $11.00   58.18   $   8.60          $   100.01   $    100.01
   8/5/2018 Eliud Hernandez - Used Cars          $11.00   63.30   $   8.60          $   128.15   $    128.15
  8/12/2018 Eliud Hernandez - Used Cars          $11.00   64.37   $   8.60          $   134.02   $    134.02
  8/19/2018 Eliud Hernandez - Used Cars          $11.00   59.77   $   8.60          $   108.72   $    108.72
  8/26/2018 Eliud Hernandez - Used Cars          $11.00   63.68   $   8.60          $   130.26   $    130.26
   9/2/2018 Eliud Hernandez - Used Cars          $11.00   61.47   $   8.60          $   118.07   $    118.07
   9/9/2018 Eliud Hernandez - Used Cars          $11.00   57.90   $   8.60          $    98.45   $     98.45
  9/16/2018 Eliud Hernandez - Used Cars          $11.00   53.97   $   8.60          $    76.82   $     76.82
  9/23/2018 Eliud Hernandez - Used Cars          $11.00   61.47   $   8.60          $   118.07   $    118.07
  9/30/2018 Eliud Hernandez - Used Cars          $11.00   66.15   $   8.60          $   143.83   $    143.83
  10/7/2018 Eliud Hernandez - Used Cars          $11.00   69.02   $   8.60          $   159.59   $    159.59
 10/14/2018 Eliud Hernandez - Used Cars          $11.00   63.55   $   8.60          $   129.53   $    129.53
 10/21/2018 Eliud Hernandez - Used Cars          $11.00   52.92   $   8.60          $    71.04   $     71.04
 10/28/2018 Eliud Hernandez - Used Cars          $11.00   64.90   $   8.60          $   136.95   $    136.95
  11/4/2018 Eliud Hernandez - Used Cars          $11.00   51.88   $   8.60          $    65.36   $     65.36
 11/11/2018 Eliud Hernandez - Used Cars          $11.00   58.98   $   8.60          $   104.41   $    104.41
 11/18/2018 Eliud Hernandez - Used Cars          $11.00   59.17   $   8.60          $   105.42   $    105.42
 11/25/2018 Eliud Hernandez - Used Cars          $11.00   51.60   $   8.60          $    63.80   $     63.80
  12/2/2018 Eliud Hernandez - Used Cars          $11.00   62.72   $   8.60          $   124.94   $    124.94
  12/9/2018 Eliud Hernandez - Used Cars          $11.00   65.10   $   8.60          $   138.05   $    138.05
 12/23/2018 Eliud Hernandez - Used Cars          $11.00   54.50   $   8.60          $    79.75   $     79.75
 12/30/2018 Eliud Hernandez - Used Cars          $11.00   44.88   $   8.60          $    26.86   $     26.86
   1/6/2019 Eliud Hernandez - Used Cars          $11.00   52.75   $   8.85          $    70.13   $     70.13
  1/13/2019 Eliud Hernandez - Used Cars          $11.00   60.90   $   8.85          $   114.95   $    114.95
  1/20/2019 Eliud Hernandez - Used Cars          $11.00   63.33   $   8.85          $   128.33   $    128.33
  1/27/2019 Eliud Hernandez - Used Cars          $11.00   49.35   $   8.85          $    51.43   $     51.43
   2/3/2019 Eliud Hernandez - Used Cars          $11.00   48.12   $   8.85          $    44.64   $     44.64
  2/10/2019 Eliud Hernandez - Used Cars          $11.00   72.88   $   8.85          $   180.86   $    180.86
  2/17/2019 Eliud Hernandez - Used Cars          $11.00   62.58   $   8.85          $   124.21   $    124.21
  2/24/2019 Eliud Hernandez - Used Cars          $11.00   58.28   $   8.85          $   100.56   $    100.56
   3/3/2019 Eliud Hernandez - Used Cars          $12.50   58.48   $   8.85          $   115.52   $    115.52
  3/10/2019 Eliud Hernandez - Used Cars          $12.50   69.63   $   8.85          $   185.21   $    185.21
  3/17/2019 Eliud Hernandez - Used Cars          $12.50   67.98   $   8.85          $   174.90   $    174.90
  3/24/2019 Eliud Hernandez - Used Cars          $12.50   67.72   $   8.85          $   173.23   $    173.23
  3/31/2019 Eliud Hernandez - Used Cars          $12.50   66.52   $   8.85          $   165.73   $    165.73
   4/7/2019 Eliud Hernandez - Used Cars          $12.50   64.27   $   8.85          $   151.67   $    151.67
  4/14/2019 Eliud Hernandez - Used Cars          $12.50   69.38   $   8.85          $   183.65   $    183.65
  4/21/2019 Eliud Hernandez - Used Cars          $12.50   66.98   $   8.85          $   168.65   $    168.65
  4/28/2019 Eliud Hernandez - Used Cars          $12.50   60.30   $   8.85          $   126.88   $    126.88
   5/5/2019 Eliud Hernandez - Used Cars          $12.50   65.63   $   8.85          $   160.21   $    160.21
  5/12/2019 Eliud Hernandez - Used Cars          $12.50   63.32   $   8.85          $   145.73   $    145.73
  5/19/2019 Eliud Hernandez - Used Cars          $12.50   63.52   $   8.85          $   146.98   $    146.98



                                                   159
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 161 of 683 PageID: 1008
                                                  Exhibit 2
                                          New Jersey Computations


   Week                                                          State Section 7: Section 7: Total Section 7
                                                 Hourly Hours/
  Ending                       Name                            Minumum Regular    Half-Time Overtime Back
                                                  Rate Week
   Date                                                          Wage  Rate Due     Due       Wages Due

  5/26/2019 Eliud Hernandez - Used Cars          $12.50   70.63   $    8.85         $   191.46   $    191.46
   6/2/2019 Eliud Hernandez - Used Cars          $12.50   61.05   $    8.85         $   131.56   $    131.56
   6/9/2019 Eliud Hernandez - Used Cars          $12.50   67.40   $    8.85         $   171.25   $    171.25
  6/16/2019 Eliud Hernandez - Used Cars          $12.50   60.52   $    8.85         $   128.23   $    128.23
  6/23/2019 Eliud Hernandez - Used Cars          $12.50   62.10   $    8.85         $   138.13   $    138.13
  6/30/2019 Eliud Hernandez - Used Cars          $12.50   65.17   $   10.00         $   157.29   $    157.29
   7/7/2019 Eliud Hernandez - Used Cars          $12.50   65.78   $   10.00         $   161.15   $    161.15
  7/14/2019 Eliud Hernandez - Used Cars          $12.50   65.73   $   10.00         $   160.83   $    160.83
  7/21/2019 Eliud Hernandez - Used Cars          $12.50   68.30   $   10.00         $   176.88   $    176.88
  7/28/2019 Eliud Hernandez - Used Cars          $12.50   56.95   $   10.00         $   105.94   $    105.94
   8/4/2019 Eliud Hernandez - Used Cars          $12.50   70.55   $   10.00         $   190.94   $    190.94
  8/18/2019 Eliud Hernandez - Used Cars          $12.50   56.93   $   10.00         $   105.83   $    105.83
  8/25/2019 Eliud Hernandez - Used Cars          $12.50   43.73   $   10.00         $    23.33   $     23.33
   9/1/2019 Eliud Hernandez - Used Cars          $12.50   68.35   $   10.00         $   177.19   $    177.19
   9/8/2019 Eliud Hernandez - Used Cars          $12.50   65.88   $   10.00         $   161.77   $    161.77
  9/15/2019 Eliud Hernandez - Used Cars          $12.50   66.48   $   10.00         $   165.52   $    165.52
  9/22/2019 Eliud Hernandez - Used Cars          $12.50   67.82   $   10.00         $   173.85   $    173.85
  9/29/2019 Eliud Hernandez - Used Cars          $12.50   64.02   $   10.00         $   150.10   $    150.10
  10/6/2019 Eliud Hernandez - Used Cars          $12.50   49.27   $   10.00         $    57.92   $     57.92
 10/13/2019 Eliud Hernandez - Used Cars          $12.50   62.22   $   10.00         $   138.85   $    138.85
 10/20/2019 Eliud Hernandez - Used Cars          $12.50   61.35   $   10.00         $   133.44   $    133.44
 10/27/2019 Eliud Hernandez - Used Cars          $12.50   64.35   $   10.00         $   152.19   $    152.19
  11/3/2019 Eliud Hernandez - Used Cars          $12.50   57.92   $   10.00         $   111.98   $    111.98
 11/10/2019 Eliud Hernandez - Used Cars          $12.50   50.10   $   10.00         $    63.13   $     63.13
 11/17/2019 Eliud Hernandez - Used Cars          $12.50   65.52   $   10.00         $   159.48   $    159.48
 11/24/2019 Eliud Hernandez - Used Cars          $12.50   64.27   $   10.00         $   151.67   $    151.67
  12/1/2019 Eliud Hernandez - Used Cars          $12.50   54.98   $   10.00         $    93.65   $     93.65
  12/8/2019 Eliud Hernandez - Used Cars          $12.50   66.28   $   10.00         $   164.27   $    164.27
 12/15/2019 Eliud Hernandez - Used Cars          $12.50   68.78   $   10.00         $   179.90   $    179.90
 12/22/2019 Eliud Hernandez - Used Cars          $12.50   62.77   $   10.00         $   142.29   $    142.29
 12/29/2019 Eliud Hernandez - Used Cars          $12.50   50.03   $   10.00         $    62.71   $     62.71
   1/5/2020 Eliud Hernandez - Used Cars          $12.50   52.20   $   11.00         $    76.25   $     76.25
  1/12/2020 Eliud Hernandez - Used Cars          $12.50   61.15   $   11.00         $   132.19   $    132.19
  1/19/2020 Eliud Hernandez - Used Cars          $12.50   67.15   $   11.00         $   169.69   $    169.69
  1/26/2020 Eliud Hernandez - Used Cars          $12.50   66.28   $   11.00         $   164.27   $    164.27
  9/22/2019 Eliut Abreu Dominquez                $10.00   61.62   $   10.00         $   108.08   $    108.08
  9/29/2019 Eliut Abreu Dominquez                $10.00   68.15   $   10.00         $   140.75   $    140.75
  10/6/2019 Eliut Abreu Dominquez                $10.00   68.30   $   10.00         $   141.50   $    141.50
 10/13/2019 Eliut Abreu Dominquez                $10.00   64.92   $   10.00         $   124.58   $    124.58
 10/20/2019 Eliut Abreu Dominquez                $10.00   59.52   $   10.00         $    97.58   $     97.58
 10/27/2019 Eliut Abreu Dominquez                $10.00   59.58   $   10.00         $    97.92   $     97.92
  11/3/2019 Eliut Abreu Dominquez                $10.00   58.17   $   10.00         $    90.83   $     90.83
 11/10/2019 Eliut Abreu Dominquez                $10.00   59.03   $   10.00         $    95.17   $     95.17
 11/24/2019 Eliut Abreu Dominquez                $10.00   59.65   $   10.00         $    98.25   $     98.25
  12/1/2019 Eliut Abreu Dominquez                $10.00   40.67   $   10.00         $     3.33   $      3.33
   2/5/2017 Elmer Melgar                          $9.00   71.38   $    8.44         $   141.23   $    141.23
  2/12/2017 Elmer Melgar                          $9.00   59.12   $    8.44         $    86.03   $     86.03
  2/19/2017 Elmer Melgar                          $9.00   70.70   $    8.44         $   138.15   $    138.15
  2/26/2017 Elmer Melgar                          $9.00   71.12   $    8.44         $   140.03   $    140.03
   3/5/2017 Elmer Melgar                          $9.00   57.32   $    8.44         $    77.93   $     77.93



                                                   160
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 162 of 683 PageID: 1009
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  3/12/2017 Elmer Melgar                       $9.00   65.85   $   8.44          $   116.33   $    116.33
  3/19/2017 Elmer Melgar                       $9.00   54.23   $   8.44          $    64.05   $     64.05
  3/26/2017 Elmer Melgar                       $9.00   53.87   $   8.44          $    62.40   $     62.40
   4/2/2017 Elmer Melgar                       $9.00   60.38   $   8.44          $    91.73   $     91.73
   4/9/2017 Elmer Melgar                       $9.00   62.58   $   8.44          $   101.63   $    101.63
  4/16/2017 Elmer Melgar                       $9.00   48.70   $   8.44          $    39.15   $     39.15
  11/4/2018 Elmer Noel Melgar                 $10.00   71.72   $   8.60          $   158.58   $    158.58
 11/11/2018 Elmer Noel Melgar                 $10.00   61.77   $   8.60          $   108.83   $    108.83
 11/18/2018 Elmer Noel Melgar                 $10.00   69.30   $   8.60          $   146.50   $    146.50
 11/25/2018 Elmer Noel Melgar                 $10.00   56.48   $   8.60          $    82.42   $     82.42
  12/2/2018 Elmer Noel Melgar                 $10.00   73.95   $   8.60          $   169.75   $    169.75
  12/9/2018 Elmer Noel Melgar                 $10.00   69.07   $   8.60          $   145.33   $    145.33
 12/16/2018 Elmer Noel Melgar                 $10.00   67.17   $   8.60          $   135.83   $    135.83
 12/23/2018 Elmer Noel Melgar                 $10.00   48.75   $   8.60          $    43.75   $     43.75
 12/30/2018 Elmer Noel Melgar                 $10.00   47.35   $   8.60          $    36.75   $     36.75
   1/6/2019 Elmer Noel Melgar                 $10.00   68.70   $   8.85          $   143.50   $    143.50
  1/13/2019 Elmer Noel Melgar                 $10.00   74.52   $   8.85          $   172.58   $    172.58
  1/20/2019 Elmer Noel Melgar                 $10.00   61.92   $   8.85          $   109.58   $    109.58
  1/27/2019 Elmer Noel Melgar                 $10.00   51.37   $   8.85          $    56.83   $     56.83
   2/3/2019 Elmer Noel Melgar                 $10.00   61.62   $   8.85          $   108.08   $    108.08
  2/10/2019 Elmer Noel Melgar                 $10.00   47.75   $   8.85          $    38.75   $     38.75
  2/17/2019 Elmer Noel Melgar                 $10.00   65.10   $   8.85          $   125.50   $    125.50
  2/24/2019 Elmer Noel Melgar                 $10.00   58.80   $   8.85          $    94.00   $     94.00
   3/3/2019 Elmer Noel Melgar                 $10.00   54.42   $   8.85          $    72.08   $     72.08
  3/10/2019 Elmer Noel Melgar                 $10.00   53.67   $   8.85          $    68.33   $     68.33
  3/17/2019 Elmer Noel Melgar                 $10.00   51.80   $   8.85          $    59.00   $     59.00
   2/5/2017 Elmer Ty                          $10.00   64.88   $   8.44          $   124.42   $    124.42
  2/12/2017 Elmer Ty                          $10.00   53.87   $   8.44          $    69.33   $     69.33
  2/19/2017 Elmer Ty                          $10.00   64.07   $   8.44          $   120.33   $    120.33
  2/26/2017 Elmer Ty                          $10.00   65.63   $   8.44          $   128.17   $    128.17
   3/5/2017 Elmer Ty                          $10.00   63.63   $   8.44          $   118.17   $    118.17
  3/12/2017 Elmer Ty                          $10.00   63.62   $   8.44          $   118.08   $    118.08
  3/19/2017 Elmer Ty                          $10.00   56.28   $   8.44          $    81.42   $     81.42
  3/26/2017 Elmer Ty                          $10.00   67.00   $   8.44          $   135.00   $    135.00
   4/2/2017 Elmer Ty                          $10.00   67.22   $   8.44          $   136.08   $    136.08
   4/9/2017 Elmer Ty                          $10.00   67.12   $   8.44          $   135.58   $    135.58
  4/16/2017 Elmer Ty                          $10.00   64.40   $   8.44          $   122.00   $    122.00
  4/23/2017 Elmer Ty                          $10.00   68.80   $   8.44          $   144.00   $    144.00
  4/30/2017 Elmer Ty                          $10.00   68.93   $   8.44          $   144.67   $    144.67
   5/7/2017 Elmer Ty                          $10.00   69.18   $   8.44          $   145.92   $    145.92
  5/14/2017 Elmer Ty                          $10.00   71.10   $   8.44          $   155.50   $    155.50
  5/21/2017 Elmer Ty                          $10.00   70.28   $   8.44          $   151.42   $    151.42
  5/28/2017 Elmer Ty                          $10.00   69.28   $   8.44          $   146.42   $    146.42
   6/4/2017 Elmer Ty                          $10.00   63.60   $   8.44          $   118.00   $    118.00
  6/11/2017 Elmer Ty                          $10.00   70.05   $   8.44          $   150.25   $    150.25
 11/12/2017 Elmer Velasquez                    $9.50   45.40   $   8.44          $    25.65   $     25.65
 11/26/2017 Elmer Velasquez                    $9.50   46.08   $   8.44          $    28.90   $     28.90
   2/4/2018 Elmer Velasquez                    $9.50   46.32   $   8.60          $    30.00   $     30.00
  2/18/2018 Elmer Velasquez                    $9.50   47.00   $   8.60          $    33.25   $     33.25
  2/25/2018 Elmer Velasquez                    $9.50   55.08   $   8.60          $    71.65   $     71.65



                                                161
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 163 of 683 PageID: 1010
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

   3/4/2018 Elmer Velasquez                   $9.50   55.98   $    8.60               $    75.92   $    75.92
   3/3/2019 Elmerzon Bonilla                  $9.50   67.83   $    8.85               $   132.21   $   132.21
  3/10/2019 Elmerzon Bonilla                  $9.50   68.93   $    8.85               $   137.43   $   137.43
  3/17/2019 Elmerzon Bonilla                  $9.50   67.78   $    8.85               $   131.97   $   131.97
  3/24/2019 Elmerzon Bonilla                  $9.50   67.65   $    8.85               $   131.34   $   131.34
  3/31/2019 Elmerzon Bonilla                  $9.50   66.75   $    8.85               $   127.06   $   127.06
   4/7/2019 Elmerzon Bonilla                  $9.50   56.67   $    8.85               $    79.17   $    79.17
  4/14/2019 Elmerzon Bonilla                  $9.50   69.88   $    8.85               $   141.95   $   141.95
  4/21/2019 Elmerzon Bonilla                  $9.50   69.60   $    8.85               $   140.60   $   140.60
  4/28/2019 Elmerzon Bonilla                  $9.50   61.03   $    8.85               $    99.91   $    99.91
   5/5/2019 Elmerzon Bonilla                  $9.50   68.02   $    8.85               $   133.08   $   133.08
  5/12/2019 Elmerzon Bonilla                  $9.50   69.47   $    8.85               $   139.97   $   139.97
  5/19/2019 Elmerzon Bonilla                  $9.50   64.82   $    8.85               $   117.88   $   117.88
  5/26/2019 Elmerzon Bonilla                  $9.50   68.20   $    8.85               $   133.95   $   133.95
   6/2/2019 Elmerzon Bonilla                  $9.50   64.67   $    8.85               $   117.17   $   117.17
   6/9/2019 Elmerzon Bonilla                  $9.50   71.27   $    8.85               $   148.52   $   148.52
  6/16/2019 Elmerzon Bonilla                  $9.50   70.77   $    8.85               $   146.14   $   146.14
  6/23/2019 Elmerzon Bonilla                  $9.50   56.97   $    8.85               $    80.59   $    80.59
  6/30/2019 Elmerzon Bonilla                  $9.50   70.17   $   10.00   $   35.08   $   150.83   $   185.92
   7/7/2019 Elmerzon Bonilla                 $10.00   57.27   $   10.00               $    86.33   $    86.33
  7/14/2019 Elmerzon Bonilla                 $10.00   71.53   $   10.00               $   157.67   $   157.67
  7/21/2019 Elmerzon Bonilla                 $10.00   67.35   $   10.00               $   136.75   $   136.75
  7/28/2019 Elmerzon Bonilla                 $10.00   66.05   $   10.00               $   130.25   $   130.25
   8/4/2019 Elmerzon Bonilla                 $10.00   71.58   $   10.00               $   157.92   $   157.92
  8/11/2019 Elmerzon Bonilla                 $10.00   70.25   $   10.00               $   151.25   $   151.25
  8/18/2019 Elmerzon Bonilla                 $10.00   70.52   $   10.00               $   152.58   $   152.58
  8/25/2019 Elmerzon Bonilla                 $10.00   64.18   $   10.00               $   120.92   $   120.92
   9/1/2019 Elmerzon Bonilla                 $10.00   69.90   $   10.00               $   149.50   $   149.50
   9/8/2019 Elmerzon Bonilla                 $10.00   58.23   $   10.00               $    91.17   $    91.17
  9/15/2019 Elmerzon Bonilla                 $10.00   66.25   $   10.00               $   131.25   $   131.25
  9/22/2019 Elmerzon Bonilla                 $10.00   55.52   $   10.00               $    77.58   $    77.58
  9/29/2019 Elmerzon Bonilla                 $10.00   65.80   $   10.00               $   129.00   $   129.00
  10/6/2019 Elmerzon Bonilla                 $10.00   64.52   $   10.00               $   122.58   $   122.58
 10/13/2019 Elmerzon Bonilla                 $10.00   53.97   $   10.00               $    69.83   $    69.83
 10/20/2019 Elmerzon Bonilla                 $11.00   61.48   $   10.00               $   118.16   $   118.16
 10/27/2019 Elmerzon Bonilla                 $11.00   62.03   $   10.00               $   121.18   $   121.18
  11/3/2019 Elmerzon Bonilla                 $11.00   61.97   $   10.00               $   120.82   $   120.82
 11/10/2019 Elmerzon Bonilla                 $11.00   60.90   $   10.00               $   114.95   $   114.95
 11/17/2019 Elmerzon Bonilla                 $11.00   56.72   $   10.00               $    91.94   $    91.94
 11/24/2019 Elmerzon Bonilla                 $11.00   54.38   $   10.00               $    79.11   $    79.11
  12/1/2019 Elmerzon Bonilla                 $11.00   40.12   $   10.00               $     0.64   $     0.64
  12/8/2019 Elmerzon Bonilla                 $11.00   62.88   $   10.00               $   125.86   $   125.86
 12/15/2019 Elmerzon Bonilla                 $10.00   74.67   $   10.00               $   173.33   $   173.33
 12/22/2019 Elmerzon Bonilla                 $10.00   71.63   $   10.00               $   158.17   $   158.17
 12/29/2019 Elmerzon Bonilla                 $10.00   48.75   $   10.00               $    43.75   $    43.75
   1/5/2020 Elmerzon Bonilla                 $10.00   48.63   $   11.00   $   48.63   $    47.48   $    96.12
  1/12/2020 Elmerzon Bonilla                 $10.00   71.75   $   11.00   $   71.75   $   174.63   $   246.38
  1/19/2020 Elmerzon Bonilla                 $10.00   72.45   $   11.00   $   72.45   $   178.48   $   250.93
  1/26/2020 Elmerzon Bonilla                 $10.00   72.48   $   11.00   $   72.48   $   178.66   $   251.14
  6/17/2018 Elvin Taveras Marquez             $9.50   61.03   $    8.60               $    99.91   $    99.91



                                               162
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 164 of 683 PageID: 1011
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  6/24/2018 Elvin Taveras Marquez             $9.50   65.20   $   8.60          $   119.70   $    119.70
   7/1/2018 Elvin Taveras Marquez             $9.50   60.35   $   8.60          $    96.66   $     96.66
   7/8/2018 Elvin Taveras Marquez             $9.50   64.72   $   8.60          $   117.40   $    117.40
  7/15/2018 Elvin Taveras Marquez             $9.50   66.20   $   8.60          $   124.45   $    124.45
  7/22/2018 Elvin Taveras Marquez             $9.50   66.90   $   8.60          $   127.78   $    127.78
  7/29/2018 Elvin Taveras Marquez             $9.50   73.18   $   8.60          $   157.62   $    157.62
   8/5/2018 Elvin Taveras Marquez             $9.50   70.45   $   8.60          $   144.64   $    144.64
  8/12/2018 Elvin Taveras Marquez             $9.50   72.33   $   8.60          $   153.58   $    153.58
  8/19/2018 Elvin Taveras Marquez             $9.50   55.12   $   8.60          $    71.80   $     71.80
  8/26/2018 Elvin Taveras Marquez             $9.50   56.50   $   8.60          $    78.38   $     78.38
   9/2/2018 Elvin Taveras Marquez             $9.50   68.82   $   8.60          $   136.88   $    136.88
   9/9/2018 Elvin Taveras Marquez             $9.50   62.65   $   8.60          $   107.59   $    107.59
  9/16/2018 Elvin Taveras Marquez             $9.50   64.07   $   8.60          $   114.32   $    114.32
  9/23/2018 Elvin Taveras Marquez             $9.50   54.88   $   8.60          $    70.70   $     70.70
  9/30/2018 Elvin Taveras Marquez             $9.50   40.63   $   8.60          $     3.01   $      3.01
  10/7/2018 Elvin Taveras Marquez             $9.50   48.58   $   8.60          $    40.77   $     40.77
 10/14/2018 Elvin Taveras Marquez             $9.50   49.93   $   8.60          $    47.18   $     47.18
 10/21/2018 Elvin Taveras Marquez             $9.50   57.95   $   8.60          $    85.26   $     85.26
 10/28/2018 Elvin Taveras Marquez             $9.50   56.80   $   8.60          $    79.80   $     79.80
  11/4/2018 Elvin Taveras Marquez             $9.50   63.83   $   8.60          $   113.21   $    113.21
 11/11/2018 Elvin Taveras Marquez             $9.50   69.83   $   8.60          $   141.71   $    141.71
 11/18/2018 Elvin Taveras Marquez             $9.50   68.80   $   8.60          $   136.80   $    136.80
 11/25/2018 Elvin Taveras Marquez             $9.50   41.88   $   8.60          $     8.95   $      8.95
  12/2/2018 Elvin Taveras Marquez             $9.50   54.58   $   8.60          $    69.27   $     69.27
  12/9/2018 Elvin Taveras Marquez             $9.50   67.53   $   8.60          $   130.78   $    130.78
 12/16/2018 Elvin Taveras Marquez             $9.50   71.38   $   8.60          $   149.07   $    149.07
 12/23/2018 Elvin Taveras Marquez             $9.50   59.72   $   8.60          $    93.65   $     93.65
 12/30/2018 Elvin Taveras Marquez             $9.50   43.58   $   8.60          $    17.02   $     17.02
   1/6/2019 Elvin Taveras Marquez             $9.50   50.35   $   8.85          $    49.16   $     49.16
  1/13/2019 Elvin Taveras Marquez             $9.50   62.33   $   8.85          $   106.08   $    106.08
  1/20/2019 Elvin Taveras Marquez             $9.50   57.05   $   8.85          $    80.99   $     80.99
  1/27/2019 Elvin Taveras Marquez             $9.50   59.27   $   8.85          $    91.52   $     91.52
   2/3/2019 Elvin Taveras Marquez             $9.50   66.13   $   8.85          $   124.13   $    124.13
  2/10/2019 Elvin Taveras Marquez             $9.50   71.60   $   8.85          $   150.10   $    150.10
  2/17/2019 Elvin Taveras Marquez             $9.50   53.98   $   8.85          $    66.42   $     66.42
  2/24/2019 Elvin Taveras Marquez             $9.50   58.27   $   8.85          $    86.77   $     86.77
   3/3/2019 Elvin Taveras Marquez             $9.50   70.97   $   8.85          $   147.09   $    147.09
  3/10/2019 Elvin Taveras Marquez             $9.50   65.02   $   8.85          $   118.83   $    118.83
  3/17/2019 Elvin Taveras Marquez             $9.50   74.53   $   8.85          $   164.03   $    164.03
  3/24/2019 Elvin Taveras Marquez             $9.50   67.02   $   8.85          $   128.33   $    128.33
  3/31/2019 Elvin Taveras Marquez             $9.50   58.77   $   8.85          $    89.14   $     89.14
   4/7/2019 Elvin Taveras Marquez             $9.50   77.13   $   8.85          $   176.38   $    176.38
  4/14/2019 Elvin Taveras Marquez             $9.50   66.47   $   8.85          $   125.72   $    125.72
  4/21/2019 Elvin Taveras Marquez             $9.50   78.90   $   8.85          $   184.78   $    184.78
  4/28/2019 Elvin Taveras Marquez             $9.50   65.72   $   8.85          $   122.15   $    122.15
   5/5/2019 Elvin Taveras Marquez             $9.50   66.33   $   8.85          $   125.08   $    125.08
  5/12/2019 Elvin Taveras Marquez             $9.50   66.15   $   8.85          $   124.21   $    124.21
  5/19/2019 Elvin Taveras Marquez             $9.50   66.30   $   8.85          $   124.93   $    124.93
  5/26/2019 Elvin Taveras Marquez             $9.50   71.17   $   8.85          $   148.04   $    148.04
   6/2/2019 Elvin Taveras Marquez             $9.50   63.33   $   8.85          $   110.83   $    110.83



                                               163
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 165 of 683 PageID: 1012
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

   6/9/2019 Elvin Taveras Marquez             $9.50   67.28   $    8.85               $   129.60   $   129.60
  6/16/2019 Elvin Taveras Marquez             $9.50   66.93   $    8.85               $   127.93   $   127.93
  6/23/2019 Elvin Taveras Marquez             $9.50   57.00   $    8.85               $    80.75   $    80.75
  6/30/2019 Elvin Taveras Marquez             $9.50   59.25   $   10.00   $   29.63   $    96.25   $   125.88
   7/7/2019 Elvin Taveras Marquez            $10.50   59.18   $   10.00               $   100.71   $   100.71
  7/14/2019 Elvin Taveras Marquez            $10.50   68.73   $   10.00               $   150.85   $   150.85
  7/21/2019 Elvin Taveras Marquez            $10.50   73.58   $   10.00               $   176.31   $   176.31
  7/28/2019 Elvin Taveras Marquez            $10.50   47.47   $   10.00               $    39.20   $    39.20
   8/4/2019 Elvin Taveras Marquez            $10.50   68.65   $   10.00               $   150.41   $   150.41
  8/11/2019 Elvin Taveras Marquez            $10.50   42.75   $   10.00               $    14.44   $    14.44
  8/18/2019 Elvin Taveras Marquez            $10.50   73.02   $   10.00               $   173.34   $   173.34
  8/25/2019 Elvin Taveras Marquez            $10.50   62.33   $   10.00               $   117.25   $   117.25
   9/1/2019 Elvin Taveras Marquez            $10.50   63.93   $   10.00               $   125.65   $   125.65
   9/8/2019 Elvin Taveras Marquez            $10.50   64.00   $   10.00               $   126.00   $   126.00
  9/15/2019 Elvin Taveras Marquez            $10.50   69.23   $   10.00               $   153.48   $   153.48
  9/22/2019 Elvin Taveras Marquez            $10.50   77.02   $   10.00               $   194.34   $   194.34
  9/29/2019 Elvin Taveras Marquez            $10.50   68.83   $   10.00               $   151.38   $   151.38
  10/6/2019 Elvin Taveras Marquez            $10.50   72.68   $   10.00               $   171.59   $   171.59
 10/13/2019 Elvin Taveras Marquez            $10.50   49.68   $   10.00               $    50.84   $    50.84
 10/20/2019 Elvin Taveras Marquez            $10.50   53.43   $   10.00               $    70.53   $    70.53
 10/27/2019 Elvin Taveras Marquez            $10.50   54.27   $   10.00               $    74.90   $    74.90
  11/3/2019 Elvin Taveras Marquez            $10.50   46.87   $   10.00               $    36.05   $    36.05
 11/10/2019 Elvin Taveras Marquez            $10.50   56.00   $   10.00               $    84.00   $    84.00
 11/17/2019 Elvin Taveras Marquez            $10.50   50.18   $   10.00               $    53.46   $    53.46
 11/24/2019 Elvin Taveras Marquez            $10.50   60.45   $   10.00               $   107.36   $   107.36
  12/8/2019 Elvin Taveras Marquez            $10.50   47.88   $   10.00               $    41.39   $    41.39
 12/15/2019 Elvin Taveras Marquez            $10.50   59.82   $   10.00               $   104.04   $   104.04
 12/22/2019 Elvin Taveras Marquez            $10.50   43.78   $   10.00               $    19.86   $    19.86
   1/5/2020 Elvin Taveras Marquez            $10.50   64.48   $   11.00   $   32.24   $   134.66   $   166.90
  1/12/2020 Elvin Taveras Marquez            $10.50   64.63   $   11.00   $   32.32   $   135.48   $   167.80
  1/19/2020 Elvin Taveras Marquez            $10.50   64.92   $   11.00   $   32.46   $   137.04   $   169.50
  1/26/2020 Elvin Taveras Marquez            $10.50   63.32   $   11.00   $   31.66   $   128.24   $   159.90
  12/8/2019 Elvis Aguilar Cortez             $11.00   41.72   $   10.00               $     9.44   $     9.44
 12/15/2019 Elvis Aguilar Cortez             $11.00   51.12   $   10.00               $    61.14   $    61.14
 12/22/2019 Elvis Aguilar Cortez             $11.00   41.20   $   10.00               $     6.60   $     6.60
 12/29/2019 Elvis Aguilar Cortez             $11.00   42.85   $   10.00               $    15.68   $    15.68
   1/5/2020 Elvis Aguilar Cortez             $11.00   55.40   $   11.00               $    84.70   $    84.70
  1/19/2020 Elvis Aguilar Cortez             $11.00   41.48   $   11.00               $     8.16   $     8.16
  8/13/2017 Elvis Garcia                      $9.00   58.88   $    8.44               $    84.98   $    84.98
  8/20/2017 Elvis Garcia                      $9.00   59.13   $    8.44               $    86.10   $    86.10
  8/27/2017 Elvis Garcia                      $9.00   62.38   $    8.44               $   100.73   $   100.73
   9/3/2017 Elvis Garcia                      $9.00   66.17   $    8.44               $   117.75   $   117.75
  9/10/2017 Elvis Garcia                      $9.00   58.20   $    8.44               $    81.90   $    81.90
  9/17/2017 Elvis Garcia                      $9.00   60.60   $    8.44               $    92.70   $    92.70
  9/24/2017 Elvis Garcia                      $9.00   59.92   $    8.44               $    89.63   $    89.63
  10/1/2017 Elvis Garcia                      $9.00   61.62   $    8.44               $    97.28   $    97.28
  10/8/2017 Elvis Garcia                      $9.00   62.38   $    8.44               $   100.73   $   100.73
 10/15/2017 Elvis Garcia                      $9.00   61.65   $    8.44               $    97.43   $    97.43
 10/22/2017 Elvis Garcia                      $9.00   59.75   $    8.44               $    88.88   $    88.88
 10/29/2017 Elvis Garcia                      $9.00   62.10   $    8.44               $    99.45   $    99.45



                                               164
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 166 of 683 PageID: 1013
                                          Exhibit 2
                                  New Jersey Computations


   Week                                                  State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
  Ending                   Name                        Minumum Regular    Half-Time Overtime Back
                                          Rate Week
   Date                                                  Wage  Rate Due     Due       Wages Due

  11/5/2017 Elvis Garcia                  $9.00   62.78   $   8.44          $   102.53   $    102.53
 11/12/2017 Elvis Garcia                  $9.00   58.70   $   8.44          $    84.15   $     84.15
 11/19/2017 Elvis Garcia                  $9.00   63.62   $   8.44          $   106.28   $    106.28
 11/26/2017 Elvis Garcia                  $9.00   52.50   $   8.44          $    56.25   $     56.25
  12/3/2017 Elvis Garcia                  $9.00   62.35   $   8.44          $   100.58   $    100.58
 12/10/2017 Elvis Garcia                  $9.00   58.43   $   8.44          $    82.95   $     82.95
 12/17/2017 Elvis Garcia                  $9.00   59.18   $   8.44          $    86.33   $     86.33
 12/24/2017 Elvis Garcia                  $9.00   60.07   $   8.44          $    90.30   $     90.30
 12/31/2017 Elvis Garcia                  $9.00   54.98   $   8.44          $    67.43   $     67.43
   1/7/2018 Elvis Garcia                  $9.00   48.57   $   8.60          $    38.55   $     38.55
  1/14/2018 Elvis Garcia                  $9.00   59.82   $   8.60          $    89.18   $     89.18
  1/21/2018 Elvis Garcia                  $9.00   61.68   $   8.60          $    97.58   $     97.58
  1/28/2018 Elvis Garcia                  $9.00   60.63   $   8.60          $    92.85   $     92.85
   2/4/2018 Elvis Garcia                  $9.00   60.23   $   8.60          $    91.05   $     91.05
  2/11/2018 Elvis Garcia                  $9.00   60.28   $   8.60          $    91.28   $     91.28
  2/18/2018 Elvis Garcia                  $9.00   59.80   $   8.60          $    89.10   $     89.10
  2/25/2018 Elvis Garcia                  $9.00   61.33   $   8.60          $    96.00   $     96.00
   3/4/2018 Elvis Garcia                  $9.00   60.52   $   8.60          $    92.33   $     92.33
  3/25/2018 Elvis Garcia                  $9.00   48.72   $   8.60          $    39.23   $     39.23
   4/1/2018 Elvis Garcia                  $9.00   59.45   $   8.60          $    87.53   $     87.53
   4/8/2018 Elvis Garcia                  $9.00   60.28   $   8.60          $    91.28   $     91.28
  4/15/2018 Elvis Garcia                  $9.00   60.02   $   8.60          $    90.08   $     90.08
  4/22/2018 Elvis Garcia                  $9.00   59.45   $   8.60          $    87.53   $     87.53
  4/29/2018 Elvis Garcia                  $9.00   54.98   $   8.60          $    67.43   $     67.43
   5/6/2018 Elvis Garcia                  $9.00   59.63   $   8.60          $    88.35   $     88.35
  5/13/2018 Elvis Garcia                  $9.00   56.60   $   8.60          $    74.70   $     74.70
  5/20/2018 Elvis Garcia                  $9.00   57.32   $   8.60          $    77.93   $     77.93
  5/27/2018 Elvis Garcia                  $9.00   59.75   $   8.60          $    88.88   $     88.88
   6/3/2018 Elvis Garcia                  $9.00   53.67   $   8.60          $    61.50   $     61.50
  6/10/2018 Elvis Garcia                  $9.00   47.33   $   8.60          $    33.00   $     33.00
  6/17/2018 Elvis Garcia                  $9.00   40.68   $   8.60          $     3.08   $      3.08
  6/24/2018 Elvis Garcia                  $9.00   52.32   $   8.60          $    55.43   $     55.43
   7/1/2018 Elvis Garcia                  $9.00   45.48   $   8.60          $    24.68   $     24.68
   7/8/2018 Elvis Garcia                  $9.00   46.93   $   8.60          $    31.20   $     31.20
  7/15/2018 Elvis Garcia                  $9.00   53.02   $   8.60          $    58.58   $     58.58
  7/22/2018 Elvis Garcia                  $9.00   54.38   $   8.60          $    64.73   $     64.73
  7/29/2018 Elvis Garcia                  $9.00   46.22   $   8.60          $    27.98   $     27.98
   8/5/2018 Elvis Garcia                  $9.00   53.12   $   8.60          $    59.03   $     59.03
  8/12/2018 Elvis Garcia                  $9.00   52.73   $   8.60          $    57.30   $     57.30
  8/19/2018 Elvis Garcia                  $9.00   54.67   $   8.60          $    66.00   $     66.00
  8/26/2018 Elvis Garcia                  $9.00   46.38   $   8.60          $    28.73   $     28.73
   9/2/2018 Elvis Garcia                  $9.00   55.43   $   8.60          $    69.45   $     69.45
  9/16/2018 Elvis Garcia                  $9.00   53.93   $   8.60          $    62.70   $     62.70
  9/23/2018 Elvis Garcia                  $9.00   54.65   $   8.60          $    65.93   $     65.93
  9/30/2018 Elvis Garcia                  $9.00   55.80   $   8.60          $    71.10   $     71.10
  10/7/2018 Elvis Garcia                  $9.00   45.62   $   8.60          $    25.28   $     25.28
 10/14/2018 Elvis Garcia                  $9.00   54.55   $   8.60          $    65.48   $     65.48
 10/21/2018 Elvis Garcia                  $9.00   46.75   $   8.60          $    30.38   $     30.38
 10/28/2018 Elvis Garcia                  $9.00   46.68   $   8.60          $    30.08   $     30.08
  11/4/2018 Elvis Garcia                  $9.00   44.73   $   8.60          $    21.30   $     21.30



                                           165
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 167 of 683 PageID: 1014
                                          Exhibit 2
                                  New Jersey Computations


   Week                                                  State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
  Ending                   Name                        Minumum Regular    Half-Time Overtime Back
                                          Rate Week
   Date                                                  Wage  Rate Due     Due       Wages Due

 11/11/2018 Elvis Garcia                  $9.00   60.30   $    8.60               $    91.35   $    91.35
 11/18/2018 Elvis Garcia                  $9.00   48.95   $    8.60               $    40.28   $    40.28
 11/25/2018 Elvis Garcia                  $9.00   40.60   $    8.60               $     2.70   $     2.70
  12/2/2018 Elvis Garcia                  $9.00   56.43   $    8.60               $    73.95   $    73.95
  12/9/2018 Elvis Garcia                  $9.00   48.90   $    8.60               $    40.05   $    40.05
 12/16/2018 Elvis Garcia                  $9.00   61.27   $    8.60               $    95.70   $    95.70
 12/23/2018 Elvis Garcia                  $9.00   63.52   $    8.60               $   105.83   $   105.83
 12/30/2018 Elvis Garcia                  $9.00   43.80   $    8.60               $    17.10   $    17.10
  1/13/2019 Elvis Garcia                  $9.00   59.03   $    8.85               $    85.65   $    85.65
  1/20/2019 Elvis Garcia                  $9.00   56.58   $    8.85               $    74.63   $    74.63
  1/27/2019 Elvis Garcia                  $9.00   49.17   $    8.85               $    41.25   $    41.25
   2/3/2019 Elvis Garcia                  $9.00   51.15   $    8.85               $    50.18   $    50.18
  2/10/2019 Elvis Garcia                  $9.00   50.92   $    8.85               $    49.13   $    49.13
  2/17/2019 Elvis Garcia                  $9.00   45.25   $    8.85               $    23.63   $    23.63
  2/24/2019 Elvis Garcia                  $9.00   53.50   $    8.85               $    60.75   $    60.75
   3/3/2019 Elvis Garcia                  $9.00   49.12   $    8.85               $    41.03   $    41.03
  3/10/2019 Elvis Garcia                  $9.00   50.03   $    8.85               $    45.15   $    45.15
  3/17/2019 Elvis Garcia                  $9.00   58.17   $    8.85               $    81.75   $    81.75
  3/24/2019 Elvis Garcia                  $9.00   49.93   $    8.85               $    44.70   $    44.70
  3/31/2019 Elvis Garcia                  $9.00   51.35   $    8.85               $    51.08   $    51.08
   4/7/2019 Elvis Garcia                  $9.00   40.68   $    8.85               $     3.07   $     3.07
  4/14/2019 Elvis Garcia                  $9.00   48.23   $    8.85               $    37.05   $    37.05
  4/21/2019 Elvis Garcia                  $9.00   47.13   $    8.85               $    32.10   $    32.10
  4/28/2019 Elvis Garcia                  $9.00   52.90   $    8.85               $    58.05   $    58.05
   5/5/2019 Elvis Garcia                  $9.00   52.38   $    8.85               $    55.73   $    55.73
  5/12/2019 Elvis Garcia                  $9.00   62.87   $    8.85               $   102.90   $   102.90
  5/19/2019 Elvis Garcia                  $9.00   60.22   $    8.85               $    90.98   $    90.98
  5/26/2019 Elvis Garcia                  $9.00   48.32   $    8.85               $    37.43   $    37.43
   6/2/2019 Elvis Garcia                  $9.00   52.12   $    8.85               $    54.53   $    54.53
   6/9/2019 Elvis Garcia                  $9.00   46.58   $    8.85               $    29.63   $    29.63
  6/16/2019 Elvis Garcia                  $9.00   52.13   $    8.85               $    54.60   $    54.60
  6/23/2019 Elvis Garcia                  $9.00   52.30   $    8.85               $    55.35   $    55.35
  6/30/2019 Elvis Garcia                  $9.00   51.87   $   10.00   $   51.87   $    59.33   $   111.20
   7/7/2019 Elvis Garcia                 $10.00   51.95   $   10.00               $    59.75   $    59.75
  7/14/2019 Elvis Garcia                 $10.00   62.20   $   10.00               $   111.00   $   111.00
  7/21/2019 Elvis Garcia                 $10.00   42.68   $   10.00               $    13.42   $    13.42
  7/28/2019 Elvis Garcia                 $10.00   55.27   $   10.00               $    76.33   $    76.33
   8/4/2019 Elvis Garcia                 $10.00   61.70   $   10.00               $   108.50   $   108.50
  8/11/2019 Elvis Garcia                 $10.00   63.95   $   10.00               $   119.75   $   119.75
  8/18/2019 Elvis Garcia                 $10.00   52.85   $   10.00               $    64.25   $    64.25
  8/25/2019 Elvis Garcia                 $10.00   51.83   $   10.00               $    59.17   $    59.17
   9/1/2019 Elvis Garcia                 $10.00   53.28   $   10.00               $    66.42   $    66.42
   9/8/2019 Elvis Garcia                 $10.00   51.20   $   10.00               $    56.00   $    56.00
  9/15/2019 Elvis Garcia                 $10.00   60.23   $   10.00               $   101.17   $   101.17
  9/22/2019 Elvis Garcia                 $10.00   53.00   $   10.00               $    65.00   $    65.00
  9/29/2019 Elvis Garcia                 $10.00   52.62   $   10.00               $    63.08   $    63.08
  10/6/2019 Elvis Garcia                 $10.00   52.47   $   10.00               $    62.33   $    62.33
 10/13/2019 Elvis Garcia                 $10.00   51.50   $   10.00               $    57.50   $    57.50
 10/20/2019 Elvis Garcia                 $11.00   45.77   $   10.00               $    31.72   $    31.72
 10/27/2019 Elvis Garcia                 $11.00   56.05   $   10.00               $    88.27   $    88.27



                                           166
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 168 of 683 PageID: 1015
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  11/3/2019 Elvis Garcia                      $11.00   46.60   $   10.00               $    36.30   $    36.30
 11/10/2019 Elvis Garcia                      $11.00   47.45   $   10.00               $    40.98   $    40.98
 11/17/2019 Elvis Garcia                      $11.00   47.32   $   10.00               $    40.24   $    40.24
 11/24/2019 Elvis Garcia                      $11.00   47.02   $   10.00               $    38.59   $    38.59
  12/8/2019 Elvis Garcia                      $11.00   46.33   $   10.00               $    34.83   $    34.83
 12/15/2019 Elvis Garcia                      $10.00   50.67   $   10.00               $    53.33   $    53.33
 12/22/2019 Elvis Garcia                      $10.00   52.45   $   10.00               $    62.25   $    62.25
 12/29/2019 Elvis Garcia                      $10.00   40.22   $   10.00               $     1.08   $     1.08
  1/12/2020 Elvis Garcia                      $10.00   51.45   $   11.00   $   51.45   $    62.98   $   114.43
  1/19/2020 Elvis Garcia                      $10.00   50.75   $   11.00   $   50.75   $    59.13   $   109.88
  1/26/2020 Elvis Garcia                      $10.00   53.15   $   11.00   $   53.15   $    72.33   $   125.48
  4/30/2017 Elvis Garcia-                      $9.00   44.78   $    8.44               $    21.53   $    21.53
   5/7/2017 Elvis Garcia-                      $9.00   45.03   $    8.44               $    22.65   $    22.65
  5/14/2017 Elvis Garcia-                      $9.00   43.58   $    8.44               $    16.13   $    16.13
  5/21/2017 Elvis Garcia-                      $9.00   44.98   $    8.44               $    22.43   $    22.43
  5/28/2017 Elvis Garcia-                      $9.00   43.95   $    8.44               $    17.78   $    17.78
   6/4/2017 Elvis Garcia-                      $9.00   43.12   $    8.44               $    14.03   $    14.03
  6/11/2017 Elvis Garcia-                      $9.00   43.85   $    8.44               $    17.33   $    17.33
  6/18/2017 Elvis Garcia-                      $9.00   42.23   $    8.44               $    10.05   $    10.05
  6/25/2017 Elvis Garcia-                      $9.00   43.45   $    8.44               $    15.53   $    15.53
   7/2/2017 Elvis Garcia-                      $9.00   44.25   $    8.44               $    19.13   $    19.13
  7/16/2017 Elvis Garcia-                      $9.00   45.40   $    8.44               $    24.30   $    24.30
  7/23/2017 Elvis Garcia-                      $9.00   44.22   $    8.44               $    18.98   $    18.98
  7/30/2017 Elvis Garcia-                      $9.00   44.87   $    8.44               $    21.90   $    21.90
   8/6/2017 Elvis Garcia-                      $9.00   46.10   $    8.44               $    27.45   $    27.45
  8/13/2017 Elvis Garcia-                      $9.00   41.33   $    8.44               $     6.00   $     6.00
  8/20/2017 Elvis Garcia-                      $9.00   42.97   $    8.44               $    13.35   $    13.35
  8/27/2017 Elvis Garcia-                      $9.00   43.77   $    8.44               $    16.95   $    16.95
   9/3/2017 Elvis Garcia-                      $9.00   44.17   $    8.44               $    18.75   $    18.75
  9/10/2017 Elvis Garcia-                      $9.00   45.00   $    8.44               $    22.50   $    22.50
  9/17/2017 Elvis Garcia-                      $9.00   43.07   $    8.44               $    13.80   $    13.80
  9/24/2017 Elvis Garcia-                      $9.00   41.23   $    8.44               $     5.55   $     5.55
  10/1/2017 Elvis Garcia-                      $9.00   44.77   $    8.44               $    21.45   $    21.45
  10/8/2017 Elvis Garcia-                      $9.00   45.38   $    8.44               $    24.23   $    24.23
 10/15/2017 Elvis Garcia-                      $9.00   47.97   $    8.44               $    35.85   $    35.85
 10/22/2017 Elvis Garcia-                      $9.00   48.25   $    8.44               $    37.13   $    37.13
 10/29/2017 Elvis Garcia-                      $9.00   45.95   $    8.44               $    26.78   $    26.78
  11/5/2017 Elvis Garcia-                      $9.00   43.83   $    8.44               $    17.25   $    17.25
 11/26/2017 Elvis Garcia-                      $9.00   45.02   $    8.44               $    22.58   $    22.58
  12/3/2017 Elvis Garcia-                      $9.00   46.83   $    8.44               $    30.75   $    30.75
 12/10/2017 Elvis Garcia-                      $9.00   45.50   $    8.44               $    24.75   $    24.75
   2/5/2017 Emanuel Francisco                 $16.00   60.15   $    8.44               $   161.20   $   161.20
  2/12/2017 Emanuel Francisco                 $16.00   49.43   $    8.44               $    75.47   $    75.47
  2/19/2017 Emanuel Francisco                 $16.00   59.53   $    8.44               $   156.27   $   156.27
  2/26/2017 Emanuel Francisco                 $16.00   51.75   $    8.44               $    94.00   $    94.00
   3/5/2017 Emanuel Francisco                 $16.00   51.75   $    8.44               $    94.00   $    94.00
  3/12/2017 Emanuel Francisco                 $16.00   61.72   $    8.44               $   173.73   $   173.73
  3/19/2017 Emanuel Francisco                 $16.00   46.92   $    8.44               $    55.33   $    55.33
  3/26/2017 Emanuel Francisco                 $16.00   61.40   $    8.44               $   171.20   $   171.20
   4/2/2017 Emanuel Francisco                 $16.00   64.43   $    8.44               $   195.47   $   195.47



                                                167
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 169 of 683 PageID: 1016
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

   4/9/2017 Emanuel Francisco                 $16.00   45.75   $   8.44          $    46.00   $     46.00
  4/16/2017 Emanuel Francisco                 $16.00   40.82   $   8.44          $     6.53   $      6.53
  4/23/2017 Emanuel Francisco                 $16.00   50.58   $   8.44          $    84.67   $     84.67
  4/30/2017 Emanuel Francisco                 $16.00   63.50   $   8.44          $   188.00   $    188.00
   5/7/2017 Emanuel Francisco                 $16.00   64.37   $   8.44          $   194.93   $    194.93
  5/14/2017 Emanuel Francisco                 $16.00   57.52   $   8.44          $   140.13   $    140.13
  5/21/2017 Emanuel Francisco                 $16.00   54.70   $   8.44          $   117.60   $    117.60
  5/28/2017 Emanuel Francisco                 $16.00   58.70   $   8.44          $   149.60   $    149.60
   6/4/2017 Emanuel Francisco                 $16.00   60.48   $   8.44          $   163.87   $    163.87
  6/11/2017 Emanuel Francisco                 $16.00   59.00   $   8.44          $   152.00   $    152.00
  6/18/2017 Emanuel Francisco                 $16.00   58.00   $   8.44          $   144.00   $    144.00
  6/25/2017 Emanuel Francisco                 $16.00   62.63   $   8.44          $   181.07   $    181.07
   7/2/2017 Emanuel Francisco                 $16.00   52.82   $   8.44          $   102.53   $    102.53
   7/9/2017 Emanuel Francisco                 $16.00   45.93   $   8.44          $    47.47   $     47.47
  7/16/2017 Emanuel Francisco                 $16.00   60.85   $   8.44          $   166.80   $    166.80
  7/23/2017 Emanuel Francisco                 $16.00   56.90   $   8.44          $   135.20   $    135.20
  7/30/2017 Emanuel Francisco                 $16.00   61.73   $   8.44          $   173.87   $    173.87
   8/6/2017 Emanuel Francisco                 $16.00   59.25   $   8.44          $   154.00   $    154.00
  8/20/2017 Emanuel Francisco                 $16.00   59.23   $   8.44          $   153.87   $    153.87
  8/27/2017 Emanuel Francisco                 $16.00   59.70   $   8.44          $   157.60   $    157.60
   9/3/2017 Emanuel Francisco                 $16.00   55.55   $   8.44          $   124.40   $    124.40
  9/10/2017 Emanuel Francisco                 $16.00   60.00   $   8.44          $   160.00   $    160.00
  9/17/2017 Emanuel Francisco                 $16.00   56.82   $   8.44          $   134.53   $    134.53
  9/24/2017 Emanuel Francisco                 $16.00   63.05   $   8.44          $   184.40   $    184.40
  10/1/2017 Emanuel Francisco                 $16.00   68.23   $   8.44          $   225.87   $    225.87
  10/8/2017 Emanuel Francisco                 $16.00   53.35   $   8.44          $   106.80   $    106.80
 10/15/2017 Emanuel Francisco                 $16.00   53.35   $   8.44          $   106.80   $    106.80
 10/22/2017 Emanuel Francisco                 $16.00   62.25   $   8.44          $   178.00   $    178.00
 10/29/2017 Emanuel Francisco                 $16.00   60.85   $   8.44          $   166.80   $    166.80
  11/5/2017 Emanuel Francisco                 $16.00   51.00   $   8.44          $    88.00   $     88.00
 11/12/2017 Emanuel Francisco                 $16.00   43.45   $   8.44          $    27.60   $     27.60
 11/19/2017 Emanuel Francisco                 $16.00   60.38   $   8.44          $   163.07   $    163.07
 11/26/2017 Emanuel Francisco                 $16.00   45.85   $   8.44          $    46.80   $     46.80
  12/3/2017 Emanuel Francisco                 $16.00   58.08   $   8.44          $   144.67   $    144.67
 12/10/2017 Emanuel Francisco                 $16.00   54.98   $   8.44          $   119.87   $    119.87
 12/17/2017 Emanuel Francisco                 $16.00   60.35   $   8.44          $   162.80   $    162.80
 12/24/2017 Emanuel Francisco                 $16.00   62.62   $   8.44          $   180.93   $    180.93
 12/31/2017 Emanuel Francisco                 $16.00   47.38   $   8.44          $    59.07   $     59.07
  1/14/2018 Emanuel Francisco                 $16.00   56.48   $   8.60          $   131.87   $    131.87
  1/21/2018 Emanuel Francisco                 $16.00   54.02   $   8.60          $   112.13   $    112.13
  1/28/2018 Emanuel Francisco                 $16.00   56.98   $   8.60          $   135.87   $    135.87
   2/4/2018 Emanuel Francisco                 $16.00   58.58   $   8.60          $   148.67   $    148.67
  2/11/2018 Emanuel Francisco                 $16.00   56.97   $   8.60          $   135.73   $    135.73
  2/18/2018 Emanuel Francisco                 $16.00   59.03   $   8.60          $   152.27   $    152.27
  2/25/2018 Emanuel Francisco                 $16.00   65.83   $   8.60          $   206.67   $    206.67
   3/4/2018 Emanuel Francisco                 $16.00   53.22   $   8.60          $   105.73   $    105.73
  3/25/2018 Emanuel Francisco                 $16.00   53.80   $   8.60          $   110.40   $    110.40
   4/1/2018 Emanuel Francisco                 $16.00   55.13   $   8.60          $   121.07   $    121.07
   4/8/2018 Emanuel Francisco                 $16.00   43.40   $   8.60          $    27.20   $     27.20
  4/15/2018 Emanuel Francisco                 $16.00   59.53   $   8.60          $   156.27   $    156.27



                                                168
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 170 of 683 PageID: 1017
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                     Name                         Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

   5/6/2018 Emanuel Francisco               $16.00   42.03   $    8.60         $    16.27   $     16.27
  5/13/2018 Emanuel Francisco               $16.00   40.43   $    8.60         $     3.47   $      3.47
   7/1/2018 Emanuel Francisco               $16.00   48.07   $    8.60         $    64.53   $     64.53
  7/22/2018 Emanuel Francisco               $16.00   56.40   $    8.60         $   131.20   $    131.20
  7/29/2018 Emanuel Francisco               $16.00   54.87   $    8.60         $   118.93   $    118.93
   8/5/2018 Emanuel Francisco               $16.00   44.62   $    8.60         $    36.93   $     36.93
  8/12/2018 Emanuel Francisco               $16.00   64.68   $    8.60         $   197.47   $    197.47
  8/26/2018 Emanuel Francisco               $16.00   53.70   $    8.60         $   109.60   $    109.60
   9/2/2018 Emanuel Francisco               $16.00   49.05   $    8.60         $    72.40   $     72.40
  9/23/2018 Emanuel Francisco               $16.00   54.42   $    8.60         $   115.33   $    115.33
  9/30/2018 Emanuel Francisco               $16.00   51.25   $    8.60         $    90.00   $     90.00
  10/7/2018 Emanuel Francisco               $16.00   56.48   $    8.60         $   131.87   $    131.87
 10/14/2018 Emanuel Francisco               $16.00   48.37   $    8.60         $    66.93   $     66.93
 10/21/2018 Emanuel Francisco               $16.00   41.87   $    8.60         $    14.93   $     14.93
 10/28/2018 Emanuel Francisco               $16.00   52.73   $    8.60         $   101.87   $    101.87
  11/4/2018 Emanuel Francisco               $16.00   52.78   $    8.60         $   102.27   $    102.27
 11/11/2018 Emanuel Francisco               $16.00   52.78   $    8.60         $   102.27   $    102.27
 11/18/2018 Emanuel Francisco               $16.00   48.90   $    8.60         $    71.20   $     71.20
  12/2/2018 Emanuel Francisco               $16.00   56.85   $    8.60         $   134.80   $    134.80
  12/9/2018 Emanuel Francisco               $16.00   43.57   $    8.60         $    28.53   $     28.53
 12/23/2018 Emanuel Francisco               $16.00   42.78   $    8.60         $    22.27   $     22.27
  1/13/2019 Emanuel Francisco               $16.00   55.30   $    8.85         $   122.40   $    122.40
  1/20/2019 Emanuel Francisco               $16.00   45.25   $    8.85         $    42.00   $     42.00
  1/27/2019 Emanuel Francisco               $16.00   52.62   $    8.85         $   100.93   $    100.93
   2/3/2019 Emanuel Francisco               $16.00   59.10   $    8.85         $   152.80   $    152.80
  2/24/2019 Emanuel Francisco               $16.00   48.10   $    8.85         $    64.80   $     64.80
   3/3/2019 Emanuel Francisco               $16.00   53.45   $    8.85         $   107.60   $    107.60
  3/17/2019 Emanuel Francisco               $16.00   50.13   $    8.85         $    81.07   $     81.07
  3/24/2019 Emanuel Francisco               $16.00   49.37   $    8.85         $    74.93   $     74.93
  3/31/2019 Emanuel Francisco               $16.00   51.27   $    8.85         $    90.13   $     90.13
   4/7/2019 Emanuel Francisco               $16.00   51.92   $    8.85         $    95.33   $     95.33
  4/14/2019 Emanuel Francisco               $16.00   45.35   $    8.85         $    42.80   $     42.80
   5/5/2019 Emanuel Francisco               $16.00   44.22   $    8.85         $    33.73   $     33.73
  5/12/2019 Emanuel Francisco               $16.00   51.33   $    8.85         $    90.67   $     90.67
  5/19/2019 Emanuel Francisco               $16.00   56.02   $    8.85         $   128.13   $    128.13
  5/26/2019 Emanuel Francisco               $16.00   44.63   $    8.85         $    37.07   $     37.07
   6/2/2019 Emanuel Francisco               $16.00   48.68   $    8.85         $    69.47   $     69.47
   6/9/2019 Emanuel Francisco               $16.00   43.87   $    8.85         $    30.93   $     30.93
  6/23/2019 Emanuel Francisco               $16.00   50.37   $    8.85         $    82.93   $     82.93
  6/30/2019 Emanuel Francisco               $16.00   61.45   $   10.00         $   171.60   $    171.60
  7/14/2019 Emanuel Francisco               $16.00   59.17   $   10.00         $   153.33   $    153.33
  7/21/2019 Emanuel Francisco               $16.00   54.53   $   10.00         $   116.27   $    116.27
  7/28/2019 Emanuel Francisco               $16.00   43.32   $   10.00         $    26.53   $     26.53
   8/4/2019 Emanuel Francisco               $16.00   53.65   $   10.00         $   109.20   $    109.20
  8/18/2019 Emanuel Francisco               $16.00   48.15   $   10.00         $    65.20   $     65.20
  8/25/2019 Emanuel Francisco               $16.00   44.43   $   10.00         $    35.47   $     35.47
   1/5/2020 Emanuel Francisco               $17.00   50.23   $   11.00         $    86.98   $     86.98
  1/19/2020 Emanuel Francisco               $17.00   42.72   $   11.00         $    23.09   $     23.09
  5/27/2018 Emmanuelle Minaya Rosa           $9.00   57.93   $    8.60         $    80.70   $     80.70
   6/3/2018 Emmanuelle Minaya Rosa           $9.00   47.65   $    8.60         $    34.43   $     34.43



                                              169
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 171 of 683 PageID: 1018
                                                      Exhibit 2
                                              New Jersey Computations


   Week                                                              State Section 7: Section 7: Total Section 7
                                                     Hourly Hours/
  Ending                       Name                                Minumum Regular    Half-Time Overtime Back
                                                      Rate Week
   Date                                                              Wage  Rate Due     Due       Wages Due

  6/17/2018 Emmanuelle Minaya Rosa                    $9.00   47.67   $    8.60               $    34.50   $    34.50
  6/24/2018 Emmanuelle Minaya Rosa                    $9.00   57.57   $    8.60               $    79.05   $    79.05
   7/1/2018 Emmanuelle Minaya Rosa                    $9.00   57.40   $    8.60               $    78.30   $    78.30
   7/8/2018 Emmanuelle Minaya Rosa                    $9.00   52.33   $    8.60               $    55.50   $    55.50
  7/15/2018 Emmanuelle Minaya Rosa                    $9.00   57.72   $    8.60               $    79.73   $    79.73
  7/22/2018 Emmanuelle Minaya Rosa                    $9.00   57.17   $    8.60               $    77.25   $    77.25
  7/29/2018 Emmanuelle Minaya Rosa                    $9.00   57.88   $    8.60               $    80.48   $    80.48
   8/5/2018 Emmanuelle Minaya Rosa                    $9.00   57.40   $    8.60               $    78.30   $    78.30
  8/12/2018 Emmanuelle Minaya Rosa                    $9.00   57.98   $    8.60               $    80.93   $    80.93
   7/7/2019 Encarnacion Velasquez Quix0n             $10.00   49.00   $   10.00               $    45.00   $    45.00
  7/14/2019 Encarnacion Velasquez Quix0n             $10.00   59.02   $   10.00               $    95.08   $    95.08
  7/21/2019 Encarnacion Velasquez Quix0n             $10.00   58.88   $   10.00               $    94.42   $    94.42
  7/28/2019 Encarnacion Velasquez Quix0n             $10.00   59.08   $   10.00               $    95.42   $    95.42
   8/4/2019 Encarnacion Velasquez Quix0n             $10.00   59.05   $   10.00               $    95.25   $    95.25
  8/11/2019 Encarnacion Velasquez Quix0n             $10.00   59.10   $   10.00               $    95.50   $    95.50
  8/18/2019 Encarnacion Velasquez Quix0n             $10.00   59.02   $   10.00               $    95.08   $    95.08
  8/25/2019 Encarnacion Velasquez Quix0n             $10.00   59.02   $   10.00               $    95.08   $    95.08
   9/1/2019 Encarnacion Velasquez Quix0n             $10.00   59.12   $   10.00               $    95.58   $    95.58
   9/8/2019 Encarnacion Velasquez Quix0n             $10.00   49.10   $   10.00               $    45.50   $    45.50
  9/15/2019 Encarnacion Velasquez Quix0n             $10.00   59.20   $   10.00               $    96.00   $    96.00
  9/22/2019 Encarnacion Velasquez Quix0n             $10.00   59.00   $   10.00               $    95.00   $    95.00
  9/29/2019 Encarnacion Velasquez Quix0n             $10.00   58.87   $   10.00               $    94.33   $    94.33
  10/6/2019 Encarnacion Velasquez Quix0n             $10.00   58.85   $   10.00               $    94.25   $    94.25
 10/13/2019 Encarnacion Velasquez Quix0n             $10.00   58.77   $   10.00               $    93.83   $    93.83
 10/20/2019 Encarnacion Velasquez Quix0n             $11.00   58.87   $   10.00               $   103.77   $   103.77
 10/27/2019 Encarnacion Velasquez Quix0n             $11.00   48.95   $   10.00               $    49.23   $    49.23
  11/3/2019 Encarnacion Velasquez Quix0n             $11.00   59.02   $   10.00               $   104.59   $   104.59
 11/10/2019 Encarnacion Velasquez Quix0n             $11.00   58.97   $   10.00               $   104.32   $   104.32
 11/17/2019 Encarnacion Velasquez Quix0n             $11.00   59.02   $   10.00               $   104.59   $   104.59
 11/24/2019 Encarnacion Velasquez Quix0n             $11.00   58.85   $   10.00               $   103.68   $   103.68
  12/1/2019 Encarnacion Velasquez Quix0n             $11.00   49.03   $   10.00               $    49.68   $    49.68
  12/8/2019 Encarnacion Velasquez Quix0n             $11.00   59.10   $   10.00               $   105.05   $   105.05
 12/15/2019 Encarnacion Velasquez Quix0n             $10.00   59.07   $   10.00               $    95.33   $    95.33
 12/22/2019 Encarnacion Velasquez Quix0n             $10.00   59.10   $   10.00               $    95.50   $    95.50
 12/29/2019 Encarnacion Velasquez Quix0n             $10.00   45.13   $   10.00               $    25.67   $    25.67
   1/5/2020 Encarnacion Velasquez Quix0n             $10.00   40.45   $   11.00   $   40.45   $     2.47   $    42.93
  1/26/2020 Encarnacion Velasquez Quix0n             $10.00   59.10   $   11.00   $   59.10   $   105.05   $   164.15
  6/16/2019 Encarnacion Velasquez Quixan              $8.85   59.02   $    8.85               $    84.15   $    84.15
  6/23/2019 Encarnacion Velasquez Quixan              $8.85   59.23   $    8.85               $    85.11   $    85.11
  6/30/2019 Encarnacion Velasquez Quixan              $8.85   58.95   $   10.00   $   67.79   $    94.75   $   162.54
  4/14/2019 Engel Retityo                            $10.00   56.10   $    8.85               $    80.50   $    80.50
  4/21/2019 Engel Retityo                            $10.00   59.23   $    8.85               $    96.17   $    96.17
  4/28/2019 Engel Retityo                            $10.00   46.87   $    8.85               $    34.33   $    34.33
   5/5/2019 Engel Retityo                            $10.00   48.23   $    8.85               $    41.17   $    41.17
  5/12/2019 Engel Retityo                            $10.00   45.38   $    8.85               $    26.92   $    26.92
   8/4/2019 Engell Alcantara                          $9.00   57.73   $   10.00   $   57.73   $    88.67   $   146.40
  8/11/2019 Engell Alcantara                          $9.00   50.55   $   10.00   $   50.55   $    52.75   $   103.30
  6/24/2018 Enrique Antonio Rojas Rodriguez           $8.60   71.50   $    8.60               $   135.45   $   135.45
   7/1/2018 Enrique Antonio Rojas Rodriguez           $8.60   70.85   $    8.60               $   132.66   $   132.66
   7/8/2018 Enrique Antonio Rojas Rodriguez           $8.60   61.08   $    8.60               $    90.66   $    90.66



                                                       170
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 172 of 683 PageID: 1019
                                                      Exhibit 2
                                              New Jersey Computations


   Week                                                              State Section 7: Section 7: Total Section 7
                                                     Hourly Hours/
  Ending                       Name                                Minumum Regular    Half-Time Overtime Back
                                                      Rate Week
   Date                                                              Wage  Rate Due     Due       Wages Due

  7/15/2018 Enrique Antonio Rojas Rodriguez           $9.50   71.95   $    8.60               $   151.76   $   151.76
  7/22/2018 Enrique Antonio Rojas Rodriguez           $9.50   71.78   $    8.60               $   150.97   $   150.97
  7/29/2018 Enrique Antonio Rojas Rodriguez           $9.50   73.00   $    8.60               $   156.75   $   156.75
   8/5/2018 Enrique Antonio Rojas Rodriguez           $9.50   71.72   $    8.60               $   150.65   $   150.65
  8/12/2018 Enrique Antonio Rojas Rodriguez           $9.50   55.67   $    8.60               $    74.42   $    74.42
  8/19/2018 Enrique Antonio Rojas Rodriguez           $9.50   68.15   $    8.60               $   133.71   $   133.71
  8/26/2018 Enrique Antonio Rojas Rodriguez           $9.50   55.90   $    8.60               $    75.53   $    75.53
   9/2/2018 Enrique Antonio Rojas Rodriguez           $9.50   66.45   $    8.60               $   125.64   $   125.64
   9/9/2018 Enrique Antonio Rojas Rodriguez           $9.50   62.25   $    8.60               $   105.69   $   105.69
  9/16/2018 Enrique Antonio Rojas Rodriguez           $9.50   65.23   $    8.60               $   119.86   $   119.86
  9/23/2018 Enrique Antonio Rojas Rodriguez           $9.50   67.48   $    8.60               $   130.55   $   130.55
  9/30/2018 Enrique Antonio Rojas Rodriguez           $9.50   68.53   $    8.60               $   135.53   $   135.53
  10/7/2018 Enrique Antonio Rojas Rodriguez           $9.50   67.10   $    8.60               $   128.73   $   128.73
 10/14/2018 Enrique Antonio Rojas Rodriguez           $9.50   69.40   $    8.60               $   139.65   $   139.65
 10/21/2018 Enrique Antonio Rojas Rodriguez           $9.50   55.12   $    8.60               $    71.80   $    71.80
 10/28/2018 Enrique Antonio Rojas Rodriguez           $9.50   66.30   $    8.60               $   124.93   $   124.93
  11/4/2018 Enrique Antonio Rojas Rodriguez           $9.50   66.92   $    8.60               $   127.85   $   127.85
 11/11/2018 Enrique Antonio Rojas Rodriguez           $9.50   53.85   $    8.60               $    65.79   $    65.79
 11/18/2018 Enrique Antonio Rojas Rodriguez           $9.50   65.87   $    8.60               $   122.87   $   122.87
 11/25/2018 Enrique Antonio Rojas Rodriguez           $9.50   44.57   $    8.60               $    21.69   $    21.69
  12/2/2018 Enrique Antonio Rojas Rodriguez           $9.50   68.77   $    8.60               $   136.64   $   136.64
  12/9/2018 Enrique Antonio Rojas Rodriguez           $9.50   64.70   $    8.60               $   117.33   $   117.33
 12/16/2018 Enrique Antonio Rojas Rodriguez           $9.50   60.77   $    8.60               $    98.64   $    98.64
 12/23/2018 Enrique Antonio Rojas Rodriguez           $9.50   57.40   $    8.60               $    82.65   $    82.65
   1/6/2019 Enrique Antonio Rojas Rodriguez           $9.50   46.85   $    8.85               $    32.54   $    32.54
  1/13/2019 Enrique Antonio Rojas Rodriguez           $9.50   64.32   $    8.85               $   115.50   $   115.50
  1/20/2019 Enrique Antonio Rojas Rodriguez           $9.50   67.08   $    8.85               $   128.65   $   128.65
  1/27/2019 Enrique Antonio Rojas Rodriguez           $9.50   65.60   $    8.85               $   121.60   $   121.60
   2/3/2019 Enrique Antonio Rojas Rodriguez           $9.50   66.83   $    8.85               $   127.46   $   127.46
  2/10/2019 Enrique Antonio Rojas Rodriguez           $9.50   68.27   $    8.85               $   134.27   $   134.27
  2/17/2019 Enrique Antonio Rojas Rodriguez           $9.50   65.07   $    8.85               $   119.07   $   119.07
  2/24/2019 Enrique Antonio Rojas Rodriguez           $9.50   62.60   $    8.85               $   107.35   $   107.35
   3/3/2019 Enrique Antonio Rojas Rodriguez           $9.50   67.48   $    8.85               $   130.55   $   130.55
  3/10/2019 Enrique Antonio Rojas Rodriguez           $9.50   43.78   $    8.85               $    17.97   $    17.97
  3/17/2019 Enrique Antonio Rojas Rodriguez           $9.50   61.42   $    8.85               $   101.73   $   101.73
  3/24/2019 Enrique Antonio Rojas Rodriguez           $9.50   66.43   $    8.85               $   125.56   $   125.56
  3/31/2019 Enrique Antonio Rojas Rodriguez           $9.50   67.00   $    8.85               $   128.25   $   128.25
   4/7/2019 Enrique Antonio Rojas Rodriguez           $9.50   65.38   $    8.85               $   120.57   $   120.57
  4/14/2019 Enrique Antonio Rojas Rodriguez           $9.50   66.22   $    8.85               $   124.53   $   124.53
  4/21/2019 Enrique Antonio Rojas Rodriguez           $9.50   65.25   $    8.85               $   119.94   $   119.94
  4/28/2019 Enrique Antonio Rojas Rodriguez           $9.50   64.77   $    8.85               $   117.64   $   117.64
   5/5/2019 Enrique Antonio Rojas Rodriguez           $9.50   68.03   $    8.85               $   133.16   $   133.16
  5/12/2019 Enrique Antonio Rojas Rodriguez           $9.50   67.85   $    8.85               $   132.29   $   132.29
  5/19/2019 Enrique Antonio Rojas Rodriguez           $9.50   68.62   $    8.85               $   135.93   $   135.93
  5/26/2019 Enrique Antonio Rojas Rodriguez           $9.50   68.25   $    8.85               $   134.19   $   134.19
   6/2/2019 Enrique Antonio Rojas Rodriguez           $9.50   62.95   $    8.85               $   109.01   $   109.01
   6/9/2019 Enrique Antonio Rojas Rodriguez           $9.50   67.55   $    8.85               $   130.86   $   130.86
  6/16/2019 Enrique Antonio Rojas Rodriguez           $9.50   68.48   $    8.85               $   135.30   $   135.30
  6/23/2019 Enrique Antonio Rojas Rodriguez           $9.50   67.63   $    8.85               $   131.26   $   131.26
  6/30/2019 Enrique Antonio Rojas Rodriguez           $9.50   68.68   $   10.00   $   34.34   $   143.42   $   177.76



                                                       171
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 173 of 683 PageID: 1020
                                                      Exhibit 2
                                              New Jersey Computations


   Week                                                              State Section 7: Section 7: Total Section 7
                                                     Hourly Hours/
  Ending                       Name                                Minumum Regular    Half-Time Overtime Back
                                                      Rate Week
   Date                                                              Wage  Rate Due     Due       Wages Due

   7/7/2019 Enrique Antonio Rojas Rodriguez          $10.50   51.63   $   10.00               $    61.08   $    61.08
  7/14/2019 Enrique Antonio Rojas Rodriguez          $10.50   68.45   $   10.00               $   149.36   $   149.36
  7/21/2019 Enrique Antonio Rojas Rodriguez          $10.50   67.52   $   10.00               $   144.46   $   144.46
  7/28/2019 Enrique Antonio Rojas Rodriguez          $10.50   66.72   $   10.00               $   140.26   $   140.26
   8/4/2019 Enrique Antonio Rojas Rodriguez          $10.50   68.68   $   10.00               $   150.59   $   150.59
  8/11/2019 Enrique Antonio Rojas Rodriguez          $10.50   68.73   $   10.00               $   150.85   $   150.85
  8/18/2019 Enrique Antonio Rojas Rodriguez          $10.50   68.03   $   10.00               $   147.18   $   147.18
  8/25/2019 Enrique Antonio Rojas Rodriguez          $10.50   68.40   $   10.00               $   149.10   $   149.10
   9/1/2019 Enrique Antonio Rojas Rodriguez          $10.50   69.67   $   10.00               $   155.75   $   155.75
   9/8/2019 Enrique Antonio Rojas Rodriguez          $10.50   60.55   $   10.00               $   107.89   $   107.89
  9/15/2019 Enrique Antonio Rojas Rodriguez          $10.50   68.73   $   10.00               $   150.85   $   150.85
  9/22/2019 Enrique Antonio Rojas Rodriguez          $10.50   69.75   $   10.00               $   156.19   $   156.19
  9/29/2019 Enrique Antonio Rojas Rodriguez          $10.50   66.08   $   10.00               $   136.94   $   136.94
  10/6/2019 Enrique Antonio Rojas Rodriguez          $10.50   68.48   $   10.00               $   149.54   $   149.54
 10/13/2019 Enrique Antonio Rojas Rodriguez          $10.50   68.45   $   10.00               $   149.36   $   149.36
 10/20/2019 Enrique Antonio Rojas Rodriguez          $11.00   60.93   $   10.00               $   115.13   $   115.13
 10/27/2019 Enrique Antonio Rojas Rodriguez          $11.00   59.70   $   10.00               $   108.35   $   108.35
  11/3/2019 Enrique Antonio Rojas Rodriguez          $11.00   60.30   $   10.00               $   111.65   $   111.65
 11/10/2019 Enrique Antonio Rojas Rodriguez          $11.00   59.07   $   10.00               $   104.87   $   104.87
 11/17/2019 Enrique Antonio Rojas Rodriguez          $11.00   57.98   $   10.00               $    98.91   $    98.91
 11/24/2019 Enrique Antonio Rojas Rodriguez          $11.00   48.73   $   10.00               $    48.03   $    48.03
  12/1/2019 Enrique Antonio Rojas Rodriguez          $11.00   49.73   $   10.00               $    53.53   $    53.53
  12/8/2019 Enrique Antonio Rojas Rodriguez          $11.00   58.23   $   10.00               $   100.28   $   100.28
 12/15/2019 Enrique Antonio Rojas Rodriguez          $10.50   68.38   $   10.00               $   149.01   $   149.01
 12/22/2019 Enrique Antonio Rojas Rodriguez          $10.50   66.98   $   10.00               $   141.66   $   141.66
 12/29/2019 Enrique Antonio Rojas Rodriguez          $10.50   48.77   $   10.00               $    46.03   $    46.03
   1/5/2020 Enrique Antonio Rojas Rodriguez          $10.50   49.00   $   11.00   $   24.50   $    49.50   $    74.00
  1/12/2020 Enrique Antonio Rojas Rodriguez          $10.50   67.82   $   11.00   $   33.91   $   152.99   $   186.90
  1/19/2020 Enrique Antonio Rojas Rodriguez          $10.50   68.60   $   11.00   $   34.30   $   157.30   $   191.60
  1/26/2020 Enrique Antonio Rojas Rodriguez          $10.50   69.42   $   11.00   $   34.71   $   161.79   $   196.50
  11/4/2018 Eric Pabon                               $11.00   47.60   $    8.60               $    41.80   $    41.80
 11/11/2018 Eric Pabon                               $11.00   49.98   $    8.60               $    54.91   $    54.91
 11/18/2018 Eric Pabon                               $11.00   46.17   $    8.60               $    33.92   $    33.92
  12/2/2018 Eric Pabon                               $11.00   60.95   $    8.60               $   115.23   $   115.23
  12/9/2018 Eric Pabon                               $11.00   46.72   $    8.60               $    36.94   $    36.94
 12/16/2018 Eric Pabon                               $11.00   62.72   $    8.60               $   124.94   $   124.94
 12/23/2018 Eric Pabon                               $11.00   52.73   $    8.60               $    70.03   $    70.03
 12/30/2018 Eric Pabon                               $11.00   46.70   $    8.60               $    36.85   $    36.85
   1/6/2019 Eric Pabon                               $11.00   56.58   $    8.85               $    91.21   $    91.21
  1/13/2019 Eric Pabon                               $11.00   48.97   $    8.85               $    49.32   $    49.32
  1/20/2019 Eric Pabon                               $11.00   60.43   $    8.85               $   112.38   $   112.38
  1/27/2019 Eric Pabon                               $11.00   61.47   $    8.85               $   118.07   $   118.07
   2/3/2019 Eric Pabon                               $11.00   54.60   $    8.85               $    80.30   $    80.30
  2/10/2019 Eric Pabon                               $11.00   45.20   $    8.85               $    28.60   $    28.60
  2/17/2019 Eric Pabon                               $11.00   58.15   $    8.85               $    99.83   $    99.83
  2/24/2019 Eric Pabon                               $11.00   56.60   $    8.85               $    91.30   $    91.30
   3/3/2019 Eric Pabon                               $11.00   61.55   $    8.85               $   118.53   $   118.53
  3/10/2019 Eric Pabon                               $11.00   56.57   $    8.85               $    91.12   $    91.12
  3/17/2019 Eric Pabon                               $11.00   57.20   $    8.85               $    94.60   $    94.60
  3/24/2019 Eric Pabon                               $11.00   65.42   $    8.85               $   139.79   $   139.79



                                                       172
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 174 of 683 PageID: 1021
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                       Name                           Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

  3/31/2019 Eric Pabon                          $11.00   63.30   $    8.85               $   128.15   $   128.15
   4/7/2019 Eric Pabon                          $11.00   64.50   $    8.85               $   134.75   $   134.75
  4/14/2019 Eric Pabon                          $11.00   61.02   $    8.85               $   115.59   $   115.59
  4/21/2019 Eric Pabon                          $11.00   60.27   $    8.85               $   111.47   $   111.47
  4/28/2019 Eric Pabon                          $11.00   54.05   $    8.85               $    77.28   $    77.28
   5/5/2019 Eric Pabon                          $11.00   62.37   $    8.85               $   123.02   $   123.02
  5/12/2019 Eric Pabon                          $11.00   60.90   $    8.85               $   114.95   $   114.95
  5/19/2019 Eric Pabon                          $11.00   48.58   $    8.85               $    47.21   $    47.21
  5/26/2019 Eric Pabon                          $11.00   61.60   $    8.85               $   118.80   $   118.80
   6/2/2019 Eric Pabon                          $11.00   50.98   $    8.85               $    60.41   $    60.41
   6/9/2019 Eric Pabon                          $11.00   64.70   $    8.85               $   135.85   $   135.85
  6/16/2019 Eric Pabon                          $11.00   60.43   $    8.85               $   112.38   $   112.38
  6/23/2019 Eric Pabon                          $11.00   55.12   $    8.85               $    83.14   $    83.14
  6/30/2019 Eric Pabon                          $11.00   60.78   $   10.00               $   114.31   $   114.31
   7/7/2019 Eric Pabon                          $11.00   57.38   $   10.00               $    95.61   $    95.61
  7/14/2019 Eric Pabon                          $11.00   48.98   $   10.00               $    49.41   $    49.41
  7/28/2019 Eric Pabon                          $11.00   52.43   $   10.00               $    68.38   $    68.38
   8/4/2019 Eric Pabon                          $11.00   62.20   $   10.00               $   122.10   $   122.10
  8/11/2019 Eric Pabon                          $11.00   46.43   $   10.00               $    35.38   $    35.38
  1/12/2020 Eric Pabon                          $11.00   50.28   $   11.00               $    56.56   $    56.56
  1/19/2020 Eric Pabon                          $11.00   47.18   $   11.00               $    39.51   $    39.51
  1/26/2020 Eric Pabon                          $11.00   53.35   $   11.00               $    73.43   $    73.43
  1/19/2020 Erica Michelle Sandoval             $10.00   50.57   $   11.00   $   50.57   $    58.12   $   108.68
  1/26/2020 Erica Michelle Sandoval             $10.00   50.22   $   11.00   $   50.22   $    56.19   $   106.41
  4/14/2019 Erick Hernandez - New Cars          $10.00   68.72   $    8.85               $   143.58   $   143.58
  4/21/2019 Erick Hernandez - New Cars          $10.00   71.70   $    8.85               $   158.50   $   158.50
  4/28/2019 Erick Hernandez - New Cars          $10.00   64.17   $    8.85               $   120.83   $   120.83
   5/5/2019 Erick Hernandez - New Cars          $10.00   59.55   $    8.85               $    97.75   $    97.75
  9/30/2018 Erick Pena                           $8.60   64.52   $    8.60               $   105.42   $   105.42
 10/28/2018 Erick Pena                          $11.00   57.37   $    8.60               $    95.52   $    95.52
  11/4/2018 Erick Pena                          $11.00   61.62   $    8.60               $   118.89   $   118.89
  5/14/2017 Erick Troncoso                      $10.00   44.93   $    8.44               $    24.67   $    24.67
  5/21/2017 Erick Troncoso                      $10.00   40.20   $    8.44               $     1.00   $     1.00
  6/11/2017 Erick Troncoso                      $10.00   41.47   $    8.44               $     7.33   $     7.33
   7/2/2017 Erick Troncoso                      $10.00   45.17   $    8.44               $    25.83   $    25.83
   7/9/2017 Erick Troncoso                      $10.00   44.92   $    8.44               $    24.58   $    24.58
  7/23/2017 Erick Troncoso                      $10.00   44.25   $    8.44               $    21.25   $    21.25
  8/20/2017 Erick Troncoso                      $10.00   40.13   $    8.44               $     0.67   $     0.67
  5/27/2018 Erick Troncoso                      $10.00   41.12   $    8.60               $     5.58   $     5.58
  7/29/2018 Erick Troncoso                      $10.00   44.92   $    8.60               $    24.58   $    24.58
  8/19/2018 Erick Troncoso                      $10.00   47.83   $    8.60               $    39.17   $    39.17
  7/28/2019 Erick Troncoso                      $12.00   40.15   $   10.00               $     0.90   $     0.90
   8/4/2019 Erick Troncoso                      $12.00   40.10   $   10.00               $     0.60   $     0.60
  8/11/2019 Erick Troncoso                      $12.00   40.12   $   10.00               $     0.70   $     0.70
   2/5/2017 Erick Xicay                         $10.00   71.27   $    8.44               $   156.33   $   156.33
  2/12/2017 Erick Xicay                         $10.00   71.45   $    8.44               $   157.25   $   157.25
  2/19/2017 Erick Xicay                         $10.00   71.08   $    8.44               $   155.42   $   155.42
  2/26/2017 Erick Xicay                         $10.00   71.33   $    8.44               $   156.67   $   156.67
   3/5/2017 Erick Xicay                         $10.00   73.37   $    8.44               $   166.83   $   166.83
  3/12/2017 Erick Xicay                         $10.00   72.50   $    8.44               $   162.50   $   162.50



                                                  173
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 175 of 683 PageID: 1022
                                                    Exhibit 2
                                            New Jersey Computations


   Week                                                            State Section 7: Section 7: Total Section 7
                                                   Hourly Hours/
  Ending                        Name                             Minumum Regular    Half-Time Overtime Back
                                                    Rate Week
   Date                                                            Wage  Rate Due     Due       Wages Due

  3/19/2017 Erick Xicay                            $10.00   61.70   $    8.44               $   108.50   $   108.50
  3/26/2017 Erick Xicay                            $10.00   71.80   $    8.44               $   159.00   $   159.00
   4/2/2017 Erick Xicay                            $10.00   71.03   $    8.44               $   155.17   $   155.17
   4/9/2017 Erick Xicay                            $10.00   73.98   $    8.44               $   169.92   $   169.92
  4/16/2017 Erick Xicay                            $10.00   74.85   $    8.44               $   174.25   $   174.25
  4/23/2017 Erick Xicay                            $10.00   76.12   $    8.44               $   180.58   $   180.58
  4/30/2017 Erick Xicay                            $10.00   76.17   $    8.44               $   180.83   $   180.83
   5/7/2017 Erick Xicay                            $10.00   77.28   $    8.44               $   186.42   $   186.42
  5/14/2017 Erick Xicay                            $10.00   77.87   $    8.44               $   189.33   $   189.33
  5/21/2017 Erick Xicay                            $10.00   78.60   $    8.44               $   193.00   $   193.00
  5/28/2017 Erick Xicay                            $10.00   76.28   $    8.44               $   181.42   $   181.42
   6/4/2017 Erick Xicay                            $10.00   64.72   $    8.44               $   123.58   $   123.58
  6/11/2017 Erick Xicay                            $10.00   76.98   $    8.44               $   184.92   $   184.92
  6/18/2017 Erick Xicay                            $10.00   53.07   $    8.44               $    65.33   $    65.33
  12/8/2019 Erika Ortiz                            $10.00   62.35   $   10.00               $   111.75   $   111.75
 12/15/2019 Erika Ortiz                            $10.00   62.73   $   10.00               $   113.67   $   113.67
 12/22/2019 Erika Ortiz                            $10.00   51.58   $   10.00               $    57.92   $    57.92
 12/29/2019 Erika Ortiz                            $10.00   48.30   $   10.00               $    41.50   $    41.50
   1/5/2020 Erika Ortiz                            $10.00   40.97   $   11.00   $   40.97   $     5.32   $    46.28
  1/12/2020 Erika Ortiz                            $10.00   61.02   $   11.00   $   61.02   $   115.59   $   176.61
  1/19/2020 Erika Ortiz                            $10.00   62.60   $   11.00   $   62.60   $   124.30   $   186.90
  1/26/2020 Erika Ortiz                            $10.00   63.45   $   11.00   $   63.45   $   128.98   $   192.43
 12/29/2019 Eriksso Nahum Oliva                    $10.00   41.00   $   10.00               $     5.00   $     5.00
   1/5/2020 Eriksso Nahum Oliva                    $10.00   61.78   $   11.00   $   61.78   $   119.81   $   181.59
  1/12/2020 Eriksso Nahum Oliva                    $10.00   48.73   $   11.00   $   48.73   $    48.03   $    96.77
  1/19/2020 Eriksso Nahum Oliva                    $10.00   47.97   $   11.00   $   47.97   $    43.82   $    91.78
  1/26/2020 Eriksso Nahum Oliva                    $10.00   73.80   $   11.00   $   73.80   $   185.90   $   259.70
  10/6/2019 Eris Fernando Asencio Linares          $11.00   59.70   $   10.00               $   108.35   $   108.35
 10/13/2019 Eris Fernando Asencio Linares          $11.00   56.88   $   10.00               $    92.86   $    92.86
 10/20/2019 Eris Fernando Asencio Linares          $11.00   61.00   $   10.00               $   115.50   $   115.50
 10/27/2019 Eris Fernando Asencio Linares          $11.00   60.62   $   10.00               $   113.39   $   113.39
  11/3/2019 Eris Fernando Asencio Linares          $11.00   59.43   $   10.00               $   106.88   $   106.88
 11/10/2019 Eris Fernando Asencio Linares          $11.00   57.08   $   10.00               $    93.96   $    93.96
 11/17/2019 Eris Fernando Asencio Linares          $11.00   48.37   $   10.00               $    46.02   $    46.02
 11/24/2019 Eris Fernando Asencio Linares          $11.00   68.53   $   10.00               $   156.93   $   156.93
  12/1/2019 Eris Fernando Asencio Linares          $11.00   40.23   $   10.00               $     1.28   $     1.28
  12/8/2019 Eris Fernando Asencio Linares          $11.00   54.58   $   10.00               $    80.21   $    80.21
  7/15/2018 Ernesto Hernandez                      $10.00   59.97   $    8.60               $    99.83   $    99.83
  7/22/2018 Ernesto Hernandez                      $10.00   50.18   $    8.60               $    50.92   $    50.92
  7/29/2018 Ernesto Hernandez                      $10.00   59.45   $    8.60               $    97.25   $    97.25
   8/5/2018 Ernesto Hernandez                      $10.00   53.13   $    8.60               $    65.67   $    65.67
  8/12/2018 Ernesto Hernandez                      $10.00   59.48   $    8.60               $    97.42   $    97.42
  8/19/2018 Ernesto Hernandez                      $10.00   46.32   $    8.60               $    31.58   $    31.58
   9/2/2018 Ernesto Hernandez                      $10.00   60.50   $    8.60               $   102.50   $   102.50
   9/9/2018 Ernesto Hernandez                      $10.00   67.72   $    8.60               $   138.58   $   138.58
  9/16/2018 Ernesto Hernandez                      $10.00   71.65   $    8.60               $   158.25   $   158.25
  9/23/2018 Ernesto Hernandez                      $10.00   72.88   $    8.60               $   164.42   $   164.42
  9/30/2018 Ernesto Hernandez                      $10.00   70.25   $    8.60               $   151.25   $   151.25
  10/7/2018 Ernesto Hernandez                      $10.00   69.48   $    8.60               $   147.42   $   147.42
 10/14/2018 Ernesto Hernandez                      $10.00   67.22   $    8.60               $   136.08   $   136.08



                                                     174
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 176 of 683 PageID: 1023
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

 10/21/2018 Ernesto Hernandez                 $10.00   65.23   $    8.60         $   126.17   $    126.17
 10/28/2018 Ernesto Hernandez                 $10.00   55.93   $    8.60         $    79.67   $     79.67
  11/4/2018 Ernesto Hernandez                 $10.00   70.20   $    8.60         $   151.00   $    151.00
 11/11/2018 Ernesto Hernandez                 $10.00   71.03   $    8.60         $   155.17   $    155.17
 11/18/2018 Ernesto Hernandez                 $10.00   60.77   $    8.60         $   103.83   $    103.83
  2/24/2019 Ernesto Hernandez                 $10.00   58.35   $    8.85         $    91.75   $     91.75
   3/3/2019 Ernesto Hernandez                 $10.00   70.17   $    8.85         $   150.83   $    150.83
  3/10/2019 Ernesto Hernandez                 $10.00   44.50   $    8.85         $    22.50   $     22.50
  3/17/2019 Ernesto Hernandez                 $10.00   48.95   $    8.85         $    44.75   $     44.75
  3/24/2019 Ernesto Hernandez                 $10.00   43.98   $    8.85         $    19.92   $     19.92
   4/7/2019 Ernesto Hernandez                 $10.00   55.42   $    8.85         $    77.08   $     77.08
  4/14/2019 Ernesto Hernandez                 $10.00   53.53   $    8.85         $    67.67   $     67.67
  4/21/2019 Ernesto Hernandez                 $10.00   66.72   $    8.85         $   133.58   $    133.58
  4/28/2019 Ernesto Hernandez                 $10.00   49.73   $    8.85         $    48.67   $     48.67
   5/5/2019 Ernesto Hernandez                 $10.00   40.03   $    8.85         $     0.17   $      0.17
  5/12/2019 Ernesto Hernandez                 $10.00   42.82   $    8.85         $    14.08   $     14.08
  5/19/2019 Ernesto Hernandez                 $10.00   51.65   $    8.85         $    58.25   $     58.25
  5/26/2019 Ernesto Hernandez                 $10.00   41.68   $    8.85         $     8.42   $      8.42
   6/9/2019 Ernesto Hernandez                 $10.00   40.72   $    8.85         $     3.58   $      3.58
  6/30/2019 Ernesto Hernandez                 $10.00   46.47   $   10.00         $    32.33   $     32.33
  7/14/2019 Ernesto Hernandez                 $10.00   47.73   $   10.00         $    38.67   $     38.67
  7/21/2019 Ernesto Hernandez                 $10.00   47.48   $   10.00         $    37.42   $     37.42
  7/28/2019 Ernesto Hernandez                 $10.00   52.62   $   10.00         $    63.08   $     63.08
   8/4/2019 Ernesto Hernandez                 $10.00   56.45   $   10.00         $    82.25   $     82.25
   9/1/2019 Ernesto Hernandez                 $10.00   58.27   $   10.00         $    91.33   $     91.33
   9/8/2019 Ernesto Hernandez                 $10.00   58.53   $   10.00         $    92.67   $     92.67
  9/15/2019 Ernesto Hernandez                 $10.00   48.95   $   10.00         $    44.75   $     44.75
  9/22/2019 Ernesto Hernandez                 $10.00   58.28   $   10.00         $    91.42   $     91.42
  10/6/2019 Ernesto Hernandez                 $10.00   46.73   $   10.00         $    33.67   $     33.67
 10/13/2019 Ernesto Hernandez                 $10.00   46.47   $   10.00         $    32.33   $     32.33
 10/20/2019 Ernesto Hernandez                 $10.00   42.90   $   10.00         $    14.50   $     14.50
 10/27/2019 Ernesto Hernandez                 $10.00   48.98   $   10.00         $    44.92   $     44.92
 11/10/2019 Ernesto Hernandez                 $10.00   47.25   $   10.00         $    36.25   $     36.25
  3/10/2019 Ernesto Zavaleta                  $11.00   75.23   $    8.85         $   193.78   $    193.78
  3/17/2019 Ernesto Zavaleta                  $11.00   63.63   $    8.85         $   129.98   $    129.98
  3/24/2019 Ernesto Zavaleta                  $11.00   74.23   $    8.85         $   188.28   $    188.28
  3/31/2019 Ernesto Zavaleta                  $11.00   59.42   $    8.85         $   106.79   $    106.79
  4/15/2018 Errol Campbell                    $10.00   50.90   $    8.60         $    54.50   $     54.50
  4/22/2018 Errol Campbell                    $10.00   43.53   $    8.60         $    17.67   $     17.67
  4/29/2018 Errol Campbell                    $10.00   44.08   $    8.60         $    20.42   $     20.42
   5/6/2018 Errol Campbell                    $10.00   52.88   $    8.60         $    64.42   $     64.42
  5/20/2018 Errol Campbell                    $10.00   50.57   $    8.60         $    52.83   $     52.83
  5/27/2018 Errol Campbell                    $10.00   53.40   $    8.60         $    67.00   $     67.00
   6/3/2018 Errol Campbell                    $10.00   52.45   $    8.60         $    62.25   $     62.25
  6/10/2018 Errol Campbell                    $10.00   54.57   $    8.60         $    72.83   $     72.83
  6/17/2018 Errol Campbell                    $12.00   45.13   $    8.60         $    30.80   $     30.80
  6/24/2018 Errol Campbell                    $12.00   54.52   $    8.60         $    87.10   $     87.10
   7/1/2018 Errol Campbell                    $12.00   45.45   $    8.60         $    32.70   $     32.70
   7/8/2018 Errol Campbell                    $12.00   49.85   $    8.60         $    59.10   $     59.10
  7/15/2018 Errol Campbell                    $12.00   48.87   $    8.60         $    53.20   $     53.20



                                                175
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 177 of 683 PageID: 1024
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  7/22/2018 Errol Campbell                  $12.00   54.85   $    8.60         $    89.10   $     89.10
  7/29/2018 Errol Campbell                  $12.00   55.47   $    8.60         $    92.80   $     92.80
   8/5/2018 Errol Campbell                  $12.00   56.15   $    8.60         $    96.90   $     96.90
  8/12/2018 Errol Campbell                  $12.00   53.43   $    8.60         $    80.60   $     80.60
  8/19/2018 Errol Campbell                  $12.00   45.87   $    8.60         $    35.20   $     35.20
  8/26/2018 Errol Campbell                  $12.00   45.98   $    8.60         $    35.90   $     35.90
   9/2/2018 Errol Campbell                  $12.00   56.28   $    8.60         $    97.70   $     97.70
   9/9/2018 Errol Campbell                  $12.00   56.73   $    8.60         $   100.40   $    100.40
  9/16/2018 Errol Campbell                  $12.00   57.18   $    8.60         $   103.10   $    103.10
  9/23/2018 Errol Campbell                  $12.00   57.67   $    8.60         $   106.00   $    106.00
  9/30/2018 Errol Campbell                  $12.00   56.28   $    8.60         $    97.70   $     97.70
  10/7/2018 Errol Campbell                  $12.00   57.43   $    8.60         $   104.60   $    104.60
 10/14/2018 Errol Campbell                  $12.00   57.12   $    8.60         $   102.70   $    102.70
 10/21/2018 Errol Campbell                  $12.00   44.72   $    8.60         $    28.30   $     28.30
 10/28/2018 Errol Campbell                  $12.00   50.12   $    8.60         $    60.70   $     60.70
  11/4/2018 Errol Campbell                  $12.00   53.23   $    8.60         $    79.40   $     79.40
 11/11/2018 Errol Campbell                  $12.00   55.80   $    8.60         $    94.80   $     94.80
 11/18/2018 Errol Campbell                  $12.00   48.88   $    8.60         $    53.30   $     53.30
 11/25/2018 Errol Campbell                  $12.00   43.98   $    8.60         $    23.90   $     23.90
  12/2/2018 Errol Campbell                  $12.00   53.45   $    8.60         $    80.70   $     80.70
  12/9/2018 Errol Campbell                  $12.00   51.68   $    8.60         $    70.10   $     70.10
 12/16/2018 Errol Campbell                  $12.00   42.93   $    8.60         $    17.60   $     17.60
 12/23/2018 Errol Campbell                  $12.00   44.17   $    8.60         $    25.00   $     25.00
  1/13/2019 Errol Campbell                  $12.00   53.43   $    8.85         $    80.60   $     80.60
   1/6/2019 Esau De Jesus Alvarado          $14.00   62.00   $    8.85         $   154.00   $    154.00
  1/13/2019 Esau De Jesus Alvarado          $14.00   73.60   $    8.85         $   235.20   $    235.20
  1/20/2019 Esau De Jesus Alvarado          $14.00   73.57   $    8.85         $   234.97   $    234.97
  1/27/2019 Esau De Jesus Alvarado          $14.00   74.18   $    8.85         $   239.28   $    239.28
   2/3/2019 Esau De Jesus Alvarado          $14.00   73.58   $    8.85         $   235.08   $    235.08
  2/10/2019 Esau De Jesus Alvarado          $14.00   74.28   $    8.85         $   239.98   $    239.98
  2/17/2019 Esau De Jesus Alvarado          $14.00   73.82   $    8.85         $   236.72   $    236.72
  2/24/2019 Esau De Jesus Alvarado          $14.00   74.02   $    8.85         $   238.12   $    238.12
   3/3/2019 Esau De Jesus Alvarado          $14.00   73.90   $    8.85         $   237.30   $    237.30
  3/10/2019 Esau De Jesus Alvarado          $14.00   74.27   $    8.85         $   239.87   $    239.87
  3/17/2019 Esau De Jesus Alvarado          $14.00   75.15   $    8.85         $   246.05   $    246.05
  3/24/2019 Esau De Jesus Alvarado          $14.00   74.90   $    8.85         $   244.30   $    244.30
  3/31/2019 Esau De Jesus Alvarado          $14.00   74.42   $    8.85         $   240.92   $    240.92
   4/7/2019 Esau De Jesus Alvarado          $14.00   75.23   $    8.85         $   246.63   $    246.63
  4/14/2019 Esau De Jesus Alvarado          $14.00   74.70   $    8.85         $   242.90   $    242.90
  4/21/2019 Esau De Jesus Alvarado          $14.00   75.18   $    8.85         $   246.28   $    246.28
  4/28/2019 Esau De Jesus Alvarado          $14.00   75.52   $    8.85         $   248.62   $    248.62
   5/5/2019 Esau De Jesus Alvarado          $14.00   75.00   $    8.85         $   245.00   $    245.00
  5/12/2019 Esau De Jesus Alvarado          $14.00   74.38   $    8.85         $   240.68   $    240.68
  5/19/2019 Esau De Jesus Alvarado          $14.00   75.68   $    8.85         $   249.78   $    249.78
  5/26/2019 Esau De Jesus Alvarado          $14.00   74.30   $    8.85         $   240.10   $    240.10
   6/2/2019 Esau De Jesus Alvarado          $14.00   73.00   $    8.85         $   231.00   $    231.00
   6/9/2019 Esau De Jesus Alvarado          $14.00   74.88   $    8.85         $   244.18   $    244.18
  6/16/2019 Esau De Jesus Alvarado          $14.00   74.13   $    8.85         $   238.93   $    238.93
  6/23/2019 Esau De Jesus Alvarado          $14.00   74.45   $    8.85         $   241.15   $    241.15
  6/30/2019 Esau De Jesus Alvarado          $14.00   74.65   $   10.00         $   242.55   $    242.55



                                              176
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 178 of 683 PageID: 1025
                                                     Exhibit 2
                                             New Jersey Computations


   Week                                                             State Section 7: Section 7: Total Section 7
                                                    Hourly Hours/
  Ending                       Name                               Minumum Regular    Half-Time Overtime Back
                                                     Rate Week
   Date                                                             Wage  Rate Due     Due       Wages Due

   7/7/2019 Esau De Jesus Alvarado                  $14.00   61.55   $   10.00         $   150.85   $    150.85
  7/14/2019 Esau De Jesus Alvarado                  $14.00   74.28   $   10.00         $   239.98   $    239.98
  7/21/2019 Esau De Jesus Alvarado                  $14.00   74.75   $   10.00         $   243.25   $    243.25
  7/28/2019 Esau De Jesus Alvarado                  $14.00   74.90   $   10.00         $   244.30   $    244.30
   8/4/2019 Esau De Jesus Alvarado                  $14.00   74.57   $   10.00         $   241.97   $    241.97
  8/11/2019 Esau De Jesus Alvarado                  $14.00   74.23   $   10.00         $   239.63   $    239.63
  8/18/2019 Esau De Jesus Alvarado                  $14.00   74.83   $   10.00         $   243.83   $    243.83
  8/25/2019 Esau De Jesus Alvarado                  $14.00   74.55   $   10.00         $   241.85   $    241.85
   9/1/2019 Esau De Jesus Alvarado                  $14.00   76.28   $   10.00         $   253.98   $    253.98
   9/8/2019 Esau De Jesus Alvarado                  $14.00   70.68   $   10.00         $   214.78   $    214.78
  9/15/2019 Esau De Jesus Alvarado                  $14.00   74.27   $   10.00         $   239.87   $    239.87
  9/22/2019 Esau De Jesus Alvarado                  $14.00   74.88   $   10.00         $   244.18   $    244.18
  9/29/2019 Esau De Jesus Alvarado                  $14.00   75.00   $   10.00         $   245.00   $    245.00
  10/6/2019 Esau De Jesus Alvarado                  $14.00   74.88   $   10.00         $   244.18   $    244.18
 10/13/2019 Esau De Jesus Alvarado                  $14.00   74.97   $   10.00         $   244.77   $    244.77
 10/20/2019 Esau De Jesus Alvarado                  $14.00   74.57   $   10.00         $   241.97   $    241.97
 10/27/2019 Esau De Jesus Alvarado                  $14.00   74.75   $   10.00         $   243.25   $    243.25
  11/3/2019 Esau De Jesus Alvarado                  $14.00   74.40   $   10.00         $   240.80   $    240.80
 11/10/2019 Esau De Jesus Alvarado                  $14.00   75.03   $   10.00         $   245.23   $    245.23
 11/17/2019 Esau De Jesus Alvarado                  $14.00   73.92   $   10.00         $   237.42   $    237.42
 11/24/2019 Esau De Jesus Alvarado                  $14.00   74.27   $   10.00         $   239.87   $    239.87
  12/1/2019 Esau De Jesus Alvarado                  $14.00   61.98   $   10.00         $   153.88   $    153.88
  12/8/2019 Esau De Jesus Alvarado                  $14.00   74.90   $   10.00         $   244.30   $    244.30
 12/15/2019 Esau De Jesus Alvarado                  $14.00   75.05   $   10.00         $   245.35   $    245.35
 12/22/2019 Esau De Jesus Alvarado                  $14.00   76.43   $   10.00         $   255.03   $    255.03
 12/29/2019 Esau De Jesus Alvarado                  $14.00   61.50   $   10.00         $   150.50   $    150.50
   1/5/2020 Esau De Jesus Alvarado                  $14.00   62.95   $   11.00         $   160.65   $    160.65
  1/12/2020 Esau De Jesus Alvarado                  $14.00   75.10   $   11.00         $   245.70   $    245.70
  1/19/2020 Esau De Jesus Alvarado                  $14.00   75.30   $   11.00         $   247.10   $    247.10
  1/26/2020 Esau De Jesus Alvarado                  $14.00   74.85   $   11.00         $   243.95   $    243.95
   2/5/2017 Esau De Jesus Alvarado Alegria           $8.44   58.08   $    8.44         $    76.31   $     76.31
  2/12/2017 Esau De Jesus Alvarado Alegria           $8.44   54.60   $    8.44         $    61.61   $     61.61
  2/19/2017 Esau De Jesus Alvarado Alegria           $8.44   56.38   $    8.44         $    69.14   $     69.14
  2/26/2017 Esau De Jesus Alvarado Alegria           $8.44   52.78   $    8.44         $    53.95   $     53.95
   3/5/2017 Esau De Jesus Alvarado Alegria           $8.44   58.12   $    8.44         $    76.45   $     76.45
  3/12/2017 Esau De Jesus Alvarado Alegria           $8.44   58.07   $    8.44         $    76.24   $     76.24
  3/26/2017 Esau De Jesus Alvarado Alegria           $8.44   57.98   $    8.44         $    75.89   $     75.89
   4/2/2017 Esau De Jesus Alvarado Alegria           $8.44   52.88   $    8.44         $    54.37   $     54.37
   4/9/2017 Esau De Jesus Alvarado Alegria           $8.44   58.02   $    8.44         $    76.03   $     76.03
  4/16/2017 Esau De Jesus Alvarado Alegria           $8.44   59.62   $    8.44         $    82.78   $     82.78
  4/23/2017 Esau De Jesus Alvarado Alegria           $8.44   49.82   $    8.44         $    41.43   $     41.43
  4/30/2017 Esau De Jesus Alvarado Alegria           $8.44   51.97   $    8.44         $    50.50   $     50.50
   5/7/2017 Esau De Jesus Alvarado Alegria           $8.44   57.95   $    8.44         $    75.75   $     75.75
  5/14/2017 Esau De Jesus Alvarado Alegria           $8.44   53.75   $    8.44         $    58.03   $     58.03
  5/21/2017 Esau De Jesus Alvarado Alegria           $8.44   58.28   $    8.44         $    77.16   $     77.16
  5/28/2017 Esau De Jesus Alvarado Alegria           $8.44   56.23   $    8.44         $    68.50   $     68.50
   6/4/2017 Esau De Jesus Alvarado Alegria           $8.44   54.98   $    8.44         $    63.23   $     63.23
  6/11/2017 Esau De Jesus Alvarado Alegria           $8.44   57.05   $    8.44         $    71.95   $     71.95
  6/18/2017 Esau De Jesus Alvarado Alegria           $8.44   58.08   $    8.44         $    76.31   $     76.31
  6/25/2017 Esau De Jesus Alvarado Alegria           $8.44   48.67   $    8.44         $    36.57   $     36.57



                                                      177
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 179 of 683 PageID: 1026
                                                     Exhibit 2
                                             New Jersey Computations


   Week                                                             State Section 7: Section 7: Total Section 7
                                                    Hourly Hours/
  Ending                       Name                               Minumum Regular    Half-Time Overtime Back
                                                     Rate Week
   Date                                                             Wage  Rate Due     Due       Wages Due

   7/2/2017 Esau De Jesus Alvarado Alegria           $8.44   50.10   $   8.44          $    42.62   $     42.62
   7/9/2017 Esau De Jesus Alvarado Alegria           $8.44   49.07   $   8.44          $    38.26   $     38.26
  7/16/2017 Esau De Jesus Alvarado Alegria           $8.44   58.08   $   8.44          $    76.31   $     76.31
  7/23/2017 Esau De Jesus Alvarado Alegria           $8.44   50.08   $   8.44          $    42.55   $     42.55
  7/30/2017 Esau De Jesus Alvarado Alegria           $8.44   47.85   $   8.44          $    33.13   $     33.13
   8/6/2017 Esau De Jesus Alvarado Alegria           $8.44   60.55   $   8.44          $    86.72   $     86.72
  8/13/2017 Esau De Jesus Alvarado Alegria           $8.44   57.58   $   8.44          $    74.20   $     74.20
  8/20/2017 Esau De Jesus Alvarado Alegria           $8.44   58.88   $   8.44          $    79.69   $     79.69
  8/27/2017 Esau De Jesus Alvarado Alegria           $8.44   51.75   $   8.44          $    49.59   $     49.59
   9/3/2017 Esau De Jesus Alvarado Alegria           $8.44   58.17   $   8.44          $    76.66   $     76.66
  9/10/2017 Esau De Jesus Alvarado Alegria           $8.44   51.57   $   8.44          $    48.81   $     48.81
  9/17/2017 Esau De Jesus Alvarado Alegria           $8.44   54.53   $   8.44          $    61.33   $     61.33
  9/24/2017 Esau De Jesus Alvarado Alegria           $8.44   54.50   $   8.44          $    61.19   $     61.19
  10/1/2017 Esau De Jesus Alvarado Alegria           $8.44   54.82   $   8.44          $    62.53   $     62.53
  10/8/2017 Esau De Jesus Alvarado Alegria           $8.44   55.67   $   8.44          $    66.11   $     66.11
 10/15/2017 Esau De Jesus Alvarado Alegria           $8.44   58.28   $   8.44          $    77.16   $     77.16
 10/22/2017 Esau De Jesus Alvarado Alegria           $8.44   57.55   $   8.44          $    74.06   $     74.06
  11/5/2017 Esau De Jesus Alvarado Alegria           $8.44   47.95   $   8.44          $    33.55   $     33.55
 11/12/2017 Esau De Jesus Alvarado Alegria           $8.44   48.03   $   8.44          $    33.90   $     33.90
 11/19/2017 Esau De Jesus Alvarado Alegria           $8.44   57.88   $   8.44          $    75.47   $     75.47
 11/26/2017 Esau De Jesus Alvarado Alegria           $8.44   55.65   $   8.44          $    66.04   $     66.04
 12/10/2017 Esau De Jesus Alvarado Alegria           $8.44   57.30   $   8.44          $    73.01   $     73.01
 12/17/2017 Esau De Jesus Alvarado Alegria           $8.44   46.47   $   8.44          $    27.29   $     27.29
 12/24/2017 Esau De Jesus Alvarado Alegria           $8.44   50.27   $   8.44          $    43.33   $     43.33
 12/31/2017 Esau De Jesus Alvarado Alegria           $8.44   44.55   $   8.44          $    19.20   $     19.20
  1/14/2018 Esau De Jesus Alvarado Alegria           $8.60   57.40   $   8.60          $    74.82   $     74.82
  1/21/2018 Esau De Jesus Alvarado Alegria           $8.60   58.10   $   8.60          $    77.83   $     77.83
  1/28/2018 Esau De Jesus Alvarado Alegria           $8.60   58.10   $   8.60          $    77.83   $     77.83
   2/4/2018 Esau De Jesus Alvarado Alegria           $8.60   52.68   $   8.60          $    54.54   $     54.54
  2/11/2018 Esau De Jesus Alvarado Alegria           $8.60   53.27   $   8.60          $    57.05   $     57.05
  2/18/2018 Esau De Jesus Alvarado Alegria           $8.60   58.18   $   8.60          $    78.19   $     78.19
   3/4/2018 Esau De Jesus Alvarado Alegria           $8.60   48.12   $   8.60          $    34.90   $     34.90
  3/25/2018 Esau De Jesus Alvarado Alegria           $8.60   50.18   $   8.60          $    43.79   $     43.79
   4/1/2018 Esau De Jesus Alvarado Alegria           $8.60   58.10   $   8.60          $    77.83   $     77.83
   4/8/2018 Esau De Jesus Alvarado Alegria           $8.60   58.27   $   8.60          $    78.55   $     78.55
  4/15/2018 Esau De Jesus Alvarado Alegria           $8.60   46.73   $   8.60          $    28.95   $     28.95
  4/22/2018 Esau De Jesus Alvarado Alegria           $8.60   62.40   $   8.60          $    96.32   $     96.32
  4/29/2018 Esau De Jesus Alvarado Alegria           $8.60   65.12   $   8.60          $   108.00   $    108.00
   5/6/2018 Esau De Jesus Alvarado Alegria          $12.00   58.27   $   8.60          $   109.60   $    109.60
  5/13/2018 Esau De Jesus Alvarado Alegria          $12.00   65.75   $   8.60          $   154.50   $    154.50
  5/20/2018 Esau De Jesus Alvarado Alegria          $12.00   65.43   $   8.60          $   152.60   $    152.60
  5/27/2018 Esau De Jesus Alvarado Alegria          $12.00   64.40   $   8.60          $   146.40   $    146.40
   6/3/2018 Esau De Jesus Alvarado Alegria          $12.00   53.20   $   8.60          $    79.20   $     79.20
  6/10/2018 Esau De Jesus Alvarado Alegria          $12.00   57.80   $   8.60          $   106.80   $    106.80
  6/17/2018 Esau De Jesus Alvarado Alegria          $12.00   65.10   $   8.60          $   150.60   $    150.60
  6/24/2018 Esau De Jesus Alvarado Alegria          $12.00   65.33   $   8.60          $   152.00   $    152.00
   7/1/2018 Esau De Jesus Alvarado Alegria          $12.00   56.98   $   8.60          $   101.90   $    101.90
   7/8/2018 Esau De Jesus Alvarado Alegria          $12.00   44.82   $   8.60          $    28.90   $     28.90
  7/15/2018 Esau De Jesus Alvarado Alegria          $12.00   59.32   $   8.60          $   115.90   $    115.90
  7/22/2018 Esau De Jesus Alvarado Alegria          $12.00   63.02   $   8.60          $   138.10   $    138.10



                                                      178
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 180 of 683 PageID: 1027
                                                     Exhibit 2
                                             New Jersey Computations


   Week                                                             State Section 7: Section 7: Total Section 7
                                                    Hourly Hours/
  Ending                       Name                               Minumum Regular    Half-Time Overtime Back
                                                     Rate Week
   Date                                                             Wage  Rate Due     Due       Wages Due

  7/29/2018 Esau De Jesus Alvarado Alegria          $12.00   56.88   $   8.60          $   101.30   $    101.30
   8/5/2018 Esau De Jesus Alvarado Alegria          $12.00   58.60   $   8.60          $   111.60   $    111.60
  8/12/2018 Esau De Jesus Alvarado Alegria          $12.00   59.02   $   8.60          $   114.10   $    114.10
  8/19/2018 Esau De Jesus Alvarado Alegria          $12.00   60.45   $   8.60          $   122.70   $    122.70
  8/26/2018 Esau De Jesus Alvarado Alegria          $12.00   56.18   $   8.60          $    97.10   $     97.10
   9/2/2018 Esau De Jesus Alvarado Alegria          $12.00   63.02   $   8.60          $   138.10   $    138.10
   9/9/2018 Esau De Jesus Alvarado Alegria          $12.00   53.52   $   8.60          $    81.10   $     81.10
  9/16/2018 Esau De Jesus Alvarado Alegria          $12.00   54.58   $   8.60          $    87.50   $     87.50
   2/5/2017 Estanislao Pierrot                      $12.50   53.03   $   8.44          $    81.46   $     81.46
  2/12/2017 Estanislao Pierrot                      $12.50   53.92   $   8.44          $    86.98   $     86.98
  2/19/2017 Estanislao Pierrot                      $12.50   56.65   $   8.44          $   104.06   $    104.06
  2/26/2017 Estanislao Pierrot                      $12.50   54.90   $   8.44          $    93.13   $     93.13
   3/5/2017 Estanislao Pierrot                      $11.50   61.03   $   8.44          $   120.94   $    120.94
  3/12/2017 Estanislao Pierrot                      $11.50   62.42   $   8.44          $   128.90   $    128.90
  3/19/2017 Estanislao Pierrot                      $11.50   52.15   $   8.44          $    69.86   $     69.86
  3/26/2017 Estanislao Pierrot                      $11.50   65.98   $   8.44          $   149.40   $    149.40
   4/2/2017 Estanislao Pierrot                      $11.50   62.33   $   8.44          $   128.42   $    128.42
   4/9/2017 Estanislao Pierrot                      $11.50   61.27   $   8.44          $   122.28   $    122.28
  4/16/2017 Estanislao Pierrot                      $11.50   56.88   $   8.44          $    97.08   $     97.08
  4/23/2017 Estanislao Pierrot                      $11.50   43.98   $   8.44          $    22.90   $     22.90
  4/30/2017 Estanislao Pierrot                      $11.50   65.48   $   8.44          $   146.53   $    146.53
   5/7/2017 Estanislao Pierrot                      $11.50   61.52   $   8.44          $   123.72   $    123.72
  5/14/2017 Estanislao Pierrot                      $11.50   60.60   $   8.44          $   118.45   $    118.45
  5/21/2017 Estanislao Pierrot                      $11.50   64.03   $   8.44          $   138.19   $    138.19
  5/28/2017 Estanislao Pierrot                      $11.50   62.38   $   8.44          $   128.70   $    128.70
   6/4/2017 Estanislao Pierrot                      $11.50   55.12   $   8.44          $    86.92   $     86.92
  6/11/2017 Estanislao Pierrot                      $11.50   61.77   $   8.44          $   125.16   $    125.16
  6/18/2017 Estanislao Pierrot                      $11.50   62.63   $   8.44          $   130.14   $    130.14
  6/25/2017 Estanislao Pierrot                      $11.50   61.52   $   8.44          $   123.72   $    123.72
   7/2/2017 Estanislao Pierrot                      $11.50   62.42   $   8.44          $   128.90   $    128.90
   7/9/2017 Estanislao Pierrot                      $11.50   51.32   $   8.44          $    65.07   $     65.07
  7/16/2017 Estanislao Pierrot                      $11.50   64.55   $   8.44          $   141.16   $    141.16
  7/23/2017 Estanislao Pierrot                      $11.50   59.67   $   8.44          $   113.08   $    113.08
  7/30/2017 Estanislao Pierrot                      $11.50   61.33   $   8.44          $   122.67   $    122.67
   8/6/2017 Estanislao Pierrot                      $11.50   61.45   $   8.44          $   123.34   $    123.34
  8/13/2017 Estanislao Pierrot                      $11.50   59.82   $   8.44          $   113.95   $    113.95
  8/20/2017 Estanislao Pierrot                      $11.50   59.92   $   8.44          $   114.52   $    114.52
  8/27/2017 Estanislao Pierrot                      $11.50   64.43   $   8.44          $   140.49   $    140.49
   9/3/2017 Estanislao Pierrot                      $11.50   62.47   $   8.44          $   129.18   $    129.18
  9/10/2017 Estanislao Pierrot                      $11.50   56.63   $   8.44          $    95.64   $     95.64
  9/17/2017 Estanislao Pierrot                      $11.50   49.12   $   8.44          $    52.42   $     52.42
  9/24/2017 Estanislao Pierrot                      $11.50   59.88   $   8.44          $   114.33   $    114.33
  10/1/2017 Estanislao Pierrot                      $11.50   58.13   $   8.44          $   104.27   $    104.27
  10/8/2017 Estanislao Pierrot                      $11.50   58.47   $   8.44          $   106.18   $    106.18
 10/15/2017 Estanislao Pierrot                      $11.50   60.22   $   8.44          $   116.25   $    116.25
 10/22/2017 Estanislao Pierrot                      $11.50   57.63   $   8.44          $   101.39   $    101.39
 10/29/2017 Estanislao Pierrot                      $11.50   52.03   $   8.44          $    69.19   $     69.19
  11/5/2017 Estanislao Pierrot                      $11.50   60.03   $   8.44          $   115.19   $    115.19
 11/12/2017 Estanislao Pierrot                      $11.50   60.67   $   8.44          $   118.83   $    118.83
 11/19/2017 Estanislao Pierrot                      $11.50   63.48   $   8.44          $   135.03   $    135.03



                                                      179
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 181 of 683 PageID: 1028
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

  12/3/2017 Estanislao Pierrot                 $11.50   48.98   $   8.44          $    51.65   $     51.65
 12/10/2017 Estanislao Pierrot                 $11.50   58.95   $   8.44          $   108.96   $    108.96
 12/17/2017 Estanislao Pierrot                 $11.50   63.83   $   8.44          $   137.04   $    137.04
 12/24/2017 Estanislao Pierrot                 $11.50   65.65   $   8.44          $   147.49   $    147.49
 12/31/2017 Estanislao Pierrot                 $11.50   53.17   $   8.44          $    75.71   $     75.71
   1/7/2018 Estanislao Pierrot                 $11.50   46.67   $   8.60          $    38.33   $     38.33
  1/14/2018 Estanislao Pierrot                 $11.50   58.80   $   8.60          $   108.10   $    108.10
  1/21/2018 Estanislao Pierrot                 $11.50   63.87   $   8.60          $   137.23   $    137.23
  1/28/2018 Estanislao Pierrot                 $11.50   61.68   $   8.60          $   124.68   $    124.68
   2/4/2018 Estanislao Pierrot                 $11.50   59.57   $   8.60          $   112.51   $    112.51
  2/11/2018 Estanislao Pierrot                 $11.50   60.40   $   8.60          $   117.30   $    117.30
  2/18/2018 Estanislao Pierrot                 $11.50   61.15   $   8.60          $   121.61   $    121.61
  2/25/2018 Estanislao Pierrot                 $11.50   60.63   $   8.60          $   118.64   $    118.64
   3/4/2018 Estanislao Pierrot                 $11.50   61.32   $   8.60          $   122.57   $    122.57
  3/25/2018 Estanislao Pierrot                 $11.50   49.60   $   8.60          $    55.20   $     55.20
  4/15/2018 Estanislao Pierrot                 $11.50   51.98   $   8.60          $    68.90   $     68.90
  4/22/2018 Estanislao Pierrot                 $11.50   62.65   $   8.60          $   130.24   $    130.24
  4/29/2018 Estanislao Pierrot                 $11.50   68.38   $   8.60          $   163.20   $    163.20
   5/6/2018 Estanislao Pierrot                 $11.50   66.50   $   8.60          $   152.38   $    152.38
  5/13/2018 Estanislao Pierrot                 $11.50   58.60   $   8.60          $   106.95   $    106.95
  5/20/2018 Estanislao Pierrot                 $11.50   65.55   $   8.60          $   146.91   $    146.91
  5/27/2018 Estanislao Pierrot                 $11.50   55.83   $   8.60          $    91.04   $     91.04
   6/3/2018 Estanislao Pierrot                 $11.50   62.70   $   8.60          $   130.53   $    130.53
  6/10/2018 Estanislao Pierrot                 $11.50   60.13   $   8.60          $   115.77   $    115.77
  6/17/2018 Estanislao Pierrot                 $11.50   67.17   $   8.60          $   156.21   $    156.21
  6/24/2018 Estanislao Pierrot                 $11.50   64.87   $   8.60          $   142.98   $    142.98
   7/1/2018 Estanislao Pierrot                 $11.50   64.68   $   8.60          $   141.93   $    141.93
   7/8/2018 Estanislao Pierrot                 $11.50   53.18   $   8.60          $    75.80   $     75.80
  7/15/2018 Estanislao Pierrot                 $11.50   62.03   $   8.60          $   126.69   $    126.69
  7/22/2018 Estanislao Pierrot                 $11.50   65.67   $   8.60          $   147.58   $    147.58
  7/29/2018 Estanislao Pierrot                 $11.50   66.00   $   8.60          $   149.50   $    149.50
   8/5/2018 Estanislao Pierrot                 $11.50   59.93   $   8.60          $   114.62   $    114.62
  8/12/2018 Estanislao Pierrot                 $11.50   60.33   $   8.60          $   116.92   $    116.92
  8/19/2018 Estanislao Pierrot                 $11.50   63.87   $   8.60          $   137.23   $    137.23
  8/26/2018 Estanislao Pierrot                 $11.50   62.42   $   8.60          $   128.90   $    128.90
   9/2/2018 Estanislao Pierrot                 $11.50   65.38   $   8.60          $   145.95   $    145.95
   9/9/2018 Estanislao Pierrot                 $12.50   46.08   $   8.60          $    38.02   $     38.02
  9/16/2018 Estanislao Pierrot                 $12.50   52.90   $   8.60          $    80.63   $     80.63
  9/23/2018 Estanislao Pierrot                 $12.50   56.37   $   8.60          $   102.29   $    102.29
  9/30/2018 Estanislao Pierrot                 $12.50   53.13   $   8.60          $    82.08   $     82.08
  10/7/2018 Estanislao Pierrot                 $12.50   55.50   $   8.60          $    96.88   $     96.88
 10/14/2018 Estanislao Pierrot                 $12.50   55.48   $   8.60          $    96.77   $     96.77
 10/21/2018 Estanislao Pierrot                 $12.50   60.68   $   8.60          $   129.27   $    129.27
 10/28/2018 Estanislao Pierrot                 $12.50   61.10   $   8.60          $   131.88   $    131.88
  11/4/2018 Estanislao Pierrot                 $12.50   57.83   $   8.60          $   111.46   $    111.46
 11/11/2018 Estanislao Pierrot                 $12.50   60.07   $   8.60          $   125.42   $    125.42
 11/18/2018 Estanislao Pierrot                 $12.50   59.58   $   8.60          $   122.40   $    122.40
 11/25/2018 Estanislao Pierrot                 $12.50   50.33   $   8.60          $    64.58   $     64.58
  12/2/2018 Estanislao Pierrot                 $12.50   63.12   $   8.60          $   144.48   $    144.48
  12/9/2018 Estanislao Pierrot                 $12.50   64.13   $   8.60          $   150.83   $    150.83



                                                 180
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 182 of 683 PageID: 1029
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

 12/16/2018 Estanislao Pierrot                 $12.50   62.07   $    8.60         $   137.92   $    137.92
 12/23/2018 Estanislao Pierrot                 $12.50   65.75   $    8.60         $   160.94   $    160.94
   1/6/2019 Estanislao Pierrot                 $12.50   43.72   $    8.85         $    23.23   $     23.23
  1/13/2019 Estanislao Pierrot                 $12.50   61.70   $    8.85         $   135.63   $    135.63
  1/20/2019 Estanislao Pierrot                 $12.50   56.07   $    8.85         $   100.42   $    100.42
  1/27/2019 Estanislao Pierrot                 $12.50   55.58   $    8.85         $    97.40   $     97.40
   2/3/2019 Estanislao Pierrot                 $12.50   58.17   $    8.85         $   113.54   $    113.54
  2/10/2019 Estanislao Pierrot                 $12.50   49.60   $    8.85         $    60.00   $     60.00
  2/17/2019 Estanislao Pierrot                 $12.50   65.55   $    8.85         $   159.69   $    159.69
  2/24/2019 Estanislao Pierrot                 $12.50   66.03   $    8.85         $   162.71   $    162.71
   3/3/2019 Estanislao Pierrot                 $12.50   71.78   $    8.85         $   198.65   $    198.65
  3/10/2019 Estanislao Pierrot                 $12.50   48.88   $    8.85         $    55.52   $     55.52
  3/17/2019 Estanislao Pierrot                 $12.50   65.48   $    8.85         $   159.27   $    159.27
  3/24/2019 Estanislao Pierrot                 $12.50   61.55   $    8.85         $   134.69   $    134.69
  3/31/2019 Estanislao Pierrot                 $12.50   70.78   $    8.85         $   192.40   $    192.40
   4/7/2019 Estanislao Pierrot                 $12.50   71.58   $    8.85         $   197.40   $    197.40
  4/28/2019 Estanislao Pierrot                 $12.50   40.47   $    8.85         $     2.92   $      2.92
   5/5/2019 Estanislao Pierrot                 $12.50   65.05   $    8.85         $   156.56   $    156.56
  5/12/2019 Estanislao Pierrot                 $12.50   58.40   $    8.85         $   115.00   $    115.00
  5/19/2019 Estanislao Pierrot                 $12.50   54.13   $    8.85         $    88.33   $     88.33
  5/26/2019 Estanislao Pierrot                 $12.50   56.18   $    8.85         $   101.15   $    101.15
   6/2/2019 Estanislao Pierrot                 $12.50   59.67   $    8.85         $   122.92   $    122.92
   6/9/2019 Estanislao Pierrot                 $12.50   69.07   $    8.85         $   181.67   $    181.67
  6/16/2019 Estanislao Pierrot                 $12.50   64.13   $    8.85         $   150.83   $    150.83
  6/23/2019 Estanislao Pierrot                 $12.50   59.00   $    8.85         $   118.75   $    118.75
  6/30/2019 Estanislao Pierrot                 $12.50   63.08   $   10.00         $   144.27   $    144.27
   7/7/2019 Estanislao Pierrot                 $12.50   51.00   $   10.00         $    68.75   $     68.75
  7/14/2019 Estanislao Pierrot                 $12.50   63.48   $   10.00         $   146.77   $    146.77
  7/21/2019 Estanislao Pierrot                 $12.50   71.42   $   10.00         $   196.35   $    196.35
  7/28/2019 Estanislao Pierrot                 $12.50   73.12   $   10.00         $   206.98   $    206.98
   8/4/2019 Estanislao Pierrot                 $12.50   69.28   $   10.00         $   183.02   $    183.02
  8/11/2019 Estanislao Pierrot                 $12.50   66.05   $   10.00         $   162.81   $    162.81
  8/18/2019 Estanislao Pierrot                 $12.50   67.90   $   10.00         $   174.38   $    174.38
  8/25/2019 Estanislao Pierrot                 $12.50   67.15   $   10.00         $   169.69   $    169.69
   9/1/2019 Estanislao Pierrot                 $12.50   71.47   $   10.00         $   196.67   $    196.67
   9/8/2019 Estanislao Pierrot                 $12.50   61.15   $   10.00         $   132.19   $    132.19
  9/15/2019 Estanislao Pierrot                 $12.50   64.93   $   10.00         $   155.83   $    155.83
  9/22/2019 Estanislao Pierrot                 $12.50   59.15   $   10.00         $   119.69   $    119.69
  9/29/2019 Estanislao Pierrot                 $12.50   67.42   $   10.00         $   171.35   $    171.35
  10/6/2019 Estanislao Pierrot                 $12.50   63.92   $   10.00         $   149.48   $    149.48
 10/13/2019 Estanislao Pierrot                 $12.50   63.07   $   10.00         $   144.17   $    144.17
 10/20/2019 Estanislao Pierrot                 $12.50   60.73   $   10.00         $   129.58   $    129.58
 10/27/2019 Estanislao Pierrot                 $12.50   60.32   $   10.00         $   126.98   $    126.98
  11/3/2019 Estanislao Pierrot                 $12.50   63.38   $   10.00         $   146.15   $    146.15
 11/10/2019 Estanislao Pierrot                 $12.50   67.75   $   10.00         $   173.44   $    173.44
 11/17/2019 Estanislao Pierrot                 $12.50   65.18   $   10.00         $   157.40   $    157.40
 11/24/2019 Estanislao Pierrot                 $12.50   61.80   $   10.00         $   136.25   $    136.25
  12/1/2019 Estanislao Pierrot                 $12.50   50.48   $   10.00         $    65.52   $     65.52
  12/8/2019 Estanislao Pierrot                 $12.50   60.68   $   10.00         $   129.27   $    129.27
 12/15/2019 Estanislao Pierrot                 $12.50   67.05   $   10.00         $   169.06   $    169.06



                                                 181
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 183 of 683 PageID: 1030
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

 12/22/2019 Estanislao Pierrot                 $12.50   64.72   $   10.00         $   154.48   $    154.48
 12/29/2019 Estanislao Pierrot                 $12.50   46.60   $   10.00         $    41.25   $     41.25
   1/5/2020 Estanislao Pierrot                 $12.50   45.75   $   11.00         $    35.94   $     35.94
  1/12/2020 Estanislao Pierrot                 $12.50   57.38   $   11.00         $   108.65   $    108.65
  1/19/2020 Estanislao Pierrot                 $12.50   57.32   $   11.00         $   108.23   $    108.23
  1/26/2020 Estanislao Pierrot                 $12.50   63.28   $   11.00         $   145.52   $    145.52
   2/5/2017 Esteban Fierro                     $10.50   66.15   $    8.44         $   137.29   $    137.29
  2/12/2017 Esteban Fierro                     $10.50   61.40   $    8.44         $   112.35   $    112.35
  2/19/2017 Esteban Fierro                     $10.50   55.00   $    8.44         $    78.75   $     78.75
  2/26/2017 Esteban Fierro                     $10.50   68.97   $    8.44         $   152.08   $    152.08
   3/5/2017 Esteban Fierro                     $10.50   66.53   $    8.44         $   139.30   $    139.30
  3/12/2017 Esteban Fierro                     $10.50   64.63   $    8.44         $   129.33   $    129.33
  3/19/2017 Esteban Fierro                     $10.50   66.62   $    8.44         $   139.74   $    139.74
  3/26/2017 Esteban Fierro                     $10.50   64.50   $    8.44         $   128.63   $    128.63
   4/2/2017 Esteban Fierro                     $10.50   65.58   $    8.44         $   134.31   $    134.31
   4/9/2017 Esteban Fierro                     $10.50   56.08   $    8.44         $    84.44   $     84.44
  4/16/2017 Esteban Fierro                     $10.50   70.60   $    8.44         $   160.65   $    160.65
  4/23/2017 Esteban Fierro                     $10.50   64.30   $    8.44         $   127.58   $    127.58
  4/30/2017 Esteban Fierro                     $10.50   69.33   $    8.44         $   154.00   $    154.00
   5/7/2017 Esteban Fierro                     $10.50   73.18   $    8.44         $   174.21   $    174.21
  5/14/2017 Esteban Fierro                     $10.50   74.58   $    8.44         $   181.56   $    181.56
  5/21/2017 Esteban Fierro                     $10.50   74.38   $    8.44         $   180.51   $    180.51
  5/28/2017 Esteban Fierro                     $10.50   72.55   $    8.44         $   170.89   $    170.89
   6/4/2017 Esteban Fierro                     $10.50   71.70   $    8.44         $   166.43   $    166.43
  6/11/2017 Esteban Fierro                     $10.50   71.62   $    8.44         $   165.99   $    165.99
  6/18/2017 Esteban Fierro                     $10.50   73.17   $    8.44         $   174.13   $    174.13
  6/25/2017 Esteban Fierro                     $10.50   72.65   $    8.44         $   171.41   $    171.41
   7/2/2017 Esteban Fierro                     $10.50   73.23   $    8.44         $   174.48   $    174.48
   7/9/2017 Esteban Fierro                     $10.50   69.37   $    8.44         $   154.18   $    154.18
  7/16/2017 Esteban Fierro                     $10.50   70.25   $    8.44         $   158.81   $    158.81
  7/23/2017 Esteban Fierro                     $10.50   67.20   $    8.44         $   142.80   $    142.80
  7/30/2017 Esteban Fierro                     $10.50   72.57   $    8.44         $   170.98   $    170.98
   8/6/2017 Esteban Fierro                     $10.50   67.00   $    8.44         $   141.75   $    141.75
  8/13/2017 Esteban Fierro                     $10.50   71.55   $    8.44         $   165.64   $    165.64
  8/20/2017 Esteban Fierro                     $10.50   71.27   $    8.44         $   164.15   $    164.15
  8/27/2017 Esteban Fierro                     $10.50   71.88   $    8.44         $   167.39   $    167.39
   9/3/2017 Esteban Fierro                     $10.50   75.17   $    8.44         $   184.63   $    184.63
  9/10/2017 Esteban Fierro                     $10.50   71.85   $    8.44         $   167.21   $    167.21
  9/17/2017 Esteban Fierro                     $10.50   73.28   $    8.44         $   174.74   $    174.74
  9/24/2017 Esteban Fierro                     $10.50   70.68   $    8.44         $   161.09   $    161.09
  10/1/2017 Esteban Fierro                     $10.50   72.72   $    8.44         $   171.76   $    171.76
  10/8/2017 Esteban Fierro                     $10.50   73.73   $    8.44         $   177.10   $    177.10
 10/15/2017 Esteban Fierro                     $10.50   72.65   $    8.44         $   171.41   $    171.41
 10/22/2017 Esteban Fierro                     $10.50   72.30   $    8.44         $   169.58   $    169.58
 10/29/2017 Esteban Fierro                     $10.50   71.62   $    8.44         $   165.99   $    165.99
  11/5/2017 Esteban Fierro                     $10.50   59.35   $    8.44         $   101.59   $    101.59
 11/12/2017 Esteban Fierro                     $10.50   61.78   $    8.44         $   114.36   $    114.36
 11/19/2017 Esteban Fierro                     $10.50   63.83   $    8.44         $   125.13   $    125.13
 11/26/2017 Esteban Fierro                     $10.50   60.72   $    8.44         $   108.76   $    108.76
  12/3/2017 Esteban Fierro                     $10.50   62.85   $    8.44         $   119.96   $    119.96



                                                 182
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 184 of 683 PageID: 1031
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

 12/10/2017 Esteban Fierro                 $10.50   71.70   $   8.44          $   166.43   $    166.43
 12/17/2017 Esteban Fierro                 $10.50   71.63   $   8.44          $   166.08   $    166.08
 12/24/2017 Esteban Fierro                 $10.50   71.83   $   8.44          $   167.13   $    167.13
 12/31/2017 Esteban Fierro                 $10.50   60.15   $   8.44          $   105.79   $    105.79
   1/7/2018 Esteban Fierro                 $10.50   52.90   $   8.60          $    67.73   $     67.73
  1/14/2018 Esteban Fierro                 $10.50   72.52   $   8.60          $   170.71   $    170.71
  1/21/2018 Esteban Fierro                 $10.50   71.07   $   8.60          $   163.10   $    163.10
  1/28/2018 Esteban Fierro                 $10.50   67.63   $   8.60          $   145.08   $    145.08
   2/4/2018 Esteban Fierro                 $10.50   68.27   $   8.60          $   148.40   $    148.40
  2/11/2018 Esteban Fierro                 $10.50   61.08   $   8.60          $   110.69   $    110.69
  2/18/2018 Esteban Fierro                 $10.50   61.02   $   8.60          $   110.34   $    110.34
  2/25/2018 Esteban Fierro                 $10.50   71.02   $   8.60          $   162.84   $    162.84
   3/4/2018 Esteban Fierro                 $10.50   72.12   $   8.60          $   168.61   $    168.61
  3/25/2018 Esteban Fierro                 $10.50   69.73   $   8.60          $   156.10   $    156.10
   4/1/2018 Esteban Fierro                 $10.50   74.50   $   8.60          $   181.13   $    181.13
   4/8/2018 Esteban Fierro                 $10.50   72.42   $   8.60          $   170.19   $    170.19
  4/15/2018 Esteban Fierro                 $10.50   72.28   $   8.60          $   169.49   $    169.49
  4/22/2018 Esteban Fierro                 $10.50   72.32   $   8.60          $   169.66   $    169.66
  4/29/2018 Esteban Fierro                 $10.50   72.85   $   8.60          $   172.46   $    172.46
   5/6/2018 Esteban Fierro                 $10.50   67.32   $   8.60          $   143.41   $    143.41
  5/13/2018 Esteban Fierro                 $10.50   73.15   $   8.60          $   174.04   $    174.04
  5/20/2018 Esteban Fierro                 $10.50   71.98   $   8.60          $   167.91   $    167.91
  5/27/2018 Esteban Fierro                 $10.50   72.35   $   8.60          $   169.84   $    169.84
   6/3/2018 Esteban Fierro                 $10.50   69.73   $   8.60          $   156.10   $    156.10
  6/10/2018 Esteban Fierro                 $10.50   73.50   $   8.60          $   175.88   $    175.88
  6/17/2018 Esteban Fierro                 $10.50   64.48   $   8.60          $   128.54   $    128.54
  6/24/2018 Esteban Fierro                 $10.50   73.38   $   8.60          $   175.26   $    175.26
   7/1/2018 Esteban Fierro                 $10.50   49.47   $   8.60          $    49.70   $     49.70
   7/8/2018 Esteban Fierro                 $10.50   69.22   $   8.60          $   153.39   $    153.39
  7/15/2018 Esteban Fierro                 $10.50   74.88   $   8.60          $   183.14   $    183.14
  7/22/2018 Esteban Fierro                 $10.50   72.12   $   8.60          $   168.61   $    168.61
  7/29/2018 Esteban Fierro                 $10.50   73.38   $   8.60          $   175.26   $    175.26
   8/5/2018 Esteban Fierro                 $10.50   76.12   $   8.60          $   189.61   $    189.61
  8/12/2018 Esteban Fierro                 $10.50   73.52   $   8.60          $   175.96   $    175.96
  8/19/2018 Esteban Fierro                 $10.50   78.32   $   8.60          $   201.16   $    201.16
  8/26/2018 Esteban Fierro                 $10.50   73.48   $   8.60          $   175.79   $    175.79
   9/2/2018 Esteban Fierro                 $10.50   73.52   $   8.60          $   175.96   $    175.96
   9/9/2018 Esteban Fierro                 $10.50   70.30   $   8.60          $   159.08   $    159.08
  9/16/2018 Esteban Fierro                 $10.50   74.67   $   8.60          $   182.00   $    182.00
  9/23/2018 Esteban Fierro                 $10.50   74.68   $   8.60          $   182.09   $    182.09
  9/30/2018 Esteban Fierro                 $10.50   79.88   $   8.60          $   209.39   $    209.39
  10/7/2018 Esteban Fierro                 $10.50   74.35   $   8.60          $   180.34   $    180.34
 10/14/2018 Esteban Fierro                 $10.50   74.40   $   8.60          $   180.60   $    180.60
 10/21/2018 Esteban Fierro                 $10.50   67.27   $   8.60          $   143.15   $    143.15
 10/28/2018 Esteban Fierro                 $10.50   75.13   $   8.60          $   184.45   $    184.45
  11/4/2018 Esteban Fierro                 $10.50   75.30   $   8.60          $   185.33   $    185.33
 11/11/2018 Esteban Fierro                 $10.50   75.77   $   8.60          $   187.78   $    187.78
 11/18/2018 Esteban Fierro                 $10.50   74.42   $   8.60          $   180.69   $    180.69
 11/25/2018 Esteban Fierro                 $10.50   58.28   $   8.60          $    95.99   $     95.99
  12/2/2018 Esteban Fierro                 $10.50   69.55   $   8.60          $   155.14   $    155.14



                                             183
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 185 of 683 PageID: 1032
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

  12/9/2018 Esteban Fierro                 $10.50   71.30   $    8.60         $   164.33   $    164.33
 12/16/2018 Esteban Fierro                 $10.50   71.68   $    8.60         $   166.34   $    166.34
 12/23/2018 Esteban Fierro                 $10.50   74.05   $    8.60         $   178.76   $    178.76
 12/30/2018 Esteban Fierro                 $10.50   53.25   $    8.60         $    69.56   $     69.56
   1/6/2019 Esteban Fierro                 $10.50   65.43   $    8.85         $   133.53   $    133.53
  1/13/2019 Esteban Fierro                 $10.50   72.13   $    8.85         $   168.70   $    168.70
  1/20/2019 Esteban Fierro                 $10.50   61.42   $    8.85         $   112.44   $    112.44
  1/27/2019 Esteban Fierro                 $10.50   61.45   $    8.85         $   112.61   $    112.61
   2/3/2019 Esteban Fierro                 $10.50   60.62   $    8.85         $   108.24   $    108.24
  2/10/2019 Esteban Fierro                 $10.50   61.55   $    8.85         $   113.14   $    113.14
  2/17/2019 Esteban Fierro                 $10.50   63.55   $    8.85         $   123.64   $    123.64
  2/24/2019 Esteban Fierro                 $10.50   66.00   $    8.85         $   136.50   $    136.50
   3/3/2019 Esteban Fierro                 $10.50   59.48   $    8.85         $   102.29   $    102.29
  3/10/2019 Esteban Fierro                 $10.50   67.60   $    8.85         $   144.90   $    144.90
  3/17/2019 Esteban Fierro                 $10.50   72.15   $    8.85         $   168.79   $    168.79
  3/24/2019 Esteban Fierro                 $10.50   60.67   $    8.85         $   108.50   $    108.50
  3/31/2019 Esteban Fierro                 $10.50   62.13   $    8.85         $   116.20   $    116.20
   4/7/2019 Esteban Fierro                 $10.50   75.93   $    8.85         $   188.65   $    188.65
  4/14/2019 Esteban Fierro                 $10.50   76.33   $    8.85         $   190.75   $    190.75
  4/21/2019 Esteban Fierro                 $10.50   76.02   $    8.85         $   189.09   $    189.09
  4/28/2019 Esteban Fierro                 $10.50   72.58   $    8.85         $   171.06   $    171.06
   5/5/2019 Esteban Fierro                 $10.50   74.17   $    8.85         $   179.38   $    179.38
  5/12/2019 Esteban Fierro                 $10.50   72.10   $    8.85         $   168.53   $    168.53
  5/19/2019 Esteban Fierro                 $10.50   72.22   $    8.85         $   169.14   $    169.14
  5/26/2019 Esteban Fierro                 $10.50   72.15   $    8.85         $   168.79   $    168.79
   6/2/2019 Esteban Fierro                 $10.50   72.58   $    8.85         $   171.06   $    171.06
   6/9/2019 Esteban Fierro                 $10.50   76.72   $    8.85         $   192.76   $    192.76
  6/16/2019 Esteban Fierro                 $10.50   73.05   $    8.85         $   173.51   $    173.51
  6/23/2019 Esteban Fierro                 $10.50   71.62   $    8.85         $   165.99   $    165.99
  6/30/2019 Esteban Fierro                 $10.50   56.08   $   10.00         $    84.44   $     84.44
   7/7/2019 Esteban Fierro                 $10.50   68.50   $   10.00         $   149.63   $    149.63
  7/14/2019 Esteban Fierro                 $10.50   73.32   $   10.00         $   174.91   $    174.91
  7/21/2019 Esteban Fierro                 $10.50   73.23   $   10.00         $   174.48   $    174.48
  7/28/2019 Esteban Fierro                 $10.50   73.10   $   10.00         $   173.78   $    173.78
   8/4/2019 Esteban Fierro                 $10.50   72.32   $   10.00         $   169.66   $    169.66
  8/11/2019 Esteban Fierro                 $10.50   61.12   $   10.00         $   110.86   $    110.86
  8/18/2019 Esteban Fierro                 $10.50   71.48   $   10.00         $   165.29   $    165.29
  8/25/2019 Esteban Fierro                 $10.50   71.22   $   10.00         $   163.89   $    163.89
   9/1/2019 Esteban Fierro                 $10.50   72.03   $   10.00         $   168.18   $    168.18
   9/8/2019 Esteban Fierro                 $10.50   73.90   $   10.00         $   177.98   $    177.98
  9/15/2019 Esteban Fierro                 $10.50   75.47   $   10.00         $   186.20   $    186.20
  9/22/2019 Esteban Fierro                 $10.50   76.10   $   10.00         $   189.53   $    189.53
  9/29/2019 Esteban Fierro                 $10.50   77.05   $   10.00         $   194.51   $    194.51
  10/6/2019 Esteban Fierro                 $10.50   71.08   $   10.00         $   163.19   $    163.19
 10/13/2019 Esteban Fierro                 $10.50   69.58   $   10.00         $   155.31   $    155.31
 10/20/2019 Esteban Fierro                 $11.00   72.07   $   10.00         $   176.37   $    176.37
 10/27/2019 Esteban Fierro                 $11.00   71.87   $   10.00         $   175.27   $    175.27
  11/3/2019 Esteban Fierro                 $11.00   73.22   $   10.00         $   182.69   $    182.69
 11/10/2019 Esteban Fierro                 $11.00   68.10   $   10.00         $   154.55   $    154.55
 11/17/2019 Esteban Fierro                 $11.00   71.68   $   10.00         $   174.26   $    174.26



                                             184
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 186 of 683 PageID: 1033
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                      Name                          Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

 11/24/2019 Esteban Fierro                    $11.00   71.42   $   10.00         $   172.79   $    172.79
  12/1/2019 Esteban Fierro                    $11.00   58.10   $   10.00         $    99.55   $     99.55
  12/8/2019 Esteban Fierro                    $11.00   60.07   $   10.00         $   110.37   $    110.37
 12/15/2019 Esteban Fierro                    $10.50   69.90   $   10.00         $   156.98   $    156.98
 12/22/2019 Esteban Fierro                    $10.50   63.05   $   10.00         $   121.01   $    121.01
 12/29/2019 Esteban Fierro                    $10.50   41.15   $   10.00         $     6.04   $      6.04
  7/21/2019 Esteban Mendoz Marioquin          $10.00   58.98   $   10.00         $    94.92   $     94.92
  7/28/2019 Esteban Mendoz Marioquin          $10.00   59.20   $   10.00         $    96.00   $     96.00
   8/4/2019 Esteban Mendoz Marioquin          $10.00   60.40   $   10.00         $   102.00   $    102.00
  8/11/2019 Esteban Mendoz Marioquin          $10.00   60.93   $   10.00         $   104.67   $    104.67
  8/18/2019 Esteban Mendoz Marioquin          $10.00   60.25   $   10.00         $   101.25   $    101.25
  8/25/2019 Esteban Mendoz Marioquin          $10.00   60.33   $   10.00         $   101.67   $    101.67
   9/1/2019 Esteban Mendoz Marioquin          $10.00   60.37   $   10.00         $   101.83   $    101.83
   9/8/2019 Esteban Mendoz Marioquin          $10.00   50.03   $   10.00         $    50.17   $     50.17
  9/15/2019 Esteban Mendoz Marioquin          $10.00   60.82   $   10.00         $   104.08   $    104.08
  9/22/2019 Esteban Mendoz Marioquin          $10.00   60.27   $   10.00         $   101.33   $    101.33
  9/29/2019 Esteban Mendoz Marioquin          $10.00   60.32   $   10.00         $   101.58   $    101.58
  10/6/2019 Esteban Mendoz Marioquin          $10.00   60.05   $   10.00         $   100.25   $    100.25
 10/13/2019 Esteban Mendoz Marioquin          $10.00   59.53   $   10.00         $    97.67   $     97.67
 10/20/2019 Esteban Mendoz Marioquin          $10.00   59.90   $   10.00         $    99.50   $     99.50
 10/27/2019 Esteban Mendoz Marioquin          $10.00   59.62   $   10.00         $    98.08   $     98.08
  11/3/2019 Esteban Mendoz Marioquin          $10.00   59.00   $   10.00         $    95.00   $     95.00
 11/10/2019 Esteban Mendoz Marioquin          $10.00   60.02   $   10.00         $   100.08   $    100.08
 11/17/2019 Esteban Mendoz Marioquin          $10.00   59.60   $   10.00         $    98.00   $     98.00
 11/24/2019 Esteban Mendoz Marioquin          $10.00   59.85   $   10.00         $    99.25   $     99.25
  12/1/2019 Esteban Mendoz Marioquin          $10.00   49.27   $   10.00         $    46.33   $     46.33
   7/8/2018 Euripides Rodriguez               $10.00   51.97   $    8.60         $    59.83   $     59.83
  7/15/2018 Euripides Rodriguez               $10.00   51.15   $    8.60         $    55.75   $     55.75
  7/22/2018 Euripides Rodriguez               $10.00   66.93   $    8.60         $   134.67   $    134.67
  7/29/2018 Euripides Rodriguez               $10.00   67.15   $    8.60         $   135.75   $    135.75
   8/5/2018 Euripides Rodriguez               $10.00   59.35   $    8.60         $    96.75   $     96.75
  8/12/2018 Euripides Rodriguez               $10.00   57.38   $    8.60         $    86.92   $     86.92
  8/19/2018 Euripides Rodriguez               $10.00   69.32   $    8.60         $   146.58   $    146.58
  8/26/2018 Euripides Rodriguez               $10.00   68.65   $    8.60         $   143.25   $    143.25
   9/2/2018 Euripides Rodriguez               $10.00   56.92   $    8.60         $    84.58   $     84.58
   9/9/2018 Euripides Rodriguez               $10.00   56.83   $    8.60         $    84.17   $     84.17
  9/16/2018 Euripides Rodriguez               $10.00   55.37   $    8.60         $    76.83   $     76.83
  9/23/2018 Euripides Rodriguez               $10.00   59.95   $    8.60         $    99.75   $     99.75
  9/30/2018 Euripides Rodriguez               $10.00   62.97   $    8.60         $   114.83   $    114.83
  10/7/2018 Euripides Rodriguez               $10.00   57.88   $    8.60         $    89.42   $     89.42
 10/14/2018 Euripides Rodriguez               $10.00   59.08   $    8.60         $    95.42   $     95.42
 10/21/2018 Euripides Rodriguez               $10.00   52.47   $    8.60         $    62.33   $     62.33
 10/28/2018 Euripides Rodriguez               $10.00   57.13   $    8.60         $    85.67   $     85.67
  11/4/2018 Euripides Rodriguez               $10.00   60.92   $    8.60         $   104.58   $    104.58
 11/11/2018 Euripides Rodriguez               $10.00   59.87   $    8.60         $    99.33   $     99.33
 11/18/2018 Euripides Rodriguez               $10.00   62.95   $    8.60         $   114.75   $    114.75
 11/25/2018 Euripides Rodriguez               $10.00   48.35   $    8.60         $    41.75   $     41.75
  12/2/2018 Euripides Rodriguez               $10.00   69.25   $    8.60         $   146.25   $    146.25
  12/9/2018 Euripides Rodriguez               $10.00   61.75   $    8.60         $   108.75   $    108.75
 12/16/2018 Euripides Rodriguez               $10.00   66.23   $    8.60         $   131.17   $    131.17



                                                185
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 187 of 683 PageID: 1034
                                                   Exhibit 2
                                           New Jersey Computations


   Week                                                           State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
  Ending                        Name                            Minumum Regular    Half-Time Overtime Back
                                                   Rate Week
   Date                                                           Wage  Rate Due     Due       Wages Due

 12/23/2018 Euripides Rodriguez                   $10.00   66.37   $    8.60               $   131.83   $   131.83
 12/30/2018 Euripides Rodriguez                   $10.00   51.12   $    8.60               $    55.58   $    55.58
  1/13/2019 Euripides Rodriguez                   $10.00   60.93   $    8.85               $   104.67   $   104.67
  1/20/2019 Euripides Rodriguez                   $10.00   57.23   $    8.85               $    86.17   $    86.17
  1/27/2019 Euripides Rodriguez                   $10.00   50.77   $    8.85               $    53.83   $    53.83
   2/3/2019 Euripides Rodriguez                   $10.00   60.40   $    8.85               $   102.00   $   102.00
  2/10/2019 Euripides Rodriguez                   $10.00   43.80   $    8.85               $    19.00   $    19.00
  2/17/2019 Euripides Rodriguez                   $10.00   49.00   $    8.85               $    45.00   $    45.00
  6/16/2019 Euripides Rodriguez                    $8.85   63.55   $    8.85               $   104.21   $   104.21
  6/23/2019 Euripides Rodriguez                    $8.85   59.97   $    8.85               $    88.35   $    88.35
  6/30/2019 Euripides Rodriguez                    $8.85   67.07   $   10.00   $   77.13   $   135.33   $   212.46
   7/7/2019 Euripides Rodriguez                   $10.00   47.05   $   10.00               $    35.25   $    35.25
  7/14/2019 Euripides Rodriguez                   $10.00   51.35   $   10.00               $    56.75   $    56.75
  7/21/2019 Euripides Rodriguez                   $10.00   64.13   $   10.00               $   120.67   $   120.67
  7/28/2019 Euripides Rodriguez                   $10.00   68.78   $   10.00               $   143.92   $   143.92
   8/4/2019 Euripides Rodriguez                   $10.00   61.35   $   10.00               $   106.75   $   106.75
  8/11/2019 Euripides Rodriguez                   $10.00   52.35   $   10.00               $    61.75   $    61.75
  8/18/2019 Euripides Rodriguez                   $10.00   57.75   $   10.00               $    88.75   $    88.75
  8/25/2019 Euripides Rodriguez                   $10.00   58.13   $   10.00               $    90.67   $    90.67
   9/1/2019 Euripides Rodriguez                   $10.00   66.48   $   10.00               $   132.42   $   132.42
   9/8/2019 Euripides Rodriguez                   $10.00   49.72   $   10.00               $    48.58   $    48.58
  9/22/2019 Euripides Rodriguez                   $11.00   52.93   $   10.00               $    71.13   $    71.13
  9/29/2019 Euripides Rodriguez                   $11.00   61.05   $   10.00               $   115.78   $   115.78
  10/6/2019 Euripides Rodriguez                   $11.00   50.63   $   10.00               $    58.48   $    58.48
 10/13/2019 Euripides Rodriguez                   $11.00   55.38   $   10.00               $    84.61   $    84.61
 10/20/2019 Euripides Rodriguez                   $11.00   54.67   $   10.00               $    80.67   $    80.67
 10/27/2019 Euripides Rodriguez                   $11.00   50.87   $   10.00               $    59.77   $    59.77
  11/3/2019 Euripides Rodriguez                   $11.00   43.47   $   10.00               $    19.07   $    19.07
 11/10/2019 Euripides Rodriguez                   $11.00   51.42   $   10.00               $    62.79   $    62.79
 11/17/2019 Euripides Rodriguez                   $11.00   61.32   $   10.00               $   117.24   $   117.24
 11/24/2019 Euripides Rodriguez                   $11.00   61.95   $   10.00               $   120.73   $   120.73
  12/1/2019 Euripides Rodriguez                   $11.00   42.12   $   10.00               $    11.64   $    11.64
  12/8/2019 Euripides Rodriguez                   $11.00   42.50   $   10.00               $    13.75   $    13.75
 12/15/2019 Euripides Rodriguez                   $11.00   51.23   $   10.00               $    61.78   $    61.78
 12/22/2019 Euripides Rodriguez                   $11.00   64.53   $   10.00               $   134.93   $   134.93
 12/29/2019 Euripides Rodriguez                   $11.00   48.58   $   10.00               $    47.21   $    47.21
   1/5/2020 Euripides Rodriguez                   $11.00   45.22   $   11.00               $    28.69   $    28.69
  1/19/2020 Euripides Rodriguez                   $11.00   51.97   $   11.00               $    65.82   $    65.82
  1/26/2020 Euripides Rodriguez                   $11.00   52.52   $   11.00               $    68.84   $    68.84
  7/29/2018 Evaristo Juan Tenorio Navarr          $10.00   42.58   $    8.60               $    12.92   $    12.92
   8/5/2018 Evaristo Juan Tenorio Navarr          $10.00   60.43   $    8.60               $   102.17   $   102.17
  8/12/2018 Evaristo Juan Tenorio Navarr          $10.00   64.77   $    8.60               $   123.83   $   123.83
  8/19/2018 Evaristo Juan Tenorio Navarr          $10.00   62.72   $    8.60               $   113.58   $   113.58
  8/26/2018 Evaristo Juan Tenorio Navarr          $10.00   60.47   $    8.60               $   102.33   $   102.33
   9/2/2018 Evaristo Juan Tenorio Navarr          $10.00   65.07   $    8.60               $   125.33   $   125.33
   9/9/2018 Evaristo Juan Tenorio Navarr          $10.00   60.67   $    8.60               $   103.33   $   103.33
  9/16/2018 Evaristo Juan Tenorio Navarr          $10.00   68.78   $    8.60               $   143.92   $   143.92
  9/23/2018 Evaristo Juan Tenorio Navarr          $10.00   66.55   $    8.60               $   132.75   $   132.75
  9/30/2018 Evaristo Juan Tenorio Navarr          $10.00   66.58   $    8.60               $   132.92   $   132.92
  10/7/2018 Evaristo Juan Tenorio Navarr          $10.00   66.30   $    8.60               $   131.50   $   131.50



                                                    186
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 188 of 683 PageID: 1035
                                                   Exhibit 2
                                           New Jersey Computations


   Week                                                           State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
  Ending                        Name                            Minumum Regular    Half-Time Overtime Back
                                                   Rate Week
   Date                                                           Wage  Rate Due     Due       Wages Due

 10/14/2018 Evaristo Juan Tenorio Navarr          $10.00   63.07   $    8.60         $   115.33   $    115.33
 10/21/2018 Evaristo Juan Tenorio Navarr          $10.00   66.23   $    8.60         $   131.17   $    131.17
 10/28/2018 Evaristo Juan Tenorio Navarr          $10.00   55.28   $    8.60         $    76.42   $     76.42
  11/4/2018 Evaristo Juan Tenorio Navarr          $10.00   66.85   $    8.60         $   134.25   $    134.25
 11/11/2018 Evaristo Juan Tenorio Navarr          $10.00   66.33   $    8.60         $   131.67   $    131.67
 11/18/2018 Evaristo Juan Tenorio Navarr          $10.00   55.13   $    8.60         $    75.67   $     75.67
 11/25/2018 Evaristo Juan Tenorio Navarr          $10.00   50.80   $    8.60         $    54.00   $     54.00
  12/2/2018 Evaristo Juan Tenorio Navarr          $10.00   64.95   $    8.60         $   124.75   $    124.75
  12/9/2018 Evaristo Juan Tenorio Navarr          $10.00   67.67   $    8.60         $   138.33   $    138.33
 12/16/2018 Evaristo Juan Tenorio Navarr          $10.00   55.90   $    8.60         $    79.50   $     79.50
 12/23/2018 Evaristo Juan Tenorio Navarr          $10.00   59.68   $    8.60         $    98.42   $     98.42
 12/30/2018 Evaristo Juan Tenorio Navarr          $10.00   43.22   $    8.60         $    16.08   $     16.08
   1/6/2019 Evaristo Juan Tenorio Navarr          $10.00   41.15   $    8.85         $     5.75   $      5.75
  1/13/2019 Evaristo Juan Tenorio Navarr          $10.00   62.73   $    8.85         $   113.67   $    113.67
  1/20/2019 Evaristo Juan Tenorio Navarr          $10.00   63.27   $    8.85         $   116.33   $    116.33
  1/27/2019 Evaristo Juan Tenorio Navarr          $10.00   55.92   $    8.85         $    79.58   $     79.58
   2/3/2019 Evaristo Juan Tenorio Navarr          $10.00   54.23   $    8.85         $    71.17   $     71.17
  2/10/2019 Evaristo Juan Tenorio Navarr          $10.00   54.58   $    8.85         $    72.92   $     72.92
  2/17/2019 Evaristo Juan Tenorio Navarr          $10.00   64.12   $    8.85         $   120.58   $    120.58
  2/24/2019 Evaristo Juan Tenorio Navarr          $10.00   65.47   $    8.85         $   127.33   $    127.33
   3/3/2019 Evaristo Juan Tenorio Navarr          $10.00   61.22   $    8.85         $   106.08   $    106.08
  3/10/2019 Evaristo Juan Tenorio Navarr          $10.00   53.78   $    8.85         $    68.92   $     68.92
  3/17/2019 Evaristo Juan Tenorio Navarr          $10.00   57.98   $    8.85         $    89.92   $     89.92
  3/24/2019 Evaristo Juan Tenorio Navarr          $10.00   65.15   $    8.85         $   125.75   $    125.75
  3/31/2019 Evaristo Juan Tenorio Navarr          $10.00   57.15   $    8.85         $    85.75   $     85.75
   5/5/2019 Evaristo Juan Tenorio Navarr          $10.00   52.47   $    8.85         $    62.33   $     62.33
  5/12/2019 Evaristo Juan Tenorio Navarr          $10.00   54.60   $    8.85         $    73.00   $     73.00
  5/19/2019 Evaristo Juan Tenorio Navarr          $10.00   54.55   $    8.85         $    72.75   $     72.75
  5/26/2019 Evaristo Juan Tenorio Navarr          $10.00   54.52   $    8.85         $    72.58   $     72.58
   6/2/2019 Evaristo Juan Tenorio Navarr          $10.00   44.93   $    8.85         $    24.67   $     24.67
   6/9/2019 Evaristo Juan Tenorio Navarr          $10.00   56.12   $    8.85         $    80.58   $     80.58
  6/16/2019 Evaristo Juan Tenorio Navarr          $10.00   54.12   $    8.85         $    70.58   $     70.58
  6/23/2019 Evaristo Juan Tenorio Navarr          $10.00   54.97   $    8.85         $    74.83   $     74.83
  6/30/2019 Evaristo Juan Tenorio Navarr          $10.00   57.95   $   10.00         $    89.75   $     89.75
   7/7/2019 Evaristo Juan Tenorio Navarr          $10.50   44.13   $   10.00         $    21.70   $     21.70
  7/14/2019 Evaristo Juan Tenorio Navarr          $10.50   56.95   $   10.00         $    88.99   $     88.99
  7/21/2019 Evaristo Juan Tenorio Navarr          $10.50   56.72   $   10.00         $    87.76   $     87.76
  7/28/2019 Evaristo Juan Tenorio Navarr          $10.50   56.92   $   10.00         $    88.81   $     88.81
   8/4/2019 Evaristo Juan Tenorio Navarr          $10.50   58.33   $   10.00         $    96.25   $     96.25
  8/11/2019 Evaristo Juan Tenorio Navarr          $10.50   57.55   $   10.00         $    92.14   $     92.14
  8/18/2019 Evaristo Juan Tenorio Navarr          $10.50   58.93   $   10.00         $    99.40   $     99.40
  8/25/2019 Evaristo Juan Tenorio Navarr          $10.50   56.48   $   10.00         $    86.54   $     86.54
   9/1/2019 Evaristo Juan Tenorio Navarr          $10.50   57.18   $   10.00         $    90.21   $     90.21
  9/15/2019 Evaristo Juan Tenorio Navarr          $10.50   55.23   $   10.00         $    79.98   $     79.98
  9/22/2019 Evaristo Juan Tenorio Navarr          $10.50   55.97   $   10.00         $    83.83   $     83.83
  9/29/2019 Evaristo Juan Tenorio Navarr          $10.50   54.23   $   10.00         $    74.73   $     74.73
  10/6/2019 Evaristo Juan Tenorio Navarr          $10.50   57.92   $   10.00         $    94.06   $     94.06
 10/13/2019 Evaristo Juan Tenorio Navarr          $10.50   55.30   $   10.00         $    80.33   $     80.33
 10/20/2019 Evaristo Juan Tenorio Navarr          $12.00   50.28   $   10.00         $    61.70   $     61.70
 10/27/2019 Evaristo Juan Tenorio Navarr          $12.00   48.63   $   10.00         $    51.80   $     51.80



                                                    187
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 189 of 683 PageID: 1036
                                                   Exhibit 2
                                           New Jersey Computations


   Week                                                           State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
  Ending                        Name                            Minumum Regular    Half-Time Overtime Back
                                                   Rate Week
   Date                                                           Wage  Rate Due     Due       Wages Due

  11/3/2019 Evaristo Juan Tenorio Navarr          $12.00   49.25   $   10.00               $   55.50   $    55.50
 11/10/2019 Evaristo Juan Tenorio Navarr          $12.00   50.47   $   10.00               $   62.80   $    62.80
 11/17/2019 Evaristo Juan Tenorio Navarr          $12.00   49.63   $   10.00               $   57.80   $    57.80
 11/24/2019 Evaristo Juan Tenorio Navarr          $12.00   40.62   $   10.00               $    3.70   $     3.70
  12/8/2019 Evaristo Juan Tenorio Navarr          $12.00   49.80   $   10.00               $   58.80   $    58.80
 12/15/2019 Evaristo Juan Tenorio Navarr          $10.50   52.38   $   10.00               $   65.01   $    65.01
 12/22/2019 Evaristo Juan Tenorio Navarr          $10.50   52.68   $   10.00               $   66.59   $    66.59
   1/5/2020 Evaristo Juan Tenorio Navarr          $10.50   40.65   $   11.00   $   20.33   $    3.58   $    23.90
  1/12/2020 Evaristo Juan Tenorio Navarr          $10.50   54.15   $   11.00   $   27.08   $   77.83   $   104.90
  1/19/2020 Evaristo Juan Tenorio Navarr          $10.50   42.47   $   11.00   $   21.23   $   13.57   $    34.80
  1/26/2020 Evaristo Juan Tenorio Navarr          $10.50   54.52   $   11.00   $   27.26   $   79.84   $   107.10
  1/27/2019 Eymon Feliz-0272                      $10.00   40.98   $    8.85               $    4.92   $     4.92
   2/5/2017 Eymond A. Feliz                        $8.44   54.13   $    8.44               $   59.64   $    59.64
  2/12/2017 Eymond A. Feliz                        $8.44   43.48   $    8.44               $   14.70   $    14.70
  2/19/2017 Eymond A. Feliz                        $8.44   47.90   $    8.44               $   33.34   $    33.34
  2/26/2017 Eymond A. Feliz                        $8.44   61.45   $    8.44               $   90.52   $    90.52
   3/5/2017 Eymond A. Feliz                        $8.44   51.12   $    8.44               $   46.91   $    46.91
  3/12/2017 Eymond A. Feliz                        $8.44   62.43   $    8.44               $   94.67   $    94.67
  3/19/2017 Eymond A. Feliz                        $8.44   52.18   $    8.44               $   51.41   $    51.41
  3/26/2017 Eymond A. Feliz                        $8.44   43.45   $    8.44               $   14.56   $    14.56
   4/2/2017 Eymond A. Feliz                        $8.44   62.33   $    8.44               $   94.25   $    94.25
   4/9/2017 Eymond A. Feliz                        $8.44   61.27   $    8.44               $   89.75   $    89.75
  4/23/2017 Eymond A. Feliz                        $8.44   52.13   $    8.44               $   51.20   $    51.20
  4/30/2017 Eymond A. Feliz                        $8.44   53.47   $    8.44               $   56.83   $    56.83
   5/7/2017 Eymond A. Feliz                        $8.44   61.50   $    8.44               $   90.73   $    90.73
  5/14/2017 Eymond A. Feliz                        $8.44   60.88   $    8.44               $   88.13   $    88.13
  5/21/2017 Eymond A. Feliz                        $8.44   52.93   $    8.44               $   54.58   $    54.58
  5/28/2017 Eymond A. Feliz                        $8.44   62.35   $    8.44               $   94.32   $    94.32
   6/4/2017 Eymond A. Feliz                        $8.44   54.38   $    8.44               $   60.70   $    60.70
  6/11/2017 Eymond A. Feliz                        $8.44   49.65   $    8.44               $   40.72   $    40.72
  6/18/2017 Eymond A. Feliz                        $8.44   43.68   $    8.44               $   15.54   $    15.54
  7/23/2017 Eymond A. Feliz                        $8.44   59.47   $    8.44               $   82.15   $    82.15
  7/30/2017 Eymond A. Feliz                        $8.44   61.35   $    8.44               $   90.10   $    90.10
   8/6/2017 Eymond A. Feliz                        $8.44   50.47   $    8.44               $   44.17   $    44.17
  8/13/2017 Eymond A. Feliz                        $8.44   59.83   $    8.44               $   83.70   $    83.70
  8/20/2017 Eymond A. Feliz                        $8.44   61.05   $    8.44               $   88.83   $    88.83
  8/27/2017 Eymond A. Feliz                        $8.44   50.62   $    8.44               $   44.80   $    44.80
   9/3/2017 Eymond A. Feliz                        $8.44   62.47   $    8.44               $   94.81   $    94.81
  9/10/2017 Eymond A. Feliz                        $8.44   44.60   $    8.44               $   19.41   $    19.41
  9/17/2017 Eymond A. Feliz                        $8.44   60.03   $    8.44               $   84.54   $    84.54
  9/24/2017 Eymond A. Feliz                        $8.44   49.42   $    8.44               $   39.74   $    39.74
  10/1/2017 Eymond A. Feliz                        $8.44   58.10   $    8.44               $   76.38   $    76.38
  10/8/2017 Eymond A. Feliz                        $8.44   57.60   $    8.44               $   74.27   $    74.27
 10/15/2017 Eymond A. Feliz                        $8.44   50.07   $    8.44               $   42.48   $    42.48
 10/22/2017 Eymond A. Feliz                        $8.44   57.72   $    8.44               $   74.76   $    74.76
 10/29/2017 Eymond A. Feliz                        $8.44   60.57   $    8.44               $   86.79   $    86.79
  11/5/2017 Eymond A. Feliz                        $8.44   60.03   $    8.44               $   84.54   $    84.54
 11/12/2017 Eymond A. Feliz                        $8.44   60.68   $    8.44               $   87.28   $    87.28
 11/19/2017 Eymond A. Feliz                        $8.44   61.72   $    8.44               $   91.64   $    91.64
 11/26/2017 Eymond A. Feliz                        $8.44   50.82   $    8.44               $   45.65   $    45.65



                                                    188
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 190 of 683 PageID: 1037
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  12/3/2017 Eymond A. Feliz                  $8.44   60.03   $   8.44          $    84.54   $     84.54
 12/10/2017 Eymond A. Feliz                  $8.44   50.35   $   8.44          $    43.68   $     43.68
 12/17/2017 Eymond A. Feliz                  $8.44   63.78   $   8.44          $   100.37   $    100.37
 12/24/2017 Eymond A. Feliz                  $8.44   65.60   $   8.44          $   108.03   $    108.03
 12/31/2017 Eymond A. Feliz                  $8.44   53.18   $   8.44          $    55.63   $     55.63
   1/7/2018 Eymond A. Feliz                  $8.60   46.83   $   8.60          $    29.38   $     29.38
  1/14/2018 Eymond A. Feliz                  $8.60   51.95   $   8.60          $    51.39   $     51.39
  1/21/2018 Eymond A. Feliz                  $8.60   62.47   $   8.60          $    96.61   $     96.61
  1/28/2018 Eymond A. Feliz                  $8.60   50.13   $   8.60          $    43.57   $     43.57
   2/4/2018 Eymond A. Feliz                  $8.60   56.62   $   8.60          $    71.45   $     71.45
  2/11/2018 Eymond A. Feliz                  $8.60   48.78   $   8.60          $    37.77   $     37.77
  2/18/2018 Eymond A. Feliz                  $8.60   57.58   $   8.60          $    75.61   $     75.61
  2/25/2018 Eymond A. Feliz                  $8.60   49.50   $   8.60          $    40.85   $     40.85
   3/4/2018 Eymond A. Feliz                  $8.60   60.90   $   8.60          $    89.87   $     89.87
  3/25/2018 Eymond A. Feliz                  $8.60   61.07   $   8.60          $    90.59   $     90.59
   4/1/2018 Eymond A. Feliz                  $8.60   68.48   $   8.60          $   122.48   $    122.48
   4/8/2018 Eymond A. Feliz                  $8.60   43.78   $   8.60          $    16.27   $     16.27
  4/15/2018 Eymond A. Feliz                  $8.60   44.03   $   8.60          $    17.34   $     17.34
  4/22/2018 Eymond A. Feliz                  $8.60   52.82   $   8.60          $    55.11   $     55.11
  4/29/2018 Eymond A. Feliz                  $8.60   68.88   $   8.60          $   124.20   $    124.20
   5/6/2018 Eymond A. Feliz                  $8.60   65.75   $   8.60          $   110.73   $    110.73
  5/13/2018 Eymond A. Feliz                  $8.60   57.92   $   8.60          $    77.04   $     77.04
  5/20/2018 Eymond A. Feliz                  $8.60   66.65   $   8.60          $   114.60   $    114.60
  5/27/2018 Eymond A. Feliz                  $8.60   66.88   $   8.60          $   115.60   $    115.60
   6/3/2018 Eymond A. Feliz                  $8.60   66.73   $   8.60          $   114.95   $    114.95
  6/10/2018 Eymond A. Feliz                  $8.60   59.65   $   8.60          $    84.50   $     84.50
  6/17/2018 Eymond A. Feliz                  $8.60   45.28   $   8.60          $    22.72   $     22.72
  6/24/2018 Eymond A. Feliz                  $8.60   49.82   $   8.60          $    42.21   $     42.21
   7/1/2018 Eymond A. Feliz                  $8.60   65.22   $   8.60          $   108.43   $    108.43
  8/19/2018 Eymond A. Feliz                  $8.60   60.77   $   8.60          $    89.30   $     89.30
  8/26/2018 Eymond A. Feliz                  $8.60   64.03   $   8.60          $   103.34   $    103.34
   9/2/2018 Eymond A. Feliz                  $8.60   67.68   $   8.60          $   119.04   $    119.04
  9/16/2018 Eymond A. Feliz                  $8.60   48.88   $   8.60          $    38.20   $     38.20
  9/23/2018 Eymond A. Feliz                  $8.60   53.02   $   8.60          $    55.97   $     55.97
  9/30/2018 Eymond A. Feliz                  $8.60   49.05   $   8.60          $    38.92   $     38.92
  10/7/2018 Eymond A. Feliz                  $8.60   57.42   $   8.60          $    74.89   $     74.89
 10/14/2018 Eymond A. Feliz                  $8.60   58.38   $   8.60          $    79.05   $     79.05
 10/21/2018 Eymond A. Feliz                  $8.60   57.10   $   8.60          $    73.53   $     73.53
 10/28/2018 Eymond A. Feliz                  $8.60   40.90   $   8.60          $     3.87   $      3.87
  11/4/2018 Eymond A. Feliz                  $8.60   56.83   $   8.60          $    72.38   $     72.38
 11/11/2018 Eymond A. Feliz                  $8.60   47.13   $   8.60          $    30.67   $     30.67
 11/18/2018 Eymond A. Feliz                  $8.60   57.27   $   8.60          $    74.25   $     74.25
 11/25/2018 Eymond A. Feliz                  $8.60   48.62   $   8.60          $    37.05   $     37.05
  12/2/2018 Eymond A. Feliz                  $8.60   49.42   $   8.60          $    40.49   $     40.49
  12/9/2018 Eymond A. Feliz                  $8.60   62.55   $   8.60          $    96.97   $     96.97
 12/16/2018 Eymond A. Feliz                  $8.60   64.07   $   8.60          $   103.49   $    103.49
 12/23/2018 Eymond A. Feliz                  $8.60   64.92   $   8.60          $   107.14   $    107.14
  1/13/2019 Eymond A. Feliz                  $8.85   52.65   $   8.85          $    55.98   $     55.98
  1/27/2019 Eymond A. Feliz                  $8.85   50.65   $   8.85          $    47.13   $     47.13
  2/10/2019 Eymond A. Feliz                  $8.85   53.57   $   8.85          $    60.03   $     60.03



                                              189
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 191 of 683 PageID: 1038
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  2/17/2019 Eymond A. Feliz                    $8.85   48.40   $    8.85               $    37.17   $    37.17
  2/24/2019 Eymond A. Feliz                    $8.85   44.07   $    8.85               $    18.00   $    18.00
   3/3/2019 Eymond A. Feliz                    $8.85   70.45   $    8.85               $   134.74   $   134.74
  3/10/2019 Eymond A. Feliz                    $8.85   48.48   $    8.85               $    37.54   $    37.54
  3/17/2019 Eymond A. Feliz                    $8.85   59.63   $    8.85               $    86.88   $    86.88
  3/24/2019 Eymond A. Feliz                    $8.85   64.50   $    8.85               $   108.41   $   108.41
  3/31/2019 Eymond A. Feliz                    $8.85   74.82   $    8.85               $   154.06   $   154.06
   4/7/2019 Eymond A. Feliz                    $8.85   61.08   $    8.85               $    93.29   $    93.29
  4/14/2019 Eymond A. Feliz                    $8.85   52.37   $    8.85               $    54.72   $    54.72
  4/21/2019 Eymond A. Feliz                    $8.85   51.87   $    8.85               $    52.51   $    52.51
  4/28/2019 Eymond A. Feliz                    $8.85   55.40   $    8.85               $    68.15   $    68.15
   5/5/2019 Eymond A. Feliz                    $8.85   60.52   $    8.85               $    90.79   $    90.79
  5/12/2019 Eymond A. Feliz                    $8.85   50.55   $    8.85               $    46.68   $    46.68
  5/19/2019 Eymond A. Feliz                    $8.85   62.12   $    8.85               $    97.87   $    97.87
  5/26/2019 Eymond A. Feliz                    $8.85   60.98   $    8.85               $    92.85   $    92.85
   6/2/2019 Eymond A. Feliz                    $8.85   50.20   $    8.85               $    45.14   $    45.14
   6/9/2019 Eymond A. Feliz                    $8.85   64.63   $    8.85               $   109.00   $   109.00
  6/23/2019 Eymond A. Feliz                    $8.85   40.92   $    8.85               $     4.06   $     4.06
  6/30/2019 Eymond A. Feliz                    $8.85   59.67   $   10.00   $   68.62   $    98.33   $   166.95
  7/14/2019 Eymond A. Feliz                   $10.00   63.42   $   10.00               $   117.08   $   117.08
  7/21/2019 Eymond A. Feliz                   $10.00   62.90   $   10.00               $   114.50   $   114.50
  7/28/2019 Eymond A. Feliz                   $10.00   71.60   $   10.00               $   158.00   $   158.00
   8/4/2019 Eymond A. Feliz                   $10.00   48.30   $   10.00               $    41.50   $    41.50
  8/11/2019 Eymond A. Feliz                   $10.00   54.53   $   10.00               $    72.67   $    72.67
  8/25/2019 Eymond A. Feliz                   $10.00   44.20   $   10.00               $    21.00   $    21.00
   9/1/2019 Eymond A. Feliz                   $10.00   41.62   $   10.00               $     8.08   $     8.08
  9/22/2019 Eymond A. Feliz                   $10.00   57.70   $   10.00               $    88.50   $    88.50
  9/29/2019 Eymond A. Feliz                   $10.00   57.20   $   10.00               $    86.00   $    86.00
 10/13/2019 Eymond A. Feliz                   $10.00   50.53   $   10.00               $    52.67   $    52.67
  11/3/2019 Eymond A. Feliz                   $10.00   54.13   $   10.00               $    70.67   $    70.67
 11/10/2019 Eymond A. Feliz                   $10.00   49.30   $   10.00               $    46.50   $    46.50
 11/17/2019 Eymond A. Feliz                   $10.00   48.72   $   10.00               $    43.58   $    43.58
  12/1/2019 Eymond A. Feliz                   $10.00   43.87   $   10.00               $    19.33   $    19.33
  12/8/2019 Eymond A. Feliz                   $10.00   41.00   $   10.00               $     5.00   $     5.00
 12/15/2019 Eymond A. Feliz                   $10.00   42.10   $   10.00               $    10.50   $    10.50
 12/22/2019 Eymond A. Feliz                   $10.00   63.55   $   10.00               $   117.75   $   117.75
   1/5/2020 Eymond A. Feliz                   $11.00   42.38   $   11.00               $    13.11   $    13.11
  1/26/2020 Eymond A. Feliz                   $11.00   46.65   $   11.00               $    36.58   $    36.58
  9/22/2019 Ezequiel Montalvo                 $10.00   56.83   $   10.00               $    84.17   $    84.17
   9/8/2019 Fabian Sanchez                    $10.00   77.88   $   10.00               $   189.42   $   189.42
  9/15/2019 Fabian Sanchez                    $10.00   78.45   $   10.00               $   192.25   $   192.25
  9/22/2019 Fabian Sanchez                    $10.00   78.82   $   10.00               $   194.08   $   194.08
  9/29/2019 Fabian Sanchez                    $10.00   79.75   $   10.00               $   198.75   $   198.75
  10/6/2019 Fabian Sanchez                    $10.00   80.28   $   10.00               $   201.42   $   201.42
 10/13/2019 Fabian Sanchez                    $10.00   79.73   $   10.00               $   198.67   $   198.67
 10/20/2019 Fabian Sanchez                    $10.00   78.63   $   10.00               $   193.17   $   193.17
 10/27/2019 Fabian Sanchez                    $10.00   79.47   $   10.00               $   197.33   $   197.33
  11/3/2019 Fabian Sanchez                    $10.00   78.67   $   10.00               $   193.33   $   193.33
 11/10/2019 Fabian Sanchez                    $10.00   78.27   $   10.00               $   191.33   $   191.33
 11/17/2019 Fabian Sanchez                    $10.00   79.88   $   10.00               $   199.42   $   199.42



                                                190
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 192 of 683 PageID: 1039
                                                   Exhibit 2
                                           New Jersey Computations


   Week                                                           State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
  Ending                       Name                             Minumum Regular    Half-Time Overtime Back
                                                   Rate Week
   Date                                                           Wage  Rate Due     Due       Wages Due

 11/24/2019 Fabian Sanchez                        $10.00   68.47   $   10.00               $   142.33   $   142.33
  12/1/2019 Fabian Sanchez                        $10.00   81.85   $   10.00               $   209.25   $   209.25
  12/8/2019 Fabian Sanchez                        $10.00   85.78   $   10.00               $   228.92   $   228.92
 12/15/2019 Fabian Sanchez                        $10.00   85.57   $   10.00               $   227.83   $   227.83
 12/22/2019 Fabian Sanchez                        $10.00   77.45   $   10.00               $   187.25   $   187.25
 12/29/2019 Fabian Sanchez                        $10.00   62.93   $   10.00               $   114.67   $   114.67
   1/5/2020 Fabian Sanchez                        $10.00   73.62   $   11.00   $   73.62   $   184.89   $   258.51
  1/12/2020 Fabian Sanchez                        $10.00   64.67   $   11.00   $   64.67   $   135.67   $   200.33
  1/19/2020 Fabian Sanchez                        $10.00   60.02   $   11.00   $   60.02   $   110.09   $   170.11
  1/26/2020 Fabian Sanchez                        $10.00   57.93   $   11.00   $   57.93   $    98.63   $   156.57
  3/25/2018 Facundo Herlein                       $10.00   55.10   $    8.60               $    75.50   $    75.50
   4/1/2018 Facundo Herlein                       $10.00   55.10   $    8.60               $    75.50   $    75.50
   4/8/2018 Facundo Herlein                       $10.00   44.23   $    8.60               $    21.17   $    21.17
  4/15/2018 Facundo Herlein                       $10.00   57.52   $    8.60               $    87.58   $    87.58
  4/22/2018 Facundo Herlein                       $10.00   58.73   $    8.60               $    93.67   $    93.67
  4/29/2018 Facundo Herlein                       $10.00   60.88   $    8.60               $   104.42   $   104.42
   5/6/2018 Facundo Herlein                       $10.00   59.68   $    8.60               $    98.42   $    98.42
  5/13/2018 Facundo Herlein                       $10.00   52.78   $    8.60               $    63.92   $    63.92
  5/20/2018 Facundo Herlein                       $10.00   40.90   $    8.60               $     4.50   $     4.50
  5/27/2018 Facundo Herlein                       $10.00   50.17   $    8.60               $    50.83   $    50.83
   6/3/2018 Facundo Herlein                       $10.00   52.72   $    8.60               $    63.58   $    63.58
  6/10/2018 Facundo Herlein                       $10.00   52.92   $    8.60               $    64.58   $    64.58
  6/17/2018 Facundo Herlein                       $10.00   40.85   $    8.60               $     4.25   $     4.25
  8/18/2019 Faustino Cuevas - Car Washer          $12.00   47.72   $   10.00               $    46.30   $    46.30
  8/25/2019 Faustino Cuevas - Car Washer          $12.00   55.07   $   10.00               $    90.40   $    90.40
   9/1/2019 Faustino Cuevas - Car Washer          $12.00   57.97   $   10.00               $   107.80   $   107.80
   9/8/2019 Faustino Cuevas - Car Washer          $12.00   47.90   $   10.00               $    47.40   $    47.40
  9/15/2019 Faustino Cuevas - Car Washer          $12.00   58.10   $   10.00               $   108.60   $   108.60
  9/22/2019 Faustino Cuevas - Car Washer          $12.00   59.30   $   10.00               $   115.80   $   115.80
  9/29/2019 Faustino Cuevas - Car Washer          $12.00   40.25   $   10.00               $     1.50   $     1.50
  10/6/2019 Faustino Cuevas - Car Washer          $12.00   55.87   $   10.00               $    95.20   $    95.20
 10/13/2019 Faustino Cuevas - Car Washer          $12.00   47.82   $   10.00               $    46.90   $    46.90
 10/20/2019 Faustino Cuevas - Car Washer          $12.00   58.10   $   10.00               $   108.60   $   108.60
  12/9/2018 Federico San Juan Santiago            $10.00   40.88   $    8.60               $     4.42   $     4.42
 12/16/2018 Federico San Juan Santiago            $10.00   65.13   $    8.60               $   125.67   $   125.67
 12/23/2018 Federico San Juan Santiago            $10.00   65.95   $    8.60               $   129.75   $   129.75
   1/6/2019 Federico San Juan Santiago            $10.00   41.12   $    8.85               $     5.58   $     5.58
  1/13/2019 Federico San Juan Santiago            $10.00   52.95   $    8.85               $    64.75   $    64.75
  1/20/2019 Federico San Juan Santiago            $10.00   68.95   $    8.85               $   144.75   $   144.75
  1/27/2019 Federico San Juan Santiago            $10.00   69.93   $    8.85               $   149.67   $   149.67
   2/3/2019 Federico San Juan Santiago            $10.00   67.17   $    8.85               $   135.83   $   135.83
  2/10/2019 Federico San Juan Santiago            $10.00   59.85   $    8.85               $    99.25   $    99.25
  2/17/2019 Federico San Juan Santiago            $10.00   65.62   $    8.85               $   128.08   $   128.08
  2/24/2019 Federico San Juan Santiago            $10.00   51.00   $    8.85               $    55.00   $    55.00
   3/3/2019 Federico San Juan Santiago            $10.00   68.47   $    8.85               $   142.33   $   142.33
  3/10/2019 Federico San Juan Santiago            $10.00   70.38   $    8.85               $   151.92   $   151.92
  3/17/2019 Federico San Juan Santiago            $10.00   65.00   $    8.85               $   125.00   $   125.00
  3/24/2019 Federico San Juan Santiago            $10.00   60.25   $    8.85               $   101.25   $   101.25
  3/31/2019 Federico San Juan Santiago            $10.00   68.67   $    8.85               $   143.33   $   143.33
   4/7/2019 Federico San Juan Santiago            $10.00   65.73   $    8.85               $   128.67   $   128.67



                                                    191
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 193 of 683 PageID: 1040
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                       Name                           Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

  4/14/2019 Federico San Juan Santiago          $10.00   68.20   $   8.85          $   141.00   $    141.00
  4/21/2019 Federico San Juan Santiago          $10.00   66.95   $   8.85          $   134.75   $    134.75
  4/28/2019 Federico San Juan Santiago          $10.00   58.32   $   8.85          $    91.58   $     91.58
   5/5/2019 Federico San Juan Santiago          $10.00   69.93   $   8.85          $   149.67   $    149.67
  5/12/2019 Federico San Juan Santiago          $10.00   58.97   $   8.85          $    94.83   $     94.83
  5/19/2019 Federico San Juan Santiago          $10.00   57.05   $   8.85          $    85.25   $     85.25
  5/26/2019 Federico San Juan Santiago          $10.00   52.85   $   8.85          $    64.25   $     64.25
   6/2/2019 Federico San Juan Santiago          $10.00   57.82   $   8.85          $    89.08   $     89.08
   2/5/2017 Felipe Contreras                    $13.00   53.25   $   8.44          $    86.13   $     86.13
  2/12/2017 Felipe Contreras                    $13.00   57.45   $   8.44          $   113.43   $    113.43
  2/19/2017 Felipe Contreras                    $13.00   50.57   $   8.44          $    68.68   $     68.68
  2/26/2017 Felipe Contreras                    $13.00   60.18   $   8.44          $   131.19   $    131.19
   3/5/2017 Felipe Contreras                    $13.00   62.75   $   8.44          $   147.88   $    147.88
  3/12/2017 Felipe Contreras                    $13.00   65.63   $   8.44          $   166.62   $    166.62
  3/19/2017 Felipe Contreras                    $13.00   51.03   $   8.44          $    71.72   $     71.72
  3/26/2017 Felipe Contreras                    $13.00   62.95   $   8.44          $   149.18   $    149.18
   4/2/2017 Felipe Contreras                    $13.00   67.83   $   8.44          $   180.92   $    180.92
   4/9/2017 Felipe Contreras                    $13.00   54.58   $   8.44          $    94.79   $     94.79
  4/16/2017 Felipe Contreras                    $13.00   56.50   $   8.44          $   107.25   $    107.25
  4/23/2017 Felipe Contreras                    $13.00   58.90   $   8.44          $   122.85   $    122.85
  4/30/2017 Felipe Contreras                    $13.00   64.92   $   8.44          $   161.96   $    161.96
   5/7/2017 Felipe Contreras                    $13.00   60.35   $   8.44          $   132.28   $    132.28
  5/14/2017 Felipe Contreras                    $13.00   62.05   $   8.44          $   143.33   $    143.33
  5/21/2017 Felipe Contreras                    $13.00   68.62   $   8.44          $   186.01   $    186.01
  5/28/2017 Felipe Contreras                    $13.00   63.73   $   8.44          $   154.27   $    154.27
   6/4/2017 Felipe Contreras                    $13.00   55.03   $   8.44          $    97.72   $     97.72
  6/11/2017 Felipe Contreras                    $13.00   60.32   $   8.44          $   132.06   $    132.06
  6/18/2017 Felipe Contreras                    $13.00   65.47   $   8.44          $   165.53   $    165.53
  6/25/2017 Felipe Contreras                    $13.00   71.45   $   8.44          $   204.43   $    204.43
   7/2/2017 Felipe Contreras                    $13.00   63.75   $   8.44          $   154.38   $    154.38
   7/9/2017 Felipe Contreras                    $13.00   46.07   $   8.44          $    39.43   $     39.43
  7/16/2017 Felipe Contreras                    $13.00   66.05   $   8.44          $   169.33   $    169.33
  7/23/2017 Felipe Contreras                    $13.00   61.58   $   8.44          $   140.29   $    140.29
  7/30/2017 Felipe Contreras                    $13.00   61.03   $   8.44          $   136.72   $    136.72
   8/6/2017 Felipe Contreras                    $13.00   60.75   $   8.44          $   134.88   $    134.88
  8/13/2017 Felipe Contreras                    $13.00   57.42   $   8.44          $   113.21   $    113.21
  8/20/2017 Felipe Contreras                    $13.00   59.62   $   8.44          $   127.51   $    127.51
  8/27/2017 Felipe Contreras                    $13.00   61.08   $   8.44          $   137.04   $    137.04
   9/3/2017 Felipe Contreras                    $13.00   59.20   $   8.44          $   124.80   $    124.80
  9/10/2017 Felipe Contreras                    $13.00   56.62   $   8.44          $   108.01   $    108.01
  9/17/2017 Felipe Contreras                    $13.00   60.93   $   8.44          $   136.07   $    136.07
  9/24/2017 Felipe Contreras                    $13.00   58.62   $   8.44          $   121.01   $    121.01
  10/1/2017 Felipe Contreras                    $13.00   59.65   $   8.44          $   127.73   $    127.73
  10/8/2017 Felipe Contreras                    $13.00   55.88   $   8.44          $   103.24   $    103.24
 10/15/2017 Felipe Contreras                    $13.00   61.43   $   8.44          $   139.32   $    139.32
 10/22/2017 Felipe Contreras                    $13.00   62.22   $   8.44          $   144.41   $    144.41
 10/29/2017 Felipe Contreras                    $13.00   61.27   $   8.44          $   138.23   $    138.23
  11/5/2017 Felipe Contreras                    $13.00   58.00   $   8.44          $   117.00   $    117.00
 11/12/2017 Felipe Contreras                    $13.00   68.68   $   8.44          $   186.44   $    186.44
 11/19/2017 Felipe Contreras                    $13.00   59.68   $   8.44          $   127.94   $    127.94



                                                  192
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 194 of 683 PageID: 1041
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

 11/26/2017 Felipe Contreras                 $13.00   47.63   $   8.44          $    49.62   $     49.62
  12/3/2017 Felipe Contreras                 $13.00   63.63   $   8.44          $   153.62   $    153.62
 12/10/2017 Felipe Contreras                 $13.00   60.33   $   8.44          $   132.17   $    132.17
   1/7/2018 Felipe Contreras                 $13.00   44.57   $   8.60          $    29.68   $     29.68
  1/14/2018 Felipe Contreras                 $13.00   56.27   $   8.60          $   105.73   $    105.73
  1/21/2018 Felipe Contreras                 $13.00   62.70   $   8.60          $   147.55   $    147.55
  1/28/2018 Felipe Contreras                 $13.00   60.88   $   8.60          $   135.74   $    135.74
   2/4/2018 Felipe Contreras                 $13.00   54.60   $   8.60          $    94.90   $     94.90
  2/11/2018 Felipe Contreras                 $13.00   47.90   $   8.60          $    51.35   $     51.35
  2/18/2018 Felipe Contreras                 $13.00   60.13   $   8.60          $   130.87   $    130.87
  2/25/2018 Felipe Contreras                 $13.00   60.35   $   8.60          $   132.28   $    132.28
   3/4/2018 Felipe Contreras                 $13.00   65.10   $   8.60          $   163.15   $    163.15
  3/25/2018 Felipe Contreras                 $13.00   62.38   $   8.60          $   145.49   $    145.49
   4/1/2018 Felipe Contreras                 $13.00   66.80   $   8.60          $   174.20   $    174.20
   4/8/2018 Felipe Contreras                 $13.00   55.27   $   8.60          $    99.23   $     99.23
  4/15/2018 Felipe Contreras                 $13.00   60.47   $   8.60          $   133.03   $    133.03
  4/22/2018 Felipe Contreras                 $13.00   58.58   $   8.60          $   120.79   $    120.79
  4/29/2018 Felipe Contreras                 $13.00   68.63   $   8.60          $   186.12   $    186.12
   5/6/2018 Felipe Contreras                 $13.00   61.15   $   8.60          $   137.48   $    137.48
  5/13/2018 Felipe Contreras                 $13.00   64.57   $   8.60          $   159.68   $    159.68
  5/20/2018 Felipe Contreras                 $13.00   61.00   $   8.60          $   136.50   $    136.50
  5/27/2018 Felipe Contreras                 $13.00   65.47   $   8.60          $   165.53   $    165.53
   6/3/2018 Felipe Contreras                 $13.00   56.90   $   8.60          $   109.85   $    109.85
  6/10/2018 Felipe Contreras                 $13.00   63.13   $   8.60          $   150.37   $    150.37
  6/17/2018 Felipe Contreras                 $13.00   55.85   $   8.60          $   103.03   $    103.03
  6/24/2018 Felipe Contreras                 $13.00   62.32   $   8.60          $   145.06   $    145.06
   7/1/2018 Felipe Contreras                 $13.00   63.32   $   8.60          $   151.56   $    151.56
   7/8/2018 Felipe Contreras                 $13.00   51.75   $   8.60          $    76.38   $     76.38
  7/15/2018 Felipe Contreras                 $13.00   62.73   $   8.60          $   147.77   $    147.77
  7/22/2018 Felipe Contreras                 $13.00   59.23   $   8.60          $   125.02   $    125.02
  7/29/2018 Felipe Contreras                 $13.00   66.60   $   8.60          $   172.90   $    172.90
   8/5/2018 Felipe Contreras                 $13.00   56.78   $   8.60          $   109.09   $    109.09
  8/12/2018 Felipe Contreras                 $13.00   57.13   $   8.60          $   111.37   $    111.37
  8/19/2018 Felipe Contreras                 $13.00   62.42   $   8.60          $   145.71   $    145.71
  8/26/2018 Felipe Contreras                 $13.00   65.10   $   8.60          $   163.15   $    163.15
   9/2/2018 Felipe Contreras                 $13.00   64.88   $   8.60          $   161.74   $    161.74
  9/23/2018 Felipe Contreras                 $13.00   55.82   $   8.60          $   102.81   $    102.81
  9/30/2018 Felipe Contreras                 $13.00   58.62   $   8.60          $   121.01   $    121.01
  10/7/2018 Felipe Contreras                 $13.00   53.87   $   8.60          $    90.13   $     90.13
 10/14/2018 Felipe Contreras                 $13.00   58.43   $   8.60          $   119.82   $    119.82
 10/21/2018 Felipe Contreras                 $13.00   60.18   $   8.60          $   131.19   $    131.19
 10/28/2018 Felipe Contreras                 $13.00   56.28   $   8.60          $   105.84   $    105.84
  11/4/2018 Felipe Contreras                 $13.00   59.60   $   8.60          $   127.40   $    127.40
 11/11/2018 Felipe Contreras                 $13.00   59.38   $   8.60          $   125.99   $    125.99
 11/18/2018 Felipe Contreras                 $13.00   59.20   $   8.60          $   124.80   $    124.80
 11/25/2018 Felipe Contreras                 $13.00   47.73   $   8.60          $    50.27   $     50.27
  12/2/2018 Felipe Contreras                 $13.00   64.00   $   8.60          $   156.00   $    156.00
  12/9/2018 Felipe Contreras                 $13.00   53.60   $   8.60          $    88.40   $     88.40
 12/16/2018 Felipe Contreras                 $13.00   59.53   $   8.60          $   126.97   $    126.97
 12/23/2018 Felipe Contreras                 $13.00   62.98   $   8.60          $   149.39   $    149.39



                                               193
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 195 of 683 PageID: 1042
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

 12/30/2018 Felipe Contreras                 $13.00   46.75   $    8.60         $    43.88   $     43.88
   1/6/2019 Felipe Contreras                 $13.00   44.87   $    8.85         $    31.63   $     31.63
  1/13/2019 Felipe Contreras                 $13.00   56.68   $    8.85         $   108.44   $    108.44
  1/20/2019 Felipe Contreras                 $13.00   40.95   $    8.85         $     6.18   $      6.18
  1/27/2019 Felipe Contreras                 $13.00   42.80   $    8.85         $    18.20   $     18.20
   2/3/2019 Felipe Contreras                 $13.00   53.33   $    8.85         $    86.67   $     86.67
  2/10/2019 Felipe Contreras                 $13.00   49.20   $    8.85         $    59.80   $     59.80
  2/17/2019 Felipe Contreras                 $13.00   56.75   $    8.85         $   108.88   $    108.88
  2/24/2019 Felipe Contreras                 $13.00   58.42   $    8.85         $   119.71   $    119.71
   3/3/2019 Felipe Contreras                 $13.00   56.45   $    8.85         $   106.93   $    106.93
  3/10/2019 Felipe Contreras                 $13.00   61.70   $    8.85         $   141.05   $    141.05
  3/17/2019 Felipe Contreras                 $13.00   63.37   $    8.85         $   151.88   $    151.88
  3/24/2019 Felipe Contreras                 $13.00   63.02   $    8.85         $   149.61   $    149.61
  3/31/2019 Felipe Contreras                 $13.00   72.30   $    8.85         $   209.95   $    209.95
   4/7/2019 Felipe Contreras                 $13.00   59.47   $    8.85         $   126.53   $    126.53
  4/14/2019 Felipe Contreras                 $13.00   63.10   $    8.85         $   150.15   $    150.15
  4/21/2019 Felipe Contreras                 $13.00   57.98   $    8.85         $   116.89   $    116.89
  4/28/2019 Felipe Contreras                 $13.00   55.02   $    8.85         $    97.61   $     97.61
   5/5/2019 Felipe Contreras                 $13.00   56.20   $    8.85         $   105.30   $    105.30
  5/12/2019 Felipe Contreras                 $13.00   45.98   $    8.85         $    38.89   $     38.89
  5/19/2019 Felipe Contreras                 $13.00   48.17   $    8.85         $    53.08   $     53.08
  5/26/2019 Felipe Contreras                 $13.00   64.78   $    8.85         $   161.09   $    161.09
  6/23/2019 Felipe Contreras                 $13.00   56.70   $    8.85         $   108.55   $    108.55
  6/30/2019 Felipe Contreras                 $13.00   63.30   $   10.00         $   151.45   $    151.45
   7/7/2019 Felipe Contreras                 $13.00   47.73   $   10.00         $    50.27   $     50.27
  7/14/2019 Felipe Contreras                 $13.00   60.03   $   10.00         $   130.22   $    130.22
  7/21/2019 Felipe Contreras                 $13.00   58.80   $   10.00         $   122.20   $    122.20
  7/28/2019 Felipe Contreras                 $13.00   60.32   $   10.00         $   132.06   $    132.06
   8/4/2019 Felipe Contreras                 $13.00   60.58   $   10.00         $   133.79   $    133.79
  8/11/2019 Felipe Contreras                 $13.00   49.10   $   10.00         $    59.15   $     59.15
  8/18/2019 Felipe Contreras                 $13.00   50.18   $   10.00         $    66.19   $     66.19
  8/25/2019 Felipe Contreras                 $13.00   52.28   $   10.00         $    79.84   $     79.84
   9/1/2019 Felipe Contreras                 $13.00   60.62   $   10.00         $   134.01   $    134.01
   9/8/2019 Felipe Contreras                 $13.00   45.08   $   10.00         $    33.04   $     33.04
  9/15/2019 Felipe Contreras                 $13.00   52.43   $   10.00         $    80.82   $     80.82
  9/29/2019 Felipe Contreras                 $13.00   41.23   $   10.00         $     8.02   $      8.02
  10/6/2019 Felipe Contreras                 $13.00   49.55   $   10.00         $    62.08   $     62.08
 10/13/2019 Felipe Contreras                 $13.00   51.17   $   10.00         $    72.58   $     72.58
 10/20/2019 Felipe Contreras                 $13.00   51.63   $   10.00         $    75.62   $     75.62
 10/27/2019 Felipe Contreras                 $13.00   51.30   $   10.00         $    73.45   $     73.45
  11/3/2019 Felipe Contreras                 $13.00   46.98   $   10.00         $    45.39   $     45.39
 11/10/2019 Felipe Contreras                 $13.00   60.80   $   10.00         $   135.20   $    135.20
 11/17/2019 Felipe Contreras                 $13.00   57.48   $   10.00         $   113.64   $    113.64
 11/24/2019 Felipe Contreras                 $13.00   58.68   $   10.00         $   121.44   $    121.44
  12/1/2019 Felipe Contreras                 $13.00   42.47   $   10.00         $    16.03   $     16.03
  12/8/2019 Felipe Contreras                 $13.00   58.60   $   10.00         $   120.90   $    120.90
 12/15/2019 Felipe Contreras                 $13.00   57.92   $   10.00         $   116.46   $    116.46
 12/22/2019 Felipe Contreras                 $13.00   55.53   $   10.00         $   100.97   $    100.97
 12/29/2019 Felipe Contreras                 $13.00   43.72   $   10.00         $    24.16   $     24.16
   1/5/2020 Felipe Contreras                 $13.00   42.18   $   11.00         $    14.19   $     14.19



                                               194
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 196 of 683 PageID: 1043
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  1/26/2020 Felipe Contreras                 $13.00   50.40   $   11.00               $    67.60   $    67.60
 10/14/2018 Felipe Contreras-0302             $9.00   51.88   $    8.60               $    53.48   $    53.48
  4/28/2019 Felipe Rosario                    $9.50   58.25   $    8.85               $    86.69   $    86.69
   5/5/2019 Felipe Rosario                    $9.50   56.35   $    8.85               $    77.66   $    77.66
  5/12/2019 Felipe Rosario                    $9.50   57.02   $    8.85               $    80.83   $    80.83
  5/26/2019 Felipe Rosario                    $9.50   48.72   $    8.85               $    41.40   $    41.40
   6/9/2019 Felipe Rosario                    $9.50   56.47   $    8.85               $    78.22   $    78.22
  6/16/2019 Felipe Rosario                    $9.50   49.05   $    8.85               $    42.99   $    42.99
  6/30/2019 Felipe Rosario                    $9.50   46.27   $   10.00   $   23.13   $    31.33   $    54.47
  8/26/2018 Felis Mejia                       $9.00   71.70   $    8.60               $   142.65   $   142.65
   9/2/2018 Felis Mejia                       $9.00   55.47   $    8.60               $    69.60   $    69.60
 10/20/2019 Feliz Andres                     $11.00   49.95   $   10.00               $    54.73   $    54.73
 10/27/2019 Feliz Andres                     $11.00   60.88   $   10.00               $   114.86   $   114.86
  11/3/2019 Feliz Andres                     $11.00   51.58   $   10.00               $    63.71   $    63.71
 11/10/2019 Feliz Andres                     $11.00   60.45   $   10.00               $   112.48   $   112.48
 11/24/2019 Feliz Andres                     $11.00   49.40   $   10.00               $    51.70   $    51.70
  12/1/2019 Feliz Andres                     $11.00   49.37   $   10.00               $    51.52   $    51.52
 12/22/2019 Feliz Andres                     $11.00   52.52   $   10.00               $    68.84   $    68.84
 12/29/2019 Feliz Andres                     $11.00   48.30   $   10.00               $    45.65   $    45.65
   1/5/2020 Feliz Andres                     $11.00   51.27   $   11.00               $    61.97   $    61.97
  1/12/2020 Feliz Andres                     $11.00   46.33   $   11.00               $    34.83   $    34.83
  1/19/2020 Feliz Andres                     $11.00   54.48   $   11.00               $    79.66   $    79.66
  1/26/2020 Feliz Andres                     $11.00   57.32   $   11.00               $    95.24   $    95.24
  9/22/2019 Feliz Manuel Disla                $9.50   42.42   $   10.00   $   21.21   $    12.08   $    33.29
  10/6/2019 Feliz Manuel Disla                $9.50   48.78   $   10.00   $   24.39   $    43.92   $    68.31
 10/13/2019 Feliz Manuel Disla                $9.50   46.33   $   10.00   $   23.17   $    31.67   $    54.83
  1/19/2020 Fernando Cuellar                 $10.00   60.53   $   11.00   $   60.53   $   112.93   $   173.47
  9/15/2019 Fernando Melendez                $10.00   50.40   $   10.00               $    52.00   $    52.00
  9/29/2019 Fernando Melendez                $10.00   45.32   $   10.00               $    26.58   $    26.58
  10/6/2019 Fernando Melendez                $10.00   40.07   $   10.00               $     0.33   $     0.33
 10/13/2019 Fernando Melendez                $10.00   40.03   $   10.00               $     0.17   $     0.17
 10/20/2019 Fernando Melendez                $10.00   40.03   $   10.00               $     0.17   $     0.17
 10/27/2019 Fernando Melendez                $10.00   40.10   $   10.00               $     0.50   $     0.50
 11/10/2019 Fernando Melendez                $10.00   40.32   $   10.00               $     1.58   $     1.58
 11/17/2019 Fernando Melendez                $10.00   55.82   $   10.00               $    79.08   $    79.08
 11/24/2019 Fernando Melendez                $10.00   66.58   $   10.00               $   132.92   $   132.92
  12/1/2019 Fernando Melendez                $10.00   61.20   $   10.00               $   106.00   $   106.00
  12/8/2019 Fernando Melendez                $10.00   61.30   $   10.00               $   106.50   $   106.50
 12/15/2019 Fernando Melendez                $10.00   62.25   $   10.00               $   111.25   $   111.25
 12/22/2019 Fernando Melendez                $10.00   70.73   $   10.00               $   153.67   $   153.67
 10/29/2017 Fernando Rodriguez               $10.66   54.03   $    8.44               $    74.80   $    74.80
  11/5/2017 Fernando Rodriguez               $10.66   57.43   $    8.44               $    92.92   $    92.92
 11/12/2017 Fernando Rodriguez               $10.66   55.35   $    8.44               $    81.82   $    81.82
 11/19/2017 Fernando Rodriguez               $10.66   54.57   $    8.44               $    77.64   $    77.64
 11/26/2017 Fernando Rodriguez               $10.66   46.22   $    8.44               $    33.13   $    33.13
  12/3/2017 Fernando Rodriguez               $10.66   60.13   $    8.44               $   107.31   $   107.31
 12/10/2017 Fernando Rodriguez               $10.66   61.13   $    8.44               $   112.64   $   112.64
 12/17/2017 Fernando Rodriguez               $10.66   57.27   $    8.44               $    92.03   $    92.03
 12/24/2017 Fernando Rodriguez               $10.66   55.82   $    8.44               $    84.30   $    84.30
 12/31/2017 Fernando Rodriguez               $10.66   48.23   $    8.44               $    43.88   $    43.88



                                               195
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 197 of 683 PageID: 1044
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

  1/21/2018 Fernando Rodriguez                 $10.66   59.72   $   8.60          $   105.09   $    105.09
  1/28/2018 Fernando Rodriguez                 $10.66   45.08   $   8.60          $    27.09   $     27.09
   2/4/2018 Fernando Rodriguez                 $10.66   54.73   $   8.60          $    78.53   $     78.53
  2/11/2018 Fernando Rodriguez                 $10.66   46.28   $   8.60          $    33.49   $     33.49
  2/18/2018 Fernando Rodriguez                 $10.66   49.10   $   8.60          $    48.50   $     48.50
  2/25/2018 Fernando Rodriguez                 $10.66   51.25   $   8.60          $    59.96   $     59.96
   3/4/2018 Fernando Rodriguez                 $10.66   49.13   $   8.60          $    48.68   $     48.68
  3/25/2018 Fernando Rodriguez                 $10.66   54.30   $   8.60          $    76.22   $     76.22
   4/1/2018 Fernando Rodriguez                 $10.66   49.08   $   8.60          $    48.41   $     48.41
   4/8/2018 Fernando Rodriguez                 $10.66   41.13   $   8.60          $     6.04   $      6.04
  4/15/2018 Fernando Rodriguez                 $10.66   48.45   $   8.60          $    45.04   $     45.04
  4/22/2018 Fernando Rodriguez                 $10.66   59.08   $   8.60          $   101.71   $    101.71
  4/29/2018 Fernando Rodriguez                 $10.66   49.18   $   8.60          $    48.95   $     48.95
   5/6/2018 Fernando Rodriguez                 $10.66   49.07   $   8.60          $    48.33   $     48.33
  5/13/2018 Fernando Rodriguez                 $10.66   59.07   $   8.60          $   101.63   $    101.63
  5/20/2018 Fernando Rodriguez                 $10.66   59.03   $   8.60          $   101.45   $    101.45
  5/27/2018 Fernando Rodriguez                 $10.66   60.15   $   8.60          $   107.40   $    107.40
   6/3/2018 Fernando Rodriguez                 $10.66   49.13   $   8.60          $    48.68   $     48.68
  6/10/2018 Fernando Rodriguez                 $10.66   50.17   $   8.60          $    54.19   $     54.19
  6/17/2018 Fernando Rodriguez                 $10.66   58.17   $   8.60          $    96.83   $     96.83
  6/24/2018 Fernando Rodriguez                 $10.66   60.07   $   8.60          $   106.96   $    106.96
   7/1/2018 Fernando Rodriguez                 $10.66   57.83   $   8.60          $    95.05   $     95.05
   7/8/2018 Fernando Rodriguez                 $10.66   49.12   $   8.60          $    48.59   $     48.59
  7/15/2018 Fernando Rodriguez                 $10.66   59.55   $   8.60          $   104.20   $    104.20
  7/22/2018 Fernando Rodriguez                 $10.66   49.18   $   8.60          $    48.95   $     48.95
  7/29/2018 Fernando Rodriguez                 $10.66   59.40   $   8.60          $   103.40   $    103.40
   8/5/2018 Fernando Rodriguez                 $10.66   59.12   $   8.60          $   101.89   $    101.89
  8/12/2018 Fernando Rodriguez                 $10.66   49.05   $   8.60          $    48.24   $     48.24
  8/19/2018 Fernando Rodriguez                 $10.66   59.08   $   8.60          $   101.71   $    101.71
  8/26/2018 Fernando Rodriguez                 $10.66   59.38   $   8.60          $   103.31   $    103.31
   9/2/2018 Fernando Rodriguez                 $10.66   49.58   $   8.60          $    51.08   $     51.08
   9/9/2018 Fernando Rodriguez                 $10.66   49.03   $   8.60          $    48.15   $     48.15
  9/16/2018 Fernando Rodriguez                 $10.66   58.27   $   8.60          $    97.36   $     97.36
  9/23/2018 Fernando Rodriguez                 $10.66   59.03   $   8.60          $   101.45   $    101.45
  9/30/2018 Fernando Rodriguez                 $10.66   58.32   $   8.60          $    97.63   $     97.63
  10/7/2018 Fernando Rodriguez                 $10.66   50.13   $   8.60          $    54.01   $     54.01
 10/14/2018 Fernando Rodriguez                 $10.66   59.10   $   8.60          $   101.80   $    101.80
 10/21/2018 Fernando Rodriguez                 $10.66   58.28   $   8.60          $    97.45   $     97.45
 10/28/2018 Fernando Rodriguez                 $10.66   58.28   $   8.60          $    97.45   $     97.45
  11/4/2018 Fernando Rodriguez                 $10.66   58.30   $   8.60          $    97.54   $     97.54
 11/11/2018 Fernando Rodriguez                 $10.66   59.17   $   8.60          $   102.16   $    102.16
 11/18/2018 Fernando Rodriguez                 $10.66   48.22   $   8.60          $    43.79   $     43.79
 11/25/2018 Fernando Rodriguez                 $10.66   49.22   $   8.60          $    49.12   $     49.12
  12/2/2018 Fernando Rodriguez                 $10.66   58.20   $   8.60          $    97.01   $     97.01
  12/9/2018 Fernando Rodriguez                 $10.66   49.13   $   8.60          $    48.68   $     48.68
 12/16/2018 Fernando Rodriguez                 $10.66   49.03   $   8.60          $    48.15   $     48.15
   1/6/2019 Fernando Rodriguez                 $10.66   46.48   $   8.85          $    34.56   $     34.56
  1/13/2019 Fernando Rodriguez                 $10.66   58.08   $   8.85          $    96.38   $     96.38
  1/20/2019 Fernando Rodriguez                 $10.66   52.98   $   8.85          $    69.20   $     69.20
  1/27/2019 Fernando Rodriguez                 $10.66   59.00   $   8.85          $   101.27   $    101.27



                                                 196
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 198 of 683 PageID: 1045
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                       Name                         Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

   2/3/2019 Fernando Rodriguez                $10.66   58.02   $    8.85         $    96.03   $     96.03
  2/10/2019 Fernando Rodriguez                $10.66   50.02   $    8.85         $    53.39   $     53.39
  2/17/2019 Fernando Rodriguez                $10.66   58.53   $    8.85         $    98.78   $     98.78
  2/24/2019 Fernando Rodriguez                $10.66   59.47   $    8.85         $   103.76   $    103.76
   3/3/2019 Fernando Rodriguez                $10.66   59.22   $    8.85         $   102.42   $    102.42
  3/10/2019 Fernando Rodriguez                $10.66   58.22   $    8.85         $    97.09   $     97.09
  3/17/2019 Fernando Rodriguez                $10.66   50.00   $    8.85         $    53.30   $     53.30
  3/24/2019 Fernando Rodriguez                $10.66   58.12   $    8.85         $    96.56   $     96.56
  3/31/2019 Fernando Rodriguez                $10.66   59.20   $    8.85         $   102.34   $    102.34
   4/7/2019 Fernando Rodriguez                $10.66   58.10   $    8.85         $    96.47   $     96.47
  4/14/2019 Fernando Rodriguez                $10.66   59.17   $    8.85         $   102.16   $    102.16
  4/21/2019 Fernando Rodriguez                $10.66   58.12   $    8.85         $    96.56   $     96.56
  4/28/2019 Fernando Rodriguez                $10.66   58.17   $    8.85         $    96.83   $     96.83
   5/5/2019 Fernando Rodriguez                $10.66   59.22   $    8.85         $   102.42   $    102.42
  5/12/2019 Fernando Rodriguez                $10.66   52.88   $    8.85         $    68.67   $     68.67
  5/19/2019 Fernando Rodriguez                $10.66   59.17   $    8.85         $   102.16   $    102.16
  5/26/2019 Fernando Rodriguez                $10.66   58.50   $    8.85         $    98.61   $     98.61
   6/2/2019 Fernando Rodriguez                $10.66   49.18   $    8.85         $    48.95   $     48.95
   6/9/2019 Fernando Rodriguez                $10.66   58.42   $    8.85         $    98.16   $     98.16
  6/16/2019 Fernando Rodriguez                $10.66   59.13   $    8.85         $   101.98   $    101.98
  6/23/2019 Fernando Rodriguez                $10.66   59.58   $    8.85         $   104.38   $    104.38
   7/7/2019 Fernando Rodriguez                $11.25   50.10   $   10.00         $    56.81   $     56.81
  7/14/2019 Fernando Rodriguez                $11.25   58.97   $   10.00         $   106.69   $    106.69
  7/21/2019 Fernando Rodriguez                $11.25   56.22   $   10.00         $    91.22   $     91.22
   8/4/2019 Fernando Rodriguez                $11.25   59.65   $   10.00         $   110.53   $    110.53
  8/18/2019 Fernando Rodriguez                $11.25   59.18   $   10.00         $   107.91   $    107.91
  8/25/2019 Fernando Rodriguez                $11.25   59.13   $   10.00         $   107.63   $    107.63
   9/1/2019 Fernando Rodriguez                $11.25   56.70   $   10.00         $    93.94   $     93.94
   9/8/2019 Fernando Rodriguez                $11.25   49.13   $   10.00         $    51.38   $     51.38
  9/15/2019 Fernando Rodriguez                $11.25   59.43   $   10.00         $   109.31   $    109.31
  9/22/2019 Fernando Rodriguez                $11.25   48.92   $   10.00         $    50.16   $     50.16
  9/29/2019 Fernando Rodriguez                $11.25   55.95   $   10.00         $    89.72   $     89.72
  10/6/2019 Fernando Rodriguez                $11.25   59.13   $   10.00         $   107.63   $    107.63
 10/27/2019 Fernando Rodriguez                $11.25   59.13   $   10.00         $   107.63   $    107.63
  1/12/2020 Fernando Rodriguez                $11.25   59.12   $   11.00         $   107.53   $    107.53
  1/19/2020 Fernando Rodriguez                $11.25   59.12   $   11.00         $   107.53   $    107.53
  1/26/2020 Fernando Rodriguez                $11.25   59.02   $   11.00         $   106.97   $    106.97
  10/7/2018 Fidel Jose Guzman Felipe          $10.00   50.75   $    8.60         $    53.75   $     53.75
 10/14/2018 Fidel Jose Guzman Felipe          $10.00   51.13   $    8.60         $    55.67   $     55.67
 10/21/2018 Fidel Jose Guzman Felipe          $10.00   50.47   $    8.60         $    52.33   $     52.33
 10/28/2018 Fidel Jose Guzman Felipe          $10.00   50.27   $    8.60         $    51.33   $     51.33
  11/4/2018 Fidel Jose Guzman Felipe          $10.00   51.58   $    8.60         $    57.92   $     57.92
 11/11/2018 Fidel Jose Guzman Felipe          $10.00   51.90   $    8.60         $    59.50   $     59.50
 11/18/2018 Fidel Jose Guzman Felipe          $10.00   50.58   $    8.60         $    52.92   $     52.92
  12/2/2018 Fidel Jose Guzman Felipe          $10.00   53.62   $    8.60         $    68.08   $     68.08
  12/9/2018 Fidel Jose Guzman Felipe          $10.00   53.57   $    8.60         $    67.83   $     67.83
 12/16/2018 Fidel Jose Guzman Felipe          $10.00   52.40   $    8.60         $    62.00   $     62.00
 12/23/2018 Fidel Jose Guzman Felipe          $10.00   53.03   $    8.60         $    65.17   $     65.17
   1/6/2019 Fidel Jose Guzman Felipe          $10.00   40.82   $    8.85         $     4.08   $      4.08
  1/13/2019 Fidel Jose Guzman Felipe          $10.00   50.25   $    8.85         $    51.25   $     51.25



                                                197
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 199 of 683 PageID: 1046
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                       Name                         Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  1/20/2019 Fidel Jose Guzman Felipe          $10.00   52.02   $    8.85               $    60.08   $    60.08
  1/27/2019 Fidel Jose Guzman Felipe          $10.00   49.28   $    8.85               $    46.42   $    46.42
   2/3/2019 Fidel Jose Guzman Felipe          $10.00   51.17   $    8.85               $    55.83   $    55.83
  2/10/2019 Fidel Jose Guzman Felipe          $10.00   54.63   $    8.85               $    73.17   $    73.17
  2/24/2019 Fidel Jose Guzman Felipe          $10.00   51.17   $    8.85               $    55.83   $    55.83
  3/10/2019 Fidel Jose Guzman Felipe          $10.00   53.15   $    8.85               $    65.75   $    65.75
  3/17/2019 Fidel Jose Guzman Felipe          $10.00   52.32   $    8.85               $    61.58   $    61.58
  3/24/2019 Fidel Jose Guzman Felipe          $10.00   52.95   $    8.85               $    64.75   $    64.75
  3/31/2019 Fidel Jose Guzman Felipe          $10.00   52.50   $    8.85               $    62.50   $    62.50
  4/14/2019 Fidel Jose Guzman Felipe          $10.00   41.48   $    8.85               $     7.42   $     7.42
  4/21/2019 Fidel Jose Guzman Felipe          $10.00   53.60   $    8.85               $    68.00   $    68.00
  4/28/2019 Fidel Jose Guzman Felipe          $10.00   49.35   $    8.85               $    46.75   $    46.75
   5/5/2019 Fidel Jose Guzman Felipe          $10.00   53.27   $    8.85               $    66.33   $    66.33
  5/12/2019 Fidel Jose Guzman Felipe          $10.00   47.78   $    8.85               $    38.92   $    38.92
  5/19/2019 Fidel Jose Guzman Felipe          $10.00   52.38   $    8.85               $    61.92   $    61.92
  5/26/2019 Fidel Jose Guzman Felipe          $10.00   50.37   $    8.85               $    51.83   $    51.83
   6/9/2019 Fidel Jose Guzman Felipe          $10.00   51.77   $    8.85               $    58.83   $    58.83
  6/16/2019 Fidel Jose Guzman Felipe          $10.00   49.87   $    8.85               $    49.33   $    49.33
  6/23/2019 Fidel Jose Guzman Felipe          $10.00   49.58   $    8.85               $    47.92   $    47.92
  6/30/2019 Fidel Jose Guzman Felipe          $10.00   49.00   $   10.00               $    45.00   $    45.00
  7/14/2019 Fidel Jose Guzman Felipe          $10.00   54.85   $   10.00               $    74.25   $    74.25
  7/21/2019 Fidel Jose Guzman Felipe          $10.00   50.42   $   10.00               $    52.08   $    52.08
  7/28/2019 Fidel Jose Guzman Felipe          $10.00   53.42   $   10.00               $    67.08   $    67.08
   8/4/2019 Fidel Jose Guzman Felipe          $10.00   51.63   $   10.00               $    58.17   $    58.17
  8/11/2019 Fidel Jose Guzman Felipe          $10.00   54.68   $   10.00               $    73.42   $    73.42
  8/18/2019 Fidel Jose Guzman Felipe          $10.00   51.82   $   10.00               $    59.08   $    59.08
  8/25/2019 Fidel Jose Guzman Felipe          $10.00   54.90   $   10.00               $    74.50   $    74.50
   9/1/2019 Fidel Jose Guzman Felipe          $10.00   48.73   $   10.00               $    43.67   $    43.67
   9/8/2019 Fidel Jose Guzman Felipe          $10.00   49.35   $   10.00               $    46.75   $    46.75
  9/15/2019 Fidel Jose Guzman Felipe          $10.00   53.38   $   10.00               $    66.92   $    66.92
  9/22/2019 Fidel Jose Guzman Felipe          $10.00   47.12   $   10.00               $    35.58   $    35.58
  9/29/2019 Fidel Jose Guzman Felipe          $10.00   54.00   $   10.00               $    70.00   $    70.00
  10/6/2019 Fidel Jose Guzman Felipe          $10.00   59.07   $   10.00               $    95.33   $    95.33
 10/13/2019 Fidel Jose Guzman Felipe          $10.00   55.32   $   10.00               $    76.58   $    76.58
 10/20/2019 Fidel Jose Guzman Felipe          $11.00   48.83   $   10.00               $    48.58   $    48.58
 10/27/2019 Fidel Jose Guzman Felipe          $11.00   46.72   $   10.00               $    36.94   $    36.94
  11/3/2019 Fidel Jose Guzman Felipe          $11.00   48.63   $   10.00               $    47.48   $    47.48
 11/10/2019 Fidel Jose Guzman Felipe          $11.00   40.17   $   10.00               $     0.92   $     0.92
 11/17/2019 Fidel Jose Guzman Felipe          $11.00   49.83   $   10.00               $    54.08   $    54.08
 11/24/2019 Fidel Jose Guzman Felipe          $11.00   50.75   $   10.00               $    59.13   $    59.13
  12/8/2019 Fidel Jose Guzman Felipe          $11.00   41.97   $   10.00               $    10.82   $    10.82
 12/15/2019 Fidel Jose Guzman Felipe          $10.00   52.22   $   10.00               $    61.08   $    61.08
 12/22/2019 Fidel Jose Guzman Felipe          $10.00   51.25   $   10.00               $    56.25   $    56.25
  1/12/2020 Fidel Jose Guzman Felipe          $10.00   52.02   $   11.00   $   52.02   $    66.09   $   118.11
  1/19/2020 Fidel Jose Guzman Felipe          $10.00   42.50   $   11.00   $   42.50   $    13.75   $    56.25
  1/26/2020 Fidel Jose Guzman Felipe          $10.00   53.37   $   11.00   $   53.37   $    73.52   $   126.88
  1/13/2019 Filadelfo Calles                  $16.50   54.12   $    8.85               $   116.46   $   116.46
  1/20/2019 Filadelfo Calles                  $16.50   54.35   $    8.85               $   118.39   $   118.39
  1/27/2019 Filadelfo Calles                  $16.50   54.30   $    8.85               $   117.98   $   117.98
   2/3/2019 Filadelfo Calles                  $16.50   54.47   $    8.85               $   119.35   $   119.35



                                                198
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 200 of 683 PageID: 1047
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  2/10/2019 Filadelfo Calles                 $16.50   54.47   $    8.85         $   119.35   $    119.35
  2/17/2019 Filadelfo Calles                 $16.50   51.50   $    8.85         $    94.88   $     94.88
  2/24/2019 Filadelfo Calles                 $16.50   48.15   $    8.85         $    67.24   $     67.24
   3/3/2019 Filadelfo Calles                 $16.50   54.92   $    8.85         $   123.06   $    123.06
  3/10/2019 Filadelfo Calles                 $16.50   54.98   $    8.85         $   123.61   $    123.61
  3/17/2019 Filadelfo Calles                 $16.50   54.87   $    8.85         $   122.65   $    122.65
  3/24/2019 Filadelfo Calles                 $16.50   54.83   $    8.85         $   122.38   $    122.38
  3/31/2019 Filadelfo Calles                 $16.50   61.87   $    8.85         $   180.40   $    180.40
   4/7/2019 Filadelfo Calles                 $16.50   54.88   $    8.85         $   122.79   $    122.79
  4/14/2019 Filadelfo Calles                 $16.50   54.88   $    8.85         $   122.79   $    122.79
  4/21/2019 Filadelfo Calles                 $16.50   54.78   $    8.85         $   121.96   $    121.96
  4/28/2019 Filadelfo Calles                 $16.50   54.87   $    8.85         $   122.65   $    122.65
   5/5/2019 Filadelfo Calles                 $16.50   50.98   $    8.85         $    90.61   $     90.61
  5/12/2019 Filadelfo Calles                 $16.50   47.43   $    8.85         $    61.33   $     61.33
  5/19/2019 Filadelfo Calles                 $16.50   47.12   $    8.85         $    58.71   $     58.71
  5/26/2019 Filadelfo Calles                 $16.50   50.15   $    8.85         $    83.74   $     83.74
   6/2/2019 Filadelfo Calles                 $16.50   51.85   $    8.85         $    97.76   $     97.76
   6/9/2019 Filadelfo Calles                 $16.50   51.92   $    8.85         $    98.31   $     98.31
  6/16/2019 Filadelfo Calles                 $16.50   51.93   $    8.85         $    98.45   $     98.45
  6/23/2019 Filadelfo Calles                 $16.50   62.52   $    8.85         $   185.76   $    185.76
  6/30/2019 Filadelfo Calles                 $16.50   53.12   $   10.00         $   108.21   $    108.21
   7/7/2019 Filadelfo Calles                 $16.50   53.32   $   10.00         $   109.86   $    109.86
  7/14/2019 Filadelfo Calles                 $16.50   64.22   $   10.00         $   199.79   $    199.79
  7/21/2019 Filadelfo Calles                 $16.50   56.60   $   10.00         $   136.95   $    136.95
  7/28/2019 Filadelfo Calles                 $16.50   51.68   $   10.00         $    96.39   $     96.39
  8/11/2019 Filadelfo Calles                 $16.50   62.78   $   10.00         $   187.96   $    187.96
  8/18/2019 Filadelfo Calles                 $16.50   57.13   $   10.00         $   141.35   $    141.35
  8/25/2019 Filadelfo Calles                 $16.50   56.95   $   10.00         $   139.84   $    139.84
   9/1/2019 Filadelfo Calles                 $16.50   47.60   $   10.00         $    62.70   $     62.70
   9/8/2019 Filadelfo Calles                 $16.50   48.42   $   10.00         $    69.44   $     69.44
  9/15/2019 Filadelfo Calles                 $16.50   57.03   $   10.00         $   140.53   $    140.53
  9/22/2019 Filadelfo Calles                 $16.50   57.37   $   10.00         $   143.28   $    143.28
  9/29/2019 Filadelfo Calles                 $16.50   57.25   $   10.00         $   142.31   $    142.31
  10/6/2019 Filadelfo Calles                 $16.50   57.32   $   10.00         $   142.86   $    142.86
 10/13/2019 Filadelfo Calles                 $16.50   55.18   $   10.00         $   125.26   $    125.26
 10/20/2019 Filadelfo Calles                 $16.50   57.25   $   10.00         $   142.31   $    142.31
 10/27/2019 Filadelfo Calles                 $16.50   57.25   $   10.00         $   142.31   $    142.31
  11/3/2019 Filadelfo Calles                 $16.50   56.22   $   10.00         $   133.79   $    133.79
 11/10/2019 Filadelfo Calles                 $16.50   49.27   $   10.00         $    76.45   $     76.45
 11/17/2019 Filadelfo Calles                 $16.50   57.47   $   10.00         $   144.10   $    144.10
 11/24/2019 Filadelfo Calles                 $16.50   57.33   $   10.00         $   143.00   $    143.00
  12/1/2019 Filadelfo Calles                 $16.50   48.55   $   10.00         $    70.54   $     70.54
  12/8/2019 Filadelfo Calles                 $16.50   54.25   $   10.00         $   117.56   $    117.56
 12/15/2019 Filadelfo Calles                 $16.50   56.77   $   10.00         $   138.33   $    138.33
 12/22/2019 Filadelfo Calles                 $16.50   57.47   $   10.00         $   144.10   $    144.10
 12/29/2019 Filadelfo Calles                 $16.50   45.58   $   10.00         $    46.06   $     46.06
   1/5/2020 Filadelfo Calles                 $16.50   47.52   $   11.00         $    62.01   $     62.01
  1/12/2020 Filadelfo Calles                 $16.50   56.40   $   11.00         $   135.30   $    135.30
  1/19/2020 Filadelfo Calles                 $16.50   56.22   $   11.00         $   133.79   $    133.79
  1/26/2020 Filadelfo Calles                 $16.50   57.33   $   11.00         $   143.00   $    143.00



                                               199
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 201 of 683 PageID: 1048
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  4/16/2017 Francis Alberto Rojas             $14.00   55.12   $   8.44          $   105.82   $    105.82
  4/23/2017 Francis Alberto Rojas             $14.00   51.73   $   8.44          $    82.13   $     82.13
  4/30/2017 Francis Alberto Rojas             $14.00   53.13   $   8.44          $    91.93   $     91.93
   5/7/2017 Francis Alberto Rojas             $14.00   52.32   $   8.44          $    86.22   $     86.22
  5/14/2017 Francis Alberto Rojas             $14.00   54.67   $   8.44          $   102.67   $    102.67
  5/21/2017 Francis Alberto Rojas             $14.00   52.53   $   8.44          $    87.73   $     87.73
  5/28/2017 Francis Alberto Rojas             $14.00   54.50   $   8.44          $   101.50   $    101.50
   6/4/2017 Francis Alberto Rojas             $14.00   44.47   $   8.44          $    31.27   $     31.27
  6/11/2017 Francis Alberto Rojas             $14.00   60.70   $   8.44          $   144.90   $    144.90
  6/18/2017 Francis Alberto Rojas             $14.00   55.53   $   8.44          $   108.73   $    108.73
  6/25/2017 Francis Alberto Rojas             $14.00   54.90   $   8.44          $   104.30   $    104.30
   7/2/2017 Francis Alberto Rojas             $14.00   55.58   $   8.44          $   109.08   $    109.08
   7/9/2017 Francis Alberto Rojas             $14.00   41.35   $   8.44          $     9.45   $      9.45
  7/16/2017 Francis Alberto Rojas             $14.00   50.52   $   8.44          $    73.62   $     73.62
  7/23/2017 Francis Alberto Rojas             $14.00   51.72   $   8.44          $    82.02   $     82.02
  7/30/2017 Francis Alberto Rojas             $14.00   48.63   $   8.44          $    60.43   $     60.43
   8/6/2017 Francis Alberto Rojas             $14.00   48.92   $   8.44          $    62.42   $     62.42
  8/13/2017 Francis Alberto Rojas             $14.00   49.35   $   8.44          $    65.45   $     65.45
  8/20/2017 Francis Alberto Rojas             $14.00   48.08   $   8.44          $    56.58   $     56.58
  8/27/2017 Francis Alberto Rojas             $14.00   55.97   $   8.44          $   111.77   $    111.77
   9/3/2017 Francis Alberto Rojas             $14.00   56.72   $   8.44          $   117.02   $    117.02
  9/10/2017 Francis Alberto Rojas             $14.00   50.73   $   8.44          $    75.13   $     75.13
  9/17/2017 Francis Alberto Rojas             $14.00   53.72   $   8.44          $    96.02   $     96.02
  9/24/2017 Francis Alberto Rojas             $14.00   53.83   $   8.44          $    96.83   $     96.83
  10/1/2017 Francis Alberto Rojas             $14.00   44.22   $   8.44          $    29.52   $     29.52
  10/8/2017 Francis Alberto Rojas             $14.00   49.92   $   8.44          $    69.42   $     69.42
 10/15/2017 Francis Alberto Rojas             $14.00   44.43   $   8.44          $    31.03   $     31.03
 10/22/2017 Francis Alberto Rojas             $14.00   48.00   $   8.44          $    56.00   $     56.00
  11/5/2017 Francis Alberto Rojas             $14.00   47.43   $   8.44          $    52.03   $     52.03
 11/12/2017 Francis Alberto Rojas             $14.00   45.10   $   8.44          $    35.70   $     35.70
 11/19/2017 Francis Alberto Rojas             $14.00   50.65   $   8.44          $    74.55   $     74.55
  12/3/2017 Francis Alberto Rojas             $14.00   44.67   $   8.44          $    32.67   $     32.67
 12/10/2017 Francis Alberto Rojas             $14.00   43.33   $   8.44          $    23.33   $     23.33
 12/17/2017 Francis Alberto Rojas             $14.00   47.37   $   8.44          $    51.57   $     51.57
 12/24/2017 Francis Alberto Rojas             $14.00   45.28   $   8.44          $    36.98   $     36.98
   1/7/2018 Francis Alberto Rojas              $8.60   40.57   $   8.60          $     2.44   $      2.44
  1/14/2018 Francis Alberto Rojas             $14.00   46.07   $   8.60          $    42.47   $     42.47
  1/21/2018 Francis Alberto Rojas             $14.00   46.33   $   8.60          $    44.33   $     44.33
  1/28/2018 Francis Alberto Rojas             $14.00   48.08   $   8.60          $    56.58   $     56.58
   2/4/2018 Francis Alberto Rojas             $14.00   55.27   $   8.60          $   106.87   $    106.87
  2/11/2018 Francis Alberto Rojas             $14.00   51.53   $   8.60          $    80.73   $     80.73
  2/18/2018 Francis Alberto Rojas             $14.00   47.73   $   8.60          $    54.13   $     54.13
  2/25/2018 Francis Alberto Rojas             $14.00   46.32   $   8.60          $    44.22   $     44.22
   3/4/2018 Francis Alberto Rojas             $14.00   45.37   $   8.60          $    37.57   $     37.57
  3/25/2018 Francis Alberto Rojas             $14.00   45.70   $   8.60          $    39.90   $     39.90
   4/1/2018 Francis Alberto Rojas             $14.00   49.13   $   8.60          $    63.93   $     63.93
   4/8/2018 Francis Alberto Rojas             $14.00   48.93   $   8.60          $    62.53   $     62.53
  4/15/2018 Francis Alberto Rojas             $14.00   47.77   $   8.60          $    54.37   $     54.37
  4/22/2018 Francis Alberto Rojas             $14.00   46.20   $   8.60          $    43.40   $     43.40
  4/29/2018 Francis Alberto Rojas             $14.00   43.90   $   8.60          $    27.30   $     27.30



                                                200
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 202 of 683 PageID: 1049
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

   5/6/2018 Francis Alberto Rojas             $14.00   45.92   $   8.60          $    41.42   $     41.42
  5/13/2018 Francis Alberto Rojas             $14.00   46.57   $   8.60          $    45.97   $     45.97
  5/20/2018 Francis Alberto Rojas             $14.00   45.42   $   8.60          $    37.92   $     37.92
  5/27/2018 Francis Alberto Rojas             $14.00   46.78   $   8.60          $    47.48   $     47.48
   6/3/2018 Francis Alberto Rojas             $14.00   42.03   $   8.60          $    14.23   $     14.23
  6/10/2018 Francis Alberto Rojas             $14.00   54.82   $   8.60          $   103.72   $    103.72
  6/17/2018 Francis Alberto Rojas             $14.00   51.48   $   8.60          $    80.38   $     80.38
  6/24/2018 Francis Alberto Rojas             $14.00   51.40   $   8.60          $    79.80   $     79.80
   7/1/2018 Francis Alberto Rojas             $14.00   50.55   $   8.60          $    73.85   $     73.85
   7/8/2018 Francis Alberto Rojas             $14.00   43.03   $   8.60          $    21.23   $     21.23
  7/15/2018 Francis Alberto Rojas             $14.00   52.93   $   8.60          $    90.53   $     90.53
  7/22/2018 Francis Alberto Rojas             $14.00   53.17   $   8.60          $    92.17   $     92.17
  7/29/2018 Francis Alberto Rojas             $14.00   52.52   $   8.60          $    87.62   $     87.62
   8/5/2018 Francis Alberto Rojas             $14.00   51.78   $   8.60          $    82.48   $     82.48
  8/12/2018 Francis Alberto Rojas             $14.00   53.07   $   8.60          $    91.47   $     91.47
  8/19/2018 Francis Alberto Rojas             $14.00   52.30   $   8.60          $    86.10   $     86.10
  8/26/2018 Francis Alberto Rojas             $14.00   52.65   $   8.60          $    88.55   $     88.55
   9/2/2018 Francis Alberto Rojas             $14.00   51.92   $   8.60          $    83.42   $     83.42
   9/9/2018 Francis Alberto Rojas             $14.00   51.97   $   8.60          $    83.77   $     83.77
  9/16/2018 Francis Alberto Rojas             $14.00   52.35   $   8.60          $    86.45   $     86.45
  9/23/2018 Francis Alberto Rojas             $14.00   50.83   $   8.60          $    75.83   $     75.83
  9/30/2018 Francis Alberto Rojas             $14.00   52.17   $   8.60          $    85.17   $     85.17
  10/7/2018 Francis Alberto Rojas             $14.00   52.75   $   8.60          $    89.25   $     89.25
 10/14/2018 Francis Alberto Rojas             $14.00   53.95   $   8.60          $    97.65   $     97.65
 10/21/2018 Francis Alberto Rojas             $14.00   52.22   $   8.60          $    85.52   $     85.52
 10/28/2018 Francis Alberto Rojas             $14.00   50.62   $   8.60          $    74.32   $     74.32
  11/4/2018 Francis Alberto Rojas             $14.00   51.40   $   8.60          $    79.80   $     79.80
 11/11/2018 Francis Alberto Rojas             $14.00   51.48   $   8.60          $    80.38   $     80.38
 11/18/2018 Francis Alberto Rojas             $14.00   52.15   $   8.60          $    85.05   $     85.05
  12/2/2018 Francis Alberto Rojas             $14.00   53.43   $   8.60          $    94.03   $     94.03
  12/9/2018 Francis Alberto Rojas             $14.00   53.43   $   8.60          $    94.03   $     94.03
 12/16/2018 Francis Alberto Rojas             $14.00   52.22   $   8.60          $    85.52   $     85.52
 12/23/2018 Francis Alberto Rojas             $14.00   53.07   $   8.60          $    91.47   $     91.47
   1/6/2019 Francis Alberto Rojas             $14.00   40.35   $   8.85          $     2.45   $      2.45
  1/13/2019 Francis Alberto Rojas             $14.00   50.68   $   8.85          $    74.78   $     74.78
  1/20/2019 Francis Alberto Rojas             $14.00   51.93   $   8.85          $    83.53   $     83.53
  1/27/2019 Francis Alberto Rojas             $14.00   43.15   $   8.85          $    22.05   $     22.05
   2/3/2019 Francis Alberto Rojas             $14.00   51.45   $   8.85          $    80.15   $     80.15
  2/10/2019 Francis Alberto Rojas             $14.00   54.93   $   8.85          $   104.53   $    104.53
  2/24/2019 Francis Alberto Rojas             $14.00   51.25   $   8.85          $    78.75   $     78.75
   3/3/2019 Francis Alberto Rojas             $14.00   43.48   $   8.85          $    24.38   $     24.38
  3/10/2019 Francis Alberto Rojas             $14.00   53.40   $   8.85          $    93.80   $     93.80
  3/17/2019 Francis Alberto Rojas             $14.00   51.97   $   8.85          $    83.77   $     83.77
  3/24/2019 Francis Alberto Rojas             $14.00   50.15   $   8.85          $    71.05   $     71.05
  3/31/2019 Francis Alberto Rojas             $14.00   53.35   $   8.85          $    93.45   $     93.45
  4/14/2019 Francis Alberto Rojas             $14.00   40.52   $   8.85          $     3.62   $      3.62
  4/21/2019 Francis Alberto Rojas             $14.00   54.47   $   8.85          $   101.27   $    101.27
  4/28/2019 Francis Alberto Rojas             $14.00   50.08   $   8.85          $    70.58   $     70.58
   5/5/2019 Francis Alberto Rojas             $14.00   51.47   $   8.85          $    80.27   $     80.27
  5/12/2019 Francis Alberto Rojas             $14.00   52.57   $   8.85          $    87.97   $     87.97



                                                201
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 203 of 683 PageID: 1050
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  5/19/2019 Francis Alberto Rojas             $14.00   51.63   $    8.85         $    81.43   $     81.43
  5/26/2019 Francis Alberto Rojas             $14.00   50.20   $    8.85         $    71.40   $     71.40
   6/2/2019 Francis Alberto Rojas             $14.00   46.77   $    8.85         $    47.37   $     47.37
   6/9/2019 Francis Alberto Rojas             $14.00   52.93   $    8.85         $    90.53   $     90.53
  6/16/2019 Francis Alberto Rojas             $14.00   50.88   $    8.85         $    76.18   $     76.18
  6/23/2019 Francis Alberto Rojas             $14.00   51.70   $    8.85         $    81.90   $     81.90
  6/30/2019 Francis Alberto Rojas             $14.00   53.27   $   10.00         $    92.87   $     92.87
  7/14/2019 Francis Alberto Rojas             $14.00   45.78   $   10.00         $    40.48   $     40.48
  7/21/2019 Francis Alberto Rojas             $14.00   51.72   $   10.00         $    82.02   $     82.02
  7/28/2019 Francis Alberto Rojas             $14.00   53.35   $   10.00         $    93.45   $     93.45
   8/4/2019 Francis Alberto Rojas             $14.00   52.37   $   10.00         $    86.57   $     86.57
  8/11/2019 Francis Alberto Rojas             $14.00   52.28   $   10.00         $    85.98   $     85.98
  8/18/2019 Francis Alberto Rojas             $14.00   50.90   $   10.00         $    76.30   $     76.30
  8/25/2019 Francis Alberto Rojas             $14.00   53.00   $   10.00         $    91.00   $     91.00
   9/1/2019 Francis Alberto Rojas             $14.00   51.27   $   10.00         $    78.87   $     78.87
   9/8/2019 Francis Alberto Rojas             $14.00   47.62   $   10.00         $    53.32   $     53.32
  9/15/2019 Francis Alberto Rojas             $14.00   51.55   $   10.00         $    80.85   $     80.85
  9/22/2019 Francis Alberto Rojas             $14.00   51.53   $   10.00         $    80.73   $     80.73
  9/29/2019 Francis Alberto Rojas             $14.00   53.17   $   10.00         $    92.17   $     92.17
  10/6/2019 Francis Alberto Rojas             $14.00   58.82   $   10.00         $   131.72   $    131.72
 10/13/2019 Francis Alberto Rojas             $14.00   53.60   $   10.00         $    95.20   $     95.20
 10/20/2019 Francis Alberto Rojas             $14.00   47.08   $   10.00         $    49.58   $     49.58
 10/27/2019 Francis Alberto Rojas             $14.00   45.25   $   10.00         $    36.75   $     36.75
  11/3/2019 Francis Alberto Rojas             $14.00   45.67   $   10.00         $    39.67   $     39.67
 11/10/2019 Francis Alberto Rojas             $14.00   46.28   $   10.00         $    43.98   $     43.98
 11/17/2019 Francis Alberto Rojas             $14.00   45.15   $   10.00         $    36.05   $     36.05
 11/24/2019 Francis Alberto Rojas             $14.00   44.73   $   10.00         $    33.13   $     33.13
  12/8/2019 Francis Alberto Rojas             $14.00   41.93   $   10.00         $    13.53   $     13.53
 12/15/2019 Francis Alberto Rojas             $14.00   50.30   $   10.00         $    72.10   $     72.10
 12/22/2019 Francis Alberto Rojas             $14.00   50.27   $   10.00         $    71.87   $     71.87
  1/12/2020 Francis Alberto Rojas             $14.00   52.60   $   11.00         $    88.20   $     88.20
  1/19/2020 Francis Alberto Rojas             $14.00   43.65   $   11.00         $    25.55   $     25.55
  1/26/2020 Francis Alberto Rojas             $14.00   53.28   $   11.00         $    92.98   $     92.98
   2/5/2017 Francis Guerra                    $10.00   72.48   $    8.44         $   162.42   $    162.42
  2/12/2017 Francis Guerra                    $10.00   48.28   $    8.44         $    41.42   $     41.42
  2/19/2017 Francis Guerra                    $10.00   74.47   $    8.44         $   172.33   $    172.33
  2/26/2017 Francis Guerra                    $10.00   70.70   $    8.44         $   153.50   $    153.50
   3/5/2017 Francis Guerra                    $10.00   69.97   $    8.44         $   149.83   $    149.83
  3/12/2017 Francis Guerra                    $10.00   53.68   $    8.44         $    68.42   $     68.42
  3/19/2017 Francis Guerra                    $10.00   44.92   $    8.44         $    24.58   $     24.58
  3/26/2017 Francis Guerra                    $10.00   47.27   $    8.44         $    36.33   $     36.33
   4/2/2017 Francis Guerra                    $10.00   67.68   $    8.44         $   138.42   $    138.42
   4/9/2017 Francis Guerra                    $10.00   54.78   $    8.44         $    73.92   $     73.92
  4/16/2017 Francis Guerra                    $10.00   55.37   $    8.44         $    76.83   $     76.83
  4/23/2017 Francis Guerra                    $10.00   65.42   $    8.44         $   127.08   $    127.08
  4/30/2017 Francis Guerra                    $10.00   66.23   $    8.44         $   131.17   $    131.17
   5/7/2017 Francis Guerra                    $10.00   66.27   $    8.44         $   131.33   $    131.33
  5/14/2017 Francis Guerra                    $10.00   54.48   $    8.44         $    72.42   $     72.42
  5/21/2017 Francis Guerra                    $10.00   66.07   $    8.44         $   130.33   $    130.33
  5/28/2017 Francis Guerra                    $10.00   51.48   $    8.44         $    57.42   $     57.42



                                                202
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 204 of 683 PageID: 1051
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

   6/4/2017 Francis Guerra                 $10.00   63.50   $   8.44          $   117.50   $    117.50
  6/11/2017 Francis Guerra                 $10.00   59.47   $   8.44          $    97.33   $     97.33
  6/18/2017 Francis Guerra                 $10.00   62.25   $   8.44          $   111.25   $    111.25
  6/25/2017 Francis Guerra                 $10.00   63.75   $   8.44          $   118.75   $    118.75
   7/2/2017 Francis Guerra                 $10.00   53.25   $   8.44          $    66.25   $     66.25
  7/16/2017 Francis Guerra                 $10.00   61.65   $   8.44          $   108.25   $    108.25
  7/23/2017 Francis Guerra                 $10.00   60.13   $   8.44          $   100.67   $    100.67
  7/30/2017 Francis Guerra                 $10.00   42.30   $   8.44          $    11.50   $     11.50
   8/6/2017 Francis Guerra                 $10.00   65.93   $   8.44          $   129.67   $    129.67
  8/13/2017 Francis Guerra                 $10.00   60.62   $   8.44          $   103.08   $    103.08
  8/20/2017 Francis Guerra                 $10.00   53.20   $   8.44          $    66.00   $     66.00
  8/27/2017 Francis Guerra                 $10.00   62.37   $   8.44          $   111.83   $    111.83
   9/3/2017 Francis Guerra                 $10.00   60.37   $   8.44          $   101.83   $    101.83
  9/10/2017 Francis Guerra                 $10.00   62.28   $   8.44          $   111.42   $    111.42
  9/17/2017 Francis Guerra                 $10.00   54.97   $   8.44          $    74.83   $     74.83
  9/24/2017 Francis Guerra                 $10.00   61.22   $   8.44          $   106.08   $    106.08
  10/1/2017 Francis Guerra                 $10.00   45.20   $   8.44          $    26.00   $     26.00
  10/8/2017 Francis Guerra                 $10.00   60.15   $   8.44          $   100.75   $    100.75
 10/15/2017 Francis Guerra                 $10.00   46.42   $   8.44          $    32.08   $     32.08
 10/22/2017 Francis Guerra                 $10.00   59.17   $   8.44          $    95.83   $     95.83
 10/29/2017 Francis Guerra                 $10.00   64.07   $   8.44          $   120.33   $    120.33
  11/5/2017 Francis Guerra                 $10.00   59.23   $   8.44          $    96.17   $     96.17
 11/12/2017 Francis Guerra                 $10.00   53.18   $   8.44          $    65.92   $     65.92
 11/19/2017 Francis Guerra                 $10.00   60.38   $   8.44          $   101.92   $    101.92
 11/26/2017 Francis Guerra                 $10.00   52.53   $   8.44          $    62.67   $     62.67
  12/3/2017 Francis Guerra                 $10.00   67.62   $   8.44          $   138.08   $    138.08
 12/10/2017 Francis Guerra                 $10.00   67.97   $   8.44          $   139.83   $    139.83
 12/17/2017 Francis Guerra                 $10.00   70.43   $   8.44          $   152.17   $    152.17
 12/24/2017 Francis Guerra                 $10.00   59.28   $   8.44          $    96.42   $     96.42
 12/31/2017 Francis Guerra                 $10.00   59.90   $   8.44          $    99.50   $     99.50
   1/7/2018 Francis Guerra                 $10.00   54.90   $   8.60          $    74.50   $     74.50
  1/14/2018 Francis Guerra                 $10.00   67.78   $   8.60          $   138.92   $    138.92
  1/21/2018 Francis Guerra                 $10.00   64.75   $   8.60          $   123.75   $    123.75
  1/28/2018 Francis Guerra                 $10.00   48.95   $   8.60          $    44.75   $     44.75
   2/4/2018 Francis Guerra                 $10.00   64.37   $   8.60          $   121.83   $    121.83
  2/11/2018 Francis Guerra                 $10.00   61.37   $   8.60          $   106.83   $    106.83
  2/25/2018 Francis Guerra                 $10.00   61.67   $   8.60          $   108.33   $    108.33
   3/4/2018 Francis Guerra                 $10.00   60.22   $   8.60          $   101.08   $    101.08
  3/25/2018 Francis Guerra                 $10.00   60.38   $   8.60          $   101.92   $    101.92
   4/1/2018 Francis Guerra                 $10.00   69.82   $   8.60          $   149.08   $    149.08
   4/8/2018 Francis Guerra                 $10.00   59.47   $   8.60          $    97.33   $     97.33
  4/15/2018 Francis Guerra                 $10.00   58.68   $   8.60          $    93.42   $     93.42
  4/22/2018 Francis Guerra                 $10.00   71.67   $   8.60          $   158.33   $    158.33
  4/29/2018 Francis Guerra                 $10.00   72.65   $   8.60          $   163.25   $    163.25
   5/6/2018 Francis Guerra                 $10.00   69.15   $   8.60          $   145.75   $    145.75
  5/13/2018 Francis Guerra                 $10.00   72.85   $   8.60          $   164.25   $    164.25
  5/20/2018 Francis Guerra                 $10.00   66.97   $   8.60          $   134.83   $    134.83
  5/27/2018 Francis Guerra                 $10.00   77.52   $   8.60          $   187.58   $    187.58
   6/3/2018 Francis Guerra                 $10.00   71.18   $   8.60          $   155.92   $    155.92
  6/10/2018 Francis Guerra                 $10.00   71.90   $   8.60          $   159.50   $    159.50



                                             203
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 205 of 683 PageID: 1052
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

  6/17/2018 Francis Guerra                 $10.00   72.68   $   8.60          $   163.42   $    163.42
  6/24/2018 Francis Guerra                 $10.00   66.02   $   8.60          $   130.08   $    130.08
   7/1/2018 Francis Guerra                 $10.00   72.83   $   8.60          $   164.17   $    164.17
  7/15/2018 Francis Guerra                 $10.00   68.65   $   8.60          $   143.25   $    143.25
  7/22/2018 Francis Guerra                 $10.00   69.55   $   8.60          $   147.75   $    147.75
  7/29/2018 Francis Guerra                 $10.00   71.05   $   8.60          $   155.25   $    155.25
   8/5/2018 Francis Guerra                 $10.00   72.02   $   8.60          $   160.08   $    160.08
  8/12/2018 Francis Guerra                 $10.00   60.18   $   8.60          $   100.92   $    100.92
  8/19/2018 Francis Guerra                 $10.00   65.20   $   8.60          $   126.00   $    126.00
  8/26/2018 Francis Guerra                 $10.00   55.40   $   8.60          $    77.00   $     77.00
   9/2/2018 Francis Guerra                 $10.00   69.90   $   8.60          $   149.50   $    149.50
   9/9/2018 Francis Guerra                 $10.00   74.15   $   8.60          $   170.75   $    170.75
  9/16/2018 Francis Guerra                 $10.00   69.38   $   8.60          $   146.92   $    146.92
  9/23/2018 Francis Guerra                 $10.00   74.22   $   8.60          $   171.08   $    171.08
  9/30/2018 Francis Guerra                 $10.00   75.33   $   8.60          $   176.67   $    176.67
  10/7/2018 Francis Guerra                 $10.00   71.88   $   8.60          $   159.42   $    159.42
 10/14/2018 Francis Guerra                 $11.50   69.42   $   8.60          $   169.15   $    169.15
 10/21/2018 Francis Guerra                 $11.50   71.63   $   8.60          $   181.89   $    181.89
 10/28/2018 Francis Guerra                 $11.50   72.32   $   8.60          $   185.82   $    185.82
  11/4/2018 Francis Guerra                 $11.50   61.72   $   8.60          $   124.87   $    124.87
 11/11/2018 Francis Guerra                 $11.50   69.03   $   8.60          $   166.94   $    166.94
 11/18/2018 Francis Guerra                 $11.50   67.38   $   8.60          $   157.45   $    157.45
 11/25/2018 Francis Guerra                 $11.50   70.12   $   8.60          $   173.17   $    173.17
  12/2/2018 Francis Guerra                 $11.50   56.28   $   8.60          $    93.63   $     93.63
  12/9/2018 Francis Guerra                 $11.50   67.83   $   8.60          $   160.04   $    160.04
 12/16/2018 Francis Guerra                 $11.50   53.35   $   8.60          $    76.76   $     76.76
 12/23/2018 Francis Guerra                 $11.50   60.68   $   8.60          $   118.93   $    118.93
 12/30/2018 Francis Guerra                 $11.50   60.03   $   8.60          $   115.19   $    115.19
   1/6/2019 Francis Guerra                 $11.50   66.17   $   8.85          $   150.46   $    150.46
  1/13/2019 Francis Guerra                 $11.50   65.98   $   8.85          $   149.40   $    149.40
  1/20/2019 Francis Guerra                 $11.50   65.95   $   8.85          $   149.21   $    149.21
  1/27/2019 Francis Guerra                 $11.50   69.93   $   8.85          $   172.12   $    172.12
  2/17/2019 Francis Guerra                 $11.50   61.88   $   8.85          $   125.83   $    125.83
  2/24/2019 Francis Guerra                 $11.50   74.88   $   8.85          $   200.58   $    200.58
   3/3/2019 Francis Guerra                 $11.50   62.57   $   8.85          $   129.76   $    129.76
  3/10/2019 Francis Guerra                 $11.50   70.73   $   8.85          $   176.72   $    176.72
  3/17/2019 Francis Guerra                 $11.50   71.65   $   8.85          $   181.99   $    181.99
  3/24/2019 Francis Guerra                 $11.50   61.88   $   8.85          $   125.83   $    125.83
  3/31/2019 Francis Guerra                 $11.50   83.07   $   8.85          $   247.63   $    247.63
   4/7/2019 Francis Guerra                 $11.50   46.60   $   8.85          $    37.95   $     37.95
  4/14/2019 Francis Guerra                 $11.50   72.72   $   8.85          $   188.12   $    188.12
  4/21/2019 Francis Guerra                 $11.50   74.17   $   8.85          $   196.46   $    196.46
  4/28/2019 Francis Guerra                 $11.50   70.27   $   8.85          $   174.03   $    174.03
   5/5/2019 Francis Guerra                 $11.50   58.33   $   8.85          $   105.42   $    105.42
  5/12/2019 Francis Guerra                 $11.50   51.48   $   8.85          $    66.03   $     66.03
  5/19/2019 Francis Guerra                 $11.50   70.58   $   8.85          $   175.85   $    175.85
  5/26/2019 Francis Guerra                 $11.50   75.75   $   8.85          $   205.56   $    205.56
   6/2/2019 Francis Guerra                 $11.50   64.67   $   8.85          $   141.83   $    141.83
   6/9/2019 Francis Guerra                 $11.50   70.42   $   8.85          $   174.90   $    174.90
  6/16/2019 Francis Guerra                 $11.50   68.28   $   8.85          $   162.63   $    162.63



                                             204
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 206 of 683 PageID: 1053
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

  6/23/2019 Francis Guerra                     $11.50   57.72   $    8.85         $   101.87   $    101.87
  6/30/2019 Francis Guerra                     $11.50   65.80   $   10.00         $   148.35   $    148.35
  7/14/2019 Francis Guerra                     $11.50   76.32   $   10.00         $   208.82   $    208.82
  7/21/2019 Francis Guerra                     $11.50   70.47   $   10.00         $   175.18   $    175.18
  7/28/2019 Francis Guerra                     $11.50   74.73   $   10.00         $   199.72   $    199.72
   8/4/2019 Francis Guerra                     $11.50   67.52   $   10.00         $   158.22   $    158.22
  8/18/2019 Francis Guerra                     $11.50   71.00   $   10.00         $   178.25   $    178.25
  8/25/2019 Francis Guerra                     $11.50   62.80   $   10.00         $   131.10   $    131.10
   9/1/2019 Francis Guerra                     $11.50   73.63   $   10.00         $   193.39   $    193.39
   9/8/2019 Francis Guerra                     $11.50   83.32   $   10.00         $   249.07   $    249.07
  9/15/2019 Francis Guerra                     $11.50   67.28   $   10.00         $   156.88   $    156.88
  9/22/2019 Francis Guerra                     $11.50   77.87   $   10.00         $   217.73   $    217.73
  9/29/2019 Francis Guerra                     $11.50   63.22   $   10.00         $   133.50   $    133.50
  10/6/2019 Francis Guerra                     $11.50   62.25   $   10.00         $   127.94   $    127.94
 10/13/2019 Francis Guerra                     $11.50   64.40   $   10.00         $   140.30   $    140.30
 10/20/2019 Francis Guerra                     $11.50   60.15   $   10.00         $   115.86   $    115.86
 10/27/2019 Francis Guerra                     $11.50   54.47   $   10.00         $    83.18   $     83.18
  11/3/2019 Francis Guerra                     $11.50   62.93   $   10.00         $   131.87   $    131.87
 11/10/2019 Francis Guerra                     $11.50   59.00   $   10.00         $   109.25   $    109.25
 11/17/2019 Francis Guerra                     $11.50   59.13   $   10.00         $   110.02   $    110.02
 11/24/2019 Francis Guerra                     $11.50   69.42   $   10.00         $   169.15   $    169.15
  12/1/2019 Francis Guerra                     $11.50   55.07   $   10.00         $    86.63   $     86.63
  12/8/2019 Francis Guerra                     $11.50   53.72   $   10.00         $    78.87   $     78.87
 12/15/2019 Francis Guerra                     $11.50   49.80   $   10.00         $    56.35   $     56.35
 12/22/2019 Francis Guerra                     $11.50   63.42   $   10.00         $   134.65   $    134.65
 12/29/2019 Francis Guerra                     $11.50   55.55   $   10.00         $    89.41   $     89.41
   1/5/2020 Francis Guerra                     $11.50   56.52   $   11.00         $    94.97   $     94.97
  1/12/2020 Francis Guerra                     $11.50   66.77   $   11.00         $   153.91   $    153.91
  1/19/2020 Francis Guerra                     $11.50   64.93   $   11.00         $   143.37   $    143.37
  1/26/2020 Francis Guerra                     $11.50   68.92   $   11.00         $   166.27   $    166.27
   2/5/2017 Francisco A. Marte                 $11.00   52.02   $    8.44         $    66.09   $     66.09
  2/12/2017 Francisco A. Marte                 $11.00   57.05   $    8.44         $    93.78   $     93.78
  2/19/2017 Francisco A. Marte                 $11.00   59.23   $    8.44         $   105.78   $    105.78
  2/26/2017 Francisco A. Marte                 $11.00   57.23   $    8.44         $    94.78   $     94.78
   3/5/2017 Francisco A. Marte                 $11.00   55.37   $    8.44         $    84.52   $     84.52
  3/12/2017 Francisco A. Marte                 $11.00   62.38   $    8.44         $   123.11   $    123.11
  3/19/2017 Francisco A. Marte                 $11.00   48.67   $    8.44         $    47.67   $     47.67
  3/26/2017 Francisco A. Marte                 $11.00   66.28   $    8.44         $   144.56   $    144.56
   4/2/2017 Francisco A. Marte                 $11.00   71.92   $    8.44         $   175.54   $    175.54
   4/9/2017 Francisco A. Marte                 $11.00   60.43   $    8.44         $   112.38   $    112.38
  4/16/2017 Francisco A. Marte                 $11.00   55.70   $    8.44         $    86.35   $     86.35
  4/23/2017 Francisco A. Marte                 $11.00   65.12   $    8.44         $   138.14   $    138.14
  4/30/2017 Francisco A. Marte                 $11.00   67.62   $    8.44         $   151.89   $    151.89
   5/7/2017 Francisco A. Marte                 $11.00   65.22   $    8.44         $   138.69   $    138.69
  5/14/2017 Francisco A. Marte                 $11.00   72.55   $    8.44         $   179.03   $    179.03
  5/21/2017 Francisco A. Marte                 $11.00   73.68   $    8.44         $   185.26   $    185.26
  5/28/2017 Francisco A. Marte                 $11.00   72.90   $    8.44         $   180.95   $    180.95
   6/4/2017 Francisco A. Marte                 $11.00   54.37   $    8.44         $    79.02   $     79.02
  6/11/2017 Francisco A. Marte                 $11.00   57.42   $    8.44         $    95.79   $     95.79
  6/18/2017 Francisco A. Marte                 $11.00   65.37   $    8.44         $   139.52   $    139.52



                                                 205
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 207 of 683 PageID: 1054
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

  6/25/2017 Francisco A. Marte                 $11.00   76.50   $   8.44          $   200.75   $    200.75
   7/2/2017 Francisco A. Marte                 $11.00   67.75   $   8.44          $   152.63   $    152.63
   7/9/2017 Francisco A. Marte                 $11.00   49.70   $   8.44          $    53.35   $     53.35
  7/16/2017 Francisco A. Marte                 $11.00   68.55   $   8.44          $   157.03   $    157.03
  7/23/2017 Francisco A. Marte                 $11.00   61.43   $   8.44          $   117.88   $    117.88
  7/30/2017 Francisco A. Marte                 $11.00   64.57   $   8.44          $   135.12   $    135.12
   8/6/2017 Francisco A. Marte                 $11.00   65.98   $   8.44          $   142.91   $    142.91
  8/13/2017 Francisco A. Marte                 $11.00   61.68   $   8.44          $   119.26   $    119.26
  8/20/2017 Francisco A. Marte                 $11.00   68.20   $   8.44          $   155.10   $    155.10
  8/27/2017 Francisco A. Marte                 $11.00   71.53   $   8.44          $   173.43   $    173.43
   9/3/2017 Francisco A. Marte                 $11.00   68.50   $   8.44          $   156.75   $    156.75
  9/10/2017 Francisco A. Marte                 $11.00   56.25   $   8.44          $    89.38   $     89.38
  9/17/2017 Francisco A. Marte                 $11.00   62.90   $   8.44          $   125.95   $    125.95
  9/24/2017 Francisco A. Marte                 $11.00   59.25   $   8.44          $   105.88   $    105.88
  10/1/2017 Francisco A. Marte                 $11.00   55.72   $   8.44          $    86.44   $     86.44
 10/22/2017 Francisco A. Marte                 $11.00   64.65   $   8.44          $   135.58   $    135.58
 10/29/2017 Francisco A. Marte                 $11.00   69.40   $   8.44          $   161.70   $    161.70
  11/5/2017 Francisco A. Marte                 $11.00   63.10   $   8.44          $   127.05   $    127.05
 11/12/2017 Francisco A. Marte                 $11.00   70.05   $   8.44          $   165.28   $    165.28
 11/19/2017 Francisco A. Marte                 $11.00   65.72   $   8.44          $   141.44   $    141.44
 11/26/2017 Francisco A. Marte                 $11.00   50.60   $   8.44          $    58.30   $     58.30
  12/3/2017 Francisco A. Marte                 $11.00   69.82   $   8.44          $   163.99   $    163.99
 12/10/2017 Francisco A. Marte                 $11.00   64.92   $   8.44          $   137.04   $    137.04
 12/17/2017 Francisco A. Marte                 $11.00   69.37   $   8.44          $   161.52   $    161.52
 12/24/2017 Francisco A. Marte                 $11.00   70.28   $   8.44          $   166.56   $    166.56
 12/31/2017 Francisco A. Marte                 $11.00   57.52   $   8.44          $    96.34   $     96.34
   1/7/2018 Francisco A. Marte                 $11.00   46.50   $   8.60          $    35.75   $     35.75
  1/14/2018 Francisco A. Marte                 $11.00   56.03   $   8.60          $    88.18   $     88.18
  1/21/2018 Francisco A. Marte                 $11.00   56.57   $   8.60          $    91.12   $     91.12
  1/28/2018 Francisco A. Marte                 $11.00   61.90   $   8.60          $   120.45   $    120.45
   2/4/2018 Francisco A. Marte                 $11.00   58.52   $   8.60          $   101.84   $    101.84
  2/11/2018 Francisco A. Marte                 $11.00   63.18   $   8.60          $   127.51   $    127.51
  2/18/2018 Francisco A. Marte                 $11.00   62.52   $   8.60          $   123.84   $    123.84
  2/25/2018 Francisco A. Marte                 $11.00   66.65   $   8.60          $   146.58   $    146.58
   3/4/2018 Francisco A. Marte                 $11.00   63.53   $   8.60          $   129.43   $    129.43
  3/25/2018 Francisco A. Marte                 $11.00   59.93   $   8.60          $   109.63   $    109.63
   4/1/2018 Francisco A. Marte                 $11.00   67.97   $   8.60          $   153.82   $    153.82
  4/22/2018 Francisco A. Marte                 $11.00   63.08   $   8.60          $   126.96   $    126.96
  4/29/2018 Francisco A. Marte                 $11.00   68.62   $   8.60          $   157.39   $    157.39
   5/6/2018 Francisco A. Marte                 $11.00   66.42   $   8.60          $   145.29   $    145.29
  5/13/2018 Francisco A. Marte                 $11.00   69.18   $   8.60          $   160.51   $    160.51
  5/20/2018 Francisco A. Marte                 $11.00   67.50   $   8.60          $   151.25   $    151.25
  5/27/2018 Francisco A. Marte                 $11.00   69.77   $   8.60          $   163.72   $    163.72
   6/3/2018 Francisco A. Marte                 $11.00   60.27   $   8.60          $   111.47   $    111.47
  6/10/2018 Francisco A. Marte                 $11.00   63.82   $   8.60          $   130.99   $    130.99
  6/17/2018 Francisco A. Marte                 $11.00   66.25   $   8.60          $   144.38   $    144.38
  6/24/2018 Francisco A. Marte                 $11.00   63.67   $   8.60          $   130.17   $    130.17
   7/1/2018 Francisco A. Marte                 $11.00   67.15   $   8.60          $   149.33   $    149.33
   7/8/2018 Francisco A. Marte                 $11.00   51.82   $   8.60          $    64.99   $     64.99
  7/15/2018 Francisco A. Marte                 $11.00   52.50   $   8.60          $    68.75   $     68.75



                                                 206
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 208 of 683 PageID: 1055
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

  7/22/2018 Francisco A. Marte                 $11.00   65.77   $    8.60         $   141.72   $    141.72
  7/29/2018 Francisco A. Marte                 $11.00   68.45   $    8.60         $   156.48   $    156.48
   8/5/2018 Francisco A. Marte                 $11.00   59.35   $    8.60         $   106.43   $    106.43
  8/12/2018 Francisco A. Marte                 $11.00   63.82   $    8.60         $   130.99   $    130.99
  8/19/2018 Francisco A. Marte                 $11.00   68.35   $    8.60         $   155.93   $    155.93
  8/26/2018 Francisco A. Marte                 $11.00   65.23   $    8.60         $   138.78   $    138.78
   9/2/2018 Francisco A. Marte                 $11.00   66.27   $    8.60         $   144.47   $    144.47
   9/9/2018 Francisco A. Marte                 $11.00   58.57   $    8.60         $   102.12   $    102.12
  9/16/2018 Francisco A. Marte                 $11.00   61.98   $    8.60         $   120.91   $    120.91
  9/23/2018 Francisco A. Marte                 $11.00   59.18   $    8.60         $   105.51   $    105.51
  9/30/2018 Francisco A. Marte                 $11.00   61.78   $    8.60         $   119.81   $    119.81
  10/7/2018 Francisco A. Marte                 $11.00   58.72   $    8.60         $   102.94   $    102.94
 10/14/2018 Francisco A. Marte                 $11.00   59.13   $    8.60         $   105.23   $    105.23
  11/4/2018 Francisco A. Marte                 $11.00   63.05   $    8.60         $   126.78   $    126.78
 11/11/2018 Francisco A. Marte                 $11.00   57.93   $    8.60         $    98.63   $     98.63
 11/18/2018 Francisco A. Marte                 $11.00   64.57   $    8.60         $   135.12   $    135.12
 11/25/2018 Francisco A. Marte                 $11.00   44.07   $    8.60         $    22.37   $     22.37
  12/2/2018 Francisco A. Marte                 $11.00   67.70   $    8.60         $   152.35   $    152.35
  12/9/2018 Francisco A. Marte                 $11.00   58.22   $    8.60         $   100.19   $    100.19
 12/16/2018 Francisco A. Marte                 $11.00   64.95   $    8.60         $   137.23   $    137.23
 12/23/2018 Francisco A. Marte                 $11.00   68.95   $    8.60         $   159.23   $    159.23
   1/6/2019 Francisco A. Marte                 $11.00   47.18   $    8.85         $    39.51   $     39.51
  1/13/2019 Francisco A. Marte                 $11.00   54.70   $    8.85         $    80.85   $     80.85
  1/20/2019 Francisco A. Marte                 $11.00   55.22   $    8.85         $    83.69   $     83.69
  1/27/2019 Francisco A. Marte                 $11.00   54.63   $    8.85         $    80.48   $     80.48
   2/3/2019 Francisco A. Marte                 $11.00   60.43   $    8.85         $   112.38   $    112.38
  2/10/2019 Francisco A. Marte                 $11.00   47.60   $    8.85         $    41.80   $     41.80
  2/24/2019 Francisco A. Marte                 $11.00   64.62   $    8.85         $   135.39   $    135.39
   3/3/2019 Francisco A. Marte                 $11.00   66.70   $    8.85         $   146.85   $    146.85
  3/10/2019 Francisco A. Marte                 $11.00   63.07   $    8.85         $   126.87   $    126.87
  3/17/2019 Francisco A. Marte                 $11.00   64.78   $    8.85         $   136.31   $    136.31
  3/24/2019 Francisco A. Marte                 $11.00   63.40   $    8.85         $   128.70   $    128.70
  3/31/2019 Francisco A. Marte                 $11.00   68.60   $    8.85         $   157.30   $    157.30
   4/7/2019 Francisco A. Marte                 $11.00   60.92   $    8.85         $   115.04   $    115.04
  4/14/2019 Francisco A. Marte                 $11.00   63.38   $    8.85         $   128.61   $    128.61
  4/21/2019 Francisco A. Marte                 $11.00   68.27   $    8.85         $   155.47   $    155.47
  4/28/2019 Francisco A. Marte                 $11.00   61.93   $    8.85         $   120.63   $    120.63
   5/5/2019 Francisco A. Marte                 $11.00   54.57   $    8.85         $    80.12   $     80.12
  5/12/2019 Francisco A. Marte                 $11.00   54.72   $    8.85         $    80.94   $     80.94
  5/19/2019 Francisco A. Marte                 $11.00   66.32   $    8.85         $   144.74   $    144.74
   6/9/2019 Francisco A. Marte                 $11.00   67.68   $    8.85         $   152.26   $    152.26
  6/16/2019 Francisco A. Marte                 $11.00   61.92   $    8.85         $   120.54   $    120.54
  6/23/2019 Francisco A. Marte                 $11.00   65.82   $    8.85         $   141.99   $    141.99
  6/30/2019 Francisco A. Marte                 $11.00   65.97   $   10.00         $   142.82   $    142.82
   7/7/2019 Francisco A. Marte                 $11.00   51.33   $   10.00         $    62.33   $     62.33
  7/14/2019 Francisco A. Marte                 $11.00   60.52   $   10.00         $   112.84   $    112.84
  7/21/2019 Francisco A. Marte                 $11.00   65.85   $   10.00         $   142.18   $    142.18
  7/28/2019 Francisco A. Marte                 $11.00   71.58   $   10.00         $   173.71   $    173.71
   8/4/2019 Francisco A. Marte                 $11.00   54.43   $   10.00         $    79.38   $     79.38
  8/11/2019 Francisco A. Marte                 $11.00   53.43   $   10.00         $    73.88   $     73.88



                                                 207
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 209 of 683 PageID: 1056
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

  8/18/2019 Francisco A. Marte                 $11.00   58.65   $   10.00         $   102.58   $    102.58
  8/25/2019 Francisco A. Marte                 $11.00   61.07   $   10.00         $   115.87   $    115.87
   9/1/2019 Francisco A. Marte                 $11.00   65.75   $   10.00         $   141.63   $    141.63
   9/8/2019 Francisco A. Marte                 $11.00   54.88   $   10.00         $    81.86   $     81.86
  9/15/2019 Francisco A. Marte                 $11.00   60.15   $   10.00         $   110.83   $    110.83
  9/22/2019 Francisco A. Marte                 $11.00   56.47   $   10.00         $    90.57   $     90.57
  9/29/2019 Francisco A. Marte                 $11.00   56.33   $   10.00         $    89.83   $     89.83
  10/6/2019 Francisco A. Marte                 $11.00   61.42   $   10.00         $   117.79   $    117.79
 10/13/2019 Francisco A. Marte                 $11.00   55.27   $   10.00         $    83.97   $     83.97
 10/20/2019 Francisco A. Marte                 $11.00   49.33   $   10.00         $    51.33   $     51.33
 10/27/2019 Francisco A. Marte                 $11.00   55.40   $   10.00         $    84.70   $     84.70
  11/3/2019 Francisco A. Marte                 $11.00   45.70   $   10.00         $    31.35   $     31.35
  12/1/2019 Francisco A. Marte                 $11.00   52.65   $   10.00         $    69.58   $     69.58
  12/8/2019 Francisco A. Marte                 $11.00   62.78   $   10.00         $   125.31   $    125.31
 12/15/2019 Francisco A. Marte                 $11.00   63.33   $   10.00         $   128.33   $    128.33
 12/22/2019 Francisco A. Marte                 $11.00   63.40   $   10.00         $   128.70   $    128.70
 12/29/2019 Francisco A. Marte                 $11.00   45.80   $   10.00         $    31.90   $     31.90
   1/5/2020 Francisco A. Marte                 $11.00   45.85   $   11.00         $    32.18   $     32.18
  1/12/2020 Francisco A. Marte                 $11.00   43.48   $   11.00         $    19.16   $     19.16
  1/19/2020 Francisco A. Marte                 $11.00   51.08   $   11.00         $    60.96   $     60.96
  1/26/2020 Francisco A. Marte                 $11.00   53.85   $   11.00         $    76.18   $     76.18
  11/5/2017 Francisco A. Pena                   $9.50   58.63   $    8.44         $    88.51   $     88.51
 11/12/2017 Francisco A. Pena                   $9.50   59.32   $    8.44         $    91.75   $     91.75
 11/19/2017 Francisco A. Pena                   $9.50   48.35   $    8.44         $    39.66   $     39.66
 11/26/2017 Francisco A. Pena                   $9.50   50.40   $    8.44         $    49.40   $     49.40
  12/3/2017 Francisco A. Pena                   $9.50   61.13   $    8.44         $   100.38   $    100.38
 12/10/2017 Francisco A. Pena                   $9.50   61.15   $    8.44         $   100.46   $    100.46
 12/17/2017 Francisco A. Pena                   $9.50   63.68   $    8.44         $   112.50   $    112.50
 12/24/2017 Francisco A. Pena                   $9.50   67.75   $    8.44         $   131.81   $    131.81
 12/31/2017 Francisco A. Pena                   $9.50   55.63   $    8.44         $    74.26   $     74.26
   1/7/2018 Francisco A. Pena                   $9.50   47.15   $    8.60         $    33.96   $     33.96
  1/14/2018 Francisco A. Pena                   $9.50   63.37   $    8.60         $   110.99   $    110.99
  1/21/2018 Francisco A. Pena                   $9.50   61.77   $    8.60         $   103.39   $    103.39
  1/28/2018 Francisco A. Pena                   $9.50   62.82   $    8.60         $   108.38   $    108.38
   2/4/2018 Francisco A. Pena                   $9.50   60.48   $    8.60         $    97.30   $     97.30
  2/11/2018 Francisco A. Pena                   $9.50   56.58   $    8.60         $    78.77   $     78.77
  2/18/2018 Francisco A. Pena                   $9.50   62.37   $    8.60         $   106.24   $    106.24
  2/25/2018 Francisco A. Pena                   $9.50   61.73   $    8.60         $   103.23   $    103.23
   3/4/2018 Francisco A. Pena                   $9.50   59.93   $    8.60         $    94.68   $     94.68
  3/25/2018 Francisco A. Pena                   $9.50   60.10   $    8.60         $    95.48   $     95.48
   4/1/2018 Francisco A. Pena                   $9.50   65.88   $    8.60         $   122.95   $    122.95
   4/8/2018 Francisco A. Pena                   $9.50   55.05   $    8.60         $    71.49   $     71.49
  4/15/2018 Francisco A. Pena                   $9.50   64.07   $    8.60         $   114.32   $    114.32
  4/22/2018 Francisco A. Pena                   $9.50   64.05   $    8.60         $   114.24   $    114.24
  4/29/2018 Francisco A. Pena                   $9.50   72.18   $    8.60         $   152.87   $    152.87
   5/6/2018 Francisco A. Pena                   $9.50   74.82   $    8.60         $   165.38   $    165.38
  5/13/2018 Francisco A. Pena                   $9.50   55.85   $    8.60         $    75.29   $     75.29
  5/20/2018 Francisco A. Pena                   $9.50   59.35   $    8.60         $    91.91   $     91.91
  5/27/2018 Francisco A. Pena                   $9.50   70.82   $    8.60         $   146.38   $    146.38
   6/3/2018 Francisco A. Pena                   $9.50   57.43   $    8.60         $    82.81   $     82.81



                                                 208
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 210 of 683 PageID: 1057
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  6/10/2018 Francisco A. Pena                  $9.50   65.87   $   8.60          $   122.87   $    122.87
  6/17/2018 Francisco A. Pena                 $11.00   69.25   $   8.60          $   160.88   $    160.88
  6/24/2018 Francisco A. Pena                 $11.00   56.92   $   8.60          $    93.04   $     93.04
   7/1/2018 Francisco A. Pena                 $11.00   61.67   $   8.60          $   119.17   $    119.17
   7/8/2018 Francisco A. Pena                 $11.00   56.47   $   8.60          $    90.57   $     90.57
  7/15/2018 Francisco A. Pena                 $11.00   41.87   $   8.60          $    10.27   $     10.27
  7/22/2018 Francisco A. Pena                 $11.00   55.15   $   8.60          $    83.33   $     83.33
  7/29/2018 Francisco A. Pena                 $11.00   45.48   $   8.60          $    30.16   $     30.16
   8/5/2018 Francisco A. Pena                 $11.00   56.18   $   8.60          $    89.01   $     89.01
  8/12/2018 Francisco A. Pena                 $11.00   58.82   $   8.60          $   103.49   $    103.49
  8/19/2018 Francisco A. Pena                 $11.00   60.20   $   8.60          $   111.10   $    111.10
  8/26/2018 Francisco A. Pena                 $11.00   59.98   $   8.60          $   109.91   $    109.91
   9/2/2018 Francisco A. Pena                 $11.00   54.47   $   8.60          $    79.57   $     79.57
   9/9/2018 Francisco A. Pena                 $11.00   54.38   $   8.60          $    79.11   $     79.11
  9/16/2018 Francisco A. Pena                 $11.00   59.67   $   8.60          $   108.17   $    108.17
  9/23/2018 Francisco A. Pena                 $11.00   56.13   $   8.60          $    88.73   $     88.73
  9/30/2018 Francisco A. Pena                 $11.00   49.80   $   8.60          $    53.90   $     53.90
  10/7/2018 Francisco A. Pena                 $11.00   53.78   $   8.60          $    75.81   $     75.81
 10/14/2018 Francisco A. Pena                 $11.00   64.28   $   8.60          $   133.56   $    133.56
 10/21/2018 Francisco A. Pena                 $11.00   54.75   $   8.60          $    81.13   $     81.13
 10/28/2018 Francisco A. Pena                 $11.00   52.05   $   8.60          $    66.28   $     66.28
  11/4/2018 Francisco A. Pena                 $11.00   63.22   $   8.60          $   127.69   $    127.69
 11/11/2018 Francisco A. Pena                 $11.00   54.45   $   8.60          $    79.48   $     79.48
 11/18/2018 Francisco A. Pena                 $11.00   47.12   $   8.60          $    39.14   $     39.14
 11/25/2018 Francisco A. Pena                 $11.00   48.25   $   8.60          $    45.38   $     45.38
  12/2/2018 Francisco A. Pena                 $11.00   49.70   $   8.60          $    53.35   $     53.35
  12/9/2018 Francisco A. Pena                 $11.00   40.87   $   8.60          $     4.77   $      4.77
 12/16/2018 Francisco A. Pena                 $11.00   63.17   $   8.60          $   127.42   $    127.42
 12/23/2018 Francisco A. Pena                 $11.00   57.38   $   8.60          $    95.61   $     95.61
 12/30/2018 Francisco A. Pena                 $11.00   49.92   $   8.60          $    54.54   $     54.54
   1/6/2019 Francisco A. Pena                 $11.00   58.57   $   8.85          $   102.12   $    102.12
  1/13/2019 Francisco A. Pena                 $11.00   49.63   $   8.85          $    52.98   $     52.98
  1/20/2019 Francisco A. Pena                 $11.00   57.80   $   8.85          $    97.90   $     97.90
  1/27/2019 Francisco A. Pena                 $11.00   52.38   $   8.85          $    68.11   $     68.11
   2/3/2019 Francisco A. Pena                 $11.00   56.43   $   8.85          $    90.38   $     90.38
  2/10/2019 Francisco A. Pena                 $11.00   58.37   $   8.85          $   101.02   $    101.02
  2/17/2019 Francisco A. Pena                 $11.00   54.98   $   8.85          $    82.41   $     82.41
  2/24/2019 Francisco A. Pena                 $11.00   56.55   $   8.85          $    91.03   $     91.03
   3/3/2019 Francisco A. Pena                 $11.00   53.65   $   8.85          $    75.08   $     75.08
  3/10/2019 Francisco A. Pena                 $11.00   58.50   $   8.85          $   101.75   $    101.75
  3/17/2019 Francisco A. Pena                 $11.00   61.15   $   8.85          $   116.33   $    116.33
  3/24/2019 Francisco A. Pena                 $11.00   54.37   $   8.85          $    79.02   $     79.02
  3/31/2019 Francisco A. Pena                 $11.00   53.12   $   8.85          $    72.14   $     72.14
   4/7/2019 Francisco A. Pena                 $11.00   57.20   $   8.85          $    94.60   $     94.60
  4/14/2019 Francisco A. Pena                 $11.00   56.20   $   8.85          $    89.10   $     89.10
  4/21/2019 Francisco A. Pena                 $11.00   59.97   $   8.85          $   109.82   $    109.82
  4/28/2019 Francisco A. Pena                 $11.00   56.72   $   8.85          $    91.94   $     91.94
   5/5/2019 Francisco A. Pena                 $11.00   53.07   $   8.85          $    71.87   $     71.87
  5/12/2019 Francisco A. Pena                 $11.00   52.78   $   8.85          $    70.31   $     70.31
  5/19/2019 Francisco A. Pena                 $11.00   50.53   $   8.85          $    57.93   $     57.93



                                                209
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 211 of 683 PageID: 1058
                                                       Exhibit 2
                                               New Jersey Computations


   Week                                                               State Section 7: Section 7: Total Section 7
                                                      Hourly Hours/
  Ending                        Name                                Minumum Regular    Half-Time Overtime Back
                                                       Rate Week
   Date                                                               Wage  Rate Due     Due       Wages Due

  5/26/2019 Francisco A. Pena                         $11.00   61.33   $    8.85         $   117.33   $    117.33
   6/2/2019 Francisco A. Pena                         $11.00   52.87   $    8.85         $    70.77   $     70.77
   6/9/2019 Francisco A. Pena                         $11.00   54.65   $    8.85         $    80.58   $     80.58
  6/16/2019 Francisco A. Pena                         $11.00   63.25   $    8.85         $   127.88   $    127.88
  6/23/2019 Francisco A. Pena                         $11.00   57.58   $    8.85         $    96.71   $     96.71
   7/7/2019 Francisco A. Pena                         $12.00   53.40   $   10.00         $    80.40   $     80.40
  7/14/2019 Francisco A. Pena                         $12.00   62.65   $   10.00         $   135.90   $    135.90
  7/21/2019 Francisco A. Pena                         $12.00   59.23   $   10.00         $   115.40   $    115.40
  7/28/2019 Francisco A. Pena                         $12.00   57.45   $   10.00         $   104.70   $    104.70
   8/4/2019 Francisco A. Pena                         $12.00   62.82   $   10.00         $   136.90   $    136.90
  8/11/2019 Francisco A. Pena                         $12.00   57.02   $   10.00         $   102.10   $    102.10
  8/18/2019 Francisco A. Pena                         $12.00   59.45   $   10.00         $   116.70   $    116.70
  8/25/2019 Francisco A. Pena                         $12.00   58.73   $   10.00         $   112.40   $    112.40
   9/1/2019 Francisco A. Pena                         $12.00   54.25   $   10.00         $    85.50   $     85.50
   9/8/2019 Francisco A. Pena                         $12.00   54.07   $   10.00         $    84.40   $     84.40
  9/15/2019 Francisco A. Pena                         $12.00   62.68   $   10.00         $   136.10   $    136.10
  9/22/2019 Francisco A. Pena                         $12.00   60.83   $   10.00         $   125.00   $    125.00
  9/29/2019 Francisco A. Pena                         $12.00   56.25   $   10.00         $    97.50   $     97.50
  10/6/2019 Francisco A. Pena                         $12.00   53.23   $   10.00         $    79.40   $     79.40
 10/13/2019 Francisco A. Pena                         $12.00   55.52   $   10.00         $    93.10   $     93.10
 10/27/2019 Francisco A. Pena                         $12.00   58.58   $   10.00         $   111.50   $    111.50
  11/3/2019 Francisco A. Pena                         $12.00   47.70   $   10.00         $    46.20   $     46.20
 11/10/2019 Francisco A. Pena                         $12.00   46.72   $   10.00         $    40.30   $     40.30
 11/17/2019 Francisco A. Pena                         $12.00   49.72   $   10.00         $    58.30   $     58.30
 11/24/2019 Francisco A. Pena                         $12.00   56.33   $   10.00         $    98.00   $     98.00
  12/1/2019 Francisco A. Pena                         $12.00   56.02   $   10.00         $    96.10   $     96.10
  12/8/2019 Francisco A. Pena                         $12.00   53.18   $   10.00         $    79.10   $     79.10
 12/15/2019 Francisco A. Pena                         $12.00   62.43   $   10.00         $   134.60   $    134.60
 12/22/2019 Francisco A. Pena                         $12.00   61.82   $   10.00         $   130.90   $    130.90
 12/29/2019 Francisco A. Pena                         $12.00   44.88   $   10.00         $    29.30   $     29.30
   1/5/2020 Francisco A. Pena                         $12.00   57.05   $   11.00         $   102.30   $    102.30
  1/12/2020 Francisco A. Pena                         $12.00   51.53   $   11.00         $    69.20   $     69.20
  1/19/2020 Francisco A. Pena                         $12.00   61.43   $   11.00         $   128.60   $    128.60
  1/26/2020 Francisco A. Pena                         $12.00   41.93   $   11.00         $    11.60   $     11.60
   2/4/2018 Francisco Alejandro Smith Uniera          $11.00   59.23   $    8.60         $   105.78   $    105.78
  2/11/2018 Francisco Alejandro Smith Uniera          $11.00   58.83   $    8.60         $   103.58   $    103.58
  2/18/2018 Francisco Alejandro Smith Uniera          $11.00   58.20   $    8.60         $   100.10   $    100.10
  2/25/2018 Francisco Alejandro Smith Uniera          $11.00   60.48   $    8.60         $   112.66   $    112.66
   3/4/2018 Francisco Alejandro Smith Uniera          $11.00   58.43   $    8.60         $   101.38   $    101.38
  3/25/2018 Francisco Alejandro Smith Uniera          $11.00   52.77   $    8.60         $    70.22   $     70.22
   4/1/2018 Francisco Alejandro Smith Uniera          $11.00   59.40   $    8.60         $   106.70   $    106.70
   4/8/2018 Francisco Alejandro Smith Uniera          $11.00   58.80   $    8.60         $   103.40   $    103.40
  4/15/2018 Francisco Alejandro Smith Uniera          $11.00   58.15   $    8.60         $    99.83   $     99.83
  4/22/2018 Francisco Alejandro Smith Uniera          $11.00   58.37   $    8.60         $   101.02   $    101.02
  4/29/2018 Francisco Alejandro Smith Uniera          $11.00   57.02   $    8.60         $    93.59   $     93.59
   5/6/2018 Francisco Alejandro Smith Uniera          $11.00   58.10   $    8.60         $    99.55   $     99.55
  5/13/2018 Francisco Alejandro Smith Uniera          $11.00   47.18   $    8.60         $    39.51   $     39.51
  5/20/2018 Francisco Alejandro Smith Uniera          $11.00   55.17   $    8.60         $    83.42   $     83.42
  5/27/2018 Francisco Alejandro Smith Uniera          $11.00   56.97   $    8.60         $    93.32   $     93.32
   6/3/2018 Francisco Alejandro Smith Uniera          $11.00   56.60   $    8.60         $    91.30   $     91.30



                                                        210
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 212 of 683 PageID: 1059
                                                       Exhibit 2
                                               New Jersey Computations


   Week                                                               State Section 7: Section 7: Total Section 7
                                                      Hourly Hours/
  Ending                        Name                                Minumum Regular    Half-Time Overtime Back
                                                       Rate Week
   Date                                                               Wage  Rate Due     Due       Wages Due

  6/10/2018 Francisco Alejandro Smith Uniera          $11.00   59.87   $   8.60          $   109.27   $    109.27
  6/17/2018 Francisco Alejandro Smith Uniera          $11.00   55.80   $   8.60          $    86.90   $     86.90
  6/24/2018 Francisco Alejandro Smith Uniera          $11.00   53.47   $   8.60          $    74.07   $     74.07
   7/1/2018 Francisco Alejandro Smith Uniera          $11.00   58.82   $   8.60          $   103.49   $    103.49
   7/8/2018 Francisco Alejandro Smith Uniera          $11.00   46.87   $   8.60          $    37.77   $     37.77
  7/15/2018 Francisco Alejandro Smith Uniera          $11.00   57.52   $   8.60          $    96.34   $     96.34
  7/22/2018 Francisco Alejandro Smith Uniera          $11.00   55.57   $   8.60          $    85.62   $     85.62
  7/29/2018 Francisco Alejandro Smith Uniera          $11.00   59.65   $   8.60          $   108.08   $    108.08
   8/5/2018 Francisco Alejandro Smith Uniera          $11.00   49.07   $   8.60          $    49.87   $     49.87
  8/12/2018 Francisco Alejandro Smith Uniera          $11.00   59.17   $   8.60          $   105.42   $    105.42
  8/19/2018 Francisco Alejandro Smith Uniera          $11.00   46.50   $   8.60          $    35.75   $     35.75
  9/23/2018 Francisco Alejandro Smith Uniera          $11.00   58.10   $   8.60          $    99.55   $     99.55
  9/30/2018 Francisco Alejandro Smith Uniera          $11.00   50.50   $   8.60          $    57.75   $     57.75
  10/7/2018 Francisco Alejandro Smith Uniera          $11.00   57.87   $   8.60          $    98.27   $     98.27
 10/14/2018 Francisco Alejandro Smith Uniera          $11.00   52.45   $   8.60          $    68.48   $     68.48
 10/21/2018 Francisco Alejandro Smith Uniera          $11.00   48.22   $   8.60          $    45.19   $     45.19
 10/28/2018 Francisco Alejandro Smith Uniera          $11.00   47.80   $   8.60          $    42.90   $     42.90
 11/11/2018 Francisco Alejandro Smith Uniera          $11.00   55.13   $   8.60          $    83.23   $     83.23
 11/18/2018 Francisco Alejandro Smith Uniera          $11.00   59.97   $   8.60          $   109.82   $    109.82
 11/25/2018 Francisco Alejandro Smith Uniera          $11.00   48.53   $   8.60          $    46.93   $     46.93
  12/2/2018 Francisco Alejandro Smith Uniera          $11.00   58.83   $   8.60          $   103.58   $    103.58
  12/9/2018 Francisco Alejandro Smith Uniera          $11.00   60.62   $   8.60          $   113.39   $    113.39
 12/16/2018 Francisco Alejandro Smith Uniera          $11.00   52.83   $   8.60          $    70.58   $     70.58
 12/23/2018 Francisco Alejandro Smith Uniera          $11.00   59.22   $   8.60          $   105.69   $    105.69
 12/30/2018 Francisco Alejandro Smith Uniera          $11.00   45.38   $   8.60          $    29.61   $     29.61
   1/6/2019 Francisco Alejandro Smith Uniera          $11.00   45.67   $   8.85          $    31.17   $     31.17
  1/13/2019 Francisco Alejandro Smith Uniera          $11.00   59.30   $   8.85          $   106.15   $    106.15
  1/20/2019 Francisco Alejandro Smith Uniera          $11.00   53.80   $   8.85          $    75.90   $     75.90
  1/27/2019 Francisco Alejandro Smith Uniera          $11.00   48.38   $   8.85          $    46.11   $     46.11
   2/3/2019 Francisco Alejandro Smith Uniera          $11.00   56.00   $   8.85          $    88.00   $     88.00
  2/10/2019 Francisco Alejandro Smith Uniera          $11.00   58.63   $   8.85          $   102.48   $    102.48
  2/17/2019 Francisco Alejandro Smith Uniera          $11.00   47.60   $   8.85          $    41.80   $     41.80
  2/24/2019 Francisco Alejandro Smith Uniera          $11.00   58.17   $   8.85          $    99.92   $     99.92
   3/3/2019 Francisco Alejandro Smith Uniera          $11.00   58.47   $   8.85          $   101.57   $    101.57
  3/10/2019 Francisco Alejandro Smith Uniera          $11.00   58.00   $   8.85          $    99.00   $     99.00
  3/17/2019 Francisco Alejandro Smith Uniera          $11.00   58.00   $   8.85          $    99.00   $     99.00
  3/24/2019 Francisco Alejandro Smith Uniera          $11.00   48.28   $   8.85          $    45.56   $     45.56
  3/31/2019 Francisco Alejandro Smith Uniera          $11.00   56.08   $   8.85          $    88.46   $     88.46
   4/7/2019 Francisco Alejandro Smith Uniera          $11.00   57.75   $   8.85          $    97.63   $     97.63
  4/14/2019 Francisco Alejandro Smith Uniera          $11.00   51.15   $   8.85          $    61.33   $     61.33
  4/21/2019 Francisco Alejandro Smith Uniera          $11.00   58.22   $   8.85          $   100.19   $    100.19
  4/28/2019 Francisco Alejandro Smith Uniera          $11.00   48.10   $   8.85          $    44.55   $     44.55
   5/5/2019 Francisco Alejandro Smith Uniera          $11.00   58.08   $   8.85          $    99.46   $     99.46
  5/12/2019 Francisco Alejandro Smith Uniera          $11.00   57.43   $   8.85          $    95.88   $     95.88
  5/19/2019 Francisco Alejandro Smith Uniera          $11.00   57.12   $   8.85          $    94.14   $     94.14
  5/26/2019 Francisco Alejandro Smith Uniera          $11.00   58.80   $   8.85          $   103.40   $    103.40
   6/2/2019 Francisco Alejandro Smith Uniera          $11.00   53.65   $   8.85          $    75.08   $     75.08
   6/9/2019 Francisco Alejandro Smith Uniera          $11.00   48.25   $   8.85          $    45.38   $     45.38
  6/16/2019 Francisco Alejandro Smith Uniera          $11.00   53.72   $   8.85          $    75.44   $     75.44
  6/23/2019 Francisco Alejandro Smith Uniera          $11.00   49.87   $   8.85          $    54.27   $     54.27



                                                        211
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 213 of 683 PageID: 1060
                                                       Exhibit 2
                                               New Jersey Computations


   Week                                                               State Section 7: Section 7: Total Section 7
                                                      Hourly Hours/
  Ending                        Name                                Minumum Regular    Half-Time Overtime Back
                                                       Rate Week
   Date                                                               Wage  Rate Due     Due       Wages Due

  6/30/2019 Francisco Alejandro Smith Uniera          $11.00   58.95   $   10.00               $   104.23   $   104.23
   7/7/2019 Francisco Alejandro Smith Uniera          $12.00   54.07   $   10.00               $    84.40   $    84.40
  7/14/2019 Francisco Alejandro Smith Uniera          $12.00   63.68   $   10.00               $   142.10   $   142.10
  7/21/2019 Francisco Alejandro Smith Uniera          $12.00   68.45   $   10.00               $   170.70   $   170.70
  7/28/2019 Francisco Alejandro Smith Uniera          $12.00   67.62   $   10.00               $   165.70   $   165.70
   8/4/2019 Francisco Alejandro Smith Uniera          $12.00   66.23   $   10.00               $   157.40   $   157.40
  8/11/2019 Francisco Alejandro Smith Uniera          $12.00   68.78   $   10.00               $   172.70   $   172.70
  8/18/2019 Francisco Alejandro Smith Uniera          $12.00   62.90   $   10.00               $   137.40   $   137.40
  8/25/2019 Francisco Alejandro Smith Uniera          $12.00   53.53   $   10.00               $    81.20   $    81.20
   9/8/2019 Francisco Alejandro Smith Uniera          $12.00   44.15   $   10.00               $    24.90   $    24.90
  9/15/2019 Francisco Alejandro Smith Uniera          $12.00   68.85   $   10.00               $   173.10   $   173.10
  9/22/2019 Francisco Alejandro Smith Uniera          $12.00   66.68   $   10.00               $   160.10   $   160.10
  9/29/2019 Francisco Alejandro Smith Uniera          $12.00   64.22   $   10.00               $   145.30   $   145.30
  10/6/2019 Francisco Alejandro Smith Uniera          $12.00   52.92   $   10.00               $    77.50   $    77.50
 10/13/2019 Francisco Alejandro Smith Uniera          $12.00   56.43   $   10.00               $    98.60   $    98.60
 10/20/2019 Francisco Alejandro Smith Uniera          $12.00   53.53   $   10.00               $    81.20   $    81.20
 10/27/2019 Francisco Alejandro Smith Uniera          $12.00   51.05   $   10.00               $    66.30   $    66.30
  11/3/2019 Francisco Alejandro Smith Uniera          $12.00   63.13   $   10.00               $   138.80   $   138.80
 11/10/2019 Francisco Alejandro Smith Uniera          $12.00   56.35   $   10.00               $    98.10   $    98.10
 11/17/2019 Francisco Alejandro Smith Uniera          $12.00   62.62   $   10.00               $   135.70   $   135.70
 11/24/2019 Francisco Alejandro Smith Uniera          $12.00   64.08   $   10.00               $   144.50   $   144.50
  12/1/2019 Francisco Alejandro Smith Uniera          $12.00   40.65   $   10.00               $     3.90   $     3.90
  12/8/2019 Francisco Alejandro Smith Uniera          $12.00   54.28   $   10.00               $    85.70   $    85.70
 12/15/2019 Francisco Alejandro Smith Uniera          $12.00   61.37   $   10.00               $   128.20   $   128.20
 12/22/2019 Francisco Alejandro Smith Uniera          $12.00   63.85   $   10.00               $   143.10   $   143.10
 12/29/2019 Francisco Alejandro Smith Uniera          $12.00   50.35   $   10.00               $    62.10   $    62.10
   1/5/2020 Francisco Alejandro Smith Uniera          $12.00   49.87   $   11.00               $    59.20   $    59.20
  1/12/2020 Francisco Alejandro Smith Uniera          $12.00   61.95   $   11.00               $   131.70   $   131.70
  1/19/2020 Francisco Alejandro Smith Uniera          $12.00   62.80   $   11.00               $   136.80   $   136.80
  1/26/2020 Francisco Alejandro Smith Uniera          $12.00   48.80   $   11.00               $    52.80   $    52.80
  4/28/2019 Francisco Antono Perez                    $10.50   70.77   $    8.85               $   161.53   $   161.53
   5/5/2019 Francisco Antono Perez                    $10.50   69.33   $    8.85               $   154.00   $   154.00
  5/12/2019 Francisco Antono Perez                    $10.50   70.00   $    8.85               $   157.50   $   157.50
  5/19/2019 Francisco Antono Perez                    $10.50   64.45   $    8.85               $   128.36   $   128.36
  5/26/2019 Francisco Antono Perez                    $10.50   51.55   $    8.85               $    60.64   $    60.64
   6/2/2019 Francisco Antono Perez                    $10.50   62.37   $    8.85               $   117.43   $   117.43
   6/9/2019 Francisco Antono Perez                    $10.50   61.72   $    8.85               $   114.01   $   114.01
  6/16/2019 Francisco Antono Perez                    $10.50   57.10   $    8.85               $    89.78   $    89.78
  6/30/2019 Francisco Antono Perez                    $10.50   69.65   $   10.00               $   155.66   $   155.66
   7/7/2019 Francisco Antono Perez                    $10.50   45.12   $   10.00               $    26.86   $    26.86
  7/14/2019 Francisco Antono Perez                    $10.50   59.10   $   10.00               $   100.28   $   100.28
  7/21/2019 Francisco Antono Perez                    $10.50   64.65   $   10.00               $   129.41   $   129.41
 11/17/2019 Francisco Antono Perez                    $11.00   45.73   $   10.00               $    31.53   $    31.53
  12/8/2019 Francisco Antono Perez                    $11.00   60.37   $   10.00               $   112.02   $   112.02
 12/15/2019 Francisco Antono Perez                    $10.50   54.55   $   10.00               $    76.39   $    76.39
 12/22/2019 Francisco Antono Perez                    $10.50   59.85   $   10.00               $   104.21   $   104.21
   1/5/2020 Francisco Antono Perez                    $10.50   46.28   $   11.00   $   23.14   $    34.56   $    57.70
  1/12/2020 Francisco Antono Perez                    $10.50   65.75   $   11.00   $   32.88   $   141.63   $   174.50
  1/19/2020 Francisco Antono Perez                    $10.50   60.02   $   11.00   $   30.01   $   110.09   $   140.10
  1/26/2020 Francisco Antono Perez                    $10.50   50.00   $   11.00   $   25.00   $    55.00   $    80.00



                                                        212
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 214 of 683 PageID: 1061
                                                  Exhibit 2
                                          New Jersey Computations


   Week                                                          State Section 7: Section 7: Total Section 7
                                                 Hourly Hours/
  Ending                       Name                            Minumum Regular    Half-Time Overtime Back
                                                  Rate Week
   Date                                                          Wage  Rate Due     Due       Wages Due

  9/22/2019 Francisco Cruz - Car Washer          $11.00   73.80   $   10.00         $   185.90   $    185.90
  9/29/2019 Francisco Cruz - Car Washer          $11.00   76.97   $   10.00         $   203.32   $    203.32
  10/6/2019 Francisco Cruz - Car Washer          $11.00   72.87   $   10.00         $   180.77   $    180.77
 10/13/2019 Francisco Cruz - Car Washer          $11.00   73.05   $   10.00         $   181.78   $    181.78
 10/20/2019 Francisco Cruz - Car Washer          $11.00   76.10   $   10.00         $   198.55   $    198.55
 10/27/2019 Francisco Cruz - Car Washer          $11.00   72.87   $   10.00         $   180.77   $    180.77
  11/3/2019 Francisco Cruz - Car Washer          $11.00   76.10   $   10.00         $   198.55   $    198.55
 11/10/2019 Francisco Cruz - Car Washer          $11.00   72.18   $   10.00         $   177.01   $    177.01
 11/17/2019 Francisco Cruz - Car Washer          $11.00   70.90   $   10.00         $   169.95   $    169.95
 11/24/2019 Francisco Cruz - Car Washer          $11.00   74.98   $   10.00         $   192.41   $    192.41
  12/1/2019 Francisco Cruz - Car Washer          $11.00   66.32   $   10.00         $   144.74   $    144.74
  12/8/2019 Francisco Cruz - Car Washer          $11.00   53.08   $   10.00         $    71.96   $     71.96
 12/15/2019 Francisco Cruz - Car Washer          $11.00   53.35   $   10.00         $    73.43   $     73.43
 12/22/2019 Francisco Cruz - Car Washer          $11.00   71.58   $   10.00         $   173.71   $    173.71
 12/29/2019 Francisco Cruz - Car Washer          $11.00   62.85   $   10.00         $   125.68   $    125.68
   1/5/2020 Francisco Cruz - Car Washer          $11.00   78.65   $   11.00         $   212.58   $    212.58
  1/12/2020 Francisco Cruz - Car Washer          $11.00   77.88   $   11.00         $   208.36   $    208.36
  1/19/2020 Francisco Cruz - Car Washer          $11.00   76.32   $   11.00         $   199.74   $    199.74
  1/26/2020 Francisco Cruz - Car Washer          $11.00   65.83   $   11.00         $   142.08   $    142.08
   5/7/2017 Francisco Hernandez                   $9.00   64.37   $    8.44         $   109.65   $    109.65
  5/14/2017 Francisco Hernandez                   $9.00   49.85   $    8.44         $    44.33   $     44.33
  12/3/2017 Francisco Javier Sass                 $9.50   60.53   $    8.44         $    97.53   $     97.53
 12/10/2017 Francisco Javier Sass                 $9.50   60.58   $    8.44         $    97.77   $     97.77
 12/17/2017 Francisco Javier Sass                 $9.50   64.90   $    8.44         $   118.28   $    118.28
 12/24/2017 Francisco Javier Sass                 $9.50   59.35   $    8.44         $    91.91   $     91.91
 12/31/2017 Francisco Javier Sass                 $9.50   42.42   $    8.44         $    11.48   $     11.48
 12/16/2018 Francisco Marte-0220                  $9.50   58.00   $    8.60         $    85.50   $     85.50
   8/5/2018 Franklin Espinal                     $10.00   55.62   $    8.60         $    78.08   $     78.08
  8/12/2018 Franklin Espinal                     $10.00   55.05   $    8.60         $    75.25   $     75.25
   2/5/2017 Franklin Marrero                     $10.00   60.33   $    8.44         $   101.67   $    101.67
  2/12/2017 Franklin Marrero                     $10.00   44.38   $    8.44         $    21.92   $     21.92
  2/19/2017 Franklin Marrero                     $10.00   60.48   $    8.44         $   102.42   $    102.42
  2/26/2017 Franklin Marrero                     $10.00   60.55   $    8.44         $   102.75   $    102.75
   3/5/2017 Franklin Marrero                     $10.00   50.52   $    8.44         $    52.58   $     52.58
  3/12/2017 Franklin Marrero                     $10.00   61.95   $    8.44         $   109.75   $    109.75
  3/19/2017 Franklin Marrero                     $10.00   46.68   $    8.44         $    33.42   $     33.42
  3/26/2017 Franklin Marrero                     $10.00   59.92   $    8.44         $    99.58   $     99.58
   4/2/2017 Franklin Marrero                     $10.00   59.85   $    8.44         $    99.25   $     99.25
   4/9/2017 Franklin Marrero                     $10.00   59.32   $    8.44         $    96.58   $     96.58
  4/16/2017 Franklin Marrero                     $10.00   59.63   $    8.44         $    98.17   $     98.17
  4/23/2017 Franklin Marrero                     $10.00   59.57   $    8.44         $    97.83   $     97.83
  4/30/2017 Franklin Marrero                     $10.00   60.80   $    8.44         $   104.00   $    104.00
   5/7/2017 Franklin Marrero                     $10.00   61.57   $    8.44         $   107.83   $    107.83
  5/14/2017 Franklin Marrero                     $10.00   59.57   $    8.44         $    97.83   $     97.83
  5/21/2017 Franklin Marrero                     $10.00   62.35   $    8.44         $   111.75   $    111.75
  5/28/2017 Franklin Marrero                     $10.00   62.80   $    8.44         $   114.00   $    114.00
   6/4/2017 Franklin Marrero                     $10.00   61.53   $    8.44         $   107.67   $    107.67
  6/11/2017 Franklin Marrero                     $10.00   62.07   $    8.44         $   110.33   $    110.33
  6/18/2017 Franklin Marrero                     $10.00   59.50   $    8.44         $    97.50   $     97.50
  6/25/2017 Franklin Marrero                     $10.00   62.95   $    8.44         $   114.75   $    114.75



                                                   213
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 215 of 683 PageID: 1062
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

   7/2/2017 Franklin Marrero                 $10.00   54.23   $    8.44         $    71.17   $     71.17
   7/9/2017 Franklin Marrero                 $10.00   50.40   $    8.44         $    52.00   $     52.00
  7/16/2017 Franklin Marrero                 $10.00   59.32   $    8.44         $    96.58   $     96.58
  7/23/2017 Franklin Marrero                 $10.00   61.78   $    8.44         $   108.92   $    108.92
  7/30/2017 Franklin Marrero                 $10.00   68.53   $    8.44         $   142.67   $    142.67
   8/6/2017 Franklin Marrero                 $10.00   68.00   $    8.44         $   140.00   $    140.00
  8/13/2017 Franklin Marrero                 $10.00   68.35   $    8.44         $   141.75   $    141.75
  8/20/2017 Franklin Marrero                 $10.00   67.73   $    8.44         $   138.67   $    138.67
  8/27/2017 Franklin Marrero                 $10.00   66.95   $    8.44         $   134.75   $    134.75
   9/3/2017 Franklin Marrero                 $10.00   67.82   $    8.44         $   139.08   $    139.08
  9/10/2017 Franklin Marrero                 $10.00   67.35   $    8.44         $   136.75   $    136.75
  9/17/2017 Franklin Marrero                 $10.00   69.00   $    8.44         $   145.00   $    145.00
  9/24/2017 Franklin Marrero                 $10.00   71.70   $    8.44         $   158.50   $    158.50
  10/1/2017 Franklin Marrero                 $10.00   69.72   $    8.44         $   148.58   $    148.58
  10/8/2017 Franklin Marrero                 $10.00   60.35   $    8.44         $   101.75   $    101.75
 10/15/2017 Franklin Marrero                 $10.00   59.38   $    8.44         $    96.92   $     96.92
 10/22/2017 Franklin Marrero                 $10.00   59.50   $    8.44         $    97.50   $     97.50
 10/29/2017 Franklin Marrero                 $10.00   61.20   $    8.44         $   106.00   $    106.00
  11/5/2017 Franklin Marrero                 $10.00   60.45   $    8.44         $   102.25   $    102.25
 11/12/2017 Franklin Marrero                 $10.00   57.98   $    8.44         $    89.92   $     89.92
 11/19/2017 Franklin Marrero                 $10.00   58.70   $    8.44         $    93.50   $     93.50
  12/3/2017 Franklin Marrero                 $10.00   59.63   $    8.44         $    98.17   $     98.17
 12/10/2017 Franklin Marrero                 $10.00   59.60   $    8.44         $    98.00   $     98.00
 12/17/2017 Franklin Marrero                 $10.00   58.33   $    8.44         $    91.67   $     91.67
 12/24/2017 Franklin Marrero                 $10.00   59.87   $    8.44         $    99.33   $     99.33
 12/31/2017 Franklin Marrero                 $10.00   49.85   $    8.44         $    49.25   $     49.25
   1/7/2018 Franklin Marrero                 $10.00   52.43   $    8.60         $    62.17   $     62.17
  1/14/2018 Franklin Marrero                 $10.00   55.53   $    8.60         $    77.67   $     77.67
  4/28/2019 Franklin Marrero                 $10.00   73.93   $    8.85         $   169.67   $    169.67
   5/5/2019 Franklin Marrero                 $10.00   66.45   $    8.85         $   132.25   $    132.25
  5/12/2019 Franklin Marrero                 $10.00   69.65   $    8.85         $   148.25   $    148.25
  5/19/2019 Franklin Marrero                 $10.00   60.47   $    8.85         $   102.33   $    102.33
  5/26/2019 Franklin Marrero                 $10.00   60.63   $    8.85         $   103.17   $    103.17
   6/2/2019 Franklin Marrero                 $10.00   62.32   $    8.85         $   111.58   $    111.58
   6/9/2019 Franklin Marrero                 $10.00   52.57   $    8.85         $    62.83   $     62.83
  6/16/2019 Franklin Marrero                 $10.00   56.38   $    8.85         $    81.92   $     81.92
  6/23/2019 Franklin Marrero                 $10.00   45.35   $    8.85         $    26.75   $     26.75
  6/30/2019 Franklin Marrero                 $10.00   60.13   $   10.00         $   100.67   $    100.67
   7/7/2019 Franklin Marrero                 $10.00   50.18   $   10.00         $    50.92   $     50.92
  7/14/2019 Franklin Marrero                 $10.00   59.68   $   10.00         $    98.42   $     98.42
  7/21/2019 Franklin Marrero                 $10.00   50.07   $   10.00         $    50.33   $     50.33
  7/28/2019 Franklin Marrero                 $10.00   60.07   $   10.00         $   100.33   $    100.33
   8/4/2019 Franklin Marrero                 $10.00   59.75   $   10.00         $    98.75   $     98.75
  8/11/2019 Franklin Marrero                 $10.00   59.48   $   10.00         $    97.42   $     97.42
  8/18/2019 Franklin Marrero                 $10.00   58.62   $   10.00         $    93.08   $     93.08
  8/25/2019 Franklin Marrero                 $10.00   59.00   $   10.00         $    95.00   $     95.00
   9/1/2019 Franklin Marrero                 $10.00   59.45   $   10.00         $    97.25   $     97.25
   9/8/2019 Franklin Marrero                 $10.00   49.93   $   10.00         $    49.67   $     49.67
  9/15/2019 Franklin Marrero                 $10.00   48.73   $   10.00         $    43.67   $     43.67
  9/22/2019 Franklin Marrero                 $10.00   73.97   $   10.00         $   169.83   $    169.83



                                               214
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 216 of 683 PageID: 1063
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  9/29/2019 Franklin Marrero                  $10.00   76.98   $   10.00               $   184.92   $   184.92
  10/6/2019 Franklin Marrero                  $10.00   73.02   $   10.00               $   165.08   $   165.08
 10/13/2019 Franklin Marrero                  $10.00   73.15   $   10.00               $   165.75   $   165.75
 10/20/2019 Franklin Marrero                  $10.00   42.60   $   10.00               $    13.00   $    13.00
 10/27/2019 Franklin Marrero                  $10.00   62.53   $   10.00               $   112.67   $   112.67
  11/3/2019 Franklin Marrero                  $10.00   66.15   $   10.00               $   130.75   $   130.75
 11/10/2019 Franklin Marrero                  $10.00   52.98   $   10.00               $    64.92   $    64.92
 11/17/2019 Franklin Marrero                  $10.00   42.83   $   10.00               $    14.17   $    14.17
 11/24/2019 Franklin Marrero                  $10.00   60.13   $   10.00               $   100.67   $   100.67
  12/1/2019 Franklin Marrero                  $10.00   57.30   $   10.00               $    86.50   $    86.50
  12/8/2019 Franklin Marrero                  $10.00   56.30   $   10.00               $    81.50   $    81.50
 12/15/2019 Franklin Marrero                  $10.00   63.55   $   10.00               $   117.75   $   117.75
 12/22/2019 Franklin Marrero                  $10.00   59.50   $   10.00               $    97.50   $    97.50
 12/29/2019 Franklin Marrero                  $10.00   62.83   $   10.00               $   114.17   $   114.17
   1/5/2020 Franklin Marrero                  $10.00   78.62   $   11.00   $   78.62   $   212.39   $   291.01
  1/12/2020 Franklin Marrero                  $10.00   78.53   $   11.00   $   78.53   $   211.93   $   290.47
  1/19/2020 Franklin Marrero                  $10.00   77.02   $   11.00   $   77.02   $   203.59   $   280.61
  1/26/2020 Franklin Marrero                  $10.00   78.90   $   11.00   $   78.90   $   213.95   $   292.85
   2/5/2017 Franklin Mercedes                 $10.50   72.82   $    8.44               $   172.29   $   172.29
  2/12/2017 Franklin Mercedes                 $10.50   66.97   $    8.44               $   141.58   $   141.58
  2/19/2017 Franklin Mercedes                 $10.50   54.73   $    8.44               $    77.35   $    77.35
  2/26/2017 Franklin Mercedes                 $10.50   53.23   $    8.44               $    69.48   $    69.48
   3/5/2017 Franklin Mercedes                 $10.50   70.23   $    8.44               $   158.73   $   158.73
  3/12/2017 Franklin Mercedes                 $10.50   68.82   $    8.44               $   151.29   $   151.29
  3/19/2017 Franklin Mercedes                 $10.50   53.78   $    8.44               $    72.36   $    72.36
  3/26/2017 Franklin Mercedes                 $10.50   67.47   $    8.44               $   144.20   $   144.20
   4/2/2017 Franklin Mercedes                 $10.50   54.62   $    8.44               $    76.74   $    76.74
   4/9/2017 Franklin Mercedes                 $10.50   65.47   $    8.44               $   133.70   $   133.70
  4/16/2017 Franklin Mercedes                 $10.50   65.25   $    8.44               $   132.56   $   132.56
  4/23/2017 Franklin Mercedes                 $10.50   66.22   $    8.44               $   137.64   $   137.64
  4/30/2017 Franklin Mercedes                 $10.50   64.97   $    8.44               $   131.08   $   131.08
   5/7/2017 Franklin Mercedes                 $10.50   60.90   $    8.44               $   109.73   $   109.73
  5/14/2017 Franklin Mercedes                 $10.50   68.58   $    8.44               $   150.06   $   150.06
  5/21/2017 Franklin Mercedes                 $10.50   64.78   $    8.44               $   130.11   $   130.11
  5/28/2017 Franklin Mercedes                 $10.50   61.10   $    8.44               $   110.78   $   110.78
   6/4/2017 Franklin Mercedes                 $10.50   58.57   $    8.44               $    97.48   $    97.48
  6/11/2017 Franklin Mercedes                 $10.50   67.83   $    8.44               $   146.13   $   146.13
  6/18/2017 Franklin Mercedes                 $10.50   67.63   $    8.44               $   145.08   $   145.08
  6/25/2017 Franklin Mercedes                 $10.50   56.92   $    8.44               $    88.81   $    88.81
   7/2/2017 Franklin Mercedes                 $10.50   69.77   $    8.44               $   156.28   $   156.28
   7/9/2017 Franklin Mercedes                 $10.50   62.10   $    8.44               $   116.03   $   116.03
  7/16/2017 Franklin Mercedes                 $10.50   55.17   $    8.44               $    79.63   $    79.63
  7/23/2017 Franklin Mercedes                 $10.50   56.85   $    8.44               $    88.46   $    88.46
  7/30/2017 Franklin Mercedes                 $10.50   58.92   $    8.44               $    99.31   $    99.31
   8/6/2017 Franklin Mercedes                 $10.50   47.55   $    8.44               $    39.64   $    39.64
  8/13/2017 Franklin Mercedes                 $10.50   48.73   $    8.44               $    45.85   $    45.85
  8/20/2017 Franklin Mercedes                 $10.50   59.92   $    8.44               $   104.56   $   104.56
  8/27/2017 Franklin Mercedes                 $10.50   60.68   $    8.44               $   108.59   $   108.59
   9/3/2017 Franklin Mercedes                 $10.50   56.37   $    8.44               $    85.93   $    85.93
  9/10/2017 Franklin Mercedes                 $10.50   61.65   $    8.44               $   113.66   $   113.66



                                                215
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 217 of 683 PageID: 1064
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  9/17/2017 Franklin Mercedes                 $10.50   53.93   $   8.44          $    73.15   $     73.15
  9/24/2017 Franklin Mercedes                 $10.50   59.92   $   8.44          $   104.56   $    104.56
  10/1/2017 Franklin Mercedes                 $10.50   47.97   $   8.44          $    41.83   $     41.83
 10/15/2017 Franklin Mercedes                 $10.50   56.38   $   8.44          $    86.01   $     86.01
  12/3/2017 Franklin Mercedes                 $12.00   73.37   $   8.44          $   200.20   $    200.20
 12/10/2017 Franklin Mercedes                 $12.00   57.53   $   8.44          $   105.20   $    105.20
 12/17/2017 Franklin Mercedes                 $12.00   62.73   $   8.44          $   136.40   $    136.40
 12/24/2017 Franklin Mercedes                 $12.00   69.15   $   8.44          $   174.90   $    174.90
 12/31/2017 Franklin Mercedes                 $12.00   65.28   $   8.44          $   151.70   $    151.70
   1/7/2018 Franklin Mercedes                 $12.00   55.52   $   8.60          $    93.10   $     93.10
  1/14/2018 Franklin Mercedes                 $12.00   60.13   $   8.60          $   120.80   $    120.80
  1/21/2018 Franklin Mercedes                 $12.00   53.85   $   8.60          $    83.10   $     83.10
  1/28/2018 Franklin Mercedes                 $12.00   62.27   $   8.60          $   133.60   $    133.60
   2/4/2018 Franklin Mercedes                 $12.00   56.88   $   8.60          $   101.30   $    101.30
  2/11/2018 Franklin Mercedes                 $12.00   60.30   $   8.60          $   121.80   $    121.80
  2/18/2018 Franklin Mercedes                 $12.00   63.00   $   8.60          $   138.00   $    138.00
  2/25/2018 Franklin Mercedes                 $12.00   65.97   $   8.60          $   155.80   $    155.80
   3/4/2018 Franklin Mercedes                 $12.00   55.85   $   8.60          $    95.10   $     95.10
  3/25/2018 Franklin Mercedes                 $12.00   57.07   $   8.60          $   102.40   $    102.40
   4/1/2018 Franklin Mercedes                 $12.00   64.48   $   8.60          $   146.90   $    146.90
   4/8/2018 Franklin Mercedes                 $12.00   63.10   $   8.60          $   138.60   $    138.60
  4/15/2018 Franklin Mercedes                 $12.00   59.28   $   8.60          $   115.70   $    115.70
  4/22/2018 Franklin Mercedes                 $12.00   51.80   $   8.60          $    70.80   $     70.80
  4/29/2018 Franklin Mercedes                 $12.00   55.95   $   8.60          $    95.70   $     95.70
   5/6/2018 Franklin Mercedes                 $12.00   68.50   $   8.60          $   171.00   $    171.00
  5/13/2018 Franklin Mercedes                 $12.00   53.05   $   8.60          $    78.30   $     78.30
  5/20/2018 Franklin Mercedes                 $12.00   61.90   $   8.60          $   131.40   $    131.40
  5/27/2018 Franklin Mercedes                 $12.00   64.07   $   8.60          $   144.40   $    144.40
   6/3/2018 Franklin Mercedes                 $12.00   70.23   $   8.60          $   181.40   $    181.40
  6/10/2018 Franklin Mercedes                 $12.00   57.05   $   8.60          $   102.30   $    102.30
  6/17/2018 Franklin Mercedes                 $12.00   55.53   $   8.60          $    93.20   $     93.20
  6/24/2018 Franklin Mercedes                 $12.00   58.77   $   8.60          $   112.60   $    112.60
   7/1/2018 Franklin Mercedes                 $12.00   65.10   $   8.60          $   150.60   $    150.60
   8/6/2017 Franklyn Decena                    $9.50   53.60   $   8.44          $    64.60   $     64.60
  8/13/2017 Franklyn Decena                    $9.50   66.48   $   8.44          $   125.80   $    125.80
  8/20/2017 Franklyn Decena                    $9.50   67.27   $   8.44          $   129.52   $    129.52
  8/27/2017 Franklyn Decena                    $9.50   65.52   $   8.44          $   121.20   $    121.20
   9/3/2017 Franklyn Decena                    $9.50   56.33   $   8.44          $    77.58   $     77.58
  9/10/2017 Franklyn Decena                    $9.50   62.57   $   8.44          $   107.19   $    107.19
  9/17/2017 Franklyn Decena                    $9.50   64.98   $   8.44          $   118.67   $    118.67
  9/24/2017 Franklyn Decena                    $9.50   64.90   $   8.44          $   118.28   $    118.28
  10/1/2017 Franklyn Decena                    $9.50   63.95   $   8.44          $   113.76   $    113.76
  10/8/2017 Franklyn Decena                    $9.50   66.77   $   8.44          $   127.14   $    127.14
 10/15/2017 Franklyn Decena                    $9.50   66.67   $   8.44          $   126.67   $    126.67
 10/22/2017 Franklyn Decena                    $9.50   72.40   $   8.44          $   153.90   $    153.90
 10/29/2017 Franklyn Decena                    $9.50   59.13   $   8.44          $    90.88   $     90.88
  11/5/2017 Franklyn Decena                    $9.50   66.15   $   8.44          $   124.21   $    124.21
 11/26/2017 Franklyn Decena                    $9.50   60.98   $   8.44          $    99.67   $     99.67
  12/3/2017 Franklyn Decena                    $9.50   63.95   $   8.44          $   113.76   $    113.76
 12/10/2017 Franklyn Decena                    $9.50   67.93   $   8.44          $   132.68   $    132.68



                                                216
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 218 of 683 PageID: 1065
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

 12/17/2017 Franklyn Decena                  $9.50   70.50   $   8.44          $   144.88   $    144.88
 12/24/2017 Franklyn Decena                  $9.50   72.82   $   8.44          $   155.88   $    155.88
 12/31/2017 Franklyn Decena                  $9.50   61.17   $   8.44          $   100.54   $    100.54
   1/7/2018 Franklyn Decena                  $9.50   60.55   $   8.60          $    97.61   $     97.61
  1/14/2018 Franklyn Decena                  $9.50   66.00   $   8.60          $   123.50   $    123.50
  1/21/2018 Franklyn Decena                  $9.50   59.25   $   8.60          $    91.44   $     91.44
  1/28/2018 Franklyn Decena                  $9.50   72.23   $   8.60          $   153.11   $    153.11
   2/4/2018 Franklyn Decena                  $9.50   78.90   $   8.60          $   184.78   $    184.78
  2/11/2018 Franklyn Decena                  $9.50   75.72   $   8.60          $   169.65   $    169.65
  2/18/2018 Franklyn Decena                  $9.50   68.48   $   8.60          $   135.30   $    135.30
  2/25/2018 Franklyn Decena                  $9.50   72.50   $   8.60          $   154.38   $    154.38
   3/4/2018 Franklyn Decena                  $9.50   71.53   $   8.60          $   149.78   $    149.78
  3/25/2018 Franklyn Decena                  $9.50   72.07   $   8.60          $   152.32   $    152.32
   4/1/2018 Franklyn Decena                  $9.50   70.37   $   8.60          $   144.24   $    144.24
   4/8/2018 Franklyn Decena                  $9.50   73.05   $   8.60          $   156.99   $    156.99
  4/15/2018 Franklyn Decena                  $9.50   73.65   $   8.60          $   159.84   $    159.84
  4/22/2018 Franklyn Decena                  $9.50   73.53   $   8.60          $   159.28   $    159.28
  4/29/2018 Franklyn Decena                  $9.50   73.18   $   8.60          $   157.62   $    157.62
   5/6/2018 Franklyn Decena                  $9.50   75.00   $   8.60          $   166.25   $    166.25
  5/13/2018 Franklyn Decena                  $9.50   74.87   $   8.60          $   165.62   $    165.62
  5/20/2018 Franklyn Decena                  $9.50   74.70   $   8.60          $   164.83   $    164.83
  5/27/2018 Franklyn Decena                  $9.50   75.62   $   8.60          $   169.18   $    169.18
   6/3/2018 Franklyn Decena                  $9.50   73.20   $   8.60          $   157.70   $    157.70
  6/10/2018 Franklyn Decena                  $9.50   52.20   $   8.60          $    57.95   $     57.95
  6/24/2018 Franklyn Decena                 $11.00   53.35   $   8.60          $    73.43   $     73.43
   7/1/2018 Franklyn Decena                 $11.00   68.40   $   8.60          $   156.20   $    156.20
  7/15/2018 Franklyn Decena                 $11.00   51.55   $   8.60          $    63.52   $     63.52
  7/22/2018 Franklyn Decena                 $11.00   58.00   $   8.60          $    99.00   $     99.00
  7/29/2018 Franklyn Decena                 $11.00   60.80   $   8.60          $   114.40   $    114.40
   8/5/2018 Franklyn Decena                 $11.00   46.93   $   8.60          $    38.13   $     38.13
  8/12/2018 Franklyn Decena                 $11.00   64.33   $   8.60          $   133.83   $    133.83
  8/19/2018 Franklyn Decena                 $11.00   62.83   $   8.60          $   125.58   $    125.58
  8/26/2018 Franklyn Decena                 $11.00   61.08   $   8.60          $   115.96   $    115.96
   9/2/2018 Franklyn Decena                 $11.00   60.65   $   8.60          $   113.58   $    113.58
   9/9/2018 Franklyn Decena                 $11.00   42.87   $   8.60          $    15.77   $     15.77
  9/16/2018 Franklyn Decena                 $11.00   49.73   $   8.60          $    53.53   $     53.53
  9/23/2018 Franklyn Decena                 $11.00   60.67   $   8.60          $   113.67   $    113.67
  9/30/2018 Franklyn Decena                 $11.00   53.42   $   8.60          $    73.79   $     73.79
  10/7/2018 Franklyn Decena                 $11.00   62.08   $   8.60          $   121.46   $    121.46
 10/14/2018 Franklyn Decena                 $11.00   52.28   $   8.60          $    67.56   $     67.56
 10/21/2018 Franklyn Decena                 $11.00   53.15   $   8.60          $    72.33   $     72.33
 10/28/2018 Franklyn Decena                 $11.00   58.92   $   8.60          $   104.04   $    104.04
  11/4/2018 Franklyn Decena                 $11.00   55.68   $   8.60          $    86.26   $     86.26
 11/11/2018 Franklyn Decena                 $11.00   54.37   $   8.60          $    79.02   $     79.02
 11/18/2018 Franklyn Decena                 $11.00   59.92   $   8.60          $   109.54   $    109.54
 11/25/2018 Franklyn Decena                 $11.00   42.42   $   8.60          $    13.29   $     13.29
  1/13/2019 Franklyn Decena                 $11.00   49.90   $   8.85          $    54.45   $     54.45
  1/20/2019 Franklyn Decena                 $11.00   51.27   $   8.85          $    61.97   $     61.97
  1/27/2019 Franklyn Decena                 $11.00   48.92   $   8.85          $    49.04   $     49.04
   2/3/2019 Franklyn Decena                 $11.00   44.23   $   8.85          $    23.28   $     23.28



                                              217
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 219 of 683 PageID: 1066
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  2/10/2019 Franklyn Decena                  $11.00   49.92   $    8.85         $    54.54   $     54.54
  2/17/2019 Franklyn Decena                  $11.00   51.62   $    8.85         $    63.89   $     63.89
  2/24/2019 Franklyn Decena                  $11.00   54.05   $    8.85         $    77.28   $     77.28
   3/3/2019 Franklyn Decena                  $11.00   59.20   $    8.85         $   105.60   $    105.60
  3/10/2019 Franklyn Decena                  $11.00   64.83   $    8.85         $   136.58   $    136.58
  3/17/2019 Franklyn Decena                  $11.00   62.70   $    8.85         $   124.85   $    124.85
  3/24/2019 Franklyn Decena                  $11.00   65.27   $    8.85         $   138.97   $    138.97
  3/31/2019 Franklyn Decena                  $11.00   70.38   $    8.85         $   167.11   $    167.11
   4/7/2019 Franklyn Decena                  $11.00   66.88   $    8.85         $   147.86   $    147.86
  4/14/2019 Franklyn Decena                  $11.00   67.85   $    8.85         $   153.18   $    153.18
  4/21/2019 Franklyn Decena                  $11.00   70.15   $    8.85         $   165.83   $    165.83
  4/28/2019 Franklyn Decena                  $11.00   65.50   $    8.85         $   140.25   $    140.25
   5/5/2019 Franklyn Decena                  $11.00   67.22   $    8.85         $   149.69   $    149.69
  5/12/2019 Franklyn Decena                  $11.00   65.92   $    8.85         $   142.54   $    142.54
  5/19/2019 Franklyn Decena                  $11.00   60.22   $    8.85         $   111.19   $    111.19
  5/26/2019 Franklyn Decena                  $11.00   60.23   $    8.85         $   111.28   $    111.28
   6/2/2019 Franklyn Decena                  $11.00   56.27   $    8.85         $    89.47   $     89.47
   6/9/2019 Franklyn Decena                  $11.00   55.80   $    8.85         $    86.90   $     86.90
  7/28/2019 Franklyn Decena                  $11.00   72.52   $   10.00         $   178.84   $    178.84
   8/4/2019 Franklyn Decena                  $12.00   72.38   $   10.00         $   194.30   $    194.30
  8/11/2019 Franklyn Decena                  $12.00   57.70   $   10.00         $   106.20   $    106.20
  8/18/2019 Franklyn Decena                  $12.00   67.65   $   10.00         $   165.90   $    165.90
  8/25/2019 Franklyn Decena                  $12.00   67.72   $   10.00         $   166.30   $    166.30
   9/1/2019 Franklyn Decena                  $12.00   63.67   $   10.00         $   142.00   $    142.00
   9/8/2019 Franklyn Decena                  $12.00   61.77   $   10.00         $   130.60   $    130.60
  9/15/2019 Franklyn Decena                  $12.00   56.70   $   10.00         $   100.20   $    100.20
  9/22/2019 Franklyn Decena                  $12.00   66.67   $   10.00         $   160.00   $    160.00
  9/29/2019 Franklyn Decena                  $12.00   66.68   $   10.00         $   160.10   $    160.10
  10/6/2019 Franklyn Decena                  $12.00   67.15   $   10.00         $   162.90   $    162.90
 10/13/2019 Franklyn Decena                  $12.00   65.35   $   10.00         $   152.10   $    152.10
 10/20/2019 Franklyn Decena                  $12.00   64.48   $   10.00         $   146.90   $    146.90
 10/27/2019 Franklyn Decena                  $12.00   58.18   $   10.00         $   109.10   $    109.10
  11/3/2019 Franklyn Decena                  $12.00   65.90   $   10.00         $   155.40   $    155.40
 11/10/2019 Franklyn Decena                  $12.00   62.75   $   10.00         $   136.50   $    136.50
 11/17/2019 Franklyn Decena                  $12.00   55.98   $   10.00         $    95.90   $     95.90
 11/24/2019 Franklyn Decena                  $12.00   64.68   $   10.00         $   148.10   $    148.10
  12/1/2019 Franklyn Decena                  $12.00   52.50   $   10.00         $    75.00   $     75.00
  12/8/2019 Franklyn Decena                  $12.00   54.77   $   10.00         $    88.60   $     88.60
 12/15/2019 Franklyn Decena                  $12.00   62.48   $   10.00         $   134.90   $    134.90
 12/22/2019 Franklyn Decena                  $12.00   62.45   $   10.00         $   134.70   $    134.70
 12/29/2019 Franklyn Decena                  $12.00   48.50   $   10.00         $    51.00   $     51.00
   1/5/2020 Franklyn Decena                  $12.00   52.65   $   11.00         $    75.90   $     75.90
  1/12/2020 Franklyn Decena                  $12.00   65.03   $   11.00         $   150.20   $    150.20
  1/19/2020 Franklyn Decena                  $12.00   63.38   $   11.00         $   140.30   $    140.30
  1/26/2020 Franklyn Decena                  $12.00   65.08   $   11.00         $   150.50   $    150.50
   5/6/2018 Freddy Martinez                   $9.00   81.73   $    8.60         $   187.80   $    187.80
  5/13/2018 Freddy Martinez                   $9.00   76.42   $    8.60         $   163.88   $    163.88
  11/5/2017 Fredy Amilcar Marquez            $11.00   56.55   $    8.44         $    91.03   $     91.03
 11/12/2017 Fredy Amilcar Marquez            $11.00   59.47   $    8.44         $   107.07   $    107.07
 11/19/2017 Fredy Amilcar Marquez            $11.00   55.35   $    8.44         $    84.43   $     84.43



                                               218
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 220 of 683 PageID: 1067
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                        Name                         Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

 11/26/2017 Fredy Amilcar Marquez              $11.00   44.47   $    8.44         $    24.57   $     24.57
   2/5/2017 Fredys Ortiz Benitez                $9.00   59.57   $    8.44         $    88.05   $     88.05
  2/12/2017 Fredys Ortiz Benitez                $9.00   54.35   $    8.44         $    64.58   $     64.58
  2/19/2017 Fredys Ortiz Benitez                $9.00   49.83   $    8.44         $    44.25   $     44.25
  2/26/2017 Fredys Ortiz Benitez                $9.00   69.65   $    8.44         $   133.43   $    133.43
   3/5/2017 Fredys Ortiz Benitez                $9.00   77.02   $    8.44         $   166.58   $    166.58
  3/12/2017 Fredys Ortiz Benitez                $9.00   58.28   $    8.44         $    82.28   $     82.28
  3/19/2017 Fredys Ortiz Benitez                $9.00   67.72   $    8.44         $   124.73   $    124.73
  3/26/2017 Fredys Ortiz Benitez                $9.00   84.43   $    8.44         $   199.95   $    199.95
  4/23/2017 Fredys Ortiz Benitez                $9.00   58.50   $    8.44         $    83.25   $     83.25
  4/30/2017 Fredys Ortiz Benitez                $9.00   81.97   $    8.44         $   188.85   $    188.85
   5/7/2017 Fredys Ortiz Benitez                $9.00   78.42   $    8.44         $   172.88   $    172.88
  5/14/2017 Fredys Ortiz Benitez                $9.00   85.77   $    8.44         $   205.95   $    205.95
  11/3/2019 Freyson Stiff Arias Zamor          $11.50   53.47   $   10.00         $    77.43   $     77.43
 11/10/2019 Freyson Stiff Arias Zamor          $11.50   42.77   $   10.00         $    15.91   $     15.91
 11/17/2019 Freyson Stiff Arias Zamor          $11.50   61.73   $   10.00         $   124.97   $    124.97
 11/24/2019 Freyson Stiff Arias Zamor          $11.50   61.40   $   10.00         $   123.05   $    123.05
  12/1/2019 Freyson Stiff Arias Zamor          $11.50   51.05   $   10.00         $    63.54   $     63.54
  12/8/2019 Freyson Stiff Arias Zamor          $11.50   51.02   $   10.00         $    63.35   $     63.35
 12/15/2019 Freyson Stiff Arias Zamor          $11.50   58.57   $   10.00         $   106.76   $    106.76
 12/22/2019 Freyson Stiff Arias Zamor          $11.50   64.25   $   10.00         $   139.44   $    139.44
 12/29/2019 Freyson Stiff Arias Zamor          $11.50   50.87   $   10.00         $    62.48   $     62.48
   1/5/2020 Freyson Stiff Arias Zamor          $11.50   50.95   $   11.00         $    62.96   $     62.96
  1/12/2020 Freyson Stiff Arias Zamor          $11.50   60.00   $   11.00         $   115.00   $    115.00
  1/19/2020 Freyson Stiff Arias Zamor          $11.50   61.57   $   11.00         $   124.01   $    124.01
  1/26/2020 Freyson Stiff Arias Zamor          $11.50   61.57   $   11.00         $   124.01   $    124.01
   7/2/2017 Gabriel A. Nova                     $9.00   68.52   $    8.44         $   128.33   $    128.33
   7/9/2017 Gabriel A. Nova                     $9.00   63.32   $    8.44         $   104.93   $    104.93
  7/16/2017 Gabriel A. Nova                     $9.00   63.83   $    8.44         $   107.25   $    107.25
  7/23/2017 Gabriel A. Nova                     $9.00   63.10   $    8.44         $   103.95   $    103.95
  7/30/2017 Gabriel A. Nova                     $9.00   58.38   $    8.44         $    82.73   $     82.73
   8/6/2017 Gabriel A. Nova                     $9.00   69.62   $    8.44         $   133.28   $    133.28
  8/13/2017 Gabriel A. Nova                     $9.00   59.02   $    8.44         $    85.58   $     85.58
  8/20/2017 Gabriel A. Nova                     $9.00   77.50   $    8.44         $   168.75   $    168.75
  8/27/2017 Gabriel A. Nova                     $9.00   76.87   $    8.44         $   165.90   $    165.90
   9/3/2017 Gabriel A. Nova                     $9.00   64.55   $    8.44         $   110.48   $    110.48
  9/10/2017 Gabriel A. Nova                     $9.00   67.33   $    8.44         $   123.00   $    123.00
  9/17/2017 Gabriel A. Nova                     $9.00   57.12   $    8.44         $    77.03   $     77.03
  9/24/2017 Gabriel A. Nova                     $9.00   79.43   $    8.44         $   177.45   $    177.45
  10/8/2017 Gabriel A. Nova                     $9.00   41.88   $    8.44         $     8.48   $      8.48
 10/15/2017 Gabriel A. Nova                     $9.00   64.85   $    8.44         $   111.83   $    111.83
 10/22/2017 Gabriel A. Nova                     $9.00   69.58   $    8.44         $   133.13   $    133.13
 10/29/2017 Gabriel A. Nova                     $9.00   65.67   $    8.44         $   115.50   $    115.50
  11/5/2017 Gabriel A. Nova                     $9.00   65.43   $    8.44         $   114.45   $    114.45
 11/12/2017 Gabriel A. Nova                     $9.00   66.30   $    8.44         $   118.35   $    118.35
 11/19/2017 Gabriel A. Nova                     $9.00   69.42   $    8.44         $   132.38   $    132.38
 11/26/2017 Gabriel A. Nova                     $9.00   63.38   $    8.44         $   105.23   $    105.23
  12/3/2017 Gabriel A. Nova                     $9.00   61.25   $    8.44         $    95.63   $     95.63
 12/10/2017 Gabriel A. Nova                     $9.00   58.87   $    8.44         $    84.90   $     84.90
 12/17/2017 Gabriel A. Nova                     $9.00   68.33   $    8.44         $   127.50   $    127.50



                                                 219
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 221 of 683 PageID: 1068
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                       Name                          Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

 12/24/2017 Gabriel A. Nova                     $9.00   64.17   $   8.44          $   108.75   $    108.75
 12/31/2017 Gabriel A. Nova                     $9.00   56.20   $   8.44          $    72.90   $     72.90
   1/7/2018 Gabriel A. Nova                     $9.00   52.55   $   8.60          $    56.48   $     56.48
  1/14/2018 Gabriel A. Nova                     $9.00   71.90   $   8.60          $   143.55   $    143.55
  1/21/2018 Gabriel A. Nova                     $9.00   78.10   $   8.60          $   171.45   $    171.45
  1/28/2018 Gabriel A. Nova                     $9.00   78.63   $   8.60          $   173.85   $    173.85
  2/11/2018 Gabriel A. Nova                     $9.00   59.43   $   8.60          $    87.45   $     87.45
  2/18/2018 Gabriel A. Nova                     $9.00   63.28   $   8.60          $   104.78   $    104.78
  2/25/2018 Gabriel A. Nova                     $9.00   69.07   $   8.60          $   130.80   $    130.80
   3/4/2018 Gabriel A. Nova                     $9.00   52.95   $   8.60          $    58.28   $     58.28
  3/25/2018 Gabriel A. Nova                     $9.00   63.03   $   8.60          $   103.65   $    103.65
   4/1/2018 Gabriel A. Nova                     $9.00   59.23   $   8.60          $    86.55   $     86.55
   4/8/2018 Gabriel A. Nova                     $9.00   57.20   $   8.60          $    77.40   $     77.40
  4/15/2018 Gabriel A. Nova                     $9.00   58.90   $   8.60          $    85.05   $     85.05
  4/29/2018 Gabriel A. Nova                     $9.00   58.80   $   8.60          $    84.60   $     84.60
   5/6/2018 Gabriel A. Nova                     $9.00   72.13   $   8.60          $   144.60   $    144.60
  5/13/2018 Gabriel A. Nova                     $9.00   62.35   $   8.60          $   100.58   $    100.58
  5/20/2018 Gabriel A. Nova                     $9.00   65.73   $   8.60          $   115.80   $    115.80
  5/27/2018 Gabriel A. Nova                     $9.00   86.88   $   8.60          $   210.98   $    210.98
   6/3/2018 Gabriel A. Nova                     $9.00   83.07   $   8.60          $   193.80   $    193.80
  6/10/2018 Gabriel A. Nova                     $9.00   73.55   $   8.60          $   150.98   $    150.98
  6/17/2018 Gabriel A. Nova                     $9.00   50.08   $   8.60          $    45.38   $     45.38
  6/24/2018 Gabriel A. Nova                     $9.00   59.45   $   8.60          $    87.53   $     87.53
   7/1/2018 Gabriel A. Nova                     $9.00   90.28   $   8.60          $   226.28   $    226.28
   7/8/2018 Gabriel A. Nova                     $9.00   65.35   $   8.60          $   114.08   $    114.08
  7/15/2018 Gabriel A. Nova                     $9.00   68.02   $   8.60          $   126.08   $    126.08
  7/22/2018 Gabriel A. Nova                     $9.00   67.08   $   8.60          $   121.88   $    121.88
  7/29/2018 Gabriel A. Nova                     $9.00   68.70   $   8.60          $   129.15   $    129.15
   8/5/2018 Gabriel A. Nova                     $9.00   67.88   $   8.60          $   125.48   $    125.48
  8/12/2018 Gabriel A. Nova                     $9.00   67.55   $   8.60          $   123.98   $    123.98
  8/19/2018 Gabriel A. Nova                     $9.00   70.43   $   8.60          $   136.95   $    136.95
  8/26/2018 Gabriel A. Nova                     $9.00   71.53   $   8.60          $   141.90   $    141.90
   9/2/2018 Gabriel A. Nova                     $9.00   74.27   $   8.60          $   154.20   $    154.20
   9/9/2018 Gabriel A. Nova                     $9.00   71.47   $   8.60          $   141.60   $    141.60
  9/16/2018 Gabriel A. Nova                     $9.00   72.27   $   8.60          $   145.20   $    145.20
  9/23/2018 Gabriel A. Nova                     $9.00   59.38   $   8.60          $    87.23   $     87.23
  9/30/2018 Gabriel A. Nova                     $9.00   65.70   $   8.60          $   115.65   $    115.65
  8/26/2018 Gabriel Santiago Gonzalez          $10.00   59.88   $   8.60          $    99.42   $     99.42
   9/2/2018 Gabriel Santiago Gonzalez          $10.00   59.28   $   8.60          $    96.42   $     96.42
   9/9/2018 Gabriel Santiago Gonzalez          $10.00   48.97   $   8.60          $    44.83   $     44.83
  9/16/2018 Gabriel Santiago Gonzalez          $10.00   58.97   $   8.60          $    94.83   $     94.83
  9/23/2018 Gabriel Santiago Gonzalez          $10.00   48.53   $   8.60          $    42.67   $     42.67
  9/30/2018 Gabriel Santiago Gonzalez          $10.00   58.20   $   8.60          $    91.00   $     91.00
  10/7/2018 Gabriel Santiago Gonzalez          $10.00   58.87   $   8.60          $    94.33   $     94.33
 10/21/2018 Gabriel Santiago Gonzalez          $10.00   59.50   $   8.60          $    97.50   $     97.50
 10/28/2018 Gabriel Santiago Gonzalez          $10.00   59.70   $   8.60          $    98.50   $     98.50
  11/4/2018 Gabriel Santiago Gonzalez          $10.00   63.33   $   8.60          $   116.67   $    116.67
 11/11/2018 Gabriel Santiago Gonzalez          $10.00   59.03   $   8.60          $    95.17   $     95.17
 11/18/2018 Gabriel Santiago Gonzalez          $10.00   58.92   $   8.60          $    94.58   $     94.58
 11/25/2018 Gabriel Santiago Gonzalez          $10.00   50.58   $   8.60          $    52.92   $     52.92



                                                 220
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 222 of 683 PageID: 1069
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                       Name                          Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

  12/2/2018 Gabriel Santiago Gonzalez          $10.00   58.88   $    8.60         $    94.42   $     94.42
  12/9/2018 Gabriel Santiago Gonzalez          $10.00   62.02   $    8.60         $   110.08   $    110.08
 12/16/2018 Gabriel Santiago Gonzalez          $10.00   59.25   $    8.60         $    96.25   $     96.25
 12/23/2018 Gabriel Santiago Gonzalez          $10.00   59.13   $    8.60         $    95.67   $     95.67
 12/30/2018 Gabriel Santiago Gonzalez          $10.00   45.83   $    8.60         $    29.17   $     29.17
   1/6/2019 Gabriel Santiago Gonzalez          $10.00   48.57   $    8.85         $    42.83   $     42.83
  1/13/2019 Gabriel Santiago Gonzalez          $10.00   58.75   $    8.85         $    93.75   $     93.75
  1/20/2019 Gabriel Santiago Gonzalez          $10.00   56.42   $    8.85         $    82.08   $     82.08
  1/27/2019 Gabriel Santiago Gonzalez          $10.00   59.03   $    8.85         $    95.17   $     95.17
   2/3/2019 Gabriel Santiago Gonzalez          $10.00   49.52   $    8.85         $    47.58   $     47.58
  2/10/2019 Gabriel Santiago Gonzalez          $10.00   59.13   $    8.85         $    95.67   $     95.67
  2/24/2019 Gabriel Santiago Gonzalez          $10.00   59.55   $    8.85         $    97.75   $     97.75
   3/3/2019 Gabriel Santiago Gonzalez          $10.00   59.25   $    8.85         $    96.25   $     96.25
  3/10/2019 Gabriel Santiago Gonzalez          $10.00   49.38   $    8.85         $    46.92   $     46.92
  3/17/2019 Gabriel Santiago Gonzalez          $10.00   60.58   $    8.85         $   102.92   $    102.92
  3/24/2019 Gabriel Santiago Gonzalez          $10.00   59.00   $    8.85         $    95.00   $     95.00
  3/31/2019 Gabriel Santiago Gonzalez          $10.00   59.68   $    8.85         $    98.42   $     98.42
   4/7/2019 Gabriel Santiago Gonzalez          $10.00   59.20   $    8.85         $    96.00   $     96.00
  4/14/2019 Gabriel Santiago Gonzalez          $10.00   59.15   $    8.85         $    95.75   $     95.75
  4/21/2019 Gabriel Santiago Gonzalez          $10.00   61.03   $    8.85         $   105.17   $    105.17
  4/28/2019 Gabriel Santiago Gonzalez          $10.00   55.05   $    8.85         $    75.25   $     75.25
   5/5/2019 Gabriel Santiago Gonzalez          $10.00   61.25   $    8.85         $   106.25   $    106.25
  5/12/2019 Gabriel Santiago Gonzalez          $10.00   61.70   $    8.85         $   108.50   $    108.50
  5/19/2019 Gabriel Santiago Gonzalez          $10.00   61.77   $    8.85         $   108.83   $    108.83
  5/26/2019 Gabriel Santiago Gonzalez          $10.00   61.30   $    8.85         $   106.50   $    106.50
   6/2/2019 Gabriel Santiago Gonzalez          $10.00   49.23   $    8.85         $    46.17   $     46.17
   6/9/2019 Gabriel Santiago Gonzalez          $10.00   60.43   $    8.85         $   102.17   $    102.17
  6/16/2019 Gabriel Santiago Gonzalez          $10.00   59.17   $    8.85         $    95.83   $     95.83
  6/23/2019 Gabriel Santiago Gonzalez          $10.00   58.58   $    8.85         $    92.92   $     92.92
  6/30/2019 Gabriel Santiago Gonzalez          $10.00   60.35   $   10.00         $   101.75   $    101.75
   7/7/2019 Gabriel Santiago Gonzalez          $10.00   50.13   $   10.00         $    50.67   $     50.67
  7/14/2019 Gabriel Santiago Gonzalez          $10.00   59.35   $   10.00         $    96.75   $     96.75
  7/21/2019 Gabriel Santiago Gonzalez          $10.00   59.93   $   10.00         $    99.67   $     99.67
  7/28/2019 Gabriel Santiago Gonzalez          $10.00   59.00   $   10.00         $    95.00   $     95.00
   8/4/2019 Gabriel Santiago Gonzalez          $10.00   59.85   $   10.00         $    99.25   $     99.25
  8/11/2019 Gabriel Santiago Gonzalez          $10.00   59.33   $   10.00         $    96.67   $     96.67
  8/18/2019 Gabriel Santiago Gonzalez          $10.00   59.72   $   10.00         $    98.58   $     98.58
  8/25/2019 Gabriel Santiago Gonzalez          $10.00   49.25   $   10.00         $    46.25   $     46.25
   9/1/2019 Gabriel Santiago Gonzalez          $10.00   60.07   $   10.00         $   100.33   $    100.33
   9/8/2019 Gabriel Santiago Gonzalez          $10.00   49.15   $   10.00         $    45.75   $     45.75
  9/15/2019 Gabriel Santiago Gonzalez          $10.00   59.87   $   10.00         $    99.33   $     99.33
  9/22/2019 Gabriel Santiago Gonzalez          $10.00   60.05   $   10.00         $   100.25   $    100.25
  9/29/2019 Gabriel Santiago Gonzalez          $10.00   59.70   $   10.00         $    98.50   $     98.50
  10/6/2019 Gabriel Santiago Gonzalez          $10.00   61.85   $   10.00         $   109.25   $    109.25
 10/13/2019 Gabriel Santiago Gonzalez          $10.00   60.40   $   10.00         $   102.00   $    102.00
 10/20/2019 Gabriel Santiago Gonzalez          $11.00   59.23   $   10.00         $   105.78   $    105.78
 10/27/2019 Gabriel Santiago Gonzalez          $11.00   61.65   $   10.00         $   119.08   $    119.08
  11/3/2019 Gabriel Santiago Gonzalez          $11.00   59.02   $   10.00         $   104.59   $    104.59
 11/10/2019 Gabriel Santiago Gonzalez          $11.00   62.03   $   10.00         $   121.18   $    121.18
 11/17/2019 Gabriel Santiago Gonzalez          $11.00   61.37   $   10.00         $   117.52   $    117.52



                                                 221
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 223 of 683 PageID: 1070
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                       Name                          Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

 11/24/2019 Gabriel Santiago Gonzalez          $11.00   63.18   $   10.00               $   127.51   $   127.51
  12/1/2019 Gabriel Santiago Gonzalez          $11.00   52.22   $   10.00               $    67.19   $    67.19
  12/8/2019 Gabriel Santiago Gonzalez          $11.00   62.08   $   10.00               $   121.46   $   121.46
 12/15/2019 Gabriel Santiago Gonzalez          $10.00   62.83   $   10.00               $   114.17   $   114.17
 12/22/2019 Gabriel Santiago Gonzalez          $10.00   62.73   $   10.00               $   113.67   $   113.67
 12/29/2019 Gabriel Santiago Gonzalez          $10.00   45.53   $   10.00               $    27.67   $    27.67
   1/5/2020 Gabriel Santiago Gonzalez          $10.00   46.52   $   11.00   $   46.52   $    35.84   $    82.36
  1/12/2020 Gabriel Santiago Gonzalez          $10.00   59.23   $   11.00   $   59.23   $   105.78   $   165.02
  1/19/2020 Gabriel Santiago Gonzalez          $10.00   59.12   $   11.00   $   59.12   $   105.14   $   164.26
  1/26/2020 Gabriel Santiago Gonzalez          $10.00   49.12   $   11.00   $   49.12   $    50.14   $    99.26
   2/5/2017 Ganesh Dalchan                     $10.00   46.45   $    8.44               $    32.25   $    32.25
  2/19/2017 Ganesh Dalchan                     $10.00   44.82   $    8.44               $    24.08   $    24.08
  2/26/2017 Ganesh Dalchan                     $10.00   44.23   $    8.44               $    21.17   $    21.17
   3/5/2017 Ganesh Dalchan                     $10.00   46.73   $    8.44               $    33.67   $    33.67
  3/12/2017 Ganesh Dalchan                     $10.00   50.48   $    8.44               $    52.42   $    52.42
  3/26/2017 Ganesh Dalchan                     $10.00   44.88   $    8.44               $    24.42   $    24.42
   4/2/2017 Ganesh Dalchan                     $10.00   47.33   $    8.44               $    36.67   $    36.67
   4/9/2017 Ganesh Dalchan                     $10.00   50.28   $    8.44               $    51.42   $    51.42
  4/16/2017 Ganesh Dalchan                     $10.00   50.03   $    8.44               $    50.17   $    50.17
  4/23/2017 Ganesh Dalchan                     $10.00   47.22   $    8.44               $    36.08   $    36.08
  4/30/2017 Ganesh Dalchan                     $10.00   48.98   $    8.44               $    44.92   $    44.92
   5/7/2017 Ganesh Dalchan                     $10.00   50.15   $    8.44               $    50.75   $    50.75
  5/14/2017 Ganesh Dalchan                     $10.00   48.87   $    8.44               $    44.33   $    44.33
  5/21/2017 Ganesh Dalchan                     $10.00   49.42   $    8.44               $    47.08   $    47.08
  5/28/2017 Ganesh Dalchan                     $10.00   48.70   $    8.44               $    43.50   $    43.50
   6/4/2017 Ganesh Dalchan                     $10.00   40.53   $    8.44               $     2.67   $     2.67
  6/11/2017 Ganesh Dalchan                     $10.00   48.40   $    8.44               $    42.00   $    42.00
  6/18/2017 Ganesh Dalchan                     $10.00   48.13   $    8.44               $    40.67   $    40.67
  6/25/2017 Ganesh Dalchan                     $10.00   56.17   $    8.44               $    80.83   $    80.83
   7/2/2017 Ganesh Dalchan                     $10.00   48.10   $    8.44               $    40.50   $    40.50
  7/16/2017 Ganesh Dalchan                     $10.00   57.78   $    8.44               $    88.92   $    88.92
  7/23/2017 Ganesh Dalchan                     $10.00   56.97   $    8.44               $    84.83   $    84.83
  7/30/2017 Ganesh Dalchan                     $10.00   48.93   $    8.44               $    44.67   $    44.67
   8/6/2017 Ganesh Dalchan                     $10.00   49.12   $    8.44               $    45.58   $    45.58
  8/13/2017 Ganesh Dalchan                     $10.00   40.23   $    8.44               $     1.17   $     1.17
  8/20/2017 Ganesh Dalchan                     $10.00   47.87   $    8.44               $    39.33   $    39.33
  8/27/2017 Ganesh Dalchan                     $10.00   49.32   $    8.44               $    46.58   $    46.58
  9/17/2017 Ganesh Dalchan                     $10.00   40.62   $    8.44               $     3.08   $     3.08
  9/24/2017 Ganesh Dalchan                     $10.00   50.38   $    8.44               $    51.92   $    51.92
  10/1/2017 Ganesh Dalchan                     $10.00   53.63   $    8.44               $    68.17   $    68.17
  10/8/2017 Ganesh Dalchan                     $10.00   51.55   $    8.44               $    57.75   $    57.75
 10/15/2017 Ganesh Dalchan                     $10.00   50.57   $    8.44               $    52.83   $    52.83
 10/22/2017 Ganesh Dalchan                     $10.00   49.97   $    8.44               $    49.83   $    49.83
 10/29/2017 Ganesh Dalchan                     $10.00   50.05   $    8.44               $    50.25   $    50.25
  11/5/2017 Ganesh Dalchan                     $10.00   50.20   $    8.44               $    51.00   $    51.00
 11/19/2017 Ganesh Dalchan                     $10.00   50.55   $    8.44               $    52.75   $    52.75
 12/10/2017 Ganesh Dalchan                     $10.00   48.28   $    8.44               $    41.42   $    41.42
 12/17/2017 Ganesh Dalchan                     $10.00   49.68   $    8.44               $    48.42   $    48.42
 12/24/2017 Ganesh Dalchan                     $10.00   46.92   $    8.44               $    34.58   $    34.58
 12/31/2017 Ganesh Dalchan                     $10.00   40.62   $    8.44               $     3.08   $     3.08



                                                 222
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 224 of 683 PageID: 1071
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

  1/14/2018 Ganesh Dalchan                 $10.00   48.08   $   8.60          $   40.42   $      40.42
  1/21/2018 Ganesh Dalchan                 $10.00   49.43   $   8.60          $   47.17   $      47.17
  1/28/2018 Ganesh Dalchan                 $10.00   48.25   $   8.60          $   41.25   $      41.25
   2/4/2018 Ganesh Dalchan                 $10.00   48.62   $   8.60          $   43.08   $      43.08
  2/11/2018 Ganesh Dalchan                 $10.00   47.63   $   8.60          $   38.17   $      38.17
  2/18/2018 Ganesh Dalchan                 $10.00   51.17   $   8.60          $   55.83   $      55.83
  2/25/2018 Ganesh Dalchan                 $10.00   47.43   $   8.60          $   37.17   $      37.17
   3/4/2018 Ganesh Dalchan                 $10.00   49.83   $   8.60          $   49.17   $      49.17
  3/25/2018 Ganesh Dalchan                 $10.00   46.95   $   8.60          $   34.75   $      34.75
   4/1/2018 Ganesh Dalchan                 $10.00   49.78   $   8.60          $   48.92   $      48.92
   4/8/2018 Ganesh Dalchan                 $10.00   55.67   $   8.60          $   78.33   $      78.33
  4/15/2018 Ganesh Dalchan                 $10.00   52.67   $   8.60          $   63.33   $      63.33
  4/22/2018 Ganesh Dalchan                 $10.00   51.18   $   8.60          $   55.92   $      55.92
  4/29/2018 Ganesh Dalchan                 $10.00   50.83   $   8.60          $   54.17   $      54.17
   5/6/2018 Ganesh Dalchan                 $10.00   50.92   $   8.60          $   54.58   $      54.58
  5/13/2018 Ganesh Dalchan                 $10.00   50.78   $   8.60          $   53.92   $      53.92
  5/20/2018 Ganesh Dalchan                 $10.00   52.10   $   8.60          $   60.50   $      60.50
  5/27/2018 Ganesh Dalchan                 $10.00   51.98   $   8.60          $   59.92   $      59.92
   6/3/2018 Ganesh Dalchan                 $10.00   40.75   $   8.60          $    3.75   $       3.75
  6/10/2018 Ganesh Dalchan                 $10.00   51.80   $   8.60          $   59.00   $      59.00
  6/17/2018 Ganesh Dalchan                 $10.00   53.08   $   8.60          $   65.42   $      65.42
  6/24/2018 Ganesh Dalchan                 $10.00   51.85   $   8.60          $   59.25   $      59.25
   7/1/2018 Ganesh Dalchan                 $10.00   51.80   $   8.60          $   59.00   $      59.00
   7/8/2018 Ganesh Dalchan                 $10.00   40.25   $   8.60          $    1.25   $       1.25
  7/15/2018 Ganesh Dalchan                 $10.00   50.15   $   8.60          $   50.75   $      50.75
  7/22/2018 Ganesh Dalchan                 $10.00   50.27   $   8.60          $   51.33   $      51.33
  7/29/2018 Ganesh Dalchan                 $10.00   51.67   $   8.60          $   58.33   $      58.33
   8/5/2018 Ganesh Dalchan                 $10.00   51.38   $   8.60          $   56.92   $      56.92
  8/12/2018 Ganesh Dalchan                 $10.00   44.87   $   8.60          $   24.33   $      24.33
  8/26/2018 Ganesh Dalchan                 $10.00   51.22   $   8.60          $   56.08   $      56.08
   9/2/2018 Ganesh Dalchan                 $10.00   50.82   $   8.60          $   54.08   $      54.08
   9/9/2018 Ganesh Dalchan                 $10.00   40.67   $   8.60          $    3.33   $       3.33
  9/16/2018 Ganesh Dalchan                 $10.00   52.37   $   8.60          $   61.83   $      61.83
  9/23/2018 Ganesh Dalchan                 $10.00   51.07   $   8.60          $   55.33   $      55.33
  9/30/2018 Ganesh Dalchan                 $10.00   51.30   $   8.60          $   56.50   $      56.50
  10/7/2018 Ganesh Dalchan                 $10.00   51.72   $   8.60          $   58.58   $      58.58
 10/14/2018 Ganesh Dalchan                 $10.00   51.67   $   8.60          $   58.33   $      58.33
 10/21/2018 Ganesh Dalchan                 $10.00   41.38   $   8.60          $    6.92   $       6.92
 10/28/2018 Ganesh Dalchan                 $10.00   53.92   $   8.60          $   69.58   $      69.58
  11/4/2018 Ganesh Dalchan                 $10.00   53.58   $   8.60          $   67.92   $      67.92
 11/11/2018 Ganesh Dalchan                 $10.00   55.40   $   8.60          $   77.00   $      77.00
 11/18/2018 Ganesh Dalchan                 $10.00   51.57   $   8.60          $   57.83   $      57.83
 11/25/2018 Ganesh Dalchan                 $10.00   42.97   $   8.60          $   14.83   $      14.83
  12/2/2018 Ganesh Dalchan                 $10.00   54.12   $   8.60          $   70.58   $      70.58
  12/9/2018 Ganesh Dalchan                 $10.00   50.37   $   8.60          $   51.83   $      51.83
 12/16/2018 Ganesh Dalchan                 $10.00   53.22   $   8.60          $   66.08   $      66.08
 12/23/2018 Ganesh Dalchan                 $10.00   53.85   $   8.60          $   69.25   $      69.25
 12/30/2018 Ganesh Dalchan                 $10.00   40.23   $   8.60          $    1.17   $       1.17
   1/6/2019 Ganesh Dalchan                 $10.00   41.27   $   8.85          $    6.33   $       6.33
  1/13/2019 Ganesh Dalchan                 $10.00   52.77   $   8.85          $   63.83   $      63.83



                                             223
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 225 of 683 PageID: 1072
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

  1/20/2019 Ganesh Dalchan                 $10.00   55.42   $    8.85               $   77.08   $    77.08
  1/27/2019 Ganesh Dalchan                 $10.00   55.95   $    8.85               $   79.75   $    79.75
   2/3/2019 Ganesh Dalchan                 $10.00   53.57   $    8.85               $   67.83   $    67.83
  2/10/2019 Ganesh Dalchan                 $10.00   55.05   $    8.85               $   75.25   $    75.25
  2/17/2019 Ganesh Dalchan                 $10.00   52.97   $    8.85               $   64.83   $    64.83
  2/24/2019 Ganesh Dalchan                 $10.00   48.82   $    8.85               $   44.08   $    44.08
   3/3/2019 Ganesh Dalchan                 $10.00   50.50   $    8.85               $   52.50   $    52.50
  3/10/2019 Ganesh Dalchan                 $10.00   55.45   $    8.85               $   77.25   $    77.25
  3/17/2019 Ganesh Dalchan                 $10.00   53.48   $    8.85               $   67.42   $    67.42
  3/24/2019 Ganesh Dalchan                 $10.00   51.77   $    8.85               $   58.83   $    58.83
  3/31/2019 Ganesh Dalchan                 $10.00   58.05   $    8.85               $   90.25   $    90.25
   4/7/2019 Ganesh Dalchan                 $10.00   53.18   $    8.85               $   65.92   $    65.92
  4/14/2019 Ganesh Dalchan                 $10.00   56.83   $    8.85               $   84.17   $    84.17
  4/21/2019 Ganesh Dalchan                 $10.00   52.20   $    8.85               $   61.00   $    61.00
  4/28/2019 Ganesh Dalchan                 $10.00   42.70   $    8.85               $   13.50   $    13.50
   5/5/2019 Ganesh Dalchan                 $10.00   51.52   $    8.85               $   57.58   $    57.58
  5/12/2019 Ganesh Dalchan                 $10.00   50.88   $    8.85               $   54.42   $    54.42
  5/19/2019 Ganesh Dalchan                 $10.00   55.67   $    8.85               $   78.33   $    78.33
  5/26/2019 Ganesh Dalchan                 $10.00   44.87   $    8.85               $   24.33   $    24.33
   6/2/2019 Ganesh Dalchan                 $10.00   41.58   $    8.85               $    7.92   $     7.92
   6/9/2019 Ganesh Dalchan                 $10.00   52.63   $    8.85               $   63.17   $    63.17
  6/16/2019 Ganesh Dalchan                 $10.00   55.15   $    8.85               $   75.75   $    75.75
  6/23/2019 Ganesh Dalchan                 $10.00   51.77   $    8.85               $   58.83   $    58.83
  6/30/2019 Ganesh Dalchan                 $10.00   55.03   $   10.00               $   75.17   $    75.17
   7/7/2019 Ganesh Dalchan                 $10.00   42.28   $   10.00               $   11.42   $    11.42
  7/14/2019 Ganesh Dalchan                 $10.00   53.18   $   10.00               $   65.92   $    65.92
  7/21/2019 Ganesh Dalchan                 $10.00   52.15   $   10.00               $   60.75   $    60.75
  7/28/2019 Ganesh Dalchan                 $10.00   53.35   $   10.00               $   66.75   $    66.75
   8/4/2019 Ganesh Dalchan                 $10.00   51.80   $   10.00               $   59.00   $    59.00
  8/11/2019 Ganesh Dalchan                 $10.00   41.77   $   10.00               $    8.83   $     8.83
  8/18/2019 Ganesh Dalchan                 $10.00   54.52   $   10.00               $   72.58   $    72.58
  8/25/2019 Ganesh Dalchan                 $10.00   57.52   $   10.00               $   87.58   $    87.58
   9/1/2019 Ganesh Dalchan                 $10.00   52.28   $   10.00               $   61.42   $    61.42
   9/8/2019 Ganesh Dalchan                 $10.00   43.93   $   10.00               $   19.67   $    19.67
  9/15/2019 Ganesh Dalchan                 $10.00   52.85   $   10.00               $   64.25   $    64.25
  9/22/2019 Ganesh Dalchan                 $10.00   43.08   $   10.00               $   15.42   $    15.42
  9/29/2019 Ganesh Dalchan                 $10.00   52.97   $   10.00               $   64.83   $    64.83
  10/6/2019 Ganesh Dalchan                 $10.00   53.85   $   10.00               $   69.25   $    69.25
 10/13/2019 Ganesh Dalchan                 $10.00   57.00   $   10.00               $   85.00   $    85.00
 10/20/2019 Ganesh Dalchan                 $11.00   46.90   $   10.00               $   37.95   $    37.95
 10/27/2019 Ganesh Dalchan                 $11.00   49.45   $   10.00               $   51.97   $    51.97
  11/3/2019 Ganesh Dalchan                 $11.00   48.85   $   10.00               $   48.68   $    48.68
 11/10/2019 Ganesh Dalchan                 $11.00   49.47   $   10.00               $   52.07   $    52.07
 11/17/2019 Ganesh Dalchan                 $11.00   49.10   $   10.00               $   50.05   $    50.05
 11/24/2019 Ganesh Dalchan                 $11.00   48.17   $   10.00               $   44.92   $    44.92
  12/8/2019 Ganesh Dalchan                 $11.00   47.93   $   10.00               $   43.63   $    43.63
 12/15/2019 Ganesh Dalchan                 $10.00   54.35   $   10.00               $   71.75   $    71.75
 12/22/2019 Ganesh Dalchan                 $10.00   53.25   $   10.00               $   66.25   $    66.25
   1/5/2020 Ganesh Dalchan                 $10.00   45.27   $   11.00   $   45.27   $   28.97   $    74.23
  1/12/2020 Ganesh Dalchan                 $10.00   51.88   $   11.00   $   51.88   $   65.36   $   117.24



                                             224
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 226 of 683 PageID: 1073
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

  1/19/2020 Ganesh Dalchan                     $10.00   50.88   $   11.00   $   50.88   $    59.86   $   110.74
  1/26/2020 Ganesh Dalchan                     $10.00   53.72   $   11.00   $   53.72   $    75.44   $   129.16
 10/29/2017 Genaro D. Martinez                 $11.50   59.20   $    8.44               $   110.40   $   110.40
  11/5/2017 Genaro D. Martinez                 $11.50   56.38   $    8.44               $    94.20   $    94.20
 11/12/2017 Genaro D. Martinez                 $11.50   58.40   $    8.44               $   105.80   $   105.80
 11/19/2017 Genaro D. Martinez                 $11.50   48.33   $    8.44               $    47.92   $    47.92
 11/26/2017 Genaro D. Martinez                 $11.50   47.12   $    8.44               $    40.92   $    40.92
  12/3/2017 Genaro D. Martinez                 $11.50   60.77   $    8.44               $   119.41   $   119.41
 12/10/2017 Genaro D. Martinez                 $11.50   54.20   $    8.44               $    81.65   $    81.65
 12/17/2017 Genaro D. Martinez                 $11.50   60.27   $    8.44               $   116.53   $   116.53
 12/24/2017 Genaro D. Martinez                 $11.50   58.05   $    8.44               $   103.79   $   103.79
 12/31/2017 Genaro D. Martinez                 $11.50   49.07   $    8.44               $    52.13   $    52.13
   1/7/2018 Genaro D. Martinez                 $11.50   40.48   $    8.60               $     2.78   $     2.78
  1/14/2018 Genaro D. Martinez                 $11.50   52.55   $    8.60               $    72.16   $    72.16
  1/21/2018 Genaro D. Martinez                 $11.50   43.85   $    8.60               $    22.14   $    22.14
  1/28/2018 Genaro D. Martinez                 $11.50   46.95   $    8.60               $    39.96   $    39.96
   2/4/2018 Genaro D. Martinez                 $11.50   54.15   $    8.60               $    81.36   $    81.36
  2/11/2018 Genaro D. Martinez                 $11.50   55.00   $    8.60               $    86.25   $    86.25
  2/18/2018 Genaro D. Martinez                 $11.50   48.98   $    8.60               $    51.65   $    51.65
  2/25/2018 Genaro D. Martinez                 $11.50   54.52   $    8.60               $    83.47   $    83.47
   3/4/2018 Genaro D. Martinez                 $11.50   58.77   $    8.60               $   107.91   $   107.91
  3/25/2018 Genaro D. Martinez                 $11.50   46.28   $    8.60               $    36.13   $    36.13
   4/1/2018 Genaro D. Martinez                 $11.50   58.03   $    8.60               $   103.69   $   103.69
   4/8/2018 Genaro D. Martinez                 $11.50   48.77   $    8.60               $    50.41   $    50.41
  4/15/2018 Genaro D. Martinez                 $11.50   52.13   $    8.60               $    69.77   $    69.77
  4/22/2018 Genaro D. Martinez                 $11.50   52.67   $    8.60               $    72.83   $    72.83
  4/29/2018 Genaro D. Martinez                 $11.50   57.75   $    8.60               $   102.06   $   102.06
   5/6/2018 Genaro D. Martinez                 $11.50   57.68   $    8.60               $   101.68   $   101.68
  5/13/2018 Genaro D. Martinez                 $11.50   58.78   $    8.60               $   108.00   $   108.00
  5/20/2018 Genaro D. Martinez                 $11.50   57.45   $    8.60               $   100.34   $   100.34
  5/27/2018 Genaro D. Martinez                 $11.50   57.28   $    8.60               $    99.38   $    99.38
   6/3/2018 Genaro D. Martinez                 $11.50   48.65   $    8.60               $    49.74   $    49.74
  6/10/2018 Genaro D. Martinez                 $11.50   57.22   $    8.60               $    99.00   $    99.00
  6/17/2018 Genaro D. Martinez                 $11.50   58.18   $    8.60               $   104.55   $   104.55
  6/24/2018 Genaro D. Martinez                 $11.50   51.52   $    8.60               $    66.22   $    66.22
   2/5/2017 Genaro Jimenez                     $12.50   58.70   $    8.44               $   116.88   $   116.88
  2/12/2017 Genaro Jimenez                     $12.50   57.57   $    8.44               $   109.79   $   109.79
  2/19/2017 Genaro Jimenez                     $12.50   60.58   $    8.44               $   128.65   $   128.65
  2/26/2017 Genaro Jimenez                     $12.50   60.08   $    8.44               $   125.52   $   125.52
   3/5/2017 Genaro Jimenez                     $12.50   59.92   $    8.44               $   124.48   $   124.48
  3/12/2017 Genaro Jimenez                     $12.50   59.62   $    8.44               $   122.60   $   122.60
  3/19/2017 Genaro Jimenez                     $12.50   50.50   $    8.44               $    65.63   $    65.63
  3/26/2017 Genaro Jimenez                     $12.50   61.82   $    8.44               $   136.35   $   136.35
   4/2/2017 Genaro Jimenez                     $12.50   59.60   $    8.44               $   122.50   $   122.50
   4/9/2017 Genaro Jimenez                     $12.50   59.93   $    8.44               $   124.58   $   124.58
  4/16/2017 Genaro Jimenez                     $12.50   60.70   $    8.44               $   129.38   $   129.38
  4/23/2017 Genaro Jimenez                     $12.50   65.40   $    8.44               $   158.75   $   158.75
  4/30/2017 Genaro Jimenez                     $12.50   55.70   $    8.44               $    98.13   $    98.13
  5/14/2017 Genaro Jimenez                     $12.50   53.38   $    8.44               $    83.65   $    83.65
  5/21/2017 Genaro Jimenez                     $12.50   64.70   $    8.44               $   154.38   $   154.38



                                                 225
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 227 of 683 PageID: 1074
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

  5/28/2017 Genaro Jimenez                 $12.50   65.72   $   8.44          $   160.73   $    160.73
   6/4/2017 Genaro Jimenez                 $12.50   60.63   $   8.44          $   128.96   $    128.96
  6/11/2017 Genaro Jimenez                 $12.50   61.72   $   8.44          $   135.73   $    135.73
  6/18/2017 Genaro Jimenez                 $12.50   60.93   $   8.44          $   130.83   $    130.83
  6/25/2017 Genaro Jimenez                 $12.50   60.80   $   8.44          $   130.00   $    130.00
   7/2/2017 Genaro Jimenez                 $12.50   60.33   $   8.44          $   127.08   $    127.08
   7/9/2017 Genaro Jimenez                 $12.50   58.75   $   8.44          $   117.19   $    117.19
  7/16/2017 Genaro Jimenez                 $12.50   55.58   $   8.44          $    97.40   $     97.40
  7/23/2017 Genaro Jimenez                 $12.50   59.70   $   8.44          $   123.13   $    123.13
  7/30/2017 Genaro Jimenez                 $12.50   57.32   $   8.44          $   108.23   $    108.23
   8/6/2017 Genaro Jimenez                 $12.50   62.82   $   8.44          $   142.60   $    142.60
  8/13/2017 Genaro Jimenez                 $12.50   64.15   $   8.44          $   150.94   $    150.94
  8/20/2017 Genaro Jimenez                 $12.50   62.45   $   8.44          $   140.31   $    140.31
  8/27/2017 Genaro Jimenez                 $12.50   59.30   $   8.44          $   120.63   $    120.63
   9/3/2017 Genaro Jimenez                 $12.50   52.88   $   8.44          $    80.52   $     80.52
  9/10/2017 Genaro Jimenez                 $12.50   58.87   $   8.44          $   117.92   $    117.92
  9/17/2017 Genaro Jimenez                 $12.50   51.18   $   8.44          $    69.90   $     69.90
  9/24/2017 Genaro Jimenez                 $12.50   49.70   $   8.44          $    60.63   $     60.63
  10/1/2017 Genaro Jimenez                 $12.50   52.08   $   8.44          $    75.52   $     75.52
  10/8/2017 Genaro Jimenez                 $12.50   54.55   $   8.44          $    90.94   $     90.94
 10/15/2017 Genaro Jimenez                 $12.50   51.02   $   8.44          $    68.85   $     68.85
 10/22/2017 Genaro Jimenez                 $12.50   48.68   $   8.44          $    54.27   $     54.27
 10/29/2017 Genaro Jimenez                 $12.50   48.52   $   8.44          $    53.23   $     53.23
  11/5/2017 Genaro Jimenez                 $12.50   48.30   $   8.44          $    51.88   $     51.88
 11/12/2017 Genaro Jimenez                 $12.50   48.83   $   8.44          $    55.21   $     55.21
 11/19/2017 Genaro Jimenez                 $12.50   40.97   $   8.44          $     6.04   $      6.04
  12/3/2017 Genaro Jimenez                 $12.50   49.65   $   8.44          $    60.31   $     60.31
 12/10/2017 Genaro Jimenez                 $12.50   54.57   $   8.44          $    91.04   $     91.04
 12/17/2017 Genaro Jimenez                 $12.50   57.67   $   8.44          $   110.42   $    110.42
 12/24/2017 Genaro Jimenez                 $12.50   44.43   $   8.44          $    27.71   $     27.71
  1/21/2018 Genaro Jimenez                 $12.50   58.32   $   8.60          $   114.48   $    114.48
  1/28/2018 Genaro Jimenez                 $12.50   59.40   $   8.60          $   121.25   $    121.25
   2/4/2018 Genaro Jimenez                 $12.50   50.50   $   8.60          $    65.63   $     65.63
  2/11/2018 Genaro Jimenez                 $12.50   49.60   $   8.60          $    60.00   $     60.00
  2/18/2018 Genaro Jimenez                 $12.50   51.32   $   8.60          $    70.73   $     70.73
  2/25/2018 Genaro Jimenez                 $12.50   49.75   $   8.60          $    60.94   $     60.94
   3/4/2018 Genaro Jimenez                 $12.50   51.65   $   8.60          $    72.81   $     72.81
  3/25/2018 Genaro Jimenez                 $12.50   52.98   $   8.60          $    81.15   $     81.15
   4/1/2018 Genaro Jimenez                 $12.50   51.62   $   8.60          $    72.60   $     72.60
   4/8/2018 Genaro Jimenez                 $12.50   50.13   $   8.60          $    63.33   $     63.33
  4/15/2018 Genaro Jimenez                 $12.50   51.10   $   8.60          $    69.38   $     69.38
  4/22/2018 Genaro Jimenez                 $12.50   50.43   $   8.60          $    65.21   $     65.21
  4/29/2018 Genaro Jimenez                 $12.50   49.77   $   8.60          $    61.04   $     61.04
   5/6/2018 Genaro Jimenez                 $12.50   50.27   $   8.60          $    64.17   $     64.17
  5/13/2018 Genaro Jimenez                 $12.50   51.13   $   8.60          $    69.58   $     69.58
  5/20/2018 Genaro Jimenez                 $12.50   52.52   $   8.60          $    78.23   $     78.23
  5/27/2018 Genaro Jimenez                 $12.50   52.18   $   8.60          $    76.15   $     76.15
   6/3/2018 Genaro Jimenez                 $12.50   53.33   $   8.60          $    83.33   $     83.33
  6/10/2018 Genaro Jimenez                 $12.50   52.93   $   8.60          $    80.83   $     80.83
  6/17/2018 Genaro Jimenez                 $12.50   50.95   $   8.60          $    68.44   $     68.44



                                             226
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 228 of 683 PageID: 1075
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

  6/24/2018 Genaro Jimenez                 $12.50   52.87   $    8.60         $    80.42   $     80.42
   7/1/2018 Genaro Jimenez                 $12.50   51.65   $    8.60         $    72.81   $     72.81
   7/8/2018 Genaro Jimenez                 $12.50   50.27   $    8.60         $    64.17   $     64.17
  7/15/2018 Genaro Jimenez                 $12.50   51.08   $    8.60         $    69.27   $     69.27
  7/22/2018 Genaro Jimenez                 $12.50   51.80   $    8.60         $    73.75   $     73.75
  7/29/2018 Genaro Jimenez                 $12.50   51.80   $    8.60         $    73.75   $     73.75
   8/5/2018 Genaro Jimenez                 $12.50   52.22   $    8.60         $    76.35   $     76.35
  8/12/2018 Genaro Jimenez                 $12.50   51.80   $    8.60         $    73.75   $     73.75
  8/19/2018 Genaro Jimenez                 $12.50   50.52   $    8.60         $    65.73   $     65.73
  8/26/2018 Genaro Jimenez                 $12.50   52.68   $    8.60         $    79.27   $     79.27
   9/2/2018 Genaro Jimenez                 $12.50   51.95   $    8.60         $    74.69   $     74.69
   9/9/2018 Genaro Jimenez                 $12.50   52.00   $    8.60         $    75.00   $     75.00
  9/16/2018 Genaro Jimenez                 $12.50   63.18   $    8.60         $   144.90   $    144.90
  9/23/2018 Genaro Jimenez                 $12.50   62.35   $    8.60         $   139.69   $    139.69
  9/30/2018 Genaro Jimenez                 $12.50   58.40   $    8.60         $   115.00   $    115.00
  10/7/2018 Genaro Jimenez                 $12.50   60.10   $    8.60         $   125.63   $    125.63
 10/14/2018 Genaro Jimenez                 $12.50   60.28   $    8.60         $   126.77   $    126.77
 10/21/2018 Genaro Jimenez                 $12.50   57.47   $    8.60         $   109.17   $    109.17
 10/28/2018 Genaro Jimenez                 $12.50   66.28   $    8.60         $   164.27   $    164.27
  11/4/2018 Genaro Jimenez                 $12.50   65.50   $    8.60         $   159.38   $    159.38
 11/11/2018 Genaro Jimenez                 $12.50   67.07   $    8.60         $   169.17   $    169.17
 11/18/2018 Genaro Jimenez                 $12.50   64.75   $    8.60         $   154.69   $    154.69
 11/25/2018 Genaro Jimenez                 $12.50   56.40   $    8.60         $   102.50   $    102.50
  12/2/2018 Genaro Jimenez                 $12.50   64.88   $    8.60         $   155.52   $    155.52
  12/9/2018 Genaro Jimenez                 $12.50   68.92   $    8.60         $   180.73   $    180.73
 12/16/2018 Genaro Jimenez                 $12.50   67.17   $    8.60         $   169.79   $    169.79
  1/27/2019 Genaro Jimenez                 $12.50   65.30   $    8.85         $   158.13   $    158.13
   2/3/2019 Genaro Jimenez                 $12.50   63.33   $    8.85         $   145.83   $    145.83
  2/10/2019 Genaro Jimenez                 $12.50   62.70   $    8.85         $   141.88   $    141.88
  2/17/2019 Genaro Jimenez                 $12.50   65.13   $    8.85         $   157.08   $    157.08
  2/24/2019 Genaro Jimenez                 $12.50   63.60   $    8.85         $   147.50   $    147.50
   3/3/2019 Genaro Jimenez                 $12.50   61.18   $    8.85         $   132.40   $    132.40
  3/10/2019 Genaro Jimenez                 $12.50   63.37   $    8.85         $   146.04   $    146.04
  3/17/2019 Genaro Jimenez                 $12.50   59.38   $    8.85         $   121.15   $    121.15
  3/24/2019 Genaro Jimenez                 $12.50   62.52   $    8.85         $   140.73   $    140.73
  3/31/2019 Genaro Jimenez                 $12.50   47.45   $    8.85         $    46.56   $     46.56
  4/14/2019 Genaro Jimenez                 $12.50   65.15   $    8.85         $   157.19   $    157.19
  4/21/2019 Genaro Jimenez                 $12.50   61.23   $    8.85         $   132.71   $    132.71
  4/28/2019 Genaro Jimenez                 $12.50   61.92   $    8.85         $   136.98   $    136.98
   5/5/2019 Genaro Jimenez                 $12.50   61.47   $    8.85         $   134.17   $    134.17
  5/12/2019 Genaro Jimenez                 $12.50   59.38   $    8.85         $   121.15   $    121.15
  5/19/2019 Genaro Jimenez                 $12.50   56.80   $    8.85         $   105.00   $    105.00
  5/26/2019 Genaro Jimenez                 $12.50   57.70   $    8.85         $   110.63   $    110.63
   6/2/2019 Genaro Jimenez                 $12.50   61.48   $    8.85         $   134.27   $    134.27
   6/9/2019 Genaro Jimenez                 $12.50   57.40   $    8.85         $   108.75   $    108.75
  6/16/2019 Genaro Jimenez                 $12.50   63.10   $    8.85         $   144.38   $    144.38
  6/23/2019 Genaro Jimenez                 $12.50   62.18   $    8.85         $   138.65   $    138.65
  6/30/2019 Genaro Jimenez                 $12.50   60.65   $   10.00         $   129.06   $    129.06
   7/7/2019 Genaro Jimenez                 $12.50   64.15   $   10.00         $   150.94   $    150.94
  7/14/2019 Genaro Jimenez                 $12.50   63.87   $   10.00         $   149.17   $    149.17



                                             227
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 229 of 683 PageID: 1076
                                                   Exhibit 2
                                           New Jersey Computations


   Week                                                           State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
  Ending                      Name                              Minumum Regular    Half-Time Overtime Back
                                                   Rate Week
   Date                                                           Wage  Rate Due     Due       Wages Due

  7/21/2019 Genaro Jimenez                        $12.50   65.30   $   10.00         $   158.13   $    158.13
  7/28/2019 Genaro Jimenez                        $12.50   65.05   $   10.00         $   156.56   $    156.56
   8/4/2019 Genaro Jimenez                        $12.50   64.48   $   10.00         $   153.02   $    153.02
  8/11/2019 Genaro Jimenez                        $12.50   71.77   $   10.00         $   198.54   $    198.54
  8/18/2019 Genaro Jimenez                        $12.50   65.37   $   10.00         $   158.54   $    158.54
  8/25/2019 Genaro Jimenez                        $12.50   60.80   $   10.00         $   130.00   $    130.00
   9/1/2019 Genaro Jimenez                        $12.50   63.77   $   10.00         $   148.54   $    148.54
   9/8/2019 Genaro Jimenez                        $12.50   60.37   $   10.00         $   127.29   $    127.29
  9/15/2019 Genaro Jimenez                        $12.50   65.55   $   10.00         $   159.69   $    159.69
  9/22/2019 Genaro Jimenez                        $12.50   64.20   $   10.00         $   151.25   $    151.25
  9/29/2019 Genaro Jimenez                        $12.50   62.70   $   10.00         $   141.88   $    141.88
  10/6/2019 Genaro Jimenez                        $12.50   63.78   $   10.00         $   148.65   $    148.65
 10/13/2019 Genaro Jimenez                        $12.50   63.70   $   10.00         $   148.13   $    148.13
 10/20/2019 Genaro Jimenez                        $12.50   63.65   $   10.00         $   147.81   $    147.81
 10/27/2019 Genaro Jimenez                        $12.50   62.40   $   10.00         $   140.00   $    140.00
  11/3/2019 Genaro Jimenez                        $12.50   61.18   $   10.00         $   132.40   $    132.40
 11/10/2019 Genaro Jimenez                        $12.50   57.85   $   10.00         $   111.56   $    111.56
 11/17/2019 Genaro Jimenez                        $12.50   60.35   $   10.00         $   127.19   $    127.19
 11/24/2019 Genaro Jimenez                        $12.50   51.15   $   10.00         $    69.69   $     69.69
  12/1/2019 Genaro Jimenez                        $12.50   50.72   $   10.00         $    66.98   $     66.98
  12/8/2019 Genaro Jimenez                        $12.50   61.92   $   10.00         $   136.98   $    136.98
 12/15/2019 Genaro Jimenez                        $12.50   59.15   $   10.00         $   119.69   $    119.69
  1/26/2020 Genaro Jimenez                        $12.50   65.38   $   11.00         $   158.65   $    158.65
  2/17/2019 Geovanny Sanchez - Placencia          $12.50   52.22   $    8.85         $    76.35   $     76.35
  2/24/2019 Geovanny Sanchez - Placencia          $12.50   43.53   $    8.85         $    22.08   $     22.08
   3/3/2019 Geovanny Sanchez - Placencia          $12.50   50.72   $    8.85         $    66.98   $     66.98
  3/10/2019 Geovanny Sanchez - Placencia          $12.50   47.05   $    8.85         $    44.06   $     44.06
  3/17/2019 Geovanny Sanchez - Placencia          $12.50   50.57   $    8.85         $    66.04   $     66.04
  3/24/2019 Geovanny Sanchez - Placencia          $12.50   54.90   $    8.85         $    93.13   $     93.13
  3/31/2019 Geovanny Sanchez - Placencia          $12.50   54.82   $    8.85         $    92.60   $     92.60
   4/7/2019 Geovanny Sanchez - Placencia          $12.50   52.32   $    8.85         $    76.98   $     76.98
  4/14/2019 Geovanny Sanchez - Placencia          $12.50   55.12   $    8.85         $    94.48   $     94.48
  4/21/2019 Geovanny Sanchez - Placencia          $12.50   51.52   $    8.85         $    71.98   $     71.98
  4/28/2019 Geovanny Sanchez - Placencia          $12.50   45.93   $    8.85         $    37.08   $     37.08
   5/5/2019 Geovanny Sanchez - Placencia          $12.50   43.13   $    8.85         $    19.58   $     19.58
  5/12/2019 Geovanny Sanchez - Placencia          $12.50   40.90   $    8.85         $     5.62   $      5.62
  5/19/2019 Geovanny Sanchez - Placencia          $12.50   42.08   $    8.85         $    13.02   $     13.02
  5/26/2019 Geovanny Sanchez - Placencia          $12.50   40.97   $    8.85         $     6.04   $      6.04
   6/9/2019 Geovanny Sanchez - Placencia          $12.50   45.80   $    8.85         $    36.25   $     36.25
  6/23/2019 Geovanny Sanchez - Placencia          $12.50   42.48   $    8.85         $    15.52   $     15.52
  8/25/2019 Geovanny Sanchez - Placencia          $12.50   43.07   $   10.00         $    19.17   $     19.17
   9/1/2019 Geovanny Sanchez - Placencia          $12.50   42.48   $   10.00         $    15.52   $     15.52
  9/15/2019 Geovanny Sanchez - Placencia          $12.50   40.28   $   10.00         $     1.77   $      1.77
  9/29/2019 Geovanny Sanchez - Placencia          $12.50   40.80   $   10.00         $     5.00   $      5.00
 10/13/2019 Geovanny Sanchez - Placencia          $12.50   43.75   $   10.00         $    23.44   $     23.44
 10/20/2019 Geovanny Sanchez - Placencia          $12.50   44.42   $   10.00         $    27.60   $     27.60
 10/27/2019 Geovanny Sanchez - Placencia          $12.50   45.22   $   10.00         $    32.60   $     32.60
  11/3/2019 Geovanny Sanchez - Placencia          $12.50   44.82   $   10.00         $    30.10   $     30.10
 11/17/2019 Geovanny Sanchez - Placencia          $12.50   46.02   $   10.00         $    37.60   $     37.60
 11/24/2019 Geovanny Sanchez - Placencia          $12.50   44.73   $   10.00         $    29.58   $     29.58



                                                    228
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 230 of 683 PageID: 1077
                                                   Exhibit 2
                                           New Jersey Computations


   Week                                                           State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
  Ending                      Name                              Minumum Regular    Half-Time Overtime Back
                                                   Rate Week
   Date                                                           Wage  Rate Due     Due       Wages Due

  12/8/2019 Geovanny Sanchez - Placencia          $12.50   47.78   $   10.00               $    48.65   $    48.65
 12/15/2019 Geovanny Sanchez - Placencia          $12.50   50.25   $   10.00               $    64.06   $    64.06
  1/12/2020 Geovanny Sanchez - Placencia          $12.50   49.60   $   11.00               $    60.00   $    60.00
  1/19/2020 Geovanny Sanchez - Placencia          $12.50   45.83   $   11.00               $    36.46   $    36.46
  1/26/2020 Geovanny Sanchez - Placencia          $12.50   47.37   $   11.00               $    46.04   $    46.04
  7/14/2019 Geraldo Ezequiel Villalobos           $10.00   64.52   $   10.00               $   122.58   $   122.58
  7/21/2019 Geraldo Ezequiel Villalobos           $10.00   56.67   $   10.00               $    83.33   $    83.33
  7/28/2019 Geraldo Ezequiel Villalobos           $10.00   43.88   $   10.00               $    19.42   $    19.42
   8/4/2019 Geraldo Ezequiel Villalobos           $10.00   67.18   $   10.00               $   135.92   $   135.92
  8/11/2019 Geraldo Ezequiel Villalobos           $10.00   64.93   $   10.00               $   124.67   $   124.67
  8/18/2019 Geraldo Ezequiel Villalobos           $10.00   56.58   $   10.00               $    82.92   $    82.92
  8/25/2019 Geraldo Ezequiel Villalobos           $10.00   49.83   $   10.00               $    49.17   $    49.17
   9/1/2019 Geraldo Ezequiel Villalobos           $10.00   69.40   $   10.00               $   147.00   $   147.00
 12/29/2019 Gerardo Tlacotia                      $10.00   42.55   $   10.00               $    12.75   $    12.75
   1/5/2020 Gerardo Tlacotia                      $10.00   52.72   $   11.00   $   52.72   $    69.94   $   122.66
  1/12/2020 Gerardo Tlacotia                      $10.00   62.92   $   11.00   $   62.92   $   126.04   $   188.96
  1/19/2020 Gerardo Tlacotia                      $10.00   63.35   $   11.00   $   63.35   $   128.43   $   191.78
  1/26/2020 Gerardo Tlacotia                      $10.00   62.18   $   11.00   $   62.18   $   122.01   $   184.19
 12/31/2017 German Garcia Perez                    $8.44   52.17   $    8.44               $    51.34   $    51.34
   1/7/2018 German Garcia Perez                    $8.60   49.43   $    8.60               $    40.56   $    40.56
  1/14/2018 German Garcia Perez                    $8.60   75.30   $    8.60               $   151.79   $   151.79
  12/3/2017 Germin Chavez                          $9.00   59.72   $    8.44               $    88.73   $    88.73
 12/10/2017 Germin Chavez                          $9.00   58.83   $    8.44               $    84.75   $    84.75
 12/17/2017 Germin Chavez                          $9.00   59.53   $    8.44               $    87.90   $    87.90
 12/24/2017 Germin Chavez                          $9.00   59.05   $    8.44               $    85.73   $    85.73
 12/31/2017 Germin Chavez                          $9.00   49.85   $    8.44               $    44.33   $    44.33
   1/7/2018 Germin Chavez                          $9.00   51.37   $    8.60               $    51.15   $    51.15
  1/14/2018 Germin Chavez                          $9.00   56.10   $    8.60               $    72.45   $    72.45
  1/21/2018 Germin Chavez                          $9.00   48.22   $    8.60               $    36.98   $    36.98
  1/28/2018 Germin Chavez                          $9.00   58.80   $    8.60               $    84.60   $    84.60
   2/4/2018 Germin Chavez                          $9.00   60.68   $    8.60               $    93.08   $    93.08
  2/11/2018 Germin Chavez                          $9.00   58.32   $    8.60               $    82.43   $    82.43
  2/18/2018 Germin Chavez                          $9.00   59.77   $    8.60               $    88.95   $    88.95
  2/25/2018 Germin Chavez                          $9.00   59.48   $    8.60               $    87.68   $    87.68
   3/4/2018 Germin Chavez                          $9.00   59.78   $    8.60               $    89.03   $    89.03
  10/8/2017 Gerson Antonio Quintanilla            $10.00   61.02   $    8.44               $   105.08   $   105.08
 10/15/2017 Gerson Antonio Quintanilla            $10.00   60.03   $    8.44               $   100.17   $   100.17
 10/22/2017 Gerson Antonio Quintanilla            $10.00   62.67   $    8.44               $   113.33   $   113.33
 10/29/2017 Gerson Antonio Quintanilla            $10.00   59.40   $    8.44               $    97.00   $    97.00
  11/5/2017 Gerson Antonio Quintanilla            $10.00   64.98   $    8.44               $   124.92   $   124.92
 11/12/2017 Gerson Antonio Quintanilla            $10.00   62.83   $    8.44               $   114.17   $   114.17
 11/19/2017 Gerson Antonio Quintanilla            $10.00   64.95   $    8.44               $   124.75   $   124.75
 11/26/2017 Gerson Antonio Quintanilla            $10.00   50.10   $    8.44               $    50.50   $    50.50
  12/3/2017 Gerson Antonio Quintanilla            $10.00   67.70   $    8.44               $   138.50   $   138.50
 12/10/2017 Gerson Antonio Quintanilla            $10.00   62.00   $    8.44               $   110.00   $   110.00
 12/17/2017 Gerson Antonio Quintanilla            $10.00   67.18   $    8.44               $   135.92   $   135.92
 12/24/2017 Gerson Antonio Quintanilla            $10.00   62.33   $    8.44               $   111.67   $   111.67
 12/31/2017 Gerson Antonio Quintanilla            $10.00   52.87   $    8.44               $    64.33   $    64.33
   1/7/2018 Gerson Antonio Quintanilla            $10.00   47.20   $    8.60               $    36.00   $    36.00
  1/14/2018 Gerson Antonio Quintanilla            $10.00   62.97   $    8.60               $   114.83   $   114.83



                                                    229
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 231 of 683 PageID: 1078
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                        Name                          Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

  1/21/2018 Gerson Antonio Quintanilla          $10.00   60.57   $   8.60          $   102.83   $    102.83
  1/28/2018 Gerson Antonio Quintanilla          $10.00   60.08   $   8.60          $   100.42   $    100.42
   2/4/2018 Gerson Antonio Quintanilla          $10.00   59.05   $   8.60          $    95.25   $     95.25
  2/11/2018 Gerson Antonio Quintanilla          $10.00   60.08   $   8.60          $   100.42   $    100.42
  2/18/2018 Gerson Antonio Quintanilla          $10.00   55.17   $   8.60          $    75.83   $     75.83
  2/25/2018 Gerson Antonio Quintanilla          $10.00   64.05   $   8.60          $   120.25   $    120.25
   3/4/2018 Gerson Antonio Quintanilla          $10.00   61.90   $   8.60          $   109.50   $    109.50
  3/25/2018 Gerson Antonio Quintanilla          $10.00   60.82   $   8.60          $   104.08   $    104.08
   4/1/2018 Gerson Antonio Quintanilla          $10.00   65.12   $   8.60          $   125.58   $    125.58
   4/8/2018 Gerson Antonio Quintanilla          $10.00   64.85   $   8.60          $   124.25   $    124.25
  4/15/2018 Gerson Antonio Quintanilla          $10.00   62.77   $   8.60          $   113.83   $    113.83
  4/22/2018 Gerson Antonio Quintanilla          $10.00   75.55   $   8.60          $   177.75   $    177.75
  4/29/2018 Gerson Antonio Quintanilla          $10.00   74.90   $   8.60          $   174.50   $    174.50
   5/6/2018 Gerson Antonio Quintanilla          $10.00   76.68   $   8.60          $   183.42   $    183.42
  5/13/2018 Gerson Antonio Quintanilla          $10.00   76.28   $   8.60          $   181.42   $    181.42
  5/20/2018 Gerson Antonio Quintanilla          $10.00   76.45   $   8.60          $   182.25   $    182.25
  5/27/2018 Gerson Antonio Quintanilla          $10.00   78.40   $   8.60          $   192.00   $    192.00
   6/3/2018 Gerson Antonio Quintanilla          $10.00   77.20   $   8.60          $   186.00   $    186.00
  6/10/2018 Gerson Antonio Quintanilla          $10.00   79.13   $   8.60          $   195.67   $    195.67
  6/17/2018 Gerson Antonio Quintanilla          $10.00   70.02   $   8.60          $   150.08   $    150.08
  6/24/2018 Gerson Antonio Quintanilla          $10.00   70.18   $   8.60          $   150.92   $    150.92
   7/1/2018 Gerson Antonio Quintanilla          $10.00   79.17   $   8.60          $   195.83   $    195.83
   7/8/2018 Gerson Antonio Quintanilla          $10.00   72.22   $   8.60          $   161.08   $    161.08
  7/15/2018 Gerson Antonio Quintanilla          $10.00   78.20   $   8.60          $   191.00   $    191.00
  7/22/2018 Gerson Antonio Quintanilla          $10.00   74.55   $   8.60          $   172.75   $    172.75
  7/29/2018 Gerson Antonio Quintanilla          $10.00   75.08   $   8.60          $   175.42   $    175.42
   8/5/2018 Gerson Antonio Quintanilla          $10.00   79.15   $   8.60          $   195.75   $    195.75
  8/12/2018 Gerson Antonio Quintanilla          $10.00   69.23   $   8.60          $   146.17   $    146.17
  8/19/2018 Gerson Antonio Quintanilla          $10.00   80.92   $   8.60          $   204.58   $    204.58
  8/26/2018 Gerson Antonio Quintanilla          $10.00   80.52   $   8.60          $   202.58   $    202.58
   9/2/2018 Gerson Antonio Quintanilla          $10.00   84.57   $   8.60          $   222.83   $    222.83
   9/9/2018 Gerson Antonio Quintanilla          $10.00   79.57   $   8.60          $   197.83   $    197.83
  9/16/2018 Gerson Antonio Quintanilla          $10.00   81.00   $   8.60          $   205.00   $    205.00
  9/23/2018 Gerson Antonio Quintanilla          $10.00   79.08   $   8.60          $   195.42   $    195.42
  9/30/2018 Gerson Antonio Quintanilla          $10.00   78.87   $   8.60          $   194.33   $    194.33
  10/7/2018 Gerson Antonio Quintanilla          $10.00   64.12   $   8.60          $   120.58   $    120.58
 10/14/2018 Gerson Antonio Quintanilla          $10.00   75.72   $   8.60          $   178.58   $    178.58
 10/21/2018 Gerson Antonio Quintanilla          $10.00   53.50   $   8.60          $    67.50   $     67.50
 10/28/2018 Gerson Antonio Quintanilla          $10.00   77.12   $   8.60          $   185.58   $    185.58
  11/4/2018 Gerson Antonio Quintanilla          $10.00   75.68   $   8.60          $   178.42   $    178.42
 11/11/2018 Gerson Antonio Quintanilla          $10.00   76.53   $   8.60          $   182.67   $    182.67
 11/18/2018 Gerson Antonio Quintanilla          $10.00   71.57   $   8.60          $   157.83   $    157.83
 11/25/2018 Gerson Antonio Quintanilla          $10.00   64.42   $   8.60          $   122.08   $    122.08
  12/2/2018 Gerson Antonio Quintanilla          $10.00   74.98   $   8.60          $   174.92   $    174.92
  12/9/2018 Gerson Antonio Quintanilla          $10.00   71.98   $   8.60          $   159.92   $    159.92
 12/16/2018 Gerson Antonio Quintanilla          $10.00   77.43   $   8.60          $   187.17   $    187.17
 12/23/2018 Gerson Antonio Quintanilla          $10.00   77.60   $   8.60          $   188.00   $    188.00
 12/30/2018 Gerson Antonio Quintanilla          $10.00   61.97   $   8.60          $   109.83   $    109.83
   1/6/2019 Gerson Antonio Quintanilla          $10.00   62.70   $   8.85          $   113.50   $    113.50
  1/13/2019 Gerson Antonio Quintanilla          $10.00   76.07   $   8.85          $   180.33   $    180.33



                                                  230
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 232 of 683 PageID: 1079
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                        Name                          Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

  1/20/2019 Gerson Antonio Quintanilla          $10.00   77.50   $    8.85         $   187.50   $    187.50
  1/27/2019 Gerson Antonio Quintanilla          $10.00   76.00   $    8.85         $   180.00   $    180.00
   2/3/2019 Gerson Antonio Quintanilla          $10.00   64.03   $    8.85         $   120.17   $    120.17
  2/10/2019 Gerson Antonio Quintanilla          $10.00   74.87   $    8.85         $   174.33   $    174.33
  2/17/2019 Gerson Antonio Quintanilla          $10.00   75.67   $    8.85         $   178.33   $    178.33
  2/24/2019 Gerson Antonio Quintanilla          $10.00   76.10   $    8.85         $   180.50   $    180.50
   3/3/2019 Gerson Antonio Quintanilla          $10.00   77.58   $    8.85         $   187.92   $    187.92
  3/10/2019 Gerson Antonio Quintanilla          $10.00   77.35   $    8.85         $   186.75   $    186.75
  3/17/2019 Gerson Antonio Quintanilla          $10.00   77.57   $    8.85         $   187.83   $    187.83
  3/24/2019 Gerson Antonio Quintanilla          $10.00   77.50   $    8.85         $   187.50   $    187.50
  3/31/2019 Gerson Antonio Quintanilla          $10.00   79.07   $    8.85         $   195.33   $    195.33
   4/7/2019 Gerson Antonio Quintanilla          $10.00   75.93   $    8.85         $   179.67   $    179.67
  4/14/2019 Gerson Antonio Quintanilla          $10.00   74.28   $    8.85         $   171.42   $    171.42
  4/21/2019 Gerson Antonio Quintanilla          $10.00   77.53   $    8.85         $   187.67   $    187.67
  4/28/2019 Gerson Antonio Quintanilla          $10.00   75.03   $    8.85         $   175.17   $    175.17
   2/5/2017 Gerson Najarro                      $10.00   68.78   $    8.44         $   143.92   $    143.92
  2/12/2017 Gerson Najarro                      $10.00   54.55   $    8.44         $    72.75   $     72.75
  2/19/2017 Gerson Najarro                      $10.00   58.80   $    8.44         $    94.00   $     94.00
  2/26/2017 Gerson Najarro                      $10.00   68.98   $    8.44         $   144.92   $    144.92
   3/5/2017 Gerson Najarro                      $10.00   68.22   $    8.44         $   141.08   $    141.08
  3/12/2017 Gerson Najarro                      $10.00   64.12   $    8.44         $   120.58   $    120.58
  3/19/2017 Gerson Najarro                      $10.00   41.73   $    8.44         $     8.67   $      8.67
  3/26/2017 Gerson Najarro                      $10.00   68.60   $    8.44         $   143.00   $    143.00
   4/2/2017 Gerson Najarro                      $10.00   68.33   $    8.44         $   141.67   $    141.67
   4/9/2017 Gerson Najarro                      $10.00   67.78   $    8.44         $   138.92   $    138.92
  4/16/2017 Gerson Najarro                      $10.00   69.42   $    8.44         $   147.08   $    147.08
  4/23/2017 Gerson Najarro                      $10.00   66.30   $    8.44         $   131.50   $    131.50
  4/30/2017 Gerson Najarro                      $10.00   68.47   $    8.44         $   142.33   $    142.33
   5/7/2017 Gerson Najarro                      $10.00   64.83   $    8.44         $   124.17   $    124.17
  5/14/2017 Gerson Najarro                      $10.00   48.02   $    8.44         $    40.08   $     40.08
  12/3/2017 Gerson Najarro                      $10.00   74.98   $    8.44         $   174.92   $    174.92
 12/10/2017 Gerson Najarro                      $10.00   74.92   $    8.44         $   174.58   $    174.58
 12/17/2017 Gerson Najarro                      $10.00   73.63   $    8.44         $   168.17   $    168.17
 12/24/2017 Gerson Najarro                      $10.00   72.00   $    8.44         $   160.00   $    160.00
 12/31/2017 Gerson Najarro                      $10.00   60.60   $    8.44         $   103.00   $    103.00
   1/7/2018 Gerson Najarro                      $10.00   52.90   $    8.60         $    64.50   $     64.50
  1/14/2018 Gerson Najarro                      $10.00   72.48   $    8.60         $   162.42   $    162.42
  1/21/2018 Gerson Najarro                      $10.00   70.53   $    8.60         $   152.67   $    152.67
  1/28/2018 Gerson Najarro                      $10.00   67.90   $    8.60         $   139.50   $    139.50
   2/4/2018 Gerson Najarro                      $10.00   70.38   $    8.60         $   151.92   $    151.92
  2/11/2018 Gerson Najarro                      $10.00   69.80   $    8.60         $   149.00   $    149.00
  2/18/2018 Gerson Najarro                      $10.00   69.92   $    8.60         $   149.58   $    149.58
  2/25/2018 Gerson Najarro                      $10.00   73.23   $    8.60         $   166.17   $    166.17
   3/4/2018 Gerson Najarro                      $10.00   69.52   $    8.60         $   147.58   $    147.58
  3/25/2018 Gerson Najarro                      $10.00   64.17   $    8.60         $   120.83   $    120.83
   4/1/2018 Gerson Najarro                      $10.00   73.50   $    8.60         $   167.50   $    167.50
   4/8/2018 Gerson Najarro                      $10.00   71.50   $    8.60         $   157.50   $    157.50
  4/15/2018 Gerson Najarro                      $10.00   72.47   $    8.60         $   162.33   $    162.33
  12/8/2019 Gloria Lopez                        $10.00   62.37   $   10.00         $   111.83   $    111.83
 12/15/2019 Gloria Lopez                        $10.00   61.02   $   10.00         $   105.08   $    105.08



                                                  231
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 233 of 683 PageID: 1080
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

 12/22/2019 Gloria Lopez                    $10.00   62.00   $   10.00              $   110.00   $   110.00
 12/29/2019 Gloria Lopez                    $10.00   49.13   $   10.00              $    45.67   $    45.67
   1/5/2020 Gloria Lopez                    $10.00   52.23   $   11.00   $ 52.23    $    67.28   $   119.52
  1/12/2020 Gloria Lopez                    $10.00   63.05   $   11.00   $ 63.05    $   126.78   $   189.83
  1/19/2020 Gloria Lopez                    $10.00   53.07   $   11.00   $ 53.07    $    71.87   $   124.93
  1/26/2020 Gloria Lopez                    $10.00   63.08   $   11.00   $ 63.08    $   126.96   $   190.04
  1/19/2020 Grimaldo Santos                  $9.50   72.35   $   11.00   $ 108.53   $   177.93   $   286.45
  1/26/2020 Grimaldo Santos                  $9.50   72.52   $   11.00   $ 108.78   $   178.84   $   287.62
   2/5/2017 Guillermo Mendez                $10.00   68.67   $    8.44              $   143.33   $   143.33
  2/12/2017 Guillermo Mendez                $10.00   56.80   $    8.44              $    84.00   $    84.00
  2/19/2017 Guillermo Mendez                $10.00   69.90   $    8.44              $   149.50   $   149.50
  2/26/2017 Guillermo Mendez                $10.00   67.90   $    8.44              $   139.50   $   139.50
   3/5/2017 Guillermo Mendez                $10.00   69.40   $    8.44              $   147.00   $   147.00
  3/12/2017 Guillermo Mendez                $10.00   70.43   $    8.44              $   152.17   $   152.17
  3/19/2017 Guillermo Mendez                $10.00   58.75   $    8.44              $    93.75   $    93.75
  3/26/2017 Guillermo Mendez                $10.00   68.88   $    8.44              $   144.42   $   144.42
   4/2/2017 Guillermo Mendez                $10.00   70.10   $    8.44              $   150.50   $   150.50
   4/9/2017 Guillermo Mendez                $10.00   66.73   $    8.44              $   133.67   $   133.67
  4/16/2017 Guillermo Mendez                $10.00   69.38   $    8.44              $   146.92   $   146.92
  4/23/2017 Guillermo Mendez                $10.00   70.45   $    8.44              $   152.25   $   152.25
  4/30/2017 Guillermo Mendez                $10.00   69.97   $    8.44              $   149.83   $   149.83
   5/7/2017 Guillermo Mendez                $10.00   67.77   $    8.44              $   138.83   $   138.83
  5/14/2017 Guillermo Mendez                $10.00   69.07   $    8.44              $   145.33   $   145.33
  5/21/2017 Guillermo Mendez                $10.00   68.63   $    8.44              $   143.17   $   143.17
  5/28/2017 Guillermo Mendez                $10.00   65.23   $    8.44              $   126.17   $   126.17
   6/4/2017 Guillermo Mendez                $10.00   54.10   $    8.44              $    70.50   $    70.50
  6/11/2017 Guillermo Mendez                $10.00   53.82   $    8.44              $    69.08   $    69.08
  6/18/2017 Guillermo Mendez                $10.00   66.38   $    8.44              $   131.92   $   131.92
  6/25/2017 Guillermo Mendez                $10.00   63.82   $    8.44              $   119.08   $   119.08
   7/2/2017 Guillermo Mendez                $10.00   44.13   $    8.44              $    20.67   $    20.67
  7/15/2018 Guillermo Sierra                $11.00   42.63   $    8.60              $    14.48   $    14.48
  7/22/2018 Guillermo Sierra                $11.00   61.48   $    8.60              $   118.16   $   118.16
   8/5/2018 Guillermo Sierra                $11.00   52.62   $    8.60              $    69.39   $    69.39
  8/12/2018 Guillermo Sierra                $11.00   44.48   $    8.60              $    24.66   $    24.66
  8/19/2018 Guillermo Sierra                $11.00   47.05   $    8.60              $    38.78   $    38.78
   9/2/2018 Guillermo Sierra                $11.00   58.38   $    8.60              $   101.11   $   101.11
  9/16/2018 Guillermo Sierra                $11.00   52.05   $    8.60              $    66.28   $    66.28
  9/23/2018 Guillermo Sierra                $11.00   47.77   $    8.60              $    42.72   $    42.72
 12/16/2018 Gustavo A. Chanancia            $10.00   72.22   $    8.60              $   161.08   $   161.08
 12/23/2018 Gustavo A. Chanancia            $10.00   85.05   $    8.60              $   225.25   $   225.25
 12/30/2018 Gustavo A. Chanancia            $10.00   66.70   $    8.60              $   133.50   $   133.50
   1/6/2019 Gustavo A. Chanancia            $10.00   75.05   $    8.85              $   175.25   $   175.25
  1/13/2019 Gustavo A. Chanancia            $10.00   72.92   $    8.85              $   164.58   $   164.58
  1/20/2019 Gustavo A. Chanancia            $10.00   66.60   $    8.85              $   133.00   $   133.00
  1/27/2019 Gustavo A. Chanancia            $10.00   68.95   $    8.85              $   144.75   $   144.75
   2/3/2019 Gustavo A. Chanancia            $10.00   73.47   $    8.85              $   167.33   $   167.33
  2/10/2019 Gustavo A. Chanancia            $10.00   69.07   $    8.85              $   145.33   $   145.33
  2/17/2019 Gustavo A. Chanancia            $10.00   68.15   $    8.85              $   140.75   $   140.75
  2/24/2019 Gustavo A. Chanancia            $10.00   71.93   $    8.85              $   159.67   $   159.67
   3/3/2019 Gustavo A. Chanancia            $10.00   70.12   $    8.85              $   150.58   $   150.58



                                              232
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 234 of 683 PageID: 1081
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  3/10/2019 Gustavo A. Chanancia            $10.00   68.93   $    8.85         $   144.67   $    144.67
  3/17/2019 Gustavo A. Chanancia            $10.00   73.18   $    8.85         $   165.92   $    165.92
  3/24/2019 Gustavo A. Chanancia            $10.00   71.03   $    8.85         $   155.17   $    155.17
  3/31/2019 Gustavo A. Chanancia            $10.00   77.98   $    8.85         $   189.92   $    189.92
   4/7/2019 Gustavo A. Chanancia            $10.00   74.12   $    8.85         $   170.58   $    170.58
  4/14/2019 Gustavo A. Chanancia            $10.00   75.28   $    8.85         $   176.42   $    176.42
  4/21/2019 Gustavo A. Chanancia            $10.00   74.42   $    8.85         $   172.08   $    172.08
  4/28/2019 Gustavo A. Chanancia            $10.00   75.53   $    8.85         $   177.67   $    177.67
   5/5/2019 Gustavo A. Chanancia            $10.00   73.70   $    8.85         $   168.50   $    168.50
  5/12/2019 Gustavo A. Chanancia            $10.00   74.57   $    8.85         $   172.83   $    172.83
  5/19/2019 Gustavo A. Chanancia            $10.00   71.70   $    8.85         $   158.50   $    158.50
  5/26/2019 Gustavo A. Chanancia            $10.00   81.03   $    8.85         $   205.17   $    205.17
   6/2/2019 Gustavo A. Chanancia            $10.00   77.87   $    8.85         $   189.33   $    189.33
   6/9/2019 Gustavo A. Chanancia            $10.00   67.27   $    8.85         $   136.33   $    136.33
  6/16/2019 Gustavo A. Chanancia            $10.00   76.32   $    8.85         $   181.58   $    181.58
  6/23/2019 Gustavo A. Chanancia            $10.00   76.58   $    8.85         $   182.92   $    182.92
  6/30/2019 Gustavo A. Chanancia            $10.00   76.37   $   10.00         $   181.83   $    181.83
   7/7/2019 Gustavo A. Chanancia            $11.00   69.48   $   10.00         $   162.16   $    162.16
  7/14/2019 Gustavo A. Chanancia            $11.00   78.60   $   10.00         $   212.30   $    212.30
  7/21/2019 Gustavo A. Chanancia            $11.00   78.27   $   10.00         $   210.47   $    210.47
  7/28/2019 Gustavo A. Chanancia            $11.00   73.65   $   10.00         $   185.08   $    185.08
   8/4/2019 Gustavo A. Chanancia            $11.00   78.12   $   10.00         $   209.64   $    209.64
  8/11/2019 Gustavo A. Chanancia            $11.00   78.90   $   10.00         $   213.95   $    213.95
  8/18/2019 Gustavo A. Chanancia            $11.00   79.23   $   10.00         $   215.78   $    215.78
  8/25/2019 Gustavo A. Chanancia            $11.00   80.38   $   10.00         $   222.11   $    222.11
   9/1/2019 Gustavo A. Chanancia            $11.00   81.83   $   10.00         $   230.08   $    230.08
   9/8/2019 Gustavo A. Chanancia            $11.00   78.58   $   10.00         $   212.21   $    212.21
  9/15/2019 Gustavo A. Chanancia            $11.00   68.50   $   10.00         $   156.75   $    156.75
  9/22/2019 Gustavo A. Chanancia            $11.00   76.37   $   10.00         $   200.02   $    200.02
  9/29/2019 Gustavo A. Chanancia            $11.00   72.33   $   10.00         $   177.83   $    177.83
  10/6/2019 Gustavo A. Chanancia            $11.00   73.32   $   10.00         $   183.24   $    183.24
 10/13/2019 Gustavo A. Chanancia            $11.00   73.15   $   10.00         $   182.33   $    182.33
 10/20/2019 Gustavo A. Chanancia            $11.00   47.68   $   10.00         $    42.26   $     42.26
 10/27/2019 Gustavo A. Chanancia            $11.00   42.87   $   10.00         $    15.77   $     15.77
  11/3/2019 Gustavo A. Chanancia            $11.00   74.98   $   10.00         $   192.41   $    192.41
 11/17/2019 Gustavo A. Chanancia            $11.00   74.48   $   10.00         $   189.66   $    189.66
 11/24/2019 Gustavo A. Chanancia            $11.00   49.78   $   10.00         $    53.81   $     53.81
  12/1/2019 Gustavo A. Chanancia            $11.00   46.47   $   10.00         $    35.57   $     35.57
  12/8/2019 Gustavo A. Chanancia            $11.00   52.93   $   10.00         $    71.13   $     71.13
 12/15/2019 Gustavo A. Chanancia            $11.00   67.78   $   10.00         $   152.81   $    152.81
 12/22/2019 Gustavo A. Chanancia            $11.00   68.68   $   10.00         $   157.76   $    157.76
 12/29/2019 Gustavo A. Chanancia            $11.00   66.33   $   10.00         $   144.83   $    144.83
   1/5/2020 Gustavo A. Chanancia            $11.00   72.92   $   11.00         $   181.04   $    181.04
  1/12/2020 Gustavo A. Chanancia            $11.00   73.98   $   11.00         $   186.91   $    186.91
  1/19/2020 Gustavo A. Chanancia            $11.00   63.30   $   11.00         $   128.15   $    128.15
  1/26/2020 Gustavo A. Chanancia            $11.00   67.65   $   11.00         $   152.08   $    152.08
  8/25/2019 Gustavo Alvarado                $10.00   70.47   $   10.00         $   152.33   $    152.33
   9/1/2019 Gustavo Alvarado                $10.00   66.37   $   10.00         $   131.83   $    131.83
   9/8/2019 Gustavo Alvarado                $10.00   62.93   $   10.00         $   114.67   $    114.67
  9/15/2019 Gustavo Alvarado                $10.00   70.42   $   10.00         $   152.08   $    152.08



                                              233
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 235 of 683 PageID: 1082
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  9/22/2019 Gustavo Alvarado                $10.00   70.23   $   10.00               $   151.17   $   151.17
  9/29/2019 Gustavo Alvarado                $10.00   69.60   $   10.00               $   148.00   $   148.00
  10/6/2019 Gustavo Alvarado                $10.00   68.67   $   10.00               $   143.33   $   143.33
 10/13/2019 Gustavo Alvarado                $10.00   70.98   $   10.00               $   154.92   $   154.92
 10/20/2019 Gustavo Alvarado                $10.00   70.02   $   10.00               $   150.08   $   150.08
 10/27/2019 Gustavo Alvarado                $10.00   70.17   $   10.00               $   150.83   $   150.83
  11/3/2019 Gustavo Alvarado                $10.00   59.72   $   10.00               $    98.58   $    98.58
 11/10/2019 Gustavo Alvarado                $10.00   58.80   $   10.00               $    94.00   $    94.00
 11/17/2019 Gustavo Alvarado                $10.00   45.70   $   10.00               $    28.50   $    28.50
 11/24/2019 Gustavo Alvarado                $10.00   70.32   $   10.00               $   151.58   $   151.58
  12/1/2019 Gustavo Alvarado                $10.00   57.60   $   10.00               $    88.00   $    88.00
  12/8/2019 Gustavo Alvarado                $10.00   66.37   $   10.00               $   131.83   $   131.83
 12/15/2019 Gustavo Alvarado                $10.00   69.53   $   10.00               $   147.67   $   147.67
 12/22/2019 Gustavo Alvarado                $10.00   69.63   $   10.00               $   148.17   $   148.17
 12/29/2019 Gustavo Alvarado                $10.00   53.77   $   10.00               $    68.83   $    68.83
   1/5/2020 Gustavo Alvarado                $10.00   57.18   $   11.00   $   57.18   $    94.51   $   151.69
  1/12/2020 Gustavo Alvarado                $10.00   70.17   $   11.00   $   70.17   $   165.92   $   236.08
  1/19/2020 Gustavo Alvarado                $10.00   69.60   $   11.00   $   69.60   $   162.80   $   232.40
  1/26/2020 Gustavo Alvarado                $10.00   57.78   $   11.00   $   57.78   $    97.81   $   155.59
  7/21/2019 Gustavo Galindez                $10.00   67.80   $   10.00               $   139.00   $   139.00
  7/28/2019 Gustavo Galindez                $10.00   66.30   $   10.00               $   131.50   $   131.50
   8/4/2019 Gustavo Galindez                $10.00   64.07   $   10.00               $   120.33   $   120.33
  8/11/2019 Gustavo Galindez                $10.00   67.82   $   10.00               $   139.08   $   139.08
  8/18/2019 Gustavo Galindez                $10.00   66.53   $   10.00               $   132.67   $   132.67
  8/25/2019 Gustavo Galindez                $10.00   67.22   $   10.00               $   136.08   $   136.08
   9/1/2019 Gustavo Galindez                $10.00   57.57   $   10.00               $    87.83   $    87.83
   9/8/2019 Gustavo Galindez                $10.00   56.20   $   10.00               $    81.00   $    81.00
  9/15/2019 Gustavo Galindez                $10.00   68.55   $   10.00               $   142.75   $   142.75
  9/22/2019 Gustavo Galindez                $10.00   70.12   $   10.00               $   150.58   $   150.58
  9/29/2019 Gustavo Galindez                $10.00   70.72   $   10.00               $   153.58   $   153.58
  10/6/2019 Gustavo Galindez                $10.00   70.08   $   10.00               $   150.42   $   150.42
 10/13/2019 Gustavo Galindez                $10.00   70.10   $   10.00               $   150.50   $   150.50
 10/20/2019 Gustavo Galindez                $10.00   70.13   $   10.00               $   150.67   $   150.67
 10/27/2019 Gustavo Galindez                $10.00   70.27   $   10.00               $   151.33   $   151.33
  11/3/2019 Gustavo Galindez                $10.00   70.25   $   10.00               $   151.25   $   151.25
 11/10/2019 Gustavo Galindez                $10.00   70.00   $   10.00               $   150.00   $   150.00
 11/17/2019 Gustavo Galindez                $10.00   70.40   $   10.00               $   152.00   $   152.00
 11/24/2019 Gustavo Galindez                $10.00   70.17   $   10.00               $   150.83   $   150.83
  12/1/2019 Gustavo Galindez                $10.00   48.48   $   10.00               $    42.42   $    42.42
 12/15/2019 Gustavo Jimenez                 $10.00   57.42   $   10.00               $    87.08   $    87.08
 12/22/2019 Gustavo Jimenez                 $10.00   68.40   $   10.00               $   142.00   $   142.00
 12/29/2019 Gustavo Jimenez                 $10.00   49.48   $   10.00               $    47.42   $    47.42
  1/12/2020 Gustavo Jimenez                 $10.00   47.95   $   11.00   $   47.95   $    43.73   $    91.68
   2/5/2017 Gustavo Sanchez Lara             $9.75   51.87   $    8.44               $    57.85   $    57.85
  2/12/2017 Gustavo Sanchez Lara             $9.75   53.42   $    8.44               $    65.41   $    65.41
  2/19/2017 Gustavo Sanchez Lara             $9.75   64.88   $    8.44               $   121.31   $   121.31
  2/26/2017 Gustavo Sanchez Lara             $9.75   64.47   $    8.44               $   119.28   $   119.28
   3/5/2017 Gustavo Sanchez Lara             $9.75   64.50   $    8.44               $   119.44   $   119.44
  3/12/2017 Gustavo Sanchez Lara             $9.75   64.27   $    8.44               $   118.30   $   118.30
  3/19/2017 Gustavo Sanchez Lara             $9.75   54.75   $    8.44               $    71.91   $    71.91



                                              234
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 236 of 683 PageID: 1083
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  3/26/2017 Gustavo Sanchez Lara             $9.75   66.25   $   8.44          $   127.97   $    127.97
   4/2/2017 Gustavo Sanchez Lara             $9.75   63.72   $   8.44          $   115.62   $    115.62
   4/9/2017 Gustavo Sanchez Lara             $9.75   65.20   $   8.44          $   122.85   $    122.85
  4/16/2017 Gustavo Sanchez Lara             $9.75   51.40   $   8.44          $    55.58   $     55.58
  4/23/2017 Gustavo Sanchez Lara             $9.75   61.77   $   8.44          $   106.11   $    106.11
  4/30/2017 Gustavo Sanchez Lara             $9.75   60.52   $   8.44          $   100.02   $    100.02
   5/7/2017 Gustavo Sanchez Lara             $9.75   51.75   $   8.44          $    57.28   $     57.28
  5/14/2017 Gustavo Sanchez Lara             $9.75   55.83   $   8.44          $    77.19   $     77.19
  5/21/2017 Gustavo Sanchez Lara             $9.75   51.37   $   8.44          $    55.41   $     55.41
  5/28/2017 Gustavo Sanchez Lara             $9.75   50.35   $   8.44          $    50.46   $     50.46
   6/4/2017 Gustavo Sanchez Lara             $9.75   52.18   $   8.44          $    59.39   $     59.39
  6/11/2017 Gustavo Sanchez Lara             $9.75   60.28   $   8.44          $    98.88   $     98.88
  6/18/2017 Gustavo Sanchez Lara             $9.75   61.62   $   8.44          $   105.38   $    105.38
  6/25/2017 Gustavo Sanchez Lara             $9.75   51.68   $   8.44          $    56.96   $     56.96
   7/2/2017 Gustavo Sanchez Lara             $9.75   62.93   $   8.44          $   111.80   $    111.80
   7/9/2017 Gustavo Sanchez Lara             $9.75   44.50   $   8.44          $    21.94   $     21.94
  7/16/2017 Gustavo Sanchez Lara             $9.75   55.50   $   8.44          $    75.56   $     75.56
  7/23/2017 Gustavo Sanchez Lara             $9.75   57.88   $   8.44          $    87.18   $     87.18
  7/30/2017 Gustavo Sanchez Lara             $9.75   57.70   $   8.44          $    86.29   $     86.29
   8/6/2017 Gustavo Sanchez Lara             $9.75   64.30   $   8.44          $   118.46   $    118.46
  8/13/2017 Gustavo Sanchez Lara             $9.75   67.37   $   8.44          $   133.41   $    133.41
  8/20/2017 Gustavo Sanchez Lara             $9.75   64.23   $   8.44          $   118.14   $    118.14
  8/27/2017 Gustavo Sanchez Lara             $9.75   56.33   $   8.44          $    79.63   $     79.63
   9/3/2017 Gustavo Sanchez Lara             $9.75   68.22   $   8.44          $   137.56   $    137.56
  9/17/2017 Gustavo Sanchez Lara             $9.75   61.92   $   8.44          $   106.84   $    106.84
  9/24/2017 Gustavo Sanchez Lara             $9.75   54.17   $   8.44          $    69.06   $     69.06
  10/1/2017 Gustavo Sanchez Lara             $9.75   63.15   $   8.44          $   112.86   $    112.86
  10/8/2017 Gustavo Sanchez Lara             $9.75   58.77   $   8.44          $    91.49   $     91.49
 10/15/2017 Gustavo Sanchez Lara             $9.75   45.85   $   8.44          $    28.52   $     28.52
 10/22/2017 Gustavo Sanchez Lara             $9.75   66.90   $   8.44          $   131.14   $    131.14
 10/29/2017 Gustavo Sanchez Lara             $9.75   51.52   $   8.44          $    56.14   $     56.14
  11/5/2017 Gustavo Sanchez Lara             $9.75   54.35   $   8.44          $    69.96   $     69.96
 11/12/2017 Gustavo Sanchez Lara             $9.75   54.42   $   8.44          $    70.28   $     70.28
 11/19/2017 Gustavo Sanchez Lara             $9.75   63.75   $   8.44          $   115.78   $    115.78
 11/26/2017 Gustavo Sanchez Lara             $9.75   54.27   $   8.44          $    69.55   $     69.55
  12/3/2017 Gustavo Sanchez Lara             $9.75   65.97   $   8.44          $   126.59   $    126.59
  8/19/2018 Halan Ortiz                     $11.00   56.40   $   8.60          $    90.20   $     90.20
  8/26/2018 Halan Ortiz                     $11.00   55.73   $   8.60          $    86.53   $     86.53
   9/2/2018 Halan Ortiz                     $11.00   56.12   $   8.60          $    88.64   $     88.64
  9/16/2018 Halan Ortiz                     $11.00   56.05   $   8.60          $    88.28   $     88.28
  9/23/2018 Halan Ortiz                     $11.00   46.72   $   8.60          $    36.94   $     36.94
  9/30/2018 Halan Ortiz                     $11.00   46.52   $   8.60          $    35.84   $     35.84
  10/7/2018 Halan Ortiz                     $11.00   56.48   $   8.60          $    90.66   $     90.66
 10/14/2018 Halan Ortiz                     $11.00   56.60   $   8.60          $    91.30   $     91.30
 10/21/2018 Halan Ortiz                     $11.00   46.85   $   8.60          $    37.68   $     37.68
 10/28/2018 Halan Ortiz                     $11.00   56.47   $   8.60          $    90.57   $     90.57
 11/11/2018 Halan Ortiz                     $11.00   64.13   $   8.60          $   132.73   $    132.73
 11/18/2018 Halan Ortiz                     $11.00   56.78   $   8.60          $    92.31   $     92.31
  12/2/2018 Halan Ortiz                     $11.00   56.42   $   8.60          $    90.29   $     90.29
  12/9/2018 Halan Ortiz                     $11.00   56.35   $   8.60          $    89.93   $     89.93



                                              235
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 237 of 683 PageID: 1084
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

 12/16/2018 Halan Ortiz                      $11.00   56.82   $    8.60         $    92.49   $     92.49
 12/23/2018 Halan Ortiz                      $11.00   56.53   $    8.60         $    90.93   $     90.93
  3/17/2019 Halan Ortiz                      $11.00   57.88   $    8.85         $    98.36   $     98.36
  3/31/2019 Halan Ortiz                      $11.00   48.08   $    8.85         $    44.46   $     44.46
  4/21/2019 Halan Ortiz                      $11.00   61.42   $    8.85         $   117.79   $    117.79
  4/28/2019 Halan Ortiz                      $11.00   63.97   $    8.85         $   131.82   $    131.82
  7/14/2019 Halan Ortiz                      $11.00   52.13   $   10.00         $    66.73   $     66.73
  7/21/2019 Halan Ortiz                      $11.00   62.65   $   10.00         $   124.58   $    124.58
  7/28/2019 Halan Ortiz                      $11.00   40.55   $   10.00         $     3.03   $      3.03
   8/4/2019 Halan Ortiz                      $11.00   41.63   $   10.00         $     8.98   $      8.98
  8/11/2019 Halan Ortiz                      $11.00   64.97   $   10.00         $   137.32   $    137.32
  8/18/2019 Halan Ortiz                      $11.00   63.40   $   10.00         $   128.70   $    128.70
  8/25/2019 Halan Ortiz                      $11.00   60.95   $   10.00         $   115.23   $    115.23
   9/1/2019 Halan Ortiz                      $11.00   48.78   $   10.00         $    48.31   $     48.31
   9/8/2019 Halan Ortiz                      $11.00   40.28   $   10.00         $     1.56   $      1.56
  9/15/2019 Halan Ortiz                      $11.00   40.80   $   10.00         $     4.40   $      4.40
  9/22/2019 Halan Ortiz                      $11.00   48.07   $   10.00         $    44.37   $     44.37
  9/29/2019 Halan Ortiz                      $11.00   46.48   $   10.00         $    35.66   $     35.66
  10/6/2019 Halan Ortiz                      $11.00   56.33   $   10.00         $    89.83   $     89.83
 10/20/2019 Halan Ortiz                      $11.00   47.23   $   10.00         $    39.78   $     39.78
 11/17/2019 Halan Ortiz                      $11.00   50.08   $   10.00         $    55.46   $     55.46
   6/4/2017 Harold Huff                       $9.50   48.32   $    8.44         $    39.50   $     39.50
   2/4/2018 Harold Huff                       $9.50   59.05   $    8.60         $    90.49   $     90.49
  2/11/2018 Harold Huff                       $9.50   57.15   $    8.60         $    81.46   $     81.46
  2/18/2018 Harold Huff                       $9.50   54.30   $    8.60         $    67.93   $     67.93
  2/25/2018 Harold Huff                       $9.50   54.22   $    8.60         $    67.53   $     67.53
   3/4/2018 Harold Huff                       $9.50   43.90   $    8.60         $    18.53   $     18.53
   4/8/2018 Harold Huff                       $9.50   57.50   $    8.60         $    83.13   $     83.13
  4/15/2018 Harold Huff                       $9.50   57.40   $    8.60         $    82.65   $     82.65
  4/22/2018 Harold Huff                       $9.50   46.52   $    8.60         $    30.95   $     30.95
  5/20/2018 Harold Huff                       $9.50   57.10   $    8.60         $    81.23   $     81.23
  5/27/2018 Harold Huff                       $9.50   48.97   $    8.60         $    42.59   $     42.59
   6/3/2018 Harold Huff                       $9.50   48.82   $    8.60         $    41.88   $     41.88
  6/10/2018 Harold Huff                       $9.50   57.53   $    8.60         $    83.28   $     83.28
  6/17/2018 Harold Huff                       $9.50   48.18   $    8.60         $    38.87   $     38.87
  6/24/2018 Harold Huff                       $9.50   55.22   $    8.60         $    72.28   $     72.28
   7/1/2018 Harold Huff                       $9.50   47.53   $    8.60         $    35.78   $     35.78
  7/15/2018 Harold Huff                       $9.50   50.28   $    8.60         $    48.85   $     48.85
  7/29/2018 Harold Huff                       $9.50   47.43   $    8.60         $    35.31   $     35.31
   8/5/2018 Harold Huff                       $9.50   43.88   $    8.60         $    18.45   $     18.45
  8/12/2018 Harold Huff                       $9.50   49.08   $    8.60         $    43.15   $     43.15
  8/19/2018 Harold Huff                       $9.50   59.52   $    8.60         $    92.70   $     92.70
  8/26/2018 Harold Huff                       $9.50   48.82   $    8.60         $    41.88   $     41.88
   6/4/2017 Harold Josue Eusebio             $11.50   67.22   $    8.44         $   156.50   $    156.50
  6/11/2017 Harold Josue Eusebio             $11.50   56.18   $    8.44         $    93.05   $     93.05
  6/18/2017 Harold Josue Eusebio             $11.50   66.42   $    8.44         $   151.90   $    151.90
  6/25/2017 Harold Josue Eusebio             $11.50   64.37   $    8.44         $   140.11   $    140.11
   7/2/2017 Harold Josue Eusebio             $11.50   67.63   $    8.44         $   158.89   $    158.89
   7/9/2017 Harold Josue Eusebio             $11.50   64.68   $    8.44         $   141.93   $    141.93
  7/16/2017 Harold Josue Eusebio             $11.50   64.17   $    8.44         $   138.96   $    138.96



                                               236
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 238 of 683 PageID: 1085
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  7/23/2017 Harold Josue Eusebio             $11.50   64.92   $   8.44          $   143.27   $    143.27
  7/30/2017 Harold Josue Eusebio             $11.50   65.75   $   8.44          $   148.06   $    148.06
   8/6/2017 Harold Josue Eusebio             $11.50   62.07   $   8.44          $   126.88   $    126.88
  8/13/2017 Harold Josue Eusebio             $11.50   63.98   $   8.44          $   137.90   $    137.90
  8/20/2017 Harold Josue Eusebio             $11.50   64.92   $   8.44          $   143.27   $    143.27
  8/27/2017 Harold Josue Eusebio             $11.50   64.35   $   8.44          $   140.01   $    140.01
   9/3/2017 Harold Josue Eusebio             $11.50   62.45   $   8.44          $   129.09   $    129.09
  9/10/2017 Harold Josue Eusebio             $11.50   63.30   $   8.44          $   133.98   $    133.98
  9/17/2017 Harold Josue Eusebio             $11.50   63.08   $   8.44          $   132.73   $    132.73
  9/24/2017 Harold Josue Eusebio             $11.50   64.45   $   8.44          $   140.59   $    140.59
  10/1/2017 Harold Josue Eusebio             $11.50   63.42   $   8.44          $   134.65   $    134.65
  10/8/2017 Harold Josue Eusebio             $11.50   62.65   $   8.44          $   130.24   $    130.24
 10/15/2017 Harold Josue Eusebio             $11.50   65.35   $   8.44          $   145.76   $    145.76
 10/22/2017 Harold Josue Eusebio             $11.50   62.67   $   8.44          $   130.33   $    130.33
 10/29/2017 Harold Josue Eusebio             $11.50   57.38   $   8.44          $    99.95   $     99.95
  11/5/2017 Harold Josue Eusebio             $11.50   61.42   $   8.44          $   123.15   $    123.15
 11/12/2017 Harold Josue Eusebio             $11.50   63.60   $   8.44          $   135.70   $    135.70
 11/19/2017 Harold Josue Eusebio             $11.50   61.95   $   8.44          $   126.21   $    126.21
 11/26/2017 Harold Josue Eusebio             $11.50   58.18   $   8.44          $   104.55   $    104.55
  12/3/2017 Harold Josue Eusebio             $11.50   70.97   $   8.44          $   178.06   $    178.06
 12/10/2017 Harold Josue Eusebio             $11.50   67.57   $   8.44          $   158.51   $    158.51
 12/17/2017 Harold Josue Eusebio             $11.50   67.22   $   8.44          $   156.50   $    156.50
 12/24/2017 Harold Josue Eusebio             $11.50   66.85   $   8.44          $   154.39   $    154.39
 12/31/2017 Harold Josue Eusebio             $11.50   57.03   $   8.44          $    97.94   $     97.94
   1/7/2018 Harold Josue Eusebio             $11.50   57.80   $   8.60          $   102.35   $    102.35
  1/14/2018 Harold Josue Eusebio             $11.50   68.33   $   8.60          $   162.92   $    162.92
  1/21/2018 Harold Josue Eusebio             $11.50   63.03   $   8.60          $   132.44   $    132.44
  1/28/2018 Harold Josue Eusebio             $11.50   62.77   $   8.60          $   130.91   $    130.91
   2/4/2018 Harold Josue Eusebio             $11.50   62.93   $   8.60          $   131.87   $    131.87
  2/11/2018 Harold Josue Eusebio             $11.50   58.33   $   8.60          $   105.42   $    105.42
  2/18/2018 Harold Josue Eusebio             $11.50   61.47   $   8.60          $   123.43   $    123.43
  2/25/2018 Harold Josue Eusebio             $11.50   42.42   $   8.60          $    13.90   $     13.90
   3/4/2018 Harold Josue Eusebio             $11.50   59.27   $   8.60          $   110.78   $    110.78
  3/25/2018 Harold Josue Eusebio             $11.50   60.43   $   8.60          $   117.49   $    117.49
   4/1/2018 Harold Josue Eusebio             $11.50   59.77   $   8.60          $   113.66   $    113.66
   4/8/2018 Harold Josue Eusebio             $11.50   59.93   $   8.60          $   114.62   $    114.62
  4/15/2018 Harold Josue Eusebio             $11.50   65.45   $   8.60          $   146.34   $    146.34
  4/22/2018 Harold Josue Eusebio             $11.50   62.65   $   8.60          $   130.24   $    130.24
  4/29/2018 Harold Josue Eusebio             $11.50   64.37   $   8.60          $   140.11   $    140.11
   5/6/2018 Harold Josue Eusebio             $11.50   67.37   $   8.60          $   157.36   $    157.36
  5/13/2018 Harold Josue Eusebio             $11.50   68.92   $   8.60          $   166.27   $    166.27
  5/20/2018 Harold Josue Eusebio             $11.50   66.53   $   8.60          $   152.57   $    152.57
  5/27/2018 Harold Josue Eusebio             $11.50   70.35   $   8.60          $   174.51   $    174.51
   6/3/2018 Harold Josue Eusebio             $11.50   66.40   $   8.60          $   151.80   $    151.80
  6/10/2018 Harold Josue Eusebio             $11.50   65.92   $   8.60          $   149.02   $    149.02
  6/17/2018 Harold Josue Eusebio             $11.50   65.82   $   8.60          $   148.45   $    148.45
  6/24/2018 Harold Josue Eusebio             $11.50   66.18   $   8.60          $   150.55   $    150.55
   7/1/2018 Harold Josue Eusebio             $11.50   65.47   $   8.60          $   146.43   $    146.43
   7/8/2018 Harold Josue Eusebio             $11.50   48.53   $   8.60          $    49.07   $     49.07
  7/15/2018 Harold Josue Eusebio             $11.50   66.72   $   8.60          $   153.62   $    153.62



                                               237
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 239 of 683 PageID: 1086
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  7/22/2018 Harold Josue Eusebio             $11.50   65.70   $    8.60         $   147.78   $    147.78
  7/29/2018 Harold Josue Eusebio             $11.50   56.02   $    8.60         $    92.10   $     92.10
   8/5/2018 Harold Josue Eusebio             $11.50   55.10   $    8.60         $    86.83   $     86.83
  8/12/2018 Harold Josue Eusebio             $11.50   65.48   $    8.60         $   146.53   $    146.53
  8/19/2018 Harold Josue Eusebio             $11.50   59.37   $    8.60         $   111.36   $    111.36
  8/26/2018 Harold Josue Eusebio             $11.50   63.13   $    8.60         $   133.02   $    133.02
   9/2/2018 Harold Josue Eusebio             $11.50   66.53   $    8.60         $   152.57   $    152.57
   9/9/2018 Harold Josue Eusebio             $11.50   65.42   $    8.60         $   146.15   $    146.15
  9/16/2018 Harold Josue Eusebio             $11.50   66.10   $    8.60         $   150.08   $    150.08
  9/23/2018 Harold Josue Eusebio             $11.50   64.42   $    8.60         $   140.40   $    140.40
  9/30/2018 Harold Josue Eusebio             $11.50   59.10   $    8.60         $   109.83   $    109.83
  10/7/2018 Harold Josue Eusebio             $10.00   60.65   $    8.60         $   103.25   $    103.25
 10/14/2018 Harold Josue Eusebio             $10.00   58.52   $    8.60         $    92.58   $     92.58
 10/21/2018 Harold Josue Eusebio             $10.00   58.83   $    8.60         $    94.17   $     94.17
 10/28/2018 Harold Josue Eusebio             $10.00   60.20   $    8.60         $   101.00   $    101.00
  11/4/2018 Harold Josue Eusebio             $10.00   65.38   $    8.60         $   126.92   $    126.92
 11/11/2018 Harold Josue Eusebio             $10.00   64.67   $    8.60         $   123.33   $    123.33
 11/18/2018 Harold Josue Eusebio             $10.00   65.47   $    8.60         $   127.33   $    127.33
 11/25/2018 Harold Josue Eusebio             $11.50   60.93   $    8.60         $   120.37   $    120.37
  12/2/2018 Harold Josue Eusebio             $11.50   63.58   $    8.60         $   135.60   $    135.60
  12/9/2018 Harold Josue Eusebio             $11.50   61.00   $    8.60         $   120.75   $    120.75
  1/13/2019 Harold Josue Eusebio             $11.50   71.38   $    8.85         $   180.45   $    180.45
  1/20/2019 Harold Josue Eusebio             $11.50   72.93   $    8.85         $   189.37   $    189.37
  1/27/2019 Harold Josue Eusebio             $11.50   55.38   $    8.85         $    88.45   $     88.45
   2/3/2019 Harold Josue Eusebio             $11.50   45.87   $    8.85         $    33.73   $     33.73
  2/10/2019 Harold Josue Eusebio             $11.50   65.32   $    8.85         $   145.57   $    145.57
  2/17/2019 Harold Josue Eusebio             $11.50   64.27   $    8.85         $   139.53   $    139.53
  2/24/2019 Harold Josue Eusebio             $11.50   64.77   $    8.85         $   142.41   $    142.41
   3/3/2019 Harold Josue Eusebio             $11.50   62.88   $    8.85         $   131.58   $    131.58
  3/10/2019 Harold Josue Eusebio             $11.50   81.03   $    8.85         $   235.94   $    235.94
  3/17/2019 Harold Josue Eusebio             $11.50   84.87   $    8.85         $   257.98   $    257.98
  3/24/2019 Harold Josue Eusebio             $11.50   74.95   $    8.85         $   200.96   $    200.96
  3/31/2019 Harold Josue Eusebio             $11.50   76.28   $    8.85         $   208.63   $    208.63
   4/7/2019 Harold Josue Eusebio             $11.50   72.22   $    8.85         $   185.25   $    185.25
  4/14/2019 Harold Josue Eusebio             $11.50   71.77   $    8.85         $   182.66   $    182.66
  4/21/2019 Harold Josue Eusebio             $11.50   70.22   $    8.85         $   173.75   $    173.75
  4/28/2019 Harold Josue Eusebio             $11.50   58.68   $    8.85         $   107.43   $    107.43
   5/5/2019 Harold Josue Eusebio             $11.50   69.55   $    8.85         $   169.91   $    169.91
  5/12/2019 Harold Josue Eusebio             $11.50   69.30   $    8.85         $   168.48   $    168.48
  5/19/2019 Harold Josue Eusebio             $11.50   68.30   $    8.85         $   162.73   $    162.73
  5/26/2019 Harold Josue Eusebio             $11.50   70.57   $    8.85         $   175.76   $    175.76
   6/2/2019 Harold Josue Eusebio             $11.50   74.07   $    8.85         $   195.88   $    195.88
   6/9/2019 Harold Josue Eusebio             $11.50   72.03   $    8.85         $   184.19   $    184.19
  6/16/2019 Harold Josue Eusebio             $11.50   67.32   $    8.85         $   157.07   $    157.07
  6/23/2019 Harold Josue Eusebio             $11.50   70.37   $    8.85         $   174.61   $    174.61
  6/30/2019 Harold Josue Eusebio             $11.50   66.12   $   10.00         $   150.17   $    150.17
   7/7/2019 Harold Josue Eusebio             $11.50   70.25   $   10.00         $   173.94   $    173.94
  7/14/2019 Harold Josue Eusebio             $11.50   72.22   $   10.00         $   185.25   $    185.25
  7/21/2019 Harold Josue Eusebio             $11.50   71.00   $   10.00         $   178.25   $    178.25
  7/28/2019 Harold Josue Eusebio             $11.50   71.15   $   10.00         $   179.11   $    179.11



                                               238
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 240 of 683 PageID: 1087
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

   8/4/2019 Harold Josue Eusebio             $11.50   71.23   $   10.00         $   179.59   $    179.59
  8/11/2019 Harold Josue Eusebio             $11.50   68.07   $   10.00         $   161.38   $    161.38
  8/18/2019 Harold Josue Eusebio             $11.50   73.15   $   10.00         $   190.61   $    190.61
  8/25/2019 Harold Josue Eusebio             $11.50   74.00   $   10.00         $   195.50   $    195.50
   9/1/2019 Harold Josue Eusebio             $11.50   69.20   $   10.00         $   167.90   $    167.90
   9/8/2019 Harold Josue Eusebio             $11.50   68.47   $   10.00         $   163.68   $    163.68
  9/15/2019 Harold Josue Eusebio             $11.50   68.93   $   10.00         $   166.37   $    166.37
  9/22/2019 Harold Josue Eusebio             $11.50   69.93   $   10.00         $   172.12   $    172.12
  9/29/2019 Harold Josue Eusebio             $11.50   68.32   $   10.00         $   162.82   $    162.82
  10/6/2019 Harold Josue Eusebio             $11.50   69.57   $   10.00         $   170.01   $    170.01
 10/13/2019 Harold Josue Eusebio             $11.50   70.93   $   10.00         $   177.87   $    177.87
 10/20/2019 Harold Josue Eusebio             $11.50   68.52   $   10.00         $   163.97   $    163.97
 10/27/2019 Harold Josue Eusebio             $11.50   45.72   $   10.00         $    32.87   $     32.87
  11/3/2019 Harold Josue Eusebio             $11.50   56.80   $   10.00         $    96.60   $     96.60
 11/10/2019 Harold Josue Eusebio             $11.50   45.68   $   10.00         $    32.68   $     32.68
 11/17/2019 Harold Josue Eusebio             $11.50   68.90   $   10.00         $   166.18   $    166.18
 11/24/2019 Harold Josue Eusebio             $11.50   69.77   $   10.00         $   171.16   $    171.16
  12/1/2019 Harold Josue Eusebio             $11.50   58.82   $   10.00         $   108.20   $    108.20
  12/8/2019 Harold Josue Eusebio             $11.50   67.65   $   10.00         $   158.99   $    158.99
 12/15/2019 Harold Josue Eusebio             $11.50   56.78   $   10.00         $    96.50   $     96.50
 12/22/2019 Harold Josue Eusebio             $11.50   56.55   $   10.00         $    95.16   $     95.16
  1/12/2020 Harold Josue Eusebio             $11.50   46.27   $   11.00         $    36.03   $     36.03
  1/19/2020 Harold Josue Eusebio             $11.50   66.40   $   11.00         $   151.80   $    151.80
  1/26/2020 Harold Josue Eusebio             $11.50   68.13   $   11.00         $   161.77   $    161.77
   7/7/2019 Harrinson Jimenez                $10.00   50.27   $   10.00         $    51.33   $     51.33
  7/14/2019 Harrinson Jimenez                $10.00   58.25   $   10.00         $    91.25   $     91.25
  7/21/2019 Harrinson Jimenez                $10.00   54.53   $   10.00         $    72.67   $     72.67
  7/28/2019 Harrinson Jimenez                $10.00   54.32   $   10.00         $    71.58   $     71.58
   8/4/2019 Harrinson Jimenez                $10.00   53.68   $   10.00         $    68.42   $     68.42
  8/11/2019 Harrinson Jimenez                $10.00   54.23   $   10.00         $    71.17   $     71.17
  8/18/2019 Harrinson Jimenez                $10.00   48.18   $   10.00         $    40.92   $     40.92
  8/25/2019 Harrinson Jimenez                $10.00   43.13   $   10.00         $    15.67   $     15.67
   9/1/2019 Harrinson Jimenez                $10.00   43.28   $   10.00         $    16.42   $     16.42
  9/15/2019 Harrinson Jimenez                $10.00   72.48   $   10.00         $   162.42   $    162.42
  9/22/2019 Harrinson Jimenez                $10.00   59.37   $   10.00         $    96.83   $     96.83
  9/29/2019 Harrinson Jimenez                $10.00   59.53   $   10.00         $    97.67   $     97.67
  10/6/2019 Harrinson Jimenez                $10.00   59.03   $   10.00         $    95.17   $     95.17
 10/13/2019 Harrinson Jimenez                $10.00   55.57   $   10.00         $    77.83   $     77.83
  10/6/2019 Harry Espada                     $11.00   56.82   $   10.00         $    92.49   $     92.49
 10/13/2019 Harry Espada                     $11.00   60.13   $   10.00         $   110.73   $    110.73
 10/27/2019 Harry Espada                     $11.00   41.57   $   10.00         $     8.62   $      8.62
  11/3/2019 Harry Espada                     $11.00   40.73   $   10.00         $     4.03   $      4.03
 11/10/2019 Harry Espada                     $11.00   48.23   $   10.00         $    45.28   $     45.28
 11/24/2019 Harry Espada                     $11.00   41.82   $   10.00         $     9.99   $      9.99
  12/1/2019 Harry Espada                     $11.00   42.78   $   10.00         $    15.31   $     15.31
 12/22/2019 Harry Espada                     $11.00   50.52   $   10.00         $    57.84   $     57.84
 12/29/2019 Harry Espada                     $11.00   48.95   $   10.00         $    49.23   $     49.23
   1/5/2020 Harry Espada                     $11.00   45.15   $   11.00         $    28.33   $     28.33
  1/12/2020 Harry Espada                     $11.00   45.30   $   11.00         $    29.15   $     29.15
  1/26/2020 Harry Espada                     $11.00   43.02   $   11.00         $    16.59   $     16.59



                                               239
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 241 of 683 PageID: 1088
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                       Name                           Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

  3/10/2019 Hector Hernandez                    $10.50   44.42   $    8.85         $    23.19   $     23.19
  3/17/2019 Hector Hernandez                    $10.50   63.22   $    8.85         $   121.89   $    121.89
   6/4/2017 Hector J. Figueroa                   $9.50   51.28   $    8.44         $    53.60   $     53.60
  6/11/2017 Hector J. Figueroa                   $9.50   48.47   $    8.44         $    40.22   $     40.22
  6/18/2017 Hector J. Figueroa                   $9.50   60.02   $    8.44         $    95.08   $     95.08
  6/25/2017 Hector J. Figueroa                   $9.50   41.78   $    8.44         $     8.47   $      8.47
   7/2/2017 Hector J. Figueroa                   $9.50   49.40   $    8.44         $    44.65   $     44.65
   7/9/2017 Hector J. Figueroa                   $9.50   42.33   $    8.44         $    11.08   $     11.08
  8/20/2017 Hector J. Figueroa                   $9.50   41.03   $    8.44         $     4.91   $      4.91
  9/17/2017 Hector J. Figueroa                   $9.50   42.18   $    8.44         $    10.37   $     10.37
  9/24/2017 Hector J. Figueroa                   $9.50   44.15   $    8.44         $    19.71   $     19.71
 10/15/2017 Hector J. Figueroa                   $9.50   42.75   $    8.44         $    13.06   $     13.06
   8/4/2019 Hector J. Martinez                  $10.00   44.63   $   10.00         $    23.17   $     23.17
  8/11/2019 Hector J. Martinez                  $10.00   58.02   $   10.00         $    90.08   $     90.08
  8/18/2019 Hector J. Martinez                  $10.00   56.05   $   10.00         $    80.25   $     80.25
  8/25/2019 Hector J. Martinez                  $10.00   69.82   $   10.00         $   149.08   $    149.08
   9/1/2019 Hector J. Martinez                  $10.00   54.35   $   10.00         $    71.75   $     71.75
   9/8/2019 Hector J. Martinez                  $10.00   52.15   $   10.00         $    60.75   $     60.75
  9/15/2019 Hector J. Martinez                  $10.00   68.82   $   10.00         $   144.08   $    144.08
  9/22/2019 Hector J. Martinez                  $10.00   70.78   $   10.00         $   153.92   $    153.92
 12/31/2017 Hector Martinez                      $9.50   50.68   $    8.44         $    50.75   $     50.75
  1/14/2018 Hector Martinez                      $9.50   61.30   $    8.60         $   101.18   $    101.18
  1/21/2018 Hector Martinez                      $9.50   41.70   $    8.60         $     8.08   $      8.08
  1/28/2018 Hector Martinez                      $9.50   58.82   $    8.60         $    89.38   $     89.38
   2/4/2018 Hector Martinez                      $9.50   55.93   $    8.60         $    75.68   $     75.68
  2/11/2018 Hector Martinez                      $9.50   46.70   $    8.60         $    31.83   $     31.83
  2/18/2018 Hector Martinez                      $9.50   51.80   $    8.60         $    56.05   $     56.05
  2/25/2018 Hector Martinez                      $9.50   55.22   $    8.60         $    72.28   $     72.28
   3/4/2018 Hector Martinez                      $9.50   59.33   $    8.60         $    91.83   $     91.83
  3/25/2018 Hector Martinez                      $9.50   57.60   $    8.60         $    83.60   $     83.60
   4/1/2018 Hector Martinez                      $9.50   57.33   $    8.60         $    82.33   $     82.33
   4/8/2018 Hector Martinez                      $9.50   53.18   $    8.60         $    62.62   $     62.62
  4/15/2018 Hector Martinez                      $9.50   50.18   $    8.60         $    48.37   $     48.37
  4/22/2018 Hector Martinez                      $9.50   55.42   $    8.60         $    73.23   $     73.23
  4/29/2018 Hector Martinez                      $9.50   54.78   $    8.60         $    70.22   $     70.22
   5/6/2018 Hector Martinez                      $9.50   54.48   $    8.60         $    68.80   $     68.80
  5/13/2018 Hector Martinez                      $9.50   44.67   $    8.60         $    22.17   $     22.17
  2/11/2018 Hector Mulero                        $9.50   54.67   $    8.60         $    69.67   $     69.67
  2/18/2018 Hector Mulero                        $9.50   55.85   $    8.60         $    75.29   $     75.29
   3/4/2018 Hector Mulero                        $9.50   64.22   $    8.60         $   115.03   $    115.03
  8/26/2018 Hector Perez- Delos Santos           $9.00   58.78   $    8.60         $    84.53   $     84.53
   9/2/2018 Hector Perez- Delos Santos           $9.00   56.10   $    8.60         $    72.45   $     72.45
   9/9/2018 Hector Perez- Delos Santos           $9.00   45.88   $    8.60         $    26.48   $     26.48
  9/16/2018 Hector Perez- Delos Santos           $9.00   55.72   $    8.60         $    70.73   $     70.73
  9/30/2018 Hector Perez- Delos Santos           $9.50   46.53   $    8.60         $    31.03   $     31.03
  10/7/2018 Hector Perez- Delos Santos           $9.50   56.50   $    8.60         $    78.38   $     78.38
 10/14/2018 Hector Perez- Delos Santos           $9.50   56.62   $    8.60         $    78.93   $     78.93
 10/21/2018 Hector Perez- Delos Santos           $9.50   56.75   $    8.60         $    79.56   $     79.56
 10/28/2018 Hector Perez- Delos Santos           $9.50   56.45   $    8.60         $    78.14   $     78.14
  11/4/2018 Hector Perez- Delos Santos           $9.50   56.42   $    8.60         $    77.98   $     77.98



                                                  240
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 242 of 683 PageID: 1089
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                       Name                           Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

 11/11/2018 Hector Perez- Delos Santos           $9.50   64.13   $    8.60               $   114.63   $   114.63
 11/18/2018 Hector Perez- Delos Santos           $9.50   56.77   $    8.60               $    79.64   $    79.64
 11/25/2018 Hector Perez- Delos Santos           $9.50   46.73   $    8.60               $    31.98   $    31.98
  12/2/2018 Hector Perez- Delos Santos           $9.50   56.45   $    8.60               $    78.14   $    78.14
  12/9/2018 Hector Perez- Delos Santos           $9.50   56.37   $    8.60               $    77.74   $    77.74
 12/16/2018 Hector Perez- Delos Santos           $9.50   56.85   $    8.60               $    80.04   $    80.04
 12/23/2018 Hector Perez- Delos Santos           $9.50   56.55   $    8.60               $    78.61   $    78.61
  1/20/2019 Hector Perez- Delos Santos           $9.50   58.00   $    8.85               $    85.50   $    85.50
  1/27/2019 Hector Perez- Delos Santos           $9.50   57.02   $    8.85               $    80.83   $    80.83
   2/3/2019 Hector Perez- Delos Santos           $9.50   58.85   $    8.85               $    89.54   $    89.54
  2/10/2019 Hector Perez- Delos Santos           $9.50   58.03   $    8.85               $    85.66   $    85.66
  2/17/2019 Hector Perez- Delos Santos           $9.50   57.70   $    8.85               $    84.07   $    84.07
  2/24/2019 Hector Perez- Delos Santos           $9.50   57.55   $    8.85               $    83.36   $    83.36
   3/3/2019 Hector Perez- Delos Santos           $9.50   58.67   $    8.85               $    88.67   $    88.67
  3/10/2019 Hector Perez- Delos Santos           $9.50   57.73   $    8.85               $    84.23   $    84.23
  3/17/2019 Hector Perez- Delos Santos           $9.50   58.65   $    8.85               $    88.59   $    88.59
  3/24/2019 Hector Perez- Delos Santos           $9.50   58.87   $    8.85               $    89.62   $    89.62
  3/31/2019 Hector Perez- Delos Santos           $9.50   58.68   $    8.85               $    88.75   $    88.75
   4/7/2019 Hector Perez- Delos Santos           $9.50   58.53   $    8.85               $    88.03   $    88.03
  4/14/2019 Hector Perez- Delos Santos           $9.50   58.53   $    8.85               $    88.03   $    88.03
  4/21/2019 Hector Perez- Delos Santos           $9.50   59.00   $    8.85               $    90.25   $    90.25
  4/28/2019 Hector Perez- Delos Santos           $9.50   58.20   $    8.85               $    86.45   $    86.45
   5/5/2019 Hector Perez- Delos Santos           $9.50   58.58   $    8.85               $    88.27   $    88.27
  5/12/2019 Hector Perez- Delos Santos           $9.50   58.30   $    8.85               $    86.93   $    86.93
  5/19/2019 Hector Perez- Delos Santos           $9.50   56.65   $    8.85               $    79.09   $    79.09
  5/26/2019 Hector Perez- Delos Santos           $9.50   58.32   $    8.85               $    87.00   $    87.00
   6/2/2019 Hector Perez- Delos Santos           $9.50   48.55   $    8.85               $    40.61   $    40.61
   6/9/2019 Hector Perez- Delos Santos           $9.50   57.05   $    8.85               $    80.99   $    80.99
  6/16/2019 Hector Perez- Delos Santos           $9.50   55.62   $    8.85               $    74.18   $    74.18
  6/23/2019 Hector Perez- Delos Santos           $9.50   57.62   $    8.85               $    83.68   $    83.68
  6/30/2019 Hector Perez- Delos Santos           $9.50   57.75   $   10.00   $   28.88   $    88.75   $   117.63
   7/7/2019 Hector Perez- Delos Santos          $11.00   48.43   $   10.00               $    46.38   $    46.38
  7/14/2019 Hector Perez- Delos Santos          $11.00   57.40   $   10.00               $    95.70   $    95.70
  7/21/2019 Hector Perez- Delos Santos          $11.00   58.27   $   10.00               $   100.47   $   100.47
  7/28/2019 Hector Perez- Delos Santos          $11.00   56.85   $   10.00               $    92.68   $    92.68
   8/4/2019 Hector Perez- Delos Santos          $11.00   56.97   $   10.00               $    93.32   $    93.32
  8/11/2019 Hector Perez- Delos Santos          $11.00   57.85   $   10.00               $    98.18   $    98.18
  8/18/2019 Hector Perez- Delos Santos          $11.00   58.23   $   10.00               $   100.28   $   100.28
  8/25/2019 Hector Perez- Delos Santos          $11.00   58.08   $   10.00               $    99.46   $    99.46
   9/1/2019 Hector Perez- Delos Santos          $11.00   57.42   $   10.00               $    95.79   $    95.79
   9/8/2019 Hector Perez- Delos Santos          $11.00   47.50   $   10.00               $    41.25   $    41.25
  9/15/2019 Hector Perez- Delos Santos          $11.00   57.15   $   10.00               $    94.33   $    94.33
  9/22/2019 Hector Perez- Delos Santos          $11.00   46.55   $   10.00               $    36.03   $    36.03
  9/29/2019 Hector Perez- Delos Santos          $11.00   57.82   $   10.00               $    97.99   $    97.99
  10/6/2019 Hector Perez- Delos Santos          $11.00   58.22   $   10.00               $   100.19   $   100.19
 10/13/2019 Hector Perez- Delos Santos          $11.00   57.95   $   10.00               $    98.72   $    98.72
 10/20/2019 Hector Perez- Delos Santos          $11.00   56.93   $   10.00               $    93.13   $    93.13
 10/27/2019 Hector Perez- Delos Santos          $11.00   57.02   $   10.00               $    93.59   $    93.59
  11/3/2019 Hector Perez- Delos Santos          $11.00   57.83   $   10.00               $    98.08   $    98.08
 11/10/2019 Hector Perez- Delos Santos          $11.00   57.40   $   10.00               $    95.70   $    95.70



                                                  241
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 243 of 683 PageID: 1090
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                       Name                           Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

 11/17/2019 Hector Perez- Delos Santos          $11.00   57.10   $   10.00               $    94.05   $    94.05
 11/24/2019 Hector Perez- Delos Santos          $11.00   57.03   $   10.00               $    93.68   $    93.68
  12/1/2019 Hector Perez- Delos Santos          $11.00   47.58   $   10.00               $    41.71   $    41.71
  12/8/2019 Hector Perez- Delos Santos          $11.00   58.07   $   10.00               $    99.37   $    99.37
 12/15/2019 Hector Perez- Delos Santos          $11.00   59.02   $   10.00               $   104.59   $   104.59
 12/22/2019 Hector Perez- Delos Santos          $11.00   58.60   $   10.00               $   102.30   $   102.30
  1/26/2020 Hector Perez- Delos Santos          $11.00   57.85   $   11.00               $    98.18   $    98.18
 11/25/2018 Hector Viveros-7249                  $9.50   42.57   $    8.60               $    12.19   $    12.19
  12/2/2018 Hector Viveros-7249                  $9.50   43.38   $    8.60               $    16.07   $    16.07
  12/9/2018 Hector Viveros-7249                  $9.50   44.48   $    8.60               $    21.30   $    21.30
 12/16/2018 Hector Viveros-7249                  $9.50   60.87   $    8.60               $    99.12   $    99.12
 12/23/2018 Hector Viveros-7249                  $9.50   56.15   $    8.60               $    76.71   $    76.71
  1/13/2019 Hector Viveros-7249                  $9.50   45.40   $    8.85               $    25.65   $    25.65
  1/20/2019 Hector Viveros-7249                  $9.50   43.63   $    8.85               $    17.26   $    17.26
  9/22/2019 Helena Duarte                       $10.00   51.28   $   10.00               $    56.42   $    56.42
  9/29/2019 Helena Duarte                       $10.00   52.60   $   10.00               $    63.00   $    63.00
  10/6/2019 Helena Duarte                       $10.00   53.98   $   10.00               $    69.92   $    69.92
 10/13/2019 Helena Duarte                       $10.00   54.38   $   10.00               $    71.92   $    71.92
 10/20/2019 Helena Duarte                       $10.00   52.18   $   10.00               $    60.92   $    60.92
 10/27/2019 Helena Duarte                       $10.00   54.63   $   10.00               $    73.17   $    73.17
  11/3/2019 Helena Duarte                       $10.00   54.25   $   10.00               $    71.25   $    71.25
 11/10/2019 Helena Duarte                       $10.00   54.05   $   10.00               $    70.25   $    70.25
 11/17/2019 Helena Duarte                       $10.00   54.10   $   10.00               $    70.50   $    70.50
 11/24/2019 Helena Duarte                       $10.00   54.05   $   10.00               $    70.25   $    70.25
  12/1/2019 Helena Duarte                       $10.00   52.18   $   10.00               $    60.92   $    60.92
  12/8/2019 Helena Duarte                       $10.00   63.18   $   10.00               $   115.92   $   115.92
 12/15/2019 Helena Duarte                       $10.00   62.57   $   10.00               $   112.83   $   112.83
 12/22/2019 Helena Duarte                       $10.00   63.72   $   10.00               $   118.58   $   118.58
 12/29/2019 Helena Duarte                       $10.00   40.50   $   10.00               $     2.50   $     2.50
   1/5/2020 Helena Duarte                       $10.00   50.47   $   11.00   $   50.47   $    57.57   $   108.03
  1/12/2020 Helena Duarte                       $10.00   62.78   $   11.00   $   62.78   $   125.31   $   188.09
  1/19/2020 Helena Duarte                       $10.00   62.22   $   11.00   $   62.22   $   122.19   $   184.41
  1/26/2020 Helena Duarte                       $10.00   60.88   $   11.00   $   60.88   $   114.86   $   175.74
  8/18/2019 Henry Ramirez Beltre                $11.00   56.85   $   10.00               $    92.68   $    92.68
  8/25/2019 Henry Ramirez Beltre                $11.00   64.77   $   10.00               $   136.22   $   136.22
   9/1/2019 Henry Ramirez Beltre                $11.00   68.73   $   10.00               $   158.03   $   158.03
   9/8/2019 Henry Ramirez Beltre                $11.00   58.97   $   10.00               $   104.32   $   104.32
  9/15/2019 Henry Ramirez Beltre                $11.00   61.63   $   10.00               $   118.98   $   118.98
  9/22/2019 Henry Ramirez Beltre                $11.00   62.32   $   10.00               $   122.74   $   122.74
  9/29/2019 Henry Ramirez Beltre                $11.00   62.75   $   10.00               $   125.13   $   125.13
  10/6/2019 Henry Ramirez Beltre                $11.00   62.63   $   10.00               $   124.48   $   124.48
 10/13/2019 Henry Ramirez Beltre                $11.00   59.98   $   10.00               $   109.91   $   109.91
 10/20/2019 Henry Ramirez Beltre                $11.00   56.25   $   10.00               $    89.38   $    89.38
 11/10/2019 Henry Ramirez Beltre                $11.00   66.08   $   10.00               $   143.46   $   143.46
 11/17/2019 Henry Ramirez Beltre                $11.00   65.38   $   10.00               $   139.61   $   139.61
 11/24/2019 Henry Ramirez Beltre                $11.00   60.65   $   10.00               $   113.58   $   113.58
  12/1/2019 Henry Ramirez Beltre                $11.00   42.23   $   10.00               $    12.28   $    12.28
  12/8/2019 Henry Ramirez Beltre                $11.00   66.63   $   10.00               $   146.48   $   146.48
 12/15/2019 Henry Ramirez Beltre                $11.00   63.65   $   10.00               $   130.08   $   130.08
 12/22/2019 Henry Ramirez Beltre                $11.00   66.40   $   10.00               $   145.20   $   145.20



                                                  242
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 244 of 683 PageID: 1091
                                                   Exhibit 2
                                           New Jersey Computations


   Week                                                           State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
  Ending                       Name                             Minumum Regular    Half-Time Overtime Back
                                                   Rate Week
   Date                                                           Wage  Rate Due     Due       Wages Due

 12/29/2019 Henry Ramirez Beltre                  $11.00   50.63   $   10.00               $    58.48   $    58.48
   1/5/2020 Henry Ramirez Beltre                  $11.00   46.10   $   11.00               $    33.55   $    33.55
  1/12/2020 Henry Ramirez Beltre                  $11.00   42.48   $   11.00               $    13.66   $    13.66
  1/19/2020 Henry Ramirez Beltre                  $11.00   52.03   $   11.00               $    66.18   $    66.18
  1/26/2020 Henry Ramirez Beltre                  $11.00   57.87   $   11.00               $    98.27   $    98.27
  1/19/2020 Henry Steve Santos Rodriguez          $10.00   66.08   $   11.00   $   66.08   $   143.46   $   209.54
  1/26/2020 Henry Steve Santos Rodriguez          $10.00   56.72   $   11.00   $   56.72   $    91.94   $   148.66
   2/5/2017 Heriberto Morales                     $10.00   55.23   $    8.44               $    76.17   $    76.17
  2/12/2017 Heriberto Morales                     $10.00   46.57   $    8.44               $    32.83   $    32.83
  2/19/2017 Heriberto Morales                     $10.00   46.60   $    8.44               $    33.00   $    33.00
  2/26/2017 Heriberto Morales                     $10.00   46.17   $    8.44               $    30.83   $    30.83
   3/5/2017 Heriberto Morales                     $10.00   46.10   $    8.44               $    30.50   $    30.50
  3/19/2017 Heriberto Morales                     $10.00   40.23   $    8.44               $     1.17   $     1.17
  3/26/2017 Heriberto Morales                     $10.00   52.68   $    8.44               $    63.42   $    63.42
   4/2/2017 Heriberto Morales                     $10.00   56.12   $    8.44               $    80.58   $    80.58
   4/9/2017 Heriberto Morales                     $10.00   45.38   $    8.44               $    26.92   $    26.92
  4/16/2017 Heriberto Morales                     $10.00   51.35   $    8.44               $    56.75   $    56.75
  4/23/2017 Heriberto Morales                     $10.00   47.92   $    8.44               $    39.58   $    39.58
  4/30/2017 Heriberto Morales                     $10.00   48.32   $    8.44               $    41.58   $    41.58
   5/7/2017 Heriberto Morales                     $10.00   49.10   $    8.44               $    45.50   $    45.50
  5/14/2017 Heriberto Morales                     $10.00   48.28   $    8.44               $    41.42   $    41.42
  5/28/2017 Heriberto Morales                     $12.00   50.57   $    8.44               $    63.40   $    63.40
   6/4/2017 Heriberto Morales                     $12.00   48.30   $    8.44               $    49.80   $    49.80
  6/11/2017 Heriberto Morales                     $12.00   52.55   $    8.44               $    75.30   $    75.30
  6/18/2017 Heriberto Morales                     $12.00   49.38   $    8.44               $    56.30   $    56.30
  6/25/2017 Heriberto Morales                     $12.00   56.08   $    8.44               $    96.50   $    96.50
   7/2/2017 Heriberto Morales                     $12.00   52.25   $    8.44               $    73.50   $    73.50
   7/9/2017 Heriberto Morales                     $12.00   58.08   $    8.44               $   108.50   $   108.50
  7/16/2017 Heriberto Morales                     $12.00   46.82   $    8.44               $    40.90   $    40.90
  7/23/2017 Heriberto Morales                     $12.00   42.72   $    8.44               $    16.30   $    16.30
  7/30/2017 Heriberto Morales                     $12.00   48.13   $    8.44               $    48.80   $    48.80
   8/6/2017 Heriberto Morales                     $12.00   48.53   $    8.44               $    51.20   $    51.20
  8/13/2017 Heriberto Morales                     $12.00   47.48   $    8.44               $    44.90   $    44.90
  8/20/2017 Heriberto Morales                     $12.00   55.80   $    8.44               $    94.80   $    94.80
  8/27/2017 Heriberto Morales                     $12.00   61.63   $    8.44               $   129.80   $   129.80
   9/3/2017 Heriberto Morales                     $12.00   55.80   $    8.44               $    94.80   $    94.80
  9/10/2017 Heriberto Morales                     $12.00   48.73   $    8.44               $    52.40   $    52.40
  9/17/2017 Heriberto Morales                     $12.00   52.52   $    8.44               $    75.10   $    75.10
  9/24/2017 Heriberto Morales                     $12.00   45.03   $    8.44               $    30.20   $    30.20
  10/1/2017 Heriberto Morales                     $12.00   52.98   $    8.44               $    77.90   $    77.90
  10/8/2017 Heriberto Morales                     $12.00   49.20   $    8.44               $    55.20   $    55.20
 10/15/2017 Heriberto Morales                     $12.00   52.37   $    8.44               $    74.20   $    74.20
 10/22/2017 Heriberto Morales                     $12.00   55.57   $    8.44               $    93.40   $    93.40
 10/29/2017 Heriberto Morales                     $12.00   45.58   $    8.44               $    33.50   $    33.50
  11/5/2017 Heriberto Morales                     $12.00   45.30   $    8.44               $    31.80   $    31.80
 11/12/2017 Heriberto Morales                     $12.00   43.02   $    8.44               $    18.10   $    18.10
 11/19/2017 Heriberto Morales                     $12.00   46.25   $    8.44               $    37.50   $    37.50
 11/26/2017 Heriberto Morales                     $12.00   40.30   $    8.44               $     1.80   $     1.80
  12/3/2017 Heriberto Morales                     $12.00   54.63   $    8.44               $    87.80   $    87.80
 12/10/2017 Heriberto Morales                     $12.00   49.12   $    8.44               $    54.70   $    54.70



                                                    243
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 245 of 683 PageID: 1092
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

 12/17/2017 Heriberto Morales                 $12.00   51.72   $   8.44          $    70.30   $     70.30
 12/24/2017 Heriberto Morales                 $12.00   53.37   $   8.44          $    80.20   $     80.20
 12/31/2017 Heriberto Morales                 $12.00   43.33   $   8.44          $    20.00   $     20.00
  1/14/2018 Heriberto Morales                 $12.00   55.23   $   8.60          $    91.40   $     91.40
  1/21/2018 Heriberto Morales                 $12.00   55.02   $   8.60          $    90.10   $     90.10
  1/28/2018 Heriberto Morales                 $12.00   46.52   $   8.60          $    39.10   $     39.10
   2/4/2018 Heriberto Morales                 $12.00   47.22   $   8.60          $    43.30   $     43.30
  2/11/2018 Heriberto Morales                 $12.00   45.22   $   8.60          $    31.30   $     31.30
  2/18/2018 Heriberto Morales                 $12.00   48.17   $   8.60          $    49.00   $     49.00
  2/25/2018 Heriberto Morales                 $12.00   52.37   $   8.60          $    74.20   $     74.20
   3/4/2018 Heriberto Morales                 $12.00   54.65   $   8.60          $    87.90   $     87.90
  3/25/2018 Heriberto Morales                 $12.00   45.50   $   8.60          $    33.00   $     33.00
   4/1/2018 Heriberto Morales                 $12.00   53.12   $   8.60          $    78.70   $     78.70
   4/8/2018 Heriberto Morales                 $12.00   50.90   $   8.60          $    65.40   $     65.40
  4/15/2018 Heriberto Morales                 $12.00   51.22   $   8.60          $    67.30   $     67.30
  4/22/2018 Heriberto Morales                 $12.00   58.33   $   8.60          $   110.00   $    110.00
  4/29/2018 Heriberto Morales                 $12.00   56.32   $   8.60          $    97.90   $     97.90
   5/6/2018 Heriberto Morales                 $12.00   55.32   $   8.60          $    91.90   $     91.90
  5/13/2018 Heriberto Morales                 $12.00   61.18   $   8.60          $   127.10   $    127.10
  5/20/2018 Heriberto Morales                 $12.00   45.97   $   8.60          $    35.80   $     35.80
  5/27/2018 Heriberto Morales                 $12.00   53.17   $   8.60          $    79.00   $     79.00
   6/3/2018 Heriberto Morales                 $12.00   52.00   $   8.60          $    72.00   $     72.00
  6/10/2018 Heriberto Morales                 $12.00   55.40   $   8.60          $    92.40   $     92.40
  6/17/2018 Heriberto Morales                 $12.00   57.88   $   8.60          $   107.30   $    107.30
  6/24/2018 Heriberto Morales                 $12.00   56.02   $   8.60          $    96.10   $     96.10
   7/1/2018 Heriberto Morales                 $12.00   52.18   $   8.60          $    73.10   $     73.10
   7/8/2018 Heriberto Morales                 $12.00   49.10   $   8.60          $    54.60   $     54.60
  7/15/2018 Heriberto Morales                 $12.00   57.70   $   8.60          $   106.20   $    106.20
  7/22/2018 Heriberto Morales                 $12.00   54.45   $   8.60          $    86.70   $     86.70
  7/29/2018 Heriberto Morales                 $12.00   43.82   $   8.60          $    22.90   $     22.90
   8/5/2018 Heriberto Morales                 $12.00   51.33   $   8.60          $    68.00   $     68.00
  8/12/2018 Heriberto Morales                 $12.00   55.67   $   8.60          $    94.00   $     94.00
  8/19/2018 Heriberto Morales                 $12.00   56.07   $   8.60          $    96.40   $     96.40
  8/26/2018 Heriberto Morales                 $12.00   43.57   $   8.60          $    21.40   $     21.40
   9/2/2018 Heriberto Morales                 $12.00   54.30   $   8.60          $    85.80   $     85.80
   9/9/2018 Heriberto Morales                 $12.00   54.33   $   8.60          $    86.00   $     86.00
  9/16/2018 Heriberto Morales                 $12.00   49.53   $   8.60          $    57.20   $     57.20
  9/23/2018 Heriberto Morales                 $12.00   44.83   $   8.60          $    29.00   $     29.00
  9/30/2018 Heriberto Morales                 $12.00   54.00   $   8.60          $    84.00   $     84.00
  10/7/2018 Heriberto Morales                 $12.00   54.08   $   8.60          $    84.50   $     84.50
 10/14/2018 Heriberto Morales                 $12.00   50.62   $   8.60          $    63.70   $     63.70
 10/21/2018 Heriberto Morales                 $12.00   48.20   $   8.60          $    49.20   $     49.20
 10/28/2018 Heriberto Morales                 $12.00   46.55   $   8.60          $    39.30   $     39.30
 11/11/2018 Heriberto Morales                 $12.00   50.43   $   8.60          $    62.60   $     62.60
 11/18/2018 Heriberto Morales                 $12.00   54.28   $   8.60          $    85.70   $     85.70
 11/25/2018 Heriberto Morales                 $12.00   42.90   $   8.60          $    17.40   $     17.40
  12/2/2018 Heriberto Morales                 $12.00   56.63   $   8.60          $    99.80   $     99.80
  12/9/2018 Heriberto Morales                 $12.00   57.70   $   8.60          $   106.20   $    106.20
 12/16/2018 Heriberto Morales                 $12.00   50.53   $   8.60          $    63.20   $     63.20
 12/23/2018 Heriberto Morales                 $12.00   51.58   $   8.60          $    69.50   $     69.50



                                                244
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 246 of 683 PageID: 1093
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  1/13/2019 Heriberto Morales                 $12.00   51.05   $    8.85         $    66.30   $     66.30
  1/20/2019 Heriberto Morales                 $12.00   43.18   $    8.85         $    19.10   $     19.10
  1/27/2019 Heriberto Morales                 $12.00   55.17   $    8.85         $    91.00   $     91.00
   2/3/2019 Heriberto Morales                 $12.00   52.03   $    8.85         $    72.20   $     72.20
  2/10/2019 Heriberto Morales                 $12.00   56.03   $    8.85         $    96.20   $     96.20
  2/17/2019 Heriberto Morales                 $12.00   57.30   $    8.85         $   103.80   $    103.80
  2/24/2019 Heriberto Morales                 $12.00   53.33   $    8.85         $    80.00   $     80.00
   3/3/2019 Heriberto Morales                 $12.00   59.95   $    8.85         $   119.70   $    119.70
  3/10/2019 Heriberto Morales                 $12.00   57.20   $    8.85         $   103.20   $    103.20
  3/17/2019 Heriberto Morales                 $12.00   51.88   $    8.85         $    71.30   $     71.30
  3/24/2019 Heriberto Morales                 $12.00   50.45   $    8.85         $    62.70   $     62.70
  3/31/2019 Heriberto Morales                 $12.00   54.77   $    8.85         $    88.60   $     88.60
   4/7/2019 Heriberto Morales                 $12.00   56.42   $    8.85         $    98.50   $     98.50
  4/14/2019 Heriberto Morales                 $12.00   57.80   $    8.85         $   106.80   $    106.80
  4/21/2019 Heriberto Morales                 $12.00   49.08   $    8.85         $    54.50   $     54.50
  4/28/2019 Heriberto Morales                 $12.00   51.27   $    8.85         $    67.60   $     67.60
   5/5/2019 Heriberto Morales                 $12.00   58.57   $    8.85         $   111.40   $    111.40
  5/12/2019 Heriberto Morales                 $12.00   53.73   $    8.85         $    82.40   $     82.40
  5/19/2019 Heriberto Morales                 $12.00   59.15   $    8.85         $   114.90   $    114.90
  5/26/2019 Heriberto Morales                 $12.00   45.35   $    8.85         $    32.10   $     32.10
   6/2/2019 Heriberto Morales                 $12.00   57.85   $    8.85         $   107.10   $    107.10
   6/9/2019 Heriberto Morales                 $12.00   53.12   $    8.85         $    78.70   $     78.70
  6/16/2019 Heriberto Morales                 $12.00   52.98   $    8.85         $    77.90   $     77.90
  6/23/2019 Heriberto Morales                 $12.00   55.15   $    8.85         $    90.90   $     90.90
  6/30/2019 Heriberto Morales                 $12.00   47.37   $   10.00         $    44.20   $     44.20
   7/7/2019 Heriberto Morales                 $12.00   51.77   $   10.00         $    70.60   $     70.60
  7/14/2019 Heriberto Morales                 $12.00   56.02   $   10.00         $    96.10   $     96.10
  7/21/2019 Heriberto Morales                 $12.00   46.23   $   10.00         $    37.40   $     37.40
  7/28/2019 Heriberto Morales                 $12.00   56.25   $   10.00         $    97.50   $     97.50
   8/4/2019 Heriberto Morales                 $12.00   58.35   $   10.00         $   110.10   $    110.10
  8/11/2019 Heriberto Morales                 $12.00   52.82   $   10.00         $    76.90   $     76.90
  8/18/2019 Heriberto Morales                 $12.00   54.52   $   10.00         $    87.10   $     87.10
  8/25/2019 Heriberto Morales                 $12.00   52.47   $   10.00         $    74.80   $     74.80
   9/1/2019 Heriberto Morales                 $12.00   52.98   $   10.00         $    77.90   $     77.90
   9/8/2019 Heriberto Morales                 $12.00   42.60   $   10.00         $    15.60   $     15.60
  9/15/2019 Heriberto Morales                 $12.00   52.75   $   10.00         $    76.50   $     76.50
  9/22/2019 Heriberto Morales                 $12.00   52.33   $   10.00         $    74.00   $     74.00
  9/29/2019 Heriberto Morales                 $12.00   53.67   $   10.00         $    82.00   $     82.00
  10/6/2019 Heriberto Morales                 $12.00   49.92   $   10.00         $    59.50   $     59.50
 10/13/2019 Heriberto Morales                 $12.00   53.45   $   10.00         $    80.70   $     80.70
 10/20/2019 Heriberto Morales                 $12.00   44.58   $   10.00         $    27.50   $     27.50
 10/27/2019 Heriberto Morales                 $12.00   59.00   $   10.00         $   114.00   $    114.00
  11/3/2019 Heriberto Morales                 $12.00   54.35   $   10.00         $    86.10   $     86.10
 11/10/2019 Heriberto Morales                 $12.00   53.23   $   10.00         $    79.40   $     79.40
 11/17/2019 Heriberto Morales                 $12.00   51.12   $   10.00         $    66.70   $     66.70
 11/24/2019 Heriberto Morales                 $12.00   51.77   $   10.00         $    70.60   $     70.60
  12/8/2019 Heriberto Morales                 $12.00   52.27   $   10.00         $    73.60   $     73.60
 12/15/2019 Heriberto Morales                 $12.00   44.20   $   10.00         $    25.20   $     25.20
 12/22/2019 Heriberto Morales                 $12.00   52.37   $   10.00         $    74.20   $     74.20
   1/5/2020 Heriberto Morales                 $12.00   41.37   $   11.00         $     8.20   $      8.20



                                                245
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 247 of 683 PageID: 1094
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  1/12/2020 Heriberto Morales               $12.00   56.25   $   11.00         $    97.50   $     97.50
  1/19/2020 Heriberto Morales               $12.00   44.63   $   11.00         $    27.80   $     27.80
  1/26/2020 Heriberto Morales               $12.00   54.77   $   11.00         $    88.60   $     88.60
   4/9/2017 Herminio Perez Gramajo           $9.25   67.28   $    8.44         $   126.19   $    126.19
  4/16/2017 Herminio Perez Gramajo           $9.25   67.33   $    8.44         $   126.42   $    126.42
  4/23/2017 Herminio Perez Gramajo           $9.25   68.15   $    8.44         $   130.19   $    130.19
  4/30/2017 Herminio Perez Gramajo           $9.25   68.23   $    8.44         $   130.58   $    130.58
   5/7/2017 Herminio Perez Gramajo           $9.25   74.10   $    8.44         $   157.71   $    157.71
  5/14/2017 Herminio Perez Gramajo           $9.25   67.43   $    8.44         $   126.88   $    126.88
  5/21/2017 Herminio Perez Gramajo           $9.25   65.72   $    8.44         $   118.94   $    118.94
  5/28/2017 Herminio Perez Gramajo           $9.25   66.10   $    8.44         $   120.71   $    120.71
   6/4/2017 Herminio Perez Gramajo           $9.25   64.65   $    8.44         $   114.01   $    114.01
  6/11/2017 Herminio Perez Gramajo           $9.25   66.73   $    8.44         $   123.64   $    123.64
  6/18/2017 Herminio Perez Gramajo           $9.25   40.50   $    8.44         $     2.31   $      2.31
   2/5/2017 Hernan Campos                   $15.00   61.27   $    8.44         $   159.50   $    159.50
  2/12/2017 Hernan Campos                   $15.00   55.13   $    8.44         $   113.50   $    113.50
  2/19/2017 Hernan Campos                   $15.00   63.93   $    8.44         $   179.50   $    179.50
  2/26/2017 Hernan Campos                   $15.00   56.10   $    8.44         $   120.75   $    120.75
   3/5/2017 Hernan Campos                   $15.00   63.48   $    8.44         $   176.13   $    176.13
  3/12/2017 Hernan Campos                   $15.00   63.52   $    8.44         $   176.38   $    176.38
  3/19/2017 Hernan Campos                   $15.00   54.70   $    8.44         $   110.25   $    110.25
  3/26/2017 Hernan Campos                   $15.00   66.27   $    8.44         $   197.00   $    197.00
   4/2/2017 Hernan Campos                   $15.00   63.60   $    8.44         $   177.00   $    177.00
   4/9/2017 Hernan Campos                   $15.00   65.10   $    8.44         $   188.25   $    188.25
  4/16/2017 Hernan Campos                   $15.00   51.68   $    8.44         $    87.63   $     87.63
  4/23/2017 Hernan Campos                   $15.00   61.68   $    8.44         $   162.63   $    162.63
  4/30/2017 Hernan Campos                   $15.00   56.92   $    8.44         $   126.88   $    126.88
   5/7/2017 Hernan Campos                   $15.00   59.07   $    8.44         $   143.00   $    143.00
  5/14/2017 Hernan Campos                   $15.00   55.87   $    8.44         $   119.00   $    119.00
  5/21/2017 Hernan Campos                   $15.00   60.68   $    8.44         $   155.13   $    155.13
  5/28/2017 Hernan Campos                   $15.00   60.63   $    8.44         $   154.75   $    154.75
   6/4/2017 Hernan Campos                   $15.00   52.17   $    8.44         $    91.25   $     91.25
  6/11/2017 Hernan Campos                   $15.00   60.23   $    8.44         $   151.75   $    151.75
  6/18/2017 Hernan Campos                   $15.00   59.37   $    8.44         $   145.25   $    145.25
  6/25/2017 Hernan Campos                   $15.00   47.08   $    8.44         $    53.13   $     53.13
   7/2/2017 Hernan Campos                   $15.00   62.93   $    8.44         $   172.00   $    172.00
   7/9/2017 Hernan Campos                   $15.00   60.90   $    8.44         $   156.75   $    156.75
  7/16/2017 Hernan Campos                   $15.00   55.58   $    8.44         $   116.88   $    116.88
  7/30/2017 Hernan Campos                   $15.00   67.93   $    8.44         $   209.50   $    209.50
   8/6/2017 Hernan Campos                   $15.00   64.23   $    8.44         $   181.75   $    181.75
  8/13/2017 Hernan Campos                   $15.00   67.45   $    8.44         $   205.88   $    205.88
  8/20/2017 Hernan Campos                   $15.00   66.37   $    8.44         $   197.75   $    197.75
  8/27/2017 Hernan Campos                   $15.00   68.18   $    8.44         $   211.38   $    211.38
   9/3/2017 Hernan Campos                   $15.00   68.27   $    8.44         $   212.00   $    212.00
  9/10/2017 Hernan Campos                   $15.00   43.88   $    8.44         $    29.13   $     29.13
  9/17/2017 Hernan Campos                   $15.00   63.27   $    8.44         $   174.50   $    174.50
  9/24/2017 Hernan Campos                   $15.00   64.42   $    8.44         $   183.13   $    183.13
  10/1/2017 Hernan Campos                   $15.00   63.22   $    8.44         $   174.13   $    174.13
  10/8/2017 Hernan Campos                   $15.00   63.83   $    8.44         $   178.75   $    178.75
 10/15/2017 Hernan Campos                   $15.00   66.12   $    8.44         $   195.88   $    195.88



                                              246
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 248 of 683 PageID: 1095
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

 10/22/2017 Hernan Campos                 $15.00   63.67   $   8.44          $   177.50   $    177.50
 10/29/2017 Hernan Campos                 $15.00   66.35   $   8.44          $   197.63   $    197.63
  11/5/2017 Hernan Campos                 $15.00   52.92   $   8.44          $    96.88   $     96.88
 11/12/2017 Hernan Campos                 $15.00   63.62   $   8.44          $   177.13   $    177.13
 11/19/2017 Hernan Campos                 $15.00   63.78   $   8.44          $   178.38   $    178.38
 11/26/2017 Hernan Campos                 $15.00   54.27   $   8.44          $   107.00   $    107.00
  12/3/2017 Hernan Campos                 $15.00   65.92   $   8.44          $   194.38   $    194.38
 12/10/2017 Hernan Campos                 $15.00   55.37   $   8.44          $   115.25   $    115.25
 12/17/2017 Hernan Campos                 $15.00   64.58   $   8.44          $   184.38   $    184.38
 12/24/2017 Hernan Campos                 $15.00   65.97   $   8.44          $   194.75   $    194.75
 12/31/2017 Hernan Campos                 $15.00   55.43   $   8.44          $   115.75   $    115.75
   1/7/2018 Hernan Campos                 $15.00   41.87   $   8.60          $    14.00   $     14.00
  1/14/2018 Hernan Campos                 $15.00   63.75   $   8.60          $   178.13   $    178.13
  1/21/2018 Hernan Campos                 $15.00   65.90   $   8.60          $   194.25   $    194.25
  1/28/2018 Hernan Campos                 $15.00   66.23   $   8.60          $   196.75   $    196.75
   2/4/2018 Hernan Campos                 $15.00   66.65   $   8.60          $   199.88   $    199.88
  2/11/2018 Hernan Campos                 $15.00   65.03   $   8.60          $   187.75   $    187.75
  2/18/2018 Hernan Campos                 $15.00   67.38   $   8.60          $   205.38   $    205.38
  2/25/2018 Hernan Campos                 $15.00   66.30   $   8.60          $   197.25   $    197.25
   3/4/2018 Hernan Campos                 $15.00   65.20   $   8.60          $   189.00   $    189.00
   4/1/2018 Hernan Campos                 $15.00   56.37   $   8.60          $   122.75   $    122.75
   4/8/2018 Hernan Campos                 $15.00   57.35   $   8.60          $   130.13   $    130.13
  4/15/2018 Hernan Campos                 $15.00   67.72   $   8.60          $   207.88   $    207.88
  4/22/2018 Hernan Campos                 $15.00   61.58   $   8.60          $   161.88   $    161.88
  4/29/2018 Hernan Campos                 $15.00   66.18   $   8.60          $   196.38   $    196.38
   5/6/2018 Hernan Campos                 $15.00   56.98   $   8.60          $   127.38   $    127.38
  5/13/2018 Hernan Campos                 $15.00   67.82   $   8.60          $   208.63   $    208.63
  5/20/2018 Hernan Campos                 $15.00   61.83   $   8.60          $   163.75   $    163.75
  5/27/2018 Hernan Campos                 $15.00   67.95   $   8.60          $   209.63   $    209.63
   6/3/2018 Hernan Campos                 $15.00   56.25   $   8.60          $   121.88   $    121.88
  6/10/2018 Hernan Campos                 $15.00   57.78   $   8.60          $   133.38   $    133.38
  6/17/2018 Hernan Campos                 $15.00   65.92   $   8.60          $   194.38   $    194.38
  6/24/2018 Hernan Campos                 $15.00   64.35   $   8.60          $   182.63   $    182.63
   7/1/2018 Hernan Campos                 $15.00   52.47   $   8.60          $    93.50   $     93.50
   7/8/2018 Hernan Campos                 $15.00   49.58   $   8.60          $    71.88   $     71.88
  7/15/2018 Hernan Campos                 $15.00   56.92   $   8.60          $   126.88   $    126.88
  7/29/2018 Hernan Campos                 $15.00   67.97   $   8.60          $   209.75   $    209.75
   8/5/2018 Hernan Campos                 $15.00   67.95   $   8.60          $   209.63   $    209.63
  8/12/2018 Hernan Campos                 $15.00   60.18   $   8.60          $   151.38   $    151.38
  8/19/2018 Hernan Campos                 $15.00   67.17   $   8.60          $   203.75   $    203.75
  8/26/2018 Hernan Campos                 $15.00   62.80   $   8.60          $   171.00   $    171.00
   9/2/2018 Hernan Campos                 $15.00   66.25   $   8.60          $   196.88   $    196.88
   9/9/2018 Hernan Campos                 $15.00   51.17   $   8.60          $    83.75   $     83.75
  9/16/2018 Hernan Campos                 $15.00   67.02   $   8.60          $   202.63   $    202.63
  9/23/2018 Hernan Campos                 $15.00   61.42   $   8.60          $   160.63   $    160.63
  9/30/2018 Hernan Campos                 $15.00   62.22   $   8.60          $   166.63   $    166.63
  10/7/2018 Hernan Campos                 $15.00   66.18   $   8.60          $   196.38   $    196.38
 10/14/2018 Hernan Campos                 $15.00   54.97   $   8.60          $   112.25   $    112.25
 10/21/2018 Hernan Campos                 $15.00   56.23   $   8.60          $   121.75   $    121.75
 10/28/2018 Hernan Campos                 $15.00   65.08   $   8.60          $   188.13   $    188.13



                                            247
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 249 of 683 PageID: 1096
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  11/4/2018 Hernan Campos                    $15.00   65.95   $    8.60         $   194.63   $    194.63
 11/11/2018 Hernan Campos                    $15.00   51.13   $    8.60         $    83.50   $     83.50
 11/18/2018 Hernan Campos                    $15.00   66.07   $    8.60         $   195.50   $    195.50
 11/25/2018 Hernan Campos                    $15.00   56.35   $    8.60         $   122.63   $    122.63
  12/2/2018 Hernan Campos                    $15.00   66.77   $    8.60         $   200.75   $    200.75
  12/9/2018 Hernan Campos                    $15.00   68.37   $    8.60         $   212.75   $    212.75
 12/16/2018 Hernan Campos                    $15.00   63.67   $    8.60         $   177.50   $    177.50
 12/23/2018 Hernan Campos                    $15.00   67.92   $    8.60         $   209.38   $    209.38
 12/30/2018 Hernan Campos                    $15.00   40.80   $    8.60         $     6.00   $      6.00
   1/6/2019 Hernan Campos                    $15.00   58.95   $    8.85         $   142.13   $    142.13
  1/13/2019 Hernan Campos                    $15.00   54.98   $    8.85         $   112.38   $    112.38
  1/20/2019 Hernan Campos                    $15.00   67.65   $    8.85         $   207.38   $    207.38
  1/27/2019 Hernan Campos                    $15.00   68.25   $    8.85         $   211.88   $    211.88
   2/3/2019 Hernan Campos                    $15.00   67.08   $    8.85         $   203.13   $    203.13
  2/10/2019 Hernan Campos                    $15.00   66.93   $    8.85         $   202.00   $    202.00
  2/17/2019 Hernan Campos                    $15.00   64.20   $    8.85         $   181.50   $    181.50
  2/24/2019 Hernan Campos                    $15.00   55.60   $    8.85         $   117.00   $    117.00
   3/3/2019 Hernan Campos                    $15.00   66.72   $    8.85         $   200.38   $    200.38
  3/10/2019 Hernan Campos                    $15.00   66.38   $    8.85         $   197.88   $    197.88
  3/17/2019 Hernan Campos                    $15.00   66.42   $    8.85         $   198.13   $    198.13
  3/24/2019 Hernan Campos                    $15.00   56.10   $    8.85         $   120.75   $    120.75
  3/31/2019 Hernan Campos                    $15.00   66.32   $    8.85         $   197.38   $    197.38
   4/7/2019 Hernan Campos                    $15.00   55.50   $    8.85         $   116.25   $    116.25
  4/14/2019 Hernan Campos                    $15.00   65.58   $    8.85         $   191.88   $    191.88
  4/21/2019 Hernan Campos                    $15.00   55.68   $    8.85         $   117.63   $    117.63
  4/28/2019 Hernan Campos                    $15.00   65.27   $    8.85         $   189.50   $    189.50
   5/5/2019 Hernan Campos                    $15.00   55.18   $    8.85         $   113.88   $    113.88
  5/12/2019 Hernan Campos                    $15.00   56.15   $    8.85         $   121.13   $    121.13
  5/19/2019 Hernan Campos                    $15.00   54.80   $    8.85         $   111.00   $    111.00
  5/26/2019 Hernan Campos                    $15.00   57.18   $    8.85         $   128.88   $    128.88
   6/2/2019 Hernan Campos                    $15.00   51.73   $    8.85         $    88.00   $     88.00
   6/9/2019 Hernan Campos                    $15.00   53.38   $    8.85         $   100.38   $    100.38
  6/16/2019 Hernan Campos                    $15.00   60.17   $    8.85         $   151.25   $    151.25
  6/23/2019 Hernan Campos                    $15.00   51.80   $    8.85         $    88.50   $     88.50
  6/30/2019 Hernan Campos                    $15.00   60.63   $   10.00         $   154.75   $    154.75
   7/7/2019 Hernan Campos                    $15.00   40.52   $   10.00         $     3.87   $      3.87
  7/14/2019 Hernan Campos                    $15.00   49.08   $   10.00         $    68.13   $     68.13
  7/28/2019 Hernan Campos                    $15.00   58.17   $   10.00         $   136.25   $    136.25
   8/4/2019 Hernan Campos                    $15.00   48.30   $   10.00         $    62.25   $     62.25
  8/11/2019 Hernan Campos                    $15.00   55.45   $   10.00         $   115.88   $    115.88
  8/18/2019 Hernan Campos                    $15.00   41.60   $   10.00         $    12.00   $     12.00
  8/25/2019 Hernan Campos                    $15.00   56.25   $   10.00         $   121.88   $    121.88
   9/1/2019 Hernan Campos                    $15.00   48.23   $   10.00         $    61.75   $     61.75
   9/8/2019 Hernan Campos                    $15.00   44.32   $   10.00         $    32.38   $     32.38
  9/15/2019 Hernan Campos                    $15.00   44.23   $   10.00         $    31.75   $     31.75
  9/22/2019 Hernan Campos                    $15.00   54.38   $   10.00         $   107.88   $    107.88
  9/29/2019 Hernan Campos                    $15.00   42.23   $   10.00         $    16.75   $     16.75
 12/15/2019 Herodis Bautista                 $11.00   59.70   $   10.00         $   108.35   $    108.35
 12/22/2019 Herodis Bautista                 $11.00   60.27   $   10.00         $   111.47   $    111.47
   1/5/2020 Herodis Bautista                 $11.00   45.50   $   11.00         $    30.25   $     30.25



                                               248
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 250 of 683 PageID: 1097
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                        Name                          Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

  1/12/2020 Herodis Bautista                    $11.00   59.18   $   11.00         $   105.51   $    105.51
  1/19/2020 Herodis Bautista                    $11.00   58.83   $   11.00         $   103.58   $    103.58
  1/26/2020 Herodis Bautista                    $11.00   59.80   $   11.00         $   108.90   $    108.90
   2/5/2017 Horacio Elmer Ortiz Torres          $10.00   61.17   $    8.44         $   105.83   $    105.83
  2/12/2017 Horacio Elmer Ortiz Torres          $10.00   51.15   $    8.44         $    55.75   $     55.75
  2/19/2017 Horacio Elmer Ortiz Torres          $10.00   61.43   $    8.44         $   107.17   $    107.17
  2/26/2017 Horacio Elmer Ortiz Torres          $10.00   61.82   $    8.44         $   109.08   $    109.08
   3/5/2017 Horacio Elmer Ortiz Torres          $10.00   61.42   $    8.44         $   107.08   $    107.08
  3/12/2017 Horacio Elmer Ortiz Torres          $10.00   61.93   $    8.44         $   109.67   $    109.67
  3/19/2017 Horacio Elmer Ortiz Torres          $10.00   50.95   $    8.44         $    54.75   $     54.75
  3/26/2017 Horacio Elmer Ortiz Torres          $10.00   62.38   $    8.44         $   111.92   $    111.92
   4/2/2017 Horacio Elmer Ortiz Torres          $10.00   61.85   $    8.44         $   109.25   $    109.25
   4/9/2017 Horacio Elmer Ortiz Torres          $10.00   60.20   $    8.44         $   101.00   $    101.00
  4/16/2017 Horacio Elmer Ortiz Torres          $10.00   60.85   $    8.44         $   104.25   $    104.25
  4/23/2017 Horacio Elmer Ortiz Torres          $10.00   42.53   $    8.44         $    12.67   $     12.67
  4/30/2017 Horacio Elmer Ortiz Torres          $10.00   50.82   $    8.44         $    54.08   $     54.08
   5/7/2017 Horacio Elmer Ortiz Torres          $10.00   63.43   $    8.44         $   117.17   $    117.17
  5/14/2017 Horacio Elmer Ortiz Torres          $10.00   60.92   $    8.44         $   104.58   $    104.58
  5/21/2017 Horacio Elmer Ortiz Torres          $10.00   65.90   $    8.44         $   129.50   $    129.50
  5/28/2017 Horacio Elmer Ortiz Torres          $10.00   63.47   $    8.44         $   117.33   $    117.33
   6/4/2017 Horacio Elmer Ortiz Torres          $10.00   58.73   $    8.44         $    93.67   $     93.67
  6/11/2017 Horacio Elmer Ortiz Torres          $10.00   61.18   $    8.44         $   105.92   $    105.92
  6/18/2017 Horacio Elmer Ortiz Torres          $10.00   61.02   $    8.44         $   105.08   $    105.08
  6/25/2017 Horacio Elmer Ortiz Torres          $10.00   60.88   $    8.44         $   104.42   $    104.42
   7/2/2017 Horacio Elmer Ortiz Torres          $10.00   60.78   $    8.44         $   103.92   $    103.92
   7/9/2017 Horacio Elmer Ortiz Torres          $10.00   50.70   $    8.44         $    53.50   $     53.50
  7/16/2017 Horacio Elmer Ortiz Torres          $10.00   61.73   $    8.44         $   108.67   $    108.67
  7/23/2017 Horacio Elmer Ortiz Torres          $10.00   61.17   $    8.44         $   105.83   $    105.83
  7/30/2017 Horacio Elmer Ortiz Torres          $10.00   61.23   $    8.44         $   106.17   $    106.17
   8/6/2017 Horacio Elmer Ortiz Torres          $10.00   62.53   $    8.44         $   112.67   $    112.67
  8/13/2017 Horacio Elmer Ortiz Torres          $10.00   60.82   $    8.44         $   104.08   $    104.08
  8/20/2017 Horacio Elmer Ortiz Torres          $10.00   60.78   $    8.44         $   103.92   $    103.92
  8/27/2017 Horacio Elmer Ortiz Torres          $10.00   62.65   $    8.44         $   113.25   $    113.25
   9/3/2017 Horacio Elmer Ortiz Torres          $10.00   60.87   $    8.44         $   104.33   $    104.33
  9/10/2017 Horacio Elmer Ortiz Torres          $10.00   58.37   $    8.44         $    91.83   $     91.83
  9/17/2017 Horacio Elmer Ortiz Torres          $10.00   61.05   $    8.44         $   105.25   $    105.25
  9/24/2017 Horacio Elmer Ortiz Torres          $10.00   62.38   $    8.44         $   111.92   $    111.92
  10/1/2017 Horacio Elmer Ortiz Torres          $10.00   60.82   $    8.44         $   104.08   $    104.08
  10/8/2017 Horacio Elmer Ortiz Torres          $10.00   62.60   $    8.44         $   113.00   $    113.00
 10/15/2017 Horacio Elmer Ortiz Torres          $10.00   62.00   $    8.44         $   110.00   $    110.00
 10/22/2017 Horacio Elmer Ortiz Torres          $10.00   60.55   $    8.44         $   102.75   $    102.75
 10/29/2017 Horacio Elmer Ortiz Torres          $10.00   60.77   $    8.44         $   103.83   $    103.83
  11/5/2017 Horacio Elmer Ortiz Torres          $10.00   60.43   $    8.44         $   102.17   $    102.17
 11/12/2017 Horacio Elmer Ortiz Torres          $10.00   60.27   $    8.44         $   101.33   $    101.33
 11/19/2017 Horacio Elmer Ortiz Torres          $10.00   60.17   $    8.44         $   100.83   $    100.83
 11/26/2017 Horacio Elmer Ortiz Torres          $10.00   51.15   $    8.44         $    55.75   $     55.75
  12/3/2017 Horacio Elmer Ortiz Torres          $10.00   60.95   $    8.44         $   104.75   $    104.75
 12/10/2017 Horacio Elmer Ortiz Torres          $10.00   61.10   $    8.44         $   105.50   $    105.50
 12/17/2017 Horacio Elmer Ortiz Torres          $10.00   61.12   $    8.44         $   105.58   $    105.58
 12/24/2017 Horacio Elmer Ortiz Torres          $10.00   61.03   $    8.44         $   105.17   $    105.17



                                                  249
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 251 of 683 PageID: 1098
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                        Name                          Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

 12/31/2017 Horacio Elmer Ortiz Torres          $10.00   52.88   $   8.44          $    64.42   $     64.42
   1/7/2018 Horacio Elmer Ortiz Torres          $10.00   52.12   $   8.60          $    60.58   $     60.58
  1/14/2018 Horacio Elmer Ortiz Torres          $10.00   61.22   $   8.60          $   106.08   $    106.08
  1/21/2018 Horacio Elmer Ortiz Torres          $10.00   61.20   $   8.60          $   106.00   $    106.00
  1/28/2018 Horacio Elmer Ortiz Torres          $10.00   60.40   $   8.60          $   102.00   $    102.00
   2/4/2018 Horacio Elmer Ortiz Torres          $10.00   52.32   $   8.60          $    61.58   $     61.58
  2/11/2018 Horacio Elmer Ortiz Torres          $10.00   60.63   $   8.60          $   103.17   $    103.17
  2/18/2018 Horacio Elmer Ortiz Torres          $10.00   60.23   $   8.60          $   101.17   $    101.17
  2/25/2018 Horacio Elmer Ortiz Torres          $10.00   60.78   $   8.60          $   103.92   $    103.92
   3/4/2018 Horacio Elmer Ortiz Torres          $10.00   62.20   $   8.60          $   111.00   $    111.00
  3/25/2018 Horacio Elmer Ortiz Torres          $10.00   56.97   $   8.60          $    84.83   $     84.83
   4/1/2018 Horacio Elmer Ortiz Torres          $10.00   60.80   $   8.60          $   104.00   $    104.00
   4/8/2018 Horacio Elmer Ortiz Torres          $10.00   60.68   $   8.60          $   103.42   $    103.42
  4/15/2018 Horacio Elmer Ortiz Torres          $10.00   60.95   $   8.60          $   104.75   $    104.75
  4/22/2018 Horacio Elmer Ortiz Torres          $10.00   60.92   $   8.60          $   104.58   $    104.58
  4/29/2018 Horacio Elmer Ortiz Torres          $10.00   60.62   $   8.60          $   103.08   $    103.08
   5/6/2018 Horacio Elmer Ortiz Torres          $10.00   55.92   $   8.60          $    79.58   $     79.58
  5/13/2018 Horacio Elmer Ortiz Torres          $10.00   60.50   $   8.60          $   102.50   $    102.50
  5/20/2018 Horacio Elmer Ortiz Torres          $10.00   59.70   $   8.60          $    98.50   $     98.50
  5/27/2018 Horacio Elmer Ortiz Torres          $10.00   60.62   $   8.60          $   103.08   $    103.08
   6/3/2018 Horacio Elmer Ortiz Torres          $10.00   62.48   $   8.60          $   112.42   $    112.42
  6/10/2018 Horacio Elmer Ortiz Torres          $10.00   60.80   $   8.60          $   104.00   $    104.00
  6/17/2018 Horacio Elmer Ortiz Torres          $10.00   61.87   $   8.60          $   109.33   $    109.33
  6/24/2018 Horacio Elmer Ortiz Torres          $10.00   58.92   $   8.60          $    94.58   $     94.58
   7/1/2018 Horacio Elmer Ortiz Torres          $10.00   65.72   $   8.60          $   128.58   $    128.58
   7/8/2018 Horacio Elmer Ortiz Torres          $10.00   44.95   $   8.60          $    24.75   $     24.75
  7/15/2018 Horacio Elmer Ortiz Torres          $10.00   62.75   $   8.60          $   113.75   $    113.75
  7/22/2018 Horacio Elmer Ortiz Torres          $10.00   51.48   $   8.60          $    57.42   $     57.42
  7/29/2018 Horacio Elmer Ortiz Torres          $10.00   64.33   $   8.60          $   121.67   $    121.67
   8/5/2018 Horacio Elmer Ortiz Torres          $10.00   67.75   $   8.60          $   138.75   $    138.75
  8/12/2018 Horacio Elmer Ortiz Torres          $10.00   63.05   $   8.60          $   115.25   $    115.25
  8/19/2018 Horacio Elmer Ortiz Torres          $10.00   62.60   $   8.60          $   113.00   $    113.00
  8/26/2018 Horacio Elmer Ortiz Torres          $10.00   57.37   $   8.60          $    86.83   $     86.83
   9/2/2018 Horacio Elmer Ortiz Torres          $10.00   68.55   $   8.60          $   142.75   $    142.75
   9/9/2018 Horacio Elmer Ortiz Torres          $10.00   58.38   $   8.60          $    91.92   $     91.92
  9/16/2018 Horacio Elmer Ortiz Torres          $10.00   60.78   $   8.60          $   103.92   $    103.92
  9/23/2018 Horacio Elmer Ortiz Torres          $10.00   63.10   $   8.60          $   115.50   $    115.50
  9/30/2018 Horacio Elmer Ortiz Torres          $10.00   64.18   $   8.60          $   120.92   $    120.92
  10/7/2018 Horacio Elmer Ortiz Torres          $10.00   63.30   $   8.60          $   116.50   $    116.50
 10/14/2018 Horacio Elmer Ortiz Torres          $10.00   64.65   $   8.60          $   123.25   $    123.25
 10/21/2018 Horacio Elmer Ortiz Torres          $10.00   62.02   $   8.60          $   110.08   $    110.08
 10/28/2018 Horacio Elmer Ortiz Torres          $10.00   63.15   $   8.60          $   115.75   $    115.75
  11/4/2018 Horacio Elmer Ortiz Torres          $10.00   67.28   $   8.60          $   136.42   $    136.42
 11/11/2018 Horacio Elmer Ortiz Torres          $10.00   63.62   $   8.60          $   118.08   $    118.08
 11/18/2018 Horacio Elmer Ortiz Torres          $10.00   63.75   $   8.60          $   118.75   $    118.75
 11/25/2018 Horacio Elmer Ortiz Torres          $10.00   51.62   $   8.60          $    58.08   $     58.08
  12/2/2018 Horacio Elmer Ortiz Torres          $10.00   65.47   $   8.60          $   127.33   $    127.33
  12/9/2018 Horacio Elmer Ortiz Torres          $10.00   54.52   $   8.60          $    72.58   $     72.58
 12/16/2018 Horacio Elmer Ortiz Torres          $10.00   63.80   $   8.60          $   119.00   $    119.00
 12/23/2018 Horacio Elmer Ortiz Torres          $10.00   64.27   $   8.60          $   121.33   $    121.33



                                                  250
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 252 of 683 PageID: 1099
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                        Name                          Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

 12/30/2018 Horacio Elmer Ortiz Torres          $10.00   50.07   $    8.60         $    50.33   $     50.33
   1/6/2019 Horacio Elmer Ortiz Torres          $10.00   57.77   $    8.85         $    88.83   $     88.83
  1/13/2019 Horacio Elmer Ortiz Torres          $10.00   63.47   $    8.85         $   117.33   $    117.33
  1/20/2019 Horacio Elmer Ortiz Torres          $10.00   61.88   $    8.85         $   109.42   $    109.42
  1/27/2019 Horacio Elmer Ortiz Torres          $10.00   63.22   $    8.85         $   116.08   $    116.08
   2/3/2019 Horacio Elmer Ortiz Torres          $10.00   65.62   $    8.85         $   128.08   $    128.08
  2/10/2019 Horacio Elmer Ortiz Torres          $10.00   55.83   $    8.85         $    79.17   $     79.17
  2/17/2019 Horacio Elmer Ortiz Torres          $10.00   56.28   $    8.85         $    81.42   $     81.42
  2/24/2019 Horacio Elmer Ortiz Torres          $10.00   53.05   $    8.85         $    65.25   $     65.25
   3/3/2019 Horacio Elmer Ortiz Torres          $10.00   67.47   $    8.85         $   137.33   $    137.33
  3/10/2019 Horacio Elmer Ortiz Torres          $10.00   57.53   $    8.85         $    87.67   $     87.67
  3/17/2019 Horacio Elmer Ortiz Torres          $10.00   63.08   $    8.85         $   115.42   $    115.42
  3/24/2019 Horacio Elmer Ortiz Torres          $10.00   66.62   $    8.85         $   133.08   $    133.08
  3/31/2019 Horacio Elmer Ortiz Torres          $10.00   69.78   $    8.85         $   148.92   $    148.92
   4/7/2019 Horacio Elmer Ortiz Torres          $10.00   63.67   $    8.85         $   118.33   $    118.33
  4/14/2019 Horacio Elmer Ortiz Torres          $10.00   64.10   $    8.85         $   120.50   $    120.50
  4/21/2019 Horacio Elmer Ortiz Torres          $10.00   63.60   $    8.85         $   118.00   $    118.00
  4/28/2019 Horacio Elmer Ortiz Torres          $10.00   62.20   $    8.85         $   111.00   $    111.00
   5/5/2019 Horacio Elmer Ortiz Torres          $10.00   67.42   $    8.85         $   137.08   $    137.08
  5/12/2019 Horacio Elmer Ortiz Torres          $10.00   62.70   $    8.85         $   113.50   $    113.50
  5/19/2019 Horacio Elmer Ortiz Torres          $10.00   62.10   $    8.85         $   110.50   $    110.50
  5/26/2019 Horacio Elmer Ortiz Torres          $10.00   63.50   $    8.85         $   117.50   $    117.50
   6/2/2019 Horacio Elmer Ortiz Torres          $10.00   64.25   $    8.85         $   121.25   $    121.25
   6/9/2019 Horacio Elmer Ortiz Torres          $10.00   62.98   $    8.85         $   114.92   $    114.92
  6/16/2019 Horacio Elmer Ortiz Torres          $10.00   62.50   $    8.85         $   112.50   $    112.50
  6/23/2019 Horacio Elmer Ortiz Torres          $10.00   62.27   $    8.85         $   111.33   $    111.33
  6/30/2019 Horacio Elmer Ortiz Torres          $10.00   65.37   $   10.00         $   126.83   $    126.83
   7/7/2019 Horacio Elmer Ortiz Torres          $11.00   52.28   $   10.00         $    67.56   $     67.56
  7/14/2019 Horacio Elmer Ortiz Torres          $11.00   62.25   $   10.00         $   122.38   $    122.38
  7/21/2019 Horacio Elmer Ortiz Torres          $11.00   63.12   $   10.00         $   127.14   $    127.14
  7/28/2019 Horacio Elmer Ortiz Torres          $11.00   61.50   $   10.00         $   118.25   $    118.25
   8/4/2019 Horacio Elmer Ortiz Torres          $11.00   66.00   $   10.00         $   143.00   $    143.00
  8/11/2019 Horacio Elmer Ortiz Torres          $11.00   63.22   $   10.00         $   127.69   $    127.69
  8/18/2019 Horacio Elmer Ortiz Torres          $11.00   62.67   $   10.00         $   124.67   $    124.67
  8/25/2019 Horacio Elmer Ortiz Torres          $11.00   53.60   $   10.00         $    74.80   $     74.80
   9/1/2019 Horacio Elmer Ortiz Torres          $11.00   67.22   $   10.00         $   149.69   $    149.69
   9/8/2019 Horacio Elmer Ortiz Torres          $11.00   57.57   $   10.00         $    96.62   $     96.62
  9/15/2019 Horacio Elmer Ortiz Torres          $11.00   62.07   $   10.00         $   121.37   $    121.37
  9/22/2019 Horacio Elmer Ortiz Torres          $11.00   64.62   $   10.00         $   135.39   $    135.39
  9/29/2019 Horacio Elmer Ortiz Torres          $11.00   63.48   $   10.00         $   129.16   $    129.16
  10/6/2019 Horacio Elmer Ortiz Torres          $11.00   62.58   $   10.00         $   124.21   $    124.21
 10/13/2019 Horacio Elmer Ortiz Torres          $11.00   62.30   $   10.00         $   122.65   $    122.65
 10/20/2019 Horacio Elmer Ortiz Torres          $11.00   62.22   $   10.00         $   122.19   $    122.19
 10/27/2019 Horacio Elmer Ortiz Torres          $11.00   61.88   $   10.00         $   120.36   $    120.36
  11/3/2019 Horacio Elmer Ortiz Torres          $11.00   66.05   $   10.00         $   143.28   $    143.28
 11/10/2019 Horacio Elmer Ortiz Torres          $11.00   62.22   $   10.00         $   122.19   $    122.19
 11/17/2019 Horacio Elmer Ortiz Torres          $11.00   62.08   $   10.00         $   121.46   $    121.46
 11/24/2019 Horacio Elmer Ortiz Torres          $11.00   62.77   $   10.00         $   125.22   $    125.22
  12/1/2019 Horacio Elmer Ortiz Torres          $11.00   55.03   $   10.00         $    82.68   $     82.68
  12/8/2019 Horacio Elmer Ortiz Torres          $11.00   57.57   $   10.00         $    96.62   $     96.62



                                                  251
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 253 of 683 PageID: 1100
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                        Name                          Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

 12/15/2019 Horacio Elmer Ortiz Torres          $11.00   60.42   $   10.00               $   112.29   $   112.29
 12/22/2019 Horacio Elmer Ortiz Torres          $11.00   59.87   $   10.00               $   109.27   $   109.27
 12/29/2019 Horacio Elmer Ortiz Torres          $11.00   47.25   $   10.00               $    39.88   $    39.88
   1/5/2020 Horacio Elmer Ortiz Torres          $11.00   51.55   $   11.00               $    63.53   $    63.53
  1/12/2020 Horacio Elmer Ortiz Torres          $11.00   62.48   $   11.00               $   123.66   $   123.66
  1/19/2020 Horacio Elmer Ortiz Torres          $11.00   62.73   $   11.00               $   125.03   $   125.03
  1/26/2020 Horacio Elmer Ortiz Torres          $11.00   60.33   $   11.00               $   111.83   $   111.83
   6/2/2019 Hosmey Jimenez                       $8.85   43.38   $    8.85               $    14.97   $    14.97
  7/21/2019 Hosmey Jimenez                       $9.50   43.03   $   10.00   $   21.52   $    15.17   $    36.68
  7/28/2019 Hosmey Jimenez                       $9.50   53.72   $   10.00   $   26.86   $    68.58   $    95.44
   8/4/2019 Hosmey Jimenez                       $9.50   50.12   $   10.00   $   25.06   $    50.58   $    75.64
  8/11/2019 Hosmey Jimenez                       $9.50   53.28   $   10.00   $   26.64   $    66.42   $    93.06
  8/18/2019 Hosmey Jimenez                       $9.50   43.93   $   10.00   $   21.97   $    19.67   $    41.63
  8/25/2019 Hosmey Jimenez                       $9.50   44.53   $   10.00   $   22.27   $    22.67   $    44.93
   9/1/2019 Hosmey Jimenez                       $9.50   53.85   $   10.00   $   26.93   $    69.25   $    96.18
  9/15/2019 Hosmey Jimenez                       $9.50   45.17   $   10.00   $   22.58   $    25.83   $    48.42
  9/22/2019 Hosmey Jimenez                       $9.50   58.95   $   10.00   $   29.48   $    94.75   $   124.23
  9/29/2019 Hosmey Jimenez                       $9.50   55.37   $   10.00   $   27.68   $    76.83   $   104.52
  10/6/2019 Hosmey Jimenez                       $9.50   40.12   $   10.00   $   20.06   $     0.58   $    20.64
 10/13/2019 Hosmey Jimenez                       $9.50   40.27   $   10.00   $   20.13   $     1.33   $    21.47
 10/20/2019 Hosmey Jimenez                       $9.50   41.03   $   10.00   $   20.52   $     5.17   $    25.68
 10/27/2019 Hosmey Jimenez                       $9.50   43.20   $   10.00   $   21.60   $    16.00   $    37.60
 11/17/2019 Hosmey Jimenez                       $9.50   49.27   $   10.00   $   24.63   $    46.33   $    70.97
 11/24/2019 Hosmey Jimenez                       $9.50   46.82   $   10.00   $   23.41   $    34.08   $    57.49
  12/1/2019 Hosmey Jimenez                       $9.50   48.60   $   10.00   $   24.30   $    43.00   $    67.30
  6/17/2018 Hugo Martinez                       $10.00   40.15   $    8.60               $     0.75   $     0.75
  6/24/2018 Hugo Martinez                       $10.00   45.35   $    8.60               $    26.75   $    26.75
   7/1/2018 Hugo Martinez                       $10.00   59.02   $    8.60               $    95.08   $    95.08
   7/8/2018 Hugo Martinez                       $10.00   48.42   $    8.60               $    42.08   $    42.08
  7/15/2018 Hugo Martinez                       $10.00   59.28   $    8.60               $    96.42   $    96.42
  7/22/2018 Hugo Martinez                       $10.00   48.75   $    8.60               $    43.75   $    43.75
  7/29/2018 Hugo Martinez                       $10.00   58.07   $    8.60               $    90.33   $    90.33
   8/5/2018 Hugo Martinez                       $10.00   49.27   $    8.60               $    46.33   $    46.33
  8/12/2018 Hugo Martinez                       $10.00   51.87   $    8.60               $    59.33   $    59.33
  8/19/2018 Hugo Martinez                       $10.00   47.05   $    8.60               $    35.25   $    35.25
   9/2/2018 Hugo Martinez                       $10.00   60.10   $    8.60               $   100.50   $   100.50
   9/9/2018 Hugo Martinez                       $10.00   49.55   $    8.60               $    47.75   $    47.75
  9/16/2018 Hugo Martinez                       $10.00   57.87   $    8.60               $    89.33   $    89.33
  9/23/2018 Hugo Martinez                       $10.00   49.52   $    8.60               $    47.58   $    47.58
  9/30/2018 Hugo Martinez                       $10.00   56.07   $    8.60               $    80.33   $    80.33
  10/7/2018 Hugo Martinez                       $10.00   55.42   $    8.60               $    77.08   $    77.08
 10/14/2018 Hugo Martinez                       $10.00   56.42   $    8.60               $    82.08   $    82.08
 10/21/2018 Hugo Martinez                       $10.00   58.88   $    8.60               $    94.42   $    94.42
 10/28/2018 Hugo Martinez                       $10.00   58.67   $    8.60               $    93.33   $    93.33
  11/4/2018 Hugo Martinez                       $10.00   47.52   $    8.60               $    37.58   $    37.58
 11/11/2018 Hugo Martinez                       $10.00   54.85   $    8.60               $    74.25   $    74.25
 11/18/2018 Hugo Martinez                       $10.00   52.73   $    8.60               $    63.67   $    63.67
 11/25/2018 Hugo Martinez                       $10.00   40.92   $    8.60               $     4.58   $     4.58
  12/2/2018 Hugo Martinez                       $10.00   68.87   $    8.60               $   144.33   $   144.33
  12/9/2018 Hugo Martinez                       $10.00   69.95   $    8.60               $   149.75   $   149.75



                                                  252
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 254 of 683 PageID: 1101
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

 12/16/2018 Hugo Martinez                 $10.00   57.37   $    8.60         $    86.83   $     86.83
 12/23/2018 Hugo Martinez                 $10.00   61.42   $    8.60         $   107.08   $    107.08
 12/30/2018 Hugo Martinez                 $10.00   41.10   $    8.60         $     5.50   $      5.50
   1/6/2019 Hugo Martinez                 $10.00   64.00   $    8.85         $   120.00   $    120.00
  1/13/2019 Hugo Martinez                 $10.00   73.02   $    8.85         $   165.08   $    165.08
  1/20/2019 Hugo Martinez                 $10.00   72.00   $    8.85         $   160.00   $    160.00
  1/27/2019 Hugo Martinez                 $10.00   72.92   $    8.85         $   164.58   $    164.58
   2/3/2019 Hugo Martinez                 $10.00   72.28   $    8.85         $   161.42   $    161.42
  2/10/2019 Hugo Martinez                 $10.00   73.88   $    8.85         $   169.42   $    169.42
  2/17/2019 Hugo Martinez                 $10.00   69.37   $    8.85         $   146.83   $    146.83
  2/24/2019 Hugo Martinez                 $10.00   71.80   $    8.85         $   159.00   $    159.00
   3/3/2019 Hugo Martinez                 $10.00   72.92   $    8.85         $   164.58   $    164.58
  3/10/2019 Hugo Martinez                 $10.00   72.13   $    8.85         $   160.67   $    160.67
  3/17/2019 Hugo Martinez                 $10.00   74.97   $    8.85         $   174.83   $    174.83
  3/24/2019 Hugo Martinez                 $10.00   69.90   $    8.85         $   149.50   $    149.50
  3/31/2019 Hugo Martinez                 $10.00   72.98   $    8.85         $   164.92   $    164.92
   4/7/2019 Hugo Martinez                 $10.00   70.13   $    8.85         $   150.67   $    150.67
  4/14/2019 Hugo Martinez                 $10.00   57.80   $    8.85         $    89.00   $     89.00
  4/21/2019 Hugo Martinez                 $10.00   71.98   $    8.85         $   159.92   $    159.92
  4/28/2019 Hugo Martinez                 $10.00   72.28   $    8.85         $   161.42   $    161.42
   5/5/2019 Hugo Martinez                 $10.00   64.30   $    8.85         $   121.50   $    121.50
  5/12/2019 Hugo Martinez                 $10.00   69.32   $    8.85         $   146.58   $    146.58
  5/19/2019 Hugo Martinez                 $10.00   70.80   $    8.85         $   154.00   $    154.00
  5/26/2019 Hugo Martinez                 $10.00   73.45   $    8.85         $   167.25   $    167.25
   6/2/2019 Hugo Martinez                 $10.00   71.00   $    8.85         $   155.00   $    155.00
   6/9/2019 Hugo Martinez                 $10.00   73.77   $    8.85         $   168.83   $    168.83
  6/16/2019 Hugo Martinez                 $10.00   48.53   $    8.85         $    42.67   $     42.67
  6/23/2019 Hugo Martinez                 $10.00   69.77   $    8.85         $   148.83   $    148.83
  6/30/2019 Hugo Martinez                 $10.00   71.02   $   10.00         $   155.08   $    155.08
   7/7/2019 Hugo Martinez                 $10.00   69.77   $   10.00         $   148.83   $    148.83
  7/14/2019 Hugo Martinez                 $10.00   69.38   $   10.00         $   146.92   $    146.92
  7/21/2019 Hugo Martinez                 $10.00   73.32   $   10.00         $   166.58   $    166.58
  7/28/2019 Hugo Martinez                 $10.00   70.47   $   10.00         $   152.33   $    152.33
   8/4/2019 Hugo Martinez                 $10.00   71.83   $   10.00         $   159.17   $    159.17
  8/11/2019 Hugo Martinez                 $10.00   73.47   $   10.00         $   167.33   $    167.33
  6/25/2017 Ian Welger                    $10.00   41.67   $    8.44         $     8.33   $      8.33
   7/2/2017 Ian Welger                    $10.00   61.43   $    8.44         $   107.17   $    107.17
  7/16/2017 Ian Welger                    $10.00   47.45   $    8.44         $    37.25   $     37.25
  7/23/2017 Ian Welger                    $10.00   49.77   $    8.44         $    48.83   $     48.83
  7/30/2017 Ian Welger                    $10.00   51.07   $    8.44         $    55.33   $     55.33
   8/6/2017 Ian Welger                    $10.00   57.13   $    8.44         $    85.67   $     85.67
  8/27/2017 Ian Welger                    $10.00   48.77   $    8.44         $    43.83   $     43.83
   9/3/2017 Ian Welger                    $10.00   60.37   $    8.44         $   101.83   $    101.83
  9/10/2017 Ian Welger                    $10.00   56.37   $    8.44         $    81.83   $     81.83
  9/17/2017 Ian Welger                    $10.00   62.33   $    8.44         $   111.67   $    111.67
  9/24/2017 Ian Welger                    $10.00   53.00   $    8.44         $    65.00   $     65.00
  10/1/2017 Ian Welger                    $10.00   55.15   $    8.44         $    75.75   $     75.75
  10/8/2017 Ian Welger                    $10.00   62.82   $    8.44         $   114.08   $    114.08
 10/15/2017 Ian Welger                    $10.00   49.98   $    8.44         $    49.92   $     49.92
 10/22/2017 Ian Welger                    $10.00   50.33   $    8.44         $    51.67   $     51.67



                                            253
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 255 of 683 PageID: 1102
                                                  Exhibit 2
                                          New Jersey Computations


   Week                                                          State Section 7: Section 7: Total Section 7
                                                 Hourly Hours/
  Ending                        Name                           Minumum Regular    Half-Time Overtime Back
                                                  Rate Week
   Date                                                          Wage  Rate Due     Due       Wages Due

  12/3/2017 Ibriel Zapata                         $9.00   59.73   $    8.44         $    88.80   $     88.80
 12/10/2017 Ibriel Zapata                         $9.00   58.83   $    8.44         $    84.75   $     84.75
 12/17/2017 Ibriel Zapata                         $9.00   59.55   $    8.44         $    87.98   $     87.98
 12/24/2017 Ibriel Zapata                         $9.00   49.17   $    8.44         $    41.25   $     41.25
 12/31/2017 Ibriel Zapata                         $9.00   51.85   $    8.44         $    53.33   $     53.33
   1/7/2018 Ibriel Zapata                         $9.00   49.58   $    8.60         $    43.13   $     43.13
  1/14/2018 Ibriel Zapata                         $9.00   57.38   $    8.60         $    78.23   $     78.23
  1/21/2018 Ibriel Zapata                         $9.00   55.42   $    8.60         $    69.38   $     69.38
  1/28/2018 Ibriel Zapata                         $9.00   58.78   $    8.60         $    84.53   $     84.53
   2/4/2018 Ibriel Zapata                         $9.00   60.68   $    8.60         $    93.08   $     93.08
   3/4/2018 Ibriel Zapata                         $9.00   49.78   $    8.60         $    44.03   $     44.03
  7/15/2018 Ibriel Zapata                         $9.00   74.38   $    8.60         $   154.73   $    154.73
  7/22/2018 Ibriel Zapata                         $9.00   77.13   $    8.60         $   167.10   $    167.10
  7/29/2018 Ibriel Zapata                         $9.00   73.17   $    8.60         $   149.25   $    149.25
   8/5/2018 Ibriel Zapata                         $9.00   72.12   $    8.60         $   144.53   $    144.53
  8/12/2018 Ibriel Zapata                         $9.00   65.45   $    8.60         $   114.53   $    114.53
  8/19/2018 Ibriel Zapata                         $9.00   63.92   $    8.60         $   107.63   $    107.63
  8/26/2018 Ibriel Zapata                         $9.00   75.58   $    8.60         $   160.13   $    160.13
  11/4/2018 Ibriel Zapata                         $9.00   70.92   $    8.60         $   139.13   $    139.13
 11/11/2018 Ibriel Zapata                         $9.00   71.50   $    8.60         $   141.75   $    141.75
 11/18/2018 Ibriel Zapata                         $9.00   54.48   $    8.60         $    65.18   $     65.18
 11/25/2018 Ibriel Zapata                         $9.00   63.87   $    8.60         $   107.40   $    107.40
  12/2/2018 Ibriel Zapata                         $9.00   86.73   $    8.60         $   210.30   $    210.30
  12/9/2018 Ibriel Zapata                         $9.00   68.87   $    8.60         $   129.90   $    129.90
 12/16/2018 Ibriel Zapata                         $9.00   69.40   $    8.60         $   132.30   $    132.30
 12/23/2018 Ibriel Zapata                         $9.00   56.18   $    8.60         $    72.83   $     72.83
 12/30/2018 Ibriel Zapata                         $9.00   49.82   $    8.60         $    44.18   $     44.18
   1/6/2019 Ibriel Zapata                         $9.00   56.07   $    8.85         $    72.30   $     72.30
  1/13/2019 Ibriel Zapata                         $9.00   60.93   $    8.85         $    94.20   $     94.20
  1/20/2019 Ibriel Zapata                         $9.00   60.23   $    8.85         $    91.05   $     91.05
  1/27/2019 Ibriel Zapata                         $9.00   74.32   $    8.85         $   154.43   $    154.43
   2/3/2019 Ibriel Zapata                         $9.00   76.50   $    8.85         $   164.25   $    164.25
  2/10/2019 Ibriel Zapata                         $9.00   75.32   $    8.85         $   158.93   $    158.93
  2/17/2019 Ibriel Zapata                         $9.00   76.73   $    8.85         $   165.30   $    165.30
  2/24/2019 Ibriel Zapata                         $9.00   74.57   $    8.85         $   155.55   $    155.55
   3/3/2019 Ibriel Zapata                         $9.00   76.10   $    8.85         $   162.45   $    162.45
  3/10/2019 Ibriel Zapata                         $9.00   72.48   $    8.85         $   146.18   $    146.18
  3/17/2019 Ibriel Zapata                         $9.00   70.30   $    8.85         $   136.35   $    136.35
  3/24/2019 Ibriel Zapata                         $9.00   73.60   $    8.85         $   151.20   $    151.20
  3/31/2019 Ibriel Zapata                         $9.00   76.25   $    8.85         $   163.13   $    163.13
   4/7/2019 Ibriel Zapata                         $9.00   50.25   $    8.85         $    46.13   $     46.13
 12/15/2019 Ignacio Alejandro Bravo Cid          $10.00   60.13   $   10.00         $   100.67   $    100.67
 12/22/2019 Ignacio Alejandro Bravo Cid          $10.00   60.20   $   10.00         $   101.00   $    101.00
 12/29/2019 Ignacio Alejandro Bravo Cid          $10.00   43.82   $   10.00         $    19.08   $     19.08
   1/5/2020 Ignacio Alejandro Bravo Cid          $11.00   52.62   $   11.00         $    69.39   $     69.39
  1/12/2020 Ignacio Alejandro Bravo Cid          $11.00   56.28   $   11.00         $    89.56   $     89.56
   2/5/2017 Ignacio Cubero                        $9.50   64.68   $    8.44         $   117.25   $    117.25
  2/12/2017 Ignacio Cubero                        $9.50   49.10   $    8.44         $    43.23   $     43.23
  2/19/2017 Ignacio Cubero                        $9.50   64.62   $    8.44         $   116.93   $    116.93
  2/26/2017 Ignacio Cubero                        $9.50   62.00   $    8.44         $   104.50   $    104.50



                                                   254
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 256 of 683 PageID: 1103
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

   3/5/2017 Ignacio Cubero                    $9.50   61.58   $   8.44          $   102.52   $    102.52
  3/12/2017 Ignacio Cubero                    $9.50   54.15   $   8.44          $    67.21   $     67.21
  3/19/2017 Ignacio Cubero                    $9.50   54.90   $   8.44          $    70.78   $     70.78
  3/26/2017 Ignacio Cubero                    $9.50   64.28   $   8.44          $   115.35   $    115.35
   2/5/2017 Ignacio Gonzalez Pena            $10.00   90.32   $   8.44          $   251.58   $    251.58
  2/12/2017 Ignacio Gonzalez Pena            $10.00   76.03   $   8.44          $   180.17   $    180.17
  2/19/2017 Ignacio Gonzalez Pena            $10.00   78.18   $   8.44          $   190.92   $    190.92
  2/26/2017 Ignacio Gonzalez Pena            $10.00   74.70   $   8.44          $   173.50   $    173.50
   3/5/2017 Ignacio Gonzalez Pena            $10.00   84.32   $   8.44          $   221.58   $    221.58
  3/12/2017 Ignacio Gonzalez Pena            $10.00   86.72   $   8.44          $   233.58   $    233.58
  3/19/2017 Ignacio Gonzalez Pena            $10.00   73.78   $   8.44          $   168.92   $    168.92
  3/26/2017 Ignacio Gonzalez Pena            $10.00   90.88   $   8.44          $   254.42   $    254.42
   4/2/2017 Ignacio Gonzalez Pena            $10.00   88.27   $   8.44          $   241.33   $    241.33
   4/9/2017 Ignacio Gonzalez Pena            $10.00   85.00   $   8.44          $   225.00   $    225.00
  4/16/2017 Ignacio Gonzalez Pena            $10.00   90.02   $   8.44          $   250.08   $    250.08
  4/23/2017 Ignacio Gonzalez Pena            $10.00   86.35   $   8.44          $   231.75   $    231.75
  4/30/2017 Ignacio Gonzalez Pena            $10.00   87.97   $   8.44          $   239.83   $    239.83
   5/7/2017 Ignacio Gonzalez Pena            $10.00   86.58   $   8.44          $   232.92   $    232.92
  5/14/2017 Ignacio Gonzalez Pena            $10.00   85.53   $   8.44          $   227.67   $    227.67
  5/21/2017 Ignacio Gonzalez Pena            $10.00   88.30   $   8.44          $   241.50   $    241.50
  5/28/2017 Ignacio Gonzalez Pena            $10.00   93.78   $   8.44          $   268.92   $    268.92
   6/4/2017 Ignacio Gonzalez Pena            $10.00   87.77   $   8.44          $   238.83   $    238.83
  6/11/2017 Ignacio Gonzalez Pena            $10.00   89.15   $   8.44          $   245.75   $    245.75
  6/18/2017 Ignacio Gonzalez Pena            $10.00   87.57   $   8.44          $   237.83   $    237.83
  6/25/2017 Ignacio Gonzalez Pena            $10.00   92.22   $   8.44          $   261.08   $    261.08
   7/2/2017 Ignacio Gonzalez Pena            $10.00   93.02   $   8.44          $   265.08   $    265.08
   7/9/2017 Ignacio Gonzalez Pena            $10.00   93.30   $   8.44          $   266.50   $    266.50
  7/16/2017 Ignacio Gonzalez Pena            $10.00   87.52   $   8.44          $   237.58   $    237.58
  7/23/2017 Ignacio Gonzalez Pena            $10.00   90.33   $   8.44          $   251.67   $    251.67
  7/30/2017 Ignacio Gonzalez Pena            $10.00   90.32   $   8.44          $   251.58   $    251.58
   8/6/2017 Ignacio Gonzalez Pena            $10.00   91.37   $   8.44          $   256.83   $    256.83
  8/13/2017 Ignacio Gonzalez Pena            $10.00   92.17   $   8.44          $   260.83   $    260.83
  8/20/2017 Ignacio Gonzalez Pena            $10.00   93.35   $   8.44          $   266.75   $    266.75
  8/27/2017 Ignacio Gonzalez Pena            $10.00   90.87   $   8.44          $   254.33   $    254.33
   9/3/2017 Ignacio Gonzalez Pena            $10.00   92.85   $   8.44          $   264.25   $    264.25
  9/10/2017 Ignacio Gonzalez Pena            $10.00   90.42   $   8.44          $   252.08   $    252.08
  9/17/2017 Ignacio Gonzalez Pena            $10.00   89.93   $   8.44          $   249.67   $    249.67
  9/24/2017 Ignacio Gonzalez Pena            $10.00   91.40   $   8.44          $   257.00   $    257.00
  10/1/2017 Ignacio Gonzalez Pena            $10.00   93.75   $   8.44          $   268.75   $    268.75
  10/8/2017 Ignacio Gonzalez Pena            $10.00   88.58   $   8.44          $   242.92   $    242.92
 10/15/2017 Ignacio Gonzalez Pena            $10.00   89.00   $   8.44          $   245.00   $    245.00
 10/22/2017 Ignacio Gonzalez Pena            $10.00   91.22   $   8.44          $   256.08   $    256.08
 10/29/2017 Ignacio Gonzalez Pena            $10.00   89.68   $   8.44          $   248.42   $    248.42
  11/5/2017 Ignacio Gonzalez Pena            $10.00   92.78   $   8.44          $   263.92   $    263.92
 11/12/2017 Ignacio Gonzalez Pena            $10.00   91.15   $   8.44          $   255.75   $    255.75
 11/19/2017 Ignacio Gonzalez Pena            $10.00   89.80   $   8.44          $   249.00   $    249.00
 11/26/2017 Ignacio Gonzalez Pena            $10.00   78.17   $   8.44          $   190.83   $    190.83
  12/3/2017 Ignacio Gonzalez Pena            $10.00   94.00   $   8.44          $   270.00   $    270.00
 12/10/2017 Ignacio Gonzalez Pena            $10.00   92.25   $   8.44          $   261.25   $    261.25
 12/17/2017 Ignacio Gonzalez Pena            $10.00   90.47   $   8.44          $   252.33   $    252.33



                                               255
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 257 of 683 PageID: 1104
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

 12/24/2017 Ignacio Gonzalez Pena            $10.00   93.05   $   8.44          $   265.25   $    265.25
 12/31/2017 Ignacio Gonzalez Pena            $10.00   78.23   $   8.44          $   191.17   $    191.17
   1/7/2018 Ignacio Gonzalez Pena            $10.00   81.13   $   8.60          $   205.67   $    205.67
  1/14/2018 Ignacio Gonzalez Pena            $10.00   87.73   $   8.60          $   238.67   $    238.67
  1/21/2018 Ignacio Gonzalez Pena            $10.00   91.63   $   8.60          $   258.17   $    258.17
  1/28/2018 Ignacio Gonzalez Pena            $10.00   92.05   $   8.60          $   260.25   $    260.25
   2/4/2018 Ignacio Gonzalez Pena            $10.00   92.43   $   8.60          $   262.17   $    262.17
  2/11/2018 Ignacio Gonzalez Pena            $10.00   69.67   $   8.60          $   148.33   $    148.33
  2/18/2018 Ignacio Gonzalez Pena            $10.00   66.12   $   8.60          $   130.58   $    130.58
  2/25/2018 Ignacio Gonzalez Pena            $10.00   80.63   $   8.60          $   203.17   $    203.17
   3/4/2018 Ignacio Gonzalez Pena            $10.00   60.12   $   8.60          $   100.58   $    100.58
  3/25/2018 Ignacio Gonzalez Pena            $10.00   59.87   $   8.60          $    99.33   $     99.33
   4/1/2018 Ignacio Gonzalez Pena            $10.00   64.22   $   8.60          $   121.08   $    121.08
   4/8/2018 Ignacio Gonzalez Pena            $10.00   65.37   $   8.60          $   126.83   $    126.83
  4/15/2018 Ignacio Gonzalez Pena            $10.00   92.47   $   8.60          $   262.33   $    262.33
  4/22/2018 Ignacio Gonzalez Pena            $10.00   91.88   $   8.60          $   259.42   $    259.42
  4/29/2018 Ignacio Gonzalez Pena            $10.00   89.12   $   8.60          $   245.58   $    245.58
   5/6/2018 Ignacio Gonzalez Pena            $10.00   76.47   $   8.60          $   182.33   $    182.33
  5/13/2018 Ignacio Gonzalez Pena            $10.00   88.43   $   8.60          $   242.17   $    242.17
  5/20/2018 Ignacio Gonzalez Pena            $10.00   70.48   $   8.60          $   152.42   $    152.42
  5/27/2018 Ignacio Gonzalez Pena            $10.00   89.27   $   8.60          $   246.33   $    246.33
   6/3/2018 Ignacio Gonzalez Pena            $10.00   90.27   $   8.60          $   251.33   $    251.33
  6/10/2018 Ignacio Gonzalez Pena            $10.00   91.03   $   8.60          $   255.17   $    255.17
  6/17/2018 Ignacio Gonzalez Pena            $10.00   90.12   $   8.60          $   250.58   $    250.58
  6/24/2018 Ignacio Gonzalez Pena            $10.00   92.75   $   8.60          $   263.75   $    263.75
   7/1/2018 Ignacio Gonzalez Pena            $10.00   90.75   $   8.60          $   253.75   $    253.75
   7/8/2018 Ignacio Gonzalez Pena            $10.00   88.88   $   8.60          $   244.42   $    244.42
  7/15/2018 Ignacio Gonzalez Pena            $10.00   89.27   $   8.60          $   246.33   $    246.33
  7/22/2018 Ignacio Gonzalez Pena            $10.00   91.68   $   8.60          $   258.42   $    258.42
  7/29/2018 Ignacio Gonzalez Pena            $10.00   94.38   $   8.60          $   271.92   $    271.92
   8/5/2018 Ignacio Gonzalez Pena            $10.00   97.30   $   8.60          $   286.50   $    286.50
  8/12/2018 Ignacio Gonzalez Pena            $10.00   95.22   $   8.60          $   276.08   $    276.08
  8/19/2018 Ignacio Gonzalez Pena            $10.00   81.72   $   8.60          $   208.58   $    208.58
  8/26/2018 Ignacio Gonzalez Pena            $10.00   96.80   $   8.60          $   284.00   $    284.00
   9/2/2018 Ignacio Gonzalez Pena            $10.00   97.20   $   8.60          $   286.00   $    286.00
   9/9/2018 Ignacio Gonzalez Pena            $10.00   90.02   $   8.60          $   250.08   $    250.08
  9/16/2018 Ignacio Gonzalez Pena            $10.00   91.83   $   8.60          $   259.17   $    259.17
  11/4/2018 Ignacio Pena                     $10.00   51.65   $   8.60          $    58.25   $     58.25
 11/11/2018 Ignacio Pena                     $10.00   63.67   $   8.60          $   118.33   $    118.33
 11/18/2018 Ignacio Pena                     $10.00   76.38   $   8.60          $   181.92   $    181.92
 11/25/2018 Ignacio Pena                     $10.00   62.15   $   8.60          $   110.75   $    110.75
  12/2/2018 Ignacio Pena                     $10.00   77.22   $   8.60          $   186.08   $    186.08
  12/9/2018 Ignacio Pena                     $10.00   75.45   $   8.60          $   177.25   $    177.25
 12/16/2018 Ignacio Pena                     $10.00   76.08   $   8.60          $   180.42   $    180.42
 12/23/2018 Ignacio Pena                     $10.00   77.35   $   8.60          $   186.75   $    186.75
 12/30/2018 Ignacio Pena                     $10.00   48.32   $   8.60          $    41.58   $     41.58
   1/6/2019 Ignacio Pena                     $10.00   66.82   $   8.85          $   134.08   $    134.08
  1/13/2019 Ignacio Pena                     $10.00   76.97   $   8.85          $   184.83   $    184.83
  1/20/2019 Ignacio Pena                     $10.00   76.02   $   8.85          $   180.08   $    180.08
  1/27/2019 Ignacio Pena                     $10.00   76.30   $   8.85          $   181.50   $    181.50



                                               256
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 258 of 683 PageID: 1105
                                          Exhibit 2
                                  New Jersey Computations


   Week                                                  State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
  Ending                   Name                        Minumum Regular    Half-Time Overtime Back
                                          Rate Week
   Date                                                  Wage  Rate Due     Due       Wages Due

   2/3/2019 Ignacio Pena                 $10.00   75.82   $    8.85         $   179.08   $    179.08
  2/10/2019 Ignacio Pena                 $10.00   75.98   $    8.85         $   179.92   $    179.92
  2/17/2019 Ignacio Pena                 $10.00   73.95   $    8.85         $   169.75   $    169.75
  2/24/2019 Ignacio Pena                 $10.00   74.38   $    8.85         $   171.92   $    171.92
   3/3/2019 Ignacio Pena                 $10.00   77.25   $    8.85         $   186.25   $    186.25
  3/10/2019 Ignacio Pena                 $10.00   75.07   $    8.85         $   175.33   $    175.33
  3/17/2019 Ignacio Pena                 $10.00   77.18   $    8.85         $   185.92   $    185.92
  3/24/2019 Ignacio Pena                 $10.00   76.33   $    8.85         $   181.67   $    181.67
  3/31/2019 Ignacio Pena                 $10.00   77.77   $    8.85         $   188.83   $    188.83
   4/7/2019 Ignacio Pena                 $10.00   76.00   $    8.85         $   180.00   $    180.00
  4/14/2019 Ignacio Pena                 $10.00   77.15   $    8.85         $   185.75   $    185.75
  4/21/2019 Ignacio Pena                 $10.00   77.30   $    8.85         $   186.50   $    186.50
  4/28/2019 Ignacio Pena                 $10.00   76.27   $    8.85         $   181.33   $    181.33
   5/5/2019 Ignacio Pena                 $10.00   76.57   $    8.85         $   182.83   $    182.83
  5/12/2019 Ignacio Pena                 $10.00   77.63   $    8.85         $   188.17   $    188.17
  5/19/2019 Ignacio Pena                 $10.00   77.90   $    8.85         $   189.50   $    189.50
  5/26/2019 Ignacio Pena                 $10.00   77.38   $    8.85         $   186.92   $    186.92
   6/2/2019 Ignacio Pena                 $10.00   74.75   $    8.85         $   173.75   $    173.75
   6/9/2019 Ignacio Pena                 $10.00   76.33   $    8.85         $   181.67   $    181.67
  6/16/2019 Ignacio Pena                 $10.00   77.85   $    8.85         $   189.25   $    189.25
  6/23/2019 Ignacio Pena                 $10.00   75.52   $    8.85         $   177.58   $    177.58
  6/30/2019 Ignacio Pena                 $10.00   77.42   $   10.00         $   187.08   $    187.08
   7/7/2019 Ignacio Pena                 $11.00   72.35   $   10.00         $   177.93   $    177.93
  7/14/2019 Ignacio Pena                 $11.00   78.32   $   10.00         $   210.74   $    210.74
  7/21/2019 Ignacio Pena                 $11.00   78.28   $   10.00         $   210.56   $    210.56
  7/28/2019 Ignacio Pena                 $11.00   76.38   $   10.00         $   200.11   $    200.11
   8/4/2019 Ignacio Pena                 $11.00   78.98   $   10.00         $   214.41   $    214.41
  8/11/2019 Ignacio Pena                 $11.00   78.40   $   10.00         $   211.20   $    211.20
  8/18/2019 Ignacio Pena                 $11.00   77.73   $   10.00         $   207.53   $    207.53
  8/25/2019 Ignacio Pena                 $11.00   79.47   $   10.00         $   217.07   $    217.07
   9/1/2019 Ignacio Pena                 $11.00   77.85   $   10.00         $   208.18   $    208.18
   9/8/2019 Ignacio Pena                 $11.00   75.45   $   10.00         $   194.98   $    194.98
  9/15/2019 Ignacio Pena                 $11.00   79.93   $   10.00         $   219.63   $    219.63
  9/22/2019 Ignacio Pena                 $11.00   78.80   $   10.00         $   213.40   $    213.40
  9/29/2019 Ignacio Pena                 $11.00   79.45   $   10.00         $   216.98   $    216.98
  10/6/2019 Ignacio Pena                 $11.00   77.18   $   10.00         $   204.51   $    204.51
 10/13/2019 Ignacio Pena                 $11.00   78.40   $   10.00         $   211.20   $    211.20
 10/20/2019 Ignacio Pena                 $11.00   76.75   $   10.00         $   202.13   $    202.13
 10/27/2019 Ignacio Pena                 $11.00   78.63   $   10.00         $   212.48   $    212.48
  11/3/2019 Ignacio Pena                 $11.00   77.77   $   10.00         $   207.72   $    207.72
 11/10/2019 Ignacio Pena                 $11.00   77.90   $   10.00         $   208.45   $    208.45
 11/17/2019 Ignacio Pena                 $11.00   78.03   $   10.00         $   209.18   $    209.18
 11/24/2019 Ignacio Pena                 $11.00   77.82   $   10.00         $   207.99   $    207.99
  12/1/2019 Ignacio Pena                 $11.00   65.10   $   10.00         $   138.05   $    138.05
  12/8/2019 Ignacio Pena                 $11.00   77.77   $   10.00         $   207.72   $    207.72
 12/15/2019 Ignacio Pena                 $11.00   78.10   $   10.00         $   209.55   $    209.55
 12/22/2019 Ignacio Pena                 $11.00   78.02   $   10.00         $   209.09   $    209.09
 12/29/2019 Ignacio Pena                 $11.00   59.13   $   10.00         $   105.23   $    105.23
   1/5/2020 Ignacio Pena                 $11.00   68.57   $   11.00         $   157.12   $    157.12
  1/12/2020 Ignacio Pena                 $11.00   78.73   $   11.00         $   213.03   $    213.03



                                           257
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 259 of 683 PageID: 1106
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                       Name                          Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

 1/19/2020 Ignacio Pena                        $11.00   79.62   $   11.00         $   217.89   $    217.89
 1/26/2020 Ignacio Pena                        $11.00   78.23   $   11.00         $   210.28   $    210.28
 6/24/2018 I-God Riley                          $9.50   46.88   $    8.60         $    32.70   $     32.70
  7/1/2018 I-God Riley                          $9.50   49.78   $    8.60         $    46.47   $     46.47
  7/8/2018 I-God Riley                          $9.50   46.38   $    8.60         $    30.32   $     30.32
 7/15/2018 I-God Riley                          $9.50   48.05   $    8.60         $    38.24   $     38.24
 7/22/2018 I-God Riley                          $9.50   40.92   $    8.60         $     4.35   $      4.35
 7/29/2018 I-God Riley                          $9.50   44.92   $    8.60         $    23.35   $     23.35
  8/5/2018 I-God Riley                          $9.50   51.45   $    8.60         $    54.39   $     54.39
 8/12/2018 I-God Riley                          $9.50   57.33   $    8.60         $    82.33   $     82.33
 8/19/2018 I-God Riley                          $9.50   54.20   $    8.60         $    67.45   $     67.45
 8/26/2018 I-God Riley                          $9.50   49.05   $    8.60         $    42.99   $     42.99
 7/22/2018 Inasio Perdomo                       $9.50   69.70   $    8.60         $   141.08   $    141.08
 7/29/2018 Inasio Perdomo                       $9.50   68.80   $    8.60         $   136.80   $    136.80
  8/5/2018 Inasio Perdomo                       $9.50   69.12   $    8.60         $   138.30   $    138.30
 8/12/2018 Inasio Perdomo                       $9.50   68.80   $    8.60         $   136.80   $    136.80
 8/19/2018 Inasio Perdomo                       $9.50   69.72   $    8.60         $   141.15   $    141.15
 8/26/2018 Inasio Perdomo                       $9.50   69.38   $    8.60         $   139.57   $    139.57
  9/2/2018 Inasio Perdomo                       $9.50   60.85   $    8.60         $    99.04   $     99.04
 3/10/2019 Irvin Velasquez - New Cars          $12.00   54.83   $    8.85         $    89.00   $     89.00
 3/17/2019 Irvin Velasquez - New Cars          $12.00   65.85   $    8.85         $   155.10   $    155.10
 3/24/2019 Irvin Velasquez - New Cars          $12.00   68.65   $    8.85         $   171.90   $    171.90
 3/31/2019 Irvin Velasquez - New Cars          $12.00   67.75   $    8.85         $   166.50   $    166.50
  4/7/2019 Irvin Velasquez - New Cars          $12.00   66.05   $    8.85         $   156.30   $    156.30
 4/14/2019 Irvin Velasquez - New Cars          $12.00   66.45   $    8.85         $   158.70   $    158.70
 4/21/2019 Irvin Velasquez - New Cars          $12.00   66.28   $    8.85         $   157.70   $    157.70
 4/28/2019 Irvin Velasquez - New Cars          $12.00   60.57   $    8.85         $   123.40   $    123.40
  5/5/2019 Irvin Velasquez - New Cars          $12.00   64.80   $    8.85         $   148.80   $    148.80
 5/12/2019 Irvin Velasquez - New Cars          $12.00   62.70   $    8.85         $   136.20   $    136.20
 5/19/2019 Irvin Velasquez - New Cars          $12.00   67.02   $    8.85         $   162.10   $    162.10
 5/26/2019 Irvin Velasquez - New Cars          $12.00   71.33   $    8.85         $   188.00   $    188.00
  6/2/2019 Irvin Velasquez - New Cars          $12.00   64.55   $    8.85         $   147.30   $    147.30
  6/9/2019 Irvin Velasquez - New Cars          $12.00   67.30   $    8.85         $   163.80   $    163.80
 6/16/2019 Irvin Velasquez - New Cars          $12.00   62.50   $    8.85         $   135.00   $    135.00
 6/23/2019 Irvin Velasquez - New Cars          $12.00   53.63   $    8.85         $    81.80   $     81.80
 6/30/2019 Irvin Velasquez - New Cars          $12.00   66.87   $   10.00         $   161.20   $    161.20
  7/7/2019 Irvin Velasquez - New Cars          $12.00   66.65   $   10.00         $   159.90   $    159.90
 7/14/2019 Irvin Velasquez - New Cars          $12.00   63.50   $   10.00         $   141.00   $    141.00
 7/21/2019 Irvin Velasquez - New Cars          $12.00   64.78   $   10.00         $   148.70   $    148.70
 7/28/2019 Irvin Velasquez - New Cars          $12.00   64.42   $   10.00         $   146.50   $    146.50
  8/4/2019 Irvin Velasquez - New Cars          $12.00   65.57   $   10.00         $   153.40   $    153.40
 8/11/2019 Irvin Velasquez - New Cars          $12.00   65.00   $   10.00         $   150.00   $    150.00
 8/18/2019 Irvin Velasquez - New Cars          $12.00   62.63   $   10.00         $   135.80   $    135.80
 8/25/2019 Irvin Velasquez - New Cars          $12.00   63.70   $   10.00         $   142.20   $    142.20
  9/1/2019 Irvin Velasquez - New Cars          $12.00   65.43   $   10.00         $   152.60   $    152.60
  9/8/2019 Irvin Velasquez - New Cars          $12.00   65.83   $   10.00         $   155.00   $    155.00
 9/15/2019 Irvin Velasquez - New Cars          $12.00   65.47   $   10.00         $   152.80   $    152.80
 9/22/2019 Irvin Velasquez - New Cars          $12.00   65.67   $   10.00         $   154.00   $    154.00
 9/29/2019 Irvin Velasquez - New Cars          $12.00   63.63   $   10.00         $   141.80   $    141.80
 10/6/2019 Irvin Velasquez - New Cars          $12.00   60.55   $   10.00         $   123.30   $    123.30



                                                 258
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 260 of 683 PageID: 1107
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                        Name                          Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

 10/13/2019 Irvin Velasquez - New Cars          $12.00   62.77   $   10.00         $   136.60   $    136.60
 10/20/2019 Irvin Velasquez - New Cars          $12.00   58.75   $   10.00         $   112.50   $    112.50
 10/27/2019 Irvin Velasquez - New Cars          $12.00   61.38   $   10.00         $   128.30   $    128.30
  11/3/2019 Irvin Velasquez - New Cars          $12.00   65.03   $   10.00         $   150.20   $    150.20
 11/10/2019 Irvin Velasquez - New Cars          $12.00   61.37   $   10.00         $   128.20   $    128.20
 11/24/2019 Irvin Velasquez - New Cars          $12.00   64.13   $   10.00         $   144.80   $    144.80
  12/1/2019 Irvin Velasquez - New Cars          $12.00   56.88   $   10.00         $   101.30   $    101.30
  12/8/2019 Irvin Velasquez - New Cars          $12.00   65.22   $   10.00         $   151.30   $    151.30
 12/15/2019 Irvin Velasquez - New Cars          $12.00   68.40   $   10.00         $   170.40   $    170.40
 12/22/2019 Irvin Velasquez - New Cars          $12.00   60.88   $   10.00         $   125.30   $    125.30
 12/29/2019 Irvin Velasquez - New Cars          $12.00   51.13   $   10.00         $    66.80   $     66.80
   1/5/2020 Irvin Velasquez - New Cars          $12.00   57.58   $   11.00         $   105.50   $    105.50
  1/12/2020 Irvin Velasquez - New Cars          $12.00   60.68   $   11.00         $   124.10   $    124.10
  1/19/2020 Irvin Velasquez - New Cars          $12.00   64.05   $   11.00         $   144.30   $    144.30
  1/26/2020 Irvin Velasquez - New Cars          $12.00   65.98   $   11.00         $   155.90   $    155.90
  6/25/2017 Isaac Morales Barranco              $10.00   72.63   $    8.44         $   163.17   $    163.17
   7/2/2017 Isaac Morales Barranco              $10.00   73.23   $    8.44         $   166.17   $    166.17
   7/9/2017 Isaac Morales Barranco              $10.00   69.30   $    8.44         $   146.50   $    146.50
  7/16/2017 Isaac Morales Barranco              $10.00   70.20   $    8.44         $   151.00   $    151.00
  7/23/2017 Isaac Morales Barranco              $10.00   67.53   $    8.44         $   137.67   $    137.67
  7/30/2017 Isaac Morales Barranco              $10.00   72.55   $    8.44         $   162.75   $    162.75
   8/6/2017 Isaac Morales Barranco              $10.00   71.52   $    8.44         $   157.58   $    157.58
  8/13/2017 Isaac Morales Barranco              $10.00   71.53   $    8.44         $   157.67   $    157.67
  8/20/2017 Isaac Morales Barranco              $10.00   69.27   $    8.44         $   146.33   $    146.33
  8/27/2017 Isaac Morales Barranco              $10.00   71.90   $    8.44         $   159.50   $    159.50
   9/3/2017 Isaac Morales Barranco              $10.00   75.20   $    8.44         $   176.00   $    176.00
  9/10/2017 Isaac Morales Barranco              $10.00   71.83   $    8.44         $   159.17   $    159.17
  9/17/2017 Isaac Morales Barranco              $10.00   73.32   $    8.44         $   166.58   $    166.58
  9/24/2017 Isaac Morales Barranco              $10.00   70.68   $    8.44         $   153.42   $    153.42
  10/1/2017 Isaac Morales Barranco              $10.00   72.72   $    8.44         $   163.58   $    163.58
  10/8/2017 Isaac Morales Barranco              $10.00   73.73   $    8.44         $   168.67   $    168.67
 10/15/2017 Isaac Morales Barranco              $10.00   72.62   $    8.44         $   163.08   $    163.08
 10/22/2017 Isaac Morales Barranco              $10.00   72.32   $    8.44         $   161.58   $    161.58
 10/29/2017 Isaac Morales Barranco              $10.00   71.60   $    8.44         $   158.00   $    158.00
  11/5/2017 Isaac Morales Barranco              $10.00   71.18   $    8.44         $   155.92   $    155.92
 11/12/2017 Isaac Morales Barranco              $10.00   61.93   $    8.44         $   109.67   $    109.67
 11/19/2017 Isaac Morales Barranco              $10.00   62.53   $    8.44         $   112.67   $    112.67
 11/26/2017 Isaac Morales Barranco              $10.00   60.70   $    8.44         $   103.50   $    103.50
  12/3/2017 Isaac Morales Barranco              $10.00   62.90   $    8.44         $   114.50   $    114.50
 12/10/2017 Isaac Morales Barranco              $10.00   71.72   $    8.44         $   158.58   $    158.58
 12/17/2017 Isaac Morales Barranco              $10.00   71.63   $    8.44         $   158.17   $    158.17
 12/24/2017 Isaac Morales Barranco              $10.00   71.82   $    8.44         $   159.08   $    159.08
 12/31/2017 Isaac Morales Barranco              $10.00   60.15   $    8.44         $   100.75   $    100.75
   1/7/2018 Isaac Morales Barranco              $10.00   43.72   $    8.60         $    18.58   $     18.58
  1/14/2018 Isaac Morales Barranco              $10.00   72.48   $    8.60         $   162.42   $    162.42
  1/21/2018 Isaac Morales Barranco              $10.00   72.50   $    8.60         $   162.50   $    162.50
  1/28/2018 Isaac Morales Barranco              $10.00   70.83   $    8.60         $   154.17   $    154.17
   2/4/2018 Isaac Morales Barranco              $10.00   63.92   $    8.60         $   119.58   $    119.58
  2/11/2018 Isaac Morales Barranco              $10.00   61.32   $    8.60         $   106.58   $    106.58
  2/18/2018 Isaac Morales Barranco              $10.00   62.43   $    8.60         $   112.17   $    112.17



                                                  259
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 261 of 683 PageID: 1108
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

 2/25/2018 Isaac Morales Barranco           $10.00   69.53   $   8.60          $   147.67   $    147.67
  3/4/2018 Isaac Morales Barranco           $10.00   72.08   $   8.60          $   160.42   $    160.42
 3/25/2018 Isaac Morales Barranco           $10.00   69.27   $   8.60          $   146.33   $    146.33
  4/1/2018 Isaac Morales Barranco           $10.00   73.02   $   8.60          $   165.08   $    165.08
  4/8/2018 Isaac Morales Barranco           $10.00   71.87   $   8.60          $   159.33   $    159.33
 4/15/2018 Isaac Morales Barranco           $10.00   71.72   $   8.60          $   158.58   $    158.58
 4/22/2018 Isaac Morales Barranco           $10.00   71.53   $   8.60          $   157.67   $    157.67
 4/29/2018 Isaac Morales Barranco           $10.00   72.52   $   8.60          $   162.58   $    162.58
  5/6/2018 Isaac Morales Barranco           $10.00   69.95   $   8.60          $   149.75   $    149.75
 5/13/2018 Isaac Morales Barranco           $10.00   73.12   $   8.60          $   165.58   $    165.58
 5/20/2018 Isaac Morales Barranco           $10.00   71.93   $   8.60          $   159.67   $    159.67
 5/27/2018 Isaac Morales Barranco           $10.00   72.35   $   8.60          $   161.75   $    161.75
  6/3/2018 Isaac Morales Barranco           $10.00   69.70   $   8.60          $   148.50   $    148.50
 6/10/2018 Isaac Morales Barranco           $10.00   73.47   $   8.60          $   167.33   $    167.33
 6/17/2018 Isaac Morales Barranco           $10.00   72.20   $   8.60          $   161.00   $    161.00
 6/24/2018 Isaac Morales Barranco           $10.00   73.43   $   8.60          $   167.17   $    167.17
  7/1/2018 Isaac Morales Barranco           $10.00   62.02   $   8.60          $   110.08   $    110.08
  7/8/2018 Isaac Morales Barranco           $10.00   69.13   $   8.60          $   145.67   $    145.67
  2/5/2017 Isael Cueto                      $10.50   57.00   $   8.44          $    89.25   $     89.25
 2/12/2017 Isael Cueto                      $10.50   45.93   $   8.44          $    31.15   $     31.15
 2/19/2017 Isael Cueto                      $10.50   56.05   $   8.44          $    84.26   $     84.26
 2/26/2017 Isael Cueto                      $10.50   55.93   $   8.44          $    83.65   $     83.65
  3/5/2017 Isael Cueto                      $10.50   55.30   $   8.44          $    80.33   $     80.33
 3/12/2017 Isael Cueto                      $10.50   57.37   $   8.44          $    91.18   $     91.18
 3/19/2017 Isael Cueto                      $10.50   47.55   $   8.44          $    39.64   $     39.64
 3/26/2017 Isael Cueto                      $10.50   57.38   $   8.44          $    91.26   $     91.26
  4/2/2017 Isael Cueto                      $10.50   57.58   $   8.44          $    92.31   $     92.31
  4/9/2017 Isael Cueto                      $10.50   57.52   $   8.44          $    91.96   $     91.96
 4/16/2017 Isael Cueto                      $10.50   57.08   $   8.44          $    89.69   $     89.69
 4/23/2017 Isael Cueto                      $10.50   56.97   $   8.44          $    89.08   $     89.08
 4/30/2017 Isael Cueto                      $10.50   58.20   $   8.44          $    95.55   $     95.55
  5/7/2017 Isael Cueto                      $10.50   56.43   $   8.44          $    86.28   $     86.28
 5/14/2017 Isael Cueto                      $10.50   56.32   $   8.44          $    85.66   $     85.66
 5/21/2017 Isael Cueto                      $10.50   56.98   $   8.44          $    89.16   $     89.16
 5/28/2017 Isael Cueto                      $10.50   57.53   $   8.44          $    92.05   $     92.05
  6/4/2017 Isael Cueto                      $10.50   52.38   $   8.44          $    65.01   $     65.01
 6/11/2017 Isael Cueto                      $10.50   56.80   $   8.44          $    88.20   $     88.20
 6/18/2017 Isael Cueto                      $10.50   57.90   $   8.44          $    93.98   $     93.98
 6/25/2017 Isael Cueto                      $10.50   57.27   $   8.44          $    90.65   $     90.65
  7/2/2017 Isael Cueto                      $10.50   57.95   $   8.44          $    94.24   $     94.24
  7/9/2017 Isael Cueto                      $10.50   47.97   $   8.44          $    41.83   $     41.83
 7/16/2017 Isael Cueto                      $10.50   50.00   $   8.44          $    52.50   $     52.50
 7/23/2017 Isael Cueto                      $10.50   57.28   $   8.44          $    90.74   $     90.74
 7/30/2017 Isael Cueto                      $10.50   57.38   $   8.44          $    91.26   $     91.26
  8/6/2017 Isael Cueto                      $10.50   57.47   $   8.44          $    91.70   $     91.70
 8/13/2017 Isael Cueto                      $10.50   55.90   $   8.44          $    83.48   $     83.48
 8/20/2017 Isael Cueto                      $10.50   57.27   $   8.44          $    90.65   $     90.65
 8/27/2017 Isael Cueto                      $10.50   56.23   $   8.44          $    85.23   $     85.23
  9/3/2017 Isael Cueto                      $10.50   58.17   $   8.44          $    95.38   $     95.38
 9/10/2017 Isael Cueto                      $10.50   51.52   $   8.44          $    60.46   $     60.46



                                              260
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 262 of 683 PageID: 1109
                                         Exhibit 2
                                 New Jersey Computations


   Week                                                 State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
  Ending                  Name                        Minumum Regular    Half-Time Overtime Back
                                         Rate Week
   Date                                                 Wage  Rate Due     Due       Wages Due

  9/17/2017 Isael Cueto                 $10.50   56.48   $   8.44          $    86.54   $     86.54
  9/24/2017 Isael Cueto                 $10.50   55.88   $   8.44          $    83.39   $     83.39
  10/1/2017 Isael Cueto                 $10.50   56.70   $   8.44          $    87.68   $     87.68
  10/8/2017 Isael Cueto                 $10.50   55.28   $   8.44          $    80.24   $     80.24
 10/15/2017 Isael Cueto                 $10.50   56.08   $   8.44          $    84.44   $     84.44
 10/22/2017 Isael Cueto                 $10.50   56.88   $   8.44          $    88.64   $     88.64
 10/29/2017 Isael Cueto                 $10.50   55.65   $   8.44          $    82.16   $     82.16
  11/5/2017 Isael Cueto                 $10.50   57.28   $   8.44          $    90.74   $     90.74
 11/12/2017 Isael Cueto                 $10.50   57.63   $   8.44          $    92.58   $     92.58
 11/19/2017 Isael Cueto                 $10.50   57.55   $   8.44          $    92.14   $     92.14
 11/26/2017 Isael Cueto                 $10.50   47.05   $   8.44          $    37.01   $     37.01
  12/3/2017 Isael Cueto                 $10.50   56.88   $   8.44          $    88.64   $     88.64
 12/10/2017 Isael Cueto                 $10.50   56.78   $   8.44          $    88.11   $     88.11
 12/17/2017 Isael Cueto                 $10.50   57.10   $   8.44          $    89.78   $     89.78
 12/24/2017 Isael Cueto                 $10.50   58.25   $   8.44          $    95.81   $     95.81
 12/31/2017 Isael Cueto                 $10.50   48.10   $   8.44          $    42.53   $     42.53
   1/7/2018 Isael Cueto                 $10.50   45.42   $   8.60          $    28.44   $     28.44
  1/14/2018 Isael Cueto                 $10.50   58.10   $   8.60          $    95.03   $     95.03
  1/21/2018 Isael Cueto                 $10.50   58.05   $   8.60          $    94.76   $     94.76
  1/28/2018 Isael Cueto                 $10.50   56.43   $   8.60          $    86.28   $     86.28
   2/4/2018 Isael Cueto                 $10.50   56.17   $   8.60          $    84.88   $     84.88
  2/11/2018 Isael Cueto                 $10.50   56.10   $   8.60          $    84.53   $     84.53
  2/18/2018 Isael Cueto                 $10.50   57.57   $   8.60          $    92.23   $     92.23
  2/25/2018 Isael Cueto                 $10.50   56.48   $   8.60          $    86.54   $     86.54
   3/4/2018 Isael Cueto                 $10.50   55.52   $   8.60          $    81.46   $     81.46
  3/25/2018 Isael Cueto                 $10.50   50.27   $   8.60          $    53.90   $     53.90
   4/1/2018 Isael Cueto                 $10.50   51.15   $   8.60          $    58.54   $     58.54
   4/8/2018 Isael Cueto                 $10.50   52.83   $   8.60          $    67.38   $     67.38
  4/15/2018 Isael Cueto                 $10.50   53.20   $   8.60          $    69.30   $     69.30
  4/22/2018 Isael Cueto                 $10.50   53.30   $   8.60          $    69.83   $     69.83
  4/29/2018 Isael Cueto                 $10.50   55.05   $   8.60          $    79.01   $     79.01
   5/6/2018 Isael Cueto                 $10.50   52.68   $   8.60          $    66.59   $     66.59
  5/13/2018 Isael Cueto                 $10.50   54.82   $   8.60          $    77.79   $     77.79
  5/20/2018 Isael Cueto                 $10.50   56.88   $   8.60          $    88.64   $     88.64
  5/27/2018 Isael Cueto                 $10.50   58.88   $   8.60          $    99.14   $     99.14
   6/3/2018 Isael Cueto                 $10.50   52.10   $   8.60          $    63.53   $     63.53
  6/10/2018 Isael Cueto                 $10.50   56.37   $   8.60          $    85.93   $     85.93
  6/17/2018 Isael Cueto                 $10.50   56.75   $   8.60          $    87.94   $     87.94
  6/24/2018 Isael Cueto                 $10.50   55.13   $   8.60          $    79.45   $     79.45
   7/1/2018 Isael Cueto                 $10.50   58.03   $   8.60          $    94.68   $     94.68
   7/8/2018 Isael Cueto                 $10.50   46.22   $   8.60          $    32.64   $     32.64
  7/15/2018 Isael Cueto                 $10.50   57.18   $   8.60          $    90.21   $     90.21
  7/22/2018 Isael Cueto                 $10.50   50.50   $   8.60          $    55.13   $     55.13
   8/5/2018 Isael Cueto                 $10.50   55.28   $   8.60          $    80.24   $     80.24
  8/12/2018 Isael Cueto                 $10.50   55.95   $   8.60          $    83.74   $     83.74
  8/19/2018 Isael Cueto                 $10.50   50.30   $   8.60          $    54.08   $     54.08
  8/26/2018 Isael Cueto                 $10.50   59.70   $   8.60          $   103.43   $    103.43
   9/2/2018 Isael Cueto                 $10.50   58.28   $   8.60          $    95.99   $     95.99
   9/9/2018 Isael Cueto                 $10.50   46.72   $   8.60          $    35.26   $     35.26
  9/16/2018 Isael Cueto                 $10.50   45.07   $   8.60          $    26.60   $     26.60



                                          261
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 263 of 683 PageID: 1110
                                         Exhibit 2
                                 New Jersey Computations


   Week                                                 State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
  Ending                  Name                        Minumum Regular    Half-Time Overtime Back
                                         Rate Week
   Date                                                 Wage  Rate Due     Due       Wages Due

  9/23/2018 Isael Cueto                 $10.50   54.27   $    8.60         $    74.90   $     74.90
  10/7/2018 Isael Cueto                 $10.50   54.60   $    8.60         $    76.65   $     76.65
 10/14/2018 Isael Cueto                 $10.50   55.95   $    8.60         $    83.74   $     83.74
 10/21/2018 Isael Cueto                 $10.50   56.62   $    8.60         $    87.24   $     87.24
 10/28/2018 Isael Cueto                 $10.50   56.12   $    8.60         $    84.61   $     84.61
  11/4/2018 Isael Cueto                 $10.50   40.73   $    8.60         $     3.85   $      3.85
 11/11/2018 Isael Cueto                 $10.50   50.20   $    8.60         $    53.55   $     53.55
 11/18/2018 Isael Cueto                 $10.50   53.35   $    8.60         $    70.09   $     70.09
  12/2/2018 Isael Cueto                 $10.50   57.12   $    8.60         $    89.86   $     89.86
  12/9/2018 Isael Cueto                 $10.50   56.85   $    8.60         $    88.46   $     88.46
 12/16/2018 Isael Cueto                 $10.50   58.38   $    8.60         $    96.51   $     96.51
 12/23/2018 Isael Cueto                 $10.50   55.62   $    8.60         $    81.99   $     81.99
 12/30/2018 Isael Cueto                 $10.50   43.30   $    8.60         $    17.33   $     17.33
   1/6/2019 Isael Cueto                 $10.50   42.63   $    8.85         $    13.83   $     13.83
  1/13/2019 Isael Cueto                 $10.50   57.77   $    8.85         $    93.28   $     93.28
  1/20/2019 Isael Cueto                 $10.50   46.07   $    8.85         $    31.85   $     31.85
   2/3/2019 Isael Cueto                 $10.50   56.07   $    8.85         $    84.35   $     84.35
  2/10/2019 Isael Cueto                 $10.50   55.68   $    8.85         $    82.34   $     82.34
  2/17/2019 Isael Cueto                 $10.50   56.50   $    8.85         $    86.63   $     86.63
  2/24/2019 Isael Cueto                 $10.50   55.73   $    8.85         $    82.60   $     82.60
  3/10/2019 Isael Cueto                 $10.50   57.23   $    8.85         $    90.48   $     90.48
  3/17/2019 Isael Cueto                 $10.50   57.63   $    8.85         $    92.58   $     92.58
  3/24/2019 Isael Cueto                 $10.50   54.65   $    8.85         $    76.91   $     76.91
  3/31/2019 Isael Cueto                 $10.50   46.10   $    8.85         $    32.03   $     32.03
   4/7/2019 Isael Cueto                 $10.50   45.73   $    8.85         $    30.10   $     30.10
  4/14/2019 Isael Cueto                 $10.50   54.73   $    8.85         $    77.35   $     77.35
  4/21/2019 Isael Cueto                 $10.50   53.47   $    8.85         $    70.70   $     70.70
  4/28/2019 Isael Cueto                 $10.50   55.15   $    8.85         $    79.54   $     79.54
   5/5/2019 Isael Cueto                 $10.50   57.40   $    8.85         $    91.35   $     91.35
  5/12/2019 Isael Cueto                 $10.50   57.25   $    8.85         $    90.56   $     90.56
  5/19/2019 Isael Cueto                 $10.50   58.08   $    8.85         $    94.94   $     94.94
  5/26/2019 Isael Cueto                 $10.50   59.88   $    8.85         $   104.39   $    104.39
   6/2/2019 Isael Cueto                 $10.50   46.62   $    8.85         $    34.74   $     34.74
   6/9/2019 Isael Cueto                 $10.50   57.90   $    8.85         $    93.98   $     93.98
  6/16/2019 Isael Cueto                 $10.50   47.13   $    8.85         $    37.45   $     37.45
  6/23/2019 Isael Cueto                 $10.50   45.38   $    8.85         $    28.26   $     28.26
  6/30/2019 Isael Cueto                 $10.50   58.20   $   10.00         $    95.55   $     95.55
   7/7/2019 Isael Cueto                 $11.00   46.03   $   10.00         $    33.18   $     33.18
  7/14/2019 Isael Cueto                 $11.00   57.12   $   10.00         $    94.14   $     94.14
  7/21/2019 Isael Cueto                 $11.00   57.45   $   10.00         $    95.98   $     95.98
  7/28/2019 Isael Cueto                 $11.00   56.88   $   10.00         $    92.86   $     92.86
   8/4/2019 Isael Cueto                 $11.00   56.00   $   10.00         $    88.00   $     88.00
  8/11/2019 Isael Cueto                 $11.00   56.62   $   10.00         $    91.39   $     91.39
  8/18/2019 Isael Cueto                 $11.00   57.03   $   10.00         $    93.68   $     93.68
  8/25/2019 Isael Cueto                 $11.00   57.58   $   10.00         $    96.71   $     96.71
   9/1/2019 Isael Cueto                 $11.00   58.15   $   10.00         $    99.83   $     99.83
   9/8/2019 Isael Cueto                 $11.00   46.55   $   10.00         $    36.03   $     36.03
  9/15/2019 Isael Cueto                 $11.00   56.95   $   10.00         $    93.23   $     93.23
  9/22/2019 Isael Cueto                 $11.00   57.87   $   10.00         $    98.27   $     98.27
  9/29/2019 Isael Cueto                 $11.00   57.75   $   10.00         $    97.63   $     97.63



                                          262
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 264 of 683 PageID: 1111
                                                  Exhibit 2
                                          New Jersey Computations


   Week                                                          State Section 7: Section 7: Total Section 7
                                                 Hourly Hours/
  Ending                        Name                           Minumum Regular    Half-Time Overtime Back
                                                  Rate Week
   Date                                                          Wage  Rate Due     Due       Wages Due

  10/6/2019 Isael Cueto                          $11.00   50.63   $   10.00               $    58.48   $    58.48
 10/13/2019 Isael Cueto                          $11.00   56.45   $   10.00               $    90.48   $    90.48
 10/20/2019 Isael Cueto                          $11.00   57.37   $   10.00               $    95.52   $    95.52
 10/27/2019 Isael Cueto                          $11.00   57.33   $   10.00               $    95.33   $    95.33
  11/3/2019 Isael Cueto                          $11.00   54.67   $   10.00               $    80.67   $    80.67
 11/10/2019 Isael Cueto                          $11.00   57.65   $   10.00               $    97.08   $    97.08
 11/17/2019 Isael Cueto                          $11.00   56.72   $   10.00               $    91.94   $    91.94
 11/24/2019 Isael Cueto                          $11.00   57.43   $   10.00               $    95.88   $    95.88
  12/1/2019 Isael Cueto                          $11.00   46.67   $   10.00               $    36.67   $    36.67
  12/8/2019 Isael Cueto                          $11.00   56.52   $   10.00               $    90.84   $    90.84
 12/15/2019 Isael Cueto                          $11.00   56.18   $   10.00               $    89.01   $    89.01
 12/22/2019 Isael Cueto                          $11.00   55.95   $   10.00               $    87.73   $    87.73
 12/29/2019 Isael Cueto                          $11.00   41.13   $   10.00               $     6.23   $     6.23
   1/5/2020 Isael Cueto                          $11.00   41.83   $   11.00               $    10.08   $    10.08
  1/12/2020 Isael Cueto                          $11.00   48.77   $   11.00               $    48.22   $    48.22
  1/19/2020 Isael Cueto                          $11.00   52.50   $   11.00               $    68.75   $    68.75
  1/26/2020 Isael Cueto                          $11.00   51.92   $   11.00               $    65.54   $    65.54
  1/26/2020 Isai Jonathan Joaquin Lopes          $10.00   71.00   $   11.00   $   71.00   $   170.50   $   241.50
   2/5/2017 Isidro Grullon                       $10.00   56.07   $    8.44               $    80.33   $    80.33
  2/12/2017 Isidro Grullon                       $10.00   40.08   $    8.44               $     0.42   $     0.42
  2/19/2017 Isidro Grullon                       $10.00   56.92   $    8.44               $    84.58   $    84.58
  3/26/2017 Isidro Grullon                       $10.00   55.07   $    8.44               $    75.33   $    75.33
  4/16/2017 Isidro Grullon                       $10.00   45.27   $    8.44               $    26.33   $    26.33
  4/23/2017 Isidro Grullon                       $10.00   52.60   $    8.44               $    63.00   $    63.00
   5/7/2017 Isidro Grullon                       $10.00   56.17   $    8.44               $    80.83   $    80.83
  5/14/2017 Isidro Grullon                       $10.00   57.28   $    8.44               $    86.42   $    86.42
  5/21/2017 Isidro Grullon                       $10.00   47.82   $    8.44               $    39.08   $    39.08
  5/28/2017 Isidro Grullon                       $10.00   47.27   $    8.44               $    36.33   $    36.33
  2/19/2017 Isidro Hernandez                      $9.50   50.62   $    8.44               $    50.43   $    50.43
  2/26/2017 Isidro Hernandez                      $9.50   44.72   $    8.44               $    22.40   $    22.40
   3/5/2017 Isidro Hernandez                      $9.50   51.05   $    8.44               $    52.49   $    52.49
  11/4/2018 Ismael Lopez                         $10.50   49.10   $    8.60               $    47.78   $    47.78
 11/11/2018 Ismael Lopez                         $10.50   45.30   $    8.60               $    27.83   $    27.83
 11/18/2018 Ismael Lopez                         $10.50   51.42   $    8.60               $    59.94   $    59.94
 11/25/2018 Ismael Lopez                         $10.50   55.37   $    8.60               $    80.68   $    80.68
  12/2/2018 Ismael Lopez                         $10.50   67.63   $    8.60               $   145.08   $   145.08
  12/9/2018 Ismael Lopez                         $10.50   58.13   $    8.60               $    95.20   $    95.20
  1/13/2019 Ismael Lopez                         $10.50   64.32   $    8.85               $   127.66   $   127.66
  1/20/2019 Ismael Lopez                         $10.50   64.15   $    8.85               $   126.79   $   126.79
  1/27/2019 Ismael Lopez                         $10.50   52.12   $    8.85               $    63.61   $    63.61
   2/3/2019 Ismael Lopez                         $10.50   67.90   $    8.85               $   146.48   $   146.48
  2/10/2019 Ismael Lopez                         $10.50   68.73   $    8.85               $   150.85   $   150.85
  2/17/2019 Ismael Lopez                         $10.50   66.33   $    8.85               $   138.25   $   138.25
  2/24/2019 Ismael Lopez                         $10.50   65.28   $    8.85               $   132.74   $   132.74
   3/3/2019 Ismael Lopez                         $10.50   64.98   $    8.85               $   131.16   $   131.16
  3/10/2019 Ismael Lopez                         $10.50   70.63   $    8.85               $   160.83   $   160.83
  3/17/2019 Ismael Lopez                         $10.50   71.90   $    8.85               $   167.48   $   167.48
  3/24/2019 Ismael Lopez                         $10.50   70.67   $    8.85               $   161.00   $   161.00
  3/31/2019 Ismael Lopez                         $10.50   65.93   $    8.85               $   136.15   $   136.15
   4/7/2019 Ismael Lopez                         $10.50   72.97   $    8.85               $   173.08   $   173.08



                                                   263
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 265 of 683 PageID: 1112
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  4/14/2019 Ismael Lopez                     $10.50   71.80   $    8.85         $   166.95   $    166.95
  4/21/2019 Ismael Lopez                     $10.50   66.43   $    8.85         $   138.78   $    138.78
  4/28/2019 Ismael Lopez                     $10.50   71.68   $    8.85         $   166.34   $    166.34
   5/5/2019 Ismael Lopez                     $10.50   72.60   $    8.85         $   171.15   $    171.15
  5/12/2019 Ismael Lopez                     $10.50   64.67   $    8.85         $   129.50   $    129.50
  5/19/2019 Ismael Lopez                     $10.50   72.13   $    8.85         $   168.70   $    168.70
  5/26/2019 Ismael Lopez                     $10.50   69.47   $    8.85         $   154.70   $    154.70
   6/2/2019 Ismael Lopez                     $10.50   63.90   $    8.85         $   125.48   $    125.48
   6/9/2019 Ismael Lopez                     $10.50   51.07   $    8.85         $    58.10   $     58.10
  6/16/2019 Ismael Lopez                     $10.50   59.05   $    8.85         $   100.01   $    100.01
  6/23/2019 Ismael Lopez                     $10.50   73.27   $    8.85         $   174.65   $    174.65
  6/30/2019 Ismael Lopez                     $10.50   73.73   $   10.00         $   177.10   $    177.10
   7/7/2019 Ismael Lopez                     $12.00   60.23   $   10.00         $   121.40   $    121.40
  7/14/2019 Ismael Lopez                     $12.00   72.62   $   10.00         $   195.70   $    195.70
  7/21/2019 Ismael Lopez                     $12.00   66.22   $   10.00         $   157.30   $    157.30
  7/28/2019 Ismael Lopez                     $12.00   72.72   $   10.00         $   196.30   $    196.30
   8/4/2019 Ismael Lopez                     $12.00   69.57   $   10.00         $   177.40   $    177.40
  8/11/2019 Ismael Lopez                     $12.00   71.93   $   10.00         $   191.60   $    191.60
  8/18/2019 Ismael Lopez                     $12.00   59.68   $   10.00         $   118.10   $    118.10
  8/25/2019 Ismael Lopez                     $12.00   59.75   $   10.00         $   118.50   $    118.50
   9/1/2019 Ismael Lopez                     $12.00   66.42   $   10.00         $   158.50   $    158.50
   9/8/2019 Ismael Lopez                     $12.00   67.67   $   10.00         $   166.00   $    166.00
  9/15/2019 Ismael Lopez                     $12.00   72.45   $   10.00         $   194.70   $    194.70
  9/22/2019 Ismael Lopez                     $12.00   70.00   $   10.00         $   180.00   $    180.00
  9/29/2019 Ismael Lopez                     $12.00   72.85   $   10.00         $   197.10   $    197.10
  10/6/2019 Ismael Lopez                     $12.00   71.95   $   10.00         $   191.70   $    191.70
 10/13/2019 Ismael Lopez                     $12.00   72.37   $   10.00         $   194.20   $    194.20
 10/20/2019 Ismael Lopez                     $12.00   61.93   $   10.00         $   131.60   $    131.60
 10/27/2019 Ismael Lopez                     $12.00   61.30   $   10.00         $   127.80   $    127.80
  11/3/2019 Ismael Lopez                     $12.00   63.57   $   10.00         $   141.40   $    141.40
 11/10/2019 Ismael Lopez                     $12.00   61.45   $   10.00         $   128.70   $    128.70
 11/17/2019 Ismael Lopez                     $12.00   56.87   $   10.00         $   101.20   $    101.20
  12/1/2019 Ismael Lopez                     $12.00   40.93   $   10.00         $     5.60   $      5.60
  12/8/2019 Ismael Lopez                     $12.00   54.87   $   10.00         $    89.20   $     89.20
 12/15/2019 Ismael Lopez                     $12.00   69.28   $   10.00         $   175.70   $    175.70
 12/22/2019 Ismael Lopez                     $12.00   68.12   $   10.00         $   168.70   $    168.70
 12/29/2019 Ismael Lopez                     $12.00   48.07   $   10.00         $    48.40   $     48.40
   1/5/2020 Ismael Lopez                     $12.00   46.30   $   11.00         $    37.80   $     37.80
  1/12/2020 Ismael Lopez                     $12.00   66.65   $   11.00         $   159.90   $    159.90
  1/19/2020 Ismael Lopez                     $12.00   50.78   $   11.00         $    64.70   $     64.70
  1/26/2020 Ismael Lopez                     $12.00   69.72   $   11.00         $   178.30   $    178.30
  5/20/2018 Israel Gutierrez                 $10.00   59.00   $    8.60         $    95.00   $     95.00
  5/27/2018 Israel Gutierrez                 $10.00   45.83   $    8.60         $    29.17   $     29.17
   6/3/2018 Israel Gutierrez                 $10.00   43.97   $    8.60         $    19.83   $     19.83
  4/21/2019 Israel Yos Perez                 $10.50   59.32   $    8.85         $   101.41   $    101.41
  4/28/2019 Israel Yos Perez                 $10.50   61.97   $    8.85         $   115.33   $    115.33
   5/5/2019 Israel Yos Perez                 $10.50   67.82   $    8.85         $   146.04   $    146.04
  5/12/2019 Israel Yos Perez                 $10.50   61.05   $    8.85         $   110.51   $    110.51
  5/19/2019 Israel Yos Perez                 $10.50   67.08   $    8.85         $   142.19   $    142.19
  5/26/2019 Israel Yos Perez                 $10.50   70.60   $    8.85         $   160.65   $    160.65



                                               264
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 266 of 683 PageID: 1113
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

   6/2/2019 Israel Yos Perez                 $10.50   57.95   $    8.85         $    94.24   $     94.24
   6/9/2019 Israel Yos Perez                 $10.50   63.03   $    8.85         $   120.93   $    120.93
  6/16/2019 Israel Yos Perez                 $10.50   61.68   $    8.85         $   113.84   $    113.84
  6/23/2019 Israel Yos Perez                 $10.50   65.00   $    8.85         $   131.25   $    131.25
  6/30/2019 Israel Yos Perez                 $10.50   69.97   $   10.00         $   157.33   $    157.33
  7/14/2019 Israel Yos Perez                 $10.50   53.13   $   10.00         $    68.95   $     68.95
  8/18/2019 Israel Yos Perez                 $11.50   64.33   $   10.00         $   139.92   $    139.92
  8/25/2019 Israel Yos Perez                 $11.50   66.60   $   10.00         $   152.95   $    152.95
   9/1/2019 Israel Yos Perez                 $11.50   64.25   $   10.00         $   139.44   $    139.44
   9/8/2019 Israel Yos Perez                 $11.50   59.88   $   10.00         $   114.33   $    114.33
  9/15/2019 Israel Yos Perez                 $11.50   65.90   $   10.00         $   148.93   $    148.93
  9/22/2019 Israel Yos Perez                 $11.50   65.92   $   10.00         $   149.02   $    149.02
  9/29/2019 Israel Yos Perez                 $11.50   65.70   $   10.00         $   147.78   $    147.78
  10/6/2019 Israel Yos Perez                 $11.50   66.20   $   10.00         $   150.65   $    150.65
 10/13/2019 Israel Yos Perez                 $11.50   65.97   $   10.00         $   149.31   $    149.31
 10/20/2019 Israel Yos Perez                 $11.50   65.85   $   10.00         $   148.64   $    148.64
 10/27/2019 Israel Yos Perez                 $11.50   65.88   $   10.00         $   148.83   $    148.83
  11/3/2019 Israel Yos Perez                 $11.50   65.10   $   10.00         $   144.33   $    144.33
 11/10/2019 Israel Yos Perez                 $11.50   65.50   $   10.00         $   146.63   $    146.63
 11/17/2019 Israel Yos Perez                 $11.50   55.13   $   10.00         $    87.02   $     87.02
 11/24/2019 Israel Yos Perez                 $11.50   65.60   $   10.00         $   147.20   $    147.20
  12/1/2019 Israel Yos Perez                 $11.50   54.03   $   10.00         $    80.69   $     80.69
  12/8/2019 Israel Yos Perez                 $11.50   61.45   $   10.00         $   123.34   $    123.34
 12/15/2019 Israel Yos Perez                 $11.50   64.57   $   10.00         $   141.26   $    141.26
 12/22/2019 Israel Yos Perez                 $11.50   65.18   $   10.00         $   144.80   $    144.80
 12/29/2019 Israel Yos Perez                 $11.50   42.80   $   10.00         $    16.10   $     16.10
   1/5/2020 Israel Yos Perez                 $11.50   40.52   $   11.00         $     2.97   $      2.97
  1/12/2020 Israel Yos Perez                 $11.50   64.47   $   11.00         $   140.68   $    140.68
  1/19/2020 Israel Yos Perez                 $11.50   62.98   $   11.00         $   132.15   $    132.15
  1/26/2020 Israel Yos Perez                 $11.50   64.37   $   11.00         $   140.11   $    140.11
  1/20/2019 Ivan Fuentes                      $9.50   69.77   $    8.85         $   141.39   $    141.39
  1/27/2019 Ivan Fuentes                      $9.50   69.92   $    8.85         $   142.10   $    142.10
   2/3/2019 Ivan Fuentes                      $9.50   45.72   $    8.85         $    27.15   $     27.15
  2/10/2019 Ivan Fuentes                      $9.50   46.43   $    8.85         $    30.56   $     30.56
  2/17/2019 Ivan Fuentes                      $9.50   68.70   $    8.85         $   136.33   $    136.33
   3/3/2019 Ivan Fuentes                      $9.50   57.63   $    8.85         $    83.76   $     83.76
  3/10/2019 Ivan Fuentes                      $9.50   57.90   $    8.85         $    85.03   $     85.03
  3/17/2019 Ivan Fuentes                      $9.50   71.82   $    8.85         $   151.13   $    151.13
  3/31/2019 Ivan Fuentes                      $9.50   65.73   $    8.85         $   122.23   $    122.23
   4/7/2019 Ivan Fuentes                      $9.50   72.93   $    8.85         $   156.43   $    156.43
  4/14/2019 Ivan Fuentes                      $9.50   59.42   $    8.85         $    92.23   $     92.23
  4/21/2019 Ivan Fuentes                      $9.50   44.33   $    8.85         $    20.58   $     20.58
  4/28/2019 Ivan Fuentes                      $9.50   71.28   $    8.85         $   148.60   $    148.60
   5/5/2019 Ivan Fuentes                      $9.50   71.13   $    8.85         $   147.88   $    147.88
  5/12/2019 Ivan Fuentes                      $9.50   70.67   $    8.85         $   145.67   $    145.67
  5/19/2019 Ivan Fuentes                      $9.50   60.08   $    8.85         $    95.40   $     95.40
  5/26/2019 Ivan Fuentes                      $9.50   46.13   $    8.85         $    29.13   $     29.13
   6/2/2019 Ivan Fuentes                      $9.50   51.08   $    8.85         $    52.65   $     52.65
   6/9/2019 Ivan Fuentes                      $9.50   48.53   $    8.85         $    40.53   $     40.53
  6/16/2019 Ivan Fuentes                      $9.50   52.47   $    8.85         $    59.22   $     59.22



                                               265
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 267 of 683 PageID: 1114
                                          Exhibit 2
                                  New Jersey Computations


   Week                                                  State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
  Ending                   Name                        Minumum Regular    Half-Time Overtime Back
                                          Rate Week
   Date                                                  Wage  Rate Due     Due       Wages Due

  6/23/2019 Ivan Fuentes                  $9.50   54.92   $    8.85               $    70.85   $    70.85
  6/30/2019 Ivan Fuentes                  $9.50   57.90   $   10.00   $   28.95   $    89.50   $   118.45
   7/7/2019 Ivan Fuentes                  $9.50   44.02   $   10.00   $   22.01   $    20.08   $    42.09
  7/14/2019 Ivan Fuentes                  $9.50   56.95   $   10.00   $   28.48   $    84.75   $   113.23
  7/21/2019 Ivan Fuentes                  $9.50   56.68   $   10.00   $   28.34   $    83.42   $   111.76
  7/28/2019 Ivan Fuentes                  $9.50   56.90   $   10.00   $   28.45   $    84.50   $   112.95
   8/4/2019 Ivan Fuentes                  $9.50   58.32   $   10.00   $   29.16   $    91.58   $   120.74
  8/11/2019 Ivan Fuentes                  $9.50   57.55   $   10.00   $   28.78   $    87.75   $   116.53
  8/18/2019 Ivan Fuentes                  $9.50   47.72   $   10.00   $   23.86   $    38.58   $    62.44
  9/15/2019 Ivan Fuentes                  $9.50   43.82   $   10.00   $   21.91   $    19.08   $    40.99
  9/29/2019 Ivan Fuentes                  $9.50   54.25   $   10.00   $   27.13   $    71.25   $    98.38
  10/6/2019 Ivan Fuentes                  $9.50   57.90   $   10.00   $   28.95   $    89.50   $   118.45
 10/13/2019 Ivan Fuentes                  $9.50   55.20   $   10.00   $   27.60   $    76.00   $   103.60
 10/27/2019 Ivan Fuentes                  $9.50   48.63   $   10.00   $   24.32   $    43.17   $    67.48
 11/10/2019 Ivan Fuentes                  $9.50   50.40   $   10.00   $   25.20   $    52.00   $    77.20
 11/17/2019 Ivan Fuentes                  $9.50   41.50   $   10.00   $   20.75   $     7.50   $    28.25
 11/24/2019 Ivan Fuentes                  $9.50   40.12   $   10.00   $   20.06   $     0.58   $    20.64
 12/22/2019 Ivan Fuentes                  $9.50   41.97   $   10.00   $   20.98   $     9.83   $    30.82
   1/5/2020 Ivan Fuentes                  $9.50   40.67   $   11.00   $   61.00   $     3.67   $    64.67
  7/23/2017 Ivan Matos                    $9.50   46.02   $    8.44               $    28.58   $    28.58
  7/30/2017 Ivan Matos                    $9.50   71.03   $    8.44               $   147.41   $   147.41
   8/6/2017 Ivan Matos                    $9.50   69.15   $    8.44               $   138.46   $   138.46
  8/13/2017 Ivan Matos                    $9.50   71.92   $    8.44               $   151.60   $   151.60
  8/20/2017 Ivan Matos                    $9.50   69.33   $    8.44               $   139.33   $   139.33
  8/27/2017 Ivan Matos                    $9.50   70.63   $    8.44               $   145.51   $   145.51
   9/3/2017 Ivan Matos                    $9.50   66.87   $    8.44               $   127.62   $   127.62
  9/10/2017 Ivan Matos                    $9.50   59.97   $    8.44               $    94.84   $    94.84
  9/17/2017 Ivan Matos                    $9.50   68.37   $    8.44               $   134.74   $   134.74
  9/24/2017 Ivan Matos                    $9.50   66.85   $    8.44               $   127.54   $   127.54
  10/1/2017 Ivan Matos                    $9.50   63.30   $    8.44               $   110.68   $   110.68
  10/8/2017 Ivan Matos                    $9.50   55.67   $    8.44               $    74.42   $    74.42
 10/15/2017 Ivan Matos                    $9.50   49.42   $    8.44               $    44.73   $    44.73
  11/5/2017 Ivan Matos                    $9.50   62.25   $    8.44               $   105.69   $   105.69
 11/12/2017 Ivan Matos                    $9.50   73.07   $    8.44               $   157.07   $   157.07
 11/19/2017 Ivan Matos                    $9.50   74.75   $    8.44               $   165.06   $   165.06
 11/26/2017 Ivan Matos                    $9.50   48.03   $    8.44               $    38.16   $    38.16
  12/3/2017 Ivan Matos                    $9.50   66.78   $    8.44               $   127.22   $   127.22
 12/10/2017 Ivan Matos                    $9.50   60.82   $    8.44               $    98.88   $    98.88
 12/17/2017 Ivan Matos                    $9.50   62.13   $    8.44               $   105.13   $   105.13
 12/24/2017 Ivan Matos                    $9.50   59.42   $    8.44               $    92.23   $    92.23
 12/31/2017 Ivan Matos                   $10.00   49.70   $    8.44               $    48.50   $    48.50
  1/14/2018 Ivan Matos                   $10.00   44.57   $    8.60               $    22.83   $    22.83
  1/21/2018 Ivan Matos                   $10.00   47.23   $    8.60               $    36.17   $    36.17
  1/28/2018 Ivan Matos                   $10.00   57.17   $    8.60               $    85.83   $    85.83
   2/4/2018 Ivan Matos                   $10.00   58.63   $    8.60               $    93.17   $    93.17
  2/11/2018 Ivan Matos                   $10.00   56.57   $    8.60               $    82.83   $    82.83
  2/18/2018 Ivan Matos                   $10.00   58.28   $    8.60               $    91.42   $    91.42
  2/25/2018 Ivan Matos                   $10.00   57.10   $    8.60               $    85.50   $    85.50
   3/4/2018 Ivan Matos                   $10.00   58.10   $    8.60               $    90.50   $    90.50
  3/25/2018 Ivan Matos                   $10.00   55.40   $    8.60               $    77.00   $    77.00



                                           266
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 268 of 683 PageID: 1115
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

   4/1/2018 Ivan Matos                     $10.00   57.87   $    8.60         $    89.33   $     89.33
   4/8/2018 Ivan Matos                     $10.00   54.15   $    8.60         $    70.75   $     70.75
  4/15/2018 Ivan Matos                     $10.00   56.30   $    8.60         $    81.50   $     81.50
  4/22/2018 Ivan Matos                     $10.00   49.52   $    8.60         $    47.58   $     47.58
  4/29/2018 Ivan Matos                     $10.00   58.53   $    8.60         $    92.67   $     92.67
   5/6/2018 Ivan Matos                     $10.00   57.58   $    8.60         $    87.92   $     87.92
  5/13/2018 Ivan Matos                     $10.00   57.80   $    8.60         $    89.00   $     89.00
  5/20/2018 Ivan Matos                     $10.00   57.63   $    8.60         $    88.17   $     88.17
  5/27/2018 Ivan Matos                     $10.00   58.72   $    8.60         $    93.58   $     93.58
   6/3/2018 Ivan Matos                     $10.00   47.97   $    8.60         $    39.83   $     39.83
  6/10/2018 Ivan Matos                     $10.00   56.02   $    8.60         $    80.08   $     80.08
  6/17/2018 Ivan Matos                     $10.00   55.85   $    8.60         $    79.25   $     79.25
  6/24/2018 Ivan Matos                     $10.00   47.92   $    8.60         $    39.58   $     39.58
   7/1/2018 Ivan Matos                     $10.00   58.62   $    8.60         $    93.08   $     93.08
   7/8/2018 Ivan Matos                     $10.00   48.70   $    8.60         $    43.50   $     43.50
  7/15/2018 Ivan Matos                     $10.00   56.58   $    8.60         $    82.92   $     82.92
  7/22/2018 Ivan Matos                     $10.00   58.10   $    8.60         $    90.50   $     90.50
  7/29/2018 Ivan Matos                     $10.00   58.50   $    8.60         $    92.50   $     92.50
   8/5/2018 Ivan Matos                     $10.00   57.15   $    8.60         $    85.75   $     85.75
  8/12/2018 Ivan Matos                     $10.00   56.05   $    8.60         $    80.25   $     80.25
  8/19/2018 Ivan Matos                     $10.00   46.60   $    8.60         $    33.00   $     33.00
  8/26/2018 Ivan Matos                     $10.00   59.12   $    8.60         $    95.58   $     95.58
   9/2/2018 Ivan Matos                     $10.00   57.83   $    8.60         $    89.17   $     89.17
   9/9/2018 Ivan Matos                     $10.00   48.03   $    8.60         $    40.17   $     40.17
  9/16/2018 Ivan Matos                     $10.00   57.90   $    8.60         $    89.50   $     89.50
  9/23/2018 Ivan Matos                     $10.00   47.95   $    8.60         $    39.75   $     39.75
  9/30/2018 Ivan Matos                     $10.00   58.25   $    8.60         $    91.25   $     91.25
  10/7/2018 Ivan Matos                     $10.00   58.88   $    8.60         $    94.42   $     94.42
 10/14/2018 Ivan Matos                     $10.00   57.27   $    8.60         $    86.33   $     86.33
 10/21/2018 Ivan Matos                     $10.00   58.10   $    8.60         $    90.50   $     90.50
 10/28/2018 Ivan Matos                     $10.00   57.32   $    8.60         $    86.58   $     86.58
  11/4/2018 Ivan Matos                     $10.00   59.82   $    8.60         $    99.08   $     99.08
 11/11/2018 Ivan Matos                     $10.00   58.62   $    8.60         $    93.08   $     93.08
 11/18/2018 Ivan Matos                     $10.00   58.15   $    8.60         $    90.75   $     90.75
 11/25/2018 Ivan Matos                     $10.00   49.90   $    8.60         $    49.50   $     49.50
  12/2/2018 Ivan Matos                     $10.00   58.47   $    8.60         $    92.33   $     92.33
  12/9/2018 Ivan Matos                     $10.00   58.55   $    8.60         $    92.75   $     92.75
 12/16/2018 Ivan Matos                     $10.00   55.90   $    8.60         $    79.50   $     79.50
   1/6/2019 Ivan Matos                     $10.00   45.62   $    8.85         $    28.08   $     28.08
  1/13/2019 Ivan Matos                     $10.00   48.97   $    8.85         $    44.83   $     44.83
  1/19/2020 Ivan Paredes                   $11.00   59.53   $   11.00         $   107.43   $    107.43
  1/26/2020 Ivan Paredes                   $11.00   53.87   $   11.00         $    76.27   $     76.27
 10/20/2019 Ivan Perez Gil                 $12.00   75.72   $   10.00         $   214.30   $    214.30
 10/27/2019 Ivan Perez Gil                 $12.00   75.70   $   10.00         $   214.20   $    214.20
  11/3/2019 Ivan Perez Gil                 $12.00   75.00   $   10.00         $   210.00   $    210.00
 11/10/2019 Ivan Perez Gil                 $12.00   74.68   $   10.00         $   208.10   $    208.10
 11/17/2019 Ivan Perez Gil                 $12.00   74.10   $   10.00         $   204.60   $    204.60
 11/24/2019 Ivan Perez Gil                 $12.00   70.57   $   10.00         $   183.40   $    183.40
  12/1/2019 Ivan Perez Gil                 $12.00   45.28   $   10.00         $    31.70   $     31.70
  12/8/2019 Ivan Perez Gil                 $12.00   71.62   $   10.00         $   189.70   $    189.70



                                             267
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 269 of 683 PageID: 1116
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

 12/15/2019 Ivan Perez Gil                  $12.00   71.12   $   10.00         $   186.70   $    186.70
 12/22/2019 Ivan Perez Gil                  $12.00   53.97   $   10.00         $    83.80   $     83.80
 12/29/2019 Ivan Perez Gil                  $12.00   51.95   $   10.00         $    71.70   $     71.70
   1/5/2020 Ivan Perez Gil                  $12.00   57.15   $   11.00         $   102.90   $    102.90
  1/12/2020 Ivan Perez Gil                  $12.00   50.73   $   11.00         $    64.40   $     64.40
  2/12/2017 Izayah Irizarry                 $10.00   54.17   $    8.44         $    70.83   $     70.83
  2/19/2017 Izayah Irizarry                 $10.00   59.02   $    8.44         $    95.08   $     95.08
  2/26/2017 Izayah Irizarry                 $10.00   43.12   $    8.44         $    15.58   $     15.58
   3/5/2017 Izayah Irizarry                 $10.00   59.98   $    8.44         $    99.92   $     99.92
  3/12/2017 Izayah Irizarry                 $10.00   65.40   $    8.44         $   127.00   $    127.00
  3/19/2017 Izayah Irizarry                 $10.00   43.93   $    8.44         $    19.67   $     19.67
  3/26/2017 Izayah Irizarry                 $10.00   40.15   $    8.44         $     0.75   $      0.75
   4/2/2017 Izayah Irizarry                 $10.00   50.17   $    8.44         $    50.83   $     50.83
   4/9/2017 Izayah Irizarry                 $10.00   53.20   $    8.44         $    66.00   $     66.00
  4/23/2017 Izayah Irizarry                 $10.00   51.68   $    8.44         $    58.42   $     58.42
  5/26/2019 Jackson Barahona                 $8.85   46.90   $    8.85         $    30.53   $     30.53
  1/27/2019 Jacob Santos Chavez             $10.00   59.27   $    8.85         $    96.33   $     96.33
   2/3/2019 Jacob Santos Chavez             $10.00   58.93   $    8.85         $    94.67   $     94.67
  2/10/2019 Jacob Santos Chavez             $10.00   50.08   $    8.85         $    50.42   $     50.42
   2/5/2017 Jacobo Lozada                   $12.00   73.15   $    8.44         $   198.90   $    198.90
  2/12/2017 Jacobo Lozada                   $12.00   61.45   $    8.44         $   128.70   $    128.70
  2/19/2017 Jacobo Lozada                   $12.00   75.08   $    8.44         $   210.50   $    210.50
  2/26/2017 Jacobo Lozada                   $12.00   73.48   $    8.44         $   200.90   $    200.90
   3/5/2017 Jacobo Lozada                   $12.00   73.78   $    8.44         $   202.70   $    202.70
  3/12/2017 Jacobo Lozada                   $12.00   40.05   $    8.44         $     0.30   $      0.30
  3/19/2017 Jacobo Lozada                   $12.00   59.67   $    8.44         $   118.00   $    118.00
  3/26/2017 Jacobo Lozada                   $12.00   73.90   $    8.44         $   203.40   $    203.40
   4/2/2017 Jacobo Lozada                   $12.00   72.92   $    8.44         $   197.50   $    197.50
   4/9/2017 Jacobo Lozada                   $12.00   73.67   $    8.44         $   202.00   $    202.00
  4/16/2017 Jacobo Lozada                   $12.00   72.85   $    8.44         $   197.10   $    197.10
  4/23/2017 Jacobo Lozada                   $12.00   73.65   $    8.44         $   201.90   $    201.90
  4/30/2017 Jacobo Lozada                   $12.00   74.60   $    8.44         $   207.60   $    207.60
   5/7/2017 Jacobo Lozada                   $12.00   72.85   $    8.44         $   197.10   $    197.10
  5/14/2017 Jacobo Lozada                   $12.00   73.50   $    8.44         $   201.00   $    201.00
  5/21/2017 Jacobo Lozada                   $12.00   72.93   $    8.44         $   197.60   $    197.60
  5/28/2017 Jacobo Lozada                   $12.00   45.17   $    8.44         $    31.00   $     31.00
   6/4/2017 Jacobo Lozada                   $12.00   68.15   $    8.44         $   168.90   $    168.90
  6/11/2017 Jacobo Lozada                   $12.00   73.02   $    8.44         $   198.10   $    198.10
  6/18/2017 Jacobo Lozada                   $12.00   72.97   $    8.44         $   197.80   $    197.80
  6/25/2017 Jacobo Lozada                   $12.00   72.78   $    8.44         $   196.70   $    196.70
   7/2/2017 Jacobo Lozada                   $12.00   75.58   $    8.44         $   213.50   $    213.50
   7/9/2017 Jacobo Lozada                   $12.00   60.17   $    8.44         $   121.00   $    121.00
  7/16/2017 Jacobo Lozada                   $12.00   72.73   $    8.44         $   196.40   $    196.40
  7/23/2017 Jacobo Lozada                   $12.00   72.57   $    8.44         $   195.40   $    195.40
  7/30/2017 Jacobo Lozada                   $12.00   73.85   $    8.44         $   203.10   $    203.10
   8/6/2017 Jacobo Lozada                   $12.00   75.92   $    8.44         $   215.50   $    215.50
  8/13/2017 Jacobo Lozada                   $12.00   75.42   $    8.44         $   212.50   $    212.50
  8/20/2017 Jacobo Lozada                   $12.00   72.00   $    8.44         $   192.00   $    192.00
  8/27/2017 Jacobo Lozada                   $12.00   74.03   $    8.44         $   204.20   $    204.20
   9/3/2017 Jacobo Lozada                   $12.00   61.10   $    8.44         $   126.60   $    126.60



                                              268
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 270 of 683 PageID: 1117
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

  9/10/2017 Jacobo Lozada                 $12.00   68.37   $   8.44          $   170.20   $    170.20
  9/17/2017 Jacobo Lozada                 $12.00   74.82   $   8.44          $   208.90   $    208.90
  9/24/2017 Jacobo Lozada                 $12.00   74.67   $   8.44          $   208.00   $    208.00
  10/1/2017 Jacobo Lozada                 $12.00   77.82   $   8.44          $   226.90   $    226.90
  10/8/2017 Jacobo Lozada                 $12.00   75.63   $   8.44          $   213.80   $    213.80
 10/15/2017 Jacobo Lozada                 $12.00   76.40   $   8.44          $   218.40   $    218.40
 10/22/2017 Jacobo Lozada                 $12.00   74.57   $   8.44          $   207.40   $    207.40
 10/29/2017 Jacobo Lozada                 $12.00   78.12   $   8.44          $   228.70   $    228.70
  11/5/2017 Jacobo Lozada                 $12.00   77.50   $   8.44          $   225.00   $    225.00
 11/12/2017 Jacobo Lozada                 $12.00   77.52   $   8.44          $   225.10   $    225.10
 11/19/2017 Jacobo Lozada                 $12.00   79.38   $   8.44          $   236.30   $    236.30
 11/26/2017 Jacobo Lozada                 $12.00   62.25   $   8.44          $   133.50   $    133.50
  12/3/2017 Jacobo Lozada                 $12.00   77.07   $   8.44          $   222.40   $    222.40
 12/10/2017 Jacobo Lozada                 $12.00   76.23   $   8.44          $   217.40   $    217.40
 12/17/2017 Jacobo Lozada                 $12.00   79.07   $   8.44          $   234.40   $    234.40
 12/24/2017 Jacobo Lozada                 $12.00   77.42   $   8.44          $   224.50   $    224.50
 12/31/2017 Jacobo Lozada                 $12.00   67.00   $   8.44          $   162.00   $    162.00
   1/7/2018 Jacobo Lozada                 $12.00   49.50   $   8.60          $    57.00   $     57.00
  1/14/2018 Jacobo Lozada                 $12.00   78.12   $   8.60          $   228.70   $    228.70
  1/21/2018 Jacobo Lozada                 $12.00   78.00   $   8.60          $   228.00   $    228.00
  1/28/2018 Jacobo Lozada                 $12.00   77.55   $   8.60          $   225.30   $    225.30
   2/4/2018 Jacobo Lozada                 $12.00   75.35   $   8.60          $   212.10   $    212.10
  2/11/2018 Jacobo Lozada                 $12.00   75.58   $   8.60          $   213.50   $    213.50
  2/18/2018 Jacobo Lozada                 $12.00   77.73   $   8.60          $   226.40   $    226.40
  2/25/2018 Jacobo Lozada                 $12.00   76.63   $   8.60          $   219.80   $    219.80
   3/4/2018 Jacobo Lozada                 $12.00   76.30   $   8.60          $   217.80   $    217.80
  3/25/2018 Jacobo Lozada                 $12.00   72.75   $   8.60          $   196.50   $    196.50
   4/1/2018 Jacobo Lozada                 $12.00   81.20   $   8.60          $   247.20   $    247.20
   4/8/2018 Jacobo Lozada                 $12.00   79.43   $   8.60          $   236.60   $    236.60
  4/15/2018 Jacobo Lozada                 $12.00   78.32   $   8.60          $   229.90   $    229.90
  4/22/2018 Jacobo Lozada                 $12.00   78.68   $   8.60          $   232.10   $    232.10
  4/29/2018 Jacobo Lozada                 $12.00   79.02   $   8.60          $   234.10   $    234.10
   5/6/2018 Jacobo Lozada                 $12.00   75.02   $   8.60          $   210.10   $    210.10
  5/13/2018 Jacobo Lozada                 $12.00   77.58   $   8.60          $   225.50   $    225.50
  5/20/2018 Jacobo Lozada                 $12.00   76.27   $   8.60          $   217.60   $    217.60
  5/27/2018 Jacobo Lozada                 $12.00   79.23   $   8.60          $   235.40   $    235.40
   6/3/2018 Jacobo Lozada                 $12.00   51.73   $   8.60          $    70.40   $     70.40
  6/10/2018 Jacobo Lozada                 $12.00   84.98   $   8.60          $   269.90   $    269.90
  6/17/2018 Jacobo Lozada                 $12.00   88.07   $   8.60          $   288.40   $    288.40
  6/24/2018 Jacobo Lozada                 $12.00   86.88   $   8.60          $   281.30   $    281.30
   7/1/2018 Jacobo Lozada                 $12.00   91.47   $   8.60          $   308.80   $    308.80
   7/8/2018 Jacobo Lozada                 $12.00   86.27   $   8.60          $   277.60   $    277.60
  7/15/2018 Jacobo Lozada                 $12.00   85.85   $   8.60          $   275.10   $    275.10
  7/22/2018 Jacobo Lozada                 $12.00   74.90   $   8.60          $   209.40   $    209.40
  7/29/2018 Jacobo Lozada                 $12.00   87.60   $   8.60          $   285.60   $    285.60
   8/5/2018 Jacobo Lozada                 $12.50   76.53   $   8.60          $   228.33   $    228.33
  8/12/2018 Jacobo Lozada                 $12.50   73.93   $   8.60          $   212.08   $    212.08
  8/19/2018 Jacobo Lozada                 $12.50   73.60   $   8.60          $   210.00   $    210.00
  8/26/2018 Jacobo Lozada                 $12.50   74.30   $   8.60          $   214.38   $    214.38
   9/2/2018 Jacobo Lozada                 $12.50   74.55   $   8.60          $   215.94   $    215.94



                                            269
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 271 of 683 PageID: 1118
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

   9/9/2018 Jacobo Lozada                 $12.50   62.92   $    8.60         $   143.23   $    143.23
  9/16/2018 Jacobo Lozada                 $12.50   73.22   $    8.60         $   207.60   $    207.60
  9/23/2018 Jacobo Lozada                 $12.50   70.23   $    8.60         $   188.96   $    188.96
  9/30/2018 Jacobo Lozada                 $12.50   76.23   $    8.60         $   226.46   $    226.46
  10/7/2018 Jacobo Lozada                 $12.50   76.82   $    8.60         $   230.10   $    230.10
 10/14/2018 Jacobo Lozada                 $12.50   76.28   $    8.60         $   226.77   $    226.77
 10/21/2018 Jacobo Lozada                 $12.50   78.15   $    8.60         $   238.44   $    238.44
 10/28/2018 Jacobo Lozada                 $12.50   78.50   $    8.60         $   240.63   $    240.63
  11/4/2018 Jacobo Lozada                 $12.50   78.37   $    8.60         $   239.79   $    239.79
 11/11/2018 Jacobo Lozada                 $12.50   77.83   $    8.60         $   236.46   $    236.46
 11/18/2018 Jacobo Lozada                 $12.50   64.28   $    8.60         $   151.77   $    151.77
 11/25/2018 Jacobo Lozada                 $12.50   64.62   $    8.60         $   153.85   $    153.85
  12/2/2018 Jacobo Lozada                 $12.50   80.00   $    8.60         $   250.00   $    250.00
  12/9/2018 Jacobo Lozada                 $12.50   75.25   $    8.60         $   220.31   $    220.31
 12/16/2018 Jacobo Lozada                 $12.50   66.45   $    8.60         $   165.31   $    165.31
 12/23/2018 Jacobo Lozada                 $12.50   80.80   $    8.60         $   255.00   $    255.00
 12/30/2018 Jacobo Lozada                 $12.50   47.08   $    8.60         $    44.27   $     44.27
   1/6/2019 Jacobo Lozada                 $12.50   63.92   $    8.85         $   149.48   $    149.48
  1/13/2019 Jacobo Lozada                 $12.50   81.82   $    8.85         $   261.35   $    261.35
  1/20/2019 Jacobo Lozada                 $12.50   80.83   $    8.85         $   255.21   $    255.21
  1/27/2019 Jacobo Lozada                 $12.50   80.87   $    8.85         $   255.42   $    255.42
   2/3/2019 Jacobo Lozada                 $12.50   80.68   $    8.85         $   254.27   $    254.27
  2/10/2019 Jacobo Lozada                 $12.50   79.88   $    8.85         $   249.27   $    249.27
  2/17/2019 Jacobo Lozada                 $12.50   79.20   $    8.85         $   245.00   $    245.00
  2/24/2019 Jacobo Lozada                 $12.50   80.08   $    8.85         $   250.52   $    250.52
   3/3/2019 Jacobo Lozada                 $12.50   80.32   $    8.85         $   251.98   $    251.98
  3/10/2019 Jacobo Lozada                 $12.50   80.62   $    8.85         $   253.85   $    253.85
  3/17/2019 Jacobo Lozada                 $12.50   81.35   $    8.85         $   258.44   $    258.44
  3/24/2019 Jacobo Lozada                 $12.50   77.92   $    8.85         $   236.98   $    236.98
  3/31/2019 Jacobo Lozada                 $12.50   79.42   $    8.85         $   246.35   $    246.35
  4/14/2019 Jacobo Lozada                 $12.50   72.90   $    8.85         $   205.63   $    205.63
  4/21/2019 Jacobo Lozada                 $12.50   73.68   $    8.85         $   210.52   $    210.52
  4/28/2019 Jacobo Lozada                 $12.50   80.07   $    8.85         $   250.42   $    250.42
   5/5/2019 Jacobo Lozada                 $12.50   80.37   $    8.85         $   252.29   $    252.29
  5/12/2019 Jacobo Lozada                 $12.50   79.18   $    8.85         $   244.90   $    244.90
  5/19/2019 Jacobo Lozada                 $12.50   80.32   $    8.85         $   251.98   $    251.98
  5/26/2019 Jacobo Lozada                 $12.50   79.28   $    8.85         $   245.52   $    245.52
   6/2/2019 Jacobo Lozada                 $12.50   66.63   $    8.85         $   166.46   $    166.46
   6/9/2019 Jacobo Lozada                 $12.50   74.25   $    8.85         $   214.06   $    214.06
  6/16/2019 Jacobo Lozada                 $12.50   79.95   $    8.85         $   249.69   $    249.69
  6/23/2019 Jacobo Lozada                 $12.50   80.97   $    8.85         $   256.04   $    256.04
  6/30/2019 Jacobo Lozada                 $12.50   80.07   $   10.00         $   250.42   $    250.42
   7/7/2019 Jacobo Lozada                 $13.00   66.57   $   10.00         $   172.68   $    172.68
  7/14/2019 Jacobo Lozada                 $13.00   80.60   $   10.00         $   263.90   $    263.90
  7/21/2019 Jacobo Lozada                 $13.00   80.47   $   10.00         $   263.03   $    263.03
  7/28/2019 Jacobo Lozada                 $13.00   78.52   $   10.00         $   250.36   $    250.36
   8/4/2019 Jacobo Lozada                 $13.00   81.28   $   10.00         $   268.34   $    268.34
  8/11/2019 Jacobo Lozada                 $13.00   76.83   $   10.00         $   239.42   $    239.42
  8/18/2019 Jacobo Lozada                 $13.00   79.75   $   10.00         $   258.38   $    258.38
  8/25/2019 Jacobo Lozada                 $13.00   81.85   $   10.00         $   272.03   $    272.03



                                            270
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 272 of 683 PageID: 1119
                                                  Exhibit 2
                                          New Jersey Computations


   Week                                                          State Section 7: Section 7: Total Section 7
                                                 Hourly Hours/
  Ending                        Name                           Minumum Regular    Half-Time Overtime Back
                                                  Rate Week
   Date                                                          Wage  Rate Due     Due       Wages Due

   9/1/2019 Jacobo Lozada                        $13.00   80.38   $   10.00         $   262.49   $    262.49
   9/8/2019 Jacobo Lozada                        $13.00   67.95   $   10.00         $   181.68   $    181.68
  9/15/2019 Jacobo Lozada                        $13.00   82.00   $   10.00         $   273.00   $    273.00
  9/22/2019 Jacobo Lozada                        $13.00   80.52   $   10.00         $   263.36   $    263.36
  9/29/2019 Jacobo Lozada                        $13.00   81.92   $   10.00         $   272.46   $    272.46
  10/6/2019 Jacobo Lozada                        $13.00   82.13   $   10.00         $   273.87   $    273.87
 10/13/2019 Jacobo Lozada                        $13.00   82.25   $   10.00         $   274.63   $    274.63
 10/20/2019 Jacobo Lozada                        $13.00   81.97   $   10.00         $   272.78   $    272.78
 10/27/2019 Jacobo Lozada                        $13.00   82.07   $   10.00         $   273.43   $    273.43
  11/3/2019 Jacobo Lozada                        $13.00   70.02   $   10.00         $   195.11   $    195.11
  6/23/2019 Jair Herrera                          $8.85   50.73   $    8.85         $    47.50   $     47.50
   8/6/2017 Jairo Atz                            $10.00   49.60   $    8.44         $    48.00   $     48.00
  8/13/2017 Jairo Atz                            $10.00   48.72   $    8.44         $    43.58   $     43.58
  8/20/2017 Jairo Atz                            $10.00   59.38   $    8.44         $    96.92   $     96.92
  8/27/2017 Jairo Atz                            $10.00   58.60   $    8.44         $    93.00   $     93.00
  12/3/2017 Jairo O'neil Rodriguez-0009          $10.50   60.28   $    8.44         $   106.49   $    106.49
 12/10/2017 Jairo O'neil Rodriguez-0009          $10.50   59.50   $    8.44         $   102.38   $    102.38
 12/17/2017 Jairo O'neil Rodriguez-0009          $10.50   60.28   $    8.44         $   106.49   $    106.49
 12/24/2017 Jairo O'neil Rodriguez-0009          $10.50   57.47   $    8.44         $    91.70   $     91.70
 12/31/2017 Jairo O'neil Rodriguez-0009          $10.50   51.08   $    8.44         $    58.19   $     58.19
   1/7/2018 Jairo O'neil Rodriguez-0009          $10.50   45.23   $    8.60         $    27.48   $     27.48
  1/14/2018 Jairo O'neil Rodriguez-0009          $10.50   61.88   $    8.60         $   114.89   $    114.89
  1/21/2018 Jairo O'neil Rodriguez-0009          $10.50   63.18   $    8.60         $   121.71   $    121.71
  1/28/2018 Jairo O'neil Rodriguez-0009          $10.50   61.35   $    8.60         $   112.09   $    112.09
   2/4/2018 Jairo O'neil Rodriguez-0009          $10.50   59.30   $    8.60         $   101.33   $    101.33
  2/11/2018 Jairo O'neil Rodriguez-0009          $10.50   60.08   $    8.60         $   105.44   $    105.44
  2/18/2018 Jairo O'neil Rodriguez-0009          $10.50   53.27   $    8.60         $    69.65   $     69.65
  2/25/2018 Jairo O'neil Rodriguez-0009          $10.50   57.40   $    8.60         $    91.35   $     91.35
   3/4/2018 Jairo O'neil Rodriguez-0009          $10.50   49.67   $    8.60         $    50.75   $     50.75
  3/25/2018 Jairo O'neil Rodriguez-0009          $10.50   59.65   $    8.60         $   103.16   $    103.16
   4/1/2018 Jairo O'neil Rodriguez-0009          $10.50   69.45   $    8.60         $   154.61   $    154.61
   4/8/2018 Jairo O'neil Rodriguez-0009          $10.50   54.15   $    8.60         $    74.29   $     74.29
  4/15/2018 Jairo O'neil Rodriguez-0009          $10.50   51.20   $    8.60         $    58.80   $     58.80
  4/22/2018 Jairo O'neil Rodriguez-0009          $10.50   47.28   $    8.60         $    38.24   $     38.24
  4/29/2018 Jairo O'neil Rodriguez-0009          $10.50   55.87   $    8.60         $    83.30   $     83.30
   5/6/2018 Jairo O'neil Rodriguez-0009          $10.50   58.70   $    8.60         $    98.18   $     98.18
  5/13/2018 Jairo O'neil Rodriguez-0009          $10.50   59.72   $    8.60         $   103.51   $    103.51
  5/20/2018 Jairo O'neil Rodriguez-0009          $10.50   61.35   $    8.60         $   112.09   $    112.09
  5/27/2018 Jairo O'neil Rodriguez-0009          $10.50   59.77   $    8.60         $   103.78   $    103.78
   6/3/2018 Jairo O'neil Rodriguez-0009          $10.50   59.42   $    8.60         $   101.94   $    101.94
  6/10/2018 Jairo O'neil Rodriguez-0009          $10.50   57.43   $    8.60         $    91.52   $     91.52
  6/17/2018 Jairo O'neil Rodriguez-0009          $10.50   64.88   $    8.60         $   130.64   $    130.64
  6/24/2018 Jairo O'neil Rodriguez-0009          $10.50   61.00   $    8.60         $   110.25   $    110.25
   7/1/2018 Jairo O'neil Rodriguez-0009          $10.50   59.00   $    8.60         $    99.75   $     99.75
   7/8/2018 Jairo O'neil Rodriguez-0009          $10.50   50.45   $    8.60         $    54.86   $     54.86
  7/15/2018 Jairo O'neil Rodriguez-0009          $10.50   59.33   $    8.60         $   101.50   $    101.50
  7/22/2018 Jairo O'neil Rodriguez-0009          $10.50   61.18   $    8.60         $   111.21   $    111.21
  7/29/2018 Jairo O'neil Rodriguez-0009          $10.50   51.92   $    8.60         $    62.56   $     62.56
   8/5/2018 Jairo O'neil Rodriguez-0009          $10.50   60.13   $    8.60         $   105.70   $    105.70
  8/12/2018 Jairo O'neil Rodriguez-0009          $10.50   52.93   $    8.60         $    67.90   $     67.90



                                                   271
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 273 of 683 PageID: 1120
                                                  Exhibit 2
                                          New Jersey Computations


   Week                                                          State Section 7: Section 7: Total Section 7
                                                 Hourly Hours/
  Ending                        Name                           Minumum Regular    Half-Time Overtime Back
                                                  Rate Week
   Date                                                          Wage  Rate Due     Due       Wages Due

  8/19/2018 Jairo O'neil Rodriguez-0009          $10.50   61.48   $   8.60          $   112.79   $    112.79
  8/26/2018 Jairo O'neil Rodriguez-0009          $10.50   49.25   $   8.60          $    48.56   $     48.56
   9/2/2018 Jairo O'neil Rodriguez-0009          $10.50   50.87   $   8.60          $    57.05   $     57.05
   9/9/2018 Jairo O'neil Rodriguez-0009          $10.50   47.60   $   8.60          $    39.90   $     39.90
  9/16/2018 Jairo O'neil Rodriguez-0009          $10.50   60.12   $   8.60          $   105.61   $    105.61
  9/23/2018 Jairo O'neil Rodriguez-0009          $10.50   49.90   $   8.60          $    51.98   $     51.98
  9/30/2018 Jairo O'neil Rodriguez-0009          $10.50   54.42   $   8.60          $    75.69   $     75.69
  10/7/2018 Jairo O'neil Rodriguez-0009          $10.50   57.63   $   8.60          $    92.58   $     92.58
 10/14/2018 Jairo O'neil Rodriguez-0009          $10.50   45.08   $   8.60          $    26.69   $     26.69
 10/21/2018 Jairo O'neil Rodriguez-0009          $10.50   61.27   $   8.60          $   111.65   $    111.65
 10/28/2018 Jairo O'neil Rodriguez-0009          $10.50   55.87   $   8.60          $    83.30   $     83.30
  11/4/2018 Jairo O'neil Rodriguez-0009          $10.50   55.87   $   8.60          $    83.30   $     83.30
 11/11/2018 Jairo O'neil Rodriguez-0009          $10.50   52.90   $   8.60          $    67.73   $     67.73
 11/18/2018 Jairo O'neil Rodriguez-0009          $10.50   62.87   $   8.60          $   120.05   $    120.05
 11/25/2018 Jairo O'neil Rodriguez-0009          $10.50   42.40   $   8.60          $    12.60   $     12.60
  12/2/2018 Jairo O'neil Rodriguez-0009          $10.50   54.50   $   8.60          $    76.13   $     76.13
  12/9/2018 Jairo O'neil Rodriguez-0009          $10.50   64.75   $   8.60          $   129.94   $    129.94
 12/16/2018 Jairo O'neil Rodriguez-0009          $10.50   68.08   $   8.60          $   147.44   $    147.44
 12/23/2018 Jairo O'neil Rodriguez-0009          $10.50   65.63   $   8.60          $   134.58   $    134.58
 12/30/2018 Jairo O'neil Rodriguez-0009          $10.50   49.05   $   8.60          $    47.51   $     47.51
   2/5/2017 Jalmizon Brito                       $10.00   49.00   $   8.44          $    45.00   $     45.00
  2/12/2017 Jalmizon Brito                       $10.00   43.30   $   8.44          $    16.50   $     16.50
  2/19/2017 Jalmizon Brito                       $10.00   51.48   $   8.44          $    57.42   $     57.42
  2/26/2017 Jalmizon Brito                       $10.00   55.70   $   8.44          $    78.50   $     78.50
   3/5/2017 Jalmizon Brito                       $10.00   52.43   $   8.44          $    62.17   $     62.17
  3/12/2017 Jalmizon Brito                       $10.00   48.82   $   8.44          $    44.08   $     44.08
  3/19/2017 Jalmizon Brito                       $10.00   41.15   $   8.44          $     5.75   $      5.75
  3/26/2017 Jalmizon Brito                       $10.00   55.58   $   8.44          $    77.92   $     77.92
   4/2/2017 Jalmizon Brito                       $10.00   45.43   $   8.44          $    27.17   $     27.17
   4/9/2017 Jalmizon Brito                       $10.00   54.57   $   8.44          $    72.83   $     72.83
  4/16/2017 Jalmizon Brito                       $10.00   52.37   $   8.44          $    61.83   $     61.83
  4/23/2017 Jalmizon Brito                       $10.00   49.52   $   8.44          $    47.58   $     47.58
  4/30/2017 Jalmizon Brito                       $10.00   53.90   $   8.44          $    69.50   $     69.50
   5/7/2017 Jalmizon Brito                       $10.00   49.15   $   8.44          $    45.75   $     45.75
  5/14/2017 Jalmizon Brito                       $10.00   52.70   $   8.44          $    63.50   $     63.50
  5/21/2017 Jalmizon Brito                       $10.00   52.32   $   8.44          $    61.58   $     61.58
  5/28/2017 Jalmizon Brito                       $10.00   54.88   $   8.44          $    74.42   $     74.42
   6/4/2017 Jalmizon Brito                       $10.00   57.42   $   8.44          $    87.08   $     87.08
  6/11/2017 Jalmizon Brito                       $10.00   53.37   $   8.44          $    66.83   $     66.83
  6/18/2017 Jalmizon Brito                       $10.00   48.42   $   8.44          $    42.08   $     42.08
  6/25/2017 Jalmizon Brito                       $10.00   56.52   $   8.44          $    82.58   $     82.58
   7/2/2017 Jalmizon Brito                       $10.00   56.18   $   8.44          $    80.92   $     80.92
  7/16/2017 Jalmizon Brito                       $10.00   51.38   $   8.44          $    56.92   $     56.92
  7/23/2017 Jalmizon Brito                       $10.00   53.62   $   8.44          $    68.08   $     68.08
  7/30/2017 Jalmizon Brito                       $10.00   56.72   $   8.44          $    83.58   $     83.58
   8/6/2017 Jalmizon Brito                       $10.00   48.62   $   8.44          $    43.08   $     43.08
  8/13/2017 Jalmizon Brito                       $10.00   54.78   $   8.44          $    73.92   $     73.92
  8/20/2017 Jalmizon Brito                       $10.00   55.08   $   8.44          $    75.42   $     75.42
  8/27/2017 Jalmizon Brito                       $10.00   44.17   $   8.44          $    20.83   $     20.83
   9/3/2017 Jalmizon Brito                       $10.00   53.97   $   8.44          $    69.83   $     69.83



                                                   272
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 274 of 683 PageID: 1121
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

  9/10/2017 Jalmizon Brito                 $10.00   50.20   $   8.44          $    51.00   $     51.00
  9/17/2017 Jalmizon Brito                 $10.00   52.68   $   8.44          $    63.42   $     63.42
  9/24/2017 Jalmizon Brito                 $10.00   50.95   $   8.44          $    54.75   $     54.75
  10/1/2017 Jalmizon Brito                 $10.00   52.77   $   8.44          $    63.83   $     63.83
  10/8/2017 Jalmizon Brito                 $10.00   56.98   $   8.44          $    84.92   $     84.92
 10/15/2017 Jalmizon Brito                 $10.00   54.78   $   8.44          $    73.92   $     73.92
 10/22/2017 Jalmizon Brito                 $10.00   51.80   $   8.44          $    59.00   $     59.00
 10/29/2017 Jalmizon Brito                 $10.00   45.07   $   8.44          $    25.33   $     25.33
 11/12/2017 Jalmizon Brito                 $10.00   50.23   $   8.44          $    51.17   $     51.17
 11/19/2017 Jalmizon Brito                 $10.00   53.95   $   8.44          $    69.75   $     69.75
 11/26/2017 Jalmizon Brito                 $10.00   43.22   $   8.44          $    16.08   $     16.08
  12/3/2017 Jalmizon Brito                 $10.00   58.08   $   8.44          $    90.42   $     90.42
 12/10/2017 Jalmizon Brito                 $10.00   53.10   $   8.44          $    65.50   $     65.50
 12/17/2017 Jalmizon Brito                 $10.00   50.98   $   8.44          $    54.92   $     54.92
 12/24/2017 Jalmizon Brito                 $10.00   50.83   $   8.44          $    54.17   $     54.17
 12/31/2017 Jalmizon Brito                 $10.00   50.22   $   8.44          $    51.08   $     51.08
   1/7/2018 Jalmizon Brito                 $10.00   48.75   $   8.60          $    43.75   $     43.75
  1/14/2018 Jalmizon Brito                 $10.00   52.73   $   8.60          $    63.67   $     63.67
  1/21/2018 Jalmizon Brito                 $10.00   49.07   $   8.60          $    45.33   $     45.33
  1/28/2018 Jalmizon Brito                 $10.00   52.08   $   8.60          $    60.42   $     60.42
   2/4/2018 Jalmizon Brito                 $10.00   55.40   $   8.60          $    77.00   $     77.00
  2/11/2018 Jalmizon Brito                 $10.00   48.38   $   8.60          $    41.92   $     41.92
  2/18/2018 Jalmizon Brito                 $10.00   50.98   $   8.60          $    54.92   $     54.92
  2/25/2018 Jalmizon Brito                 $10.00   58.33   $   8.60          $    91.67   $     91.67
   3/4/2018 Jalmizon Brito                 $10.00   54.78   $   8.60          $    73.92   $     73.92
  3/25/2018 Jalmizon Brito                 $10.00   47.98   $   8.60          $    39.92   $     39.92
   4/1/2018 Jalmizon Brito                 $10.00   46.03   $   8.60          $    30.17   $     30.17
   4/8/2018 Jalmizon Brito                 $10.00   46.75   $   8.60          $    33.75   $     33.75
  4/15/2018 Jalmizon Brito                 $10.00   51.07   $   8.60          $    55.33   $     55.33
  4/22/2018 Jalmizon Brito                 $10.00   68.48   $   8.60          $   142.42   $    142.42
  4/29/2018 Jalmizon Brito                 $10.00   70.08   $   8.60          $   150.42   $    150.42
   5/6/2018 Jalmizon Brito                 $10.00   69.87   $   8.60          $   149.33   $    149.33
  5/13/2018 Jalmizon Brito                 $10.00   65.07   $   8.60          $   125.33   $    125.33
  5/20/2018 Jalmizon Brito                 $10.00   71.75   $   8.60          $   158.75   $    158.75
  5/27/2018 Jalmizon Brito                 $10.00   69.23   $   8.60          $   146.17   $    146.17
   6/3/2018 Jalmizon Brito                 $10.00   69.73   $   8.60          $   148.67   $    148.67
  6/10/2018 Jalmizon Brito                 $10.00   68.48   $   8.60          $   142.42   $    142.42
  6/17/2018 Jalmizon Brito                 $10.00   67.40   $   8.60          $   137.00   $    137.00
  6/24/2018 Jalmizon Brito                 $10.00   60.75   $   8.60          $   103.75   $    103.75
   7/1/2018 Jalmizon Brito                 $10.00   67.52   $   8.60          $   137.58   $    137.58
   7/8/2018 Jalmizon Brito                 $10.00   61.53   $   8.60          $   107.67   $    107.67
  7/15/2018 Jalmizon Brito                 $10.00   70.55   $   8.60          $   152.75   $    152.75
  7/22/2018 Jalmizon Brito                 $10.00   62.58   $   8.60          $   112.92   $    112.92
  7/29/2018 Jalmizon Brito                 $10.00   63.40   $   8.60          $   117.00   $    117.00
   8/5/2018 Jalmizon Brito                 $10.00   49.60   $   8.60          $    48.00   $     48.00
   2/5/2017 Jancer Ortiz                   $10.50   59.53   $   8.44          $   102.55   $    102.55
  2/12/2017 Jancer Ortiz                   $10.50   48.10   $   8.44          $    42.53   $     42.53
  2/19/2017 Jancer Ortiz                   $10.50   55.80   $   8.44          $    82.95   $     82.95
  2/26/2017 Jancer Ortiz                   $10.50   61.98   $   8.44          $   115.41   $    115.41
   3/5/2017 Jancer Ortiz                   $10.50   59.08   $   8.44          $   100.19   $    100.19



                                             273
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 275 of 683 PageID: 1122
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

  3/12/2017 Jancer Ortiz                  $10.50   55.73   $   8.44          $    82.60   $     82.60
  3/19/2017 Jancer Ortiz                  $10.50   48.40   $   8.44          $    44.10   $     44.10
  3/26/2017 Jancer Ortiz                  $10.50   60.92   $   8.44          $   109.81   $    109.81
   4/2/2017 Jancer Ortiz                  $10.50   51.48   $   8.44          $    60.29   $     60.29
   4/9/2017 Jancer Ortiz                  $10.50   58.87   $   8.44          $    99.05   $     99.05
  4/16/2017 Jancer Ortiz                  $10.50   57.43   $   8.44          $    91.52   $     91.52
  4/23/2017 Jancer Ortiz                  $10.50   59.98   $   8.44          $   104.91   $    104.91
  4/30/2017 Jancer Ortiz                  $10.50   59.63   $   8.44          $   103.08   $    103.08
   5/7/2017 Jancer Ortiz                  $10.50   58.62   $   8.44          $    97.74   $     97.74
  5/14/2017 Jancer Ortiz                  $10.50   59.13   $   8.44          $   100.45   $    100.45
  5/21/2017 Jancer Ortiz                  $10.50   57.78   $   8.44          $    93.36   $     93.36
  5/28/2017 Jancer Ortiz                  $10.50   61.17   $   8.44          $   111.13   $    111.13
   6/4/2017 Jancer Ortiz                  $10.50   57.60   $   8.44          $    92.40   $     92.40
  6/11/2017 Jancer Ortiz                  $10.50   58.35   $   8.44          $    96.34   $     96.34
  6/18/2017 Jancer Ortiz                  $10.50   56.45   $   8.44          $    86.36   $     86.36
  6/25/2017 Jancer Ortiz                  $10.50   60.02   $   8.44          $   105.09   $    105.09
   7/2/2017 Jancer Ortiz                  $10.50   59.47   $   8.44          $   102.20   $    102.20
   7/9/2017 Jancer Ortiz                  $10.50   52.22   $   8.44          $    64.14   $     64.14
  7/16/2017 Jancer Ortiz                  $10.50   49.17   $   8.44          $    48.13   $     48.13
  7/23/2017 Jancer Ortiz                  $10.50   55.42   $   8.44          $    80.94   $     80.94
  7/30/2017 Jancer Ortiz                  $10.50   54.78   $   8.44          $    77.61   $     77.61
   8/6/2017 Jancer Ortiz                  $10.50   60.35   $   8.44          $   106.84   $    106.84
  8/13/2017 Jancer Ortiz                  $10.50   58.05   $   8.44          $    94.76   $     94.76
  8/20/2017 Jancer Ortiz                  $10.50   57.02   $   8.44          $    89.34   $     89.34
  8/27/2017 Jancer Ortiz                  $10.50   56.20   $   8.44          $    85.05   $     85.05
   9/3/2017 Jancer Ortiz                  $10.50   58.67   $   8.44          $    98.00   $     98.00
  9/10/2017 Jancer Ortiz                  $10.50   55.88   $   8.44          $    83.39   $     83.39
  9/17/2017 Jancer Ortiz                  $10.50   47.47   $   8.44          $    39.20   $     39.20
 10/29/2017 Jason Ramirez                 $10.35   51.78   $   8.44          $    60.98   $     60.98
  11/5/2017 Jason Ramirez                 $10.35   59.02   $   8.44          $    98.41   $     98.41
 11/12/2017 Jason Ramirez                 $10.35   59.42   $   8.44          $   100.48   $    100.48
 11/19/2017 Jason Ramirez                 $10.35   59.60   $   8.44          $   101.43   $    101.43
 11/26/2017 Jason Ramirez                 $10.35   49.18   $   8.44          $    47.52   $     47.52
  12/3/2017 Jason Ramirez                 $10.35   59.55   $   8.44          $   101.17   $    101.17
 12/10/2017 Jason Ramirez                 $10.35   59.18   $   8.44          $    99.27   $     99.27
 12/17/2017 Jason Ramirez                 $10.35   59.05   $   8.44          $    98.58   $     98.58
 12/24/2017 Jason Ramirez                 $10.35   59.73   $   8.44          $   102.12   $    102.12
 12/31/2017 Jason Ramirez                 $10.35   49.27   $   8.44          $    47.96   $     47.96
  1/14/2018 Jason Ramirez                 $10.35   59.43   $   8.60          $   100.57   $    100.57
  1/21/2018 Jason Ramirez                 $10.35   59.80   $   8.60          $   102.47   $    102.47
  1/28/2018 Jason Ramirez                 $10.35   53.65   $   8.60          $    70.64   $     70.64
   2/4/2018 Jason Ramirez                 $10.35   58.87   $   8.60          $    97.64   $     97.64
  2/11/2018 Jason Ramirez                 $10.35   59.03   $   8.60          $    98.50   $     98.50
  2/18/2018 Jason Ramirez                 $10.35   60.18   $   8.60          $   104.45   $    104.45
  2/25/2018 Jason Ramirez                 $10.35   60.05   $   8.60          $   103.76   $    103.76
   3/4/2018 Jason Ramirez                 $10.35   59.57   $   8.60          $   101.26   $    101.26
  3/25/2018 Jason Ramirez                 $10.35   57.50   $   8.60          $    90.56   $     90.56
   4/1/2018 Jason Ramirez                 $10.35   59.83   $   8.60          $   102.64   $    102.64
   4/8/2018 Jason Ramirez                 $10.35   59.33   $   8.60          $   100.05   $    100.05
  4/15/2018 Jason Ramirez                 $10.35   59.77   $   8.60          $   102.29   $    102.29



                                            274
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 276 of 683 PageID: 1123
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

  4/22/2018 Jason Ramirez                 $10.35   60.57   $   8.60          $   106.43   $    106.43
  4/29/2018 Jason Ramirez                 $10.35   60.30   $   8.60          $   105.05   $    105.05
   5/6/2018 Jason Ramirez                 $10.35   59.10   $   8.60          $    98.84   $     98.84
  5/13/2018 Jason Ramirez                 $10.35   60.40   $   8.60          $   105.57   $    105.57
  5/20/2018 Jason Ramirez                 $10.35   59.75   $   8.60          $   102.21   $    102.21
  5/27/2018 Jason Ramirez                 $10.35   59.33   $   8.60          $   100.05   $    100.05
   6/3/2018 Jason Ramirez                 $10.35   41.38   $   8.60          $     7.16   $      7.16
  6/10/2018 Jason Ramirez                 $10.35   59.32   $   8.60          $    99.96   $     99.96
  6/17/2018 Jason Ramirez                 $10.35   59.73   $   8.60          $   102.12   $    102.12
  6/24/2018 Jason Ramirez                 $10.35   60.03   $   8.60          $   103.67   $    103.67
   7/1/2018 Jason Ramirez                 $10.35   60.00   $   8.60          $   103.50   $    103.50
   7/8/2018 Jason Ramirez                 $10.35   49.48   $   8.60          $    49.08   $     49.08
  7/15/2018 Jason Ramirez                 $10.35   59.97   $   8.60          $   103.33   $    103.33
  7/22/2018 Jason Ramirez                 $10.35   60.98   $   8.60          $   108.59   $    108.59
  7/29/2018 Jason Ramirez                 $10.35   60.07   $   8.60          $   103.85   $    103.85
   8/5/2018 Jason Ramirez                 $10.35   60.42   $   8.60          $   105.66   $    105.66
  8/12/2018 Jason Ramirez                 $10.35   61.13   $   8.60          $   109.37   $    109.37
  8/19/2018 Jason Ramirez                 $10.35   60.40   $   8.60          $   105.57   $    105.57
  8/26/2018 Jason Ramirez                 $10.35   60.35   $   8.60          $   105.31   $    105.31
   9/2/2018 Jason Ramirez                 $10.35   61.12   $   8.60          $   109.28   $    109.28
   9/9/2018 Jason Ramirez                 $10.35   50.40   $   8.60          $    53.82   $     53.82
  9/16/2018 Jason Ramirez                 $10.35   60.40   $   8.60          $   105.57   $    105.57
  9/23/2018 Jason Ramirez                 $10.35   60.87   $   8.60          $   107.99   $    107.99
  9/30/2018 Jason Ramirez                 $10.35   60.52   $   8.60          $   106.17   $    106.17
  10/7/2018 Jason Ramirez                 $10.35   61.40   $   8.60          $   110.75   $    110.75
 10/14/2018 Jason Ramirez                 $10.35   60.00   $   8.60          $   103.50   $    103.50
 10/21/2018 Jason Ramirez                 $10.35   61.03   $   8.60          $   108.85   $    108.85
 10/28/2018 Jason Ramirez                 $10.35   60.77   $   8.60          $   107.47   $    107.47
  11/4/2018 Jason Ramirez                 $10.35   61.75   $   8.60          $   112.56   $    112.56
 11/11/2018 Jason Ramirez                 $10.35   50.05   $   8.60          $    52.01   $     52.01
 11/25/2018 Jason Ramirez                 $10.35   49.40   $   8.60          $    48.65   $     48.65
  12/2/2018 Jason Ramirez                 $10.35   60.75   $   8.60          $   107.38   $    107.38
  12/9/2018 Jason Ramirez                 $10.35   59.75   $   8.60          $   102.21   $    102.21
 12/23/2018 Jason Ramirez                 $10.35   62.43   $   8.60          $   116.09   $    116.09
 12/30/2018 Jason Ramirez                 $10.35   48.95   $   8.60          $    46.32   $     46.32
   1/6/2019 Jason Ramirez                 $10.35   50.23   $   8.85          $    52.96   $     52.96
  1/13/2019 Jason Ramirez                 $10.35   56.02   $   8.85          $    82.89   $     82.89
  1/20/2019 Jason Ramirez                 $10.35   52.28   $   8.85          $    63.57   $     63.57
  1/27/2019 Jason Ramirez                 $10.35   52.22   $   8.85          $    63.22   $     63.22
   2/3/2019 Jason Ramirez                 $10.35   59.50   $   8.85          $   100.91   $    100.91
  2/10/2019 Jason Ramirez                 $10.35   40.57   $   8.85          $     2.93   $      2.93
  2/17/2019 Jason Ramirez                 $10.35   51.33   $   8.85          $    58.65   $     58.65
  2/24/2019 Jason Ramirez                 $10.35   59.60   $   8.85          $   101.43   $    101.43
   3/3/2019 Jason Ramirez                 $10.35   51.83   $   8.85          $    61.24   $     61.24
  3/10/2019 Jason Ramirez                 $10.35   60.77   $   8.85          $   107.47   $    107.47
  3/17/2019 Jason Ramirez                 $10.35   61.30   $   8.85          $   110.23   $    110.23
  3/24/2019 Jason Ramirez                 $10.35   61.38   $   8.85          $   110.66   $    110.66
  3/31/2019 Jason Ramirez                 $10.35   63.45   $   8.85          $   121.35   $    121.35
   4/7/2019 Jason Ramirez                 $10.35   60.93   $   8.85          $   108.33   $    108.33
  4/14/2019 Jason Ramirez                 $10.35   51.08   $   8.85          $    57.36   $     57.36



                                            275
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 277 of 683 PageID: 1124
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

  4/21/2019 Jason Ramirez                 $10.35   61.25   $    8.85               $   109.97   $   109.97
  4/28/2019 Jason Ramirez                 $10.35   50.00   $    8.85               $    51.75   $    51.75
   5/5/2019 Jason Ramirez                 $10.35   59.90   $    8.85               $   102.98   $   102.98
  5/12/2019 Jason Ramirez                 $10.35   62.55   $    8.85               $   116.70   $   116.70
  5/19/2019 Jason Ramirez                 $10.35   55.47   $    8.85               $    80.04   $    80.04
  5/26/2019 Jason Ramirez                 $10.35   61.17   $    8.85               $   109.54   $   109.54
   6/2/2019 Jason Ramirez                 $10.35   48.55   $    8.85               $    44.25   $    44.25
   6/9/2019 Jason Ramirez                 $10.35   61.30   $    8.85               $   110.23   $   110.23
  6/16/2019 Jason Ramirez                 $10.35   64.33   $    8.85               $   125.93   $   125.93
  6/23/2019 Jason Ramirez                 $10.35   60.45   $    8.85               $   105.83   $   105.83
  6/30/2019 Jason Ramirez                 $10.35   59.70   $   10.00               $   101.95   $   101.95
   7/7/2019 Jason Ramirez                 $10.35   41.93   $   10.00               $    10.01   $    10.01
  7/14/2019 Jason Ramirez                 $10.35   60.43   $   10.00               $   105.74   $   105.74
  7/21/2019 Jason Ramirez                 $10.35   60.70   $   10.00               $   107.12   $   107.12
  7/28/2019 Jason Ramirez                 $10.35   60.62   $   10.00               $   106.69   $   106.69
   8/4/2019 Jason Ramirez                 $10.35   61.18   $   10.00               $   109.62   $   109.62
  8/18/2019 Jason Ramirez                 $10.35   62.13   $   10.00               $   114.54   $   114.54
  8/25/2019 Jason Ramirez                 $10.35   60.15   $   10.00               $   104.28   $   104.28
   9/1/2019 Jason Ramirez                 $10.35   60.60   $   10.00               $   106.61   $   106.61
   9/8/2019 Jason Ramirez                 $10.35   50.37   $   10.00               $    53.65   $    53.65
  9/15/2019 Jason Ramirez                 $10.35   50.90   $   10.00               $    56.41   $    56.41
  9/22/2019 Jason Ramirez                 $10.35   59.78   $   10.00               $   102.38   $   102.38
  9/29/2019 Jason Ramirez                 $10.35   60.15   $   10.00               $   104.28   $   104.28
  10/6/2019 Jason Ramirez                 $10.35   62.48   $   10.00               $   116.35   $   116.35
 10/13/2019 Jason Ramirez                 $10.35   57.30   $   10.00               $    89.53   $    89.53
 10/20/2019 Jason Ramirez                 $10.35   40.62   $   10.00               $     3.19   $     3.19
 10/27/2019 Jason Ramirez                 $10.35   53.48   $   10.00               $    69.78   $    69.78
  11/3/2019 Jason Ramirez                 $10.35   64.15   $   10.00               $   124.98   $   124.98
 11/10/2019 Jason Ramirez                 $10.35   61.63   $   10.00               $   111.95   $   111.95
 11/17/2019 Jason Ramirez                 $10.35   58.93   $   10.00               $    97.98   $    97.98
 11/24/2019 Jason Ramirez                 $10.35   48.58   $   10.00               $    44.42   $    44.42
  12/1/2019 Jason Ramirez                 $10.35   48.40   $   10.00               $    43.47   $    43.47
  12/8/2019 Jason Ramirez                 $10.35   58.60   $   10.00               $    96.26   $    96.26
 12/15/2019 Jason Ramirez                 $10.35   59.27   $   10.00               $    99.71   $    99.71
 12/22/2019 Jason Ramirez                 $10.35   58.95   $   10.00               $    98.07   $    98.07
   1/5/2020 Jason Ramirez                 $10.35   46.97   $   11.00   $   30.53   $    38.32   $    68.85
  1/12/2020 Jason Ramirez                 $10.35   58.72   $   11.00   $   38.17   $   102.94   $   141.11
  1/19/2020 Jason Ramirez                 $10.35   59.20   $   11.00   $   38.48   $   105.60   $   144.08
  1/26/2020 Jason Ramirez                 $10.35   58.92   $   11.00   $   38.30   $   104.04   $   142.34
   2/3/2019 Javen Wilson                   $9.50   54.37   $    8.85               $    68.24   $    68.24
  2/10/2019 Javen Wilson                   $9.50   52.83   $    8.85               $    60.96   $    60.96
  2/17/2019 Javen Wilson                   $9.50   42.47   $    8.85               $    11.72   $    11.72
  3/24/2019 Javen Wilson                   $9.50   54.25   $    8.85               $    67.69   $    67.69
  3/31/2019 Javen Wilson                   $9.50   45.95   $    8.85               $    28.26   $    28.26
   4/7/2019 Javen Wilson                   $9.50   43.13   $    8.85               $    14.88   $    14.88
  4/14/2019 Javen Wilson                   $9.50   60.45   $    8.85               $    97.14   $    97.14
  4/21/2019 Javen Wilson                   $9.50   42.98   $    8.85               $    14.17   $    14.17
  4/28/2019 Javen Wilson                   $9.50   65.15   $    8.85               $   119.46   $   119.46
   5/5/2019 Javen Wilson                   $9.50   48.53   $    8.85               $    40.53   $    40.53
  5/12/2019 Javen Wilson                   $9.50   41.60   $    8.85               $     7.60   $     7.60



                                            276
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 278 of 683 PageID: 1125
                                          Exhibit 2
                                  New Jersey Computations


   Week                                                  State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
  Ending                   Name                        Minumum Regular    Half-Time Overtime Back
                                          Rate Week
   Date                                                  Wage  Rate Due     Due       Wages Due

  5/19/2019 Javen Wilson                  $9.50   48.77   $    8.85               $    41.64   $    41.64
  5/26/2019 Javen Wilson                  $9.50   52.22   $    8.85               $    58.03   $    58.03
   6/2/2019 Javen Wilson                  $9.50   51.72   $    8.85               $    55.65   $    55.65
  6/16/2019 Javen Wilson                  $9.50   57.40   $    8.85               $    82.65   $    82.65
  6/23/2019 Javen Wilson                  $9.50   55.82   $    8.85               $    75.13   $    75.13
  6/30/2019 Javen Wilson                  $9.50   45.92   $   10.00   $   22.96   $    29.58   $    52.54
  7/14/2019 Javen Wilson                  $9.50   42.30   $   10.00   $   21.15   $    11.50   $    32.65
   2/5/2017 Javier Arias                 $10.00   61.57   $    8.44               $   107.83   $   107.83
  2/12/2017 Javier Arias                 $10.00   48.37   $    8.44               $    41.83   $    41.83
  2/19/2017 Javier Arias                 $10.00   60.27   $    8.44               $   101.33   $   101.33
  2/26/2017 Javier Arias                 $10.00   62.35   $    8.44               $   111.75   $   111.75
   3/5/2017 Javier Arias                 $10.00   58.82   $    8.44               $    94.08   $    94.08
  3/12/2017 Javier Arias                 $10.00   62.47   $    8.44               $   112.33   $   112.33
  3/19/2017 Javier Arias                 $10.00   50.68   $    8.44               $    53.42   $    53.42
  3/26/2017 Javier Arias                 $10.00   57.25   $    8.44               $    86.25   $    86.25
   4/2/2017 Javier Arias                 $10.00   59.98   $    8.44               $    99.92   $    99.92
   4/9/2017 Javier Arias                 $10.00   60.67   $    8.44               $   103.33   $   103.33
  4/16/2017 Javier Arias                 $10.00   60.62   $    8.44               $   103.08   $   103.08
  4/23/2017 Javier Arias                 $10.00   58.90   $    8.44               $    94.50   $    94.50
  4/30/2017 Javier Arias                 $10.00   61.72   $    8.44               $   108.58   $   108.58
   5/7/2017 Javier Arias                 $10.00   55.33   $    8.44               $    76.67   $    76.67
  5/14/2017 Javier Arias                 $10.00   66.20   $    8.44               $   131.00   $   131.00
  5/21/2017 Javier Arias                 $10.00   65.85   $    8.44               $   129.25   $   129.25
  5/28/2017 Javier Arias                 $10.00   62.45   $    8.44               $   112.25   $   112.25
   6/4/2017 Javier Arias                 $10.00   68.10   $    8.44               $   140.50   $   140.50
  6/11/2017 Javier Arias                 $10.00   61.10   $    8.44               $   105.50   $   105.50
  6/18/2017 Javier Arias                 $10.00   62.10   $    8.44               $   110.50   $   110.50
  6/25/2017 Javier Arias                 $10.00   66.25   $    8.44               $   131.25   $   131.25
   7/2/2017 Javier Arias                 $10.00   58.90   $    8.44               $    94.50   $    94.50
  7/23/2017 Javier Arias                 $10.00   66.00   $    8.44               $   130.00   $   130.00
  7/30/2017 Javier Arias                 $10.00   66.98   $    8.44               $   134.92   $   134.92
   8/6/2017 Javier Arias                 $10.00   68.07   $    8.44               $   140.33   $   140.33
  8/13/2017 Javier Arias                 $10.00   63.35   $    8.44               $   116.75   $   116.75
  8/20/2017 Javier Arias                 $10.00   63.70   $    8.44               $   118.50   $   118.50
  8/27/2017 Javier Arias                 $10.00   67.47   $    8.44               $   137.33   $   137.33
   9/3/2017 Javier Arias                 $10.00   67.95   $    8.44               $   139.75   $   139.75
  9/10/2017 Javier Arias                 $10.00   63.18   $    8.44               $   115.92   $   115.92
  9/17/2017 Javier Arias                 $10.00   63.72   $    8.44               $   118.58   $   118.58
  9/24/2017 Javier Arias                 $10.00   65.03   $    8.44               $   125.17   $   125.17
  10/1/2017 Javier Arias                 $10.00   66.25   $    8.44               $   131.25   $   131.25
  10/8/2017 Javier Arias                 $10.00   67.83   $    8.44               $   139.17   $   139.17
 10/15/2017 Javier Arias                 $10.00   46.02   $    8.44               $    30.08   $    30.08
 10/22/2017 Javier Arias                 $10.00   65.38   $    8.44               $   126.92   $   126.92
 10/29/2017 Javier Arias                 $10.00   60.97   $    8.44               $   104.83   $   104.83
  11/5/2017 Javier Arias                 $10.00   63.72   $    8.44               $   118.58   $   118.58
 11/12/2017 Javier Arias                 $10.00   67.48   $    8.44               $   137.42   $   137.42
 11/19/2017 Javier Arias                 $10.00   67.80   $    8.44               $   139.00   $   139.00
 11/26/2017 Javier Arias                 $10.00   52.37   $    8.44               $    61.83   $    61.83
  12/3/2017 Javier Arias                 $10.00   64.82   $    8.44               $   124.08   $   124.08
 12/10/2017 Javier Arias                 $10.00   72.82   $    8.44               $   164.08   $   164.08



                                           277
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 279 of 683 PageID: 1126
                                          Exhibit 2
                                  New Jersey Computations


   Week                                                  State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
  Ending                   Name                        Minumum Regular    Half-Time Overtime Back
                                          Rate Week
   Date                                                  Wage  Rate Due     Due       Wages Due

 12/17/2017 Javier Arias                 $10.00   66.63   $   8.44          $   133.17   $    133.17
 12/24/2017 Javier Arias                 $10.00   67.47   $   8.44          $   137.33   $    137.33
 12/31/2017 Javier Arias                 $10.00   54.38   $   8.44          $    71.92   $     71.92
   1/7/2018 Javier Arias                 $10.00   48.48   $   8.60          $    42.42   $     42.42
  1/14/2018 Javier Arias                 $10.00   62.58   $   8.60          $   112.92   $    112.92
  1/21/2018 Javier Arias                 $10.00   61.63   $   8.60          $   108.17   $    108.17
  1/28/2018 Javier Arias                 $10.00   59.28   $   8.60          $    96.42   $     96.42
   2/4/2018 Javier Arias                 $10.00   62.52   $   8.60          $   112.58   $    112.58
  2/11/2018 Javier Arias                 $10.00   60.20   $   8.60          $   101.00   $    101.00
  2/18/2018 Javier Arias                 $10.00   62.05   $   8.60          $   110.25   $    110.25
  2/25/2018 Javier Arias                 $10.00   62.60   $   8.60          $   113.00   $    113.00
   3/4/2018 Javier Arias                 $10.00   62.02   $   8.60          $   110.08   $    110.08
  3/25/2018 Javier Arias                 $10.00   56.27   $   8.60          $    81.33   $     81.33
   4/1/2018 Javier Arias                 $10.00   65.68   $   8.60          $   128.42   $    128.42
   4/8/2018 Javier Arias                 $10.00   67.32   $   8.60          $   136.58   $    136.58
  4/15/2018 Javier Arias                 $10.00   54.72   $   8.60          $    73.58   $     73.58
  4/22/2018 Javier Arias                 $10.00   66.05   $   8.60          $   130.25   $    130.25
  4/29/2018 Javier Arias                 $10.00   75.95   $   8.60          $   179.75   $    179.75
   5/6/2018 Javier Arias                 $10.00   77.15   $   8.60          $   185.75   $    185.75
  5/13/2018 Javier Arias                 $10.00   74.62   $   8.60          $   173.08   $    173.08
  5/20/2018 Javier Arias                 $10.00   69.02   $   8.60          $   145.08   $    145.08
  5/27/2018 Javier Arias                 $10.00   72.32   $   8.60          $   161.58   $    161.58
   6/3/2018 Javier Arias                 $10.00   73.15   $   8.60          $   165.75   $    165.75
  6/10/2018 Javier Arias                 $10.00   76.95   $   8.60          $   184.75   $    184.75
  6/17/2018 Javier Arias                 $10.00   68.87   $   8.60          $   144.33   $    144.33
  6/24/2018 Javier Arias                 $10.00   72.12   $   8.60          $   160.58   $    160.58
   7/1/2018 Javier Arias                 $10.00   72.30   $   8.60          $   161.50   $    161.50
   7/8/2018 Javier Arias                 $10.00   65.48   $   8.60          $   127.42   $    127.42
  7/15/2018 Javier Arias                 $10.00   77.05   $   8.60          $   185.25   $    185.25
  7/22/2018 Javier Arias                 $10.00   72.78   $   8.60          $   163.92   $    163.92
  7/29/2018 Javier Arias                 $10.00   74.18   $   8.60          $   170.92   $    170.92
   8/5/2018 Javier Arias                 $10.00   49.73   $   8.60          $    48.67   $     48.67
  8/19/2018 Javier Arias                 $10.00   73.33   $   8.60          $   166.67   $    166.67
  8/26/2018 Javier Arias                 $10.00   65.97   $   8.60          $   129.83   $    129.83
   9/2/2018 Javier Arias                 $10.00   68.67   $   8.60          $   143.33   $    143.33
   9/9/2018 Javier Arias                 $10.00   65.57   $   8.60          $   127.83   $    127.83
  9/16/2018 Javier Arias                 $10.00   54.08   $   8.60          $    70.42   $     70.42
 10/14/2018 Javier Arias                 $10.00   67.15   $   8.60          $   135.75   $    135.75
 10/21/2018 Javier Arias                 $11.25   58.30   $   8.60          $   102.94   $    102.94
 10/28/2018 Javier Arias                 $11.25   66.88   $   8.60          $   151.22   $    151.22
  11/4/2018 Javier Arias                 $11.25   68.20   $   8.60          $   158.63   $    158.63
 11/11/2018 Javier Arias                 $11.25   66.58   $   8.60          $   149.53   $    149.53
 11/18/2018 Javier Arias                 $11.25   65.62   $   8.60          $   144.09   $    144.09
 11/25/2018 Javier Arias                 $11.25   51.47   $   8.60          $    64.50   $     64.50
  12/2/2018 Javier Arias                 $11.25   66.87   $   8.60          $   151.13   $    151.13
  12/9/2018 Javier Arias                 $11.25   69.10   $   8.60          $   163.69   $    163.69
 12/16/2018 Javier Arias                 $11.25   68.33   $   8.60          $   159.38   $    159.38
 12/23/2018 Javier Arias                 $11.25   61.60   $   8.60          $   121.50   $    121.50
 12/30/2018 Javier Arias                 $11.25   49.42   $   8.60          $    52.97   $     52.97
  1/20/2019 Javier Arias                 $11.50   63.73   $   8.85          $   136.47   $    136.47



                                           278
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 280 of 683 PageID: 1127
                                          Exhibit 2
                                  New Jersey Computations


   Week                                                  State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
  Ending                   Name                        Minumum Regular    Half-Time Overtime Back
                                          Rate Week
   Date                                                  Wage  Rate Due     Due       Wages Due

  1/27/2019 Javier Arias                 $11.50   65.03   $    8.85         $   143.94   $    143.94
   2/3/2019 Javier Arias                 $11.50   66.80   $    8.85         $   154.10   $    154.10
  2/10/2019 Javier Arias                 $11.50   66.63   $    8.85         $   153.14   $    153.14
  2/17/2019 Javier Arias                 $11.50   51.17   $    8.85         $    64.21   $     64.21
  2/24/2019 Javier Arias                 $11.50   70.52   $    8.85         $   175.47   $    175.47
   3/3/2019 Javier Arias                 $11.50   66.67   $    8.85         $   153.33   $    153.33
  3/10/2019 Javier Arias                 $11.50   58.88   $    8.85         $   108.58   $    108.58
  3/17/2019 Javier Arias                 $11.50   65.92   $    8.85         $   149.02   $    149.02
  3/24/2019 Javier Arias                 $11.50   70.45   $    8.85         $   175.09   $    175.09
  3/31/2019 Javier Arias                 $11.50   71.23   $    8.85         $   179.59   $    179.59
   4/7/2019 Javier Arias                 $11.50   68.55   $    8.85         $   164.16   $    164.16
  4/14/2019 Javier Arias                 $11.50   67.97   $    8.85         $   160.81   $    160.81
  4/21/2019 Javier Arias                 $11.50   66.65   $    8.85         $   153.24   $    153.24
  4/28/2019 Javier Arias                 $11.50   61.95   $    8.85         $   126.21   $    126.21
   5/5/2019 Javier Arias                 $11.50   63.17   $    8.85         $   133.21   $    133.21
  5/12/2019 Javier Arias                 $11.50   63.62   $    8.85         $   135.80   $    135.80
  5/19/2019 Javier Arias                 $11.50   66.90   $    8.85         $   154.68   $    154.68
  5/26/2019 Javier Arias                 $11.50   67.32   $    8.85         $   157.07   $    157.07
   6/2/2019 Javier Arias                 $11.50   58.62   $    8.85         $   107.05   $    107.05
   6/9/2019 Javier Arias                 $11.50   65.48   $    8.85         $   146.53   $    146.53
  6/16/2019 Javier Arias                 $11.50   62.05   $    8.85         $   126.79   $    126.79
  6/23/2019 Javier Arias                 $11.50   53.02   $    8.85         $    74.85   $     74.85
  6/30/2019 Javier Arias                 $11.50   63.77   $   10.00         $   136.66   $    136.66
   7/7/2019 Javier Arias                 $11.50   58.32   $   10.00         $   105.32   $    105.32
  7/14/2019 Javier Arias                 $11.50   63.92   $   10.00         $   137.52   $    137.52
  7/21/2019 Javier Arias                 $11.50   63.82   $   10.00         $   136.95   $    136.95
  7/28/2019 Javier Arias                 $11.50   64.47   $   10.00         $   140.68   $    140.68
   8/4/2019 Javier Arias                 $11.50   64.75   $   10.00         $   142.31   $    142.31
  8/11/2019 Javier Arias                 $11.50   64.83   $   10.00         $   142.79   $    142.79
  8/18/2019 Javier Arias                 $11.50   64.82   $   10.00         $   142.70   $    142.70
  8/25/2019 Javier Arias                 $11.50   65.17   $   10.00         $   144.71   $    144.71
   9/1/2019 Javier Arias                 $11.50   63.03   $   10.00         $   132.44   $    132.44
   9/8/2019 Javier Arias                 $11.50   58.33   $   10.00         $   105.42   $    105.42
  9/15/2019 Javier Arias                 $11.50   65.43   $   10.00         $   146.24   $    146.24
  9/22/2019 Javier Arias                 $11.50   64.77   $   10.00         $   142.41   $    142.41
  9/29/2019 Javier Arias                 $11.50   64.87   $   10.00         $   142.98   $    142.98
  10/6/2019 Javier Arias                 $11.50   66.28   $   10.00         $   151.13   $    151.13
 10/13/2019 Javier Arias                 $11.50   64.47   $   10.00         $   140.68   $    140.68
 10/20/2019 Javier Arias                 $11.50   64.83   $   10.00         $   142.79   $    142.79
 10/27/2019 Javier Arias                 $11.50   65.73   $   10.00         $   147.97   $    147.97
  11/3/2019 Javier Arias                 $11.50   64.45   $   10.00         $   140.59   $    140.59
 11/10/2019 Javier Arias                 $11.50   65.38   $   10.00         $   145.95   $    145.95
 11/17/2019 Javier Arias                 $11.50   56.18   $   10.00         $    93.05   $     93.05
 11/24/2019 Javier Arias                 $11.50   66.07   $   10.00         $   149.88   $    149.88
  12/1/2019 Javier Arias                 $11.50   51.35   $   10.00         $    65.26   $     65.26
  12/8/2019 Javier Arias                 $11.50   64.47   $   10.00         $   140.68   $    140.68
 12/15/2019 Javier Arias                 $11.50   66.40   $   10.00         $   151.80   $    151.80
 12/22/2019 Javier Arias                 $11.50   66.05   $   10.00         $   149.79   $    149.79
 12/29/2019 Javier Arias                 $11.50   47.90   $   10.00         $    45.43   $     45.43
   1/5/2020 Javier Arias                 $11.50   51.65   $   11.00         $    66.99   $     66.99



                                           279
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 281 of 683 PageID: 1128
                                                  Exhibit 2
                                          New Jersey Computations


   Week                                                          State Section 7: Section 7: Total Section 7
                                                 Hourly Hours/
  Ending                           Name                        Minumum Regular    Half-Time Overtime Back
                                                  Rate Week
   Date                                                          Wage  Rate Due     Due       Wages Due

  1/12/2020 Javier Arias                         $11.50   66.35   $   11.00         $   151.51   $    151.51
  1/19/2020 Javier Arias                         $11.50   66.82   $   11.00         $   154.20   $    154.20
  1/26/2020 Javier Arias                         $11.50   66.68   $   11.00         $   153.43   $    153.43
  4/30/2017 Javier Arturo Flores                  $9.00   55.85   $    8.44         $    71.33   $     71.33
   5/7/2017 Javier Arturo Flores                  $9.00   40.33   $    8.44         $     1.50   $      1.50
   4/2/2017 Javier De La Cruz                    $10.00   51.77   $    8.44         $    58.83   $     58.83
   4/9/2017 Javier De La Cruz                    $10.00   78.38   $    8.44         $   191.92   $    191.92
  4/16/2017 Javier De La Cruz                    $10.00   77.92   $    8.44         $   189.58   $    189.58
  4/23/2017 Javier De La Cruz                    $10.00   78.27   $    8.44         $   191.33   $    191.33
  4/30/2017 Javier De La Cruz                    $10.00   78.65   $    8.44         $   193.25   $    193.25
   5/7/2017 Javier De La Cruz                    $10.00   78.92   $    8.44         $   194.58   $    194.58
  5/14/2017 Javier De La Cruz                    $10.00   77.88   $    8.44         $   189.42   $    189.42
  5/21/2017 Javier De La Cruz                    $10.00   77.45   $    8.44         $   187.25   $    187.25
  5/28/2017 Javier De La Cruz                    $10.00   77.42   $    8.44         $   187.08   $    187.08
   6/4/2017 Javier De La Cruz                    $10.00   74.77   $    8.44         $   173.83   $    173.83
  6/11/2017 Javier De La Cruz                    $10.00   77.50   $    8.44         $   187.50   $    187.50
  6/18/2017 Javier De La Cruz                    $10.00   77.15   $    8.44         $   185.75   $    185.75
  6/25/2017 Javier De La Cruz                    $10.00   77.85   $    8.44         $   189.25   $    189.25
   7/2/2017 Javier De La Cruz                    $10.00   77.80   $    8.44         $   189.00   $    189.00
   7/9/2017 Javier De La Cruz                    $10.00   70.75   $    8.44         $   153.75   $    153.75
  7/16/2017 Javier De La Cruz                    $10.00   77.33   $    8.44         $   186.67   $    186.67
  7/23/2017 Javier De La Cruz                    $10.00   76.63   $    8.44         $   183.17   $    183.17
  7/30/2017 Javier De La Cruz                    $10.00   77.63   $    8.44         $   188.17   $    188.17
   8/6/2017 Javier De La Cruz                    $10.00   77.13   $    8.44         $   185.67   $    185.67
  8/13/2017 Javier De La Cruz                    $10.00   76.47   $    8.44         $   182.33   $    182.33
  8/20/2017 Javier De La Cruz                    $10.00   76.07   $    8.44         $   180.33   $    180.33
  8/27/2017 Javier De La Cruz                    $10.00   76.75   $    8.44         $   183.75   $    183.75
   9/3/2017 Javier De La Cruz                    $10.00   76.70   $    8.44         $   183.50   $    183.50
  9/10/2017 Javier De La Cruz                    $10.00   72.03   $    8.44         $   160.17   $    160.17
  9/17/2017 Javier De La Cruz                    $10.00   75.55   $    8.44         $   177.75   $    177.75
  9/24/2017 Javier De La Cruz                    $10.00   74.28   $    8.44         $   171.42   $    171.42
  10/1/2017 Javier De La Cruz                     $9.50   75.68   $    8.44         $   169.50   $    169.50
  10/8/2017 Javier De La Cruz                    $10.00   75.57   $    8.44         $   177.83   $    177.83
 10/15/2017 Javier De La Cruz                    $10.00   74.77   $    8.44         $   173.83   $    173.83
 10/22/2017 Javier De La Cruz                    $10.00   64.03   $    8.44         $   120.17   $    120.17
 10/29/2017 Javier De La Cruz                    $10.00   74.95   $    8.44         $   174.75   $    174.75
  11/5/2017 Javier De La Cruz                    $10.00   75.08   $    8.44         $   175.42   $    175.42
 11/12/2017 Javier De La Cruz                    $10.00   74.97   $    8.44         $   174.83   $    174.83
 11/19/2017 Javier De La Cruz                    $10.00   75.30   $    8.44         $   176.50   $    176.50
 11/26/2017 Javier De La Cruz                    $10.00   60.35   $    8.44         $   101.75   $    101.75
  12/3/2017 Javier De La Cruz                    $10.00   75.60   $    8.44         $   178.00   $    178.00
 12/10/2017 Javier De La Cruz                    $10.00   73.33   $    8.44         $   166.67   $    166.67
 12/17/2017 Javier De La Cruz                    $10.00   75.15   $    8.44         $   175.75   $    175.75
 12/24/2017 Javier De La Cruz                    $10.00   74.62   $    8.44         $   173.08   $    173.08
 12/31/2017 Javier De La Cruz                    $10.00   61.20   $    8.44         $   106.00   $    106.00
   1/7/2018 Javier De La Cruz                    $10.00   66.32   $    8.60         $   131.58   $    131.58
  1/14/2018 Javier De La Cruz                    $10.00   74.83   $    8.60         $   174.17   $    174.17
  1/21/2018 Javier De La Cruz                    $10.00   75.98   $    8.60         $   179.92   $    179.92
  1/28/2018 Javier De La Cruz                    $10.00   75.57   $    8.60         $   177.83   $    177.83
   2/4/2018 Javier De La Cruz                    $10.00   75.22   $    8.60         $   176.08   $    176.08



                                                   280
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 282 of 683 PageID: 1129
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  2/11/2018 Javier De La Cruz                 $10.00   73.78   $   8.60          $   168.92   $    168.92
  2/18/2018 Javier De La Cruz                 $10.00   76.15   $   8.60          $   180.75   $    180.75
  2/25/2018 Javier De La Cruz                 $10.00   76.38   $   8.60          $   181.92   $    181.92
   3/4/2018 Javier De La Cruz                 $10.00   62.98   $   8.60          $   114.92   $    114.92
  3/25/2018 Javier De La Cruz                 $10.00   58.98   $   8.60          $    94.92   $     94.92
   4/1/2018 Javier De La Cruz                 $10.00   76.95   $   8.60          $   184.75   $    184.75
   4/8/2018 Javier De La Cruz                 $10.00   76.95   $   8.60          $   184.75   $    184.75
  4/15/2018 Javier De La Cruz                 $10.00   65.93   $   8.60          $   129.67   $    129.67
  4/22/2018 Javier De La Cruz                 $10.00   67.98   $   8.60          $   139.92   $    139.92
  4/29/2018 Javier De La Cruz                 $10.00   71.95   $   8.60          $   159.75   $    159.75
   5/6/2018 Javier De La Cruz                 $10.00   72.87   $   8.60          $   164.33   $    164.33
  5/13/2018 Javier De La Cruz                 $10.00   71.73   $   8.60          $   158.67   $    158.67
  5/20/2018 Javier De La Cruz                 $10.00   71.10   $   8.60          $   155.50   $    155.50
  5/27/2018 Javier De La Cruz                 $10.00   72.60   $   8.60          $   163.00   $    163.00
   6/3/2018 Javier De La Cruz                 $10.00   69.75   $   8.60          $   148.75   $    148.75
  6/10/2018 Javier De La Cruz                 $10.00   71.20   $   8.60          $   156.00   $    156.00
  6/17/2018 Javier De La Cruz                 $10.00   72.03   $   8.60          $   160.17   $    160.17
  6/24/2018 Javier De La Cruz                 $10.00   71.50   $   8.60          $   157.50   $    157.50
   7/1/2018 Javier De La Cruz                 $10.00   70.68   $   8.60          $   153.42   $    153.42
   7/8/2018 Javier De La Cruz                 $10.00   57.55   $   8.60          $    87.75   $     87.75
  7/15/2018 Javier De La Cruz                 $10.00   71.55   $   8.60          $   157.75   $    157.75
  7/22/2018 Javier De La Cruz                 $10.00   70.47   $   8.60          $   152.33   $    152.33
  7/29/2018 Javier De La Cruz                 $10.00   71.85   $   8.60          $   159.25   $    159.25
   8/5/2018 Javier De La Cruz                 $10.00   71.72   $   8.60          $   158.58   $    158.58
  8/12/2018 Javier De La Cruz                 $10.00   71.97   $   8.60          $   159.83   $    159.83
  8/19/2018 Javier De La Cruz                 $10.00   70.12   $   8.60          $   150.58   $    150.58
  8/26/2018 Javier De La Cruz                 $10.00   59.93   $   8.60          $    99.67   $     99.67
   9/2/2018 Javier De La Cruz                 $10.00   70.03   $   8.60          $   150.17   $    150.17
   9/9/2018 Javier De La Cruz                 $10.00   62.45   $   8.60          $   112.25   $    112.25
  9/16/2018 Javier De La Cruz                 $10.00   68.18   $   8.60          $   140.92   $    140.92
  9/23/2018 Javier De La Cruz                 $10.00   71.10   $   8.60          $   155.50   $    155.50
  9/30/2018 Javier De La Cruz                 $10.00   69.70   $   8.60          $   148.50   $    148.50
  10/7/2018 Javier De La Cruz                 $10.00   70.62   $   8.60          $   153.08   $    153.08
 10/14/2018 Javier De La Cruz                 $10.00   60.50   $   8.60          $   102.50   $    102.50
 10/21/2018 Javier De La Cruz                 $10.00   71.15   $   8.60          $   155.75   $    155.75
 10/28/2018 Javier De La Cruz                 $10.00   71.23   $   8.60          $   156.17   $    156.17
  11/4/2018 Javier De La Cruz                 $10.00   57.05   $   8.60          $    85.25   $     85.25
 11/11/2018 Javier De La Cruz                 $10.00   67.98   $   8.60          $   139.92   $    139.92
 11/18/2018 Javier De La Cruz                 $10.00   66.82   $   8.60          $   134.08   $    134.08
 11/25/2018 Javier De La Cruz                 $10.00   58.23   $   8.60          $    91.17   $     91.17
  12/2/2018 Javier De La Cruz                 $10.00   69.43   $   8.60          $   147.17   $    147.17
  12/9/2018 Javier De La Cruz                 $10.00   60.30   $   8.60          $   101.50   $    101.50
 12/30/2018 Javier De La Cruz                 $10.00   56.50   $   8.60          $    82.50   $     82.50
  3/31/2019 Javier De La Cruz                 $10.00   62.38   $   8.85          $   111.92   $    111.92
   4/7/2019 Javier De La Cruz                 $10.00   49.13   $   8.85          $    45.67   $     45.67
  4/14/2019 Javier De La Cruz                 $10.00   73.85   $   8.85          $   169.25   $    169.25
  4/21/2019 Javier De La Cruz                 $10.00   73.73   $   8.85          $   168.67   $    168.67
  4/28/2019 Javier De La Cruz                 $10.00   60.88   $   8.85          $   104.42   $    104.42
   5/5/2019 Javier De La Cruz                 $10.00   73.73   $   8.85          $   168.67   $    168.67
  5/12/2019 Javier De La Cruz                 $10.00   48.58   $   8.85          $    42.92   $     42.92



                                                281
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 283 of 683 PageID: 1130
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  5/19/2019 Javier De La Cruz                 $10.00   69.47   $    8.85         $   147.33   $    147.33
  5/26/2019 Javier De La Cruz                 $10.00   73.67   $    8.85         $   168.33   $    168.33
   6/2/2019 Javier De La Cruz                 $10.00   71.28   $    8.85         $   156.42   $    156.42
   6/9/2019 Javier De La Cruz                 $10.00   73.97   $    8.85         $   169.83   $    169.83
  6/16/2019 Javier De La Cruz                 $10.00   74.15   $    8.85         $   170.75   $    170.75
  6/23/2019 Javier De La Cruz                 $10.00   71.88   $    8.85         $   159.42   $    159.42
  6/30/2019 Javier De La Cruz                 $10.00   74.00   $   10.00         $   170.00   $    170.00
   7/7/2019 Javier De La Cruz                 $12.00   72.58   $   10.00         $   195.50   $    195.50
  7/14/2019 Javier De La Cruz                 $12.00   61.82   $   10.00         $   130.90   $    130.90
  7/28/2019 Javier De La Cruz                 $12.00   73.98   $   10.00         $   203.90   $    203.90
   8/4/2019 Javier De La Cruz                 $12.00   76.88   $   10.00         $   221.30   $    221.30
  8/11/2019 Javier De La Cruz                 $12.00   75.07   $   10.00         $   210.40   $    210.40
  8/18/2019 Javier De La Cruz                 $12.00   70.82   $   10.00         $   184.90   $    184.90
  8/25/2019 Javier De La Cruz                 $12.00   60.22   $   10.00         $   121.30   $    121.30
   9/1/2019 Javier De La Cruz                 $12.00   60.67   $   10.00         $   124.00   $    124.00
   9/8/2019 Javier De La Cruz                 $12.00   60.15   $   10.00         $   120.90   $    120.90
  9/15/2019 Javier De La Cruz                 $12.00   70.68   $   10.00         $   184.10   $    184.10
  9/22/2019 Javier De La Cruz                 $12.00   71.98   $   10.00         $   191.90   $    191.90
  9/29/2019 Javier De La Cruz                 $12.00   59.78   $   10.00         $   118.70   $    118.70
  10/6/2019 Javier De La Cruz                 $12.00   62.30   $   10.00         $   133.80   $    133.80
 10/13/2019 Javier De La Cruz                 $12.00   62.03   $   10.00         $   132.20   $    132.20
 10/20/2019 Javier De La Cruz                 $12.00   59.93   $   10.00         $   119.60   $    119.60
 10/27/2019 Javier De La Cruz                 $12.00   61.68   $   10.00         $   130.10   $    130.10
  11/3/2019 Javier De La Cruz                 $12.00   71.82   $   10.00         $   190.90   $    190.90
 11/10/2019 Javier De La Cruz                 $12.00   67.58   $   10.00         $   165.50   $    165.50
 11/17/2019 Javier De La Cruz                 $12.00   59.62   $   10.00         $   117.70   $    117.70
 11/24/2019 Javier De La Cruz                 $12.00   62.12   $   10.00         $   132.70   $    132.70
  12/8/2019 Javier De La Cruz                 $12.00   59.45   $   10.00         $   116.70   $    116.70
 12/15/2019 Javier De La Cruz                 $12.00   72.10   $   10.00         $   192.60   $    192.60
 12/22/2019 Javier De La Cruz                 $12.00   73.37   $   10.00         $   200.20   $    200.20
 12/29/2019 Javier De La Cruz                 $12.00   56.63   $   10.00         $    99.80   $     99.80
   1/5/2020 Javier De La Cruz                 $12.00   41.02   $   11.00         $     6.10   $      6.10
  1/12/2020 Javier De La Cruz                 $12.00   71.78   $   11.00         $   190.70   $    190.70
  1/19/2020 Javier De La Cruz                 $12.00   70.05   $   11.00         $   180.30   $    180.30
  1/26/2020 Javier De La Cruz                 $12.00   61.02   $   11.00         $   126.10   $    126.10
  4/14/2019 Javier Nunez                      $11.00   53.98   $    8.85         $    76.91   $     76.91
  4/21/2019 Javier Nunez                      $11.00   66.25   $    8.85         $   144.38   $    144.38
  4/28/2019 Javier Nunez                      $11.00   66.33   $    8.85         $   144.83   $    144.83
   5/5/2019 Javier Nunez                      $11.00   64.63   $    8.85         $   135.48   $    135.48
  5/12/2019 Javier Nunez                      $11.00   66.77   $    8.85         $   147.22   $    147.22
  5/19/2019 Javier Nunez                      $11.00   70.78   $    8.85         $   169.31   $    169.31
  5/26/2019 Javier Nunez                      $11.00   71.23   $    8.85         $   171.78   $    171.78
   6/2/2019 Javier Nunez                      $11.00   68.22   $    8.85         $   155.19   $    155.19
   6/9/2019 Javier Nunez                      $11.00   72.55   $    8.85         $   179.03   $    179.03
  6/16/2019 Javier Nunez                      $11.00   68.33   $    8.85         $   155.83   $    155.83
  6/23/2019 Javier Nunez                      $11.00   71.32   $    8.85         $   172.24   $    172.24
  6/30/2019 Javier Nunez                      $11.00   73.52   $   10.00         $   184.34   $    184.34
   7/7/2019 Javier Nunez                      $11.00   68.37   $   10.00         $   156.02   $    156.02
  7/14/2019 Javier Nunez                      $11.00   71.87   $   10.00         $   175.27   $    175.27
  7/21/2019 Javier Nunez                      $11.00   72.92   $   10.00         $   181.04   $    181.04



                                                282
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 284 of 683 PageID: 1131
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

   8/4/2019 Javier Nunez                     $11.00   75.50   $   10.00         $   195.25   $    195.25
  8/11/2019 Javier Nunez                     $11.00   61.17   $   10.00         $   116.42   $    116.42
  8/18/2019 Javier Nunez                     $11.00   58.28   $   10.00         $   100.56   $    100.56
  8/25/2019 Javier Nunez                     $11.00   70.43   $   10.00         $   167.38   $    167.38
   9/1/2019 Javier Nunez                     $11.00   71.67   $   10.00         $   174.17   $    174.17
   9/8/2019 Javier Nunez                     $11.00   45.00   $   10.00         $    27.50   $     27.50
  9/15/2019 Javier Nunez                     $11.00   63.23   $   10.00         $   127.78   $    127.78
  9/22/2019 Javier Nunez                     $11.00   64.77   $   10.00         $   136.22   $    136.22
  9/29/2019 Javier Nunez                     $11.00   64.27   $   10.00         $   133.47   $    133.47
 10/13/2019 Javier Nunez                     $11.00   47.80   $   10.00         $    42.90   $     42.90
 10/20/2019 Javier Nunez                     $11.00   59.83   $   10.00         $   109.08   $    109.08
 10/27/2019 Javier Nunez                     $11.00   60.08   $   10.00         $   110.46   $    110.46
  11/3/2019 Javier Nunez                     $11.00   60.63   $   10.00         $   113.48   $    113.48
 11/10/2019 Javier Nunez                     $11.00   54.03   $   10.00         $    77.18   $     77.18
 11/17/2019 Javier Nunez                     $11.00   45.00   $   10.00         $    27.50   $     27.50
  12/1/2019 Javier Nunez                     $11.00   45.07   $   10.00         $    27.87   $     27.87
  12/8/2019 Javier Nunez                     $11.00   52.07   $   10.00         $    66.37   $     66.37
 12/15/2019 Javier Nunez                     $11.00   59.48   $   10.00         $   107.16   $    107.16
  1/27/2019 Javier Olmedo                    $10.00   49.63   $    8.85         $    48.17   $     48.17
   2/3/2019 Javier Olmedo                    $10.00   59.88   $    8.85         $    99.42   $     99.42
  2/10/2019 Javier Olmedo                    $10.00   57.93   $    8.85         $    89.67   $     89.67
  2/17/2019 Javier Olmedo                    $10.00   49.92   $    8.85         $    49.58   $     49.58
  10/6/2019 Javier Olmedo                    $10.00   64.63   $   10.00         $   123.17   $    123.17
   2/5/2017 Javier Velasquez                  $9.50   62.37   $    8.44         $   106.24   $    106.24
  2/12/2017 Javier Velasquez                  $9.50   50.82   $    8.44         $    51.38   $     51.38
  2/19/2017 Javier Velasquez                  $9.50   57.10   $    8.44         $    81.23   $     81.23
  2/26/2017 Javier Velasquez                  $9.50   64.83   $    8.44         $   117.96   $    117.96
   3/5/2017 Javier Velasquez                  $9.50   63.47   $    8.44         $   111.47   $    111.47
  3/12/2017 Javier Velasquez                  $9.50   63.85   $    8.44         $   113.29   $    113.29
  3/19/2017 Javier Velasquez                  $9.50   55.20   $    8.44         $    72.20   $     72.20
  3/26/2017 Javier Velasquez                  $9.50   64.25   $    8.44         $   115.19   $    115.19
   4/2/2017 Javier Velasquez                  $9.50   57.13   $    8.44         $    81.38   $     81.38
   4/9/2017 Javier Velasquez                  $9.50   62.00   $    8.44         $   104.50   $    104.50
  4/16/2017 Javier Velasquez                  $9.50   62.70   $    8.44         $   107.83   $    107.83
  4/23/2017 Javier Velasquez                  $9.50   65.13   $    8.44         $   119.38   $    119.38
  4/30/2017 Javier Velasquez                  $9.50   52.73   $    8.44         $    60.48   $     60.48
   5/7/2017 Javier Velasquez                 $12.00   70.30   $    8.44         $   181.80   $    181.80
  5/14/2017 Javier Velasquez                 $12.00   73.55   $    8.44         $   201.30   $    201.30
  5/21/2017 Javier Velasquez                 $12.00   74.65   $    8.44         $   207.90   $    207.90
  5/28/2017 Javier Velasquez                 $12.00   75.08   $    8.44         $   210.50   $    210.50
   6/4/2017 Javier Velasquez                 $12.00   64.18   $    8.44         $   145.10   $    145.10
  6/11/2017 Javier Velasquez                 $12.00   70.25   $    8.44         $   181.50   $    181.50
  6/18/2017 Javier Velasquez                 $12.00   74.75   $    8.44         $   208.50   $    208.50
  6/25/2017 Javier Velasquez                 $12.00   74.48   $    8.44         $   206.90   $    206.90
   7/2/2017 Javier Velasquez                 $12.00   75.65   $    8.44         $   213.90   $    213.90
   7/9/2017 Javier Velasquez                 $12.00   71.22   $    8.44         $   187.30   $    187.30
  7/16/2017 Javier Velasquez                 $12.00   75.62   $    8.44         $   213.70   $    213.70
  7/23/2017 Javier Velasquez                 $12.00   65.40   $    8.44         $   152.40   $    152.40
  7/30/2017 Javier Velasquez                 $12.00   72.98   $    8.44         $   197.90   $    197.90
   8/6/2017 Javier Velasquez                 $12.00   78.03   $    8.44         $   228.20   $    228.20



                                               283
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 285 of 683 PageID: 1132
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  8/13/2017 Javier Velasquez                 $12.00   76.30   $   8.44          $   217.80   $    217.80
  8/20/2017 Javier Velasquez                 $12.00   78.22   $   8.44          $   229.30   $    229.30
  8/27/2017 Javier Velasquez                 $12.00   74.47   $   8.44          $   206.80   $    206.80
   9/3/2017 Javier Velasquez                 $12.00   74.35   $   8.44          $   206.10   $    206.10
  9/10/2017 Javier Velasquez                 $12.00   71.00   $   8.44          $   186.00   $    186.00
  9/17/2017 Javier Velasquez                 $12.00   75.02   $   8.44          $   210.10   $    210.10
  9/24/2017 Javier Velasquez                 $12.00   71.40   $   8.44          $   188.40   $    188.40
  10/1/2017 Javier Velasquez                 $12.00   73.57   $   8.44          $   201.40   $    201.40
  10/8/2017 Javier Velasquez                 $12.00   63.67   $   8.44          $   142.00   $    142.00
 10/15/2017 Javier Velasquez                 $12.00   74.42   $   8.44          $   206.50   $    206.50
 10/22/2017 Javier Velasquez                 $12.00   74.03   $   8.44          $   204.20   $    204.20
 10/29/2017 Javier Velasquez                 $12.00   73.43   $   8.44          $   200.60   $    200.60
  11/5/2017 Javier Velasquez                 $12.00   75.62   $   8.44          $   213.70   $    213.70
 11/12/2017 Javier Velasquez                 $12.00   71.10   $   8.44          $   186.60   $    186.60
 11/19/2017 Javier Velasquez                 $12.00   71.85   $   8.44          $   191.10   $    191.10
 11/26/2017 Javier Velasquez                 $12.00   61.67   $   8.44          $   130.00   $    130.00
  12/3/2017 Javier Velasquez                 $12.00   71.23   $   8.44          $   187.40   $    187.40
 12/10/2017 Javier Velasquez                 $12.00   61.53   $   8.44          $   129.20   $    129.20
 12/17/2017 Javier Velasquez                 $12.00   69.83   $   8.44          $   179.00   $    179.00
 12/24/2017 Javier Velasquez                 $12.00   65.08   $   8.44          $   150.50   $    150.50
 12/31/2017 Javier Velasquez                 $12.00   58.72   $   8.44          $   112.30   $    112.30
   1/7/2018 Javier Velasquez                 $12.00   64.90   $   8.60          $   149.40   $    149.40
  1/14/2018 Javier Velasquez                 $12.00   75.62   $   8.60          $   213.70   $    213.70
  1/21/2018 Javier Velasquez                 $12.00   72.12   $   8.60          $   192.70   $    192.70
  1/28/2018 Javier Velasquez                 $12.00   75.02   $   8.60          $   210.10   $    210.10
   2/4/2018 Javier Velasquez                 $12.00   75.18   $   8.60          $   211.10   $    211.10
  2/11/2018 Javier Velasquez                 $12.00   75.68   $   8.60          $   214.10   $    214.10
  2/18/2018 Javier Velasquez                 $12.00   63.85   $   8.60          $   143.10   $    143.10
  2/25/2018 Javier Velasquez                 $12.00   40.82   $   8.60          $     4.90   $      4.90
   3/4/2018 Javier Velasquez                 $12.00   53.00   $   8.60          $    78.00   $     78.00
  3/25/2018 Javier Velasquez                 $12.00   52.35   $   8.60          $    74.10   $     74.10
   4/1/2018 Javier Velasquez                 $12.00   67.52   $   8.60          $   165.10   $    165.10
   4/8/2018 Javier Velasquez                 $12.00   67.15   $   8.60          $   162.90   $    162.90
  4/15/2018 Javier Velasquez                 $12.00   55.00   $   8.60          $    90.00   $     90.00
  4/22/2018 Javier Velasquez                 $12.00   77.75   $   8.60          $   226.50   $    226.50
  4/29/2018 Javier Velasquez                 $12.00   58.53   $   8.60          $   111.20   $    111.20
   5/6/2018 Javier Velasquez                 $12.00   61.80   $   8.60          $   130.80   $    130.80
  5/13/2018 Javier Velasquez                 $12.00   68.30   $   8.60          $   169.80   $    169.80
  5/20/2018 Javier Velasquez                 $12.00   73.42   $   8.60          $   200.50   $    200.50
  5/27/2018 Javier Velasquez                 $12.00   52.07   $   8.60          $    72.40   $     72.40
   6/3/2018 Javier Velasquez                 $12.00   68.33   $   8.60          $   170.00   $    170.00
  6/10/2018 Javier Velasquez                 $12.00   77.17   $   8.60          $   223.00   $    223.00
  6/17/2018 Javier Velasquez                 $12.00   65.38   $   8.60          $   152.30   $    152.30
  6/24/2018 Javier Velasquez                 $12.00   79.72   $   8.60          $   238.30   $    238.30
   7/1/2018 Javier Velasquez                 $12.00   64.47   $   8.60          $   146.80   $    146.80
   7/8/2018 Javier Velasquez                 $12.00   48.95   $   8.60          $    53.70   $     53.70
  7/15/2018 Javier Velasquez                 $12.00   72.28   $   8.60          $   193.70   $    193.70
  7/22/2018 Javier Velasquez                 $12.00   65.00   $   8.60          $   150.00   $    150.00
  7/29/2018 Javier Velasquez                 $12.00   72.73   $   8.60          $   196.40   $    196.40
   8/5/2018 Javier Velasquez                 $12.00   75.73   $   8.60          $   214.40   $    214.40



                                               284
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 286 of 683 PageID: 1133
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  8/12/2018 Javier Velasquez                 $12.00   61.98   $    8.60         $   131.90   $    131.90
  8/19/2018 Javier Velasquez                 $12.00   73.77   $    8.60         $   202.60   $    202.60
  8/26/2018 Javier Velasquez                 $12.00   65.18   $    8.60         $   151.10   $    151.10
   9/2/2018 Javier Velasquez                 $12.00   76.75   $    8.60         $   220.50   $    220.50
   9/9/2018 Javier Velasquez                 $12.00   71.22   $    8.60         $   187.30   $    187.30
  9/16/2018 Javier Velasquez                 $12.00   72.27   $    8.60         $   193.60   $    193.60
  9/23/2018 Javier Velasquez                 $12.00   71.93   $    8.60         $   191.60   $    191.60
  9/30/2018 Javier Velasquez                 $12.00   68.88   $    8.60         $   173.30   $    173.30
  10/7/2018 Javier Velasquez                 $12.00   71.82   $    8.60         $   190.90   $    190.90
 10/14/2018 Javier Velasquez                 $12.00   50.75   $    8.60         $    64.50   $     64.50
 10/21/2018 Javier Velasquez                 $12.00   63.68   $    8.60         $   142.10   $    142.10
 10/28/2018 Javier Velasquez                 $12.00   71.85   $    8.60         $   191.10   $    191.10
  11/4/2018 Javier Velasquez                 $12.00   75.05   $    8.60         $   210.30   $    210.30
 11/11/2018 Javier Velasquez                 $12.00   74.38   $    8.60         $   206.30   $    206.30
 11/18/2018 Javier Velasquez                 $12.00   69.73   $    8.60         $   178.40   $    178.40
 11/25/2018 Javier Velasquez                 $12.00   69.95   $    8.60         $   179.70   $    179.70
  12/2/2018 Javier Velasquez                 $12.00   68.22   $    8.60         $   169.30   $    169.30
  12/9/2018 Javier Velasquez                 $12.00   65.67   $    8.60         $   154.00   $    154.00
 12/16/2018 Javier Velasquez                 $12.00   83.65   $    8.60         $   261.90   $    261.90
 12/23/2018 Javier Velasquez                 $12.00   73.42   $    8.60         $   200.50   $    200.50
 12/30/2018 Javier Velasquez                 $12.00   67.60   $    8.60         $   165.60   $    165.60
   1/6/2019 Javier Velasquez                 $12.00   86.12   $    8.85         $   276.70   $    276.70
  1/13/2019 Javier Velasquez                 $12.00   68.35   $    8.85         $   170.10   $    170.10
  1/20/2019 Javier Velasquez                 $12.00   83.08   $    8.85         $   258.50   $    258.50
  1/27/2019 Javier Velasquez                 $12.00   67.83   $    8.85         $   167.00   $    167.00
   2/3/2019 Javier Velasquez                 $12.00   85.07   $    8.85         $   270.40   $    270.40
  2/10/2019 Javier Velasquez                 $12.00   72.92   $    8.85         $   197.50   $    197.50
  2/17/2019 Javier Velasquez                 $12.00   79.53   $    8.85         $   237.20   $    237.20
  2/24/2019 Javier Velasquez                 $12.00   77.72   $    8.85         $   226.30   $    226.30
   3/3/2019 Javier Velasquez                 $12.00   64.35   $    8.85         $   146.10   $    146.10
  3/10/2019 Javier Velasquez                 $12.00   66.17   $    8.85         $   157.00   $    157.00
  3/17/2019 Javier Velasquez                 $12.00   54.98   $    8.85         $    89.90   $     89.90
  3/24/2019 Javier Velasquez                 $12.00   66.12   $    8.85         $   156.70   $    156.70
  3/31/2019 Javier Velasquez                 $12.00   53.00   $    8.85         $    78.00   $     78.00
   4/7/2019 Javier Velasquez                 $12.00   67.50   $    8.85         $   165.00   $    165.00
  4/14/2019 Javier Velasquez                 $12.00   68.50   $    8.85         $   171.00   $    171.00
  4/21/2019 Javier Velasquez                 $12.00   71.28   $    8.85         $   187.70   $    187.70
  4/28/2019 Javier Velasquez                 $12.00   66.63   $    8.85         $   159.80   $    159.80
   5/5/2019 Javier Velasquez                 $12.00   67.10   $    8.85         $   162.60   $    162.60
  5/12/2019 Javier Velasquez                 $12.00   73.82   $    8.85         $   202.90   $    202.90
  5/19/2019 Javier Velasquez                 $12.00   72.73   $    8.85         $   196.40   $    196.40
  5/26/2019 Javier Velasquez                 $12.00   73.37   $    8.85         $   200.20   $    200.20
   6/2/2019 Javier Velasquez                 $12.00   67.38   $    8.85         $   164.30   $    164.30
   6/9/2019 Javier Velasquez                 $12.00   73.43   $    8.85         $   200.60   $    200.60
  6/16/2019 Javier Velasquez                 $12.00   62.38   $    8.85         $   134.30   $    134.30
  6/23/2019 Javier Velasquez                 $12.00   56.33   $    8.85         $    98.00   $     98.00
  6/30/2019 Javier Velasquez                 $12.00   81.40   $   10.00         $   248.40   $    248.40
   7/7/2019 Javier Velasquez                 $12.00   79.82   $   10.00         $   238.90   $    238.90
  7/14/2019 Javier Velasquez                 $12.00   75.38   $   10.00         $   212.30   $    212.30
  7/21/2019 Javier Velasquez                 $12.00   84.42   $   10.00         $   266.50   $    266.50



                                               285
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 287 of 683 PageID: 1134
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

  7/28/2019 Javier Velasquez                   $12.00   70.52   $   10.00               $   183.10   $   183.10
   8/4/2019 Javier Velasquez                   $12.00   56.45   $   10.00               $    98.70   $    98.70
  8/11/2019 Javier Velasquez                   $12.00   71.10   $   10.00               $   186.60   $   186.60
  8/18/2019 Javier Velasquez                   $12.00   57.87   $   10.00               $   107.20   $   107.20
  8/25/2019 Javier Velasquez                   $12.00   56.17   $   10.00               $    97.00   $    97.00
   9/1/2019 Javier Velasquez                   $12.00   66.38   $   10.00               $   158.30   $   158.30
   9/8/2019 Javier Velasquez                   $12.00   78.15   $   10.00               $   228.90   $   228.90
  9/15/2019 Javier Velasquez                   $12.00   67.57   $   10.00               $   165.40   $   165.40
  9/22/2019 Javier Velasquez                   $12.00   52.52   $   10.00               $    75.10   $    75.10
  9/29/2019 Javier Velasquez                   $12.00   80.20   $   10.00               $   241.20   $   241.20
  10/6/2019 Javier Velasquez                   $12.00   53.87   $   10.00               $    83.20   $    83.20
 10/13/2019 Javier Velasquez                   $12.00   68.15   $   10.00               $   168.90   $   168.90
 10/20/2019 Javier Velasquez                   $12.00   82.43   $   10.00               $   254.60   $   254.60
 10/27/2019 Javier Velasquez                   $12.00   66.70   $   10.00               $   160.20   $   160.20
  11/3/2019 Javier Velasquez                   $12.00   68.32   $   10.00               $   169.90   $   169.90
 11/10/2019 Javier Velasquez                   $12.00   56.25   $   10.00               $    97.50   $    97.50
 11/17/2019 Javier Velasquez                   $12.00   86.27   $   10.00               $   277.60   $   277.60
 11/24/2019 Javier Velasquez                   $12.00   72.57   $   10.00               $   195.40   $   195.40
  12/1/2019 Javier Velasquez                   $12.00   67.73   $   10.00               $   166.40   $   166.40
  12/8/2019 Javier Velasquez                   $12.00   72.88   $   10.00               $   197.30   $   197.30
   1/5/2020 Javier Velasquez                   $12.00   61.07   $   11.00               $   126.40   $   126.40
  1/19/2020 Javier Velasquez                   $12.00   68.68   $   11.00               $   172.10   $   172.10
  1/26/2020 Javier Velasquez                   $12.00   75.30   $   11.00               $   211.80   $   211.80
  7/21/2019 Javier Villalobos                  $10.00   62.97   $   10.00               $   114.83   $   114.83
  7/28/2019 Javier Villalobos                  $10.00   61.95   $   10.00               $   109.75   $   109.75
   8/4/2019 Javier Villalobos                  $10.00   63.03   $   10.00               $   115.17   $   115.17
  8/18/2019 Javier Villalobos                  $10.00   62.67   $   10.00               $   113.33   $   113.33
  8/25/2019 Javier Villalobos                  $10.00   61.97   $   10.00               $   109.83   $   109.83
   9/1/2019 Javier Villalobos                  $10.00   60.03   $   10.00               $   100.17   $   100.17
   9/8/2019 Javier Villalobos                  $10.00   54.23   $   10.00               $    71.17   $    71.17
  9/15/2019 Javier Villalobos                  $10.00   49.97   $   10.00               $    49.83   $    49.83
  9/22/2019 Javier Villalobos                  $10.00   61.10   $   10.00               $   105.50   $   105.50
  9/29/2019 Javier Villalobos                  $10.00   61.90   $   10.00               $   109.50   $   109.50
  10/6/2019 Javier Villalobos                  $10.00   62.00   $   10.00               $   110.00   $   110.00
 10/13/2019 Javier Villalobos                  $10.00   62.08   $   10.00               $   110.42   $   110.42
 10/20/2019 Javier Villalobos                  $10.00   59.62   $   10.00               $    98.08   $    98.08
 10/27/2019 Javier Villalobos                  $10.00   62.38   $   10.00               $   111.92   $   111.92
  11/3/2019 Javier Villalobos                  $10.00   62.02   $   10.00               $   110.08   $   110.08
 11/10/2019 Javier Villalobos                  $10.00   62.15   $   10.00               $   110.75   $   110.75
 11/17/2019 Javier Villalobos                  $10.00   62.12   $   10.00               $   110.58   $   110.58
 11/24/2019 Javier Villalobos                  $10.00   61.58   $   10.00               $   107.92   $   107.92
  12/1/2019 Javier Villalobos                  $10.00   52.17   $   10.00               $    60.83   $    60.83
  12/8/2019 Javier Villalobos                  $10.00   63.18   $   10.00               $   115.92   $   115.92
 12/15/2019 Javier Villalobos                  $10.00   62.58   $   10.00               $   112.92   $   112.92
 12/22/2019 Javier Villalobos                  $10.00   63.70   $   10.00               $   118.50   $   118.50
 12/29/2019 Javier Villalobos                  $10.00   40.45   $   10.00               $     2.25   $     2.25
  1/12/2020 Javier Villalobos                  $10.00   62.78   $   11.00   $   62.78   $   125.31   $   188.09
  1/19/2020 Javier Villalobos                  $10.00   53.15   $   11.00   $   53.15   $    72.33   $   125.48
   2/5/2017 Jefferson Castillo                  $8.44   50.28   $    8.44               $    43.40   $    43.40
  2/12/2017 Jefferson Castillo                  $8.44   51.20   $    8.44               $    47.26   $    47.26



                                                 286
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 288 of 683 PageID: 1135
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

  2/19/2017 Jefferson Castillo                  $8.44   54.23   $   8.44          $    60.06   $     60.06
  2/26/2017 Jefferson Castillo                  $8.44   60.50   $   8.44          $    86.51   $     86.51
   3/5/2017 Jefferson Castillo                  $8.44   59.42   $   8.44          $    81.94   $     81.94
  3/12/2017 Jefferson Castillo                  $8.44   42.42   $   8.44          $    10.20   $     10.20
  3/19/2017 Jefferson Castillo                  $8.44   49.13   $   8.44          $    38.54   $     38.54
  3/26/2017 Jefferson Castillo                  $8.44   53.65   $   8.44          $    57.60   $     57.60
   4/2/2017 Jefferson Castillo                  $8.44   49.22   $   8.44          $    38.89   $     38.89
   4/9/2017 Jefferson Castillo                  $8.44   59.47   $   8.44          $    82.15   $     82.15
  4/23/2017 Jefferson Castillo                  $8.44   49.65   $   8.44          $    40.72   $     40.72
  4/30/2017 Jefferson Castillo                  $8.44   64.07   $   8.44          $   101.56   $    101.56
  5/14/2017 Jefferson Castillo                  $8.44   50.65   $   8.44          $    44.94   $     44.94
  5/21/2017 Jefferson Castillo                  $8.44   56.62   $   8.44          $    70.12   $     70.12
  5/28/2017 Jefferson Castillo                  $8.44   59.40   $   8.44          $    81.87   $     81.87
   6/4/2017 Jefferson Castillo                  $8.44   49.93   $   8.44          $    41.92   $     41.92
  6/11/2017 Jefferson Castillo                  $8.44   55.95   $   8.44          $    67.31   $     67.31
  6/18/2017 Jefferson Castillo                  $8.44   59.40   $   8.44          $    81.87   $     81.87
  6/25/2017 Jefferson Castillo                  $8.44   58.55   $   8.44          $    78.28   $     78.28
   7/2/2017 Jefferson Castillo                  $8.44   57.37   $   8.44          $    73.29   $     73.29
   7/9/2017 Jefferson Castillo                  $8.44   49.40   $   8.44          $    39.67   $     39.67
  7/16/2017 Jefferson Castillo                  $8.44   47.28   $   8.44          $    30.74   $     30.74
  7/23/2017 Jefferson Castillo                  $8.44   58.98   $   8.44          $    80.11   $     80.11
  7/30/2017 Jefferson Castillo                  $8.44   58.70   $   8.44          $    78.91   $     78.91
   8/6/2017 Jefferson Castillo                  $8.44   57.70   $   8.44          $    74.69   $     74.69
  8/13/2017 Jefferson Castillo                  $8.44   61.78   $   8.44          $    91.93   $     91.93
  8/20/2017 Jefferson Castillo                  $8.44   60.55   $   8.44          $    86.72   $     86.72
  8/27/2017 Jefferson Castillo                  $8.44   58.92   $   8.44          $    79.83   $     79.83
   9/3/2017 Jefferson Castillo                  $8.44   40.47   $   8.44          $     1.97   $      1.97
  9/10/2017 Jefferson Castillo                  $8.44   52.37   $   8.44          $    52.19   $     52.19
  9/17/2017 Jefferson Castillo                  $8.44   49.77   $   8.44          $    41.22   $     41.22
  9/24/2017 Jefferson Castillo                  $8.44   59.22   $   8.44          $    81.09   $     81.09
  10/1/2017 Jefferson Castillo                  $8.44   62.12   $   8.44          $    93.33   $     93.33
  10/8/2017 Jefferson Castillo                  $8.44   50.10   $   8.44          $    42.62   $     42.62
 10/15/2017 Jefferson Castillo                  $8.44   58.30   $   8.44          $    77.23   $     77.23
 10/22/2017 Jefferson Castillo                  $8.44   49.68   $   8.44          $    40.86   $     40.86
 10/29/2017 Jefferson Castillo                  $8.44   61.07   $   8.44          $    88.90   $     88.90
  11/5/2017 Jefferson Castillo                  $8.44   60.58   $   8.44          $    86.86   $     86.86
 11/12/2017 Jefferson Castillo                  $8.44   55.33   $   8.44          $    64.71   $     64.71
 11/19/2017 Jefferson Castillo                  $8.44   49.72   $   8.44          $    41.00   $     41.00
 11/26/2017 Jefferson Castillo                  $8.44   49.90   $   8.44          $    41.78   $     41.78
  12/3/2017 Jefferson Castillo                  $8.44   60.48   $   8.44          $    86.44   $     86.44
 12/10/2017 Jefferson Castillo                  $8.44   40.40   $   8.44          $     1.69   $      1.69
 12/24/2017 Jefferson Castillo                  $8.44   60.02   $   8.44          $    84.47   $     84.47
 12/31/2017 Jefferson Castillo                  $8.44   50.90   $   8.44          $    46.00   $     46.00
   1/7/2018 Jefferson Castillo                  $8.60   53.17   $   8.60          $    56.62   $     56.62
  1/14/2018 Jefferson Castillo                  $8.60   57.23   $   8.60          $    74.10   $     74.10
  1/21/2018 Jefferson Castillo                  $8.60   61.95   $   8.60          $    94.39   $     94.39
  1/28/2018 Jefferson Castillo                  $8.60   51.28   $   8.60          $    48.52   $     48.52
   2/4/2018 Jefferson Castillo                  $8.60   59.43   $   8.60          $    83.56   $     83.56
  2/11/2018 Jefferson Castillo                  $8.60   61.53   $   8.60          $    92.59   $     92.59
  2/18/2018 Jefferson Castillo                  $8.60   53.23   $   8.60          $    56.90   $     56.90



                                                 287
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 289 of 683 PageID: 1136
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

  2/25/2018 Jefferson Castillo                  $8.60   51.73   $    8.60         $    50.45   $     50.45
   3/4/2018 Jefferson Castillo                  $8.60   50.72   $    8.60         $    46.08   $     46.08
  3/25/2018 Jefferson Castillo                  $8.60   59.18   $    8.60         $    82.49   $     82.49
   4/1/2018 Jefferson Castillo                  $8.60   63.13   $    8.60         $    99.47   $     99.47
   4/8/2018 Jefferson Castillo                  $8.60   52.47   $    8.60         $    53.61   $     53.61
  4/15/2018 Jefferson Castillo                  $8.60   51.63   $    8.60         $    50.02   $     50.02
  4/22/2018 Jefferson Castillo                  $8.60   59.10   $    8.60         $    82.13   $     82.13
  4/29/2018 Jefferson Castillo                 $13.50   60.95   $    8.60         $   141.41   $    141.41
   5/6/2018 Jefferson Castillo                 $13.50   56.90   $    8.60         $   114.08   $    114.08
  5/13/2018 Jefferson Castillo                 $13.50   55.32   $    8.60         $   103.39   $    103.39
  8/12/2018 Jefferson Castillo                 $16.66   59.30   $    8.60         $   160.77   $    160.77
  8/19/2018 Jefferson Castillo                 $16.66   49.40   $    8.60         $    78.30   $     78.30
  8/26/2018 Jefferson Castillo                 $16.66   41.73   $    8.60         $    14.44   $     14.44
  9/23/2018 Jefferson Castillo                 $16.66   56.90   $    8.60         $   140.78   $    140.78
  9/30/2018 Jefferson Castillo                 $16.66   54.85   $    8.60         $   123.70   $    123.70
  10/7/2018 Jefferson Castillo                 $16.66   58.35   $    8.60         $   152.86   $    152.86
 10/14/2018 Jefferson Castillo                 $16.66   58.43   $    8.60         $   153.55   $    153.55
 10/21/2018 Jefferson Castillo                 $16.66   52.33   $    8.60         $   102.74   $    102.74
 10/28/2018 Jefferson Castillo                 $16.66   59.78   $    8.60         $   164.80   $    164.80
  11/4/2018 Jefferson Castillo                 $16.66   56.17   $    8.60         $   134.67   $    134.67
 11/11/2018 Jefferson Castillo                 $16.66   48.17   $    8.60         $    68.03   $     68.03
 11/18/2018 Jefferson Castillo                 $16.66   59.07   $    8.60         $   158.83   $    158.83
 11/25/2018 Jefferson Castillo                 $16.66   54.70   $    8.60         $   122.45   $    122.45
  12/2/2018 Jefferson Castillo                 $16.66   56.33   $    8.60         $   136.06   $    136.06
  12/9/2018 Jefferson Castillo                 $16.66   49.77   $    8.60         $    81.36   $     81.36
 12/16/2018 Jefferson Castillo                 $16.66   40.48   $    8.60         $     4.03   $      4.03
 12/23/2018 Jefferson Castillo                 $16.66   54.98   $    8.60         $   124.81   $    124.81
 12/30/2018 Jefferson Castillo                 $16.66   46.95   $    8.60         $    57.89   $     57.89
   1/6/2019 Jefferson Castillo                 $16.66   49.18   $    8.85         $    76.50   $     76.50
  1/13/2019 Jefferson Castillo                 $16.66   59.77   $    8.85         $   164.66   $    164.66
  1/20/2019 Jefferson Castillo                 $16.66   51.73   $    8.85         $    97.74   $     97.74
  1/27/2019 Jefferson Castillo                 $16.66   59.60   $    8.85         $   163.27   $    163.27
   2/3/2019 Jefferson Castillo                 $16.66   58.10   $    8.85         $   150.77   $    150.77
  2/10/2019 Jefferson Castillo                 $16.66   51.65   $    8.85         $    97.04   $     97.04
  2/17/2019 Jefferson Castillo                 $16.66   51.77   $    8.85         $    98.02   $     98.02
  2/24/2019 Jefferson Castillo                 $16.66   60.28   $    8.85         $   168.96   $    168.96
   3/3/2019 Jefferson Castillo                 $16.66   59.97   $    8.85         $   166.32   $    166.32
  3/10/2019 Jefferson Castillo                 $16.66   60.47   $    8.85         $   170.49   $    170.49
  3/17/2019 Jefferson Castillo                 $16.66   57.12   $    8.85         $   142.58   $    142.58
  3/24/2019 Jefferson Castillo                 $16.66   59.90   $    8.85         $   165.77   $    165.77
  3/31/2019 Jefferson Castillo                 $16.66   60.38   $    8.85         $   169.79   $    169.79
   4/7/2019 Jefferson Castillo                 $16.66   40.55   $    8.85         $     4.58   $      4.58
  4/14/2019 Jefferson Castillo                 $16.66   54.52   $    8.85         $   120.92   $    120.92
  4/21/2019 Jefferson Castillo                 $16.66   58.95   $    8.85         $   157.85   $    157.85
  4/28/2019 Jefferson Castillo                 $16.66   49.95   $    8.85         $    82.88   $     82.88
   6/2/2019 Jefferson Castillo                 $16.66   47.83   $    8.85         $    65.25   $     65.25
   6/9/2019 Jefferson Castillo                 $16.66   57.30   $    8.85         $   144.11   $    144.11
  6/16/2019 Jefferson Castillo                 $16.66   50.68   $    8.85         $    88.99   $     88.99
  6/23/2019 Jefferson Castillo                 $16.66   49.37   $    8.85         $    78.02   $     78.02
  6/30/2019 Jefferson Castillo                 $16.66   54.02   $   10.00         $   116.76   $    116.76



                                                 288
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 290 of 683 PageID: 1137
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

   7/7/2019 Jefferson Castillo                 $16.66   49.58   $   10.00         $    79.83   $     79.83
  7/14/2019 Jefferson Castillo                 $16.66   52.05   $   10.00         $   100.38   $    100.38
  7/21/2019 Jefferson Castillo                 $16.66   43.92   $   10.00         $    32.63   $     32.63
  7/28/2019 Jefferson Castillo                 $16.66   58.12   $   10.00         $   150.91   $    150.91
  8/11/2019 Jefferson Castillo                 $16.66   57.72   $   10.00         $   147.58   $    147.58
  8/18/2019 Jefferson Castillo                 $16.66   56.12   $   10.00         $   134.25   $    134.25
   9/1/2019 Jefferson Castillo                 $16.66   48.85   $   10.00         $    73.72   $     73.72
   9/8/2019 Jefferson Castillo                 $16.66   55.37   $   10.00         $   128.00   $    128.00
  9/15/2019 Jefferson Castillo                 $14.00   73.72   $   10.00         $   236.02   $    236.02
  9/22/2019 Jefferson Castillo                 $14.00   61.40   $   10.00         $   149.80   $    149.80
  9/29/2019 Jefferson Castillo                 $14.00   58.77   $   10.00         $   131.37   $    131.37
   2/5/2017 Jeffrie Espiritu                   $11.50   60.73   $    8.44         $   119.22   $    119.22
  2/19/2017 Jeffrie Espiritu                   $11.50   60.40   $    8.44         $   117.30   $    117.30
  2/26/2017 Jeffrie Espiritu                   $11.50   59.90   $    8.44         $   114.43   $    114.43
   3/5/2017 Jeffrie Espiritu                   $11.50   60.62   $    8.44         $   118.55   $    118.55
  3/12/2017 Jeffrie Espiritu                   $11.50   60.35   $    8.44         $   117.01   $    117.01
  3/19/2017 Jeffrie Espiritu                   $11.50   50.25   $    8.44         $    58.94   $     58.94
  3/26/2017 Jeffrie Espiritu                   $11.50   60.90   $    8.44         $   120.18   $    120.18
   4/2/2017 Jeffrie Espiritu                   $11.50   61.17   $    8.44         $   121.71   $    121.71
   4/9/2017 Jeffrie Espiritu                   $11.50   52.12   $    8.44         $    69.67   $     69.67
  4/16/2017 Jeffrie Espiritu                   $11.50   52.62   $    8.44         $    72.55   $     72.55
  4/23/2017 Jeffrie Espiritu                   $11.50   60.52   $    8.44         $   117.97   $    117.97
  4/30/2017 Jeffrie Espiritu                   $11.50   62.55   $    8.44         $   129.66   $    129.66
   5/7/2017 Jeffrie Espiritu                   $11.50   60.27   $    8.44         $   116.53   $    116.53
  5/14/2017 Jeffrie Espiritu                   $11.50   50.82   $    8.44         $    62.20   $     62.20
  5/21/2017 Jeffrie Espiritu                   $11.50   50.65   $    8.44         $    61.24   $     61.24
  5/28/2017 Jeffrie Espiritu                   $11.50   61.13   $    8.44         $   121.52   $    121.52
   6/4/2017 Jeffrie Espiritu                   $11.50   53.13   $    8.44         $    75.52   $     75.52
  6/11/2017 Jeffrie Espiritu                   $11.50   60.20   $    8.44         $   116.15   $    116.15
  6/18/2017 Jeffrie Espiritu                   $11.50   60.35   $    8.44         $   117.01   $    117.01
  6/25/2017 Jeffrie Espiritu                   $11.50   60.77   $    8.44         $   119.41   $    119.41
   7/2/2017 Jeffrie Espiritu                   $11.50   60.32   $    8.44         $   116.82   $    116.82
   7/9/2017 Jeffrie Espiritu                   $11.50   51.03   $    8.44         $    63.44   $     63.44
  7/16/2017 Jeffrie Espiritu                   $11.50   49.30   $    8.44         $    53.48   $     53.48
  7/23/2017 Jeffrie Espiritu                   $11.50   59.07   $    8.44         $   109.63   $    109.63
  7/30/2017 Jeffrie Espiritu                   $11.50   60.32   $    8.44         $   116.82   $    116.82
   8/6/2017 Jeffrie Espiritu                   $11.50   60.17   $    8.44         $   115.96   $    115.96
  8/27/2017 Jeffrie Espiritu                   $11.50   60.80   $    8.44         $   119.60   $    119.60
   9/3/2017 Jeffrie Espiritu                   $11.50   60.50   $    8.44         $   117.88   $    117.88
  9/10/2017 Jeffrie Espiritu                   $11.50   60.68   $    8.44         $   118.93   $    118.93
  9/17/2017 Jeffrie Espiritu                   $11.50   58.15   $    8.44         $   104.36   $    104.36
  9/24/2017 Jeffrie Espiritu                   $11.50   60.20   $    8.44         $   116.15   $    116.15
  10/1/2017 Jeffrie Espiritu                   $11.50   61.13   $    8.44         $   121.52   $    121.52
  10/8/2017 Jeffrie Espiritu                   $11.50   59.85   $    8.44         $   114.14   $    114.14
 10/15/2017 Jeffrie Espiritu                   $11.50   48.45   $    8.44         $    48.59   $     48.59
 10/22/2017 Jeffrie Espiritu                   $11.50   59.18   $    8.44         $   110.30   $    110.30
 10/29/2017 Jeffrie Espiritu                   $11.50   61.18   $    8.44         $   121.80   $    121.80
  11/5/2017 Jeffrie Espiritu                   $11.50   52.37   $    8.44         $    71.11   $     71.11
 11/12/2017 Jeffrie Espiritu                   $11.50   60.87   $    8.44         $   119.98   $    119.98
 11/19/2017 Jeffrie Espiritu                   $11.50   57.95   $    8.44         $   103.21   $    103.21



                                                 289
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 291 of 683 PageID: 1138
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

 11/26/2017 Jeffrie Espiritu                 $11.50   50.42   $    8.44         $    59.90   $     59.90
  12/3/2017 Jeffrie Espiritu                 $11.50   60.93   $    8.44         $   120.37   $    120.37
 12/10/2017 Jeffrie Espiritu                 $11.50   60.37   $    8.44         $   117.11   $    117.11
 12/17/2017 Jeffrie Espiritu                 $11.50   57.92   $    8.44         $   103.02   $    103.02
 12/24/2017 Jeffrie Espiritu                 $11.50   60.57   $    8.44         $   118.26   $    118.26
 12/31/2017 Jeffrie Espiritu                 $11.50   51.48   $    8.44         $    66.03   $     66.03
   1/7/2018 Jeffrie Espiritu                 $11.50   41.28   $    8.60         $     7.38   $      7.38
  1/14/2018 Jeffrie Espiritu                 $11.50   59.93   $    8.60         $   114.62   $    114.62
  1/21/2018 Jeffrie Espiritu                 $11.50   58.85   $    8.60         $   108.39   $    108.39
  1/28/2018 Jeffrie Espiritu                 $11.50   57.13   $    8.60         $    98.52   $     98.52
   2/4/2018 Jeffrie Espiritu                 $11.50   49.18   $    8.60         $    52.80   $     52.80
  2/11/2018 Jeffrie Espiritu                 $11.50   58.90   $    8.60         $   108.68   $    108.68
  2/18/2018 Jeffrie Espiritu                 $11.50   58.03   $    8.60         $   103.69   $    103.69
  2/25/2018 Jeffrie Espiritu                 $11.50   60.57   $    8.60         $   118.26   $    118.26
   3/4/2018 Jeffrie Espiritu                 $11.50   58.18   $    8.60         $   104.55   $    104.55
  3/25/2018 Jeffrie Espiritu                 $11.50   41.10   $    8.60         $     6.33   $      6.33
   4/1/2018 Jeffrie Espiritu                 $11.50   59.50   $    8.60         $   112.13   $    112.13
   4/8/2018 Jeffrie Espiritu                 $11.50   56.70   $    8.60         $    96.03   $     96.03
  4/15/2018 Jeffrie Espiritu                 $11.50   58.10   $    8.60         $   104.08   $    104.08
  4/22/2018 Jeffrie Espiritu                 $11.50   58.40   $    8.60         $   105.80   $    105.80
  4/29/2018 Jeffrie Espiritu                 $11.50   56.82   $    8.60         $    96.70   $     96.70
   5/6/2018 Jeffrie Espiritu                 $11.50   48.20   $    8.60         $    47.15   $     47.15
  5/13/2018 Jeffrie Espiritu                 $11.50   55.47   $    8.60         $    88.93   $     88.93
  5/20/2018 Jeffrie Espiritu                 $11.50   55.17   $    8.60         $    87.21   $     87.21
  5/27/2018 Jeffrie Espiritu                 $11.50   56.98   $    8.60         $    97.65   $     97.65
   6/3/2018 Jeffrie Espiritu                 $11.50   56.53   $    8.60         $    95.07   $     95.07
  6/10/2018 Jeffrie Espiritu                 $11.50   57.33   $    8.60         $    99.67   $     99.67
  6/17/2018 Jeffrie Espiritu                 $11.50   45.98   $    8.60         $    34.40   $     34.40
  6/24/2018 Jeffrie Espiritu                 $11.50   54.97   $    8.60         $    86.06   $     86.06
   7/1/2018 Jeffrie Espiritu                 $11.50   57.00   $    8.60         $    97.75   $     97.75
   8/5/2018 Jeffrie Espiritu                 $11.50   40.05   $    8.60         $     0.29   $      0.29
  9/23/2018 Jeffrie Espiritu                 $11.50   40.35   $    8.60         $     2.01   $      2.01
  10/7/2018 Jeffrie Espiritu                 $11.50   40.07   $    8.60         $     0.38   $      0.38
  12/9/2018 Jeffrie Espiritu                 $11.50   40.33   $    8.60         $     1.92   $      1.92
 12/23/2018 Jeffrie Espiritu                 $11.50   40.02   $    8.60         $     0.10   $      0.10
  1/13/2019 Jeffrie Espiritu                 $11.50   40.13   $    8.85         $     0.77   $      0.77
   3/3/2019 Jeffrie Espiritu                 $11.50   40.57   $    8.85         $     3.26   $      3.26
  3/10/2019 Jeffrie Espiritu                 $11.50   40.12   $    8.85         $     0.67   $      0.67
  4/14/2019 Jeffrie Espiritu                 $11.50   40.30   $    8.85         $     1.73   $      1.73
  4/21/2019 Jeffrie Espiritu                 $11.50   40.15   $    8.85         $     0.86   $      0.86
  4/28/2019 Jeffrie Espiritu                 $11.50   40.07   $    8.85         $     0.38   $      0.38
  7/21/2019 Jeffrie Espiritu                 $11.50   43.72   $   10.00         $    21.37   $     21.37
  7/28/2019 Jeffrie Espiritu                 $11.50   40.55   $   10.00         $     3.16   $      3.16
   8/4/2019 Jeffrie Espiritu                 $11.50   40.07   $   10.00         $     0.38   $      0.38
  4/14/2019 Jefri Mejia                       $9.50   52.45   $    8.85         $    59.14   $     59.14
  4/21/2019 Jefri Mejia                       $9.50   46.87   $    8.85         $    32.62   $     32.62
  4/28/2019 Jefri Mejia                       $9.50   52.95   $    8.85         $    61.51   $     61.51
  5/12/2019 Jefri Mejia                       $9.50   43.28   $    8.85         $    15.60   $     15.60
  5/26/2019 Jefri Mejia                       $9.50   44.05   $    8.85         $    19.24   $     19.24
  7/28/2019 Jefry Mejia                      $10.00   45.22   $   10.00         $    26.08   $     26.08



                                               290
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 292 of 683 PageID: 1139
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  8/18/2019 Jefry Mejia                     $10.00   42.57   $   10.00               $    12.83   $    12.83
  10/6/2019 Jefry Mejia                     $10.00   40.57   $   10.00               $     2.83   $     2.83
 10/13/2019 Jefry Mejia                     $10.00   47.18   $   10.00               $    35.92   $    35.92
 10/27/2019 Jefry Mejia                     $10.00   42.48   $   10.00               $    12.42   $    12.42
  11/3/2019 Jefry Mejia                     $10.00   44.77   $   10.00               $    23.83   $    23.83
   6/9/2019 Jerson D. Vasquez                $9.50   41.83   $    8.85               $     8.71   $     8.71
  6/23/2019 Jerson D. Vasquez                $9.50   48.87   $    8.85               $    42.12   $    42.12
  6/30/2019 Jerson D. Vasquez                $9.50   44.20   $   10.00   $   22.10   $    21.00   $    43.10
   7/7/2019 Jerson D. Vasquez                $9.50   45.25   $   10.00   $   22.63   $    26.25   $    48.88
  7/21/2019 Jerson D. Vasquez                $9.50   48.20   $   10.00   $   24.10   $    41.00   $    65.10
  7/28/2019 Jerson D. Vasquez                $9.50   49.83   $   10.00   $   24.92   $    49.17   $    74.08
   8/4/2019 Jerson D. Vasquez                $9.50   54.13   $   10.00   $   27.07   $    70.67   $    97.73
  8/11/2019 Jerson D. Vasquez                $9.50   40.75   $   10.00   $   20.38   $     3.75   $    24.13
  8/18/2019 Jerson D. Vasquez                $9.50   54.38   $   10.00   $   27.19   $    71.92   $    99.11
  8/25/2019 Jerson D. Vasquez                $9.50   55.52   $   10.00   $   27.76   $    77.58   $   105.34
   9/1/2019 Jerson D. Vasquez                $9.50   47.48   $   10.00   $   23.74   $    37.42   $    61.16
   9/8/2019 Jerson D. Vasquez                $9.50   46.82   $   10.00   $   23.41   $    34.08   $    57.49
  9/15/2019 Jerson D. Vasquez                $9.50   59.20   $   10.00   $   29.60   $    96.00   $   125.60
  9/22/2019 Jerson D. Vasquez                $9.50   54.78   $   10.00   $   27.39   $    73.92   $   101.31
  9/29/2019 Jerson D. Vasquez                $9.50   44.75   $   10.00   $   22.38   $    23.75   $    46.13
  10/6/2019 Jerson D. Vasquez                $9.50   55.90   $   10.00   $   27.95   $    79.50   $   107.45
 10/13/2019 Jerson D. Vasquez                $9.50   56.27   $   10.00   $   28.13   $    81.33   $   109.47
 10/20/2019 Jerson D. Vasquez                $9.50   53.07   $   10.00   $   26.53   $    65.33   $    91.87
 10/27/2019 Jerson D. Vasquez                $9.50   45.95   $   10.00   $   22.98   $    29.75   $    52.73
  11/3/2019 Jerson D. Vasquez                $9.50   54.25   $   10.00   $   27.13   $    71.25   $    98.38
 11/10/2019 Jerson D. Vasquez                $9.50   53.72   $   10.00   $   26.86   $    68.58   $    95.44
 11/17/2019 Jerson D. Vasquez                $9.50   57.68   $   10.00   $   28.84   $    88.42   $   117.26
 11/24/2019 Jerson D. Vasquez                $9.50   45.10   $   10.00   $   22.55   $    25.50   $    48.05
  12/1/2019 Jerson D. Vasquez                $9.50   51.47   $   10.00   $   25.73   $    57.33   $    83.07
  12/8/2019 Jerson D. Vasquez                $9.50   42.87   $   10.00   $   21.43   $    14.33   $    35.77
 12/15/2019 Jerson D. Vasquez                $9.50   55.82   $   10.00   $   27.91   $    79.08   $   106.99
 12/22/2019 Jerson D. Vasquez                $9.50   58.28   $   10.00   $   29.14   $    91.42   $   120.56
 12/29/2019 Jerson D. Vasquez                $9.50   48.93   $   10.00   $   24.47   $    44.67   $    69.13
   1/5/2020 Jerson D. Vasquez                $9.50   58.83   $   11.00   $   88.25   $   103.58   $   191.83
  1/12/2020 Jerson D. Vasquez                $9.50   58.95   $   11.00   $   88.43   $   104.23   $   192.65
  1/19/2020 Jerson D. Vasquez                $9.50   48.32   $   11.00   $   72.48   $    45.74   $   118.22
  1/26/2020 Jerson D. Vasquez                $9.50   48.03   $   11.00   $   72.05   $    44.18   $   116.23
  9/17/2017 Jessy Rodriguez                 $10.00   41.15   $    8.44               $     5.75   $     5.75
  9/24/2017 Jessy Rodriguez                 $10.00   41.07   $    8.44               $     5.33   $     5.33
  10/1/2017 Jessy Rodriguez                 $10.00   42.27   $    8.44               $    11.33   $    11.33
  10/8/2017 Jessy Rodriguez                 $10.00   41.07   $    8.44               $     5.33   $     5.33
 10/15/2017 Jessy Rodriguez                 $10.00   40.90   $    8.44               $     4.50   $     4.50
  3/24/2019 Jesus A. Nunez Duran            $10.00   50.50   $    8.85               $    52.50   $    52.50
   4/7/2019 Jesus A. Nunez Duran            $10.00   40.75   $    8.85               $     3.75   $     3.75
  4/14/2019 Jesus A. Nunez Duran            $10.00   58.38   $    8.85               $    91.92   $    91.92
  4/21/2019 Jesus A. Nunez Duran            $10.00   61.77   $    8.85               $   108.83   $   108.83
  4/28/2019 Jesus A. Nunez Duran            $10.00   46.45   $    8.85               $    32.25   $    32.25
   5/5/2019 Jesus A. Nunez Duran            $10.00   58.48   $    8.85               $    92.42   $    92.42
  5/12/2019 Jesus A. Nunez Duran            $10.00   55.30   $    8.85               $    76.50   $    76.50
  2/12/2017 Jesus Nogueira                   $8.44   40.08   $    8.44               $     0.35   $     0.35



                                              291
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 293 of 683 PageID: 1140
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  3/19/2017 Jesus Nogueira                     $8.44   41.88   $    8.44               $     7.95   $     7.95
  3/26/2017 Jesus Nogueira                     $8.44   41.63   $    8.44               $     6.89   $     6.89
  4/30/2017 Jesus Nogueira                     $8.44   41.55   $    8.44               $     6.54   $     6.54
   5/7/2017 Jesus Nogueira                     $8.44   60.82   $    8.44               $    87.85   $    87.85
  5/21/2017 Jesus Nogueira                     $8.44   53.58   $    8.44               $    57.32   $    57.32
  6/25/2017 Jesus Nogueira                     $8.44   41.75   $    8.44               $     7.39   $     7.39
  8/20/2017 Jesus Nogueira                     $8.44   41.83   $    8.44               $     7.74   $     7.74
  8/27/2017 Jesus Nogueira                     $8.44   44.43   $    8.44               $    18.71   $    18.71
   9/3/2017 Jesus Nogueira                     $8.44   48.63   $    8.44               $    36.43   $    36.43
  9/10/2017 Jesus Nogueira                     $8.44   43.67   $    8.44               $    15.47   $    15.47
  9/17/2017 Jesus Nogueira                     $8.44   49.10   $    8.44               $    38.40   $    38.40
  9/24/2017 Jesus Nogueira                     $8.44   40.85   $    8.44               $     3.59   $     3.59
  10/1/2017 Jesus Nogueira                     $8.44   44.30   $    8.44               $    18.15   $    18.15
  10/8/2017 Jesus Nogueira                     $8.44   41.52   $    8.44               $     6.40   $     6.40
 10/29/2017 Jesus Nogueira                     $8.44   41.28   $    8.44               $     5.42   $     5.42
  12/3/2017 Jesus Nogueira                     $8.44   44.25   $    8.44               $    17.94   $    17.94
   2/5/2017 Jesus Proanos                     $10.50   59.50   $    8.44               $   102.38   $   102.38
  2/12/2017 Jesus Proanos                     $10.50   53.65   $    8.44               $    71.66   $    71.66
  2/19/2017 Jesus Proanos                     $10.50   56.03   $    8.44               $    84.18   $    84.18
  2/26/2017 Jesus Proanos                     $10.50   64.45   $    8.44               $   128.36   $   128.36
   3/5/2017 Jesus Proanos                     $10.50   67.43   $    8.44               $   144.03   $   144.03
  3/12/2017 Jesus Proanos                     $10.50   57.10   $    8.44               $    89.78   $    89.78
  3/19/2017 Jesus Proanos                     $10.50   54.47   $    8.44               $    75.95   $    75.95
  3/26/2017 Jesus Proanos                     $10.50   74.38   $    8.44               $   180.51   $   180.51
   4/2/2017 Jesus Proanos                     $10.50   73.57   $    8.44               $   176.23   $   176.23
   4/9/2017 Jesus Proanos                     $10.50   67.55   $    8.44               $   144.64   $   144.64
  4/16/2017 Jesus Proanos                     $10.50   60.35   $    8.44               $   106.84   $   106.84
  4/23/2017 Jesus Proanos                     $10.50   70.02   $    8.44               $   157.59   $   157.59
  4/30/2017 Jesus Proanos                     $10.50   70.40   $    8.44               $   159.60   $   159.60
  5/14/2017 Jesus Proanos                     $10.50   71.73   $    8.44               $   166.60   $   166.60
  5/21/2017 Jesus Proanos                     $10.50   56.57   $    8.44               $    86.98   $    86.98
  5/28/2017 Jesus Proanos                     $10.50   72.30   $    8.44               $   169.58   $   169.58
   6/4/2017 Jesus Proanos                     $10.50   53.80   $    8.44               $    72.45   $    72.45
  1/26/2020 Jesus Torres                      $11.00   56.28   $   11.00               $    89.56   $    89.56
  1/26/2020 Jesus Ulloa                       $10.00   60.97   $   11.00   $   60.97   $   115.32   $   176.28
  9/15/2019 Jhancarlso Garcia                  $9.50   44.28   $   10.00   $   22.14   $    21.42   $    43.56
  9/22/2019 Jhancarlso Garcia                  $9.50   56.57   $   10.00   $   28.28   $    82.83   $   111.12
 10/13/2019 Jhancarlso Garcia                  $9.50   47.78   $   10.00   $   23.89   $    38.92   $    62.81
 10/20/2019 Jhancarlso Garcia                  $9.50   53.28   $   10.00   $   26.64   $    66.42   $    93.06
  6/17/2018 Jhon Janer Pineda                 $10.00   49.40   $    8.60               $    47.00   $    47.00
  6/24/2018 Jhon Janer Pineda                 $10.00   73.77   $    8.60               $   168.83   $   168.83
   7/1/2018 Jhon Janer Pineda                 $10.00   77.77   $    8.60               $   188.83   $   188.83
   7/8/2018 Jhon Janer Pineda                 $10.00   71.68   $    8.60               $   158.42   $   158.42
  7/15/2018 Jhon Janer Pineda                 $10.00   75.40   $    8.60               $   177.00   $   177.00
  7/22/2018 Jhon Janer Pineda                 $10.00   76.60   $    8.60               $   183.00   $   183.00
  7/29/2018 Jhon Janer Pineda                 $10.00   40.08   $    8.60               $     0.42   $     0.42
  4/30/2017 Jhonny Correa                     $11.50   62.10   $    8.44               $   127.08   $   127.08
   5/7/2017 Jhonny Correa                     $11.50   50.50   $    8.44               $    60.38   $    60.38
  5/14/2017 Jhonny Correa                     $11.50   61.33   $    8.44               $   122.67   $   122.67
  5/21/2017 Jhonny Correa                     $11.50   61.48   $    8.44               $   123.53   $   123.53



                                                292
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 294 of 683 PageID: 1141
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

  5/28/2017 Jhonny Correa                 $11.50   68.12   $   8.44          $   161.67   $    161.67
   6/4/2017 Jhonny Correa                 $11.50   57.65   $   8.44          $   101.49   $    101.49
  6/11/2017 Jhonny Correa                 $11.50   65.78   $   8.44          $   148.25   $    148.25
  6/18/2017 Jhonny Correa                 $11.50   62.10   $   8.44          $   127.08   $    127.08
  6/25/2017 Jhonny Correa                 $11.50   66.87   $   8.44          $   154.48   $    154.48
  10/1/2017 Jimmie Acosta                  $9.50   50.33   $   8.44          $    49.08   $     49.08
  10/8/2017 Jimmie Acosta                  $9.50   45.03   $   8.44          $    23.91   $     23.91
 10/15/2017 Jimmie Acosta                  $9.50   42.78   $   8.44          $    13.22   $     13.22
 10/22/2017 Jimmie Acosta                  $9.50   60.77   $   8.44          $    98.64   $     98.64
 10/29/2017 Jimmie Acosta                  $9.50   53.55   $   8.44          $    64.36   $     64.36
  11/5/2017 Jimmie Acosta                  $9.50   59.83   $   8.44          $    94.21   $     94.21
 11/12/2017 Jimmie Acosta                  $9.50   53.15   $   8.44          $    62.46   $     62.46
 11/19/2017 Jimmie Acosta                  $9.50   44.07   $   8.44          $    19.32   $     19.32
 11/26/2017 Jimmie Acosta                  $9.50   44.02   $   8.44          $    19.08   $     19.08
  12/3/2017 Jimmie Acosta                  $9.50   62.65   $   8.44          $   107.59   $    107.59
 12/10/2017 Jimmie Acosta                  $9.50   51.85   $   8.44          $    56.29   $     56.29
 12/17/2017 Jimmie Acosta                  $9.50   56.88   $   8.44          $    80.20   $     80.20
 12/24/2017 Jimmie Acosta                  $9.50   48.88   $   8.44          $    42.20   $     42.20
 12/31/2017 Jimmie Acosta                  $9.50   47.37   $   8.44          $    34.99   $     34.99
   1/7/2018 Jimmie Acosta                  $9.50   42.53   $   8.60          $    12.03   $     12.03
  1/14/2018 Jimmie Acosta                  $9.50   59.60   $   8.60          $    93.10   $     93.10
  1/21/2018 Jimmie Acosta                  $9.50   56.17   $   8.60          $    76.79   $     76.79
  1/28/2018 Jimmie Acosta                  $9.50   53.17   $   8.60          $    62.54   $     62.54
   2/4/2018 Jimmie Acosta                  $9.50   59.75   $   8.60          $    93.81   $     93.81
  2/11/2018 Jimmie Acosta                  $9.50   41.15   $   8.60          $     5.46   $      5.46
  2/18/2018 Jimmie Acosta                  $9.50   44.13   $   8.60          $    19.63   $     19.63
  2/25/2018 Jimmie Acosta                  $9.50   57.92   $   8.60          $    85.10   $     85.10
   3/4/2018 Jimmie Acosta                  $9.50   46.15   $   8.60          $    29.21   $     29.21
  3/25/2018 Jimmie Acosta                  $9.50   48.83   $   8.60          $    41.96   $     41.96
   4/1/2018 Jimmie Acosta                  $9.50   60.82   $   8.60          $    98.88   $     98.88
   4/8/2018 Jimmie Acosta                  $9.50   48.32   $   8.60          $    39.50   $     39.50
  4/15/2018 Jimmie Acosta                  $9.50   55.63   $   8.60          $    74.26   $     74.26
  4/22/2018 Jimmie Acosta                  $9.50   57.08   $   8.60          $    81.15   $     81.15
  4/29/2018 Jimmie Acosta                  $9.50   42.05   $   8.60          $     9.74   $      9.74
  12/2/2018 Jimmie Acosta                 $10.50   54.38   $   8.60          $    75.51   $     75.51
  12/9/2018 Jimmie Acosta                 $10.50   50.47   $   8.60          $    54.95   $     54.95
 12/16/2018 Jimmie Acosta                 $10.50   45.40   $   8.60          $    28.35   $     28.35
 12/23/2018 Jimmie Acosta                 $10.50   51.50   $   8.60          $    60.38   $     60.38
 12/30/2018 Jimmie Acosta                 $10.50   41.83   $   8.60          $     9.63   $      9.63
   1/6/2019 Jimmie Acosta                 $10.50   45.17   $   8.85          $    27.13   $     27.13
  1/13/2019 Jimmie Acosta                 $10.50   45.18   $   8.85          $    27.21   $     27.21
  1/20/2019 Jimmie Acosta                 $10.50   49.95   $   8.85          $    52.24   $     52.24
  2/10/2019 Jimmie Acosta                 $16.50   43.70   $   8.85          $    30.53   $     30.53
  2/17/2019 Jimmie Acosta                 $16.50   49.58   $   8.85          $    79.06   $     79.06
  2/24/2019 Jimmie Acosta                 $16.50   47.75   $   8.85          $    63.94   $     63.94
   3/3/2019 Jimmie Acosta                 $16.50   49.87   $   8.85          $    81.40   $     81.40
  3/10/2019 Jimmie Acosta                 $16.50   47.00   $   8.85          $    57.75   $     57.75
  3/17/2019 Jimmie Acosta                 $16.50   50.98   $   8.85          $    90.61   $     90.61
  3/24/2019 Jimmie Acosta                 $16.50   48.85   $   8.85          $    73.01   $     73.01
  3/31/2019 Jimmie Acosta                 $16.50   51.65   $   8.85          $    96.11   $     96.11



                                            293
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 295 of 683 PageID: 1142
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

   4/7/2019 Jimmie Acosta                      $16.50   48.10   $   8.85          $    66.83   $     66.83
  4/14/2019 Jimmie Acosta                      $16.50   47.80   $   8.85          $    64.35   $     64.35
  4/21/2019 Jimmie Acosta                      $16.50   50.95   $   8.85          $    90.34   $     90.34
  4/28/2019 Jimmie Acosta                      $16.50   48.47   $   8.85          $    69.85   $     69.85
   5/5/2019 Jimmie Acosta                      $16.50   48.72   $   8.85          $    71.91   $     71.91
  5/12/2019 Jimmie Acosta                      $16.50   49.78   $   8.85          $    80.71   $     80.71
  5/19/2019 Jimmie Acosta                      $16.50   48.22   $   8.85          $    67.79   $     67.79
  5/26/2019 Jimmie Acosta                      $16.50   41.53   $   8.85          $    12.65   $     12.65
   6/9/2019 Jimmie Acosta                      $16.50   40.50   $   8.85          $     4.13   $      4.13
   2/5/2017 Jimmy A. Hernandez                 $10.00   60.65   $   8.44          $   103.25   $    103.25
  2/12/2017 Jimmy A. Hernandez                 $10.00   50.63   $   8.44          $    53.17   $     53.17
  2/19/2017 Jimmy A. Hernandez                 $10.00   59.75   $   8.44          $    98.75   $     98.75
  2/26/2017 Jimmy A. Hernandez                 $10.00   64.93   $   8.44          $   124.67   $    124.67
   3/5/2017 Jimmy A. Hernandez                 $10.00   60.28   $   8.44          $   101.42   $    101.42
  3/12/2017 Jimmy A. Hernandez                 $10.00   60.72   $   8.44          $   103.58   $    103.58
  3/19/2017 Jimmy A. Hernandez                 $10.00   50.48   $   8.44          $    52.42   $     52.42
  3/26/2017 Jimmy A. Hernandez                 $10.00   64.83   $   8.44          $   124.17   $    124.17
   4/2/2017 Jimmy A. Hernandez                 $10.00   60.57   $   8.44          $   102.83   $    102.83
   4/9/2017 Jimmy A. Hernandez                 $10.00   60.37   $   8.44          $   101.83   $    101.83
  4/16/2017 Jimmy A. Hernandez                 $10.00   58.32   $   8.44          $    91.58   $     91.58
  4/23/2017 Jimmy A. Hernandez                 $10.00   59.97   $   8.44          $    99.83   $     99.83
  4/30/2017 Jimmy A. Hernandez                 $10.00   60.55   $   8.44          $   102.75   $    102.75
   5/7/2017 Jimmy A. Hernandez                 $10.00   65.40   $   8.44          $   127.00   $    127.00
  5/14/2017 Jimmy A. Hernandez                 $10.00   60.52   $   8.44          $   102.58   $    102.58
  5/21/2017 Jimmy A. Hernandez                 $10.00   60.77   $   8.44          $   103.83   $    103.83
  5/28/2017 Jimmy A. Hernandez                 $10.00   60.95   $   8.44          $   104.75   $    104.75
   6/4/2017 Jimmy A. Hernandez                 $10.00   50.63   $   8.44          $    53.17   $     53.17
  6/11/2017 Jimmy A. Hernandez                 $10.00   60.52   $   8.44          $   102.58   $    102.58
  6/18/2017 Jimmy A. Hernandez                 $10.00   60.80   $   8.44          $   104.00   $    104.00
  6/25/2017 Jimmy A. Hernandez                 $10.00   61.60   $   8.44          $   108.00   $    108.00
   7/2/2017 Jimmy A. Hernandez                 $10.00   61.60   $   8.44          $   108.00   $    108.00
   7/9/2017 Jimmy A. Hernandez                 $10.00   50.40   $   8.44          $    52.00   $     52.00
  7/16/2017 Jimmy A. Hernandez                 $10.00   61.08   $   8.44          $   105.42   $    105.42
  7/23/2017 Jimmy A. Hernandez                 $10.00   62.38   $   8.44          $   111.92   $    111.92
  7/30/2017 Jimmy A. Hernandez                 $10.00   51.15   $   8.44          $    55.75   $     55.75
   8/6/2017 Jimmy A. Hernandez                 $10.00   59.78   $   8.44          $    98.92   $     98.92
  8/13/2017 Jimmy A. Hernandez                 $10.00   61.37   $   8.44          $   106.83   $    106.83
  8/20/2017 Jimmy A. Hernandez                 $10.00   61.30   $   8.44          $   106.50   $    106.50
  8/27/2017 Jimmy A. Hernandez                 $10.00   51.22   $   8.44          $    56.08   $     56.08
   9/3/2017 Jimmy A. Hernandez                 $10.00   60.92   $   8.44          $   104.58   $    104.58
  9/10/2017 Jimmy A. Hernandez                 $10.00   50.93   $   8.44          $    54.67   $     54.67
  9/17/2017 Jimmy A. Hernandez                 $10.00   60.60   $   8.44          $   103.00   $    103.00
  9/24/2017 Jimmy A. Hernandez                 $10.00   61.30   $   8.44          $   106.50   $    106.50
  10/1/2017 Jimmy A. Hernandez                 $10.00   61.05   $   8.44          $   105.25   $    105.25
  10/8/2017 Jimmy A. Hernandez                 $10.00   58.72   $   8.44          $    93.58   $     93.58
 10/15/2017 Jimmy A. Hernandez                 $10.00   61.00   $   8.44          $   105.00   $    105.00
 10/22/2017 Jimmy A. Hernandez                 $10.00   61.17   $   8.44          $   105.83   $    105.83
 10/29/2017 Jimmy A. Hernandez                 $10.00   59.85   $   8.44          $    99.25   $     99.25
  11/5/2017 Jimmy A. Hernandez                 $10.00   61.03   $   8.44          $   105.17   $    105.17
 11/12/2017 Jimmy A. Hernandez                 $10.00   60.90   $   8.44          $   104.50   $    104.50



                                                 294
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 296 of 683 PageID: 1143
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

 11/19/2017 Jimmy A. Hernandez                 $10.00   61.28   $    8.44               $   106.42   $   106.42
 11/26/2017 Jimmy A. Hernandez                 $10.00   51.37   $    8.44               $    56.83   $    56.83
  12/3/2017 Jimmy A. Hernandez                 $10.00   61.47   $    8.44               $   107.33   $   107.33
 12/10/2017 Jimmy A. Hernandez                 $10.00   61.67   $    8.44               $   108.33   $   108.33
 12/17/2017 Jimmy A. Hernandez                 $10.00   62.22   $    8.44               $   111.08   $   111.08
 12/24/2017 Jimmy A. Hernandez                 $10.00   61.07   $    8.44               $   105.33   $   105.33
 12/31/2017 Jimmy A. Hernandez                 $10.00   51.82   $    8.44               $    59.08   $    59.08
  1/14/2018 Jimmy A. Hernandez                 $10.00   61.38   $    8.60               $   106.92   $   106.92
  1/21/2018 Jimmy A. Hernandez                 $10.00   61.68   $    8.60               $   108.42   $   108.42
  1/28/2018 Jimmy A. Hernandez                 $10.00   61.08   $    8.60               $   105.42   $   105.42
   2/4/2018 Jimmy A. Hernandez                 $10.00   60.37   $    8.60               $   101.83   $   101.83
  2/11/2018 Jimmy A. Hernandez                 $10.00   60.13   $    8.60               $   100.67   $   100.67
  2/18/2018 Jimmy A. Hernandez                 $10.00   59.90   $    8.60               $    99.50   $    99.50
  2/25/2018 Jimmy A. Hernandez                 $10.00   40.38   $    8.60               $     1.92   $     1.92
   3/4/2018 Jimmy A. Hernandez                 $10.00   60.52   $    8.60               $   102.58   $   102.58
   4/1/2018 Jimmy A. Hernandez                 $10.00   49.28   $    8.60               $    46.42   $    46.42
   4/8/2018 Jimmy A. Hernandez                 $10.00   60.67   $    8.60               $   103.33   $   103.33
  9/22/2019 Jimmy Rosario Cruz                 $10.00   52.87   $   10.00               $    64.33   $    64.33
  9/29/2019 Jimmy Rosario Cruz                 $10.00   78.38   $   10.00               $   191.92   $   191.92
  10/6/2019 Jimmy Rosario Cruz                 $10.00   80.28   $   10.00               $   201.42   $   201.42
 10/13/2019 Jimmy Rosario Cruz                 $10.00   77.17   $   10.00               $   185.83   $   185.83
 10/20/2019 Jimmy Rosario Cruz                 $10.00   79.92   $   10.00               $   199.58   $   199.58
 10/27/2019 Jimmy Rosario Cruz                 $10.00   76.53   $   10.00               $   182.67   $   182.67
  11/3/2019 Jimmy Rosario Cruz                 $10.00   76.37   $   10.00               $   181.83   $   181.83
 11/10/2019 Jimmy Rosario Cruz                 $10.00   76.70   $   10.00               $   183.50   $   183.50
 11/17/2019 Jimmy Rosario Cruz                 $10.00   77.17   $   10.00               $   185.83   $   185.83
 11/24/2019 Jimmy Rosario Cruz                 $10.00   79.40   $   10.00               $   197.00   $   197.00
  12/1/2019 Jimmy Rosario Cruz                 $10.00   65.62   $   10.00               $   128.08   $   128.08
  12/8/2019 Jimmy Rosario Cruz                 $10.00   77.65   $   10.00               $   188.25   $   188.25
 12/15/2019 Jimmy Rosario Cruz                 $10.00   78.18   $   10.00               $   190.92   $   190.92
 12/22/2019 Jimmy Rosario Cruz                 $10.00   78.90   $   10.00               $   194.50   $   194.50
 12/29/2019 Jimmy Rosario Cruz                 $10.00   59.43   $   10.00               $    97.17   $    97.17
   1/5/2020 Jimmy Rosario Cruz                 $10.00   71.58   $   11.00   $   71.58   $   173.71   $   245.29
  1/12/2020 Jimmy Rosario Cruz                 $10.00   62.13   $   11.00   $   62.13   $   121.73   $   183.87
  1/19/2020 Jimmy Rosario Cruz                 $10.00   72.62   $   11.00   $   72.62   $   179.39   $   252.01
  1/26/2020 Jimmy Rosario Cruz                 $10.00   68.98   $   11.00   $   68.98   $   159.41   $   228.39
   3/4/2018 Jimmy Ruiz Pena                    $10.00   63.60   $    8.60               $   118.00   $   118.00
  3/25/2018 Jimmy Ruiz Pena                    $10.00   59.32   $    8.60               $    96.58   $    96.58
   4/1/2018 Jimmy Ruiz Pena                    $10.00   67.25   $    8.60               $   136.25   $   136.25
   4/8/2018 Jimmy Ruiz Pena                    $10.00   63.18   $    8.60               $   115.92   $   115.92
  4/15/2018 Jimmy Ruiz Pena                    $10.00   63.23   $    8.60               $   116.17   $   116.17
  4/22/2018 Jimmy Ruiz Pena                    $10.00   62.85   $    8.60               $   114.25   $   114.25
  4/29/2018 Jimmy Ruiz Pena                    $10.00   69.05   $    8.60               $   145.25   $   145.25
   5/6/2018 Jimmy Ruiz Pena                    $10.00   65.90   $    8.60               $   129.50   $   129.50
  5/13/2018 Jimmy Ruiz Pena                    $10.00   54.88   $    8.60               $    74.42   $    74.42
  5/20/2018 Jimmy Ruiz Pena                    $10.00   57.17   $    8.60               $    85.83   $    85.83
  5/27/2018 Jimmy Ruiz Pena                    $10.00   64.58   $    8.60               $   122.92   $   122.92
   6/3/2018 Jimmy Ruiz Pena                    $10.00   59.40   $    8.60               $    97.00   $    97.00
  6/10/2018 Jimmy Ruiz Pena                    $10.00   57.93   $    8.60               $    89.67   $    89.67
  6/17/2018 Jimmy Ruiz Pena                    $10.00   50.03   $    8.60               $    50.17   $    50.17



                                                 295
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 297 of 683 PageID: 1144
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  6/24/2018 Jimmy Ruiz Pena                 $10.00   49.62   $   8.60          $    48.08   $     48.08
   7/1/2018 Jimmy Ruiz Pena                 $10.00   71.72   $   8.60          $   158.58   $    158.58
   7/8/2018 Jimmy Ruiz Pena                 $10.00   49.23   $   8.60          $    46.17   $     46.17
  7/15/2018 Jimmy Ruiz Pena                 $10.00   58.58   $   8.60          $    92.92   $     92.92
  7/22/2018 Jimmy Ruiz Pena                 $10.00   58.93   $   8.60          $    94.67   $     94.67
  7/29/2018 Jimmy Ruiz Pena                 $10.00   75.87   $   8.60          $   179.33   $    179.33
   8/5/2018 Jimmy Ruiz Pena                 $10.00   61.75   $   8.60          $   108.75   $    108.75
  8/12/2018 Jimmy Ruiz Pena                 $10.00   58.17   $   8.60          $    90.83   $     90.83
  8/19/2018 Jimmy Ruiz Pena                 $10.00   59.30   $   8.60          $    96.50   $     96.50
  8/26/2018 Jimmy Ruiz Pena                 $10.00   60.67   $   8.60          $   103.33   $    103.33
   9/2/2018 Jimmy Ruiz Pena                 $10.00   60.02   $   8.60          $   100.08   $    100.08
   9/9/2018 Jimmy Ruiz Pena                 $10.00   61.10   $   8.60          $   105.50   $    105.50
  9/16/2018 Jimmy Ruiz Pena                 $10.00   60.68   $   8.60          $   103.42   $    103.42
  9/23/2018 Jimmy Ruiz Pena                 $10.00   59.98   $   8.60          $    99.92   $     99.92
  9/30/2018 Jimmy Ruiz Pena                 $10.00   60.22   $   8.60          $   101.08   $    101.08
  10/7/2018 Jimmy Ruiz Pena                 $10.00   60.15   $   8.60          $   100.75   $    100.75
 10/14/2018 Jimmy Ruiz Pena                 $10.00   47.27   $   8.60          $    36.33   $     36.33
 10/21/2018 Jimmy Ruiz Pena                 $10.00   58.23   $   8.60          $    91.17   $     91.17
 10/28/2018 Jimmy Ruiz Pena                 $10.00   60.43   $   8.60          $   102.17   $    102.17
  11/4/2018 Jimmy Ruiz Pena                 $10.00   59.50   $   8.60          $    97.50   $     97.50
 11/11/2018 Jimmy Ruiz Pena                 $10.00   49.85   $   8.60          $    49.25   $     49.25
 11/18/2018 Jimmy Ruiz Pena                 $10.00   67.47   $   8.60          $   137.33   $    137.33
 11/25/2018 Jimmy Ruiz Pena                 $10.00   51.02   $   8.60          $    55.08   $     55.08
  12/2/2018 Jimmy Ruiz Pena                 $10.00   59.95   $   8.60          $    99.75   $     99.75
  12/9/2018 Jimmy Ruiz Pena                 $10.00   60.37   $   8.60          $   101.83   $    101.83
 12/16/2018 Jimmy Ruiz Pena                 $10.00   58.58   $   8.60          $    92.92   $     92.92
 12/23/2018 Jimmy Ruiz Pena                 $10.00   57.52   $   8.60          $    87.58   $     87.58
 12/30/2018 Jimmy Ruiz Pena                 $10.00   46.87   $   8.60          $    34.33   $     34.33
   1/6/2019 Jimmy Ruiz Pena                 $10.00   58.57   $   8.85          $    92.83   $     92.83
  1/13/2019 Jimmy Ruiz Pena                 $10.00   58.83   $   8.85          $    94.17   $     94.17
  1/20/2019 Jimmy Ruiz Pena                 $10.00   58.32   $   8.85          $    91.58   $     91.58
  1/27/2019 Jimmy Ruiz Pena                 $10.00   63.48   $   8.85          $   117.42   $    117.42
   2/3/2019 Jimmy Ruiz Pena                 $10.00   57.03   $   8.85          $    85.17   $     85.17
  2/10/2019 Jimmy Ruiz Pena                 $10.00   59.67   $   8.85          $    98.33   $     98.33
  2/17/2019 Jimmy Ruiz Pena                 $10.00   57.78   $   8.85          $    88.92   $     88.92
  2/24/2019 Jimmy Ruiz Pena                 $10.00   60.57   $   8.85          $   102.83   $    102.83
   3/3/2019 Jimmy Ruiz Pena                 $10.00   51.03   $   8.85          $    55.17   $     55.17
  3/10/2019 Jimmy Ruiz Pena                 $10.00   55.73   $   8.85          $    78.67   $     78.67
  3/17/2019 Jimmy Ruiz Pena                 $10.00   49.80   $   8.85          $    49.00   $     49.00
  3/24/2019 Jimmy Ruiz Pena                 $10.00   56.67   $   8.85          $    83.33   $     83.33
  3/31/2019 Jimmy Ruiz Pena                 $10.00   59.60   $   8.85          $    98.00   $     98.00
   4/7/2019 Jimmy Ruiz Pena                 $10.00   59.65   $   8.85          $    98.25   $     98.25
  4/14/2019 Jimmy Ruiz Pena                 $10.00   59.47   $   8.85          $    97.33   $     97.33
  4/21/2019 Jimmy Ruiz Pena                 $10.00   61.45   $   8.85          $   107.25   $    107.25
  4/23/2017 Joe Huff                        $10.50   54.25   $   8.44          $    74.81   $     74.81
   6/4/2017 Joe Huff                        $10.50   48.32   $   8.44          $    43.66   $     43.66
  6/11/2017 Joe Huff                        $10.50   49.13   $   8.44          $    47.95   $     47.95
  6/18/2017 Joe Huff                        $10.50   58.42   $   8.44          $    96.69   $     96.69
  6/25/2017 Joe Huff                        $10.50   59.18   $   8.44          $   100.71   $    100.71
   7/2/2017 Joe Huff                        $10.50   47.78   $   8.44          $    40.86   $     40.86



                                              296
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 298 of 683 PageID: 1145
                                                  Exhibit 2
                                          New Jersey Computations


   Week                                                          State Section 7: Section 7: Total Section 7
                                                 Hourly Hours/
  Ending                        Name                           Minumum Regular    Half-Time Overtime Back
                                                  Rate Week
   Date                                                          Wage  Rate Due     Due       Wages Due

   7/9/2017 Joe Huff                             $10.50   44.15   $    8.44         $    21.79   $     21.79
  7/16/2017 Joe Huff                             $10.50   49.42   $    8.44         $    49.44   $     49.44
  7/23/2017 Joe Huff                             $10.50   57.58   $    8.44         $    92.31   $     92.31
  7/30/2017 Joe Huff                             $10.50   58.55   $    8.44         $    97.39   $     97.39
   8/6/2017 Joe Huff                             $10.50   58.68   $    8.44         $    98.09   $     98.09
  8/13/2017 Joe Huff                             $10.50   48.05   $    8.44         $    42.26   $     42.26
  8/20/2017 Joe Huff                             $10.50   58.62   $    8.44         $    97.74   $     97.74
  8/27/2017 Joe Huff                             $10.50   48.52   $    8.44         $    44.71   $     44.71
   9/3/2017 Joe Huff                             $10.50   60.27   $    8.44         $   106.40   $    106.40
  9/10/2017 Joe Huff                             $10.50   49.40   $    8.44         $    49.35   $     49.35
  9/17/2017 Joe Huff                             $10.50   54.08   $    8.44         $    73.94   $     73.94
  9/24/2017 Joe Huff                             $10.50   53.75   $    8.44         $    72.19   $     72.19
  10/1/2017 Joe Huff                             $10.50   57.85   $    8.44         $    93.71   $     93.71
  10/8/2017 Joe Huff                             $10.50   47.92   $    8.44         $    41.56   $     41.56
 10/15/2017 Joe Huff                             $10.50   57.60   $    8.44         $    92.40   $     92.40
 10/22/2017 Joe Huff                             $10.50   55.63   $    8.44         $    82.08   $     82.08
 10/29/2017 Joe Huff                             $10.50   57.63   $    8.44         $    92.58   $     92.58
  11/5/2017 Joe Huff                             $10.50   45.35   $    8.44         $    28.09   $     28.09
 11/12/2017 Joe Huff                             $10.50   56.60   $    8.44         $    87.15   $     87.15
 11/19/2017 Joe Huff                             $10.50   58.67   $    8.44         $    98.00   $     98.00
  12/3/2017 Joe Huff                             $10.50   52.12   $    8.44         $    63.61   $     63.61
 12/10/2017 Joe Huff                             $10.50   56.22   $    8.44         $    85.14   $     85.14
 12/17/2017 Joe Huff                             $10.50   55.53   $    8.44         $    81.55   $     81.55
 12/24/2017 Joe Huff                             $10.50   55.45   $    8.44         $    81.11   $     81.11
  1/14/2018 Joe Huff                             $10.50   58.60   $    8.60         $    97.65   $     97.65
  1/21/2018 Joe Huff                             $10.50   58.87   $    8.60         $    99.05   $     99.05
  1/28/2018 Joe Huff                             $10.50   56.48   $    8.60         $    86.54   $     86.54
   2/4/2018 Joe Huff                             $10.50   54.28   $    8.60         $    74.99   $     74.99
  2/11/2018 Joe Huff                             $10.50   57.17   $    8.60         $    90.12   $     90.12
  2/18/2018 Joe Huff                             $10.50   50.78   $    8.60         $    56.61   $     56.61
  2/25/2018 Joe Huff                             $10.50   45.75   $    8.60         $    30.19   $     30.19
   3/4/2018 Joe Huff                             $10.50   58.25   $    8.60         $    95.81   $     95.81
  3/25/2018 Joe Huff                             $10.50   55.75   $    8.60         $    82.69   $     82.69
   4/8/2018 Joe Huff                             $10.50   47.68   $    8.60         $    40.34   $     40.34
  4/15/2018 Joe Huff                             $10.50   52.73   $    8.60         $    66.85   $     66.85
  4/29/2018 Joe Huff                             $10.50   49.53   $    8.60         $    50.05   $     50.05
   5/6/2018 Joe Huff                             $10.50   52.10   $    8.60         $    63.53   $     63.53
  5/13/2018 Joe Huff                             $10.50   51.77   $    8.60         $    61.78   $     61.78
  12/8/2019 Joel Alexis Ortiz Maldonado          $11.00   47.48   $   10.00         $    41.16   $     41.16
 12/15/2019 Joel Alexis Ortiz Maldonado          $11.00   57.32   $   10.00         $    95.24   $     95.24
 12/22/2019 Joel Alexis Ortiz Maldonado          $11.00   57.77   $   10.00         $    97.72   $     97.72
 12/29/2019 Joel Alexis Ortiz Maldonado          $11.00   43.65   $   10.00         $    20.08   $     20.08
  1/19/2020 Joel Alexis Ortiz Maldonado          $11.00   57.78   $   11.00         $    97.81   $     97.81
  1/26/2020 Joel Alexis Ortiz Maldonado          $11.00   56.88   $   11.00         $    92.86   $     92.86
   4/1/2018 Joel Caceres- Pichardo               $10.50   49.07   $    8.60         $    47.60   $     47.60
   4/8/2018 Joel Caceres- Pichardo               $10.50   48.98   $    8.60         $    47.16   $     47.16
  4/15/2018 Joel Caceres- Pichardo               $10.50   47.72   $    8.60         $    40.51   $     40.51
  4/22/2018 Joel Caceres- Pichardo               $10.50   44.87   $    8.60         $    25.55   $     25.55
  4/29/2018 Joel Caceres- Pichardo               $10.50   44.10   $    8.60         $    21.53   $     21.53
   5/6/2018 Joel Caceres- Pichardo               $10.50   40.70   $    8.60         $     3.68   $      3.68



                                                   297
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 299 of 683 PageID: 1146
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  5/13/2018 Joel Caceres- Pichardo            $10.50   44.73   $   8.60          $    24.85   $     24.85
  5/20/2018 Joel Caceres- Pichardo            $10.50   44.52   $   8.60          $    23.71   $     23.71
  5/27/2018 Joel Caceres- Pichardo            $10.50   45.27   $   8.60          $    27.65   $     27.65
   6/3/2018 Joel Caceres- Pichardo            $10.50   40.87   $   8.60          $     4.55   $      4.55
  6/10/2018 Joel Caceres- Pichardo            $10.50   49.15   $   8.60          $    48.04   $     48.04
  6/17/2018 Joel Caceres- Pichardo            $10.50   44.52   $   8.60          $    23.71   $     23.71
  6/24/2018 Joel Caceres- Pichardo            $10.50   43.73   $   8.60          $    19.60   $     19.60
  7/15/2018 Joel Caceres- Pichardo            $10.50   44.60   $   8.60          $    24.15   $     24.15
  7/22/2018 Joel Caceres- Pichardo            $10.50   44.83   $   8.60          $    25.38   $     25.38
  7/29/2018 Joel Caceres- Pichardo            $10.50   44.57   $   8.60          $    23.98   $     23.98
   8/5/2018 Joel Caceres- Pichardo            $10.50   44.23   $   8.60          $    22.23   $     22.23
  8/12/2018 Joel Caceres- Pichardo            $10.50   43.63   $   8.60          $    19.08   $     19.08
  8/19/2018 Joel Caceres- Pichardo            $10.50   41.52   $   8.60          $     7.96   $      7.96
  8/26/2018 Joel Caceres- Pichardo            $10.50   42.97   $   8.60          $    15.58   $     15.58
   9/2/2018 Joel Caceres- Pichardo            $10.50   40.60   $   8.60          $     3.15   $      3.15
  9/16/2018 Joel Caceres- Pichardo            $10.50   41.62   $   8.60          $     8.49   $      8.49
  9/23/2018 Joel Caceres- Pichardo            $10.50   41.35   $   8.60          $     7.09   $      7.09
  10/7/2018 Joel Caceres- Pichardo            $10.50   42.80   $   8.60          $    14.70   $     14.70
 10/14/2018 Joel Caceres- Pichardo            $10.50   42.62   $   8.60          $    13.74   $     13.74
 10/21/2018 Joel Caceres- Pichardo            $10.50   43.73   $   8.60          $    19.60   $     19.60
 10/28/2018 Joel Caceres- Pichardo            $10.50   50.60   $   8.60          $    55.65   $     55.65
  11/4/2018 Joel Caceres- Pichardo            $10.50   51.38   $   8.60          $    59.76   $     59.76
 11/11/2018 Joel Caceres- Pichardo            $10.50   51.57   $   8.60          $    60.73   $     60.73
 11/18/2018 Joel Caceres- Pichardo            $10.50   52.00   $   8.60          $    63.00   $     63.00
  12/2/2018 Joel Caceres- Pichardo            $10.50   53.28   $   8.60          $    69.74   $     69.74
  12/9/2018 Joel Caceres- Pichardo            $10.50   53.40   $   8.60          $    70.35   $     70.35
 12/16/2018 Joel Caceres- Pichardo            $10.50   52.18   $   8.60          $    63.96   $     63.96
 12/23/2018 Joel Caceres- Pichardo            $10.50   50.90   $   8.60          $    57.23   $     57.23
  1/13/2019 Joel Caceres- Pichardo            $10.50   50.05   $   8.85          $    52.76   $     52.76
  1/20/2019 Joel Caceres- Pichardo            $10.50   51.92   $   8.85          $    62.56   $     62.56
  1/27/2019 Joel Caceres- Pichardo            $10.50   49.18   $   8.85          $    48.21   $     48.21
   2/3/2019 Joel Caceres- Pichardo            $10.50   51.62   $   8.85          $    60.99   $     60.99
  2/10/2019 Joel Caceres- Pichardo            $10.50   47.77   $   8.85          $    40.78   $     40.78
  2/17/2019 Joel Caceres- Pichardo            $10.50   50.88   $   8.85          $    57.14   $     57.14
  2/24/2019 Joel Caceres- Pichardo            $10.50   54.67   $   8.85          $    77.00   $     77.00
   3/3/2019 Joel Caceres- Pichardo            $10.50   59.22   $   8.85          $   100.89   $    100.89
  3/10/2019 Joel Caceres- Pichardo            $10.50   59.20   $   8.85          $   100.80   $    100.80
  3/17/2019 Joel Caceres- Pichardo            $10.50   51.33   $   8.85          $    59.50   $     59.50
  3/24/2019 Joel Caceres- Pichardo            $10.50   52.88   $   8.85          $    67.64   $     67.64
  3/31/2019 Joel Caceres- Pichardo            $10.50   50.62   $   8.85          $    55.74   $     55.74
   4/7/2019 Joel Caceres- Pichardo            $10.50   51.53   $   8.85          $    60.55   $     60.55
  4/14/2019 Joel Caceres- Pichardo            $10.50   48.55   $   8.85          $    44.89   $     44.89
  4/21/2019 Joel Caceres- Pichardo            $10.50   53.48   $   8.85          $    70.79   $     70.79
  4/28/2019 Joel Caceres- Pichardo            $10.50   49.03   $   8.85          $    47.43   $     47.43
   5/5/2019 Joel Caceres- Pichardo            $10.50   49.52   $   8.85          $    49.96   $     49.96
  5/12/2019 Joel Caceres- Pichardo            $10.50   50.87   $   8.85          $    57.05   $     57.05
  5/19/2019 Joel Caceres- Pichardo            $10.50   48.42   $   8.85          $    44.19   $     44.19
  5/26/2019 Joel Caceres- Pichardo            $10.50   48.07   $   8.85          $    42.35   $     42.35
   6/2/2019 Joel Caceres- Pichardo            $10.50   44.02   $   8.85          $    21.09   $     21.09
   6/9/2019 Joel Caceres- Pichardo            $10.50   51.68   $   8.85          $    61.34   $     61.34



                                                298
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 300 of 683 PageID: 1147
                                                   Exhibit 2
                                           New Jersey Computations


   Week                                                           State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
  Ending                       Name                             Minumum Regular    Half-Time Overtime Back
                                                   Rate Week
   Date                                                           Wage  Rate Due     Due       Wages Due

  6/16/2019 Joel Caceres- Pichardo                $10.50   49.88   $    8.85               $    51.89   $    51.89
  6/23/2019 Joel Caceres- Pichardo                $10.50   50.87   $    8.85               $    57.05   $    57.05
  6/30/2019 Joel Caceres- Pichardo                $10.50   52.37   $   10.00               $    64.93   $    64.93
  7/14/2019 Joel Caceres- Pichardo                $10.50   50.60   $   10.00               $    55.65   $    55.65
  7/21/2019 Joel Caceres- Pichardo                $10.50   49.97   $   10.00               $    52.33   $    52.33
  7/28/2019 Joel Caceres- Pichardo                $10.50   52.18   $   10.00               $    63.96   $    63.96
   8/4/2019 Joel Caceres- Pichardo                $10.50   50.65   $   10.00               $    55.91   $    55.91
  8/11/2019 Joel Caceres- Pichardo                $10.50   51.35   $   10.00               $    59.59   $    59.59
  8/18/2019 Joel Caceres- Pichardo                $10.50   50.05   $   10.00               $    52.76   $    52.76
  8/25/2019 Joel Caceres- Pichardo                $10.50   51.75   $   10.00               $    61.69   $    61.69
   9/1/2019 Joel Caceres- Pichardo                $10.50   51.02   $   10.00               $    57.84   $    57.84
   9/8/2019 Joel Caceres- Pichardo                $10.50   46.97   $   10.00               $    36.58   $    36.58
  9/15/2019 Joel Caceres- Pichardo                $10.50   50.63   $   10.00               $    55.83   $    55.83
  9/22/2019 Joel Caceres- Pichardo                $10.50   50.45   $   10.00               $    54.86   $    54.86
  9/29/2019 Joel Caceres- Pichardo                $10.50   50.35   $   10.00               $    54.34   $    54.34
  10/6/2019 Joel Caceres- Pichardo                $10.50   56.75   $   10.00               $    87.94   $    87.94
 10/13/2019 Joel Caceres- Pichardo                $10.50   52.65   $   10.00               $    66.41   $    66.41
 10/20/2019 Joel Caceres- Pichardo                $11.00   45.78   $   10.00               $    31.81   $    31.81
 10/27/2019 Joel Caceres- Pichardo                $11.00   44.55   $   10.00               $    25.03   $    25.03
  11/3/2019 Joel Caceres- Pichardo                $11.00   44.63   $   10.00               $    25.48   $    25.48
 11/10/2019 Joel Caceres- Pichardo                $11.00   44.27   $   10.00               $    23.47   $    23.47
 11/17/2019 Joel Caceres- Pichardo                $11.00   44.17   $   10.00               $    22.92   $    22.92
 11/24/2019 Joel Caceres- Pichardo                $11.00   41.60   $   10.00               $     8.80   $     8.80
  12/8/2019 Joel Caceres- Pichardo                $11.00   40.72   $   10.00               $     3.94   $     3.94
 12/15/2019 Joel Caceres- Pichardo                $10.50   45.73   $   10.00               $    30.10   $    30.10
 12/22/2019 Joel Caceres- Pichardo                $10.50   47.18   $   10.00               $    37.71   $    37.71
  1/12/2020 Joel Caceres- Pichardo                $10.50   50.12   $   11.00   $   25.06   $    55.64   $    80.70
  1/19/2020 Joel Caceres- Pichardo                $10.50   46.93   $   11.00   $   23.47   $    38.13   $    61.60
  1/26/2020 Joel Caceres- Pichardo                $10.50   50.73   $   11.00   $   25.37   $    59.03   $    84.40
  4/28/2019 Joel Jose Gonzalez Rodriguez           $9.50   53.52   $    8.85               $    64.20   $    64.20
   5/5/2019 Joel Jose Gonzalez Rodriguez           $9.50   68.03   $    8.85               $   133.16   $   133.16
  5/12/2019 Joel Jose Gonzalez Rodriguez           $9.50   67.82   $    8.85               $   132.13   $   132.13
  5/19/2019 Joel Jose Gonzalez Rodriguez           $9.50   68.63   $    8.85               $   136.01   $   136.01
  5/26/2019 Joel Jose Gonzalez Rodriguez           $9.50   68.27   $    8.85               $   134.27   $   134.27
   6/2/2019 Joel Jose Gonzalez Rodriguez           $9.50   62.10   $    8.85               $   104.98   $   104.98
   6/9/2019 Joel Jose Gonzalez Rodriguez           $9.50   66.10   $    8.85               $   123.98   $   123.98
  6/16/2019 Joel Jose Gonzalez Rodriguez           $9.50   43.55   $    8.85               $    16.86   $    16.86
  6/23/2019 Joel Jose Gonzalez Rodriguez           $9.50   45.60   $    8.85               $    26.60   $    26.60
  6/30/2019 Joel Jose Gonzalez Rodriguez           $9.50   70.10   $   10.00   $   35.05   $   150.50   $   185.55
   7/7/2019 Joel Jose Gonzalez Rodriguez          $11.00   57.97   $   10.00               $    98.82   $    98.82
  7/14/2019 Joel Jose Gonzalez Rodriguez          $11.00   69.08   $   10.00               $   159.96   $   159.96
  7/21/2019 Joel Jose Gonzalez Rodriguez          $11.00   46.60   $   10.00               $    36.30   $    36.30
  7/28/2019 Joel Jose Gonzalez Rodriguez          $11.00   60.38   $   10.00               $   112.11   $   112.11
   8/4/2019 Joel Jose Gonzalez Rodriguez          $11.00   71.68   $   10.00               $   174.26   $   174.26
  8/11/2019 Joel Jose Gonzalez Rodriguez          $11.00   72.12   $   10.00               $   176.64   $   176.64
  8/18/2019 Joel Jose Gonzalez Rodriguez          $11.00   71.82   $   10.00               $   174.99   $   174.99
  8/25/2019 Joel Jose Gonzalez Rodriguez          $11.00   60.23   $   10.00               $   111.28   $   111.28
   9/1/2019 Joel Jose Gonzalez Rodriguez          $11.00   60.50   $   10.00               $   112.75   $   112.75
   9/8/2019 Joel Jose Gonzalez Rodriguez          $11.00   65.10   $   10.00               $   138.05   $   138.05
  9/15/2019 Joel Jose Gonzalez Rodriguez          $11.00   72.25   $   10.00               $   177.38   $   177.38



                                                    299
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 301 of 683 PageID: 1148
                                                   Exhibit 2
                                           New Jersey Computations


   Week                                                           State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
  Ending                       Name                             Minumum Regular    Half-Time Overtime Back
                                                   Rate Week
   Date                                                           Wage  Rate Due     Due       Wages Due

  9/22/2019 Joel Jose Gonzalez Rodriguez          $11.00   71.83   $   10.00         $   175.08   $    175.08
  9/29/2019 Joel Jose Gonzalez Rodriguez          $11.00   62.60   $   10.00         $   124.30   $    124.30
  10/6/2019 Joel Jose Gonzalez Rodriguez          $11.00   71.30   $   10.00         $   172.15   $    172.15
 10/13/2019 Joel Jose Gonzalez Rodriguez          $11.00   68.22   $   10.00         $   155.19   $    155.19
 10/20/2019 Joel Jose Gonzalez Rodriguez          $11.00   50.80   $   10.00         $    59.40   $     59.40
 10/27/2019 Joel Jose Gonzalez Rodriguez          $11.00   61.22   $   10.00         $   116.69   $    116.69
  11/3/2019 Joel Jose Gonzalez Rodriguez          $11.00   59.63   $   10.00         $   107.98   $    107.98
 11/10/2019 Joel Jose Gonzalez Rodriguez          $11.00   60.92   $   10.00         $   115.04   $    115.04
 11/24/2019 Joel Jose Gonzalez Rodriguez          $11.00   60.12   $   10.00         $   110.64   $    110.64
  12/1/2019 Joel Jose Gonzalez Rodriguez          $11.00   51.10   $   10.00         $    61.05   $     61.05
  12/8/2019 Joel Jose Gonzalez Rodriguez          $11.00   58.77   $   10.00         $   103.22   $    103.22
 12/15/2019 Joel Jose Gonzalez Rodriguez          $11.00   62.88   $   10.00         $   125.86   $    125.86
 12/22/2019 Joel Jose Gonzalez Rodriguez          $11.00   68.12   $   10.00         $   154.64   $    154.64
 12/29/2019 Joel Jose Gonzalez Rodriguez          $11.00   48.75   $   10.00         $    48.13   $     48.13
   1/5/2020 Joel Jose Gonzalez Rodriguez          $11.00   51.52   $   11.00         $    63.34   $     63.34
  1/19/2020 Joel Jose Gonzalez Rodriguez          $11.00   70.60   $   11.00         $   168.30   $    168.30
  1/26/2020 Joel Jose Gonzalez Rodriguez          $11.00   69.75   $   11.00         $   163.63   $    163.63
   2/5/2017 Joel Lopez                            $11.00   40.35   $    8.44         $     1.92   $      1.92
  2/19/2017 Joel Lopez                            $11.00   41.87   $    8.44         $    10.27   $     10.27
  2/26/2017 Joel Lopez                            $11.00   43.15   $    8.44         $    17.33   $     17.33
   3/5/2017 Joel Lopez                            $11.00   42.37   $    8.44         $    13.02   $     13.02
  3/12/2017 Joel Lopez                            $11.00   48.90   $    8.44         $    48.95   $     48.95
  3/26/2017 Joel Lopez                            $11.00   44.45   $    8.44         $    24.48   $     24.48
   4/2/2017 Joel Lopez                            $11.00   42.85   $    8.44         $    15.68   $     15.68
   4/9/2017 Joel Lopez                            $11.00   42.42   $    8.44         $    13.29   $     13.29
  4/16/2017 Joel Lopez                            $11.00   42.90   $    8.44         $    15.95   $     15.95
  4/23/2017 Joel Lopez                            $11.00   42.05   $    8.44         $    11.28   $     11.28
  4/30/2017 Joel Lopez                            $11.00   42.30   $    8.44         $    12.65   $     12.65
   5/7/2017 Joel Lopez                            $11.00   42.70   $    8.44         $    14.85   $     14.85
  5/14/2017 Joel Lopez                            $11.00   40.80   $    8.44         $     4.40   $      4.40
  5/21/2017 Joel Lopez                            $11.00   43.25   $    8.44         $    17.88   $     17.88
  5/28/2017 Joel Lopez                            $11.00   42.57   $    8.44         $    14.12   $     14.12
  6/11/2017 Joel Lopez                            $11.00   41.98   $    8.44         $    10.91   $     10.91
  6/18/2017 Joel Lopez                            $11.00   44.03   $    8.44         $    22.18   $     22.18
  6/25/2017 Joel Lopez                            $11.00   43.05   $    8.44         $    16.78   $     16.78
   7/2/2017 Joel Lopez                            $11.00   41.95   $    8.44         $    10.73   $     10.73
  7/16/2017 Joel Lopez                            $11.00   42.20   $    8.44         $    12.10   $     12.10
  7/23/2017 Joel Lopez                            $11.00   41.78   $    8.44         $     9.81   $      9.81
  7/30/2017 Joel Lopez                            $11.00   41.83   $    8.44         $    10.08   $     10.08
   8/6/2017 Joel Lopez                            $11.00   40.87   $    8.44         $     4.77   $      4.77
  8/13/2017 Joel Lopez                            $11.00   41.92   $    8.44         $    10.54   $     10.54
  8/20/2017 Joel Lopez                            $11.00   41.80   $    8.44         $     9.90   $      9.90
  8/27/2017 Joel Lopez                            $11.00   41.90   $    8.44         $    10.45   $     10.45
   9/3/2017 Joel Lopez                            $11.00   40.27   $    8.44         $     1.47   $      1.47
  10/1/2017 Joel Lopez                            $11.00   41.42   $    8.44         $     7.79   $      7.79
  10/8/2017 Joel Lopez                            $11.00   41.78   $    8.44         $     9.81   $      9.81
 10/15/2017 Joel Lopez                            $11.00   41.92   $    8.44         $    10.54   $     10.54
 10/22/2017 Joel Lopez                            $11.00   41.90   $    8.44         $    10.45   $     10.45
 10/29/2017 Joel Lopez                            $11.00   42.32   $    8.44         $    12.74   $     12.74
  11/5/2017 Joel Lopez                            $11.00   42.13   $    8.44         $    11.73   $     11.73



                                                    300
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 302 of 683 PageID: 1149
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                       Name                           Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

 11/12/2017 Joel Lopez                          $11.00   42.55   $    8.44         $    14.03   $     14.03
 11/19/2017 Joel Lopez                          $11.00   42.65   $    8.44         $    14.58   $     14.58
  12/3/2017 Joel Lopez                          $11.00   43.47   $    8.44         $    19.07   $     19.07
 12/10/2017 Joel Lopez                          $11.00   43.57   $    8.44         $    19.62   $     19.62
 12/17/2017 Joel Lopez                          $11.00   42.40   $    8.44         $    13.20   $     13.20
  1/14/2018 Joel Lopez                          $11.00   41.88   $    8.60         $    10.36   $     10.36
  1/21/2018 Joel Lopez                          $11.00   41.78   $    8.60         $     9.81   $      9.81
  1/28/2018 Joel Lopez                          $11.00   41.97   $    8.60         $    10.82   $     10.82
   2/4/2018 Joel Lopez                          $11.00   43.58   $    8.60         $    19.71   $     19.71
  2/11/2018 Joel Lopez                          $11.00   40.18   $    8.60         $     1.01   $      1.01
  2/18/2018 Joel Lopez                          $11.00   42.20   $    8.60         $    12.10   $     12.10
  2/25/2018 Joel Lopez                          $11.00   42.62   $    8.60         $    14.39   $     14.39
   3/4/2018 Joel Lopez                          $11.00   41.48   $    8.60         $     8.16   $      8.16
   4/1/2018 Joel Lopez                          $11.00   44.00   $    8.60         $    22.00   $     22.00
   4/8/2018 Joel Lopez                          $11.00   41.45   $    8.60         $     7.98   $      7.98
  4/15/2018 Joel Lopez                          $11.00   42.78   $    8.60         $    15.31   $     15.31
  4/22/2018 Joel Lopez                          $11.00   41.95   $    8.60         $    10.73   $     10.73
  4/29/2018 Joel Lopez                          $11.00   41.08   $    8.60         $     5.96   $      5.96
   5/6/2018 Joel Lopez                          $11.00   42.40   $    8.60         $    13.20   $     13.20
  5/13/2018 Joel Lopez                          $11.00   43.13   $    8.60         $    17.23   $     17.23
  5/20/2018 Joel Lopez                          $11.00   42.62   $    8.60         $    14.39   $     14.39
  5/27/2018 Joel Lopez                          $11.00   42.55   $    8.60         $    14.03   $     14.03
  6/17/2018 Joel Lopez                          $11.00   42.43   $    8.60         $    13.38   $     13.38
  6/24/2018 Joel Lopez                          $11.00   42.72   $    8.60         $    14.94   $     14.94
   7/1/2018 Joel Lopez                          $11.00   42.47   $    8.60         $    13.57   $     13.57
  7/15/2018 Joel Lopez                          $11.00   42.82   $    8.60         $    15.49   $     15.49
  7/22/2018 Joel Lopez                          $11.00   42.53   $    8.60         $    13.93   $     13.93
  7/29/2018 Joel Lopez                          $11.00   42.93   $    8.60         $    16.13   $     16.13
   8/5/2018 Joel Lopez                          $11.00   41.98   $    8.60         $    10.91   $     10.91
  8/12/2018 Joel Lopez                          $11.00   41.62   $    8.60         $     8.89   $      8.89
  8/19/2018 Joel Lopez                          $11.00   44.38   $    8.60         $    24.11   $     24.11
  8/26/2018 Joel Lopez                          $11.00   44.25   $    8.60         $    23.38   $     23.38
   9/2/2018 Joel Lopez                          $11.00   44.83   $    8.60         $    26.58   $     26.58
  9/16/2018 Joel Lopez                          $11.00   43.58   $    8.60         $    19.71   $     19.71
  9/23/2018 Joel Lopez                          $11.00   44.92   $    8.60         $    27.04   $     27.04
  9/30/2018 Joel Lopez                          $11.00   42.23   $    8.60         $    12.28   $     12.28
 10/14/2018 Joel Lopez                          $11.00   42.85   $    8.60         $    15.68   $     15.68
   8/4/2019 Johan Camilo Alvarez Perez          $10.00   55.33   $   10.00         $    76.67   $     76.67
  8/11/2019 Johan Camilo Alvarez Perez          $10.00   59.33   $   10.00         $    96.67   $     96.67
  8/18/2019 Johan Camilo Alvarez Perez          $10.00   59.92   $   10.00         $    99.58   $     99.58
  8/25/2019 Johan Camilo Alvarez Perez          $10.00   61.83   $   10.00         $   109.17   $    109.17
   9/1/2019 Johan Camilo Alvarez Perez          $10.00   65.07   $   10.00         $   125.33   $    125.33
   9/8/2019 Johan Camilo Alvarez Perez          $10.00   58.52   $   10.00         $    92.58   $     92.58
  9/15/2019 Johan Camilo Alvarez Perez          $10.00   61.33   $   10.00         $   106.67   $    106.67
 11/10/2019 Johan Camilo Alvarez Perez          $10.00   59.13   $   10.00         $    95.67   $     95.67
 11/17/2019 Johan Camilo Alvarez Perez          $10.00   70.50   $   10.00         $   152.50   $    152.50
 11/24/2019 Johan Camilo Alvarez Perez          $10.00   59.58   $   10.00         $    97.92   $     97.92
  7/22/2018 Johan Manuel Lopez                   $9.50   64.65   $    8.60         $   117.09   $    117.09
  7/29/2018 Johan Manuel Lopez                   $9.50   71.43   $    8.60         $   149.31   $    149.31
   8/5/2018 Johan Manuel Lopez                   $9.50   75.40   $    8.60         $   168.15   $    168.15



                                                  301
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 303 of 683 PageID: 1150
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  8/12/2018 Johan Manuel Lopez                $9.50   66.42   $    8.60         $   125.48   $    125.48
  8/19/2018 Johan Manuel Lopez                $9.50   53.00   $    8.60         $    61.75   $     61.75
  8/26/2018 Johan Manuel Lopez                $9.50   67.22   $    8.60         $   129.28   $    129.28
   9/2/2018 Johan Manuel Lopez                $9.50   68.83   $    8.60         $   136.96   $    136.96
   9/9/2018 Johan Manuel Lopez                $9.50   62.63   $    8.60         $   107.51   $    107.51
  9/16/2018 Johan Manuel Lopez                $9.50   68.15   $    8.60         $   133.71   $    133.71
  9/23/2018 Johan Manuel Lopez                $9.50   55.70   $    8.60         $    74.58   $     74.58
  9/30/2018 Johan Manuel Lopez                $9.50   63.77   $    8.60         $   112.89   $    112.89
  10/7/2018 Johan Manuel Lopez                $9.50   80.05   $    8.60         $   190.24   $    190.24
 10/21/2018 Johan Manuel Lopez                $9.50   40.20   $    8.60         $     0.95   $      0.95
 11/11/2018 Johan Manuel Lopez                $9.50   40.95   $    8.60         $     4.51   $      4.51
 11/18/2018 Johan Manuel Lopez                $9.50   40.87   $    8.60         $     4.12   $      4.12
 12/16/2018 Johan Manuel Lopez                $9.50   40.13   $    8.60         $     0.63   $      0.63
 12/23/2018 Johan Manuel Lopez                $9.50   48.73   $    8.60         $    41.48   $     41.48
  12/9/2018 Johanan Aguilar Landa            $10.00   49.97   $    8.60         $    49.83   $     49.83
 12/16/2018 Johanan Aguilar Landa            $10.00   66.87   $    8.60         $   134.33   $    134.33
 12/23/2018 Johanan Aguilar Landa            $10.00   77.42   $    8.60         $   187.08   $    187.08
 12/30/2018 Johanan Aguilar Landa            $10.00   59.73   $    8.60         $    98.67   $     98.67
   1/6/2019 Johanan Aguilar Landa            $10.00   70.37   $    8.85         $   151.83   $    151.83
  1/13/2019 Johanan Aguilar Landa            $10.00   76.72   $    8.85         $   183.58   $    183.58
  1/20/2019 Johanan Aguilar Landa            $10.00   78.52   $    8.85         $   192.58   $    192.58
  1/27/2019 Johanan Aguilar Landa            $10.00   79.20   $    8.85         $   196.00   $    196.00
   2/3/2019 Johanan Aguilar Landa            $10.00   78.60   $    8.85         $   193.00   $    193.00
  2/10/2019 Johanan Aguilar Landa            $10.00   77.75   $    8.85         $   188.75   $    188.75
  2/17/2019 Johanan Aguilar Landa            $10.00   77.58   $    8.85         $   187.92   $    187.92
  2/24/2019 Johanan Aguilar Landa            $10.00   79.70   $    8.85         $   198.50   $    198.50
   3/3/2019 Johanan Aguilar Landa            $10.00   78.85   $    8.85         $   194.25   $    194.25
  3/10/2019 Johanan Aguilar Landa            $10.00   80.13   $    8.85         $   200.67   $    200.67
  3/17/2019 Johanan Aguilar Landa            $10.00   81.50   $    8.85         $   207.50   $    207.50
  3/24/2019 Johanan Aguilar Landa            $10.00   74.83   $    8.85         $   174.17   $    174.17
  3/31/2019 Johanan Aguilar Landa            $10.00   76.52   $    8.85         $   182.58   $    182.58
   4/7/2019 Johanan Aguilar Landa            $10.00   74.52   $    8.85         $   172.58   $    172.58
  4/14/2019 Johanan Aguilar Landa            $10.00   71.72   $    8.85         $   158.58   $    158.58
  4/21/2019 Johanan Aguilar Landa            $10.00   68.72   $    8.85         $   143.58   $    143.58
  4/28/2019 Johanan Aguilar Landa            $10.00   63.22   $    8.85         $   116.08   $    116.08
   5/5/2019 Johanan Aguilar Landa            $10.00   72.25   $    8.85         $   161.25   $    161.25
  5/12/2019 Johanan Aguilar Landa            $10.00   72.85   $    8.85         $   164.25   $    164.25
  5/19/2019 Johanan Aguilar Landa            $10.00   71.43   $    8.85         $   157.17   $    157.17
  5/26/2019 Johanan Aguilar Landa            $10.00   82.57   $    8.85         $   212.83   $    212.83
   6/2/2019 Johanan Aguilar Landa            $10.00   72.55   $    8.85         $   162.75   $    162.75
   6/9/2019 Johanan Aguilar Landa            $10.00   74.78   $    8.85         $   173.92   $    173.92
  6/16/2019 Johanan Aguilar Landa            $10.00   75.55   $    8.85         $   177.75   $    177.75
  6/23/2019 Johanan Aguilar Landa            $10.00   74.43   $    8.85         $   172.17   $    172.17
  6/30/2019 Johanan Aguilar Landa            $10.00   63.77   $   10.00         $   118.83   $    118.83
   7/7/2019 Johanan Aguilar Landa            $10.00   70.95   $   10.00         $   154.75   $    154.75
  7/14/2019 Johanan Aguilar Landa            $10.00   61.55   $   10.00         $   107.75   $    107.75
  7/21/2019 Johanan Aguilar Landa            $10.00   74.67   $   10.00         $   173.33   $    173.33
  7/28/2019 Johanan Aguilar Landa            $10.00   73.58   $   10.00         $   167.92   $    167.92
   8/4/2019 Johanan Aguilar Landa            $10.00   75.05   $   10.00         $   175.25   $    175.25
  8/11/2019 Johanan Aguilar Landa            $10.00   74.45   $   10.00         $   172.25   $    172.25



                                               302
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 304 of 683 PageID: 1151
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  8/18/2019 Johanan Aguilar Landa            $10.00   75.52   $   10.00         $   177.58   $    177.58
  8/25/2019 Johanan Aguilar Landa            $10.00   73.03   $   10.00         $   165.17   $    165.17
   9/1/2019 Johanan Aguilar Landa            $10.00   78.92   $   10.00         $   194.58   $    194.58
   9/8/2019 Johanan Aguilar Landa            $10.00   70.90   $   10.00         $   154.50   $    154.50
  9/15/2019 Johanan Aguilar Landa            $10.00   76.88   $   10.00         $   184.42   $    184.42
  9/22/2019 Johanan Aguilar Landa            $10.00   77.95   $   10.00         $   189.75   $    189.75
  9/29/2019 Johanan Aguilar Landa            $12.00   64.17   $   10.00         $   145.00   $    145.00
  10/6/2019 Johanan Aguilar Landa            $12.00   76.42   $   10.00         $   218.50   $    218.50
 10/13/2019 Johanan Aguilar Landa            $12.00   73.23   $   10.00         $   199.40   $    199.40
 10/20/2019 Johanan Aguilar Landa            $12.00   76.25   $   10.00         $   217.50   $    217.50
 10/27/2019 Johanan Aguilar Landa            $12.00   76.87   $   10.00         $   221.20   $    221.20
  11/3/2019 Johanan Aguilar Landa            $12.00   77.15   $   10.00         $   222.90   $    222.90
 11/10/2019 Johanan Aguilar Landa            $12.00   75.55   $   10.00         $   213.30   $    213.30
 11/17/2019 Johanan Aguilar Landa            $12.00   77.27   $   10.00         $   223.60   $    223.60
 11/24/2019 Johanan Aguilar Landa            $12.00   74.42   $   10.00         $   206.50   $    206.50
  12/1/2019 Johanan Aguilar Landa            $12.00   62.92   $   10.00         $   137.50   $    137.50
  12/8/2019 Johanan Aguilar Landa            $12.00   76.38   $   10.00         $   218.30   $    218.30
 12/15/2019 Johanan Aguilar Landa            $12.00   72.08   $   10.00         $   192.50   $    192.50
 12/22/2019 Johanan Aguilar Landa            $12.00   76.25   $   10.00         $   217.50   $    217.50
 12/29/2019 Johanan Aguilar Landa            $12.00   56.78   $   10.00         $   100.70   $    100.70
  2/24/2019 John Alonso                      $13.00   57.00   $    8.85         $   110.50   $    110.50
   3/3/2019 John Alonso                      $13.00   64.28   $    8.85         $   157.84   $    157.84
  3/10/2019 John Alonso                      $13.00   60.57   $    8.85         $   133.68   $    133.68
  3/17/2019 John Alonso                      $13.00   63.33   $    8.85         $   151.67   $    151.67
  3/24/2019 John Alonso                      $13.00   58.13   $    8.85         $   117.87   $    117.87
  3/31/2019 John Alonso                      $13.00   63.35   $    8.85         $   151.78   $    151.78
   4/7/2019 John Alonso                      $13.00   63.53   $    8.85         $   152.97   $    152.97
  4/14/2019 John Alonso                      $13.00   64.38   $    8.85         $   158.49   $    158.49
  4/21/2019 John Alonso                      $13.00   63.60   $    8.85         $   153.40   $    153.40
  4/28/2019 John Alonso                      $13.00   62.45   $    8.85         $   145.93   $    145.93
   5/5/2019 John Alonso                      $13.00   65.52   $    8.85         $   165.86   $    165.86
  5/12/2019 John Alonso                      $13.00   65.93   $    8.85         $   168.57   $    168.57
  5/19/2019 John Alonso                      $13.00   65.55   $    8.85         $   166.08   $    166.08
  5/26/2019 John Alonso                      $13.00   65.60   $    8.85         $   166.40   $    166.40
   6/2/2019 John Alonso                      $13.00   68.72   $    8.85         $   186.66   $    186.66
   6/9/2019 John Alonso                      $13.00   71.45   $    8.85         $   204.43   $    204.43
  6/16/2019 John Alonso                      $13.00   67.47   $    8.85         $   178.53   $    178.53
  6/23/2019 John Alonso                      $13.00   54.47   $    8.85         $    94.03   $     94.03
  6/30/2019 John Alonso                      $13.00   72.32   $   10.00         $   210.06   $    210.06
   7/7/2019 John Alonso                      $13.00   63.85   $   10.00         $   155.03   $    155.03
  7/14/2019 John Alonso                      $13.00   65.87   $   10.00         $   168.13   $    168.13
  7/21/2019 John Alonso                      $13.00   64.60   $   10.00         $   159.90   $    159.90
  7/28/2019 John Alonso                      $13.00   60.33   $   10.00         $   132.17   $    132.17
   8/4/2019 John Alonso                      $13.00   67.78   $   10.00         $   180.59   $    180.59
  8/11/2019 John Alonso                      $13.00   70.60   $   10.00         $   198.90   $    198.90
  8/18/2019 John Alonso                      $13.00   70.73   $   10.00         $   199.77   $    199.77
  8/25/2019 John Alonso                      $13.00   67.37   $   10.00         $   177.88   $    177.88
   9/1/2019 John Alonso                      $13.00   65.47   $   10.00         $   165.53   $    165.53
   9/8/2019 John Alonso                      $13.00   52.17   $   10.00         $    79.08   $     79.08
  9/15/2019 John Alonso                      $13.00   66.48   $   10.00         $   172.14   $    172.14



                                               303
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 305 of 683 PageID: 1152
                                         Exhibit 2
                                 New Jersey Computations


   Week                                                 State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
  Ending                  Name                        Minumum Regular    Half-Time Overtime Back
                                         Rate Week
   Date                                                 Wage  Rate Due     Due       Wages Due

  9/22/2019 John Alonso                 $13.00   68.02   $   10.00         $   182.11   $    182.11
  9/29/2019 John Alonso                 $13.00   67.92   $   10.00         $   181.46   $    181.46
  10/6/2019 John Alonso                 $13.00   65.62   $   10.00         $   166.51   $    166.51
 10/13/2019 John Alonso                 $13.00   52.68   $   10.00         $    82.44   $     82.44
 10/20/2019 John Alonso                 $13.00   56.78   $   10.00         $   109.09   $    109.09
 10/27/2019 John Alonso                 $13.00   54.75   $   10.00         $    95.88   $     95.88
  11/3/2019 John Alonso                 $13.00   51.67   $   10.00         $    75.83   $     75.83
 11/10/2019 John Alonso                 $13.00   53.37   $   10.00         $    86.88   $     86.88
 11/17/2019 John Alonso                 $13.00   51.42   $   10.00         $    74.21   $     74.21
  12/1/2019 John Alonso                 $13.00   51.00   $   10.00         $    71.50   $     71.50
  12/8/2019 John Alonso                 $13.00   50.83   $   10.00         $    70.42   $     70.42
 12/15/2019 John Alonso                 $13.00   61.38   $   10.00         $   138.99   $    138.99
 12/22/2019 John Alonso                 $13.00   60.82   $   10.00         $   135.31   $    135.31
 12/29/2019 John Alonso                 $13.00   49.98   $   10.00         $    64.89   $     64.89
   1/5/2020 John Alonso                 $13.00   62.35   $   11.00         $   145.28   $    145.28
  1/12/2020 John Alonso                 $13.00   68.05   $   11.00         $   182.33   $    182.33
  1/19/2020 John Alonso                 $13.00   66.65   $   11.00         $   173.23   $    173.23
  1/26/2020 John Alonso                 $13.00   61.58   $   11.00         $   140.29   $    140.29
 10/29/2017 John Hairro                 $10.66   54.17   $    8.44         $    75.51   $     75.51
  11/5/2017 John Hairro                 $10.66   53.52   $    8.44         $    72.04   $     72.04
 11/12/2017 John Hairro                 $10.66   58.32   $    8.44         $    97.63   $     97.63
 11/19/2017 John Hairro                 $10.66   56.53   $    8.44         $    88.12   $     88.12
 11/26/2017 John Hairro                 $10.66   44.50   $    8.44         $    23.99   $     23.99
  12/3/2017 John Hairro                 $10.66   60.75   $    8.44         $   110.60   $    110.60
 12/10/2017 John Hairro                 $10.66   51.63   $    8.44         $    62.01   $     62.01
 12/17/2017 John Hairro                 $10.66   58.57   $    8.44         $    98.96   $     98.96
 12/24/2017 John Hairro                 $10.66   65.23   $    8.44         $   134.49   $    134.49
 12/31/2017 John Hairro                 $10.66   52.75   $    8.44         $    67.96   $     67.96
   1/7/2018 John Hairro                 $10.66   41.30   $    8.60         $     6.93   $      6.93
  1/14/2018 John Hairro                 $10.66   53.05   $    8.60         $    69.56   $     69.56
  1/21/2018 John Hairro                 $10.66   55.78   $    8.60         $    84.13   $     84.13
  1/28/2018 John Hairro                 $10.66   55.07   $    8.60         $    80.31   $     80.31
   2/4/2018 John Hairro                 $10.66   58.05   $    8.60         $    96.21   $     96.21
  2/11/2018 John Hairro                 $10.66   59.12   $    8.60         $   101.89   $    101.89
  2/18/2018 John Hairro                 $10.66   57.20   $    8.60         $    91.68   $     91.68
  2/25/2018 John Hairro                 $10.66   59.38   $    8.60         $   103.31   $    103.31
   3/4/2018 John Hairro                 $10.66   54.58   $    8.60         $    77.73   $     77.73
  3/25/2018 John Hairro                 $10.66   59.62   $    8.60         $   104.56   $    104.56
   4/1/2018 John Hairro                 $10.66   61.42   $    8.60         $   114.15   $    114.15
   4/8/2018 John Hairro                 $10.66   60.30   $    8.60         $   108.20   $    108.20
  4/15/2018 John Hairro                 $10.66   55.17   $    8.60         $    80.84   $     80.84
  4/22/2018 John Hairro                 $10.66   58.98   $    8.60         $   101.18   $    101.18
  4/29/2018 John Hairro                 $10.66   55.52   $    8.60         $    82.70   $     82.70
   5/6/2018 John Hairro                 $10.66   58.02   $    8.60         $    96.03   $     96.03
  5/13/2018 John Hairro                 $10.66   54.00   $    8.60         $    74.62   $     74.62
  5/20/2018 John Hairro                 $10.66   48.85   $    8.60         $    47.17   $     47.17
  5/27/2018 John Hairro                 $10.66   57.95   $    8.60         $    95.67   $     95.67
   6/3/2018 John Hairro                 $10.66   49.02   $    8.60         $    48.06   $     48.06
  6/10/2018 John Hairro                 $10.66   59.17   $    8.60         $   102.16   $    102.16
  6/17/2018 John Hairro                 $10.66   59.08   $    8.60         $   101.71   $    101.71



                                          304
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 306 of 683 PageID: 1153
                                         Exhibit 2
                                 New Jersey Computations


   Week                                                 State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
  Ending                  Name                        Minumum Regular    Half-Time Overtime Back
                                         Rate Week
   Date                                                 Wage  Rate Due     Due       Wages Due

  6/24/2018 John Hairro                 $10.66   59.30   $    8.60         $   102.87   $    102.87
   7/1/2018 John Hairro                 $10.66   59.88   $    8.60         $   105.98   $    105.98
   7/8/2018 John Hairro                 $10.66   53.12   $    8.60         $    69.91   $     69.91
  7/15/2018 John Hairro                 $10.66   59.35   $    8.60         $   103.14   $    103.14
  7/22/2018 John Hairro                 $10.66   59.42   $    8.60         $   103.49   $    103.49
  7/29/2018 John Hairro                 $10.66   62.65   $    8.60         $   120.72   $    120.72
   8/5/2018 John Hairro                 $10.66   59.07   $    8.60         $   101.63   $    101.63
  8/12/2018 John Hairro                 $10.66   59.95   $    8.60         $   106.33   $    106.33
  8/19/2018 John Hairro                 $10.66   59.07   $    8.60         $   101.63   $    101.63
  8/26/2018 John Hairro                 $10.66   62.37   $    8.60         $   119.21   $    119.21
   9/2/2018 John Hairro                 $10.66   62.93   $    8.60         $   122.23   $    122.23
   9/9/2018 John Hairro                 $10.66   40.53   $    8.60         $     2.84   $      2.84
  9/16/2018 John Hairro                 $10.66   61.40   $    8.60         $   114.06   $    114.06
  9/23/2018 John Hairro                 $10.66   59.37   $    8.60         $   103.22   $    103.22
  9/30/2018 John Hairro                 $10.66   59.15   $    8.60         $   102.07   $    102.07
  10/7/2018 John Hairro                 $10.66   59.62   $    8.60         $   104.56   $    104.56
 10/14/2018 John Hairro                 $10.66   58.97   $    8.60         $   101.09   $    101.09
 10/21/2018 John Hairro                 $10.66   52.15   $    8.60         $    64.76   $     64.76
 10/28/2018 John Hairro                 $10.66   57.87   $    8.60         $    95.23   $     95.23
  11/4/2018 John Hairro                 $10.66   59.13   $    8.60         $   101.98   $    101.98
 11/11/2018 John Hairro                 $10.66   59.18   $    8.60         $   102.25   $    102.25
 11/18/2018 John Hairro                 $10.66   47.67   $    8.60         $    40.86   $     40.86
  9/22/2019 John Ortega                 $10.00   65.23   $   10.00         $   126.17   $    126.17
  9/29/2019 John Ortega                 $10.00   67.03   $   10.00         $   135.17   $    135.17
  10/6/2019 John Ortega                 $10.00   66.22   $   10.00         $   131.08   $    131.08
 10/13/2019 John Ortega                 $10.00   65.68   $   10.00         $   128.42   $    128.42
 10/20/2019 John Ortega                 $10.00   65.72   $   10.00         $   128.58   $    128.58
 10/27/2019 John Ortega                 $10.00   69.33   $   10.00         $   146.67   $    146.67
  11/3/2019 John Ortega                 $10.00   70.43   $   10.00         $   152.17   $    152.17
 11/10/2019 John Ortega                 $10.00   69.22   $   10.00         $   146.08   $    146.08
 11/17/2019 John Ortega                 $10.00   70.00   $   10.00         $   150.00   $    150.00
 11/24/2019 John Ortega                 $10.00   68.95   $   10.00         $   144.75   $    144.75
  12/1/2019 John Ortega                 $10.00   57.17   $   10.00         $    85.83   $     85.83
  12/8/2019 John Ortega                 $10.00   60.20   $   10.00         $   101.00   $    101.00
  2/26/2017 Johnny Rizo                 $12.00   45.78   $    8.44         $    34.70   $     34.70
   3/5/2017 Johnny Rizo                 $12.00   55.80   $    8.44         $    94.80   $     94.80
  3/12/2017 Johnny Rizo                 $12.00   41.53   $    8.44         $     9.20   $      9.20
  3/19/2017 Johnny Rizo                 $12.00   44.78   $    8.44         $    28.70   $     28.70
  3/26/2017 Johnny Rizo                 $12.00   54.83   $    8.44         $    89.00   $     89.00
   4/2/2017 Johnny Rizo                 $12.00   64.48   $    8.44         $   146.90   $    146.90
   4/9/2017 Johnny Rizo                 $12.00   61.33   $    8.44         $   128.00   $    128.00
  4/16/2017 Johnny Rizo                 $12.00   61.73   $    8.44         $   130.40   $    130.40
  4/23/2017 Johnny Rizo                 $12.00   50.10   $    8.44         $    60.60   $     60.60
  4/30/2017 Johnny Rizo                 $12.00   58.28   $    8.44         $   109.70   $    109.70
   5/7/2017 Johnny Rizo                 $12.00   57.53   $    8.44         $   105.20   $    105.20
  5/14/2017 Johnny Rizo                 $12.00   56.98   $    8.44         $   101.90   $    101.90
  5/21/2017 Johnny Rizo                 $12.00   56.88   $    8.44         $   101.30   $    101.30
  5/28/2017 Johnny Rizo                 $12.00   52.40   $    8.44         $    74.40   $     74.40
   6/4/2017 Johnny Rizo                 $12.00   51.75   $    8.44         $    70.50   $     70.50
  6/11/2017 Johnny Rizo                 $12.00   44.57   $    8.44         $    27.40   $     27.40



                                          305
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 307 of 683 PageID: 1154
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

 12/23/2018 Jonathan Alvarado                 $16.50   51.50   $    8.60         $    94.88   $     94.88
  1/13/2019 Jonathan Alvarado                 $16.50   52.12   $    8.85         $    99.96   $     99.96
  1/20/2019 Jonathan Alvarado                 $16.50   52.48   $    8.85         $   102.99   $    102.99
  1/27/2019 Jonathan Alvarado                 $16.50   60.35   $    8.85         $   167.89   $    167.89
   2/3/2019 Jonathan Alvarado                 $16.50   61.10   $    8.85         $   174.08   $    174.08
  2/10/2019 Jonathan Alvarado                 $16.50   65.88   $    8.85         $   213.54   $    213.54
  2/17/2019 Jonathan Alvarado                 $16.50   49.93   $    8.85         $    81.95   $     81.95
  3/10/2019 Jonathan Alvarado                 $16.50   54.87   $    8.85         $   122.65   $    122.65
  3/17/2019 Jonathan Alvarado                 $16.50   59.93   $    8.85         $   164.45   $    164.45
  3/24/2019 Jonathan Alvarado                 $16.50   55.07   $    8.85         $   124.30   $    124.30
  3/31/2019 Jonathan Alvarado                 $16.50   53.92   $    8.85         $   114.81   $    114.81
   4/7/2019 Jonathan Alvarado                 $16.50   56.58   $    8.85         $   136.81   $    136.81
  4/14/2019 Jonathan Alvarado                 $16.50   57.40   $    8.85         $   143.55   $    143.55
  4/21/2019 Jonathan Alvarado                 $16.50   51.47   $    8.85         $    94.60   $     94.60
  4/28/2019 Jonathan Alvarado                 $16.50   56.62   $    8.85         $   137.09   $    137.09
   5/5/2019 Jonathan Alvarado                 $16.50   40.10   $    8.85         $     0.82   $      0.82
  5/12/2019 Jonathan Alvarado                 $16.50   58.05   $    8.85         $   148.91   $    148.91
  5/19/2019 Jonathan Alvarado                 $16.50   50.93   $    8.85         $    90.20   $     90.20
  5/26/2019 Jonathan Alvarado                 $16.50   54.70   $    8.85         $   121.28   $    121.28
   6/9/2019 Jonathan Alvarado                 $16.50   58.68   $    8.85         $   154.14   $    154.14
  6/16/2019 Jonathan Alvarado                 $16.50   53.03   $    8.85         $   107.53   $    107.53
  6/23/2019 Jonathan Alvarado                 $16.50   57.78   $    8.85         $   146.71   $    146.71
  6/30/2019 Jonathan Alvarado                 $16.50   55.85   $   10.00         $   130.76   $    130.76
  7/21/2019 Jonathan Alvarado                 $16.50   54.53   $   10.00         $   119.90   $    119.90
  7/22/2018 Jonathan Castillo Rivera          $10.00   62.77   $    8.60         $   113.83   $    113.83
  7/29/2018 Jonathan Castillo Rivera          $10.00   73.78   $    8.60         $   168.92   $    168.92
   8/5/2018 Jonathan Castillo Rivera          $10.00   63.95   $    8.60         $   119.75   $    119.75
  8/12/2018 Jonathan Castillo Rivera          $10.00   59.07   $    8.60         $    95.33   $     95.33
  8/19/2018 Jonathan Castillo Rivera          $10.00   49.30   $    8.60         $    46.50   $     46.50
  8/26/2018 Jonathan Castillo Rivera          $10.00   59.23   $    8.60         $    96.17   $     96.17
   9/2/2018 Jonathan Castillo Rivera          $10.00   49.90   $    8.60         $    49.50   $     49.50
   9/9/2018 Jonathan Castillo Rivera          $10.00   66.80   $    8.60         $   134.00   $    134.00
  9/16/2018 Jonathan Castillo Rivera          $10.00   70.32   $    8.60         $   151.58   $    151.58
  9/23/2018 Jonathan Castillo Rivera          $10.00   72.73   $    8.60         $   163.67   $    163.67
  9/30/2018 Jonathan Castillo Rivera          $10.00   64.87   $    8.60         $   124.33   $    124.33
  10/7/2018 Jonathan Castillo Rivera          $10.00   69.33   $    8.60         $   146.67   $    146.67
 10/14/2018 Jonathan Castillo Rivera          $10.00   65.12   $    8.60         $   125.58   $    125.58
 10/21/2018 Jonathan Castillo Rivera          $10.00   67.60   $    8.60         $   138.00   $    138.00
 10/28/2018 Jonathan Castillo Rivera          $10.00   68.12   $    8.60         $   140.58   $    140.58
  11/4/2018 Jonathan Castillo Rivera          $10.00   69.70   $    8.60         $   148.50   $    148.50
 11/11/2018 Jonathan Castillo Rivera          $10.00   60.23   $    8.60         $   101.17   $    101.17
 11/18/2018 Jonathan Castillo Rivera          $10.00   53.43   $    8.60         $    67.17   $     67.17
  5/20/2018 Jonathan E. Leon-0370              $9.00   43.00   $    8.60         $    13.50   $     13.50
  5/27/2018 Jonathan E. Leon-0370              $9.00   63.03   $    8.60         $   103.65   $    103.65
   6/3/2018 Jonathan E. Leon-0370              $9.00   70.42   $    8.60         $   136.88   $    136.88
  6/10/2018 Jonathan E. Leon-0370              $9.00   66.93   $    8.60         $   121.20   $    121.20
  6/17/2018 Jonathan E. Leon-0370              $9.00   58.32   $    8.60         $    82.43   $     82.43
  6/24/2018 Jonathan E. Leon-0370              $9.00   61.00   $    8.60         $    94.50   $     94.50
   7/1/2018 Jonathan E. Leon-0370              $9.00   64.03   $    8.60         $   108.15   $    108.15
   7/8/2018 Jonathan E. Leon-0370              $9.00   52.03   $    8.60         $    54.15   $     54.15



                                                306
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 308 of 683 PageID: 1155
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  7/15/2018 Jonathan E. Leon-0370            $9.00   60.97   $   8.60          $    94.35   $     94.35
  7/22/2018 Jonathan E. Leon-0370            $9.00   61.52   $   8.60          $    96.83   $     96.83
  7/29/2018 Jonathan E. Leon-0370            $9.00   58.98   $   8.60          $    85.43   $     85.43
   8/5/2018 Jonathan E. Leon-0370            $9.00   60.75   $   8.60          $    93.38   $     93.38
  8/12/2018 Jonathan E. Leon-0370            $9.00   48.40   $   8.60          $    37.80   $     37.80
  8/19/2018 Jonathan E. Leon-0370            $9.00   60.42   $   8.60          $    91.88   $     91.88
  8/26/2018 Jonathan E. Leon-0370            $9.00   50.18   $   8.60          $    45.83   $     45.83
   9/2/2018 Jonathan E. Leon-0370            $9.00   60.02   $   8.60          $    90.08   $     90.08
   9/9/2018 Jonathan E. Leon-0370            $9.00   59.10   $   8.60          $    85.95   $     85.95
  9/16/2018 Jonathan E. Leon-0370            $9.00   58.60   $   8.60          $    83.70   $     83.70
  9/23/2018 Jonathan E. Leon-0370            $9.00   59.07   $   8.60          $    85.80   $     85.80
  9/30/2018 Jonathan E. Leon-0370            $9.00   59.68   $   8.60          $    88.58   $     88.58
  10/7/2018 Jonathan E. Leon-0370            $9.00   54.93   $   8.60          $    67.20   $     67.20
 10/14/2018 Jonathan E. Leon-0370            $9.00   61.02   $   8.60          $    94.58   $     94.58
 10/21/2018 Jonathan E. Leon-0370            $9.00   59.53   $   8.60          $    87.90   $     87.90
 10/28/2018 Jonathan E. Leon-0370            $9.00   59.73   $   8.60          $    88.80   $     88.80
  11/4/2018 Jonathan E. Leon-0370            $9.00   59.28   $   8.60          $    86.78   $     86.78
 11/11/2018 Jonathan E. Leon-0370            $9.00   48.00   $   8.60          $    36.00   $     36.00
 11/18/2018 Jonathan E. Leon-0370            $9.00   53.62   $   8.60          $    61.28   $     61.28
 11/25/2018 Jonathan E. Leon-0370            $9.00   52.93   $   8.60          $    58.20   $     58.20
  12/2/2018 Jonathan E. Leon-0370            $9.00   59.95   $   8.60          $    89.78   $     89.78
  12/9/2018 Jonathan E. Leon-0370            $9.00   59.42   $   8.60          $    87.38   $     87.38
 12/16/2018 Jonathan E. Leon-0370            $9.00   58.03   $   8.60          $    81.15   $     81.15
 12/30/2018 Jonathan E. Leon-0370            $9.00   46.87   $   8.60          $    30.90   $     30.90
  1/13/2019 Jonathan E. Leon-0370            $9.00   55.77   $   8.85          $    70.95   $     70.95
  1/20/2019 Jonathan E. Leon-0370            $9.00   62.52   $   8.85          $   101.33   $    101.33
  1/27/2019 Jonathan E. Leon-0370            $9.00   49.68   $   8.85          $    43.58   $     43.58
  8/26/2018 Jonathan Fay                    $10.00   71.77   $   8.60          $   158.83   $    158.83
   9/2/2018 Jonathan Fay                    $10.00   63.12   $   8.60          $   115.58   $    115.58
   9/9/2018 Jonathan Fay                    $10.00   67.20   $   8.60          $   136.00   $    136.00
  9/16/2018 Jonathan Fay                    $10.00   72.18   $   8.60          $   160.92   $    160.92
  9/23/2018 Jonathan Fay                    $10.00   71.00   $   8.60          $   155.00   $    155.00
  9/30/2018 Jonathan Fay                    $10.00   62.87   $   8.60          $   114.33   $    114.33
  10/7/2018 Jonathan Fay                    $10.00   71.47   $   8.60          $   157.33   $    157.33
 10/14/2018 Jonathan Fay                    $10.00   74.07   $   8.60          $   170.33   $    170.33
 10/21/2018 Jonathan Fay                    $10.00   66.85   $   8.60          $   134.25   $    134.25
 10/28/2018 Jonathan Fay                    $10.00   62.35   $   8.60          $   111.75   $    111.75
  11/4/2018 Jonathan Fay                    $10.00   68.07   $   8.60          $   140.33   $    140.33
 11/11/2018 Jonathan Fay                    $10.00   62.45   $   8.60          $   112.25   $    112.25
 11/18/2018 Jonathan Fay                    $10.00   52.63   $   8.60          $    63.17   $     63.17
 11/25/2018 Jonathan Fay                    $10.00   56.93   $   8.60          $    84.67   $     84.67
  12/2/2018 Jonathan Fay                    $10.00   57.85   $   8.60          $    89.25   $     89.25
  12/9/2018 Jonathan Fay                    $10.00   71.95   $   8.60          $   159.75   $    159.75
 12/16/2018 Jonathan Fay                    $10.00   54.35   $   8.60          $    71.75   $     71.75
 12/23/2018 Jonathan Fay                    $10.00   73.72   $   8.60          $   168.58   $    168.58
 12/30/2018 Jonathan Fay                    $10.00   48.17   $   8.60          $    40.83   $     40.83
   1/6/2019 Jonathan Fay                    $10.00   51.10   $   8.85          $    55.50   $     55.50
   2/5/2017 Jonathan León Ramirez           $12.00   54.50   $   8.44          $    87.00   $     87.00
  2/12/2017 Jonathan León Ramirez           $12.00   54.23   $   8.44          $    85.40   $     85.40
  2/19/2017 Jonathan León Ramirez           $12.00   57.40   $   8.44          $   104.40   $    104.40



                                              307
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 309 of 683 PageID: 1156
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  2/26/2017 Jonathan León Ramirez           $12.00   56.83   $   8.44          $   101.00   $    101.00
   3/5/2017 Jonathan León Ramirez           $12.00   60.40   $   8.44          $   122.40   $    122.40
  3/12/2017 Jonathan León Ramirez           $12.00   65.67   $   8.44          $   154.00   $    154.00
  3/19/2017 Jonathan León Ramirez           $12.00   49.97   $   8.44          $    59.80   $     59.80
  3/26/2017 Jonathan León Ramirez           $12.00   67.42   $   8.44          $   164.50   $    164.50
   4/2/2017 Jonathan León Ramirez           $12.00   65.70   $   8.44          $   154.20   $    154.20
   4/9/2017 Jonathan León Ramirez           $12.00   59.73   $   8.44          $   118.40   $    118.40
  4/16/2017 Jonathan León Ramirez           $12.00   59.03   $   8.44          $   114.20   $    114.20
  4/23/2017 Jonathan León Ramirez           $12.00   65.90   $   8.44          $   155.40   $    155.40
  4/30/2017 Jonathan León Ramirez           $12.00   67.48   $   8.44          $   164.90   $    164.90
   5/7/2017 Jonathan León Ramirez           $12.00   63.85   $   8.44          $   143.10   $    143.10
  5/14/2017 Jonathan León Ramirez           $12.00   63.87   $   8.44          $   143.20   $    143.20
  5/21/2017 Jonathan León Ramirez           $12.00   71.10   $   8.44          $   186.60   $    186.60
  5/28/2017 Jonathan León Ramirez           $12.00   72.38   $   8.44          $   194.30   $    194.30
   6/4/2017 Jonathan León Ramirez           $12.00   49.08   $   8.44          $    54.50   $     54.50
  6/11/2017 Jonathan León Ramirez           $12.00   67.28   $   8.44          $   163.70   $    163.70
  6/18/2017 Jonathan León Ramirez           $12.00   57.83   $   8.44          $   107.00   $    107.00
  7/23/2017 Jonathan León Ramirez           $12.00   67.42   $   8.44          $   164.50   $    164.50
  7/30/2017 Jonathan León Ramirez           $12.00   68.47   $   8.44          $   170.80   $    170.80
   8/6/2017 Jonathan León Ramirez           $12.00   61.55   $   8.44          $   129.30   $    129.30
  8/13/2017 Jonathan León Ramirez           $12.00   59.50   $   8.44          $   117.00   $    117.00
  8/20/2017 Jonathan León Ramirez           $12.00   69.37   $   8.44          $   176.20   $    176.20
  8/27/2017 Jonathan León Ramirez           $12.00   66.95   $   8.44          $   161.70   $    161.70
   9/3/2017 Jonathan León Ramirez           $12.00   68.65   $   8.44          $   171.90   $    171.90
  9/10/2017 Jonathan León Ramirez           $12.00   51.62   $   8.44          $    69.70   $     69.70
  9/17/2017 Jonathan León Ramirez           $12.00   65.03   $   8.44          $   150.20   $    150.20
  9/24/2017 Jonathan León Ramirez           $12.00   62.92   $   8.44          $   137.50   $    137.50
  10/1/2017 Jonathan León Ramirez           $12.00   66.20   $   8.44          $   157.20   $    157.20
  10/8/2017 Jonathan León Ramirez           $12.00   57.42   $   8.44          $   104.50   $    104.50
 10/15/2017 Jonathan León Ramirez           $12.00   60.95   $   8.44          $   125.70   $    125.70
 10/22/2017 Jonathan León Ramirez           $12.00   60.83   $   8.44          $   125.00   $    125.00
 10/29/2017 Jonathan León Ramirez           $12.00   70.02   $   8.44          $   180.10   $    180.10
  11/5/2017 Jonathan León Ramirez           $12.00   67.25   $   8.44          $   163.50   $    163.50
 11/12/2017 Jonathan León Ramirez           $12.00   70.67   $   8.44          $   184.00   $    184.00
 11/19/2017 Jonathan León Ramirez           $12.00   68.77   $   8.44          $   172.60   $    172.60
 11/26/2017 Jonathan León Ramirez           $12.00   51.90   $   8.44          $    71.40   $     71.40
  12/3/2017 Jonathan León Ramirez           $12.00   68.37   $   8.44          $   170.20   $    170.20
 12/10/2017 Jonathan León Ramirez           $12.00   62.52   $   8.44          $   135.10   $    135.10
 12/17/2017 Jonathan León Ramirez           $12.00   72.37   $   8.44          $   194.20   $    194.20
 12/24/2017 Jonathan León Ramirez           $12.00   71.48   $   8.44          $   188.90   $    188.90
 12/31/2017 Jonathan León Ramirez           $12.00   58.67   $   8.44          $   112.00   $    112.00
   1/7/2018 Jonathan León Ramirez           $12.00   44.67   $   8.60          $    28.00   $     28.00
  1/14/2018 Jonathan León Ramirez           $12.00   56.08   $   8.60          $    96.50   $     96.50
  1/21/2018 Jonathan León Ramirez           $12.00   62.70   $   8.60          $   136.20   $    136.20
  1/28/2018 Jonathan León Ramirez           $12.00   59.12   $   8.60          $   114.70   $    114.70
   2/4/2018 Jonathan León Ramirez           $12.00   57.52   $   8.60          $   105.10   $    105.10
  2/11/2018 Jonathan León Ramirez           $12.00   58.73   $   8.60          $   112.40   $    112.40
  2/18/2018 Jonathan León Ramirez           $12.00   59.17   $   8.60          $   115.00   $    115.00
  2/25/2018 Jonathan León Ramirez           $12.00   53.68   $   8.60          $    82.10   $     82.10
   3/4/2018 Jonathan León Ramirez           $12.00   60.92   $   8.60          $   125.50   $    125.50



                                              308
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 310 of 683 PageID: 1157
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  3/25/2018 Jonathan León Ramirez           $12.00   58.45   $   8.60          $   110.70   $    110.70
   4/1/2018 Jonathan León Ramirez           $12.00   65.98   $   8.60          $   155.90   $    155.90
   4/8/2018 Jonathan León Ramirez           $12.00   54.45   $   8.60          $    86.70   $     86.70
  4/15/2018 Jonathan León Ramirez           $12.00   55.68   $   8.60          $    94.10   $     94.10
  4/22/2018 Jonathan León Ramirez           $12.00   57.17   $   8.60          $   103.00   $    103.00
  4/29/2018 Jonathan León Ramirez           $12.00   66.78   $   8.60          $   160.70   $    160.70
   5/6/2018 Jonathan León Ramirez           $12.00   54.95   $   8.60          $    89.70   $     89.70
  5/13/2018 Jonathan León Ramirez           $12.00   62.18   $   8.60          $   133.10   $    133.10
  5/20/2018 Jonathan León Ramirez           $12.00   61.90   $   8.60          $   131.40   $    131.40
  5/27/2018 Jonathan León Ramirez           $12.00   58.50   $   8.60          $   111.00   $    111.00
   6/3/2018 Jonathan León Ramirez           $12.00   62.45   $   8.60          $   134.70   $    134.70
  6/10/2018 Jonathan León Ramirez           $12.00   64.40   $   8.60          $   146.40   $    146.40
  6/17/2018 Jonathan León Ramirez           $12.00   65.80   $   8.60          $   154.80   $    154.80
  6/24/2018 Jonathan León Ramirez           $12.00   59.38   $   8.60          $   116.30   $    116.30
   7/1/2018 Jonathan León Ramirez           $12.00   64.75   $   8.60          $   148.50   $    148.50
   7/8/2018 Jonathan León Ramirez           $12.00   51.38   $   8.60          $    68.30   $     68.30
  7/15/2018 Jonathan León Ramirez           $12.00   62.87   $   8.60          $   137.20   $    137.20
  7/22/2018 Jonathan León Ramirez           $12.00   63.58   $   8.60          $   141.50   $    141.50
  7/29/2018 Jonathan León Ramirez           $12.00   68.70   $   8.60          $   172.20   $    172.20
   8/5/2018 Jonathan León Ramirez           $12.00   56.43   $   8.60          $    98.60   $     98.60
  8/12/2018 Jonathan León Ramirez           $12.00   55.33   $   8.60          $    92.00   $     92.00
  8/19/2018 Jonathan León Ramirez           $12.00   68.20   $   8.60          $   169.20   $    169.20
  8/26/2018 Jonathan León Ramirez           $12.00   62.83   $   8.60          $   137.00   $    137.00
   9/2/2018 Jonathan León Ramirez           $12.00   68.72   $   8.60          $   172.30   $    172.30
   9/9/2018 Jonathan León Ramirez           $12.00   50.28   $   8.60          $    61.70   $     61.70
  9/16/2018 Jonathan León Ramirez           $12.00   58.40   $   8.60          $   110.40   $    110.40
  9/23/2018 Jonathan León Ramirez           $12.00   54.60   $   8.60          $    87.60   $     87.60
  9/30/2018 Jonathan León Ramirez           $12.00   61.60   $   8.60          $   129.60   $    129.60
  10/7/2018 Jonathan León Ramirez           $12.00   54.72   $   8.60          $    88.30   $     88.30
 10/14/2018 Jonathan León Ramirez           $12.00   60.13   $   8.60          $   120.80   $    120.80
 10/21/2018 Jonathan León Ramirez           $12.00   59.25   $   8.60          $   115.50   $    115.50
 10/28/2018 Jonathan León Ramirez           $12.00   55.05   $   8.60          $    90.30   $     90.30
 11/18/2018 Jonathan León Ramirez           $12.00   58.52   $   8.60          $   111.10   $    111.10
 11/25/2018 Jonathan León Ramirez           $12.00   51.12   $   8.60          $    66.70   $     66.70
  12/2/2018 Jonathan León Ramirez           $12.00   63.70   $   8.60          $   142.20   $    142.20
  12/9/2018 Jonathan León Ramirez           $12.00   63.70   $   8.60          $   142.20   $    142.20
 12/16/2018 Jonathan León Ramirez           $12.00   62.93   $   8.60          $   137.60   $    137.60
 12/23/2018 Jonathan León Ramirez           $12.00   68.43   $   8.60          $   170.60   $    170.60
   1/6/2019 Jonathan León Ramirez           $12.00   49.07   $   8.85          $    54.40   $     54.40
  1/13/2019 Jonathan León Ramirez           $12.00   55.22   $   8.85          $    91.30   $     91.30
  1/27/2019 Jonathan León Ramirez           $12.00   54.45   $   8.85          $    86.70   $     86.70
   2/3/2019 Jonathan León Ramirez           $12.00   55.28   $   8.85          $    91.70   $     91.70
  2/10/2019 Jonathan León Ramirez           $12.00   47.27   $   8.85          $    43.60   $     43.60
  2/17/2019 Jonathan León Ramirez           $12.00   54.23   $   8.85          $    85.40   $     85.40
  2/24/2019 Jonathan León Ramirez           $12.00   64.78   $   8.85          $   148.70   $    148.70
   3/3/2019 Jonathan León Ramirez           $12.00   62.82   $   8.85          $   136.90   $    136.90
  3/10/2019 Jonathan León Ramirez           $12.00   60.77   $   8.85          $   124.60   $    124.60
  3/17/2019 Jonathan León Ramirez           $12.00   62.60   $   8.85          $   135.60   $    135.60
  3/24/2019 Jonathan León Ramirez           $12.00   62.57   $   8.85          $   135.40   $    135.40
  3/31/2019 Jonathan León Ramirez           $12.00   73.12   $   8.85          $   198.70   $    198.70



                                              309
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 311 of 683 PageID: 1158
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

   4/7/2019 Jonathan León Ramirez           $12.00   62.82   $    8.85               $   136.90   $   136.90
  4/14/2019 Jonathan León Ramirez           $12.00   65.60   $    8.85               $   153.60   $   153.60
  4/21/2019 Jonathan León Ramirez           $12.00   59.00   $    8.85               $   114.00   $   114.00
  4/28/2019 Jonathan León Ramirez           $12.00   59.53   $    8.85               $   117.20   $   117.20
   5/5/2019 Jonathan León Ramirez           $12.00   52.93   $    8.85               $    77.60   $    77.60
  5/12/2019 Jonathan León Ramirez           $12.00   60.58   $    8.85               $   123.50   $   123.50
  5/19/2019 Jonathan León Ramirez           $12.00   61.42   $    8.85               $   128.50   $   128.50
  5/26/2019 Jonathan León Ramirez           $12.00   66.73   $    8.85               $   160.40   $   160.40
   6/2/2019 Jonathan León Ramirez           $12.00   55.00   $    8.85               $    90.00   $    90.00
   6/9/2019 Jonathan León Ramirez           $12.00   67.77   $    8.85               $   166.60   $   166.60
  6/16/2019 Jonathan León Ramirez           $12.00   58.30   $    8.85               $   109.80   $   109.80
  6/23/2019 Jonathan León Ramirez           $12.00   66.20   $    8.85               $   157.20   $   157.20
  6/30/2019 Jonathan León Ramirez           $12.00   66.85   $   10.00               $   161.10   $   161.10
   7/7/2019 Jonathan León Ramirez           $12.00   46.22   $   10.00               $    37.30   $    37.30
  7/14/2019 Jonathan León Ramirez           $12.00   54.10   $   10.00               $    84.60   $    84.60
  7/21/2019 Jonathan León Ramirez           $12.00   60.65   $   10.00               $   123.90   $   123.90
  7/28/2019 Jonathan León Ramirez           $12.00   63.65   $   10.00               $   141.90   $   141.90
   8/4/2019 Jonathan León Ramirez           $12.00   61.50   $   10.00               $   129.00   $   129.00
  8/11/2019 Jonathan León Ramirez           $12.00   40.95   $   10.00               $     5.70   $     5.70
  8/18/2019 Jonathan León Ramirez           $12.00   55.10   $   10.00               $    90.60   $    90.60
  8/25/2019 Jonathan León Ramirez           $12.00   54.48   $   10.00               $    86.90   $    86.90
   9/1/2019 Jonathan León Ramirez           $12.00   61.38   $   10.00               $   128.30   $   128.30
   9/8/2019 Jonathan León Ramirez           $12.00   46.13   $   10.00               $    36.80   $    36.80
  9/15/2019 Jonathan León Ramirez           $12.00   53.25   $   10.00               $    79.50   $    79.50
  9/22/2019 Jonathan León Ramirez           $12.00   54.68   $   10.00               $    88.10   $    88.10
  9/29/2019 Jonathan León Ramirez           $12.00   56.92   $   10.00               $   101.50   $   101.50
  10/6/2019 Jonathan León Ramirez           $12.00   57.05   $   10.00               $   102.30   $   102.30
 10/13/2019 Jonathan León Ramirez           $12.00   53.33   $   10.00               $    80.00   $    80.00
 10/20/2019 Jonathan León Ramirez           $12.00   51.18   $   10.00               $    67.10   $    67.10
 10/27/2019 Jonathan León Ramirez           $12.00   54.82   $   10.00               $    88.90   $    88.90
  11/3/2019 Jonathan León Ramirez           $12.00   46.28   $   10.00               $    37.70   $    37.70
 11/10/2019 Jonathan León Ramirez           $12.00   59.15   $   10.00               $   114.90   $   114.90
 11/17/2019 Jonathan León Ramirez           $12.00   59.60   $   10.00               $   117.60   $   117.60
 11/24/2019 Jonathan León Ramirez           $12.00   58.02   $   10.00               $   108.10   $   108.10
  12/1/2019 Jonathan León Ramirez           $12.00   47.82   $   10.00               $    46.90   $    46.90
  12/8/2019 Jonathan León Ramirez           $12.00   62.87   $   10.00               $   137.20   $   137.20
 12/15/2019 Jonathan León Ramirez           $12.00   58.38   $   10.00               $   110.30   $   110.30
 12/22/2019 Jonathan León Ramirez           $12.00   62.25   $   10.00               $   133.50   $   133.50
 12/29/2019 Jonathan León Ramirez           $12.00   46.00   $   10.00               $    36.00   $    36.00
   1/5/2020 Jonathan León Ramirez           $12.00   42.78   $   11.00               $    16.70   $    16.70
  1/19/2020 Jonathan León Ramirez           $12.00   47.10   $   11.00               $    42.60   $    42.60
  6/23/2019 Jonathan Sanchez                 $8.85   60.03   $    8.85               $    88.65   $    88.65
  6/30/2019 Jonathan Sanchez                 $8.85   75.13   $   10.00   $   86.40   $   175.67   $   262.07
   7/7/2019 Jonathan Sanchez                $11.00   50.20   $   10.00               $    56.10   $    56.10
  7/14/2019 Jonathan Sanchez                $11.00   75.03   $   10.00               $   192.68   $   192.68
  7/21/2019 Jonathan Sanchez                $11.00   63.07   $   10.00               $   126.87   $   126.87
  7/28/2019 Jonathan Sanchez                $11.00   75.02   $   10.00               $   192.59   $   192.59
   8/4/2019 Jonathan Sanchez                $11.00   59.88   $   10.00               $   109.36   $   109.36
  8/11/2019 Jonathan Sanchez                $11.00   65.12   $   10.00               $   138.14   $   138.14
  8/18/2019 Jonathan Sanchez                $11.00   63.50   $   10.00               $   129.25   $   129.25



                                              310
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 312 of 683 PageID: 1159
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                       Name                         Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  8/25/2019 Jonathan Sanchez                  $11.00   74.47   $   10.00         $   189.57   $    189.57
   9/1/2019 Jonathan Sanchez                  $11.00   74.45   $   10.00         $   189.48   $    189.48
   9/8/2019 Jonathan Sanchez                  $11.00   72.72   $   10.00         $   179.94   $    179.94
  9/15/2019 Jonathan Sanchez                  $11.00   60.07   $   10.00         $   110.37   $    110.37
  9/22/2019 Jonathan Sanchez                  $11.00   76.30   $   10.00         $   199.65   $    199.65
  9/29/2019 Jonathan Sanchez                  $11.00   65.40   $   10.00         $   139.70   $    139.70
  10/6/2019 Jonathan Sanchez                  $11.00   74.07   $   10.00         $   187.37   $    187.37
 10/13/2019 Jonathan Sanchez                  $11.00   74.72   $   10.00         $   190.94   $    190.94
 10/20/2019 Jonathan Sanchez                  $11.00   63.27   $   10.00         $   127.97   $    127.97
 10/27/2019 Jonathan Sanchez                  $11.00   61.13   $   10.00         $   116.23   $    116.23
  11/3/2019 Jonathan Sanchez                  $11.00   63.73   $   10.00         $   130.53   $    130.53
 11/10/2019 Jonathan Sanchez                  $11.00   63.50   $   10.00         $   129.25   $    129.25
 11/17/2019 Jonathan Sanchez                  $11.00   63.82   $   10.00         $   130.99   $    130.99
 11/24/2019 Jonathan Sanchez                  $11.00   63.53   $   10.00         $   129.43   $    129.43
  12/1/2019 Jonathan Sanchez                  $11.00   52.05   $   10.00         $    66.28   $     66.28
  12/8/2019 Jonathan Sanchez                  $11.00   63.27   $   10.00         $   127.97   $    127.97
 12/15/2019 Jonathan Sanchez                  $11.00   74.42   $   10.00         $   189.29   $    189.29
 12/22/2019 Jonathan Sanchez                  $11.00   74.60   $   10.00         $   190.30   $    190.30
 12/29/2019 Jonathan Sanchez                  $11.00   53.32   $   10.00         $    73.24   $     73.24
   1/5/2020 Jonathan Sanchez                  $11.00   60.60   $   11.00         $   113.30   $    113.30
  1/12/2020 Jonathan Sanchez                  $11.00   71.47   $   11.00         $   173.07   $    173.07
  1/19/2020 Jonathan Sanchez                  $11.00   74.40   $   11.00         $   189.20   $    189.20
  1/26/2020 Jonathan Sanchez                  $11.00   74.27   $   11.00         $   188.47   $    188.47
 10/20/2019 Jonathan Zabrana Guillen          $10.00   57.72   $   10.00         $    88.58   $     88.58
 10/27/2019 Jonathan Zabrana Guillen          $10.00   50.68   $   10.00         $    53.42   $     53.42
  11/3/2019 Jonathan Zabrana Guillen          $10.00   47.63   $   10.00         $    38.17   $     38.17
 11/10/2019 Jonathan Zabrana Guillen          $10.00   48.87   $   10.00         $    44.33   $     44.33
 11/17/2019 Jonathan Zabrana Guillen          $10.00   46.68   $   10.00         $    33.42   $     33.42
 11/24/2019 Jonathan Zabrana Guillen          $10.00   50.55   $   10.00         $    52.75   $     52.75
  12/8/2019 Jonathan Zabrana Guillen          $10.00   45.35   $   10.00         $    26.75   $     26.75
 12/15/2019 Jonathan Zabrana Guillen          $10.00   50.32   $   10.00         $    51.58   $     51.58
 12/22/2019 Jonathan Zabrana Guillen          $10.00   42.25   $   10.00         $    11.25   $     11.25
  1/12/2020 Jonathan Zabrana Guillen          $11.00   46.03   $   11.00         $    33.18   $     33.18
  1/19/2020 Jonathan Zabrana Guillen          $11.00   49.27   $   11.00         $    50.97   $     50.97
 11/10/2019 Jonnathan Orrego                  $10.50   51.57   $   10.00         $    60.73   $     60.73
 11/17/2019 Jonnathan Orrego                  $10.50   49.12   $   10.00         $    47.86   $     47.86
 11/24/2019 Jonnathan Orrego                  $10.50   64.13   $   10.00         $   126.70   $    126.70
  12/1/2019 Jonnathan Orrego                  $10.50   48.53   $   10.00         $    44.80   $     44.80
  12/8/2019 Jonnathan Orrego                  $10.50   40.25   $   10.00         $     1.31   $      1.31
   2/5/2017 Jorge Cabrera                     $11.00   49.18   $    8.44         $    50.51   $     50.51
  2/12/2017 Jorge Cabrera                     $11.00   49.97   $    8.44         $    54.82   $     54.82
  2/19/2017 Jorge Cabrera                     $11.00   49.80   $    8.44         $    53.90   $     53.90
  2/26/2017 Jorge Cabrera                     $11.00   59.55   $    8.44         $   107.53   $    107.53
   3/5/2017 Jorge Cabrera                     $11.00   58.62   $    8.44         $   102.39   $    102.39
  3/12/2017 Jorge Cabrera                     $11.00   58.03   $    8.44         $    99.18   $     99.18
  3/19/2017 Jorge Cabrera                     $11.00   45.62   $    8.44         $    30.89   $     30.89
  3/26/2017 Jorge Cabrera                     $11.00   56.27   $    8.44         $    89.47   $     89.47
   4/2/2017 Jorge Cabrera                     $11.00   57.98   $    8.44         $    98.91   $     98.91
   4/9/2017 Jorge Cabrera                     $11.00   56.87   $    8.44         $    92.77   $     92.77
  4/16/2017 Jorge Cabrera                     $11.00   50.67   $    8.44         $    58.67   $     58.67



                                                311
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 313 of 683 PageID: 1160
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

  4/23/2017 Jorge Cabrera                 $11.00   58.12   $   8.44          $    99.64   $     99.64
  4/30/2017 Jorge Cabrera                 $11.00   57.77   $   8.44          $    97.72   $     97.72
   5/7/2017 Jorge Cabrera                 $11.00   63.93   $   8.44          $   131.63   $    131.63
  5/14/2017 Jorge Cabrera                 $11.00   57.93   $   8.44          $    98.63   $     98.63
  5/21/2017 Jorge Cabrera                 $11.00   60.43   $   8.44          $   112.38   $    112.38
  5/28/2017 Jorge Cabrera                 $11.00   54.85   $   8.44          $    81.68   $     81.68
   6/4/2017 Jorge Cabrera                 $11.00   59.33   $   8.44          $   106.33   $    106.33
  6/11/2017 Jorge Cabrera                 $11.00   57.80   $   8.44          $    97.90   $     97.90
  6/18/2017 Jorge Cabrera                 $11.00   54.08   $   8.44          $    77.46   $     77.46
  6/25/2017 Jorge Cabrera                 $11.00   56.92   $   8.44          $    93.04   $     93.04
   7/2/2017 Jorge Cabrera                 $11.00   57.75   $   8.44          $    97.63   $     97.63
   7/9/2017 Jorge Cabrera                 $11.00   44.45   $   8.44          $    24.48   $     24.48
  7/16/2017 Jorge Cabrera                 $11.00   56.13   $   8.44          $    88.73   $     88.73
  7/23/2017 Jorge Cabrera                 $11.00   56.95   $   8.44          $    93.23   $     93.23
  7/30/2017 Jorge Cabrera                 $11.00   50.92   $   8.44          $    60.04   $     60.04
   8/6/2017 Jorge Cabrera                 $11.00   61.80   $   8.44          $   119.90   $    119.90
  8/13/2017 Jorge Cabrera                 $11.00   61.83   $   8.44          $   120.08   $    120.08
  8/20/2017 Jorge Cabrera                 $11.00   62.07   $   8.44          $   121.37   $    121.37
   9/3/2017 Jorge Cabrera                 $11.00   65.65   $   8.44          $   141.08   $    141.08
  9/10/2017 Jorge Cabrera                 $11.00   54.48   $   8.44          $    79.66   $     79.66
  9/17/2017 Jorge Cabrera                 $11.00   61.22   $   8.44          $   116.69   $    116.69
  9/24/2017 Jorge Cabrera                 $11.00   60.67   $   8.44          $   113.67   $    113.67
  10/1/2017 Jorge Cabrera                 $11.00   61.57   $   8.44          $   118.62   $    118.62
  10/8/2017 Jorge Cabrera                 $11.00   57.42   $   8.44          $    95.79   $     95.79
 10/15/2017 Jorge Cabrera                 $11.00   61.75   $   8.44          $   119.63   $    119.63
 10/22/2017 Jorge Cabrera                 $11.00   62.68   $   8.44          $   124.76   $    124.76
 10/29/2017 Jorge Cabrera                 $11.00   62.65   $   8.44          $   124.58   $    124.58
  11/5/2017 Jorge Cabrera                 $11.00   63.92   $   8.44          $   131.54   $    131.54
 11/12/2017 Jorge Cabrera                 $11.00   63.87   $   8.44          $   131.27   $    131.27
 11/19/2017 Jorge Cabrera                 $11.00   60.67   $   8.44          $   113.67   $    113.67
 11/26/2017 Jorge Cabrera                 $11.00   41.90   $   8.44          $    10.45   $     10.45
  12/3/2017 Jorge Cabrera                 $11.00   63.23   $   8.44          $   127.78   $    127.78
 12/10/2017 Jorge Cabrera                 $11.00   63.37   $   8.44          $   128.52   $    128.52
 12/17/2017 Jorge Cabrera                 $11.00   63.00   $   8.44          $   126.50   $    126.50
 12/24/2017 Jorge Cabrera                 $11.00   61.43   $   8.44          $   117.88   $    117.88
 12/31/2017 Jorge Cabrera                 $11.00   48.60   $   8.44          $    47.30   $     47.30
   1/7/2018 Jorge Cabrera                 $11.00   58.08   $   8.60          $    99.46   $     99.46
  1/14/2018 Jorge Cabrera                 $11.00   60.27   $   8.60          $   111.47   $    111.47
  1/21/2018 Jorge Cabrera                 $11.00   55.75   $   8.60          $    86.63   $     86.63
  1/28/2018 Jorge Cabrera                 $11.00   60.92   $   8.60          $   115.04   $    115.04
   2/4/2018 Jorge Cabrera                 $11.00   54.55   $   8.60          $    80.03   $     80.03
  2/11/2018 Jorge Cabrera                 $11.00   56.50   $   8.60          $    90.75   $     90.75
  2/18/2018 Jorge Cabrera                 $11.00   42.13   $   8.60          $    11.73   $     11.73
  2/25/2018 Jorge Cabrera                 $11.00   57.48   $   8.60          $    96.16   $     96.16
   3/4/2018 Jorge Cabrera                 $11.00   55.97   $   8.60          $    87.82   $     87.82
  3/25/2018 Jorge Cabrera                 $11.00   46.55   $   8.60          $    36.03   $     36.03
   4/1/2018 Jorge Cabrera                 $11.00   62.03   $   8.60          $   121.18   $    121.18
   4/8/2018 Jorge Cabrera                 $11.00   57.83   $   8.60          $    98.08   $     98.08
  4/15/2018 Jorge Cabrera                 $11.00   54.65   $   8.60          $    80.58   $     80.58
  4/22/2018 Jorge Cabrera                 $11.00   55.85   $   8.60          $    87.18   $     87.18



                                            312
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 314 of 683 PageID: 1161
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

  4/29/2018 Jorge Cabrera                 $11.00   55.48   $   8.60          $    85.16   $     85.16
   5/6/2018 Jorge Cabrera                 $11.00   57.70   $   8.60          $    97.35   $     97.35
  5/13/2018 Jorge Cabrera                 $11.00   55.73   $   8.60          $    86.53   $     86.53
  5/20/2018 Jorge Cabrera                 $11.00   52.12   $   8.60          $    66.64   $     66.64
  5/27/2018 Jorge Cabrera                 $11.00   55.73   $   8.60          $    86.53   $     86.53
   6/3/2018 Jorge Cabrera                 $11.00   57.87   $   8.60          $    98.27   $     98.27
  6/10/2018 Jorge Cabrera                 $11.00   56.40   $   8.60          $    90.20   $     90.20
  6/17/2018 Jorge Cabrera                 $11.00   54.85   $   8.60          $    81.68   $     81.68
  6/24/2018 Jorge Cabrera                 $11.00   53.85   $   8.60          $    76.18   $     76.18
   7/8/2018 Jorge Cabrera                 $11.00   40.72   $   8.60          $     3.94   $      3.94
  7/15/2018 Jorge Cabrera                 $11.00   53.70   $   8.60          $    75.35   $     75.35
  7/22/2018 Jorge Cabrera                 $11.00   54.37   $   8.60          $    79.02   $     79.02
  7/29/2018 Jorge Cabrera                 $11.00   54.43   $   8.60          $    79.38   $     79.38
   8/5/2018 Jorge Cabrera                 $11.00   52.30   $   8.60          $    67.65   $     67.65
  8/12/2018 Jorge Cabrera                 $11.00   55.32   $   8.60          $    84.24   $     84.24
  8/19/2018 Jorge Cabrera                 $11.00   55.70   $   8.60          $    86.35   $     86.35
   9/2/2018 Jorge Cabrera                 $11.00   58.05   $   8.60          $    99.28   $     99.28
   9/9/2018 Jorge Cabrera                 $11.00   57.73   $   8.60          $    97.53   $     97.53
  9/16/2018 Jorge Cabrera                 $11.00   57.87   $   8.60          $    98.27   $     98.27
  9/23/2018 Jorge Cabrera                 $11.00   58.10   $   8.60          $    99.55   $     99.55
  9/30/2018 Jorge Cabrera                 $11.00   56.10   $   8.60          $    88.55   $     88.55
  10/7/2018 Jorge Cabrera                 $11.00   56.88   $   8.60          $    92.86   $     92.86
 10/14/2018 Jorge Cabrera                 $11.00   56.87   $   8.60          $    92.77   $     92.77
 10/21/2018 Jorge Cabrera                 $11.00   56.65   $   8.60          $    91.58   $     91.58
 10/28/2018 Jorge Cabrera                 $11.00   53.88   $   8.60          $    76.36   $     76.36
  11/4/2018 Jorge Cabrera                 $11.00   53.50   $   8.60          $    74.25   $     74.25
 11/11/2018 Jorge Cabrera                 $11.00   56.00   $   8.60          $    88.00   $     88.00
 11/18/2018 Jorge Cabrera                 $11.00   55.95   $   8.60          $    87.73   $     87.73
 11/25/2018 Jorge Cabrera                 $11.00   49.47   $   8.60          $    52.07   $     52.07
  12/2/2018 Jorge Cabrera                 $11.00   57.83   $   8.60          $    98.08   $     98.08
  12/9/2018 Jorge Cabrera                 $11.00   59.68   $   8.60          $   108.26   $    108.26
 12/16/2018 Jorge Cabrera                 $11.00   58.60   $   8.60          $   102.30   $    102.30
 12/23/2018 Jorge Cabrera                 $11.00   57.27   $   8.60          $    94.97   $     94.97
 12/30/2018 Jorge Cabrera                 $11.00   45.18   $   8.60          $    28.51   $     28.51
   1/6/2019 Jorge Cabrera                 $11.00   47.42   $   8.85          $    40.79   $     40.79
  1/13/2019 Jorge Cabrera                 $11.00   60.52   $   8.85          $   112.84   $    112.84
  1/20/2019 Jorge Cabrera                 $11.00   57.72   $   8.85          $    97.44   $     97.44
  1/27/2019 Jorge Cabrera                 $11.00   47.05   $   8.85          $    38.78   $     38.78
   2/3/2019 Jorge Cabrera                 $11.00   58.65   $   8.85          $   102.58   $    102.58
  2/10/2019 Jorge Cabrera                 $11.00   58.45   $   8.85          $   101.48   $    101.48
  2/17/2019 Jorge Cabrera                 $11.00   54.15   $   8.85          $    77.83   $     77.83
  2/24/2019 Jorge Cabrera                 $11.00   58.88   $   8.85          $   103.86   $    103.86
   3/3/2019 Jorge Cabrera                 $11.00   56.80   $   8.85          $    92.40   $     92.40
  3/10/2019 Jorge Cabrera                 $11.00   57.45   $   8.85          $    95.98   $     95.98
  3/17/2019 Jorge Cabrera                 $11.00   56.05   $   8.85          $    88.28   $     88.28
  3/24/2019 Jorge Cabrera                 $11.00   57.98   $   8.85          $    98.91   $     98.91
  3/31/2019 Jorge Cabrera                 $11.00   57.53   $   8.85          $    96.43   $     96.43
   4/7/2019 Jorge Cabrera                 $11.00   55.07   $   8.85          $    82.87   $     82.87
  4/14/2019 Jorge Cabrera                 $11.00   47.22   $   8.85          $    39.69   $     39.69
  4/21/2019 Jorge Cabrera                 $11.00   56.13   $   8.85          $    88.73   $     88.73



                                            313
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 315 of 683 PageID: 1162
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                        Name                         Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

  4/28/2019 Jorge Cabrera                      $11.00   55.50   $    8.85         $    85.25   $     85.25
   5/5/2019 Jorge Cabrera                      $11.00   53.98   $    8.85         $    76.91   $     76.91
  5/12/2019 Jorge Cabrera                      $11.00   51.02   $    8.85         $    60.59   $     60.59
  5/19/2019 Jorge Cabrera                      $11.00   55.28   $    8.85         $    84.06   $     84.06
  5/26/2019 Jorge Cabrera                      $11.00   56.95   $    8.85         $    93.23   $     93.23
   6/2/2019 Jorge Cabrera                      $11.00   56.92   $    8.85         $    93.04   $     93.04
   6/9/2019 Jorge Cabrera                      $11.00   55.83   $    8.85         $    87.08   $     87.08
  6/23/2019 Jorge Cabrera                      $11.00   58.07   $    8.85         $    99.37   $     99.37
  6/30/2019 Jorge Cabrera                      $11.00   51.17   $   10.00         $    61.42   $     61.42
   7/7/2019 Jorge Cabrera                      $11.00   51.57   $   10.00         $    63.62   $     63.62
  7/14/2019 Jorge Cabrera                      $11.00   54.90   $   10.00         $    81.95   $     81.95
  7/21/2019 Jorge Cabrera                      $11.00   55.53   $   10.00         $    85.43   $     85.43
  7/28/2019 Jorge Cabrera                      $11.00   57.58   $   10.00         $    96.71   $     96.71
   8/4/2019 Jorge Cabrera                      $11.00   56.87   $   10.00         $    92.77   $     92.77
  8/27/2017 Jorge Hernandez                     $9.00   52.87   $    8.44         $    57.90   $     57.90
   9/3/2017 Jorge Hernandez                     $9.00   54.60   $    8.44         $    65.70   $     65.70
 12/10/2017 Jorge Luis Acosta Valerio          $10.00   61.70   $    8.44         $   108.50   $    108.50
 12/17/2017 Jorge Luis Acosta Valerio          $10.00   60.42   $    8.44         $   102.08   $    102.08
 12/24/2017 Jorge Luis Acosta Valerio          $10.00   60.22   $    8.44         $   101.08   $    101.08
 12/31/2017 Jorge Luis Acosta Valerio          $10.00   52.52   $    8.44         $    62.58   $     62.58
   1/7/2018 Jorge Luis Acosta Valerio          $10.00   49.85   $    8.60         $    49.25   $     49.25
  1/14/2018 Jorge Luis Acosta Valerio          $10.00   48.17   $    8.60         $    40.83   $     40.83
  1/21/2018 Jorge Luis Acosta Valerio          $10.00   51.08   $    8.60         $    55.42   $     55.42
  1/28/2018 Jorge Luis Acosta Valerio          $10.00   59.42   $    8.60         $    97.08   $     97.08
   2/4/2018 Jorge Luis Acosta Valerio          $10.00   57.73   $    8.60         $    88.67   $     88.67
  2/11/2018 Jorge Luis Acosta Valerio          $10.00   58.02   $    8.60         $    90.08   $     90.08
  2/18/2018 Jorge Luis Acosta Valerio          $10.00   59.13   $    8.60         $    95.67   $     95.67
  2/25/2018 Jorge Luis Acosta Valerio          $10.00   51.63   $    8.60         $    58.17   $     58.17
   3/4/2018 Jorge Luis Acosta Valerio          $10.00   61.05   $    8.60         $   105.25   $    105.25
  3/25/2018 Jorge Luis Acosta Valerio          $10.00   56.37   $    8.60         $    81.83   $     81.83
   4/1/2018 Jorge Luis Acosta Valerio          $10.00   62.30   $    8.60         $   111.50   $    111.50
   4/8/2018 Jorge Luis Acosta Valerio          $10.00   47.75   $    8.60         $    38.75   $     38.75
  4/15/2018 Jorge Luis Acosta Valerio          $10.00   57.48   $    8.60         $    87.42   $     87.42
  4/22/2018 Jorge Luis Acosta Valerio          $10.00   59.50   $    8.60         $    97.50   $     97.50
  4/29/2018 Jorge Luis Acosta Valerio          $10.00   59.00   $    8.60         $    95.00   $     95.00
   5/6/2018 Jorge Luis Acosta Valerio          $10.00   57.45   $    8.60         $    87.25   $     87.25
  5/13/2018 Jorge Luis Acosta Valerio          $10.00   58.80   $    8.60         $    94.00   $     94.00
  5/20/2018 Jorge Luis Acosta Valerio          $10.00   56.67   $    8.60         $    83.33   $     83.33
  5/27/2018 Jorge Luis Acosta Valerio          $10.00   62.08   $    8.60         $   110.42   $    110.42
   6/3/2018 Jorge Luis Acosta Valerio          $10.00   49.03   $    8.60         $    45.17   $     45.17
  6/10/2018 Jorge Luis Acosta Valerio          $10.00   57.42   $    8.60         $    87.08   $     87.08
  6/17/2018 Jorge Luis Acosta Valerio          $10.00   58.30   $    8.60         $    91.50   $     91.50
  6/24/2018 Jorge Luis Acosta Valerio          $10.00   58.03   $    8.60         $    90.17   $     90.17
   7/1/2018 Jorge Luis Acosta Valerio          $10.00   59.47   $    8.60         $    97.33   $     97.33
   7/8/2018 Jorge Luis Acosta Valerio          $10.00   48.83   $    8.60         $    44.17   $     44.17
  7/15/2018 Jorge Luis Acosta Valerio          $10.00   46.42   $    8.60         $    32.08   $     32.08
  7/22/2018 Jorge Luis Acosta Valerio          $10.00   56.70   $    8.60         $    83.50   $     83.50
  7/29/2018 Jorge Luis Acosta Valerio          $10.00   48.02   $    8.60         $    40.08   $     40.08
   8/5/2018 Jorge Luis Acosta Valerio          $10.00   56.98   $    8.60         $    84.92   $     84.92
  8/12/2018 Jorge Luis Acosta Valerio          $10.00   56.05   $    8.60         $    80.25   $     80.25



                                                 314
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 316 of 683 PageID: 1163
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                        Name                         Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

  8/19/2018 Jorge Luis Acosta Valerio          $10.00   56.30   $    8.60         $    81.50   $     81.50
  8/26/2018 Jorge Luis Acosta Valerio          $10.00   59.20   $    8.60         $    96.00   $     96.00
   9/2/2018 Jorge Luis Acosta Valerio          $10.00   59.63   $    8.60         $    98.17   $     98.17
   9/9/2018 Jorge Luis Acosta Valerio          $10.00   48.07   $    8.60         $    40.33   $     40.33
  9/16/2018 Jorge Luis Acosta Valerio          $10.00   58.25   $    8.60         $    91.25   $     91.25
  9/23/2018 Jorge Luis Acosta Valerio          $10.00   58.32   $    8.60         $    91.58   $     91.58
  9/30/2018 Jorge Luis Acosta Valerio          $10.00   60.80   $    8.60         $   104.00   $    104.00
  10/7/2018 Jorge Luis Acosta Valerio          $10.00   58.35   $    8.60         $    91.75   $     91.75
 10/14/2018 Jorge Luis Acosta Valerio          $10.00   57.42   $    8.60         $    87.08   $     87.08
 10/21/2018 Jorge Luis Acosta Valerio          $10.00   58.73   $    8.60         $    93.67   $     93.67
 10/28/2018 Jorge Luis Acosta Valerio          $10.00   58.05   $    8.60         $    90.25   $     90.25
  11/4/2018 Jorge Luis Acosta Valerio          $10.00   60.32   $    8.60         $   101.58   $    101.58
 11/11/2018 Jorge Luis Acosta Valerio          $10.00   58.83   $    8.60         $    94.17   $     94.17
 11/18/2018 Jorge Luis Acosta Valerio          $10.00   49.45   $    8.60         $    47.25   $     47.25
 11/25/2018 Jorge Luis Acosta Valerio          $10.00   49.73   $    8.60         $    48.67   $     48.67
  12/2/2018 Jorge Luis Acosta Valerio          $10.00   58.40   $    8.60         $    92.00   $     92.00
  12/9/2018 Jorge Luis Acosta Valerio          $10.00   58.55   $    8.60         $    92.75   $     92.75
 12/16/2018 Jorge Luis Acosta Valerio          $10.00   46.58   $    8.60         $    32.92   $     32.92
 12/23/2018 Jorge Luis Acosta Valerio          $10.00   57.70   $    8.60         $    88.50   $     88.50
 12/30/2018 Jorge Luis Acosta Valerio          $10.00   45.83   $    8.60         $    29.17   $     29.17
   1/6/2019 Jorge Luis Acosta Valerio          $10.00   45.03   $    8.85         $    25.17   $     25.17
  1/13/2019 Jorge Luis Acosta Valerio          $10.00   44.67   $    8.85         $    23.33   $     23.33
  1/20/2019 Jorge Luis Acosta Valerio          $10.00   47.83   $    8.85         $    39.17   $     39.17
   2/3/2019 Jorge Luis Acosta Valerio          $10.00   58.63   $    8.85         $    93.17   $     93.17
  2/10/2019 Jorge Luis Acosta Valerio          $10.00   53.83   $    8.85         $    69.17   $     69.17
  2/17/2019 Jorge Luis Acosta Valerio          $10.00   54.07   $    8.85         $    70.33   $     70.33
  2/24/2019 Jorge Luis Acosta Valerio          $10.00   59.32   $    8.85         $    96.58   $     96.58
   3/3/2019 Jorge Luis Acosta Valerio          $10.00   50.83   $    8.85         $    54.17   $     54.17
  3/10/2019 Jorge Luis Acosta Valerio          $10.00   55.03   $    8.85         $    75.17   $     75.17
  3/17/2019 Jorge Luis Acosta Valerio          $10.00   57.73   $    8.85         $    88.67   $     88.67
  3/24/2019 Jorge Luis Acosta Valerio          $10.00   57.22   $    8.85         $    86.08   $     86.08
  3/31/2019 Jorge Luis Acosta Valerio          $10.00   56.38   $    8.85         $    81.92   $     81.92
   4/7/2019 Jorge Luis Acosta Valerio          $10.00   58.40   $    8.85         $    92.00   $     92.00
  4/14/2019 Jorge Luis Acosta Valerio          $10.00   58.67   $    8.85         $    93.33   $     93.33
  4/21/2019 Jorge Luis Acosta Valerio          $10.00   59.52   $    8.85         $    97.58   $     97.58
  4/28/2019 Jorge Luis Acosta Valerio          $10.00   58.53   $    8.85         $    92.67   $     92.67
   5/5/2019 Jorge Luis Acosta Valerio          $10.00   57.67   $    8.85         $    88.33   $     88.33
  5/12/2019 Jorge Luis Acosta Valerio          $10.00   59.93   $    8.85         $    99.67   $     99.67
  5/19/2019 Jorge Luis Acosta Valerio          $10.00   59.05   $    8.85         $    95.25   $     95.25
  5/26/2019 Jorge Luis Acosta Valerio          $10.00   60.35   $    8.85         $   101.75   $    101.75
   6/2/2019 Jorge Luis Acosta Valerio          $10.00   49.03   $    8.85         $    45.17   $     45.17
   6/9/2019 Jorge Luis Acosta Valerio          $10.00   60.12   $    8.85         $   100.58   $    100.58
  6/16/2019 Jorge Luis Acosta Valerio          $10.00   58.52   $    8.85         $    92.58   $     92.58
  6/23/2019 Jorge Luis Acosta Valerio          $10.00   59.22   $    8.85         $    96.08   $     96.08
  6/30/2019 Jorge Luis Acosta Valerio          $10.00   60.00   $   10.00         $   100.00   $    100.00
   7/7/2019 Jorge Luis Acosta Valerio          $11.00   49.68   $   10.00         $    53.26   $     53.26
  7/14/2019 Jorge Luis Acosta Valerio          $11.00   58.73   $   10.00         $   103.03   $    103.03
  7/21/2019 Jorge Luis Acosta Valerio          $11.00   57.63   $   10.00         $    96.98   $     96.98
  7/28/2019 Jorge Luis Acosta Valerio          $11.00   58.23   $   10.00         $   100.28   $    100.28
   8/4/2019 Jorge Luis Acosta Valerio          $11.00   49.42   $   10.00         $    51.79   $     51.79



                                                 315
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 317 of 683 PageID: 1164
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                       Name                          Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

  8/11/2019 Jorge Luis Acosta Valerio          $11.00   56.18   $   10.00         $    89.01   $     89.01
  8/18/2019 Jorge Luis Acosta Valerio          $11.00   48.37   $   10.00         $    46.02   $     46.02
  8/25/2019 Jorge Luis Acosta Valerio          $11.00   57.28   $   10.00         $    95.06   $     95.06
   9/1/2019 Jorge Luis Acosta Valerio          $11.00   58.12   $   10.00         $    99.64   $     99.64
   9/8/2019 Jorge Luis Acosta Valerio          $11.00   47.88   $   10.00         $    43.36   $     43.36
  9/15/2019 Jorge Luis Acosta Valerio          $11.00   58.25   $   10.00         $   100.38   $    100.38
  9/22/2019 Jorge Luis Acosta Valerio          $11.00   55.87   $   10.00         $    87.27   $     87.27
  9/29/2019 Jorge Luis Acosta Valerio          $11.00   47.50   $   10.00         $    41.25   $     41.25
  10/6/2019 Jorge Luis Acosta Valerio          $11.00   57.45   $   10.00         $    95.98   $     95.98
 10/13/2019 Jorge Luis Acosta Valerio          $11.00   57.32   $   10.00         $    95.24   $     95.24
 10/20/2019 Jorge Luis Acosta Valerio          $11.00   53.97   $   10.00         $    76.82   $     76.82
 10/27/2019 Jorge Luis Acosta Valerio          $11.00   48.08   $   10.00         $    44.46   $     44.46
  11/3/2019 Jorge Luis Acosta Valerio          $11.00   57.55   $   10.00         $    96.53   $     96.53
  8/26/2018 Jorge Luis Rojas Almanzar          $10.00   52.28   $    8.60         $    61.42   $     61.42
   9/2/2018 Jorge Luis Rojas Almanzar          $10.00   50.93   $    8.60         $    54.67   $     54.67
   9/9/2018 Jorge Luis Rojas Almanzar          $10.00   50.43   $    8.60         $    52.17   $     52.17
  9/16/2018 Jorge Luis Rojas Almanzar          $10.00   50.93   $    8.60         $    54.67   $     54.67
  9/23/2018 Jorge Luis Rojas Almanzar          $10.00   50.70   $    8.60         $    53.50   $     53.50
  9/30/2018 Jorge Luis Rojas Almanzar          $10.00   51.17   $    8.60         $    55.83   $     55.83
  10/7/2018 Jorge Luis Rojas Almanzar          $10.00   52.20   $    8.60         $    61.00   $     61.00
 10/14/2018 Jorge Luis Rojas Almanzar          $10.00   50.35   $    8.60         $    51.75   $     51.75
 10/21/2018 Jorge Luis Rojas Almanzar          $10.00   50.57   $    8.60         $    52.83   $     52.83
 10/28/2018 Jorge Luis Rojas Almanzar          $10.00   50.60   $    8.60         $    53.00   $     53.00
  11/4/2018 Jorge Luis Rojas Almanzar          $10.00   52.28   $    8.60         $    61.42   $     61.42
 11/11/2018 Jorge Luis Rojas Almanzar          $10.00   51.52   $    8.60         $    57.58   $     57.58
 11/18/2018 Jorge Luis Rojas Almanzar          $10.00   43.28   $    8.60         $    16.42   $     16.42
  12/2/2018 Jorge Luis Rojas Almanzar          $10.00   53.43   $    8.60         $    67.17   $     67.17
  12/9/2018 Jorge Luis Rojas Almanzar          $10.00   52.02   $    8.60         $    60.08   $     60.08
 12/16/2018 Jorge Luis Rojas Almanzar          $10.00   41.15   $    8.60         $     5.75   $      5.75
 12/23/2018 Jorge Luis Rojas Almanzar          $10.00   50.87   $    8.60         $    54.33   $     54.33
  1/13/2019 Jorge Luis Rojas Almanzar          $10.00   50.67   $    8.85         $    53.33   $     53.33
  1/20/2019 Jorge Luis Rojas Almanzar          $10.00   51.95   $    8.85         $    59.75   $     59.75
  1/27/2019 Jorge Luis Rojas Almanzar          $10.00   50.30   $    8.85         $    51.50   $     51.50
   2/3/2019 Jorge Luis Rojas Almanzar          $10.00   51.00   $    8.85         $    55.00   $     55.00
  2/10/2019 Jorge Luis Rojas Almanzar          $10.00   54.72   $    8.85         $    73.58   $     73.58
  2/24/2019 Jorge Luis Rojas Almanzar          $10.00   41.73   $    8.85         $     8.67   $      8.67
  3/10/2019 Jorge Luis Rojas Almanzar          $10.00   52.97   $    8.85         $    64.83   $     64.83
  3/17/2019 Jorge Luis Rojas Almanzar          $10.00   52.20   $    8.85         $    61.00   $     61.00
  3/24/2019 Jorge Luis Rojas Almanzar          $10.00   49.78   $    8.85         $    48.92   $     48.92
  3/31/2019 Jorge Luis Rojas Almanzar          $10.00   50.42   $    8.85         $    52.08   $     52.08
  4/21/2019 Jorge Luis Rojas Almanzar          $10.00   53.40   $    8.85         $    67.00   $     67.00
  4/28/2019 Jorge Luis Rojas Almanzar          $10.00   49.03   $    8.85         $    45.17   $     45.17
   5/5/2019 Jorge Luis Rojas Almanzar          $10.00   49.78   $    8.85         $    48.92   $     48.92
  5/12/2019 Jorge Luis Rojas Almanzar          $10.00   50.85   $    8.85         $    54.25   $     54.25
  5/19/2019 Jorge Luis Rojas Almanzar          $10.00   48.38   $    8.85         $    41.92   $     41.92
  5/26/2019 Jorge Luis Rojas Almanzar          $10.00   48.03   $    8.85         $    40.17   $     40.17
   6/2/2019 Jorge Luis Rojas Almanzar          $10.00   44.00   $    8.85         $    20.00   $     20.00
   6/9/2019 Jorge Luis Rojas Almanzar          $10.00   51.62   $    8.85         $    58.08   $     58.08
  6/16/2019 Jorge Luis Rojas Almanzar          $10.00   49.88   $    8.85         $    49.42   $     49.42
  6/23/2019 Jorge Luis Rojas Almanzar          $10.00   50.87   $    8.85         $    54.33   $     54.33



                                                 316
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 318 of 683 PageID: 1165
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                       Name                          Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

  6/30/2019 Jorge Luis Rojas Almanzar          $10.00   52.33   $   10.00               $    61.67   $    61.67
  7/14/2019 Jorge Luis Rojas Almanzar          $10.00   52.23   $   10.00               $    61.17   $    61.17
  7/21/2019 Jorge Luis Rojas Almanzar          $10.00   49.98   $   10.00               $    49.92   $    49.92
  7/28/2019 Jorge Luis Rojas Almanzar          $10.00   52.18   $   10.00               $    60.92   $    60.92
   8/4/2019 Jorge Luis Rojas Almanzar          $10.00   50.70   $   10.00               $    53.50   $    53.50
  8/11/2019 Jorge Luis Rojas Almanzar          $10.00   51.38   $   10.00               $    56.92   $    56.92
  8/18/2019 Jorge Luis Rojas Almanzar          $10.00   50.02   $   10.00               $    50.08   $    50.08
  8/25/2019 Jorge Luis Rojas Almanzar          $10.00   51.75   $   10.00               $    58.75   $    58.75
   9/1/2019 Jorge Luis Rojas Almanzar          $10.00   50.97   $   10.00               $    54.83   $    54.83
   9/8/2019 Jorge Luis Rojas Almanzar          $10.00   46.95   $   10.00               $    34.75   $    34.75
  9/15/2019 Jorge Luis Rojas Almanzar          $10.00   50.65   $   10.00               $    53.25   $    53.25
  9/22/2019 Jorge Luis Rojas Almanzar          $10.00   50.32   $   10.00               $    51.58   $    51.58
  9/29/2019 Jorge Luis Rojas Almanzar          $10.00   50.40   $   10.00               $    52.00   $    52.00
  10/6/2019 Jorge Luis Rojas Almanzar          $10.00   57.38   $   10.00               $    86.92   $    86.92
 10/13/2019 Jorge Luis Rojas Almanzar          $10.00   52.67   $   10.00               $    63.33   $    63.33
 10/20/2019 Jorge Luis Rojas Almanzar          $11.00   45.87   $   10.00               $    32.27   $    32.27
 10/27/2019 Jorge Luis Rojas Almanzar          $11.00   44.60   $   10.00               $    25.30   $    25.30
  11/3/2019 Jorge Luis Rojas Almanzar          $11.00   44.88   $   10.00               $    26.86   $    26.86
 11/10/2019 Jorge Luis Rojas Almanzar          $11.00   45.55   $   10.00               $    30.53   $    30.53
 11/17/2019 Jorge Luis Rojas Almanzar          $11.00   43.95   $   10.00               $    21.73   $    21.73
 11/24/2019 Jorge Luis Rojas Almanzar          $11.00   43.98   $   10.00               $    21.91   $    21.91
  12/8/2019 Jorge Luis Rojas Almanzar          $11.00   41.03   $   10.00               $     5.68   $     5.68
 12/15/2019 Jorge Luis Rojas Almanzar          $10.00   49.45   $   10.00               $    47.25   $    47.25
 12/22/2019 Jorge Luis Rojas Almanzar          $10.00   50.30   $   10.00               $    51.50   $    51.50
  1/12/2020 Jorge Luis Rojas Almanzar          $10.00   50.53   $   11.00   $   50.53   $    57.93   $   108.47
  1/19/2020 Jorge Luis Rojas Almanzar          $10.00   48.63   $   11.00   $   48.63   $    47.48   $    96.12
  1/26/2020 Jorge Luis Rojas Almanzar          $10.00   52.08   $   11.00   $   52.08   $    66.46   $   118.54
  1/19/2020 Jorge Mancilla                     $11.00   59.03   $   11.00               $   104.68   $   104.68
  1/26/2020 Jorge Mancilla                     $11.00   58.72   $   11.00               $   102.94   $   102.94
   2/5/2017 Jorge Marin                         $9.50   42.52   $    8.44               $    11.95   $    11.95
  2/19/2017 Jorge Marin                         $9.50   42.72   $    8.44               $    12.90   $    12.90
  2/26/2017 Jorge Marin                         $9.50   42.32   $    8.44               $    11.00   $    11.00
 12/29/2019 Jorge Martinez                     $10.00   52.00   $   10.00               $    60.00   $    60.00
   1/5/2020 Jorge Martinez                     $10.00   44.23   $   11.00   $   44.23   $    23.28   $    67.52
  1/12/2020 Jorge Martinez                     $10.00   50.12   $   11.00   $   50.12   $    55.64   $   105.76
  1/19/2020 Jorge Martinez                     $10.00   43.75   $   11.00   $   43.75   $    20.63   $    64.38
  1/26/2020 Jorge Martinez                     $10.00   58.33   $   11.00   $   58.33   $   100.83   $   159.17
   2/5/2017 Jorge Miranda                      $12.00   68.42   $    8.44               $   170.50   $   170.50
  2/12/2017 Jorge Miranda                      $12.00   53.23   $    8.44               $    79.40   $    79.40
  2/19/2017 Jorge Miranda                      $12.00   68.90   $    8.44               $   173.40   $   173.40
  2/26/2017 Jorge Miranda                      $12.00   70.70   $    8.44               $   184.20   $   184.20
   3/5/2017 Jorge Miranda                      $12.00   69.05   $    8.44               $   174.30   $   174.30
  3/12/2017 Jorge Miranda                      $12.00   68.53   $    8.44               $   171.20   $   171.20
  3/19/2017 Jorge Miranda                      $12.00   56.48   $    8.44               $    98.90   $    98.90
  3/26/2017 Jorge Miranda                      $12.00   68.98   $    8.44               $   173.90   $   173.90
   4/2/2017 Jorge Miranda                      $12.00   70.13   $    8.44               $   180.80   $   180.80
   4/9/2017 Jorge Miranda                      $12.00   67.70   $    8.44               $   166.20   $   166.20
  4/16/2017 Jorge Miranda                      $12.00   55.77   $    8.44               $    94.60   $    94.60
  4/23/2017 Jorge Miranda                      $12.00   55.95   $    8.44               $    95.70   $    95.70
  4/30/2017 Jorge Miranda                      $12.00   68.43   $    8.44               $   170.60   $   170.60



                                                 317
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 319 of 683 PageID: 1166
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

   5/7/2017 Jorge Miranda                 $12.00   68.45   $   8.44          $   170.70   $    170.70
  5/14/2017 Jorge Miranda                 $12.00   67.92   $   8.44          $   167.50   $    167.50
  5/21/2017 Jorge Miranda                 $12.00   68.15   $   8.44          $   168.90   $    168.90
  5/28/2017 Jorge Miranda                 $12.00   68.23   $   8.44          $   169.40   $    169.40
   6/4/2017 Jorge Miranda                 $12.00   56.48   $   8.44          $    98.90   $     98.90
  6/11/2017 Jorge Miranda                 $12.00   68.50   $   8.44          $   171.00   $    171.00
  6/18/2017 Jorge Miranda                 $12.00   69.13   $   8.44          $   174.80   $    174.80
  6/25/2017 Jorge Miranda                 $12.00   68.83   $   8.44          $   173.00   $    173.00
   7/2/2017 Jorge Miranda                 $12.00   68.87   $   8.44          $   173.20   $    173.20
   7/9/2017 Jorge Miranda                 $12.00   57.78   $   8.44          $   106.70   $    106.70
  7/16/2017 Jorge Miranda                 $12.00   68.53   $   8.44          $   171.20   $    171.20
  7/23/2017 Jorge Miranda                 $12.00   68.67   $   8.44          $   172.00   $    172.00
  7/30/2017 Jorge Miranda                 $12.00   68.62   $   8.44          $   171.70   $    171.70
   8/6/2017 Jorge Miranda                 $12.00   69.10   $   8.44          $   174.60   $    174.60
  8/13/2017 Jorge Miranda                 $12.00   68.22   $   8.44          $   169.30   $    169.30
  8/20/2017 Jorge Miranda                 $12.00   68.27   $   8.44          $   169.60   $    169.60
  8/27/2017 Jorge Miranda                 $12.00   68.12   $   8.44          $   168.70   $    168.70
   9/3/2017 Jorge Miranda                 $12.00   68.70   $   8.44          $   172.20   $    172.20
  9/10/2017 Jorge Miranda                 $12.00   56.35   $   8.44          $    98.10   $     98.10
  9/17/2017 Jorge Miranda                 $12.00   67.45   $   8.44          $   164.70   $    164.70
  9/24/2017 Jorge Miranda                 $12.00   69.68   $   8.44          $   178.10   $    178.10
  10/1/2017 Jorge Miranda                 $12.00   69.38   $   8.44          $   176.30   $    176.30
  10/8/2017 Jorge Miranda                 $12.00   67.38   $   8.44          $   164.30   $    164.30
 10/15/2017 Jorge Miranda                 $12.00   67.75   $   8.44          $   166.50   $    166.50
 10/22/2017 Jorge Miranda                 $12.00   68.37   $   8.44          $   170.20   $    170.20
 10/29/2017 Jorge Miranda                 $12.00   67.73   $   8.44          $   166.40   $    166.40
  11/5/2017 Jorge Miranda                 $12.00   67.77   $   8.44          $   166.60   $    166.60
 11/12/2017 Jorge Miranda                 $12.00   68.13   $   8.44          $   168.80   $    168.80
 11/19/2017 Jorge Miranda                 $12.00   67.35   $   8.44          $   164.10   $    164.10
 11/26/2017 Jorge Miranda                 $12.00   55.23   $   8.44          $    91.40   $     91.40
  12/3/2017 Jorge Miranda                 $12.00   67.32   $   8.44          $   163.90   $    163.90
 12/10/2017 Jorge Miranda                 $12.00   66.83   $   8.44          $   161.00   $    161.00
 12/17/2017 Jorge Miranda                 $12.00   67.78   $   8.44          $   166.70   $    166.70
 12/24/2017 Jorge Miranda                 $12.00   69.38   $   8.44          $   176.30   $    176.30
 12/31/2017 Jorge Miranda                 $12.00   56.08   $   8.44          $    96.50   $     96.50
   1/7/2018 Jorge Miranda                 $12.00   44.03   $   8.60          $    24.20   $     24.20
  1/14/2018 Jorge Miranda                 $12.00   68.10   $   8.60          $   168.60   $    168.60
  1/21/2018 Jorge Miranda                 $12.00   66.90   $   8.60          $   161.40   $    161.40
  1/28/2018 Jorge Miranda                 $12.00   64.65   $   8.60          $   147.90   $    147.90
   2/4/2018 Jorge Miranda                 $12.00   66.70   $   8.60          $   160.20   $    160.20
  2/11/2018 Jorge Miranda                 $12.00   67.53   $   8.60          $   165.20   $    165.20
  2/18/2018 Jorge Miranda                 $12.00   67.67   $   8.60          $   166.00   $    166.00
  2/25/2018 Jorge Miranda                 $12.00   67.78   $   8.60          $   166.70   $    166.70
   3/4/2018 Jorge Miranda                 $12.00   69.27   $   8.60          $   175.60   $    175.60
  3/25/2018 Jorge Miranda                 $12.00   68.70   $   8.60          $   172.20   $    172.20
   4/1/2018 Jorge Miranda                 $12.00   75.23   $   8.60          $   211.40   $    211.40
   4/8/2018 Jorge Miranda                 $12.00   73.92   $   8.60          $   203.50   $    203.50
  4/15/2018 Jorge Miranda                 $12.00   74.42   $   8.60          $   206.50   $    206.50
  4/22/2018 Jorge Miranda                 $12.00   73.88   $   8.60          $   203.30   $    203.30
  4/29/2018 Jorge Miranda                 $12.00   76.78   $   8.60          $   220.70   $    220.70



                                            318
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 320 of 683 PageID: 1167
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

   5/6/2018 Jorge Miranda                 $12.00   76.00   $   8.60          $   216.00   $    216.00
  5/13/2018 Jorge Miranda                 $12.00   75.85   $   8.60          $   215.10   $    215.10
  5/20/2018 Jorge Miranda                 $12.00   77.53   $   8.60          $   225.20   $    225.20
  5/27/2018 Jorge Miranda                 $12.00   75.00   $   8.60          $   210.00   $    210.00
   6/3/2018 Jorge Miranda                 $12.00   65.25   $   8.60          $   151.50   $    151.50
  6/10/2018 Jorge Miranda                 $12.00   65.82   $   8.60          $   154.90   $    154.90
  6/17/2018 Jorge Miranda                 $12.00   70.00   $   8.60          $   180.00   $    180.00
  6/24/2018 Jorge Miranda                 $12.00   70.28   $   8.60          $   181.70   $    181.70
   7/1/2018 Jorge Miranda                 $12.00   78.73   $   8.60          $   232.40   $    232.40
   7/8/2018 Jorge Miranda                 $12.00   72.23   $   8.60          $   193.40   $    193.40
  7/15/2018 Jorge Miranda                 $12.00   79.80   $   8.60          $   238.80   $    238.80
  7/22/2018 Jorge Miranda                 $12.00   74.57   $   8.60          $   207.40   $    207.40
  7/29/2018 Jorge Miranda                 $12.00   75.23   $   8.60          $   211.40   $    211.40
   8/5/2018 Jorge Miranda                 $12.00   79.20   $   8.60          $   235.20   $    235.20
  8/12/2018 Jorge Miranda                 $12.00   69.25   $   8.60          $   175.50   $    175.50
  8/19/2018 Jorge Miranda                 $12.00   80.88   $   8.60          $   245.30   $    245.30
  8/26/2018 Jorge Miranda                 $12.00   80.92   $   8.60          $   245.50   $    245.50
   9/2/2018 Jorge Miranda                 $12.00   84.45   $   8.60          $   266.70   $    266.70
   9/9/2018 Jorge Miranda                 $12.00   78.88   $   8.60          $   233.30   $    233.30
  9/16/2018 Jorge Miranda                 $12.00   80.98   $   8.60          $   245.90   $    245.90
  9/23/2018 Jorge Miranda                 $12.00   79.13   $   8.60          $   234.80   $    234.80
  9/30/2018 Jorge Miranda                 $12.00   78.90   $   8.60          $   233.40   $    233.40
  10/7/2018 Jorge Miranda                 $12.00   77.87   $   8.60          $   227.20   $    227.20
 10/14/2018 Jorge Miranda                 $12.00   75.72   $   8.60          $   214.30   $    214.30
 10/21/2018 Jorge Miranda                 $12.00   76.25   $   8.60          $   217.50   $    217.50
 10/28/2018 Jorge Miranda                 $12.00   76.85   $   8.60          $   221.10   $    221.10
  11/4/2018 Jorge Miranda                 $12.00   75.25   $   8.60          $   211.50   $    211.50
 11/11/2018 Jorge Miranda                 $12.00   76.65   $   8.60          $   219.90   $    219.90
 11/18/2018 Jorge Miranda                 $12.00   76.95   $   8.60          $   221.70   $    221.70
 11/25/2018 Jorge Miranda                 $12.00   65.45   $   8.60          $   152.70   $    152.70
  12/2/2018 Jorge Miranda                 $12.00   75.28   $   8.60          $   211.70   $    211.70
  12/9/2018 Jorge Miranda                 $12.00   76.95   $   8.60          $   221.70   $    221.70
 12/16/2018 Jorge Miranda                 $12.00   78.27   $   8.60          $   229.60   $    229.60
 12/23/2018 Jorge Miranda                 $12.00   77.83   $   8.60          $   227.00   $    227.00
 12/30/2018 Jorge Miranda                 $12.00   62.07   $   8.60          $   132.40   $    132.40
   1/6/2019 Jorge Miranda                 $12.00   62.70   $   8.85          $   136.20   $    136.20
  1/13/2019 Jorge Miranda                 $12.00   76.62   $   8.85          $   219.70   $    219.70
  1/20/2019 Jorge Miranda                 $12.00   77.50   $   8.85          $   225.00   $    225.00
  1/27/2019 Jorge Miranda                 $12.00   76.08   $   8.85          $   216.50   $    216.50
   2/3/2019 Jorge Miranda                 $12.00   77.30   $   8.85          $   223.80   $    223.80
  2/10/2019 Jorge Miranda                 $12.00   64.93   $   8.85          $   149.60   $    149.60
  2/17/2019 Jorge Miranda                 $12.00   80.52   $   8.85          $   243.10   $    243.10
  2/24/2019 Jorge Miranda                 $12.00   80.03   $   8.85          $   240.20   $    240.20
   3/3/2019 Jorge Miranda                 $12.00   53.67   $   8.85          $    82.00   $     82.00
  3/10/2019 Jorge Miranda                 $12.00   80.88   $   8.85          $   245.30   $    245.30
  3/17/2019 Jorge Miranda                 $12.00   81.28   $   8.85          $   247.70   $    247.70
  3/24/2019 Jorge Miranda                 $12.00   80.60   $   8.85          $   243.60   $    243.60
  3/31/2019 Jorge Miranda                 $12.00   80.73   $   8.85          $   244.40   $    244.40
   4/7/2019 Jorge Miranda                 $12.00   66.52   $   8.85          $   159.10   $    159.10
  4/14/2019 Jorge Miranda                 $12.00   79.63   $   8.85          $   237.80   $    237.80



                                            319
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 321 of 683 PageID: 1168
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

  4/21/2019 Jorge Miranda                 $12.00   66.70   $    8.85         $   160.20   $    160.20
  4/28/2019 Jorge Miranda                 $12.00   79.97   $    8.85         $   239.80   $    239.80
   5/5/2019 Jorge Miranda                 $12.00   67.92   $    8.85         $   167.50   $    167.50
  5/12/2019 Jorge Miranda                 $12.00   66.50   $    8.85         $   159.00   $    159.00
  5/19/2019 Jorge Miranda                 $12.00   78.15   $    8.85         $   228.90   $    228.90
  5/26/2019 Jorge Miranda                 $12.00   83.58   $    8.85         $   261.50   $    261.50
   6/2/2019 Jorge Miranda                 $12.00   66.92   $    8.85         $   161.50   $    161.50
   6/9/2019 Jorge Miranda                 $12.00   79.90   $    8.85         $   239.40   $    239.40
  6/16/2019 Jorge Miranda                 $12.00   81.23   $    8.85         $   247.40   $    247.40
  6/23/2019 Jorge Miranda                 $12.00   81.38   $    8.85         $   248.30   $    248.30
  6/30/2019 Jorge Miranda                 $12.00   82.90   $   10.00         $   257.40   $    257.40
   7/7/2019 Jorge Miranda                 $13.00   64.58   $   10.00         $   159.79   $    159.79
  7/14/2019 Jorge Miranda                 $13.00   82.03   $   10.00         $   273.22   $    273.22
  7/21/2019 Jorge Miranda                 $13.00   82.40   $   10.00         $   275.60   $    275.60
  7/28/2019 Jorge Miranda                 $13.00   84.15   $   10.00         $   286.98   $    286.98
   8/4/2019 Jorge Miranda                 $13.00   69.05   $   10.00         $   188.83   $    188.83
  8/11/2019 Jorge Miranda                 $13.00   82.53   $   10.00         $   276.47   $    276.47
  8/18/2019 Jorge Miranda                 $13.00   82.43   $   10.00         $   275.82   $    275.82
  8/25/2019 Jorge Miranda                 $13.00   79.67   $   10.00         $   257.83   $    257.83
   9/1/2019 Jorge Miranda                 $13.00   80.18   $   10.00         $   261.19   $    261.19
   9/8/2019 Jorge Miranda                 $13.00   77.10   $   10.00         $   241.15   $    241.15
  9/15/2019 Jorge Miranda                 $13.00   79.52   $   10.00         $   256.86   $    256.86
  9/22/2019 Jorge Miranda                 $13.00   78.75   $   10.00         $   251.88   $    251.88
  9/29/2019 Jorge Miranda                 $13.00   78.42   $   10.00         $   249.71   $    249.71
  10/6/2019 Jorge Miranda                 $13.00   78.53   $   10.00         $   250.47   $    250.47
 10/13/2019 Jorge Miranda                 $13.00   78.97   $   10.00         $   253.28   $    253.28
 10/20/2019 Jorge Miranda                 $13.00   78.55   $   10.00         $   250.58   $    250.58
 10/27/2019 Jorge Miranda                 $13.00   77.62   $   10.00         $   244.51   $    244.51
  11/3/2019 Jorge Miranda                 $13.00   79.23   $   10.00         $   255.02   $    255.02
 11/10/2019 Jorge Miranda                 $13.00   66.57   $   10.00         $   172.68   $    172.68
 11/17/2019 Jorge Miranda                 $13.00   78.73   $   10.00         $   251.77   $    251.77
 11/24/2019 Jorge Miranda                 $13.00   78.55   $   10.00         $   250.58   $    250.58
  12/1/2019 Jorge Miranda                 $13.00   65.48   $   10.00         $   165.64   $    165.64
  12/8/2019 Jorge Miranda                 $13.00   78.10   $   10.00         $   247.65   $    247.65
 12/15/2019 Jorge Miranda                 $13.00   77.97   $   10.00         $   246.78   $    246.78
 12/22/2019 Jorge Miranda                 $13.00   77.90   $   10.00         $   246.35   $    246.35
 12/29/2019 Jorge Miranda                 $13.00   60.23   $   10.00         $   131.52   $    131.52
   1/5/2020 Jorge Miranda                 $13.00   70.27   $   11.00         $   196.73   $    196.73
  1/12/2020 Jorge Miranda                 $13.00   79.43   $   11.00         $   256.32   $    256.32
  1/19/2020 Jorge Miranda                 $13.00   79.20   $   11.00         $   254.80   $    254.80
  1/26/2020 Jorge Miranda                 $13.00   79.37   $   11.00         $   255.88   $    255.88
   2/5/2017 Jorge Nieto                   $10.00   51.80   $    8.44         $    59.00   $     59.00
  2/12/2017 Jorge Nieto                   $10.00   42.63   $    8.44         $    13.17   $     13.17
  2/26/2017 Jorge Nieto                   $10.00   52.40   $    8.44         $    62.00   $     62.00
   3/5/2017 Jorge Nieto                   $10.00   52.97   $    8.44         $    64.83   $     64.83
  3/12/2017 Jorge Nieto                   $10.00   53.75   $    8.44         $    68.75   $     68.75
  3/19/2017 Jorge Nieto                   $10.00   54.60   $    8.44         $    73.00   $     73.00
  3/26/2017 Jorge Nieto                   $10.00   52.08   $    8.44         $    60.42   $     60.42
   4/2/2017 Jorge Nieto                   $13.00   52.53   $    8.44         $    81.47   $     81.47
   4/9/2017 Jorge Nieto                   $13.00   51.20   $    8.44         $    72.80   $     72.80



                                            320
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 322 of 683 PageID: 1169
                                         Exhibit 2
                                 New Jersey Computations


   Week                                                 State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
  Ending                  Name                        Minumum Regular    Half-Time Overtime Back
                                         Rate Week
   Date                                                 Wage  Rate Due     Due       Wages Due

  4/16/2017 Jorge Nieto                 $13.00   51.97   $   8.44          $    77.78   $     77.78
  4/23/2017 Jorge Nieto                 $13.00   52.42   $   8.44          $    80.71   $     80.71
  4/30/2017 Jorge Nieto                 $13.00   52.62   $   8.44          $    82.01   $     82.01
   5/7/2017 Jorge Nieto                 $13.00   51.82   $   8.44          $    76.81   $     76.81
  5/14/2017 Jorge Nieto                 $13.00   52.87   $   8.44          $    83.63   $     83.63
  5/21/2017 Jorge Nieto                 $13.00   52.33   $   8.44          $    80.17   $     80.17
  5/28/2017 Jorge Nieto                 $13.00   52.90   $   8.44          $    83.85   $     83.85
   6/4/2017 Jorge Nieto                 $13.00   42.68   $   8.44          $    17.44   $     17.44
  6/11/2017 Jorge Nieto                 $13.00   50.83   $   8.44          $    70.42   $     70.42
  6/18/2017 Jorge Nieto                 $13.00   51.85   $   8.44          $    77.03   $     77.03
  6/25/2017 Jorge Nieto                 $13.00   51.33   $   8.44          $    73.67   $     73.67
   7/2/2017 Jorge Nieto                 $13.00   50.53   $   8.44          $    68.47   $     68.47
  7/16/2017 Jorge Nieto                 $13.00   50.62   $   8.44          $    69.01   $     69.01
  7/23/2017 Jorge Nieto                 $13.00   51.15   $   8.44          $    72.48   $     72.48
  7/30/2017 Jorge Nieto                 $13.00   51.48   $   8.44          $    74.64   $     74.64
   8/6/2017 Jorge Nieto                 $13.00   52.22   $   8.44          $    79.41   $     79.41
  8/13/2017 Jorge Nieto                 $13.00   43.92   $   8.44          $    25.46   $     25.46
  8/27/2017 Jorge Nieto                 $13.00   52.98   $   8.44          $    84.39   $     84.39
   9/3/2017 Jorge Nieto                 $13.00   52.22   $   8.44          $    79.41   $     79.41
  9/10/2017 Jorge Nieto                 $13.00   49.97   $   8.44          $    64.78   $     64.78
  9/17/2017 Jorge Nieto                 $13.00   54.18   $   8.44          $    92.19   $     92.19
  9/24/2017 Jorge Nieto                 $13.00   53.35   $   8.44          $    86.78   $     86.78
  10/1/2017 Jorge Nieto                 $13.00   61.40   $   8.44          $   139.10   $    139.10
  10/8/2017 Jorge Nieto                 $13.00   54.60   $   8.44          $    94.90   $     94.90
 10/15/2017 Jorge Nieto                 $13.00   52.70   $   8.44          $    82.55   $     82.55
 10/22/2017 Jorge Nieto                 $13.00   52.20   $   8.44          $    79.30   $     79.30
 10/29/2017 Jorge Nieto                 $13.00   51.48   $   8.44          $    74.64   $     74.64
  11/5/2017 Jorge Nieto                 $13.00   45.37   $   8.44          $    34.88   $     34.88
 11/12/2017 Jorge Nieto                 $13.00   50.92   $   8.44          $    70.96   $     70.96
 11/19/2017 Jorge Nieto                 $13.00   52.52   $   8.44          $    81.36   $     81.36
  12/3/2017 Jorge Nieto                 $13.00   52.43   $   8.44          $    80.82   $     80.82
 12/10/2017 Jorge Nieto                 $13.00   61.62   $   8.44          $   140.51   $    140.51
 12/17/2017 Jorge Nieto                 $13.00   52.25   $   8.44          $    79.63   $     79.63
 12/24/2017 Jorge Nieto                 $13.00   56.25   $   8.44          $   105.63   $    105.63
 12/31/2017 Jorge Nieto                 $13.00   53.18   $   8.44          $    85.69   $     85.69
  1/14/2018 Jorge Nieto                 $13.00   52.62   $   8.60          $    82.01   $     82.01
  1/21/2018 Jorge Nieto                 $13.00   52.75   $   8.60          $    82.88   $     82.88
  1/28/2018 Jorge Nieto                 $13.00   53.13   $   8.60          $    85.37   $     85.37
   2/4/2018 Jorge Nieto                 $13.00   55.93   $   8.60          $   103.57   $    103.57
  2/11/2018 Jorge Nieto                 $13.00   52.72   $   8.60          $    82.66   $     82.66
  2/18/2018 Jorge Nieto                 $13.00   45.87   $   8.60          $    38.13   $     38.13
  2/25/2018 Jorge Nieto                 $13.00   59.42   $   8.60          $   126.21   $    126.21
   3/4/2018 Jorge Nieto                 $13.00   53.02   $   8.60          $    84.61   $     84.61
  3/25/2018 Jorge Nieto                 $13.00   49.17   $   8.60          $    59.58   $     59.58
   4/1/2018 Jorge Nieto                 $13.00   64.15   $   8.60          $   156.98   $    156.98
   4/8/2018 Jorge Nieto                 $13.00   55.37   $   8.60          $    99.88   $     99.88
  4/15/2018 Jorge Nieto                 $13.00   62.65   $   8.60          $   147.23   $    147.23
  4/22/2018 Jorge Nieto                 $13.00   53.33   $   8.60          $    86.67   $     86.67
  4/29/2018 Jorge Nieto                 $13.00   61.62   $   8.60          $   140.51   $    140.51
   5/6/2018 Jorge Nieto                 $13.00   57.20   $   8.60          $   111.80   $    111.80



                                          321
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 323 of 683 PageID: 1170
                                         Exhibit 2
                                 New Jersey Computations


   Week                                                 State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
  Ending                  Name                        Minumum Regular    Half-Time Overtime Back
                                         Rate Week
   Date                                                 Wage  Rate Due     Due       Wages Due

  5/27/2018 Jorge Nieto                 $13.00   64.17   $    8.60         $   157.08   $    157.08
   6/3/2018 Jorge Nieto                 $13.00   45.10   $    8.60         $    33.15   $     33.15
   7/1/2018 Jorge Nieto                 $13.00   43.95   $    8.60         $    25.68   $     25.68
  7/22/2018 Jorge Nieto                 $13.00   41.83   $    8.60         $    11.92   $     11.92
  8/26/2018 Jorge Nieto                 $13.00   62.90   $    8.60         $   148.85   $    148.85
   9/2/2018 Jorge Nieto                 $13.00   54.38   $    8.60         $    93.49   $     93.49
   9/9/2018 Jorge Nieto                 $13.00   58.67   $    8.60         $   121.33   $    121.33
  10/7/2018 Jorge Nieto                 $13.00   45.47   $    8.60         $    35.53   $     35.53
 10/14/2018 Jorge Nieto                 $13.00   56.40   $    8.60         $   106.60   $    106.60
 10/21/2018 Jorge Nieto                 $13.00   46.72   $    8.60         $    43.66   $     43.66
 10/28/2018 Jorge Nieto                 $13.00   52.32   $    8.60         $    80.06   $     80.06
 11/18/2018 Jorge Nieto                 $13.00   50.20   $    8.60         $    66.30   $     66.30
 11/25/2018 Jorge Nieto                 $13.00   42.42   $    8.60         $    15.71   $     15.71
  12/2/2018 Jorge Nieto                 $13.00   51.55   $    8.60         $    75.08   $     75.08
  12/9/2018 Jorge Nieto                 $13.00   64.25   $    8.60         $   157.63   $    157.63
 12/16/2018 Jorge Nieto                 $13.00   46.30   $    8.60         $    40.95   $     40.95
 12/23/2018 Jorge Nieto                 $13.00   49.78   $    8.60         $    63.59   $     63.59
  1/13/2019 Jorge Nieto                 $13.00   59.30   $    8.85         $   125.45   $    125.45
  1/20/2019 Jorge Nieto                 $13.00   59.25   $    8.85         $   125.13   $    125.13
  1/27/2019 Jorge Nieto                 $13.00   41.63   $    8.85         $    10.62   $     10.62
   2/3/2019 Jorge Nieto                 $13.00   54.42   $    8.85         $    93.71   $     93.71
  2/10/2019 Jorge Nieto                 $13.00   53.42   $    8.85         $    87.21   $     87.21
   3/3/2019 Jorge Nieto                 $13.00   54.52   $    8.85         $    94.36   $     94.36
  3/24/2019 Jorge Nieto                 $13.00   60.57   $    8.85         $   133.68   $    133.68
  4/14/2019 Jorge Nieto                 $13.00   60.85   $    8.85         $   135.53   $    135.53
  4/21/2019 Jorge Nieto                 $13.00   62.72   $    8.85         $   147.66   $    147.66
  4/28/2019 Jorge Nieto                 $13.00   59.15   $    8.85         $   124.48   $    124.48
  5/19/2019 Jorge Nieto                 $13.00   53.08   $    8.85         $    85.04   $     85.04
  6/23/2019 Jorge Nieto                 $13.00   40.20   $    8.85         $     1.30   $      1.30
  6/30/2019 Jorge Nieto                 $13.00   58.47   $   10.00         $   120.03   $    120.03
  7/14/2019 Jorge Nieto                 $13.00   44.58   $   10.00         $    29.79   $     29.79
  7/28/2019 Jorge Nieto                 $13.00   42.10   $   10.00         $    13.65   $     13.65
  9/29/2019 Jorge Nieto                 $13.00   58.98   $   10.00         $   123.39   $    123.39
  10/6/2019 Jorge Nieto                 $13.00   56.62   $   10.00         $   108.01   $    108.01
 10/13/2019 Jorge Nieto                 $13.00   59.30   $   10.00         $   125.45   $    125.45
 10/20/2019 Jorge Nieto                 $13.00   42.85   $   10.00         $    18.53   $     18.53
  11/3/2019 Jorge Nieto                 $13.00   50.20   $   10.00         $    66.30   $     66.30
 11/10/2019 Jorge Nieto                 $13.00   52.03   $   10.00         $    78.22   $     78.22
 11/17/2019 Jorge Nieto                 $13.00   52.02   $   10.00         $    78.11   $     78.11
  12/8/2019 Jorge Nieto                 $13.00   44.83   $   10.00         $    31.42   $     31.42
 12/15/2019 Jorge Nieto                 $13.00   48.98   $   10.00         $    58.39   $     58.39
 12/22/2019 Jorge Nieto                 $13.00   46.88   $   10.00         $    44.74   $     44.74
  1/12/2020 Jorge Nieto                 $13.00   46.78   $   11.00         $    44.09   $     44.09
  1/19/2020 Jorge Nieto                 $13.00   50.45   $   11.00         $    67.93   $     67.93
  1/26/2020 Jorge Nieto                 $13.00   43.88   $   11.00         $    25.24   $     25.24
  5/21/2017 Jorge Rodas                  $9.25   79.22   $    8.44         $   181.38   $    181.38
  5/28/2017 Jorge Rodas                  $9.25   77.60   $    8.44         $   173.90   $    173.90
   6/4/2017 Jorge Rodas                  $9.25   72.75   $    8.44         $   151.47   $    151.47
  6/11/2017 Jorge Rodas                  $9.25   78.03   $    8.44         $   175.90   $    175.90
  6/18/2017 Jorge Rodas                  $9.25   53.70   $    8.44         $    63.36   $     63.36



                                          322
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 324 of 683 PageID: 1171
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

  3/25/2018 Jork Placencio                     $10.00   41.15   $    8.60         $     5.75   $      5.75
   4/1/2018 Jork Placencio                     $10.00   64.75   $    8.60         $   123.75   $    123.75
   4/8/2018 Jork Placencio                     $10.00   55.93   $    8.60         $    79.67   $     79.67
  4/15/2018 Jork Placencio                     $10.00   67.62   $    8.60         $   138.08   $    138.08
  4/22/2018 Jork Placencio                     $10.00   68.08   $    8.60         $   140.42   $    140.42
  4/29/2018 Jork Placencio                     $10.00   67.22   $    8.60         $   136.08   $    136.08
   5/6/2018 Jork Placencio                     $10.00   64.05   $    8.60         $   120.25   $    120.25
  1/26/2020 Joscar Lara                        $11.00   58.30   $   11.00         $   100.65   $    100.65
   9/8/2019 Jose A Ramos Robles                $11.00   61.85   $   10.00         $   120.18   $    120.18
  9/15/2019 Jose A Ramos Robles                $11.00   50.95   $   10.00         $    60.22   $     60.22
  9/22/2019 Jose A Ramos Robles                $11.00   60.37   $   10.00         $   112.02   $    112.02
  9/29/2019 Jose A Ramos Robles                $11.00   59.58   $   10.00         $   107.71   $    107.71
 10/13/2019 Jose A Ramos Robles                $11.00   59.78   $   10.00         $   108.81   $    108.81
 10/20/2019 Jose A Ramos Robles                $11.00   49.07   $   10.00         $    49.87   $     49.87
 10/27/2019 Jose A Ramos Robles                $11.00   59.37   $   10.00         $   106.52   $    106.52
  11/3/2019 Jose A Ramos Robles                $11.00   56.70   $   10.00         $    91.85   $     91.85
 11/10/2019 Jose A Ramos Robles                $11.00   56.63   $   10.00         $    91.48   $     91.48
 11/17/2019 Jose A Ramos Robles                $11.00   47.30   $   10.00         $    40.15   $     40.15
 11/24/2019 Jose A Ramos Robles                $11.00   59.55   $   10.00         $   107.53   $    107.53
  12/8/2019 Jose A Ramos Robles                $11.00   56.25   $   10.00         $    89.38   $     89.38
 12/15/2019 Jose A Ramos Robles                $11.00   59.45   $   10.00         $   106.98   $    106.98
 12/22/2019 Jose A Ramos Robles                $11.00   60.47   $   10.00         $   112.57   $    112.57
 12/29/2019 Jose A Ramos Robles                $11.00   53.52   $   10.00         $    74.34   $     74.34
   1/5/2020 Jose A Ramos Robles                $11.00   49.32   $   11.00         $    51.24   $     51.24
  1/12/2020 Jose A Ramos Robles                $11.00   49.72   $   11.00         $    53.44   $     53.44
  1/19/2020 Jose A Ramos Robles                $11.00   47.53   $   11.00         $    41.43   $     41.43
  1/26/2020 Jose A Ramos Robles                $11.00   58.73   $   11.00         $   103.03   $    103.03
   2/5/2017 Jose A. Aguilar Orellana           $11.00   40.98   $    8.44         $     5.41   $      5.41
  2/12/2017 Jose A. Aguilar Orellana           $11.00   45.15   $    8.44         $    28.33   $     28.33
  2/19/2017 Jose A. Aguilar Orellana           $11.00   53.12   $    8.44         $    72.14   $     72.14
  2/26/2017 Jose A. Aguilar Orellana           $11.00   55.98   $    8.44         $    87.91   $     87.91
   3/5/2017 Jose A. Aguilar Orellana           $11.00   56.20   $    8.44         $    89.10   $     89.10
  3/12/2017 Jose A. Aguilar Orellana           $11.00   56.55   $    8.44         $    91.03   $     91.03
  3/19/2017 Jose A. Aguilar Orellana           $11.00   44.58   $    8.44         $    25.21   $     25.21
  3/26/2017 Jose A. Aguilar Orellana           $11.00   56.07   $    8.44         $    88.37   $     88.37
   4/9/2017 Jose A. Aguilar Orellana           $11.00   55.87   $    8.44         $    87.27   $     87.27
  4/16/2017 Jose A. Aguilar Orellana           $11.00   56.42   $    8.44         $    90.29   $     90.29
  4/23/2017 Jose A. Aguilar Orellana           $11.00   58.03   $    8.44         $    99.18   $     99.18
  4/30/2017 Jose A. Aguilar Orellana           $11.00   49.32   $    8.44         $    51.24   $     51.24
   5/7/2017 Jose A. Aguilar Orellana           $11.00   49.73   $    8.44         $    53.53   $     53.53
  5/21/2017 Jose A. Aguilar Orellana           $11.00   49.95   $    8.44         $    54.73   $     54.73
  5/28/2017 Jose A. Aguilar Orellana           $11.00   57.35   $    8.44         $    95.43   $     95.43
   6/4/2017 Jose A. Aguilar Orellana           $11.00   51.60   $    8.44         $    63.80   $     63.80
  6/11/2017 Jose A. Aguilar Orellana           $11.00   55.45   $    8.44         $    84.98   $     84.98
  6/18/2017 Jose A. Aguilar Orellana           $11.00   50.62   $    8.44         $    58.39   $     58.39
  6/25/2017 Jose A. Aguilar Orellana           $11.00   58.68   $    8.44         $   102.76   $    102.76
   7/2/2017 Jose A. Aguilar Orellana           $11.00   55.28   $    8.44         $    84.06   $     84.06
   7/9/2017 Jose A. Aguilar Orellana           $11.00   45.97   $    8.44         $    32.82   $     32.82
  7/16/2017 Jose A. Aguilar Orellana           $11.00   45.42   $    8.44         $    29.79   $     29.79
  7/23/2017 Jose A. Aguilar Orellana           $11.00   55.73   $    8.44         $    86.53   $     86.53



                                                 323
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 325 of 683 PageID: 1172
                                                            Exhibit 2
                                                    New Jersey Computations


   Week                                                                    State Section 7: Section 7: Total Section 7
                                                           Hourly Hours/
  Ending                        Name                                     Minumum Regular    Half-Time Overtime Back
                                                            Rate Week
   Date                                                                    Wage  Rate Due     Due       Wages Due

  7/30/2017 Jose A. Aguilar Orellana                       $11.00   53.20   $   8.44          $    72.60   $     72.60
   8/6/2017 Jose A. Aguilar Orellana                       $11.00   56.15   $   8.44          $    88.83   $     88.83
  8/13/2017 Jose A. Aguilar Orellana                       $11.00   49.45   $   8.44          $    51.98   $     51.98
  8/20/2017 Jose A. Aguilar Orellana                       $11.00   58.83   $   8.44          $   103.58   $    103.58
  8/27/2017 Jose A. Aguilar Orellana                       $11.00   55.77   $   8.44          $    86.72   $     86.72
   9/3/2017 Jose A. Aguilar Orellana                       $11.00   54.37   $   8.44          $    79.02   $     79.02
  9/10/2017 Jose A. Aguilar Orellana                       $11.00   52.72   $   8.44          $    69.94   $     69.94
  9/17/2017 Jose A. Aguilar Orellana                       $11.00   48.03   $   8.44          $    44.18   $     44.18
  9/24/2017 Jose A. Aguilar Orellana                       $11.00   49.87   $   8.44          $    54.27   $     54.27
  10/1/2017 Jose A. Aguilar Orellana                       $11.00   53.22   $   8.44          $    72.69   $     72.69
  10/8/2017 Jose A. Aguilar Orellana                       $11.00   44.15   $   8.44          $    22.83   $     22.83
 10/22/2017 Jose A. Aguilar Orellana                       $11.00   54.00   $   8.44          $    77.00   $     77.00
 10/29/2017 Jose A. Aguilar Orellana                       $11.00   57.17   $   8.44          $    94.42   $     94.42
   2/5/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   65.65   $   8.44          $   166.73   $    166.73
  2/12/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   51.43   $   8.44          $    74.32   $     74.32
  2/19/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   69.22   $   8.44          $   189.91   $    189.91
  2/26/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   68.28   $   8.44          $   183.84   $    183.84
   3/5/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   69.85   $   8.44          $   194.03   $    194.03
  3/12/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   68.23   $   8.44          $   183.52   $    183.52
  3/19/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   67.88   $   8.44          $   181.24   $    181.24
  3/26/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   67.00   $   8.44          $   175.50   $    175.50
   4/2/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   63.47   $   8.44          $   152.53   $    152.53
  4/30/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   67.55   $   8.44          $   179.08   $    179.08
   5/7/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   70.92   $   8.44          $   200.96   $    200.96
  5/14/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   73.68   $   8.44          $   218.94   $    218.94
  5/21/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   74.13   $   8.44          $   221.87   $    221.87
  5/28/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   72.57   $   8.44          $   211.68   $    211.68
   6/4/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   71.85   $   8.44          $   207.03   $    207.03
  6/11/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   71.38   $   8.44          $   203.99   $    203.99
  6/18/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   67.05   $   8.44          $   175.83   $    175.83
  6/25/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   72.63   $   8.44          $   212.12   $    212.12
   7/2/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   73.27   $   8.44          $   216.23   $    216.23
   7/9/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   69.35   $   8.44          $   190.78   $    190.78
  7/16/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   67.40   $   8.44          $   178.10   $    178.10
  7/23/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   66.12   $   8.44          $   169.76   $    169.76
  7/30/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   71.10   $   8.44          $   202.15   $    202.15
   8/6/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   69.60   $   8.44          $   192.40   $    192.40
  8/13/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   71.57   $   8.44          $   205.18   $    205.18
  8/20/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   70.43   $   8.44          $   197.82   $    197.82
  8/27/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   71.87   $   8.44          $   207.13   $    207.13
   9/3/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   73.23   $   8.44          $   216.02   $    216.02
  9/10/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   70.68   $   8.44          $   199.44   $    199.44
  9/17/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   73.32   $   8.44          $   216.56   $    216.56
  9/24/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   70.68   $   8.44          $   199.44   $    199.44
  10/1/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   72.73   $   8.44          $   212.77   $    212.77
  10/8/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   73.77   $   8.44          $   219.48   $    219.48
 10/15/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   72.63   $   8.44          $   212.12   $    212.12
 10/22/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   66.47   $   8.44          $   172.03   $    172.03
 10/29/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   71.67   $   8.44          $   205.83   $    205.83
  11/5/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   71.17   $   8.44          $   202.58   $    202.58



                                                             324
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 326 of 683 PageID: 1173
                                                            Exhibit 2
                                                    New Jersey Computations


   Week                                                                    State Section 7: Section 7: Total Section 7
                                                           Hourly Hours/
  Ending                        Name                                     Minumum Regular    Half-Time Overtime Back
                                                            Rate Week
   Date                                                                    Wage  Rate Due     Due       Wages Due

 11/12/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   66.33   $   8.44          $   171.17   $    171.17
 11/19/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   64.88   $   8.44          $   161.74   $    161.74
 11/26/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   60.73   $   8.44          $   134.77   $    134.77
  12/3/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   67.60   $   8.44          $   179.40   $    179.40
 12/10/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   71.70   $   8.44          $   206.05   $    206.05
 12/17/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   71.65   $   8.44          $   205.73   $    205.73
 12/24/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   71.80   $   8.44          $   206.70   $    206.70
 12/31/2017 Jose A. Quintero Sanchez - Supervisor          $13.00   60.15   $   8.44          $   130.98   $    130.98
   1/7/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   52.87   $   8.60          $    83.63   $     83.63
  1/14/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   72.53   $   8.60          $   211.47   $    211.47
  1/21/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   72.52   $   8.60          $   211.36   $    211.36
  1/28/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   68.42   $   8.60          $   184.71   $    184.71
   2/4/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   65.90   $   8.60          $   168.35   $    168.35
  2/11/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   64.37   $   8.60          $   158.38   $    158.38
  2/18/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   65.15   $   8.60          $   163.48   $    163.48
  2/25/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   71.05   $   8.60          $   201.83   $    201.83
   3/4/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   66.13   $   8.60          $   169.87   $    169.87
  3/25/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   69.33   $   8.60          $   190.67   $    190.67
   4/1/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   66.38   $   8.60          $   171.49   $    171.49
   4/8/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   71.85   $   8.60          $   207.03   $    207.03
  4/15/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   71.70   $   8.60          $   206.05   $    206.05
  4/22/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   71.55   $   8.60          $   205.08   $    205.08
  4/29/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   69.42   $   8.60          $   191.21   $    191.21
   5/6/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   72.20   $   8.60          $   209.30   $    209.30
  5/13/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   73.10   $   8.60          $   215.15   $    215.15
  5/20/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   71.93   $   8.60          $   207.57   $    207.57
  5/27/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   72.33   $   8.60          $   210.17   $    210.17
   6/3/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   69.72   $   8.60          $   193.16   $    193.16
  6/10/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   73.48   $   8.60          $   217.64   $    217.64
  6/17/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   72.18   $   8.60          $   209.19   $    209.19
  6/24/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   73.42   $   8.60          $   217.21   $    217.21
   7/1/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   55.07   $   8.60          $    97.93   $     97.93
   7/8/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   69.17   $   8.60          $   189.58   $    189.58
  7/15/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   74.88   $   8.60          $   226.74   $    226.74
  7/22/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   59.45   $   8.60          $   126.43   $    126.43
  7/29/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   72.72   $   8.60          $   212.66   $    212.66
  8/12/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   73.52   $   8.60          $   217.86   $    217.86
  8/19/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   78.30   $   8.60          $   248.95   $    248.95
  8/26/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   73.47   $   8.60          $   217.53   $    217.53
   9/2/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   73.50   $   8.60          $   217.75   $    217.75
   9/9/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   70.27   $   8.60          $   196.73   $    196.73
  9/16/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   75.28   $   8.60          $   229.34   $    229.34
  9/23/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   74.67   $   8.60          $   225.33   $    225.33
  10/7/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   74.30   $   8.60          $   222.95   $    222.95
 10/14/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   74.35   $   8.60          $   223.28   $    223.28
 10/21/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   73.82   $   8.60          $   219.81   $    219.81
 10/28/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   75.13   $   8.60          $   228.37   $    228.37
  11/4/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   75.33   $   8.60          $   229.67   $    229.67
 11/11/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   77.22   $   8.60          $   241.91   $    241.91
 11/18/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   75.98   $   8.60          $   233.89   $    233.89



                                                             325
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 327 of 683 PageID: 1174
                                                            Exhibit 2
                                                    New Jersey Computations


   Week                                                                    State Section 7: Section 7: Total Section 7
                                                           Hourly Hours/
  Ending                        Name                                     Minumum Regular    Half-Time Overtime Back
                                                            Rate Week
   Date                                                                    Wage  Rate Due     Due       Wages Due

 11/25/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   57.90   $    8.60              $   116.35   $   116.35
  12/2/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   71.25   $    8.60              $   203.13   $   203.13
  12/9/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   71.37   $    8.60              $   203.88   $   203.88
 12/16/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   71.32   $    8.60              $   203.56   $   203.56
 12/23/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   74.08   $    8.60              $   221.54   $   221.54
 12/30/2018 Jose A. Quintero Sanchez - Supervisor          $13.00   53.25   $    8.60              $    86.13   $    86.13
   1/6/2019 Jose A. Quintero Sanchez - Supervisor          $13.00   67.75   $    8.85              $   180.38   $   180.38
  3/19/2017 Jose A. Velasquez                              $10.00   44.53   $    8.44              $    22.67   $    22.67
  3/26/2017 Jose A. Velasquez                              $10.00   59.43   $    8.44              $    97.17   $    97.17
   4/2/2017 Jose A. Velasquez                              $10.00   72.60   $    8.44              $   163.00   $   163.00
   4/9/2017 Jose A. Velasquez                              $10.00   72.23   $    8.44              $   161.17   $   161.17
  4/16/2017 Jose A. Velasquez                              $10.00   72.02   $    8.44              $   160.08   $   160.08
  4/23/2017 Jose A. Velasquez                              $10.00   72.40   $    8.44              $   162.00   $   162.00
  4/30/2017 Jose A. Velasquez                              $10.00   72.37   $    8.44              $   161.83   $   161.83
   5/7/2017 Jose A. Velasquez                              $10.00   72.45   $    8.44              $   162.25   $   162.25
  5/14/2017 Jose A. Velasquez                              $10.00   71.75   $    8.44              $   158.75   $   158.75
  5/21/2017 Jose A. Velasquez                              $10.00   73.00   $    8.44              $   165.00   $   165.00
  5/28/2017 Jose A. Velasquez                              $10.00   73.07   $    8.44              $   165.33   $   165.33
   6/4/2017 Jose A. Velasquez                              $10.00   72.05   $    8.44              $   160.25   $   160.25
  1/19/2020 Jose A. Velasquez                               $9.00   56.60   $   11.00   $ 113.20   $    91.30   $   204.50
  1/26/2020 Jose A. Velasquez                               $9.00   55.05   $   11.00   $ 110.10   $    82.78   $   192.88
 11/18/2018 Jose Abel Melendez Chapas                      $10.00   44.62   $    8.60              $    23.08   $    23.08
  12/2/2018 Jose Abel Melendez Chapas                      $10.00   40.77   $    8.60              $     3.83   $     3.83
  12/9/2018 Jose Abel Melendez Chapas                      $10.00   44.65   $    8.60              $    23.25   $    23.25
 12/16/2018 Jose Abel Melendez Chapas                      $10.00   48.52   $    8.60              $    42.58   $    42.58
 12/23/2018 Jose Abel Melendez Chapas                      $10.00   49.87   $    8.60              $    49.33   $    49.33
  1/13/2019 Jose Abel Melendez Chapas                      $10.00   42.25   $    8.85              $    11.25   $    11.25
  3/31/2019 Jose Abel Melendez Chapas                      $10.00   59.57   $    8.85              $    97.83   $    97.83
   4/7/2019 Jose Abel Melendez Chapas                      $10.00   51.98   $    8.85              $    59.92   $    59.92
  4/14/2019 Jose Abel Melendez Chapas                      $10.00   57.57   $    8.85              $    87.83   $    87.83
  4/21/2019 Jose Abel Melendez Chapas                      $10.00   52.42   $    8.85              $    62.08   $    62.08
  4/28/2019 Jose Abel Melendez Chapas                      $10.00   61.33   $    8.85              $   106.67   $   106.67
   5/5/2019 Jose Abel Melendez Chapas                      $10.00   55.27   $    8.85              $    76.33   $    76.33
  5/12/2019 Jose Abel Melendez Chapas                      $10.00   43.52   $    8.85              $    17.58   $    17.58
  5/19/2019 Jose Abel Melendez Chapas                      $10.00   55.92   $    8.85              $    79.58   $    79.58
  5/26/2019 Jose Abel Melendez Chapas                      $10.00   55.67   $    8.85              $    78.33   $    78.33
   6/2/2019 Jose Abel Melendez Chapas                      $10.00   44.80   $    8.85              $    24.00   $    24.00
   6/9/2019 Jose Abel Melendez Chapas                      $10.00   51.73   $    8.85              $    58.67   $    58.67
  6/16/2019 Jose Abel Melendez Chapas                      $10.00   56.60   $    8.85              $    83.00   $    83.00
  6/23/2019 Jose Abel Melendez Chapas                      $10.00   56.33   $    8.85              $    81.67   $    81.67
  6/30/2019 Jose Abel Melendez Chapas                      $10.00   56.47   $   10.00              $    82.33   $    82.33
   7/7/2019 Jose Abel Melendez Chapas                      $10.00   48.78   $   10.00              $    43.92   $    43.92
  7/14/2019 Jose Abel Melendez Chapas                      $10.00   63.87   $   10.00              $   119.33   $   119.33
  7/21/2019 Jose Abel Melendez Chapas                      $10.00   57.48   $   10.00              $    87.42   $    87.42
  7/28/2019 Jose Abel Melendez Chapas                      $10.00   54.87   $   10.00              $    74.33   $    74.33
   8/4/2019 Jose Abel Melendez Chapas                      $10.00   62.83   $   10.00              $   114.17   $   114.17
  8/11/2019 Jose Abel Melendez Chapas                      $10.00   57.63   $   10.00              $    88.17   $    88.17
  8/18/2019 Jose Abel Melendez Chapas                      $10.00   55.87   $   10.00              $    79.33   $    79.33
  8/25/2019 Jose Abel Melendez Chapas                      $10.00   54.55   $   10.00              $    72.75   $    72.75
   9/1/2019 Jose Abel Melendez Chapas                      $10.00   58.68   $   10.00              $    93.42   $    93.42



                                                             326
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 328 of 683 PageID: 1175
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                      Name                           Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

   9/8/2019 Jose Abel Melendez Chapas          $10.00   51.60   $   10.00               $    58.00   $    58.00
  9/15/2019 Jose Abel Melendez Chapas          $10.00   63.32   $   10.00               $   116.58   $   116.58
  9/22/2019 Jose Abel Melendez Chapas          $10.00   56.28   $   10.00               $    81.42   $    81.42
  9/29/2019 Jose Abel Melendez Chapas          $10.00   44.87   $   10.00               $    24.33   $    24.33
  10/6/2019 Jose Abel Melendez Chapas          $10.00   52.43   $   10.00               $    62.17   $    62.17
 10/13/2019 Jose Abel Melendez Chapas          $10.00   51.18   $   10.00               $    55.92   $    55.92
 10/20/2019 Jose Abel Melendez Chapas          $10.00   62.67   $   10.00               $   113.33   $   113.33
 10/27/2019 Jose Abel Melendez Chapas          $10.00   62.48   $   10.00               $   112.42   $   112.42
  11/3/2019 Jose Abel Melendez Chapas          $10.00   62.40   $   10.00               $   112.00   $   112.00
 11/10/2019 Jose Abel Melendez Chapas          $10.00   50.50   $   10.00               $    52.50   $    52.50
 11/17/2019 Jose Abel Melendez Chapas          $10.00   60.28   $   10.00               $   101.42   $   101.42
 11/24/2019 Jose Abel Melendez Chapas          $10.00   59.78   $   10.00               $    98.92   $    98.92
  12/1/2019 Jose Abel Melendez Chapas          $10.00   56.17   $   10.00               $    80.83   $    80.83
  12/8/2019 Jose Abel Melendez Chapas          $10.00   61.55   $   10.00               $   107.75   $   107.75
 12/15/2019 Jose Abel Melendez Chapas          $10.00   61.53   $   10.00               $   107.67   $   107.67
 12/22/2019 Jose Abel Melendez Chapas          $10.00   60.82   $   10.00               $   104.08   $   104.08
 12/29/2019 Jose Abel Melendez Chapas          $10.00   44.18   $   10.00               $    20.92   $    20.92
   1/5/2020 Jose Abel Melendez Chapas          $10.00   48.20   $   11.00   $   48.20   $    45.10   $    93.30
  1/12/2020 Jose Abel Melendez Chapas          $10.00   60.02   $   11.00   $   60.02   $   110.09   $   170.11
  1/19/2020 Jose Abel Melendez Chapas          $10.00   57.22   $   11.00   $   57.22   $    94.69   $   151.91
  1/26/2020 Jose Abel Melendez Chapas          $10.00   60.55   $   11.00   $   60.55   $   113.03   $   173.58
 12/17/2017 Jose Aguinada-0082                  $9.50   47.27   $    8.44               $    34.52   $    34.52
 12/24/2017 Jose Aguinada-0082                  $9.50   56.68   $    8.44               $    79.25   $    79.25
  1/14/2018 Jose Aguinada-0082                  $9.50   60.45   $    8.60               $    97.14   $    97.14
  1/21/2018 Jose Aguinada-0082                  $9.50   51.20   $    8.60               $    53.20   $    53.20
   2/4/2018 Jose Aguinada-0082                  $9.50   50.07   $    8.60               $    47.82   $    47.82
   9/9/2018 Jose Alberto Cruz                   $9.50   42.72   $    8.60               $    12.90   $    12.90
  9/16/2018 Jose Alberto Cruz                   $9.50   51.25   $    8.60               $    53.44   $    53.44
  9/23/2018 Jose Alberto Cruz                   $9.50   47.03   $    8.60               $    33.41   $    33.41
  9/30/2018 Jose Alberto Cruz                   $9.50   53.08   $    8.60               $    62.15   $    62.15
  10/7/2018 Jose Alberto Cruz                   $9.50   42.72   $    8.60               $    12.90   $    12.90
 10/14/2018 Jose Alberto Cruz                   $9.50   52.55   $    8.60               $    59.61   $    59.61
 10/21/2018 Jose Alberto Cruz                   $9.50   42.02   $    8.60               $     9.58   $     9.58
 10/28/2018 Jose Alberto Cruz                   $9.50   42.60   $    8.60               $    12.35   $    12.35
  11/4/2018 Jose Alberto Cruz                   $9.50   44.17   $    8.60               $    19.79   $    19.79
 11/11/2018 Jose Alberto Cruz                   $9.50   48.97   $    8.60               $    42.59   $    42.59
 11/18/2018 Jose Alberto Cruz                   $9.50   49.97   $    8.60               $    47.34   $    47.34
 11/25/2018 Jose Alberto Cruz                   $9.50   48.45   $    8.60               $    40.14   $    40.14
  12/2/2018 Jose Alberto Cruz                   $9.50   55.78   $    8.60               $    74.97   $    74.97
  12/9/2018 Jose Alberto Cruz                   $9.50   55.27   $    8.60               $    72.52   $    72.52
 12/16/2018 Jose Alberto Cruz                   $9.50   67.73   $    8.60               $   131.73   $   131.73
 12/23/2018 Jose Alberto Cruz                   $9.50   64.00   $    8.60               $   114.00   $   114.00
  1/13/2019 Jose Alberto Cruz                   $9.50   58.73   $    8.85               $    88.98   $    88.98
  1/20/2019 Jose Alberto Cruz                   $9.50   56.87   $    8.85               $    80.12   $    80.12
  1/27/2019 Jose Alberto Cruz                   $9.50   44.07   $    8.85               $    19.32   $    19.32
   2/3/2019 Jose Alberto Cruz                   $9.50   56.22   $    8.85               $    77.03   $    77.03
  2/10/2019 Jose Alberto Cruz                   $9.50   45.45   $    8.85               $    25.89   $    25.89
  2/17/2019 Jose Alberto Cruz                   $9.50   45.85   $    8.85               $    27.79   $    27.79
  2/24/2019 Jose Alberto Cruz                   $9.50   55.98   $    8.85               $    75.92   $    75.92
   3/3/2019 Jose Alberto Cruz                   $9.50   55.40   $    8.85               $    73.15   $    73.15



                                                 327
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 329 of 683 PageID: 1176
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  3/10/2019 Jose Alberto Cruz                  $9.50   57.17   $    8.85               $    81.54   $    81.54
  3/17/2019 Jose Alberto Cruz                  $9.50   56.68   $    8.85               $    79.25   $    79.25
  3/31/2019 Jose Alberto Cruz                  $9.50   61.00   $    8.85               $    99.75   $    99.75
   4/7/2019 Jose Alberto Cruz                  $9.50   59.65   $    8.85               $    93.34   $    93.34
  4/14/2019 Jose Alberto Cruz                  $9.50   58.97   $    8.85               $    90.09   $    90.09
  4/21/2019 Jose Alberto Cruz                  $9.50   56.85   $    8.85               $    80.04   $    80.04
   5/5/2019 Jose Alberto Cruz                  $9.50   60.35   $    8.85               $    96.66   $    96.66
  5/12/2019 Jose Alberto Cruz                  $9.50   53.32   $    8.85               $    63.25   $    63.25
  5/19/2019 Jose Alberto Cruz                  $9.50   61.47   $    8.85               $   101.97   $   101.97
  5/26/2019 Jose Alberto Cruz                  $9.50   50.25   $    8.85               $    48.69   $    48.69
   6/2/2019 Jose Alberto Cruz                  $9.50   42.27   $    8.85               $    10.77   $    10.77
   6/9/2019 Jose Alberto Cruz                  $9.50   51.43   $    8.85               $    54.31   $    54.31
  6/16/2019 Jose Alberto Cruz                  $9.50   48.58   $    8.85               $    40.77   $    40.77
  6/23/2019 Jose Alberto Cruz                  $9.50   50.73   $    8.85               $    50.98   $    50.98
  6/30/2019 Jose Alberto Cruz                  $9.50   60.23   $   10.00   $   30.12   $   101.17   $   131.28
  7/14/2019 Jose Alberto Cruz                 $10.00   53.62   $   10.00               $    68.08   $    68.08
  7/21/2019 Jose Alberto Cruz                 $10.00   50.03   $   10.00               $    50.17   $    50.17
  7/28/2019 Jose Alberto Cruz                 $10.00   51.15   $   10.00               $    55.75   $    55.75
   8/4/2019 Jose Alberto Cruz                 $10.00   61.58   $   10.00               $   107.92   $   107.92
  8/11/2019 Jose Alberto Cruz                 $10.00   63.18   $   10.00               $   115.92   $   115.92
  8/18/2019 Jose Alberto Cruz                 $10.00   52.38   $   10.00               $    61.92   $    61.92
  8/25/2019 Jose Alberto Cruz                 $10.00   55.78   $   10.00               $    78.92   $    78.92
   9/1/2019 Jose Alberto Cruz                 $10.00   50.60   $   10.00               $    53.00   $    53.00
  9/15/2019 Jose Alberto Cruz                 $10.00   53.87   $   10.00               $    69.33   $    69.33
  9/22/2019 Jose Alberto Cruz                 $10.00   60.33   $   10.00               $   101.67   $   101.67
  9/29/2019 Jose Alberto Cruz                 $10.00   52.13   $   10.00               $    60.67   $    60.67
  10/6/2019 Jose Alberto Cruz                 $10.00   55.48   $   10.00               $    77.42   $    77.42
 10/13/2019 Jose Alberto Cruz                 $10.00   60.42   $   10.00               $   102.08   $   102.08
 10/20/2019 Jose Alberto Cruz                 $11.00   52.98   $   10.00               $    71.41   $    71.41
 10/27/2019 Jose Alberto Cruz                 $11.00   58.47   $   10.00               $   101.57   $   101.57
  11/3/2019 Jose Alberto Cruz                 $11.00   53.27   $   10.00               $    72.97   $    72.97
 11/10/2019 Jose Alberto Cruz                 $11.00   53.80   $   10.00               $    75.90   $    75.90
 11/17/2019 Jose Alberto Cruz                 $11.00   45.50   $   10.00               $    30.25   $    30.25
 11/24/2019 Jose Alberto Cruz                 $11.00   54.80   $   10.00               $    81.40   $    81.40
  12/1/2019 Jose Alberto Cruz                 $11.00   42.60   $   10.00               $    14.30   $    14.30
  12/8/2019 Jose Alberto Cruz                 $11.00   54.47   $   10.00               $    79.57   $    79.57
 12/15/2019 Jose Alberto Cruz                 $10.00   50.53   $   10.00               $    52.67   $    52.67
 12/22/2019 Jose Alberto Cruz                 $10.00   59.25   $   10.00               $    96.25   $    96.25
 12/29/2019 Jose Alberto Cruz                 $10.00   41.27   $   10.00               $     6.33   $     6.33
   1/5/2020 Jose Alberto Cruz                 $10.00   43.55   $   11.00   $   43.55   $    19.53   $    63.08
  1/12/2020 Jose Alberto Cruz                 $10.00   56.53   $   11.00   $   56.53   $    90.93   $   147.47
  1/19/2020 Jose Alberto Cruz                 $10.00   48.08   $   11.00   $   48.08   $    44.46   $    92.54
   2/5/2017 Jose Almonte                      $12.00   59.23   $    8.44               $   115.40   $   115.40
  2/12/2017 Jose Almonte                      $12.00   44.83   $    8.44               $    29.00   $    29.00
  2/19/2017 Jose Almonte                      $12.00   53.77   $    8.44               $    82.60   $    82.60
  2/26/2017 Jose Almonte                      $12.00   57.20   $    8.44               $   103.20   $   103.20
   3/5/2017 Jose Almonte                      $12.00   48.88   $    8.44               $    53.30   $    53.30
  3/12/2017 Jose Almonte                      $12.00   57.77   $    8.44               $   106.60   $   106.60
  3/19/2017 Jose Almonte                      $12.00   48.05   $    8.44               $    48.30   $    48.30
  3/26/2017 Jose Almonte                      $12.00   57.42   $    8.44               $   104.50   $   104.50



                                                328
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 330 of 683 PageID: 1177
                                          Exhibit 2
                                  New Jersey Computations


   Week                                                  State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
  Ending                   Name                        Minumum Regular    Half-Time Overtime Back
                                          Rate Week
   Date                                                  Wage  Rate Due     Due       Wages Due

   4/2/2017 Jose Almonte                 $12.00   58.10   $    8.44         $   108.60   $    108.60
  4/16/2017 Jose Almonte                 $12.00   63.25   $    8.44         $   139.50   $    139.50
  4/30/2017 Jose Almonte                 $12.00   54.38   $    8.44         $    86.30   $     86.30
   5/7/2017 Jose Almonte                 $12.00   59.73   $    8.44         $   118.40   $    118.40
  5/14/2017 Jose Almonte                 $12.00   56.28   $    8.44         $    97.70   $     97.70
  5/21/2017 Jose Almonte                 $12.00   53.08   $    8.44         $    78.50   $     78.50
  5/28/2017 Jose Almonte                 $12.00   47.23   $    8.44         $    43.40   $     43.40
   6/4/2017 Jose Almonte                 $12.00   45.83   $    8.44         $    35.00   $     35.00
  6/18/2017 Jose Almonte                 $12.00   58.30   $    8.44         $   109.80   $    109.80
  6/25/2017 Jose Almonte                 $12.00   59.70   $    8.44         $   118.20   $    118.20
   7/2/2017 Jose Almonte                 $12.00   57.13   $    8.44         $   102.80   $    102.80
   7/9/2017 Jose Almonte                 $12.00   51.60   $    8.44         $    69.60   $     69.60
  7/16/2017 Jose Almonte                 $12.00   50.80   $    8.44         $    64.80   $     64.80
  8/13/2017 Jose Almonte                 $12.00   54.75   $    8.44         $    88.50   $     88.50
  8/20/2017 Jose Almonte                 $12.00   49.85   $    8.44         $    59.10   $     59.10
  8/27/2017 Jose Almonte                 $12.00   49.83   $    8.44         $    59.00   $     59.00
   9/3/2017 Jose Almonte                 $12.00   50.52   $    8.44         $    63.10   $     63.10
  9/10/2017 Jose Almonte                 $12.00   43.63   $    8.44         $    21.80   $     21.80
  9/17/2017 Jose Almonte                 $12.00   60.33   $    8.44         $   122.00   $    122.00
  9/24/2017 Jose Almonte                 $12.00   52.22   $    8.44         $    73.30   $     73.30
  10/1/2017 Jose Almonte                 $12.00   47.08   $    8.44         $    42.50   $     42.50
  10/8/2017 Jose Almonte                 $12.00   58.78   $    8.44         $   112.70   $    112.70
 10/15/2017 Jose Almonte                 $12.00   44.52   $    8.44         $    27.10   $     27.10
 10/29/2017 Jose Almonte                 $12.00   60.23   $    8.44         $   121.40   $    121.40
  11/5/2017 Jose Almonte                 $12.00   44.03   $    8.44         $    24.20   $     24.20
 11/12/2017 Jose Almonte                 $12.00   54.43   $    8.44         $    86.60   $     86.60
 11/19/2017 Jose Almonte                 $12.00   54.88   $    8.44         $    89.30   $     89.30
  12/3/2017 Jose Almonte                 $12.00   57.10   $    8.44         $   102.60   $    102.60
 12/10/2017 Jose Almonte                 $12.00   56.47   $    8.44         $    98.80   $     98.80
 12/17/2017 Jose Almonte                 $12.00   52.92   $    8.44         $    77.50   $     77.50
 12/31/2017 Jose Almonte                 $12.00   46.48   $    8.44         $    38.90   $     38.90
   1/7/2018 Jose Almonte                 $12.00   54.52   $    8.60         $    87.10   $     87.10
  1/14/2018 Jose Almonte                 $12.00   56.58   $    8.60         $    99.50   $     99.50
   3/4/2018 Jose Almonte                 $12.00   52.27   $    8.60         $    73.60   $     73.60
  3/25/2018 Jose Almonte                 $12.00   50.07   $    8.60         $    60.40   $     60.40
   4/1/2018 Jose Almonte                 $12.00   52.00   $    8.60         $    72.00   $     72.00
   4/8/2018 Jose Almonte                 $12.00   50.23   $    8.60         $    61.40   $     61.40
  4/15/2018 Jose Almonte                 $12.00   51.37   $    8.60         $    68.20   $     68.20
  4/22/2018 Jose Almonte                 $12.00   54.83   $    8.60         $    89.00   $     89.00
   5/6/2018 Jose Almonte                 $12.00   46.75   $    8.60         $    40.50   $     40.50
  5/13/2018 Jose Almonte                 $12.00   43.32   $    8.60         $    19.90   $     19.90
  5/20/2018 Jose Almonte                 $12.00   47.65   $    8.60         $    45.90   $     45.90
   6/3/2018 Jose Almonte                 $12.00   40.30   $    8.60         $     1.80   $      1.80
  6/10/2018 Jose Almonte                 $12.00   45.30   $    8.60         $    31.80   $     31.80
  6/17/2018 Jose Almonte                 $12.00   52.18   $    8.60         $    73.10   $     73.10
  7/29/2018 Jose Almonte                 $12.00   50.68   $    8.60         $    64.10   $     64.10
   9/9/2018 Jose Almonte                 $12.00   40.83   $    8.60         $     5.00   $      5.00
  9/16/2018 Jose Almonte                 $12.00   41.20   $    8.60         $     7.20   $      7.20
  1/20/2019 Jose Almonte                 $12.00   49.57   $    8.85         $    57.40   $     57.40
   9/1/2019 Jose Almonte                 $13.00   50.45   $   10.00         $    67.93   $     67.93



                                           329
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 331 of 683 PageID: 1178
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

  9/15/2019 Jose Almonte                  $13.00   72.73   $   10.00         $   212.77   $    212.77
  9/22/2019 Jose Almonte                  $13.00   49.62   $   10.00         $    62.51   $     62.51
  9/29/2019 Jose Almonte                  $13.00   42.65   $   10.00         $    17.23   $     17.23
  10/6/2019 Jose Almonte                  $13.00   50.43   $   10.00         $    67.82   $     67.82
 10/20/2019 Jose Almonte                  $13.00   51.60   $   10.00         $    75.40   $     75.40
 11/17/2019 Jose Almonte                  $13.00   47.02   $   10.00         $    45.61   $     45.61
  1/12/2020 Jose Almonte                  $13.00   54.28   $   11.00         $    92.84   $     92.84
  1/26/2020 Jose Almonte                  $13.00   48.30   $   11.00         $    53.95   $     53.95
   2/5/2017 Jose Alvarado                 $12.00   71.12   $    8.44         $   186.70   $    186.70
  2/12/2017 Jose Alvarado                 $12.00   61.82   $    8.44         $   130.90   $    130.90
  2/19/2017 Jose Alvarado                 $12.00   70.05   $    8.44         $   180.30   $    180.30
  2/26/2017 Jose Alvarado                 $12.00   73.18   $    8.44         $   199.10   $    199.10
   3/5/2017 Jose Alvarado                 $12.00   70.82   $    8.44         $   184.90   $    184.90
  3/12/2017 Jose Alvarado                 $12.00   71.37   $    8.44         $   188.20   $    188.20
  3/19/2017 Jose Alvarado                 $12.00   60.33   $    8.44         $   122.00   $    122.00
  3/26/2017 Jose Alvarado                 $12.00   72.10   $    8.44         $   192.60   $    192.60
   4/2/2017 Jose Alvarado                 $12.00   72.92   $    8.44         $   197.50   $    197.50
   4/9/2017 Jose Alvarado                 $12.00   70.65   $    8.44         $   183.90   $    183.90
  4/16/2017 Jose Alvarado                 $12.00   71.13   $    8.44         $   186.80   $    186.80
  4/23/2017 Jose Alvarado                 $12.00   73.13   $    8.44         $   198.80   $    198.80
  4/30/2017 Jose Alvarado                 $12.00   71.98   $    8.44         $   191.90   $    191.90
   5/7/2017 Jose Alvarado                 $12.00   69.18   $    8.44         $   175.10   $    175.10
  5/14/2017 Jose Alvarado                 $12.00   71.20   $    8.44         $   187.20   $    187.20
  5/21/2017 Jose Alvarado                 $12.00   72.33   $    8.44         $   194.00   $    194.00
  5/28/2017 Jose Alvarado                 $12.00   70.55   $    8.44         $   183.30   $    183.30
   6/4/2017 Jose Alvarado                 $12.00   68.52   $    8.44         $   171.10   $    171.10
  6/11/2017 Jose Alvarado                 $12.00   69.38   $    8.44         $   176.30   $    176.30
  6/18/2017 Jose Alvarado                 $12.00   71.98   $    8.44         $   191.90   $    191.90
  6/25/2017 Jose Alvarado                 $12.00   69.85   $    8.44         $   179.10   $    179.10
   7/2/2017 Jose Alvarado                 $12.00   65.78   $    8.44         $   154.70   $    154.70
   7/9/2017 Jose Alvarado                 $12.00   64.95   $    8.44         $   149.70   $    149.70
  7/16/2017 Jose Alvarado                 $12.00   57.68   $    8.44         $   106.10   $    106.10
  7/23/2017 Jose Alvarado                 $12.00   66.08   $    8.44         $   156.50   $    156.50
  7/30/2017 Jose Alvarado                 $12.00   72.53   $    8.44         $   195.20   $    195.20
   8/6/2017 Jose Alvarado                 $12.00   72.95   $    8.44         $   197.70   $    197.70
  8/13/2017 Jose Alvarado                 $12.00   72.43   $    8.44         $   194.60   $    194.60
  8/20/2017 Jose Alvarado                 $12.00   60.23   $    8.44         $   121.40   $    121.40
  8/27/2017 Jose Alvarado                 $12.00   72.55   $    8.44         $   195.30   $    195.30
   9/3/2017 Jose Alvarado                 $12.00   72.93   $    8.44         $   197.60   $    197.60
  9/10/2017 Jose Alvarado                 $12.00   67.08   $    8.44         $   162.50   $    162.50
  9/17/2017 Jose Alvarado                 $12.00   69.85   $    8.44         $   179.10   $    179.10
  9/24/2017 Jose Alvarado                 $12.00   70.83   $    8.44         $   185.00   $    185.00
  10/1/2017 Jose Alvarado                 $12.00   67.45   $    8.44         $   164.70   $    164.70
  10/8/2017 Jose Alvarado                 $12.00   68.80   $    8.44         $   172.80   $    172.80
 10/15/2017 Jose Alvarado                 $12.00   70.37   $    8.44         $   182.20   $    182.20
 10/22/2017 Jose Alvarado                 $12.00   70.12   $    8.44         $   180.70   $    180.70
 10/29/2017 Jose Alvarado                 $12.00   69.47   $    8.44         $   176.80   $    176.80
  11/5/2017 Jose Alvarado                 $12.00   69.72   $    8.44         $   178.30   $    178.30
 11/12/2017 Jose Alvarado                 $12.00   69.48   $    8.44         $   176.90   $    176.90
 11/19/2017 Jose Alvarado                 $12.00   65.88   $    8.44         $   155.30   $    155.30



                                            330
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 332 of 683 PageID: 1179
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

 11/26/2017 Jose Alvarado                 $12.00   57.50   $   8.44          $   105.00   $    105.00
  12/3/2017 Jose Alvarado                 $12.00   68.78   $   8.44          $   172.70   $    172.70
 12/10/2017 Jose Alvarado                 $12.00   68.40   $   8.44          $   170.40   $    170.40
 12/17/2017 Jose Alvarado                 $12.00   66.13   $   8.44          $   156.80   $    156.80
 12/24/2017 Jose Alvarado                 $12.00   64.32   $   8.44          $   145.90   $    145.90
 12/31/2017 Jose Alvarado                 $12.00   58.32   $   8.44          $   109.90   $    109.90
   1/7/2018 Jose Alvarado                 $12.00   52.08   $   8.60          $    72.50   $     72.50
  1/14/2018 Jose Alvarado                 $12.00   66.72   $   8.60          $   160.30   $    160.30
  1/21/2018 Jose Alvarado                 $12.00   68.08   $   8.60          $   168.50   $    168.50
  1/28/2018 Jose Alvarado                 $12.00   67.60   $   8.60          $   165.60   $    165.60
   2/4/2018 Jose Alvarado                 $12.00   67.62   $   8.60          $   165.70   $    165.70
  2/11/2018 Jose Alvarado                 $12.00   67.80   $   8.60          $   166.80   $    166.80
  2/18/2018 Jose Alvarado                 $12.00   66.13   $   8.60          $   156.80   $    156.80
  2/25/2018 Jose Alvarado                 $12.00   67.10   $   8.60          $   162.60   $    162.60
   3/4/2018 Jose Alvarado                 $12.00   65.20   $   8.60          $   151.20   $    151.20
  3/25/2018 Jose Alvarado                 $12.00   61.07   $   8.60          $   126.40   $    126.40
   4/1/2018 Jose Alvarado                 $12.00   70.72   $   8.60          $   184.30   $    184.30
   4/8/2018 Jose Alvarado                 $12.00   70.87   $   8.60          $   185.20   $    185.20
  4/15/2018 Jose Alvarado                 $12.00   69.92   $   8.60          $   179.50   $    179.50
  4/22/2018 Jose Alvarado                 $12.00   70.05   $   8.60          $   180.30   $    180.30
  4/29/2018 Jose Alvarado                 $12.00   69.35   $   8.60          $   176.10   $    176.10
   5/6/2018 Jose Alvarado                 $12.00   69.37   $   8.60          $   176.20   $    176.20
  5/13/2018 Jose Alvarado                 $12.00   68.87   $   8.60          $   173.20   $    173.20
  5/20/2018 Jose Alvarado                 $12.00   69.78   $   8.60          $   178.70   $    178.70
  5/27/2018 Jose Alvarado                 $12.00   69.40   $   8.60          $   176.40   $    176.40
   6/3/2018 Jose Alvarado                 $12.00   66.38   $   8.60          $   158.30   $    158.30
  6/10/2018 Jose Alvarado                 $12.00   69.62   $   8.60          $   177.70   $    177.70
  6/17/2018 Jose Alvarado                 $12.00   70.80   $   8.60          $   184.80   $    184.80
  6/24/2018 Jose Alvarado                 $12.00   69.38   $   8.60          $   176.30   $    176.30
   7/1/2018 Jose Alvarado                 $12.00   72.42   $   8.60          $   194.50   $    194.50
   7/8/2018 Jose Alvarado                 $12.00   66.47   $   8.60          $   158.80   $    158.80
  7/15/2018 Jose Alvarado                 $12.00   69.27   $   8.60          $   175.60   $    175.60
  7/22/2018 Jose Alvarado                 $12.00   70.42   $   8.60          $   182.50   $    182.50
  7/29/2018 Jose Alvarado                 $12.00   71.38   $   8.60          $   188.30   $    188.30
   8/5/2018 Jose Alvarado                 $12.00   69.90   $   8.60          $   179.40   $    179.40
  8/12/2018 Jose Alvarado                 $12.00   70.23   $   8.60          $   181.40   $    181.40
  8/19/2018 Jose Alvarado                 $12.00   73.50   $   8.60          $   201.00   $    201.00
  8/26/2018 Jose Alvarado                 $12.00   75.40   $   8.60          $   212.40   $    212.40
   9/2/2018 Jose Alvarado                 $12.00   74.60   $   8.60          $   207.60   $    207.60
   9/9/2018 Jose Alvarado                 $12.00   71.15   $   8.60          $   186.90   $    186.90
  9/16/2018 Jose Alvarado                 $12.00   74.73   $   8.60          $   208.40   $    208.40
  9/23/2018 Jose Alvarado                 $12.00   74.43   $   8.60          $   206.60   $    206.60
  9/30/2018 Jose Alvarado                 $12.00   74.42   $   8.60          $   206.50   $    206.50
  10/7/2018 Jose Alvarado                 $12.00   74.78   $   8.60          $   208.70   $    208.70
 10/14/2018 Jose Alvarado                 $12.00   74.78   $   8.60          $   208.70   $    208.70
 10/21/2018 Jose Alvarado                 $12.00   61.57   $   8.60          $   129.40   $    129.40
 10/28/2018 Jose Alvarado                 $12.00   74.37   $   8.60          $   206.20   $    206.20
  11/4/2018 Jose Alvarado                 $12.00   74.15   $   8.60          $   204.90   $    204.90
 11/11/2018 Jose Alvarado                 $12.00   70.98   $   8.60          $   185.90   $    185.90
 11/18/2018 Jose Alvarado                 $12.00   60.28   $   8.60          $   121.70   $    121.70



                                            331
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 333 of 683 PageID: 1180
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

 11/25/2018 Jose Alvarado                 $12.00   60.25   $    8.60         $   121.50   $    121.50
  12/2/2018 Jose Alvarado                 $12.00   74.38   $    8.60         $   206.30   $    206.30
  12/9/2018 Jose Alvarado                 $12.00   74.85   $    8.60         $   209.10   $    209.10
 12/16/2018 Jose Alvarado                 $12.00   73.67   $    8.60         $   202.00   $    202.00
 12/23/2018 Jose Alvarado                 $12.00   74.17   $    8.60         $   205.00   $    205.00
 12/30/2018 Jose Alvarado                 $12.00   48.87   $    8.60         $    53.20   $     53.20
   1/6/2019 Jose Alvarado                 $12.00   58.60   $    8.85         $   111.60   $    111.60
  1/13/2019 Jose Alvarado                 $12.00   74.23   $    8.85         $   205.40   $    205.40
  1/20/2019 Jose Alvarado                 $12.00   73.43   $    8.85         $   200.60   $    200.60
  1/27/2019 Jose Alvarado                 $12.00   73.53   $    8.85         $   201.20   $    201.20
   2/3/2019 Jose Alvarado                 $12.00   73.97   $    8.85         $   203.80   $    203.80
  2/10/2019 Jose Alvarado                 $12.00   74.10   $    8.85         $   204.60   $    204.60
  2/17/2019 Jose Alvarado                 $12.00   69.80   $    8.85         $   178.80   $    178.80
  2/24/2019 Jose Alvarado                 $12.00   72.25   $    8.85         $   193.50   $    193.50
   3/3/2019 Jose Alvarado                 $12.00   74.20   $    8.85         $   205.20   $    205.20
  3/10/2019 Jose Alvarado                 $12.00   73.78   $    8.85         $   202.70   $    202.70
  3/17/2019 Jose Alvarado                 $12.00   72.78   $    8.85         $   196.70   $    196.70
  3/24/2019 Jose Alvarado                 $12.00   72.18   $    8.85         $   193.10   $    193.10
  3/31/2019 Jose Alvarado                 $12.00   72.23   $    8.85         $   193.40   $    193.40
   4/7/2019 Jose Alvarado                 $12.00   72.52   $    8.85         $   195.10   $    195.10
  4/14/2019 Jose Alvarado                 $12.00   72.48   $    8.85         $   194.90   $    194.90
  4/21/2019 Jose Alvarado                 $12.00   73.40   $    8.85         $   200.40   $    200.40
  4/28/2019 Jose Alvarado                 $12.00   73.03   $    8.85         $   198.20   $    198.20
   5/5/2019 Jose Alvarado                 $12.00   72.13   $    8.85         $   192.80   $    192.80
  5/12/2019 Jose Alvarado                 $12.00   72.67   $    8.85         $   196.00   $    196.00
  5/19/2019 Jose Alvarado                 $12.00   73.68   $    8.85         $   202.10   $    202.10
  5/26/2019 Jose Alvarado                 $12.00   75.93   $    8.85         $   215.60   $    215.60
  6/16/2019 Jose Alvarado                 $12.00   58.65   $    8.85         $   111.90   $    111.90
  6/23/2019 Jose Alvarado                 $12.00   73.12   $    8.85         $   198.70   $    198.70
  6/30/2019 Jose Alvarado                 $12.00   73.10   $   10.00         $   198.60   $    198.60
   7/7/2019 Jose Alvarado                 $13.00   68.27   $   10.00         $   183.73   $    183.73
  7/14/2019 Jose Alvarado                 $13.00   72.58   $   10.00         $   211.79   $    211.79
  7/21/2019 Jose Alvarado                 $13.00   74.02   $   10.00         $   221.11   $    221.11
  7/28/2019 Jose Alvarado                 $13.00   74.02   $   10.00         $   221.11   $    221.11
   8/4/2019 Jose Alvarado                 $13.00   73.20   $   10.00         $   215.80   $    215.80
  8/11/2019 Jose Alvarado                 $13.00   74.25   $   10.00         $   222.63   $    222.63
  8/18/2019 Jose Alvarado                 $13.00   73.25   $   10.00         $   216.13   $    216.13
  8/25/2019 Jose Alvarado                 $13.00   74.25   $   10.00         $   222.63   $    222.63
   9/1/2019 Jose Alvarado                 $13.00   74.37   $   10.00         $   223.38   $    223.38
   9/8/2019 Jose Alvarado                 $13.00   70.08   $   10.00         $   195.54   $    195.54
  9/15/2019 Jose Alvarado                 $13.00   72.97   $   10.00         $   214.28   $    214.28
  9/22/2019 Jose Alvarado                 $13.00   73.32   $   10.00         $   216.56   $    216.56
  9/29/2019 Jose Alvarado                 $13.00   74.03   $   10.00         $   221.22   $    221.22
  10/6/2019 Jose Alvarado                 $13.00   74.07   $   10.00         $   221.43   $    221.43
 10/13/2019 Jose Alvarado                 $13.00   74.05   $   10.00         $   221.33   $    221.33
 10/20/2019 Jose Alvarado                 $13.00   73.27   $   10.00         $   216.23   $    216.23
 10/27/2019 Jose Alvarado                 $13.00   73.57   $   10.00         $   218.18   $    218.18
  11/3/2019 Jose Alvarado                 $13.00   74.10   $   10.00         $   221.65   $    221.65
 11/10/2019 Jose Alvarado                 $13.00   73.40   $   10.00         $   217.10   $    217.10
 11/17/2019 Jose Alvarado                 $13.00   73.40   $   10.00         $   217.10   $    217.10



                                            332
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 334 of 683 PageID: 1181
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

 11/24/2019 Jose Alvarado                    $13.00   74.67   $   10.00               $   225.33   $   225.33
  12/1/2019 Jose Alvarado                    $13.00   61.57   $   10.00               $   140.18   $   140.18
  12/8/2019 Jose Alvarado                    $13.00   67.77   $   10.00               $   180.48   $   180.48
 12/15/2019 Jose Alvarado                    $13.00   67.47   $   10.00               $   178.53   $   178.53
 12/22/2019 Jose Alvarado                    $13.00   67.73   $   10.00               $   180.27   $   180.27
 12/29/2019 Jose Alvarado                    $13.00   43.75   $   10.00               $    24.38   $    24.38
   1/5/2020 Jose Alvarado                    $13.00   52.92   $   11.00               $    83.96   $    83.96
  1/12/2020 Jose Alvarado                    $13.00   67.63   $   11.00               $   179.62   $   179.62
  1/19/2020 Jose Alvarado                    $13.00   67.43   $   11.00               $   178.32   $   178.32
  1/26/2020 Jose Alvarado                    $13.00   68.63   $   11.00               $   186.12   $   186.12
 12/16/2018 Jose Alvarado-7106               $10.00   73.70   $    8.60               $   168.50   $   168.50
 12/23/2018 Jose Alvarado-7106               $10.00   64.02   $    8.60               $   120.08   $   120.08
   2/3/2019 Jose Angel Hernandez             $10.00   73.05   $    8.85               $   165.25   $   165.25
  2/10/2019 Jose Angel Hernandez             $10.00   72.23   $    8.85               $   161.17   $   161.17
  2/17/2019 Jose Angel Hernandez             $10.00   72.92   $    8.85               $   164.58   $   164.58
  2/24/2019 Jose Angel Hernandez             $10.00   72.53   $    8.85               $   162.67   $   162.67
   3/3/2019 Jose Angel Hernandez             $10.00   60.25   $    8.85               $   101.25   $   101.25
  3/10/2019 Jose Angel Hernandez             $10.00   72.92   $    8.85               $   164.58   $   164.58
  12/8/2019 Jose Antonio Morel               $10.00   73.12   $   10.00               $   165.58   $   165.58
 12/15/2019 Jose Antonio Morel               $10.00   73.95   $   10.00               $   169.75   $   169.75
 12/22/2019 Jose Antonio Morel               $10.00   76.17   $   10.00               $   180.83   $   180.83
 12/29/2019 Jose Antonio Morel               $10.00   58.13   $   10.00               $    90.67   $    90.67
   1/5/2020 Jose Antonio Morel               $10.00   70.95   $   11.00   $   70.95   $   170.23   $   241.18
  1/12/2020 Jose Antonio Morel               $10.00   76.05   $   11.00   $   76.05   $   198.28   $   274.33
  1/19/2020 Jose Antonio Morel               $10.00   74.62   $   11.00   $   74.62   $   190.39   $   265.01
  1/26/2020 Jose Antonio Morel               $10.00   76.78   $   11.00   $   76.78   $   202.31   $   279.09
 12/29/2019 Jose Antonio Rodriguez           $10.00   54.00   $   10.00               $    70.00   $    70.00
   1/5/2020 Jose Antonio Rodriguez           $10.00   52.00   $   11.00   $   52.00   $    66.00   $   118.00
  1/12/2020 Jose Antonio Rodriguez           $10.00   49.32   $   11.00   $   49.32   $    51.24   $   100.56
  1/19/2020 Jose Antonio Rodriguez           $10.00   45.68   $   11.00   $   45.68   $    31.26   $    76.94
 10/15/2017 Jose Arias                        $9.00   58.73   $    8.44               $    84.30   $    84.30
 10/22/2017 Jose Arias                        $9.00   60.33   $    8.44               $    91.50   $    91.50
 10/29/2017 Jose Arias                        $9.00   49.78   $    8.44               $    44.03   $    44.03
  11/5/2017 Jose Arias                        $9.00   60.17   $    8.44               $    90.75   $    90.75
 11/12/2017 Jose Arias                        $9.00   49.12   $    8.44               $    41.03   $    41.03
 11/19/2017 Jose Arias                        $9.00   60.53   $    8.44               $    92.40   $    92.40
 11/26/2017 Jose Arias                        $9.00   50.33   $    8.44               $    46.50   $    46.50
  12/3/2017 Jose Arias                        $9.00   60.32   $    8.44               $    91.43   $    91.43
 12/10/2017 Jose Arias                        $9.00   59.43   $    8.44               $    87.45   $    87.45
 12/17/2017 Jose Arias                        $9.00   50.52   $    8.44               $    47.33   $    47.33
  4/14/2019 Jose B. Ramos Quinteros          $10.50   45.07   $    8.85               $    26.60   $    26.60
  4/21/2019 Jose B. Ramos Quinteros          $10.50   66.95   $    8.85               $   141.49   $   141.49
  4/28/2019 Jose B. Ramos Quinteros          $10.50   71.32   $    8.85               $   164.41   $   164.41
   5/5/2019 Jose B. Ramos Quinteros          $10.50   70.50   $    8.85               $   160.13   $   160.13
  5/12/2019 Jose B. Ramos Quinteros          $10.50   58.15   $    8.85               $    95.29   $    95.29
  5/19/2019 Jose B. Ramos Quinteros          $10.50   67.05   $    8.85               $   142.01   $   142.01
  5/26/2019 Jose B. Ramos Quinteros          $10.50   69.95   $    8.85               $   157.24   $   157.24
   6/2/2019 Jose B. Ramos Quinteros          $10.50   65.10   $    8.85               $   131.78   $   131.78
   6/9/2019 Jose B. Ramos Quinteros          $10.50   67.52   $    8.85               $   144.46   $   144.46
  6/16/2019 Jose B. Ramos Quinteros          $10.50   69.13   $    8.85               $   152.95   $   152.95



                                               333
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 335 of 683 PageID: 1182
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  6/23/2019 Jose B. Ramos Quinteros          $10.50   67.28   $    8.85               $   143.24   $   143.24
  6/30/2019 Jose B. Ramos Quinteros          $10.50   74.40   $   10.00               $   180.60   $   180.60
   7/7/2019 Jose B. Ramos Quinteros          $10.50   57.33   $   10.00               $    91.00   $    91.00
  7/14/2019 Jose B. Ramos Quinteros          $10.50   69.70   $   10.00               $   155.93   $   155.93
  7/21/2019 Jose B. Ramos Quinteros          $10.50   68.07   $   10.00               $   147.35   $   147.35
  7/28/2019 Jose B. Ramos Quinteros          $10.50   71.42   $   10.00               $   164.94   $   164.94
   8/4/2019 Jose B. Ramos Quinteros          $10.50   71.03   $   10.00               $   162.93   $   162.93
  8/11/2019 Jose B. Ramos Quinteros          $10.50   70.05   $   10.00               $   157.76   $   157.76
  8/18/2019 Jose B. Ramos Quinteros          $10.50   70.07   $   10.00               $   157.85   $   157.85
  8/25/2019 Jose B. Ramos Quinteros          $10.50   71.12   $   10.00               $   163.36   $   163.36
   9/1/2019 Jose B. Ramos Quinteros          $10.50   58.68   $   10.00               $    98.09   $    98.09
   9/8/2019 Jose B. Ramos Quinteros          $10.50   66.50   $   10.00               $   139.13   $   139.13
  9/15/2019 Jose B. Ramos Quinteros          $10.50   68.72   $   10.00               $   150.76   $   150.76
  9/22/2019 Jose B. Ramos Quinteros          $10.50   71.12   $   10.00               $   163.36   $   163.36
  9/29/2019 Jose B. Ramos Quinteros          $10.50   70.73   $   10.00               $   161.35   $   161.35
  10/6/2019 Jose B. Ramos Quinteros          $10.50   69.05   $   10.00               $   152.51   $   152.51
 10/13/2019 Jose B. Ramos Quinteros          $10.50   70.08   $   10.00               $   157.94   $   157.94
 10/20/2019 Jose B. Ramos Quinteros          $10.50   69.65   $   10.00               $   155.66   $   155.66
 10/27/2019 Jose B. Ramos Quinteros          $10.50   69.42   $   10.00               $   154.44   $   154.44
  11/3/2019 Jose B. Ramos Quinteros          $10.50   69.43   $   10.00               $   154.53   $   154.53
 11/10/2019 Jose B. Ramos Quinteros          $10.50   70.28   $   10.00               $   158.99   $   158.99
 11/17/2019 Jose B. Ramos Quinteros          $10.50   69.07   $   10.00               $   152.60   $   152.60
 11/24/2019 Jose B. Ramos Quinteros          $10.50   69.65   $   10.00               $   155.66   $   155.66
  12/1/2019 Jose B. Ramos Quinteros          $10.50   58.27   $   10.00               $    95.90   $    95.90
  12/8/2019 Jose B. Ramos Quinteros          $10.50   68.20   $   10.00               $   148.05   $   148.05
 12/15/2019 Jose B. Ramos Quinteros          $10.50   68.67   $   10.00               $   150.50   $   150.50
 12/22/2019 Jose B. Ramos Quinteros          $10.50   69.08   $   10.00               $   152.69   $   152.69
 12/29/2019 Jose B. Ramos Quinteros          $10.50   53.28   $   10.00               $    69.74   $    69.74
   1/5/2020 Jose B. Ramos Quinteros          $10.50   67.25   $   11.00   $   33.63   $   149.88   $   183.50
  1/12/2020 Jose B. Ramos Quinteros          $10.50   69.97   $   11.00   $   34.98   $   164.82   $   199.80
  1/19/2020 Jose B. Ramos Quinteros          $10.50   67.60   $   11.00   $   33.80   $   151.80   $   185.60
  1/26/2020 Jose B. Ramos Quinteros          $10.50   68.83   $   11.00   $   34.42   $   158.58   $   193.00
 12/10/2017 Jose Bonilla                     $10.00   57.45   $    8.44               $    87.25   $    87.25
 12/17/2017 Jose Bonilla                     $10.00   60.62   $    8.44               $   103.08   $   103.08
 12/24/2017 Jose Bonilla                     $10.00   51.35   $    8.44               $    56.75   $    56.75
 12/31/2017 Jose Bonilla                     $10.00   53.42   $    8.44               $    67.08   $    67.08
   1/7/2018 Jose Bonilla                     $10.00   50.12   $    8.60               $    50.58   $    50.58
  1/14/2018 Jose Bonilla                     $10.00   60.18   $    8.60               $   100.92   $   100.92
  1/21/2018 Jose Bonilla                     $10.00   52.17   $    8.60               $    60.83   $    60.83
  1/28/2018 Jose Bonilla                     $10.00   65.02   $    8.60               $   125.08   $   125.08
   2/4/2018 Jose Bonilla                     $10.00   41.75   $    8.60               $     8.75   $     8.75
  2/11/2018 Jose Bonilla                     $10.00   58.57   $    8.60               $    92.83   $    92.83
  2/18/2018 Jose Bonilla                     $10.00   63.38   $    8.60               $   116.92   $   116.92
  2/17/2019 Jose Carlos Alvarado              $9.50   45.30   $    8.85               $    25.18   $    25.18
  2/24/2019 Jose Carlos Alvarado              $9.50   55.05   $    8.85               $    71.49   $    71.49
   3/3/2019 Jose Carlos Alvarado              $9.50   57.38   $    8.85               $    82.57   $    82.57
  3/10/2019 Jose Carlos Alvarado              $9.50   51.10   $    8.85               $    52.73   $    52.73
  3/17/2019 Jose Carlos Alvarado              $9.50   60.28   $    8.85               $    96.35   $    96.35
  3/24/2019 Jose Carlos Alvarado              $9.50   51.20   $    8.85               $    53.20   $    53.20
  3/31/2019 Jose Carlos Alvarado              $9.50   62.15   $    8.85               $   105.21   $   105.21



                                               334
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 336 of 683 PageID: 1183
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

   4/7/2019 Jose Carlos Alvarado              $9.50   60.78   $   8.85          $    98.72   $     98.72
  4/14/2019 Jose Carlos Alvarado              $9.50   58.85   $   8.85          $    89.54   $     89.54
  4/21/2019 Jose Carlos Alvarado              $9.50   61.10   $   8.85          $   100.23   $    100.23
  4/28/2019 Jose Carlos Alvarado              $9.50   60.35   $   8.85          $    96.66   $     96.66
   5/5/2019 Jose Carlos Alvarado              $9.50   61.80   $   8.85          $   103.55   $    103.55
  10/8/2017 Jose Carlos Camacho              $12.00   61.65   $   8.44          $   129.90   $    129.90
 10/15/2017 Jose Carlos Camacho              $12.00   72.63   $   8.44          $   195.80   $    195.80
 10/22/2017 Jose Carlos Camacho              $12.00   68.50   $   8.44          $   171.00   $    171.00
 10/29/2017 Jose Carlos Camacho              $12.00   71.67   $   8.44          $   190.00   $    190.00
  11/5/2017 Jose Carlos Camacho              $12.00   43.28   $   8.44          $    19.70   $     19.70
 11/12/2017 Jose Carlos Camacho              $12.00   59.87   $   8.44          $   119.20   $    119.20
 11/19/2017 Jose Carlos Camacho              $12.00   62.70   $   8.44          $   136.20   $    136.20
 11/26/2017 Jose Carlos Camacho              $12.00   60.68   $   8.44          $   124.10   $    124.10
  12/3/2017 Jose Carlos Camacho              $12.00   63.32   $   8.44          $   139.90   $    139.90
 12/10/2017 Jose Carlos Camacho              $12.00   71.60   $   8.44          $   189.60   $    189.60
 12/17/2017 Jose Carlos Camacho              $12.00   71.60   $   8.44          $   189.60   $    189.60
 12/24/2017 Jose Carlos Camacho              $12.00   71.83   $   8.44          $   191.00   $    191.00
 12/31/2017 Jose Carlos Camacho              $12.00   47.62   $   8.44          $    45.70   $     45.70
  1/14/2018 Jose Carlos Camacho              $12.00   72.52   $   8.60          $   195.10   $    195.10
  1/21/2018 Jose Carlos Camacho              $12.00   72.50   $   8.60          $   195.00   $    195.00
  1/28/2018 Jose Carlos Camacho              $12.00   70.82   $   8.60          $   184.90   $    184.90
   2/4/2018 Jose Carlos Camacho              $12.00   68.68   $   8.60          $   172.10   $    172.10
  2/11/2018 Jose Carlos Camacho              $12.00   61.43   $   8.60          $   128.60   $    128.60
  2/18/2018 Jose Carlos Camacho              $12.00   62.82   $   8.60          $   136.90   $    136.90
  2/25/2018 Jose Carlos Camacho              $12.00   71.03   $   8.60          $   186.20   $    186.20
   3/4/2018 Jose Carlos Camacho              $12.00   71.93   $   8.60          $   191.60   $    191.60
  3/25/2018 Jose Carlos Camacho              $12.00   57.40   $   8.60          $   104.40   $    104.40
   4/1/2018 Jose Carlos Camacho              $12.00   72.85   $   8.60          $   197.10   $    197.10
   4/8/2018 Jose Carlos Camacho              $12.00   71.70   $   8.60          $   190.20   $    190.20
  4/15/2018 Jose Carlos Camacho              $12.00   71.65   $   8.60          $   189.90   $    189.90
  4/22/2018 Jose Carlos Camacho              $12.00   71.53   $   8.60          $   189.20   $    189.20
  4/29/2018 Jose Carlos Camacho              $12.00   72.52   $   8.60          $   195.10   $    195.10
   5/6/2018 Jose Carlos Camacho              $12.00   59.78   $   8.60          $   118.70   $    118.70
  5/13/2018 Jose Carlos Camacho              $12.00   73.12   $   8.60          $   198.70   $    198.70
  5/20/2018 Jose Carlos Camacho              $12.00   71.93   $   8.60          $   191.60   $    191.60
  5/27/2018 Jose Carlos Camacho              $12.00   72.35   $   8.60          $   194.10   $    194.10
   6/3/2018 Jose Carlos Camacho              $12.00   69.72   $   8.60          $   178.30   $    178.30
  6/10/2018 Jose Carlos Camacho              $12.00   73.45   $   8.60          $   200.70   $    200.70
  6/17/2018 Jose Carlos Camacho              $12.00   72.22   $   8.60          $   193.30   $    193.30
  6/24/2018 Jose Carlos Camacho              $12.00   60.82   $   8.60          $   124.90   $    124.90
   7/1/2018 Jose Carlos Camacho              $12.00   61.98   $   8.60          $   131.90   $    131.90
   7/8/2018 Jose Carlos Camacho              $12.00   69.18   $   8.60          $   175.10   $    175.10
  7/15/2018 Jose Carlos Camacho              $12.00   74.90   $   8.60          $   209.40   $    209.40
  7/22/2018 Jose Carlos Camacho              $12.00   72.12   $   8.60          $   192.70   $    192.70
  7/29/2018 Jose Carlos Camacho              $12.00   60.30   $   8.60          $   121.80   $    121.80
   8/5/2018 Jose Carlos Camacho              $12.00   76.13   $   8.60          $   216.80   $    216.80
  8/12/2018 Jose Carlos Camacho              $12.00   66.92   $   8.60          $   161.50   $    161.50
  8/19/2018 Jose Carlos Camacho              $12.00   78.30   $   8.60          $   229.80   $    229.80
  8/26/2018 Jose Carlos Camacho              $12.00   73.47   $   8.60          $   200.80   $    200.80
   9/2/2018 Jose Carlos Camacho              $12.00   73.47   $   8.60          $   200.80   $    200.80



                                               335
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 337 of 683 PageID: 1184
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

   9/9/2018 Jose Carlos Camacho             $12.00   69.35   $    8.60         $   176.10   $    176.10
  9/16/2018 Jose Carlos Camacho             $12.00   54.35   $    8.60         $    86.10   $     86.10
  9/23/2018 Jose Carlos Camacho             $12.00   74.63   $    8.60         $   207.80   $    207.80
  9/30/2018 Jose Carlos Camacho             $12.00   78.40   $    8.60         $   230.40   $    230.40
  10/7/2018 Jose Carlos Camacho             $12.00   61.52   $    8.60         $   129.10   $    129.10
 10/14/2018 Jose Carlos Camacho             $12.00   74.40   $    8.60         $   206.40   $    206.40
 10/21/2018 Jose Carlos Camacho             $12.00   73.83   $    8.60         $   203.00   $    203.00
 10/28/2018 Jose Carlos Camacho             $12.00   75.13   $    8.60         $   210.80   $    210.80
  11/4/2018 Jose Carlos Camacho             $12.00   75.33   $    8.60         $   212.00   $    212.00
 11/11/2018 Jose Carlos Camacho             $12.00   77.12   $    8.60         $   222.70   $    222.70
 11/18/2018 Jose Carlos Camacho             $12.00   74.93   $    8.60         $   209.60   $    209.60
 11/25/2018 Jose Carlos Camacho             $12.00   58.28   $    8.60         $   109.70   $    109.70
  12/2/2018 Jose Carlos Camacho             $12.00   71.25   $    8.60         $   187.50   $    187.50
  12/9/2018 Jose Carlos Camacho             $12.00   64.42   $    8.60         $   146.50   $    146.50
 12/16/2018 Jose Carlos Camacho             $12.00   71.62   $    8.60         $   189.70   $    189.70
 12/23/2018 Jose Carlos Camacho             $12.00   74.02   $    8.60         $   204.10   $    204.10
 12/30/2018 Jose Carlos Camacho             $12.00   53.22   $    8.60         $    79.30   $     79.30
   1/6/2019 Jose Carlos Camacho             $12.00   67.72   $    8.85         $   166.30   $    166.30
  1/13/2019 Jose Carlos Camacho             $12.00   72.08   $    8.85         $   192.50   $    192.50
  1/20/2019 Jose Carlos Camacho             $12.00   68.07   $    8.85         $   168.40   $    168.40
  1/27/2019 Jose Carlos Camacho             $12.00   56.93   $    8.85         $   101.60   $    101.60
   2/3/2019 Jose Carlos Camacho             $12.00   68.13   $    8.85         $   168.80   $    168.80
  2/10/2019 Jose Carlos Camacho             $12.00   70.80   $    8.85         $   184.80   $    184.80
  2/17/2019 Jose Carlos Camacho             $12.00   70.55   $    8.85         $   183.30   $    183.30
  2/24/2019 Jose Carlos Camacho             $12.00   71.10   $    8.85         $   186.60   $    186.60
   3/3/2019 Jose Carlos Camacho             $12.00   72.32   $    8.85         $   193.90   $    193.90
  3/10/2019 Jose Carlos Camacho             $12.00   72.45   $    8.85         $   194.70   $    194.70
  3/17/2019 Jose Carlos Camacho             $12.00   57.73   $    8.85         $   106.40   $    106.40
  3/24/2019 Jose Carlos Camacho             $12.00   73.47   $    8.85         $   200.80   $    200.80
  3/31/2019 Jose Carlos Camacho             $12.00   76.30   $    8.85         $   217.80   $    217.80
   4/7/2019 Jose Carlos Camacho             $12.00   75.92   $    8.85         $   215.50   $    215.50
  4/14/2019 Jose Carlos Camacho             $12.00   76.33   $    8.85         $   218.00   $    218.00
  4/21/2019 Jose Carlos Camacho             $12.00   76.02   $    8.85         $   216.10   $    216.10
  4/28/2019 Jose Carlos Camacho             $12.00   72.57   $    8.85         $   195.40   $    195.40
   5/5/2019 Jose Carlos Camacho             $12.00   74.17   $    8.85         $   205.00   $    205.00
  5/12/2019 Jose Carlos Camacho             $12.00   59.87   $    8.85         $   119.20   $    119.20
  5/19/2019 Jose Carlos Camacho             $12.00   72.23   $    8.85         $   193.40   $    193.40
  5/26/2019 Jose Carlos Camacho             $12.00   72.15   $    8.85         $   192.90   $    192.90
   6/2/2019 Jose Carlos Camacho             $12.00   72.57   $    8.85         $   195.40   $    195.40
   6/9/2019 Jose Carlos Camacho             $12.00   76.73   $    8.85         $   220.40   $    220.40
  6/16/2019 Jose Carlos Camacho             $12.00   73.03   $    8.85         $   198.20   $    198.20
  6/23/2019 Jose Carlos Camacho             $12.00   67.58   $    8.85         $   165.50   $    165.50
  6/30/2019 Jose Carlos Camacho             $12.00   73.72   $   10.00         $   202.30   $    202.30
   7/7/2019 Jose Carlos Camacho             $12.00   57.73   $   10.00         $   106.40   $    106.40
  7/14/2019 Jose Carlos Camacho             $12.00   73.20   $   10.00         $   199.20   $    199.20
  7/21/2019 Jose Carlos Camacho             $12.00   72.98   $   10.00         $   197.90   $    197.90
  7/28/2019 Jose Carlos Camacho             $12.00   73.03   $   10.00         $   198.20   $    198.20
   8/4/2019 Jose Carlos Camacho             $12.00   72.27   $   10.00         $   193.60   $    193.60
  8/11/2019 Jose Carlos Camacho             $12.00   71.93   $   10.00         $   191.60   $    191.60
  8/18/2019 Jose Carlos Camacho             $12.00   58.58   $   10.00         $   111.50   $    111.50



                                              336
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 338 of 683 PageID: 1185
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  8/25/2019 Jose Carlos Camacho             $12.00   71.35   $   10.00         $   188.10   $    188.10
   9/1/2019 Jose Carlos Camacho             $12.00   72.20   $   10.00         $   193.20   $    193.20
   2/5/2017 Jose Carlos Yacute              $12.00   67.95   $    8.44         $   167.70   $    167.70
  2/12/2017 Jose Carlos Yacute              $12.00   66.38   $    8.44         $   158.30   $    158.30
  2/19/2017 Jose Carlos Yacute              $12.00   68.13   $    8.44         $   168.80   $    168.80
  2/26/2017 Jose Carlos Yacute              $12.00   70.52   $    8.44         $   183.10   $    183.10
   3/5/2017 Jose Carlos Yacute              $12.00   70.18   $    8.44         $   181.10   $    181.10
  3/12/2017 Jose Carlos Yacute              $12.00   70.00   $    8.44         $   180.00   $    180.00
  3/19/2017 Jose Carlos Yacute              $12.00   57.83   $    8.44         $   107.00   $    107.00
  3/26/2017 Jose Carlos Yacute              $12.00   70.18   $    8.44         $   181.10   $    181.10
   4/2/2017 Jose Carlos Yacute              $12.00   70.92   $    8.44         $   185.50   $    185.50
   4/9/2017 Jose Carlos Yacute              $12.00   71.57   $    8.44         $   189.40   $    189.40
  4/16/2017 Jose Carlos Yacute              $12.00   70.67   $    8.44         $   184.00   $    184.00
  4/23/2017 Jose Carlos Yacute              $12.00   48.23   $    8.44         $    49.40   $     49.40
  4/30/2017 Jose Carlos Yacute              $12.00   71.00   $    8.44         $   186.00   $    186.00
   5/7/2017 Jose Carlos Yacute              $12.00   71.47   $    8.44         $   188.80   $    188.80
  5/14/2017 Jose Carlos Yacute              $12.00   69.00   $    8.44         $   174.00   $    174.00
  5/21/2017 Jose Carlos Yacute              $12.00   70.73   $    8.44         $   184.40   $    184.40
  5/28/2017 Jose Carlos Yacute              $12.00   69.78   $    8.44         $   178.70   $    178.70
   6/4/2017 Jose Carlos Yacute              $12.00   67.05   $    8.44         $   162.30   $    162.30
  6/11/2017 Jose Carlos Yacute              $12.00   69.32   $    8.44         $   175.90   $    175.90
  6/18/2017 Jose Carlos Yacute              $12.00   70.25   $    8.44         $   181.50   $    181.50
  6/25/2017 Jose Carlos Yacute              $12.00   70.27   $    8.44         $   181.60   $    181.60
   7/2/2017 Jose Carlos Yacute              $12.00   70.40   $    8.44         $   182.40   $    182.40
   7/9/2017 Jose Carlos Yacute              $12.00   58.22   $    8.44         $   109.30   $    109.30
  7/16/2017 Jose Carlos Yacute              $12.00   69.98   $    8.44         $   179.90   $    179.90
  7/23/2017 Jose Carlos Yacute              $12.00   70.00   $    8.44         $   180.00   $    180.00
  7/30/2017 Jose Carlos Yacute              $12.00   71.70   $    8.44         $   190.20   $    190.20
   8/6/2017 Jose Carlos Yacute              $12.00   71.47   $    8.44         $   188.80   $    188.80
  8/13/2017 Jose Carlos Yacute              $12.00   70.83   $    8.44         $   185.00   $    185.00
  8/20/2017 Jose Carlos Yacute              $12.00   71.00   $    8.44         $   186.00   $    186.00
  8/27/2017 Jose Carlos Yacute              $12.00   70.05   $    8.44         $   180.30   $    180.30
   9/3/2017 Jose Carlos Yacute              $12.00   72.33   $    8.44         $   194.00   $    194.00
  9/10/2017 Jose Carlos Yacute              $12.00   61.93   $    8.44         $   131.60   $    131.60
  9/17/2017 Jose Carlos Yacute              $12.00   68.80   $    8.44         $   172.80   $    172.80
  9/24/2017 Jose Carlos Yacute              $12.00   71.42   $    8.44         $   188.50   $    188.50
  10/1/2017 Jose Carlos Yacute              $12.00   70.47   $    8.44         $   182.80   $    182.80
  10/8/2017 Jose Carlos Yacute              $12.00   72.22   $    8.44         $   193.30   $    193.30
 10/15/2017 Jose Carlos Yacute              $12.00   70.57   $    8.44         $   183.40   $    183.40
 10/22/2017 Jose Carlos Yacute              $12.00   70.03   $    8.44         $   180.20   $    180.20
 10/29/2017 Jose Carlos Yacute              $12.00   72.53   $    8.44         $   195.20   $    195.20
  11/5/2017 Jose Carlos Yacute              $12.00   73.83   $    8.44         $   203.00   $    203.00
 11/12/2017 Jose Carlos Yacute              $12.00   73.22   $    8.44         $   199.30   $    199.30
 11/19/2017 Jose Carlos Yacute              $12.00   73.28   $    8.44         $   199.70   $    199.70
 11/26/2017 Jose Carlos Yacute              $12.00   57.40   $    8.44         $   104.40   $    104.40
  12/3/2017 Jose Carlos Yacute              $12.00   74.53   $    8.44         $   207.20   $    207.20
 12/10/2017 Jose Carlos Yacute              $12.00   72.67   $    8.44         $   196.00   $    196.00
 12/17/2017 Jose Carlos Yacute              $12.00   70.15   $    8.44         $   180.90   $    180.90
 12/24/2017 Jose Carlos Yacute              $12.00   73.88   $    8.44         $   203.30   $    203.30
 12/31/2017 Jose Carlos Yacute              $12.00   61.70   $    8.44         $   130.20   $    130.20



                                              337
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 339 of 683 PageID: 1186
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

   1/7/2018 Jose Carlos Yacute                 $12.00   56.90   $   8.60          $   101.40   $    101.40
  1/14/2018 Jose Carlos Yacute                 $12.00   73.35   $   8.60          $   200.10   $    200.10
  1/21/2018 Jose Carlos Yacute                 $12.00   72.95   $   8.60          $   197.70   $    197.70
  1/28/2018 Jose Carlos Yacute                 $12.00   73.23   $   8.60          $   199.40   $    199.40
   2/4/2018 Jose Carlos Yacute                 $12.00   73.33   $   8.60          $   200.00   $    200.00
  2/11/2018 Jose Carlos Yacute                 $12.00   71.73   $   8.60          $   190.40   $    190.40
  2/18/2018 Jose Carlos Yacute                 $12.00   72.37   $   8.60          $   194.20   $    194.20
  2/25/2018 Jose Carlos Yacute                 $12.00   74.13   $   8.60          $   204.80   $    204.80
   3/4/2018 Jose Carlos Yacute                 $12.00   70.90   $   8.60          $   185.40   $    185.40
  3/25/2018 Jose Carlos Yacute                 $12.00   69.73   $   8.60          $   178.40   $    178.40
   4/1/2018 Jose Carlos Yacute                 $12.00   71.47   $   8.60          $   188.80   $    188.80
   4/8/2018 Jose Carlos Yacute                 $12.00   73.70   $   8.60          $   202.20   $    202.20
  4/15/2018 Jose Carlos Yacute                 $12.00   71.35   $   8.60          $   188.10   $    188.10
  4/22/2018 Jose Carlos Yacute                 $12.00   73.35   $   8.60          $   200.10   $    200.10
  4/29/2018 Jose Carlos Yacute                 $12.00   73.43   $   8.60          $   200.60   $    200.60
   5/6/2018 Jose Carlos Yacute                 $12.00   73.37   $   8.60          $   200.20   $    200.20
  5/13/2018 Jose Carlos Yacute                 $12.00   73.43   $   8.60          $   200.60   $    200.60
  5/20/2018 Jose Carlos Yacute                 $12.00   73.77   $   8.60          $   202.60   $    202.60
  5/27/2018 Jose Carlos Yacute                 $12.00   73.25   $   8.60          $   199.50   $    199.50
   6/3/2018 Jose Carlos Yacute                 $12.00   70.32   $   8.60          $   181.90   $    181.90
  6/10/2018 Jose Carlos Yacute                 $12.00   74.15   $   8.60          $   204.90   $    204.90
  6/17/2018 Jose Carlos Yacute                 $12.00   73.62   $   8.60          $   201.70   $    201.70
  6/24/2018 Jose Carlos Yacute                 $12.00   73.55   $   8.60          $   201.30   $    201.30
   7/1/2018 Jose Carlos Yacute                 $12.00   72.68   $   8.60          $   196.10   $    196.10
   7/8/2018 Jose Carlos Yacute                 $12.00   59.57   $   8.60          $   117.40   $    117.40
  7/15/2018 Jose Carlos Yacute                 $12.00   69.37   $   8.60          $   176.20   $    176.20
  7/22/2018 Jose Carlos Yacute                 $12.00   71.90   $   8.60          $   191.40   $    191.40
  7/29/2018 Jose Carlos Yacute                 $12.00   70.83   $   8.60          $   185.00   $    185.00
   8/5/2018 Jose Carlos Yacute                 $12.00   73.30   $   8.60          $   199.80   $    199.80
  8/12/2018 Jose Carlos Yacute                 $12.00   68.65   $   8.60          $   171.90   $    171.90
  8/19/2018 Jose Carlos Yacute                 $12.00   69.95   $   8.60          $   179.70   $    179.70
  8/26/2018 Jose Carlos Yacute                 $12.00   71.95   $   8.60          $   191.70   $    191.70
   9/2/2018 Jose Carlos Yacute                 $12.00   73.62   $   8.60          $   201.70   $    201.70
   9/9/2018 Jose Carlos Yacute                 $12.00   68.23   $   8.60          $   169.40   $    169.40
  9/16/2018 Jose Carlos Yacute                 $12.00   72.52   $   8.60          $   195.10   $    195.10
  9/23/2018 Jose Carlos Yacute                 $12.00   71.30   $   8.60          $   187.80   $    187.80
  9/30/2018 Jose Carlos Yacute                 $12.00   72.00   $   8.60          $   192.00   $    192.00
  10/7/2018 Jose Carlos Yacute                 $12.00   72.90   $   8.60          $   197.40   $    197.40
 10/14/2018 Jose Carlos Yacute                 $12.00   71.20   $   8.60          $   187.20   $    187.20
 10/21/2018 Jose Carlos Yacute                 $12.00   71.42   $   8.60          $   188.50   $    188.50
 10/28/2018 Jose Carlos Yacute                 $12.00   71.00   $   8.60          $   186.00   $    186.00
  11/4/2018 Jose Carlos Yacute                 $12.00   71.18   $   8.60          $   187.10   $    187.10
 11/11/2018 Jose Carlos Yacute                 $12.00   71.87   $   8.60          $   191.20   $    191.20
 11/18/2018 Jose Carlos Yacute                 $12.00   69.33   $   8.60          $   176.00   $    176.00
 11/25/2018 Jose Carlos Yacute                 $12.00   58.60   $   8.60          $   111.60   $    111.60
  12/2/2018 Jose Carlos Yacute                 $12.00   72.15   $   8.60          $   192.90   $    192.90
  12/9/2018 Jose Carlos Yacute                 $12.00   70.63   $   8.60          $   183.80   $    183.80
 12/16/2018 Jose Carlos Yacute                 $12.00   70.95   $   8.60          $   185.70   $    185.70
 12/23/2018 Jose Carlos Yacute                 $12.00   69.22   $   8.60          $   175.30   $    175.30
 12/30/2018 Jose Carlos Yacute                 $12.00   52.85   $   8.60          $    77.10   $     77.10



                                                 338
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 340 of 683 PageID: 1187
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

   1/6/2019 Jose Carlos Yacute                 $12.00   62.22   $    8.85         $   133.30   $    133.30
  1/13/2019 Jose Carlos Yacute                 $12.00   71.47   $    8.85         $   188.80   $    188.80
  1/20/2019 Jose Carlos Yacute                 $12.00   73.07   $    8.85         $   198.40   $    198.40
  1/27/2019 Jose Carlos Yacute                 $12.00   72.37   $    8.85         $   194.20   $    194.20
   2/3/2019 Jose Carlos Yacute                 $12.00   74.08   $    8.85         $   204.50   $    204.50
  2/10/2019 Jose Carlos Yacute                 $12.00   72.67   $    8.85         $   196.00   $    196.00
  2/17/2019 Jose Carlos Yacute                 $12.00   67.12   $    8.85         $   162.70   $    162.70
  2/24/2019 Jose Carlos Yacute                 $12.00   70.40   $    8.85         $   182.40   $    182.40
   3/3/2019 Jose Carlos Yacute                 $12.00   72.93   $    8.85         $   197.60   $    197.60
  3/10/2019 Jose Carlos Yacute                 $12.00   69.97   $    8.85         $   179.80   $    179.80
  3/17/2019 Jose Carlos Yacute                 $12.00   72.18   $    8.85         $   193.10   $    193.10
  3/24/2019 Jose Carlos Yacute                 $12.00   72.65   $    8.85         $   195.90   $    195.90
  3/31/2019 Jose Carlos Yacute                 $12.00   70.55   $    8.85         $   183.30   $    183.30
   4/7/2019 Jose Carlos Yacute                 $12.00   71.28   $    8.85         $   187.70   $    187.70
  4/14/2019 Jose Carlos Yacute                 $12.00   70.70   $    8.85         $   184.20   $    184.20
  4/21/2019 Jose Carlos Yacute                 $12.00   71.85   $    8.85         $   191.10   $    191.10
  4/28/2019 Jose Carlos Yacute                 $12.00   72.72   $    8.85         $   196.30   $    196.30
   5/5/2019 Jose Carlos Yacute                 $12.00   73.12   $    8.85         $   198.70   $    198.70
  5/12/2019 Jose Carlos Yacute                 $12.00   71.50   $    8.85         $   189.00   $    189.00
  5/19/2019 Jose Carlos Yacute                 $12.00   69.73   $    8.85         $   178.40   $    178.40
  5/26/2019 Jose Carlos Yacute                 $12.00   73.02   $    8.85         $   198.10   $    198.10
   6/2/2019 Jose Carlos Yacute                 $12.00   68.83   $    8.85         $   173.00   $    173.00
   6/9/2019 Jose Carlos Yacute                 $12.00   71.48   $    8.85         $   188.90   $    188.90
  6/16/2019 Jose Carlos Yacute                 $12.00   69.08   $    8.85         $   174.50   $    174.50
  6/23/2019 Jose Carlos Yacute                 $12.00   70.37   $    8.85         $   182.20   $    182.20
  6/30/2019 Jose Carlos Yacute                 $12.00   68.92   $   10.00         $   173.50   $    173.50
   7/7/2019 Jose Carlos Yacute                 $12.00   60.45   $   10.00         $   122.70   $    122.70
  7/14/2019 Jose Carlos Yacute                 $12.00   71.72   $   10.00         $   190.30   $    190.30
  7/21/2019 Jose Carlos Yacute                 $12.00   70.23   $   10.00         $   181.40   $    181.40
  7/28/2019 Jose Carlos Yacute                 $12.00   71.28   $   10.00         $   187.70   $    187.70
   8/4/2019 Jose Carlos Yacute                 $12.00   73.00   $   10.00         $   198.00   $    198.00
  8/11/2019 Jose Carlos Yacute                 $12.00   71.27   $   10.00         $   187.60   $    187.60
  8/18/2019 Jose Carlos Yacute                 $12.00   70.77   $   10.00         $   184.60   $    184.60
  8/25/2019 Jose Carlos Yacute                 $12.00   74.02   $   10.00         $   204.10   $    204.10
   9/1/2019 Jose Carlos Yacute                 $12.00   72.05   $   10.00         $   192.30   $    192.30
   9/8/2019 Jose Carlos Yacute                 $12.00   68.42   $   10.00         $   170.50   $    170.50
  9/15/2019 Jose Carlos Yacute                 $12.00   69.78   $   10.00         $   178.70   $    178.70
  9/22/2019 Jose Carlos Yacute                 $12.00   70.82   $   10.00         $   184.90   $    184.90
  9/29/2019 Jose Carlos Yacute                 $12.00   71.77   $   10.00         $   190.60   $    190.60
  10/6/2019 Jose Carlos Yacute                 $12.00   70.70   $   10.00         $   184.20   $    184.20
 10/13/2019 Jose Carlos Yacute                 $12.00   68.45   $   10.00         $   170.70   $    170.70
 10/20/2019 Jose Carlos Yacute                 $12.00   70.13   $   10.00         $   180.80   $    180.80
 10/27/2019 Jose Carlos Yacute                 $12.00   70.42   $   10.00         $   182.50   $    182.50
  11/3/2019 Jose Carlos Yacute                 $12.00   70.72   $   10.00         $   184.30   $    184.30
 11/10/2019 Jose Carlos Yacute                 $12.00   69.65   $   10.00         $   177.90   $    177.90
 11/17/2019 Jose Carlos Yacute                 $12.00   70.95   $   10.00         $   185.70   $    185.70
 11/24/2019 Jose Carlos Yacute                 $12.00   70.25   $   10.00         $   181.50   $    181.50
  12/1/2019 Jose Carlos Yacute                 $12.00   56.80   $   10.00         $   100.80   $    100.80
  12/8/2019 Jose Carlos Yacute                 $12.00   69.12   $   10.00         $   174.70   $    174.70
 12/15/2019 Jose Carlos Yacute                 $12.00   70.55   $   10.00         $   183.30   $    183.30



                                                 339
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 341 of 683 PageID: 1188
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

 12/22/2019 Jose Carlos Yacute                 $12.00   69.25   $   10.00         $   175.50   $    175.50
 12/29/2019 Jose Carlos Yacute                 $12.00   51.80   $   10.00         $    70.80   $     70.80
   1/5/2020 Jose Carlos Yacute                 $12.00   53.83   $   11.00         $    83.00   $     83.00
  1/12/2020 Jose Carlos Yacute                 $12.00   68.65   $   11.00         $   171.90   $    171.90
  1/19/2020 Jose Carlos Yacute                 $12.00   70.80   $   11.00         $   184.80   $    184.80
  1/26/2020 Jose Carlos Yacute                 $12.00   71.63   $   11.00         $   189.80   $    189.80
   4/2/2017 Jose Celesten                      $19.50   51.02   $    8.44         $   107.41   $    107.41
   4/9/2017 Jose Celesten                      $19.50   57.60   $    8.44         $   171.60   $    171.60
  4/16/2017 Jose Celesten                      $19.50   55.82   $    8.44         $   154.21   $    154.21
  4/23/2017 Jose Celesten                      $19.50   59.00   $    8.44         $   185.25   $    185.25
  4/30/2017 Jose Celesten                      $19.50   64.20   $    8.44         $   235.95   $    235.95
   5/7/2017 Jose Celesten                      $19.50   57.35   $    8.44         $   169.16   $    169.16
  5/14/2017 Jose Celesten                      $19.50   59.75   $    8.44         $   192.56   $    192.56
  5/21/2017 Jose Celesten                      $19.50   47.35   $    8.44         $    71.66   $     71.66
  5/28/2017 Jose Celesten                      $19.50   61.90   $    8.44         $   213.53   $    213.53
   6/4/2017 Jose Celesten                      $19.50   59.93   $    8.44         $   194.35   $    194.35
  6/11/2017 Jose Celesten                      $19.50   60.00   $    8.44         $   195.00   $    195.00
  6/18/2017 Jose Celesten                      $19.50   57.77   $    8.44         $   173.23   $    173.23
  6/25/2017 Jose Celesten                      $19.50   58.43   $    8.44         $   179.73   $    179.73
   7/2/2017 Jose Celesten                      $19.50   64.13   $    8.44         $   235.30   $    235.30
   7/9/2017 Jose Celesten                      $19.50   52.98   $    8.44         $   126.59   $    126.59
  7/16/2017 Jose Celesten                      $19.50   41.07   $    8.44         $    10.40   $     10.40
  7/23/2017 Jose Celesten                      $19.50   62.48   $    8.44         $   219.21   $    219.21
  7/30/2017 Jose Celesten                      $19.50   59.07   $    8.44         $   185.90   $    185.90
   8/6/2017 Jose Celesten                      $19.50   61.23   $    8.44         $   207.03   $    207.03
  8/13/2017 Jose Celesten                      $19.50   47.63   $    8.44         $    74.43   $     74.43
  8/20/2017 Jose Celesten                      $19.50   49.42   $    8.44         $    91.81   $     91.81
  8/27/2017 Jose Celesten                      $19.50   63.05   $    8.44         $   224.74   $    224.74
   9/3/2017 Jose Celesten                      $19.50   64.57   $    8.44         $   239.53   $    239.53
  9/10/2017 Jose Celesten                      $19.50   47.02   $    8.44         $    68.41   $     68.41
  9/17/2017 Jose Celesten                      $19.50   60.63   $    8.44         $   201.18   $    201.18
  9/24/2017 Jose Celesten                      $19.50   56.27   $    8.44         $   158.60   $    158.60
  10/8/2017 Jose Celesten                      $19.50   53.73   $    8.44         $   133.90   $    133.90
 10/15/2017 Jose Celesten                      $19.50   58.58   $    8.44         $   181.19   $    181.19
 10/22/2017 Jose Celesten                      $19.50   60.17   $    8.44         $   196.63   $    196.63
 10/29/2017 Jose Celesten                      $19.50   52.50   $    8.44         $   121.88   $    121.88
  11/5/2017 Jose Celesten                      $19.50   56.53   $    8.44         $   161.20   $    161.20
 11/12/2017 Jose Celesten                      $19.50   48.48   $    8.44         $    82.71   $     82.71
 11/19/2017 Jose Celesten                      $19.50   56.33   $    8.44         $   159.25   $    159.25
  12/3/2017 Jose Celesten                      $19.50   60.15   $    8.44         $   196.46   $    196.46
 12/10/2017 Jose Celesten                      $19.50   58.47   $    8.44         $   180.05   $    180.05
 12/17/2017 Jose Celesten                      $19.50   51.92   $    8.44         $   116.19   $    116.19
 12/24/2017 Jose Celesten                      $19.50   51.03   $    8.44         $   107.58   $    107.58
 12/31/2017 Jose Celesten                      $19.50   52.37   $    8.44         $   120.58   $    120.58
   1/7/2018 Jose Celesten                      $19.50   52.53   $    8.60         $   122.20   $    122.20
  1/14/2018 Jose Celesten                      $19.50   54.92   $    8.60         $   145.44   $    145.44
  1/21/2018 Jose Celesten                      $19.50   57.77   $    8.60         $   173.23   $    173.23
  1/28/2018 Jose Celesten                      $19.50   56.17   $    8.60         $   157.63   $    157.63
   2/4/2018 Jose Celesten                      $19.50   62.58   $    8.60         $   220.19   $    220.19
  2/11/2018 Jose Celesten                      $19.50   47.77   $    8.60         $    75.73   $     75.73



                                                 340
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 342 of 683 PageID: 1189
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

  2/18/2018 Jose Celesten                 $19.50   53.37   $   8.60          $   130.33   $    130.33
  2/25/2018 Jose Celesten                 $19.50   65.20   $   8.60          $   245.70   $    245.70
   3/4/2018 Jose Celesten                 $19.50   59.55   $   8.60          $   190.61   $    190.61
  3/25/2018 Jose Celesten                 $19.50   52.72   $   8.60          $   123.99   $    123.99
   4/1/2018 Jose Celesten                 $19.50   60.40   $   8.60          $   198.90   $    198.90
   4/8/2018 Jose Celesten                 $19.50   62.03   $   8.60          $   214.83   $    214.83
  4/15/2018 Jose Celesten                 $19.50   53.10   $   8.60          $   127.73   $    127.73
  4/22/2018 Jose Celesten                 $19.50   62.35   $   8.60          $   217.91   $    217.91
  4/29/2018 Jose Celesten                 $19.50   63.90   $   8.60          $   233.03   $    233.03
   5/6/2018 Jose Celesten                 $19.50   63.08   $   8.60          $   225.06   $    225.06
  5/13/2018 Jose Celesten                 $19.50   62.03   $   8.60          $   214.83   $    214.83
  5/20/2018 Jose Celesten                 $19.50   47.95   $   8.60          $    77.51   $     77.51
  5/27/2018 Jose Celesten                 $19.50   61.87   $   8.60          $   213.20   $    213.20
   6/3/2018 Jose Celesten                 $19.50   54.82   $   8.60          $   144.46   $    144.46
  6/10/2018 Jose Celesten                 $19.50   61.32   $   8.60          $   207.84   $    207.84
  6/17/2018 Jose Celesten                 $19.50   61.95   $   8.60          $   214.01   $    214.01
  6/24/2018 Jose Celesten                 $19.50   61.30   $   8.60          $   207.68   $    207.68
   7/1/2018 Jose Celesten                 $19.50   71.45   $   8.60          $   306.64   $    306.64
   7/8/2018 Jose Celesten                 $19.50   55.20   $   8.60          $   148.20   $    148.20
  7/15/2018 Jose Celesten                 $19.50   50.65   $   8.60          $   103.84   $    103.84
  7/22/2018 Jose Celesten                 $19.50   59.38   $   8.60          $   188.99   $    188.99
  7/29/2018 Jose Celesten                 $19.50   66.68   $   8.60          $   260.16   $    260.16
   8/5/2018 Jose Celesten                 $19.50   58.92   $   8.60          $   184.44   $    184.44
  8/12/2018 Jose Celesten                 $19.50   56.10   $   8.60          $   156.98   $    156.98
  8/19/2018 Jose Celesten                 $19.50   60.47   $   8.60          $   199.55   $    199.55
  8/26/2018 Jose Celesten                 $19.50   60.52   $   8.60          $   200.04   $    200.04
   9/2/2018 Jose Celesten                 $19.50   62.53   $   8.60          $   219.70   $    219.70
   9/9/2018 Jose Celesten                 $19.50   51.60   $   8.60          $   113.10   $    113.10
  9/16/2018 Jose Celesten                 $19.50   56.97   $   8.60          $   165.43   $    165.43
  9/23/2018 Jose Celesten                 $19.50   57.90   $   8.60          $   174.53   $    174.53
  9/30/2018 Jose Celesten                 $19.50   58.08   $   8.60          $   176.31   $    176.31
  10/7/2018 Jose Celesten                 $19.50   55.23   $   8.60          $   148.53   $    148.53
 10/21/2018 Jose Celesten                 $19.50   55.45   $   8.60          $   150.64   $    150.64
 10/28/2018 Jose Celesten                 $19.50   56.68   $   8.60          $   162.66   $    162.66
  11/4/2018 Jose Celesten                 $19.50   69.60   $   8.60          $   288.60   $    288.60
 11/11/2018 Jose Celesten                 $19.50   48.30   $   8.60          $    80.93   $     80.93
 11/18/2018 Jose Celesten                 $19.50   45.90   $   8.60          $    57.53   $     57.53
  12/2/2018 Jose Celesten                 $19.50   63.07   $   8.60          $   224.90   $    224.90
  12/9/2018 Jose Celesten                 $19.50   56.58   $   8.60          $   161.69   $    161.69
 12/16/2018 Jose Celesten                 $19.50   61.25   $   8.60          $   207.19   $    207.19
 12/23/2018 Jose Celesten                 $19.50   57.15   $   8.60          $   167.21   $    167.21
   1/6/2019 Jose Celesten                 $19.50   44.35   $   8.85          $    42.41   $     42.41
  1/13/2019 Jose Celesten                 $19.50   54.58   $   8.85          $   142.19   $    142.19
  1/27/2019 Jose Celesten                 $19.50   57.18   $   8.85          $   167.54   $    167.54
   2/3/2019 Jose Celesten                 $19.50   61.08   $   8.85          $   205.56   $    205.56
  2/10/2019 Jose Celesten                 $19.50   52.33   $   8.85          $   120.25   $    120.25
  2/17/2019 Jose Celesten                 $19.50   56.90   $   8.85          $   164.78   $    164.78
  2/24/2019 Jose Celesten                 $19.50   56.83   $   8.85          $   164.13   $    164.13
   3/3/2019 Jose Celesten                 $19.50   52.98   $   8.85          $   126.59   $    126.59
  3/10/2019 Jose Celesten                 $19.50   60.10   $   8.85          $   195.98   $    195.98



                                            341
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 343 of 683 PageID: 1190
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

  3/17/2019 Jose Celesten                      $19.50   54.98   $    8.85         $   146.09   $    146.09
  3/24/2019 Jose Celesten                      $19.50   57.33   $    8.85         $   169.00   $    169.00
  3/31/2019 Jose Celesten                      $19.50   64.80   $    8.85         $   241.80   $    241.80
   4/7/2019 Jose Celesten                      $19.50   60.87   $    8.85         $   203.45   $    203.45
  4/14/2019 Jose Celesten                      $19.50   52.43   $    8.85         $   121.23   $    121.23
  5/12/2019 Jose Celesten                      $19.50   61.55   $    8.85         $   210.11   $    210.11
  5/19/2019 Jose Celesten                      $19.50   59.73   $    8.85         $   192.40   $    192.40
  5/26/2019 Jose Celesten                      $19.50   51.72   $    8.85         $   114.24   $    114.24
   6/2/2019 Jose Celesten                      $19.50   54.22   $    8.85         $   138.61   $    138.61
   6/9/2019 Jose Celesten                      $19.50   52.58   $    8.85         $   122.69   $    122.69
  6/16/2019 Jose Celesten                      $19.50   58.18   $    8.85         $   177.29   $    177.29
  6/23/2019 Jose Celesten                      $19.50   57.97   $    8.85         $   175.18   $    175.18
  6/30/2019 Jose Celesten                      $19.50   58.75   $   10.00         $   182.81   $    182.81
   7/7/2019 Jose Celesten                      $19.50   47.77   $   10.00         $    75.73   $     75.73
  7/14/2019 Jose Celesten                      $19.50   56.50   $   10.00         $   160.88   $    160.88
  7/21/2019 Jose Celesten                      $19.50   48.23   $   10.00         $    80.27   $     80.27
  7/28/2019 Jose Celesten                      $19.50   58.30   $   10.00         $   178.43   $    178.43
   8/4/2019 Jose Celesten                      $19.50   55.57   $   10.00         $   151.78   $    151.78
  8/11/2019 Jose Celesten                      $19.50   57.92   $   10.00         $   174.69   $    174.69
  8/18/2019 Jose Celesten                      $19.50   61.07   $   10.00         $   205.40   $    205.40
  8/25/2019 Jose Celesten                      $19.50   57.33   $   10.00         $   169.00   $    169.00
   9/1/2019 Jose Celesten                      $19.50   59.97   $   10.00         $   194.68   $    194.68
   9/8/2019 Jose Celesten                      $19.50   48.97   $   10.00         $    87.43   $     87.43
  9/15/2019 Jose Celesten                      $19.50   56.85   $   10.00         $   164.29   $    164.29
  9/22/2019 Jose Celesten                      $19.50   58.53   $   10.00         $   180.70   $    180.70
  9/29/2019 Jose Celesten                      $19.50   57.52   $   10.00         $   170.79   $    170.79
  10/6/2019 Jose Celesten                      $19.50   45.52   $   10.00         $    53.79   $     53.79
 10/13/2019 Jose Celesten                      $19.50   57.47   $   10.00         $   170.30   $    170.30
 10/20/2019 Jose Celesten                      $19.50   58.55   $   10.00         $   180.86   $    180.86
 10/27/2019 Jose Celesten                      $19.50   57.12   $   10.00         $   166.89   $    166.89
  11/3/2019 Jose Celesten                      $19.50   45.68   $   10.00         $    55.41   $     55.41
 11/17/2019 Jose Celesten                      $19.50   56.33   $   10.00         $   159.25   $    159.25
 11/24/2019 Jose Celesten                      $19.50   58.62   $   10.00         $   181.51   $    181.51
  12/1/2019 Jose Celesten                      $19.50   48.00   $   10.00         $    78.00   $     78.00
  12/8/2019 Jose Celesten                      $19.50   45.17   $   10.00         $    50.37   $     50.37
 12/15/2019 Jose Celesten                      $19.50   53.73   $   10.00         $   133.90   $    133.90
 12/22/2019 Jose Celesten                      $19.50   56.15   $   10.00         $   157.46   $    157.46
 12/29/2019 Jose Celesten                      $19.50   44.15   $   10.00         $    40.46   $     40.46
  1/12/2020 Jose Celesten                      $19.50   58.23   $   11.00         $   177.78   $    177.78
  1/19/2020 Jose Celesten                      $19.50   57.67   $   11.00         $   172.25   $    172.25
  1/26/2020 Jose Celesten                      $19.50   56.28   $   11.00         $   158.76   $    158.76
 12/16/2018 Jose Celesten-7185                 $10.50   57.12   $    8.60         $    89.86   $     89.86
 12/23/2018 Jose Celesten-7185                 $10.50   44.07   $    8.60         $    21.35   $     21.35
 12/30/2018 Jose Celesten-7185                 $10.50   42.85   $    8.60         $    14.96   $     14.96
  7/29/2018 Jose Cosme-0537                    $10.50   48.70   $    8.60         $    45.68   $     45.68
   8/5/2018 Jose Cosme-0537                    $10.50   58.77   $    8.60         $    98.53   $     98.53
  8/12/2018 Jose Cosme-0537                    $10.50   61.70   $    8.60         $   113.93   $    113.93
  8/19/2018 Jose Cosme-0537                    $10.50   63.68   $    8.60         $   124.34   $    124.34
  8/26/2018 Jose Cosme-0537                    $10.50   63.23   $    8.60         $   121.98   $    121.98
   9/2/2018 Jose Cosme-0537                    $10.50   59.78   $    8.60         $   103.86   $    103.86



                                                 342
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 344 of 683 PageID: 1191
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

   9/9/2018 Jose Cosme-0537                 $10.50   57.53   $    8.60         $    92.05   $     92.05
  9/16/2018 Jose Cosme-0537                 $10.50   58.53   $    8.60         $    97.30   $     97.30
  9/23/2018 Jose Cosme-0537                 $10.50   48.25   $    8.60         $    43.31   $     43.31
  9/30/2018 Jose Cosme-0537                 $10.50   57.70   $    8.60         $    92.93   $     92.93
  10/7/2018 Jose Cosme-0537                 $10.50   57.57   $    8.60         $    92.23   $     92.23
 10/14/2018 Jose Cosme-0537                 $10.50   51.78   $    8.60         $    61.86   $     61.86
 10/21/2018 Jose Cosme-0537                 $10.50   58.62   $    8.60         $    97.74   $     97.74
  11/4/2018 Jose Cosme-0537                 $10.50   54.07   $    8.60         $    73.85   $     73.85
 11/11/2018 Jose Cosme-0537                 $10.50   52.90   $    8.60         $    67.73   $     67.73
  12/2/2018 Jose Cosme-0537                 $10.50   48.53   $    8.60         $    44.80   $     44.80
  12/9/2018 Jose Cosme-0537                 $10.50   57.75   $    8.60         $    93.19   $     93.19
  1/27/2019 Jose Cosme-0537                 $10.50   45.73   $    8.85         $    30.10   $     30.10
 10/21/2018 Jose Cusanero                   $10.00   59.75   $    8.60         $    98.75   $     98.75
 10/28/2018 Jose Cusanero                   $10.00   59.78   $    8.60         $    98.92   $     98.92
  11/4/2018 Jose Cusanero                   $10.00   64.10   $    8.60         $   120.50   $    120.50
 11/11/2018 Jose Cusanero                   $10.00   63.62   $    8.60         $   118.08   $    118.08
 11/18/2018 Jose Cusanero                   $10.00   52.65   $    8.60         $    63.25   $     63.25
 11/25/2018 Jose Cusanero                   $10.00   51.13   $    8.60         $    55.67   $     55.67
  12/2/2018 Jose Cusanero                   $10.00   64.87   $    8.60         $   124.33   $    124.33
  12/9/2018 Jose Cusanero                   $10.00   59.87   $    8.60         $    99.33   $     99.33
 12/16/2018 Jose Cusanero                   $10.00   59.92   $    8.60         $    99.58   $     99.58
 12/23/2018 Jose Cusanero                   $10.00   63.38   $    8.60         $   116.92   $    116.92
   1/6/2019 Jose Cusanero                   $10.00   50.05   $    8.85         $    50.25   $     50.25
  1/13/2019 Jose Cusanero                   $10.00   65.52   $    8.85         $   127.58   $    127.58
  1/20/2019 Jose Cusanero                   $10.00   69.63   $    8.85         $   148.17   $    148.17
  1/27/2019 Jose Cusanero                   $10.00   61.70   $    8.85         $   108.50   $    108.50
   2/3/2019 Jose Cusanero                   $10.00   55.43   $    8.85         $    77.17   $     77.17
  2/10/2019 Jose Cusanero                   $10.00   65.77   $    8.85         $   128.83   $    128.83
  2/17/2019 Jose Cusanero                   $10.00   64.78   $    8.85         $   123.92   $    123.92
  2/24/2019 Jose Cusanero                   $10.00   66.23   $    8.85         $   131.17   $    131.17
   3/3/2019 Jose Cusanero                   $10.00   72.48   $    8.85         $   162.42   $    162.42
  3/10/2019 Jose Cusanero                   $10.00   70.92   $    8.85         $   154.58   $    154.58
  3/17/2019 Jose Cusanero                   $10.00   71.53   $    8.85         $   157.67   $    157.67
  3/24/2019 Jose Cusanero                   $10.00   69.37   $    8.85         $   146.83   $    146.83
  3/31/2019 Jose Cusanero                   $10.00   57.47   $    8.85         $    87.33   $     87.33
   4/7/2019 Jose Cusanero                   $10.00   68.35   $    8.85         $   141.75   $    141.75
  4/14/2019 Jose Cusanero                   $10.00   69.97   $    8.85         $   149.83   $    149.83
  4/21/2019 Jose Cusanero                   $10.00   70.27   $    8.85         $   151.33   $    151.33
  4/28/2019 Jose Cusanero                   $10.00   68.45   $    8.85         $   142.25   $    142.25
   5/5/2019 Jose Cusanero                   $10.00   68.53   $    8.85         $   142.67   $    142.67
  5/12/2019 Jose Cusanero                   $10.00   70.67   $    8.85         $   153.33   $    153.33
  5/19/2019 Jose Cusanero                   $10.00   59.02   $    8.85         $    95.08   $     95.08
  5/26/2019 Jose Cusanero                   $10.00   70.43   $    8.85         $   152.17   $    152.17
   6/2/2019 Jose Cusanero                   $10.00   65.15   $    8.85         $   125.75   $    125.75
   6/9/2019 Jose Cusanero                   $10.00   68.57   $    8.85         $   142.83   $    142.83
  6/16/2019 Jose Cusanero                   $10.00   69.50   $    8.85         $   147.50   $    147.50
  6/23/2019 Jose Cusanero                   $10.00   69.30   $    8.85         $   146.50   $    146.50
  6/30/2019 Jose Cusanero                   $10.00   69.88   $   10.00         $   149.42   $    149.42
   7/7/2019 Jose Cusanero                   $10.00   65.52   $   10.00         $   127.58   $    127.58
  7/14/2019 Jose Cusanero                   $10.00   65.00   $   10.00         $   125.00   $    125.00



                                              343
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 345 of 683 PageID: 1192
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

  7/21/2019 Jose Cusanero                 $10.00   69.68   $   10.00         $   148.42   $    148.42
  7/28/2019 Jose Cusanero                 $10.00   67.48   $   10.00         $   137.42   $    137.42
   8/4/2019 Jose Cusanero                 $10.00   69.65   $   10.00         $   148.25   $    148.25
  8/11/2019 Jose Cusanero                 $10.00   69.85   $   10.00         $   149.25   $    149.25
  8/18/2019 Jose Cusanero                 $10.00   69.93   $   10.00         $   149.67   $    149.67
  8/25/2019 Jose Cusanero                 $10.00   59.63   $   10.00         $    98.17   $     98.17
   9/1/2019 Jose Cusanero                 $10.00   70.78   $   10.00         $   153.92   $    153.92
   9/8/2019 Jose Cusanero                 $10.00   64.00   $   10.00         $   120.00   $    120.00
  9/15/2019 Jose Cusanero                 $10.00   69.40   $   10.00         $   147.00   $    147.00
   2/5/2017 Jose D. Pena                  $13.50   41.25   $    8.44         $     8.44   $      8.44
  2/19/2017 Jose D. Pena                  $13.50   44.45   $    8.44         $    30.04   $     30.04
  2/26/2017 Jose D. Pena                  $13.50   44.37   $    8.44         $    29.48   $     29.48
   3/5/2017 Jose D. Pena                  $13.50   43.80   $    8.44         $    25.65   $     25.65
  3/12/2017 Jose D. Pena                  $13.50   50.85   $    8.44         $    73.24   $     73.24
  3/26/2017 Jose D. Pena                  $13.50   44.95   $    8.44         $    33.41   $     33.41
   4/2/2017 Jose D. Pena                  $13.50   43.90   $    8.44         $    26.33   $     26.33
   4/9/2017 Jose D. Pena                  $13.50   45.57   $    8.44         $    37.58   $     37.58
  4/23/2017 Jose D. Pena                  $13.50   43.77   $    8.44         $    25.43   $     25.43
  4/30/2017 Jose D. Pena                  $13.50   43.37   $    8.44         $    22.73   $     22.73
   5/7/2017 Jose D. Pena                  $13.50   40.45   $    8.44         $     3.04   $      3.04
  5/14/2017 Jose D. Pena                  $13.50   42.45   $    8.44         $    16.54   $     16.54
  5/21/2017 Jose D. Pena                  $13.50   45.07   $    8.44         $    34.20   $     34.20
  5/28/2017 Jose D. Pena                  $13.50   45.72   $    8.44         $    38.59   $     38.59
  6/11/2017 Jose D. Pena                  $13.50   42.15   $    8.44         $    14.51   $     14.51
  6/18/2017 Jose D. Pena                  $13.50   43.33   $    8.44         $    22.50   $     22.50
  6/25/2017 Jose D. Pena                  $13.50   42.77   $    8.44         $    18.68   $     18.68
   7/2/2017 Jose D. Pena                  $13.50   40.48   $    8.44         $     3.26   $      3.26
  7/16/2017 Jose D. Pena                  $13.50   41.70   $    8.44         $    11.48   $     11.48
  7/23/2017 Jose D. Pena                  $13.50   41.08   $    8.44         $     7.31   $      7.31
  7/30/2017 Jose D. Pena                  $13.50   43.20   $    8.44         $    21.60   $     21.60
   8/6/2017 Jose D. Pena                  $13.50   41.73   $    8.44         $    11.70   $     11.70
  8/20/2017 Jose D. Pena                  $13.50   41.20   $    8.44         $     8.10   $      8.10
   9/3/2017 Jose D. Pena                  $13.50   44.68   $    8.44         $    31.61   $     31.61
  9/17/2017 Jose D. Pena                  $13.50   45.50   $    8.44         $    37.13   $     37.13
  9/24/2017 Jose D. Pena                  $13.50   44.57   $    8.44         $    30.83   $     30.83
  10/1/2017 Jose D. Pena                  $13.50   45.00   $    8.44         $    33.75   $     33.75
  10/8/2017 Jose D. Pena                  $13.50   44.43   $    8.44         $    29.93   $     29.93
 10/15/2017 Jose D. Pena                  $13.50   43.33   $    8.44         $    22.50   $     22.50
 10/29/2017 Jose D. Pena                  $13.50   42.97   $    8.44         $    20.03   $     20.03
  11/5/2017 Jose D. Pena                  $13.50   41.98   $    8.44         $    13.39   $     13.39
 11/12/2017 Jose D. Pena                  $13.50   43.00   $    8.44         $    20.25   $     20.25
 11/19/2017 Jose D. Pena                  $13.50   42.82   $    8.44         $    19.01   $     19.01
  12/3/2017 Jose D. Pena                  $13.50   42.08   $    8.44         $    14.06   $     14.06
 12/17/2017 Jose D. Pena                  $13.50   43.15   $    8.44         $    21.26   $     21.26
  1/14/2018 Jose D. Pena                  $13.50   46.42   $    8.60         $    43.31   $     43.31
  1/21/2018 Jose D. Pena                  $13.50   45.55   $    8.60         $    37.46   $     37.46
  1/28/2018 Jose D. Pena                  $13.50   42.53   $    8.60         $    17.10   $     17.10
   2/4/2018 Jose D. Pena                  $13.50   43.92   $    8.60         $    26.44   $     26.44
  2/11/2018 Jose D. Pena                  $13.50   44.67   $    8.60         $    31.50   $     31.50
  2/25/2018 Jose D. Pena                  $13.50   45.03   $    8.60         $    33.98   $     33.98



                                            344
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 346 of 683 PageID: 1193
                                          Exhibit 2
                                  New Jersey Computations


   Week                                                  State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
  Ending                   Name                        Minumum Regular    Half-Time Overtime Back
                                          Rate Week
   Date                                                  Wage  Rate Due     Due       Wages Due

   3/4/2018 Jose D. Pena                 $13.50   44.28   $   8.60          $    28.91   $     28.91
   4/8/2018 Jose D. Pena                 $13.50   43.58   $   8.60          $    24.19   $     24.19
  4/22/2018 Jose D. Pena                 $13.50   45.97   $   8.60          $    40.28   $     40.28
  4/29/2018 Jose D. Pena                 $13.50   44.32   $   8.60          $    29.14   $     29.14
   5/6/2018 Jose D. Pena                 $13.50   45.63   $   8.60          $    38.03   $     38.03
  5/13/2018 Jose D. Pena                 $13.50   44.98   $   8.60          $    33.64   $     33.64
  5/20/2018 Jose D. Pena                 $13.50   47.92   $   8.60          $    53.44   $     53.44
  5/27/2018 Jose D. Pena                 $13.50   47.88   $   8.60          $    53.21   $     53.21
  6/17/2018 Jose D. Pena                 $13.50   45.47   $   8.60          $    36.90   $     36.90
  6/24/2018 Jose D. Pena                 $13.50   44.32   $   8.60          $    29.14   $     29.14
   7/1/2018 Jose D. Pena                 $13.50   44.50   $   8.60          $    30.38   $     30.38
  7/15/2018 Jose D. Pena                 $13.50   43.33   $   8.60          $    22.50   $     22.50
  7/22/2018 Jose D. Pena                 $13.50   45.48   $   8.60          $    37.01   $     37.01
  7/29/2018 Jose D. Pena                 $13.50   45.10   $   8.60          $    34.43   $     34.43
   8/5/2018 Jose D. Pena                 $13.50   44.25   $   8.60          $    28.69   $     28.69
  8/12/2018 Jose D. Pena                 $13.50   41.72   $   8.60          $    11.59   $     11.59
  8/19/2018 Jose D. Pena                 $13.50   46.27   $   8.60          $    42.30   $     42.30
  8/26/2018 Jose D. Pena                 $13.50   45.57   $   8.60          $    37.58   $     37.58
   9/2/2018 Jose D. Pena                 $13.50   45.83   $   8.60          $    39.38   $     39.38
  9/16/2018 Jose D. Pena                 $13.50   43.73   $   8.60          $    25.20   $     25.20
  9/23/2018 Jose D. Pena                 $13.50   42.08   $   8.60          $    14.06   $     14.06
  9/30/2018 Jose D. Pena                 $13.50   45.07   $   8.60          $    34.20   $     34.20
  10/7/2018 Jose D. Pena                 $13.50   40.82   $   8.60          $     5.51   $      5.51
 10/14/2018 Jose D. Pena                 $13.50   45.58   $   8.60          $    37.69   $     37.69
 10/21/2018 Jose D. Pena                 $13.50   45.85   $   8.60          $    39.49   $     39.49
 10/28/2018 Jose D. Pena                 $13.50   46.67   $   8.60          $    45.00   $     45.00
  11/4/2018 Jose D. Pena                 $13.50   46.23   $   8.60          $    42.08   $     42.08
 11/11/2018 Jose D. Pena                 $13.50   46.38   $   8.60          $    43.09   $     43.09
 11/18/2018 Jose D. Pena                 $13.50   55.67   $   8.60          $   105.75   $    105.75
 11/25/2018 Jose D. Pena                 $13.50   46.38   $   8.60          $    43.09   $     43.09
  12/2/2018 Jose D. Pena                 $13.50   54.22   $   8.60          $    95.96   $     95.96
  12/9/2018 Jose D. Pena                 $13.50   42.13   $   8.60          $    14.40   $     14.40
 12/16/2018 Jose D. Pena                 $13.50   55.05   $   8.60          $   101.59   $    101.59
 12/23/2018 Jose D. Pena                 $13.50   47.38   $   8.60          $    49.84   $     49.84
  1/13/2019 Jose D. Pena                 $13.50   57.17   $   8.85          $   115.88   $    115.88
  1/20/2019 Jose D. Pena                 $13.50   56.25   $   8.85          $   109.69   $    109.69
  1/27/2019 Jose D. Pena                 $13.50   47.62   $   8.85          $    51.41   $     51.41
   2/3/2019 Jose D. Pena                 $13.50   46.58   $   8.85          $    44.44   $     44.44
  2/10/2019 Jose D. Pena                 $13.50   48.92   $   8.85          $    60.19   $     60.19
  2/17/2019 Jose D. Pena                 $13.50   44.00   $   8.85          $    27.00   $     27.00
  2/24/2019 Jose D. Pena                 $13.50   46.97   $   8.85          $    47.03   $     47.03
   3/3/2019 Jose D. Pena                 $13.50   46.28   $   8.85          $    42.41   $     42.41
  3/10/2019 Jose D. Pena                 $13.50   44.70   $   8.85          $    31.73   $     31.73
  3/17/2019 Jose D. Pena                 $13.50   47.70   $   8.85          $    51.98   $     51.98
  3/24/2019 Jose D. Pena                 $13.50   46.43   $   8.85          $    43.43   $     43.43
  3/31/2019 Jose D. Pena                 $13.50   46.47   $   8.85          $    43.65   $     43.65
   4/7/2019 Jose D. Pena                 $13.50   46.90   $   8.85          $    46.58   $     46.58
  4/14/2019 Jose D. Pena                 $13.50   47.15   $   8.85          $    48.26   $     48.26
  4/28/2019 Jose D. Pena                 $13.50   45.98   $   8.85          $    40.39   $     40.39
   5/5/2019 Jose D. Pena                 $13.50   46.87   $   8.85          $    46.35   $     46.35



                                           345
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 347 of 683 PageID: 1194
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                          Name                        Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

  5/12/2019 Jose D. Pena                        $13.50   46.87   $    8.85         $    46.35   $     46.35
  5/19/2019 Jose D. Pena                        $13.50   46.27   $    8.85         $    42.30   $     42.30
  5/26/2019 Jose D. Pena                        $13.50   45.65   $    8.85         $    38.14   $     38.14
   6/9/2019 Jose D. Pena                        $13.50   45.42   $    8.85         $    36.56   $     36.56
  6/16/2019 Jose D. Pena                        $13.50   48.13   $    8.85         $    54.90   $     54.90
  6/23/2019 Jose D. Pena                        $13.50   47.18   $    8.85         $    48.49   $     48.49
  6/30/2019 Jose D. Pena                        $13.50   52.12   $   10.00         $    81.79   $     81.79
  7/14/2019 Jose D. Pena                        $14.00   47.22   $   10.00         $    50.52   $     50.52
  7/21/2019 Jose D. Pena                        $14.00   49.60   $   10.00         $    67.20   $     67.20
  7/28/2019 Jose D. Pena                        $14.00   48.47   $   10.00         $    59.27   $     59.27
   8/4/2019 Jose D. Pena                        $14.00   47.75   $   10.00         $    54.25   $     54.25
  8/11/2019 Jose D. Pena                        $14.00   48.37   $   10.00         $    58.57   $     58.57
  8/18/2019 Jose D. Pena                        $14.00   47.77   $   10.00         $    54.37   $     54.37
   9/1/2019 Jose D. Pena                        $14.00   48.80   $   10.00         $    61.60   $     61.60
  9/15/2019 Jose D. Pena                        $14.00   46.72   $   10.00         $    47.02   $     47.02
  9/22/2019 Jose D. Pena                        $14.00   46.90   $   10.00         $    48.30   $     48.30
  9/29/2019 Jose D. Pena                        $14.00   47.12   $   10.00         $    49.82   $     49.82
  10/6/2019 Jose D. Pena                        $14.00   49.93   $   10.00         $    69.53   $     69.53
 10/13/2019 Jose D. Pena                        $14.00   48.35   $   10.00         $    58.45   $     58.45
 10/20/2019 Jose D. Pena                        $15.00   42.95   $   10.00         $    22.13   $     22.13
 10/27/2019 Jose D. Pena                        $15.00   49.77   $   10.00         $    73.25   $     73.25
  11/3/2019 Jose D. Pena                        $15.00   42.97   $   10.00         $    22.25   $     22.25
 11/10/2019 Jose D. Pena                        $15.00   43.63   $   10.00         $    27.25   $     27.25
 11/17/2019 Jose D. Pena                        $15.00   50.50   $   10.00         $    78.75   $     78.75
 11/24/2019 Jose D. Pena                        $15.00   43.55   $   10.00         $    26.63   $     26.63
  12/8/2019 Jose D. Pena                        $15.00   41.80   $   10.00         $    13.50   $     13.50
 12/15/2019 Jose D. Pena                        $14.00   47.85   $   10.00         $    54.95   $     54.95
 12/22/2019 Jose D. Pena                        $14.00   49.90   $   10.00         $    69.30   $     69.30
  1/12/2020 Jose D. Pena                        $14.00   47.12   $   11.00         $    49.82   $     49.82
  1/19/2020 Jose D. Pena                        $14.00   49.32   $   11.00         $    65.22   $     65.22
  1/26/2020 Jose D. Pena                        $14.00   47.17   $   11.00         $    50.17   $     50.17
  6/17/2018 Jose David Angeles                   $9.50   49.13   $    8.60         $    43.38   $     43.38
  6/24/2018 Jose David Angeles                   $9.50   65.57   $    8.60         $   121.44   $    121.44
   7/1/2018 Jose David Angeles                   $9.50   52.98   $    8.60         $    61.67   $     61.67
   7/8/2018 Jose David Angeles                   $9.50   54.58   $    8.60         $    69.27   $     69.27
  7/15/2018 Jose David Angeles                   $9.50   54.47   $    8.60         $    68.72   $     68.72
  7/22/2018 Jose David Angeles                   $9.50   44.93   $    8.60         $    23.43   $     23.43
  7/29/2018 Jose David Angeles                   $9.50   65.68   $    8.60         $   122.00   $    122.00
   8/5/2018 Jose David Angeles                   $9.50   57.30   $    8.60         $    82.18   $     82.18
  8/12/2018 Jose David Angeles                   $9.50   65.50   $    8.60         $   121.13   $    121.13
  8/19/2018 Jose David Angeles                   $9.50   64.48   $    8.60         $   116.30   $    116.30
  8/26/2018 Jose David Angeles                   $9.50   64.23   $    8.60         $   115.11   $    115.11
   9/2/2018 Jose David Angeles                   $9.50   51.03   $    8.60         $    52.41   $     52.41
   9/9/2018 Jose David Angeles                   $9.50   54.33   $    8.60         $    68.08   $     68.08
  9/16/2018 Jose David Angeles                   $9.50   44.43   $    8.60         $    21.06   $     21.06
  9/23/2018 Jose David Angeles                   $9.50   64.12   $    8.60         $   114.55   $    114.55
   2/5/2017 Jose David Del Orbe                 $10.00   57.45   $    8.44         $    87.25   $     87.25
  2/19/2017 Jose David Del Orbe                 $10.00   48.20   $    8.44         $    41.00   $     41.00
  2/26/2017 Jose David Del Orbe                 $10.00   56.02   $    8.44         $    80.08   $     80.08
   3/5/2017 Jose David Del Orbe                 $10.00   62.50   $    8.44         $   112.50   $    112.50



                                                  346
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 348 of 683 PageID: 1195
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  3/12/2017 Jose David Del Orbe             $10.00   42.42   $    8.44               $    12.08   $    12.08
   4/2/2017 Jose David Del Orbe             $10.00   55.18   $    8.44               $    75.92   $    75.92
  4/16/2017 Jose David Del Orbe             $10.00   40.03   $    8.44               $     0.17   $     0.17
  4/23/2017 Jose David Del Orbe             $10.00   49.57   $    8.44               $    47.83   $    47.83
  5/14/2017 Jose David Del Orbe             $10.00   50.17   $    8.44               $    50.83   $    50.83
  5/21/2017 Jose David Del Orbe             $10.00   42.78   $    8.44               $    13.92   $    13.92
  5/28/2017 Jose David Del Orbe             $10.00   44.93   $    8.44               $    24.67   $    24.67
   7/2/2017 Jose David Del Orbe             $10.00   40.88   $    8.44               $     4.42   $     4.42
  7/28/2019 Jose David Del Orbe             $12.00   49.90   $   10.00               $    59.40   $    59.40
   8/4/2019 Jose David Del Orbe             $12.00   59.05   $   10.00               $   114.30   $   114.30
  8/11/2019 Jose David Del Orbe             $12.00   56.18   $   10.00               $    97.10   $    97.10
  8/18/2019 Jose David Del Orbe             $12.00   57.50   $   10.00               $   105.00   $   105.00
  8/25/2019 Jose David Del Orbe             $12.00   59.72   $   10.00               $   118.30   $   118.30
   9/1/2019 Jose David Del Orbe             $12.00   56.02   $   10.00               $    96.10   $    96.10
  9/15/2019 Jose David Del Orbe             $12.00   57.98   $   10.00               $   107.90   $   107.90
  9/29/2019 Jose David Del Orbe             $12.00   47.33   $   10.00               $    44.00   $    44.00
  10/6/2019 Jose David Del Orbe             $12.00   56.00   $   10.00               $    96.00   $    96.00
 10/13/2019 Jose David Del Orbe             $12.00   53.33   $   10.00               $    80.00   $    80.00
 10/20/2019 Jose David Del Orbe             $12.00   55.35   $   10.00               $    92.10   $    92.10
 10/27/2019 Jose David Del Orbe             $12.00   63.42   $   10.00               $   140.50   $   140.50
  11/3/2019 Jose David Del Orbe             $12.00   50.28   $   10.00               $    61.70   $    61.70
 11/10/2019 Jose David Del Orbe             $12.00   47.33   $   10.00               $    44.00   $    44.00
 11/17/2019 Jose David Del Orbe             $12.00   54.43   $   10.00               $    86.60   $    86.60
 11/24/2019 Jose David Del Orbe             $12.00   63.47   $   10.00               $   140.80   $   140.80
  12/1/2019 Jose David Del Orbe             $12.00   45.95   $   10.00               $    35.70   $    35.70
 12/22/2019 Jose David Del Orbe             $12.00   40.37   $   10.00               $     2.20   $     2.20
 12/29/2019 Jose David Del Orbe             $12.00   46.18   $   10.00               $    37.10   $    37.10
  1/12/2020 Jose David Del Orbe             $12.00   55.63   $   11.00               $    93.80   $    93.80
  1/19/2020 Jose David Del Orbe             $12.00   63.07   $   11.00               $   138.40   $   138.40
  1/26/2020 Jose David Del Orbe             $12.00   54.75   $   11.00               $    88.50   $    88.50
 11/10/2019 Jose David Maldonado            $10.00   53.55   $   10.00               $    67.75   $    67.75
 11/17/2019 Jose David Maldonado            $10.00   58.92   $   10.00               $    94.58   $    94.58
 11/24/2019 Jose David Maldonado            $10.00   57.45   $   10.00               $    87.25   $    87.25
  12/1/2019 Jose David Maldonado            $10.00   49.72   $   10.00               $    48.58   $    48.58
  12/8/2019 Jose David Maldonado            $10.00   59.63   $   10.00               $    98.17   $    98.17
 12/15/2019 Jose David Maldonado            $10.00   58.40   $   10.00               $    92.00   $    92.00
 12/22/2019 Jose David Maldonado            $10.00   63.17   $   10.00               $   115.83   $   115.83
 12/29/2019 Jose David Maldonado            $10.00   46.30   $   10.00               $    31.50   $    31.50
   1/5/2020 Jose David Maldonado            $10.00   51.43   $   11.00   $   51.43   $    62.88   $   114.32
  1/12/2020 Jose David Maldonado            $10.00   59.73   $   11.00   $   59.73   $   108.53   $   168.27
  1/19/2020 Jose David Maldonado            $10.00   64.63   $   11.00   $   64.63   $   135.48   $   200.12
  1/26/2020 Jose David Maldonado            $10.00   52.67   $   11.00   $   52.67   $    69.67   $   122.33
   6/9/2019 Jose David Portillo             $11.00   66.05   $    8.85               $   143.28   $   143.28
  6/16/2019 Jose David Portillo             $11.00   67.25   $    8.85               $   149.88   $   149.88
  6/23/2019 Jose David Portillo             $11.00   73.53   $    8.85               $   184.43   $   184.43
  6/30/2019 Jose David Portillo             $11.00   73.65   $   10.00               $   185.08   $   185.08
   7/7/2019 Jose David Portillo              $9.50   60.82   $   10.00   $   30.41   $   104.08   $   134.49
  7/14/2019 Jose David Portillo              $9.50   73.22   $   10.00   $   36.61   $   166.08   $   202.69
  7/21/2019 Jose David Portillo              $9.50   73.82   $   10.00   $   36.91   $   169.08   $   205.99
  7/28/2019 Jose David Portillo              $9.50   73.50   $   10.00   $   36.75   $   167.50   $   204.25



                                              347
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 349 of 683 PageID: 1196
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                      Name                            Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

   8/4/2019 Jose David Portillo                  $9.50   73.13   $   10.00   $   36.57   $   165.67   $   202.23
  8/11/2019 Jose David Portillo                  $9.50   72.75   $   10.00   $   36.38   $   163.75   $   200.13
  8/18/2019 Jose David Portillo                  $9.50   71.43   $   10.00   $   35.72   $   157.17   $   192.88
  8/25/2019 Jose David Portillo                  $9.50   72.68   $   10.00   $   36.34   $   163.42   $   199.76
   9/1/2019 Jose David Portillo                  $9.50   73.92   $   10.00   $   36.96   $   169.58   $   206.54
   9/8/2019 Jose David Portillo                  $9.50   63.05   $   10.00   $   31.53   $   115.25   $   146.78
  9/15/2019 Jose David Portillo                  $9.50   66.62   $   10.00   $   33.31   $   133.08   $   166.39
  9/22/2019 Jose David Portillo                  $9.50   62.63   $   10.00   $   31.32   $   113.17   $   144.48
  9/29/2019 Jose David Portillo                  $9.50   51.50   $   10.00   $   25.75   $    57.50   $    83.25
  10/6/2019 Jose David Portillo                  $9.50   60.45   $   10.00   $   30.23   $   102.25   $   132.48
 10/13/2019 Jose David Portillo                  $9.50   51.63   $   10.00   $   25.82   $    58.17   $    83.98
 10/20/2019 Jose David Portillo                  $9.50   53.45   $   10.00   $   26.73   $    67.25   $    93.98
 10/27/2019 Jose David Portillo                  $9.50   57.25   $   10.00   $   28.63   $    86.25   $   114.88
  11/3/2019 Jose David Portillo                  $9.50   53.08   $   10.00   $   26.54   $    65.42   $    91.96
 11/10/2019 Jose David Portillo                  $9.50   52.80   $   10.00   $   26.40   $    64.00   $    90.40
  12/8/2019 Jose David Portillo                  $9.50   52.22   $   10.00   $   26.11   $    61.08   $    87.19
 12/15/2019 Jose David Portillo                  $9.50   60.92   $   10.00   $   30.46   $   104.58   $   135.04
 12/22/2019 Jose David Portillo                  $9.50   66.60   $   10.00   $   33.30   $   133.00   $   166.30
 12/29/2019 Jose David Portillo                  $9.50   51.30   $   10.00   $   25.65   $    56.50   $    82.15
   1/5/2020 Jose David Portillo                  $9.50   57.93   $   11.00   $   86.90   $    98.63   $   185.53
  1/12/2020 Jose David Portillo                  $9.50   56.53   $   11.00   $   84.80   $    90.93   $   175.73
  1/19/2020 Jose David Portillo                  $9.50   60.77   $   11.00   $   91.15   $   114.22   $   205.37
  1/26/2020 Jose David Portillo                  $9.50   54.27   $   11.00   $   81.40   $    78.47   $   159.87
  8/19/2018 Jose De Jesus Olivo Romero          $10.00   78.22   $    8.60               $   191.08   $   191.08
  8/26/2018 Jose De Jesus Olivo Romero          $10.00   73.45   $    8.60               $   167.25   $   167.25
   9/2/2018 Jose De Jesus Olivo Romero          $10.00   73.50   $    8.60               $   167.50   $   167.50
   9/9/2018 Jose De Jesus Olivo Romero          $10.00   70.28   $    8.60               $   151.42   $   151.42
  9/16/2018 Jose De Jesus Olivo Romero          $10.00   74.67   $    8.60               $   173.33   $   173.33
  9/23/2018 Jose De Jesus Olivo Romero          $10.00   54.68   $    8.60               $    73.42   $    73.42
  9/30/2018 Jose De Jesus Olivo Romero          $10.00   79.88   $    8.60               $   199.42   $   199.42
  10/7/2018 Jose De Jesus Olivo Romero          $10.00   73.75   $    8.60               $   168.75   $   168.75
 10/14/2018 Jose De Jesus Olivo Romero          $10.00   55.05   $    8.60               $    75.25   $    75.25
 10/21/2018 Jose De Jesus Olivo Romero          $10.00   61.23   $    8.60               $   106.17   $   106.17
 10/28/2018 Jose De Jesus Olivo Romero          $10.00   49.83   $    8.60               $    49.17   $    49.17
  11/4/2018 Jose De Jesus Olivo Romero          $10.00   75.30   $    8.60               $   176.50   $   176.50
 11/11/2018 Jose De Jesus Olivo Romero          $10.00   77.23   $    8.60               $   186.17   $   186.17
 11/18/2018 Jose De Jesus Olivo Romero          $10.00   66.12   $    8.60               $   130.58   $   130.58
 11/25/2018 Jose De Jesus Olivo Romero          $10.00   48.25   $    8.60               $    41.25   $    41.25
  12/2/2018 Jose De Jesus Olivo Romero          $10.00   68.78   $    8.60               $   143.92   $   143.92
  12/9/2018 Jose De Jesus Olivo Romero          $10.00   58.82   $    8.60               $    94.08   $    94.08
 12/16/2018 Jose De Jesus Olivo Romero          $10.00   70.60   $    8.60               $   153.00   $   153.00
 12/30/2018 Jose De Jesus Olivo Romero          $10.00   53.20   $    8.60               $    66.00   $    66.00
   1/6/2019 Jose De Jesus Olivo Romero          $10.00   58.30   $    8.85               $    91.50   $    91.50
  1/13/2019 Jose De Jesus Olivo Romero          $10.00   71.52   $    8.85               $   157.58   $   157.58
  1/20/2019 Jose De Jesus Olivo Romero          $10.00   59.52   $    8.85               $    97.58   $    97.58
  1/27/2019 Jose De Jesus Olivo Romero          $10.00   47.53   $    8.85               $    37.67   $    37.67
   2/3/2019 Jose De Jesus Olivo Romero          $10.00   57.63   $    8.85               $    88.17   $    88.17
  2/10/2019 Jose De Jesus Olivo Romero          $10.00   56.80   $    8.85               $    84.00   $    84.00
  2/17/2019 Jose De Jesus Olivo Romero          $10.00   48.10   $    8.85               $    40.50   $    40.50
  2/24/2019 Jose De Jesus Olivo Romero          $10.00   59.23   $    8.85               $    96.17   $    96.17



                                                  348
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 350 of 683 PageID: 1197
                                                     Exhibit 2
                                             New Jersey Computations


   Week                                                             State Section 7: Section 7: Total Section 7
                                                    Hourly Hours/
  Ending                       Name                               Minumum Regular    Half-Time Overtime Back
                                                     Rate Week
   Date                                                             Wage  Rate Due     Due       Wages Due

   3/3/2019 Jose De Jesus Olivo Romero              $10.00   59.38   $    8.85         $    96.92   $     96.92
  3/10/2019 Jose De Jesus Olivo Romero              $10.00   59.93   $    8.85         $    99.67   $     99.67
  3/17/2019 Jose De Jesus Olivo Romero              $10.00   72.65   $    8.85         $   163.25   $    163.25
  3/24/2019 Jose De Jesus Olivo Romero              $10.00   48.30   $    8.85         $    41.50   $     41.50
  3/31/2019 Jose De Jesus Olivo Romero              $10.00   64.50   $    8.85         $   122.50   $    122.50
  10/8/2017 Jose Del Carmen Hernandez                $9.50   57.38   $    8.44         $    82.57   $     82.57
 10/15/2017 Jose Del Carmen Hernandez                $9.50   57.68   $    8.44         $    84.00   $     84.00
 10/22/2017 Jose Del Carmen Hernandez                $9.50   47.68   $    8.44         $    36.50   $     36.50
  3/10/2019 Jose Dimas Alvarado - New Cars          $11.50   75.25   $    8.85         $   202.69   $    202.69
  3/17/2019 Jose Dimas Alvarado - New Cars          $11.50   68.78   $    8.85         $   165.50   $    165.50
  3/24/2019 Jose Dimas Alvarado - New Cars          $11.50   73.18   $    8.85         $   190.80   $    190.80
  3/31/2019 Jose Dimas Alvarado - New Cars          $11.50   80.00   $    8.85         $   230.00   $    230.00
   4/7/2019 Jose Dimas Alvarado - New Cars          $11.50   72.87   $    8.85         $   188.98   $    188.98
  4/14/2019 Jose Dimas Alvarado - New Cars          $11.50   73.63   $    8.85         $   193.39   $    193.39
  4/21/2019 Jose Dimas Alvarado - New Cars          $11.50   74.67   $    8.85         $   199.33   $    199.33
  4/28/2019 Jose Dimas Alvarado - New Cars          $11.50   73.75   $    8.85         $   194.06   $    194.06
   5/5/2019 Jose Dimas Alvarado - New Cars          $11.50   76.68   $    8.85         $   210.93   $    210.93
  5/12/2019 Jose Dimas Alvarado - New Cars          $11.50   63.30   $    8.85         $   133.98   $    133.98
  5/19/2019 Jose Dimas Alvarado - New Cars          $11.50   79.63   $    8.85         $   227.89   $    227.89
  5/26/2019 Jose Dimas Alvarado - New Cars          $11.50   78.30   $    8.85         $   220.23   $    220.23
   6/2/2019 Jose Dimas Alvarado - New Cars          $11.50   77.82   $    8.85         $   217.45   $    217.45
   6/9/2019 Jose Dimas Alvarado - New Cars          $11.50   80.70   $    8.85         $   234.03   $    234.03
  6/16/2019 Jose Dimas Alvarado - New Cars          $11.50   76.73   $    8.85         $   211.22   $    211.22
  6/23/2019 Jose Dimas Alvarado - New Cars          $11.50   78.15   $    8.85         $   219.36   $    219.36
  6/30/2019 Jose Dimas Alvarado - New Cars          $11.50   81.98   $   10.00         $   241.40   $    241.40
   7/7/2019 Jose Dimas Alvarado - New Cars          $11.50   79.92   $   10.00         $   229.52   $    229.52
  7/14/2019 Jose Dimas Alvarado - New Cars          $11.50   78.75   $   10.00         $   222.81   $    222.81
  7/21/2019 Jose Dimas Alvarado - New Cars          $11.50   78.40   $   10.00         $   220.80   $    220.80
  7/28/2019 Jose Dimas Alvarado - New Cars          $11.50   75.00   $   10.00         $   201.25   $    201.25
   8/4/2019 Jose Dimas Alvarado - New Cars          $11.50   80.12   $   10.00         $   230.67   $    230.67
  8/11/2019 Jose Dimas Alvarado - New Cars          $11.50   74.57   $   10.00         $   198.76   $    198.76
  8/18/2019 Jose Dimas Alvarado - New Cars          $11.50   77.48   $   10.00         $   215.53   $    215.53
  8/25/2019 Jose Dimas Alvarado - New Cars          $11.50   80.98   $   10.00         $   235.65   $    235.65
   9/1/2019 Jose Dimas Alvarado - New Cars          $11.50   84.63   $   10.00         $   256.64   $    256.64
   9/8/2019 Jose Dimas Alvarado - New Cars          $11.50   80.58   $   10.00         $   233.35   $    233.35
  9/15/2019 Jose Dimas Alvarado - New Cars          $11.50   83.08   $   10.00         $   247.73   $    247.73
  9/22/2019 Jose Dimas Alvarado - New Cars          $11.50   82.38   $   10.00         $   243.70   $    243.70
  9/29/2019 Jose Dimas Alvarado - New Cars          $11.50   71.07   $   10.00         $   178.63   $    178.63
  10/6/2019 Jose Dimas Alvarado - New Cars          $11.50   77.20   $   10.00         $   213.90   $    213.90
 10/13/2019 Jose Dimas Alvarado - New Cars          $11.50   80.67   $   10.00         $   233.83   $    233.83
 10/20/2019 Jose Dimas Alvarado - New Cars          $11.50   83.13   $   10.00         $   248.02   $    248.02
 10/27/2019 Jose Dimas Alvarado - New Cars          $11.50   81.60   $   10.00         $   239.20   $    239.20
  11/3/2019 Jose Dimas Alvarado - New Cars          $11.50   84.35   $   10.00         $   255.01   $    255.01
 11/10/2019 Jose Dimas Alvarado - New Cars          $11.50   79.33   $   10.00         $   226.17   $    226.17
 11/17/2019 Jose Dimas Alvarado - New Cars          $11.50   81.78   $   10.00         $   240.25   $    240.25
 11/24/2019 Jose Dimas Alvarado - New Cars          $11.50   82.23   $   10.00         $   242.84   $    242.84
  12/1/2019 Jose Dimas Alvarado - New Cars          $11.50   70.50   $   10.00         $   175.38   $    175.38
  12/8/2019 Jose Dimas Alvarado - New Cars          $11.50   78.93   $   10.00         $   223.87   $    223.87
 12/15/2019 Jose Dimas Alvarado - New Cars          $11.50   74.73   $   10.00         $   199.72   $    199.72
 12/22/2019 Jose Dimas Alvarado - New Cars          $11.50   71.95   $   10.00         $   183.71   $    183.71



                                                      349
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 351 of 683 PageID: 1198
                                                     Exhibit 2
                                             New Jersey Computations


   Week                                                             State Section 7: Section 7: Total Section 7
                                                    Hourly Hours/
  Ending                       Name                               Minumum Regular    Half-Time Overtime Back
                                                     Rate Week
   Date                                                             Wage  Rate Due     Due       Wages Due

 12/29/2019 Jose Dimas Alvarado - New Cars          $11.50   56.07   $   10.00         $    92.38   $     92.38
   1/5/2020 Jose Dimas Alvarado - New Cars          $11.50   59.57   $   11.00         $   112.51   $    112.51
  1/12/2020 Jose Dimas Alvarado - New Cars          $11.50   79.78   $   11.00         $   228.75   $    228.75
  1/19/2020 Jose Dimas Alvarado - New Cars          $11.50   82.60   $   11.00         $   244.95   $    244.95
  1/26/2020 Jose Dimas Alvarado - New Cars          $11.50   49.77   $   11.00         $    56.16   $     56.16
 10/20/2019 Jose Domingo Gomes                      $11.00   61.02   $   10.00         $   115.59   $    115.59
 10/27/2019 Jose Domingo Gomes                      $11.00   50.85   $   10.00         $    59.68   $     59.68
  11/3/2019 Jose Domingo Gomes                      $11.00   59.82   $   10.00         $   108.99   $    108.99
 11/10/2019 Jose Domingo Gomes                      $11.00   59.78   $   10.00         $   108.81   $    108.81
 11/17/2019 Jose Domingo Gomes                      $11.00   59.12   $   10.00         $   105.14   $    105.14
 11/24/2019 Jose Domingo Gomes                      $11.00   63.87   $   10.00         $   131.27   $    131.27
  12/1/2019 Jose Domingo Gomes                      $11.00   46.68   $   10.00         $    36.76   $     36.76
  12/8/2019 Jose Domingo Gomes                      $11.00   61.03   $   10.00         $   115.68   $    115.68
 12/15/2019 Jose Domingo Gomes                      $11.00   59.23   $   10.00         $   105.78   $    105.78
 12/22/2019 Jose Domingo Gomes                      $11.00   59.43   $   10.00         $   106.88   $    106.88
 12/29/2019 Jose Domingo Gomes                      $11.00   48.02   $   10.00         $    44.09   $     44.09
   1/5/2020 Jose Domingo Gomes                      $11.00   50.72   $   11.00         $    58.94   $     58.94
  1/12/2020 Jose Domingo Gomes                      $11.00   60.58   $   11.00         $   113.21   $    113.21
  1/19/2020 Jose Domingo Gomes                      $11.00   60.90   $   11.00         $   114.95   $    114.95
  1/26/2020 Jose Domingo Gomes                      $11.00   45.35   $   11.00         $    29.43   $     29.43
  5/12/2019 Jose Edgardo Hernendez                  $10.00   73.27   $    8.85         $   166.33   $    166.33
  5/19/2019 Jose Edgardo Hernendez                  $10.00   63.00   $    8.85         $   115.00   $    115.00
  5/26/2019 Jose Edgardo Hernendez                  $10.00   80.28   $    8.85         $   201.42   $    201.42
   6/2/2019 Jose Edgardo Hernendez                  $10.00   71.92   $    8.85         $   159.58   $    159.58
   6/9/2019 Jose Edgardo Hernendez                  $10.00   71.93   $    8.85         $   159.67   $    159.67
  6/16/2019 Jose Edgardo Hernendez                  $10.00   72.32   $    8.85         $   161.58   $    161.58
  6/23/2019 Jose Edgardo Hernendez                  $10.00   72.52   $    8.85         $   162.58   $    162.58
  6/30/2019 Jose Edgardo Hernendez                  $10.00   73.03   $   10.00         $   165.17   $    165.17
   7/7/2019 Jose Edgardo Hernendez                  $10.00   54.70   $   10.00         $    73.50   $     73.50
  7/14/2019 Jose Edgardo Hernendez                  $10.00   72.80   $   10.00         $   164.00   $    164.00
  7/21/2019 Jose Edgardo Hernendez                  $10.00   72.17   $   10.00         $   160.83   $    160.83
  7/28/2019 Jose Edgardo Hernendez                  $10.00   61.75   $   10.00         $   108.75   $    108.75
   8/4/2019 Jose Edgardo Hernendez                  $10.00   60.80   $   10.00         $   104.00   $    104.00
  8/11/2019 Jose Edgardo Hernendez                  $10.00   75.02   $   10.00         $   175.08   $    175.08
  8/18/2019 Jose Edgardo Hernendez                  $10.00   70.50   $   10.00         $   152.50   $    152.50
  8/25/2019 Jose Edgardo Hernendez                  $10.00   58.20   $   10.00         $    91.00   $     91.00
   9/1/2019 Jose Edgardo Hernendez                  $10.00   56.80   $   10.00         $    84.00   $     84.00
   9/8/2019 Jose Edgardo Hernendez                  $10.00   70.90   $   10.00         $   154.50   $    154.50
  9/15/2019 Jose Edgardo Hernendez                  $10.00   75.82   $   10.00         $   179.08   $    179.08
  9/22/2019 Jose Edgardo Hernendez                  $10.00   64.57   $   10.00         $   122.83   $    122.83
  9/29/2019 Jose Edgardo Hernendez                  $10.00   71.42   $   10.00         $   157.08   $    157.08
  10/6/2019 Jose Edgardo Hernendez                  $10.00   73.95   $   10.00         $   169.75   $    169.75
 10/13/2019 Jose Edgardo Hernendez                  $10.00   59.88   $   10.00         $    99.42   $     99.42
 10/20/2019 Jose Edgardo Hernendez                  $10.00   76.02   $   10.00         $   180.08   $    180.08
 10/27/2019 Jose Edgardo Hernendez                  $10.00   73.28   $   10.00         $   166.42   $    166.42
  11/3/2019 Jose Edgardo Hernendez                  $10.00   74.03   $   10.00         $   170.17   $    170.17
 11/10/2019 Jose Edgardo Hernendez                  $10.00   73.35   $   10.00         $   166.75   $    166.75
 11/17/2019 Jose Edgardo Hernendez                  $10.00   45.73   $   10.00         $    28.67   $     28.67
 11/24/2019 Jose Edgardo Hernendez                  $10.00   76.42   $   10.00         $   182.08   $    182.08
  12/1/2019 Jose Edgardo Hernendez                  $10.00   62.25   $   10.00         $   111.25   $    111.25



                                                      350
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 352 of 683 PageID: 1199
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  12/8/2019 Jose Edgardo Hernendez          $10.00   74.88   $   10.00               $   174.42   $   174.42
 12/15/2019 Jose Edgardo Hernendez          $10.00   74.05   $   10.00               $   170.25   $   170.25
 12/22/2019 Jose Edgardo Hernendez          $10.00   71.05   $   10.00               $   155.25   $   155.25
 12/29/2019 Jose Edgardo Hernendez          $10.00   54.28   $   10.00               $    71.42   $    71.42
   1/5/2020 Jose Edgardo Hernendez          $10.00   64.78   $   11.00   $   64.78   $   136.31   $   201.09
  1/12/2020 Jose Edgardo Hernendez          $10.00   73.98   $   11.00   $   73.98   $   186.91   $   260.89
  1/19/2020 Jose Edgardo Hernendez          $10.00   74.10   $   11.00   $   74.10   $   187.55   $   261.65
  1/26/2020 Jose Edgardo Hernendez          $10.00   73.73   $   11.00   $   73.73   $   185.53   $   259.27
  2/12/2017 Jose Eduardo Cusanero            $9.00   41.53   $    8.44               $     6.90   $     6.90
  2/19/2017 Jose Eduardo Cusanero            $9.00   64.43   $    8.44               $   109.95   $   109.95
  2/26/2017 Jose Eduardo Cusanero            $9.00   75.95   $    8.44               $   161.78   $   161.78
  2/10/2019 Jose Elias Hernandez            $10.00   49.05   $    8.85               $    45.25   $    45.25
  2/17/2019 Jose Elias Hernandez            $10.00   43.97   $    8.85               $    19.83   $    19.83
  2/24/2019 Jose Elias Hernandez            $10.00   46.97   $    8.85               $    34.83   $    34.83
  3/10/2019 Jose Elias Hernandez            $10.00   44.73   $    8.85               $    23.67   $    23.67
  3/17/2019 Jose Elias Hernandez            $10.00   47.67   $    8.85               $    38.33   $    38.33
  3/24/2019 Jose Elias Hernandez            $10.00   46.45   $    8.85               $    32.25   $    32.25
  3/31/2019 Jose Elias Hernandez            $10.00   46.53   $    8.85               $    32.67   $    32.67
   4/7/2019 Jose Elias Hernandez            $10.00   46.93   $    8.85               $    34.67   $    34.67
  4/14/2019 Jose Elias Hernandez            $10.00   47.10   $    8.85               $    35.50   $    35.50
  4/28/2019 Jose Elias Hernandez            $10.00   46.47   $    8.85               $    32.33   $    32.33
   5/5/2019 Jose Elias Hernandez            $10.00   46.88   $    8.85               $    34.42   $    34.42
  5/12/2019 Jose Elias Hernandez            $10.00   46.85   $    8.85               $    34.25   $    34.25
  5/19/2019 Jose Elias Hernandez            $10.00   46.38   $    8.85               $    31.92   $    31.92
  5/26/2019 Jose Elias Hernandez            $10.00   45.68   $    8.85               $    28.42   $    28.42
   6/9/2019 Jose Elias Hernandez            $10.00   45.48   $    8.85               $    27.42   $    27.42
  6/16/2019 Jose Elias Hernandez            $10.00   48.15   $    8.85               $    40.75   $    40.75
  6/23/2019 Jose Elias Hernandez            $10.00   47.22   $    8.85               $    36.08   $    36.08
  6/30/2019 Jose Elias Hernandez            $10.00   52.12   $   10.00               $    60.58   $    60.58
  7/14/2019 Jose Elias Hernandez            $10.00   47.25   $   10.00               $    36.25   $    36.25
  3/25/2018 Jose Enrique Lemus               $9.50   65.70   $    8.60               $   122.08   $   122.08
   4/8/2018 Jose Enrique Lemus               $9.50   67.93   $    8.60               $   132.68   $   132.68
  4/15/2018 Jose Enrique Lemus               $9.50   85.30   $    8.60               $   215.18   $   215.18
  4/22/2018 Jose Enrique Lemus               $9.50   88.45   $    8.60               $   230.14   $   230.14
  4/29/2018 Jose Enrique Lemus               $9.50   86.97   $    8.60               $   223.09   $   223.09
   5/6/2018 Jose Enrique Lemus               $9.50   87.90   $    8.60               $   227.53   $   227.53
  5/13/2018 Jose Enrique Lemus               $9.50   86.43   $    8.60               $   220.56   $   220.56
  5/20/2018 Jose Enrique Lemus               $9.50   88.72   $    8.60               $   231.40   $   231.40
  5/27/2018 Jose Enrique Lemus               $9.50   89.50   $    8.60               $   235.13   $   235.13
   6/3/2018 Jose Enrique Lemus               $9.50   88.25   $    8.60               $   229.19   $   229.19
  6/10/2018 Jose Enrique Lemus               $9.50   87.73   $    8.60               $   226.73   $   226.73
  6/17/2018 Jose Enrique Lemus              $10.50   90.22   $    8.60               $   263.64   $   263.64
  6/24/2018 Jose Enrique Lemus              $10.50   77.18   $    8.60               $   195.21   $   195.21
   7/1/2018 Jose Enrique Lemus              $10.50   87.55   $    8.60               $   249.64   $   249.64
   7/8/2018 Jose Enrique Lemus              $10.50   87.80   $    8.60               $   250.95   $   250.95
  7/15/2018 Jose Enrique Lemus              $10.50   87.00   $    8.60               $   246.75   $   246.75
  7/22/2018 Jose Enrique Lemus              $10.50   72.93   $    8.60               $   172.90   $   172.90
  7/29/2018 Jose Enrique Lemus              $10.50   90.07   $    8.60               $   262.85   $   262.85
   8/5/2018 Jose Enrique Lemus              $10.50   91.42   $    8.60               $   269.94   $   269.94
  8/12/2018 Jose Enrique Lemus              $10.50   86.93   $    8.60               $   246.40   $   246.40



                                              351
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 353 of 683 PageID: 1200
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

  8/19/2018 Jose Enrique Lemus                 $10.50   88.28   $    8.60         $   253.49   $    253.49
  8/26/2018 Jose Enrique Lemus                 $10.50   88.97   $    8.60         $   257.08   $    257.08
   9/2/2018 Jose Enrique Lemus                 $10.50   87.93   $    8.60         $   251.65   $    251.65
   9/9/2018 Jose Enrique Lemus                 $10.50   83.88   $    8.60         $   230.39   $    230.39
  9/16/2018 Jose Enrique Lemus                 $10.50   84.53   $    8.60         $   233.80   $    233.80
  9/23/2018 Jose Enrique Lemus                 $10.50   82.68   $    8.60         $   224.09   $    224.09
  9/30/2018 Jose Enrique Lemus                 $10.50   81.33   $    8.60         $   217.00   $    217.00
  10/7/2018 Jose Enrique Lemus                 $10.50   80.47   $    8.60         $   212.45   $    212.45
 10/14/2018 Jose Enrique Lemus                 $10.50   80.48   $    8.60         $   212.54   $    212.54
 10/21/2018 Jose Enrique Lemus                 $10.50   81.48   $    8.60         $   217.79   $    217.79
 10/28/2018 Jose Enrique Lemus                 $10.50   80.62   $    8.60         $   213.24   $    213.24
  11/4/2018 Jose Enrique Lemus                 $10.50   80.08   $    8.60         $   210.44   $    210.44
 11/11/2018 Jose Enrique Lemus                 $10.50   82.20   $    8.60         $   221.55   $    221.55
 11/18/2018 Jose Enrique Lemus                 $10.50   80.40   $    8.60         $   212.10   $    212.10
 11/25/2018 Jose Enrique Lemus                 $10.50   68.50   $    8.60         $   149.63   $    149.63
  12/2/2018 Jose Enrique Lemus                 $10.50   80.62   $    8.60         $   213.24   $    213.24
  12/9/2018 Jose Enrique Lemus                 $10.50   81.37   $    8.60         $   217.18   $    217.18
 12/16/2018 Jose Enrique Lemus                 $10.50   80.97   $    8.60         $   215.08   $    215.08
 12/23/2018 Jose Enrique Lemus                 $10.50   80.48   $    8.60         $   212.54   $    212.54
 12/30/2018 Jose Enrique Lemus                 $10.50   63.43   $    8.60         $   123.03   $    123.03
   1/6/2019 Jose Enrique Lemus                 $10.50   78.10   $    8.85         $   200.03   $    200.03
  1/13/2019 Jose Enrique Lemus                 $10.50   81.15   $    8.85         $   216.04   $    216.04
  1/20/2019 Jose Enrique Lemus                 $10.50   82.13   $    8.85         $   221.20   $    221.20
  1/27/2019 Jose Enrique Lemus                 $10.50   81.73   $    8.85         $   219.10   $    219.10
   2/3/2019 Jose Enrique Lemus                 $10.50   81.62   $    8.85         $   218.49   $    218.49
  2/10/2019 Jose Enrique Lemus                 $10.50   80.00   $    8.85         $   210.00   $    210.00
  2/17/2019 Jose Enrique Lemus                 $10.50   82.42   $    8.85         $   222.69   $    222.69
  2/24/2019 Jose Enrique Lemus                 $10.50   81.25   $    8.85         $   216.56   $    216.56
   3/3/2019 Jose Enrique Lemus                 $10.50   83.05   $    8.85         $   226.01   $    226.01
  3/10/2019 Jose Enrique Lemus                 $10.50   83.05   $    8.85         $   226.01   $    226.01
  3/17/2019 Jose Enrique Lemus                 $10.50   84.10   $    8.85         $   231.53   $    231.53
  3/24/2019 Jose Enrique Lemus                 $10.50   83.63   $    8.85         $   229.08   $    229.08
  3/31/2019 Jose Enrique Lemus                 $10.50   84.58   $    8.85         $   234.06   $    234.06
   4/7/2019 Jose Enrique Lemus                 $10.50   84.45   $    8.85         $   233.36   $    233.36
  4/14/2019 Jose Enrique Lemus                 $10.50   84.88   $    8.85         $   235.64   $    235.64
  4/21/2019 Jose Enrique Lemus                 $10.50   84.72   $    8.85         $   234.76   $    234.76
  4/28/2019 Jose Enrique Lemus                 $10.50   83.53   $    8.85         $   228.55   $    228.55
   5/5/2019 Jose Enrique Lemus                 $10.50   84.67   $    8.85         $   234.50   $    234.50
  5/12/2019 Jose Enrique Lemus                 $10.50   84.27   $    8.85         $   232.40   $    232.40
  5/19/2019 Jose Enrique Lemus                 $10.50   85.35   $    8.85         $   238.09   $    238.09
  5/26/2019 Jose Enrique Lemus                 $10.50   86.17   $    8.85         $   242.38   $    242.38
   6/2/2019 Jose Enrique Lemus                 $10.50   83.30   $    8.85         $   227.33   $    227.33
   6/9/2019 Jose Enrique Lemus                 $10.50   85.32   $    8.85         $   237.91   $    237.91
  6/16/2019 Jose Enrique Lemus                 $10.50   84.37   $    8.85         $   232.93   $    232.93
  6/23/2019 Jose Enrique Lemus                 $10.50   85.73   $    8.85         $   240.10   $    240.10
  6/30/2019 Jose Enrique Lemus                 $10.50   85.97   $   10.00         $   241.33   $    241.33
   7/7/2019 Jose Enrique Lemus                 $12.00   69.62   $   10.00         $   177.70   $    177.70
  7/14/2019 Jose Enrique Lemus                 $12.00   86.83   $   10.00         $   281.00   $    281.00
  7/21/2019 Jose Enrique Lemus                 $12.00   86.00   $   10.00         $   276.00   $    276.00
  7/28/2019 Jose Enrique Lemus                 $12.00   85.90   $   10.00         $   275.40   $    275.40



                                                 352
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 354 of 683 PageID: 1201
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

   8/4/2019 Jose Enrique Lemus                 $12.00   87.12   $   10.00               $   282.70   $   282.70
  8/11/2019 Jose Enrique Lemus                 $12.00   86.88   $   10.00               $   281.30   $   281.30
  8/18/2019 Jose Enrique Lemus                 $12.00   86.12   $   10.00               $   276.70   $   276.70
  8/25/2019 Jose Enrique Lemus                 $12.00   86.43   $   10.00               $   278.60   $   278.60
   9/1/2019 Jose Enrique Lemus                 $12.00   85.63   $   10.00               $   273.80   $   273.80
   9/8/2019 Jose Enrique Lemus                 $12.00   82.58   $   10.00               $   255.50   $   255.50
  9/15/2019 Jose Enrique Lemus                 $12.00   84.75   $   10.00               $   268.50   $   268.50
  9/22/2019 Jose Enrique Lemus                 $12.00   85.42   $   10.00               $   272.50   $   272.50
  9/29/2019 Jose Enrique Lemus                 $12.00   82.52   $   10.00               $   255.10   $   255.10
  10/6/2019 Jose Enrique Lemus                 $12.00   84.57   $   10.00               $   267.40   $   267.40
 10/13/2019 Jose Enrique Lemus                 $12.00   84.95   $   10.00               $   269.70   $   269.70
 10/20/2019 Jose Enrique Lemus                 $12.00   83.33   $   10.00               $   260.00   $   260.00
 10/27/2019 Jose Enrique Lemus                 $12.00   83.47   $   10.00               $   260.80   $   260.80
  11/3/2019 Jose Enrique Lemus                 $12.00   83.37   $   10.00               $   260.20   $   260.20
 11/10/2019 Jose Enrique Lemus                 $12.00   83.53   $   10.00               $   261.20   $   261.20
 11/17/2019 Jose Enrique Lemus                 $12.00   83.35   $   10.00               $   260.10   $   260.10
 11/24/2019 Jose Enrique Lemus                 $12.00   83.88   $   10.00               $   263.30   $   263.30
  12/1/2019 Jose Enrique Lemus                 $12.00   69.33   $   10.00               $   176.00   $   176.00
  12/8/2019 Jose Enrique Lemus                 $12.00   81.93   $   10.00               $   251.60   $   251.60
 12/15/2019 Jose Enrique Lemus                 $12.00   83.68   $   10.00               $   262.10   $   262.10
 12/22/2019 Jose Enrique Lemus                 $12.00   82.95   $   10.00               $   257.70   $   257.70
 12/29/2019 Jose Enrique Lemus                 $12.00   65.28   $   10.00               $   151.70   $   151.70
   1/5/2020 Jose Enrique Lemus                 $12.00   82.17   $   11.00               $   253.00   $   253.00
  1/12/2020 Jose Enrique Lemus                 $12.00   84.73   $   11.00               $   268.40   $   268.40
  1/19/2020 Jose Enrique Lemus                 $12.00   84.12   $   11.00               $   264.70   $   264.70
  1/26/2020 Jose Enrique Lemus                 $12.00   72.95   $   11.00               $   197.70   $   197.70
  1/26/2020 Jose Escamilla                     $11.00   58.17   $   11.00               $    99.92   $    99.92
  1/12/2020 Jose Espada                        $10.00   52.88   $   11.00   $   52.88   $    70.86   $   123.74
  1/19/2020 Jose Espada                        $10.00   60.33   $   11.00   $   60.33   $   111.83   $   172.17
  1/26/2020 Jose Espada                        $10.00   57.73   $   11.00   $   57.73   $    97.53   $   155.27
   2/3/2019 Jose Ferreira                      $14.00   41.88   $    8.85               $    13.18   $    13.18
  2/10/2019 Jose Ferreira                      $14.00   46.07   $    8.85               $    42.47   $    42.47
  2/17/2019 Jose Ferreira                      $14.00   46.73   $    8.85               $    47.13   $    47.13
  2/24/2019 Jose Ferreira                      $14.00   62.12   $    8.85               $   154.82   $   154.82
   3/3/2019 Jose Ferreira                      $14.00   54.68   $    8.85               $   102.78   $   102.78
  3/17/2019 Jose Ferreira                      $14.00   52.50   $    8.85               $    87.50   $    87.50
  5/26/2019 Jose Ferreira                      $14.00   55.15   $    8.85               $   106.05   $   106.05
  6/30/2019 Jose Ferreira                      $14.00   60.00   $   10.00               $   140.00   $   140.00
   7/7/2019 Jose Ferreira                      $14.00   44.92   $   10.00               $    34.42   $    34.42
  7/14/2019 Jose Ferreira                      $14.00   48.45   $   10.00               $    59.15   $    59.15
  7/21/2019 Jose Ferreira                      $14.00   61.53   $   10.00               $   150.73   $   150.73
  7/28/2019 Jose Ferreira                      $14.00   43.95   $   10.00               $    27.65   $    27.65
   8/4/2019 Jose Ferreira                      $14.00   45.13   $   10.00               $    35.93   $    35.93
  8/11/2019 Jose Ferreira                      $14.00   43.72   $   10.00               $    26.02   $    26.02
   9/8/2019 Jose Gabriel Ortiz                 $11.00   49.15   $   10.00               $    50.33   $    50.33
  9/29/2019 Jose Gabriel Ortiz                 $11.00   47.52   $   10.00               $    41.34   $    41.34
  10/6/2019 Jose Gabriel Ortiz                 $11.00   48.58   $   10.00               $    47.21   $    47.21
 10/27/2019 Jose Gabriel Ortiz                 $11.00   58.73   $   10.00               $   103.03   $   103.03
  11/3/2019 Jose Gabriel Ortiz                 $11.00   46.90   $   10.00               $    37.95   $    37.95
 11/10/2019 Jose Gabriel Ortiz                 $11.00   46.13   $   10.00               $    33.73   $    33.73



                                                 353
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 355 of 683 PageID: 1202
                                                    Exhibit 2
                                            New Jersey Computations


   Week                                                            State Section 7: Section 7: Total Section 7
                                                   Hourly Hours/
  Ending                        Name                             Minumum Regular    Half-Time Overtime Back
                                                    Rate Week
   Date                                                            Wage  Rate Due     Due       Wages Due

  12/8/2019 Jose Gabriel Ortiz                     $11.00   50.27   $   10.00         $    56.47   $     56.47
 12/15/2019 Jose Gabriel Ortiz                     $11.00   46.73   $   10.00         $    37.03   $     37.03
  12/3/2017 Jose Isaias Bonilla Velasquez          $11.00   60.58   $    8.44         $   113.21   $    113.21
 12/10/2017 Jose Isaias Bonilla Velasquez          $11.00   71.12   $    8.44         $   171.14   $    171.14
 12/17/2017 Jose Isaias Bonilla Velasquez          $11.00   71.75   $    8.44         $   174.63   $    174.63
 12/24/2017 Jose Isaias Bonilla Velasquez          $11.00   58.23   $    8.44         $   100.28   $    100.28
 12/31/2017 Jose Isaias Bonilla Velasquez          $11.00   60.37   $    8.44         $   112.02   $    112.02
   1/7/2018 Jose Isaias Bonilla Velasquez          $11.00   56.72   $    8.60         $    91.94   $     91.94
  1/14/2018 Jose Isaias Bonilla Velasquez          $11.00   67.70   $    8.60         $   152.35   $    152.35
  1/21/2018 Jose Isaias Bonilla Velasquez          $11.00   59.03   $    8.60         $   104.68   $    104.68
  1/28/2018 Jose Isaias Bonilla Velasquez          $11.00   65.53   $    8.60         $   140.43   $    140.43
   2/4/2018 Jose Isaias Bonilla Velasquez          $11.00   55.78   $    8.60         $    86.81   $     86.81
  2/11/2018 Jose Isaias Bonilla Velasquez          $11.00   66.87   $    8.60         $   147.77   $    147.77
  2/18/2018 Jose Isaias Bonilla Velasquez          $11.00   58.62   $    8.60         $   102.39   $    102.39
  2/25/2018 Jose Isaias Bonilla Velasquez          $11.00   58.38   $    8.60         $   101.11   $    101.11
   3/4/2018 Jose Isaias Bonilla Velasquez          $11.00   57.95   $    8.60         $    98.73   $     98.73
  3/25/2018 Jose Isaias Bonilla Velasquez          $11.00   58.02   $    8.60         $    99.09   $     99.09
   4/1/2018 Jose Isaias Bonilla Velasquez          $11.00   60.72   $    8.60         $   113.94   $    113.94
   4/8/2018 Jose Isaias Bonilla Velasquez          $11.00   45.02   $    8.60         $    27.59   $     27.59
  4/15/2018 Jose Isaias Bonilla Velasquez          $11.00   66.67   $    8.60         $   146.67   $    146.67
  4/22/2018 Jose Isaias Bonilla Velasquez          $11.00   64.32   $    8.60         $   133.74   $    133.74
  4/29/2018 Jose Isaias Bonilla Velasquez          $11.00   59.07   $    8.60         $   104.87   $    104.87
   5/6/2018 Jose Isaias Bonilla Velasquez          $11.00   51.87   $    8.60         $    65.27   $     65.27
  5/13/2018 Jose Isaias Bonilla Velasquez          $11.00   62.38   $    8.60         $   123.11   $    123.11
  5/20/2018 Jose Isaias Bonilla Velasquez          $11.00   69.93   $    8.60         $   164.63   $    164.63
  5/27/2018 Jose Isaias Bonilla Velasquez          $11.00   55.47   $    8.60         $    85.07   $     85.07
   6/3/2018 Jose Isaias Bonilla Velasquez          $11.00   67.25   $    8.60         $   149.88   $    149.88
  6/10/2018 Jose Isaias Bonilla Velasquez          $11.00   71.10   $    8.60         $   171.05   $    171.05
  6/17/2018 Jose Isaias Bonilla Velasquez          $11.00   68.78   $    8.60         $   158.31   $    158.31
  6/24/2018 Jose Isaias Bonilla Velasquez          $11.00   68.20   $    8.60         $   155.10   $    155.10
   7/1/2018 Jose Isaias Bonilla Velasquez          $11.00   69.80   $    8.60         $   163.90   $    163.90
   7/8/2018 Jose Isaias Bonilla Velasquez          $11.00   60.55   $    8.60         $   113.03   $    113.03
  7/15/2018 Jose Isaias Bonilla Velasquez          $11.00   67.70   $    8.60         $   152.35   $    152.35
  7/22/2018 Jose Isaias Bonilla Velasquez          $11.00   67.37   $    8.60         $   150.52   $    150.52
  8/12/2018 Jose Isaias Bonilla Velasquez          $11.00   64.72   $    8.60         $   135.94   $    135.94
  8/19/2018 Jose Isaias Bonilla Velasquez          $11.00   69.73   $    8.60         $   163.53   $    163.53
  8/26/2018 Jose Isaias Bonilla Velasquez          $11.00   66.57   $    8.60         $   146.12   $    146.12
   9/2/2018 Jose Isaias Bonilla Velasquez          $11.00   65.65   $    8.60         $   141.08   $    141.08
   9/9/2018 Jose Isaias Bonilla Velasquez          $11.00   58.65   $    8.60         $   102.58   $    102.58
  9/16/2018 Jose Isaias Bonilla Velasquez          $11.00   64.08   $    8.60         $   132.46   $    132.46
  9/23/2018 Jose Isaias Bonilla Velasquez          $11.00   65.55   $    8.60         $   140.53   $    140.53
  9/30/2018 Jose Isaias Bonilla Velasquez          $11.00   63.40   $    8.60         $   128.70   $    128.70
  10/7/2018 Jose Isaias Bonilla Velasquez          $11.00   65.22   $    8.60         $   138.69   $    138.69
 10/14/2018 Jose Isaias Bonilla Velasquez          $11.00   68.12   $    8.60         $   154.64   $    154.64
 10/21/2018 Jose Isaias Bonilla Velasquez          $11.00   66.83   $    8.60         $   147.58   $    147.58
 10/28/2018 Jose Isaias Bonilla Velasquez          $11.00   65.05   $    8.60         $   137.78   $    137.78
  11/4/2018 Jose Isaias Bonilla Velasquez          $11.00   63.68   $    8.60         $   130.26   $    130.26
 11/11/2018 Jose Isaias Bonilla Velasquez          $11.00   64.12   $    8.60         $   132.64   $    132.64
 11/18/2018 Jose Isaias Bonilla Velasquez          $11.00   63.92   $    8.60         $   131.54   $    131.54
 11/25/2018 Jose Isaias Bonilla Velasquez          $11.00   53.22   $    8.60         $    72.69   $     72.69



                                                     354
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 356 of 683 PageID: 1203
                                                    Exhibit 2
                                            New Jersey Computations


   Week                                                            State Section 7: Section 7: Total Section 7
                                                   Hourly Hours/
  Ending                        Name                             Minumum Regular    Half-Time Overtime Back
                                                    Rate Week
   Date                                                            Wage  Rate Due     Due       Wages Due

  12/2/2018 Jose Isaias Bonilla Velasquez          $11.00   65.88   $   8.60          $   142.36   $    142.36
  12/9/2018 Jose Isaias Bonilla Velasquez          $11.00   66.38   $   8.60          $   145.11   $    145.11
 12/16/2018 Jose Isaias Bonilla Velasquez          $11.00   65.73   $   8.60          $   141.53   $    141.53
 12/23/2018 Jose Isaias Bonilla Velasquez          $11.00   67.03   $   8.60          $   148.68   $    148.68
 12/30/2018 Jose Isaias Bonilla Velasquez          $11.00   46.95   $   8.60          $    38.23   $     38.23
   1/6/2019 Jose Isaias Bonilla Velasquez          $11.00   51.12   $   8.85          $    61.14   $     61.14
  1/13/2019 Jose Isaias Bonilla Velasquez          $11.00   66.63   $   8.85          $   146.48   $    146.48
  1/20/2019 Jose Isaias Bonilla Velasquez          $11.00   65.05   $   8.85          $   137.78   $    137.78
  1/27/2019 Jose Isaias Bonilla Velasquez          $11.00   65.25   $   8.85          $   138.88   $    138.88
   2/3/2019 Jose Isaias Bonilla Velasquez          $11.00   62.63   $   8.85          $   124.48   $    124.48
  2/10/2019 Jose Isaias Bonilla Velasquez          $11.00   62.80   $   8.85          $   125.40   $    125.40
  2/17/2019 Jose Isaias Bonilla Velasquez          $11.00   63.52   $   8.85          $   129.34   $    129.34
  2/24/2019 Jose Isaias Bonilla Velasquez          $11.00   68.38   $   8.85          $   156.11   $    156.11
   3/3/2019 Jose Isaias Bonilla Velasquez          $11.00   63.02   $   8.85          $   126.59   $    126.59
  3/10/2019 Jose Isaias Bonilla Velasquez          $11.00   61.95   $   8.85          $   120.73   $    120.73
  3/17/2019 Jose Isaias Bonilla Velasquez          $11.00   67.25   $   8.85          $   149.88   $    149.88
  3/24/2019 Jose Isaias Bonilla Velasquez          $11.00   52.02   $   8.85          $    66.09   $     66.09
  4/30/2017 Jose Jorge Cusnero                      $9.50   64.80   $   8.44          $   117.80   $    117.80
   5/7/2017 Jose Jorge Cusnero                      $9.50   52.58   $   8.44          $    59.77   $     59.77
  5/14/2017 Jose Jorge Cusnero                      $9.50   62.57   $   8.44          $   107.19   $    107.19
  2/10/2019 Jose Juan Peralta                       $9.00   65.05   $   8.85          $   112.73   $    112.73
  4/23/2017 Jose L. Luna                            $9.50   51.33   $   8.44          $    53.83   $     53.83
   2/5/2017 Jose Leon Martin                       $10.50   59.07   $   8.44          $   100.10   $    100.10
  2/12/2017 Jose Leon Martin                       $10.50   49.65   $   8.44          $    50.66   $     50.66
  2/19/2017 Jose Leon Martin                       $10.50   59.82   $   8.44          $   104.04   $    104.04
  2/26/2017 Jose Leon Martin                       $10.50   59.20   $   8.44          $   100.80   $    100.80
   3/5/2017 Jose Leon Martin                       $10.50   60.13   $   8.44          $   105.70   $    105.70
  3/12/2017 Jose Leon Martin                       $10.50   59.37   $   8.44          $   101.68   $    101.68
  3/19/2017 Jose Leon Martin                       $10.50   48.48   $   8.44          $    44.54   $     44.54
  3/26/2017 Jose Leon Martin                       $10.50   60.02   $   8.44          $   105.09   $    105.09
   4/2/2017 Jose Leon Martin                       $10.50   58.63   $   8.44          $    97.83   $     97.83
   4/9/2017 Jose Leon Martin                       $10.50   60.17   $   8.44          $   105.88   $    105.88
  4/16/2017 Jose Leon Martin                       $10.50   60.13   $   8.44          $   105.70   $    105.70
  4/23/2017 Jose Leon Martin                       $10.50   60.18   $   8.44          $   105.96   $    105.96
  4/30/2017 Jose Leon Martin                       $10.50   58.18   $   8.44          $    95.46   $     95.46
   5/7/2017 Jose Leon Martin                       $10.50   59.10   $   8.44          $   100.28   $    100.28
  5/14/2017 Jose Leon Martin                       $10.50   60.10   $   8.44          $   105.53   $    105.53
  5/21/2017 Jose Leon Martin                       $10.50   60.15   $   8.44          $   105.79   $    105.79
  5/28/2017 Jose Leon Martin                       $10.50   60.08   $   8.44          $   105.44   $    105.44
   6/4/2017 Jose Leon Martin                       $10.50   60.27   $   8.44          $   106.40   $    106.40
  6/11/2017 Jose Leon Martin                       $10.50   60.07   $   8.44          $   105.35   $    105.35
  6/18/2017 Jose Leon Martin                       $10.50   60.23   $   8.44          $   106.23   $    106.23
  6/25/2017 Jose Leon Martin                       $10.50   60.25   $   8.44          $   106.31   $    106.31
   7/2/2017 Jose Leon Martin                       $10.50   60.20   $   8.44          $   106.05   $    106.05
   7/9/2017 Jose Leon Martin                       $10.50   60.48   $   8.44          $   107.54   $    107.54
  7/16/2017 Jose Leon Martin                       $10.50   60.20   $   8.44          $   106.05   $    106.05
  7/23/2017 Jose Leon Martin                       $10.50   60.18   $   8.44          $   105.96   $    105.96
  7/30/2017 Jose Leon Martin                       $10.50   59.93   $   8.44          $   104.65   $    104.65
   8/6/2017 Jose Leon Martin                       $10.50   59.63   $   8.44          $   103.08   $    103.08
  8/13/2017 Jose Leon Martin                       $10.50   60.03   $   8.44          $   105.18   $    105.18



                                                     355
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 357 of 683 PageID: 1204
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  8/20/2017 Jose Leon Martin                 $10.50   59.92   $   8.44          $   104.56   $    104.56
  8/27/2017 Jose Leon Martin                 $10.50   60.17   $   8.44          $   105.88   $    105.88
   9/3/2017 Jose Leon Martin                 $10.50   60.07   $   8.44          $   105.35   $    105.35
  9/10/2017 Jose Leon Martin                 $10.50   60.75   $   8.44          $   108.94   $    108.94
  9/17/2017 Jose Leon Martin                 $10.50   60.00   $   8.44          $   105.00   $    105.00
  9/24/2017 Jose Leon Martin                 $10.50   59.85   $   8.44          $   104.21   $    104.21
  10/1/2017 Jose Leon Martin                 $10.50   59.97   $   8.44          $   104.83   $    104.83
  10/8/2017 Jose Leon Martin                 $10.50   60.08   $   8.44          $   105.44   $    105.44
 10/15/2017 Jose Leon Martin                 $10.50   59.82   $   8.44          $   104.04   $    104.04
 10/22/2017 Jose Leon Martin                 $10.50   59.98   $   8.44          $   104.91   $    104.91
 10/29/2017 Jose Leon Martin                 $10.50   59.73   $   8.44          $   103.60   $    103.60
  11/5/2017 Jose Leon Martin                 $10.50   60.00   $   8.44          $   105.00   $    105.00
 11/12/2017 Jose Leon Martin                 $10.50   58.95   $   8.44          $    99.49   $     99.49
 11/19/2017 Jose Leon Martin                 $10.50   59.83   $   8.44          $   104.13   $    104.13
 11/26/2017 Jose Leon Martin                 $10.50   50.22   $   8.44          $    53.64   $     53.64
  12/3/2017 Jose Leon Martin                 $10.50   59.27   $   8.44          $   101.15   $    101.15
 12/10/2017 Jose Leon Martin                 $10.50   58.68   $   8.44          $    98.09   $     98.09
 12/17/2017 Jose Leon Martin                 $10.50   59.88   $   8.44          $   104.39   $    104.39
 12/24/2017 Jose Leon Martin                 $10.50   60.15   $   8.44          $   105.79   $    105.79
 12/31/2017 Jose Leon Martin                 $10.50   50.07   $   8.44          $    52.85   $     52.85
   1/7/2018 Jose Leon Martin                 $10.50   47.80   $   8.60          $    40.95   $     40.95
  1/14/2018 Jose Leon Martin                 $10.50   59.00   $   8.60          $    99.75   $     99.75
  1/21/2018 Jose Leon Martin                 $10.50   60.05   $   8.60          $   105.26   $    105.26
  1/28/2018 Jose Leon Martin                 $10.50   60.07   $   8.60          $   105.35   $    105.35
   2/4/2018 Jose Leon Martin                 $10.50   60.08   $   8.60          $   105.44   $    105.44
  2/11/2018 Jose Leon Martin                 $10.50   59.08   $   8.60          $   100.19   $    100.19
  2/18/2018 Jose Leon Martin                 $10.50   60.07   $   8.60          $   105.35   $    105.35
  2/25/2018 Jose Leon Martin                 $10.50   60.05   $   8.60          $   105.26   $    105.26
   3/4/2018 Jose Leon Martin                 $10.50   59.35   $   8.60          $   101.59   $    101.59
  3/25/2018 Jose Leon Martin                 $10.50   58.47   $   8.60          $    96.95   $     96.95
   4/1/2018 Jose Leon Martin                 $10.50   60.23   $   8.60          $   106.23   $    106.23
   4/8/2018 Jose Leon Martin                 $10.50   59.78   $   8.60          $   103.86   $    103.86
  4/15/2018 Jose Leon Martin                 $10.50   60.20   $   8.60          $   106.05   $    106.05
  4/22/2018 Jose Leon Martin                 $10.50   59.77   $   8.60          $   103.78   $    103.78
  4/29/2018 Jose Leon Martin                 $10.50   60.13   $   8.60          $   105.70   $    105.70
   5/6/2018 Jose Leon Martin                 $10.50   60.18   $   8.60          $   105.96   $    105.96
  5/13/2018 Jose Leon Martin                 $10.50   60.08   $   8.60          $   105.44   $    105.44
  5/20/2018 Jose Leon Martin                 $10.50   60.05   $   8.60          $   105.26   $    105.26
  5/27/2018 Jose Leon Martin                 $10.50   59.53   $   8.60          $   102.55   $    102.55
   6/3/2018 Jose Leon Martin                 $10.50   60.07   $   8.60          $   105.35   $    105.35
  6/10/2018 Jose Leon Martin                 $10.50   59.10   $   8.60          $   100.28   $    100.28
  6/17/2018 Jose Leon Martin                 $10.50   60.12   $   8.60          $   105.61   $    105.61
  6/24/2018 Jose Leon Martin                 $10.50   60.13   $   8.60          $   105.70   $    105.70
   7/1/2018 Jose Leon Martin                 $10.50   60.17   $   8.60          $   105.88   $    105.88
   7/8/2018 Jose Leon Martin                 $10.50   60.12   $   8.60          $   105.61   $    105.61
  7/15/2018 Jose Leon Martin                 $10.50   60.05   $   8.60          $   105.26   $    105.26
  7/22/2018 Jose Leon Martin                 $10.50   58.05   $   8.60          $    94.76   $     94.76
  7/29/2018 Jose Leon Martin                 $10.50   60.05   $   8.60          $   105.26   $    105.26
   8/5/2018 Jose Leon Martin                 $10.50   59.92   $   8.60          $   104.56   $    104.56
  8/12/2018 Jose Leon Martin                 $10.50   60.95   $   8.60          $   109.99   $    109.99



                                               356
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 358 of 683 PageID: 1205
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  8/19/2018 Jose Leon Martin                 $10.50   60.20   $    8.60         $   106.05   $    106.05
  8/26/2018 Jose Leon Martin                 $10.50   60.00   $    8.60         $   105.00   $    105.00
   9/2/2018 Jose Leon Martin                 $10.50   60.05   $    8.60         $   105.26   $    105.26
   9/9/2018 Jose Leon Martin                 $10.50   60.03   $    8.60         $   105.18   $    105.18
  9/16/2018 Jose Leon Martin                 $10.50   59.83   $    8.60         $   104.13   $    104.13
  9/23/2018 Jose Leon Martin                 $10.50   60.07   $    8.60         $   105.35   $    105.35
  9/30/2018 Jose Leon Martin                 $10.50   59.18   $    8.60         $   100.71   $    100.71
  10/7/2018 Jose Leon Martin                 $10.50   60.10   $    8.60         $   105.53   $    105.53
 10/14/2018 Jose Leon Martin                 $10.50   58.17   $    8.60         $    95.38   $     95.38
 10/21/2018 Jose Leon Martin                 $10.50   58.93   $    8.60         $    99.40   $     99.40
 10/28/2018 Jose Leon Martin                 $10.50   59.15   $    8.60         $   100.54   $    100.54
  11/4/2018 Jose Leon Martin                 $10.50   60.02   $    8.60         $   105.09   $    105.09
 11/11/2018 Jose Leon Martin                 $10.50   59.08   $    8.60         $   100.19   $    100.19
 11/18/2018 Jose Leon Martin                 $10.50   61.75   $    8.60         $   114.19   $    114.19
 11/25/2018 Jose Leon Martin                 $10.50   51.07   $    8.60         $    58.10   $     58.10
  12/2/2018 Jose Leon Martin                 $10.50   60.87   $    8.60         $   109.55   $    109.55
  12/9/2018 Jose Leon Martin                 $10.50   59.98   $    8.60         $   104.91   $    104.91
 12/16/2018 Jose Leon Martin                 $10.50   60.43   $    8.60         $   107.28   $    107.28
 12/23/2018 Jose Leon Martin                 $10.50   57.50   $    8.60         $    91.88   $     91.88
 12/30/2018 Jose Leon Martin                 $10.50   50.25   $    8.60         $    53.81   $     53.81
   1/6/2019 Jose Leon Martin                 $10.50   59.80   $    8.85         $   103.95   $    103.95
  1/13/2019 Jose Leon Martin                 $10.50   60.57   $    8.85         $   107.98   $    107.98
  1/20/2019 Jose Leon Martin                 $10.50   59.43   $    8.85         $   102.03   $    102.03
  1/27/2019 Jose Leon Martin                 $10.50   59.58   $    8.85         $   102.81   $    102.81
   2/3/2019 Jose Leon Martin                 $10.50   56.00   $    8.85         $    84.00   $     84.00
  2/10/2019 Jose Leon Martin                 $10.50   59.60   $    8.85         $   102.90   $    102.90
  2/17/2019 Jose Leon Martin                 $10.50   58.78   $    8.85         $    98.61   $     98.61
  2/24/2019 Jose Leon Martin                 $10.50   58.22   $    8.85         $    95.64   $     95.64
   3/3/2019 Jose Leon Martin                 $10.50   59.88   $    8.85         $   104.39   $    104.39
  3/10/2019 Jose Leon Martin                 $10.50   58.58   $    8.85         $    97.56   $     97.56
  3/17/2019 Jose Leon Martin                 $10.50   60.40   $    8.85         $   107.10   $    107.10
  3/24/2019 Jose Leon Martin                 $10.50   59.17   $    8.85         $   100.63   $    100.63
  3/31/2019 Jose Leon Martin                 $10.50   60.23   $    8.85         $   106.23   $    106.23
   4/7/2019 Jose Leon Martin                 $10.50   59.28   $    8.85         $   101.24   $    101.24
  4/14/2019 Jose Leon Martin                 $10.50   58.93   $    8.85         $    99.40   $     99.40
  4/21/2019 Jose Leon Martin                 $10.50   60.28   $    8.85         $   106.49   $    106.49
  4/28/2019 Jose Leon Martin                 $10.50   59.03   $    8.85         $    99.93   $     99.93
   5/5/2019 Jose Leon Martin                 $10.50   59.57   $    8.85         $   102.73   $    102.73
  5/12/2019 Jose Leon Martin                 $10.50   60.20   $    8.85         $   106.05   $    106.05
  5/19/2019 Jose Leon Martin                 $10.50   57.97   $    8.85         $    94.33   $     94.33
  5/26/2019 Jose Leon Martin                 $10.50   59.12   $    8.85         $   100.36   $    100.36
   6/2/2019 Jose Leon Martin                 $10.50   60.72   $    8.85         $   108.76   $    108.76
   6/9/2019 Jose Leon Martin                 $10.50   60.22   $    8.85         $   106.14   $    106.14
  6/16/2019 Jose Leon Martin                 $10.50   59.68   $    8.85         $   103.34   $    103.34
  6/23/2019 Jose Leon Martin                 $10.50   47.90   $    8.85         $    41.48   $     41.48
  6/30/2019 Jose Leon Martin                 $10.50   59.68   $   10.00         $   103.34   $    103.34
   7/7/2019 Jose Leon Martin                 $10.50   56.00   $   10.00         $    84.00   $     84.00
  7/14/2019 Jose Leon Martin                 $10.50   49.43   $   10.00         $    49.53   $     49.53
  7/21/2019 Jose Leon Martin                 $10.50   60.15   $   10.00         $   105.79   $    105.79
  7/28/2019 Jose Leon Martin                 $10.50   59.43   $   10.00         $   102.03   $    102.03



                                               357
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 359 of 683 PageID: 1206
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

   8/4/2019 Jose Leon Martin                   $10.50   59.42   $   10.00         $   101.94   $    101.94
  8/11/2019 Jose Leon Martin                   $10.50   57.50   $   10.00         $    91.88   $     91.88
  8/18/2019 Jose Leon Martin                   $10.50   59.20   $   10.00         $   100.80   $    100.80
  8/25/2019 Jose Leon Martin                   $10.50   58.18   $   10.00         $    95.46   $     95.46
   9/1/2019 Jose Leon Martin                   $10.50   59.22   $   10.00         $   100.89   $    100.89
   9/8/2019 Jose Leon Martin                   $10.50   58.12   $   10.00         $    95.11   $     95.11
  9/15/2019 Jose Leon Martin                   $10.50   56.10   $   10.00         $    84.53   $     84.53
  9/22/2019 Jose Leon Martin                   $10.50   59.65   $   10.00         $   103.16   $    103.16
  9/29/2019 Jose Leon Martin                   $10.50   59.63   $   10.00         $   103.08   $    103.08
  10/6/2019 Jose Leon Martin                   $10.50   58.88   $   10.00         $    99.14   $     99.14
 10/13/2019 Jose Leon Martin                   $10.50   57.82   $   10.00         $    93.54   $     93.54
 10/20/2019 Jose Leon Martin                   $10.50   59.77   $   10.00         $   103.78   $    103.78
 10/27/2019 Jose Leon Martin                   $10.50   48.20   $   10.00         $    43.05   $     43.05
  4/22/2018 Jose Leonel Portillo                $9.50   61.65   $    8.60         $   102.84   $    102.84
  4/29/2018 Jose Leonel Portillo                $9.50   63.98   $    8.60         $   113.92   $    113.92
   5/6/2018 Jose Leonel Portillo                $9.50   71.10   $    8.60         $   147.73   $    147.73
  5/13/2018 Jose Leonel Portillo                $9.50   71.10   $    8.60         $   147.73   $    147.73
  5/20/2018 Jose Leonel Portillo                $9.50   79.67   $    8.60         $   188.42   $    188.42
  5/27/2018 Jose Leonel Portillo                $9.50   58.37   $    8.60         $    87.24   $     87.24
   6/3/2018 Jose Leonel Portillo                $9.50   67.75   $    8.60         $   131.81   $    131.81
  6/10/2018 Jose Leonel Portillo                $9.50   69.87   $    8.60         $   141.87   $    141.87
  6/17/2018 Jose Leonel Portillo                $9.50   58.22   $    8.60         $    86.53   $     86.53
  6/24/2018 Jose Leonel Portillo                $9.50   71.28   $    8.60         $   148.60   $    148.60
   7/1/2018 Jose Leonel Portillo                $9.50   78.35   $    8.60         $   182.16   $    182.16
   7/8/2018 Jose Leonel Portillo                $9.50   50.08   $    8.60         $    47.90   $     47.90
 12/31/2017 Jose Luis Bautista Mejia            $8.44   52.17   $    8.44         $    51.34   $     51.34
   1/7/2018 Jose Luis Bautista Mejia            $8.60   64.77   $    8.60         $   106.50   $    106.50
  1/14/2018 Jose Luis Bautista Mejia            $8.60   75.33   $    8.60         $   151.93   $    151.93
   2/5/2017 Jose Luis DeLeon                   $11.50   48.17   $    8.44         $    46.96   $     46.96
  2/19/2017 Jose Luis DeLeon                   $11.50   42.03   $    8.44         $    11.69   $     11.69
  2/26/2017 Jose Luis DeLeon                   $11.50   46.37   $    8.44         $    36.61   $     36.61
   3/5/2017 Jose Luis DeLeon                   $11.50   48.62   $    8.44         $    49.55   $     49.55
  3/12/2017 Jose Luis DeLeon                   $11.50   48.43   $    8.44         $    48.49   $     48.49
  3/19/2017 Jose Luis DeLeon                   $11.50   43.72   $    8.44         $    21.37   $     21.37
  3/26/2017 Jose Luis DeLeon                   $11.50   48.47   $    8.44         $    48.68   $     48.68
   4/2/2017 Jose Luis DeLeon                   $11.50   50.62   $    8.44         $    61.05   $     61.05
  4/16/2017 Jose Luis DeLeon                   $11.50   49.03   $    8.44         $    51.94   $     51.94
  4/23/2017 Jose Luis DeLeon                   $11.50   48.93   $    8.44         $    51.37   $     51.37
  4/30/2017 Jose Luis DeLeon                   $11.50   48.88   $    8.44         $    51.08   $     51.08
  5/14/2017 Jose Luis DeLeon                   $11.50   49.25   $    8.44         $    53.19   $     53.19
  5/21/2017 Jose Luis DeLeon                   $11.50   49.48   $    8.44         $    54.53   $     54.53
  5/28/2017 Jose Luis DeLeon                   $11.50   47.33   $    8.44         $    42.17   $     42.17
   6/4/2017 Jose Luis DeLeon                   $11.50   46.07   $    8.44         $    34.88   $     34.88
  6/11/2017 Jose Luis DeLeon                   $11.50   53.05   $    8.44         $    75.04   $     75.04
  6/25/2017 Jose Luis DeLeon                   $11.50   56.35   $    8.44         $    94.01   $     94.01
   7/2/2017 Jose Luis DeLeon                   $11.50   50.07   $    8.44         $    57.88   $     57.88
   7/9/2017 Jose Luis DeLeon                   $11.50   45.58   $    8.44         $    32.10   $     32.10
  7/16/2017 Jose Luis DeLeon                   $11.50   48.20   $    8.44         $    47.15   $     47.15
  7/30/2017 Jose Luis DeLeon                   $11.50   56.80   $    8.44         $    96.60   $     96.60
   8/6/2017 Jose Luis DeLeon                   $11.50   48.25   $    8.44         $    47.44   $     47.44



                                                 358
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 360 of 683 PageID: 1207
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  8/13/2017 Jose Luis DeLeon                 $11.50   48.23   $   8.44          $    47.34   $     47.34
  8/20/2017 Jose Luis DeLeon                 $11.50   55.53   $   8.44          $    89.32   $     89.32
  8/27/2017 Jose Luis DeLeon                 $11.50   55.10   $   8.44          $    86.83   $     86.83
   9/3/2017 Jose Luis DeLeon                 $11.50   55.85   $   8.44          $    91.14   $     91.14
  9/10/2017 Jose Luis DeLeon                 $11.50   50.35   $   8.44          $    59.51   $     59.51
  9/17/2017 Jose Luis DeLeon                 $11.50   49.48   $   8.44          $    54.53   $     54.53
  9/24/2017 Jose Luis DeLeon                 $11.50   52.48   $   8.44          $    71.78   $     71.78
  10/1/2017 Jose Luis DeLeon                 $11.50   52.97   $   8.44          $    74.56   $     74.56
  10/8/2017 Jose Luis DeLeon                 $11.50   53.40   $   8.44          $    77.05   $     77.05
 10/15/2017 Jose Luis DeLeon                 $11.50   56.47   $   8.44          $    94.68   $     94.68
 10/22/2017 Jose Luis DeLeon                 $11.50   49.63   $   8.44          $    55.39   $     55.39
 10/29/2017 Jose Luis DeLeon                 $11.50   49.80   $   8.44          $    56.35   $     56.35
  11/5/2017 Jose Luis DeLeon                 $11.50   57.47   $   8.44          $   100.43   $    100.43
 11/12/2017 Jose Luis DeLeon                 $11.50   57.38   $   8.44          $    99.95   $     99.95
 11/19/2017 Jose Luis DeLeon                 $11.50   55.35   $   8.44          $    88.26   $     88.26
 11/26/2017 Jose Luis DeLeon                 $11.50   41.25   $   8.44          $     7.19   $      7.19
  12/3/2017 Jose Luis DeLeon                 $11.50   49.72   $   8.44          $    55.87   $     55.87
 12/10/2017 Jose Luis DeLeon                 $11.50   55.45   $   8.44          $    88.84   $     88.84
 12/17/2017 Jose Luis DeLeon                 $11.50   54.08   $   8.44          $    80.98   $     80.98
 12/24/2017 Jose Luis DeLeon                 $11.50   56.92   $   8.44          $    97.27   $     97.27
  1/21/2018 Jose Luis DeLeon                 $11.50   54.38   $   8.60          $    82.70   $     82.70
  1/28/2018 Jose Luis DeLeon                 $11.50   50.50   $   8.60          $    60.38   $     60.38
   2/4/2018 Jose Luis DeLeon                 $11.50   50.10   $   8.60          $    58.08   $     58.08
  2/11/2018 Jose Luis DeLeon                 $11.50   50.32   $   8.60          $    59.32   $     59.32
  2/18/2018 Jose Luis DeLeon                 $11.50   56.47   $   8.60          $    94.68   $     94.68
  2/25/2018 Jose Luis DeLeon                 $11.50   56.57   $   8.60          $    95.26   $     95.26
   3/4/2018 Jose Luis DeLeon                 $11.50   49.18   $   8.60          $    52.80   $     52.80
  3/25/2018 Jose Luis DeLeon                 $11.50   41.97   $   8.60          $    11.31   $     11.31
   4/8/2018 Jose Luis DeLeon                 $11.50   42.40   $   8.60          $    13.80   $     13.80
  4/15/2018 Jose Luis DeLeon                 $11.50   52.57   $   8.60          $    72.26   $     72.26
  4/22/2018 Jose Luis DeLeon                 $11.50   44.58   $   8.60          $    26.35   $     26.35
   5/6/2018 Jose Luis DeLeon                 $11.50   46.23   $   8.60          $    35.84   $     35.84
  5/20/2018 Jose Luis DeLeon                 $11.50   42.92   $   8.60          $    16.77   $     16.77
  5/27/2018 Jose Luis DeLeon                 $11.50   59.00   $   8.60          $   109.25   $    109.25
   6/3/2018 Jose Luis DeLeon                 $11.50   48.70   $   8.60          $    50.03   $     50.03
  6/10/2018 Jose Luis DeLeon                 $11.50   50.93   $   8.60          $    62.87   $     62.87
  6/17/2018 Jose Luis DeLeon                 $11.50   41.03   $   8.60          $     5.94   $      5.94
  6/24/2018 Jose Luis DeLeon                 $11.50   42.90   $   8.60          $    16.68   $     16.68
   7/1/2018 Jose Luis DeLeon                 $11.50   48.22   $   8.60          $    47.25   $     47.25
  7/15/2018 Jose Luis DeLeon                 $11.50   51.67   $   8.60          $    67.08   $     67.08
  7/22/2018 Jose Luis DeLeon                 $11.50   52.40   $   8.60          $    71.30   $     71.30
  7/29/2018 Jose Luis DeLeon                 $11.50   54.62   $   8.60          $    84.05   $     84.05
   8/5/2018 Jose Luis DeLeon                 $11.50   47.75   $   8.60          $    44.56   $     44.56
  8/12/2018 Jose Luis DeLeon                 $11.50   49.33   $   8.60          $    53.67   $     53.67
  8/19/2018 Jose Luis DeLeon                 $11.50   51.08   $   8.60          $    63.73   $     63.73
  8/26/2018 Jose Luis DeLeon                 $11.50   57.17   $   8.60          $    98.71   $     98.71
  9/23/2018 Jose Luis DeLeon                 $11.50   53.13   $   8.60          $    75.52   $     75.52
  9/30/2018 Jose Luis DeLeon                 $11.50   50.28   $   8.60          $    59.13   $     59.13
  10/7/2018 Jose Luis DeLeon                 $11.50   49.33   $   8.60          $    53.67   $     53.67
 10/14/2018 Jose Luis DeLeon                 $11.50   49.53   $   8.60          $    54.82   $     54.82



                                               359
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 361 of 683 PageID: 1208
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

 10/21/2018 Jose Luis DeLeon                 $11.50   48.65   $    8.60         $    49.74   $     49.74
 10/28/2018 Jose Luis DeLeon                 $11.50   49.60   $    8.60         $    55.20   $     55.20
  11/4/2018 Jose Luis DeLeon                 $11.50   49.30   $    8.60         $    53.48   $     53.48
 11/11/2018 Jose Luis DeLeon                 $11.50   56.45   $    8.60         $    94.59   $     94.59
 11/18/2018 Jose Luis DeLeon                 $11.50   48.62   $    8.60         $    49.55   $     49.55
  12/2/2018 Jose Luis DeLeon                 $11.50   42.42   $    8.60         $    13.90   $     13.90
  12/9/2018 Jose Luis DeLeon                 $11.50   49.38   $    8.60         $    53.95   $     53.95
 12/16/2018 Jose Luis DeLeon                 $11.50   50.02   $    8.60         $    57.60   $     57.60
 12/23/2018 Jose Luis DeLeon                 $11.50   60.15   $    8.60         $   115.86   $    115.86
 12/30/2018 Jose Luis DeLeon                 $11.50   41.07   $    8.60         $     6.13   $      6.13
  1/13/2019 Jose Luis DeLeon                 $11.50   54.53   $    8.85         $    83.57   $     83.57
  1/20/2019 Jose Luis DeLeon                 $11.50   49.32   $    8.85         $    53.57   $     53.57
  1/27/2019 Jose Luis DeLeon                 $11.50   54.35   $    8.85         $    82.51   $     82.51
   2/3/2019 Jose Luis DeLeon                 $11.50   49.37   $    8.85         $    53.86   $     53.86
  2/10/2019 Jose Luis DeLeon                 $11.50   47.05   $    8.85         $    40.54   $     40.54
  2/17/2019 Jose Luis DeLeon                 $11.50   48.00   $    8.85         $    46.00   $     46.00
  2/24/2019 Jose Luis DeLeon                 $11.50   47.38   $    8.85         $    42.45   $     42.45
  3/17/2019 Jose Luis DeLeon                 $11.50   48.15   $    8.85         $    46.86   $     46.86
  3/24/2019 Jose Luis DeLeon                 $11.50   46.73   $    8.85         $    38.72   $     38.72
  3/31/2019 Jose Luis DeLeon                 $11.50   49.22   $    8.85         $    53.00   $     53.00
   4/7/2019 Jose Luis DeLeon                 $11.50   48.47   $    8.85         $    48.68   $     48.68
  4/14/2019 Jose Luis DeLeon                 $11.50   47.17   $    8.85         $    41.21   $     41.21
  4/21/2019 Jose Luis DeLeon                 $11.50   52.17   $    8.85         $    69.96   $     69.96
  4/28/2019 Jose Luis DeLeon                 $11.50   54.20   $    8.85         $    81.65   $     81.65
   5/5/2019 Jose Luis DeLeon                 $11.50   42.33   $    8.85         $    13.42   $     13.42
  5/12/2019 Jose Luis DeLeon                 $11.50   47.78   $    8.85         $    44.75   $     44.75
   6/9/2019 Jose Luis DeLeon                 $11.50   48.15   $    8.85         $    46.86   $     46.86
  6/16/2019 Jose Luis DeLeon                 $11.50   47.83   $    8.85         $    45.04   $     45.04
  6/23/2019 Jose Luis DeLeon                 $11.50   48.88   $    8.85         $    51.08   $     51.08
  6/30/2019 Jose Luis DeLeon                 $11.50   42.48   $   10.00         $    14.28   $     14.28
  7/14/2019 Jose Luis DeLeon                 $11.50   44.02   $   10.00         $    23.10   $     23.10
  7/21/2019 Jose Luis DeLeon                 $11.50   48.22   $   10.00         $    47.25   $     47.25
  7/28/2019 Jose Luis DeLeon                 $11.50   48.13   $   10.00         $    46.77   $     46.77
   8/4/2019 Jose Luis DeLeon                 $11.50   47.87   $   10.00         $    45.23   $     45.23
  8/11/2019 Jose Luis DeLeon                 $11.50   51.07   $   10.00         $    63.63   $     63.63
  8/18/2019 Jose Luis DeLeon                 $11.50   46.53   $   10.00         $    37.57   $     37.57
  8/25/2019 Jose Luis DeLeon                 $11.50   47.35   $   10.00         $    42.26   $     42.26
  9/22/2019 Jose Luis DeLeon                 $11.50   44.65   $   10.00         $    26.74   $     26.74
  9/29/2019 Jose Luis DeLeon                 $11.50   50.78   $   10.00         $    62.00   $     62.00
 10/13/2019 Jose Luis DeLeon                 $11.50   45.02   $   10.00         $    28.85   $     28.85
  11/3/2019 Jose Luis DeLeon                 $11.50   41.62   $   10.00         $     9.30   $      9.30
 11/10/2019 Jose Luis DeLeon                 $11.50   45.87   $   10.00         $    33.73   $     33.73
 11/17/2019 Jose Luis DeLeon                 $11.50   45.42   $   10.00         $    31.15   $     31.15
 11/24/2019 Jose Luis DeLeon                 $11.50   46.78   $   10.00         $    39.00   $     39.00
 12/15/2019 Jose Luis DeLeon                 $11.50   46.50   $   10.00         $    37.38   $     37.38
 12/22/2019 Jose Luis DeLeon                 $11.50   42.55   $   10.00         $    14.66   $     14.66
  1/12/2020 Jose Luis DeLeon                 $11.50   40.22   $   11.00         $     1.25   $      1.25
  1/19/2020 Jose Luis DeLeon                 $11.50   42.22   $   11.00         $    12.75   $     12.75
 10/29/2017 Jose Luis Jerrez                  $9.82   59.85   $    8.44         $    97.46   $     97.46
  11/5/2017 Jose Luis Jerrez                  $9.82   56.52   $    8.44         $    81.10   $     81.10



                                               360
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 362 of 683 PageID: 1209
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

 11/12/2017 Jose Luis Jerrez                  $9.82   47.27   $   8.44          $    35.68   $     35.68
 11/19/2017 Jose Luis Jerrez                  $9.82   61.28   $   8.44          $   104.50   $    104.50
 11/26/2017 Jose Luis Jerrez                  $9.82   48.90   $   8.44          $    43.70   $     43.70
  12/3/2017 Jose Luis Jerrez                  $9.82   54.20   $   8.44          $    69.72   $     69.72
 12/10/2017 Jose Luis Jerrez                  $9.82   61.05   $   8.44          $   103.36   $    103.36
 12/17/2017 Jose Luis Jerrez                  $9.82   62.15   $   8.44          $   108.76   $    108.76
 12/24/2017 Jose Luis Jerrez                  $9.82   64.20   $   8.44          $   118.82   $    118.82
 12/31/2017 Jose Luis Jerrez                  $9.82   53.20   $   8.44          $    64.81   $     64.81
   1/7/2018 Jose Luis Jerrez                  $9.82   42.72   $   8.60          $    13.34   $     13.34
  1/14/2018 Jose Luis Jerrez                  $9.82   58.70   $   8.60          $    91.82   $     91.82
  1/21/2018 Jose Luis Jerrez                  $9.82   57.35   $   8.60          $    85.19   $     85.19
  1/28/2018 Jose Luis Jerrez                  $9.82   63.00   $   8.60          $   112.93   $    112.93
   2/4/2018 Jose Luis Jerrez                  $9.82   55.53   $   8.60          $    76.27   $     76.27
  2/11/2018 Jose Luis Jerrez                  $9.82   61.13   $   8.60          $   103.76   $    103.76
  2/18/2018 Jose Luis Jerrez                  $9.82   63.73   $   8.60          $   116.53   $    116.53
  2/25/2018 Jose Luis Jerrez                  $9.82   61.10   $   8.60          $   103.60   $    103.60
   3/4/2018 Jose Luis Jerrez                  $9.82   63.40   $   8.60          $   114.89   $    114.89
  3/25/2018 Jose Luis Jerrez                  $9.82   59.98   $   8.60          $    98.12   $     98.12
   4/1/2018 Jose Luis Jerrez                  $9.82   62.90   $   8.60          $   112.44   $    112.44
   4/8/2018 Jose Luis Jerrez                  $9.82   48.87   $   8.60          $    43.54   $     43.54
  4/15/2018 Jose Luis Jerrez                  $9.82   60.13   $   8.60          $    98.85   $     98.85
  4/22/2018 Jose Luis Jerrez                  $9.82   53.92   $   8.60          $    68.33   $     68.33
  4/29/2018 Jose Luis Jerrez                  $9.82   59.00   $   8.60          $    93.29   $     93.29
   5/6/2018 Jose Luis Jerrez                  $9.82   55.72   $   8.60          $    77.17   $     77.17
  5/13/2018 Jose Luis Jerrez                  $9.82   59.47   $   8.60          $    95.58   $     95.58
  5/20/2018 Jose Luis Jerrez                  $9.82   50.97   $   8.60          $    53.85   $     53.85
  5/27/2018 Jose Luis Jerrez                  $9.82   61.93   $   8.60          $   107.69   $    107.69
   6/3/2018 Jose Luis Jerrez                  $9.82   49.78   $   8.60          $    48.04   $     48.04
  6/10/2018 Jose Luis Jerrez                  $9.82   49.22   $   8.60          $    45.25   $     45.25
  6/17/2018 Jose Luis Jerrez                  $9.82   59.95   $   8.60          $    97.95   $     97.95
  6/24/2018 Jose Luis Jerrez                  $9.82   59.22   $   8.60          $    94.35   $     94.35
   7/1/2018 Jose Luis Jerrez                  $9.82   64.68   $   8.60          $   121.20   $    121.20
   7/8/2018 Jose Luis Jerrez                  $9.82   53.28   $   8.60          $    65.22   $     65.22
  7/15/2018 Jose Luis Jerrez                  $9.82   57.22   $   8.60          $    84.53   $     84.53
  7/22/2018 Jose Luis Jerrez                  $9.82   58.55   $   8.60          $    91.08   $     91.08
  7/29/2018 Jose Luis Jerrez                  $9.82   65.70   $   8.60          $   126.19   $    126.19
   8/5/2018 Jose Luis Jerrez                  $9.82   53.07   $   8.60          $    64.16   $     64.16
  8/12/2018 Jose Luis Jerrez                  $9.82   63.03   $   8.60          $   113.09   $    113.09
  8/19/2018 Jose Luis Jerrez                  $9.82   61.07   $   8.60          $   103.44   $    103.44
  8/26/2018 Jose Luis Jerrez                  $9.82   61.60   $   8.60          $   106.06   $    106.06
   9/2/2018 Jose Luis Jerrez                  $9.82   61.30   $   8.60          $   104.58   $    104.58
   9/9/2018 Jose Luis Jerrez                  $9.82   49.03   $   8.60          $    44.35   $     44.35
  9/16/2018 Jose Luis Jerrez                  $9.82   54.27   $   8.60          $    70.05   $     70.05
  9/23/2018 Jose Luis Jerrez                  $9.82   58.87   $   8.60          $    92.64   $     92.64
  9/30/2018 Jose Luis Jerrez                  $9.82   59.40   $   8.60          $    95.25   $     95.25
  10/7/2018 Jose Luis Jerrez                  $9.82   49.18   $   8.60          $    45.09   $     45.09
 10/14/2018 Jose Luis Jerrez                  $9.82   55.30   $   8.60          $    75.12   $     75.12
 10/21/2018 Jose Luis Jerrez                  $9.82   52.88   $   8.60          $    63.26   $     63.26
 10/28/2018 Jose Luis Jerrez                  $9.82   64.08   $   8.60          $   118.25   $    118.25
  11/4/2018 Jose Luis Jerrez                  $9.82   58.17   $   8.60          $    89.20   $     89.20



                                               361
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 363 of 683 PageID: 1210
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                       Name                           Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

 11/11/2018 Jose Luis Jerrez                     $9.82   59.23   $    8.60               $    94.44   $    94.44
 11/18/2018 Jose Luis Jerrez                     $9.82   59.48   $    8.60               $    95.66   $    95.66
 11/25/2018 Jose Luis Jerrez                     $9.82   49.75   $    8.60               $    47.87   $    47.87
  12/2/2018 Jose Luis Jerrez                     $9.82   60.18   $    8.60               $    99.10   $    99.10
  12/9/2018 Jose Luis Jerrez                     $9.82   61.92   $    8.60               $   107.61   $   107.61
 12/16/2018 Jose Luis Jerrez                     $9.82   55.40   $    8.60               $    75.61   $    75.61
 12/23/2018 Jose Luis Jerrez                     $9.82   50.10   $    8.60               $    49.59   $    49.59
 12/30/2018 Jose Luis Jerrez                     $9.82   46.02   $    8.60               $    29.54   $    29.54
   1/6/2019 Jose Luis Jerrez                     $9.82   46.65   $    8.85               $    32.65   $    32.65
  1/13/2019 Jose Luis Jerrez                     $9.82   59.27   $    8.85               $    94.60   $    94.60
  1/20/2019 Jose Luis Jerrez                     $9.82   53.78   $    8.85               $    67.68   $    67.68
  1/27/2019 Jose Luis Jerrez                     $9.82   56.02   $    8.85               $    78.64   $    78.64
   2/3/2019 Jose Luis Jerrez                     $9.82   56.38   $    8.85               $    80.44   $    80.44
  2/10/2019 Jose Luis Jerrez                     $9.82   56.00   $    8.85               $    78.56   $    78.56
  2/17/2019 Jose Luis Jerrez                     $9.82   59.73   $    8.85               $    96.89   $    96.89
  2/24/2019 Jose Luis Jerrez                     $9.82   59.23   $    8.85               $    94.44   $    94.44
   3/3/2019 Jose Luis Jerrez                     $9.82   55.02   $    8.85               $    73.73   $    73.73
  3/10/2019 Jose Luis Jerrez                     $9.82   57.27   $    8.85               $    84.78   $    84.78
  3/17/2019 Jose Luis Jerrez                     $9.82   61.03   $    8.85               $   103.27   $   103.27
  3/24/2019 Jose Luis Jerrez                     $9.82   60.00   $    8.85               $    98.20   $    98.20
  3/31/2019 Jose Luis Jerrez                     $9.82   58.93   $    8.85               $    92.96   $    92.96
   4/7/2019 Jose Luis Jerrez                     $9.82   59.07   $    8.85               $    93.62   $    93.62
  4/14/2019 Jose Luis Jerrez                     $9.82   59.38   $    8.85               $    95.17   $    95.17
  4/21/2019 Jose Luis Jerrez                     $9.82   61.65   $    8.85               $   106.30   $   106.30
  4/28/2019 Jose Luis Jerrez                     $9.82   59.55   $    8.85               $    95.99   $    95.99
   5/5/2019 Jose Luis Jerrez                     $9.82   62.42   $    8.85               $   110.07   $   110.07
  5/12/2019 Jose Luis Jerrez                     $9.82   62.25   $    8.85               $   109.25   $   109.25
  5/19/2019 Jose Luis Jerrez                     $9.82   62.78   $    8.85               $   111.87   $   111.87
  5/26/2019 Jose Luis Jerrez                     $9.82   62.72   $    8.85               $   111.54   $   111.54
   6/2/2019 Jose Luis Jerrez                     $9.82   49.07   $    8.85               $    44.52   $    44.52
   6/9/2019 Jose Luis Jerrez                     $9.82   60.48   $    8.85               $   100.57   $   100.57
  6/16/2019 Jose Luis Jerrez                     $9.82   54.08   $    8.85               $    69.15   $    69.15
  6/23/2019 Jose Luis Jerrez                     $9.82   59.50   $    8.85               $    95.75   $    95.75
  6/30/2019 Jose Luis Jerrez                     $9.82   60.05   $   10.00   $   10.81   $   100.25   $   111.06
   7/7/2019 Jose Luis Jerrez                     $9.82   44.28   $   10.00   $    7.97   $    21.42   $    29.39
  7/14/2019 Jose Luis Jerrez                     $9.82   44.92   $   10.00   $    8.08   $    24.58   $    32.67
 11/24/2019 Jose M. Urena                       $11.00   53.05   $   10.00               $    71.77   $    71.77
  12/1/2019 Jose M. Urena                       $11.00   43.97   $   10.00               $    21.82   $    21.82
  12/8/2019 Jose M. Urena                       $11.00   48.90   $   10.00               $    48.95   $    48.95
 12/15/2019 Jose M. Urena                       $10.00   55.78   $   10.00               $    78.92   $    78.92
 12/22/2019 Jose M. Urena                       $10.00   59.37   $   10.00               $    96.83   $    96.83
 12/29/2019 Jose M. Urena                       $10.00   48.17   $   10.00               $    40.83   $    40.83
   1/5/2020 Jose M. Urena                       $10.00   45.78   $   11.00   $   45.78   $    31.81   $    77.59
  1/12/2020 Jose M. Urena                       $10.00   46.77   $   11.00   $   46.77   $    37.22   $    83.98
  1/19/2020 Jose M. Urena                       $10.00   49.57   $   11.00   $   49.57   $    52.62   $   102.18
  1/26/2020 Jose M. Urena                       $10.00   59.87   $   11.00   $   59.87   $   109.27   $   169.13
   7/7/2019 Jose Manuel Reyes Casillas          $10.00   72.20   $   10.00               $   161.00   $   161.00
  7/14/2019 Jose Manuel Reyes Casillas          $10.00   78.52   $   10.00               $   192.58   $   192.58
  7/21/2019 Jose Manuel Reyes Casillas          $10.00   79.73   $   10.00               $   198.67   $   198.67
  7/28/2019 Jose Manuel Reyes Casillas          $10.00   78.03   $   10.00               $   190.17   $   190.17



                                                  362
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 364 of 683 PageID: 1211
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                       Name                           Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

   8/4/2019 Jose Manuel Reyes Casillas          $10.00   79.40   $   10.00         $   197.00   $    197.00
  5/19/2019 Jose Manuel Vazquez                  $8.85   63.20   $    8.85         $   102.66   $    102.66
  4/30/2017 Jose Manuel Velasquez                $9.50   56.80   $    8.44         $    79.80   $     79.80
   5/7/2017 Jose Manuel Velasquez                $9.50   60.10   $    8.44         $    95.48   $     95.48
  5/14/2017 Jose Manuel Velasquez                $9.50   59.30   $    8.44         $    91.68   $     91.68
  5/21/2017 Jose Manuel Velasquez                $9.50   59.03   $    8.44         $    90.41   $     90.41
  5/28/2017 Jose Manuel Velasquez                $9.50   70.57   $    8.44         $   145.19   $    145.19
   6/4/2017 Jose Manuel Velasquez                $9.50   68.48   $    8.44         $   135.30   $    135.30
  6/11/2017 Jose Manuel Velasquez                $9.50   57.82   $    8.44         $    84.63   $     84.63
  6/18/2017 Jose Manuel Velasquez                $9.50   60.83   $    8.44         $    98.96   $     98.96
  6/25/2017 Jose Manuel Velasquez                $9.50   47.40   $    8.44         $    35.15   $     35.15
   7/2/2017 Jose Manuel Velasquez                $9.50   65.85   $    8.44         $   122.79   $    122.79
   7/9/2017 Jose Manuel Velasquez                $9.50   62.18   $    8.44         $   105.37   $    105.37
  7/16/2017 Jose Manuel Velasquez                $9.50   65.85   $    8.44         $   122.79   $    122.79
  7/23/2017 Jose Manuel Velasquez                $9.50   66.12   $    8.44         $   124.05   $    124.05
  7/30/2017 Jose Manuel Velasquez                $9.50   72.55   $    8.44         $   154.61   $    154.61
   8/6/2017 Jose Manuel Velasquez                $9.50   72.95   $    8.44         $   156.51   $    156.51
  8/13/2017 Jose Manuel Velasquez                $9.50   72.15   $    8.44         $   152.71   $    152.71
  8/20/2017 Jose Manuel Velasquez                $9.50   60.47   $    8.44         $    97.22   $     97.22
  8/27/2017 Jose Manuel Velasquez                $9.50   72.52   $    8.44         $   154.45   $    154.45
   9/3/2017 Jose Manuel Velasquez                $9.50   47.98   $    8.44         $    37.92   $     37.92
  9/10/2017 Jose Manuel Velasquez                $9.50   67.13   $    8.44         $   128.88   $    128.88
  9/17/2017 Jose Manuel Velasquez                $9.50   69.50   $    8.44         $   140.13   $    140.13
  9/24/2017 Jose Manuel Velasquez                $9.50   72.48   $    8.44         $   154.30   $    154.30
  10/1/2017 Jose Manuel Velasquez                $9.50   68.73   $    8.44         $   136.48   $    136.48
  10/8/2017 Jose Manuel Velasquez                $9.50   68.85   $    8.44         $   137.04   $    137.04
 10/15/2017 Jose Manuel Velasquez                $9.50   65.57   $    8.44         $   121.44   $    121.44
 10/22/2017 Jose Manuel Velasquez                $9.50   70.12   $    8.44         $   143.05   $    143.05
 10/29/2017 Jose Manuel Velasquez                $9.50   67.43   $    8.44         $   130.31   $    130.31
  11/5/2017 Jose Manuel Velasquez                $9.50   57.87   $    8.44         $    84.87   $     84.87
 11/12/2017 Jose Manuel Velasquez                $9.50   66.87   $    8.44         $   127.62   $    127.62
 11/19/2017 Jose Manuel Velasquez                $9.50   54.63   $    8.44         $    69.51   $     69.51
 11/26/2017 Jose Manuel Velasquez                $9.50   52.70   $    8.44         $    60.33   $     60.33
  12/3/2017 Jose Manuel Velasquez                $9.50   56.50   $    8.44         $    78.38   $     78.38
 12/10/2017 Jose Manuel Velasquez                $9.50   48.18   $    8.44         $    38.87   $     38.87
 12/17/2017 Jose Manuel Velasquez                $9.50   50.08   $    8.44         $    47.90   $     47.90
 12/24/2017 Jose Manuel Velasquez                $9.50   56.78   $    8.44         $    79.72   $     79.72
 12/31/2017 Jose Manuel Velasquez                $9.50   50.87   $    8.44         $    51.62   $     51.62
   1/7/2018 Jose Manuel Velasquez                $9.50   43.38   $    8.60         $    16.07   $     16.07
  1/14/2018 Jose Manuel Velasquez                $9.50   49.47   $    8.60         $    44.97   $     44.97
  1/21/2018 Jose Manuel Velasquez                $9.50   51.45   $    8.60         $    54.39   $     54.39
  1/28/2018 Jose Manuel Velasquez                $9.50   54.92   $    8.60         $    70.85   $     70.85
   2/4/2018 Jose Manuel Velasquez                $9.50   49.22   $    8.60         $    43.78   $     43.78
  2/11/2018 Jose Manuel Velasquez                $9.50   60.10   $    8.60         $    95.48   $     95.48
  2/18/2018 Jose Manuel Velasquez                $9.50   48.12   $    8.60         $    38.55   $     38.55
  2/25/2018 Jose Manuel Velasquez                $9.50   53.10   $    8.60         $    62.23   $     62.23
   3/4/2018 Jose Manuel Velasquez                $9.50   49.50   $    8.60         $    45.13   $     45.13
  3/25/2018 Jose Manuel Velasquez                $9.50   44.38   $    8.60         $    20.82   $     20.82
   4/1/2018 Jose Manuel Velasquez                $9.50   45.12   $    8.60         $    24.30   $     24.30
   4/8/2018 Jose Manuel Velasquez                $9.50   57.52   $    8.60         $    83.20   $     83.20



                                                  363
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 365 of 683 PageID: 1212
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  4/15/2018 Jose Manuel Velasquez            $9.50   48.80   $   8.60          $    41.80   $     41.80
  4/22/2018 Jose Manuel Velasquez            $9.50   49.13   $   8.60          $    43.38   $     43.38
  4/29/2018 Jose Manuel Velasquez            $9.50   49.87   $   8.60          $    46.87   $     46.87
   5/6/2018 Jose Manuel Velasquez            $9.50   55.95   $   8.60          $    75.76   $     75.76
  5/20/2018 Jose Manuel Velasquez            $9.50   49.75   $   8.60          $    46.31   $     46.31
  5/27/2018 Jose Manuel Velasquez            $9.50   59.93   $   8.60          $    94.68   $     94.68
   6/3/2018 Jose Manuel Velasquez            $9.50   62.67   $   8.60          $   107.67   $    107.67
  6/10/2018 Jose Manuel Velasquez            $9.50   59.68   $   8.60          $    93.50   $     93.50
  6/17/2018 Jose Manuel Velasquez            $9.50   57.10   $   8.60          $    81.23   $     81.23
  6/24/2018 Jose Manuel Velasquez            $9.50   55.32   $   8.60          $    72.75   $     72.75
   7/1/2018 Jose Manuel Velasquez            $9.50   51.57   $   8.60          $    54.94   $     54.94
   7/8/2018 Jose Manuel Velasquez            $9.50   45.35   $   8.60          $    25.41   $     25.41
  7/15/2018 Jose Manuel Velasquez            $9.50   41.18   $   8.60          $     5.62   $      5.62
  7/22/2018 Jose Manuel Velasquez            $9.50   65.58   $   8.60          $   121.52   $    121.52
  8/12/2018 Jose Manuel Velasquez            $9.50   64.67   $   8.60          $   117.17   $    117.17
  8/19/2018 Jose Manuel Velasquez            $9.50   66.52   $   8.60          $   125.95   $    125.95
  8/26/2018 Jose Manuel Velasquez            $9.50   61.55   $   8.60          $   102.36   $    102.36
   9/2/2018 Jose Manuel Velasquez            $9.50   61.97   $   8.60          $   104.34   $    104.34
   9/9/2018 Jose Manuel Velasquez            $9.50   53.30   $   8.60          $    63.18   $     63.18
  9/16/2018 Jose Manuel Velasquez            $9.50   60.78   $   8.60          $    98.72   $     98.72
  9/23/2018 Jose Manuel Velasquez            $9.50   62.05   $   8.60          $   104.74   $    104.74
  9/30/2018 Jose Manuel Velasquez            $9.50   61.70   $   8.60          $   103.08   $    103.08
  10/7/2018 Jose Manuel Velasquez            $9.50   60.18   $   8.60          $    95.87   $     95.87
 10/14/2018 Jose Manuel Velasquez            $9.50   50.48   $   8.60          $    49.80   $     49.80
 10/21/2018 Jose Manuel Velasquez            $9.50   60.53   $   8.60          $    97.53   $     97.53
 10/28/2018 Jose Manuel Velasquez            $9.50   55.80   $   8.60          $    75.05   $     75.05
  11/4/2018 Jose Manuel Velasquez            $9.50   51.17   $   8.60          $    53.04   $     53.04
 11/11/2018 Jose Manuel Velasquez            $9.50   60.12   $   8.60          $    95.55   $     95.55
 11/18/2018 Jose Manuel Velasquez            $9.50   59.12   $   8.60          $    90.80   $     90.80
 11/25/2018 Jose Manuel Velasquez            $9.50   50.15   $   8.60          $    48.21   $     48.21
  12/2/2018 Jose Manuel Velasquez            $9.50   60.32   $   8.60          $    96.50   $     96.50
  12/9/2018 Jose Manuel Velasquez            $9.50   51.03   $   8.60          $    52.41   $     52.41
 12/16/2018 Jose Manuel Velasquez            $9.50   57.73   $   8.60          $    84.23   $     84.23
 12/23/2018 Jose Manuel Velasquez            $9.50   60.17   $   8.60          $    95.79   $     95.79
   1/6/2019 Jose Manuel Velasquez            $9.50   51.57   $   8.85          $    54.94   $     54.94
  1/13/2019 Jose Manuel Velasquez            $9.50   62.03   $   8.85          $   104.66   $    104.66
  1/20/2019 Jose Manuel Velasquez            $9.50   60.37   $   8.85          $    96.74   $     96.74
  1/27/2019 Jose Manuel Velasquez            $9.50   53.12   $   8.85          $    62.30   $     62.30
   2/3/2019 Jose Manuel Velasquez            $9.50   49.85   $   8.85          $    46.79   $     46.79
  2/10/2019 Jose Manuel Velasquez            $9.50   54.67   $   8.85          $    69.67   $     69.67
  2/17/2019 Jose Manuel Velasquez            $9.50   46.42   $   8.85          $    30.48   $     30.48
  2/24/2019 Jose Manuel Velasquez            $9.50   41.62   $   8.85          $     7.68   $      7.68
   3/3/2019 Jose Manuel Velasquez            $9.50   62.05   $   8.85          $   104.74   $    104.74
  3/10/2019 Jose Manuel Velasquez            $9.50   48.60   $   8.85          $    40.85   $     40.85
  3/17/2019 Jose Manuel Velasquez            $9.50   51.07   $   8.85          $    52.57   $     52.57
  3/24/2019 Jose Manuel Velasquez            $9.50   57.20   $   8.85          $    81.70   $     81.70
  3/31/2019 Jose Manuel Velasquez            $9.50   56.78   $   8.85          $    79.72   $     79.72
   4/7/2019 Jose Manuel Velasquez            $9.50   55.95   $   8.85          $    75.76   $     75.76
  4/14/2019 Jose Manuel Velasquez            $9.50   54.73   $   8.85          $    69.98   $     69.98
  4/21/2019 Jose Manuel Velasquez            $9.50   43.78   $   8.85          $    17.97   $     17.97



                                              364
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 366 of 683 PageID: 1213
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  4/28/2019 Jose Manuel Velasquez            $9.50   57.98   $    8.85               $    85.42   $    85.42
   5/5/2019 Jose Manuel Velasquez            $9.50   61.80   $    8.85               $   103.55   $   103.55
  5/12/2019 Jose Manuel Velasquez            $9.50   46.78   $    8.85               $    32.22   $    32.22
  5/19/2019 Jose Manuel Velasquez            $9.50   60.77   $    8.85               $    98.64   $    98.64
  5/26/2019 Jose Manuel Velasquez            $9.50   50.57   $    8.85               $    50.19   $    50.19
  6/16/2019 Jose Manuel Velasquez            $9.50   47.35   $    8.85               $    34.91   $    34.91
  6/23/2019 Jose Manuel Velasquez            $9.50   47.88   $    8.85               $    37.45   $    37.45
  6/30/2019 Jose Manuel Velasquez            $9.50   49.45   $   10.00   $   24.73   $    47.25   $    71.98
   7/7/2019 Jose Manuel Velasquez            $9.50   44.85   $   10.00   $   22.43   $    24.25   $    46.68
  7/14/2019 Jose Manuel Velasquez            $9.50   48.13   $   10.00   $   24.07   $    40.67   $    64.73
  7/21/2019 Jose Manuel Velasquez            $9.50   52.40   $   10.00   $   26.20   $    62.00   $    88.20
  9/23/2018 Jose Martinez                   $10.50   44.58   $    8.60               $    24.06   $    24.06
  9/30/2018 Jose Martinez                   $10.50   46.52   $    8.60               $    34.21   $    34.21
  10/7/2018 Jose Martinez                   $10.50   47.80   $    8.60               $    40.95   $    40.95
 10/21/2018 Jose Martinez                   $10.50   45.15   $    8.60               $    27.04   $    27.04
 10/28/2018 Jose Martinez                   $10.50   48.80   $    8.60               $    46.20   $    46.20
  11/4/2018 Jose Martinez                   $10.50   48.08   $    8.60               $    42.44   $    42.44
 11/11/2018 Jose Martinez                   $10.50   43.45   $    8.60               $    18.11   $    18.11
 11/18/2018 Jose Martinez                   $10.50   64.77   $    8.60               $   130.03   $   130.03
 11/25/2018 Jose Martinez                   $10.50   43.93   $    8.60               $    20.65   $    20.65
  12/2/2018 Jose Martinez                   $10.50   66.77   $    8.60               $   140.53   $   140.53
  12/9/2018 Jose Martinez                   $10.50   51.25   $    8.60               $    59.06   $    59.06
 12/16/2018 Jose Martinez                   $10.50   47.92   $    8.60               $    41.56   $    41.56
 12/23/2018 Jose Martinez                   $10.50   43.42   $    8.60               $    17.94   $    17.94
  1/13/2019 Jose Martinez                   $10.50   54.37   $    8.85               $    75.43   $    75.43
  1/20/2019 Jose Martinez                   $10.50   54.12   $    8.85               $    74.11   $    74.11
  1/27/2019 Jose Martinez                   $10.50   45.80   $    8.85               $    30.45   $    30.45
   2/3/2019 Jose Martinez                   $10.50   46.38   $    8.85               $    33.51   $    33.51
  2/10/2019 Jose Martinez                   $10.50   46.07   $    8.85               $    31.85   $    31.85
  2/24/2019 Jose Martinez                   $10.50   45.78   $    8.85               $    30.36   $    30.36
   3/3/2019 Jose Martinez                   $10.50   46.97   $    8.85               $    36.58   $    36.58
  3/10/2019 Jose Martinez                   $10.50   57.62   $    8.85               $    92.49   $    92.49
  3/17/2019 Jose Martinez                   $10.50   65.15   $    8.85               $   132.04   $   132.04
  3/24/2019 Jose Martinez                   $10.50   47.32   $    8.85               $    38.41   $    38.41
  3/31/2019 Jose Martinez                   $10.50   56.53   $    8.85               $    86.80   $    86.80
   4/7/2019 Jose Martinez                   $10.50   52.25   $    8.85               $    64.31   $    64.31
  4/14/2019 Jose Martinez                   $10.50   59.85   $    8.85               $   104.21   $   104.21
  4/21/2019 Jose Martinez                   $10.50   51.73   $    8.85               $    61.60   $    61.60
  4/28/2019 Jose Martinez                   $10.50   53.67   $    8.85               $    71.75   $    71.75
   5/5/2019 Jose Martinez                   $10.50   52.22   $    8.85               $    64.14   $    64.14
  5/12/2019 Jose Martinez                   $10.50   53.78   $    8.85               $    72.36   $    72.36
  5/19/2019 Jose Martinez                   $10.50   69.00   $    8.85               $   152.25   $   152.25
  5/26/2019 Jose Martinez                   $10.50   52.17   $    8.85               $    63.88   $    63.88
   6/2/2019 Jose Martinez                   $10.50   43.72   $    8.85               $    19.51   $    19.51
   6/9/2019 Jose Martinez                   $10.50   58.02   $    8.85               $    94.59   $    94.59
  6/16/2019 Jose Martinez                   $10.50   57.30   $    8.85               $    90.83   $    90.83
  6/23/2019 Jose Martinez                   $10.50   57.07   $    8.85               $    89.60   $    89.60
  6/30/2019 Jose Martinez                   $10.50   54.25   $   10.00               $    74.81   $    74.81
   7/7/2019 Jose Martinez                   $10.50   43.45   $   10.00               $    18.11   $    18.11
  7/14/2019 Jose Martinez                   $10.50   44.65   $   10.00               $    24.41   $    24.41



                                              365
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 367 of 683 PageID: 1214
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                          Name                        Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

  7/21/2019 Jose Martinez                       $10.50   51.48   $   10.00         $    60.29   $     60.29
  7/28/2019 Jose Martinez                       $10.50   52.28   $   10.00         $    64.49   $     64.49
   8/4/2019 Jose Martinez                       $10.50   50.68   $   10.00         $    56.09   $     56.09
  8/11/2019 Jose Martinez                       $10.50   48.00   $   10.00         $    42.00   $     42.00
  8/18/2019 Jose Martinez                       $10.50   42.90   $   10.00         $    15.23   $     15.23
  8/25/2019 Jose Martinez                       $10.50   51.77   $   10.00         $    61.78   $     61.78
   9/1/2019 Jose Martinez                       $10.50   41.73   $   10.00         $     9.10   $      9.10
  9/15/2019 Jose Martinez                       $10.50   55.87   $   10.00         $    83.30   $     83.30
   2/5/2017 Jose Martinez Arias                 $12.50   45.88   $    8.44         $    36.77   $     36.77
  2/12/2017 Jose Martinez Arias                 $12.50   64.33   $    8.44         $   152.08   $    152.08
  2/19/2017 Jose Martinez Arias                 $12.50   64.80   $    8.44         $   155.00   $    155.00
  2/26/2017 Jose Martinez Arias                 $12.50   69.42   $    8.44         $   183.85   $    183.85
   3/5/2017 Jose Martinez Arias                 $12.50   69.23   $    8.44         $   182.71   $    182.71
  3/12/2017 Jose Martinez Arias                 $12.50   56.05   $    8.44         $   100.31   $    100.31
  3/19/2017 Jose Martinez Arias                 $12.50   51.17   $    8.44         $    69.79   $     69.79
  3/26/2017 Jose Martinez Arias                 $12.50   50.67   $    8.44         $    66.67   $     66.67
   4/2/2017 Jose Martinez Arias                 $12.50   46.95   $    8.44         $    43.44   $     43.44
   4/9/2017 Jose Martinez Arias                 $12.50   55.40   $    8.44         $    96.25   $     96.25
  4/16/2017 Jose Martinez Arias                 $12.50   62.80   $    8.44         $   142.50   $    142.50
  4/23/2017 Jose Martinez Arias                 $12.50   68.05   $    8.44         $   175.31   $    175.31
  4/30/2017 Jose Martinez Arias                 $12.50   66.70   $    8.44         $   166.88   $    166.88
   5/7/2017 Jose Martinez Arias                 $12.50   65.98   $    8.44         $   162.40   $    162.40
  5/14/2017 Jose Martinez Arias                 $12.50   55.53   $    8.44         $    97.08   $     97.08
  5/21/2017 Jose Martinez Arias                 $12.50   66.38   $    8.44         $   164.90   $    164.90
  5/28/2017 Jose Martinez Arias                 $12.50   45.18   $    8.44         $    32.40   $     32.40
   6/4/2017 Jose Martinez Arias                 $12.50   55.58   $    8.44         $    97.40   $     97.40
  6/11/2017 Jose Martinez Arias                 $12.50   63.25   $    8.44         $   145.31   $    145.31
  6/18/2017 Jose Martinez Arias                 $12.50   59.13   $    8.44         $   119.58   $    119.58
  6/25/2017 Jose Martinez Arias                 $12.50   59.73   $    8.44         $   123.33   $    123.33
   7/2/2017 Jose Martinez Arias                 $12.50   66.38   $    8.44         $   164.90   $    164.90
   7/9/2017 Jose Martinez Arias                 $12.50   45.15   $    8.44         $    32.19   $     32.19
  7/23/2017 Jose Martinez Arias                 $12.50   70.75   $    8.44         $   192.19   $    192.19
  7/30/2017 Jose Martinez Arias                 $12.50   62.65   $    8.44         $   141.56   $    141.56
   8/6/2017 Jose Martinez Arias                 $12.50   65.87   $    8.44         $   161.67   $    161.67
  8/13/2017 Jose Martinez Arias                 $12.50   50.27   $    8.44         $    64.17   $     64.17
  8/20/2017 Jose Martinez Arias                 $12.50   66.48   $    8.44         $   165.52   $    165.52
  8/27/2017 Jose Martinez Arias                 $12.50   66.62   $    8.44         $   166.35   $    166.35
   9/3/2017 Jose Martinez Arias                 $12.50   54.98   $    8.44         $    93.65   $     93.65
  9/10/2017 Jose Martinez Arias                 $12.50   65.92   $    8.44         $   161.98   $    161.98
  9/17/2017 Jose Martinez Arias                 $12.50   57.82   $    8.44         $   111.35   $    111.35
  9/24/2017 Jose Martinez Arias                 $12.50   64.28   $    8.44         $   151.77   $    151.77
  10/1/2017 Jose Martinez Arias                 $12.50   44.83   $    8.44         $    30.21   $     30.21
  10/8/2017 Jose Martinez Arias                 $12.50   65.73   $    8.44         $   160.83   $    160.83
 10/15/2017 Jose Martinez Arias                 $12.50   51.38   $    8.44         $    71.15   $     71.15
 10/22/2017 Jose Martinez Arias                 $12.50   63.98   $    8.44         $   149.90   $    149.90
 10/29/2017 Jose Martinez Arias                 $12.50   63.92   $    8.44         $   149.48   $    149.48
  11/5/2017 Jose Martinez Arias                 $12.50   49.67   $    8.44         $    60.42   $     60.42
 11/12/2017 Jose Martinez Arias                 $12.50   62.57   $    8.44         $   141.04   $    141.04
 11/19/2017 Jose Martinez Arias                 $12.50   57.05   $    8.44         $   106.56   $    106.56
  12/3/2017 Jose Martinez Arias                 $12.50   61.15   $    8.44         $   132.19   $    132.19



                                                  366
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 368 of 683 PageID: 1215
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                          Name                        Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

 12/10/2017 Jose Martinez Arias                 $12.50   65.12   $   8.44          $   156.98   $    156.98
 12/17/2017 Jose Martinez Arias                 $12.50   60.65   $   8.44          $   129.06   $    129.06
 12/24/2017 Jose Martinez Arias                 $12.50   52.32   $   8.44          $    76.98   $     76.98
 12/31/2017 Jose Martinez Arias                 $12.50   53.93   $   8.44          $    87.08   $     87.08
   1/7/2018 Jose Martinez Arias                 $12.50   48.10   $   8.60          $    50.63   $     50.63
  1/14/2018 Jose Martinez Arias                 $12.50   52.02   $   8.60          $    75.10   $     75.10
  1/21/2018 Jose Martinez Arias                 $12.50   51.15   $   8.60          $    69.69   $     69.69
  1/28/2018 Jose Martinez Arias                 $12.50   62.55   $   8.60          $   140.94   $    140.94
   2/4/2018 Jose Martinez Arias                 $12.50   52.92   $   8.60          $    80.73   $     80.73
  2/11/2018 Jose Martinez Arias                 $12.50   61.57   $   8.60          $   134.79   $    134.79
  2/18/2018 Jose Martinez Arias                 $12.50   54.48   $   8.60          $    90.52   $     90.52
  2/25/2018 Jose Martinez Arias                 $12.50   67.08   $   8.60          $   169.27   $    169.27
   3/4/2018 Jose Martinez Arias                 $12.50   54.05   $   8.60          $    87.81   $     87.81
  3/25/2018 Jose Martinez Arias                 $12.50   41.22   $   8.60          $     7.60   $      7.60
   4/1/2018 Jose Martinez Arias                 $12.50   69.68   $   8.60          $   185.52   $    185.52
   4/8/2018 Jose Martinez Arias                 $12.50   61.45   $   8.60          $   134.06   $    134.06
  4/15/2018 Jose Martinez Arias                 $12.50   67.55   $   8.60          $   172.19   $    172.19
  4/22/2018 Jose Martinez Arias                 $12.50   43.55   $   8.60          $    22.19   $     22.19
  4/29/2018 Jose Martinez Arias                 $12.50   66.50   $   8.60          $   165.63   $    165.63
   5/6/2018 Jose Martinez Arias                 $12.50   66.10   $   8.60          $   163.13   $    163.13
  5/13/2018 Jose Martinez Arias                 $12.50   57.95   $   8.60          $   112.19   $    112.19
  5/20/2018 Jose Martinez Arias                 $12.50   45.17   $   8.60          $    32.29   $     32.29
  5/27/2018 Jose Martinez Arias                 $12.50   41.30   $   8.60          $     8.12   $      8.12
   6/3/2018 Jose Martinez Arias                 $12.50   63.65   $   8.60          $   147.81   $    147.81
  6/10/2018 Jose Martinez Arias                 $12.50   50.55   $   8.60          $    65.94   $     65.94
  6/17/2018 Jose Martinez Arias                 $12.50   64.48   $   8.60          $   153.02   $    153.02
  6/24/2018 Jose Martinez Arias                 $12.50   54.45   $   8.60          $    90.31   $     90.31
   7/1/2018 Jose Martinez Arias                 $12.50   64.20   $   8.60          $   151.25   $    151.25
   7/8/2018 Jose Martinez Arias                 $12.50   63.62   $   8.60          $   147.60   $    147.60
  7/15/2018 Jose Martinez Arias                 $12.50   55.00   $   8.60          $    93.75   $     93.75
  7/22/2018 Jose Martinez Arias                 $12.50   62.90   $   8.60          $   143.13   $    143.13
  7/29/2018 Jose Martinez Arias                 $12.50   63.27   $   8.60          $   145.42   $    145.42
  8/19/2018 Jose Martinez Arias                 $12.50   61.60   $   8.60          $   135.00   $    135.00
  8/26/2018 Jose Martinez Arias                 $12.50   67.65   $   8.60          $   172.81   $    172.81
   9/2/2018 Jose Martinez Arias                 $12.50   65.25   $   8.60          $   157.81   $    157.81
   9/9/2018 Jose Martinez Arias                 $12.50   46.93   $   8.60          $    43.33   $     43.33
  9/16/2018 Jose Martinez Arias                 $12.50   51.00   $   8.60          $    68.75   $     68.75
  9/23/2018 Jose Martinez Arias                 $12.50   67.30   $   8.60          $   170.63   $    170.63
  10/7/2018 Jose Martinez Arias                 $12.50   44.23   $   8.60          $    26.46   $     26.46
 10/14/2018 Jose Martinez Arias                 $12.50   51.00   $   8.60          $    68.75   $     68.75
 10/21/2018 Jose Martinez Arias                 $12.50   51.57   $   8.60          $    72.29   $     72.29
 10/28/2018 Jose Martinez Arias                 $12.50   40.18   $   8.60          $     1.15   $      1.15
  11/4/2018 Jose Martinez Arias                 $12.50   62.47   $   8.60          $   140.42   $    140.42
 11/11/2018 Jose Martinez Arias                 $12.50   54.87   $   8.60          $    92.92   $     92.92
 11/18/2018 Jose Martinez Arias                 $12.50   45.20   $   8.60          $    32.50   $     32.50
 11/25/2018 Jose Martinez Arias                 $12.50   41.85   $   8.60          $    11.56   $     11.56
  12/2/2018 Jose Martinez Arias                 $12.50   54.50   $   8.60          $    90.63   $     90.63
  12/9/2018 Jose Martinez Arias                 $12.50   40.20   $   8.60          $     1.25   $      1.25
 12/16/2018 Jose Martinez Arias                 $12.50   44.07   $   8.60          $    25.42   $     25.42
 12/23/2018 Jose Martinez Arias                 $12.50   67.92   $   8.60          $   174.48   $    174.48



                                                  367
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 369 of 683 PageID: 1216
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                          Name                        Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

   1/6/2019 Jose Martinez Arias                 $12.50   53.58   $    8.85         $    84.90   $     84.90
  1/13/2019 Jose Martinez Arias                 $12.50   49.83   $    8.85         $    61.46   $     61.46
  1/20/2019 Jose Martinez Arias                 $12.50   63.57   $    8.85         $   147.29   $    147.29
  1/27/2019 Jose Martinez Arias                 $12.50   64.90   $    8.85         $   155.63   $    155.63
   2/3/2019 Jose Martinez Arias                 $12.50   57.80   $    8.85         $   111.25   $    111.25
  2/10/2019 Jose Martinez Arias                 $12.50   51.02   $    8.85         $    68.85   $     68.85
  2/17/2019 Jose Martinez Arias                 $12.50   52.88   $    8.85         $    80.52   $     80.52
  2/24/2019 Jose Martinez Arias                 $12.50   56.82   $    8.85         $   105.10   $    105.10
   3/3/2019 Jose Martinez Arias                 $12.50   60.52   $    8.85         $   128.23   $    128.23
  3/10/2019 Jose Martinez Arias                 $12.50   42.32   $    8.85         $    14.48   $     14.48
  3/17/2019 Jose Martinez Arias                 $12.50   61.45   $    8.85         $   134.06   $    134.06
  3/24/2019 Jose Martinez Arias                 $12.50   58.68   $    8.85         $   116.77   $    116.77
  3/31/2019 Jose Martinez Arias                 $12.50   65.53   $    8.85         $   159.58   $    159.58
   4/7/2019 Jose Martinez Arias                 $12.50   55.18   $    8.85         $    94.90   $     94.90
  4/14/2019 Jose Martinez Arias                 $12.50   52.07   $    8.85         $    75.42   $     75.42
  4/21/2019 Jose Martinez Arias                 $12.50   64.27   $    8.85         $   151.67   $    151.67
  4/28/2019 Jose Martinez Arias                 $12.50   64.08   $    8.85         $   150.52   $    150.52
   5/5/2019 Jose Martinez Arias                 $12.50   66.80   $    8.85         $   167.50   $    167.50
  5/12/2019 Jose Martinez Arias                 $12.50   65.53   $    8.85         $   159.58   $    159.58
  5/19/2019 Jose Martinez Arias                 $12.50   63.32   $    8.85         $   145.73   $    145.73
  5/26/2019 Jose Martinez Arias                 $12.50   63.50   $    8.85         $   146.88   $    146.88
   6/2/2019 Jose Martinez Arias                 $12.50   65.52   $    8.85         $   159.48   $    159.48
   6/9/2019 Jose Martinez Arias                 $12.50   63.43   $    8.85         $   146.46   $    146.46
  6/16/2019 Jose Martinez Arias                 $12.50   66.50   $    8.85         $   165.63   $    165.63
  6/23/2019 Jose Martinez Arias                 $12.50   51.65   $    8.85         $    72.81   $     72.81
  6/30/2019 Jose Martinez Arias                 $12.50   67.03   $   10.00         $   168.96   $    168.96
   7/7/2019 Jose Martinez Arias                 $12.50   44.02   $   10.00         $    25.10   $     25.10
  7/14/2019 Jose Martinez Arias                 $12.50   51.73   $   10.00         $    73.33   $     73.33
  7/21/2019 Jose Martinez Arias                 $12.50   66.15   $   10.00         $   163.44   $    163.44
  7/28/2019 Jose Martinez Arias                 $12.50   64.82   $   10.00         $   155.10   $    155.10
   8/4/2019 Jose Martinez Arias                 $12.50   69.98   $   10.00         $   187.40   $    187.40
  8/11/2019 Jose Martinez Arias                 $12.50   52.57   $   10.00         $    78.54   $     78.54
  8/18/2019 Jose Martinez Arias                 $12.50   61.05   $   10.00         $   131.56   $    131.56
  8/25/2019 Jose Martinez Arias                 $12.50   64.48   $   10.00         $   153.02   $    153.02
   9/1/2019 Jose Martinez Arias                 $12.50   65.83   $   10.00         $   161.46   $    161.46
   9/8/2019 Jose Martinez Arias                 $12.50   61.88   $   10.00         $   136.77   $    136.77
  9/15/2019 Jose Martinez Arias                 $12.50   43.25   $   10.00         $    20.31   $     20.31
  9/22/2019 Jose Martinez Arias                 $12.50   54.32   $   10.00         $    89.48   $     89.48
  9/29/2019 Jose Martinez Arias                 $12.50   64.25   $   10.00         $   151.56   $    151.56
  10/6/2019 Jose Martinez Arias                 $12.50   52.35   $   10.00         $    77.19   $     77.19
 10/13/2019 Jose Martinez Arias                 $12.50   69.08   $   10.00         $   181.77   $    181.77
 10/20/2019 Jose Martinez Arias                 $12.50   62.67   $   10.00         $   141.67   $    141.67
 10/27/2019 Jose Martinez Arias                 $12.50   66.50   $   10.00         $   165.63   $    165.63
 11/10/2019 Jose Martinez Arias                 $12.50   62.27   $   10.00         $   139.17   $    139.17
 11/17/2019 Jose Martinez Arias                 $12.50   49.13   $   10.00         $    57.08   $     57.08
 11/24/2019 Jose Martinez Arias                 $12.50   61.77   $   10.00         $   136.04   $    136.04
  12/1/2019 Jose Martinez Arias                 $12.50   59.93   $   10.00         $   124.58   $    124.58
  12/8/2019 Jose Martinez Arias                 $12.50   64.75   $   10.00         $   154.69   $    154.69
 12/15/2019 Jose Martinez Arias                 $12.50   61.95   $   10.00         $   137.19   $    137.19
 12/22/2019 Jose Martinez Arias                 $12.50   62.72   $   10.00         $   141.98   $    141.98



                                                  368
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 370 of 683 PageID: 1217
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                     Name                          Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

 12/29/2019 Jose Martinez Arias              $12.50   53.12   $   10.00         $    81.98   $     81.98
   1/5/2020 Jose Martinez Arias              $12.50   50.40   $   11.00         $    65.00   $     65.00
  1/12/2020 Jose Martinez Arias              $12.50   62.97   $   11.00         $   143.54   $    143.54
  1/19/2020 Jose Martinez Arias              $12.50   59.68   $   11.00         $   123.02   $    123.02
  1/26/2020 Jose Martinez Arias              $12.50   58.08   $   11.00         $   113.02   $    113.02
  3/25/2018 Jose Miguel Flores               $10.00   73.63   $    8.60         $   168.17   $    168.17
  5/19/2019 Jose Miguel Flores               $10.00   70.05   $    8.85         $   150.25   $    150.25
  5/26/2019 Jose Miguel Flores               $10.00   72.75   $    8.85         $   163.75   $    163.75
   6/2/2019 Jose Miguel Flores               $10.00   57.20   $    8.85         $    86.00   $     86.00
   6/9/2019 Jose Miguel Flores               $10.00   74.25   $    8.85         $   171.25   $    171.25
  6/16/2019 Jose Miguel Flores               $10.00   73.25   $    8.85         $   166.25   $    166.25
  6/23/2019 Jose Miguel Flores               $10.00   70.10   $    8.85         $   150.50   $    150.50
  6/30/2019 Jose Miguel Flores               $10.00   71.32   $   10.00         $   156.58   $    156.58
   7/7/2019 Jose Miguel Flores               $10.50   58.50   $   10.00         $    97.13   $     97.13
  7/14/2019 Jose Miguel Flores               $10.50   69.15   $   10.00         $   153.04   $    153.04
  7/21/2019 Jose Miguel Flores               $10.50   69.67   $   10.00         $   155.75   $    155.75
  7/28/2019 Jose Miguel Flores               $10.50   58.48   $   10.00         $    97.04   $     97.04
   8/4/2019 Jose Miguel Flores               $10.50   69.93   $   10.00         $   157.15   $    157.15
  8/11/2019 Jose Miguel Flores               $10.50   76.87   $   10.00         $   193.55   $    193.55
  8/18/2019 Jose Miguel Flores               $10.50   52.37   $   10.00         $    64.93   $     64.93
  8/25/2019 Jose Miguel Flores               $10.50   55.85   $   10.00         $    83.21   $     83.21
   9/1/2019 Jose Miguel Flores               $10.50   59.75   $   10.00         $   103.69   $    103.69
   9/8/2019 Jose Miguel Flores               $10.50   57.53   $   10.00         $    92.05   $     92.05
  9/15/2019 Jose Miguel Flores               $10.50   68.82   $   10.00         $   151.29   $    151.29
  9/22/2019 Jose Miguel Flores               $10.50   71.07   $   10.00         $   163.10   $    163.10
  9/29/2019 Jose Miguel Flores               $10.50   48.18   $   10.00         $    42.96   $     42.96
  10/6/2019 Jose Miguel Flores               $10.50   74.08   $   10.00         $   178.94   $    178.94
 10/13/2019 Jose Miguel Flores               $10.50   76.30   $   10.00         $   190.58   $    190.58
 10/20/2019 Jose Miguel Flores               $10.50   76.70   $   10.00         $   192.68   $    192.68
  9/22/2019 Jose Morell                      $10.00   54.92   $   10.00         $    74.58   $     74.58
  9/29/2019 Jose Morell                      $10.00   62.98   $   10.00         $   114.92   $    114.92
  10/6/2019 Jose Morell                      $10.00   45.65   $   10.00         $    28.25   $     28.25
 10/13/2019 Jose Morell                      $10.00   53.78   $   10.00         $    68.92   $     68.92
  6/17/2018 Jose Nahum Grau Ramirez           $9.50   60.60   $    8.60         $    97.85   $     97.85
  6/24/2018 Jose Nahum Grau Ramirez           $9.50   61.12   $    8.60         $   100.30   $    100.30
   7/1/2018 Jose Nahum Grau Ramirez           $9.50   68.23   $    8.60         $   134.11   $    134.11
   7/8/2018 Jose Nahum Grau Ramirez           $9.50   50.67   $    8.60         $    50.67   $     50.67
  7/15/2018 Jose Nahum Grau Ramirez           $9.50   68.92   $    8.60         $   137.35   $    137.35
  7/22/2018 Jose Nahum Grau Ramirez           $9.50   60.68   $    8.60         $    98.25   $     98.25
  7/29/2018 Jose Nahum Grau Ramirez           $9.50   68.87   $    8.60         $   137.12   $    137.12
   8/5/2018 Jose Nahum Grau Ramirez           $9.50   61.50   $    8.60         $   102.13   $    102.13
  8/12/2018 Jose Nahum Grau Ramirez           $9.50   68.32   $    8.60         $   134.50   $    134.50
  8/19/2018 Jose Nahum Grau Ramirez           $9.50   60.60   $    8.60         $    97.85   $     97.85
  8/26/2018 Jose Nahum Grau Ramirez           $9.50   69.07   $    8.60         $   138.07   $    138.07
   9/2/2018 Jose Nahum Grau Ramirez           $9.50   59.05   $    8.60         $    90.49   $     90.49
   9/9/2018 Jose Nahum Grau Ramirez           $9.50   58.32   $    8.60         $    87.00   $     87.00
  9/16/2018 Jose Nahum Grau Ramirez           $9.50   47.12   $    8.60         $    33.80   $     33.80
  9/23/2018 Jose Nahum Grau Ramirez           $9.50   67.33   $    8.60         $   129.83   $    129.83
  9/30/2018 Jose Nahum Grau Ramirez           $9.50   59.82   $    8.60         $    94.13   $     94.13
  10/7/2018 Jose Nahum Grau Ramirez           $9.50   57.68   $    8.60         $    84.00   $     84.00



                                               369
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 371 of 683 PageID: 1218
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                     Name                          Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

 10/14/2018 Jose Nahum Grau Ramirez           $9.50   60.62   $    8.60               $    97.93   $    97.93
 10/21/2018 Jose Nahum Grau Ramirez           $9.50   67.63   $    8.60               $   131.26   $   131.26
  7/28/2019 Jose Nahum Grau Ramirez          $10.00   49.52   $   10.00               $    47.58   $    47.58
   8/4/2019 Jose Nahum Grau Ramirez          $10.00   57.48   $   10.00               $    87.42   $    87.42
  8/11/2019 Jose Nahum Grau Ramirez          $10.00   61.47   $   10.00               $   107.33   $   107.33
  8/18/2019 Jose Nahum Grau Ramirez          $10.00   50.80   $   10.00               $    54.00   $    54.00
  8/25/2019 Jose Nahum Grau Ramirez          $10.00   62.10   $   10.00               $   110.50   $   110.50
   9/8/2019 Jose Nahum Grau Ramirez          $10.00   51.08   $   10.00               $    55.42   $    55.42
  9/15/2019 Jose Nahum Grau Ramirez          $10.00   50.72   $   10.00               $    53.58   $    53.58
  9/22/2019 Jose Nahum Grau Ramirez          $10.00   61.33   $   10.00               $   106.67   $   106.67
  9/29/2019 Jose Nahum Grau Ramirez          $10.00   50.27   $   10.00               $    51.33   $    51.33
  10/6/2019 Jose Nahum Grau Ramirez          $10.00   75.73   $   10.00               $   178.67   $   178.67
 10/13/2019 Jose Nahum Grau Ramirez          $10.00   50.70   $   10.00               $    53.50   $    53.50
 10/20/2019 Jose Nahum Grau Ramirez          $10.00   61.02   $   10.00               $   105.08   $   105.08
 10/27/2019 Jose Nahum Grau Ramirez          $10.00   60.53   $   10.00               $   102.67   $   102.67
  11/3/2019 Jose Nahum Grau Ramirez          $10.00   59.08   $   10.00               $    95.42   $    95.42
 11/10/2019 Jose Nahum Grau Ramirez          $10.00   59.35   $   10.00               $    96.75   $    96.75
 11/17/2019 Jose Nahum Grau Ramirez          $10.00   61.12   $   10.00               $   105.58   $   105.58
 11/24/2019 Jose Nahum Grau Ramirez          $10.00   61.28   $   10.00               $   106.42   $   106.42
  12/1/2019 Jose Nahum Grau Ramirez          $10.00   49.85   $   10.00               $    49.25   $    49.25
  12/8/2019 Jose Nahum Grau Ramirez          $10.00   48.72   $   10.00               $    43.58   $    43.58
 12/15/2019 Jose Nahum Grau Ramirez          $10.00   60.92   $   10.00               $   104.58   $   104.58
 12/22/2019 Jose Nahum Grau Ramirez          $10.00   49.90   $   10.00               $    49.50   $    49.50
 12/29/2019 Jose Nahum Grau Ramirez          $10.00   51.23   $   10.00               $    56.17   $    56.17
   1/5/2020 Jose Nahum Grau Ramirez          $10.00   50.48   $   11.00   $   50.48   $    57.66   $   108.14
  1/12/2020 Jose Nahum Grau Ramirez          $10.00   49.93   $   11.00   $   49.93   $    54.63   $   104.57
  1/19/2020 Jose Nahum Grau Ramirez          $10.00   49.65   $   11.00   $   49.65   $    53.08   $   102.73
  1/26/2020 Jose Nahum Grau Ramirez          $10.00   58.98   $   11.00   $   58.98   $   104.41   $   163.39
 12/16/2018 Jose O. Silverio                 $16.50   45.00   $    8.60               $    41.25   $    41.25
 12/23/2018 Jose O. Silverio                 $16.50   59.92   $    8.60               $   164.31   $   164.31
 12/30/2018 Jose O. Silverio                 $16.50   46.95   $    8.60               $    57.34   $    57.34
   1/6/2019 Jose O. Silverio                 $16.50   50.65   $    8.85               $    87.86   $    87.86
  1/13/2019 Jose O. Silverio                 $16.50   55.07   $    8.85               $   124.30   $   124.30
  1/20/2019 Jose O. Silverio                 $16.50   58.82   $    8.85               $   155.24   $   155.24
  1/27/2019 Jose O. Silverio                 $16.50   47.72   $    8.85               $    63.66   $    63.66
   2/3/2019 Jose O. Silverio                 $16.50   45.25   $    8.85               $    43.31   $    43.31
  2/10/2019 Jose O. Silverio                 $16.50   53.20   $    8.85               $   108.90   $   108.90
  2/24/2019 Jose O. Silverio                 $16.50   47.20   $    8.85               $    59.40   $    59.40
  3/10/2019 Jose O. Silverio                 $16.50   42.40   $    8.85               $    19.80   $    19.80
  3/17/2019 Jose O. Silverio                 $16.50   42.98   $    8.85               $    24.61   $    24.61
   2/5/2017 Jose Osvaldo Diaz                $11.50   59.03   $    8.44               $   109.44   $   109.44
  2/12/2017 Jose Osvaldo Diaz                $11.50   49.65   $    8.44               $    55.49   $    55.49
  2/19/2017 Jose Osvaldo Diaz                $11.50   59.78   $    8.44               $   113.75   $   113.75
  2/26/2017 Jose Osvaldo Diaz                $11.50   59.18   $    8.44               $   110.30   $   110.30
   3/5/2017 Jose Osvaldo Diaz                $11.50   60.08   $    8.44               $   115.48   $   115.48
  3/12/2017 Jose Osvaldo Diaz                $11.50   59.35   $    8.44               $   111.26   $   111.26
  3/26/2017 Jose Osvaldo Diaz                $11.50   59.98   $    8.44               $   114.90   $   114.90
   4/2/2017 Jose Osvaldo Diaz                $11.50   58.58   $    8.44               $   106.85   $   106.85
   4/9/2017 Jose Osvaldo Diaz                $11.50   60.03   $    8.44               $   115.19   $   115.19
  4/16/2017 Jose Osvaldo Diaz                $11.50   60.12   $    8.44               $   115.67   $   115.67



                                               370
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 372 of 683 PageID: 1219
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  4/23/2017 Jose Osvaldo Diaz                 $11.50   60.12   $   8.44          $   115.67   $    115.67
  4/30/2017 Jose Osvaldo Diaz                 $11.50   58.22   $   8.44          $   104.75   $    104.75
   5/7/2017 Jose Osvaldo Diaz                 $11.50   59.08   $   8.44          $   109.73   $    109.73
  5/14/2017 Jose Osvaldo Diaz                 $11.50   60.10   $   8.44          $   115.58   $    115.58
  5/21/2017 Jose Osvaldo Diaz                 $11.50   60.08   $   8.44          $   115.48   $    115.48
  5/28/2017 Jose Osvaldo Diaz                 $11.50   60.07   $   8.44          $   115.38   $    115.38
   6/4/2017 Jose Osvaldo Diaz                 $11.50   60.30   $   8.44          $   116.73   $    116.73
  6/11/2017 Jose Osvaldo Diaz                 $11.50   60.05   $   8.44          $   115.29   $    115.29
  6/18/2017 Jose Osvaldo Diaz                 $11.50   60.22   $   8.44          $   116.25   $    116.25
  6/25/2017 Jose Osvaldo Diaz                 $11.50   60.20   $   8.44          $   116.15   $    116.15
   7/2/2017 Jose Osvaldo Diaz                 $11.50   60.20   $   8.44          $   116.15   $    116.15
   7/9/2017 Jose Osvaldo Diaz                 $11.50   60.58   $   8.44          $   118.35   $    118.35
  7/16/2017 Jose Osvaldo Diaz                 $11.50   60.20   $   8.44          $   116.15   $    116.15
  7/23/2017 Jose Osvaldo Diaz                 $11.50   60.18   $   8.44          $   116.05   $    116.05
  7/30/2017 Jose Osvaldo Diaz                 $11.50   59.95   $   8.44          $   114.71   $    114.71
   8/6/2017 Jose Osvaldo Diaz                 $11.50   59.60   $   8.44          $   112.70   $    112.70
  8/13/2017 Jose Osvaldo Diaz                 $11.50   60.18   $   8.44          $   116.05   $    116.05
  8/20/2017 Jose Osvaldo Diaz                 $11.50   59.93   $   8.44          $   114.62   $    114.62
  8/27/2017 Jose Osvaldo Diaz                 $11.50   60.22   $   8.44          $   116.25   $    116.25
   9/3/2017 Jose Osvaldo Diaz                 $11.50   60.10   $   8.44          $   115.58   $    115.58
  9/10/2017 Jose Osvaldo Diaz                 $11.50   60.78   $   8.44          $   119.50   $    119.50
  9/17/2017 Jose Osvaldo Diaz                 $11.50   60.03   $   8.44          $   115.19   $    115.19
  9/24/2017 Jose Osvaldo Diaz                 $11.50   59.78   $   8.44          $   113.75   $    113.75
  10/1/2017 Jose Osvaldo Diaz                 $11.50   60.02   $   8.44          $   115.10   $    115.10
  10/8/2017 Jose Osvaldo Diaz                 $11.50   50.17   $   8.44          $    58.46   $     58.46
 10/15/2017 Jose Osvaldo Diaz                 $11.50   60.03   $   8.44          $   115.19   $    115.19
 10/22/2017 Jose Osvaldo Diaz                 $11.50   60.12   $   8.44          $   115.67   $    115.67
 10/29/2017 Jose Osvaldo Diaz                 $11.50   59.73   $   8.44          $   113.47   $    113.47
  11/5/2017 Jose Osvaldo Diaz                 $11.50   60.15   $   8.44          $   115.86   $    115.86
 11/12/2017 Jose Osvaldo Diaz                 $11.50   59.93   $   8.44          $   114.62   $    114.62
 11/19/2017 Jose Osvaldo Diaz                 $11.50   59.85   $   8.44          $   114.14   $    114.14
 11/26/2017 Jose Osvaldo Diaz                 $11.50   50.22   $   8.44          $    58.75   $     58.75
  12/3/2017 Jose Osvaldo Diaz                 $11.50   59.25   $   8.44          $   110.69   $    110.69
 12/10/2017 Jose Osvaldo Diaz                 $11.50   58.72   $   8.44          $   107.62   $    107.62
 12/17/2017 Jose Osvaldo Diaz                 $11.50   60.02   $   8.44          $   115.10   $    115.10
 12/24/2017 Jose Osvaldo Diaz                 $11.50   60.08   $   8.44          $   115.48   $    115.48
 12/31/2017 Jose Osvaldo Diaz                 $11.50   50.18   $   8.44          $    58.55   $     58.55
  1/14/2018 Jose Osvaldo Diaz                 $11.50   60.07   $   8.60          $   115.38   $    115.38
  1/21/2018 Jose Osvaldo Diaz                 $11.50   60.03   $   8.60          $   115.19   $    115.19
  1/28/2018 Jose Osvaldo Diaz                 $11.50   60.25   $   8.60          $   116.44   $    116.44
   2/4/2018 Jose Osvaldo Diaz                 $11.50   60.18   $   8.60          $   116.05   $    116.05
  2/11/2018 Jose Osvaldo Diaz                 $11.50   59.08   $   8.60          $   109.73   $    109.73
  2/18/2018 Jose Osvaldo Diaz                 $11.50   60.13   $   8.60          $   115.77   $    115.77
  2/25/2018 Jose Osvaldo Diaz                 $11.50   60.15   $   8.60          $   115.86   $    115.86
   3/4/2018 Jose Osvaldo Diaz                 $11.50   59.33   $   8.60          $   111.17   $    111.17
  3/25/2018 Jose Osvaldo Diaz                 $11.50   58.43   $   8.60          $   105.99   $    105.99
   4/1/2018 Jose Osvaldo Diaz                 $11.50   60.23   $   8.60          $   116.34   $    116.34
   4/8/2018 Jose Osvaldo Diaz                 $11.50   59.35   $   8.60          $   111.26   $    111.26
  4/15/2018 Jose Osvaldo Diaz                 $11.50   56.08   $   8.60          $    92.48   $     92.48
  4/22/2018 Jose Osvaldo Diaz                 $11.50   59.73   $   8.60          $   113.47   $    113.47



                                                371
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 373 of 683 PageID: 1220
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  4/29/2018 Jose Osvaldo Diaz                 $11.50   60.12   $   8.60          $   115.67   $    115.67
   5/6/2018 Jose Osvaldo Diaz                 $11.50   60.12   $   8.60          $   115.67   $    115.67
  5/13/2018 Jose Osvaldo Diaz                 $11.50   60.22   $   8.60          $   116.25   $    116.25
  5/20/2018 Jose Osvaldo Diaz                 $11.50   60.22   $   8.60          $   116.25   $    116.25
  5/27/2018 Jose Osvaldo Diaz                 $11.50   58.35   $   8.60          $   105.51   $    105.51
   6/3/2018 Jose Osvaldo Diaz                 $11.50   60.28   $   8.60          $   116.63   $    116.63
  6/10/2018 Jose Osvaldo Diaz                 $11.50   59.08   $   8.60          $   109.73   $    109.73
  6/17/2018 Jose Osvaldo Diaz                 $11.50   59.82   $   8.60          $   113.95   $    113.95
  6/24/2018 Jose Osvaldo Diaz                 $11.50   60.27   $   8.60          $   116.53   $    116.53
   7/1/2018 Jose Osvaldo Diaz                 $11.50   50.03   $   8.60          $    57.69   $     57.69
   7/8/2018 Jose Osvaldo Diaz                 $11.50   59.52   $   8.60          $   112.22   $    112.22
  7/15/2018 Jose Osvaldo Diaz                 $11.50   40.18   $   8.60          $     1.05   $      1.05
  7/22/2018 Jose Osvaldo Diaz                 $11.50   49.40   $   8.60          $    54.05   $     54.05
  7/29/2018 Jose Osvaldo Diaz                 $11.50   60.22   $   8.60          $   116.25   $    116.25
   8/5/2018 Jose Osvaldo Diaz                 $11.50   60.15   $   8.60          $   115.86   $    115.86
  8/12/2018 Jose Osvaldo Diaz                 $11.50   59.53   $   8.60          $   112.32   $    112.32
  8/19/2018 Jose Osvaldo Diaz                 $11.50   50.08   $   8.60          $    57.98   $     57.98
  8/26/2018 Jose Osvaldo Diaz                 $11.50   60.20   $   8.60          $   116.15   $    116.15
   9/2/2018 Jose Osvaldo Diaz                 $11.50   60.02   $   8.60          $   115.10   $    115.10
   9/9/2018 Jose Osvaldo Diaz                 $11.50   59.95   $   8.60          $   114.71   $    114.71
  9/16/2018 Jose Osvaldo Diaz                 $11.50   59.83   $   8.60          $   114.04   $    114.04
  9/23/2018 Jose Osvaldo Diaz                 $11.50   60.10   $   8.60          $   115.58   $    115.58
  9/30/2018 Jose Osvaldo Diaz                 $11.50   59.20   $   8.60          $   110.40   $    110.40
  10/7/2018 Jose Osvaldo Diaz                 $11.50   50.40   $   8.60          $    59.80   $     59.80
 10/14/2018 Jose Osvaldo Diaz                 $11.50   58.37   $   8.60          $   105.61   $    105.61
 10/21/2018 Jose Osvaldo Diaz                 $11.50   58.90   $   8.60          $   108.68   $    108.68
 10/28/2018 Jose Osvaldo Diaz                 $11.50   49.12   $   8.60          $    52.42   $     52.42
  11/4/2018 Jose Osvaldo Diaz                 $11.50   60.15   $   8.60          $   115.86   $    115.86
 11/11/2018 Jose Osvaldo Diaz                 $11.50   49.20   $   8.60          $    52.90   $     52.90
 11/18/2018 Jose Osvaldo Diaz                 $11.50   50.42   $   8.60          $    59.90   $     59.90
 11/25/2018 Jose Osvaldo Diaz                 $11.50   49.93   $   8.60          $    57.12   $     57.12
  12/2/2018 Jose Osvaldo Diaz                 $11.50   50.00   $   8.60          $    57.50   $     57.50
  12/9/2018 Jose Osvaldo Diaz                 $11.50   59.33   $   8.60          $   111.17   $    111.17
 12/16/2018 Jose Osvaldo Diaz                 $11.50   49.53   $   8.60          $    54.82   $     54.82
 12/23/2018 Jose Osvaldo Diaz                 $11.50   48.57   $   8.60          $    49.26   $     49.26
 12/30/2018 Jose Osvaldo Diaz                 $11.50   47.73   $   8.60          $    44.47   $     44.47
   1/6/2019 Jose Osvaldo Diaz                 $11.50   57.70   $   8.85          $   101.78   $    101.78
  1/13/2019 Jose Osvaldo Diaz                 $11.50   49.02   $   8.85          $    51.85   $     51.85
  1/20/2019 Jose Osvaldo Diaz                 $11.50   59.08   $   8.85          $   109.73   $    109.73
  1/27/2019 Jose Osvaldo Diaz                 $11.50   59.00   $   8.85          $   109.25   $    109.25
   2/3/2019 Jose Osvaldo Diaz                 $11.50   46.12   $   8.85          $    35.17   $     35.17
  2/10/2019 Jose Osvaldo Diaz                 $11.50   58.97   $   8.85          $   109.06   $    109.06
  2/17/2019 Jose Osvaldo Diaz                 $11.50   49.22   $   8.85          $    53.00   $     53.00
  2/24/2019 Jose Osvaldo Diaz                 $11.50   57.62   $   8.85          $   101.30   $    101.30
   3/3/2019 Jose Osvaldo Diaz                 $11.50   59.65   $   8.85          $   112.99   $    112.99
  3/10/2019 Jose Osvaldo Diaz                 $11.50   58.82   $   8.85          $   108.20   $    108.20
  3/17/2019 Jose Osvaldo Diaz                 $11.50   60.17   $   8.85          $   115.96   $    115.96
  3/24/2019 Jose Osvaldo Diaz                 $11.50   59.02   $   8.85          $   109.35   $    109.35
  3/31/2019 Jose Osvaldo Diaz                 $11.50   59.98   $   8.85          $   114.90   $    114.90
   4/7/2019 Jose Osvaldo Diaz                 $11.50   49.58   $   8.85          $    55.10   $     55.10



                                                372
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 374 of 683 PageID: 1221
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  4/14/2019 Jose Osvaldo Diaz                 $11.50   58.70   $    8.85         $   107.53   $    107.53
  4/21/2019 Jose Osvaldo Diaz                 $11.50   60.88   $    8.85         $   120.08   $    120.08
  4/28/2019 Jose Osvaldo Diaz                 $11.50   58.77   $    8.85         $   107.91   $    107.91
   5/5/2019 Jose Osvaldo Diaz                 $11.50   63.80   $    8.85         $   136.85   $    136.85
  5/12/2019 Jose Osvaldo Diaz                 $11.50   60.60   $    8.85         $   118.45   $    118.45
  5/19/2019 Jose Osvaldo Diaz                 $11.50   57.95   $    8.85         $   103.21   $    103.21
  5/26/2019 Jose Osvaldo Diaz                 $11.50   49.25   $    8.85         $    53.19   $     53.19
   6/2/2019 Jose Osvaldo Diaz                 $11.50   50.12   $    8.85         $    58.17   $     58.17
   6/9/2019 Jose Osvaldo Diaz                 $11.50   61.62   $    8.85         $   124.30   $    124.30
  6/16/2019 Jose Osvaldo Diaz                 $11.50   59.42   $    8.85         $   111.65   $    111.65
  6/23/2019 Jose Osvaldo Diaz                 $11.50   57.78   $    8.85         $   102.25   $    102.25
  6/30/2019 Jose Osvaldo Diaz                 $11.50   60.10   $   10.00         $   115.58   $    115.58
   7/7/2019 Jose Osvaldo Diaz                 $12.00   49.90   $   10.00         $    59.40   $     59.40
  7/14/2019 Jose Osvaldo Diaz                 $12.00   58.80   $   10.00         $   112.80   $    112.80
  7/21/2019 Jose Osvaldo Diaz                 $12.00   59.93   $   10.00         $   119.60   $    119.60
  7/28/2019 Jose Osvaldo Diaz                 $12.00   40.02   $   10.00         $     0.10   $      0.10
   8/4/2019 Jose Osvaldo Diaz                 $12.00   59.92   $   10.00         $   119.50   $    119.50
  8/11/2019 Jose Osvaldo Diaz                 $12.00   55.02   $   10.00         $    90.10   $     90.10
  8/18/2019 Jose Osvaldo Diaz                 $12.00   61.00   $   10.00         $   126.00   $    126.00
  8/25/2019 Jose Osvaldo Diaz                 $12.00   58.32   $   10.00         $   109.90   $    109.90
   9/1/2019 Jose Osvaldo Diaz                 $12.00   61.05   $   10.00         $   126.30   $    126.30
   9/8/2019 Jose Osvaldo Diaz                 $12.00   46.22   $   10.00         $    37.30   $     37.30
  9/15/2019 Jose Osvaldo Diaz                 $12.00   56.07   $   10.00         $    96.40   $     96.40
  9/22/2019 Jose Osvaldo Diaz                 $12.00   49.80   $   10.00         $    58.80   $     58.80
  9/29/2019 Jose Osvaldo Diaz                 $12.00   59.70   $   10.00         $   118.20   $    118.20
  10/6/2019 Jose Osvaldo Diaz                 $12.00   61.28   $   10.00         $   127.70   $    127.70
 10/20/2019 Jose Osvaldo Diaz                 $12.00   50.90   $   10.00         $    65.40   $     65.40
 10/27/2019 Jose Osvaldo Diaz                 $12.00   40.10   $   10.00         $     0.60   $      0.60
  11/3/2019 Jose Osvaldo Diaz                 $12.00   58.98   $   10.00         $   113.90   $    113.90
 11/17/2019 Jose Osvaldo Diaz                 $12.00   49.73   $   10.00         $    58.40   $     58.40
 11/24/2019 Jose Osvaldo Diaz                 $12.00   49.75   $   10.00         $    58.50   $     58.50
  12/8/2019 Jose Osvaldo Diaz                 $12.00   59.35   $   10.00         $   116.10   $    116.10
 12/15/2019 Jose Osvaldo Diaz                 $12.00   57.95   $   10.00         $   107.70   $    107.70
 12/22/2019 Jose Osvaldo Diaz                 $12.00   59.43   $   10.00         $   116.60   $    116.60
 12/29/2019 Jose Osvaldo Diaz                 $12.00   48.78   $   10.00         $    52.70   $     52.70
   1/5/2020 Jose Osvaldo Diaz                 $12.00   58.37   $   11.00         $   110.20   $    110.20
  1/12/2020 Jose Osvaldo Diaz                 $12.00   55.20   $   11.00         $    91.20   $     91.20
  1/19/2020 Jose Osvaldo Diaz                 $12.00   47.73   $   11.00         $    46.40   $     46.40
  1/26/2020 Jose Osvaldo Diaz                 $12.00   56.72   $   11.00         $   100.30   $    100.30
 12/23/2018 Jose Paulino                      $10.00   43.85   $    8.60         $    19.25   $     19.25
  1/13/2019 Jose Paulino                      $10.00   57.05   $    8.85         $    85.25   $     85.25
  1/20/2019 Jose Paulino                      $10.00   56.22   $    8.85         $    81.08   $     81.08
  1/27/2019 Jose Paulino                      $10.00   57.15   $    8.85         $    85.75   $     85.75
   2/3/2019 Jose Paulino                      $10.00   55.73   $    8.85         $    78.67   $     78.67
  2/10/2019 Jose Paulino                      $10.00   56.55   $    8.85         $    82.75   $     82.75
  2/17/2019 Jose Paulino                      $10.00   55.78   $    8.85         $    78.92   $     78.92
  2/24/2019 Jose Paulino                      $10.00   53.25   $    8.85         $    66.25   $     66.25
   3/3/2019 Jose Paulino                      $10.00   50.37   $    8.85         $    51.83   $     51.83
  7/28/2019 Jose Paulino                      $11.00   58.72   $   10.00         $   102.94   $    102.94
   8/4/2019 Jose Paulino                      $11.00   41.02   $   10.00         $     5.59   $      5.59



                                                373
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 375 of 683 PageID: 1222
                                          Exhibit 2
                                  New Jersey Computations


   Week                                                  State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
  Ending                   Name                        Minumum Regular    Half-Time Overtime Back
                                          Rate Week
   Date                                                  Wage  Rate Due     Due       Wages Due

  8/11/2019 Jose Paulino                 $11.00   58.83   $   10.00         $   103.58   $    103.58
  8/18/2019 Jose Paulino                 $11.00   48.83   $   10.00         $    48.58   $     48.58
  8/25/2019 Jose Paulino                 $11.00   50.68   $   10.00         $    58.76   $     58.76
   9/1/2019 Jose Paulino                 $11.00   50.53   $   10.00         $    57.93   $     57.93
   9/8/2019 Jose Paulino                 $11.00   47.23   $   10.00         $    39.78   $     39.78
  9/15/2019 Jose Paulino                 $11.00   49.90   $   10.00         $    54.45   $     54.45
  9/22/2019 Jose Paulino                 $11.00   55.65   $   10.00         $    86.08   $     86.08
  9/29/2019 Jose Paulino                 $11.00   50.72   $   10.00         $    58.94   $     58.94
  10/6/2019 Jose Paulino                 $11.00   56.22   $   10.00         $    89.19   $     89.19
 10/13/2019 Jose Paulino                 $11.00   50.18   $   10.00         $    56.01   $     56.01
 10/20/2019 Jose Paulino                 $11.00   50.50   $   10.00         $    57.75   $     57.75
 10/27/2019 Jose Paulino                 $11.00   51.08   $   10.00         $    60.96   $     60.96
  11/3/2019 Jose Paulino                 $11.00   49.97   $   10.00         $    54.82   $     54.82
 11/10/2019 Jose Paulino                 $11.00   58.48   $   10.00         $   101.66   $    101.66
 11/17/2019 Jose Paulino                 $11.00   59.18   $   10.00         $   105.51   $    105.51
 11/24/2019 Jose Paulino                 $11.00   48.90   $   10.00         $    48.95   $     48.95
  12/8/2019 Jose Paulino                 $11.00   57.97   $   10.00         $    98.82   $     98.82
 12/15/2019 Jose Paulino                 $11.00   59.12   $   10.00         $   105.14   $    105.14
 12/22/2019 Jose Paulino                 $11.00   60.12   $   10.00         $   110.64   $    110.64
 12/29/2019 Jose Paulino                 $11.00   47.42   $   10.00         $    40.79   $     40.79
   1/5/2020 Jose Paulino                 $11.00   49.30   $   11.00         $    51.15   $     51.15
  1/12/2020 Jose Paulino                 $11.00   58.47   $   11.00         $   101.57   $    101.57
  1/19/2020 Jose Paulino                 $11.00   50.40   $   11.00         $    57.20   $     57.20
  1/26/2020 Jose Paulino                 $11.00   58.62   $   11.00         $   102.39   $    102.39
   2/5/2017 Jose Payano                  $10.50   44.32   $    8.44         $    22.66   $     22.66
  3/12/2017 Jose Payano                  $10.50   46.92   $    8.44         $    36.31   $     36.31
   4/9/2017 Jose Payano                  $10.50   43.03   $    8.44         $    15.93   $     15.93
  4/23/2017 Jose Payano                  $10.50   49.65   $    8.44         $    50.66   $     50.66
   5/7/2017 Jose Payano                  $10.50   41.95   $    8.44         $    10.24   $     10.24
  5/21/2017 Jose Payano                  $10.50   47.92   $    8.44         $    41.56   $     41.56
  5/28/2017 Jose Payano                  $10.50   45.15   $    8.44         $    27.04   $     27.04
  6/11/2017 Jose Payano                  $10.50   40.63   $    8.44         $     3.33   $      3.33
  6/18/2017 Jose Payano                  $10.50   43.28   $    8.44         $    17.24   $     17.24
  6/25/2017 Jose Payano                  $10.50   46.05   $    8.44         $    31.76   $     31.76
  7/23/2017 Jose Payano                  $10.50   46.82   $    8.44         $    35.79   $     35.79
  7/30/2017 Jose Payano                  $10.50   44.53   $    8.44         $    23.80   $     23.80
   9/3/2017 Jose Payano                  $10.50   48.28   $    8.44         $    43.49   $     43.49
  9/17/2017 Jose Payano                  $10.50   48.42   $    8.44         $    44.19   $     44.19
  9/24/2017 Jose Payano                  $10.50   46.00   $    8.44         $    31.50   $     31.50
  10/1/2017 Jose Payano                  $10.50   40.55   $    8.44         $     2.89   $      2.89
 10/15/2017 Jose Payano                  $10.50   41.15   $    8.44         $     6.04   $      6.04
 10/22/2017 Jose Payano                  $10.50   48.48   $    8.44         $    44.54   $     44.54
  11/5/2017 Jose Payano                  $10.50   44.87   $    8.44         $    25.55   $     25.55
 12/10/2017 Jose Payano                  $10.50   48.02   $    8.44         $    42.09   $     42.09
 12/24/2017 Jose Payano                  $10.50   42.30   $    8.44         $    12.08   $     12.08
  1/14/2018 Jose Payano                  $10.50   44.38   $    8.60         $    23.01   $     23.01
  1/21/2018 Jose Payano                  $10.50   41.15   $    8.60         $     6.04   $      6.04
  1/28/2018 Jose Payano                  $10.50   45.82   $    8.60         $    30.54   $     30.54
  2/11/2018 Jose Payano                  $10.50   53.70   $    8.60         $    71.93   $     71.93
  2/18/2018 Jose Payano                  $10.50   44.37   $    8.60         $    22.93   $     22.93



                                           374
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 376 of 683 PageID: 1223
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

  2/25/2018 Jose Payano                   $10.50   44.95   $    8.60               $    25.99   $    25.99
   3/4/2018 Jose Payano                   $10.50   40.85   $    8.60               $     4.46   $     4.46
 10/21/2018 Jose Payano                   $10.50   40.62   $    8.60               $     3.24   $     3.24
  12/2/2018 Jose Payano                   $10.50   40.82   $    8.60               $     4.29   $     4.29
  12/9/2018 Jose Payano                   $10.50   41.83   $    8.60               $     9.63   $     9.63
  2/10/2019 Jose Payano                   $10.50   45.12   $    8.85               $    26.86   $    26.86
  2/17/2019 Jose Payano                   $10.50   44.77   $    8.85               $    25.03   $    25.03
   4/7/2019 Jose Payano                   $10.50   44.80   $    8.85               $    25.20   $    25.20
  4/14/2019 Jose Payano                   $10.50   47.55   $    8.85               $    39.64   $    39.64
  4/21/2019 Jose Payano                   $10.50   52.08   $    8.85               $    63.44   $    63.44
  4/28/2019 Jose Payano                   $10.50   43.55   $    8.85               $    18.64   $    18.64
   5/5/2019 Jose Payano                   $10.50   43.23   $    8.85               $    16.98   $    16.98
  5/26/2019 Jose Payano                   $10.50   52.67   $    8.85               $    66.50   $    66.50
   6/9/2019 Jose Payano                   $10.50   40.33   $    8.85               $     1.75   $     1.75
  6/16/2019 Jose Payano                   $10.50   45.25   $    8.85               $    27.56   $    27.56
  7/21/2019 Jose Payano                   $10.50   42.85   $   10.00               $    14.96   $    14.96
  9/29/2019 Jose Payano                   $10.50   45.52   $   10.00               $    28.96   $    28.96
  8/12/2018 Jose Perez                     $9.50   40.33   $    8.60               $     1.58   $     1.58
  8/19/2018 Jose Perez                     $9.50   66.42   $    8.60               $   125.48   $   125.48
  8/26/2018 Jose Perez                     $9.50   60.38   $    8.60               $    96.82   $    96.82
  7/21/2019 Jose Perez                     $9.50   59.23   $   10.00   $   29.62   $    96.17   $   125.78
  5/27/2018 Jose Pineda                   $10.00   41.87   $    8.60               $     9.33   $     9.33
   6/3/2018 Jose Pineda                   $10.00   47.05   $    8.60               $    35.25   $    35.25
  6/10/2018 Jose Pineda                   $10.00   60.95   $    8.60               $   104.75   $   104.75
  6/17/2018 Jose Pineda                   $10.00   63.45   $    8.60               $   117.25   $   117.25
  6/24/2018 Jose Pineda                   $10.00   55.47   $    8.60               $    77.33   $    77.33
   7/1/2018 Jose Pineda                   $10.00   61.28   $    8.60               $   106.42   $   106.42
   7/8/2018 Jose Pineda                   $10.00   49.93   $    8.60               $    49.67   $    49.67
  7/15/2018 Jose Pineda                   $10.00   63.12   $    8.60               $   115.58   $   115.58
  7/22/2018 Jose Pineda                   $10.00   62.77   $    8.60               $   113.83   $   113.83
  7/29/2018 Jose Pineda                   $10.00   62.93   $    8.60               $   114.67   $   114.67
   8/5/2018 Jose Pineda                   $10.00   62.03   $    8.60               $   110.17   $   110.17
  8/12/2018 Jose Pineda                   $10.00   57.65   $    8.60               $    88.25   $    88.25
  8/19/2018 Jose Pineda                   $10.00   53.40   $    8.60               $    67.00   $    67.00
  11/3/2019 Jose Pineda                   $13.00   57.03   $   10.00               $   110.72   $   110.72
 11/10/2019 Jose Pineda                   $13.00   62.87   $   10.00               $   148.63   $   148.63
 11/17/2019 Jose Pineda                   $13.00   63.32   $   10.00               $   151.56   $   151.56
 11/24/2019 Jose Pineda                   $13.00   52.13   $   10.00               $    78.87   $    78.87
  12/1/2019 Jose Pineda                   $13.00   55.55   $   10.00               $   101.08   $   101.08
  12/8/2019 Jose Pineda                   $13.00   56.22   $   10.00               $   105.41   $   105.41
 12/15/2019 Jose Pineda                   $13.00   68.67   $   10.00               $   186.33   $   186.33
 12/22/2019 Jose Pineda                   $13.00   67.92   $   10.00               $   181.46   $   181.46
 12/29/2019 Jose Pineda                   $13.00   51.78   $   10.00               $    76.59   $    76.59
   1/5/2020 Jose Pineda                   $13.00   58.20   $   11.00               $   118.30   $   118.30
  1/12/2020 Jose Pineda                   $13.00   71.22   $   11.00               $   202.91   $   202.91
  1/19/2020 Jose Pineda                   $13.00   57.72   $   11.00               $   115.16   $   115.16
  1/26/2020 Jose Pineda                   $13.00   64.17   $   11.00               $   157.08   $   157.08
   6/4/2017 Jose Quintero                  $9.50   67.97   $    8.44               $   132.84   $   132.84
  6/11/2017 Jose Quintero                  $9.50   65.45   $    8.44               $   120.89   $   120.89
  6/18/2017 Jose Quintero                  $9.50   68.42   $    8.44               $   134.98   $   134.98



                                            375
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 377 of 683 PageID: 1224
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  6/25/2017 Jose Quintero                      $9.50   69.70   $    8.44         $   141.08   $    141.08
   7/2/2017 Jose Quintero                      $9.50   69.70   $    8.44         $   141.08   $    141.08
   7/9/2017 Jose Quintero                      $9.50   65.13   $    8.44         $   119.38   $    119.38
  7/16/2017 Jose Quintero                      $9.50   64.22   $    8.44         $   115.03   $    115.03
  7/23/2017 Jose Quintero                      $9.50   63.48   $    8.44         $   111.55   $    111.55
  7/30/2017 Jose Quintero                      $9.50   63.10   $    8.44         $   109.73   $    109.73
   8/6/2017 Jose Quintero                      $9.50   64.15   $    8.44         $   114.71   $    114.71
 12/24/2017 Jose Quintero                      $9.50   52.93   $    8.44         $    61.43   $     61.43
 12/31/2017 Jose Quintero                      $9.50   57.15   $    8.44         $    81.46   $     81.46
   1/7/2018 Jose Quintero                      $9.50   41.47   $    8.60         $     6.97   $      6.97
  7/15/2018 Jose Quintero                      $9.50   74.88   $    8.60         $   165.70   $    165.70
  7/22/2018 Jose Quintero                      $9.50   72.10   $    8.60         $   152.48   $    152.48
  7/29/2018 Jose Quintero                      $9.50   73.33   $    8.60         $   158.33   $    158.33
   8/5/2018 Jose Quintero                      $9.50   76.12   $    8.60         $   171.55   $    171.55
  8/12/2018 Jose Quintero                      $9.50   73.48   $    8.60         $   159.05   $    159.05
 12/23/2018 Jose Quintero                      $9.50   47.95   $    8.60         $    37.76   $     37.76
   1/6/2019 Jose Quintero                      $9.50   67.70   $    8.85         $   131.58   $    131.58
   9/3/2017 Jose Rafael Liriano-1616           $9.00   44.83   $    8.44         $    21.75   $     21.75
  9/10/2017 Jose Rafael Liriano-1616           $9.00   49.42   $    8.44         $    42.38   $     42.38
  9/17/2017 Jose Rafael Liriano-1616           $9.00   50.12   $    8.44         $    45.53   $     45.53
  9/24/2017 Jose Rafael Liriano-1616           $9.00   52.18   $    8.44         $    54.83   $     54.83
  10/1/2017 Jose Rafael Liriano-1616           $9.00   52.00   $    8.44         $    54.00   $     54.00
  10/8/2017 Jose Rafael Liriano-1616           $9.00   53.38   $    8.44         $    60.23   $     60.23
 10/15/2017 Jose Rafael Liriano-1616           $9.00   53.72   $    8.44         $    61.73   $     61.73
 10/22/2017 Jose Rafael Liriano-1616           $9.00   52.33   $    8.44         $    55.50   $     55.50
 11/12/2017 Jose Rafael Liriano-1616           $9.00   54.63   $    8.44         $    65.85   $     65.85
 11/19/2017 Jose Rafael Liriano-1616           $9.00   51.52   $    8.44         $    51.83   $     51.83
  12/3/2017 Jose Rafael Liriano-1616           $9.00   50.95   $    8.44         $    49.28   $     49.28
 12/10/2017 Jose Rafael Liriano-1616           $9.00   51.23   $    8.44         $    50.55   $     50.55
 12/17/2017 Jose Rafael Liriano-1616           $9.00   42.85   $    8.44         $    12.83   $     12.83
 12/24/2017 Jose Rafael Liriano-1616           $9.00   52.38   $    8.44         $    55.73   $     55.73
 12/31/2017 Jose Rafael Liriano-1616           $9.00   44.05   $    8.44         $    18.23   $     18.23
 12/16/2018 Jose Rafael Liriano-1616           $9.00   56.42   $    8.60         $    73.88   $     73.88
 12/23/2018 Jose Rafael Liriano-1616           $9.00   42.47   $    8.60         $    11.10   $     11.10
  8/25/2019 Jose Ramon Garcia                 $11.00   63.97   $   10.00         $   131.82   $    131.82
   9/1/2019 Jose Ramon Garcia                 $11.00   65.95   $   10.00         $   142.73   $    142.73
   9/8/2019 Jose Ramon Garcia                 $11.00   48.67   $   10.00         $    47.67   $     47.67
  9/15/2019 Jose Ramon Garcia                 $11.00   68.82   $   10.00         $   158.49   $    158.49
  9/22/2019 Jose Ramon Garcia                 $11.00   67.07   $   10.00         $   148.87   $    148.87
  9/29/2019 Jose Ramon Garcia                 $11.00   67.58   $   10.00         $   151.71   $    151.71
  10/6/2019 Jose Ramon Garcia                 $11.00   61.08   $   10.00         $   115.96   $    115.96
 10/13/2019 Jose Ramon Garcia                 $11.00   67.00   $   10.00         $   148.50   $    148.50
 10/20/2019 Jose Ramon Garcia                 $11.00   61.53   $   10.00         $   118.43   $    118.43
   8/6/2017 Jose Rojas Ventura                $10.00   64.17   $    8.44         $   120.83   $    120.83
  8/13/2017 Jose Rojas Ventura                $10.00   64.27   $    8.44         $   121.33   $    121.33
  8/20/2017 Jose Rojas Ventura                $10.00   63.92   $    8.44         $   119.58   $    119.58
  8/27/2017 Jose Rojas Ventura                $10.00   64.58   $    8.44         $   122.92   $    122.92
   9/3/2017 Jose Rojas Ventura                $10.00   65.18   $    8.44         $   125.92   $    125.92
  9/10/2017 Jose Rojas Ventura                $10.00   63.82   $    8.44         $   119.08   $    119.08
  9/17/2017 Jose Rojas Ventura                $10.00   74.43   $    8.44         $   172.17   $    172.17



                                                376
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 378 of 683 PageID: 1225
                                                  Exhibit 2
                                          New Jersey Computations


   Week                                                          State Section 7: Section 7: Total Section 7
                                                 Hourly Hours/
  Ending                      Name                             Minumum Regular    Half-Time Overtime Back
                                                  Rate Week
   Date                                                          Wage  Rate Due     Due       Wages Due

  9/24/2017 Jose Rojas Ventura                   $10.00   65.27   $    8.44              $   126.33   $   126.33
  10/1/2017 Jose Rojas Ventura                   $10.00   54.15   $    8.44              $    70.75   $    70.75
  10/8/2017 Jose Rojas Ventura                   $10.00   66.60   $    8.44              $   133.00   $   133.00
 10/15/2017 Jose Rojas Ventura                   $10.00   64.33   $    8.44              $   121.67   $   121.67
 10/22/2017 Jose Rojas Ventura                   $10.00   61.80   $    8.44              $   109.00   $   109.00
 10/29/2017 Jose Rojas Ventura                   $10.00   43.18   $    8.44              $    15.92   $    15.92
  11/5/2017 Jose Rojas Ventura                   $10.00   50.18   $    8.44              $    50.92   $    50.92
 11/12/2017 Jose Rojas Ventura                   $10.00   52.60   $    8.44              $    63.00   $    63.00
 11/19/2017 Jose Rojas Ventura                   $10.00   50.45   $    8.44              $    52.25   $    52.25
 11/26/2017 Jose Rojas Ventura                   $10.00   49.40   $    8.44              $    47.00   $    47.00
  12/3/2017 Jose Rojas Ventura                   $10.00   68.45   $    8.44              $   142.25   $   142.25
 12/10/2017 Jose Rojas Ventura                   $10.00   55.07   $    8.44              $    75.33   $    75.33
 12/17/2017 Jose Rojas Ventura                   $10.00   53.70   $    8.44              $    68.50   $    68.50
 12/24/2017 Jose Rojas Ventura                   $10.00   47.63   $    8.44              $    38.17   $    38.17
 12/31/2017 Jose Rojas Ventura                   $10.00   41.72   $    8.44              $     8.58   $     8.58
   1/7/2018 Jose Rojas Ventura                   $10.00   46.93   $    8.60              $    34.67   $    34.67
  1/14/2018 Jose Rojas Ventura                   $10.00   59.93   $    8.60              $    99.67   $    99.67
  1/21/2018 Jose Rojas Ventura                   $10.00   51.38   $    8.60              $    56.92   $    56.92
  1/28/2018 Jose Rojas Ventura                   $10.00   47.47   $    8.60              $    37.33   $    37.33
   2/4/2018 Jose Rojas Ventura                   $10.00   46.68   $    8.60              $    33.42   $    33.42
  2/11/2018 Jose Rojas Ventura                   $10.00   56.03   $    8.60              $    80.17   $    80.17
   5/6/2018 Jose Rojas Ventura                   $10.00   55.15   $    8.60              $    75.75   $    75.75
  5/13/2018 Jose Rojas Ventura                   $10.00   68.58   $    8.60              $   142.92   $   142.92
  5/27/2018 Jose Rojas Ventura                   $10.00   69.23   $    8.60              $   146.17   $   146.17
  6/10/2018 Jose Rojas Ventura                   $10.00   45.45   $    8.60              $    27.25   $    27.25
  8/26/2018 Jose Rojas Ventura                   $10.00   61.50   $    8.60              $   107.50   $   107.50
   9/2/2018 Jose Rojas Ventura                   $10.00   59.60   $    8.60              $    98.00   $    98.00
   9/9/2018 Jose Rojas Ventura                   $10.00   53.83   $    8.60              $    69.17   $    69.17
  9/16/2018 Jose Rojas Ventura                   $10.00   48.60   $    8.60              $    43.00   $    43.00
  9/23/2018 Jose Rojas Ventura                   $10.00   49.20   $    8.60              $    46.00   $    46.00
  9/30/2018 Jose Rojas Ventura                   $10.00   50.67   $    8.60              $    53.33   $    53.33
 10/21/2018 Jose Rojas Ventura                   $10.00   56.92   $    8.60              $    84.58   $    84.58
 10/28/2018 Jose Rojas Ventura                   $10.00   54.65   $    8.60              $    73.25   $    73.25
 11/18/2018 Jose Rojas Ventura                   $10.00   44.77   $    8.60              $    23.83   $    23.83
  12/2/2018 Jose Rojas Ventura                   $10.00   42.03   $    8.60              $    10.17   $    10.17
 12/16/2018 Jose Rojas Ventura                   $10.00   50.95   $    8.60              $    54.75   $    54.75
 12/23/2018 Jose Rojas Ventura                   $10.00   55.65   $    8.60              $    78.25   $    78.25
   1/6/2019 Jose Rojas Ventura                   $10.00   43.27   $    8.85              $    16.33   $    16.33
  1/13/2019 Jose Rojas Ventura                   $10.00   41.72   $    8.85              $     8.58   $     8.58
  1/27/2019 Jose Rojas Ventura                   $10.00   41.90   $    8.85              $     9.50   $     9.50
   2/3/2019 Jose Rojas Ventura                   $10.00   57.22   $    8.85              $    86.08   $    86.08
  2/10/2019 Jose Rojas Ventura                   $10.00   60.53   $    8.85              $   102.67   $   102.67
  2/24/2019 Jose Rojas Ventura                   $10.00   43.17   $    8.85              $    15.83   $    15.83
  3/10/2019 Jose Rojas Ventura                   $10.00   63.23   $    8.85              $   116.17   $   116.17
  3/17/2019 Jose Rojas Ventura                   $10.00   76.63   $    8.85              $   183.17   $   183.17
  3/24/2019 Jose Rojas Ventura                   $10.00   52.82   $    8.85              $    64.08   $    64.08
 12/15/2019 Jose Rolando Pinda Gonzalez           $9.00   43.82   $   10.00   $ 43.82    $    19.08   $    62.90
 12/22/2019 Jose Rolando Pinda Gonzalez           $9.00   48.55   $   10.00   $ 48.55    $    42.75   $    91.30
 12/29/2019 Jose Rolando Pinda Gonzalez           $9.00   44.52   $   10.00   $ 44.52    $    22.58   $    67.10
   1/5/2020 Jose Rolando Pinda Gonzalez           $9.00   55.50   $   11.00   $ 111.00   $    85.25   $   196.25



                                                   377
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 379 of 683 PageID: 1226
                                                  Exhibit 2
                                          New Jersey Computations


   Week                                                          State Section 7: Section 7: Total Section 7
                                                 Hourly Hours/
  Ending                      Name                             Minumum Regular    Half-Time Overtime Back
                                                  Rate Week
   Date                                                          Wage  Rate Due     Due       Wages Due

  1/12/2020 Jose Rolando Pinda Gonzalez           $9.00   57.03   $   11.00   $ 114.07   $    93.68   $   207.75
  1/19/2020 Jose Rolando Pinda Gonzalez           $9.00   45.63   $   11.00   $ 91.27    $    30.98   $   122.25
  1/26/2020 Jose Rolando Pinda Gonzalez           $9.00   45.52   $   11.00   $ 91.03    $    30.34   $   121.38
  1/13/2019 Jose Romero                          $16.50   54.55   $    8.85              $   120.04   $   120.04
  1/20/2019 Jose Romero                          $16.50   50.68   $    8.85              $    88.14   $    88.14
  1/27/2019 Jose Romero                          $16.50   56.75   $    8.85              $   138.19   $   138.19
   2/3/2019 Jose Romero                          $16.50   49.17   $    8.85              $    75.63   $    75.63
  2/10/2019 Jose Romero                          $16.50   56.13   $    8.85              $   133.10   $   133.10
  2/17/2019 Jose Romero                          $16.50   56.27   $    8.85              $   134.20   $   134.20
  2/24/2019 Jose Romero                          $16.50   47.68   $    8.85              $    63.39   $    63.39
   3/3/2019 Jose Romero                          $16.50   49.02   $    8.85              $    74.39   $    74.39
  3/10/2019 Jose Romero                          $16.50   57.98   $    8.85              $   148.36   $   148.36
  3/17/2019 Jose Romero                          $16.50   57.33   $    8.85              $   143.00   $   143.00
  3/24/2019 Jose Romero                          $16.50   58.37   $    8.85              $   151.53   $   151.53
  3/31/2019 Jose Romero                          $16.50   51.57   $    8.85              $    95.43   $    95.43
   4/7/2019 Jose Romero                          $16.50   58.67   $    8.85              $   154.00   $   154.00
  4/14/2019 Jose Romero                          $16.50   49.00   $    8.85              $    74.25   $    74.25
  4/21/2019 Jose Romero                          $16.50   58.28   $    8.85              $   150.84   $   150.84
  4/28/2019 Jose Romero                          $16.50   58.92   $    8.85              $   156.06   $   156.06
   5/5/2019 Jose Romero                          $16.50   45.08   $    8.85              $    41.94   $    41.94
  5/12/2019 Jose Romero                          $16.50   49.30   $    8.85              $    76.73   $    76.73
  5/19/2019 Jose Romero                          $16.50   50.60   $    8.85              $    87.45   $    87.45
  5/26/2019 Jose Romero                          $16.50   54.02   $    8.85              $   115.64   $   115.64
   6/2/2019 Jose Romero                          $16.50   46.03   $    8.85              $    49.78   $    49.78
   6/9/2019 Jose Romero                          $16.50   56.05   $    8.85              $   132.41   $   132.41
  6/16/2019 Jose Romero                          $16.50   55.98   $    8.85              $   131.86   $   131.86
  7/21/2019 Jose Romero                          $16.50   49.17   $   10.00              $    75.63   $    75.63
  7/28/2019 Jose Romero                          $16.50   51.47   $   10.00              $    94.60   $    94.60
   8/4/2019 Jose Romero                          $16.50   54.73   $   10.00              $   121.55   $   121.55
  8/11/2019 Jose Romero                          $16.50   57.02   $   10.00              $   140.39   $   140.39
  8/18/2019 Jose Romero                          $16.50   50.37   $   10.00              $    85.52   $    85.52
  8/25/2019 Jose Romero                          $16.50   48.75   $   10.00              $    72.19   $    72.19
   9/1/2019 Jose Romero                          $16.50   51.00   $   10.00              $    90.75   $    90.75
  9/15/2019 Jose Romero                          $16.50   50.23   $   10.00              $    84.43   $    84.43
  9/22/2019 Jose Romero                          $16.50   49.78   $   10.00              $    80.71   $    80.71
  9/29/2019 Jose Romero                          $16.50   50.00   $   10.00              $    82.50   $    82.50
  10/6/2019 Jose Romero                          $16.50   51.68   $   10.00              $    96.39   $    96.39
 10/13/2019 Jose Romero                          $16.50   49.93   $   10.00              $    81.95   $    81.95
 10/20/2019 Jose Romero                          $16.50   50.48   $   10.00              $    86.49   $    86.49
 10/27/2019 Jose Romero                          $16.50   42.05   $   10.00              $    16.91   $    16.91
  11/3/2019 Jose Romero                          $16.50   50.13   $   10.00              $    83.60   $    83.60
 11/10/2019 Jose Romero                          $16.50   50.92   $   10.00              $    90.06   $    90.06
 11/17/2019 Jose Romero                          $16.50   50.97   $   10.00              $    90.48   $    90.48
 11/24/2019 Jose Romero                          $16.50   50.10   $   10.00              $    83.33   $    83.33
  12/8/2019 Jose Romero                          $16.50   50.17   $   10.00              $    83.88   $    83.88
 12/15/2019 Jose Romero                          $16.50   49.92   $   10.00              $    81.81   $    81.81
 12/22/2019 Jose Romero                          $16.50   50.28   $   10.00              $    84.84   $    84.84
 12/29/2019 Jose Romero                          $16.50   40.48   $   10.00              $     3.99   $     3.99
   1/5/2020 Jose Romero                          $16.50   43.02   $   11.00              $    24.89   $    24.89
  1/12/2020 Jose Romero                          $16.50   50.02   $   11.00              $    82.64   $    82.64



                                                   378
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 380 of 683 PageID: 1227
                                         Exhibit 2
                                 New Jersey Computations


   Week                                                 State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
  Ending                  Name                        Minumum Regular    Half-Time Overtime Back
                                         Rate Week
   Date                                                 Wage  Rate Due     Due       Wages Due

  1/19/2020 Jose Romero                 $16.50   41.92   $   11.00         $    15.81   $     15.81
  1/26/2020 Jose Romero                 $16.50   50.12   $   11.00         $    83.46   $     83.46
   2/5/2017 Jose Sosa                   $13.00   63.80   $    8.44         $   154.70   $    154.70
  2/12/2017 Jose Sosa                   $13.00   49.87   $    8.44         $    64.13   $     64.13
  2/19/2017 Jose Sosa                   $13.00   60.35   $    8.44         $   132.28   $    132.28
  2/26/2017 Jose Sosa                   $13.00   61.83   $    8.44         $   141.92   $    141.92
   3/5/2017 Jose Sosa                   $13.00   61.82   $    8.44         $   141.81   $    141.81
  3/12/2017 Jose Sosa                   $13.00   57.93   $    8.44         $   116.57   $    116.57
  3/19/2017 Jose Sosa                   $13.00   47.42   $    8.44         $    48.21   $     48.21
  3/26/2017 Jose Sosa                   $13.00   62.85   $    8.44         $   148.53   $    148.53
   4/2/2017 Jose Sosa                   $13.00   59.88   $    8.44         $   129.24   $    129.24
   4/9/2017 Jose Sosa                   $13.00   59.82   $    8.44         $   128.81   $    128.81
  4/16/2017 Jose Sosa                   $13.00   60.10   $    8.44         $   130.65   $    130.65
  4/23/2017 Jose Sosa                   $13.00   49.52   $    8.44         $    61.86   $     61.86
  4/30/2017 Jose Sosa                   $13.00   60.65   $    8.44         $   134.23   $    134.23
   5/7/2017 Jose Sosa                   $13.00   60.03   $    8.44         $   130.22   $    130.22
  5/14/2017 Jose Sosa                   $13.00   60.27   $    8.44         $   131.73   $    131.73
  5/21/2017 Jose Sosa                   $13.00   59.37   $    8.44         $   125.88   $    125.88
  5/28/2017 Jose Sosa                   $13.00   62.58   $    8.44         $   146.79   $    146.79
   6/4/2017 Jose Sosa                   $13.00   64.43   $    8.44         $   158.82   $    158.82
  6/11/2017 Jose Sosa                   $13.00   59.83   $    8.44         $   128.92   $    128.92
  6/18/2017 Jose Sosa                   $13.00   61.40   $    8.44         $   139.10   $    139.10
  7/16/2017 Jose Sosa                   $13.00   56.28   $    8.44         $   105.84   $    105.84
  7/23/2017 Jose Sosa                   $13.00   62.55   $    8.44         $   146.58   $    146.58
  7/30/2017 Jose Sosa                   $13.00   68.52   $    8.44         $   185.36   $    185.36
   8/6/2017 Jose Sosa                   $13.00   66.03   $    8.44         $   169.22   $    169.22
  8/13/2017 Jose Sosa                   $13.00   62.45   $    8.44         $   145.93   $    145.93
  8/20/2017 Jose Sosa                   $13.00   63.95   $    8.44         $   155.68   $    155.68
  8/27/2017 Jose Sosa                   $13.00   66.23   $    8.44         $   170.52   $    170.52
   9/3/2017 Jose Sosa                   $13.00   63.07   $    8.44         $   149.93   $    149.93
  9/10/2017 Jose Sosa                   $13.00   59.82   $    8.44         $   128.81   $    128.81
  9/17/2017 Jose Sosa                   $13.00   68.27   $    8.44         $   183.73   $    183.73
  9/24/2017 Jose Sosa                   $13.00   60.17   $    8.44         $   131.08   $    131.08
  10/1/2017 Jose Sosa                   $13.00   61.68   $    8.44         $   140.94   $    140.94
  10/8/2017 Jose Sosa                   $13.00   61.00   $    8.44         $   136.50   $    136.50
 10/15/2017 Jose Sosa                   $13.00   59.17   $    8.44         $   124.58   $    124.58
 10/22/2017 Jose Sosa                   $13.00   59.23   $    8.44         $   125.02   $    125.02
 10/29/2017 Jose Sosa                   $13.00   61.15   $    8.44         $   137.48   $    137.48
  11/5/2017 Jose Sosa                   $13.00   71.45   $    8.44         $   204.43   $    204.43
 11/12/2017 Jose Sosa                   $13.00   60.85   $    8.44         $   135.53   $    135.53
 11/19/2017 Jose Sosa                   $13.00   58.05   $    8.44         $   117.33   $    117.33
  12/3/2017 Jose Sosa                   $13.00   60.90   $    8.44         $   135.85   $    135.85
 12/10/2017 Jose Sosa                   $13.00   62.45   $    8.44         $   145.93   $    145.93
 12/17/2017 Jose Sosa                   $13.00   61.08   $    8.44         $   137.04   $    137.04
 12/24/2017 Jose Sosa                   $13.00   59.72   $    8.44         $   128.16   $    128.16
 12/31/2017 Jose Sosa                   $13.00   49.27   $    8.44         $    60.23   $     60.23
   1/7/2018 Jose Sosa                   $13.00   52.40   $    8.60         $    80.60   $     80.60
  1/14/2018 Jose Sosa                   $13.00   48.18   $    8.60         $    53.19   $     53.19
  1/21/2018 Jose Sosa                   $13.00   55.47   $    8.60         $   100.53   $    100.53
  1/28/2018 Jose Sosa                   $13.00   44.88   $    8.60         $    31.74   $     31.74



                                          379
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 381 of 683 PageID: 1228
                                         Exhibit 2
                                 New Jersey Computations


   Week                                                 State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
  Ending                Name                          Minumum Regular    Half-Time Overtime Back
                                         Rate Week
   Date                                                 Wage  Rate Due     Due       Wages Due

   2/4/2018 Jose Sosa                   $13.00   58.68   $   8.60          $   121.44   $    121.44
  2/11/2018 Jose Sosa                   $13.00   59.63   $   8.60          $   127.62   $    127.62
  2/18/2018 Jose Sosa                   $13.00   71.67   $   8.60          $   205.83   $    205.83
  2/25/2018 Jose Sosa                   $13.00   74.32   $   8.60          $   223.06   $    223.06
   3/4/2018 Jose Sosa                   $13.00   70.70   $   8.60          $   199.55   $    199.55
  3/25/2018 Jose Sosa                   $13.00   67.20   $   8.60          $   176.80   $    176.80
   4/1/2018 Jose Sosa                   $13.00   72.20   $   8.60          $   209.30   $    209.30
   4/8/2018 Jose Sosa                   $13.00   71.67   $   8.60          $   205.83   $    205.83
  4/15/2018 Jose Sosa                   $13.00   65.50   $   8.60          $   165.75   $    165.75
  4/22/2018 Jose Sosa                   $13.00   70.87   $   8.60          $   200.63   $    200.63
  4/29/2018 Jose Sosa                   $13.00   71.45   $   8.60          $   204.43   $    204.43
   5/6/2018 Jose Sosa                   $13.00   68.43   $   8.60          $   184.82   $    184.82
  5/13/2018 Jose Sosa                   $13.00   57.50   $   8.60          $   113.75   $    113.75
  5/20/2018 Jose Sosa                   $13.00   57.17   $   8.60          $   111.58   $    111.58
  5/27/2018 Jose Sosa                   $13.00   64.62   $   8.60          $   160.01   $    160.01
   6/3/2018 Jose Sosa                   $13.00   58.97   $   8.60          $   123.28   $    123.28
  6/10/2018 Jose Sosa                   $13.00   57.90   $   8.60          $   116.35   $    116.35
  6/17/2018 Jose Sosa                   $13.00   58.37   $   8.60          $   119.38   $    119.38
  7/22/2018 Jose Sosa                   $13.00   61.47   $   8.60          $   139.53   $    139.53
  7/29/2018 Jose Sosa                   $13.00   58.52   $   8.60          $   120.36   $    120.36
   8/5/2018 Jose Sosa                   $13.00   56.15   $   8.60          $   104.98   $    104.98
  8/12/2018 Jose Sosa                   $13.00   58.15   $   8.60          $   117.98   $    117.98
  8/19/2018 Jose Sosa                   $13.00   57.45   $   8.60          $   113.43   $    113.43
  8/26/2018 Jose Sosa                   $13.00   59.47   $   8.60          $   126.53   $    126.53
   9/2/2018 Jose Sosa                   $13.00   59.90   $   8.60          $   129.35   $    129.35
   9/9/2018 Jose Sosa                   $13.00   59.55   $   8.60          $   127.08   $    127.08
  9/30/2018 Jose Sosa                   $13.00   59.55   $   8.60          $   127.08   $    127.08
  10/7/2018 Jose Sosa                   $13.00   59.57   $   8.60          $   127.18   $    127.18
 10/14/2018 Jose Sosa                   $13.00   57.23   $   8.60          $   112.02   $    112.02
 10/21/2018 Jose Sosa                   $13.00   57.45   $   8.60          $   113.43   $    113.43
 10/28/2018 Jose Sosa                   $13.00   59.83   $   8.60          $   128.92   $    128.92
  11/4/2018 Jose Sosa                   $13.00   58.67   $   8.60          $   121.33   $    121.33
 11/11/2018 Jose Sosa                   $13.00   58.98   $   8.60          $   123.39   $    123.39
 11/18/2018 Jose Sosa                   $13.00   64.10   $   8.60          $   156.65   $    156.65
 11/25/2018 Jose Sosa                   $13.00   51.15   $   8.60          $    72.48   $     72.48
  12/2/2018 Jose Sosa                   $13.00   59.83   $   8.60          $   128.92   $    128.92
  12/9/2018 Jose Sosa                   $13.00   59.18   $   8.60          $   124.69   $    124.69
 12/16/2018 Jose Sosa                   $13.00   58.43   $   8.60          $   119.82   $    119.82
 12/23/2018 Jose Sosa                   $13.00   54.82   $   8.60          $    96.31   $     96.31
 12/30/2018 Jose Sosa                   $13.00   46.82   $   8.60          $    44.31   $     44.31
   1/6/2019 Jose Sosa                   $13.00   54.53   $   8.85          $    94.47   $     94.47
  1/13/2019 Jose Sosa                   $13.00   58.87   $   8.85          $   122.63   $    122.63
  1/20/2019 Jose Sosa                   $13.00   59.33   $   8.85          $   125.67   $    125.67
  1/27/2019 Jose Sosa                   $13.00   60.72   $   8.85          $   134.66   $    134.66
   2/3/2019 Jose Sosa                   $13.00   56.03   $   8.85          $   104.22   $    104.22
  2/10/2019 Jose Sosa                   $13.00   59.65   $   8.85          $   127.73   $    127.73
  2/17/2019 Jose Sosa                   $13.00   57.85   $   8.85          $   116.03   $    116.03
  2/24/2019 Jose Sosa                   $13.00   59.08   $   8.85          $   124.04   $    124.04
   3/3/2019 Jose Sosa                   $13.00   62.22   $   8.85          $   144.41   $    144.41
  3/10/2019 Jose Sosa                   $13.00   58.62   $   8.85          $   121.01   $    121.01



                                          380
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 382 of 683 PageID: 1229
                                         Exhibit 2
                                 New Jersey Computations


   Week                                                 State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
  Ending                Name                          Minumum Regular    Half-Time Overtime Back
                                         Rate Week
   Date                                                 Wage  Rate Due     Due       Wages Due

  3/17/2019 Jose Sosa                   $13.00   59.45   $    8.85         $   126.43   $    126.43
  3/24/2019 Jose Sosa                   $13.00   48.58   $    8.85         $    55.79   $     55.79
   4/7/2019 Jose Sosa                   $13.00   50.05   $    8.85         $    65.33   $     65.33
  4/14/2019 Jose Sosa                   $13.00   58.18   $    8.85         $   118.19   $    118.19
  4/21/2019 Jose Sosa                   $13.00   74.63   $    8.85         $   225.12   $    225.12
  4/28/2019 Jose Sosa                   $13.00   73.08   $    8.85         $   215.04   $    215.04
   5/5/2019 Jose Sosa                   $13.00   63.48   $    8.85         $   152.64   $    152.64
  5/12/2019 Jose Sosa                   $13.00   61.07   $    8.85         $   136.93   $    136.93
  5/19/2019 Jose Sosa                   $13.00   57.70   $    8.85         $   115.05   $    115.05
  5/26/2019 Jose Sosa                   $13.00   69.83   $    8.85         $   193.92   $    193.92
   6/2/2019 Jose Sosa                   $13.00   58.78   $    8.85         $   122.09   $    122.09
   6/9/2019 Jose Sosa                   $13.00   60.10   $    8.85         $   130.65   $    130.65
  6/16/2019 Jose Sosa                   $13.00   59.47   $    8.85         $   126.53   $    126.53
  6/23/2019 Jose Sosa                   $13.00   60.13   $    8.85         $   130.87   $    130.87
  7/21/2019 Jose Sosa                   $13.00   49.98   $   10.00         $    64.89   $     64.89
  7/28/2019 Jose Sosa                   $13.00   60.10   $   10.00         $   130.65   $    130.65
   8/4/2019 Jose Sosa                   $13.00   71.87   $   10.00         $   207.13   $    207.13
  8/11/2019 Jose Sosa                   $13.00   64.70   $   10.00         $   160.55   $    160.55
  8/18/2019 Jose Sosa                   $13.00   58.58   $   10.00         $   120.79   $    120.79
  8/25/2019 Jose Sosa                   $13.00   59.38   $   10.00         $   125.99   $    125.99
   9/1/2019 Jose Sosa                   $13.00   59.68   $   10.00         $   127.94   $    127.94
   9/8/2019 Jose Sosa                   $13.00   59.48   $   10.00         $   126.64   $    126.64
  9/15/2019 Jose Sosa                   $13.00   59.53   $   10.00         $   126.97   $    126.97
  9/22/2019 Jose Sosa                   $13.00   61.40   $   10.00         $   139.10   $    139.10
  9/29/2019 Jose Sosa                   $13.00   59.80   $   10.00         $   128.70   $    128.70
  10/6/2019 Jose Sosa                   $13.00   67.83   $   10.00         $   180.92   $    180.92
 10/27/2019 Jose Sosa                   $13.00   46.17   $   10.00         $    40.08   $     40.08
  11/3/2019 Jose Sosa                   $13.00   60.67   $   10.00         $   134.33   $    134.33
 11/10/2019 Jose Sosa                   $13.00   53.63   $   10.00         $    88.62   $     88.62
 11/17/2019 Jose Sosa                   $13.00   57.15   $   10.00         $   111.48   $    111.48
 11/24/2019 Jose Sosa                   $13.00   55.82   $   10.00         $   102.81   $    102.81
  12/1/2019 Jose Sosa                   $13.00   46.17   $   10.00         $    40.08   $     40.08
  12/8/2019 Jose Sosa                   $13.00   57.82   $   10.00         $   115.81   $    115.81
 12/15/2019 Jose Sosa                   $13.00   48.53   $   10.00         $    55.47   $     55.47
 12/22/2019 Jose Sosa                   $13.00   60.42   $   10.00         $   132.71   $    132.71
 12/29/2019 Jose Sosa                   $13.00   47.62   $   10.00         $    49.51   $     49.51
   1/5/2020 Jose Sosa                   $13.00   58.10   $   11.00         $   117.65   $    117.65
  1/12/2020 Jose Sosa                   $13.00   55.78   $   11.00         $   102.59   $    102.59
  1/19/2020 Jose Sosa                   $13.00   60.55   $   11.00         $   133.58   $    133.58
  1/26/2020 Jose Sosa                   $13.00   61.02   $   11.00         $   136.61   $    136.61
   2/5/2017 Jose Soto                   $10.50   62.92   $    8.44         $   120.31   $    120.31
  2/12/2017 Jose Soto                   $10.50   62.82   $    8.44         $   119.79   $    119.79
  2/19/2017 Jose Soto                   $10.50   64.45   $    8.44         $   128.36   $    128.36
  2/26/2017 Jose Soto                   $10.50   68.33   $    8.44         $   148.75   $    148.75
   3/5/2017 Jose Soto                   $10.50   63.00   $    8.44         $   120.75   $    120.75
  3/12/2017 Jose Soto                   $10.50   68.05   $    8.44         $   147.26   $    147.26
  3/19/2017 Jose Soto                   $10.50   52.63   $    8.44         $    66.33   $     66.33
  3/26/2017 Jose Soto                   $10.50   69.47   $    8.44         $   154.70   $    154.70
   4/2/2017 Jose Soto                   $10.50   65.78   $    8.44         $   135.36   $    135.36
   4/9/2017 Jose Soto                   $10.50   67.22   $    8.44         $   142.89   $    142.89



                                          381
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 383 of 683 PageID: 1230
                                         Exhibit 2
                                 New Jersey Computations


   Week                                                 State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
  Ending                Name                          Minumum Regular    Half-Time Overtime Back
                                         Rate Week
   Date                                                 Wage  Rate Due     Due       Wages Due

  4/16/2017 Jose Soto                   $10.50   65.07   $   8.44          $   131.60   $    131.60
  4/23/2017 Jose Soto                   $10.50   67.28   $   8.44          $   143.24   $    143.24
  4/30/2017 Jose Soto                   $10.50   63.48   $   8.44          $   123.29   $    123.29
   5/7/2017 Jose Soto                   $10.50   52.08   $   8.44          $    63.44   $     63.44
  5/14/2017 Jose Soto                   $10.50   62.35   $   8.44          $   117.34   $    117.34
  5/21/2017 Jose Soto                   $10.50   66.70   $   8.44          $   140.18   $    140.18
  5/28/2017 Jose Soto                   $10.50   62.58   $   8.44          $   118.56   $    118.56
   6/4/2017 Jose Soto                   $10.50   67.60   $   8.44          $   144.90   $    144.90
  6/11/2017 Jose Soto                   $10.50   63.13   $   8.44          $   121.45   $    121.45
  6/18/2017 Jose Soto                   $10.50   70.05   $   8.44          $   157.76   $    157.76
  6/25/2017 Jose Soto                   $10.50   62.65   $   8.44          $   118.91   $    118.91
   7/2/2017 Jose Soto                   $10.50   62.73   $   8.44          $   119.35   $    119.35
   7/9/2017 Jose Soto                   $10.50   58.45   $   8.44          $    96.86   $     96.86
  7/16/2017 Jose Soto                   $10.50   70.95   $   8.44          $   162.49   $    162.49
  7/23/2017 Jose Soto                   $10.50   52.35   $   8.44          $    64.84   $     64.84
  7/30/2017 Jose Soto                   $10.50   71.32   $   8.44          $   164.41   $    164.41
   8/6/2017 Jose Soto                   $10.50   59.40   $   8.44          $   101.85   $    101.85
  8/13/2017 Jose Soto                   $10.50   71.47   $   8.44          $   165.20   $    165.20
  8/20/2017 Jose Soto                   $10.50   63.10   $   8.44          $   121.28   $    121.28
  8/27/2017 Jose Soto                   $10.50   75.18   $   8.44          $   184.71   $    184.71
   9/3/2017 Jose Soto                   $10.50   62.60   $   8.44          $   118.65   $    118.65
  9/10/2017 Jose Soto                   $10.50   57.07   $   8.44          $    89.60   $     89.60
  9/17/2017 Jose Soto                   $10.50   60.07   $   8.44          $   105.35   $    105.35
  9/24/2017 Jose Soto                   $10.50   70.63   $   8.44          $   160.83   $    160.83
  10/1/2017 Jose Soto                   $10.50   63.00   $   8.44          $   120.75   $    120.75
  10/8/2017 Jose Soto                   $10.50   70.30   $   8.44          $   159.08   $    159.08
 10/15/2017 Jose Soto                   $10.50   62.62   $   8.44          $   118.74   $    118.74
 10/22/2017 Jose Soto                   $10.50   70.50   $   8.44          $   160.13   $    160.13
 10/29/2017 Jose Soto                   $10.50   62.33   $   8.44          $   117.25   $    117.25
  11/5/2017 Jose Soto                   $10.50   66.78   $   8.44          $   140.61   $    140.61
 11/12/2017 Jose Soto                   $10.50   62.13   $   8.44          $   116.20   $    116.20
 11/19/2017 Jose Soto                   $10.50   70.35   $   8.44          $   159.34   $    159.34
 11/26/2017 Jose Soto                   $10.50   50.65   $   8.44          $    55.91   $     55.91
  12/3/2017 Jose Soto                   $10.50   69.97   $   8.44          $   157.33   $    157.33
 12/10/2017 Jose Soto                   $10.50   62.25   $   8.44          $   116.81   $    116.81
 12/17/2017 Jose Soto                   $10.50   69.90   $   8.44          $   156.98   $    156.98
 12/24/2017 Jose Soto                   $10.50   61.07   $   8.44          $   110.60   $    110.60
 12/31/2017 Jose Soto                   $10.50   58.45   $   8.44          $    96.86   $     96.86
   1/7/2018 Jose Soto                   $10.50   48.52   $   8.60          $    44.71   $     44.71
  1/14/2018 Jose Soto                   $10.50   69.52   $   8.60          $   154.96   $    154.96
  1/21/2018 Jose Soto                   $10.50   62.15   $   8.60          $   116.29   $    116.29
  1/28/2018 Jose Soto                   $10.50   70.10   $   8.60          $   158.03   $    158.03
   2/4/2018 Jose Soto                   $10.50   50.68   $   8.60          $    56.09   $     56.09
  2/11/2018 Jose Soto                   $10.50   70.62   $   8.60          $   160.74   $    160.74
  2/18/2018 Jose Soto                   $10.50   61.80   $   8.60          $   114.45   $    114.45
  2/25/2018 Jose Soto                   $10.50   67.53   $   8.60          $   144.55   $    144.55
   3/4/2018 Jose Soto                   $10.50   62.02   $   8.60          $   115.59   $    115.59
   4/1/2018 Jose Soto                   $10.50   50.77   $   8.60          $    56.53   $     56.53
   4/8/2018 Jose Soto                   $10.50   72.38   $   8.60          $   170.01   $    170.01
  4/15/2018 Jose Soto                   $10.50   65.10   $   8.60          $   131.78   $    131.78



                                          382
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 384 of 683 PageID: 1231
                                          Exhibit 2
                                  New Jersey Computations


   Week                                                  State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
  Ending                   Name                        Minumum Regular    Half-Time Overtime Back
                                          Rate Week
   Date                                                  Wage  Rate Due     Due       Wages Due

 4/22/2018 Jose Soto                     $10.50   71.87   $   8.60          $   167.30   $    167.30
 4/29/2018 Jose Soto                     $10.50   52.17   $   8.60          $    63.88   $     63.88
  5/6/2018 Jose Soto                     $10.50   70.12   $   8.60          $   158.11   $    158.11
 5/13/2018 Jose Soto                     $10.50   62.13   $   8.60          $   116.20   $    116.20
 5/20/2018 Jose Soto                     $10.50   66.45   $   8.60          $   138.86   $    138.86
 5/14/2017 Jose Sutuj                     $9.50   49.95   $   8.44          $    47.26   $     47.26
 5/21/2017 Jose Sutuj                     $9.50   60.95   $   8.44          $    99.51   $     99.51
 5/28/2017 Jose Sutuj                     $9.50   56.43   $   8.44          $    78.06   $     78.06
  6/4/2017 Jose Sutuj                     $9.50   55.93   $   8.44          $    75.68   $     75.68
 6/11/2017 Jose Sutuj                     $9.50   55.93   $   8.44          $    75.68   $     75.68
  2/5/2017 Jose Zacarias                 $10.00   57.63   $   8.44          $    88.17   $     88.17
 2/12/2017 Jose Zacarias                 $10.00   45.65   $   8.44          $    28.25   $     28.25
 2/19/2017 Jose Zacarias                 $10.00   55.95   $   8.44          $    79.75   $     79.75
 2/26/2017 Jose Zacarias                 $10.00   55.87   $   8.44          $    79.33   $     79.33
  3/5/2017 Jose Zacarias                 $10.00   56.08   $   8.44          $    80.42   $     80.42
 3/12/2017 Jose Zacarias                 $10.00   57.17   $   8.44          $    85.83   $     85.83
 3/19/2017 Jose Zacarias                 $10.00   47.38   $   8.44          $    36.92   $     36.92
 3/26/2017 Jose Zacarias                 $10.00   57.48   $   8.44          $    87.42   $     87.42
  4/2/2017 Jose Zacarias                 $10.00   57.02   $   8.44          $    85.08   $     85.08
  4/9/2017 Jose Zacarias                 $10.00   56.98   $   8.44          $    84.92   $     84.92
 4/16/2017 Jose Zacarias                 $10.00   56.55   $   8.44          $    82.75   $     82.75
 4/23/2017 Jose Zacarias                 $10.00   56.52   $   8.44          $    82.58   $     82.58
 4/30/2017 Jose Zacarias                 $10.00   57.65   $   8.44          $    88.25   $     88.25
  5/7/2017 Jose Zacarias                 $10.00   56.28   $   8.44          $    81.42   $     81.42
 5/14/2017 Jose Zacarias                 $10.00   56.25   $   8.44          $    81.25   $     81.25
 5/21/2017 Jose Zacarias                 $10.00   56.03   $   8.44          $    80.17   $     80.17
 5/28/2017 Jose Zacarias                 $10.00   57.10   $   8.44          $    85.50   $     85.50
  6/4/2017 Jose Zacarias                 $10.00   52.13   $   8.44          $    60.67   $     60.67
  3/5/2017 Joseph Garcia                 $11.00   49.42   $   8.44          $    51.79   $     51.79
 3/12/2017 Joseph Garcia                 $11.00   47.05   $   8.44          $    38.78   $     38.78
 3/19/2017 Joseph Garcia                 $11.00   47.38   $   8.44          $    40.61   $     40.61
 3/26/2017 Joseph Garcia                 $11.00   46.73   $   8.44          $    37.03   $     37.03
  4/2/2017 Joseph Garcia                 $11.00   50.90   $   8.44          $    59.95   $     59.95
  4/9/2017 Joseph Garcia                 $11.00   51.27   $   8.44          $    61.97   $     61.97
 4/16/2017 Joseph Garcia                 $11.00   51.95   $   8.44          $    65.73   $     65.73
 4/23/2017 Joseph Garcia                 $11.00   46.18   $   8.44          $    34.01   $     34.01
 4/30/2017 Joseph Garcia                 $11.00   50.55   $   8.44          $    58.03   $     58.03
  5/7/2017 Joseph Garcia                 $11.00   50.52   $   8.44          $    57.84   $     57.84
 5/21/2017 Joseph Garcia                 $11.00   43.53   $   8.44          $    19.43   $     19.43
 5/28/2017 Joseph Garcia                 $11.00   56.13   $   8.44          $    88.73   $     88.73
  6/4/2017 Joseph Garcia                 $11.00   59.67   $   8.44          $   108.17   $    108.17
 6/11/2017 Joseph Garcia                 $11.00   64.38   $   8.44          $   134.11   $    134.11
 6/18/2017 Joseph Garcia                 $11.00   53.62   $   8.44          $    74.89   $     74.89
 6/25/2017 Joseph Garcia                 $11.00   65.40   $   8.44          $   139.70   $    139.70
  7/2/2017 Joseph Garcia                 $11.00   56.97   $   8.44          $    93.32   $     93.32
  7/9/2017 Joseph Garcia                 $11.00   57.98   $   8.44          $    98.91   $     98.91
 7/16/2017 Joseph Garcia                 $11.00   57.52   $   8.44          $    96.34   $     96.34
 7/23/2017 Joseph Garcia                 $11.00   64.37   $   8.44          $   134.02   $    134.02
 7/30/2017 Joseph Garcia                 $11.00   52.63   $   8.44          $    69.48   $     69.48
  8/6/2017 Joseph Garcia                 $11.00   43.37   $   8.44          $    18.52   $     18.52



                                           383
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 385 of 683 PageID: 1232
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

  8/13/2017 Joseph Garcia                 $11.00   45.63   $   8.44          $    30.98   $     30.98
  8/20/2017 Joseph Garcia                 $11.00   52.22   $   8.44          $    67.19   $     67.19
  8/27/2017 Joseph Garcia                 $11.00   51.92   $   8.44          $    65.54   $     65.54
   9/3/2017 Joseph Garcia                 $11.00   44.88   $   8.44          $    26.86   $     26.86
  9/10/2017 Joseph Garcia                 $11.00   52.80   $   8.44          $    70.40   $     70.40
  9/17/2017 Joseph Garcia                 $11.00   52.15   $   8.44          $    66.83   $     66.83
  9/24/2017 Joseph Garcia                 $11.00   41.78   $   8.44          $     9.81   $      9.81
  10/8/2017 Joseph Garcia                 $11.00   47.70   $   8.44          $    42.35   $     42.35
 10/15/2017 Joseph Garcia                 $11.00   42.97   $   8.44          $    16.32   $     16.32
 10/22/2017 Joseph Negron                 $12.00   41.82   $   8.44          $    10.90   $     10.90
  11/5/2017 Joseph Negron                 $12.00   48.07   $   8.44          $    48.40   $     48.40
  12/3/2017 Joseph Negron                 $12.00   47.75   $   8.44          $    46.50   $     46.50
 12/17/2017 Joseph Negron                 $12.00   43.68   $   8.44          $    22.10   $     22.10
  1/21/2018 Joseph Negron                 $12.00   46.87   $   8.60          $    41.20   $     41.20
  1/28/2018 Joseph Negron                 $12.00   44.87   $   8.60          $    29.20   $     29.20
   2/4/2018 Joseph Negron                 $12.00   46.72   $   8.60          $    40.30   $     40.30
  2/11/2018 Joseph Negron                 $12.00   41.47   $   8.60          $     8.80   $      8.80
   3/4/2018 Joseph Negron                 $12.00   45.12   $   8.60          $    30.70   $     30.70
  4/22/2018 Joseph Negron                 $12.00   43.75   $   8.60          $    22.50   $     22.50
   5/6/2018 Joseph Negron                 $12.00   43.52   $   8.60          $    21.10   $     21.10
  5/13/2018 Joseph Negron                 $12.00   40.40   $   8.60          $     2.40   $      2.40
  5/20/2018 Joseph Negron                 $12.00   40.23   $   8.60          $     1.40   $      1.40
  5/27/2018 Joseph Negron                 $12.00   46.92   $   8.60          $    41.50   $     41.50
   6/3/2018 Joseph Negron                 $12.00   41.67   $   8.60          $    10.00   $     10.00
  6/24/2018 Joseph Negron                 $12.00   48.15   $   8.60          $    48.90   $     48.90
   7/1/2018 Joseph Negron                 $12.00   48.38   $   8.60          $    50.30   $     50.30
  7/22/2018 Joseph Negron                 $12.00   40.40   $   8.60          $     2.40   $      2.40
  7/29/2018 Joseph Negron                 $12.00   46.82   $   8.60          $    40.90   $     40.90
  8/19/2018 Joseph Negron                 $13.00   52.90   $   8.60          $    83.85   $     83.85
   9/2/2018 Joseph Negron                 $13.00   42.63   $   8.60          $    17.12   $     17.12
   9/9/2018 Joseph Negron                 $13.00   47.67   $   8.60          $    49.83   $     49.83
  9/16/2018 Joseph Negron                 $13.00   55.15   $   8.60          $    98.48   $     98.48
  9/23/2018 Joseph Negron                 $13.00   53.85   $   8.60          $    90.03   $     90.03
 10/14/2018 Joseph Negron                 $13.00   42.57   $   8.60          $    16.68   $     16.68
 10/28/2018 Joseph Negron                 $13.00   51.55   $   8.60          $    75.08   $     75.08
  11/4/2018 Joseph Negron                 $13.00   45.12   $   8.60          $    33.26   $     33.26
 11/11/2018 Joseph Negron                 $13.00   45.10   $   8.60          $    33.15   $     33.15
 11/25/2018 Joseph Negron                 $13.00   45.33   $   8.60          $    34.67   $     34.67
  12/2/2018 Joseph Negron                 $13.00   54.27   $   8.60          $    92.73   $     92.73
  12/9/2018 Joseph Negron                 $13.00   49.25   $   8.60          $    60.13   $     60.13
 12/16/2018 Joseph Negron                 $13.50   58.37   $   8.60          $   123.98   $    123.98
 12/23/2018 Joseph Negron                 $13.50   55.03   $   8.60          $   101.48   $    101.48
   1/6/2019 Joseph Negron                 $13.50   43.90   $   8.85          $    26.33   $     26.33
  1/13/2019 Joseph Negron                 $13.50   57.85   $   8.85          $   120.49   $    120.49
  1/20/2019 Joseph Negron                 $13.50   56.45   $   8.85          $   111.04   $    111.04
  1/27/2019 Joseph Negron                 $13.50   43.78   $   8.85          $    25.54   $     25.54
   2/3/2019 Joseph Negron                 $13.50   55.55   $   8.85          $   104.96   $    104.96
  2/10/2019 Joseph Negron                 $13.50   47.02   $   8.85          $    47.36   $     47.36
  2/17/2019 Joseph Negron                 $13.50   54.57   $   8.85          $    98.33   $     98.33
  2/24/2019 Joseph Negron                 $13.50   54.92   $   8.85          $   100.69   $    100.69



                                            384
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 386 of 683 PageID: 1233
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

   3/3/2019 Joseph Negron                 $13.50   47.77   $    8.85         $    52.43   $     52.43
  3/10/2019 Joseph Negron                 $13.50   55.97   $    8.85         $   107.78   $    107.78
  3/17/2019 Joseph Negron                 $13.50   56.25   $    8.85         $   109.69   $    109.69
  3/24/2019 Joseph Negron                 $13.50   58.48   $    8.85         $   124.76   $    124.76
  3/31/2019 Joseph Negron                 $13.50   59.62   $    8.85         $   132.41   $    132.41
   4/7/2019 Joseph Negron                 $13.50   48.20   $    8.85         $    55.35   $     55.35
  4/14/2019 Joseph Negron                 $13.50   48.13   $    8.85         $    54.90   $     54.90
  4/21/2019 Joseph Negron                 $13.50   59.95   $    8.85         $   134.66   $    134.66
  4/28/2019 Joseph Negron                 $13.50   68.37   $    8.85         $   191.48   $    191.48
   5/5/2019 Joseph Negron                 $13.50   51.83   $    8.85         $    79.88   $     79.88
  5/12/2019 Joseph Negron                 $13.50   65.10   $    8.85         $   169.43   $    169.43
  5/19/2019 Joseph Negron                 $13.50   69.62   $    8.85         $   199.91   $    199.91
  5/26/2019 Joseph Negron                 $13.50   55.27   $    8.85         $   103.05   $    103.05
   6/2/2019 Joseph Negron                 $13.50   48.40   $    8.85         $    56.70   $     56.70
   6/9/2019 Joseph Negron                 $13.50   71.03   $    8.85         $   209.48   $    209.48
  6/16/2019 Joseph Negron                 $13.50   53.27   $    8.85         $    89.55   $     89.55
  6/23/2019 Joseph Negron                 $13.50   70.87   $    8.85         $   208.35   $    208.35
  6/30/2019 Joseph Negron                 $13.50   58.78   $   10.00         $   126.79   $    126.79
   7/7/2019 Joseph Negron                 $13.50   44.87   $   10.00         $    32.85   $     32.85
  7/14/2019 Joseph Negron                 $13.50   60.80   $   10.00         $   140.40   $    140.40
  7/21/2019 Joseph Negron                 $13.50   61.58   $   10.00         $   145.69   $    145.69
  7/28/2019 Joseph Negron                 $13.50   62.18   $   10.00         $   149.74   $    149.74
   8/4/2019 Joseph Negron                 $13.50   59.28   $   10.00         $   130.16   $    130.16
  8/11/2019 Joseph Negron                 $13.50   62.17   $   10.00         $   149.63   $    149.63
  8/18/2019 Joseph Negron                 $13.50   72.27   $   10.00         $   217.80   $    217.80
  8/25/2019 Joseph Negron                 $13.50   71.83   $   10.00         $   214.88   $    214.88
   9/1/2019 Joseph Negron                 $13.50   70.63   $   10.00         $   206.78   $    206.78
   9/8/2019 Joseph Negron                 $13.50   49.63   $   10.00         $    65.03   $     65.03
  9/15/2019 Joseph Negron                 $13.50   62.00   $   10.00         $   148.50   $    148.50
  9/22/2019 Joseph Negron                 $13.50   58.73   $   10.00         $   126.45   $    126.45
  9/29/2019 Joseph Negron                 $13.50   71.35   $   10.00         $   211.61   $    211.61
  10/6/2019 Joseph Negron                 $13.50   58.35   $   10.00         $   123.86   $    123.86
 10/13/2019 Joseph Negron                 $13.50   64.12   $   10.00         $   162.79   $    162.79
 10/20/2019 Joseph Negron                 $13.50   52.27   $   10.00         $    82.80   $     82.80
 10/27/2019 Joseph Negron                 $13.50   50.98   $   10.00         $    74.14   $     74.14
  11/3/2019 Joseph Negron                 $13.50   60.82   $   10.00         $   140.51   $    140.51
 11/10/2019 Joseph Negron                 $13.50   60.67   $   10.00         $   139.50   $    139.50
 11/17/2019 Joseph Negron                 $13.50   49.82   $   10.00         $    66.26   $     66.26
 11/24/2019 Joseph Negron                 $13.50   60.80   $   10.00         $   140.40   $    140.40
  12/8/2019 Joseph Negron                 $13.50   48.63   $   10.00         $    58.28   $     58.28
 12/15/2019 Joseph Negron                 $13.50   64.48   $   10.00         $   165.26   $    165.26
 12/22/2019 Joseph Negron                 $13.50   58.92   $   10.00         $   127.69   $    127.69
 12/29/2019 Joseph Negron                 $13.50   43.48   $   10.00         $    23.51   $     23.51
   1/5/2020 Joseph Negron                 $13.50   56.58   $   11.00         $   111.94   $    111.94
  1/12/2020 Joseph Negron                 $13.50   58.63   $   11.00         $   125.78   $    125.78
  1/19/2020 Joseph Negron                 $13.50   59.15   $   11.00         $   129.26   $    129.26
  1/26/2020 Joseph Negron                 $13.50   70.80   $   11.00         $   207.90   $    207.90
 10/20/2019 Joshua Ayala                  $11.00   43.83   $   10.00         $    21.08   $     21.08
 11/10/2019 Joshua Ayala                  $11.00   40.33   $   10.00         $     1.83   $      1.83
 11/24/2019 Joshua Ayala                  $11.00   46.83   $   10.00         $    37.58   $     37.58



                                            385
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 387 of 683 PageID: 1234
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  12/1/2019 Joshua Ayala                    $11.00   50.67   $   10.00         $    58.67   $     58.67
   7/1/2018 Joshua Daniel Ramos              $9.50   49.65   $    8.60         $    45.84   $     45.84
  3/12/2017 Joshua Pomales                   $8.44   44.00   $    8.44         $    16.88   $     16.88
  3/26/2017 Joshua Pomales                   $8.44   41.50   $    8.44         $     6.33   $      6.33
   4/2/2017 Joshua Pomales                   $8.44   57.00   $    8.44         $    71.74   $     71.74
   4/9/2017 Joshua Pomales                   $8.44   56.83   $    8.44         $    71.04   $     71.04
  4/16/2017 Joshua Pomales                   $8.44   59.37   $    8.44         $    81.73   $     81.73
  4/23/2017 Joshua Pomales                   $8.44   50.00   $    8.44         $    42.20   $     42.20
  4/30/2017 Joshua Pomales                   $8.44   51.50   $    8.44         $    48.53   $     48.53
   5/7/2017 Joshua Pomales                   $8.44   58.43   $    8.44         $    77.79   $     77.79
   5/6/2018 Josian Stepney                   $9.50   46.83   $    8.60         $    32.46   $     32.46
  5/20/2018 Josian Stepney                   $9.50   45.25   $    8.60         $    24.94   $     24.94
  5/27/2018 Josian Stepney                   $9.50   53.30   $    8.60         $    63.18   $     63.18
   6/3/2018 Josian Stepney                   $9.50   43.02   $    8.60         $    14.33   $     14.33
   7/7/2019 Jostine Salgado                 $10.00   67.38   $   10.00         $   136.92   $    136.92
   9/1/2019 Jostine Salgado                 $10.00   61.95   $   10.00         $   109.75   $    109.75
   9/8/2019 Jostine Salgado                 $10.00   44.55   $   10.00         $    22.75   $     22.75
  9/15/2019 Jostine Salgado                 $10.00   46.33   $   10.00         $    31.67   $     31.67
  9/22/2019 Jostine Salgado                 $10.00   43.32   $   10.00         $    16.58   $     16.58
  10/6/2019 Jostine Salgado                 $10.00   56.20   $   10.00         $    81.00   $     81.00
 10/13/2019 Jostine Salgado                 $10.00   47.32   $   10.00         $    36.58   $     36.58
  8/13/2017 Josue Acevedo                   $12.50   58.82   $    8.44         $   117.60   $    117.60
  8/20/2017 Josue Acevedo                   $12.50   55.10   $    8.44         $    94.38   $     94.38
  8/27/2017 Josue Acevedo                   $12.50   47.15   $    8.44         $    44.69   $     44.69
   9/3/2017 Josue Acevedo                   $12.50   47.33   $    8.44         $    45.83   $     45.83
  9/10/2017 Josue Acevedo                   $12.50   45.78   $    8.44         $    36.15   $     36.15
  9/17/2017 Josue Acevedo                   $12.50   47.03   $    8.44         $    43.96   $     43.96
  10/1/2017 Josue Acevedo                   $12.50   50.43   $    8.44         $    65.21   $     65.21
  10/8/2017 Josue Acevedo                   $12.50   49.38   $    8.44         $    58.65   $     58.65
 10/15/2017 Josue Acevedo                   $12.50   52.87   $    8.44         $    80.42   $     80.42
 10/22/2017 Josue Acevedo                   $12.50   50.45   $    8.44         $    65.31   $     65.31
 10/29/2017 Josue Acevedo                   $12.50   60.28   $    8.44         $   126.77   $    126.77
  11/5/2017 Josue Acevedo                   $12.50   54.63   $    8.44         $    91.46   $     91.46
 11/12/2017 Josue Acevedo                   $12.50   49.40   $    8.44         $    58.75   $     58.75
 11/26/2017 Josue Acevedo                   $12.50   50.52   $    8.44         $    65.73   $     65.73
  12/3/2017 Josue Acevedo                   $12.50   48.90   $    8.44         $    55.63   $     55.63
 12/10/2017 Josue Acevedo                   $12.50   52.95   $    8.44         $    80.94   $     80.94
 12/17/2017 Josue Acevedo                   $12.50   59.20   $    8.44         $   120.00   $    120.00
 12/24/2017 Josue Acevedo                   $12.50   61.02   $    8.44         $   131.35   $    131.35
 12/31/2017 Josue Acevedo                   $12.50   49.67   $    8.44         $    60.42   $     60.42
  1/14/2018 Josue Acevedo                   $12.50   45.73   $    8.60         $    35.83   $     35.83
  1/21/2018 Josue Acevedo                   $12.50   52.12   $    8.60         $    75.73   $     75.73
  1/28/2018 Josue Acevedo                   $12.50   50.33   $    8.60         $    64.58   $     64.58
   2/4/2018 Josue Acevedo                   $12.50   60.82   $    8.60         $   130.10   $    130.10
  2/11/2018 Josue Acevedo                   $12.50   46.93   $    8.60         $    43.33   $     43.33
  2/18/2018 Josue Acevedo                   $12.50   42.23   $    8.60         $    13.96   $     13.96
  2/25/2018 Josue Acevedo                   $12.50   62.70   $    8.60         $   141.88   $    141.88
   3/4/2018 Josue Acevedo                   $12.50   66.93   $    8.60         $   168.33   $    168.33
  3/25/2018 Josue Acevedo                   $12.50   50.80   $    8.60         $    67.50   $     67.50
   4/1/2018 Josue Acevedo                   $12.50   64.87   $    8.60         $   155.42   $    155.42



                                              386
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 388 of 683 PageID: 1235
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

   4/8/2018 Josue Acevedo                 $12.50   68.65   $   8.60          $   179.06   $    179.06
  4/15/2018 Josue Acevedo                 $12.50   59.67   $   8.60          $   122.92   $    122.92
  4/22/2018 Josue Acevedo                 $12.50   70.42   $   8.60          $   190.10   $    190.10
  4/29/2018 Josue Acevedo                 $12.50   68.58   $   8.60          $   178.65   $    178.65
   5/6/2018 Josue Acevedo                 $12.50   59.73   $   8.60          $   123.33   $    123.33
  5/13/2018 Josue Acevedo                 $12.50   59.07   $   8.60          $   119.17   $    119.17
  5/20/2018 Josue Acevedo                 $12.50   70.92   $   8.60          $   193.23   $    193.23
  5/27/2018 Josue Acevedo                 $12.50   60.78   $   8.60          $   129.90   $    129.90
   6/3/2018 Josue Acevedo                 $12.50   63.75   $   8.60          $   148.44   $    148.44
  6/10/2018 Josue Acevedo                 $12.50   71.43   $   8.60          $   196.46   $    196.46
  6/17/2018 Josue Acevedo                 $12.50   70.20   $   8.60          $   188.75   $    188.75
  6/24/2018 Josue Acevedo                 $12.50   72.62   $   8.60          $   203.85   $    203.85
   7/1/2018 Josue Acevedo                 $12.50   72.03   $   8.60          $   200.21   $    200.21
   7/8/2018 Josue Acevedo                 $12.50   59.92   $   8.60          $   124.48   $    124.48
  7/15/2018 Josue Acevedo                 $12.50   68.68   $   8.60          $   179.27   $    179.27
  7/22/2018 Josue Acevedo                 $12.50   73.58   $   8.60          $   209.90   $    209.90
  7/29/2018 Josue Acevedo                 $12.50   71.72   $   8.60          $   198.23   $    198.23
   8/5/2018 Josue Acevedo                 $12.50   71.45   $   8.60          $   196.56   $    196.56
  8/12/2018 Josue Acevedo                 $12.50   72.07   $   8.60          $   200.42   $    200.42
  8/19/2018 Josue Acevedo                 $12.50   71.43   $   8.60          $   196.46   $    196.46
  8/26/2018 Josue Acevedo                 $12.50   70.67   $   8.60          $   191.67   $    191.67
   9/2/2018 Josue Acevedo                 $12.50   70.23   $   8.60          $   188.96   $    188.96
   9/9/2018 Josue Acevedo                 $12.50   55.67   $   8.60          $    97.92   $     97.92
  9/16/2018 Josue Acevedo                 $12.50   69.00   $   8.60          $   181.25   $    181.25
  9/23/2018 Josue Acevedo                 $12.50   69.08   $   8.60          $   181.77   $    181.77
  9/30/2018 Josue Acevedo                 $12.50   60.42   $   8.60          $   127.60   $    127.60
  10/7/2018 Josue Acevedo                 $12.50   70.02   $   8.60          $   187.60   $    187.60
 10/14/2018 Josue Acevedo                 $12.50   48.75   $   8.60          $    54.69   $     54.69
 10/21/2018 Josue Acevedo                 $12.50   71.78   $   8.60          $   198.65   $    198.65
 10/28/2018 Josue Acevedo                 $12.50   57.02   $   8.60          $   106.35   $    106.35
  11/4/2018 Josue Acevedo                 $12.50   55.85   $   8.60          $    99.06   $     99.06
 11/11/2018 Josue Acevedo                 $12.50   58.32   $   8.60          $   114.48   $    114.48
 11/18/2018 Josue Acevedo                 $12.50   58.32   $   8.60          $   114.48   $    114.48
 11/25/2018 Josue Acevedo                 $12.50   44.08   $   8.60          $    25.52   $     25.52
  12/2/2018 Josue Acevedo                 $12.50   61.50   $   8.60          $   134.38   $    134.38
  12/9/2018 Josue Acevedo                 $12.50   50.18   $   8.60          $    63.65   $     63.65
 12/16/2018 Josue Acevedo                 $12.50   63.95   $   8.60          $   149.69   $    149.69
 12/23/2018 Josue Acevedo                 $12.50   46.90   $   8.60          $    43.13   $     43.13
   1/6/2019 Josue Acevedo                 $12.50   40.12   $   8.85          $     0.73   $      0.73
  1/13/2019 Josue Acevedo                 $12.50   52.90   $   8.85          $    80.63   $     80.63
  1/20/2019 Josue Acevedo                 $12.50   68.90   $   8.85          $   180.63   $    180.63
  1/27/2019 Josue Acevedo                 $12.50   45.22   $   8.85          $    32.60   $     32.60
   2/3/2019 Josue Acevedo                 $12.50   66.83   $   8.85          $   167.71   $    167.71
  2/10/2019 Josue Acevedo                 $12.50   66.93   $   8.85          $   168.33   $    168.33
  2/17/2019 Josue Acevedo                 $12.50   56.97   $   8.85          $   106.04   $    106.04
  2/24/2019 Josue Acevedo                 $12.50   55.82   $   8.85          $    98.85   $     98.85
   3/3/2019 Josue Acevedo                 $12.50   68.55   $   8.85          $   178.44   $    178.44
  3/10/2019 Josue Acevedo                 $12.50   46.68   $   8.85          $    41.77   $     41.77
  3/17/2019 Josue Acevedo                 $12.50   68.67   $   8.85          $   179.17   $    179.17
  3/31/2019 Josue Acevedo                 $12.50   58.23   $   8.85          $   113.96   $    113.96



                                            387
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 389 of 683 PageID: 1236
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

   4/7/2019 Josue Acevedo                   $12.50   56.60   $    8.85               $   103.75   $   103.75
  4/14/2019 Josue Acevedo                   $12.50   54.50   $    8.85               $    90.63   $    90.63
  4/21/2019 Josue Acevedo                   $12.50   60.30   $    8.85               $   126.88   $   126.88
  4/28/2019 Josue Acevedo                   $12.50   52.60   $    8.85               $    78.75   $    78.75
  5/19/2019 Josue Acevedo                   $12.50   54.40   $    8.85               $    90.00   $    90.00
  5/26/2019 Josue Acevedo                   $12.50   45.00   $    8.85               $    31.25   $    31.25
   6/2/2019 Josue Acevedo                   $12.50   44.12   $    8.85               $    25.73   $    25.73
   6/9/2019 Josue Acevedo                   $12.50   55.77   $    8.85               $    98.54   $    98.54
  7/28/2019 Josue Acevedo                   $12.50   50.60   $   10.00               $    66.25   $    66.25
  8/11/2019 Josue Acevedo                   $12.50   50.00   $   10.00               $    62.50   $    62.50
  8/18/2019 Josue Acevedo                   $12.50   62.32   $   10.00               $   139.48   $   139.48
  8/25/2019 Josue Acevedo                   $12.50   49.35   $   10.00               $    58.44   $    58.44
   9/1/2019 Josue Acevedo                   $12.50   60.70   $   10.00               $   129.38   $   129.38
  9/22/2019 Josue Acevedo                   $12.50   60.90   $   10.00               $   130.63   $   130.63
  9/29/2019 Josue Acevedo                   $12.50   60.23   $   10.00               $   126.46   $   126.46
  10/6/2019 Josue Acevedo                   $12.50   62.58   $   10.00               $   141.15   $   141.15
  4/30/2017 Josue Alvarado                  $11.00   49.90   $    8.44               $    54.45   $    54.45
   7/7/2019 Juan A. Funes                   $10.00   47.42   $   10.00               $    37.08   $    37.08
  7/14/2019 Juan A. Funes                   $10.00   72.43   $   10.00               $   162.17   $   162.17
  7/21/2019 Juan A. Funes                   $10.00   73.13   $   10.00               $   165.67   $   165.67
  7/28/2019 Juan A. Funes                   $10.00   73.07   $   10.00               $   165.33   $   165.33
   8/4/2019 Juan A. Funes                   $10.00   59.57   $   10.00               $    97.83   $    97.83
  8/11/2019 Juan A. Funes                   $10.00   72.15   $   10.00               $   160.75   $   160.75
  8/18/2019 Juan A. Funes                   $10.00   74.98   $   10.00               $   174.92   $   174.92
  8/25/2019 Juan A. Funes                   $10.00   73.42   $   10.00               $   167.08   $   167.08
   9/1/2019 Juan A. Funes                   $10.00   73.65   $   10.00               $   168.25   $   168.25
   9/8/2019 Juan A. Funes                   $10.00   67.85   $   10.00               $   139.25   $   139.25
  9/15/2019 Juan A. Funes                   $10.00   73.42   $   10.00               $   167.08   $   167.08
  9/22/2019 Juan A. Funes                   $10.00   72.50   $   10.00               $   162.50   $   162.50
  9/29/2019 Juan A. Funes                   $10.00   73.27   $   10.00               $   166.33   $   166.33
  10/6/2019 Juan A. Funes                   $10.00   73.02   $   10.00               $   165.08   $   165.08
 10/13/2019 Juan A. Funes                   $10.00   72.78   $   10.00               $   163.92   $   163.92
 10/20/2019 Juan A. Funes                   $11.00   61.97   $   10.00               $   120.82   $   120.82
 10/27/2019 Juan A. Funes                   $11.00   61.83   $   10.00               $   120.08   $   120.08
  11/3/2019 Juan A. Funes                   $11.00   63.83   $   10.00               $   131.08   $   131.08
 11/10/2019 Juan A. Funes                   $11.00   61.57   $   10.00               $   118.62   $   118.62
 11/17/2019 Juan A. Funes                   $11.00   60.77   $   10.00               $   114.22   $   114.22
 11/24/2019 Juan A. Funes                   $11.00   60.25   $   10.00               $   111.38   $   111.38
  12/1/2019 Juan A. Funes                   $11.00   45.40   $   10.00               $    29.70   $    29.70
  12/8/2019 Juan A. Funes                   $11.00   59.27   $   10.00               $   105.97   $   105.97
 12/15/2019 Juan A. Funes                   $10.00   69.33   $   10.00               $   146.67   $   146.67
 12/22/2019 Juan A. Funes                   $10.00   68.15   $   10.00               $   140.75   $   140.75
 12/29/2019 Juan A. Funes                   $10.00   48.72   $   10.00               $    43.58   $    43.58
   1/5/2020 Juan A. Funes                   $10.00   51.57   $   11.00   $   51.57   $    63.62   $   115.18
  1/12/2020 Juan A. Funes                   $10.00   71.18   $   11.00   $   71.18   $   171.51   $   242.69
  1/19/2020 Juan A. Funes                   $10.00   58.60   $   11.00   $   58.60   $   102.30   $   160.90
  1/26/2020 Juan A. Funes                   $10.00   69.77   $   11.00   $   69.77   $   163.72   $   233.48
   9/3/2017 Juan A. Gonzalez Gomez           $9.50   51.22   $    8.44               $    53.28   $    53.28
 11/19/2017 Juan A. Gonzalez Gomez           $9.50   51.03   $    8.44               $    52.41   $    52.41
  12/3/2017 Juan A. Gonzalez Gomez           $9.50   42.48   $    8.44               $    11.80   $    11.80



                                              388
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 390 of 683 PageID: 1237
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

 12/10/2017 Juan A. Gonzalez Gomez           $9.50   52.40   $    8.44               $    58.90   $    58.90
 12/17/2017 Juan A. Gonzalez Gomez           $9.50   43.42   $    8.44               $    16.23   $    16.23
 12/24/2017 Juan A. Gonzalez Gomez           $9.50   53.25   $    8.44               $    62.94   $    62.94
 12/31/2017 Juan A. Gonzalez Gomez           $9.50   47.15   $    8.44               $    33.96   $    33.96
  5/19/2019 Juan Alvarenca                   $8.85   57.85   $    8.85               $    78.99   $    78.99
  5/26/2019 Juan Alvarenca                   $8.85   73.40   $    8.85               $   147.80   $   147.80
   6/2/2019 Juan Alvarenca                   $8.85   70.03   $    8.85               $   132.90   $   132.90
   6/9/2019 Juan Alvarenca                   $8.85   74.48   $    8.85               $   152.59   $   152.59
  6/16/2019 Juan Alvarenca                   $8.85   73.30   $    8.85               $   147.35   $   147.35
  6/23/2019 Juan Alvarenca                   $8.85   75.30   $    8.85               $   156.20   $   156.20
  6/30/2019 Juan Alvarenca                   $8.85   73.48   $   10.00   $   84.51   $   167.42   $   251.92
   7/7/2019 Juan Alvarenca                  $10.50   65.65   $   10.00               $   134.66   $   134.66
  7/14/2019 Juan Alvarenca                  $10.50   71.72   $   10.00               $   166.51   $   166.51
  7/21/2019 Juan Alvarenca                  $10.50   72.85   $   10.00               $   172.46   $   172.46
  7/28/2019 Juan Alvarenca                  $10.50   73.63   $   10.00               $   176.58   $   176.58
   8/4/2019 Juan Alvarenca                  $10.50   74.10   $   10.00               $   179.03   $   179.03
  8/11/2019 Juan Alvarenca                  $10.50   74.87   $   10.00               $   183.05   $   183.05
  8/18/2019 Juan Alvarenca                  $10.50   74.17   $   10.00               $   179.38   $   179.38
  8/25/2019 Juan Alvarenca                  $10.50   73.20   $   10.00               $   174.30   $   174.30
   9/1/2019 Juan Alvarenca                  $10.50   75.73   $   10.00               $   187.60   $   187.60
   9/8/2019 Juan Alvarenca                  $10.50   66.07   $   10.00               $   136.85   $   136.85
  9/15/2019 Juan Alvarenca                  $10.50   77.75   $   10.00               $   198.19   $   198.19
  9/22/2019 Juan Alvarenca                  $10.50   75.12   $   10.00               $   184.36   $   184.36
  9/29/2019 Juan Alvarenca                  $10.50   72.92   $   10.00               $   172.81   $   172.81
  10/6/2019 Juan Alvarenca                  $10.50   71.28   $   10.00               $   164.24   $   164.24
 10/13/2019 Juan Alvarenca                  $10.50   72.52   $   10.00               $   170.71   $   170.71
 10/20/2019 Juan Alvarenca                  $10.50   73.47   $   10.00               $   175.70   $   175.70
 10/27/2019 Juan Alvarenca                  $10.50   74.43   $   10.00               $   180.78   $   180.78
  11/3/2019 Juan Alvarenca                  $10.50   66.87   $   10.00               $   141.05   $   141.05
 11/10/2019 Juan Alvarenca                  $10.50   71.90   $   10.00               $   167.48   $   167.48
 11/17/2019 Juan Alvarenca                  $10.50   71.68   $   10.00               $   166.34   $   166.34
 11/24/2019 Juan Alvarenca                  $10.50   71.50   $   10.00               $   165.38   $   165.38
  12/1/2019 Juan Alvarenca                  $10.50   60.05   $   10.00               $   105.26   $   105.26
  12/8/2019 Juan Alvarenca                  $10.50   68.65   $   10.00               $   150.41   $   150.41
 12/15/2019 Juan Alvarenca                  $10.50   71.78   $   10.00               $   166.86   $   166.86
 12/22/2019 Juan Alvarenca                  $10.50   71.80   $   10.00               $   166.95   $   166.95
 12/29/2019 Juan Alvarenca                  $10.50   57.03   $   10.00               $    89.43   $    89.43
   1/5/2020 Juan Alvarenca                  $10.50   61.62   $   11.00   $   30.81   $   118.89   $   149.70
  1/12/2020 Juan Alvarenca                  $10.50   72.90   $   11.00   $   36.45   $   180.95   $   217.40
  1/19/2020 Juan Alvarenca                  $10.50   61.20   $   11.00   $   30.60   $   116.60   $   147.20
  1/26/2020 Juan Alvarenca                  $10.50   73.12   $   11.00   $   36.56   $   182.14   $   218.70
  9/10/2017 Juan Antonio Felipe             $10.00   49.52   $    8.44               $    47.58   $    47.58
  9/17/2017 Juan Antonio Felipe             $10.00   52.17   $    8.44               $    60.83   $    60.83
  9/24/2017 Juan Antonio Felipe             $10.00   58.08   $    8.44               $    90.42   $    90.42
  10/1/2017 Juan Antonio Felipe             $10.00   48.15   $    8.44               $    40.75   $    40.75
  10/8/2017 Juan Antonio Felipe             $10.00   55.03   $    8.44               $    75.17   $    75.17
 10/15/2017 Juan Antonio Felipe             $10.00   48.82   $    8.44               $    44.08   $    44.08
 10/22/2017 Juan Antonio Felipe             $10.00   57.30   $    8.44               $    86.50   $    86.50
  11/5/2017 Juan Antonio Felipe             $10.00   50.27   $    8.44               $    51.33   $    51.33
 11/12/2017 Juan Antonio Felipe             $10.00   48.43   $    8.44               $    42.17   $    42.17



                                              389
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 391 of 683 PageID: 1238
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                          Name                        Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

 11/19/2017 Juan Antonio Felipe                 $10.00   54.47   $   8.44          $   72.33   $      72.33
  12/3/2017 Juan Antonio Felipe                 $10.00   47.98   $   8.44          $   39.92   $      39.92
 12/10/2017 Juan Antonio Felipe                 $10.00   47.17   $   8.44          $   35.83   $      35.83
 12/17/2017 Juan Antonio Felipe                 $10.00   51.93   $   8.44          $   59.67   $      59.67
 12/24/2017 Juan Antonio Felipe                 $10.00   48.42   $   8.44          $   42.08   $      42.08
   1/7/2018 Juan Antonio Felipe                  $8.60   45.68   $   8.60          $   24.44   $      24.44
  1/14/2018 Juan Antonio Felipe                 $10.00   52.25   $   8.60          $   61.25   $      61.25
  1/21/2018 Juan Antonio Felipe                 $10.00   54.08   $   8.60          $   70.42   $      70.42
  1/28/2018 Juan Antonio Felipe                 $10.00   53.62   $   8.60          $   68.08   $      68.08
   2/4/2018 Juan Antonio Felipe                 $10.00   58.27   $   8.60          $   91.33   $      91.33
  2/11/2018 Juan Antonio Felipe                 $10.00   59.37   $   8.60          $   96.83   $      96.83
  2/18/2018 Juan Antonio Felipe                 $10.00   54.60   $   8.60          $   73.00   $      73.00
  2/25/2018 Juan Antonio Felipe                 $10.00   54.33   $   8.60          $   71.67   $      71.67
   3/4/2018 Juan Antonio Felipe                 $10.00   54.73   $   8.60          $   73.67   $      73.67
  3/25/2018 Juan Antonio Felipe                 $10.00   53.62   $   8.60          $   68.08   $      68.08
   4/1/2018 Juan Antonio Felipe                 $10.00   53.80   $   8.60          $   69.00   $      69.00
   4/8/2018 Juan Antonio Felipe                 $10.00   54.93   $   8.60          $   74.67   $      74.67
  4/15/2018 Juan Antonio Felipe                 $10.00   52.97   $   8.60          $   64.83   $      64.83
  4/22/2018 Juan Antonio Felipe                 $10.00   53.18   $   8.60          $   65.92   $      65.92
  4/29/2018 Juan Antonio Felipe                 $10.00   52.18   $   8.60          $   60.92   $      60.92
   5/6/2018 Juan Antonio Felipe                 $10.00   55.43   $   8.60          $   77.17   $      77.17
  5/13/2018 Juan Antonio Felipe                 $10.00   54.92   $   8.60          $   74.58   $      74.58
  5/20/2018 Juan Antonio Felipe                 $10.00   54.25   $   8.60          $   71.25   $      71.25
  5/27/2018 Juan Antonio Felipe                 $10.00   54.15   $   8.60          $   70.75   $      70.75
   6/3/2018 Juan Antonio Felipe                 $10.00   50.75   $   8.60          $   53.75   $      53.75
  6/10/2018 Juan Antonio Felipe                 $10.00   56.20   $   8.60          $   81.00   $      81.00
  6/17/2018 Juan Antonio Felipe                 $10.00   53.80   $   8.60          $   69.00   $      69.00
  6/24/2018 Juan Antonio Felipe                 $10.00   53.05   $   8.60          $   65.25   $      65.25
   7/1/2018 Juan Antonio Felipe                 $10.00   47.37   $   8.60          $   36.83   $      36.83
   7/8/2018 Juan Antonio Felipe                 $10.00   44.97   $   8.60          $   24.83   $      24.83
  7/15/2018 Juan Antonio Felipe                 $10.00   56.38   $   8.60          $   81.92   $      81.92
  7/22/2018 Juan Antonio Felipe                 $10.00   53.77   $   8.60          $   68.83   $      68.83
  7/29/2018 Juan Antonio Felipe                 $10.00   52.58   $   8.60          $   62.92   $      62.92
   8/5/2018 Juan Antonio Felipe                 $10.00   53.32   $   8.60          $   66.58   $      66.58
  8/12/2018 Juan Antonio Felipe                 $10.00   54.37   $   8.60          $   71.83   $      71.83
  8/19/2018 Juan Antonio Felipe                 $10.00   54.53   $   8.60          $   72.67   $      72.67
  8/26/2018 Juan Antonio Felipe                 $10.00   55.15   $   8.60          $   75.75   $      75.75
   9/2/2018 Juan Antonio Felipe                 $10.00   54.90   $   8.60          $   74.50   $      74.50
   9/9/2018 Juan Antonio Felipe                 $10.00   52.93   $   8.60          $   64.67   $      64.67
  9/16/2018 Juan Antonio Felipe                 $10.00   55.62   $   8.60          $   78.08   $      78.08
  9/23/2018 Juan Antonio Felipe                 $10.00   50.78   $   8.60          $   53.92   $      53.92
  9/30/2018 Juan Antonio Felipe                 $10.00   52.22   $   8.60          $   61.08   $      61.08
  10/7/2018 Juan Antonio Felipe                 $10.00   57.17   $   8.60          $   85.83   $      85.83
 10/14/2018 Juan Antonio Felipe                 $10.00   58.02   $   8.60          $   90.08   $      90.08
 10/21/2018 Juan Antonio Felipe                 $10.00   55.70   $   8.60          $   78.50   $      78.50
 10/28/2018 Juan Antonio Felipe                 $10.00   54.68   $   8.60          $   73.42   $      73.42
  11/4/2018 Juan Antonio Felipe                 $10.00   56.50   $   8.60          $   82.50   $      82.50
 11/11/2018 Juan Antonio Felipe                 $10.00   54.83   $   8.60          $   74.17   $      74.17
 11/18/2018 Juan Antonio Felipe                 $10.00   52.17   $   8.60          $   60.83   $      60.83
  12/2/2018 Juan Antonio Felipe                 $10.00   57.72   $   8.60          $   88.58   $      88.58



                                                  390
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 392 of 683 PageID: 1239
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                          Name                        Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

  12/9/2018 Juan Antonio Felipe                 $10.00   57.10   $    8.60         $    85.50   $     85.50
 12/16/2018 Juan Antonio Felipe                 $10.00   56.00   $    8.60         $    80.00   $     80.00
 12/23/2018 Juan Antonio Felipe                 $10.00   57.20   $    8.60         $    86.00   $     86.00
   1/6/2019 Juan Antonio Felipe                 $10.00   40.03   $    8.85         $     0.17   $      0.17
  1/13/2019 Juan Antonio Felipe                 $10.00   55.38   $    8.85         $    76.92   $     76.92
  1/20/2019 Juan Antonio Felipe                 $10.00   55.57   $    8.85         $    77.83   $     77.83
  1/27/2019 Juan Antonio Felipe                 $10.00   53.30   $    8.85         $    66.50   $     66.50
   2/3/2019 Juan Antonio Felipe                 $10.00   51.30   $    8.85         $    56.50   $     56.50
  2/10/2019 Juan Antonio Felipe                 $10.00   59.70   $    8.85         $    98.50   $     98.50
  2/17/2019 Juan Antonio Felipe                 $10.00   41.93   $    8.85         $     9.67   $      9.67
  2/24/2019 Juan Antonio Felipe                 $10.00   55.37   $    8.85         $    76.83   $     76.83
   3/3/2019 Juan Antonio Felipe                 $10.00   53.08   $    8.85         $    65.42   $     65.42
  3/10/2019 Juan Antonio Felipe                 $10.00   48.38   $    8.85         $    41.92   $     41.92
  3/17/2019 Juan Antonio Felipe                 $10.00   55.77   $    8.85         $    78.83   $     78.83
  3/24/2019 Juan Antonio Felipe                 $10.00   53.78   $    8.85         $    68.92   $     68.92
  3/31/2019 Juan Antonio Felipe                 $10.00   57.20   $    8.85         $    86.00   $     86.00
  4/14/2019 Juan Antonio Felipe                 $10.00   42.80   $    8.85         $    14.00   $     14.00
  4/21/2019 Juan Antonio Felipe                 $10.00   60.87   $    8.85         $   104.33   $    104.33
  4/28/2019 Juan Antonio Felipe                 $10.00   50.72   $    8.85         $    53.58   $     53.58
   5/5/2019 Juan Antonio Felipe                 $10.00   50.05   $    8.85         $    50.25   $     50.25
  5/12/2019 Juan Antonio Felipe                 $10.00   53.67   $    8.85         $    68.33   $     68.33
  5/19/2019 Juan Antonio Felipe                 $10.00   53.07   $    8.85         $    65.33   $     65.33
  5/26/2019 Juan Antonio Felipe                 $10.00   53.18   $    8.85         $    65.92   $     65.92
   6/2/2019 Juan Antonio Felipe                 $10.00   50.72   $    8.85         $    53.58   $     53.58
   6/9/2019 Juan Antonio Felipe                 $10.00   57.57   $    8.85         $    87.83   $     87.83
  6/16/2019 Juan Antonio Felipe                 $10.00   53.90   $    8.85         $    69.50   $     69.50
  6/23/2019 Juan Antonio Felipe                 $10.00   56.97   $    8.85         $    84.83   $     84.83
  6/30/2019 Juan Antonio Felipe                 $10.00   58.08   $   10.00         $    90.42   $     90.42
  7/14/2019 Juan Antonio Felipe                 $10.00   57.50   $   10.00         $    87.50   $     87.50
  7/21/2019 Juan Antonio Felipe                 $10.00   57.97   $   10.00         $    89.83   $     89.83
  7/28/2019 Juan Antonio Felipe                 $10.00   58.23   $   10.00         $    91.17   $     91.17
   8/4/2019 Juan Antonio Felipe                 $10.00   55.72   $   10.00         $    78.58   $     78.58
  8/11/2019 Juan Antonio Felipe                 $10.00   58.05   $   10.00         $    90.25   $     90.25
  8/18/2019 Juan Antonio Felipe                 $10.00   55.23   $   10.00         $    76.17   $     76.17
  8/25/2019 Juan Antonio Felipe                 $10.00   56.33   $   10.00         $    81.67   $     81.67
   9/1/2019 Juan Antonio Felipe                 $10.00   57.12   $   10.00         $    85.58   $     85.58
   9/8/2019 Juan Antonio Felipe                 $10.00   52.57   $   10.00         $    62.83   $     62.83
  9/15/2019 Juan Antonio Felipe                 $10.00   57.07   $   10.00         $    85.33   $     85.33
  9/22/2019 Juan Antonio Felipe                 $10.00   56.57   $   10.00         $    82.83   $     82.83
  9/29/2019 Juan Antonio Felipe                 $10.00   57.37   $   10.00         $    86.83   $     86.83
  10/6/2019 Juan Antonio Felipe                 $10.00   61.20   $   10.00         $   106.00   $    106.00
 10/13/2019 Juan Antonio Felipe                 $10.00   58.65   $   10.00         $    93.25   $     93.25
 10/20/2019 Juan Antonio Felipe                 $11.00   51.45   $   10.00         $    62.98   $     62.98
 10/27/2019 Juan Antonio Felipe                 $11.00   50.60   $   10.00         $    58.30   $     58.30
  11/3/2019 Juan Antonio Felipe                 $11.00   51.10   $   10.00         $    61.05   $     61.05
 11/10/2019 Juan Antonio Felipe                 $11.00   51.38   $   10.00         $    62.61   $     62.61
 11/17/2019 Juan Antonio Felipe                 $11.00   49.80   $   10.00         $    53.90   $     53.90
 11/24/2019 Juan Antonio Felipe                 $11.00   50.68   $   10.00         $    58.76   $     58.76
  12/8/2019 Juan Antonio Felipe                 $11.00   41.88   $   10.00         $    10.36   $     10.36
 12/15/2019 Juan Antonio Felipe                 $10.00   56.05   $   10.00         $    80.25   $     80.25



                                                  391
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 393 of 683 PageID: 1240
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

 12/22/2019 Juan Antonio Felipe               $10.00   52.17   $   10.00              $    60.83   $    60.83
   1/5/2020 Juan Antonio Felipe               $10.00   42.12   $   11.00   $ 42.12    $    11.64   $    53.76
  1/12/2020 Juan Antonio Felipe               $10.00   52.90   $   11.00   $ 52.90    $    70.95   $   123.85
  1/26/2020 Juan Antonio Felipe               $10.00   53.23   $   11.00   $ 53.23    $    72.78   $   126.02
 10/27/2019 Juan Carlos                        $9.50   51.67   $   10.00   $ 25.83    $    58.33   $    84.17
  11/3/2019 Juan Carlos                        $9.50   63.85   $   10.00   $ 31.93    $   119.25   $   151.18
 11/10/2019 Juan Carlos                        $9.50   66.15   $   10.00   $ 33.08    $   130.75   $   163.83
 11/17/2019 Juan Carlos                        $9.50   67.40   $   10.00   $ 33.70    $   137.00   $   170.70
 11/24/2019 Juan Carlos                        $9.50   64.78   $   10.00   $ 32.39    $   123.92   $   156.31
  12/1/2019 Juan Carlos                        $9.50   54.88   $   10.00   $ 27.44    $    74.42   $   101.86
  12/8/2019 Juan Carlos                        $9.50   66.70   $   10.00   $ 33.35    $   133.50   $   166.85
 12/15/2019 Juan Carlos                        $9.50   68.75   $   10.00   $ 34.38    $   143.75   $   178.13
 12/22/2019 Juan Carlos                        $9.50   68.92   $   10.00   $ 34.46    $   144.58   $   179.04
 12/29/2019 Juan Carlos                        $9.50   40.33   $   10.00   $ 20.17    $     1.67   $    21.83
   1/5/2020 Juan Carlos                        $9.50   58.02   $   11.00   $ 87.03    $    99.09   $   186.12
  1/12/2020 Juan Carlos                        $9.50   70.42   $   11.00   $ 105.63   $   167.29   $   272.92
  1/19/2020 Juan Carlos                       $10.00   70.60   $   11.00   $ 70.60    $   168.30   $   238.90
  1/26/2020 Juan Carlos                       $10.00   68.32   $   11.00   $ 68.32    $   155.74   $   224.06
   2/5/2017 Juan Carlos Alcantara              $9.50   56.78   $    8.44              $    79.72   $    79.72
  2/12/2017 Juan Carlos Alcantara              $9.50   45.22   $    8.44              $    24.78   $    24.78
  2/19/2017 Juan Carlos Alcantara              $9.50   59.75   $    8.44              $    93.81   $    93.81
  2/26/2017 Juan Carlos Alcantara              $9.50   59.58   $    8.44              $    93.02   $    93.02
   3/5/2017 Juan Carlos Alcantara              $9.50   60.05   $    8.44              $    95.24   $    95.24
  3/12/2017 Juan Carlos Alcantara              $9.50   61.97   $    8.44              $   104.34   $   104.34
  3/19/2017 Juan Carlos Alcantara              $9.50   46.27   $    8.44              $    29.77   $    29.77
  3/26/2017 Juan Carlos Alcantara              $9.50   61.45   $    8.44              $   101.89   $   101.89
   4/2/2017 Juan Carlos Alcantara              $9.50   54.45   $    8.44              $    68.64   $    68.64
   4/9/2017 Juan Carlos Alcantara              $9.50   53.97   $    8.44              $    66.34   $    66.34
  4/16/2017 Juan Carlos Alcantara              $9.50   62.70   $    8.44              $   107.83   $   107.83
  4/23/2017 Juan Carlos Alcantara              $9.50   46.68   $    8.44              $    31.75   $    31.75
  4/30/2017 Juan Carlos Alcantara              $9.50   60.60   $    8.44              $    97.85   $    97.85
   5/7/2017 Juan Carlos Alcantara              $9.50   54.08   $    8.44              $    66.90   $    66.90
  5/14/2017 Juan Carlos Alcantara              $9.50   52.88   $    8.44              $    61.20   $    61.20
  5/21/2017 Juan Carlos Alcantara              $9.50   66.80   $    8.44              $   127.30   $   127.30
  5/28/2017 Juan Carlos Alcantara              $9.50   49.48   $    8.44              $    45.05   $    45.05
   6/4/2017 Juan Carlos Alcantara              $9.50   64.95   $    8.44              $   118.51   $   118.51
  6/11/2017 Juan Carlos Alcantara              $9.50   55.72   $    8.44              $    74.65   $    74.65
  6/18/2017 Juan Carlos Alcantara              $9.50   55.60   $    8.44              $    74.10   $    74.10
  6/25/2017 Juan Carlos Alcantara              $9.50   54.95   $    8.44              $    71.01   $    71.01
   7/2/2017 Juan Carlos Alcantara              $9.50   56.97   $    8.44              $    80.59   $    80.59
   7/9/2017 Juan Carlos Alcantara              $9.50   62.22   $    8.44              $   105.53   $   105.53
  7/16/2017 Juan Carlos Alcantara              $9.50   58.83   $    8.44              $    89.46   $    89.46
  7/23/2017 Juan Carlos Alcantara              $9.50   45.03   $    8.44              $    23.91   $    23.91
  7/30/2017 Juan Carlos Alcantara              $9.50   58.92   $    8.44              $    89.85   $    89.85
   8/6/2017 Juan Carlos Alcantara              $9.50   61.23   $    8.44              $   100.86   $   100.86
  8/13/2017 Juan Carlos Alcantara              $9.50   57.53   $    8.44              $    83.28   $    83.28
  8/20/2017 Juan Carlos Alcantara              $9.50   67.07   $    8.44              $   128.57   $   128.57
  8/27/2017 Juan Carlos Alcantara              $9.50   62.15   $    8.44              $   105.21   $   105.21
   9/3/2017 Juan Carlos Alcantara              $9.50   60.83   $    8.44              $    98.96   $    98.96
  9/10/2017 Juan Carlos Alcantara              $9.50   64.30   $    8.44              $   115.43   $   115.43



                                                392
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 394 of 683 PageID: 1241
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  9/17/2017 Juan Carlos Alcantara              $9.50   63.42   $   8.44          $   111.23   $    111.23
  9/24/2017 Juan Carlos Alcantara              $9.50   62.32   $   8.44          $   106.00   $    106.00
  10/1/2017 Juan Carlos Alcantara              $9.50   63.37   $   8.44          $   110.99   $    110.99
  10/8/2017 Juan Carlos Alcantara              $9.50   59.15   $   8.44          $    90.96   $     90.96
 10/15/2017 Juan Carlos Alcantara              $9.50   60.45   $   8.44          $    97.14   $     97.14
 10/22/2017 Juan Carlos Alcantara              $9.50   63.95   $   8.44          $   113.76   $    113.76
 10/29/2017 Juan Carlos Alcantara              $9.50   60.25   $   8.44          $    96.19   $     96.19
  11/5/2017 Juan Carlos Alcantara              $9.50   59.63   $   8.44          $    93.26   $     93.26
 11/12/2017 Juan Carlos Alcantara              $9.50   59.30   $   8.44          $    91.68   $     91.68
 11/19/2017 Juan Carlos Alcantara              $9.50   57.78   $   8.44          $    84.47   $     84.47
 11/26/2017 Juan Carlos Alcantara              $9.50   50.63   $   8.44          $    50.51   $     50.51
  12/3/2017 Juan Carlos Alcantara              $9.50   59.88   $   8.44          $    94.45   $     94.45
 12/10/2017 Juan Carlos Alcantara              $9.50   56.55   $   8.44          $    78.61   $     78.61
 12/17/2017 Juan Carlos Alcantara              $9.50   63.38   $   8.44          $   111.07   $    111.07
 12/24/2017 Juan Carlos Alcantara              $9.50   57.85   $   8.44          $    84.79   $     84.79
 12/31/2017 Juan Carlos Alcantara              $9.50   53.50   $   8.44          $    64.13   $     64.13
   1/7/2018 Juan Carlos Alcantara              $9.50   58.05   $   8.60          $    85.74   $     85.74
  1/14/2018 Juan Carlos Alcantara              $9.50   44.92   $   8.60          $    23.35   $     23.35
   2/4/2018 Juan Carlos Alcantara              $9.50   52.73   $   8.60          $    60.48   $     60.48
  2/11/2018 Juan Carlos Alcantara              $9.50   50.77   $   8.60          $    51.14   $     51.14
  2/18/2018 Juan Carlos Alcantara              $9.50   49.33   $   8.60          $    44.33   $     44.33
  2/25/2018 Juan Carlos Alcantara              $9.50   56.38   $   8.60          $    77.82   $     77.82
   3/4/2018 Juan Carlos Alcantara              $9.50   50.00   $   8.60          $    47.50   $     47.50
  3/25/2018 Juan Carlos Alcantara              $9.50   50.62   $   8.60          $    50.43   $     50.43
   4/1/2018 Juan Carlos Alcantara              $9.50   54.20   $   8.60          $    67.45   $     67.45
   4/8/2018 Juan Carlos Alcantara              $9.50   58.95   $   8.60          $    90.01   $     90.01
  4/15/2018 Juan Carlos Alcantara              $9.50   54.28   $   8.60          $    67.85   $     67.85
  4/22/2018 Juan Carlos Alcantara              $9.50   58.40   $   8.60          $    87.40   $     87.40
  4/29/2018 Juan Carlos Alcantara              $9.50   54.73   $   8.60          $    69.98   $     69.98
   5/6/2018 Juan Carlos Alcantara              $9.50   61.18   $   8.60          $   100.62   $    100.62
  5/13/2018 Juan Carlos Alcantara              $9.50   61.52   $   8.60          $   102.20   $    102.20
  5/20/2018 Juan Carlos Alcantara              $9.50   49.80   $   8.60          $    46.55   $     46.55
  5/27/2018 Juan Carlos Alcantara              $9.50   67.92   $   8.60          $   132.60   $    132.60
   6/3/2018 Juan Carlos Alcantara              $9.50   64.42   $   8.60          $   115.98   $    115.98
  6/10/2018 Juan Carlos Alcantara              $9.50   64.67   $   8.60          $   117.17   $    117.17
  6/17/2018 Juan Carlos Alcantara              $9.50   49.37   $   8.60          $    44.49   $     44.49
  6/24/2018 Juan Carlos Alcantara              $9.50   55.57   $   8.60          $    73.94   $     73.94
   7/1/2018 Juan Carlos Alcantara              $9.50   69.23   $   8.60          $   138.86   $    138.86
   7/8/2018 Juan Carlos Alcantara              $9.50   58.75   $   8.60          $    89.06   $     89.06
  7/15/2018 Juan Carlos Alcantara              $9.50   64.12   $   8.60          $   114.55   $    114.55
  7/22/2018 Juan Carlos Alcantara              $9.50   64.38   $   8.60          $   115.82   $    115.82
  7/29/2018 Juan Carlos Alcantara              $9.50   62.15   $   8.60          $   105.21   $    105.21
   8/5/2018 Juan Carlos Alcantara              $9.50   61.93   $   8.60          $   104.18   $    104.18
  8/12/2018 Juan Carlos Alcantara              $9.50   58.68   $   8.60          $    88.75   $     88.75
  8/19/2018 Juan Carlos Alcantara              $9.50   67.87   $   8.60          $   132.37   $    132.37
  8/26/2018 Juan Carlos Alcantara              $9.50   56.42   $   8.60          $    77.98   $     77.98
   9/2/2018 Juan Carlos Alcantara              $9.50   63.73   $   8.60          $   112.73   $    112.73
   9/9/2018 Juan Carlos Alcantara              $9.50   62.15   $   8.60          $   105.21   $    105.21
  9/16/2018 Juan Carlos Alcantara              $9.50   51.58   $   8.60          $    55.02   $     55.02
  9/23/2018 Juan Carlos Alcantara              $9.50   61.47   $   8.60          $   101.97   $    101.97



                                                393
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 395 of 683 PageID: 1242
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  9/30/2018 Juan Carlos Alcantara              $9.50   66.85   $   8.60          $   127.54   $    127.54
  10/7/2018 Juan Carlos Alcantara              $9.50   54.53   $   8.60          $    69.03   $     69.03
 10/14/2018 Juan Carlos Alcantara              $9.50   53.37   $   8.60          $    63.49   $     63.49
 10/21/2018 Juan Carlos Alcantara              $9.50   63.18   $   8.60          $   110.12   $    110.12
 10/28/2018 Juan Carlos Alcantara              $9.50   64.13   $   8.60          $   114.63   $    114.63
  11/4/2018 Juan Carlos Alcantara              $9.50   65.32   $   8.60          $   120.25   $    120.25
 11/11/2018 Juan Carlos Alcantara              $9.50   63.17   $   8.60          $   110.04   $    110.04
 11/18/2018 Juan Carlos Alcantara              $9.50   62.87   $   8.60          $   108.62   $    108.62
 11/25/2018 Juan Carlos Alcantara              $9.50   57.33   $   8.60          $    82.33   $     82.33
  12/2/2018 Juan Carlos Alcantara              $9.50   63.80   $   8.60          $   113.05   $    113.05
  12/9/2018 Juan Carlos Alcantara              $9.50   63.55   $   8.60          $   111.86   $    111.86
 12/16/2018 Juan Carlos Alcantara              $9.50   65.07   $   8.60          $   119.07   $    119.07
 12/23/2018 Juan Carlos Alcantara              $9.50   65.30   $   8.60          $   120.18   $    120.18
 12/30/2018 Juan Carlos Alcantara              $9.50   46.12   $   8.60          $    29.05   $     29.05
   1/6/2019 Juan Carlos Alcantara              $9.50   48.78   $   8.85          $    41.72   $     41.72
  1/13/2019 Juan Carlos Alcantara              $9.50   57.17   $   8.85          $    81.54   $     81.54
  1/20/2019 Juan Carlos Alcantara              $9.50   63.00   $   8.85          $   109.25   $    109.25
  1/27/2019 Juan Carlos Alcantara              $9.50   62.18   $   8.85          $   105.37   $    105.37
   2/3/2019 Juan Carlos Alcantara              $9.50   60.13   $   8.85          $    95.63   $     95.63
  2/10/2019 Juan Carlos Alcantara              $9.50   64.17   $   8.85          $   114.79   $    114.79
  2/17/2019 Juan Carlos Alcantara              $9.50   58.40   $   8.85          $    87.40   $     87.40
  2/24/2019 Juan Carlos Alcantara              $9.50   65.92   $   8.85          $   123.10   $    123.10
   3/3/2019 Juan Carlos Alcantara              $9.50   63.47   $   8.85          $   111.47   $    111.47
  3/10/2019 Juan Carlos Alcantara              $9.50   69.27   $   8.85          $   139.02   $    139.02
  3/17/2019 Juan Carlos Alcantara              $9.50   68.18   $   8.85          $   133.87   $    133.87
  3/24/2019 Juan Carlos Alcantara              $9.50   65.00   $   8.85          $   118.75   $    118.75
  3/31/2019 Juan Carlos Alcantara              $9.50   71.95   $   8.85          $   151.76   $    151.76
   4/7/2019 Juan Carlos Alcantara              $9.50   59.03   $   8.85          $    90.41   $     90.41
  4/14/2019 Juan Carlos Alcantara              $9.50   66.38   $   8.85          $   125.32   $    125.32
  4/21/2019 Juan Carlos Alcantara              $9.50   65.37   $   8.85          $   120.49   $    120.49
  2/26/2017 Juan Carlos Aquino                $10.50   58.07   $   8.44          $    94.85   $     94.85
   3/5/2017 Juan Carlos Aquino                $10.50   58.12   $   8.44          $    95.11   $     95.11
  3/12/2017 Juan Carlos Aquino                $10.50   58.12   $   8.44          $    95.11   $     95.11
  3/26/2017 Juan Carlos Aquino                $10.50   58.05   $   8.44          $    94.76   $     94.76
   4/2/2017 Juan Carlos Aquino                $10.50   58.22   $   8.44          $    95.64   $     95.64
   4/9/2017 Juan Carlos Aquino                $10.50   58.17   $   8.44          $    95.38   $     95.38
  4/16/2017 Juan Carlos Aquino                $10.50   50.12   $   8.44          $    53.11   $     53.11
  4/23/2017 Juan Carlos Aquino                $10.50   58.08   $   8.44          $    94.94   $     94.94
  4/30/2017 Juan Carlos Aquino                $10.50   58.20   $   8.44          $    95.55   $     95.55
   5/7/2017 Juan Carlos Aquino                $10.50   57.82   $   8.44          $    93.54   $     93.54
  5/14/2017 Juan Carlos Aquino                $10.50   58.12   $   8.44          $    95.11   $     95.11
  5/21/2017 Juan Carlos Aquino                $10.50   50.10   $   8.44          $    53.03   $     53.03
  5/28/2017 Juan Carlos Aquino                $10.50   58.03   $   8.44          $    94.68   $     94.68
   6/4/2017 Juan Carlos Aquino                $10.50   50.12   $   8.44          $    53.11   $     53.11
  6/11/2017 Juan Carlos Aquino                $10.50   56.10   $   8.44          $    84.53   $     84.53
  6/18/2017 Juan Carlos Aquino                $10.50   58.17   $   8.44          $    95.38   $     95.38
  6/25/2017 Juan Carlos Aquino                $10.50   58.00   $   8.44          $    94.50   $     94.50
   7/2/2017 Juan Carlos Aquino                $10.50   50.10   $   8.44          $    53.03   $     53.03
  7/16/2017 Juan Carlos Aquino                $10.50   58.12   $   8.44          $    95.11   $     95.11
  7/23/2017 Juan Carlos Aquino                $10.50   40.05   $   8.44          $     0.26   $      0.26



                                                394
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 396 of 683 PageID: 1243
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                      Name                            Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

  7/30/2017 Juan Carlos Aquino                  $10.50   54.15   $    8.44         $    74.29   $     74.29
   8/6/2017 Juan Carlos Aquino                  $10.50   50.00   $    8.44         $    52.50   $     52.50
  8/13/2017 Juan Carlos Aquino                  $10.50   49.12   $    8.44         $    47.86   $     47.86
  8/20/2017 Juan Carlos Aquino                  $10.50   58.12   $    8.44         $    95.11   $     95.11
  8/27/2017 Juan Carlos Aquino                  $10.50   48.82   $    8.44         $    46.29   $     46.29
   9/3/2017 Juan Carlos Aquino                  $10.50   58.18   $    8.44         $    95.46   $     95.46
  9/10/2017 Juan Carlos Aquino                  $10.50   48.20   $    8.44         $    43.05   $     43.05
  9/17/2017 Juan Carlos Aquino                  $10.50   58.27   $    8.44         $    95.90   $     95.90
  9/24/2017 Juan Carlos Aquino                  $10.50   57.15   $    8.44         $    90.04   $     90.04
  10/1/2017 Juan Carlos Aquino                  $10.50   58.10   $    8.44         $    95.03   $     95.03
  10/8/2017 Juan Carlos Aquino                  $10.50   56.82   $    8.44         $    88.29   $     88.29
 10/15/2017 Juan Carlos Aquino                  $10.50   58.30   $    8.44         $    96.08   $     96.08
 10/22/2017 Juan Carlos Aquino                  $10.50   57.48   $    8.44         $    91.79   $     91.79
 10/29/2017 Juan Carlos Aquino                  $10.50   55.15   $    8.44         $    79.54   $     79.54
  11/5/2017 Juan Carlos Aquino                  $10.50   48.13   $    8.44         $    42.70   $     42.70
 11/12/2017 Juan Carlos Aquino                  $10.50   58.18   $    8.44         $    95.46   $     95.46
 11/19/2017 Juan Carlos Aquino                  $10.50   58.15   $    8.44         $    95.29   $     95.29
 11/26/2017 Juan Carlos Aquino                  $10.50   58.30   $    8.44         $    96.08   $     96.08
  12/3/2017 Juan Carlos Aquino                  $10.50   59.32   $    8.44         $   101.41   $    101.41
 12/10/2017 Juan Carlos Aquino                  $10.50   57.67   $    8.44         $    92.75   $     92.75
 12/17/2017 Juan Carlos Aquino                  $10.50   57.92   $    8.44         $    94.06   $     94.06
 12/24/2017 Juan Carlos Aquino                  $10.50   58.02   $    8.44         $    94.59   $     94.59
  1/14/2018 Juan Carlos Aquino                  $10.50   58.00   $    8.60         $    94.50   $     94.50
  1/21/2018 Juan Carlos Aquino                  $10.50   58.08   $    8.60         $    94.94   $     94.94
  1/28/2018 Juan Carlos Aquino                  $10.50   58.03   $    8.60         $    94.68   $     94.68
   2/4/2018 Juan Carlos Aquino                  $10.50   57.43   $    8.60         $    91.53   $     91.53
  2/11/2018 Juan Carlos Aquino                  $10.50   57.22   $    8.60         $    90.39   $     90.39
   3/4/2018 Juan Carlos Aquino                  $10.50   58.17   $    8.60         $    95.38   $     95.38
  3/25/2018 Juan Carlos Aquino                  $10.50   50.03   $    8.60         $    52.68   $     52.68
   4/1/2018 Juan Carlos Aquino                  $10.50   58.18   $    8.60         $    95.46   $     95.46
   4/8/2018 Juan Carlos Aquino                  $10.50   56.23   $    8.60         $    85.23   $     85.23
  4/15/2018 Juan Carlos Aquino                  $10.50   49.10   $    8.60         $    47.78   $     47.78
  4/22/2018 Juan Carlos Aquino                  $10.50   58.15   $    8.60         $    95.29   $     95.29
  4/29/2018 Juan Carlos Aquino                  $10.50   57.87   $    8.60         $    93.80   $     93.80
 10/27/2019 Juan Carlos Gomez Gallegos          $12.50   41.53   $   10.00         $     9.58   $      9.58
  11/3/2019 Juan Carlos Gomez Gallegos          $12.50   64.03   $   10.00         $   150.21   $    150.21
 11/10/2019 Juan Carlos Gomez Gallegos          $12.50   52.62   $   10.00         $    78.85   $     78.85
 11/17/2019 Juan Carlos Gomez Gallegos          $12.50   63.85   $   10.00         $   149.06   $    149.06
 11/24/2019 Juan Carlos Gomez Gallegos          $12.50   52.22   $   10.00         $    76.35   $     76.35
  12/1/2019 Juan Carlos Gomez Gallegos          $12.50   51.73   $   10.00         $    73.33   $     73.33
  12/8/2019 Juan Carlos Gomez Gallegos          $12.50   63.45   $   10.00         $   146.56   $    146.56
 12/15/2019 Juan Carlos Gomez Gallegos          $12.50   58.02   $   10.00         $   112.60   $    112.60
 12/22/2019 Juan Carlos Gomez Gallegos          $12.50   54.45   $   10.00         $    90.31   $     90.31
 12/29/2019 Juan Carlos Gomez Gallegos          $12.50   44.50   $   10.00         $    28.13   $     28.13
   1/5/2020 Juan Carlos Gomez Gallegos          $12.50   64.95   $   11.00         $   155.94   $    155.94
  1/12/2020 Juan Carlos Gomez Gallegos          $12.50   66.95   $   11.00         $   168.44   $    168.44
  1/19/2020 Juan Carlos Gomez Gallegos          $12.50   66.08   $   11.00         $   163.02   $    163.02
  1/26/2020 Juan Carlos Gomez Gallegos          $12.50   55.43   $   11.00         $    96.46   $     96.46
   4/2/2017 Juan Carlos Macario                 $11.50   42.50   $    8.44         $    14.38   $     14.38
   4/9/2017 Juan Carlos Macario                 $11.50   42.47   $    8.44         $    14.18   $     14.18



                                                  395
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 397 of 683 PageID: 1244
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  4/16/2017 Juan Carlos Macario             $11.50   42.40   $    8.44         $   13.80   $      13.80
  4/30/2017 Juan Carlos Macario             $11.50   42.57   $    8.44         $   14.76   $      14.76
   5/7/2017 Juan Carlos Macario             $11.50   42.55   $    8.44         $   14.66   $      14.66
  5/14/2017 Juan Carlos Macario             $11.50   42.67   $    8.44         $   15.33   $      15.33
  5/21/2017 Juan Carlos Macario             $11.50   42.75   $    8.44         $   15.81   $      15.81
  5/28/2017 Juan Carlos Macario             $11.50   42.48   $    8.44         $   14.28   $      14.28
  6/11/2017 Juan Carlos Macario             $11.50   42.83   $    8.44         $   16.29   $      16.29
  6/18/2017 Juan Carlos Macario             $11.50   44.55   $    8.44         $   26.16   $      26.16
  6/25/2017 Juan Carlos Macario             $11.50   48.25   $    8.44         $   47.44   $      47.44
   7/2/2017 Juan Carlos Macario             $11.50   42.30   $    8.44         $   13.23   $      13.23
  7/23/2017 Juan Carlos Macario             $11.50   42.13   $    8.44         $   12.27   $      12.27
  7/30/2017 Juan Carlos Macario             $11.50   42.13   $    8.44         $   12.27   $      12.27
  8/13/2017 Juan Carlos Macario             $11.50   41.62   $    8.44         $    9.30   $       9.30
   9/3/2017 Juan Carlos Macario             $11.50   42.32   $    8.44         $   13.32   $      13.32
  9/17/2017 Juan Carlos Macario             $11.50   41.90   $    8.44         $   10.93   $      10.93
  10/1/2017 Juan Carlos Macario             $11.50   41.72   $    8.44         $    9.87   $       9.87
 10/15/2017 Juan Carlos Macario             $11.50   41.98   $    8.44         $   11.40   $      11.40
 10/29/2017 Juan Carlos Macario             $11.50   41.77   $    8.44         $   10.16   $      10.16
 11/12/2017 Juan Carlos Macario             $11.50   41.68   $    8.44         $    9.68   $       9.68
 11/19/2017 Juan Carlos Macario             $11.50   41.85   $    8.44         $   10.64   $      10.64
 12/10/2017 Juan Carlos Macario             $11.50   41.70   $    8.44         $    9.78   $       9.78
 12/17/2017 Juan Carlos Macario             $11.50   41.18   $    8.44         $    6.80   $       6.80
 12/24/2017 Juan Carlos Macario             $11.50   40.72   $    8.44         $    4.12   $       4.12
  1/14/2018 Juan Carlos Macario             $11.50   42.05   $    8.60         $   11.79   $      11.79
  1/21/2018 Juan Carlos Macario             $11.50   42.08   $    8.60         $   11.98   $      11.98
  1/28/2018 Juan Carlos Macario             $11.50   42.32   $    8.60         $   13.32   $      13.32
   2/4/2018 Juan Carlos Macario             $11.50   43.78   $    8.60         $   21.75   $      21.75
  2/18/2018 Juan Carlos Macario             $11.50   48.52   $    8.60         $   48.97   $      48.97
  2/25/2018 Juan Carlos Macario             $11.50   50.22   $    8.60         $   58.75   $      58.75
   3/4/2018 Juan Carlos Macario             $11.50   51.33   $    8.60         $   65.17   $      65.17
  3/25/2018 Juan Carlos Macario             $11.50   45.88   $    8.60         $   33.83   $      33.83
   4/1/2018 Juan Carlos Macario             $11.50   53.18   $    8.60         $   75.80   $      75.80
   4/8/2018 Juan Carlos Macario             $11.50   40.67   $    8.60         $    3.83   $       3.83
  4/15/2018 Juan Carlos Macario             $11.50   51.62   $    8.60         $   66.80   $      66.80
  4/22/2018 Juan Carlos Macario             $11.50   41.50   $    8.60         $    8.63   $       8.63
  4/29/2018 Juan Carlos Macario             $11.50   40.05   $    8.60         $    0.29   $       0.29
   5/6/2018 Juan Carlos Macario             $11.50   42.27   $    8.60         $   13.03   $      13.03
  5/13/2018 Juan Carlos Macario             $11.50   42.38   $    8.60         $   13.70   $      13.70
  5/20/2018 Juan Carlos Macario             $11.50   42.02   $    8.60         $   11.60   $      11.60
  5/27/2018 Juan Carlos Macario             $11.50   42.30   $    8.60         $   13.23   $      13.23
  6/17/2018 Juan Carlos Macario             $11.50   42.28   $    8.60         $   13.13   $      13.13
  6/24/2018 Juan Carlos Macario             $11.50   41.50   $    8.60         $    8.63   $       8.63
   7/1/2018 Juan Carlos Macario             $11.50   41.38   $    8.60         $    7.95   $       7.95
  7/15/2018 Juan Carlos Macario             $11.50   41.92   $    8.60         $   11.02   $      11.02
  10/6/2019 Juan F. Figueroa                $10.00   49.75   $   10.00         $   48.75   $      48.75
  10/8/2017 Juan Gonzalez Sande              $9.50   57.45   $    8.44         $   82.89   $      82.89
 10/15/2017 Juan Gonzalez Sande              $9.50   57.72   $    8.44         $   84.15   $      84.15
  9/15/2019 Juan L. Maysonet                $10.00   49.23   $   10.00         $   46.17   $      46.17
  9/22/2019 Juan L. Maysonet                $10.00   49.52   $   10.00         $   47.58   $      47.58
 10/13/2019 Juan L. Maysonet                $10.00   42.17   $   10.00         $   10.83   $      10.83



                                              396
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 398 of 683 PageID: 1245
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

 10/20/2019 Juan L. Maysonet                 $10.00   57.07   $   10.00               $    85.33   $    85.33
 10/27/2019 Juan L. Maysonet                 $10.00   50.60   $   10.00               $    53.00   $    53.00
 11/10/2019 Juan L. Maysonet                 $10.00   47.17   $   10.00               $    35.83   $    35.83
  12/1/2019 Juan L. Maysonet                 $10.00   46.40   $   10.00               $    32.00   $    32.00
  12/8/2019 Juan L. Maysonet                 $10.00   42.58   $   10.00               $    12.92   $    12.92
 12/15/2019 Juan L. Maysonet                 $10.00   45.23   $   10.00               $    26.17   $    26.17
  1/12/2020 Juan L. Maysonet                 $10.00   40.53   $   11.00   $   40.53   $     2.93   $    43.47
  1/19/2020 Juan L. Maysonet                 $10.00   42.38   $   11.00   $   42.38   $    13.11   $    55.49
  1/26/2020 Juan L. Maysonet                 $10.00   54.75   $   11.00   $   54.75   $    81.13   $   135.88
 11/11/2018 Juan Lugo                        $13.00   61.37   $    8.60               $   138.88   $   138.88
 11/18/2018 Juan Lugo                        $13.00   56.75   $    8.60               $   108.88   $   108.88
 11/25/2018 Juan Lugo                        $13.00   54.92   $    8.60               $    96.96   $    96.96
  12/2/2018 Juan Lugo                        $13.00   49.60   $    8.60               $    62.40   $    62.40
  12/9/2018 Juan Lugo                        $13.00   61.63   $    8.60               $   140.62   $   140.62
 12/16/2018 Juan Lugo                        $13.00   65.12   $    8.60               $   163.26   $   163.26
 12/23/2018 Juan Lugo                        $13.00   67.78   $    8.60               $   180.59   $   180.59
 12/30/2018 Juan Lugo                        $13.00   56.05   $    8.60               $   104.33   $   104.33
   1/6/2019 Juan Lugo                        $13.00   61.93   $    8.85               $   142.57   $   142.57
  1/13/2019 Juan Lugo                        $13.00   73.03   $    8.85               $   214.72   $   214.72
  1/20/2019 Juan Lugo                        $13.00   73.08   $    8.85               $   215.04   $   215.04
  1/27/2019 Juan Lugo                        $13.00   69.93   $    8.85               $   194.57   $   194.57
   2/3/2019 Juan Lugo                        $13.00   73.20   $    8.85               $   215.80   $   215.80
  2/10/2019 Juan Lugo                        $13.00   73.55   $    8.85               $   218.08   $   218.08
  2/17/2019 Juan Lugo                        $13.00   69.95   $    8.85               $   194.68   $   194.68
  2/24/2019 Juan Lugo                        $13.00   75.10   $    8.85               $   228.15   $   228.15
   3/3/2019 Juan Lugo                        $13.00   72.07   $    8.85               $   208.43   $   208.43
  3/10/2019 Juan Lugo                        $13.00   71.32   $    8.85               $   203.56   $   203.56
  3/17/2019 Juan Lugo                        $13.00   72.03   $    8.85               $   208.22   $   208.22
  3/24/2019 Juan Lugo                        $13.00   71.03   $    8.85               $   201.72   $   201.72
  3/31/2019 Juan Lugo                        $13.00   73.72   $    8.85               $   219.16   $   219.16
   4/7/2019 Juan Lugo                        $13.00   75.73   $    8.85               $   232.27   $   232.27
  4/14/2019 Juan Lugo                        $13.00   76.67   $    8.85               $   238.33   $   238.33
  4/21/2019 Juan Lugo                        $13.00   74.88   $    8.85               $   226.74   $   226.74
  4/28/2019 Juan Lugo                        $13.00   74.80   $    8.85               $   226.20   $   226.20
   5/5/2019 Juan Lugo                        $13.00   77.82   $    8.85               $   245.81   $   245.81
  5/12/2019 Juan Lugo                        $13.00   74.40   $    8.85               $   223.60   $   223.60
  5/19/2019 Juan Lugo                        $13.00   76.27   $    8.85               $   235.73   $   235.73
  5/26/2019 Juan Lugo                        $13.00   77.90   $    8.85               $   246.35   $   246.35
   6/2/2019 Juan Lugo                        $13.00   76.28   $    8.85               $   235.84   $   235.84
   6/9/2019 Juan Lugo                        $13.00   77.63   $    8.85               $   244.62   $   244.62
  6/16/2019 Juan Lugo                        $13.00   74.65   $    8.85               $   225.23   $   225.23
  6/23/2019 Juan Lugo                        $13.00   75.62   $    8.85               $   231.51   $   231.51
  6/30/2019 Juan Lugo                        $13.00   77.75   $   10.00               $   245.38   $   245.38
   7/7/2019 Juan Lugo                        $13.50   73.97   $   10.00               $   229.28   $   229.28
  7/14/2019 Juan Lugo                        $13.50   77.72   $   10.00               $   254.59   $   254.59
  7/21/2019 Juan Lugo                        $13.50   76.98   $   10.00               $   249.64   $   249.64
  7/28/2019 Juan Lugo                        $13.50   77.13   $   10.00               $   250.65   $   250.65
   8/4/2019 Juan Lugo                        $13.50   78.45   $   10.00               $   259.54   $   259.54
  8/11/2019 Juan Lugo                        $13.50   79.53   $   10.00               $   266.85   $   266.85
  8/18/2019 Juan Lugo                        $13.50   77.15   $   10.00               $   250.76   $   250.76



                                               397
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 399 of 683 PageID: 1246
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  8/25/2019 Juan Lugo                         $13.50   80.03   $   10.00              $   270.23   $   270.23
   9/1/2019 Juan Lugo                         $13.50   79.62   $   10.00              $   267.41   $   267.41
   9/8/2019 Juan Lugo                         $13.50   77.77   $   10.00              $   254.93   $   254.93
  9/15/2019 Juan Lugo                         $13.50   80.93   $   10.00              $   276.30   $   276.30
  9/22/2019 Juan Lugo                         $13.50   80.32   $   10.00              $   272.14   $   272.14
  9/29/2019 Juan Lugo                         $13.50   81.10   $   10.00              $   277.43   $   277.43
  10/6/2019 Juan Lugo                         $13.50   79.55   $   10.00              $   266.96   $   266.96
 10/13/2019 Juan Lugo                         $13.50   79.92   $   10.00              $   269.44   $   269.44
 10/20/2019 Juan Lugo                         $13.50   79.35   $   10.00              $   265.61   $   265.61
 10/27/2019 Juan Lugo                         $13.50   81.43   $   10.00              $   279.68   $   279.68
  11/3/2019 Juan Lugo                         $13.50   79.57   $   10.00              $   267.08   $   267.08
 11/10/2019 Juan Lugo                         $13.50   79.43   $   10.00              $   266.18   $   266.18
 11/17/2019 Juan Lugo                         $13.50   79.78   $   10.00              $   268.54   $   268.54
 11/24/2019 Juan Lugo                         $13.50   80.05   $   10.00              $   270.34   $   270.34
  12/1/2019 Juan Lugo                         $13.50   65.67   $   10.00              $   173.25   $   173.25
  12/8/2019 Juan Lugo                         $13.50   78.37   $   10.00              $   258.98   $   258.98
 12/15/2019 Juan Lugo                         $13.50   78.83   $   10.00              $   262.13   $   262.13
 12/22/2019 Juan Lugo                         $13.50   79.37   $   10.00              $   265.73   $   265.73
 12/29/2019 Juan Lugo                         $13.50   59.82   $   10.00              $   133.76   $   133.76
   1/5/2020 Juan Lugo                         $13.50   69.77   $   11.00              $   200.93   $   200.93
  1/12/2020 Juan Lugo                         $13.50   79.22   $   11.00              $   264.71   $   264.71
  1/19/2020 Juan Lugo                         $13.50   79.83   $   11.00              $   268.88   $   268.88
  1/26/2020 Juan Lugo                         $13.50   78.63   $   11.00              $   260.78   $   260.78
 11/24/2019 Juan Luis Rojas Collado            $9.50   56.88   $   10.00   $ 28.44    $    84.42   $   112.86
  12/1/2019 Juan Luis Rojas Collado            $9.50   46.92   $   10.00   $ 23.46    $    34.58   $    58.04
  12/8/2019 Juan Luis Rojas Collado            $9.50   57.70   $   10.00   $ 28.85    $    88.50   $   117.35
 12/15/2019 Juan Luis Rojas Collado            $9.50   68.78   $   10.00   $ 34.39    $   143.92   $   178.31
 12/22/2019 Juan Luis Rojas Collado            $9.50   68.77   $   10.00   $ 34.38    $   143.83   $   178.22
 12/29/2019 Juan Luis Rojas Collado            $9.50   51.13   $   10.00   $ 25.57    $    55.67   $    81.23
   1/5/2020 Juan Luis Rojas Collado            $9.50   58.02   $   11.00   $ 87.03    $    99.09   $   186.12
  1/12/2020 Juan Luis Rojas Collado            $9.50   70.43   $   11.00   $ 105.65   $   167.38   $   273.03
  1/19/2020 Juan Luis Rojas Collado            $9.50   70.57   $   11.00   $ 105.85   $   168.12   $   273.97
  1/26/2020 Juan Luis Rojas Collado            $9.50   68.35   $   11.00   $ 102.53   $   155.93   $   258.45
   2/5/2017 Juan Manuel Delgado               $11.00   63.28   $    8.44              $   128.06   $   128.06
  2/12/2017 Juan Manuel Delgado               $11.00   44.03   $    8.44              $    22.18   $    22.18
  2/19/2017 Juan Manuel Delgado               $11.00   53.65   $    8.44              $    75.08   $    75.08
  2/26/2017 Juan Manuel Delgado               $11.00   59.52   $    8.44              $   107.34   $   107.34
   3/5/2017 Juan Manuel Delgado               $11.00   67.15   $    8.44              $   149.33   $   149.33
  3/12/2017 Juan Manuel Delgado               $11.00   50.73   $    8.44              $    59.03   $    59.03
  3/19/2017 Juan Manuel Delgado               $11.00   55.30   $    8.44              $    84.15   $    84.15
  3/26/2017 Juan Manuel Delgado               $11.00   66.38   $    8.44              $   145.11   $   145.11
   4/2/2017 Juan Manuel Delgado               $11.00   66.62   $    8.44              $   146.39   $   146.39
   4/9/2017 Juan Manuel Delgado               $11.00   59.00   $    8.44              $   104.50   $   104.50
  4/16/2017 Juan Manuel Delgado               $11.00   61.82   $    8.44              $   119.99   $   119.99
  4/23/2017 Juan Manuel Delgado               $11.00   69.75   $    8.44              $   163.63   $   163.63
  4/30/2017 Juan Manuel Delgado               $11.00   61.85   $    8.44              $   120.18   $   120.18
   5/7/2017 Juan Manuel Delgado               $11.00   59.07   $    8.44              $   104.87   $   104.87
  5/14/2017 Juan Manuel Delgado               $11.00   60.27   $    8.44              $   111.47   $   111.47
  5/21/2017 Juan Manuel Delgado               $11.00   60.90   $    8.44              $   114.95   $   114.95
  5/28/2017 Juan Manuel Delgado               $11.00   73.42   $    8.44              $   183.79   $   183.79



                                                398
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 400 of 683 PageID: 1247
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                      Name                         Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

   6/4/2017 Juan Manuel Delgado              $11.00   58.73   $    8.44         $   103.03   $    103.03
  6/18/2017 Juan Manuel Delgado              $11.00   63.40   $    8.44         $   128.70   $    128.70
  6/25/2017 Juan Manuel Delgado              $11.00   66.38   $    8.44         $   145.11   $    145.11
   7/2/2017 Juan Manuel Delgado              $11.00   65.60   $    8.44         $   140.80   $    140.80
   7/9/2017 Juan Manuel Delgado              $11.00   70.73   $    8.44         $   169.03   $    169.03
  7/16/2017 Juan Manuel Delgado              $11.00   48.05   $    8.44         $    44.28   $     44.28
  7/23/2017 Juan Manuel Delgado              $11.00   55.82   $    8.44         $    86.99   $     86.99
  7/30/2017 Juan Manuel Delgado              $11.00   64.52   $    8.44         $   134.84   $    134.84
   8/6/2017 Juan Manuel Delgado              $11.00   48.08   $    8.44         $    44.46   $     44.46
  8/13/2017 Juan Manuel Delgado              $11.00   61.78   $    8.44         $   119.81   $    119.81
  8/20/2017 Juan Manuel Delgado              $11.00   65.68   $    8.44         $   141.26   $    141.26
  8/27/2017 Juan Manuel Delgado              $11.00   62.45   $    8.44         $   123.48   $    123.48
   9/3/2017 Juan Manuel Delgado              $11.00   50.47   $    8.44         $    57.57   $     57.57
  9/10/2017 Juan Manuel Delgado              $11.00   63.12   $    8.44         $   127.14   $    127.14
  9/24/2017 Juan Manuel Delgado              $11.00   65.40   $    8.44         $   139.70   $    139.70
  10/1/2017 Juan Manuel Delgado              $11.00   68.25   $    8.44         $   155.38   $    155.38
  10/8/2017 Juan Manuel Delgado              $11.00   63.30   $    8.44         $   128.15   $    128.15
 10/15/2017 Juan Manuel Delgado              $11.00   61.12   $    8.44         $   116.14   $    116.14
 10/22/2017 Juan Manuel Delgado              $11.00   63.07   $    8.44         $   126.87   $    126.87
 10/29/2017 Juan Manuel Delgado              $11.00   63.28   $    8.44         $   128.06   $    128.06
  11/5/2017 Juan Manuel Delgado              $11.00   64.75   $    8.44         $   136.13   $    136.13
 11/12/2017 Juan Manuel Delgado              $11.00   61.67   $    8.44         $   119.17   $    119.17
 11/19/2017 Juan Manuel Delgado              $11.00   52.62   $    8.44         $    69.39   $     69.39
 11/26/2017 Juan Manuel Delgado              $11.00   54.45   $    8.44         $    79.48   $     79.48
  12/3/2017 Juan Manuel Delgado              $11.00   63.80   $    8.44         $   130.90   $    130.90
 12/10/2017 Juan Manuel Delgado              $11.00   58.78   $    8.44         $   103.31   $    103.31
 12/17/2017 Juan Manuel Delgado              $11.00   57.37   $    8.44         $    95.52   $     95.52
 12/24/2017 Juan Manuel Delgado              $11.00   51.32   $    8.44         $    62.24   $     62.24
 12/31/2017 Juan Manuel Delgado              $11.00   55.23   $    8.44         $    83.78   $     83.78
   1/7/2018 Juan Manuel Delgado              $11.00   49.68   $    8.60         $    53.26   $     53.26
  1/14/2018 Juan Manuel Delgado              $11.00   57.48   $    8.60         $    96.16   $     96.16
  1/21/2018 Juan Manuel Delgado              $11.00   63.83   $    8.60         $   131.08   $    131.08
  1/28/2018 Juan Manuel Delgado              $11.00   65.78   $    8.60         $   141.81   $    141.81
   2/4/2018 Juan Manuel Delgado              $11.00   64.05   $    8.60         $   132.28   $    132.28
  2/11/2018 Juan Manuel Delgado              $11.00   51.60   $    8.60         $    63.80   $     63.80
  2/18/2018 Juan Manuel Delgado              $11.00   65.18   $    8.60         $   138.51   $    138.51
  2/25/2018 Juan Manuel Delgado              $11.00   60.55   $    8.60         $   113.03   $    113.03
   3/4/2018 Juan Manuel Delgado              $11.00   60.08   $    8.60         $   110.46   $    110.46
  3/25/2018 Juan Manuel Delgado              $11.00   40.55   $    8.60         $     3.02   $      3.02
   4/1/2018 Juan Manuel Delgado              $11.00   61.88   $    8.60         $   120.36   $    120.36
   4/8/2018 Juan Manuel Delgado              $11.00   60.97   $    8.60         $   115.32   $    115.32
  4/15/2018 Juan Manuel Delgado              $11.00   60.95   $    8.60         $   115.23   $    115.23
  4/22/2018 Juan Manuel Delgado              $11.00   60.13   $    8.60         $   110.73   $    110.73
  4/29/2018 Juan Manuel Delgado              $11.00   58.70   $    8.60         $   102.85   $    102.85
   5/6/2018 Juan Manuel Delgado              $11.00   59.37   $    8.60         $   106.52   $    106.52
  5/13/2018 Juan Manuel Delgado              $11.00   60.12   $    8.60         $   110.64   $    110.64
   5/5/2019 Juan Manuel Lopez Corzo           $8.85   50.90   $    8.85         $    48.23   $     48.23
  5/12/2019 Juan Manuel Lopez Corzo           $8.85   57.95   $    8.85         $    79.43   $     79.43
   7/7/2019 Juan Manuel Lopez Corzo          $10.00   53.78   $   10.00         $    68.92   $     68.92
  2/24/2019 Juan Manuel Melendez             $11.00   65.50   $    8.85         $   140.25   $    140.25



                                               399
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 401 of 683 PageID: 1248
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

   3/3/2019 Juan Manuel Melendez            $11.00   65.05   $    8.85               $   137.78   $   137.78
  3/10/2019 Juan Manuel Melendez            $11.00   60.37   $    8.85               $   112.02   $   112.02
  3/17/2019 Juan Manuel Melendez            $11.00   61.22   $    8.85               $   116.69   $   116.69
   6/2/2019 Juan Manuel Melendez            $11.00   40.15   $    8.85               $     0.82   $     0.82
   6/9/2019 Juan Manuel Melendez            $11.00   46.60   $    8.85               $    36.30   $    36.30
 12/29/2019 Juan Manuel Melendez            $11.00   49.10   $   10.00               $    50.05   $    50.05
   1/5/2020 Juan Manuel Melendez            $11.00   53.73   $   11.00               $    75.53   $    75.53
  1/19/2020 Juan Manuel Melendez            $11.00   58.40   $   11.00               $   101.20   $   101.20
  1/26/2020 Juan Manuel Melendez            $11.00   55.45   $   11.00               $    84.98   $    84.98
   7/7/2019 Juan Miguel Palomo              $10.00   70.00   $   10.00               $   150.00   $   150.00
  7/14/2019 Juan Miguel Palomo              $10.00   69.37   $   10.00               $   146.83   $   146.83
  7/21/2019 Juan Miguel Palomo              $10.00   66.27   $   10.00               $   131.33   $   131.33
  7/28/2019 Juan Miguel Palomo              $10.00   62.47   $   10.00               $   112.33   $   112.33
   8/4/2019 Juan Miguel Palomo              $10.00   76.73   $   10.00               $   183.67   $   183.67
  8/11/2019 Juan Miguel Palomo              $10.00   72.17   $   10.00               $   160.83   $   160.83
  8/18/2019 Juan Miguel Palomo              $10.00   74.70   $   10.00               $   173.50   $   173.50
  8/25/2019 Juan Miguel Palomo              $10.00   61.62   $   10.00               $   108.08   $   108.08
   9/1/2019 Juan Miguel Palomo              $10.00   70.28   $   10.00               $   151.42   $   151.42
   9/8/2019 Juan Miguel Palomo              $10.00   72.67   $   10.00               $   163.33   $   163.33
  9/15/2019 Juan Miguel Palomo              $10.00   72.50   $   10.00               $   162.50   $   162.50
  9/22/2019 Juan Miguel Palomo              $10.00   73.12   $   10.00               $   165.58   $   165.58
  9/29/2019 Juan Miguel Palomo              $10.00   62.95   $   10.00               $   114.75   $   114.75
  10/6/2019 Juan Miguel Palomo              $10.00   65.42   $   10.00               $   127.08   $   127.08
 10/13/2019 Juan Miguel Palomo              $10.00   75.97   $   10.00               $   179.83   $   179.83
 10/20/2019 Juan Miguel Palomo              $10.00   73.55   $   10.00               $   167.75   $   167.75
 10/27/2019 Juan Miguel Palomo              $10.00   74.95   $   10.00               $   174.75   $   174.75
  11/3/2019 Juan Miguel Palomo              $10.00   76.58   $   10.00               $   182.92   $   182.92
 11/10/2019 Juan Miguel Palomo              $10.00   72.92   $   10.00               $   164.58   $   164.58
 11/17/2019 Juan Miguel Palomo              $10.00   72.37   $   10.00               $   161.83   $   161.83
 11/24/2019 Juan Miguel Palomo              $10.00   76.08   $   10.00               $   180.42   $   180.42
  12/1/2019 Juan Miguel Palomo              $10.00   62.13   $   10.00               $   110.67   $   110.67
  12/8/2019 Juan Miguel Palomo              $10.00   60.00   $   10.00               $   100.00   $   100.00
 12/15/2019 Juan Miguel Palomo              $10.00   72.08   $   10.00               $   160.42   $   160.42
 12/22/2019 Juan Miguel Palomo              $10.00   75.20   $   10.00               $   176.00   $   176.00
 12/29/2019 Juan Miguel Palomo              $10.50   57.97   $   10.00               $    94.32   $    94.32
   1/5/2020 Juan Miguel Palomo              $10.50   65.25   $   11.00   $   32.63   $   138.88   $   171.50
  1/12/2020 Juan Miguel Palomo              $10.50   72.17   $   11.00   $   36.08   $   176.92   $   213.00
  1/19/2020 Juan Miguel Palomo              $10.50   71.38   $   11.00   $   35.69   $   172.61   $   208.30
  1/26/2020 Juan Miguel Palomo              $10.50   73.02   $   11.00   $   36.51   $   181.59   $   218.10
  5/26/2019 Juan Miguel Polanco              $8.85   75.03   $    8.85               $   155.02   $   155.02
   6/2/2019 Juan Miguel Polanco              $8.85   73.30   $    8.85               $   147.35   $   147.35
   6/9/2019 Juan Miguel Polanco              $8.85   69.05   $    8.85               $   128.55   $   128.55
  6/16/2019 Juan Miguel Polanco              $8.85   73.85   $    8.85               $   149.79   $   149.79
  6/23/2019 Juan Miguel Polanco              $8.85   70.52   $    8.85               $   135.04   $   135.04
  6/30/2019 Juan Miguel Polanco              $8.85   75.15   $   10.00   $   86.42   $   175.75   $   262.17
  9/16/2018 Juan Pablo Martinez             $10.00   78.02   $    8.60               $   190.08   $   190.08
  9/23/2018 Juan Pablo Martinez             $10.00   76.75   $    8.60               $   183.75   $   183.75
  9/30/2018 Juan Pablo Martinez             $10.00   77.17   $    8.60               $   185.83   $   185.83
  10/7/2018 Juan Pablo Martinez             $10.00   62.57   $    8.60               $   112.83   $   112.83
 10/14/2018 Juan Pablo Martinez             $10.00   74.02   $    8.60               $   170.08   $   170.08



                                              400
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 402 of 683 PageID: 1249
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                          Name                        Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

 10/21/2018 Juan Pablo Martinez                 $10.00   75.20   $    8.60         $   176.00   $    176.00
 10/28/2018 Juan Pablo Martinez                 $10.00   78.63   $    8.60         $   193.17   $    193.17
  11/4/2018 Juan Pablo Martinez                 $10.00   79.45   $    8.60         $   197.25   $    197.25
 11/11/2018 Juan Pablo Martinez                 $10.00   64.63   $    8.60         $   123.17   $    123.17
 11/18/2018 Juan Pablo Martinez                 $10.00   71.07   $    8.60         $   155.33   $    155.33
 11/25/2018 Juan Pablo Martinez                 $10.00   61.65   $    8.60         $   108.25   $    108.25
  12/2/2018 Juan Pablo Martinez                 $10.00   80.18   $    8.60         $   200.92   $    200.92
  12/9/2018 Juan Pablo Martinez                 $10.00   78.40   $    8.60         $   192.00   $    192.00
 12/16/2018 Juan Pablo Martinez                 $10.00   77.22   $    8.60         $   186.08   $    186.08
 12/23/2018 Juan Pablo Martinez                 $10.00   75.38   $    8.60         $   176.92   $    176.92
 12/30/2018 Juan Pablo Martinez                 $10.00   67.05   $    8.60         $   135.25   $    135.25
   1/6/2019 Juan Pablo Martinez                 $10.00   73.42   $    8.85         $   167.08   $    167.08
  1/13/2019 Juan Pablo Martinez                 $10.00   77.88   $    8.85         $   189.42   $    189.42
  1/20/2019 Juan Pablo Martinez                 $10.00   81.58   $    8.85         $   207.92   $    207.92
  1/27/2019 Juan Pablo Martinez                 $10.00   80.43   $    8.85         $   202.17   $    202.17
   2/3/2019 Juan Pablo Martinez                 $10.00   76.65   $    8.85         $   183.25   $    183.25
  2/10/2019 Juan Pablo Martinez                 $10.00   70.42   $    8.85         $   152.08   $    152.08
  2/17/2019 Juan Pablo Martinez                 $10.00   62.33   $    8.85         $   111.67   $    111.67
  2/24/2019 Juan Pablo Martinez                 $10.00   68.55   $    8.85         $   142.75   $    142.75
   3/3/2019 Juan Pablo Martinez                 $10.00   59.77   $    8.85         $    98.83   $     98.83
  3/10/2019 Juan Pablo Martinez                 $10.00   59.62   $    8.85         $    98.08   $     98.08
  3/17/2019 Juan Pablo Martinez                 $10.00   66.53   $    8.85         $   132.67   $    132.67
  3/24/2019 Juan Pablo Martinez                 $10.00   63.08   $    8.85         $   115.42   $    115.42
  3/31/2019 Juan Pablo Martinez                 $10.00   60.60   $    8.85         $   103.00   $    103.00
   4/7/2019 Juan Pablo Martinez                 $10.00   64.33   $    8.85         $   121.67   $    121.67
  4/14/2019 Juan Pablo Martinez                 $10.00   75.68   $    8.85         $   178.42   $    178.42
  4/21/2019 Juan Pablo Martinez                 $10.00   61.98   $    8.85         $   109.92   $    109.92
  4/28/2019 Juan Pablo Martinez                 $10.00   48.48   $    8.85         $    42.42   $     42.42
   5/5/2019 Juan Pablo Martinez                 $10.00   52.73   $    8.85         $    63.67   $     63.67
  5/12/2019 Juan Pablo Martinez                 $10.00   62.33   $    8.85         $   111.67   $    111.67
  5/19/2019 Juan Pablo Martinez                 $10.00   60.00   $    8.85         $   100.00   $    100.00
  5/26/2019 Juan Pablo Martinez                 $10.00   50.70   $    8.85         $    53.50   $     53.50
   6/2/2019 Juan Pablo Martinez                 $10.00   68.82   $    8.85         $   144.08   $    144.08
   6/9/2019 Juan Pablo Martinez                 $10.00   57.18   $    8.85         $    85.92   $     85.92
  6/16/2019 Juan Pablo Martinez                 $10.00   64.88   $    8.85         $   124.42   $    124.42
  6/23/2019 Juan Pablo Martinez                 $10.00   47.07   $    8.85         $    35.33   $     35.33
  6/30/2019 Juan Pablo Martinez                 $10.00   71.00   $   10.00         $   155.00   $    155.00
   7/7/2019 Juan Pablo Martinez                 $11.00   52.77   $   10.00         $    70.22   $     70.22
  7/14/2019 Juan Pablo Martinez                 $11.00   42.00   $   10.00         $    11.00   $     11.00
  7/28/2019 Juan Pablo Martinez                 $11.00   69.13   $   10.00         $   160.23   $    160.23
   8/4/2019 Juan Pablo Martinez                 $11.00   77.15   $   10.00         $   204.33   $    204.33
  8/11/2019 Juan Pablo Martinez                 $11.00   62.03   $   10.00         $   121.18   $    121.18
  8/18/2019 Juan Pablo Martinez                 $11.00   66.07   $   10.00         $   143.37   $    143.37
  8/25/2019 Juan Pablo Martinez                 $11.00   63.73   $   10.00         $   130.53   $    130.53
   9/1/2019 Juan Pablo Martinez                 $11.00   71.50   $   10.00         $   173.25   $    173.25
   9/8/2019 Juan Pablo Martinez                 $11.00   81.65   $   10.00         $   229.08   $    229.08
  9/15/2019 Juan Pablo Martinez                 $11.00   69.08   $   10.00         $   159.96   $    159.96
  9/22/2019 Juan Pablo Martinez                 $11.00   81.13   $   10.00         $   226.23   $    226.23
  9/29/2019 Juan Pablo Martinez                 $11.00   70.53   $   10.00         $   167.93   $    167.93
  10/6/2019 Juan Pablo Martinez                 $11.00   83.73   $   10.00         $   240.53   $    240.53



                                                  401
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 403 of 683 PageID: 1250
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                          Name                        Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

 10/13/2019 Juan Pablo Martinez                 $11.00   80.62   $   10.00         $   223.39   $    223.39
 10/20/2019 Juan Pablo Martinez                 $11.00   82.25   $   10.00         $   232.38   $    232.38
 10/27/2019 Juan Pablo Martinez                 $11.00   82.85   $   10.00         $   235.68   $    235.68
  11/3/2019 Juan Pablo Martinez                 $11.00   81.92   $   10.00         $   230.54   $    230.54
 11/10/2019 Juan Pablo Martinez                 $11.00   83.03   $   10.00         $   236.68   $    236.68
 11/17/2019 Juan Pablo Martinez                 $11.00   84.43   $   10.00         $   244.38   $    244.38
  12/1/2019 Juan Pablo Martinez                 $11.00   70.20   $   10.00         $   166.10   $    166.10
  12/8/2019 Juan Pablo Martinez                 $11.00   81.87   $   10.00         $   230.27   $    230.27
 12/15/2019 Juan Pablo Martinez                 $11.00   78.85   $   10.00         $   213.68   $    213.68
 12/22/2019 Juan Pablo Martinez                 $11.00   82.82   $   10.00         $   235.49   $    235.49
 12/29/2019 Juan Pablo Martinez                 $11.00   52.75   $   10.00         $    70.13   $     70.13
   1/5/2020 Juan Pablo Martinez                 $11.00   82.60   $   11.00         $   234.30   $    234.30
  1/12/2020 Juan Pablo Martinez                 $11.00   80.08   $   11.00         $   220.46   $    220.46
  1/19/2020 Juan Pablo Martinez                 $11.00   80.10   $   11.00         $   220.55   $    220.55
  1/26/2020 Juan Pablo Martinez                 $11.00   80.73   $   11.00         $   224.03   $    224.03
  7/22/2018 Juan Rubio                          $10.00   69.67   $    8.60         $   148.33   $    148.33
  7/29/2018 Juan Rubio                          $10.00   68.97   $    8.60         $   144.83   $    144.83
   8/5/2018 Juan Rubio                          $10.00   68.70   $    8.60         $   143.50   $    143.50
  8/12/2018 Juan Rubio                          $10.00   42.48   $    8.60         $    12.42   $     12.42
  8/26/2018 Juan Rubio                          $10.00   50.25   $    8.60         $    51.25   $     51.25
   9/2/2018 Juan Rubio                          $10.00   65.42   $    8.60         $   127.08   $    127.08
  6/30/2019 Juan Rubio                          $10.00   57.18   $   10.00         $    85.92   $     85.92
   5/6/2018 Juan Santos                         $16.50   57.08   $    8.60         $   140.94   $    140.94
  5/13/2018 Juan Santos                         $16.50   45.58   $    8.60         $    46.06   $     46.06
  5/20/2018 Juan Santos                         $16.50   54.88   $    8.60         $   122.79   $    122.79
  5/27/2018 Juan Santos                         $16.50   54.98   $    8.60         $   123.61   $    123.61
   6/3/2018 Juan Santos                         $16.50   56.30   $    8.60         $   134.48   $    134.48
  6/17/2018 Juan Santos                         $16.50   48.12   $    8.60         $    66.96   $     66.96
  6/24/2018 Juan Santos                         $16.50   61.83   $    8.60         $   180.13   $    180.13
   7/1/2018 Juan Santos                         $16.50   47.95   $    8.60         $    65.59   $     65.59
   7/8/2018 Juan Santos                         $16.50   46.35   $    8.60         $    52.39   $     52.39
  7/15/2018 Juan Santos                         $16.50   49.58   $    8.60         $    79.06   $     79.06
  7/22/2018 Juan Santos                         $16.50   59.60   $    8.60         $   161.70   $    161.70
  7/29/2018 Juan Santos                         $16.50   60.90   $    8.60         $   172.43   $    172.43
   8/5/2018 Juan Santos                         $16.50   62.53   $    8.60         $   185.90   $    185.90
  8/19/2018 Juan Santos                         $16.50   59.97   $    8.60         $   164.73   $    164.73
  8/26/2018 Juan Santos                         $16.50   59.92   $    8.60         $   164.31   $    164.31
   9/2/2018 Juan Santos                         $16.50   63.05   $    8.60         $   190.16   $    190.16
   9/9/2018 Juan Santos                         $16.50   57.75   $    8.60         $   146.44   $    146.44
  9/16/2018 Juan Santos                         $16.50   49.02   $    8.60         $    74.39   $     74.39
  9/23/2018 Juan Santos                         $16.50   60.77   $    8.60         $   171.33   $    171.33
  9/30/2018 Juan Santos                         $16.50   58.60   $    8.60         $   153.45   $    153.45
 10/28/2018 Juan Santos                         $16.50   60.80   $    8.60         $   171.60   $    171.60
  11/4/2018 Juan Santos                         $16.50   56.70   $    8.60         $   137.78   $    137.78
 11/11/2018 Juan Santos                         $16.50   59.12   $    8.60         $   157.71   $    157.71
 11/18/2018 Juan Santos                         $16.50   44.22   $    8.60         $    34.79   $     34.79
  12/2/2018 Juan Santos                         $16.50   51.25   $    8.60         $    92.81   $     92.81
  12/9/2018 Juan Santos                         $16.50   50.52   $    8.60         $    86.76   $     86.76
 12/16/2018 Juan Santos                         $16.50   49.93   $    8.60         $    81.95   $     81.95
 12/23/2018 Juan Santos                         $16.50   58.73   $    8.60         $   154.55   $    154.55



                                                  402
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 404 of 683 PageID: 1251
                                         Exhibit 2
                                 New Jersey Computations


   Week                                                 State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
  Ending                  Name                        Minumum Regular    Half-Time Overtime Back
                                         Rate Week
   Date                                                 Wage  Rate Due     Due       Wages Due

 12/30/2018 Juan Santos                 $16.50   45.92   $    8.60         $    48.81   $     48.81
   1/6/2019 Juan Santos                 $16.50   44.02   $    8.85         $    33.14   $     33.14
  1/13/2019 Juan Santos                 $16.50   50.30   $    8.85         $    84.98   $     84.98
  1/20/2019 Juan Santos                 $16.50   47.78   $    8.85         $    64.21   $     64.21
  1/27/2019 Juan Santos                 $16.50   49.20   $    8.85         $    75.90   $     75.90
   2/3/2019 Juan Santos                 $16.50   48.72   $    8.85         $    71.91   $     71.91
  2/10/2019 Juan Santos                 $16.50   51.57   $    8.85         $    95.43   $     95.43
  2/17/2019 Juan Santos                 $16.50   51.42   $    8.85         $    94.19   $     94.19
  2/24/2019 Juan Santos                 $16.50   59.57   $    8.85         $   161.43   $    161.43
   3/3/2019 Juan Santos                 $16.50   60.52   $    8.85         $   169.26   $    169.26
  3/10/2019 Juan Santos                 $16.50   51.47   $    8.85         $    94.60   $     94.60
  3/17/2019 Juan Santos                 $16.50   62.23   $    8.85         $   183.43   $    183.43
  3/24/2019 Juan Santos                 $16.50   52.22   $    8.85         $   100.79   $    100.79
  3/31/2019 Juan Santos                 $16.50   62.17   $    8.85         $   182.88   $    182.88
   4/7/2019 Juan Santos                 $16.50   47.67   $    8.85         $    63.25   $     63.25
  4/14/2019 Juan Santos                 $16.50   50.48   $    8.85         $    86.49   $     86.49
  4/21/2019 Juan Santos                 $16.50   59.00   $    8.85         $   156.75   $    156.75
  4/28/2019 Juan Santos                 $16.50   59.03   $    8.85         $   157.03   $    157.03
  5/12/2019 Juan Santos                 $16.50   47.72   $    8.85         $    63.66   $     63.66
  5/19/2019 Juan Santos                 $16.50   46.97   $    8.85         $    57.48   $     57.48
  5/26/2019 Juan Santos                 $16.50   58.90   $    8.85         $   155.93   $    155.93
   6/2/2019 Juan Santos                 $16.50   59.17   $    8.85         $   158.13   $    158.13
   6/9/2019 Juan Santos                 $16.50   59.08   $    8.85         $   157.44   $    157.44
  6/16/2019 Juan Santos                 $16.50   52.68   $    8.85         $   104.64   $    104.64
  6/23/2019 Juan Santos                 $16.50   48.70   $    8.85         $    71.78   $     71.78
  6/30/2019 Juan Santos                 $16.50   57.63   $   10.00         $   145.48   $    145.48
   7/7/2019 Juan Santos                 $16.50   41.70   $   10.00         $    14.03   $     14.03
  7/14/2019 Juan Santos                 $16.50   57.87   $   10.00         $   147.40   $    147.40
  7/28/2019 Juan Santos                 $16.50   58.75   $   10.00         $   154.69   $    154.69
   8/4/2019 Juan Santos                 $16.50   49.03   $   10.00         $    74.53   $     74.53
  8/11/2019 Juan Santos                 $16.50   51.15   $   10.00         $    91.99   $     91.99
  8/18/2019 Juan Santos                 $16.50   48.83   $   10.00         $    72.88   $     72.88
  8/25/2019 Juan Santos                 $16.50   51.18   $   10.00         $    92.26   $     92.26
   9/1/2019 Juan Santos                 $16.50   65.53   $   10.00         $   210.65   $    210.65
   9/8/2019 Juan Santos                 $16.50   51.48   $   10.00         $    94.74   $     94.74
  9/15/2019 Juan Santos                 $16.50   50.97   $   10.00         $    90.48   $     90.48
  9/29/2019 Juan Santos                 $16.50   62.80   $   10.00         $   188.10   $    188.10
  10/6/2019 Juan Santos                 $16.50   53.93   $   10.00         $   114.95   $    114.95
 10/13/2019 Juan Santos                 $16.50   61.77   $   10.00         $   179.58   $    179.58
 10/20/2019 Juan Santos                 $16.50   58.85   $   10.00         $   155.51   $    155.51
 10/27/2019 Juan Santos                 $16.50   62.35   $   10.00         $   184.39   $    184.39
  11/3/2019 Juan Santos                 $16.50   61.00   $   10.00         $   173.25   $    173.25
 11/10/2019 Juan Santos                 $16.50   59.55   $   10.00         $   161.29   $    161.29
 11/17/2019 Juan Santos                 $16.50   52.12   $   10.00         $    99.96   $     99.96
 11/24/2019 Juan Santos                 $16.50   57.37   $   10.00         $   143.28   $    143.28
 12/15/2019 Juan Santos                 $16.50   54.10   $   10.00         $   116.33   $    116.33
 12/22/2019 Juan Santos                 $16.50   60.05   $   10.00         $   165.41   $    165.41
   1/5/2020 Juan Santos                 $16.50   54.32   $   11.00         $   118.11   $    118.11
  1/12/2020 Juan Santos                 $16.50   54.38   $   11.00         $   118.66   $    118.66
  1/19/2020 Juan Santos                 $16.50   60.47   $   11.00         $   168.85   $    168.85



                                          403
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 405 of 683 PageID: 1252
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

  1/26/2020 Juan Santos                        $16.50   60.17   $   11.00         $   166.38   $    166.38
  3/26/2017 Juan Vazquez Perez                  $9.00   61.45   $    8.44         $    96.53   $     96.53
   4/2/2017 Juan Vazquez Perez                  $9.00   62.88   $    8.44         $   102.98   $    102.98
   4/9/2017 Juan Vazquez Perez                  $9.00   65.12   $    8.44         $   113.03   $    113.03
  4/16/2017 Juan Vazquez Perez                  $9.00   80.65   $    8.44         $   182.93   $    182.93
  4/23/2017 Juan Vazquez Perez                  $9.00   50.63   $    8.44         $    47.85   $     47.85
  4/30/2017 Juan Vazquez Perez                  $9.00   67.95   $    8.44         $   125.78   $    125.78
   5/7/2017 Juan Vazquez Perez                 $10.00   54.97   $    8.44         $    74.83   $     74.83
  5/14/2017 Juan Vazquez Perez                 $10.00   57.30   $    8.44         $    86.50   $     86.50
  5/21/2017 Juan Vazquez Perez                 $10.00   57.98   $    8.44         $    89.92   $     89.92
  5/28/2017 Juan Vazquez Perez                 $10.00   57.17   $    8.44         $    85.83   $     85.83
   6/4/2017 Juan Vazquez Perez                 $10.00   49.35   $    8.44         $    46.75   $     46.75
  6/11/2017 Juan Vazquez Perez                 $10.00   56.00   $    8.44         $    80.00   $     80.00
  6/18/2017 Juan Vazquez Perez                 $10.00   44.38   $    8.44         $    21.92   $     21.92
  6/25/2017 Juan Vazquez Perez                 $10.00   57.92   $    8.44         $    89.58   $     89.58
   7/2/2017 Juan Vazquez Perez                 $10.00   57.38   $    8.44         $    86.92   $     86.92
   7/9/2017 Juan Vazquez Perez                 $10.00   44.30   $    8.44         $    21.50   $     21.50
  7/16/2017 Juan Vazquez Perez                 $10.00   57.58   $    8.44         $    87.92   $     87.92
  7/23/2017 Juan Vazquez Perez                 $10.00   58.43   $    8.44         $    92.17   $     92.17
  7/30/2017 Juan Vazquez Perez                 $10.00   47.18   $    8.44         $    35.92   $     35.92
   8/6/2017 Juan Vazquez Perez                 $10.00   57.65   $    8.44         $    88.25   $     88.25
  8/20/2017 Juan Vazquez Perez                 $10.00   58.53   $    8.44         $    92.67   $     92.67
  8/27/2017 Juan Vazquez Perez                 $10.00   59.03   $    8.44         $    95.17   $     95.17
   9/3/2017 Juan Vazquez Perez                 $10.00   58.45   $    8.44         $    92.25   $     92.25
  9/10/2017 Juan Vazquez Perez                 $10.00   48.35   $    8.44         $    41.75   $     41.75
  9/17/2017 Juan Vazquez Perez                 $10.00   58.03   $    8.44         $    90.17   $     90.17
  9/24/2017 Juan Vazquez Perez                 $10.00   58.53   $    8.44         $    92.67   $     92.67
  10/1/2017 Juan Vazquez Perez                 $10.00   58.18   $    8.44         $    90.92   $     90.92
  10/8/2017 Juan Vazquez Perez                 $10.00   57.20   $    8.44         $    86.00   $     86.00
 10/15/2017 Juan Vazquez Perez                 $10.00   56.35   $    8.44         $    81.75   $     81.75
 10/22/2017 Juan Vazquez Perez                 $10.00   57.28   $    8.44         $    86.42   $     86.42
 10/29/2017 Juan Vazquez Perez                 $10.00   57.12   $    8.44         $    85.58   $     85.58
  11/5/2017 Juan Vazquez Perez                 $10.00   56.25   $    8.44         $    81.25   $     81.25
 11/12/2017 Juan Vazquez Perez                 $10.00   57.33   $    8.44         $    86.67   $     86.67
 11/19/2017 Juan Vazquez Perez                 $10.00   57.28   $    8.44         $    86.42   $     86.42
 11/26/2017 Juan Vazquez Perez                 $10.00   47.35   $    8.44         $    36.75   $     36.75
  12/3/2017 Juan Vazquez Perez                 $10.00   51.90   $    8.44         $    59.50   $     59.50
 12/10/2017 Juan Vazquez Perez                 $10.00   58.33   $    8.44         $    91.67   $     91.67
 12/17/2017 Juan Vazquez Perez                 $10.00   57.77   $    8.44         $    88.83   $     88.83
 12/24/2017 Juan Vazquez Perez                 $10.00   56.28   $    8.44         $    81.42   $     81.42
 12/31/2017 Juan Vazquez Perez                 $10.00   48.30   $    8.44         $    41.50   $     41.50
  1/14/2018 Juan Vazquez Perez                 $10.00   59.30   $    8.60         $    96.50   $     96.50
  1/21/2018 Juan Vazquez Perez                 $10.00   56.28   $    8.60         $    81.42   $     81.42
  1/28/2018 Juan Vazquez Perez                 $10.00   60.70   $    8.60         $   103.50   $    103.50
   2/4/2018 Juan Vazquez Perez                 $10.00   61.05   $    8.60         $   105.25   $    105.25
  2/11/2018 Juan Vazquez Perez                 $10.00   62.83   $    8.60         $   114.17   $    114.17
  2/18/2018 Juan Vazquez Perez                 $10.00   62.75   $    8.60         $   113.75   $    113.75
  2/25/2018 Juan Vazquez Perez                 $10.00   61.47   $    8.60         $   107.33   $    107.33
   3/4/2018 Juan Vazquez Perez                 $10.00   59.03   $    8.60         $    95.17   $     95.17
  5/20/2018 Juan Vazquez Perez                 $10.50   61.95   $    8.60         $   115.24   $    115.24



                                                 404
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 406 of 683 PageID: 1253
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  5/27/2018 Juan Vazquez Perez              $10.50   52.05   $    8.60               $    63.26   $    63.26
   6/3/2018 Juan Vazquez Perez              $10.50   63.53   $    8.60               $   123.55   $   123.55
  6/10/2018 Juan Vazquez Perez              $10.50   66.45   $    8.60               $   138.86   $   138.86
  6/17/2018 Juan Vazquez Perez              $10.50   59.92   $    8.60               $   104.56   $   104.56
  6/24/2018 Juan Vazquez Perez              $10.50   53.00   $    8.60               $    68.25   $    68.25
   7/1/2018 Juan Vazquez Perez              $10.50   59.28   $    8.60               $   101.24   $   101.24
   7/8/2018 Juan Vazquez Perez              $10.50   49.83   $    8.60               $    51.63   $    51.63
  7/15/2018 Juan Vazquez Perez              $10.50   40.33   $    8.60               $     1.75   $     1.75
  7/22/2018 Juan Vazquez Perez              $10.50   62.03   $    8.60               $   115.68   $   115.68
  7/29/2018 Juan Vazquez Perez              $10.50   52.77   $    8.60               $    67.03   $    67.03
  8/19/2018 Juan Vazquez Perez              $10.50   50.63   $    8.60               $    55.83   $    55.83
  8/26/2018 Juan Vazquez Perez              $10.50   61.95   $    8.60               $   115.24   $   115.24
   9/2/2018 Juan Vazquez Perez              $10.50   62.28   $    8.60               $   116.99   $   116.99
   9/9/2018 Juan Vazquez Perez              $10.50   59.32   $    8.60               $   101.41   $   101.41
  9/16/2018 Juan Vazquez Perez              $10.50   55.75   $    8.60               $    82.69   $    82.69
  9/23/2018 Juan Vazquez Perez              $10.50   56.65   $    8.60               $    87.41   $    87.41
  9/30/2018 Juan Vazquez Perez              $10.50   50.42   $    8.60               $    54.69   $    54.69
  10/7/2018 Juan Vazquez Perez              $10.50   64.83   $    8.60               $   130.38   $   130.38
 10/14/2018 Juan Vazquez Perez              $10.50   56.27   $    8.60               $    85.40   $    85.40
 10/21/2018 Juan Vazquez Perez              $10.50   49.80   $    8.60               $    51.45   $    51.45
 10/28/2018 Juan Vazquez Perez              $10.50   67.83   $    8.60               $   146.13   $   146.13
  11/4/2018 Juan Vazquez Perez              $10.50   74.10   $    8.60               $   179.03   $   179.03
 11/11/2018 Juan Vazquez Perez              $10.50   54.12   $    8.60               $    74.11   $    74.11
  1/27/2019 Juan Velasquez Quixon            $9.50   49.08   $    8.85               $    43.15   $    43.15
   2/3/2019 Juan Velasquez Quixon            $9.50   49.18   $    8.85               $    43.62   $    43.62
  2/10/2019 Juan Velasquez Quixon            $9.50   59.08   $    8.85               $    90.65   $    90.65
  2/17/2019 Juan Velasquez Quixon            $9.50   55.73   $    8.85               $    74.73   $    74.73
  2/24/2019 Juan Velasquez Quixon            $9.50   49.27   $    8.85               $    44.02   $    44.02
   3/3/2019 Juan Velasquez Quixon            $9.50   59.20   $    8.85               $    91.20   $    91.20
  3/10/2019 Juan Velasquez Quixon            $9.50   49.33   $    8.85               $    44.33   $    44.33
  3/17/2019 Juan Velasquez Quixon            $9.50   60.97   $    8.85               $    99.59   $    99.59
  3/24/2019 Juan Velasquez Quixon            $9.50   59.07   $    8.85               $    90.57   $    90.57
  3/31/2019 Juan Velasquez Quixon            $9.50   59.42   $    8.85               $    92.23   $    92.23
   4/7/2019 Juan Velasquez Quixon            $9.50   59.10   $    8.85               $    90.73   $    90.73
  4/14/2019 Juan Velasquez Quixon            $9.50   59.28   $    8.85               $    91.60   $    91.60
  4/21/2019 Juan Velasquez Quixon            $9.50   60.87   $    8.85               $    99.12   $    99.12
  4/28/2019 Juan Velasquez Quixon            $9.50   58.40   $    8.85               $    87.40   $    87.40
   5/5/2019 Juan Velasquez Quixon            $9.50   61.98   $    8.85               $   104.42   $   104.42
  5/12/2019 Juan Velasquez Quixon            $9.50   62.48   $    8.85               $   106.80   $   106.80
  5/19/2019 Juan Velasquez Quixon            $9.50   62.07   $    8.85               $   104.82   $   104.82
  5/26/2019 Juan Velasquez Quixon            $9.50   62.00   $    8.85               $   104.50   $   104.50
   6/2/2019 Juan Velasquez Quixon            $9.50   49.02   $    8.85               $    42.83   $    42.83
   6/9/2019 Juan Velasquez Quixon            $9.50   60.53   $    8.85               $    97.53   $    97.53
  6/16/2019 Juan Velasquez Quixon            $9.50   40.12   $    8.85               $     0.55   $     0.55
  6/23/2019 Juan Velasquez Quixon            $9.50   59.32   $    8.85               $    91.75   $    91.75
  6/30/2019 Juan Velasquez Quixon            $9.50   59.28   $   10.00   $   29.64   $    96.42   $   126.06
   7/7/2019 Juan Velasquez Quixon           $10.50   49.13   $   10.00               $    47.95   $    47.95
  7/14/2019 Juan Velasquez Quixon           $10.50   59.12   $   10.00               $   100.36   $   100.36
  7/21/2019 Juan Velasquez Quixon           $10.50   59.22   $   10.00               $   100.89   $   100.89
  7/28/2019 Juan Velasquez Quixon           $10.50   59.22   $   10.00               $   100.89   $   100.89



                                              405
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 407 of 683 PageID: 1254
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                       Name                           Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

   8/4/2019 Juan Velasquez Quixon               $10.50   59.63   $   10.00               $   103.08   $   103.08
  8/11/2019 Juan Velasquez Quixon               $10.50   59.13   $   10.00               $   100.45   $   100.45
  8/18/2019 Juan Velasquez Quixon               $10.50   59.18   $   10.00               $   100.71   $   100.71
  8/25/2019 Juan Velasquez Quixon               $10.50   59.18   $   10.00               $   100.71   $   100.71
   9/1/2019 Juan Velasquez Quixon               $10.50   49.15   $   10.00               $    48.04   $    48.04
   9/8/2019 Juan Velasquez Quixon               $10.50   49.22   $   10.00               $    48.39   $    48.39
  9/15/2019 Juan Velasquez Quixon               $10.50   59.47   $   10.00               $   102.20   $   102.20
  9/22/2019 Juan Velasquez Quixon               $10.50   59.35   $   10.00               $   101.59   $   101.59
  9/29/2019 Juan Velasquez Quixon               $10.50   59.65   $   10.00               $   103.16   $   103.16
  10/6/2019 Juan Velasquez Quixon               $10.50   59.62   $   10.00               $   102.99   $   102.99
 10/13/2019 Juan Velasquez Quixon               $10.50   49.25   $   10.00               $    48.56   $    48.56
 10/20/2019 Juan Velasquez Quixon               $11.00   59.18   $   10.00               $   105.51   $   105.51
 10/27/2019 Juan Velasquez Quixon               $11.00   48.57   $   10.00               $    47.12   $    47.12
  11/3/2019 Juan Velasquez Quixon               $11.00   59.02   $   10.00               $   104.59   $   104.59
 11/10/2019 Juan Velasquez Quixon               $11.00   59.12   $   10.00               $   105.14   $   105.14
 11/17/2019 Juan Velasquez Quixon               $11.00   59.47   $   10.00               $   107.07   $   107.07
 11/24/2019 Juan Velasquez Quixon               $11.00   59.53   $   10.00               $   107.43   $   107.43
  12/1/2019 Juan Velasquez Quixon               $11.00   49.37   $   10.00               $    51.52   $    51.52
  12/8/2019 Juan Velasquez Quixon               $11.00   59.33   $   10.00               $   106.33   $   106.33
 12/15/2019 Juan Velasquez Quixon               $10.50   59.30   $   10.00               $   101.33   $   101.33
 12/22/2019 Juan Velasquez Quixon               $10.50   60.03   $   10.00               $   105.18   $   105.18
 12/29/2019 Juan Velasquez Quixon               $10.50   45.67   $   10.00               $    29.75   $    29.75
   1/5/2020 Juan Velasquez Quixon               $10.50   48.23   $   11.00   $   24.12   $    45.28   $    69.40
  1/12/2020 Juan Velasquez Quixon               $10.50   59.17   $   11.00   $   29.58   $   105.42   $   135.00
  1/19/2020 Juan Velasquez Quixon               $10.50   59.27   $   11.00   $   29.63   $   105.97   $   135.60
  1/26/2020 Juan Velasquez Quixon               $10.50   59.13   $   11.00   $   29.57   $   105.23   $   134.80
 12/29/2019 Juana Gonzales                      $10.00   48.28   $   10.00               $    41.42   $    41.42
   1/5/2020 Juana Gonzales                      $10.00   52.92   $   11.00   $   52.92   $    71.04   $   123.96
  1/12/2020 Juana Gonzales                      $10.00   60.93   $   11.00   $   60.93   $   115.13   $   176.07
  1/19/2020 Juana Gonzales                      $10.00   51.90   $   11.00   $   51.90   $    65.45   $   117.35
   2/5/2017 Julio Lopez Cano                     $9.00   56.23   $    8.44               $    73.05   $    73.05
  2/12/2017 Julio Lopez Cano                     $9.00   53.73   $    8.44               $    61.80   $    61.80
  2/19/2017 Julio Lopez Cano                     $9.00   57.82   $    8.44               $    80.18   $    80.18
  2/26/2017 Julio Lopez Cano                     $9.00   60.12   $    8.44               $    90.53   $    90.53
   3/5/2017 Julio Lopez Cano                     $9.00   57.83   $    8.44               $    80.25   $    80.25
  3/12/2017 Julio Lopez Cano                     $9.00   60.32   $    8.44               $    91.43   $    91.43
  3/19/2017 Julio Lopez Cano                     $9.00   41.52   $    8.44               $     6.83   $     6.83
  3/26/2017 Julio Lopez Cano                     $9.00   58.55   $    8.44               $    83.48   $    83.48
   4/2/2017 Julio Lopez Cano                     $9.00   51.57   $    8.44               $    52.05   $    52.05
   4/9/2017 Julio Lopez Cano                     $9.00   58.75   $    8.44               $    84.38   $    84.38
  4/16/2017 Julio Lopez Cano                     $9.00   59.05   $    8.44               $    85.73   $    85.73
  4/23/2017 Julio Lopez Cano                     $9.00   54.48   $    8.44               $    65.18   $    65.18
  4/30/2017 Julio Lopez Cano                     $9.00   43.88   $    8.44               $    17.48   $    17.48
  8/13/2017 Julio Misael Vasquez Amaya          $10.00   52.78   $    8.44               $    63.92   $    63.92
  8/20/2017 Julio Misael Vasquez Amaya          $10.00   65.43   $    8.44               $   127.17   $   127.17
  8/27/2017 Julio Misael Vasquez Amaya          $10.00   66.97   $    8.44               $   134.83   $   134.83
   9/3/2017 Julio Misael Vasquez Amaya          $10.00   69.83   $    8.44               $   149.17   $   149.17
  9/10/2017 Julio Misael Vasquez Amaya          $10.00   63.92   $    8.44               $   119.58   $   119.58
  9/17/2017 Julio Misael Vasquez Amaya          $10.00   66.08   $    8.44               $   130.42   $   130.42
  9/24/2017 Julio Misael Vasquez Amaya          $10.00   66.03   $    8.44               $   130.17   $   130.17



                                                  406
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 408 of 683 PageID: 1255
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                       Name                           Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

  10/1/2017 Julio Misael Vasquez Amaya          $10.00   74.62   $   8.44          $   173.08   $    173.08
  10/8/2017 Julio Misael Vasquez Amaya          $10.00   54.98   $   8.44          $    74.92   $     74.92
 10/15/2017 Julio Misael Vasquez Amaya          $10.00   67.63   $   8.44          $   138.17   $    138.17
 10/22/2017 Julio Misael Vasquez Amaya          $10.00   65.55   $   8.44          $   127.75   $    127.75
 10/29/2017 Julio Misael Vasquez Amaya          $10.00   69.15   $   8.44          $   145.75   $    145.75
  11/5/2017 Julio Misael Vasquez Amaya          $10.00   70.25   $   8.44          $   151.25   $    151.25
 11/12/2017 Julio Misael Vasquez Amaya          $10.00   65.97   $   8.44          $   129.83   $    129.83
 11/19/2017 Julio Misael Vasquez Amaya          $10.00   66.27   $   8.44          $   131.33   $    131.33
 11/26/2017 Julio Misael Vasquez Amaya          $10.00   56.35   $   8.44          $    81.75   $     81.75
  12/3/2017 Julio Misael Vasquez Amaya          $10.00   74.15   $   8.44          $   170.75   $    170.75
 12/10/2017 Julio Misael Vasquez Amaya          $10.00   65.45   $   8.44          $   127.25   $    127.25
 12/17/2017 Julio Misael Vasquez Amaya          $10.00   65.93   $   8.44          $   129.67   $    129.67
 12/24/2017 Julio Misael Vasquez Amaya          $10.00   67.02   $   8.44          $   135.08   $    135.08
 12/31/2017 Julio Misael Vasquez Amaya          $10.00   61.00   $   8.44          $   105.00   $    105.00
   1/7/2018 Julio Misael Vasquez Amaya          $10.00   46.97   $   8.60          $    34.83   $     34.83
  1/14/2018 Julio Misael Vasquez Amaya          $10.00   64.67   $   8.60          $   123.33   $    123.33
  1/21/2018 Julio Misael Vasquez Amaya          $10.00   65.68   $   8.60          $   128.42   $    128.42
  1/28/2018 Julio Misael Vasquez Amaya          $10.00   66.00   $   8.60          $   130.00   $    130.00
   2/4/2018 Julio Misael Vasquez Amaya          $10.00   50.72   $   8.60          $    53.58   $     53.58
  2/11/2018 Julio Misael Vasquez Amaya          $10.00   40.10   $   8.60          $     0.50   $      0.50
  2/18/2018 Julio Misael Vasquez Amaya          $10.00   65.78   $   8.60          $   128.92   $    128.92
   3/4/2018 Julio Misael Vasquez Amaya          $10.00   69.65   $   8.60          $   148.25   $    148.25
  3/25/2018 Julio Misael Vasquez Amaya          $10.00   50.15   $   8.60          $    50.75   $     50.75
   4/1/2018 Julio Misael Vasquez Amaya          $10.00   62.78   $   8.60          $   113.92   $    113.92
   4/8/2018 Julio Misael Vasquez Amaya          $10.00   67.32   $   8.60          $   136.58   $    136.58
  4/15/2018 Julio Misael Vasquez Amaya          $10.00   68.35   $   8.60          $   141.75   $    141.75
  4/22/2018 Julio Misael Vasquez Amaya          $10.00   65.87   $   8.60          $   129.33   $    129.33
  4/29/2018 Julio Misael Vasquez Amaya          $10.00   67.38   $   8.60          $   136.92   $    136.92
   5/6/2018 Julio Misael Vasquez Amaya          $10.00   66.10   $   8.60          $   130.50   $    130.50
  5/13/2018 Julio Misael Vasquez Amaya          $10.00   66.83   $   8.60          $   134.17   $    134.17
  5/20/2018 Julio Misael Vasquez Amaya          $10.00   66.42   $   8.60          $   132.08   $    132.08
  5/27/2018 Julio Misael Vasquez Amaya          $10.00   56.17   $   8.60          $    80.83   $     80.83
   6/3/2018 Julio Misael Vasquez Amaya          $10.00   64.63   $   8.60          $   123.17   $    123.17
  6/10/2018 Julio Misael Vasquez Amaya          $10.00   67.27   $   8.60          $   136.33   $    136.33
  6/17/2018 Julio Misael Vasquez Amaya          $10.00   67.22   $   8.60          $   136.08   $    136.08
  6/24/2018 Julio Misael Vasquez Amaya          $10.00   66.87   $   8.60          $   134.33   $    134.33
   7/1/2018 Julio Misael Vasquez Amaya          $10.00   55.23   $   8.60          $    76.17   $     76.17
   7/8/2018 Julio Misael Vasquez Amaya          $10.00   64.63   $   8.60          $   123.17   $    123.17
  7/15/2018 Julio Misael Vasquez Amaya          $10.00   66.85   $   8.60          $   134.25   $    134.25
  7/22/2018 Julio Misael Vasquez Amaya          $10.00   65.20   $   8.60          $   126.00   $    126.00
  7/29/2018 Julio Misael Vasquez Amaya          $10.00   65.00   $   8.60          $   125.00   $    125.00
   8/5/2018 Julio Misael Vasquez Amaya          $10.00   66.42   $   8.60          $   132.08   $    132.08
  8/12/2018 Julio Misael Vasquez Amaya          $10.00   66.42   $   8.60          $   132.08   $    132.08
  8/19/2018 Julio Misael Vasquez Amaya          $10.00   65.63   $   8.60          $   128.17   $    128.17
  8/26/2018 Julio Misael Vasquez Amaya          $10.00   66.47   $   8.60          $   132.33   $    132.33
   9/2/2018 Julio Misael Vasquez Amaya          $10.00   66.92   $   8.60          $   134.58   $    134.58
   9/9/2018 Julio Misael Vasquez Amaya          $10.00   64.45   $   8.60          $   122.25   $    122.25
  9/16/2018 Julio Misael Vasquez Amaya          $10.00   66.23   $   8.60          $   131.17   $    131.17
  9/23/2018 Julio Misael Vasquez Amaya          $10.00   65.73   $   8.60          $   128.67   $    128.67
  9/30/2018 Julio Misael Vasquez Amaya          $10.00   66.23   $   8.60          $   131.17   $    131.17



                                                  407
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 409 of 683 PageID: 1256
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                       Name                           Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

  10/7/2018 Julio Misael Vasquez Amaya          $10.00   65.52   $    8.60         $   127.58   $    127.58
 10/14/2018 Julio Misael Vasquez Amaya          $10.00   55.55   $    8.60         $    77.75   $     77.75
 10/21/2018 Julio Misael Vasquez Amaya          $10.00   64.90   $    8.60         $   124.50   $    124.50
 10/28/2018 Julio Misael Vasquez Amaya          $10.00   65.40   $    8.60         $   127.00   $    127.00
 11/11/2018 Julio Misael Vasquez Amaya          $10.00   64.95   $    8.60         $   124.75   $    124.75
 11/18/2018 Julio Misael Vasquez Amaya          $10.00   65.52   $    8.60         $   127.58   $    127.58
 11/25/2018 Julio Misael Vasquez Amaya          $10.00   52.30   $    8.60         $    61.50   $     61.50
  12/2/2018 Julio Misael Vasquez Amaya          $10.00   66.72   $    8.60         $   133.58   $    133.58
  12/9/2018 Julio Misael Vasquez Amaya          $10.00   62.77   $    8.60         $   113.83   $    113.83
 12/16/2018 Julio Misael Vasquez Amaya          $10.00   65.53   $    8.60         $   127.67   $    127.67
 12/23/2018 Julio Misael Vasquez Amaya          $10.00   64.75   $    8.60         $   123.75   $    123.75
 12/30/2018 Julio Misael Vasquez Amaya          $10.00   45.48   $    8.60         $    27.42   $     27.42
   1/6/2019 Julio Misael Vasquez Amaya          $10.00   48.87   $    8.85         $    44.33   $     44.33
  1/13/2019 Julio Misael Vasquez Amaya          $10.00   67.30   $    8.85         $   136.50   $    136.50
  1/20/2019 Julio Misael Vasquez Amaya          $10.00   66.68   $    8.85         $   133.42   $    133.42
  1/27/2019 Julio Misael Vasquez Amaya          $10.00   64.90   $    8.85         $   124.50   $    124.50
   2/3/2019 Julio Misael Vasquez Amaya          $10.00   66.12   $    8.85         $   130.58   $    130.58
  2/10/2019 Julio Misael Vasquez Amaya          $10.00   66.32   $    8.85         $   131.58   $    131.58
  2/17/2019 Julio Misael Vasquez Amaya          $10.00   60.07   $    8.85         $   100.33   $    100.33
  2/24/2019 Julio Misael Vasquez Amaya          $10.00   62.35   $    8.85         $   111.75   $    111.75
   3/3/2019 Julio Misael Vasquez Amaya          $10.00   65.70   $    8.85         $   128.50   $    128.50
  3/10/2019 Julio Misael Vasquez Amaya          $10.00   66.50   $    8.85         $   132.50   $    132.50
  3/17/2019 Julio Misael Vasquez Amaya          $10.00   66.15   $    8.85         $   130.75   $    130.75
  3/24/2019 Julio Misael Vasquez Amaya          $10.00   65.98   $    8.85         $   129.92   $    129.92
  3/31/2019 Julio Misael Vasquez Amaya          $10.00   55.97   $    8.85         $    79.83   $     79.83
   4/7/2019 Julio Misael Vasquez Amaya          $10.00   65.45   $    8.85         $   127.25   $    127.25
  4/14/2019 Julio Misael Vasquez Amaya          $10.00   66.05   $    8.85         $   130.25   $    130.25
  4/21/2019 Julio Misael Vasquez Amaya          $10.00   65.30   $    8.85         $   126.50   $    126.50
  4/28/2019 Julio Misael Vasquez Amaya          $10.00   65.43   $    8.85         $   127.17   $    127.17
   5/5/2019 Julio Misael Vasquez Amaya          $10.00   65.67   $    8.85         $   128.33   $    128.33
  5/12/2019 Julio Misael Vasquez Amaya          $10.00   65.02   $    8.85         $   125.08   $    125.08
  5/19/2019 Julio Misael Vasquez Amaya          $10.00   55.03   $    8.85         $    75.17   $     75.17
  5/26/2019 Julio Misael Vasquez Amaya          $10.00   68.70   $    8.85         $   143.50   $    143.50
   6/2/2019 Julio Misael Vasquez Amaya          $10.00   65.40   $    8.85         $   127.00   $    127.00
   6/9/2019 Julio Misael Vasquez Amaya          $10.00   66.82   $    8.85         $   134.08   $    134.08
  6/16/2019 Julio Misael Vasquez Amaya          $10.00   66.15   $    8.85         $   130.75   $    130.75
  6/23/2019 Julio Misael Vasquez Amaya          $10.00   68.60   $    8.85         $   143.00   $    143.00
  6/30/2019 Julio Misael Vasquez Amaya          $10.00   66.50   $   10.00         $   132.50   $    132.50
   7/7/2019 Julio Misael Vasquez Amaya          $10.00   61.25   $   10.00         $   106.25   $    106.25
  7/14/2019 Julio Misael Vasquez Amaya          $10.00   69.12   $   10.00         $   145.58   $    145.58
  7/21/2019 Julio Misael Vasquez Amaya          $10.00   55.68   $   10.00         $    78.42   $     78.42
  7/28/2019 Julio Misael Vasquez Amaya          $10.00   66.28   $   10.00         $   131.42   $    131.42
   8/4/2019 Julio Misael Vasquez Amaya          $10.00   66.48   $   10.00         $   132.42   $    132.42
  8/11/2019 Julio Misael Vasquez Amaya          $10.00   55.38   $   10.00         $    76.92   $     76.92
  8/18/2019 Julio Misael Vasquez Amaya          $10.00   68.33   $   10.00         $   141.67   $    141.67
  8/25/2019 Julio Misael Vasquez Amaya          $10.00   71.55   $   10.00         $   157.75   $    157.75
   9/1/2019 Julio Misael Vasquez Amaya          $10.00   72.32   $   10.00         $   161.58   $    161.58
   9/8/2019 Julio Misael Vasquez Amaya          $10.00   69.23   $   10.00         $   146.17   $    146.17
  9/15/2019 Julio Misael Vasquez Amaya          $10.00   71.15   $   10.00         $   155.75   $    155.75
  9/22/2019 Julio Misael Vasquez Amaya          $10.00   71.47   $   10.00         $   157.33   $    157.33



                                                  408
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 410 of 683 PageID: 1257
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                       Name                           Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

  9/29/2019 Julio Misael Vasquez Amaya          $10.00   71.32   $   10.00               $   156.58   $   156.58
  10/6/2019 Julio Misael Vasquez Amaya          $10.00   72.97   $   10.00               $   164.83   $   164.83
 10/13/2019 Julio Misael Vasquez Amaya          $10.00   70.85   $   10.00               $   154.25   $   154.25
 10/20/2019 Julio Misael Vasquez Amaya          $10.00   71.25   $   10.00               $   156.25   $   156.25
 10/27/2019 Julio Misael Vasquez Amaya          $10.00   70.75   $   10.00               $   153.75   $   153.75
  11/3/2019 Julio Misael Vasquez Amaya          $10.00   70.98   $   10.00               $   154.92   $   154.92
 11/10/2019 Julio Misael Vasquez Amaya          $10.00   71.45   $   10.00               $   157.25   $   157.25
 11/17/2019 Julio Misael Vasquez Amaya          $10.00   71.48   $   10.00               $   157.42   $   157.42
 11/24/2019 Julio Misael Vasquez Amaya          $10.00   70.82   $   10.00               $   154.08   $   154.08
  12/1/2019 Julio Misael Vasquez Amaya          $10.00   58.07   $   10.00               $    90.33   $    90.33
  12/8/2019 Julio Misael Vasquez Amaya          $10.00   70.40   $   10.00               $   152.00   $   152.00
 12/15/2019 Julio Misael Vasquez Amaya          $10.00   70.33   $   10.00               $   151.67   $   151.67
 12/22/2019 Julio Misael Vasquez Amaya          $10.00   68.82   $   10.00               $   144.08   $   144.08
 12/29/2019 Julio Misael Vasquez Amaya          $10.00   47.07   $   10.00               $    35.33   $    35.33
   1/5/2020 Julio Misael Vasquez Amaya          $10.00   63.58   $   11.00   $   63.58   $   129.71   $   193.29
  1/12/2020 Julio Misael Vasquez Amaya          $10.00   71.13   $   11.00   $   71.13   $   171.23   $   242.37
  1/19/2020 Julio Misael Vasquez Amaya          $10.00   45.48   $   11.00   $   45.48   $    30.16   $    75.64
  1/26/2020 Julio Misael Vasquez Amaya          $10.00   70.88   $   11.00   $   70.88   $   169.86   $   240.74
 11/24/2019 Julio Roca                          $11.00   59.20   $   10.00               $   105.60   $   105.60
  12/1/2019 Julio Roca                          $11.00   49.30   $   10.00               $    51.15   $    51.15
  12/8/2019 Julio Roca                          $11.00   59.22   $   10.00               $   105.69   $   105.69
 12/15/2019 Julio Roca                          $10.00   59.20   $   10.00               $    96.00   $    96.00
 12/22/2019 Julio Roca                          $10.00   59.67   $   10.00               $    98.33   $    98.33
 12/29/2019 Julio Roca                          $10.00   45.20   $   10.00               $    26.00   $    26.00
   1/5/2020 Julio Roca                          $10.00   48.20   $   11.00   $   48.20   $    45.10   $    93.30
  1/12/2020 Julio Roca                          $10.00   59.17   $   11.00   $   59.17   $   105.42   $   164.58
  1/19/2020 Julio Roca                          $10.00   59.05   $   11.00   $   59.05   $   104.78   $   163.83
  1/26/2020 Julio Roca                          $10.00   58.98   $   11.00   $   58.98   $   104.41   $   163.39
   2/5/2017 Julio Rosario                       $11.00   58.17   $    8.44               $    99.92   $    99.92
  2/12/2017 Julio Rosario                       $11.00   46.60   $    8.44               $    36.30   $    36.30
  2/19/2017 Julio Rosario                       $11.00   58.05   $    8.44               $    99.28   $    99.28
  2/26/2017 Julio Rosario                       $11.00   58.05   $    8.44               $    99.28   $    99.28
   3/5/2017 Julio Rosario                       $11.00   58.07   $    8.44               $    99.37   $    99.37
  3/12/2017 Julio Rosario                       $11.00   58.13   $    8.44               $    99.73   $    99.73
  3/19/2017 Julio Rosario                       $11.00   46.57   $    8.44               $    36.12   $    36.12
  3/26/2017 Julio Rosario                       $11.00   58.07   $    8.44               $    99.37   $    99.37
   4/2/2017 Julio Rosario                       $11.00   58.13   $    8.44               $    99.73   $    99.73
   4/9/2017 Julio Rosario                       $11.00   58.13   $    8.44               $    99.73   $    99.73
  4/16/2017 Julio Rosario                       $11.00   50.07   $    8.44               $    55.37   $    55.37
  4/23/2017 Julio Rosario                       $11.00   57.98   $    8.44               $    98.91   $    98.91
  4/30/2017 Julio Rosario                       $11.00   58.02   $    8.44               $    99.09   $    99.09
  7/16/2017 Julio Rosario                       $11.00   54.88   $    8.44               $    81.86   $    81.86
  7/23/2017 Julio Rosario                       $11.00   46.78   $    8.44               $    37.31   $    37.31
  7/30/2017 Julio Rosario                       $11.00   56.05   $    8.44               $    88.28   $    88.28
   8/6/2017 Julio Rosario                       $11.00   54.87   $    8.44               $    81.77   $    81.77
  8/13/2017 Julio Rosario                       $11.00   45.78   $    8.44               $    31.81   $    31.81
  8/20/2017 Julio Rosario                       $11.00   47.80   $    8.44               $    42.90   $    42.90
  8/27/2017 Julio Rosario                       $11.00   47.02   $    8.44               $    38.59   $    38.59
   9/3/2017 Julio Rosario                       $11.00   56.82   $    8.44               $    92.49   $    92.49
  9/10/2017 Julio Rosario                       $11.00   47.95   $    8.44               $    43.73   $    43.73



                                                  409
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 411 of 683 PageID: 1258
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

  9/17/2017 Julio Rosario                 $11.00   58.10   $   8.44          $    99.55   $     99.55
  9/24/2017 Julio Rosario                 $11.00   57.12   $   8.44          $    94.14   $     94.14
  10/1/2017 Julio Rosario                 $11.00   58.05   $   8.44          $    99.28   $     99.28
  10/8/2017 Julio Rosario                 $11.00   58.25   $   8.44          $   100.38   $    100.38
 10/15/2017 Julio Rosario                 $11.00   57.83   $   8.44          $    98.08   $     98.08
 10/22/2017 Julio Rosario                 $11.00   57.45   $   8.44          $    95.98   $     95.98
 10/29/2017 Julio Rosario                 $11.00   55.22   $   8.44          $    83.69   $     83.69
  11/5/2017 Julio Rosario                 $11.00   48.13   $   8.44          $    44.73   $     44.73
 11/12/2017 Julio Rosario                 $11.00   54.37   $   8.44          $    79.02   $     79.02
 11/19/2017 Julio Rosario                 $11.00   50.28   $   8.44          $    56.56   $     56.56
 11/26/2017 Julio Rosario                 $11.00   58.17   $   8.44          $    99.92   $     99.92
  12/3/2017 Julio Rosario                 $11.00   58.23   $   8.44          $   100.28   $    100.28
 12/10/2017 Julio Rosario                 $11.00   58.10   $   8.44          $    99.55   $     99.55
 12/17/2017 Julio Rosario                 $11.00   58.17   $   8.44          $    99.92   $     99.92
 12/24/2017 Julio Rosario                 $11.00   58.00   $   8.44          $    99.00   $     99.00
 12/31/2017 Julio Rosario                 $11.00   48.10   $   8.44          $    44.55   $     44.55
  1/14/2018 Julio Rosario                 $11.00   57.83   $   8.60          $    98.08   $     98.08
  1/21/2018 Julio Rosario                 $11.00   57.98   $   8.60          $    98.91   $     98.91
  1/28/2018 Julio Rosario                 $11.00   57.97   $   8.60          $    98.82   $     98.82
   2/4/2018 Julio Rosario                 $11.00   57.87   $   8.60          $    98.27   $     98.27
  2/11/2018 Julio Rosario                 $11.00   58.35   $   8.60          $   100.93   $    100.93
  2/18/2018 Julio Rosario                 $11.00   57.97   $   8.60          $    98.82   $     98.82
  2/25/2018 Julio Rosario                 $11.00   58.12   $   8.60          $    99.64   $     99.64
   3/4/2018 Julio Rosario                 $11.00   58.32   $   8.60          $   100.74   $    100.74
  3/25/2018 Julio Rosario                 $11.00   47.27   $   8.60          $    39.97   $     39.97
   4/1/2018 Julio Rosario                 $11.00   58.17   $   8.60          $    99.92   $     99.92
   4/8/2018 Julio Rosario                 $11.00   58.32   $   8.60          $   100.74   $    100.74
  4/15/2018 Julio Rosario                 $11.00   49.28   $   8.60          $    51.06   $     51.06
  4/22/2018 Julio Rosario                 $11.00   58.20   $   8.60          $   100.10   $    100.10
  4/29/2018 Julio Rosario                 $11.00   58.05   $   8.60          $    99.28   $     99.28
   5/6/2018 Julio Rosario                 $11.00   58.12   $   8.60          $    99.64   $     99.64
  5/13/2018 Julio Rosario                 $11.00   58.03   $   8.60          $    99.18   $     99.18
  5/20/2018 Julio Rosario                 $11.00   58.10   $   8.60          $    99.55   $     99.55
  5/27/2018 Julio Rosario                 $11.00   58.12   $   8.60          $    99.64   $     99.64
   6/3/2018 Julio Rosario                 $11.00   48.07   $   8.60          $    44.37   $     44.37
  6/10/2018 Julio Rosario                 $11.00   58.13   $   8.60          $    99.73   $     99.73
  6/17/2018 Julio Rosario                 $11.00   58.08   $   8.60          $    99.46   $     99.46
  6/24/2018 Julio Rosario                 $11.00   58.15   $   8.60          $    99.83   $     99.83
   7/1/2018 Julio Rosario                 $11.00   58.03   $   8.60          $    99.18   $     99.18
   7/8/2018 Julio Rosario                 $11.00   58.03   $   8.60          $    99.18   $     99.18
  7/15/2018 Julio Rosario                 $11.00   57.88   $   8.60          $    98.36   $     98.36
  7/22/2018 Julio Rosario                 $11.00   58.05   $   8.60          $    99.28   $     99.28
  7/29/2018 Julio Rosario                 $11.00   58.08   $   8.60          $    99.46   $     99.46
   8/5/2018 Julio Rosario                 $11.00   58.00   $   8.60          $    99.00   $     99.00
  8/12/2018 Julio Rosario                 $11.00   49.95   $   8.60          $    54.73   $     54.73
  8/19/2018 Julio Rosario                 $11.00   48.07   $   8.60          $    44.37   $     44.37
  8/26/2018 Julio Rosario                 $11.00   58.08   $   8.60          $    99.46   $     99.46
   9/2/2018 Julio Rosario                 $11.00   58.15   $   8.60          $    99.83   $     99.83
   9/9/2018 Julio Rosario                 $11.00   48.12   $   8.60          $    44.64   $     44.64
  9/16/2018 Julio Rosario                 $11.00   58.17   $   8.60          $    99.92   $     99.92



                                            410
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 412 of 683 PageID: 1259
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

  9/23/2018 Julio Rosario                 $11.00   58.13   $    8.60         $    99.73   $     99.73
  9/30/2018 Julio Rosario                 $11.00   58.10   $    8.60         $    99.55   $     99.55
  10/7/2018 Julio Rosario                 $11.00   58.13   $    8.60         $    99.73   $     99.73
 10/14/2018 Julio Rosario                 $11.00   57.52   $    8.60         $    96.34   $     96.34
 10/21/2018 Julio Rosario                 $11.00   58.03   $    8.60         $    99.18   $     99.18
 10/28/2018 Julio Rosario                 $11.00   57.37   $    8.60         $    95.52   $     95.52
  11/4/2018 Julio Rosario                 $11.00   40.10   $    8.60         $     0.55   $      0.55
 11/11/2018 Julio Rosario                 $11.00   49.88   $    8.60         $    54.36   $     54.36
 11/18/2018 Julio Rosario                 $11.00   50.08   $    8.60         $    55.46   $     55.46
  12/2/2018 Julio Rosario                 $11.00   48.37   $    8.60         $    46.02   $     46.02
  12/9/2018 Julio Rosario                 $11.00   57.97   $    8.60         $    98.82   $     98.82
 12/16/2018 Julio Rosario                 $11.00   58.03   $    8.60         $    99.18   $     99.18
 12/23/2018 Julio Rosario                 $11.00   58.62   $    8.60         $   102.39   $    102.39
 12/30/2018 Julio Rosario                 $11.00   48.68   $    8.60         $    47.76   $     47.76
   1/6/2019 Julio Rosario                 $11.00   47.60   $    8.85         $    41.80   $     41.80
  1/13/2019 Julio Rosario                 $11.00   58.88   $    8.85         $   103.86   $    103.86
  1/20/2019 Julio Rosario                 $11.00   57.92   $    8.85         $    98.54   $     98.54
  1/27/2019 Julio Rosario                 $11.00   58.03   $    8.85         $    99.18   $     99.18
   2/3/2019 Julio Rosario                 $11.00   58.73   $    8.85         $   103.03   $    103.03
  2/10/2019 Julio Rosario                 $11.00   58.77   $    8.85         $   103.22   $    103.22
  2/17/2019 Julio Rosario                 $11.00   59.18   $    8.85         $   105.51   $    105.51
  2/24/2019 Julio Rosario                 $11.00   59.88   $    8.85         $   109.36   $    109.36
   3/3/2019 Julio Rosario                 $11.00   58.82   $    8.85         $   103.49   $    103.49
  3/10/2019 Julio Rosario                 $11.00   59.15   $    8.85         $   105.33   $    105.33
  3/17/2019 Julio Rosario                 $11.00   59.20   $    8.85         $   105.60   $    105.60
  3/24/2019 Julio Rosario                 $11.00   58.82   $    8.85         $   103.49   $    103.49
  3/31/2019 Julio Rosario                 $11.00   58.63   $    8.85         $   102.48   $    102.48
   4/7/2019 Julio Rosario                 $11.00   58.82   $    8.85         $   103.49   $    103.49
  4/14/2019 Julio Rosario                 $11.00   59.33   $    8.85         $   106.33   $    106.33
  4/21/2019 Julio Rosario                 $11.00   59.07   $    8.85         $   104.87   $    104.87
  4/28/2019 Julio Rosario                 $11.00   58.98   $    8.85         $   104.41   $    104.41
   5/5/2019 Julio Rosario                 $11.00   58.68   $    8.85         $   102.76   $    102.76
  5/12/2019 Julio Rosario                 $11.00   58.72   $    8.85         $   102.94   $    102.94
  5/19/2019 Julio Rosario                 $11.00   58.68   $    8.85         $   102.76   $    102.76
  5/26/2019 Julio Rosario                 $11.00   58.75   $    8.85         $   103.13   $    103.13
   6/9/2019 Julio Rosario                 $11.00   50.75   $    8.85         $    59.13   $     59.13
  6/16/2019 Julio Rosario                 $11.00   58.72   $    8.85         $   102.94   $    102.94
  6/23/2019 Julio Rosario                 $11.00   59.02   $    8.85         $   104.59   $    104.59
  6/30/2019 Julio Rosario                 $11.00   58.97   $   10.00         $   104.32   $    104.32
   7/7/2019 Julio Rosario                 $12.00   49.10   $   10.00         $    54.60   $     54.60
  7/14/2019 Julio Rosario                 $12.00   53.23   $   10.00         $    79.40   $     79.40
  7/21/2019 Julio Rosario                 $12.00   59.17   $   10.00         $   115.00   $    115.00
  7/28/2019 Julio Rosario                 $12.00   60.27   $   10.00         $   121.60   $    121.60
   8/4/2019 Julio Rosario                 $12.00   51.63   $   10.00         $    69.80   $     69.80
  8/11/2019 Julio Rosario                 $12.00   59.78   $   10.00         $   118.70   $    118.70
  8/18/2019 Julio Rosario                 $12.00   59.43   $   10.00         $   116.60   $    116.60
  8/25/2019 Julio Rosario                 $12.00   50.98   $   10.00         $    65.90   $     65.90
   9/1/2019 Julio Rosario                 $12.00   50.83   $   10.00         $    65.00   $     65.00
   9/8/2019 Julio Rosario                 $12.00   48.57   $   10.00         $    51.40   $     51.40
  9/15/2019 Julio Rosario                 $12.00   58.78   $   10.00         $   112.70   $    112.70



                                            411
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 413 of 683 PageID: 1260
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  9/22/2019 Julio Rosario                   $12.00   58.63   $   10.00         $   111.80   $    111.80
  9/29/2019 Julio Rosario                   $12.00   56.33   $   10.00         $    98.00   $     98.00
  10/6/2019 Julio Rosario                   $12.00   58.93   $   10.00         $   113.60   $    113.60
 10/13/2019 Julio Rosario                   $12.00   59.38   $   10.00         $   116.30   $    116.30
 10/20/2019 Julio Rosario                   $12.00   54.38   $   10.00         $    86.30   $     86.30
 10/27/2019 Julio Rosario                   $12.00   58.88   $   10.00         $   113.30   $    113.30
  11/3/2019 Julio Rosario                   $12.00   59.13   $   10.00         $   114.80   $    114.80
 11/10/2019 Julio Rosario                   $12.00   49.15   $   10.00         $    54.90   $     54.90
 11/17/2019 Julio Rosario                   $12.00   58.83   $   10.00         $   113.00   $    113.00
 11/24/2019 Julio Rosario                   $12.00   59.27   $   10.00         $   115.60   $    115.60
  12/1/2019 Julio Rosario                   $12.00   49.15   $   10.00         $    54.90   $     54.90
  12/8/2019 Julio Rosario                   $12.00   59.27   $   10.00         $   115.60   $    115.60
 12/15/2019 Julio Rosario                   $12.00   59.35   $   10.00         $   116.10   $    116.10
 12/22/2019 Julio Rosario                   $12.00   59.05   $   10.00         $   114.30   $    114.30
 12/29/2019 Julio Rosario                   $12.00   49.03   $   10.00         $    54.20   $     54.20
   1/5/2020 Julio Rosario                   $12.00   49.32   $   11.00         $    55.90   $     55.90
  1/12/2020 Julio Rosario                   $12.00   59.03   $   11.00         $   114.20   $    114.20
  1/19/2020 Julio Rosario                   $12.00   55.98   $   11.00         $    95.90   $     95.90
  1/26/2020 Julio Rosario                   $12.00   58.03   $   11.00         $   108.20   $    108.20
   2/5/2017 Julio Serverino                 $10.50   56.80   $    8.44         $    88.20   $     88.20
  2/12/2017 Julio Serverino                 $10.50   60.98   $    8.44         $   110.16   $    110.16
  2/19/2017 Julio Serverino                 $10.50   55.63   $    8.44         $    82.08   $     82.08
  2/26/2017 Julio Serverino                 $10.50   65.40   $    8.44         $   133.35   $    133.35
   3/5/2017 Julio Serverino                 $10.50   63.77   $    8.44         $   124.78   $    124.78
  3/12/2017 Julio Serverino                 $10.50   70.02   $    8.44         $   157.59   $    157.59
  3/19/2017 Julio Serverino                 $10.50   53.47   $    8.44         $    70.70   $     70.70
  3/26/2017 Julio Serverino                 $10.50   64.48   $    8.44         $   128.54   $    128.54
   4/2/2017 Julio Serverino                 $10.50   73.78   $    8.44         $   177.36   $    177.36
   4/9/2017 Julio Serverino                 $10.50   59.50   $    8.44         $   102.38   $    102.38
  4/16/2017 Julio Serverino                 $10.50   59.72   $    8.44         $   103.51   $    103.51
  4/23/2017 Julio Serverino                 $10.50   68.93   $    8.44         $   151.90   $    151.90
  4/30/2017 Julio Serverino                 $10.50   71.73   $    8.44         $   166.60   $    166.60
   5/7/2017 Julio Serverino                 $10.50   65.05   $    8.44         $   131.51   $    131.51
  5/14/2017 Julio Serverino                 $10.50   70.58   $    8.44         $   160.56   $    160.56
  5/21/2017 Julio Serverino                 $10.50   76.10   $    8.44         $   189.53   $    189.53
  5/28/2017 Julio Serverino                 $10.50   73.92   $    8.44         $   178.06   $    178.06
   6/4/2017 Julio Serverino                 $10.50   46.63   $    8.44         $    34.83   $     34.83
  6/11/2017 Julio Serverino                 $10.50   62.88   $    8.44         $   120.14   $    120.14
  6/18/2017 Julio Serverino                 $10.50   67.35   $    8.44         $   143.59   $    143.59
  6/25/2017 Julio Serverino                 $10.50   71.73   $    8.44         $   166.60   $    166.60
   7/2/2017 Julio Serverino                 $10.50   76.12   $    8.44         $   189.61   $    189.61
   7/9/2017 Julio Serverino                 $10.50   40.07   $    8.44         $     0.35   $      0.35
  7/16/2017 Julio Serverino                 $10.50   61.80   $    8.44         $   114.45   $    114.45
  7/23/2017 Julio Serverino                 $10.50   66.93   $    8.44         $   141.40   $    141.40
  7/30/2017 Julio Serverino                 $10.50   73.82   $    8.44         $   177.54   $    177.54
   8/6/2017 Julio Serverino                 $10.50   49.93   $    8.44         $    52.15   $     52.15
  8/13/2017 Julio Serverino                 $10.50   60.40   $    8.44         $   107.10   $    107.10
  8/20/2017 Julio Serverino                 $10.50   69.27   $    8.44         $   153.65   $    153.65
  8/27/2017 Julio Serverino                 $10.50   65.90   $    8.44         $   135.98   $    135.98
   9/3/2017 Julio Serverino                 $10.50   71.18   $    8.44         $   163.71   $    163.71



                                              412
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 414 of 683 PageID: 1261
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  9/10/2017 Julio Serverino                 $10.50   57.28   $    8.44         $    90.74   $     90.74
  9/17/2017 Julio Serverino                 $10.50   70.63   $    8.44         $   160.83   $    160.83
  9/24/2017 Julio Serverino                 $10.50   63.20   $    8.44         $   121.80   $    121.80
  10/1/2017 Julio Serverino                 $10.50   62.82   $    8.44         $   119.79   $    119.79
  10/8/2017 Julio Serverino                 $10.50   61.87   $    8.44         $   114.80   $    114.80
 10/15/2017 Julio Serverino                 $10.50   60.12   $    8.44         $   105.61   $    105.61
 10/22/2017 Julio Serverino                 $10.50   68.05   $    8.44         $   147.26   $    147.26
 10/29/2017 Julio Serverino                 $10.50   65.25   $    8.44         $   132.56   $    132.56
  11/5/2017 Julio Serverino                 $10.50   67.05   $    8.44         $   142.01   $    142.01
 11/12/2017 Julio Serverino                 $10.50   69.67   $    8.44         $   155.75   $    155.75
 11/19/2017 Julio Serverino                 $10.50   67.58   $    8.44         $   144.81   $    144.81
 11/26/2017 Julio Serverino                 $10.50   50.12   $    8.44         $    53.11   $     53.11
  12/3/2017 Julio Serverino                 $10.50   60.30   $    8.44         $   106.58   $    106.58
 12/17/2017 Julio Serverino                 $10.50   73.83   $    8.44         $   177.63   $    177.63
 12/24/2017 Julio Serverino                 $10.50   63.52   $    8.44         $   123.46   $    123.46
 12/31/2017 Julio Serverino                 $10.50   58.37   $    8.44         $    96.43   $     96.43
  1/14/2018 Julio Serverino                 $10.50   57.62   $    8.60         $    92.49   $     92.49
  1/21/2018 Julio Serverino                 $10.50   63.57   $    8.60         $   123.73   $    123.73
  1/28/2018 Julio Serverino                 $10.50   61.87   $    8.60         $   114.80   $    114.80
   2/4/2018 Julio Serverino                 $10.50   58.92   $    8.60         $    99.31   $     99.31
  2/11/2018 Julio Serverino                 $10.50   63.38   $    8.60         $   122.76   $    122.76
  2/18/2018 Julio Serverino                 $10.50   60.43   $    8.60         $   107.28   $    107.28
  2/25/2018 Julio Serverino                 $10.50   61.57   $    8.60         $   113.23   $    113.23
   3/4/2018 Julio Serverino                 $10.50   57.68   $    8.60         $    92.84   $     92.84
  3/25/2018 Julio Serverino                 $10.50   60.27   $    8.60         $   106.40   $    106.40
   4/1/2018 Julio Serverino                 $10.50   55.12   $    8.60         $    79.36   $     79.36
   4/8/2018 Julio Serverino                 $10.50   56.18   $    8.60         $    84.96   $     84.96
  4/15/2018 Julio Serverino                 $10.50   58.10   $    8.60         $    95.03   $     95.03
  4/22/2018 Julio Serverino                 $10.50   58.02   $    8.60         $    94.59   $     94.59
  4/29/2018 Julio Serverino                 $10.50   66.08   $    8.60         $   136.94   $    136.94
   5/6/2018 Julio Serverino                 $10.50   61.27   $    8.60         $   111.65   $    111.65
  5/13/2018 Julio Serverino                 $10.50   65.47   $    8.60         $   133.70   $    133.70
  5/20/2018 Julio Serverino                 $10.50   64.02   $    8.60         $   126.09   $    126.09
  5/27/2018 Julio Serverino                 $10.50   59.22   $    8.60         $   100.89   $    100.89
   6/3/2018 Julio Serverino                 $10.50   58.75   $    8.60         $    98.44   $     98.44
  6/10/2018 Julio Serverino                 $10.50   55.87   $    8.60         $    83.30   $     83.30
  6/17/2018 Julio Serverino                 $10.50   58.73   $    8.60         $    98.35   $     98.35
  6/24/2018 Julio Serverino                 $10.50   62.15   $    8.60         $   116.29   $    116.29
  9/22/2019 Julio Severino                  $11.00   59.05   $   10.00         $   104.78   $    104.78
  9/29/2019 Julio Severino                  $11.00   64.07   $   10.00         $   132.37   $    132.37
  10/6/2019 Julio Severino                  $11.00   59.97   $   10.00         $   109.82   $    109.82
 10/13/2019 Julio Severino                  $11.00   55.43   $   10.00         $    84.88   $     84.88
 10/20/2019 Julio Severino                  $11.00   53.07   $   10.00         $    71.87   $     71.87
 10/27/2019 Julio Severino                  $11.00   55.90   $   10.00         $    87.45   $     87.45
  11/3/2019 Julio Severino                  $11.00   65.48   $   10.00         $   140.16   $    140.16
 11/10/2019 Julio Severino                  $11.00   58.92   $   10.00         $   104.04   $    104.04
 11/17/2019 Julio Severino                  $11.00   59.27   $   10.00         $   105.97   $    105.97
 11/24/2019 Julio Severino                  $11.00   60.10   $   10.00         $   110.55   $    110.55
  12/1/2019 Julio Severino                  $11.00   47.18   $   10.00         $    39.51   $     39.51
  12/8/2019 Julio Severino                  $11.00   61.37   $   10.00         $   117.52   $    117.52



                                              413
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 415 of 683 PageID: 1262
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                        Name                          Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

 12/15/2019 Julio Severino                      $11.00   60.83   $   10.00         $   114.58   $    114.58
 12/22/2019 Julio Severino                      $11.00   62.95   $   10.00         $   126.23   $    126.23
 12/29/2019 Julio Severino                      $11.00   45.18   $   10.00         $    28.51   $     28.51
   1/5/2020 Julio Severino                      $11.00   42.65   $   11.00         $    14.58   $     14.58
  1/12/2020 Julio Severino                      $11.00   40.95   $   11.00         $     5.22   $      5.22
  1/19/2020 Julio Severino                      $11.00   42.20   $   11.00         $    12.10   $     12.10
  1/26/2020 Julio Severino                      $11.00   49.75   $   11.00         $    53.63   $     53.63
  12/8/2019 Julio Torres Ponce                  $10.00   56.97   $   10.00         $    84.83   $     84.83
 12/15/2019 Julio Torres Ponce                  $10.00   55.95   $   10.00         $    79.75   $     79.75
 12/22/2019 Julio Torres Ponce                  $10.00   58.00   $   10.00         $    90.00   $     90.00
 12/29/2019 Julio Torres Ponce                  $10.00   45.20   $   10.00         $    26.00   $     26.00
   9/9/2018 Junior Cabreja - Contreras          $10.50   48.85   $    8.60         $    46.46   $     46.46
  9/16/2018 Junior Cabreja - Contreras          $10.50   63.03   $    8.60         $   120.93   $    120.93
  9/23/2018 Junior Cabreja - Contreras          $10.50   57.62   $    8.60         $    92.49   $     92.49
  9/30/2018 Junior Cabreja - Contreras          $10.50   64.43   $    8.60         $   128.28   $    128.28
  10/7/2018 Junior Cabreja - Contreras          $10.50   50.45   $    8.60         $    54.86   $     54.86
 10/14/2018 Junior Cabreja - Contreras          $10.50   63.20   $    8.60         $   121.80   $    121.80
 10/21/2018 Junior Cabreja - Contreras          $10.50   54.75   $    8.60         $    77.44   $     77.44
 10/28/2018 Junior Cabreja - Contreras          $10.50   54.65   $    8.60         $    76.91   $     76.91
  11/4/2018 Junior Cabreja - Contreras          $10.50   46.22   $    8.60         $    32.64   $     32.64
 11/11/2018 Junior Cabreja - Contreras          $10.50   59.70   $    8.60         $   103.43   $    103.43
 11/18/2018 Junior Cabreja - Contreras          $10.50   54.22   $    8.60         $    74.64   $     74.64
 11/25/2018 Junior Cabreja - Contreras          $10.50   55.18   $    8.60         $    79.71   $     79.71
  12/2/2018 Junior Cabreja - Contreras          $10.50   66.00   $    8.60         $   136.50   $    136.50
  12/9/2018 Junior Cabreja - Contreras          $10.50   60.18   $    8.60         $   105.96   $    105.96
 12/16/2018 Junior Cabreja - Contreras          $10.50   62.77   $    8.60         $   119.53   $    119.53
 12/23/2018 Junior Cabreja - Contreras          $10.50   70.67   $    8.60         $   161.00   $    161.00
 12/30/2018 Junior Cabreja - Contreras          $10.50   50.00   $    8.60         $    52.50   $     52.50
   1/6/2019 Junior Cabreja - Contreras          $10.50   46.98   $    8.85         $    36.66   $     36.66
  1/13/2019 Junior Cabreja - Contreras          $10.50   54.32   $    8.85         $    75.16   $     75.16
  1/20/2019 Junior Cabreja - Contreras          $10.50   62.08   $    8.85         $   115.94   $    115.94
  1/27/2019 Junior Cabreja - Contreras          $10.50   53.50   $    8.85         $    70.88   $     70.88
   2/3/2019 Junior Cabreja - Contreras          $10.50   63.33   $    8.85         $   122.50   $    122.50
  2/10/2019 Junior Cabreja - Contreras          $10.50   42.52   $    8.85         $    13.21   $     13.21
  2/17/2019 Junior Cabreja - Contreras          $10.50   57.85   $    8.85         $    93.71   $     93.71
  2/24/2019 Junior Cabreja - Contreras          $10.50   78.48   $    8.85         $   202.04   $    202.04
   3/3/2019 Junior Cabreja - Contreras          $10.50   78.00   $    8.85         $   199.50   $    199.50
  3/10/2019 Junior Cabreja - Contreras          $10.50   76.57   $    8.85         $   191.98   $    191.98
  3/17/2019 Junior Cabreja - Contreras          $10.50   75.32   $    8.85         $   185.41   $    185.41
  3/24/2019 Junior Cabreja - Contreras          $10.50   74.32   $    8.85         $   180.16   $    180.16
  3/31/2019 Junior Cabreja - Contreras          $10.50   53.88   $    8.85         $    72.89   $     72.89
   4/7/2019 Junior Cabreja - Contreras          $10.50   76.17   $    8.85         $   189.88   $    189.88
  4/14/2019 Junior Cabreja - Contreras          $10.50   62.92   $    8.85         $   120.31   $    120.31
  4/28/2019 Junior Cabreja - Contreras          $10.50   58.00   $    8.85         $    94.50   $     94.50
   5/5/2019 Junior Cabreja - Contreras          $10.50   50.65   $    8.85         $    55.91   $     55.91
  5/12/2019 Junior Cabreja - Contreras          $10.50   69.00   $    8.85         $   152.25   $    152.25
  5/19/2019 Junior Cabreja - Contreras          $10.50   62.85   $    8.85         $   119.96   $    119.96
  5/26/2019 Junior Cabreja - Contreras          $10.50   62.38   $    8.85         $   117.51   $    117.51
   6/2/2019 Junior Cabreja - Contreras          $10.50   52.65   $    8.85         $    66.41   $     66.41
   6/9/2019 Junior Cabreja - Contreras          $10.50   57.82   $    8.85         $    93.54   $     93.54



                                                  414
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 416 of 683 PageID: 1263
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                        Name                          Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

  6/16/2019 Junior Cabreja - Contreras          $10.50   59.12   $    8.85         $   100.36   $    100.36
  6/23/2019 Junior Cabreja - Contreras          $10.50   65.85   $    8.85         $   135.71   $    135.71
  6/30/2019 Junior Cabreja - Contreras          $10.50   49.62   $   10.00         $    50.49   $     50.49
   2/5/2017 Junior Marrero                       $8.50   59.73   $    8.44         $    83.87   $     83.87
  2/12/2017 Junior Marrero                       $8.50   47.12   $    8.44         $    30.25   $     30.25
  2/19/2017 Junior Marrero                       $8.50   59.20   $    8.44         $    81.60   $     81.60
  2/26/2017 Junior Marrero                       $8.50   59.87   $    8.44         $    84.43   $     84.43
   3/5/2017 Junior Marrero                       $8.50   60.05   $    8.44         $    85.21   $     85.21
  3/12/2017 Junior Marrero                       $8.50   58.07   $    8.44         $    76.78   $     76.78
  11/3/2019 Justin Martinez Sandford            $10.00   40.52   $   10.00         $     2.58   $      2.58
 11/10/2019 Justin Martinez Sandford            $10.00   41.68   $   10.00         $     8.42   $      8.42
 11/17/2019 Justin Martinez Sandford            $10.00   41.88   $   10.00         $     9.42   $      9.42
  7/29/2018 Justo Navarro                        $9.50   55.62   $    8.60         $    74.18   $     74.18
  8/19/2018 Justo Navarro                       $10.00   49.43   $    8.60         $    47.17   $     47.17
  8/26/2018 Justo Navarro                       $10.00   58.13   $    8.60         $    90.67   $     90.67
   9/2/2018 Justo Navarro                       $10.00   45.08   $    8.60         $    25.42   $     25.42
   9/9/2018 Justo Navarro                       $10.00   46.60   $    8.60         $    33.00   $     33.00
  9/16/2018 Justo Navarro                       $10.00   47.82   $    8.60         $    39.08   $     39.08
  9/23/2018 Justo Navarro                       $10.00   40.15   $    8.60         $     0.75   $      0.75
  10/7/2018 Justo Navarro                       $10.00   57.28   $    8.60         $    86.42   $     86.42
 10/21/2018 Justo Navarro                       $10.00   46.18   $    8.60         $    30.92   $     30.92
 10/28/2018 Justo Navarro                       $10.00   50.93   $    8.60         $    54.67   $     54.67
  11/4/2018 Justo Navarro                       $10.00   50.32   $    8.60         $    51.58   $     51.58
 11/11/2018 Justo Navarro                       $10.00   60.07   $    8.60         $   100.33   $    100.33
 11/25/2018 Justo Navarro                       $10.00   47.00   $    8.60         $    35.00   $     35.00
  12/2/2018 Justo Navarro                       $10.00   54.53   $    8.60         $    72.67   $     72.67
  12/9/2018 Justo Navarro                       $10.00   62.97   $    8.60         $   114.83   $    114.83
 12/23/2018 Justo Navarro                       $10.00   55.28   $    8.60         $    76.42   $     76.42
  1/13/2019 Justo Navarro                       $10.00   56.25   $    8.85         $    81.25   $     81.25
  1/20/2019 Justo Navarro                       $10.00   64.10   $    8.85         $   120.50   $    120.50
  1/27/2019 Justo Navarro                       $10.00   49.42   $    8.85         $    47.08   $     47.08
   2/3/2019 Justo Navarro                       $10.00   57.62   $    8.85         $    88.08   $     88.08
  2/10/2019 Justo Navarro                       $10.00   40.33   $    8.85         $     1.67   $      1.67
  2/17/2019 Justo Navarro                       $10.00   58.90   $    8.85         $    94.50   $     94.50
  3/17/2019 Justo Navarro                       $10.00   61.47   $    8.85         $   107.33   $    107.33
  3/24/2019 Justo Navarro                       $10.00   53.18   $    8.85         $    65.92   $     65.92
  3/31/2019 Justo Navarro                       $10.00   65.27   $    8.85         $   126.33   $    126.33
  4/14/2019 Justo Navarro                       $10.00   55.72   $    8.85         $    78.58   $     78.58
  8/18/2019 Justo Navarro                       $10.00   62.77   $   10.00         $   113.83   $    113.83
  8/25/2019 Justo Navarro                       $10.00   61.05   $   10.00         $   105.25   $    105.25
   9/1/2019 Justo Navarro                       $10.00   59.97   $   10.00         $    99.83   $     99.83
   9/8/2019 Justo Navarro                       $10.00   58.60   $   10.00         $    93.00   $     93.00
  9/15/2019 Justo Navarro                       $10.00   58.18   $   10.00         $    90.92   $     90.92
  9/29/2019 Justo Navarro                       $10.00   71.28   $   10.00         $   156.42   $    156.42
  10/6/2019 Justo Navarro                       $10.00   71.65   $   10.00         $   158.25   $    158.25
 10/13/2019 Justo Navarro                       $10.00   70.53   $   10.00         $   152.67   $    152.67
 10/20/2019 Justo Navarro                       $10.00   60.62   $   10.00         $   103.08   $    103.08
 10/27/2019 Justo Navarro                       $10.00   40.02   $   10.00         $     0.08   $      0.08
  11/3/2019 Justo Navarro                       $10.00   49.95   $   10.00         $    49.75   $     49.75
 11/10/2019 Justo Navarro                       $10.00   50.65   $   10.00         $    53.25   $     53.25



                                                  415
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 417 of 683 PageID: 1264
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

 11/17/2019 Justo Navarro                   $10.00   61.68   $   10.00         $   108.42   $    108.42
  12/1/2019 Justo Navarro                   $10.00   45.57   $   10.00         $    27.83   $     27.83
   2/5/2017 Keith Davis                     $11.50   76.18   $    8.44         $   208.05   $    208.05
  2/12/2017 Keith Davis                     $11.50   74.38   $    8.44         $   197.70   $    197.70
  2/19/2017 Keith Davis                     $11.50   77.72   $    8.44         $   216.87   $    216.87
  2/26/2017 Keith Davis                     $11.50   78.17   $    8.44         $   219.46   $    219.46
   3/5/2017 Keith Davis                     $11.50   76.92   $    8.44         $   212.27   $    212.27
  3/12/2017 Keith Davis                     $11.50   77.28   $    8.44         $   214.38   $    214.38
  3/19/2017 Keith Davis                     $11.50   64.57   $    8.44         $   141.26   $    141.26
  3/26/2017 Keith Davis                     $11.50   77.52   $    8.44         $   215.72   $    215.72
   4/2/2017 Keith Davis                     $11.50   77.48   $    8.44         $   215.53   $    215.53
   4/9/2017 Keith Davis                     $11.50   78.37   $    8.44         $   220.61   $    220.61
  4/16/2017 Keith Davis                     $11.50   80.23   $    8.44         $   231.34   $    231.34
  4/23/2017 Keith Davis                     $11.50   77.38   $    8.44         $   214.95   $    214.95
  4/30/2017 Keith Davis                     $11.50   78.38   $    8.44         $   220.70   $    220.70
   5/7/2017 Keith Davis                     $11.50   78.63   $    8.44         $   222.14   $    222.14
  5/14/2017 Keith Davis                     $11.50   79.63   $    8.44         $   227.89   $    227.89
  5/21/2017 Keith Davis                     $11.50   80.37   $    8.44         $   232.11   $    232.11
  5/28/2017 Keith Davis                     $11.50   78.62   $    8.44         $   222.05   $    222.05
   6/4/2017 Keith Davis                     $11.50   76.22   $    8.44         $   208.25   $    208.25
  6/11/2017 Keith Davis                     $11.50   79.08   $    8.44         $   224.73   $    224.73
  6/18/2017 Keith Davis                     $11.50   78.13   $    8.44         $   219.27   $    219.27
  6/25/2017 Keith Davis                     $11.50   78.77   $    8.44         $   222.91   $    222.91
   7/2/2017 Keith Davis                     $11.50   79.35   $    8.44         $   226.26   $    226.26
   7/9/2017 Keith Davis                     $11.50   75.90   $    8.44         $   206.43   $    206.43
  7/16/2017 Keith Davis                     $11.50   77.02   $    8.44         $   212.85   $    212.85
  7/23/2017 Keith Davis                     $11.50   77.05   $    8.44         $   213.04   $    213.04
  7/30/2017 Keith Davis                     $11.50   76.55   $    8.44         $   210.16   $    210.16
   8/6/2017 Keith Davis                     $11.50   63.72   $    8.44         $   136.37   $    136.37
  8/13/2017 Keith Davis                     $11.50   73.28   $    8.44         $   191.38   $    191.38
  8/20/2017 Keith Davis                     $11.50   75.60   $    8.44         $   204.70   $    204.70
  8/27/2017 Keith Davis                     $11.50   75.03   $    8.44         $   201.44   $    201.44
   9/3/2017 Keith Davis                     $11.50   73.65   $    8.44         $   193.49   $    193.49
  9/10/2017 Keith Davis                     $11.50   75.30   $    8.44         $   202.98   $    202.98
  9/17/2017 Keith Davis                     $11.50   77.90   $    8.44         $   217.93   $    217.93
  9/24/2017 Keith Davis                     $11.50   71.17   $    8.44         $   179.21   $    179.21
  10/1/2017 Keith Davis                     $11.50   76.77   $    8.44         $   211.41   $    211.41
  10/8/2017 Keith Davis                     $11.50   76.47   $    8.44         $   209.68   $    209.68
 10/15/2017 Keith Davis                     $11.50   77.15   $    8.44         $   213.61   $    213.61
  7/29/2018 Keivi Hernandez                 $10.00   58.00   $    8.60         $    90.00   $     90.00
   8/5/2018 Keivi Hernandez                 $10.00   57.98   $    8.60         $    89.92   $     89.92
  8/12/2018 Keivi Hernandez                 $10.00   49.87   $    8.60         $    49.33   $     49.33
  8/19/2018 Keivi Hernandez                 $10.00   48.00   $    8.60         $    40.00   $     40.00
  8/26/2018 Keivi Hernandez                 $10.00   48.00   $    8.60         $    40.00   $     40.00
   9/2/2018 Keivi Hernandez                 $10.00   58.00   $    8.60         $    90.00   $     90.00
   9/9/2018 Keivi Hernandez                 $10.00   48.00   $    8.60         $    40.00   $     40.00
  9/16/2018 Keivi Hernandez                 $10.00   58.12   $    8.60         $    90.58   $     90.58
  9/23/2018 Keivi Hernandez                 $10.00   58.05   $    8.60         $    90.25   $     90.25
  9/30/2018 Keivi Hernandez                 $10.00   58.12   $    8.60         $    90.58   $     90.58
  10/7/2018 Keivi Hernandez                 $10.00   58.12   $    8.60         $    90.58   $     90.58



                                              416
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 418 of 683 PageID: 1265
                                                  Exhibit 2
                                          New Jersey Computations


   Week                                                          State Section 7: Section 7: Total Section 7
                                                 Hourly Hours/
  Ending                           Name                        Minumum Regular    Half-Time Overtime Back
                                                  Rate Week
   Date                                                          Wage  Rate Due     Due       Wages Due

 10/14/2018 Keivi Hernandez                      $10.00   57.48   $    8.60               $    87.42   $    87.42
 10/21/2018 Keivi Hernandez                      $10.00   58.08   $    8.60               $    90.42   $    90.42
 10/28/2018 Keivi Hernandez                      $10.00   57.37   $    8.60               $    86.83   $    86.83
  11/4/2018 Keivi Hernandez                      $10.00   40.02   $    8.60               $     0.08   $     0.08
 11/11/2018 Keivi Hernandez                      $10.00   49.75   $    8.60               $    48.75   $    48.75
 11/18/2018 Keivi Hernandez                      $10.00   50.07   $    8.60               $    50.33   $    50.33
  12/2/2018 Keivi Hernandez                      $10.00   57.27   $    8.60               $    86.33   $    86.33
  12/9/2018 Keivi Hernandez                      $10.00   48.02   $    8.60               $    40.08   $    40.08
 12/16/2018 Keivi Hernandez                      $10.00   52.18   $    8.60               $    60.92   $    60.92
 12/23/2018 Keivi Hernandez                      $10.00   58.82   $    8.60               $    94.08   $    94.08
  5/26/2019 Keivi Hernandez                      $10.00   50.48   $    8.85               $    52.42   $    52.42
   6/2/2019 Keivi Hernandez                      $10.00   48.73   $    8.85               $    43.67   $    43.67
   6/9/2019 Keivi Hernandez                      $10.00   58.92   $    8.85               $    94.58   $    94.58
  6/16/2019 Keivi Hernandez                      $10.00   58.80   $    8.85               $    94.00   $    94.00
  6/30/2019 Keivi Hernandez                      $10.00   58.93   $   10.00               $    94.67   $    94.67
   7/7/2019 Keivi Hernandez                      $11.00   49.05   $   10.00               $    49.78   $    49.78
  7/14/2019 Keivi Hernandez                      $11.00   59.20   $   10.00               $   105.60   $   105.60
  7/21/2019 Keivi Hernandez                      $11.00   59.15   $   10.00               $   105.33   $   105.33
  7/28/2019 Keivi Hernandez                      $11.00   60.28   $   10.00               $   111.56   $   111.56
   8/4/2019 Keivi Hernandez                      $11.00   51.75   $   10.00               $    64.63   $    64.63
  8/11/2019 Keivi Hernandez                      $11.00   59.95   $   10.00               $   109.73   $   109.73
  8/18/2019 Keivi Hernandez                      $11.00   49.42   $   10.00               $    51.79   $    51.79
  8/25/2019 Keivi Hernandez                      $11.00   51.03   $   10.00               $    60.68   $    60.68
   9/1/2019 Keivi Hernandez                      $11.00   40.65   $   10.00               $     3.57   $     3.57
   9/8/2019 Keivi Hernandez                      $11.00   48.57   $   10.00               $    47.12   $    47.12
  9/15/2019 Keivi Hernandez                      $11.00   48.67   $   10.00               $    47.67   $    47.67
  9/22/2019 Keivi Hernandez                      $11.00   50.55   $   10.00               $    58.03   $    58.03
  9/29/2019 Keivi Hernandez                      $11.00   56.42   $   10.00               $    90.29   $    90.29
  10/6/2019 Keivi Hernandez                      $11.00   58.98   $   10.00               $   104.41   $   104.41
 10/13/2019 Keivi Hernandez                      $11.00   59.42   $   10.00               $   106.79   $   106.79
 10/20/2019 Keivi Hernandez                      $11.00   59.25   $   10.00               $   105.88   $   105.88
 10/27/2019 Keivi Hernandez                      $11.00   59.05   $   10.00               $   104.78   $   104.78
  11/3/2019 Keivi Hernandez                      $11.00   59.27   $   10.00               $   105.97   $   105.97
 11/10/2019 Keivi Hernandez                      $11.00   49.45   $   10.00               $    51.98   $    51.98
 11/17/2019 Keivi Hernandez                      $11.00   58.98   $   10.00               $   104.41   $   104.41
 11/24/2019 Keivi Hernandez                      $11.00   54.17   $   10.00               $    77.92   $    77.92
  12/1/2019 Keivi Hernandez                      $11.00   49.25   $   10.00               $    50.88   $    50.88
  12/8/2019 Keivi Hernandez                      $11.00   59.43   $   10.00               $   106.88   $   106.88
 12/15/2019 Keivi Hernandez                      $11.00   59.52   $   10.00               $   107.34   $   107.34
 12/22/2019 Keivi Hernandez                      $11.00   58.33   $   10.00               $   100.83   $   100.83
 12/29/2019 Keivi Hernandez                      $11.00   49.17   $   10.00               $    50.42   $    50.42
   1/5/2020 Keivi Hernandez                      $11.00   49.60   $   11.00               $    52.80   $    52.80
  1/12/2020 Keivi Hernandez                      $11.00   59.20   $   11.00               $   105.60   $   105.60
  1/19/2020 Keivi Hernandez                      $11.00   57.33   $   11.00               $    95.33   $    95.33
  1/26/2020 Keivi Hernandez                      $11.00   59.40   $   11.00               $   106.70   $   106.70
  7/21/2019 Kelvin David Rodario                  $9.50   54.78   $   10.00   $   27.39   $    73.92   $   101.31
  7/30/2017 Kelvin Diaz Medina                   $10.50   51.72   $    8.44               $    61.51   $    61.51
   8/6/2017 Kelvin Diaz Medina                   $10.50   61.30   $    8.44               $   111.83   $   111.83
  8/13/2017 Kelvin Diaz Medina                   $10.50   44.12   $    8.44               $    21.61   $    21.61
  8/20/2017 Kelvin Diaz Medina                   $10.50   54.52   $    8.44               $    76.21   $    76.21



                                                   417
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 419 of 683 PageID: 1266
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

  8/27/2017 Kelvin Diaz Medina                 $10.50   63.88   $   8.44          $   125.39   $    125.39
   9/3/2017 Kelvin Diaz Medina                 $10.50   67.92   $   8.44          $   146.56   $    146.56
  9/10/2017 Kelvin Diaz Medina                 $10.50   65.70   $   8.44          $   134.93   $    134.93
  9/17/2017 Kelvin Diaz Medina                 $10.50   62.03   $   8.44          $   115.68   $    115.68
  9/24/2017 Kelvin Diaz Medina                 $10.50   61.63   $   8.44          $   113.58   $    113.58
  10/1/2017 Kelvin Diaz Medina                 $10.50   62.27   $   8.44          $   116.90   $    116.90
  10/8/2017 Kelvin Diaz Medina                 $10.50   58.65   $   8.44          $    97.91   $     97.91
 10/15/2017 Kelvin Diaz Medina                 $10.50   50.52   $   8.44          $    55.21   $     55.21
 10/22/2017 Kelvin Diaz Medina                 $10.50   64.20   $   8.44          $   127.05   $    127.05
 10/29/2017 Kelvin Diaz Medina                 $10.50   61.85   $   8.44          $   114.71   $    114.71
  11/5/2017 Kelvin Diaz Medina                 $10.50   60.87   $   8.44          $   109.55   $    109.55
 11/12/2017 Kelvin Diaz Medina                 $10.50   57.78   $   8.44          $    93.36   $     93.36
 11/19/2017 Kelvin Diaz Medina                 $10.50   59.13   $   8.44          $   100.45   $    100.45
 11/26/2017 Kelvin Diaz Medina                 $10.50   48.52   $   8.44          $    44.71   $     44.71
  12/3/2017 Kelvin Diaz Medina                 $10.50   56.88   $   8.44          $    88.64   $     88.64
 12/10/2017 Kelvin Diaz Medina                 $10.50   59.47   $   8.44          $   102.20   $    102.20
 12/17/2017 Kelvin Diaz Medina                 $10.50   56.57   $   8.44          $    86.98   $     86.98
 12/24/2017 Kelvin Diaz Medina                 $10.50   55.55   $   8.44          $    81.64   $     81.64
 12/31/2017 Kelvin Diaz Medina                 $10.50   51.43   $   8.44          $    60.03   $     60.03
   1/7/2018 Kelvin Diaz Medina                 $10.50   45.00   $   8.60          $    26.25   $     26.25
  1/14/2018 Kelvin Diaz Medina                 $10.50   57.70   $   8.60          $    92.93   $     92.93
  1/21/2018 Kelvin Diaz Medina                 $10.50   60.48   $   8.60          $   107.54   $    107.54
  1/28/2018 Kelvin Diaz Medina                 $10.50   57.42   $   8.60          $    91.44   $     91.44
   2/4/2018 Kelvin Diaz Medina                 $10.50   51.38   $   8.60          $    59.76   $     59.76
  2/11/2018 Kelvin Diaz Medina                 $10.50   59.07   $   8.60          $   100.10   $    100.10
  2/18/2018 Kelvin Diaz Medina                 $10.50   54.00   $   8.60          $    73.50   $     73.50
  2/25/2018 Kelvin Diaz Medina                 $10.50   49.58   $   8.60          $    50.31   $     50.31
   3/4/2018 Kelvin Diaz Medina                 $10.50   52.65   $   8.60          $    66.41   $     66.41
  3/25/2018 Kelvin Diaz Medina                 $10.50   48.85   $   8.60          $    46.46   $     46.46
   4/1/2018 Kelvin Diaz Medina                 $10.50   60.55   $   8.60          $   107.89   $    107.89
   4/8/2018 Kelvin Diaz Medina                 $10.50   50.03   $   8.60          $    52.68   $     52.68
  4/15/2018 Kelvin Diaz Medina                 $10.50   58.75   $   8.60          $    98.44   $     98.44
  4/22/2018 Kelvin Diaz Medina                 $10.50   49.68   $   8.60          $    50.84   $     50.84
  4/29/2018 Kelvin Diaz Medina                 $10.50   49.62   $   8.60          $    50.49   $     50.49
   5/6/2018 Kelvin Diaz Medina                 $10.50   59.57   $   8.60          $   102.73   $    102.73
  5/13/2018 Kelvin Diaz Medina                 $10.50   53.17   $   8.60          $    69.13   $     69.13
  5/20/2018 Kelvin Diaz Medina                 $10.50   59.52   $   8.60          $   102.46   $    102.46
  5/27/2018 Kelvin Diaz Medina                 $10.50   59.52   $   8.60          $   102.46   $    102.46
   6/3/2018 Kelvin Diaz Medina                 $10.50   59.53   $   8.60          $   102.55   $    102.55
  6/10/2018 Kelvin Diaz Medina                 $10.50   59.62   $   8.60          $   102.99   $    102.99
  6/17/2018 Kelvin Diaz Medina                 $10.50   60.17   $   8.60          $   105.88   $    105.88
  6/24/2018 Kelvin Diaz Medina                 $10.50   60.28   $   8.60          $   106.49   $    106.49
   7/1/2018 Kelvin Diaz Medina                 $10.50   61.10   $   8.60          $   110.78   $    110.78
   7/8/2018 Kelvin Diaz Medina                 $10.50   58.52   $   8.60          $    97.21   $     97.21
  7/15/2018 Kelvin Diaz Medina                 $10.50   59.22   $   8.60          $   100.89   $    100.89
  7/22/2018 Kelvin Diaz Medina                 $10.50   51.15   $   8.60          $    58.54   $     58.54
  7/29/2018 Kelvin Diaz Medina                 $10.50   53.00   $   8.60          $    68.25   $     68.25
   8/5/2018 Kelvin Diaz Medina                 $10.50   59.08   $   8.60          $   100.19   $    100.19
  8/12/2018 Kelvin Diaz Medina                 $10.50   60.15   $   8.60          $   105.79   $    105.79
  8/19/2018 Kelvin Diaz Medina                 $10.50   50.02   $   8.60          $    52.59   $     52.59



                                                 418
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 420 of 683 PageID: 1267
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

  8/26/2018 Kelvin Diaz Medina                 $10.50   58.83   $    8.60         $    98.88   $     98.88
   9/2/2018 Kelvin Diaz Medina                 $10.50   55.82   $    8.60         $    83.04   $     83.04
   9/9/2018 Kelvin Diaz Medina                 $10.50   57.35   $    8.60         $    91.09   $     91.09
  9/16/2018 Kelvin Diaz Medina                 $10.50   60.43   $    8.60         $   107.28   $    107.28
  9/23/2018 Kelvin Diaz Medina                 $10.50   50.33   $    8.60         $    54.25   $     54.25
  9/30/2018 Kelvin Diaz Medina                 $10.50   60.82   $    8.60         $   109.29   $    109.29
  10/7/2018 Kelvin Diaz Medina                 $10.50   61.52   $    8.60         $   112.96   $    112.96
 10/14/2018 Kelvin Diaz Medina                 $10.50   48.30   $    8.60         $    43.58   $     43.58
 10/21/2018 Kelvin Diaz Medina                 $10.50   59.85   $    8.60         $   104.21   $    104.21
 10/28/2018 Kelvin Diaz Medina                 $10.50   59.82   $    8.60         $   104.04   $    104.04
  11/4/2018 Kelvin Diaz Medina                 $10.50   59.77   $    8.60         $   103.78   $    103.78
 11/11/2018 Kelvin Diaz Medina                 $10.50   51.58   $    8.60         $    60.81   $     60.81
 11/18/2018 Kelvin Diaz Medina                 $10.50   58.27   $    8.60         $    95.90   $     95.90
 11/25/2018 Kelvin Diaz Medina                 $10.50   50.12   $    8.60         $    53.11   $     53.11
  12/2/2018 Kelvin Diaz Medina                 $10.50   59.88   $    8.60         $   104.39   $    104.39
  12/9/2018 Kelvin Diaz Medina                 $10.50   59.83   $    8.60         $   104.13   $    104.13
 12/16/2018 Kelvin Diaz Medina                 $10.50   58.23   $    8.60         $    95.73   $     95.73
 12/23/2018 Kelvin Diaz Medina                 $10.50   60.27   $    8.60         $   106.40   $    106.40
 12/30/2018 Kelvin Diaz Medina                 $10.50   40.42   $    8.60         $     2.19   $      2.19
   1/6/2019 Kelvin Diaz Medina                 $10.50   49.63   $    8.85         $    50.58   $     50.58
  1/13/2019 Kelvin Diaz Medina                 $10.50   51.12   $    8.85         $    58.36   $     58.36
  1/20/2019 Kelvin Diaz Medina                 $10.50   59.17   $    8.85         $   100.63   $    100.63
  1/27/2019 Kelvin Diaz Medina                 $10.50   49.03   $    8.85         $    47.43   $     47.43
   2/3/2019 Kelvin Diaz Medina                 $10.50   49.28   $    8.85         $    48.74   $     48.74
  2/10/2019 Kelvin Diaz Medina                 $10.50   58.70   $    8.85         $    98.18   $     98.18
  2/17/2019 Kelvin Diaz Medina                 $10.50   59.40   $    8.85         $   101.85   $    101.85
  2/24/2019 Kelvin Diaz Medina                 $10.50   50.83   $    8.85         $    56.88   $     56.88
   3/3/2019 Kelvin Diaz Medina                 $10.50   54.93   $    8.85         $    78.40   $     78.40
  3/10/2019 Kelvin Diaz Medina                 $10.50   57.73   $    8.85         $    93.10   $     93.10
  3/17/2019 Kelvin Diaz Medina                 $10.50   59.35   $    8.85         $   101.59   $    101.59
  3/24/2019 Kelvin Diaz Medina                 $10.50   59.35   $    8.85         $   101.59   $    101.59
  3/31/2019 Kelvin Diaz Medina                 $10.50   59.50   $    8.85         $   102.38   $    102.38
   4/7/2019 Kelvin Diaz Medina                 $10.50   57.97   $    8.85         $    94.33   $     94.33
  4/14/2019 Kelvin Diaz Medina                 $10.50   57.60   $    8.85         $    92.40   $     92.40
  4/21/2019 Kelvin Diaz Medina                 $10.50   50.28   $    8.85         $    53.99   $     53.99
 10/27/2019 Kelvin Nunez                       $11.00   70.43   $   10.00         $   167.38   $    167.38
  11/3/2019 Kelvin Nunez                       $11.00   70.77   $   10.00         $   169.22   $    169.22
 11/10/2019 Kelvin Nunez                       $11.00   66.78   $   10.00         $   147.31   $    147.31
 11/17/2019 Kelvin Nunez                       $11.00   58.07   $   10.00         $    99.37   $     99.37
 11/24/2019 Kelvin Nunez                       $11.00   71.03   $   10.00         $   170.68   $    170.68
  12/1/2019 Kelvin Nunez                       $11.00   57.28   $   10.00         $    95.06   $     95.06
  12/8/2019 Kelvin Nunez                       $11.00   66.18   $   10.00         $   144.01   $    144.01
 12/15/2019 Kelvin Nunez                       $11.00   66.62   $   10.00         $   146.39   $    146.39
 12/22/2019 Kelvin Nunez                       $11.00   66.27   $   10.00         $   144.47   $    144.47
 12/29/2019 Kelvin Nunez                       $11.00   48.17   $   10.00         $    44.92   $     44.92
   1/5/2020 Kelvin Nunez                       $11.00   48.37   $   11.00         $    46.02   $     46.02
  1/12/2020 Kelvin Nunez                       $11.00   67.00   $   11.00         $   148.50   $    148.50
  1/19/2020 Kelvin Nunez                       $11.00   65.00   $   11.00         $   137.50   $    137.50
  1/26/2020 Kelvin Nunez                       $11.00   65.02   $   11.00         $   137.59   $    137.59
  9/16/2018 Kelvin Rosario                     $10.00   60.47   $    8.60         $   102.33   $    102.33



                                                 419
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 421 of 683 PageID: 1268
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

  9/23/2018 Kelvin Rosario                 $10.00   67.90   $    8.60         $   139.50   $    139.50
  9/30/2018 Kelvin Rosario                 $10.00   61.90   $    8.60         $   109.50   $    109.50
  10/7/2018 Kelvin Rosario                 $10.00   57.70   $    8.60         $    88.50   $     88.50
 10/14/2018 Kelvin Rosario                 $10.00   68.95   $    8.60         $   144.75   $    144.75
 10/21/2018 Kelvin Rosario                 $10.00   69.65   $    8.60         $   148.25   $    148.25
 10/28/2018 Kelvin Rosario                 $10.00   64.15   $    8.60         $   120.75   $    120.75
  11/4/2018 Kelvin Rosario                 $10.00   68.03   $    8.60         $   140.17   $    140.17
 11/11/2018 Kelvin Rosario                 $10.00   58.65   $    8.60         $    93.25   $     93.25
 11/18/2018 Kelvin Rosario                 $10.00   45.77   $    8.60         $    28.83   $     28.83
 11/25/2018 Kelvin Rosario                 $10.00   51.03   $    8.60         $    55.17   $     55.17
  12/2/2018 Kelvin Rosario                 $10.00   58.52   $    8.60         $    92.58   $     92.58
 12/16/2018 Kelvin Rosario                 $10.00   43.53   $    8.60         $    17.67   $     17.67
 12/23/2018 Kelvin Rosario                 $10.00   68.67   $    8.60         $   143.33   $    143.33
  1/13/2019 Kelvin Rosario                 $10.00   61.05   $    8.85         $   105.25   $    105.25
  1/20/2019 Kelvin Rosario                 $10.00   65.70   $    8.85         $   128.50   $    128.50
  1/27/2019 Kelvin Rosario                 $10.00   53.60   $    8.85         $    68.00   $     68.00
   2/3/2019 Kelvin Rosario                 $10.00   70.98   $    8.85         $   154.92   $    154.92
  2/10/2019 Kelvin Rosario                 $10.00   52.73   $    8.85         $    63.67   $     63.67
  2/17/2019 Kelvin Rosario                 $10.00   60.65   $    8.85         $   103.25   $    103.25
  2/24/2019 Kelvin Rosario                 $10.00   71.87   $    8.85         $   159.33   $    159.33
   3/3/2019 Kelvin Rosario                 $10.00   58.20   $    8.85         $    91.00   $     91.00
  3/10/2019 Kelvin Rosario                 $10.00   74.13   $    8.85         $   170.67   $    170.67
  3/17/2019 Kelvin Rosario                 $10.00   62.55   $    8.85         $   112.75   $    112.75
  3/24/2019 Kelvin Rosario                 $10.00   74.23   $    8.85         $   171.17   $    171.17
  3/31/2019 Kelvin Rosario                 $10.00   71.42   $    8.85         $   157.08   $    157.08
   4/7/2019 Kelvin Rosario                 $10.00   68.02   $    8.85         $   140.08   $    140.08
  4/14/2019 Kelvin Rosario                 $10.00   70.23   $    8.85         $   151.17   $    151.17
  4/21/2019 Kelvin Rosario                 $10.00   68.57   $    8.85         $   142.83   $    142.83
  4/28/2019 Kelvin Rosario                 $10.00   68.28   $    8.85         $   141.42   $    141.42
   5/5/2019 Kelvin Rosario                 $10.00   54.03   $    8.85         $    70.17   $     70.17
  5/12/2019 Kelvin Rosario                 $10.00   67.00   $    8.85         $   135.00   $    135.00
  5/19/2019 Kelvin Rosario                 $10.00   71.55   $    8.85         $   157.75   $    157.75
  5/26/2019 Kelvin Rosario                 $10.00   56.75   $    8.85         $    83.75   $     83.75
   6/2/2019 Kelvin Rosario                 $10.00   47.57   $    8.85         $    37.83   $     37.83
   6/9/2019 Kelvin Rosario                 $10.00   51.40   $    8.85         $    57.00   $     57.00
  6/16/2019 Kelvin Rosario                 $10.00   62.17   $    8.85         $   110.83   $    110.83
  6/23/2019 Kelvin Rosario                 $10.00   61.55   $    8.85         $   107.75   $    107.75
  6/30/2019 Kelvin Rosario                 $10.00   69.70   $   10.00         $   148.50   $    148.50
   7/7/2019 Kelvin Rosario                 $10.00   48.58   $   10.00         $    42.92   $     42.92
  7/14/2019 Kelvin Rosario                 $10.00   62.65   $   10.00         $   113.25   $    113.25
  7/21/2019 Kelvin Rosario                 $10.00   69.05   $   10.00         $   145.25   $    145.25
  7/28/2019 Kelvin Rosario                 $10.00   59.05   $   10.00         $    95.25   $     95.25
  8/25/2019 Kelya Pineda                   $10.50   67.10   $   10.00         $   142.28   $    142.28
   9/1/2019 Kelya Pineda                   $10.50   66.28   $   10.00         $   137.99   $    137.99
   9/8/2019 Kelya Pineda                   $10.50   56.52   $   10.00         $    86.71   $     86.71
  9/15/2019 Kelya Pineda                   $10.50   45.47   $   10.00         $    28.70   $     28.70
  9/22/2019 Kelya Pineda                   $10.50   67.35   $   10.00         $   143.59   $    143.59
  9/29/2019 Kelya Pineda                   $10.50   71.90   $   10.00         $   167.48   $    167.48
  10/6/2019 Kelya Pineda                   $10.50   58.10   $   10.00         $    95.03   $     95.03
 10/13/2019 Kelya Pineda                   $10.50   67.52   $   10.00         $   144.46   $    144.46



                                             420
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 422 of 683 PageID: 1269
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

 10/20/2019 Kelya Pineda                    $10.50   69.13   $   10.00               $   152.95   $   152.95
 10/27/2019 Kelya Pineda                    $10.50   74.33   $   10.00               $   180.25   $   180.25
  11/3/2019 Kelya Pineda                    $10.50   74.70   $   10.00               $   182.18   $   182.18
 11/10/2019 Kelya Pineda                    $10.50   69.90   $   10.00               $   156.98   $   156.98
 11/17/2019 Kelya Pineda                    $10.50   66.75   $   10.00               $   140.44   $   140.44
 11/24/2019 Kelya Pineda                    $10.50   71.47   $   10.00               $   165.20   $   165.20
  12/1/2019 Kelya Pineda                    $10.50   63.08   $   10.00               $   121.19   $   121.19
  12/8/2019 Kelya Pineda                    $10.50   75.03   $   10.00               $   183.93   $   183.93
 12/15/2019 Kelya Pineda                    $10.50   67.87   $   10.00               $   146.30   $   146.30
 12/22/2019 Kelya Pineda                    $10.50   65.83   $   10.00               $   135.63   $   135.63
   1/5/2020 Kelya Pineda                    $10.50   52.63   $   11.00   $   26.32   $    69.48   $    95.80
  1/12/2020 Kelya Pineda                    $10.50   68.95   $   11.00   $   34.48   $   159.23   $   193.70
  1/19/2020 Kelya Pineda                    $10.50   63.17   $   11.00   $   31.58   $   127.42   $   159.00
  1/26/2020 Kelya Pineda                    $10.50   63.80   $   11.00   $   31.90   $   130.90   $   162.80
   7/7/2019 Kenny Hernandez                 $10.50   44.83   $   10.00               $    25.38   $    25.38
  7/14/2019 Kenny Hernandez                 $10.50   63.20   $   10.00               $   121.80   $   121.80
  7/21/2019 Kenny Hernandez                 $10.50   50.22   $   10.00               $    53.64   $    53.64
  7/28/2019 Kenny Hernandez                 $10.50   62.93   $   10.00               $   120.40   $   120.40
  8/11/2019 Kenny Hernandez                 $11.00   58.58   $   10.00               $   102.21   $   102.21
  8/18/2019 Kenny Hernandez                 $11.00   54.28   $   10.00               $    78.56   $    78.56
  8/25/2019 Kenny Hernandez                 $11.00   44.72   $   10.00               $    25.94   $    25.94
   9/8/2019 Kenny Hernandez                 $11.00   44.58   $   10.00               $    25.21   $    25.21
  9/15/2019 Kenny Hernandez                 $11.00   40.48   $   10.00               $     2.66   $     2.66
  9/22/2019 Kenny Hernandez                 $11.00   43.17   $   10.00               $    17.42   $    17.42
  9/29/2019 Kenny Hernandez                 $11.00   51.23   $   10.00               $    61.78   $    61.78
  10/6/2019 Kenny Hernandez                 $11.00   43.35   $   10.00               $    18.43   $    18.43
 10/13/2019 Kenny Hernandez                 $11.00   50.47   $   10.00               $    57.57   $    57.57
 10/20/2019 Kenny Hernandez                 $11.00   44.73   $   10.00               $    26.03   $    26.03
 11/10/2019 Kenny Hernandez                 $11.00   42.13   $   10.00               $    11.73   $    11.73
 11/17/2019 Kenny Hernandez                 $11.00   45.07   $   10.00               $    27.87   $    27.87
 11/24/2019 Kenny Hernandez                 $11.00   52.87   $   10.00               $    70.77   $    70.77
  12/1/2019 Kenny Hernandez                 $11.00   46.32   $   10.00               $    34.74   $    34.74
  12/8/2019 Kenny Hernandez                 $11.00   47.12   $   10.00               $    39.14   $    39.14
 12/15/2019 Kenny Hernandez                 $11.00   56.33   $   10.00               $    89.83   $    89.83
 12/22/2019 Kenny Hernandez                 $11.00   62.93   $   10.00               $   126.13   $   126.13
 12/29/2019 Kenny Hernandez                 $11.00   42.20   $   10.00               $    12.10   $    12.10
   1/5/2020 Kenny Hernandez                 $11.00   42.63   $   11.00               $    14.48   $    14.48
  1/12/2020 Kenny Hernandez                 $11.00   62.17   $   11.00               $   121.92   $   121.92
  1/19/2020 Kenny Hernandez                 $11.00   50.77   $   11.00               $    59.22   $    59.22
  1/26/2020 Kenny Hernandez                 $11.00   51.05   $   11.00               $    60.78   $    60.78
  5/13/2018 Keny Hernandez                  $10.50   59.02   $    8.60               $    99.84   $    99.84
  5/20/2018 Keny Hernandez                  $10.50   59.18   $    8.60               $   100.71   $   100.71
  5/27/2018 Keny Hernandez                  $10.50   49.70   $    8.60               $    50.93   $    50.93
   6/3/2018 Keny Hernandez                  $10.50   50.15   $    8.60               $    53.29   $    53.29
  6/10/2018 Keny Hernandez                  $10.50   57.30   $    8.60               $    90.83   $    90.83
  6/17/2018 Keny Hernandez                  $10.50   43.27   $    8.60               $    17.15   $    17.15
  6/24/2018 Keny Hernandez                  $10.50   58.70   $    8.60               $    98.17   $    98.17
  7/22/2018 Keny Hernandez                  $10.50   68.02   $    8.60               $   147.09   $   147.09
  7/29/2018 Keny Hernandez                  $10.50   56.18   $    8.60               $    84.96   $    84.96
   8/5/2018 Keny Hernandez                  $10.50   59.33   $    8.60               $   101.50   $   101.50



                                              421
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 423 of 683 PageID: 1270
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                        Name                         Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

  8/12/2018 Keny Hernandez                     $10.50   44.47   $    8.60         $    23.45   $     23.45
  8/19/2018 Keny Hernandez                     $10.50   53.47   $    8.60         $    70.70   $     70.70
  8/26/2018 Keny Hernandez                     $10.50   58.82   $    8.60         $    98.79   $     98.79
   9/2/2018 Keny Hernandez                     $10.50   48.97   $    8.60         $    47.08   $     47.08
   9/9/2018 Keny Hernandez                     $10.50   53.25   $    8.60         $    69.56   $     69.56
  9/16/2018 Keny Hernandez                     $10.50   56.88   $    8.60         $    88.64   $     88.64
  9/23/2018 Keny Hernandez                     $10.50   48.37   $    8.60         $    43.93   $     43.93
  10/7/2018 Keny Hernandez                     $10.50   50.38   $    8.60         $    54.51   $     54.51
 10/14/2018 Keny Hernandez                     $10.50   59.95   $    8.60         $   104.74   $    104.74
 10/28/2018 Keny Hernandez                     $10.50   43.52   $    8.60         $    18.46   $     18.46
  11/4/2018 Keny Hernandez                     $10.50   58.20   $    8.60         $    95.55   $     95.55
 11/25/2018 Keny Hernandez                     $10.50   48.78   $    8.60         $    46.11   $     46.11
  8/13/2017 Kerry Penn                         $13.00   40.65   $    8.44         $     4.23   $      4.23
  8/27/2017 Kerry Penn                         $13.00   40.63   $    8.44         $     4.12   $      4.12
  9/24/2017 Kerry Penn                         $13.00   41.62   $    8.44         $    10.51   $     10.51
 10/22/2017 Kerry Penn                         $13.00   42.00   $    8.44         $    13.00   $     13.00
 10/29/2017 Kerry Penn                         $13.00   42.42   $    8.44         $    15.71   $     15.71
  9/23/2018 Kevin Barahona                     $10.00   67.08   $    8.60         $   135.42   $    135.42
  9/30/2018 Kevin Barahona                     $10.00   70.62   $    8.60         $   153.08   $    153.08
  10/7/2018 Kevin Barahona                     $10.00   69.07   $    8.60         $   145.33   $    145.33
 10/14/2018 Kevin Barahona                     $10.00   66.02   $    8.60         $   130.08   $    130.08
 10/21/2018 Kevin Barahona                     $10.00   65.15   $    8.60         $   125.75   $    125.75
 11/24/2019 Lazaro Alvarado                    $11.00   59.82   $   10.00         $   108.99   $    108.99
  12/1/2019 Lazaro Alvarado                    $11.00   53.90   $   10.00         $    76.45   $     76.45
  12/8/2019 Lazaro Alvarado                    $11.00   66.42   $   10.00         $   145.29   $    145.29
 12/15/2019 Lazaro Alvarado                    $11.00   69.52   $   10.00         $   162.34   $    162.34
 12/22/2019 Lazaro Alvarado                    $11.00   57.43   $   10.00         $    95.88   $     95.88
 12/29/2019 Lazaro Alvarado                    $11.00   53.77   $   10.00         $    75.72   $     75.72
   1/5/2020 Lazaro Alvarado                    $11.00   57.27   $   11.00         $    94.97   $     94.97
  1/12/2020 Lazaro Alvarado                    $11.00   70.22   $   11.00         $   166.19   $    166.19
  1/19/2020 Lazaro Alvarado                    $11.00   69.63   $   11.00         $   162.98   $    162.98
  1/26/2020 Lazaro Alvarado                    $11.00   57.80   $   11.00         $    97.90   $     97.90
   9/1/2019 Leiser Alejandro Alvarado          $10.00   72.12   $   10.00         $   160.58   $    160.58
   9/8/2019 Leiser Alejandro Alvarado          $10.00   69.05   $   10.00         $   145.25   $    145.25
  9/15/2019 Leiser Alejandro Alvarado          $10.00   65.17   $   10.00         $   125.83   $    125.83
  9/22/2019 Leiser Alejandro Alvarado          $10.00   44.55   $   10.00         $    22.75   $     22.75
  9/29/2019 Leiser Alejandro Alvarado          $10.00   66.22   $   10.00         $   131.08   $    131.08
  10/6/2019 Leiser Alejandro Alvarado          $10.00   73.33   $   10.00         $   166.67   $    166.67
 10/13/2019 Leiser Alejandro Alvarado          $10.00   62.63   $   10.00         $   113.17   $    113.17
 10/20/2019 Leiser Alejandro Alvarado          $10.00   55.40   $   10.00         $    77.00   $     77.00
 10/27/2019 Leiser Alejandro Alvarado          $10.00   55.17   $   10.00         $    75.83   $     75.83
  11/3/2019 Leiser Alejandro Alvarado          $10.00   54.93   $   10.00         $    74.67   $     74.67
 11/10/2019 Leiser Alejandro Alvarado          $10.00   66.15   $   10.00         $   130.75   $    130.75
 11/17/2019 Leiser Alejandro Alvarado          $10.00   68.08   $   10.00         $   140.42   $    140.42
 11/24/2019 Leiser Alejandro Alvarado          $10.00   55.63   $   10.00         $    78.17   $     78.17
  12/1/2019 Leiser Alejandro Alvarado          $10.00   58.13   $   10.00         $    90.67   $     90.67
  12/8/2019 Leiser Alejandro Alvarado          $10.00   74.48   $   10.00         $   172.42   $    172.42
 12/15/2019 Leiser Alejandro Alvarado          $10.00   60.95   $   10.00         $   104.75   $    104.75
 12/22/2019 Leiser Alejandro Alvarado          $10.00   68.50   $   10.00         $   142.50   $    142.50
 12/29/2019 Leiser Alejandro Alvarado          $10.00   53.63   $   10.00         $    68.17   $     68.17



                                                 422
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 424 of 683 PageID: 1271
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                        Name                         Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

   1/5/2020 Leiser Alejandro Alvarado          $10.00   46.67   $   11.00   $   46.67   $    36.67   $    83.33
  1/12/2020 Leiser Alejandro Alvarado          $10.00   67.73   $   11.00   $   67.73   $   152.53   $   220.27
  1/19/2020 Leiser Alejandro Alvarado          $10.00   59.40   $   11.00   $   59.40   $   106.70   $   166.10
  1/26/2020 Leiser Alejandro Alvarado          $10.00   72.08   $   11.00   $   72.08   $   176.46   $   248.54
  8/25/2019 Leon Dario Raigoza                 $10.00   70.25   $   10.00               $   151.25   $   151.25
   9/1/2019 Leon Dario Raigoza                 $10.00   71.18   $   10.00               $   155.92   $   155.92
   9/8/2019 Leon Dario Raigoza                 $10.00   50.25   $   10.00               $    51.25   $    51.25
  9/15/2019 Leon Dario Raigoza                 $10.00   66.32   $   10.00               $   131.58   $   131.58
  9/22/2019 Leon Dario Raigoza                 $10.00   66.68   $   10.00               $   133.42   $   133.42
  9/29/2019 Leon Dario Raigoza                 $10.00   65.28   $   10.00               $   126.42   $   126.42
  10/6/2019 Leon Dario Raigoza                 $10.00   64.40   $   10.00               $   122.00   $   122.00
 10/13/2019 Leon Dario Raigoza                 $10.00   65.43   $   10.00               $   127.17   $   127.17
 10/20/2019 Leon Dario Raigoza                 $10.00   65.22   $   10.00               $   126.08   $   126.08
 10/27/2019 Leon Dario Raigoza                 $10.00   65.43   $   10.00               $   127.17   $   127.17
  11/3/2019 Leon Dario Raigoza                 $10.00   65.42   $   10.00               $   127.08   $   127.08
 11/10/2019 Leon Dario Raigoza                 $10.00   57.65   $   10.00               $    88.25   $    88.25
 11/17/2019 Leon Dario Raigoza                 $10.00   70.65   $   10.00               $   153.25   $   153.25
 11/24/2019 Leon Dario Raigoza                 $10.00   63.55   $   10.00               $   117.75   $   117.75
  12/1/2019 Leon Dario Raigoza                 $10.00   57.40   $   10.00               $    87.00   $    87.00
  12/8/2019 Leon Dario Raigoza                 $10.00   66.90   $   10.00               $   134.50   $   134.50
 12/15/2019 Leon Dario Raigoza                 $10.00   56.28   $   10.00               $    81.42   $    81.42
 12/22/2019 Leon Dario Raigoza                 $10.00   66.42   $   10.00               $   132.08   $   132.08
 12/29/2019 Leon Dario Raigoza                 $10.00   51.98   $   10.00               $    59.92   $    59.92
   1/5/2020 Leon Dario Raigoza                 $10.00   54.23   $   11.00   $   54.23   $    78.28   $   132.52
  1/12/2020 Leon Dario Raigoza                 $10.00   64.13   $   11.00   $   64.13   $   132.73   $   196.87
  1/19/2020 Leon Dario Raigoza                 $10.00   52.78   $   11.00   $   52.78   $    70.31   $   123.09
  8/19/2018 Leonardo J. Martinez               $10.00   75.83   $    8.60               $   179.17   $   179.17
  8/26/2018 Leonardo J. Martinez               $10.00   48.43   $    8.60               $    42.17   $    42.17
   9/2/2018 Leonardo J. Martinez               $10.00   62.63   $    8.60               $   113.17   $   113.17
   9/9/2018 Leonardo J. Martinez               $10.00   56.70   $    8.60               $    83.50   $    83.50
  9/16/2018 Leonardo J. Martinez               $10.00   61.55   $    8.60               $   107.75   $   107.75
  9/23/2018 Leonardo J. Martinez               $10.00   60.58   $    8.60               $   102.92   $   102.92
  9/30/2018 Leonardo J. Martinez               $10.00   48.18   $    8.60               $    40.92   $    40.92
 10/14/2018 Leonardo J. Martinez               $10.00   57.08   $    8.60               $    85.42   $    85.42
 10/21/2018 Leonardo J. Martinez               $10.00   72.38   $    8.60               $   161.92   $   161.92
 10/28/2018 Leonardo J. Martinez               $10.00   47.82   $    8.60               $    39.08   $    39.08
  5/19/2019 Leonardo J. Martinez               $10.00   50.13   $    8.85               $    50.67   $    50.67
   6/9/2019 Leonardo J. Martinez               $10.00   44.90   $    8.85               $    24.50   $    24.50
  6/23/2019 Leonardo J. Martinez               $10.00   51.98   $    8.85               $    59.92   $    59.92
  6/30/2019 Leonardo J. Martinez               $10.00   48.62   $   10.00               $    43.08   $    43.08
  7/14/2019 Leonardo J. Martinez               $10.50   58.07   $   10.00               $    94.85   $    94.85
  7/21/2019 Leonardo J. Martinez               $10.50   57.32   $   10.00               $    90.91   $    90.91
  7/28/2019 Leonardo J. Martinez               $10.50   54.38   $   10.00               $    75.51   $    75.51
   8/4/2019 Leonardo J. Martinez               $10.50   61.07   $   10.00               $   110.60   $   110.60
  8/11/2019 Leonardo J. Martinez               $10.50   57.83   $   10.00               $    93.63   $    93.63
  8/25/2019 Leonardo J. Martinez               $10.50   62.55   $   10.00               $   118.39   $   118.39
   9/1/2019 Leonardo J. Martinez               $10.50   56.97   $   10.00               $    89.08   $    89.08
  9/15/2019 Leonardo J. Martinez               $10.50   54.45   $   10.00               $    75.86   $    75.86
  9/22/2019 Leonardo J. Martinez               $10.50   59.98   $   10.00               $   104.91   $   104.91
  9/29/2019 Leonardo J. Martinez               $10.50   60.23   $   10.00               $   106.23   $   106.23



                                                 423
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 425 of 683 PageID: 1272
                                                  Exhibit 2
                                          New Jersey Computations


   Week                                                          State Section 7: Section 7: Total Section 7
                                                 Hourly Hours/
  Ending                           Name                        Minumum Regular    Half-Time Overtime Back
                                                  Rate Week
   Date                                                          Wage  Rate Due     Due       Wages Due

  10/6/2019 Leonardo J. Martinez                 $10.50   57.32   $   10.00         $    90.91   $     90.91
 10/20/2019 Leonardo J. Martinez                 $10.50   44.52   $   10.00         $    23.71   $     23.71
 10/27/2019 Leonardo J. Martinez                 $10.50   42.08   $   10.00         $    10.94   $     10.94
  11/3/2019 Leonardo J. Martinez                 $10.50   66.55   $   10.00         $   139.39   $    139.39
 11/10/2019 Leonardo J. Martinez                 $10.50   57.70   $   10.00         $    92.93   $     92.93
 11/17/2019 Leonardo J. Martinez                 $10.50   62.08   $   10.00         $   115.94   $    115.94
 11/24/2019 Leonardo J. Martinez                 $10.50   64.82   $   10.00         $   130.29   $    130.29
  12/8/2019 Leonardo J. Martinez                 $10.50   52.15   $   10.00         $    63.79   $     63.79
 12/15/2019 Leonardo J. Martinez                 $10.50   75.03   $   10.00         $   183.93   $    183.93
 12/22/2019 Leonardo J. Martinez                 $10.50   52.20   $   10.00         $    64.05   $     64.05
   5/7/2017 Leonardo Lugo                        $12.50   65.92   $    8.44         $   161.98   $    161.98
  5/21/2017 Leonardo Lugo                        $12.50   61.90   $    8.44         $   136.88   $    136.88
  5/28/2017 Leonardo Lugo                        $12.50   79.62   $    8.44         $   247.60   $    247.60
   6/4/2017 Leonardo Lugo                        $12.50   76.87   $    8.44         $   230.42   $    230.42
  6/11/2017 Leonardo Lugo                        $12.50   60.65   $    8.44         $   129.06   $    129.06
  6/18/2017 Leonardo Lugo                        $12.50   61.80   $    8.44         $   136.25   $    136.25
  6/25/2017 Leonardo Lugo                        $12.50   65.58   $    8.44         $   159.90   $    159.90
   7/2/2017 Leonardo Lugo                        $12.50   73.20   $    8.44         $   207.50   $    207.50
   7/9/2017 Leonardo Lugo                        $12.50   71.45   $    8.44         $   196.56   $    196.56
  7/16/2017 Leonardo Lugo                        $12.50   64.87   $    8.44         $   155.42   $    155.42
  7/23/2017 Leonardo Lugo                        $12.50   52.50   $    8.44         $    78.13   $     78.13
  7/30/2017 Leonardo Lugo                        $12.50   70.75   $    8.44         $   192.19   $    192.19
  8/20/2017 Leonardo Lugo                        $12.50   64.45   $    8.44         $   152.81   $    152.81
  8/27/2017 Leonardo Lugo                        $12.50   75.62   $    8.44         $   222.60   $    222.60
   9/3/2017 Leonardo Lugo                        $12.50   63.65   $    8.44         $   147.81   $    147.81
  9/10/2017 Leonardo Lugo                        $12.50   62.93   $    8.44         $   143.33   $    143.33
  11/5/2017 Leonardo Lugo                         $8.44   63.47   $    8.44         $    99.03   $     99.03
 11/12/2017 Leonardo Lugo                         $8.44   58.85   $    8.44         $    79.55   $     79.55
 11/19/2017 Leonardo Lugo                         $8.44   65.35   $    8.44         $   106.98   $    106.98
 11/26/2017 Leonardo Lugo                         $8.44   49.65   $    8.44         $    40.72   $     40.72
  12/3/2017 Leonardo Lugo                         $8.44   67.83   $    8.44         $   117.46   $    117.46
 12/10/2017 Leonardo Lugo                         $8.44   53.80   $    8.44         $    58.24   $     58.24
 12/17/2017 Leonardo Lugo                         $8.44   57.05   $    8.44         $    71.95   $     71.95
 12/24/2017 Leonardo Lugo                         $8.44   57.97   $    8.44         $    75.82   $     75.82
 12/31/2017 Leonardo Lugo                         $8.44   54.20   $    8.44         $    59.92   $     59.92
   1/7/2018 Leonardo Lugo                         $8.60   51.07   $    8.60         $    47.59   $     47.59
  1/21/2018 Leonardo Lugo                         $8.60   51.07   $    8.60         $    47.59   $     47.59
  1/28/2018 Leonardo Lugo                         $8.60   54.95   $    8.60         $    64.29   $     64.29
   2/4/2018 Leonardo Lugo                         $8.60   57.73   $    8.60         $    76.25   $     76.25
  2/11/2018 Leonardo Lugo                         $8.60   48.00   $    8.60         $    34.40   $     34.40
  2/18/2018 Leonardo Lugo                         $8.60   51.42   $    8.60         $    49.09   $     49.09
  2/25/2018 Leonardo Lugo                         $8.60   49.42   $    8.60         $    40.49   $     40.49
   3/4/2018 Leonardo Lugo                         $8.60   61.03   $    8.60         $    90.44   $     90.44
  3/25/2018 Leonardo Lugo                         $8.60   57.47   $    8.60         $    75.11   $     75.11
   4/1/2018 Leonardo Lugo                         $8.60   62.28   $    8.60         $    95.82   $     95.82
   4/8/2018 Leonardo Lugo                         $8.60   61.38   $    8.60         $    91.95   $     91.95
  4/15/2018 Leonardo Lugo                         $8.60   55.05   $    8.60         $    64.72   $     64.72
  4/22/2018 Leonardo Lugo                         $8.60   54.80   $    8.60         $    63.64   $     63.64
  4/29/2018 Leonardo Lugo                         $8.60   60.78   $    8.60         $    89.37   $     89.37
   5/6/2018 Leonardo Lugo                         $8.60   53.18   $    8.60         $    56.69   $     56.69



                                                   424
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 426 of 683 PageID: 1273
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

  5/13/2018 Leonardo Lugo                  $8.60   41.78   $    8.60         $     7.67   $      7.67
  5/20/2018 Leonardo Lugo                  $8.60   61.10   $    8.60         $    90.73   $     90.73
  5/27/2018 Leonardo Lugo                  $8.60   55.35   $    8.60         $    66.01   $     66.01
   6/3/2018 Leonardo Lugo                  $8.60   43.97   $    8.60         $    17.06   $     17.06
  6/10/2018 Leonardo Lugo                  $8.60   63.97   $    8.60         $   103.06   $    103.06
  6/17/2018 Leonardo Lugo                  $8.60   64.07   $    8.60         $   103.49   $    103.49
  6/24/2018 Leonardo Lugo                  $8.60   61.20   $    8.60         $    91.16   $     91.16
   7/1/2018 Leonardo Lugo                  $8.60   62.92   $    8.60         $    98.54   $     98.54
   7/8/2018 Leonardo Lugo                  $8.60   54.65   $    8.60         $    63.00   $     63.00
  7/15/2018 Leonardo Lugo                  $8.60   55.12   $    8.60         $    65.00   $     65.00
  7/22/2018 Leonardo Lugo                  $8.60   63.95   $    8.60         $   102.99   $    102.99
  7/29/2018 Leonardo Lugo                  $8.60   63.65   $    8.60         $   101.70   $    101.70
   8/5/2018 Leonardo Lugo                  $8.60   62.03   $    8.60         $    94.74   $     94.74
  8/12/2018 Leonardo Lugo                  $8.60   63.30   $    8.60         $   100.19   $    100.19
  8/26/2018 Leonardo Lugo                  $8.60   66.85   $    8.60         $   115.46   $    115.46
   9/2/2018 Leonardo Lugo                  $8.60   66.10   $    8.60         $   112.23   $    112.23
   9/9/2018 Leonardo Lugo                  $8.60   46.47   $    8.60         $    27.81   $     27.81
  9/16/2018 Leonardo Lugo                  $8.60   63.57   $    8.60         $   101.34   $    101.34
  9/23/2018 Leonardo Lugo                  $8.60   63.78   $    8.60         $   102.27   $    102.27
  9/30/2018 Leonardo Lugo                  $8.60   64.43   $    8.60         $   105.06   $    105.06
  10/7/2018 Leonardo Lugo                  $8.60   41.95   $    8.60         $     8.38   $      8.38
 10/14/2018 Leonardo Lugo                  $8.60   64.08   $    8.60         $   103.56   $    103.56
 10/21/2018 Leonardo Lugo                  $8.60   63.98   $    8.60         $   103.13   $    103.13
 10/28/2018 Leonardo Lugo                  $8.60   64.10   $    8.60         $   103.63   $    103.63
  11/4/2018 Leonardo Lugo                  $8.60   59.15   $    8.60         $    82.35   $     82.35
 11/11/2018 Leonardo Lugo                  $8.60   63.95   $    8.60         $   102.99   $    102.99
 11/18/2018 Leonardo Lugo                  $8.60   54.72   $    8.60         $    63.28   $     63.28
 11/25/2018 Leonardo Lugo                  $8.60   52.77   $    8.60         $    54.90   $     54.90
  12/2/2018 Leonardo Lugo                  $8.60   52.48   $    8.60         $    53.68   $     53.68
 12/16/2018 Leonardo Lugo                  $8.60   47.05   $    8.60         $    30.32   $     30.32
 12/23/2018 Leonardo Lugo                  $8.60   62.57   $    8.60         $    97.04   $     97.04
 12/30/2018 Leonardo Lugo                  $8.60   44.03   $    8.60         $    17.34   $     17.34
   1/6/2019 Leonardo Lugo                  $8.85   51.05   $    8.85         $    48.90   $     48.90
  1/13/2019 Leonardo Lugo                  $8.85   50.12   $    8.85         $    44.77   $     44.77
  1/20/2019 Leonardo Lugo                  $8.85   51.60   $    8.85         $    51.33   $     51.33
  1/27/2019 Leonardo Lugo                  $8.85   63.10   $    8.85         $   102.22   $    102.22
   2/3/2019 Leonardo Lugo                  $8.85   63.78   $    8.85         $   105.24   $    105.24
  2/10/2019 Leonardo Lugo                  $8.85   55.67   $    8.85         $    69.33   $     69.33
  2/24/2019 Leonardo Lugo                  $8.85   63.95   $    8.85         $   105.98   $    105.98
   3/3/2019 Leonardo Lugo                  $8.85   62.55   $    8.85         $    99.78   $     99.78
  3/10/2019 Leonardo Lugo                  $8.85   62.57   $    8.85         $    99.86   $     99.86
  3/17/2019 Leonardo Lugo                  $8.85   53.35   $    8.85         $    59.07   $     59.07
  3/24/2019 Leonardo Lugo                  $8.85   63.17   $    8.85         $   102.51   $    102.51
  3/31/2019 Leonardo Lugo                  $8.85   60.07   $    8.85         $    88.80   $     88.80
 11/17/2019 Leonardo Lugo                 $14.00   43.43   $   10.00         $    24.03   $     24.03
 11/24/2019 Leonardo Lugo                 $14.00   56.07   $   10.00         $   112.47   $    112.47
  12/1/2019 Leonardo Lugo                 $14.00   40.22   $   10.00         $     1.52   $      1.52
  12/8/2019 Leonardo Lugo                 $14.00   64.03   $   10.00         $   168.23   $    168.23
 12/15/2019 Leonardo Lugo                 $14.00   78.05   $   10.00         $   266.35   $    266.35
 12/22/2019 Leonardo Lugo                 $14.00   65.77   $   10.00         $   180.37   $    180.37



                                            425
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 427 of 683 PageID: 1274
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                       Name                         Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

 12/29/2019 Leonardo Lugo                     $14.00   42.72   $   10.00         $    19.02   $     19.02
   1/5/2020 Leonardo Lugo                     $14.00   60.82   $   11.00         $   145.72   $    145.72
  1/12/2020 Leonardo Lugo                     $14.00   56.65   $   11.00         $   116.55   $    116.55
  1/19/2020 Leonardo Lugo                     $14.00   69.08   $   11.00         $   203.58   $    203.58
  1/26/2020 Leonardo Lugo                     $14.00   54.70   $   11.00         $   102.90   $    102.90
  4/29/2018 Leonardo Pomales                  $10.00   42.15   $    8.60         $    10.75   $     10.75
   5/6/2018 Leonardo Pomales                  $10.00   45.48   $    8.60         $    27.42   $     27.42
  4/23/2017 Leonardo Trejo Rodriguez           $9.50   65.47   $    8.44         $   120.97   $    120.97
  4/30/2017 Leonardo Trejo Rodriguez           $9.50   61.12   $    8.44         $   100.30   $    100.30
   5/7/2017 Leonardo Trejo Rodriguez           $9.50   65.87   $    8.44         $   122.87   $    122.87
  5/14/2017 Leonardo Trejo Rodriguez           $9.50   45.88   $    8.44         $    27.95   $     27.95
  4/23/2017 Leonarl Vivona                     $9.50   50.97   $    8.44         $    52.09   $     52.09
  4/30/2017 Leonarl Vivona                     $9.50   51.83   $    8.44         $    56.21   $     56.21
   5/7/2017 Leonarl Vivona                     $9.50   50.62   $    8.44         $    50.43   $     50.43
  5/14/2017 Leonarl Vivona                     $9.50   54.73   $    8.44         $    69.98   $     69.98
  5/21/2017 Leonarl Vivona                     $9.50   51.72   $    8.44         $    55.65   $     55.65
  5/28/2017 Leonarl Vivona                     $9.50   47.33   $    8.44         $    34.83   $     34.83
   6/4/2017 Leonarl Vivona                     $9.50   61.12   $    8.44         $   100.30   $    100.30
  6/11/2017 Leonarl Vivona                     $9.50   61.80   $    8.44         $   103.55   $    103.55
  6/18/2017 Leonarl Vivona                     $9.50   60.30   $    8.44         $    96.43   $     96.43
  6/25/2017 Leonarl Vivona                     $9.50   61.63   $    8.44         $   102.76   $    102.76
   7/2/2017 Leonarl Vivona                     $9.50   61.55   $    8.44         $   102.36   $    102.36
   7/9/2017 Leonarl Vivona                     $9.50   59.32   $    8.44         $    91.75   $     91.75
  7/16/2017 Leonarl Vivona                     $9.50   61.42   $    8.44         $   101.73   $    101.73
  7/23/2017 Leonarl Vivona                     $9.50   54.67   $    8.44         $    69.67   $     69.67
  7/30/2017 Leonarl Vivona                     $9.50   59.48   $    8.44         $    92.55   $     92.55
   8/6/2017 Leonarl Vivona                     $9.50   51.05   $    8.44         $    52.49   $     52.49
  8/13/2017 Leonarl Vivona                     $9.50   53.93   $    8.44         $    66.18   $     66.18
  8/20/2017 Leonarl Vivona                     $9.50   55.97   $    8.44         $    75.84   $     75.84
  8/27/2017 Leonarl Vivona                     $9.50   53.93   $    8.44         $    66.18   $     66.18
   9/3/2017 Leonarl Vivona                     $9.50   51.55   $    8.44         $    54.86   $     54.86
  9/10/2017 Leonarl Vivona                     $9.50   56.02   $    8.44         $    76.08   $     76.08
  9/17/2017 Leonarl Vivona                     $9.50   54.77   $    8.44         $    70.14   $     70.14
  9/24/2017 Leonarl Vivona                     $9.50   50.83   $    8.44         $    51.46   $     51.46
  10/1/2017 Leonarl Vivona                     $9.50   52.38   $    8.44         $    58.82   $     58.82
  10/8/2017 Leonarl Vivona                     $9.50   49.28   $    8.44         $    44.10   $     44.10
 10/15/2017 Leonarl Vivona                     $9.50   45.25   $    8.44         $    24.94   $     24.94
   3/4/2018 Lester Mejia                      $10.00   65.23   $    8.60         $   126.17   $    126.17
  3/25/2018 Lester Mejia                       $9.50   62.38   $    8.60         $   106.32   $    106.32
   4/1/2018 Lester Mejia                       $9.50   77.65   $    8.60         $   178.84   $    178.84
   4/8/2018 Lester Mejia                       $9.50   74.27   $    8.60         $   162.77   $    162.77
  4/15/2018 Lester Mejia                       $9.50   70.77   $    8.60         $   146.14   $    146.14
  4/22/2018 Lester Mejia                       $9.50   69.68   $    8.60         $   141.00   $    141.00
  4/29/2018 Lester Mejia                       $9.50   81.03   $    8.60         $   194.91   $    194.91
   5/6/2018 Lester Mejia                       $9.50   58.65   $    8.60         $    88.59   $     88.59
  5/13/2018 Lester Mejia                       $9.50   73.18   $    8.60         $   157.62   $    157.62
  5/20/2018 Lester Mejia                       $9.50   71.70   $    8.60         $   150.58   $    150.58
  5/27/2018 Lester Mejia                       $9.50   79.35   $    8.60         $   186.91   $    186.91
   6/3/2018 Lester Mejia                       $9.50   43.37   $    8.60         $    15.99   $     15.99
  6/10/2018 Lester Mejia                       $9.50   73.17   $    8.60         $   157.54   $    157.54



                                                426
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 428 of 683 PageID: 1275
                                          Exhibit 2
                                  New Jersey Computations


   Week                                                  State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
  Ending                   Name                        Minumum Regular    Half-Time Overtime Back
                                          Rate Week
   Date                                                  Wage  Rate Due     Due       Wages Due

  6/17/2018 Lester Mejia                  $9.50   63.68   $   8.60          $   112.50   $    112.50
  6/24/2018 Lester Mejia                  $9.50   73.32   $   8.60          $   158.25   $    158.25
   7/1/2018 Lester Mejia                 $10.00   66.20   $   8.60          $   131.00   $    131.00
   7/8/2018 Lester Mejia                 $10.00   56.75   $   8.60          $    83.75   $     83.75
  7/15/2018 Lester Mejia                 $10.00   66.82   $   8.60          $   134.08   $    134.08
  7/22/2018 Lester Mejia                 $10.00   79.33   $   8.60          $   196.67   $    196.67
  7/29/2018 Lester Mejia                 $10.00   68.03   $   8.60          $   140.17   $    140.17
   8/5/2018 Lester Mejia                 $10.00   76.03   $   8.60          $   180.17   $    180.17
  8/12/2018 Lester Mejia                 $10.00   68.68   $   8.60          $   143.42   $    143.42
  8/19/2018 Lester Mejia                 $10.00   75.25   $   8.60          $   176.25   $    176.25
  8/26/2018 Lester Mejia                 $10.00   67.88   $   8.60          $   139.42   $    139.42
   9/2/2018 Lester Mejia                 $10.00   74.48   $   8.60          $   172.42   $    172.42
   9/9/2018 Lester Mejia                 $10.00   59.67   $   8.60          $    98.33   $     98.33
  9/16/2018 Lester Mejia                 $10.00   75.00   $   8.60          $   175.00   $    175.00
  9/23/2018 Lester Mejia                 $10.00   66.25   $   8.60          $   131.25   $    131.25
  9/30/2018 Lester Mejia                 $10.00   74.38   $   8.60          $   171.92   $    171.92
  10/7/2018 Lester Mejia                 $10.00   67.23   $   8.60          $   136.17   $    136.17
 10/14/2018 Lester Mejia                 $10.00   75.07   $   8.60          $   175.33   $    175.33
 10/21/2018 Lester Mejia                 $10.00   66.27   $   8.60          $   131.33   $    131.33
 10/28/2018 Lester Mejia                 $10.00   74.57   $   8.60          $   172.83   $    172.83
  11/4/2018 Lester Mejia                 $10.00   67.57   $   8.60          $   137.83   $    137.83
 11/11/2018 Lester Mejia                 $10.00   75.80   $   8.60          $   179.00   $    179.00
 11/18/2018 Lester Mejia                 $10.00   65.92   $   8.60          $   129.58   $    129.58
 11/25/2018 Lester Mejia                 $10.00   64.30   $   8.60          $   121.50   $    121.50
  12/2/2018 Lester Mejia                 $10.00   67.90   $   8.60          $   139.50   $    139.50
  12/9/2018 Lester Mejia                 $10.00   76.18   $   8.60          $   180.92   $    180.92
 12/16/2018 Lester Mejia                 $10.00   67.57   $   8.60          $   137.83   $    137.83
 12/23/2018 Lester Mejia                 $10.00   75.47   $   8.60          $   177.33   $    177.33
 12/30/2018 Lester Mejia                 $10.00   53.40   $   8.60          $    67.00   $     67.00
   1/6/2019 Lester Mejia                 $10.00   67.48   $   8.85          $   137.42   $    137.42
  1/13/2019 Lester Mejia                 $10.00   67.13   $   8.85          $   135.67   $    135.67
  1/20/2019 Lester Mejia                 $10.00   68.63   $   8.85          $   143.17   $    143.17
  1/27/2019 Lester Mejia                 $10.00   68.50   $   8.85          $   142.50   $    142.50
   2/3/2019 Lester Mejia                 $10.00   75.10   $   8.85          $   175.50   $    175.50
  2/10/2019 Lester Mejia                 $10.00   66.72   $   8.85          $   133.58   $    133.58
  2/17/2019 Lester Mejia                 $10.00   74.80   $   8.85          $   174.00   $    174.00
  2/24/2019 Lester Mejia                 $10.00   67.40   $   8.85          $   137.00   $    137.00
   3/3/2019 Lester Mejia                 $10.00   75.17   $   8.85          $   175.83   $    175.83
  3/10/2019 Lester Mejia                 $10.00   66.30   $   8.85          $   131.50   $    131.50
  3/17/2019 Lester Mejia                 $10.00   74.97   $   8.85          $   174.83   $    174.83
  3/24/2019 Lester Mejia                 $10.00   66.28   $   8.85          $   131.42   $    131.42
  3/31/2019 Lester Mejia                 $10.00   73.90   $   8.85          $   169.50   $    169.50
   4/7/2019 Lester Mejia                 $10.00   65.07   $   8.85          $   125.33   $    125.33
  4/14/2019 Lester Mejia                 $10.00   73.88   $   8.85          $   169.42   $    169.42
  4/21/2019 Lester Mejia                 $10.00   53.88   $   8.85          $    69.42   $     69.42
  4/28/2019 Lester Mejia                 $10.00   73.42   $   8.85          $   167.08   $    167.08
   5/5/2019 Lester Mejia                 $10.00   67.87   $   8.85          $   139.33   $    139.33
  5/12/2019 Lester Mejia                 $10.00   74.85   $   8.85          $   174.25   $    174.25
  5/19/2019 Lester Mejia                 $10.00   67.22   $   8.85          $   136.08   $    136.08
  5/26/2019 Lester Mejia                 $10.00   67.22   $   8.85          $   136.08   $    136.08



                                           427
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 429 of 683 PageID: 1276
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

   6/2/2019 Lester Mejia                       $10.00   55.32   $    8.85               $    76.58   $    76.58
   6/9/2019 Lester Mejia                       $10.00   71.57   $    8.85               $   157.83   $   157.83
  6/16/2019 Lester Mejia                       $10.00   66.12   $    8.85               $   130.58   $   130.58
  6/23/2019 Lester Mejia                       $10.00   73.70   $    8.85               $   168.50   $   168.50
  6/30/2019 Lester Mejia                       $10.00   63.67   $   10.00               $   118.33   $   118.33
   7/7/2019 Lester Mejia                       $10.00   51.42   $   10.00               $    57.08   $    57.08
  7/14/2019 Lester Mejia                       $10.00   59.98   $   10.00               $    99.92   $    99.92
 11/10/2019 Lester Soto                        $10.00   53.27   $   10.00               $    66.33   $    66.33
 11/17/2019 Lester Soto                        $10.00   50.10   $   10.00               $    50.50   $    50.50
  4/28/2019 Leury Cabral                        $9.50   51.38   $    8.85               $    54.07   $    54.07
   5/5/2019 Leury Cabral                        $9.50   61.58   $    8.85               $   102.52   $   102.52
  5/12/2019 Leury Cabral                        $9.50   48.37   $    8.85               $    39.74   $    39.74
  5/19/2019 Leury Cabral                        $9.50   61.98   $    8.85               $   104.42   $   104.42
  5/26/2019 Leury Cabral                        $9.50   41.82   $    8.85               $     8.63   $     8.63
   6/2/2019 Leury Cabral                        $9.50   47.12   $    8.85               $    33.80   $    33.80
   6/9/2019 Leury Cabral                        $9.50   72.63   $    8.85               $   155.01   $   155.01
  6/16/2019 Leury Cabral                        $9.50   68.95   $    8.85               $   137.51   $   137.51
  6/23/2019 Leury Cabral                        $9.50   52.58   $    8.85               $    59.77   $    59.77
  6/30/2019 Leury Cabral                        $9.50   69.20   $   10.00   $   34.60   $   146.00   $   180.60
   7/7/2019 Leury Cabral                       $10.50   44.57   $   10.00               $    23.98   $    23.98
  7/14/2019 Leury Cabral                       $10.50   68.78   $   10.00               $   151.11   $   151.11
  7/21/2019 Leury Cabral                       $10.50   67.35   $   10.00               $   143.59   $   143.59
  7/28/2019 Leury Cabral                       $10.50   48.20   $   10.00               $    43.05   $    43.05
   8/4/2019 Leury Cabral                       $10.50   63.27   $   10.00               $   122.15   $   122.15
   4/7/2019 Leury Sanchez Bier                 $11.00   83.63   $    8.85               $   239.98   $   239.98
  4/14/2019 Leury Sanchez Bier                 $11.00   62.35   $    8.85               $   122.93   $   122.93
  4/21/2019 Leury Sanchez Bier                 $11.00   66.17   $    8.85               $   143.92   $   143.92
  4/28/2019 Leury Sanchez Bier                 $11.00   73.32   $    8.85               $   183.24   $   183.24
   5/5/2019 Leury Sanchez Bier                 $11.00   68.73   $    8.85               $   158.03   $   158.03
  5/12/2019 Leury Sanchez Bier                 $11.00   74.55   $    8.85               $   190.03   $   190.03
  5/19/2019 Leury Sanchez Bier                 $11.00   72.45   $    8.85               $   178.48   $   178.48
  5/26/2019 Leury Sanchez Bier                 $11.00   71.43   $    8.85               $   172.88   $   172.88
   6/2/2019 Leury Sanchez Bier                 $11.00   63.48   $    8.85               $   129.16   $   129.16
   6/9/2019 Leury Sanchez Bier                 $11.00   76.42   $    8.85               $   200.29   $   200.29
  6/16/2019 Leury Sanchez Bier                 $11.00   68.20   $    8.85               $   155.10   $   155.10
  6/23/2019 Leury Sanchez Bier                 $11.00   71.40   $    8.85               $   172.70   $   172.70
  6/30/2019 Leury Sanchez Bier                 $11.00   76.37   $   10.00               $   200.02   $   200.02
   7/7/2019 Leury Sanchez Bier                 $11.00   66.60   $   10.00               $   146.30   $   146.30
  7/14/2019 Leury Sanchez Bier                 $11.00   70.95   $   10.00               $   170.23   $   170.23
  7/21/2019 Leury Sanchez Bier                 $11.00   73.33   $   10.00               $   183.33   $   183.33
  7/28/2019 Leury Sanchez Bier                 $11.00   67.07   $   10.00               $   148.87   $   148.87
   8/4/2019 Leury Sanchez Bier                 $11.00   61.82   $   10.00               $   119.99   $   119.99
  8/11/2019 Leury Sanchez Bier                 $11.00   66.62   $   10.00               $   146.39   $   146.39
  8/18/2019 Leury Sanchez Bier                 $11.00   71.52   $   10.00               $   173.34   $   173.34
  8/25/2019 Leury Sanchez Bier                 $11.00   76.63   $   10.00               $   201.48   $   201.48
   9/1/2019 Leury Sanchez Bier                 $11.00   76.73   $   10.00               $   202.03   $   202.03
   9/8/2019 Leury Sanchez Bier                 $11.00   70.70   $   10.00               $   168.85   $   168.85
  9/15/2019 Leury Sanchez Bier                 $11.00   74.85   $   10.00               $   191.68   $   191.68
  9/22/2019 Leury Sanchez Bier                 $11.00   70.90   $   10.00               $   169.95   $   169.95
  9/29/2019 Leury Sanchez Bier                 $11.00   67.27   $   10.00               $   149.97   $   149.97



                                                 428
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 430 of 683 PageID: 1277
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  10/6/2019 Leury Sanchez Bier                $11.00   70.55   $   10.00               $   168.03   $   168.03
 10/13/2019 Leury Sanchez Bier                $11.00   73.95   $   10.00               $   186.73   $   186.73
 10/20/2019 Leury Sanchez Bier                $11.00   47.57   $   10.00               $    41.62   $    41.62
 10/27/2019 Leury Sanchez Bier                $11.00   73.55   $   10.00               $   184.53   $   184.53
  11/3/2019 Leury Sanchez Bier                $11.00   62.98   $   10.00               $   126.41   $   126.41
 11/10/2019 Leury Sanchez Bier                $11.00   59.03   $   10.00               $   104.68   $   104.68
 11/17/2019 Leury Sanchez Bier                $11.00   64.05   $   10.00               $   132.28   $   132.28
 11/24/2019 Leury Sanchez Bier                $11.00   75.13   $   10.00               $   193.23   $   193.23
  12/1/2019 Leury Sanchez Bier                $11.00   48.93   $   10.00               $    49.13   $    49.13
  12/8/2019 Leury Sanchez Bier                $11.00   46.47   $   10.00               $    35.57   $    35.57
 12/15/2019 Leury Sanchez Bier                $11.00   72.93   $   10.00               $   181.13   $   181.13
 12/22/2019 Leury Sanchez Bier                $11.00   74.80   $   10.00               $   191.40   $   191.40
 12/29/2019 Leury Sanchez Bier                $11.00   64.58   $   10.00               $   135.21   $   135.21
   1/5/2020 Leury Sanchez Bier                $11.00   72.10   $   11.00               $   176.55   $   176.55
  1/12/2020 Leury Sanchez Bier                $11.00   67.37   $   11.00               $   150.52   $   150.52
  1/19/2020 Leury Sanchez Bier                $11.00   67.05   $   11.00               $   148.78   $   148.78
  1/26/2020 Leury Sanchez Bier                $11.00   69.75   $   11.00               $   163.63   $   163.63
  6/16/2019 Lewis A. Henriquez                 $8.85   45.68   $    8.85               $    25.15   $    25.15
  6/23/2019 Lewis A. Henriquez                 $8.85   45.95   $    8.85               $    26.33   $    26.33
  6/30/2019 Lewis A. Henriquez                 $8.85   49.50   $   10.00   $   56.93   $    47.50   $   104.43
   7/7/2019 Lewis A. Henriquez                $10.00   44.65   $   10.00               $    23.25   $    23.25
  7/14/2019 Lewis A. Henriquez                $10.00   59.73   $   10.00               $    98.67   $    98.67
  7/21/2019 Lewis A. Henriquez                $10.00   50.35   $   10.00               $    51.75   $    51.75
  7/28/2019 Lewis A. Henriquez                $10.00   47.25   $   10.00               $    36.25   $    36.25
   8/4/2019 Lewis A. Henriquez                $10.00   50.30   $   10.00               $    51.50   $    51.50
 10/20/2019 Lewis Alberto Henriquez           $10.00   55.12   $   10.00               $    75.58   $    75.58
 10/27/2019 Lewis Alberto Henriquez           $10.00   55.20   $   10.00               $    76.00   $    76.00
  11/3/2019 Lewis Alberto Henriquez           $10.00   47.22   $   10.00               $    36.08   $    36.08
 11/10/2019 Lewis Alberto Henriquez           $10.00   54.67   $   10.00               $    73.33   $    73.33
 11/17/2019 Lewis Alberto Henriquez           $10.00   47.32   $   10.00               $    36.58   $    36.58
 11/24/2019 Lewis Alberto Henriquez           $10.00   47.07   $   10.00               $    35.33   $    35.33
  12/1/2019 Lewis Alberto Henriquez           $10.00   43.20   $   10.00               $    16.00   $    16.00
  12/8/2019 Lewis Alberto Henriquez           $10.00   55.23   $   10.00               $    76.17   $    76.17
 12/15/2019 Lewis Alberto Henriquez           $10.00   59.98   $   10.00               $    99.92   $    99.92
 11/24/2019 Lisandro Gomez                    $10.00   45.90   $   10.00               $    29.50   $    29.50
  1/19/2020 Lorenzo Santiago                  $10.00   49.97   $   11.00   $   49.97   $    54.82   $   104.78
  8/20/2017 Louise Soto                       $12.00   40.35   $    8.44               $     2.10   $     2.10
   9/3/2017 Louise Soto                       $12.00   40.57   $    8.44               $     3.40   $     3.40
 10/15/2017 Louise Soto                       $12.00   40.45   $    8.44               $     2.70   $     2.70
 11/19/2017 Louise Soto                       $12.00   40.65   $    8.44               $     3.90   $     3.90
 11/26/2017 Louise Soto                       $12.00   41.23   $    8.44               $     7.40   $     7.40
  12/3/2017 Louise Soto                       $12.00   40.63   $    8.44               $     3.80   $     3.80
 12/17/2017 Louise Soto                       $12.00   40.13   $    8.44               $     0.80   $     0.80
   3/4/2018 Luc Bien Aime                     $10.50   52.87   $    8.60               $    67.55   $    67.55
   4/1/2018 Luc Bien Aime                     $10.50   40.85   $    8.60               $     4.46   $     4.46
   4/8/2018 Luc Bien Aime                     $10.50   49.35   $    8.60               $    49.09   $    49.09
  4/15/2018 Luc Bien Aime                     $10.50   52.00   $    8.60               $    63.00   $    63.00
  5/27/2018 Lucas Aquino                       $9.00   40.68   $    8.60               $     3.07   $     3.07
   6/3/2018 Lucas Aquino                       $9.00   55.93   $    8.60               $    71.70   $    71.70
  6/10/2018 Lucas Aquino                       $9.00   51.47   $    8.60               $    51.60   $    51.60



                                                429
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 431 of 683 PageID: 1278
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  6/17/2018 Lucas Aquino                      $9.00   53.83   $    8.60               $    62.25   $    62.25
  6/24/2018 Lucas Aquino                      $9.00   56.62   $    8.60               $    74.78   $    74.78
   7/1/2018 Lucas Aquino                      $9.00   50.98   $    8.60               $    49.43   $    49.43
   7/8/2018 Lucas Aquino                      $9.00   51.30   $    8.60               $    50.85   $    50.85
  7/15/2018 Lucas Aquino                      $9.00   53.78   $    8.60               $    62.03   $    62.03
  7/22/2018 Lucas Aquino                      $9.00   50.77   $    8.60               $    48.45   $    48.45
  7/29/2018 Lucas Aquino                      $9.00   52.20   $    8.60               $    54.90   $    54.90
   8/5/2018 Lucas Aquino                      $9.00   69.87   $    8.60               $   134.40   $   134.40
  8/12/2018 Lucas Aquino                      $9.00   69.62   $    8.60               $   133.28   $   133.28
  8/19/2018 Lucas Aquino                      $9.00   48.37   $    8.60               $    37.65   $    37.65
  8/26/2018 Lucas Aquino                      $9.00   57.98   $    8.60               $    80.93   $    80.93
   9/2/2018 Lucas Aquino                      $9.00   54.33   $    8.60               $    64.50   $    64.50
   9/9/2018 Lucas Aquino                      $9.00   53.23   $    8.60               $    59.55   $    59.55
  9/16/2018 Lucas Aquino                      $9.00   43.05   $    8.60               $    13.73   $    13.73
  9/23/2018 Lucas Aquino                      $9.00   54.17   $    8.60               $    63.75   $    63.75
  9/30/2018 Lucas Aquino                      $9.00   53.35   $    8.60               $    60.08   $    60.08
  10/7/2018 Lucas Aquino                      $9.00   57.53   $    8.60               $    78.90   $    78.90
 10/14/2018 Lucas Aquino                      $9.00   54.55   $    8.60               $    65.48   $    65.48
 10/21/2018 Lucas Aquino                      $9.00   66.92   $    8.60               $   121.13   $   121.13
 10/28/2018 Lucas Aquino                      $9.00   72.33   $    8.60               $   145.50   $   145.50
  2/17/2019 Luilly Baez                       $9.50   60.63   $    8.85               $    98.01   $    98.01
  2/24/2019 Luilly Baez                       $9.50   59.82   $    8.85               $    94.13   $    94.13
   3/3/2019 Luilly Baez                       $9.50   60.50   $    8.85               $    97.38   $    97.38
  3/10/2019 Luilly Baez                       $9.50   59.17   $    8.85               $    91.04   $    91.04
  3/17/2019 Luilly Baez                       $9.50   61.73   $    8.85               $   103.23   $   103.23
  3/24/2019 Luilly Baez                       $9.50   50.02   $    8.85               $    47.58   $    47.58
  9/15/2019 Luilly Baez                       $9.50   71.27   $   10.00   $   35.63   $   156.33   $   191.97
  9/22/2019 Luilly Baez                       $9.50   71.42   $   10.00   $   35.71   $   157.08   $   192.79
  9/29/2019 Luilly Baez                       $9.50   67.78   $   10.00   $   33.89   $   138.92   $   172.81
  10/6/2019 Luilly Baez                       $9.50   72.18   $   10.00   $   36.09   $   160.92   $   197.01
 10/13/2019 Luilly Baez                       $9.50   68.23   $   10.00   $   34.12   $   141.17   $   175.28
 10/20/2019 Luilly Baez                       $9.50   62.70   $   10.00   $   31.35   $   113.50   $   144.85
 10/27/2019 Luilly Baez                       $9.50   60.05   $   10.00   $   30.03   $   100.25   $   130.28
  11/3/2019 Luilly Baez                       $9.50   62.48   $   10.00   $   31.24   $   112.42   $   143.66
 11/10/2019 Luilly Baez                       $9.50   60.23   $   10.00   $   30.12   $   101.17   $   131.28
 11/17/2019 Luilly Baez                       $9.50   57.70   $   10.00   $   28.85   $    88.50   $   117.35
 11/24/2019 Luilly Baez                       $9.50   58.27   $   10.00   $   29.13   $    91.33   $   120.47
   2/5/2017 Luilly J. Acosta                 $11.00   63.22   $    8.44               $   127.69   $   127.69
  2/12/2017 Luilly J. Acosta                 $11.00   47.55   $    8.44               $    41.53   $    41.53
  2/19/2017 Luilly J. Acosta                 $11.00   57.62   $    8.44               $    96.89   $    96.89
  2/26/2017 Luilly J. Acosta                 $11.00   48.00   $    8.44               $    44.00   $    44.00
   3/5/2017 Luilly J. Acosta                 $11.00   58.83   $    8.44               $   103.58   $   103.58
  3/12/2017 Luilly J. Acosta                 $11.00   61.47   $    8.44               $   118.07   $   118.07
  3/19/2017 Luilly J. Acosta                 $11.00   47.63   $    8.44               $    41.98   $    41.98
  3/26/2017 Luilly J. Acosta                 $11.00   66.05   $    8.44               $   143.28   $   143.28
   4/2/2017 Luilly J. Acosta                 $11.00   54.25   $    8.44               $    78.38   $    78.38
   4/9/2017 Luilly J. Acosta                 $11.00   65.45   $    8.44               $   139.98   $   139.98
  4/16/2017 Luilly J. Acosta                 $11.00   62.53   $    8.44               $   123.93   $   123.93
  4/23/2017 Luilly J. Acosta                 $11.00   61.02   $    8.44               $   115.59   $   115.59
  4/30/2017 Luilly J. Acosta                 $11.00   40.43   $    8.44               $     2.38   $     2.38



                                               430
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 432 of 683 PageID: 1279
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

   5/7/2017 Luilly J. Acosta                 $11.00   59.05   $   8.44          $   104.78   $    104.78
  5/14/2017 Luilly J. Acosta                 $11.00   51.40   $   8.44          $    62.70   $     62.70
  5/21/2017 Luilly J. Acosta                 $11.00   59.20   $   8.44          $   105.60   $    105.60
  5/28/2017 Luilly J. Acosta                 $11.00   52.28   $   8.44          $    67.56   $     67.56
   6/4/2017 Luilly J. Acosta                 $11.00   46.92   $   8.44          $    38.04   $     38.04
  6/11/2017 Luilly J. Acosta                 $11.00   55.58   $   8.44          $    85.71   $     85.71
  6/18/2017 Luilly J. Acosta                 $11.00   58.25   $   8.44          $   100.38   $    100.38
  6/25/2017 Luilly J. Acosta                 $11.00   61.32   $   8.44          $   117.24   $    117.24
   7/2/2017 Luilly J. Acosta                 $11.00   46.83   $   8.44          $    37.58   $     37.58
  7/16/2017 Luilly J. Acosta                 $11.00   56.28   $   8.44          $    89.56   $     89.56
  7/23/2017 Luilly J. Acosta                 $11.00   55.08   $   8.44          $    82.96   $     82.96
  7/30/2017 Luilly J. Acosta                 $11.00   54.72   $   8.44          $    80.94   $     80.94
   8/6/2017 Luilly J. Acosta                 $11.00   57.42   $   8.44          $    95.79   $     95.79
  8/13/2017 Luilly J. Acosta                 $11.00   62.75   $   8.44          $   125.13   $    125.13
  8/20/2017 Luilly J. Acosta                 $11.00   43.25   $   8.44          $    17.88   $     17.88
  8/27/2017 Luilly J. Acosta                 $11.00   60.80   $   8.44          $   114.40   $    114.40
   9/3/2017 Luilly J. Acosta                 $11.00   59.80   $   8.44          $   108.90   $    108.90
  9/17/2017 Luilly J. Acosta                 $11.00   58.95   $   8.44          $   104.23   $    104.23
  9/24/2017 Luilly J. Acosta                 $11.00   61.22   $   8.44          $   116.69   $    116.69
  10/1/2017 Luilly J. Acosta                 $11.00   45.75   $   8.44          $    31.63   $     31.63
  10/8/2017 Luilly J. Acosta                 $11.00   57.45   $   8.44          $    95.98   $     95.98
 10/15/2017 Luilly J. Acosta                 $11.00   51.63   $   8.44          $    63.98   $     63.98
 10/22/2017 Luilly J. Acosta                 $11.00   55.47   $   8.44          $    85.07   $     85.07
 10/29/2017 Luilly J. Acosta                 $11.00   60.08   $   8.44          $   110.46   $    110.46
  11/5/2017 Luilly J. Acosta                 $11.00   56.43   $   8.44          $    90.38   $     90.38
 11/12/2017 Luilly J. Acosta                 $11.00   58.45   $   8.44          $   101.48   $    101.48
  12/3/2017 Luilly J. Acosta                 $11.00   58.60   $   8.44          $   102.30   $    102.30
 12/10/2017 Luilly J. Acosta                 $11.00   58.57   $   8.44          $   102.12   $    102.12
 12/31/2017 Luilly J. Acosta                 $11.00   49.85   $   8.44          $    54.18   $     54.18
  11/4/2018 Luilly J. Acosta                 $10.50   43.87   $   8.60          $    20.30   $     20.30
 11/11/2018 Luilly J. Acosta                 $10.50   57.50   $   8.60          $    91.88   $     91.88
 11/12/2017 Luis A. Acosta                   $10.00   61.98   $   8.44          $   109.92   $    109.92
 11/19/2017 Luis A. Acosta                   $10.00   61.45   $   8.44          $   107.25   $    107.25
 11/26/2017 Luis A. Acosta                   $10.00   49.38   $   8.44          $    46.92   $     46.92
  12/3/2017 Luis A. Acosta                   $10.00   59.25   $   8.44          $    96.25   $     96.25
 12/10/2017 Luis A. Acosta                   $10.00   60.03   $   8.44          $   100.17   $    100.17
 12/17/2017 Luis A. Acosta                   $10.00   59.95   $   8.44          $    99.75   $     99.75
 12/24/2017 Luis A. Acosta                   $10.00   50.98   $   8.44          $    54.92   $     54.92
 12/31/2017 Luis A. Acosta                   $10.00   48.40   $   8.44          $    42.00   $     42.00
   1/7/2018 Luis A. Acosta                   $10.00   40.45   $   8.60          $     2.25   $      2.25
  1/14/2018 Luis A. Acosta                   $10.00   67.80   $   8.60          $   139.00   $    139.00
  1/21/2018 Luis A. Acosta                   $10.00   61.70   $   8.60          $   108.50   $    108.50
  1/28/2018 Luis A. Acosta                   $10.00   59.45   $   8.60          $    97.25   $     97.25
   2/4/2018 Luis A. Acosta                   $10.00   61.68   $   8.60          $   108.42   $    108.42
  2/11/2018 Luis A. Acosta                   $10.00   62.28   $   8.60          $   111.42   $    111.42
  2/18/2018 Luis A. Acosta                   $10.00   61.78   $   8.60          $   108.92   $    108.92
  2/25/2018 Luis A. Acosta                   $10.00   61.93   $   8.60          $   109.67   $    109.67
   3/4/2018 Luis A. Acosta                   $10.00   68.67   $   8.60          $   143.33   $    143.33
  3/25/2018 Luis A. Acosta                   $10.00   68.65   $   8.60          $   143.25   $    143.25
   4/1/2018 Luis A. Acosta                   $10.00   72.13   $   8.60          $   160.67   $    160.67



                                               431
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 433 of 683 PageID: 1280
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

   4/8/2018 Luis A. Acosta                 $10.00   73.90   $   8.60          $   169.50   $    169.50
  4/15/2018 Luis A. Acosta                 $10.00   74.48   $   8.60          $   172.42   $    172.42
  4/22/2018 Luis A. Acosta                 $10.00   73.62   $   8.60          $   168.08   $    168.08
  4/29/2018 Luis A. Acosta                 $10.00   74.78   $   8.60          $   173.92   $    173.92
   5/6/2018 Luis A. Acosta                 $10.00   74.13   $   8.60          $   170.67   $    170.67
  5/13/2018 Luis A. Acosta                 $10.00   74.38   $   8.60          $   171.92   $    171.92
  5/20/2018 Luis A. Acosta                 $10.00   74.53   $   8.60          $   172.67   $    172.67
  5/27/2018 Luis A. Acosta                 $10.00   75.18   $   8.60          $   175.92   $    175.92
   6/3/2018 Luis A. Acosta                 $10.00   69.77   $   8.60          $   148.83   $    148.83
  6/10/2018 Luis A. Acosta                 $10.00   75.17   $   8.60          $   175.83   $    175.83
  6/17/2018 Luis A. Acosta                 $10.00   75.12   $   8.60          $   175.58   $    175.58
  6/24/2018 Luis A. Acosta                 $10.00   74.92   $   8.60          $   174.58   $    174.58
   7/1/2018 Luis A. Acosta                 $10.00   74.53   $   8.60          $   172.67   $    172.67
   7/8/2018 Luis A. Acosta                 $10.00   68.28   $   8.60          $   141.42   $    141.42
  7/15/2018 Luis A. Acosta                 $10.00   75.32   $   8.60          $   176.58   $    176.58
  7/22/2018 Luis A. Acosta                 $10.00   74.97   $   8.60          $   174.83   $    174.83
  7/29/2018 Luis A. Acosta                 $10.00   74.67   $   8.60          $   173.33   $    173.33
   8/5/2018 Luis A. Acosta                 $10.00   76.30   $   8.60          $   181.50   $    181.50
  8/12/2018 Luis A. Acosta                 $10.00   75.00   $   8.60          $   175.00   $    175.00
  8/19/2018 Luis A. Acosta                 $10.00   75.07   $   8.60          $   175.33   $    175.33
  8/26/2018 Luis A. Acosta                 $10.00   74.28   $   8.60          $   171.42   $    171.42
   9/2/2018 Luis A. Acosta                 $10.00   75.05   $   8.60          $   175.25   $    175.25
   9/9/2018 Luis A. Acosta                 $10.00   69.75   $   8.60          $   148.75   $    148.75
  9/16/2018 Luis A. Acosta                 $10.00   75.00   $   8.60          $   175.00   $    175.00
  9/23/2018 Luis A. Acosta                 $10.00   75.33   $   8.60          $   176.67   $    176.67
  9/30/2018 Luis A. Acosta                 $10.00   74.62   $   8.60          $   173.08   $    173.08
  10/7/2018 Luis A. Acosta                 $10.00   75.18   $   8.60          $   175.92   $    175.92
 10/14/2018 Luis A. Acosta                 $10.00   74.27   $   8.60          $   171.33   $    171.33
 10/21/2018 Luis A. Acosta                 $10.00   50.83   $   8.60          $    54.17   $     54.17
 10/28/2018 Luis A. Acosta                 $12.00   78.98   $   8.60          $   233.90   $    233.90
  11/4/2018 Luis A. Acosta                 $12.00   77.38   $   8.60          $   224.30   $    224.30
 11/11/2018 Luis A. Acosta                 $12.00   78.23   $   8.60          $   229.40   $    229.40
 11/18/2018 Luis A. Acosta                 $12.00   77.95   $   8.60          $   227.70   $    227.70
 11/25/2018 Luis A. Acosta                 $12.00   64.53   $   8.60          $   147.20   $    147.20
  12/2/2018 Luis A. Acosta                 $12.00   77.58   $   8.60          $   225.50   $    225.50
  12/9/2018 Luis A. Acosta                 $12.00   75.98   $   8.60          $   215.90   $    215.90
 12/16/2018 Luis A. Acosta                 $12.00   77.88   $   8.60          $   227.30   $    227.30
 12/23/2018 Luis A. Acosta                 $12.00   77.42   $   8.60          $   224.50   $    224.50
 12/30/2018 Luis A. Acosta                 $12.00   59.67   $   8.60          $   118.00   $    118.00
   1/6/2019 Luis A. Acosta                 $12.00   70.45   $   8.85          $   182.70   $    182.70
  1/13/2019 Luis A. Acosta                 $12.00   77.48   $   8.85          $   224.90   $    224.90
  1/20/2019 Luis A. Acosta                 $12.00   78.62   $   8.85          $   231.70   $    231.70
  1/27/2019 Luis A. Acosta                 $12.00   78.58   $   8.85          $   231.50   $    231.50
   2/3/2019 Luis A. Acosta                 $12.00   78.47   $   8.85          $   230.80   $    230.80
  2/10/2019 Luis A. Acosta                 $12.00   76.10   $   8.85          $   216.60   $    216.60
  2/17/2019 Luis A. Acosta                 $12.00   78.02   $   8.85          $   228.10   $    228.10
  2/24/2019 Luis A. Acosta                 $12.00   79.72   $   8.85          $   238.30   $    238.30
   3/3/2019 Luis A. Acosta                 $12.00   78.50   $   8.85          $   231.00   $    231.00
  3/10/2019 Luis A. Acosta                 $12.00   79.65   $   8.85          $   237.90   $    237.90
  3/17/2019 Luis A. Acosta                 $12.00   81.05   $   8.85          $   246.30   $    246.30



                                             432
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 434 of 683 PageID: 1281
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

  3/24/2019 Luis A. Acosta                     $12.00   79.23   $    8.85         $   235.40   $    235.40
  3/31/2019 Luis A. Acosta                     $12.00   83.25   $    8.85         $   259.50   $    259.50
   4/7/2019 Luis A. Acosta                     $12.00   80.98   $    8.85         $   245.90   $    245.90
  4/14/2019 Luis A. Acosta                     $12.00   79.37   $    8.85         $   236.20   $    236.20
  4/21/2019 Luis A. Acosta                     $12.00   77.97   $    8.85         $   227.80   $    227.80
  4/28/2019 Luis A. Acosta                     $12.00   78.05   $    8.85         $   228.30   $    228.30
   5/5/2019 Luis A. Acosta                     $12.00   78.10   $    8.85         $   228.60   $    228.60
  5/12/2019 Luis A. Acosta                     $12.00   77.87   $    8.85         $   227.20   $    227.20
  5/19/2019 Luis A. Acosta                     $12.00   78.52   $    8.85         $   231.10   $    231.10
  5/26/2019 Luis A. Acosta                     $12.00   88.57   $    8.85         $   291.40   $    291.40
   6/2/2019 Luis A. Acosta                     $12.00   64.93   $    8.85         $   149.60   $    149.60
   6/9/2019 Luis A. Acosta                     $12.00   60.00   $    8.85         $   120.00   $    120.00
  6/16/2019 Luis A. Acosta                     $12.00   62.27   $    8.85         $   133.60   $    133.60
  6/23/2019 Luis A. Acosta                     $12.00   74.32   $    8.85         $   205.90   $    205.90
  6/30/2019 Luis A. Acosta                     $12.00   79.67   $   10.00         $   238.00   $    238.00
   7/7/2019 Luis A. Acosta                     $12.00   78.35   $   10.00         $   230.10   $    230.10
  7/14/2019 Luis A. Acosta                     $12.00   80.13   $   10.00         $   240.80   $    240.80
  7/21/2019 Luis A. Acosta                     $12.00   88.38   $   10.00         $   290.30   $    290.30
  7/28/2019 Luis A. Acosta                     $12.00   85.27   $   10.00         $   271.60   $    271.60
   8/4/2019 Luis A. Acosta                     $12.00   85.43   $   10.00         $   272.60   $    272.60
   9/1/2019 Luis A. Acosta                     $12.00   92.10   $   10.00         $   312.60   $    312.60
   9/8/2019 Luis A. Acosta                     $12.00   76.58   $   10.00         $   219.50   $    219.50
  9/15/2019 Luis A. Acosta                     $12.00   82.63   $   10.00         $   255.80   $    255.80
  9/22/2019 Luis A. Acosta                     $12.00   67.73   $   10.00         $   166.40   $    166.40
  9/29/2019 Luis A. Acosta                     $12.00   79.30   $   10.00         $   235.80   $    235.80
  10/6/2019 Luis A. Acosta                     $12.00   56.00   $   10.00         $    96.00   $     96.00
 10/13/2019 Luis A. Acosta                     $12.00   57.68   $   10.00         $   106.10   $    106.10
 10/20/2019 Luis A. Acosta                     $12.00   67.17   $   10.00         $   163.00   $    163.00
 10/27/2019 Luis A. Acosta                     $12.00   66.20   $   10.00         $   157.20   $    157.20
  11/3/2019 Luis A. Acosta                     $12.00   66.43   $   10.00         $   158.60   $    158.60
 11/10/2019 Luis A. Acosta                     $12.00   67.02   $   10.00         $   162.10   $    162.10
 11/17/2019 Luis A. Acosta                     $12.00   66.92   $   10.00         $   161.50   $    161.50
 11/24/2019 Luis A. Acosta                     $12.00   67.28   $   10.00         $   163.70   $    163.70
  12/1/2019 Luis A. Acosta                     $12.00   55.88   $   10.00         $    95.30   $     95.30
  12/8/2019 Luis A. Acosta                     $12.00   67.48   $   10.00         $   164.90   $    164.90
 12/15/2019 Luis A. Acosta                     $12.00   67.18   $   10.00         $   163.10   $    163.10
 12/22/2019 Luis A. Acosta                     $12.00   68.37   $   10.00         $   170.20   $    170.20
 12/29/2019 Luis A. Acosta                     $12.00   51.30   $   10.00         $    67.80   $     67.80
   1/5/2020 Luis A. Acosta                     $12.00   54.90   $   11.00         $    89.40   $     89.40
  1/12/2020 Luis A. Acosta                     $12.00   69.35   $   11.00         $   176.10   $    176.10
  1/19/2020 Luis A. Acosta                     $12.00   69.67   $   11.00         $   178.00   $    178.00
  1/26/2020 Luis A. Acosta                     $12.00   69.32   $   11.00         $   175.90   $    175.90
   2/5/2017 Luis Alberto A. Cifuentes          $12.00   71.45   $    8.44         $   188.70   $    188.70
  2/12/2017 Luis Alberto A. Cifuentes          $12.00   61.80   $    8.44         $   130.80   $    130.80
  2/19/2017 Luis Alberto A. Cifuentes          $12.00   70.43   $    8.44         $   182.60   $    182.60
  2/26/2017 Luis Alberto A. Cifuentes          $12.00   70.65   $    8.44         $   183.90   $    183.90
   3/5/2017 Luis Alberto A. Cifuentes          $12.00   70.35   $    8.44         $   182.10   $    182.10
  3/12/2017 Luis Alberto A. Cifuentes          $12.00   72.08   $    8.44         $   192.50   $    192.50
  3/19/2017 Luis Alberto A. Cifuentes          $12.00   58.62   $    8.44         $   111.70   $    111.70
  3/26/2017 Luis Alberto A. Cifuentes          $12.00   71.83   $    8.44         $   191.00   $    191.00



                                                 433
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 435 of 683 PageID: 1282
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

   4/2/2017 Luis Alberto A. Cifuentes          $12.00   71.98   $   8.44          $   191.90   $    191.90
   4/9/2017 Luis Alberto A. Cifuentes          $12.00   71.95   $   8.44          $   191.70   $    191.70
  4/16/2017 Luis Alberto A. Cifuentes          $12.00   72.28   $   8.44          $   193.70   $    193.70
  4/23/2017 Luis Alberto A. Cifuentes          $12.00   70.92   $   8.44          $   185.50   $    185.50
  4/30/2017 Luis Alberto A. Cifuentes          $12.00   71.12   $   8.44          $   186.70   $    186.70
   5/7/2017 Luis Alberto A. Cifuentes          $12.00   71.52   $   8.44          $   189.10   $    189.10
  5/14/2017 Luis Alberto A. Cifuentes          $12.00   70.52   $   8.44          $   183.10   $    183.10
  5/21/2017 Luis Alberto A. Cifuentes          $12.00   71.75   $   8.44          $   190.50   $    190.50
  5/28/2017 Luis Alberto A. Cifuentes          $12.00   72.87   $   8.44          $   197.20   $    197.20
   6/4/2017 Luis Alberto A. Cifuentes          $12.00   68.05   $   8.44          $   168.30   $    168.30
  6/11/2017 Luis Alberto A. Cifuentes          $12.00   71.78   $   8.44          $   190.70   $    190.70
  6/18/2017 Luis Alberto A. Cifuentes          $12.00   72.38   $   8.44          $   194.30   $    194.30
  6/25/2017 Luis Alberto A. Cifuentes          $12.00   71.30   $   8.44          $   187.80   $    187.80
   7/2/2017 Luis Alberto A. Cifuentes          $12.00   72.70   $   8.44          $   196.20   $    196.20
   7/9/2017 Luis Alberto A. Cifuentes          $12.00   60.62   $   8.44          $   123.70   $    123.70
  7/16/2017 Luis Alberto A. Cifuentes          $12.00   71.15   $   8.44          $   186.90   $    186.90
  7/23/2017 Luis Alberto A. Cifuentes          $12.00   71.68   $   8.44          $   190.10   $    190.10
  7/30/2017 Luis Alberto A. Cifuentes          $12.00   72.93   $   8.44          $   197.60   $    197.60
   8/6/2017 Luis Alberto A. Cifuentes          $12.00   73.33   $   8.44          $   200.00   $    200.00
  8/13/2017 Luis Alberto A. Cifuentes          $12.00   70.87   $   8.44          $   185.20   $    185.20
  8/20/2017 Luis Alberto A. Cifuentes          $12.00   72.17   $   8.44          $   193.00   $    193.00
  8/27/2017 Luis Alberto A. Cifuentes          $12.00   74.43   $   8.44          $   206.60   $    206.60
   9/3/2017 Luis Alberto A. Cifuentes          $12.00   74.25   $   8.44          $   205.50   $    205.50
  9/10/2017 Luis Alberto A. Cifuentes          $12.00   61.63   $   8.44          $   129.80   $    129.80
  9/17/2017 Luis Alberto A. Cifuentes          $12.00   62.85   $   8.44          $   137.10   $    137.10
  9/24/2017 Luis Alberto A. Cifuentes          $12.00   64.27   $   8.44          $   145.60   $    145.60
  10/1/2017 Luis Alberto A. Cifuentes          $12.00   64.90   $   8.44          $   149.40   $    149.40
  10/8/2017 Luis Alberto A. Cifuentes          $12.00   64.28   $   8.44          $   145.70   $    145.70
 10/15/2017 Luis Alberto A. Cifuentes          $12.00   66.17   $   8.44          $   157.00   $    157.00
 10/22/2017 Luis Alberto A. Cifuentes          $12.00   63.78   $   8.44          $   142.70   $    142.70
 10/29/2017 Luis Alberto A. Cifuentes          $12.00   64.23   $   8.44          $   145.40   $    145.40
  11/5/2017 Luis Alberto A. Cifuentes          $12.00   63.58   $   8.44          $   141.50   $    141.50
 11/12/2017 Luis Alberto A. Cifuentes          $12.00   67.72   $   8.44          $   166.30   $    166.30
 11/19/2017 Luis Alberto A. Cifuentes          $12.00   68.80   $   8.44          $   172.80   $    172.80
 11/26/2017 Luis Alberto A. Cifuentes          $12.00   58.32   $   8.44          $   109.90   $    109.90
  12/3/2017 Luis Alberto A. Cifuentes          $12.00   70.52   $   8.44          $   183.10   $    183.10
 12/10/2017 Luis Alberto A. Cifuentes          $12.00   69.67   $   8.44          $   178.00   $    178.00
 12/17/2017 Luis Alberto A. Cifuentes          $12.00   70.02   $   8.44          $   180.10   $    180.10
 12/24/2017 Luis Alberto A. Cifuentes          $12.00   69.92   $   8.44          $   179.50   $    179.50
 12/31/2017 Luis Alberto A. Cifuentes          $12.00   57.45   $   8.44          $   104.70   $    104.70
   1/7/2018 Luis Alberto A. Cifuentes          $12.00   55.78   $   8.60          $    94.70   $     94.70
  1/14/2018 Luis Alberto A. Cifuentes          $12.00   69.55   $   8.60          $   177.30   $    177.30
  1/21/2018 Luis Alberto A. Cifuentes          $12.00   69.77   $   8.60          $   178.60   $    178.60
  1/28/2018 Luis Alberto A. Cifuentes          $12.00   70.57   $   8.60          $   183.40   $    183.40
   2/4/2018 Luis Alberto A. Cifuentes          $12.00   69.28   $   8.60          $   175.70   $    175.70
  2/11/2018 Luis Alberto A. Cifuentes          $12.00   68.03   $   8.60          $   168.20   $    168.20
  2/18/2018 Luis Alberto A. Cifuentes          $12.00   65.52   $   8.60          $   153.10   $    153.10
  2/25/2018 Luis Alberto A. Cifuentes          $12.00   66.18   $   8.60          $   157.10   $    157.10
   3/4/2018 Luis Alberto A. Cifuentes          $12.00   65.98   $   8.60          $   155.90   $    155.90
  3/25/2018 Luis Alberto A. Cifuentes          $12.00   65.73   $   8.60          $   154.40   $    154.40



                                                 434
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 436 of 683 PageID: 1283
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

   4/1/2018 Luis Alberto A. Cifuentes          $12.00   66.58   $   8.60          $   159.50   $    159.50
   4/8/2018 Luis Alberto A. Cifuentes          $12.00   65.45   $   8.60          $   152.70   $    152.70
  4/15/2018 Luis Alberto A. Cifuentes          $12.00   65.33   $   8.60          $   152.00   $    152.00
  4/22/2018 Luis Alberto A. Cifuentes          $12.00   66.02   $   8.60          $   156.10   $    156.10
  4/29/2018 Luis Alberto A. Cifuentes          $12.00   66.02   $   8.60          $   156.10   $    156.10
   5/6/2018 Luis Alberto A. Cifuentes          $12.00   66.07   $   8.60          $   156.40   $    156.40
  5/13/2018 Luis Alberto A. Cifuentes          $12.00   65.78   $   8.60          $   154.70   $    154.70
  5/20/2018 Luis Alberto A. Cifuentes          $12.00   66.25   $   8.60          $   157.50   $    157.50
  5/27/2018 Luis Alberto A. Cifuentes          $12.00   65.67   $   8.60          $   154.00   $    154.00
   6/3/2018 Luis Alberto A. Cifuentes          $12.00   59.32   $   8.60          $   115.90   $    115.90
  6/10/2018 Luis Alberto A. Cifuentes          $12.00   64.98   $   8.60          $   149.90   $    149.90
  6/17/2018 Luis Alberto A. Cifuentes          $12.00   65.62   $   8.60          $   153.70   $    153.70
  6/24/2018 Luis Alberto A. Cifuentes          $12.00   65.30   $   8.60          $   151.80   $    151.80
   7/1/2018 Luis Alberto A. Cifuentes          $12.00   65.13   $   8.60          $   150.80   $    150.80
   7/8/2018 Luis Alberto A. Cifuentes          $12.00   54.53   $   8.60          $    87.20   $     87.20
  7/15/2018 Luis Alberto A. Cifuentes          $12.00   65.32   $   8.60          $   151.90   $    151.90
  7/22/2018 Luis Alberto A. Cifuentes          $12.00   65.22   $   8.60          $   151.30   $    151.30
  7/29/2018 Luis Alberto A. Cifuentes          $12.00   63.57   $   8.60          $   141.40   $    141.40
   8/5/2018 Luis Alberto A. Cifuentes          $12.00   64.30   $   8.60          $   145.80   $    145.80
  8/12/2018 Luis Alberto A. Cifuentes          $12.00   62.88   $   8.60          $   137.30   $    137.30
  8/19/2018 Luis Alberto A. Cifuentes          $12.00   60.15   $   8.60          $   120.90   $    120.90
  8/26/2018 Luis Alberto A. Cifuentes          $12.00   62.20   $   8.60          $   133.20   $    133.20
   9/2/2018 Luis Alberto A. Cifuentes          $12.00   63.63   $   8.60          $   141.80   $    141.80
   9/9/2018 Luis Alberto A. Cifuentes          $12.00   53.03   $   8.60          $    78.20   $     78.20
  9/16/2018 Luis Alberto A. Cifuentes          $12.00   64.17   $   8.60          $   145.00   $    145.00
  9/23/2018 Luis Alberto A. Cifuentes          $12.00   65.42   $   8.60          $   152.50   $    152.50
  9/30/2018 Luis Alberto A. Cifuentes          $12.00   65.45   $   8.60          $   152.70   $    152.70
  10/7/2018 Luis Alberto A. Cifuentes          $12.00   64.58   $   8.60          $   147.50   $    147.50
 10/14/2018 Luis Alberto A. Cifuentes          $12.00   64.33   $   8.60          $   146.00   $    146.00
 10/21/2018 Luis Alberto A. Cifuentes          $12.00   63.97   $   8.60          $   143.80   $    143.80
 10/28/2018 Luis Alberto A. Cifuentes          $12.00   54.75   $   8.60          $    88.50   $     88.50
  11/4/2018 Luis Alberto A. Cifuentes          $12.00   65.43   $   8.60          $   152.60   $    152.60
 11/11/2018 Luis Alberto A. Cifuentes          $12.00   64.97   $   8.60          $   149.80   $    149.80
 11/18/2018 Luis Alberto A. Cifuentes          $12.00   65.82   $   8.60          $   154.90   $    154.90
 11/25/2018 Luis Alberto A. Cifuentes          $12.00   55.35   $   8.60          $    92.10   $     92.10
  12/2/2018 Luis Alberto A. Cifuentes          $12.00   64.73   $   8.60          $   148.40   $    148.40
  12/9/2018 Luis Alberto A. Cifuentes          $12.00   69.70   $   8.60          $   178.20   $    178.20
 12/16/2018 Luis Alberto A. Cifuentes          $12.00   72.50   $   8.60          $   195.00   $    195.00
 12/23/2018 Luis Alberto A. Cifuentes          $12.00   69.75   $   8.60          $   178.50   $    178.50
 12/30/2018 Luis Alberto A. Cifuentes          $12.00   40.78   $   8.60          $     4.70   $      4.70
   1/6/2019 Luis Alberto A. Cifuentes          $12.00   54.20   $   8.85          $    85.20   $     85.20
  1/13/2019 Luis Alberto A. Cifuentes          $12.00   65.68   $   8.85          $   154.10   $    154.10
  1/20/2019 Luis Alberto A. Cifuentes          $12.00   65.42   $   8.85          $   152.50   $    152.50
  1/27/2019 Luis Alberto A. Cifuentes          $12.00   65.02   $   8.85          $   150.10   $    150.10
   2/3/2019 Luis Alberto A. Cifuentes          $12.00   53.53   $   8.85          $    81.20   $     81.20
  2/10/2019 Luis Alberto A. Cifuentes          $12.00   64.73   $   8.85          $   148.40   $    148.40
  2/17/2019 Luis Alberto A. Cifuentes          $12.00   62.02   $   8.85          $   132.10   $    132.10
  2/24/2019 Luis Alberto A. Cifuentes          $12.00   64.97   $   8.85          $   149.80   $    149.80
   3/3/2019 Luis Alberto A. Cifuentes          $12.00   66.37   $   8.85          $   158.20   $    158.20
  3/10/2019 Luis Alberto A. Cifuentes          $12.00   65.73   $   8.85          $   154.40   $    154.40



                                                 435
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 437 of 683 PageID: 1284
                                                     Exhibit 2
                                             New Jersey Computations


   Week                                                             State Section 7: Section 7: Total Section 7
                                                    Hourly Hours/
  Ending                         Name                             Minumum Regular    Half-Time Overtime Back
                                                     Rate Week
   Date                                                             Wage  Rate Due     Due       Wages Due

  3/17/2019 Luis Alberto A. Cifuentes               $12.00   63.53   $    8.85               $   141.20   $   141.20
  3/24/2019 Luis Alberto A. Cifuentes               $12.00   65.45   $    8.85               $   152.70   $   152.70
  3/31/2019 Luis Alberto A. Cifuentes               $12.00   66.90   $    8.85               $   161.40   $   161.40
   4/7/2019 Luis Alberto A. Cifuentes               $12.00   67.40   $    8.85               $   164.40   $   164.40
  4/14/2019 Luis Alberto A. Cifuentes               $12.00   68.65   $    8.85               $   171.90   $   171.90
  4/21/2019 Luis Alberto A. Cifuentes               $12.00   65.87   $    8.85               $   155.20   $   155.20
  4/28/2019 Luis Alberto A. Cifuentes               $12.00   63.38   $    8.85               $   140.30   $   140.30
   5/5/2019 Luis Alberto A. Cifuentes               $12.00   63.25   $    8.85               $   139.50   $   139.50
  5/12/2019 Luis Alberto A. Cifuentes               $12.00   53.18   $    8.85               $    79.10   $    79.10
  5/19/2019 Luis Alberto A. Cifuentes               $12.00   66.90   $    8.85               $   161.40   $   161.40
  5/26/2019 Luis Alberto A. Cifuentes               $12.00   63.48   $    8.85               $   140.90   $   140.90
   6/2/2019 Luis Alberto A. Cifuentes               $12.00   53.70   $    8.85               $    82.20   $    82.20
   6/9/2019 Luis Alberto A. Cifuentes               $12.00   61.43   $    8.85               $   128.60   $   128.60
  6/16/2019 Luis Alberto A. Cifuentes               $12.00   62.73   $    8.85               $   136.40   $   136.40
  6/23/2019 Luis Alberto A. Cifuentes               $12.00   64.68   $    8.85               $   148.10   $   148.10
  6/30/2019 Luis Alberto A. Cifuentes               $12.00   66.63   $   10.00               $   159.80   $   159.80
   7/7/2019 Luis Alberto A. Cifuentes               $12.00   56.00   $   10.00               $    96.00   $    96.00
  7/14/2019 Luis Alberto A. Cifuentes               $12.00   64.25   $   10.00               $   145.50   $   145.50
  7/21/2019 Luis Alberto A. Cifuentes               $12.00   63.15   $   10.00               $   138.90   $   138.90
  7/28/2019 Luis Alberto A. Cifuentes               $12.00   42.97   $   10.00               $    17.80   $    17.80
   8/4/2019 Luis Alberto A. Cifuentes               $12.00   52.33   $   10.00               $    74.00   $    74.00
  8/11/2019 Luis Alberto A. Cifuentes               $12.00   62.15   $   10.00               $   132.90   $   132.90
  8/18/2019 Luis Alberto A. Cifuentes               $12.00   60.27   $   10.00               $   121.60   $   121.60
   9/8/2019 Luis Alberto A. Cifuentes               $12.00   54.25   $   10.00               $    85.50   $    85.50
  9/22/2019 Luis Alberto A. Cifuentes               $12.00   53.57   $   10.00               $    81.40   $    81.40
  9/29/2019 Luis Alberto A. Cifuentes               $12.00   55.43   $   10.00               $    92.60   $    92.60
  10/6/2019 Luis Alberto A. Cifuentes               $12.00   54.32   $   10.00               $    85.90   $    85.90
 10/13/2019 Luis Alberto A. Cifuentes               $12.00   54.10   $   10.00               $    84.60   $    84.60
 10/20/2019 Luis Alberto A. Cifuentes               $12.00   69.90   $   10.00               $   179.40   $   179.40
 10/27/2019 Luis Alberto A. Cifuentes               $12.00   68.37   $   10.00               $   170.20   $   170.20
  11/3/2019 Luis Alberto A. Cifuentes               $12.00   59.98   $   10.00               $   119.90   $   119.90
 11/10/2019 Luis Alberto A. Cifuentes               $12.00   66.00   $   10.00               $   156.00   $   156.00
 11/17/2019 Luis Alberto A. Cifuentes               $12.00   58.52   $   10.00               $   111.10   $   111.10
 11/24/2019 Luis Alberto A. Cifuentes               $12.00   70.57   $   10.00               $   183.40   $   183.40
  12/1/2019 Luis Alberto A. Cifuentes               $12.00   58.40   $   10.00               $   110.40   $   110.40
 10/20/2019 Luis Alberto Gutierrez                  $10.00   49.27   $   10.00               $    46.33   $    46.33
 10/27/2019 Luis Alberto Gutierrez                  $10.00   74.75   $   10.00               $   173.75   $   173.75
  11/3/2019 Luis Alberto Gutierrez                  $10.00   71.85   $   10.00               $   159.25   $   159.25
 11/10/2019 Luis Alberto Gutierrez                  $10.00   60.87   $   10.00               $   104.33   $   104.33
 11/17/2019 Luis Alberto Gutierrez                  $10.00   71.97   $   10.00               $   159.83   $   159.83
 11/24/2019 Luis Alberto Gutierrez                  $10.00   74.32   $   10.00               $   171.58   $   171.58
  12/1/2019 Luis Alberto Gutierrez                  $10.00   60.33   $   10.00               $   101.67   $   101.67
  12/8/2019 Luis Alberto Gutierrez                  $10.00   70.50   $   10.00               $   152.50   $   152.50
 12/15/2019 Luis Alberto Gutierrez                  $10.00   77.10   $   10.00               $   185.50   $   185.50
 12/22/2019 Luis Alberto Gutierrez                  $10.00   74.48   $   10.00               $   172.42   $   172.42
 12/29/2019 Luis Alberto Gutierrez                  $10.00   62.08   $   10.00               $   110.42   $   110.42
   1/5/2020 Luis Alberto Gutierrez                  $10.00   73.40   $   11.00   $   73.40   $   183.70   $   257.10
  1/12/2020 Luis Alberto Gutierrez                  $10.00   73.72   $   11.00   $   73.72   $   185.44   $   259.16
  1/19/2020 Luis Alberto Gutierrez                  $10.00   59.50   $   11.00   $   59.50   $   107.25   $   166.75
  8/18/2019 Luis Alfonso Villalobos Narino          $10.00   54.00   $   10.00               $    70.00   $    70.00



                                                      436
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 438 of 683 PageID: 1285
                                                     Exhibit 2
                                             New Jersey Computations


   Week                                                             State Section 7: Section 7: Total Section 7
                                                    Hourly Hours/
  Ending                         Name                             Minumum Regular    Half-Time Overtime Back
                                                     Rate Week
   Date                                                             Wage  Rate Due     Due       Wages Due

  8/25/2019 Luis Alfonso Villalobos Narino          $10.00   61.12   $   10.00         $   105.58   $    105.58
   9/1/2019 Luis Alfonso Villalobos Narino          $10.00   58.55   $   10.00         $    92.75   $     92.75
   9/8/2019 Luis Alfonso Villalobos Narino          $10.00   48.32   $   10.00         $    41.58   $     41.58
  9/15/2019 Luis Alfonso Villalobos Narino          $10.00   41.63   $   10.00         $     8.17   $      8.17
  12/8/2019 Luis Alfonso Villalobos Narino          $10.00   59.35   $   10.00         $    96.75   $     96.75
 12/15/2019 Luis Alfonso Villalobos Narino          $10.00   59.60   $   10.00         $    98.00   $     98.00
 12/22/2019 Luis Alfonso Villalobos Narino          $10.00   60.92   $   10.00         $   104.58   $    104.58
  12/9/2018 Luis Angel Nogueira Cobos               $10.00   49.95   $    8.60         $    49.75   $     49.75
 12/16/2018 Luis Angel Nogueira Cobos               $10.00   77.83   $    8.60         $   189.17   $    189.17
 12/23/2018 Luis Angel Nogueira Cobos               $10.00   77.37   $    8.60         $   186.83   $    186.83
 12/30/2018 Luis Angel Nogueira Cobos               $10.00   59.72   $    8.60         $    98.58   $     98.58
   1/6/2019 Luis Angel Nogueira Cobos               $10.00   70.08   $    8.85         $   150.42   $    150.42
  1/13/2019 Luis Angel Nogueira Cobos               $10.00   60.22   $    8.85         $   101.08   $    101.08
  1/20/2019 Luis Angel Nogueira Cobos               $10.00   78.58   $    8.85         $   192.92   $    192.92
  1/27/2019 Luis Angel Nogueira Cobos               $10.00   78.78   $    8.85         $   193.92   $    193.92
   2/3/2019 Luis Angel Nogueira Cobos               $10.00   78.13   $    8.85         $   190.67   $    190.67
  2/10/2019 Luis Angel Nogueira Cobos               $10.00   78.45   $    8.85         $   192.25   $    192.25
  2/17/2019 Luis Angel Nogueira Cobos               $10.00   71.73   $    8.85         $   158.67   $    158.67
  2/24/2019 Luis Angel Nogueira Cobos               $10.00   72.28   $    8.85         $   161.42   $    161.42
   3/3/2019 Luis Angel Nogueira Cobos               $10.00   69.35   $    8.85         $   146.75   $    146.75
  3/10/2019 Luis Angel Nogueira Cobos               $10.00   72.68   $    8.85         $   163.42   $    163.42
  3/17/2019 Luis Angel Nogueira Cobos               $10.00   70.60   $    8.85         $   153.00   $    153.00
  3/24/2019 Luis Angel Nogueira Cobos               $10.00   73.73   $    8.85         $   168.67   $    168.67
  3/31/2019 Luis Angel Nogueira Cobos               $10.00   73.75   $    8.85         $   168.75   $    168.75
   4/7/2019 Luis Angel Nogueira Cobos               $10.00   70.77   $    8.85         $   153.83   $    153.83
  4/14/2019 Luis Angel Nogueira Cobos               $10.00   70.82   $    8.85         $   154.08   $    154.08
  4/21/2019 Luis Angel Nogueira Cobos               $10.00   69.47   $    8.85         $   147.33   $    147.33
  4/28/2019 Luis Angel Nogueira Cobos               $10.00   70.47   $    8.85         $   152.33   $    152.33
   5/5/2019 Luis Angel Nogueira Cobos               $10.00   70.90   $    8.85         $   154.50   $    154.50
  5/12/2019 Luis Angel Nogueira Cobos               $10.00   56.47   $    8.85         $    82.33   $     82.33
  5/19/2019 Luis Angel Nogueira Cobos               $10.00   68.93   $    8.85         $   144.67   $    144.67
  5/26/2019 Luis Angel Nogueira Cobos               $10.00   79.27   $    8.85         $   196.33   $    196.33
   6/2/2019 Luis Angel Nogueira Cobos               $10.00   67.45   $    8.85         $   137.25   $    137.25
   6/9/2019 Luis Angel Nogueira Cobos               $10.00   73.35   $    8.85         $   166.75   $    166.75
  6/16/2019 Luis Angel Nogueira Cobos               $10.00   62.12   $    8.85         $   110.58   $    110.58
  6/23/2019 Luis Angel Nogueira Cobos               $10.00   65.72   $    8.85         $   128.58   $    128.58
  6/30/2019 Luis Angel Nogueira Cobos               $10.00   72.92   $   10.00         $   164.58   $    164.58
   7/7/2019 Luis Angel Nogueira Cobos               $12.00   56.62   $   10.00         $    99.70   $     99.70
  7/14/2019 Luis Angel Nogueira Cobos               $12.00   72.83   $   10.00         $   197.00   $    197.00
  7/21/2019 Luis Angel Nogueira Cobos               $12.00   72.63   $   10.00         $   195.80   $    195.80
  7/28/2019 Luis Angel Nogueira Cobos               $12.00   71.92   $   10.00         $   191.50   $    191.50
   8/4/2019 Luis Angel Nogueira Cobos               $12.00   71.73   $   10.00         $   190.40   $    190.40
  8/11/2019 Luis Angel Nogueira Cobos               $12.00   71.57   $   10.00         $   189.40   $    189.40
  8/18/2019 Luis Angel Nogueira Cobos               $12.00   71.95   $   10.00         $   191.70   $    191.70
  8/25/2019 Luis Angel Nogueira Cobos               $12.00   71.17   $   10.00         $   187.00   $    187.00
   9/1/2019 Luis Angel Nogueira Cobos               $12.00   71.17   $   10.00         $   187.00   $    187.00
   9/8/2019 Luis Angel Nogueira Cobos               $12.00   64.85   $   10.00         $   149.10   $    149.10
  9/15/2019 Luis Angel Nogueira Cobos               $12.00   71.30   $   10.00         $   187.80   $    187.80
  9/22/2019 Luis Angel Nogueira Cobos               $12.00   59.03   $   10.00         $   114.20   $    114.20
  9/29/2019 Luis Angel Nogueira Cobos               $12.00   70.42   $   10.00         $   182.50   $    182.50



                                                      437
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 439 of 683 PageID: 1286
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                       Name                          Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

  10/6/2019 Luis Angel Nogueira Cobos          $12.00   71.07   $   10.00               $   186.40   $   186.40
 10/13/2019 Luis Angel Nogueira Cobos          $12.00   70.62   $   10.00               $   183.70   $   183.70
 10/20/2019 Luis Angel Nogueira Cobos          $12.00   70.12   $   10.00               $   180.70   $   180.70
 10/27/2019 Luis Angel Nogueira Cobos          $12.00   70.67   $   10.00               $   184.00   $   184.00
  11/3/2019 Luis Angel Nogueira Cobos          $12.00   70.85   $   10.00               $   185.10   $   185.10
 11/10/2019 Luis Angel Nogueira Cobos          $12.00   68.35   $   10.00               $   170.10   $   170.10
 11/17/2019 Luis Angel Nogueira Cobos          $12.00   71.48   $   10.00               $   188.90   $   188.90
 11/24/2019 Luis Angel Nogueira Cobos          $12.00   70.57   $   10.00               $   183.40   $   183.40
  12/1/2019 Luis Angel Nogueira Cobos          $12.00   58.03   $   10.00               $   108.20   $   108.20
  12/8/2019 Luis Angel Nogueira Cobos          $12.00   69.37   $   10.00               $   176.20   $   176.20
 12/15/2019 Luis Angel Nogueira Cobos          $12.00   70.05   $   10.00               $   180.30   $   180.30
 12/22/2019 Luis Angel Nogueira Cobos          $12.00   70.20   $   10.00               $   181.20   $   181.20
 12/29/2019 Luis Angel Nogueira Cobos          $12.00   51.80   $   10.00               $    70.80   $    70.80
   1/5/2020 Luis Angel Nogueira Cobos          $12.00   63.20   $   11.00               $   139.20   $   139.20
  1/12/2020 Luis Angel Nogueira Cobos          $12.00   70.03   $   11.00               $   180.20   $   180.20
  1/19/2020 Luis Angel Nogueira Cobos          $12.00   70.47   $   11.00               $   182.80   $   182.80
  1/26/2020 Luis Angel Nogueira Cobos          $12.00   70.02   $   11.00               $   180.10   $   180.10
  7/14/2019 Luis Ardino Martinez                $9.50   63.45   $   10.00   $   31.73   $   117.25   $   148.98
  7/21/2019 Luis Ardino Martinez                $9.50   65.33   $   10.00   $   32.67   $   126.67   $   159.33
  7/28/2019 Luis Ardino Martinez                $9.50   59.67   $   10.00   $   29.83   $    98.33   $   128.17
   8/4/2019 Luis Ardino Martinez                $9.50   44.43   $   10.00   $   22.22   $    22.17   $    44.38
  8/11/2019 Luis Ardino Martinez                $9.50   51.83   $   10.00   $   25.92   $    59.17   $    85.08
  8/18/2019 Luis Ardino Martinez                $9.50   52.45   $   10.00   $   26.23   $    62.25   $    88.48
  8/25/2019 Luis Ardino Martinez                $9.50   40.10   $   10.00   $   20.05   $     0.50   $    20.55
   9/1/2019 Luis Ardino Martinez                $9.50   64.47   $   10.00   $   32.23   $   122.33   $   154.57
   9/8/2019 Luis Ardino Martinez                $9.50   41.62   $   10.00   $   20.81   $     8.08   $    28.89
  9/15/2019 Luis Ardino Martinez                $9.50   56.38   $   10.00   $   28.19   $    81.92   $   110.11
  9/22/2019 Luis Ardino Martinez                $9.50   44.32   $   10.00   $   22.16   $    21.58   $    43.74
  9/29/2019 Luis Ardino Martinez                $9.50   55.10   $   10.00   $   27.55   $    75.50   $   103.05
  10/6/2019 Luis Ardino Martinez                $9.50   64.27   $   10.00   $   32.13   $   121.33   $   153.47
 10/13/2019 Luis Ardino Martinez                $9.50   50.27   $   10.00   $   25.13   $    51.33   $    76.47
 10/27/2019 Luis Ardino Martinez                $9.50   44.33   $   10.00   $   22.17   $    21.67   $    43.83
   2/5/2017 Luis Chom                          $10.50   68.93   $    8.44               $   151.90   $   151.90
  2/12/2017 Luis Chom                          $10.50   71.45   $    8.44               $   165.11   $   165.11
  2/19/2017 Luis Chom                          $10.50   71.08   $    8.44               $   163.19   $   163.19
  2/26/2017 Luis Chom                          $10.50   58.88   $    8.44               $    99.14   $    99.14
   3/5/2017 Luis Chom                          $10.50   73.35   $    8.44               $   175.09   $   175.09
  3/12/2017 Luis Chom                          $10.50   72.50   $    8.44               $   170.63   $   170.63
  3/19/2017 Luis Chom                          $10.50   61.70   $    8.44               $   113.93   $   113.93
  3/26/2017 Luis Chom                          $10.50   71.78   $    8.44               $   166.86   $   166.86
   4/2/2017 Luis Chom                          $10.50   71.00   $    8.44               $   162.75   $   162.75
   4/9/2017 Luis Chom                          $10.50   73.98   $    8.44               $   178.41   $   178.41
  4/16/2017 Luis Chom                          $10.50   74.25   $    8.44               $   179.81   $   179.81
  1/21/2018 Luis Cifuentes                      $9.00   51.90   $    8.60               $    53.55   $    53.55
  1/28/2018 Luis Cifuentes                      $9.00   49.48   $    8.60               $    42.68   $    42.68
  2/18/2018 Luis Cifuentes                      $9.00   57.32   $    8.60               $    77.93   $    77.93
  2/25/2018 Luis Cifuentes                      $9.00   61.00   $    8.60               $    94.50   $    94.50
   3/4/2018 Luis Cifuentes                      $9.00   64.17   $    8.60               $   108.75   $   108.75
  3/25/2018 Luis Cifuentes                      $9.00   46.00   $    8.60               $    27.00   $    27.00
   4/1/2018 Luis Cifuentes                      $9.00   64.40   $    8.60               $   109.80   $   109.80



                                                 438
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 440 of 683 PageID: 1287
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

   4/8/2018 Luis Cifuentes                    $9.00   49.30   $   8.60          $    41.85   $     41.85
  4/15/2018 Luis Cifuentes                    $9.00   53.48   $   8.60          $    60.68   $     60.68
  4/22/2018 Luis Cifuentes                    $9.00   66.65   $   8.60          $   119.93   $    119.93
  4/29/2018 Luis Cifuentes                    $9.00   64.30   $   8.60          $   109.35   $    109.35
   5/6/2018 Luis Cifuentes                    $9.00   50.73   $   8.60          $    48.30   $     48.30
  5/13/2018 Luis Cifuentes                    $9.00   53.20   $   8.60          $    59.40   $     59.40
  5/20/2018 Luis Cifuentes                    $9.00   57.47   $   8.60          $    78.60   $     78.60
  5/27/2018 Luis Cifuentes                    $9.00   57.98   $   8.60          $    80.93   $     80.93
   6/3/2018 Luis Cifuentes                    $9.00   64.65   $   8.60          $   110.93   $    110.93
  6/10/2018 Luis Cifuentes                    $9.00   55.77   $   8.60          $    70.95   $     70.95
  6/17/2018 Luis Cifuentes                    $9.00   49.40   $   8.60          $    42.30   $     42.30
   4/7/2019 Luis Cortes                      $10.50   66.87   $   8.85          $   141.05   $    141.05
  3/12/2017 Luis D. Geraldo Ramirez          $11.00   57.45   $   8.44          $    95.98   $     95.98
  3/19/2017 Luis D. Geraldo Ramirez          $11.00   49.20   $   8.44          $    50.60   $     50.60
  3/26/2017 Luis D. Geraldo Ramirez          $11.00   65.37   $   8.44          $   139.52   $    139.52
   4/2/2017 Luis D. Geraldo Ramirez          $11.00   50.93   $   8.44          $    60.13   $     60.13
   4/9/2017 Luis D. Geraldo Ramirez          $11.00   53.20   $   8.44          $    72.60   $     72.60
  4/16/2017 Luis D. Geraldo Ramirez          $11.00   68.13   $   8.44          $   154.73   $    154.73
  4/23/2017 Luis D. Geraldo Ramirez          $11.00   63.20   $   8.44          $   127.60   $    127.60
  4/30/2017 Luis D. Geraldo Ramirez          $11.00   65.40   $   8.44          $   139.70   $    139.70
   5/7/2017 Luis D. Geraldo Ramirez          $11.00   49.12   $   8.44          $    50.14   $     50.14
  5/14/2017 Luis D. Geraldo Ramirez          $11.00   60.45   $   8.44          $   112.48   $    112.48
  5/21/2017 Luis D. Geraldo Ramirez          $11.00   58.25   $   8.44          $   100.38   $    100.38
  5/28/2017 Luis D. Geraldo Ramirez          $11.00   52.53   $   8.44          $    68.93   $     68.93
   6/4/2017 Luis D. Geraldo Ramirez          $11.00   46.80   $   8.44          $    37.40   $     37.40
  6/11/2017 Luis D. Geraldo Ramirez          $11.00   42.52   $   8.44          $    13.84   $     13.84
  6/18/2017 Luis D. Geraldo Ramirez          $11.00   51.42   $   8.44          $    62.79   $     62.79
  6/25/2017 Luis D. Geraldo Ramirez          $11.00   52.37   $   8.44          $    68.02   $     68.02
   7/2/2017 Luis D. Geraldo Ramirez          $11.00   56.67   $   8.44          $    91.67   $     91.67
   7/9/2017 Luis D. Geraldo Ramirez          $11.00   48.97   $   8.44          $    49.32   $     49.32
  7/16/2017 Luis D. Geraldo Ramirez          $11.00   49.90   $   8.44          $    54.45   $     54.45
  7/23/2017 Luis D. Geraldo Ramirez          $11.00   60.45   $   8.44          $   112.48   $    112.48
  7/30/2017 Luis D. Geraldo Ramirez          $11.00   59.37   $   8.44          $   106.52   $    106.52
   8/6/2017 Luis D. Geraldo Ramirez          $11.00   51.35   $   8.44          $    62.43   $     62.43
  8/13/2017 Luis D. Geraldo Ramirez          $11.00   58.67   $   8.44          $   102.67   $    102.67
  8/20/2017 Luis D. Geraldo Ramirez          $11.00   58.40   $   8.44          $   101.20   $    101.20
  9/17/2017 Luis D. Geraldo Ramirez          $11.00   40.37   $   8.44          $     2.02   $      2.02
  9/24/2017 Luis D. Geraldo Ramirez          $11.00   49.07   $   8.44          $    49.87   $     49.87
  10/1/2017 Luis D. Geraldo Ramirez          $11.00   50.32   $   8.44          $    56.74   $     56.74
  10/8/2017 Luis D. Geraldo Ramirez          $11.00   42.12   $   8.44          $    11.64   $     11.64
 10/15/2017 Luis D. Geraldo Ramirez          $11.00   48.48   $   8.44          $    46.66   $     46.66
 10/22/2017 Luis D. Geraldo Ramirez          $10.00   62.22   $   8.44          $   111.08   $    111.08
 10/29/2017 Luis D. Geraldo Ramirez          $10.00   65.17   $   8.44          $   125.83   $    125.83
  11/5/2017 Luis D. Geraldo Ramirez          $10.00   63.85   $   8.44          $   119.25   $    119.25
 11/12/2017 Luis D. Geraldo Ramirez          $10.00   63.80   $   8.44          $   119.00   $    119.00
 11/19/2017 Luis D. Geraldo Ramirez          $10.00   62.55   $   8.44          $   112.75   $    112.75
 11/26/2017 Luis D. Geraldo Ramirez          $10.00   52.07   $   8.44          $    60.33   $     60.33
  12/3/2017 Luis D. Geraldo Ramirez          $10.00   64.77   $   8.44          $   123.83   $    123.83
 12/10/2017 Luis D. Geraldo Ramirez          $10.00   62.30   $   8.44          $   111.50   $    111.50
 12/17/2017 Luis D. Geraldo Ramirez          $10.00   63.60   $   8.44          $   118.00   $    118.00



                                               439
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 441 of 683 PageID: 1288
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

 12/24/2017 Luis D. Geraldo Ramirez          $10.00   55.05   $    8.44         $    75.25   $     75.25
 12/31/2017 Luis D. Geraldo Ramirez          $10.00   54.37   $    8.44         $    71.83   $     71.83
   1/7/2018 Luis D. Geraldo Ramirez          $10.00   48.97   $    8.60         $    44.83   $     44.83
  1/14/2018 Luis D. Geraldo Ramirez          $10.00   60.95   $    8.60         $   104.75   $    104.75
  1/21/2018 Luis D. Geraldo Ramirez          $10.00   61.37   $    8.60         $   106.83   $    106.83
  1/28/2018 Luis D. Geraldo Ramirez          $10.00   53.18   $    8.60         $    65.92   $     65.92
   2/4/2018 Luis D. Geraldo Ramirez          $10.00   61.95   $    8.60         $   109.75   $    109.75
  2/11/2018 Luis D. Geraldo Ramirez          $10.00   42.95   $    8.60         $    14.75   $     14.75
  2/18/2018 Luis D. Geraldo Ramirez          $10.00   54.42   $    8.60         $    72.08   $     72.08
  2/25/2018 Luis D. Geraldo Ramirez          $10.00   45.53   $    8.60         $    27.67   $     27.67
   3/4/2018 Luis D. Geraldo Ramirez          $10.00   46.73   $    8.60         $    33.67   $     33.67
  4/29/2018 Luis D. Geraldo Ramirez          $10.00   57.00   $    8.60         $    85.00   $     85.00
   5/6/2018 Luis D. Geraldo Ramirez          $10.00   55.67   $    8.60         $    78.33   $     78.33
  5/13/2018 Luis D. Geraldo Ramirez          $10.00   56.88   $    8.60         $    84.42   $     84.42
  5/20/2018 Luis D. Geraldo Ramirez          $11.00   52.35   $    8.60         $    67.93   $     67.93
  5/27/2018 Luis D. Geraldo Ramirez          $11.00   56.77   $    8.60         $    92.22   $     92.22
   6/3/2018 Luis D. Geraldo Ramirez          $11.00   40.45   $    8.60         $     2.48   $      2.48
  6/10/2018 Luis D. Geraldo Ramirez          $11.00   48.13   $    8.60         $    44.73   $     44.73
  6/17/2018 Luis D. Geraldo Ramirez          $11.00   48.42   $    8.60         $    46.29   $     46.29
  6/24/2018 Luis D. Geraldo Ramirez          $11.00   58.23   $    8.60         $   100.28   $    100.28
   7/1/2018 Luis D. Geraldo Ramirez          $11.00   52.85   $    8.60         $    70.68   $     70.68
  7/15/2018 Luis D. Geraldo Ramirez          $11.00   50.88   $    8.60         $    59.86   $     59.86
  7/22/2018 Luis D. Geraldo Ramirez          $11.00   49.65   $    8.60         $    53.08   $     53.08
  7/29/2018 Luis D. Geraldo Ramirez          $11.00   59.58   $    8.60         $   107.71   $    107.71
  11/4/2018 Luis D. Geraldo Ramirez          $11.00   47.95   $    8.60         $    43.73   $     43.73
 11/11/2018 Luis D. Geraldo Ramirez          $11.00   49.57   $    8.60         $    52.62   $     52.62
 11/18/2018 Luis D. Geraldo Ramirez          $11.00   54.27   $    8.60         $    78.47   $     78.47
 11/25/2018 Luis D. Geraldo Ramirez          $11.00   46.12   $    8.60         $    33.64   $     33.64
  12/2/2018 Luis D. Geraldo Ramirez          $11.00   57.55   $    8.60         $    96.53   $     96.53
  12/9/2018 Luis D. Geraldo Ramirez          $11.00   52.40   $    8.60         $    68.20   $     68.20
 12/16/2018 Luis D. Geraldo Ramirez          $11.00   54.95   $    8.60         $    82.23   $     82.23
  2/10/2019 Luis D. Geraldo Ramirez          $11.00   49.63   $    8.85         $    52.98   $     52.98
  2/17/2019 Luis D. Geraldo Ramirez          $11.00   55.67   $    8.85         $    86.17   $     86.17
  2/24/2019 Luis D. Geraldo Ramirez          $11.00   51.38   $    8.85         $    62.61   $     62.61
   3/3/2019 Luis D. Geraldo Ramirez          $11.00   61.07   $    8.85         $   115.87   $    115.87
  3/10/2019 Luis D. Geraldo Ramirez          $11.00   51.05   $    8.85         $    60.78   $     60.78
  3/17/2019 Luis D. Geraldo Ramirez          $11.00   58.85   $    8.85         $   103.68   $    103.68
  3/24/2019 Luis D. Geraldo Ramirez          $11.00   50.98   $    8.85         $    60.41   $     60.41
  3/31/2019 Luis D. Geraldo Ramirez          $11.00   57.93   $    8.85         $    98.63   $     98.63
   4/7/2019 Luis D. Geraldo Ramirez          $11.00   55.23   $    8.85         $    83.78   $     83.78
  4/14/2019 Luis D. Geraldo Ramirez          $11.00   56.15   $    8.85         $    88.83   $     88.83
  4/21/2019 Luis D. Geraldo Ramirez          $11.00   50.18   $    8.85         $    56.01   $     56.01
  4/28/2019 Luis D. Geraldo Ramirez          $11.00   58.17   $    8.85         $    99.92   $     99.92
   5/5/2019 Luis D. Geraldo Ramirez          $11.00   46.80   $    8.85         $    37.40   $     37.40
  5/12/2019 Luis D. Geraldo Ramirez          $11.00   53.12   $    8.85         $    72.14   $     72.14
  5/19/2019 Luis D. Geraldo Ramirez          $11.00   47.65   $    8.85         $    42.08   $     42.08
  5/26/2019 Luis D. Geraldo Ramirez          $11.00   46.60   $    8.85         $    36.30   $     36.30
   6/9/2019 Luis D. Geraldo Ramirez          $11.00   56.47   $    8.85         $    90.57   $     90.57
  6/16/2019 Luis D. Geraldo Ramirez          $11.00   52.57   $    8.85         $    69.12   $     69.12
  6/30/2019 Luis D. Geraldo Ramirez          $11.00   55.78   $   10.00         $    86.81   $     86.81



                                               440
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 442 of 683 PageID: 1289
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  7/14/2019 Luis D. Geraldo Ramirez          $11.00   47.85   $   10.00         $    43.18   $     43.18
  7/21/2019 Luis D. Geraldo Ramirez          $11.00   49.95   $   10.00         $    54.73   $     54.73
   2/5/2017 Luis Duverge                     $11.50   53.77   $    8.44         $    79.16   $     79.16
  2/12/2017 Luis Duverge                     $11.50   61.13   $    8.44         $   121.52   $    121.52
  2/19/2017 Luis Duverge                     $11.50   62.40   $    8.44         $   128.80   $    128.80
  2/26/2017 Luis Duverge                     $11.50   63.27   $    8.44         $   133.78   $    133.78
   3/5/2017 Luis Duverge                     $11.50   61.95   $    8.44         $   126.21   $    126.21
  3/12/2017 Luis Duverge                     $11.50   62.70   $    8.44         $   130.53   $    130.53
  3/19/2017 Luis Duverge                     $11.50   52.17   $    8.44         $    69.96   $     69.96
  3/26/2017 Luis Duverge                     $11.50   64.45   $    8.44         $   140.59   $    140.59
   4/2/2017 Luis Duverge                     $11.50   62.35   $    8.44         $   128.51   $    128.51
  4/16/2017 Luis Duverge                     $11.50   50.55   $    8.44         $    60.66   $     60.66
  4/23/2017 Luis Duverge                     $11.50   63.85   $    8.44         $   137.14   $    137.14
  4/30/2017 Luis Duverge                     $11.50   61.83   $    8.44         $   125.54   $    125.54
   5/7/2017 Luis Duverge                     $11.50   61.83   $    8.44         $   125.54   $    125.54
  5/14/2017 Luis Duverge                     $11.50   60.98   $    8.44         $   120.65   $    120.65
  5/21/2017 Luis Duverge                     $11.50   63.92   $    8.44         $   137.52   $    137.52
  5/28/2017 Luis Duverge                     $11.50   62.55   $    8.44         $   129.66   $    129.66
   6/4/2017 Luis Duverge                     $11.50   53.57   $    8.44         $    78.01   $     78.01
  6/11/2017 Luis Duverge                     $11.50   57.92   $    8.44         $   103.02   $    103.02
  6/18/2017 Luis Duverge                     $11.50   60.57   $    8.44         $   118.26   $    118.26
  6/25/2017 Luis Duverge                     $11.50   63.40   $    8.44         $   134.55   $    134.55
   7/2/2017 Luis Duverge                     $11.50   61.58   $    8.44         $   124.10   $    124.10
   7/9/2017 Luis Duverge                     $11.50   51.70   $    8.44         $    67.28   $     67.28
  7/16/2017 Luis Duverge                     $11.50   64.28   $    8.44         $   139.63   $    139.63
  7/23/2017 Luis Duverge                     $11.50   59.47   $    8.44         $   111.93   $    111.93
  7/30/2017 Luis Duverge                     $11.50   61.33   $    8.44         $   122.67   $    122.67
   8/6/2017 Luis Duverge                     $11.50   61.43   $    8.44         $   123.24   $    123.24
  8/13/2017 Luis Duverge                     $11.50   59.82   $    8.44         $   113.95   $    113.95
  8/20/2017 Luis Duverge                     $11.50   59.75   $    8.44         $   113.56   $    113.56
  8/27/2017 Luis Duverge                     $11.50   60.58   $    8.44         $   118.35   $    118.35
   9/3/2017 Luis Duverge                     $11.50   62.52   $    8.44         $   129.47   $    129.47
  9/10/2017 Luis Duverge                     $11.50   56.28   $    8.44         $    93.63   $     93.63
  9/17/2017 Luis Duverge                     $11.50   51.15   $    8.44         $    64.11   $     64.11
  9/24/2017 Luis Duverge                     $11.50   61.85   $    8.44         $   125.64   $    125.64
  10/1/2017 Luis Duverge                     $11.50   66.08   $    8.44         $   149.98   $    149.98
  10/8/2017 Luis Duverge                     $11.50   58.43   $    8.44         $   105.99   $    105.99
 10/15/2017 Luis Duverge                     $11.50   62.43   $    8.44         $   128.99   $    128.99
 10/22/2017 Luis Duverge                     $11.50   61.55   $    8.44         $   123.91   $    123.91
 10/29/2017 Luis Duverge                     $11.50   59.85   $    8.44         $   114.14   $    114.14
 11/19/2017 Luis Duverge                     $11.50   57.32   $    8.44         $    99.57   $     99.57
 11/26/2017 Luis Duverge                     $11.50   52.23   $    8.44         $    70.34   $     70.34
  12/3/2017 Luis Duverge                     $11.50   59.20   $    8.44         $   110.40   $    110.40
 12/10/2017 Luis Duverge                     $11.50   49.00   $    8.44         $    51.75   $     51.75
 12/17/2017 Luis Duverge                     $11.50   62.38   $    8.44         $   128.70   $    128.70
 12/24/2017 Luis Duverge                     $11.50   54.48   $    8.44         $    83.28   $     83.28
 12/31/2017 Luis Duverge                     $11.50   53.00   $    8.44         $    74.75   $     74.75
   1/7/2018 Luis Duverge                     $11.50   46.20   $    8.60         $    35.65   $     35.65
  1/14/2018 Luis Duverge                     $11.50   59.80   $    8.60         $   113.85   $    113.85
  1/21/2018 Luis Duverge                     $11.50   55.90   $    8.60         $    91.43   $     91.43



                                               441
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 443 of 683 PageID: 1290
                                          Exhibit 2
                                  New Jersey Computations


   Week                                                  State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
  Ending                   Name                        Minumum Regular    Half-Time Overtime Back
                                          Rate Week
   Date                                                  Wage  Rate Due     Due       Wages Due

  1/28/2018 Luis Duverge                 $11.50   62.48   $   8.60          $   129.28   $    129.28
   2/4/2018 Luis Duverge                 $11.50   49.10   $   8.60          $    52.33   $     52.33
  2/11/2018 Luis Duverge                 $11.50   48.40   $   8.60          $    48.30   $     48.30
  2/18/2018 Luis Duverge                 $11.50   48.98   $   8.60          $    51.65   $     51.65
  2/25/2018 Luis Duverge                 $11.50   62.13   $   8.60          $   127.27   $    127.27
   3/4/2018 Luis Duverge                 $11.50   52.25   $   8.60          $    70.44   $     70.44
   4/1/2018 Luis Duverge                 $11.50   52.20   $   8.60          $    70.15   $     70.15
   4/8/2018 Luis Duverge                 $11.50   58.65   $   8.60          $   107.24   $    107.24
  4/15/2018 Luis Duverge                 $11.50   42.30   $   8.60          $    13.23   $     13.23
  4/22/2018 Luis Duverge                 $11.50   59.52   $   8.60          $   112.22   $    112.22
  4/29/2018 Luis Duverge                 $11.50   50.72   $   8.60          $    61.62   $     61.62
   5/6/2018 Luis Duverge                 $11.50   61.77   $   8.60          $   125.16   $    125.16
  5/13/2018 Luis Duverge                 $11.50   50.32   $   8.60          $    59.32   $     59.32
  5/20/2018 Luis Duverge                 $11.50   58.05   $   8.60          $   103.79   $    103.79
  5/27/2018 Luis Duverge                 $11.50   67.02   $   8.60          $   155.35   $    155.35
   6/3/2018 Luis Duverge                 $11.50   59.87   $   8.60          $   114.23   $    114.23
  6/17/2018 Luis Duverge                 $11.50   58.28   $   8.60          $   105.13   $    105.13
  6/24/2018 Luis Duverge                 $11.50   65.28   $   8.60          $   145.38   $    145.38
   7/1/2018 Luis Duverge                 $11.50   60.10   $   8.60          $   115.58   $    115.58
   7/8/2018 Luis Duverge                 $11.50   50.42   $   8.60          $    59.90   $     59.90
  7/15/2018 Luis Duverge                 $11.50   56.72   $   8.60          $    96.12   $     96.12
  7/22/2018 Luis Duverge                 $11.50   63.73   $   8.60          $   136.47   $    136.47
  7/29/2018 Luis Duverge                 $11.50   59.77   $   8.60          $   113.66   $    113.66
   8/5/2018 Luis Duverge                 $11.50   65.58   $   8.60          $   147.10   $    147.10
  8/12/2018 Luis Duverge                 $11.50   62.68   $   8.60          $   130.43   $    130.43
   9/2/2018 Luis Duverge                 $11.50   55.75   $   8.60          $    90.56   $     90.56
   9/9/2018 Luis Duverge                 $11.50   57.27   $   8.60          $    99.28   $     99.28
  9/16/2018 Luis Duverge                 $11.50   65.48   $   8.60          $   146.53   $    146.53
  9/23/2018 Luis Duverge                 $11.50   63.93   $   8.60          $   137.62   $    137.62
  9/30/2018 Luis Duverge                 $11.50   65.03   $   8.60          $   143.94   $    143.94
  10/7/2018 Luis Duverge                 $11.50   63.27   $   8.60          $   133.78   $    133.78
 10/14/2018 Luis Duverge                 $11.50   64.98   $   8.60          $   143.65   $    143.65
 10/21/2018 Luis Duverge                 $11.50   56.90   $   8.60          $    97.18   $     97.18
 10/28/2018 Luis Duverge                 $11.50   60.78   $   8.60          $   119.50   $    119.50
  11/4/2018 Luis Duverge                 $11.50   61.18   $   8.60          $   121.80   $    121.80
 11/11/2018 Luis Duverge                 $11.50   62.67   $   8.60          $   130.33   $    130.33
 11/18/2018 Luis Duverge                 $11.50   49.92   $   8.60          $    57.02   $     57.02
 11/25/2018 Luis Duverge                 $11.50   53.38   $   8.60          $    76.95   $     76.95
  12/2/2018 Luis Duverge                 $11.50   67.12   $   8.60          $   155.92   $    155.92
  12/9/2018 Luis Duverge                 $11.50   65.07   $   8.60          $   144.13   $    144.13
 12/16/2018 Luis Duverge                 $11.50   64.82   $   8.60          $   142.70   $    142.70
 12/23/2018 Luis Duverge                 $11.50   67.48   $   8.60          $   158.03   $    158.03
 12/30/2018 Luis Duverge                 $11.50   47.43   $   8.60          $    42.74   $     42.74
   1/6/2019 Luis Duverge                 $11.50   43.90   $   8.85          $    22.43   $     22.43
  1/13/2019 Luis Duverge                 $11.50   61.03   $   8.85          $   120.94   $    120.94
  1/20/2019 Luis Duverge                 $11.50   61.70   $   8.85          $   124.78   $    124.78
  2/10/2019 Luis Duverge                 $11.50   56.00   $   8.85          $    92.00   $     92.00
  2/17/2019 Luis Duverge                 $11.50   61.63   $   8.85          $   124.39   $    124.39
  2/24/2019 Luis Duverge                 $11.50   66.47   $   8.85          $   152.18   $    152.18
   3/3/2019 Luis Duverge                 $11.50   54.43   $   8.85          $    82.99   $     82.99



                                           442
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 444 of 683 PageID: 1291
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

  3/10/2019 Luis Duverge                  $11.50   65.52   $    8.85         $   146.72   $    146.72
  3/17/2019 Luis Duverge                  $11.50   66.58   $    8.85         $   152.85   $    152.85
  3/24/2019 Luis Duverge                  $11.50   66.87   $    8.85         $   154.48   $    154.48
  3/31/2019 Luis Duverge                  $11.50   61.20   $    8.85         $   121.90   $    121.90
   4/7/2019 Luis Duverge                  $11.50   67.78   $    8.85         $   159.75   $    159.75
  4/14/2019 Luis Duverge                  $11.50   56.70   $    8.85         $    96.03   $     96.03
  4/21/2019 Luis Duverge                  $11.50   61.22   $    8.85         $   122.00   $    122.00
  4/28/2019 Luis Duverge                  $11.50   57.87   $    8.85         $   102.73   $    102.73
   5/5/2019 Luis Duverge                  $11.50   59.52   $    8.85         $   112.22   $    112.22
  5/12/2019 Luis Duverge                  $11.50   49.40   $    8.85         $    54.05   $     54.05
  5/19/2019 Luis Duverge                  $11.50   64.92   $    8.85         $   143.27   $    143.27
  5/26/2019 Luis Duverge                  $11.50   60.05   $    8.85         $   115.29   $    115.29
   6/2/2019 Luis Duverge                  $11.50   53.90   $    8.85         $    79.93   $     79.93
   6/9/2019 Luis Duverge                  $11.50   62.25   $    8.85         $   127.94   $    127.94
  6/16/2019 Luis Duverge                  $11.50   64.82   $    8.85         $   142.70   $    142.70
  6/23/2019 Luis Duverge                  $11.50   62.68   $    8.85         $   130.43   $    130.43
  6/30/2019 Luis Duverge                  $11.50   68.58   $   10.00         $   164.35   $    164.35
   7/7/2019 Luis Duverge                  $11.50   50.20   $   10.00         $    58.65   $     58.65
  7/14/2019 Luis Duverge                  $11.50   61.40   $   10.00         $   123.05   $    123.05
  7/21/2019 Luis Duverge                  $11.50   57.12   $   10.00         $    98.42   $     98.42
  7/28/2019 Luis Duverge                  $11.50   66.83   $   10.00         $   154.29   $    154.29
   8/4/2019 Luis Duverge                  $11.50   65.68   $   10.00         $   147.68   $    147.68
  8/11/2019 Luis Duverge                  $11.50   67.00   $   10.00         $   155.25   $    155.25
  8/18/2019 Luis Duverge                  $11.50   62.20   $   10.00         $   127.65   $    127.65
  8/25/2019 Luis Duverge                  $11.50   62.27   $   10.00         $   128.03   $    128.03
   9/1/2019 Luis Duverge                  $11.50   62.03   $   10.00         $   126.69   $    126.69
   9/8/2019 Luis Duverge                  $11.50   49.97   $   10.00         $    57.31   $     57.31
  9/15/2019 Luis Duverge                  $11.50   60.25   $   10.00         $   116.44   $    116.44
  9/22/2019 Luis Duverge                  $11.50   58.87   $   10.00         $   108.48   $    108.48
  9/29/2019 Luis Duverge                  $11.50   63.50   $   10.00         $   135.13   $    135.13
  10/6/2019 Luis Duverge                  $11.50   60.62   $   10.00         $   118.55   $    118.55
 10/13/2019 Luis Duverge                  $11.50   62.27   $   10.00         $   128.03   $    128.03
 10/20/2019 Luis Duverge                  $11.50   66.22   $   10.00         $   150.75   $    150.75
 10/27/2019 Luis Duverge                  $11.50   63.98   $   10.00         $   137.90   $    137.90
  11/3/2019 Luis Duverge                  $11.50   50.82   $   10.00         $    62.20   $     62.20
 11/10/2019 Luis Duverge                  $11.50   52.88   $   10.00         $    74.08   $     74.08
 11/17/2019 Luis Duverge                  $11.50   63.12   $   10.00         $   132.92   $    132.92
 11/24/2019 Luis Duverge                  $11.50   64.92   $   10.00         $   143.27   $    143.27
 12/15/2019 Luis Duverge                  $11.50   50.58   $   10.00         $    60.85   $     60.85
 12/22/2019 Luis Duverge                  $11.50   65.07   $   10.00         $   144.13   $    144.13
 12/29/2019 Luis Duverge                  $11.50   44.63   $   10.00         $    26.64   $     26.64
  1/12/2020 Luis Duverge                  $11.50   44.80   $   11.00         $    27.60   $     27.60
  1/19/2020 Luis Duverge                  $11.50   61.48   $   11.00         $   123.53   $    123.53
  1/26/2020 Luis Duverge                  $11.50   59.75   $   11.00         $   113.56   $    113.56
 10/20/2019 Luis E. Pagan                 $11.00   47.82   $   10.00         $    42.99   $     42.99
 10/27/2019 Luis E. Pagan                 $11.00   50.58   $   10.00         $    58.21   $     58.21
  11/3/2019 Luis E. Pagan                 $11.00   59.42   $   10.00         $   106.79   $    106.79
 11/10/2019 Luis E. Pagan                 $11.00   50.70   $   10.00         $    58.85   $     58.85
 11/17/2019 Luis E. Pagan                 $11.00   49.32   $   10.00         $    51.24   $     51.24
 11/24/2019 Luis E. Pagan                 $11.00   54.92   $   10.00         $    82.04   $     82.04



                                            443
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 445 of 683 PageID: 1292
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  12/1/2019 Luis E. Pagan                   $11.00   46.97   $   10.00         $    38.32   $     38.32
  12/8/2019 Luis E. Pagan                   $11.00   56.48   $   10.00         $    90.66   $     90.66
 12/15/2019 Luis E. Pagan                   $11.00   58.97   $   10.00         $   104.32   $    104.32
 12/29/2019 Luis E. Pagan                   $11.00   49.95   $   10.00         $    54.73   $     54.73
  1/12/2020 Luis E. Pagan                   $11.00   50.47   $   11.00         $    57.57   $     57.57
  1/19/2020 Luis E. Pagan                   $11.00   55.43   $   11.00         $    84.88   $     84.88
  9/15/2019 Luis Emilio De Asis             $11.00   61.78   $   10.00         $   119.81   $    119.81
  9/22/2019 Luis Emilio De Asis             $11.00   60.45   $   10.00         $   112.48   $    112.48
  9/29/2019 Luis Emilio De Asis             $11.00   56.75   $   10.00         $    92.13   $     92.13
  10/6/2019 Luis Emilio De Asis             $11.00   61.68   $   10.00         $   119.26   $    119.26
 10/13/2019 Luis Emilio De Asis             $11.00   59.77   $   10.00         $   108.72   $    108.72
 10/20/2019 Luis Emilio De Asis             $11.00   50.47   $   10.00         $    57.57   $     57.57
 10/27/2019 Luis Emilio De Asis             $11.00   61.13   $   10.00         $   116.23   $    116.23
  11/3/2019 Luis Emilio De Asis             $11.00   64.02   $   10.00         $   132.09   $    132.09
 11/10/2019 Luis Emilio De Asis             $11.00   60.05   $   10.00         $   110.28   $    110.28
 11/17/2019 Luis Emilio De Asis             $11.00   50.08   $   10.00         $    55.46   $     55.46
 11/24/2019 Luis Emilio De Asis             $11.00   59.95   $   10.00         $   109.73   $    109.73
  12/1/2019 Luis Emilio De Asis             $11.00   54.18   $   10.00         $    78.01   $     78.01
  12/8/2019 Luis Emilio De Asis             $11.00   60.78   $   10.00         $   114.31   $    114.31
 12/15/2019 Luis Emilio De Asis             $11.00   59.35   $   10.00         $   106.43   $    106.43
 12/22/2019 Luis Emilio De Asis             $11.00   56.90   $   10.00         $    92.95   $     92.95
   2/5/2017 Luis Ernesto Ledesma            $10.00   62.92   $    8.44         $   114.58   $    114.58
  2/12/2017 Luis Ernesto Ledesma            $10.00   60.43   $    8.44         $   102.17   $    102.17
  2/19/2017 Luis Ernesto Ledesma            $10.00   63.70   $    8.44         $   118.50   $    118.50
  2/26/2017 Luis Ernesto Ledesma            $10.00   64.38   $    8.44         $   121.92   $    121.92
   3/5/2017 Luis Ernesto Ledesma            $10.00   64.67   $    8.44         $   123.33   $    123.33
  3/12/2017 Luis Ernesto Ledesma            $10.00   63.12   $    8.44         $   115.58   $    115.58
  3/19/2017 Luis Ernesto Ledesma            $10.00   53.02   $    8.44         $    65.08   $     65.08
  3/26/2017 Luis Ernesto Ledesma            $10.00   64.88   $    8.44         $   124.42   $    124.42
   4/2/2017 Luis Ernesto Ledesma            $10.00   66.28   $    8.44         $   131.42   $    131.42
   4/9/2017 Luis Ernesto Ledesma            $10.00   63.80   $    8.44         $   119.00   $    119.00
  4/16/2017 Luis Ernesto Ledesma            $10.00   66.63   $    8.44         $   133.17   $    133.17
  4/23/2017 Luis Ernesto Ledesma            $10.00   63.22   $    8.44         $   116.08   $    116.08
  4/30/2017 Luis Ernesto Ledesma            $10.00   63.75   $    8.44         $   118.75   $    118.75
   5/7/2017 Luis Ernesto Ledesma            $10.00   62.77   $    8.44         $   113.83   $    113.83
  5/14/2017 Luis Ernesto Ledesma            $10.00   63.72   $    8.44         $   118.58   $    118.58
  5/21/2017 Luis Ernesto Ledesma            $10.00   61.48   $    8.44         $   107.42   $    107.42
  5/28/2017 Luis Ernesto Ledesma            $10.00   65.03   $    8.44         $   125.17   $    125.17
   6/4/2017 Luis Ernesto Ledesma            $10.00   66.10   $    8.44         $   130.50   $    130.50
  6/11/2017 Luis Ernesto Ledesma            $10.00   61.87   $    8.44         $   109.33   $    109.33
  6/25/2017 Luis Ernesto Ledesma            $10.00   63.08   $    8.44         $   115.42   $    115.42
   7/2/2017 Luis Ernesto Ledesma            $10.00   69.65   $    8.44         $   148.25   $    148.25
   7/9/2017 Luis Ernesto Ledesma            $10.00   59.50   $    8.44         $    97.50   $     97.50
  7/16/2017 Luis Ernesto Ledesma            $10.00   68.45   $    8.44         $   142.25   $    142.25
  7/23/2017 Luis Ernesto Ledesma            $10.00   62.78   $    8.44         $   113.92   $    113.92
  7/30/2017 Luis Ernesto Ledesma            $10.00   62.08   $    8.44         $   110.42   $    110.42
   8/6/2017 Luis Ernesto Ledesma            $10.00   63.58   $    8.44         $   117.92   $    117.92
  8/13/2017 Luis Ernesto Ledesma            $10.00   63.80   $    8.44         $   119.00   $    119.00
  8/20/2017 Luis Ernesto Ledesma            $10.00   64.22   $    8.44         $   121.08   $    121.08
  8/27/2017 Luis Ernesto Ledesma            $10.00   64.05   $    8.44         $   120.25   $    120.25



                                              444
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 446 of 683 PageID: 1293
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

   9/3/2017 Luis Ernesto Ledesma            $10.00   63.23   $   8.44          $   116.17   $    116.17
  9/10/2017 Luis Ernesto Ledesma            $10.00   65.05   $   8.44          $   125.25   $    125.25
  9/17/2017 Luis Ernesto Ledesma            $10.00   63.17   $   8.44          $   115.83   $    115.83
  9/24/2017 Luis Ernesto Ledesma            $10.00   62.57   $   8.44          $   112.83   $    112.83
  10/1/2017 Luis Ernesto Ledesma            $10.00   53.40   $   8.44          $    67.00   $     67.00
  10/8/2017 Luis Ernesto Ledesma            $10.00   63.80   $   8.44          $   119.00   $    119.00
 10/15/2017 Luis Ernesto Ledesma            $10.00   62.57   $   8.44          $   112.83   $    112.83
 10/22/2017 Luis Ernesto Ledesma            $10.00   62.53   $   8.44          $   112.67   $    112.67
 10/29/2017 Luis Ernesto Ledesma            $10.00   63.25   $   8.44          $   116.25   $    116.25
  11/5/2017 Luis Ernesto Ledesma            $10.00   64.67   $   8.44          $   123.33   $    123.33
 11/12/2017 Luis Ernesto Ledesma            $10.00   64.00   $   8.44          $   120.00   $    120.00
 11/19/2017 Luis Ernesto Ledesma            $10.00   62.83   $   8.44          $   114.17   $    114.17
 11/26/2017 Luis Ernesto Ledesma            $10.00   53.28   $   8.44          $    66.42   $     66.42
  12/3/2017 Luis Ernesto Ledesma            $10.00   64.62   $   8.44          $   123.08   $    123.08
 12/10/2017 Luis Ernesto Ledesma            $10.00   62.92   $   8.44          $   114.58   $    114.58
 12/17/2017 Luis Ernesto Ledesma            $10.00   52.90   $   8.44          $    64.50   $     64.50
 12/24/2017 Luis Ernesto Ledesma            $10.00   61.53   $   8.44          $   107.67   $    107.67
 12/31/2017 Luis Ernesto Ledesma            $10.00   55.42   $   8.44          $    77.08   $     77.08
   1/7/2018 Luis Ernesto Ledesma            $10.00   63.25   $   8.60          $   116.25   $    116.25
  1/14/2018 Luis Ernesto Ledesma            $10.00   63.98   $   8.60          $   119.92   $    119.92
  1/21/2018 Luis Ernesto Ledesma            $10.00   64.00   $   8.60          $   120.00   $    120.00
  1/28/2018 Luis Ernesto Ledesma            $10.00   63.70   $   8.60          $   118.50   $    118.50
   2/4/2018 Luis Ernesto Ledesma            $10.00   64.50   $   8.60          $   122.50   $    122.50
  2/11/2018 Luis Ernesto Ledesma            $10.00   63.98   $   8.60          $   119.92   $    119.92
  2/18/2018 Luis Ernesto Ledesma            $10.00   64.40   $   8.60          $   122.00   $    122.00
  2/25/2018 Luis Ernesto Ledesma            $10.00   64.98   $   8.60          $   124.92   $    124.92
   3/4/2018 Luis Ernesto Ledesma            $10.00   65.30   $   8.60          $   126.50   $    126.50
  3/25/2018 Luis Ernesto Ledesma            $10.00   64.33   $   8.60          $   121.67   $    121.67
   4/1/2018 Luis Ernesto Ledesma            $10.00   68.40   $   8.60          $   142.00   $    142.00
   4/8/2018 Luis Ernesto Ledesma            $10.00   64.27   $   8.60          $   121.33   $    121.33
  4/15/2018 Luis Ernesto Ledesma            $10.00   66.45   $   8.60          $   132.25   $    132.25
  4/22/2018 Luis Ernesto Ledesma            $10.00   65.47   $   8.60          $   127.33   $    127.33
  4/29/2018 Luis Ernesto Ledesma            $10.00   63.87   $   8.60          $   119.33   $    119.33
   5/6/2018 Luis Ernesto Ledesma            $10.00   64.83   $   8.60          $   124.17   $    124.17
  5/13/2018 Luis Ernesto Ledesma            $10.00   64.77   $   8.60          $   123.83   $    123.83
  5/20/2018 Luis Ernesto Ledesma            $10.00   66.40   $   8.60          $   132.00   $    132.00
  5/27/2018 Luis Ernesto Ledesma            $10.00   66.50   $   8.60          $   132.50   $    132.50
   6/3/2018 Luis Ernesto Ledesma            $10.00   65.57   $   8.60          $   127.83   $    127.83
  6/10/2018 Luis Ernesto Ledesma            $10.00   53.63   $   8.60          $    68.17   $     68.17
  6/17/2018 Luis Ernesto Ledesma            $10.00   64.52   $   8.60          $   122.58   $    122.58
  6/24/2018 Luis Ernesto Ledesma            $10.00   66.78   $   8.60          $   133.92   $    133.92
   7/1/2018 Luis Ernesto Ledesma            $10.00   66.03   $   8.60          $   130.17   $    130.17
   7/8/2018 Luis Ernesto Ledesma            $10.00   60.53   $   8.60          $   102.67   $    102.67
  7/15/2018 Luis Ernesto Ledesma            $10.00   65.83   $   8.60          $   129.17   $    129.17
  7/22/2018 Luis Ernesto Ledesma            $10.00   64.93   $   8.60          $   124.67   $    124.67
  7/29/2018 Luis Ernesto Ledesma            $10.00   64.57   $   8.60          $   122.83   $    122.83
   8/5/2018 Luis Ernesto Ledesma            $10.00   54.78   $   8.60          $    73.92   $     73.92
  8/12/2018 Luis Ernesto Ledesma            $10.00   65.13   $   8.60          $   125.67   $    125.67
  8/19/2018 Luis Ernesto Ledesma            $10.00   53.52   $   8.60          $    67.58   $     67.58
  8/26/2018 Luis Ernesto Ledesma            $10.00   64.25   $   8.60          $   121.25   $    121.25



                                              445
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 447 of 683 PageID: 1294
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

   9/2/2018 Luis Ernesto Ledesma            $10.00   55.53   $    8.60         $    77.67   $     77.67
   9/9/2018 Luis Ernesto Ledesma            $10.00   62.93   $    8.60         $   114.67   $    114.67
  9/16/2018 Luis Ernesto Ledesma            $10.00   65.17   $    8.60         $   125.83   $    125.83
  9/23/2018 Luis Ernesto Ledesma            $10.00   65.07   $    8.60         $   125.33   $    125.33
  9/30/2018 Luis Ernesto Ledesma            $10.00   65.42   $    8.60         $   127.08   $    127.08
  10/7/2018 Luis Ernesto Ledesma            $10.00   65.05   $    8.60         $   125.25   $    125.25
 10/14/2018 Luis Ernesto Ledesma            $10.00   65.65   $    8.60         $   128.25   $    128.25
 10/21/2018 Luis Ernesto Ledesma            $10.00   42.48   $    8.60         $    12.42   $     12.42
 10/28/2018 Luis Ernesto Ledesma            $10.00   65.85   $    8.60         $   129.25   $    129.25
  11/4/2018 Luis Ernesto Ledesma            $10.00   65.17   $    8.60         $   125.83   $    125.83
 11/11/2018 Luis Ernesto Ledesma            $10.00   66.85   $    8.60         $   134.25   $    134.25
 11/18/2018 Luis Ernesto Ledesma            $10.00   65.02   $    8.60         $   125.08   $    125.08
 11/25/2018 Luis Ernesto Ledesma            $10.00   53.55   $    8.60         $    67.75   $     67.75
  12/2/2018 Luis Ernesto Ledesma            $10.00   64.40   $    8.60         $   122.00   $    122.00
  12/9/2018 Luis Ernesto Ledesma            $10.00   65.02   $    8.60         $   125.08   $    125.08
 12/16/2018 Luis Ernesto Ledesma            $10.00   64.15   $    8.60         $   120.75   $    120.75
 12/23/2018 Luis Ernesto Ledesma            $10.00   65.07   $    8.60         $   125.33   $    125.33
  1/20/2019 Luis Ernesto Ledesma            $10.00   67.53   $    8.85         $   137.67   $    137.67
  1/27/2019 Luis Ernesto Ledesma            $10.00   74.23   $    8.85         $   171.17   $    171.17
   2/3/2019 Luis Ernesto Ledesma            $10.00   63.88   $    8.85         $   119.42   $    119.42
  2/10/2019 Luis Ernesto Ledesma            $10.00   65.03   $    8.85         $   125.17   $    125.17
  2/17/2019 Luis Ernesto Ledesma            $10.00   64.47   $    8.85         $   122.33   $    122.33
  2/24/2019 Luis Ernesto Ledesma            $10.00   63.28   $    8.85         $   116.42   $    116.42
   3/3/2019 Luis Ernesto Ledesma            $10.00   63.43   $    8.85         $   117.17   $    117.17
  3/10/2019 Luis Ernesto Ledesma            $10.00   65.08   $    8.85         $   125.42   $    125.42
  3/17/2019 Luis Ernesto Ledesma            $10.00   64.07   $    8.85         $   120.33   $    120.33
  3/24/2019 Luis Ernesto Ledesma            $10.00   53.55   $    8.85         $    67.75   $     67.75
  3/31/2019 Luis Ernesto Ledesma            $10.00   64.75   $    8.85         $   123.75   $    123.75
   4/7/2019 Luis Ernesto Ledesma            $10.00   63.63   $    8.85         $   118.17   $    118.17
  4/14/2019 Luis Ernesto Ledesma            $10.00   64.13   $    8.85         $   120.67   $    120.67
  4/21/2019 Luis Ernesto Ledesma            $10.00   64.65   $    8.85         $   123.25   $    123.25
  4/28/2019 Luis Ernesto Ledesma            $10.00   64.42   $    8.85         $   122.08   $    122.08
   5/5/2019 Luis Ernesto Ledesma            $10.00   65.20   $    8.85         $   126.00   $    126.00
  5/12/2019 Luis Ernesto Ledesma            $10.00   63.33   $    8.85         $   116.67   $    116.67
  5/19/2019 Luis Ernesto Ledesma            $10.00   65.70   $    8.85         $   128.50   $    128.50
  5/26/2019 Luis Ernesto Ledesma            $10.00   63.73   $    8.85         $   118.67   $    118.67
   6/2/2019 Luis Ernesto Ledesma            $10.00   53.18   $    8.85         $    65.92   $     65.92
   6/9/2019 Luis Ernesto Ledesma            $10.00   64.68   $    8.85         $   123.42   $    123.42
  6/16/2019 Luis Ernesto Ledesma            $10.00   65.12   $    8.85         $   125.58   $    125.58
  6/23/2019 Luis Ernesto Ledesma            $10.00   66.28   $    8.85         $   131.42   $    131.42
  6/30/2019 Luis Ernesto Ledesma            $10.00   68.07   $   10.00         $   140.33   $    140.33
   7/7/2019 Luis Ernesto Ledesma            $10.00   62.78   $   10.00         $   113.92   $    113.92
  7/14/2019 Luis Ernesto Ledesma            $10.00   65.87   $   10.00         $   129.33   $    129.33
  7/21/2019 Luis Ernesto Ledesma            $10.00   64.10   $   10.00         $   120.50   $    120.50
  7/28/2019 Luis Ernesto Ledesma            $10.00   64.63   $   10.00         $   123.17   $    123.17
   8/4/2019 Luis Ernesto Ledesma            $10.00   66.67   $   10.00         $   133.33   $    133.33
  8/11/2019 Luis Ernesto Ledesma            $10.00   64.25   $   10.00         $   121.25   $    121.25
  8/18/2019 Luis Ernesto Ledesma            $10.00   63.80   $   10.00         $   119.00   $    119.00
  8/25/2019 Luis Ernesto Ledesma            $10.00   65.50   $   10.00         $   127.50   $    127.50
   9/1/2019 Luis Ernesto Ledesma            $10.00   64.85   $   10.00         $   124.25   $    124.25



                                              446
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 448 of 683 PageID: 1295
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                      Name                         Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

   9/8/2019 Luis Ernesto Ledesma             $10.00   63.97   $   10.00               $   119.83   $   119.83
  9/15/2019 Luis Ernesto Ledesma             $10.00   67.23   $   10.00               $   136.17   $   136.17
  9/22/2019 Luis Ernesto Ledesma             $10.00   63.85   $   10.00               $   119.25   $   119.25
  9/29/2019 Luis Ernesto Ledesma             $10.00   66.22   $   10.00               $   131.08   $   131.08
  10/6/2019 Luis Ernesto Ledesma             $10.00   63.08   $   10.00               $   115.42   $   115.42
 10/13/2019 Luis Ernesto Ledesma             $10.00   64.77   $   10.00               $   123.83   $   123.83
 10/20/2019 Luis Ernesto Ledesma             $11.00   55.95   $   10.00               $    87.73   $    87.73
 10/27/2019 Luis Ernesto Ledesma             $11.00   67.90   $   10.00               $   153.45   $   153.45
  11/3/2019 Luis Ernesto Ledesma             $11.00   67.03   $   10.00               $   148.68   $   148.68
 11/10/2019 Luis Ernesto Ledesma             $11.00   67.35   $   10.00               $   150.43   $   150.43
 11/17/2019 Luis Ernesto Ledesma             $11.00   66.75   $   10.00               $   147.13   $   147.13
 11/24/2019 Luis Ernesto Ledesma             $11.00   65.97   $   10.00               $   142.82   $   142.82
  12/1/2019 Luis Ernesto Ledesma             $11.00   57.97   $   10.00               $    98.82   $    98.82
  12/8/2019 Luis Ernesto Ledesma             $11.00   66.58   $   10.00               $   146.21   $   146.21
 12/15/2019 Luis Ernesto Ledesma             $10.00   66.85   $   10.00               $   134.25   $   134.25
 12/22/2019 Luis Ernesto Ledesma             $10.00   68.12   $   10.00               $   140.58   $   140.58
   1/5/2020 Luis Ernesto Ledesma             $10.00   61.40   $   11.00   $   61.40   $   117.70   $   179.10
  1/12/2020 Luis Ernesto Ledesma             $10.00   54.93   $   11.00   $   54.93   $    82.13   $   137.07
  1/19/2020 Luis Ernesto Ledesma             $10.00   66.27   $   11.00   $   66.27   $   144.47   $   210.73
  1/26/2020 Luis Ernesto Ledesma             $10.00   67.52   $   11.00   $   67.52   $   151.34   $   218.86
  12/9/2018 Luis Espada                      $11.00   47.80   $    8.60               $    42.90   $    42.90
 12/23/2018 Luis Espada                      $11.00   52.63   $    8.60               $    69.48   $    69.48
  1/13/2019 Luis Espada                      $11.00   45.42   $    8.85               $    29.79   $    29.79
  1/20/2019 Luis Espada                      $11.00   61.65   $    8.85               $   119.08   $   119.08
  1/27/2019 Luis Espada                      $11.00   55.33   $    8.85               $    84.33   $    84.33
   2/3/2019 Luis Espada                      $11.00   41.17   $    8.85               $     6.42   $     6.42
  2/10/2019 Luis Espada                      $11.00   48.70   $    8.85               $    47.85   $    47.85
  2/17/2019 Luis Espada                      $11.00   40.35   $    8.85               $     1.92   $     1.92
  2/24/2019 Luis Espada                      $11.00   60.25   $    8.85               $   111.38   $   111.38
 10/20/2019 Luis Espada                      $11.50   51.07   $   10.00               $    63.63   $    63.63
 10/27/2019 Luis Espada                      $11.50   50.13   $   10.00               $    58.27   $    58.27
  11/3/2019 Luis Espada                      $11.50   49.13   $   10.00               $    52.52   $    52.52
  12/8/2019 Luis Espada                      $11.50   56.40   $   10.00               $    94.30   $    94.30
 12/15/2019 Luis Espada                      $11.50   44.15   $   10.00               $    23.86   $    23.86
 12/22/2019 Luis Espada                      $11.50   56.13   $   10.00               $    92.77   $    92.77
   1/5/2020 Luis Espada                      $11.50   43.03   $   11.00               $    17.44   $    17.44
  1/12/2020 Luis Espada                      $11.50   52.23   $   11.00               $    70.34   $    70.34
  11/4/2018 Luis Fernando Hernandez          $10.00   78.37   $    8.60               $   191.83   $   191.83
 11/11/2018 Luis Fernando Hernandez          $10.00   77.85   $    8.60               $   189.25   $   189.25
 11/18/2018 Luis Fernando Hernandez          $10.00   77.57   $    8.60               $   187.83   $   187.83
 11/25/2018 Luis Fernando Hernandez          $10.00   60.45   $    8.60               $   102.25   $   102.25
  12/2/2018 Luis Fernando Hernandez          $10.00   73.45   $    8.60               $   167.25   $   167.25
  12/9/2018 Luis Fernando Hernandez          $10.00   71.38   $    8.60               $   156.92   $   156.92
 12/16/2018 Luis Fernando Hernandez          $10.00   72.97   $    8.60               $   164.83   $   164.83
 12/23/2018 Luis Fernando Hernandez          $10.00   58.83   $    8.60               $    94.17   $    94.17
 12/30/2018 Luis Fernando Hernandez          $10.00   57.78   $    8.60               $    88.92   $    88.92
   1/6/2019 Luis Fernando Hernandez          $10.00   59.20   $    8.85               $    96.00   $    96.00
  1/13/2019 Luis Fernando Hernandez          $10.00   69.80   $    8.85               $   149.00   $   149.00
  2/24/2019 Luis Fernando Hernandez          $10.00   72.50   $    8.85               $   162.50   $   162.50
   3/3/2019 Luis Fernando Hernandez          $10.00   73.53   $    8.85               $   167.67   $   167.67



                                               447
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 449 of 683 PageID: 1296
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                      Name                         Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  3/10/2019 Luis Fernando Hernandez          $10.00   72.90   $    8.85               $   164.50   $   164.50
  3/17/2019 Luis Fernando Hernandez          $10.00   73.60   $    8.85               $   168.00   $   168.00
 12/29/2019 Luis Fernando Hernandez          $10.00   53.63   $   10.00               $    68.17   $    68.17
   1/5/2020 Luis Fernando Hernandez          $10.00   68.15   $   11.00   $   68.15   $   154.83   $   222.98
  1/12/2020 Luis Fernando Hernandez          $10.00   70.88   $   11.00   $   70.88   $   169.86   $   240.74
  1/19/2020 Luis Fernando Hernandez          $10.00   63.63   $   11.00   $   63.63   $   129.98   $   193.62
  1/26/2020 Luis Fernando Hernandez          $10.00   63.78   $   11.00   $   63.78   $   130.81   $   194.59
  10/6/2019 Luis Fernando Zapata             $10.35   62.40   $   10.00               $   115.92   $   115.92
 10/13/2019 Luis Fernando Zapata             $10.35   57.25   $   10.00               $    89.27   $    89.27
 10/20/2019 Luis Fernando Zapata             $10.35   40.60   $   10.00               $     3.11   $     3.11
 10/27/2019 Luis Fernando Zapata             $10.35   53.45   $   10.00               $    69.60   $    69.60
  11/3/2019 Luis Fernando Zapata             $10.35   64.08   $   10.00               $   124.63   $   124.63
 11/10/2019 Luis Fernando Zapata             $10.35   61.63   $   10.00               $   111.95   $   111.95
 11/17/2019 Luis Fernando Zapata             $10.35   58.92   $   10.00               $    97.89   $    97.89
 11/24/2019 Luis Fernando Zapata             $10.35   48.60   $   10.00               $    44.51   $    44.51
  12/1/2019 Luis Fernando Zapata             $10.35   48.35   $   10.00               $    43.21   $    43.21
  12/8/2019 Luis Fernando Zapata             $10.35   58.62   $   10.00               $    96.34   $    96.34
 12/15/2019 Luis Fernando Zapata             $10.35   59.10   $   10.00               $    98.84   $    98.84
 12/22/2019 Luis Fernando Zapata             $10.35   58.97   $   10.00               $    98.15   $    98.15
   1/5/2020 Luis Fernando Zapata             $10.35   46.98   $   11.00   $   30.54   $    38.41   $    68.95
  1/12/2020 Luis Fernando Zapata             $10.35   58.72   $   11.00   $   38.17   $   102.94   $   141.11
  1/19/2020 Luis Fernando Zapata             $10.35   59.22   $   11.00   $   38.49   $   105.69   $   144.18
  1/26/2020 Luis Fernando Zapata             $10.35   58.88   $   11.00   $   38.27   $   103.86   $   142.13
  8/25/2019 Luis Hernandez                   $10.00   46.77   $   10.00               $    33.83   $    33.83
  6/24/2018 Luis Jorge Anderson              $12.00   64.43   $    8.60               $   146.60   $   146.60
   7/1/2018 Luis Jorge Anderson              $12.00   53.77   $    8.60               $    82.60   $    82.60
   7/8/2018 Luis Jorge Anderson              $12.00   42.88   $    8.60               $    17.30   $    17.30
  7/15/2018 Luis Jorge Anderson              $12.00   51.92   $    8.60               $    71.50   $    71.50
  7/22/2018 Luis Jorge Anderson              $12.00   62.38   $    8.60               $   134.30   $   134.30
  7/29/2018 Luis Jorge Anderson              $12.00   47.05   $    8.60               $    42.30   $    42.30
  6/30/2019 Luis Jorge Anderson              $12.00   59.50   $   10.00               $   117.00   $   117.00
  11/3/2019 Luis Jose Mendez                 $11.00   52.72   $   10.00               $    69.94   $    69.94
 11/10/2019 Luis Jose Mendez                 $11.00   64.92   $   10.00               $   137.04   $   137.04
 11/17/2019 Luis Jose Mendez                 $11.00   60.70   $   10.00               $   113.85   $   113.85
 11/24/2019 Luis Jose Mendez                 $11.00   54.67   $   10.00               $    80.67   $    80.67
  12/1/2019 Luis Jose Mendez                 $11.00   47.23   $   10.00               $    39.78   $    39.78
  12/8/2019 Luis Jose Mendez                 $11.00   63.43   $   10.00               $   128.88   $   128.88
 12/15/2019 Luis Jose Mendez                 $11.00   63.60   $   10.00               $   129.80   $   129.80
 12/22/2019 Luis Jose Mendez                 $11.00   41.37   $   10.00               $     7.52   $     7.52
 12/29/2019 Luis Jose Mendez                 $11.00   51.27   $   10.00               $    61.97   $    61.97
   1/5/2020 Luis Jose Mendez                 $11.00   55.60   $   11.00               $    85.80   $    85.80
  1/12/2020 Luis Jose Mendez                 $11.00   64.88   $   11.00               $   136.86   $   136.86
  1/19/2020 Luis Jose Mendez                 $11.00   64.55   $   11.00               $   135.03   $   135.03
  1/26/2020 Luis Jose Mendez                 $11.00   41.83   $   11.00               $    10.08   $    10.08
  3/17/2019 Luis Lopez                       $10.00   56.12   $    8.85               $    80.58   $    80.58
  3/24/2019 Luis Lopez                       $10.00   53.55   $    8.85               $    67.75   $    67.75
  3/31/2019 Luis Lopez                       $10.00   54.47   $    8.85               $    72.33   $    72.33
   4/7/2019 Luis Lopez                       $10.00   59.20   $    8.85               $    96.00   $    96.00
  4/14/2019 Luis Lopez                       $10.00   55.87   $    8.85               $    79.33   $    79.33
  4/21/2019 Luis Lopez                       $10.00   54.43   $    8.85               $    72.17   $    72.17



                                               448
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 450 of 683 PageID: 1297
                                         Exhibit 2
                                 New Jersey Computations


   Week                                                 State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
  Ending                  Name                        Minumum Regular    Half-Time Overtime Back
                                         Rate Week
   Date                                                 Wage  Rate Due     Due       Wages Due

  4/28/2019 Luis Lopez                  $10.00   55.22   $    8.85         $    76.08   $     76.08
   5/5/2019 Luis Lopez                  $10.00   55.10   $    8.85         $    75.50   $     75.50
  5/12/2019 Luis Lopez                  $10.00   51.32   $    8.85         $    56.58   $     56.58
  5/19/2019 Luis Lopez                  $10.00   59.57   $    8.85         $    97.83   $     97.83
  5/26/2019 Luis Lopez                  $10.00   52.20   $    8.85         $    61.00   $     61.00
   6/2/2019 Luis Lopez                  $10.00   53.92   $    8.85         $    69.58   $     69.58
   6/9/2019 Luis Lopez                  $10.00   54.52   $    8.85         $    72.58   $     72.58
  6/16/2019 Luis Lopez                  $10.00   57.38   $    8.85         $    86.92   $     86.92
  6/23/2019 Luis Lopez                  $10.00   53.57   $    8.85         $    67.83   $     67.83
  6/30/2019 Luis Lopez                  $10.00   56.02   $   10.00         $    80.08   $     80.08
   7/7/2019 Luis Lopez                  $10.00   41.72   $   10.00         $     8.58   $      8.58
  7/14/2019 Luis Lopez                  $10.00   59.00   $   10.00         $    95.00   $     95.00
   9/8/2019 Luis Lopez-                 $10.00   52.20   $   10.00         $    61.00   $     61.00
  9/15/2019 Luis Lopez-                 $10.00   53.58   $   10.00         $    67.92   $     67.92
  9/22/2019 Luis Lopez-                 $10.00   57.22   $   10.00         $    86.08   $     86.08
  9/29/2019 Luis Lopez-                 $10.00   60.47   $   10.00         $   102.33   $    102.33
  10/6/2019 Luis Lopez-                 $10.00   48.78   $   10.00         $    43.92   $     43.92
 10/13/2019 Luis Lopez-                 $10.00   54.58   $   10.00         $    72.92   $     72.92
 10/20/2019 Luis Lopez-                 $10.00   55.73   $   10.00         $    78.67   $     78.67
  11/3/2019 Luis Lopez-                 $10.00   57.93   $   10.00         $    89.67   $     89.67
 11/10/2019 Luis Lopez-                 $10.00   56.70   $   10.00         $    83.50   $     83.50
 11/17/2019 Luis Lopez-                 $10.00   54.43   $   10.00         $    72.17   $     72.17
 11/24/2019 Luis Lopez-                 $10.00   53.65   $   10.00         $    68.25   $     68.25
  12/8/2019 Luis Lopez-                 $10.00   42.83   $   10.00         $    14.17   $     14.17
  9/22/2019 Luis Marte                  $10.00   59.68   $   10.00         $    98.42   $     98.42
  9/29/2019 Luis Marte                  $10.00   60.17   $   10.00         $   100.83   $    100.83
  10/6/2019 Luis Marte                  $11.00   41.93   $   10.00         $    10.63   $     10.63
 10/13/2019 Luis Marte                  $11.00   58.53   $   10.00         $   101.93   $    101.93
 10/20/2019 Luis Marte                  $11.00   42.32   $   10.00         $    12.74   $     12.74
 10/27/2019 Luis Marte                  $11.00   53.43   $   10.00         $    73.88   $     73.88
  11/3/2019 Luis Marte                  $11.00   75.78   $   10.00         $   196.81   $    196.81
 11/10/2019 Luis Marte                  $11.00   61.67   $   10.00         $   119.17   $    119.17
 11/17/2019 Luis Marte                  $11.00   60.92   $   10.00         $   115.04   $    115.04
 11/24/2019 Luis Marte                  $11.00   41.62   $   10.00         $     8.89   $      8.89
  12/1/2019 Luis Marte                  $11.00   41.28   $   10.00         $     7.06   $      7.06
  12/8/2019 Luis Marte                  $11.00   62.58   $   10.00         $   124.21   $    124.21
 12/15/2019 Luis Marte                  $11.00   62.15   $   10.00         $   121.83   $    121.83
 12/22/2019 Luis Marte                  $11.00   61.85   $   10.00         $   120.18   $    120.18
   1/5/2020 Luis Marte                  $11.00   50.12   $   11.00         $    55.64   $     55.64
  1/12/2020 Luis Marte                  $11.00   62.50   $   11.00         $   123.75   $    123.75
  1/19/2020 Luis Marte                  $11.00   62.35   $   11.00         $   122.93   $    122.93
  1/26/2020 Luis Marte                  $11.00   63.82   $   11.00         $   130.99   $    130.99
   2/4/2018 Luis Martes                 $10.00   46.83   $    8.60         $    34.17   $     34.17
  2/11/2018 Luis Martes                 $10.00   55.00   $    8.60         $    75.00   $     75.00
  2/18/2018 Luis Martes                 $10.00   58.98   $    8.60         $    94.92   $     94.92
  2/25/2018 Luis Martes                 $10.00   56.20   $    8.60         $    81.00   $     81.00
   3/4/2018 Luis Martes                 $10.00   46.67   $    8.60         $    33.33   $     33.33
  3/25/2018 Luis Martes                 $10.00   52.62   $    8.60         $    63.08   $     63.08
   4/1/2018 Luis Martes                 $10.00   55.40   $    8.60         $    77.00   $     77.00
   4/8/2018 Luis Martes                 $10.00   56.65   $    8.60         $    83.25   $     83.25



                                          449
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 451 of 683 PageID: 1298
                                         Exhibit 2
                                 New Jersey Computations


   Week                                                 State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
  Ending                  Name                        Minumum Regular    Half-Time Overtime Back
                                         Rate Week
   Date                                                 Wage  Rate Due     Due       Wages Due

  4/15/2018 Luis Martes                 $10.00   58.40   $   8.60          $    92.00   $     92.00
  4/22/2018 Luis Martes                 $10.00   57.85   $   8.60          $    89.25   $     89.25
  4/29/2018 Luis Martes                 $10.00   54.18   $   8.60          $    70.92   $     70.92
   5/6/2018 Luis Martes                 $10.00   55.70   $   8.60          $    78.50   $     78.50
  5/13/2018 Luis Martes                 $10.00   56.80   $   8.60          $    84.00   $     84.00
  5/20/2018 Luis Martes                 $10.00   56.03   $   8.60          $    80.17   $     80.17
  5/27/2018 Luis Martes                 $10.00   51.13   $   8.60          $    55.67   $     55.67
   6/3/2018 Luis Martes                 $10.00   59.40   $   8.60          $    97.00   $     97.00
  6/10/2018 Luis Martes                 $10.00   53.12   $   8.60          $    65.58   $     65.58
  6/17/2018 Luis Martes                 $10.00   52.60   $   8.60          $    63.00   $     63.00
  6/24/2018 Luis Martes                 $10.00   57.85   $   8.60          $    89.25   $     89.25
   7/1/2018 Luis Martes                 $10.00   58.75   $   8.60          $    93.75   $     93.75
   7/8/2018 Luis Martes                 $10.00   55.68   $   8.60          $    78.42   $     78.42
  7/15/2018 Luis Martes                 $10.00   52.63   $   8.60          $    63.17   $     63.17
  7/22/2018 Luis Martes                 $10.00   46.28   $   8.60          $    31.42   $     31.42
  7/29/2018 Luis Martes                 $10.00   41.48   $   8.60          $     7.42   $      7.42
   8/5/2018 Luis Martes                 $10.00   55.88   $   8.60          $    79.42   $     79.42
  8/12/2018 Luis Martes                 $10.00   46.20   $   8.60          $    31.00   $     31.00
  8/19/2018 Luis Martes                 $10.00   57.97   $   8.60          $    89.83   $     89.83
   9/9/2018 Luis Martes                 $10.00   52.70   $   8.60          $    63.50   $     63.50
  9/16/2018 Luis Martes                 $10.00   42.35   $   8.60          $    11.75   $     11.75
  9/23/2018 Luis Martes                 $10.00   52.52   $   8.60          $    62.58   $     62.58
  9/30/2018 Luis Martes                 $10.00   43.37   $   8.60          $    16.83   $     16.83
  10/7/2018 Luis Martes                 $10.00   46.73   $   8.60          $    33.67   $     33.67
 10/14/2018 Luis Martes                 $10.00   58.83   $   8.60          $    94.17   $     94.17
 10/21/2018 Luis Martes                 $10.00   62.08   $   8.60          $   110.42   $    110.42
 10/28/2018 Luis Martes                 $10.00   59.95   $   8.60          $    99.75   $     99.75
  11/4/2018 Luis Martes                 $10.00   48.52   $   8.60          $    42.58   $     42.58
 11/11/2018 Luis Martes                 $10.00   54.42   $   8.60          $    72.08   $     72.08
  12/2/2018 Luis Martes                 $10.00   57.48   $   8.60          $    87.42   $     87.42
  12/9/2018 Luis Martes                 $10.00   47.70   $   8.60          $    38.50   $     38.50
 12/16/2018 Luis Martes                 $10.00   50.57   $   8.60          $    52.83   $     52.83
 12/23/2018 Luis Martes                 $10.00   44.27   $   8.60          $    21.33   $     21.33
   1/6/2019 Luis Martes                 $10.00   45.32   $   8.85          $    26.58   $     26.58
  1/13/2019 Luis Martes                 $10.00   59.58   $   8.85          $    97.92   $     97.92
  1/20/2019 Luis Martes                 $10.00   60.72   $   8.85          $   103.58   $    103.58
  1/27/2019 Luis Martes                 $10.00   45.88   $   8.85          $    29.42   $     29.42
   2/3/2019 Luis Martes                 $10.00   53.15   $   8.85          $    65.75   $     65.75
  2/10/2019 Luis Martes                 $10.00   53.83   $   8.85          $    69.17   $     69.17
  2/17/2019 Luis Martes                 $10.00   51.05   $   8.85          $    55.25   $     55.25
  2/24/2019 Luis Martes                 $10.00   48.55   $   8.85          $    42.75   $     42.75
   3/3/2019 Luis Martes                 $10.00   49.93   $   8.85          $    49.67   $     49.67
  3/17/2019 Luis Martes                 $10.00   43.65   $   8.85          $    18.25   $     18.25
  3/24/2019 Luis Martes                 $10.00   62.63   $   8.85          $   113.17   $    113.17
  3/31/2019 Luis Martes                 $10.00   63.43   $   8.85          $   117.17   $    117.17
   4/7/2019 Luis Martes                 $10.00   55.55   $   8.85          $    77.75   $     77.75
  4/14/2019 Luis Martes                 $10.00   57.20   $   8.85          $    86.00   $     86.00
  4/21/2019 Luis Martes                 $10.00   53.50   $   8.85          $    67.50   $     67.50
  4/28/2019 Luis Martes                 $10.00   49.63   $   8.85          $    48.17   $     48.17
   5/5/2019 Luis Martes                 $10.00   55.73   $   8.85          $    78.67   $     78.67



                                          450
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 452 of 683 PageID: 1299
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  5/12/2019 Luis Martes                      $10.00   54.58   $    8.85         $    72.92   $     72.92
  5/19/2019 Luis Martes                      $10.00   49.60   $    8.85         $    48.00   $     48.00
  5/26/2019 Luis Martes                      $10.00   48.65   $    8.85         $    43.25   $     43.25
   6/2/2019 Luis Martes                      $10.00   41.32   $    8.85         $     6.58   $      6.58
   6/9/2019 Luis Martes                      $10.00   56.67   $    8.85         $    83.33   $     83.33
  6/16/2019 Luis Martes                      $10.00   58.10   $    8.85         $    90.50   $     90.50
  6/23/2019 Luis Martes                      $10.00   50.73   $    8.85         $    53.67   $     53.67
  6/30/2019 Luis Martes                      $10.00   44.38   $   10.00         $    21.92   $     21.92
  9/17/2017 Luis Nelson Rodriguez             $9.50   57.97   $    8.44         $    85.34   $     85.34
  9/24/2017 Luis Nelson Rodriguez             $9.50   58.42   $    8.44         $    87.48   $     87.48
  10/1/2017 Luis Nelson Rodriguez             $9.50   57.30   $    8.44         $    82.18   $     82.18
  10/8/2017 Luis Nelson Rodriguez             $9.50   44.03   $    8.44         $    19.16   $     19.16
 10/15/2017 Luis Nelson Rodriguez             $9.50   48.03   $    8.44         $    38.16   $     38.16
 10/22/2017 Luis Nelson Rodriguez             $9.50   55.85   $    8.44         $    75.29   $     75.29
 10/29/2017 Luis Nelson Rodriguez             $9.50   46.30   $    8.44         $    29.93   $     29.93
 11/12/2017 Luis Nelson Rodriguez             $9.50   53.55   $    8.44         $    64.36   $     64.36
 11/19/2017 Luis Nelson Rodriguez             $9.50   52.83   $    8.44         $    60.96   $     60.96
 11/26/2017 Luis Nelson Rodriguez             $9.50   43.92   $    8.44         $    18.60   $     18.60
  12/3/2017 Luis Nelson Rodriguez             $9.50   57.82   $    8.44         $    84.63   $     84.63
 12/10/2017 Luis Nelson Rodriguez             $9.50   47.30   $    8.44         $    34.68   $     34.68
 12/24/2017 Luis Nelson Rodriguez             $9.50   51.97   $    8.44         $    56.84   $     56.84
 12/31/2017 Luis Nelson Rodriguez             $9.50   54.38   $    8.44         $    68.32   $     68.32
   1/7/2018 Luis Nelson Rodriguez             $9.50   43.95   $    8.60         $    18.76   $     18.76
  1/14/2018 Luis Nelson Rodriguez             $9.50   57.95   $    8.60         $    85.26   $     85.26
  1/21/2018 Luis Nelson Rodriguez             $9.50   60.53   $    8.60         $    97.53   $     97.53
  1/28/2018 Luis Nelson Rodriguez             $9.50   58.88   $    8.60         $    89.70   $     89.70
   2/4/2018 Luis Nelson Rodriguez             $9.50   49.25   $    8.60         $    43.94   $     43.94
  2/11/2018 Luis Nelson Rodriguez             $9.50   58.97   $    8.60         $    90.09   $     90.09
  2/18/2018 Luis Nelson Rodriguez             $9.50   58.98   $    8.60         $    90.17   $     90.17
  2/25/2018 Luis Nelson Rodriguez             $9.50   59.43   $    8.60         $    92.31   $     92.31
   3/4/2018 Luis Nelson Rodriguez             $9.50   58.53   $    8.60         $    88.03   $     88.03
  3/25/2018 Luis Nelson Rodriguez             $9.50   45.53   $    8.60         $    26.28   $     26.28
   4/1/2018 Luis Nelson Rodriguez             $9.50   58.22   $    8.60         $    86.53   $     86.53
  4/29/2018 Luis Nelson Rodriguez             $9.50   56.53   $    8.60         $    78.53   $     78.53
   5/6/2018 Luis Nelson Rodriguez             $9.50   40.68   $    8.60         $     3.25   $      3.25
  5/13/2018 Luis Nelson Rodriguez             $9.50   48.00   $    8.60         $    38.00   $     38.00
  5/27/2018 Luis Nelson Rodriguez             $9.50   46.57   $    8.60         $    31.19   $     31.19
   6/3/2018 Luis Nelson Rodriguez             $9.50   41.42   $    8.60         $     6.73   $      6.73
  6/10/2018 Luis Nelson Rodriguez             $9.50   45.42   $    8.60         $    25.73   $     25.73
  6/17/2018 Luis Nelson Rodriguez             $9.50   52.37   $    8.60         $    58.74   $     58.74
  6/24/2018 Luis Nelson Rodriguez             $9.50   54.13   $    8.60         $    67.13   $     67.13
   7/1/2018 Luis Nelson Rodriguez             $9.50   53.93   $    8.60         $    66.18   $     66.18
   7/8/2018 Luis Nelson Rodriguez             $9.50   52.00   $    8.60         $    57.00   $     57.00
  7/15/2018 Luis Nelson Rodriguez             $9.50   60.57   $    8.60         $    97.69   $     97.69
  7/22/2018 Luis Nelson Rodriguez             $9.50   40.08   $    8.60         $     0.40   $      0.40
  7/29/2018 Luis Nelson Rodriguez             $9.50   57.93   $    8.60         $    85.18   $     85.18
   8/5/2018 Luis Nelson Rodriguez             $9.50   52.23   $    8.60         $    58.11   $     58.11
  8/12/2018 Luis Nelson Rodriguez             $9.50   56.12   $    8.60         $    76.55   $     76.55
  8/19/2018 Luis Nelson Rodriguez             $9.50   67.60   $    8.60         $   131.10   $    131.10
  8/26/2018 Luis Nelson Rodriguez             $9.50   68.27   $    8.60         $   134.27   $    134.27



                                               451
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 453 of 683 PageID: 1300
                                                         Exhibit 2
                                                 New Jersey Computations


   Week                                                                 State Section 7: Section 7: Total Section 7
                                                        Hourly Hours/
  Ending                       Name                                   Minumum Regular    Half-Time Overtime Back
                                                         Rate Week
   Date                                                                 Wage  Rate Due     Due       Wages Due

  3/31/2019 Luis Nelson Rodriguez                        $9.50   53.27   $    8.85               $    63.02   $    63.02
   4/7/2019 Luis Nelson Rodriguez                        $9.50   45.53   $    8.85               $    26.28   $    26.28
  4/14/2019 Luis Nelson Rodriguez                        $9.50   44.33   $    8.85               $    20.58   $    20.58
  4/21/2019 Luis Nelson Rodriguez                        $9.50   57.22   $    8.85               $    81.78   $    81.78
   5/5/2019 Luis Nelson Rodriguez                        $9.50   53.75   $    8.85               $    65.31   $    65.31
  9/22/2019 Luis Nelson Rodriguez                       $10.00   47.22   $   10.00               $    36.08   $    36.08
  9/29/2019 Luis Nelson Rodriguez                       $10.00   50.90   $   10.00               $    54.50   $    54.50
 10/13/2019 Luis Nelson Rodriguez                       $10.00   50.30   $   10.00               $    51.50   $    51.50
  1/12/2020 Luis Ortiz                                  $10.00   58.52   $   11.00   $   58.52   $   101.84   $   160.36
  1/19/2020 Luis Ortiz                                  $10.00   46.90   $   11.00   $   46.90   $    37.95   $    84.85
  1/26/2020 Luis Ortiz                                  $10.00   54.75   $   11.00   $   54.75   $    81.13   $   135.88
   2/5/2017 Luis Osvaldo Armira                         $10.00   59.02   $    8.44               $    95.08   $    95.08
  2/12/2017 Luis Osvaldo Armira                         $10.00   47.22   $    8.44               $    36.08   $    36.08
  2/19/2017 Luis Osvaldo Armira                         $10.00   58.17   $    8.44               $    90.83   $    90.83
  2/26/2017 Luis Osvaldo Armira                         $10.00   58.97   $    8.44               $    94.83   $    94.83
   3/5/2017 Luis Osvaldo Armira                         $10.00   58.27   $    8.44               $    91.33   $    91.33
  3/12/2017 Luis Osvaldo Armira                         $10.00   59.22   $    8.44               $    96.08   $    96.08
  3/26/2017 Luis Osvaldo Armira                         $10.00   58.67   $    8.44               $    93.33   $    93.33
   4/2/2017 Luis Osvaldo Armira                         $10.00   58.42   $    8.44               $    92.08   $    92.08
   4/9/2017 Luis Osvaldo Armira                         $10.00   58.40   $    8.44               $    92.00   $    92.00
  4/16/2017 Luis Osvaldo Armira                         $10.00   59.77   $    8.44               $    98.83   $    98.83
 10/20/2019 Luis Perez Gil                              $12.00   75.68   $   10.00               $   214.10   $   214.10
 10/27/2019 Luis Perez Gil                              $12.00   75.67   $   10.00               $   214.00   $   214.00
  11/3/2019 Luis Perez Gil                              $12.00   74.98   $   10.00               $   209.90   $   209.90
 11/10/2019 Luis Perez Gil                              $12.00   74.72   $   10.00               $   208.30   $   208.30
 11/17/2019 Luis Perez Gil                              $12.00   74.22   $   10.00               $   205.30   $   205.30
 11/24/2019 Luis Perez Gil                              $12.00   73.23   $   10.00               $   199.40   $   199.40
  12/1/2019 Luis Perez Gil                              $12.00   59.62   $   10.00               $   117.70   $   117.70
  12/8/2019 Luis Perez Gil                              $12.00   71.90   $   10.00               $   191.40   $   191.40
 12/15/2019 Luis Perez Gil                              $12.00   76.38   $   10.00               $   218.30   $   218.30
 12/22/2019 Luis Perez Gil                              $12.00   74.22   $   10.00               $   205.30   $   205.30
 12/29/2019 Luis Perez Gil                              $12.00   48.98   $   10.00               $    53.90   $    53.90
   1/5/2020 Luis Perez Gil                              $12.00   65.65   $   11.00               $   153.90   $   153.90
  1/12/2020 Luis Perez Gil                              $12.00   73.45   $   11.00               $   200.70   $   200.70
  1/19/2020 Luis Perez Gil                              $12.00   62.18   $   11.00               $   133.10   $   133.10
  1/26/2020 Luis Perez Gil                              $12.00   74.40   $   11.00               $   206.40   $   206.40
   9/1/2019 Luis Rafael Salobo-On Site Manager          $16.00   43.32   $   10.00               $    26.53   $    26.53
  9/22/2019 Luis Rafael Salobo-On Site Manager          $16.00   59.65   $   10.00               $   157.20   $   157.20
  9/29/2019 Luis Rafael Salobo-On Site Manager          $16.00   64.18   $   10.00               $   193.47   $   193.47
  10/6/2019 Luis Rafael Salobo-On Site Manager          $16.00   61.12   $   10.00               $   168.93   $   168.93
 10/13/2019 Luis Rafael Salobo-On Site Manager          $16.00   59.05   $   10.00               $   152.40   $   152.40
 10/20/2019 Luis Rafael Salobo-On Site Manager          $16.00   61.07   $   10.00               $   168.53   $   168.53
 10/27/2019 Luis Rafael Salobo-On Site Manager          $16.00   62.35   $   10.00               $   178.80   $   178.80
  11/3/2019 Luis Rafael Salobo-On Site Manager          $16.00   60.63   $   10.00               $   165.07   $   165.07
 11/10/2019 Luis Rafael Salobo-On Site Manager          $16.00   58.97   $   10.00               $   151.73   $   151.73
 11/17/2019 Luis Rafael Salobo-On Site Manager          $16.00   60.48   $   10.00               $   163.87   $   163.87
 11/24/2019 Luis Rafael Salobo-On Site Manager          $16.00   70.77   $   10.00               $   246.13   $   246.13
  12/1/2019 Luis Rafael Salobo-On Site Manager          $16.00   57.17   $   10.00               $   137.33   $   137.33
  12/8/2019 Luis Rafael Salobo-On Site Manager          $16.00   60.85   $   10.00               $   166.80   $   166.80
 12/15/2019 Luis Rafael Salobo-On Site Manager          $16.00   59.77   $   10.00               $   158.13   $   158.13



                                                          452
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 454 of 683 PageID: 1301
                                                           Exhibit 2
                                                   New Jersey Computations


   Week                                                                    State Section 7: Section 7: Total Section 7
                                                           Hourly Hours/
  Ending                        Name                                     Minumum Regular    Half-Time Overtime Back
                                                            Rate Week
   Date                                                                    Wage  Rate Due     Due       Wages Due

 12/22/2019 Luis Rafael Salobo-On Site Manager             $16.00   61.03   $   10.00               $   168.27   $   168.27
 12/29/2019 Luis Rafael Salobo-On Site Manager             $16.00   43.60   $   10.00               $    28.80   $    28.80
   1/5/2020 Luis Rafael Salobo-On Site Manager             $16.00   51.25   $   11.00               $    90.00   $    90.00
  1/12/2020 Luis Rafael Salobo-On Site Manager             $16.00   62.45   $   11.00               $   179.60   $   179.60
  1/19/2020 Luis Rafael Salobo-On Site Manager             $16.00   58.43   $   11.00               $   147.47   $   147.47
  1/26/2020 Luis Rafael Salobo-On Site Manager             $16.00   61.03   $   11.00               $   168.27   $   168.27
 10/27/2019 Luis Raul Flores                               $11.00   70.30   $   10.00               $   166.65   $   166.65
  11/3/2019 Luis Raul Flores                               $11.00   70.62   $   10.00               $   168.39   $   168.39
 11/10/2019 Luis Raul Flores                               $11.00   70.25   $   10.00               $   166.38   $   166.38
 11/17/2019 Luis Raul Flores                                $9.50   51.63   $   10.00   $   25.82   $    58.17   $    83.98
 11/24/2019 Luis Raul Flores                                $9.50   51.33   $   10.00   $   25.67   $    56.67   $    82.33
  12/8/2019 Luis Raul Flores                                $9.50   45.13   $   10.00   $   22.57   $    25.67   $    48.23
  5/12/2019 Luis Ricardo Octavalo                           $8.85   55.22   $    8.85               $    67.33   $    67.33
  8/13/2017 Luis Smeling Rodriguez - Car Washer/Detailer    $9.50   60.27   $    8.44               $    96.27   $    96.27
  5/19/2019 Luswin Alexander Barrera - Car Wash            $12.00   49.65   $    8.85               $    57.90   $    57.90
  5/26/2019 Luswin Alexander Barrera - Car Wash            $12.00   55.15   $    8.85               $    90.90   $    90.90
  8/26/2018 Manuel Beltran                                  $9.50   58.00   $    8.60               $    85.50   $    85.50
   9/9/2018 Manuel Beltran                                  $9.50   40.87   $    8.60               $     4.12   $     4.12
  9/16/2018 Manuel Beltran                                  $9.50   62.95   $    8.60               $   109.01   $   109.01
  9/23/2018 Manuel Beltran                                  $9.50   65.22   $    8.60               $   119.78   $   119.78
  9/30/2018 Manuel Beltran                                  $9.50   66.97   $    8.60               $   128.09   $   128.09
  10/7/2018 Manuel Beltran                                  $9.50   65.33   $    8.60               $   120.33   $   120.33
 10/14/2018 Manuel Beltran                                  $9.50   65.30   $    8.60               $   120.18   $   120.18
 10/21/2018 Manuel Beltran                                  $9.50   66.33   $    8.60               $   125.08   $   125.08
 10/28/2018 Manuel Beltran                                  $9.50   62.70   $    8.60               $   107.83   $   107.83
  11/4/2018 Manuel Beltran                                  $9.50   65.47   $    8.60               $   120.97   $   120.97
 11/11/2018 Manuel Beltran                                  $9.50   66.02   $    8.60               $   123.58   $   123.58
 11/18/2018 Manuel Beltran                                  $9.50   69.68   $    8.60               $   141.00   $   141.00
 11/25/2018 Manuel Beltran                                  $9.50   58.72   $    8.60               $    88.90   $    88.90
  12/2/2018 Manuel Beltran                                  $9.50   70.90   $    8.60               $   146.78   $   146.78
  12/9/2018 Manuel Beltran                                  $9.50   70.98   $    8.60               $   147.17   $   147.17
 12/16/2018 Manuel Beltran                                  $9.50   67.22   $    8.60               $   129.28   $   129.28
 12/23/2018 Manuel Beltran                                  $9.50   70.30   $    8.60               $   143.93   $   143.93
 12/30/2018 Manuel Beltran                                  $9.50   52.30   $    8.60               $    58.43   $    58.43
   1/6/2019 Manuel Beltran                                  $9.50   51.35   $    8.85               $    53.91   $    53.91
  1/13/2019 Manuel Beltran                                  $9.50   68.80   $    8.85               $   136.80   $   136.80
  1/20/2019 Manuel Beltran                                  $9.50   69.80   $    8.85               $   141.55   $   141.55
  1/27/2019 Manuel Beltran                                  $9.50   69.95   $    8.85               $   142.26   $   142.26
   2/3/2019 Manuel Beltran                                  $9.50   67.22   $    8.85               $   129.28   $   129.28
  2/10/2019 Manuel Beltran                                  $9.50   58.78   $    8.85               $    89.22   $    89.22
  2/17/2019 Manuel Beltran                                  $9.50   68.67   $    8.85               $   136.17   $   136.17
  2/24/2019 Manuel Beltran                                  $9.50   67.32   $    8.85               $   129.75   $   129.75
   3/3/2019 Manuel Beltran                                  $9.50   65.02   $    8.85               $   118.83   $   118.83
  3/10/2019 Manuel Beltran                                  $9.50   70.37   $    8.85               $   144.24   $   144.24
  3/17/2019 Manuel Beltran                                  $9.50   71.82   $    8.85               $   151.13   $   151.13
  3/24/2019 Manuel Beltran                                  $9.50   58.28   $    8.85               $    86.85   $    86.85
  3/31/2019 Manuel Beltran                                  $9.50   65.73   $    8.85               $   122.23   $   122.23
   4/7/2019 Manuel Beltran                                  $9.50   73.10   $    8.85               $   157.23   $   157.23
  4/14/2019 Manuel Beltran                                  $9.50   71.77   $    8.85               $   150.89   $   150.89
  4/21/2019 Manuel Beltran                                  $9.50   45.47   $    8.85               $    25.97   $    25.97



                                                             453
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 455 of 683 PageID: 1302
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  4/28/2019 Manuel Beltran                    $9.50   71.10   $    8.85               $   147.73   $   147.73
   5/5/2019 Manuel Beltran                    $9.50   58.98   $    8.85               $    90.17   $    90.17
  5/12/2019 Manuel Beltran                    $9.50   72.32   $    8.85               $   153.50   $   153.50
  5/19/2019 Manuel Beltran                    $9.50   72.35   $    8.85               $   153.66   $   153.66
  5/26/2019 Manuel Beltran                    $9.50   72.75   $    8.85               $   155.56   $   155.56
   6/2/2019 Manuel Beltran                    $9.50   65.32   $    8.85               $   120.25   $   120.25
   6/9/2019 Manuel Beltran                    $9.50   61.40   $    8.85               $   101.65   $   101.65
  6/16/2019 Manuel Beltran                    $9.50   59.57   $    8.85               $    92.94   $    92.94
  6/23/2019 Manuel Beltran                    $9.50   60.87   $    8.85               $    99.12   $    99.12
  6/30/2019 Manuel Beltran                    $9.50   60.92   $   10.00   $   30.46   $   104.58   $   135.04
  12/8/2019 Manuel Cuellar                   $10.00   70.98   $   10.00               $   154.92   $   154.92
 12/15/2019 Manuel Cuellar                   $10.00   71.55   $   10.00               $   157.75   $   157.75
 12/22/2019 Manuel Cuellar                   $10.00   59.68   $   10.00               $    98.42   $    98.42
 12/29/2019 Manuel Cuellar                   $10.00   57.57   $   10.00               $    87.83   $    87.83
   1/5/2020 Manuel Cuellar                   $10.00   58.13   $   11.00   $   58.13   $    99.73   $   157.87
  1/12/2020 Manuel Cuellar                   $10.00   72.05   $   11.00   $   72.05   $   176.28   $   248.33
  1/19/2020 Manuel Cuellar                   $10.00   68.37   $   11.00   $   68.37   $   156.02   $   224.38
  1/26/2020 Manuel Cuellar                   $10.00   71.95   $   11.00   $   71.95   $   175.73   $   247.68
   2/5/2017 Manuel Hernandez                 $12.50   49.93   $    8.44               $    62.08   $    62.08
  2/12/2017 Manuel Hernandez                 $12.50   40.27   $    8.44               $     1.67   $     1.67
  2/19/2017 Manuel Hernandez                 $12.50   50.08   $    8.44               $    63.02   $    63.02
  2/26/2017 Manuel Hernandez                 $12.50   50.02   $    8.44               $    62.60   $    62.60
   3/5/2017 Manuel Hernandez                 $12.50   48.67   $    8.44               $    54.17   $    54.17
  3/12/2017 Manuel Hernandez                 $12.50   49.88   $    8.44               $    61.77   $    61.77
  3/19/2017 Manuel Hernandez                 $12.50   40.80   $    8.44               $     5.00   $     5.00
  3/26/2017 Manuel Hernandez                 $12.50   41.03   $    8.44               $     6.46   $     6.46
   4/2/2017 Manuel Hernandez                 $12.50   50.38   $    8.44               $    64.90   $    64.90
   4/9/2017 Manuel Hernandez                 $12.50   49.87   $    8.44               $    61.67   $    61.67
  4/16/2017 Manuel Hernandez                 $12.50   49.88   $    8.44               $    61.77   $    61.77
  4/30/2017 Manuel Hernandez                 $12.50   49.87   $    8.44               $    61.67   $    61.67
   5/7/2017 Manuel Hernandez                 $12.50   49.98   $    8.44               $    62.40   $    62.40
  5/14/2017 Manuel Hernandez                 $12.50   49.95   $    8.44               $    62.19   $    62.19
  5/21/2017 Manuel Hernandez                 $12.50   49.87   $    8.44               $    61.67   $    61.67
  5/28/2017 Manuel Hernandez                 $12.50   41.58   $    8.44               $     9.90   $     9.90
   6/4/2017 Manuel Hernandez                 $12.50   50.12   $    8.44               $    63.23   $    63.23
  6/11/2017 Manuel Hernandez                 $12.50   49.97   $    8.44               $    62.29   $    62.29
  6/18/2017 Manuel Hernandez                 $12.50   49.90   $    8.44               $    61.88   $    61.88
  6/25/2017 Manuel Hernandez                 $12.50   50.07   $    8.44               $    62.92   $    62.92
   7/2/2017 Manuel Hernandez                 $12.50   50.13   $    8.44               $    63.33   $    63.33
   7/9/2017 Manuel Hernandez                 $12.50   50.10   $    8.44               $    63.13   $    63.13
  7/16/2017 Manuel Hernandez                 $12.50   50.15   $    8.44               $    63.44   $    63.44
  7/23/2017 Manuel Hernandez                 $12.50   48.03   $    8.44               $    50.21   $    50.21
  7/30/2017 Manuel Hernandez                 $12.50   50.12   $    8.44               $    63.23   $    63.23
   8/6/2017 Manuel Hernandez                 $12.50   49.42   $    8.44               $    58.85   $    58.85
  8/13/2017 Manuel Hernandez                 $12.50   49.73   $    8.44               $    60.83   $    60.83
  8/20/2017 Manuel Hernandez                 $12.50   49.55   $    8.44               $    59.69   $    59.69
  8/27/2017 Manuel Hernandez                 $12.50   49.90   $    8.44               $    61.88   $    61.88
   9/3/2017 Manuel Hernandez                 $12.50   49.35   $    8.44               $    58.44   $    58.44
  9/10/2017 Manuel Hernandez                 $12.50   49.98   $    8.44               $    62.40   $    62.40
  9/17/2017 Manuel Hernandez                 $12.50   48.38   $    8.44               $    52.40   $    52.40



                                               454
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 456 of 683 PageID: 1303
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  9/24/2017 Manuel Hernandez                 $12.50   49.83   $   8.44          $   61.46   $      61.46
  10/1/2017 Manuel Hernandez                 $12.50   50.03   $   8.44          $   62.71   $      62.71
  10/8/2017 Manuel Hernandez                 $12.50   49.90   $   8.44          $   61.88   $      61.88
 10/15/2017 Manuel Hernandez                 $12.50   49.78   $   8.44          $   61.15   $      61.15
 10/22/2017 Manuel Hernandez                 $12.50   50.05   $   8.44          $   62.81   $      62.81
 10/29/2017 Manuel Hernandez                 $12.50   49.82   $   8.44          $   61.35   $      61.35
  11/5/2017 Manuel Hernandez                 $12.50   50.10   $   8.44          $   63.13   $      63.13
 11/12/2017 Manuel Hernandez                 $12.50   50.05   $   8.44          $   62.81   $      62.81
 11/19/2017 Manuel Hernandez                 $12.50   49.97   $   8.44          $   62.29   $      62.29
 11/26/2017 Manuel Hernandez                 $12.50   41.23   $   8.44          $    7.71   $       7.71
  12/3/2017 Manuel Hernandez                 $12.50   49.35   $   8.44          $   58.44   $      58.44
 12/10/2017 Manuel Hernandez                 $12.50   50.00   $   8.44          $   62.50   $      62.50
 12/17/2017 Manuel Hernandez                 $12.50   50.05   $   8.44          $   62.81   $      62.81
 12/24/2017 Manuel Hernandez                 $12.50   49.77   $   8.44          $   61.04   $      61.04
 12/31/2017 Manuel Hernandez                 $12.50   40.98   $   8.44          $    6.15   $       6.15
   1/7/2018 Manuel Hernandez                 $12.50   50.05   $   8.60          $   62.81   $      62.81
  1/14/2018 Manuel Hernandez                 $12.50   47.28   $   8.60          $   45.52   $      45.52
  1/21/2018 Manuel Hernandez                 $12.50   50.25   $   8.60          $   64.06   $      64.06
  1/28/2018 Manuel Hernandez                 $12.50   50.10   $   8.60          $   63.13   $      63.13
   2/4/2018 Manuel Hernandez                 $12.50   49.95   $   8.60          $   62.19   $      62.19
  2/11/2018 Manuel Hernandez                 $12.50   49.57   $   8.60          $   59.79   $      59.79
  2/18/2018 Manuel Hernandez                 $12.50   50.15   $   8.60          $   63.44   $      63.44
  2/25/2018 Manuel Hernandez                 $12.50   50.17   $   8.60          $   63.54   $      63.54
   3/4/2018 Manuel Hernandez                 $12.50   50.10   $   8.60          $   63.13   $      63.13
  3/25/2018 Manuel Hernandez                 $12.50   49.22   $   8.60          $   57.60   $      57.60
   4/1/2018 Manuel Hernandez                 $12.50   50.50   $   8.60          $   65.63   $      65.63
   4/8/2018 Manuel Hernandez                 $12.50   44.97   $   8.60          $   31.04   $      31.04
  4/15/2018 Manuel Hernandez                 $12.50   50.37   $   8.60          $   64.79   $      64.79
  4/22/2018 Manuel Hernandez                 $12.50   49.18   $   8.60          $   57.40   $      57.40
  4/29/2018 Manuel Hernandez                 $12.50   50.30   $   8.60          $   64.38   $      64.38
   5/6/2018 Manuel Hernandez                 $12.50   50.02   $   8.60          $   62.60   $      62.60
  5/13/2018 Manuel Hernandez                 $12.50   45.05   $   8.60          $   31.56   $      31.56
  5/20/2018 Manuel Hernandez                 $12.50   50.03   $   8.60          $   62.71   $      62.71
  5/27/2018 Manuel Hernandez                 $12.50   41.02   $   8.60          $    6.35   $       6.35
   6/3/2018 Manuel Hernandez                 $12.50   49.80   $   8.60          $   61.25   $      61.25
  6/10/2018 Manuel Hernandez                 $12.50   50.12   $   8.60          $   63.23   $      63.23
  6/17/2018 Manuel Hernandez                 $12.50   50.03   $   8.60          $   62.71   $      62.71
  6/24/2018 Manuel Hernandez                 $12.50   41.23   $   8.60          $    7.71   $       7.71
   7/1/2018 Manuel Hernandez                 $12.50   50.10   $   8.60          $   63.13   $      63.13
   7/8/2018 Manuel Hernandez                 $12.50   43.25   $   8.60          $   20.31   $      20.31
  7/15/2018 Manuel Hernandez                 $12.50   50.08   $   8.60          $   63.02   $      63.02
  7/22/2018 Manuel Hernandez                 $12.50   49.15   $   8.60          $   57.19   $      57.19
  7/29/2018 Manuel Hernandez                 $12.50   50.13   $   8.60          $   63.33   $      63.33
   8/5/2018 Manuel Hernandez                 $12.50   45.10   $   8.60          $   31.88   $      31.88
  8/12/2018 Manuel Hernandez                 $12.50   50.17   $   8.60          $   63.54   $      63.54
  8/19/2018 Manuel Hernandez                 $12.50   49.95   $   8.60          $   62.19   $      62.19
  8/26/2018 Manuel Hernandez                 $12.50   50.12   $   8.60          $   63.23   $      63.23
   9/2/2018 Manuel Hernandez                 $12.50   50.13   $   8.60          $   63.33   $      63.33
   9/9/2018 Manuel Hernandez                 $12.50   54.85   $   8.60          $   92.81   $      92.81
  9/16/2018 Manuel Hernandez                 $12.50   48.83   $   8.60          $   55.21   $      55.21



                                               455
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 457 of 683 PageID: 1304
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  9/23/2018 Manuel Hernandez                 $12.50   50.05   $    8.60         $   62.81   $      62.81
  9/30/2018 Manuel Hernandez                 $12.50   50.07   $    8.60         $   62.92   $      62.92
  10/7/2018 Manuel Hernandez                 $12.50   50.13   $    8.60         $   63.33   $      63.33
 10/14/2018 Manuel Hernandez                 $12.50   50.02   $    8.60         $   62.60   $      62.60
 10/21/2018 Manuel Hernandez                 $12.50   44.87   $    8.60         $   30.42   $      30.42
 10/28/2018 Manuel Hernandez                 $12.50   48.40   $    8.60         $   52.50   $      52.50
  11/4/2018 Manuel Hernandez                 $12.50   50.20   $    8.60         $   63.75   $      63.75
 11/11/2018 Manuel Hernandez                 $12.50   49.47   $    8.60         $   59.17   $      59.17
 11/18/2018 Manuel Hernandez                 $12.50   49.83   $    8.60         $   61.46   $      61.46
 11/25/2018 Manuel Hernandez                 $12.50   41.43   $    8.60         $    8.96   $       8.96
  12/2/2018 Manuel Hernandez                 $12.50   50.08   $    8.60         $   63.02   $      63.02
  12/9/2018 Manuel Hernandez                 $12.50   49.12   $    8.60         $   56.98   $      56.98
 12/16/2018 Manuel Hernandez                 $12.50   41.18   $    8.60         $    7.40   $       7.40
 12/30/2018 Manuel Hernandez                 $12.50   41.82   $    8.60         $   11.35   $      11.35
   1/6/2019 Manuel Hernandez                 $12.50   41.07   $    8.85         $    6.67   $       6.67
  1/13/2019 Manuel Hernandez                 $12.50   50.15   $    8.85         $   63.44   $      63.44
  1/20/2019 Manuel Hernandez                 $12.50   40.47   $    8.85         $    2.92   $       2.92
  1/27/2019 Manuel Hernandez                 $12.50   50.40   $    8.85         $   65.00   $      65.00
   2/3/2019 Manuel Hernandez                 $12.50   48.82   $    8.85         $   55.10   $      55.10
  2/10/2019 Manuel Hernandez                 $12.50   50.10   $    8.85         $   63.13   $      63.13
  2/17/2019 Manuel Hernandez                 $12.50   43.30   $    8.85         $   20.63   $      20.63
  2/24/2019 Manuel Hernandez                 $12.50   50.37   $    8.85         $   64.79   $      64.79
   3/3/2019 Manuel Hernandez                 $12.50   50.07   $    8.85         $   62.92   $      62.92
  3/10/2019 Manuel Hernandez                 $12.50   43.55   $    8.85         $   22.19   $      22.19
  3/17/2019 Manuel Hernandez                 $12.50   41.50   $    8.85         $    9.38   $       9.38
  3/24/2019 Manuel Hernandez                 $12.50   50.18   $    8.85         $   63.65   $      63.65
  3/31/2019 Manuel Hernandez                 $12.50   42.13   $    8.85         $   13.33   $      13.33
   4/7/2019 Manuel Hernandez                 $12.50   40.48   $    8.85         $    3.02   $       3.02
  4/14/2019 Manuel Hernandez                 $12.50   48.78   $    8.85         $   54.90   $      54.90
  4/21/2019 Manuel Hernandez                 $12.50   49.62   $    8.85         $   60.10   $      60.10
  4/28/2019 Manuel Hernandez                 $12.50   50.20   $    8.85         $   63.75   $      63.75
   5/5/2019 Manuel Hernandez                 $12.50   50.08   $    8.85         $   63.02   $      63.02
  5/19/2019 Manuel Hernandez                 $12.50   47.65   $    8.85         $   47.81   $      47.81
  5/26/2019 Manuel Hernandez                 $12.50   41.38   $    8.85         $    8.65   $       8.65
   6/2/2019 Manuel Hernandez                 $12.50   50.22   $    8.85         $   63.85   $      63.85
   6/9/2019 Manuel Hernandez                 $12.50   50.87   $    8.85         $   67.92   $      67.92
  6/16/2019 Manuel Hernandez                 $12.50   44.00   $    8.85         $   25.00   $      25.00
  6/23/2019 Manuel Hernandez                 $12.50   49.82   $    8.85         $   61.35   $      61.35
  6/30/2019 Manuel Hernandez                 $12.50   50.03   $   10.00         $   62.71   $      62.71
   7/7/2019 Manuel Hernandez                 $12.50   50.18   $   10.00         $   63.65   $      63.65
  7/14/2019 Manuel Hernandez                 $12.50   44.88   $   10.00         $   30.52   $      30.52
  7/21/2019 Manuel Hernandez                 $12.50   50.13   $   10.00         $   63.33   $      63.33
  7/28/2019 Manuel Hernandez                 $12.50   49.90   $   10.00         $   61.88   $      61.88
   8/4/2019 Manuel Hernandez                 $12.50   50.47   $   10.00         $   65.42   $      65.42
  8/11/2019 Manuel Hernandez                 $12.50   50.35   $   10.00         $   64.69   $      64.69
  8/18/2019 Manuel Hernandez                 $12.50   51.33   $   10.00         $   70.83   $      70.83
  8/25/2019 Manuel Hernandez                 $12.50   50.57   $   10.00         $   66.04   $      66.04
   9/1/2019 Manuel Hernandez                 $12.50   50.42   $   10.00         $   65.10   $      65.10
   9/8/2019 Manuel Hernandez                 $12.50   41.38   $   10.00         $    8.65   $       8.65
  9/15/2019 Manuel Hernandez                 $12.50   50.67   $   10.00         $   66.67   $      66.67



                                               456
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 458 of 683 PageID: 1305
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

  9/22/2019 Manuel Hernandez               $12.50   50.17   $   10.00               $    63.54   $    63.54
  9/29/2019 Manuel Hernandez               $12.50   50.18   $   10.00               $    63.65   $    63.65
  10/6/2019 Manuel Hernandez               $12.50   40.98   $   10.00               $     6.15   $     6.15
 10/13/2019 Manuel Hernandez               $12.50   45.50   $   10.00               $    34.38   $    34.38
 10/20/2019 Manuel Hernandez               $12.50   45.10   $   10.00               $    31.88   $    31.88
 10/27/2019 Manuel Hernandez               $12.50   50.08   $   10.00               $    63.02   $    63.02
  11/3/2019 Manuel Hernandez               $12.50   50.28   $   10.00               $    64.27   $    64.27
 11/10/2019 Manuel Hernandez               $12.50   41.80   $   10.00               $    11.25   $    11.25
 11/17/2019 Manuel Hernandez               $12.50   41.62   $   10.00               $    10.10   $    10.10
 12/15/2019 Manuel Hernandez               $12.50   50.57   $   10.00               $    66.04   $    66.04
 12/22/2019 Manuel Hernandez               $12.50   51.42   $   10.00               $    71.35   $    71.35
 12/29/2019 Manuel Hernandez               $12.50   41.90   $   10.00               $    11.88   $    11.88
   1/5/2020 Manuel Hernandez               $12.50   51.27   $   11.00               $    70.42   $    70.42
  1/12/2020 Manuel Hernandez               $12.50   46.53   $   11.00               $    40.83   $    40.83
  1/19/2020 Manuel Hernandez               $12.50   53.35   $   11.00               $    83.44   $    83.44
  1/26/2020 Manuel Hernandez               $12.50   53.45   $   11.00               $    84.06   $    84.06
  8/18/2019 Manuel Hernandez-0308          $12.00   58.42   $   10.00               $   110.50   $   110.50
  8/25/2019 Manuel Hernandez-0308          $12.00   59.42   $   10.00               $   116.50   $   116.50
   9/1/2019 Manuel Hernandez-0308          $12.00   40.90   $   10.00               $     5.40   $     5.40
   4/7/2019 Manuel Ojeda                   $10.00   60.40   $    8.85               $   102.00   $   102.00
  4/14/2019 Manuel Ojeda                   $10.00   65.82   $    8.85               $   129.08   $   129.08
  6/16/2019 Manuel Rodriguez                $9.00   44.13   $    8.85               $    18.60   $    18.60
  6/23/2019 Manuel Rodriguez                $9.00   41.53   $    8.85               $     6.90   $     6.90
  6/30/2019 Manuel Rodriguez                $9.00   50.77   $   10.00   $   50.77   $    53.83   $   104.60
   7/7/2019 Manuel Rodriguez                $9.00   50.88   $   10.00   $   50.88   $    54.42   $   105.30
  7/14/2019 Manuel Rodriguez                $9.00   54.15   $   10.00   $   54.15   $    70.75   $   124.90
  7/21/2019 Manuel Rodriguez                $9.00   60.08   $   10.00   $   60.08   $   100.42   $   160.50
  7/28/2019 Manuel Rodriguez                $9.00   68.53   $   10.00   $   68.53   $   142.67   $   211.20
   8/4/2019 Manuel Rodriguez                $9.00   72.65   $   10.00   $   72.65   $   163.25   $   235.90
  8/11/2019 Manuel Rodriguez                $9.00   68.18   $   10.00   $   68.18   $   140.92   $   209.10
  8/18/2019 Manuel Rodriguez                $9.00   68.75   $   10.00   $   68.75   $   143.75   $   212.50
  8/25/2019 Manuel Rodriguez                $9.00   67.13   $   10.00   $   67.13   $   135.67   $   202.80
   9/1/2019 Manuel Rodriguez                $9.00   69.95   $   10.00   $   69.95   $   149.75   $   219.70
  9/15/2019 Manuel Rodriguez                $9.00   71.08   $   10.00   $   71.08   $   155.42   $   226.50
  9/22/2019 Manuel Rodriguez                $9.00   72.27   $   10.00   $   72.27   $   161.33   $   233.60
  9/29/2019 Manuel Rodriguez                $9.00   69.58   $   10.00   $   69.58   $   147.92   $   217.50
  10/6/2019 Manuel Rodriguez                $9.00   65.55   $   10.00   $   65.55   $   127.75   $   193.30
 10/13/2019 Manuel Rodriguez                $9.00   68.32   $   10.00   $   68.32   $   141.58   $   209.90
 10/20/2019 Manuel Rodriguez                $9.00   67.60   $   10.00   $   67.60   $   138.00   $   205.60
 10/27/2019 Manuel Rodriguez                $9.00   71.85   $   10.00   $   71.85   $   159.25   $   231.10
  11/3/2019 Manuel Rodriguez                $9.00   67.77   $   10.00   $   67.77   $   138.83   $   206.60
 11/10/2019 Manuel Rodriguez                $9.00   67.82   $   10.00   $   67.82   $   139.08   $   206.90
 11/17/2019 Manuel Rodriguez                $9.00   67.78   $   10.00   $   67.78   $   138.92   $   206.70
 11/24/2019 Manuel Rodriguez                $9.00   67.18   $   10.00   $   67.18   $   135.92   $   203.10
  12/1/2019 Manuel Rodriguez                $9.00   57.20   $   10.00   $   57.20   $    86.00   $   143.20
  12/8/2019 Manuel Rodriguez                $9.00   67.42   $   10.00   $   67.42   $   137.08   $   204.50
 12/15/2019 Manuel Rodriguez                $9.00   67.65   $   10.00   $   67.65   $   138.25   $   205.90
 12/22/2019 Manuel Rodriguez                $9.00   66.60   $   10.00   $   66.60   $   133.00   $   199.60
 12/29/2019 Manuel Rodriguez               $10.00   52.58   $   10.00               $    62.92   $    62.92
   1/5/2020 Manuel Rodriguez               $10.00   56.07   $   11.00   $   56.07   $    88.37   $   144.43



                                             457
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 459 of 683 PageID: 1306
                                                   Exhibit 2
                                           New Jersey Computations


   Week                                                           State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
  Ending                        Name                            Minumum Regular    Half-Time Overtime Back
                                                   Rate Week
   Date                                                           Wage  Rate Due     Due       Wages Due

  1/12/2020 Manuel Rodriguez                      $10.00   69.48   $   11.00   $   69.48   $   162.16   $   231.64
  1/19/2020 Manuel Rodriguez                      $10.00   72.98   $   11.00   $   72.98   $   181.41   $   254.39
  1/26/2020 Manuel Rodriguez                      $10.00   74.70   $   11.00   $   74.70   $   190.85   $   265.55
  1/19/2020 Marc Anthony Gascot                   $11.00   57.68   $   11.00               $    97.26   $    97.26
  1/26/2020 Marc Anthony Gascot                   $11.00   58.73   $   11.00               $   103.03   $   103.03
   2/5/2017 Marcos Antonio Pirir Morales           $9.00   49.95   $    8.44               $    44.78   $    44.78
  2/12/2017 Marcos Antonio Pirir Morales           $9.00   53.00   $    8.44               $    58.50   $    58.50
  2/19/2017 Marcos Antonio Pirir Morales           $9.00   48.47   $    8.44               $    38.10   $    38.10
  2/26/2017 Marcos Antonio Pirir Morales           $9.00   50.12   $    8.44               $    45.53   $    45.53
   3/5/2017 Marcos Antonio Pirir Morales           $9.00   54.00   $    8.44               $    63.00   $    63.00
  3/12/2017 Marcos Antonio Pirir Morales           $9.00   49.95   $    8.44               $    44.78   $    44.78
  3/19/2017 Marcos Antonio Pirir Morales           $9.00   43.03   $    8.44               $    13.65   $    13.65
  3/26/2017 Marcos Antonio Pirir Morales           $9.00   49.82   $    8.44               $    44.18   $    44.18
   4/2/2017 Marcos Antonio Pirir Morales           $9.00   49.35   $    8.44               $    42.08   $    42.08
  3/31/2019 Maria Esther                          $16.50   48.10   $    8.85               $    66.83   $    66.83
   4/7/2019 Maria Esther                          $16.50   52.42   $    8.85               $   102.44   $   102.44
  4/14/2019 Maria Esther                          $16.50   51.53   $    8.85               $    95.15   $    95.15
  4/21/2019 Maria Esther                          $16.50   53.15   $    8.85               $   108.49   $   108.49
  4/28/2019 Maria Esther                          $16.50   54.27   $    8.85               $   117.70   $   117.70
   5/5/2019 Maria Esther                          $16.50   48.63   $    8.85               $    71.23   $    71.23
  5/12/2019 Maria Esther                          $16.50   47.68   $    8.85               $    63.39   $    63.39
  5/19/2019 Maria Esther                          $16.50   47.85   $    8.85               $    64.76   $    64.76
  5/26/2019 Maria Esther                          $16.50   50.98   $    8.85               $    90.61   $    90.61
   6/2/2019 Maria Esther                          $16.50   44.92   $    8.85               $    40.56   $    40.56
   6/9/2019 Maria Esther                          $16.50   53.65   $    8.85               $   112.61   $   112.61
  6/16/2019 Maria Esther                          $16.50   52.98   $    8.85               $   107.11   $   107.11
  6/23/2019 Maria Esther                          $16.50   44.73   $    8.85               $    39.05   $    39.05
  6/30/2019 Maria Esther                          $16.50   53.75   $   10.00               $   113.44   $   113.44
  7/28/2019 Maria Esther                          $16.50   41.47   $   10.00               $    12.10   $    12.10
   8/4/2019 Maria Esther                          $16.50   48.55   $   10.00               $    70.54   $    70.54
  8/11/2019 Maria Esther                          $16.50   46.05   $   10.00               $    49.91   $    49.91
  8/25/2019 Maria Esther                          $16.50   45.22   $   10.00               $    43.04   $    43.04
   9/1/2019 Maria Esther                          $16.50   45.82   $   10.00               $    47.99   $    47.99
  2/24/2019 Maria Gamboa                          $16.50   56.50   $    8.85               $   136.13   $   136.13
  3/31/2019 Maria Gamboa                          $16.50   59.00   $    8.85               $   156.75   $   156.75
   8/4/2019 Maria Gonzalez                        $10.50   46.87   $   10.00               $    36.05   $    36.05
  8/11/2019 Maria Gonzalez                        $10.50   54.60   $   10.00               $    76.65   $    76.65
  8/18/2019 Maria Gonzalez                        $10.50   40.77   $   10.00               $     4.03   $     4.03
  8/25/2019 Maria Gonzalez                        $10.50   53.00   $   10.00               $    68.25   $    68.25
   9/1/2019 Maria Gonzalez                        $10.50   43.68   $   10.00               $    19.34   $    19.34
  9/15/2019 Maria Gonzalez                        $10.50   58.35   $   10.00               $    96.34   $    96.34
  9/22/2019 Maria Gonzalez                        $10.50   56.25   $   10.00               $    85.31   $    85.31
  9/29/2019 Maria Gonzalez                        $10.50   57.03   $   10.00               $    89.43   $    89.43
  10/6/2019 Maria Gonzalez                        $10.50   52.73   $   10.00               $    66.85   $    66.85
 11/10/2019 Maria Gonzalez                        $10.50   50.00   $   10.00               $    52.50   $    52.50
 11/17/2019 Maria Gonzalez                        $10.50   42.55   $   10.00               $    13.39   $    13.39
  12/8/2019 Maria Gonzalez                        $10.50   49.13   $   10.00               $    47.95   $    47.95
 12/15/2019 Maria Gonzalez                        $10.50   41.35   $   10.00               $     7.09   $     7.09
  1/12/2020 Maria Gonzalez                        $10.50   48.63   $   11.00   $   24.32   $    47.48   $    71.80
  1/19/2020 Maria Gonzalez                        $10.50   40.97   $   11.00   $   20.48   $     5.32   $    25.80



                                                    458
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 460 of 683 PageID: 1307
                                                   Exhibit 2
                                           New Jersey Computations


   Week                                                           State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
  Ending                       Name                             Minumum Regular    Half-Time Overtime Back
                                                   Rate Week
   Date                                                           Wage  Rate Due     Due       Wages Due

  1/26/2020 Maria Gonzalez                        $10.50   43.83   $   11.00   $   21.92   $    21.08   $    43.00
   1/5/2020 Maria T. Melo                         $11.00   52.65   $   11.00               $    69.58   $    69.58
  1/12/2020 Maria T. Melo                         $11.00   68.25   $   11.00               $   155.38   $   155.38
  1/19/2020 Maria T. Melo                         $11.00   63.62   $   11.00               $   129.89   $   129.89
  1/26/2020 Maria T. Melo                         $11.00   63.77   $   11.00               $   130.72   $   130.72
  8/19/2018 Marino Perdomo                        $10.50   69.93   $    8.60               $   157.15   $   157.15
  8/26/2018 Marino Perdomo                        $10.50   70.00   $    8.60               $   157.50   $   157.50
   9/2/2018 Marino Perdomo                        $10.50   70.60   $    8.60               $   160.65   $   160.65
   9/9/2018 Marino Perdomo                        $10.50   56.97   $    8.60               $    89.08   $    89.08
  9/16/2018 Marino Perdomo                        $10.50   63.22   $    8.60               $   121.89   $   121.89
  9/30/2018 Marino Perdomo                        $10.50   74.35   $    8.60               $   180.34   $   180.34
  10/7/2018 Marino Perdomo                        $10.50   63.03   $    8.60               $   120.93   $   120.93
 10/14/2018 Marino Perdomo                        $10.50   62.67   $    8.60               $   119.00   $   119.00
 10/21/2018 Marino Perdomo                        $10.50   71.90   $    8.60               $   167.48   $   167.48
 10/28/2018 Marino Perdomo                        $10.50   71.73   $    8.60               $   166.60   $   166.60
  11/4/2018 Marino Perdomo                        $10.50   58.33   $    8.60               $    96.25   $    96.25
 11/11/2018 Marino Perdomo                        $10.50   58.25   $    8.60               $    95.81   $    95.81
   4/7/2019 Marino Perdomo                        $10.50   73.45   $    8.85               $   175.61   $   175.61
  4/14/2019 Marino Perdomo                        $10.50   73.42   $    8.85               $   175.44   $   175.44
  4/21/2019 Marino Perdomo                        $10.50   74.25   $    8.85               $   179.81   $   179.81
  4/28/2019 Marino Perdomo                        $10.50   70.67   $    8.85               $   161.00   $   161.00
   5/5/2019 Marino Perdomo                        $10.50   62.35   $    8.85               $   117.34   $   117.34
 10/27/2019 Marino Perdomo                        $10.50   47.52   $   10.00               $    39.46   $    39.46
  1/20/2019 Marino Sandobal Perez                 $10.00   65.58   $    8.85               $   127.92   $   127.92
  1/27/2019 Marino Sandobal Perez                 $10.00   53.55   $    8.85               $    67.75   $    67.75
   2/3/2019 Marino Sandobal Perez                 $10.00   54.92   $    8.85               $    74.58   $    74.58
  2/10/2019 Marino Sandobal Perez                 $10.00   43.70   $    8.85               $    18.50   $    18.50
  2/17/2019 Marino Sandobal Perez                 $10.00   53.55   $    8.85               $    67.75   $    67.75
  2/24/2019 Marino Sandobal Perez                 $10.00   57.87   $    8.85               $    89.33   $    89.33
   3/3/2019 Marino Sandobal Perez                 $10.00   69.18   $    8.85               $   145.92   $   145.92
  3/10/2019 Marino Sandobal Perez                 $10.00   48.08   $    8.85               $    40.42   $    40.42
  3/17/2019 Marino Sandobal Perez                 $10.00   68.12   $    8.85               $   140.58   $   140.58
  3/24/2019 Marino Sandobal Perez                 $10.00   69.08   $    8.85               $   145.42   $   145.42
  3/31/2019 Marino Sandobal Perez                 $10.00   62.47   $    8.85               $   112.33   $   112.33
   4/7/2019 Marino Sandobal Perez                 $10.00   73.45   $    8.85               $   167.25   $   167.25
  4/14/2019 Marino Sandobal Perez                 $10.00   69.40   $    8.85               $   147.00   $   147.00
  4/21/2019 Marino Sandobal Perez                 $10.00   64.58   $    8.85               $   122.92   $   122.92
  4/28/2019 Marino Sandobal Perez                 $10.00   59.53   $    8.85               $    97.67   $    97.67
   8/5/2018 Mario Alberto Pineda Soriano           $9.50   59.07   $    8.60               $    90.57   $    90.57
  8/12/2018 Mario Alberto Pineda Soriano           $9.50   59.00   $    8.60               $    90.25   $    90.25
  8/19/2018 Mario Alberto Pineda Soriano           $9.50   59.00   $    8.60               $    90.25   $    90.25
  8/26/2018 Mario Alberto Pineda Soriano           $9.50   59.90   $    8.60               $    94.53   $    94.53
   9/2/2018 Mario Alberto Pineda Soriano           $9.50   60.17   $    8.60               $    95.79   $    95.79
   9/9/2018 Mario Alberto Pineda Soriano           $9.50   49.03   $    8.60               $    42.91   $    42.91
  9/16/2018 Mario Alberto Pineda Soriano           $9.50   59.10   $    8.60               $    90.73   $    90.73
  9/23/2018 Mario Alberto Pineda Soriano           $9.50   59.07   $    8.60               $    90.57   $    90.57
  9/30/2018 Mario Alberto Pineda Soriano           $9.50   59.20   $    8.60               $    91.20   $    91.20
  10/7/2018 Mario Alberto Pineda Soriano           $9.50   59.18   $    8.60               $    91.12   $    91.12
 10/14/2018 Mario Alberto Pineda Soriano           $9.50   59.03   $    8.60               $    90.41   $    90.41
 10/21/2018 Mario Alberto Pineda Soriano           $9.50   60.88   $    8.60               $    99.20   $    99.20



                                                    459
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 461 of 683 PageID: 1308
                                                   Exhibit 2
                                           New Jersey Computations


   Week                                                           State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
  Ending                       Name                             Minumum Regular    Half-Time Overtime Back
                                                   Rate Week
   Date                                                           Wage  Rate Due     Due       Wages Due

 10/28/2018 Mario Alberto Pineda Soriano           $9.50   61.07   $    8.60               $   100.07   $   100.07
  11/4/2018 Mario Alberto Pineda Soriano           $9.50   59.23   $    8.60               $    91.36   $    91.36
 11/11/2018 Mario Alberto Pineda Soriano           $9.50   59.23   $    8.60               $    91.36   $    91.36
 11/18/2018 Mario Alberto Pineda Soriano           $9.50   59.37   $    8.60               $    91.99   $    91.99
 11/25/2018 Mario Alberto Pineda Soriano           $9.50   49.20   $    8.60               $    43.70   $    43.70
  12/2/2018 Mario Alberto Pineda Soriano           $9.50   59.18   $    8.60               $    91.12   $    91.12
  12/9/2018 Mario Alberto Pineda Soriano           $9.50   60.35   $    8.60               $    96.66   $    96.66
 12/16/2018 Mario Alberto Pineda Soriano           $9.50   54.75   $    8.60               $    70.06   $    70.06
 12/23/2018 Mario Alberto Pineda Soriano           $9.50   59.30   $    8.60               $    91.68   $    91.68
  7/23/2017 Mario Diaz                             $9.00   60.75   $    8.44               $    93.38   $    93.38
 11/24/2019 Mario Dominguez                       $10.00   59.92   $   10.00               $    99.58   $    99.58
  12/1/2019 Mario Dominguez                       $10.00   50.02   $   10.00               $    50.08   $    50.08
  12/8/2019 Mario Dominguez                       $10.00   56.98   $   10.00               $    84.92   $    84.92
 12/15/2019 Mario Dominguez                       $10.00   59.90   $   10.00               $    99.50   $    99.50
 12/22/2019 Mario Dominguez                       $10.00   60.02   $   10.00               $   100.08   $   100.08
 12/29/2019 Mario Dominguez                       $10.00   40.18   $   10.00               $     0.92   $     0.92
   1/5/2020 Mario Dominguez                       $10.00   49.93   $   11.00   $   49.93   $    54.63   $   104.57
  1/12/2020 Mario Dominguez                       $10.00   59.97   $   11.00   $   59.97   $   109.82   $   169.78
  1/19/2020 Mario Dominguez                       $10.00   59.53   $   11.00   $   59.53   $   107.43   $   166.97
  1/26/2020 Mario Dominguez                       $10.00   60.32   $   11.00   $   60.32   $   111.74   $   172.06
 10/29/2017 Mario Peneda                           $8.50   51.67   $    8.44               $    49.58   $    49.58
  11/5/2017 Mario Peneda                           $8.50   55.17   $    8.44               $    64.46   $    64.46
 11/12/2017 Mario Peneda                           $8.50   58.17   $    8.44               $    77.21   $    77.21
 11/19/2017 Mario Peneda                           $8.50   56.28   $    8.44               $    69.20   $    69.20
 11/26/2017 Mario Peneda                           $8.50   48.10   $    8.44               $    34.43   $    34.43
  12/3/2017 Mario Peneda                           $8.50   59.10   $    8.44               $    81.18   $    81.18
   4/2/2017 Mario Quino                            $9.50   43.63   $    8.44               $    17.26   $    17.26
   4/9/2017 Mario Quino                            $9.50   42.62   $    8.44               $    12.43   $    12.43
  4/16/2017 Mario Quino                            $9.50   42.65   $    8.44               $    12.59   $    12.59
  4/23/2017 Mario Quino                            $9.50   42.58   $    8.44               $    12.27   $    12.27
   5/7/2017 Mario Quino                            $9.50   59.10   $    8.44               $    90.73   $    90.73
  5/14/2017 Mario Quino                            $9.50   42.53   $    8.44               $    12.03   $    12.03
  5/21/2017 Mario Quino                            $9.50   42.72   $    8.44               $    12.90   $    12.90
  5/28/2017 Mario Quino                            $9.50   42.55   $    8.44               $    12.11   $    12.11
  6/11/2017 Mario Quino                            $9.50   42.90   $    8.44               $    13.78   $    13.78
  6/18/2017 Mario Quino                            $9.50   44.63   $    8.44               $    22.01   $    22.01
  6/25/2017 Mario Quino                            $9.50   51.22   $    8.44               $    53.28   $    53.28
   7/2/2017 Mario Quino                            $9.50   45.80   $    8.44               $    27.55   $    27.55
  7/16/2017 Mario Quino                            $9.50   45.90   $    8.44               $    28.03   $    28.03
  7/23/2017 Mario Quino                            $9.50   49.38   $    8.44               $    44.57   $    44.57
  7/30/2017 Mario Quino                            $9.50   42.48   $    8.44               $    11.80   $    11.80
   8/6/2017 Mario Quino                            $9.50   42.40   $    8.44               $    11.40   $    11.40
  8/13/2017 Mario Quino                            $9.50   42.30   $    8.44               $    10.93   $    10.93
  8/20/2017 Mario Quino                            $9.50   42.25   $    8.44               $    10.69   $    10.69
  8/27/2017 Mario Quino                            $9.50   42.45   $    8.44               $    11.64   $    11.64
   9/3/2017 Mario Quino                            $9.50   50.20   $    8.44               $    48.45   $    48.45
  9/10/2017 Mario Quino                            $9.50   41.93   $    8.44               $     9.18   $     9.18
  9/17/2017 Mario Quino                            $9.50   42.47   $    8.44               $    11.72   $    11.72
  9/24/2017 Mario Quino                            $9.50   43.12   $    8.44               $    14.80   $    14.80
  10/1/2017 Mario Quino                            $9.50   43.37   $    8.44               $    15.99   $    15.99



                                                    460
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 462 of 683 PageID: 1309
                                         Exhibit 2
                                 New Jersey Computations


   Week                                                 State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
  Ending                  Name                        Minumum Regular    Half-Time Overtime Back
                                         Rate Week
   Date                                                 Wage  Rate Due     Due       Wages Due

  10/8/2017 Mario Quino                  $9.50   48.22   $    8.44               $    39.03   $    39.03
 10/15/2017 Mario Quino                  $9.50   41.93   $    8.44               $     9.18   $     9.18
 10/22/2017 Mario Quino                  $9.50   41.78   $    8.44               $     8.47   $     8.47
 10/29/2017 Mario Quino                  $9.50   43.17   $    8.44               $    15.04   $    15.04
  11/5/2017 Mario Quino                  $9.50   50.28   $    8.44               $    48.85   $    48.85
 11/12/2017 Mario Quino                  $9.50   49.32   $    8.44               $    44.25   $    44.25
 11/19/2017 Mario Quino                  $9.50   42.62   $    8.44               $    12.43   $    12.43
  12/3/2017 Mario Quino                  $9.50   55.73   $    8.44               $    74.73   $    74.73
 12/10/2017 Mario Quino                  $9.50   42.13   $    8.44               $    10.13   $    10.13
 12/17/2017 Mario Quino                  $9.50   42.95   $    8.44               $    14.01   $    14.01
 12/24/2017 Mario Quino                  $9.50   42.97   $    8.44               $    14.09   $    14.09
 12/31/2017 Mario Quino                  $9.50   41.55   $    8.44               $     7.36   $     7.36
  1/14/2018 Mario Quino                  $9.50   42.62   $    8.60               $    12.43   $    12.43
  1/21/2018 Mario Quino                  $9.50   42.70   $    8.60               $    12.83   $    12.83
  1/28/2018 Mario Quino                  $9.50   42.48   $    8.60               $    11.80   $    11.80
   2/4/2018 Mario Quino                  $9.50   50.18   $    8.60               $    48.37   $    48.37
  2/11/2018 Mario Quino                  $9.50   40.87   $    8.60               $     4.12   $     4.12
  2/18/2018 Mario Quino                  $9.50   42.40   $    8.60               $    11.40   $    11.40
  2/25/2018 Mario Quino                  $9.50   42.77   $    8.60               $    13.14   $    13.14
   3/4/2018 Mario Quino                  $9.50   52.97   $    8.60               $    61.59   $    61.59
  3/25/2018 Mario Quino                  $9.50   46.28   $    8.60               $    29.85   $    29.85
   4/1/2018 Mario Quino                  $9.50   53.27   $    8.60               $    63.02   $    63.02
   4/8/2018 Mario Quino                  $9.50   41.35   $    8.60               $     6.41   $     6.41
  4/15/2018 Mario Quino                  $9.50   52.05   $    8.60               $    57.24   $    57.24
  4/22/2018 Mario Quino                  $9.50   42.23   $    8.60               $    10.61   $    10.61
  4/29/2018 Mario Quino                  $9.50   42.72   $    8.60               $    12.90   $    12.90
   5/6/2018 Mario Quino                  $9.50   42.82   $    8.60               $    13.38   $    13.38
  5/13/2018 Mario Quino                  $9.50   42.78   $    8.60               $    13.22   $    13.22
  5/20/2018 Mario Quino                  $9.50   42.55   $    8.60               $    12.11   $    12.11
  5/27/2018 Mario Quino                  $9.50   42.58   $    8.60               $    12.27   $    12.27
  6/10/2018 Mario Quino                  $9.50   43.17   $    8.60               $    15.04   $    15.04
  6/17/2018 Mario Quino                  $9.50   42.67   $    8.60               $    12.67   $    12.67
  6/24/2018 Mario Quino                  $9.50   42.58   $    8.60               $    12.27   $    12.27
   7/1/2018 Mario Quino                  $9.50   42.27   $    8.60               $    10.77   $    10.77
  7/15/2018 Mario Quino                  $9.50   42.62   $    8.60               $    12.43   $    12.43
  7/22/2018 Mario Quino                  $9.50   42.58   $    8.60               $    12.27   $    12.27
  7/29/2018 Mario Quino                  $9.50   43.03   $    8.60               $    14.41   $    14.41
   8/5/2018 Mario Quino                  $9.50   42.22   $    8.60               $    10.53   $    10.53
  8/12/2018 Mario Quino                  $9.50   41.55   $    8.60               $     7.36   $     7.36
  8/19/2018 Mario Quino                  $9.50   44.10   $    8.60               $    19.48   $    19.48
  8/26/2018 Mario Quino                  $9.50   44.05   $    8.60               $    19.24   $    19.24
  9/22/2019 Mario Salas                  $9.00   62.98   $   10.00   $   62.98   $   114.92   $   177.90
  9/29/2019 Mario Salas                  $9.00   63.83   $   10.00   $   63.83   $   119.17   $   183.00
  10/6/2019 Mario Salas                  $9.00   68.98   $   10.00   $   68.98   $   144.92   $   213.90
 10/13/2019 Mario Salas                  $9.00   70.70   $   10.00   $   70.70   $   153.50   $   224.20
 10/20/2019 Mario Salas                  $9.00   65.40   $   10.00   $   65.40   $   127.00   $   192.40
 10/27/2019 Mario Salas                  $9.00   63.02   $   10.00   $   63.02   $   115.08   $   178.10
  11/3/2019 Mario Salas                  $9.00   60.37   $   10.00   $   60.37   $   101.83   $   162.20
 11/10/2019 Mario Salas                  $9.00   50.40   $   10.00   $   50.40   $    52.00   $   102.40
 11/17/2019 Mario Salas                  $9.00   67.93   $   10.00   $   67.93   $   139.67   $   207.60



                                          461
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 463 of 683 PageID: 1310
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

 11/24/2019 Mario Salas                      $9.00   59.88   $   10.00   $   59.88   $    99.42   $   159.30
  12/1/2019 Mario Salas                      $9.00   58.12   $   10.00   $   58.12   $    90.58   $   148.70
  12/8/2019 Mario Salas                      $9.00   68.52   $   10.00   $   68.52   $   142.58   $   211.10
 12/15/2019 Mario Salas                      $9.00   64.05   $   10.00   $   64.05   $   120.25   $   184.30
 12/22/2019 Mario Salas                      $9.00   62.63   $   10.00   $   62.63   $   113.17   $   175.80
 12/29/2019 Mario Salas                      $9.00   48.72   $   10.00   $   48.72   $    43.58   $    92.30
  9/22/2019 Mario Vasquez                   $10.00   73.58   $   10.00               $   167.92   $   167.92
  9/29/2019 Mario Vasquez                   $10.00   70.17   $   10.00               $   150.83   $   150.83
  10/6/2019 Mario Vasquez                   $10.00   76.53   $   10.00               $   182.67   $   182.67
 10/13/2019 Mario Vasquez                   $10.00   75.12   $   10.00               $   175.58   $   175.58
 10/20/2019 Mario Vasquez                   $10.00   74.17   $   10.00               $   170.83   $   170.83
 10/27/2019 Mario Vasquez                   $10.00   74.13   $   10.00               $   170.67   $   170.67
  11/3/2019 Mario Vasquez                   $10.00   76.07   $   10.00               $   180.33   $   180.33
 11/10/2019 Mario Vasquez                   $10.00   74.97   $   10.00               $   174.83   $   174.83
 11/17/2019 Mario Vasquez                   $10.00   75.33   $   10.00               $   176.67   $   176.67
 11/24/2019 Mario Vasquez                   $10.00   74.63   $   10.00               $   173.17   $   173.17
  12/1/2019 Mario Vasquez                   $10.00   61.07   $   10.00               $   105.33   $   105.33
  12/8/2019 Mario Vasquez                   $10.00   73.07   $   10.00               $   165.33   $   165.33
 12/15/2019 Mario Vasquez                   $10.00   74.02   $   10.00               $   170.08   $   170.08
 12/22/2019 Mario Vasquez                   $10.00   76.23   $   10.00               $   181.17   $   181.17
 12/29/2019 Mario Vasquez                   $10.00   58.17   $   10.00               $    90.83   $    90.83
   1/5/2020 Mario Vasquez                   $10.00   70.97   $   11.00   $   70.97   $   170.32   $   241.28
  1/12/2020 Mario Vasquez                   $10.00   75.48   $   11.00   $   75.48   $   195.16   $   270.64
  1/19/2020 Mario Vasquez                   $10.00   74.58   $   11.00   $   74.58   $   190.21   $   264.79
   2/5/2017 Marques Jackson                  $9.50   67.20   $    8.44               $   129.20   $   129.20
  2/12/2017 Marques Jackson                  $9.50   59.63   $    8.44               $    93.26   $    93.26
  2/19/2017 Marques Jackson                  $9.50   66.18   $    8.44               $   124.37   $   124.37
  2/26/2017 Marques Jackson                  $9.50   59.90   $    8.44               $    94.53   $    94.53
   3/5/2017 Marques Jackson                  $9.50   65.60   $    8.44               $   121.60   $   121.60
  3/12/2017 Marques Jackson                  $9.50   65.17   $    8.44               $   119.54   $   119.54
  3/19/2017 Marques Jackson                  $9.50   58.00   $    8.44               $    85.50   $    85.50
  3/26/2017 Marques Jackson                  $9.50   69.07   $    8.44               $   138.07   $   138.07
   4/2/2017 Marques Jackson                  $9.50   66.62   $    8.44               $   126.43   $   126.43
   4/9/2017 Marques Jackson                  $9.50   65.23   $    8.44               $   119.86   $   119.86
  4/16/2017 Marques Jackson                  $9.50   66.85   $    8.44               $   127.54   $   127.54
  4/23/2017 Marques Jackson                  $9.50   61.85   $    8.44               $   103.79   $   103.79
  4/30/2017 Marques Jackson                  $9.50   70.03   $    8.44               $   142.66   $   142.66
   5/7/2017 Marques Jackson                  $9.50   69.03   $    8.44               $   137.91   $   137.91
  5/14/2017 Marques Jackson                  $9.50   67.72   $    8.44               $   131.65   $   131.65
  5/21/2017 Marques Jackson                  $9.50   61.25   $    8.44               $   100.94   $   100.94
  5/28/2017 Marques Jackson                  $9.50   78.57   $    8.44               $   183.19   $   183.19
   6/4/2017 Marques Jackson                  $9.50   72.25   $    8.44               $   153.19   $   153.19
  6/11/2017 Marques Jackson                  $9.50   72.20   $    8.44               $   152.95   $   152.95
  6/18/2017 Marques Jackson                  $9.50   74.92   $    8.44               $   165.85   $   165.85
  6/25/2017 Marques Jackson                  $9.50   67.47   $    8.44               $   130.47   $   130.47
   7/2/2017 Marques Jackson                  $9.50   70.57   $    8.44               $   145.19   $   145.19
   7/9/2017 Marques Jackson                  $9.50   58.95   $    8.44               $    90.01   $    90.01
  7/16/2017 Marques Jackson                  $9.50   70.83   $    8.44               $   146.46   $   146.46
  7/23/2017 Marques Jackson                  $9.50   49.48   $    8.44               $    45.05   $    45.05
  3/12/2017 Martin Atz                      $10.00   58.43   $    8.44               $    92.17   $    92.17



                                              462
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 464 of 683 PageID: 1311
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

  3/19/2017 Martin Atz                    $10.00   48.48   $    8.44               $    42.42   $    42.42
  3/26/2017 Martin Atz                    $10.00   50.02   $    8.44               $    50.08   $    50.08
   4/2/2017 Martin Atz                    $10.00   58.62   $    8.44               $    93.08   $    93.08
   4/9/2017 Martin Atz                    $10.00   60.13   $    8.44               $   100.67   $   100.67
  4/16/2017 Martin Atz                    $10.00   60.13   $    8.44               $   100.67   $   100.67
  4/23/2017 Martin Atz                    $10.00   60.15   $    8.44               $   100.75   $   100.75
  4/30/2017 Martin Atz                    $10.00   58.18   $    8.44               $    90.92   $    90.92
   5/7/2017 Martin Atz                    $10.00   59.10   $    8.44               $    95.50   $    95.50
  5/14/2017 Martin Atz                    $10.00   60.15   $    8.44               $   100.75   $   100.75
  5/21/2017 Martin Atz                    $10.00   60.20   $    8.44               $   101.00   $   101.00
  5/28/2017 Martin Atz                    $10.00   60.07   $    8.44               $   100.33   $   100.33
   6/4/2017 Martin Atz                    $10.00   60.30   $    8.44               $   101.50   $   101.50
  6/11/2017 Martin Atz                    $10.00   60.10   $    8.44               $   100.50   $   100.50
  6/18/2017 Martin Atz                    $10.00   60.23   $    8.44               $   101.17   $   101.17
  6/25/2017 Martin Atz                    $10.00   60.25   $    8.44               $   101.25   $   101.25
   7/2/2017 Martin Atz                    $10.00   60.17   $    8.44               $   100.83   $   100.83
   7/9/2017 Martin Atz                    $10.00   60.52   $    8.44               $   102.58   $   102.58
  7/16/2017 Martin Atz                    $10.00   60.23   $    8.44               $   101.17   $   101.17
  7/23/2017 Martin Atz                    $10.00   60.18   $    8.44               $   100.92   $   100.92
  7/30/2017 Martin Atz                    $10.00   59.90   $    8.44               $    99.50   $    99.50
   8/6/2017 Martin Atz                    $10.00   59.58   $    8.44               $    97.92   $    97.92
  8/13/2017 Martin Atz                    $10.00   60.17   $    8.44               $   100.83   $   100.83
  8/20/2017 Martin Atz                    $10.00   59.95   $    8.44               $    99.75   $    99.75
  10/6/2019 Martin Atz                    $10.00   61.00   $   10.00               $   105.00   $   105.00
 10/13/2019 Martin Atz                    $10.00   59.95   $   10.00               $    99.75   $    99.75
 10/20/2019 Martin Atz                    $11.00   60.05   $   10.00               $   110.28   $   110.28
 10/27/2019 Martin Atz                    $11.00   60.10   $   10.00               $   110.55   $   110.55
  11/3/2019 Martin Atz                    $11.00   63.33   $   10.00               $   128.33   $   128.33
 11/10/2019 Martin Atz                    $11.00   60.03   $   10.00               $   110.18   $   110.18
 11/17/2019 Martin Atz                    $11.00   63.17   $   10.00               $   127.42   $   127.42
 11/24/2019 Martin Atz                    $11.00   63.25   $   10.00               $   127.88   $   127.88
  12/1/2019 Martin Atz                    $11.00   52.07   $   10.00               $    66.37   $    66.37
  12/8/2019 Martin Atz                    $11.00   60.12   $   10.00               $   110.64   $   110.64
 12/15/2019 Martin Atz                    $10.00   58.25   $   10.00               $    91.25   $    91.25
 12/22/2019 Martin Atz                    $10.00   59.88   $   10.00               $    99.42   $    99.42
 12/29/2019 Martin Atz                    $10.00   41.78   $   10.00               $     8.92   $     8.92
   1/5/2020 Martin Atz                    $10.00   56.47   $   11.00   $   56.47   $    90.57   $   147.03
  1/12/2020 Martin Atz                    $10.00   59.82   $   11.00   $   59.82   $   108.99   $   168.81
  1/19/2020 Martin Atz                    $10.00   59.50   $   11.00   $   59.50   $   107.25   $   166.75
  1/26/2020 Martin Atz                    $10.00   64.03   $   11.00   $   64.03   $   132.18   $   196.22
  8/20/2017 Martin Tejada                 $10.00   48.95   $    8.44               $    44.75   $    44.75
  8/27/2017 Martin Tejada                 $10.00   41.45   $    8.44               $     7.25   $     7.25
   9/3/2017 Martin Tejada                 $10.00   46.28   $    8.44               $    31.42   $    31.42
  9/10/2017 Martin Tejada                 $10.00   46.82   $    8.44               $    34.08   $    34.08
  9/17/2017 Martin Tejada                 $10.00   49.07   $    8.44               $    45.33   $    45.33
  9/24/2017 Martin Tejada                 $10.00   53.77   $    8.44               $    68.83   $    68.83
  10/1/2017 Martin Tejada                 $10.00   43.33   $    8.44               $    16.67   $    16.67
  10/8/2017 Martin Tejada                 $10.00   50.97   $    8.44               $    54.83   $    54.83
 10/15/2017 Martin Tejada                 $10.00   44.35   $    8.44               $    21.75   $    21.75
 10/22/2017 Martin Tejada                 $10.00   47.92   $    8.44               $    39.58   $    39.58



                                            463
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 465 of 683 PageID: 1312
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  11/5/2017 Martin Tejada                   $10.00   47.32   $    8.44         $   36.58   $      36.58
 11/12/2017 Martin Tejada                   $10.00   45.00   $    8.44         $   25.00   $      25.00
 11/19/2017 Martin Tejada                   $10.00   50.58   $    8.44         $   52.92   $      52.92
  12/3/2017 Martin Tejada                   $10.00   44.62   $    8.44         $   23.08   $      23.08
 12/10/2017 Martin Tejada                   $10.00   43.00   $    8.44         $   15.00   $      15.00
 12/17/2017 Martin Tejada                   $10.00   46.38   $    8.44         $   31.92   $      31.92
 12/24/2017 Martin Tejada                   $10.00   45.18   $    8.44         $   25.92   $      25.92
   1/7/2018 Martin Tejada                    $8.60   40.53   $    8.60         $    2.29   $       2.29
  1/14/2018 Martin Tejada                   $10.00   46.02   $    8.60         $   30.08   $      30.08
  1/21/2018 Martin Tejada                   $10.00   45.92   $    8.60         $   29.58   $      29.58
  1/28/2018 Martin Tejada                   $10.00   48.02   $    8.60         $   40.08   $      40.08
   2/4/2018 Martin Tejada                   $10.00   54.68   $    8.60         $   73.42   $      73.42
  2/11/2018 Martin Tejada                   $10.00   51.17   $    8.60         $   55.83   $      55.83
  2/18/2018 Martin Tejada                   $10.00   47.53   $    8.60         $   37.67   $      37.67
  2/25/2018 Martin Tejada                   $10.00   46.18   $    8.60         $   30.92   $      30.92
   3/4/2018 Martin Tejada                   $10.00   44.18   $    8.60         $   20.92   $      20.92
  3/25/2018 Martin Tejada                   $10.00   44.72   $    8.60         $   23.58   $      23.58
   4/1/2018 Martin Tejada                   $10.00   48.93   $    8.60         $   44.67   $      44.67
   4/8/2018 Martin Tejada                   $10.00   49.40   $    8.60         $   47.00   $      47.00
  4/15/2018 Martin Tejada                   $10.00   48.23   $    8.60         $   41.17   $      41.17
  4/22/2018 Martin Tejada                   $10.00   45.20   $    8.60         $   26.00   $      26.00
  4/29/2018 Martin Tejada                   $10.00   44.43   $    8.60         $   22.17   $      22.17
   5/6/2018 Martin Tejada                   $10.00   45.73   $    8.60         $   28.67   $      28.67
  5/13/2018 Martin Tejada                   $10.00   46.50   $    8.60         $   32.50   $      32.50
  5/20/2018 Martin Tejada                   $10.00   44.43   $    8.60         $   22.17   $      22.17
  5/27/2018 Martin Tejada                   $10.00   46.12   $    8.60         $   30.58   $      30.58
   6/3/2018 Martin Tejada                   $10.00   41.05   $    8.60         $    5.25   $       5.25
  6/10/2018 Martin Tejada                   $10.00   54.77   $    8.60         $   73.83   $      73.83
  6/17/2018 Martin Tejada                   $10.00   51.48   $    8.60         $   57.42   $      57.42
  6/24/2018 Martin Tejada                   $10.00   51.37   $    8.60         $   56.83   $      56.83
   7/1/2018 Martin Tejada                   $10.00   45.57   $    8.60         $   27.83   $      27.83
   7/8/2018 Martin Tejada                   $10.00   43.00   $    8.60         $   15.00   $      15.00
  7/15/2018 Martin Tejada                   $10.00   52.92   $    8.60         $   64.58   $      64.58
  7/22/2018 Martin Tejada                   $10.00   52.93   $    8.60         $   64.67   $      64.67
  7/29/2018 Martin Tejada                   $10.00   52.45   $    8.60         $   62.25   $      62.25
   8/5/2018 Martin Tejada                   $10.00   52.18   $    8.60         $   60.92   $      60.92
  8/12/2018 Martin Tejada                   $10.00   53.12   $    8.60         $   65.58   $      65.58
  8/19/2018 Martin Tejada                   $10.00   52.40   $    8.60         $   62.00   $      62.00
  8/26/2018 Martin Tejada                   $10.00   52.70   $    8.60         $   63.50   $      63.50
   9/2/2018 Martin Tejada                   $10.00   51.42   $    8.60         $   57.08   $      57.08
   9/9/2018 Martin Tejada                   $10.00   51.97   $    8.60         $   59.83   $      59.83
 10/13/2019 Martin Tejada                   $10.00   42.80   $   10.00         $   14.00   $      14.00
 10/20/2019 Martin Tejada                   $10.00   52.13   $   10.00         $   60.67   $      60.67
 10/27/2019 Martin Tejada                   $10.00   49.62   $   10.00         $   48.08   $      48.08
  11/3/2019 Martin Tejada                   $10.00   42.47   $   10.00         $   12.33   $      12.33
 11/10/2019 Martin Tejada                   $10.00   45.55   $   10.00         $   27.75   $      27.75
 11/17/2019 Martin Tejada                   $10.00   44.78   $   10.00         $   23.92   $      23.92
   2/5/2017 Martires Decena                 $21.50   48.53   $    8.44         $   91.73   $      91.73
  2/12/2017 Martires Decena                 $21.50   43.05   $    8.44         $   32.79   $      32.79
  2/19/2017 Martires Decena                 $21.50   41.90   $    8.44         $   20.43   $      20.43



                                              464
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 466 of 683 PageID: 1313
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  2/26/2017 Martires Decena                 $21.50   50.95   $   8.44          $   117.71   $    117.71
   3/5/2017 Martires Decena                 $21.50   46.13   $   8.44          $    65.93   $     65.93
  3/12/2017 Martires Decena                 $21.50   48.60   $   8.44          $    92.45   $     92.45
  3/19/2017 Martires Decena                 $21.50   42.95   $   8.44          $    31.71   $     31.71
  3/26/2017 Martires Decena                 $21.50   47.40   $   8.44          $    79.55   $     79.55
   4/2/2017 Martires Decena                 $21.50   43.67   $   8.44          $    39.42   $     39.42
   4/9/2017 Martires Decena                 $21.50   50.85   $   8.44          $   116.64   $    116.64
  4/16/2017 Martires Decena                 $21.50   52.82   $   8.44          $   137.78   $    137.78
  4/23/2017 Martires Decena                 $21.50   47.10   $   8.44          $    76.32   $     76.32
  4/30/2017 Martires Decena                 $21.50   51.47   $   8.44          $   123.27   $    123.27
   5/7/2017 Martires Decena                 $21.50   47.75   $   8.44          $    83.31   $     83.31
  5/14/2017 Martires Decena                 $21.50   49.90   $   8.44          $   106.43   $    106.43
  5/21/2017 Martires Decena                 $21.50   51.52   $   8.44          $   123.80   $    123.80
  5/28/2017 Martires Decena                 $21.50   55.20   $   8.44          $   163.40   $    163.40
   6/4/2017 Martires Decena                 $21.50   52.03   $   8.44          $   129.36   $    129.36
  6/11/2017 Martires Decena                 $21.50   43.55   $   8.44          $    38.16   $     38.16
  6/18/2017 Martires Decena                 $21.50   46.50   $   8.44          $    69.88   $     69.88
  6/25/2017 Martires Decena                 $21.50   53.47   $   8.44          $   144.77   $    144.77
   7/2/2017 Martires Decena                 $21.50   55.97   $   8.44          $   171.64   $    171.64
   7/9/2017 Martires Decena                 $21.50   55.23   $   8.44          $   163.76   $    163.76
  7/16/2017 Martires Decena                 $21.50   46.22   $   8.44          $    66.83   $     66.83
  7/23/2017 Martires Decena                 $21.50   41.60   $   8.44          $    17.20   $     17.20
  7/30/2017 Martires Decena                 $21.50   56.42   $   8.44          $   176.48   $    176.48
  8/13/2017 Martires Decena                 $21.50   42.08   $   8.44          $    22.40   $     22.40
  8/20/2017 Martires Decena                 $21.50   41.43   $   8.44          $    15.41   $     15.41
  8/27/2017 Martires Decena                 $21.50   42.02   $   8.44          $    21.68   $     21.68
   9/3/2017 Martires Decena                 $21.50   53.42   $   8.44          $   144.23   $    144.23
  9/10/2017 Martires Decena                 $21.50   48.07   $   8.44          $    86.72   $     86.72
  9/17/2017 Martires Decena                 $21.50   40.52   $   8.44          $     5.55   $      5.55
  9/24/2017 Martires Decena                 $21.50   46.58   $   8.44          $    70.77   $     70.77
  10/1/2017 Martires Decena                 $21.50   54.02   $   8.44          $   150.68   $    150.68
  10/8/2017 Martires Decena                 $21.50   48.17   $   8.44          $    87.79   $     87.79
 10/15/2017 Martires Decena                 $21.50   42.20   $   8.44          $    23.65   $     23.65
 10/22/2017 Martires Decena                 $21.50   51.67   $   8.44          $   125.42   $    125.42
 10/29/2017 Martires Decena                 $21.50   44.93   $   8.44          $    53.03   $     53.03
 11/12/2017 Martires Decena                 $21.50   46.25   $   8.44          $    67.19   $     67.19
 11/19/2017 Martires Decena                 $21.50   40.28   $   8.44          $     3.05   $      3.05
 11/26/2017 Martires Decena                 $21.50   41.65   $   8.44          $    17.74   $     17.74
  12/3/2017 Martires Decena                 $21.50   57.07   $   8.44          $   183.47   $    183.47
 12/10/2017 Martires Decena                 $21.50   53.92   $   8.44          $   149.60   $    149.60
 12/17/2017 Martires Decena                 $21.50   50.63   $   8.44          $   114.31   $    114.31
 12/24/2017 Martires Decena                 $21.50   50.23   $   8.44          $   110.01   $    110.01
 12/31/2017 Martires Decena                 $21.50   46.08   $   8.44          $    65.40   $     65.40
   1/7/2018 Martires Decena                 $21.50   40.35   $   8.60          $     3.76   $      3.76
  1/14/2018 Martires Decena                 $21.50   50.98   $   8.60          $   118.07   $    118.07
  1/21/2018 Martires Decena                 $21.50   48.68   $   8.60          $    93.35   $     93.35
  1/28/2018 Martires Decena                 $21.50   50.53   $   8.60          $   113.23   $    113.23
   2/4/2018 Martires Decena                 $21.50   54.92   $   8.60          $   160.35   $    160.35
  2/25/2018 Martires Decena                 $21.50   44.30   $   8.60          $    46.23   $     46.23
   3/4/2018 Martires Decena                 $21.50   51.72   $   8.60          $   125.95   $    125.95



                                              465
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 467 of 683 PageID: 1314
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  3/25/2018 Martires Decena                   $21.50   47.48   $    8.60         $    80.45   $     80.45
   4/1/2018 Martires Decena                   $21.50   54.75   $    8.60         $   158.56   $    158.56
   4/8/2018 Martires Decena                   $21.50   40.68   $    8.60         $     7.35   $      7.35
  4/15/2018 Martires Decena                   $21.50   50.83   $    8.60         $   116.46   $    116.46
  4/22/2018 Martires Decena                   $21.50   54.08   $    8.60         $   151.40   $    151.40
  4/29/2018 Martires Decena                   $21.50   45.48   $    8.60         $    58.95   $     58.95
   5/6/2018 Martires Decena                   $21.50   50.83   $    8.60         $   116.46   $    116.46
  5/13/2018 Martires Decena                   $21.50   45.70   $    8.60         $    61.28   $     61.28
  5/20/2018 Martires Decena                   $21.50   50.38   $    8.60         $   111.62   $    111.62
  5/27/2018 Martires Decena                   $21.50   48.73   $    8.60         $    93.88   $     93.88
   6/3/2018 Martires Decena                   $21.50   49.53   $    8.60         $   102.48   $    102.48
   7/1/2018 Martires Decena                   $21.50   50.75   $    8.60         $   115.56   $    115.56
   7/8/2018 Martires Decena                   $21.50   48.45   $    8.60         $    90.84   $     90.84
  7/15/2018 Martires Decena                   $21.50   41.37   $    8.60         $    14.69   $     14.69
  7/29/2018 Martires Decena                   $21.50   47.17   $    8.60         $    77.04   $     77.04
  8/12/2018 Martires Decena                   $21.50   42.90   $    8.60         $    31.18   $     31.18
  8/19/2018 Martires Decena                   $21.50   52.43   $    8.60         $   133.66   $    133.66
  8/26/2018 Martires Decena                   $21.50   55.17   $    8.60         $   163.04   $    163.04
   9/2/2018 Martires Decena                   $21.50   55.48   $    8.60         $   166.45   $    166.45
   9/9/2018 Martires Decena                   $21.50   51.52   $    8.60         $   123.80   $    123.80
  9/16/2018 Martires Decena                   $21.50   51.52   $    8.60         $   123.80   $    123.80
  9/23/2018 Martires Decena                   $21.50   48.07   $    8.60         $    86.72   $     86.72
  10/7/2018 Martires Decena                   $21.50   45.12   $    8.60         $    55.00   $     55.00
 10/28/2018 Martires Decena                   $21.50   42.37   $    8.60         $    25.44   $     25.44
  11/4/2018 Martires Decena                   $21.50   44.40   $    8.60         $    47.30   $     47.30
  12/9/2018 Martires Decena                   $21.50   49.42   $    8.60         $   101.23   $    101.23
 12/16/2018 Martires Decena                   $21.50   45.83   $    8.60         $    62.71   $     62.71
   1/6/2019 Martires Decena                   $21.50   43.47   $    8.85         $    37.27   $     37.27
  1/20/2019 Martires Decena                   $21.50   43.73   $    8.85         $    40.13   $     40.13
  2/17/2019 Martires Decena                   $21.50   42.18   $    8.85         $    23.47   $     23.47
  2/24/2019 Martires Decena                   $21.50   50.03   $    8.85         $   107.86   $    107.86
   3/3/2019 Martires Decena                   $21.50   47.58   $    8.85         $    81.52   $     81.52
  3/17/2019 Martires Decena                   $21.50   48.52   $    8.85         $    91.55   $     91.55
  3/31/2019 Martires Decena                   $21.50   47.98   $    8.85         $    85.82   $     85.82
  4/14/2019 Martires Decena                   $21.50   40.07   $    8.85         $     0.72   $      0.72
  4/21/2019 Martires Decena                   $21.50   41.70   $    8.85         $    18.28   $     18.28
  5/26/2019 Martires Decena                   $21.50   48.83   $    8.85         $    94.96   $     94.96
   6/2/2019 Martires Decena                   $21.50   42.67   $    8.85         $    28.67   $     28.67
   6/9/2019 Martires Decena                   $21.50   48.47   $    8.85         $    91.02   $     91.02
  6/16/2019 Martires Decena                   $21.50   40.65   $    8.85         $     6.99   $      6.99
  6/30/2019 Martires Decena                   $21.50   54.57   $   10.00         $   156.59   $    156.59
   7/7/2019 Martires Decena                   $21.50   42.22   $   10.00         $    23.83   $     23.83
  7/14/2019 Martires Decena                   $21.50   54.62   $   10.00         $   157.13   $    157.13
  8/11/2019 Martires Decena                   $21.50   53.75   $   10.00         $   147.81   $    147.81
  1/12/2020 Martires Decena                   $21.50   48.97   $   11.00         $    96.39   $     96.39
  9/10/2017 Marvin Luna Checo                 $11.00   45.15   $    8.44         $    28.33   $     28.33
  9/17/2017 Marvin Luna Checo                 $11.00   62.35   $    8.44         $   122.93   $    122.93
  9/24/2017 Marvin Luna Checo                 $11.00   67.97   $    8.44         $   153.82   $    153.82
  10/1/2017 Marvin Luna Checo                 $11.00   70.90   $    8.44         $   169.95   $    169.95
  10/8/2017 Marvin Luna Checo                 $11.00   70.98   $    8.44         $   170.41   $    170.41



                                                466
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 468 of 683 PageID: 1315
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

 10/15/2017 Marvin Luna Checo                 $11.00   56.35   $   8.44          $    89.93   $     89.93
 10/22/2017 Marvin Luna Checo                 $11.00   65.88   $   8.44          $   142.36   $    142.36
 10/29/2017 Marvin Luna Checo                 $11.00   68.28   $   8.44          $   155.56   $    155.56
  11/5/2017 Marvin Luna Checo                 $11.00   65.50   $   8.44          $   140.25   $    140.25
 11/12/2017 Marvin Luna Checo                 $11.00   61.45   $   8.44          $   117.98   $    117.98
 11/19/2017 Marvin Luna Checo                 $11.00   66.33   $   8.44          $   144.83   $    144.83
 11/26/2017 Marvin Luna Checo                 $11.00   52.85   $   8.44          $    70.68   $     70.68
  12/3/2017 Marvin Luna Checo                 $11.00   58.32   $   8.44          $   100.74   $    100.74
 12/10/2017 Marvin Luna Checo                 $11.00   65.07   $   8.44          $   137.87   $    137.87
 12/17/2017 Marvin Luna Checo                 $11.00   61.42   $   8.44          $   117.79   $    117.79
 12/24/2017 Marvin Luna Checo                 $11.00   68.53   $   8.44          $   156.93   $    156.93
 12/31/2017 Marvin Luna Checo                 $11.00   53.22   $   8.44          $    72.69   $     72.69
   1/7/2018 Marvin Luna Checo                 $11.00   52.28   $   8.60          $    67.56   $     67.56
  1/14/2018 Marvin Luna Checo                 $11.00   63.33   $   8.60          $   128.33   $    128.33
  1/21/2018 Marvin Luna Checo                 $11.00   68.77   $   8.60          $   158.22   $    158.22
  1/28/2018 Marvin Luna Checo                 $11.00   67.58   $   8.60          $   151.71   $    151.71
   2/4/2018 Marvin Luna Checo                 $11.00   69.58   $   8.60          $   162.71   $    162.71
  2/11/2018 Marvin Luna Checo                 $11.00   68.12   $   8.60          $   154.64   $    154.64
  2/18/2018 Marvin Luna Checo                 $11.00   66.87   $   8.60          $   147.77   $    147.77
  2/25/2018 Marvin Luna Checo                 $11.00   70.52   $   8.60          $   167.84   $    167.84
   3/4/2018 Marvin Luna Checo                 $11.00   68.63   $   8.60          $   157.48   $    157.48
  3/25/2018 Marvin Luna Checo                 $11.00   55.72   $   8.60          $    86.44   $     86.44
   4/1/2018 Marvin Luna Checo                 $13.00   68.17   $   8.60          $   183.08   $    183.08
   4/8/2018 Marvin Luna Checo                 $13.00   78.67   $   8.60          $   251.33   $    251.33
  4/15/2018 Marvin Luna Checo                 $13.00   58.73   $   8.60          $   121.77   $    121.77
  4/22/2018 Marvin Luna Checo                 $13.00   73.03   $   8.60          $   214.72   $    214.72
  4/29/2018 Marvin Luna Checo                 $13.00   56.15   $   8.60          $   104.98   $    104.98
   5/6/2018 Marvin Luna Checo                 $13.00   69.93   $   8.60          $   194.57   $    194.57
  5/13/2018 Marvin Luna Checo                 $13.00   74.05   $   8.60          $   221.33   $    221.33
  5/20/2018 Marvin Luna Checo                 $13.00   70.85   $   8.60          $   200.53   $    200.53
  5/27/2018 Marvin Luna Checo                 $13.00   72.78   $   8.60          $   213.09   $    213.09
   6/3/2018 Marvin Luna Checo                 $13.00   66.98   $   8.60          $   175.39   $    175.39
  6/10/2018 Marvin Luna Checo                 $13.00   66.47   $   8.60          $   172.03   $    172.03
  6/17/2018 Marvin Luna Checo                 $13.00   74.83   $   8.60          $   226.42   $    226.42
  6/24/2018 Marvin Luna Checo                 $13.00   71.52   $   8.60          $   204.86   $    204.86
   7/1/2018 Marvin Luna Checo                 $13.00   70.80   $   8.60          $   200.20   $    200.20
   7/8/2018 Marvin Luna Checo                 $13.00   63.30   $   8.60          $   151.45   $    151.45
  7/15/2018 Marvin Luna Checo                 $13.00   71.85   $   8.60          $   207.03   $    207.03
  7/22/2018 Marvin Luna Checo                 $13.00   59.35   $   8.60          $   125.78   $    125.78
  7/29/2018 Marvin Luna Checo                 $13.00   72.53   $   8.60          $   211.47   $    211.47
   8/5/2018 Marvin Luna Checo                 $13.00   71.50   $   8.60          $   204.75   $    204.75
  8/12/2018 Marvin Luna Checo                 $13.00   65.60   $   8.60          $   166.40   $    166.40
  8/19/2018 Marvin Luna Checo                 $13.00   67.98   $   8.60          $   181.89   $    181.89
   9/9/2018 Marvin Luna Checo                 $13.00   56.07   $   8.60          $   104.43   $    104.43
  9/16/2018 Marvin Luna Checo                 $13.00   67.20   $   8.60          $   176.80   $    176.80
  9/23/2018 Marvin Luna Checo                 $13.00   67.40   $   8.60          $   178.10   $    178.10
  9/30/2018 Marvin Luna Checo                 $13.00   56.07   $   8.60          $   104.43   $    104.43
  10/7/2018 Marvin Luna Checo                 $13.00   68.65   $   8.60          $   186.23   $    186.23
 10/14/2018 Marvin Luna Checo                 $13.00   67.60   $   8.60          $   179.40   $    179.40
 10/21/2018 Marvin Luna Checo                 $13.00   57.50   $   8.60          $   113.75   $    113.75



                                                467
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 469 of 683 PageID: 1316
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

 10/28/2018 Marvin Luna Checo                 $13.00   66.10   $    8.60         $   169.65   $    169.65
  11/4/2018 Marvin Luna Checo                 $13.00   67.25   $    8.60         $   177.13   $    177.13
 11/11/2018 Marvin Luna Checo                 $13.00   66.68   $    8.60         $   173.44   $    173.44
 11/18/2018 Marvin Luna Checo                 $13.00   71.00   $    8.60         $   201.50   $    201.50
 11/25/2018 Marvin Luna Checo                 $13.00   48.03   $    8.60         $    52.22   $     52.22
  12/2/2018 Marvin Luna Checo                 $13.00   68.97   $    8.60         $   188.28   $    188.28
  12/9/2018 Marvin Luna Checo                 $13.00   70.75   $    8.60         $   199.88   $    199.88
 12/16/2018 Marvin Luna Checo                 $13.00   68.95   $    8.60         $   188.18   $    188.18
 12/23/2018 Marvin Luna Checo                 $13.00   71.38   $    8.60         $   203.99   $    203.99
 12/30/2018 Marvin Luna Checo                 $13.00   54.05   $    8.60         $    91.33   $     91.33
   1/6/2019 Marvin Luna Checo                 $13.00   50.05   $    8.85         $    65.33   $     65.33
  1/13/2019 Marvin Luna Checo                 $13.00   70.37   $    8.85         $   197.38   $    197.38
   2/3/2019 Marvin Luna Checo                 $13.00   68.75   $    8.85         $   186.88   $    186.88
  2/10/2019 Marvin Luna Checo                 $13.00   66.92   $    8.85         $   174.96   $    174.96
  2/17/2019 Marvin Luna Checo                 $13.00   70.48   $    8.85         $   198.14   $    198.14
  2/24/2019 Marvin Luna Checo                 $13.00   70.45   $    8.85         $   197.93   $    197.93
   3/3/2019 Marvin Luna Checo                 $13.00   72.65   $    8.85         $   212.23   $    212.23
  3/10/2019 Marvin Luna Checo                 $13.00   57.38   $    8.85         $   112.99   $    112.99
  3/17/2019 Marvin Luna Checo                 $13.00   71.38   $    8.85         $   203.99   $    203.99
  3/24/2019 Marvin Luna Checo                 $13.00   70.00   $    8.85         $   195.00   $    195.00
  3/31/2019 Marvin Luna Checo                 $13.00   73.47   $    8.85         $   217.53   $    217.53
   4/7/2019 Marvin Luna Checo                 $13.00   67.38   $    8.85         $   177.99   $    177.99
  4/14/2019 Marvin Luna Checo                 $13.00   73.45   $    8.85         $   217.43   $    217.43
  4/21/2019 Marvin Luna Checo                 $13.00   72.22   $    8.85         $   209.41   $    209.41
  4/28/2019 Marvin Luna Checo                 $13.00   46.22   $    8.85         $    40.41   $     40.41
   5/5/2019 Marvin Luna Checo                 $13.00   70.85   $    8.85         $   200.53   $    200.53
  5/12/2019 Marvin Luna Checo                 $13.00   73.50   $    8.85         $   217.75   $    217.75
  5/19/2019 Marvin Luna Checo                 $13.00   72.13   $    8.85         $   208.87   $    208.87
  5/26/2019 Marvin Luna Checo                 $13.00   63.20   $    8.85         $   150.80   $    150.80
   6/2/2019 Marvin Luna Checo                 $13.00   65.18   $    8.85         $   163.69   $    163.69
   6/9/2019 Marvin Luna Checo                 $13.00   70.00   $    8.85         $   195.00   $    195.00
  6/16/2019 Marvin Luna Checo                 $13.00   49.02   $    8.85         $    58.61   $     58.61
   7/7/2019 Marvin Luna Checo                 $14.00   57.48   $   10.00         $   122.38   $    122.38
  7/14/2019 Marvin Luna Checo                 $14.00   44.35   $   10.00         $    30.45   $     30.45
  7/21/2019 Marvin Luna Checo                 $14.00   65.82   $   10.00         $   180.72   $    180.72
  7/28/2019 Marvin Luna Checo                 $14.00   57.98   $   10.00         $   125.88   $    125.88
   8/4/2019 Marvin Luna Checo                 $14.00   57.12   $   10.00         $   119.82   $    119.82
  8/11/2019 Marvin Luna Checo                 $14.00   68.43   $   10.00         $   199.03   $    199.03
  8/18/2019 Marvin Luna Checo                 $14.00   71.63   $   10.00         $   221.43   $    221.43
  8/25/2019 Marvin Luna Checo                 $14.00   67.83   $   10.00         $   194.83   $    194.83
   9/1/2019 Marvin Luna Checo                 $14.00   70.47   $   10.00         $   213.27   $    213.27
   9/8/2019 Marvin Luna Checo                 $14.00   58.05   $   10.00         $   126.35   $    126.35
  9/15/2019 Marvin Luna Checo                 $14.00   59.87   $   10.00         $   139.07   $    139.07
  9/22/2019 Marvin Luna Checo                 $14.00   70.38   $   10.00         $   212.68   $    212.68
  9/29/2019 Marvin Luna Checo                 $14.00   71.28   $   10.00         $   218.98   $    218.98
  10/6/2019 Marvin Luna Checo                 $14.00   70.45   $   10.00         $   213.15   $    213.15
 10/13/2019 Marvin Luna Checo                 $14.00   70.47   $   10.00         $   213.27   $    213.27
 10/20/2019 Marvin Luna Checo                 $14.00   63.83   $   10.00         $   166.83   $    166.83
 10/27/2019 Marvin Luna Checo                 $14.00   64.90   $   10.00         $   174.30   $    174.30
  11/3/2019 Marvin Luna Checo                 $14.00   62.30   $   10.00         $   156.10   $    156.10



                                                468
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 470 of 683 PageID: 1317
                                                  Exhibit 2
                                          New Jersey Computations


   Week                                                          State Section 7: Section 7: Total Section 7
                                                 Hourly Hours/
  Ending                      Name                             Minumum Regular    Half-Time Overtime Back
                                                  Rate Week
   Date                                                          Wage  Rate Due     Due       Wages Due

 11/10/2019 Marvin Luna Checo                    $14.00   62.02   $   10.00               $   154.12   $   154.12
 11/17/2019 Marvin Luna Checo                    $14.00   61.38   $   10.00               $   149.68   $   149.68
 11/24/2019 Marvin Luna Checo                    $14.00   61.90   $   10.00               $   153.30   $   153.30
  12/1/2019 Marvin Luna Checo                    $14.00   51.67   $   10.00               $    81.67   $    81.67
  12/8/2019 Marvin Luna Checo                    $14.00   61.95   $   10.00               $   153.65   $   153.65
 12/15/2019 Marvin Luna Checo                    $14.00   70.18   $   10.00               $   211.28   $   211.28
 12/22/2019 Marvin Luna Checo                    $14.00   69.68   $   10.00               $   207.78   $   207.78
 12/29/2019 Marvin Luna Checo                    $14.00   50.12   $   10.00               $    70.82   $    70.82
   1/5/2020 Marvin Luna Checo                    $14.00   50.72   $   11.00               $    75.02   $    75.02
  1/12/2020 Marvin Luna Checo                    $14.00   66.28   $   11.00               $   183.98   $   183.98
  1/19/2020 Marvin Luna Checo                    $14.00   72.12   $   11.00               $   224.82   $   224.82
  1/26/2020 Marvin Luna Checo                    $14.00   71.13   $   11.00               $   217.93   $   217.93
  9/22/2019 Matthew Vega                          $9.50   50.17   $   10.00   $   25.08   $    50.83   $    75.92
  9/29/2019 Matthew Vega                          $9.50   60.83   $   10.00   $   30.42   $   104.17   $   134.58
  10/6/2019 Matthew Vega                          $9.50   60.27   $   10.00   $   30.13   $   101.33   $   131.47
 10/13/2019 Matthew Vega                          $9.50   51.62   $   10.00   $   25.81   $    58.08   $    83.89
   7/2/2017 Maxwell Vilefort                     $10.00   57.97   $    8.44               $    89.83   $    89.83
  7/16/2017 Maxwell Vilefort                     $10.00   60.27   $    8.44               $   101.33   $   101.33
  7/23/2017 Maxwell Vilefort                     $10.00   60.63   $    8.44               $   103.17   $   103.17
  7/30/2017 Maynor Fernandez                     $10.00   41.62   $    8.44               $     8.08   $     8.08
   8/6/2017 Maynor Fernandez                     $10.00   59.90   $    8.44               $    99.50   $    99.50
  8/13/2017 Maynor Fernandez                     $10.00   50.02   $    8.44               $    50.08   $    50.08
  8/20/2017 Maynor Fernandez                     $10.00   51.63   $    8.44               $    58.17   $    58.17
  8/27/2017 Maynor Fernandez                     $10.00   61.10   $    8.44               $   105.50   $   105.50
   9/3/2017 Maynor Fernandez                     $10.00   62.38   $    8.44               $   111.92   $   111.92
  9/10/2017 Maynor Fernandez                     $10.00   41.82   $    8.44               $     9.08   $     9.08
   2/5/2017 Maynor Humberto Groy Patzan           $9.50   60.05   $    8.44               $    95.24   $    95.24
 10/20/2019 Maynor Joel Cusanero                 $10.00   64.07   $   10.00               $   120.33   $   120.33
 10/27/2019 Maynor Joel Cusanero                 $10.00   67.13   $   10.00               $   135.67   $   135.67
  11/3/2019 Maynor Joel Cusanero                 $10.00   68.15   $   10.00               $   140.75   $   140.75
 11/10/2019 Maynor Joel Cusanero                 $10.00   62.45   $   10.00               $   112.25   $   112.25
 11/17/2019 Maynor Joel Cusanero                 $10.00   61.37   $   10.00               $   106.83   $   106.83
 11/24/2019 Maynor Joel Cusanero                 $10.00   62.17   $   10.00               $   110.83   $   110.83
  12/1/2019 Maynor Joel Cusanero                 $10.00   52.03   $   10.00               $    60.17   $    60.17
  12/8/2019 Maynor Joel Cusanero                 $10.00   59.52   $   10.00               $    97.58   $    97.58
 12/15/2019 Maynor Joel Cusanero                 $10.00   59.77   $   10.00               $    98.83   $    98.83
 12/22/2019 Maynor Joel Cusanero                 $10.00   59.92   $   10.00               $    99.58   $    99.58
 12/29/2019 Maynor Joel Cusanero                 $10.00   41.80   $   10.00               $     9.00   $     9.00
   1/5/2020 Maynor Joel Cusanero                 $10.00   51.77   $   11.00   $   51.77   $    64.72   $   116.48
  1/12/2020 Maynor Joel Cusanero                 $10.00   59.90   $   11.00   $   59.90   $   109.45   $   169.35
  1/19/2020 Maynor Joel Cusanero                 $10.00   59.57   $   11.00   $   59.57   $   107.62   $   167.18
  1/26/2020 Maynor Joel Cusanero                 $10.00   63.98   $   11.00   $   63.98   $   131.91   $   195.89
   2/5/2017 Maynor Lenin Alacron                 $12.00   58.67   $    8.44               $   112.00   $   112.00
  2/12/2017 Maynor Lenin Alacron                 $12.00   61.83   $    8.44               $   131.00   $   131.00
  2/19/2017 Maynor Lenin Alacron                 $12.00   61.13   $    8.44               $   126.80   $   126.80
  2/26/2017 Maynor Lenin Alacron                 $12.00   69.93   $    8.44               $   179.60   $   179.60
   3/5/2017 Maynor Lenin Alacron                 $12.00   69.62   $    8.44               $   177.70   $   177.70
  3/12/2017 Maynor Lenin Alacron                 $12.00   70.75   $    8.44               $   184.50   $   184.50
  3/19/2017 Maynor Lenin Alacron                 $12.00   67.80   $    8.44               $   166.80   $   166.80
  3/26/2017 Maynor Lenin Alacron                 $12.00   69.68   $    8.44               $   178.10   $   178.10



                                                   469
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 471 of 683 PageID: 1318
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

   4/2/2017 Maynor Lenin Alacron             $12.00   69.83   $   8.44          $   179.00   $    179.00
   4/9/2017 Maynor Lenin Alacron             $12.00   69.50   $   8.44          $   177.00   $    177.00
  4/16/2017 Maynor Lenin Alacron             $12.00   69.00   $   8.44          $   174.00   $    174.00
  4/23/2017 Maynor Lenin Alacron             $12.00   69.33   $   8.44          $   176.00   $    176.00
  4/30/2017 Maynor Lenin Alacron             $12.00   70.63   $   8.44          $   183.80   $    183.80
   5/7/2017 Maynor Lenin Alacron             $12.00   71.58   $   8.44          $   189.50   $    189.50
  5/14/2017 Maynor Lenin Alacron             $12.00   71.67   $   8.44          $   190.00   $    190.00
  5/21/2017 Maynor Lenin Alacron             $12.00   71.27   $   8.44          $   187.60   $    187.60
  5/28/2017 Maynor Lenin Alacron             $12.00   73.05   $   8.44          $   198.30   $    198.30
   6/4/2017 Maynor Lenin Alacron             $12.00   69.13   $   8.44          $   174.80   $    174.80
  6/11/2017 Maynor Lenin Alacron             $12.00   73.12   $   8.44          $   198.70   $    198.70
  6/18/2017 Maynor Lenin Alacron             $12.00   59.18   $   8.44          $   115.10   $    115.10
  2/12/2017 Melanio Antonio Pena.            $11.50   59.17   $   8.44          $   110.21   $    110.21
  2/19/2017 Melanio Antonio Pena.            $11.50   62.98   $   8.44          $   132.15   $    132.15
  2/26/2017 Melanio Antonio Pena.            $11.50   63.17   $   8.44          $   133.21   $    133.21
   3/5/2017 Melanio Antonio Pena.            $11.50   60.32   $   8.44          $   116.82   $    116.82
  3/12/2017 Melanio Antonio Pena.            $11.50   70.50   $   8.44          $   175.38   $    175.38
  3/19/2017 Melanio Antonio Pena.            $11.50   47.30   $   8.44          $    41.98   $     41.98
  3/26/2017 Melanio Antonio Pena.            $11.50   72.87   $   8.44          $   188.98   $    188.98
   4/2/2017 Melanio Antonio Pena.            $11.50   72.48   $   8.44          $   186.78   $    186.78
   4/9/2017 Melanio Antonio Pena.            $11.50   67.35   $   8.44          $   157.26   $    157.26
  4/16/2017 Melanio Antonio Pena.            $11.50   64.88   $   8.44          $   143.08   $    143.08
  4/23/2017 Melanio Antonio Pena.            $11.50   70.10   $   8.44          $   173.08   $    173.08
  4/30/2017 Melanio Antonio Pena.            $11.50   60.88   $   8.44          $   120.08   $    120.08
  5/21/2017 Melanio Antonio Pena.            $11.50   74.55   $   8.44          $   198.66   $    198.66
  5/28/2017 Melanio Antonio Pena.            $11.50   75.90   $   8.44          $   206.43   $    206.43
   6/4/2017 Melanio Antonio Pena.            $11.50   63.65   $   8.44          $   135.99   $    135.99
  6/11/2017 Melanio Antonio Pena.            $11.50   70.50   $   8.44          $   175.38   $    175.38
  6/18/2017 Melanio Antonio Pena.            $11.50   71.87   $   8.44          $   183.23   $    183.23
  6/25/2017 Melanio Antonio Pena.            $11.50   76.10   $   8.44          $   207.58   $    207.58
   7/2/2017 Melanio Antonio Pena.            $11.50   73.45   $   8.44          $   192.34   $    192.34
   7/9/2017 Melanio Antonio Pena.            $11.50   51.93   $   8.44          $    68.62   $     68.62
  7/16/2017 Melanio Antonio Pena.            $11.50   61.12   $   8.44          $   121.42   $    121.42
  7/23/2017 Melanio Antonio Pena.            $11.50   71.78   $   8.44          $   182.75   $    182.75
  7/30/2017 Melanio Antonio Pena.            $11.50   64.63   $   8.44          $   141.64   $    141.64
   8/6/2017 Melanio Antonio Pena.            $11.50   63.70   $   8.44          $   136.28   $    136.28
  8/13/2017 Melanio Antonio Pena.            $11.50   59.80   $   8.44          $   113.85   $    113.85
  8/20/2017 Melanio Antonio Pena.            $11.50   57.78   $   8.44          $   102.25   $    102.25
  8/27/2017 Melanio Antonio Pena.            $11.50   71.32   $   8.44          $   180.07   $    180.07
   9/3/2017 Melanio Antonio Pena.            $11.50   72.53   $   8.44          $   187.07   $    187.07
  9/10/2017 Melanio Antonio Pena.            $11.50   61.53   $   8.44          $   123.82   $    123.82
  9/17/2017 Melanio Antonio Pena.            $11.50   71.33   $   8.44          $   180.17   $    180.17
  9/24/2017 Melanio Antonio Pena.            $11.50   68.95   $   8.44          $   166.46   $    166.46
  10/1/2017 Melanio Antonio Pena.            $11.50   61.67   $   8.44          $   124.58   $    124.58
  10/8/2017 Melanio Antonio Pena.            $11.50   66.25   $   8.44          $   150.94   $    150.94
 10/15/2017 Melanio Antonio Pena.            $11.50   63.00   $   8.44          $   132.25   $    132.25
 10/22/2017 Melanio Antonio Pena.            $11.50   69.55   $   8.44          $   169.91   $    169.91
 10/29/2017 Melanio Antonio Pena.            $11.50   70.92   $   8.44          $   177.77   $    177.77
  11/5/2017 Melanio Antonio Pena.            $11.50   67.45   $   8.44          $   157.84   $    157.84
 11/12/2017 Melanio Antonio Pena.            $11.50   70.93   $   8.44          $   177.87   $    177.87



                                               470
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 472 of 683 PageID: 1319
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

 11/19/2017 Melanio Antonio Pena.            $11.50   69.58   $   8.44          $   170.10   $    170.10
 11/26/2017 Melanio Antonio Pena.            $11.50   45.23   $   8.44          $    30.09   $     30.09
  12/3/2017 Melanio Antonio Pena.            $11.50   67.80   $   8.44          $   159.85   $    159.85
 12/10/2017 Melanio Antonio Pena.            $11.50   71.02   $   8.44          $   178.35   $    178.35
 12/17/2017 Melanio Antonio Pena.            $11.50   74.90   $   8.44          $   200.68   $    200.68
 12/24/2017 Melanio Antonio Pena.            $11.50   67.85   $   8.44          $   160.14   $    160.14
 12/31/2017 Melanio Antonio Pena.            $11.50   56.48   $   8.44          $    94.78   $     94.78
  1/14/2018 Melanio Antonio Pena.            $11.50   59.55   $   8.60          $   112.41   $    112.41
  1/21/2018 Melanio Antonio Pena.            $11.50   51.88   $   8.60          $    68.33   $     68.33
  1/28/2018 Melanio Antonio Pena.            $11.50   57.68   $   8.60          $   101.68   $    101.68
   2/4/2018 Melanio Antonio Pena.            $11.50   59.52   $   8.60          $   112.22   $    112.22
  2/11/2018 Melanio Antonio Pena.            $11.50   65.35   $   8.60          $   145.76   $    145.76
  2/18/2018 Melanio Antonio Pena.            $11.50   62.55   $   8.60          $   129.66   $    129.66
  2/25/2018 Melanio Antonio Pena.            $11.50   64.27   $   8.60          $   139.53   $    139.53
   3/4/2018 Melanio Antonio Pena.            $11.50   62.12   $   8.60          $   127.17   $    127.17
  3/25/2018 Melanio Antonio Pena.            $11.50   60.23   $   8.60          $   116.34   $    116.34
   4/1/2018 Melanio Antonio Pena.            $11.50   68.13   $   8.60          $   161.77   $    161.77
   4/8/2018 Melanio Antonio Pena.            $11.50   59.15   $   8.60          $   110.11   $    110.11
  4/15/2018 Melanio Antonio Pena.            $11.50   63.95   $   8.60          $   137.71   $    137.71
  4/22/2018 Melanio Antonio Pena.            $11.50   63.53   $   8.60          $   135.32   $    135.32
  4/29/2018 Melanio Antonio Pena.            $11.50   57.62   $   8.60          $   101.30   $    101.30
  5/27/2018 Melanio Antonio Pena.            $11.50   67.73   $   8.60          $   159.47   $    159.47
   6/3/2018 Melanio Antonio Pena.            $11.50   61.83   $   8.60          $   125.54   $    125.54
  6/10/2018 Melanio Antonio Pena.            $11.50   65.18   $   8.60          $   144.80   $    144.80
  6/17/2018 Melanio Antonio Pena.            $11.50   67.72   $   8.60          $   159.37   $    159.37
  6/24/2018 Melanio Antonio Pena.            $11.50   51.27   $   8.60          $    64.78   $     64.78
   7/1/2018 Melanio Antonio Pena.            $11.50   62.28   $   8.60          $   128.13   $    128.13
   7/8/2018 Melanio Antonio Pena.            $11.50   43.12   $   8.60          $    17.92   $     17.92
  7/15/2018 Melanio Antonio Pena.            $11.50   60.52   $   8.60          $   117.97   $    117.97
  7/22/2018 Melanio Antonio Pena.            $11.50   63.22   $   8.60          $   133.50   $    133.50
  7/29/2018 Melanio Antonio Pena.            $11.50   70.60   $   8.60          $   175.95   $    175.95
   8/5/2018 Melanio Antonio Pena.            $11.50   61.30   $   8.60          $   122.48   $    122.48
  8/12/2018 Melanio Antonio Pena.            $11.50   58.00   $   8.60          $   103.50   $    103.50
  8/19/2018 Melanio Antonio Pena.            $11.50   68.05   $   8.60          $   161.29   $    161.29
  8/26/2018 Melanio Antonio Pena.            $11.50   68.17   $   8.60          $   161.96   $    161.96
   9/2/2018 Melanio Antonio Pena.            $11.50   55.80   $   8.60          $    90.85   $     90.85
   9/9/2018 Melanio Antonio Pena.            $11.50   53.62   $   8.60          $    78.30   $     78.30
  9/16/2018 Melanio Antonio Pena.            $11.50   55.27   $   8.60          $    87.78   $     87.78
  9/23/2018 Melanio Antonio Pena.            $11.50   41.90   $   8.60          $    10.93   $     10.93
 11/11/2018 Melanio Antonio Pena.            $11.50   60.48   $   8.60          $   117.78   $    117.78
 11/18/2018 Melanio Antonio Pena.            $11.50   65.53   $   8.60          $   146.82   $    146.82
 11/25/2018 Melanio Antonio Pena.            $11.50   51.83   $   8.60          $    68.04   $     68.04
  12/2/2018 Melanio Antonio Pena.            $11.50   67.05   $   8.60          $   155.54   $    155.54
  12/9/2018 Melanio Antonio Pena.            $11.50   64.55   $   8.60          $   141.16   $    141.16
 12/16/2018 Melanio Antonio Pena.            $11.50   69.95   $   8.60          $   172.21   $    172.21
 12/23/2018 Melanio Antonio Pena.            $11.50   71.08   $   8.60          $   178.73   $    178.73
 12/30/2018 Melanio Antonio Pena.            $11.50   51.35   $   8.60          $    65.26   $     65.26
   1/6/2019 Melanio Antonio Pena.            $11.50   51.22   $   8.85          $    64.50   $     64.50
  1/13/2019 Melanio Antonio Pena.            $11.50   65.12   $   8.85          $   144.42   $    144.42
  1/20/2019 Melanio Antonio Pena.            $11.50   59.82   $   8.85          $   113.95   $    113.95



                                               471
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 473 of 683 PageID: 1320
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  1/27/2019 Melanio Antonio Pena.            $11.50   52.48   $    8.85         $    71.78   $     71.78
   2/3/2019 Melanio Antonio Pena.            $11.50   50.93   $    8.85         $    62.87   $     62.87
  2/10/2019 Melanio Antonio Pena.            $11.50   48.22   $    8.85         $    47.25   $     47.25
  2/17/2019 Melanio Antonio Pena.            $11.50   61.42   $    8.85         $   123.15   $    123.15
  2/24/2019 Melanio Antonio Pena.            $11.50   65.98   $    8.85         $   149.40   $    149.40
  3/24/2019 Melanio Antonio Pena.            $11.50   49.82   $    8.85         $    56.45   $     56.45
  3/31/2019 Melanio Antonio Pena.            $11.50   50.40   $    8.85         $    59.80   $     59.80
   4/7/2019 Melanio Antonio Pena.            $11.50   43.67   $    8.85         $    21.08   $     21.08
  4/14/2019 Melanio Antonio Pena.            $11.50   50.63   $    8.85         $    61.14   $     61.14
  4/21/2019 Melanio Antonio Pena.            $11.50   43.58   $    8.85         $    20.60   $     20.60
  4/28/2019 Melanio Antonio Pena.            $11.50   44.25   $    8.85         $    24.44   $     24.44
   5/5/2019 Melanio Antonio Pena.            $11.50   48.43   $    8.85         $    48.49   $     48.49
  5/12/2019 Melanio Antonio Pena.            $11.50   55.70   $    8.85         $    90.28   $     90.28
  5/19/2019 Melanio Antonio Pena.            $11.50   56.03   $    8.85         $    92.19   $     92.19
  5/26/2019 Melanio Antonio Pena.            $11.50   64.20   $    8.85         $   139.15   $    139.15
   6/2/2019 Melanio Antonio Pena.            $11.50   47.07   $    8.85         $    40.63   $     40.63
   6/9/2019 Melanio Antonio Pena.            $11.50   61.97   $    8.85         $   126.31   $    126.31
  6/16/2019 Melanio Antonio Pena.            $11.50   60.77   $    8.85         $   119.41   $    119.41
  6/23/2019 Melanio Antonio Pena.            $11.50   54.85   $    8.85         $    85.39   $     85.39
  6/30/2019 Melanio Antonio Pena.            $11.50   50.07   $   10.00         $    57.88   $     57.88
   7/7/2019 Melanio Antonio Pena.            $11.50   51.23   $   10.00         $    64.59   $     64.59
  7/14/2019 Melanio Antonio Pena.            $11.50   45.12   $   10.00         $    29.42   $     29.42
  7/28/2019 Melanio Antonio Pena.            $11.50   46.42   $   10.00         $    36.90   $     36.90
   8/4/2019 Melanio Antonio Pena.            $11.50   59.33   $   10.00         $   111.17   $    111.17
  8/11/2019 Melanio Antonio Pena.            $11.50   68.93   $   10.00         $   166.37   $    166.37
  8/18/2019 Melanio Antonio Pena.            $11.50   57.23   $   10.00         $    99.09   $     99.09
  8/25/2019 Melanio Antonio Pena.            $11.50   52.60   $   10.00         $    72.45   $     72.45
   9/1/2019 Melanio Antonio Pena.            $11.50   66.17   $   10.00         $   150.46   $    150.46
   9/8/2019 Melanio Antonio Pena.            $11.50   51.45   $   10.00         $    65.84   $     65.84
  9/15/2019 Melanio Antonio Pena.            $11.50   64.75   $   10.00         $   142.31   $    142.31
  9/22/2019 Melanio Antonio Pena.            $11.50   60.73   $   10.00         $   119.22   $    119.22
  9/29/2019 Melanio Antonio Pena.            $11.50   66.47   $   10.00         $   152.18   $    152.18
  10/6/2019 Melanio Antonio Pena.            $11.50   51.85   $   10.00         $    68.14   $     68.14
 10/13/2019 Melanio Antonio Pena.            $11.50   65.85   $   10.00         $   148.64   $    148.64
 10/20/2019 Melanio Antonio Pena.            $11.50   66.42   $   10.00         $   151.90   $    151.90
 10/27/2019 Melanio Antonio Pena.            $11.50   65.90   $   10.00         $   148.93   $    148.93
  11/3/2019 Melanio Antonio Pena.            $11.50   46.12   $   10.00         $    35.17   $     35.17
  12/1/2019 Melanio Antonio Pena.            $11.50   41.65   $   10.00         $     9.49   $      9.49
  12/8/2019 Melanio Antonio Pena.            $11.50   65.33   $   10.00         $   145.67   $    145.67
 12/15/2019 Melanio Antonio Pena.            $11.50   64.75   $   10.00         $   142.31   $    142.31
 12/22/2019 Melanio Antonio Pena.            $11.50   63.63   $   10.00         $   135.89   $    135.89
 12/29/2019 Melanio Antonio Pena.            $11.50   44.17   $   10.00         $    23.96   $     23.96
   1/5/2020 Melanio Antonio Pena.            $11.50   43.00   $   11.00         $    17.25   $     17.25
  1/12/2020 Melanio Antonio Pena.            $11.50   44.73   $   11.00         $    27.22   $     27.22
  1/19/2020 Melanio Antonio Pena.            $11.50   53.40   $   11.00         $    77.05   $     77.05
  1/26/2020 Melanio Antonio Pena.            $11.50   55.23   $   11.00         $    87.59   $     87.59
  2/19/2017 Melvin Ramos                      $9.50   56.90   $    8.44         $    80.28   $     80.28
  2/26/2017 Melvin Ramos                      $9.50   67.30   $    8.44         $   129.68   $    129.68
   3/5/2017 Melvin Ramos                      $9.50   54.87   $    8.44         $    70.62   $     70.62
  3/12/2017 Melvin Ramos                      $9.50   67.47   $    8.44         $   130.47   $    130.47



                                               472
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 474 of 683 PageID: 1321
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  3/19/2017 Melvin Ramos                      $9.50   45.95   $   8.44          $    28.26   $     28.26
  3/26/2017 Melvin Ramos                      $9.50   58.67   $   8.44          $    88.67   $     88.67
   4/2/2017 Melvin Ramos                      $9.50   44.73   $   8.44          $    22.48   $     22.48
  12/3/2017 Melvin X. Diaz Medina            $10.50   59.07   $   8.44          $   100.10   $    100.10
 12/10/2017 Melvin X. Diaz Medina            $10.50   59.50   $   8.44          $   102.38   $    102.38
 12/17/2017 Melvin X. Diaz Medina            $10.50   56.50   $   8.44          $    86.63   $     86.63
 12/24/2017 Melvin X. Diaz Medina            $10.50   56.15   $   8.44          $    84.79   $     84.79
 12/31/2017 Melvin X. Diaz Medina            $10.50   51.77   $   8.44          $    61.78   $     61.78
   1/7/2018 Melvin X. Diaz Medina            $10.50   45.12   $   8.60          $    26.86   $     26.86
  1/14/2018 Melvin X. Diaz Medina            $10.50   58.43   $   8.60          $    96.78   $     96.78
  1/21/2018 Melvin X. Diaz Medina            $10.50   55.30   $   8.60          $    80.33   $     80.33
  1/28/2018 Melvin X. Diaz Medina            $10.50   59.23   $   8.60          $   100.98   $    100.98
   2/4/2018 Melvin X. Diaz Medina            $10.50   63.47   $   8.60          $   123.20   $    123.20
  2/11/2018 Melvin X. Diaz Medina            $10.50   59.98   $   8.60          $   104.91   $    104.91
  2/18/2018 Melvin X. Diaz Medina            $10.50   50.57   $   8.60          $    55.48   $     55.48
  2/25/2018 Melvin X. Diaz Medina            $10.50   57.23   $   8.60          $    90.48   $     90.48
   3/4/2018 Melvin X. Diaz Medina            $10.50   56.30   $   8.60          $    85.58   $     85.58
  3/25/2018 Melvin X. Diaz Medina            $10.50   53.37   $   8.60          $    70.18   $     70.18
   4/1/2018 Melvin X. Diaz Medina            $10.50   60.77   $   8.60          $   109.03   $    109.03
   4/8/2018 Melvin X. Diaz Medina            $10.50   60.00   $   8.60          $   105.00   $    105.00
  4/15/2018 Melvin X. Diaz Medina            $10.50   58.87   $   8.60          $    99.05   $     99.05
  4/22/2018 Melvin X. Diaz Medina            $10.50   56.62   $   8.60          $    87.24   $     87.24
  4/29/2018 Melvin X. Diaz Medina            $10.50   55.43   $   8.60          $    81.03   $     81.03
   5/6/2018 Melvin X. Diaz Medina            $10.50   49.82   $   8.60          $    51.54   $     51.54
  5/13/2018 Melvin X. Diaz Medina            $10.50   59.87   $   8.60          $   104.30   $    104.30
  5/20/2018 Melvin X. Diaz Medina            $10.50   59.30   $   8.60          $   101.33   $    101.33
  5/27/2018 Melvin X. Diaz Medina            $10.50   59.73   $   8.60          $   103.60   $    103.60
   6/3/2018 Melvin X. Diaz Medina            $10.50   60.07   $   8.60          $   105.35   $    105.35
  6/10/2018 Melvin X. Diaz Medina            $10.50   60.30   $   8.60          $   106.58   $    106.58
  6/17/2018 Melvin X. Diaz Medina            $10.50   60.43   $   8.60          $   107.28   $    107.28
  6/24/2018 Melvin X. Diaz Medina            $10.50   50.33   $   8.60          $    54.25   $     54.25
   7/1/2018 Melvin X. Diaz Medina            $10.50   40.42   $   8.60          $     2.19   $      2.19
   7/8/2018 Melvin X. Diaz Medina            $10.50   58.68   $   8.60          $    98.09   $     98.09
  7/15/2018 Melvin X. Diaz Medina            $10.50   60.37   $   8.60          $   106.93   $    106.93
  7/22/2018 Melvin X. Diaz Medina            $10.50   60.62   $   8.60          $   108.24   $    108.24
  7/29/2018 Melvin X. Diaz Medina            $10.50   75.23   $   8.60          $   184.98   $    184.98
   8/5/2018 Melvin X. Diaz Medina            $10.50   59.62   $   8.60          $   102.99   $    102.99
  8/12/2018 Melvin X. Diaz Medina            $10.50   60.08   $   8.60          $   105.44   $    105.44
  8/19/2018 Melvin X. Diaz Medina            $10.50   59.75   $   8.60          $   103.69   $    103.69
  8/26/2018 Melvin X. Diaz Medina            $10.50   59.63   $   8.60          $   103.08   $    103.08
   9/2/2018 Melvin X. Diaz Medina            $10.50   60.55   $   8.60          $   107.89   $    107.89
   9/9/2018 Melvin X. Diaz Medina            $10.50   60.60   $   8.60          $   108.15   $    108.15
  9/16/2018 Melvin X. Diaz Medina            $10.50   60.48   $   8.60          $   107.54   $    107.54
  9/23/2018 Melvin X. Diaz Medina            $10.50   59.90   $   8.60          $   104.48   $    104.48
  9/30/2018 Melvin X. Diaz Medina            $10.50   60.08   $   8.60          $   105.44   $    105.44
  10/7/2018 Melvin X. Diaz Medina            $10.50   59.57   $   8.60          $   102.73   $    102.73
 10/14/2018 Melvin X. Diaz Medina            $10.50   59.57   $   8.60          $   102.73   $    102.73
 10/21/2018 Melvin X. Diaz Medina            $10.50   59.97   $   8.60          $   104.83   $    104.83
 10/28/2018 Melvin X. Diaz Medina            $10.50   60.00   $   8.60          $   105.00   $    105.00
  11/4/2018 Melvin X. Diaz Medina            $10.50   60.60   $   8.60          $   108.15   $    108.15



                                               473
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 475 of 683 PageID: 1322
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

 11/11/2018 Melvin X. Diaz Medina            $10.50   59.22   $    8.60         $   100.89   $    100.89
 11/18/2018 Melvin X. Diaz Medina            $10.50   61.85   $    8.60         $   114.71   $    114.71
 11/25/2018 Melvin X. Diaz Medina            $10.50   51.97   $    8.60         $    62.83   $     62.83
  12/2/2018 Melvin X. Diaz Medina            $10.50   60.28   $    8.60         $   106.49   $    106.49
  12/9/2018 Melvin X. Diaz Medina            $10.50   60.37   $    8.60         $   106.93   $    106.93
 12/16/2018 Melvin X. Diaz Medina            $10.50   58.90   $    8.60         $    99.23   $     99.23
 12/23/2018 Melvin X. Diaz Medina            $10.50   54.65   $    8.60         $    76.91   $     76.91
 12/30/2018 Melvin X. Diaz Medina            $10.50   45.20   $    8.60         $    27.30   $     27.30
   1/6/2019 Melvin X. Diaz Medina            $10.50   57.63   $    8.85         $    92.58   $     92.58
  1/13/2019 Melvin X. Diaz Medina            $10.50   58.95   $    8.85         $    99.49   $     99.49
  1/20/2019 Melvin X. Diaz Medina            $10.50   56.87   $    8.85         $    88.55   $     88.55
  1/27/2019 Melvin X. Diaz Medina            $10.50   51.47   $    8.85         $    60.20   $     60.20
   2/3/2019 Melvin X. Diaz Medina            $10.50   57.97   $    8.85         $    94.33   $     94.33
  2/10/2019 Melvin X. Diaz Medina            $10.50   58.90   $    8.85         $    99.23   $     99.23
  2/17/2019 Melvin X. Diaz Medina            $10.50   52.98   $    8.85         $    68.16   $     68.16
  2/24/2019 Melvin X. Diaz Medina            $10.50   56.77   $    8.85         $    88.03   $     88.03
   3/3/2019 Melvin X. Diaz Medina            $10.50   58.93   $    8.85         $    99.40   $     99.40
  3/10/2019 Melvin X. Diaz Medina            $10.50   56.33   $    8.85         $    85.75   $     85.75
  3/17/2019 Melvin X. Diaz Medina            $10.50   58.55   $    8.85         $    97.39   $     97.39
  3/24/2019 Melvin X. Diaz Medina            $10.50   52.07   $    8.85         $    63.35   $     63.35
  3/31/2019 Melvin X. Diaz Medina            $10.50   60.12   $    8.85         $   105.61   $    105.61
  4/14/2019 Melvin X. Diaz Medina            $10.50   59.92   $    8.85         $   104.56   $    104.56
  4/21/2019 Melvin X. Diaz Medina            $10.50   56.82   $    8.85         $    88.29   $     88.29
  4/28/2019 Melvin X. Diaz Medina            $10.50   45.12   $    8.85         $    26.86   $     26.86
  4/23/2017 Meykol Minyety                   $10.00   51.75   $    8.44         $    58.75   $     58.75
  4/30/2017 Meykol Minyety                   $10.00   53.38   $    8.44         $    66.92   $     66.92
   5/7/2017 Meykol Minyety                   $10.00   52.30   $    8.44         $    61.50   $     61.50
  5/14/2017 Meykol Minyety                   $10.00   49.93   $    8.44         $    49.67   $     49.67
  5/21/2017 Meykol Minyety                   $10.00   50.42   $    8.44         $    52.08   $     52.08
  5/28/2017 Meykol Minyety                   $10.00   51.08   $    8.44         $    55.42   $     55.42
   6/4/2017 Meykol Minyety                   $10.00   48.20   $    8.44         $    41.00   $     41.00
  6/11/2017 Meykol Minyety                   $10.00   57.93   $    8.44         $    89.67   $     89.67
  6/18/2017 Meykol Minyety                   $10.00   53.40   $    8.44         $    67.00   $     67.00
  6/25/2017 Meykol Minyety                   $10.00   52.53   $    8.44         $    62.67   $     62.67
   7/2/2017 Meykol Minyety                   $10.00   55.65   $    8.44         $    78.25   $     78.25
   7/9/2017 Meykol Minyety                   $10.00   43.20   $    8.44         $    16.00   $     16.00
  7/16/2017 Meykol Minyety                   $10.00   50.60   $    8.44         $    53.00   $     53.00
  7/23/2017 Meykol Minyety                   $10.00   45.62   $    8.44         $    28.08   $     28.08
  7/30/2017 Meykol Minyety                   $10.00   48.68   $    8.44         $    43.42   $     43.42
   8/6/2017 Meykol Minyety                   $10.00   49.07   $    8.44         $    45.33   $     45.33
  8/13/2017 Meykol Minyety                   $10.00   49.38   $    8.44         $    46.92   $     46.92
  8/20/2017 Meykol Minyety                   $10.00   48.22   $    8.44         $    41.08   $     41.08
  8/27/2017 Meykol Minyety                   $10.00   48.00   $    8.44         $    40.00   $     40.00
   9/3/2017 Meykol Minyety                   $10.00   45.98   $    8.44         $    29.92   $     29.92
  7/21/2019 Michael Diaz                     $10.00   53.57   $   10.00         $    67.83   $     67.83
  7/28/2019 Michael Diaz                     $10.00   61.48   $   10.00         $   107.42   $    107.42
   8/4/2019 Michael Diaz                     $10.00   61.93   $   10.00         $   109.67   $    109.67
  8/11/2019 Michael Diaz                     $10.00   63.83   $   10.00         $   119.17   $    119.17
  8/18/2019 Michael Diaz                     $10.00   50.32   $   10.00         $    51.58   $     51.58
  8/25/2019 Michael Diaz                     $10.00   65.15   $   10.00         $   125.75   $    125.75



                                               474
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 476 of 683 PageID: 1323
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

   9/1/2019 Michael Diaz                     $10.00   57.85   $   10.00         $    89.25   $     89.25
   9/8/2019 Michael Diaz                     $10.00   41.98   $   10.00         $     9.92   $      9.92
  9/15/2019 Michael Diaz                     $10.00   63.70   $   10.00         $   118.50   $    118.50
  9/22/2019 Michael Diaz                     $10.00   47.33   $   10.00         $    36.67   $     36.67
  9/29/2019 Michael Diaz                     $10.00   52.92   $   10.00         $    64.58   $     64.58
  10/6/2019 Michael Diaz                     $10.00   66.50   $   10.00         $   132.50   $    132.50
 10/13/2019 Michael Diaz                     $10.00   50.23   $   10.00         $    51.17   $     51.17
 10/20/2019 Michael Diaz                     $10.00   52.13   $   10.00         $    60.67   $     60.67
  9/24/2017 Michael Kirkland                 $10.50   56.13   $    8.44         $    84.70   $     84.70
  10/1/2017 Michael Kirkland                 $10.50   58.40   $    8.44         $    96.60   $     96.60
  10/8/2017 Michael Kirkland                 $10.50   57.20   $    8.44         $    90.30   $     90.30
 10/15/2017 Michael Kirkland                 $10.50   57.53   $    8.44         $    92.05   $     92.05
 10/22/2017 Michael Kirkland                 $10.50   59.02   $    8.44         $    99.84   $     99.84
 10/29/2017 Michael Kirkland                 $10.50   50.02   $    8.44         $    52.59   $     52.59
  11/5/2017 Michael Kirkland                 $10.50   58.65   $    8.44         $    97.91   $     97.91
 11/12/2017 Michael Kirkland                 $10.50   58.15   $    8.44         $    95.29   $     95.29
 11/19/2017 Michael Kirkland                 $10.50   61.73   $    8.44         $   114.10   $    114.10
 11/26/2017 Michael Kirkland                 $10.50   46.82   $    8.44         $    35.79   $     35.79
  12/3/2017 Michael Kirkland                 $10.50   49.02   $    8.44         $    47.34   $     47.34
 12/10/2017 Michael Kirkland                 $10.50   55.62   $    8.44         $    81.99   $     81.99
 12/17/2017 Michael Kirkland                 $10.50   52.72   $    8.44         $    66.76   $     66.76
 12/24/2017 Michael Kirkland                 $10.50   52.98   $    8.44         $    68.16   $     68.16
 12/31/2017 Michael Kirkland                 $10.50   47.22   $    8.44         $    37.89   $     37.89
  1/14/2018 Michael Kirkland                 $10.50   57.12   $    8.60         $    89.86   $     89.86
  1/21/2018 Michael Kirkland                 $10.50   57.42   $    8.60         $    91.44   $     91.44
  1/28/2018 Michael Kirkland                 $10.50   57.25   $    8.60         $    90.56   $     90.56
   2/4/2018 Michael Kirkland                 $10.50   57.73   $    8.60         $    93.10   $     93.10
  2/11/2018 Michael Kirkland                 $10.50   55.52   $    8.60         $    81.46   $     81.46
  2/18/2018 Michael Kirkland                 $10.50   55.50   $    8.60         $    81.38   $     81.38
  2/25/2018 Michael Kirkland                 $10.50   54.78   $    8.60         $    77.61   $     77.61
   3/4/2018 Michael Kirkland                 $10.50   55.15   $    8.60         $    79.54   $     79.54
  3/25/2018 Michael Kirkland                 $10.50   46.28   $    8.60         $    32.99   $     32.99
   4/8/2018 Michael Kirkland                 $10.50   56.27   $    8.60         $    85.40   $     85.40
  4/15/2018 Michael Kirkland                 $10.50   46.92   $    8.60         $    36.31   $     36.31
  4/22/2018 Michael Kirkland                 $10.50   57.63   $    8.60         $    92.58   $     92.58
   5/6/2018 Michael Kirkland                 $10.50   56.67   $    8.60         $    87.50   $     87.50
  5/13/2018 Michael Kirkland                 $10.50   59.05   $    8.60         $   100.01   $    100.01
  5/20/2018 Michael Kirkland                 $10.50   49.18   $    8.60         $    48.21   $     48.21
  6/10/2018 Michael Kirkland                 $10.50   58.05   $    8.60         $    94.76   $     94.76
  6/17/2018 Michael Kirkland                 $10.50   46.37   $    8.60         $    33.43   $     33.43
  6/24/2018 Michael Kirkland                 $10.50   55.88   $    8.60         $    83.39   $     83.39
   7/1/2018 Michael Kirkland                 $10.50   58.53   $    8.60         $    97.30   $     97.30
  7/15/2018 Michael Kirkland                 $10.50   47.32   $    8.60         $    38.41   $     38.41
  7/22/2018 Michael Kirkland                 $10.50   47.57   $    8.60         $    39.73   $     39.73
  7/29/2018 Michael Kirkland                 $10.50   48.42   $    8.60         $    44.19   $     44.19
   8/5/2018 Michael Kirkland                 $10.50   57.98   $    8.60         $    94.41   $     94.41
  8/12/2018 Michael Kirkland                 $10.50   48.00   $    8.60         $    42.00   $     42.00
  8/19/2018 Michael Kirkland                 $10.50   59.33   $    8.60         $   101.50   $    101.50
  8/26/2018 Michael Kirkland                 $10.50   58.72   $    8.60         $    98.26   $     98.26
   9/2/2018 Michael Kirkland                 $10.50   46.98   $    8.60         $    36.66   $     36.66



                                               475
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 477 of 683 PageID: 1324
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  9/16/2018 Michael Kirkland                 $10.50   46.95   $   8.60          $    36.49   $     36.49
  9/23/2018 Michael Kirkland                 $10.50   53.40   $   8.60          $    70.35   $     70.35
  9/30/2018 Michael Kirkland                 $10.50   58.63   $   8.60          $    97.83   $     97.83
  10/7/2018 Michael Kirkland                 $10.50   55.08   $   8.60          $    79.19   $     79.19
 10/14/2018 Michael Kirkland                 $10.50   58.15   $   8.60          $    95.29   $     95.29
 10/21/2018 Michael Kirkland                 $10.50   56.43   $   8.60          $    86.28   $     86.28
 10/28/2018 Michael Kirkland                 $10.50   46.07   $   8.60          $    31.85   $     31.85
  11/4/2018 Michael Kirkland                 $10.50   49.57   $   8.60          $    50.23   $     50.23
 11/11/2018 Michael Kirkland                 $10.50   55.67   $   8.60          $    82.25   $     82.25
 11/18/2018 Michael Kirkland                 $10.50   48.37   $   8.60          $    43.93   $     43.93
  8/13/2017 Michel Ramos                     $13.50   66.68   $   8.44          $   180.11   $    180.11
  8/20/2017 Michel Ramos                     $13.50   52.68   $   8.44          $    85.61   $     85.61
  8/27/2017 Michel Ramos                     $13.50   58.50   $   8.44          $   124.88   $    124.88
   9/3/2017 Michel Ramos                     $13.50   62.28   $   8.44          $   150.41   $    150.41
  9/10/2017 Michel Ramos                     $13.50   62.47   $   8.44          $   151.65   $    151.65
  9/17/2017 Michel Ramos                     $13.50   68.90   $   8.44          $   195.08   $    195.08
  9/24/2017 Michel Ramos                     $13.50   65.18   $   8.44          $   169.99   $    169.99
  10/1/2017 Michel Ramos                     $13.50   70.63   $   8.44          $   206.78   $    206.78
  10/8/2017 Michel Ramos                     $13.50   70.78   $   8.44          $   207.79   $    207.79
 10/15/2017 Michel Ramos                     $13.50   64.27   $   8.44          $   163.80   $    163.80
 10/22/2017 Michel Ramos                     $13.50   65.75   $   8.44          $   173.81   $    173.81
 10/29/2017 Michel Ramos                     $13.50   64.70   $   8.44          $   166.73   $    166.73
  11/5/2017 Michel Ramos                     $13.50   65.42   $   8.44          $   171.56   $    171.56
 11/12/2017 Michel Ramos                     $13.50   61.43   $   8.44          $   144.68   $    144.68
 11/19/2017 Michel Ramos                     $13.50   63.15   $   8.44          $   156.26   $    156.26
 11/26/2017 Michel Ramos                     $13.50   52.75   $   8.44          $    86.06   $     86.06
  12/3/2017 Michel Ramos                     $13.50   53.58   $   8.44          $    91.69   $     91.69
 12/10/2017 Michel Ramos                     $13.50   45.50   $   8.44          $    37.13   $     37.13
 12/17/2017 Michel Ramos                     $13.50   51.67   $   8.44          $    78.75   $     78.75
 12/24/2017 Michel Ramos                     $13.50   53.62   $   8.44          $    91.91   $     91.91
 12/31/2017 Michel Ramos                     $13.50   53.18   $   8.44          $    88.99   $     88.99
   1/7/2018 Michel Ramos                     $13.50   41.83   $   8.60          $    12.38   $     12.38
  1/14/2018 Michel Ramos                     $13.50   53.73   $   8.60          $    92.70   $     92.70
  1/21/2018 Michel Ramos                     $13.50   62.85   $   8.60          $   154.24   $    154.24
  1/28/2018 Michel Ramos                     $13.50   66.30   $   8.60          $   177.53   $    177.53
   2/4/2018 Michel Ramos                     $13.50   53.58   $   8.60          $    91.69   $     91.69
  2/11/2018 Michel Ramos                     $13.50   59.78   $   8.60          $   133.54   $    133.54
  2/18/2018 Michel Ramos                     $13.50   64.93   $   8.60          $   168.30   $    168.30
  2/25/2018 Michel Ramos                     $13.50   68.28   $   8.60          $   190.91   $    190.91
   3/4/2018 Michel Ramos                     $13.50   56.32   $   8.60          $   110.14   $    110.14
  3/25/2018 Michel Ramos                     $13.50   48.40   $   8.60          $    56.70   $     56.70
   4/1/2018 Michel Ramos                     $13.50   60.43   $   8.60          $   137.93   $    137.93
   4/8/2018 Michel Ramos                     $13.50   77.83   $   8.60          $   255.38   $    255.38
  4/15/2018 Michel Ramos                     $13.50   68.77   $   8.60          $   194.18   $    194.18
  4/22/2018 Michel Ramos                     $13.50   60.85   $   8.60          $   140.74   $    140.74
  4/29/2018 Michel Ramos                     $13.50   68.42   $   8.60          $   191.81   $    191.81
   5/6/2018 Michel Ramos                     $13.50   59.80   $   8.60          $   133.65   $    133.65
  5/13/2018 Michel Ramos                     $13.50   74.05   $   8.60          $   229.84   $    229.84
  5/20/2018 Michel Ramos                     $13.50   55.30   $   8.60          $   103.28   $    103.28
  4/21/2019 Michel Ramos                     $13.50   56.82   $   8.85          $   113.51   $    113.51



                                               476
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 478 of 683 PageID: 1325
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  4/28/2019 Michel Ramos                     $13.50   44.95   $    8.85         $    33.41   $     33.41
  5/19/2019 Michel Ramos                     $13.50   58.97   $    8.85         $   128.03   $    128.03
  5/26/2019 Michel Ramos                     $13.50   44.95   $    8.85         $    33.41   $     33.41
   6/9/2019 Michel Ramos                     $13.50   64.40   $    8.85         $   164.70   $    164.70
  6/16/2019 Michel Ramos                     $13.50   47.65   $    8.85         $    51.64   $     51.64
  6/23/2019 Michel Ramos                     $13.50   44.47   $    8.85         $    30.15   $     30.15
  6/30/2019 Michel Ramos                     $13.50   43.32   $   10.00         $    22.39   $     22.39
   7/7/2019 Michel Ramos                     $13.50   53.82   $   10.00         $    93.26   $     93.26
  7/14/2019 Michel Ramos                     $13.50   68.53   $   10.00         $   192.60   $    192.60
  7/21/2019 Michel Ramos                     $13.50   66.80   $   10.00         $   180.90   $    180.90
  8/18/2019 Michel Ramos                     $13.50   56.65   $   10.00         $   112.39   $    112.39
  8/25/2019 Michel Ramos                     $13.50   65.25   $   10.00         $   170.44   $    170.44
   9/1/2019 Michel Ramos                     $13.50   71.55   $   10.00         $   212.96   $    212.96
   9/8/2019 Michel Ramos                     $13.50   60.60   $   10.00         $   139.05   $    139.05
  9/15/2019 Michel Ramos                     $13.50   72.30   $   10.00         $   218.03   $    218.03
  9/22/2019 Michel Ramos                     $13.50   59.07   $   10.00         $   128.70   $    128.70
  9/29/2019 Michel Ramos                     $13.50   72.57   $   10.00         $   219.83   $    219.83
  10/6/2019 Michel Ramos                     $13.50   68.07   $   10.00         $   189.45   $    189.45
 10/13/2019 Michel Ramos                     $13.50   62.57   $   10.00         $   152.33   $    152.33
 10/20/2019 Michel Ramos                     $13.50   62.87   $   10.00         $   154.35   $    154.35
 10/27/2019 Michel Ramos                     $13.50   50.40   $   10.00         $    70.20   $     70.20
  11/3/2019 Michel Ramos                     $13.50   61.00   $   10.00         $   141.75   $    141.75
 11/10/2019 Michel Ramos                     $13.50   60.82   $   10.00         $   140.51   $    140.51
 11/17/2019 Michel Ramos                     $13.50   61.42   $   10.00         $   144.56   $    144.56
 11/24/2019 Michel Ramos                     $13.50   49.08   $   10.00         $    61.31   $     61.31
  12/1/2019 Michel Ramos                     $13.50   47.43   $   10.00         $    50.18   $     50.18
 12/15/2019 Michel Ramos                     $13.50   69.35   $   10.00         $   198.11   $    198.11
 12/22/2019 Michel Ramos                     $13.50   65.77   $   10.00         $   173.93   $    173.93
 12/29/2019 Michel Ramos                     $13.50   51.12   $   10.00         $    75.04   $     75.04
   1/5/2020 Michel Ramos                     $13.50   57.68   $   11.00         $   119.36   $    119.36
  1/12/2020 Michel Ramos                     $13.50   71.70   $   11.00         $   213.98   $    213.98
  1/19/2020 Michel Ramos                     $13.50   60.03   $   11.00         $   135.23   $    135.23
  1/26/2020 Michel Ramos                     $13.50   69.33   $   11.00         $   198.00   $    198.00
  9/16/2018 Miguel Alcantara Medina          $10.50   66.18   $    8.60         $   137.46   $    137.46
  9/23/2018 Miguel Alcantara Medina          $10.50   66.05   $    8.60         $   136.76   $    136.76
  9/30/2018 Miguel Alcantara Medina          $10.50   60.20   $    8.60         $   106.05   $    106.05
  10/7/2018 Miguel Alcantara Medina          $10.50   63.12   $    8.60         $   121.36   $    121.36
 10/14/2018 Miguel Alcantara Medina          $10.50   63.65   $    8.60         $   124.16   $    124.16
 10/21/2018 Miguel Alcantara Medina          $10.50   65.32   $    8.60         $   132.91   $    132.91
 10/28/2018 Miguel Alcantara Medina          $10.50   61.27   $    8.60         $   111.65   $    111.65
  11/4/2018 Miguel Alcantara Medina          $10.50   67.10   $    8.60         $   142.28   $    142.28
 11/11/2018 Miguel Alcantara Medina          $10.50   64.57   $    8.60         $   128.98   $    128.98
 11/18/2018 Miguel Alcantara Medina          $10.50   50.57   $    8.60         $    55.48   $     55.48
 11/25/2018 Miguel Alcantara Medina          $10.50   56.75   $    8.60         $    87.94   $     87.94
  12/2/2018 Miguel Alcantara Medina          $10.50   57.95   $    8.60         $    94.24   $     94.24
  12/9/2018 Miguel Alcantara Medina          $10.50   59.62   $    8.60         $   102.99   $    102.99
 12/16/2018 Miguel Alcantara Medina          $10.50   65.60   $    8.60         $   134.40   $    134.40
 12/23/2018 Miguel Alcantara Medina          $10.50   67.22   $    8.60         $   142.89   $    142.89
 12/30/2018 Miguel Alcantara Medina          $10.50   54.02   $    8.60         $    73.59   $     73.59
   1/6/2019 Miguel Alcantara Medina          $10.50   46.03   $    8.85         $    31.68   $     31.68



                                               477
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 479 of 683 PageID: 1326
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  1/13/2019 Miguel Alcantara Medina          $10.50   65.50   $    8.85         $   133.88   $    133.88
  1/20/2019 Miguel Alcantara Medina          $10.50   60.15   $    8.85         $   105.79   $    105.79
  1/27/2019 Miguel Alcantara Medina          $10.50   60.98   $    8.85         $   110.16   $    110.16
   2/3/2019 Miguel Alcantara Medina          $10.50   57.08   $    8.85         $    89.69   $     89.69
  2/10/2019 Miguel Alcantara Medina          $10.50   56.22   $    8.85         $    85.14   $     85.14
  2/17/2019 Miguel Alcantara Medina          $10.50   63.03   $    8.85         $   120.93   $    120.93
  2/24/2019 Miguel Alcantara Medina          $10.50   59.20   $    8.85         $   100.80   $    100.80
   3/3/2019 Miguel Alcantara Medina          $10.50   61.50   $    8.85         $   112.88   $    112.88
  3/10/2019 Miguel Alcantara Medina          $10.50   70.08   $    8.85         $   157.94   $    157.94
  3/17/2019 Miguel Alcantara Medina          $10.50   66.08   $    8.85         $   136.94   $    136.94
  3/24/2019 Miguel Alcantara Medina          $10.50   68.63   $    8.85         $   150.33   $    150.33
  3/31/2019 Miguel Alcantara Medina          $10.50   76.85   $    8.85         $   193.46   $    193.46
   4/7/2019 Miguel Alcantara Medina          $10.50   67.47   $    8.85         $   144.20   $    144.20
  4/14/2019 Miguel Alcantara Medina          $10.50   69.40   $    8.85         $   154.35   $    154.35
  4/21/2019 Miguel Alcantara Medina          $10.50   66.85   $    8.85         $   140.96   $    140.96
  4/28/2019 Miguel Alcantara Medina          $10.50   64.83   $    8.85         $   130.38   $    130.38
   5/5/2019 Miguel Alcantara Medina          $10.50   64.38   $    8.85         $   128.01   $    128.01
  5/12/2019 Miguel Alcantara Medina          $10.50   60.23   $    8.85         $   106.23   $    106.23
  5/19/2019 Miguel Alcantara Medina          $10.50   65.97   $    8.85         $   136.33   $    136.33
  5/26/2019 Miguel Alcantara Medina          $10.50   72.38   $    8.85         $   170.01   $    170.01
   6/2/2019 Miguel Alcantara Medina          $10.50   60.40   $    8.85         $   107.10   $    107.10
   6/9/2019 Miguel Alcantara Medina          $10.50   70.88   $    8.85         $   162.14   $    162.14
  6/16/2019 Miguel Alcantara Medina          $10.50   65.05   $    8.85         $   131.51   $    131.51
  6/23/2019 Miguel Alcantara Medina          $10.50   62.57   $    8.85         $   118.48   $    118.48
  6/30/2019 Miguel Alcantara Medina          $10.50   73.22   $   10.00         $   174.39   $    174.39
   7/7/2019 Miguel Alcantara Medina          $11.00   53.25   $   10.00         $    72.88   $     72.88
  7/14/2019 Miguel Alcantara Medina          $11.00   63.40   $   10.00         $   128.70   $    128.70
  7/21/2019 Miguel Alcantara Medina          $11.00   66.67   $   10.00         $   146.67   $    146.67
  7/28/2019 Miguel Alcantara Medina          $11.00   71.57   $   10.00         $   173.62   $    173.62
   8/4/2019 Miguel Alcantara Medina          $11.00   67.95   $   10.00         $   153.73   $    153.73
  8/11/2019 Miguel Alcantara Medina          $11.00   65.92   $   10.00         $   142.54   $    142.54
  8/18/2019 Miguel Alcantara Medina          $11.00   62.25   $   10.00         $   122.38   $    122.38
  8/25/2019 Miguel Alcantara Medina          $11.00   62.17   $   10.00         $   121.92   $    121.92
   9/1/2019 Miguel Alcantara Medina          $11.00   65.48   $   10.00         $   140.16   $    140.16
   9/8/2019 Miguel Alcantara Medina          $11.00   57.70   $   10.00         $    97.35   $     97.35
  9/15/2019 Miguel Alcantara Medina          $11.00   65.47   $   10.00         $   140.07   $    140.07
  9/22/2019 Miguel Alcantara Medina          $11.00   62.75   $   10.00         $   125.13   $    125.13
  9/29/2019 Miguel Alcantara Medina          $11.00   64.37   $   10.00         $   134.02   $    134.02
  10/6/2019 Miguel Alcantara Medina          $11.00   66.15   $   10.00         $   143.83   $    143.83
 10/13/2019 Miguel Alcantara Medina          $11.00   63.33   $   10.00         $   128.33   $    128.33
 10/20/2019 Miguel Alcantara Medina          $11.00   62.97   $   10.00         $   126.32   $    126.32
 10/27/2019 Miguel Alcantara Medina          $11.00   59.80   $   10.00         $   108.90   $    108.90
  11/3/2019 Miguel Alcantara Medina          $11.00   49.23   $   10.00         $    50.78   $     50.78
 11/10/2019 Miguel Alcantara Medina          $11.00   53.82   $   10.00         $    75.99   $     75.99
 11/17/2019 Miguel Alcantara Medina          $11.00   64.55   $   10.00         $   135.03   $    135.03
 11/24/2019 Miguel Alcantara Medina          $11.00   63.90   $   10.00         $   131.45   $    131.45
  12/8/2019 Miguel Alcantara Medina          $11.00   66.10   $   10.00         $   143.55   $    143.55
 12/15/2019 Miguel Alcantara Medina          $11.00   68.12   $   10.00         $   154.64   $    154.64
 12/22/2019 Miguel Alcantara Medina          $11.00   65.83   $   10.00         $   142.08   $    142.08
 12/29/2019 Miguel Alcantara Medina          $11.00   47.27   $   10.00         $    39.97   $     39.97



                                               478
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 480 of 683 PageID: 1327
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

   1/5/2020 Miguel Alcantara Medina          $11.00   44.05   $   11.00               $    22.28   $    22.28
  1/19/2020 Miguel Alcantara Medina          $11.00   58.68   $   11.00               $   102.76   $   102.76
  1/26/2020 Miguel Alcantara Medina          $11.00   57.78   $   11.00               $    97.81   $    97.81
  8/18/2019 Miguel Alcantara-0759            $10.50   52.77   $   10.00               $    67.03   $    67.03
  8/25/2019 Miguel Alcantara-0759            $10.50   58.42   $   10.00               $    96.69   $    96.69
   9/1/2019 Miguel Alcantara-0759            $10.50   56.38   $   10.00               $    86.01   $    86.01
 10/13/2019 Miguel Angel Peralta             $12.50   57.73   $   10.00               $   110.83   $   110.83
  11/3/2019 Miguel Angel Peralta             $12.50   46.35   $   10.00               $    39.69   $    39.69
 11/10/2019 Miguel Angel Peralta             $12.50   46.48   $   10.00               $    40.52   $    40.52
 12/15/2019 Miguel Angel Peralta             $12.50   59.03   $   10.00               $   118.96   $   118.96
 12/22/2019 Miguel Angel Peralta             $12.50   58.90   $   10.00               $   118.13   $   118.13
   1/5/2020 Miguel Angel Peralta             $12.50   48.08   $   11.00               $    50.52   $    50.52
  1/12/2020 Miguel Angel Peralta             $12.50   58.98   $   11.00               $   118.65   $   118.65
  1/26/2020 Miguel Angel Peralta             $12.50   48.58   $   11.00               $    53.65   $    53.65
  9/22/2019 Miguel Antonio                   $10.00   64.73   $   10.00               $   123.67   $   123.67
  9/29/2019 Miguel Antonio                   $10.00   50.77   $   10.00               $    53.83   $    53.83
  8/13/2017 Miguel Calesten                  $10.00   43.97   $    8.44               $    19.83   $    19.83
   9/3/2017 Miguel Calesten                  $10.00   41.55   $    8.44               $     7.75   $     7.75
  10/1/2017 Miguel Calesten                  $10.00   47.03   $    8.44               $    35.17   $    35.17
  10/8/2017 Miguel Calesten                  $10.00   44.97   $    8.44               $    24.83   $    24.83
 10/29/2017 Miguel Calesten                  $10.00   40.95   $    8.44               $     4.75   $     4.75
   4/1/2018 Miguel Calesten                  $10.00   51.57   $    8.60               $    57.83   $    57.83
   4/8/2018 Miguel Calesten                  $10.00   56.22   $    8.60               $    81.08   $    81.08
  4/15/2018 Miguel Calesten                  $10.00   48.68   $    8.60               $    43.42   $    43.42
  5/13/2018 Miguel Calesten                  $10.00   43.93   $    8.60               $    19.67   $    19.67
   7/7/2019 Miguel Castellano                 $9.50   56.78   $   10.00   $   28.39   $    83.92   $   112.31
  7/14/2019 Miguel Castellano                 $9.50   66.33   $   10.00   $   33.17   $   131.67   $   164.83
  7/21/2019 Miguel Castellano                 $9.50   69.45   $   10.00   $   34.73   $   147.25   $   181.98
  7/28/2019 Miguel Castellano                 $9.50   68.35   $   10.00   $   34.18   $   141.75   $   175.93
   8/4/2019 Miguel Castellano                 $9.50   69.88   $   10.00   $   34.94   $   149.42   $   184.36
  8/11/2019 Miguel Castellano                 $9.50   71.20   $   10.00   $   35.60   $   156.00   $   191.60
  8/18/2019 Miguel Castellano                 $9.50   74.50   $   10.00   $   37.25   $   172.50   $   209.75
  8/25/2019 Miguel Castellano                 $9.50   47.05   $   10.00   $   23.53   $    35.25   $    58.78
   9/1/2019 Miguel Castellano                 $9.50   62.22   $   10.00   $   31.11   $   111.08   $   142.19
   9/8/2019 Miguel Castellano                 $9.50   56.27   $   10.00   $   28.13   $    81.33   $   109.47
  9/15/2019 Miguel Castellano                 $9.50   49.88   $   10.00   $   24.94   $    49.42   $    74.36
  9/22/2019 Miguel Castellano                 $9.50   66.75   $   10.00   $   33.38   $   133.75   $   167.13
  9/29/2019 Miguel Castellano                 $9.50   64.65   $   10.00   $   32.33   $   123.25   $   155.58
  10/6/2019 Miguel Castellano                 $9.50   63.85   $   10.00   $   31.93   $   119.25   $   151.18
 10/13/2019 Miguel Castellano                 $9.50   57.87   $   10.00   $   28.93   $    89.33   $   118.27
 10/20/2019 Miguel Castellano                 $9.50   57.30   $   10.00   $   28.65   $    86.50   $   115.15
 10/27/2019 Miguel Castellano                 $9.50   58.22   $   10.00   $   29.11   $    91.08   $   120.19
  11/3/2019 Miguel Castellano                 $9.50   60.62   $   10.00   $   30.31   $   103.08   $   133.39
 11/10/2019 Miguel Castellano                 $9.50   55.67   $   10.00   $   27.83   $    78.33   $   106.17
 11/17/2019 Miguel Castellano                 $9.50   52.07   $   10.00   $   26.03   $    60.33   $    86.37
 11/24/2019 Miguel Castellano                 $9.50   58.35   $   10.00   $   29.18   $    91.75   $   120.93
  12/1/2019 Miguel Castellano                 $9.50   47.63   $   10.00   $   23.82   $    38.17   $    61.98
  12/8/2019 Miguel Castellano                 $9.50   58.55   $   10.00   $   29.28   $    92.75   $   122.03
 12/15/2019 Miguel Castellano                 $9.50   64.97   $   10.00   $   32.48   $   124.83   $   157.32
 12/22/2019 Miguel Castellano                 $9.50   65.68   $   10.00   $   32.84   $   128.42   $   161.26



                                               479
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 481 of 683 PageID: 1328
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

   1/5/2020 Miguel Castellano                  $9.50   43.52   $   11.00   $   65.28   $    19.34   $    84.62
  1/12/2020 Miguel Castellano                 $11.00   63.67   $   11.00               $   130.17   $   130.17
  1/19/2020 Miguel Castellano                 $11.00   64.70   $   11.00               $   135.85   $   135.85
  1/26/2020 Miguel Castellano                 $11.00   64.92   $   11.00               $   137.04   $   137.04
   5/7/2017 Miguel Corporan                   $11.00   55.48   $    8.44               $    85.16   $    85.16
  5/14/2017 Miguel Corporan                   $11.00   49.33   $    8.44               $    51.33   $    51.33
  6/11/2017 Miguel Corporan                   $11.00   47.30   $    8.44               $    40.15   $    40.15
  6/18/2017 Miguel Corporan                   $11.00   57.28   $    8.44               $    95.06   $    95.06
  6/25/2017 Miguel Corporan                   $11.00   63.63   $    8.44               $   129.98   $   129.98
   7/2/2017 Miguel Corporan                   $11.00   57.00   $    8.44               $    93.50   $    93.50
   7/9/2017 Miguel Corporan                   $11.00   45.28   $    8.44               $    29.06   $    29.06
  7/16/2017 Miguel Corporan                   $11.00   58.27   $    8.44               $   100.47   $   100.47
  7/23/2017 Miguel Corporan                   $11.00   58.85   $    8.44               $   103.68   $   103.68
  7/30/2017 Miguel Corporan                   $11.00   58.88   $    8.44               $   103.86   $   103.86
   8/6/2017 Miguel Corporan                   $11.00   56.50   $    8.44               $    90.75   $    90.75
  8/13/2017 Miguel Corporan                   $11.00   50.47   $    8.44               $    57.57   $    57.57
  8/20/2017 Miguel Corporan                   $11.00   53.12   $    8.44               $    72.14   $    72.14
  8/27/2017 Miguel Corporan                   $11.00   49.55   $    8.44               $    52.53   $    52.53
   9/3/2017 Miguel Corporan                   $11.00   50.32   $    8.44               $    56.74   $    56.74
  9/10/2017 Miguel Corporan                   $11.00   53.07   $    8.44               $    71.87   $    71.87
  9/17/2017 Miguel Corporan                   $11.00   46.87   $    8.44               $    37.77   $    37.77
  9/24/2017 Miguel Corporan                   $11.00   53.02   $    8.44               $    71.59   $    71.59
  10/1/2017 Miguel Corporan                   $11.00   54.60   $    8.44               $    80.30   $    80.30
  10/8/2017 Miguel Corporan                   $11.00   52.82   $    8.44               $    70.49   $    70.49
 10/15/2017 Miguel Corporan                   $11.00   55.18   $    8.44               $    83.51   $    83.51
 10/22/2017 Miguel Corporan                   $11.00   56.38   $    8.44               $    90.11   $    90.11
 10/29/2017 Miguel Corporan                   $11.00   56.57   $    8.44               $    91.12   $    91.12
 11/19/2017 Miguel Corporan                   $11.00   57.05   $    8.44               $    93.78   $    93.78
 11/26/2017 Miguel Corporan                   $11.00   45.35   $    8.44               $    29.43   $    29.43
  12/3/2017 Miguel Corporan                   $11.00   60.10   $    8.44               $   110.55   $   110.55
 12/10/2017 Miguel Corporan                   $11.00   56.95   $    8.44               $    93.23   $    93.23
 12/17/2017 Miguel Corporan                   $11.00   58.92   $    8.44               $   104.04   $   104.04
 12/24/2017 Miguel Corporan                   $11.00   59.45   $    8.44               $   106.98   $   106.98
 12/31/2017 Miguel Corporan                   $11.00   49.78   $    8.44               $    53.81   $    53.81
  1/14/2018 Miguel Corporan                   $11.00   47.90   $    8.60               $    43.45   $    43.45
  1/21/2018 Miguel Corporan                   $11.00   54.50   $    8.60               $    79.75   $    79.75
  1/28/2018 Miguel Corporan                   $11.00   51.77   $    8.60               $    64.72   $    64.72
   2/4/2018 Miguel Corporan                   $11.00   48.75   $    8.60               $    48.13   $    48.13
  2/11/2018 Miguel Corporan                   $11.00   52.33   $    8.60               $    67.83   $    67.83
  2/25/2018 Miguel Corporan                   $11.00   47.15   $    8.60               $    39.33   $    39.33
   3/4/2018 Miguel Corporan                   $11.00   58.03   $    8.60               $    99.18   $    99.18
  3/25/2018 Miguel Corporan                   $11.00   53.33   $    8.60               $    73.33   $    73.33
   4/1/2018 Miguel Corporan                   $11.00   60.17   $    8.60               $   110.92   $   110.92
   4/8/2018 Miguel Corporan                   $11.00   50.88   $    8.60               $    59.86   $    59.86
  4/15/2018 Miguel Corporan                   $11.00   56.00   $    8.60               $    88.00   $    88.00
  4/22/2018 Miguel Corporan                   $11.00   54.60   $    8.60               $    80.30   $    80.30
  4/29/2018 Miguel Corporan                   $11.00   61.57   $    8.60               $   118.62   $   118.62
   5/6/2018 Miguel Corporan                   $11.00   59.60   $    8.60               $   107.80   $   107.80
  5/13/2018 Miguel Corporan                   $11.00   51.93   $    8.60               $    65.63   $    65.63
  5/20/2018 Miguel Corporan                   $11.00   59.70   $    8.60               $   108.35   $   108.35



                                                480
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 482 of 683 PageID: 1329
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  5/27/2018 Miguel Corporan                 $11.00   61.38   $   8.60          $   117.61   $    117.61
   6/3/2018 Miguel Corporan                 $11.00   42.12   $   8.60          $    11.64   $     11.64
  6/10/2018 Miguel Corporan                 $11.00   56.67   $   8.60          $    91.67   $     91.67
  6/17/2018 Miguel Corporan                 $11.00   57.28   $   8.60          $    95.06   $     95.06
  6/24/2018 Miguel Corporan                 $11.00   54.72   $   8.60          $    80.94   $     80.94
   7/1/2018 Miguel Corporan                 $11.00   56.60   $   8.60          $    91.30   $     91.30
  7/15/2018 Miguel Corporan                 $11.00   58.42   $   8.60          $   101.29   $    101.29
  7/22/2018 Miguel Corporan                 $11.00   58.50   $   8.60          $   101.75   $    101.75
  7/29/2018 Miguel Corporan                 $11.00   60.53   $   8.60          $   112.93   $    112.93
   8/5/2018 Miguel Corporan                 $11.00   54.08   $   8.60          $    77.46   $     77.46
  8/12/2018 Miguel Corporan                 $11.00   55.08   $   8.60          $    82.96   $     82.96
  8/19/2018 Miguel Corporan                 $11.00   59.22   $   8.60          $   105.69   $    105.69
  8/26/2018 Miguel Corporan                 $11.00   57.62   $   8.60          $    96.89   $     96.89
   9/2/2018 Miguel Corporan                 $11.00   57.45   $   8.60          $    95.98   $     95.98
   9/9/2018 Miguel Corporan                 $11.00   48.43   $   8.60          $    46.38   $     46.38
  9/16/2018 Miguel Corporan                 $11.00   55.40   $   8.60          $    84.70   $     84.70
  9/23/2018 Miguel Corporan                 $11.00   53.92   $   8.60          $    76.54   $     76.54
  9/30/2018 Miguel Corporan                 $11.00   57.43   $   8.60          $    95.88   $     95.88
  10/7/2018 Miguel Corporan                 $11.00   59.62   $   8.60          $   107.89   $    107.89
 10/14/2018 Miguel Corporan                 $11.00   56.75   $   8.60          $    92.13   $     92.13
 10/21/2018 Miguel Corporan                 $11.00   53.40   $   8.60          $    73.70   $     73.70
 10/28/2018 Miguel Corporan                 $11.00   53.38   $   8.60          $    73.61   $     73.61
  11/4/2018 Miguel Corporan                 $11.00   53.47   $   8.60          $    74.07   $     74.07
 11/11/2018 Miguel Corporan                 $11.00   54.65   $   8.60          $    80.58   $     80.58
 11/18/2018 Miguel Corporan                 $11.00   53.62   $   8.60          $    74.89   $     74.89
 11/25/2018 Miguel Corporan                 $11.00   41.22   $   8.60          $     6.69   $      6.69
  12/2/2018 Miguel Corporan                 $11.00   59.67   $   8.60          $   108.17   $    108.17
  12/9/2018 Miguel Corporan                 $11.00   53.90   $   8.60          $    76.45   $     76.45
 12/16/2018 Miguel Corporan                 $11.00   58.02   $   8.60          $    99.09   $     99.09
 12/23/2018 Miguel Corporan                 $11.00   59.57   $   8.60          $   107.62   $    107.62
 12/30/2018 Miguel Corporan                 $11.00   44.28   $   8.60          $    23.56   $     23.56
  1/13/2019 Miguel Corporan                 $11.00   53.00   $   8.85          $    71.50   $     71.50
  1/20/2019 Miguel Corporan                 $11.00   53.58   $   8.85          $    74.71   $     74.71
  1/27/2019 Miguel Corporan                 $11.00   51.90   $   8.85          $    65.45   $     65.45
   2/3/2019 Miguel Corporan                 $11.00   46.77   $   8.85          $    37.22   $     37.22
  2/10/2019 Miguel Corporan                 $11.00   44.73   $   8.85          $    26.03   $     26.03
  2/17/2019 Miguel Corporan                 $11.00   49.68   $   8.85          $    53.26   $     53.26
  2/24/2019 Miguel Corporan                 $11.00   55.68   $   8.85          $    86.26   $     86.26
   3/3/2019 Miguel Corporan                 $11.00   51.92   $   8.85          $    65.54   $     65.54
  3/10/2019 Miguel Corporan                 $11.00   48.03   $   8.85          $    44.18   $     44.18
  3/24/2019 Miguel Corporan                 $11.00   45.45   $   8.85          $    29.98   $     29.98
  3/31/2019 Miguel Corporan                 $11.00   59.53   $   8.85          $   107.43   $    107.43
   4/7/2019 Miguel Corporan                 $11.00   54.60   $   8.85          $    80.30   $     80.30
  4/14/2019 Miguel Corporan                 $11.00   53.83   $   8.85          $    76.08   $     76.08
  4/21/2019 Miguel Corporan                 $11.00   52.15   $   8.85          $    66.83   $     66.83
  4/28/2019 Miguel Corporan                 $11.00   49.30   $   8.85          $    51.15   $     51.15
   5/5/2019 Miguel Corporan                 $11.00   48.62   $   8.85          $    47.39   $     47.39
  5/12/2019 Miguel Corporan                 $11.00   50.00   $   8.85          $    55.00   $     55.00
  5/19/2019 Miguel Corporan                 $11.00   53.63   $   8.85          $    74.98   $     74.98
  5/26/2019 Miguel Corporan                 $11.00   57.57   $   8.85          $    96.62   $     96.62



                                              481
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 483 of 683 PageID: 1330
                                                   Exhibit 2
                                           New Jersey Computations


   Week                                                           State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
  Ending                       Name                             Minumum Regular    Half-Time Overtime Back
                                                   Rate Week
   Date                                                           Wage  Rate Due     Due       Wages Due

   6/2/2019 Miguel Corporan                       $11.00   49.87   $    8.85               $    54.27   $    54.27
   6/9/2019 Miguel Corporan                       $11.00   56.87   $    8.85               $    92.77   $    92.77
  6/16/2019 Miguel Corporan                       $11.00   56.02   $    8.85               $    88.09   $    88.09
  6/23/2019 Miguel Corporan                       $11.00   53.77   $    8.85               $    75.72   $    75.72
  6/30/2019 Miguel Corporan                       $11.00   60.65   $   10.00               $   113.58   $   113.58
  7/14/2019 Miguel Corporan                       $11.00   53.18   $   10.00               $    72.51   $    72.51
  7/21/2019 Miguel Corporan                       $11.00   54.03   $   10.00               $    77.18   $    77.18
  7/28/2019 Miguel Corporan                       $11.00   64.35   $   10.00               $   133.93   $   133.93
   8/4/2019 Miguel Corporan                       $11.00   59.73   $   10.00               $   108.53   $   108.53
  8/11/2019 Miguel Corporan                       $11.00   51.13   $   10.00               $    61.23   $    61.23
  8/18/2019 Miguel Corporan                       $11.00   45.87   $   10.00               $    32.27   $    32.27
  8/25/2019 Miguel Corporan                       $11.00   56.40   $   10.00               $    90.20   $    90.20
 12/30/2018 Miguel Corporan-7226                  $10.00   40.32   $    8.60               $     1.58   $     1.58
  1/20/2019 Miguel Corporan-7226                  $10.00   51.57   $    8.85               $    57.83   $    57.83
  1/27/2019 Miguel Corporan-7226                  $10.00   50.42   $    8.85               $    52.08   $    52.08
   2/3/2019 Miguel Corporan-7226                  $10.00   40.95   $    8.85               $     4.75   $     4.75
  2/10/2019 Miguel Corporan-7226                  $10.00   51.68   $    8.85               $    58.42   $    58.42
  12/8/2019 Miguel Cuellar                        $10.00   70.98   $   10.00               $   154.92   $   154.92
 12/15/2019 Miguel Cuellar                        $10.00   71.60   $   10.00               $   158.00   $   158.00
 12/22/2019 Miguel Cuellar                        $10.00   72.08   $   10.00               $   160.42   $   160.42
 12/29/2019 Miguel Cuellar                        $10.00   57.53   $   10.00               $    87.67   $    87.67
   1/5/2020 Miguel Cuellar                        $10.00   58.12   $   11.00   $   58.12   $    99.64   $   157.76
  1/12/2020 Miguel Cuellar                        $10.00   72.03   $   11.00   $   72.03   $   176.18   $   248.22
  1/19/2020 Miguel Cuellar                        $10.00   68.35   $   11.00   $   68.35   $   155.93   $   224.28
  1/26/2020 Miguel Cuellar                        $10.00   71.98   $   11.00   $   71.98   $   175.91   $   247.89
  3/12/2017 Miguel Diaz                            $9.50   54.42   $    8.44               $    68.48   $    68.48
  3/19/2017 Miguel Diaz                            $9.50   45.92   $    8.44               $    28.10   $    28.10
  3/26/2017 Miguel Diaz                            $9.50   65.72   $    8.44               $   122.15   $   122.15
   4/2/2017 Miguel Diaz                            $9.50   54.98   $    8.44               $    71.17   $    71.17
   4/9/2017 Miguel Diaz                            $9.50   62.58   $    8.44               $   107.27   $   107.27
  4/16/2017 Miguel Diaz                            $9.50   56.15   $    8.44               $    76.71   $    76.71
  4/23/2017 Miguel Diaz                            $9.50   64.63   $    8.44               $   117.01   $   117.01
  4/30/2017 Miguel Diaz                            $9.50   65.43   $    8.44               $   120.81   $   120.81
   5/7/2017 Miguel Diaz                            $9.50   60.52   $    8.44               $    97.45   $    97.45
  5/14/2017 Miguel Diaz                            $9.50   53.95   $    8.44               $    66.26   $    66.26
  7/30/2017 Miguel Diaz                            $9.50   60.15   $    8.44               $    95.71   $    95.71
   8/6/2017 Miguel Diaz                            $9.50   54.72   $    8.44               $    69.90   $    69.90
  8/13/2017 Miguel Diaz                            $9.50   61.95   $    8.44               $   104.26   $   104.26
  8/20/2017 Miguel Diaz                            $9.50   70.17   $    8.44               $   143.29   $   143.29
  8/27/2017 Miguel Diaz                            $9.50   62.38   $    8.44               $   106.32   $   106.32
   9/3/2017 Miguel Diaz                            $9.50   63.28   $    8.44               $   110.60   $   110.60
 11/19/2017 Miguel Diaz                            $9.50   71.22   $    8.44               $   148.28   $   148.28
 11/26/2017 Miguel Diaz                            $9.50   55.82   $    8.44               $    75.13   $    75.13
  12/3/2017 Miguel Diaz                            $9.50   61.77   $    8.44               $   103.39   $   103.39
  2/17/2019 Miguel Enrique Romero Alfaro          $16.50   53.50   $    8.85               $   111.38   $   111.38
  2/24/2019 Miguel Enrique Romero Alfaro          $16.50   60.08   $    8.85               $   165.69   $   165.69
   3/3/2019 Miguel Enrique Romero Alfaro          $16.50   61.25   $    8.85               $   175.31   $   175.31
  3/10/2019 Miguel Enrique Romero Alfaro          $16.50   48.10   $    8.85               $    66.83   $    66.83
  3/17/2019 Miguel Enrique Romero Alfaro          $16.50   43.22   $    8.85               $    26.54   $    26.54
  3/24/2019 Miguel Enrique Romero Alfaro          $16.50   59.77   $    8.85               $   163.08   $   163.08



                                                    482
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 484 of 683 PageID: 1331
                                                   Exhibit 2
                                           New Jersey Computations


   Week                                                           State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
  Ending                       Name                             Minumum Regular    Half-Time Overtime Back
                                                   Rate Week
   Date                                                           Wage  Rate Due     Due       Wages Due

  3/31/2019 Miguel Enrique Romero Alfaro          $16.50   60.17   $    8.85               $   166.38   $   166.38
   4/7/2019 Miguel Enrique Romero Alfaro          $16.50   67.98   $    8.85               $   230.86   $   230.86
  4/14/2019 Miguel Enrique Romero Alfaro          $16.50   51.18   $    8.85               $    92.26   $    92.26
  4/21/2019 Miguel Enrique Romero Alfaro          $16.50   57.00   $    8.85               $   140.25   $   140.25
  4/28/2019 Miguel Enrique Romero Alfaro          $16.50   51.35   $    8.85               $    93.64   $    93.64
   5/5/2019 Miguel Enrique Romero Alfaro          $16.50   57.75   $    8.85               $   146.44   $   146.44
  5/12/2019 Miguel Enrique Romero Alfaro          $16.50   47.07   $    8.85               $    58.30   $    58.30
  5/19/2019 Miguel Enrique Romero Alfaro          $16.50   71.15   $    8.85               $   256.99   $   256.99
  5/26/2019 Miguel Enrique Romero Alfaro          $16.50   45.57   $    8.85               $    45.93   $    45.93
   6/2/2019 Miguel Enrique Romero Alfaro          $16.50   64.58   $    8.85               $   202.81   $   202.81
   6/9/2019 Miguel Enrique Romero Alfaro          $16.50   67.77   $    8.85               $   229.08   $   229.08
  6/16/2019 Miguel Enrique Romero Alfaro          $16.50   70.12   $    8.85               $   248.46   $   248.46
  6/23/2019 Miguel Enrique Romero Alfaro          $16.50   68.03   $    8.85               $   231.28   $   231.28
  6/30/2019 Miguel Enrique Romero Alfaro          $16.50   44.53   $   10.00               $    37.40   $    37.40
   7/7/2019 Miguel Enrique Romero Alfaro          $12.00   57.48   $   10.00               $   104.90   $   104.90
  7/14/2019 Miguel Enrique Romero Alfaro          $12.00   62.93   $   10.00               $   137.60   $   137.60
  7/21/2019 Miguel Enrique Romero Alfaro          $12.00   68.07   $   10.00               $   168.40   $   168.40
  7/28/2019 Miguel Enrique Romero Alfaro          $12.00   71.35   $   10.00               $   188.10   $   188.10
   8/4/2019 Miguel Enrique Romero Alfaro          $12.00   70.82   $   10.00               $   184.90   $   184.90
  8/11/2019 Miguel Enrique Romero Alfaro          $12.00   69.90   $   10.00               $   179.40   $   179.40
  8/18/2019 Miguel Enrique Romero Alfaro          $12.00   57.48   $   10.00               $   104.90   $   104.90
  8/25/2019 Miguel Enrique Romero Alfaro          $12.00   71.07   $   10.00               $   186.40   $   186.40
   9/1/2019 Miguel Enrique Romero Alfaro          $12.00   72.27   $   10.00               $   193.60   $   193.60
   9/8/2019 Miguel Enrique Romero Alfaro          $12.00   65.70   $   10.00               $   154.20   $   154.20
  9/15/2019 Miguel Enrique Romero Alfaro          $12.00   69.70   $   10.00               $   178.20   $   178.20
  9/22/2019 Miguel Enrique Romero Alfaro          $12.00   71.08   $   10.00               $   186.50   $   186.50
  9/29/2019 Miguel Enrique Romero Alfaro          $12.00   70.75   $   10.00               $   184.50   $   184.50
  10/6/2019 Miguel Enrique Romero Alfaro          $12.00   45.28   $   10.00               $    31.70   $    31.70
 10/13/2019 Miguel Enrique Romero Alfaro          $12.00   70.10   $   10.00               $   180.60   $   180.60
 10/20/2019 Miguel Enrique Romero Alfaro          $12.00   69.60   $   10.00               $   177.60   $   177.60
 10/27/2019 Miguel Enrique Romero Alfaro          $12.00   71.52   $   10.00               $   189.10   $   189.10
  11/3/2019 Miguel Enrique Romero Alfaro          $12.00   69.75   $   10.00               $   178.50   $   178.50
 11/10/2019 Miguel Enrique Romero Alfaro          $12.00   70.28   $   10.00               $   181.70   $   181.70
 11/17/2019 Miguel Enrique Romero Alfaro          $12.00   69.05   $   10.00               $   174.30   $   174.30
 11/24/2019 Miguel Enrique Romero Alfaro          $12.00   69.57   $   10.00               $   177.40   $   177.40
  12/1/2019 Miguel Enrique Romero Alfaro          $12.00   58.25   $   10.00               $   109.50   $   109.50
  12/8/2019 Miguel Enrique Romero Alfaro          $12.00   68.22   $   10.00               $   169.30   $   169.30
 12/15/2019 Miguel Enrique Romero Alfaro          $12.00   70.18   $   10.00               $   181.10   $   181.10
 12/22/2019 Miguel Enrique Romero Alfaro          $12.00   65.38   $   10.00               $   152.30   $   152.30
   1/5/2020 Miguel Enrique Romero Alfaro          $12.00   72.03   $   11.00               $   192.20   $   192.20
  1/12/2020 Miguel Enrique Romero Alfaro          $12.00   71.65   $   11.00               $   189.90   $   189.90
  1/19/2020 Miguel Enrique Romero Alfaro          $12.00   67.58   $   11.00               $   165.50   $   165.50
  1/26/2020 Miguel Enrique Romero Alfaro          $12.00   68.77   $   11.00               $   172.60   $   172.60
  12/8/2019 Miguel Espinosa Jimenez               $10.00   67.40   $   10.00               $   137.00   $   137.00
 12/15/2019 Miguel Espinosa Jimenez               $10.00   58.17   $   10.00               $    90.83   $    90.83
 12/22/2019 Miguel Espinosa Jimenez               $10.00   70.65   $   10.00               $   153.25   $   153.25
   1/5/2020 Miguel Espinosa Jimenez               $10.00   59.78   $   11.00   $   59.78   $   108.81   $   168.59
  1/12/2020 Miguel Espinosa Jimenez               $10.00   69.17   $   11.00   $   69.17   $   160.42   $   229.58
  1/19/2020 Miguel Espinosa Jimenez               $10.00   68.50   $   11.00   $   68.50   $   156.75   $   225.25
  1/26/2020 Miguel Espinosa Jimenez               $10.00   47.85   $   11.00   $   47.85   $    43.18   $    91.03



                                                    483
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 485 of 683 PageID: 1332
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  3/31/2019 Miguel Hernandez                 $10.00   55.50   $    8.85         $    77.50   $     77.50
  4/14/2019 Miguel Hernandez                 $10.00   69.68   $    8.85         $   148.42   $    148.42
  4/21/2019 Miguel Hernandez                 $10.00   71.37   $    8.85         $   156.83   $    156.83
  4/28/2019 Miguel Hernandez                 $10.00   72.17   $    8.85         $   160.83   $    160.83
   5/5/2019 Miguel Hernandez                 $10.00   76.62   $    8.85         $   183.08   $    183.08
  5/12/2019 Miguel Hernandez                 $10.00   76.52   $    8.85         $   182.58   $    182.58
  5/19/2019 Miguel Hernandez                 $10.00   74.63   $    8.85         $   173.17   $    173.17
  5/26/2019 Miguel Hernandez                 $10.00   74.45   $    8.85         $   172.25   $    172.25
   6/2/2019 Miguel Hernandez                 $10.00   74.93   $    8.85         $   174.67   $    174.67
   6/9/2019 Miguel Hernandez                 $10.00   73.90   $    8.85         $   169.50   $    169.50
  6/16/2019 Miguel Hernandez                 $10.00   73.53   $    8.85         $   167.67   $    167.67
  6/23/2019 Miguel Hernandez                 $10.00   75.02   $    8.85         $   175.08   $    175.08
  6/30/2019 Miguel Hernandez                 $10.00   75.27   $   10.00         $   176.33   $    176.33
   7/7/2019 Miguel Hernandez                 $10.00   74.02   $   10.00         $   170.08   $    170.08
  7/14/2019 Miguel Hernandez                 $10.00   76.25   $   10.00         $   181.25   $    181.25
  7/21/2019 Miguel Hernandez                 $10.00   74.87   $   10.00         $   174.33   $    174.33
  7/28/2019 Miguel Hernandez                 $10.00   75.12   $   10.00         $   175.58   $    175.58
   8/4/2019 Miguel Hernandez                 $10.00   77.48   $   10.00         $   187.42   $    187.42
  8/11/2019 Miguel Hernandez                 $10.00   67.25   $   10.00         $   136.25   $    136.25
  8/18/2019 Miguel Hernandez                 $10.00   63.83   $   10.00         $   119.17   $    119.17
  8/25/2019 Miguel Hernandez                 $10.00   74.45   $   10.00         $   172.25   $    172.25
   9/1/2019 Miguel Hernandez                 $10.00   75.40   $   10.00         $   177.00   $    177.00
   9/8/2019 Miguel Hernandez                 $10.00   74.97   $   10.00         $   174.83   $    174.83
  4/15/2018 Miguel Martinez                  $11.50   71.55   $    8.60         $   181.41   $    181.41
  4/22/2018 Miguel Martinez                  $11.50   68.40   $    8.60         $   163.30   $    163.30
  4/29/2018 Miguel Martinez                  $11.50   59.97   $    8.60         $   114.81   $    114.81
   5/6/2018 Miguel Martinez                  $11.50   60.82   $    8.60         $   119.70   $    119.70
  5/13/2018 Miguel Martinez                  $11.50   65.47   $    8.60         $   146.43   $    146.43
  5/20/2018 Miguel Martinez                  $11.50   68.92   $    8.60         $   166.27   $    166.27
  5/27/2018 Miguel Martinez                  $11.50   55.95   $    8.60         $    91.71   $     91.71
   6/3/2018 Miguel Martinez                  $11.50   63.48   $    8.60         $   135.03   $    135.03
  6/10/2018 Miguel Martinez                  $11.50   57.62   $    8.60         $   101.30   $    101.30
  6/17/2018 Miguel Martinez                  $11.50   66.72   $    8.60         $   153.62   $    153.62
  6/24/2018 Miguel Martinez                  $11.50   63.47   $    8.60         $   134.93   $    134.93
   7/1/2018 Miguel Martinez                  $11.50   71.53   $    8.60         $   181.32   $    181.32
   7/8/2018 Miguel Martinez                  $11.50   50.77   $    8.60         $    61.91   $     61.91
  7/15/2018 Miguel Martinez                  $11.50   62.23   $    8.60         $   127.84   $    127.84
  7/22/2018 Miguel Martinez                  $11.50   63.12   $    8.60         $   132.92   $    132.92
  7/29/2018 Miguel Martinez                  $11.50   69.32   $    8.60         $   168.57   $    168.57
   8/5/2018 Miguel Martinez                  $11.50   65.82   $    8.60         $   148.45   $    148.45
  8/12/2018 Miguel Martinez                  $11.50   61.68   $    8.60         $   124.68   $    124.68
  8/19/2018 Miguel Martinez                  $11.50   65.78   $    8.60         $   148.25   $    148.25
  8/26/2018 Miguel Martinez                  $11.50   57.55   $    8.60         $   100.91   $    100.91
   9/2/2018 Miguel Martinez                  $11.50   65.92   $    8.60         $   149.02   $    149.02
   9/9/2018 Miguel Martinez                  $11.50   61.68   $    8.60         $   124.68   $    124.68
  9/16/2018 Miguel Martinez                  $11.50   68.98   $    8.60         $   166.65   $    166.65
  9/23/2018 Miguel Martinez                  $11.50   51.75   $    8.60         $    67.56   $     67.56
  9/30/2018 Miguel Martinez                  $11.50   55.63   $    8.60         $    89.89   $     89.89
  10/7/2018 Miguel Martinez                  $11.50   61.67   $    8.60         $   124.58   $    124.58
 10/14/2018 Miguel Martinez                  $11.50   50.90   $    8.60         $    62.68   $     62.68



                                               484
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 486 of 683 PageID: 1333
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

 10/21/2018 Miguel Martinez                 $11.50   67.15   $    8.60         $   156.11   $    156.11
 10/28/2018 Miguel Martinez                 $11.50   50.23   $    8.60         $    58.84   $     58.84
  11/4/2018 Miguel Martinez                 $11.50   61.30   $    8.60         $   122.48   $    122.48
 11/11/2018 Miguel Martinez                 $11.25   48.17   $    8.60         $    45.94   $     45.94
  3/10/2019 Miguel Martinez                 $11.50   51.38   $    8.85         $    65.45   $     65.45
  3/17/2019 Miguel Martinez                 $11.50   51.33   $    8.85         $    65.17   $     65.17
  3/24/2019 Miguel Martinez                 $11.50   57.40   $    8.85         $   100.05   $    100.05
  3/31/2019 Miguel Martinez                 $11.50   54.13   $    8.85         $    81.27   $     81.27
   4/7/2019 Miguel Martinez                 $11.50   57.88   $    8.85         $   102.83   $    102.83
  4/14/2019 Miguel Martinez                 $11.50   55.62   $    8.85         $    89.80   $     89.80
  4/21/2019 Miguel Martinez                 $11.50   63.45   $    8.85         $   134.84   $    134.84
  4/28/2019 Miguel Martinez                 $11.50   60.47   $    8.85         $   117.68   $    117.68
   5/5/2019 Miguel Martinez                 $11.50   56.25   $    8.85         $    93.44   $     93.44
  5/12/2019 Miguel Martinez                 $11.50   63.53   $    8.85         $   135.32   $    135.32
  5/19/2019 Miguel Martinez                 $11.50   62.57   $    8.85         $   129.76   $    129.76
  5/26/2019 Miguel Martinez                 $11.50   60.57   $    8.85         $   118.26   $    118.26
   6/2/2019 Miguel Martinez                 $11.50   59.28   $    8.85         $   110.88   $    110.88
   6/9/2019 Miguel Martinez                 $11.50   56.70   $    8.85         $    96.03   $     96.03
  6/23/2019 Miguel Martinez                 $11.50   45.60   $    8.85         $    32.20   $     32.20
   7/7/2019 Miguel Martinez                 $11.50   45.92   $   10.00         $    34.02   $     34.02
  7/14/2019 Miguel Martinez                 $11.50   68.58   $   10.00         $   164.35   $    164.35
  7/21/2019 Miguel Martinez                 $11.50   64.97   $   10.00         $   143.56   $    143.56
  7/28/2019 Miguel Martinez                 $11.50   65.62   $   10.00         $   147.30   $    147.30
   8/4/2019 Miguel Martinez                 $12.50   57.67   $   10.00         $   110.42   $    110.42
  8/18/2019 Miguel Padilla                  $11.00   62.80   $   10.00         $   125.40   $    125.40
   9/8/2019 Miguel Padilla                  $11.00   58.77   $   10.00         $   103.22   $    103.22
  9/15/2019 Miguel Padilla                  $11.00   60.85   $   10.00         $   114.68   $    114.68
  9/22/2019 Miguel Padilla                  $11.00   59.88   $   10.00         $   109.36   $    109.36
  9/29/2019 Miguel Padilla                  $11.00   49.98   $   10.00         $    54.91   $     54.91
  10/6/2019 Miguel Padilla                  $11.00   59.57   $   10.00         $   107.62   $    107.62
 10/13/2019 Miguel Padilla                  $11.00   48.72   $   10.00         $    47.94   $     47.94
 10/20/2019 Miguel Padilla                  $11.00   58.25   $   10.00         $   100.38   $    100.38
 10/27/2019 Miguel Padilla                  $11.00   49.65   $   10.00         $    53.08   $     53.08
  11/3/2019 Miguel Padilla                  $11.00   59.52   $   10.00         $   107.34   $    107.34
 11/10/2019 Miguel Padilla                  $11.00   55.27   $   10.00         $    83.97   $     83.97
 11/17/2019 Miguel Padilla                  $11.00   40.15   $   10.00         $     0.82   $      0.82
  12/8/2019 Miguel Padilla                  $11.00   48.93   $   10.00         $    49.13   $     49.13
   2/5/2017 Miguel Rivera                   $12.50   65.37   $    8.44         $   158.54   $    158.54
  2/12/2017 Miguel Rivera                   $12.50   66.80   $    8.44         $   167.50   $    167.50
  2/19/2017 Miguel Rivera                   $12.50   63.77   $    8.44         $   148.54   $    148.54
  2/26/2017 Miguel Rivera                   $12.50   69.18   $    8.44         $   182.40   $    182.40
   3/5/2017 Miguel Rivera                   $12.50   69.52   $    8.44         $   184.48   $    184.48
  3/19/2017 Miguel Rivera                   $12.50   68.67   $    8.44         $   179.17   $    179.17
  3/26/2017 Miguel Rivera                   $12.50   56.65   $    8.44         $   104.06   $    104.06
   4/2/2017 Miguel Rivera                   $12.50   69.18   $    8.44         $   182.40   $    182.40
   4/9/2017 Miguel Rivera                   $12.50   69.63   $    8.44         $   185.21   $    185.21
  4/16/2017 Miguel Rivera                   $12.50   66.25   $    8.44         $   164.06   $    164.06
  4/23/2017 Miguel Rivera                   $12.50   68.88   $    8.44         $   180.52   $    180.52
  4/30/2017 Miguel Rivera                   $12.50   69.47   $    8.44         $   184.17   $    184.17
   5/7/2017 Miguel Rivera                   $12.50   59.27   $    8.44         $   120.42   $    120.42



                                              485
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 487 of 683 PageID: 1334
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

  5/14/2017 Miguel Rivera                 $12.50   69.57   $   8.44          $   184.79   $    184.79
  5/21/2017 Miguel Rivera                 $12.50   67.53   $   8.44          $   172.08   $    172.08
  5/28/2017 Miguel Rivera                 $12.50   69.45   $   8.44          $   184.06   $    184.06
   6/4/2017 Miguel Rivera                 $12.50   58.37   $   8.44          $   114.79   $    114.79
  6/11/2017 Miguel Rivera                 $12.50   48.73   $   8.44          $    54.58   $     54.58
  6/18/2017 Miguel Rivera                 $12.50   69.82   $   8.44          $   186.35   $    186.35
  6/25/2017 Miguel Rivera                 $12.50   58.65   $   8.44          $   116.56   $    116.56
   7/2/2017 Miguel Rivera                 $12.50   59.28   $   8.44          $   120.52   $    120.52
  7/16/2017 Miguel Rivera                 $12.50   70.00   $   8.44          $   187.50   $    187.50
  7/23/2017 Miguel Rivera                 $12.50   59.35   $   8.44          $   120.94   $    120.94
   8/6/2017 Miguel Rivera                 $12.50   57.70   $   8.44          $   110.63   $    110.63
  8/13/2017 Miguel Rivera                 $12.50   69.33   $   8.44          $   183.33   $    183.33
  8/20/2017 Miguel Rivera                 $12.50   69.10   $   8.44          $   181.88   $    181.88
  8/27/2017 Miguel Rivera                 $12.50   69.42   $   8.44          $   183.85   $    183.85
   9/3/2017 Miguel Rivera                 $12.50   66.57   $   8.44          $   166.04   $    166.04
  9/10/2017 Miguel Rivera                 $12.50   67.55   $   8.44          $   172.19   $    172.19
  9/17/2017 Miguel Rivera                 $12.50   69.48   $   8.44          $   184.27   $    184.27
  9/24/2017 Miguel Rivera                 $12.50   69.57   $   8.44          $   184.79   $    184.79
  10/1/2017 Miguel Rivera                 $12.50   69.22   $   8.44          $   182.60   $    182.60
  10/8/2017 Miguel Rivera                 $12.50   69.72   $   8.44          $   185.73   $    185.73
 10/15/2017 Miguel Rivera                 $12.50   58.17   $   8.44          $   113.54   $    113.54
 10/22/2017 Miguel Rivera                 $12.50   69.78   $   8.44          $   186.15   $    186.15
 10/29/2017 Miguel Rivera                 $12.50   69.90   $   8.44          $   186.88   $    186.88
  11/5/2017 Miguel Rivera                 $12.50   69.45   $   8.44          $   184.06   $    184.06
 11/12/2017 Miguel Rivera                 $12.50   45.73   $   8.44          $    35.83   $     35.83
 11/19/2017 Miguel Rivera                 $12.50   67.67   $   8.44          $   172.92   $    172.92
 11/26/2017 Miguel Rivera                 $12.50   54.42   $   8.44          $    90.10   $     90.10
  12/3/2017 Miguel Rivera                 $12.50   67.23   $   8.44          $   170.21   $    170.21
 12/10/2017 Miguel Rivera                 $12.50   66.63   $   8.44          $   166.46   $    166.46
 12/17/2017 Miguel Rivera                 $12.50   66.68   $   8.44          $   166.77   $    166.77
 12/24/2017 Miguel Rivera                 $12.50   61.77   $   8.44          $   136.04   $    136.04
 12/31/2017 Miguel Rivera                 $12.50   54.70   $   8.44          $    91.88   $     91.88
  1/14/2018 Miguel Rivera                 $12.50   66.30   $   8.60          $   164.38   $    164.38
  1/21/2018 Miguel Rivera                 $12.50   65.73   $   8.60          $   160.83   $    160.83
  1/28/2018 Miguel Rivera                 $12.50   66.42   $   8.60          $   165.10   $    165.10
   2/4/2018 Miguel Rivera                 $12.50   57.72   $   8.60          $   110.73   $    110.73
  2/11/2018 Miguel Rivera                 $12.50   66.80   $   8.60          $   167.50   $    167.50
  2/18/2018 Miguel Rivera                 $12.50   65.82   $   8.60          $   161.35   $    161.35
  2/25/2018 Miguel Rivera                 $12.50   45.28   $   8.60          $    33.02   $     33.02
   3/4/2018 Miguel Rivera                 $12.50   57.07   $   8.60          $   106.67   $    106.67
  3/25/2018 Miguel Rivera                 $12.50   56.18   $   8.60          $   101.15   $    101.15
  4/29/2018 Miguel Rivera                 $12.50   57.37   $   8.60          $   108.54   $    108.54
   5/6/2018 Miguel Rivera                 $12.50   57.18   $   8.60          $   107.40   $    107.40
  5/13/2018 Miguel Rivera                 $12.50   56.25   $   8.60          $   101.56   $    101.56
  5/20/2018 Miguel Rivera                 $12.50   56.80   $   8.60          $   105.00   $    105.00
  5/27/2018 Miguel Rivera                 $12.50   54.95   $   8.60          $    93.44   $     93.44
   6/3/2018 Miguel Rivera                 $12.50   45.15   $   8.60          $    32.19   $     32.19
  6/10/2018 Miguel Rivera                 $12.50   56.95   $   8.60          $   105.94   $    105.94
  6/17/2018 Miguel Rivera                 $12.50   43.77   $   8.60          $    23.54   $     23.54
   7/1/2018 Miguel Rivera                 $12.50   54.98   $   8.60          $    93.65   $     93.65



                                            486
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 488 of 683 PageID: 1335
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

   7/8/2018 Miguel Rivera                  $12.50   44.97   $   8.60          $    31.04   $     31.04
  7/15/2018 Miguel Rivera                  $12.50   56.07   $   8.60          $   100.42   $    100.42
  7/22/2018 Miguel Rivera                  $12.50   57.18   $   8.60          $   107.40   $    107.40
  7/29/2018 Miguel Rivera                  $12.50   56.43   $   8.60          $   102.71   $    102.71
   8/5/2018 Miguel Rivera                  $12.50   54.33   $   8.60          $    89.58   $     89.58
  8/12/2018 Miguel Rivera                  $12.50   55.55   $   8.60          $    97.19   $     97.19
  8/19/2018 Miguel Rivera                  $12.50   56.85   $   8.60          $   105.31   $    105.31
  8/26/2018 Miguel Rivera                  $12.50   56.68   $   8.60          $   104.27   $    104.27
   9/2/2018 Miguel Rivera                  $12.50   57.12   $   8.60          $   106.98   $    106.98
   9/9/2018 Miguel Rivera                  $12.50   52.28   $   8.60          $    76.77   $     76.77
  9/16/2018 Miguel Rivera                  $12.50   56.48   $   8.60          $   103.02   $    103.02
  9/23/2018 Miguel Rivera                  $12.50   56.55   $   8.60          $   103.44   $    103.44
  9/30/2018 Miguel Rivera                  $12.50   56.68   $   8.60          $   104.27   $    104.27
  10/7/2018 Miguel Rivera                  $12.50   56.80   $   8.60          $   105.00   $    105.00
 10/14/2018 Miguel Rivera                  $12.50   55.93   $   8.60          $    99.58   $     99.58
 10/21/2018 Miguel Rivera                  $12.50   56.83   $   8.60          $   105.21   $    105.21
 10/28/2018 Miguel Rivera                  $12.50   56.95   $   8.60          $   105.94   $    105.94
  11/4/2018 Miguel Rivera                  $12.50   56.52   $   8.60          $   103.23   $    103.23
 11/11/2018 Miguel Rivera                  $12.50   56.45   $   8.60          $   102.81   $    102.81
 11/18/2018 Miguel Rivera                  $12.50   56.75   $   8.60          $   104.69   $    104.69
 11/25/2018 Miguel Rivera                  $12.50   45.10   $   8.60          $    31.88   $     31.88
  12/2/2018 Miguel Rivera                  $12.50   56.77   $   8.60          $   104.79   $    104.79
  12/9/2018 Miguel Rivera                  $12.50   56.13   $   8.60          $   100.83   $    100.83
 12/16/2018 Miguel Rivera                  $12.50   56.82   $   8.60          $   105.10   $    105.10
 12/23/2018 Miguel Rivera                  $12.50   45.63   $   8.60          $    35.21   $     35.21
   1/6/2019 Miguel Rivera                  $12.50   43.15   $   8.85          $    19.69   $     19.69
  1/27/2019 Miguel Rivera                  $12.50   56.97   $   8.85          $   106.04   $    106.04
   2/3/2019 Miguel Rivera                  $12.50   57.00   $   8.85          $   106.25   $    106.25
  2/10/2019 Miguel Rivera                  $12.50   55.52   $   8.85          $    96.98   $     96.98
  2/17/2019 Miguel Rivera                  $12.50   55.63   $   8.85          $    97.71   $     97.71
  2/24/2019 Miguel Rivera                  $12.50   55.88   $   8.85          $    99.27   $     99.27
   3/3/2019 Miguel Rivera                  $12.50   55.87   $   8.85          $    99.17   $     99.17
  3/10/2019 Miguel Rivera                  $12.50   55.62   $   8.85          $    97.60   $     97.60
  3/17/2019 Miguel Rivera                  $12.50   55.32   $   8.85          $    95.73   $     95.73
  3/24/2019 Miguel Rivera                  $12.50   55.55   $   8.85          $    97.19   $     97.19
  3/31/2019 Miguel Rivera                  $12.50   55.62   $   8.85          $    97.60   $     97.60
   4/7/2019 Miguel Rivera                  $12.50   55.12   $   8.85          $    94.48   $     94.48
  4/14/2019 Miguel Rivera                  $12.50   55.82   $   8.85          $    98.85   $     98.85
  4/21/2019 Miguel Rivera                  $12.50   55.82   $   8.85          $    98.85   $     98.85
  4/28/2019 Miguel Rivera                  $12.50   55.87   $   8.85          $    99.17   $     99.17
   5/5/2019 Miguel Rivera                  $12.50   55.77   $   8.85          $    98.54   $     98.54
  5/12/2019 Miguel Rivera                  $12.50   55.47   $   8.85          $    96.67   $     96.67
  5/19/2019 Miguel Rivera                  $12.50   55.50   $   8.85          $    96.88   $     96.88
  5/26/2019 Miguel Rivera                  $12.50   55.45   $   8.85          $    96.56   $     96.56
   6/2/2019 Miguel Rivera                  $12.50   44.13   $   8.85          $    25.83   $     25.83
   6/9/2019 Miguel Rivera                  $12.50   45.83   $   8.85          $    36.46   $     36.46
   2/5/2017 Miguel Santana                  $9.00   63.32   $   8.44          $   104.93   $    104.93
  2/12/2017 Miguel Santana                  $9.00   60.38   $   8.44          $    91.73   $     91.73
  2/19/2017 Miguel Santana                  $9.00   63.65   $   8.44          $   106.43   $    106.43
  2/26/2017 Miguel Santana                  $9.00   64.40   $   8.44          $   109.80   $    109.80



                                             487
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 489 of 683 PageID: 1336
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

   3/5/2017 Miguel Santana                  $9.00   61.82   $   8.44          $    98.18   $     98.18
  3/12/2017 Miguel Santana                  $9.00   63.35   $   8.44          $   105.08   $    105.08
  3/19/2017 Miguel Santana                  $9.00   53.03   $   8.44          $    58.65   $     58.65
  3/26/2017 Miguel Santana                  $9.00   64.92   $   8.44          $   112.13   $    112.13
   4/2/2017 Miguel Santana                  $9.00   63.93   $   8.44          $   107.70   $    107.70
   4/9/2017 Miguel Santana                  $9.00   63.83   $   8.44          $   107.25   $    107.25
  4/16/2017 Miguel Santana                  $9.00   66.70   $   8.44          $   120.15   $    120.15
  4/23/2017 Miguel Santana                  $9.00   63.65   $   8.44          $   106.43   $    106.43
  4/30/2017 Miguel Santana                  $9.00   63.95   $   8.44          $   107.78   $    107.78
   5/7/2017 Miguel Santana                  $9.00   62.80   $   8.44          $   102.60   $    102.60
  5/14/2017 Miguel Santana                  $9.00   63.80   $   8.44          $   107.10   $    107.10
  5/21/2017 Miguel Santana                  $9.00   61.55   $   8.44          $    96.98   $     96.98
  5/28/2017 Miguel Santana                  $9.00   65.10   $   8.44          $   112.95   $    112.95
   6/4/2017 Miguel Santana                  $9.00   66.15   $   8.44          $   117.68   $    117.68
  6/11/2017 Miguel Santana                  $9.00   61.42   $   8.44          $    96.38   $     96.38
  6/25/2017 Miguel Santana                  $9.00   62.07   $   8.44          $    99.30   $     99.30
   7/2/2017 Miguel Santana                  $9.00   70.60   $   8.44          $   137.70   $    137.70
   7/9/2017 Miguel Santana                  $9.00   60.17   $   8.44          $    90.75   $     90.75
  7/16/2017 Miguel Santana                  $9.00   63.92   $   8.44          $   107.63   $    107.63
  7/23/2017 Miguel Santana                  $9.00   62.82   $   8.44          $   102.68   $    102.68
  7/30/2017 Miguel Santana                  $9.00   62.38   $   8.44          $   100.73   $    100.73
   8/6/2017 Miguel Santana                  $9.00   63.87   $   8.44          $   107.40   $    107.40
  8/13/2017 Miguel Santana                  $9.00   63.23   $   8.44          $   104.55   $    104.55
  8/20/2017 Miguel Santana                  $9.00   64.65   $   8.44          $   110.93   $    110.93
  8/27/2017 Miguel Santana                  $9.00   62.42   $   8.44          $   100.88   $    100.88
   9/3/2017 Miguel Santana                  $9.00   63.17   $   8.44          $   104.25   $    104.25
  9/10/2017 Miguel Santana                  $9.00   63.48   $   8.44          $   105.68   $    105.68
  9/17/2017 Miguel Santana                  $9.00   62.85   $   8.44          $   102.83   $    102.83
  9/24/2017 Miguel Santana                  $9.00   62.02   $   8.44          $    99.08   $     99.08
  10/1/2017 Miguel Santana                  $9.00   63.48   $   8.44          $   105.68   $    105.68
  10/8/2017 Miguel Santana                  $9.00   62.42   $   8.44          $   100.88   $    100.88
 10/15/2017 Miguel Santana                  $9.00   62.73   $   8.44          $   102.30   $    102.30
 10/22/2017 Miguel Santana                  $9.00   62.53   $   8.44          $   101.40   $    101.40
 10/29/2017 Miguel Santana                  $9.00   63.62   $   8.44          $   106.28   $    106.28
  11/5/2017 Miguel Santana                  $9.00   56.55   $   8.44          $    74.48   $     74.48
 11/12/2017 Miguel Santana                  $9.00   61.70   $   8.44          $    97.65   $     97.65
 11/19/2017 Miguel Santana                  $9.00   62.25   $   8.44          $   100.13   $    100.13
 11/26/2017 Miguel Santana                  $9.00   53.30   $   8.44          $    59.85   $     59.85
  12/3/2017 Miguel Santana                  $9.00   64.82   $   8.44          $   111.68   $    111.68
 12/10/2017 Miguel Santana                  $9.00   62.00   $   8.44          $    99.00   $     99.00
 12/17/2017 Miguel Santana                  $9.00   58.88   $   8.44          $    84.98   $     84.98
 12/24/2017 Miguel Santana                  $9.00   63.35   $   8.44          $   105.08   $    105.08
 12/31/2017 Miguel Santana                  $9.00   51.57   $   8.44          $    52.05   $     52.05
   1/7/2018 Miguel Santana                  $9.00   62.32   $   8.60          $   100.43   $    100.43
  1/14/2018 Miguel Santana                  $9.00   61.22   $   8.60          $    95.48   $     95.48
  1/21/2018 Miguel Santana                  $9.00   64.05   $   8.60          $   108.23   $    108.23
  1/28/2018 Miguel Santana                  $9.00   62.38   $   8.60          $   100.73   $    100.73
   2/4/2018 Miguel Santana                  $9.00   64.12   $   8.60          $   108.53   $    108.53
  2/11/2018 Miguel Santana                  $9.00   63.82   $   8.60          $   107.18   $    107.18
  2/18/2018 Miguel Santana                  $9.00   62.52   $   8.60          $   101.33   $    101.33



                                             488
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 490 of 683 PageID: 1337
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

  2/25/2018 Miguel Santana                  $9.00   63.90   $   8.60          $   107.55   $    107.55
   3/4/2018 Miguel Santana                  $9.00   64.15   $   8.60          $   108.68   $    108.68
  3/25/2018 Miguel Santana                  $9.00   61.25   $   8.60          $    95.63   $     95.63
   4/1/2018 Miguel Santana                  $9.00   64.03   $   8.60          $   108.15   $    108.15
   4/8/2018 Miguel Santana                  $9.00   63.13   $   8.60          $   104.10   $    104.10
  4/15/2018 Miguel Santana                  $9.00   64.58   $   8.60          $   110.63   $    110.63
  4/22/2018 Miguel Santana                  $9.00   64.28   $   8.60          $   109.28   $    109.28
  4/29/2018 Miguel Santana                  $9.00   61.58   $   8.60          $    97.13   $     97.13
   5/6/2018 Miguel Santana                  $9.00   61.78   $   8.60          $    98.03   $     98.03
  5/13/2018 Miguel Santana                  $9.00   61.47   $   8.60          $    96.60   $     96.60
  5/20/2018 Miguel Santana                  $9.00   61.85   $   8.60          $    98.33   $     98.33
  5/27/2018 Miguel Santana                  $9.00   65.27   $   8.60          $   113.70   $    113.70
   6/3/2018 Miguel Santana                  $9.00   63.48   $   8.60          $   105.68   $    105.68
  6/10/2018 Miguel Santana                  $9.00   61.83   $   8.60          $    98.25   $     98.25
  6/17/2018 Miguel Santana                  $9.00   61.22   $   8.60          $    95.48   $     95.48
  6/24/2018 Miguel Santana                  $9.00   60.65   $   8.60          $    92.93   $     92.93
   7/1/2018 Miguel Santana                  $9.00   60.20   $   8.60          $    90.90   $     90.90
   7/8/2018 Miguel Santana                  $9.00   58.40   $   8.60          $    82.80   $     82.80
  7/15/2018 Miguel Santana                  $9.00   61.30   $   8.60          $    95.85   $     95.85
  7/22/2018 Miguel Santana                  $9.00   51.52   $   8.60          $    51.83   $     51.83
  7/29/2018 Miguel Santana                  $9.00   61.10   $   8.60          $    94.95   $     94.95
   8/5/2018 Miguel Santana                  $9.00   60.20   $   8.60          $    90.90   $     90.90
  8/12/2018 Miguel Santana                  $9.00   61.02   $   8.60          $    94.58   $     94.58
  8/19/2018 Miguel Santana                  $9.00   61.33   $   8.60          $    96.00   $     96.00
  8/26/2018 Miguel Santana                  $9.00   61.22   $   8.60          $    95.48   $     95.48
   9/2/2018 Miguel Santana                  $9.00   63.20   $   8.60          $   104.40   $    104.40
   9/9/2018 Miguel Santana                  $9.00   60.43   $   8.60          $    91.95   $     91.95
  9/16/2018 Miguel Santana                  $9.00   60.68   $   8.60          $    93.08   $     93.08
  9/23/2018 Miguel Santana                  $9.00   61.38   $   8.60          $    96.23   $     96.23
  9/30/2018 Miguel Santana                  $9.00   61.43   $   8.60          $    96.45   $     96.45
  10/7/2018 Miguel Santana                  $9.00   59.73   $   8.60          $    88.80   $     88.80
 10/14/2018 Miguel Santana                  $9.00   50.42   $   8.60          $    46.88   $     46.88
 10/21/2018 Miguel Santana                  $9.00   51.43   $   8.60          $    51.45   $     51.45
 10/28/2018 Miguel Santana                  $9.00   61.55   $   8.60          $    96.98   $     96.98
  11/4/2018 Miguel Santana                  $9.00   60.88   $   8.60          $    93.98   $     93.98
 11/11/2018 Miguel Santana                  $9.00   60.48   $   8.60          $    92.17   $     92.17
 11/18/2018 Miguel Santana                  $9.00   59.83   $   8.60          $    89.25   $     89.25
 11/25/2018 Miguel Santana                  $9.00   51.02   $   8.60          $    49.58   $     49.58
  12/2/2018 Miguel Santana                  $9.00   61.95   $   8.60          $    98.78   $     98.78
  12/9/2018 Miguel Santana                  $9.00   60.52   $   8.60          $    92.33   $     92.33
 12/16/2018 Miguel Santana                  $9.00   61.22   $   8.60          $    95.48   $     95.48
 12/23/2018 Miguel Santana                  $9.00   60.53   $   8.60          $    92.40   $     92.40
 12/30/2018 Miguel Santana                  $9.00   40.55   $   8.60          $     2.48   $      2.48
   1/6/2019 Miguel Santana                  $9.00   57.52   $   8.85          $    78.83   $     78.83
  1/13/2019 Miguel Santana                  $9.00   59.63   $   8.85          $    88.35   $     88.35
  1/20/2019 Miguel Santana                  $9.00   61.02   $   8.85          $    94.58   $     94.58
  1/27/2019 Miguel Santana                  $9.00   61.53   $   8.85          $    96.90   $     96.90
   2/3/2019 Miguel Santana                  $9.00   61.30   $   8.85          $    95.85   $     95.85
  2/10/2019 Miguel Santana                  $9.00   60.47   $   8.85          $    92.10   $     92.10
  2/17/2019 Miguel Santana                  $9.00   50.92   $   8.85          $    49.13   $     49.13



                                             489
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 491 of 683 PageID: 1338
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

  2/24/2019 Miguel Santana                  $9.00   61.08   $    8.85                $    94.88   $    94.88
   3/3/2019 Miguel Santana                  $9.00   60.78   $    8.85                $    93.53   $    93.53
  3/10/2019 Miguel Santana                  $9.00   51.57   $    8.85                $    52.05   $    52.05
  3/17/2019 Miguel Santana                  $9.00   61.30   $    8.85                $    95.85   $    95.85
  3/24/2019 Miguel Santana                  $9.00   60.88   $    8.85                $    93.98   $    93.98
  3/31/2019 Miguel Santana                  $9.00   59.60   $    8.85                $    88.20   $    88.20
   4/7/2019 Miguel Santana                  $9.00   50.50   $    8.85                $    47.25   $    47.25
  4/14/2019 Miguel Santana                  $9.00   49.90   $    8.85                $    44.55   $    44.55
  4/21/2019 Miguel Santana                  $9.00   57.97   $    8.85                $    80.85   $    80.85
  4/28/2019 Miguel Santana                  $9.00   49.57   $    8.85                $    43.05   $    43.05
   5/5/2019 Miguel Santana                  $9.00   60.87   $    8.85                $    93.90   $    93.90
  5/12/2019 Miguel Santana                  $9.00   60.22   $    8.85                $    90.98   $    90.98
  5/19/2019 Miguel Santana                  $9.00   58.40   $    8.85                $    82.80   $    82.80
  5/26/2019 Miguel Santana                  $9.00   60.75   $    8.85                $    93.38   $    93.38
   6/2/2019 Miguel Santana                  $9.00   49.77   $    8.85                $    43.95   $    43.95
   6/9/2019 Miguel Santana                  $9.00   60.07   $    8.85                $    90.30   $    90.30
  6/16/2019 Miguel Santana                  $9.00   50.12   $    8.85                $    45.53   $    45.53
  6/23/2019 Miguel Santana                  $9.00   40.17   $    8.85                $     0.75   $     0.75
  6/30/2019 Miguel Santana                  $9.00   62.67   $   10.00   $    62.67   $   113.33   $   176.00
   7/7/2019 Miguel Santana                  $9.00   48.50   $   10.00   $    48.50   $    42.50   $    91.00
  8/18/2019 Miguel Santana                  $9.00   49.03   $   10.00   $    49.03   $    45.17   $    94.20
  8/25/2019 Miguel Santana                  $9.00   58.72   $   10.00   $    58.72   $    93.58   $   152.30
   9/1/2019 Miguel Santana                  $9.00   50.57   $   10.00   $    50.57   $    52.83   $   103.40
  9/15/2019 Miguel Santana                  $9.00   57.40   $   10.00   $    57.40   $    87.00   $   144.40
  9/22/2019 Miguel Santana                  $9.00   47.85   $   10.00   $    47.85   $    39.25   $    87.10
  9/29/2019 Miguel Santana                  $9.00   48.62   $   10.00   $    48.62   $    43.08   $    91.70
  10/6/2019 Miguel Santana                  $9.00   49.12   $   10.00   $    49.12   $    45.58   $    94.70
  11/3/2019 Miguel Santana                 $11.00   57.10   $   10.00                $    94.05   $    94.05
 11/10/2019 Miguel Santana                 $11.00   58.35   $   10.00                $   100.93   $   100.93
 11/17/2019 Miguel Santana                 $11.00   58.75   $   10.00                $   103.13   $   103.13
 11/24/2019 Miguel Santana                 $11.00   57.57   $   10.00                $    96.62   $    96.62
  12/8/2019 Miguel Santana                 $11.00   52.02   $   10.00                $    66.09   $    66.09
 12/15/2019 Miguel Santana                  $9.00   47.82   $   10.00   $    47.82   $    39.08   $    86.90
 12/22/2019 Miguel Santana                  $9.00   40.68   $   10.00   $    40.68   $     3.42   $    44.10
 12/29/2019 Miguel Santana                  $9.00   41.35   $   10.00   $    41.35   $     6.75   $    48.10
   1/5/2020 Miguel Santana                  $9.00   58.67   $   11.00   $   117.33   $   102.67   $   220.00
  1/12/2020 Miguel Santana                  $9.00   51.43   $   11.00   $   102.87   $    62.88   $   165.75
  1/19/2020 Miguel Santana                  $9.00   56.47   $   11.00   $   112.93   $    90.57   $   203.50
  1/26/2020 Miguel Santana                  $9.00   56.20   $   11.00   $   112.40   $    89.10   $   201.50
   1/5/2020 Miguel Tejada                  $11.00   47.85   $   11.00                $    43.18   $    43.18
  1/12/2020 Miguel Tejada                  $11.00   60.95   $   11.00                $   115.23   $   115.23
  1/19/2020 Miguel Tejada                  $11.00   50.58   $   11.00                $    58.21   $    58.21
  1/26/2020 Miguel Tejada                  $11.00   56.38   $   11.00                $    90.11   $    90.11
   2/5/2017 Miguel Vela                     $9.00   50.28   $    8.44                $    46.28   $    46.28
  2/12/2017 Miguel Vela                     $9.00   50.30   $    8.44                $    46.35   $    46.35
  2/19/2017 Miguel Vela                     $9.00   57.13   $    8.44                $    77.10   $    77.10
  2/26/2017 Miguel Vela                     $9.00   60.07   $    8.44                $    90.30   $    90.30
  7/30/2017 Miguel Vela                     $9.50   51.22   $    8.44                $    53.28   $    53.28
   8/6/2017 Miguel Vela                     $9.50   62.33   $    8.44                $   106.08   $   106.08
  8/13/2017 Miguel Vela                     $9.50   65.03   $    8.44                $   118.91   $   118.91



                                             490
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 492 of 683 PageID: 1339
                                         Exhibit 2
                                 New Jersey Computations


   Week                                                 State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
  Ending                  Name                        Minumum Regular    Half-Time Overtime Back
                                         Rate Week
   Date                                                 Wage  Rate Due     Due       Wages Due

  8/20/2017 Miguel Vela                  $9.50   54.48   $   8.44          $    68.80   $     68.80
  8/27/2017 Miguel Vela                  $9.50   62.32   $   8.44          $   106.00   $    106.00
   9/3/2017 Miguel Vela                  $9.50   62.22   $   8.44          $   105.53   $    105.53
  9/10/2017 Miguel Vela                  $9.50   60.55   $   8.44          $    97.61   $     97.61
  10/8/2017 Miguel Vela                  $9.50   51.23   $   8.44          $    53.36   $     53.36
 10/15/2017 Miguel Vela                  $9.50   60.63   $   8.44          $    98.01   $     98.01
 10/22/2017 Miguel Vela                 $10.50   62.58   $   8.44          $   118.56   $    118.56
 10/29/2017 Miguel Vela                 $10.50   57.95   $   8.44          $    94.24   $     94.24
  11/5/2017 Miguel Vela                 $10.50   60.98   $   8.44          $   110.16   $    110.16
 11/12/2017 Miguel Vela                 $10.50   60.98   $   8.44          $   110.16   $    110.16
 11/19/2017 Miguel Vela                 $10.50   61.63   $   8.44          $   113.58   $    113.58
 11/26/2017 Miguel Vela                 $10.50   51.50   $   8.44          $    60.38   $     60.38
  12/3/2017 Miguel Vela                 $10.50   62.70   $   8.44          $   119.18   $    119.18
 12/10/2017 Miguel Vela                 $10.50   61.02   $   8.44          $   110.34   $    110.34
 12/17/2017 Miguel Vela                 $10.50   60.53   $   8.44          $   107.80   $    107.80
 12/24/2017 Miguel Vela                 $10.50   55.50   $   8.44          $    81.38   $     81.38
 12/31/2017 Miguel Vela                 $10.50   50.47   $   8.44          $    54.95   $     54.95
   1/7/2018 Miguel Vela                 $10.50   47.22   $   8.60          $    37.89   $     37.89
  1/14/2018 Miguel Vela                 $10.50   60.67   $   8.60          $   108.50   $    108.50
  1/21/2018 Miguel Vela                 $10.50   60.67   $   8.60          $   108.50   $    108.50
  1/28/2018 Miguel Vela                 $10.50   59.97   $   8.60          $   104.83   $    104.83
   2/4/2018 Miguel Vela                 $10.50   60.40   $   8.60          $   107.10   $    107.10
  2/11/2018 Miguel Vela                 $10.50   62.17   $   8.60          $   116.38   $    116.38
  2/18/2018 Miguel Vela                 $10.50   60.40   $   8.60          $   107.10   $    107.10
  2/25/2018 Miguel Vela                 $10.50   60.27   $   8.60          $   106.40   $    106.40
   3/4/2018 Miguel Vela                 $10.50   60.42   $   8.60          $   107.19   $    107.19
  3/25/2018 Miguel Vela                 $10.50   56.05   $   8.60          $    84.26   $     84.26
   4/1/2018 Miguel Vela                 $10.50   61.95   $   8.60          $   115.24   $    115.24
   4/8/2018 Miguel Vela                 $10.50   60.40   $   8.60          $   107.10   $    107.10
  4/15/2018 Miguel Vela                 $10.50   61.72   $   8.60          $   114.01   $    114.01
  4/22/2018 Miguel Vela                 $10.50   60.20   $   8.60          $   106.05   $    106.05
  4/29/2018 Miguel Vela                 $10.50   60.32   $   8.60          $   106.66   $    106.66
   5/6/2018 Miguel Vela                 $10.50   60.65   $   8.60          $   108.41   $    108.41
  5/13/2018 Miguel Vela                 $10.50   60.43   $   8.60          $   107.28   $    107.28
  5/20/2018 Miguel Vela                 $10.50   60.27   $   8.60          $   106.40   $    106.40
  5/27/2018 Miguel Vela                 $10.50   60.18   $   8.60          $   105.96   $    105.96
   6/3/2018 Miguel Vela                 $10.50   59.28   $   8.60          $   101.24   $    101.24
  6/10/2018 Miguel Vela                 $10.50   60.67   $   8.60          $   108.50   $    108.50
  6/17/2018 Miguel Vela                 $10.50   60.37   $   8.60          $   106.93   $    106.93
  6/24/2018 Miguel Vela                 $10.50   60.32   $   8.60          $   106.66   $    106.66
   7/1/2018 Miguel Vela                 $10.50   61.28   $   8.60          $   111.74   $    111.74
   7/8/2018 Miguel Vela                 $10.50   57.95   $   8.60          $    94.24   $     94.24
  7/15/2018 Miguel Vela                 $10.50   60.23   $   8.60          $   106.23   $    106.23
  7/29/2018 Miguel Vela                 $10.50   60.37   $   8.60          $   106.93   $    106.93
   8/5/2018 Miguel Vela                 $10.50   60.35   $   8.60          $   106.84   $    106.84
  8/12/2018 Miguel Vela                 $10.50   60.50   $   8.60          $   107.63   $    107.63
  8/19/2018 Miguel Vela                 $10.50   59.78   $   8.60          $   103.86   $    103.86
  8/26/2018 Miguel Vela                 $10.50   60.15   $   8.60          $   105.79   $    105.79
   9/2/2018 Miguel Vela                 $10.50   60.53   $   8.60          $   107.80   $    107.80
   9/9/2018 Miguel Vela                 $10.50   61.10   $   8.60          $   110.78   $    110.78



                                          491
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 493 of 683 PageID: 1340
                                         Exhibit 2
                                 New Jersey Computations


   Week                                                 State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
  Ending                  Name                        Minumum Regular    Half-Time Overtime Back
                                         Rate Week
   Date                                                 Wage  Rate Due     Due       Wages Due

  9/16/2018 Miguel Vela                 $10.50   60.23   $    8.60         $   106.23   $    106.23
  9/23/2018 Miguel Vela                 $10.50   60.40   $    8.60         $   107.10   $    107.10
  9/30/2018 Miguel Vela                 $10.50   60.35   $    8.60         $   106.84   $    106.84
  10/7/2018 Miguel Vela                 $10.50   60.48   $    8.60         $   107.54   $    107.54
 10/14/2018 Miguel Vela                 $10.50   60.35   $    8.60         $   106.84   $    106.84
 10/21/2018 Miguel Vela                 $10.50   60.15   $    8.60         $   105.79   $    105.79
 10/28/2018 Miguel Vela                 $10.50   60.38   $    8.60         $   107.01   $    107.01
  11/4/2018 Miguel Vela                 $10.50   62.47   $    8.60         $   117.95   $    117.95
 11/11/2018 Miguel Vela                 $10.50   60.35   $    8.60         $   106.84   $    106.84
 11/18/2018 Miguel Vela                 $10.50   50.80   $    8.60         $    56.70   $     56.70
 11/25/2018 Miguel Vela                 $10.50   50.45   $    8.60         $    54.86   $     54.86
  12/2/2018 Miguel Vela                 $10.50   49.92   $    8.60         $    52.06   $     52.06
  12/9/2018 Miguel Vela                 $10.50   60.30   $    8.60         $   106.58   $    106.58
 12/16/2018 Miguel Vela                 $10.50   60.13   $    8.60         $   105.70   $    105.70
 12/23/2018 Miguel Vela                 $10.50   62.18   $    8.60         $   116.46   $    116.46
   1/6/2019 Miguel Vela                 $10.50   49.92   $    8.85         $    52.06   $     52.06
  1/13/2019 Miguel Vela                 $10.50   59.77   $    8.85         $   103.78   $    103.78
  1/20/2019 Miguel Vela                 $10.50   50.08   $    8.85         $    52.94   $     52.94
  1/27/2019 Miguel Vela                 $10.50   59.87   $    8.85         $   104.30   $    104.30
   2/3/2019 Miguel Vela                 $10.50   60.33   $    8.85         $   106.75   $    106.75
  2/10/2019 Miguel Vela                 $10.50   61.02   $    8.85         $   110.34   $    110.34
  2/17/2019 Miguel Vela                 $10.50   59.73   $    8.85         $   103.60   $    103.60
  2/24/2019 Miguel Vela                 $10.50   60.33   $    8.85         $   106.75   $    106.75
   3/3/2019 Miguel Vela                 $10.50   51.27   $    8.85         $    59.15   $     59.15
  3/10/2019 Miguel Vela                 $10.50   60.38   $    8.85         $   107.01   $    107.01
  3/17/2019 Miguel Vela                 $10.50   60.97   $    8.85         $   110.08   $    110.08
  3/24/2019 Miguel Vela                 $10.50   61.80   $    8.85         $   114.45   $    114.45
  3/31/2019 Miguel Vela                 $10.50   60.38   $    8.85         $   107.01   $    107.01
   4/7/2019 Miguel Vela                 $10.50   60.42   $    8.85         $   107.19   $    107.19
  4/14/2019 Miguel Vela                 $10.50   60.20   $    8.85         $   106.05   $    106.05
  4/21/2019 Miguel Vela                 $10.50   62.28   $    8.85         $   116.99   $    116.99
  4/28/2019 Miguel Vela                 $10.50   60.37   $    8.85         $   106.93   $    106.93
   5/5/2019 Miguel Vela                 $10.50   60.43   $    8.85         $   107.28   $    107.28
  5/12/2019 Miguel Vela                 $10.50   60.67   $    8.85         $   108.50   $    108.50
  5/19/2019 Miguel Vela                 $10.50   61.13   $    8.85         $   110.95   $    110.95
  5/26/2019 Miguel Vela                 $10.50   61.10   $    8.85         $   110.78   $    110.78
   6/2/2019 Miguel Vela                 $10.50   61.85   $    8.85         $   114.71   $    114.71
   6/9/2019 Miguel Vela                 $10.50   60.05   $    8.85         $   105.26   $    105.26
  6/16/2019 Miguel Vela                 $10.50   59.98   $    8.85         $   104.91   $    104.91
  6/23/2019 Miguel Vela                 $10.50   60.33   $    8.85         $   106.75   $    106.75
  6/30/2019 Miguel Vela                 $10.50   60.20   $   10.00         $   106.05   $    106.05
   7/7/2019 Miguel Vela                 $10.50   57.22   $   10.00         $    90.39   $     90.39
  7/14/2019 Miguel Vela                 $10.50   62.75   $   10.00         $   119.44   $    119.44
  7/21/2019 Miguel Vela                 $10.50   60.12   $   10.00         $   105.61   $    105.61
   8/4/2019 Miguel Vela                 $10.50   60.20   $   10.00         $   106.05   $    106.05
  8/11/2019 Miguel Vela                 $10.50   62.07   $   10.00         $   115.85   $    115.85
  8/18/2019 Miguel Vela                 $10.50   60.15   $   10.00         $   105.79   $    105.79
  8/25/2019 Miguel Vela                 $10.50   60.08   $   10.00         $   105.44   $    105.44
   9/1/2019 Miguel Vela                 $10.50   60.22   $   10.00         $   106.14   $    106.14
   9/8/2019 Miguel Vela                 $10.50   59.30   $   10.00         $   101.33   $    101.33



                                          492
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 494 of 683 PageID: 1341
                                                       Exhibit 2
                                               New Jersey Computations


   Week                                                               State Section 7: Section 7: Total Section 7
                                                      Hourly Hours/
  Ending                      Name                                  Minumum Regular    Half-Time Overtime Back
                                                       Rate Week
   Date                                                               Wage  Rate Due     Due       Wages Due

  9/15/2019 Miguel Vela                               $10.50   60.10   $   10.00               $   105.53   $   105.53
  9/22/2019 Miguel Vela                               $10.50   60.57   $   10.00               $   107.98   $   107.98
  9/29/2019 Miguel Vela                               $10.50   62.63   $   10.00               $   118.83   $   118.83
  10/6/2019 Miguel Vela                               $10.50   60.42   $   10.00               $   107.19   $   107.19
 10/13/2019 Miguel Vela                               $10.50   60.92   $   10.00               $   109.81   $   109.81
 10/20/2019 Miguel Vela                               $10.50   50.15   $   10.00               $    53.29   $    53.29
   2/5/2017 Migueli Perez                              $9.00   57.82   $    8.44               $    80.18   $    80.18
  2/19/2017 Migueli Perez                              $9.00   58.18   $    8.44               $    81.83   $    81.83
  2/26/2017 Migueli Perez                              $9.00   40.33   $    8.44               $     1.50   $     1.50
  2/17/2019 Mike Ruiz                                 $10.50   40.35   $    8.85               $     1.84   $     1.84
  2/24/2019 Mike Ruiz                                 $10.50   49.25   $    8.85               $    48.56   $    48.56
   3/3/2019 Mike Ruiz                                 $10.50   40.20   $    8.85               $     1.05   $     1.05
  3/10/2019 Mike Ruiz                                 $10.50   53.67   $    8.85               $    71.75   $    71.75
  3/17/2019 Mike Ruiz                                 $10.50   58.73   $    8.85               $    98.35   $    98.35
  3/24/2019 Mike Ruiz                                 $10.50   43.52   $    8.85               $    18.46   $    18.46
  3/31/2019 Mike Ruiz                                 $10.50   58.42   $    8.85               $    96.69   $    96.69
   4/7/2019 Mike Ruiz                                 $10.50   64.90   $    8.85               $   130.73   $   130.73
  4/14/2019 Mike Ruiz                                 $10.50   67.02   $    8.85               $   141.84   $   141.84
  4/21/2019 Mike Ruiz                                 $10.50   69.52   $    8.85               $   154.96   $   154.96
  6/16/2019 Milton A. Caceres                          $8.85   74.53   $    8.85               $   152.81   $   152.81
  6/23/2019 Milton A. Caceres                          $8.85   76.85   $    8.85               $   163.06   $   163.06
  6/30/2019 Milton A. Caceres                          $8.85   64.35   $   10.00   $   74.00   $   121.75   $   195.75
   7/7/2019 Milton A. Caceres                         $10.00   46.33   $   10.00               $    31.67   $    31.67
  6/11/2017 Milton Pena                               $10.00   46.80   $    8.44               $    34.00   $    34.00
  6/18/2017 Milton Pena                               $10.00   48.98   $    8.44               $    44.92   $    44.92
  6/16/2019 Mirna Morataya                             $9.50   60.18   $    8.85               $    95.87   $    95.87
  6/23/2019 Mirna Morataya                             $9.50   43.53   $    8.85               $    16.78   $    16.78
  7/21/2019 Mirna Morataya                             $9.50   60.53   $   10.00   $   30.27   $   102.67   $   132.93
  7/28/2019 Mirna Morataya                             $9.50   54.20   $   10.00   $   27.10   $    71.00   $    98.10
   8/4/2019 Mirna Morataya                             $9.50   59.37   $   10.00   $   29.68   $    96.83   $   126.52
  8/11/2019 Mirna Morataya                             $9.50   45.60   $   10.00   $   22.80   $    28.00   $    50.80
  8/18/2019 Mirna Morataya                             $9.50   56.03   $   10.00   $   28.02   $    80.17   $   108.18
  8/25/2019 Mirna Morataya                             $9.50   53.82   $   10.00   $   26.91   $    69.08   $    95.99
   9/1/2019 Mirna Morataya                             $9.50   60.62   $   10.00   $   30.31   $   103.08   $   133.39
  8/26/2018 Monica G. Vasquez - Car Wash Manager      $10.50   61.68   $    8.60               $   113.84   $   113.84
 10/20/2019 Namir Gritor                              $12.00   51.30   $   10.00               $    67.80   $    67.80
  11/3/2019 Namir Gritor                              $12.00   46.20   $   10.00               $    37.20   $    37.20
 11/17/2019 Namir Gritor                              $12.00   41.27   $   10.00               $     7.60   $     7.60
 11/24/2019 Namir Gritor                              $12.00   48.80   $   10.00               $    52.80   $    52.80
   1/5/2020 Namir Gritor                              $12.00   49.78   $   11.00               $    58.70   $    58.70
   9/1/2019 Nathanael Roman                           $15.00   58.37   $   10.00               $   137.75   $   137.75
   9/8/2019 Nathanael Roman                           $15.00   60.10   $   10.00               $   150.75   $   150.75
  9/15/2019 Nathanael Roman                           $15.00   58.65   $   10.00               $   139.88   $   139.88
  9/22/2019 Nathanael Roman                           $15.00   58.72   $   10.00               $   140.38   $   140.38
  9/29/2019 Nathanael Roman                           $15.00   59.93   $   10.00               $   149.50   $   149.50
  10/6/2019 Nathanael Roman                           $15.00   58.90   $   10.00               $   141.75   $   141.75
 10/13/2019 Nathanael Roman                           $15.00   68.75   $   10.00               $   215.63   $   215.63
 10/20/2019 Nathanael Roman                           $15.00   69.70   $   10.00               $   222.75   $   222.75
 10/27/2019 Nathanael Roman                           $15.00   59.72   $   10.00               $   147.88   $   147.88
  11/3/2019 Nathanael Roman                           $15.00   59.50   $   10.00               $   146.25   $   146.25



                                                        493
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 495 of 683 PageID: 1342
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                      Name                           Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

 11/10/2019 Nathanael Roman                    $15.00   62.42   $   10.00         $   168.13   $    168.13
 11/17/2019 Nathanael Roman                    $15.00   62.12   $   10.00         $   165.88   $    165.88
 11/24/2019 Nathanael Roman                    $15.00   61.55   $   10.00         $   161.63   $    161.63
  12/1/2019 Nathanael Roman                    $15.00   48.17   $   10.00         $    61.25   $     61.25
  12/8/2019 Nathanael Roman                    $15.00   60.55   $   10.00         $   154.13   $    154.13
  4/23/2017 Nearton Cesar Mendez Diaz          $10.00   41.12   $    8.44         $     5.58   $      5.58
  4/30/2017 Nearton Cesar Mendez Diaz          $10.00   50.87   $    8.44         $    54.33   $     54.33
   5/7/2017 Nearton Cesar Mendez Diaz          $10.00   54.13   $    8.44         $    70.67   $     70.67
  5/14/2017 Nearton Cesar Mendez Diaz          $10.00   55.08   $    8.44         $    75.42   $     75.42
  5/21/2017 Nearton Cesar Mendez Diaz          $10.00   54.83   $    8.44         $    74.17   $     74.17
  5/28/2017 Nearton Cesar Mendez Diaz          $10.00   55.60   $    8.44         $    78.00   $     78.00
   6/4/2017 Nearton Cesar Mendez Diaz          $10.00   52.40   $    8.44         $    62.00   $     62.00
  6/11/2017 Nearton Cesar Mendez Diaz          $10.00   54.85   $    8.44         $    74.25   $     74.25
  6/18/2017 Nearton Cesar Mendez Diaz          $10.00   55.48   $    8.44         $    77.42   $     77.42
  6/25/2017 Nearton Cesar Mendez Diaz          $10.00   55.42   $    8.44         $    77.08   $     77.08
   7/2/2017 Nearton Cesar Mendez Diaz          $10.00   53.25   $    8.44         $    66.25   $     66.25
   7/9/2017 Nearton Cesar Mendez Diaz          $10.00   40.68   $    8.44         $     3.42   $      3.42
  7/16/2017 Nearton Cesar Mendez Diaz          $10.00   51.87   $    8.44         $    59.33   $     59.33
  7/23/2017 Nearton Cesar Mendez Diaz          $10.00   52.02   $    8.44         $    60.08   $     60.08
  7/30/2017 Nearton Cesar Mendez Diaz          $10.00   51.80   $    8.44         $    59.00   $     59.00
   8/6/2017 Nearton Cesar Mendez Diaz          $10.00   52.10   $    8.44         $    60.50   $     60.50
  8/13/2017 Nearton Cesar Mendez Diaz          $10.00   52.28   $    8.44         $    61.42   $     61.42
  8/20/2017 Nearton Cesar Mendez Diaz          $10.00   52.80   $    8.44         $    64.00   $     64.00
  8/27/2017 Nearton Cesar Mendez Diaz          $10.00   52.40   $    8.44         $    62.00   $     62.00
   9/3/2017 Nearton Cesar Mendez Diaz          $10.00   52.57   $    8.44         $    62.83   $     62.83
  9/10/2017 Nearton Cesar Mendez Diaz          $10.00   52.48   $    8.44         $    62.42   $     62.42
  9/17/2017 Nearton Cesar Mendez Diaz          $10.00   53.37   $    8.44         $    66.83   $     66.83
  9/24/2017 Nearton Cesar Mendez Diaz          $10.00   53.22   $    8.44         $    66.08   $     66.08
  10/1/2017 Nearton Cesar Mendez Diaz          $10.00   53.12   $    8.44         $    65.58   $     65.58
  10/8/2017 Nearton Cesar Mendez Diaz          $10.00   55.02   $    8.44         $    75.08   $     75.08
 10/15/2017 Nearton Cesar Mendez Diaz          $10.00   53.27   $    8.44         $    66.33   $     66.33
 10/22/2017 Nearton Cesar Mendez Diaz          $10.00   53.05   $    8.44         $    65.25   $     65.25
 10/29/2017 Nearton Cesar Mendez Diaz          $10.00   54.75   $    8.44         $    73.75   $     73.75
  11/5/2017 Nearton Cesar Mendez Diaz          $10.00   53.57   $    8.44         $    67.83   $     67.83
 11/12/2017 Nearton Cesar Mendez Diaz          $10.00   54.12   $    8.44         $    70.58   $     70.58
 11/19/2017 Nearton Cesar Mendez Diaz          $10.00   53.85   $    8.44         $    69.25   $     69.25
 11/26/2017 Nearton Cesar Mendez Diaz          $10.00   45.48   $    8.44         $    27.42   $     27.42
  12/3/2017 Nearton Cesar Mendez Diaz          $10.00   56.28   $    8.44         $    81.42   $     81.42
 12/10/2017 Nearton Cesar Mendez Diaz          $10.00   55.42   $    8.44         $    77.08   $     77.08
 12/17/2017 Nearton Cesar Mendez Diaz          $10.00   55.38   $    8.44         $    76.92   $     76.92
 12/24/2017 Nearton Cesar Mendez Diaz          $10.00   55.20   $    8.44         $    76.00   $     76.00
 12/31/2017 Nearton Cesar Mendez Diaz          $10.00   45.67   $    8.44         $    28.33   $     28.33
  1/14/2018 Nearton Cesar Mendez Diaz          $10.00   55.37   $    8.60         $    76.83   $     76.83
  1/21/2018 Nearton Cesar Mendez Diaz          $10.00   55.87   $    8.60         $    79.33   $     79.33
  1/28/2018 Nearton Cesar Mendez Diaz          $10.00   55.08   $    8.60         $    75.42   $     75.42
   2/4/2018 Nearton Cesar Mendez Diaz          $10.00   55.80   $    8.60         $    79.00   $     79.00
  2/11/2018 Nearton Cesar Mendez Diaz          $10.00   55.97   $    8.60         $    79.83   $     79.83
  2/18/2018 Nearton Cesar Mendez Diaz          $10.00   55.77   $    8.60         $    78.83   $     78.83
  2/25/2018 Nearton Cesar Mendez Diaz          $10.00   56.52   $    8.60         $    82.58   $     82.58
   3/4/2018 Nearton Cesar Mendez Diaz          $10.00   56.47   $    8.60         $    82.33   $     82.33



                                                 494
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 496 of 683 PageID: 1343
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                      Name                           Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

  3/25/2018 Nearton Cesar Mendez Diaz          $10.00   60.52   $   8.60          $   102.58   $    102.58
   4/1/2018 Nearton Cesar Mendez Diaz          $10.00   60.63   $   8.60          $   103.17   $    103.17
   4/8/2018 Nearton Cesar Mendez Diaz          $10.00   60.55   $   8.60          $   102.75   $    102.75
  4/15/2018 Nearton Cesar Mendez Diaz          $10.00   60.10   $   8.60          $   100.50   $    100.50
  4/22/2018 Nearton Cesar Mendez Diaz          $10.00   59.02   $   8.60          $    95.08   $     95.08
  4/29/2018 Nearton Cesar Mendez Diaz          $10.00   59.28   $   8.60          $    96.42   $     96.42
   5/6/2018 Nearton Cesar Mendez Diaz          $10.00   57.32   $   8.60          $    86.58   $     86.58
  5/13/2018 Nearton Cesar Mendez Diaz          $10.00   55.23   $   8.60          $    76.17   $     76.17
  5/20/2018 Nearton Cesar Mendez Diaz          $10.00   54.62   $   8.60          $    73.08   $     73.08
  5/27/2018 Nearton Cesar Mendez Diaz          $10.00   57.02   $   8.60          $    85.08   $     85.08
   6/3/2018 Nearton Cesar Mendez Diaz          $10.00   54.10   $   8.60          $    70.50   $     70.50
  6/10/2018 Nearton Cesar Mendez Diaz          $10.00   57.08   $   8.60          $    85.42   $     85.42
  6/17/2018 Nearton Cesar Mendez Diaz          $10.00   58.47   $   8.60          $    92.33   $     92.33
  6/24/2018 Nearton Cesar Mendez Diaz          $10.00   57.97   $   8.60          $    89.83   $     89.83
   7/1/2018 Nearton Cesar Mendez Diaz          $10.00   62.00   $   8.60          $   110.00   $    110.00
   7/8/2018 Nearton Cesar Mendez Diaz          $10.00   60.12   $   8.60          $   100.58   $    100.58
  7/15/2018 Nearton Cesar Mendez Diaz          $10.00   60.88   $   8.60          $   104.42   $    104.42
  7/22/2018 Nearton Cesar Mendez Diaz          $10.00   60.40   $   8.60          $   102.00   $    102.00
  7/29/2018 Nearton Cesar Mendez Diaz          $10.00   60.17   $   8.60          $   100.83   $    100.83
   8/5/2018 Nearton Cesar Mendez Diaz          $10.00   59.80   $   8.60          $    99.00   $     99.00
  8/12/2018 Nearton Cesar Mendez Diaz          $10.00   59.62   $   8.60          $    98.08   $     98.08
  8/19/2018 Nearton Cesar Mendez Diaz          $10.00   59.23   $   8.60          $    96.17   $     96.17
  8/26/2018 Nearton Cesar Mendez Diaz          $10.00   61.58   $   8.60          $   107.92   $    107.92
   9/2/2018 Nearton Cesar Mendez Diaz          $10.00   62.05   $   8.60          $   110.25   $    110.25
   9/9/2018 Nearton Cesar Mendez Diaz          $10.00   53.22   $   8.60          $    66.08   $     66.08
  9/16/2018 Nearton Cesar Mendez Diaz          $10.00   57.42   $   8.60          $    87.08   $     87.08
  9/23/2018 Nearton Cesar Mendez Diaz          $10.00   60.18   $   8.60          $   100.92   $    100.92
  9/30/2018 Nearton Cesar Mendez Diaz          $10.00   61.35   $   8.60          $   106.75   $    106.75
  10/7/2018 Nearton Cesar Mendez Diaz          $10.00   61.03   $   8.60          $   105.17   $    105.17
 10/14/2018 Nearton Cesar Mendez Diaz          $10.00   55.05   $   8.60          $    75.25   $     75.25
 10/21/2018 Nearton Cesar Mendez Diaz          $10.00   55.15   $   8.60          $    75.75   $     75.75
 10/28/2018 Nearton Cesar Mendez Diaz          $10.00   64.88   $   8.60          $   124.42   $    124.42
  11/4/2018 Nearton Cesar Mendez Diaz          $10.00   64.87   $   8.60          $   124.33   $    124.33
 11/11/2018 Nearton Cesar Mendez Diaz          $10.00   65.12   $   8.60          $   125.58   $    125.58
 11/18/2018 Nearton Cesar Mendez Diaz          $10.00   58.65   $   8.60          $    93.25   $     93.25
 11/25/2018 Nearton Cesar Mendez Diaz          $10.00   48.27   $   8.60          $    41.33   $     41.33
  12/2/2018 Nearton Cesar Mendez Diaz          $10.00   60.70   $   8.60          $   103.50   $    103.50
  12/9/2018 Nearton Cesar Mendez Diaz          $10.00   57.90   $   8.60          $    89.50   $     89.50
 12/16/2018 Nearton Cesar Mendez Diaz          $10.00   58.72   $   8.60          $    93.58   $     93.58
 12/23/2018 Nearton Cesar Mendez Diaz          $10.00   58.57   $   8.60          $    92.83   $     92.83
 12/30/2018 Nearton Cesar Mendez Diaz          $10.00   43.43   $   8.60          $    17.17   $     17.17
   1/6/2019 Nearton Cesar Mendez Diaz          $10.00   48.08   $   8.85          $    40.42   $     40.42
  1/13/2019 Nearton Cesar Mendez Diaz          $10.00   58.28   $   8.85          $    91.42   $     91.42
  1/20/2019 Nearton Cesar Mendez Diaz          $10.00   51.12   $   8.85          $    55.58   $     55.58
  1/27/2019 Nearton Cesar Mendez Diaz          $10.00   58.52   $   8.85          $    92.58   $     92.58
   2/3/2019 Nearton Cesar Mendez Diaz          $10.00   49.63   $   8.85          $    48.17   $     48.17
  2/10/2019 Nearton Cesar Mendez Diaz          $10.00   66.45   $   8.85          $   132.25   $    132.25
  2/17/2019 Nearton Cesar Mendez Diaz          $10.00   58.33   $   8.85          $    91.67   $     91.67
  2/24/2019 Nearton Cesar Mendez Diaz          $10.00   62.55   $   8.85          $   112.75   $    112.75
   3/3/2019 Nearton Cesar Mendez Diaz          $10.00   65.43   $   8.85          $   127.17   $    127.17



                                                 495
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 497 of 683 PageID: 1344
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                      Name                           Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

  3/10/2019 Nearton Cesar Mendez Diaz          $10.00   64.63   $    8.85         $   123.17   $    123.17
  3/17/2019 Nearton Cesar Mendez Diaz          $10.00   64.45   $    8.85         $   122.25   $    122.25
  3/24/2019 Nearton Cesar Mendez Diaz          $10.00   65.98   $    8.85         $   129.92   $    129.92
  3/31/2019 Nearton Cesar Mendez Diaz          $10.00   66.98   $    8.85         $   134.92   $    134.92
   4/7/2019 Nearton Cesar Mendez Diaz          $10.00   65.90   $    8.85         $   129.50   $    129.50
  4/14/2019 Nearton Cesar Mendez Diaz          $10.00   65.55   $    8.85         $   127.75   $    127.75
  4/21/2019 Nearton Cesar Mendez Diaz          $10.00   64.05   $    8.85         $   120.25   $    120.25
  4/28/2019 Nearton Cesar Mendez Diaz          $10.00   66.90   $    8.85         $   134.50   $    134.50
   5/5/2019 Nearton Cesar Mendez Diaz          $10.00   67.02   $    8.85         $   135.08   $    135.08
  5/12/2019 Nearton Cesar Mendez Diaz          $10.00   67.03   $    8.85         $   135.17   $    135.17
  5/19/2019 Nearton Cesar Mendez Diaz          $10.00   67.48   $    8.85         $   137.42   $    137.42
  5/26/2019 Nearton Cesar Mendez Diaz          $10.00   67.10   $    8.85         $   135.50   $    135.50
   6/2/2019 Nearton Cesar Mendez Diaz          $10.00   57.22   $    8.85         $    86.08   $     86.08
   6/9/2019 Nearton Cesar Mendez Diaz          $10.00   66.82   $    8.85         $   134.08   $    134.08
  6/16/2019 Nearton Cesar Mendez Diaz          $10.00   66.20   $    8.85         $   131.00   $    131.00
  6/23/2019 Nearton Cesar Mendez Diaz          $10.00   65.73   $    8.85         $   128.67   $    128.67
  6/30/2019 Nearton Cesar Mendez Diaz          $10.00   67.23   $   10.00         $   136.17   $    136.17
   7/7/2019 Nearton Cesar Mendez Diaz          $11.00   56.72   $   10.00         $    91.94   $     91.94
  7/14/2019 Nearton Cesar Mendez Diaz          $11.00   67.23   $   10.00         $   149.78   $    149.78
  7/21/2019 Nearton Cesar Mendez Diaz          $11.00   67.08   $   10.00         $   148.96   $    148.96
  7/28/2019 Nearton Cesar Mendez Diaz          $11.00   66.73   $   10.00         $   147.03   $    147.03
   8/4/2019 Nearton Cesar Mendez Diaz          $11.00   66.27   $   10.00         $   144.47   $    144.47
  8/11/2019 Nearton Cesar Mendez Diaz          $11.00   66.45   $   10.00         $   145.48   $    145.48
  8/18/2019 Nearton Cesar Mendez Diaz          $11.00   66.88   $   10.00         $   147.86   $    147.86
  8/25/2019 Nearton Cesar Mendez Diaz          $11.00   65.58   $   10.00         $   140.71   $    140.71
   9/1/2019 Nearton Cesar Mendez Diaz          $11.00   64.68   $   10.00         $   135.76   $    135.76
   9/8/2019 Nearton Cesar Mendez Diaz          $11.00   64.78   $   10.00         $   136.31   $    136.31
  9/15/2019 Nearton Cesar Mendez Diaz          $11.00   64.90   $   10.00         $   136.95   $    136.95
  9/22/2019 Nearton Cesar Mendez Diaz          $11.00   65.02   $   10.00         $   137.59   $    137.59
  9/29/2019 Nearton Cesar Mendez Diaz          $11.00   61.87   $   10.00         $   120.27   $    120.27
  10/6/2019 Nearton Cesar Mendez Diaz          $11.00   64.10   $   10.00         $   132.55   $    132.55
 10/13/2019 Nearton Cesar Mendez Diaz          $11.00   63.88   $   10.00         $   131.36   $    131.36
 10/20/2019 Nearton Cesar Mendez Diaz          $11.00   63.90   $   10.00         $   131.45   $    131.45
 10/27/2019 Nearton Cesar Mendez Diaz          $11.00   64.12   $   10.00         $   132.64   $    132.64
  11/3/2019 Nearton Cesar Mendez Diaz          $11.00   63.90   $   10.00         $   131.45   $    131.45
 11/10/2019 Nearton Cesar Mendez Diaz          $11.00   63.70   $   10.00         $   130.35   $    130.35
 11/17/2019 Nearton Cesar Mendez Diaz          $11.00   62.38   $   10.00         $   123.11   $    123.11
 11/24/2019 Nearton Cesar Mendez Diaz          $11.00   63.72   $   10.00         $   130.44   $    130.44
  12/1/2019 Nearton Cesar Mendez Diaz          $11.00   53.98   $   10.00         $    76.91   $     76.91
  12/8/2019 Nearton Cesar Mendez Diaz          $11.00   63.80   $   10.00         $   130.90   $    130.90
 12/15/2019 Nearton Cesar Mendez Diaz          $11.00   63.87   $   10.00         $   131.27   $    131.27
 12/22/2019 Nearton Cesar Mendez Diaz          $11.00   63.82   $   10.00         $   130.99   $    130.99
   1/5/2020 Nearton Cesar Mendez Diaz          $11.00   49.32   $   11.00         $    51.24   $     51.24
  1/12/2020 Nearton Cesar Mendez Diaz          $11.00   63.78   $   11.00         $   130.81   $    130.81
  1/19/2020 Nearton Cesar Mendez Diaz          $11.00   63.57   $   11.00         $   129.62   $    129.62
  1/26/2020 Nearton Cesar Mendez Diaz          $11.00   64.00   $   11.00         $   132.00   $    132.00
   2/3/2019 Nedrick Smith                       $9.50   57.45   $    8.85         $    82.89   $     82.89
  6/11/2017 Neftali Godoy                      $10.00   63.80   $    8.44         $   119.00   $    119.00
  6/18/2017 Neftali Godoy                      $10.00   58.13   $    8.44         $    90.67   $     90.67
  6/25/2017 Neftali Godoy                      $10.00   65.10   $    8.44         $   125.50   $    125.50



                                                 496
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 498 of 683 PageID: 1345
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

   7/2/2017 Neftali Godoy                    $10.00   61.97   $    8.44         $   109.83   $    109.83
   7/9/2017 Neftali Godoy                    $10.00   53.17   $    8.44         $    65.83   $     65.83
  7/16/2017 Neftali Godoy                    $10.00   53.95   $    8.44         $    69.75   $     69.75
  7/23/2017 Neftali Godoy                    $10.00   59.20   $    8.44         $    96.00   $     96.00
  7/30/2017 Neftali Godoy                    $10.00   51.53   $    8.44         $    57.67   $     57.67
   8/6/2017 Neftali Godoy                    $10.00   61.77   $    8.44         $   108.83   $    108.83
  8/13/2017 Neftali Godoy                    $10.00   63.40   $    8.44         $   117.00   $    117.00
  8/20/2017 Neftali Godoy                    $10.00   63.43   $    8.44         $   117.17   $    117.17
  8/27/2017 Neftali Godoy                    $10.00   52.63   $    8.44         $    63.17   $     63.17
   9/3/2017 Neftali Godoy                    $10.00   68.03   $    8.44         $   140.17   $    140.17
  9/10/2017 Neftali Godoy                    $10.00   52.60   $    8.44         $    63.00   $     63.00
  9/17/2017 Neftali Godoy                    $10.00   59.85   $    8.44         $    99.25   $     99.25
  9/24/2017 Neftali Godoy                    $10.00   64.65   $    8.44         $   123.25   $    123.25
 11/12/2017 Neftali Godoy                    $10.00   57.28   $    8.44         $    86.42   $     86.42
 11/19/2017 Neftali Godoy                    $10.00   46.63   $    8.44         $    33.17   $     33.17
  9/22/2019 Nelson Giovanni Perez            $11.00   58.25   $   10.00         $   100.38   $    100.38
  9/29/2019 Nelson Giovanni Perez            $11.00   48.82   $   10.00         $    48.49   $     48.49
 10/20/2019 Nelson Giovanni Perez            $11.00   57.95   $   10.00         $    98.73   $     98.73
 10/27/2019 Nelson Giovanni Perez            $11.00   58.35   $   10.00         $   100.93   $    100.93
  11/3/2019 Nelson Giovanni Perez            $11.00   56.60   $   10.00         $    91.30   $     91.30
 11/10/2019 Nelson Giovanni Perez            $11.00   52.97   $   10.00         $    71.32   $     71.32
 11/17/2019 Nelson Giovanni Perez            $11.00   53.43   $   10.00         $    73.88   $     73.88
  5/13/2018 Nelson Olan Rivera                $8.60   64.08   $    8.60         $   103.56   $    103.56
  5/20/2018 Nelson Olan Rivera                $8.60   66.18   $    8.60         $   112.59   $    112.59
  5/27/2018 Nelson Olan Rivera                $8.60   61.07   $    8.60         $    90.59   $     90.59
   6/3/2018 Nelson Olan Rivera                $8.60   61.45   $    8.60         $    92.24   $     92.24
  6/10/2018 Nelson Olan Rivera                $8.60   49.22   $    8.60         $    39.63   $     39.63
  6/24/2018 Nelson Olan Rivera                $8.60   43.72   $    8.60         $    15.98   $     15.98
   7/1/2018 Nelson Olan Rivera                $8.60   48.27   $    8.60         $    35.55   $     35.55
   7/8/2018 Nelson Olan Rivera                $8.60   57.73   $    8.60         $    76.25   $     76.25
  7/15/2018 Nelson Olan Rivera                $9.50   64.17   $    8.60         $   114.79   $    114.79
  7/22/2018 Nelson Olan Rivera                $9.50   56.30   $    8.60         $    77.43   $     77.43
  7/29/2018 Nelson Olan Rivera                $9.50   45.97   $    8.60         $    28.34   $     28.34
   8/5/2018 Nelson Olan Rivera                $9.50   48.78   $    8.60         $    41.72   $     41.72
   9/1/2019 Nelson Salobo                    $11.00   41.60   $   10.00         $     8.80   $      8.80
   9/8/2019 Nelson Salobo                    $11.00   60.27   $   10.00         $   111.47   $    111.47
  9/15/2019 Nelson Salobo                    $11.00   61.68   $   10.00         $   119.26   $    119.26
  9/22/2019 Nelson Salobo                    $11.00   60.68   $   10.00         $   113.76   $    113.76
  9/29/2019 Nelson Salobo                    $11.00   51.10   $   10.00         $    61.05   $     61.05
  10/6/2019 Nelson Salobo                    $11.00   53.05   $   10.00         $    71.78   $     71.78
 10/13/2019 Nelson Salobo                    $11.00   59.82   $   10.00         $   108.99   $    108.99
 10/20/2019 Nelson Salobo                    $11.00   50.72   $   10.00         $    58.94   $     58.94
 10/27/2019 Nelson Salobo                    $11.00   60.97   $   10.00         $   115.32   $    115.32
  11/3/2019 Nelson Salobo                    $11.00   50.02   $   10.00         $    55.09   $     55.09
 11/10/2019 Nelson Salobo                    $11.00   60.13   $   10.00         $   110.73   $    110.73
 11/17/2019 Nelson Salobo                    $11.00   60.80   $   10.00         $   114.40   $    114.40
 11/24/2019 Nelson Salobo                    $11.00   60.10   $   10.00         $   110.55   $    110.55
  12/1/2019 Nelson Salobo                    $11.00   54.00   $   10.00         $    77.00   $     77.00
  12/8/2019 Nelson Salobo                    $11.00   41.38   $   10.00         $     7.61   $      7.61
 12/15/2019 Nelson Salobo                    $11.00   49.75   $   10.00         $    53.63   $     53.63



                                               497
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 499 of 683 PageID: 1346
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

 12/22/2019 Nelson Salobo                   $11.00   50.02   $   10.00         $    55.09   $     55.09
   1/5/2020 Nelson Salobo                   $11.00   52.05   $   11.00         $    66.28   $     66.28
  1/12/2020 Nelson Salobo                   $11.00   51.47   $   11.00         $    63.07   $     63.07
  1/19/2020 Nelson Salobo                   $11.00   60.92   $   11.00         $   115.04   $    115.04
  1/26/2020 Nelson Salobo                   $11.00   51.87   $   11.00         $    65.27   $     65.27
  8/13/2017 Nelson Santiago                  $9.50   52.20   $    8.44         $    57.95   $     57.95
  8/20/2017 Nelson Santiago                  $9.50   49.58   $    8.44         $    45.52   $     45.52
   9/3/2017 Nelson Santiago                  $9.50   48.98   $    8.44         $    42.67   $     42.67
  9/17/2017 Nelson Santiago                  $9.50   56.68   $    8.44         $    79.25   $     79.25
  9/24/2017 Nelson Santiago                  $9.50   55.15   $    8.44         $    71.96   $     71.96
  4/29/2018 Nelson Santiago                  $9.50   44.77   $    8.60         $    22.64   $     22.64
   5/6/2018 Nelson Santiago                  $9.50   40.38   $    8.60         $     1.82   $      1.82
  4/29/2018 Nemias Diaz                     $10.00   60.42   $    8.60         $   102.08   $    102.08
   5/6/2018 Nemias Diaz                     $10.00   60.22   $    8.60         $   101.08   $    101.08
  5/13/2018 Nemias Diaz                     $10.00   60.17   $    8.60         $   100.83   $    100.83
  5/20/2018 Nemias Diaz                     $10.00   50.02   $    8.60         $    50.08   $     50.08
  5/27/2018 Nemias Diaz                     $10.00   49.57   $    8.60         $    47.83   $     47.83
   6/3/2018 Nemias Diaz                     $10.00   60.10   $    8.60         $   100.50   $    100.50
  6/10/2018 Nemias Diaz                     $10.00   59.13   $    8.60         $    95.67   $     95.67
  6/17/2018 Nemias Diaz                     $10.00   60.15   $    8.60         $   100.75   $    100.75
  6/24/2018 Nemias Diaz                     $10.00   60.13   $    8.60         $   100.67   $    100.67
   7/1/2018 Nemias Diaz                     $10.00   50.13   $    8.60         $    50.67   $     50.67
   7/8/2018 Nemias Diaz                     $10.00   60.10   $    8.60         $   100.50   $    100.50
  7/15/2018 Nemias Diaz                     $10.00   60.07   $    8.60         $   100.33   $    100.33
  7/22/2018 Nemias Diaz                     $10.00   58.13   $    8.60         $    90.67   $     90.67
  7/29/2018 Nemias Diaz                     $10.00   60.07   $    8.60         $   100.33   $    100.33
   8/5/2018 Nemias Diaz                     $10.00   59.98   $    8.60         $    99.92   $     99.92
  8/12/2018 Nemias Diaz                     $10.00   49.23   $    8.60         $    46.17   $     46.17
  8/19/2018 Nemias Diaz                     $10.00   47.68   $    8.60         $    38.42   $     38.42
  8/26/2018 Nemias Diaz                     $10.00   60.02   $    8.60         $   100.08   $    100.08
   9/2/2018 Nemias Diaz                     $10.00   60.08   $    8.60         $   100.42   $    100.42
   9/9/2018 Nemias Diaz                     $10.00   60.03   $    8.60         $   100.17   $    100.17
  9/16/2018 Nemias Diaz                     $10.00   56.62   $    8.60         $    83.08   $     83.08
  9/23/2018 Nemias Diaz                     $10.00   60.08   $    8.60         $   100.42   $    100.42
  9/30/2018 Nemias Diaz                     $10.00   59.12   $    8.60         $    95.58   $     95.58
  10/7/2018 Nemias Diaz                     $10.00   60.15   $    8.60         $   100.75   $    100.75
 10/14/2018 Nemias Diaz                     $10.00   58.12   $    8.60         $    90.58   $     90.58
 10/21/2018 Nemias Diaz                     $10.00   59.00   $    8.60         $    95.00   $     95.00
 10/28/2018 Nemias Diaz                     $10.00   54.30   $    8.60         $    71.50   $     71.50
  11/4/2018 Nemias Diaz                     $10.00   60.03   $    8.60         $   100.17   $    100.17
 11/11/2018 Nemias Diaz                     $10.00   49.10   $    8.60         $    45.50   $     45.50
 11/18/2018 Nemias Diaz                     $10.00   51.88   $    8.60         $    59.42   $     59.42
 11/25/2018 Nemias Diaz                     $10.00   50.05   $    8.60         $    50.25   $     50.25
  12/2/2018 Nemias Diaz                     $10.00   50.08   $    8.60         $    50.42   $     50.42
  12/9/2018 Nemias Diaz                     $10.00   50.05   $    8.60         $    50.25   $     50.25
 12/23/2018 Nemias Diaz                     $10.00   57.08   $    8.60         $    85.42   $     85.42
   1/6/2019 Nemias Diaz                     $10.00   49.05   $    8.85         $    45.25   $     45.25
  1/13/2019 Nemias Diaz                     $10.00   50.03   $    8.85         $    50.17   $     50.17
  1/20/2019 Nemias Diaz                     $10.00   48.95   $    8.85         $    44.75   $     44.75
  1/27/2019 Nemias Diaz                     $10.00   49.03   $    8.85         $    45.17   $     45.17



                                              498
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 500 of 683 PageID: 1347
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

   2/3/2019 Nemias Diaz                      $10.00   46.03   $    8.85         $    30.17   $     30.17
  2/10/2019 Nemias Diaz                      $10.00   58.95   $    8.85         $    94.75   $     94.75
  2/17/2019 Nemias Diaz                      $10.00   48.53   $    8.85         $    42.67   $     42.67
  2/24/2019 Nemias Diaz                      $10.00   47.73   $    8.85         $    38.67   $     38.67
   3/3/2019 Nemias Diaz                      $10.00   59.40   $    8.85         $    97.00   $     97.00
  3/10/2019 Nemias Diaz                      $10.00   48.58   $    8.85         $    42.92   $     42.92
  3/17/2019 Nemias Diaz                      $10.00   50.02   $    8.85         $    50.08   $     50.08
  3/24/2019 Nemias Diaz                      $10.00   49.05   $    8.85         $    45.25   $     45.25
  3/31/2019 Nemias Diaz                      $10.00   50.03   $    8.85         $    50.17   $     50.17
   4/7/2019 Nemias Diaz                      $10.00   49.23   $    8.85         $    46.17   $     46.17
  4/14/2019 Nemias Diaz                      $10.00   48.72   $    8.85         $    43.58   $     43.58
  4/21/2019 Nemias Diaz                      $10.00   60.32   $    8.85         $   101.58   $    101.58
  4/28/2019 Nemias Diaz                      $10.00   48.52   $    8.85         $    42.58   $     42.58
   5/5/2019 Nemias Diaz                      $10.00   49.45   $    8.85         $    47.25   $     47.25
  5/12/2019 Nemias Diaz                      $10.00   50.28   $    8.85         $    51.42   $     51.42
  5/19/2019 Nemias Diaz                      $10.00   49.90   $    8.85         $    49.50   $     49.50
  5/26/2019 Nemias Diaz                      $10.00   62.02   $    8.85         $   110.08   $    110.08
   6/2/2019 Nemias Diaz                      $10.00   50.05   $    8.85         $    50.25   $     50.25
   6/9/2019 Nemias Diaz                      $10.00   50.15   $    8.85         $    50.75   $     50.75
  6/16/2019 Nemias Diaz                      $10.00   49.42   $    8.85         $    47.08   $     47.08
  6/23/2019 Nemias Diaz                      $10.00   47.73   $    8.85         $    38.67   $     38.67
  6/30/2019 Nemias Diaz                      $10.00   59.58   $   10.00         $    97.92   $     97.92
   7/7/2019 Nemias Diaz                      $10.00   45.63   $   10.00         $    28.17   $     28.17
  7/14/2019 Nemias Diaz                      $10.00   59.15   $   10.00         $    95.75   $     95.75
  7/21/2019 Nemias Diaz                      $10.00   49.88   $   10.00         $    49.42   $     49.42
  7/28/2019 Nemias Diaz                      $10.00   59.37   $   10.00         $    96.83   $     96.83
   8/4/2019 Nemias Diaz                      $10.00   58.90   $   10.00         $    94.50   $     94.50
  8/11/2019 Nemias Diaz                      $10.00   57.48   $   10.00         $    87.42   $     87.42
  8/18/2019 Nemias Diaz                      $10.00   59.18   $   10.00         $    95.92   $     95.92
  8/25/2019 Nemias Diaz                      $10.00   58.15   $   10.00         $    90.75   $     90.75
   9/1/2019 Nemias Diaz                      $10.00   59.22   $   10.00         $    96.08   $     96.08
   9/8/2019 Nemias Diaz                      $10.00   48.17   $   10.00         $    40.83   $     40.83
   7/7/2019 Nercido Gonzalez                 $10.00   48.42   $   10.00         $    42.08   $     42.08
  4/14/2019 Neri Romero                      $10.00   58.80   $    8.85         $    94.00   $     94.00
  4/21/2019 Neri Romero                      $10.00   53.48   $    8.85         $    67.42   $     67.42
 12/29/2019 Neris Omar Ruano                 $11.00   53.57   $   10.00         $    74.62   $     74.62
   1/5/2020 Neris Omar Ruano                 $11.00   69.10   $   11.00         $   160.05   $    160.05
  1/12/2020 Neris Omar Ruano                 $11.00   75.85   $   11.00         $   197.18   $    197.18
  1/19/2020 Neris Omar Ruano                 $11.00   73.18   $   11.00         $   182.51   $    182.51
  1/26/2020 Neris Omar Ruano                 $11.00   75.40   $   11.00         $   194.70   $    194.70
   2/5/2017 Nestor Vargas                    $13.50   64.67   $    8.44         $   166.50   $    166.50
  2/12/2017 Nestor Vargas                    $13.50   62.82   $    8.44         $   154.01   $    154.01
  2/19/2017 Nestor Vargas                    $13.50   66.93   $    8.44         $   181.80   $    181.80
  2/26/2017 Nestor Vargas                    $13.50   63.18   $    8.44         $   156.49   $    156.49
   3/5/2017 Nestor Vargas                    $13.50   63.42   $    8.44         $   158.06   $    158.06
  3/12/2017 Nestor Vargas                    $13.50   66.28   $    8.44         $   177.41   $    177.41
  3/19/2017 Nestor Vargas                    $13.50   43.83   $    8.44         $    25.88   $     25.88
  3/26/2017 Nestor Vargas                    $13.50   63.93   $    8.44         $   161.55   $    161.55
   4/2/2017 Nestor Vargas                    $13.50   58.18   $    8.44         $   122.74   $    122.74
   4/9/2017 Nestor Vargas                    $13.50   62.57   $    8.44         $   152.33   $    152.33



                                               499
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 501 of 683 PageID: 1348
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

  4/16/2017 Nestor Vargas                  $13.50   63.85   $    8.44         $   160.99   $    160.99
  4/23/2017 Nestor Vargas                  $13.50   62.35   $    8.44         $   150.86   $    150.86
  4/30/2017 Nestor Vargas                  $13.50   55.85   $    8.44         $   106.99   $    106.99
   5/7/2017 Nestor Vargas                  $13.50   62.77   $    8.44         $   153.68   $    153.68
  5/14/2017 Nestor Vargas                  $13.50   62.25   $    8.44         $   150.19   $    150.19
  5/21/2017 Nestor Vargas                  $13.50   61.47   $    8.44         $   144.90   $    144.90
  2/24/2019 Neyer Sobrados                 $11.00   67.00   $    8.85         $   148.50   $    148.50
   3/3/2019 Neyer Sobrados                 $11.00   71.50   $    8.85         $   173.25   $    173.25
  3/10/2019 Neyer Sobrados                 $11.00   73.92   $    8.85         $   186.54   $    186.54
  3/17/2019 Neyer Sobrados                 $11.00   75.35   $    8.85         $   194.43   $    194.43
  3/24/2019 Neyer Sobrados                 $11.00   74.93   $    8.85         $   192.13   $    192.13
  3/31/2019 Neyer Sobrados                 $11.00   76.17   $    8.85         $   198.92   $    198.92
   4/7/2019 Neyer Sobrados                 $11.00   76.65   $    8.85         $   201.58   $    201.58
  4/14/2019 Neyer Sobrados                 $11.00   75.42   $    8.85         $   194.79   $    194.79
  4/21/2019 Neyer Sobrados                 $11.00   76.98   $    8.85         $   203.41   $    203.41
  4/28/2019 Neyer Sobrados                 $11.00   74.45   $    8.85         $   189.48   $    189.48
   5/5/2019 Neyer Sobrados                 $11.00   71.50   $    8.85         $   173.25   $    173.25
  5/12/2019 Neyer Sobrados                 $11.00   77.22   $    8.85         $   204.69   $    204.69
  5/19/2019 Neyer Sobrados                 $11.00   76.05   $    8.85         $   198.28   $    198.28
  5/26/2019 Neyer Sobrados                 $11.00   77.87   $    8.85         $   208.27   $    208.27
   6/2/2019 Neyer Sobrados                 $11.00   74.73   $    8.85         $   191.03   $    191.03
   6/9/2019 Neyer Sobrados                 $11.00   77.33   $    8.85         $   205.33   $    205.33
  6/16/2019 Neyer Sobrados                 $11.00   76.05   $    8.85         $   198.28   $    198.28
  6/23/2019 Neyer Sobrados                 $11.00   63.80   $    8.85         $   130.90   $    130.90
  6/30/2019 Neyer Sobrados                 $11.00   77.50   $   10.00         $   206.25   $    206.25
   7/7/2019 Neyer Sobrados                 $11.00   72.40   $   10.00         $   178.20   $    178.20
  7/14/2019 Neyer Sobrados                 $11.00   74.18   $   10.00         $   188.01   $    188.01
  7/21/2019 Neyer Sobrados                 $11.00   74.22   $   10.00         $   188.19   $    188.19
  7/28/2019 Neyer Sobrados                 $11.00   75.80   $   10.00         $   196.90   $    196.90
   8/4/2019 Neyer Sobrados                 $11.00   62.97   $   10.00         $   126.32   $    126.32
  8/11/2019 Neyer Sobrados                 $11.00   69.77   $   10.00         $   163.72   $    163.72
  8/18/2019 Neyer Sobrados                 $11.00   75.92   $   10.00         $   197.54   $    197.54
  8/25/2019 Neyer Sobrados                 $11.00   79.20   $   10.00         $   215.60   $    215.60
   9/1/2019 Neyer Sobrados                 $11.00   79.00   $   10.00         $   214.50   $    214.50
   9/8/2019 Neyer Sobrados                 $11.00   72.73   $   10.00         $   180.03   $    180.03
  9/15/2019 Neyer Sobrados                 $11.00   71.98   $   10.00         $   175.91   $    175.91
  9/22/2019 Neyer Sobrados                 $11.00   74.55   $   10.00         $   190.03   $    190.03
  9/29/2019 Neyer Sobrados                 $11.00   59.97   $   10.00         $   109.82   $    109.82
  10/6/2019 Neyer Sobrados                 $11.00   74.25   $   10.00         $   188.38   $    188.38
 10/13/2019 Neyer Sobrados                 $11.00   50.20   $   10.00         $    56.10   $     56.10
 10/27/2019 Neyer Sobrados                 $11.00   63.37   $   10.00         $   128.52   $    128.52
 11/10/2019 Neyer Sobrados                 $11.00   58.30   $   10.00         $   100.65   $    100.65
 11/17/2019 Neyer Sobrados                 $11.00   71.53   $   10.00         $   173.43   $    173.43
 11/24/2019 Neyer Sobrados                 $11.00   74.70   $   10.00         $   190.85   $    190.85
  12/8/2019 Neyer Sobrados                 $11.00   49.37   $   10.00         $    51.52   $     51.52
 12/15/2019 Neyer Sobrados                 $11.00   70.68   $   10.00         $   168.76   $    168.76
 12/22/2019 Neyer Sobrados                 $11.00   74.60   $   10.00         $   190.30   $    190.30
 12/29/2019 Neyer Sobrados                 $11.00   58.03   $   10.00         $    99.18   $     99.18
   1/5/2020 Neyer Sobrados                 $11.00   71.55   $   11.00         $   173.53   $    173.53
  1/12/2020 Neyer Sobrados                 $11.00   74.62   $   11.00         $   190.39   $    190.39



                                             500
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 502 of 683 PageID: 1349
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

  1/19/2020 Neyer Sobrados                 $11.00   75.60   $   11.00         $   195.80   $    195.80
  1/26/2020 Neyer Sobrados                 $11.00   72.47   $   11.00         $   178.57   $    178.57
  8/20/2017 Nicky Saenz                    $11.00   61.13   $    8.44         $   116.23   $    116.23
  8/27/2017 Nicky Saenz                    $11.00   70.95   $    8.44         $   170.23   $    170.23
   9/3/2017 Nicky Saenz                    $11.00   61.12   $    8.44         $   116.14   $    116.14
  9/10/2017 Nicky Saenz                    $11.00   63.68   $    8.44         $   130.26   $    130.26
  9/17/2017 Nicky Saenz                    $11.00   50.42   $    8.44         $    57.29   $     57.29
  9/24/2017 Nicky Saenz                    $11.00   69.30   $    8.44         $   161.15   $    161.15
  10/1/2017 Nicky Saenz                    $11.00   61.03   $    8.44         $   115.68   $    115.68
  10/8/2017 Nicky Saenz                    $11.00   68.93   $    8.44         $   159.13   $    159.13
 10/15/2017 Nicky Saenz                    $11.00   50.60   $    8.44         $    58.30   $     58.30
 10/22/2017 Nicky Saenz                    $11.00   68.62   $    8.44         $   157.39   $    157.39
 10/29/2017 Nicky Saenz                    $11.00   60.03   $    8.44         $   110.18   $    110.18
  11/5/2017 Nicky Saenz                    $11.00   69.50   $    8.44         $   162.25   $    162.25
 11/12/2017 Nicky Saenz                    $11.00   60.63   $    8.44         $   113.48   $    113.48
 11/19/2017 Nicky Saenz                    $11.00   69.25   $    8.44         $   160.88   $    160.88
 11/26/2017 Nicky Saenz                    $11.00   51.70   $    8.44         $    64.35   $     64.35
  12/3/2017 Nicky Saenz                    $11.00   69.73   $    8.44         $   163.53   $    163.53
 12/10/2017 Nicky Saenz                    $11.00   61.70   $    8.44         $   119.35   $    119.35
 12/17/2017 Nicky Saenz                    $11.00   69.77   $    8.44         $   163.72   $    163.72
 12/24/2017 Nicky Saenz                    $11.00   50.87   $    8.44         $    59.77   $     59.77
 12/31/2017 Nicky Saenz                    $11.00   58.80   $    8.44         $   103.40   $    103.40
   1/7/2018 Nicky Saenz                    $11.00   49.75   $    8.60         $    53.63   $     53.63
  1/14/2018 Nicky Saenz                    $11.00   67.77   $    8.60         $   152.72   $    152.72
  1/21/2018 Nicky Saenz                    $11.00   61.97   $    8.60         $   120.82   $    120.82
  1/28/2018 Nicky Saenz                    $11.00   68.83   $    8.60         $   158.58   $    158.58
   2/4/2018 Nicky Saenz                    $11.00   60.43   $    8.60         $   112.38   $    112.38
  2/11/2018 Nicky Saenz                    $11.00   67.48   $    8.60         $   151.16   $    151.16
  2/18/2018 Nicky Saenz                    $11.00   49.75   $    8.60         $    53.63   $     53.63
  2/25/2018 Nicky Saenz                    $11.00   67.80   $    8.60         $   152.90   $    152.90
   3/4/2018 Nicky Saenz                    $11.00   60.15   $    8.60         $   110.83   $    110.83
   4/1/2018 Nicky Saenz                    $11.00   49.25   $    8.60         $    50.88   $     50.88
   4/8/2018 Nicky Saenz                    $11.00   68.43   $    8.60         $   156.38   $    156.38
  4/15/2018 Nicky Saenz                    $11.00   59.75   $    8.60         $   108.63   $    108.63
  4/22/2018 Nicky Saenz                    $11.00   60.82   $    8.60         $   114.49   $    114.49
  4/29/2018 Nicky Saenz                    $11.00   60.47   $    8.60         $   112.57   $    112.57
   5/6/2018 Nicky Saenz                    $11.00   60.65   $    8.60         $   113.58   $    113.58
  5/13/2018 Nicky Saenz                    $11.00   60.77   $    8.60         $   114.22   $    114.22
  5/20/2018 Nicky Saenz                    $11.00   60.45   $    8.60         $   112.48   $    112.48
  5/27/2018 Nicky Saenz                    $11.00   60.22   $    8.60         $   111.19   $    111.19
   6/3/2018 Nicky Saenz                    $11.00   49.88   $    8.60         $    54.36   $     54.36
  6/10/2018 Nicky Saenz                    $11.00   59.92   $    8.60         $   109.54   $    109.54
  6/17/2018 Nicky Saenz                    $11.00   60.30   $    8.60         $   111.65   $    111.65
  6/24/2018 Nicky Saenz                    $11.00   64.90   $    8.60         $   136.95   $    136.95
   7/1/2018 Nicky Saenz                    $11.00   64.77   $    8.60         $   136.22   $    136.22
   7/8/2018 Nicky Saenz                    $11.00   60.05   $    8.60         $   110.28   $    110.28
  7/15/2018 Nicky Saenz                    $11.00   68.70   $    8.60         $   157.85   $    157.85
  7/22/2018 Nicky Saenz                    $11.00   60.27   $    8.60         $   111.47   $    111.47
  7/29/2018 Nicky Saenz                    $11.00   60.88   $    8.60         $   114.86   $    114.86
   8/5/2018 Nicky Saenz                    $11.00   60.12   $    8.60         $   110.64   $    110.64



                                             501
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 503 of 683 PageID: 1350
                                         Exhibit 2
                                 New Jersey Computations


   Week                                                 State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
  Ending                  Name                        Minumum Regular    Half-Time Overtime Back
                                         Rate Week
   Date                                                 Wage  Rate Due     Due       Wages Due

  8/12/2018 Nicky Saenz                 $11.00   60.85   $    8.60         $   114.68   $    114.68
  8/19/2018 Nicky Saenz                 $11.00   60.52   $    8.60         $   112.84   $    112.84
  8/26/2018 Nicky Saenz                 $11.00   60.93   $    8.60         $   115.13   $    115.13
   9/2/2018 Nicky Saenz                 $11.00   64.37   $    8.60         $   134.02   $    134.02
   9/9/2018 Nicky Saenz                 $11.00   57.22   $    8.60         $    94.69   $     94.69
  9/16/2018 Nicky Saenz                 $11.00   50.27   $    8.60         $    56.47   $     56.47
  9/23/2018 Nicky Saenz                 $11.00   59.32   $    8.60         $   106.24   $    106.24
  9/30/2018 Nicky Saenz                 $11.00   61.02   $    8.60         $   115.59   $    115.59
  10/7/2018 Nicky Saenz                 $11.00   56.93   $    8.60         $    93.13   $     93.13
 10/14/2018 Nicky Saenz                 $11.00   56.42   $    8.60         $    90.29   $     90.29
 10/21/2018 Nicky Saenz                 $11.00   56.77   $    8.60         $    92.22   $     92.22
 10/28/2018 Nicky Saenz                 $11.00   63.20   $    8.60         $   127.60   $    127.60
  11/4/2018 Nicky Saenz                 $11.00   60.83   $    8.60         $   114.58   $    114.58
 11/11/2018 Nicky Saenz                 $11.00   61.05   $    8.60         $   115.78   $    115.78
 11/18/2018 Nicky Saenz                 $11.00   50.90   $    8.60         $    59.95   $     59.95
 11/25/2018 Nicky Saenz                 $11.00   49.28   $    8.60         $    51.06   $     51.06
  12/2/2018 Nicky Saenz                 $11.00   60.47   $    8.60         $   112.57   $    112.57
  12/9/2018 Nicky Saenz                 $11.00   61.08   $    8.60         $   115.96   $    115.96
 12/16/2018 Nicky Saenz                 $11.00   60.23   $    8.60         $   111.28   $    111.28
 12/23/2018 Nicky Saenz                 $11.00   62.50   $    8.60         $   123.75   $    123.75
 12/30/2018 Nicky Saenz                 $11.00   48.15   $    8.60         $    44.83   $     44.83
   1/6/2019 Nicky Saenz                 $11.00   53.10   $    8.85         $    72.05   $     72.05
  1/13/2019 Nicky Saenz                 $11.00   60.33   $    8.85         $   111.83   $    111.83
  1/20/2019 Nicky Saenz                 $11.00   60.18   $    8.85         $   111.01   $    111.01
  1/27/2019 Nicky Saenz                 $11.00   60.60   $    8.85         $   113.30   $    113.30
   2/3/2019 Nicky Saenz                 $11.00   60.70   $    8.85         $   113.85   $    113.85
  2/10/2019 Nicky Saenz                 $11.00   61.28   $    8.85         $   117.06   $    117.06
  2/17/2019 Nicky Saenz                 $11.00   60.50   $    8.85         $   112.75   $    112.75
  2/24/2019 Nicky Saenz                 $11.00   60.87   $    8.85         $   114.77   $    114.77
   3/3/2019 Nicky Saenz                 $11.00   60.23   $    8.85         $   111.28   $    111.28
  3/10/2019 Nicky Saenz                 $11.00   60.43   $    8.85         $   112.38   $    112.38
  3/17/2019 Nicky Saenz                 $11.00   60.88   $    8.85         $   114.86   $    114.86
  3/24/2019 Nicky Saenz                 $11.00   61.77   $    8.85         $   119.72   $    119.72
  3/31/2019 Nicky Saenz                 $11.00   62.98   $    8.85         $   126.41   $    126.41
   4/7/2019 Nicky Saenz                 $11.00   61.72   $    8.85         $   119.44   $    119.44
  4/14/2019 Nicky Saenz                 $11.00   59.48   $    8.85         $   107.16   $    107.16
  4/21/2019 Nicky Saenz                 $11.00   51.57   $    8.85         $    63.62   $     63.62
  4/28/2019 Nicky Saenz                 $11.00   49.12   $    8.85         $    50.14   $     50.14
   5/5/2019 Nicky Saenz                 $11.00   61.13   $    8.85         $   116.23   $    116.23
  5/12/2019 Nicky Saenz                 $11.00   56.93   $    8.85         $    93.13   $     93.13
  5/19/2019 Nicky Saenz                 $11.00   51.22   $    8.85         $    61.69   $     61.69
  5/26/2019 Nicky Saenz                 $11.00   60.93   $    8.85         $   115.13   $    115.13
   6/2/2019 Nicky Saenz                 $11.00   52.37   $    8.85         $    68.02   $     68.02
   6/9/2019 Nicky Saenz                 $11.00   58.55   $    8.85         $   102.03   $    102.03
  6/16/2019 Nicky Saenz                 $11.00   51.48   $    8.85         $    63.16   $     63.16
  6/23/2019 Nicky Saenz                 $11.00   61.67   $    8.85         $   119.17   $    119.17
  6/30/2019 Nicky Saenz                 $11.00   61.28   $   10.00         $   117.06   $    117.06
   7/7/2019 Nicky Saenz                 $11.00   56.42   $   10.00         $    90.29   $     90.29
  7/14/2019 Nicky Saenz                 $11.00   61.20   $   10.00         $   116.60   $    116.60
  7/21/2019 Nicky Saenz                 $11.00   61.57   $   10.00         $   118.62   $    118.62



                                          502
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 504 of 683 PageID: 1351
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  7/28/2019 Nicky Saenz                       $11.00   61.63   $   10.00         $   118.98   $    118.98
   8/4/2019 Nicky Saenz                       $11.00   61.68   $   10.00         $   119.26   $    119.26
  8/11/2019 Nicky Saenz                       $11.00   61.58   $   10.00         $   118.71   $    118.71
  8/18/2019 Nicky Saenz                       $11.00   61.40   $   10.00         $   117.70   $    117.70
  8/25/2019 Nicky Saenz                       $11.00   62.32   $   10.00         $   122.74   $    122.74
   9/1/2019 Nicky Saenz                       $11.00   61.45   $   10.00         $   117.98   $    117.98
   9/8/2019 Nicky Saenz                       $11.00   57.23   $   10.00         $    94.78   $     94.78
  9/15/2019 Nicky Saenz                       $11.00   61.05   $   10.00         $   115.78   $    115.78
  9/22/2019 Nicky Saenz                       $11.00   61.57   $   10.00         $   118.62   $    118.62
  9/29/2019 Nicky Saenz                       $11.00   60.53   $   10.00         $   112.93   $    112.93
  10/6/2019 Nicky Saenz                       $11.00   60.85   $   10.00         $   114.68   $    114.68
 10/13/2019 Nicky Saenz                       $11.00   61.10   $   10.00         $   116.05   $    116.05
 10/20/2019 Nicky Saenz                       $11.00   60.93   $   10.00         $   115.13   $    115.13
 10/27/2019 Nicky Saenz                       $11.00   60.43   $   10.00         $   112.38   $    112.38
  11/3/2019 Nicky Saenz                       $11.00   60.27   $   10.00         $   111.47   $    111.47
 11/10/2019 Nicky Saenz                       $11.00   60.90   $   10.00         $   114.95   $    114.95
 11/17/2019 Nicky Saenz                       $11.00   61.00   $   10.00         $   115.50   $    115.50
 11/24/2019 Nicky Saenz                       $11.00   54.57   $   10.00         $    80.12   $     80.12
  12/1/2019 Nicky Saenz                       $11.00   51.32   $   10.00         $    62.24   $     62.24
  12/8/2019 Nicky Saenz                       $11.00   58.85   $   10.00         $   103.68   $    103.68
 12/15/2019 Nicky Saenz                       $11.00   60.90   $   10.00         $   114.95   $    114.95
 12/22/2019 Nicky Saenz                       $11.00   61.02   $   10.00         $   115.59   $    115.59
 12/29/2019 Nicky Saenz                       $11.00   47.77   $   10.00         $    42.72   $     42.72
   1/5/2020 Nicky Saenz                       $11.00   54.58   $   11.00         $    80.21   $     80.21
  1/12/2020 Nicky Saenz                       $11.00   50.30   $   11.00         $    56.65   $     56.65
  1/19/2020 Nicky Saenz                       $11.00   60.47   $   11.00         $   112.57   $    112.57
  1/26/2020 Nicky Saenz                       $11.00   61.17   $   11.00         $   116.42   $    116.42
   4/7/2019 Nicolas Miceli                    $10.00   63.85   $    8.85         $   119.25   $    119.25
  4/14/2019 Nicolas Miceli                    $10.00   62.95   $    8.85         $   114.75   $    114.75
  4/21/2019 Nicolas Miceli                    $10.00   66.97   $    8.85         $   134.83   $    134.83
  4/28/2019 Nicolas Miceli                    $10.00   66.03   $    8.85         $   130.17   $    130.17
   5/5/2019 Nicolas Miceli                    $10.00   55.12   $    8.85         $    75.58   $     75.58
  5/12/2019 Nicolas Miceli                    $10.00   66.92   $    8.85         $   134.58   $    134.58
  5/19/2019 Nicolas Miceli                    $10.00   58.38   $    8.85         $    91.92   $     91.92
  5/26/2019 Nicolas Miceli                    $10.00   67.00   $    8.85         $   135.00   $    135.00
   6/2/2019 Nicolas Miceli                    $10.00   59.15   $    8.85         $    95.75   $     95.75
   6/9/2019 Nicolas Miceli                    $10.00   67.13   $    8.85         $   135.67   $    135.67
  6/16/2019 Nicolas Miceli                    $10.00   65.57   $    8.85         $   127.83   $    127.83
  6/23/2019 Nicolas Miceli                    $10.00   66.02   $    8.85         $   130.08   $    130.08
  6/30/2019 Nicolas Miceli                    $10.00   66.50   $   10.00         $   132.50   $    132.50
   4/7/2019 Nicolas Paredes Grullon            $9.50   65.95   $    8.85         $   123.26   $    123.26
  4/14/2019 Nicolas Paredes Grullon            $9.50   66.22   $    8.85         $   124.53   $    124.53
  4/21/2019 Nicolas Paredes Grullon            $9.50   64.43   $    8.85         $   116.06   $    116.06
  4/28/2019 Nicolas Paredes Grullon            $9.50   64.80   $    8.85         $   117.80   $    117.80
   5/5/2019 Nicolas Paredes Grullon            $9.50   58.10   $    8.85         $    85.98   $     85.98
  5/26/2019 Nilson Objio - Car Wash           $16.50   60.18   $    8.85         $   166.51   $    166.51
  9/22/2019 Noel Nunez                        $10.00   40.90   $   10.00         $     4.50   $      4.50
  10/6/2019 Noel Nunez                        $10.00   48.68   $   10.00         $    43.42   $     43.42
 10/13/2019 Noel Nunez                        $10.00   46.33   $   10.00         $    31.67   $     31.67
   2/5/2017 Novilio Cueto                     $11.00   60.57   $    8.44         $   113.12   $    113.12



                                                503
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 505 of 683 PageID: 1352
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

  2/12/2017 Novilio Cueto                 $11.00   58.60   $   8.44          $   102.30   $    102.30
  2/19/2017 Novilio Cueto                 $11.00   61.07   $   8.44          $   115.87   $    115.87
  2/26/2017 Novilio Cueto                 $11.00   63.82   $   8.44          $   130.99   $    130.99
   3/5/2017 Novilio Cueto                 $11.00   68.25   $   8.44          $   155.38   $    155.38
  3/12/2017 Novilio Cueto                 $11.00   70.85   $   8.44          $   169.68   $    169.68
  3/19/2017 Novilio Cueto                 $11.00   55.80   $   8.44          $    86.90   $     86.90
  3/26/2017 Novilio Cueto                 $11.00   75.85   $   8.44          $   197.18   $    197.18
   4/2/2017 Novilio Cueto                 $11.00   73.10   $   8.44          $   182.05   $    182.05
   4/9/2017 Novilio Cueto                 $11.00   67.58   $   8.44          $   151.71   $    151.71
  4/16/2017 Novilio Cueto                 $11.00   61.32   $   8.44          $   117.24   $    117.24
  4/23/2017 Novilio Cueto                 $11.00   67.95   $   8.44          $   153.73   $    153.73
  4/30/2017 Novilio Cueto                 $11.00   71.88   $   8.44          $   175.36   $    175.36
   5/7/2017 Novilio Cueto                 $11.00   67.78   $   8.44          $   152.81   $    152.81
  5/14/2017 Novilio Cueto                 $11.00   72.93   $   8.44          $   181.13   $    181.13
  5/21/2017 Novilio Cueto                 $11.00   74.10   $   8.44          $   187.55   $    187.55
  5/28/2017 Novilio Cueto                 $11.00   75.15   $   8.44          $   193.33   $    193.33
   6/4/2017 Novilio Cueto                 $11.00   62.23   $   8.44          $   122.28   $    122.28
  6/11/2017 Novilio Cueto                 $11.00   71.68   $   8.44          $   174.26   $    174.26
  6/18/2017 Novilio Cueto                 $11.00   71.35   $   8.44          $   172.43   $    172.43
  6/25/2017 Novilio Cueto                 $11.00   76.98   $   8.44          $   203.41   $    203.41
   7/2/2017 Novilio Cueto                 $11.00   74.85   $   8.44          $   191.68   $    191.68
   7/9/2017 Novilio Cueto                 $11.00   51.80   $   8.44          $    64.90   $     64.90
  7/16/2017 Novilio Cueto                 $11.00   72.38   $   8.44          $   178.11   $    178.11
  7/23/2017 Novilio Cueto                 $11.00   70.13   $   8.44          $   165.73   $    165.73
  7/30/2017 Novilio Cueto                 $11.00   71.72   $   8.44          $   174.44   $    174.44
   8/6/2017 Novilio Cueto                 $11.00   69.63   $   8.44          $   162.98   $    162.98
  8/13/2017 Novilio Cueto                 $11.00   63.62   $   8.44          $   129.89   $    129.89
  8/20/2017 Novilio Cueto                 $11.00   69.87   $   8.44          $   164.27   $    164.27
  8/27/2017 Novilio Cueto                 $11.00   71.17   $   8.44          $   171.42   $    171.42
   9/3/2017 Novilio Cueto                 $11.00   72.60   $   8.44          $   179.30   $    179.30
  9/10/2017 Novilio Cueto                 $11.00   61.88   $   8.44          $   120.36   $    120.36
  9/17/2017 Novilio Cueto                 $11.00   72.55   $   8.44          $   179.03   $    179.03
  9/24/2017 Novilio Cueto                 $11.00   67.90   $   8.44          $   153.45   $    153.45
  10/1/2017 Novilio Cueto                 $11.00   63.75   $   8.44          $   130.63   $    130.63
  10/8/2017 Novilio Cueto                 $11.00   64.38   $   8.44          $   134.11   $    134.11
 10/15/2017 Novilio Cueto                 $11.00   65.57   $   8.44          $   140.62   $    140.62
 10/22/2017 Novilio Cueto                 $11.00   67.95   $   8.44          $   153.73   $    153.73
 10/29/2017 Novilio Cueto                 $11.00   62.52   $   8.44          $   123.84   $    123.84
 11/19/2017 Novilio Cueto                 $11.00   66.93   $   8.44          $   148.13   $    148.13
 11/26/2017 Novilio Cueto                 $11.00   51.92   $   8.44          $    65.54   $     65.54
  12/3/2017 Novilio Cueto                 $11.00   69.93   $   8.44          $   164.63   $    164.63
 12/10/2017 Novilio Cueto                 $11.00   69.55   $   8.44          $   162.53   $    162.53
 12/17/2017 Novilio Cueto                 $11.00   74.05   $   8.44          $   187.28   $    187.28
 12/24/2017 Novilio Cueto                 $11.00   72.72   $   8.44          $   179.94   $    179.94
 12/31/2017 Novilio Cueto                 $11.00   58.30   $   8.44          $   100.65   $    100.65
   1/7/2018 Novilio Cueto                 $11.00   43.98   $   8.60          $    21.91   $     21.91
  1/14/2018 Novilio Cueto                 $11.00   56.53   $   8.60          $    90.93   $     90.93
  1/21/2018 Novilio Cueto                 $11.00   65.05   $   8.60          $   137.78   $    137.78
  1/28/2018 Novilio Cueto                 $11.00   59.82   $   8.60          $   108.99   $    108.99
   2/4/2018 Novilio Cueto                 $11.00   60.38   $   8.60          $   112.11   $    112.11



                                            504
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 506 of 683 PageID: 1353
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

  2/11/2018 Novilio Cueto                 $11.00   64.80   $   8.60          $   136.40   $    136.40
  2/18/2018 Novilio Cueto                 $11.00   64.22   $   8.60          $   133.19   $    133.19
  2/25/2018 Novilio Cueto                 $11.00   65.30   $   8.60          $   139.15   $    139.15
   3/4/2018 Novilio Cueto                 $11.00   63.03   $   8.60          $   126.68   $    126.68
  3/25/2018 Novilio Cueto                 $11.00   62.05   $   8.60          $   121.28   $    121.28
   4/1/2018 Novilio Cueto                 $11.00   65.90   $   8.60          $   142.45   $    142.45
   4/8/2018 Novilio Cueto                 $11.00   56.37   $   8.60          $    90.02   $     90.02
  4/15/2018 Novilio Cueto                 $11.00   58.92   $   8.60          $   104.04   $    104.04
  4/22/2018 Novilio Cueto                 $11.00   63.27   $   8.60          $   127.97   $    127.97
  4/29/2018 Novilio Cueto                 $11.00   67.42   $   8.60          $   150.79   $    150.79
   5/6/2018 Novilio Cueto                 $11.00   58.15   $   8.60          $    99.83   $     99.83
  5/13/2018 Novilio Cueto                 $11.00   67.05   $   8.60          $   148.78   $    148.78
  5/20/2018 Novilio Cueto                 $11.00   58.48   $   8.60          $   101.66   $    101.66
  5/27/2018 Novilio Cueto                 $11.00   65.57   $   8.60          $   140.62   $    140.62
   6/3/2018 Novilio Cueto                 $11.00   63.20   $   8.60          $   127.60   $    127.60
  6/10/2018 Novilio Cueto                 $11.00   64.33   $   8.60          $   133.83   $    133.83
  6/17/2018 Novilio Cueto                 $11.00   63.60   $   8.60          $   129.80   $    129.80
  6/24/2018 Novilio Cueto                 $11.00   61.55   $   8.60          $   118.53   $    118.53
   7/1/2018 Novilio Cueto                 $11.00   66.18   $   8.60          $   144.01   $    144.01
   7/8/2018 Novilio Cueto                 $11.00   50.72   $   8.60          $    58.94   $     58.94
  7/15/2018 Novilio Cueto                 $11.00   66.58   $   8.60          $   146.21   $    146.21
  7/22/2018 Novilio Cueto                 $11.00   65.68   $   8.60          $   141.26   $    141.26
  7/29/2018 Novilio Cueto                 $11.00   68.28   $   8.60          $   155.56   $    155.56
   8/5/2018 Novilio Cueto                 $11.00   61.98   $   8.60          $   120.91   $    120.91
  8/12/2018 Novilio Cueto                 $11.00   64.07   $   8.60          $   132.37   $    132.37
  8/19/2018 Novilio Cueto                 $11.00   65.87   $   8.60          $   142.27   $    142.27
  8/26/2018 Novilio Cueto                 $11.00   64.63   $   8.60          $   135.48   $    135.48
   9/2/2018 Novilio Cueto                 $11.00   67.95   $   8.60          $   153.73   $    153.73
   9/9/2018 Novilio Cueto                 $11.00   53.77   $   8.60          $    75.72   $     75.72
  9/16/2018 Novilio Cueto                 $11.00   62.97   $   8.60          $   126.32   $    126.32
  9/23/2018 Novilio Cueto                 $11.00   59.48   $   8.60          $   107.16   $    107.16
  9/30/2018 Novilio Cueto                 $11.00   63.30   $   8.60          $   128.15   $    128.15
  10/7/2018 Novilio Cueto                 $11.00   63.03   $   8.60          $   126.68   $    126.68
 10/14/2018 Novilio Cueto                 $11.00   57.23   $   8.60          $    94.78   $     94.78
 10/21/2018 Novilio Cueto                 $11.00   60.73   $   8.60          $   114.03   $    114.03
 10/28/2018 Novilio Cueto                 $11.00   62.67   $   8.60          $   124.67   $    124.67
  11/4/2018 Novilio Cueto                 $11.00   58.67   $   8.60          $   102.67   $    102.67
 11/11/2018 Novilio Cueto                 $11.00   66.30   $   8.60          $   144.65   $    144.65
 11/18/2018 Novilio Cueto                 $11.00   67.92   $   8.60          $   153.54   $    153.54
 11/25/2018 Novilio Cueto                 $11.00   51.95   $   8.60          $    65.73   $     65.73
  12/2/2018 Novilio Cueto                 $11.00   66.52   $   8.60          $   145.84   $    145.84
  12/9/2018 Novilio Cueto                 $11.00   62.38   $   8.60          $   123.11   $    123.11
 12/16/2018 Novilio Cueto                 $11.00   66.02   $   8.60          $   143.09   $    143.09
 12/23/2018 Novilio Cueto                 $11.00   67.77   $   8.60          $   152.72   $    152.72
 12/30/2018 Novilio Cueto                 $11.00   48.72   $   8.60          $    47.94   $     47.94
   1/6/2019 Novilio Cueto                 $11.00   47.03   $   8.85          $    38.68   $     38.68
  1/13/2019 Novilio Cueto                 $11.00   63.17   $   8.85          $   127.42   $    127.42
  1/20/2019 Novilio Cueto                 $11.00   56.15   $   8.85          $    88.83   $     88.83
  1/27/2019 Novilio Cueto                 $11.00   53.70   $   8.85          $    75.35   $     75.35
   2/3/2019 Novilio Cueto                 $11.00   56.65   $   8.85          $    91.58   $     91.58



                                            505
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 507 of 683 PageID: 1354
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

  2/10/2019 Novilio Cueto                 $11.00   56.02   $    8.85         $    88.09   $     88.09
  2/17/2019 Novilio Cueto                 $11.00   61.27   $    8.85         $   116.97   $    116.97
  2/24/2019 Novilio Cueto                 $11.00   66.93   $    8.85         $   148.13   $    148.13
   3/3/2019 Novilio Cueto                 $11.00   71.97   $    8.85         $   175.82   $    175.82
  3/10/2019 Novilio Cueto                 $11.00   66.92   $    8.85         $   148.04   $    148.04
  3/17/2019 Novilio Cueto                 $11.00   71.72   $    8.85         $   174.44   $    174.44
  3/24/2019 Novilio Cueto                 $11.00   65.95   $    8.85         $   142.73   $    142.73
  3/31/2019 Novilio Cueto                 $11.00   61.35   $    8.85         $   117.43   $    117.43
   4/7/2019 Novilio Cueto                 $11.00   64.13   $    8.85         $   132.73   $    132.73
  4/14/2019 Novilio Cueto                 $11.00   68.32   $    8.85         $   155.74   $    155.74
  4/21/2019 Novilio Cueto                 $11.00   66.22   $    8.85         $   144.19   $    144.19
  4/28/2019 Novilio Cueto                 $11.00   65.62   $    8.85         $   140.89   $    140.89
   5/5/2019 Novilio Cueto                 $11.00   59.40   $    8.85         $   106.70   $    106.70
  5/12/2019 Novilio Cueto                 $11.00   62.85   $    8.85         $   125.68   $    125.68
  5/19/2019 Novilio Cueto                 $11.00   64.15   $    8.85         $   132.83   $    132.83
  5/26/2019 Novilio Cueto                 $11.00   68.27   $    8.85         $   155.47   $    155.47
   6/2/2019 Novilio Cueto                 $11.00   53.57   $    8.85         $    74.62   $     74.62
   6/9/2019 Novilio Cueto                 $11.00   67.78   $    8.85         $   152.81   $    152.81
  6/16/2019 Novilio Cueto                 $11.00   63.90   $    8.85         $   131.45   $    131.45
  6/23/2019 Novilio Cueto                 $11.00   64.98   $    8.85         $   137.41   $    137.41
  6/30/2019 Novilio Cueto                 $11.00   66.57   $   10.00         $   146.12   $    146.12
   7/7/2019 Novilio Cueto                 $11.50   42.17   $   10.00         $    12.46   $     12.46
  7/14/2019 Novilio Cueto                 $11.50   63.93   $   10.00         $   137.62   $    137.62
  7/21/2019 Novilio Cueto                 $11.50   61.03   $   10.00         $   120.94   $    120.94
  7/28/2019 Novilio Cueto                 $11.50   66.95   $   10.00         $   154.96   $    154.96
   8/4/2019 Novilio Cueto                 $11.50   63.85   $   10.00         $   137.14   $    137.14
  8/11/2019 Novilio Cueto                 $11.50   56.55   $   10.00         $    95.16   $     95.16
  8/18/2019 Novilio Cueto                 $11.50   59.35   $   10.00         $   111.26   $    111.26
  8/25/2019 Novilio Cueto                 $11.50   57.82   $   10.00         $   102.45   $    102.45
   9/1/2019 Novilio Cueto                 $11.50   64.80   $   10.00         $   142.60   $    142.60
   9/8/2019 Novilio Cueto                 $11.50   52.62   $   10.00         $    72.55   $     72.55
  9/15/2019 Novilio Cueto                 $11.50   57.27   $   10.00         $    99.28   $     99.28
  9/22/2019 Novilio Cueto                 $11.50   58.53   $   10.00         $   106.57   $    106.57
  9/29/2019 Novilio Cueto                 $11.50   59.48   $   10.00         $   112.03   $    112.03
  10/6/2019 Novilio Cueto                 $11.50   60.37   $   10.00         $   117.11   $    117.11
 10/13/2019 Novilio Cueto                 $11.50   57.07   $   10.00         $    98.13   $     98.13
 10/20/2019 Novilio Cueto                 $11.50   59.70   $   10.00         $   113.28   $    113.28
 10/27/2019 Novilio Cueto                 $11.50   57.73   $   10.00         $   101.97   $    101.97
  11/3/2019 Novilio Cueto                 $11.50   47.40   $   10.00         $    42.55   $     42.55
 11/10/2019 Novilio Cueto                 $11.50   61.77   $   10.00         $   125.16   $    125.16
 11/17/2019 Novilio Cueto                 $11.50   62.75   $   10.00         $   130.81   $    130.81
 11/24/2019 Novilio Cueto                 $11.50   63.47   $   10.00         $   134.93   $    134.93
  12/8/2019 Novilio Cueto                 $11.50   63.13   $   10.00         $   133.02   $    133.02
 12/15/2019 Novilio Cueto                 $11.50   63.67   $   10.00         $   136.08   $    136.08
 12/22/2019 Novilio Cueto                 $11.50   64.35   $   10.00         $   140.01   $    140.01
 12/29/2019 Novilio Cueto                 $11.50   47.65   $   10.00         $    43.99   $     43.99
   1/5/2020 Novilio Cueto                 $11.50   41.68   $   11.00         $     9.68   $      9.68
  1/19/2020 Novilio Cueto                 $11.50   56.08   $   11.00         $    92.48   $     92.48
  1/26/2020 Novilio Cueto                 $11.50   56.90   $   11.00         $    97.18   $     97.18
   3/5/2017 Octavio Cress                 $10.00   67.85   $    8.44         $   139.25   $    139.25



                                            506
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 508 of 683 PageID: 1355
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

  3/12/2017 Octavio Cress                 $10.00   69.12   $   8.44          $   145.58   $    145.58
  3/19/2017 Octavio Cress                 $10.00   57.20   $   8.44          $    86.00   $     86.00
  3/26/2017 Octavio Cress                 $10.00   65.30   $   8.44          $   126.50   $    126.50
   4/2/2017 Octavio Cress                 $10.00   66.70   $   8.44          $   133.50   $    133.50
   4/9/2017 Octavio Cress                 $10.00   65.10   $   8.44          $   125.50   $    125.50
  4/16/2017 Octavio Cress                 $10.00   59.68   $   8.44          $    98.42   $     98.42
  4/23/2017 Octavio Cress                 $10.00   65.17   $   8.44          $   125.83   $    125.83
  4/30/2017 Octavio Cress                 $10.00   65.82   $   8.44          $   129.08   $    129.08
   5/7/2017 Octavio Cress                 $10.00   66.60   $   8.44          $   133.00   $    133.00
  5/14/2017 Octavio Cress                 $10.00   66.03   $   8.44          $   130.17   $    130.17
  5/21/2017 Octavio Cress                 $10.00   65.03   $   8.44          $   125.17   $    125.17
  5/28/2017 Octavio Cress                 $10.00   63.95   $   8.44          $   119.75   $    119.75
   6/4/2017 Octavio Cress                 $10.00   54.50   $   8.44          $    72.50   $     72.50
  6/11/2017 Octavio Cress                 $10.00   64.27   $   8.44          $   121.33   $    121.33
  6/18/2017 Octavio Cress                 $10.00   67.48   $   8.44          $   137.42   $    137.42
  6/25/2017 Octavio Cress                 $10.00   54.03   $   8.44          $    70.17   $     70.17
   7/2/2017 Octavio Cress                 $10.00   66.43   $   8.44          $   132.17   $    132.17
   7/9/2017 Octavio Cress                 $10.00   54.08   $   8.44          $    70.42   $     70.42
  7/16/2017 Octavio Cress                 $10.00   64.40   $   8.44          $   122.00   $    122.00
  7/23/2017 Octavio Cress                 $10.00   67.18   $   8.44          $   135.92   $    135.92
  7/30/2017 Octavio Cress                 $10.00   56.37   $   8.44          $    81.83   $     81.83
   8/6/2017 Octavio Cress                 $10.00   68.43   $   8.44          $   142.17   $    142.17
  8/13/2017 Octavio Cress                 $10.00   56.35   $   8.44          $    81.75   $     81.75
  8/20/2017 Octavio Cress                 $10.00   61.15   $   8.44          $   105.75   $    105.75
  8/27/2017 Octavio Cress                 $10.00   53.33   $   8.44          $    66.67   $     66.67
   9/3/2017 Octavio Cress                 $10.00   64.87   $   8.44          $   124.33   $    124.33
  9/10/2017 Octavio Cress                 $10.00   48.43   $   8.44          $    42.17   $     42.17
  9/17/2017 Octavio Cress                 $10.00   55.50   $   8.44          $    77.50   $     77.50
  9/24/2017 Octavio Cress                 $10.00   57.58   $   8.44          $    87.92   $     87.92
  10/1/2017 Octavio Cress                 $10.00   57.93   $   8.44          $    89.67   $     89.67
  10/8/2017 Octavio Cress                 $10.00   57.88   $   8.44          $    89.42   $     89.42
 10/15/2017 Octavio Cress                 $10.00   56.93   $   8.44          $    84.67   $     84.67
 10/22/2017 Octavio Cress                 $10.00   57.20   $   8.44          $    86.00   $     86.00
 10/29/2017 Octavio Cress                 $10.00   47.83   $   8.44          $    39.17   $     39.17
  11/5/2017 Octavio Cress                 $10.00   57.38   $   8.44          $    86.92   $     86.92
 11/12/2017 Octavio Cress                 $10.00   61.83   $   8.44          $   109.17   $    109.17
 11/19/2017 Octavio Cress                 $10.00   61.20   $   8.44          $   106.00   $    106.00
 11/26/2017 Octavio Cress                 $10.00   54.00   $   8.44          $    70.00   $     70.00
  12/3/2017 Octavio Cress                 $10.00   53.68   $   8.44          $    68.42   $     68.42
 12/10/2017 Octavio Cress                 $10.00   64.43   $   8.44          $   122.17   $    122.17
 12/17/2017 Octavio Cress                 $10.00   50.88   $   8.44          $    54.42   $     54.42
 12/24/2017 Octavio Cress                 $10.00   63.60   $   8.44          $   118.00   $    118.00
   1/7/2018 Octavio Cress                 $10.00   50.30   $   8.60          $    51.50   $     51.50
  1/14/2018 Octavio Cress                 $10.00   64.10   $   8.60          $   120.50   $    120.50
  1/21/2018 Octavio Cress                 $10.00   65.32   $   8.60          $   126.58   $    126.58
  1/28/2018 Octavio Cress                 $10.00   65.58   $   8.60          $   127.92   $    127.92
   2/4/2018 Octavio Cress                 $10.00   65.62   $   8.60          $   128.08   $    128.08
  2/11/2018 Octavio Cress                 $10.00   62.63   $   8.60          $   113.17   $    113.17
  2/18/2018 Octavio Cress                 $10.00   59.72   $   8.60          $    98.58   $     98.58
  2/25/2018 Octavio Cress                 $10.00   60.47   $   8.60          $   102.33   $    102.33



                                            507
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 509 of 683 PageID: 1356
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

   3/4/2018 Octavio Cress                     $10.00   58.68   $    8.60               $    93.42   $    93.42
  3/25/2018 Octavio Cress                     $10.00   60.30   $    8.60               $   101.50   $   101.50
   4/1/2018 Octavio Cress                     $10.00   61.62   $    8.60               $   108.08   $   108.08
   4/8/2018 Octavio Cress                     $10.00   58.47   $    8.60               $    92.33   $    92.33
  4/15/2018 Octavio Cress                     $10.00   50.22   $    8.60               $    51.08   $    51.08
  4/22/2018 Octavio Cress                     $10.00   61.33   $    8.60               $   106.67   $   106.67
  4/29/2018 Octavio Cress                     $10.00   49.35   $    8.60               $    46.75   $    46.75
 10/20/2019 Odin Masariego                    $10.00   60.90   $   10.00               $   104.50   $   104.50
 10/27/2019 Odin Masariego                    $10.00   50.52   $   10.00               $    52.58   $    52.58
  11/3/2019 Odin Masariego                    $10.00   60.38   $   10.00               $   101.92   $   101.92
 11/10/2019 Odin Masariego                    $10.00   60.93   $   10.00               $   104.67   $   104.67
 11/17/2019 Odin Masariego                    $10.00   60.27   $   10.00               $   101.33   $   101.33
 11/24/2019 Odin Masariego                    $10.00   61.17   $   10.00               $   105.83   $   105.83
  12/1/2019 Odin Masariego                    $10.00   51.32   $   10.00               $    56.58   $    56.58
  12/8/2019 Odin Masariego                    $10.00   59.03   $   10.00               $    95.17   $    95.17
 12/15/2019 Odin Masariego                    $10.00   48.75   $   10.00               $    43.75   $    43.75
 12/22/2019 Odin Masariego                    $10.00   61.18   $   10.00               $   105.92   $   105.92
 12/29/2019 Odin Masariego                    $10.00   47.82   $   10.00               $    39.08   $    39.08
   1/5/2020 Odin Masariego                    $10.00   50.48   $   11.00   $   50.48   $    57.66   $   108.14
  1/12/2020 Odin Masariego                    $10.00   60.08   $   11.00   $   60.08   $   110.46   $   170.54
  1/19/2020 Odin Masariego                    $10.00   60.58   $   11.00   $   60.58   $   113.21   $   173.79
  1/26/2020 Odin Masariego                    $10.00   48.68   $   11.00   $   48.68   $    47.76   $    96.44
 10/20/2019 Oliver Alvarado Mejia             $10.00   58.00   $   10.00               $    90.00   $    90.00
 10/27/2019 Oliver Alvarado Mejia             $10.00   40.12   $   10.00               $     0.58   $     0.58
  11/3/2019 Oliver Alvarado Mejia             $10.00   60.37   $   10.00               $   101.83   $   101.83
 11/10/2019 Oliver Alvarado Mejia             $10.00   50.07   $   10.00               $    50.33   $    50.33
 11/17/2019 Oliver Alvarado Mejia             $10.00   50.07   $   10.00               $    50.33   $    50.33
 11/24/2019 Oliver Alvarado Mejia             $10.00   60.22   $   10.00               $   101.08   $   101.08
  12/1/2019 Oliver Alvarado Mejia             $10.00   50.03   $   10.00               $    50.17   $    50.17
  12/8/2019 Oliver Alvarado Mejia             $10.00   57.60   $   10.00               $    88.00   $    88.00
 12/15/2019 Oliver Alvarado Mejia             $10.00   60.00   $   10.00               $   100.00   $   100.00
   2/5/2017 Omar Lopez                        $11.00   40.38   $    8.44               $     2.11   $     2.11
  2/19/2017 Omar Lopez                        $11.00   41.90   $    8.44               $    10.45   $    10.45
  2/26/2017 Omar Lopez                        $11.00   43.07   $    8.44               $    16.87   $    16.87
   3/5/2017 Omar Lopez                        $11.00   42.50   $    8.44               $    13.75   $    13.75
  3/12/2017 Omar Lopez                        $11.00   47.28   $    8.44               $    40.06   $    40.06
  3/26/2017 Omar Lopez                        $11.00   44.18   $    8.44               $    23.01   $    23.01
   4/2/2017 Omar Lopez                        $11.00   42.82   $    8.44               $    15.49   $    15.49
   4/9/2017 Omar Lopez                        $11.00   42.25   $    8.44               $    12.38   $    12.38
  4/16/2017 Omar Lopez                        $11.00   42.12   $    8.44               $    11.64   $    11.64
  4/23/2017 Omar Lopez                        $11.00   42.17   $    8.44               $    11.92   $    11.92
  6/11/2017 Omar Lopez                        $11.00   42.10   $    8.44               $    11.55   $    11.55
  6/18/2017 Omar Lopez                        $11.00   44.17   $    8.44               $    22.92   $    22.92
  6/25/2017 Omar Lopez                        $11.00   43.05   $    8.44               $    16.78   $    16.78
   7/2/2017 Omar Lopez                        $11.00   42.52   $    8.44               $    13.84   $    13.84
  7/16/2017 Omar Lopez                        $11.00   42.22   $    8.44               $    12.19   $    12.19
  7/23/2017 Omar Lopez                        $11.00   41.97   $    8.44               $    10.82   $    10.82
  7/30/2017 Omar Lopez                        $11.00   41.73   $    8.44               $     9.53   $     9.53
   8/6/2017 Omar Lopez                        $11.00   40.25   $    8.44               $     1.38   $     1.38
  8/13/2017 Omar Lopez                        $11.00   40.95   $    8.44               $     5.23   $     5.23



                                                508
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 510 of 683 PageID: 1357
                                         Exhibit 2
                                 New Jersey Computations


   Week                                                 State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
  Ending                 Name                         Minumum Regular    Half-Time Overtime Back
                                         Rate Week
   Date                                                 Wage  Rate Due     Due       Wages Due

  8/20/2017 Omar Lopez                  $11.00   41.63   $   8.44          $    8.98   $       8.98
  8/27/2017 Omar Lopez                  $11.00   42.02   $   8.44          $   11.09   $      11.09
   9/3/2017 Omar Lopez                  $11.00   42.23   $   8.44          $   12.28   $      12.28
  9/17/2017 Omar Lopez                  $11.00   41.77   $   8.44          $    9.72   $       9.72
  9/24/2017 Omar Lopez                  $11.00   41.85   $   8.44          $   10.18   $      10.18
  10/1/2017 Omar Lopez                  $11.00   41.70   $   8.44          $    9.35   $       9.35
 10/15/2017 Omar Lopez                  $11.00   41.68   $   8.44          $    9.26   $       9.26
 10/29/2017 Omar Lopez                  $11.00   41.97   $   8.44          $   10.82   $      10.82
  11/5/2017 Omar Lopez                  $11.00   41.30   $   8.44          $    7.15   $       7.15
 11/12/2017 Omar Lopez                  $11.00   42.25   $   8.44          $   12.38   $      12.38
 11/19/2017 Omar Lopez                  $11.00   41.80   $   8.44          $    9.90   $       9.90
 12/10/2017 Omar Lopez                  $11.00   42.12   $   8.44          $   11.64   $      11.64
 12/17/2017 Omar Lopez                  $11.00   42.02   $   8.44          $   11.09   $      11.09
  1/14/2018 Omar Lopez                  $11.00   41.98   $   8.60          $   10.91   $      10.91
  1/21/2018 Omar Lopez                  $11.00   42.15   $   8.60          $   11.83   $      11.83
   2/4/2018 Omar Lopez                  $11.00   43.23   $   8.60          $   17.78   $      17.78
  2/18/2018 Omar Lopez                  $11.00   42.02   $   8.60          $   11.09   $      11.09
  2/25/2018 Omar Lopez                  $11.00   42.27   $   8.60          $   12.47   $      12.47
   4/8/2018 Omar Lopez                  $11.00   41.12   $   8.60          $    6.14   $       6.14
  4/15/2018 Omar Lopez                  $11.00   42.42   $   8.60          $   13.29   $      13.29
  4/22/2018 Omar Lopez                  $11.00   41.53   $   8.60          $    8.43   $       8.43
  4/29/2018 Omar Lopez                  $11.00   40.13   $   8.60          $    0.73   $       0.73
   5/6/2018 Omar Lopez                  $11.00   41.65   $   8.60          $    9.08   $       9.08
  5/13/2018 Omar Lopez                  $11.00   41.92   $   8.60          $   10.54   $      10.54
  5/20/2018 Omar Lopez                  $11.00   42.15   $   8.60          $   11.83   $      11.83
  5/27/2018 Omar Lopez                  $11.00   42.18   $   8.60          $   12.01   $      12.01
  6/10/2018 Omar Lopez                  $11.00   41.70   $   8.60          $    9.35   $       9.35
  6/17/2018 Omar Lopez                  $11.00   42.33   $   8.60          $   12.83   $      12.83
   7/1/2018 Omar Lopez                  $11.00   41.88   $   8.60          $   10.36   $      10.36
  7/15/2018 Omar Lopez                  $11.00   42.08   $   8.60          $   11.46   $      11.46
  7/22/2018 Omar Lopez                  $11.00   42.13   $   8.60          $   11.73   $      11.73
  7/29/2018 Omar Lopez                  $11.00   41.68   $   8.60          $    9.26   $       9.26
   8/5/2018 Omar Lopez                  $11.00   41.75   $   8.60          $    9.63   $       9.63
  8/12/2018 Omar Lopez                  $11.00   41.65   $   8.60          $    9.08   $       9.08
  8/19/2018 Omar Lopez                  $11.00   44.07   $   8.60          $   22.37   $      22.37
  8/26/2018 Omar Lopez                  $11.00   42.32   $   8.60          $   12.74   $      12.74
   9/2/2018 Omar Lopez                  $11.00   42.48   $   8.60          $   13.66   $      13.66
  9/16/2018 Omar Lopez                  $11.00   44.15   $   8.60          $   22.83   $      22.83
  9/23/2018 Omar Lopez                  $11.00   43.93   $   8.60          $   21.63   $      21.63
  9/30/2018 Omar Lopez                  $11.00   40.88   $   8.60          $    4.86   $       4.86
  10/7/2018 Omar Lopez                  $11.00   42.17   $   8.60          $   11.92   $      11.92
 10/14/2018 Omar Lopez                  $11.00   43.03   $   8.60          $   16.68   $      16.68
 10/21/2018 Omar Lopez                  $11.00   44.87   $   8.60          $   26.77   $      26.77
 10/28/2018 Omar Lopez                  $11.00   45.78   $   8.60          $   31.81   $      31.81
  11/4/2018 Omar Lopez                  $11.00   45.25   $   8.60          $   28.88   $      28.88
 11/11/2018 Omar Lopez                  $11.00   45.02   $   8.60          $   27.59   $      27.59
 11/18/2018 Omar Lopez                  $11.00   45.65   $   8.60          $   31.08   $      31.08
 11/25/2018 Omar Lopez                  $11.00   46.98   $   8.60          $   38.41   $      38.41
  12/2/2018 Omar Lopez                  $11.00   56.45   $   8.60          $   90.48   $      90.48
  12/9/2018 Omar Lopez                  $11.00   42.53   $   8.60          $   13.93   $      13.93



                                          509
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 511 of 683 PageID: 1358
                                         Exhibit 2
                                 New Jersey Computations


   Week                                                 State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
  Ending                 Name                         Minumum Regular    Half-Time Overtime Back
                                         Rate Week
   Date                                                 Wage  Rate Due     Due       Wages Due

 12/16/2018 Omar Lopez                  $11.00   48.48   $    8.60         $    46.66   $     46.66
  1/20/2019 Omar Lopez                  $11.00   45.20   $    8.85         $    28.60   $     28.60
   2/3/2019 Omar Lopez                  $11.00   46.22   $    8.85         $    34.19   $     34.19
  2/10/2019 Omar Lopez                  $11.00   50.03   $    8.85         $    55.18   $     55.18
  2/17/2019 Omar Lopez                  $11.00   46.62   $    8.85         $    36.39   $     36.39
  2/24/2019 Omar Lopez                  $11.00   45.52   $    8.85         $    30.34   $     30.34
   3/3/2019 Omar Lopez                  $11.00   53.92   $    8.85         $    76.54   $     76.54
  3/10/2019 Omar Lopez                  $11.00   46.30   $    8.85         $    34.65   $     34.65
  3/17/2019 Omar Lopez                  $11.00   44.03   $    8.85         $    22.18   $     22.18
  3/24/2019 Omar Lopez                  $11.00   45.78   $    8.85         $    31.81   $     31.81
  3/31/2019 Omar Lopez                  $11.00   45.52   $    8.85         $    30.34   $     30.34
   4/7/2019 Omar Lopez                  $11.00   45.93   $    8.85         $    32.63   $     32.63
  4/14/2019 Omar Lopez                  $11.00   46.93   $    8.85         $    38.13   $     38.13
  4/21/2019 Omar Lopez                  $11.00   47.48   $    8.85         $    41.16   $     41.16
  4/28/2019 Omar Lopez                  $11.00   45.88   $    8.85         $    32.36   $     32.36
   5/5/2019 Omar Lopez                  $11.00   51.78   $    8.85         $    64.81   $     64.81
  5/12/2019 Omar Lopez                  $11.00   45.43   $    8.85         $    29.88   $     29.88
  5/19/2019 Omar Lopez                  $11.00   46.23   $    8.85         $    34.28   $     34.28
  5/26/2019 Omar Lopez                  $11.00   45.78   $    8.85         $    31.81   $     31.81
   6/9/2019 Omar Lopez                  $11.00   46.68   $    8.85         $    36.76   $     36.76
  6/16/2019 Omar Lopez                  $11.00   45.85   $    8.85         $    32.18   $     32.18
  6/23/2019 Omar Lopez                  $11.00   45.80   $    8.85         $    31.90   $     31.90
  6/30/2019 Omar Lopez                  $11.00   46.37   $   10.00         $    35.02   $     35.02
  7/21/2019 Omar Lopez                  $12.00   46.65   $   10.00         $    39.90   $     39.90
  7/28/2019 Omar Lopez                  $12.00   47.68   $   10.00         $    46.10   $     46.10
   8/4/2019 Omar Lopez                  $12.00   46.42   $   10.00         $    38.50   $     38.50
  8/11/2019 Omar Lopez                  $12.00   47.90   $   10.00         $    47.40   $     47.40
  8/18/2019 Omar Lopez                  $12.00   47.13   $   10.00         $    42.80   $     42.80
  8/25/2019 Omar Lopez                  $12.00   46.80   $   10.00         $    40.80   $     40.80
   9/1/2019 Omar Lopez                  $12.00   48.00   $   10.00         $    48.00   $     48.00
  9/15/2019 Omar Lopez                  $12.00   49.70   $   10.00         $    58.20   $     58.20
  9/22/2019 Omar Lopez                  $12.00   45.40   $   10.00         $    32.40   $     32.40
  10/6/2019 Omar Lopez                  $12.00   51.32   $   10.00         $    67.90   $     67.90
 10/13/2019 Omar Lopez                  $12.00   46.82   $   10.00         $    40.90   $     40.90
 10/20/2019 Omar Lopez                  $12.50   51.13   $   10.00         $    69.58   $     69.58
 10/27/2019 Omar Lopez                  $12.50   44.50   $   10.00         $    28.13   $     28.13
  11/3/2019 Omar Lopez                  $12.50   44.35   $   10.00         $    27.19   $     27.19
 11/10/2019 Omar Lopez                  $12.50   45.87   $   10.00         $    36.67   $     36.67
 11/17/2019 Omar Lopez                  $12.50   44.90   $   10.00         $    30.63   $     30.63
 11/24/2019 Omar Lopez                  $12.50   45.50   $   10.00         $    34.38   $     34.38
  12/8/2019 Omar Lopez                  $12.50   44.93   $   10.00         $    30.83   $     30.83
 12/15/2019 Omar Lopez                  $12.00   50.18   $   10.00         $    61.10   $     61.10
 12/22/2019 Omar Lopez                  $12.00   41.67   $   10.00         $    10.00   $     10.00
   1/5/2020 Omar Lopez                  $12.00   41.27   $   11.00         $     7.60   $      7.60
  1/12/2020 Omar Lopez                  $12.00   51.42   $   11.00         $    68.50   $     68.50
  1/19/2020 Omar Lopez                  $12.00   50.75   $   11.00         $    64.50   $     64.50
  1/26/2020 Omar Lopez                  $12.00   51.07   $   11.00         $    66.40   $     66.40
 10/29/2017 Omar Roman                  $12.00   51.80   $    8.44         $    70.80   $     70.80
  11/5/2017 Omar Roman                  $12.00   59.00   $    8.44         $   114.00   $    114.00
 11/12/2017 Omar Roman                  $12.00   59.85   $    8.44         $   119.10   $    119.10



                                          510
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 512 of 683 PageID: 1359
                                         Exhibit 2
                                 New Jersey Computations


   Week                                                 State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
  Ending                 Name                         Minumum Regular    Half-Time Overtime Back
                                         Rate Week
   Date                                                 Wage  Rate Due     Due       Wages Due

 11/19/2017 Omar Roman                  $12.00   59.57   $   8.44          $   117.40   $    117.40
 11/26/2017 Omar Roman                  $12.00   49.15   $   8.44          $    54.90   $     54.90
  12/3/2017 Omar Roman                  $12.00   59.55   $   8.44          $   117.30   $    117.30
 12/10/2017 Omar Roman                  $12.00   59.20   $   8.44          $   115.20   $    115.20
 12/17/2017 Omar Roman                  $12.00   59.05   $   8.44          $   114.30   $    114.30
 12/24/2017 Omar Roman                  $12.00   59.72   $   8.44          $   118.30   $    118.30
 12/31/2017 Omar Roman                  $12.00   49.27   $   8.44          $    55.60   $     55.60
  1/14/2018 Omar Roman                  $12.00   59.45   $   8.60          $   116.70   $    116.70
  1/21/2018 Omar Roman                  $12.00   59.82   $   8.60          $   118.90   $    118.90
  1/28/2018 Omar Roman                  $12.00   59.67   $   8.60          $   118.00   $    118.00
   2/4/2018 Omar Roman                  $12.00   58.87   $   8.60          $   113.20   $    113.20
  2/11/2018 Omar Roman                  $12.00   59.07   $   8.60          $   114.40   $    114.40
  2/18/2018 Omar Roman                  $12.00   60.17   $   8.60          $   121.00   $    121.00
  2/25/2018 Omar Roman                  $12.00   60.03   $   8.60          $   120.20   $    120.20
   3/4/2018 Omar Roman                  $12.00   59.55   $   8.60          $   117.30   $    117.30
  3/25/2018 Omar Roman                  $12.00   57.47   $   8.60          $   104.80   $    104.80
   4/1/2018 Omar Roman                  $12.00   59.87   $   8.60          $   119.20   $    119.20
   4/8/2018 Omar Roman                  $12.00   59.32   $   8.60          $   115.90   $    115.90
  4/15/2018 Omar Roman                  $12.00   41.17   $   8.60          $     7.00   $      7.00
  5/13/2018 Omar Roman                  $12.00   60.43   $   8.60          $   122.60   $    122.60
  5/20/2018 Omar Roman                  $12.00   60.37   $   8.60          $   122.20   $    122.20
  5/27/2018 Omar Roman                  $12.00   59.35   $   8.60          $   116.10   $    116.10
   6/3/2018 Omar Roman                  $12.00   41.38   $   8.60          $     8.30   $      8.30
  6/10/2018 Omar Roman                  $12.00   59.33   $   8.60          $   116.00   $    116.00
  6/17/2018 Omar Roman                  $12.00   59.68   $   8.60          $   118.10   $    118.10
  6/24/2018 Omar Roman                  $12.00   60.05   $   8.60          $   120.30   $    120.30
   7/1/2018 Omar Roman                  $12.00   60.00   $   8.60          $   120.00   $    120.00
   7/8/2018 Omar Roman                  $12.00   49.50   $   8.60          $    57.00   $     57.00
  7/15/2018 Omar Roman                  $12.00   59.97   $   8.60          $   119.80   $    119.80
  7/22/2018 Omar Roman                  $12.00   60.98   $   8.60          $   125.90   $    125.90
  7/29/2018 Omar Roman                  $12.00   60.08   $   8.60          $   120.50   $    120.50
   8/5/2018 Omar Roman                  $12.00   60.45   $   8.60          $   122.70   $    122.70
  8/12/2018 Omar Roman                  $12.00   61.15   $   8.60          $   126.90   $    126.90
  8/19/2018 Omar Roman                  $12.00   60.38   $   8.60          $   122.30   $    122.30
  8/26/2018 Omar Roman                  $12.00   60.33   $   8.60          $   122.00   $    122.00
   9/2/2018 Omar Roman                  $12.00   61.12   $   8.60          $   126.70   $    126.70
   9/9/2018 Omar Roman                  $12.00   50.40   $   8.60          $    62.40   $     62.40
  9/16/2018 Omar Roman                  $12.00   60.38   $   8.60          $   122.30   $    122.30
  9/23/2018 Omar Roman                  $12.00   60.88   $   8.60          $   125.30   $    125.30
  9/30/2018 Omar Roman                  $12.00   60.53   $   8.60          $   123.20   $    123.20
  10/7/2018 Omar Roman                  $12.00   61.38   $   8.60          $   128.30   $    128.30
 10/14/2018 Omar Roman                  $12.00   60.02   $   8.60          $   120.10   $    120.10
 10/21/2018 Omar Roman                  $12.00   61.07   $   8.60          $   126.40   $    126.40
 10/28/2018 Omar Roman                  $12.00   60.75   $   8.60          $   124.50   $    124.50
  11/4/2018 Omar Roman                  $12.00   61.77   $   8.60          $   130.60   $    130.60
 11/11/2018 Omar Roman                  $12.00   50.03   $   8.60          $    60.20   $     60.20
 11/25/2018 Omar Roman                  $12.00   49.40   $   8.60          $    56.40   $     56.40
  12/2/2018 Omar Roman                  $12.00   60.78   $   8.60          $   124.70   $    124.70
  12/9/2018 Omar Roman                  $12.00   59.73   $   8.60          $   118.40   $    118.40
 12/23/2018 Omar Roman                  $12.00   62.42   $   8.60          $   134.50   $    134.50



                                          511
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 513 of 683 PageID: 1360
                                         Exhibit 2
                                 New Jersey Computations


   Week                                                 State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
  Ending                 Name                         Minumum Regular    Half-Time Overtime Back
                                         Rate Week
   Date                                                 Wage  Rate Due     Due       Wages Due

 12/30/2018 Omar Roman                  $12.00   48.95   $    8.60         $    53.70   $     53.70
   1/6/2019 Omar Roman                  $12.00   50.25   $    8.85         $    61.50   $     61.50
  1/13/2019 Omar Roman                  $12.00   56.00   $    8.85         $    96.00   $     96.00
  1/20/2019 Omar Roman                  $12.00   52.33   $    8.85         $    74.00   $     74.00
  1/27/2019 Omar Roman                  $12.00   52.22   $    8.85         $    73.30   $     73.30
   2/3/2019 Omar Roman                  $12.00   59.53   $    8.85         $   117.20   $    117.20
  2/10/2019 Omar Roman                  $12.00   40.57   $    8.85         $     3.40   $      3.40
  2/17/2019 Omar Roman                  $12.00   51.32   $    8.85         $    67.90   $     67.90
  2/24/2019 Omar Roman                  $12.00   59.63   $    8.85         $   117.80   $    117.80
   3/3/2019 Omar Roman                  $12.00   51.80   $    8.85         $    70.80   $     70.80
  3/10/2019 Omar Roman                  $12.00   60.75   $    8.85         $   124.50   $    124.50
  3/17/2019 Omar Roman                  $12.00   61.30   $    8.85         $   127.80   $    127.80
  3/24/2019 Omar Roman                  $12.00   61.37   $    8.85         $   128.20   $    128.20
  3/31/2019 Omar Roman                  $12.00   63.42   $    8.85         $   140.50   $    140.50
   4/7/2019 Omar Roman                  $12.00   60.92   $    8.85         $   125.50   $    125.50
  4/14/2019 Omar Roman                  $12.00   51.10   $    8.85         $    66.60   $     66.60
  4/21/2019 Omar Roman                  $12.00   61.25   $    8.85         $   127.50   $    127.50
  4/28/2019 Omar Roman                  $12.00   50.03   $    8.85         $    60.20   $     60.20
   5/5/2019 Omar Roman                  $12.00   51.60   $    8.85         $    69.60   $     69.60
  5/26/2019 Omar Roman                  $12.00   61.15   $    8.85         $   126.90   $    126.90
   6/2/2019 Omar Roman                  $12.00   48.57   $    8.85         $    51.40   $     51.40
   6/9/2019 Omar Roman                  $12.00   61.23   $    8.85         $   127.40   $    127.40
  6/16/2019 Omar Roman                  $12.00   64.40   $    8.85         $   146.40   $    146.40
  6/23/2019 Omar Roman                  $12.00   60.45   $    8.85         $   122.70   $    122.70
  6/30/2019 Omar Roman                  $12.00   59.67   $   10.00         $   118.00   $    118.00
   7/7/2019 Omar Roman                  $12.00   41.95   $   10.00         $    11.70   $     11.70
  7/14/2019 Omar Roman                  $12.00   60.40   $   10.00         $   122.40   $    122.40
  7/21/2019 Omar Roman                  $12.00   60.72   $   10.00         $   124.30   $    124.30
  7/28/2019 Omar Roman                  $12.00   60.60   $   10.00         $   123.60   $    123.60
   8/4/2019 Omar Roman                  $12.00   61.18   $   10.00         $   127.10   $    127.10
  8/18/2019 Omar Roman                  $12.00   62.18   $   10.00         $   133.10   $    133.10
  8/25/2019 Omar Roman                  $12.00   60.18   $   10.00         $   121.10   $    121.10
   9/1/2019 Omar Roman                  $12.00   60.58   $   10.00         $   123.50   $    123.50
   9/8/2019 Omar Roman                  $12.00   50.53   $   10.00         $    63.20   $     63.20
  9/15/2019 Omar Roman                  $12.00   50.90   $   10.00         $    65.40   $     65.40
  9/22/2019 Omar Roman                  $12.00   59.78   $   10.00         $   118.70   $    118.70
  9/29/2019 Omar Roman                  $12.00   60.17   $   10.00         $   121.00   $    121.00
  10/6/2019 Omar Roman                  $12.00   62.43   $   10.00         $   134.60   $    134.60
 10/13/2019 Omar Roman                  $12.00   57.30   $   10.00         $   103.80   $    103.80
 10/20/2019 Omar Roman                  $12.00   40.65   $   10.00         $     3.90   $      3.90
 10/27/2019 Omar Roman                  $12.00   53.42   $   10.00         $    80.50   $     80.50
  11/3/2019 Omar Roman                  $12.00   64.15   $   10.00         $   144.90   $    144.90
 11/10/2019 Omar Roman                  $12.00   61.65   $   10.00         $   129.90   $    129.90
 11/17/2019 Omar Roman                  $12.00   58.92   $   10.00         $   113.50   $    113.50
 11/24/2019 Omar Roman                  $12.00   48.57   $   10.00         $    51.40   $     51.40
  12/1/2019 Omar Roman                  $12.00   48.40   $   10.00         $    50.40   $     50.40
  12/8/2019 Omar Roman                  $12.00   58.63   $   10.00         $   111.80   $    111.80
 12/15/2019 Omar Roman                  $12.00   59.13   $   10.00         $   114.80   $    114.80
 12/22/2019 Omar Roman                  $12.00   58.95   $   10.00         $   113.70   $    113.70
   1/5/2020 Omar Roman                  $12.00   47.00   $   11.00         $    42.00   $     42.00



                                          512
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 514 of 683 PageID: 1361
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  1/12/2020 Omar Roman                        $12.00   58.70   $   11.00         $   112.20   $    112.20
  1/19/2020 Omar Roman                        $12.00   59.23   $   11.00         $   115.40   $    115.40
  1/26/2020 Omar Roman                        $12.00   58.92   $   11.00         $   113.50   $    113.50
   9/3/2017 Omar Verastegui                   $10.00   72.83   $    8.44         $   164.17   $    164.17
  9/10/2017 Omar Verastegui                   $10.00   66.17   $    8.44         $   130.83   $    130.83
  9/17/2017 Omar Verastegui                   $10.00   67.73   $    8.44         $   138.67   $    138.67
  9/24/2017 Omar Verastegui                   $10.00   65.52   $    8.44         $   127.58   $    127.58
  10/1/2017 Omar Verastegui                   $10.00   64.88   $    8.44         $   124.42   $    124.42
  10/8/2017 Omar Verastegui                   $10.00   68.37   $    8.44         $   141.83   $    141.83
 10/15/2017 Omar Verastegui                   $10.00   66.53   $    8.44         $   132.67   $    132.67
 10/22/2017 Omar Verastegui                   $10.00   53.50   $    8.44         $    67.50   $     67.50
 10/29/2017 Omar Verastegui                   $10.00   61.13   $    8.44         $   105.67   $    105.67
  11/5/2017 Omar Verastegui                   $10.00   72.42   $    8.44         $   162.08   $    162.08
 11/12/2017 Omar Verastegui                   $10.00   69.32   $    8.44         $   146.58   $    146.58
 11/19/2017 Omar Verastegui                   $10.00   66.85   $    8.44         $   134.25   $    134.25
 11/26/2017 Omar Verastegui                   $10.00   52.25   $    8.44         $    61.25   $     61.25
  12/3/2017 Omar Verastegui                   $10.00   71.95   $    8.44         $   159.75   $    159.75
 12/10/2017 Omar Verastegui                   $10.00   71.93   $    8.44         $   159.67   $    159.67
 12/17/2017 Omar Verastegui                   $10.00   65.60   $    8.44         $   128.00   $    128.00
  8/20/2017 Onix Miguel Geraldinio             $9.00   43.63   $    8.44         $    16.35   $     16.35
  8/27/2017 Onix Miguel Geraldinio             $9.00   54.05   $    8.44         $    63.23   $     63.23
   2/5/2017 Orlando Isuiza                    $13.00   66.77   $    8.44         $   173.98   $    173.98
  2/12/2017 Orlando Isuiza                    $13.00   65.05   $    8.44         $   162.83   $    162.83
  2/19/2017 Orlando Isuiza                    $13.00   69.12   $    8.44         $   189.26   $    189.26
  2/26/2017 Orlando Isuiza                    $13.00   65.05   $    8.44         $   162.83   $    162.83
   3/5/2017 Orlando Isuiza                    $13.00   62.12   $    8.44         $   143.76   $    143.76
  3/12/2017 Orlando Isuiza                    $13.00   52.30   $    8.44         $    79.95   $     79.95
  3/19/2017 Orlando Isuiza                    $13.00   52.33   $    8.44         $    80.17   $     80.17
  3/26/2017 Orlando Isuiza                    $13.00   61.75   $    8.44         $   141.38   $    141.38
   4/2/2017 Orlando Isuiza                    $13.00   61.23   $    8.44         $   138.02   $    138.02
   4/9/2017 Orlando Isuiza                    $13.00   60.55   $    8.44         $   133.58   $    133.58
  4/16/2017 Orlando Isuiza                    $13.00   58.50   $    8.44         $   120.25   $    120.25
  4/23/2017 Orlando Isuiza                    $13.00   60.60   $    8.44         $   133.90   $    133.90
  4/30/2017 Orlando Isuiza                    $13.00   57.30   $    8.44         $   112.45   $    112.45
   5/7/2017 Orlando Isuiza                    $13.00   49.75   $    8.44         $    63.38   $     63.38
  5/14/2017 Orlando Isuiza                    $13.00   60.07   $    8.44         $   130.43   $    130.43
  5/21/2017 Orlando Isuiza                    $13.00   56.65   $    8.44         $   108.23   $    108.23
  5/28/2017 Orlando Isuiza                    $13.00   58.72   $    8.44         $   121.66   $    121.66
   6/4/2017 Orlando Isuiza                    $13.00   60.10   $    8.44         $   130.65   $    130.65
  6/11/2017 Orlando Isuiza                    $13.00   60.67   $    8.44         $   134.33   $    134.33
  6/18/2017 Orlando Isuiza                    $13.00   59.98   $    8.44         $   129.89   $    129.89
  6/25/2017 Orlando Isuiza                    $13.00   60.02   $    8.44         $   130.11   $    130.11
   7/2/2017 Orlando Isuiza                    $13.00   61.88   $    8.44         $   142.24   $    142.24
   7/9/2017 Orlando Isuiza                    $13.00   49.73   $    8.44         $    63.27   $     63.27
  7/16/2017 Orlando Isuiza                    $13.00   60.42   $    8.44         $   132.71   $    132.71
  7/23/2017 Orlando Isuiza                    $13.00   61.30   $    8.44         $   138.45   $    138.45
  7/30/2017 Orlando Isuiza                    $13.00   60.33   $    8.44         $   132.17   $    132.17
   8/6/2017 Orlando Isuiza                    $13.00   51.57   $    8.44         $    75.18   $     75.18
  8/13/2017 Orlando Isuiza                    $13.00   58.38   $    8.44         $   119.49   $    119.49
  8/20/2017 Orlando Isuiza                    $13.00   60.72   $    8.44         $   134.66   $    134.66



                                                513
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 515 of 683 PageID: 1362
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

  8/27/2017 Orlando Isuiza                 $13.00   60.37   $   8.44          $   132.38   $    132.38
   9/3/2017 Orlando Isuiza                 $13.00   57.72   $   8.44          $   115.16   $    115.16
  9/10/2017 Orlando Isuiza                 $13.00   61.13   $   8.44          $   137.37   $    137.37
  9/17/2017 Orlando Isuiza                 $13.00   58.98   $   8.44          $   123.39   $    123.39
  9/24/2017 Orlando Isuiza                 $13.00   60.65   $   8.44          $   134.23   $    134.23
  10/1/2017 Orlando Isuiza                 $13.00   60.97   $   8.44          $   136.28   $    136.28
  10/8/2017 Orlando Isuiza                 $13.00   58.40   $   8.44          $   119.60   $    119.60
 10/15/2017 Orlando Isuiza                 $13.00   59.87   $   8.44          $   129.13   $    129.13
 10/22/2017 Orlando Isuiza                 $13.00   61.90   $   8.44          $   142.35   $    142.35
 10/29/2017 Orlando Isuiza                 $13.00   60.65   $   8.44          $   134.23   $    134.23
  11/5/2017 Orlando Isuiza                 $13.00   58.30   $   8.44          $   118.95   $    118.95
 11/12/2017 Orlando Isuiza                 $13.00   63.88   $   8.44          $   155.24   $    155.24
 11/19/2017 Orlando Isuiza                 $13.00   61.03   $   8.44          $   136.72   $    136.72
 11/26/2017 Orlando Isuiza                 $13.00   41.62   $   8.44          $    10.51   $     10.51
  12/3/2017 Orlando Isuiza                 $13.00   61.87   $   8.44          $   142.13   $    142.13
 12/10/2017 Orlando Isuiza                 $13.00   61.62   $   8.44          $   140.51   $    140.51
 12/17/2017 Orlando Isuiza                 $13.00   62.12   $   8.44          $   143.76   $    143.76
 12/24/2017 Orlando Isuiza                 $13.00   63.03   $   8.44          $   149.72   $    149.72
 12/31/2017 Orlando Isuiza                 $13.00   50.67   $   8.44          $    69.33   $     69.33
   1/7/2018 Orlando Isuiza                 $13.00   57.25   $   8.60          $   112.13   $    112.13
  1/14/2018 Orlando Isuiza                 $13.00   63.57   $   8.60          $   153.18   $    153.18
  1/21/2018 Orlando Isuiza                 $13.00   60.73   $   8.60          $   134.77   $    134.77
  1/28/2018 Orlando Isuiza                 $13.00   60.92   $   8.60          $   135.96   $    135.96
   2/4/2018 Orlando Isuiza                 $13.00   58.48   $   8.60          $   120.14   $    120.14
  2/11/2018 Orlando Isuiza                 $13.00   59.02   $   8.60          $   123.61   $    123.61
  2/18/2018 Orlando Isuiza                 $13.00   57.75   $   8.60          $   115.38   $    115.38
  2/25/2018 Orlando Isuiza                 $13.00   73.50   $   8.60          $   217.75   $    217.75
   3/4/2018 Orlando Isuiza                 $13.00   80.50   $   8.60          $   263.25   $    263.25
  3/25/2018 Orlando Isuiza                 $13.00   69.87   $   8.60          $   194.13   $    194.13
   4/1/2018 Orlando Isuiza                 $13.00   77.02   $   8.60          $   240.61   $    240.61
   4/8/2018 Orlando Isuiza                 $13.00   76.77   $   8.60          $   238.98   $    238.98
  4/15/2018 Orlando Isuiza                 $13.00   76.12   $   8.60          $   234.76   $    234.76
  4/22/2018 Orlando Isuiza                 $13.00   75.30   $   8.60          $   229.45   $    229.45
  4/29/2018 Orlando Isuiza                 $13.00   75.60   $   8.60          $   231.40   $    231.40
   5/6/2018 Orlando Isuiza                 $13.00   76.90   $   8.60          $   239.85   $    239.85
  5/13/2018 Orlando Isuiza                 $13.00   76.70   $   8.60          $   238.55   $    238.55
  5/20/2018 Orlando Isuiza                 $13.00   73.52   $   8.60          $   217.86   $    217.86
  5/27/2018 Orlando Isuiza                 $13.00   74.62   $   8.60          $   225.01   $    225.01
   6/3/2018 Orlando Isuiza                 $13.00   67.38   $   8.60          $   177.99   $    177.99
  6/10/2018 Orlando Isuiza                 $13.00   64.40   $   8.60          $   158.60   $    158.60
  6/17/2018 Orlando Isuiza                 $13.00   58.33   $   8.60          $   119.17   $    119.17
  6/24/2018 Orlando Isuiza                 $13.00   54.50   $   8.60          $    94.25   $     94.25
   7/1/2018 Orlando Isuiza                 $13.00   54.55   $   8.60          $    94.58   $     94.58
  7/15/2018 Orlando Isuiza                 $13.00   55.57   $   8.60          $   101.18   $    101.18
  7/22/2018 Orlando Isuiza                 $13.00   55.65   $   8.60          $   101.73   $    101.73
  7/29/2018 Orlando Isuiza                 $13.00   55.18   $   8.60          $    98.69   $     98.69
   8/5/2018 Orlando Isuiza                 $13.00   55.50   $   8.60          $   100.75   $    100.75
  8/12/2018 Orlando Isuiza                 $13.00   55.63   $   8.60          $   101.62   $    101.62
  8/19/2018 Orlando Isuiza                 $13.00   54.75   $   8.60          $    95.88   $     95.88
  8/26/2018 Orlando Isuiza                 $13.00   55.58   $   8.60          $   101.29   $    101.29



                                             514
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 516 of 683 PageID: 1363
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

   9/2/2018 Orlando Isuiza                 $13.00   54.78   $    8.60         $    96.09   $     96.09
   9/9/2018 Orlando Isuiza                 $13.00   55.70   $    8.60         $   102.05   $    102.05
  9/16/2018 Orlando Isuiza                 $13.00   55.37   $    8.60         $    99.88   $     99.88
  9/23/2018 Orlando Isuiza                 $13.00   55.35   $    8.60         $    99.78   $     99.78
  9/30/2018 Orlando Isuiza                 $13.00   56.07   $    8.60         $   104.43   $    104.43
  10/7/2018 Orlando Isuiza                 $13.00   57.27   $    8.60         $   112.23   $    112.23
 10/14/2018 Orlando Isuiza                 $13.00   57.10   $    8.60         $   111.15   $    111.15
 10/21/2018 Orlando Isuiza                 $13.00   63.32   $    8.60         $   151.56   $    151.56
 10/28/2018 Orlando Isuiza                 $13.00   68.17   $    8.60         $   183.08   $    183.08
  11/4/2018 Orlando Isuiza                 $13.00   58.40   $    8.60         $   119.60   $    119.60
 11/11/2018 Orlando Isuiza                 $13.00   69.55   $    8.60         $   192.08   $    192.08
 11/18/2018 Orlando Isuiza                 $13.00   67.73   $    8.60         $   180.27   $    180.27
 11/25/2018 Orlando Isuiza                 $13.00   55.35   $    8.60         $    99.78   $     99.78
  12/2/2018 Orlando Isuiza                 $13.00   60.97   $    8.60         $   136.28   $    136.28
  12/9/2018 Orlando Isuiza                 $13.00   70.02   $    8.60         $   195.11   $    195.11
 12/16/2018 Orlando Isuiza                 $13.00   57.35   $    8.60         $   112.78   $    112.78
 12/23/2018 Orlando Isuiza                 $13.00   58.97   $    8.60         $   123.28   $    123.28
 12/30/2018 Orlando Isuiza                 $13.00   53.50   $    8.60         $    87.75   $     87.75
   1/6/2019 Orlando Isuiza                 $13.00   66.42   $    8.85         $   171.71   $    171.71
  1/13/2019 Orlando Isuiza                 $13.00   70.77   $    8.85         $   199.98   $    199.98
  1/20/2019 Orlando Isuiza                 $13.00   69.77   $    8.85         $   193.48   $    193.48
  1/27/2019 Orlando Isuiza                 $13.00   70.45   $    8.85         $   197.93   $    197.93
   2/3/2019 Orlando Isuiza                 $13.00   70.75   $    8.85         $   199.88   $    199.88
  2/10/2019 Orlando Isuiza                 $13.00   69.37   $    8.85         $   190.88   $    190.88
  2/17/2019 Orlando Isuiza                 $13.00   56.97   $    8.85         $   110.28   $    110.28
  2/24/2019 Orlando Isuiza                 $13.00   68.62   $    8.85         $   186.01   $    186.01
   3/3/2019 Orlando Isuiza                 $13.00   70.75   $    8.85         $   199.88   $    199.88
  3/10/2019 Orlando Isuiza                 $13.00   71.27   $    8.85         $   203.23   $    203.23
  3/17/2019 Orlando Isuiza                 $13.00   69.38   $    8.85         $   190.99   $    190.99
  3/24/2019 Orlando Isuiza                 $13.00   71.72   $    8.85         $   206.16   $    206.16
  3/31/2019 Orlando Isuiza                 $13.00   71.22   $    8.85         $   202.91   $    202.91
   4/7/2019 Orlando Isuiza                 $13.00   59.23   $    8.85         $   125.02   $    125.02
  4/14/2019 Orlando Isuiza                 $13.00   71.55   $    8.85         $   205.08   $    205.08
  4/21/2019 Orlando Isuiza                 $13.00   70.60   $    8.85         $   198.90   $    198.90
  4/28/2019 Orlando Isuiza                 $13.00   63.13   $    8.85         $   150.37   $    150.37
   5/5/2019 Orlando Isuiza                 $13.00   72.33   $    8.85         $   210.17   $    210.17
  5/12/2019 Orlando Isuiza                 $13.00   71.87   $    8.85         $   207.13   $    207.13
  5/19/2019 Orlando Isuiza                 $13.00   59.05   $    8.85         $   123.83   $    123.83
  5/26/2019 Orlando Isuiza                 $13.00   59.72   $    8.85         $   128.16   $    128.16
   6/2/2019 Orlando Isuiza                 $13.00   65.40   $    8.85         $   165.10   $    165.10
   6/9/2019 Orlando Isuiza                 $13.00   66.22   $    8.85         $   170.41   $    170.41
  6/16/2019 Orlando Isuiza                 $13.00   70.43   $    8.85         $   197.82   $    197.82
  6/23/2019 Orlando Isuiza                 $13.00   71.05   $    8.85         $   201.83   $    201.83
  6/30/2019 Orlando Isuiza                 $13.00   58.40   $   10.00         $   119.60   $    119.60
   7/7/2019 Orlando Isuiza                 $13.50   64.30   $   10.00         $   164.03   $    164.03
  7/14/2019 Orlando Isuiza                 $13.50   59.08   $   10.00         $   128.81   $    128.81
  7/21/2019 Orlando Isuiza                 $13.50   56.83   $   10.00         $   113.63   $    113.63
   8/4/2019 Orlando Isuiza                 $13.50   46.37   $   10.00         $    42.98   $     42.98
  8/11/2019 Orlando Isuiza                 $13.50   58.77   $   10.00         $   126.68   $    126.68
  8/18/2019 Orlando Isuiza                 $13.50   46.27   $   10.00         $    42.30   $     42.30



                                             515
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 517 of 683 PageID: 1364
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  8/25/2019 Orlando Isuiza                   $13.50   54.68   $   10.00         $    99.11   $     99.11
   9/1/2019 Orlando Isuiza                   $13.50   70.72   $   10.00         $   207.34   $    207.34
   9/8/2019 Orlando Isuiza                   $13.50   64.33   $   10.00         $   164.25   $    164.25
  9/15/2019 Orlando Isuiza                   $13.50   66.75   $   10.00         $   180.56   $    180.56
  9/22/2019 Orlando Isuiza                   $13.50   69.92   $   10.00         $   201.94   $    201.94
  9/29/2019 Orlando Isuiza                   $13.50   69.97   $   10.00         $   202.28   $    202.28
  10/6/2019 Orlando Isuiza                   $13.50   45.32   $   10.00         $    35.89   $     35.89
 10/13/2019 Orlando Isuiza                   $13.50   68.93   $   10.00         $   195.30   $    195.30
 10/20/2019 Orlando Isuiza                   $13.50   68.55   $   10.00         $   192.71   $    192.71
 10/27/2019 Orlando Isuiza                   $13.50   68.20   $   10.00         $   190.35   $    190.35
  11/3/2019 Orlando Isuiza                   $13.50   68.08   $   10.00         $   189.56   $    189.56
 11/17/2019 Orlando Isuiza                   $13.50   70.52   $   10.00         $   205.99   $    205.99
 11/24/2019 Orlando Isuiza                   $13.50   58.93   $   10.00         $   127.80   $    127.80
  12/1/2019 Orlando Isuiza                   $13.50   55.42   $   10.00         $   104.06   $    104.06
  12/8/2019 Orlando Isuiza                   $13.50   69.50   $   10.00         $   199.13   $    199.13
 12/15/2019 Orlando Isuiza                   $13.50   70.78   $   10.00         $   207.79   $    207.79
 12/22/2019 Orlando Isuiza                   $13.50   61.10   $   10.00         $   142.43   $    142.43
 12/29/2019 Orlando Isuiza                   $13.50   52.22   $   10.00         $    82.46   $     82.46
   1/5/2020 Orlando Isuiza                   $13.50   57.48   $   11.00         $   118.01   $    118.01
  1/12/2020 Orlando Isuiza                   $13.50   67.17   $   11.00         $   183.38   $    183.38
  1/19/2020 Orlando Isuiza                   $13.50   63.60   $   11.00         $   159.30   $    159.30
  1/26/2020 Orlando Isuiza                   $13.50   57.42   $   11.00         $   117.56   $    117.56
   4/2/2017 Oscar De La Cruz                 $11.50   51.78   $    8.44         $    67.75   $     67.75
   4/9/2017 Oscar De La Cruz                 $11.50   78.38   $    8.44         $   220.70   $    220.70
  4/16/2017 Oscar De La Cruz                 $11.50   77.88   $    8.44         $   217.83   $    217.83
  4/23/2017 Oscar De La Cruz                 $11.50   78.27   $    8.44         $   220.03   $    220.03
  4/30/2017 Oscar De La Cruz                 $11.50   78.70   $    8.44         $   222.53   $    222.53
   5/7/2017 Oscar De La Cruz                 $11.50   77.23   $    8.44         $   214.09   $    214.09
  5/14/2017 Oscar De La Cruz                 $11.50   77.85   $    8.44         $   217.64   $    217.64
  5/21/2017 Oscar De La Cruz                 $11.50   77.48   $    8.44         $   215.53   $    215.53
  5/28/2017 Oscar De La Cruz                 $11.50   77.32   $    8.44         $   214.57   $    214.57
   6/4/2017 Oscar De La Cruz                 $11.50   64.73   $    8.44         $   142.22   $    142.22
  6/11/2017 Oscar De La Cruz                 $11.50   77.37   $    8.44         $   214.86   $    214.86
  6/18/2017 Oscar De La Cruz                 $11.50   77.08   $    8.44         $   213.23   $    213.23
  6/25/2017 Oscar De La Cruz                 $11.50   67.68   $    8.44         $   159.18   $    159.18
   7/2/2017 Oscar De La Cruz                 $11.50   78.05   $    8.44         $   218.79   $    218.79
   7/9/2017 Oscar De La Cruz                 $11.50   63.83   $    8.44         $   137.04   $    137.04
  7/16/2017 Oscar De La Cruz                 $11.50   77.45   $    8.44         $   215.34   $    215.34
  7/23/2017 Oscar De La Cruz                 $11.50   57.00   $    8.44         $    97.75   $     97.75
  7/30/2017 Oscar De La Cruz                 $11.50   71.22   $    8.44         $   179.50   $    179.50
   8/6/2017 Oscar De La Cruz                 $11.50   75.25   $    8.44         $   202.69   $    202.69
  8/13/2017 Oscar De La Cruz                 $11.50   74.43   $    8.44         $   197.99   $    197.99
  8/20/2017 Oscar De La Cruz                 $11.50   76.08   $    8.44         $   207.48   $    207.48
  8/27/2017 Oscar De La Cruz                 $11.50   70.15   $    8.44         $   173.36   $    173.36
   9/3/2017 Oscar De La Cruz                 $11.50   63.50   $    8.44         $   135.13   $    135.13
  9/10/2017 Oscar De La Cruz                 $11.50   59.32   $    8.44         $   111.07   $    111.07
  9/17/2017 Oscar De La Cruz                 $11.50   70.40   $    8.44         $   174.80   $    174.80
  9/24/2017 Oscar De La Cruz                 $11.50   71.85   $    8.44         $   183.14   $    183.14
  10/1/2017 Oscar De La Cruz                 $11.50   73.47   $    8.44         $   192.43   $    192.43
  10/8/2017 Oscar De La Cruz                 $11.50   70.95   $    8.44         $   177.96   $    177.96



                                               516
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 518 of 683 PageID: 1365
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

 10/15/2017 Oscar De La Cruz                 $11.50   67.65   $   8.44          $   158.99   $    158.99
 10/22/2017 Oscar De La Cruz                 $11.50   74.82   $   8.44          $   200.20   $    200.20
 10/29/2017 Oscar De La Cruz                 $11.50   72.20   $   8.44          $   185.15   $    185.15
  11/5/2017 Oscar De La Cruz                 $11.50   61.83   $   8.44          $   125.54   $    125.54
 11/12/2017 Oscar De La Cruz                 $11.50   58.43   $   8.44          $   105.99   $    105.99
 11/19/2017 Oscar De La Cruz                 $11.50   62.35   $   8.44          $   128.51   $    128.51
 11/26/2017 Oscar De La Cruz                 $11.50   60.28   $   8.44          $   116.63   $    116.63
  12/3/2017 Oscar De La Cruz                 $11.50   69.63   $   8.44          $   170.39   $    170.39
 12/10/2017 Oscar De La Cruz                 $11.50   67.35   $   8.44          $   157.26   $    157.26
 12/17/2017 Oscar De La Cruz                 $11.50   63.70   $   8.44          $   136.28   $    136.28
 12/24/2017 Oscar De La Cruz                 $11.50   74.65   $   8.44          $   199.24   $    199.24
 12/31/2017 Oscar De La Cruz                 $11.50   62.88   $   8.44          $   131.58   $    131.58
   1/7/2018 Oscar De La Cruz                 $11.50   48.45   $   8.60          $    48.59   $     48.59
  1/14/2018 Oscar De La Cruz                 $11.50   74.82   $   8.60          $   200.20   $    200.20
  1/21/2018 Oscar De La Cruz                 $11.50   72.37   $   8.60          $   186.11   $    186.11
  1/28/2018 Oscar De La Cruz                 $11.50   75.52   $   8.60          $   204.22   $    204.22
   2/4/2018 Oscar De La Cruz                 $11.50   70.33   $   8.60          $   174.42   $    174.42
  2/11/2018 Oscar De La Cruz                 $11.50   63.12   $   8.60          $   132.92   $    132.92
  2/18/2018 Oscar De La Cruz                 $11.50   76.22   $   8.60          $   208.25   $    208.25
  2/25/2018 Oscar De La Cruz                 $11.50   71.38   $   8.60          $   180.45   $    180.45
   3/4/2018 Oscar De La Cruz                 $11.50   64.97   $   8.60          $   143.56   $    143.56
  3/25/2018 Oscar De La Cruz                 $11.50   61.13   $   8.60          $   121.52   $    121.52
   4/1/2018 Oscar De La Cruz                 $11.50   76.95   $   8.60          $   212.46   $    212.46
   4/8/2018 Oscar De La Cruz                 $11.50   76.95   $   8.60          $   212.46   $    212.46
  4/15/2018 Oscar De La Cruz                 $11.50   70.77   $   8.60          $   176.91   $    176.91
  4/22/2018 Oscar De La Cruz                 $11.50   65.85   $   8.60          $   148.64   $    148.64
  4/29/2018 Oscar De La Cruz                 $11.50   66.63   $   8.60          $   153.14   $    153.14
   5/6/2018 Oscar De La Cruz                 $11.50   67.13   $   8.60          $   156.02   $    156.02
  5/13/2018 Oscar De La Cruz                 $11.50   71.75   $   8.60          $   182.56   $    182.56
  5/20/2018 Oscar De La Cruz                 $11.50   71.10   $   8.60          $   178.83   $    178.83
  5/27/2018 Oscar De La Cruz                 $11.50   73.53   $   8.60          $   192.82   $    192.82
   6/3/2018 Oscar De La Cruz                 $11.50   59.90   $   8.60          $   114.43   $    114.43
  6/10/2018 Oscar De La Cruz                 $11.50   59.78   $   8.60          $   113.75   $    113.75
  6/17/2018 Oscar De La Cruz                 $11.50   71.25   $   8.60          $   179.69   $    179.69
  6/24/2018 Oscar De La Cruz                 $11.50   71.38   $   8.60          $   180.45   $    180.45
   7/1/2018 Oscar De La Cruz                 $11.50   70.68   $   8.60          $   176.43   $    176.43
   7/8/2018 Oscar De La Cruz                 $11.50   60.20   $   8.60          $   116.15   $    116.15
  7/15/2018 Oscar De La Cruz                 $11.50   55.75   $   8.60          $    90.56   $     90.56
  7/22/2018 Oscar De La Cruz                 $11.50   55.15   $   8.60          $    87.11   $     87.11
  7/29/2018 Oscar De La Cruz                 $11.50   67.20   $   8.60          $   156.40   $    156.40
   8/5/2018 Oscar De La Cruz                 $11.50   71.65   $   8.60          $   181.99   $    181.99
  8/12/2018 Oscar De La Cruz                 $11.50   71.98   $   8.60          $   183.90   $    183.90
  8/19/2018 Oscar De La Cruz                 $11.50   70.25   $   8.60          $   173.94   $    173.94
  8/26/2018 Oscar De La Cruz                 $11.50   59.15   $   8.60          $   110.11   $    110.11
   9/2/2018 Oscar De La Cruz                 $11.50   70.13   $   8.60          $   173.27   $    173.27
   9/9/2018 Oscar De La Cruz                 $11.50   57.38   $   8.60          $    99.95   $     99.95
  9/16/2018 Oscar De La Cruz                 $11.50   68.65   $   8.60          $   164.74   $    164.74
  9/23/2018 Oscar De La Cruz                 $11.50   70.32   $   8.60          $   174.32   $    174.32
  9/30/2018 Oscar De La Cruz                 $11.50   70.73   $   8.60          $   176.72   $    176.72
  10/7/2018 Oscar De La Cruz                 $11.50   70.55   $   8.60          $   175.66   $    175.66



                                               517
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 519 of 683 PageID: 1366
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

 10/14/2018 Oscar De La Cruz                 $11.50   69.57   $    8.60         $   170.01   $    170.01
 10/21/2018 Oscar De La Cruz                 $11.50   66.52   $    8.60         $   152.47   $    152.47
 10/28/2018 Oscar De La Cruz                 $11.50   71.22   $    8.60         $   179.50   $    179.50
  11/4/2018 Oscar De La Cruz                 $11.50   68.08   $    8.60         $   161.48   $    161.48
 11/11/2018 Oscar De La Cruz                 $11.50   68.02   $    8.60         $   161.10   $    161.10
 11/18/2018 Oscar De La Cruz                 $11.50   66.77   $    8.60         $   153.91   $    153.91
 11/25/2018 Oscar De La Cruz                 $11.50   52.55   $    8.60         $    72.16   $     72.16
  12/2/2018 Oscar De La Cruz                 $11.50   71.33   $    8.60         $   180.17   $    180.17
  12/9/2018 Oscar De La Cruz                 $11.50   71.47   $    8.60         $   180.93   $    180.93
 12/30/2018 Oscar De La Cruz                 $11.50   56.50   $    8.60         $    94.88   $     94.88
  3/31/2019 Oscar De La Cruz                 $11.50   62.42   $    8.85         $   128.90   $    128.90
   4/7/2019 Oscar De La Cruz                 $11.50   49.18   $    8.85         $    52.80   $     52.80
  4/14/2019 Oscar De La Cruz                 $11.50   73.87   $    8.85         $   194.73   $    194.73
  4/21/2019 Oscar De La Cruz                 $11.50   70.93   $    8.85         $   177.87   $    177.87
  4/28/2019 Oscar De La Cruz                 $11.50   63.37   $    8.85         $   134.36   $    134.36
   5/5/2019 Oscar De La Cruz                 $11.50   73.72   $    8.85         $   193.87   $    193.87
  5/12/2019 Oscar De La Cruz                 $11.50   48.60   $    8.85         $    49.45   $     49.45
  5/19/2019 Oscar De La Cruz                 $11.50   62.47   $    8.85         $   129.18   $    129.18
  5/26/2019 Oscar De La Cruz                 $11.50   73.65   $    8.85         $   193.49   $    193.49
   6/2/2019 Oscar De La Cruz                 $11.50   61.80   $    8.85         $   125.35   $    125.35
   6/9/2019 Oscar De La Cruz                 $11.50   73.98   $    8.85         $   195.40   $    195.40
  6/16/2019 Oscar De La Cruz                 $11.50   74.20   $    8.85         $   196.65   $    196.65
  6/23/2019 Oscar De La Cruz                 $11.50   73.75   $    8.85         $   194.06   $    194.06
  6/30/2019 Oscar De La Cruz                 $11.50   73.50   $   10.00         $   192.63   $    192.63
   7/7/2019 Oscar De La Cruz                 $11.50   70.08   $   10.00         $   172.98   $    172.98
  7/14/2019 Oscar De La Cruz                 $11.50   61.78   $   10.00         $   125.25   $    125.25
  7/28/2019 Oscar De La Cruz                 $11.50   73.98   $   10.00         $   195.40   $    195.40
   8/4/2019 Oscar De La Cruz                 $11.50   65.48   $   10.00         $   146.53   $    146.53
  8/11/2019 Oscar De La Cruz                 $11.50   75.10   $   10.00         $   201.83   $    201.83
  8/18/2019 Oscar De La Cruz                 $11.50   74.25   $   10.00         $   196.94   $    196.94
  8/25/2019 Oscar De La Cruz                 $11.50   60.23   $   10.00         $   116.34   $    116.34
   9/1/2019 Oscar De La Cruz                 $11.50   60.47   $   10.00         $   117.68   $    117.68
   9/8/2019 Oscar De La Cruz                 $11.50   60.15   $   10.00         $   115.86   $    115.86
  9/15/2019 Oscar De La Cruz                 $11.50   60.63   $   10.00         $   118.64   $    118.64
  9/22/2019 Oscar De La Cruz                 $11.50   72.00   $   10.00         $   184.00   $    184.00
  9/29/2019 Oscar De La Cruz                 $11.50   59.77   $   10.00         $   113.66   $    113.66
  10/6/2019 Oscar De La Cruz                 $11.50   62.27   $   10.00         $   128.03   $    128.03
 10/13/2019 Oscar De La Cruz                 $11.50   62.02   $   10.00         $   126.60   $    126.60
 10/20/2019 Oscar De La Cruz                 $11.50   59.93   $   10.00         $   114.62   $    114.62
 10/27/2019 Oscar De La Cruz                 $11.50   61.68   $   10.00         $   124.68   $    124.68
  11/3/2019 Oscar De La Cruz                 $11.50   71.82   $   10.00         $   182.95   $    182.95
 11/10/2019 Oscar De La Cruz                 $11.50   71.82   $   10.00         $   182.95   $    182.95
  4/29/2018 Oscar Diaz                        $8.60   52.58   $    8.60         $    54.11   $     54.11
   5/6/2018 Oscar Diaz                        $8.60   52.05   $    8.60         $    51.82   $     51.82
  5/13/2018 Oscar Diaz                        $8.60   62.45   $    8.60         $    96.54   $     96.54
  5/20/2018 Oscar Diaz                        $8.60   71.10   $    8.60         $   133.73   $    133.73
   2/5/2017 Oscar E. Zurita                  $10.50   63.33   $    8.44         $   122.50   $    122.50
  2/12/2017 Oscar E. Zurita                  $10.50   63.65   $    8.44         $   124.16   $    124.16
  2/19/2017 Oscar E. Zurita                  $10.50   64.93   $    8.44         $   130.90   $    130.90
  2/26/2017 Oscar E. Zurita                  $10.50   66.17   $    8.44         $   137.38   $    137.38



                                               518
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 520 of 683 PageID: 1367
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

   3/5/2017 Oscar E. Zurita                 $10.50   63.92   $   8.44          $   125.56   $    125.56
  3/12/2017 Oscar E. Zurita                 $10.50   67.38   $   8.44          $   143.76   $    143.76
  3/19/2017 Oscar E. Zurita                 $10.50   54.48   $   8.44          $    76.04   $     76.04
  3/26/2017 Oscar E. Zurita                 $10.50   65.42   $   8.44          $   133.44   $    133.44
   4/2/2017 Oscar E. Zurita                 $10.50   65.60   $   8.44          $   134.40   $    134.40
   4/9/2017 Oscar E. Zurita                 $10.50   64.25   $   8.44          $   127.31   $    127.31
  4/16/2017 Oscar E. Zurita                 $10.50   66.87   $   8.44          $   141.05   $    141.05
  4/23/2017 Oscar E. Zurita                 $10.50   65.13   $   8.44          $   131.95   $    131.95
  4/30/2017 Oscar E. Zurita                 $10.50   65.22   $   8.44          $   132.39   $    132.39
   5/7/2017 Oscar E. Zurita                 $10.50   53.98   $   8.44          $    73.41   $     73.41
  5/14/2017 Oscar E. Zurita                 $10.50   65.10   $   8.44          $   131.78   $    131.78
  5/21/2017 Oscar E. Zurita                 $10.50   63.52   $   8.44          $   123.46   $    123.46
  5/28/2017 Oscar E. Zurita                 $10.50   65.77   $   8.44          $   135.28   $    135.28
   6/4/2017 Oscar E. Zurita                 $10.50   65.07   $   8.44          $   131.60   $    131.60
  6/11/2017 Oscar E. Zurita                 $10.50   64.45   $   8.44          $   128.36   $    128.36
  6/18/2017 Oscar E. Zurita                 $10.50   65.05   $   8.44          $   131.51   $    131.51
  6/25/2017 Oscar E. Zurita                 $10.50   65.03   $   8.44          $   131.43   $    131.43
   7/2/2017 Oscar E. Zurita                 $10.50   65.17   $   8.44          $   132.13   $    132.13
   7/9/2017 Oscar E. Zurita                 $10.50   66.65   $   8.44          $   139.91   $    139.91
  7/16/2017 Oscar E. Zurita                 $10.50   62.07   $   8.44          $   115.85   $    115.85
  7/23/2017 Oscar E. Zurita                 $10.50   65.83   $   8.44          $   135.63   $    135.63
  7/30/2017 Oscar E. Zurita                 $10.50   64.93   $   8.44          $   130.90   $    130.90
   8/6/2017 Oscar E. Zurita                 $10.50   64.75   $   8.44          $   129.94   $    129.94
  8/13/2017 Oscar E. Zurita                 $10.50   63.28   $   8.44          $   122.24   $    122.24
  8/20/2017 Oscar E. Zurita                 $10.50   63.33   $   8.44          $   122.50   $    122.50
  8/27/2017 Oscar E. Zurita                 $10.50   66.38   $   8.44          $   138.51   $    138.51
   9/3/2017 Oscar E. Zurita                 $10.50   65.72   $   8.44          $   135.01   $    135.01
  9/10/2017 Oscar E. Zurita                 $10.50   65.73   $   8.44          $   135.10   $    135.10
  9/17/2017 Oscar E. Zurita                 $10.50   63.70   $   8.44          $   124.43   $    124.43
  9/24/2017 Oscar E. Zurita                 $10.50   63.67   $   8.44          $   124.25   $    124.25
  10/1/2017 Oscar E. Zurita                 $10.50   63.37   $   8.44          $   122.68   $    122.68
  10/8/2017 Oscar E. Zurita                 $10.50   64.45   $   8.44          $   128.36   $    128.36
 10/15/2017 Oscar E. Zurita                 $10.50   62.68   $   8.44          $   119.09   $    119.09
 10/22/2017 Oscar E. Zurita                 $10.50   64.03   $   8.44          $   126.18   $    126.18
 10/29/2017 Oscar E. Zurita                 $10.50   62.67   $   8.44          $   119.00   $    119.00
  11/5/2017 Oscar E. Zurita                 $10.50   61.52   $   8.44          $   112.96   $    112.96
 11/12/2017 Oscar E. Zurita                 $10.50   62.45   $   8.44          $   117.86   $    117.86
 11/19/2017 Oscar E. Zurita                 $10.50   64.37   $   8.44          $   127.93   $    127.93
 11/26/2017 Oscar E. Zurita                 $10.50   54.50   $   8.44          $    76.13   $     76.13
  12/3/2017 Oscar E. Zurita                 $10.50   63.75   $   8.44          $   124.69   $    124.69
 12/10/2017 Oscar E. Zurita                 $10.50   63.48   $   8.44          $   123.29   $    123.29
 12/17/2017 Oscar E. Zurita                 $10.50   53.27   $   8.44          $    69.65   $     69.65
 12/24/2017 Oscar E. Zurita                 $10.50   63.17   $   8.44          $   121.63   $    121.63
 12/31/2017 Oscar E. Zurita                 $10.50   53.82   $   8.44          $    72.54   $     72.54
   1/7/2018 Oscar E. Zurita                 $10.50   61.60   $   8.60          $   113.40   $    113.40
  1/14/2018 Oscar E. Zurita                 $10.50   63.12   $   8.60          $   121.36   $    121.36
  1/21/2018 Oscar E. Zurita                 $10.50   63.80   $   8.60          $   124.95   $    124.95
  1/28/2018 Oscar E. Zurita                 $10.50   53.57   $   8.60          $    71.23   $     71.23
   2/4/2018 Oscar E. Zurita                 $10.50   63.90   $   8.60          $   125.48   $    125.48
  2/11/2018 Oscar E. Zurita                 $10.50   63.80   $   8.60          $   124.95   $    124.95



                                              519
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 521 of 683 PageID: 1368
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  2/18/2018 Oscar E. Zurita                 $10.50   63.33   $   8.60          $   122.50   $    122.50
  2/25/2018 Oscar E. Zurita                 $10.50   62.97   $   8.60          $   120.58   $    120.58
   3/4/2018 Oscar E. Zurita                 $10.50   65.13   $   8.60          $   131.95   $    131.95
  3/25/2018 Oscar E. Zurita                 $10.50   62.87   $   8.60          $   120.05   $    120.05
   4/1/2018 Oscar E. Zurita                 $10.50   68.62   $   8.60          $   150.24   $    150.24
   4/8/2018 Oscar E. Zurita                 $10.50   63.82   $   8.60          $   125.04   $    125.04
  4/15/2018 Oscar E. Zurita                 $10.50   64.40   $   8.60          $   128.10   $    128.10
  4/22/2018 Oscar E. Zurita                 $10.50   63.35   $   8.60          $   122.59   $    122.59
  4/29/2018 Oscar E. Zurita                 $10.50   63.43   $   8.60          $   123.03   $    123.03
   5/6/2018 Oscar E. Zurita                 $10.50   64.28   $   8.60          $   127.49   $    127.49
  5/13/2018 Oscar E. Zurita                 $10.50   64.15   $   8.60          $   126.79   $    126.79
  5/20/2018 Oscar E. Zurita                 $10.50   63.78   $   8.60          $   124.86   $    124.86
  5/27/2018 Oscar E. Zurita                 $10.50   64.12   $   8.60          $   126.61   $    126.61
   6/3/2018 Oscar E. Zurita                 $10.50   65.15   $   8.60          $   132.04   $    132.04
  6/10/2018 Oscar E. Zurita                 $10.50   63.38   $   8.60          $   122.76   $    122.76
  6/17/2018 Oscar E. Zurita                 $10.50   66.23   $   8.60          $   137.73   $    137.73
  6/24/2018 Oscar E. Zurita                 $10.50   65.58   $   8.60          $   134.31   $    134.31
   7/1/2018 Oscar E. Zurita                 $10.50   66.07   $   8.60          $   136.85   $    136.85
   7/8/2018 Oscar E. Zurita                 $10.50   63.92   $   8.60          $   125.56   $    125.56
  7/15/2018 Oscar E. Zurita                 $10.50   63.33   $   8.60          $   122.50   $    122.50
  7/22/2018 Oscar E. Zurita                 $10.50   64.27   $   8.60          $   127.40   $    127.40
  7/29/2018 Oscar E. Zurita                 $10.50   63.78   $   8.60          $   124.86   $    124.86
   8/5/2018 Oscar E. Zurita                 $10.50   55.25   $   8.60          $    80.06   $     80.06
  8/12/2018 Oscar E. Zurita                 $10.50   62.23   $   8.60          $   116.73   $    116.73
  8/19/2018 Oscar E. Zurita                 $10.50   52.82   $   8.60          $    67.29   $     67.29
  8/26/2018 Oscar E. Zurita                 $10.50   66.62   $   8.60          $   139.74   $    139.74
   9/2/2018 Oscar E. Zurita                 $10.50   65.55   $   8.60          $   134.14   $    134.14
   9/9/2018 Oscar E. Zurita                 $10.50   63.62   $   8.60          $   123.99   $    123.99
  9/16/2018 Oscar E. Zurita                 $10.50   64.20   $   8.60          $   127.05   $    127.05
  9/23/2018 Oscar E. Zurita                 $10.50   63.70   $   8.60          $   124.43   $    124.43
  9/30/2018 Oscar E. Zurita                 $10.50   63.15   $   8.60          $   121.54   $    121.54
  10/7/2018 Oscar E. Zurita                 $10.50   41.47   $   8.60          $     7.70   $      7.70
 10/14/2018 Oscar E. Zurita                 $10.50   61.85   $   8.60          $   114.71   $    114.71
 10/21/2018 Oscar E. Zurita                 $10.50   63.50   $   8.60          $   123.38   $    123.38
 10/28/2018 Oscar E. Zurita                 $10.50   64.42   $   8.60          $   128.19   $    128.19
  11/4/2018 Oscar E. Zurita                 $10.50   64.30   $   8.60          $   127.58   $    127.58
 11/11/2018 Oscar E. Zurita                 $10.50   64.88   $   8.60          $   130.64   $    130.64
 11/18/2018 Oscar E. Zurita                 $10.50   65.37   $   8.60          $   133.18   $    133.18
 11/25/2018 Oscar E. Zurita                 $10.50   54.37   $   8.60          $    75.43   $     75.43
  12/2/2018 Oscar E. Zurita                 $10.50   47.05   $   8.60          $    37.01   $     37.01
  12/9/2018 Oscar E. Zurita                 $10.50   64.18   $   8.60          $   126.96   $    126.96
 12/16/2018 Oscar E. Zurita                 $10.50   64.72   $   8.60          $   129.76   $    129.76
 12/23/2018 Oscar E. Zurita                 $10.50   64.23   $   8.60          $   127.23   $    127.23
 12/30/2018 Oscar E. Zurita                 $10.50   53.17   $   8.60          $    69.13   $     69.13
   1/6/2019 Oscar E. Zurita                 $10.50   52.18   $   8.85          $    63.96   $     63.96
  1/13/2019 Oscar E. Zurita                 $10.50   53.60   $   8.85          $    71.40   $     71.40
  1/20/2019 Oscar E. Zurita                 $10.50   62.98   $   8.85          $   120.66   $    120.66
  1/27/2019 Oscar E. Zurita                 $10.50   51.07   $   8.85          $    58.10   $     58.10
   2/3/2019 Oscar E. Zurita                 $10.50   58.23   $   8.85          $    95.73   $     95.73
  2/10/2019 Oscar E. Zurita                 $10.50   64.32   $   8.85          $   127.66   $    127.66



                                              520
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 522 of 683 PageID: 1369
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  2/17/2019 Oscar E. Zurita                 $10.50   67.33   $    8.85         $   143.50   $    143.50
  2/24/2019 Oscar E. Zurita                 $10.50   62.63   $    8.85         $   118.83   $    118.83
   3/3/2019 Oscar E. Zurita                 $10.50   63.50   $    8.85         $   123.38   $    123.38
  3/10/2019 Oscar E. Zurita                 $10.50   67.23   $    8.85         $   142.98   $    142.98
  3/17/2019 Oscar E. Zurita                 $10.50   64.92   $    8.85         $   130.81   $    130.81
  3/24/2019 Oscar E. Zurita                 $10.50   62.92   $    8.85         $   120.31   $    120.31
  3/31/2019 Oscar E. Zurita                 $10.50   62.67   $    8.85         $   119.00   $    119.00
   4/7/2019 Oscar E. Zurita                 $10.50   65.32   $    8.85         $   132.91   $    132.91
  4/14/2019 Oscar E. Zurita                 $10.50   66.60   $    8.85         $   139.65   $    139.65
  4/21/2019 Oscar E. Zurita                 $10.50   63.83   $    8.85         $   125.13   $    125.13
  4/28/2019 Oscar E. Zurita                 $10.50   64.20   $    8.85         $   127.05   $    127.05
   5/5/2019 Oscar E. Zurita                 $10.50   65.93   $    8.85         $   136.15   $    136.15
  5/12/2019 Oscar E. Zurita                 $10.50   65.17   $    8.85         $   132.13   $    132.13
  5/19/2019 Oscar E. Zurita                 $10.50   64.63   $    8.85         $   129.33   $    129.33
  5/26/2019 Oscar E. Zurita                 $10.50   65.12   $    8.85         $   131.86   $    131.86
   6/2/2019 Oscar E. Zurita                 $10.50   63.80   $    8.85         $   124.95   $    124.95
   6/9/2019 Oscar E. Zurita                 $10.50   61.00   $    8.85         $   110.25   $    110.25
  6/16/2019 Oscar E. Zurita                 $10.50   64.05   $    8.85         $   126.26   $    126.26
  6/23/2019 Oscar E. Zurita                 $10.50   64.20   $    8.85         $   127.05   $    127.05
  6/30/2019 Oscar E. Zurita                 $10.50   64.63   $   10.00         $   129.33   $    129.33
   7/7/2019 Oscar E. Zurita                 $12.00   64.27   $   10.00         $   145.60   $    145.60
  7/14/2019 Oscar E. Zurita                 $12.00   65.48   $   10.00         $   152.90   $    152.90
  7/21/2019 Oscar E. Zurita                 $12.00   64.93   $   10.00         $   149.60   $    149.60
  7/28/2019 Oscar E. Zurita                 $12.00   67.15   $   10.00         $   162.90   $    162.90
   8/4/2019 Oscar E. Zurita                 $12.00   68.58   $   10.00         $   171.50   $    171.50
  8/11/2019 Oscar E. Zurita                 $12.00   67.33   $   10.00         $   164.00   $    164.00
  8/18/2019 Oscar E. Zurita                 $12.00   55.65   $   10.00         $    93.90   $     93.90
  8/25/2019 Oscar E. Zurita                 $12.00   50.78   $   10.00         $    64.70   $     64.70
   9/1/2019 Oscar E. Zurita                 $12.00   66.57   $   10.00         $   159.40   $    159.40
   9/8/2019 Oscar E. Zurita                 $12.00   66.47   $   10.00         $   158.80   $    158.80
  9/15/2019 Oscar E. Zurita                 $12.00   66.03   $   10.00         $   156.20   $    156.20
  9/22/2019 Oscar E. Zurita                 $12.00   66.70   $   10.00         $   160.20   $    160.20
  9/29/2019 Oscar E. Zurita                 $12.00   54.63   $   10.00         $    87.80   $     87.80
 11/10/2019 Oscar E. Zurita                 $12.00   66.52   $   10.00         $   159.10   $    159.10
 11/17/2019 Oscar E. Zurita                 $12.00   66.77   $   10.00         $   160.60   $    160.60
 11/24/2019 Oscar E. Zurita                 $12.00   64.77   $   10.00         $   148.60   $    148.60
  12/1/2019 Oscar E. Zurita                 $12.00   57.18   $   10.00         $   103.10   $    103.10
  12/8/2019 Oscar E. Zurita                 $12.00   63.03   $   10.00         $   138.20   $    138.20
 12/15/2019 Oscar E. Zurita                 $12.00   66.28   $   10.00         $   157.70   $    157.70
 12/22/2019 Oscar E. Zurita                 $12.00   66.18   $   10.00         $   157.10   $    157.10
 12/29/2019 Oscar E. Zurita                 $12.00   53.65   $   10.00         $    81.90   $     81.90
   1/5/2020 Oscar E. Zurita                 $12.00   66.32   $   11.00         $   157.90   $    157.90
  1/12/2020 Oscar E. Zurita                 $12.00   66.83   $   11.00         $   161.00   $    161.00
  1/19/2020 Oscar E. Zurita                 $12.00   65.12   $   11.00         $   150.70   $    150.70
  1/26/2020 Oscar E. Zurita                 $12.00   64.92   $   11.00         $   149.50   $    149.50
 12/15/2019 Oscar Gomez                     $11.00   69.08   $   10.00         $   159.96   $    159.96
 12/22/2019 Oscar Gomez                     $11.00   69.87   $   10.00         $   164.27   $    164.27
 12/29/2019 Oscar Gomez                     $11.00   55.83   $   10.00         $    87.08   $     87.08
   1/5/2020 Oscar Gomez                     $11.00   66.90   $   11.00         $   147.95   $    147.95
  1/12/2020 Oscar Gomez                     $11.00   70.88   $   11.00         $   169.86   $    169.86



                                              521
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 523 of 683 PageID: 1370
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                      Name                          Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  1/19/2020 Oscar Gomez                       $11.00   70.75   $   11.00         $   169.13   $    169.13
  1/26/2020 Oscar Gomez                       $11.00   61.05   $   11.00         $   115.78   $    115.78
   2/5/2017 Oscar Saul Mendez Guerra          $10.50   60.15   $    8.44         $   105.79   $    105.79
  2/12/2017 Oscar Saul Mendez Guerra          $10.50   49.42   $    8.44         $    49.44   $     49.44
  2/19/2017 Oscar Saul Mendez Guerra          $10.50   60.77   $    8.44         $   109.03   $    109.03
  2/26/2017 Oscar Saul Mendez Guerra          $10.50   60.58   $    8.44         $   108.06   $    108.06
   3/5/2017 Oscar Saul Mendez Guerra          $10.50   58.35   $    8.44         $    96.34   $     96.34
  3/12/2017 Oscar Saul Mendez Guerra          $10.50   58.65   $    8.44         $    97.91   $     97.91
  3/19/2017 Oscar Saul Mendez Guerra          $10.50   40.15   $    8.44         $     0.79   $      0.79
  3/26/2017 Oscar Saul Mendez Guerra          $10.50   62.88   $    8.44         $   120.14   $    120.14
   4/2/2017 Oscar Saul Mendez Guerra          $10.50   58.72   $    8.44         $    98.26   $     98.26
   4/9/2017 Oscar Saul Mendez Guerra          $10.50   61.78   $    8.44         $   114.36   $    114.36
  4/16/2017 Oscar Saul Mendez Guerra          $10.50   62.88   $    8.44         $   120.14   $    120.14
  4/23/2017 Oscar Saul Mendez Guerra          $10.50   60.00   $    8.44         $   105.00   $    105.00
  4/30/2017 Oscar Saul Mendez Guerra          $10.50   62.00   $    8.44         $   115.50   $    115.50
   5/7/2017 Oscar Saul Mendez Guerra          $10.50   56.83   $    8.44         $    88.38   $     88.38
  5/14/2017 Oscar Saul Mendez Guerra          $10.50   61.20   $    8.44         $   111.30   $    111.30
  5/21/2017 Oscar Saul Mendez Guerra          $10.50   61.28   $    8.44         $   111.74   $    111.74
  5/28/2017 Oscar Saul Mendez Guerra          $10.50   59.58   $    8.44         $   102.81   $    102.81
   6/4/2017 Oscar Saul Mendez Guerra          $10.50   57.15   $    8.44         $    90.04   $     90.04
  6/11/2017 Oscar Saul Mendez Guerra          $10.50   60.87   $    8.44         $   109.55   $    109.55
  6/18/2017 Oscar Saul Mendez Guerra          $10.50   58.75   $    8.44         $    98.44   $     98.44
  6/25/2017 Oscar Saul Mendez Guerra          $10.50   59.40   $    8.44         $   101.85   $    101.85
   7/2/2017 Oscar Saul Mendez Guerra          $10.50   59.87   $    8.44         $   104.30   $    104.30
   7/9/2017 Oscar Saul Mendez Guerra          $10.50   58.45   $    8.44         $    96.86   $     96.86
  7/16/2017 Oscar Saul Mendez Guerra          $10.50   61.25   $    8.44         $   111.56   $    111.56
  7/23/2017 Oscar Saul Mendez Guerra          $10.50   61.58   $    8.44         $   113.31   $    113.31
  7/30/2017 Oscar Saul Mendez Guerra          $10.50   62.28   $    8.44         $   116.99   $    116.99
   8/6/2017 Oscar Saul Mendez Guerra          $10.50   60.88   $    8.44         $   109.64   $    109.64
  8/13/2017 Oscar Saul Mendez Guerra          $10.50   60.82   $    8.44         $   109.29   $    109.29
  8/20/2017 Oscar Saul Mendez Guerra          $10.50   60.27   $    8.44         $   106.40   $    106.40
  8/27/2017 Oscar Saul Mendez Guerra          $10.50   63.95   $    8.44         $   125.74   $    125.74
   9/3/2017 Oscar Saul Mendez Guerra          $10.50   61.78   $    8.44         $   114.36   $    114.36
  9/10/2017 Oscar Saul Mendez Guerra          $10.50   59.10   $    8.44         $   100.28   $    100.28
  9/17/2017 Oscar Saul Mendez Guerra          $10.50   59.77   $    8.44         $   103.78   $    103.78
  9/24/2017 Oscar Saul Mendez Guerra          $10.50   61.40   $    8.44         $   112.35   $    112.35
  10/1/2017 Oscar Saul Mendez Guerra          $10.50   62.05   $    8.44         $   115.76   $    115.76
  10/8/2017 Oscar Saul Mendez Guerra          $10.50   64.62   $    8.44         $   129.24   $    129.24
 10/15/2017 Oscar Saul Mendez Guerra          $10.50   61.27   $    8.44         $   111.65   $    111.65
 10/22/2017 Oscar Saul Mendez Guerra          $10.50   62.63   $    8.44         $   118.83   $    118.83
 10/29/2017 Oscar Saul Mendez Guerra          $10.50   61.28   $    8.44         $   111.74   $    111.74
  11/5/2017 Oscar Saul Mendez Guerra          $10.50   61.52   $    8.44         $   112.96   $    112.96
 11/12/2017 Oscar Saul Mendez Guerra          $10.50   59.05   $    8.44         $   100.01   $    100.01
 11/19/2017 Oscar Saul Mendez Guerra          $10.50   59.05   $    8.44         $   100.01   $    100.01
 11/26/2017 Oscar Saul Mendez Guerra          $10.50   49.17   $    8.44         $    48.13   $     48.13
  12/3/2017 Oscar Saul Mendez Guerra          $10.50   59.83   $    8.44         $   104.13   $    104.13
 12/10/2017 Oscar Saul Mendez Guerra          $10.50   62.18   $    8.44         $   116.46   $    116.46
 12/17/2017 Oscar Saul Mendez Guerra          $10.50   60.78   $    8.44         $   109.11   $    109.11
 12/24/2017 Oscar Saul Mendez Guerra          $10.50   59.25   $    8.44         $   101.06   $    101.06
 12/31/2017 Oscar Saul Mendez Guerra          $10.50   50.50   $    8.44         $    55.13   $     55.13



                                                522
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 524 of 683 PageID: 1371
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                      Name                          Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

   1/7/2018 Oscar Saul Mendez Guerra          $10.50   44.87   $   8.60          $    25.55   $     25.55
  1/14/2018 Oscar Saul Mendez Guerra          $10.50   49.83   $   8.60          $    51.63   $     51.63
  1/21/2018 Oscar Saul Mendez Guerra          $10.50   57.87   $   8.60          $    93.80   $     93.80
  1/28/2018 Oscar Saul Mendez Guerra          $10.50   60.17   $   8.60          $   105.88   $    105.88
   2/4/2018 Oscar Saul Mendez Guerra          $10.50   60.82   $   8.60          $   109.29   $    109.29
  2/11/2018 Oscar Saul Mendez Guerra          $10.50   58.67   $   8.60          $    98.00   $     98.00
  2/18/2018 Oscar Saul Mendez Guerra          $10.50   59.87   $   8.60          $   104.30   $    104.30
  2/25/2018 Oscar Saul Mendez Guerra          $10.50   61.25   $   8.60          $   111.56   $    111.56
   3/4/2018 Oscar Saul Mendez Guerra          $10.50   40.30   $   8.60          $     1.57   $      1.57
  3/25/2018 Oscar Saul Mendez Guerra          $10.50   55.85   $   8.60          $    83.21   $     83.21
   4/1/2018 Oscar Saul Mendez Guerra          $10.50   63.40   $   8.60          $   122.85   $    122.85
   4/8/2018 Oscar Saul Mendez Guerra          $10.50   60.82   $   8.60          $   109.29   $    109.29
  4/15/2018 Oscar Saul Mendez Guerra          $10.50   61.72   $   8.60          $   114.01   $    114.01
  4/22/2018 Oscar Saul Mendez Guerra          $10.50   60.82   $   8.60          $   109.29   $    109.29
  4/29/2018 Oscar Saul Mendez Guerra          $10.50   61.92   $   8.60          $   115.06   $    115.06
   5/6/2018 Oscar Saul Mendez Guerra          $10.50   62.37   $   8.60          $   117.43   $    117.43
  5/13/2018 Oscar Saul Mendez Guerra          $10.50   61.80   $   8.60          $   114.45   $    114.45
  5/20/2018 Oscar Saul Mendez Guerra          $10.50   60.03   $   8.60          $   105.18   $    105.18
  5/27/2018 Oscar Saul Mendez Guerra          $10.50   62.10   $   8.60          $   116.03   $    116.03
   6/3/2018 Oscar Saul Mendez Guerra          $10.50   61.33   $   8.60          $   112.00   $    112.00
  6/10/2018 Oscar Saul Mendez Guerra          $10.50   64.37   $   8.60          $   127.93   $    127.93
  6/17/2018 Oscar Saul Mendez Guerra          $10.50   64.17   $   8.60          $   126.88   $    126.88
  6/24/2018 Oscar Saul Mendez Guerra          $10.50   63.58   $   8.60          $   123.81   $    123.81
   7/1/2018 Oscar Saul Mendez Guerra          $10.50   63.63   $   8.60          $   124.08   $    124.08
   7/8/2018 Oscar Saul Mendez Guerra          $10.50   60.85   $   8.60          $   109.46   $    109.46
  7/15/2018 Oscar Saul Mendez Guerra          $10.50   65.13   $   8.60          $   131.95   $    131.95
  7/22/2018 Oscar Saul Mendez Guerra          $10.50   62.00   $   8.60          $   115.50   $    115.50
  7/29/2018 Oscar Saul Mendez Guerra          $10.50   62.42   $   8.60          $   117.69   $    117.69
   8/5/2018 Oscar Saul Mendez Guerra          $10.50   62.15   $   8.60          $   116.29   $    116.29
  8/12/2018 Oscar Saul Mendez Guerra          $10.50   62.83   $   8.60          $   119.88   $    119.88
  8/19/2018 Oscar Saul Mendez Guerra          $10.50   63.67   $   8.60          $   124.25   $    124.25
  8/26/2018 Oscar Saul Mendez Guerra          $10.50   63.03   $   8.60          $   120.93   $    120.93
   9/2/2018 Oscar Saul Mendez Guerra          $10.50   64.20   $   8.60          $   127.05   $    127.05
   9/9/2018 Oscar Saul Mendez Guerra          $10.50   60.30   $   8.60          $   106.58   $    106.58
  9/16/2018 Oscar Saul Mendez Guerra          $10.50   62.43   $   8.60          $   117.78   $    117.78
  9/23/2018 Oscar Saul Mendez Guerra          $10.50   63.53   $   8.60          $   123.55   $    123.55
  9/30/2018 Oscar Saul Mendez Guerra          $10.50   57.87   $   8.60          $    93.80   $     93.80
  10/7/2018 Oscar Saul Mendez Guerra          $10.50   57.95   $   8.60          $    94.24   $     94.24
 10/14/2018 Oscar Saul Mendez Guerra          $10.50   61.33   $   8.60          $   112.00   $    112.00
 10/21/2018 Oscar Saul Mendez Guerra          $10.50   60.72   $   8.60          $   108.76   $    108.76
 10/28/2018 Oscar Saul Mendez Guerra          $10.50   59.97   $   8.60          $   104.83   $    104.83
  11/4/2018 Oscar Saul Mendez Guerra          $10.50   60.78   $   8.60          $   109.11   $    109.11
 11/11/2018 Oscar Saul Mendez Guerra          $10.50   63.42   $   8.60          $   122.94   $    122.94
 11/18/2018 Oscar Saul Mendez Guerra          $10.50   59.70   $   8.60          $   103.43   $    103.43
 11/25/2018 Oscar Saul Mendez Guerra          $10.50   50.68   $   8.60          $    56.09   $     56.09
  12/2/2018 Oscar Saul Mendez Guerra          $10.50   62.02   $   8.60          $   115.59   $    115.59
  12/9/2018 Oscar Saul Mendez Guerra          $10.50   59.88   $   8.60          $   104.39   $    104.39
 12/16/2018 Oscar Saul Mendez Guerra          $10.50   64.27   $   8.60          $   127.40   $    127.40
 12/23/2018 Oscar Saul Mendez Guerra          $10.50   60.98   $   8.60          $   110.16   $    110.16
 12/30/2018 Oscar Saul Mendez Guerra          $10.50   41.05   $   8.60          $     5.51   $      5.51



                                                523
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 525 of 683 PageID: 1372
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                      Name                          Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

   1/6/2019 Oscar Saul Mendez Guerra          $10.50   43.88   $    8.85         $    20.39   $     20.39
  1/13/2019 Oscar Saul Mendez Guerra          $10.50   61.48   $    8.85         $   112.79   $    112.79
  1/20/2019 Oscar Saul Mendez Guerra          $10.50   61.15   $    8.85         $   111.04   $    111.04
  1/27/2019 Oscar Saul Mendez Guerra          $10.50   58.93   $    8.85         $    99.40   $     99.40
   2/3/2019 Oscar Saul Mendez Guerra          $10.50   60.05   $    8.85         $   105.26   $    105.26
  2/10/2019 Oscar Saul Mendez Guerra          $10.50   62.60   $    8.85         $   118.65   $    118.65
  2/17/2019 Oscar Saul Mendez Guerra          $10.50   58.72   $    8.85         $    98.26   $     98.26
  2/24/2019 Oscar Saul Mendez Guerra          $10.50   61.40   $    8.85         $   112.35   $    112.35
   3/3/2019 Oscar Saul Mendez Guerra          $10.50   63.05   $    8.85         $   121.01   $    121.01
  3/10/2019 Oscar Saul Mendez Guerra          $10.50   59.87   $    8.85         $   104.30   $    104.30
  3/17/2019 Oscar Saul Mendez Guerra          $10.50   61.65   $    8.85         $   113.66   $    113.66
  3/24/2019 Oscar Saul Mendez Guerra          $10.50   63.23   $    8.85         $   121.98   $    121.98
  3/31/2019 Oscar Saul Mendez Guerra          $10.50   65.92   $    8.85         $   136.06   $    136.06
   4/7/2019 Oscar Saul Mendez Guerra          $10.50   64.75   $    8.85         $   129.94   $    129.94
  4/14/2019 Oscar Saul Mendez Guerra          $10.50   65.38   $    8.85         $   133.26   $    133.26
  4/21/2019 Oscar Saul Mendez Guerra          $10.50   64.93   $    8.85         $   130.90   $    130.90
  4/28/2019 Oscar Saul Mendez Guerra          $10.50   65.43   $    8.85         $   133.53   $    133.53
   5/5/2019 Oscar Saul Mendez Guerra          $10.50   64.12   $    8.85         $   126.61   $    126.61
  5/12/2019 Oscar Saul Mendez Guerra          $10.50   61.97   $    8.85         $   115.33   $    115.33
  5/19/2019 Oscar Saul Mendez Guerra          $10.50   65.27   $    8.85         $   132.65   $    132.65
  5/26/2019 Oscar Saul Mendez Guerra          $10.50   65.97   $    8.85         $   136.33   $    136.33
   6/2/2019 Oscar Saul Mendez Guerra          $10.50   64.58   $    8.85         $   129.06   $    129.06
   6/9/2019 Oscar Saul Mendez Guerra          $10.50   65.70   $    8.85         $   134.93   $    134.93
  6/16/2019 Oscar Saul Mendez Guerra          $10.50   63.38   $    8.85         $   122.76   $    122.76
  6/23/2019 Oscar Saul Mendez Guerra          $10.50   67.20   $    8.85         $   142.80   $    142.80
  6/30/2019 Oscar Saul Mendez Guerra          $10.50   66.43   $   10.00         $   138.78   $    138.78
   7/7/2019 Oscar Saul Mendez Guerra          $10.50   64.02   $   10.00         $   126.09   $    126.09
  7/14/2019 Oscar Saul Mendez Guerra          $10.50   66.48   $   10.00         $   139.04   $    139.04
  7/21/2019 Oscar Saul Mendez Guerra          $10.50   68.17   $   10.00         $   147.88   $    147.88
  7/28/2019 Oscar Saul Mendez Guerra          $10.50   67.10   $   10.00         $   142.28   $    142.28
   8/4/2019 Oscar Saul Mendez Guerra          $10.50   68.43   $   10.00         $   149.28   $    149.28
  8/11/2019 Oscar Saul Mendez Guerra          $10.50   67.08   $   10.00         $   142.19   $    142.19
  8/18/2019 Oscar Saul Mendez Guerra          $10.50   68.33   $   10.00         $   148.75   $    148.75
  8/25/2019 Oscar Saul Mendez Guerra          $10.50   54.48   $   10.00         $    76.04   $     76.04
   9/1/2019 Oscar Saul Mendez Guerra          $10.50   65.18   $   10.00         $   132.21   $    132.21
   9/8/2019 Oscar Saul Mendez Guerra          $10.50   61.38   $   10.00         $   112.26   $    112.26
  9/15/2019 Oscar Saul Mendez Guerra          $10.50   64.37   $   10.00         $   127.93   $    127.93
  9/22/2019 Oscar Saul Mendez Guerra          $10.50   61.58   $   10.00         $   113.31   $    113.31
  9/29/2019 Oscar Saul Mendez Guerra          $10.50   57.68   $   10.00         $    92.84   $     92.84
  10/6/2019 Oscar Saul Mendez Guerra          $10.50   60.80   $   10.00         $   109.20   $    109.20
 10/13/2019 Oscar Saul Mendez Guerra          $10.50   60.25   $   10.00         $   106.31   $    106.31
 10/20/2019 Oscar Saul Mendez Guerra          $11.00   59.10   $   10.00         $   105.05   $    105.05
 10/27/2019 Oscar Saul Mendez Guerra          $11.00   60.78   $   10.00         $   114.31   $    114.31
  11/3/2019 Oscar Saul Mendez Guerra          $11.00   61.17   $   10.00         $   116.42   $    116.42
 11/10/2019 Oscar Saul Mendez Guerra          $11.00   59.30   $   10.00         $   106.15   $    106.15
 11/17/2019 Oscar Saul Mendez Guerra          $11.00   61.40   $   10.00         $   117.70   $    117.70
 11/24/2019 Oscar Saul Mendez Guerra          $11.00   59.72   $   10.00         $   108.44   $    108.44
  12/1/2019 Oscar Saul Mendez Guerra          $11.00   51.52   $   10.00         $    63.34   $     63.34
  12/8/2019 Oscar Saul Mendez Guerra          $11.00   58.13   $   10.00         $    99.73   $     99.73
 12/15/2019 Oscar Saul Mendez Guerra          $10.50   61.98   $   10.00         $   115.41   $    115.41



                                                524
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 526 of 683 PageID: 1373
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                      Name                          Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

 12/22/2019 Oscar Saul Mendez Guerra          $10.50   58.37   $   10.00               $    96.43   $    96.43
 12/29/2019 Oscar Saul Mendez Guerra          $10.50   40.77   $   10.00               $     4.03   $     4.03
   1/5/2020 Oscar Saul Mendez Guerra          $10.50   48.25   $   11.00   $   24.13   $    45.38   $    69.50
  1/12/2020 Oscar Saul Mendez Guerra          $10.50   60.57   $   11.00   $   30.28   $   113.12   $   143.40
  1/19/2020 Oscar Saul Mendez Guerra          $10.50   58.35   $   11.00   $   29.18   $   100.93   $   130.10
  1/26/2020 Oscar Saul Mendez Guerra          $10.50   61.32   $   11.00   $   30.66   $   117.24   $   147.90
   2/5/2017 Oscar Us                          $10.00   60.00   $    8.44               $   100.00   $   100.00
  2/12/2017 Oscar Us                          $10.00   47.65   $    8.44               $    38.25   $    38.25
  2/19/2017 Oscar Us                          $10.00   59.87   $    8.44               $    99.33   $    99.33
  2/26/2017 Oscar Us                          $10.00   62.92   $    8.44               $   114.58   $   114.58
   3/5/2017 Oscar Us                          $10.00   60.43   $    8.44               $   102.17   $   102.17
  3/12/2017 Oscar Us                          $10.00   49.67   $    8.44               $    48.33   $    48.33
  3/19/2017 Oscar Us                          $10.00   50.25   $    8.44               $    51.25   $    51.25
  3/26/2017 Oscar Us                          $10.00   59.48   $    8.44               $    97.42   $    97.42
   2/5/2017 Oscar Zamudio                     $12.50   75.38   $    8.44               $   221.15   $   221.15
  2/12/2017 Oscar Zamudio                     $12.50   68.92   $    8.44               $   180.73   $   180.73
  2/19/2017 Oscar Zamudio                     $12.50   80.10   $    8.44               $   250.63   $   250.63
  2/26/2017 Oscar Zamudio                     $12.50   74.27   $    8.44               $   214.17   $   214.17
   3/5/2017 Oscar Zamudio                     $12.50   78.93   $    8.44               $   243.33   $   243.33
  3/12/2017 Oscar Zamudio                     $12.50   82.15   $    8.44               $   263.44   $   263.44
  3/19/2017 Oscar Zamudio                     $12.50   63.87   $    8.44               $   149.17   $   149.17
  3/26/2017 Oscar Zamudio                     $12.50   63.35   $    8.44               $   145.94   $   145.94
   4/2/2017 Oscar Zamudio                     $12.50   79.13   $    8.44               $   244.58   $   244.58
   4/9/2017 Oscar Zamudio                     $12.50   77.08   $    8.44               $   231.77   $   231.77
  4/16/2017 Oscar Zamudio                     $12.50   78.62   $    8.44               $   241.35   $   241.35
  4/23/2017 Oscar Zamudio                     $12.50   74.27   $    8.44               $   214.17   $   214.17
  4/30/2017 Oscar Zamudio                     $12.50   76.95   $    8.44               $   230.94   $   230.94
   5/7/2017 Oscar Zamudio                     $12.50   78.18   $    8.44               $   238.65   $   238.65
  5/14/2017 Oscar Zamudio                     $12.50   75.03   $    8.44               $   218.96   $   218.96
  5/21/2017 Oscar Zamudio                     $12.50   73.22   $    8.44               $   207.60   $   207.60
  5/28/2017 Oscar Zamudio                     $12.50   66.52   $    8.44               $   165.73   $   165.73
   6/4/2017 Oscar Zamudio                     $12.50   65.05   $    8.44               $   156.56   $   156.56
  6/11/2017 Oscar Zamudio                     $12.50   74.45   $    8.44               $   215.31   $   215.31
  6/18/2017 Oscar Zamudio                     $12.50   73.43   $    8.44               $   208.96   $   208.96
  6/25/2017 Oscar Zamudio                     $12.50   70.27   $    8.44               $   189.17   $   189.17
   7/2/2017 Oscar Zamudio                     $12.50   76.02   $    8.44               $   225.10   $   225.10
   7/9/2017 Oscar Zamudio                     $12.50   65.03   $    8.44               $   156.46   $   156.46
  7/16/2017 Oscar Zamudio                     $12.50   73.72   $    8.44               $   210.73   $   210.73
  7/23/2017 Oscar Zamudio                     $12.50   71.72   $    8.44               $   198.23   $   198.23
  7/30/2017 Oscar Zamudio                     $12.50   75.42   $    8.44               $   221.35   $   221.35
   8/6/2017 Oscar Zamudio                     $12.50   74.85   $    8.44               $   217.81   $   217.81
  8/13/2017 Oscar Zamudio                     $12.50   70.62   $    8.44               $   191.35   $   191.35
  8/20/2017 Oscar Zamudio                     $12.50   71.68   $    8.44               $   198.02   $   198.02
  8/27/2017 Oscar Zamudio                     $12.50   72.75   $    8.44               $   204.69   $   204.69
   9/3/2017 Oscar Zamudio                     $12.50   70.23   $    8.44               $   188.96   $   188.96
  9/10/2017 Oscar Zamudio                     $12.50   71.53   $    8.44               $   197.08   $   197.08
  9/17/2017 Oscar Zamudio                     $12.50   69.85   $    8.44               $   186.56   $   186.56
  9/24/2017 Oscar Zamudio                     $12.50   72.42   $    8.44               $   202.60   $   202.60
  10/1/2017 Oscar Zamudio                     $12.50   73.53   $    8.44               $   209.58   $   209.58
  10/8/2017 Oscar Zamudio                     $12.50   76.67   $    8.44               $   229.17   $   229.17



                                                525
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 527 of 683 PageID: 1374
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

 10/15/2017 Oscar Zamudio                 $12.50   73.35   $   8.44          $   208.44   $    208.44
 10/22/2017 Oscar Zamudio                 $12.50   69.22   $   8.44          $   182.60   $    182.60
 10/29/2017 Oscar Zamudio                 $12.50   75.45   $   8.44          $   221.56   $    221.56
  11/5/2017 Oscar Zamudio                 $12.50   75.33   $   8.44          $   220.83   $    220.83
 11/12/2017 Oscar Zamudio                 $12.50   74.88   $   8.44          $   218.02   $    218.02
 11/19/2017 Oscar Zamudio                 $12.50   66.85   $   8.44          $   167.81   $    167.81
 11/26/2017 Oscar Zamudio                 $12.50   61.00   $   8.44          $   131.25   $    131.25
  12/3/2017 Oscar Zamudio                 $12.50   73.13   $   8.44          $   207.08   $    207.08
 12/10/2017 Oscar Zamudio                 $12.50   69.00   $   8.44          $   181.25   $    181.25
 12/17/2017 Oscar Zamudio                 $12.50   72.72   $   8.44          $   204.48   $    204.48
 12/24/2017 Oscar Zamudio                 $12.50   74.10   $   8.44          $   213.13   $    213.13
 12/31/2017 Oscar Zamudio                 $12.50   60.32   $   8.44          $   126.98   $    126.98
   1/7/2018 Oscar Zamudio                 $12.50   54.77   $   8.60          $    92.29   $     92.29
  1/14/2018 Oscar Zamudio                 $12.50   68.98   $   8.60          $   181.15   $    181.15
  1/21/2018 Oscar Zamudio                 $12.50   73.52   $   8.60          $   209.48   $    209.48
  1/28/2018 Oscar Zamudio                 $12.50   71.53   $   8.60          $   197.08   $    197.08
   2/4/2018 Oscar Zamudio                 $12.50   70.68   $   8.60          $   191.77   $    191.77
  2/11/2018 Oscar Zamudio                 $12.50   76.22   $   8.60          $   226.35   $    226.35
  2/18/2018 Oscar Zamudio                 $12.50   76.53   $   8.60          $   228.33   $    228.33
  2/25/2018 Oscar Zamudio                 $12.50   76.32   $   8.60          $   226.98   $    226.98
   3/4/2018 Oscar Zamudio                 $12.50   72.65   $   8.60          $   204.06   $    204.06
  3/25/2018 Oscar Zamudio                 $12.50   72.00   $   8.60          $   200.00   $    200.00
   4/1/2018 Oscar Zamudio                 $12.50   78.07   $   8.60          $   237.92   $    237.92
   4/8/2018 Oscar Zamudio                 $12.50   75.13   $   8.60          $   219.58   $    219.58
  4/15/2018 Oscar Zamudio                 $12.50   75.02   $   8.60          $   218.85   $    218.85
  4/22/2018 Oscar Zamudio                 $12.50   62.53   $   8.60          $   140.83   $    140.83
  4/29/2018 Oscar Zamudio                 $13.00   74.80   $   8.60          $   226.20   $    226.20
   5/6/2018 Oscar Zamudio                 $13.00   73.55   $   8.60          $   218.08   $    218.08
  5/13/2018 Oscar Zamudio                 $13.00   74.35   $   8.60          $   223.28   $    223.28
  5/20/2018 Oscar Zamudio                 $13.00   74.53   $   8.60          $   224.47   $    224.47
  5/27/2018 Oscar Zamudio                 $13.00   75.20   $   8.60          $   228.80   $    228.80
   6/3/2018 Oscar Zamudio                 $13.00   69.80   $   8.60          $   193.70   $    193.70
  6/10/2018 Oscar Zamudio                 $13.00   75.17   $   8.60          $   228.58   $    228.58
  6/17/2018 Oscar Zamudio                 $13.00   75.12   $   8.60          $   228.26   $    228.26
  6/24/2018 Oscar Zamudio                 $13.00   74.88   $   8.60          $   226.74   $    226.74
   7/1/2018 Oscar Zamudio                 $13.00   74.53   $   8.60          $   224.47   $    224.47
   7/8/2018 Oscar Zamudio                 $13.00   62.07   $   8.60          $   143.43   $    143.43
  7/15/2018 Oscar Zamudio                 $13.00   75.32   $   8.60          $   229.56   $    229.56
  7/22/2018 Oscar Zamudio                 $13.00   74.95   $   8.60          $   227.18   $    227.18
  7/29/2018 Oscar Zamudio                 $13.00   74.67   $   8.60          $   225.33   $    225.33
   8/5/2018 Oscar Zamudio                 $13.00   76.30   $   8.60          $   235.95   $    235.95
  8/12/2018 Oscar Zamudio                 $13.00   74.98   $   8.60          $   227.39   $    227.39
  8/19/2018 Oscar Zamudio                 $13.00   75.08   $   8.60          $   228.04   $    228.04
  8/26/2018 Oscar Zamudio                 $13.00   74.25   $   8.60          $   222.63   $    222.63
   9/2/2018 Oscar Zamudio                 $13.00   75.07   $   8.60          $   227.93   $    227.93
   9/9/2018 Oscar Zamudio                 $13.00   69.73   $   8.60          $   193.27   $    193.27
  9/16/2018 Oscar Zamudio                 $13.00   74.97   $   8.60          $   227.28   $    227.28
  9/23/2018 Oscar Zamudio                 $13.00   75.33   $   8.60          $   229.67   $    229.67
  9/30/2018 Oscar Zamudio                 $13.00   74.65   $   8.60          $   225.23   $    225.23
  10/7/2018 Oscar Zamudio                 $13.00   75.18   $   8.60          $   228.69   $    228.69



                                            526
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 528 of 683 PageID: 1375
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

 10/14/2018 Oscar Zamudio                 $13.00   70.50   $    8.60         $   198.25   $    198.25
 10/21/2018 Oscar Zamudio                 $13.00   74.60   $    8.60         $   224.90   $    224.90
 10/28/2018 Oscar Zamudio                 $13.00   75.03   $    8.60         $   227.72   $    227.72
  11/4/2018 Oscar Zamudio                 $13.00   74.57   $    8.60         $   224.68   $    224.68
 11/11/2018 Oscar Zamudio                 $13.00   75.40   $    8.60         $   230.10   $    230.10
 11/18/2018 Oscar Zamudio                 $13.00   72.75   $    8.60         $   212.88   $    212.88
 11/25/2018 Oscar Zamudio                 $13.00   58.93   $    8.60         $   123.07   $    123.07
  12/2/2018 Oscar Zamudio                 $13.00   70.97   $    8.60         $   201.28   $    201.28
  12/9/2018 Oscar Zamudio                 $13.00   72.35   $    8.60         $   210.28   $    210.28
 12/16/2018 Oscar Zamudio                 $13.00   71.85   $    8.60         $   207.03   $    207.03
 12/23/2018 Oscar Zamudio                 $13.00   71.73   $    8.60         $   206.27   $    206.27
 12/30/2018 Oscar Zamudio                 $13.00   52.97   $    8.60         $    84.28   $     84.28
   1/6/2019 Oscar Zamudio                 $13.00   56.40   $    8.85         $   106.60   $    106.60
  1/13/2019 Oscar Zamudio                 $13.00   71.55   $    8.85         $   205.08   $    205.08
  1/20/2019 Oscar Zamudio                 $13.00   69.03   $    8.85         $   188.72   $    188.72
  1/27/2019 Oscar Zamudio                 $13.00   71.42   $    8.85         $   204.21   $    204.21
   2/3/2019 Oscar Zamudio                 $13.00   72.47   $    8.85         $   211.03   $    211.03
  2/10/2019 Oscar Zamudio                 $13.00   71.52   $    8.85         $   204.86   $    204.86
  2/17/2019 Oscar Zamudio                 $13.00   71.53   $    8.85         $   204.97   $    204.97
  2/24/2019 Oscar Zamudio                 $13.00   73.23   $    8.85         $   216.02   $    216.02
   3/3/2019 Oscar Zamudio                 $13.00   72.12   $    8.85         $   208.76   $    208.76
  3/10/2019 Oscar Zamudio                 $13.00   71.65   $    8.85         $   205.73   $    205.73
  3/17/2019 Oscar Zamudio                 $13.00   69.68   $    8.85         $   192.94   $    192.94
  3/24/2019 Oscar Zamudio                 $13.00   71.15   $    8.85         $   202.48   $    202.48
  3/31/2019 Oscar Zamudio                 $13.00   71.57   $    8.85         $   205.18   $    205.18
   4/7/2019 Oscar Zamudio                 $13.00   70.25   $    8.85         $   196.63   $    196.63
  4/14/2019 Oscar Zamudio                 $13.00   70.27   $    8.85         $   196.73   $    196.73
  4/21/2019 Oscar Zamudio                 $13.00   69.53   $    8.85         $   191.97   $    191.97
  4/28/2019 Oscar Zamudio                 $13.00   70.82   $    8.85         $   200.31   $    200.31
   5/5/2019 Oscar Zamudio                 $13.00   71.38   $    8.85         $   203.99   $    203.99
  5/12/2019 Oscar Zamudio                 $13.00   70.65   $    8.85         $   199.23   $    199.23
  5/19/2019 Oscar Zamudio                 $13.00   70.75   $    8.85         $   199.88   $    199.88
  5/26/2019 Oscar Zamudio                 $13.00   71.38   $    8.85         $   203.99   $    203.99
   6/2/2019 Oscar Zamudio                 $13.00   67.85   $    8.85         $   181.03   $    181.03
   6/9/2019 Oscar Zamudio                 $13.00   73.18   $    8.85         $   215.69   $    215.69
  6/16/2019 Oscar Zamudio                 $13.00   72.67   $    8.85         $   212.33   $    212.33
  6/23/2019 Oscar Zamudio                 $13.00   71.75   $    8.85         $   206.38   $    206.38
  6/30/2019 Oscar Zamudio                 $13.00   73.20   $   10.00         $   215.80   $    215.80
   7/7/2019 Oscar Zamudio                 $13.00   66.63   $   10.00         $   173.12   $    173.12
  7/14/2019 Oscar Zamudio                 $13.00   73.08   $   10.00         $   215.04   $    215.04
  7/21/2019 Oscar Zamudio                 $13.00   72.80   $   10.00         $   213.20   $    213.20
  7/28/2019 Oscar Zamudio                 $13.00   72.20   $   10.00         $   209.30   $    209.30
   8/4/2019 Oscar Zamudio                 $13.00   71.97   $   10.00         $   207.78   $    207.78
  8/11/2019 Oscar Zamudio                 $13.00   71.98   $   10.00         $   207.89   $    207.89
  8/18/2019 Oscar Zamudio                 $13.00   71.88   $   10.00         $   207.24   $    207.24
  8/25/2019 Oscar Zamudio                 $13.00   71.60   $   10.00         $   205.40   $    205.40
   9/1/2019 Oscar Zamudio                 $13.00   70.92   $   10.00         $   200.96   $    200.96
   9/8/2019 Oscar Zamudio                 $13.00   65.02   $   10.00         $   162.61   $    162.61
  9/15/2019 Oscar Zamudio                 $13.00   61.43   $   10.00         $   139.32   $    139.32
  9/22/2019 Oscar Zamudio                 $13.00   71.03   $   10.00         $   201.72   $    201.72



                                            527
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 529 of 683 PageID: 1376
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  9/29/2019 Oscar Zamudio                   $13.00   70.37   $   10.00         $   197.38   $    197.38
  10/6/2019 Oscar Zamudio                   $13.00   71.17   $   10.00         $   202.58   $    202.58
 10/13/2019 Oscar Zamudio                   $13.00   70.95   $   10.00         $   201.18   $    201.18
 10/20/2019 Oscar Zamudio                   $13.00   70.70   $   10.00         $   199.55   $    199.55
 10/27/2019 Oscar Zamudio                   $13.00   70.73   $   10.00         $   199.77   $    199.77
  11/3/2019 Oscar Zamudio                   $13.00   71.80   $   10.00         $   206.70   $    206.70
 11/10/2019 Oscar Zamudio                   $13.00   70.68   $   10.00         $   199.44   $    199.44
 11/17/2019 Oscar Zamudio                   $13.00   71.25   $   10.00         $   203.13   $    203.13
 11/24/2019 Oscar Zamudio                   $13.00   70.45   $   10.00         $   197.93   $    197.93
  12/1/2019 Oscar Zamudio                   $13.00   57.45   $   10.00         $   113.43   $    113.43
  5/14/2017 Oseas Lorenzo Alvarado           $9.50   75.18   $    8.44         $   167.12   $    167.12
  5/21/2017 Oseas Lorenzo Alvarado           $9.50   70.30   $    8.44         $   143.93   $    143.93
  5/28/2017 Oseas Lorenzo Alvarado           $9.50   69.95   $    8.44         $   142.26   $    142.26
   6/4/2017 Oseas Lorenzo Alvarado           $9.50   58.22   $    8.44         $    86.53   $     86.53
  6/11/2017 Oseas Lorenzo Alvarado           $9.50   70.07   $    8.44         $   142.82   $    142.82
  6/18/2017 Oseas Lorenzo Alvarado           $9.50   78.27   $    8.44         $   181.77   $    181.77
  6/25/2017 Oseas Lorenzo Alvarado           $9.50   70.37   $    8.44         $   144.24   $    144.24
   7/2/2017 Oseas Lorenzo Alvarado           $9.50   69.65   $    8.44         $   140.84   $    140.84
   7/9/2017 Oseas Lorenzo Alvarado           $9.50   64.00   $    8.44         $   114.00   $    114.00
  7/16/2017 Oseas Lorenzo Alvarado           $9.50   68.77   $    8.44         $   136.64   $    136.64
  7/23/2017 Oseas Lorenzo Alvarado           $9.50   77.83   $    8.44         $   179.71   $    179.71
  7/30/2017 Oseas Lorenzo Alvarado           $9.50   68.28   $    8.44         $   134.35   $    134.35
   8/6/2017 Oseas Lorenzo Alvarado           $9.50   74.30   $    8.44         $   162.93   $    162.93
  8/13/2017 Oseas Lorenzo Alvarado           $9.50   68.20   $    8.44         $   133.95   $    133.95
  8/20/2017 Oseas Lorenzo Alvarado           $9.50   77.87   $    8.44         $   179.87   $    179.87
  8/27/2017 Oseas Lorenzo Alvarado           $9.50   68.22   $    8.44         $   134.03   $    134.03
   9/3/2017 Oseas Lorenzo Alvarado           $9.50   69.12   $    8.44         $   138.30   $    138.30
  9/10/2017 Oseas Lorenzo Alvarado           $9.50   60.78   $    8.44         $    98.72   $     98.72
  9/17/2017 Oseas Lorenzo Alvarado           $9.50   74.68   $    8.44         $   164.75   $    164.75
  9/24/2017 Oseas Lorenzo Alvarado           $9.50   69.57   $    8.44         $   140.44   $    140.44
  10/1/2017 Oseas Lorenzo Alvarado           $9.50   71.38   $    8.44         $   149.07   $    149.07
  10/8/2017 Oseas Lorenzo Alvarado           $9.50   69.35   $    8.44         $   139.41   $    139.41
 10/15/2017 Oseas Lorenzo Alvarado           $9.50   75.05   $    8.44         $   166.49   $    166.49
 10/22/2017 Oseas Lorenzo Alvarado           $9.50   66.78   $    8.44         $   127.22   $    127.22
 10/29/2017 Oseas Lorenzo Alvarado           $9.50   75.82   $    8.44         $   170.13   $    170.13
  11/5/2017 Oseas Lorenzo Alvarado           $9.50   66.00   $    8.44         $   123.50   $    123.50
 11/12/2017 Oseas Lorenzo Alvarado           $9.50   75.42   $    8.44         $   168.23   $    168.23
 11/19/2017 Oseas Lorenzo Alvarado           $9.50   55.90   $    8.44         $    75.53   $     75.53
 11/26/2017 Oseas Lorenzo Alvarado           $9.50   65.10   $    8.44         $   119.23   $    119.23
  12/3/2017 Oseas Lorenzo Alvarado           $9.50   67.37   $    8.44         $   129.99   $    129.99
 12/10/2017 Oseas Lorenzo Alvarado           $9.50   75.55   $    8.44         $   168.86   $    168.86
 12/17/2017 Oseas Lorenzo Alvarado           $9.50   66.65   $    8.44         $   126.59   $    126.59
 12/24/2017 Oseas Lorenzo Alvarado           $9.50   66.07   $    8.44         $   123.82   $    123.82
 12/31/2017 Oseas Lorenzo Alvarado           $9.50   53.87   $    8.44         $    65.87   $     65.87
   1/7/2018 Oseas Lorenzo Alvarado           $9.50   57.47   $    8.60         $    82.97   $     82.97
  1/14/2018 Oseas Lorenzo Alvarado           $9.50   67.38   $    8.60         $   130.07   $    130.07
  1/21/2018 Oseas Lorenzo Alvarado           $9.50   73.98   $    8.60         $   161.42   $    161.42
  1/28/2018 Oseas Lorenzo Alvarado           $9.50   66.37   $    8.60         $   125.24   $    125.24
   2/4/2018 Oseas Lorenzo Alvarado           $9.50   64.40   $    8.60         $   115.90   $    115.90
  2/11/2018 Oseas Lorenzo Alvarado           $9.50   53.22   $    8.60         $    62.78   $     62.78



                                              528
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 530 of 683 PageID: 1377
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  2/18/2018 Oseas Lorenzo Alvarado           $9.50   75.08   $    8.60         $   166.65   $    166.65
  2/25/2018 Oseas Lorenzo Alvarado           $9.50   66.98   $    8.60         $   128.17   $    128.17
   3/4/2018 Oseas Lorenzo Alvarado           $9.50   73.30   $    8.60         $   158.18   $    158.18
   4/1/2018 Oseas Lorenzo Alvarado           $9.50   57.35   $    8.60         $    82.41   $     82.41
   4/8/2018 Oseas Lorenzo Alvarado           $9.50   67.30   $    8.60         $   129.68   $    129.68
  4/15/2018 Oseas Lorenzo Alvarado           $9.50   75.60   $    8.60         $   169.10   $    169.10
  4/22/2018 Oseas Lorenzo Alvarado           $9.50   64.95   $    8.60         $   118.51   $    118.51
  4/29/2018 Oseas Lorenzo Alvarado           $9.50   73.23   $    8.60         $   157.86   $    157.86
   5/6/2018 Oseas Lorenzo Alvarado           $9.50   55.50   $    8.60         $    73.63   $     73.63
  5/13/2018 Oseas Lorenzo Alvarado           $9.50   75.53   $    8.60         $   168.78   $    168.78
  5/20/2018 Oseas Lorenzo Alvarado           $9.50   68.13   $    8.60         $   133.63   $    133.63
  7/15/2018 Oseas Lorenzo Alvarado           $9.50   54.23   $    8.60         $    67.61   $     67.61
  7/29/2018 Oseas Lorenzo Alvarado           $9.50   76.48   $    8.60         $   173.30   $    173.30
   8/5/2018 Oseas Lorenzo Alvarado           $9.50   68.00   $    8.60         $   133.00   $    133.00
  8/12/2018 Oseas Lorenzo Alvarado           $9.50   73.72   $    8.60         $   160.15   $    160.15
  8/19/2018 Oseas Lorenzo Alvarado           $9.50   66.48   $    8.60         $   125.80   $    125.80
  8/26/2018 Oseas Lorenzo Alvarado           $9.50   78.28   $    8.60         $   181.85   $    181.85
   9/2/2018 Oseas Lorenzo Alvarado           $9.50   67.30   $    8.60         $   129.68   $    129.68
   9/9/2018 Oseas Lorenzo Alvarado           $9.50   69.48   $    8.60         $   140.05   $    140.05
  9/16/2018 Oseas Lorenzo Alvarado           $9.50   67.05   $    8.60         $   128.49   $    128.49
  9/23/2018 Oseas Lorenzo Alvarado           $9.50   76.10   $    8.60         $   171.48   $    171.48
  9/30/2018 Oseas Lorenzo Alvarado           $9.50   67.70   $    8.60         $   131.58   $    131.58
  10/7/2018 Oseas Lorenzo Alvarado           $9.50   75.45   $    8.60         $   168.39   $    168.39
 10/14/2018 Oseas Lorenzo Alvarado           $9.50   67.03   $    8.60         $   128.41   $    128.41
 10/21/2018 Oseas Lorenzo Alvarado           $9.50   75.43   $    8.60         $   168.31   $    168.31
 10/28/2018 Oseas Lorenzo Alvarado           $9.50   66.78   $    8.60         $   127.22   $    127.22
  11/4/2018 Oseas Lorenzo Alvarado           $9.50   76.20   $    8.60         $   171.95   $    171.95
 11/11/2018 Oseas Lorenzo Alvarado           $9.50   67.80   $    8.60         $   132.05   $    132.05
 11/18/2018 Oseas Lorenzo Alvarado           $9.50   65.97   $    8.60         $   123.34   $    123.34
 11/25/2018 Oseas Lorenzo Alvarado           $9.50   64.30   $    8.60         $   115.43   $    115.43
  12/2/2018 Oseas Lorenzo Alvarado           $9.50   67.90   $    8.60         $   132.53   $    132.53
  12/9/2018 Oseas Lorenzo Alvarado           $9.50   68.20   $    8.60         $   133.95   $    133.95
 12/16/2018 Oseas Lorenzo Alvarado           $9.50   77.32   $    8.60         $   177.25   $    177.25
 12/23/2018 Oseas Lorenzo Alvarado           $9.50   67.27   $    8.60         $   129.52   $    129.52
 12/30/2018 Oseas Lorenzo Alvarado           $9.50   52.43   $    8.60         $    59.06   $     59.06
   1/6/2019 Oseas Lorenzo Alvarado           $9.50   54.83   $    8.85         $    70.46   $     70.46
  1/13/2019 Oseas Lorenzo Alvarado           $9.50   67.22   $    8.85         $   129.28   $    129.28
  1/20/2019 Oseas Lorenzo Alvarado           $9.50   68.58   $    8.85         $   135.77   $    135.77
  1/27/2019 Oseas Lorenzo Alvarado           $9.50   46.75   $    8.85         $    32.06   $     32.06
   2/3/2019 Oseas Lorenzo Alvarado           $9.50   75.10   $    8.85         $   166.73   $    166.73
  2/10/2019 Oseas Lorenzo Alvarado           $9.50   55.17   $    8.85         $    72.04   $     72.04
  2/17/2019 Oseas Lorenzo Alvarado           $9.50   74.98   $    8.85         $   166.17   $    166.17
  2/24/2019 Oseas Lorenzo Alvarado           $9.50   67.38   $    8.85         $   130.07   $    130.07
   3/3/2019 Oseas Lorenzo Alvarado           $9.50   67.30   $    8.85         $   129.68   $    129.68
  3/10/2019 Oseas Lorenzo Alvarado           $9.50   54.58   $    8.85         $    69.27   $     69.27
  3/17/2019 Oseas Lorenzo Alvarado           $9.50   43.77   $    8.85         $    17.89   $     17.89
  3/24/2019 Oseas Lorenzo Alvarado           $9.50   56.18   $    8.85         $    76.87   $     76.87
   2/5/2017 Oshane Watson                    $9.50   53.88   $    8.44         $    65.95   $     65.95
 11/10/2019 Osman Eduardo Mejia             $10.00   66.03   $   10.00         $   130.17   $    130.17
 11/17/2019 Osman Eduardo Mejia             $10.00   66.82   $   10.00         $   134.08   $    134.08



                                              529
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 531 of 683 PageID: 1378
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                      Name                           Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

 11/24/2019 Osman Eduardo Mejia                $10.00   67.03   $   10.00               $   135.17   $   135.17
  12/1/2019 Osman Eduardo Mejia                $10.00   54.77   $   10.00               $    73.83   $    73.83
  12/8/2019 Osman Eduardo Mejia                $10.00   63.70   $   10.00               $   118.50   $   118.50
 12/15/2019 Osman Eduardo Mejia                $10.00   68.57   $   10.00               $   142.83   $   142.83
 12/22/2019 Osman Eduardo Mejia                $10.00   66.80   $   10.00               $   134.00   $   134.00
 12/29/2019 Osman Eduardo Mejia                $10.00   53.13   $   10.00               $    65.67   $    65.67
  1/12/2020 Osman Eduardo Mejia                $10.00   51.82   $   11.00   $   51.82   $    64.99   $   116.81
  1/19/2020 Osman Eduardo Mejia                $10.00   63.22   $   11.00   $   63.22   $   127.69   $   190.91
  1/26/2020 Osman Eduardo Mejia                $10.00   63.50   $   11.00   $   63.50   $   129.25   $   192.75
  6/23/2019 Osterman B. De Los Santos          $11.00   40.27   $    8.85               $     1.47   $     1.47
   7/7/2019 Osterman B. De Los Santos          $11.50   40.57   $   10.00               $     3.26   $     3.26
  7/14/2019 Osterman B. De Los Santos          $11.50   51.30   $   10.00               $    64.98   $    64.98
  8/25/2019 Osterman B. De Los Santos          $11.50   47.15   $   10.00               $    41.11   $    41.11
   9/1/2019 Osterman B. De Los Santos          $11.50   42.47   $   10.00               $    14.18   $    14.18
  9/29/2019 Osterman B. De Los Santos          $11.50   41.38   $   10.00               $     7.95   $     7.95
  10/6/2019 Osterman B. De Los Santos          $11.50   40.95   $   10.00               $     5.46   $     5.46
 10/20/2019 Osterman B. De Los Santos          $11.50   41.93   $   10.00               $    11.12   $    11.12
  11/3/2019 Osterman B. De Los Santos          $11.50   41.33   $   10.00               $     7.67   $     7.67
 11/10/2019 Osterman B. De Los Santos          $11.50   51.50   $   10.00               $    66.13   $    66.13
 11/17/2019 Osterman B. De Los Santos          $11.50   47.98   $   10.00               $    45.90   $    45.90
 11/24/2019 Osterman B. De Los Santos          $11.50   40.22   $   10.00               $     1.25   $     1.25
  1/12/2020 Osterman B. De Los Santos          $11.50   44.48   $   11.00               $    25.78   $    25.78
   2/5/2017 Osvaldo Decena                     $12.50   48.97   $    8.44               $    56.04   $    56.04
  2/12/2017 Osvaldo Decena                     $12.50   43.33   $    8.44               $    20.83   $    20.83
  2/19/2017 Osvaldo Decena                     $12.50   51.62   $    8.44               $    72.60   $    72.60
  2/26/2017 Osvaldo Decena                     $12.50   55.82   $    8.44               $    98.85   $    98.85
   3/5/2017 Osvaldo Decena                     $12.50   52.50   $    8.44               $    78.13   $    78.13
  3/12/2017 Osvaldo Decena                     $12.50   48.83   $    8.44               $    55.21   $    55.21
  3/19/2017 Osvaldo Decena                     $12.50   43.38   $    8.44               $    21.15   $    21.15
  3/26/2017 Osvaldo Decena                     $12.50   55.62   $    8.44               $    97.60   $    97.60
   4/2/2017 Osvaldo Decena                     $12.50   54.32   $    8.44               $    89.48   $    89.48
   4/9/2017 Osvaldo Decena                     $12.50   55.05   $    8.44               $    94.06   $    94.06
  4/16/2017 Osvaldo Decena                     $12.50   58.85   $    8.44               $   117.81   $   117.81
  4/23/2017 Osvaldo Decena                     $12.50   59.35   $    8.44               $   120.94   $   120.94
  4/30/2017 Osvaldo Decena                     $12.50   56.80   $    8.44               $   105.00   $   105.00
   5/7/2017 Osvaldo Decena                     $12.50   57.68   $    8.44               $   110.52   $   110.52
  5/14/2017 Osvaldo Decena                     $12.50   53.53   $    8.44               $    84.58   $    84.58
  5/21/2017 Osvaldo Decena                     $12.50   57.02   $    8.44               $   106.35   $   106.35
  5/28/2017 Osvaldo Decena                     $12.50   54.95   $    8.44               $    93.44   $    93.44
   6/4/2017 Osvaldo Decena                     $12.50   57.42   $    8.44               $   108.85   $   108.85
  6/11/2017 Osvaldo Decena                     $12.50   53.38   $    8.44               $    83.65   $    83.65
  6/18/2017 Osvaldo Decena                     $12.50   58.97   $    8.44               $   118.54   $   118.54
  6/25/2017 Osvaldo Decena                     $12.50   57.17   $    8.44               $   107.29   $   107.29
   7/2/2017 Osvaldo Decena                     $12.50   56.23   $    8.44               $   101.46   $   101.46
   7/9/2017 Osvaldo Decena                     $12.50   54.12   $    8.44               $    88.23   $    88.23
  7/16/2017 Osvaldo Decena                     $12.50   51.22   $    8.44               $    70.10   $    70.10
  7/23/2017 Osvaldo Decena                     $12.50   51.53   $    8.44               $    72.08   $    72.08
  7/30/2017 Osvaldo Decena                     $12.50   56.70   $    8.44               $   104.38   $   104.38
   8/6/2017 Osvaldo Decena                     $12.50   56.58   $    8.44               $   103.65   $   103.65
  8/13/2017 Osvaldo Decena                     $12.50   55.92   $    8.44               $    99.48   $    99.48



                                                 530
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 532 of 683 PageID: 1379
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

  8/20/2017 Osvaldo Decena                 $12.50   55.10   $   8.44          $    94.38   $     94.38
  8/27/2017 Osvaldo Decena                 $12.50   59.33   $   8.44          $   120.83   $    120.83
   9/3/2017 Osvaldo Decena                 $12.50   74.50   $   8.44          $   215.63   $    215.63
  9/10/2017 Osvaldo Decena                 $12.50   72.82   $   8.44          $   205.10   $    205.10
  9/17/2017 Osvaldo Decena                 $12.50   76.45   $   8.44          $   227.81   $    227.81
  9/24/2017 Osvaldo Decena                 $12.50   76.50   $   8.44          $   228.13   $    228.13
  10/1/2017 Osvaldo Decena                 $12.50   76.22   $   8.44          $   226.35   $    226.35
  10/8/2017 Osvaldo Decena                 $12.50   75.75   $   8.44          $   223.44   $    223.44
 10/15/2017 Osvaldo Decena                 $12.50   75.28   $   8.44          $   220.52   $    220.52
 10/22/2017 Osvaldo Decena                 $12.50   75.58   $   8.44          $   222.40   $    222.40
 10/29/2017 Osvaldo Decena                 $12.50   74.60   $   8.44          $   216.25   $    216.25
  11/5/2017 Osvaldo Decena                 $12.50   76.03   $   8.44          $   225.21   $    225.21
 11/12/2017 Osvaldo Decena                 $12.50   77.40   $   8.44          $   233.75   $    233.75
 11/19/2017 Osvaldo Decena                 $12.50   76.45   $   8.44          $   227.81   $    227.81
 11/26/2017 Osvaldo Decena                 $12.50   59.43   $   8.44          $   121.46   $    121.46
  12/3/2017 Osvaldo Decena                 $12.50   74.90   $   8.44          $   218.13   $    218.13
 12/10/2017 Osvaldo Decena                 $12.50   75.97   $   8.44          $   224.79   $    224.79
 12/17/2017 Osvaldo Decena                 $12.50   75.80   $   8.44          $   223.75   $    223.75
 12/24/2017 Osvaldo Decena                 $12.50   69.93   $   8.44          $   187.08   $    187.08
 12/31/2017 Osvaldo Decena                 $12.50   62.97   $   8.44          $   143.54   $    143.54
   1/7/2018 Osvaldo Decena                 $12.50   57.52   $   8.60          $   109.48   $    109.48
   2/4/2018 Osvaldo Decena                 $12.50   75.42   $   8.60          $   221.35   $    221.35
  2/11/2018 Osvaldo Decena                 $12.50   69.80   $   8.60          $   186.25   $    186.25
  2/18/2018 Osvaldo Decena                 $12.50   67.02   $   8.60          $   168.85   $    168.85
  2/25/2018 Osvaldo Decena                 $12.50   68.32   $   8.60          $   176.98   $    176.98
   3/4/2018 Osvaldo Decena                 $12.50   66.32   $   8.60          $   164.48   $    164.48
  3/25/2018 Osvaldo Decena                 $12.50   60.60   $   8.60          $   128.75   $    128.75
   4/1/2018 Osvaldo Decena                 $12.50   67.98   $   8.60          $   174.90   $    174.90
   4/8/2018 Osvaldo Decena                 $12.50   68.42   $   8.60          $   177.60   $    177.60
  4/15/2018 Osvaldo Decena                 $12.50   66.83   $   8.60          $   167.71   $    167.71
  4/22/2018 Osvaldo Decena                 $12.50   44.95   $   8.60          $    30.94   $     30.94
  4/29/2018 Osvaldo Decena                 $12.50   68.05   $   8.60          $   175.31   $    175.31
   5/6/2018 Osvaldo Decena                 $12.50   78.03   $   8.60          $   237.71   $    237.71
  5/13/2018 Osvaldo Decena                 $12.50   78.70   $   8.60          $   241.88   $    241.88
  5/27/2018 Osvaldo Decena                 $13.00   76.70   $   8.60          $   238.55   $    238.55
  6/10/2018 Osvaldo Decena                 $13.00   45.45   $   8.60          $    35.43   $     35.43
  6/17/2018 Osvaldo Decena                 $13.00   68.87   $   8.60          $   187.63   $    187.63
  6/24/2018 Osvaldo Decena                 $13.00   75.62   $   8.60          $   231.51   $    231.51
   7/1/2018 Osvaldo Decena                 $13.00   68.55   $   8.60          $   185.58   $    185.58
   7/8/2018 Osvaldo Decena                 $13.00   67.73   $   8.60          $   180.27   $    180.27
  7/15/2018 Osvaldo Decena                 $13.00   67.48   $   8.60          $   178.64   $    178.64
  7/22/2018 Osvaldo Decena                 $13.00   67.18   $   8.60          $   176.69   $    176.69
  7/29/2018 Osvaldo Decena                 $13.00   66.13   $   8.60          $   169.87   $    169.87
   8/5/2018 Osvaldo Decena                 $13.00   65.52   $   8.60          $   165.86   $    165.86
  8/12/2018 Osvaldo Decena                 $13.00   69.75   $   8.60          $   193.38   $    193.38
  8/19/2018 Osvaldo Decena                 $13.00   49.40   $   8.60          $    61.10   $     61.10
  8/26/2018 Osvaldo Decena                 $13.00   48.75   $   8.60          $    56.88   $     56.88
   9/2/2018 Osvaldo Decena                 $13.00   76.28   $   8.60          $   235.84   $    235.84
   9/9/2018 Osvaldo Decena                 $13.00   73.03   $   8.60          $   214.72   $    214.72
  9/16/2018 Osvaldo Decena                 $13.00   75.88   $   8.60          $   233.24   $    233.24



                                             531
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 533 of 683 PageID: 1380
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

  9/23/2018 Osvaldo Decena                 $13.00   77.28   $    8.60         $   242.34   $    242.34
  9/30/2018 Osvaldo Decena                 $13.00   77.90   $    8.60         $   246.35   $    246.35
  10/7/2018 Osvaldo Decena                 $13.00   76.45   $    8.60         $   236.93   $    236.93
 10/14/2018 Osvaldo Decena                 $13.00   73.50   $    8.60         $   217.75   $    217.75
 10/21/2018 Osvaldo Decena                 $13.00   77.07   $    8.60         $   240.93   $    240.93
 10/28/2018 Osvaldo Decena                 $13.00   76.55   $    8.60         $   237.58   $    237.58
  11/4/2018 Osvaldo Decena                 $13.00   75.07   $    8.60         $   227.93   $    227.93
 11/11/2018 Osvaldo Decena                 $13.00   75.63   $    8.60         $   231.62   $    231.62
 11/18/2018 Osvaldo Decena                 $13.00   76.05   $    8.60         $   234.33   $    234.33
 11/25/2018 Osvaldo Decena                 $13.00   65.02   $    8.60         $   162.61   $    162.61
  12/2/2018 Osvaldo Decena                 $13.00   82.00   $    8.60         $   273.00   $    273.00
  12/9/2018 Osvaldo Decena                 $13.00   62.78   $    8.60         $   148.09   $    148.09
 12/16/2018 Osvaldo Decena                 $13.00   76.82   $    8.60         $   239.31   $    239.31
 12/23/2018 Osvaldo Decena                 $13.00   78.82   $    8.60         $   252.31   $    252.31
 12/30/2018 Osvaldo Decena                 $13.00   64.82   $    8.60         $   161.31   $    161.31
   1/6/2019 Osvaldo Decena                 $13.00   71.07   $    8.85         $   201.93   $    201.93
  1/13/2019 Osvaldo Decena                 $13.00   62.13   $    8.85         $   143.87   $    143.87
   2/3/2019 Osvaldo Decena                 $13.00   75.57   $    8.85         $   231.18   $    231.18
  2/10/2019 Osvaldo Decena                 $13.00   75.73   $    8.85         $   232.27   $    232.27
  2/17/2019 Osvaldo Decena                 $13.00   60.98   $    8.85         $   136.39   $    136.39
  2/24/2019 Osvaldo Decena                 $13.00   73.32   $    8.85         $   216.56   $    216.56
   3/3/2019 Osvaldo Decena                 $13.00   51.83   $    8.85         $    76.92   $     76.92
  3/10/2019 Osvaldo Decena                 $13.00   78.55   $    8.85         $   250.58   $    250.58
  3/17/2019 Osvaldo Decena                 $13.00   74.78   $    8.85         $   226.09   $    226.09
  3/24/2019 Osvaldo Decena                 $13.00   79.25   $    8.85         $   255.13   $    255.13
  3/31/2019 Osvaldo Decena                 $13.00   76.20   $    8.85         $   235.30   $    235.30
   4/7/2019 Osvaldo Decena                 $13.00   80.28   $    8.85         $   261.84   $    261.84
  4/14/2019 Osvaldo Decena                 $13.00   76.18   $    8.85         $   235.19   $    235.19
  4/21/2019 Osvaldo Decena                 $13.00   60.38   $    8.85         $   132.49   $    132.49
  4/28/2019 Osvaldo Decena                 $13.00   74.98   $    8.85         $   227.39   $    227.39
   5/5/2019 Osvaldo Decena                 $13.00   74.22   $    8.85         $   222.41   $    222.41
  5/12/2019 Osvaldo Decena                 $13.00   72.92   $    8.85         $   213.96   $    213.96
  5/19/2019 Osvaldo Decena                 $13.00   70.52   $    8.85         $   198.36   $    198.36
  5/26/2019 Osvaldo Decena                 $13.00   73.05   $    8.85         $   214.83   $    214.83
   6/2/2019 Osvaldo Decena                 $13.00   66.97   $    8.85         $   175.28   $    175.28
   6/9/2019 Osvaldo Decena                 $13.00   70.33   $    8.85         $   197.17   $    197.17
  6/16/2019 Osvaldo Decena                 $13.00   74.45   $    8.85         $   223.93   $    223.93
  6/23/2019 Osvaldo Decena                 $13.00   63.10   $    8.85         $   150.15   $    150.15
  6/30/2019 Osvaldo Decena                 $13.00   76.38   $   10.00         $   236.49   $    236.49
   7/7/2019 Osvaldo Decena                 $13.00   70.58   $   10.00         $   198.79   $    198.79
  7/14/2019 Osvaldo Decena                 $13.00   76.97   $   10.00         $   240.28   $    240.28
  7/21/2019 Osvaldo Decena                 $13.00   62.85   $   10.00         $   148.53   $    148.53
  7/28/2019 Osvaldo Decena                 $13.00   73.25   $   10.00         $   216.13   $    216.13
   8/4/2019 Osvaldo Decena                 $13.00   73.92   $   10.00         $   220.46   $    220.46
  8/11/2019 Osvaldo Decena                 $13.00   70.68   $   10.00         $   199.44   $    199.44
  8/18/2019 Osvaldo Decena                 $13.00   70.68   $   10.00         $   199.44   $    199.44
  8/25/2019 Osvaldo Decena                 $13.00   74.27   $   10.00         $   222.73   $    222.73
   9/1/2019 Osvaldo Decena                 $13.00   78.68   $   10.00         $   251.44   $    251.44
   9/8/2019 Osvaldo Decena                 $13.00   81.55   $   10.00         $   270.08   $    270.08
  9/15/2019 Osvaldo Decena                 $13.00   79.28   $   10.00         $   255.34   $    255.34



                                             532
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 534 of 683 PageID: 1381
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  9/22/2019 Osvaldo Decena                    $13.00   74.48   $   10.00         $   224.14   $    224.14
  9/29/2019 Osvaldo Decena                    $13.00   82.50   $   10.00         $   276.25   $    276.25
  10/6/2019 Osvaldo Decena                    $13.00   83.40   $   10.00         $   282.10   $    282.10
 10/13/2019 Osvaldo Decena                    $13.00   80.60   $   10.00         $   263.90   $    263.90
 10/20/2019 Osvaldo Decena                    $13.00   82.27   $   10.00         $   274.73   $    274.73
 10/27/2019 Osvaldo Decena                    $13.00   82.83   $   10.00         $   278.42   $    278.42
  11/3/2019 Osvaldo Decena                    $13.00   81.92   $   10.00         $   272.46   $    272.46
 11/10/2019 Osvaldo Decena                    $13.00   83.05   $   10.00         $   279.83   $    279.83
 11/17/2019 Osvaldo Decena                    $13.00   84.43   $   10.00         $   288.82   $    288.82
 11/24/2019 Osvaldo Decena                    $13.00   74.87   $   10.00         $   226.63   $    226.63
  12/1/2019 Osvaldo Decena                    $13.00   63.28   $   10.00         $   151.34   $    151.34
  12/8/2019 Osvaldo Decena                    $13.00   66.60   $   10.00         $   172.90   $    172.90
 12/15/2019 Osvaldo Decena                    $13.00   62.98   $   10.00         $   149.39   $    149.39
 12/22/2019 Osvaldo Decena                    $13.00   72.52   $   10.00         $   211.36   $    211.36
 12/29/2019 Osvaldo Decena                    $13.00   65.25   $   10.00         $   164.13   $    164.13
   1/5/2020 Osvaldo Decena                    $13.00   80.40   $   11.00         $   262.60   $    262.60
  1/12/2020 Osvaldo Decena                    $13.00   72.95   $   11.00         $   214.18   $    214.18
  1/19/2020 Osvaldo Decena                    $13.00   77.27   $   11.00         $   242.23   $    242.23
  1/26/2020 Osvaldo Decena                    $13.00   77.23   $   11.00         $   242.02   $    242.02
 10/14/2018 Osvaldo Valverdez                  $9.50   56.63   $    8.60         $    79.01   $     79.01
 10/21/2018 Osvaldo Valverdez                  $9.50   56.75   $    8.60         $    79.56   $     79.56
 10/28/2018 Osvaldo Valverdez                  $9.50   56.48   $    8.60         $    78.30   $     78.30
  11/4/2018 Osvaldo Valverdez                  $9.50   56.43   $    8.60         $    78.06   $     78.06
 11/11/2018 Osvaldo Valverdez                  $9.50   64.13   $    8.60         $   114.63   $    114.63
 11/18/2018 Osvaldo Valverdez                  $9.50   56.77   $    8.60         $    79.64   $     79.64
 11/25/2018 Osvaldo Valverdez                  $9.50   46.72   $    8.60         $    31.90   $     31.90
  12/2/2018 Osvaldo Valverdez                  $9.50   56.42   $    8.60         $    77.98   $     77.98
  12/9/2018 Osvaldo Valverdez                  $9.50   56.37   $    8.60         $    77.74   $     77.74
 12/16/2018 Osvaldo Valverdez                  $9.50   56.87   $    8.60         $    80.12   $     80.12
 12/23/2018 Osvaldo Valverdez                  $9.50   56.53   $    8.60         $    78.53   $     78.53
   1/6/2019 Osvaldo Valverdez                  $9.50   47.97   $    8.85         $    37.84   $     37.84
  1/13/2019 Osvaldo Valverdez                  $9.50   59.47   $    8.85         $    92.47   $     92.47
  1/20/2019 Osvaldo Valverdez                  $9.50   58.02   $    8.85         $    85.58   $     85.58
  1/27/2019 Osvaldo Valverdez                  $9.50   57.03   $    8.85         $    80.91   $     80.91
   2/3/2019 Osvaldo Valverdez                  $9.50   58.87   $    8.85         $    89.62   $     89.62
  2/10/2019 Osvaldo Valverdez                  $9.50   58.05   $    8.85         $    85.74   $     85.74
  2/17/2019 Osvaldo Valverdez                  $9.50   57.68   $    8.85         $    84.00   $     84.00
  2/24/2019 Osvaldo Valverdez                  $9.50   57.48   $    8.85         $    83.05   $     83.05
   3/3/2019 Osvaldo Valverdez                  $9.50   58.65   $    8.85         $    88.59   $     88.59
  3/10/2019 Osvaldo Valverdez                  $9.50   57.72   $    8.85         $    84.15   $     84.15
  3/17/2019 Osvaldo Valverdez                  $9.50   58.62   $    8.85         $    88.43   $     88.43
  3/24/2019 Osvaldo Valverdez                  $9.50   58.83   $    8.85         $    89.46   $     89.46
  3/31/2019 Osvaldo Valverdez                  $9.50   58.65   $    8.85         $    88.59   $     88.59
   4/7/2019 Osvaldo Valverdez                  $9.50   58.52   $    8.85         $    87.95   $     87.95
  4/14/2019 Osvaldo Valverdez                  $9.50   58.53   $    8.85         $    88.03   $     88.03
  4/21/2019 Osvaldo Valverdez                  $9.50   59.00   $    8.85         $    90.25   $     90.25
  4/28/2019 Osvaldo Valverdez                  $9.50   58.27   $    8.85         $    86.77   $     86.77
   5/5/2019 Osvaldo Valverdez                  $9.50   58.60   $    8.85         $    88.35   $     88.35
  5/12/2019 Osvaldo Valverdez                  $9.50   58.33   $    8.85         $    87.08   $     87.08
  5/19/2019 Osvaldo Valverdez                  $9.50   56.63   $    8.85         $    79.01   $     79.01



                                                533
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 535 of 683 PageID: 1382
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  5/26/2019 Osvaldo Valverdez                  $9.50   58.38   $    8.85               $    87.32   $    87.32
   6/2/2019 Osvaldo Valverdez                  $9.50   48.60   $    8.85               $    40.85   $    40.85
   6/9/2019 Osvaldo Valverdez                  $9.50   56.90   $    8.85               $    80.28   $    80.28
  6/16/2019 Osvaldo Valverdez                  $9.50   55.62   $    8.85               $    74.18   $    74.18
  6/23/2019 Osvaldo Valverdez                  $9.50   57.57   $    8.85               $    83.44   $    83.44
  6/30/2019 Osvaldo Valverdez                  $9.50   56.18   $   10.00   $   28.09   $    80.92   $   109.01
  7/14/2019 Osvaldo Valverdez                 $11.00   57.97   $   10.00               $    98.82   $    98.82
  7/21/2019 Osvaldo Valverdez                 $11.00   58.22   $   10.00               $   100.19   $   100.19
  7/28/2019 Osvaldo Valverdez                 $11.00   57.12   $   10.00               $    94.14   $    94.14
   8/4/2019 Osvaldo Valverdez                 $11.00   58.10   $   10.00               $    99.55   $    99.55
  8/11/2019 Osvaldo Valverdez                 $11.00   57.65   $   10.00               $    97.08   $    97.08
  8/18/2019 Osvaldo Valverdez                 $11.00   58.15   $   10.00               $    99.83   $    99.83
  8/25/2019 Osvaldo Valverdez                 $11.00   58.32   $   10.00               $   100.74   $   100.74
   9/1/2019 Osvaldo Valverdez                 $11.00   58.77   $   10.00               $   103.22   $   103.22
   9/8/2019 Osvaldo Valverdez                 $11.00   48.50   $   10.00               $    46.75   $    46.75
  9/15/2019 Osvaldo Valverdez                 $11.00   57.88   $   10.00               $    98.36   $    98.36
  9/22/2019 Osvaldo Valverdez                 $11.00   57.40   $   10.00               $    95.70   $    95.70
  9/29/2019 Osvaldo Valverdez                 $11.00   58.42   $   10.00               $   101.29   $   101.29
 10/20/2019 Osvaldo Valverdez                 $11.00   57.72   $   10.00               $    97.44   $    97.44
 10/27/2019 Osvaldo Valverdez                 $11.00   57.62   $   10.00               $    96.89   $    96.89
  11/3/2019 Osvaldo Valverdez                 $11.00   57.48   $   10.00               $    96.16   $    96.16
 11/10/2019 Osvaldo Valverdez                 $11.00   56.78   $   10.00               $    92.31   $    92.31
 11/17/2019 Osvaldo Valverdez                 $11.00   57.20   $   10.00               $    94.60   $    94.60
 11/24/2019 Osvaldo Valverdez                 $11.00   49.68   $   10.00               $    53.26   $    53.26
  12/1/2019 Osvaldo Valverdez                 $11.00   46.75   $   10.00               $    37.13   $    37.13
  12/8/2019 Osvaldo Valverdez                 $11.00   56.88   $   10.00               $    92.86   $    92.86
 12/15/2019 Osvaldo Valverdez                 $11.00   58.65   $   10.00               $   102.58   $   102.58
 12/22/2019 Osvaldo Valverdez                 $11.00   58.28   $   10.00               $   100.56   $   100.56
   1/5/2020 Osvaldo Valverdez                 $11.00   45.60   $   11.00               $    30.80   $    30.80
  1/12/2020 Osvaldo Valverdez                 $11.00   57.35   $   11.00               $    95.43   $    95.43
  1/19/2020 Osvaldo Valverdez                 $11.00   57.37   $   11.00               $    95.52   $    95.52
  1/26/2020 Osvaldo Valverdez                 $11.00   57.63   $   11.00               $    96.98   $    96.98
  4/23/2017 Oswaldo Decena                     $9.00   44.93   $    8.44               $    22.20   $    22.20
   6/4/2017 Oswaldo Decena                     $9.00   61.23   $    8.44               $    95.55   $    95.55
  6/11/2017 Oswaldo Decena                     $9.00   55.43   $    8.44               $    69.45   $    69.45
  6/18/2017 Oswaldo Decena                     $9.00   55.83   $    8.44               $    71.25   $    71.25
  6/25/2017 Oswaldo Decena                     $9.00   65.28   $    8.44               $   113.78   $   113.78
   7/2/2017 Oswaldo Decena                     $9.00   62.08   $    8.44               $    99.38   $    99.38
   7/9/2017 Oswaldo Decena                     $9.00   53.30   $    8.44               $    59.85   $    59.85
  7/16/2017 Oswaldo Decena                     $9.00   54.93   $    8.44               $    67.20   $    67.20
  7/23/2017 Oswaldo Decena                     $9.00   45.12   $    8.44               $    23.03   $    23.03
  7/30/2017 Oswaldo Decena                     $9.00   63.27   $    8.44               $   104.70   $   104.70
   8/6/2017 Oswaldo Decena                     $9.00   47.63   $    8.44               $    34.35   $    34.35
  8/13/2017 Oswaldo Decena                     $9.00   44.38   $    8.44               $    19.73   $    19.73
  8/20/2017 Oswaldo Decena                     $9.00   55.07   $    8.44               $    67.80   $    67.80
  8/27/2017 Oswaldo Decena                     $9.00   56.23   $    8.44               $    73.05   $    73.05
   9/3/2017 Oswaldo Decena                     $9.00   46.47   $    8.44               $    29.10   $    29.10
  9/17/2017 Oswaldo Decena                     $9.00   45.95   $    8.44               $    26.78   $    26.78
  9/24/2017 Oswaldo Decena                     $9.00   50.58   $    8.44               $    47.63   $    47.63
  10/1/2017 Oswaldo Decena                     $9.00   67.43   $    8.44               $   123.45   $   123.45



                                                534
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 536 of 683 PageID: 1383
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

  10/8/2017 Oswaldo Decena                  $9.00   68.68   $   8.44          $   129.08   $    129.08
 10/15/2017 Oswaldo Decena                  $9.00   52.53   $   8.44          $    56.40   $     56.40
 10/22/2017 Oswaldo Decena                  $9.00   51.43   $   8.44          $    51.45   $     51.45
 10/29/2017 Oswaldo Decena                  $9.00   50.85   $   8.44          $    48.83   $     48.83
  11/5/2017 Oswaldo Decena                  $9.00   52.38   $   8.44          $    55.73   $     55.73
 11/12/2017 Oswaldo Decena                  $9.00   53.82   $   8.44          $    62.18   $     62.18
 11/19/2017 Oswaldo Decena                  $9.00   46.15   $   8.44          $    27.68   $     27.68
  12/3/2017 Oswaldo Decena                  $9.00   57.18   $   8.44          $    77.33   $     77.33
 12/10/2017 Oswaldo Decena                  $9.00   51.33   $   8.44          $    51.00   $     51.00
 12/17/2017 Oswaldo Decena                  $9.00   57.10   $   8.44          $    76.95   $     76.95
 12/31/2017 Oswaldo Decena                  $9.00   44.10   $   8.44          $    18.45   $     18.45
  1/14/2018 Oswaldo Decena                  $9.00   47.40   $   8.60          $    33.30   $     33.30
  1/28/2018 Oswaldo Decena                  $9.00   45.63   $   8.60          $    25.35   $     25.35
   3/4/2018 Oswaldo Decena                  $9.00   49.72   $   8.60          $    43.73   $     43.73
  3/25/2018 Oswaldo Decena                  $9.00   46.97   $   8.60          $    31.35   $     31.35
   4/1/2018 Oswaldo Decena                  $9.00   57.93   $   8.60          $    80.70   $     80.70
  4/15/2018 Oswaldo Decena                  $9.00   58.00   $   8.60          $    81.00   $     81.00
  4/22/2018 Oswaldo Decena                  $9.00   49.33   $   8.60          $    42.00   $     42.00
  4/29/2018 Oswaldo Decena                  $9.00   61.75   $   8.60          $    97.88   $     97.88
   5/6/2018 Oswaldo Decena                  $9.00   59.25   $   8.60          $    86.63   $     86.63
  5/27/2018 Oswaldo Decena                  $9.00   62.62   $   8.60          $   101.78   $    101.78
  6/10/2018 Oswaldo Decena                  $9.00   48.55   $   8.60          $    38.48   $     38.48
  6/17/2018 Oswaldo Decena                  $9.00   51.07   $   8.60          $    49.80   $     49.80
  6/24/2018 Oswaldo Decena                  $9.00   61.52   $   8.60          $    96.83   $     96.83
  7/22/2018 Oswaldo Decena                  $9.00   40.18   $   8.60          $     0.82   $      0.82
  7/29/2018 Oswaldo Decena                  $9.00   54.23   $   8.60          $    64.05   $     64.05
   8/5/2018 Oswaldo Decena                 $11.00   65.02   $   8.60          $   137.59   $    137.59
  8/12/2018 Oswaldo Decena                 $11.00   67.85   $   8.60          $   153.18   $    153.18
  8/19/2018 Oswaldo Decena                 $11.00   62.38   $   8.60          $   123.11   $    123.11
  8/26/2018 Oswaldo Decena                 $11.00   59.70   $   8.60          $   108.35   $    108.35
   9/2/2018 Oswaldo Decena                 $11.00   65.22   $   8.60          $   138.69   $    138.69
   9/9/2018 Oswaldo Decena                 $11.00   47.12   $   8.60          $    39.14   $     39.14
  9/16/2018 Oswaldo Decena                 $11.00   60.30   $   8.60          $   111.65   $    111.65
  9/23/2018 Oswaldo Decena                 $11.00   59.25   $   8.60          $   105.88   $    105.88
  9/30/2018 Oswaldo Decena                 $11.00   59.73   $   8.60          $   108.53   $    108.53
  10/7/2018 Oswaldo Decena                 $11.00   53.58   $   8.60          $    74.71   $     74.71
 10/14/2018 Oswaldo Decena                 $11.00   59.70   $   8.60          $   108.35   $    108.35
 10/21/2018 Oswaldo Decena                 $11.00   59.32   $   8.60          $   106.24   $    106.24
 10/28/2018 Oswaldo Decena                 $11.00   58.07   $   8.60          $    99.37   $     99.37
  11/4/2018 Oswaldo Decena                 $11.00   56.97   $   8.60          $    93.32   $     93.32
 11/11/2018 Oswaldo Decena                 $11.00   59.95   $   8.60          $   109.73   $    109.73
 11/18/2018 Oswaldo Decena                 $11.00   59.47   $   8.60          $   107.07   $    107.07
 11/25/2018 Oswaldo Decena                 $11.00   43.73   $   8.60          $    20.53   $     20.53
  12/2/2018 Oswaldo Decena                 $11.00   59.58   $   8.60          $   107.71   $    107.71
  12/9/2018 Oswaldo Decena                 $11.00   53.18   $   8.60          $    72.51   $     72.51
 12/16/2018 Oswaldo Decena                 $11.00   59.67   $   8.60          $   108.17   $    108.17
 12/23/2018 Oswaldo Decena                 $11.00   49.07   $   8.60          $    49.87   $     49.87
 12/30/2018 Oswaldo Decena                 $11.00   46.38   $   8.60          $    35.11   $     35.11
   1/6/2019 Oswaldo Decena                 $11.00   48.87   $   8.85          $    48.77   $     48.77
  1/13/2019 Oswaldo Decena                 $11.00   59.95   $   8.85          $   109.73   $    109.73



                                             535
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 537 of 683 PageID: 1384
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

   2/3/2019 Oswaldo Decena                    $11.00   58.87   $    8.85         $   103.77   $    103.77
  2/10/2019 Oswaldo Decena                    $11.00   59.72   $    8.85         $   108.44   $    108.44
  2/24/2019 Oswaldo Decena                    $11.00   59.70   $    8.85         $   108.35   $    108.35
   3/3/2019 Oswaldo Decena                    $11.00   59.37   $    8.85         $   106.52   $    106.52
  3/10/2019 Oswaldo Decena                    $11.00   49.20   $    8.85         $    50.60   $     50.60
  3/17/2019 Oswaldo Decena                    $11.00   49.57   $    8.85         $    52.62   $     52.62
  3/24/2019 Oswaldo Decena                    $11.00   49.18   $    8.85         $    50.51   $     50.51
  3/31/2019 Oswaldo Decena                    $11.00   55.47   $    8.85         $    85.07   $     85.07
   4/7/2019 Oswaldo Decena                    $11.00   52.70   $    8.85         $    69.85   $     69.85
  4/14/2019 Oswaldo Decena                    $11.00   59.03   $    8.85         $   104.68   $    104.68
  4/21/2019 Oswaldo Decena                    $11.00   49.73   $    8.85         $    53.53   $     53.53
  4/28/2019 Oswaldo Decena                    $11.00   59.52   $    8.85         $   107.34   $    107.34
   5/5/2019 Oswaldo Decena                    $11.00   57.88   $    8.85         $    98.36   $     98.36
  5/12/2019 Oswaldo Decena                    $11.00   58.43   $    8.85         $   101.38   $    101.38
  5/19/2019 Oswaldo Decena                    $11.00   54.47   $    8.85         $    79.57   $     79.57
  5/26/2019 Oswaldo Decena                    $11.00   57.92   $    8.85         $    98.54   $     98.54
  7/28/2019 Otis Josue Castro                 $13.00   63.98   $   10.00         $   155.89   $    155.89
   8/4/2019 Otis Josue Castro                 $13.00   50.77   $   10.00         $    69.98   $     69.98
  8/11/2019 Otis Josue Castro                 $13.00   64.05   $   10.00         $   156.33   $    156.33
  8/18/2019 Otis Josue Castro                 $13.00   62.77   $   10.00         $   147.98   $    147.98
  8/25/2019 Otis Josue Castro                 $13.00   62.28   $   10.00         $   144.84   $    144.84
   9/1/2019 Otis Josue Castro                 $13.00   64.17   $   10.00         $   157.08   $    157.08
   9/8/2019 Otis Josue Castro                 $13.00   55.18   $   10.00         $    98.69   $     98.69
  9/15/2019 Otis Josue Castro                 $13.00   64.75   $   10.00         $   160.88   $    160.88
  9/22/2019 Otis Josue Castro                 $13.00   62.40   $   10.00         $   145.60   $    145.60
  9/29/2019 Otis Josue Castro                 $13.00   50.22   $   10.00         $    66.41   $     66.41
  10/6/2019 Otis Josue Castro                 $13.00   61.50   $   10.00         $   139.75   $    139.75
 10/13/2019 Otis Josue Castro                 $13.00   62.07   $   10.00         $   143.43   $    143.43
 10/20/2019 Otis Josue Castro                 $13.00   57.28   $   10.00         $   112.34   $    112.34
 10/27/2019 Otis Josue Castro                 $13.00   55.65   $   10.00         $   101.73   $    101.73
 11/10/2019 Otis Josue Castro                 $13.00   55.18   $   10.00         $    98.69   $     98.69
 11/17/2019 Otis Josue Castro                 $13.00   56.38   $   10.00         $   106.49   $    106.49
 11/24/2019 Otis Josue Castro                 $13.00   59.37   $   10.00         $   125.88   $    125.88
  12/1/2019 Otis Josue Castro                 $13.00   43.83   $   10.00         $    24.92   $     24.92
  12/8/2019 Otis Josue Castro                 $13.00   54.90   $   10.00         $    96.85   $     96.85
 12/15/2019 Otis Josue Castro                 $13.00   63.60   $   10.00         $   153.40   $    153.40
 12/22/2019 Otis Josue Castro                 $13.00   60.67   $   10.00         $   134.33   $    134.33
 12/29/2019 Otis Josue Castro                 $13.00   40.07   $   10.00         $     0.43   $      0.43
   1/5/2020 Otis Josue Castro                 $13.00   46.48   $   11.00         $    42.14   $     42.14
  1/12/2020 Otis Josue Castro                 $13.00   61.55   $   11.00         $   140.08   $    140.08
  1/19/2020 Otis Josue Castro                 $13.00   62.07   $   11.00         $   143.43   $    143.43
  1/26/2020 Otis Josue Castro                 $13.00   61.97   $   11.00         $   142.78   $    142.78
  1/14/2018 Otto Crispin                       $9.00   45.80   $    8.60         $    26.10   $     26.10
  1/21/2018 Otto Crispin                       $9.00   48.37   $    8.60         $    37.65   $     37.65
  1/28/2018 Otto Crispin                       $9.00   50.38   $    8.60         $    46.73   $     46.73
   2/4/2018 Otto Crispin                       $9.00   51.23   $    8.60         $    50.55   $     50.55
  2/11/2018 Otto Crispin                       $9.00   45.23   $    8.60         $    23.55   $     23.55
  2/18/2018 Otto Crispin                       $9.00   49.37   $    8.60         $    42.15   $     42.15
  2/25/2018 Otto Crispin                       $9.00   50.03   $    8.60         $    45.15   $     45.15
   3/4/2018 Otto Crispin                       $9.00   58.15   $    8.60         $    81.68   $     81.68



                                                536
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 538 of 683 PageID: 1385
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

  4/15/2018 Otto Crispin                    $9.00   40.55   $    8.60               $     2.47   $     2.47
  4/29/2018 Otto Crispin                    $9.00   47.52   $    8.60               $    33.83   $    33.83
   5/6/2018 Otto Crispin                    $9.00   46.80   $    8.60               $    30.60   $    30.60
  5/13/2018 Otto Crispin                    $9.00   47.83   $    8.60               $    35.25   $    35.25
  5/20/2018 Otto Crispin                    $9.00   47.82   $    8.60               $    35.18   $    35.18
 12/23/2018 Pablo Capellan                 $10.00   53.72   $    8.60               $    68.58   $    68.58
 12/30/2018 Pablo Capellan                 $10.00   48.15   $    8.60               $    40.75   $    40.75
  1/13/2019 Pablo Capellan                 $10.00   57.10   $    8.85               $    85.50   $    85.50
  1/20/2019 Pablo Capellan                 $10.00   56.28   $    8.85               $    81.42   $    81.42
  1/27/2019 Pablo Capellan                 $10.00   57.17   $    8.85               $    85.83   $    85.83
   2/3/2019 Pablo Capellan                 $10.00   55.72   $    8.85               $    78.58   $    78.58
  2/10/2019 Pablo Capellan                 $10.00   56.55   $    8.85               $    82.75   $    82.75
  2/17/2019 Pablo Capellan                 $10.00   55.75   $    8.85               $    78.75   $    78.75
  2/24/2019 Pablo Capellan                 $10.00   54.72   $    8.85               $    73.58   $    73.58
   3/3/2019 Pablo Capellan                 $10.00   55.98   $    8.85               $    79.92   $    79.92
  3/10/2019 Pablo Capellan                 $10.00   56.35   $    8.85               $    81.75   $    81.75
  3/17/2019 Pablo Capellan                 $10.00   57.98   $    8.85               $    89.92   $    89.92
  3/24/2019 Pablo Capellan                 $10.00   57.75   $    8.85               $    88.75   $    88.75
  3/31/2019 Pablo Capellan                 $10.00   58.47   $    8.85               $    92.33   $    92.33
   4/7/2019 Pablo Capellan                 $10.00   58.63   $    8.85               $    93.17   $    93.17
  4/14/2019 Pablo Capellan                 $10.00   59.33   $    8.85               $    96.67   $    96.67
  4/21/2019 Pablo Capellan                 $10.00   59.05   $    8.85               $    95.25   $    95.25
  4/28/2019 Pablo Capellan                 $10.00   58.98   $    8.85               $    94.92   $    94.92
   5/5/2019 Pablo Capellan                 $10.00   58.78   $    8.85               $    93.92   $    93.92
  5/12/2019 Pablo Capellan                 $10.00   58.67   $    8.85               $    93.33   $    93.33
  5/19/2019 Pablo Capellan                 $10.00   58.80   $    8.85               $    94.00   $    94.00
  5/26/2019 Pablo Capellan                 $10.00   58.73   $    8.85               $    93.67   $    93.67
   6/2/2019 Pablo Capellan                 $10.00   48.85   $    8.85               $    44.25   $    44.25
   6/9/2019 Pablo Capellan                 $10.00   58.98   $    8.85               $    94.92   $    94.92
  6/16/2019 Pablo Capellan                 $10.00   58.33   $    8.85               $    91.67   $    91.67
  6/23/2019 Pablo Capellan                 $10.00   59.05   $    8.85               $    95.25   $    95.25
  6/30/2019 Pablo Capellan                 $10.00   59.02   $   10.00               $    95.08   $    95.08
   7/7/2019 Pablo Capellan                 $10.00   49.10   $   10.00               $    45.50   $    45.50
  7/14/2019 Pablo Capellan                 $10.00   59.22   $   10.00               $    96.08   $    96.08
  7/21/2019 Pablo Capellan                 $10.00   59.17   $   10.00               $    95.83   $    95.83
  7/28/2019 Pablo Capellan                 $10.00   58.88   $   10.00               $    94.42   $    94.42
   8/4/2019 Pablo Capellan                 $10.00   41.02   $   10.00               $     5.08   $     5.08
  8/11/2019 Pablo Capellan                 $10.00   58.88   $   10.00               $    94.42   $    94.42
  8/18/2019 Pablo Capellan                 $10.00   47.58   $   10.00               $    37.92   $    37.92
  8/25/2019 Pablo Capellan                 $10.00   51.07   $   10.00               $    55.33   $    55.33
   9/1/2019 Pablo Capellan                 $10.00   60.88   $   10.00               $   104.42   $   104.42
   9/8/2019 Pablo Capellan                 $10.00   48.55   $   10.00               $    42.75   $    42.75
  9/15/2019 Pablo Capellan                 $10.00   58.78   $   10.00               $    93.92   $    93.92
  9/22/2019 Pablo Capellan                 $10.00   58.65   $   10.00               $    93.25   $    93.25
  9/29/2019 Pablo Capellan                 $10.00   50.68   $   10.00               $    53.42   $    53.42
  10/6/2019 Pablo Capellan                 $10.00   58.70   $   10.00               $    93.50   $    93.50
 10/13/2019 Pablo Capellan                 $10.00   48.35   $   10.00               $    41.75   $    41.75
 10/20/2019 Pablo Capellan                 $10.00   58.63   $   10.00               $    93.17   $    93.17
  6/23/2019 Pablo Garcia                    $9.50   54.88   $    8.85               $    70.70   $    70.70
  6/30/2019 Pablo Garcia                    $9.50   55.47   $   10.00   $   27.73   $    77.33   $   105.07



                                             537
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 539 of 683 PageID: 1386
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

   7/7/2019 Pablo Garcia                   $9.50   44.18   $   10.00   $   22.09   $    20.92   $    43.01
  7/14/2019 Pablo Garcia                   $9.50   54.78   $   10.00   $   27.39   $    73.92   $   101.31
  7/21/2019 Pablo Garcia                   $9.50   54.05   $   10.00   $   27.03   $    70.25   $    97.28
  7/28/2019 Pablo Garcia                   $9.50   53.23   $   10.00   $   26.62   $    66.17   $    92.78
   8/4/2019 Pablo Garcia                   $9.50   55.62   $   10.00   $   27.81   $    78.08   $   105.89
  8/18/2019 Pablo Garcia                   $9.50   50.03   $   10.00   $   25.02   $    50.17   $    75.18
  8/25/2019 Pablo Garcia                   $9.50   50.80   $   10.00   $   25.40   $    54.00   $    79.40
   9/1/2019 Pablo Garcia                   $9.50   52.77   $   10.00   $   26.38   $    63.83   $    90.22
  9/15/2019 Pablo Garcia                   $9.50   41.53   $   10.00   $   20.77   $     7.67   $    28.43
 10/27/2019 Pablo Garcia                   $9.50   42.70   $   10.00   $   21.35   $    13.50   $    34.85
  12/1/2019 Pablo Garcia                   $9.50   44.70   $   10.00   $   22.35   $    23.50   $    45.85
 12/15/2019 Pablo Garcia                   $9.50   52.82   $   10.00   $   26.41   $    64.08   $    90.49
 12/22/2019 Pablo Garcia                   $9.50   51.97   $   10.00   $   25.98   $    59.83   $    85.82
 12/23/2018 Pablo Ordonez                 $10.00   68.88   $    8.60               $   144.42   $   144.42
 12/30/2018 Pablo Ordonez                 $10.00   45.33   $    8.60               $    26.67   $    26.67
   1/6/2019 Pablo Ordonez                 $10.00   56.35   $    8.85               $    81.75   $    81.75
  1/13/2019 Pablo Ordonez                 $10.00   68.82   $    8.85               $   144.08   $   144.08
  1/20/2019 Pablo Ordonez                 $10.00   68.78   $    8.85               $   143.92   $   143.92
  1/27/2019 Pablo Ordonez                 $10.00   57.92   $    8.85               $    89.58   $    89.58
   2/3/2019 Pablo Ordonez                 $10.00   60.37   $    8.85               $   101.83   $   101.83
  2/10/2019 Pablo Ordonez                 $10.00   67.65   $    8.85               $   138.25   $   138.25
  2/17/2019 Pablo Ordonez                 $10.00   55.58   $    8.85               $    77.92   $    77.92
  2/24/2019 Pablo Ordonez                 $10.00   63.58   $    8.85               $   117.92   $   117.92
   3/3/2019 Pablo Ordonez                 $10.00   67.02   $    8.85               $   135.08   $   135.08
  3/10/2019 Pablo Ordonez                 $10.00   67.45   $    8.85               $   137.25   $   137.25
  3/17/2019 Pablo Ordonez                 $10.00   61.77   $    8.85               $   108.83   $   108.83
  3/24/2019 Pablo Ordonez                 $10.00   57.35   $    8.85               $    86.75   $    86.75
  3/31/2019 Pablo Ordonez                 $10.00   56.28   $    8.85               $    81.42   $    81.42
   4/7/2019 Pablo Ordonez                 $10.00   57.30   $    8.85               $    86.50   $    86.50
  4/14/2019 Pablo Ordonez                 $10.00   57.53   $    8.85               $    87.67   $    87.67
  4/21/2019 Pablo Ordonez                 $10.00   56.90   $    8.85               $    84.50   $    84.50
  4/28/2019 Pablo Ordonez                 $10.00   57.53   $    8.85               $    87.67   $    87.67
   5/5/2019 Pablo Ordonez                 $10.00   56.32   $    8.85               $    81.58   $    81.58
  5/12/2019 Pablo Ordonez                 $10.00   57.72   $    8.85               $    88.58   $    88.58
  5/19/2019 Pablo Ordonez                 $10.00   49.30   $    8.85               $    46.50   $    46.50
  5/26/2019 Pablo Ordonez                 $10.00   52.23   $    8.85               $    61.17   $    61.17
   6/2/2019 Pablo Ordonez                 $10.00   47.43   $    8.85               $    37.17   $    37.17
   6/9/2019 Pablo Ordonez                 $10.00   57.20   $    8.85               $    86.00   $    86.00
  6/16/2019 Pablo Ordonez                 $10.00   56.43   $    8.85               $    82.17   $    82.17
  6/23/2019 Pablo Ordonez                 $10.00   56.58   $    8.85               $    82.92   $    82.92
  6/30/2019 Pablo Ordonez                 $10.00   49.62   $   10.00               $    48.08   $    48.08
 12/29/2019 Pablo Ordonez                 $10.00   51.77   $   10.00               $    58.83   $    58.83
   1/5/2020 Pablo Ordonez                 $12.00   61.37   $   11.00               $   128.20   $   128.20
  1/12/2020 Pablo Ordonez                 $12.00   61.73   $   11.00               $   130.40   $   130.40
  1/19/2020 Pablo Ordonez                 $12.00   59.60   $   11.00               $   117.60   $   117.60
  1/26/2020 Pablo Ordonez                 $12.00   66.78   $   11.00               $   160.70   $   160.70
  12/8/2019 Pablo Velez                   $10.00   71.97   $   10.00               $   159.83   $   159.83
 12/15/2019 Pablo Velez                   $10.00   76.80   $   10.00               $   184.00   $   184.00
 12/22/2019 Pablo Velez                   $10.00   72.63   $   10.00               $   163.17   $   163.17
 12/29/2019 Pablo Velez                   $10.00   48.62   $   10.00               $    43.08   $    43.08



                                            538
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 540 of 683 PageID: 1387
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  1/12/2020 Pablo Velez                     $10.00   72.98   $   11.00   $   72.98   $   181.41   $   254.39
  1/19/2020 Pablo Velez                     $10.00   75.95   $   11.00   $   75.95   $   197.73   $   273.68
  1/26/2020 Pablo Velez                     $10.00   62.28   $   11.00   $   62.28   $   122.56   $   184.84
  5/19/2019 Patricio Mejia                  $12.00   52.60   $    8.85               $    75.60   $    75.60
  5/26/2019 Patricio Mejia                  $12.00   61.38   $    8.85               $   128.30   $   128.30
   6/2/2019 Patricio Mejia                  $12.00   55.25   $    8.85               $    91.50   $    91.50
   6/9/2019 Patricio Mejia                  $12.00   48.78   $    8.85               $    52.70   $    52.70
  1/13/2019 Patrick Enright                 $16.50   48.83   $    8.85               $    72.88   $    72.88
  1/20/2019 Patrick Enright                 $16.50   47.35   $    8.85               $    60.64   $    60.64
  1/27/2019 Patrick Enright                 $16.50   41.47   $    8.85               $    12.10   $    12.10
   2/3/2019 Patrick Enright                 $16.50   52.38   $    8.85               $   102.16   $   102.16
  2/10/2019 Patrick Enright                 $16.50   47.90   $    8.85               $    65.18   $    65.18
  2/17/2019 Patrick Enright                 $16.50   50.47   $    8.85               $    86.35   $    86.35
  2/24/2019 Patrick Enright                 $16.50   50.53   $    8.85               $    86.90   $    86.90
   3/3/2019 Patrick Enright                 $16.50   49.80   $    8.85               $    80.85   $    80.85
  3/10/2019 Patrick Enright                 $16.50   49.33   $    8.85               $    77.00   $    77.00
  3/17/2019 Patrick Enright                 $16.50   40.77   $    8.85               $     6.33   $     6.33
  3/24/2019 Patrick Enright                 $16.50   49.13   $    8.85               $    75.35   $    75.35
  3/31/2019 Patrick Enright                 $16.50   48.70   $    8.85               $    71.78   $    71.78
   4/7/2019 Patrick Enright                 $16.50   48.33   $    8.85               $    68.75   $    68.75
  4/14/2019 Patrick Enright                 $16.50   48.57   $    8.85               $    70.68   $    70.68
  4/21/2019 Patrick Enright                 $16.50   47.77   $    8.85               $    64.08   $    64.08
  4/28/2019 Patrick Enright                 $16.50   44.92   $    8.85               $    40.56   $    40.56
   5/5/2019 Patrick Enright                 $16.50   46.73   $    8.85               $    55.55   $    55.55
  5/12/2019 Patrick Enright                 $16.50   44.07   $    8.85               $    33.55   $    33.55
  5/19/2019 Patrick Enright                 $16.50   44.22   $    8.85               $    34.79   $    34.79
  5/26/2019 Patrick Enright                 $16.50   47.42   $    8.85               $    61.19   $    61.19
   6/2/2019 Patrick Enright                 $16.50   40.83   $    8.85               $     6.88   $     6.88
   6/9/2019 Patrick Enright                 $16.50   50.22   $    8.85               $    84.29   $    84.29
  6/16/2019 Patrick Enright                 $16.50   50.83   $    8.85               $    89.38   $    89.38
  6/23/2019 Patrick Enright                 $16.50   50.30   $    8.85               $    84.98   $    84.98
  6/30/2019 Patrick Enright                 $16.50   54.55   $   10.00               $   120.04   $   120.04
  7/14/2019 Patrick Enright                 $16.50   46.20   $   10.00               $    51.15   $    51.15
  7/21/2019 Patrick Enright                 $16.50   46.35   $   10.00               $    52.39   $    52.39
  7/28/2019 Patrick Enright                 $16.50   44.17   $   10.00               $    34.38   $    34.38
   8/4/2019 Patrick Enright                 $16.50   46.35   $   10.00               $    52.39   $    52.39
  8/11/2019 Patrick Enright                 $16.50   46.58   $   10.00               $    54.31   $    54.31
  8/18/2019 Patrick Enright                 $16.50   46.23   $   10.00               $    51.42   $    51.42
  8/25/2019 Patrick Enright                 $16.50   45.42   $   10.00               $    44.69   $    44.69
   9/1/2019 Patrick Enright                 $16.50   46.52   $   10.00               $    53.76   $    53.76
   9/8/2019 Patrick Enright                 $16.50   41.78   $   10.00               $    14.71   $    14.71
  9/15/2019 Patrick Enright                 $16.50   55.38   $   10.00               $   126.91   $   126.91
  9/22/2019 Patrick Enright                 $16.50   40.30   $   10.00               $     2.47   $     2.47
  9/29/2019 Patrick Enright                 $16.50   46.13   $   10.00               $    50.60   $    50.60
  10/6/2019 Patrick Enright                 $16.50   46.10   $   10.00               $    50.33   $    50.33
 10/20/2019 Patrick Enright                 $16.50   43.78   $   10.00               $    31.21   $    31.21
 10/27/2019 Patrick Enright                 $16.50   45.90   $   10.00               $    48.68   $    48.68
  11/3/2019 Patrick Enright                 $16.50   46.38   $   10.00               $    52.66   $    52.66
 11/10/2019 Patrick Enright                 $16.50   46.12   $   10.00               $    50.46   $    50.46
 11/24/2019 Patrick Enright                 $16.50   46.17   $   10.00               $    50.88   $    50.88



                                              539
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 541 of 683 PageID: 1388
                                         Exhibit 2
                                 New Jersey Computations


   Week                                                 State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
  Ending                  Name                        Minumum Regular    Half-Time Overtime Back
                                         Rate Week
   Date                                                 Wage  Rate Due     Due       Wages Due

   2/5/2017 Paul Alanya                 $12.00   68.77   $   8.44          $   172.60   $    172.60
  2/12/2017 Paul Alanya                 $12.00   61.73   $   8.44          $   130.40   $    130.40
  2/19/2017 Paul Alanya                 $12.00   68.87   $   8.44          $   173.20   $    173.20
  2/26/2017 Paul Alanya                 $12.00   68.32   $   8.44          $   169.90   $    169.90
   3/5/2017 Paul Alanya                 $12.00   68.97   $   8.44          $   173.80   $    173.80
  3/12/2017 Paul Alanya                 $12.00   69.68   $   8.44          $   178.10   $    178.10
  3/19/2017 Paul Alanya                 $12.00   56.12   $   8.44          $    96.70   $     96.70
  3/26/2017 Paul Alanya                 $12.00   68.28   $   8.44          $   169.70   $    169.70
   4/2/2017 Paul Alanya                 $12.00   67.97   $   8.44          $   167.80   $    167.80
   4/9/2017 Paul Alanya                 $12.00   68.10   $   8.44          $   168.60   $    168.60
  4/16/2017 Paul Alanya                 $12.00   69.90   $   8.44          $   179.40   $    179.40
  4/23/2017 Paul Alanya                 $12.00   68.95   $   8.44          $   173.70   $    173.70
  4/30/2017 Paul Alanya                 $12.00   70.12   $   8.44          $   180.70   $    180.70
   5/7/2017 Paul Alanya                 $12.00   69.10   $   8.44          $   174.60   $    174.60
  5/14/2017 Paul Alanya                 $12.00   69.95   $   8.44          $   179.70   $    179.70
  5/21/2017 Paul Alanya                 $12.00   69.57   $   8.44          $   177.40   $    177.40
  5/28/2017 Paul Alanya                 $12.00   68.33   $   8.44          $   170.00   $    170.00
   6/4/2017 Paul Alanya                 $12.00   65.70   $   8.44          $   154.20   $    154.20
  6/11/2017 Paul Alanya                 $12.00   67.37   $   8.44          $   164.20   $    164.20
  6/18/2017 Paul Alanya                 $12.00   69.65   $   8.44          $   177.90   $    177.90
  6/25/2017 Paul Alanya                 $12.00   57.73   $   8.44          $   106.40   $    106.40
   7/2/2017 Paul Alanya                 $12.00   69.08   $   8.44          $   174.50   $    174.50
   7/9/2017 Paul Alanya                 $12.00   70.72   $   8.44          $   184.30   $    184.30
  7/16/2017 Paul Alanya                 $12.00   71.73   $   8.44          $   190.40   $    190.40
  7/23/2017 Paul Alanya                 $12.00   73.62   $   8.44          $   201.70   $    201.70
  7/30/2017 Paul Alanya                 $12.00   72.48   $   8.44          $   194.90   $    194.90
   8/6/2017 Paul Alanya                 $12.00   68.52   $   8.44          $   171.10   $    171.10
  8/13/2017 Paul Alanya                 $12.00   65.28   $   8.44          $   151.70   $    151.70
  8/20/2017 Paul Alanya                 $12.00   71.07   $   8.44          $   186.40   $    186.40
  8/27/2017 Paul Alanya                 $12.00   59.33   $   8.44          $   116.00   $    116.00
   9/3/2017 Paul Alanya                 $12.00   71.80   $   8.44          $   190.80   $    190.80
  9/10/2017 Paul Alanya                 $12.00   66.57   $   8.44          $   159.40   $    159.40
  9/17/2017 Paul Alanya                 $12.00   67.73   $   8.44          $   166.40   $    166.40
  9/24/2017 Paul Alanya                 $12.00   69.78   $   8.44          $   178.70   $    178.70
  10/1/2017 Paul Alanya                 $12.00   67.23   $   8.44          $   163.40   $    163.40
  10/8/2017 Paul Alanya                 $12.00   65.77   $   8.44          $   154.60   $    154.60
 10/15/2017 Paul Alanya                 $12.00   70.12   $   8.44          $   180.70   $    180.70
 10/22/2017 Paul Alanya                 $12.00   63.98   $   8.44          $   143.90   $    143.90
 10/29/2017 Paul Alanya                 $12.00   69.57   $   8.44          $   177.40   $    177.40
  11/5/2017 Paul Alanya                 $12.00   69.73   $   8.44          $   178.40   $    178.40
 11/12/2017 Paul Alanya                 $12.00   66.93   $   8.44          $   161.60   $    161.60
 11/19/2017 Paul Alanya                 $12.00   58.18   $   8.44          $   109.10   $    109.10
 11/26/2017 Paul Alanya                 $12.00   59.57   $   8.44          $   117.40   $    117.40
  12/3/2017 Paul Alanya                 $12.00   72.08   $   8.44          $   192.50   $    192.50
 12/10/2017 Paul Alanya                 $12.00   77.82   $   8.44          $   226.90   $    226.90
 12/17/2017 Paul Alanya                 $12.00   64.67   $   8.44          $   148.00   $    148.00
 12/24/2017 Paul Alanya                 $12.00   66.82   $   8.44          $   160.90   $    160.90
 12/31/2017 Paul Alanya                 $12.00   53.98   $   8.44          $    83.90   $     83.90
   1/7/2018 Paul Alanya                 $12.00   53.88   $   8.60          $    83.30   $     83.30
  1/14/2018 Paul Alanya                 $12.00   67.58   $   8.60          $   165.50   $    165.50



                                          540
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 542 of 683 PageID: 1389
                                         Exhibit 2
                                 New Jersey Computations


   Week                                                 State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
  Ending                  Name                        Minumum Regular    Half-Time Overtime Back
                                         Rate Week
   Date                                                 Wage  Rate Due     Due       Wages Due

  1/28/2018 Paul Alanya                 $12.00   67.93   $   8.60          $   167.60   $    167.60
   2/4/2018 Paul Alanya                 $12.00   64.20   $   8.60          $   145.20   $    145.20
  2/11/2018 Paul Alanya                 $12.00   62.58   $   8.60          $   135.50   $    135.50
  2/18/2018 Paul Alanya                 $12.00   63.72   $   8.60          $   142.30   $    142.30
  2/25/2018 Paul Alanya                 $12.00   65.43   $   8.60          $   152.60   $    152.60
   3/4/2018 Paul Alanya                 $12.00   74.37   $   8.60          $   206.20   $    206.20
  3/25/2018 Paul Alanya                 $12.00   65.13   $   8.60          $   150.80   $    150.80
   4/1/2018 Paul Alanya                 $12.00   73.58   $   8.60          $   201.50   $    201.50
   4/8/2018 Paul Alanya                 $12.00   67.23   $   8.60          $   163.40   $    163.40
  4/15/2018 Paul Alanya                 $12.00   61.02   $   8.60          $   126.10   $    126.10
  4/22/2018 Paul Alanya                 $12.00   72.25   $   8.60          $   193.50   $    193.50
  4/29/2018 Paul Alanya                 $12.00   69.85   $   8.60          $   179.10   $    179.10
   5/6/2018 Paul Alanya                 $12.00   62.35   $   8.60          $   134.10   $    134.10
  5/13/2018 Paul Alanya                 $12.00   63.23   $   8.60          $   139.40   $    139.40
  5/20/2018 Paul Alanya                 $12.00   58.05   $   8.60          $   108.30   $    108.30
  5/27/2018 Paul Alanya                 $12.00   65.35   $   8.60          $   152.10   $    152.10
   6/3/2018 Paul Alanya                 $12.00   68.38   $   8.60          $   170.30   $    170.30
  6/10/2018 Paul Alanya                 $12.00   57.55   $   8.60          $   105.30   $    105.30
  6/17/2018 Paul Alanya                 $12.00   64.93   $   8.60          $   149.60   $    149.60
  6/24/2018 Paul Alanya                 $12.00   66.22   $   8.60          $   157.30   $    157.30
   7/1/2018 Paul Alanya                 $12.00   69.75   $   8.60          $   178.50   $    178.50
   7/8/2018 Paul Alanya                 $12.00   60.75   $   8.60          $   124.50   $    124.50
  7/22/2018 Paul Alanya                 $12.00   69.62   $   8.60          $   177.70   $    177.70
  7/29/2018 Paul Alanya                 $12.00   66.05   $   8.60          $   156.30   $    156.30
   8/5/2018 Paul Alanya                 $12.00   68.72   $   8.60          $   172.30   $    172.30
  8/12/2018 Paul Alanya                 $12.00   68.87   $   8.60          $   173.20   $    173.20
  8/19/2018 Paul Alanya                 $12.00   66.62   $   8.60          $   159.70   $    159.70
  8/26/2018 Paul Alanya                 $12.00   66.22   $   8.60          $   157.30   $    157.30
   9/2/2018 Paul Alanya                 $12.00   70.57   $   8.60          $   183.40   $    183.40
   9/9/2018 Paul Alanya                 $12.00   59.47   $   8.60          $   116.80   $    116.80
  9/16/2018 Paul Alanya                 $12.00   70.40   $   8.60          $   182.40   $    182.40
  9/23/2018 Paul Alanya                 $12.00   67.57   $   8.60          $   165.40   $    165.40
  9/30/2018 Paul Alanya                 $12.00   67.78   $   8.60          $   166.70   $    166.70
  10/7/2018 Paul Alanya                 $12.00   67.70   $   8.60          $   166.20   $    166.20
 10/14/2018 Paul Alanya                 $12.00   67.57   $   8.60          $   165.40   $    165.40
 10/21/2018 Paul Alanya                 $12.00   66.67   $   8.60          $   160.00   $    160.00
 10/28/2018 Paul Alanya                 $12.00   61.78   $   8.60          $   130.70   $    130.70
  11/4/2018 Paul Alanya                 $12.00   45.35   $   8.60          $    32.10   $     32.10
 11/11/2018 Paul Alanya                 $12.00   65.72   $   8.60          $   154.30   $    154.30
 11/18/2018 Paul Alanya                 $12.00   63.72   $   8.60          $   142.30   $    142.30
 11/25/2018 Paul Alanya                 $12.00   54.77   $   8.60          $    88.60   $     88.60
  12/2/2018 Paul Alanya                 $12.00   69.67   $   8.60          $   178.00   $    178.00
  12/9/2018 Paul Alanya                 $12.00   63.30   $   8.60          $   139.80   $    139.80
 12/16/2018 Paul Alanya                 $12.00   61.48   $   8.60          $   128.90   $    128.90
 12/23/2018 Paul Alanya                 $12.00   69.12   $   8.60          $   174.70   $    174.70
 12/30/2018 Paul Alanya                 $12.00   47.58   $   8.60          $    45.50   $     45.50
   1/6/2019 Paul Alanya                 $12.00   64.95   $   8.85          $   149.70   $    149.70
  1/13/2019 Paul Alanya                 $12.00   66.10   $   8.85          $   156.60   $    156.60
  1/20/2019 Paul Alanya                 $12.00   66.32   $   8.85          $   157.90   $    157.90
  1/27/2019 Paul Alanya                 $12.00   64.53   $   8.85          $   147.20   $    147.20



                                          541
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 543 of 683 PageID: 1390
                                         Exhibit 2
                                 New Jersey Computations


   Week                                                 State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
  Ending                  Name                        Minumum Regular    Half-Time Overtime Back
                                         Rate Week
   Date                                                 Wage  Rate Due     Due       Wages Due

   2/3/2019 Paul Alanya                 $12.00   45.40   $    8.85         $    32.40   $     32.40
  2/10/2019 Paul Alanya                 $12.00   67.95   $    8.85         $   167.70   $    167.70
  2/17/2019 Paul Alanya                 $12.00   61.75   $    8.85         $   130.50   $    130.50
  2/24/2019 Paul Alanya                 $12.00   63.77   $    8.85         $   142.60   $    142.60
   3/3/2019 Paul Alanya                 $12.00   72.37   $    8.85         $   194.20   $    194.20
  3/10/2019 Paul Alanya                 $12.00   65.37   $    8.85         $   152.20   $    152.20
  3/17/2019 Paul Alanya                 $12.00   45.28   $    8.85         $    31.70   $     31.70
  3/31/2019 Paul Alanya                 $12.00   67.58   $    8.85         $   165.50   $    165.50
   4/7/2019 Paul Alanya                 $12.00   67.22   $    8.85         $   163.30   $    163.30
  4/14/2019 Paul Alanya                 $12.00   68.28   $    8.85         $   169.70   $    169.70
  4/21/2019 Paul Alanya                 $12.00   68.40   $    8.85         $   170.40   $    170.40
  4/28/2019 Paul Alanya                 $12.00   69.22   $    8.85         $   175.30   $    175.30
   5/5/2019 Paul Alanya                 $12.00   70.08   $    8.85         $   180.50   $    180.50
  5/12/2019 Paul Alanya                 $12.00   70.13   $    8.85         $   180.80   $    180.80
  5/19/2019 Paul Alanya                 $12.00   66.70   $    8.85         $   160.20   $    160.20
  5/26/2019 Paul Alanya                 $12.00   71.30   $    8.85         $   187.80   $    187.80
   6/2/2019 Paul Alanya                 $12.00   63.77   $    8.85         $   142.60   $    142.60
   6/9/2019 Paul Alanya                 $12.00   69.95   $    8.85         $   179.70   $    179.70
  6/16/2019 Paul Alanya                 $12.00   66.23   $    8.85         $   157.40   $    157.40
  6/23/2019 Paul Alanya                 $12.00   68.90   $    8.85         $   173.40   $    173.40
  6/30/2019 Paul Alanya                 $12.00   69.68   $   10.00         $   178.10   $    178.10
   7/7/2019 Paul Alanya                 $12.50   67.47   $   10.00         $   171.67   $    171.67
  7/14/2019 Paul Alanya                 $12.50   57.02   $   10.00         $   106.35   $    106.35
  7/21/2019 Paul Alanya                 $12.50   69.97   $   10.00         $   187.29   $    187.29
  7/28/2019 Paul Alanya                 $12.50   69.18   $   10.00         $   182.40   $    182.40
   8/4/2019 Paul Alanya                 $12.50   71.08   $   10.00         $   194.27   $    194.27
  8/11/2019 Paul Alanya                 $12.50   68.87   $   10.00         $   180.42   $    180.42
  8/18/2019 Paul Alanya                 $12.50   49.63   $   10.00         $    60.21   $     60.21
   9/1/2019 Paul Alanya                 $12.50   58.68   $   10.00         $   116.77   $    116.77
   9/8/2019 Paul Alanya                 $12.50   69.63   $   10.00         $   185.21   $    185.21
  9/15/2019 Paul Alanya                 $12.50   68.63   $   10.00         $   178.96   $    178.96
  9/22/2019 Paul Alanya                 $12.50   67.20   $   10.00         $   170.00   $    170.00
  9/29/2019 Paul Alanya                 $12.50   67.70   $   10.00         $   173.13   $    173.13
  10/6/2019 Paul Alanya                 $12.50   65.22   $   10.00         $   157.60   $    157.60
 10/13/2019 Paul Alanya                 $12.50   65.35   $   10.00         $   158.44   $    158.44
 10/20/2019 Paul Alanya                 $12.50   58.00   $   10.00         $   112.50   $    112.50
 10/27/2019 Paul Alanya                 $12.50   68.33   $   10.00         $   177.08   $    177.08
  11/3/2019 Paul Alanya                 $12.50   69.10   $   10.00         $   181.88   $    181.88
 11/10/2019 Paul Alanya                 $12.50   67.77   $   10.00         $   173.54   $    173.54
 11/17/2019 Paul Alanya                 $12.50   66.30   $   10.00         $   164.38   $    164.38
 11/24/2019 Paul Alanya                 $12.50   68.58   $   10.00         $   178.65   $    178.65
  12/1/2019 Paul Alanya                 $12.50   56.95   $   10.00         $   105.94   $    105.94
  12/8/2019 Paul Alanya                 $12.50   66.92   $   10.00         $   168.23   $    168.23
 12/15/2019 Paul Alanya                 $12.50   68.55   $   10.00         $   178.44   $    178.44
 12/22/2019 Paul Alanya                 $12.50   68.28   $   10.00         $   176.77   $    176.77
 12/29/2019 Paul Alanya                 $12.50   57.85   $   10.00         $   111.56   $    111.56
   1/5/2020 Paul Alanya                 $12.50   65.50   $   11.00         $   159.38   $    159.38
  1/12/2020 Paul Alanya                 $12.50   68.28   $   11.00         $   176.77   $    176.77
  1/19/2020 Paul Alanya                 $12.50   67.73   $   11.00         $   173.33   $    173.33
  1/26/2020 Paul Alanya                 $12.50   68.95   $   11.00         $   180.94   $    180.94



                                          542
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 544 of 683 PageID: 1391
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  5/20/2018 Paula Cano Abad                  $10.00   59.00   $    8.60               $    95.00   $    95.00
  6/17/2018 Paula Cano Abad                  $10.00   49.95   $    8.60               $    49.75   $    49.75
 10/28/2018 Pavel Cruz                        $8.60   52.07   $    8.60               $    51.89   $    51.89
  12/2/2018 Pavel Cruz                        $8.60   43.43   $    8.60               $    14.76   $    14.76
  12/9/2018 Pavel Cruz                        $8.60   56.25   $    8.60               $    69.88   $    69.88
 12/16/2018 Pavel Cruz                        $8.60   48.32   $    8.60               $    35.76   $    35.76
 12/30/2018 Pavel Cruz                        $8.60   40.73   $    8.60               $     3.15   $     3.15
  1/13/2019 Pavel Cruz                        $8.85   50.87   $    8.85               $    48.09   $    48.09
  1/20/2019 Pavel Cruz                        $8.85   46.28   $    8.85               $    27.80   $    27.80
   2/3/2019 Pavel Cruz                        $8.85   53.65   $    8.85               $    60.40   $    60.40
   6/2/2019 Pavel Cruz                        $8.85   40.92   $    8.85               $     4.06   $     4.06
   6/9/2019 Pavel Cruz                        $8.85   52.78   $    8.85               $    56.57   $    56.57
   5/5/2019 Pedro Colon                      $11.00   67.35   $    8.85               $   150.43   $   150.43
  5/12/2019 Pedro Colon                      $11.00   49.38   $    8.85               $    51.61   $    51.61
   6/2/2019 Pedro Colon                      $11.00   62.77   $    8.85               $   125.22   $   125.22
   6/9/2019 Pedro Colon                      $11.00   54.65   $    8.85               $    80.58   $    80.58
  8/18/2019 Pedro De La Cruz                  $9.00   58.63   $   10.00   $   58.63   $    93.17   $   151.80
  9/16/2018 Pedro Gilberto Sunuc              $9.50   63.17   $    8.60               $   110.04   $   110.04
  9/23/2018 Pedro Gilberto Sunuc              $9.50   61.15   $    8.60               $   100.46   $   100.46
  9/30/2018 Pedro Gilberto Sunuc              $9.50   58.58   $    8.60               $    88.27   $    88.27
  10/7/2018 Pedro Gilberto Sunuc              $9.50   57.58   $    8.60               $    83.52   $    83.52
 10/14/2018 Pedro Gilberto Sunuc              $9.50   60.95   $    8.60               $    99.51   $    99.51
 10/21/2018 Pedro Gilberto Sunuc              $9.50   57.03   $    8.60               $    80.91   $    80.91
  3/10/2019 Pedro Gonzalez Cruz              $11.00   50.27   $    8.85               $    56.47   $    56.47
  3/17/2019 Pedro Gonzalez Cruz              $11.00   63.07   $    8.85               $   126.87   $   126.87
  3/24/2019 Pedro Gonzalez Cruz              $11.00   58.18   $    8.85               $   100.01   $   100.01
  3/31/2019 Pedro Gonzalez Cruz              $11.00   63.35   $    8.85               $   128.43   $   128.43
   4/7/2019 Pedro Gonzalez Cruz              $11.00   47.17   $    8.85               $    39.42   $    39.42
  3/25/2018 Pedro Lopez                      $13.00   41.35   $    8.60               $     8.78   $     8.78
   4/1/2018 Pedro Lopez                      $13.00   64.02   $    8.60               $   156.11   $   156.11
   4/8/2018 Pedro Lopez                      $13.00   51.95   $    8.60               $    77.67   $    77.67
  4/15/2018 Pedro Lopez                      $13.00   56.62   $    8.60               $   108.01   $   108.01
  4/22/2018 Pedro Lopez                      $13.00   55.67   $    8.60               $   101.83   $   101.83
  4/29/2018 Pedro Lopez                      $13.00   57.30   $    8.60               $   112.45   $   112.45
   5/6/2018 Pedro Lopez                      $13.00   55.08   $    8.60               $    98.04   $    98.04
  5/13/2018 Pedro Lopez                      $13.00   65.23   $    8.60               $   164.02   $   164.02
  5/20/2018 Pedro Lopez                      $13.00   65.70   $    8.60               $   167.05   $   167.05
  5/27/2018 Pedro Lopez                      $15.00   57.37   $    8.60               $   130.25   $   130.25
   6/3/2018 Pedro Lopez                      $15.00   62.98   $    8.60               $   172.38   $   172.38
  6/10/2018 Pedro Lopez                      $15.00   67.82   $    8.60               $   208.63   $   208.63
  6/17/2018 Pedro Lopez                      $15.00   55.88   $    8.60               $   119.13   $   119.13
  6/24/2018 Pedro Lopez                      $15.00   55.85   $    8.60               $   118.88   $   118.88
   7/1/2018 Pedro Lopez                      $15.00   45.55   $    8.60               $    41.63   $    41.63
   7/8/2018 Pedro Lopez                      $15.00   56.10   $    8.60               $   120.75   $   120.75
  7/22/2018 Pedro Lopez                      $15.00   70.00   $    8.60               $   225.00   $   225.00
   8/5/2018 Pedro Lopez                      $15.00   65.77   $    8.60               $   193.25   $   193.25
  8/12/2018 Pedro Lopez                      $15.00   52.22   $    8.60               $    91.63   $    91.63
  8/19/2018 Pedro Lopez                      $15.00   45.62   $    8.60               $    42.13   $    42.13
  8/26/2018 Pedro Lopez                      $15.00   68.00   $    8.60               $   210.00   $   210.00
   9/2/2018 Pedro Lopez                      $15.00   68.90   $    8.60               $   216.75   $   216.75



                                               543
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 545 of 683 PageID: 1392
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                      Name                          Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

   9/9/2018 Pedro Lopez                       $15.00   51.87   $    8.60         $    89.00   $     89.00
  9/16/2018 Pedro Lopez                       $15.00   67.42   $    8.60         $   205.63   $    205.63
  9/23/2018 Pedro Lopez                       $15.00   56.22   $    8.60         $   121.63   $    121.63
  9/30/2018 Pedro Lopez                       $15.00   55.07   $    8.60         $   113.00   $    113.00
  10/7/2018 Pedro Lopez                       $15.00   65.57   $    8.60         $   191.75   $    191.75
 10/14/2018 Pedro Lopez                       $15.00   58.98   $    8.60         $   142.38   $    142.38
 10/21/2018 Pedro Lopez                       $15.00   42.25   $    8.60         $    16.88   $     16.88
 10/28/2018 Pedro Lopez                       $15.00   42.38   $    8.60         $    17.88   $     17.88
 11/25/2018 Pedro Lopez                       $15.00   42.47   $    8.60         $    18.50   $     18.50
 12/16/2018 Pedro Lopez                       $15.00   42.20   $    8.60         $    16.50   $     16.50
 12/23/2018 Pedro Lopez                       $15.00   50.55   $    8.60         $    79.13   $     79.13
  1/13/2019 Pedro Lopez                       $15.00   41.10   $    8.85         $     8.25   $      8.25
  1/20/2019 Pedro Lopez                       $15.00   45.90   $    8.85         $    44.25   $     44.25
  1/27/2019 Pedro Lopez                       $15.00   57.07   $    8.85         $   128.00   $    128.00
   2/3/2019 Pedro Lopez                       $15.00   47.18   $    8.85         $    53.88   $     53.88
  2/10/2019 Pedro Lopez                       $15.00   67.35   $    8.85         $   205.13   $    205.13
   3/3/2019 Pedro Lopez                       $15.00   62.47   $    8.85         $   168.50   $    168.50
  3/10/2019 Pedro Lopez                       $15.00   51.73   $    8.85         $    88.00   $     88.00
  3/17/2019 Pedro Lopez                       $15.00   49.02   $    8.85         $    67.63   $     67.63
  3/31/2019 Pedro Lopez                       $15.00   62.30   $    8.85         $   167.25   $    167.25
   4/7/2019 Pedro Lopez                       $15.00   42.57   $    8.85         $    19.25   $     19.25
  4/14/2019 Pedro Lopez                       $15.00   42.68   $    8.85         $    20.13   $     20.13
  4/21/2019 Pedro Lopez                       $15.00   58.68   $    8.85         $   140.13   $    140.13
  4/28/2019 Pedro Lopez                       $15.00   52.87   $    8.85         $    96.50   $     96.50
   5/5/2019 Pedro Lopez                       $15.00   40.32   $    8.85         $     2.37   $      2.37
  5/19/2019 Pedro Lopez                       $15.00   44.53   $    8.85         $    34.00   $     34.00
  5/26/2019 Pedro Lopez                       $15.00   56.22   $    8.85         $   121.63   $    121.63
   6/9/2019 Pedro Lopez                       $15.00   52.78   $    8.85         $    95.88   $     95.88
  8/18/2019 Pedro Manuel Lopez Marte          $15.00   51.25   $   10.00         $    84.38   $     84.38
  8/25/2019 Pedro Manuel Lopez Marte          $15.00   41.58   $   10.00         $    11.88   $     11.88
  9/15/2019 Pedro Manuel Lopez Marte          $15.00   52.35   $   10.00         $    92.63   $     92.63
  9/22/2019 Pedro Manuel Lopez Marte          $15.00   46.22   $   10.00         $    46.63   $     46.63
 10/13/2019 Pedro Manuel Lopez Marte          $15.00   40.17   $   10.00         $     1.25   $      1.25
   2/5/2017 Pedro Olmedo                      $10.00   70.40   $    8.44         $   152.00   $    152.00
  2/12/2017 Pedro Olmedo                      $10.00   58.35   $    8.44         $    91.75   $     91.75
  2/19/2017 Pedro Olmedo                      $10.00   70.62   $    8.44         $   153.08   $    153.08
  2/26/2017 Pedro Olmedo                      $10.00   71.22   $    8.44         $   156.08   $    156.08
   3/5/2017 Pedro Olmedo                      $10.00   66.63   $    8.44         $   133.17   $    133.17
  3/12/2017 Pedro Olmedo                      $10.00   61.53   $    8.44         $   107.67   $    107.67
  3/19/2017 Pedro Olmedo                      $10.00   49.73   $    8.44         $    48.67   $     48.67
  3/26/2017 Pedro Olmedo                      $10.00   67.22   $    8.44         $   136.08   $    136.08
   4/2/2017 Pedro Olmedo                      $10.00   55.78   $    8.44         $    78.92   $     78.92
   4/9/2017 Pedro Olmedo                      $10.00   52.75   $    8.44         $    63.75   $     63.75
  4/16/2017 Pedro Olmedo                      $10.00   50.98   $    8.44         $    54.92   $     54.92
  4/23/2017 Pedro Olmedo                      $10.00   52.85   $    8.44         $    64.25   $     64.25
  4/30/2017 Pedro Olmedo                      $10.00   53.08   $    8.44         $    65.42   $     65.42
   5/7/2017 Pedro Olmedo                      $10.00   52.32   $    8.44         $    61.58   $     61.58
  5/14/2017 Pedro Olmedo                      $10.00   50.50   $    8.44         $    52.50   $     52.50
  5/21/2017 Pedro Olmedo                      $10.00   53.05   $    8.44         $    65.25   $     65.25
  5/28/2017 Pedro Olmedo                      $10.00   53.25   $    8.44         $    66.25   $     66.25



                                                544
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 546 of 683 PageID: 1393
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

   6/4/2017 Pedro Olmedo                  $10.00   47.13   $   8.44          $    35.67   $     35.67
  6/11/2017 Pedro Olmedo                  $10.00   68.72   $   8.44          $   143.58   $    143.58
  6/18/2017 Pedro Olmedo                  $10.00   65.02   $   8.44          $   125.08   $    125.08
  6/25/2017 Pedro Olmedo                  $10.00   58.33   $   8.44          $    91.67   $     91.67
   7/2/2017 Pedro Olmedo                  $10.00   69.83   $   8.44          $   149.17   $    149.17
   7/9/2017 Pedro Olmedo                  $10.00   61.40   $   8.44          $   107.00   $    107.00
  7/16/2017 Pedro Olmedo                  $10.00   67.78   $   8.44          $   138.92   $    138.92
  7/23/2017 Pedro Olmedo                  $10.00   70.32   $   8.44          $   151.58   $    151.58
  7/30/2017 Pedro Olmedo                  $10.00   69.77   $   8.44          $   148.83   $    148.83
   8/6/2017 Pedro Olmedo                  $10.00   71.43   $   8.44          $   157.17   $    157.17
  8/13/2017 Pedro Olmedo                  $10.00   68.98   $   8.44          $   144.92   $    144.92
  8/20/2017 Pedro Olmedo                  $10.00   69.67   $   8.44          $   148.33   $    148.33
  8/27/2017 Pedro Olmedo                  $10.00   70.93   $   8.44          $   154.67   $    154.67
   9/3/2017 Pedro Olmedo                  $10.00   70.10   $   8.44          $   150.50   $    150.50
  9/10/2017 Pedro Olmedo                  $10.00   66.70   $   8.44          $   133.50   $    133.50
  9/17/2017 Pedro Olmedo                  $10.00   69.60   $   8.44          $   148.00   $    148.00
  9/24/2017 Pedro Olmedo                  $10.00   70.65   $   8.44          $   153.25   $    153.25
  10/1/2017 Pedro Olmedo                  $10.00   70.13   $   8.44          $   150.67   $    150.67
  10/8/2017 Pedro Olmedo                  $10.00   69.57   $   8.44          $   147.83   $    147.83
 10/15/2017 Pedro Olmedo                  $10.00   69.62   $   8.44          $   148.08   $    148.08
 10/22/2017 Pedro Olmedo                  $10.00   69.22   $   8.44          $   146.08   $    146.08
 10/29/2017 Pedro Olmedo                  $10.00   69.37   $   8.44          $   146.83   $    146.83
  11/5/2017 Pedro Olmedo                  $10.00   70.90   $   8.44          $   154.50   $    154.50
 11/12/2017 Pedro Olmedo                  $10.00   69.97   $   8.44          $   149.83   $    149.83
 11/19/2017 Pedro Olmedo                  $10.00   70.55   $   8.44          $   152.75   $    152.75
 11/26/2017 Pedro Olmedo                  $10.00   57.32   $   8.44          $    86.58   $     86.58
  12/3/2017 Pedro Olmedo                  $10.00   70.35   $   8.44          $   151.75   $    151.75
 12/10/2017 Pedro Olmedo                  $10.00   68.92   $   8.44          $   144.58   $    144.58
 12/17/2017 Pedro Olmedo                  $10.00   67.52   $   8.44          $   137.58   $    137.58
 12/24/2017 Pedro Olmedo                  $10.00   68.95   $   8.44          $   144.75   $    144.75
 12/31/2017 Pedro Olmedo                  $10.00   58.80   $   8.44          $    94.00   $     94.00
   1/7/2018 Pedro Olmedo                  $10.00   65.98   $   8.60          $   129.92   $    129.92
  1/14/2018 Pedro Olmedo                  $10.00   70.10   $   8.60          $   150.50   $    150.50
  1/21/2018 Pedro Olmedo                  $10.00   65.43   $   8.60          $   127.17   $    127.17
  1/28/2018 Pedro Olmedo                  $10.00   69.53   $   8.60          $   147.67   $    147.67
   2/4/2018 Pedro Olmedo                  $10.00   57.38   $   8.60          $    86.92   $     86.92
  2/11/2018 Pedro Olmedo                  $10.00   68.08   $   8.60          $   140.42   $    140.42
  2/18/2018 Pedro Olmedo                  $10.00   68.70   $   8.60          $   143.50   $    143.50
   6/4/2017 Pedro Santana                 $10.00   46.00   $   8.44          $    30.00   $     30.00
  6/11/2017 Pedro Santana                 $10.00   43.75   $   8.44          $    18.75   $     18.75
  6/18/2017 Pedro Santana                 $10.00   45.33   $   8.44          $    26.67   $     26.67
  6/25/2017 Pedro Santana                 $10.00   48.72   $   8.44          $    43.58   $     43.58
   7/2/2017 Pedro Santana                 $10.00   44.30   $   8.44          $    21.50   $     21.50
  7/16/2017 Pedro Santana                 $10.00   48.65   $   8.44          $    43.25   $     43.25
  7/23/2017 Pedro Santana                 $10.00   49.08   $   8.44          $    45.42   $     45.42
  7/30/2017 Pedro Santana                 $10.00   45.85   $   8.44          $    29.25   $     29.25
   8/6/2017 Pedro Santana                 $10.00   45.25   $   8.44          $    26.25   $     26.25
  8/13/2017 Pedro Santana                 $10.00   45.95   $   8.44          $    29.75   $     29.75
  9/10/2017 Pedro Santana                 $10.00   46.87   $   8.44          $    34.33   $     34.33
  9/17/2017 Pedro Santana                 $10.00   43.72   $   8.44          $    18.58   $     18.58



                                            545
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 547 of 683 PageID: 1394
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  9/24/2017 Pedro Santana                   $10.00   53.92   $   8.44          $    69.58   $     69.58
  10/1/2017 Pedro Santana                   $10.00   43.42   $   8.44          $    17.08   $     17.08
  10/8/2017 Pedro Santana                   $10.00   49.95   $   8.44          $    49.75   $     49.75
 10/15/2017 Pedro Santana                   $10.00   43.55   $   8.44          $    17.75   $     17.75
 10/22/2017 Pedro Santana                   $10.00   45.65   $   8.44          $    28.25   $     28.25
  11/5/2017 Pedro Santana                   $10.00   47.42   $   8.44          $    37.08   $     37.08
 11/19/2017 Pedro Santana                   $10.00   50.72   $   8.44          $    53.58   $     53.58
  12/3/2017 Pedro Santana                   $10.00   44.50   $   8.44          $    22.50   $     22.50
 12/10/2017 Pedro Santana                   $10.00   41.82   $   8.44          $     9.08   $      9.08
 12/17/2017 Pedro Santana                   $10.00   44.83   $   8.44          $    24.17   $     24.17
 12/24/2017 Pedro Santana                   $10.00   45.35   $   8.44          $    26.75   $     26.75
   1/7/2018 Pedro Santana                    $8.60   42.77   $   8.60          $    11.90   $     11.90
  1/14/2018 Pedro Santana                   $10.00   45.72   $   8.60          $    28.58   $     28.58
  1/21/2018 Pedro Santana                   $10.00   46.97   $   8.60          $    34.83   $     34.83
  1/28/2018 Pedro Santana                   $10.00   48.57   $   8.60          $    42.83   $     42.83
   2/4/2018 Pedro Santana                   $10.00   53.30   $   8.60          $    66.50   $     66.50
  2/11/2018 Pedro Santana                   $10.00   45.20   $   8.60          $    26.00   $     26.00
  2/18/2018 Pedro Santana                   $10.00   46.43   $   8.60          $    32.17   $     32.17
  2/25/2018 Pedro Santana                   $10.00   46.83   $   8.60          $    34.17   $     34.17
   3/4/2018 Pedro Santana                   $10.00   45.78   $   8.60          $    28.92   $     28.92
   4/1/2018 Pedro Santana                   $10.00   45.17   $   8.60          $    25.83   $     25.83
   4/8/2018 Pedro Santana                   $10.00   45.05   $   8.60          $    25.25   $     25.25
  4/15/2018 Pedro Santana                   $10.00   47.92   $   8.60          $    39.58   $     39.58
  4/22/2018 Pedro Santana                   $10.00   41.20   $   8.60          $     6.00   $      6.00
  4/29/2018 Pedro Santana                   $10.00   44.95   $   8.60          $    24.75   $     24.75
   5/6/2018 Pedro Santana                   $10.00   45.75   $   8.60          $    28.75   $     28.75
  5/13/2018 Pedro Santana                   $10.00   45.33   $   8.60          $    26.67   $     26.67
  5/20/2018 Pedro Santana                   $10.00   44.42   $   8.60          $    22.08   $     22.08
  5/27/2018 Pedro Santana                   $10.00   44.82   $   8.60          $    24.08   $     24.08
  6/10/2018 Pedro Santana                   $10.00   46.62   $   8.60          $    33.08   $     33.08
  6/17/2018 Pedro Santana                   $10.00   44.50   $   8.60          $    22.50   $     22.50
  6/24/2018 Pedro Santana                   $10.00   45.37   $   8.60          $    26.83   $     26.83
  7/15/2018 Pedro Santana                   $10.00   43.40   $   8.60          $    17.00   $     17.00
  7/22/2018 Pedro Santana                   $10.00   43.22   $   8.60          $    16.08   $     16.08
   8/5/2018 Pedro Santana                   $10.00   45.97   $   8.60          $    29.83   $     29.83
  8/12/2018 Pedro Santana                   $10.00   42.27   $   8.60          $    11.33   $     11.33
  8/19/2018 Pedro Santana                   $10.00   43.15   $   8.60          $    15.75   $     15.75
   9/2/2018 Pedro Santana                   $10.00   42.40   $   8.60          $    12.00   $     12.00
   9/9/2018 Pedro Santana                   $10.00   41.68   $   8.60          $     8.42   $      8.42
  9/16/2018 Pedro Santana                   $10.00   40.98   $   8.60          $     4.92   $      4.92
  9/23/2018 Pedro Santana                   $10.00   45.02   $   8.60          $    25.08   $     25.08
   2/5/2017 Pedro Santos Fermin             $10.00   67.30   $   8.44          $   136.50   $    136.50
  2/12/2017 Pedro Santos Fermin             $10.00   53.08   $   8.44          $    65.42   $     65.42
  2/19/2017 Pedro Santos Fermin             $10.00   66.63   $   8.44          $   133.17   $    133.17
  2/26/2017 Pedro Santos Fermin             $10.00   66.92   $   8.44          $   134.58   $    134.58
   3/5/2017 Pedro Santos Fermin             $10.00   67.25   $   8.44          $   136.25   $    136.25
  3/19/2017 Pedro Santos Fermin             $10.00   40.45   $   8.44          $     2.25   $      2.25
  3/26/2017 Pedro Santos Fermin             $10.00   67.25   $   8.44          $   136.25   $    136.25
   4/2/2017 Pedro Santos Fermin             $10.00   67.60   $   8.44          $   138.00   $    138.00
   4/9/2017 Pedro Santos Fermin             $10.00   67.58   $   8.44          $   137.92   $    137.92



                                              546
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 548 of 683 PageID: 1395
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  4/16/2017 Pedro Santos Fermin             $10.00   54.70   $   8.44          $    73.50   $     73.50
  4/23/2017 Pedro Santos Fermin             $10.00   65.22   $   8.44          $   126.08   $    126.08
  4/30/2017 Pedro Santos Fermin             $10.00   65.13   $   8.44          $   125.67   $    125.67
   5/7/2017 Pedro Santos Fermin             $10.00   65.28   $   8.44          $   126.42   $    126.42
  5/14/2017 Pedro Santos Fermin             $10.00   65.53   $   8.44          $   127.67   $    127.67
  5/21/2017 Pedro Santos Fermin             $10.00   65.60   $   8.44          $   128.00   $    128.00
  5/28/2017 Pedro Santos Fermin             $10.00   65.42   $   8.44          $   127.08   $    127.08
   6/4/2017 Pedro Santos Fermin             $10.00   65.15   $   8.44          $   125.75   $    125.75
  6/11/2017 Pedro Santos Fermin             $10.00   65.32   $   8.44          $   126.58   $    126.58
  6/18/2017 Pedro Santos Fermin             $10.00   65.95   $   8.44          $   129.75   $    129.75
  6/25/2017 Pedro Santos Fermin             $10.00   65.12   $   8.44          $   125.58   $    125.58
   7/2/2017 Pedro Santos Fermin             $10.00   65.90   $   8.44          $   129.50   $    129.50
   7/9/2017 Pedro Santos Fermin             $10.00   44.18   $   8.44          $    20.92   $     20.92
  7/16/2017 Pedro Santos Fermin             $10.00   65.73   $   8.44          $   128.67   $    128.67
  7/23/2017 Pedro Santos Fermin             $10.00   65.72   $   8.44          $   128.58   $    128.58
  7/30/2017 Pedro Santos Fermin             $10.00   64.32   $   8.44          $   121.58   $    121.58
  8/13/2017 Pedro Santos Fermin             $14.00   47.78   $   8.44          $    54.48   $     54.48
  8/20/2017 Pedro Santos Fermin             $14.00   59.60   $   8.44          $   137.20   $    137.20
  8/27/2017 Pedro Santos Fermin             $14.00   58.47   $   8.44          $   129.27   $    129.27
   9/3/2017 Pedro Santos Fermin             $14.00   70.63   $   8.44          $   214.43   $    214.43
  9/10/2017 Pedro Santos Fermin             $14.00   58.47   $   8.44          $   129.27   $    129.27
  9/17/2017 Pedro Santos Fermin             $14.00   50.18   $   8.44          $    71.28   $     71.28
  9/24/2017 Pedro Santos Fermin             $14.00   66.75   $   8.44          $   187.25   $    187.25
  10/1/2017 Pedro Santos Fermin             $14.00   65.97   $   8.44          $   181.77   $    181.77
  10/8/2017 Pedro Santos Fermin             $14.00   66.07   $   8.44          $   182.47   $    182.47
 10/15/2017 Pedro Santos Fermin             $14.00   65.20   $   8.44          $   176.40   $    176.40
 10/22/2017 Pedro Santos Fermin             $14.00   66.58   $   8.44          $   186.08   $    186.08
 10/29/2017 Pedro Santos Fermin             $14.00   67.02   $   8.44          $   189.12   $    189.12
  11/5/2017 Pedro Santos Fermin             $14.00   63.43   $   8.44          $   164.03   $    164.03
 11/12/2017 Pedro Santos Fermin             $14.00   49.03   $   8.44          $    63.23   $     63.23
 11/26/2017 Pedro Santos Fermin             $14.00   51.12   $   8.44          $    77.82   $     77.82
  12/3/2017 Pedro Santos Fermin             $14.00   69.12   $   8.44          $   203.82   $    203.82
 12/10/2017 Pedro Santos Fermin             $14.00   63.37   $   8.44          $   163.57   $    163.57
 12/17/2017 Pedro Santos Fermin             $14.00   64.67   $   8.44          $   172.67   $    172.67
 12/24/2017 Pedro Santos Fermin             $14.00   69.82   $   8.44          $   208.72   $    208.72
 12/31/2017 Pedro Santos Fermin             $14.00   58.13   $   8.44          $   126.93   $    126.93
   1/7/2018 Pedro Santos Fermin             $14.00   50.53   $   8.60          $    73.73   $     73.73
  1/21/2018 Pedro Santos Fermin             $14.00   68.35   $   8.60          $   198.45   $    198.45
  1/28/2018 Pedro Santos Fermin             $14.00   66.95   $   8.60          $   188.65   $    188.65
   2/4/2018 Pedro Santos Fermin             $14.00   69.90   $   8.60          $   209.30   $    209.30
  2/11/2018 Pedro Santos Fermin             $14.00   65.37   $   8.60          $   177.57   $    177.57
  2/18/2018 Pedro Santos Fermin             $14.00   66.08   $   8.60          $   182.58   $    182.58
  2/25/2018 Pedro Santos Fermin             $14.00   66.83   $   8.60          $   187.83   $    187.83
   3/4/2018 Pedro Santos Fermin             $14.00   68.12   $   8.60          $   196.82   $    196.82
  3/25/2018 Pedro Santos Fermin             $14.00   51.92   $   8.60          $    83.42   $     83.42
   4/1/2018 Pedro Santos Fermin             $14.00   70.43   $   8.60          $   213.03   $    213.03
   4/8/2018 Pedro Santos Fermin             $14.00   66.87   $   8.60          $   188.07   $    188.07
  4/15/2018 Pedro Santos Fermin             $14.00   69.68   $   8.60          $   207.78   $    207.78
  4/22/2018 Pedro Santos Fermin             $14.00   66.98   $   8.60          $   188.88   $    188.88
  4/29/2018 Pedro Santos Fermin             $14.00   66.63   $   8.60          $   186.43   $    186.43



                                              547
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 549 of 683 PageID: 1396
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

   5/6/2018 Pedro Santos Fermin             $14.00   69.07   $   8.60          $   203.47   $    203.47
  5/13/2018 Pedro Santos Fermin             $14.00   68.02   $   8.60          $   196.12   $    196.12
  5/20/2018 Pedro Santos Fermin             $14.00   53.35   $   8.60          $    93.45   $     93.45
  5/27/2018 Pedro Santos Fermin             $14.00   64.10   $   8.60          $   168.70   $    168.70
   6/3/2018 Pedro Santos Fermin             $14.00   52.05   $   8.60          $    84.35   $     84.35
  6/10/2018 Pedro Santos Fermin             $14.00   57.05   $   8.60          $   119.35   $    119.35
  6/17/2018 Pedro Santos Fermin             $14.00   56.20   $   8.60          $   113.40   $    113.40
  6/24/2018 Pedro Santos Fermin             $14.00   51.22   $   8.60          $    78.52   $     78.52
   7/1/2018 Pedro Santos Fermin             $14.00   65.80   $   8.60          $   180.60   $    180.60
   7/8/2018 Pedro Santos Fermin             $14.00   48.93   $   8.60          $    62.53   $     62.53
  7/15/2018 Pedro Santos Fermin             $14.00   58.50   $   8.60          $   129.50   $    129.50
  7/22/2018 Pedro Santos Fermin             $14.00   63.50   $   8.60          $   164.50   $    164.50
  7/29/2018 Pedro Santos Fermin             $14.00   61.97   $   8.60          $   153.77   $    153.77
   8/5/2018 Pedro Santos Fermin             $14.00   58.45   $   8.60          $   129.15   $    129.15
  8/12/2018 Pedro Santos Fermin             $14.00   65.97   $   8.60          $   181.77   $    181.77
  8/19/2018 Pedro Santos Fermin             $14.00   66.57   $   8.60          $   185.97   $    185.97
  8/26/2018 Pedro Santos Fermin             $14.00   61.30   $   8.60          $   149.10   $    149.10
   9/2/2018 Pedro Santos Fermin             $14.00   65.57   $   8.60          $   178.97   $    178.97
   9/9/2018 Pedro Santos Fermin             $14.00   59.23   $   8.60          $   134.63   $    134.63
  9/16/2018 Pedro Santos Fermin             $14.00   65.62   $   8.60          $   179.32   $    179.32
  9/23/2018 Pedro Santos Fermin             $14.00   52.42   $   8.60          $    86.92   $     86.92
  9/30/2018 Pedro Santos Fermin             $14.00   62.43   $   8.60          $   157.03   $    157.03
  10/7/2018 Pedro Santos Fermin             $14.00   60.83   $   8.60          $   145.83   $    145.83
 10/14/2018 Pedro Santos Fermin             $14.00   68.58   $   8.60          $   200.08   $    200.08
 10/21/2018 Pedro Santos Fermin             $14.00   65.00   $   8.60          $   175.00   $    175.00
 10/28/2018 Pedro Santos Fermin             $14.00   58.62   $   8.60          $   130.32   $    130.32
  11/4/2018 Pedro Santos Fermin             $14.00   65.10   $   8.60          $   175.70   $    175.70
 11/11/2018 Pedro Santos Fermin             $14.00   52.50   $   8.60          $    87.50   $     87.50
 11/18/2018 Pedro Santos Fermin             $14.00   63.52   $   8.60          $   164.62   $    164.62
 11/25/2018 Pedro Santos Fermin             $14.00   47.17   $   8.60          $    50.17   $     50.17
  12/2/2018 Pedro Santos Fermin             $14.00   63.23   $   8.60          $   162.63   $    162.63
  12/9/2018 Pedro Santos Fermin             $14.00   54.17   $   8.60          $    99.17   $     99.17
 12/16/2018 Pedro Santos Fermin             $14.00   63.53   $   8.60          $   164.73   $    164.73
 12/23/2018 Pedro Santos Fermin             $14.00   61.38   $   8.60          $   149.68   $    149.68
 12/30/2018 Pedro Santos Fermin             $14.00   43.45   $   8.60          $    24.15   $     24.15
   1/6/2019 Pedro Santos Fermin             $14.00   47.38   $   8.85          $    51.68   $     51.68
  1/13/2019 Pedro Santos Fermin             $14.00   64.97   $   8.85          $   174.77   $    174.77
  1/20/2019 Pedro Santos Fermin             $14.00   40.95   $   8.85          $     6.65   $      6.65
  1/27/2019 Pedro Santos Fermin             $14.00   53.65   $   8.85          $    95.55   $     95.55
   2/3/2019 Pedro Santos Fermin             $14.00   54.20   $   8.85          $    99.40   $     99.40
  2/10/2019 Pedro Santos Fermin             $14.00   66.82   $   8.85          $   187.72   $    187.72
  2/17/2019 Pedro Santos Fermin             $14.00   43.15   $   8.85          $    22.05   $     22.05
  2/24/2019 Pedro Santos Fermin             $14.00   61.80   $   8.85          $   152.60   $    152.60
   3/3/2019 Pedro Santos Fermin             $14.00   44.47   $   8.85          $    31.27   $     31.27
  3/10/2019 Pedro Santos Fermin             $14.00   61.57   $   8.85          $   150.97   $    150.97
  3/17/2019 Pedro Santos Fermin             $14.00   55.50   $   8.85          $   108.50   $    108.50
  3/24/2019 Pedro Santos Fermin             $14.00   69.95   $   8.85          $   209.65   $    209.65
  3/31/2019 Pedro Santos Fermin             $14.00   65.17   $   8.85          $   176.17   $    176.17
   4/7/2019 Pedro Santos Fermin             $14.00   59.37   $   8.85          $   135.57   $    135.57
  4/14/2019 Pedro Santos Fermin             $14.00   69.85   $   8.85          $   208.95   $    208.95



                                              548
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 550 of 683 PageID: 1397
                                                    Exhibit 2
                                            New Jersey Computations


   Week                                                            State Section 7: Section 7: Total Section 7
                                                   Hourly Hours/
  Ending                       Name                              Minumum Regular    Half-Time Overtime Back
                                                    Rate Week
   Date                                                            Wage  Rate Due     Due       Wages Due

  4/21/2019 Pedro Santos Fermin                    $14.00   65.87   $    8.85         $   181.07   $    181.07
  4/28/2019 Pedro Santos Fermin                    $14.00   69.67   $    8.85         $   207.67   $    207.67
  5/12/2019 Pedro Santos Fermin                    $14.00   73.12   $    8.85         $   231.82   $    231.82
  5/19/2019 Pedro Santos Fermin                    $14.00   66.37   $    8.85         $   184.57   $    184.57
  5/26/2019 Pedro Santos Fermin                    $14.00   69.57   $    8.85         $   206.97   $    206.97
   6/2/2019 Pedro Santos Fermin                    $14.00   63.68   $    8.85         $   165.78   $    165.78
   6/9/2019 Pedro Santos Fermin                    $14.00   62.52   $    8.85         $   157.62   $    157.62
  6/16/2019 Pedro Santos Fermin                    $14.00   71.08   $    8.85         $   217.58   $    217.58
  6/23/2019 Pedro Santos Fermin                    $14.00   73.27   $    8.85         $   232.87   $    232.87
  6/30/2019 Pedro Santos Fermin                    $14.00   73.90   $   10.00         $   237.30   $    237.30
   7/7/2019 Pedro Santos Fermin                    $14.00   60.23   $   10.00         $   141.63   $    141.63
  7/14/2019 Pedro Santos Fermin                    $14.00   59.63   $   10.00         $   137.43   $    137.43
  7/21/2019 Pedro Santos Fermin                    $14.00   55.72   $   10.00         $   110.02   $    110.02
  7/28/2019 Pedro Santos Fermin                    $14.00   50.50   $   10.00         $    73.50   $     73.50
   8/4/2019 Pedro Santos Fermin                    $14.00   71.12   $   10.00         $   217.82   $    217.82
  8/11/2019 Pedro Santos Fermin                    $14.00   72.40   $   10.00         $   226.80   $    226.80
  8/18/2019 Pedro Santos Fermin                    $14.00   66.68   $   10.00         $   186.78   $    186.78
  8/25/2019 Pedro Santos Fermin                    $14.00   70.17   $   10.00         $   211.17   $    211.17
   9/1/2019 Pedro Santos Fermin                    $14.00   60.22   $   10.00         $   141.52   $    141.52
   9/8/2019 Pedro Santos Fermin                    $14.00   72.73   $   10.00         $   229.13   $    229.13
  9/15/2019 Pedro Santos Fermin                    $14.00   71.10   $   10.00         $   217.70   $    217.70
  9/22/2019 Pedro Santos Fermin                    $14.00   71.85   $   10.00         $   222.95   $    222.95
  9/29/2019 Pedro Santos Fermin                    $14.00   72.85   $   10.00         $   229.95   $    229.95
  10/6/2019 Pedro Santos Fermin                    $14.00   71.55   $   10.00         $   220.85   $    220.85
 10/13/2019 Pedro Santos Fermin                    $14.00   72.38   $   10.00         $   226.68   $    226.68
 10/20/2019 Pedro Santos Fermin                    $14.00   60.82   $   10.00         $   145.72   $    145.72
 10/27/2019 Pedro Santos Fermin                    $14.00   61.28   $   10.00         $   148.98   $    148.98
  11/3/2019 Pedro Santos Fermin                    $14.00   63.38   $   10.00         $   163.68   $    163.68
 11/10/2019 Pedro Santos Fermin                    $14.00   57.82   $   10.00         $   124.72   $    124.72
 11/17/2019 Pedro Santos Fermin                    $14.00   51.67   $   10.00         $    81.67   $     81.67
 11/24/2019 Pedro Santos Fermin                    $14.00   48.40   $   10.00         $    58.80   $     58.80
  12/1/2019 Pedro Santos Fermin                    $14.00   40.83   $   10.00         $     5.83   $      5.83
  12/8/2019 Pedro Santos Fermin                    $14.00   58.35   $   10.00         $   128.45   $    128.45
 12/15/2019 Pedro Santos Fermin                    $14.00   62.98   $   10.00         $   160.88   $    160.88
 12/22/2019 Pedro Santos Fermin                    $14.00   54.52   $   10.00         $   101.62   $    101.62
 12/29/2019 Pedro Santos Fermin                    $14.00   43.80   $   10.00         $    26.60   $     26.60
   1/5/2020 Pedro Santos Fermin                    $14.00   49.67   $   11.00         $    67.67   $     67.67
  1/12/2020 Pedro Santos Fermin                    $14.00   65.65   $   11.00         $   179.55   $    179.55
  1/19/2020 Pedro Santos Fermin                    $14.00   69.85   $   11.00         $   208.95   $    208.95
  1/26/2020 Pedro Santos Fermin                    $14.00   70.75   $   11.00         $   215.25   $    215.25
  10/6/2019 Petra Margarita Suniaga Lopez          $11.00   47.10   $   10.00         $    39.05   $     39.05
 10/27/2019 Petra Margarita Suniaga Lopez          $11.00   46.78   $   10.00         $    37.31   $     37.31
  11/3/2019 Petra Margarita Suniaga Lopez          $11.00   46.68   $   10.00         $    36.76   $     36.76
 11/10/2019 Petra Margarita Suniaga Lopez          $11.00   46.92   $   10.00         $    38.04   $     38.04
 11/17/2019 Petra Margarita Suniaga Lopez          $11.00   46.78   $   10.00         $    37.31   $     37.31
 11/24/2019 Petra Margarita Suniaga Lopez          $11.00   47.03   $   10.00         $    38.68   $     38.68
  12/8/2019 Petra Margarita Suniaga Lopez          $11.00   46.62   $   10.00         $    36.39   $     36.39
 12/15/2019 Petra Margarita Suniaga Lopez          $11.00   46.43   $   10.00         $    35.38   $     35.38
 12/22/2019 Petra Margarita Suniaga Lopez          $11.00   46.62   $   10.00         $    36.39   $     36.39
  1/12/2020 Petra Margarita Suniaga Lopez          $11.00   46.80   $   11.00         $    37.40   $     37.40



                                                     549
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 551 of 683 PageID: 1398
                                                    Exhibit 2
                                            New Jersey Computations


   Week                                                            State Section 7: Section 7: Total Section 7
                                                   Hourly Hours/
  Ending                       Name                              Minumum Regular    Half-Time Overtime Back
                                                    Rate Week
   Date                                                            Wage  Rate Due     Due       Wages Due

  1/19/2020 Petra Margarita Suniaga Lopez          $11.00   47.35   $   11.00               $    40.43   $    40.43
  1/26/2020 Petra Margarita Suniaga Lopez          $11.00   47.60   $   11.00               $    41.80   $    41.80
  5/19/2019 Rada Urena                              $9.00   56.73   $    8.85               $    75.30   $    75.30
  5/26/2019 Rada Urena                              $9.00   65.45   $    8.85               $   114.53   $   114.53
   6/2/2019 Rada Urena                              $9.00   56.23   $    8.85               $    73.05   $    73.05
   6/9/2019 Rada Urena                              $9.00   64.47   $    8.85               $   110.10   $   110.10
  6/16/2019 Rada Urena                              $9.00   64.53   $    8.85               $   110.40   $   110.40
  9/22/2019 Rada Urena                             $10.00   72.53   $   10.00               $   162.67   $   162.67
  9/29/2019 Rada Urena                             $10.00   66.30   $   10.00               $   131.50   $   131.50
  10/6/2019 Rada Urena                             $10.00   56.68   $   10.00               $    83.42   $    83.42
 10/20/2019 Rada Urena                             $10.00   61.27   $   10.00               $   106.33   $   106.33
 10/27/2019 Rada Urena                             $10.00   57.75   $   10.00               $    88.75   $    88.75
 12/22/2019 Rada Urena                             $10.00   57.08   $   10.00               $    85.42   $    85.42
  1/12/2020 Rada Urena                             $10.00   57.12   $   11.00   $   57.12   $    94.14   $   151.26
  1/19/2020 Rada Urena                             $10.00   51.98   $   11.00   $   51.98   $    65.91   $   117.89
  1/26/2020 Rada Urena                             $10.00   59.32   $   11.00   $   59.32   $   106.24   $   165.56
  7/21/2019 Rafael A. Aquino                        $9.50   44.10   $   10.00   $   22.05   $    20.50   $    42.55
   2/5/2017 Rafael Cueto                           $12.50   61.88   $    8.44               $   136.77   $   136.77
  2/12/2017 Rafael Cueto                           $12.50   58.87   $    8.44               $   117.92   $   117.92
  2/19/2017 Rafael Cueto                           $12.50   56.85   $    8.44               $   105.31   $   105.31
  2/26/2017 Rafael Cueto                           $12.50   63.15   $    8.44               $   144.69   $   144.69
   3/5/2017 Rafael Cueto                           $12.50   66.03   $    8.44               $   162.71   $   162.71
  3/12/2017 Rafael Cueto                           $12.50   70.87   $    8.44               $   192.92   $   192.92
  3/19/2017 Rafael Cueto                           $12.50   54.82   $    8.44               $    92.60   $    92.60
  3/26/2017 Rafael Cueto                           $12.50   54.98   $    8.44               $    93.65   $    93.65
   4/2/2017 Rafael Cueto                           $12.50   70.08   $    8.44               $   188.02   $   188.02
   4/9/2017 Rafael Cueto                           $12.50   67.67   $    8.44               $   172.92   $   172.92
  4/16/2017 Rafael Cueto                           $12.50   63.28   $    8.44               $   145.52   $   145.52
  4/23/2017 Rafael Cueto                           $12.50   69.30   $    8.44               $   183.13   $   183.13
  4/30/2017 Rafael Cueto                           $12.50   71.67   $    8.44               $   197.92   $   197.92
   5/7/2017 Rafael Cueto                           $12.50   66.52   $    8.44               $   165.73   $   165.73
  5/14/2017 Rafael Cueto                           $12.50   71.67   $    8.44               $   197.92   $   197.92
  5/21/2017 Rafael Cueto                           $12.50   72.45   $    8.44               $   202.81   $   202.81
  5/28/2017 Rafael Cueto                           $12.50   69.40   $    8.44               $   183.75   $   183.75
   6/4/2017 Rafael Cueto                           $12.50   61.22   $    8.44               $   132.60   $   132.60
  6/11/2017 Rafael Cueto                           $12.50   70.88   $    8.44               $   193.02   $   193.02
  6/18/2017 Rafael Cueto                           $12.50   69.92   $    8.44               $   186.98   $   186.98
  6/25/2017 Rafael Cueto                           $12.50   76.90   $    8.44               $   230.63   $   230.63
   7/2/2017 Rafael Cueto                           $12.50   70.90   $    8.44               $   193.13   $   193.13
   7/9/2017 Rafael Cueto                           $12.50   49.42   $    8.44               $    58.85   $    58.85
  7/16/2017 Rafael Cueto                           $12.50   71.80   $    8.44               $   198.75   $   198.75
  7/23/2017 Rafael Cueto                           $12.50   70.72   $    8.44               $   191.98   $   191.98
  7/30/2017 Rafael Cueto                           $12.50   57.67   $    8.44               $   110.42   $   110.42
   8/6/2017 Rafael Cueto                           $12.50   54.25   $    8.44               $    89.06   $    89.06
  8/13/2017 Rafael Cueto                           $12.50   63.32   $    8.44               $   145.73   $   145.73
  8/20/2017 Rafael Cueto                           $12.50   69.78   $    8.44               $   186.15   $   186.15
  8/27/2017 Rafael Cueto                           $12.50   65.02   $    8.44               $   156.35   $   156.35
   9/3/2017 Rafael Cueto                           $12.50   70.65   $    8.44               $   191.56   $   191.56
  9/10/2017 Rafael Cueto                           $12.50   61.95   $    8.44               $   137.19   $   137.19
  9/17/2017 Rafael Cueto                           $12.50   69.42   $    8.44               $   183.85   $   183.85



                                                     550
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 552 of 683 PageID: 1399
                                          Exhibit 2
                                  New Jersey Computations


   Week                                                  State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
  Ending                   Name                        Minumum Regular    Half-Time Overtime Back
                                          Rate Week
   Date                                                  Wage  Rate Due     Due       Wages Due

  9/24/2017 Rafael Cueto                 $12.50   68.37   $   8.44          $   177.29   $    177.29
  10/1/2017 Rafael Cueto                 $12.50   62.92   $   8.44          $   143.23   $    143.23
  10/8/2017 Rafael Cueto                 $12.50   65.28   $   8.44          $   158.02   $    158.02
 10/15/2017 Rafael Cueto                 $12.50   63.00   $   8.44          $   143.75   $    143.75
 10/22/2017 Rafael Cueto                 $12.50   70.00   $   8.44          $   187.50   $    187.50
 10/29/2017 Rafael Cueto                 $12.50   71.43   $   8.44          $   196.46   $    196.46
  11/5/2017 Rafael Cueto                 $12.50   66.32   $   8.44          $   164.48   $    164.48
 11/12/2017 Rafael Cueto                 $12.50   69.38   $   8.44          $   183.65   $    183.65
 11/19/2017 Rafael Cueto                 $12.50   69.08   $   8.44          $   181.77   $    181.77
 11/26/2017 Rafael Cueto                 $12.50   52.42   $   8.44          $    77.60   $     77.60
  12/3/2017 Rafael Cueto                 $12.50   70.12   $   8.44          $   188.23   $    188.23
 12/10/2017 Rafael Cueto                 $12.50   67.78   $   8.44          $   173.65   $    173.65
 12/17/2017 Rafael Cueto                 $12.50   73.13   $   8.44          $   207.08   $    207.08
 12/24/2017 Rafael Cueto                 $12.50   73.47   $   8.44          $   209.17   $    209.17
 12/31/2017 Rafael Cueto                 $12.50   59.42   $   8.44          $   121.35   $    121.35
   1/7/2018 Rafael Cueto                 $12.50   47.20   $   8.60          $    45.00   $     45.00
  1/14/2018 Rafael Cueto                 $12.50   59.07   $   8.60          $   119.17   $    119.17
  1/21/2018 Rafael Cueto                 $12.50   64.58   $   8.60          $   153.65   $    153.65
  1/28/2018 Rafael Cueto                 $12.50   62.15   $   8.60          $   138.44   $    138.44
   2/4/2018 Rafael Cueto                 $12.50   61.77   $   8.60          $   136.04   $    136.04
  2/11/2018 Rafael Cueto                 $12.50   64.83   $   8.60          $   155.21   $    155.21
  2/18/2018 Rafael Cueto                 $12.50   64.35   $   8.60          $   152.19   $    152.19
  2/25/2018 Rafael Cueto                 $12.50   66.40   $   8.60          $   165.00   $    165.00
   3/4/2018 Rafael Cueto                 $12.50   64.00   $   8.60          $   150.00   $    150.00
  4/15/2018 Rafael Cueto                 $12.50   60.38   $   8.60          $   127.40   $    127.40
  4/22/2018 Rafael Cueto                 $12.50   63.90   $   8.60          $   149.38   $    149.38
  4/29/2018 Rafael Cueto                 $12.50   68.02   $   8.60          $   175.10   $    175.10
   5/6/2018 Rafael Cueto                 $12.50   64.40   $   8.60          $   152.50   $    152.50
  5/13/2018 Rafael Cueto                 $12.50   68.18   $   8.60          $   176.15   $    176.15
  5/20/2018 Rafael Cueto                 $12.50   59.92   $   8.60          $   124.48   $    124.48
  5/27/2018 Rafael Cueto                 $12.50   69.75   $   8.60          $   185.94   $    185.94
   6/3/2018 Rafael Cueto                 $12.50   56.23   $   8.60          $   101.46   $    101.46
  6/10/2018 Rafael Cueto                 $12.50   62.18   $   8.60          $   138.65   $    138.65
  6/17/2018 Rafael Cueto                 $12.50   62.47   $   8.60          $   140.42   $    140.42
  6/24/2018 Rafael Cueto                 $12.50   61.77   $   8.60          $   136.04   $    136.04
   7/1/2018 Rafael Cueto                 $12.50   68.02   $   8.60          $   175.10   $    175.10
   7/8/2018 Rafael Cueto                 $12.50   51.98   $   8.60          $    74.90   $     74.90
  7/15/2018 Rafael Cueto                 $12.50   62.75   $   8.60          $   142.19   $    142.19
  7/22/2018 Rafael Cueto                 $12.50   65.35   $   8.60          $   158.44   $    158.44
  7/29/2018 Rafael Cueto                 $12.50   68.65   $   8.60          $   179.06   $    179.06
   8/5/2018 Rafael Cueto                 $12.50   55.67   $   8.60          $    97.92   $     97.92
  8/12/2018 Rafael Cueto                 $12.50   61.52   $   8.60          $   134.48   $    134.48
  8/19/2018 Rafael Cueto                 $12.50   67.70   $   8.60          $   173.13   $    173.13
  8/26/2018 Rafael Cueto                 $12.50   68.23   $   8.60          $   176.46   $    176.46
   9/2/2018 Rafael Cueto                 $12.50   69.80   $   8.60          $   186.25   $    186.25
   9/9/2018 Rafael Cueto                 $12.50   57.25   $   8.60          $   107.81   $    107.81
  9/16/2018 Rafael Cueto                 $12.50   62.05   $   8.60          $   137.81   $    137.81
  9/23/2018 Rafael Cueto                 $12.50   58.55   $   8.60          $   115.94   $    115.94
  9/30/2018 Rafael Cueto                 $12.50   62.70   $   8.60          $   141.88   $    141.88
  10/7/2018 Rafael Cueto                 $12.50   50.30   $   8.60          $    64.38   $     64.38



                                           551
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 553 of 683 PageID: 1400
                                          Exhibit 2
                                  New Jersey Computations


   Week                                                  State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
  Ending                   Name                        Minumum Regular    Half-Time Overtime Back
                                          Rate Week
   Date                                                  Wage  Rate Due     Due       Wages Due

 10/14/2018 Rafael Cueto                 $12.50   63.87   $    8.60         $   149.17   $    149.17
 10/21/2018 Rafael Cueto                 $12.50   59.22   $    8.60         $   120.10   $    120.10
 10/28/2018 Rafael Cueto                 $12.50   47.60   $    8.60         $    47.50   $     47.50
  11/4/2018 Rafael Cueto                 $12.50   61.40   $    8.60         $   133.75   $    133.75
 11/11/2018 Rafael Cueto                 $12.50   65.07   $    8.60         $   156.67   $    156.67
 11/18/2018 Rafael Cueto                 $12.50   61.80   $    8.60         $   136.25   $    136.25
 11/25/2018 Rafael Cueto                 $12.50   52.82   $    8.60         $    80.10   $     80.10
  12/2/2018 Rafael Cueto                 $12.50   67.30   $    8.60         $   170.63   $    170.63
  12/9/2018 Rafael Cueto                 $12.50   63.83   $    8.60         $   148.96   $    148.96
 12/16/2018 Rafael Cueto                 $12.50   66.32   $    8.60         $   164.48   $    164.48
 12/23/2018 Rafael Cueto                 $12.50   69.68   $    8.60         $   185.52   $    185.52
 12/30/2018 Rafael Cueto                 $12.50   48.58   $    8.60         $    53.65   $     53.65
   1/6/2019 Rafael Cueto                 $12.50   49.07   $    8.85         $    56.67   $     56.67
  1/13/2019 Rafael Cueto                 $12.50   62.23   $    8.85         $   138.96   $    138.96
  1/20/2019 Rafael Cueto                 $12.50   58.62   $    8.85         $   116.35   $    116.35
  1/27/2019 Rafael Cueto                 $12.50   55.35   $    8.85         $    95.94   $     95.94
   2/3/2019 Rafael Cueto                 $12.50   40.58   $    8.85         $     3.65   $      3.65
  2/10/2019 Rafael Cueto                 $12.50   54.95   $    8.85         $    93.44   $     93.44
  2/17/2019 Rafael Cueto                 $12.50   62.58   $    8.85         $   141.15   $    141.15
  2/24/2019 Rafael Cueto                 $12.50   67.13   $    8.85         $   169.58   $    169.58
   3/3/2019 Rafael Cueto                 $12.50   68.60   $    8.85         $   178.75   $    178.75
  3/10/2019 Rafael Cueto                 $12.50   65.68   $    8.85         $   160.52   $    160.52
  3/17/2019 Rafael Cueto                 $12.50   63.77   $    8.85         $   148.54   $    148.54
  3/24/2019 Rafael Cueto                 $12.50   68.93   $    8.85         $   180.83   $    180.83
  3/31/2019 Rafael Cueto                 $12.50   72.10   $    8.85         $   200.63   $    200.63
   4/7/2019 Rafael Cueto                 $12.50   60.62   $    8.85         $   128.85   $    128.85
  4/14/2019 Rafael Cueto                 $12.50   66.57   $    8.85         $   166.04   $    166.04
  4/21/2019 Rafael Cueto                 $12.50   66.13   $    8.85         $   163.33   $    163.33
  4/28/2019 Rafael Cueto                 $12.50   66.93   $    8.85         $   168.33   $    168.33
   5/5/2019 Rafael Cueto                 $12.50   62.15   $    8.85         $   138.44   $    138.44
  5/12/2019 Rafael Cueto                 $12.50   61.98   $    8.85         $   137.40   $    137.40
  5/19/2019 Rafael Cueto                 $12.50   64.40   $    8.85         $   152.50   $    152.50
  5/26/2019 Rafael Cueto                 $12.50   68.50   $    8.85         $   178.13   $    178.13
   6/2/2019 Rafael Cueto                 $12.50   60.50   $    8.85         $   128.13   $    128.13
   6/9/2019 Rafael Cueto                 $12.50   65.90   $    8.85         $   161.88   $    161.88
  6/30/2019 Rafael Cueto                 $12.50   66.45   $   10.00         $   165.31   $    165.31
   7/7/2019 Rafael Cueto                 $12.50   54.52   $   10.00         $    90.73   $     90.73
  7/14/2019 Rafael Cueto                 $12.50   63.38   $   10.00         $   146.15   $    146.15
  7/21/2019 Rafael Cueto                 $12.50   64.88   $   10.00         $   155.52   $    155.52
  7/28/2019 Rafael Cueto                 $12.50   66.03   $   10.00         $   162.71   $    162.71
   8/4/2019 Rafael Cueto                 $12.50   63.80   $   10.00         $   148.75   $    148.75
  8/11/2019 Rafael Cueto                 $12.50   60.78   $   10.00         $   129.90   $    129.90
  8/18/2019 Rafael Cueto                 $12.50   59.62   $   10.00         $   122.60   $    122.60
  8/25/2019 Rafael Cueto                 $12.50   63.02   $   10.00         $   143.85   $    143.85
   9/1/2019 Rafael Cueto                 $12.50   66.13   $   10.00         $   163.33   $    163.33
   9/8/2019 Rafael Cueto                 $12.50   54.17   $   10.00         $    88.54   $     88.54
  9/15/2019 Rafael Cueto                 $12.50   56.77   $   10.00         $   104.79   $    104.79
  9/22/2019 Rafael Cueto                 $12.50   57.65   $   10.00         $   110.31   $    110.31
  9/29/2019 Rafael Cueto                 $12.50   59.42   $   10.00         $   121.35   $    121.35
  10/6/2019 Rafael Cueto                 $12.50   58.48   $   10.00         $   115.52   $    115.52



                                           552
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 554 of 683 PageID: 1401
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

 10/13/2019 Rafael Cueto                     $12.50   54.78   $   10.00         $    92.40   $     92.40
 10/20/2019 Rafael Cueto                     $12.50   57.67   $   10.00         $   110.42   $    110.42
 10/27/2019 Rafael Cueto                     $12.50   56.23   $   10.00         $   101.46   $    101.46
  11/3/2019 Rafael Cueto                     $12.50   55.73   $   10.00         $    98.33   $     98.33
 11/10/2019 Rafael Cueto                     $12.50   62.12   $   10.00         $   138.23   $    138.23
 11/17/2019 Rafael Cueto                     $12.50   63.30   $   10.00         $   145.63   $    145.63
 11/24/2019 Rafael Cueto                     $12.50   63.10   $   10.00         $   144.38   $    144.38
  12/8/2019 Rafael Cueto                     $12.50   62.55   $   10.00         $   140.94   $    140.94
 12/15/2019 Rafael Cueto                     $12.50   60.12   $   10.00         $   125.73   $    125.73
 12/22/2019 Rafael Cueto                     $12.50   63.87   $   10.00         $   149.17   $    149.17
 12/29/2019 Rafael Cueto                     $12.50   48.27   $   10.00         $    51.67   $     51.67
   1/5/2020 Rafael Cueto                     $12.50   42.58   $   11.00         $    16.15   $     16.15
  1/12/2020 Rafael Cueto                     $12.50   40.13   $   11.00         $     0.83   $      0.83
  4/22/2018 Rafael Dominguez                  $8.60   56.50   $    8.60         $    70.95   $     70.95
  4/29/2018 Rafael Dominguez                  $8.60   61.25   $    8.60         $    91.38   $     91.38
   5/6/2018 Rafael Dominguez                  $8.60   65.43   $    8.60         $   109.36   $    109.36
  5/13/2018 Rafael Dominguez                  $8.60   65.80   $    8.60         $   110.94   $    110.94
  5/20/2018 Rafael Dominguez                  $8.60   61.40   $    8.60         $    92.02   $     92.02
  5/27/2018 Rafael Dominguez                  $8.60   64.93   $    8.60         $   107.21   $    107.21
   6/3/2018 Rafael Dominguez                  $8.60   52.25   $    8.60         $    52.68   $     52.68
  6/17/2018 Rafael Dominguez                  $8.60   61.32   $    8.60         $    91.66   $     91.66
  6/24/2018 Rafael Dominguez                  $8.60   61.28   $    8.60         $    91.52   $     91.52
   7/1/2018 Rafael Dominguez                  $8.60   60.23   $    8.60         $    87.00   $     87.00
   7/8/2018 Rafael Dominguez                  $8.60   50.93   $    8.60         $    47.01   $     47.01
  7/15/2018 Rafael Dominguez                 $10.00   60.42   $    8.60         $   102.08   $    102.08
  7/22/2018 Rafael Dominguez                 $10.00   60.68   $    8.60         $   103.42   $    103.42
  7/29/2018 Rafael Dominguez                 $10.00   59.07   $    8.60         $    95.33   $     95.33
  8/12/2018 Rafael Dominguez                 $10.00   48.15   $    8.60         $    40.75   $     40.75
  8/19/2018 Rafael Dominguez                 $10.00   57.32   $    8.60         $    86.58   $     86.58
  8/26/2018 Rafael Dominguez                 $10.00   50.52   $    8.60         $    52.58   $     52.58
   9/2/2018 Rafael Dominguez                 $10.00   50.07   $    8.60         $    50.33   $     50.33
   9/9/2018 Rafael Dominguez                 $10.00   59.48   $    8.60         $    97.42   $     97.42
  9/16/2018 Rafael Dominguez                 $10.00   48.87   $    8.60         $    44.33   $     44.33
  9/23/2018 Rafael Dominguez                 $10.00   59.15   $    8.60         $    95.75   $     95.75
  9/30/2018 Rafael Dominguez                 $10.00   59.75   $    8.60         $    98.75   $     98.75
  10/7/2018 Rafael Dominguez                 $10.00   59.57   $    8.60         $    97.83   $     97.83
 10/14/2018 Rafael Dominguez                 $10.00   59.58   $    8.60         $    97.92   $     97.92
 10/21/2018 Rafael Dominguez                 $10.00   59.58   $    8.60         $    97.92   $     97.92
 10/28/2018 Rafael Dominguez                 $10.00   59.42   $    8.60         $    97.08   $     97.08
  11/4/2018 Rafael Dominguez                 $10.00   56.98   $    8.60         $    84.92   $     84.92
 11/11/2018 Rafael Dominguez                 $10.00   56.05   $    8.60         $    80.25   $     80.25
 11/18/2018 Rafael Dominguez                 $10.00   53.45   $    8.60         $    67.25   $     67.25
 11/25/2018 Rafael Dominguez                 $10.00   52.13   $    8.60         $    60.67   $     60.67
  12/2/2018 Rafael Dominguez                 $10.00   57.87   $    8.60         $    89.33   $     89.33
  12/9/2018 Rafael Dominguez                 $10.00   49.20   $    8.60         $    46.00   $     46.00
 12/16/2018 Rafael Dominguez                 $10.00   58.93   $    8.60         $    94.67   $     94.67
 12/23/2018 Rafael Dominguez                 $10.00   42.38   $    8.60         $    11.92   $     11.92
 10/14/2018 Rafael Johnson                   $12.00   67.23   $    8.60         $   163.40   $    163.40
 10/21/2018 Rafael Johnson                   $12.00   63.15   $    8.60         $   138.90   $    138.90
  7/29/2018 Rafael Mejica                    $11.00   55.33   $    8.60         $    84.33   $     84.33



                                               553
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 555 of 683 PageID: 1402
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  8/26/2018 Rafael Mejica                   $11.00   42.95   $    8.60               $    16.23   $    16.23
  9/16/2018 Rafael Mejica                   $11.00   43.45   $    8.60               $    18.98   $    18.98
 10/29/2017 Rafael Menendez                 $10.00   52.40   $    8.44               $    62.00   $    62.00
  11/5/2017 Rafael Menendez                 $10.00   54.15   $    8.44               $    70.75   $    70.75
  6/17/2018 Rafael Reyes                     $9.00   52.75   $    8.60               $    57.38   $    57.38
  6/24/2018 Rafael Reyes                     $9.00   73.08   $    8.60               $   148.88   $   148.88
   7/1/2018 Rafael Reyes                     $9.00   64.35   $    8.60               $   109.58   $   109.58
   7/8/2018 Rafael Reyes                     $9.00   60.65   $    8.60               $    92.93   $    92.93
  7/15/2018 Rafael Reyes                     $9.00   62.00   $    8.60               $    99.00   $    99.00
  7/22/2018 Rafael Reyes                     $9.00   60.23   $    8.60               $    91.05   $    91.05
  7/29/2018 Rafael Reyes                     $9.00   59.53   $    8.60               $    87.90   $    87.90
   8/5/2018 Rafael Reyes                     $9.00   63.77   $    8.60               $   106.95   $   106.95
  8/12/2018 Rafael Reyes                     $9.00   60.02   $    8.60               $    90.08   $    90.08
  8/19/2018 Rafael Reyes                     $9.00   59.65   $    8.60               $    88.43   $    88.43
  8/26/2018 Rafael Reyes                     $9.00   64.35   $    8.60               $   109.58   $   109.58
   9/2/2018 Rafael Reyes                     $9.00   64.02   $    8.60               $   108.08   $   108.08
   9/9/2018 Rafael Reyes                     $9.00   70.37   $    8.60               $   136.65   $   136.65
  9/16/2018 Rafael Reyes                     $9.00   77.50   $    8.60               $   168.75   $   168.75
  9/23/2018 Rafael Reyes                     $9.00   78.83   $    8.60               $   174.75   $   174.75
  9/30/2018 Rafael Reyes                     $9.00   77.22   $    8.60               $   167.48   $   167.48
  10/7/2018 Rafael Reyes                     $9.00   63.23   $    8.60               $   104.55   $   104.55
 10/14/2018 Rafael Reyes                     $9.00   74.78   $    8.60               $   156.53   $   156.53
 10/21/2018 Rafael Reyes                     $9.00   76.02   $    8.60               $   162.08   $   162.08
 10/28/2018 Rafael Reyes                     $9.00   62.58   $    8.60               $   101.63   $   101.63
  2/17/2019 Rafael Reyes                     $9.00   76.23   $    8.85               $   163.05   $   163.05
  2/24/2019 Rafael Reyes                     $9.00   76.10   $    8.85               $   162.45   $   162.45
   3/3/2019 Rafael Reyes                     $9.00   79.42   $    8.85               $   177.38   $   177.38
  3/10/2019 Rafael Reyes                     $9.00   74.48   $    8.85               $   155.18   $   155.18
  3/17/2019 Rafael Reyes                     $9.00   72.60   $    8.85               $   146.70   $   146.70
  3/24/2019 Rafael Reyes                     $9.00   75.25   $    8.85               $   158.63   $   158.63
  3/31/2019 Rafael Reyes                     $9.00   78.58   $    8.85               $   173.63   $   173.63
   4/7/2019 Rafael Reyes                     $9.00   71.85   $    8.85               $   143.33   $   143.33
  4/14/2019 Rafael Reyes                     $9.00   71.22   $    8.85               $   140.48   $   140.48
  4/21/2019 Rafael Reyes                     $9.00   73.53   $    8.85               $   150.90   $   150.90
  4/28/2019 Rafael Reyes                     $9.00   72.18   $    8.85               $   144.83   $   144.83
   5/5/2019 Rafael Reyes                     $9.00   77.02   $    8.85               $   166.58   $   166.58
  5/12/2019 Rafael Reyes                     $9.00   55.77   $    8.85               $    70.95   $    70.95
  5/19/2019 Rafael Reyes                     $9.00   68.27   $    8.85               $   127.20   $   127.20
  5/26/2019 Rafael Reyes                     $9.00   85.83   $    8.85               $   206.25   $   206.25
   6/2/2019 Rafael Reyes                     $9.00   68.83   $    8.85               $   129.75   $   129.75
   6/9/2019 Rafael Reyes                     $9.00   69.67   $    8.85               $   133.50   $   133.50
  6/16/2019 Rafael Reyes                     $9.00   69.37   $    8.85               $   132.15   $   132.15
  6/23/2019 Rafael Reyes                     $9.00   62.12   $    8.85               $    99.53   $    99.53
  6/30/2019 Rafael Reyes                     $9.00   80.43   $   10.00   $   80.43   $   202.17   $   282.60
   7/7/2019 Rafael Reyes                     $9.00   62.87   $   10.00   $   62.87   $   114.33   $   177.20
  7/14/2019 Rafael Reyes                     $9.00   68.08   $   10.00   $   68.08   $   140.42   $   208.50
  7/21/2019 Rafael Reyes                     $9.00   69.25   $   10.00   $   69.25   $   146.25   $   215.50
  7/28/2019 Rafael Reyes                     $9.00   60.83   $   10.00   $   60.83   $   104.17   $   165.00
   8/4/2019 Rafael Reyes                     $9.00   70.22   $   10.00   $   70.22   $   151.08   $   221.30
  8/11/2019 Rafael Reyes                     $9.00   61.87   $   10.00   $   61.87   $   109.33   $   171.20



                                              554
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 556 of 683 PageID: 1403
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  8/18/2019 Rafael Reyes                      $9.00   65.18   $   10.00   $   65.18   $   125.92   $   191.10
  8/25/2019 Rafael Reyes                      $9.00   63.37   $   10.00   $   63.37   $   116.83   $   180.20
   9/1/2019 Rafael Reyes                      $9.00   74.92   $   10.00   $   74.92   $   174.58   $   249.50
   9/8/2019 Rafael Reyes                      $9.00   61.27   $   10.00   $   61.27   $   106.33   $   167.60
  9/15/2019 Rafael Reyes                      $9.00   62.55   $   10.00   $   62.55   $   112.75   $   175.30
  9/22/2019 Rafael Reyes                      $9.00   59.93   $   10.00   $   59.93   $    99.67   $   159.60
  9/29/2019 Rafael Reyes                      $9.00   49.67   $   10.00   $   49.67   $    48.33   $    98.00
  10/6/2019 Rafael Reyes                      $9.00   71.30   $   10.00   $   71.30   $   156.50   $   227.80
 10/13/2019 Rafael Reyes                      $9.00   74.68   $   10.00   $   74.68   $   173.42   $   248.10
 10/20/2019 Rafael Reyes                      $9.00   78.02   $   10.00   $   78.02   $   190.08   $   268.10
 10/27/2019 Rafael Reyes                      $9.00   78.85   $   10.00   $   78.85   $   194.25   $   273.10
  11/3/2019 Rafael Reyes                      $9.00   70.67   $   10.00   $   70.67   $   153.33   $   224.00
 11/10/2019 Rafael Reyes                      $9.00   72.43   $   10.00   $   72.43   $   162.17   $   234.60
 11/17/2019 Rafael Reyes                      $9.00   63.40   $   10.00   $   63.40   $   117.00   $   180.40
 11/24/2019 Rafael Reyes                      $9.00   66.75   $   10.00   $   66.75   $   133.75   $   200.50
  12/1/2019 Rafael Reyes                      $9.00   57.18   $   10.00   $   57.18   $    85.92   $   143.10
  12/8/2019 Rafael Reyes                      $9.00   60.02   $   10.00   $   60.02   $   100.08   $   160.10
 12/15/2019 Rafael Reyes                      $9.00   61.82   $   10.00   $   61.82   $   109.08   $   170.90
 12/22/2019 Rafael Reyes                      $9.00   56.17   $   10.00   $   56.17   $    80.83   $   137.00
 12/29/2019 Rafael Reyes                      $9.00   44.30   $   10.00   $   44.30   $    21.50   $    65.80
  2/26/2017 Rafael Rodriguez                 $10.25   52.12   $    8.44               $    62.10   $    62.10
   3/5/2017 Rafael Rodriguez                 $10.25   46.08   $    8.44               $    31.18   $    31.18
  3/12/2017 Rafael Rodriguez                 $10.25   57.07   $    8.44               $    87.47   $    87.47
  3/19/2017 Rafael Rodriguez                 $10.25   46.88   $    8.44               $    35.28   $    35.28
  3/26/2017 Rafael Rodriguez                 $10.25   57.58   $    8.44               $    90.11   $    90.11
   4/2/2017 Rafael Rodriguez                 $10.25   57.10   $    8.44               $    87.64   $    87.64
   4/9/2017 Rafael Rodriguez                 $10.25   57.20   $    8.44               $    88.15   $    88.15
  4/16/2017 Rafael Rodriguez                 $10.25   56.92   $    8.44               $    86.70   $    86.70
  4/23/2017 Rafael Rodriguez                 $10.25   56.48   $    8.44               $    84.48   $    84.48
  4/30/2017 Rafael Rodriguez                 $10.25   57.70   $    8.44               $    90.71   $    90.71
   5/7/2017 Rafael Rodriguez                 $10.25   56.73   $    8.44               $    85.76   $    85.76
  5/14/2017 Rafael Rodriguez                 $10.25   56.23   $    8.44               $    83.20   $    83.20
  5/21/2017 Rafael Rodriguez                 $10.25   56.30   $    8.44               $    83.54   $    83.54
  5/28/2017 Rafael Rodriguez                 $10.25   57.10   $    8.44               $    87.64   $    87.64
   6/4/2017 Rafael Rodriguez                 $10.25   51.58   $    8.44               $    59.36   $    59.36
  6/11/2017 Rafael Rodriguez                 $10.25   56.95   $    8.44               $    86.87   $    86.87
  6/18/2017 Rafael Rodriguez                 $10.25   56.33   $    8.44               $    83.71   $    83.71
  6/25/2017 Rafael Rodriguez                 $10.25   55.33   $    8.44               $    78.58   $    78.58
   7/2/2017 Rafael Rodriguez                 $10.25   57.18   $    8.44               $    88.06   $    88.06
   7/9/2017 Rafael Rodriguez                 $10.25   47.52   $    8.44               $    38.52   $    38.52
  7/16/2017 Rafael Rodriguez                 $10.25   56.55   $    8.44               $    84.82   $    84.82
  7/23/2017 Rafael Rodriguez                 $10.25   40.12   $    8.44               $     0.60   $     0.60
  10/1/2017 Rafael Rodriguez                 $10.25   56.13   $    8.44               $    82.68   $    82.68
  10/8/2017 Rafael Rodriguez                 $10.25   56.40   $    8.44               $    84.05   $    84.05
 10/15/2017 Rafael Rodriguez                 $10.25   56.17   $    8.44               $    82.85   $    82.85
 10/22/2017 Rafael Rodriguez                 $10.25   57.08   $    8.44               $    87.55   $    87.55
 10/29/2017 Rafael Rodriguez                 $10.25   56.28   $    8.44               $    83.45   $    83.45
  11/5/2017 Rafael Rodriguez                 $10.25   57.55   $    8.44               $    89.94   $    89.94
 11/12/2017 Rafael Rodriguez                 $10.25   58.07   $    8.44               $    92.59   $    92.59
 11/19/2017 Rafael Rodriguez                 $10.25   57.73   $    8.44               $    90.88   $    90.88



                                               555
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 557 of 683 PageID: 1404
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

 11/26/2017 Rafael Rodriguez                 $10.25   46.52   $   8.44          $    33.40   $     33.40
  12/3/2017 Rafael Rodriguez                 $10.25   56.68   $   8.44          $    85.50   $     85.50
 12/10/2017 Rafael Rodriguez                 $10.25   56.80   $   8.44          $    86.10   $     86.10
 12/17/2017 Rafael Rodriguez                 $10.25   46.65   $   8.44          $    34.08   $     34.08
 12/24/2017 Rafael Rodriguez                 $10.25   57.83   $   8.44          $    91.40   $     91.40
 12/31/2017 Rafael Rodriguez                 $10.25   46.85   $   8.44          $    35.11   $     35.11
   1/7/2018 Rafael Rodriguez                 $10.25   44.65   $   8.60          $    23.83   $     23.83
  1/14/2018 Rafael Rodriguez                 $10.25   57.27   $   8.60          $    88.49   $     88.49
  1/21/2018 Rafael Rodriguez                 $10.25   56.63   $   8.60          $    85.25   $     85.25
  1/28/2018 Rafael Rodriguez                 $10.25   56.22   $   8.60          $    83.11   $     83.11
   2/4/2018 Rafael Rodriguez                 $10.25   57.60   $   8.60          $    90.20   $     90.20
  2/11/2018 Rafael Rodriguez                 $10.25   57.33   $   8.60          $    88.83   $     88.83
  2/18/2018 Rafael Rodriguez                 $10.25   56.82   $   8.60          $    86.19   $     86.19
  2/25/2018 Rafael Rodriguez                 $10.25   57.38   $   8.60          $    89.09   $     89.09
   3/4/2018 Rafael Rodriguez                 $10.25   55.87   $   8.60          $    81.32   $     81.32
  3/25/2018 Rafael Rodriguez                 $10.25   54.58   $   8.60          $    74.74   $     74.74
   4/1/2018 Rafael Rodriguez                 $10.25   55.50   $   8.60          $    79.44   $     79.44
   4/8/2018 Rafael Rodriguez                 $10.25   55.38   $   8.60          $    78.84   $     78.84
  4/15/2018 Rafael Rodriguez                 $10.25   56.58   $   8.60          $    84.99   $     84.99
  4/22/2018 Rafael Rodriguez                 $10.25   56.30   $   8.60          $    83.54   $     83.54
  4/29/2018 Rafael Rodriguez                 $10.25   55.67   $   8.60          $    80.29   $     80.29
   5/6/2018 Rafael Rodriguez                 $10.25   56.80   $   8.60          $    86.10   $     86.10
  5/13/2018 Rafael Rodriguez                 $10.25   56.82   $   8.60          $    86.19   $     86.19
  5/20/2018 Rafael Rodriguez                 $10.25   57.23   $   8.60          $    88.32   $     88.32
  5/27/2018 Rafael Rodriguez                 $10.25   60.53   $   8.60          $   105.23   $    105.23
   6/3/2018 Rafael Rodriguez                 $10.25   48.10   $   8.60          $    41.51   $     41.51
  6/10/2018 Rafael Rodriguez                 $10.25   46.43   $   8.60          $    32.97   $     32.97
  6/17/2018 Rafael Rodriguez                 $10.25   56.35   $   8.60          $    83.79   $     83.79
  6/24/2018 Rafael Rodriguez                 $10.25   55.90   $   8.60          $    81.49   $     81.49
   7/1/2018 Rafael Rodriguez                 $10.25   56.35   $   8.60          $    83.79   $     83.79
   7/8/2018 Rafael Rodriguez                 $10.25   46.13   $   8.60          $    31.43   $     31.43
  7/15/2018 Rafael Rodriguez                 $10.25   47.70   $   8.60          $    39.46   $     39.46
  7/22/2018 Rafael Rodriguez                 $10.25   46.17   $   8.60          $    31.60   $     31.60
  7/29/2018 Rafael Rodriguez                 $10.25   53.35   $   8.60          $    68.42   $     68.42
   8/5/2018 Rafael Rodriguez                 $10.25   55.58   $   8.60          $    79.86   $     79.86
  8/12/2018 Rafael Rodriguez                 $10.25   56.22   $   8.60          $    83.11   $     83.11
  8/19/2018 Rafael Rodriguez                 $10.25   56.03   $   8.60          $    82.17   $     82.17
  8/26/2018 Rafael Rodriguez                 $10.25   56.45   $   8.60          $    84.31   $     84.31
   9/2/2018 Rafael Rodriguez                 $10.25   56.53   $   8.60          $    84.73   $     84.73
   9/9/2018 Rafael Rodriguez                 $10.25   46.08   $   8.60          $    31.18   $     31.18
  9/16/2018 Rafael Rodriguez                 $10.25   45.78   $   8.60          $    29.64   $     29.64
  9/23/2018 Rafael Rodriguez                 $10.25   56.10   $   8.60          $    82.51   $     82.51
  9/30/2018 Rafael Rodriguez                 $10.25   55.73   $   8.60          $    80.63   $     80.63
  10/7/2018 Rafael Rodriguez                 $10.25   55.87   $   8.60          $    81.32   $     81.32
 10/14/2018 Rafael Rodriguez                 $10.25   56.22   $   8.60          $    83.11   $     83.11
 10/21/2018 Rafael Rodriguez                 $10.25   55.22   $   8.60          $    77.99   $     77.99
 10/28/2018 Rafael Rodriguez                 $10.25   56.05   $   8.60          $    82.26   $     82.26
  11/4/2018 Rafael Rodriguez                 $10.25   56.27   $   8.60          $    83.37   $     83.37
 11/11/2018 Rafael Rodriguez                 $10.25   56.55   $   8.60          $    84.82   $     84.82
 11/18/2018 Rafael Rodriguez                 $10.25   54.82   $   8.60          $    75.94   $     75.94



                                               556
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 558 of 683 PageID: 1405
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

 11/25/2018 Rafael Rodriguez                 $10.25   46.28   $    8.60         $    32.20   $     32.20
  12/2/2018 Rafael Rodriguez                 $10.25   56.22   $    8.60         $    83.11   $     83.11
  12/9/2018 Rafael Rodriguez                 $10.25   57.23   $    8.60         $    88.32   $     88.32
  2/10/2019 Rafael Rodriguez                 $10.25   61.00   $    8.85         $   107.63   $    107.63
  2/17/2019 Rafael Rodriguez                 $10.25   56.08   $    8.85         $    82.43   $     82.43
  2/24/2019 Rafael Rodriguez                 $10.25   49.30   $    8.85         $    47.66   $     47.66
   3/3/2019 Rafael Rodriguez                 $10.25   58.83   $    8.85         $    96.52   $     96.52
  3/10/2019 Rafael Rodriguez                 $10.25   57.77   $    8.85         $    91.05   $     91.05
  3/17/2019 Rafael Rodriguez                 $10.25   56.38   $    8.85         $    83.96   $     83.96
  3/24/2019 Rafael Rodriguez                 $10.25   56.78   $    8.85         $    86.01   $     86.01
  3/31/2019 Rafael Rodriguez                 $10.25   45.93   $    8.85         $    30.41   $     30.41
   4/7/2019 Rafael Rodriguez                 $10.25   56.63   $    8.85         $    85.25   $     85.25
  4/14/2019 Rafael Rodriguez                 $10.25   57.18   $    8.85         $    88.06   $     88.06
  4/21/2019 Rafael Rodriguez                 $10.25   46.43   $    8.85         $    32.97   $     32.97
  4/28/2019 Rafael Rodriguez                 $10.25   50.10   $    8.85         $    51.76   $     51.76
   5/5/2019 Rafael Rodriguez                 $10.25   59.65   $    8.85         $   100.71   $    100.71
  5/12/2019 Rafael Rodriguez                 $10.25   59.12   $    8.85         $    97.97   $     97.97
  5/19/2019 Rafael Rodriguez                 $10.25   60.12   $    8.85         $   103.10   $    103.10
  5/26/2019 Rafael Rodriguez                 $10.25   61.17   $    8.85         $   108.48   $    108.48
   6/2/2019 Rafael Rodriguez                 $10.25   47.00   $    8.85         $    35.88   $     35.88
   6/9/2019 Rafael Rodriguez                 $10.25   56.78   $    8.85         $    86.01   $     86.01
  6/23/2019 Rafael Rodriguez                 $10.25   56.10   $    8.85         $    82.51   $     82.51
  6/30/2019 Rafael Rodriguez                 $10.25   55.00   $   10.00         $    76.88   $     76.88
   7/7/2019 Rafael Rodriguez                 $11.00   45.40   $   10.00         $    29.70   $     29.70
  7/14/2019 Rafael Rodriguez                 $11.00   56.92   $   10.00         $    93.04   $     93.04
  7/21/2019 Rafael Rodriguez                 $11.00   57.43   $   10.00         $    95.88   $     95.88
  7/28/2019 Rafael Rodriguez                 $11.00   57.23   $   10.00         $    94.78   $     94.78
   8/4/2019 Rafael Rodriguez                 $11.00   57.18   $   10.00         $    94.51   $     94.51
  8/11/2019 Rafael Rodriguez                 $11.00   56.57   $   10.00         $    91.12   $     91.12
  8/18/2019 Rafael Rodriguez                 $11.00   58.02   $   10.00         $    99.09   $     99.09
  8/25/2019 Rafael Rodriguez                 $11.00   56.97   $   10.00         $    93.32   $     93.32
   9/1/2019 Rafael Rodriguez                 $11.00   47.23   $   10.00         $    39.78   $     39.78
   9/8/2019 Rafael Rodriguez                 $11.00   46.67   $   10.00         $    36.67   $     36.67
  9/15/2019 Rafael Rodriguez                 $11.00   59.68   $   10.00         $   108.26   $    108.26
  9/22/2019 Rafael Rodriguez                 $11.00   47.63   $   10.00         $    41.98   $     41.98
  9/29/2019 Rafael Rodriguez                 $11.00   56.38   $   10.00         $    90.11   $     90.11
  10/6/2019 Rafael Rodriguez                 $11.00   58.37   $   10.00         $   101.02   $    101.02
 10/13/2019 Rafael Rodriguez                 $11.00   57.12   $   10.00         $    94.14   $     94.14
 10/20/2019 Rafael Rodriguez                 $11.00   50.23   $   10.00         $    56.28   $     56.28
 10/27/2019 Rafael Rodriguez                 $11.00   58.53   $   10.00         $   101.93   $    101.93
  11/3/2019 Rafael Rodriguez                 $11.00   54.88   $   10.00         $    81.86   $     81.86
 11/10/2019 Rafael Rodriguez                 $11.00   50.55   $   10.00         $    58.03   $     58.03
 11/17/2019 Rafael Rodriguez                 $11.00   58.03   $   10.00         $    99.18   $     99.18
 11/24/2019 Rafael Rodriguez                 $11.00   57.50   $   10.00         $    96.25   $     96.25
  12/1/2019 Rafael Rodriguez                 $11.00   47.08   $   10.00         $    38.96   $     38.96
  12/8/2019 Rafael Rodriguez                 $11.00   56.88   $   10.00         $    92.86   $     92.86
 12/15/2019 Rafael Rodriguez                 $11.00   56.52   $   10.00         $    90.84   $     90.84
 12/22/2019 Rafael Rodriguez                 $11.00   57.03   $   10.00         $    93.68   $     93.68
 12/29/2019 Rafael Rodriguez                 $11.00   41.38   $   10.00         $     7.61   $      7.61
   1/5/2020 Rafael Rodriguez                 $11.00   42.08   $   11.00         $    11.46   $     11.46



                                               557
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 559 of 683 PageID: 1406
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  1/12/2020 Rafael Rodriguez                 $11.00   56.15   $   11.00         $    88.83   $     88.83
  1/19/2020 Rafael Rodriguez                 $11.00   45.90   $   11.00         $    32.45   $     32.45
  1/26/2020 Rafael Rodriguez                 $11.00   55.78   $   11.00         $    86.81   $     86.81
   2/5/2017 Rafael Silverio                  $11.00   54.05   $    8.44         $    77.28   $     77.28
   7/2/2017 Rafael Silverio                  $11.00   54.37   $    8.44         $    79.02   $     79.02
   7/9/2017 Rafael Silverio                  $11.00   40.47   $    8.44         $     2.57   $      2.57
  7/16/2017 Rafael Silverio                  $11.00   49.22   $    8.44         $    50.69   $     50.69
  7/23/2017 Rafael Silverio                  $11.00   50.27   $    8.44         $    56.47   $     56.47
  7/30/2017 Rafael Silverio                  $11.00   47.85   $    8.44         $    43.18   $     43.18
   8/6/2017 Rafael Silverio                  $11.00   49.23   $    8.44         $    50.78   $     50.78
  8/27/2017 Rafael Silverio                  $11.00   40.55   $    8.44         $     3.02   $      3.02
  9/17/2017 Rafael Silverio                  $11.00   44.10   $    8.44         $    22.55   $     22.55
  10/1/2017 Rafael Silverio                  $11.00   52.22   $    8.44         $    67.19   $     67.19
  10/8/2017 Rafael Silverio                  $11.00   45.65   $    8.44         $    31.08   $     31.08
 10/15/2017 Rafael Silverio                  $11.00   47.25   $    8.44         $    39.88   $     39.88
 10/22/2017 Rafael Silverio                  $11.00   49.25   $    8.44         $    50.88   $     50.88
 10/29/2017 Rafael Silverio                  $11.00   49.40   $    8.44         $    51.70   $     51.70
  11/5/2017 Rafael Silverio                  $11.00   42.62   $    8.44         $    14.39   $     14.39
 11/12/2017 Rafael Silverio                  $11.00   40.55   $    8.44         $     3.02   $      3.02
 11/19/2017 Rafael Silverio                  $11.00   46.52   $    8.44         $    35.84   $     35.84
 12/10/2017 Rafael Silverio                  $11.00   43.72   $    8.44         $    20.44   $     20.44
 12/17/2017 Rafael Silverio                  $11.00   45.43   $    8.44         $    29.88   $     29.88
  1/14/2018 Rafael Silverio                  $11.00   40.55   $    8.60         $     3.02   $      3.02
  1/21/2018 Rafael Silverio                  $11.00   40.55   $    8.60         $     3.02   $      3.02
  1/28/2018 Rafael Silverio                  $11.00   47.52   $    8.60         $    41.34   $     41.34
   2/4/2018 Rafael Silverio                  $11.00   46.10   $    8.60         $    33.55   $     33.55
  2/11/2018 Rafael Silverio                  $11.00   40.77   $    8.60         $     4.22   $      4.22
  2/18/2018 Rafael Silverio                  $11.00   50.75   $    8.60         $    59.13   $     59.13
   4/1/2018 Rafael Silverio                  $11.00   49.90   $    8.60         $    54.45   $     54.45
   4/8/2018 Rafael Silverio                  $11.00   52.07   $    8.60         $    66.37   $     66.37
  4/15/2018 Rafael Silverio                  $11.00   46.83   $    8.60         $    37.58   $     37.58
 12/16/2018 Rafael Silverio                  $16.50   46.00   $    8.60         $    49.50   $     49.50
 12/23/2018 Rafael Silverio                  $16.50   59.97   $    8.60         $   164.73   $    164.73
 12/30/2018 Rafael Silverio                  $16.50   46.95   $    8.60         $    57.34   $     57.34
   1/6/2019 Rafael Silverio                  $19.00   50.65   $    8.85         $   101.18   $    101.18
  1/13/2019 Rafael Silverio                  $19.00   55.28   $    8.85         $   145.19   $    145.19
  1/20/2019 Rafael Silverio                  $19.00   58.85   $    8.85         $   179.08   $    179.08
  1/27/2019 Rafael Silverio                  $19.00   58.68   $    8.85         $   177.49   $    177.49
   2/3/2019 Rafael Silverio                  $19.00   56.98   $    8.85         $   161.34   $    161.34
  2/10/2019 Rafael Silverio                  $19.00   53.25   $    8.85         $   125.88   $    125.88
  2/17/2019 Rafael Silverio                  $19.00   42.55   $    8.85         $    24.23   $     24.23
  2/24/2019 Rafael Silverio                  $19.00   47.25   $    8.85         $    68.88   $     68.88
  3/10/2019 Rafael Silverio                  $19.00   52.82   $    8.85         $   121.76   $    121.76
  3/17/2019 Rafael Silverio                  $19.00   49.17   $    8.85         $    87.08   $     87.08
  3/24/2019 Rafael Silverio                  $19.00   51.20   $    8.85         $   106.40   $    106.40
  3/31/2019 Rafael Silverio                  $19.00   48.98   $    8.85         $    85.34   $     85.34
   4/7/2019 Rafael Silverio                  $19.00   52.37   $    8.85         $   117.48   $    117.48
  4/14/2019 Rafael Silverio                  $19.00   51.02   $    8.85         $   104.66   $    104.66
  4/21/2019 Rafael Silverio                  $19.00   51.83   $    8.85         $   112.42   $    112.42
  4/28/2019 Rafael Silverio                  $19.00   52.48   $    8.85         $   118.59   $    118.59



                                               558
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 560 of 683 PageID: 1407
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

   5/5/2019 Rafael Silverio                    $19.00   56.98   $    8.85         $   161.34   $    161.34
  5/26/2019 Rafael Silverio                    $19.00   52.90   $    8.85         $   122.55   $    122.55
  6/16/2019 Rafael Silverio                    $19.00   52.93   $    8.85         $   122.87   $    122.87
  6/23/2019 Rafael Silverio                    $19.00   51.92   $    8.85         $   113.21   $    113.21
  6/30/2019 Rafael Silverio                    $19.00   46.98   $   10.00         $    66.34   $     66.34
  7/14/2019 Rafael Silverio                    $19.00   43.50   $   10.00         $    33.25   $     33.25
  7/21/2019 Rafael Silverio                    $19.00   41.25   $   10.00         $    11.88   $     11.88
   8/4/2019 Rafael Silverio                    $19.00   57.13   $   10.00         $   162.77   $    162.77
  8/11/2019 Rafael Silverio                    $19.00   53.93   $   10.00         $   132.37   $    132.37
  8/25/2019 Rafael Silverio                    $19.00   52.38   $   10.00         $   117.64   $    117.64
   9/8/2019 Rafael Silverio                    $19.00   45.55   $   10.00         $    52.73   $     52.73
  9/15/2019 Rafael Silverio                    $19.00   43.25   $   10.00         $    30.88   $     30.88
  9/29/2019 Rafael Silverio                    $19.00   57.23   $   10.00         $   163.72   $    163.72
  10/6/2019 Rafael Silverio                    $19.00   46.48   $   10.00         $    61.59   $     61.59
 10/13/2019 Rafael Silverio                    $19.00   46.07   $   10.00         $    57.63   $     57.63
 10/20/2019 Rafael Silverio                    $19.00   53.90   $   10.00         $   132.05   $    132.05
 10/27/2019 Rafael Silverio                    $19.00   60.95   $   10.00         $   199.03   $    199.03
  11/3/2019 Rafael Silverio                    $19.00   61.03   $   10.00         $   199.82   $    199.82
 11/10/2019 Rafael Silverio                    $19.00   54.75   $   10.00         $   140.13   $    140.13
 11/17/2019 Rafael Silverio                    $19.00   47.33   $   10.00         $    69.67   $     69.67
 12/15/2019 Rafael Silverio                    $15.00   41.52   $   10.00         $    11.38   $     11.38
   1/5/2020 Rafael Silverio                    $15.00   43.80   $   11.00         $    28.50   $     28.50
  1/26/2020 Rafael Silverio                    $15.00   54.03   $   11.00         $   105.25   $    105.25
 12/10/2017 Rajeeer R. Leary                   $10.00   54.28   $    8.44         $    71.42   $     71.42
 12/17/2017 Rajeeer R. Leary                   $10.00   53.47   $    8.44         $    67.33   $     67.33
 12/24/2017 Rajeeer R. Leary                   $10.00   41.78   $    8.44         $     8.92   $      8.92
   6/4/2017 Ramel Salik Kirkpatrick             $9.50   54.08   $    8.44         $    66.90   $     66.90
  6/11/2017 Ramel Salik Kirkpatrick             $9.50   47.77   $    8.44         $    36.89   $     36.89
  6/18/2017 Ramel Salik Kirkpatrick             $9.50   41.37   $    8.44         $     6.49   $      6.49
   7/9/2017 Ramel Salik Kirkpatrick             $9.50   56.52   $    8.44         $    78.45   $     78.45
  7/16/2017 Ramel Salik Kirkpatrick             $9.50   44.78   $    8.44         $    22.72   $     22.72
  7/23/2017 Ramel Salik Kirkpatrick             $9.50   48.58   $    8.44         $    40.77   $     40.77
  7/30/2017 Ramel Salik Kirkpatrick             $9.50   59.97   $    8.44         $    94.84   $     94.84
   8/6/2017 Ramel Salik Kirkpatrick             $9.50   45.45   $    8.44         $    25.89   $     25.89
  8/13/2017 Ramel Salik Kirkpatrick             $9.50   57.32   $    8.44         $    82.25   $     82.25
  8/20/2017 Ramel Salik Kirkpatrick             $9.50   45.55   $    8.44         $    26.36   $     26.36
  7/30/2017 Ramon Alexis Castro                 $9.00   44.03   $    8.44         $    18.15   $     18.15
   8/6/2017 Ramon Alexis Castro                 $9.00   50.18   $    8.44         $    45.83   $     45.83
  8/13/2017 Ramon Alexis Castro                 $9.00   59.10   $    8.44         $    85.95   $     85.95
  8/20/2017 Ramon Alexis Castro                 $9.00   46.90   $    8.44         $    31.05   $     31.05
  8/27/2017 Ramon Alexis Castro                 $9.00   49.13   $    8.44         $    41.10   $     41.10
   9/3/2017 Ramon Alexis Castro                 $9.00   57.95   $    8.44         $    80.78   $     80.78
  9/10/2017 Ramon Alexis Castro                 $9.00   48.20   $    8.44         $    36.90   $     36.90
  9/17/2017 Ramon Alexis Castro                 $9.00   58.28   $    8.44         $    82.28   $     82.28
  9/24/2017 Ramon Alexis Castro                 $9.00   54.83   $    8.44         $    66.75   $     66.75
  10/1/2017 Ramon Alexis Castro                 $9.00   56.68   $    8.44         $    75.08   $     75.08
  10/8/2017 Ramon Alexis Castro                 $9.00   57.65   $    8.44         $    79.43   $     79.43
 10/15/2017 Ramon Alexis Castro                 $9.00   55.02   $    8.44         $    67.58   $     67.58
 10/22/2017 Ramon Alexis Castro                 $9.00   52.37   $    8.44         $    55.65   $     55.65
 10/29/2017 Ramon Alexis Castro                 $9.00   47.78   $    8.44         $    35.03   $     35.03



                                                 559
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 561 of 683 PageID: 1408
                                                    Exhibit 2
                                            New Jersey Computations


   Week                                                            State Section 7: Section 7: Total Section 7
                                                   Hourly Hours/
  Ending                      Name                               Minumum Regular    Half-Time Overtime Back
                                                    Rate Week
   Date                                                            Wage  Rate Due     Due       Wages Due

 11/12/2017 Ramon Alexis Castro                     $9.00   43.32   $   8.44          $    14.93   $     14.93
  12/3/2017 Ramon Alexis Castro                     $9.00   50.17   $   8.44          $    45.75   $     45.75
 12/10/2017 Ramon Alexis Castro                     $9.00   48.05   $   8.44          $    36.23   $     36.23
 12/17/2017 Ramon Alexis Castro                     $9.00   52.37   $   8.44          $    55.65   $     55.65
 12/31/2017 Ramon Alexis Castro                     $9.00   47.95   $   8.44          $    35.78   $     35.78
  1/14/2018 Ramon Alexis Castro                     $9.00   57.97   $   8.60          $    80.85   $     80.85
  3/25/2018 Ramon Alfredo Rosario Vasquez           $9.50   54.25   $   8.60          $    67.69   $     67.69
   4/1/2018 Ramon Alfredo Rosario Vasquez          $11.50   67.87   $   8.60          $   160.23   $    160.23
   4/8/2018 Ramon Alfredo Rosario Vasquez          $11.50   79.00   $   8.60          $   224.25   $    224.25
  4/15/2018 Ramon Alfredo Rosario Vasquez          $11.50   68.53   $   8.60          $   164.07   $    164.07
  4/22/2018 Ramon Alfredo Rosario Vasquez          $11.50   72.88   $   8.60          $   189.08   $    189.08
  4/29/2018 Ramon Alfredo Rosario Vasquez          $11.50   68.53   $   8.60          $   164.07   $    164.07
   5/6/2018 Ramon Alfredo Rosario Vasquez          $11.50   69.60   $   8.60          $   170.20   $    170.20
  5/13/2018 Ramon Alfredo Rosario Vasquez          $11.50   74.43   $   8.60          $   197.99   $    197.99
  5/20/2018 Ramon Alfredo Rosario Vasquez          $11.50   70.55   $   8.60          $   175.66   $    175.66
  5/27/2018 Ramon Alfredo Rosario Vasquez          $11.50   72.70   $   8.60          $   188.03   $    188.03
   6/3/2018 Ramon Alfredo Rosario Vasquez          $11.50   64.60   $   8.60          $   141.45   $    141.45
  6/10/2018 Ramon Alfredo Rosario Vasquez          $11.50   58.12   $   8.60          $   104.17   $    104.17
  6/17/2018 Ramon Alfredo Rosario Vasquez          $11.50   74.40   $   8.60          $   197.80   $    197.80
  6/24/2018 Ramon Alfredo Rosario Vasquez          $11.50   61.42   $   8.60          $   123.15   $    123.15
   7/1/2018 Ramon Alfredo Rosario Vasquez          $11.50   70.60   $   8.60          $   175.95   $    175.95
   7/8/2018 Ramon Alfredo Rosario Vasquez          $11.50   61.07   $   8.60          $   121.13   $    121.13
  7/15/2018 Ramon Alfredo Rosario Vasquez          $11.50   71.63   $   8.60          $   181.89   $    181.89
  7/22/2018 Ramon Alfredo Rosario Vasquez          $11.50   71.67   $   8.60          $   182.08   $    182.08
  7/29/2018 Ramon Alfredo Rosario Vasquez          $11.50   72.43   $   8.60          $   186.49   $    186.49
   8/5/2018 Ramon Alfredo Rosario Vasquez          $11.50   71.68   $   8.60          $   182.18   $    182.18
  8/12/2018 Ramon Alfredo Rosario Vasquez          $11.50   65.55   $   8.60          $   146.91   $    146.91
  8/19/2018 Ramon Alfredo Rosario Vasquez          $11.50   67.82   $   8.60          $   159.95   $    159.95
  8/26/2018 Ramon Alfredo Rosario Vasquez          $11.50   68.18   $   8.60          $   162.05   $    162.05
   9/2/2018 Ramon Alfredo Rosario Vasquez          $11.50   66.75   $   8.60          $   153.81   $    153.81
   9/9/2018 Ramon Alfredo Rosario Vasquez          $11.50   63.48   $   8.60          $   135.03   $    135.03
  9/16/2018 Ramon Alfredo Rosario Vasquez          $11.50   67.25   $   8.60          $   156.69   $    156.69
  9/23/2018 Ramon Alfredo Rosario Vasquez          $11.50   67.97   $   8.60          $   160.81   $    160.81
  9/30/2018 Ramon Alfredo Rosario Vasquez          $11.50   67.48   $   8.60          $   158.03   $    158.03
  10/7/2018 Ramon Alfredo Rosario Vasquez          $11.50   68.60   $   8.60          $   164.45   $    164.45
 10/14/2018 Ramon Alfredo Rosario Vasquez          $11.50   57.28   $   8.60          $    99.38   $     99.38
 10/21/2018 Ramon Alfredo Rosario Vasquez          $11.50   66.92   $   8.60          $   154.77   $    154.77
 10/28/2018 Ramon Alfredo Rosario Vasquez          $11.50   66.42   $   8.60          $   151.90   $    151.90
  11/4/2018 Ramon Alfredo Rosario Vasquez          $11.50   67.20   $   8.60          $   156.40   $    156.40
 11/11/2018 Ramon Alfredo Rosario Vasquez          $11.50   66.53   $   8.60          $   152.57   $    152.57
 11/18/2018 Ramon Alfredo Rosario Vasquez          $11.50   70.68   $   8.60          $   176.43   $    176.43
 11/25/2018 Ramon Alfredo Rosario Vasquez          $11.50   58.45   $   8.60          $   106.09   $    106.09
  12/2/2018 Ramon Alfredo Rosario Vasquez          $11.50   67.35   $   8.60          $   157.26   $    157.26
  12/9/2018 Ramon Alfredo Rosario Vasquez          $11.50   71.00   $   8.60          $   178.25   $    178.25
 12/16/2018 Ramon Alfredo Rosario Vasquez          $11.50   68.80   $   8.60          $   165.60   $    165.60
 12/23/2018 Ramon Alfredo Rosario Vasquez          $11.50   70.80   $   8.60          $   177.10   $    177.10
 12/30/2018 Ramon Alfredo Rosario Vasquez          $11.50   41.67   $   8.60          $     9.58   $      9.58
  1/13/2019 Ramon Alfredo Rosario Vasquez          $11.50   70.45   $   8.85          $   175.09   $    175.09
  1/20/2019 Ramon Alfredo Rosario Vasquez          $11.50   70.65   $   8.85          $   176.24   $    176.24
  1/27/2019 Ramon Alfredo Rosario Vasquez          $11.50   42.82   $   8.85          $    16.20   $     16.20



                                                     560
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 562 of 683 PageID: 1409
                                                    Exhibit 2
                                            New Jersey Computations


   Week                                                            State Section 7: Section 7: Total Section 7
                                                   Hourly Hours/
  Ending                      Name                               Minumum Regular    Half-Time Overtime Back
                                                    Rate Week
   Date                                                            Wage  Rate Due     Due       Wages Due

   2/3/2019 Ramon Alfredo Rosario Vasquez          $11.50   68.97   $    8.85               $   166.56   $   166.56
  2/10/2019 Ramon Alfredo Rosario Vasquez          $11.50   70.62   $    8.85               $   176.05   $   176.05
  2/17/2019 Ramon Alfredo Rosario Vasquez          $11.50   68.75   $    8.85               $   165.31   $   165.31
  2/24/2019 Ramon Alfredo Rosario Vasquez          $11.50   70.48   $    8.85               $   175.28   $   175.28
   3/3/2019 Ramon Alfredo Rosario Vasquez          $11.50   63.72   $    8.85               $   136.37   $   136.37
  3/10/2019 Ramon Alfredo Rosario Vasquez          $11.50   69.20   $    8.85               $   167.90   $   167.90
  3/17/2019 Ramon Alfredo Rosario Vasquez          $11.50   70.90   $    8.85               $   177.68   $   177.68
  3/24/2019 Ramon Alfredo Rosario Vasquez          $11.50   72.92   $    8.85               $   189.27   $   189.27
  3/31/2019 Ramon Alfredo Rosario Vasquez          $11.50   73.15   $    8.85               $   190.61   $   190.61
   4/7/2019 Ramon Alfredo Rosario Vasquez          $11.50   67.40   $    8.85               $   157.55   $   157.55
  4/21/2019 Ramon Alfredo Rosario Vasquez          $12.50   73.03   $    8.85               $   206.46   $   206.46
  4/28/2019 Ramon Alfredo Rosario Vasquez          $12.50   59.35   $    8.85               $   120.94   $   120.94
   5/5/2019 Ramon Alfredo Rosario Vasquez          $12.50   72.40   $    8.85               $   202.50   $   202.50
  5/12/2019 Ramon Alfredo Rosario Vasquez          $12.50   72.85   $    8.85               $   205.31   $   205.31
  5/19/2019 Ramon Alfredo Rosario Vasquez          $12.50   71.77   $    8.85               $   198.54   $   198.54
  5/26/2019 Ramon Alfredo Rosario Vasquez          $12.50   63.00   $    8.85               $   143.75   $   143.75
   6/2/2019 Ramon Alfredo Rosario Vasquez          $12.50   65.08   $    8.85               $   156.77   $   156.77
   6/9/2019 Ramon Alfredo Rosario Vasquez          $12.50   49.27   $    8.85               $    57.92   $    57.92
  6/16/2019 Ramon Alfredo Rosario Vasquez          $12.50   49.42   $    8.85               $    58.85   $    58.85
  6/23/2019 Ramon Alfredo Rosario Vasquez          $12.50   47.35   $    8.85               $    45.94   $    45.94
  6/30/2019 Ramon Alfredo Rosario Vasquez          $12.50   67.07   $   10.00               $   169.17   $   169.17
   7/7/2019 Ramon Alfredo Rosario Vasquez          $12.50   54.93   $   10.00               $    93.33   $    93.33
  7/14/2019 Ramon Alfredo Rosario Vasquez          $12.50   69.37   $   10.00               $   183.54   $   183.54
  7/21/2019 Ramon Alfredo Rosario Vasquez          $12.50   67.30   $   10.00               $   170.63   $   170.63
  7/28/2019 Ramon Alfredo Rosario Vasquez          $12.50   54.62   $   10.00               $    91.35   $    91.35
  8/11/2019 Ramon Alfredo Rosario Vasquez          $12.50   69.92   $   10.00               $   186.98   $   186.98
  8/18/2019 Ramon Alfredo Rosario Vasquez          $12.50   69.68   $   10.00               $   185.52   $   185.52
  8/25/2019 Ramon Alfredo Rosario Vasquez          $12.50   70.32   $   10.00               $   189.48   $   189.48
   9/1/2019 Ramon Alfredo Rosario Vasquez          $12.50   62.13   $   10.00               $   138.33   $   138.33
   9/8/2019 Ramon Alfredo Rosario Vasquez          $12.50   57.42   $   10.00               $   108.85   $   108.85
  9/15/2019 Ramon Alfredo Rosario Vasquez          $12.50   54.97   $   10.00               $    93.54   $    93.54
  9/22/2019 Ramon Alfredo Rosario Vasquez          $12.50   54.50   $   10.00               $    90.63   $    90.63
  9/29/2019 Ramon Alfredo Rosario Vasquez          $12.50   57.60   $   10.00               $   110.00   $   110.00
 10/13/2019 Ramon Alfredo Rosario Vasquez          $12.50   55.95   $   10.00               $    99.69   $    99.69
 10/20/2019 Ramon Alfredo Rosario Vasquez          $12.50   59.83   $   10.00               $   123.96   $   123.96
 10/27/2019 Ramon Alfredo Rosario Vasquez          $12.50   65.55   $   10.00               $   159.69   $   159.69
  11/3/2019 Ramon Alfredo Rosario Vasquez          $12.50   50.12   $   10.00               $    63.23   $    63.23
  12/1/2019 Ramon Alfredo Rosario Vasquez          $12.50   40.45   $   10.00               $     2.81   $     2.81
  12/8/2019 Ramon Alfredo Rosario Vasquez          $12.50   59.13   $   10.00               $   119.58   $   119.58
 12/15/2019 Ramon Alfredo Rosario Vasquez          $12.50   56.08   $   10.00               $   100.52   $   100.52
 12/22/2019 Ramon Alfredo Rosario Vasquez          $12.50   66.75   $   10.00               $   167.19   $   167.19
  1/12/2020 Ramon Alfredo Rosario Vasquez          $12.50   64.75   $   11.00               $   154.69   $   154.69
  1/19/2020 Ramon Alfredo Rosario Vasquez          $12.50   57.45   $   11.00               $   109.06   $   109.06
  1/26/2020 Ramon Alfredo Rosario Vasquez          $12.50   55.98   $   11.00               $    99.90   $    99.90
 10/27/2019 Ramon Almonte                           $9.50   52.18   $   10.00   $   26.09   $    60.92   $    87.01
  3/19/2017 Ramon Antonio Cueto                    $13.00   45.48   $    8.44               $    35.64   $    35.64
  3/26/2017 Ramon Antonio Cueto                    $13.00   55.47   $    8.44               $   100.53   $   100.53
   4/2/2017 Ramon Antonio Cueto                    $13.00   57.20   $    8.44               $   111.80   $   111.80
   4/9/2017 Ramon Antonio Cueto                    $13.00   46.62   $    8.44               $    43.01   $    43.01
  4/16/2017 Ramon Antonio Cueto                    $13.00   50.10   $    8.44               $    65.65   $    65.65



                                                     561
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 563 of 683 PageID: 1410
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  4/23/2017 Ramon Antonio Cueto             $13.00   57.70   $   8.44          $   115.05   $    115.05
  4/30/2017 Ramon Antonio Cueto             $13.00   56.95   $   8.44          $   110.18   $    110.18
  5/14/2017 Ramon Antonio Cueto             $13.00   57.42   $   8.44          $   113.21   $    113.21
  5/21/2017 Ramon Antonio Cueto             $13.00   57.93   $   8.44          $   116.57   $    116.57
  5/28/2017 Ramon Antonio Cueto             $13.00   47.77   $   8.44          $    50.48   $     50.48
   6/4/2017 Ramon Antonio Cueto             $13.00   50.03   $   8.44          $    65.22   $     65.22
  6/11/2017 Ramon Antonio Cueto             $13.00   45.70   $   8.44          $    37.05   $     37.05
  6/18/2017 Ramon Antonio Cueto             $13.00   47.98   $   8.44          $    51.89   $     51.89
  6/25/2017 Ramon Antonio Cueto             $13.00   57.67   $   8.44          $   114.83   $    114.83
   7/2/2017 Ramon Antonio Cueto             $13.00   49.87   $   8.44          $    64.13   $     64.13
   7/9/2017 Ramon Antonio Cueto             $13.00   40.07   $   8.44          $     0.43   $      0.43
  7/16/2017 Ramon Antonio Cueto             $13.00   58.10   $   8.44          $   117.65   $    117.65
  7/23/2017 Ramon Antonio Cueto             $13.00   50.00   $   8.44          $    65.00   $     65.00
  7/30/2017 Ramon Antonio Cueto             $13.00   56.70   $   8.44          $   108.55   $    108.55
   8/6/2017 Ramon Antonio Cueto             $13.00   58.22   $   8.44          $   118.41   $    118.41
  8/13/2017 Ramon Antonio Cueto             $13.00   49.20   $   8.44          $    59.80   $     59.80
  8/20/2017 Ramon Antonio Cueto             $13.00   50.12   $   8.44          $    65.76   $     65.76
  8/27/2017 Ramon Antonio Cueto             $13.00   49.15   $   8.44          $    59.48   $     59.48
   9/3/2017 Ramon Antonio Cueto             $13.00   58.15   $   8.44          $   117.98   $    117.98
  9/17/2017 Ramon Antonio Cueto             $13.00   58.10   $   8.44          $   117.65   $    117.65
  9/24/2017 Ramon Antonio Cueto             $13.00   58.07   $   8.44          $   117.43   $    117.43
  10/1/2017 Ramon Antonio Cueto             $13.00   58.05   $   8.44          $   117.33   $    117.33
  10/8/2017 Ramon Antonio Cueto             $13.00   58.00   $   8.44          $   117.00   $    117.00
 10/15/2017 Ramon Antonio Cueto             $13.00   58.05   $   8.44          $   117.33   $    117.33
 10/22/2017 Ramon Antonio Cueto             $13.00   47.58   $   8.44          $    49.29   $     49.29
 10/29/2017 Ramon Antonio Cueto             $13.00   55.08   $   8.44          $    98.04   $     98.04
  11/5/2017 Ramon Antonio Cueto             $13.00   48.07   $   8.44          $    52.43   $     52.43
 11/12/2017 Ramon Antonio Cueto             $13.00   50.08   $   8.44          $    65.54   $     65.54
 11/19/2017 Ramon Antonio Cueto             $13.00   57.58   $   8.44          $   114.29   $    114.29
 11/26/2017 Ramon Antonio Cueto             $13.00   48.13   $   8.44          $    52.87   $     52.87
  12/3/2017 Ramon Antonio Cueto             $13.00   58.25   $   8.44          $   118.63   $    118.63
 12/10/2017 Ramon Antonio Cueto             $13.00   57.60   $   8.44          $   114.40   $    114.40
 12/17/2017 Ramon Antonio Cueto             $13.00   49.13   $   8.44          $    59.37   $     59.37
 12/24/2017 Ramon Antonio Cueto             $13.00   58.17   $   8.44          $   118.08   $    118.08
 12/31/2017 Ramon Antonio Cueto             $13.00   48.12   $   8.44          $    52.76   $     52.76
  1/14/2018 Ramon Antonio Cueto             $13.00   54.60   $   8.60          $    94.90   $     94.90
  1/21/2018 Ramon Antonio Cueto             $13.00   58.05   $   8.60          $   117.33   $    117.33
  1/28/2018 Ramon Antonio Cueto             $13.00   57.98   $   8.60          $   116.89   $    116.89
   2/4/2018 Ramon Antonio Cueto             $13.00   57.33   $   8.60          $   112.67   $    112.67
  2/11/2018 Ramon Antonio Cueto             $13.00   47.15   $   8.60          $    46.48   $     46.48
  2/18/2018 Ramon Antonio Cueto             $13.00   46.23   $   8.60          $    40.52   $     40.52
  2/25/2018 Ramon Antonio Cueto             $13.00   48.05   $   8.60          $    52.33   $     52.33
   3/4/2018 Ramon Antonio Cueto             $13.00   60.48   $   8.60          $   133.14   $    133.14
  3/25/2018 Ramon Antonio Cueto             $13.00   50.03   $   8.60          $    65.22   $     65.22
   4/1/2018 Ramon Antonio Cueto             $13.00   58.15   $   8.60          $   117.98   $    117.98
   4/8/2018 Ramon Antonio Cueto             $13.00   56.23   $   8.60          $   105.52   $    105.52
  4/15/2018 Ramon Antonio Cueto             $13.00   48.08   $   8.60          $    52.54   $     52.54
  4/22/2018 Ramon Antonio Cueto             $13.00   57.95   $   8.60          $   116.68   $    116.68
  4/29/2018 Ramon Antonio Cueto             $13.00   57.87   $   8.60          $   116.13   $    116.13
   5/6/2018 Ramon Antonio Cueto             $13.00   58.12   $   8.60          $   117.76   $    117.76



                                              562
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 564 of 683 PageID: 1411
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  5/13/2018 Ramon Antonio Cueto             $13.00   58.05   $    8.60         $   117.33   $    117.33
  5/20/2018 Ramon Antonio Cueto             $13.00   58.13   $    8.60         $   117.87   $    117.87
  5/27/2018 Ramon Antonio Cueto             $13.00   58.05   $    8.60         $   117.33   $    117.33
   6/3/2018 Ramon Antonio Cueto             $13.00   48.02   $    8.60         $    52.11   $     52.11
  6/10/2018 Ramon Antonio Cueto             $13.00   58.08   $    8.60         $   117.54   $    117.54
  6/17/2018 Ramon Antonio Cueto             $13.00   58.05   $    8.60         $   117.33   $    117.33
  6/24/2018 Ramon Antonio Cueto             $13.00   50.13   $    8.60         $    65.87   $     65.87
   7/1/2018 Ramon Antonio Cueto             $13.00   58.02   $    8.60         $   117.11   $    117.11
   7/8/2018 Ramon Antonio Cueto             $13.00   58.02   $    8.60         $   117.11   $    117.11
  7/22/2018 Ramon Antonio Cueto             $13.00   58.07   $    8.60         $   117.43   $    117.43
  7/29/2018 Ramon Antonio Cueto             $13.00   58.05   $    8.60         $   117.33   $    117.33
  8/26/2018 Ramon Antonio Cueto             $13.00   58.05   $    8.60         $   117.33   $    117.33
   9/2/2018 Ramon Antonio Cueto             $13.00   58.02   $    8.60         $   117.11   $    117.11
   9/9/2018 Ramon Antonio Cueto             $13.00   48.03   $    8.60         $    52.22   $     52.22
  9/16/2018 Ramon Antonio Cueto             $13.00   58.10   $    8.60         $   117.65   $    117.65
  9/23/2018 Ramon Antonio Cueto             $13.00   58.10   $    8.60         $   117.65   $    117.65
  9/30/2018 Ramon Antonio Cueto             $13.00   56.23   $    8.60         $   105.52   $    105.52
  10/7/2018 Ramon Antonio Cueto             $13.00   58.10   $    8.60         $   117.65   $    117.65
 11/18/2018 Ramon Antonio Cueto             $13.00   58.92   $    8.60         $   122.96   $    122.96
  12/2/2018 Ramon Antonio Cueto             $13.00   58.52   $    8.60         $   120.36   $    120.36
  12/9/2018 Ramon Antonio Cueto             $13.00   58.40   $    8.60         $   119.60   $    119.60
 12/16/2018 Ramon Antonio Cueto             $13.00   50.28   $    8.60         $    66.84   $     66.84
 12/23/2018 Ramon Antonio Cueto             $13.00   48.72   $    8.60         $    56.66   $     56.66
 12/30/2018 Ramon Antonio Cueto             $13.00   40.52   $    8.60         $     3.36   $      3.36
   1/6/2019 Ramon Antonio Cueto             $13.00   47.72   $    8.85         $    50.16   $     50.16
  1/13/2019 Ramon Antonio Cueto             $13.00   58.93   $    8.85         $   123.07   $    123.07
  1/20/2019 Ramon Antonio Cueto             $13.00   47.98   $    8.85         $    51.89   $     51.89
  1/27/2019 Ramon Antonio Cueto             $13.00   58.08   $    8.85         $   117.54   $    117.54
   2/3/2019 Ramon Antonio Cueto             $13.00   58.78   $    8.85         $   122.09   $    122.09
  2/10/2019 Ramon Antonio Cueto             $13.00   48.70   $    8.85         $    56.55   $     56.55
  2/17/2019 Ramon Antonio Cueto             $13.00   59.18   $    8.85         $   124.69   $    124.69
  2/24/2019 Ramon Antonio Cueto             $13.00   59.88   $    8.85         $   129.24   $    129.24
   3/3/2019 Ramon Antonio Cueto             $13.00   48.58   $    8.85         $    55.79   $     55.79
  3/10/2019 Ramon Antonio Cueto             $13.00   59.27   $    8.85         $   125.23   $    125.23
  3/17/2019 Ramon Antonio Cueto             $13.00   59.17   $    8.85         $   124.58   $    124.58
  3/24/2019 Ramon Antonio Cueto             $13.00   58.73   $    8.85         $   121.77   $    121.77
  3/31/2019 Ramon Antonio Cueto             $13.00   58.67   $    8.85         $   121.33   $    121.33
   4/7/2019 Ramon Antonio Cueto             $13.00   40.38   $    8.85         $     2.49   $      2.49
  4/14/2019 Ramon Antonio Cueto             $13.00   59.25   $    8.85         $   125.13   $    125.13
  4/21/2019 Ramon Antonio Cueto             $13.00   59.03   $    8.85         $   123.72   $    123.72
  4/28/2019 Ramon Antonio Cueto             $13.00   48.82   $    8.85         $    57.31   $     57.31
   5/5/2019 Ramon Antonio Cueto             $13.00   48.65   $    8.85         $    56.23   $     56.23
  5/12/2019 Ramon Antonio Cueto             $13.00   57.65   $    8.85         $   114.73   $    114.73
  5/19/2019 Ramon Antonio Cueto             $13.00   57.87   $    8.85         $   116.13   $    116.13
  5/26/2019 Ramon Antonio Cueto             $13.00   59.00   $    8.85         $   123.50   $    123.50
   6/2/2019 Ramon Antonio Cueto             $13.00   45.30   $    8.85         $    34.45   $     34.45
   6/9/2019 Ramon Antonio Cueto             $13.00   56.65   $    8.85         $   108.23   $    108.23
  6/16/2019 Ramon Antonio Cueto             $13.00   57.08   $    8.85         $   111.04   $    111.04
  6/23/2019 Ramon Antonio Cueto             $13.00   54.88   $    8.85         $    96.74   $     96.74
   7/7/2019 Ramon Antonio Cueto             $13.00   47.10   $   10.00         $    46.15   $     46.15



                                              563
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 565 of 683 PageID: 1412
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  7/14/2019 Ramon Antonio Cueto             $13.00   58.15   $   10.00         $   117.98   $    117.98
  7/21/2019 Ramon Antonio Cueto             $13.00   46.82   $   10.00         $    44.31   $     44.31
  7/28/2019 Ramon Antonio Cueto             $13.00   56.35   $   10.00         $   106.28   $    106.28
   8/4/2019 Ramon Antonio Cueto             $13.00   49.90   $   10.00         $    64.35   $     64.35
  8/11/2019 Ramon Antonio Cueto             $13.00   62.72   $   10.00         $   147.66   $    147.66
  8/18/2019 Ramon Antonio Cueto             $13.00   52.50   $   10.00         $    81.25   $     81.25
  8/25/2019 Ramon Antonio Cueto             $13.00   53.98   $   10.00         $    90.89   $     90.89
   9/1/2019 Ramon Antonio Cueto             $13.00   64.00   $   10.00         $   156.00   $    156.00
   9/8/2019 Ramon Antonio Cueto             $13.00   60.67   $   10.00         $   134.33   $    134.33
  9/15/2019 Ramon Antonio Cueto             $13.00   60.98   $   10.00         $   136.39   $    136.39
  9/22/2019 Ramon Antonio Cueto             $13.00   61.62   $   10.00         $   140.51   $    140.51
  9/29/2019 Ramon Antonio Cueto             $13.00   61.57   $   10.00         $   140.18   $    140.18
  10/6/2019 Ramon Antonio Cueto             $13.00   54.63   $   10.00         $    95.12   $     95.12
 10/13/2019 Ramon Antonio Cueto             $13.00   41.72   $   10.00         $    11.16   $     11.16
 10/20/2019 Ramon Antonio Cueto             $14.00   54.60   $   10.00         $   102.20   $    102.20
 10/27/2019 Ramon Antonio Cueto             $14.00   52.90   $   10.00         $    90.30   $     90.30
 11/10/2019 Ramon Antonio Cueto             $14.00   46.70   $   10.00         $    46.90   $     46.90
  12/1/2019 Ramon Antonio Cueto             $14.00   44.17   $   10.00         $    29.17   $     29.17
  12/8/2019 Ramon Antonio Cueto             $14.00   42.85   $   10.00         $    19.95   $     19.95
 12/15/2019 Ramon Antonio Cueto             $13.00   51.70   $   10.00         $    76.05   $     76.05
 12/22/2019 Ramon Antonio Cueto             $13.00   52.30   $   10.00         $    79.95   $     79.95
  1/12/2020 Ramon Antonio Cueto             $13.00   55.18   $   11.00         $    98.69   $     98.69
  1/19/2020 Ramon Antonio Cueto             $13.00   46.97   $   11.00         $    45.28   $     45.28
  1/26/2020 Ramon Antonio Cueto             $13.00   43.97   $   11.00         $    25.78   $     25.78
   2/5/2017 Ramón Duran                     $10.50   52.37   $    8.44         $    64.93   $     64.93
  2/12/2017 Ramón Duran                     $10.50   44.05   $    8.44         $    21.26   $     21.26
  2/19/2017 Ramón Duran                     $10.50   40.98   $    8.44         $     5.16   $      5.16
  2/26/2017 Ramón Duran                     $10.50   59.58   $    8.44         $   102.81   $    102.81
   3/5/2017 Ramón Duran                     $10.50   60.17   $    8.44         $   105.88   $    105.88
  3/12/2017 Ramón Duran                     $10.50   55.38   $    8.44         $    80.76   $     80.76
  3/26/2017 Ramón Duran                     $10.50   43.10   $    8.44         $    16.28   $     16.28
   4/2/2017 Ramón Duran                     $10.50   59.33   $    8.44         $   101.50   $    101.50
   4/9/2017 Ramón Duran                     $10.50   57.47   $    8.44         $    91.70   $     91.70
  4/16/2017 Ramón Duran                     $10.50   55.22   $    8.44         $    79.89   $     79.89
  4/23/2017 Ramón Duran                     $10.50   51.82   $    8.44         $    62.04   $     62.04
  4/30/2017 Ramón Duran                     $10.50   54.67   $    8.44         $    77.00   $     77.00
   5/7/2017 Ramón Duran                     $10.50   52.28   $    8.44         $    64.49   $     64.49
  5/14/2017 Ramón Duran                     $10.50   46.45   $    8.44         $    33.86   $     33.86
  5/21/2017 Ramón Duran                     $10.50   51.43   $    8.44         $    60.03   $     60.03
  5/28/2017 Ramón Duran                     $10.50   44.28   $    8.44         $    22.49   $     22.49
  6/25/2017 Ramón Duran                     $10.50   51.45   $    8.44         $    60.11   $     60.11
   7/2/2017 Ramón Duran                     $10.50   45.98   $    8.44         $    31.41   $     31.41
   7/9/2017 Ramón Duran                     $10.50   41.35   $    8.44         $     7.09   $      7.09
  7/16/2017 Ramón Duran                     $10.50   50.63   $    8.44         $    55.83   $     55.83
  7/23/2017 Ramón Duran                     $10.50   51.33   $    8.44         $    59.50   $     59.50
  7/30/2017 Ramón Duran                     $10.50   48.72   $    8.44         $    45.76   $     45.76
   8/6/2017 Ramón Duran                     $10.50   49.07   $    8.44         $    47.60   $     47.60
  8/13/2017 Ramón Duran                     $10.50   49.32   $    8.44         $    48.91   $     48.91
  8/20/2017 Ramón Duran                     $10.50   41.05   $    8.44         $     5.51   $      5.51
  8/27/2017 Ramón Duran                     $10.50   46.03   $    8.44         $    31.68   $     31.68



                                              564
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 566 of 683 PageID: 1413
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

   9/3/2017 Ramón Duran                      $10.50   46.50   $    8.44               $    34.13   $    34.13
  9/10/2017 Ramón Duran                      $10.50   46.95   $    8.44               $    36.49   $    36.49
  9/17/2017 Ramón Duran                      $10.50   49.20   $    8.44               $    48.30   $    48.30
  9/24/2017 Ramón Duran                      $10.50   53.83   $    8.44               $    72.63   $    72.63
  10/1/2017 Ramón Duran                      $10.50   43.43   $    8.44               $    18.03   $    18.03
  10/8/2017 Ramón Duran                      $10.50   50.00   $    8.44               $    52.50   $    52.50
 10/15/2017 Ramón Duran                      $10.50   44.48   $    8.44               $    23.54   $    23.54
 10/22/2017 Ramón Duran                      $10.50   48.02   $    8.44               $    42.09   $    42.09
  11/5/2017 Ramón Duran                      $10.50   47.43   $    8.44               $    39.03   $    39.03
 11/12/2017 Ramón Duran                      $10.50   45.10   $    8.44               $    26.78   $    26.78
 11/19/2017 Ramón Duran                      $10.50   50.73   $    8.44               $    56.35   $    56.35
  12/3/2017 Ramón Duran                      $10.50   44.70   $    8.44               $    24.68   $    24.68
 12/10/2017 Ramón Duran                      $10.50   43.37   $    8.44               $    17.68   $    17.68
 12/17/2017 Ramón Duran                      $10.50   47.38   $    8.44               $    38.76   $    38.76
 12/24/2017 Ramón Duran                      $10.50   45.37   $    8.44               $    28.18   $    28.18
  1/14/2018 Ramón Duran                      $10.50   46.15   $    8.60               $    32.29   $    32.29
  1/21/2018 Ramón Duran                      $10.50   46.32   $    8.60               $    33.16   $    33.16
  1/28/2018 Ramón Duran                      $10.50   48.18   $    8.60               $    42.96   $    42.96
   2/4/2018 Ramón Duran                      $10.50   55.33   $    8.60               $    80.50   $    80.50
  2/11/2018 Ramón Duran                      $10.50   47.83   $    8.60               $    41.13   $    41.13
  2/18/2018 Ramón Duran                      $10.50   47.63   $    8.60               $    40.08   $    40.08
  2/25/2018 Ramón Duran                      $10.50   40.18   $    8.60               $     0.96   $     0.96
 10/20/2019 Ramon Eduardo Ulloa              $11.00   50.77   $   10.00               $    59.22   $    59.22
 10/27/2019 Ramon Eduardo Ulloa              $11.00   60.77   $   10.00               $   114.22   $   114.22
  11/3/2019 Ramon Eduardo Ulloa              $11.00   61.50   $   10.00               $   118.25   $   118.25
 11/10/2019 Ramon Eduardo Ulloa              $11.00   59.67   $   10.00               $   108.17   $   108.17
 11/24/2019 Ramon Eduardo Ulloa              $11.00   48.58   $   10.00               $    47.21   $    47.21
  12/1/2019 Ramon Eduardo Ulloa              $11.00   49.18   $   10.00               $    50.51   $    50.51
  12/8/2019 Ramon Eduardo Ulloa              $11.00   59.13   $   10.00               $   105.23   $   105.23
 12/15/2019 Ramon Eduardo Ulloa              $11.00   53.43   $   10.00               $    73.88   $    73.88
 12/22/2019 Ramon Eduardo Ulloa              $11.00   64.05   $   10.00               $   132.28   $   132.28
 12/29/2019 Ramon Eduardo Ulloa              $11.00   48.18   $   10.00               $    45.01   $    45.01
   1/5/2020 Ramon Eduardo Ulloa              $11.00   49.62   $   11.00               $    52.89   $    52.89
  1/12/2020 Ramon Eduardo Ulloa              $11.00   69.43   $   11.00               $   161.88   $   161.88
  1/19/2020 Ramon Eduardo Ulloa              $11.00   66.60   $   11.00               $   146.30   $   146.30
  1/26/2020 Ramon Eduardo Ulloa              $11.00   46.55   $   11.00               $    36.03   $    36.03
   8/5/2018 Ramon Peralta                     $9.50   57.72   $    8.60               $    84.15   $    84.15
  8/12/2018 Ramon Peralta                     $9.50   53.83   $    8.60               $    65.71   $    65.71
  8/19/2018 Ramon Peralta                     $9.50   59.45   $    8.60               $    92.39   $    92.39
  8/26/2018 Ramon Peralta                     $9.50   40.18   $    8.60               $     0.87   $     0.87
   9/2/2018 Ramon Peralta                     $9.50   59.03   $    8.60               $    90.41   $    90.41
   9/9/2018 Ramon Peralta                     $9.50   53.25   $    8.60               $    62.94   $    62.94
  9/16/2018 Ramon Peralta                     $9.50   59.02   $    8.60               $    90.33   $    90.33
   1/5/2020 Ramon Portillo Nunez             $10.00   53.67   $   11.00   $   53.67   $    75.17   $   128.83
  1/12/2020 Ramon Portillo Nunez             $10.00   49.75   $   11.00   $   49.75   $    53.63   $   103.38
  1/19/2020 Ramon Portillo Nunez             $10.00   55.18   $   11.00   $   55.18   $    83.51   $   138.69
  1/26/2020 Ramon Portillo Nunez             $10.00   62.65   $   11.00   $   62.65   $   124.58   $   187.23
 12/16/2018 Randolfo Israel Saquic            $8.60   54.05   $    8.60               $    60.42   $    60.42
 12/23/2018 Randolfo Israel Saquic            $8.60   50.48   $    8.60               $    45.08   $    45.08
 12/16/2018 Randolfo Virula Cardona          $12.50   63.07   $    8.60               $   144.17   $   144.17



                                               565
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 567 of 683 PageID: 1414
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

 12/23/2018 Randolfo Virula Cardona          $12.50   60.33   $   8.60          $   127.08   $    127.08
 12/30/2018 Randolfo Virula Cardona          $12.50   48.85   $   8.60          $    55.31   $     55.31
   1/6/2019 Randolfo Virula Cardona          $12.50   44.30   $   8.85          $    26.88   $     26.88
  1/13/2019 Randolfo Virula Cardona          $12.50   50.75   $   8.85          $    67.19   $     67.19
  1/20/2019 Randolfo Virula Cardona          $12.50   64.77   $   8.85          $   154.79   $    154.79
  1/27/2019 Randolfo Virula Cardona          $12.50   51.87   $   8.85          $    74.17   $     74.17
   2/3/2019 Randolfo Virula Cardona          $12.50   62.83   $   8.85          $   142.71   $    142.71
  2/10/2019 Randolfo Virula Cardona          $12.50   61.93   $   8.85          $   137.08   $    137.08
  2/17/2019 Randolfo Virula Cardona          $12.50   59.23   $   8.85          $   120.21   $    120.21
  2/24/2019 Randolfo Virula Cardona          $12.50   62.62   $   8.85          $   141.35   $    141.35
   3/3/2019 Randolfo Virula Cardona          $12.50   63.37   $   8.85          $   146.04   $    146.04
  3/10/2019 Randolfo Virula Cardona          $12.50   64.32   $   8.85          $   151.98   $    151.98
  3/17/2019 Randolfo Virula Cardona          $12.50   63.78   $   8.85          $   148.65   $    148.65
  3/24/2019 Randolfo Virula Cardona          $12.50   65.65   $   8.85          $   160.31   $    160.31
  3/31/2019 Randolfo Virula Cardona          $12.50   65.73   $   8.85          $   160.83   $    160.83
   4/7/2019 Randolfo Virula Cardona          $12.50   58.33   $   8.85          $   114.58   $    114.58
  4/14/2019 Randolfo Virula Cardona          $12.50   59.67   $   8.85          $   122.92   $    122.92
  4/21/2019 Randolfo Virula Cardona          $12.50   56.38   $   8.85          $   102.40   $    102.40
  4/28/2019 Randolfo Virula Cardona          $12.50   57.25   $   8.85          $   107.81   $    107.81
   5/5/2019 Randolfo Virula Cardona          $12.50   69.33   $   8.85          $   183.33   $    183.33
  5/12/2019 Randolfo Virula Cardona          $12.50   62.48   $   8.85          $   140.52   $    140.52
  5/19/2019 Randolfo Virula Cardona          $12.50   74.65   $   8.85          $   216.56   $    216.56
  5/26/2019 Randolfo Virula Cardona          $12.50   59.55   $   8.85          $   122.19   $    122.19
   6/2/2019 Randolfo Virula Cardona          $12.50   70.57   $   8.85          $   191.04   $    191.04
   6/9/2019 Randolfo Virula Cardona          $12.50   58.32   $   8.85          $   114.48   $    114.48
  6/16/2019 Randolfo Virula Cardona          $12.50   57.18   $   8.85          $   107.40   $    107.40
  6/23/2019 Randolfo Virula Cardona          $12.50   47.55   $   8.85          $    47.19   $     47.19
  11/5/2017 Randulfo Virula                  $12.00   51.72   $   8.44          $    70.30   $     70.30
 12/23/2018 Raul M. Placensia                $12.00   54.20   $   8.60          $    85.20   $     85.20
 12/30/2018 Raul M. Placensia                $12.00   48.70   $   8.60          $    52.20   $     52.20
   1/6/2019 Raul M. Placensia                $12.00   47.65   $   8.85          $    45.90   $     45.90
  1/13/2019 Raul M. Placensia                $12.00   58.85   $   8.85          $   113.10   $    113.10
  1/20/2019 Raul M. Placensia                $12.00   57.92   $   8.85          $   107.50   $    107.50
  1/27/2019 Raul M. Placensia                $12.00   58.58   $   8.85          $   111.50   $    111.50
   2/3/2019 Raul M. Placensia                $12.00   49.02   $   8.85          $    54.10   $     54.10
  2/10/2019 Raul M. Placensia                $12.00   60.03   $   8.85          $   120.20   $    120.20
  2/17/2019 Raul M. Placensia                $12.00   60.00   $   8.85          $   120.00   $    120.00
  2/24/2019 Raul M. Placensia                $12.00   60.42   $   8.85          $   122.50   $    122.50
   3/3/2019 Raul M. Placensia                $12.00   60.10   $   8.85          $   120.60   $    120.60
  3/10/2019 Raul M. Placensia                $12.00   60.65   $   8.85          $   123.90   $    123.90
  3/17/2019 Raul M. Placensia                $12.00   60.20   $   8.85          $   121.20   $    121.20
  3/24/2019 Raul M. Placensia                $12.00   60.63   $   8.85          $   123.80   $    123.80
  3/31/2019 Raul M. Placensia                $12.00   60.43   $   8.85          $   122.60   $    122.60
   4/7/2019 Raul M. Placensia                $12.00   60.82   $   8.85          $   124.90   $    124.90
  4/14/2019 Raul M. Placensia                $12.00   60.67   $   8.85          $   124.00   $    124.00
  4/21/2019 Raul M. Placensia                $12.00   60.42   $   8.85          $   122.50   $    122.50
  4/28/2019 Raul M. Placensia                $12.00   60.83   $   8.85          $   125.00   $    125.00
   5/5/2019 Raul M. Placensia                $12.00   60.82   $   8.85          $   124.90   $    124.90
  5/12/2019 Raul M. Placensia                $12.00   60.75   $   8.85          $   124.50   $    124.50
  5/19/2019 Raul M. Placensia                $12.00   60.65   $   8.85          $   123.90   $    123.90



                                               566
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 568 of 683 PageID: 1415
                                                   Exhibit 2
                                           New Jersey Computations


   Week                                                           State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
  Ending                       Name                             Minumum Regular    Half-Time Overtime Back
                                                   Rate Week
   Date                                                           Wage  Rate Due     Due       Wages Due

  5/26/2019 Raul M. Placensia                     $12.00   60.45   $    8.85         $   122.70   $    122.70
   6/2/2019 Raul M. Placensia                     $12.00   50.25   $    8.85         $    61.50   $     61.50
   6/9/2019 Raul M. Placensia                     $12.00   60.88   $    8.85         $   125.30   $    125.30
  6/16/2019 Raul M. Placensia                     $12.00   60.73   $    8.85         $   124.40   $    124.40
  6/23/2019 Raul M. Placensia                     $12.00   40.28   $    8.85         $     1.70   $      1.70
  6/30/2019 Raul M. Placensia                     $12.00   42.08   $   10.00         $    12.50   $     12.50
   7/7/2019 Raul M. Placensia                     $12.00   50.48   $   10.00         $    62.90   $     62.90
  7/14/2019 Raul M. Placensia                     $12.00   60.95   $   10.00         $   125.70   $    125.70
  7/21/2019 Raul M. Placensia                     $12.00   61.32   $   10.00         $   127.90   $    127.90
  7/28/2019 Raul M. Placensia                     $12.00   61.40   $   10.00         $   128.40   $    128.40
   8/4/2019 Raul M. Placensia                     $12.00   52.15   $   10.00         $    72.90   $     72.90
  8/11/2019 Raul M. Placensia                     $12.00   60.67   $   10.00         $   124.00   $    124.00
  8/18/2019 Raul M. Placensia                     $12.00   50.77   $   10.00         $    64.60   $     64.60
  8/25/2019 Raul M. Placensia                     $12.00   52.47   $   10.00         $    74.80   $     74.80
   9/1/2019 Raul M. Placensia                     $12.00   52.82   $   10.00         $    76.90   $     76.90
   9/8/2019 Raul M. Placensia                     $12.00   50.27   $   10.00         $    61.60   $     61.60
  9/15/2019 Raul M. Placensia                     $12.00   61.15   $   10.00         $   126.90   $    126.90
  9/22/2019 Raul M. Placensia                     $12.00   61.27   $   10.00         $   127.60   $    127.60
  9/29/2019 Raul M. Placensia                     $12.00   52.62   $   10.00         $    75.70   $     75.70
  10/6/2019 Raul M. Placensia                     $12.00   60.83   $   10.00         $   125.00   $    125.00
 10/13/2019 Raul M. Placensia                     $12.00   61.25   $   10.00         $   127.50   $    127.50
 10/20/2019 Raul M. Placensia                     $12.00   61.13   $   10.00         $   126.80   $    126.80
 10/27/2019 Raul M. Placensia                     $12.00   61.38   $   10.00         $   128.30   $    128.30
  11/3/2019 Raul M. Placensia                     $12.00   61.08   $   10.00         $   126.50   $    126.50
 11/10/2019 Raul M. Placensia                     $12.00   61.78   $   10.00         $   130.70   $    130.70
 11/17/2019 Raul M. Placensia                     $12.00   61.03   $   10.00         $   126.20   $    126.20
 11/24/2019 Raul M. Placensia                     $12.00   61.48   $   10.00         $   128.90   $    128.90
  12/1/2019 Raul M. Placensia                     $12.00   50.78   $   10.00         $    64.70   $     64.70
  12/8/2019 Raul M. Placensia                     $12.00   61.08   $   10.00         $   126.50   $    126.50
 12/15/2019 Raul M. Placensia                     $12.00   61.50   $   10.00         $   129.00   $    129.00
 12/22/2019 Raul M. Placensia                     $12.00   52.82   $   10.00         $    76.90   $     76.90
  1/19/2020 Raul M. Placensia                     $12.00   60.87   $   11.00         $   125.20   $    125.20
  1/26/2020 Raul M. Placensia                     $12.00   61.53   $   11.00         $   129.20   $    129.20
  12/9/2018 Raul Martinez                         $10.00   43.27   $    8.60         $    16.33   $     16.33
 12/30/2018 Raul Martinez                         $10.00   43.47   $    8.60         $    17.33   $     17.33
  1/20/2019 Raul Martinez                         $10.00   44.02   $    8.85         $    20.08   $     20.08
  1/27/2019 Raul Martinez                         $10.00   46.80   $    8.85         $    34.00   $     34.00
  1/19/2020 Raul Octavio Coronel Ordonez          $11.00   63.53   $   11.00         $   129.43   $    129.43
  1/26/2020 Raul Octavio Coronel Ordonez          $11.00   62.17   $   11.00         $   121.92   $    121.92
   2/5/2017 Raul Soberanes                        $10.00   63.90   $    8.44         $   119.50   $    119.50
  2/12/2017 Raul Soberanes                        $10.00   50.92   $    8.44         $    54.58   $     54.58
  2/19/2017 Raul Soberanes                        $10.00   69.27   $    8.44         $   146.33   $    146.33
  2/26/2017 Raul Soberanes                        $10.00   69.18   $    8.44         $   145.92   $    145.92
   3/5/2017 Raul Soberanes                        $10.00   69.52   $    8.44         $   147.58   $    147.58
  3/12/2017 Raul Soberanes                        $10.00   62.33   $    8.44         $   111.67   $    111.67
  3/19/2017 Raul Soberanes                        $10.00   54.50   $    8.44         $    72.50   $     72.50
  3/26/2017 Raul Soberanes                        $10.00   69.43   $    8.44         $   147.17   $    147.17
   4/2/2017 Raul Soberanes                        $10.00   70.43   $    8.44         $   152.17   $    152.17
   4/9/2017 Raul Soberanes                        $10.00   68.63   $    8.44         $   143.17   $    143.17
  4/16/2017 Raul Soberanes                        $10.00   66.23   $    8.44         $   131.17   $    131.17



                                                    567
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 569 of 683 PageID: 1416
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

  4/23/2017 Raul Soberanes                 $10.00   66.13   $   8.44          $   130.67   $    130.67
  4/30/2017 Raul Soberanes                 $10.00   63.93   $   8.44          $   119.67   $    119.67
   5/7/2017 Raul Soberanes                 $10.00   53.10   $   8.44          $    65.50   $     65.50
  5/14/2017 Raul Soberanes                 $10.00   58.28   $   8.44          $    91.42   $     91.42
  5/21/2017 Raul Soberanes                 $10.00   65.88   $   8.44          $   129.42   $    129.42
  5/28/2017 Raul Soberanes                 $10.00   59.98   $   8.44          $    99.92   $     99.92
   6/4/2017 Raul Soberanes                 $10.00   63.67   $   8.44          $   118.33   $    118.33
  6/11/2017 Raul Soberanes                 $10.00   60.97   $   8.44          $   104.83   $    104.83
  6/18/2017 Raul Soberanes                 $10.00   66.32   $   8.44          $   131.58   $    131.58
  6/25/2017 Raul Soberanes                 $10.00   65.20   $   8.44          $   126.00   $    126.00
   7/2/2017 Raul Soberanes                 $10.00   64.23   $   8.44          $   121.17   $    121.17
   7/9/2017 Raul Soberanes                 $10.00   62.73   $   8.44          $   113.67   $    113.67
  7/16/2017 Raul Soberanes                 $10.00   60.53   $   8.44          $   102.67   $    102.67
  7/23/2017 Raul Soberanes                 $10.00   65.93   $   8.44          $   129.67   $    129.67
  7/30/2017 Raul Soberanes                 $10.00   65.98   $   8.44          $   129.92   $    129.92
   8/6/2017 Raul Soberanes                 $10.00   64.38   $   8.44          $   121.92   $    121.92
  8/13/2017 Raul Soberanes                 $10.00   65.68   $   8.44          $   128.42   $    128.42
  8/20/2017 Raul Soberanes                 $10.00   65.07   $   8.44          $   125.33   $    125.33
  8/27/2017 Raul Soberanes                 $10.00   65.15   $   8.44          $   125.75   $    125.75
   9/3/2017 Raul Soberanes                 $10.00   64.83   $   8.44          $   124.17   $    124.17
  9/10/2017 Raul Soberanes                 $10.00   60.10   $   8.44          $   100.50   $    100.50
  9/17/2017 Raul Soberanes                 $10.00   67.07   $   8.44          $   135.33   $    135.33
  9/24/2017 Raul Soberanes                 $10.00   65.27   $   8.44          $   126.33   $    126.33
  10/1/2017 Raul Soberanes                 $10.00   60.15   $   8.44          $   100.75   $    100.75
  10/8/2017 Raul Soberanes                 $10.00   59.58   $   8.44          $    97.92   $     97.92
 10/15/2017 Raul Soberanes                 $10.00   59.18   $   8.44          $    95.92   $     95.92
 10/22/2017 Raul Soberanes                 $10.00   60.35   $   8.44          $   101.75   $    101.75
 10/29/2017 Raul Soberanes                 $10.00   61.05   $   8.44          $   105.25   $    105.25
  11/5/2017 Raul Soberanes                 $10.00   66.68   $   8.44          $   133.42   $    133.42
 11/12/2017 Raul Soberanes                 $10.00   60.58   $   8.44          $   102.92   $    102.92
 11/19/2017 Raul Soberanes                 $10.00   60.17   $   8.44          $   100.83   $    100.83
 11/26/2017 Raul Soberanes                 $10.00   50.50   $   8.44          $    52.50   $     52.50
  12/3/2017 Raul Soberanes                 $10.00   64.57   $   8.44          $   122.83   $    122.83
 12/10/2017 Raul Soberanes                 $10.00   56.18   $   8.44          $    80.92   $     80.92
 12/17/2017 Raul Soberanes                 $10.00   59.40   $   8.44          $    97.00   $     97.00
 12/24/2017 Raul Soberanes                 $10.00   73.00   $   8.44          $   165.00   $    165.00
 12/31/2017 Raul Soberanes                 $10.00   67.00   $   8.44          $   135.00   $    135.00
   1/7/2018 Raul Soberanes                 $10.00   71.40   $   8.60          $   157.00   $    157.00
  1/14/2018 Raul Soberanes                 $10.00   60.15   $   8.60          $   100.75   $    100.75
  1/21/2018 Raul Soberanes                 $10.00   55.35   $   8.60          $    76.75   $     76.75
  1/28/2018 Raul Soberanes                 $10.00   58.78   $   8.60          $    93.92   $     93.92
   2/4/2018 Raul Soberanes                 $10.00   63.48   $   8.60          $   117.42   $    117.42
  2/11/2018 Raul Soberanes                 $10.00   61.88   $   8.60          $   109.42   $    109.42
  2/18/2018 Raul Soberanes                 $10.00   60.83   $   8.60          $   104.17   $    104.17
  2/25/2018 Raul Soberanes                 $10.00   63.62   $   8.60          $   118.08   $    118.08
   3/4/2018 Raul Soberanes                 $10.00   57.90   $   8.60          $    89.50   $     89.50
  3/25/2018 Raul Soberanes                 $10.00   51.45   $   8.60          $    57.25   $     57.25
   4/1/2018 Raul Soberanes                 $10.00   54.97   $   8.60          $    74.83   $     74.83
   4/8/2018 Raul Soberanes                 $10.00   57.93   $   8.60          $    89.67   $     89.67
  4/15/2018 Raul Soberanes                 $10.00   54.37   $   8.60          $    71.83   $     71.83



                                             568
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 570 of 683 PageID: 1417
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

  4/22/2018 Raul Soberanes                 $10.00   48.80   $   8.60          $    44.00   $     44.00
  4/29/2018 Raul Soberanes                 $10.00   54.75   $   8.60          $    73.75   $     73.75
   5/6/2018 Raul Soberanes                 $10.00   57.58   $   8.60          $    87.92   $     87.92
  5/13/2018 Raul Soberanes                 $10.00   51.45   $   8.60          $    57.25   $     57.25
  5/20/2018 Raul Soberanes                 $10.00   58.42   $   8.60          $    92.08   $     92.08
  5/27/2018 Raul Soberanes                 $10.00   57.55   $   8.60          $    87.75   $     87.75
   6/3/2018 Raul Soberanes                 $10.00   55.02   $   8.60          $    75.08   $     75.08
  6/10/2018 Raul Soberanes                 $10.00   57.22   $   8.60          $    86.08   $     86.08
  6/17/2018 Raul Soberanes                 $10.00   59.82   $   8.60          $    99.08   $     99.08
  6/24/2018 Raul Soberanes                 $10.00   69.65   $   8.60          $   148.25   $    148.25
   7/1/2018 Raul Soberanes                 $10.00   55.77   $   8.60          $    78.83   $     78.83
   7/8/2018 Raul Soberanes                 $10.00   48.00   $   8.60          $    40.00   $     40.00
  7/15/2018 Raul Soberanes                 $10.00   59.98   $   8.60          $    99.92   $     99.92
  7/22/2018 Raul Soberanes                 $10.00   60.38   $   8.60          $   101.92   $    101.92
  7/29/2018 Raul Soberanes                 $10.00   60.03   $   8.60          $   100.17   $    100.17
   8/5/2018 Raul Soberanes                 $10.00   59.15   $   8.60          $    95.75   $     95.75
  8/12/2018 Raul Soberanes                 $10.00   60.35   $   8.60          $   101.75   $    101.75
   2/5/2017 Raul Uz                        $10.00   68.98   $   8.44          $   144.92   $    144.92
  2/12/2017 Raul Uz                        $10.00   59.67   $   8.44          $    98.33   $     98.33
  2/19/2017 Raul Uz                        $10.00   69.97   $   8.44          $   149.83   $    149.83
  2/26/2017 Raul Uz                        $10.00   69.43   $   8.44          $   147.17   $    147.17
   3/5/2017 Raul Uz                        $10.00   74.17   $   8.44          $   170.83   $    170.83
  3/12/2017 Raul Uz                        $10.00   70.02   $   8.44          $   150.08   $    150.08
  3/19/2017 Raul Uz                        $10.00   56.90   $   8.44          $    84.50   $     84.50
  3/26/2017 Raul Uz                        $10.00   67.12   $   8.44          $   135.58   $    135.58
   4/2/2017 Raul Uz                        $10.00   66.32   $   8.44          $   131.58   $    131.58
   4/9/2017 Raul Uz                        $10.00   65.20   $   8.44          $   126.00   $    126.00
  4/16/2017 Raul Uz                        $10.00   68.93   $   8.44          $   144.67   $    144.67
  4/23/2017 Raul Uz                        $10.00   68.68   $   8.44          $   143.42   $    143.42
  4/30/2017 Raul Uz                        $10.00   72.80   $   8.44          $   164.00   $    164.00
   5/7/2017 Raul Uz                        $10.00   69.07   $   8.44          $   145.33   $    145.33
  5/14/2017 Raul Uz                        $10.00   75.10   $   8.44          $   175.50   $    175.50
  5/21/2017 Raul Uz                        $10.00   70.18   $   8.44          $   150.92   $    150.92
  5/28/2017 Raul Uz                        $10.00   69.82   $   8.44          $   149.08   $    149.08
   6/4/2017 Raul Uz                        $10.00   53.50   $   8.44          $    67.50   $     67.50
  6/11/2017 Raul Uz                        $10.00   81.92   $   8.44          $   209.58   $    209.58
  6/18/2017 Raul Uz                        $10.00   69.93   $   8.44          $   149.67   $    149.67
  6/25/2017 Raul Uz                        $10.00   77.85   $   8.44          $   189.25   $    189.25
   7/2/2017 Raul Uz                        $10.00   69.60   $   8.44          $   148.00   $    148.00
   7/9/2017 Raul Uz                        $10.00   69.57   $   8.44          $   147.83   $    147.83
  7/16/2017 Raul Uz                        $10.00   55.63   $   8.44          $    78.17   $     78.17
  8/20/2017 Reginal Rabel                  $10.00   57.08   $   8.44          $    85.42   $     85.42
  8/27/2017 Reginal Rabel                  $10.00   56.42   $   8.44          $    82.08   $     82.08
   9/3/2017 Reginal Rabel                  $10.00   57.65   $   8.44          $    88.25   $     88.25
  9/10/2017 Reginal Rabel                  $10.00   53.88   $   8.44          $    69.42   $     69.42
  9/17/2017 Reginal Rabel                  $10.00   56.50   $   8.44          $    82.50   $     82.50
  9/24/2017 Reginal Rabel                  $10.00   48.68   $   8.44          $    43.42   $     43.42
  10/1/2017 Reginal Rabel                  $10.00   57.65   $   8.44          $    88.25   $     88.25
  10/8/2017 Reginal Rabel                  $10.00   57.23   $   8.44          $    86.17   $     86.17
 10/15/2017 Reginal Rabel                  $10.00   57.42   $   8.44          $    87.08   $     87.08



                                             569
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 571 of 683 PageID: 1418
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

 10/22/2017 Reginal Rabel                 $10.00   57.40   $   8.44          $    87.00   $     87.00
 10/29/2017 Reginal Rabel                 $10.00   57.20   $   8.44          $    86.00   $     86.00
  11/5/2017 Reginal Rabel                 $10.00   57.35   $   8.44          $    86.75   $     86.75
 11/12/2017 Reginal Rabel                 $10.00   57.33   $   8.44          $    86.67   $     86.67
 11/19/2017 Reginal Rabel                 $10.00   57.12   $   8.44          $    85.58   $     85.58
 11/26/2017 Reginal Rabel                 $10.00   40.02   $   8.44          $     0.08   $      0.08
  12/3/2017 Reginal Rabel                 $10.00   57.07   $   8.44          $    85.33   $     85.33
 12/10/2017 Reginal Rabel                 $10.00   57.10   $   8.44          $    85.50   $     85.50
 12/17/2017 Reginal Rabel                 $10.00   57.13   $   8.44          $    85.67   $     85.67
 12/24/2017 Reginal Rabel                 $10.00   57.08   $   8.44          $    85.42   $     85.42
   1/7/2018 Reginal Rabel                 $10.00   43.70   $   8.60          $    18.50   $     18.50
  1/14/2018 Reginal Rabel                 $10.00   57.17   $   8.60          $    85.83   $     85.83
  1/21/2018 Reginal Rabel                 $10.00   56.58   $   8.60          $    82.92   $     82.92
  1/28/2018 Reginal Rabel                 $10.00   57.43   $   8.60          $    87.17   $     87.17
   2/4/2018 Reginal Rabel                 $10.00   57.28   $   8.60          $    86.42   $     86.42
  2/11/2018 Reginal Rabel                 $10.00   57.00   $   8.60          $    85.00   $     85.00
  2/18/2018 Reginal Rabel                 $10.00   56.88   $   8.60          $    84.42   $     84.42
  2/25/2018 Reginal Rabel                 $10.00   57.62   $   8.60          $    88.08   $     88.08
   3/4/2018 Reginal Rabel                 $10.00   61.07   $   8.60          $   105.33   $    105.33
  3/25/2018 Reginal Rabel                 $10.00   60.35   $   8.60          $   101.75   $    101.75
   4/1/2018 Reginal Rabel                 $10.00   51.18   $   8.60          $    55.92   $     55.92
   4/8/2018 Reginal Rabel                 $10.00   55.90   $   8.60          $    79.50   $     79.50
  4/15/2018 Reginal Rabel                 $10.00   67.48   $   8.60          $   137.42   $    137.42
  4/22/2018 Reginal Rabel                 $10.00   71.62   $   8.60          $   158.08   $    158.08
  4/29/2018 Reginal Rabel                 $10.00   76.12   $   8.60          $   180.58   $    180.58
   5/6/2018 Reginal Rabel                 $10.00   74.57   $   8.60          $   172.83   $    172.83
  5/13/2018 Reginal Rabel                 $10.00   75.23   $   8.60          $   176.17   $    176.17
  5/20/2018 Reginal Rabel                 $10.00   74.00   $   8.60          $   170.00   $    170.00
  5/27/2018 Reginal Rabel                 $10.00   74.88   $   8.60          $   174.42   $    174.42
   6/3/2018 Reginal Rabel                 $10.00   63.30   $   8.60          $   116.50   $    116.50
  6/10/2018 Reginal Rabel                 $10.00   75.52   $   8.60          $   177.58   $    177.58
  6/17/2018 Reginal Rabel                 $10.00   78.17   $   8.60          $   190.83   $    190.83
  6/24/2018 Reginal Rabel                 $10.00   74.48   $   8.60          $   172.42   $    172.42
   7/1/2018 Reginal Rabel                 $10.00   78.00   $   8.60          $   190.00   $    190.00
   7/8/2018 Reginal Rabel                 $10.00   63.20   $   8.60          $   116.00   $    116.00
  7/15/2018 Reginal Rabel                 $10.00   68.87   $   8.60          $   144.33   $    144.33
  7/22/2018 Reginal Rabel                 $10.00   74.03   $   8.60          $   170.17   $    170.17
  7/29/2018 Reginal Rabel                 $10.00   73.38   $   8.60          $   166.92   $    166.92
   8/5/2018 Reginal Rabel                 $10.00   75.20   $   8.60          $   176.00   $    176.00
  8/12/2018 Reginal Rabel                 $10.00   74.33   $   8.60          $   171.67   $    171.67
  8/19/2018 Reginal Rabel                 $10.00   76.75   $   8.60          $   183.75   $    183.75
  8/26/2018 Reginal Rabel                 $10.00   75.10   $   8.60          $   175.50   $    175.50
   9/2/2018 Reginal Rabel                 $10.00   80.38   $   8.60          $   201.92   $    201.92
   9/9/2018 Reginal Rabel                 $10.00   61.00   $   8.60          $   105.00   $    105.00
  9/16/2018 Reginal Rabel                 $10.00   75.48   $   8.60          $   177.42   $    177.42
  9/23/2018 Reginal Rabel                 $10.00   75.25   $   8.60          $   176.25   $    176.25
  9/30/2018 Reginal Rabel                 $10.00   76.92   $   8.60          $   184.58   $    184.58
  10/7/2018 Reginal Rabel                 $10.00   71.43   $   8.60          $   157.17   $    157.17
 10/14/2018 Reginal Rabel                 $10.00   63.50   $   8.60          $   117.50   $    117.50
 10/21/2018 Reginal Rabel                 $10.00   61.63   $   8.60          $   108.17   $    108.17



                                            570
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 572 of 683 PageID: 1419
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

 10/28/2018 Reginal Rabel                 $10.00   62.77   $    8.60         $   113.83   $    113.83
  11/4/2018 Reginal Rabel                 $10.00   66.95   $    8.60         $   134.75   $    134.75
 11/11/2018 Reginal Rabel                 $10.00   53.10   $    8.60         $    65.50   $     65.50
 11/18/2018 Reginal Rabel                 $10.00   53.97   $    8.60         $    69.83   $     69.83
 11/25/2018 Reginal Rabel                 $10.00   50.93   $    8.60         $    54.67   $     54.67
  12/2/2018 Reginal Rabel                 $10.00   61.12   $    8.60         $   105.58   $    105.58
  12/9/2018 Reginal Rabel                 $10.00   63.22   $    8.60         $   116.08   $    116.08
 12/16/2018 Reginal Rabel                 $10.00   61.30   $    8.60         $   106.50   $    106.50
 12/23/2018 Reginal Rabel                 $10.00   61.78   $    8.60         $   108.92   $    108.92
  1/13/2019 Reginal Rabel                 $10.00   66.63   $    8.85         $   133.17   $    133.17
  1/20/2019 Reginal Rabel                 $10.00   70.00   $    8.85         $   150.00   $    150.00
  1/27/2019 Reginal Rabel                 $10.00   69.48   $    8.85         $   147.42   $    147.42
   2/3/2019 Reginal Rabel                 $10.00   73.52   $    8.85         $   167.58   $    167.58
  2/10/2019 Reginal Rabel                 $10.00   75.02   $    8.85         $   175.08   $    175.08
  2/17/2019 Reginal Rabel                 $10.00   67.48   $    8.85         $   137.42   $    137.42
  2/24/2019 Reginal Rabel                 $10.00   72.17   $    8.85         $   160.83   $    160.83
   3/3/2019 Reginal Rabel                 $10.00   63.47   $    8.85         $   117.33   $    117.33
  3/10/2019 Reginal Rabel                 $10.00   72.27   $    8.85         $   161.33   $    161.33
  3/17/2019 Reginal Rabel                 $10.00   67.82   $    8.85         $   139.08   $    139.08
  3/24/2019 Reginal Rabel                 $10.00   68.90   $    8.85         $   144.50   $    144.50
  3/31/2019 Reginal Rabel                 $10.00   66.43   $    8.85         $   132.17   $    132.17
   4/7/2019 Reginal Rabel                 $10.00   67.95   $    8.85         $   139.75   $    139.75
  4/14/2019 Reginal Rabel                 $10.00   56.93   $    8.85         $    84.67   $     84.67
  4/21/2019 Reginal Rabel                 $10.00   62.82   $    8.85         $   114.08   $    114.08
  4/28/2019 Reginal Rabel                 $10.00   66.93   $    8.85         $   134.67   $    134.67
   5/5/2019 Reginal Rabel                 $10.00   64.58   $    8.85         $   122.92   $    122.92
  5/12/2019 Reginal Rabel                 $10.00   67.70   $    8.85         $   138.50   $    138.50
  5/19/2019 Reginal Rabel                 $10.00   66.37   $    8.85         $   131.83   $    131.83
  5/26/2019 Reginal Rabel                 $10.00   67.35   $    8.85         $   136.75   $    136.75
   6/2/2019 Reginal Rabel                 $10.00   53.05   $    8.85         $    65.25   $     65.25
   6/9/2019 Reginal Rabel                 $10.00   67.92   $    8.85         $   139.58   $    139.58
  6/16/2019 Reginal Rabel                 $10.00   65.92   $    8.85         $   129.58   $    129.58
  6/23/2019 Reginal Rabel                 $10.00   65.23   $    8.85         $   126.17   $    126.17
  6/30/2019 Reginal Rabel                 $10.00   59.12   $   10.00         $    95.58   $     95.58
   7/7/2019 Reginal Rabel                 $10.50   52.17   $   10.00         $    63.88   $     63.88
  7/14/2019 Reginal Rabel                 $10.50   59.88   $   10.00         $   104.39   $    104.39
  7/21/2019 Reginal Rabel                 $10.50   59.63   $   10.00         $   103.08   $    103.08
  7/28/2019 Reginal Rabel                 $10.50   42.72   $   10.00         $    14.26   $     14.26
   8/4/2019 Reginal Rabel                 $10.50   64.23   $   10.00         $   127.23   $    127.23
  8/11/2019 Reginal Rabel                 $10.50   61.87   $   10.00         $   114.80   $    114.80
  8/18/2019 Reginal Rabel                 $10.50   61.52   $   10.00         $   112.96   $    112.96
  8/25/2019 Reginal Rabel                 $10.50   60.28   $   10.00         $   106.49   $    106.49
   9/1/2019 Reginal Rabel                 $10.50   51.32   $   10.00         $    59.41   $     59.41
   9/8/2019 Reginal Rabel                 $10.50   47.93   $   10.00         $    41.65   $     41.65
  9/15/2019 Reginal Rabel                 $10.50   45.63   $   10.00         $    29.58   $     29.58
  9/22/2019 Reginal Rabel                 $10.50   62.45   $   10.00         $   117.86   $    117.86
  9/29/2019 Reginal Rabel                 $10.50   60.47   $   10.00         $   107.45   $    107.45
  10/6/2019 Reginal Rabel                 $10.50   61.87   $   10.00         $   114.80   $    114.80
 10/13/2019 Reginal Rabel                 $10.50   54.47   $   10.00         $    75.95   $     75.95
 10/20/2019 Reginal Rabel                 $11.00   49.00   $   10.00         $    49.50   $     49.50



                                            571
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 573 of 683 PageID: 1420
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                      Name                         Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

 10/27/2019 Reginal Rabel                    $11.00   60.93   $   10.00               $   115.13   $   115.13
 11/10/2019 Reginal Rabel                    $11.00   59.32   $   10.00               $   106.24   $   106.24
 11/17/2019 Reginal Rabel                    $11.00   59.52   $   10.00               $   107.34   $   107.34
 11/24/2019 Reginal Rabel                    $11.00   49.00   $   10.00               $    49.50   $    49.50
  12/1/2019 Reginal Rabel                    $11.00   46.73   $   10.00               $    37.03   $    37.03
  12/8/2019 Reginal Rabel                    $11.00   58.15   $   10.00               $    99.83   $    99.83
 12/22/2019 Reginal Rabel                    $10.50   48.88   $   10.00               $    46.64   $    46.64
  1/12/2020 Reginal Rabel                    $10.50   67.52   $   11.00   $   33.76   $   151.34   $   185.10
  1/19/2020 Reginal Rabel                    $10.50   66.93   $   11.00   $   33.47   $   148.13   $   181.60
  1/26/2020 Reginal Rabel                    $10.50   66.70   $   11.00   $   33.35   $   146.85   $   180.20
  8/19/2018 Rendy Fernandez                   $9.50   56.53   $    8.60               $    78.53   $    78.53
  8/26/2018 Rendy Fernandez                   $9.50   62.47   $    8.60               $   106.72   $   106.72
   9/2/2018 Rendy Fernandez                   $9.50   58.10   $    8.60               $    85.98   $    85.98
  6/16/2019 Rendy Fernandez                   $9.50   59.28   $    8.85               $    91.60   $    91.60
  6/23/2019 Rendy Fernandez                   $9.50   69.15   $    8.85               $   138.46   $   138.46
  6/30/2019 Rendy Fernandez                   $9.50   70.05   $   10.00   $   35.03   $   150.25   $   185.28
   7/7/2019 Rendy Fernandez                  $10.00   57.40   $   10.00               $    87.00   $    87.00
  7/14/2019 Rendy Fernandez                  $10.00   66.77   $   10.00               $   133.83   $   133.83
  7/21/2019 Rendy Fernandez                  $10.00   70.15   $   10.00               $   150.75   $   150.75
  7/28/2019 Rendy Fernandez                  $10.00   72.05   $   10.00               $   160.25   $   160.25
   8/4/2019 Rendy Fernandez                  $10.00   61.90   $   10.00               $   109.50   $   109.50
  8/11/2019 Rendy Fernandez                  $10.00   56.70   $   10.00               $    83.50   $    83.50
  8/18/2019 Rendy Fernandez                  $10.00   70.28   $   10.00               $   151.42   $   151.42
  8/25/2019 Rendy Fernandez                  $10.00   70.48   $   10.00               $   152.42   $   152.42
   9/1/2019 Rendy Fernandez                  $10.00   59.45   $   10.00               $    97.25   $    97.25
   9/8/2019 Rendy Fernandez                  $10.00   57.07   $   10.00               $    85.33   $    85.33
   5/6/2018 Renny Manuel Cueto Cruz           $8.60   61.88   $    8.60               $    94.10   $    94.10
  5/13/2018 Renny Manuel Cueto Cruz           $8.60   59.53   $    8.60               $    83.99   $    83.99
  5/27/2018 Renny Manuel Cueto Cruz           $9.00   80.48   $    8.60               $   182.18   $   182.18
  6/10/2018 Renny Manuel Cueto Cruz           $9.00   44.45   $    8.60               $    20.03   $    20.03
  6/17/2018 Renny Manuel Cueto Cruz           $9.00   68.88   $    8.60               $   129.98   $   129.98
  6/24/2018 Renny Manuel Cueto Cruz           $9.00   66.45   $    8.60               $   119.03   $   119.03
   7/1/2018 Renny Manuel Cueto Cruz           $9.00   68.60   $    8.60               $   128.70   $   128.70
   7/8/2018 Renny Manuel Cueto Cruz           $9.00   66.85   $    8.60               $   120.83   $   120.83
  7/15/2018 Renny Manuel Cueto Cruz           $9.00   67.50   $    8.60               $   123.75   $   123.75
  7/22/2018 Renny Manuel Cueto Cruz           $9.00   67.20   $    8.60               $   122.40   $   122.40
  7/29/2018 Renny Manuel Cueto Cruz           $9.00   66.95   $    8.60               $   121.28   $   121.28
   8/5/2018 Renny Manuel Cueto Cruz           $9.00   62.62   $    8.60               $   101.78   $   101.78
  8/12/2018 Renny Manuel Cueto Cruz           $9.00   67.95   $    8.60               $   125.78   $   125.78
  8/19/2018 Renny Manuel Cueto Cruz           $9.00   69.88   $    8.60               $   134.48   $   134.48
  8/26/2018 Renny Manuel Cueto Cruz           $9.00   69.33   $    8.60               $   132.00   $   132.00
   9/2/2018 Renny Manuel Cueto Cruz           $9.00   76.27   $    8.60               $   163.20   $   163.20
   9/9/2018 Renny Manuel Cueto Cruz           $9.00   73.02   $    8.60               $   148.58   $   148.58
  9/16/2018 Renny Manuel Cueto Cruz           $9.00   75.90   $    8.60               $   161.55   $   161.55
  9/23/2018 Renny Manuel Cueto Cruz           $9.00   77.30   $    8.60               $   167.85   $   167.85
  9/30/2018 Renny Manuel Cueto Cruz           $9.00   77.90   $    8.60               $   170.55   $   170.55
  10/7/2018 Renny Manuel Cueto Cruz           $9.00   74.23   $    8.60               $   154.05   $   154.05
 10/14/2018 Renny Manuel Cueto Cruz           $9.00   66.00   $    8.60               $   117.00   $   117.00
 10/21/2018 Renny Manuel Cueto Cruz           $9.00   75.23   $    8.60               $   158.55   $   158.55
 10/28/2018 Renny Manuel Cueto Cruz           $9.00   58.17   $    8.60               $    81.75   $    81.75



                                               572
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 574 of 683 PageID: 1421
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                      Name                         Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  11/4/2018 Renny Manuel Cueto Cruz           $9.00   55.37   $    8.60         $    69.15   $     69.15
 11/11/2018 Renny Manuel Cueto Cruz           $9.00   53.93   $    8.60         $    62.70   $     62.70
 11/18/2018 Renny Manuel Cueto Cruz           $9.00   48.88   $    8.60         $    39.98   $     39.98
 11/25/2018 Renny Manuel Cueto Cruz           $9.00   44.57   $    8.60         $    20.55   $     20.55
  12/2/2018 Renny Manuel Cueto Cruz           $9.00   56.80   $    8.60         $    75.60   $     75.60
  12/9/2018 Renny Manuel Cueto Cruz           $9.00   52.37   $    8.60         $    55.65   $     55.65
 12/16/2018 Renny Manuel Cueto Cruz           $9.00   48.65   $    8.60         $    38.93   $     38.93
 12/23/2018 Renny Manuel Cueto Cruz           $9.00   42.92   $    8.60         $    13.13   $     13.13
   1/6/2019 Renny Manuel Cueto Cruz           $9.00   44.72   $    8.85         $    21.23   $     21.23
  1/13/2019 Renny Manuel Cueto Cruz           $9.00   55.32   $    8.85         $    68.93   $     68.93
  1/20/2019 Renny Manuel Cueto Cruz           $9.00   45.35   $    8.85         $    24.08   $     24.08
  1/27/2019 Renny Manuel Cueto Cruz           $9.00   52.83   $    8.85         $    57.75   $     57.75
   2/3/2019 Renny Manuel Cueto Cruz           $9.00   59.37   $    8.85         $    87.15   $     87.15
  2/10/2019 Renny Manuel Cueto Cruz           $9.00   53.17   $    8.85         $    59.25   $     59.25
  2/17/2019 Renny Manuel Cueto Cruz           $9.00   50.70   $    8.85         $    48.15   $     48.15
  2/24/2019 Renny Manuel Cueto Cruz           $9.00   48.77   $    8.85         $    39.45   $     39.45
   3/3/2019 Renny Manuel Cueto Cruz           $9.00   53.52   $    8.85         $    60.83   $     60.83
 12/15/2019 Reny Cueto Jimenez               $12.00   50.73   $   10.00         $    64.40   $     64.40
 12/22/2019 Reny Cueto Jimenez               $12.00   43.48   $   10.00         $    20.90   $     20.90
 12/29/2019 Reny Cueto Jimenez               $12.00   47.87   $   10.00         $    47.20   $     47.20
   1/5/2020 Reny Cueto Jimenez               $12.00   46.67   $   11.00         $    40.00   $     40.00
  1/12/2020 Reny Cueto Jimenez               $12.00   54.75   $   11.00         $    88.50   $     88.50
  1/19/2020 Reny Cueto Jimenez               $12.00   57.85   $   11.00         $   107.10   $    107.10
  1/26/2020 Reny Cueto Jimenez               $12.00   53.03   $   11.00         $    78.20   $     78.20
 11/25/2018 Reny Cueto-7141                  $10.50   49.50   $    8.60         $    49.88   $     49.88
  12/2/2018 Reny Cueto-7141                  $10.50   49.88   $    8.60         $    51.89   $     51.89
 12/23/2018 Reny Cueto-7141                  $10.50   44.57   $    8.60         $    23.98   $     23.98
 12/15/2019 Renzo Rivadeneira                $12.00   60.52   $   10.00         $   123.10   $    123.10
 12/22/2019 Renzo Rivadeneira                $12.00   58.23   $   10.00         $   109.40   $    109.40
   1/5/2020 Renzo Rivadeneira                $12.00   42.68   $   11.00         $    16.10   $     16.10
  1/12/2020 Renzo Rivadeneira                $12.00   55.82   $   11.00         $    94.90   $     94.90
  1/19/2020 Renzo Rivadeneira                $12.00   61.17   $   11.00         $   127.00   $    127.00
  1/26/2020 Renzo Rivadeneira                $12.00   42.57   $   11.00         $    15.40   $     15.40
  2/24/2019 Reyes Ramirez Montoya             $9.50   67.60   $    8.85         $   131.10   $    131.10
   3/3/2019 Reyes Ramirez Montoya             $9.50   66.12   $    8.85         $   124.05   $    124.05
  3/10/2019 Reyes Ramirez Montoya             $9.50   76.52   $    8.85         $   173.45   $    173.45
  3/17/2019 Reyes Ramirez Montoya             $9.50   80.07   $    8.85         $   190.32   $    190.32
  3/24/2019 Reyes Ramirez Montoya             $9.50   70.13   $    8.85         $   143.13   $    143.13
  3/31/2019 Reyes Ramirez Montoya             $9.50   73.12   $    8.85         $   157.30   $    157.30
   4/7/2019 Reyes Ramirez Montoya             $9.50   68.33   $    8.85         $   134.58   $    134.58
  4/14/2019 Reyes Ramirez Montoya             $9.50   68.85   $    8.85         $   137.04   $    137.04
  4/21/2019 Reyes Ramirez Montoya             $9.50   60.77   $    8.85         $    98.64   $     98.64
  4/28/2019 Reyes Ramirez Montoya             $9.50   81.65   $    8.85         $   197.84   $    197.84
   5/5/2019 Reyes Ramirez Montoya             $9.50   68.57   $    8.85         $   135.69   $    135.69
  5/12/2019 Reyes Ramirez Montoya             $9.50   76.47   $    8.85         $   173.22   $    173.22
  5/19/2019 Reyes Ramirez Montoya             $9.50   68.78   $    8.85         $   136.72   $    136.72
  5/26/2019 Reyes Ramirez Montoya             $9.50   72.23   $    8.85         $   153.11   $    153.11
   6/2/2019 Reyes Ramirez Montoya             $9.50   68.65   $    8.85         $   136.09   $    136.09
   6/9/2019 Reyes Ramirez Montoya             $9.50   78.22   $    8.85         $   181.53   $    181.53
  6/16/2019 Reyes Ramirez Montoya             $9.50   78.72   $    8.85         $   183.90   $    183.90



                                               573
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 575 of 683 PageID: 1422
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  6/23/2019 Reyes Ramirez Montoya            $9.50   78.32   $    8.85               $   182.00   $   182.00
  6/30/2019 Reyes Ramirez Montoya            $9.50   78.43   $   10.00   $   39.22   $   192.17   $   231.38
   7/7/2019 Reyes Ramirez Montoya           $10.00   59.25   $   10.00               $    96.25   $    96.25
  7/14/2019 Reyes Ramirez Montoya           $10.00   72.00   $   10.00               $   160.00   $   160.00
  7/21/2019 Reyes Ramirez Montoya           $10.00   71.32   $   10.00               $   156.58   $   156.58
  7/28/2019 Reyes Ramirez Montoya           $10.00   60.17   $   10.00               $   100.83   $   100.83
   8/4/2019 Reyes Ramirez Montoya           $10.00   72.15   $   10.00               $   160.75   $   160.75
  8/11/2019 Reyes Ramirez Montoya           $10.00   72.77   $   10.00               $   163.83   $   163.83
  8/18/2019 Reyes Ramirez Montoya           $10.00   71.95   $   10.00               $   159.75   $   159.75
  8/25/2019 Reyes Ramirez Montoya           $10.00   60.68   $   10.00               $   103.42   $   103.42
   9/1/2019 Reyes Ramirez Montoya           $10.00   73.13   $   10.00               $   165.67   $   165.67
   9/8/2019 Reyes Ramirez Montoya           $10.00   67.05   $   10.00               $   135.25   $   135.25
  9/15/2019 Reyes Ramirez Montoya           $10.00   72.63   $   10.00               $   163.17   $   163.17
  9/22/2019 Reyes Ramirez Montoya           $10.00   73.58   $   10.00               $   167.92   $   167.92
  9/29/2019 Reyes Ramirez Montoya           $10.00   73.62   $   10.00               $   168.08   $   168.08
  10/6/2019 Reyes Ramirez Montoya           $10.00   61.00   $   10.00               $   105.00   $   105.00
 10/13/2019 Reyes Ramirez Montoya           $10.00   73.73   $   10.00               $   168.67   $   168.67
 10/20/2019 Reyes Ramirez Montoya           $10.00   61.15   $   10.00               $   105.75   $   105.75
 10/27/2019 Reyes Ramirez Montoya           $10.00   74.00   $   10.00               $   170.00   $   170.00
  11/3/2019 Reyes Ramirez Montoya           $10.00   73.58   $   10.00               $   167.92   $   167.92
 11/10/2019 Reyes Ramirez Montoya           $10.00   72.77   $   10.00               $   163.83   $   163.83
 11/17/2019 Reyes Ramirez Montoya           $10.00   73.60   $   10.00               $   168.00   $   168.00
 11/24/2019 Reyes Ramirez Montoya           $10.00   74.55   $   10.00               $   172.75   $   172.75
  12/1/2019 Reyes Ramirez Montoya           $10.00   61.33   $   10.00               $   106.67   $   106.67
  12/8/2019 Reyes Ramirez Montoya           $10.00   67.23   $   10.00               $   136.17   $   136.17
 12/15/2019 Reyes Ramirez Montoya           $10.00   75.23   $   10.00               $   176.17   $   176.17
 12/22/2019 Reyes Ramirez Montoya           $10.00   74.52   $   10.00               $   172.58   $   172.58
 12/29/2019 Reyes Ramirez Montoya           $10.00   59.45   $   10.00               $    97.25   $    97.25
   1/5/2020 Reyes Ramirez Montoya           $10.00   66.87   $   11.00   $   66.87   $   147.77   $   214.63
  1/12/2020 Reyes Ramirez Montoya           $10.00   75.70   $   11.00   $   75.70   $   196.35   $   272.05
  1/19/2020 Reyes Ramirez Montoya           $10.00   70.98   $   11.00   $   70.98   $   170.41   $   241.39
  1/26/2020 Reyes Ramirez Montoya           $10.00   74.98   $   11.00   $   74.98   $   192.41   $   267.39
  1/19/2020 Reynaldo Lopez Flores           $11.00   52.55   $   11.00               $    69.03   $    69.03
  1/26/2020 Reynaldo Lopez Flores           $11.00   63.78   $   11.00               $   130.81   $   130.81
   9/8/2019 Reynaldo Robles Reyes           $11.00   59.00   $   10.00               $   104.50   $   104.50
  9/15/2019 Reynaldo Robles Reyes           $11.00   51.03   $   10.00               $    60.68   $    60.68
  9/22/2019 Reynaldo Robles Reyes           $11.00   60.22   $   10.00               $   111.19   $   111.19
  9/29/2019 Reynaldo Robles Reyes           $11.00   63.08   $   10.00               $   126.96   $   126.96
 10/13/2019 Reynaldo Robles Reyes           $11.00   59.78   $   10.00               $   108.81   $   108.81
 10/20/2019 Reynaldo Robles Reyes           $11.00   49.07   $   10.00               $    49.87   $    49.87
 10/27/2019 Reynaldo Robles Reyes           $11.00   49.72   $   10.00               $    53.44   $    53.44
  11/3/2019 Reynaldo Robles Reyes           $11.00   56.70   $   10.00               $    91.85   $    91.85
 11/10/2019 Reynaldo Robles Reyes           $11.00   56.67   $   10.00               $    91.67   $    91.67
 11/17/2019 Reynaldo Robles Reyes           $11.00   56.30   $   10.00               $    89.65   $    89.65
 11/24/2019 Reynaldo Robles Reyes           $11.00   49.60   $   10.00               $    52.80   $    52.80
  12/8/2019 Reynaldo Robles Reyes           $11.00   48.22   $   10.00               $    45.19   $    45.19
 12/17/2017 Ricardo Gomez                   $10.50   55.87   $    8.44               $    83.30   $    83.30
 12/24/2017 Ricardo Gomez                   $10.50   60.98   $    8.44               $   110.16   $   110.16
 12/31/2017 Ricardo Gomez                   $10.50   46.33   $    8.44               $    33.25   $    33.25
   1/7/2018 Ricardo Gomez                   $10.50   40.62   $    8.60               $     3.24   $     3.24



                                              574
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 576 of 683 PageID: 1423
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  1/14/2018 Ricardo Gomez                    $10.50   62.17   $    8.60               $   116.38   $   116.38
  1/21/2018 Ricardo Gomez                    $10.50   72.02   $    8.60               $   168.09   $   168.09
  1/28/2018 Ricardo Gomez                    $10.50   46.97   $    8.60               $    36.58   $    36.58
   2/4/2018 Ricardo Gomez                    $10.50   52.23   $    8.60               $    64.23   $    64.23
  2/11/2018 Ricardo Gomez                    $10.50   52.03   $    8.60               $    63.18   $    63.18
  2/18/2018 Ricardo Gomez                    $10.50   58.25   $    8.60               $    95.81   $    95.81
  2/25/2018 Ricardo Gomez                    $10.50   58.55   $    8.60               $    97.39   $    97.39
  7/21/2019 Ricardo Lugardo                   $9.50   54.83   $   10.00   $   27.42   $    74.17   $   101.58
  7/28/2019 Ricardo Lugardo                   $9.50   60.40   $   10.00   $   30.20   $   102.00   $   132.20
   8/4/2019 Ricardo Lugardo                   $9.50   65.57   $   10.00   $   32.78   $   127.83   $   160.62
  8/11/2019 Ricardo Lugardo                   $9.50   62.38   $   10.00   $   31.19   $   111.92   $   143.11
  8/18/2019 Ricardo Lugardo                   $9.50   64.50   $   10.00   $   32.25   $   122.50   $   154.75
 12/16/2018 Ricardo Villagan                 $11.00   41.48   $    8.60               $     8.16   $     8.16
 12/23/2018 Ricardo Villagan                 $11.00   60.20   $    8.60               $   111.10   $   111.10
 12/30/2018 Ricardo Villagan                 $11.00   46.20   $    8.60               $    34.10   $    34.10
   1/6/2019 Ricardo Villagan                 $11.00   50.42   $    8.85               $    57.29   $    57.29
  1/13/2019 Ricardo Villagan                 $11.00   53.48   $    8.85               $    74.16   $    74.16
  1/20/2019 Ricardo Villagan                 $11.00   57.90   $    8.85               $    98.45   $    98.45
  1/27/2019 Ricardo Villagan                 $11.00   50.28   $    8.85               $    56.56   $    56.56
   2/3/2019 Ricardo Villagan                 $11.00   65.83   $    8.85               $   142.08   $   142.08
  2/10/2019 Ricardo Villagan                 $11.00   63.97   $    8.85               $   131.82   $   131.82
  2/17/2019 Ricardo Villagan                 $11.00   63.65   $    8.85               $   130.08   $   130.08
  2/24/2019 Ricardo Villagan                 $11.00   63.25   $    8.85               $   127.88   $   127.88
   3/3/2019 Ricardo Villagan                 $11.00   66.73   $    8.85               $   147.03   $   147.03
  3/10/2019 Ricardo Villagan                 $11.00   64.95   $    8.85               $   137.23   $   137.23
  3/17/2019 Ricardo Villagan                 $11.00   64.43   $    8.85               $   134.38   $   134.38
  3/24/2019 Ricardo Villagan                 $11.00   68.97   $    8.85               $   159.32   $   159.32
  3/31/2019 Ricardo Villagan                 $11.00   69.65   $    8.85               $   163.08   $   163.08
   4/7/2019 Ricardo Villagan                 $11.00   62.77   $    8.85               $   125.22   $   125.22
  4/14/2019 Ricardo Villagan                 $11.00   60.67   $    8.85               $   113.67   $   113.67
  4/21/2019 Ricardo Villagan                 $11.00   64.03   $    8.85               $   132.18   $   132.18
  4/28/2019 Ricardo Villagan                 $11.00   66.25   $    8.85               $   144.38   $   144.38
   5/5/2019 Ricardo Villagan                 $11.00   60.28   $    8.85               $   111.56   $   111.56
  5/12/2019 Ricardo Villagan                 $11.00   64.88   $    8.85               $   136.86   $   136.86
  5/19/2019 Ricardo Villagan                 $11.00   66.27   $    8.85               $   144.47   $   144.47
  5/26/2019 Ricardo Villagan                 $11.00   66.88   $    8.85               $   147.86   $   147.86
   6/2/2019 Ricardo Villagan                 $11.00   60.68   $    8.85               $   113.76   $   113.76
   6/9/2019 Ricardo Villagan                 $11.00   65.57   $    8.85               $   140.62   $   140.62
  6/16/2019 Ricardo Villagan                 $11.00   66.08   $    8.85               $   143.46   $   143.46
  8/18/2019 Ricardo Villagan                 $11.00   44.48   $   10.00               $    24.66   $    24.66
  8/25/2019 Ricardo Villagan                 $11.00   65.70   $   10.00               $   141.35   $   141.35
   9/1/2019 Ricardo Villagan                 $11.00   62.63   $   10.00               $   124.48   $   124.48
   9/8/2019 Ricardo Villagan                 $11.00   42.43   $   10.00               $    13.38   $    13.38
  9/15/2019 Ricardo Villagan                 $11.00   64.82   $   10.00               $   136.49   $   136.49
  9/22/2019 Ricardo Villagan                 $11.00   65.87   $   10.00               $   142.27   $   142.27
  9/29/2019 Ricardo Villagan                 $11.00   57.88   $   10.00               $    98.36   $    98.36
  10/6/2019 Ricardo Villagan                 $11.00   65.95   $   10.00               $   142.73   $   142.73
 10/13/2019 Ricardo Villagan                 $11.00   65.90   $   10.00               $   142.45   $   142.45
 10/20/2019 Ricardo Villagan                 $11.00   65.43   $   10.00               $   139.88   $   139.88
 10/27/2019 Ricardo Villagan                 $11.00   65.62   $   10.00               $   140.89   $   140.89



                                               575
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 577 of 683 PageID: 1424
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  11/3/2019 Ricardo Villagan                 $11.00   61.27   $   10.00              $   116.97   $   116.97
 11/10/2019 Ricardo Villagan                 $11.00   64.03   $   10.00              $   132.18   $   132.18
 11/17/2019 Ricardo Villagan                 $11.00   65.22   $   10.00              $   138.69   $   138.69
 11/24/2019 Ricardo Villagan                 $11.00   64.00   $   10.00              $   132.00   $   132.00
  12/8/2019 Ricardo Villagan                 $11.00   63.23   $   10.00              $   127.78   $   127.78
 12/15/2019 Ricardo Villagan                 $11.00   64.40   $   10.00              $   134.20   $   134.20
 12/22/2019 Ricardo Villagan                 $11.00   50.98   $   10.00              $    60.41   $    60.41
 12/29/2019 Ricardo Villagan                 $11.00   44.83   $   10.00              $    26.58   $    26.58
   1/5/2020 Ricardo Villagan                 $11.00   44.98   $   11.00              $    27.41   $    27.41
  1/12/2020 Ricardo Villagan                 $11.00   64.43   $   11.00              $   134.38   $   134.38
  1/19/2020 Ricardo Villagan                 $11.00   63.80   $   11.00              $   130.90   $   130.90
  1/26/2020 Ricardo Villagan                 $11.00   65.38   $   11.00              $   139.61   $   139.61
 10/13/2019 Richard Cespedes                 $11.00   59.40   $   10.00              $   106.70   $   106.70
 10/20/2019 Richard Cespedes                 $11.00   65.28   $   10.00              $   139.06   $   139.06
 10/27/2019 Richard Cespedes                  $9.00   63.17   $   10.00   $ 63.17    $   115.83   $   179.00
  11/3/2019 Richard Cespedes                  $9.00   61.65   $   10.00   $ 61.65    $   108.25   $   169.90
 11/10/2019 Richard Cespedes                  $9.00   67.93   $   10.00   $ 67.93    $   139.67   $   207.60
 11/17/2019 Richard Cespedes                  $9.00   66.78   $   10.00   $ 66.78    $   133.92   $   200.70
 11/24/2019 Richard Cespedes                  $9.00   64.75   $   10.00   $ 64.75    $   123.75   $   188.50
  12/1/2019 Richard Cespedes                  $9.00   40.08   $   10.00   $ 40.08    $     0.42   $    40.50
  12/8/2019 Richard Cespedes                  $9.00   67.65   $   10.00   $ 67.65    $   138.25   $   205.90
 12/15/2019 Richard Cespedes                  $9.00   67.13   $   10.00   $ 67.13    $   135.67   $   202.80
 12/22/2019 Richard Cespedes                  $9.00   66.28   $   10.00   $ 66.28    $   131.42   $   197.70
 12/29/2019 Richard Cespedes                  $9.00   47.97   $   10.00   $ 47.97    $    39.83   $    87.80
   1/5/2020 Richard Cespedes                  $9.00   48.70   $   11.00   $ 97.40    $    47.85   $   145.25
  1/19/2020 Richard Cespedes                  $9.00   64.42   $   11.00   $ 128.83   $   134.29   $   263.13
  1/26/2020 Richard Cespedes                  $9.00   62.43   $   11.00   $ 124.87   $   123.38   $   248.25
 11/24/2019 Richard Ojeda                    $11.00   52.18   $   10.00              $    67.01   $    67.01
   9/2/2018 Richardo Jimenez Colon            $9.50   57.20   $    8.60              $    81.70   $    81.70
  9/16/2018 Richardo Jimenez Colon            $9.50   55.35   $    8.60              $    72.91   $    72.91
  9/23/2018 Richardo Jimenez Colon            $9.50   49.03   $    8.60              $    42.91   $    42.91
  9/30/2018 Richardo Jimenez Colon            $9.50   55.60   $    8.60              $    74.10   $    74.10
 10/14/2018 Richardo Jimenez Colon            $9.50   46.22   $    8.60              $    29.53   $    29.53
 10/21/2018 Richardo Jimenez Colon            $9.50   52.87   $    8.60              $    61.12   $    61.12
  3/31/2019 Richarth Calle                   $10.00   56.93   $    8.85              $    84.67   $    84.67
   4/7/2019 Richarth Calle                   $10.00   67.98   $    8.85              $   139.92   $   139.92
  4/14/2019 Richarth Calle                   $10.00   67.83   $    8.85              $   139.17   $   139.17
  4/21/2019 Richarth Calle                   $10.00   68.80   $    8.85              $   144.00   $   144.00
  4/28/2019 Richarth Calle                   $10.00   68.92   $    8.85              $   144.58   $   144.58
   5/5/2019 Richarth Calle                   $10.00   67.83   $    8.85              $   139.17   $   139.17
  5/12/2019 Richarth Calle                   $10.00   68.20   $    8.85              $   141.00   $   141.00
  5/19/2019 Richarth Calle                   $10.00   63.65   $    8.85              $   118.25   $   118.25
  5/26/2019 Richarth Calle                   $10.00   58.30   $    8.85              $    91.50   $    91.50
   6/2/2019 Richarth Calle                   $10.00   45.10   $    8.85              $    25.50   $    25.50
   6/9/2019 Richarth Calle                   $10.00   67.98   $    8.85              $   139.92   $   139.92
  6/16/2019 Richarth Calle                   $10.00   68.00   $    8.85              $   140.00   $   140.00
  6/23/2019 Richarth Calle                   $10.00   56.57   $    8.85              $    82.83   $    82.83
  6/30/2019 Richarth Calle                   $10.00   68.88   $   10.00              $   144.42   $   144.42
   7/7/2019 Richarth Calle                   $10.00   56.35   $   10.00              $    81.75   $    81.75
  7/14/2019 Richarth Calle                   $10.00   67.98   $   10.00              $   139.92   $   139.92



                                               576
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 578 of 683 PageID: 1425
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  7/21/2019 Richarth Calle                    $10.00   66.10   $   10.00               $   130.50   $   130.50
  7/28/2019 Richarth Calle                    $10.00   68.03   $   10.00               $   140.17   $   140.17
   8/4/2019 Richarth Calle                    $10.00   70.87   $   10.00               $   154.33   $   154.33
  8/11/2019 Richarth Calle                    $10.00   66.78   $   10.00               $   133.92   $   133.92
  8/18/2019 Richarth Calle                    $10.00   71.38   $   10.00               $   156.92   $   156.92
  8/25/2019 Richarth Calle                    $10.00   66.33   $   10.00               $   131.67   $   131.67
   9/1/2019 Richarth Calle                    $10.00   70.15   $   10.00               $   150.75   $   150.75
  9/15/2019 Richarth Calle                    $10.00   73.10   $   10.00               $   165.50   $   165.50
  9/22/2019 Richarth Calle                    $10.00   70.15   $   10.00               $   150.75   $   150.75
  9/29/2019 Richarth Calle                    $10.00   71.20   $   10.00               $   156.00   $   156.00
  10/6/2019 Richarth Calle                    $10.00   72.05   $   10.00               $   160.25   $   160.25
 10/13/2019 Richarth Calle                    $10.00   62.37   $   10.00               $   111.83   $   111.83
 10/20/2019 Richarth Calle                    $10.00   68.07   $   10.00               $   140.33   $   140.33
 10/27/2019 Richarth Calle                    $10.00   59.80   $   10.00               $    99.00   $    99.00
  11/3/2019 Richarth Calle                    $10.00   73.03   $   10.00               $   165.17   $   165.17
 11/10/2019 Richarth Calle                    $10.00   72.58   $   10.00               $   162.92   $   162.92
 11/17/2019 Richarth Calle                    $10.00   72.12   $   10.00               $   160.58   $   160.58
 11/24/2019 Richarth Calle                    $10.00   69.45   $   10.00               $   147.25   $   147.25
  12/1/2019 Richarth Calle                    $10.00   59.30   $   10.00               $    96.50   $    96.50
  12/8/2019 Richarth Calle                    $10.00   69.35   $   10.00               $   146.75   $   146.75
 12/15/2019 Richarth Calle                    $10.00   59.73   $   10.00               $    98.67   $    98.67
 12/22/2019 Richarth Calle                    $10.00   66.75   $   10.00               $   133.75   $   133.75
 12/29/2019 Richarth Calle                    $10.00   46.78   $   10.00               $    33.92   $    33.92
   1/5/2020 Richarth Calle                    $10.00   57.23   $   11.00   $   57.23   $    94.78   $   152.02
  1/12/2020 Richarth Calle                    $10.00   70.38   $   11.00   $   70.38   $   167.11   $   237.49
  1/19/2020 Richarth Calle                    $10.00   73.18   $   11.00   $   73.18   $   182.51   $   255.69
  1/26/2020 Richarth Calle                    $10.00   71.45   $   11.00   $   71.45   $   172.98   $   244.43
   4/2/2017 Rigoberto Macario                 $11.00   42.62   $    8.44               $    14.39   $    14.39
   4/9/2017 Rigoberto Macario                 $11.00   42.52   $    8.44               $    13.84   $    13.84
  4/16/2017 Rigoberto Macario                 $11.00   42.65   $    8.44               $    14.58   $    14.58
  4/23/2017 Rigoberto Macario                 $11.00   42.60   $    8.44               $    14.30   $    14.30
   5/7/2017 Rigoberto Macario                 $11.00   42.53   $    8.44               $    13.93   $    13.93
  5/14/2017 Rigoberto Macario                 $11.00   42.70   $    8.44               $    14.85   $    14.85
  5/21/2017 Rigoberto Macario                 $11.00   42.88   $    8.44               $    15.86   $    15.86
  5/28/2017 Rigoberto Macario                 $11.00   42.62   $    8.44               $    14.39   $    14.39
  6/11/2017 Rigoberto Macario                 $11.00   42.92   $    8.44               $    16.04   $    16.04
  6/18/2017 Rigoberto Macario                 $11.00   44.60   $    8.44               $    25.30   $    25.30
  6/25/2017 Rigoberto Macario                 $11.00   48.27   $    8.44               $    45.47   $    45.47
  7/16/2017 Rigoberto Macario                 $11.00   42.27   $    8.44               $    12.47   $    12.47
  7/23/2017 Rigoberto Macario                 $11.00   42.25   $    8.44               $    12.38   $    12.38
  7/30/2017 Rigoberto Macario                 $11.00   42.87   $    8.44               $    15.77   $    15.77
  8/13/2017 Rigoberto Macario                 $11.00   40.82   $    8.44               $     4.49   $     4.49
  8/20/2017 Rigoberto Macario                 $11.00   42.03   $    8.44               $    11.18   $    11.18
  8/27/2017 Rigoberto Macario                 $11.00   42.00   $    8.44               $    11.00   $    11.00
  9/17/2017 Rigoberto Macario                 $11.00   42.12   $    8.44               $    11.64   $    11.64
  9/24/2017 Rigoberto Macario                 $11.00   42.12   $    8.44               $    11.64   $    11.64
  10/1/2017 Rigoberto Macario                 $11.00   42.03   $    8.44               $    11.18   $    11.18
  10/8/2017 Rigoberto Macario                 $11.00   41.95   $    8.44               $    10.73   $    10.73
 10/15/2017 Rigoberto Macario                 $11.00   42.27   $    8.44               $    12.47   $    12.47
 10/22/2017 Rigoberto Macario                 $11.00   42.40   $    8.44               $    13.20   $    13.20



                                                577
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 579 of 683 PageID: 1426
                                                       Exhibit 2
                                               New Jersey Computations


   Week                                                               State Section 7: Section 7: Total Section 7
                                                      Hourly Hours/
  Ending                        Name                                Minumum Regular    Half-Time Overtime Back
                                                       Rate Week
   Date                                                               Wage  Rate Due     Due       Wages Due

 10/29/2017 Rigoberto Macario                         $11.00   42.13   $    8.44         $    11.73   $     11.73
  11/5/2017 Rigoberto Macario                         $11.00   42.08   $    8.44         $    11.46   $     11.46
 11/12/2017 Rigoberto Macario                         $11.00   41.87   $    8.44         $    10.27   $     10.27
 11/19/2017 Rigoberto Macario                         $11.00   41.98   $    8.44         $    10.91   $     10.91
  12/3/2017 Rigoberto Macario                         $11.00   42.10   $    8.44         $    11.55   $     11.55
 12/10/2017 Rigoberto Macario                         $11.00   41.83   $    8.44         $    10.08   $     10.08
 12/17/2017 Rigoberto Macario                         $11.00   41.45   $    8.44         $     7.98   $      7.98
 12/24/2017 Rigoberto Macario                         $11.00   40.68   $    8.44         $     3.76   $      3.76
 12/31/2017 Rigoberto Macario                         $11.00   41.20   $    8.44         $     6.60   $      6.60
  1/14/2018 Rigoberto Macario                         $11.00   42.18   $    8.60         $    12.01   $     12.01
  1/21/2018 Rigoberto Macario                         $11.00   42.30   $    8.60         $    12.65   $     12.65
  1/28/2018 Rigoberto Macario                         $11.00   42.57   $    8.60         $    14.12   $     14.12
   2/4/2018 Rigoberto Macario                         $11.00   43.97   $    8.60         $    21.82   $     21.82
  2/11/2018 Rigoberto Macario                         $11.00   40.58   $    8.60         $     3.21   $      3.21
  2/18/2018 Rigoberto Macario                         $11.00   48.73   $    8.60         $    48.03   $     48.03
  2/25/2018 Rigoberto Macario                         $11.00   50.22   $    8.60         $    56.19   $     56.19
   3/4/2018 Rigoberto Macario                         $11.00   51.20   $    8.60         $    61.60   $     61.60
  3/25/2018 Rigoberto Macario                         $11.00   45.95   $    8.60         $    32.73   $     32.73
   4/1/2018 Rigoberto Macario                         $11.00   53.33   $    8.60         $    73.33   $     73.33
   4/8/2018 Rigoberto Macario                         $11.00   40.77   $    8.60         $     4.22   $      4.22
  4/15/2018 Rigoberto Macario                         $11.00   42.50   $    8.60         $    13.75   $     13.75
  4/22/2018 Rigoberto Macario                         $11.00   41.53   $    8.60         $     8.43   $      8.43
  4/29/2018 Rigoberto Macario                         $11.00   40.22   $    8.60         $     1.19   $      1.19
   5/6/2018 Rigoberto Macario                         $11.00   40.38   $    8.60         $     2.11   $      2.11
  5/13/2018 Rigoberto Macario                         $11.00   42.40   $    8.60         $    13.20   $     13.20
  5/20/2018 Rigoberto Macario                         $11.00   40.25   $    8.60         $     1.38   $      1.38
  5/27/2018 Rigoberto Macario                         $11.00   42.33   $    8.60         $    12.83   $     12.83
  6/17/2018 Rigoberto Macario                         $11.00   42.48   $    8.60         $    13.66   $     13.66
  6/24/2018 Rigoberto Macario                         $11.00   40.55   $    8.60         $     3.03   $      3.03
   7/1/2018 Rigoberto Macario                         $11.00   41.68   $    8.60         $     9.26   $      9.26
  7/15/2018 Rigoberto Macario                         $11.00   40.02   $    8.60         $     0.09   $      0.09
  7/29/2018 Rigoberto Macario                         $11.00   42.20   $    8.60         $    12.10   $     12.10
 12/29/2019 Rircado Abel Martinez                     $11.00   57.00   $   10.00         $    93.50   $     93.50
  1/19/2020 Rircado Abel Martinez                     $11.00   43.15   $   11.00         $    17.33   $     17.33
  5/19/2019 Roberto Antonio Orellana Cuellar          $10.00   61.32   $    8.85         $   106.58   $    106.58
  5/26/2019 Roberto Antonio Orellana Cuellar          $10.00   80.30   $    8.85         $   201.50   $    201.50
   6/2/2019 Roberto Antonio Orellana Cuellar          $10.00   83.27   $    8.85         $   216.33   $    216.33
   6/9/2019 Roberto Antonio Orellana Cuellar          $10.00   85.28   $    8.85         $   226.42   $    226.42
  6/16/2019 Roberto Antonio Orellana Cuellar          $10.00   84.35   $    8.85         $   221.75   $    221.75
  6/23/2019 Roberto Antonio Orellana Cuellar          $10.00   85.73   $    8.85         $   228.67   $    228.67
  6/30/2019 Roberto Antonio Orellana Cuellar          $10.00   85.97   $   10.00         $   229.83   $    229.83
   7/7/2019 Roberto Antonio Orellana Cuellar          $10.00   84.02   $   10.00         $   220.08   $    220.08
  7/14/2019 Roberto Antonio Orellana Cuellar          $10.00   86.83   $   10.00         $   234.17   $    234.17
  7/21/2019 Roberto Antonio Orellana Cuellar          $10.00   86.00   $   10.00         $   230.00   $    230.00
  7/28/2019 Roberto Antonio Orellana Cuellar          $10.00   85.88   $   10.00         $   229.42   $    229.42
   8/4/2019 Roberto Antonio Orellana Cuellar          $10.00   87.10   $   10.00         $   235.50   $    235.50
  8/11/2019 Roberto Antonio Orellana Cuellar          $10.00   86.88   $   10.00         $   234.42   $    234.42
  8/18/2019 Roberto Antonio Orellana Cuellar          $10.00   86.03   $   10.00         $   230.17   $    230.17
  8/25/2019 Roberto Antonio Orellana Cuellar          $10.00   86.43   $   10.00         $   232.17   $    232.17
   9/1/2019 Roberto Antonio Orellana Cuellar          $10.00   85.55   $   10.00         $   227.75   $    227.75



                                                        578
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 580 of 683 PageID: 1427
                                                       Exhibit 2
                                               New Jersey Computations


   Week                                                               State Section 7: Section 7: Total Section 7
                                                      Hourly Hours/
  Ending                        Name                                Minumum Regular    Half-Time Overtime Back
                                                       Rate Week
   Date                                                               Wage  Rate Due     Due       Wages Due

   9/8/2019 Roberto Antonio Orellana Cuellar          $10.00   82.52   $   10.00               $   212.58   $   212.58
  9/15/2019 Roberto Antonio Orellana Cuellar          $10.00   84.68   $   10.00               $   223.42   $   223.42
  9/22/2019 Roberto Antonio Orellana Cuellar          $10.00   85.37   $   10.00               $   226.83   $   226.83
  9/29/2019 Roberto Antonio Orellana Cuellar          $10.00   82.52   $   10.00               $   212.58   $   212.58
  10/6/2019 Roberto Antonio Orellana Cuellar          $10.00   84.55   $   10.00               $   222.75   $   222.75
 10/13/2019 Roberto Antonio Orellana Cuellar          $10.00   84.95   $   10.00               $   224.75   $   224.75
 10/20/2019 Roberto Antonio Orellana Cuellar          $10.00   83.32   $   10.00               $   216.58   $   216.58
 10/27/2019 Roberto Antonio Orellana Cuellar          $10.00   83.47   $   10.00               $   217.33   $   217.33
  11/3/2019 Roberto Antonio Orellana Cuellar          $10.00   83.33   $   10.00               $   216.67   $   216.67
 11/10/2019 Roberto Antonio Orellana Cuellar          $10.00   83.55   $   10.00               $   217.75   $   217.75
 11/17/2019 Roberto Antonio Orellana Cuellar          $10.00   83.35   $   10.00               $   216.75   $   216.75
 11/24/2019 Roberto Antonio Orellana Cuellar          $10.00   83.88   $   10.00               $   219.42   $   219.42
  12/1/2019 Roberto Antonio Orellana Cuellar          $10.00   69.32   $   10.00               $   146.58   $   146.58
  12/8/2019 Roberto Antonio Orellana Cuellar          $10.00   81.90   $   10.00               $   209.50   $   209.50
 12/15/2019 Roberto Antonio Orellana Cuellar          $10.00   83.68   $   10.00               $   218.42   $   218.42
 12/22/2019 Roberto Antonio Orellana Cuellar          $10.00   82.95   $   10.00               $   214.75   $   214.75
 12/29/2019 Roberto Antonio Orellana Cuellar          $10.00   65.28   $   10.00               $   126.42   $   126.42
   1/5/2020 Roberto Antonio Orellana Cuellar          $10.00   82.17   $   11.00   $   82.17   $   231.92   $   314.08
  1/12/2020 Roberto Antonio Orellana Cuellar          $10.00   84.73   $   11.00   $   84.73   $   246.03   $   330.77
  1/19/2020 Roberto Antonio Orellana Cuellar          $10.00   84.12   $   11.00   $   84.12   $   242.64   $   326.76
  1/26/2020 Roberto Antonio Orellana Cuellar          $10.00   72.95   $   11.00   $   72.95   $   181.23   $   254.18
 10/29/2017 Roberto D. Martinez                       $11.50   59.38   $    8.44               $   111.45   $   111.45
  11/5/2017 Roberto D. Martinez                       $11.50   56.52   $    8.44               $    94.97   $    94.97
 11/12/2017 Roberto D. Martinez                       $11.50   58.47   $    8.44               $   106.18   $   106.18
 11/19/2017 Roberto D. Martinez                       $11.50   48.32   $    8.44               $    47.82   $    47.82
 11/26/2017 Roberto D. Martinez                       $11.50   47.27   $    8.44               $    41.78   $    41.78
  12/3/2017 Roberto D. Martinez                       $11.50   60.78   $    8.44               $   119.50   $   119.50
 12/10/2017 Roberto D. Martinez                       $11.50   54.12   $    8.44               $    81.17   $    81.17
 12/17/2017 Roberto D. Martinez                       $11.50   60.30   $    8.44               $   116.73   $   116.73
 12/24/2017 Roberto D. Martinez                       $11.50   59.40   $    8.44               $   111.55   $   111.55
 12/31/2017 Roberto D. Martinez                       $11.50   49.22   $    8.44               $    53.00   $    53.00
   1/7/2018 Roberto D. Martinez                       $11.50   40.45   $    8.60               $     2.59   $     2.59
  1/14/2018 Roberto D. Martinez                       $11.50   52.72   $    8.60               $    73.12   $    73.12
  1/21/2018 Roberto D. Martinez                       $11.50   48.87   $    8.60               $    50.98   $    50.98
  1/28/2018 Roberto D. Martinez                       $11.50   47.12   $    8.60               $    40.92   $    40.92
   2/4/2018 Roberto D. Martinez                       $11.50   54.13   $    8.60               $    81.27   $    81.27
  2/11/2018 Roberto D. Martinez                       $11.50   54.97   $    8.60               $    86.06   $    86.06
  2/18/2018 Roberto D. Martinez                       $11.50   48.97   $    8.60               $    51.56   $    51.56
  2/25/2018 Roberto D. Martinez                       $11.50   58.43   $    8.60               $   105.99   $   105.99
   3/4/2018 Roberto D. Martinez                       $11.50   58.75   $    8.60               $   107.81   $   107.81
  3/25/2018 Roberto D. Martinez                       $11.50   46.23   $    8.60               $    35.84   $    35.84
   4/1/2018 Roberto D. Martinez                       $11.50   57.98   $    8.60               $   103.40   $   103.40
   4/8/2018 Roberto D. Martinez                       $11.50   48.77   $    8.60               $    50.41   $    50.41
  4/15/2018 Roberto D. Martinez                       $11.50   56.58   $    8.60               $    95.35   $    95.35
  4/22/2018 Roberto D. Martinez                       $11.50   52.68   $    8.60               $    72.93   $    72.93
  4/29/2018 Roberto D. Martinez                       $11.50   57.80   $    8.60               $   102.35   $   102.35
   5/6/2018 Roberto D. Martinez                       $11.50   57.70   $    8.60               $   101.78   $   101.78
  5/13/2018 Roberto D. Martinez                       $11.50   58.75   $    8.60               $   107.81   $   107.81
  5/20/2018 Roberto D. Martinez                       $11.50   57.43   $    8.60               $   100.24   $   100.24
  5/27/2018 Roberto D. Martinez                       $11.50   61.57   $    8.60               $   124.01   $   124.01



                                                        579
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 581 of 683 PageID: 1428
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                          Name                        Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

   6/3/2018 Roberto D. Martinez                 $11.50   49.65   $   8.60          $    55.49   $     55.49
  6/10/2018 Roberto D. Martinez                 $11.50   57.13   $   8.60          $    98.52   $     98.52
  6/17/2018 Roberto D. Martinez                 $11.50   58.10   $   8.60          $   104.08   $    104.08
  6/24/2018 Roberto D. Martinez                 $11.50   51.58   $   8.60          $    66.60   $     66.60
   2/5/2017 Roberto Felix                       $11.00   60.35   $   8.44          $   111.93   $    111.93
  2/12/2017 Roberto Felix                       $11.00   50.55   $   8.44          $    58.03   $     58.03
  2/19/2017 Roberto Felix                       $11.00   61.32   $   8.44          $   117.24   $    117.24
  2/26/2017 Roberto Felix                       $11.00   51.52   $   8.44          $    63.34   $     63.34
   3/5/2017 Roberto Felix                       $11.00   61.17   $   8.44          $   116.42   $    116.42
  3/12/2017 Roberto Felix                       $11.00   62.38   $   8.44          $   123.11   $    123.11
  3/19/2017 Roberto Felix                       $11.00   46.87   $   8.44          $    37.77   $     37.77
  3/26/2017 Roberto Felix                       $11.00   60.58   $   8.44          $   113.21   $    113.21
   4/2/2017 Roberto Felix                       $11.00   60.88   $   8.44          $   114.86   $    114.86
   4/9/2017 Roberto Felix                       $11.00   57.77   $   8.44          $    97.72   $     97.72
  4/16/2017 Roberto Felix                       $11.00   59.00   $   8.44          $   104.50   $    104.50
  4/23/2017 Roberto Felix                       $11.00   50.25   $   8.44          $    56.38   $     56.38
  4/30/2017 Roberto Felix                       $11.00   58.42   $   8.44          $   101.29   $    101.29
   5/7/2017 Roberto Felix                       $11.00   58.03   $   8.44          $    99.18   $     99.18
  5/14/2017 Roberto Felix                       $11.00   52.13   $   8.44          $    66.73   $     66.73
  5/21/2017 Roberto Felix                       $11.00   51.92   $   8.44          $    65.54   $     65.54
  5/28/2017 Roberto Felix                       $11.00   54.63   $   8.44          $    80.48   $     80.48
   6/4/2017 Roberto Felix                       $11.00   49.65   $   8.44          $    53.08   $     53.08
  6/11/2017 Roberto Felix                       $11.00   58.57   $   8.44          $   102.12   $    102.12
  6/18/2017 Roberto Felix                       $11.00   58.22   $   8.44          $   100.19   $    100.19
  6/25/2017 Roberto Felix                       $11.00   58.03   $   8.44          $    99.18   $     99.18
   7/2/2017 Roberto Felix                       $11.00   46.50   $   8.44          $    35.75   $     35.75
   7/9/2017 Roberto Felix                       $11.00   44.42   $   8.44          $    24.29   $     24.29
  7/16/2017 Roberto Felix                       $11.00   46.00   $   8.44          $    33.00   $     33.00
  7/23/2017 Roberto Felix                       $11.00   54.27   $   8.44          $    78.47   $     78.47
  7/30/2017 Roberto Felix                       $11.00   58.63   $   8.44          $   102.48   $    102.48
   8/6/2017 Roberto Felix                       $11.00   53.58   $   8.44          $    74.71   $     74.71
  8/13/2017 Roberto Felix                       $11.00   54.73   $   8.44          $    81.03   $     81.03
  8/20/2017 Roberto Felix                       $11.00   54.62   $   8.44          $    80.39   $     80.39
  8/27/2017 Roberto Felix                       $11.00   55.52   $   8.44          $    85.34   $     85.34
   9/3/2017 Roberto Felix                       $11.00   54.78   $   8.44          $    81.31   $     81.31
  9/10/2017 Roberto Felix                       $11.00   50.38   $   8.44          $    57.11   $     57.11
  9/17/2017 Roberto Felix                       $11.00   54.80   $   8.44          $    81.40   $     81.40
  10/1/2017 Roberto Felix                       $11.00   53.58   $   8.44          $    74.71   $     74.71
  10/8/2017 Roberto Felix                       $11.00   53.97   $   8.44          $    76.82   $     76.82
 10/15/2017 Roberto Felix                       $11.00   53.67   $   8.44          $    75.17   $     75.17
 10/22/2017 Roberto Felix                       $11.00   45.18   $   8.44          $    28.51   $     28.51
 10/29/2017 Roberto Felix                       $11.00   41.27   $   8.44          $     6.97   $      6.97
  11/5/2017 Roberto Felix                       $11.00   42.97   $   8.44          $    16.32   $     16.32
 11/19/2017 Roberto Felix                       $11.00   47.48   $   8.44          $    41.16   $     41.16
  12/3/2017 Roberto Felix                       $11.00   49.83   $   8.44          $    54.08   $     54.08
 12/10/2017 Roberto Felix                       $11.00   53.30   $   8.44          $    73.15   $     73.15
 12/17/2017 Roberto Felix                       $11.00   56.63   $   8.44          $    91.48   $     91.48
 12/24/2017 Roberto Felix                       $11.00   44.78   $   8.44          $    26.31   $     26.31
  1/14/2018 Roberto Felix                       $11.00   51.48   $   8.60          $    63.16   $     63.16
  1/21/2018 Roberto Felix                       $11.00   52.50   $   8.60          $    68.75   $     68.75



                                                  580
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 582 of 683 PageID: 1429
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  1/28/2018 Roberto Felix                     $11.00   53.32   $   8.60          $    73.24   $     73.24
   2/4/2018 Roberto Felix                     $11.00   51.13   $   8.60          $    61.23   $     61.23
  2/11/2018 Roberto Felix                     $11.00   48.12   $   8.60          $    44.64   $     44.64
  2/18/2018 Roberto Felix                     $11.00   56.97   $   8.60          $    93.32   $     93.32
  2/25/2018 Roberto Felix                     $11.00   54.55   $   8.60          $    80.03   $     80.03
   3/4/2018 Roberto Felix                     $11.00   48.62   $   8.60          $    47.39   $     47.39
   4/1/2018 Roberto Felix                     $11.00   53.02   $   8.60          $    71.59   $     71.59
  7/15/2018 Roberto Maldonado                 $10.00   60.17   $   8.60          $   100.83   $    100.83
  7/22/2018 Roberto Maldonado                 $10.00   55.82   $   8.60          $    79.08   $     79.08
  7/29/2018 Roberto Maldonado                 $10.00   50.45   $   8.60          $    52.25   $     52.25
   8/5/2018 Roberto Maldonado                 $10.00   64.62   $   8.60          $   123.08   $    123.08
  8/12/2018 Roberto Maldonado                 $10.00   60.93   $   8.60          $   104.67   $    104.67
  8/19/2018 Roberto Maldonado                 $10.00   63.10   $   8.60          $   115.50   $    115.50
  8/26/2018 Roberto Maldonado                 $10.00   60.98   $   8.60          $   104.92   $    104.92
   9/2/2018 Roberto Maldonado                 $10.00   60.18   $   8.60          $   100.92   $    100.92
   9/9/2018 Roberto Maldonado                 $10.00   58.82   $   8.60          $    94.08   $     94.08
  9/16/2018 Roberto Maldonado                 $10.00   59.35   $   8.60          $    96.75   $     96.75
  9/23/2018 Roberto Maldonado                 $10.00   56.98   $   8.60          $    84.92   $     84.92
  9/30/2018 Roberto Maldonado                 $10.00   59.85   $   8.60          $    99.25   $     99.25
  10/7/2018 Roberto Maldonado                 $10.00   56.12   $   8.60          $    80.58   $     80.58
 10/14/2018 Roberto Maldonado                 $10.00   67.08   $   8.60          $   135.42   $    135.42
 10/21/2018 Roberto Maldonado                 $10.00   63.80   $   8.60          $   119.00   $    119.00
 10/28/2018 Roberto Maldonado                 $10.00   63.55   $   8.60          $   117.75   $    117.75
  11/4/2018 Roberto Maldonado                 $10.00   41.67   $   8.60          $     8.33   $      8.33
 11/11/2018 Roberto Maldonado                 $10.00   59.75   $   8.60          $    98.75   $     98.75
 11/18/2018 Roberto Maldonado                 $10.00   60.55   $   8.60          $   102.75   $    102.75
 11/25/2018 Roberto Maldonado                 $10.00   51.55   $   8.60          $    57.75   $     57.75
  12/2/2018 Roberto Maldonado                 $10.00   62.60   $   8.60          $   113.00   $    113.00
  12/9/2018 Roberto Maldonado                 $10.00   64.33   $   8.60          $   121.67   $    121.67
 12/16/2018 Roberto Maldonado                 $10.00   63.87   $   8.60          $   119.33   $    119.33
 12/23/2018 Roberto Maldonado                 $10.00   52.12   $   8.60          $    60.58   $     60.58
   1/6/2019 Roberto Maldonado                 $10.00   73.48   $   8.85          $   167.42   $    167.42
  1/13/2019 Roberto Maldonado                 $10.00   63.17   $   8.85          $   115.83   $    115.83
  1/20/2019 Roberto Maldonado                 $10.00   65.45   $   8.85          $   127.25   $    127.25
  1/27/2019 Roberto Maldonado                 $10.00   63.37   $   8.85          $   116.83   $    116.83
   2/3/2019 Roberto Maldonado                 $10.00   49.78   $   8.85          $    48.92   $     48.92
  2/10/2019 Roberto Maldonado                 $10.00   51.42   $   8.85          $    57.08   $     57.08
  2/17/2019 Roberto Maldonado                 $10.00   59.35   $   8.85          $    96.75   $     96.75
  2/24/2019 Roberto Maldonado                 $10.00   51.85   $   8.85          $    59.25   $     59.25
   3/3/2019 Roberto Maldonado                 $10.00   60.65   $   8.85          $   103.25   $    103.25
  3/10/2019 Roberto Maldonado                 $10.00   63.28   $   8.85          $   116.42   $    116.42
  3/17/2019 Roberto Maldonado                 $10.00   57.25   $   8.85          $    86.25   $     86.25
  3/24/2019 Roberto Maldonado                 $10.00   65.35   $   8.85          $   126.75   $    126.75
  3/31/2019 Roberto Maldonado                 $10.00   60.88   $   8.85          $   104.42   $    104.42
   4/7/2019 Roberto Maldonado                 $10.00   60.12   $   8.85          $   100.58   $    100.58
  4/14/2019 Roberto Maldonado                 $10.00   75.28   $   8.85          $   176.42   $    176.42
  4/21/2019 Roberto Maldonado                 $10.00   80.85   $   8.85          $   204.25   $    204.25
  4/28/2019 Roberto Maldonado                 $10.00   66.23   $   8.85          $   131.17   $    131.17
   5/5/2019 Roberto Maldonado                 $10.00   64.08   $   8.85          $   120.42   $    120.42
  5/12/2019 Roberto Maldonado                 $10.00   55.70   $   8.85          $    78.50   $     78.50



                                                581
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 583 of 683 PageID: 1430
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                      Name                            Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

  5/19/2019 Roberto Maldonado                   $10.00   66.87   $    8.85               $   134.33   $   134.33
  5/26/2019 Roberto Maldonado                   $10.00   65.58   $    8.85               $   127.92   $   127.92
   6/2/2019 Roberto Maldonado                   $10.00   62.07   $    8.85               $   110.33   $   110.33
   6/9/2019 Roberto Maldonado                   $10.00   50.87   $    8.85               $    54.33   $    54.33
  6/23/2019 Roberto Maldonado                   $10.00   41.67   $    8.85               $     8.33   $     8.33
  6/30/2019 Roberto Maldonado                   $10.00   62.58   $   10.00               $   112.92   $   112.92
   7/7/2019 Roberto Maldonado                   $10.00   56.60   $   10.00               $    83.00   $    83.00
  7/14/2019 Roberto Maldonado                   $10.00   58.78   $   10.00               $    93.92   $    93.92
  7/21/2019 Roberto Maldonado                   $10.00   61.15   $   10.00               $   105.75   $   105.75
  7/28/2019 Roberto Maldonado                   $10.00   53.93   $   10.00               $    69.67   $    69.67
   8/4/2019 Roberto Maldonado                   $10.00   58.93   $   10.00               $    94.67   $    94.67
  8/11/2019 Roberto Maldonado                   $10.00   57.27   $   10.00               $    86.33   $    86.33
  8/18/2019 Roberto Maldonado                   $10.00   59.08   $   10.00               $    95.42   $    95.42
  8/25/2019 Roberto Maldonado                   $10.00   58.42   $   10.00               $    92.08   $    92.08
   9/1/2019 Roberto Maldonado                   $10.00   57.25   $   10.00               $    86.25   $    86.25
   9/8/2019 Roberto Maldonado                   $10.00   46.32   $   10.00               $    31.58   $    31.58
  9/15/2019 Roberto Maldonado                   $10.00   45.62   $   10.00               $    28.08   $    28.08
  9/22/2019 Roberto Maldonado                   $10.00   53.45   $   10.00               $    67.25   $    67.25
  9/29/2019 Roberto Maldonado                   $10.00   56.10   $   10.00               $    80.50   $    80.50
  10/6/2019 Roberto Maldonado                   $10.00   62.50   $   10.00               $   112.50   $   112.50
 10/13/2019 Roberto Maldonado                   $10.00   60.85   $   10.00               $   104.25   $   104.25
 10/20/2019 Roberto Maldonado                   $11.00   51.97   $   10.00               $    65.82   $    65.82
 10/27/2019 Roberto Maldonado                   $11.00   53.58   $   10.00               $    74.71   $    74.71
  11/3/2019 Roberto Maldonado                   $11.00   46.72   $   10.00               $    36.94   $    36.94
 11/10/2019 Roberto Maldonado                   $11.00   60.42   $   10.00               $   112.29   $   112.29
 11/17/2019 Roberto Maldonado                   $11.00   53.95   $   10.00               $    76.73   $    76.73
 11/24/2019 Roberto Maldonado                   $11.00   49.92   $   10.00               $    54.54   $    54.54
  12/1/2019 Roberto Maldonado                   $11.00   49.23   $   10.00               $    50.78   $    50.78
  12/8/2019 Roberto Maldonado                   $11.00   55.87   $   10.00               $    87.27   $    87.27
 12/15/2019 Roberto Maldonado                   $10.00   56.42   $   10.00               $    82.08   $    82.08
 12/22/2019 Roberto Maldonado                   $10.00   58.33   $   10.00               $    91.67   $    91.67
   1/5/2020 Roberto Maldonado                   $10.00   53.22   $   11.00   $   53.22   $    72.69   $   125.91
  1/12/2020 Roberto Maldonado                   $10.00   58.22   $   11.00   $   58.22   $   100.19   $   158.41
  1/19/2020 Roberto Maldonado                   $10.00   56.22   $   11.00   $   56.22   $    89.19   $   145.41
  1/26/2020 Roberto Maldonado                   $10.00   46.45   $   11.00   $   46.45   $    35.48   $    81.93
  8/19/2018 Roberto Sanchez - New Cars          $12.50   60.85   $    8.60               $   130.31   $   130.31
  8/26/2018 Roberto Sanchez - New Cars          $12.50   72.52   $    8.60               $   203.23   $   203.23
   9/2/2018 Roberto Sanchez - New Cars          $12.50   71.83   $    8.60               $   198.96   $   198.96
   9/9/2018 Roberto Sanchez - New Cars          $12.50   68.37   $    8.60               $   177.29   $   177.29
  9/16/2018 Roberto Sanchez - New Cars          $12.50   66.10   $    8.60               $   163.13   $   163.13
  9/23/2018 Roberto Sanchez - New Cars          $12.50   60.95   $    8.60               $   130.94   $   130.94
  9/30/2018 Roberto Sanchez - New Cars          $12.50   71.02   $    8.60               $   193.85   $   193.85
  10/7/2018 Roberto Sanchez - New Cars          $12.50   68.25   $    8.60               $   176.56   $   176.56
 10/14/2018 Roberto Sanchez - New Cars          $12.50   54.52   $    8.60               $    90.73   $    90.73
 10/21/2018 Roberto Sanchez - New Cars          $12.50   69.58   $    8.60               $   184.90   $   184.90
  11/4/2018 Roberto Sanchez - New Cars          $12.50   69.23   $    8.60               $   182.71   $   182.71
 11/11/2018 Roberto Sanchez - New Cars          $12.50   62.23   $    8.60               $   138.96   $   138.96
 11/18/2018 Roberto Sanchez - New Cars          $12.50   70.85   $    8.60               $   192.81   $   192.81
 11/25/2018 Roberto Sanchez - New Cars          $12.50   60.73   $    8.60               $   129.58   $   129.58
  12/2/2018 Roberto Sanchez - New Cars          $12.50   69.35   $    8.60               $   183.44   $   183.44



                                                  582
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 584 of 683 PageID: 1431
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                      Name                            Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

  12/9/2018 Roberto Sanchez - New Cars          $12.50   65.88   $    8.60         $   161.77   $    161.77
 12/16/2018 Roberto Sanchez - New Cars          $12.50   62.37   $    8.60         $   139.79   $    139.79
 12/23/2018 Roberto Sanchez - New Cars          $12.50   82.35   $    8.60         $   264.69   $    264.69
 12/30/2018 Roberto Sanchez - New Cars          $12.50   51.97   $    8.60         $    74.79   $     74.79
   1/6/2019 Roberto Sanchez - New Cars          $12.50   51.13   $    8.85         $    69.58   $     69.58
  1/13/2019 Roberto Sanchez - New Cars          $12.50   64.55   $    8.85         $   153.44   $    153.44
  1/20/2019 Roberto Sanchez - New Cars          $12.50   53.95   $    8.85         $    87.19   $     87.19
  2/10/2019 Roberto Sanchez - New Cars          $12.50   51.23   $    8.85         $    70.21   $     70.21
  2/17/2019 Roberto Sanchez - New Cars          $12.50   65.78   $    8.85         $   161.15   $    161.15
  2/24/2019 Roberto Sanchez - New Cars          $12.50   73.00   $    8.85         $   206.25   $    206.25
  3/10/2019 Roberto Sanchez - New Cars          $13.50   76.77   $    8.85         $   248.18   $    248.18
  3/17/2019 Roberto Sanchez - New Cars          $13.50   78.33   $    8.85         $   258.75   $    258.75
  3/24/2019 Roberto Sanchez - New Cars          $13.50   78.40   $    8.85         $   259.20   $    259.20
  3/31/2019 Roberto Sanchez - New Cars          $13.50   79.37   $    8.85         $   265.73   $    265.73
   4/7/2019 Roberto Sanchez - New Cars          $13.50   78.72   $    8.85         $   261.34   $    261.34
  4/14/2019 Roberto Sanchez - New Cars          $13.50   77.35   $    8.85         $   252.11   $    252.11
  4/21/2019 Roberto Sanchez - New Cars          $13.50   80.37   $    8.85         $   272.48   $    272.48
  4/28/2019 Roberto Sanchez - New Cars          $13.50   78.00   $    8.85         $   256.50   $    256.50
   5/5/2019 Roberto Sanchez - New Cars          $13.50   80.10   $    8.85         $   270.68   $    270.68
  5/12/2019 Roberto Sanchez - New Cars          $13.50   77.52   $    8.85         $   253.24   $    253.24
  5/19/2019 Roberto Sanchez - New Cars          $13.50   78.57   $    8.85         $   260.33   $    260.33
  5/26/2019 Roberto Sanchez - New Cars          $13.50   83.00   $    8.85         $   290.25   $    290.25
   6/2/2019 Roberto Sanchez - New Cars          $13.50   83.30   $    8.85         $   292.28   $    292.28
   6/9/2019 Roberto Sanchez - New Cars          $13.50   85.55   $    8.85         $   307.46   $    307.46
  6/16/2019 Roberto Sanchez - New Cars          $13.50   77.47   $    8.85         $   252.90   $    252.90
  6/23/2019 Roberto Sanchez - New Cars          $13.50   83.43   $    8.85         $   293.18   $    293.18
  6/30/2019 Roberto Sanchez - New Cars          $13.50   82.48   $   10.00         $   286.76   $    286.76
   7/7/2019 Roberto Sanchez - New Cars          $14.00   76.30   $   10.00         $   254.10   $    254.10
  7/14/2019 Roberto Sanchez - New Cars          $14.00   87.62   $   10.00         $   333.32   $    333.32
  7/21/2019 Roberto Sanchez - New Cars          $14.00   80.62   $   10.00         $   284.32   $    284.32
  7/28/2019 Roberto Sanchez - New Cars          $14.00   76.00   $   10.00         $   252.00   $    252.00
   8/4/2019 Roberto Sanchez - New Cars          $14.00   74.23   $   10.00         $   239.63   $    239.63
  8/11/2019 Roberto Sanchez - New Cars          $14.00   69.88   $   10.00         $   209.18   $    209.18
  8/18/2019 Roberto Sanchez - New Cars          $14.00   79.03   $   10.00         $   273.23   $    273.23
  8/25/2019 Roberto Sanchez - New Cars          $14.00   82.32   $   10.00         $   296.22   $    296.22
   9/1/2019 Roberto Sanchez - New Cars          $14.00   83.82   $   10.00         $   306.72   $    306.72
   9/8/2019 Roberto Sanchez - New Cars          $14.00   79.32   $   10.00         $   275.22   $    275.22
  9/15/2019 Roberto Sanchez - New Cars          $14.00   81.82   $   10.00         $   292.72   $    292.72
  9/22/2019 Roberto Sanchez - New Cars          $14.00   79.88   $   10.00         $   279.18   $    279.18
  9/29/2019 Roberto Sanchez - New Cars          $14.00   73.18   $   10.00         $   232.28   $    232.28
  10/6/2019 Roberto Sanchez - New Cars          $14.00   77.08   $   10.00         $   259.58   $    259.58
 10/13/2019 Roberto Sanchez - New Cars          $14.00   76.58   $   10.00         $   256.08   $    256.08
 10/20/2019 Roberto Sanchez - New Cars          $14.00   81.20   $   10.00         $   288.40   $    288.40
 10/27/2019 Roberto Sanchez - New Cars          $14.00   67.08   $   10.00         $   189.58   $    189.58
  11/3/2019 Roberto Sanchez - New Cars          $14.00   64.87   $   10.00         $   174.07   $    174.07
 11/10/2019 Roberto Sanchez - New Cars          $14.00   81.30   $   10.00         $   289.10   $    289.10
 11/17/2019 Roberto Sanchez - New Cars          $14.00   81.78   $   10.00         $   292.48   $    292.48
 11/24/2019 Roberto Sanchez - New Cars          $14.00   81.80   $   10.00         $   292.60   $    292.60
  12/1/2019 Roberto Sanchez - New Cars          $14.00   68.55   $   10.00         $   199.85   $    199.85
  12/8/2019 Roberto Sanchez - New Cars          $14.00   77.32   $   10.00         $   261.22   $    261.22



                                                  583
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 585 of 683 PageID: 1432
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                      Name                            Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

 12/15/2019 Roberto Sanchez - New Cars          $14.00   61.83   $   10.00               $   152.83   $   152.83
 12/22/2019 Roberto Sanchez - New Cars          $14.00   71.92   $   10.00               $   223.42   $   223.42
 12/29/2019 Roberto Sanchez - New Cars          $14.00   53.50   $   10.00               $    94.50   $    94.50
   1/5/2020 Roberto Sanchez - New Cars          $14.00   56.37   $   11.00               $   114.57   $   114.57
  1/12/2020 Roberto Sanchez - New Cars          $14.00   77.88   $   11.00               $   265.18   $   265.18
  1/19/2020 Roberto Sanchez - New Cars          $14.00   77.98   $   11.00               $   265.88   $   265.88
  1/26/2020 Roberto Sanchez - New Cars          $14.00   67.97   $   11.00               $   195.77   $   195.77
  5/26/2019 Robin Funez                          $8.85   75.10   $    8.85               $   155.32   $   155.32
   6/2/2019 Robin Funez                          $8.85   73.33   $    8.85               $   147.50   $   147.50
   6/9/2019 Robin Funez                          $8.85   68.15   $    8.85               $   124.56   $   124.56
  6/16/2019 Robin Funez                          $8.85   73.78   $    8.85               $   149.49   $   149.49
  6/23/2019 Robin Funez                          $8.85   70.53   $    8.85               $   135.11   $   135.11
  6/30/2019 Robin Funez                          $8.85   75.15   $   10.00   $   86.42   $   175.75   $   262.17
   7/7/2019 Robin Funez                         $10.00   70.03   $   10.00               $   150.17   $   150.17
  7/14/2019 Robin Funez                         $10.00   72.12   $   10.00               $   160.58   $   160.58
  7/21/2019 Robin Funez                         $10.00   72.37   $   10.00               $   161.83   $   161.83
  7/28/2019 Robin Funez                         $10.00   62.53   $   10.00               $   112.67   $   112.67
   8/4/2019 Robin Funez                         $10.00   75.67   $   10.00               $   178.33   $   178.33
  8/11/2019 Robin Funez                         $10.00   68.15   $   10.00               $   140.75   $   140.75
  8/18/2019 Robin Funez                         $10.00   72.80   $   10.00               $   164.00   $   164.00
  8/25/2019 Robin Funez                         $10.00   62.82   $   10.00               $   114.08   $   114.08
   9/1/2019 Robin Funez                         $10.00   70.30   $   10.00               $   151.50   $   151.50
   9/8/2019 Robin Funez                         $10.00   70.55   $   10.00               $   152.75   $   152.75
  9/15/2019 Robin Funez                         $10.00   72.50   $   10.00               $   162.50   $   162.50
  9/22/2019 Robin Funez                         $10.00   73.22   $   10.00               $   166.08   $   166.08
  9/29/2019 Robin Funez                         $10.00   69.22   $   10.00               $   146.08   $   146.08
  10/6/2019 Robin Funez                         $10.00   73.88   $   10.00               $   169.42   $   169.42
 10/13/2019 Robin Funez                         $10.00   76.00   $   10.00               $   180.00   $   180.00
 10/20/2019 Robin Funez                         $10.00   73.57   $   10.00               $   167.83   $   167.83
 10/27/2019 Robin Funez                         $10.00   74.97   $   10.00               $   174.83   $   174.83
  11/3/2019 Robin Funez                         $10.00   76.53   $   10.00               $   182.67   $   182.67
 11/10/2019 Robin Funez                         $10.00   60.17   $   10.00               $   100.83   $   100.83
 11/17/2019 Robin Funez                         $10.00   72.37   $   10.00               $   161.83   $   161.83
 11/24/2019 Robin Funez                         $10.00   73.60   $   10.00               $   168.00   $   168.00
  12/1/2019 Robin Funez                         $10.00   62.13   $   10.00               $   110.67   $   110.67
  12/8/2019 Robin Funez                         $10.00   64.80   $   10.00               $   124.00   $   124.00
 12/15/2019 Robin Funez                         $10.00   70.08   $   10.00               $   150.42   $   150.42
 12/22/2019 Robin Funez                         $10.00   75.17   $   10.00               $   175.83   $   175.83
 12/29/2019 Robin Funez                         $10.50   57.95   $   10.00               $    94.24   $    94.24
   1/5/2020 Robin Funez                         $10.50   68.57   $   11.00   $   34.28   $   157.12   $   191.40
  1/12/2020 Robin Funez                         $10.50   67.68   $   11.00   $   33.84   $   152.26   $   186.10
  1/19/2020 Robin Funez                         $10.50   71.38   $   11.00   $   35.69   $   172.61   $   208.30
  1/26/2020 Robin Funez                         $10.50   73.05   $   11.00   $   36.53   $   181.78   $   218.30
  2/12/2017 Rodney Lewis                        $10.00   45.57   $    8.44               $    27.83   $    27.83
  2/19/2017 Rodney Lewis                        $10.00   51.93   $    8.44               $    59.67   $    59.67
   3/5/2017 Rodney Lewis                        $10.00   42.77   $    8.44               $    13.83   $    13.83
  3/12/2017 Rodney Lewis                        $10.00   54.47   $    8.44               $    72.33   $    72.33
  3/26/2017 Rodney Lewis                        $10.00   43.07   $    8.44               $    15.33   $    15.33
   4/2/2017 Rodney Lewis                        $10.00   50.97   $    8.44               $    54.83   $    54.83
   4/9/2017 Rodney Lewis                        $10.00   48.88   $    8.44               $    44.42   $    44.42



                                                  584
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 586 of 683 PageID: 1433
                                          Exhibit 2
                                  New Jersey Computations


   Week                                                  State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
  Ending                   Name                        Minumum Regular    Half-Time Overtime Back
                                          Rate Week
   Date                                                  Wage  Rate Due     Due       Wages Due

  4/16/2017 Rodney Lewis                 $10.00   45.27   $    8.44         $    26.33   $     26.33
  4/30/2017 Rodney Lewis                 $10.00   44.02   $    8.44         $    20.08   $     20.08
   5/7/2017 Rodney Lewis                 $10.00   47.62   $    8.44         $    38.08   $     38.08
  8/27/2017 Rodney Lewis                 $10.00   53.47   $    8.44         $    67.33   $     67.33
   9/3/2017 Rodney Lewis                 $10.00   56.80   $    8.44         $    84.00   $     84.00
  9/17/2017 Rodney Lewis                 $10.00   54.80   $    8.44         $    74.00   $     74.00
  10/1/2017 Rodney Lewis                 $10.00   56.58   $    8.44         $    82.92   $     82.92
  10/8/2017 Rodney Lewis                 $10.00   53.93   $    8.44         $    69.67   $     69.67
 10/15/2017 Rodney Lewis                 $10.00   52.90   $    8.44         $    64.50   $     64.50
 10/22/2017 Rodney Lewis                 $10.00   57.63   $    8.44         $    88.17   $     88.17
 10/29/2017 Rodney Lewis                 $10.00   61.12   $    8.44         $   105.58   $    105.58
  11/5/2017 Rodney Lewis                 $10.00   50.23   $    8.44         $    51.17   $     51.17
 11/12/2017 Rodney Lewis                 $10.00   46.87   $    8.44         $    34.33   $     34.33
 11/19/2017 Rodney Lewis                 $10.00   58.73   $    8.44         $    93.67   $     93.67
  12/3/2017 Rodney Lewis                 $10.00   55.00   $    8.44         $    75.00   $     75.00
  1/28/2018 Rodney Lewis                 $10.00   51.63   $    8.60         $    58.17   $     58.17
   2/4/2018 Rodney Lewis                 $10.00   48.77   $    8.60         $    43.83   $     43.83
  2/11/2018 Rodney Lewis                 $10.00   56.38   $    8.60         $    81.92   $     81.92
  2/18/2018 Rodney Lewis                 $10.00   45.75   $    8.60         $    28.75   $     28.75
   3/4/2018 Rodney Lewis                 $10.00   50.45   $    8.60         $    52.25   $     52.25
  3/25/2018 Rodney Lewis                 $10.00   50.58   $    8.60         $    52.92   $     52.92
   4/1/2018 Rodney Lewis                 $10.00   45.67   $    8.60         $    28.33   $     28.33
   4/8/2018 Rodney Lewis                 $10.00   52.75   $    8.60         $    63.75   $     63.75
  4/15/2018 Rodney Lewis                 $10.00   53.05   $    8.60         $    65.25   $     65.25
  6/10/2018 Rodney Lewis                 $10.00   53.92   $    8.60         $    69.58   $     69.58
  6/24/2018 Rodney Lewis                 $10.00   49.60   $    8.60         $    48.00   $     48.00
   7/1/2018 Rodney Lewis                 $10.00   52.23   $    8.60         $    61.17   $     61.17
  8/19/2018 Rodney Lewis                 $10.00   47.73   $    8.60         $    38.67   $     38.67
  8/26/2018 Rodney Lewis                 $10.00   56.27   $    8.60         $    81.33   $     81.33
   9/2/2018 Rodney Lewis                 $10.00   52.28   $    8.60         $    61.42   $     61.42
   9/9/2018 Rodney Lewis                 $10.00   45.42   $    8.60         $    27.08   $     27.08
  9/23/2018 Rodney Lewis                 $10.00   50.75   $    8.60         $    53.75   $     53.75
  9/30/2018 Rodney Lewis                 $10.00   53.38   $    8.60         $    66.92   $     66.92
  10/7/2018 Rodney Lewis                 $10.00   40.48   $    8.60         $     2.42   $      2.42
 10/14/2018 Rodney Lewis                 $10.00   51.80   $    8.60         $    59.00   $     59.00
 10/21/2018 Rodney Lewis                 $10.00   54.20   $    8.60         $    71.00   $     71.00
  11/4/2018 Rodney Lewis                 $10.00   45.35   $    8.60         $    26.75   $     26.75
 11/11/2018 Rodney Lewis                 $10.00   55.02   $    8.60         $    75.08   $     75.08
 11/18/2018 Rodney Lewis                 $10.00   43.17   $    8.60         $    15.83   $     15.83
  12/2/2018 Rodney Lewis                 $10.00   51.78   $    8.60         $    58.92   $     58.92
  12/9/2018 Rodney Lewis                 $10.00   49.57   $    8.60         $    47.83   $     47.83
 12/23/2018 Rodney Lewis                 $10.00   42.90   $    8.60         $    14.50   $     14.50
  8/18/2019 Rodney Lewis                 $10.50   50.07   $   10.00         $    52.85   $     52.85
  8/25/2019 Rodney Lewis                 $10.50   49.68   $   10.00         $    50.84   $     50.84
   9/1/2019 Rodney Lewis                 $10.50   44.00   $   10.00         $    21.00   $     21.00
   9/8/2019 Rodney Lewis                 $10.50   45.92   $   10.00         $    31.06   $     31.06
  9/29/2019 Rodney Lewis                 $10.50   51.55   $   10.00         $    60.64   $     60.64
  10/6/2019 Rodney Lewis                 $10.50   55.48   $   10.00         $    81.29   $     81.29
 10/13/2019 Rodney Lewis                 $10.50   66.45   $   10.00         $   138.86   $    138.86
 10/20/2019 Rodney Lewis                 $10.50   64.57   $   10.00         $   128.98   $    128.98



                                           585
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 587 of 683 PageID: 1434
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

 10/27/2019 Rodney Lewis                       $10.50   64.02   $   10.00         $   126.09   $    126.09
  11/3/2019 Rodney Lewis                       $10.50   65.27   $   10.00         $   132.65   $    132.65
 11/10/2019 Rodney Lewis                       $10.50   61.57   $   10.00         $   113.23   $    113.23
 11/17/2019 Rodney Lewis                       $10.50   41.23   $   10.00         $     6.48   $      6.48
  12/3/2017 Rodolfo Cusanero                    $9.00   60.07   $    8.44         $    90.30   $     90.30
 12/10/2017 Rodolfo Cusanero                    $9.00   60.28   $    8.44         $    91.28   $     91.28
 12/17/2017 Rodolfo Cusanero                    $9.00   59.83   $    8.44         $    89.25   $     89.25
 12/24/2017 Rodolfo Cusanero                    $9.00   63.50   $    8.44         $   105.75   $    105.75
 12/31/2017 Rodolfo Cusanero                    $9.00   50.65   $    8.44         $    47.93   $     47.93
   1/7/2018 Rodolfo Cusanero                    $9.00   53.32   $    8.60         $    59.93   $     59.93
  1/14/2018 Rodolfo Cusanero                    $9.00   58.18   $    8.60         $    81.83   $     81.83
  1/21/2018 Rodolfo Cusanero                    $9.00   50.98   $    8.60         $    49.43   $     49.43
  5/20/2018 Rodolfo Paz Rivera                  $9.50   69.90   $    8.60         $   142.03   $    142.03
  5/27/2018 Rodolfo Paz Rivera                  $9.50   76.95   $    8.60         $   175.51   $    175.51
   6/3/2018 Rodolfo Paz Rivera                  $9.50   78.05   $    8.60         $   180.74   $    180.74
  6/10/2018 Rodolfo Paz Rivera                  $9.50   78.77   $    8.60         $   184.14   $    184.14
  6/17/2018 Rodolfo Paz Rivera                  $9.50   70.60   $    8.60         $   145.35   $    145.35
  6/24/2018 Rodolfo Paz Rivera                  $9.50   61.57   $    8.60         $   102.44   $    102.44
   7/1/2018 Rodolfo Paz Rivera                  $9.50   73.35   $    8.60         $   158.41   $    158.41
   7/8/2018 Rodolfo Paz Rivera                  $9.50   65.55   $    8.60         $   121.36   $    121.36
  7/15/2018 Rodolfo Paz Rivera                  $9.50   54.20   $    8.60         $    67.45   $     67.45
   8/4/2019 Rogelio Ortiz                      $11.00   44.22   $   10.00         $    23.19   $     23.19
  8/11/2019 Rogelio Ortiz                      $11.00   76.73   $   10.00         $   202.03   $    202.03
  8/18/2019 Rogelio Ortiz                      $11.00   74.68   $   10.00         $   190.76   $    190.76
  8/25/2019 Rogelio Ortiz                      $11.00   76.30   $   10.00         $   199.65   $    199.65
   9/1/2019 Rogelio Ortiz                      $11.00   77.00   $   10.00         $   203.50   $    203.50
   9/8/2019 Rogelio Ortiz                      $11.00   74.70   $   10.00         $   190.85   $    190.85
  9/15/2019 Rogelio Ortiz                      $11.00   77.18   $   10.00         $   204.51   $    204.51
  9/22/2019 Rogelio Ortiz                      $11.00   76.78   $   10.00         $   202.31   $    202.31
  9/29/2019 Rogelio Ortiz                      $11.00   63.53   $   10.00         $   129.43   $    129.43
  10/6/2019 Rogelio Ortiz                      $11.00   77.52   $   10.00         $   206.34   $    206.34
 10/13/2019 Rogelio Ortiz                      $11.00   77.33   $   10.00         $   205.33   $    205.33
 10/20/2019 Rogelio Ortiz                      $11.00   77.18   $   10.00         $   204.51   $    204.51
 10/27/2019 Rogelio Ortiz                      $11.00   76.95   $   10.00         $   203.23   $    203.23
  11/3/2019 Rogelio Ortiz                      $11.00   77.08   $   10.00         $   203.96   $    203.96
 11/10/2019 Rogelio Ortiz                      $11.00   77.08   $   10.00         $   203.96   $    203.96
 11/17/2019 Rogelio Ortiz                      $11.00   77.00   $   10.00         $   203.50   $    203.50
 11/24/2019 Rogelio Ortiz                      $11.00   77.15   $   10.00         $   204.33   $    204.33
  12/1/2019 Rogelio Ortiz                      $11.00   66.02   $   10.00         $   143.09   $    143.09
  12/8/2019 Rogelio Ortiz                      $11.00   77.35   $   10.00         $   205.43   $    205.43
 12/15/2019 Rogelio Ortiz                      $11.00   76.42   $   10.00         $   200.29   $    200.29
 12/22/2019 Rogelio Ortiz                      $11.00   76.67   $   10.00         $   201.67   $    201.67
 12/29/2019 Rogelio Ortiz                      $11.00   52.30   $   10.00         $    67.65   $     67.65
   1/5/2020 Rogelio Ortiz                      $11.00   62.27   $   11.00         $   122.47   $    122.47
  1/12/2020 Rogelio Ortiz                      $11.00   73.40   $   11.00         $   183.70   $    183.70
  1/19/2020 Rogelio Ortiz                      $11.00   75.38   $   11.00         $   194.61   $    194.61
  1/26/2020 Rogelio Ortiz                      $11.00   69.62   $   11.00         $   162.89   $    162.89
  9/22/2019 Rolando Gonzalez                   $10.00   61.42   $   10.00         $   107.08   $    107.08
  9/29/2019 Rolando Gonzalez                   $10.00   64.02   $   10.00         $   120.08   $    120.08
  10/6/2019 Rolando Gonzalez                   $10.00   53.40   $   10.00         $    67.00   $     67.00



                                                 586
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 588 of 683 PageID: 1435
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

 10/13/2019 Rolando Gonzalez                 $10.00   54.47   $   10.00               $    72.33   $    72.33
 10/20/2019 Rolando Gonzalez                 $10.00   59.62   $   10.00               $    98.08   $    98.08
 10/27/2019 Rolando Gonzalez                 $10.00   56.15   $   10.00               $    80.75   $    80.75
  11/3/2019 Rolando Gonzalez                 $10.00   56.48   $   10.00               $    82.42   $    82.42
 11/10/2019 Rolando Gonzalez                 $10.00   60.00   $   10.00               $   100.00   $   100.00
 11/17/2019 Rolando Gonzalez                 $10.00   58.00   $   10.00               $    90.00   $    90.00
  12/1/2019 Rolando Gonzalez                 $10.00   49.72   $   10.00               $    48.58   $    48.58
  12/8/2019 Rolando Gonzalez                 $10.00   54.85   $   10.00               $    74.25   $    74.25
 12/15/2019 Rolando Gonzalez                 $10.00   56.28   $   10.00               $    81.42   $    81.42
 12/22/2019 Rolando Gonzalez                 $10.00   66.95   $   10.00               $   134.75   $   134.75
 12/29/2019 Rolando Gonzalez                 $10.00   44.55   $   10.00               $    22.75   $    22.75
   1/5/2020 Rolando Gonzalez                 $10.00   48.55   $   11.00   $   48.55   $    47.02   $    95.57
  1/12/2020 Rolando Gonzalez                 $10.00   48.48   $   11.00   $   48.48   $    46.66   $    95.14
   2/5/2017 Rolando Us                       $10.00   59.12   $    8.44               $    95.58   $    95.58
  2/12/2017 Rolando Us                       $10.00   49.67   $    8.44               $    48.33   $    48.33
  2/19/2017 Rolando Us                       $10.00   59.85   $    8.44               $    99.25   $    99.25
   2/5/2017 Ronald Rodriguez                 $10.50   63.48   $    8.44               $   123.29   $   123.29
  2/12/2017 Ronald Rodriguez                 $10.50   53.12   $    8.44               $    68.86   $    68.86
  2/19/2017 Ronald Rodriguez                 $10.50   64.08   $    8.44               $   126.44   $   126.44
  2/26/2017 Ronald Rodriguez                 $10.50   63.43   $    8.44               $   123.03   $   123.03
   3/5/2017 Ronald Rodriguez                 $10.50   64.27   $    8.44               $   127.40   $   127.40
  3/12/2017 Ronald Rodriguez                 $10.50   64.18   $    8.44               $   126.96   $   126.96
  3/19/2017 Ronald Rodriguez                 $10.50   52.78   $    8.44               $    67.11   $    67.11
  3/26/2017 Ronald Rodriguez                 $10.50   64.88   $    8.44               $   130.64   $   130.64
   4/2/2017 Ronald Rodriguez                 $10.50   67.35   $    8.44               $   143.59   $   143.59
   4/9/2017 Ronald Rodriguez                 $10.50   64.97   $    8.44               $   131.08   $   131.08
  4/16/2017 Ronald Rodriguez                 $10.50   65.15   $    8.44               $   132.04   $   132.04
  4/23/2017 Ronald Rodriguez                 $10.50   65.73   $    8.44               $   135.10   $   135.10
  4/30/2017 Ronald Rodriguez                 $10.50   66.57   $    8.44               $   139.48   $   139.48
   5/7/2017 Ronald Rodriguez                 $10.50   65.55   $    8.44               $   134.14   $   134.14
  5/14/2017 Ronald Rodriguez                 $10.50   57.00   $    8.44               $    89.25   $    89.25
  5/21/2017 Ronald Rodriguez                 $10.50   66.92   $    8.44               $   141.31   $   141.31
  5/28/2017 Ronald Rodriguez                 $10.50   64.27   $    8.44               $   127.40   $   127.40
   6/4/2017 Ronald Rodriguez                 $10.50   64.78   $    8.44               $   130.11   $   130.11
  6/11/2017 Ronald Rodriguez                 $10.50   64.93   $    8.44               $   130.90   $   130.90
  6/18/2017 Ronald Rodriguez                 $10.50   55.83   $    8.44               $    83.13   $    83.13
   7/2/2017 Ronald Rodriguez                 $11.00   59.52   $    8.44               $   107.34   $   107.34
   7/9/2017 Ronald Rodriguez                 $11.00   60.73   $    8.44               $   114.03   $   114.03
  7/16/2017 Ronald Rodriguez                 $11.00   63.40   $    8.44               $   128.70   $   128.70
  7/23/2017 Ronald Rodriguez                 $11.00   67.43   $    8.44               $   150.88   $   150.88
  7/30/2017 Ronald Rodriguez                 $11.00   68.57   $    8.44               $   157.12   $   157.12
   8/6/2017 Ronald Rodriguez                 $11.00   62.72   $    8.44               $   124.94   $   124.94
  8/13/2017 Ronald Rodriguez                 $11.00   62.65   $    8.44               $   124.58   $   124.58
  8/20/2017 Ronald Rodriguez                 $11.00   62.90   $    8.44               $   125.95   $   125.95
  8/27/2017 Ronald Rodriguez                 $11.00   54.83   $    8.44               $    81.58   $    81.58
   9/3/2017 Ronald Rodriguez                 $11.00   62.32   $    8.44               $   122.74   $   122.74
  9/10/2017 Ronald Rodriguez                 $11.00   49.85   $    8.44               $    54.18   $    54.18
  9/17/2017 Ronald Rodriguez                 $11.00   60.05   $    8.44               $   110.28   $   110.28
  9/24/2017 Ronald Rodriguez                 $11.00   62.62   $    8.44               $   124.39   $   124.39
  10/1/2017 Ronald Rodriguez                 $11.00   46.65   $    8.44               $    36.58   $    36.58



                                               587
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 589 of 683 PageID: 1436
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  10/8/2017 Ronald Rodriguez                 $11.00   45.87   $   8.44          $    32.27   $     32.27
 10/22/2017 Ronald Rodriguez                 $11.00   54.73   $   8.44          $    81.03   $     81.03
 10/29/2017 Ronald Rodriguez                 $11.00   65.43   $   8.44          $   139.88   $    139.88
  11/5/2017 Ronald Rodriguez                 $11.00   63.77   $   8.44          $   130.72   $    130.72
 11/12/2017 Ronald Rodriguez                 $11.00   65.55   $   8.44          $   140.53   $    140.53
 11/19/2017 Ronald Rodriguez                 $11.00   51.38   $   8.44          $    62.61   $     62.61
  12/3/2017 Ronald Rodriguez                 $11.00   52.55   $   8.44          $    69.03   $     69.03
 12/10/2017 Ronald Rodriguez                 $11.00   61.07   $   8.44          $   115.87   $    115.87
 12/17/2017 Ronald Rodriguez                 $11.00   59.90   $   8.44          $   109.45   $    109.45
 12/24/2017 Ronald Rodriguez                 $11.00   58.08   $   8.44          $    99.46   $     99.46
 12/31/2017 Ronald Rodriguez                 $11.00   45.08   $   8.44          $    27.96   $     27.96
   1/7/2018 Ronald Rodriguez                 $11.00   41.83   $   8.60          $    10.08   $     10.08
  1/14/2018 Ronald Rodriguez                 $11.00   54.07   $   8.60          $    77.37   $     77.37
  1/21/2018 Ronald Rodriguez                 $11.00   55.57   $   8.60          $    85.62   $     85.62
  1/28/2018 Ronald Rodriguez                 $11.00   57.65   $   8.60          $    97.08   $     97.08
   2/4/2018 Ronald Rodriguez                 $11.00   53.95   $   8.60          $    76.73   $     76.73
  2/11/2018 Ronald Rodriguez                 $11.00   56.45   $   8.60          $    90.48   $     90.48
  2/18/2018 Ronald Rodriguez                 $11.00   53.87   $   8.60          $    76.27   $     76.27
  2/25/2018 Ronald Rodriguez                 $11.00   56.08   $   8.60          $    88.46   $     88.46
   3/4/2018 Ronald Rodriguez                 $11.00   54.87   $   8.60          $    81.77   $     81.77
  3/25/2018 Ronald Rodriguez                 $11.00   50.47   $   8.60          $    57.57   $     57.57
   4/1/2018 Ronald Rodriguez                 $11.00   58.15   $   8.60          $    99.83   $     99.83
   4/8/2018 Ronald Rodriguez                 $11.00   57.57   $   8.60          $    96.62   $     96.62
  4/15/2018 Ronald Rodriguez                 $11.00   56.37   $   8.60          $    90.02   $     90.02
  4/22/2018 Ronald Rodriguez                 $11.00   50.40   $   8.60          $    57.20   $     57.20
  4/29/2018 Ronald Rodriguez                 $11.00   61.17   $   8.60          $   116.42   $    116.42
  8/27/2017 Ronaldo Quezada                  $10.00   45.88   $   8.44          $    29.42   $     29.42
   9/3/2017 Ronaldo Quezada                  $10.00   46.38   $   8.44          $    31.92   $     31.92
  9/10/2017 Ronaldo Quezada                  $10.00   46.83   $   8.44          $    34.17   $     34.17
  9/17/2017 Ronaldo Quezada                  $10.00   49.30   $   8.44          $    46.50   $     46.50
  9/24/2017 Ronaldo Quezada                  $10.00   53.88   $   8.44          $    69.42   $     69.42
  10/1/2017 Ronaldo Quezada                  $10.00   43.42   $   8.44          $    17.08   $     17.08
  10/8/2017 Ronaldo Quezada                  $10.00   50.00   $   8.44          $    50.00   $     50.00
 10/15/2017 Ronaldo Quezada                  $10.00   44.35   $   8.44          $    21.75   $     21.75
 10/22/2017 Ronaldo Quezada                  $10.00   46.48   $   8.44          $    32.42   $     32.42
  11/5/2017 Ronaldo Quezada                  $10.00   47.38   $   8.44          $    36.92   $     36.92
 11/12/2017 Ronaldo Quezada                  $10.00   45.07   $   8.44          $    25.33   $     25.33
 11/19/2017 Ronaldo Quezada                  $10.00   50.68   $   8.44          $    53.42   $     53.42
  12/3/2017 Ronaldo Quezada                  $10.00   44.60   $   8.44          $    23.00   $     23.00
 12/10/2017 Ronaldo Quezada                  $10.00   43.38   $   8.44          $    16.92   $     16.92
 12/17/2017 Ronaldo Quezada                  $10.00   46.87   $   8.44          $    34.33   $     34.33
 12/24/2017 Ronaldo Quezada                  $10.00   42.93   $   8.44          $    14.67   $     14.67
   1/7/2018 Ronaldo Quezada                   $8.60   40.65   $   8.60          $     2.79   $      2.79
  1/14/2018 Ronaldo Quezada                  $10.00   59.38   $   8.60          $    96.92   $     96.92
  1/21/2018 Ronaldo Quezada                  $10.00   44.15   $   8.60          $    20.75   $     20.75
  1/28/2018 Ronaldo Quezada                  $10.00   59.02   $   8.60          $    95.08   $     95.08
   2/4/2018 Ronaldo Quezada                  $10.00   62.73   $   8.60          $   113.67   $    113.67
  2/11/2018 Ronaldo Quezada                  $10.00   59.10   $   8.60          $    95.50   $     95.50
  2/18/2018 Ronaldo Quezada                  $10.00   53.83   $   8.60          $    69.17   $     69.17
  2/25/2018 Ronaldo Quezada                  $10.00   54.75   $   8.60          $    73.75   $     73.75



                                               588
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 590 of 683 PageID: 1437
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  3/25/2018 Ronaldo Quezada                 $10.00   43.40   $   8.60          $    17.00   $     17.00
   4/1/2018 Ronaldo Quezada                 $10.00   47.08   $   8.60          $    35.42   $     35.42
   4/8/2018 Ronaldo Quezada                 $10.00   47.50   $   8.60          $    37.50   $     37.50
  4/15/2018 Ronaldo Quezada                 $10.00   48.10   $   8.60          $    40.50   $     40.50
  4/22/2018 Ronaldo Quezada                 $10.00   44.12   $   8.60          $    20.58   $     20.58
  4/29/2018 Ronaldo Quezada                 $10.00   43.00   $   8.60          $    15.00   $     15.00
   5/6/2018 Ronaldo Quezada                 $10.00   44.27   $   8.60          $    21.33   $     21.33
  5/13/2018 Ronaldo Quezada                 $10.00   44.75   $   8.60          $    23.75   $     23.75
  5/20/2018 Ronaldo Quezada                 $10.00   43.95   $   8.60          $    19.75   $     19.75
   6/3/2018 Ronaldo Quezada                 $10.00   43.70   $   8.60          $    18.50   $     18.50
  6/10/2018 Ronaldo Quezada                 $10.00   48.97   $   8.60          $    44.83   $     44.83
  6/17/2018 Ronaldo Quezada                 $10.00   45.48   $   8.60          $    27.42   $     27.42
  6/24/2018 Ronaldo Quezada                 $10.00   46.20   $   8.60          $    31.00   $     31.00
   7/1/2018 Ronaldo Quezada                 $10.00   44.38   $   8.60          $    21.92   $     21.92
  7/15/2018 Ronaldo Quezada                 $10.00   46.72   $   8.60          $    33.58   $     33.58
  7/22/2018 Ronaldo Quezada                 $10.00   46.47   $   8.60          $    32.33   $     32.33
  7/29/2018 Ronaldo Quezada                 $10.00   44.72   $   8.60          $    23.58   $     23.58
   8/5/2018 Ronaldo Quezada                 $10.00   44.27   $   8.60          $    21.33   $     21.33
  8/12/2018 Ronaldo Quezada                 $10.00   52.20   $   8.60          $    61.00   $     61.00
  8/19/2018 Ronaldo Quezada                 $10.00   51.63   $   8.60          $    58.17   $     58.17
  8/26/2018 Ronaldo Quezada                 $10.00   52.70   $   8.60          $    63.50   $     63.50
   9/2/2018 Ronaldo Quezada                 $10.00   50.23   $   8.60          $    51.17   $     51.17
   9/9/2018 Ronaldo Quezada                 $10.00   49.47   $   8.60          $    47.33   $     47.33
  9/16/2018 Ronaldo Quezada                 $10.00   50.80   $   8.60          $    54.00   $     54.00
  9/23/2018 Ronaldo Quezada                 $10.00   49.48   $   8.60          $    47.42   $     47.42
  9/30/2018 Ronaldo Quezada                 $10.00   52.33   $   8.60          $    61.67   $     61.67
  10/7/2018 Ronaldo Quezada                 $10.00   46.92   $   8.60          $    34.58   $     34.58
 10/14/2018 Ronaldo Quezada                 $10.00   51.50   $   8.60          $    57.50   $     57.50
 10/21/2018 Ronaldo Quezada                 $10.00   51.03   $   8.60          $    55.17   $     55.17
 10/28/2018 Ronaldo Quezada                 $10.00   50.18   $   8.60          $    50.92   $     50.92
  11/4/2018 Ronaldo Quezada                 $10.00   46.47   $   8.60          $    32.33   $     32.33
 11/25/2018 Ronaldo Quezada                 $10.00   48.20   $   8.60          $    41.00   $     41.00
  12/2/2018 Ronaldo Quezada                 $11.00   65.12   $   8.60          $   138.14   $    138.14
  12/9/2018 Ronaldo Quezada                 $11.00   82.33   $   8.60          $   232.83   $    232.83
 12/16/2018 Ronaldo Quezada                 $11.00   82.93   $   8.60          $   236.13   $    236.13
 12/23/2018 Ronaldo Quezada                 $11.00   85.93   $   8.60          $   252.63   $    252.63
 12/30/2018 Ronaldo Quezada                 $11.00   66.87   $   8.60          $   147.77   $    147.77
   1/6/2019 Ronaldo Quezada                 $11.00   75.30   $   8.85          $   194.15   $    194.15
  1/13/2019 Ronaldo Quezada                 $11.00   77.43   $   8.85          $   205.88   $    205.88
  1/20/2019 Ronaldo Quezada                 $11.00   72.78   $   8.85          $   180.31   $    180.31
  1/27/2019 Ronaldo Quezada                 $11.00   72.63   $   8.85          $   179.48   $    179.48
   2/3/2019 Ronaldo Quezada                 $11.00   73.45   $   8.85          $   183.98   $    183.98
  2/10/2019 Ronaldo Quezada                 $11.00   74.77   $   8.85          $   191.22   $    191.22
  2/17/2019 Ronaldo Quezada                 $11.00   61.97   $   8.85          $   120.82   $    120.82
  2/24/2019 Ronaldo Quezada                 $11.00   80.68   $   8.85          $   223.76   $    223.76
   3/3/2019 Ronaldo Quezada                 $11.00   78.53   $   8.85          $   211.93   $    211.93
  3/10/2019 Ronaldo Quezada                 $11.00   76.57   $   8.85          $   201.12   $    201.12
  3/17/2019 Ronaldo Quezada                 $11.00   60.30   $   8.85          $   111.65   $    111.65
  3/24/2019 Ronaldo Quezada                 $11.00   60.13   $   8.85          $   110.73   $    110.73
  3/31/2019 Ronaldo Quezada                 $11.00   58.22   $   8.85          $   100.19   $    100.19



                                              589
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 591 of 683 PageID: 1438
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  4/14/2019 Ronaldo Quezada                 $11.00   54.83   $    8.85         $    81.58   $     81.58
  4/21/2019 Ronaldo Quezada                 $11.00   57.20   $    8.85         $    94.60   $     94.60
  4/28/2019 Ronaldo Quezada                 $11.00   61.82   $    8.85         $   119.99   $    119.99
   5/5/2019 Ronaldo Quezada                 $11.00   56.15   $    8.85         $    88.83   $     88.83
  5/12/2019 Ronaldo Quezada                 $11.00   62.20   $    8.85         $   122.10   $    122.10
  5/19/2019 Ronaldo Quezada                 $11.00   58.35   $    8.85         $   100.93   $    100.93
  5/26/2019 Ronaldo Quezada                 $11.00   56.77   $    8.85         $    92.22   $     92.22
   6/2/2019 Ronaldo Quezada                 $11.00   47.82   $    8.85         $    42.99   $     42.99
   6/9/2019 Ronaldo Quezada                 $11.00   59.83   $    8.85         $   109.08   $    109.08
  6/16/2019 Ronaldo Quezada                 $11.00   53.78   $    8.85         $    75.81   $     75.81
  6/23/2019 Ronaldo Quezada                 $11.00   58.07   $    8.85         $    99.37   $     99.37
  6/30/2019 Ronaldo Quezada                 $11.00   57.52   $   10.00         $    96.34   $     96.34
   7/7/2019 Ronaldo Quezada                 $11.00   47.18   $   10.00         $    39.51   $     39.51
  7/21/2019 Ronaldo Quezada                 $11.00   58.38   $   10.00         $   101.11   $    101.11
  7/28/2019 Ronaldo Quezada                 $11.00   57.78   $   10.00         $    97.81   $     97.81
   8/4/2019 Ronaldo Quezada                 $11.00   57.50   $   10.00         $    96.25   $     96.25
  8/11/2019 Ronaldo Quezada                 $11.00   67.70   $   10.00         $   152.35   $    152.35
  8/18/2019 Ronaldo Quezada                 $11.00   72.25   $   10.00         $   177.38   $    177.38
  8/25/2019 Ronaldo Quezada                 $11.00   69.88   $   10.00         $   164.36   $    164.36
   9/1/2019 Ronaldo Quezada                 $11.00   71.28   $   10.00         $   172.06   $    172.06
   9/8/2019 Ronaldo Quezada                 $11.00   56.40   $   10.00         $    90.20   $     90.20
  9/15/2019 Ronaldo Quezada                 $11.00   67.43   $   10.00         $   150.88   $    150.88
  9/22/2019 Ronaldo Quezada                 $11.00   67.93   $   10.00         $   153.63   $    153.63
  9/29/2019 Ronaldo Quezada                 $11.00   67.80   $   10.00         $   152.90   $    152.90
  10/6/2019 Ronaldo Quezada                 $11.00   65.52   $   10.00         $   140.34   $    140.34
 10/13/2019 Ronaldo Quezada                 $11.00   67.75   $   10.00         $   152.63   $    152.63
 10/20/2019 Ronaldo Quezada                 $11.00   67.23   $   10.00         $   149.78   $    149.78
 10/27/2019 Ronaldo Quezada                 $11.00   66.62   $   10.00         $   146.39   $    146.39
  11/3/2019 Ronaldo Quezada                 $11.00   54.88   $   10.00         $    81.86   $     81.86
 11/10/2019 Ronaldo Quezada                 $11.00   67.15   $   10.00         $   149.33   $    149.33
 11/17/2019 Ronaldo Quezada                 $11.00   57.77   $   10.00         $    97.72   $     97.72
 11/24/2019 Ronaldo Quezada                 $11.00   70.85   $   10.00         $   169.68   $    169.68
  12/1/2019 Ronaldo Quezada                 $11.00   55.87   $   10.00         $    87.27   $     87.27
  12/8/2019 Ronaldo Quezada                 $11.00   65.73   $   10.00         $   141.53   $    141.53
 12/15/2019 Ronaldo Quezada                 $11.00   57.42   $   10.00         $    95.79   $     95.79
 12/29/2019 Ronaldo Quezada                 $11.00   42.95   $   10.00         $    16.23   $     16.23
   1/5/2020 Ronaldo Quezada                 $11.00   63.05   $   11.00         $   126.78   $    126.78
  1/12/2020 Ronaldo Quezada                 $11.00   67.78   $   11.00         $   152.81   $    152.81
  1/19/2020 Ronaldo Quezada                 $11.00   70.23   $   11.00         $   166.28   $    166.28
  1/26/2020 Ronaldo Quezada                 $11.00   73.18   $   11.00         $   182.51   $    182.51
  2/24/2019 Ronny Mendez                    $11.00   44.20   $    8.85         $    23.10   $     23.10
   3/3/2019 Ronny Mendez                    $11.00   60.37   $    8.85         $   112.02   $    112.02
  3/10/2019 Ronny Mendez                    $11.00   49.25   $    8.85         $    50.88   $     50.88
  3/17/2019 Ronny Mendez                    $11.00   64.57   $    8.85         $   135.12   $    135.12
  3/24/2019 Ronny Mendez                    $11.00   70.08   $    8.85         $   165.46   $    165.46
  3/31/2019 Ronny Mendez                    $11.00   70.60   $    8.85         $   168.30   $    168.30
   4/7/2019 Ronny Mendez                    $11.00   67.68   $    8.85         $   152.26   $    152.26
  4/14/2019 Ronny Mendez                    $11.00   69.12   $    8.85         $   160.14   $    160.14
  4/21/2019 Ronny Mendez                    $11.00   65.13   $    8.85         $   138.23   $    138.23
  4/28/2019 Ronny Mendez                    $11.00   69.45   $    8.85         $   161.98   $    161.98



                                              590
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 592 of 683 PageID: 1439
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

   5/5/2019 Ronny Mendez                    $11.00   66.80   $    8.85         $   147.40   $    147.40
  5/12/2019 Ronny Mendez                    $11.00   68.48   $    8.85         $   156.66   $    156.66
  5/19/2019 Ronny Mendez                    $11.00   69.53   $    8.85         $   162.43   $    162.43
  5/26/2019 Ronny Mendez                    $11.00   70.72   $    8.85         $   168.94   $    168.94
   6/2/2019 Ronny Mendez                    $11.00   63.10   $    8.85         $   127.05   $    127.05
   6/9/2019 Ronny Mendez                    $11.00   69.32   $    8.85         $   161.24   $    161.24
  6/16/2019 Ronny Mendez                    $11.00   67.32   $    8.85         $   150.24   $    150.24
  6/23/2019 Ronny Mendez                    $11.00   56.82   $    8.85         $    92.49   $     92.49
  6/30/2019 Ronny Mendez                    $11.00   74.07   $   10.00         $   187.37   $    187.37
   7/7/2019 Ronny Mendez                    $11.00   57.12   $   10.00         $    94.14   $     94.14
  7/14/2019 Ronny Mendez                    $11.00   64.35   $   10.00         $   133.93   $    133.93
  7/21/2019 Ronny Mendez                    $11.00   61.08   $   10.00         $   115.96   $    115.96
  7/28/2019 Ronny Mendez                    $11.00   62.88   $   10.00         $   125.86   $    125.86
   8/4/2019 Ronny Mendez                    $11.00   70.60   $   10.00         $   168.30   $    168.30
  8/11/2019 Ronny Mendez                    $11.00   69.80   $   10.00         $   163.90   $    163.90
  8/18/2019 Ronny Mendez                    $11.00   70.03   $   10.00         $   165.18   $    165.18
  8/25/2019 Ronny Mendez                    $11.00   64.92   $   10.00         $   137.04   $    137.04
   9/1/2019 Ronny Mendez                    $11.00   71.17   $   10.00         $   171.42   $    171.42
   9/8/2019 Ronny Mendez                    $11.00   66.33   $   10.00         $   144.83   $    144.83
  9/15/2019 Ronny Mendez                    $11.00   68.75   $   10.00         $   158.13   $    158.13
  9/22/2019 Ronny Mendez                    $11.00   70.77   $   10.00         $   169.22   $    169.22
  9/29/2019 Ronny Mendez                    $11.00   70.75   $   10.00         $   169.13   $    169.13
  10/6/2019 Ronny Mendez                    $11.00   57.28   $   10.00         $    95.06   $     95.06
 10/13/2019 Ronny Mendez                    $11.00   70.10   $   10.00         $   165.55   $    165.55
 10/20/2019 Ronny Mendez                    $11.00   69.58   $   10.00         $   162.71   $    162.71
 10/27/2019 Ronny Mendez                    $11.00   69.40   $   10.00         $   161.70   $    161.70
  11/3/2019 Ronny Mendez                    $11.00   69.48   $   10.00         $   162.16   $    162.16
 11/10/2019 Ronny Mendez                    $11.00   69.97   $   10.00         $   164.82   $    164.82
 11/17/2019 Ronny Mendez                    $11.00   69.03   $   10.00         $   159.68   $    159.68
 11/24/2019 Ronny Mendez                    $11.00   69.53   $   10.00         $   162.43   $    162.43
  12/1/2019 Ronny Mendez                    $11.00   58.25   $   10.00         $   100.38   $    100.38
  12/8/2019 Ronny Mendez                    $11.00   68.23   $   10.00         $   155.28   $    155.28
 12/15/2019 Ronny Mendez                    $11.00   68.65   $   10.00         $   157.58   $    157.58
 12/22/2019 Ronny Mendez                    $11.00   58.28   $   10.00         $   100.56   $    100.56
 12/29/2019 Ronny Mendez                    $11.00   53.27   $   10.00         $    72.97   $     72.97
   1/5/2020 Ronny Mendez                    $11.00   67.20   $   11.00         $   149.60   $    149.60
  1/12/2020 Ronny Mendez                    $11.00   50.65   $   11.00         $    58.58   $     58.58
  1/19/2020 Ronny Mendez                    $11.00   67.57   $   11.00         $   151.62   $    151.62
 10/20/2019 Rony Estuardo Dardon            $11.00   60.62   $   10.00         $   113.39   $    113.39
 10/27/2019 Rony Estuardo Dardon            $11.00   59.43   $   10.00         $   106.88   $    106.88
  11/3/2019 Rony Estuardo Dardon            $11.00   59.43   $   10.00         $   106.88   $    106.88
 11/10/2019 Rony Estuardo Dardon            $11.00   56.87   $   10.00         $    92.77   $     92.77
 11/17/2019 Rony Estuardo Dardon            $11.00   45.08   $   10.00         $    27.96   $     27.96
 11/24/2019 Rony Estuardo Dardon            $11.00   62.17   $   10.00         $   121.92   $    121.92
  12/8/2019 Rony Estuardo Dardon            $11.00   56.07   $   10.00         $    88.37   $     88.37
 12/15/2019 Rony Estuardo Dardon            $11.00   40.37   $   10.00         $     2.02   $      2.02
 12/22/2019 Rony Estuardo Dardon            $11.00   62.78   $   10.00         $   125.31   $    125.31
 12/29/2019 Rony Estuardo Dardon            $11.00   50.35   $   10.00         $    56.93   $     56.93
  1/12/2020 Rony Estuardo Dardon            $11.00   46.28   $   11.00         $    34.56   $     34.56
  1/19/2020 Rony Estuardo Dardon            $11.00   55.48   $   11.00         $    85.16   $     85.16



                                              591
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 593 of 683 PageID: 1440
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  1/26/2020 Rony Estuardo Dardon            $11.00   57.23   $   11.00         $    94.78   $     94.78
   2/5/2017 Ruben Dario Gomez               $11.00   66.48   $    8.44         $   145.66   $    145.66
  2/12/2017 Ruben Dario Gomez               $11.00   46.40   $    8.44         $    35.20   $     35.20
  2/19/2017 Ruben Dario Gomez               $11.00   66.50   $    8.44         $   145.75   $    145.75
  2/26/2017 Ruben Dario Gomez               $11.00   74.50   $    8.44         $   189.75   $    189.75
   3/5/2017 Ruben Dario Gomez               $11.00   59.58   $    8.44         $   107.71   $    107.71
  3/19/2017 Ruben Dario Gomez               $11.00   48.42   $    8.44         $    46.29   $     46.29
  3/26/2017 Ruben Dario Gomez               $11.00   58.38   $    8.44         $   101.11   $    101.11
   4/2/2017 Ruben Dario Gomez               $11.00   65.43   $    8.44         $   139.88   $    139.88
   4/9/2017 Ruben Dario Gomez               $11.00   66.25   $    8.44         $   144.38   $    144.38
  4/16/2017 Ruben Dario Gomez               $11.00   73.17   $    8.44         $   182.42   $    182.42
  4/23/2017 Ruben Dario Gomez               $11.00   55.35   $    8.44         $    84.43   $     84.43
  4/30/2017 Ruben Dario Gomez               $11.00   61.40   $    8.44         $   117.70   $    117.70
   5/7/2017 Ruben Dario Gomez               $11.00   64.08   $    8.44         $   132.46   $    132.46
  5/14/2017 Ruben Dario Gomez               $11.00   68.00   $    8.44         $   154.00   $    154.00
  5/21/2017 Ruben Dario Gomez               $11.00   64.12   $    8.44         $   132.64   $    132.64
  5/28/2017 Ruben Dario Gomez               $11.00   45.13   $    8.44         $    28.23   $     28.23
   6/4/2017 Ruben Dario Gomez               $11.00   58.40   $    8.44         $   101.20   $    101.20
  6/11/2017 Ruben Dario Gomez               $11.00   65.17   $    8.44         $   138.42   $    138.42
  6/25/2017 Ruben Dario Gomez               $11.00   65.38   $    8.44         $   139.61   $    139.61
   7/2/2017 Ruben Dario Gomez               $11.00   72.45   $    8.44         $   178.48   $    178.48
  7/16/2017 Ruben Dario Gomez               $11.00   70.42   $    8.44         $   167.29   $    167.29
  7/23/2017 Ruben Dario Gomez               $11.00   49.65   $    8.44         $    53.08   $     53.08
  7/30/2017 Ruben Dario Gomez               $11.00   64.85   $    8.44         $   136.68   $    136.68
   8/6/2017 Ruben Dario Gomez               $13.00   50.48   $    8.44         $    68.14   $     68.14
  8/13/2017 Ruben Dario Gomez               $13.00   56.82   $    8.44         $   109.31   $    109.31
  8/20/2017 Ruben Dario Gomez               $13.00   57.10   $    8.44         $   111.15   $    111.15
  8/27/2017 Ruben Dario Gomez               $13.00   56.43   $    8.44         $   106.82   $    106.82
   9/3/2017 Ruben Dario Gomez               $13.00   57.68   $    8.44         $   114.94   $    114.94
  9/10/2017 Ruben Dario Gomez               $13.00   52.13   $    8.44         $    78.87   $     78.87
  9/17/2017 Ruben Dario Gomez               $13.00   56.68   $    8.44         $   108.44   $    108.44
  9/24/2017 Ruben Dario Gomez               $13.00   47.27   $    8.44         $    47.23   $     47.23
  10/1/2017 Ruben Dario Gomez               $13.00   57.63   $    8.44         $   114.62   $    114.62
  10/8/2017 Ruben Dario Gomez               $13.00   50.17   $    8.44         $    66.08   $     66.08
 10/15/2017 Ruben Dario Gomez               $13.00   57.43   $    8.44         $   113.32   $    113.32
 10/22/2017 Ruben Dario Gomez               $13.00   57.40   $    8.44         $   113.10   $    113.10
  11/5/2017 Ruben Dario Gomez               $13.00   57.43   $    8.44         $   113.32   $    113.32
 11/12/2017 Ruben Dario Gomez               $13.00   57.30   $    8.44         $   112.45   $    112.45
 11/19/2017 Ruben Dario Gomez               $13.00   57.13   $    8.44         $   111.37   $    111.37
 11/26/2017 Ruben Dario Gomez               $13.00   47.07   $    8.44         $    45.93   $     45.93
  12/3/2017 Ruben Dario Gomez               $13.00   53.15   $    8.44         $    85.47   $     85.47
 12/10/2017 Ruben Dario Gomez               $13.00   57.07   $    8.44         $   110.93   $    110.93
 12/17/2017 Ruben Dario Gomez               $13.00   57.12   $    8.44         $   111.26   $    111.26
 12/24/2017 Ruben Dario Gomez               $13.00   57.07   $    8.44         $   110.93   $    110.93
  1/21/2018 Ruben Dario Gomez               $13.00   56.15   $    8.60         $   104.98   $    104.98
  1/28/2018 Ruben Dario Gomez               $13.00   57.40   $    8.60         $   113.10   $    113.10
   2/4/2018 Ruben Dario Gomez               $13.00   57.23   $    8.60         $   112.02   $    112.02
  2/11/2018 Ruben Dario Gomez               $13.00   57.00   $    8.60         $   110.50   $    110.50
  2/18/2018 Ruben Dario Gomez               $13.00   57.07   $    8.60         $   110.93   $    110.93
  2/25/2018 Ruben Dario Gomez               $13.00   56.65   $    8.60         $   108.23   $    108.23



                                              592
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 594 of 683 PageID: 1441
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

   3/4/2018 Ruben Dario Gomez                 $13.00   53.98   $   8.60          $    90.89   $     90.89
  3/25/2018 Ruben Dario Gomez                 $13.00   49.52   $   8.60          $    61.86   $     61.86
   4/1/2018 Ruben Dario Gomez                 $13.00   56.98   $   8.60          $   110.39   $    110.39
   4/8/2018 Ruben Dario Gomez                 $13.00   57.92   $   8.60          $   116.46   $    116.46
  4/15/2018 Ruben Dario Gomez                 $13.00   58.05   $   8.60          $   117.33   $    117.33
  4/22/2018 Ruben Dario Gomez                 $13.00   57.13   $   8.60          $   111.37   $    111.37
  4/29/2018 Ruben Dario Gomez                 $13.00   57.53   $   8.60          $   113.97   $    113.97
   5/6/2018 Ruben Dario Gomez                 $13.00   50.30   $   8.60          $    66.95   $     66.95
  5/13/2018 Ruben Dario Gomez                 $13.00   57.38   $   8.60          $   112.99   $    112.99
  5/20/2018 Ruben Dario Gomez                 $13.00   57.72   $   8.60          $   115.16   $    115.16
  5/27/2018 Ruben Dario Gomez                 $13.00   57.98   $   8.60          $   116.89   $    116.89
   6/3/2018 Ruben Dario Gomez                 $13.00   47.63   $   8.60          $    49.62   $     49.62
  6/10/2018 Ruben Dario Gomez                 $13.00   56.22   $   8.60          $   105.41   $    105.41
  6/24/2018 Ruben Dario Gomez                 $13.00   57.60   $   8.60          $   114.40   $    114.40
   7/1/2018 Ruben Dario Gomez                 $13.00   57.42   $   8.60          $   113.21   $    113.21
   7/8/2018 Ruben Dario Gomez                 $13.00   52.33   $   8.60          $    80.17   $     80.17
  7/15/2018 Ruben Dario Gomez                 $13.00   57.72   $   8.60          $   115.16   $    115.16
  7/22/2018 Ruben Dario Gomez                 $13.00   57.15   $   8.60          $   111.48   $    111.48
  7/29/2018 Ruben Dario Gomez                 $13.00   57.90   $   8.60          $   116.35   $    116.35
   8/5/2018 Ruben Dario Gomez                 $13.00   57.38   $   8.60          $   112.99   $    112.99
  8/12/2018 Ruben Dario Gomez                 $13.00   57.97   $   8.60          $   116.78   $    116.78
   9/3/2017 Ruben Melendez                     $9.00   59.80   $   8.44          $    89.10   $     89.10
  9/10/2017 Ruben Melendez                     $9.00   60.07   $   8.44          $    90.30   $     90.30
  9/17/2017 Ruben Melendez                     $9.00   61.70   $   8.44          $    97.65   $     97.65
  9/24/2017 Ruben Melendez                     $9.00   60.55   $   8.44          $    92.48   $     92.48
  10/1/2017 Ruben Melendez                     $9.00   60.20   $   8.44          $    90.90   $     90.90
  10/8/2017 Ruben Melendez                     $9.00   60.27   $   8.44          $    91.20   $     91.20
 10/15/2017 Ruben Melendez                     $9.00   60.70   $   8.44          $    93.15   $     93.15
 10/22/2017 Ruben Melendez                     $9.00   60.85   $   8.44          $    93.83   $     93.83
 10/29/2017 Ruben Melendez                     $9.00   60.23   $   8.44          $    91.05   $     91.05
  11/5/2017 Ruben Melendez                     $9.00   60.57   $   8.44          $    92.55   $     92.55
 11/12/2017 Ruben Melendez                     $9.00   61.97   $   8.44          $    98.85   $     98.85
 11/19/2017 Ruben Melendez                     $9.00   63.77   $   8.44          $   106.95   $    106.95
 11/26/2017 Ruben Melendez                     $9.00   52.38   $   8.44          $    55.73   $     55.73
  12/3/2017 Ruben Melendez                     $9.00   60.98   $   8.44          $    94.43   $     94.43
 12/10/2017 Ruben Melendez                     $9.00   64.67   $   8.44          $   111.00   $    111.00
 12/17/2017 Ruben Melendez                     $9.00   64.00   $   8.44          $   108.00   $    108.00
 12/24/2017 Ruben Melendez                     $9.00   65.00   $   8.44          $   112.50   $    112.50
 12/31/2017 Ruben Melendez                     $9.00   53.28   $   8.44          $    59.78   $     59.78
   1/7/2018 Ruben Melendez                     $9.00   49.97   $   8.60          $    44.85   $     44.85
  1/14/2018 Ruben Melendez                     $9.00   60.53   $   8.60          $    92.40   $     92.40
  1/21/2018 Ruben Melendez                     $9.00   65.75   $   8.60          $   115.88   $    115.88
  1/28/2018 Ruben Melendez                     $9.00   63.07   $   8.60          $   103.80   $    103.80
   2/4/2018 Ruben Melendez                     $9.00   65.48   $   8.60          $   114.68   $    114.68
  2/11/2018 Ruben Melendez                     $9.00   64.93   $   8.60          $   112.20   $    112.20
  2/18/2018 Ruben Melendez                     $9.00   60.20   $   8.60          $    90.90   $     90.90
  2/25/2018 Ruben Melendez                     $9.00   62.37   $   8.60          $   100.65   $    100.65
   3/4/2018 Ruben Melendez                     $9.00   64.18   $   8.60          $   108.83   $    108.83
  3/25/2018 Ruben Melendez                     $9.00   59.62   $   8.60          $    88.28   $     88.28
   4/1/2018 Ruben Melendez                     $9.00   63.95   $   8.60          $   107.78   $    107.78



                                                593
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 595 of 683 PageID: 1442
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

   4/8/2018 Ruben Melendez                  $9.00   64.05   $    8.60         $   108.23   $    108.23
  4/15/2018 Ruben Melendez                  $9.00   64.43   $    8.60         $   109.95   $    109.95
  4/22/2018 Ruben Melendez                  $9.00   66.88   $    8.60         $   120.98   $    120.98
  4/29/2018 Ruben Melendez                  $9.00   63.43   $    8.60         $   105.45   $    105.45
   5/6/2018 Ruben Melendez                  $9.00   62.32   $    8.60         $   100.43   $    100.43
  5/13/2018 Ruben Melendez                  $9.00   62.72   $    8.60         $   102.23   $    102.23
  5/20/2018 Ruben Melendez                  $9.00   65.50   $    8.60         $   114.75   $    114.75
  5/27/2018 Ruben Melendez                  $9.00   63.63   $    8.60         $   106.35   $    106.35
  6/17/2018 Ruben Melendez                  $9.00   46.75   $    8.60         $    30.38   $     30.38
  6/24/2018 Ruben Melendez                  $9.00   45.77   $    8.60         $    25.95   $     25.95
   7/1/2018 Ruben Melendez                  $9.00   56.12   $    8.60         $    72.53   $     72.53
   7/8/2018 Ruben Melendez                  $9.00   46.05   $    8.60         $    27.23   $     27.23
  7/15/2018 Ruben Melendez                  $9.00   50.13   $    8.60         $    45.60   $     45.60
  7/22/2018 Ruben Melendez                  $9.00   56.07   $    8.60         $    72.30   $     72.30
  7/29/2018 Ruben Melendez                  $9.00   45.57   $    8.60         $    25.05   $     25.05
   8/5/2018 Ruben Melendez                  $9.00   55.47   $    8.60         $    69.60   $     69.60
  8/12/2018 Ruben Melendez                  $9.00   48.58   $    8.60         $    38.63   $     38.63
  8/19/2018 Ruben Melendez                  $9.00   50.10   $    8.60         $    45.45   $     45.45
  8/26/2018 Ruben Melendez                  $9.00   52.82   $    8.60         $    57.68   $     57.68
   9/2/2018 Ruben Melendez                  $9.00   53.10   $    8.60         $    58.95   $     58.95
   9/9/2018 Ruben Melendez                  $9.00   40.90   $    8.60         $     4.05   $      4.05
  9/23/2018 Ruben Melendez                  $9.00   46.07   $    8.60         $    27.30   $     27.30
  9/30/2018 Ruben Melendez                  $9.00   49.93   $    8.60         $    44.70   $     44.70
  10/7/2018 Ruben Melendez                  $9.00   45.57   $    8.60         $    25.05   $     25.05
 10/14/2018 Ruben Melendez                  $9.00   55.72   $    8.60         $    70.73   $     70.73
 10/21/2018 Ruben Melendez                  $9.00   53.42   $    8.60         $    60.38   $     60.38
 10/28/2018 Ruben Melendez                  $9.00   46.07   $    8.60         $    27.30   $     27.30
   9/1/2019 Ruben Suero                    $16.50   65.50   $   10.00         $   210.38   $    210.38
   9/8/2019 Ruben Suero                    $16.50   58.58   $   10.00         $   153.31   $    153.31
  9/15/2019 Ruben Suero                    $16.50   42.40   $   10.00         $    19.80   $     19.80
  9/22/2019 Ruben Suero                    $16.50   43.65   $   10.00         $    30.11   $     30.11
  9/29/2019 Ruben Suero                    $16.50   46.83   $   10.00         $    56.38   $     56.38
  10/6/2019 Ruben Suero                    $16.50   59.43   $   10.00         $   160.33   $    160.33
 10/13/2019 Ruben Suero                    $16.50   50.57   $   10.00         $    87.18   $     87.18
 10/20/2019 Ruben Suero                    $12.00   59.93   $   10.00         $   119.60   $    119.60
 10/27/2019 Ruben Suero                    $12.00   50.63   $   10.00         $    63.80   $     63.80
  11/3/2019 Ruben Suero                    $12.00   61.07   $   10.00         $   126.40   $    126.40
 11/10/2019 Ruben Suero                    $12.00   67.02   $   10.00         $   162.10   $    162.10
 11/17/2019 Ruben Suero                    $12.00   66.18   $   10.00         $   157.10   $    157.10
 11/24/2019 Ruben Suero                    $12.00   66.42   $   10.00         $   158.50   $    158.50
  12/1/2019 Ruben Suero                    $12.00   56.25   $   10.00         $    97.50   $     97.50
  12/8/2019 Ruben Suero                    $12.00   66.40   $   10.00         $   158.40   $    158.40
 12/15/2019 Ruben Suero                    $12.00   63.37   $   10.00         $   140.20   $    140.20
 12/22/2019 Ruben Suero                    $12.00   65.20   $   10.00         $   151.20   $    151.20
 12/29/2019 Ruben Suero                    $12.00   47.77   $   10.00         $    46.60   $     46.60
   1/5/2020 Ruben Suero                    $12.00   41.70   $   11.00         $    10.20   $     10.20
  1/12/2020 Ruben Suero                    $12.00   66.03   $   11.00         $   156.20   $    156.20
  1/26/2020 Ruben Suero                    $12.00   63.92   $   11.00         $   143.50   $    143.50
   4/7/2019 Ruben Torres                   $10.00   70.13   $    8.85         $   150.67   $    150.67
  4/14/2019 Ruben Torres                   $10.00   46.08   $    8.85         $    30.42   $     30.42



                                             594
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 596 of 683 PageID: 1443
                                                   Exhibit 2
                                           New Jersey Computations


   Week                                                           State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
  Ending                       Name                             Minumum Regular    Half-Time Overtime Back
                                                   Rate Week
   Date                                                           Wage  Rate Due     Due       Wages Due

  4/21/2019 Ruben Torres                          $10.00   70.25   $    8.85         $   151.25   $    151.25
  4/28/2019 Ruben Torres                          $10.00   60.75   $    8.85         $   103.75   $    103.75
   5/5/2019 Ruben Torres                          $10.00   44.00   $    8.85         $    20.00   $     20.00
  7/28/2019 Ruben Torres                          $10.00   72.00   $   10.00         $   160.00   $    160.00
   8/4/2019 Ruben Torres                          $10.00   69.55   $   10.00         $   147.75   $    147.75
  8/11/2019 Ruben Torres                          $10.00   71.07   $   10.00         $   155.33   $    155.33
  5/26/2019 Rudy J. Santos                         $8.85   55.83   $    8.85         $    70.06   $     70.06
   6/2/2019 Rudy J. Santos                         $8.85   44.60   $    8.85         $    20.36   $     20.36
  9/29/2019 Ryquana Taylor                        $10.00   47.97   $   10.00         $    39.83   $     39.83
  10/6/2019 Ryquana Taylor                        $10.00   42.92   $   10.00         $    14.58   $     14.58
 10/13/2019 Ryquana Taylor                        $10.00   48.65   $   10.00         $    43.25   $     43.25
 10/27/2019 Ryquana Taylor                        $10.00   44.17   $   10.00         $    20.83   $     20.83
  11/3/2019 Ryquana Taylor                        $10.00   45.40   $   10.00         $    27.00   $     27.00
 11/10/2019 Ryquana Taylor                        $10.00   42.42   $   10.00         $    12.08   $     12.08
 11/24/2019 Ryquana Taylor                        $10.00   46.78   $   10.00         $    33.92   $     33.92
  12/8/2019 Ryquana Taylor                        $10.00   44.43   $   10.00         $    22.17   $     22.17
 12/15/2019 Ryquana Taylor                        $10.00   56.52   $   10.00         $    82.58   $     82.58
 12/22/2019 Ryquana Taylor                        $10.00   50.42   $   10.00         $    52.08   $     52.08
   2/5/2017 Samuel Gomez                          $13.30   47.43   $    8.44         $    49.43   $     49.43
  9/16/2018 Samuel Isaac Orellana Merlos          $12.50   50.20   $    8.60         $    63.75   $     63.75
  9/23/2018 Samuel Isaac Orellana Merlos          $12.50   49.35   $    8.60         $    58.44   $     58.44
  9/30/2018 Samuel Isaac Orellana Merlos          $12.50   58.10   $    8.60         $   113.13   $    113.13
  10/7/2018 Samuel Isaac Orellana Merlos          $12.50   48.43   $    8.60         $    52.71   $     52.71
 10/14/2018 Samuel Isaac Orellana Merlos          $12.50   48.88   $    8.60         $    55.52   $     55.52
  11/4/2018 Samuel Isaac Orellana Merlos          $12.50   48.67   $    8.60         $    54.17   $     54.17
 11/11/2018 Samuel Isaac Orellana Merlos          $12.50   51.00   $    8.60         $    68.75   $     68.75
 11/18/2018 Samuel Isaac Orellana Merlos          $12.50   57.12   $    8.60         $   106.98   $    106.98
 11/25/2018 Samuel Isaac Orellana Merlos          $12.50   50.38   $    8.60         $    64.90   $     64.90
  12/2/2018 Samuel Isaac Orellana Merlos          $12.50   61.12   $    8.60         $   131.98   $    131.98
 12/16/2018 Samuel Isaac Orellana Merlos          $12.50   57.63   $    8.60         $   110.21   $    110.21
 12/23/2018 Samuel Isaac Orellana Merlos          $12.50   51.67   $    8.60         $    72.92   $     72.92
  1/13/2019 Samuel Isaac Orellana Merlos          $12.50   56.67   $    8.85         $   104.17   $    104.17
  1/20/2019 Samuel Isaac Orellana Merlos          $12.50   56.75   $    8.85         $   104.69   $    104.69
  1/27/2019 Samuel Isaac Orellana Merlos          $12.50   46.85   $    8.85         $    42.81   $     42.81
   2/3/2019 Samuel Isaac Orellana Merlos          $12.50   51.53   $    8.85         $    72.08   $     72.08
  2/10/2019 Samuel Isaac Orellana Merlos          $12.50   51.52   $    8.85         $    71.98   $     71.98
  2/17/2019 Samuel Isaac Orellana Merlos          $12.50   40.52   $    8.85         $     3.23   $      3.23
  2/24/2019 Samuel Isaac Orellana Merlos          $12.50   48.20   $    8.85         $    51.25   $     51.25
  9/29/2019 Samuel Jimenez                        $10.00   63.82   $   10.00         $   119.08   $    119.08
  10/6/2019 Samuel Jimenez                        $10.00   52.97   $   10.00         $    64.83   $     64.83
 10/13/2019 Samuel Jimenez                        $10.00   50.85   $   10.00         $    54.25   $     54.25
  3/26/2017 Samuel Lopez Guzman                   $12.50   61.07   $    8.44         $   131.67   $    131.67
   4/2/2017 Samuel Lopez Guzman                   $11.00   61.95   $    8.44         $   120.73   $    120.73
   4/9/2017 Samuel Lopez Guzman                   $11.00   62.08   $    8.44         $   121.46   $    121.46
  4/16/2017 Samuel Lopez Guzman                   $11.00   51.58   $    8.44         $    63.71   $     63.71
  4/23/2017 Samuel Lopez Guzman                   $11.00   47.90   $    8.44         $    43.45   $     43.45
  4/30/2017 Samuel Lopez Guzman                   $11.00   62.25   $    8.44         $   122.38   $    122.38
   5/7/2017 Samuel Lopez Guzman                   $11.00   63.98   $    8.44         $   131.91   $    131.91
  5/14/2017 Samuel Lopez Guzman                   $11.00   65.10   $    8.44         $   138.05   $    138.05
  5/21/2017 Samuel Lopez Guzman                   $11.00   63.17   $    8.44         $   127.42   $    127.42



                                                    595
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 597 of 683 PageID: 1444
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

  5/28/2017 Samuel Lopez Guzman            $11.00   53.60   $   8.44          $    74.80   $     74.80
   6/4/2017 Samuel Lopez Guzman            $11.00   42.90   $   8.44          $    15.95   $     15.95
  6/11/2017 Samuel Lopez Guzman            $11.00   42.35   $   8.44          $    12.93   $     12.93
  6/18/2017 Samuel Lopez Guzman            $11.00   43.68   $   8.44          $    20.26   $     20.26
  6/25/2017 Samuel Lopez Guzman            $11.00   42.28   $   8.44          $    12.56   $     12.56
   7/2/2017 Samuel Lopez Guzman            $11.00   42.18   $   8.44          $    12.01   $     12.01
  7/16/2017 Samuel Lopez Guzman            $11.00   42.18   $   8.44          $    12.01   $     12.01
  7/23/2017 Samuel Lopez Guzman            $11.00   42.23   $   8.44          $    12.28   $     12.28
   8/6/2017 Samuel Lopez Guzman            $11.00   44.90   $   8.44          $    26.95   $     26.95
  8/13/2017 Samuel Lopez Guzman            $11.00   44.48   $   8.44          $    24.66   $     24.66
  8/20/2017 Samuel Lopez Guzman            $11.00   75.82   $   8.44          $   196.99   $    196.99
  8/27/2017 Samuel Lopez Guzman            $11.00   79.20   $   8.44          $   215.60   $    215.60
   9/3/2017 Samuel Lopez Guzman            $11.00   73.33   $   8.44          $   183.33   $    183.33
  9/10/2017 Samuel Lopez Guzman            $11.00   67.12   $   8.44          $   149.14   $    149.14
  9/17/2017 Samuel Lopez Guzman            $11.00   69.73   $   8.44          $   163.53   $    163.53
  9/24/2017 Samuel Lopez Guzman            $11.00   75.22   $   8.44          $   193.69   $    193.69
  10/1/2017 Samuel Lopez Guzman            $11.00   74.73   $   8.44          $   191.03   $    191.03
  10/8/2017 Samuel Lopez Guzman            $11.00   74.27   $   8.44          $   188.47   $    188.47
 10/15/2017 Samuel Lopez Guzman            $11.00   73.70   $   8.44          $   185.35   $    185.35
 10/22/2017 Samuel Lopez Guzman            $11.00   49.20   $   8.44          $    50.60   $     50.60
 10/29/2017 Samuel Lopez Guzman            $11.00   59.28   $   8.44          $   106.06   $    106.06
  11/5/2017 Samuel Lopez Guzman            $11.00   59.97   $   8.44          $   109.82   $    109.82
 11/12/2017 Samuel Lopez Guzman            $11.00   64.80   $   8.44          $   136.40   $    136.40
 11/19/2017 Samuel Lopez Guzman            $11.00   63.15   $   8.44          $   127.33   $    127.33
 11/26/2017 Samuel Lopez Guzman            $11.00   51.58   $   8.44          $    63.71   $     63.71
  12/3/2017 Samuel Lopez Guzman            $11.00   63.62   $   8.44          $   129.89   $    129.89
 12/10/2017 Samuel Lopez Guzman            $11.00   63.17   $   8.44          $   127.42   $    127.42
 12/17/2017 Samuel Lopez Guzman            $12.50   63.53   $   8.44          $   147.08   $    147.08
 12/24/2017 Samuel Lopez Guzman            $12.50   63.38   $   8.44          $   146.15   $    146.15
 12/31/2017 Samuel Lopez Guzman            $12.50   52.58   $   8.44          $    78.65   $     78.65
   1/7/2018 Samuel Lopez Guzman            $12.50   43.33   $   8.60          $    20.83   $     20.83
  1/14/2018 Samuel Lopez Guzman            $12.50   63.22   $   8.60          $   145.10   $    145.10
  1/21/2018 Samuel Lopez Guzman            $12.50   63.77   $   8.60          $   148.54   $    148.54
  1/28/2018 Samuel Lopez Guzman            $12.50   63.82   $   8.60          $   148.85   $    148.85
   2/4/2018 Samuel Lopez Guzman            $12.50   64.23   $   8.60          $   151.46   $    151.46
  2/11/2018 Samuel Lopez Guzman            $12.50   64.23   $   8.60          $   151.46   $    151.46
  2/18/2018 Samuel Lopez Guzman            $12.50   63.70   $   8.60          $   148.13   $    148.13
  2/25/2018 Samuel Lopez Guzman            $12.50   63.80   $   8.60          $   148.75   $    148.75
   3/4/2018 Samuel Lopez Guzman            $12.50   65.17   $   8.60          $   157.29   $    157.29
  3/25/2018 Samuel Lopez Guzman            $12.50   52.37   $   8.60          $    77.29   $     77.29
   4/8/2018 Samuel Lopez Guzman            $12.50   65.00   $   8.60          $   156.25   $    156.25
  4/15/2018 Samuel Lopez Guzman            $12.50   66.78   $   8.60          $   167.40   $    167.40
  4/22/2018 Samuel Lopez Guzman            $12.50   63.60   $   8.60          $   147.50   $    147.50
  4/29/2018 Samuel Lopez Guzman            $12.50   65.90   $   8.60          $   161.88   $    161.88
   5/6/2018 Samuel Lopez Guzman            $12.50   65.97   $   8.60          $   162.29   $    162.29
  5/13/2018 Samuel Lopez Guzman            $12.50   66.90   $   8.60          $   168.13   $    168.13
  5/20/2018 Samuel Lopez Guzman            $12.50   66.63   $   8.60          $   166.46   $    166.46
  5/27/2018 Samuel Lopez Guzman            $12.50   67.40   $   8.60          $   171.25   $    171.25
   6/3/2018 Samuel Lopez Guzman            $12.50   42.02   $   8.60          $    12.60   $     12.60
  6/10/2018 Samuel Lopez Guzman            $12.50   67.08   $   8.60          $   169.27   $    169.27



                                             596
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 598 of 683 PageID: 1445
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

  6/17/2018 Samuel Lopez Guzman            $12.50   66.05   $   8.60          $   162.81   $    162.81
  6/24/2018 Samuel Lopez Guzman            $12.50   66.48   $   8.60          $   165.52   $    165.52
   7/1/2018 Samuel Lopez Guzman            $12.50   57.22   $   8.60          $   107.60   $    107.60
   7/8/2018 Samuel Lopez Guzman            $12.50   40.87   $   8.60          $     5.42   $      5.42
  7/15/2018 Samuel Lopez Guzman            $12.50   68.75   $   8.60          $   179.69   $    179.69
  7/22/2018 Samuel Lopez Guzman            $12.50   68.82   $   8.60          $   180.10   $    180.10
   8/5/2018 Samuel Lopez Guzman            $12.50   70.05   $   8.60          $   187.81   $    187.81
  8/12/2018 Samuel Lopez Guzman            $12.50   64.48   $   8.60          $   153.02   $    153.02
  8/19/2018 Samuel Lopez Guzman            $12.50   69.80   $   8.60          $   186.25   $    186.25
  8/26/2018 Samuel Lopez Guzman            $12.50   68.97   $   8.60          $   181.04   $    181.04
   9/2/2018 Samuel Lopez Guzman            $12.50   70.20   $   8.60          $   188.75   $    188.75
   9/9/2018 Samuel Lopez Guzman            $12.50   57.17   $   8.60          $   107.29   $    107.29
  9/16/2018 Samuel Lopez Guzman            $12.50   70.08   $   8.60          $   188.02   $    188.02
  9/23/2018 Samuel Lopez Guzman            $12.50   68.65   $   8.60          $   179.06   $    179.06
  9/30/2018 Samuel Lopez Guzman            $12.50   70.07   $   8.60          $   187.92   $    187.92
  10/7/2018 Samuel Lopez Guzman            $12.50   73.07   $   8.60          $   206.67   $    206.67
 10/14/2018 Samuel Lopez Guzman            $12.50   55.93   $   8.60          $    99.58   $     99.58
 10/21/2018 Samuel Lopez Guzman            $12.50   65.13   $   8.60          $   157.08   $    157.08
 10/28/2018 Samuel Lopez Guzman            $12.50   64.55   $   8.60          $   153.44   $    153.44
  11/4/2018 Samuel Lopez Guzman            $12.50   65.55   $   8.60          $   159.69   $    159.69
 11/11/2018 Samuel Lopez Guzman            $12.50   66.30   $   8.60          $   164.38   $    164.38
 11/18/2018 Samuel Lopez Guzman            $12.50   66.27   $   8.60          $   164.17   $    164.17
 11/25/2018 Samuel Lopez Guzman            $12.50   45.38   $   8.60          $    33.65   $     33.65
  12/2/2018 Samuel Lopez Guzman            $12.50   57.98   $   8.60          $   112.40   $    112.40
  12/9/2018 Samuel Lopez Guzman            $12.50   69.22   $   8.60          $   182.60   $    182.60
 12/16/2018 Samuel Lopez Guzman            $12.50   72.00   $   8.60          $   200.00   $    200.00
 12/23/2018 Samuel Lopez Guzman            $12.50   72.27   $   8.60          $   201.67   $    201.67
  1/13/2019 Samuel Lopez Guzman            $12.50   59.92   $   8.85          $   124.48   $    124.48
  1/20/2019 Samuel Lopez Guzman            $12.50   72.93   $   8.85          $   205.83   $    205.83
  1/27/2019 Samuel Lopez Guzman            $12.50   71.85   $   8.85          $   199.06   $    199.06
   2/3/2019 Samuel Lopez Guzman            $12.50   71.82   $   8.85          $   198.85   $    198.85
  2/10/2019 Samuel Lopez Guzman            $12.50   63.20   $   8.85          $   145.00   $    145.00
  2/17/2019 Samuel Lopez Guzman            $12.50   72.60   $   8.85          $   203.75   $    203.75
  2/24/2019 Samuel Lopez Guzman            $12.50   63.88   $   8.85          $   149.27   $    149.27
   3/3/2019 Samuel Lopez Guzman            $12.50   73.42   $   8.85          $   208.85   $    208.85
  3/10/2019 Samuel Lopez Guzman            $12.50   63.92   $   8.85          $   149.48   $    149.48
  3/17/2019 Samuel Lopez Guzman            $12.50   74.80   $   8.85          $   217.50   $    217.50
  3/24/2019 Samuel Lopez Guzman            $12.50   47.03   $   8.85          $    43.96   $     43.96
  3/31/2019 Samuel Lopez Guzman            $12.50   71.27   $   8.85          $   195.42   $    195.42
   4/7/2019 Samuel Lopez Guzman            $12.50   71.28   $   8.85          $   195.52   $    195.52
  4/14/2019 Samuel Lopez Guzman            $12.50   66.85   $   8.85          $   167.81   $    167.81
  4/21/2019 Samuel Lopez Guzman            $12.50   69.82   $   8.85          $   186.35   $    186.35
  4/28/2019 Samuel Lopez Guzman            $12.50   66.38   $   8.85          $   164.90   $    164.90
   5/5/2019 Samuel Lopez Guzman            $12.50   69.65   $   8.85          $   185.31   $    185.31
  5/12/2019 Samuel Lopez Guzman            $12.50   69.90   $   8.85          $   186.88   $    186.88
  5/19/2019 Samuel Lopez Guzman            $12.50   70.05   $   8.85          $   187.81   $    187.81
  5/26/2019 Samuel Lopez Guzman            $12.50   59.10   $   8.85          $   119.38   $    119.38
   6/2/2019 Samuel Lopez Guzman            $12.50   57.18   $   8.85          $   107.40   $    107.40
   6/9/2019 Samuel Lopez Guzman            $12.50   74.25   $   8.85          $   214.06   $    214.06
  6/16/2019 Samuel Lopez Guzman            $12.50   40.05   $   8.85          $     0.31   $      0.31



                                             597
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 599 of 683 PageID: 1446
                                                     Exhibit 2
                                             New Jersey Computations


   Week                                                             State Section 7: Section 7: Total Section 7
                                                    Hourly Hours/
  Ending                      Name                                Minumum Regular    Half-Time Overtime Back
                                                     Rate Week
   Date                                                             Wage  Rate Due     Due       Wages Due

  6/23/2019 Samuel Lopez Guzman                     $12.50   70.13   $    8.85         $   188.33   $    188.33
  6/30/2019 Samuel Lopez Guzman                     $12.50   71.27   $   10.00         $   195.42   $    195.42
   7/7/2019 Samuel Lopez Guzman                     $12.50   58.50   $   10.00         $   115.63   $    115.63
  7/14/2019 Samuel Lopez Guzman                     $12.50   69.10   $   10.00         $   181.88   $    181.88
  7/21/2019 Samuel Lopez Guzman                     $12.50   69.63   $   10.00         $   185.21   $    185.21
  7/28/2019 Samuel Lopez Guzman                     $12.50   68.73   $   10.00         $   179.58   $    179.58
   8/4/2019 Samuel Lopez Guzman                     $12.50   69.92   $   10.00         $   186.98   $    186.98
  8/18/2019 Samuel Lopez Guzman                     $13.50   62.83   $   10.00         $   154.13   $    154.13
  8/25/2019 Samuel Lopez Guzman                     $13.50   68.90   $   10.00         $   195.08   $    195.08
   9/1/2019 Samuel Lopez Guzman                     $13.50   72.78   $   10.00         $   221.29   $    221.29
   9/8/2019 Samuel Lopez Guzman                     $13.50   57.52   $   10.00         $   118.24   $    118.24
  9/15/2019 Samuel Lopez Guzman                     $13.50   68.82   $   10.00         $   194.51   $    194.51
  9/22/2019 Samuel Lopez Guzman                     $13.50   68.87   $   10.00         $   194.85   $    194.85
  9/29/2019 Samuel Lopez Guzman                     $13.50   74.00   $   10.00         $   229.50   $    229.50
  10/6/2019 Samuel Lopez Guzman                     $13.50   75.28   $   10.00         $   238.16   $    238.16
 10/13/2019 Samuel Lopez Guzman                     $13.50   76.32   $   10.00         $   245.14   $    245.14
 10/20/2019 Samuel Lopez Guzman                     $13.50   76.68   $   10.00         $   247.61   $    247.61
 10/27/2019 Samuel Lopez Guzman                     $13.50   76.02   $   10.00         $   243.11   $    243.11
  11/3/2019 Samuel Lopez Guzman                     $13.50   76.05   $   10.00         $   243.34   $    243.34
 11/10/2019 Samuel Lopez Guzman                     $13.50   75.40   $   10.00         $   238.95   $    238.95
 11/17/2019 Samuel Lopez Guzman                     $13.50   76.47   $   10.00         $   246.15   $    246.15
 11/24/2019 Samuel Lopez Guzman                     $13.50   75.80   $   10.00         $   241.65   $    241.65
  12/1/2019 Samuel Lopez Guzman                     $13.50   62.97   $   10.00         $   155.03   $    155.03
  12/8/2019 Samuel Lopez Guzman                     $13.50   76.58   $   10.00         $   246.94   $    246.94
 12/15/2019 Samuel Lopez Guzman                     $13.50   76.47   $   10.00         $   246.15   $    246.15
 12/22/2019 Samuel Lopez Guzman                     $13.50   76.47   $   10.00         $   246.15   $    246.15
 12/29/2019 Samuel Lopez Guzman                     $13.50   59.20   $   10.00         $   129.60   $    129.60
  1/12/2020 Samuel Lopez Guzman                     $13.50   76.52   $   11.00         $   246.49   $    246.49
  1/19/2020 Samuel Lopez Guzman                     $13.50   71.75   $   11.00         $   214.31   $    214.31
  1/26/2020 Samuel Lopez Guzman                     $13.50   72.15   $   11.00         $   217.01   $    217.01
   9/8/2019 Samuel Vasquez Gomez                    $11.00   59.00   $   10.00         $   104.50   $    104.50
  1/12/2020 Samuel Zarzuela                         $11.00   70.02   $   11.00         $   165.09   $    165.09
  1/19/2020 Samuel Zarzuela                         $11.00   42.53   $   11.00         $    13.93   $     13.93
  1/26/2020 Samuel Zarzuela                         $11.00   58.08   $   11.00         $    99.46   $     99.46
  4/14/2019 Sandra Marcela Agudelo Moncada          $10.00   64.17   $    8.85         $   120.83   $    120.83
  4/21/2019 Sandra Marcela Agudelo Moncada          $10.00   68.23   $    8.85         $   141.17   $    141.17
  4/28/2019 Sandra Marcela Agudelo Moncada          $10.00   59.38   $    8.85         $    96.92   $     96.92
   5/5/2019 Sandra Marcela Agudelo Moncada          $10.00   64.83   $    8.85         $   124.17   $    124.17
  5/12/2019 Sandra Marcela Agudelo Moncada          $10.00   67.47   $    8.85         $   137.33   $    137.33
  5/19/2019 Sandra Marcela Agudelo Moncada          $10.00   65.90   $    8.85         $   129.50   $    129.50
  5/26/2019 Sandra Marcela Agudelo Moncada          $10.00   67.27   $    8.85         $   136.33   $    136.33
   6/2/2019 Sandra Marcela Agudelo Moncada          $10.00   69.83   $    8.85         $   149.17   $    149.17
   6/9/2019 Sandra Marcela Agudelo Moncada          $10.00   59.52   $    8.85         $    97.58   $     97.58
  6/16/2019 Sandra Marcela Agudelo Moncada          $10.00   57.77   $    8.85         $    88.83   $     88.83
  6/23/2019 Sandra Marcela Agudelo Moncada          $10.00   70.88   $    8.85         $   154.42   $    154.42
  6/30/2019 Sandra Marcela Agudelo Moncada          $10.00   79.08   $   10.00         $   195.42   $    195.42
   7/7/2019 Sandra Marcela Agudelo Moncada          $10.00   67.63   $   10.00         $   138.17   $    138.17
  7/14/2019 Sandra Marcela Agudelo Moncada          $10.00   71.20   $   10.00         $   156.00   $    156.00
  7/21/2019 Sandra Marcela Agudelo Moncada          $10.00   68.80   $   10.00         $   144.00   $    144.00
  7/28/2019 Sandra Marcela Agudelo Moncada          $10.00   70.93   $   10.00         $   154.67   $    154.67



                                                      598
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 600 of 683 PageID: 1447
                                                     Exhibit 2
                                             New Jersey Computations


   Week                                                             State Section 7: Section 7: Total Section 7
                                                    Hourly Hours/
  Ending                      Name                                Minumum Regular    Half-Time Overtime Back
                                                     Rate Week
   Date                                                             Wage  Rate Due     Due       Wages Due

   8/4/2019 Sandra Marcela Agudelo Moncada          $10.00   66.47   $   10.00               $   132.33   $   132.33
   9/1/2019 Sandra Marcela Agudelo Moncada          $10.00   65.80   $   10.00               $   129.00   $   129.00
   9/8/2019 Sandra Marcela Agudelo Moncada          $10.00   54.82   $   10.00               $    74.08   $    74.08
  9/29/2019 Sandra Marcela Agudelo Moncada          $10.00   40.38   $   10.00               $     1.92   $     1.92
  10/6/2019 Sandra Marcela Agudelo Moncada          $10.00   46.18   $   10.00               $    30.92   $    30.92
 10/13/2019 Sandra Marcela Agudelo Moncada          $10.00   47.07   $   10.00               $    35.33   $    35.33
 10/20/2019 Sandra Marcela Agudelo Moncada          $11.00   53.13   $   10.00               $    72.23   $    72.23
  11/3/2019 Sandra Marcela Agudelo Moncada          $11.00   45.57   $   10.00               $    30.62   $    30.62
 11/17/2019 Sandra Marcela Agudelo Moncada          $11.00   50.93   $   10.00               $    60.13   $    60.13
 11/24/2019 Sandra Marcela Agudelo Moncada          $11.00   45.17   $   10.00               $    28.42   $    28.42
  12/8/2019 Sandra Marcela Agudelo Moncada          $11.00   47.60   $   10.00               $    41.80   $    41.80
 12/15/2019 Sandra Marcela Agudelo Moncada          $10.00   41.80   $   10.00               $     9.00   $     9.00
 12/22/2019 Sandra Marcela Agudelo Moncada          $10.00   43.40   $   10.00               $    17.00   $    17.00
  1/12/2020 Sandra Marcela Agudelo Moncada          $10.00   43.28   $   11.00   $   43.28   $    18.06   $    61.34
  1/19/2020 Sandra Marcela Agudelo Moncada          $10.00   40.18   $   11.00   $   40.18   $     1.01   $    41.19
  7/21/2019 Sandy Francisco Perez                   $10.00   58.50   $   10.00               $    92.50   $    92.50
  7/28/2019 Sandy Francisco Perez                   $10.00   64.45   $   10.00               $   122.25   $   122.25
  12/8/2019 Santiago Gaviria                        $10.00   41.30   $   10.00               $     6.50   $     6.50
 12/15/2019 Santiago Gaviria                        $10.00   62.37   $   10.00               $   111.83   $   111.83
 12/22/2019 Santiago Gaviria                        $10.00   51.25   $   10.00               $    56.25   $    56.25
 12/29/2019 Santiago Gaviria                        $10.00   50.30   $   10.00               $    51.50   $    51.50
   1/5/2020 Santiago Gaviria                        $10.00   41.45   $   11.00   $   41.45   $     7.98   $    49.43
  1/12/2020 Santiago Gaviria                        $10.00   49.73   $   11.00   $   49.73   $    53.53   $   103.27
  1/19/2020 Santiago Gaviria                        $10.00   60.48   $   11.00   $   60.48   $   112.66   $   173.14
  1/26/2020 Santiago Gaviria                        $10.00   60.28   $   11.00   $   60.28   $   111.56   $   171.84
   2/5/2017 Santiago Jovel                           $9.50   59.12   $    8.44               $    90.80   $    90.80
  2/19/2017 Santiago Jovel                           $9.50   57.40   $    8.44               $    82.65   $    82.65
  2/26/2017 Santiago Jovel                           $9.50   61.60   $    8.44               $   102.60   $   102.60
   3/5/2017 Santiago Jovel                           $9.50   41.48   $    8.44               $     7.05   $     7.05
   7/8/2018 Santiago Montes                         $10.00   62.27   $    8.60               $   111.33   $   111.33
  7/15/2018 Santiago Montes                         $10.00   78.75   $    8.60               $   193.75   $   193.75
  7/22/2018 Santiago Montes                         $10.00   78.45   $    8.60               $   192.25   $   192.25
  7/29/2018 Santiago Montes                         $10.00   77.63   $    8.60               $   188.17   $   188.17
   8/5/2018 Santiago Montes                         $10.00   65.15   $    8.60               $   125.75   $   125.75
  8/12/2018 Santiago Montes                         $10.00   63.48   $    8.60               $   117.42   $   117.42
  8/19/2018 Santiago Montes                         $10.00   78.32   $    8.60               $   191.58   $   191.58
  8/26/2018 Santiago Montes                         $10.00   77.17   $    8.60               $   185.83   $   185.83
   9/2/2018 Santiago Montes                         $10.00   74.48   $    8.60               $   172.42   $   172.42
   9/9/2018 Santiago Montes                         $10.00   61.40   $    8.60               $   107.00   $   107.00
  9/16/2018 Santiago Montes                         $10.00   78.33   $    8.60               $   191.67   $   191.67
  9/23/2018 Santiago Montes                         $10.00   75.98   $    8.60               $   179.92   $   179.92
  9/30/2018 Santiago Montes                         $10.00   76.28   $    8.60               $   181.42   $   181.42
  10/7/2018 Santiago Montes                         $10.00   64.70   $    8.60               $   123.50   $   123.50
 10/14/2018 Santiago Montes                         $10.00   71.13   $    8.60               $   155.67   $   155.67
 10/21/2018 Santiago Montes                         $10.00   77.85   $    8.60               $   189.25   $   189.25
 10/28/2018 Santiago Montes                         $10.00   64.00   $    8.60               $   120.00   $   120.00
  11/4/2018 Santiago Montes                         $10.00   81.20   $    8.60               $   206.00   $   206.00
 11/11/2018 Santiago Montes                         $10.00   75.03   $    8.60               $   175.17   $   175.17
 11/18/2018 Santiago Montes                         $10.00   69.40   $    8.60               $   147.00   $   147.00
 11/25/2018 Santiago Montes                         $10.00   63.90   $    8.60               $   119.50   $   119.50



                                                      599
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 601 of 683 PageID: 1448
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  12/2/2018 Santiago Montes                  $10.00   83.32   $    8.60               $   216.58   $   216.58
  12/9/2018 Santiago Montes                  $10.00   79.42   $    8.60               $   197.08   $   197.08
 12/16/2018 Santiago Montes                  $10.00   76.67   $    8.60               $   183.33   $   183.33
 12/23/2018 Santiago Montes                  $10.00   62.55   $    8.60               $   112.75   $   112.75
 12/30/2018 Santiago Montes                  $10.00   67.05   $    8.60               $   135.25   $   135.25
   1/6/2019 Santiago Montes                  $10.00   68.67   $    8.85               $   143.33   $   143.33
  1/13/2019 Santiago Montes                  $10.00   80.10   $    8.85               $   200.50   $   200.50
  1/20/2019 Santiago Montes                  $10.00   79.32   $    8.85               $   196.58   $   196.58
  1/27/2019 Santiago Montes                  $10.00   80.40   $    8.85               $   202.00   $   202.00
   2/3/2019 Santiago Montes                  $10.00   73.30   $    8.85               $   166.50   $   166.50
  2/10/2019 Santiago Montes                  $10.00   62.57   $    8.85               $   112.83   $   112.83
  2/17/2019 Santiago Montes                  $10.00   61.67   $    8.85               $   108.33   $   108.33
  2/24/2019 Santiago Montes                  $10.00   65.73   $    8.85               $   128.67   $   128.67
   3/3/2019 Santiago Montes                  $10.00   59.57   $    8.85               $    97.83   $    97.83
  3/10/2019 Santiago Montes                  $10.00   74.42   $    8.85               $   172.08   $   172.08
  3/17/2019 Santiago Montes                  $10.00   63.47   $    8.85               $   117.33   $   117.33
  3/24/2019 Santiago Montes                  $10.00   63.42   $    8.85               $   117.08   $   117.08
  3/31/2019 Santiago Montes                  $10.00   74.92   $    8.85               $   174.58   $   174.58
   4/7/2019 Santiago Montes                  $10.00   63.88   $    8.85               $   119.42   $   119.42
  4/14/2019 Santiago Montes                  $10.00   53.60   $    8.85               $    68.00   $    68.00
  12/8/2019 Santiago Tobar                   $10.00   55.23   $   10.00               $    76.17   $    76.17
 12/15/2019 Santiago Tobar                   $10.00   43.93   $   10.00               $    19.67   $    19.67
 12/22/2019 Santiago Tobar                   $10.00   44.05   $   10.00               $    20.25   $    20.25
 12/29/2019 Santiago Tobar                   $10.00   45.93   $   10.00               $    29.67   $    29.67
  1/26/2020 Santiago Tobar                   $10.00   56.25   $   11.00   $   56.25   $    89.38   $   145.63
  10/6/2019 Santos Tajboy                    $13.00   58.67   $   10.00               $   121.33   $   121.33
 10/13/2019 Santos Tajboy                    $13.00   49.03   $   10.00               $    58.72   $    58.72
 10/20/2019 Santos Tajboy                    $13.00   58.47   $   10.00               $   120.03   $   120.03
 10/27/2019 Santos Tajboy                    $13.00   58.38   $   10.00               $   119.49   $   119.49
  11/3/2019 Santos Tajboy                    $13.00   49.77   $   10.00               $    63.48   $    63.48
 11/10/2019 Santos Tajboy                    $13.00   47.82   $   10.00               $    50.81   $    50.81
 11/17/2019 Santos Tajboy                    $13.00   58.52   $   10.00               $   120.36   $   120.36
 11/24/2019 Santos Tajboy                    $13.00   70.95   $   10.00               $   201.18   $   201.18
  12/1/2019 Santos Tajboy                    $13.00   53.02   $   10.00               $    84.61   $    84.61
  12/8/2019 Santos Tajboy                    $13.00   55.97   $   10.00               $   103.78   $   103.78
 12/15/2019 Santos Tajboy                    $13.00   47.87   $   10.00               $    51.13   $    51.13
 12/22/2019 Santos Tajboy                    $13.00   69.35   $   10.00               $   190.78   $   190.78
 12/29/2019 Santos Tajboy                    $13.00   42.47   $   10.00               $    16.03   $    16.03
  1/12/2020 Santos Tajboy                    $13.00   49.15   $   11.00               $    59.48   $    59.48
  1/19/2020 Santos Tajboy                    $13.00   48.33   $   11.00               $    54.17   $    54.17
  1/26/2020 Santos Tajboy                    $13.00   51.50   $   11.00               $    74.75   $    74.75
   7/7/2019 Santos Velartes Quixon           $11.25   48.78   $   10.00               $    49.41   $    49.41
  7/14/2019 Santos Velartes Quixon           $11.25   58.93   $   10.00               $   106.50   $   106.50
  7/21/2019 Santos Velartes Quixon           $11.25   57.87   $   10.00               $   100.50   $   100.50
  7/28/2019 Santos Velartes Quixon           $11.25   58.88   $   10.00               $   106.22   $   106.22
   8/4/2019 Santos Velartes Quixon           $11.25   58.92   $   10.00               $   106.41   $   106.41
  8/11/2019 Santos Velartes Quixon           $11.25   54.22   $   10.00               $    79.97   $    79.97
  8/18/2019 Santos Velartes Quixon           $11.25   58.82   $   10.00               $   105.84   $   105.84
  8/25/2019 Santos Velartes Quixon           $11.25   58.78   $   10.00               $   105.66   $   105.66
   9/1/2019 Santos Velartes Quixon           $11.25   58.77   $   10.00               $   105.56   $   105.56



                                               600
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 602 of 683 PageID: 1449
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

   9/8/2019 Santos Velartes Quixon           $11.25   48.88   $   10.00         $    49.97   $     49.97
  9/15/2019 Santos Velartes Quixon           $11.25   59.02   $   10.00         $   106.97   $    106.97
  9/22/2019 Santos Velartes Quixon           $11.25   58.77   $   10.00         $   105.56   $    105.56
  9/29/2019 Santos Velartes Quixon           $11.25   55.80   $   10.00         $    88.88   $     88.88
  10/6/2019 Santos Velartes Quixon           $11.25   58.98   $   10.00         $   106.78   $    106.78
 10/13/2019 Santos Velartes Quixon           $11.25   55.03   $   10.00         $    84.56   $     84.56
 10/20/2019 Santos Velartes Quixon           $11.25   58.78   $   10.00         $   105.66   $    105.66
 10/27/2019 Santos Velartes Quixon           $11.25   57.92   $   10.00         $   100.78   $    100.78
  11/3/2019 Santos Velartes Quixon           $11.25   58.82   $   10.00         $   105.84   $    105.84
 11/10/2019 Santos Velartes Quixon           $11.25   58.87   $   10.00         $   106.13   $    106.13
 11/17/2019 Santos Velartes Quixon           $11.25   57.85   $   10.00         $   100.41   $    100.41
 11/24/2019 Santos Velartes Quixon           $11.25   58.83   $   10.00         $   105.94   $    105.94
  12/1/2019 Santos Velartes Quixon           $11.25   48.83   $   10.00         $    49.69   $     49.69
  12/8/2019 Santos Velartes Quixon           $11.25   58.77   $   10.00         $   105.56   $    105.56
 12/15/2019 Santos Velartes Quixon           $11.25   58.80   $   10.00         $   105.75   $    105.75
 12/22/2019 Santos Velartes Quixon           $11.25   58.92   $   10.00         $   106.41   $    106.41
 12/29/2019 Santos Velartes Quixon           $11.25   45.02   $   10.00         $    28.22   $     28.22
   1/5/2020 Santos Velartes Quixon           $11.25   47.97   $   11.00         $    44.81   $     44.81
  1/12/2020 Santos Velartes Quixon           $11.25   58.80   $   11.00         $   105.75   $    105.75
  1/19/2020 Santos Velartes Quixon           $11.25   58.83   $   11.00         $   105.94   $    105.94
  1/26/2020 Santos Velartes Quixon           $11.25   58.90   $   11.00         $   106.31   $    106.31
 10/29/2017 Santos Velartez                  $10.66   54.05   $    8.44         $    74.89   $     74.89
  11/5/2017 Santos Velartez                  $10.66   55.15   $    8.44         $    80.75   $     80.75
 11/12/2017 Santos Velartez                  $10.66   59.12   $    8.44         $   101.89   $    101.89
 11/19/2017 Santos Velartez                  $10.66   59.93   $    8.44         $   106.24   $    106.24
 11/26/2017 Santos Velartez                  $10.66   46.08   $    8.44         $    32.42   $     32.42
  12/3/2017 Santos Velartez                  $10.66   60.13   $    8.44         $   107.31   $    107.31
 12/10/2017 Santos Velartez                  $10.66   54.15   $    8.44         $    75.42   $     75.42
 12/17/2017 Santos Velartez                  $10.66   60.08   $    8.44         $   107.04   $    107.04
 12/24/2017 Santos Velartez                  $10.66   59.08   $    8.44         $   101.71   $    101.71
 12/31/2017 Santos Velartez                  $10.66   49.10   $    8.44         $    48.50   $     48.50
  1/21/2018 Santos Velartez                  $10.66   53.92   $    8.60         $    74.18   $     74.18
  1/28/2018 Santos Velartez                  $10.66   58.78   $    8.60         $   100.12   $    100.12
   2/4/2018 Santos Velartez                  $10.66   58.80   $    8.60         $   100.20   $    100.20
  2/11/2018 Santos Velartez                  $10.66   57.90   $    8.60         $    95.41   $     95.41
  2/18/2018 Santos Velartez                  $10.66   58.88   $    8.60         $   100.65   $    100.65
  2/25/2018 Santos Velartez                  $10.66   58.02   $    8.60         $    96.03   $     96.03
   3/4/2018 Santos Velartez                  $10.66   48.83   $    8.60         $    47.08   $     47.08
  3/25/2018 Santos Velartez                  $10.66   54.78   $    8.60         $    78.80   $     78.80
   4/1/2018 Santos Velartez                  $10.66   59.03   $    8.60         $   101.45   $    101.45
   4/8/2018 Santos Velartez                  $10.66   57.88   $    8.60         $    95.32   $     95.32
  4/15/2018 Santos Velartez                  $10.66   53.77   $    8.60         $    73.38   $     73.38
  4/22/2018 Santos Velartez                  $10.66   53.32   $    8.60         $    70.98   $     70.98
  4/29/2018 Santos Velartez                  $10.66   59.03   $    8.60         $   101.45   $    101.45
   5/6/2018 Santos Velartez                  $10.66   48.70   $    8.60         $    46.37   $     46.37
  5/13/2018 Santos Velartez                  $10.66   59.18   $    8.60         $   102.25   $    102.25
  5/20/2018 Santos Velartez                  $10.66   59.02   $    8.60         $   101.36   $    101.36
  5/27/2018 Santos Velartez                  $10.66   57.05   $    8.60         $    90.88   $     90.88
   6/3/2018 Santos Velartez                  $10.66   48.93   $    8.60         $    47.61   $     47.61
  6/10/2018 Santos Velartez                  $10.66   47.97   $    8.60         $    42.46   $     42.46



                                               601
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 603 of 683 PageID: 1450
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                       Name                         Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  6/17/2018 Santos Velartez                   $10.66   55.55   $    8.60         $    82.88   $     82.88
  6/24/2018 Santos Velartez                   $10.66   58.35   $    8.60         $    97.81   $     97.81
   7/1/2018 Santos Velartez                   $10.66   57.08   $    8.60         $    91.05   $     91.05
  7/15/2018 Santos Velartez                   $10.66   49.02   $    8.60         $    48.06   $     48.06
  12/2/2018 Santos Velartez                   $10.66   60.13   $    8.60         $   107.31   $    107.31
  12/9/2018 Santos Velartez                   $10.66   59.15   $    8.60         $   102.07   $    102.07
 12/16/2018 Santos Velartez                   $10.66   59.02   $    8.60         $   101.36   $    101.36
 12/23/2018 Santos Velartez                   $10.66   59.08   $    8.60         $   101.71   $    101.71
 12/30/2018 Santos Velartez                   $10.66   45.80   $    8.60         $    30.91   $     30.91
   1/6/2019 Santos Velartez                   $10.66   48.45   $    8.85         $    45.04   $     45.04
  1/13/2019 Santos Velartez                   $10.66   56.87   $    8.85         $    89.90   $     89.90
  1/20/2019 Santos Velartez                   $10.66   58.87   $    8.85         $   100.56   $    100.56
  1/27/2019 Santos Velartez                   $10.66   58.93   $    8.85         $   100.91   $    100.91
   2/3/2019 Santos Velartez                   $10.66   58.83   $    8.85         $   100.38   $    100.38
  2/10/2019 Santos Velartez                   $10.66   58.95   $    8.85         $   101.00   $    101.00
  2/17/2019 Santos Velartez                   $10.66   59.03   $    8.85         $   101.45   $    101.45
  2/24/2019 Santos Velartez                   $10.66   52.25   $    8.85         $    65.29   $     65.29
   3/3/2019 Santos Velartez                   $10.66   48.97   $    8.85         $    47.79   $     47.79
  3/10/2019 Santos Velartez                   $10.66   54.07   $    8.85         $    74.98   $     74.98
  3/17/2019 Santos Velartez                   $10.66   59.15   $    8.85         $   102.07   $    102.07
  3/24/2019 Santos Velartez                   $10.66   58.07   $    8.85         $    96.30   $     96.30
  3/31/2019 Santos Velartez                   $10.66   59.17   $    8.85         $   102.16   $    102.16
   4/7/2019 Santos Velartez                   $10.66   59.00   $    8.85         $   101.27   $    101.27
  4/14/2019 Santos Velartez                   $10.66   51.40   $    8.85         $    60.76   $     60.76
  4/21/2019 Santos Velartez                   $10.66   58.95   $    8.85         $   101.00   $    101.00
  4/28/2019 Santos Velartez                   $10.66   58.32   $    8.85         $    97.63   $     97.63
   5/5/2019 Santos Velartez                   $10.66   59.10   $    8.85         $   101.80   $    101.80
  5/12/2019 Santos Velartez                   $10.66   58.93   $    8.85         $   100.91   $    100.91
  5/19/2019 Santos Velartez                   $10.66   58.98   $    8.85         $   101.18   $    101.18
  5/26/2019 Santos Velartez                   $10.66   58.98   $    8.85         $   101.18   $    101.18
   6/2/2019 Santos Velartez                   $10.66   48.87   $    8.85         $    47.26   $     47.26
   6/9/2019 Santos Velartez                   $10.66   58.95   $    8.85         $   101.00   $    101.00
  6/16/2019 Santos Velartez                   $10.66   57.82   $    8.85         $    94.96   $     94.96
  6/23/2019 Santos Velartez                   $10.66   59.27   $    8.85         $   102.69   $    102.69
  6/30/2019 Santos Velartez                   $10.66   58.78   $   10.00         $   100.12   $    100.12
  5/12/2019 Saqueo Baltazar Zeperino          $10.50   69.98   $    8.85         $   157.41   $    157.41
  5/19/2019 Saqueo Baltazar Zeperino          $10.50   72.13   $    8.85         $   168.70   $    168.70
  5/26/2019 Saqueo Baltazar Zeperino          $10.50   72.17   $    8.85         $   168.88   $    168.88
   6/2/2019 Saqueo Baltazar Zeperino          $10.50   72.20   $    8.85         $   169.05   $    169.05
   6/9/2019 Saqueo Baltazar Zeperino          $10.50   76.75   $    8.85         $   192.94   $    192.94
  6/16/2019 Saqueo Baltazar Zeperino          $10.50   73.03   $    8.85         $   173.43   $    173.43
  6/23/2019 Saqueo Baltazar Zeperino          $10.50   71.17   $    8.85         $   163.63   $    163.63
  6/30/2019 Saqueo Baltazar Zeperino          $10.50   61.27   $   10.00         $   111.65   $    111.65
   7/7/2019 Saqueo Baltazar Zeperino          $10.50   67.80   $   10.00         $   145.95   $    145.95
  7/14/2019 Saqueo Baltazar Zeperino          $10.50   48.15   $   10.00         $    42.79   $     42.79
  7/21/2019 Saqueo Baltazar Zeperino          $10.50   72.92   $   10.00         $   172.81   $    172.81
  7/28/2019 Saqueo Baltazar Zeperino          $10.50   72.55   $   10.00         $   170.89   $    170.89
   8/4/2019 Saqueo Baltazar Zeperino          $10.50   59.85   $   10.00         $   104.21   $    104.21
  8/11/2019 Saqueo Baltazar Zeperino          $10.50   72.13   $   10.00         $   168.70   $    168.70
  8/18/2019 Saqueo Baltazar Zeperino          $10.50   71.45   $   10.00         $   165.11   $    165.11



                                                602
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 604 of 683 PageID: 1451
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                       Name                         Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  8/25/2019 Saqueo Baltazar Zeperino          $10.50   59.88   $   10.00         $   104.39   $    104.39
   9/1/2019 Saqueo Baltazar Zeperino          $10.50   72.20   $   10.00         $   169.05   $    169.05
   9/8/2019 Saqueo Baltazar Zeperino          $10.50   74.05   $   10.00         $   178.76   $    178.76
  9/15/2019 Saqueo Baltazar Zeperino          $10.50   64.27   $   10.00         $   127.40   $    127.40
  9/22/2019 Saqueo Baltazar Zeperino          $10.50   77.60   $   10.00         $   197.40   $    197.40
  9/29/2019 Saqueo Baltazar Zeperino          $10.50   77.75   $   10.00         $   198.19   $    198.19
  10/6/2019 Saqueo Baltazar Zeperino          $10.50   69.93   $   10.00         $   157.15   $    157.15
 10/13/2019 Saqueo Baltazar Zeperino          $10.50   71.13   $   10.00         $   163.45   $    163.45
 10/20/2019 Saqueo Baltazar Zeperino          $11.00   71.80   $   10.00         $   174.90   $    174.90
 10/27/2019 Saqueo Baltazar Zeperino          $11.00   74.02   $   10.00         $   187.09   $    187.09
  11/3/2019 Saqueo Baltazar Zeperino          $11.00   71.67   $   10.00         $   174.17   $    174.17
 11/10/2019 Saqueo Baltazar Zeperino          $11.00   63.42   $   10.00         $   128.79   $    128.79
 11/17/2019 Saqueo Baltazar Zeperino          $11.00   72.22   $   10.00         $   177.19   $    177.19
 11/24/2019 Saqueo Baltazar Zeperino          $11.00   72.82   $   10.00         $   180.49   $    180.49
  12/1/2019 Saqueo Baltazar Zeperino          $11.00   58.97   $   10.00         $   104.32   $    104.32
  12/8/2019 Saqueo Baltazar Zeperino          $11.00   71.93   $   10.00         $   175.63   $    175.63
 12/15/2019 Saqueo Baltazar Zeperino          $10.50   73.03   $   10.00         $   173.43   $    173.43
 12/22/2019 Saqueo Baltazar Zeperino          $10.50   68.72   $   10.00         $   150.76   $    150.76
 12/29/2019 Saqueo Baltazar Zeperino          $10.50   42.27   $   10.00         $    11.90   $     11.90
  3/10/2019 Saul Alvarado - New Cars          $11.50   76.33   $    8.85         $   208.92   $    208.92
  3/17/2019 Saul Alvarado - New Cars          $11.50   74.40   $    8.85         $   197.80   $    197.80
  3/24/2019 Saul Alvarado - New Cars          $11.50   82.10   $    8.85         $   242.08   $    242.08
  3/31/2019 Saul Alvarado - New Cars          $11.50   82.83   $    8.85         $   246.29   $    246.29
   4/7/2019 Saul Alvarado - New Cars          $11.50   79.25   $    8.85         $   225.69   $    225.69
  4/14/2019 Saul Alvarado - New Cars          $11.50   79.80   $    8.85         $   228.85   $    228.85
  4/21/2019 Saul Alvarado - New Cars          $11.50   70.52   $    8.85         $   175.47   $    175.47
  4/28/2019 Saul Alvarado - New Cars          $11.50   70.93   $    8.85         $   177.87   $    177.87
   5/5/2019 Saul Alvarado - New Cars          $11.50   78.77   $    8.85         $   222.91   $    222.91
  5/12/2019 Saul Alvarado - New Cars          $11.50   79.55   $    8.85         $   227.41   $    227.41
  5/19/2019 Saul Alvarado - New Cars          $11.50   74.78   $    8.85         $   200.00   $    200.00
  5/26/2019 Saul Alvarado - New Cars          $11.50   72.95   $    8.85         $   189.46   $    189.46
   6/2/2019 Saul Alvarado - New Cars          $11.50   75.68   $    8.85         $   205.18   $    205.18
   6/9/2019 Saul Alvarado - New Cars          $11.50   74.10   $    8.85         $   196.08   $    196.08
  6/16/2019 Saul Alvarado - New Cars          $11.50   72.95   $    8.85         $   189.46   $    189.46
  6/23/2019 Saul Alvarado - New Cars          $11.50   72.98   $    8.85         $   189.65   $    189.65
  6/30/2019 Saul Alvarado - New Cars          $11.50   79.77   $   10.00         $   228.66   $    228.66
   7/7/2019 Saul Alvarado - New Cars          $11.50   73.33   $   10.00         $   191.67   $    191.67
  7/14/2019 Saul Alvarado - New Cars          $11.50   74.28   $   10.00         $   197.13   $    197.13
  7/21/2019 Saul Alvarado - New Cars          $11.50   79.23   $   10.00         $   225.59   $    225.59
  7/28/2019 Saul Alvarado - New Cars          $11.50   72.67   $   10.00         $   187.83   $    187.83
   8/4/2019 Saul Alvarado - New Cars          $11.50   74.47   $   10.00         $   198.18   $    198.18
  8/11/2019 Saul Alvarado - New Cars          $11.50   74.02   $   10.00         $   195.60   $    195.60
  8/18/2019 Saul Alvarado - New Cars          $11.50   72.47   $   10.00         $   186.68   $    186.68
  8/25/2019 Saul Alvarado - New Cars          $11.50   75.45   $   10.00         $   203.84   $    203.84
   9/1/2019 Saul Alvarado - New Cars          $11.50   74.05   $   10.00         $   195.79   $    195.79
   9/8/2019 Saul Alvarado - New Cars          $11.50   71.57   $   10.00         $   181.51   $    181.51
  9/15/2019 Saul Alvarado - New Cars          $11.50   70.85   $   10.00         $   177.39   $    177.39
  9/22/2019 Saul Alvarado - New Cars          $11.50   73.37   $   10.00         $   191.86   $    191.86
  9/29/2019 Saul Alvarado - New Cars          $11.50   70.62   $   10.00         $   176.05   $    176.05
  10/6/2019 Saul Alvarado - New Cars          $11.50   75.27   $   10.00         $   202.78   $    202.78



                                                603
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 605 of 683 PageID: 1452
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                       Name                           Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

 10/13/2019 Saul Alvarado - New Cars            $11.50   75.23   $   10.00         $   202.59   $    202.59
 10/20/2019 Saul Alvarado - New Cars            $11.50   72.63   $   10.00         $   187.64   $    187.64
 10/27/2019 Saul Alvarado - New Cars            $11.50   71.48   $   10.00         $   181.03   $    181.03
  11/3/2019 Saul Alvarado - New Cars            $11.50   73.00   $   10.00         $   189.75   $    189.75
 11/10/2019 Saul Alvarado - New Cars            $11.50   72.18   $   10.00         $   185.05   $    185.05
 11/17/2019 Saul Alvarado - New Cars            $11.50   73.97   $   10.00         $   195.31   $    195.31
 11/24/2019 Saul Alvarado - New Cars            $11.50   65.92   $   10.00         $   149.02   $    149.02
  12/1/2019 Saul Alvarado - New Cars            $11.50   64.63   $   10.00         $   141.64   $    141.64
  12/8/2019 Saul Alvarado - New Cars            $11.50   70.17   $   10.00         $   173.46   $    173.46
 12/15/2019 Saul Alvarado - New Cars            $11.50   70.53   $   10.00         $   175.57   $    175.57
 12/22/2019 Saul Alvarado - New Cars            $11.50   70.13   $   10.00         $   173.27   $    173.27
 12/29/2019 Saul Alvarado - New Cars            $11.50   61.65   $   10.00         $   124.49   $    124.49
   1/5/2020 Saul Alvarado - New Cars            $11.50   63.90   $   11.00         $   137.43   $    137.43
  1/12/2020 Saul Alvarado - New Cars            $11.50   72.17   $   11.00         $   184.96   $    184.96
  1/19/2020 Saul Alvarado - New Cars            $11.50   72.78   $   11.00         $   188.50   $    188.50
  1/26/2020 Saul Alvarado - New Cars            $11.50   74.80   $   11.00         $   200.10   $    200.10
  4/23/2017 Saul Armando Rivera Garcia          $10.00   73.07   $    8.44         $   165.33   $    165.33
  4/30/2017 Saul Armando Rivera Garcia          $10.00   64.62   $    8.44         $   123.08   $    123.08
   5/7/2017 Saul Armando Rivera Garcia          $10.00   70.73   $    8.44         $   153.67   $    153.67
  5/14/2017 Saul Armando Rivera Garcia          $10.00   64.05   $    8.44         $   120.25   $    120.25
  5/21/2017 Saul Armando Rivera Garcia          $10.00   72.75   $    8.44         $   163.75   $    163.75
  5/28/2017 Saul Armando Rivera Garcia          $10.00   63.82   $    8.44         $   119.08   $    119.08
   6/4/2017 Saul Armando Rivera Garcia          $10.00   67.42   $    8.44         $   137.08   $    137.08
  6/11/2017 Saul Armando Rivera Garcia          $10.00   64.47   $    8.44         $   122.33   $    122.33
  6/18/2017 Saul Armando Rivera Garcia          $10.00   66.35   $    8.44         $   131.75   $    131.75
  6/25/2017 Saul Armando Rivera Garcia          $10.00   63.80   $    8.44         $   119.00   $    119.00
   7/2/2017 Saul Armando Rivera Garcia          $10.00   74.77   $    8.44         $   173.83   $    173.83
   7/9/2017 Saul Armando Rivera Garcia          $10.00   54.95   $    8.44         $    74.75   $     74.75
  7/16/2017 Saul Armando Rivera Garcia          $10.00   71.30   $    8.44         $   156.50   $    156.50
  7/23/2017 Saul Armando Rivera Garcia          $10.00   62.13   $    8.44         $   110.67   $    110.67
  7/30/2017 Saul Armando Rivera Garcia          $10.00   72.63   $    8.44         $   163.17   $    163.17
   8/6/2017 Saul Armando Rivera Garcia          $10.00   64.53   $    8.44         $   122.67   $    122.67
  8/13/2017 Saul Armando Rivera Garcia          $10.00   74.02   $    8.44         $   170.08   $    170.08
  8/20/2017 Saul Armando Rivera Garcia          $10.00   54.75   $    8.44         $    73.75   $     73.75
  8/27/2017 Saul Armando Rivera Garcia          $10.00   74.05   $    8.44         $   170.25   $    170.25
   9/3/2017 Saul Armando Rivera Garcia          $10.00   66.48   $    8.44         $   132.42   $    132.42
  9/10/2017 Saul Armando Rivera Garcia          $10.00   55.25   $    8.44         $    76.25   $     76.25
  9/17/2017 Saul Armando Rivera Garcia          $10.00   65.07   $    8.44         $   125.33   $    125.33
  9/24/2017 Saul Armando Rivera Garcia          $10.00   74.67   $    8.44         $   173.33   $    173.33
  10/1/2017 Saul Armando Rivera Garcia          $10.00   66.40   $    8.44         $   132.00   $    132.00
  10/8/2017 Saul Armando Rivera Garcia          $10.00   75.60   $    8.44         $   178.00   $    178.00
 10/15/2017 Saul Armando Rivera Garcia          $10.00   57.87   $    8.44         $    89.33   $     89.33
 10/22/2017 Saul Armando Rivera Garcia          $10.00   74.13   $    8.44         $   170.67   $    170.67
 10/29/2017 Saul Armando Rivera Garcia          $10.00   61.45   $    8.44         $   107.25   $    107.25
  11/5/2017 Saul Armando Rivera Garcia          $10.00   77.15   $    8.44         $   185.75   $    185.75
 11/12/2017 Saul Armando Rivera Garcia          $10.00   65.62   $    8.44         $   128.08   $    128.08
 11/19/2017 Saul Armando Rivera Garcia          $10.00   67.48   $    8.44         $   137.42   $    137.42
 11/26/2017 Saul Armando Rivera Garcia          $10.00   47.80   $    8.44         $    39.00   $     39.00
  12/3/2017 Saul Armando Rivera Garcia          $10.00   77.03   $    8.44         $   185.17   $    185.17
 12/10/2017 Saul Armando Rivera Garcia          $10.00   65.22   $    8.44         $   126.08   $    126.08



                                                  604
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 606 of 683 PageID: 1453
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                       Name                           Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

 12/17/2017 Saul Armando Rivera Garcia          $10.00   79.08   $   8.44          $   195.42   $    195.42
 12/24/2017 Saul Armando Rivera Garcia          $10.00   67.77   $   8.44          $   138.83   $    138.83
 12/31/2017 Saul Armando Rivera Garcia          $10.00   67.00   $   8.44          $   135.00   $    135.00
   1/7/2018 Saul Armando Rivera Garcia          $10.00   47.28   $   8.60          $    36.42   $     36.42
  1/14/2018 Saul Armando Rivera Garcia          $10.00   64.00   $   8.60          $   120.00   $    120.00
  1/21/2018 Saul Armando Rivera Garcia          $10.00   65.22   $   8.60          $   126.08   $    126.08
  1/28/2018 Saul Armando Rivera Garcia          $10.00   75.47   $   8.60          $   177.33   $    177.33
   2/4/2018 Saul Armando Rivera Garcia          $10.00   67.23   $   8.60          $   136.17   $    136.17
  2/11/2018 Saul Armando Rivera Garcia          $10.00   70.92   $   8.60          $   154.58   $    154.58
  2/18/2018 Saul Armando Rivera Garcia          $10.00   59.90   $   8.60          $    99.50   $     99.50
  2/25/2018 Saul Armando Rivera Garcia          $10.00   74.02   $   8.60          $   170.08   $    170.08
   3/4/2018 Saul Armando Rivera Garcia          $10.00   68.32   $   8.60          $   141.58   $    141.58
  3/25/2018 Saul Armando Rivera Garcia          $10.00   74.12   $   8.60          $   170.58   $    170.58
   4/1/2018 Saul Armando Rivera Garcia          $10.00   69.57   $   8.60          $   147.83   $    147.83
   4/8/2018 Saul Armando Rivera Garcia          $10.00   76.82   $   8.60          $   184.08   $    184.08
  4/15/2018 Saul Armando Rivera Garcia          $10.00   68.18   $   8.60          $   140.92   $    140.92
  4/22/2018 Saul Armando Rivera Garcia          $10.00   78.67   $   8.60          $   193.33   $    193.33
  4/29/2018 Saul Armando Rivera Garcia          $10.00   58.35   $   8.60          $    91.75   $     91.75
   5/6/2018 Saul Armando Rivera Garcia          $10.00   73.95   $   8.60          $   169.75   $    169.75
  5/13/2018 Saul Armando Rivera Garcia          $10.00   65.47   $   8.60          $   127.33   $    127.33
  5/20/2018 Saul Armando Rivera Garcia          $10.00   75.78   $   8.60          $   178.92   $    178.92
  5/27/2018 Saul Armando Rivera Garcia          $10.00   65.83   $   8.60          $   129.17   $    129.17
   6/3/2018 Saul Armando Rivera Garcia          $10.00   51.25   $   8.60          $    56.25   $     56.25
  6/10/2018 Saul Armando Rivera Garcia          $10.00   64.28   $   8.60          $   121.42   $    121.42
  6/17/2018 Saul Armando Rivera Garcia          $10.00   56.48   $   8.60          $    82.42   $     82.42
  6/24/2018 Saul Armando Rivera Garcia          $10.00   67.78   $   8.60          $   138.92   $    138.92
   7/1/2018 Saul Armando Rivera Garcia          $10.00   56.50   $   8.60          $    82.50   $     82.50
   7/8/2018 Saul Armando Rivera Garcia          $10.00   56.33   $   8.60          $    81.67   $     81.67
  7/15/2018 Saul Armando Rivera Garcia          $10.00   52.15   $   8.60          $    60.75   $     60.75
  7/22/2018 Saul Armando Rivera Garcia          $10.00   66.17   $   8.60          $   130.83   $    130.83
  7/29/2018 Saul Armando Rivera Garcia          $10.00   43.13   $   8.60          $    15.67   $     15.67
   8/5/2018 Saul Armando Rivera Garcia          $10.50   53.15   $   8.60          $    69.04   $     69.04
  8/12/2018 Saul Armando Rivera Garcia          $10.50   74.02   $   8.60          $   178.59   $    178.59
  8/19/2018 Saul Armando Rivera Garcia          $10.50   75.30   $   8.60          $   185.33   $    185.33
  8/26/2018 Saul Armando Rivera Garcia          $10.50   62.38   $   8.60          $   117.51   $    117.51
   9/2/2018 Saul Armando Rivera Garcia          $10.50   75.20   $   8.60          $   184.80   $    184.80
   9/9/2018 Saul Armando Rivera Garcia          $10.50   63.63   $   8.60          $   124.08   $    124.08
  9/16/2018 Saul Armando Rivera Garcia          $10.50   73.63   $   8.60          $   176.58   $    176.58
  9/23/2018 Saul Armando Rivera Garcia          $10.50   70.17   $   8.60          $   158.38   $    158.38
  9/30/2018 Saul Armando Rivera Garcia          $10.50   77.95   $   8.60          $   199.24   $    199.24
  10/7/2018 Saul Armando Rivera Garcia          $10.50   77.18   $   8.60          $   195.21   $    195.21
 10/14/2018 Saul Armando Rivera Garcia          $10.50   71.55   $   8.60          $   165.64   $    165.64
 10/21/2018 Saul Armando Rivera Garcia          $10.50   78.17   $   8.60          $   200.38   $    200.38
 10/28/2018 Saul Armando Rivera Garcia          $10.50   78.47   $   8.60          $   201.95   $    201.95
  11/4/2018 Saul Armando Rivera Garcia          $10.50   78.37   $   8.60          $   201.43   $    201.43
 11/11/2018 Saul Armando Rivera Garcia          $10.50   77.83   $   8.60          $   198.63   $    198.63
 11/18/2018 Saul Armando Rivera Garcia          $10.50   64.23   $   8.60          $   127.23   $    127.23
 11/25/2018 Saul Armando Rivera Garcia          $10.50   60.45   $   8.60          $   107.36   $    107.36
  12/2/2018 Saul Armando Rivera Garcia          $10.50   73.42   $   8.60          $   175.44   $    175.44
  12/9/2018 Saul Armando Rivera Garcia          $10.50   70.65   $   8.60          $   160.91   $    160.91



                                                  605
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 607 of 683 PageID: 1454
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                       Name                           Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

 12/16/2018 Saul Armando Rivera Garcia          $10.50   72.92   $    8.60         $   172.81   $    172.81
 12/23/2018 Saul Armando Rivera Garcia          $10.50   73.73   $    8.60         $   177.10   $    177.10
 12/30/2018 Saul Armando Rivera Garcia          $10.50   57.37   $    8.60         $    91.18   $     91.18
   1/6/2019 Saul Armando Rivera Garcia          $10.50   59.18   $    8.85         $   100.71   $    100.71
  1/13/2019 Saul Armando Rivera Garcia          $10.50   73.98   $    8.85         $   178.41   $    178.41
  1/20/2019 Saul Armando Rivera Garcia          $10.50   71.95   $    8.85         $   167.74   $    167.74
  1/27/2019 Saul Armando Rivera Garcia          $10.50   73.15   $    8.85         $   174.04   $    174.04
   2/3/2019 Saul Armando Rivera Garcia          $10.50   62.17   $    8.85         $   116.38   $    116.38
  2/10/2019 Saul Armando Rivera Garcia          $10.50   72.22   $    8.85         $   169.14   $    169.14
  2/17/2019 Saul Armando Rivera Garcia          $10.50   72.90   $    8.85         $   172.73   $    172.73
  2/24/2019 Saul Armando Rivera Garcia          $10.50   72.48   $    8.85         $   170.54   $    170.54
   3/3/2019 Saul Armando Rivera Garcia          $10.50   73.52   $    8.85         $   175.96   $    175.96
  3/10/2019 Saul Armando Rivera Garcia          $10.50   72.80   $    8.85         $   172.20   $    172.20
  3/17/2019 Saul Armando Rivera Garcia          $10.50   73.60   $    8.85         $   176.40   $    176.40
  3/24/2019 Saul Armando Rivera Garcia          $10.50   73.40   $    8.85         $   175.35   $    175.35
  3/31/2019 Saul Armando Rivera Garcia          $10.50   71.85   $    8.85         $   167.21   $    167.21
   4/7/2019 Saul Armando Rivera Garcia          $10.50   79.42   $    8.85         $   206.94   $    206.94
  4/14/2019 Saul Armando Rivera Garcia          $10.50   73.25   $    8.85         $   174.56   $    174.56
  4/21/2019 Saul Armando Rivera Garcia          $10.50   65.48   $    8.85         $   133.79   $    133.79
  4/28/2019 Saul Armando Rivera Garcia          $10.50   75.58   $    8.85         $   186.81   $    186.81
   5/5/2019 Saul Armando Rivera Garcia          $10.50   75.87   $    8.85         $   188.30   $    188.30
  5/12/2019 Saul Armando Rivera Garcia          $10.50   74.87   $    8.85         $   183.05   $    183.05
  5/19/2019 Saul Armando Rivera Garcia          $10.50   75.83   $    8.85         $   188.13   $    188.13
  5/26/2019 Saul Armando Rivera Garcia          $10.50   74.73   $    8.85         $   182.35   $    182.35
   6/2/2019 Saul Armando Rivera Garcia          $10.50   63.67   $    8.85         $   124.25   $    124.25
   6/9/2019 Saul Armando Rivera Garcia          $10.50   42.08   $    8.85         $    10.94   $     10.94
  6/16/2019 Saul Armando Rivera Garcia          $10.50   65.93   $    8.85         $   136.15   $    136.15
  6/23/2019 Saul Armando Rivera Garcia          $10.50   75.40   $    8.85         $   185.85   $    185.85
  6/30/2019 Saul Armando Rivera Garcia          $10.50   76.12   $   10.00         $   189.61   $    189.61
   7/7/2019 Saul Armando Rivera Garcia          $11.00   49.63   $   10.00         $    52.98   $     52.98
  7/14/2019 Saul Armando Rivera Garcia          $11.00   76.07   $   10.00         $   198.37   $    198.37
  7/21/2019 Saul Armando Rivera Garcia          $11.00   76.08   $   10.00         $   198.46   $    198.46
  7/28/2019 Saul Armando Rivera Garcia          $11.00   74.12   $   10.00         $   187.64   $    187.64
   8/4/2019 Saul Armando Rivera Garcia          $11.00   64.98   $   10.00         $   137.41   $    137.41
  8/11/2019 Saul Armando Rivera Garcia          $11.00   76.80   $   10.00         $   202.40   $    202.40
  8/18/2019 Saul Armando Rivera Garcia          $11.00   73.63   $   10.00         $   184.98   $    184.98
  8/25/2019 Saul Armando Rivera Garcia          $11.00   74.27   $   10.00         $   188.47   $    188.47
   9/1/2019 Saul Armando Rivera Garcia          $11.00   60.58   $   10.00         $   113.21   $    113.21
   9/8/2019 Saul Armando Rivera Garcia          $11.00   63.92   $   10.00         $   131.54   $    131.54
  9/15/2019 Saul Armando Rivera Garcia          $11.00   67.32   $   10.00         $   150.24   $    150.24
  9/22/2019 Saul Armando Rivera Garcia          $11.00   76.32   $   10.00         $   199.74   $    199.74
  9/29/2019 Saul Armando Rivera Garcia          $11.00   75.82   $   10.00         $   196.99   $    196.99
  10/6/2019 Saul Armando Rivera Garcia          $11.00   74.70   $   10.00         $   190.85   $    190.85
 10/13/2019 Saul Armando Rivera Garcia          $11.00   75.43   $   10.00         $   194.88   $    194.88
 10/20/2019 Saul Armando Rivera Garcia          $11.00   76.13   $   10.00         $   198.73   $    198.73
 10/27/2019 Saul Armando Rivera Garcia          $11.00   75.73   $   10.00         $   196.53   $    196.53
  11/3/2019 Saul Armando Rivera Garcia          $11.00   76.25   $   10.00         $   199.38   $    199.38
 11/10/2019 Saul Armando Rivera Garcia          $11.00   74.78   $   10.00         $   191.31   $    191.31
 11/17/2019 Saul Armando Rivera Garcia          $11.00   75.53   $   10.00         $   195.43   $    195.43
 11/24/2019 Saul Armando Rivera Garcia          $11.00   62.40   $   10.00         $   123.20   $    123.20



                                                  606
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 608 of 683 PageID: 1455
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                       Name                           Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

  12/1/2019 Saul Armando Rivera Garcia          $11.00   62.40   $   10.00         $   123.20   $    123.20
  12/8/2019 Saul Armando Rivera Garcia          $11.00   75.20   $   10.00         $   193.60   $    193.60
 12/15/2019 Saul Armando Rivera Garcia          $11.00   75.48   $   10.00         $   195.16   $    195.16
 12/22/2019 Saul Armando Rivera Garcia          $11.00   75.47   $   10.00         $   195.07   $    195.07
 12/29/2019 Saul Armando Rivera Garcia          $11.00   49.43   $   10.00         $    51.88   $     51.88
   1/5/2020 Saul Armando Rivera Garcia          $11.00   58.58   $   11.00         $   102.21   $    102.21
  1/12/2020 Saul Armando Rivera Garcia          $11.00   75.85   $   11.00         $   197.18   $    197.18
  1/19/2020 Saul Armando Rivera Garcia          $11.00   69.23   $   11.00         $   160.78   $    160.78
  1/26/2020 Saul Armando Rivera Garcia          $11.00   71.92   $   11.00         $   175.54   $    175.54
  4/29/2018 Sebastian Perez                     $10.00   61.92   $    8.60         $   109.58   $    109.58
   5/6/2018 Sebastian Perez                     $10.00   67.27   $    8.60         $   136.33   $    136.33
  5/13/2018 Sebastian Perez                     $10.00   69.08   $    8.60         $   145.42   $    145.42
  5/20/2018 Sebastian Perez                     $10.00   70.35   $    8.60         $   151.75   $    151.75
  5/27/2018 Sebastian Perez                     $10.00   73.85   $    8.60         $   169.25   $    169.25
   6/3/2018 Sebastian Perez                     $10.00   62.02   $    8.60         $   110.08   $    110.08
  6/10/2018 Sebastian Perez                     $10.00   66.60   $    8.60         $   133.00   $    133.00
  6/17/2018 Sebastian Perez                     $10.00   66.08   $    8.60         $   130.42   $    130.42
  6/24/2018 Sebastian Perez                     $10.00   65.95   $    8.60         $   129.75   $    129.75
   7/1/2018 Sebastian Perez                     $10.00   67.60   $    8.60         $   138.00   $    138.00
   7/8/2018 Sebastian Perez                     $10.00   44.22   $    8.60         $    21.08   $     21.08
  7/15/2018 Sebastian Perez                     $10.00   66.90   $    8.60         $   134.50   $    134.50
  7/22/2018 Sebastian Perez                     $10.00   66.03   $    8.60         $   130.17   $    130.17
  7/29/2018 Sebastian Perez                     $10.00   66.60   $    8.60         $   133.00   $    133.00
   8/5/2018 Sebastian Perez                     $11.00   57.93   $    8.60         $    98.63   $     98.63
  8/12/2018 Sebastian Perez                     $11.00   74.02   $    8.60         $   187.09   $    187.09
  8/19/2018 Sebastian Perez                     $11.00   75.63   $    8.60         $   195.98   $    195.98
  8/26/2018 Sebastian Perez                     $11.00   75.85   $    8.60         $   197.18   $    197.18
   9/2/2018 Sebastian Perez                     $11.00   74.92   $    8.60         $   192.04   $    192.04
   9/9/2018 Sebastian Perez                     $11.00   64.13   $    8.60         $   132.73   $    132.73
  9/16/2018 Sebastian Perez                     $11.00   75.17   $    8.60         $   193.42   $    193.42
  9/23/2018 Sebastian Perez                     $11.00   75.38   $    8.60         $   194.61   $    194.61
  9/30/2018 Sebastian Perez                     $11.00   69.30   $    8.60         $   161.15   $    161.15
  10/7/2018 Sebastian Perez                     $11.00   74.17   $    8.60         $   187.92   $    187.92
 10/14/2018 Sebastian Perez                     $11.00   74.78   $    8.60         $   191.31   $    191.31
 10/21/2018 Sebastian Perez                     $11.00   75.22   $    8.60         $   193.69   $    193.69
 10/28/2018 Sebastian Perez                     $11.00   72.35   $    8.60         $   177.93   $    177.93
  11/4/2018 Sebastian Perez                     $11.00   74.77   $    8.60         $   191.22   $    191.22
 11/11/2018 Sebastian Perez                     $11.00   73.33   $    8.60         $   183.33   $    183.33
 11/18/2018 Sebastian Perez                     $11.00   74.17   $    8.60         $   187.92   $    187.92
 11/25/2018 Sebastian Perez                     $11.00   58.00   $    8.60         $    99.00   $     99.00
  12/2/2018 Sebastian Perez                     $11.00   67.70   $    8.60         $   152.35   $    152.35
  12/9/2018 Sebastian Perez                     $11.00   68.57   $    8.60         $   157.12   $    157.12
 12/16/2018 Sebastian Perez                     $11.00   66.50   $    8.60         $   145.75   $    145.75
 12/23/2018 Sebastian Perez                     $11.00   71.50   $    8.60         $   173.25   $    173.25
 12/30/2018 Sebastian Perez                     $11.00   44.52   $    8.60         $    24.84   $     24.84
   1/6/2019 Sebastian Perez                     $11.00   54.58   $    8.85         $    80.21   $     80.21
  1/13/2019 Sebastian Perez                     $11.00   68.22   $    8.85         $   155.19   $    155.19
  1/20/2019 Sebastian Perez                     $11.00   65.00   $    8.85         $   137.50   $    137.50
  1/27/2019 Sebastian Perez                     $11.00   60.12   $    8.85         $   110.64   $    110.64
   2/3/2019 Sebastian Perez                     $11.00   67.00   $    8.85         $   148.50   $    148.50



                                                  607
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 609 of 683 PageID: 1456
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  2/10/2019 Sebastian Perez                 $11.00   50.80   $    8.85         $    59.40   $     59.40
  2/24/2019 Sebastian Perez                 $11.00   65.48   $    8.85         $   140.16   $    140.16
   3/3/2019 Sebastian Perez                 $11.00   70.20   $    8.85         $   166.10   $    166.10
  3/10/2019 Sebastian Perez                 $11.00   61.27   $    8.85         $   116.97   $    116.97
  3/17/2019 Sebastian Perez                 $11.00   75.50   $    8.85         $   195.25   $    195.25
  3/24/2019 Sebastian Perez                 $11.00   77.52   $    8.85         $   206.34   $    206.34
  3/31/2019 Sebastian Perez                 $11.00   76.18   $    8.85         $   199.01   $    199.01
   4/7/2019 Sebastian Perez                 $11.00   61.68   $    8.85         $   119.26   $    119.26
  4/14/2019 Sebastian Perez                 $11.00   71.87   $    8.85         $   175.27   $    175.27
  4/21/2019 Sebastian Perez                 $11.00   71.18   $    8.85         $   171.51   $    171.51
  4/28/2019 Sebastian Perez                 $11.00   70.75   $    8.85         $   169.13   $    169.13
   5/5/2019 Sebastian Perez                 $11.00   65.73   $    8.85         $   141.53   $    141.53
  5/12/2019 Sebastian Perez                 $11.00   70.30   $    8.85         $   166.65   $    166.65
  5/19/2019 Sebastian Perez                 $11.00   70.68   $    8.85         $   168.76   $    168.76
  5/26/2019 Sebastian Perez                 $11.00   68.98   $    8.85         $   159.41   $    159.41
   6/2/2019 Sebastian Perez                 $11.00   61.38   $    8.85         $   117.61   $    117.61
   6/9/2019 Sebastian Perez                 $11.00   89.95   $    8.85         $   274.73   $    274.73
  6/16/2019 Sebastian Perez                 $11.00   86.82   $    8.85         $   257.49   $    257.49
  6/23/2019 Sebastian Perez                 $11.00   86.07   $    8.85         $   253.37   $    253.37
  6/30/2019 Sebastian Perez                 $11.00   86.30   $   10.00         $   254.65   $    254.65
   7/7/2019 Sebastian Perez                 $11.00   82.03   $   10.00         $   231.18   $    231.18
  7/14/2019 Sebastian Perez                 $11.00   86.40   $   10.00         $   255.20   $    255.20
  7/21/2019 Sebastian Perez                 $11.00   88.57   $   10.00         $   267.12   $    267.12
  7/28/2019 Sebastian Perez                 $11.00   85.10   $   10.00         $   248.05   $    248.05
   8/4/2019 Sebastian Perez                 $11.00   85.18   $   10.00         $   248.51   $    248.51
   9/1/2019 Sebastian Perez                 $11.00   71.92   $   10.00         $   175.54   $    175.54
   9/8/2019 Sebastian Perez                 $11.00   81.38   $   10.00         $   227.61   $    227.61
  9/15/2019 Sebastian Perez                 $11.00   79.90   $   10.00         $   219.45   $    219.45
  9/22/2019 Sebastian Perez                 $11.00   79.13   $   10.00         $   215.23   $    215.23
  9/29/2019 Sebastian Perez                 $11.00   77.75   $   10.00         $   207.63   $    207.63
  10/6/2019 Sebastian Perez                 $11.00   73.20   $   10.00         $   182.60   $    182.60
 10/13/2019 Sebastian Perez                 $11.00   73.55   $   10.00         $   184.53   $    184.53
 10/20/2019 Sebastian Perez                 $11.00   70.43   $   10.00         $   167.38   $    167.38
 10/27/2019 Sebastian Perez                 $11.00   72.57   $   10.00         $   179.12   $    179.12
  11/3/2019 Sebastian Perez                 $11.00   67.33   $   10.00         $   150.33   $    150.33
 11/10/2019 Sebastian Perez                 $11.00   73.63   $   10.00         $   184.98   $    184.98
 11/17/2019 Sebastian Perez                 $11.00   73.30   $   10.00         $   183.15   $    183.15
 11/24/2019 Sebastian Perez                 $11.00   72.98   $   10.00         $   181.41   $    181.41
  12/1/2019 Sebastian Perez                 $11.00   61.07   $   10.00         $   115.87   $    115.87
  12/8/2019 Sebastian Perez                 $11.00   72.37   $   10.00         $   178.02   $    178.02
 12/15/2019 Sebastian Perez                 $11.00   71.77   $   10.00         $   174.72   $    174.72
 12/22/2019 Sebastian Perez                 $11.00   71.63   $   10.00         $   173.98   $    173.98
 12/29/2019 Sebastian Perez                 $11.00   48.25   $   10.00         $    45.38   $     45.38
   1/5/2020 Sebastian Perez                 $11.00   57.35   $   11.00         $    95.43   $     95.43
  1/12/2020 Sebastian Perez                 $11.00   71.15   $   11.00         $   171.33   $    171.33
  1/19/2020 Sebastian Perez                 $11.00   72.07   $   11.00         $   176.37   $    176.37
  1/26/2020 Sebastian Perez                 $11.00   71.48   $   11.00         $   173.16   $    173.16
   5/7/2017 Sebastian Ramos                  $9.00   64.37   $    8.44         $   109.65   $    109.65
  5/21/2017 Sebastian Ramos                  $9.00   55.85   $    8.44         $    71.33   $     71.33
  5/28/2017 Sebastian Ramos                  $9.00   56.13   $    8.44         $    72.60   $     72.60



                                              608
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 610 of 683 PageID: 1457
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

   6/4/2017 Sebastian Ramos                     $9.00   50.23   $    8.44               $    46.05   $    46.05
  6/11/2017 Sebastian Ramos                     $9.00   48.88   $    8.44               $    39.98   $    39.98
  10/6/2019 Sebastian Sanchez                  $10.00   83.67   $   10.00               $   218.33   $   218.33
 10/13/2019 Sebastian Sanchez                  $10.00   80.60   $   10.00               $   203.00   $   203.00
 10/20/2019 Sebastian Sanchez                  $11.00   82.25   $   10.00               $   232.38   $   232.38
 10/27/2019 Sebastian Sanchez                  $11.00   82.85   $   10.00               $   235.68   $   235.68
  11/3/2019 Sebastian Sanchez                  $11.00   81.92   $   10.00               $   230.54   $   230.54
 11/10/2019 Sebastian Sanchez                  $11.00   82.00   $   10.00               $   231.00   $   231.00
 11/17/2019 Sebastian Sanchez                  $11.00   84.43   $   10.00               $   244.38   $   244.38
 11/24/2019 Sebastian Sanchez                  $11.00   79.50   $   10.00               $   217.25   $   217.25
  12/1/2019 Sebastian Sanchez                  $11.00   70.20   $   10.00               $   166.10   $   166.10
  12/8/2019 Sebastian Sanchez                  $11.00   79.88   $   10.00               $   219.36   $   219.36
 12/15/2019 Sebastian Sanchez                  $10.00   80.58   $   10.00               $   202.92   $   202.92
 12/22/2019 Sebastian Sanchez                  $10.00   82.82   $   10.00               $   214.08   $   214.08
 12/29/2019 Sebastian Sanchez                  $10.00   57.98   $   10.00               $    89.92   $    89.92
   1/5/2020 Sebastian Sanchez                  $10.00   79.50   $   11.00   $   79.50   $   217.25   $   296.75
  1/12/2020 Sebastian Sanchez                  $10.00   82.83   $   11.00   $   82.83   $   235.58   $   318.42
  1/19/2020 Sebastian Sanchez                  $10.00   80.10   $   11.00   $   80.10   $   220.55   $   300.65
  1/26/2020 Sebastian Sanchez                  $10.00   65.50   $   11.00   $   65.50   $   140.25   $   205.75
   4/7/2019 Sebastian Villegas                 $10.00   50.15   $    8.85               $    50.75   $    50.75
  4/14/2019 Sebastian Villegas                 $10.00   50.18   $    8.85               $    50.92   $    50.92
  4/28/2019 Sebastian Villegas                 $10.00   41.18   $    8.85               $     5.92   $     5.92
   2/5/2017 Secundino Huz                      $12.00   58.72   $    8.44               $   112.30   $   112.30
  2/12/2017 Secundino Huz                      $12.00   46.75   $    8.44               $    40.50   $    40.50
  2/19/2017 Secundino Huz                      $12.00   58.40   $    8.44               $   110.40   $   110.40
  2/26/2017 Secundino Huz                      $12.00   49.55   $    8.44               $    57.30   $    57.30
   3/5/2017 Secundino Huz                      $12.00   57.78   $    8.44               $   106.70   $   106.70
  3/12/2017 Secundino Huz                      $12.00   59.70   $    8.44               $   118.20   $   118.20
  3/19/2017 Secundino Huz                      $12.00   48.33   $    8.44               $    50.00   $    50.00
  3/26/2017 Secundino Huz                      $12.00   58.93   $    8.44               $   113.60   $   113.60
   4/2/2017 Secundino Huz                      $12.00   58.72   $    8.44               $   112.30   $   112.30
  4/16/2017 Secundino Huz                      $12.00   59.80   $    8.44               $   118.80   $   118.80
  4/23/2017 Secundino Huz                      $12.00   48.80   $    8.44               $    52.80   $    52.80
  4/30/2017 Secundino Huz                      $12.00   58.48   $    8.44               $   110.90   $   110.90
   5/7/2017 Secundino Huz                      $12.00   59.33   $    8.44               $   116.00   $   116.00
  5/14/2017 Secundino Huz                      $12.00   59.12   $    8.44               $   114.70   $   114.70
  5/21/2017 Secundino Huz                      $12.00   55.05   $    8.44               $    90.30   $    90.30
  5/28/2017 Secundino Huz                      $12.00   48.42   $    8.44               $    50.50   $    50.50
  6/11/2017 Secundino Huz                      $12.00   58.40   $    8.44               $   110.40   $   110.40
  6/18/2017 Secundino Huz                      $12.00   57.77   $    8.44               $   106.60   $   106.60
  6/25/2017 Secundino Huz                      $12.00   57.87   $    8.44               $   107.20   $   107.20
   7/2/2017 Secundino Huz                      $12.00   58.93   $    8.44               $   113.60   $   113.60
   7/9/2017 Secundino Huz                      $12.00   48.40   $    8.44               $    50.40   $    50.40
  7/16/2017 Secundino Huz                      $12.00   58.85   $    8.44               $   113.10   $   113.10
  7/23/2017 Secundino Huz                      $12.00   48.83   $    8.44               $    53.00   $    53.00
  7/30/2017 Secundino Huz                      $12.00   59.95   $    8.44               $   119.70   $   119.70
   8/6/2017 Secundino Huz                      $12.00   59.10   $    8.44               $   114.60   $   114.60
  8/13/2017 Secundino Huz                      $12.00   58.95   $    8.44               $   113.70   $   113.70
  8/20/2017 Secundino Huz                      $12.00   48.93   $    8.44               $    53.60   $    53.60
  8/27/2017 Secundino Huz                      $12.00   58.73   $    8.44               $   112.40   $   112.40



                                                 609
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 611 of 683 PageID: 1458
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

   9/3/2017 Secundino Huz                    $12.00   60.27   $   8.44          $   121.60   $    121.60
  9/10/2017 Secundino Huz                    $12.00   48.23   $   8.44          $    49.40   $     49.40
  9/17/2017 Secundino Huz                    $12.00   49.63   $   8.44          $    57.80   $     57.80
 10/29/2017 Secundino Huz                    $12.50   60.55   $   8.44          $   128.44   $    128.44
  11/5/2017 Secundino Huz                    $12.50   54.70   $   8.44          $    91.87   $     91.87
 11/12/2017 Secundino Huz                    $12.50   60.60   $   8.44          $   128.75   $    128.75
 11/19/2017 Secundino Huz                    $12.50   59.38   $   8.44          $   121.15   $    121.15
   2/5/2017 Segundo M. Cubas                 $10.00   43.32   $   8.44          $    16.58   $     16.58
  2/19/2017 Segundo M. Cubas                 $10.00   43.73   $   8.44          $    18.67   $     18.67
  2/26/2017 Segundo M. Cubas                 $10.00   44.87   $   8.44          $    24.33   $     24.33
   3/5/2017 Segundo M. Cubas                 $10.00   47.15   $   8.44          $    35.75   $     35.75
  3/12/2017 Segundo M. Cubas                 $10.00   46.50   $   8.44          $    32.50   $     32.50
  3/26/2017 Segundo M. Cubas                 $10.00   50.72   $   8.44          $    53.58   $     53.58
   4/2/2017 Segundo M. Cubas                 $10.00   45.13   $   8.44          $    25.67   $     25.67
   4/9/2017 Segundo M. Cubas                 $10.00   47.72   $   8.44          $    38.58   $     38.58
  4/16/2017 Segundo M. Cubas                 $10.00   47.67   $   8.44          $    38.33   $     38.33
  4/30/2017 Segundo M. Cubas                 $10.00   46.12   $   8.44          $    30.58   $     30.58
   5/7/2017 Segundo M. Cubas                 $10.00   48.05   $   8.44          $    40.25   $     40.25
  5/14/2017 Segundo M. Cubas                 $10.00   48.98   $   8.44          $    44.92   $     44.92
  5/21/2017 Segundo M. Cubas                 $10.00   48.13   $   8.44          $    40.67   $     40.67
  5/28/2017 Segundo M. Cubas                 $10.00   45.47   $   8.44          $    27.33   $     27.33
   6/4/2017 Segundo M. Cubas                 $10.00   48.50   $   8.44          $    42.50   $     42.50
  6/11/2017 Segundo M. Cubas                 $10.00   46.52   $   8.44          $    32.58   $     32.58
  6/18/2017 Segundo M. Cubas                 $10.00   45.17   $   8.44          $    25.83   $     25.83
  6/25/2017 Segundo M. Cubas                 $10.00   46.57   $   8.44          $    32.83   $     32.83
   7/2/2017 Segundo M. Cubas                 $10.00   46.28   $   8.44          $    31.42   $     31.42
   7/9/2017 Segundo M. Cubas                 $10.00   41.52   $   8.44          $     7.58   $      7.58
  7/16/2017 Segundo M. Cubas                 $10.00   42.42   $   8.44          $    12.08   $     12.08
  7/23/2017 Segundo M. Cubas                 $10.00   47.82   $   8.44          $    39.08   $     39.08
   8/6/2017 Segundo M. Cubas                 $10.00   49.33   $   8.44          $    46.67   $     46.67
  8/13/2017 Segundo M. Cubas                 $10.00   52.37   $   8.44          $    61.83   $     61.83
  8/20/2017 Segundo M. Cubas                 $10.00   51.08   $   8.44          $    55.42   $     55.42
  8/27/2017 Segundo M. Cubas                 $10.00   50.62   $   8.44          $    53.08   $     53.08
   9/3/2017 Segundo M. Cubas                 $10.00   50.38   $   8.44          $    51.92   $     51.92
  9/10/2017 Segundo M. Cubas                 $10.00   52.13   $   8.44          $    60.67   $     60.67
  9/17/2017 Segundo M. Cubas                 $10.00   50.80   $   8.44          $    54.00   $     54.00
  9/24/2017 Segundo M. Cubas                 $10.00   51.73   $   8.44          $    58.67   $     58.67
  10/1/2017 Segundo M. Cubas                 $10.00   51.92   $   8.44          $    59.58   $     59.58
  10/8/2017 Segundo M. Cubas                 $10.00   52.10   $   8.44          $    60.50   $     60.50
 10/15/2017 Segundo M. Cubas                 $10.00   50.95   $   8.44          $    54.75   $     54.75
 10/22/2017 Segundo M. Cubas                 $10.00   52.08   $   8.44          $    60.42   $     60.42
 10/29/2017 Segundo M. Cubas                 $10.00   51.27   $   8.44          $    56.33   $     56.33
  11/5/2017 Segundo M. Cubas                 $10.00   50.92   $   8.44          $    54.58   $     54.58
 11/12/2017 Segundo M. Cubas                 $10.00   52.32   $   8.44          $    61.58   $     61.58
 11/19/2017 Segundo M. Cubas                 $10.00   51.97   $   8.44          $    59.83   $     59.83
 11/26/2017 Segundo M. Cubas                 $10.00   44.02   $   8.44          $    20.08   $     20.08
  12/3/2017 Segundo M. Cubas                 $10.00   52.83   $   8.44          $    64.17   $     64.17
 12/10/2017 Segundo M. Cubas                 $10.00   52.82   $   8.44          $    64.08   $     64.08
 12/17/2017 Segundo M. Cubas                 $10.00   52.55   $   8.44          $    62.75   $     62.75
 12/24/2017 Segundo M. Cubas                 $10.00   53.22   $   8.44          $    66.08   $     66.08



                                               610
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 612 of 683 PageID: 1459
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

 12/31/2017 Segundo M. Cubas                 $10.00   45.02   $    8.44         $   25.08   $      25.08
   1/7/2018 Segundo M. Cubas                 $10.00   51.18   $    8.60         $   55.92   $      55.92
  1/14/2018 Segundo M. Cubas                 $10.00   53.97   $    8.60         $   69.83   $      69.83
  1/21/2018 Segundo M. Cubas                 $10.00   55.42   $    8.60         $   77.08   $      77.08
  1/28/2018 Segundo M. Cubas                 $10.00   53.60   $    8.60         $   68.00   $      68.00
   2/4/2018 Segundo M. Cubas                 $10.00   54.52   $    8.60         $   72.58   $      72.58
  2/11/2018 Segundo M. Cubas                 $10.00   53.33   $    8.60         $   66.67   $      66.67
   3/4/2018 Segundo M. Cubas                 $10.00   55.38   $    8.60         $   76.92   $      76.92
  3/25/2018 Segundo M. Cubas                 $10.00   51.53   $    8.60         $   57.67   $      57.67
   4/1/2018 Segundo M. Cubas                 $10.00   53.22   $    8.60         $   66.08   $      66.08
   4/8/2018 Segundo M. Cubas                 $10.00   54.15   $    8.60         $   70.75   $      70.75
  4/15/2018 Segundo M. Cubas                 $10.00   54.50   $    8.60         $   72.50   $      72.50
  4/22/2018 Segundo M. Cubas                 $10.00   56.93   $    8.60         $   84.67   $      84.67
  4/29/2018 Segundo M. Cubas                 $10.00   52.50   $    8.60         $   62.50   $      62.50
   5/6/2018 Segundo M. Cubas                 $10.00   52.28   $    8.60         $   61.42   $      61.42
  5/13/2018 Segundo M. Cubas                 $10.00   54.37   $    8.60         $   71.83   $      71.83
  5/20/2018 Segundo M. Cubas                 $10.00   54.27   $    8.60         $   71.33   $      71.33
  5/27/2018 Segundo M. Cubas                 $10.00   53.63   $    8.60         $   68.17   $      68.17
  6/17/2018 Segundo M. Cubas                 $10.00   51.93   $    8.60         $   59.67   $      59.67
  6/24/2018 Segundo M. Cubas                 $10.00   50.80   $    8.60         $   54.00   $      54.00
   7/1/2018 Segundo M. Cubas                 $10.00   42.40   $    8.60         $   12.00   $      12.00
   7/8/2018 Segundo M. Cubas                 $10.00   42.03   $    8.60         $   10.17   $      10.17
  7/22/2018 Segundo M. Cubas                 $10.00   50.12   $    8.60         $   50.58   $      50.58
  7/29/2018 Segundo M. Cubas                 $10.00   49.10   $    8.60         $   45.50   $      45.50
   8/5/2018 Segundo M. Cubas                 $10.00   49.57   $    8.60         $   47.83   $      47.83
  8/12/2018 Segundo M. Cubas                 $10.00   49.95   $    8.60         $   49.75   $      49.75
  8/19/2018 Segundo M. Cubas                 $10.00   49.02   $    8.60         $   45.08   $      45.08
  8/26/2018 Segundo M. Cubas                 $10.00   48.77   $    8.60         $   43.83   $      43.83
   9/2/2018 Segundo M. Cubas                 $10.00   49.45   $    8.60         $   47.25   $      47.25
   9/9/2018 Segundo M. Cubas                 $10.00   41.18   $    8.60         $    5.92   $       5.92
  9/16/2018 Segundo M. Cubas                 $10.00   50.40   $    8.60         $   52.00   $      52.00
  9/23/2018 Segundo M. Cubas                 $10.00   41.50   $    8.60         $    7.50   $       7.50
  9/30/2018 Segundo M. Cubas                 $10.00   41.30   $    8.60         $    6.50   $       6.50
  10/7/2018 Segundo M. Cubas                 $10.00   50.08   $    8.60         $   50.42   $      50.42
 10/14/2018 Segundo M. Cubas                 $10.00   49.68   $    8.60         $   48.42   $      48.42
 10/21/2018 Segundo M. Cubas                 $10.00   49.58   $    8.60         $   47.92   $      47.92
 10/28/2018 Segundo M. Cubas                 $10.00   50.68   $    8.60         $   53.42   $      53.42
  11/4/2018 Segundo M. Cubas                 $10.00   50.18   $    8.60         $   50.92   $      50.92
 11/11/2018 Segundo M. Cubas                 $10.00   50.17   $    8.60         $   50.83   $      50.83
 12/16/2018 Segundo M. Cubas                 $10.00   47.67   $    8.60         $   38.33   $      38.33
  1/27/2019 Segundo M. Cubas                 $10.00   48.65   $    8.85         $   43.25   $      43.25
  2/10/2019 Segundo M. Cubas                 $10.00   47.90   $    8.85         $   39.50   $      39.50
  3/10/2019 Segundo M. Cubas                 $10.00   42.92   $    8.85         $   14.58   $      14.58
  3/31/2019 Segundo M. Cubas                 $10.00   41.83   $    8.85         $    9.17   $       9.17
  5/12/2019 Segundo M. Cubas                 $10.00   45.98   $    8.85         $   29.92   $      29.92
  6/16/2019 Segundo M. Cubas                 $10.00   43.67   $    8.85         $   18.33   $      18.33
  8/18/2019 Segundo M. Cubas                 $11.00   46.82   $   10.00         $   37.49   $      37.49
  9/15/2019 Segundo M. Cubas                 $11.00   44.07   $   10.00         $   22.37   $      22.37
  10/6/2019 Segundo M. Cubas                 $11.00   45.62   $   10.00         $   30.89   $      30.89
 10/13/2019 Segundo M. Cubas                 $11.00   44.72   $   10.00         $   25.94   $      25.94



                                               611
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 613 of 683 PageID: 1460
                                                        Exhibit 2
                                                New Jersey Computations


   Week                                                                State Section 7: Section 7: Total Section 7
                                                       Hourly Hours/
  Ending                       Name                                  Minumum Regular    Half-Time Overtime Back
                                                        Rate Week
   Date                                                                Wage  Rate Due     Due       Wages Due

 10/20/2019 Segundo M. Cubas                           $11.00   40.05   $   10.00         $     0.27   $      0.27
 10/27/2019 Segundo M. Cubas                           $11.00   45.97   $   10.00         $    32.82   $     32.82
 11/10/2019 Segundo M. Cubas                           $11.00   41.45   $   10.00         $     7.98   $      7.98
 11/17/2019 Segundo M. Cubas                           $11.00   47.68   $   10.00         $    42.26   $     42.26
 11/24/2019 Segundo M. Cubas                           $11.00   47.93   $   10.00         $    43.63   $     43.63
 12/15/2019 Segundo M. Cubas                           $11.00   40.13   $   10.00         $     0.73   $      0.73
 12/22/2019 Segundo M. Cubas                           $11.00   47.18   $   10.00         $    39.51   $     39.51
  1/12/2020 Segundo M. Cubas                           $11.00   48.17   $   11.00         $    44.92   $     44.92
  1/19/2020 Segundo M. Cubas                           $11.00   47.23   $   11.00         $    39.78   $     39.78
  1/26/2020 Segundo M. Cubas                           $11.00   46.28   $   11.00         $    34.56   $     34.56
  8/18/2019 Selvin Estrada - Car Wash Manager          $13.50   58.57   $   10.00         $   125.33   $    125.33
  8/25/2019 Selvin Estrada - Car Wash Manager          $13.50   55.92   $   10.00         $   107.44   $    107.44
   9/1/2019 Selvin Estrada - Car Wash Manager          $13.50   57.95   $   10.00         $   121.16   $    121.16
   9/8/2019 Selvin Estrada - Car Wash Manager          $13.50   47.78   $   10.00         $    52.54   $     52.54
  9/15/2019 Selvin Estrada - Car Wash Manager          $13.50   58.17   $   10.00         $   122.63   $    122.63
  9/22/2019 Selvin Estrada - Car Wash Manager          $13.50   58.00   $   10.00         $   121.50   $    121.50
  9/29/2019 Selvin Estrada - Car Wash Manager          $13.50   57.87   $   10.00         $   120.60   $    120.60
  10/6/2019 Selvin Estrada - Car Wash Manager          $13.50   49.10   $   10.00         $    61.43   $     61.43
 10/13/2019 Selvin Estrada - Car Wash Manager          $13.50   57.65   $   10.00         $   119.14   $    119.14
 10/27/2019 Selvin Estrada - Car Wash Manager          $13.50   45.77   $   10.00         $    38.93   $     38.93
  11/3/2019 Selvin Estrada - Car Wash Manager          $13.50   52.85   $   10.00         $    86.74   $     86.74
 11/10/2019 Selvin Estrada - Car Wash Manager          $13.50   56.32   $   10.00         $   110.14   $    110.14
 11/17/2019 Selvin Estrada - Car Wash Manager          $13.50   40.57   $   10.00         $     3.82   $      3.82
   1/5/2020 Selvin Recinos                             $11.00   66.73   $   11.00         $   147.03   $    147.03
  1/12/2020 Selvin Recinos                             $11.00   72.38   $   11.00         $   178.11   $    178.11
  1/19/2020 Selvin Recinos                             $11.00   75.45   $   11.00         $   194.98   $    194.98
  1/26/2020 Selvin Recinos                             $11.00   69.90   $   11.00         $   164.45   $    164.45
   6/2/2019 Sera Darwing Gonzalez                      $13.00   43.33   $    8.85         $    21.67   $     21.67
  6/23/2019 Sera Darwing Gonzalez                      $13.00   42.22   $    8.85         $    14.41   $     14.41
   7/7/2019 Sera Darwing Gonzalez                      $13.00   40.17   $   10.00         $     1.08   $      1.08
  7/21/2019 Sera Darwing Gonzalez                      $13.00   43.03   $   10.00         $    19.72   $     19.72
  7/28/2019 Sera Darwing Gonzalez                      $13.00   51.75   $   10.00         $    76.38   $     76.38
   8/4/2019 Sera Darwing Gonzalez                      $13.00   50.03   $   10.00         $    65.22   $     65.22
  8/11/2019 Sera Darwing Gonzalez                      $13.00   48.42   $   10.00         $    54.71   $     54.71
  8/18/2019 Sera Darwing Gonzalez                      $13.00   43.90   $   10.00         $    25.35   $     25.35
  8/25/2019 Sera Darwing Gonzalez                      $13.00   40.15   $   10.00         $     0.97   $      0.97
   9/1/2019 Sera Darwing Gonzalez                      $13.00   55.27   $   10.00         $    99.23   $     99.23
   9/8/2019 Sera Darwing Gonzalez                      $13.00   40.28   $   10.00         $     1.84   $      1.84
  9/15/2019 Sera Darwing Gonzalez                      $13.00   50.98   $   10.00         $    71.39   $     71.39
  9/22/2019 Sera Darwing Gonzalez                      $13.00   49.38   $   10.00         $    60.99   $     60.99
  9/29/2019 Sera Darwing Gonzalez                      $13.00   53.68   $   10.00         $    88.94   $     88.94
  10/6/2019 Sera Darwing Gonzalez                      $13.00   40.15   $   10.00         $     0.97   $      0.97
  11/3/2019 Sera Darwing Gonzalez                      $13.00   40.78   $   10.00         $     5.09   $      5.09
 11/10/2019 Sera Darwing Gonzalez                      $13.00   41.27   $   10.00         $     8.23   $      8.23
 11/17/2019 Sera Darwing Gonzalez                      $13.00   42.80   $   10.00         $    18.20   $     18.20
  12/8/2019 Sera Darwing Gonzalez                      $13.00   41.27   $   10.00         $     8.23   $      8.23
 12/15/2019 Sera Darwing Gonzalez                      $13.00   40.58   $   10.00         $     3.79   $      3.79
 12/22/2019 Sera Darwing Gonzalez                      $13.00   41.77   $   10.00         $    11.48   $     11.48
  5/14/2017 Sergio Cruzado                              $9.50   60.58   $    8.44         $    97.77   $     97.77
  5/21/2017 Sergio Cruzado                              $9.50   64.97   $    8.44         $   118.59   $    118.59



                                                         612
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 614 of 683 PageID: 1461
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  5/28/2017 Sergio Cruzado                     $9.50   60.98   $   8.44          $    99.67   $     99.67
   6/4/2017 Sergio Cruzado                     $9.50   60.52   $   8.44          $    97.45   $     97.45
  6/11/2017 Sergio Cruzado                     $9.50   60.37   $   8.44          $    96.74   $     96.74
  6/18/2017 Sergio Cruzado                     $9.50   63.77   $   8.44          $   112.89   $    112.89
  6/25/2017 Sergio Cruzado                     $9.50   58.02   $   8.44          $    85.58   $     85.58
   5/6/2018 Sergio F. Cruzado                  $9.00   70.00   $   8.60          $   135.00   $    135.00
  5/13/2018 Sergio F. Cruzado                  $9.00   77.57   $   8.60          $   169.05   $    169.05
  5/20/2018 Sergio F. Cruzado                  $9.00   70.00   $   8.60          $   135.00   $    135.00
  5/27/2018 Sergio F. Cruzado                  $9.00   66.95   $   8.60          $   121.28   $    121.28
   6/3/2018 Sergio F. Cruzado                  $9.00   75.57   $   8.60          $   160.05   $    160.05
  6/10/2018 Sergio F. Cruzado                  $9.00   77.87   $   8.60          $   170.40   $    170.40
  6/17/2018 Sergio F. Cruzado                  $9.00   73.60   $   8.60          $   151.20   $    151.20
  6/24/2018 Sergio F. Cruzado                  $9.00   78.70   $   8.60          $   174.15   $    174.15
   7/1/2018 Sergio F. Cruzado                  $9.00   79.25   $   8.60          $   176.63   $    176.63
   7/8/2018 Sergio F. Cruzado                  $9.00   72.58   $   8.60          $   146.63   $    146.63
  7/15/2018 Sergio F. Cruzado                  $9.00   77.73   $   8.60          $   169.80   $    169.80
  7/22/2018 Sergio F. Cruzado                  $9.00   73.93   $   8.60          $   152.70   $    152.70
  7/29/2018 Sergio F. Cruzado                  $9.00   63.80   $   8.60          $   107.10   $    107.10
   8/5/2018 Sergio F. Cruzado                  $9.00   73.95   $   8.60          $   152.78   $    152.78
  8/12/2018 Sergio F. Cruzado                  $9.00   70.48   $   8.60          $   137.18   $    137.18
  8/19/2018 Sergio F. Cruzado                  $9.00   70.75   $   8.60          $   138.38   $    138.38
  8/26/2018 Sergio F. Cruzado                  $9.00   70.40   $   8.60          $   136.80   $    136.80
   9/2/2018 Sergio F. Cruzado                  $9.00   77.73   $   8.60          $   169.80   $    169.80
   9/9/2018 Sergio F. Cruzado                  $9.00   72.12   $   8.60          $   144.53   $    144.53
  9/16/2018 Sergio F. Cruzado                  $9.00   76.32   $   8.60          $   163.43   $    163.43
  9/23/2018 Sergio F. Cruzado                  $9.00   72.47   $   8.60          $   146.10   $    146.10
  9/30/2018 Sergio F. Cruzado                  $9.00   76.42   $   8.60          $   163.88   $    163.88
  10/7/2018 Sergio F. Cruzado                  $9.00   78.30   $   8.60          $   172.35   $    172.35
 10/14/2018 Sergio F. Cruzado                  $9.00   76.50   $   8.60          $   164.25   $    164.25
 10/21/2018 Sergio F. Cruzado                  $9.00   76.12   $   8.60          $   162.53   $    162.53
 10/28/2018 Sergio F. Cruzado                  $9.00   77.12   $   8.60          $   167.03   $    167.03
  11/4/2018 Sergio F. Cruzado                  $9.00   77.07   $   8.60          $   166.80   $    166.80
 11/11/2018 Sergio F. Cruzado                  $9.00   67.05   $   8.60          $   121.73   $    121.73
 11/18/2018 Sergio F. Cruzado                  $9.00   64.67   $   8.60          $   111.00   $    111.00
 11/25/2018 Sergio F. Cruzado                  $9.00   53.40   $   8.60          $    60.30   $     60.30
  12/2/2018 Sergio F. Cruzado                  $9.00   69.90   $   8.60          $   134.55   $    134.55
  12/9/2018 Sergio F. Cruzado                  $9.00   65.03   $   8.60          $   112.65   $    112.65
 12/16/2018 Sergio F. Cruzado                  $9.00   66.72   $   8.60          $   120.23   $    120.23
 12/23/2018 Sergio F. Cruzado                  $9.00   78.10   $   8.60          $   171.45   $    171.45
 12/30/2018 Sergio F. Cruzado                  $9.00   58.05   $   8.60          $    81.23   $     81.23
   1/6/2019 Sergio F. Cruzado                  $9.00   64.07   $   8.85          $   108.30   $    108.30
  1/13/2019 Sergio F. Cruzado                  $9.00   68.87   $   8.85          $   129.90   $    129.90
  1/20/2019 Sergio F. Cruzado                  $9.00   75.53   $   8.85          $   159.90   $    159.90
  1/27/2019 Sergio F. Cruzado                  $9.00   72.95   $   8.85          $   148.28   $    148.28
   2/3/2019 Sergio F. Cruzado                  $9.00   64.55   $   8.85          $   110.48   $    110.48
  2/10/2019 Sergio F. Cruzado                  $9.00   75.50   $   8.85          $   159.75   $    159.75
  2/17/2019 Sergio F. Cruzado                  $9.00   65.87   $   8.85          $   116.40   $    116.40
  2/24/2019 Sergio F. Cruzado                  $9.00   66.57   $   8.85          $   119.55   $    119.55
   3/3/2019 Sergio F. Cruzado                  $9.00   77.95   $   8.85          $   170.78   $    170.78
  3/10/2019 Sergio F. Cruzado                  $9.00   69.87   $   8.85          $   134.40   $    134.40



                                                613
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 615 of 683 PageID: 1462
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                          Name                        Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

  3/17/2019 Sergio F. Cruzado                    $9.00   78.03   $    8.85               $   171.15   $   171.15
  3/24/2019 Sergio F. Cruzado                    $9.00   78.07   $    8.85               $   171.30   $   171.30
  3/31/2019 Sergio F. Cruzado                    $9.00   75.85   $    8.85               $   161.33   $   161.33
   4/7/2019 Sergio F. Cruzado                    $9.00   68.85   $    8.85               $   129.83   $   129.83
  4/14/2019 Sergio F. Cruzado                    $9.00   77.25   $    8.85               $   167.63   $   167.63
  4/21/2019 Sergio F. Cruzado                    $9.00   74.55   $    8.85               $   155.48   $   155.48
  4/28/2019 Sergio F. Cruzado                    $9.00   65.42   $    8.85               $   114.38   $   114.38
   5/5/2019 Sergio F. Cruzado                    $9.00   76.68   $    8.85               $   165.08   $   165.08
  5/12/2019 Sergio F. Cruzado                    $9.00   65.25   $    8.85               $   113.63   $   113.63
  5/19/2019 Sergio F. Cruzado                    $9.00   62.25   $    8.85               $   100.13   $   100.13
  5/26/2019 Sergio F. Cruzado                    $9.00   75.48   $    8.85               $   159.68   $   159.68
   6/2/2019 Sergio F. Cruzado                    $9.00   66.05   $    8.85               $   117.23   $   117.23
   6/9/2019 Sergio F. Cruzado                    $9.00   77.83   $    8.85               $   170.25   $   170.25
  6/16/2019 Sergio F. Cruzado                    $9.00   74.22   $    8.85               $   153.98   $   153.98
  6/23/2019 Sergio F. Cruzado                    $9.00   75.45   $    8.85               $   159.53   $   159.53
  6/30/2019 Sergio F. Cruzado                    $9.00   79.02   $   10.00   $   79.02   $   195.08   $   274.10
   7/7/2019 Sergio F. Cruzado                   $10.00   70.07   $   10.00               $   150.33   $   150.33
  7/14/2019 Sergio F. Cruzado                   $10.00   77.92   $   10.00               $   189.58   $   189.58
  7/21/2019 Sergio F. Cruzado                   $10.00   78.27   $   10.00               $   191.33   $   191.33
  7/28/2019 Sergio F. Cruzado                   $10.00   78.42   $   10.00               $   192.08   $   192.08
   8/4/2019 Sergio F. Cruzado                   $10.00   78.38   $   10.00               $   191.92   $   191.92
  8/11/2019 Sergio F. Cruzado                   $10.00   61.88   $   10.00               $   109.42   $   109.42
  8/18/2019 Sergio F. Cruzado                   $10.00   58.13   $   10.00               $    90.67   $    90.67
  8/25/2019 Sergio F. Cruzado                   $10.00   76.88   $   10.00               $   184.42   $   184.42
   9/1/2019 Sergio F. Cruzado                   $10.00   79.37   $   10.00               $   196.83   $   196.83
   9/8/2019 Sergio F. Cruzado                   $10.00   68.90   $   10.00               $   144.50   $   144.50
  9/15/2019 Sergio F. Cruzado                   $10.00   67.68   $   10.00               $   138.42   $   138.42
  9/22/2019 Sergio F. Cruzado                   $10.00   68.37   $   10.00               $   141.83   $   141.83
  9/29/2019 Sergio F. Cruzado                   $10.00   78.63   $   10.00               $   193.17   $   193.17
  10/6/2019 Sergio F. Cruzado                   $10.00   71.28   $   10.00               $   156.42   $   156.42
 10/13/2019 Sergio F. Cruzado                   $10.00   64.10   $   10.00               $   120.50   $   120.50
 10/20/2019 Sergio F. Cruzado                   $11.00   58.35   $   10.00               $   100.93   $   100.93
 10/27/2019 Sergio F. Cruzado                   $11.00   78.72   $   10.00               $   212.94   $   212.94
  11/3/2019 Sergio F. Cruzado                   $11.00   75.28   $   10.00               $   194.06   $   194.06
 11/10/2019 Sergio F. Cruzado                   $11.00   71.52   $   10.00               $   173.34   $   173.34
 11/17/2019 Sergio F. Cruzado                   $11.00   55.20   $   10.00               $    83.60   $    83.60
 11/24/2019 Sergio F. Cruzado                   $11.00   57.52   $   10.00               $    96.34   $    96.34
  12/1/2019 Sergio F. Cruzado                   $11.00   63.67   $   10.00               $   130.17   $   130.17
  12/8/2019 Sergio F. Cruzado                   $11.00   57.70   $   10.00               $    97.35   $    97.35
 12/15/2019 Sergio F. Cruzado                   $10.00   70.40   $   10.00               $   152.00   $   152.00
 12/22/2019 Sergio F. Cruzado                   $10.00   59.83   $   10.00               $    99.17   $    99.17
 12/29/2019 Sergio F. Cruzado                   $10.00   59.13   $   10.00               $    95.67   $    95.67
   1/5/2020 Sergio F. Cruzado                   $10.00   67.97   $   11.00   $   67.97   $   153.82   $   221.78
  1/12/2020 Sergio F. Cruzado                   $10.00   69.30   $   11.00   $   69.30   $   161.15   $   230.45
  1/19/2020 Sergio F. Cruzado                   $10.00   71.43   $   11.00   $   71.43   $   172.88   $   244.32
  1/26/2020 Sergio F. Cruzado                   $10.00   65.12   $   11.00   $   65.12   $   138.14   $   203.26
   8/4/2019 Sergio Paz Martinez                 $10.50   57.12   $   10.00               $    89.86   $    89.86
  8/11/2019 Sergio Paz Martinez                 $10.50   70.12   $   10.00               $   158.11   $   158.11
  8/18/2019 Sergio Paz Martinez                 $10.50   71.17   $   10.00               $   163.63   $   163.63
  8/25/2019 Sergio Paz Martinez                 $10.50   70.25   $   10.00               $   158.81   $   158.81



                                                  614
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 616 of 683 PageID: 1463
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

   9/1/2019 Sergio Paz Martinez             $10.50   63.83   $   10.00               $   125.13   $   125.13
   9/8/2019 Sergio Paz Martinez             $10.50   73.25   $   10.00               $   174.56   $   174.56
  9/15/2019 Sergio Paz Martinez             $10.50   76.50   $   10.00               $   191.63   $   191.63
  9/22/2019 Sergio Paz Martinez             $10.50   74.62   $   10.00               $   181.74   $   181.74
  9/29/2019 Sergio Paz Martinez             $10.50   64.80   $   10.00               $   130.20   $   130.20
  10/6/2019 Sergio Paz Martinez             $10.50   63.38   $   10.00               $   122.76   $   122.76
 10/13/2019 Sergio Paz Martinez             $10.50   70.12   $   10.00               $   158.11   $   158.11
 10/20/2019 Sergio Paz Martinez             $11.00   72.50   $   10.00               $   178.75   $   178.75
 10/27/2019 Sergio Paz Martinez             $11.00   71.05   $   10.00               $   170.78   $   170.78
  11/3/2019 Sergio Paz Martinez             $11.00   71.52   $   10.00               $   173.34   $   173.34
 11/10/2019 Sergio Paz Martinez             $11.00   62.22   $   10.00               $   122.19   $   122.19
 11/17/2019 Sergio Paz Martinez             $11.00   69.43   $   10.00               $   161.88   $   161.88
 11/24/2019 Sergio Paz Martinez             $11.00   69.93   $   10.00               $   164.63   $   164.63
  12/1/2019 Sergio Paz Martinez             $11.00   58.77   $   10.00               $   103.22   $   103.22
  12/8/2019 Sergio Paz Martinez             $11.00   71.62   $   10.00               $   173.89   $   173.89
 12/15/2019 Sergio Paz Martinez             $10.50   72.55   $   10.00               $   170.89   $   170.89
 12/22/2019 Sergio Paz Martinez             $10.50   48.35   $   10.00               $    43.84   $    43.84
 12/29/2019 Sergio Paz Martinez             $10.50   47.07   $   10.00               $    37.10   $    37.10
  3/25/2018 Sergio Rodriguez                 $9.50   41.48   $    8.60               $     7.05   $     7.05
   4/1/2018 Sergio Rodriguez                 $9.50   47.95   $    8.60               $    37.76   $    37.76
   4/8/2018 Sergio Rodriguez                 $9.50   49.52   $    8.60               $    45.20   $    45.20
  4/15/2018 Sergio Rodriguez                 $9.50   45.80   $    8.60               $    27.55   $    27.55
  4/22/2018 Sergio Rodriguez                 $9.50   61.72   $    8.60               $   103.15   $   103.15
  4/29/2018 Sergio Rodriguez                 $9.50   52.63   $    8.60               $    60.01   $    60.01
   5/6/2018 Sergio Rodriguez                 $9.50   52.60   $    8.60               $    59.85   $    59.85
 10/20/2019 Sergio Rodriguez                $10.00   52.27   $   10.00               $    61.33   $    61.33
 10/27/2019 Sergio Rodriguez                $10.00   47.33   $   10.00               $    36.67   $    36.67
   7/9/2017 Sergio Vargas                   $11.50   50.88   $    8.44               $    62.58   $    62.58
  7/16/2017 Sergio Vargas                   $11.50   65.88   $    8.44               $   148.83   $   148.83
  7/23/2017 Sergio Vargas                   $11.50   61.30   $    8.44               $   122.48   $   122.48
  7/30/2017 Sergio Vargas                   $11.50   66.12   $    8.44               $   150.17   $   150.17
   8/6/2017 Sergio Vargas                   $11.50   53.42   $    8.44               $    77.15   $    77.15
  8/13/2017 Sergio Vargas                   $11.50   59.02   $    8.44               $   109.35   $   109.35
  8/20/2017 Sergio Vargas                   $11.50   61.57   $    8.44               $   124.01   $   124.01
  8/27/2017 Sergio Vargas                   $11.50   58.63   $    8.44               $   107.14   $   107.14
   9/3/2017 Sergio Vargas                   $11.50   62.30   $    8.44               $   128.23   $   128.23
  9/10/2017 Sergio Vargas                   $11.50   50.63   $    8.44               $    61.14   $    61.14
  9/17/2017 Sergio Vargas                   $11.50   60.28   $    8.44               $   116.63   $   116.63
  9/24/2017 Sergio Vargas                   $11.50   60.45   $    8.44               $   117.59   $   117.59
  10/1/2017 Sergio Vargas                   $11.50   60.42   $    8.44               $   117.40   $   117.40
  7/14/2019 Shadiel Rodriguez                $9.50   50.62   $   10.00   $   25.31   $    53.08   $    78.39
  7/21/2019 Shadiel Rodriguez                $9.50   59.68   $   10.00   $   29.84   $    98.42   $   128.26
  7/28/2019 Shadiel Rodriguez                $9.50   40.62   $   10.00   $   20.31   $     3.08   $    23.39
   8/4/2019 Shadiel Rodriguez                $9.50   61.22   $   10.00   $   30.61   $   106.08   $   136.69
  8/11/2019 Shadiel Rodriguez                $9.50   51.88   $   10.00   $   25.94   $    59.42   $    85.36
  8/18/2019 Shadiel Rodriguez                $9.50   53.60   $   10.00   $   26.80   $    68.00   $    94.80
  8/25/2019 Shadiel Rodriguez                $9.50   55.22   $   10.00   $   27.61   $    76.08   $   103.69
   4/1/2018 Shasky Noel Santana             $10.00   49.05   $    8.60               $    45.25   $    45.25
   4/8/2018 Shasky Noel Santana             $10.00   53.22   $    8.60               $    66.08   $    66.08
  4/15/2018 Shasky Noel Santana             $10.00   58.90   $    8.60               $    94.50   $    94.50



                                              615
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 617 of 683 PageID: 1464
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

  4/22/2018 Shasky Noel Santana                $10.00   59.37   $    8.60               $    96.83   $    96.83
  4/29/2018 Shasky Noel Santana                $10.00   57.22   $    8.60               $    86.08   $    86.08
   5/6/2018 Shasky Noel Santana                $10.00   58.92   $    8.60               $    94.58   $    94.58
  5/13/2018 Shasky Noel Santana                $10.00   51.05   $    8.60               $    55.25   $    55.25
  5/20/2018 Shasky Noel Santana                $10.00   58.07   $    8.60               $    90.33   $    90.33
  5/27/2018 Shasky Noel Santana                $10.00   59.10   $    8.60               $    95.50   $    95.50
   6/3/2018 Shasky Noel Santana                $10.00   48.93   $    8.60               $    44.67   $    44.67
  6/10/2018 Shasky Noel Santana                $10.00   59.12   $    8.60               $    95.58   $    95.58
  6/17/2018 Shasky Noel Santana                $10.00   59.12   $    8.60               $    95.58   $    95.58
  6/24/2018 Shasky Noel Santana                $10.00   58.37   $    8.60               $    91.83   $    91.83
   7/1/2018 Shasky Noel Santana                $10.00   48.65   $    8.60               $    43.25   $    43.25
   7/8/2018 Shasky Noel Santana                $10.00   48.92   $    8.60               $    44.58   $    44.58
  7/15/2018 Shasky Noel Santana                $10.00   58.87   $    8.60               $    94.33   $    94.33
  7/22/2018 Shasky Noel Santana                $10.00   58.62   $    8.60               $    93.08   $    93.08
  7/29/2018 Shasky Noel Santana                $10.00   50.05   $    8.60               $    50.25   $    50.25
   8/5/2018 Shasky Noel Santana                $10.00   52.17   $    8.60               $    60.83   $    60.83
  8/12/2018 Shasky Noel Santana                $10.00   49.72   $    8.60               $    48.58   $    48.58
  8/19/2018 Shasky Noel Santana                $10.00   55.30   $    8.60               $    76.50   $    76.50
  8/26/2018 Shasky Noel Santana                $10.00   58.97   $    8.60               $    94.83   $    94.83
   9/2/2018 Shasky Noel Santana                $10.00   59.78   $    8.60               $    98.92   $    98.92
   9/9/2018 Shasky Noel Santana                $10.00   50.60   $    8.60               $    53.00   $    53.00
  9/16/2018 Shasky Noel Santana                $10.00   60.43   $    8.60               $   102.17   $   102.17
  9/23/2018 Shasky Noel Santana                $10.00   49.70   $    8.60               $    48.50   $    48.50
  9/30/2018 Shasky Noel Santana                $10.00   61.05   $    8.60               $   105.25   $   105.25
  10/7/2018 Shasky Noel Santana                $10.00   58.20   $    8.60               $    91.00   $    91.00
 10/14/2018 Shasky Noel Santana                $10.00   61.72   $    8.60               $   108.58   $   108.58
 10/21/2018 Shasky Noel Santana                $10.00   58.60   $    8.60               $    93.00   $    93.00
 10/28/2018 Shasky Noel Santana                $10.00   40.43   $    8.60               $     2.17   $     2.17
  11/4/2018 Shasky Noel Santana                $10.00   61.48   $    8.60               $   107.42   $   107.42
 11/18/2018 Shasky Noel Santana                $10.00   58.65   $    8.60               $    93.25   $    93.25
  12/8/2019 Sigredo Guardado                   $10.00   66.25   $   10.00               $   131.25   $   131.25
 12/15/2019 Sigredo Guardado                   $10.00   55.52   $   10.00               $    77.58   $    77.58
 12/22/2019 Sigredo Guardado                   $10.00   71.75   $   10.00               $   158.75   $   158.75
   1/5/2020 Sigredo Guardado                   $10.00   58.62   $   11.00   $   58.62   $   102.39   $   161.01
  1/12/2020 Sigredo Guardado                   $10.00   46.75   $   11.00   $   46.75   $    37.13   $    83.88
  1/19/2020 Sigredo Guardado                   $10.00   72.98   $   11.00   $   72.98   $   181.41   $   254.39
  1/26/2020 Sigredo Guardado                   $10.00   48.38   $   11.00   $   48.38   $    46.11   $    94.49
  8/13/2017 Silverio Cruz Linares               $9.00   62.03   $    8.44               $    99.15   $    99.15
  3/17/2019 Silvestre R. Villagran             $10.00   41.95   $    8.85               $     9.75   $     9.75
  3/24/2019 Silvestre R. Villagran             $10.00   51.43   $    8.85               $    57.17   $    57.17
  3/31/2019 Silvestre R. Villagran             $10.00   50.18   $    8.85               $    50.92   $    50.92
   4/7/2019 Silvestre R. Villagran             $10.00   50.22   $    8.85               $    51.08   $    51.08
  4/14/2019 Silvestre R. Villagran             $10.00   60.65   $    8.85               $   103.25   $   103.25
  4/21/2019 Silvestre R. Villagran             $10.00   63.42   $    8.85               $   117.08   $   117.08
  4/28/2019 Silvestre R. Villagran             $10.00   66.23   $    8.85               $   131.17   $   131.17
   5/5/2019 Silvestre R. Villagran             $10.00   60.05   $    8.85               $   100.25   $   100.25
  5/12/2019 Silvestre R. Villagran             $10.00   62.02   $    8.85               $   110.08   $   110.08
  5/19/2019 Silvestre R. Villagran             $10.00   65.37   $    8.85               $   126.83   $   126.83
  5/26/2019 Silvestre R. Villagran             $10.00   61.78   $    8.85               $   108.92   $   108.92
   6/2/2019 Silvestre R. Villagran             $10.00   60.68   $    8.85               $   103.42   $   103.42



                                                 616
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 618 of 683 PageID: 1465
                                                    Exhibit 2
                                            New Jersey Computations


   Week                                                            State Section 7: Section 7: Total Section 7
                                                   Hourly Hours/
  Ending                             Name                        Minumum Regular    Half-Time Overtime Back
                                                    Rate Week
   Date                                                            Wage  Rate Due     Due       Wages Due

   6/9/2019 Silvestre R. Villagran                 $10.00   66.77   $   8.85          $   133.83   $    133.83
  6/16/2019 Silvestre R. Villagran                 $10.00   66.07   $   8.85          $   130.33   $    130.33
 11/11/2018 Silvio Banos                           $10.00   62.70   $   8.60          $   113.50   $    113.50
 11/18/2018 Silvio Banos                           $10.00   63.73   $   8.60          $   118.67   $    118.67
 11/25/2018 Silvio Banos                           $10.00   54.98   $   8.60          $    74.92   $     74.92
  12/2/2018 Silvio Banos                           $10.00   69.00   $   8.60          $   145.00   $    145.00
  12/9/2018 Silvio Banos                           $10.00   68.30   $   8.60          $   141.50   $    141.50
 12/16/2018 Silvio Banos                           $10.00   67.80   $   8.60          $   139.00   $    139.00
 12/23/2018 Silvio Banos                           $10.00   69.05   $   8.60          $   145.25   $    145.25
  3/25/2018 Silvio Ibarra                          $13.00   57.55   $   8.60          $   114.08   $    114.08
   4/1/2018 Silvio Ibarra                          $13.00   56.93   $   8.60          $   110.07   $    110.07
   4/8/2018 Silvio Ibarra                          $13.00   57.05   $   8.60          $   110.83   $    110.83
  4/15/2018 Silvio Ibarra                          $13.00   58.72   $   8.60          $   121.66   $    121.66
  4/22/2018 Silvio Ibarra                          $13.00   57.73   $   8.60          $   115.27   $    115.27
  4/29/2018 Silvio Ibarra                          $13.00   56.40   $   8.60          $   106.60   $    106.60
   5/6/2018 Silvio Ibarra                          $13.00   56.90   $   8.60          $   109.85   $    109.85
  5/13/2018 Silvio Ibarra                          $13.00   56.23   $   8.60          $   105.52   $    105.52
  5/20/2018 Silvio Ibarra                          $13.00   57.12   $   8.60          $   111.26   $    111.26
  5/27/2018 Silvio Ibarra                          $13.00   53.45   $   8.60          $    87.43   $     87.43
   6/3/2018 Silvio Ibarra                          $13.00   56.42   $   8.60          $   106.71   $    106.71
  6/10/2018 Silvio Ibarra                          $13.00   56.83   $   8.60          $   109.42   $    109.42
  6/17/2018 Silvio Ibarra                          $13.00   53.03   $   8.60          $    84.72   $     84.72
  6/24/2018 Silvio Ibarra                          $13.00   47.48   $   8.60          $    48.64   $     48.64
   7/1/2018 Silvio Ibarra                          $13.00   47.67   $   8.60          $    49.83   $     49.83
   7/8/2018 Silvio Ibarra                          $13.00   56.90   $   8.60          $   109.85   $    109.85
  7/15/2018 Silvio Ibarra                          $13.00   57.68   $   8.60          $   114.94   $    114.94
  7/22/2018 Silvio Ibarra                          $13.00   57.07   $   8.60          $   110.93   $    110.93
  7/29/2018 Silvio Ibarra                          $13.00   58.45   $   8.60          $   119.93   $    119.93
   8/5/2018 Silvio Ibarra                          $13.00   59.18   $   8.60          $   124.69   $    124.69
  8/12/2018 Silvio Ibarra                          $13.00   59.28   $   8.60          $   125.34   $    125.34
  8/19/2018 Silvio Ibarra                          $13.00   58.87   $   8.60          $   122.63   $    122.63
  8/26/2018 Silvio Ibarra                          $13.00   59.98   $   8.60          $   129.89   $    129.89
   9/2/2018 Silvio Ibarra                          $13.00   59.33   $   8.60          $   125.67   $    125.67
   9/9/2018 Silvio Ibarra                          $13.00   58.75   $   8.60          $   121.88   $    121.88
  9/16/2018 Silvio Ibarra                          $13.00   59.23   $   8.60          $   125.02   $    125.02
  9/23/2018 Silvio Ibarra                          $13.00   59.85   $   8.60          $   129.03   $    129.03
  9/30/2018 Silvio Ibarra                          $13.00   52.60   $   8.60          $    81.90   $     81.90
  10/7/2018 Silvio Ibarra                          $13.00   56.87   $   8.60          $   109.63   $    109.63
 10/14/2018 Silvio Ibarra                          $13.00   56.65   $   8.60          $   108.23   $    108.23
 10/21/2018 Silvio Ibarra                          $13.00   66.02   $   8.60          $   169.11   $    169.11
 10/28/2018 Silvio Ibarra                          $13.00   63.95   $   8.60          $   155.68   $    155.68
  11/4/2018 Silvio Ibarra                          $13.00   59.43   $   8.60          $   126.32   $    126.32
 11/11/2018 Silvio Ibarra                          $13.00   54.62   $   8.60          $    95.01   $     95.01
 11/18/2018 Silvio Ibarra                          $13.00   64.47   $   8.60          $   159.03   $    159.03
 11/25/2018 Silvio Ibarra                          $13.00   49.00   $   8.60          $    58.50   $     58.50
  12/2/2018 Silvio Ibarra                          $13.00   63.03   $   8.60          $   149.72   $    149.72
  12/9/2018 Silvio Ibarra                          $13.00   64.27   $   8.60          $   157.73   $    157.73
 12/16/2018 Silvio Ibarra                          $13.00   63.52   $   8.60          $   152.86   $    152.86
 12/23/2018 Silvio Ibarra                          $13.00   58.20   $   8.60          $   118.30   $    118.30
 12/30/2018 Silvio Ibarra                          $13.00   46.42   $   8.60          $    41.71   $     41.71



                                                     617
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 619 of 683 PageID: 1466
                                           Exhibit 2
                                   New Jersey Computations


   Week                                                   State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
  Ending                    Name                        Minumum Regular    Half-Time Overtime Back
                                           Rate Week
   Date                                                   Wage  Rate Due     Due       Wages Due

   1/6/2019 Silvio Ibarra                 $13.00   64.90   $    8.85         $   161.85   $    161.85
  1/13/2019 Silvio Ibarra                 $13.00   59.77   $    8.85         $   128.48   $    128.48
  1/20/2019 Silvio Ibarra                 $13.00   56.42   $    8.85         $   106.71   $    106.71
  1/27/2019 Silvio Ibarra                 $13.00   55.40   $    8.85         $   100.10   $    100.10
   2/3/2019 Silvio Ibarra                 $13.00   54.52   $    8.85         $    94.36   $     94.36
  2/10/2019 Silvio Ibarra                 $13.00   54.55   $    8.85         $    94.58   $     94.58
  2/17/2019 Silvio Ibarra                 $13.00   54.27   $    8.85         $    92.73   $     92.73
  2/24/2019 Silvio Ibarra                 $13.00   54.68   $    8.85         $    95.44   $     95.44
   3/3/2019 Silvio Ibarra                 $13.00   54.58   $    8.85         $    94.79   $     94.79
  3/10/2019 Silvio Ibarra                 $13.00   52.87   $    8.85         $    83.63   $     83.63
  3/17/2019 Silvio Ibarra                 $13.00   55.23   $    8.85         $    99.02   $     99.02
  3/24/2019 Silvio Ibarra                 $13.00   55.25   $    8.85         $    99.13   $     99.13
  3/31/2019 Silvio Ibarra                 $13.00   54.63   $    8.85         $    95.12   $     95.12
   4/7/2019 Silvio Ibarra                 $13.00   54.18   $    8.85         $    92.19   $     92.19
  4/14/2019 Silvio Ibarra                 $13.00   55.92   $    8.85         $   103.46   $    103.46
  4/21/2019 Silvio Ibarra                 $13.00   57.77   $    8.85         $   115.48   $    115.48
  4/28/2019 Silvio Ibarra                 $13.00   54.02   $    8.85         $    91.11   $     91.11
   5/5/2019 Silvio Ibarra                 $13.00   54.67   $    8.85         $    95.33   $     95.33
  5/12/2019 Silvio Ibarra                 $13.00   55.35   $    8.85         $    99.78   $     99.78
  5/19/2019 Silvio Ibarra                 $13.00   54.58   $    8.85         $    94.79   $     94.79
  5/26/2019 Silvio Ibarra                 $13.00   55.15   $    8.85         $    98.48   $     98.48
   6/2/2019 Silvio Ibarra                 $13.00   50.88   $    8.85         $    70.74   $     70.74
   6/9/2019 Silvio Ibarra                 $13.00   56.38   $    8.85         $   106.49   $    106.49
  6/16/2019 Silvio Ibarra                 $13.00   54.83   $    8.85         $    96.42   $     96.42
  6/23/2019 Silvio Ibarra                 $13.00   58.92   $    8.85         $   122.96   $    122.96
  6/30/2019 Silvio Ibarra                 $13.00   63.87   $   10.00         $   155.13   $    155.13
   7/7/2019 Silvio Ibarra                 $13.00   55.18   $   10.00         $    98.69   $     98.69
  7/14/2019 Silvio Ibarra                 $13.00   68.42   $   10.00         $   184.71   $    184.71
  7/21/2019 Silvio Ibarra                 $13.00   66.13   $   10.00         $   169.87   $    169.87
  7/28/2019 Silvio Ibarra                 $13.00   65.45   $   10.00         $   165.43   $    165.43
   8/4/2019 Silvio Ibarra                 $13.00   67.43   $   10.00         $   178.32   $    178.32
  8/11/2019 Silvio Ibarra                 $13.00   68.20   $   10.00         $   183.30   $    183.30
  8/18/2019 Silvio Ibarra                 $13.00   68.12   $   10.00         $   182.76   $    182.76
  8/25/2019 Silvio Ibarra                 $13.00   68.80   $   10.00         $   187.20   $    187.20
   9/1/2019 Silvio Ibarra                 $13.00   68.13   $   10.00         $   182.87   $    182.87
   9/8/2019 Silvio Ibarra                 $13.00   59.30   $   10.00         $   125.45   $    125.45
  9/15/2019 Silvio Ibarra                 $13.00   67.77   $   10.00         $   180.48   $    180.48
  9/22/2019 Silvio Ibarra                 $13.00   68.67   $   10.00         $   186.33   $    186.33
  9/29/2019 Silvio Ibarra                 $13.00   70.00   $   10.00         $   195.00   $    195.00
  10/6/2019 Silvio Ibarra                 $13.00   70.87   $   10.00         $   200.63   $    200.63
 10/13/2019 Silvio Ibarra                 $13.00   57.15   $   10.00         $   111.48   $    111.48
 10/20/2019 Silvio Ibarra                 $13.00   67.48   $   10.00         $   178.64   $    178.64
 10/27/2019 Silvio Ibarra                 $13.00   68.18   $   10.00         $   183.19   $    183.19
  11/3/2019 Silvio Ibarra                 $13.00   69.63   $   10.00         $   192.62   $    192.62
 11/10/2019 Silvio Ibarra                 $13.00   67.42   $   10.00         $   178.21   $    178.21
 11/17/2019 Silvio Ibarra                 $13.00   67.98   $   10.00         $   181.89   $    181.89
 11/24/2019 Silvio Ibarra                 $13.00   69.42   $   10.00         $   191.21   $    191.21
  12/1/2019 Silvio Ibarra                 $13.00   58.10   $   10.00         $   117.65   $    117.65
  12/8/2019 Silvio Ibarra                 $13.00   68.55   $   10.00         $   185.58   $    185.58
 12/15/2019 Silvio Ibarra                 $13.00   69.23   $   10.00         $   190.02   $    190.02



                                            618
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 620 of 683 PageID: 1467
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

 12/22/2019 Silvio Ibarra                    $13.00   72.43   $   10.00         $   210.82   $    210.82
 12/29/2019 Silvio Ibarra                    $13.00   53.13   $   10.00         $    85.37   $     85.37
   1/5/2020 Silvio Ibarra                    $13.00   57.57   $   11.00         $   114.18   $    114.18
  1/12/2020 Silvio Ibarra                    $13.00   71.65   $   11.00         $   205.73   $    205.73
  1/19/2020 Silvio Ibarra                    $13.00   74.22   $   11.00         $   222.41   $    222.41
  1/26/2020 Silvio Ibarra                    $13.00   76.60   $   11.00         $   237.90   $    237.90
  5/14/2017 Simon Y. Cruz Hidalgo             $9.00   45.70   $    8.44         $    25.65   $     25.65
  5/21/2017 Simon Y. Cruz Hidalgo             $9.00   44.60   $    8.44         $    20.70   $     20.70
  5/28/2017 Simon Y. Cruz Hidalgo             $9.00   45.20   $    8.44         $    23.40   $     23.40
  6/11/2017 Simon Y. Cruz Hidalgo             $9.00   45.47   $    8.44         $    24.60   $     24.60
  6/25/2017 Simon Y. Cruz Hidalgo             $9.00   50.45   $    8.44         $    47.03   $     47.03
  7/16/2017 Simon Y. Cruz Hidalgo             $9.00   41.28   $    8.44         $     5.77   $      5.77
  7/23/2017 Simon Y. Cruz Hidalgo             $9.00   45.57   $    8.44         $    25.05   $     25.05
  7/30/2017 Simon Y. Cruz Hidalgo             $9.00   44.73   $    8.44         $    21.30   $     21.30
   8/6/2017 Simon Y. Cruz Hidalgo             $9.00   42.77   $    8.44         $    12.45   $     12.45
 11/11/2018 Siro Alvarez                     $10.50   40.60   $    8.60         $     3.15   $      3.15
 11/18/2018 Siro Alvarez                     $10.50   40.02   $    8.60         $     0.09   $      0.09
  12/2/2018 Siro Alvarez                     $10.50   41.77   $    8.60         $     9.28   $      9.28
  12/9/2018 Siro Alvarez                     $10.50   53.73   $    8.60         $    72.10   $     72.10
 12/16/2018 Siro Alvarez                     $10.50   52.33   $    8.60         $    64.75   $     64.75
 12/23/2018 Siro Alvarez                     $10.50   53.08   $    8.60         $    68.69   $     68.69
  1/13/2019 Siro Alvarez                     $10.50   52.07   $    8.85         $    63.35   $     63.35
  1/20/2019 Siro Alvarez                     $10.50   51.13   $    8.85         $    58.45   $     58.45
  1/27/2019 Siro Alvarez                     $10.50   49.40   $    8.85         $    49.35   $     49.35
   2/3/2019 Siro Alvarez                     $10.50   50.93   $    8.85         $    57.40   $     57.40
  2/10/2019 Siro Alvarez                     $10.50   54.57   $    8.85         $    76.48   $     76.48
  2/24/2019 Siro Alvarez                     $10.50   50.72   $    8.85         $    56.26   $     56.26
  3/10/2019 Siro Alvarez                     $10.50   52.62   $    8.85         $    66.24   $     66.24
  3/17/2019 Siro Alvarez                     $10.50   50.52   $    8.85         $    55.21   $     55.21
  3/24/2019 Siro Alvarez                     $10.50   52.88   $    8.85         $    67.64   $     67.64
  3/31/2019 Siro Alvarez                     $10.50   52.42   $    8.85         $    65.19   $     65.19
  4/21/2019 Siro Alvarez                     $10.50   57.37   $    8.85         $    91.18   $     91.18
  4/28/2019 Siro Alvarez                     $10.50   53.42   $    8.85         $    70.44   $     70.44
   5/5/2019 Siro Alvarez                     $10.50   53.23   $    8.85         $    69.48   $     69.48
  5/12/2019 Siro Alvarez                     $10.50   57.62   $    8.85         $    92.49   $     92.49
  5/19/2019 Siro Alvarez                     $10.50   53.18   $    8.85         $    69.21   $     69.21
  5/26/2019 Siro Alvarez                     $10.50   49.63   $    8.85         $    50.58   $     50.58
   6/2/2019 Siro Alvarez                     $10.50   46.82   $    8.85         $    35.79   $     35.79
   6/9/2019 Siro Alvarez                     $10.50   53.87   $    8.85         $    72.80   $     72.80
  6/16/2019 Siro Alvarez                     $10.50   50.87   $    8.85         $    57.05   $     57.05
  6/23/2019 Siro Alvarez                     $10.50   51.62   $    8.85         $    60.99   $     60.99
  6/30/2019 Siro Alvarez                     $10.50   53.07   $   10.00         $    68.60   $     68.60
  7/14/2019 Siro Alvarez                     $10.50   51.78   $   10.00         $    61.86   $     61.86
  7/21/2019 Siro Alvarez                     $10.50   51.70   $   10.00         $    61.43   $     61.43
  7/28/2019 Siro Alvarez                     $10.50   53.35   $   10.00         $    70.09   $     70.09
   8/4/2019 Siro Alvarez                     $10.50   52.13   $   10.00         $    63.70   $     63.70
  8/11/2019 Siro Alvarez                     $10.50   52.25   $   10.00         $    64.31   $     64.31
  8/18/2019 Siro Alvarez                     $10.50   51.77   $   10.00         $    61.78   $     61.78
  8/25/2019 Siro Alvarez                     $10.50   52.90   $   10.00         $    67.73   $     67.73
   9/1/2019 Siro Alvarez                     $10.50   52.97   $   10.00         $    68.08   $     68.08



                                               619
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 621 of 683 PageID: 1468
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

   9/8/2019 Siro Alvarez                    $10.50   49.30   $   10.00               $    48.83   $    48.83
  9/15/2019 Siro Alvarez                    $10.50   51.50   $   10.00               $    60.38   $    60.38
  9/22/2019 Siro Alvarez                    $10.50   42.83   $   10.00               $    14.88   $    14.88
  9/29/2019 Siro Alvarez                    $10.50   53.93   $   10.00               $    73.15   $    73.15
  10/6/2019 Siro Alvarez                    $10.50   58.82   $   10.00               $    98.79   $    98.79
 10/13/2019 Siro Alvarez                    $10.50   53.40   $   10.00               $    70.35   $    70.35
 10/20/2019 Siro Alvarez                    $11.00   47.00   $   10.00               $    38.50   $    38.50
 10/27/2019 Siro Alvarez                    $11.00   44.38   $   10.00               $    24.11   $    24.11
  11/3/2019 Siro Alvarez                    $11.00   44.87   $   10.00               $    26.77   $    26.77
 11/10/2019 Siro Alvarez                    $11.00   48.43   $   10.00               $    46.38   $    46.38
 11/17/2019 Siro Alvarez                    $11.00   45.18   $   10.00               $    28.51   $    28.51
 11/24/2019 Siro Alvarez                    $11.00   45.42   $   10.00               $    29.79   $    29.79
  12/8/2019 Siro Alvarez                    $11.00   41.93   $   10.00               $    10.63   $    10.63
 12/15/2019 Siro Alvarez                    $10.50   50.40   $   10.00               $    54.60   $    54.60
 12/22/2019 Siro Alvarez                    $10.50   50.32   $   10.00               $    54.16   $    54.16
  1/12/2020 Siro Alvarez                    $10.50   52.58   $   11.00   $   26.29   $    69.21   $    95.50
  1/19/2020 Siro Alvarez                    $10.50   49.53   $   11.00   $   24.77   $    52.43   $    77.20
  1/26/2020 Siro Alvarez                    $10.50   53.37   $   11.00   $   26.68   $    73.52   $   100.20
  11/3/2019 Socrates Mencia Sosa            $11.00   58.83   $   10.00               $   103.58   $   103.58
 11/10/2019 Socrates Mencia Sosa            $11.00   47.95   $   10.00               $    43.73   $    43.73
 11/17/2019 Socrates Mencia Sosa            $11.00   58.67   $   10.00               $   102.67   $   102.67
 11/24/2019 Socrates Mencia Sosa            $11.00   46.43   $   10.00               $    35.38   $    35.38
  12/8/2019 Socrates Mencia Sosa            $11.00   55.50   $   10.00               $    85.25   $    85.25
  12/8/2019 Sonia Lopez                     $10.00   62.33   $   10.00               $   111.67   $   111.67
 12/15/2019 Sonia Lopez                     $10.00   62.80   $   10.00               $   114.00   $   114.00
 12/22/2019 Sonia Lopez                     $10.00   62.32   $   10.00               $   111.58   $   111.58
 12/29/2019 Sonia Lopez                     $10.00   49.13   $   10.00               $    45.67   $    45.67
   1/5/2020 Sonia Lopez                     $10.00   52.23   $   11.00   $   52.23   $    67.28   $   119.52
  1/12/2020 Sonia Lopez                     $10.00   63.00   $   11.00   $   63.00   $   126.50   $   189.50
  1/19/2020 Sonia Lopez                     $10.00   61.77   $   11.00   $   61.77   $   119.72   $   181.48
  1/26/2020 Sonia Lopez                     $10.00   63.13   $   11.00   $   63.13   $   127.23   $   190.37
   6/3/2018 Steve Mercado                    $9.50   52.73   $    8.60               $    60.48   $    60.48
  6/10/2018 Steve Mercado                    $9.50   50.63   $    8.60               $    50.51   $    50.51
  6/17/2018 Steve Mercado                    $9.50   58.18   $    8.60               $    86.37   $    86.37
  6/24/2018 Steve Mercado                    $9.50   53.08   $    8.60               $    62.15   $    62.15
  7/15/2018 Steven Mercado                  $11.00   59.82   $    8.60               $   108.99   $   108.99
  7/22/2018 Steven Mercado                  $11.00   48.18   $    8.60               $    45.01   $    45.01
  7/29/2018 Steven Mercado                  $11.00   60.72   $    8.60               $   113.94   $   113.94
   8/5/2018 Steven Mercado                  $11.00   61.03   $    8.60               $   115.68   $   115.68
  8/12/2018 Steven Mercado                  $11.00   46.93   $    8.60               $    38.13   $    38.13
  8/19/2018 Steven Mercado                  $11.00   56.72   $    8.60               $    91.94   $    91.94
  8/26/2018 Steven Mercado                  $11.00   47.48   $    8.60               $    41.16   $    41.16
   9/2/2018 Steven Mercado                  $11.00   50.37   $    8.60               $    57.02   $    57.02
   9/9/2018 Steven Mercado                  $11.00   52.03   $    8.60               $    66.18   $    66.18
  9/16/2018 Steven Mercado                  $11.00   51.65   $    8.60               $    64.08   $    64.08
  9/23/2018 Steven Mercado                  $11.00   58.40   $    8.60               $   101.20   $   101.20
  10/7/2018 Steven Mercado                  $11.00   55.07   $    8.60               $    82.87   $    82.87
 10/14/2018 Steven Mercado                  $11.00   58.25   $    8.60               $   100.38   $   100.38
 10/21/2018 Steven Mercado                  $11.00   48.72   $    8.60               $    47.94   $    47.94
 10/28/2018 Steven Mercado                  $11.00   48.30   $    8.60               $    45.65   $    45.65



                                              620
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 622 of 683 PageID: 1469
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                          Name                        Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

 11/11/2018 Steven Mercado                      $11.00   44.30   $    8.60               $    23.65   $    23.65
 11/18/2018 Steven Mercado                      $11.00   56.68   $    8.60               $    91.76   $    91.76
 11/25/2018 Steven Mercado                      $11.00   46.50   $    8.60               $    35.75   $    35.75
  12/2/2018 Steven Mercado                      $11.00   48.88   $    8.60               $    48.86   $    48.86
  12/9/2018 Steven Mercado                      $11.00   45.33   $    8.60               $    29.33   $    29.33
 12/16/2018 Steven Mercado                      $11.00   51.80   $    8.60               $    64.90   $    64.90
 12/23/2018 Steven Mercado                      $11.00   57.93   $    8.60               $    98.63   $    98.63
   1/6/2019 Steven Mercado                      $11.00   44.40   $    8.85               $    24.20   $    24.20
  1/13/2019 Steven Mercado                      $11.00   55.90   $    8.85               $    87.45   $    87.45
  1/20/2019 Steven Mercado                      $11.00   60.95   $    8.85               $   115.23   $   115.23
  1/27/2019 Steven Mercado                      $11.00   51.92   $    8.85               $    65.54   $    65.54
  2/10/2019 Steven Mercado                      $11.00   58.72   $    8.85               $   102.94   $   102.94
  2/17/2019 Steven Mercado                      $11.00   59.00   $    8.85               $   104.50   $   104.50
  2/24/2019 Steven Mercado                      $11.00   47.30   $    8.85               $    40.15   $    40.15
   3/3/2019 Steven Mercado                      $11.00   56.83   $    8.85               $    92.58   $    92.58
  3/17/2019 Steven Mercado                      $11.00   48.80   $    8.85               $    48.40   $    48.40
  3/24/2019 Steven Mercado                      $11.00   58.15   $    8.85               $    99.83   $    99.83
  3/31/2019 Steven Mercado                      $11.00   52.57   $    8.85               $    69.12   $    69.12
  8/18/2019 Suheily Santiago                     $9.50   54.12   $   10.00   $   27.06   $    70.58   $    97.64
  8/25/2019 Suheily Santiago                     $9.50   50.13   $   10.00   $   25.07   $    50.67   $    75.73
   9/1/2019 Suheily Santiago                     $9.50   47.20   $   10.00   $   23.60   $    36.00   $    59.60
  9/15/2019 Suheily Santiago                     $9.50   50.30   $   10.00   $   25.15   $    51.50   $    76.65
  3/26/2017 T. Estanislao Pierrot Sr.            $9.00   44.42   $    8.44               $    19.88   $    19.88
  4/16/2017 T. Estanislao Pierrot Sr.            $9.00   44.28   $    8.44               $    19.28   $    19.28
  4/23/2017 T. Estanislao Pierrot Sr.            $9.00   44.48   $    8.44               $    20.18   $    20.18
  5/21/2017 T. Estanislao Pierrot Sr.            $9.00   44.47   $    8.44               $    20.10   $    20.10
  5/28/2017 T. Estanislao Pierrot Sr.            $9.00   44.50   $    8.44               $    20.25   $    20.25
   7/2/2017 T. Estanislao Pierrot Sr.            $9.00   41.78   $    8.44               $     8.02   $     8.02
  7/16/2017 T. Estanislao Pierrot Sr.            $9.00   41.08   $    8.44               $     4.87   $     4.87
  8/13/2017 T. Estanislao Pierrot Sr.            $9.00   48.18   $    8.44               $    36.83   $    36.83
  8/20/2017 T. Estanislao Pierrot Sr.            $9.00   44.55   $    8.44               $    20.48   $    20.48
   9/3/2017 T. Estanislao Pierrot Sr.            $9.00   43.58   $    8.44               $    16.13   $    16.13
  9/17/2017 T. Estanislao Pierrot Sr.            $9.00   54.07   $    8.44               $    63.30   $    63.30
  9/24/2017 T. Estanislao Pierrot Sr.            $9.00   50.37   $    8.44               $    46.65   $    46.65
  10/1/2017 T. Estanislao Pierrot Sr.            $9.00   53.12   $    8.44               $    59.03   $    59.03
  10/8/2017 T. Estanislao Pierrot Sr.            $9.00   51.93   $    8.44               $    53.70   $    53.70
 10/15/2017 T. Estanislao Pierrot Sr.            $9.00   41.73   $    8.44               $     7.80   $     7.80
 10/22/2017 T. Estanislao Pierrot Sr.            $9.00   54.05   $    8.44               $    63.23   $    63.23
 11/19/2017 T. Estanislao Pierrot Sr.            $9.00   46.07   $    8.44               $    27.30   $    27.30
 12/10/2017 T. Estanislao Pierrot Sr.            $9.00   45.30   $    8.44               $    23.85   $    23.85
 12/24/2017 T. Estanislao Pierrot Sr.            $9.00   46.45   $    8.44               $    29.03   $    29.03
  1/28/2018 T. Estanislao Pierrot Sr.            $9.00   41.97   $    8.60               $     8.85   $     8.85
  2/25/2018 T. Estanislao Pierrot Sr.            $9.00   44.62   $    8.60               $    20.78   $    20.78
  3/25/2018 T. Estanislao Pierrot Sr.            $9.00   49.28   $    8.60               $    41.78   $    41.78
   4/1/2018 T. Estanislao Pierrot Sr.            $9.00   44.08   $    8.60               $    18.38   $    18.38
  4/15/2018 T. Estanislao Pierrot Sr.            $9.00   55.15   $    8.60               $    68.18   $    68.18
  4/22/2018 T. Estanislao Pierrot Sr.            $9.00   49.55   $    8.60               $    42.98   $    42.98
  4/29/2018 T. Estanislao Pierrot Sr.            $9.00   52.52   $    8.60               $    56.33   $    56.33
   5/6/2018 T. Estanislao Pierrot Sr.            $9.00   46.23   $    8.60               $    28.05   $    28.05
  6/17/2018 T. Estanislao Pierrot Sr.            $9.00   49.12   $    8.60               $    41.03   $    41.03



                                                  621
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 623 of 683 PageID: 1470
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                          Name                        Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

  6/24/2018 T. Estanislao Pierrot Sr.            $9.00   50.05   $    8.60               $   45.23   $    45.23
   7/1/2018 T. Estanislao Pierrot Sr.            $9.00   56.08   $    8.60               $   72.38   $    72.38
  7/15/2018 T. Estanislao Pierrot Sr.            $9.00   48.17   $    8.60               $   36.75   $    36.75
  7/22/2018 T. Estanislao Pierrot Sr.            $9.00   56.07   $    8.60               $   72.30   $    72.30
  7/29/2018 T. Estanislao Pierrot Sr.            $9.00   58.58   $    8.60               $   83.63   $    83.63
   8/5/2018 T. Estanislao Pierrot Sr.            $9.00   48.12   $    8.60               $   36.53   $    36.53
  8/12/2018 T. Estanislao Pierrot Sr.            $9.00   44.10   $    8.60               $   18.45   $    18.45
  8/19/2018 T. Estanislao Pierrot Sr.            $9.00   52.62   $    8.60               $   56.78   $    56.78
  8/26/2018 T. Estanislao Pierrot Sr.            $9.00   57.77   $    8.60               $   79.95   $    79.95
   9/2/2018 T. Estanislao Pierrot Sr.            $9.00   59.07   $    8.60               $   85.80   $    85.80
   9/9/2018 T. Estanislao Pierrot Sr.            $9.00   48.23   $    8.60               $   37.05   $    37.05
  9/16/2018 T. Estanislao Pierrot Sr.            $9.00   53.18   $    8.60               $   59.33   $    59.33
  9/23/2018 T. Estanislao Pierrot Sr.            $9.00   55.93   $    8.60               $   71.70   $    71.70
  9/30/2018 T. Estanislao Pierrot Sr.            $9.00   54.88   $    8.60               $   66.98   $    66.98
  10/7/2018 T. Estanislao Pierrot Sr.            $9.00   55.65   $    8.60               $   70.43   $    70.43
 10/14/2018 T. Estanislao Pierrot Sr.            $9.00   46.13   $    8.60               $   27.60   $    27.60
 10/21/2018 T. Estanislao Pierrot Sr.            $9.00   54.97   $    8.60               $   67.35   $    67.35
 10/28/2018 T. Estanislao Pierrot Sr.            $9.00   46.05   $    8.60               $   27.23   $    27.23
  11/4/2018 T. Estanislao Pierrot Sr.            $9.00   55.87   $    8.60               $   71.40   $    71.40
 11/11/2018 T. Estanislao Pierrot Sr.            $9.00   55.85   $    8.60               $   71.33   $    71.33
 11/18/2018 T. Estanislao Pierrot Sr.            $9.00   55.73   $    8.60               $   70.80   $    70.80
 11/25/2018 T. Estanislao Pierrot Sr.            $9.00   44.17   $    8.60               $   18.75   $    18.75
  12/2/2018 T. Estanislao Pierrot Sr.            $9.00   56.10   $    8.60               $   72.45   $    72.45
  12/9/2018 T. Estanislao Pierrot Sr.            $9.00   50.57   $    8.60               $   47.55   $    47.55
  2/10/2019 T. Estanislao Pierrot Sr.            $9.00   50.02   $    8.85               $   45.08   $    45.08
  2/17/2019 T. Estanislao Pierrot Sr.            $9.00   55.12   $    8.85               $   68.03   $    68.03
  2/24/2019 T. Estanislao Pierrot Sr.            $9.00   45.47   $    8.85               $   24.60   $    24.60
   3/3/2019 T. Estanislao Pierrot Sr.            $9.00   46.07   $    8.85               $   27.30   $    27.30
  3/10/2019 T. Estanislao Pierrot Sr.            $9.00   55.67   $    8.85               $   70.50   $    70.50
  3/17/2019 T. Estanislao Pierrot Sr.            $9.00   55.50   $    8.85               $   69.75   $    69.75
  3/24/2019 T. Estanislao Pierrot Sr.            $9.00   47.97   $    8.85               $   35.85   $    35.85
  3/31/2019 T. Estanislao Pierrot Sr.            $9.00   45.93   $    8.85               $   26.70   $    26.70
   4/7/2019 T. Estanislao Pierrot Sr.            $9.00   54.05   $    8.85               $   63.23   $    63.23
  4/14/2019 T. Estanislao Pierrot Sr.            $9.00   45.07   $    8.85               $   22.80   $    22.80
  4/21/2019 T. Estanislao Pierrot Sr.            $9.00   55.88   $    8.85               $   71.48   $    71.48
  4/28/2019 T. Estanislao Pierrot Sr.            $9.00   56.37   $    8.85               $   73.65   $    73.65
   5/5/2019 T. Estanislao Pierrot Sr.            $9.00   59.53   $    8.85               $   87.90   $    87.90
  5/19/2019 T. Estanislao Pierrot Sr.            $9.00   58.10   $    8.85               $   81.45   $    81.45
  5/26/2019 T. Estanislao Pierrot Sr.            $9.00   58.97   $    8.85               $   85.35   $    85.35
   6/2/2019 T. Estanislao Pierrot Sr.            $9.00   45.97   $    8.85               $   26.85   $    26.85
   6/9/2019 T. Estanislao Pierrot Sr.            $9.00   56.78   $    8.85               $   75.53   $    75.53
  6/16/2019 T. Estanislao Pierrot Sr.            $9.00   54.52   $    8.85               $   65.33   $    65.33
  6/23/2019 T. Estanislao Pierrot Sr.            $9.00   56.05   $    8.85               $   72.23   $    72.23
  6/30/2019 T. Estanislao Pierrot Sr.            $9.00   55.95   $   10.00   $   55.95   $   79.75   $   135.70
  7/21/2019 T. Estanislao Pierrot Sr.            $9.00   53.18   $   10.00   $   53.18   $   65.92   $   119.10
  7/28/2019 T. Estanislao Pierrot Sr.            $9.00   54.50   $   10.00   $   54.50   $   72.50   $   127.00
   8/4/2019 T. Estanislao Pierrot Sr.            $9.00   57.17   $   10.00   $   57.17   $   85.83   $   143.00
  8/11/2019 T. Estanislao Pierrot Sr.            $9.00   55.07   $   10.00   $   55.07   $   75.33   $   130.40
  8/18/2019 T. Estanislao Pierrot Sr.            $9.00   54.97   $   10.00   $   54.97   $   74.83   $   129.80
  8/25/2019 T. Estanislao Pierrot Sr.            $9.00   50.60   $   10.00   $   50.60   $   53.00   $   103.60



                                                  622
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 624 of 683 PageID: 1471
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                          Name                        Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

   9/1/2019 T. Estanislao Pierrot Sr.            $9.00   46.03   $   10.00   $ 46.03     $    30.17   $    76.20
   9/8/2019 T. Estanislao Pierrot Sr.            $9.00   40.15   $   10.00   $ 40.15     $     0.75   $    40.90
  10/6/2019 T. Estanislao Pierrot Sr.            $9.00   56.63   $   10.00   $ 56.63     $    83.17   $   139.80
 10/13/2019 T. Estanislao Pierrot Sr.            $9.00   55.08   $   10.00   $ 55.08     $    75.42   $   130.50
 11/10/2019 T. Estanislao Pierrot Sr.            $9.00   55.62   $   10.00   $ 55.62     $    78.08   $   133.70
 11/17/2019 T. Estanislao Pierrot Sr.            $9.00   53.58   $   10.00   $ 53.58     $    67.92   $   121.50
 11/24/2019 T. Estanislao Pierrot Sr.            $9.00   46.80   $   10.00   $ 46.80     $    34.00   $    80.80
  12/8/2019 T. Estanislao Pierrot Sr.            $9.00   54.65   $   10.00   $ 54.65     $    73.25   $   127.90
 12/15/2019 T. Estanislao Pierrot Sr.            $9.00   54.37   $   10.00   $ 54.37     $    71.83   $   126.20
 12/22/2019 T. Estanislao Pierrot Sr.            $9.00   52.48   $   10.00   $ 52.48     $    62.42   $   114.90
 12/29/2019 T. Estanislao Pierrot Sr.            $9.00   40.25   $   10.00   $ 40.25     $     1.25   $    41.50
  1/12/2020 T. Estanislao Pierrot Sr.            $9.00   45.30   $   11.00   $ 90.60     $    29.15   $   119.75
  1/26/2020 T. Estanislao Pierrot Sr.            $9.00   53.93   $   11.00   $ 107.87    $    76.63   $   184.50
  7/28/2019 Tainary Robles                       $9.50   40.12   $   10.00   $ 20.06     $     0.58   $    20.64
   8/4/2019 Tainary Robles                       $9.50   50.37   $   10.00   $ 25.18     $    51.83   $    77.02
  8/11/2019 Tainary Robles                       $9.50   43.53   $   10.00   $ 21.77     $    17.67   $    39.43
  8/25/2019 Tainary Robles                       $9.50   47.08   $   10.00   $ 23.54     $    35.42   $    58.96
   9/1/2019 Tainary Robles                       $9.50   46.17   $   10.00   $ 23.08     $    30.83   $    53.92
   9/8/2019 Tainary Robles                       $9.50   41.35   $   10.00   $ 20.68     $     6.75   $    27.43
  9/15/2019 Tainary Robles                       $9.50   47.35   $   10.00   $ 23.68     $    36.75   $    60.43
  9/22/2019 Tainary Robles                       $9.50   47.17   $   10.00   $ 23.58     $    35.83   $    59.42
  6/25/2017 Teodoro Morataya                    $10.00   61.60   $    8.44               $   108.00   $   108.00
   7/2/2017 Teodoro Morataya                    $10.00   60.33   $    8.44               $   101.67   $   101.67
   7/9/2017 Teodoro Morataya                    $10.00   48.82   $    8.44               $    44.08   $    44.08
  7/16/2017 Teodoro Morataya                    $10.00   50.03   $    8.44               $    50.17   $    50.17
  7/23/2017 Teodoro Morataya                    $10.00   58.98   $    8.44               $    94.92   $    94.92
  7/30/2017 Teodoro Morataya                    $10.00   59.00   $    8.44               $    95.00   $    95.00
   8/6/2017 Teodoro Morataya                    $10.00   53.18   $    8.44               $    65.92   $    65.92
  8/13/2017 Teodoro Morataya                    $10.00   49.15   $    8.44               $    45.75   $    45.75
  8/20/2017 Teodoro Morataya                    $10.00   46.77   $    8.44               $    33.83   $    33.83
  1/12/2020 Terry Cosby                         $10.00   40.12   $   11.00   $   40.12   $     0.64   $    40.76
  1/26/2020 Terry Cosby                         $10.00   48.30   $   11.00   $   48.30   $    45.65   $    93.95
  8/13/2017 Tiffany Abraham                      $9.00   63.43   $    8.44               $   105.45   $   105.45
  8/20/2017 Tiffany Abraham                      $9.00   66.48   $    8.44               $   119.18   $   119.18
  8/27/2017 Tiffany Abraham                      $9.00   59.00   $    8.44               $    85.50   $    85.50
   9/3/2017 Tiffany Abraham                      $9.00   70.47   $    8.44               $   137.10   $   137.10
  9/10/2017 Tiffany Abraham                      $9.00   69.33   $    8.44               $   132.00   $   132.00
  9/17/2017 Tiffany Abraham                      $9.00   60.12   $    8.44               $    90.53   $    90.53
  9/24/2017 Tiffany Abraham                      $9.00   60.75   $    8.44               $    93.38   $    93.38
  10/1/2017 Tiffany Abraham                      $9.00   69.38   $    8.44               $   132.23   $   132.23
   2/5/2017 Tobias Guerrero                      $9.50   69.28   $    8.44               $   139.10   $   139.10
  2/12/2017 Tobias Guerrero                      $9.50   57.45   $    8.44               $    82.89   $    82.89
  2/19/2017 Tobias Guerrero                      $9.50   65.43   $    8.44               $   120.81   $   120.81
  2/26/2017 Tobias Guerrero                      $9.50   68.82   $    8.44               $   136.88   $   136.88
   3/5/2017 Tobias Guerrero                      $9.50   70.05   $    8.44               $   142.74   $   142.74
  3/12/2017 Tobias Guerrero                      $9.50   74.20   $    8.44               $   162.45   $   162.45
  3/19/2017 Tobias Guerrero                      $9.50   58.95   $    8.44               $    90.01   $    90.01
  3/26/2017 Tobias Guerrero                      $9.50   65.70   $    8.44               $   122.08   $   122.08
   4/2/2017 Tobias Guerrero                      $9.50   67.40   $    8.44               $   130.15   $   130.15
   4/9/2017 Tobias Guerrero                      $9.50   67.63   $    8.44               $   131.26   $   131.26



                                                  623
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 625 of 683 PageID: 1472
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  4/16/2017 Tobias Guerrero                  $9.50   64.42   $   8.44          $   115.98   $    115.98
  4/23/2017 Tobias Guerrero                  $9.50   57.10   $   8.44          $    81.23   $     81.23
  4/30/2017 Tobias Guerrero                  $9.50   60.43   $   8.44          $    97.06   $     97.06
   5/7/2017 Tobias Guerrero                  $9.50   47.13   $   8.44          $    33.88   $     33.88
  5/14/2017 Tobias Guerrero                  $9.50   61.03   $   8.44          $    99.91   $     99.91
  5/21/2017 Tobias Guerrero                  $9.50   59.52   $   8.44          $    92.70   $     92.70
  5/28/2017 Tobias Guerrero                  $9.50   60.73   $   8.44          $    98.48   $     98.48
   6/4/2017 Tobias Guerrero                  $9.50   58.20   $   8.44          $    86.45   $     86.45
  6/11/2017 Tobias Guerrero                  $9.50   56.82   $   8.44          $    79.88   $     79.88
  6/18/2017 Tobias Guerrero                  $9.50   56.92   $   8.44          $    80.35   $     80.35
  6/25/2017 Tobias Guerrero                  $9.50   55.50   $   8.44          $    73.63   $     73.63
   7/2/2017 Tobias Guerrero                  $9.50   57.98   $   8.44          $    85.42   $     85.42
   7/9/2017 Tobias Guerrero                  $9.50   49.80   $   8.44          $    46.55   $     46.55
  7/16/2017 Tobias Guerrero                  $9.50   57.95   $   8.44          $    85.26   $     85.26
  7/23/2017 Tobias Guerrero                  $9.50   46.77   $   8.44          $    32.14   $     32.14
  7/30/2017 Tobias Guerrero                  $9.50   58.52   $   8.44          $    87.95   $     87.95
   8/6/2017 Tobias Guerrero                  $9.50   58.93   $   8.44          $    89.93   $     89.93
  8/13/2017 Tobias Guerrero                  $9.50   56.35   $   8.44          $    77.66   $     77.66
  8/20/2017 Tobias Guerrero                  $9.50   59.32   $   8.44          $    91.75   $     91.75
  8/27/2017 Tobias Guerrero                  $9.50   57.62   $   8.44          $    83.68   $     83.68
   9/3/2017 Tobias Guerrero                  $9.50   49.62   $   8.44          $    45.68   $     45.68
  9/10/2017 Tobias Guerrero                  $9.50   59.63   $   8.44          $    93.26   $     93.26
  9/17/2017 Tobias Guerrero                  $9.50   58.90   $   8.44          $    89.78   $     89.78
  9/24/2017 Tobias Guerrero                  $9.50   56.62   $   8.44          $    78.93   $     78.93
  10/1/2017 Tobias Guerrero                  $9.50   59.12   $   8.44          $    90.80   $     90.80
  10/8/2017 Tobias Guerrero                  $9.50   58.62   $   8.44          $    88.43   $     88.43
 10/15/2017 Tobias Guerrero                  $9.50   58.55   $   8.44          $    88.11   $     88.11
 10/22/2017 Tobias Guerrero                  $9.50   58.08   $   8.44          $    85.90   $     85.90
 10/29/2017 Tobias Guerrero                  $9.50   59.05   $   8.44          $    90.49   $     90.49
  11/5/2017 Tobias Guerrero                  $9.50   59.08   $   8.44          $    90.65   $     90.65
 11/12/2017 Tobias Guerrero                  $9.50   60.15   $   8.44          $    95.71   $     95.71
 11/19/2017 Tobias Guerrero                  $9.50   63.57   $   8.44          $   111.94   $    111.94
 11/26/2017 Tobias Guerrero                  $9.50   51.67   $   8.44          $    55.42   $     55.42
  12/3/2017 Tobias Guerrero                  $9.50   57.88   $   8.44          $    84.95   $     84.95
 12/10/2017 Tobias Guerrero                  $9.50   58.82   $   8.44          $    89.38   $     89.38
 12/17/2017 Tobias Guerrero                  $9.50   63.42   $   8.44          $   111.23   $    111.23
 12/24/2017 Tobias Guerrero                  $9.50   52.97   $   8.44          $    61.59   $     61.59
 12/31/2017 Tobias Guerrero                  $9.50   50.20   $   8.44          $    48.45   $     48.45
   1/7/2018 Tobias Guerrero                  $9.50   51.83   $   8.60          $    56.21   $     56.21
  1/14/2018 Tobias Guerrero                  $9.50   59.58   $   8.60          $    93.02   $     93.02
  1/21/2018 Tobias Guerrero                  $9.50   58.03   $   8.60          $    85.66   $     85.66
  1/28/2018 Tobias Guerrero                  $9.50   58.98   $   8.60          $    90.17   $     90.17
   2/4/2018 Tobias Guerrero                  $9.50   57.02   $   8.60          $    80.83   $     80.83
  2/11/2018 Tobias Guerrero                  $9.50   56.97   $   8.60          $    80.59   $     80.59
  2/18/2018 Tobias Guerrero                  $9.50   60.38   $   8.60          $    96.82   $     96.82
   8/6/2017 Tomas Nogueira                   $9.00   49.10   $   8.44          $    40.95   $     40.95
  8/13/2017 Tomas Nogueira                   $9.00   52.15   $   8.44          $    54.68   $     54.68
  8/27/2017 Tomas Nogueira                   $9.00   58.18   $   8.44          $    81.83   $     81.83
   9/3/2017 Tomas Nogueira                   $9.00   58.35   $   8.44          $    82.58   $     82.58
  9/10/2017 Tomas Nogueira                   $9.00   51.00   $   8.44          $    49.50   $     49.50



                                              624
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 626 of 683 PageID: 1473
                                                   Exhibit 2
                                           New Jersey Computations


   Week                                                           State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
  Ending                     Name                               Minumum Regular    Half-Time Overtime Back
                                                   Rate Week
   Date                                                           Wage  Rate Due     Due       Wages Due

  9/17/2017 Tomas Nogueira                         $9.00   56.58   $   8.44          $    74.63   $     74.63
  9/24/2017 Tomas Nogueira                         $9.00   57.10   $   8.44          $    76.95   $     76.95
  10/1/2017 Tomas Nogueira                         $9.00   55.05   $   8.44          $    67.73   $     67.73
  10/8/2017 Tomas Nogueira                         $9.00   55.62   $   8.44          $    70.28   $     70.28
 10/15/2017 Tomas Nogueira                         $9.00   46.35   $   8.44          $    28.58   $     28.58
 10/22/2017 Tomas Nogueira                         $9.00   49.98   $   8.44          $    44.93   $     44.93
 10/29/2017 Tomas Nogueira                         $9.00   57.13   $   8.44          $    77.10   $     77.10
  11/5/2017 Tomas Nogueira                         $9.00   43.57   $   8.44          $    16.05   $     16.05
  6/24/2018 Tomas Nogueira                         $9.00   44.03   $   8.60          $    18.15   $     18.15
  8/12/2018 Tomas Nogueira                         $9.00   57.55   $   8.60          $    78.98   $     78.98
  8/19/2018 Tomas Nogueira                         $9.00   51.85   $   8.60          $    53.33   $     53.33
  8/26/2018 Tomas Nogueira                         $9.00   65.07   $   8.60          $   112.80   $    112.80
   9/2/2018 Tomas Nogueira                         $9.00   69.27   $   8.60          $   131.70   $    131.70
   9/9/2018 Tomas Nogueira                         $9.00   67.22   $   8.60          $   122.48   $    122.48
  9/16/2018 Tomas Nogueira                         $9.00   62.15   $   8.60          $    99.68   $     99.68
  9/23/2018 Tomas Nogueira                         $9.00   61.85   $   8.60          $    98.33   $     98.33
  9/30/2018 Tomas Nogueira                         $9.00   70.18   $   8.60          $   135.83   $    135.83
  10/7/2018 Tomas Nogueira                         $9.00   62.77   $   8.60          $   102.45   $    102.45
 10/14/2018 Tomas Nogueira                         $9.00   59.47   $   8.60          $    87.60   $     87.60
 10/21/2018 Tomas Nogueira                         $9.00   49.27   $   8.60          $    41.70   $     41.70
 10/28/2018 Tomas Nogueira                         $9.00   53.45   $   8.60          $    60.53   $     60.53
  11/4/2018 Tomas Nogueira                         $9.00   45.20   $   8.60          $    23.40   $     23.40
 11/11/2018 Tomas Nogueira                         $9.00   44.62   $   8.60          $    20.78   $     20.78
 11/18/2018 Tomas Nogueira                         $9.00   48.60   $   8.60          $    38.70   $     38.70
 11/25/2018 Tomas Nogueira                         $9.00   42.97   $   8.60          $    13.35   $     13.35
  12/2/2018 Tomas Nogueira                         $9.00   55.92   $   8.60          $    71.63   $     71.63
  12/9/2018 Tomas Nogueira                         $9.00   63.10   $   8.60          $   103.95   $    103.95
  3/26/2017 Tomas Roberto Gonzalez Munoz          $10.00   70.43   $   8.44          $   152.17   $    152.17
   4/2/2017 Tomas Roberto Gonzalez Munoz          $10.00   51.08   $   8.44          $    55.42   $     55.42
   4/9/2017 Tomas Roberto Gonzalez Munoz          $10.00   70.83   $   8.44          $   154.17   $    154.17
  4/16/2017 Tomas Roberto Gonzalez Munoz          $10.00   69.88   $   8.44          $   149.42   $    149.42
  4/23/2017 Tomas Roberto Gonzalez Munoz          $10.00   64.70   $   8.44          $   123.50   $    123.50
  4/30/2017 Tomas Roberto Gonzalez Munoz          $10.00   72.28   $   8.44          $   161.42   $    161.42
   5/7/2017 Tomas Roberto Gonzalez Munoz          $10.00   62.42   $   8.44          $   112.08   $    112.08
  5/14/2017 Tomas Roberto Gonzalez Munoz          $10.00   70.95   $   8.44          $   154.75   $    154.75
  5/21/2017 Tomas Roberto Gonzalez Munoz          $10.00   61.75   $   8.44          $   108.75   $    108.75
  5/28/2017 Tomas Roberto Gonzalez Munoz          $10.00   70.82   $   8.44          $   154.08   $    154.08
   6/4/2017 Tomas Roberto Gonzalez Munoz          $10.00   61.73   $   8.44          $   108.67   $    108.67
  6/11/2017 Tomas Roberto Gonzalez Munoz          $10.00   70.15   $   8.44          $   150.75   $    150.75
  6/18/2017 Tomas Roberto Gonzalez Munoz          $10.00   63.75   $   8.44          $   118.75   $    118.75
  6/25/2017 Tomas Roberto Gonzalez Munoz          $10.00   70.25   $   8.44          $   151.25   $    151.25
   7/2/2017 Tomas Roberto Gonzalez Munoz          $10.00   63.90   $   8.44          $   119.50   $    119.50
   7/9/2017 Tomas Roberto Gonzalez Munoz          $10.00   58.10   $   8.44          $    90.50   $     90.50
  7/16/2017 Tomas Roberto Gonzalez Munoz          $10.00   61.95   $   8.44          $   109.75   $    109.75
  7/23/2017 Tomas Roberto Gonzalez Munoz          $10.00   69.83   $   8.44          $   149.17   $    149.17
  7/30/2017 Tomas Roberto Gonzalez Munoz          $10.00   63.23   $   8.44          $   116.17   $    116.17
   8/6/2017 Tomas Roberto Gonzalez Munoz          $10.00   72.08   $   8.44          $   160.42   $    160.42
  8/13/2017 Tomas Roberto Gonzalez Munoz          $10.00   61.20   $   8.44          $   106.00   $    106.00
  8/20/2017 Tomas Roberto Gonzalez Munoz          $10.00   61.57   $   8.44          $   107.83   $    107.83
  8/27/2017 Tomas Roberto Gonzalez Munoz          $10.00   63.68   $   8.44          $   118.42   $    118.42



                                                    625
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 627 of 683 PageID: 1474
                                                   Exhibit 2
                                           New Jersey Computations


   Week                                                           State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
  Ending                     Name                               Minumum Regular    Half-Time Overtime Back
                                                   Rate Week
   Date                                                           Wage  Rate Due     Due       Wages Due

   9/3/2017 Tomas Roberto Gonzalez Munoz          $10.00   70.40   $   8.44          $   152.00   $    152.00
  9/10/2017 Tomas Roberto Gonzalez Munoz          $10.00   56.57   $   8.44          $    82.83   $     82.83
  9/17/2017 Tomas Roberto Gonzalez Munoz          $10.00   71.47   $   8.44          $   157.33   $    157.33
  9/24/2017 Tomas Roberto Gonzalez Munoz          $10.00   62.47   $   8.44          $   112.33   $    112.33
  10/1/2017 Tomas Roberto Gonzalez Munoz          $10.00   72.77   $   8.44          $   163.83   $    163.83
  10/8/2017 Tomas Roberto Gonzalez Munoz          $10.00   62.93   $   8.44          $   114.67   $    114.67
 10/15/2017 Tomas Roberto Gonzalez Munoz          $10.00   71.30   $   8.44          $   156.50   $    156.50
 10/22/2017 Tomas Roberto Gonzalez Munoz          $10.00   64.85   $   8.44          $   124.25   $    124.25
 10/29/2017 Tomas Roberto Gonzalez Munoz          $10.00   73.67   $   8.44          $   168.33   $    168.33
  11/5/2017 Tomas Roberto Gonzalez Munoz          $10.00   63.63   $   8.44          $   118.17   $    118.17
 11/12/2017 Tomas Roberto Gonzalez Munoz          $10.00   73.75   $   8.44          $   168.75   $    168.75
 11/19/2017 Tomas Roberto Gonzalez Munoz          $10.00   65.67   $   8.44          $   128.33   $    128.33
 11/26/2017 Tomas Roberto Gonzalez Munoz          $10.00   47.57   $   8.44          $    37.83   $     37.83
  12/3/2017 Tomas Roberto Gonzalez Munoz          $10.00   63.43   $   8.44          $   117.17   $    117.17
 12/10/2017 Tomas Roberto Gonzalez Munoz          $10.00   72.07   $   8.44          $   160.33   $    160.33
 12/17/2017 Tomas Roberto Gonzalez Munoz          $10.00   65.37   $   8.44          $   126.83   $    126.83
 12/24/2017 Tomas Roberto Gonzalez Munoz          $10.00   73.40   $   8.44          $   167.00   $    167.00
 12/31/2017 Tomas Roberto Gonzalez Munoz          $10.00   53.83   $   8.44          $    69.17   $     69.17
   1/7/2018 Tomas Roberto Gonzalez Munoz          $10.00   58.00   $   8.60          $    90.00   $     90.00
  1/14/2018 Tomas Roberto Gonzalez Munoz          $10.00   67.27   $   8.60          $   136.33   $    136.33
  1/21/2018 Tomas Roberto Gonzalez Munoz          $10.00   73.87   $   8.60          $   169.33   $    169.33
  1/28/2018 Tomas Roberto Gonzalez Munoz          $10.00   64.50   $   8.60          $   122.50   $    122.50
   2/4/2018 Tomas Roberto Gonzalez Munoz          $10.00   70.00   $   8.60          $   150.00   $    150.00
  2/11/2018 Tomas Roberto Gonzalez Munoz          $10.00   65.50   $   8.60          $   127.50   $    127.50
  2/18/2018 Tomas Roberto Gonzalez Munoz          $10.00   73.82   $   8.60          $   169.08   $    169.08
  2/25/2018 Tomas Roberto Gonzalez Munoz          $10.00   67.50   $   8.60          $   137.50   $    137.50
   3/4/2018 Tomas Roberto Gonzalez Munoz          $10.00   59.68   $   8.60          $    98.42   $     98.42
  3/25/2018 Tomas Roberto Gonzalez Munoz          $10.00   69.18   $   8.60          $   145.92   $    145.92
   4/1/2018 Tomas Roberto Gonzalez Munoz          $10.00   77.02   $   8.60          $   185.08   $    185.08
   4/8/2018 Tomas Roberto Gonzalez Munoz          $10.00   68.08   $   8.60          $   140.42   $    140.42
  4/15/2018 Tomas Roberto Gonzalez Munoz          $10.00   76.08   $   8.60          $   180.42   $    180.42
  4/22/2018 Tomas Roberto Gonzalez Munoz          $10.00   68.17   $   8.60          $   140.83   $    140.83
  4/29/2018 Tomas Roberto Gonzalez Munoz          $10.00   77.63   $   8.60          $   188.17   $    188.17
   5/6/2018 Tomas Roberto Gonzalez Munoz          $10.00   60.27   $   8.60          $   101.33   $    101.33
  5/13/2018 Tomas Roberto Gonzalez Munoz          $10.00   69.95   $   8.60          $   149.75   $    149.75
  5/20/2018 Tomas Roberto Gonzalez Munoz          $10.00   66.22   $   8.60          $   131.08   $    131.08
  5/27/2018 Tomas Roberto Gonzalez Munoz          $10.00   75.83   $   8.60          $   179.17   $    179.17
   6/3/2018 Tomas Roberto Gonzalez Munoz          $10.00   52.47   $   8.60          $    62.33   $     62.33
  6/10/2018 Tomas Roberto Gonzalez Munoz          $10.00   60.03   $   8.60          $   100.17   $    100.17
  6/17/2018 Tomas Roberto Gonzalez Munoz          $10.00   76.23   $   8.60          $   181.17   $    181.17
  6/24/2018 Tomas Roberto Gonzalez Munoz          $10.00   81.08   $   8.60          $   205.42   $    205.42
   7/1/2018 Tomas Roberto Gonzalez Munoz          $10.00   83.20   $   8.60          $   216.00   $    216.00
   7/8/2018 Tomas Roberto Gonzalez Munoz          $10.00   58.10   $   8.60          $    90.50   $     90.50
  7/15/2018 Tomas Roberto Gonzalez Munoz          $10.00   60.07   $   8.60          $   100.33   $    100.33
  7/22/2018 Tomas Roberto Gonzalez Munoz          $10.00   79.37   $   8.60          $   196.83   $    196.83
  7/29/2018 Tomas Roberto Gonzalez Munoz          $10.00   78.88   $   8.60          $   194.42   $    194.42
   8/5/2018 Tomas Roberto Gonzalez Munoz          $10.00   87.22   $   8.60          $   236.08   $    236.08
  8/12/2018 Tomas Roberto Gonzalez Munoz          $10.00   90.93   $   8.60          $   254.67   $    254.67
  8/19/2018 Tomas Roberto Gonzalez Munoz          $10.00   92.37   $   8.60          $   261.83   $    261.83
  8/26/2018 Tomas Roberto Gonzalez Munoz          $10.00   91.27   $   8.60          $   256.33   $    256.33



                                                    626
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 628 of 683 PageID: 1475
                                                   Exhibit 2
                                           New Jersey Computations


   Week                                                           State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
  Ending                     Name                               Minumum Regular    Half-Time Overtime Back
                                                   Rate Week
   Date                                                           Wage  Rate Due     Due       Wages Due

   9/2/2018 Tomas Roberto Gonzalez Munoz          $10.00   92.65   $    8.60         $   263.25   $    263.25
   9/9/2018 Tomas Roberto Gonzalez Munoz          $10.00   87.35   $    8.60         $   236.75   $    236.75
  9/16/2018 Tomas Roberto Gonzalez Munoz          $10.00   89.33   $    8.60         $   246.67   $    246.67
  9/23/2018 Tomas Roberto Gonzalez Munoz          $10.00   86.18   $    8.60         $   230.92   $    230.92
  9/30/2018 Tomas Roberto Gonzalez Munoz          $10.50   82.35   $    8.60         $   222.34   $    222.34
  10/7/2018 Tomas Roberto Gonzalez Munoz          $10.50   82.30   $    8.60         $   222.08   $    222.08
 10/14/2018 Tomas Roberto Gonzalez Munoz          $10.50   78.10   $    8.60         $   200.03   $    200.03
 10/21/2018 Tomas Roberto Gonzalez Munoz          $10.50   78.52   $    8.60         $   202.21   $    202.21
 10/28/2018 Tomas Roberto Gonzalez Munoz          $10.50   79.10   $    8.60         $   205.28   $    205.28
  11/4/2018 Tomas Roberto Gonzalez Munoz          $10.50   77.80   $    8.60         $   198.45   $    198.45
 11/11/2018 Tomas Roberto Gonzalez Munoz          $10.50   80.30   $    8.60         $   211.58   $    211.58
 11/18/2018 Tomas Roberto Gonzalez Munoz          $10.50   77.58   $    8.60         $   197.31   $    197.31
 11/25/2018 Tomas Roberto Gonzalez Munoz          $10.50   66.35   $    8.60         $   138.34   $    138.34
  12/2/2018 Tomas Roberto Gonzalez Munoz          $10.50   76.12   $    8.60         $   189.61   $    189.61
  12/9/2018 Tomas Roberto Gonzalez Munoz          $10.50   81.27   $    8.60         $   216.65   $    216.65
 12/16/2018 Tomas Roberto Gonzalez Munoz          $10.50   78.90   $    8.60         $   204.23   $    204.23
 12/23/2018 Tomas Roberto Gonzalez Munoz          $10.50   80.25   $    8.60         $   211.31   $    211.31
 12/30/2018 Tomas Roberto Gonzalez Munoz          $10.50   61.58   $    8.60         $   113.31   $    113.31
   1/6/2019 Tomas Roberto Gonzalez Munoz          $10.50   71.92   $    8.85         $   167.56   $    167.56
  1/13/2019 Tomas Roberto Gonzalez Munoz          $10.50   78.35   $    8.85         $   201.34   $    201.34
  1/20/2019 Tomas Roberto Gonzalez Munoz          $10.50   76.03   $    8.85         $   189.18   $    189.18
  1/27/2019 Tomas Roberto Gonzalez Munoz          $10.50   81.50   $    8.85         $   217.88   $    217.88
   2/3/2019 Tomas Roberto Gonzalez Munoz          $10.50   80.80   $    8.85         $   214.20   $    214.20
  2/10/2019 Tomas Roberto Gonzalez Munoz          $10.50   80.85   $    8.85         $   214.46   $    214.46
  2/17/2019 Tomas Roberto Gonzalez Munoz          $10.50   81.05   $    8.85         $   215.51   $    215.51
  2/24/2019 Tomas Roberto Gonzalez Munoz          $10.50   79.52   $    8.85         $   207.46   $    207.46
   3/3/2019 Tomas Roberto Gonzalez Munoz          $10.50   81.32   $    8.85         $   216.91   $    216.91
  3/10/2019 Tomas Roberto Gonzalez Munoz          $10.50   81.97   $    8.85         $   220.33   $    220.33
  3/17/2019 Tomas Roberto Gonzalez Munoz          $10.50   70.97   $    8.85         $   162.58   $    162.58
  3/24/2019 Tomas Roberto Gonzalez Munoz          $10.50   83.03   $    8.85         $   225.93   $    225.93
  3/31/2019 Tomas Roberto Gonzalez Munoz          $10.50   84.08   $    8.85         $   231.44   $    231.44
   4/7/2019 Tomas Roberto Gonzalez Munoz          $10.50   84.48   $    8.85         $   233.54   $    233.54
  4/14/2019 Tomas Roberto Gonzalez Munoz          $10.50   83.12   $    8.85         $   226.36   $    226.36
  4/21/2019 Tomas Roberto Gonzalez Munoz          $10.50   84.50   $    8.85         $   233.63   $    233.63
  4/28/2019 Tomas Roberto Gonzalez Munoz          $10.50   83.73   $    8.85         $   229.60   $    229.60
   5/5/2019 Tomas Roberto Gonzalez Munoz          $10.50   84.85   $    8.85         $   235.46   $    235.46
  5/12/2019 Tomas Roberto Gonzalez Munoz          $10.50   84.03   $    8.85         $   231.18   $    231.18
  5/19/2019 Tomas Roberto Gonzalez Munoz          $10.50   85.07   $    8.85         $   236.60   $    236.60
  5/26/2019 Tomas Roberto Gonzalez Munoz          $10.50   86.15   $    8.85         $   242.29   $    242.29
   6/2/2019 Tomas Roberto Gonzalez Munoz          $10.50   82.77   $    8.85         $   224.53   $    224.53
   6/9/2019 Tomas Roberto Gonzalez Munoz          $10.50   83.67   $    8.85         $   229.25   $    229.25
  6/16/2019 Tomas Roberto Gonzalez Munoz          $10.50   83.88   $    8.85         $   230.39   $    230.39
  6/23/2019 Tomas Roberto Gonzalez Munoz          $10.50   84.17   $    8.85         $   231.88   $    231.88
  6/30/2019 Tomas Roberto Gonzalez Munoz          $10.50   85.88   $   10.00         $   240.89   $    240.89
   7/7/2019 Tomas Roberto Gonzalez Munoz          $11.50   82.83   $   10.00         $   246.29   $    246.29
  7/14/2019 Tomas Roberto Gonzalez Munoz          $11.50   86.47   $   10.00         $   267.18   $    267.18
  7/21/2019 Tomas Roberto Gonzalez Munoz          $11.50   85.93   $   10.00         $   264.12   $    264.12
  8/11/2019 Tomas Roberto Gonzalez Munoz          $11.50   76.80   $   10.00         $   211.60   $    211.60
  8/18/2019 Tomas Roberto Gonzalez Munoz          $11.50   63.97   $   10.00         $   137.81   $    137.81
  8/25/2019 Tomas Roberto Gonzalez Munoz          $11.50   76.27   $   10.00         $   208.53   $    208.53



                                                    627
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 629 of 683 PageID: 1476
                                                   Exhibit 2
                                           New Jersey Computations


   Week                                                           State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
  Ending                     Name                               Minumum Regular    Half-Time Overtime Back
                                                   Rate Week
   Date                                                           Wage  Rate Due     Due       Wages Due

   9/1/2019 Tomas Roberto Gonzalez Munoz          $11.50   77.02   $   10.00               $   212.85   $   212.85
   9/8/2019 Tomas Roberto Gonzalez Munoz          $11.50   74.68   $   10.00               $   199.43   $   199.43
  9/15/2019 Tomas Roberto Gonzalez Munoz          $12.00   77.18   $   10.00               $   223.10   $   223.10
  9/22/2019 Tomas Roberto Gonzalez Munoz          $12.00   76.75   $   10.00               $   220.50   $   220.50
  9/29/2019 Tomas Roberto Gonzalez Munoz          $12.00   77.73   $   10.00               $   226.40   $   226.40
  10/6/2019 Tomas Roberto Gonzalez Munoz          $12.00   77.50   $   10.00               $   225.00   $   225.00
 10/13/2019 Tomas Roberto Gonzalez Munoz          $12.00   77.30   $   10.00               $   223.80   $   223.80
 10/20/2019 Tomas Roberto Gonzalez Munoz          $12.00   77.28   $   10.00               $   223.70   $   223.70
 10/27/2019 Tomas Roberto Gonzalez Munoz          $12.00   76.95   $   10.00               $   221.70   $   221.70
  11/3/2019 Tomas Roberto Gonzalez Munoz          $12.00   77.08   $   10.00               $   222.50   $   222.50
 11/10/2019 Tomas Roberto Gonzalez Munoz          $12.00   77.08   $   10.00               $   222.50   $   222.50
 11/17/2019 Tomas Roberto Gonzalez Munoz          $12.00   77.00   $   10.00               $   222.00   $   222.00
 11/24/2019 Tomas Roberto Gonzalez Munoz          $12.00   77.25   $   10.00               $   223.50   $   223.50
  12/1/2019 Tomas Roberto Gonzalez Munoz          $12.00   66.03   $   10.00               $   156.20   $   156.20
  12/8/2019 Tomas Roberto Gonzalez Munoz          $12.00   77.35   $   10.00               $   224.10   $   224.10
 12/15/2019 Tomas Roberto Gonzalez Munoz          $12.00   76.42   $   10.00               $   218.50   $   218.50
 12/22/2019 Tomas Roberto Gonzalez Munoz          $12.00   76.67   $   10.00               $   220.00   $   220.00
 12/29/2019 Tomas Roberto Gonzalez Munoz          $12.00   52.30   $   10.00               $    73.80   $    73.80
   1/5/2020 Tomas Roberto Gonzalez Munoz          $12.00   62.40   $   11.00               $   134.40   $   134.40
  1/12/2020 Tomas Roberto Gonzalez Munoz          $12.00   73.38   $   11.00               $   200.30   $   200.30
  1/19/2020 Tomas Roberto Gonzalez Munoz          $12.00   75.38   $   11.00               $   212.30   $   212.30
  1/26/2020 Tomas Roberto Gonzalez Munoz          $12.00   58.58   $   11.00               $   111.50   $   111.50
  9/15/2019 Tristan Gregory Sanchez                $9.50   59.70   $   10.00   $   29.85   $    98.50   $   128.35
  9/22/2019 Tristan Gregory Sanchez                $9.50   59.03   $   10.00   $   29.52   $    95.17   $   124.68
  9/29/2019 Tristan Gregory Sanchez                $9.50   59.02   $   10.00   $   29.51   $    95.08   $   124.59
  10/6/2019 Tristan Gregory Sanchez                $9.50   60.05   $   10.00   $   30.03   $   100.25   $   130.28
 10/13/2019 Tristan Gregory Sanchez                $9.50   60.85   $   10.00   $   30.43   $   104.25   $   134.68
 10/20/2019 Tristan Gregory Sanchez                $9.50   61.35   $   10.00   $   30.68   $   106.75   $   137.43
 10/27/2019 Tristan Gregory Sanchez                $9.50   60.43   $   10.00   $   30.22   $   102.17   $   132.38
  11/3/2019 Tristan Gregory Sanchez                $9.50   59.92   $   10.00   $   29.96   $    99.58   $   129.54
 11/10/2019 Tristan Gregory Sanchez                $9.50   61.42   $   10.00   $   30.71   $   107.08   $   137.79
 11/17/2019 Tristan Gregory Sanchez                $9.50   60.35   $   10.00   $   30.18   $   101.75   $   131.93
 11/24/2019 Tristan Gregory Sanchez                $9.50   58.92   $   10.00   $   29.46   $    94.58   $   124.04
  12/1/2019 Tristan Gregory Sanchez                $9.50   52.02   $   10.00   $   26.01   $    60.08   $    86.09
  12/8/2019 Tristan Gregory Sanchez                $9.50   60.67   $   10.00   $   30.33   $   103.33   $   133.67
 12/15/2019 Tristan Gregory Sanchez                $9.50   62.22   $   10.00   $   31.11   $   111.08   $   142.19
 12/22/2019 Tristan Gregory Sanchez                $9.50   63.33   $   10.00   $   31.67   $   116.67   $   148.33
 12/29/2019 Tristan Gregory Sanchez                $9.50   45.47   $   10.00   $   22.73   $    27.33   $    50.07
  5/20/2018 Turlin Almonte Payano                 $10.00   46.60   $    8.60               $    33.00   $    33.00
  5/27/2018 Turlin Almonte Payano                 $10.00   59.68   $    8.60               $    98.42   $    98.42
   6/3/2018 Turlin Almonte Payano                 $10.00   66.17   $    8.60               $   130.83   $   130.83
  6/10/2018 Turlin Almonte Payano                 $10.00   60.37   $    8.60               $   101.83   $   101.83
  6/17/2018 Turlin Almonte Payano                 $10.00   76.75   $    8.60               $   183.75   $   183.75
  6/24/2018 Turlin Almonte Payano                 $10.00   77.08   $    8.60               $   185.42   $   185.42
   7/1/2018 Turlin Almonte Payano                 $10.00   71.35   $    8.60               $   156.75   $   156.75
   7/8/2018 Turlin Almonte Payano                 $10.00   63.13   $    8.60               $   115.67   $   115.67
  7/15/2018 Turlin Almonte Payano                 $10.00   75.40   $    8.60               $   177.00   $   177.00
  7/22/2018 Turlin Almonte Payano                 $10.00   72.72   $    8.60               $   163.58   $   163.58
  7/29/2018 Turlin Almonte Payano                 $10.00   60.03   $    8.60               $   100.17   $   100.17
   8/5/2018 Turlin Almonte Payano                 $10.00   69.68   $    8.60               $   148.42   $   148.42



                                                    628
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 630 of 683 PageID: 1477
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  8/12/2018 Turlin Almonte Payano            $10.00   70.70   $    8.60         $   153.50   $    153.50
  8/19/2018 Turlin Almonte Payano            $10.00   74.12   $    8.60         $   170.58   $    170.58
  8/26/2018 Turlin Almonte Payano            $10.00   72.87   $    8.60         $   164.33   $    164.33
   9/2/2018 Turlin Almonte Payano            $10.00   72.70   $    8.60         $   163.50   $    163.50
   9/9/2018 Turlin Almonte Payano            $10.00   61.22   $    8.60         $   106.08   $    106.08
  9/16/2018 Turlin Almonte Payano            $10.00   60.55   $    8.60         $   102.75   $    102.75
  9/23/2018 Turlin Almonte Payano            $10.00   49.98   $    8.60         $    49.92   $     49.92
  9/30/2018 Turlin Almonte Payano            $10.00   60.02   $    8.60         $   100.08   $    100.08
  10/7/2018 Turlin Almonte Payano            $10.00   60.03   $    8.60         $   100.17   $    100.17
 10/14/2018 Turlin Almonte Payano            $10.00   49.90   $    8.60         $    49.50   $     49.50
 10/21/2018 Turlin Almonte Payano            $10.00   60.27   $    8.60         $   101.33   $    101.33
 10/28/2018 Turlin Almonte Payano            $10.00   59.75   $    8.60         $    98.75   $     98.75
  11/4/2018 Turlin Almonte Payano            $10.00   59.17   $    8.60         $    95.83   $     95.83
 11/11/2018 Turlin Almonte Payano            $10.00   58.95   $    8.60         $    94.75   $     94.75
 11/18/2018 Turlin Almonte Payano            $10.00   54.15   $    8.60         $    70.75   $     70.75
 11/25/2018 Turlin Almonte Payano            $10.00   52.67   $    8.60         $    63.33   $     63.33
  12/2/2018 Turlin Almonte Payano            $10.00   60.50   $    8.60         $   102.50   $    102.50
  12/9/2018 Turlin Almonte Payano            $10.00   60.70   $    8.60         $   103.50   $    103.50
 12/16/2018 Turlin Almonte Payano            $10.00   59.55   $    8.60         $    97.75   $     97.75
 12/23/2018 Turlin Almonte Payano            $10.00   56.12   $    8.60         $    80.58   $     80.58
   1/6/2019 Turlin Almonte Payano            $10.00   56.97   $    8.85         $    84.83   $     84.83
  1/13/2019 Turlin Almonte Payano            $10.00   59.63   $    8.85         $    98.17   $     98.17
  1/20/2019 Turlin Almonte Payano            $10.00   59.55   $    8.85         $    97.75   $     97.75
  1/27/2019 Turlin Almonte Payano            $10.00   57.65   $    8.85         $    88.25   $     88.25
   2/3/2019 Turlin Almonte Payano            $10.00   59.70   $    8.85         $    98.50   $     98.50
  2/10/2019 Turlin Almonte Payano            $10.00   55.33   $    8.85         $    76.67   $     76.67
  2/17/2019 Turlin Almonte Payano            $10.00   49.77   $    8.85         $    48.83   $     48.83
  2/24/2019 Turlin Almonte Payano            $10.00   59.65   $    8.85         $    98.25   $     98.25
   3/3/2019 Turlin Almonte Payano            $10.00   59.87   $    8.85         $    99.33   $     99.33
  3/10/2019 Turlin Almonte Payano            $10.00   60.17   $    8.85         $   100.83   $    100.83
  3/17/2019 Turlin Almonte Payano            $10.00   50.03   $    8.85         $    50.17   $     50.17
  3/24/2019 Turlin Almonte Payano            $10.00   59.95   $    8.85         $    99.75   $     99.75
  3/31/2019 Turlin Almonte Payano            $10.00   60.47   $    8.85         $   102.33   $    102.33
   4/7/2019 Turlin Almonte Payano            $10.00   58.20   $    8.85         $    91.00   $     91.00
  4/14/2019 Turlin Almonte Payano            $10.00   40.13   $    8.85         $     0.67   $      0.67
  4/21/2019 Turlin Almonte Payano            $10.00   58.75   $    8.85         $    93.75   $     93.75
  4/28/2019 Turlin Almonte Payano            $10.00   61.05   $    8.85         $   105.25   $    105.25
   5/5/2019 Turlin Almonte Payano            $10.00   59.60   $    8.85         $    98.00   $     98.00
  5/19/2019 Turlin Almonte Payano            $10.00   59.92   $    8.85         $    99.58   $     99.58
  5/26/2019 Turlin Almonte Payano            $10.00   57.32   $    8.85         $    86.58   $     86.58
   6/2/2019 Turlin Almonte Payano            $10.00   49.43   $    8.85         $    47.17   $     47.17
   6/9/2019 Turlin Almonte Payano            $10.00   60.58   $    8.85         $   102.92   $    102.92
  6/16/2019 Turlin Almonte Payano            $10.00   50.05   $    8.85         $    50.25   $     50.25
  6/23/2019 Turlin Almonte Payano            $10.00   60.22   $    8.85         $   101.08   $    101.08
  6/30/2019 Turlin Almonte Payano            $10.00   53.22   $   10.00         $    66.08   $     66.08
   7/7/2019 Turlin Almonte Payano            $11.00   48.33   $   10.00         $    45.83   $     45.83
  7/14/2019 Turlin Almonte Payano            $11.00   60.40   $   10.00         $   112.20   $    112.20
  7/21/2019 Turlin Almonte Payano            $11.00   58.15   $   10.00         $    99.83   $     99.83
  7/28/2019 Turlin Almonte Payano            $11.00   50.08   $   10.00         $    55.46   $     55.46
   8/4/2019 Turlin Almonte Payano            $11.00   50.13   $   10.00         $    55.73   $     55.73



                                               629
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 631 of 683 PageID: 1478
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  8/11/2019 Turlin Almonte Payano            $11.00   60.18   $   10.00         $   111.01   $    111.01
  8/18/2019 Turlin Almonte Payano            $11.00   60.07   $   10.00         $   110.37   $    110.37
  8/25/2019 Turlin Almonte Payano            $11.00   59.83   $   10.00         $   109.08   $    109.08
   9/1/2019 Turlin Almonte Payano            $11.00   47.20   $   10.00         $    39.60   $     39.60
   9/8/2019 Turlin Almonte Payano            $11.00   49.48   $   10.00         $    52.16   $     52.16
  9/15/2019 Turlin Almonte Payano            $11.00   58.82   $   10.00         $   103.49   $    103.49
  9/22/2019 Turlin Almonte Payano            $11.00   59.63   $   10.00         $   107.98   $    107.98
  9/29/2019 Turlin Almonte Payano            $11.00   59.17   $   10.00         $   105.42   $    105.42
  10/6/2019 Turlin Almonte Payano            $11.00   59.55   $   10.00         $   107.53   $    107.53
 10/13/2019 Turlin Almonte Payano            $11.00   47.90   $   10.00         $    43.45   $     43.45
 10/20/2019 Turlin Almonte Payano            $11.00   52.23   $   10.00         $    67.28   $     67.28
 10/27/2019 Turlin Almonte Payano            $11.00   53.65   $   10.00         $    75.08   $     75.08
  11/3/2019 Turlin Almonte Payano            $11.00   53.57   $   10.00         $    74.62   $     74.62
 11/10/2019 Turlin Almonte Payano            $11.00   51.82   $   10.00         $    64.99   $     64.99
 11/17/2019 Turlin Almonte Payano            $11.00   53.92   $   10.00         $    76.54   $     76.54
 11/24/2019 Turlin Almonte Payano            $11.00   43.67   $   10.00         $    20.17   $     20.17
  12/1/2019 Turlin Almonte Payano            $11.00   44.35   $   10.00         $    23.93   $     23.93
  12/8/2019 Turlin Almonte Payano            $11.00   52.12   $   10.00         $    66.64   $     66.64
 12/15/2019 Turlin Almonte Payano            $11.00   50.97   $   10.00         $    60.32   $     60.32
 12/22/2019 Turlin Almonte Payano            $11.00   56.92   $   10.00         $    93.04   $     93.04
   1/5/2020 Turlin Almonte Payano            $11.00   48.33   $   11.00         $    45.83   $     45.83
  1/12/2020 Turlin Almonte Payano            $11.00   50.00   $   11.00         $    55.00   $     55.00
  1/19/2020 Turlin Almonte Payano            $11.00   59.20   $   11.00         $   105.60   $    105.60
  1/26/2020 Turlin Almonte Payano            $11.00   61.95   $   11.00         $   120.73   $    120.73
   5/7/2017 Ulises Reyes                     $10.00   53.85   $    8.44         $    69.25   $     69.25
  5/21/2017 Ulises Reyes                     $10.00   67.93   $    8.44         $   139.67   $    139.67
  5/28/2017 Ulises Reyes                     $10.00   81.48   $    8.44         $   207.42   $    207.42
   6/4/2017 Ulises Reyes                     $10.00   78.88   $    8.44         $   194.42   $    194.42
  6/11/2017 Ulises Reyes                     $10.00   61.67   $    8.44         $   108.33   $    108.33
  6/18/2017 Ulises Reyes                     $10.00   64.78   $    8.44         $   123.92   $    123.92
  6/25/2017 Ulises Reyes                     $10.00   63.42   $    8.44         $   117.08   $    117.08
   7/2/2017 Ulises Reyes                     $10.00   78.75   $    8.44         $   193.75   $    193.75
   7/9/2017 Ulises Reyes                     $10.00   69.50   $    8.44         $   147.50   $    147.50
  7/16/2017 Ulises Reyes                     $10.00   63.67   $    8.44         $   118.33   $    118.33
  7/23/2017 Ulises Reyes                     $10.00   68.02   $    8.44         $   140.08   $    140.08
  7/30/2017 Ulises Reyes                     $10.00   70.80   $    8.44         $   154.00   $    154.00
  8/20/2017 Ulises Reyes                     $10.00   64.75   $    8.44         $   123.75   $    123.75
  8/27/2017 Ulises Reyes                     $10.00   64.60   $    8.44         $   123.00   $    123.00
   9/3/2017 Ulises Reyes                     $10.00   72.45   $    8.44         $   162.25   $    162.25
  9/10/2017 Ulises Reyes                     $10.00   62.95   $    8.44         $   114.75   $    114.75
  9/17/2017 Ulises Reyes                     $10.00   44.47   $    8.44         $    22.33   $     22.33
  12/3/2017 Ulises Reyes                     $10.00   74.65   $    8.44         $   173.25   $    173.25
 12/10/2017 Ulises Reyes                     $10.00   73.62   $    8.44         $   168.08   $    168.08
 12/17/2017 Ulises Reyes                     $10.00   75.52   $    8.44         $   177.58   $    177.58
  1/21/2018 Ulises Reyes                     $10.00   58.10   $    8.60         $    90.50   $     90.50
  1/28/2018 Ulises Reyes                     $10.00   73.32   $    8.60         $   166.58   $    166.58
   2/4/2018 Ulises Reyes                     $10.00   72.80   $    8.60         $   164.00   $    164.00
  2/11/2018 Ulises Reyes                     $10.00   74.35   $    8.60         $   171.75   $    171.75
  2/18/2018 Ulises Reyes                     $10.00   72.22   $    8.60         $   161.08   $    161.08
  2/25/2018 Ulises Reyes                     $10.00   74.57   $    8.60         $   172.83   $    172.83



                                               630
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 632 of 683 PageID: 1479
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                        Name                          Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

   3/4/2018 Ulises Reyes                        $10.00   71.25   $    8.60               $   156.25   $   156.25
  3/25/2018 Ulises Reyes                        $10.00   77.15   $    8.60               $   185.75   $   185.75
   4/1/2018 Ulises Reyes                        $10.00   78.18   $    8.60               $   190.92   $   190.92
   4/8/2018 Ulises Reyes                        $10.00   78.05   $    8.60               $   190.25   $   190.25
  4/15/2018 Ulises Reyes                        $10.00   62.95   $    8.60               $   114.75   $   114.75
  4/22/2018 Ulises Reyes                        $10.00   46.45   $    8.60               $    32.25   $    32.25
  4/29/2018 Ulises Reyes                        $10.00   66.53   $    8.60               $   132.67   $   132.67
   5/6/2018 Ulises Reyes                        $10.00   65.18   $    8.60               $   125.92   $   125.92
  5/13/2018 Ulises Reyes                        $10.00   78.90   $    8.60               $   194.50   $   194.50
  5/20/2018 Ulises Reyes                        $10.00   77.53   $    8.60               $   187.67   $   187.67
  5/27/2018 Ulises Reyes                        $10.00   79.43   $    8.60               $   197.17   $   197.17
   6/3/2018 Ulises Reyes                        $10.00   72.63   $    8.60               $   163.17   $   163.17
  6/10/2018 Ulises Reyes                        $10.00   64.05   $    8.60               $   120.25   $   120.25
  6/17/2018 Ulises Reyes                        $10.00   72.52   $    8.60               $   162.58   $   162.58
  6/24/2018 Ulises Reyes                        $10.00   58.95   $    8.60               $    94.75   $    94.75
   7/1/2018 Ulises Reyes                        $10.00   71.15   $    8.60               $   155.75   $   155.75
   7/8/2018 Ulises Reyes                        $10.00   51.18   $    8.60               $    55.92   $    55.92
   7/7/2019 Victor Alfonos Mejia Ponce          $10.00   47.43   $   10.00               $    37.17   $    37.17
  7/14/2019 Victor Alfonos Mejia Ponce          $10.00   61.22   $   10.00               $   106.08   $   106.08
  7/21/2019 Victor Alfonos Mejia Ponce          $10.00   72.92   $   10.00               $   164.58   $   164.58
  7/28/2019 Victor Alfonos Mejia Ponce          $10.00   70.68   $   10.00               $   153.42   $   153.42
   8/4/2019 Victor Alfonos Mejia Ponce          $10.00   69.68   $   10.00               $   148.42   $   148.42
  8/11/2019 Victor Alfonos Mejia Ponce          $10.00   72.23   $   10.00               $   161.17   $   161.17
  8/18/2019 Victor Alfonos Mejia Ponce          $10.00   70.07   $   10.00               $   150.33   $   150.33
  8/25/2019 Victor Alfonos Mejia Ponce          $10.00   73.52   $   10.00               $   167.58   $   167.58
   9/1/2019 Victor Alfonos Mejia Ponce          $10.00   71.32   $   10.00               $   156.58   $   156.58
   9/8/2019 Victor Alfonos Mejia Ponce          $10.00   67.88   $   10.00               $   139.42   $   139.42
  9/15/2019 Victor Alfonos Mejia Ponce          $10.00   69.65   $   10.00               $   148.25   $   148.25
  9/22/2019 Victor Alfonos Mejia Ponce          $10.00   70.73   $   10.00               $   153.67   $   153.67
  9/29/2019 Victor Alfonos Mejia Ponce          $10.00   72.03   $   10.00               $   160.17   $   160.17
  10/6/2019 Victor Alfonos Mejia Ponce          $10.00   73.40   $   10.00               $   167.00   $   167.00
 10/13/2019 Victor Alfonos Mejia Ponce          $10.00   70.27   $   10.00               $   151.33   $   151.33
 10/20/2019 Victor Alfonos Mejia Ponce          $10.00   67.80   $   10.00               $   139.00   $   139.00
 10/27/2019 Victor Alfonos Mejia Ponce          $10.00   73.57   $   10.00               $   167.83   $   167.83
  11/3/2019 Victor Alfonos Mejia Ponce          $10.00   70.13   $   10.00               $   150.67   $   150.67
 11/10/2019 Victor Alfonos Mejia Ponce          $10.00   71.97   $   10.00               $   159.83   $   159.83
 11/17/2019 Victor Alfonos Mejia Ponce          $10.00   67.85   $   10.00               $   139.25   $   139.25
 11/24/2019 Victor Alfonos Mejia Ponce          $10.00   70.00   $   10.00               $   150.00   $   150.00
  12/1/2019 Victor Alfonos Mejia Ponce          $10.00   63.33   $   10.00               $   116.67   $   116.67
  12/8/2019 Victor Alfonos Mejia Ponce          $10.00   73.90   $   10.00               $   169.50   $   169.50
 12/15/2019 Victor Alfonos Mejia Ponce          $10.00   69.63   $   10.00               $   148.17   $   148.17
 12/22/2019 Victor Alfonos Mejia Ponce          $10.00   67.23   $   10.00               $   136.17   $   136.17
 12/29/2019 Victor Alfonos Mejia Ponce          $10.00   47.87   $   10.00               $    39.33   $    39.33
   1/5/2020 Victor Alfonos Mejia Ponce          $10.00   58.92   $   11.00   $   58.92   $   104.04   $   162.96
  1/12/2020 Victor Alfonos Mejia Ponce          $10.00   71.98   $   11.00   $   71.98   $   175.91   $   247.89
  1/19/2020 Victor Alfonos Mejia Ponce          $10.00   72.65   $   11.00   $   72.65   $   179.58   $   252.23
  1/26/2020 Victor Alfonos Mejia Ponce          $10.00   72.12   $   11.00   $   72.12   $   176.64   $   248.76
  4/30/2017 Victor Almanzar                     $10.00   50.75   $    8.44               $    53.75   $    53.75
   5/7/2017 Victor Almanzar                     $10.00   59.78   $    8.44               $    98.92   $    98.92
  5/14/2017 Victor Almanzar                     $10.00   56.53   $    8.44               $    82.67   $    82.67



                                                  631
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 633 of 683 PageID: 1480
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  5/21/2017 Victor Almanzar                 $10.00   65.42   $   8.44          $   127.08   $    127.08
  5/28/2017 Victor Almanzar                 $10.00   64.53   $   8.44          $   122.67   $    122.67
   6/4/2017 Victor Almanzar                 $10.00   64.77   $   8.44          $   123.83   $    123.83
  6/11/2017 Victor Almanzar                 $10.00   67.72   $   8.44          $   138.58   $    138.58
  6/18/2017 Victor Almanzar                 $10.00   63.48   $   8.44          $   117.42   $    117.42
  6/25/2017 Victor Almanzar                 $10.00   55.70   $   8.44          $    78.50   $     78.50
   7/2/2017 Victor Almanzar                 $10.00   66.57   $   8.44          $   132.83   $    132.83
   7/9/2017 Victor Almanzar                 $10.00   52.10   $   8.44          $    60.50   $     60.50
  7/16/2017 Victor Almanzar                 $10.00   65.50   $   8.44          $   127.50   $    127.50
  7/23/2017 Victor Almanzar                 $10.00   64.27   $   8.44          $   121.33   $    121.33
  7/30/2017 Victor Almanzar                 $10.00   50.57   $   8.44          $    52.83   $     52.83
   8/6/2017 Victor Almanzar                 $10.00   59.10   $   8.44          $    95.50   $     95.50
  8/13/2017 Victor Almanzar                 $10.00   58.98   $   8.44          $    94.92   $     94.92
  8/20/2017 Victor Almanzar                 $10.00   59.45   $   8.44          $    97.25   $     97.25
  8/27/2017 Victor Almanzar                 $10.00   58.28   $   8.44          $    91.42   $     91.42
   9/3/2017 Victor Almanzar                 $10.00   50.12   $   8.44          $    50.58   $     50.58
  9/10/2017 Victor Almanzar                 $10.00   49.28   $   8.44          $    46.42   $     46.42
  9/17/2017 Victor Almanzar                 $10.00   60.05   $   8.44          $   100.25   $    100.25
  9/24/2017 Victor Almanzar                 $10.00   60.23   $   8.44          $   101.17   $    101.17
  10/1/2017 Victor Almanzar                 $10.00   59.03   $   8.44          $    95.17   $     95.17
  10/8/2017 Victor Almanzar                 $10.00   57.70   $   8.44          $    88.50   $     88.50
 10/15/2017 Victor Almanzar                 $10.00   56.12   $   8.44          $    80.58   $     80.58
 10/22/2017 Victor Almanzar                 $10.00   58.97   $   8.44          $    94.83   $     94.83
 10/29/2017 Victor Almanzar                 $10.00   59.68   $   8.44          $    98.42   $     98.42
  11/5/2017 Victor Almanzar                 $10.00   58.67   $   8.44          $    93.33   $     93.33
 11/12/2017 Victor Almanzar                 $10.00   57.45   $   8.44          $    87.25   $     87.25
 11/19/2017 Victor Almanzar                 $10.00   54.43   $   8.44          $    72.17   $     72.17
  12/3/2017 Victor Almanzar                 $10.00   59.47   $   8.44          $    97.33   $     97.33
 12/10/2017 Victor Almanzar                 $10.00   56.50   $   8.44          $    82.50   $     82.50
 12/17/2017 Victor Almanzar                 $10.00   58.12   $   8.44          $    90.58   $     90.58
 12/24/2017 Victor Almanzar                 $10.00   60.00   $   8.44          $   100.00   $    100.00
 12/31/2017 Victor Almanzar                 $10.00   49.53   $   8.44          $    47.67   $     47.67
  1/14/2018 Victor Almanzar                 $10.00   55.73   $   8.60          $    78.67   $     78.67
  1/21/2018 Victor Almanzar                 $10.00   56.35   $   8.60          $    81.75   $     81.75
  1/28/2018 Victor Almanzar                 $10.00   59.10   $   8.60          $    95.50   $     95.50
   2/4/2018 Victor Almanzar                 $10.00   60.37   $   8.60          $   101.83   $    101.83
  2/11/2018 Victor Almanzar                 $10.00   59.80   $   8.60          $    99.00   $     99.00
  2/18/2018 Victor Almanzar                 $10.00   56.05   $   8.60          $    80.25   $     80.25
  2/25/2018 Victor Almanzar                 $10.00   59.27   $   8.60          $    96.33   $     96.33
   3/4/2018 Victor Almanzar                 $10.00   62.30   $   8.60          $   111.50   $    111.50
  3/25/2018 Victor Almanzar                 $10.00   49.12   $   8.60          $    45.58   $     45.58
   4/1/2018 Victor Almanzar                 $10.00   61.22   $   8.60          $   106.08   $    106.08
   4/8/2018 Victor Almanzar                 $10.00   59.32   $   8.60          $    96.58   $     96.58
  4/15/2018 Victor Almanzar                 $10.00   48.98   $   8.60          $    44.92   $     44.92
  4/22/2018 Victor Almanzar                 $10.00   54.80   $   8.60          $    74.00   $     74.00
  4/29/2018 Victor Almanzar                 $10.00   50.98   $   8.60          $    54.92   $     54.92
   5/6/2018 Victor Almanzar                 $10.00   59.95   $   8.60          $    99.75   $     99.75
  5/13/2018 Victor Almanzar                 $10.00   59.85   $   8.60          $    99.25   $     99.25
  5/20/2018 Victor Almanzar                 $10.00   59.75   $   8.60          $    98.75   $     98.75
  5/27/2018 Victor Almanzar                 $10.00   57.00   $   8.60          $    85.00   $     85.00



                                              632
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 634 of 683 PageID: 1481
                                                      Exhibit 2
                                              New Jersey Computations


   Week                                                              State Section 7: Section 7: Total Section 7
                                                     Hourly Hours/
  Ending                        Name                               Minumum Regular    Half-Time Overtime Back
                                                      Rate Week
   Date                                                              Wage  Rate Due     Due       Wages Due

  1/13/2019 Victor Calles                            $16.50   49.47   $    8.85               $    78.10   $    78.10
  1/20/2019 Victor Calles                            $16.50   58.92   $    8.85               $   156.06   $   156.06
  1/27/2019 Victor Calles                            $16.50   58.37   $    8.85               $   151.53   $   151.53
   2/3/2019 Victor Calles                            $16.50   58.63   $    8.85               $   153.73   $   153.73
  2/10/2019 Victor Calles                            $16.50   59.80   $    8.85               $   163.35   $   163.35
  2/17/2019 Victor Calles                            $16.50   50.10   $    8.85               $    83.33   $    83.33
  2/24/2019 Victor Calles                            $16.50   53.52   $    8.85               $   111.51   $   111.51
   3/3/2019 Victor Calles                            $16.50   60.42   $    8.85               $   168.44   $   168.44
  3/10/2019 Victor Calles                            $16.50   59.00   $    8.85               $   156.75   $   156.75
  3/17/2019 Victor Calles                            $16.50   60.32   $    8.85               $   167.61   $   167.61
 10/20/2019 Victor Daniel Sanchez Rodriguez           $9.50   54.78   $   10.00   $   27.39   $    73.92   $   101.31
 10/27/2019 Victor Daniel Sanchez Rodriguez           $9.50   55.02   $   10.00   $   27.51   $    75.08   $   102.59
  11/3/2019 Victor Daniel Sanchez Rodriguez           $9.50   45.13   $   10.00   $   22.57   $    25.67   $    48.23
 11/10/2019 Victor Daniel Sanchez Rodriguez           $9.50   54.67   $   10.00   $   27.33   $    73.33   $   100.67
 11/17/2019 Victor Daniel Sanchez Rodriguez           $9.50   47.38   $   10.00   $   23.69   $    36.92   $    60.61
   1/5/2020 Victor Flores                            $11.00   53.33   $   11.00               $    73.33   $    73.33
  1/12/2020 Victor Flores                            $11.00   63.45   $   11.00               $   128.98   $   128.98
  1/19/2020 Victor Flores                            $11.00   60.38   $   11.00               $   112.11   $   112.11
  1/26/2020 Victor Flores                            $11.00   63.57   $   11.00               $   129.62   $   129.62
   9/8/2019 Victor Garcia                            $11.00   57.33   $   10.00               $    95.33   $    95.33
  9/15/2019 Victor Garcia                            $11.00   50.42   $   10.00               $    57.29   $    57.29
  9/29/2019 Victor Garcia                            $11.00   49.70   $   10.00               $    53.35   $    53.35
  4/28/2019 Victor Hugo Flores Reyes                  $9.50   61.85   $    8.85               $   103.79   $   103.79
   5/5/2019 Victor Hugo Flores Reyes                  $9.50   65.40   $    8.85               $   120.65   $   120.65
   2/5/2017 Victor Huz                               $10.50   58.68   $    8.44               $    98.09   $    98.09
  2/12/2017 Victor Huz                               $10.50   47.22   $    8.44               $    37.89   $    37.89
  2/19/2017 Victor Huz                               $10.50   58.18   $    8.44               $    95.46   $    95.46
  2/26/2017 Victor Huz                               $10.50   49.25   $    8.44               $    48.56   $    48.56
   3/5/2017 Victor Huz                               $10.50   58.27   $    8.44               $    95.90   $    95.90
  3/12/2017 Victor Huz                               $10.50   48.92   $    8.44               $    46.81   $    46.81
  3/19/2017 Victor Huz                               $10.50   48.63   $    8.44               $    45.33   $    45.33
  3/26/2017 Victor Huz                               $10.50   58.67   $    8.44               $    98.00   $    98.00
   4/2/2017 Victor Huz                               $10.50   58.45   $    8.44               $    96.86   $    96.86
   4/9/2017 Victor Huz                               $10.50   58.38   $    8.44               $    96.51   $    96.51
  4/16/2017 Victor Huz                               $10.50   40.28   $    8.44               $     1.49   $     1.49
  4/23/2017 Victor Huz                               $10.50   58.97   $    8.44               $    99.58   $    99.58
  4/30/2017 Victor Huz                               $10.50   58.77   $    8.44               $    98.53   $    98.53
   5/7/2017 Victor Huz                               $10.50   59.20   $    8.44               $   100.80   $   100.80
  5/14/2017 Victor Huz                               $10.50   59.32   $    8.44               $   101.41   $   101.41
  5/21/2017 Victor Huz                               $10.50   58.98   $    8.44               $    99.66   $    99.66
  5/28/2017 Victor Huz                               $10.50   57.98   $    8.44               $    94.41   $    94.41
   6/4/2017 Victor Huz                               $10.50   49.55   $    8.44               $    50.14   $    50.14
  6/11/2017 Victor Huz                               $10.50   59.00   $    8.44               $    99.75   $    99.75
  6/18/2017 Victor Huz                               $10.50   58.67   $    8.44               $    98.00   $    98.00
  6/25/2017 Victor Huz                               $10.50   58.37   $    8.44               $    96.43   $    96.43
   7/2/2017 Victor Huz                               $10.50   59.57   $    8.44               $   102.73   $   102.73
   7/9/2017 Victor Huz                               $10.50   49.45   $    8.44               $    49.61   $    49.61
  7/16/2017 Victor Huz                               $10.50   59.02   $    8.44               $    99.84   $    99.84
  7/23/2017 Victor Huz                               $10.50   59.67   $    8.44               $   103.25   $   103.25
  7/30/2017 Victor Huz                               $10.50   59.95   $    8.44               $   104.74   $   104.74



                                                       633
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 635 of 683 PageID: 1482
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

   8/6/2017 Victor Huz                        $10.50   60.12   $   8.44          $   105.61   $    105.61
  8/13/2017 Victor Huz                        $10.50   58.87   $   8.44          $    99.05   $     99.05
  8/20/2017 Victor Huz                        $10.50   59.38   $   8.44          $   101.76   $    101.76
  8/27/2017 Victor Huz                        $10.50   58.72   $   8.44          $    98.26   $     98.26
   9/3/2017 Victor Huz                        $10.50   60.10   $   8.44          $   105.53   $    105.53
  9/10/2017 Victor Huz                        $10.50   48.25   $   8.44          $    43.31   $     43.31
  9/17/2017 Victor Huz                        $10.50   49.48   $   8.44          $    49.79   $     49.79
 10/29/2017 Victor Huz                        $11.00   60.55   $   8.44          $   113.03   $    113.03
  11/5/2017 Victor Huz                        $11.00   54.68   $   8.44          $    80.76   $     80.76
 11/12/2017 Victor Huz                        $11.00   60.55   $   8.44          $   113.03   $    113.03
 11/19/2017 Victor Huz                        $11.00   59.37   $   8.44          $   106.52   $    106.52
   5/7/2017 Victor Manuel Grullon             $10.00   65.92   $   8.44          $   129.58   $    129.58
  5/21/2017 Victor Manuel Grullon             $10.00   61.92   $   8.44          $   109.58   $    109.58
  5/28/2017 Victor Manuel Grullon             $10.00   81.48   $   8.44          $   207.42   $    207.42
   6/4/2017 Victor Manuel Grullon             $10.00   76.85   $   8.44          $   184.25   $    184.25
  6/11/2017 Victor Manuel Grullon             $10.00   64.27   $   8.44          $   121.33   $    121.33
  6/18/2017 Victor Manuel Grullon             $10.00   61.80   $   8.44          $   109.00   $    109.00
  6/25/2017 Victor Manuel Grullon             $10.00   63.50   $   8.44          $   117.50   $    117.50
   7/2/2017 Victor Manuel Grullon             $10.00   78.87   $   8.44          $   194.33   $    194.33
   7/9/2017 Victor Manuel Grullon             $10.00   70.70   $   8.44          $   153.50   $    153.50
  7/16/2017 Victor Manuel Grullon             $10.00   76.90   $   8.44          $   184.50   $    184.50
  7/23/2017 Victor Manuel Grullon             $10.00   63.28   $   8.44          $   116.42   $    116.42
  7/30/2017 Victor Manuel Grullon             $10.00   78.83   $   8.44          $   194.17   $    194.17
  8/20/2017 Victor Manuel Grullon             $10.00   68.07   $   8.44          $   140.33   $    140.33
  8/27/2017 Victor Manuel Grullon             $10.00   64.60   $   8.44          $   123.00   $    123.00
   9/3/2017 Victor Manuel Grullon             $10.00   80.65   $   8.44          $   203.25   $    203.25
  9/10/2017 Victor Manuel Grullon             $10.00   70.15   $   8.44          $   150.75   $    150.75
  9/17/2017 Victor Manuel Grullon             $10.00   40.45   $   8.44          $     2.25   $      2.25
  12/3/2017 Victor Manuel Grullon             $10.00   78.52   $   8.44          $   192.58   $    192.58
 12/10/2017 Victor Manuel Grullon             $10.00   70.32   $   8.44          $   151.58   $    151.58
 12/17/2017 Victor Manuel Grullon             $10.00   78.32   $   8.44          $   191.58   $    191.58
  1/21/2018 Victor Manuel Grullon             $10.00   63.27   $   8.60          $   116.33   $    116.33
  1/28/2018 Victor Manuel Grullon             $10.00   73.33   $   8.60          $   166.67   $    166.67
   2/4/2018 Victor Manuel Grullon             $10.00   75.25   $   8.60          $   176.25   $    176.25
  2/11/2018 Victor Manuel Grullon             $10.00   77.00   $   8.60          $   185.00   $    185.00
  2/18/2018 Victor Manuel Grullon             $10.00   77.18   $   8.60          $   185.92   $    185.92
  2/25/2018 Victor Manuel Grullon             $10.00   74.03   $   8.60          $   170.17   $    170.17
   3/4/2018 Victor Manuel Grullon             $10.00   74.60   $   8.60          $   173.00   $    173.00
  3/25/2018 Victor Manuel Grullon             $10.00   77.18   $   8.60          $   185.92   $    185.92
   4/1/2018 Victor Manuel Grullon             $10.00   78.23   $   8.60          $   191.17   $    191.17
   4/8/2018 Victor Manuel Grullon             $10.00   75.08   $   8.60          $   175.42   $    175.42
  4/15/2018 Victor Manuel Grullon             $10.00   77.37   $   8.60          $   186.83   $    186.83
  4/22/2018 Victor Manuel Grullon             $10.00   74.63   $   8.60          $   173.17   $    173.17
  4/29/2018 Victor Manuel Grullon             $10.00   80.90   $   8.60          $   204.50   $    204.50
   5/6/2018 Victor Manuel Grullon             $10.00   78.52   $   8.60          $   192.58   $    192.58
  5/13/2018 Victor Manuel Grullon             $10.00   79.78   $   8.60          $   198.92   $    198.92
  5/20/2018 Victor Manuel Grullon             $10.00   77.60   $   8.60          $   188.00   $    188.00
  5/27/2018 Victor Manuel Grullon             $10.00   79.43   $   8.60          $   197.17   $    197.17
   6/3/2018 Victor Manuel Grullon             $10.00   76.10   $   8.60          $   180.50   $    180.50
  6/10/2018 Victor Manuel Grullon             $10.00   77.73   $   8.60          $   188.67   $    188.67



                                                634
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 636 of 683 PageID: 1483
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

  6/17/2018 Victor Manuel Grullon             $10.00   76.67   $    8.60         $   183.33   $    183.33
  6/24/2018 Victor Manuel Grullon             $10.00   77.82   $    8.60         $   189.08   $    189.08
   7/1/2018 Victor Manuel Grullon             $10.00   79.93   $    8.60         $   199.67   $    199.67
   7/8/2018 Victor Manuel Grullon             $10.00   65.93   $    8.60         $   129.67   $    129.67
  7/15/2018 Victor Manuel Grullon             $10.00   75.78   $    8.60         $   178.92   $    178.92
  7/22/2018 Victor Manuel Grullon             $10.00   77.15   $    8.60         $   185.75   $    185.75
  7/29/2018 Victor Manuel Grullon             $10.00   77.77   $    8.60         $   188.83   $    188.83
   8/5/2018 Victor Manuel Grullon             $10.00   72.15   $    8.60         $   160.75   $    160.75
  8/12/2018 Victor Manuel Grullon             $10.00   76.70   $    8.60         $   183.50   $    183.50
  8/19/2018 Victor Manuel Grullon             $10.00   77.53   $    8.60         $   187.67   $    187.67
  8/26/2018 Victor Manuel Grullon             $10.00   78.53   $    8.60         $   192.67   $    192.67
   9/2/2018 Victor Manuel Grullon             $10.00   75.98   $    8.60         $   179.92   $    179.92
   9/9/2018 Victor Manuel Grullon             $10.00   68.93   $    8.60         $   144.67   $    144.67
  9/16/2018 Victor Manuel Grullon             $10.00   76.28   $    8.60         $   181.42   $    181.42
  9/23/2018 Victor Manuel Grullon             $10.00   78.83   $    8.60         $   194.17   $    194.17
  9/30/2018 Victor Manuel Grullon             $10.00   77.67   $    8.60         $   188.33   $    188.33
  10/7/2018 Victor Manuel Grullon             $10.00   74.52   $    8.60         $   172.58   $    172.58
 10/14/2018 Victor Manuel Grullon             $10.00   75.03   $    8.60         $   175.17   $    175.17
 10/21/2018 Victor Manuel Grullon             $10.00   76.03   $    8.60         $   180.17   $    180.17
 10/28/2018 Victor Manuel Grullon             $10.00   76.75   $    8.60         $   183.75   $    183.75
  11/4/2018 Victor Manuel Grullon             $10.00   75.78   $    8.60         $   178.92   $    178.92
 11/11/2018 Victor Manuel Grullon             $10.00   76.82   $    8.60         $   184.08   $    184.08
 11/18/2018 Victor Manuel Grullon             $10.00   62.62   $    8.60         $   113.08   $    113.08
 11/25/2018 Victor Manuel Grullon             $10.00   66.28   $    8.60         $   131.42   $    131.42
  12/2/2018 Victor Manuel Grullon             $10.00   86.75   $    8.60         $   233.75   $    233.75
  12/9/2018 Victor Manuel Grullon             $10.00   68.88   $    8.60         $   144.42   $    144.42
 12/16/2018 Victor Manuel Grullon             $10.00   73.30   $    8.60         $   166.50   $    166.50
 12/23/2018 Victor Manuel Grullon             $10.00   56.28   $    8.60         $    81.42   $     81.42
   2/3/2019 Victor Manuel Grullon             $10.00   76.63   $    8.85         $   183.17   $    183.17
  2/10/2019 Victor Manuel Grullon             $10.00   75.42   $    8.85         $   177.08   $    177.08
  2/17/2019 Victor Manuel Grullon             $10.00   77.23   $    8.85         $   186.17   $    186.17
  2/24/2019 Victor Manuel Grullon             $10.00   77.15   $    8.85         $   185.75   $    185.75
   3/3/2019 Victor Manuel Grullon             $10.00   77.07   $    8.85         $   185.33   $    185.33
  3/10/2019 Victor Manuel Grullon             $10.00   64.27   $    8.85         $   121.33   $    121.33
  3/17/2019 Victor Manuel Grullon             $10.00   60.58   $    8.85         $   102.92   $    102.92
  3/24/2019 Victor Manuel Grullon             $10.00   78.30   $    8.85         $   191.50   $    191.50
  3/31/2019 Victor Manuel Grullon             $10.00   78.53   $    8.85         $   192.67   $    192.67
   4/7/2019 Victor Manuel Grullon             $10.00   72.52   $    8.85         $   162.58   $    162.58
  4/14/2019 Victor Manuel Grullon             $10.00   71.53   $    8.85         $   157.67   $    157.67
  4/21/2019 Victor Manuel Grullon             $10.00   74.38   $    8.85         $   171.92   $    171.92
  4/28/2019 Victor Manuel Grullon             $10.00   77.18   $    8.85         $   185.92   $    185.92
   5/5/2019 Victor Manuel Grullon             $10.00   77.27   $    8.85         $   186.33   $    186.33
  5/12/2019 Victor Manuel Grullon             $10.00   73.02   $    8.85         $   165.08   $    165.08
  5/19/2019 Victor Manuel Grullon             $10.00   71.87   $    8.85         $   159.33   $    159.33
  5/26/2019 Victor Manuel Grullon             $10.00   85.82   $    8.85         $   229.08   $    229.08
   6/2/2019 Victor Manuel Grullon             $10.00   79.03   $    8.85         $   195.17   $    195.17
   6/9/2019 Victor Manuel Grullon             $10.00   80.95   $    8.85         $   204.75   $    204.75
  6/16/2019 Victor Manuel Grullon             $10.00   74.13   $    8.85         $   170.67   $    170.67
  6/23/2019 Victor Manuel Grullon             $10.00   73.25   $    8.85         $   166.25   $    166.25
  6/30/2019 Victor Manuel Grullon             $10.00   86.10   $   10.00         $   230.50   $    230.50



                                                635
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 637 of 683 PageID: 1484
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

   7/7/2019 Victor Manuel Grullon             $12.00   63.37   $   10.00         $   140.20   $    140.20
  7/14/2019 Victor Manuel Grullon             $12.00   71.28   $   10.00         $   187.70   $    187.70
  7/21/2019 Victor Manuel Grullon             $12.00   69.37   $   10.00         $   176.20   $    176.20
  7/28/2019 Victor Manuel Grullon             $12.00   68.88   $   10.00         $   173.30   $    173.30
   8/4/2019 Victor Manuel Grullon             $12.00   70.22   $   10.00         $   181.30   $    181.30
  8/11/2019 Victor Manuel Grullon             $12.00   66.35   $   10.00         $   158.10   $    158.10
  8/18/2019 Victor Manuel Grullon             $12.00   69.52   $   10.00         $   177.10   $    177.10
  8/25/2019 Victor Manuel Grullon             $12.00   68.07   $   10.00         $   168.40   $    168.40
   9/1/2019 Victor Manuel Grullon             $12.00   76.15   $   10.00         $   216.90   $    216.90
   9/8/2019 Victor Manuel Grullon             $12.00   63.50   $   10.00         $   141.00   $    141.00
  9/15/2019 Victor Manuel Grullon             $12.00   66.67   $   10.00         $   160.00   $    160.00
  9/22/2019 Victor Manuel Grullon             $12.00   74.00   $   10.00         $   204.00   $    204.00
  9/29/2019 Victor Manuel Grullon             $12.00   63.27   $   10.00         $   139.60   $    139.60
  10/6/2019 Victor Manuel Grullon             $12.00   74.67   $   10.00         $   208.00   $    208.00
 10/13/2019 Victor Manuel Grullon             $12.00   74.42   $   10.00         $   206.50   $    206.50
 10/20/2019 Victor Manuel Grullon             $12.00   73.73   $   10.00         $   202.40   $    202.40
 10/27/2019 Victor Manuel Grullon             $12.00   73.47   $   10.00         $   200.80   $    200.80
  11/3/2019 Victor Manuel Grullon             $12.00   65.72   $   10.00         $   154.30   $    154.30
 11/10/2019 Victor Manuel Grullon             $12.00   69.05   $   10.00         $   174.30   $    174.30
 11/17/2019 Victor Manuel Grullon             $12.00   67.68   $   10.00         $   166.10   $    166.10
 11/24/2019 Victor Manuel Grullon             $12.00   73.98   $   10.00         $   203.90   $    203.90
  12/1/2019 Victor Manuel Grullon             $12.00   63.72   $   10.00         $   142.30   $    142.30
  12/8/2019 Victor Manuel Grullon             $12.00   67.03   $   10.00         $   162.20   $    162.20
 12/15/2019 Victor Manuel Grullon             $12.00   67.88   $   10.00         $   167.30   $    167.30
 12/22/2019 Victor Manuel Grullon             $12.00   65.25   $   10.00         $   151.50   $    151.50
  10/6/2019 Victor Manuel Suchite             $10.00   79.10   $   10.00         $   195.50   $    195.50
 10/13/2019 Victor Manuel Suchite             $10.00   79.23   $   10.00         $   196.17   $    196.17
 10/20/2019 Victor Manuel Suchite             $10.00   78.52   $   10.00         $   192.58   $    192.58
 10/27/2019 Victor Manuel Suchite             $10.00   79.33   $   10.00         $   196.67   $    196.67
  11/3/2019 Victor Manuel Suchite             $10.00   78.55   $   10.00         $   192.75   $    192.75
 11/10/2019 Victor Manuel Suchite             $10.00   79.27   $   10.00         $   196.33   $    196.33
 11/17/2019 Victor Manuel Suchite             $10.00   78.42   $   10.00         $   192.08   $    192.08
 11/24/2019 Victor Manuel Suchite             $10.00   78.70   $   10.00         $   193.50   $    193.50
  12/1/2019 Victor Manuel Suchite             $10.00   79.68   $   10.00         $   198.42   $    198.42
   2/5/2017 Victor Manuel Tay                 $11.00   59.07   $    8.44         $   104.87   $    104.87
  2/12/2017 Victor Manuel Tay                 $11.00   47.23   $    8.44         $    39.78   $     39.78
  2/19/2017 Victor Manuel Tay                 $11.00   58.18   $    8.44         $   100.01   $    100.01
  2/26/2017 Victor Manuel Tay                 $11.00   59.33   $    8.44         $   106.33   $    106.33
   3/5/2017 Victor Manuel Tay                 $11.00   58.28   $    8.44         $   100.56   $    100.56
  3/12/2017 Victor Manuel Tay                 $11.00   59.23   $    8.44         $   105.78   $    105.78
  3/19/2017 Victor Manuel Tay                 $11.00   48.63   $    8.44         $    47.48   $     47.48
  3/26/2017 Victor Manuel Tay                 $11.00   58.65   $    8.44         $   102.58   $    102.58
   4/2/2017 Victor Manuel Tay                 $11.00   58.40   $    8.44         $   101.20   $    101.20
   4/9/2017 Victor Manuel Tay                 $11.00   58.38   $    8.44         $   101.11   $    101.11
  4/16/2017 Victor Manuel Tay                 $11.00   59.80   $    8.44         $   108.90   $    108.90
  4/23/2017 Victor Manuel Tay                 $11.00   50.12   $    8.44         $    55.64   $     55.64
  4/30/2017 Victor Manuel Tay                 $11.00   58.75   $    8.44         $   103.13   $    103.13
   5/7/2017 Victor Manuel Tay                 $11.00   59.22   $    8.44         $   105.69   $    105.69
  5/14/2017 Victor Manuel Tay                 $11.00   59.32   $    8.44         $   106.24   $    106.24
  5/21/2017 Victor Manuel Tay                 $11.00   59.00   $    8.44         $   104.50   $    104.50



                                                636
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 638 of 683 PageID: 1485
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

 5/28/2017 Victor Manuel Tay                 $11.00   57.97   $   8.44          $    98.82   $     98.82
  6/4/2017 Victor Manuel Tay                 $11.00   49.53   $   8.44          $    52.43   $     52.43
 6/11/2017 Victor Manuel Tay                 $11.00   58.98   $   8.44          $   104.41   $    104.41
 6/18/2017 Victor Manuel Tay                 $11.00   58.68   $   8.44          $   102.76   $    102.76
 6/25/2017 Victor Manuel Tay                 $11.00   58.38   $   8.44          $   101.11   $    101.11
  7/2/2017 Victor Manuel Tay                 $11.00   59.52   $   8.44          $   107.34   $    107.34
  7/9/2017 Victor Manuel Tay                 $11.00   49.47   $   8.44          $    52.07   $     52.07
 7/16/2017 Victor Manuel Tay                 $11.00   58.97   $   8.44          $   104.32   $    104.32
 7/23/2017 Victor Manuel Tay                 $11.00   59.67   $   8.44          $   108.17   $    108.17
 7/30/2017 Victor Manuel Tay                 $11.00   59.93   $   8.44          $   109.63   $    109.63
  8/6/2017 Victor Manuel Tay                 $11.00   60.13   $   8.44          $   110.73   $    110.73
 8/13/2017 Victor Manuel Tay                 $11.00   58.88   $   8.44          $   103.86   $    103.86
 8/20/2017 Victor Manuel Tay                 $11.00   59.40   $   8.44          $   106.70   $    106.70
 8/27/2017 Victor Manuel Tay                 $11.00   58.73   $   8.44          $   103.03   $    103.03
  9/3/2017 Victor Manuel Tay                 $11.00   60.10   $   8.44          $   110.55   $    110.55
 9/10/2017 Victor Manuel Tay                 $11.00   48.30   $   8.44          $    45.65   $     45.65
 9/17/2017 Victor Manuel Tay                 $11.00   49.48   $   8.44          $    52.16   $     52.16
  2/5/2017 Victor Ortiz                      $10.00   56.75   $   8.44          $    83.75   $     83.75
 2/12/2017 Victor Ortiz                      $10.00   47.50   $   8.44          $    37.50   $     37.50
 2/19/2017 Victor Ortiz                      $10.00   48.07   $   8.44          $    40.33   $     40.33
 2/26/2017 Victor Ortiz                      $10.00   55.88   $   8.44          $    79.42   $     79.42
  3/5/2017 Victor Ortiz                      $10.00   56.02   $   8.44          $    80.08   $     80.08
 3/12/2017 Victor Ortiz                      $10.00   56.77   $   8.44          $    83.83   $     83.83
 3/19/2017 Victor Ortiz                      $10.00   47.00   $   8.44          $    35.00   $     35.00
 3/26/2017 Victor Ortiz                      $10.00   57.70   $   8.44          $    88.50   $     88.50
  4/2/2017 Victor Ortiz                      $10.00   57.22   $   8.44          $    86.08   $     86.08
  4/9/2017 Victor Ortiz                      $10.00   56.92   $   8.44          $    84.58   $     84.58
 4/16/2017 Victor Ortiz                      $10.00   56.87   $   8.44          $    84.33   $     84.33
 4/23/2017 Victor Ortiz                      $10.00   56.50   $   8.44          $    82.50   $     82.50
 4/30/2017 Victor Ortiz                      $10.00   57.65   $   8.44          $    88.25   $     88.25
  5/7/2017 Victor Ortiz                      $10.00   56.28   $   8.44          $    81.42   $     81.42
 5/14/2017 Victor Ortiz                      $10.00   56.22   $   8.44          $    81.08   $     81.08
 5/21/2017 Victor Ortiz                      $10.00   55.98   $   8.44          $    79.92   $     79.92
 5/28/2017 Victor Ortiz                      $10.00   57.07   $   8.44          $    85.33   $     85.33
  6/4/2017 Victor Ortiz                      $10.00   52.10   $   8.44          $    60.50   $     60.50
 6/11/2017 Victor Ortiz                      $10.00   56.45   $   8.44          $    82.25   $     82.25
 6/18/2017 Victor Ortiz                      $10.00   56.03   $   8.44          $    80.17   $     80.17
 6/25/2017 Victor Ortiz                      $10.00   55.27   $   8.44          $    76.33   $     76.33
  7/2/2017 Victor Ortiz                      $10.00   57.15   $   8.44          $    85.75   $     85.75
  7/9/2017 Victor Ortiz                      $10.00   47.33   $   8.44          $    36.67   $     36.67
 7/16/2017 Victor Ortiz                      $10.00   54.90   $   8.44          $    74.50   $     74.50
 7/23/2017 Victor Ortiz                      $10.00   56.93   $   8.44          $    84.67   $     84.67
 7/30/2017 Victor Ortiz                      $10.00   56.25   $   8.44          $    81.25   $     81.25
  8/6/2017 Victor Ortiz                      $10.00   56.40   $   8.44          $    82.00   $     82.00
 8/13/2017 Victor Ortiz                      $10.00   55.90   $   8.44          $    79.50   $     79.50
 8/20/2017 Victor Ortiz                      $10.00   57.10   $   8.44          $    85.50   $     85.50
 8/27/2017 Victor Ortiz                      $10.00   55.37   $   8.44          $    76.83   $     76.83
  9/3/2017 Victor Ortiz                      $10.00   57.37   $   8.44          $    86.83   $     86.83
 9/10/2017 Victor Ortiz                      $10.00   50.98   $   8.44          $    54.92   $     54.92
 9/17/2017 Victor Ortiz                      $10.00   56.18   $   8.44          $    80.92   $     80.92



                                               637
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 639 of 683 PageID: 1486
                                          Exhibit 2
                                  New Jersey Computations


   Week                                                  State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
  Ending                   Name                        Minumum Regular    Half-Time Overtime Back
                                          Rate Week
   Date                                                  Wage  Rate Due     Due       Wages Due

  9/24/2017 Victor Ortiz                 $10.00   55.87   $   8.44          $   79.33   $      79.33
  10/1/2017 Victor Ortiz                 $10.00   56.43   $   8.44          $   82.17   $      82.17
  10/8/2017 Victor Ortiz                 $10.00   55.68   $   8.44          $   78.42   $      78.42
 10/15/2017 Victor Ortiz                 $10.00   56.17   $   8.44          $   80.83   $      80.83
 10/22/2017 Victor Ortiz                 $10.00   55.85   $   8.44          $   79.25   $      79.25
 10/29/2017 Victor Ortiz                 $10.00   56.15   $   8.44          $   80.75   $      80.75
  11/5/2017 Victor Ortiz                 $10.00   57.38   $   8.44          $   86.92   $      86.92
 11/12/2017 Victor Ortiz                 $10.00   57.60   $   8.44          $   88.00   $      88.00
 11/19/2017 Victor Ortiz                 $10.00   57.52   $   8.44          $   87.58   $      87.58
 11/26/2017 Victor Ortiz                 $10.00   47.17   $   8.44          $   35.83   $      35.83
  12/3/2017 Victor Ortiz                 $10.00   51.58   $   8.44          $   57.92   $      57.92
  1/21/2018 Victor Ortiz                 $10.00   57.80   $   8.60          $   89.00   $      89.00
  1/28/2018 Victor Ortiz                 $10.00   56.45   $   8.60          $   82.25   $      82.25
   2/4/2018 Victor Ortiz                 $10.00   56.32   $   8.60          $   81.58   $      81.58
  2/11/2018 Victor Ortiz                 $10.00   56.30   $   8.60          $   81.50   $      81.50
  2/18/2018 Victor Ortiz                 $10.00   56.40   $   8.60          $   82.00   $      82.00
  2/25/2018 Victor Ortiz                 $10.00   56.58   $   8.60          $   82.92   $      82.92
   3/4/2018 Victor Ortiz                 $10.00   55.62   $   8.60          $   78.08   $      78.08
  3/25/2018 Victor Ortiz                 $10.00   54.27   $   8.60          $   71.33   $      71.33
   4/1/2018 Victor Ortiz                 $10.00   55.32   $   8.60          $   76.58   $      76.58
   4/8/2018 Victor Ortiz                 $10.00   54.98   $   8.60          $   74.92   $      74.92
  4/15/2018 Victor Ortiz                 $10.00   55.65   $   8.60          $   78.25   $      78.25
  4/22/2018 Victor Ortiz                 $10.00   55.33   $   8.60          $   76.67   $      76.67
  4/29/2018 Victor Ortiz                 $10.00   55.98   $   8.60          $   79.92   $      79.92
   5/6/2018 Victor Ortiz                 $10.00   55.75   $   8.60          $   78.75   $      78.75
  5/13/2018 Victor Ortiz                 $10.00   56.32   $   8.60          $   81.58   $      81.58
  5/20/2018 Victor Ortiz                 $10.00   55.22   $   8.60          $   76.08   $      76.08
  5/27/2018 Victor Ortiz                 $10.00   59.48   $   8.60          $   97.42   $      97.42
   6/3/2018 Victor Ortiz                 $10.00   51.10   $   8.60          $   55.50   $      55.50
  6/10/2018 Victor Ortiz                 $10.00   56.75   $   8.60          $   83.75   $      83.75
  6/17/2018 Victor Ortiz                 $10.00   56.53   $   8.60          $   82.67   $      82.67
  6/24/2018 Victor Ortiz                 $10.00   55.27   $   8.60          $   76.33   $      76.33
   7/1/2018 Victor Ortiz                 $10.00   47.95   $   8.60          $   39.75   $      39.75
   7/8/2018 Victor Ortiz                 $10.00   46.30   $   8.60          $   31.50   $      31.50
  7/15/2018 Victor Ortiz                 $10.00   57.10   $   8.60          $   85.50   $      85.50
  7/22/2018 Victor Ortiz                 $10.00   57.32   $   8.60          $   86.58   $      86.58
  7/29/2018 Victor Ortiz                 $10.00   56.95   $   8.60          $   84.75   $      84.75
   8/5/2018 Victor Ortiz                 $10.00   55.38   $   8.60          $   76.92   $      76.92
  8/12/2018 Victor Ortiz                 $10.00   56.15   $   8.60          $   80.75   $      80.75
  8/19/2018 Victor Ortiz                 $10.00   46.03   $   8.60          $   30.17   $      30.17
  8/26/2018 Victor Ortiz                 $10.00   57.15   $   8.60          $   85.75   $      85.75
   9/2/2018 Victor Ortiz                 $10.00   55.98   $   8.60          $   79.92   $      79.92
   9/9/2018 Victor Ortiz                 $10.00   47.75   $   8.60          $   38.75   $      38.75
  9/16/2018 Victor Ortiz                 $10.00   55.47   $   8.60          $   77.33   $      77.33
  9/23/2018 Victor Ortiz                 $10.00   55.67   $   8.60          $   78.33   $      78.33
  9/30/2018 Victor Ortiz                 $10.00   55.33   $   8.60          $   76.67   $      76.67
  10/7/2018 Victor Ortiz                 $10.00   55.48   $   8.60          $   77.42   $      77.42
 10/14/2018 Victor Ortiz                 $10.00   56.20   $   8.60          $   81.00   $      81.00
 10/21/2018 Victor Ortiz                 $10.00   57.15   $   8.60          $   85.75   $      85.75
 10/28/2018 Victor Ortiz                 $10.00   56.75   $   8.60          $   83.75   $      83.75



                                           638
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 640 of 683 PageID: 1487
                                          Exhibit 2
                                  New Jersey Computations


   Week                                                  State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
  Ending                   Name                        Minumum Regular    Half-Time Overtime Back
                                          Rate Week
   Date                                                  Wage  Rate Due     Due       Wages Due

  11/4/2018 Victor Ortiz                 $10.00   49.98   $    8.60         $    49.92   $     49.92
 11/11/2018 Victor Ortiz                 $10.00   56.50   $    8.60         $    82.50   $     82.50
 11/18/2018 Victor Ortiz                 $10.00   54.98   $    8.60         $    74.92   $     74.92
 11/25/2018 Victor Ortiz                 $10.00   49.12   $    8.60         $    45.58   $     45.58
  12/2/2018 Victor Ortiz                 $10.00   56.15   $    8.60         $    80.75   $     80.75
  12/9/2018 Victor Ortiz                 $10.00   57.03   $    8.60         $    85.17   $     85.17
 12/16/2018 Victor Ortiz                 $10.00   55.67   $    8.60         $    78.33   $     78.33
 12/23/2018 Victor Ortiz                 $10.00   48.00   $    8.60         $    40.00   $     40.00
 12/30/2018 Victor Ortiz                 $10.00   44.85   $    8.60         $    24.25   $     24.25
   1/6/2019 Victor Ortiz                 $10.00   44.20   $    8.85         $    21.00   $     21.00
  1/13/2019 Victor Ortiz                 $10.00   57.18   $    8.85         $    85.92   $     85.92
  1/20/2019 Victor Ortiz                 $10.00   54.97   $    8.85         $    74.83   $     74.83
  1/27/2019 Victor Ortiz                 $10.00   57.03   $    8.85         $    85.17   $     85.17
   2/3/2019 Victor Ortiz                 $10.00   57.50   $    8.85         $    87.50   $     87.50
  2/10/2019 Victor Ortiz                 $10.00   55.83   $    8.85         $    79.17   $     79.17
  2/17/2019 Victor Ortiz                 $10.00   54.23   $    8.85         $    71.17   $     71.17
   3/3/2019 Victor Ortiz                 $10.00   56.27   $    8.85         $    81.33   $     81.33
  3/31/2019 Victor Ortiz                 $10.00   56.90   $    8.85         $    84.50   $     84.50
   4/7/2019 Victor Ortiz                 $10.00   61.05   $    8.85         $   105.25   $    105.25
  4/14/2019 Victor Ortiz                 $10.00   56.22   $    8.85         $    81.08   $     81.08
  4/21/2019 Victor Ortiz                 $10.00   56.75   $    8.85         $    83.75   $     83.75
  4/28/2019 Victor Ortiz                 $10.00   50.58   $    8.85         $    52.92   $     52.92
   5/5/2019 Victor Ortiz                 $10.00   58.27   $    8.85         $    91.33   $     91.33
  5/12/2019 Victor Ortiz                 $10.00   59.05   $    8.85         $    95.25   $     95.25
  5/19/2019 Victor Ortiz                 $10.00   58.92   $    8.85         $    94.58   $     94.58
  5/26/2019 Victor Ortiz                 $10.00   62.50   $    8.85         $   112.50   $    112.50
   6/2/2019 Victor Ortiz                 $10.00   47.20   $    8.85         $    36.00   $     36.00
   6/9/2019 Victor Ortiz                 $10.00   61.78   $    8.85         $   108.92   $    108.92
  6/16/2019 Victor Ortiz                 $10.00   61.73   $    8.85         $   108.67   $    108.67
  6/23/2019 Victor Ortiz                 $10.00   57.92   $    8.85         $    89.58   $     89.58
  6/30/2019 Victor Ortiz                 $10.00   58.20   $   10.00         $    91.00   $     91.00
   7/7/2019 Victor Ortiz                 $10.00   50.30   $   10.00         $    51.50   $     51.50
  7/14/2019 Victor Ortiz                 $10.00   58.73   $   10.00         $    93.67   $     93.67
  7/21/2019 Victor Ortiz                 $10.00   57.45   $   10.00         $    87.25   $     87.25
  7/28/2019 Victor Ortiz                 $10.00   58.08   $   10.00         $    90.42   $     90.42
   8/4/2019 Victor Ortiz                 $10.00   58.23   $   10.00         $    91.17   $     91.17
  8/11/2019 Victor Ortiz                 $10.00   57.30   $   10.00         $    86.50   $     86.50
  8/18/2019 Victor Ortiz                 $10.00   57.98   $   10.00         $    89.92   $     89.92
  8/25/2019 Victor Ortiz                 $10.00   57.33   $   10.00         $    86.67   $     86.67
   9/1/2019 Victor Ortiz                 $10.00   57.05   $   10.00         $    85.25   $     85.25
  9/15/2019 Victor Ortiz                 $10.00   61.10   $   10.00         $   105.50   $    105.50
  9/22/2019 Victor Ortiz                 $10.00   56.32   $   10.00         $    81.58   $     81.58
  9/29/2019 Victor Ortiz                 $10.00   58.32   $   10.00         $    91.58   $     91.58
  10/6/2019 Victor Ortiz                 $10.00   59.75   $   10.00         $    98.75   $     98.75
 10/13/2019 Victor Ortiz                 $10.00   58.65   $   10.00         $    93.25   $     93.25
 10/20/2019 Victor Ortiz                 $11.00   57.63   $   10.00         $    96.98   $     96.98
 10/27/2019 Victor Ortiz                 $11.00   59.83   $   10.00         $   109.08   $    109.08
  11/3/2019 Victor Ortiz                 $11.00   56.70   $   10.00         $    91.85   $     91.85
 11/10/2019 Victor Ortiz                 $11.00   59.48   $   10.00         $   107.16   $    107.16
 11/17/2019 Victor Ortiz                 $11.00   58.38   $   10.00         $   101.11   $    101.11



                                           639
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 641 of 683 PageID: 1488
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

 11/24/2019 Victor Ortiz                   $11.00   60.62   $   10.00               $   113.39   $   113.39
  12/1/2019 Victor Ortiz                   $11.00   48.65   $   10.00               $    47.58   $    47.58
  12/8/2019 Victor Ortiz                   $11.00   58.48   $   10.00               $   101.66   $   101.66
 12/15/2019 Victor Ortiz                   $10.00   57.85   $   10.00               $    89.25   $    89.25
 12/22/2019 Victor Ortiz                   $10.00   58.20   $   10.00               $    91.00   $    91.00
 12/29/2019 Victor Ortiz                   $10.00   42.17   $   10.00               $    10.83   $    10.83
   1/5/2020 Victor Ortiz                   $10.00   42.17   $   11.00   $   42.17   $    11.92   $    54.08
  1/12/2020 Victor Ortiz                   $10.00   46.13   $   11.00   $   46.13   $    33.73   $    79.87
  1/19/2020 Victor Ortiz                   $10.00   46.22   $   11.00   $   46.22   $    34.19   $    80.41
  1/26/2020 Victor Ortiz                   $10.00   59.60   $   11.00   $   59.60   $   107.80   $   167.40
  8/20/2017 Victor Payamps                  $9.50   69.58   $    8.44               $   140.52   $   140.52
  8/27/2017 Victor Payamps                  $9.50   51.15   $    8.44               $    52.96   $    52.96
   9/3/2017 Victor Payamps                  $9.50   68.63   $    8.44               $   136.01   $   136.01
  9/10/2017 Victor Payamps                  $9.50   64.42   $    8.44               $   115.98   $   115.98
  9/17/2017 Victor Payamps                  $9.50   75.62   $    8.44               $   169.18   $   169.18
  9/24/2017 Victor Payamps                  $9.50   73.00   $    8.44               $   156.75   $   156.75
  10/1/2017 Victor Payamps                  $9.50   83.42   $    8.44               $   206.23   $   206.23
  10/8/2017 Victor Payamps                  $9.50   65.85   $    8.44               $   122.79   $   122.79
 10/15/2017 Victor Payamps                  $9.50   65.90   $    8.44               $   123.03   $   123.03
 10/22/2017 Victor Payamps                  $9.50   72.23   $    8.44               $   153.11   $   153.11
 10/29/2017 Victor Payamps                  $9.50   73.98   $    8.44               $   161.42   $   161.42
  11/5/2017 Victor Payamps                  $9.50   76.82   $    8.44               $   174.88   $   174.88
 11/12/2017 Victor Payamps                  $9.50   72.38   $    8.44               $   153.82   $   153.82
 11/19/2017 Victor Payamps                  $9.50   65.98   $    8.44               $   123.42   $   123.42
 11/26/2017 Victor Payamps                  $9.50   66.77   $    8.44               $   127.14   $   127.14
  12/3/2017 Victor Payamps                  $9.50   77.32   $    8.44               $   177.25   $   177.25
 12/10/2017 Victor Payamps                  $9.50   69.93   $    8.44               $   142.18   $   142.18
 12/17/2017 Victor Payamps                  $9.50   82.55   $    8.44               $   202.11   $   202.11
 12/24/2017 Victor Payamps                  $9.50   78.30   $    8.44               $   181.93   $   181.93
 12/31/2017 Victor Payamps                  $9.50   68.13   $    8.44               $   133.63   $   133.63
   1/7/2018 Victor Payamps                  $9.50   78.77   $    8.60               $   184.14   $   184.14
  1/14/2018 Victor Payamps                  $9.50   75.15   $    8.60               $   166.96   $   166.96
  1/21/2018 Victor Payamps                  $9.50   80.93   $    8.60               $   194.43   $   194.43
  1/28/2018 Victor Payamps                  $9.50   69.95   $    8.60               $   142.26   $   142.26
   2/4/2018 Victor Payamps                  $9.50   79.28   $    8.60               $   186.60   $   186.60
  2/11/2018 Victor Payamps                  $9.50   56.52   $    8.60               $    78.45   $    78.45
  2/18/2018 Victor Payamps                  $9.50   57.40   $    8.60               $    82.65   $    82.65
  2/25/2018 Victor Payamps                  $9.50   59.80   $    8.60               $    94.05   $    94.05
   3/4/2018 Victor Payamps                  $9.50   45.13   $    8.60               $    24.38   $    24.38
  3/25/2018 Victor Payamps                  $9.50   44.15   $    8.60               $    19.71   $    19.71
   4/1/2018 Victor Payamps                  $9.50   63.48   $    8.60               $   111.55   $   111.55
   4/8/2018 Victor Payamps                  $9.50   60.57   $    8.60               $    97.69   $    97.69
  4/15/2018 Victor Payamps                  $9.50   63.50   $    8.60               $   111.63   $   111.63
  4/22/2018 Victor Payamps                  $9.50   73.57   $    8.60               $   159.44   $   159.44
  4/29/2018 Victor Payamps                  $9.50   61.90   $    8.60               $   104.03   $   104.03
  5/13/2018 Victor Payamps                  $9.50   52.88   $    8.60               $    61.20   $    61.20
  5/20/2018 Victor Payamps                  $9.50   60.87   $    8.60               $    99.12   $    99.12
  5/27/2018 Victor Payamps                  $9.50   75.07   $    8.60               $   166.57   $   166.57
   6/3/2018 Victor Payamps                  $9.50   77.07   $    8.60               $   176.07   $   176.07
  6/10/2018 Victor Payamps                  $9.50   66.45   $    8.60               $   125.64   $   125.64



                                             640
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 642 of 683 PageID: 1489
                                                 Exhibit 2
                                         New Jersey Computations


   Week                                                         State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
  Ending                         Name                         Minumum Regular    Half-Time Overtime Back
                                                 Rate Week
   Date                                                         Wage  Rate Due     Due       Wages Due

  6/17/2018 Victor Payamps                       $9.50   60.33   $    8.60               $    96.58   $    96.58
  6/24/2018 Victor Payamps                       $9.50   54.60   $    8.60               $    69.35   $    69.35
  9/10/2017 Victor Peguero                      $10.00   54.80   $    8.44               $    74.00   $    74.00
  9/17/2017 Victor Peguero                      $10.00   52.10   $    8.44               $    60.50   $    60.50
  9/24/2017 Victor Peguero                      $10.00   47.42   $    8.44               $    37.08   $    37.08
  10/1/2017 Victor Peguero                      $10.00   56.52   $    8.44               $    82.58   $    82.58
  10/8/2017 Victor Peguero                      $10.00   41.58   $    8.44               $     7.92   $     7.92
 12/29/2019 Victoriano Elias Marroquin          $12.00   47.62   $   10.00               $    45.70   $    45.70
  1/12/2020 Victoriano Elias Marroquin          $12.00   50.52   $   11.00               $    63.10   $    63.10
  1/19/2020 Victoriano Elias Marroquin          $12.00   53.83   $   11.00               $    83.00   $    83.00
  1/26/2020 Victoriano Elias Marroquin          $12.00   64.15   $   11.00               $   144.90   $   144.90
  1/13/2019 Victoriano Xol Tylul                 $9.00   55.75   $    8.85               $    70.88   $    70.88
  1/20/2019 Victoriano Xol Tylul                 $9.00   55.88   $    8.85               $    71.48   $    71.48
  1/27/2019 Victoriano Xol Tylul                 $9.00   49.10   $    8.85               $    40.95   $    40.95
   2/3/2019 Victoriano Xol Tylul                 $9.00   55.87   $    8.85               $    71.40   $    71.40
  2/10/2019 Victoriano Xol Tylul                 $9.00   56.73   $    8.85               $    75.30   $    75.30
  2/17/2019 Victoriano Xol Tylul                 $9.00   51.10   $    8.85               $    49.95   $    49.95
  2/24/2019 Victoriano Xol Tylul                 $9.00   55.47   $    8.85               $    69.60   $    69.60
   3/3/2019 Victoriano Xol Tylul                 $9.00   55.60   $    8.85               $    70.20   $    70.20
  3/10/2019 Victoriano Xol Tylul                 $9.00   56.85   $    8.85               $    75.83   $    75.83
  3/17/2019 Victoriano Xol Tylul                 $9.00   55.23   $    8.85               $    68.55   $    68.55
  3/24/2019 Victoriano Xol Tylul                 $9.00   51.33   $    8.85               $    51.00   $    51.00
  3/31/2019 Victoriano Xol Tylul                 $9.00   54.38   $    8.85               $    64.73   $    64.73
   4/7/2019 Victoriano Xol Tylul                 $9.00   44.47   $    8.85               $    20.10   $    20.10
  4/14/2019 Victoriano Xol Tylul                 $9.00   54.73   $    8.85               $    66.30   $    66.30
  4/21/2019 Victoriano Xol Tylul                 $9.00   54.67   $    8.85               $    66.00   $    66.00
  4/28/2019 Victoriano Xol Tylul                 $9.00   54.85   $    8.85               $    66.83   $    66.83
   5/5/2019 Victoriano Xol Tylul                 $9.00   59.57   $    8.85               $    88.05   $    88.05
  5/12/2019 Victoriano Xol Tylul                 $9.00   56.65   $    8.85               $    74.93   $    74.93
  5/19/2019 Victoriano Xol Tylul                 $9.00   56.48   $    8.85               $    74.18   $    74.18
  5/26/2019 Victoriano Xol Tylul                 $9.00   47.20   $    8.85               $    32.40   $    32.40
  6/16/2019 Victoriano Xol Tylul                 $9.00   47.30   $    8.85               $    32.85   $    32.85
  6/23/2019 Victoriano Xol Tylul                 $9.00   54.75   $    8.85               $    66.38   $    66.38
   7/7/2019 Victoriano Xol Tylul                 $9.00   52.95   $   10.00   $   52.95   $    64.75   $   117.70
  7/14/2019 Victoriano Xol Tylul                 $9.00   54.78   $   10.00   $   54.78   $    73.92   $   128.70
  7/21/2019 Victoriano Xol Tylul                 $9.00   54.92   $   10.00   $   54.92   $    74.58   $   129.50
  7/28/2019 Victoriano Xol Tylul                 $9.00   45.85   $   10.00   $   45.85   $    29.25   $    75.10
   8/4/2019 Victoriano Xol Tylul                 $9.00   55.93   $   10.00   $   55.93   $    79.67   $   135.60
  8/11/2019 Victoriano Xol Tylul                 $9.00   55.35   $   10.00   $   55.35   $    76.75   $   132.10
  8/18/2019 Victoriano Xol Tylul                 $9.00   55.08   $   10.00   $   55.08   $    75.42   $   130.50
  8/25/2019 Victoriano Xol Tylul                 $9.00   54.68   $   10.00   $   54.68   $    73.42   $   128.10
   9/1/2019 Victoriano Xol Tylul                 $9.00   53.90   $   10.00   $   53.90   $    69.50   $   123.40
   9/8/2019 Victoriano Xol Tylul                 $9.00   53.93   $   10.00   $   53.93   $    69.67   $   123.60
  9/15/2019 Victoriano Xol Tylul                 $9.00   55.93   $   10.00   $   55.93   $    79.67   $   135.60
  9/22/2019 Victoriano Xol Tylul                 $9.00   54.85   $   10.00   $   54.85   $    74.25   $   129.10
  9/29/2019 Victoriano Xol Tylul                 $9.00   57.15   $   10.00   $   57.15   $    85.75   $   142.90
  10/6/2019 Victoriano Xol Tylul                 $9.00   58.72   $   10.00   $   58.72   $    93.58   $   152.30
 10/20/2019 Victoriano Xol Tylul                 $9.00   44.77   $   10.00   $   44.77   $    23.83   $    68.60
 10/27/2019 Victoriano Xol Tylul                 $9.00   49.90   $   10.00   $   49.90   $    49.50   $    99.40
  11/3/2019 Victoriano Xol Tylul                 $9.00   58.73   $   10.00   $   58.73   $    93.67   $   152.40



                                                  641
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 643 of 683 PageID: 1490
                                                  Exhibit 2
                                          New Jersey Computations


   Week                                                          State Section 7: Section 7: Total Section 7
                                                 Hourly Hours/
  Ending                           Name                        Minumum Regular    Half-Time Overtime Back
                                                  Rate Week
   Date                                                          Wage  Rate Due     Due       Wages Due

 11/10/2019 Victoriano Xol Tylul                  $9.00   59.13   $   10.00   $ 59.13    $    95.67   $   154.80
 11/17/2019 Victoriano Xol Tylul                  $9.00   57.73   $   10.00   $ 57.73    $    88.67   $   146.40
 11/24/2019 Victoriano Xol Tylul                  $9.00   57.20   $   10.00   $ 57.20    $    86.00   $   143.20
  12/1/2019 Victoriano Xol Tylul                  $9.00   46.12   $   10.00   $ 46.12    $    30.58   $    76.70
  12/8/2019 Victoriano Xol Tylul                  $9.00   53.03   $   10.00   $ 53.03    $    65.17   $   118.20
 12/15/2019 Victoriano Xol Tylul                  $9.00   56.32   $   10.00   $ 56.32    $    81.58   $   137.90
 12/22/2019 Victoriano Xol Tylul                  $9.00   55.02   $   10.00   $ 55.02    $    75.08   $   130.10
   1/5/2020 Victoriano Xol Tylul                  $9.00   45.82   $   11.00   $ 91.63    $    31.99   $   123.63
  1/12/2020 Victoriano Xol Tylul                  $9.00   46.00   $   11.00   $ 92.00    $    33.00   $   125.00
  1/19/2020 Victoriano Xol Tylul                  $9.00   55.12   $   11.00   $ 110.23   $    83.14   $   193.38
  1/26/2020 Victoriano Xol Tylul                  $9.00   53.25   $   11.00   $ 106.50   $    72.88   $   179.38
 10/29/2017 Vinicio Caniz-1443                   $10.35   51.78   $    8.44              $    60.98   $    60.98
  11/5/2017 Vinicio Caniz-1443                   $10.35   59.02   $    8.44              $    98.41   $    98.41
 11/12/2017 Vinicio Caniz-1443                   $10.35   59.85   $    8.44              $   102.72   $   102.72
 11/19/2017 Vinicio Caniz-1443                   $10.35   59.55   $    8.44              $   101.17   $   101.17
 11/26/2017 Vinicio Caniz-1443                   $10.35   49.15   $    8.44              $    47.35   $    47.35
  12/3/2017 Vinicio Caniz-1443                   $10.35   59.53   $    8.44              $   101.09   $   101.09
 12/10/2017 Vinicio Caniz-1443                   $10.35   59.22   $    8.44              $    99.45   $    99.45
 12/17/2017 Vinicio Caniz-1443                   $10.35   59.03   $    8.44              $    98.50   $    98.50
 12/24/2017 Vinicio Caniz-1443                   $10.35   59.70   $    8.44              $   101.95   $   101.95
 12/31/2017 Vinicio Caniz-1443                   $10.35   49.27   $    8.44              $    47.96   $    47.96
  1/14/2018 Vinicio Caniz-1443                   $10.35   59.43   $    8.60              $   100.57   $   100.57
  1/21/2018 Vinicio Caniz-1443                   $10.35   51.17   $    8.60              $    57.79   $    57.79
  1/28/2018 Vinicio Caniz-1443                   $10.35   41.30   $    8.60              $     6.73   $     6.73
   2/4/2018 Vinicio Caniz-1443                   $10.35   58.87   $    8.60              $    97.64   $    97.64
  2/11/2018 Vinicio Caniz-1443                   $10.35   59.07   $    8.60              $    98.67   $    98.67
  2/18/2018 Vinicio Caniz-1443                   $10.35   60.37   $    8.60              $   105.40   $   105.40
  2/25/2018 Vinicio Caniz-1443                   $10.35   60.03   $    8.60              $   103.67   $   103.67
   3/4/2018 Vinicio Caniz-1443                   $10.35   59.57   $    8.60              $   101.26   $   101.26
  3/25/2018 Vinicio Caniz-1443                   $10.35   57.47   $    8.60              $    90.39   $    90.39
   4/1/2018 Vinicio Caniz-1443                   $10.35   59.87   $    8.60              $   102.81   $   102.81
   4/8/2018 Vinicio Caniz-1443                   $10.35   59.33   $    8.60              $   100.05   $   100.05
  4/15/2018 Vinicio Caniz-1443                   $10.35   59.78   $    8.60              $   102.38   $   102.38
  4/22/2018 Vinicio Caniz-1443                   $10.35   60.53   $    8.60              $   106.26   $   106.26
  4/29/2018 Vinicio Caniz-1443                   $10.35   60.32   $    8.60              $   105.14   $   105.14
   5/6/2018 Vinicio Caniz-1443                   $10.35   59.13   $    8.60              $    99.02   $    99.02
  5/13/2018 Vinicio Caniz-1443                   $10.35   60.43   $    8.60              $   105.74   $   105.74
  5/20/2018 Vinicio Caniz-1443                   $10.35   60.15   $    8.60              $   104.28   $   104.28
  5/27/2018 Vinicio Caniz-1443                   $10.35   59.33   $    8.60              $   100.05   $   100.05
   6/3/2018 Vinicio Caniz-1443                   $10.35   41.38   $    8.60              $     7.16   $     7.16
  6/10/2018 Vinicio Caniz-1443                   $10.35   59.32   $    8.60              $    99.96   $    99.96
  6/17/2018 Vinicio Caniz-1443                   $10.35   59.72   $    8.60              $   102.03   $   102.03
  6/24/2018 Vinicio Caniz-1443                   $10.35   60.00   $    8.60              $   103.50   $   103.50
   7/1/2018 Vinicio Caniz-1443                   $10.35   59.93   $    8.60              $   103.16   $   103.16
   7/8/2018 Vinicio Caniz-1443                   $10.35   49.47   $    8.60              $    48.99   $    48.99
  7/15/2018 Vinicio Caniz-1443                   $10.35   59.97   $    8.60              $   103.33   $   103.33
  7/22/2018 Vinicio Caniz-1443                   $10.35   60.70   $    8.60              $   107.12   $   107.12
  7/29/2018 Vinicio Caniz-1443                   $10.35   60.00   $    8.60              $   103.50   $   103.50
   8/5/2018 Vinicio Caniz-1443                   $10.35   60.42   $    8.60              $   105.66   $   105.66
  8/12/2018 Vinicio Caniz-1443                   $10.35   61.13   $    8.60              $   109.37   $   109.37



                                                   642
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 644 of 683 PageID: 1491
                                                  Exhibit 2
                                          New Jersey Computations


   Week                                                          State Section 7: Section 7: Total Section 7
                                                 Hourly Hours/
  Ending                           Name                        Minumum Regular    Half-Time Overtime Back
                                                  Rate Week
   Date                                                          Wage  Rate Due     Due       Wages Due

  8/19/2018 Vinicio Caniz-1443                   $10.35   60.38   $   8.60          $   105.48   $    105.48
  8/26/2018 Vinicio Caniz-1443                   $10.35   60.33   $   8.60          $   105.23   $    105.23
   9/2/2018 Vinicio Caniz-1443                   $10.35   61.08   $   8.60          $   109.11   $    109.11
   9/9/2018 Vinicio Caniz-1443                   $10.35   50.42   $   8.60          $    53.91   $     53.91
  9/16/2018 Vinicio Caniz-1443                   $10.35   60.40   $   8.60          $   105.57   $    105.57
  9/23/2018 Vinicio Caniz-1443                   $10.35   60.87   $   8.60          $   107.99   $    107.99
  9/30/2018 Vinicio Caniz-1443                   $10.35   60.50   $   8.60          $   106.09   $    106.09
  10/7/2018 Vinicio Caniz-1443                   $10.35   61.42   $   8.60          $   110.83   $    110.83
 10/14/2018 Vinicio Caniz-1443                   $10.35   59.97   $   8.60          $   103.33   $    103.33
 10/21/2018 Vinicio Caniz-1443                   $10.35   61.05   $   8.60          $   108.93   $    108.93
 10/28/2018 Vinicio Caniz-1443                   $10.35   60.75   $   8.60          $   107.38   $    107.38
  11/4/2018 Vinicio Caniz-1443                   $10.35   61.73   $   8.60          $   112.47   $    112.47
 11/11/2018 Vinicio Caniz-1443                   $10.35   50.02   $   8.60          $    51.84   $     51.84
 11/25/2018 Vinicio Caniz-1443                   $10.35   49.18   $   8.60          $    47.52   $     47.52
  12/2/2018 Vinicio Caniz-1443                   $10.35   60.73   $   8.60          $   107.30   $    107.30
  12/9/2018 Vinicio Caniz-1443                   $10.35   57.98   $   8.60          $    93.06   $     93.06
 12/23/2018 Vinicio Caniz-1443                   $10.35   59.75   $   8.60          $   102.21   $    102.21
 12/30/2018 Vinicio Caniz-1443                   $10.35   48.55   $   8.60          $    44.25   $     44.25
  1/13/2019 Vinicio Caniz-1443                   $10.35   40.05   $   8.85          $     0.26   $      0.26
  1/20/2019 Vinicio Caniz-1443                   $10.35   41.57   $   8.85          $     8.11   $      8.11
  1/27/2019 Vinicio Caniz-1443                   $10.35   41.83   $   8.85          $     9.49   $      9.49
  5/13/2018 Virgil Chance-0311                    $9.50   45.65   $   8.60          $    26.84   $     26.84
  5/27/2018 Virgil Chance-0311                    $9.50   40.97   $   8.60          $     4.59   $      4.59
  6/24/2018 Virgil Chance-0311                    $9.50   40.82   $   8.60          $     3.88   $      3.88
 12/16/2018 Virgil Chance-0311                    $9.50   56.23   $   8.60          $    77.11   $     77.11
   1/6/2019 Virgil Chance-0311                    $9.50   43.87   $   8.85          $    18.37   $     18.37
  1/13/2019 Virgil Chance-0311                    $9.50   57.85   $   8.85          $    84.79   $     84.79
  1/20/2019 Virgil Chance-0311                    $9.50   49.38   $   8.85          $    44.57   $     44.57
   2/3/2019 Virgil Chance-0311                    $9.50   48.28   $   8.85          $    39.35   $     39.35
  4/30/2017 Vivaldy A. Rodriguez                  $9.00   56.67   $   8.44          $    75.00   $     75.00
   5/7/2017 Vivaldy A. Rodriguez                  $9.00   56.47   $   8.44          $    74.10   $     74.10
  5/14/2017 Vivaldy A. Rodriguez                  $9.00   53.43   $   8.44          $    60.45   $     60.45
  5/21/2017 Vivaldy A. Rodriguez                  $9.00   56.62   $   8.44          $    74.78   $     74.78
  5/28/2017 Vivaldy A. Rodriguez                  $9.00   57.32   $   8.44          $    77.93   $     77.93
   6/4/2017 Vivaldy A. Rodriguez                  $9.00   46.22   $   8.44          $    27.98   $     27.98
  6/11/2017 Vivaldy A. Rodriguez                  $9.00   56.90   $   8.44          $    76.05   $     76.05
  6/18/2017 Vivaldy A. Rodriguez                  $9.00   55.20   $   8.44          $    68.40   $     68.40
  6/25/2017 Vivaldy A. Rodriguez                  $9.00   51.03   $   8.44          $    49.65   $     49.65
   7/2/2017 Vivaldy A. Rodriguez                  $9.00   54.98   $   8.44          $    67.43   $     67.43
   7/9/2017 Vivaldy A. Rodriguez                  $9.00   46.95   $   8.44          $    31.28   $     31.28
  7/16/2017 Vivaldy A. Rodriguez                  $9.00   54.52   $   8.44          $    65.33   $     65.33
  7/23/2017 Vivaldy A. Rodriguez                  $9.00   57.10   $   8.44          $    76.95   $     76.95
  7/30/2017 Vivaldy A. Rodriguez                  $9.00   56.68   $   8.44          $    75.08   $     75.08
   8/6/2017 Vivaldy A. Rodriguez                  $9.00   54.53   $   8.44          $    65.40   $     65.40
  8/13/2017 Vivaldy A. Rodriguez                  $9.00   55.37   $   8.44          $    69.15   $     69.15
  8/20/2017 Vivaldy A. Rodriguez                  $9.00   45.50   $   8.44          $    24.75   $     24.75
  8/27/2017 Vivaldy A. Rodriguez                  $9.00   56.90   $   8.44          $    76.05   $     76.05
   9/3/2017 Vivaldy A. Rodriguez                  $9.00   58.60   $   8.44          $    83.70   $     83.70
  9/10/2017 Vivaldy A. Rodriguez                  $9.00   51.07   $   8.44          $    49.80   $     49.80
  9/17/2017 Vivaldy A. Rodriguez                  $9.00   56.07   $   8.44          $    72.30   $     72.30



                                                   643
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 645 of 683 PageID: 1492
                                                  Exhibit 2
                                          New Jersey Computations


   Week                                                          State Section 7: Section 7: Total Section 7
                                                 Hourly Hours/
  Ending                           Name                        Minumum Regular    Half-Time Overtime Back
                                                  Rate Week
   Date                                                          Wage  Rate Due     Due       Wages Due

  9/24/2017 Vivaldy A. Rodriguez                  $9.00   55.85   $   8.44          $    71.33   $     71.33
  10/1/2017 Vivaldy A. Rodriguez                  $9.00   54.78   $   8.44          $    66.53   $     66.53
  10/8/2017 Vivaldy A. Rodriguez                  $9.00   55.93   $   8.44          $    71.70   $     71.70
 10/15/2017 Vivaldy A. Rodriguez                  $9.00   44.87   $   8.44          $    21.90   $     21.90
 10/22/2017 Vivaldy A. Rodriguez                  $9.00   56.95   $   8.44          $    76.27   $     76.27
 10/29/2017 Vivaldy A. Rodriguez                  $9.00   57.27   $   8.44          $    77.70   $     77.70
  11/5/2017 Vivaldy A. Rodriguez                  $9.00   50.00   $   8.44          $    45.00   $     45.00
 11/12/2017 Vivaldy A. Rodriguez                  $9.00   59.47   $   8.44          $    87.60   $     87.60
 11/19/2017 Vivaldy A. Rodriguez                  $9.00   56.45   $   8.44          $    74.03   $     74.03
  12/3/2017 Vivaldy A. Rodriguez                  $9.00   59.08   $   8.44          $    85.88   $     85.88
 12/10/2017 Vivaldy A. Rodriguez                  $9.00   51.43   $   8.44          $    51.45   $     51.45
 12/17/2017 Vivaldy A. Rodriguez                  $9.00   59.55   $   8.44          $    87.98   $     87.98
 12/24/2017 Vivaldy A. Rodriguez                  $9.00   60.50   $   8.44          $    92.25   $     92.25
 12/31/2017 Vivaldy A. Rodriguez                  $9.00   40.62   $   8.44          $     2.78   $      2.78
   1/7/2018 Vivaldy A. Rodriguez                  $9.00   44.67   $   8.60          $    21.00   $     21.00
  1/14/2018 Vivaldy A. Rodriguez                  $9.00   57.22   $   8.60          $    77.48   $     77.48
  1/21/2018 Vivaldy A. Rodriguez                  $9.00   57.27   $   8.60          $    77.70   $     77.70
  1/28/2018 Vivaldy A. Rodriguez                  $9.00   44.35   $   8.60          $    19.58   $     19.58
   2/4/2018 Vivaldy A. Rodriguez                  $9.00   57.75   $   8.60          $    79.88   $     79.88
  2/11/2018 Vivaldy A. Rodriguez                  $9.00   47.30   $   8.60          $    32.85   $     32.85
  2/18/2018 Vivaldy A. Rodriguez                  $9.00   57.77   $   8.60          $    79.95   $     79.95
  2/25/2018 Vivaldy A. Rodriguez                  $9.00   55.68   $   8.60          $    70.58   $     70.58
   3/4/2018 Vivaldy A. Rodriguez                  $9.00   55.22   $   8.60          $    68.48   $     68.48
  3/25/2018 Vivaldy A. Rodriguez                  $9.00   53.93   $   8.60          $    62.70   $     62.70
   4/1/2018 Vivaldy A. Rodriguez                  $9.00   57.78   $   8.60          $    80.03   $     80.03
   4/8/2018 Vivaldy A. Rodriguez                  $9.00   54.93   $   8.60          $    67.20   $     67.20
  4/15/2018 Vivaldy A. Rodriguez                  $9.00   56.02   $   8.60          $    72.08   $     72.08
  4/22/2018 Vivaldy A. Rodriguez                  $9.00   47.20   $   8.60          $    32.40   $     32.40
  4/29/2018 Vivaldy A. Rodriguez                  $9.00   59.02   $   8.60          $    85.58   $     85.58
  5/13/2018 Vivaldy A. Rodriguez                  $9.00   52.33   $   8.60          $    55.50   $     55.50
  5/20/2018 Vivaldy A. Rodriguez                  $9.00   41.52   $   8.60          $     6.83   $      6.83
  5/27/2018 Vivaldy A. Rodriguez                  $9.00   47.88   $   8.60          $    35.48   $     35.48
   2/5/2017 Wadis A. Mendez                      $13.00   60.60   $   8.44          $   133.90   $    133.90
  2/12/2017 Wadis A. Mendez                      $13.00   58.63   $   8.44          $   121.12   $    121.12
  2/19/2017 Wadis A. Mendez                      $13.00   59.20   $   8.44          $   124.80   $    124.80
  2/26/2017 Wadis A. Mendez                      $13.00   65.18   $   8.44          $   163.69   $    163.69
   3/5/2017 Wadis A. Mendez                      $13.00   61.52   $   8.44          $   139.86   $    139.86
  3/12/2017 Wadis A. Mendez                      $13.00   58.83   $   8.44          $   122.42   $    122.42
  3/19/2017 Wadis A. Mendez                      $13.00   51.68   $   8.44          $    75.94   $     75.94
  3/26/2017 Wadis A. Mendez                      $13.00   66.23   $   8.44          $   170.52   $    170.52
   4/2/2017 Wadis A. Mendez                      $13.00   60.92   $   8.44          $   135.96   $    135.96
   4/9/2017 Wadis A. Mendez                      $13.00   63.90   $   8.44          $   155.35   $    155.35
  4/16/2017 Wadis A. Mendez                      $13.00   63.50   $   8.44          $   152.75   $    152.75
  4/23/2017 Wadis A. Mendez                      $13.00   64.77   $   8.44          $   160.98   $    160.98
  4/30/2017 Wadis A. Mendez                      $13.00   65.62   $   8.44          $   166.51   $    166.51
   5/7/2017 Wadis A. Mendez                      $13.00   69.80   $   8.44          $   193.70   $    193.70
  5/14/2017 Wadis A. Mendez                      $13.00   66.88   $   8.44          $   174.74   $    174.74
  5/21/2017 Wadis A. Mendez                      $13.00   65.93   $   8.44          $   168.57   $    168.57
  5/28/2017 Wadis A. Mendez                      $13.00   58.15   $   8.44          $   117.98   $    117.98
   6/4/2017 Wadis A. Mendez                      $13.00   64.42   $   8.44          $   158.71   $    158.71



                                                   644
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 646 of 683 PageID: 1493
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  6/11/2017 Wadis A. Mendez                 $13.00   66.93   $   8.44          $   175.07   $    175.07
  6/18/2017 Wadis A. Mendez                 $13.00   67.05   $   8.44          $   175.83   $    175.83
  6/25/2017 Wadis A. Mendez                 $13.00   67.93   $   8.44          $   181.57   $    181.57
   7/2/2017 Wadis A. Mendez                 $13.00   69.08   $   8.44          $   189.04   $    189.04
   7/9/2017 Wadis A. Mendez                 $13.00   65.05   $   8.44          $   162.83   $    162.83
  7/16/2017 Wadis A. Mendez                 $13.00   63.80   $   8.44          $   154.70   $    154.70
  7/23/2017 Wadis A. Mendez                 $13.00   63.25   $   8.44          $   151.13   $    151.13
  7/30/2017 Wadis A. Mendez                 $13.00   63.22   $   8.44          $   150.91   $    150.91
   8/6/2017 Wadis A. Mendez                 $13.00   63.13   $   8.44          $   150.37   $    150.37
  8/13/2017 Wadis A. Mendez                 $13.00   64.92   $   8.44          $   161.96   $    161.96
  8/20/2017 Wadis A. Mendez                 $13.00   65.30   $   8.44          $   164.45   $    164.45
  8/27/2017 Wadis A. Mendez                 $13.00   64.12   $   8.44          $   156.76   $    156.76
   9/3/2017 Wadis A. Mendez                 $13.00   67.60   $   8.44          $   179.40   $    179.40
  9/10/2017 Wadis A. Mendez                 $13.00   61.97   $   8.44          $   142.78   $    142.78
  9/17/2017 Wadis A. Mendez                 $13.00   66.22   $   8.44          $   170.41   $    170.41
  9/24/2017 Wadis A. Mendez                 $13.00   64.75   $   8.44          $   160.88   $    160.88
  10/1/2017 Wadis A. Mendez                 $13.00   64.38   $   8.44          $   158.49   $    158.49
  10/8/2017 Wadis A. Mendez                 $13.00   60.68   $   8.44          $   134.44   $    134.44
 10/15/2017 Wadis A. Mendez                 $13.00   60.90   $   8.44          $   135.85   $    135.85
 10/22/2017 Wadis A. Mendez                 $13.00   64.05   $   8.44          $   156.33   $    156.33
 10/29/2017 Wadis A. Mendez                 $13.00   62.93   $   8.44          $   149.07   $    149.07
  11/5/2017 Wadis A. Mendez                 $13.00   62.87   $   8.44          $   148.63   $    148.63
 11/12/2017 Wadis A. Mendez                 $13.00   67.18   $   8.44          $   176.69   $    176.69
 11/19/2017 Wadis A. Mendez                 $13.00   61.00   $   8.44          $   136.50   $    136.50
 11/26/2017 Wadis A. Mendez                 $13.00   57.37   $   8.44          $   112.88   $    112.88
  12/3/2017 Wadis A. Mendez                 $13.00   70.53   $   8.44          $   198.47   $    198.47
 12/10/2017 Wadis A. Mendez                 $13.00   67.58   $   8.44          $   179.29   $    179.29
 12/17/2017 Wadis A. Mendez                 $13.00   66.33   $   8.44          $   171.17   $    171.17
 12/24/2017 Wadis A. Mendez                 $13.00   65.17   $   8.44          $   163.58   $    163.58
 12/31/2017 Wadis A. Mendez                 $13.00   58.13   $   8.44          $   117.87   $    117.87
   1/7/2018 Wadis A. Mendez                 $13.00   56.48   $   8.60          $   107.14   $    107.14
  1/14/2018 Wadis A. Mendez                 $13.00   68.37   $   8.60          $   184.38   $    184.38
  1/21/2018 Wadis A. Mendez                 $13.00   64.13   $   8.60          $   156.87   $    156.87
  1/28/2018 Wadis A. Mendez                 $13.00   62.67   $   8.60          $   147.33   $    147.33
   2/4/2018 Wadis A. Mendez                 $13.00   62.65   $   8.60          $   147.23   $    147.23
  2/11/2018 Wadis A. Mendez                 $13.00   58.65   $   8.60          $   121.23   $    121.23
  2/18/2018 Wadis A. Mendez                 $13.00   61.43   $   8.60          $   139.32   $    139.32
  2/25/2018 Wadis A. Mendez                 $13.00   60.15   $   8.60          $   130.98   $    130.98
   3/4/2018 Wadis A. Mendez                 $13.00   59.37   $   8.60          $   125.88   $    125.88
  3/25/2018 Wadis A. Mendez                 $13.00   61.23   $   8.60          $   138.02   $    138.02
   4/1/2018 Wadis A. Mendez                 $13.00   63.05   $   8.60          $   149.83   $    149.83
   4/8/2018 Wadis A. Mendez                 $13.00   64.20   $   8.60          $   157.30   $    157.30
  4/15/2018 Wadis A. Mendez                 $13.00   65.97   $   8.60          $   168.78   $    168.78
  4/22/2018 Wadis A. Mendez                 $13.00   65.40   $   8.60          $   165.10   $    165.10
  4/29/2018 Wadis A. Mendez                 $13.00   66.20   $   8.60          $   170.30   $    170.30
   5/6/2018 Wadis A. Mendez                 $13.00   68.33   $   8.60          $   184.17   $    184.17
  5/13/2018 Wadis A. Mendez                 $13.00   69.45   $   8.60          $   191.43   $    191.43
  5/20/2018 Wadis A. Mendez                 $13.00   68.08   $   8.60          $   182.54   $    182.54
  5/27/2018 Wadis A. Mendez                 $13.00   67.63   $   8.60          $   179.62   $    179.62
   6/3/2018 Wadis A. Mendez                 $13.00   67.45   $   8.60          $   178.43   $    178.43



                                              645
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 647 of 683 PageID: 1494
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  6/10/2018 Wadis A. Mendez                 $13.00   66.48   $    8.60         $   172.14   $    172.14
  6/17/2018 Wadis A. Mendez                 $13.00   66.32   $    8.60         $   171.06   $    171.06
  6/24/2018 Wadis A. Mendez                 $13.00   66.52   $    8.60         $   172.36   $    172.36
   7/1/2018 Wadis A. Mendez                 $13.00   66.53   $    8.60         $   172.47   $    172.47
   7/8/2018 Wadis A. Mendez                 $13.00   78.73   $    8.60         $   251.77   $    251.77
  7/15/2018 Wadis A. Mendez                 $13.00   66.68   $    8.60         $   173.44   $    173.44
  7/22/2018 Wadis A. Mendez                 $13.00   65.73   $    8.60         $   167.27   $    167.27
  7/29/2018 Wadis A. Mendez                 $13.00   67.37   $    8.60         $   177.88   $    177.88
   8/5/2018 Wadis A. Mendez                 $13.00   55.10   $    8.60         $    98.15   $     98.15
  8/12/2018 Wadis A. Mendez                 $13.00   65.30   $    8.60         $   164.45   $    164.45
  8/26/2018 Wadis A. Mendez                 $13.00   66.30   $    8.60         $   170.95   $    170.95
   9/2/2018 Wadis A. Mendez                 $13.00   67.62   $    8.60         $   179.51   $    179.51
   9/9/2018 Wadis A. Mendez                 $13.00   65.30   $    8.60         $   164.45   $    164.45
  9/16/2018 Wadis A. Mendez                 $13.00   64.95   $    8.60         $   162.18   $    162.18
  9/23/2018 Wadis A. Mendez                 $13.00   64.75   $    8.60         $   160.88   $    160.88
  9/30/2018 Wadis A. Mendez                 $13.00   71.88   $    8.60         $   207.24   $    207.24
  10/7/2018 Wadis A. Mendez                 $13.00   47.35   $    8.60         $    47.78   $     47.78
 10/14/2018 Wadis A. Mendez                 $13.00   60.18   $    8.60         $   131.19   $    131.19
 10/21/2018 Wadis A. Mendez                 $13.00   51.32   $    8.60         $    73.56   $     73.56
  11/4/2018 Wadis A. Mendez                 $13.00   66.57   $    8.60         $   172.68   $    172.68
 11/11/2018 Wadis A. Mendez                 $13.00   65.43   $    8.60         $   165.32   $    165.32
 11/18/2018 Wadis A. Mendez                 $13.00   66.35   $    8.60         $   171.28   $    171.28
 11/25/2018 Wadis A. Mendez                 $13.00   57.45   $    8.60         $   113.43   $    113.43
  12/2/2018 Wadis A. Mendez                 $13.00   66.42   $    8.60         $   171.71   $    171.71
  12/9/2018 Wadis A. Mendez                 $13.00   67.35   $    8.60         $   177.78   $    177.78
 12/16/2018 Wadis A. Mendez                 $13.00   57.72   $    8.60         $   115.16   $    115.16
 12/23/2018 Wadis A. Mendez                 $13.00   85.93   $    8.60         $   298.57   $    298.57
 12/30/2018 Wadis A. Mendez                 $13.00   66.88   $    8.60         $   174.74   $    174.74
   1/6/2019 Wadis A. Mendez                 $13.00   68.25   $    8.85         $   183.63   $    183.63
  1/13/2019 Wadis A. Mendez                 $13.00   68.63   $    8.85         $   186.12   $    186.12
  1/20/2019 Wadis A. Mendez                 $13.00   66.30   $    8.85         $   170.95   $    170.95
  1/27/2019 Wadis A. Mendez                 $13.00   67.02   $    8.85         $   175.61   $    175.61
   2/3/2019 Wadis A. Mendez                 $13.00   69.23   $    8.85         $   190.02   $    190.02
  2/10/2019 Wadis A. Mendez                 $13.00   67.20   $    8.85         $   176.80   $    176.80
  2/17/2019 Wadis A. Mendez                 $13.00   65.55   $    8.85         $   166.08   $    166.08
  2/24/2019 Wadis A. Mendez                 $13.00   67.95   $    8.85         $   181.68   $    181.68
   3/3/2019 Wadis A. Mendez                 $13.00   67.42   $    8.85         $   178.21   $    178.21
  3/10/2019 Wadis A. Mendez                 $13.00   65.37   $    8.85         $   164.88   $    164.88
  3/17/2019 Wadis A. Mendez                 $13.00   68.30   $    8.85         $   183.95   $    183.95
  3/24/2019 Wadis A. Mendez                 $13.00   57.48   $    8.85         $   113.64   $    113.64
  3/31/2019 Wadis A. Mendez                 $13.00   66.10   $    8.85         $   169.65   $    169.65
   4/7/2019 Wadis A. Mendez                 $13.00   50.33   $    8.85         $    67.17   $     67.17
 10/20/2019 Wadis A. Mendez                 $13.00   51.03   $   10.00         $    71.72   $     71.72
  11/3/2019 Wadis A. Mendez                 $13.00   49.40   $   10.00         $    61.10   $     61.10
 11/10/2019 Wadis A. Mendez                 $13.00   57.75   $   10.00         $   115.38   $    115.38
 11/17/2019 Wadis A. Mendez                 $13.00   53.13   $   10.00         $    85.37   $     85.37
 11/24/2019 Wadis A. Mendez                 $13.00   50.32   $   10.00         $    67.06   $     67.06
  12/1/2019 Wadis A. Mendez                 $13.00   51.52   $   10.00         $    74.86   $     74.86
  12/8/2019 Wadis A. Mendez                 $13.00   61.72   $   10.00         $   141.16   $    141.16
 12/15/2019 Wadis A. Mendez                 $13.00   51.82   $   10.00         $    76.81   $     76.81



                                              646
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 648 of 683 PageID: 1495
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

 12/22/2019 Wadis A. Mendez                  $13.00   69.67   $   10.00               $   192.83   $   192.83
 12/29/2019 Wadis A. Mendez                  $13.00   57.52   $   10.00               $   113.86   $   113.86
   1/5/2020 Wadis A. Mendez                  $13.00   67.18   $   11.00               $   176.69   $   176.69
  1/12/2020 Wadis A. Mendez                  $13.00   59.67   $   11.00               $   127.83   $   127.83
  1/19/2020 Wadis A. Mendez                  $13.00   58.03   $   11.00               $   117.22   $   117.22
  1/26/2020 Wadis A. Mendez                  $13.00   59.17   $   11.00               $   124.58   $   124.58
   9/8/2019 Waldy Gonzalez Paulino            $9.50   42.48   $   10.00   $   21.24   $    12.42   $    33.66
  9/15/2019 Waldy Gonzalez Paulino            $9.50   64.53   $   10.00   $   32.27   $   122.67   $   154.93
  9/22/2019 Waldy Gonzalez Paulino            $9.50   69.45   $   10.00   $   34.73   $   147.25   $   181.98
  9/29/2019 Waldy Gonzalez Paulino            $9.50   49.20   $   10.00   $   24.60   $    46.00   $    70.60
  10/6/2019 Waldy Gonzalez Paulino            $9.50   67.48   $   10.00   $   33.74   $   137.42   $   171.16
 10/13/2019 Waldy Gonzalez Paulino            $9.50   63.17   $   10.00   $   31.58   $   115.83   $   147.42
 10/20/2019 Waldy Gonzalez Paulino            $9.50   51.78   $   10.00   $   25.89   $    58.92   $    84.81
 10/27/2019 Waldy Gonzalez Paulino            $9.50   41.57   $   10.00   $   20.78   $     7.83   $    28.62
  11/3/2019 Waldy Gonzalez Paulino            $9.50   58.62   $   10.00   $   29.31   $    93.08   $   122.39
   2/5/2017 Walid Raful                       $9.00   67.87   $    8.44               $   125.40   $   125.40
  2/12/2017 Walid Raful                       $9.00   60.83   $    8.44               $    93.75   $    93.75
  2/19/2017 Walid Raful                       $9.00   67.93   $    8.44               $   125.70   $   125.70
  2/26/2017 Walid Raful                       $9.00   68.12   $    8.44               $   126.53   $   126.53
   3/5/2017 Walid Raful                       $9.00   64.45   $    8.44               $   110.03   $   110.03
  3/12/2017 Walid Raful                       $9.00   60.92   $    8.44               $    94.13   $    94.13
  3/19/2017 Walid Raful                       $9.00   40.45   $    8.44               $     2.03   $     2.03
  3/26/2017 Walid Raful                       $9.00   62.90   $    8.44               $   103.05   $   103.05
   4/2/2017 Walid Raful                       $9.00   67.90   $    8.44               $   125.55   $   125.55
   4/9/2017 Walid Raful                       $9.00   58.93   $    8.44               $    85.20   $    85.20
  4/16/2017 Walid Raful                       $9.00   69.65   $    8.44               $   133.43   $   133.43
  4/23/2017 Walid Raful                       $9.00   68.93   $    8.44               $   130.20   $   130.20
  4/30/2017 Walid Raful                       $9.00   68.57   $    8.44               $   128.55   $   128.55
   5/7/2017 Walid Raful                       $9.00   64.45   $    8.44               $   110.03   $   110.03
  5/14/2017 Walid Raful                       $9.00   67.45   $    8.44               $   123.53   $   123.53
  5/21/2017 Walid Raful                       $9.00   68.55   $    8.44               $   128.48   $   128.48
  5/28/2017 Walid Raful                       $9.00   66.55   $    8.44               $   119.48   $   119.48
   6/4/2017 Walid Raful                       $9.00   61.82   $    8.44               $    98.18   $    98.18
  6/11/2017 Walid Raful                       $9.00   67.77   $    8.44               $   124.95   $   124.95
  6/18/2017 Walid Raful                       $9.00   70.25   $    8.44               $   136.13   $   136.13
  6/25/2017 Walid Raful                       $9.00   68.73   $    8.44               $   129.30   $   129.30
   7/2/2017 Walid Raful                       $9.00   68.83   $    8.44               $   129.75   $   129.75
   7/9/2017 Walid Raful                       $9.00   66.82   $    8.44               $   120.68   $   120.68
  7/16/2017 Walid Raful                       $9.00   51.17   $    8.44               $    50.25   $    50.25
  7/23/2017 Walid Raful                       $9.00   69.63   $    8.44               $   133.35   $   133.35
  7/30/2017 Walid Raful                       $9.00   63.90   $    8.44               $   107.55   $   107.55
   8/6/2017 Walid Raful                       $9.00   67.80   $    8.44               $   125.10   $   125.10
  8/13/2017 Walid Raful                       $9.00   58.80   $    8.44               $    84.60   $    84.60
  8/20/2017 Walid Raful                       $9.00   67.02   $    8.44               $   121.58   $   121.58
  8/27/2017 Walid Raful                       $9.00   69.12   $    8.44               $   131.03   $   131.03
   9/3/2017 Walid Raful                       $9.00   69.22   $    8.44               $   131.48   $   131.48
  9/10/2017 Walid Raful                       $9.00   54.45   $    8.44               $    65.03   $    65.03
  9/17/2017 Walid Raful                       $9.00   66.65   $    8.44               $   119.93   $   119.93
  9/24/2017 Walid Raful                       $9.00   63.30   $    8.44               $   104.85   $   104.85
  10/1/2017 Walid Raful                       $9.00   65.68   $    8.44               $   115.58   $   115.58



                                               647
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 649 of 683 PageID: 1496
                                         Exhibit 2
                                 New Jersey Computations


   Week                                                 State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
  Ending                  Name                        Minumum Regular    Half-Time Overtime Back
                                         Rate Week
   Date                                                 Wage  Rate Due     Due       Wages Due

  10/8/2017 Walid Raful                  $9.00   66.03   $   8.44          $   117.15   $    117.15
 10/15/2017 Walid Raful                  $9.00   67.50   $   8.44          $   123.75   $    123.75
 10/22/2017 Walid Raful                  $9.00   56.97   $   8.44          $    76.35   $     76.35
 10/29/2017 Walid Raful                  $9.00   63.65   $   8.44          $   106.43   $    106.43
  11/5/2017 Walid Raful                  $9.00   56.30   $   8.44          $    73.35   $     73.35
 11/12/2017 Walid Raful                  $9.00   54.55   $   8.44          $    65.48   $     65.48
 11/19/2017 Walid Raful                  $9.00   66.82   $   8.44          $   120.68   $    120.68
 11/26/2017 Walid Raful                  $9.00   57.12   $   8.44          $    77.03   $     77.03
  12/3/2017 Walid Raful                  $9.00   67.20   $   8.44          $   122.40   $    122.40
 12/10/2017 Walid Raful                  $9.00   70.32   $   8.44          $   136.43   $    136.43
 12/17/2017 Walid Raful                  $9.00   58.77   $   8.44          $    84.45   $     84.45
 12/24/2017 Walid Raful                  $9.00   53.42   $   8.44          $    60.38   $     60.38
 12/31/2017 Walid Raful                  $9.00   50.12   $   8.44          $    45.53   $     45.53
   1/7/2018 Walid Raful                  $9.00   51.17   $   8.60          $    50.25   $     50.25
  1/14/2018 Walid Raful                  $9.00   64.45   $   8.60          $   110.03   $    110.03
  3/25/2018 Walid Raful                 $10.00   56.20   $   8.60          $    81.00   $     81.00
   4/1/2018 Walid Raful                 $10.00   62.02   $   8.60          $   110.08   $    110.08
   4/8/2018 Walid Raful                 $10.00   61.20   $   8.60          $   106.00   $    106.00
  4/15/2018 Walid Raful                 $10.00   61.47   $   8.60          $   107.33   $    107.33
  4/22/2018 Walid Raful                 $10.00   65.42   $   8.60          $   127.08   $    127.08
  4/29/2018 Walid Raful                 $10.00   66.93   $   8.60          $   134.67   $    134.67
   5/6/2018 Walid Raful                 $10.00   60.17   $   8.60          $   100.83   $    100.83
  5/13/2018 Walid Raful                 $10.00   65.03   $   8.60          $   125.17   $    125.17
  5/20/2018 Walid Raful                 $10.00   63.13   $   8.60          $   115.67   $    115.67
  5/27/2018 Walid Raful                 $10.00   63.97   $   8.60          $   119.83   $    119.83
   6/3/2018 Walid Raful                 $10.00   65.60   $   8.60          $   128.00   $    128.00
  6/10/2018 Walid Raful                 $10.00   62.10   $   8.60          $   110.50   $    110.50
  6/17/2018 Walid Raful                 $10.00   64.55   $   8.60          $   122.75   $    122.75
  6/24/2018 Walid Raful                 $10.00   63.93   $   8.60          $   119.67   $    119.67
   7/1/2018 Walid Raful                 $10.00   65.03   $   8.60          $   125.17   $    125.17
   7/8/2018 Walid Raful                 $10.00   60.98   $   8.60          $   104.92   $    104.92
  7/15/2018 Walid Raful                 $10.00   61.63   $   8.60          $   108.17   $    108.17
  7/22/2018 Walid Raful                 $10.00   60.67   $   8.60          $   103.33   $    103.33
  7/29/2018 Walid Raful                 $10.00   61.60   $   8.60          $   108.00   $    108.00
   8/5/2018 Walid Raful                 $10.00   63.13   $   8.60          $   115.67   $    115.67
  8/12/2018 Walid Raful                 $10.00   63.22   $   8.60          $   116.08   $    116.08
  8/19/2018 Walid Raful                 $10.00   61.08   $   8.60          $   105.42   $    105.42
  8/26/2018 Walid Raful                 $10.00   62.83   $   8.60          $   114.17   $    114.17
   9/2/2018 Walid Raful                 $10.00   63.55   $   8.60          $   117.75   $    117.75
   9/9/2018 Walid Raful                 $10.00   60.08   $   8.60          $   100.42   $    100.42
  9/16/2018 Walid Raful                 $10.00   63.63   $   8.60          $   118.17   $    118.17
  9/23/2018 Walid Raful                 $10.00   61.62   $   8.60          $   108.08   $    108.08
  9/30/2018 Walid Raful                 $10.00   61.15   $   8.60          $   105.75   $    105.75
  10/7/2018 Walid Raful                 $10.00   61.62   $   8.60          $   108.08   $    108.08
 10/14/2018 Walid Raful                 $10.00   59.87   $   8.60          $    99.33   $     99.33
 10/21/2018 Walid Raful                 $10.00   59.93   $   8.60          $    99.67   $     99.67
 10/28/2018 Walid Raful                 $10.00   60.13   $   8.60          $   100.67   $    100.67
  11/4/2018 Walid Raful                 $10.00   59.67   $   8.60          $    98.33   $     98.33
 11/11/2018 Walid Raful                 $10.00   62.10   $   8.60          $   110.50   $    110.50
 11/18/2018 Walid Raful                 $10.00   59.77   $   8.60          $    98.83   $     98.83



                                          648
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 650 of 683 PageID: 1497
                                         Exhibit 2
                                 New Jersey Computations


   Week                                                 State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
  Ending                  Name                        Minumum Regular    Half-Time Overtime Back
                                         Rate Week
   Date                                                 Wage  Rate Due     Due       Wages Due

 11/25/2018 Walid Raful                 $10.00   52.97   $    8.60         $    64.83   $     64.83
  12/2/2018 Walid Raful                 $10.00   67.02   $    8.60         $   135.08   $    135.08
  12/9/2018 Walid Raful                 $10.00   66.05   $    8.60         $   130.25   $    130.25
 12/16/2018 Walid Raful                 $10.00   66.42   $    8.60         $   132.08   $    132.08
 12/23/2018 Walid Raful                 $10.00   61.20   $    8.60         $   106.00   $    106.00
 12/30/2018 Walid Raful                 $10.00   45.23   $    8.60         $    26.17   $     26.17
   1/6/2019 Walid Raful                 $10.00   55.73   $    8.85         $    78.67   $     78.67
  1/13/2019 Walid Raful                 $10.00   60.38   $    8.85         $   101.92   $    101.92
  1/20/2019 Walid Raful                 $10.00   59.03   $    8.85         $    95.17   $     95.17
  1/27/2019 Walid Raful                 $10.00   60.05   $    8.85         $   100.25   $    100.25
   2/3/2019 Walid Raful                 $10.00   61.17   $    8.85         $   105.83   $    105.83
  2/10/2019 Walid Raful                 $10.00   60.00   $    8.85         $   100.00   $    100.00
  2/17/2019 Walid Raful                 $10.00   59.55   $    8.85         $    97.75   $     97.75
  2/24/2019 Walid Raful                 $10.00   59.68   $    8.85         $    98.42   $     98.42
   3/3/2019 Walid Raful                 $10.00   60.43   $    8.85         $   102.17   $    102.17
  3/10/2019 Walid Raful                 $10.00   61.05   $    8.85         $   105.25   $    105.25
  3/17/2019 Walid Raful                 $10.00   59.80   $    8.85         $    99.00   $     99.00
  3/24/2019 Walid Raful                 $10.00   60.22   $    8.85         $   101.08   $    101.08
  3/31/2019 Walid Raful                 $10.00   62.65   $    8.85         $   113.25   $    113.25
   4/7/2019 Walid Raful                 $10.00   58.23   $    8.85         $    91.17   $     91.17
  4/14/2019 Walid Raful                 $10.00   62.87   $    8.85         $   114.33   $    114.33
  4/21/2019 Walid Raful                 $10.00   57.98   $    8.85         $    89.92   $     89.92
  4/28/2019 Walid Raful                 $10.00   60.32   $    8.85         $   101.58   $    101.58
   5/5/2019 Walid Raful                 $10.00   60.50   $    8.85         $   102.50   $    102.50
  5/12/2019 Walid Raful                 $10.00   59.83   $    8.85         $    99.17   $     99.17
  5/19/2019 Walid Raful                 $10.00   60.25   $    8.85         $   101.25   $    101.25
  5/26/2019 Walid Raful                 $10.00   60.82   $    8.85         $   104.08   $    104.08
   6/2/2019 Walid Raful                 $10.00   58.17   $    8.85         $    90.83   $     90.83
   6/9/2019 Walid Raful                 $10.00   60.05   $    8.85         $   100.25   $    100.25
  6/16/2019 Walid Raful                 $10.00   59.82   $    8.85         $    99.08   $     99.08
  6/23/2019 Walid Raful                 $10.00   60.30   $    8.85         $   101.50   $    101.50
  6/30/2019 Walid Raful                 $10.00   60.50   $   10.00         $   102.50   $    102.50
   7/7/2019 Walid Raful                 $10.00   56.80   $   10.00         $    84.00   $     84.00
  7/14/2019 Walid Raful                 $10.00   59.03   $   10.00         $    95.17   $     95.17
  7/21/2019 Walid Raful                 $10.00   54.35   $   10.00         $    71.75   $     71.75
  7/28/2019 Walid Raful                 $10.00   59.78   $   10.00         $    98.92   $     98.92
   8/4/2019 Walid Raful                 $10.00   60.47   $   10.00         $   102.33   $    102.33
  8/11/2019 Walid Raful                 $10.00   61.10   $   10.00         $   105.50   $    105.50
  8/18/2019 Walid Raful                 $10.00   60.95   $   10.00         $   104.75   $    104.75
  8/25/2019 Walid Raful                 $10.00   58.93   $   10.00         $    94.67   $     94.67
   9/1/2019 Walid Raful                 $10.00   62.18   $   10.00         $   110.92   $    110.92
   9/8/2019 Walid Raful                 $10.00   58.52   $   10.00         $    92.58   $     92.58
  9/15/2019 Walid Raful                 $10.00   58.07   $   10.00         $    90.33   $     90.33
  9/22/2019 Walid Raful                 $10.00   60.13   $   10.00         $   100.67   $    100.67
  9/29/2019 Walid Raful                 $10.00   55.67   $   10.00         $    78.33   $     78.33
  10/6/2019 Walid Raful                 $10.00   58.92   $   10.00         $    94.58   $     94.58
 10/13/2019 Walid Raful                 $10.00   60.12   $   10.00         $   100.58   $    100.58
 10/20/2019 Walid Raful                 $11.00   59.55   $   10.00         $   107.53   $    107.53
 10/27/2019 Walid Raful                 $11.00   61.37   $   10.00         $   117.52   $    117.52
  11/3/2019 Walid Raful                 $11.00   59.27   $   10.00         $   105.97   $    105.97



                                          649
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 651 of 683 PageID: 1498
                                                   Exhibit 2
                                           New Jersey Computations


   Week                                                           State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
  Ending                      Name                              Minumum Regular    Half-Time Overtime Back
                                                   Rate Week
   Date                                                           Wage  Rate Due     Due       Wages Due

 11/10/2019 Walid Raful                           $11.00   58.85   $   10.00               $   103.68   $   103.68
 11/17/2019 Walid Raful                           $11.00   48.68   $   10.00               $    47.76   $    47.76
 11/24/2019 Walid Raful                           $11.00   60.42   $   10.00               $   112.29   $   112.29
  12/1/2019 Walid Raful                           $11.00   49.37   $   10.00               $    51.52   $    51.52
  12/8/2019 Walid Raful                           $11.00   59.92   $   10.00               $   109.54   $   109.54
 12/15/2019 Walid Raful                           $10.00   59.83   $   10.00               $    99.17   $    99.17
 12/22/2019 Walid Raful                           $10.00   59.23   $   10.00               $    96.17   $    96.17
 12/29/2019 Walid Raful                           $10.00   46.28   $   10.00               $    31.42   $    31.42
   1/5/2020 Walid Raful                           $10.00   54.23   $   11.00   $   54.23   $    78.28   $   132.52
  1/12/2020 Walid Raful                           $10.00   57.48   $   11.00   $   57.48   $    96.16   $   153.64
  1/19/2020 Walid Raful                           $10.00   62.60   $   11.00   $   62.60   $   124.30   $   186.90
  1/26/2020 Walid Raful                           $10.00   64.07   $   11.00   $   64.07   $   132.37   $   196.43
  1/28/2018 Wallin Vargas                          $9.00   46.60   $    8.60               $    29.70   $    29.70
   2/4/2018 Wallin Vargas                          $9.00   55.68   $    8.60               $    70.58   $    70.58
  2/11/2018 Wallin Vargas                          $9.00   55.28   $    8.60               $    68.78   $    68.78
  2/25/2018 Wallin Vargas                          $9.00   55.28   $    8.60               $    68.78   $    68.78
   3/4/2018 Wallin Vargas                          $9.00   47.18   $    8.60               $    32.33   $    32.33
  3/25/2018 Wallin Vargas                          $9.00   53.82   $    8.60               $    62.18   $    62.18
   4/1/2018 Wallin Vargas                          $9.00   58.28   $    8.60               $    82.28   $    82.28
   4/8/2018 Wallin Vargas                          $9.00   58.62   $    8.60               $    83.78   $    83.78
  5/19/2019 Walter Sanchez                         $8.85   59.73   $    8.85               $    87.32   $    87.32
  5/26/2019 Walter Sanchez                         $8.85   76.40   $    8.85               $   161.07   $   161.07
   6/2/2019 Walter Sanchez                         $8.85   50.10   $    8.85               $    44.69   $    44.69
   6/9/2019 Walter Sanchez                         $8.85   63.22   $    8.85               $   102.73   $   102.73
  6/16/2019 Walter Sanchez                         $8.85   75.67   $    8.85               $   157.83   $   157.83
  6/23/2019 Walter Sanchez                         $8.85   48.35   $    8.85               $    36.95   $    36.95
  6/30/2019 Walter Sanchez                         $8.85   46.02   $   10.00   $   52.92   $    30.08   $    83.00
  7/14/2019 Walter Sanchez                        $12.00   76.70   $   10.00               $   220.20   $   220.20
  7/21/2019 Walter Sanchez                        $12.00   59.60   $   10.00               $   117.60   $   117.60
  5/20/2018 Warter De Jesus Lugo                   $9.50   45.80   $    8.60               $    27.55   $    27.55
  5/27/2018 Warter De Jesus Lugo                   $9.50   65.12   $    8.60               $   119.30   $   119.30
   6/3/2018 Warter De Jesus Lugo                   $9.50   56.10   $    8.60               $    76.47   $    76.47
  6/10/2018 Warter De Jesus Lugo                   $9.50   61.30   $    8.60               $   101.18   $   101.18
  6/17/2018 Warter De Jesus Lugo                   $9.50   60.87   $    8.60               $    99.12   $    99.12
  6/24/2018 Warter De Jesus Lugo                   $9.50   63.98   $    8.60               $   113.92   $   113.92
   7/1/2018 Warter De Jesus Lugo                   $9.50   60.23   $    8.60               $    96.11   $    96.11
   7/8/2018 Warter De Jesus Lugo                   $9.50   47.43   $    8.60               $    35.31   $    35.31
  7/15/2018 Warter De Jesus Lugo                   $9.50   51.58   $    8.60               $    55.02   $    55.02
  7/22/2018 Warter De Jesus Lugo                   $9.50   61.95   $    8.60               $   104.26   $   104.26
  7/29/2018 Warter De Jesus Lugo                   $9.50   61.68   $    8.60               $   103.00   $   103.00
   8/5/2018 Warter De Jesus Lugo                   $9.50   71.18   $    8.60               $   148.12   $   148.12
  8/12/2018 Warter De Jesus Lugo                   $9.50   48.58   $    8.60               $    40.77   $    40.77
  8/19/2018 Warter De Jesus Lugo                   $9.50   72.73   $    8.60               $   155.48   $   155.48
  8/26/2018 Warter De Jesus Lugo                   $9.50   70.00   $    8.60               $   142.50   $   142.50
   9/2/2018 Warter De Jesus Lugo                   $9.50   56.62   $    8.60               $    78.93   $    78.93
  9/16/2018 Warter De Jesus Lugo                   $9.50   46.98   $    8.60               $    33.17   $    33.17
  7/21/2019 Warter De Jesus Lugo Reinoso           $9.50   54.37   $   10.00   $   27.18   $    71.83   $    99.02
  7/28/2019 Warter De Jesus Lugo Reinoso           $9.50   57.55   $   10.00   $   28.78   $    87.75   $   116.53
   8/4/2019 Warter De Jesus Lugo Reinoso           $9.50   52.87   $   10.00   $   26.43   $    64.33   $    90.77
  8/11/2019 Warter De Jesus Lugo Reinoso           $9.50   52.57   $   10.00   $   26.28   $    62.83   $    89.12



                                                    650
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 652 of 683 PageID: 1499
                                                   Exhibit 2
                                           New Jersey Computations


   Week                                                           State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
  Ending                      Name                              Minumum Regular    Half-Time Overtime Back
                                                   Rate Week
   Date                                                           Wage  Rate Due     Due       Wages Due

  8/18/2019 Warter De Jesus Lugo Reinoso           $9.50   58.28   $   10.00   $   29.14   $    91.42   $   120.56
  8/25/2019 Warter De Jesus Lugo Reinoso           $9.50   53.85   $   10.00   $   26.93   $    69.25   $    96.18
   9/1/2019 Warter De Jesus Lugo Reinoso           $9.50   70.50   $   10.00   $   35.25   $   152.50   $   187.75
   9/8/2019 Warter De Jesus Lugo Reinoso           $9.50   55.05   $   10.00   $   27.53   $    75.25   $   102.78
  9/15/2019 Warter De Jesus Lugo Reinoso           $9.50   41.37   $   10.00   $   20.68   $     6.83   $    27.52
   2/5/2017 Wascar Santana                        $12.00   66.50   $    8.44               $   159.00   $   159.00
  2/12/2017 Wascar Santana                        $12.00   42.50   $    8.44               $    15.00   $    15.00
  2/19/2017 Wascar Santana                        $12.00   46.22   $    8.44               $    37.30   $    37.30
  2/26/2017 Wascar Santana                        $12.00   56.18   $    8.44               $    97.10   $    97.10
   3/5/2017 Wascar Santana                        $12.00   59.08   $    8.44               $   114.50   $   114.50
  3/12/2017 Wascar Santana                        $12.00   54.83   $    8.44               $    89.00   $    89.00
  3/26/2017 Wascar Santana                        $14.50   54.98   $    8.44               $   108.63   $   108.63
   4/2/2017 Wascar Santana                        $14.50   57.18   $    8.44               $   124.58   $   124.58
   4/9/2017 Wascar Santana                        $14.50   54.77   $    8.44               $   107.06   $   107.06
  4/16/2017 Wascar Santana                        $14.50   55.02   $    8.44               $   108.87   $   108.87
  4/23/2017 Wascar Santana                        $14.50   49.00   $    8.44               $    65.25   $    65.25
  4/30/2017 Wascar Santana                        $14.50   47.92   $    8.44               $    57.40   $    57.40
   5/7/2017 Wascar Santana                        $14.50   45.03   $    8.44               $    36.49   $    36.49
  5/14/2017 Wascar Santana                        $14.50   48.63   $    8.44               $    62.59   $    62.59
  5/21/2017 Wascar Santana                        $14.50   50.17   $    8.44               $    73.71   $    73.71
  5/28/2017 Wascar Santana                        $14.50   51.07   $    8.44               $    80.23   $    80.23
   6/4/2017 Wascar Santana                        $14.50   46.53   $    8.44               $    47.37   $    47.37
  6/11/2017 Wascar Santana                        $14.50   54.45   $    8.44               $   104.76   $   104.76
  6/18/2017 Wascar Santana                        $14.50   43.93   $    8.44               $    28.52   $    28.52
  6/25/2017 Wascar Santana                        $14.50   52.87   $    8.44               $    93.28   $    93.28
   7/2/2017 Wascar Santana                        $14.50   45.73   $    8.44               $    41.57   $    41.57
   7/9/2017 Wascar Santana                        $14.50   43.00   $    8.44               $    21.75   $    21.75
  7/16/2017 Wascar Santana                        $14.50   50.27   $    8.44               $    74.43   $    74.43
  7/23/2017 Wascar Santana                        $14.50   51.77   $    8.44               $    85.31   $    85.31
  7/30/2017 Wascar Santana                        $14.50   48.45   $    8.44               $    61.26   $    61.26
   8/6/2017 Wascar Santana                        $14.50   48.05   $    8.44               $    58.36   $    58.36
  8/13/2017 Wascar Santana                        $14.50   49.05   $    8.44               $    65.61   $    65.61
  8/20/2017 Wascar Santana                        $14.50   48.12   $    8.44               $    58.85   $    58.85
  8/27/2017 Wascar Santana                        $14.50   47.12   $    8.44               $    51.60   $    51.60
   9/3/2017 Wascar Santana                        $14.50   51.58   $    8.44               $    83.98   $    83.98
  9/10/2017 Wascar Santana                        $14.50   48.13   $    8.44               $    58.97   $    58.97
  9/17/2017 Wascar Santana                        $14.50   49.03   $    8.44               $    65.49   $    65.49
  9/24/2017 Wascar Santana                        $14.50   53.75   $    8.44               $    99.69   $    99.69
  10/1/2017 Wascar Santana                        $14.50   43.30   $    8.44               $    23.93   $    23.93
  10/8/2017 Wascar Santana                        $14.50   49.07   $    8.44               $    65.73   $    65.73
 10/15/2017 Wascar Santana                        $14.50   44.17   $    8.44               $    30.21   $    30.21
 10/22/2017 Wascar Santana                        $14.50   46.35   $    8.44               $    46.04   $    46.04
  11/5/2017 Wascar Santana                        $14.50   47.62   $    8.44               $    55.22   $    55.22
 11/19/2017 Wascar Santana                        $14.50   49.35   $    8.44               $    67.79   $    67.79
  1/14/2018 Wascar Santana                        $14.50   45.37   $    8.60               $    38.91   $    38.91
  1/21/2018 Wascar Santana                        $14.50   43.68   $    8.60               $    26.70   $    26.70
  1/28/2018 Wascar Santana                        $14.50   46.72   $    8.60               $    48.70   $    48.70
   2/4/2018 Wascar Santana                        $14.50   55.17   $    8.60               $   109.96   $   109.96
  2/11/2018 Wascar Santana                        $14.50   51.07   $    8.60               $    80.23   $    80.23
  2/18/2018 Wascar Santana                        $14.50   50.03   $    8.60               $    72.74   $    72.74



                                                    651
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 653 of 683 PageID: 1500
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  2/25/2018 Wascar Santana                   $14.50   45.85   $    8.60               $    42.41   $    42.41
  3/25/2018 Wascar Santana                   $14.50   45.17   $    8.60               $    37.46   $    37.46
   4/1/2018 Wascar Santana                   $14.50   48.93   $    8.60               $    64.77   $    64.77
   4/8/2018 Wascar Santana                   $14.50   48.90   $    8.60               $    64.53   $    64.53
  4/15/2018 Wascar Santana                   $14.50   47.63   $    8.60               $    55.34   $    55.34
  4/22/2018 Wascar Santana                   $14.50   44.90   $    8.60               $    35.53   $    35.53
  4/29/2018 Wascar Santana                   $14.50   43.73   $    8.60               $    27.07   $    27.07
   5/6/2018 Wascar Santana                   $14.50   45.22   $    8.60               $    37.82   $    37.82
  5/13/2018 Wascar Santana                   $14.50   45.32   $    8.60               $    38.55   $    38.55
  5/20/2018 Wascar Santana                   $14.50   46.05   $    8.60               $    43.86   $    43.86
   6/3/2018 Wascar Santana                   $14.50   40.70   $    8.60               $     5.08   $     5.08
  6/10/2018 Wascar Santana                   $14.50   47.20   $    8.60               $    52.20   $    52.20
  6/17/2018 Wascar Santana                   $14.50   44.03   $    8.60               $    29.24   $    29.24
   7/1/2018 Wascar Santana                   $14.50   40.23   $    8.60               $     1.69   $     1.69
  7/15/2018 Wascar Santana                   $14.50   44.03   $    8.60               $    29.24   $    29.24
  7/22/2018 Wascar Santana                   $14.50   44.55   $    8.60               $    32.99   $    32.99
  7/29/2018 Wascar Santana                   $14.50   44.33   $    8.60               $    31.42   $    31.42
   8/5/2018 Wascar Santana                   $14.50   43.93   $    8.60               $    28.52   $    28.52
  8/12/2018 Wascar Santana                   $14.50   43.35   $    8.60               $    24.29   $    24.29
  8/26/2018 Wascar Santana                   $14.50   42.88   $    8.60               $    20.90   $    20.90
   9/2/2018 Wascar Santana                   $14.50   40.18   $    8.60               $     1.33   $     1.33
  9/16/2018 Wascar Santana                   $14.50   40.92   $    8.60               $     6.65   $     6.65
  9/23/2018 Wascar Santana                   $14.50   42.58   $    8.60               $    18.73   $    18.73
  9/30/2018 Wascar Santana                   $14.50   40.25   $    8.60               $     1.81   $     1.81
  10/7/2018 Wascar Santana                   $14.50   42.23   $    8.60               $    16.19   $    16.19
  11/4/2018 Wascar Santana                   $14.50   42.42   $    8.60               $    17.52   $    17.52
 11/11/2018 Wascar Santana                   $14.50   42.60   $    8.60               $    18.85   $    18.85
  12/9/2018 Wascar Santana                   $14.50   44.67   $    8.60               $    33.83   $    33.83
 12/23/2018 Wascar Santana                   $14.50   46.60   $    8.60               $    47.85   $    47.85
  5/20/2018 Wayne Accoo                       $9.50   66.50   $    8.60               $   125.88   $   125.88
  6/10/2018 Wayne Accoo                       $9.50   52.35   $    8.60               $    58.66   $    58.66
  6/17/2018 Wayne Accoo                       $9.50   43.98   $    8.60               $    18.92   $    18.92
  6/23/2019 Welfran Amica                     $9.50   72.50   $    8.85               $   154.38   $   154.38
  6/30/2019 Welfran Amica                     $9.50   47.97   $   10.00   $   23.98   $    39.83   $    63.82
  7/14/2019 Welfran Amica                    $10.00   74.70   $   10.00               $   173.50   $   173.50
  7/21/2019 Welfran Amica                    $10.00   48.18   $   10.00               $    40.92   $    40.92
  1/13/2019 Welinston Liquet                 $16.50   49.18   $    8.85               $    75.76   $    75.76
  1/20/2019 Welinston Liquet                 $16.50   40.17   $    8.85               $     1.38   $     1.38
  1/27/2019 Welinston Liquet                 $16.50   48.35   $    8.85               $    68.89   $    68.89
   2/3/2019 Welinston Liquet                 $16.50   47.77   $    8.85               $    64.08   $    64.08
  2/10/2019 Welinston Liquet                 $16.50   48.47   $    8.85               $    69.85   $    69.85
  2/17/2019 Welinston Liquet                 $16.50   48.07   $    8.85               $    66.55   $    66.55
  2/24/2019 Welinston Liquet                 $16.50   47.35   $    8.85               $    60.64   $    60.64
   3/3/2019 Welinston Liquet                 $16.50   48.02   $    8.85               $    66.14   $    66.14
  3/10/2019 Welinston Liquet                 $16.50   48.20   $    8.85               $    67.65   $    67.65
  3/17/2019 Welinston Liquet                 $16.50   47.68   $    8.85               $    63.39   $    63.39
  3/24/2019 Welinston Liquet                 $16.50   47.65   $    8.85               $    63.11   $    63.11
  3/31/2019 Welinston Liquet                 $16.50   46.55   $    8.85               $    54.04   $    54.04
   4/7/2019 Welinston Liquet                 $16.50   47.63   $    8.85               $    62.98   $    62.98
  4/14/2019 Welinston Liquet                 $16.50   47.63   $    8.85               $    62.97   $    62.97



                                               652
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 654 of 683 PageID: 1501
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                       Name                          Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

  4/21/2019 Welinston Liquet                   $16.50   47.55   $    8.85               $    62.29   $    62.29
  4/28/2019 Welinston Liquet                   $16.50   46.97   $    8.85               $    57.48   $    57.48
   5/5/2019 Welinston Liquet                   $16.50   40.87   $    8.85               $     7.15   $     7.15
  5/12/2019 Welinston Liquet                   $16.50   41.35   $    8.85               $    11.14   $    11.14
  5/19/2019 Welinston Liquet                   $16.50   40.27   $    8.85               $     2.20   $     2.20
  5/26/2019 Welinston Liquet                   $16.50   43.07   $    8.85               $    25.30   $    25.30
   6/9/2019 Welinston Liquet                   $16.50   49.25   $    8.85               $    76.31   $    76.31
  6/16/2019 Welinston Liquet                   $16.50   47.52   $    8.85               $    62.01   $    62.01
  6/23/2019 Welinston Liquet                   $16.50   45.02   $    8.85               $    41.39   $    41.39
  7/28/2019 Welinston Liquet                   $12.00   47.27   $   10.00               $    43.60   $    43.60
   8/4/2019 Welinston Liquet                   $12.00   46.98   $   10.00               $    41.90   $    41.90
  8/11/2019 Welinston Liquet                   $12.00   48.70   $   10.00               $    52.20   $    52.20
  8/18/2019 Welinston Liquet                   $12.00   47.58   $   10.00               $    45.50   $    45.50
  8/25/2019 Welinston Liquet                   $12.00   45.42   $   10.00               $    32.50   $    32.50
   9/1/2019 Welinston Liquet                   $12.00   44.82   $   10.00               $    28.90   $    28.90
   9/8/2019 Welinston Liquet                   $12.00   41.48   $   10.00               $     8.90   $     8.90
  9/15/2019 Welinston Liquet                   $12.00   49.92   $   10.00               $    59.50   $    59.50
  9/22/2019 Welinston Liquet                   $12.00   47.73   $   10.00               $    46.40   $    46.40
  9/29/2019 Welinston Liquet                   $12.00   47.78   $   10.00               $    46.70   $    46.70
  10/6/2019 Welinston Liquet                   $12.00   48.10   $   10.00               $    48.60   $    48.60
 10/13/2019 Welinston Liquet                   $12.00   45.50   $   10.00               $    33.00   $    33.00
 10/20/2019 Welinston Liquet                   $12.00   47.12   $   10.00               $    42.70   $    42.70
 10/27/2019 Welinston Liquet                   $12.00   47.57   $   10.00               $    45.40   $    45.40
  11/3/2019 Welinston Liquet                   $12.00   48.05   $   10.00               $    48.30   $    48.30
 11/10/2019 Welinston Liquet                   $12.00   47.42   $   10.00               $    44.50   $    44.50
 11/17/2019 Welinston Liquet                   $12.00   47.90   $   10.00               $    47.40   $    47.40
 11/24/2019 Welinston Liquet                   $12.00   47.40   $   10.00               $    44.40   $    44.40
  12/1/2019 Welinston Liquet                   $12.00   40.60   $   10.00               $     3.60   $     3.60
  12/8/2019 Welinston Liquet                   $12.00   47.35   $   10.00               $    44.10   $    44.10
 12/15/2019 Welinston Liquet                   $12.00   40.48   $   10.00               $     2.90   $     2.90
 12/22/2019 Welinston Liquet                   $12.00   46.72   $   10.00               $    40.30   $    40.30
  1/12/2020 Welinston Liquet                   $12.00   46.42   $   11.00               $    38.50   $    38.50
  1/19/2020 Welinston Liquet                   $12.00   47.27   $   11.00               $    43.60   $    43.60
  1/26/2020 Welinston Liquet                   $12.00   47.75   $   11.00               $    46.50   $    46.50
  12/8/2019 Wellingthon Rodriguez              $11.00   50.63   $   10.00               $    58.48   $    58.48
 12/22/2019 Wellingthon Rodriguez              $10.00   52.85   $   10.00               $    64.25   $    64.25
 12/29/2019 Wellingthon Rodriguez              $10.00   54.27   $   10.00               $    71.33   $    71.33
   1/5/2020 Wellingthon Rodriguez              $10.00   51.58   $   11.00   $   51.58   $    63.71   $   115.29
  1/12/2020 Wellingthon Rodriguez              $10.00   58.52   $   11.00   $   58.52   $   101.84   $   160.36
  1/19/2020 Wellingthon Rodriguez              $10.00   61.27   $   11.00   $   61.27   $   116.97   $   178.23
  1/26/2020 Wellingthon Rodriguez              $10.00   59.62   $   11.00   $   59.62   $   107.89   $   167.51
 10/20/2019 Wellington Abreu Melendez          $10.00   46.02   $   10.00               $    30.08   $    30.08
 10/27/2019 Wellington Abreu Melendez          $10.00   50.83   $   10.00               $    54.17   $    54.17
  11/3/2019 Wellington Abreu Melendez          $10.00   46.67   $   10.00               $    33.33   $    33.33
 11/10/2019 Wellington Abreu Melendez          $10.00   48.83   $   10.00               $    44.17   $    44.17
 11/17/2019 Wellington Abreu Melendez          $10.00   57.92   $   10.00               $    89.58   $    89.58
  12/1/2019 Wellington Abreu Melendez          $10.00   50.32   $   10.00               $    51.58   $    51.58
  12/8/2019 Wellington Abreu Melendez          $10.00   57.38   $   10.00               $    86.92   $    86.92
 12/15/2019 Wellington Abreu Melendez          $10.00   56.32   $   10.00               $    81.58   $    81.58
 12/22/2019 Wellington Abreu Melendez          $10.00   45.42   $   10.00               $    27.08   $    27.08



                                                 653
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 655 of 683 PageID: 1502
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                       Name                          Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

 12/29/2019 Wellington Abreu Melendez          $10.00   40.28   $   10.00               $     1.42   $     1.42
   1/5/2020 Wellington Abreu Melendez          $10.00   42.98   $   11.00   $   42.98   $    16.41   $    59.39
  1/12/2020 Wellington Abreu Melendez          $10.00   60.62   $   11.00   $   60.62   $   113.39   $   174.01
  1/19/2020 Wellington Abreu Melendez          $10.00   57.38   $   11.00   $   57.38   $    95.61   $   152.99
  7/15/2018 Wil Afredo Moza-0493                $9.50   48.73   $    8.60               $    41.48   $    41.48
   2/5/2017 Wilfredo Orellana                   $9.00   60.37   $    8.44               $    91.65   $    91.65
  2/19/2017 Wilfredo Orellana                   $9.00   62.43   $    8.44               $   100.95   $   100.95
  2/26/2017 Wilfredo Orellana                   $9.00   40.50   $    8.44               $     2.25   $     2.25
   1/6/2019 Wilfredo Portillo                  $11.00   61.53   $    8.85               $   118.43   $   118.43
  1/13/2019 Wilfredo Portillo                  $11.00   73.33   $    8.85               $   183.33   $   183.33
  1/20/2019 Wilfredo Portillo                  $11.00   73.32   $    8.85               $   183.24   $   183.24
  1/27/2019 Wilfredo Portillo                  $11.00   74.03   $    8.85               $   187.18   $   187.18
   2/3/2019 Wilfredo Portillo                  $11.00   73.28   $    8.85               $   183.06   $   183.06
  2/10/2019 Wilfredo Portillo                  $11.00   72.95   $    8.85               $   181.23   $   181.23
  2/17/2019 Wilfredo Portillo                  $11.00   72.40   $    8.85               $   178.20   $   178.20
  2/24/2019 Wilfredo Portillo                  $11.00   73.32   $    8.85               $   183.24   $   183.24
   3/3/2019 Wilfredo Portillo                  $11.00   72.90   $    8.85               $   180.95   $   180.95
  3/10/2019 Wilfredo Portillo                  $11.00   72.32   $    8.85               $   177.74   $   177.74
  3/17/2019 Wilfredo Portillo                  $11.00   72.60   $    8.85               $   179.30   $   179.30
  3/24/2019 Wilfredo Portillo                  $11.00   72.68   $    8.85               $   179.76   $   179.76
  3/31/2019 Wilfredo Portillo                  $11.00   72.90   $    8.85               $   180.95   $   180.95
   4/7/2019 Wilfredo Portillo                  $11.00   73.02   $    8.85               $   181.59   $   181.59
  4/14/2019 Wilfredo Portillo                  $11.00   73.52   $    8.85               $   184.34   $   184.34
  4/21/2019 Wilfredo Portillo                  $11.00   73.83   $    8.85               $   186.08   $   186.08
  4/28/2019 Wilfredo Portillo                  $11.00   73.68   $    8.85               $   185.26   $   185.26
   5/5/2019 Wilfredo Portillo                  $11.00   73.97   $    8.85               $   186.82   $   186.82
  5/12/2019 Wilfredo Portillo                  $11.00   73.97   $    8.85               $   186.82   $   186.82
  5/19/2019 Wilfredo Portillo                  $11.00   74.63   $    8.85               $   190.48   $   190.48
  5/26/2019 Wilfredo Portillo                  $11.00   73.17   $    8.85               $   182.42   $   182.42
   6/2/2019 Wilfredo Portillo                  $11.00   71.15   $    8.85               $   171.33   $   171.33
   6/9/2019 Wilfredo Portillo                  $11.00   72.83   $    8.85               $   180.58   $   180.58
  6/16/2019 Wilfredo Portillo                  $11.00   72.58   $    8.85               $   179.21   $   179.21
  6/23/2019 Wilfredo Portillo                  $11.00   73.97   $    8.85               $   186.82   $   186.82
  6/30/2019 Wilfredo Portillo                  $11.00   73.75   $   10.00               $   185.63   $   185.63
   7/7/2019 Wilfredo Portillo                  $11.00   60.82   $   10.00               $   114.49   $   114.49
  7/14/2019 Wilfredo Portillo                  $11.00   73.25   $   10.00               $   182.88   $   182.88
  7/21/2019 Wilfredo Portillo                  $11.00   73.80   $   10.00               $   185.90   $   185.90
  7/28/2019 Wilfredo Portillo                  $11.00   73.48   $   10.00               $   184.16   $   184.16
   8/4/2019 Wilfredo Portillo                  $11.00   73.12   $   10.00               $   182.14   $   182.14
  8/11/2019 Wilfredo Portillo                  $11.00   72.77   $   10.00               $   180.22   $   180.22
  8/18/2019 Wilfredo Portillo                  $11.00   73.12   $   10.00               $   182.14   $   182.14
  8/25/2019 Wilfredo Portillo                  $11.00   72.98   $   10.00               $   181.41   $   181.41
   9/1/2019 Wilfredo Portillo                  $11.00   73.92   $   10.00               $   186.54   $   186.54
   9/8/2019 Wilfredo Portillo                  $11.00   68.73   $   10.00               $   158.03   $   158.03
  9/15/2019 Wilfredo Portillo                  $11.00   72.08   $   10.00               $   176.46   $   176.46
  9/22/2019 Wilfredo Portillo                  $11.00   63.32   $   10.00               $   128.24   $   128.24
  9/29/2019 Wilfredo Portillo                  $11.00   61.88   $   10.00               $   120.36   $   120.36
  10/6/2019 Wilfredo Portillo                  $11.00   66.68   $   10.00               $   146.76   $   146.76
 10/13/2019 Wilfredo Portillo                  $11.00   62.32   $   10.00               $   122.74   $   122.74
 10/20/2019 Wilfredo Portillo                  $11.00   64.60   $   10.00               $   135.30   $   135.30



                                                 654
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 656 of 683 PageID: 1503
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                        Name                        Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

 10/27/2019 Wilfredo Portillo                 $11.00   65.83   $   10.00               $   142.08   $   142.08
  11/3/2019 Wilfredo Portillo                 $11.00   65.88   $   10.00               $   142.36   $   142.36
 11/10/2019 Wilfredo Portillo                 $11.00   69.82   $   10.00               $   163.99   $   163.99
 11/17/2019 Wilfredo Portillo                 $11.00   71.08   $   10.00               $   170.96   $   170.96
 11/24/2019 Wilfredo Portillo                 $11.00   69.35   $   10.00               $   161.43   $   161.43
  12/1/2019 Wilfredo Portillo                 $11.00   58.52   $   10.00               $   101.84   $   101.84
  12/8/2019 Wilfredo Portillo                 $11.00   72.77   $   10.00               $   180.22   $   180.22
 12/15/2019 Wilfredo Portillo                 $11.00   72.25   $   10.00               $   177.38   $   177.38
 12/22/2019 Wilfredo Portillo                 $11.00   72.92   $   10.00               $   181.04   $   181.04
 12/29/2019 Wilfredo Portillo                 $11.00   59.17   $   10.00               $   105.42   $   105.42
   1/5/2020 Wilfredo Portillo                 $11.00   59.22   $   11.00               $   105.69   $   105.69
  1/12/2020 Wilfredo Portillo                 $11.00   73.25   $   11.00               $   182.88   $   182.88
  1/19/2020 Wilfredo Portillo                 $11.00   72.27   $   11.00               $   177.47   $   177.47
  1/26/2020 Wilfredo Portillo                 $11.00   73.53   $   11.00               $   184.43   $   184.43
  1/27/2019 Wilfredo Reyes Sierra              $9.50   64.85   $    8.85               $   118.04   $   118.04
   2/3/2019 Wilfredo Reyes Sierra              $9.50   64.77   $    8.85               $   117.64   $   117.64
  2/10/2019 Wilfredo Reyes Sierra              $9.50   53.93   $    8.85               $    66.18   $    66.18
  2/17/2019 Wilfredo Reyes Sierra              $9.50   61.18   $    8.85               $   100.62   $   100.62
  2/24/2019 Wilfredo Reyes Sierra              $9.50   59.53   $    8.85               $    92.78   $    92.78
   3/3/2019 Wilfredo Reyes Sierra              $9.50   43.72   $    8.85               $    17.65   $    17.65
  3/10/2019 Wilfredo Reyes Sierra              $9.50   52.12   $    8.85               $    57.55   $    57.55
  3/17/2019 Wilfredo Reyes Sierra              $9.50   65.27   $    8.85               $   120.02   $   120.02
  6/23/2019 Wilfredo Reyes Sierra              $9.50   57.35   $    8.85               $    82.41   $    82.41
  6/30/2019 Wilfredo Reyes Sierra              $9.50   40.17   $   10.00   $   20.08   $     0.83   $    20.92
   7/7/2019 Wilfredo Reyes Sierra              $9.50   49.72   $   10.00   $   24.86   $    48.58   $    73.44
  7/14/2019 Wilfredo Reyes Sierra              $9.50   49.85   $   10.00   $   24.93   $    49.25   $    74.18
  7/21/2019 Wilfredo Reyes Sierra              $9.50   54.87   $   10.00   $   27.43   $    74.33   $   101.77
  7/28/2019 Wilfredo Reyes Sierra              $9.50   60.43   $   10.00   $   30.22   $   102.17   $   132.38
   8/4/2019 Wilfredo Reyes Sierra              $9.50   65.62   $   10.00   $   32.81   $   128.08   $   160.89
  8/11/2019 Wilfredo Reyes Sierra              $9.50   62.38   $   10.00   $   31.19   $   111.92   $   143.11
  8/18/2019 Wilfredo Reyes Sierra              $9.50   64.50   $   10.00   $   32.25   $   122.50   $   154.75
   2/5/2017 William Alcazar                   $13.00   70.38   $    8.44               $   197.49   $   197.49
  2/12/2017 William Alcazar                   $13.00   62.28   $    8.44               $   144.84   $   144.84
  2/19/2017 William Alcazar                   $13.00   73.10   $    8.44               $   215.15   $   215.15
  2/26/2017 William Alcazar                   $13.00   63.65   $    8.44               $   153.73   $   153.73
   3/5/2017 William Alcazar                   $13.00   71.03   $    8.44               $   201.72   $   201.72
  3/12/2017 William Alcazar                   $13.00   60.43   $    8.44               $   132.82   $   132.82
  3/19/2017 William Alcazar                   $13.00   57.70   $    8.44               $   115.05   $   115.05
  3/26/2017 William Alcazar                   $13.00   73.82   $    8.44               $   219.81   $   219.81
   4/2/2017 William Alcazar                   $13.00   72.80   $    8.44               $   213.20   $   213.20
   4/9/2017 William Alcazar                   $13.00   73.45   $    8.44               $   217.43   $   217.43
  4/16/2017 William Alcazar                   $13.00   73.60   $    8.44               $   218.40   $   218.40
  4/23/2017 William Alcazar                   $13.00   73.42   $    8.44               $   217.21   $   217.21
  4/30/2017 William Alcazar                   $13.00   74.43   $    8.44               $   223.82   $   223.82
   5/7/2017 William Alcazar                   $13.00   72.37   $    8.44               $   210.38   $   210.38
  5/14/2017 William Alcazar                   $13.00   72.22   $    8.44               $   209.41   $   209.41
  5/21/2017 William Alcazar                   $13.00   73.53   $    8.44               $   217.97   $   217.97
  5/28/2017 William Alcazar                   $13.00   72.12   $    8.44               $   208.76   $   208.76
   6/4/2017 William Alcazar                   $13.00   70.85   $    8.44               $   200.53   $   200.53
  6/11/2017 William Alcazar                   $13.00   72.13   $    8.44               $   208.87   $   208.87



                                                655
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 657 of 683 PageID: 1504
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  6/18/2017 William Alcazar                 $13.00   72.43   $   8.44          $   210.82   $    210.82
  6/25/2017 William Alcazar                 $13.00   66.38   $   8.44          $   171.49   $    171.49
   7/2/2017 William Alcazar                 $13.00   73.28   $   8.44          $   216.34   $    216.34
   7/9/2017 William Alcazar                 $13.00   68.35   $   8.44          $   184.28   $    184.28
  7/16/2017 William Alcazar                 $13.00   72.42   $   8.44          $   210.71   $    210.71
  7/23/2017 William Alcazar                 $13.00   74.07   $   8.44          $   221.43   $    221.43
  7/30/2017 William Alcazar                 $13.00   71.92   $   8.44          $   207.46   $    207.46
   8/6/2017 William Alcazar                 $13.00   72.67   $   8.44          $   212.33   $    212.33
  8/13/2017 William Alcazar                 $13.00   71.40   $   8.44          $   204.10   $    204.10
  8/20/2017 William Alcazar                 $13.00   60.92   $   8.44          $   135.96   $    135.96
  10/8/2017 William Alcazar                 $13.00   50.68   $   8.44          $    69.44   $     69.44
 10/15/2017 William Alcazar                 $13.00   71.88   $   8.44          $   207.24   $    207.24
 10/22/2017 William Alcazar                 $13.00   73.03   $   8.44          $   214.72   $    214.72
 10/29/2017 William Alcazar                 $13.00   73.48   $   8.44          $   217.64   $    217.64
  11/5/2017 William Alcazar                 $13.00   70.88   $   8.44          $   200.74   $    200.74
 11/12/2017 William Alcazar                 $13.00   72.02   $   8.44          $   208.11   $    208.11
 11/19/2017 William Alcazar                 $13.00   71.90   $   8.44          $   207.35   $    207.35
 11/26/2017 William Alcazar                 $13.00   58.93   $   8.44          $   123.07   $    123.07
  12/3/2017 William Alcazar                 $13.00   72.58   $   8.44          $   211.79   $    211.79
 12/10/2017 William Alcazar                 $13.00   71.07   $   8.44          $   201.93   $    201.93
 12/17/2017 William Alcazar                 $13.00   71.57   $   8.44          $   205.18   $    205.18
 12/24/2017 William Alcazar                 $13.00   60.98   $   8.44          $   136.39   $    136.39
 12/31/2017 William Alcazar                 $13.00   56.30   $   8.44          $   105.95   $    105.95
   1/7/2018 William Alcazar                 $13.00   54.35   $   8.60          $    93.28   $     93.28
  1/14/2018 William Alcazar                 $13.00   70.33   $   8.60          $   197.17   $    197.17
  1/21/2018 William Alcazar                 $13.00   68.87   $   8.60          $   187.63   $    187.63
  1/28/2018 William Alcazar                 $13.00   72.40   $   8.60          $   210.60   $    210.60
   2/4/2018 William Alcazar                 $13.00   72.97   $   8.60          $   214.28   $    214.28
  2/11/2018 William Alcazar                 $13.00   59.23   $   8.60          $   125.02   $    125.02
  2/18/2018 William Alcazar                 $13.00   70.35   $   8.60          $   197.28   $    197.28
  2/25/2018 William Alcazar                 $13.00   59.08   $   8.60          $   124.04   $    124.04
   3/4/2018 William Alcazar                 $13.00   69.67   $   8.60          $   192.83   $    192.83
  3/25/2018 William Alcazar                 $13.00   65.28   $   8.60          $   164.34   $    164.34
   4/1/2018 William Alcazar                 $13.00   71.20   $   8.60          $   202.80   $    202.80
   4/8/2018 William Alcazar                 $13.00   71.40   $   8.60          $   204.10   $    204.10
  4/15/2018 William Alcazar                 $13.00   72.17   $   8.60          $   209.08   $    209.08
  4/22/2018 William Alcazar                 $13.00   71.18   $   8.60          $   202.69   $    202.69
  4/29/2018 William Alcazar                 $13.00   72.30   $   8.60          $   209.95   $    209.95
   5/6/2018 William Alcazar                 $13.00   71.57   $   8.60          $   205.18   $    205.18
  5/13/2018 William Alcazar                 $13.00   71.65   $   8.60          $   205.73   $    205.73
  5/20/2018 William Alcazar                 $13.00   71.08   $   8.60          $   202.04   $    202.04
  5/27/2018 William Alcazar                 $13.00   71.50   $   8.60          $   204.75   $    204.75
   6/3/2018 William Alcazar                 $13.00   68.30   $   8.60          $   183.95   $    183.95
  6/10/2018 William Alcazar                 $13.00   70.93   $   8.60          $   201.07   $    201.07
  6/17/2018 William Alcazar                 $13.00   71.70   $   8.60          $   206.05   $    206.05
   7/1/2018 William Alcazar                 $13.00   74.08   $   8.60          $   221.54   $    221.54
   7/8/2018 William Alcazar                 $13.00   66.33   $   8.60          $   171.17   $    171.17
  7/15/2018 William Alcazar                 $13.00   70.82   $   8.60          $   200.31   $    200.31
  7/22/2018 William Alcazar                 $13.00   70.47   $   8.60          $   198.03   $    198.03
  7/29/2018 William Alcazar                 $13.00   70.58   $   8.60          $   198.79   $    198.79



                                              656
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 658 of 683 PageID: 1505
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

   8/5/2018 William Alcazar                 $13.00   70.93   $    8.60         $   201.07   $    201.07
  8/12/2018 William Alcazar                 $13.00   71.97   $    8.60         $   207.78   $    207.78
  8/19/2018 William Alcazar                 $13.00   71.28   $    8.60         $   203.34   $    203.34
  8/26/2018 William Alcazar                 $13.00   71.65   $    8.60         $   205.73   $    205.73
   9/2/2018 William Alcazar                 $13.00   71.08   $    8.60         $   202.04   $    202.04
   9/9/2018 William Alcazar                 $13.00   69.68   $    8.60         $   192.94   $    192.94
  9/16/2018 William Alcazar                 $13.00   70.25   $    8.60         $   196.63   $    196.63
  9/23/2018 William Alcazar                 $13.00   70.90   $    8.60         $   200.85   $    200.85
  9/30/2018 William Alcazar                 $13.00   69.77   $    8.60         $   193.48   $    193.48
  10/7/2018 William Alcazar                 $13.00   69.88   $    8.60         $   194.24   $    194.24
 10/14/2018 William Alcazar                 $13.00   69.03   $    8.60         $   188.72   $    188.72
 10/21/2018 William Alcazar                 $13.00   70.40   $    8.60         $   197.60   $    197.60
 10/28/2018 William Alcazar                 $13.00   70.23   $    8.60         $   196.52   $    196.52
  11/4/2018 William Alcazar                 $13.00   71.50   $    8.60         $   204.75   $    204.75
 11/11/2018 William Alcazar                 $13.00   67.87   $    8.60         $   181.13   $    181.13
 11/18/2018 William Alcazar                 $13.00   69.35   $    8.60         $   190.78   $    190.78
 11/25/2018 William Alcazar                 $13.00   58.98   $    8.60         $   123.39   $    123.39
  12/2/2018 William Alcazar                 $13.00   70.92   $    8.60         $   200.96   $    200.96
  12/9/2018 William Alcazar                 $13.00   69.42   $    8.60         $   191.21   $    191.21
 12/16/2018 William Alcazar                 $13.00   68.80   $    8.60         $   187.20   $    187.20
 12/23/2018 William Alcazar                 $13.00   70.35   $    8.60         $   197.28   $    197.28
 12/30/2018 William Alcazar                 $13.00   46.75   $    8.60         $    43.88   $     43.88
   1/6/2019 William Alcazar                 $13.00   55.87   $    8.85         $   103.13   $    103.13
  1/13/2019 William Alcazar                 $13.00   68.38   $    8.85         $   184.49   $    184.49
  1/20/2019 William Alcazar                 $13.00   69.62   $    8.85         $   192.51   $    192.51
  1/27/2019 William Alcazar                 $13.00   70.93   $    8.85         $   201.07   $    201.07
   2/3/2019 William Alcazar                 $13.00   67.68   $    8.85         $   179.94   $    179.94
  2/10/2019 William Alcazar                 $13.00   68.98   $    8.85         $   188.39   $    188.39
  2/17/2019 William Alcazar                 $13.00   65.40   $    8.85         $   165.10   $    165.10
  2/24/2019 William Alcazar                 $13.00   70.58   $    8.85         $   198.79   $    198.79
   3/3/2019 William Alcazar                 $13.00   72.48   $    8.85         $   211.14   $    211.14
  3/10/2019 William Alcazar                 $13.00   70.90   $    8.85         $   200.85   $    200.85
  3/17/2019 William Alcazar                 $13.00   71.55   $    8.85         $   205.08   $    205.08
  3/24/2019 William Alcazar                 $13.00   69.22   $    8.85         $   189.91   $    189.91
  3/31/2019 William Alcazar                 $13.00   59.75   $    8.85         $   128.38   $    128.38
   4/7/2019 William Alcazar                 $13.00   66.13   $    8.85         $   169.87   $    169.87
  4/14/2019 William Alcazar                 $13.00   69.97   $    8.85         $   194.78   $    194.78
  4/21/2019 William Alcazar                 $13.00   69.00   $    8.85         $   188.50   $    188.50
  4/28/2019 William Alcazar                 $13.00   68.47   $    8.85         $   185.03   $    185.03
   5/5/2019 William Alcazar                 $13.00   71.07   $    8.85         $   201.93   $    201.93
  5/12/2019 William Alcazar                 $13.00   68.07   $    8.85         $   182.43   $    182.43
  5/19/2019 William Alcazar                 $13.00   69.63   $    8.85         $   192.62   $    192.62
  5/26/2019 William Alcazar                 $13.00   63.88   $    8.85         $   155.24   $    155.24
   6/2/2019 William Alcazar                 $13.00   67.83   $    8.85         $   180.92   $    180.92
   6/9/2019 William Alcazar                 $13.00   68.33   $    8.85         $   184.17   $    184.17
  6/16/2019 William Alcazar                 $13.00   69.35   $    8.85         $   190.78   $    190.78
  6/23/2019 William Alcazar                 $13.00   69.65   $    8.85         $   192.73   $    192.73
  6/30/2019 William Alcazar                 $13.00   69.90   $   10.00         $   194.35   $    194.35
   7/7/2019 William Alcazar                 $13.00   63.45   $   10.00         $   152.43   $    152.43
  7/21/2019 William Alcazar                 $13.00   69.52   $   10.00         $   191.86   $    191.86



                                              657
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 659 of 683 PageID: 1506
                                                    Exhibit 2
                                            New Jersey Computations


   Week                                                            State Section 7: Section 7: Total Section 7
                                                   Hourly Hours/
  Ending                        Name                             Minumum Regular    Half-Time Overtime Back
                                                    Rate Week
   Date                                                            Wage  Rate Due     Due       Wages Due

  7/28/2019 William Alcazar                        $13.00   67.82   $   10.00         $   180.81   $    180.81
   8/4/2019 William Alcazar                        $13.00   68.22   $   10.00         $   183.41   $    183.41
  8/11/2019 William Alcazar                        $13.00   68.00   $   10.00         $   182.00   $    182.00
  8/18/2019 William Alcazar                        $13.00   70.33   $   10.00         $   197.17   $    197.17
  8/25/2019 William Alcazar                        $13.00   70.00   $   10.00         $   195.00   $    195.00
   9/1/2019 William Alcazar                        $13.00   72.02   $   10.00         $   208.11   $    208.11
   9/8/2019 William Alcazar                        $13.00   68.37   $   10.00         $   184.38   $    184.38
  9/15/2019 William Alcazar                        $13.00   69.97   $   10.00         $   194.78   $    194.78
  9/22/2019 William Alcazar                        $13.00   73.18   $   10.00         $   215.69   $    215.69
  9/29/2019 William Alcazar                        $13.00   70.95   $   10.00         $   201.18   $    201.18
  10/6/2019 William Alcazar                        $13.00   73.22   $   10.00         $   215.91   $    215.91
 10/13/2019 William Alcazar                        $13.00   73.18   $   10.00         $   215.69   $    215.69
 10/20/2019 William Alcazar                        $13.00   71.80   $   10.00         $   206.70   $    206.70
 10/27/2019 William Alcazar                        $13.00   72.90   $   10.00         $   213.85   $    213.85
  11/3/2019 William Alcazar                        $13.00   72.40   $   10.00         $   210.60   $    210.60
 11/10/2019 William Alcazar                        $13.00   72.40   $   10.00         $   210.60   $    210.60
 11/17/2019 William Alcazar                        $13.00   64.27   $   10.00         $   157.73   $    157.73
 11/24/2019 William Alcazar                        $13.00   64.12   $   10.00         $   156.76   $    156.76
  12/1/2019 William Alcazar                        $13.00   55.37   $   10.00         $    99.88   $     99.88
  12/8/2019 William Alcazar                        $13.00   60.77   $   10.00         $   134.98   $    134.98
 12/15/2019 William Alcazar                        $13.00   62.50   $   10.00         $   146.25   $    146.25
 12/22/2019 William Alcazar                        $13.00   63.07   $   10.00         $   149.93   $    149.93
 12/29/2019 William Alcazar                        $13.00   42.43   $   10.00         $    15.82   $     15.82
   1/5/2020 William Alcazar                        $13.00   53.30   $   11.00         $    86.45   $     86.45
  1/12/2020 William Alcazar                        $13.00   67.03   $   11.00         $   175.72   $    175.72
  1/19/2020 William Alcazar                        $13.00   68.42   $   11.00         $   184.71   $    184.71
  1/26/2020 William Alcazar                        $13.00   67.30   $   11.00         $   177.45   $    177.45
  12/9/2018 William Ariel Rodriguez Amaya           $9.50   68.03   $    8.60         $   133.16   $    133.16
 12/16/2018 William Ariel Rodriguez Amaya           $9.50   76.03   $    8.60         $   171.16   $    171.16
 12/23/2018 William Ariel Rodriguez Amaya           $9.50   68.50   $    8.60         $   135.38   $    135.38
 12/30/2018 William Ariel Rodriguez Amaya           $9.50   61.80   $    8.60         $   103.55   $    103.55
   1/6/2019 William Ariel Rodriguez Amaya           $9.50   57.27   $    8.85         $    82.02   $     82.02
  1/13/2019 William Ariel Rodriguez Amaya           $9.50   77.67   $    8.85         $   178.92   $    178.92
  1/20/2019 William Ariel Rodriguez Amaya           $9.50   68.45   $    8.85         $   135.14   $    135.14
  1/27/2019 William Ariel Rodriguez Amaya           $9.50   58.77   $    8.85         $    89.14   $     89.14
   2/3/2019 William Ariel Rodriguez Amaya           $9.50   67.05   $    8.85         $   128.49   $    128.49
  2/10/2019 William Ariel Rodriguez Amaya           $9.50   77.85   $    8.85         $   179.79   $    179.79
  2/17/2019 William Ariel Rodriguez Amaya           $9.50   68.27   $    8.85         $   134.27   $    134.27
  2/24/2019 William Ariel Rodriguez Amaya           $9.50   65.15   $    8.85         $   119.46   $    119.46
   3/3/2019 William Ariel Rodriguez Amaya           $9.50   69.13   $    8.85         $   138.38   $    138.38
  3/10/2019 William Ariel Rodriguez Amaya           $9.50   76.62   $    8.85         $   173.93   $    173.93
  3/17/2019 William Ariel Rodriguez Amaya           $9.50   67.85   $    8.85         $   132.29   $    132.29
  3/24/2019 William Ariel Rodriguez Amaya           $9.50   76.40   $    8.85         $   172.90   $    172.90
  3/31/2019 William Ariel Rodriguez Amaya           $9.50   45.03   $    8.85         $    23.91   $     23.91
 12/15/2019 William Espinosa Jacome                $11.00   57.78   $   10.00         $    97.81   $     97.81
 12/22/2019 William Espinosa Jacome                $11.00   49.57   $   10.00         $    52.62   $     52.62
 12/29/2019 William Espinosa Jacome                $11.00   48.77   $   10.00         $    48.22   $     48.22
   1/5/2020 William Espinosa Jacome                $11.00   58.28   $   11.00         $   100.56   $    100.56
   1/5/2020 William Martinez                       $11.00   64.43   $   11.00         $   134.38   $    134.38
  1/12/2020 William Martinez                       $11.00   66.80   $   11.00         $   147.40   $    147.40



                                                     658
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 660 of 683 PageID: 1507
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  1/19/2020 William Martinez                 $11.00   70.83   $   11.00         $   169.58   $    169.58
  1/26/2020 William Martinez                 $11.00   55.52   $   11.00         $    85.34   $     85.34
   7/9/2017 William Torrez                   $12.00   43.22   $    8.44         $    19.30   $     19.30
  7/16/2017 William Torrez                   $12.00   56.85   $    8.44         $   101.10   $    101.10
  7/23/2017 William Torrez                   $12.00   69.28   $    8.44         $   175.70   $    175.70
  7/30/2017 William Torrez                   $12.00   71.50   $    8.44         $   189.00   $    189.00
   8/6/2017 William Torrez                   $12.00   57.22   $    8.44         $   103.30   $    103.30
  8/13/2017 William Torrez                   $12.00   54.55   $    8.44         $    87.30   $     87.30
  8/20/2017 William Torrez                   $12.00   55.95   $    8.44         $    95.70   $     95.70
  8/27/2017 William Torrez                   $12.00   63.23   $    8.44         $   139.40   $    139.40
   9/3/2017 William Torrez                   $12.00   67.13   $    8.44         $   162.80   $    162.80
  9/10/2017 William Torrez                   $12.00   42.05   $    8.44         $    12.30   $     12.30
  9/17/2017 William Torrez                   $12.00   64.48   $    8.44         $   146.90   $    146.90
  9/24/2017 William Torrez                   $12.00   43.77   $    8.44         $    22.60   $     22.60
  10/1/2017 William Torrez                   $12.00   68.03   $    8.44         $   168.20   $    168.20
  10/8/2017 William Torrez                   $12.00   63.33   $    8.44         $   140.00   $    140.00
 10/15/2017 William Torrez                   $12.00   69.77   $    8.44         $   178.60   $    178.60
 10/22/2017 William Torrez                   $12.00   57.62   $    8.44         $   105.70   $    105.70
 10/29/2017 William Torrez                   $12.00   66.37   $    8.44         $   158.20   $    158.20
  11/5/2017 William Torrez                   $12.00   57.55   $    8.44         $   105.30   $    105.30
 11/12/2017 William Torrez                   $12.00   54.47   $    8.44         $    86.80   $     86.80
 11/19/2017 William Torrez                   $12.00   64.23   $    8.44         $   145.40   $    145.40
 11/26/2017 William Torrez                   $12.00   56.18   $    8.44         $    97.10   $     97.10
  12/3/2017 William Torrez                   $12.00   57.03   $    8.44         $   102.20   $    102.20
 12/10/2017 William Torrez                   $12.00   59.23   $    8.44         $   115.40   $    115.40
 12/17/2017 William Torrez                   $12.00   54.28   $    8.44         $    85.70   $     85.70
 12/24/2017 William Torrez                   $12.00   66.78   $    8.44         $   160.70   $    160.70
 12/31/2017 William Torrez                   $12.00   59.70   $    8.44         $   118.20   $    118.20
   1/7/2018 William Torrez                   $12.00   41.15   $    8.60         $     6.90   $      6.90
  1/14/2018 William Torrez                   $12.00   60.68   $    8.60         $   124.10   $    124.10
  1/21/2018 William Torrez                   $12.00   47.92   $    8.60         $    47.50   $     47.50
  1/28/2018 William Torrez                   $12.00   54.72   $    8.60         $    88.30   $     88.30
   2/4/2018 William Torrez                   $12.00   47.30   $    8.60         $    43.80   $     43.80
  2/18/2018 William Torrez                   $12.00   48.58   $    8.60         $    51.50   $     51.50
  2/25/2018 William Torrez                   $12.00   46.47   $    8.60         $    38.80   $     38.80
   3/4/2018 William Torrez                   $12.00   51.63   $    8.60         $    69.80   $     69.80
  3/25/2018 William Torrez                   $12.00   52.97   $    8.60         $    77.80   $     77.80
   4/1/2018 William Torrez                   $12.00   53.95   $    8.60         $    83.70   $     83.70
   4/8/2018 William Torrez                   $12.00   53.13   $    8.60         $    78.80   $     78.80
  4/15/2018 William Torrez                   $12.00   68.80   $    8.60         $   172.80   $    172.80
  4/22/2018 William Torrez                   $12.00   57.52   $    8.60         $   105.10   $    105.10
  4/29/2018 William Torrez                   $12.00   54.37   $    8.60         $    86.20   $     86.20
   5/6/2018 William Torrez                   $12.00   65.23   $    8.60         $   151.40   $    151.40
  5/13/2018 William Torrez                   $12.00   55.25   $    8.60         $    91.50   $     91.50
  5/20/2018 William Torrez                   $12.00   55.98   $    8.60         $    95.90   $     95.90
  5/27/2018 William Torrez                   $12.00   65.48   $    8.60         $   152.90   $    152.90
   6/3/2018 William Torrez                   $12.00   58.15   $    8.60         $   108.90   $    108.90
  6/10/2018 William Torrez                   $12.00   46.22   $    8.60         $    37.30   $     37.30
  6/17/2018 William Torrez                   $12.00   57.72   $    8.60         $   106.30   $    106.30
  6/24/2018 William Torrez                   $12.00   68.22   $    8.60         $   169.30   $    169.30



                                               659
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 661 of 683 PageID: 1508
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

   7/1/2018 William Torrez                 $12.00   69.48   $    8.60         $   176.90   $    176.90
   7/8/2018 William Torrez                 $12.00   46.22   $    8.60         $    37.30   $     37.30
  7/15/2018 William Torrez                 $12.00   55.23   $    8.60         $    91.40   $     91.40
  7/22/2018 William Torrez                 $12.00   68.40   $    8.60         $   170.40   $    170.40
  7/29/2018 William Torrez                 $12.00   65.78   $    8.60         $   154.70   $    154.70
   8/5/2018 William Torrez                 $12.00   67.07   $    8.60         $   162.40   $    162.40
  8/12/2018 William Torrez                 $12.00   56.58   $    8.60         $    99.50   $     99.50
  8/19/2018 William Torrez                 $12.00   55.50   $    8.60         $    93.00   $     93.00
  8/26/2018 William Torrez                 $12.00   66.60   $    8.60         $   159.60   $    159.60
   9/2/2018 William Torrez                 $12.00   66.75   $    8.60         $   160.50   $    160.50
   9/9/2018 William Torrez                 $12.00   43.33   $    8.60         $    20.00   $     20.00
  9/16/2018 William Torrez                 $12.00   56.37   $    8.60         $    98.20   $     98.20
  9/23/2018 William Torrez                 $12.00   68.30   $    8.60         $   169.80   $    169.80
  9/30/2018 William Torrez                 $12.00   70.17   $    8.60         $   181.00   $    181.00
  10/7/2018 William Torrez                 $12.00   58.55   $    8.60         $   111.30   $    111.30
 10/14/2018 William Torrez                 $12.00   56.53   $    8.60         $    99.20   $     99.20
 10/21/2018 William Torrez                 $12.00   69.80   $    8.60         $   178.80   $    178.80
 10/28/2018 William Torrez                 $12.00   59.10   $    8.60         $   114.60   $    114.60
  11/4/2018 William Torrez                 $12.00   60.93   $    8.60         $   125.60   $    125.60
 11/11/2018 William Torrez                 $12.00   68.60   $    8.60         $   171.60   $    171.60
 11/18/2018 William Torrez                 $12.00   56.85   $    8.60         $   101.10   $    101.10
 11/25/2018 William Torrez                 $12.00   57.30   $    8.60         $   103.80   $    103.80
  12/2/2018 William Torrez                 $12.00   69.53   $    8.60         $   177.20   $    177.20
  12/9/2018 William Torrez                 $12.00   57.82   $    8.60         $   106.90   $    106.90
 12/16/2018 William Torrez                 $12.00   70.25   $    8.60         $   181.50   $    181.50
 12/23/2018 William Torrez                 $12.00   59.67   $    8.60         $   118.00   $    118.00
 12/30/2018 William Torrez                 $12.00   51.80   $    8.60         $    70.80   $     70.80
   3/3/2019 William Torrez                 $12.00   58.88   $    8.85         $   113.30   $    113.30
  3/10/2019 William Torrez                 $12.00   58.65   $    8.85         $   111.90   $    111.90
  3/17/2019 William Torrez                 $12.00   59.00   $    8.85         $   114.00   $    114.00
  3/24/2019 William Torrez                 $12.00   58.72   $    8.85         $   112.30   $    112.30
  3/31/2019 William Torrez                 $12.00   47.27   $    8.85         $    43.60   $     43.60
   4/7/2019 William Torrez                 $12.00   47.53   $    8.85         $    45.20   $     45.20
  5/12/2019 William Torrez                 $12.00   64.30   $    8.85         $   145.80   $    145.80
  5/19/2019 William Torrez                 $12.00   65.68   $    8.85         $   154.10   $    154.10
  5/26/2019 William Torrez                 $12.00   66.50   $    8.85         $   159.00   $    159.00
   6/2/2019 William Torrez                 $12.00   56.18   $    8.85         $    97.10   $     97.10
   6/9/2019 William Torrez                 $12.00   67.50   $    8.85         $   165.00   $    165.00
  6/16/2019 William Torrez                 $12.00   67.77   $    8.85         $   166.60   $    166.60
  6/23/2019 William Torrez                 $12.00   67.60   $    8.85         $   165.60   $    165.60
  6/30/2019 William Torrez                 $12.00   58.63   $   10.00         $   111.80   $    111.80
   7/7/2019 William Torrez                 $12.50   67.00   $   10.00         $   168.75   $    168.75
  7/14/2019 William Torrez                 $12.50   71.87   $   10.00         $   199.17   $    199.17
  7/21/2019 William Torrez                 $12.50   71.32   $   10.00         $   195.73   $    195.73
  7/28/2019 William Torrez                 $12.50   69.27   $   10.00         $   182.92   $    182.92
   8/4/2019 William Torrez                 $12.50   70.23   $   10.00         $   188.96   $    188.96
  8/11/2019 William Torrez                 $12.50   70.20   $   10.00         $   188.75   $    188.75
  8/18/2019 William Torrez                 $12.50   71.00   $   10.00         $   193.75   $    193.75
  8/25/2019 William Torrez                 $12.50   72.23   $   10.00         $   201.46   $    201.46
   9/1/2019 William Torrez                 $12.50   71.52   $   10.00         $   196.98   $    196.98



                                             660
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 662 of 683 PageID: 1509
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

   9/8/2019 William Torrez                   $12.50   70.85   $   10.00         $   192.81   $    192.81
  9/15/2019 William Torrez                   $12.50   72.67   $   10.00         $   204.17   $    204.17
  9/22/2019 William Torrez                   $12.50   61.95   $   10.00         $   137.19   $    137.19
  9/29/2019 William Torrez                   $12.50   72.53   $   10.00         $   203.33   $    203.33
  10/6/2019 William Torrez                   $12.50   73.72   $   10.00         $   210.73   $    210.73
 10/13/2019 William Torrez                   $12.50   72.38   $   10.00         $   202.40   $    202.40
 10/20/2019 William Torrez                   $12.50   72.73   $   10.00         $   204.58   $    204.58
 10/27/2019 William Torrez                   $12.50   71.07   $   10.00         $   194.17   $    194.17
  11/3/2019 William Torrez                   $12.50   72.23   $   10.00         $   201.46   $    201.46
 11/10/2019 William Torrez                   $12.50   72.45   $   10.00         $   202.81   $    202.81
 11/17/2019 William Torrez                   $12.50   62.35   $   10.00         $   139.69   $    139.69
 11/24/2019 William Torrez                   $12.50   72.65   $   10.00         $   204.06   $    204.06
  12/1/2019 William Torrez                   $12.50   60.27   $   10.00         $   126.67   $    126.67
  12/8/2019 William Torrez                   $12.50   72.08   $   10.00         $   200.52   $    200.52
 12/15/2019 William Torrez                   $12.50   58.57   $   10.00         $   116.04   $    116.04
 12/22/2019 William Torrez                   $12.50   60.02   $   10.00         $   125.10   $    125.10
 12/29/2019 William Torrez                   $12.50   48.43   $   10.00         $    52.71   $     52.71
   1/5/2020 William Torrez                   $12.50   54.67   $   11.00         $    91.67   $     91.67
  1/12/2020 William Torrez                   $12.50   70.40   $   11.00         $   190.00   $    190.00
  1/19/2020 William Torrez                   $12.50   70.70   $   11.00         $   191.88   $    191.88
  1/26/2020 William Torrez                   $12.50   71.25   $   11.00         $   195.31   $    195.31
  4/22/2018 William Vasquez Narvaez          $10.50   45.38   $    8.60         $    28.26   $     28.26
  4/29/2018 William Vasquez Narvaez          $10.50   59.40   $    8.60         $   101.85   $    101.85
   5/6/2018 William Vasquez Narvaez          $10.50   41.70   $    8.60         $     8.93   $      8.93
  5/13/2018 William Vasquez Narvaez          $10.50   66.15   $    8.60         $   137.29   $    137.29
  5/27/2018 William Vasquez Narvaez          $10.50   62.55   $    8.60         $   118.39   $    118.39
   6/3/2018 William Vasquez Narvaez          $10.50   59.97   $    8.60         $   104.83   $    104.83
  6/10/2018 William Vasquez Narvaez          $10.50   63.45   $    8.60         $   123.11   $    123.11
  6/17/2018 William Vasquez Narvaez          $10.50   61.93   $    8.60         $   115.15   $    115.15
  6/24/2018 William Vasquez Narvaez          $10.50   60.77   $    8.60         $   109.03   $    109.03
   7/1/2018 William Vasquez Narvaez          $10.50   64.72   $    8.60         $   129.76   $    129.76
   7/8/2018 William Vasquez Narvaez          $10.50   51.68   $    8.60         $    61.34   $     61.34
  7/15/2018 William Vasquez Narvaez          $10.50   62.07   $    8.60         $   115.85   $    115.85
  7/22/2018 William Vasquez Narvaez          $10.50   59.47   $    8.60         $   102.20   $    102.20
  7/29/2018 William Vasquez Narvaez          $10.50   61.42   $    8.60         $   112.44   $    112.44
   8/5/2018 William Vasquez Narvaez          $10.50   50.67   $    8.60         $    56.00   $     56.00
  8/12/2018 William Vasquez Narvaez          $10.50   60.02   $    8.60         $   105.09   $    105.09
  8/19/2018 William Vasquez Narvaez          $10.50   64.10   $    8.60         $   126.53   $    126.53
  8/26/2018 William Vasquez Narvaez          $10.50   61.92   $    8.60         $   115.06   $    115.06
   9/2/2018 William Vasquez Narvaez          $10.50   67.82   $    8.60         $   146.04   $    146.04
   9/9/2018 William Vasquez Narvaez          $10.50   56.10   $    8.60         $    84.53   $     84.53
  9/16/2018 William Vasquez Narvaez          $10.50   62.13   $    8.60         $   116.20   $    116.20
  9/23/2018 William Vasquez Narvaez          $10.50   59.67   $    8.60         $   103.25   $    103.25
  9/30/2018 William Vasquez Narvaez          $10.50   64.43   $    8.60         $   128.28   $    128.28
  10/7/2018 William Vasquez Narvaez          $10.50   62.05   $    8.60         $   115.76   $    115.76
 10/14/2018 William Vasquez Narvaez          $10.50   62.82   $    8.60         $   119.79   $    119.79
 10/21/2018 William Vasquez Narvaez          $10.50   54.58   $    8.60         $    76.56   $     76.56
 10/28/2018 William Vasquez Narvaez          $10.50   61.42   $    8.60         $   112.44   $    112.44
  11/4/2018 William Vasquez Narvaez          $10.50   60.75   $    8.60         $   108.94   $    108.94
 11/11/2018 William Vasquez Narvaez          $10.50   62.20   $    8.60         $   116.55   $    116.55



                                               661
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 663 of 683 PageID: 1510
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

 11/18/2018 William Vasquez Narvaez          $10.50   54.68   $    8.60         $    77.09   $     77.09
 11/25/2018 William Vasquez Narvaez          $10.50   53.12   $    8.60         $    68.86   $     68.86
  12/2/2018 William Vasquez Narvaez          $10.50   60.97   $    8.60         $   110.08   $    110.08
 12/16/2018 William Vasquez Narvaez          $10.50   59.20   $    8.60         $   100.80   $    100.80
 12/23/2018 William Vasquez Narvaez          $10.50   62.05   $    8.60         $   115.76   $    115.76
 12/30/2018 William Vasquez Narvaez          $10.50   40.67   $    8.60         $     3.50   $      3.50
   1/6/2019 William Vasquez Narvaez          $10.50   41.10   $    8.85         $     5.77   $      5.77
  1/13/2019 William Vasquez Narvaez          $10.50   61.27   $    8.85         $   111.65   $    111.65
  1/20/2019 William Vasquez Narvaez          $10.50   50.00   $    8.85         $    52.50   $     52.50
  1/27/2019 William Vasquez Narvaez          $10.50   61.17   $    8.85         $   111.13   $    111.13
  2/10/2019 William Vasquez Narvaez          $10.50   41.07   $    8.85         $     5.60   $      5.60
  2/17/2019 William Vasquez Narvaez          $10.50   59.17   $    8.85         $   100.63   $    100.63
  2/24/2019 William Vasquez Narvaez          $10.50   62.87   $    8.85         $   120.05   $    120.05
   3/3/2019 William Vasquez Narvaez          $10.50   60.63   $    8.85         $   108.33   $    108.33
  3/10/2019 William Vasquez Narvaez          $10.50   52.23   $    8.85         $    64.23   $     64.23
  3/17/2019 William Vasquez Narvaez          $10.50   60.72   $    8.85         $   108.76   $    108.76
  3/24/2019 William Vasquez Narvaez          $10.50   63.25   $    8.85         $   122.06   $    122.06
  3/31/2019 William Vasquez Narvaez          $10.50   48.43   $    8.85         $    44.27   $     44.27
   4/7/2019 William Vasquez Narvaez          $10.50   62.85   $    8.85         $   119.96   $    119.96
  4/21/2019 William Vasquez Narvaez          $10.50   72.18   $    8.85         $   168.96   $    168.96
  5/12/2019 William Vasquez Narvaez          $10.50   63.40   $    8.85         $   122.85   $    122.85
  5/19/2019 William Vasquez Narvaez          $10.50   61.42   $    8.85         $   112.44   $    112.44
  5/26/2019 William Vasquez Narvaez          $10.50   60.60   $    8.85         $   108.15   $    108.15
   6/2/2019 William Vasquez Narvaez          $10.50   55.32   $    8.85         $    80.41   $     80.41
   6/9/2019 William Vasquez Narvaez          $10.50   65.40   $    8.85         $   133.35   $    133.35
  6/16/2019 William Vasquez Narvaez          $10.50   63.77   $    8.85         $   124.78   $    124.78
  6/23/2019 William Vasquez Narvaez          $10.50   43.10   $    8.85         $    16.28   $     16.28
  6/30/2019 William Vasquez Narvaez          $10.50   61.12   $   10.00         $   110.86   $    110.86
   7/7/2019 William Vasquez Narvaez          $12.00   52.17   $   10.00         $    73.00   $     73.00
  7/14/2019 William Vasquez Narvaez          $12.00   52.87   $   10.00         $    77.20   $     77.20
  7/21/2019 William Vasquez Narvaez          $12.00   66.88   $   10.00         $   161.30   $    161.30
  7/28/2019 William Vasquez Narvaez          $12.00   66.73   $   10.00         $   160.40   $    160.40
   8/4/2019 William Vasquez Narvaez          $12.00   66.90   $   10.00         $   161.40   $    161.40
  8/11/2019 William Vasquez Narvaez          $12.00   68.08   $   10.00         $   168.50   $    168.50
  8/18/2019 William Vasquez Narvaez          $12.00   68.67   $   10.00         $   172.00   $    172.00
  8/25/2019 William Vasquez Narvaez          $12.00   68.87   $   10.00         $   173.20   $    173.20
   9/1/2019 William Vasquez Narvaez          $12.00   70.88   $   10.00         $   185.30   $    185.30
   9/8/2019 William Vasquez Narvaez          $12.00   58.30   $   10.00         $   109.80   $    109.80
  9/15/2019 William Vasquez Narvaez          $12.00   71.02   $   10.00         $   186.10   $    186.10
  9/22/2019 William Vasquez Narvaez          $12.00   70.82   $   10.00         $   184.90   $    184.90
  9/29/2019 William Vasquez Narvaez          $12.00   71.68   $   10.00         $   190.10   $    190.10
  10/6/2019 William Vasquez Narvaez          $12.00   68.02   $   10.00         $   168.10   $    168.10
 10/13/2019 William Vasquez Narvaez          $12.00   71.72   $   10.00         $   190.30   $    190.30
 10/20/2019 William Vasquez Narvaez          $12.00   61.33   $   10.00         $   128.00   $    128.00
 10/27/2019 William Vasquez Narvaez          $12.00   61.98   $   10.00         $   131.90   $    131.90
  11/3/2019 William Vasquez Narvaez          $12.00   60.65   $   10.00         $   123.90   $    123.90
 11/10/2019 William Vasquez Narvaez          $12.00   60.90   $   10.00         $   125.40   $    125.40
 11/17/2019 William Vasquez Narvaez          $12.00   60.48   $   10.00         $   122.90   $    122.90
 11/24/2019 William Vasquez Narvaez          $12.00   62.25   $   10.00         $   133.50   $    133.50
  12/1/2019 William Vasquez Narvaez          $12.00   47.30   $   10.00         $    43.80   $     43.80



                                               662
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 664 of 683 PageID: 1511
                                                    Exhibit 2
                                            New Jersey Computations


   Week                                                            State Section 7: Section 7: Total Section 7
                                                   Hourly Hours/
  Ending                        Name                             Minumum Regular    Half-Time Overtime Back
                                                    Rate Week
   Date                                                            Wage  Rate Due     Due       Wages Due

  12/8/2019 William Vasquez Narvaez                $12.00   58.68   $   10.00               $   112.10   $   112.10
 12/15/2019 William Vasquez Narvaez                $12.00   70.00   $   10.00               $   180.00   $   180.00
 12/22/2019 William Vasquez Narvaez                $12.00   71.60   $   10.00               $   189.60   $   189.60
 12/29/2019 William Vasquez Narvaez                $12.00   51.02   $   10.00               $    66.10   $    66.10
   1/5/2020 William Vasquez Narvaez                $12.00   58.78   $   11.00               $   112.70   $   112.70
  1/12/2020 William Vasquez Narvaez                $12.00   71.50   $   11.00               $   189.00   $   189.00
  1/19/2020 William Vasquez Narvaez                $12.00   73.55   $   11.00               $   201.30   $   201.30
  1/26/2020 William Vasquez Narvaez                $12.00   69.77   $   11.00               $   178.60   $   178.60
   3/3/2019 Wilmar Alvarado                        $10.00   61.80   $    8.85               $   109.00   $   109.00
  3/10/2019 Wilmar Alvarado                        $10.00   61.88   $    8.85               $   109.42   $   109.42
  3/17/2019 Wilmar Alvarado                        $10.00   64.00   $    8.85               $   120.00   $   120.00
  3/24/2019 Wilmar Alvarado                        $10.00   51.08   $    8.85               $    55.42   $    55.42
   4/7/2019 Wilmar J. Alvarado - New Cars          $11.00   71.48   $    8.85               $   173.16   $   173.16
  4/14/2019 Wilmar J. Alvarado - New Cars          $11.00   75.62   $    8.85               $   195.89   $   195.89
  4/21/2019 Wilmar J. Alvarado - New Cars          $11.00   74.67   $    8.85               $   190.67   $   190.67
  4/28/2019 Wilmar J. Alvarado - New Cars          $11.00   70.72   $    8.85               $   168.94   $   168.94
   5/5/2019 Wilmar J. Alvarado - New Cars          $11.00   72.02   $    8.85               $   176.09   $   176.09
  5/12/2019 Wilmar J. Alvarado - New Cars          $11.00   59.75   $    8.85               $   108.63   $   108.63
  5/19/2019 Wilmar J. Alvarado - New Cars          $11.00   61.57   $    8.85               $   118.62   $   118.62
  5/26/2019 Wilmar J. Alvarado - New Cars          $11.00   61.05   $    8.85               $   115.78   $   115.78
   6/2/2019 Wilmar J. Alvarado - New Cars          $11.00   71.00   $    8.85               $   170.50   $   170.50
   6/9/2019 Wilmar J. Alvarado - New Cars          $11.00   59.40   $    8.85               $   106.70   $   106.70
  6/16/2019 Wilmar J. Alvarado - New Cars          $11.00   72.38   $    8.85               $   178.11   $   178.11
  6/23/2019 Wilmar J. Alvarado - New Cars          $11.00   71.37   $    8.85               $   172.52   $   172.52
  6/30/2019 Wilmar J. Alvarado - New Cars          $11.00   74.42   $   10.00               $   189.29   $   189.29
   7/7/2019 Wilmar J. Alvarado - New Cars          $11.50   62.18   $   10.00               $   127.55   $   127.55
  7/14/2019 Wilmar J. Alvarado - New Cars          $11.50   71.85   $   10.00               $   183.14   $   183.14
   8/4/2019 Wilmar J. Alvarado - New Cars          $11.50   74.38   $   10.00               $   197.70   $   197.70
  8/11/2019 Wilmar J. Alvarado - New Cars          $11.50   69.30   $   10.00               $   168.48   $   168.48
  8/18/2019 Wilmar J. Alvarado - New Cars          $11.50   67.33   $   10.00               $   157.17   $   157.17
  8/25/2019 Wilmar J. Alvarado - New Cars          $11.50   57.42   $   10.00               $   100.15   $   100.15
   9/1/2019 Wilmar J. Alvarado - New Cars          $11.50   77.43   $   10.00               $   215.24   $   215.24
   9/8/2019 Wilmar J. Alvarado - New Cars          $11.50   70.42   $   10.00               $   174.90   $   174.90
  9/15/2019 Wilmar J. Alvarado - New Cars          $11.50   54.23   $   10.00               $    81.84   $    81.84
  9/22/2019 Wilmar J. Alvarado - New Cars          $11.50   59.00   $   10.00               $   109.25   $   109.25
  9/29/2019 Wilmar J. Alvarado - New Cars          $11.50   58.52   $   10.00               $   106.47   $   106.47
  10/6/2019 Wilmar J. Alvarado - New Cars          $11.50   68.15   $   10.00               $   161.86   $   161.86
 10/13/2019 Wilmar J. Alvarado - New Cars          $11.50   60.45   $   10.00               $   117.59   $   117.59
 10/20/2019 Wilmar J. Alvarado - New Cars          $11.50   66.30   $   10.00               $   151.23   $   151.23
 10/27/2019 Wilmar J. Alvarado - New Cars          $11.50   66.00   $   10.00               $   149.50   $   149.50
  11/3/2019 Wilmar J. Alvarado - New Cars          $11.50   60.80   $   10.00               $   119.60   $   119.60
 11/10/2019 Wilmar J. Alvarado - New Cars          $11.50   65.22   $   10.00               $   145.00   $   145.00
 12/15/2019 Wilmer Abreu                           $10.00   48.35   $   10.00               $    41.75   $    41.75
 12/22/2019 Wilmer Abreu                           $10.00   67.90   $   10.00               $   139.50   $   139.50
   1/5/2020 Wilmer Abreu                           $10.00   45.78   $   11.00   $   45.78   $    31.81   $    77.59
  1/12/2020 Wilmer Abreu                           $10.00   60.62   $   11.00   $   60.62   $   113.39   $   174.01
  1/19/2020 Wilmer Abreu                           $10.00   59.22   $   11.00   $   59.22   $   105.69   $   164.91
  1/26/2020 Wilmer Abreu                           $10.00   52.85   $   11.00   $   52.85   $    70.68   $   123.53
   2/3/2019 Wilmer Mendez                          $10.50   60.65   $    8.85               $   108.41   $   108.41
  2/10/2019 Wilmer Mendez                          $10.50   62.57   $    8.85               $   118.48   $   118.48



                                                     663
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 665 of 683 PageID: 1512
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                        Name                         Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

  2/17/2019 Wilmer Mendez                      $10.50   49.62   $    8.85               $    50.49   $    50.49
  2/24/2019 Wilmer Mendez                      $10.50   59.20   $    8.85               $   100.80   $   100.80
   3/3/2019 Wilmer Mendez                      $10.50   50.97   $    8.85               $    57.58   $    57.58
  3/10/2019 Wilmer Mendez                      $10.50   46.08   $    8.85               $    31.94   $    31.94
  3/17/2019 Wilmer Mendez                      $10.50   55.97   $    8.85               $    83.83   $    83.83
  3/24/2019 Wilmer Mendez                      $10.50   56.28   $    8.85               $    85.49   $    85.49
  3/31/2019 Wilmer Mendez                      $10.50   54.97   $    8.85               $    78.58   $    78.58
   4/7/2019 Wilmer Mendez                      $10.50   67.32   $    8.85               $   143.41   $   143.41
  4/14/2019 Wilmer Mendez                      $10.50   59.58   $    8.85               $   102.81   $   102.81
  4/21/2019 Wilmer Mendez                      $10.50   56.43   $    8.85               $    86.28   $    86.28
  4/28/2019 Wilmer Mendez                      $10.50   47.17   $    8.85               $    37.63   $    37.63
   5/5/2019 Wilmer Mendez                      $10.50   69.22   $    8.85               $   153.39   $   153.39
  5/12/2019 Wilmer Mendez                      $10.50   75.47   $    8.85               $   186.20   $   186.20
  5/19/2019 Wilmer Mendez                      $10.50   62.20   $    8.85               $   116.55   $   116.55
   6/2/2019 Wilmer Mendez                      $10.50   42.58   $    8.85               $    13.56   $    13.56
 11/24/2019 Wilquin Montero Castillo           $10.00   62.17   $   10.00               $   110.83   $   110.83
  12/1/2019 Wilquin Montero Castillo           $10.00   55.77   $   10.00               $    78.83   $    78.83
  12/8/2019 Wilquin Montero Castillo           $10.00   61.77   $   10.00               $   108.83   $   108.83
 12/15/2019 Wilquin Montero Castillo           $10.00   60.38   $   10.00               $   101.92   $   101.92
 12/22/2019 Wilquin Montero Castillo           $10.00   59.85   $   10.00               $    99.25   $    99.25
 12/29/2019 Wilquin Montero Castillo           $10.00   61.72   $   10.00               $   108.58   $   108.58
   1/5/2020 Wilquin Montero Castillo           $10.00   65.25   $   11.00   $   65.25   $   138.88   $   204.13
  1/12/2020 Wilquin Montero Castillo           $10.00   78.57   $   11.00   $   78.57   $   212.12   $   290.68
  1/19/2020 Wilquin Montero Castillo           $10.00   60.08   $   11.00   $   60.08   $   110.46   $   170.54
  1/26/2020 Wilquin Montero Castillo           $10.00   68.73   $   11.00   $   68.73   $   158.03   $   226.77
   7/9/2017 Wilson Alberto Cruz Cueto          $10.00   51.83   $    8.44               $    59.17   $    59.17
  7/16/2017 Wilson Alberto Cruz Cueto          $10.00   59.38   $    8.44               $    96.92   $    96.92
  7/23/2017 Wilson Alberto Cruz Cueto          $10.00   55.50   $    8.44               $    77.50   $    77.50
  7/30/2017 Wilson Alberto Cruz Cueto          $10.00   44.00   $    8.44               $    20.00   $    20.00
   8/6/2017 Wilson Alberto Cruz Cueto          $10.00   45.57   $    8.44               $    27.83   $    27.83
  8/13/2017 Wilson Alberto Cruz Cueto          $10.00   44.55   $    8.44               $    22.75   $    22.75
  8/20/2017 Wilson Alberto Cruz Cueto          $10.00   56.10   $    8.44               $    80.50   $    80.50
  8/27/2017 Wilson Alberto Cruz Cueto          $10.00   48.55   $    8.44               $    42.75   $    42.75
   9/3/2017 Wilson Alberto Cruz Cueto          $10.00   57.73   $    8.44               $    88.67   $    88.67
  9/17/2017 Wilson Alberto Cruz Cueto          $10.00   51.62   $    8.44               $    58.08   $    58.08
  9/24/2017 Wilson Alberto Cruz Cueto          $10.00   46.88   $    8.44               $    34.42   $    34.42
  10/1/2017 Wilson Alberto Cruz Cueto          $10.00   42.87   $    8.44               $    14.33   $    14.33
  10/8/2017 Wilson Alberto Cruz Cueto          $10.00   53.80   $    8.44               $    69.00   $    69.00
 10/15/2017 Wilson Alberto Cruz Cueto          $10.00   56.80   $    8.44               $    84.00   $    84.00
 10/22/2017 Wilson Alberto Cruz Cueto          $10.00   55.05   $    8.44               $    75.25   $    75.25
 10/29/2017 Wilson Alberto Cruz Cueto          $10.00   55.47   $    8.44               $    77.33   $    77.33
  11/5/2017 Wilson Alberto Cruz Cueto          $10.00   51.90   $    8.44               $    59.50   $    59.50
 11/12/2017 Wilson Alberto Cruz Cueto          $10.00   51.13   $    8.44               $    55.67   $    55.67
 11/19/2017 Wilson Alberto Cruz Cueto          $10.00   54.35   $    8.44               $    71.75   $    71.75
 11/26/2017 Wilson Alberto Cruz Cueto          $10.00   42.08   $    8.44               $    10.42   $    10.42
  12/3/2017 Wilson Alberto Cruz Cueto          $10.00   58.48   $    8.44               $    92.42   $    92.42
 12/10/2017 Wilson Alberto Cruz Cueto          $10.00   56.10   $    8.44               $    80.50   $    80.50
 12/17/2017 Wilson Alberto Cruz Cueto          $10.00   42.60   $    8.44               $    13.00   $    13.00
 12/24/2017 Wilson Alberto Cruz Cueto          $10.00   49.50   $    8.44               $    47.50   $    47.50
 12/31/2017 Wilson Alberto Cruz Cueto          $10.00   46.13   $    8.44               $    30.67   $    30.67



                                                 664
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 666 of 683 PageID: 1513
                                               Exhibit 2
                                       New Jersey Computations


   Week                                                       State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
  Ending                       Name                         Minumum Regular    Half-Time Overtime Back
                                               Rate Week
   Date                                                       Wage  Rate Due     Due       Wages Due

 1/14/2018 Wilson Alberto Cruz Cueto          $10.00   45.35   $   8.60          $   26.75   $      26.75
 1/21/2018 Wilson Alberto Cruz Cueto          $10.00   56.05   $   8.60          $   80.25   $      80.25
  2/4/2018 Wilson Alberto Cruz Cueto          $10.00   53.37   $   8.60          $   66.83   $      66.83
 2/11/2018 Wilson Alberto Cruz Cueto          $10.00   50.63   $   8.60          $   53.17   $      53.17
 2/18/2018 Wilson Alberto Cruz Cueto          $10.00   40.48   $   8.60          $    2.42   $       2.42
 2/25/2018 Wilson Alberto Cruz Cueto          $10.00   52.83   $   8.60          $   64.17   $      64.17
  3/4/2018 Wilson Alberto Cruz Cueto          $10.00   55.48   $   8.60          $   77.42   $      77.42
 3/25/2018 Wilson Alberto Cruz Cueto          $10.00   50.77   $   8.60          $   53.83   $      53.83
  4/1/2018 Wilson Alberto Cruz Cueto          $10.00   51.05   $   8.60          $   55.25   $      55.25
 4/15/2018 Wilson Alberto Cruz Cueto          $10.00   53.05   $   8.60          $   65.25   $      65.25
 4/22/2018 Wilson Alberto Cruz Cueto          $10.00   51.92   $   8.60          $   59.58   $      59.58
 4/29/2018 Wilson Alberto Cruz Cueto          $10.00   51.90   $   8.60          $   59.50   $      59.50
  5/6/2018 Wilson Alberto Cruz Cueto          $10.00   50.52   $   8.60          $   52.58   $      52.58
  6/3/2018 Wilson Alberto Cruz Cueto          $10.00   41.47   $   8.60          $    7.33   $       7.33
 6/10/2018 Wilson Alberto Cruz Cueto          $10.00   41.78   $   8.60          $    8.92   $       8.92
  7/1/2018 Wilson Alberto Cruz Cueto          $10.00   44.50   $   8.60          $   22.50   $      22.50
  2/5/2017 Wilson Galindo                      $9.50   58.07   $   8.44          $   85.82   $      85.82
 2/12/2017 Wilson Galindo                      $9.50   48.00   $   8.44          $   38.00   $      38.00
 2/19/2017 Wilson Galindo                      $9.50   58.02   $   8.44          $   85.58   $      85.58
 2/26/2017 Wilson Galindo                      $9.50   58.12   $   8.44          $   86.05   $      86.05
  3/5/2017 Wilson Galindo                      $9.50   58.25   $   8.44          $   86.69   $      86.69
 3/12/2017 Wilson Galindo                      $9.50   57.95   $   8.44          $   85.26   $      85.26
 3/19/2017 Wilson Galindo                      $9.50   47.90   $   8.44          $   37.53   $      37.53
 3/26/2017 Wilson Galindo                      $9.50   58.05   $   8.44          $   85.74   $      85.74
  4/9/2017 Wilson Galindo                      $9.50   57.97   $   8.44          $   85.34   $      85.34
 4/16/2017 Wilson Galindo                      $9.50   57.77   $   8.44          $   84.39   $      84.39
 4/23/2017 Wilson Galindo                      $9.50   57.87   $   8.44          $   84.87   $      84.87
 4/30/2017 Wilson Galindo                      $9.50   57.75   $   8.44          $   84.31   $      84.31
  5/7/2017 Wilson Galindo                      $9.50   57.95   $   8.44          $   85.26   $      85.26
 5/14/2017 Wilson Galindo                      $9.50   58.42   $   8.44          $   87.48   $      87.48
 5/21/2017 Wilson Galindo                      $9.50   50.07   $   8.44          $   47.82   $      47.82
 5/28/2017 Wilson Galindo                      $9.50   57.85   $   8.44          $   84.79   $      84.79
  6/4/2017 Wilson Galindo                      $9.50   46.75   $   8.44          $   32.06   $      32.06
 6/11/2017 Wilson Galindo                      $9.50   58.23   $   8.44          $   86.61   $      86.61
 6/18/2017 Wilson Galindo                      $9.50   58.05   $   8.44          $   85.74   $      85.74
 6/25/2017 Wilson Galindo                      $9.50   58.35   $   8.44          $   87.16   $      87.16
  7/2/2017 Wilson Galindo                      $9.50   58.03   $   8.44          $   85.66   $      85.66
  7/9/2017 Wilson Galindo                      $9.50   47.97   $   8.44          $   37.84   $      37.84
 7/16/2017 Wilson Galindo                      $9.50   57.58   $   8.44          $   83.52   $      83.52
 7/23/2017 Wilson Galindo                      $9.50   57.70   $   8.44          $   84.07   $      84.07
 7/30/2017 Wilson Galindo                      $9.50   57.80   $   8.44          $   84.55   $      84.55
  8/6/2017 Wilson Galindo                      $9.50   57.88   $   8.44          $   84.95   $      84.95
 8/13/2017 Wilson Galindo                      $9.50   57.87   $   8.44          $   84.87   $      84.87
 8/20/2017 Wilson Galindo                      $9.50   58.05   $   8.44          $   85.74   $      85.74
 8/27/2017 Wilson Galindo                      $9.50   56.77   $   8.44          $   79.64   $      79.64
  9/3/2017 Wilson Galindo                      $9.50   57.78   $   8.44          $   84.47   $      84.47
 9/10/2017 Wilson Galindo                      $9.50   48.00   $   8.44          $   38.00   $      38.00
 9/17/2017 Wilson Galindo                      $9.50   50.55   $   8.44          $   50.11   $      50.11
 9/24/2017 Wilson Galindo                      $9.50   58.53   $   8.44          $   88.03   $      88.03
 10/1/2017 Wilson Galindo                      $9.50   59.30   $   8.44          $   91.68   $      91.68



                                                665
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 667 of 683 PageID: 1514
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  10/8/2017 Wilson Galindo                   $9.50   61.47   $   8.44          $   101.97   $    101.97
   2/5/2017 Wilson Martinez                 $11.00   56.88   $   8.44          $    92.86   $     92.86
  2/12/2017 Wilson Martinez                 $11.00   52.53   $   8.44          $    68.93   $     68.93
  2/19/2017 Wilson Martinez                 $11.00   54.20   $   8.44          $    78.10   $     78.10
  2/26/2017 Wilson Martinez                 $11.00   56.62   $   8.44          $    91.39   $     91.39
   3/5/2017 Wilson Martinez                 $11.00   55.42   $   8.44          $    84.79   $     84.79
  3/12/2017 Wilson Martinez                 $11.00   56.87   $   8.44          $    92.77   $     92.77
  3/19/2017 Wilson Martinez                 $11.00   47.47   $   8.44          $    41.07   $     41.07
  3/26/2017 Wilson Martinez                 $11.00   58.07   $   8.44          $    99.37   $     99.37
   4/2/2017 Wilson Martinez                 $11.00   48.32   $   8.44          $    45.74   $     45.74
   4/9/2017 Wilson Martinez                 $11.00   57.48   $   8.44          $    96.16   $     96.16
  4/16/2017 Wilson Martinez                 $11.00   54.87   $   8.44          $    81.77   $     81.77
  4/23/2017 Wilson Martinez                 $11.00   58.80   $   8.44          $   103.40   $    103.40
  4/30/2017 Wilson Martinez                 $11.00   57.47   $   8.44          $    96.07   $     96.07
   5/7/2017 Wilson Martinez                 $11.00   57.25   $   8.44          $    94.88   $     94.88
  5/14/2017 Wilson Martinez                 $11.00   57.77   $   8.44          $    97.72   $     97.72
  5/21/2017 Wilson Martinez                 $11.00   58.48   $   8.44          $   101.66   $    101.66
  5/28/2017 Wilson Martinez                 $11.00   57.68   $   8.44          $    97.26   $     97.26
   6/4/2017 Wilson Martinez                 $11.00   55.98   $   8.44          $    87.91   $     87.91
  6/11/2017 Wilson Martinez                 $11.00   57.17   $   8.44          $    94.42   $     94.42
  6/18/2017 Wilson Martinez                 $11.00   58.10   $   8.44          $    99.55   $     99.55
  6/25/2017 Wilson Martinez                 $11.00   58.98   $   8.44          $   104.41   $    104.41
   7/2/2017 Wilson Martinez                 $11.00   48.73   $   8.44          $    48.03   $     48.03
   7/9/2017 Wilson Martinez                 $11.00   54.45   $   8.44          $    79.48   $     79.48
  7/16/2017 Wilson Martinez                 $11.00   57.60   $   8.44          $    96.80   $     96.80
  7/23/2017 Wilson Martinez                 $11.00   58.62   $   8.44          $   102.39   $    102.39
  7/30/2017 Wilson Martinez                 $11.00   59.15   $   8.44          $   105.33   $    105.33
   8/6/2017 Wilson Martinez                 $11.00   58.10   $   8.44          $    99.55   $     99.55
  8/13/2017 Wilson Martinez                 $11.00   58.08   $   8.44          $    99.46   $     99.46
  8/20/2017 Wilson Martinez                 $11.00   58.93   $   8.44          $   104.13   $    104.13
  8/27/2017 Wilson Martinez                 $11.00   49.98   $   8.44          $    54.91   $     54.91
   9/3/2017 Wilson Martinez                 $11.00   56.72   $   8.44          $    91.94   $     91.94
  9/10/2017 Wilson Martinez                 $11.00   50.00   $   8.44          $    55.00   $     55.00
  9/17/2017 Wilson Martinez                 $11.00   59.75   $   8.44          $   108.63   $    108.63
  9/24/2017 Wilson Martinez                 $11.00   55.87   $   8.44          $    87.27   $     87.27
  10/1/2017 Wilson Martinez                 $11.00   57.58   $   8.44          $    96.71   $     96.71
  10/8/2017 Wilson Martinez                 $11.00   57.07   $   8.44          $    93.87   $     93.87
 10/15/2017 Wilson Martinez                 $11.00   57.38   $   8.44          $    95.61   $     95.61
 10/22/2017 Wilson Martinez                 $11.00   57.37   $   8.44          $    95.52   $     95.52
 10/29/2017 Wilson Martinez                 $11.00   57.22   $   8.44          $    94.69   $     94.69
  11/5/2017 Wilson Martinez                 $11.00   57.83   $   8.44          $    98.08   $     98.08
 11/12/2017 Wilson Martinez                 $11.00   55.38   $   8.44          $    84.61   $     84.61
 11/19/2017 Wilson Martinez                 $11.00   58.98   $   8.44          $   104.41   $    104.41
 11/26/2017 Wilson Martinez                 $11.00   46.82   $   8.44          $    37.49   $     37.49
  12/3/2017 Wilson Martinez                 $11.00   57.82   $   8.44          $    97.99   $     97.99
 12/10/2017 Wilson Martinez                 $11.00   56.35   $   8.44          $    89.93   $     89.93
 12/17/2017 Wilson Martinez                 $11.00   56.92   $   8.44          $    93.04   $     93.04
 12/24/2017 Wilson Martinez                 $11.00   56.43   $   8.44          $    90.38   $     90.38
 12/31/2017 Wilson Martinez                 $11.00   46.23   $   8.44          $    34.28   $     34.28
   1/7/2018 Wilson Martinez                 $11.00   52.08   $   8.60          $    66.46   $     66.46



                                              666
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 668 of 683 PageID: 1515
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  1/14/2018 Wilson Martinez                 $11.00   55.47   $   8.60          $    85.07   $     85.07
  1/21/2018 Wilson Martinez                 $11.00   56.25   $   8.60          $    89.38   $     89.38
  1/28/2018 Wilson Martinez                 $11.00   55.82   $   8.60          $    86.99   $     86.99
   2/4/2018 Wilson Martinez                 $11.00   57.08   $   8.60          $    93.96   $     93.96
  2/11/2018 Wilson Martinez                 $11.00   56.87   $   8.60          $    92.77   $     92.77
  2/18/2018 Wilson Martinez                 $11.00   55.55   $   8.60          $    85.53   $     85.53
  2/25/2018 Wilson Martinez                 $11.00   55.27   $   8.60          $    83.97   $     83.97
   3/4/2018 Wilson Martinez                 $11.00   56.00   $   8.60          $    88.00   $     88.00
   4/1/2018 Wilson Martinez                 $11.00   45.52   $   8.60          $    30.34   $     30.34
   4/8/2018 Wilson Martinez                 $11.00   54.58   $   8.60          $    80.21   $     80.21
  4/15/2018 Wilson Martinez                 $11.00   52.67   $   8.60          $    69.67   $     69.67
  4/22/2018 Wilson Martinez                 $11.00   53.72   $   8.60          $    75.44   $     75.44
  4/29/2018 Wilson Martinez                 $11.00   54.75   $   8.60          $    81.13   $     81.13
   5/6/2018 Wilson Martinez                 $11.00   57.73   $   8.60          $    97.53   $     97.53
  5/13/2018 Wilson Martinez                 $11.00   55.05   $   8.60          $    82.78   $     82.78
  5/20/2018 Wilson Martinez                 $11.00   56.55   $   8.60          $    91.03   $     91.03
  5/27/2018 Wilson Martinez                 $11.00   53.97   $   8.60          $    76.82   $     76.82
   6/3/2018 Wilson Martinez                 $11.00   53.72   $   8.60          $    75.44   $     75.44
  6/10/2018 Wilson Martinez                 $11.00   56.00   $   8.60          $    88.00   $     88.00
  6/17/2018 Wilson Martinez                 $11.00   54.08   $   8.60          $    77.46   $     77.46
  6/24/2018 Wilson Martinez                 $11.00   56.72   $   8.60          $    91.94   $     91.94
   7/1/2018 Wilson Martinez                 $11.00   57.50   $   8.60          $    96.25   $     96.25
  7/15/2018 Wilson Martinez                 $11.00   54.95   $   8.60          $    82.23   $     82.23
  7/22/2018 Wilson Martinez                 $11.00   73.97   $   8.60          $   186.82   $    186.82
  7/29/2018 Wilson Martinez                 $11.00   55.67   $   8.60          $    86.17   $     86.17
   8/5/2018 Wilson Martinez                 $11.00   72.92   $   8.60          $   181.04   $    181.04
  8/12/2018 Wilson Martinez                 $11.00   54.63   $   8.60          $    80.48   $     80.48
  8/19/2018 Wilson Martinez                 $11.00   69.62   $   8.60          $   162.89   $    162.89
  8/26/2018 Wilson Martinez                 $11.00   66.43   $   8.60          $   145.38   $    145.38
   9/2/2018 Wilson Martinez                 $11.00   75.02   $   8.60          $   192.59   $    192.59
   9/9/2018 Wilson Martinez                 $11.00   55.15   $   8.60          $    83.33   $     83.33
  9/16/2018 Wilson Martinez                 $11.00   74.50   $   8.60          $   189.75   $    189.75
  9/23/2018 Wilson Martinez                 $11.00   66.95   $   8.60          $   148.23   $    148.23
  9/30/2018 Wilson Martinez                 $11.00   73.73   $   8.60          $   185.53   $    185.53
  10/7/2018 Wilson Martinez                 $11.00   64.92   $   8.60          $   137.04   $    137.04
 10/14/2018 Wilson Martinez                 $11.00   74.88   $   8.60          $   191.86   $    191.86
 10/21/2018 Wilson Martinez                 $11.00   69.45   $   8.60          $   161.98   $    161.98
 10/28/2018 Wilson Martinez                 $11.00   73.77   $   8.60          $   185.72   $    185.72
  11/4/2018 Wilson Martinez                 $11.00   64.45   $   8.60          $   134.48   $    134.48
 11/11/2018 Wilson Martinez                 $11.00   70.72   $   8.60          $   168.94   $    168.94
 11/18/2018 Wilson Martinez                 $11.00   66.38   $   8.60          $   145.11   $    145.11
 11/25/2018 Wilson Martinez                 $11.00   62.60   $   8.60          $   124.30   $    124.30
  12/2/2018 Wilson Martinez                 $11.00   65.42   $   8.60          $   139.79   $    139.79
  12/9/2018 Wilson Martinez                 $11.00   68.25   $   8.60          $   155.38   $    155.38
 12/16/2018 Wilson Martinez                 $11.00   61.82   $   8.60          $   119.99   $    119.99
 12/23/2018 Wilson Martinez                 $11.00   68.18   $   8.60          $   155.01   $    155.01
 12/30/2018 Wilson Martinez                 $11.00   48.23   $   8.60          $    45.28   $     45.28
   1/6/2019 Wilson Martinez                 $11.00   62.82   $   8.85          $   125.49   $    125.49
  1/13/2019 Wilson Martinez                 $11.00   68.02   $   8.85          $   154.09   $    154.09
  1/20/2019 Wilson Martinez                 $11.00   75.32   $   8.85          $   194.24   $    194.24



                                              667
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 669 of 683 PageID: 1516
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  1/27/2019 Wilson Martinez                 $11.00   71.05   $    8.85         $   170.78   $    170.78
   2/3/2019 Wilson Martinez                 $11.00   72.27   $    8.85         $   177.47   $    177.47
  2/10/2019 Wilson Martinez                 $11.00   67.85   $    8.85         $   153.18   $    153.18
  2/17/2019 Wilson Martinez                 $11.00   68.18   $    8.85         $   155.01   $    155.01
  2/24/2019 Wilson Martinez                 $11.00   66.63   $    8.85         $   146.48   $    146.48
   3/3/2019 Wilson Martinez                 $11.00   74.43   $    8.85         $   189.38   $    189.38
  3/10/2019 Wilson Martinez                 $11.00   68.07   $    8.85         $   154.37   $    154.37
  3/17/2019 Wilson Martinez                 $11.00   75.48   $    8.85         $   195.16   $    195.16
  3/24/2019 Wilson Martinez                 $11.00   63.05   $    8.85         $   126.78   $    126.78
  3/31/2019 Wilson Martinez                 $11.00   71.20   $    8.85         $   171.60   $    171.60
   4/7/2019 Wilson Martinez                 $11.00   69.43   $    8.85         $   161.88   $    161.88
  4/14/2019 Wilson Martinez                 $11.00   75.42   $    8.85         $   194.79   $    194.79
  4/21/2019 Wilson Martinez                 $11.00   69.32   $    8.85         $   161.24   $    161.24
  4/28/2019 Wilson Martinez                 $11.00   75.90   $    8.85         $   197.45   $    197.45
   5/5/2019 Wilson Martinez                 $11.00   66.97   $    8.85         $   148.32   $    148.32
  5/12/2019 Wilson Martinez                 $11.00   75.40   $    8.85         $   194.70   $    194.70
  5/19/2019 Wilson Martinez                 $11.00   67.50   $    8.85         $   151.25   $    151.25
  5/26/2019 Wilson Martinez                 $11.00   76.07   $    8.85         $   198.37   $    198.37
   6/2/2019 Wilson Martinez                 $11.00   61.32   $    8.85         $   117.24   $    117.24
   6/9/2019 Wilson Martinez                 $11.00   73.33   $    8.85         $   183.33   $    183.33
  6/16/2019 Wilson Martinez                 $11.00   63.25   $    8.85         $   127.88   $    127.88
  6/23/2019 Wilson Martinez                 $11.00   69.27   $    8.85         $   160.97   $    160.97
  6/30/2019 Wilson Martinez                 $11.00   64.80   $   10.00         $   136.40   $    136.40
   7/7/2019 Wilson Martinez                 $15.00   66.75   $   10.00         $   200.63   $    200.63
  7/14/2019 Wilson Martinez                 $15.00   64.65   $   10.00         $   184.88   $    184.88
  7/21/2019 Wilson Martinez                 $15.00   75.17   $   10.00         $   263.75   $    263.75
  7/28/2019 Wilson Martinez                 $15.00   64.70   $   10.00         $   185.25   $    185.25
   8/4/2019 Wilson Martinez                 $15.00   76.00   $   10.00         $   270.00   $    270.00
  8/11/2019 Wilson Martinez                 $15.00   65.47   $   10.00         $   191.00   $    191.00
  8/18/2019 Wilson Martinez                 $15.00   75.02   $   10.00         $   262.63   $    262.63
  8/25/2019 Wilson Martinez                 $15.00   65.78   $   10.00         $   193.38   $    193.38
   9/1/2019 Wilson Martinez                 $15.00   75.40   $   10.00         $   265.50   $    265.50
   9/8/2019 Wilson Martinez                 $15.00   59.97   $   10.00         $   149.75   $    149.75
  9/15/2019 Wilson Martinez                 $15.00   73.28   $   10.00         $   249.63   $    249.63
  9/22/2019 Wilson Martinez                 $15.00   65.27   $   10.00         $   189.50   $    189.50
  9/29/2019 Wilson Martinez                 $15.00   75.15   $   10.00         $   263.63   $    263.63
  10/6/2019 Wilson Martinez                 $15.00   55.48   $   10.00         $   116.13   $    116.13
 10/13/2019 Wilson Martinez                 $15.00   46.17   $   10.00         $    46.25   $     46.25
 10/20/2019 Wilson Martinez                 $15.00   64.55   $   10.00         $   184.13   $    184.13
 10/27/2019 Wilson Martinez                 $15.00   64.60   $   10.00         $   184.50   $    184.50
  11/3/2019 Wilson Martinez                 $15.00   64.07   $   10.00         $   180.50   $    180.50
 11/10/2019 Wilson Martinez                 $15.00   44.02   $   10.00         $    30.13   $     30.13
 11/17/2019 Wilson Martinez                 $15.00   64.23   $   10.00         $   181.75   $    181.75
 11/24/2019 Wilson Martinez                 $15.00   53.88   $   10.00         $   104.13   $    104.13
  12/8/2019 Wilson Martinez                 $15.00   51.27   $   10.00         $    84.50   $     84.50
 12/15/2019 Wilson Martinez                 $15.00   64.83   $   10.00         $   186.25   $    186.25
 12/22/2019 Wilson Martinez                 $15.00   50.67   $   10.00         $    80.00   $     80.00
 12/29/2019 Wilson Martinez                 $15.00   50.55   $   10.00         $    79.13   $     79.13
   1/5/2020 Wilson Martinez                 $15.00   47.47   $   11.00         $    56.00   $     56.00
  1/12/2020 Wilson Martinez                 $15.00   52.50   $   11.00         $    93.75   $     93.75



                                              668
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 670 of 683 PageID: 1517
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

  1/19/2020 Wilson Martinez                    $15.00   55.37   $   11.00               $   115.25   $   115.25
  1/26/2020 Wilson Martinez                    $15.00   61.28   $   11.00               $   159.63   $   159.63
  7/21/2019 Winton Ortiz                       $11.50   61.97   $   10.00               $   126.31   $   126.31
  7/28/2019 Winton Ortiz                       $11.50   78.93   $   10.00               $   223.87   $   223.87
   8/4/2019 Winton Ortiz                       $11.50   82.15   $   10.00               $   242.36   $   242.36
  8/11/2019 Winton Ortiz                       $11.50   52.45   $   10.00               $    71.59   $    71.59
  8/18/2019 Winton Ortiz                       $11.50   62.18   $   10.00               $   127.55   $   127.55
  8/25/2019 Winton Ortiz                       $11.50   50.97   $   10.00               $    63.06   $    63.06
   9/1/2019 Winton Ortiz                       $11.50   66.80   $   10.00               $   154.10   $   154.10
   9/8/2019 Winton Ortiz                       $11.50   74.15   $   10.00               $   196.36   $   196.36
 10/27/2019 Winton Ortiz                       $11.50   41.62   $   10.00               $     9.30   $     9.30
  12/8/2019 Winton Ortiz                       $11.50   48.18   $   10.00               $    47.05   $    47.05
 12/15/2019 Winton Ortiz                       $11.50   75.73   $   10.00               $   205.47   $   205.47
  1/19/2020 Winton Ortiz                       $11.50   65.02   $   11.00               $   143.85   $   143.85
  1/26/2020 Winton Ortiz                       $11.50   78.08   $   11.00               $   218.98   $   218.98
 10/20/2019 Yaderson A. Soto                   $10.00   49.52   $   10.00               $    47.58   $    47.58
 10/27/2019 Yaderson A. Soto                   $10.00   52.92   $   10.00               $    64.58   $    64.58
 10/20/2019 Yael Payan Vargas                  $11.00   60.98   $   10.00               $   115.41   $   115.41
 10/27/2019 Yael Payan Vargas                  $11.00   62.00   $   10.00               $   121.00   $   121.00
  11/3/2019 Yael Payan Vargas                  $11.00   60.83   $   10.00               $   114.58   $   114.58
 11/10/2019 Yael Payan Vargas                  $11.00   60.60   $   10.00               $   113.30   $   113.30
 11/17/2019 Yael Payan Vargas                  $11.00   60.85   $   10.00               $   114.68   $   114.68
 11/24/2019 Yael Payan Vargas                  $11.00   71.57   $   10.00               $   173.62   $   173.62
  12/1/2019 Yael Payan Vargas                  $11.00   55.53   $   10.00               $    85.43   $    85.43
  12/8/2019 Yael Payan Vargas                  $11.00   59.00   $   10.00               $   104.50   $   104.50
 12/15/2019 Yael Payan Vargas                  $11.00   60.68   $   10.00               $   113.76   $   113.76
 12/22/2019 Yael Payan Vargas                  $11.00   60.62   $   10.00               $   113.39   $   113.39
 12/29/2019 Yael Payan Vargas                  $11.00   53.05   $   10.00               $    71.78   $    71.78
   1/5/2020 Yael Payan Vargas                  $11.00   52.25   $   11.00               $    67.38   $    67.38
  1/12/2020 Yael Payan Vargas                  $11.00   62.28   $   11.00               $   122.56   $   122.56
  1/19/2020 Yael Payan Vargas                  $11.00   59.85   $   11.00               $   109.18   $   109.18
  1/26/2020 Yael Payan Vargas                  $11.00   61.52   $   11.00               $   118.34   $   118.34
   9/8/2019 Yael Payano Vargas                 $10.50   59.00   $   10.00               $    99.75   $    99.75
  9/15/2019 Yael Payano Vargas                 $10.50   53.78   $   10.00               $    72.36   $    72.36
 10/27/2019 Yamil Marina                       $11.00   41.18   $   10.00               $     6.51   $     6.51
  11/3/2019 Yamil Marina                       $11.00   42.50   $   10.00               $    13.75   $    13.75
 11/24/2019 Yanira Elizabeth Orell             $10.00   55.55   $   10.00               $    77.75   $    77.75
  12/1/2019 Yanira Elizabeth Orell             $10.00   56.37   $   10.00               $    81.83   $    81.83
  12/8/2019 Yanira Elizabeth Orell             $10.00   71.40   $   10.00               $   157.00   $   157.00
 12/15/2019 Yanira Elizabeth Orell             $10.00   74.05   $   10.00               $   170.25   $   170.25
 12/22/2019 Yanira Elizabeth Orell             $10.00   71.05   $   10.00               $   155.25   $   155.25
 12/29/2019 Yanira Elizabeth Orell             $10.00   54.28   $   10.00               $    71.42   $    71.42
   1/5/2020 Yanira Elizabeth Orell             $10.00   64.78   $   11.00   $   64.78   $   136.31   $   201.09
  1/12/2020 Yanira Elizabeth Orell             $10.00   74.00   $   11.00   $   74.00   $   187.00   $   261.00
  1/19/2020 Yanira Elizabeth Orell             $10.00   74.10   $   11.00   $   74.10   $   187.55   $   261.65
  1/26/2020 Yanira Elizabeth Orell             $10.00   73.85   $   11.00   $   73.85   $   186.18   $   260.03
 11/11/2018 Yaserson A. Soto                   $10.00   54.30   $    8.60               $    71.50   $    71.50
 11/18/2018 Yaserson A. Soto                   $10.00   79.52   $    8.60               $   197.58   $   197.58
 11/25/2018 Yaserson A. Soto                   $10.00   67.65   $    8.60               $   138.25   $   138.25
  12/2/2018 Yaserson A. Soto                   $10.00   84.53   $    8.60               $   222.67   $   222.67



                                                 669
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 671 of 683 PageID: 1518
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  12/9/2018 Yaserson A. Soto                 $10.00   66.38   $    8.60         $   131.92   $    131.92
 12/16/2018 Yaserson A. Soto                 $10.00   79.18   $    8.60         $   195.92   $    195.92
 12/23/2018 Yaserson A. Soto                 $10.00   80.17   $    8.60         $   200.83   $    200.83
 12/30/2018 Yaserson A. Soto                 $10.00   66.73   $    8.60         $   133.67   $    133.67
   1/6/2019 Yaserson A. Soto                 $10.00   72.58   $    8.85         $   162.92   $    162.92
  1/13/2019 Yaserson A. Soto                 $10.00   79.87   $    8.85         $   199.33   $    199.33
  1/20/2019 Yaserson A. Soto                 $10.00   66.53   $    8.85         $   132.67   $    132.67
  1/27/2019 Yaserson A. Soto                 $10.00   80.48   $    8.85         $   202.42   $    202.42
   2/3/2019 Yaserson A. Soto                 $10.00   82.53   $    8.85         $   212.67   $    212.67
  2/10/2019 Yaserson A. Soto                 $10.00   74.95   $    8.85         $   174.75   $    174.75
  2/17/2019 Yaserson A. Soto                 $10.00   77.02   $    8.85         $   185.08   $    185.08
  2/24/2019 Yaserson A. Soto                 $10.00   75.97   $    8.85         $   179.83   $    179.83
   3/3/2019 Yaserson A. Soto                 $10.00   57.83   $    8.85         $    89.17   $     89.17
  3/10/2019 Yaserson A. Soto                 $10.00   61.23   $    8.85         $   106.17   $    106.17
  3/17/2019 Yaserson A. Soto                 $10.00   53.42   $    8.85         $    67.08   $     67.08
  3/24/2019 Yaserson A. Soto                 $10.00   77.98   $    8.85         $   189.92   $    189.92
  3/31/2019 Yaserson A. Soto                 $10.00   81.33   $    8.85         $   206.67   $    206.67
   4/7/2019 Yaserson A. Soto                 $10.00   80.38   $    8.85         $   201.92   $    201.92
  4/14/2019 Yaserson A. Soto                 $10.00   77.30   $    8.85         $   186.50   $    186.50
  4/21/2019 Yaserson A. Soto                 $10.00   79.65   $    8.85         $   198.25   $    198.25
  4/28/2019 Yaserson A. Soto                 $10.00   83.23   $    8.85         $   216.17   $    216.17
   5/5/2019 Yaserson A. Soto                 $10.00   85.72   $    8.85         $   228.58   $    228.58
  5/12/2019 Yaserson A. Soto                 $10.00   82.77   $    8.85         $   213.83   $    213.83
  5/19/2019 Yaserson A. Soto                 $10.00   82.38   $    8.85         $   211.92   $    211.92
  5/26/2019 Yaserson A. Soto                 $10.00   84.10   $    8.85         $   220.50   $    220.50
   6/2/2019 Yaserson A. Soto                 $10.00   84.30   $    8.85         $   221.50   $    221.50
   6/9/2019 Yaserson A. Soto                 $10.00   82.68   $    8.85         $   213.42   $    213.42
  6/16/2019 Yaserson A. Soto                 $10.00   80.30   $    8.85         $   201.50   $    201.50
  6/23/2019 Yaserson A. Soto                 $10.00   83.72   $    8.85         $   218.58   $    218.58
  6/30/2019 Yaserson A. Soto                 $10.00   88.42   $   10.00         $   242.08   $    242.08
   7/7/2019 Yaserson A. Soto                 $10.00   78.68   $   10.00         $   193.42   $    193.42
  7/14/2019 Yaserson A. Soto                 $10.00   82.15   $   10.00         $   210.75   $    210.75
  7/21/2019 Yaserson A. Soto                 $10.00   84.50   $   10.00         $   222.50   $    222.50
  7/28/2019 Yaserson A. Soto                 $10.00   79.93   $   10.00         $   199.67   $    199.67
   8/4/2019 Yaserson A. Soto                 $10.00   88.55   $   10.00         $   242.75   $    242.75
  8/11/2019 Yaserson A. Soto                 $10.00   84.50   $   10.00         $   222.50   $    222.50
  8/18/2019 Yaserson A. Soto                 $10.00   87.17   $   10.00         $   235.83   $    235.83
  8/25/2019 Yaserson A. Soto                 $10.00   73.47   $   10.00         $   167.33   $    167.33
   9/1/2019 Yaserson A. Soto                 $10.00   89.20   $   10.00         $   246.00   $    246.00
   7/7/2019 Yecid Victoria                   $10.00   61.73   $   10.00         $   108.67   $    108.67
  7/14/2019 Yecid Victoria                   $10.00   51.07   $   10.00         $    55.33   $     55.33
  7/21/2019 Yecid Victoria                   $10.00   64.00   $   10.00         $   120.00   $    120.00
  7/28/2019 Yecid Victoria                   $10.00   66.17   $   10.00         $   130.83   $    130.83
   8/4/2019 Yecid Victoria                   $10.00   59.00   $   10.00         $    95.00   $     95.00
  8/11/2019 Yecid Victoria                   $10.00   67.97   $   10.00         $   139.83   $    139.83
  8/18/2019 Yecid Victoria                   $10.00   70.68   $   10.00         $   153.42   $    153.42
  8/25/2019 Yecid Victoria                   $10.00   69.32   $   10.00         $   146.58   $    146.58
   9/1/2019 Yecid Victoria                   $10.00   56.62   $   10.00         $    83.08   $     83.08
   7/8/2018 Yefri DeLaCruz                   $10.00   45.97   $    8.60         $    29.83   $     29.83
  7/15/2018 Yefri DeLaCruz                   $10.00   40.88   $    8.60         $     4.42   $      4.42



                                               670
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 672 of 683 PageID: 1519
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  7/22/2018 Yefri DeLaCruz                   $10.00   54.53   $    8.60               $    72.67   $    72.67
  7/29/2018 Yefri DeLaCruz                   $10.00   57.08   $    8.60               $    85.42   $    85.42
   8/5/2018 Yefri DeLaCruz                   $10.00   54.65   $    8.60               $    73.25   $    73.25
  8/12/2018 Yefri DeLaCruz                   $10.00   53.62   $    8.60               $    68.08   $    68.08
  8/19/2018 Yefri DeLaCruz                   $10.00   50.35   $    8.60               $    51.75   $    51.75
  8/26/2018 Yefri DeLaCruz                   $10.00   44.50   $    8.60               $    22.50   $    22.50
   9/2/2018 Yefri DeLaCruz                   $10.00   55.62   $    8.60               $    78.08   $    78.08
   9/9/2018 Yefri DeLaCruz                   $10.00   45.52   $    8.60               $    27.58   $    27.58
  9/15/2019 Yemil Reynoso Jakson             $10.00   54.13   $   10.00               $    70.67   $    70.67
  9/22/2019 Yemil Reynoso Jakson             $10.00   59.73   $   10.00               $    98.67   $    98.67
  9/29/2019 Yemil Reynoso Jakson             $10.00   48.28   $   10.00               $    41.42   $    41.42
  10/6/2019 Yemil Reynoso Jakson             $10.00   42.90   $   10.00               $    14.50   $    14.50
 10/13/2019 Yemil Reynoso Jakson             $10.00   41.80   $   10.00               $     9.00   $     9.00
 10/20/2019 Yemil Reynoso Jakson             $10.00   41.67   $   10.00               $     8.33   $     8.33
 10/27/2019 Yemil Reynoso Jakson             $10.00   57.23   $   10.00               $    86.17   $    86.17
  11/3/2019 Yemil Reynoso Jakson             $10.00   54.17   $   10.00               $    70.83   $    70.83
 11/10/2019 Yemil Reynoso Jakson             $10.00   58.63   $   10.00               $    93.17   $    93.17
 11/24/2019 Yemil Reynoso Jakson             $10.00   65.40   $   10.00               $   127.00   $   127.00
  12/1/2019 Yemil Reynoso Jakson             $10.00   50.80   $   10.00               $    54.00   $    54.00
  12/8/2019 Yemil Reynoso Jakson             $10.00   59.10   $   10.00               $    95.50   $    95.50
 12/15/2019 Yemil Reynoso Jakson             $10.00   67.90   $   10.00               $   139.50   $   139.50
 12/22/2019 Yemil Reynoso Jakson             $10.00   54.90   $   10.00               $    74.50   $    74.50
  1/19/2020 Yemil Reynoso Jakson             $10.50   50.60   $   11.00   $   25.30   $    58.30   $    83.60
  1/26/2020 Yemil Reynoso Jakson             $10.50   56.07   $   11.00   $   28.03   $    88.37   $   116.40
   2/5/2017 Yerninton Cueto-Martes           $11.00   57.78   $    8.44               $    97.81   $    97.81
  2/12/2017 Yerninton Cueto-Martes           $11.00   57.98   $    8.44               $    98.91   $    98.91
  2/19/2017 Yerninton Cueto-Martes           $11.00   60.32   $    8.44               $   111.74   $   111.74
  2/26/2017 Yerninton Cueto-Martes           $11.00   60.38   $    8.44               $   112.11   $   112.11
   3/5/2017 Yerninton Cueto-Martes           $11.00   63.25   $    8.44               $   127.88   $   127.88
  3/12/2017 Yerninton Cueto-Martes           $11.00   50.98   $    8.44               $    60.41   $    60.41
  3/19/2017 Yerninton Cueto-Martes           $11.00   54.78   $    8.44               $    81.31   $    81.31
  3/26/2017 Yerninton Cueto-Martes           $11.00   75.88   $    8.44               $   197.36   $   197.36
   4/2/2017 Yerninton Cueto-Martes           $11.00   40.77   $    8.44               $     4.22   $     4.22
  4/16/2017 Yerninton Cueto-Martes           $11.00   61.22   $    8.44               $   116.69   $   116.69
  4/23/2017 Yerninton Cueto-Martes           $11.00   67.98   $    8.44               $   153.91   $   153.91
  4/30/2017 Yerninton Cueto-Martes           $11.00   71.85   $    8.44               $   175.18   $   175.18
   5/7/2017 Yerninton Cueto-Martes           $11.00   67.77   $    8.44               $   152.72   $   152.72
  5/14/2017 Yerninton Cueto-Martes           $11.00   72.90   $    8.44               $   180.95   $   180.95
  5/21/2017 Yerninton Cueto-Martes           $11.00   74.08   $    8.44               $   187.46   $   187.46
  5/28/2017 Yerninton Cueto-Martes           $11.00   74.65   $    8.44               $   190.58   $   190.58
   6/4/2017 Yerninton Cueto-Martes           $11.00   62.27   $    8.44               $   122.47   $   122.47
  6/11/2017 Yerninton Cueto-Martes           $11.00   71.73   $    8.44               $   174.53   $   174.53
  6/18/2017 Yerninton Cueto-Martes           $11.00   71.33   $    8.44               $   172.33   $   172.33
  6/25/2017 Yerninton Cueto-Martes           $11.00   76.13   $    8.44               $   198.73   $   198.73
   7/2/2017 Yerninton Cueto-Martes           $11.00   74.82   $    8.44               $   191.49   $   191.49
   7/9/2017 Yerninton Cueto-Martes           $11.00   51.30   $    8.44               $    62.15   $    62.15
  7/16/2017 Yerninton Cueto-Martes           $11.00   72.43   $    8.44               $   178.38   $   178.38
  7/23/2017 Yerninton Cueto-Martes           $11.00   71.18   $    8.44               $   171.51   $   171.51
  7/30/2017 Yerninton Cueto-Martes           $11.00   72.20   $    8.44               $   177.10   $   177.10
   8/6/2017 Yerninton Cueto-Martes           $11.00   70.73   $    8.44               $   169.03   $   169.03



                                               671
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 673 of 683 PageID: 1520
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  8/13/2017 Yerninton Cueto-Martes           $11.00   60.00   $   8.44          $   110.00   $    110.00
  8/20/2017 Yerninton Cueto-Martes           $11.00   69.85   $   8.44          $   164.18   $    164.18
  8/27/2017 Yerninton Cueto-Martes           $11.00   70.82   $   8.44          $   169.49   $    169.49
   9/3/2017 Yerninton Cueto-Martes           $11.00   65.37   $   8.44          $   139.52   $    139.52
  9/10/2017 Yerninton Cueto-Martes           $11.00   58.05   $   8.44          $    99.28   $     99.28
  9/17/2017 Yerninton Cueto-Martes           $11.00   66.03   $   8.44          $   143.18   $    143.18
  9/24/2017 Yerninton Cueto-Martes           $11.00   67.85   $   8.44          $   153.18   $    153.18
  10/1/2017 Yerninton Cueto-Martes           $11.00   67.40   $   8.44          $   150.70   $    150.70
  10/8/2017 Yerninton Cueto-Martes           $11.00   64.88   $   8.44          $   136.86   $    136.86
 10/15/2017 Yerninton Cueto-Martes           $11.00   65.68   $   8.44          $   141.26   $    141.26
 10/22/2017 Yerninton Cueto-Martes           $11.00   56.18   $   8.44          $    89.01   $     89.01
  11/5/2017 Yerninton Cueto-Martes           $11.00   64.57   $   8.44          $   135.12   $    135.12
 11/12/2017 Yerninton Cueto-Martes           $11.00   61.67   $   8.44          $   119.17   $    119.17
 11/19/2017 Yerninton Cueto-Martes           $11.00   67.08   $   8.44          $   148.96   $    148.96
 11/26/2017 Yerninton Cueto-Martes           $11.00   48.87   $   8.44          $    48.77   $     48.77
  12/3/2017 Yerninton Cueto-Martes           $11.00   68.10   $   8.44          $   154.55   $    154.55
 12/10/2017 Yerninton Cueto-Martes           $11.00   69.27   $   8.44          $   160.97   $    160.97
 12/17/2017 Yerninton Cueto-Martes           $11.00   74.48   $   8.44          $   189.66   $    189.66
 12/24/2017 Yerninton Cueto-Martes           $11.00   72.38   $   8.44          $   178.11   $    178.11
 12/31/2017 Yerninton Cueto-Martes           $11.00   58.33   $   8.44          $   100.83   $    100.83
   1/7/2018 Yerninton Cueto-Martes           $11.00   42.62   $   8.60          $    14.39   $     14.39
  1/14/2018 Yerninton Cueto-Martes           $11.00   56.48   $   8.60          $    90.66   $     90.66
  1/21/2018 Yerninton Cueto-Martes           $11.00   60.37   $   8.60          $   112.02   $    112.02
  1/28/2018 Yerninton Cueto-Martes           $11.00   60.78   $   8.60          $   114.31   $    114.31
   2/4/2018 Yerninton Cueto-Martes           $11.00   56.62   $   8.60          $    91.39   $     91.39
  2/11/2018 Yerninton Cueto-Martes           $11.00   61.48   $   8.60          $   118.16   $    118.16
  2/18/2018 Yerninton Cueto-Martes           $11.00   63.07   $   8.60          $   126.87   $    126.87
  2/25/2018 Yerninton Cueto-Martes           $11.00   61.98   $   8.60          $   120.91   $    120.91
   3/4/2018 Yerninton Cueto-Martes           $11.00   55.32   $   8.60          $    84.24   $     84.24
  3/25/2018 Yerninton Cueto-Martes           $11.00   61.32   $   8.60          $   117.24   $    117.24
   4/1/2018 Yerninton Cueto-Martes           $11.00   62.40   $   8.60          $   123.20   $    123.20
   4/8/2018 Yerninton Cueto-Martes           $11.00   56.37   $   8.60          $    90.02   $     90.02
  4/15/2018 Yerninton Cueto-Martes           $11.00   58.67   $   8.60          $   102.67   $    102.67
  4/22/2018 Yerninton Cueto-Martes           $11.00   64.27   $   8.60          $   133.47   $    133.47
  4/29/2018 Yerninton Cueto-Martes           $11.00   64.62   $   8.60          $   135.39   $    135.39
   5/6/2018 Yerninton Cueto-Martes           $11.00   62.97   $   8.60          $   126.32   $    126.32
  5/13/2018 Yerninton Cueto-Martes           $11.00   60.92   $   8.60          $   115.04   $    115.04
  5/20/2018 Yerninton Cueto-Martes           $11.00   65.45   $   8.60          $   139.98   $    139.98
  5/27/2018 Yerninton Cueto-Martes           $11.00   68.08   $   8.60          $   154.46   $    154.46
   6/3/2018 Yerninton Cueto-Martes           $11.00   55.42   $   8.60          $    84.79   $     84.79
  6/10/2018 Yerninton Cueto-Martes           $11.00   62.03   $   8.60          $   121.18   $    121.18
  6/17/2018 Yerninton Cueto-Martes           $11.00   61.07   $   8.60          $   115.87   $    115.87
  6/24/2018 Yerninton Cueto-Martes           $11.00   62.68   $   8.60          $   124.76   $    124.76
   7/1/2018 Yerninton Cueto-Martes           $11.00   62.40   $   8.60          $   123.20   $    123.20
   7/8/2018 Yerninton Cueto-Martes           $11.00   50.62   $   8.60          $    58.39   $     58.39
  7/15/2018 Yerninton Cueto-Martes           $11.00   63.50   $   8.60          $   129.25   $    129.25
  7/22/2018 Yerninton Cueto-Martes           $11.00   65.27   $   8.60          $   138.97   $    138.97
  7/29/2018 Yerninton Cueto-Martes           $11.00   58.92   $   8.60          $   104.04   $    104.04
   8/5/2018 Yerninton Cueto-Martes           $11.00   60.52   $   8.60          $   112.84   $    112.84
  8/12/2018 Yerninton Cueto-Martes           $11.00   64.07   $   8.60          $   132.37   $    132.37



                                               672
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 674 of 683 PageID: 1521
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  8/19/2018 Yerninton Cueto-Martes           $11.00   67.50   $    8.60         $   151.25   $    151.25
  8/26/2018 Yerninton Cueto-Martes           $11.00   62.42   $    8.60         $   123.29   $    123.29
   9/2/2018 Yerninton Cueto-Martes           $11.00   67.92   $    8.60         $   153.54   $    153.54
   9/9/2018 Yerninton Cueto-Martes           $11.00   53.20   $    8.60         $    72.60   $     72.60
  9/16/2018 Yerninton Cueto-Martes           $11.00   63.97   $    8.60         $   131.82   $    131.82
  9/23/2018 Yerninton Cueto-Martes           $11.00   59.60   $    8.60         $   107.80   $    107.80
  9/30/2018 Yerninton Cueto-Martes           $11.00   62.02   $    8.60         $   121.09   $    121.09
  10/7/2018 Yerninton Cueto-Martes           $11.00   63.25   $    8.60         $   127.88   $    127.88
 10/14/2018 Yerninton Cueto-Martes           $11.00   57.80   $    8.60         $    97.90   $     97.90
 10/21/2018 Yerninton Cueto-Martes           $11.00   62.65   $    8.60         $   124.58   $    124.58
 10/28/2018 Yerninton Cueto-Martes           $11.00   63.52   $    8.60         $   129.34   $    129.34
  11/4/2018 Yerninton Cueto-Martes           $11.00   58.42   $    8.60         $   101.29   $    101.29
 11/11/2018 Yerninton Cueto-Martes           $11.00   65.12   $    8.60         $   138.14   $    138.14
 11/18/2018 Yerninton Cueto-Martes           $11.00   66.45   $    8.60         $   145.48   $    145.48
 11/25/2018 Yerninton Cueto-Martes           $11.00   51.97   $    8.60         $    65.82   $     65.82
  12/2/2018 Yerninton Cueto-Martes           $11.00   63.48   $    8.60         $   129.16   $    129.16
  12/9/2018 Yerninton Cueto-Martes           $11.00   62.38   $    8.60         $   123.11   $    123.11
 12/16/2018 Yerninton Cueto-Martes           $11.00   66.22   $    8.60         $   144.19   $    144.19
 12/23/2018 Yerninton Cueto-Martes           $11.00   68.83   $    8.60         $   158.58   $    158.58
 12/30/2018 Yerninton Cueto-Martes           $11.00   48.75   $    8.60         $    48.13   $     48.13
   1/6/2019 Yerninton Cueto-Martes           $11.00   47.00   $    8.85         $    38.50   $     38.50
  1/13/2019 Yerninton Cueto-Martes           $11.00   62.73   $    8.85         $   125.03   $    125.03
  1/20/2019 Yerninton Cueto-Martes           $11.00   56.07   $    8.85         $    88.37   $     88.37
  1/27/2019 Yerninton Cueto-Martes           $11.00   52.78   $    8.85         $    70.31   $     70.31
   2/3/2019 Yerninton Cueto-Martes           $11.00   56.70   $    8.85         $    91.85   $     91.85
  2/10/2019 Yerninton Cueto-Martes           $11.00   47.18   $    8.85         $    39.51   $     39.51
  2/17/2019 Yerninton Cueto-Martes           $11.00   53.42   $    8.85         $    73.79   $     73.79
  3/10/2019 Yerninton Cueto-Martes           $11.00   65.43   $    8.85         $   139.88   $    139.88
  3/17/2019 Yerninton Cueto-Martes           $11.00   71.67   $    8.85         $   174.17   $    174.17
  3/24/2019 Yerninton Cueto-Martes           $11.00   64.92   $    8.85         $   137.04   $    137.04
  3/31/2019 Yerninton Cueto-Martes           $11.00   66.22   $    8.85         $   144.19   $    144.19
   4/7/2019 Yerninton Cueto-Martes           $11.00   54.88   $    8.85         $    81.86   $     81.86
  4/14/2019 Yerninton Cueto-Martes           $11.00   67.67   $    8.85         $   152.17   $    152.17
  4/21/2019 Yerninton Cueto-Martes           $11.00   66.25   $    8.85         $   144.38   $    144.38
  4/28/2019 Yerninton Cueto-Martes           $11.00   65.58   $    8.85         $   140.71   $    140.71
   5/5/2019 Yerninton Cueto-Martes           $11.00   55.25   $    8.85         $    83.88   $     83.88
  5/12/2019 Yerninton Cueto-Martes           $11.00   62.38   $    8.85         $   123.11   $    123.11
  5/19/2019 Yerninton Cueto-Martes           $11.00   64.15   $    8.85         $   132.83   $    132.83
  5/26/2019 Yerninton Cueto-Martes           $11.00   67.50   $    8.85         $   151.25   $    151.25
   6/2/2019 Yerninton Cueto-Martes           $11.00   53.58   $    8.85         $    74.71   $     74.71
   6/9/2019 Yerninton Cueto-Martes           $11.00   60.25   $    8.85         $   111.38   $    111.38
  6/16/2019 Yerninton Cueto-Martes           $11.00   65.28   $    8.85         $   139.06   $    139.06
  6/23/2019 Yerninton Cueto-Martes           $11.00   60.68   $    8.85         $   113.76   $    113.76
  6/30/2019 Yerninton Cueto-Martes           $11.00   66.60   $   10.00         $   146.30   $    146.30
   7/7/2019 Yerninton Cueto-Martes           $11.00   42.22   $   10.00         $    12.19   $     12.19
  7/14/2019 Yerninton Cueto-Martes           $11.00   63.40   $   10.00         $   128.70   $    128.70
  7/21/2019 Yerninton Cueto-Martes           $11.00   60.98   $   10.00         $   115.41   $    115.41
  7/28/2019 Yerninton Cueto-Martes           $11.00   67.55   $   10.00         $   151.53   $    151.53
   8/4/2019 Yerninton Cueto-Martes           $11.00   63.70   $   10.00         $   130.35   $    130.35
  8/11/2019 Yerninton Cueto-Martes           $11.00   56.53   $   10.00         $    90.93   $     90.93



                                               673
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 675 of 683 PageID: 1522
                                              Exhibit 2
                                      New Jersey Computations


   Week                                                      State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
  Ending                       Name                        Minumum Regular    Half-Time Overtime Back
                                              Rate Week
   Date                                                      Wage  Rate Due     Due       Wages Due

  8/18/2019 Yerninton Cueto-Martes           $11.00   55.15   $   10.00         $    83.33   $     83.33
  9/15/2019 Yerninton Cueto-Martes           $11.00   48.30   $   10.00         $    45.65   $     45.65
  9/22/2019 Yerninton Cueto-Martes           $11.00   46.35   $   10.00         $    34.93   $     34.93
  9/29/2019 Yerninton Cueto-Martes           $11.00   49.90   $   10.00         $    54.45   $     54.45
  10/6/2019 Yerninton Cueto-Martes           $11.00   59.97   $   10.00         $   109.82   $    109.82
 10/13/2019 Yerninton Cueto-Martes           $11.00   57.18   $   10.00         $    94.51   $     94.51
 10/20/2019 Yerninton Cueto-Martes           $11.00   59.38   $   10.00         $   106.61   $    106.61
 10/27/2019 Yerninton Cueto-Martes           $11.00   57.67   $   10.00         $    97.17   $     97.17
  11/3/2019 Yerninton Cueto-Martes           $11.00   47.88   $   10.00         $    43.36   $     43.36
 11/10/2019 Yerninton Cueto-Martes           $11.00   61.62   $   10.00         $   118.89   $    118.89
 11/17/2019 Yerninton Cueto-Martes           $11.00   61.35   $   10.00         $   117.43   $    117.43
 11/24/2019 Yerninton Cueto-Martes           $11.00   61.68   $   10.00         $   119.26   $    119.26
  12/8/2019 Yerninton Cueto-Martes           $11.00   63.13   $   10.00         $   127.23   $    127.23
 12/15/2019 Yerninton Cueto-Martes           $11.00   52.27   $   10.00         $    67.47   $     67.47
 12/22/2019 Yerninton Cueto-Martes           $11.00   61.77   $   10.00         $   119.72   $    119.72
 12/29/2019 Yerninton Cueto-Martes           $11.00   47.67   $   10.00         $    42.17   $     42.17
   1/5/2020 Yerninton Cueto-Martes           $11.00   41.37   $   11.00         $     7.52   $      7.52
  1/12/2020 Yerninton Cueto-Martes           $11.00   44.45   $   11.00         $    24.48   $     24.48
  1/19/2020 Yerninton Cueto-Martes           $11.00   56.03   $   11.00         $    88.18   $     88.18
  2/25/2018 Yersy Vivas                      $10.00   47.97   $    8.60         $    39.83   $     39.83
   3/4/2018 Yersy Vivas                      $10.00   58.20   $    8.60         $    91.00   $     91.00
  3/25/2018 Yersy Vivas                      $10.00   50.17   $    8.60         $    50.83   $     50.83
   4/1/2018 Yersy Vivas                      $10.00   48.12   $    8.60         $    40.58   $     40.58
   4/8/2018 Yersy Vivas                      $10.00   56.97   $    8.60         $    84.83   $     84.83
  4/15/2018 Yersy Vivas                      $10.00   40.27   $    8.60         $     1.33   $      1.33
  4/22/2018 Yersy Vivas                      $10.00   58.13   $    8.60         $    90.67   $     90.67
  4/29/2018 Yersy Vivas                      $10.00   47.62   $    8.60         $    38.08   $     38.08
   5/6/2018 Yersy Vivas                      $10.00   58.13   $    8.60         $    90.67   $     90.67
  5/13/2018 Yersy Vivas                      $10.00   50.03   $    8.60         $    50.17   $     50.17
  5/20/2018 Yersy Vivas                      $10.00   57.75   $    8.60         $    88.75   $     88.75
  5/27/2018 Yersy Vivas                      $10.00   58.18   $    8.60         $    90.92   $     90.92
   6/3/2018 Yersy Vivas                      $10.00   48.78   $    8.60         $    43.92   $     43.92
  6/10/2018 Yersy Vivas                      $10.00   48.05   $    8.60         $    40.25   $     40.25
  6/17/2018 Yersy Vivas                      $10.00   48.95   $    8.60         $    44.75   $     44.75
  6/24/2018 Yersy Vivas                      $10.00   57.73   $    8.60         $    88.67   $     88.67
   7/1/2018 Yersy Vivas                      $10.00   46.78   $    8.60         $    33.92   $     33.92
   7/8/2018 Yersy Vivas                      $10.00   40.05   $    8.60         $     0.25   $      0.25
  7/15/2018 Yersy Vivas                      $10.00   49.62   $    8.60         $    48.08   $     48.08
   8/5/2018 Yersy Vivas                      $10.00   54.58   $    8.60         $    72.92   $     72.92
  8/26/2018 Yersy Vivas                      $10.00   49.08   $    8.60         $    45.42   $     45.42
   9/9/2018 Yersy Vivas                      $10.00   48.07   $    8.60         $    40.33   $     40.33
  9/16/2018 Yersy Vivas                      $10.00   47.45   $    8.60         $    37.25   $     37.25
  9/23/2018 Yersy Vivas                      $10.00   56.82   $    8.60         $    84.08   $     84.08
  9/30/2018 Yersy Vivas                      $10.00   44.33   $    8.60         $    21.67   $     21.67
 10/14/2018 Yersy Vivas                      $10.00   46.87   $    8.60         $    34.33   $     34.33
  11/4/2018 Yersy Vivas                      $10.00   47.00   $    8.60         $    35.00   $     35.00
  12/9/2018 Yersy Vivas                      $10.00   48.22   $    8.60         $    41.08   $     41.08
  2/17/2019 Yersy Vivas                      $10.00   57.18   $    8.85         $    85.92   $     85.92
  2/24/2019 Yersy Vivas                      $10.00   55.95   $    8.85         $    79.75   $     79.75
   3/3/2019 Yersy Vivas                      $10.00   45.50   $    8.85         $    27.50   $     27.50



                                               674
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 676 of 683 PageID: 1523
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

  3/10/2019 Yersy Vivas                    $10.00   47.15   $   8.85          $    35.75   $     35.75
  3/17/2019 Yersy Vivas                    $10.00   55.88   $   8.85          $    79.42   $     79.42
  3/24/2019 Yersy Vivas                    $10.00   49.12   $   8.85          $    45.58   $     45.58
  3/31/2019 Yersy Vivas                    $10.00   61.67   $   8.85          $   108.33   $    108.33
   4/7/2019 Yersy Vivas                    $10.00   49.28   $   8.85          $    46.42   $     46.42
  4/14/2019 Yersy Vivas                    $10.00   49.32   $   8.85          $    46.58   $     46.58
  4/21/2019 Yersy Vivas                    $10.00   45.45   $   8.85          $    27.25   $     27.25
  4/28/2019 Yersy Vivas                    $10.00   53.50   $   8.85          $    67.50   $     67.50
   5/5/2019 Yersy Vivas                    $10.00   50.83   $   8.85          $    54.17   $     54.17
 12/31/2017 Yobani Ramirez                  $9.50   62.35   $   8.44          $   106.16   $    106.16
   1/7/2018 Yobani Ramirez                  $9.50   43.38   $   8.60          $    16.07   $     16.07
  1/14/2018 Yobani Ramirez                  $9.50   78.07   $   8.60          $   180.82   $    180.82
  1/21/2018 Yobani Ramirez                  $9.50   67.78   $   8.60          $   131.97   $    131.97
  1/28/2018 Yobani Ramirez                  $9.50   76.65   $   8.60          $   174.09   $    174.09
   2/4/2018 Yobani Ramirez                  $9.50   68.65   $   8.60          $   136.09   $    136.09
  2/11/2018 Yobani Ramirez                  $9.50   77.93   $   8.60          $   180.18   $    180.18
  2/18/2018 Yobani Ramirez                  $9.50   71.33   $   8.60          $   148.83   $    148.83
  2/25/2018 Yobani Ramirez                  $9.50   79.93   $   8.60          $   189.68   $    189.68
   3/4/2018 Yobani Ramirez                  $9.50   72.13   $   8.60          $   152.63   $    152.63
   4/1/2018 Yobani Ramirez                  $9.50   69.37   $   8.60          $   139.49   $    139.49
   4/8/2018 Yobani Ramirez                  $9.50   67.58   $   8.60          $   131.02   $    131.02
  4/15/2018 Yobani Ramirez                  $9.50   70.70   $   8.60          $   145.83   $    145.83
  4/22/2018 Yobani Ramirez                  $9.50   79.08   $   8.60          $   185.65   $    185.65
  4/29/2018 Yobani Ramirez                  $9.50   71.63   $   8.60          $   150.26   $    150.26
   5/6/2018 Yobani Ramirez                  $9.50   79.50   $   8.60          $   187.63   $    187.63
  5/13/2018 Yobani Ramirez                  $9.50   68.70   $   8.60          $   136.33   $    136.33
  5/20/2018 Yobani Ramirez                  $9.50   77.45   $   8.60          $   177.89   $    177.89
  5/27/2018 Yobani Ramirez                  $9.50   68.72   $   8.60          $   136.40   $    136.40
   6/3/2018 Yobani Ramirez                  $9.50   65.78   $   8.60          $   122.47   $    122.47
  6/10/2018 Yobani Ramirez                  $9.50   68.93   $   8.60          $   137.43   $    137.43
  6/17/2018 Yobani Ramirez                  $9.50   68.57   $   8.60          $   135.69   $    135.69
  6/24/2018 Yobani Ramirez                  $9.50   66.18   $   8.60          $   124.37   $    124.37
   7/1/2018 Yobani Ramirez                  $9.50   77.12   $   8.60          $   176.30   $    176.30
   7/8/2018 Yobani Ramirez                  $9.50   57.38   $   8.60          $    82.57   $     82.57
  7/15/2018 Yobani Ramirez                  $9.50   76.77   $   8.60          $   174.64   $    174.64
  7/22/2018 Yobani Ramirez                  $9.50   61.45   $   8.60          $   101.89   $    101.89
  7/29/2018 Yobani Ramirez                  $9.50   75.70   $   8.60          $   169.58   $    169.58
   8/5/2018 Yobani Ramirez                  $9.50   68.47   $   8.60          $   135.22   $    135.22
  8/12/2018 Yobani Ramirez                  $9.50   77.33   $   8.60          $   177.33   $    177.33
  8/19/2018 Yobani Ramirez                  $9.50   67.92   $   8.60          $   132.60   $    132.60
  8/26/2018 Yobani Ramirez                  $9.50   76.88   $   8.60          $   175.20   $    175.20
   9/2/2018 Yobani Ramirez                  $9.50   68.33   $   8.60          $   134.58   $    134.58
   9/9/2018 Yobani Ramirez                  $9.50   56.25   $   8.60          $    77.19   $     77.19
  9/16/2018 Yobani Ramirez                  $9.50   67.42   $   8.60          $   130.23   $    130.23
  9/23/2018 Yobani Ramirez                  $9.50   75.37   $   8.60          $   167.99   $    167.99
  9/30/2018 Yobani Ramirez                  $9.50   65.32   $   8.60          $   120.25   $    120.25
  10/7/2018 Yobani Ramirez                  $9.50   77.07   $   8.60          $   176.07   $    176.07
 10/14/2018 Yobani Ramirez                  $9.50   65.57   $   8.60          $   121.44   $    121.44
 10/21/2018 Yobani Ramirez                  $9.50   75.82   $   8.60          $   170.13   $    170.13
 10/28/2018 Yobani Ramirez                  $9.50   52.57   $   8.60          $    59.69   $     59.69



                                             675
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 677 of 683 PageID: 1524
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

  11/4/2018 Yobani Ramirez                  $9.50   76.30   $    8.60               $   172.43   $   172.43
 11/11/2018 Yobani Ramirez                  $9.50   65.48   $    8.60               $   121.05   $   121.05
 11/18/2018 Yobani Ramirez                  $9.50   74.90   $    8.60               $   165.78   $   165.78
 11/25/2018 Yobani Ramirez                  $9.50   55.22   $    8.60               $    72.28   $    72.28
  12/2/2018 Yobani Ramirez                  $9.50   65.27   $    8.60               $   120.02   $   120.02
  12/9/2018 Yobani Ramirez                  $9.50   76.38   $    8.60               $   172.82   $   172.82
 12/16/2018 Yobani Ramirez                  $9.50   65.07   $    8.60               $   119.07   $   119.07
 12/23/2018 Yobani Ramirez                  $9.50   68.60   $    8.60               $   135.85   $   135.85
 12/30/2018 Yobani Ramirez                  $9.50   61.93   $    8.60               $   104.18   $   104.18
   1/6/2019 Yobani Ramirez                  $9.50   57.00   $    8.85               $    80.75   $    80.75
  1/13/2019 Yobani Ramirez                  $9.50   77.47   $    8.85               $   177.97   $   177.97
  1/20/2019 Yobani Ramirez                  $9.50   68.65   $    8.85               $   136.09   $   136.09
  1/27/2019 Yobani Ramirez                  $9.50   58.88   $    8.85               $    89.70   $    89.70
   2/3/2019 Yobani Ramirez                  $9.50   67.43   $    8.85               $   130.31   $   130.31
  2/10/2019 Yobani Ramirez                  $9.50   77.50   $    8.85               $   178.13   $   178.13
  2/17/2019 Yobani Ramirez                  $9.50   68.47   $    8.85               $   135.22   $   135.22
  2/24/2019 Yobani Ramirez                  $9.50   66.80   $    8.85               $   127.30   $   127.30
   3/3/2019 Yobani Ramirez                  $9.50   67.88   $    8.85               $   132.45   $   132.45
  3/10/2019 Yobani Ramirez                  $9.50   72.20   $    8.85               $   152.95   $   152.95
  3/17/2019 Yobani Ramirez                  $9.50   75.32   $    8.85               $   167.75   $   167.75
  3/24/2019 Yobani Ramirez                  $9.50   73.35   $    8.85               $   158.41   $   158.41
  3/31/2019 Yobani Ramirez                  $9.50   75.25   $    8.85               $   167.44   $   167.44
   4/7/2019 Yobani Ramirez                  $9.50   61.87   $    8.85               $   103.87   $   103.87
  4/14/2019 Yobani Ramirez                  $9.50   76.35   $    8.85               $   172.66   $   172.66
  4/21/2019 Yobani Ramirez                  $9.50   70.17   $    8.85               $   143.29   $   143.29
  4/28/2019 Yobani Ramirez                  $9.50   77.85   $    8.85               $   179.79   $   179.79
   5/5/2019 Yobani Ramirez                  $9.50   76.68   $    8.85               $   174.25   $   174.25
  5/12/2019 Yobani Ramirez                  $9.50   76.72   $    8.85               $   174.40   $   174.40
  5/19/2019 Yobani Ramirez                  $9.50   79.48   $    8.85               $   187.55   $   187.55
  5/26/2019 Yobani Ramirez                  $9.50   69.35   $    8.85               $   139.41   $   139.41
   6/2/2019 Yobani Ramirez                  $9.50   67.00   $    8.85               $   128.25   $   128.25
   6/9/2019 Yobani Ramirez                  $9.50   80.15   $    8.85               $   190.71   $   190.71
  6/16/2019 Yobani Ramirez                  $9.50   77.38   $    8.85               $   177.57   $   177.57
  6/23/2019 Yobani Ramirez                  $9.50   76.62   $    8.85               $   173.93   $   173.93
  6/30/2019 Yobani Ramirez                  $9.50   79.40   $   10.00   $   39.70   $   197.00   $   236.70
   7/7/2019 Yobani Ramirez                 $10.00   50.57   $   10.00               $    52.83   $    52.83
  7/14/2019 Yobani Ramirez                 $10.00   70.88   $   10.00               $   154.42   $   154.42
  7/21/2019 Yobani Ramirez                 $10.00   72.63   $   10.00               $   163.17   $   163.17
  7/28/2019 Yobani Ramirez                 $10.00   72.22   $   10.00               $   161.08   $   161.08
   8/4/2019 Yobani Ramirez                 $10.00   71.88   $   10.00               $   159.42   $   159.42
  8/11/2019 Yobani Ramirez                 $10.00   62.17   $   10.00               $   110.83   $   110.83
  8/18/2019 Yobani Ramirez                 $10.00   71.72   $   10.00               $   158.58   $   158.58
  8/25/2019 Yobani Ramirez                 $10.00   71.87   $   10.00               $   159.33   $   159.33
   9/1/2019 Yobani Ramirez                 $10.00   72.50   $   10.00               $   162.50   $   162.50
   9/8/2019 Yobani Ramirez                 $10.00   54.27   $   10.00               $    71.33   $    71.33
  9/15/2019 Yobani Ramirez                 $10.00   71.70   $   10.00               $   158.50   $   158.50
  9/22/2019 Yobani Ramirez                 $10.00   71.97   $   10.00               $   159.83   $   159.83
  9/29/2019 Yobani Ramirez                 $10.00   72.27   $   10.00               $   161.33   $   161.33
  10/6/2019 Yobani Ramirez                 $10.00   73.53   $   10.00               $   167.67   $   167.67
 10/13/2019 Yobani Ramirez                 $10.00   72.48   $   10.00               $   162.42   $   162.42



                                             676
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 678 of 683 PageID: 1525
                                                Exhibit 2
                                        New Jersey Computations


   Week                                                        State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
  Ending                         Name                        Minumum Regular    Half-Time Overtime Back
                                                Rate Week
   Date                                                        Wage  Rate Due     Due       Wages Due

 10/20/2019 Yobani Ramirez                     $10.00   72.77   $   10.00               $   163.83   $   163.83
 10/27/2019 Yobani Ramirez                     $10.00   73.35   $   10.00               $   166.75   $   166.75
  11/3/2019 Yobani Ramirez                     $10.00   69.90   $   10.00               $   149.50   $   149.50
 11/10/2019 Yobani Ramirez                     $10.00   72.98   $   10.00               $   164.92   $   164.92
 11/17/2019 Yobani Ramirez                     $10.00   74.12   $   10.00               $   170.58   $   170.58
 11/24/2019 Yobani Ramirez                     $10.00   74.75   $   10.00               $   173.75   $   173.75
  12/1/2019 Yobani Ramirez                     $10.00   62.07   $   10.00               $   110.33   $   110.33
  12/8/2019 Yobani Ramirez                     $10.00   70.75   $   10.00               $   153.75   $   153.75
 12/15/2019 Yobani Ramirez                     $10.00   74.88   $   10.00               $   174.42   $   174.42
 12/22/2019 Yobani Ramirez                     $10.00   74.85   $   10.00               $   174.25   $   174.25
 12/29/2019 Yobani Ramirez                     $10.00   58.97   $   10.00               $    94.83   $    94.83
   1/5/2020 Yobani Ramirez                     $10.00   66.62   $   11.00   $   66.62   $   146.39   $   213.01
  1/12/2020 Yobani Ramirez                     $10.00   75.87   $   11.00   $   75.87   $   197.27   $   273.13
  1/19/2020 Yobani Ramirez                     $10.00   75.75   $   11.00   $   75.75   $   196.63   $   272.38
  1/26/2020 Yobani Ramirez                     $10.00   74.75   $   11.00   $   74.75   $   191.13   $   265.88
  4/21/2019 Yoenny De La Rosa                  $10.00   48.52   $    8.85               $    42.58   $    42.58
  4/28/2019 Yoenny De La Rosa                  $10.00   56.63   $    8.85               $    83.17   $    83.17
   5/5/2019 Yoenny De La Rosa                  $10.00   56.65   $    8.85               $    83.25   $    83.25
  5/12/2019 Yoenny De La Rosa                  $10.00   57.03   $    8.85               $    85.17   $    85.17
  5/19/2019 Yoenny De La Rosa                  $10.00   50.88   $    8.85               $    54.42   $    54.42
  5/26/2019 Yoenny De La Rosa                  $10.00   47.20   $    8.85               $    36.00   $    36.00
   6/2/2019 Yoenny De La Rosa                  $10.00   47.93   $    8.85               $    39.67   $    39.67
   6/9/2019 Yoenny De La Rosa                  $10.00   56.27   $    8.85               $    81.33   $    81.33
  6/16/2019 Yoenny De La Rosa                  $10.00   54.13   $    8.85               $    70.67   $    70.67
  6/23/2019 Yoenny De La Rosa                  $10.00   41.93   $    8.85               $     9.67   $     9.67
  6/30/2019 Yoenny De La Rosa                  $10.00   45.60   $   10.00               $    28.00   $    28.00
   7/7/2019 Yoenny De La Rosa                  $10.00   44.72   $   10.00               $    23.58   $    23.58
  7/14/2019 Yoenny De La Rosa                  $10.00   52.03   $   10.00               $    60.17   $    60.17
  7/21/2019 Yoenny De La Rosa                  $10.00   52.45   $   10.00               $    62.25   $    62.25
   8/4/2019 Yoenny De La Rosa                  $10.00   47.30   $   10.00               $    36.50   $    36.50
  8/11/2019 Yoenny De La Rosa                  $10.00   61.15   $   10.00               $   105.75   $   105.75
  8/18/2019 Yoenny De La Rosa                  $10.00   51.52   $   10.00               $    57.58   $    57.58
  8/25/2019 Yoenny De La Rosa                  $10.00   47.93   $   10.00               $    39.67   $    39.67
   9/1/2019 Yoenny De La Rosa                  $10.00   72.67   $   10.00               $   163.33   $   163.33
   9/8/2019 Yoenny De La Rosa                  $10.00   81.20   $   10.00               $   206.00   $   206.00
  9/15/2019 Yoenny De La Rosa                  $10.00   52.93   $   10.00               $    64.67   $    64.67
  9/22/2019 Yoenny De La Rosa                  $10.00   59.58   $   10.00               $    97.92   $    97.92
  9/29/2019 Yoenny De La Rosa                  $10.00   50.32   $   10.00               $    51.58   $    51.58
  10/6/2019 Yoenny De La Rosa                  $10.00   58.60   $   10.00               $    93.00   $    93.00
 10/20/2019 Yoenny De La Rosa                  $10.00   60.18   $   10.00               $   100.92   $   100.92
 10/27/2019 Yoenny De La Rosa                  $10.00   41.92   $   10.00               $     9.58   $     9.58
  1/21/2018 Yohansi Tobias                      $9.00   45.58   $    8.60               $    25.13   $    25.13
  1/28/2018 Yohansi Tobias                      $9.00   45.97   $    8.60               $    26.85   $    26.85
   2/4/2018 Yohansi Tobias                      $9.00   54.98   $    8.60               $    67.43   $    67.43
  2/11/2018 Yohansi Tobias                      $9.00   52.90   $    8.60               $    58.05   $    58.05
  2/18/2018 Yohansi Tobias                      $9.00   58.17   $    8.60               $    81.75   $    81.75
  2/25/2018 Yohansi Tobias                      $9.00   58.80   $    8.60               $    84.60   $    84.60
   3/4/2018 Yohansi Tobias                      $9.00   57.88   $    8.60               $    80.48   $    80.48
  5/19/2019 Yonier Andres Soto                 $10.00   51.82   $    8.85               $    59.08   $    59.08
  5/26/2019 Yonier Andres Soto                 $10.00   84.07   $    8.85               $   220.33   $   220.33



                                                 677
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 679 of 683 PageID: 1526
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

   6/2/2019 Yonier Andres Soto              $10.00   84.30   $    8.85               $   221.50   $   221.50
   6/9/2019 Yonier Andres Soto              $10.00   82.70   $    8.85               $   213.50   $   213.50
  6/16/2019 Yonier Andres Soto              $10.00   83.10   $    8.85               $   215.50   $   215.50
  6/23/2019 Yonier Andres Soto              $10.00   83.72   $    8.85               $   218.58   $   218.58
  6/30/2019 Yonier Andres Soto              $10.00   73.23   $   10.00               $   166.17   $   166.17
   7/7/2019 Yonier Andres Soto              $10.00   78.67   $   10.00               $   193.33   $   193.33
  7/14/2019 Yonier Andres Soto              $10.00   80.30   $   10.00               $   201.50   $   201.50
  7/21/2019 Yonier Andres Soto              $10.00   84.52   $   10.00               $   222.58   $   222.58
  7/28/2019 Yonier Andres Soto              $10.00   81.15   $   10.00               $   205.75   $   205.75
   8/4/2019 Yonier Andres Soto              $10.00   89.90   $   10.00               $   249.50   $   249.50
  8/11/2019 Yonier Andres Soto              $10.00   83.82   $   10.00               $   219.08   $   219.08
  8/18/2019 Yonier Andres Soto              $10.00   86.00   $   10.00               $   230.00   $   230.00
  8/25/2019 Yonier Andres Soto              $10.00   86.20   $   10.00               $   231.00   $   231.00
   9/1/2019 Yonier Andres Soto              $10.00   75.32   $   10.00               $   176.58   $   176.58
   9/8/2019 Yonier Andres Soto              $10.00   56.25   $   10.00               $    81.25   $    81.25
  10/6/2019 Yorbi Rosado Payano              $9.50   64.60   $   10.00   $   32.30   $   123.00   $   155.30
 10/13/2019 Yorbi Rosado Payano              $9.50   70.53   $   10.00   $   35.27   $   152.67   $   187.93
 10/27/2019 Yorbi Rosado Payano              $9.50   52.68   $   10.00   $   26.34   $    63.42   $    89.76
  11/3/2019 Yorbi Rosado Payano              $9.50   61.92   $   10.00   $   30.96   $   109.58   $   140.54
 11/10/2019 Yorbi Rosado Payano              $9.50   50.02   $   10.00   $   25.01   $    50.08   $    75.09
 11/24/2019 Yorbi Rosado Payano              $9.50   51.37   $   10.00   $   25.68   $    56.83   $    82.52
  12/1/2019 Yorbi Rosado Payano              $9.50   46.08   $   10.00   $   23.04   $    30.42   $    53.46
 12/15/2019 Yorbi Rosado Payano              $9.50   58.27   $   10.00   $   29.13   $    91.33   $   120.47
 12/22/2019 Yorbi Rosado Payano              $9.50   49.20   $   10.00   $   24.60   $    46.00   $    70.60
   5/7/2017 Yorby Mordan Santana             $9.00   55.92   $    8.44               $    71.63   $    71.63
  5/14/2017 Yorby Mordan Santana             $9.00   56.75   $    8.44               $    75.38   $    75.38
  5/21/2017 Yorby Mordan Santana             $9.00   63.45   $    8.44               $   105.53   $   105.53
  5/28/2017 Yorby Mordan Santana             $9.00   67.90   $    8.44               $   125.55   $   125.55
   6/4/2017 Yorby Mordan Santana             $9.00   56.75   $    8.44               $    75.38   $    75.38
  6/11/2017 Yorby Mordan Santana             $9.00   58.75   $    8.44               $    84.38   $    84.38
  6/18/2017 Yorby Mordan Santana             $9.00   49.35   $    8.44               $    42.08   $    42.08
   9/2/2018 Yordani Perdomo                  $9.50   61.97   $    8.60               $   104.34   $   104.34
  9/16/2018 Yordani Perdomo                  $9.50   47.33   $    8.60               $    34.83   $    34.83
  9/23/2018 Yordani Perdomo                  $9.50   56.72   $    8.60               $    79.40   $    79.40
  9/30/2018 Yordani Perdomo                  $9.50   56.85   $    8.60               $    80.04   $    80.04
  10/7/2018 Yordani Perdomo                  $9.50   51.25   $    8.60               $    53.44   $    53.44
 10/14/2018 Yordani Perdomo                  $9.50   49.30   $    8.60               $    44.18   $    44.18
 10/21/2018 Yordani Perdomo                  $9.50   54.78   $    8.60               $    70.22   $    70.22
 10/28/2018 Yordani Perdomo                  $9.50   55.52   $    8.60               $    73.70   $    73.70
  11/4/2018 Yordani Perdomo                  $9.50   45.40   $    8.60               $    25.65   $    25.65
   3/3/2019 Yordani Perdomo                  $9.50   67.93   $    8.85               $   132.68   $   132.68
  3/10/2019 Yordani Perdomo                  $9.50   68.58   $    8.85               $   135.77   $   135.77
  3/17/2019 Yordani Perdomo                  $9.50   67.88   $    8.85               $   132.45   $   132.45
  3/24/2019 Yordani Perdomo                  $9.50   67.75   $    8.85               $   131.81   $   131.81
  3/31/2019 Yordani Perdomo                  $9.50   66.80   $    8.85               $   127.30   $   127.30
   4/7/2019 Yordani Perdomo                  $9.50   68.62   $    8.85               $   135.93   $   135.93
  4/14/2019 Yordani Perdomo                  $9.50   57.42   $    8.85               $    82.73   $    82.73
  4/21/2019 Yordani Perdomo                  $9.50   69.72   $    8.85               $   141.15   $   141.15
  4/28/2019 Yordani Perdomo                  $9.50   68.98   $    8.85               $   137.67   $   137.67
   5/5/2019 Yordani Perdomo                  $9.50   67.58   $    8.85               $   131.02   $   131.02



                                              678
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 680 of 683 PageID: 1527
                                             Exhibit 2
                                     New Jersey Computations


   Week                                                     State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
  Ending                      Name                        Minumum Regular    Half-Time Overtime Back
                                             Rate Week
   Date                                                     Wage  Rate Due     Due       Wages Due

  5/12/2019 Yordani Perdomo                  $9.50   56.25   $    8.85               $    77.19   $    77.19
  5/19/2019 Yordani Perdomo                  $9.50   67.83   $    8.85               $   132.21   $   132.21
  5/26/2019 Yordani Perdomo                  $9.50   51.87   $    8.85               $    56.37   $    56.37
   6/2/2019 Yordani Perdomo                  $9.50   51.57   $    8.85               $    54.94   $    54.94
   6/9/2019 Yordani Perdomo                  $9.50   71.30   $    8.85               $   148.68   $   148.68
  6/16/2019 Yordani Perdomo                  $9.50   70.78   $    8.85               $   146.22   $   146.22
  6/23/2019 Yordani Perdomo                  $9.50   69.15   $    8.85               $   138.46   $   138.46
  6/30/2019 Yordani Perdomo                  $9.50   58.13   $   10.00   $   29.07   $    90.67   $   119.73
   7/7/2019 Yordani Perdomo                 $10.50   57.25   $   10.00               $    90.56   $    90.56
  7/14/2019 Yordani Perdomo                 $10.50   71.55   $   10.00               $   165.64   $   165.64
  8/11/2019 Yordani Perdomo                 $10.50   70.18   $   10.00               $   158.46   $   158.46
  8/18/2019 Yordani Perdomo                 $10.50   70.53   $   10.00               $   160.30   $   160.30
  8/25/2019 Yordani Perdomo                 $10.50   64.10   $   10.00               $   126.53   $   126.53
   9/1/2019 Yordani Perdomo                 $10.50   69.92   $   10.00               $   157.06   $   157.06
   9/8/2019 Yordani Perdomo                 $10.50   61.70   $   10.00               $   113.93   $   113.93
  9/15/2019 Yordani Perdomo                 $10.50   66.37   $   10.00               $   138.43   $   138.43
  9/22/2019 Yordani Perdomo                 $10.50   66.48   $   10.00               $   139.04   $   139.04
  9/29/2019 Yordani Perdomo                 $10.50   53.80   $   10.00               $    72.45   $    72.45
  10/6/2019 Yordani Perdomo                 $10.50   64.45   $   10.00               $   128.36   $   128.36
 10/13/2019 Yordani Perdomo                 $10.50   53.95   $   10.00               $    73.24   $    73.24
 10/20/2019 Yordani Perdomo                 $11.00   51.97   $   10.00               $    65.82   $    65.82
 10/27/2019 Yordani Perdomo                 $11.00   58.47   $   10.00               $   101.57   $   101.57
  11/3/2019 Yordani Perdomo                 $11.00   61.92   $   10.00               $   120.54   $   120.54
 11/10/2019 Yordani Perdomo                 $11.00   58.00   $   10.00               $    99.00   $    99.00
 11/17/2019 Yordani Perdomo                 $11.00   53.78   $   10.00               $    75.81   $    75.81
 11/24/2019 Yordani Perdomo                 $11.00   49.03   $   10.00               $    49.68   $    49.68
  12/1/2019 Yordani Perdomo                 $11.00   40.08   $   10.00               $     0.46   $     0.46
  12/8/2019 Yordani Perdomo                 $11.00   62.92   $   10.00               $   126.04   $   126.04
 12/15/2019 Yordani Perdomo                 $10.50   74.70   $   10.00               $   182.18   $   182.18
 12/22/2019 Yordani Perdomo                 $10.50   67.85   $   10.00               $   146.21   $   146.21
 12/29/2019 Yordani Perdomo                 $10.50   48.65   $   10.00               $    45.41   $    45.41
   1/5/2020 Yordani Perdomo                 $10.50   51.68   $   11.00   $   25.84   $    64.26   $    90.10
  1/12/2020 Yordani Perdomo                 $10.50   71.75   $   11.00   $   35.88   $   174.63   $   210.50
  1/19/2020 Yordani Perdomo                 $10.50   73.12   $   11.00   $   36.56   $   182.14   $   218.70
  1/26/2020 Yordani Perdomo                 $10.50   73.83   $   11.00   $   36.92   $   186.08   $   223.00
  2/12/2017 Yovani Ramirez                  $12.50   41.28   $    8.44               $     8.02   $     8.02
  2/19/2017 Yovani Ramirez                  $12.50   72.92   $    8.44               $   205.73   $   205.73
  2/26/2017 Yovani Ramirez                  $12.50   72.05   $    8.44               $   200.31   $   200.31
   3/5/2017 Yovani Ramirez                  $12.50   72.50   $    8.44               $   203.13   $   203.13
  3/12/2017 Yovani Ramirez                  $12.50   73.35   $    8.44               $   208.44   $   208.44
  3/19/2017 Yovani Ramirez                  $12.50   62.58   $    8.44               $   141.15   $   141.15
  3/26/2017 Yovani Ramirez                  $12.50   74.47   $    8.44               $   215.42   $   215.42
   4/2/2017 Yovani Ramirez                  $12.50   77.43   $    8.44               $   233.96   $   233.96
   4/9/2017 Yovani Ramirez                  $12.50   74.07   $    8.44               $   212.92   $   212.92
  4/16/2017 Yovani Ramirez                  $12.50   73.03   $    8.44               $   206.46   $   206.46
  4/23/2017 Yovani Ramirez                  $12.50   77.25   $    8.44               $   232.81   $   232.81
  4/30/2017 Yovani Ramirez                  $12.50   78.58   $    8.44               $   241.15   $   241.15
   5/7/2017 Yovani Ramirez                  $12.50   74.65   $    8.44               $   216.56   $   216.56
  5/14/2017 Yovani Ramirez                  $12.50   72.63   $    8.44               $   203.96   $   203.96
  5/21/2017 Yovani Ramirez                  $12.50   75.82   $    8.44               $   223.85   $   223.85



                                              679
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 681 of 683 PageID: 1528
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

  5/28/2017 Yovani Ramirez                 $12.50   73.00   $   8.44          $   206.25   $    206.25
   6/4/2017 Yovani Ramirez                 $12.50   66.57   $   8.44          $   166.04   $    166.04
  6/11/2017 Yovani Ramirez                 $12.50   78.72   $   8.44          $   241.98   $    241.98
  6/18/2017 Yovani Ramirez                 $12.50   74.62   $   8.44          $   216.35   $    216.35
  6/25/2017 Yovani Ramirez                 $12.50   76.57   $   8.44          $   228.54   $    228.54
   7/2/2017 Yovani Ramirez                 $12.50   76.95   $   8.44          $   230.94   $    230.94
   7/9/2017 Yovani Ramirez                 $12.50   59.47   $   8.44          $   121.67   $    121.67
  7/16/2017 Yovani Ramirez                 $12.50   74.97   $   8.44          $   218.54   $    218.54
  7/23/2017 Yovani Ramirez                 $12.50   73.53   $   8.44          $   209.58   $    209.58
  7/30/2017 Yovani Ramirez                 $12.50   78.47   $   8.44          $   240.42   $    240.42
   8/6/2017 Yovani Ramirez                 $12.50   76.58   $   8.44          $   228.65   $    228.65
  8/13/2017 Yovani Ramirez                 $12.50   76.03   $   8.44          $   225.21   $    225.21
  8/20/2017 Yovani Ramirez                 $12.50   72.72   $   8.44          $   204.48   $    204.48
  8/27/2017 Yovani Ramirez                 $12.50   74.78   $   8.44          $   217.40   $    217.40
   9/3/2017 Yovani Ramirez                 $12.50   76.03   $   8.44          $   225.21   $    225.21
  9/10/2017 Yovani Ramirez                 $12.50   71.83   $   8.44          $   198.96   $    198.96
  9/17/2017 Yovani Ramirez                 $12.50   72.08   $   8.44          $   200.52   $    200.52
  9/24/2017 Yovani Ramirez                 $12.50   64.15   $   8.44          $   150.94   $    150.94
  10/1/2017 Yovani Ramirez                 $12.50   68.27   $   8.44          $   176.67   $    176.67
  10/8/2017 Yovani Ramirez                 $12.50   77.42   $   8.44          $   233.85   $    233.85
 10/15/2017 Yovani Ramirez                 $12.50   72.33   $   8.44          $   202.08   $    202.08
 10/22/2017 Yovani Ramirez                 $12.50   73.17   $   8.44          $   207.29   $    207.29
 10/29/2017 Yovani Ramirez                 $12.50   71.23   $   8.44          $   195.21   $    195.21
  11/5/2017 Yovani Ramirez                 $12.50   77.15   $   8.44          $   232.19   $    232.19
 11/12/2017 Yovani Ramirez                 $12.50   77.82   $   8.44          $   236.35   $    236.35
 11/19/2017 Yovani Ramirez                 $12.50   80.38   $   8.44          $   252.40   $    252.40
 11/26/2017 Yovani Ramirez                 $12.50   60.58   $   8.44          $   128.65   $    128.65
  12/3/2017 Yovani Ramirez                 $12.50   77.90   $   8.44          $   236.88   $    236.88
 12/10/2017 Yovani Ramirez                 $12.50   73.58   $   8.44          $   209.90   $    209.90
 12/17/2017 Yovani Ramirez                 $12.50   67.57   $   8.44          $   172.29   $    172.29
 12/24/2017 Yovani Ramirez                 $12.50   74.30   $   8.44          $   214.38   $    214.38
 12/31/2017 Yovani Ramirez                 $12.50   65.93   $   8.44          $   162.08   $    162.08
   1/7/2018 Yovani Ramirez                 $12.50   57.90   $   8.60          $   111.88   $    111.88
  1/14/2018 Yovani Ramirez                 $12.50   72.03   $   8.60          $   200.21   $    200.21
  1/21/2018 Yovani Ramirez                 $12.50   74.00   $   8.60          $   212.50   $    212.50
  1/28/2018 Yovani Ramirez                 $12.50   72.28   $   8.60          $   201.77   $    201.77
   2/4/2018 Yovani Ramirez                 $12.50   71.62   $   8.60          $   197.60   $    197.60
  2/11/2018 Yovani Ramirez                 $12.50   80.23   $   8.60          $   251.46   $    251.46
  2/18/2018 Yovani Ramirez                 $12.50   76.78   $   8.60          $   229.90   $    229.90
  2/25/2018 Yovani Ramirez                 $12.50   80.07   $   8.60          $   250.42   $    250.42
   3/4/2018 Yovani Ramirez                 $12.50   72.87   $   8.60          $   205.42   $    205.42
  3/25/2018 Yovani Ramirez                 $12.50   60.33   $   8.60          $   127.08   $    127.08
   4/1/2018 Yovani Ramirez                 $12.50   83.57   $   8.60          $   272.29   $    272.29
   4/8/2018 Yovani Ramirez                 $12.50   77.98   $   8.60          $   237.40   $    237.40
  4/15/2018 Yovani Ramirez                 $12.50   81.55   $   8.60          $   259.69   $    259.69
  4/22/2018 Yovani Ramirez                 $12.50   83.05   $   8.60          $   269.06   $    269.06
  4/29/2018 Yovani Ramirez                 $12.50   82.95   $   8.60          $   268.44   $    268.44
   5/6/2018 Yovani Ramirez                 $12.50   84.43   $   8.60          $   277.71   $    277.71
  5/13/2018 Yovani Ramirez                 $12.50   84.10   $   8.60          $   275.63   $    275.63
  5/20/2018 Yovani Ramirez                 $12.50   82.47   $   8.60          $   265.42   $    265.42



                                             680
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 682 of 683 PageID: 1529
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

  5/27/2018 Yovani Ramirez                 $12.50   85.32   $   8.60          $   283.23   $    283.23
   6/3/2018 Yovani Ramirez                 $12.50   86.82   $   8.60          $   292.60   $    292.60
  6/10/2018 Yovani Ramirez                 $12.50   84.32   $   8.60          $   276.98   $    276.98
  6/17/2018 Yovani Ramirez                 $12.50   83.67   $   8.60          $   272.92   $    272.92
  6/24/2018 Yovani Ramirez                 $12.50   83.70   $   8.60          $   273.13   $    273.13
   7/1/2018 Yovani Ramirez                 $12.50   85.38   $   8.60          $   283.65   $    283.65
   7/8/2018 Yovani Ramirez                 $12.50   71.00   $   8.60          $   193.75   $    193.75
  7/15/2018 Yovani Ramirez                 $12.50   82.40   $   8.60          $   265.00   $    265.00
  7/22/2018 Yovani Ramirez                 $12.50   84.95   $   8.60          $   280.94   $    280.94
  7/29/2018 Yovani Ramirez                 $12.50   83.78   $   8.60          $   273.65   $    273.65
   8/5/2018 Yovani Ramirez                 $12.50   87.68   $   8.60          $   298.02   $    298.02
  8/12/2018 Yovani Ramirez                 $12.50   85.32   $   8.60          $   283.23   $    283.23
  8/19/2018 Yovani Ramirez                 $12.50   83.58   $   8.60          $   272.40   $    272.40
  8/26/2018 Yovani Ramirez                 $12.50   83.37   $   8.60          $   271.04   $    271.04
   9/2/2018 Yovani Ramirez                 $12.50   75.08   $   8.60          $   219.27   $    219.27
   9/9/2018 Yovani Ramirez                 $12.50   76.50   $   8.60          $   228.13   $    228.13
  9/16/2018 Yovani Ramirez                 $12.50   78.02   $   8.60          $   237.60   $    237.60
  9/23/2018 Yovani Ramirez                 $12.50   78.68   $   8.60          $   241.77   $    241.77
  9/30/2018 Yovani Ramirez                 $12.50   83.00   $   8.60          $   268.75   $    268.75
  10/7/2018 Yovani Ramirez                 $12.50   79.92   $   8.60          $   249.48   $    249.48
 10/14/2018 Yovani Ramirez                 $12.50   78.37   $   8.60          $   239.79   $    239.79
 10/21/2018 Yovani Ramirez                 $12.50   77.15   $   8.60          $   232.19   $    232.19
 10/28/2018 Yovani Ramirez                 $12.50   77.80   $   8.60          $   236.25   $    236.25
  11/4/2018 Yovani Ramirez                 $12.50   80.00   $   8.60          $   250.00   $    250.00
 11/11/2018 Yovani Ramirez                 $12.50   79.58   $   8.60          $   247.40   $    247.40
 11/18/2018 Yovani Ramirez                 $12.50   78.05   $   8.60          $   237.81   $    237.81
 11/25/2018 Yovani Ramirez                 $12.50   64.52   $   8.60          $   153.23   $    153.23
  12/2/2018 Yovani Ramirez                 $12.50   77.90   $   8.60          $   236.88   $    236.88
  12/9/2018 Yovani Ramirez                 $12.50   76.07   $   8.60          $   225.42   $    225.42
 12/16/2018 Yovani Ramirez                 $12.50   81.82   $   8.60          $   261.35   $    261.35
 12/23/2018 Yovani Ramirez                 $12.50   76.85   $   8.60          $   230.31   $    230.31
 12/30/2018 Yovani Ramirez                 $12.50   54.78   $   8.60          $    92.40   $     92.40
   1/6/2019 Yovani Ramirez                 $12.50   60.28   $   8.85          $   126.77   $    126.77
  1/13/2019 Yovani Ramirez                 $12.50   78.90   $   8.85          $   243.13   $    243.13
  1/20/2019 Yovani Ramirez                 $12.50   77.95   $   8.85          $   237.19   $    237.19
  1/27/2019 Yovani Ramirez                 $12.50   78.47   $   8.85          $   240.42   $    240.42
   2/3/2019 Yovani Ramirez                 $12.50   80.77   $   8.85          $   254.79   $    254.79
  2/10/2019 Yovani Ramirez                 $12.50   78.75   $   8.85          $   242.19   $    242.19
  2/17/2019 Yovani Ramirez                 $12.50   81.17   $   8.85          $   257.29   $    257.29
  2/24/2019 Yovani Ramirez                 $12.50   79.67   $   8.85          $   247.92   $    247.92
   3/3/2019 Yovani Ramirez                 $12.50   66.32   $   8.85          $   164.48   $    164.48
  3/10/2019 Yovani Ramirez                 $12.50   62.28   $   8.85          $   139.27   $    139.27
  3/17/2019 Yovani Ramirez                 $12.50   83.70   $   8.85          $   273.13   $    273.13
  3/24/2019 Yovani Ramirez                 $12.50   78.68   $   8.85          $   241.77   $    241.77
  3/31/2019 Yovani Ramirez                 $12.50   85.38   $   8.85          $   283.65   $    283.65
   4/7/2019 Yovani Ramirez                 $12.50   80.33   $   8.85          $   252.08   $    252.08
  4/14/2019 Yovani Ramirez                 $12.50   82.42   $   8.85          $   265.10   $    265.10
  4/21/2019 Yovani Ramirez                 $12.50   79.12   $   8.85          $   244.48   $    244.48
  4/28/2019 Yovani Ramirez                 $12.50   81.17   $   8.85          $   257.29   $    257.29
   5/5/2019 Yovani Ramirez                 $12.50   80.85   $   8.85          $   255.31   $    255.31



                                             681
Case 2:20-cv-17785-EP-LDW Document 78-4 Filed 05/11/23 Page 683 of 683 PageID: 1530
                                            Exhibit 2
                                    New Jersey Computations


   Week                                                    State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
  Ending                     Name                        Minumum Regular    Half-Time Overtime Back
                                            Rate Week
   Date                                                    Wage  Rate Due     Due       Wages Due

  5/12/2019 Yovani Ramirez                 $12.50   82.47   $    8.85         $   265.42   $    265.42
  5/19/2019 Yovani Ramirez                 $12.50   81.13   $    8.85         $   257.08   $    257.08
  5/26/2019 Yovani Ramirez                 $12.50   84.20   $    8.85         $   276.25   $    276.25
   6/2/2019 Yovani Ramirez                 $12.50   76.65   $    8.85         $   229.06   $    229.06
   6/9/2019 Yovani Ramirez                 $12.50   82.53   $    8.85         $   265.83   $    265.83
  6/16/2019 Yovani Ramirez                 $12.50   82.62   $    8.85         $   266.35   $    266.35
  6/23/2019 Yovani Ramirez                 $12.50   82.55   $    8.85         $   265.94   $    265.94
  6/30/2019 Yovani Ramirez                 $12.50   85.37   $   10.00         $   283.54   $    283.54
   7/7/2019 Yovani Ramirez                 $12.50   65.80   $   10.00         $   161.25   $    161.25
  7/14/2019 Yovani Ramirez                 $12.50   79.25   $   10.00         $   245.31   $    245.31
  7/21/2019 Yovani Ramirez                 $12.50   80.67   $   10.00         $   254.17   $    254.17
  7/28/2019 Yovani Ramirez                 $12.50   80.12   $   10.00         $   250.73   $    250.73
   8/4/2019 Yovani Ramirez                 $12.50   83.35   $   10.00         $   270.94   $    270.94
  8/11/2019 Yovani Ramirez                 $12.50   81.42   $   10.00         $   258.85   $    258.85
  8/18/2019 Yovani Ramirez                 $12.50   82.13   $   10.00         $   263.33   $    263.33
  8/25/2019 Yovani Ramirez                 $12.50   82.12   $   10.00         $   263.23   $    263.23
   9/1/2019 Yovani Ramirez                 $12.50   90.50   $   10.00         $   315.63   $    315.63
   9/8/2019 Yovani Ramirez                 $12.50   67.95   $   10.00         $   174.69   $    174.69
  9/15/2019 Yovani Ramirez                 $12.50   80.82   $   10.00         $   255.10   $    255.10
  9/22/2019 Yovani Ramirez                 $12.50   82.38   $   10.00         $   264.90   $    264.90
  9/29/2019 Yovani Ramirez                 $12.50   82.90   $   10.00         $   268.13   $    268.13
  10/6/2019 Yovani Ramirez                 $12.50   82.18   $   10.00         $   263.65   $    263.65
 10/13/2019 Yovani Ramirez                 $12.50   81.77   $   10.00         $   261.04   $    261.04
 10/20/2019 Yovani Ramirez                 $12.50   77.28   $   10.00         $   233.02   $    233.02
 10/27/2019 Yovani Ramirez                 $12.50   82.58   $   10.00         $   266.15   $    266.15
  11/3/2019 Yovani Ramirez                 $12.50   82.47   $   10.00         $   265.42   $    265.42
 11/10/2019 Yovani Ramirez                 $12.50   81.10   $   10.00         $   256.88   $    256.88
 11/17/2019 Yovani Ramirez                 $12.50   81.57   $   10.00         $   259.79   $    259.79
 11/24/2019 Yovani Ramirez                 $12.50   85.03   $   10.00         $   281.46   $    281.46
  12/1/2019 Yovani Ramirez                 $12.50   69.92   $   10.00         $   186.98   $    186.98
  12/8/2019 Yovani Ramirez                 $12.50   82.05   $   10.00         $   262.81   $    262.81
 12/15/2019 Yovani Ramirez                 $12.50   81.78   $   10.00         $   261.15   $    261.15
 12/22/2019 Yovani Ramirez                 $12.50   78.80   $   10.00         $   242.50   $    242.50
 12/29/2019 Yovani Ramirez                 $12.50   52.47   $   10.00         $    77.92   $     77.92
   1/5/2020 Yovani Ramirez                 $12.50   65.95   $   11.00         $   162.19   $    162.19
  1/12/2020 Yovani Ramirez                 $12.50   79.78   $   11.00         $   248.65   $    248.65
  1/19/2020 Yovani Ramirez                 $12.50   79.58   $   11.00         $   247.40   $    247.40
  1/26/2020 Yovani Ramirez                 $12.50   78.80   $   11.00         $   242.50   $    242.50




                                             682
